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                                                                                                                             Current General                                            Current 503(b)(9)
                                                                                                                                                   Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address              Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Cintas Managed Solutions
3500 Sunrise Highway
Building 100 Suite 210                                                  RS Legacy Corporation fka RadioShack
Great River, NY 11739                                 1        2/9/2015 Corporation                                                  $11,660.87                                                                                        $11,660.87
SR Edutainment Corp.
Attn: Mrs. Rios
PO Box 270193                                                            RS Legacy Corporation fka RadioShack
San Juan, PR 00928‐2993                               2        2/10/2015 Corporation                                                   $8,500.00                                                    $0.00                               $8,500.00
Skovron Mechanical Services LLC
66 Main St.                                                              RS Legacy Corporation fka RadioShack
Raymond, NH 03077                                     3        2/10/2015 Corporation                                                 $14,164.35                                                                                        $14,164.35
278 Main Street Company
326 New York Avenue                                                      RS Legacy Corporation fka RadioShack
Huntington, NY 11743                                  4        2/11/2015 Corporation                                                 $14,126.42                                                                                        $14,126.42
6118 Bergenline Avenue Corporation
Levy's Inc.
6116 Bergenline Avenue                                                   RS Legacy Corporation fka RadioShack
West New York, NJ 07093                               5        2/11/2015 Corporation                                                       $0.00                                                                                            $0.00
Canon Solutions America, Inc.
Attn: L Peterick
5600 Broken Sound Blvd.                                                  RS Legacy Corporation fka RadioShack
Boca Raton, FL 33487                                  6        2/11/2015 Corporation                                                   $7,734.06                                                                                        $7,734.06
HOMER NEWS
3482 LANDINGS STREET                                                     RS Legacy Corporation fka RadioShack
HOMER, AK 99603                                       7        2/12/2015 Corporation                                                     $296.07                                                                                          $296.07
Hudson Reporter Assoc. L.P.
1400 Washington Street                                                   RS Legacy Corporation fka RadioShack
Hoboken, NJ 07030                                     8        2/12/2015 Corporation                                                   $9,349.68                                                                                        $9,349.68
Big Image Graphics, Inc.
1709 Industrial Blvd                                                     RS Legacy Corporation fka RadioShack
Colleyville, TX 76034                                 9        2/12/2015 Corporation                                                   $9,494.92                                                                                        $9,494.92
Prometco
390 River Ridge Rd.                                                      RS Legacy Corporation fka RadioShack
Elgin , IL 60123                                      10       2/12/2015 Corporation                                                 $43,630.40                                                                                        $43,630.40

Lubbock Central Appraisal District
Laura J. Monroe
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
PO Box 817                                                               RS Legacy Corporation fka RadioShack
Lubbock, TX 79408                                     11       2/12/2015 Corporation                                                                                       $39,378.81                                                  $39,378.81
Ningbo MingJong Electric Industry Co., Ltd
#19 Jingwu Road
Xiaogang                                                                 RS Legacy Global Sourcing Limited Partnership
Ningbo, Zhejiang                                                         fka RadioShack Global Sourcing Limited
China                                                 12       2/12/2015 Partnership                                                 $20,376.57                                                     $0.00                              $20,376.57
APG MEDIA OF CHESAPEAKE
PO BOX 600                                                               RS Legacy Corporation fka RadioShack
EASTON, MD 21601                                      13       2/12/2015 Corporation                                                   $1,649.31                                                                                        $1,649.31
Automated Systems Design, Inc
775 Goddard Ct.                                                          RS Legacy Corporation fka RadioShack
Alpharetta, GA 30005                                  14       2/12/2015 Corporation                                                 $14,869.53                                                                                        $14,869.53




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                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount
3DRobotics.com
1608 4th Street, Ste 410                                                  RS Legacy Corporation fka RadioShack
Berkeley, CA 94710                                     15       2/12/2015 Corporation                                                $142,500.00                                                                                       $142,500.00

Midland Central Appraisal District
Laura J. Monroe
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
PO Box 817                                                                RS Legacy Corporation fka RadioShack
Lubbock, TX 79408                                      16       2/12/2015 Corporation                                                                                          $507.46                                                     $507.46
Military Media Inc.
Gabrielle Goodwin
1 Bushwick Road                                                           RS Legacy Corporation fka RadioShack
Poughkeepsie, NY 12603                                 17       2/12/2015 Corporation                                                 $34,881.48                                                                                        $34,881.48
Delnice Corporation NV
PO Box 016727                                                             RS Legacy Corporation fka RadioShack
                                                       18       2/13/2015 Corporation                                                   $3,547.06                                                                                        $3,547.06

Philadelphia Media Network (Newspapers) LLC
James W. Adelman, Esquire
Morris & Adelman, P.C.
PO Box 2235                                                               RS Legacy Corporation fka RadioShack
Bala Cynwyd, PA 19004                                  19       2/13/2015 Corporation                                                 $25,310.03                                                                                        $25,310.03
Fuan Gee Mechanical Industrial Co., Ltd.
Angel Chen
No. 187, Sec. 2, Zhang Shan Rd.,
Shulin Dist.,
New Taipei 23850                                                          RS Legacy Corporation fka RadioShack
Taiwan                                                 20       2/13/2015 Corporation                                                 $63,303.50                                                     $0.00                              $63,303.50
TNS Distribution USA INC
Unit 5 Keypoint Business PK
Rosemount Industrial Estate
BallyCoolin Road
Dublin II                                                                 RS Legacy Corporation fka RadioShack
Ireland                                                21       2/13/2015 Corporation                                                $186,101.00                                                                                       $186,101.00
Ryan Retail Consulting
401 Orlando St                                                            RS Legacy Corporation fka RadioShack
Venice, FL 34285                                       22       2/13/2015 Corporation                                                 $48,001.41               $0.00                                                                    $48,001.41
Cascade Water Services, Inc dba: Cascade Facility
Services
Mike Qualters
10521 Humbolt Street                                                      RS Legacy Corporation fka RadioShack
Los Alamitos, CA 90720                                 23       2/13/2015 Corporation                                                   $3,230.38                                                                                        $3,230.38
Raytac Corporation
Mr. Lyon, Liu
5F., No.3, Jiankang Road                                                  RS Legacy Global Sourcing Limited Partnership
Zhonghe District, , New Taipei City 23586                                 fka RadioShack Global Sourcing Limited
Taiwan                                                 24       2/13/2015 Partnership                                                 $78,864.00                                                                                        $78,864.00
Dell Marketing, L.P.
One Dell Way, RR1, MS 52                                                  RS Legacy Corporation fka RadioShack
Round Rock, TX 78682                                   25       2/13/2015 Corporation                                                 $64,564.21                                                                                        $64,564.21




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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Tutu Park, LTD
4605 Tutu Park Mallm Ste 524                                   RS Legacy Corporation fka RadioShack
St. Thomas, VI 00802                        26       2/13/2015 Corporation                                                                                                                $0.00                                   $0.00
Harriman Commons LLC
Madison Property Management
200 Madison Avenue, 24th Floor                                 RS Legacy Corporation fka RadioShack
New York, NY 10016                          27       2/13/2015 Corporation                                                 $14,263.04                                                                                        $14,263.04
Sagit Realty Inc.
PO Box 11856                                                   RS Legacy Corporation fka RadioShack
San Juan, PR 00922                          28       2/16/2015 Corporation                                                   $4,000.00                                                                                        $4,000.00
Golden Child Enterprise Ltd
Mike Georgious
174 N Almont Dr #103                                           RS Legacy Corporation fka RadioShack
Beverly Hills, CA 90211                     29       2/16/2015 Corporation                                                 $16,727.04                                                                                        $16,727.04
Akasa Asia Corp
Ms. Yiyen Chen
Suite 5, 13F, No. 260, Sec. 2
New Taipei Blvd., Sanchong District                            RS Legacy Global Sourcing Limited Partnership
New Taipei City 24158                                          fka RadioShack Global Sourcing Limited
Taiwan (R.O.C.)                             30       2/16/2015 Partnership                                                 $67,578.00                                                                                        $67,578.00
SHIN CHIN INDUSTRIAL CO., LTD.
128, CHENG PEI 1st RD
YUNG KANG DIST.
TAIWAN CITY 51042                                              RS Legacy Corporation fka RadioShack
TAIWAN, R.O.C                               31       2/16/2015 Corporation                                                $378,475.84                                                                                       $378,475.84
Focus Newspapers of DFW Inc
PO Box 1714                                                    RS Legacy Corporation fka RadioShack
DeSoto, TX 75123                            32       2/17/2015 Corporation                                                   $8,952.32                                                                                        $8,952.32
Independent Newsmedia Inc. USA
110 Galaxy Drive                                               RS Legacy Corporation fka RadioShack
Dover, DE 19901                             33       2/17/2015 Corporation                                                   $6,703.67                                                                                        $6,703.67
Production Contracting, LLC
Christopher Carione
161 21st Street                                                RS Legacy Corporation fka RadioShack
Brooklyn, NY 11232                          34       2/17/2015 Corporation                                                $117,460.00                                                                                       $117,460.00
Palm Coast Observer LLC
PO Box 353850                                                  RS Legacy Corporation fka RadioShack
Palm Coast, FL 32135                        35       2/17/2015 Corporation                                                   $1,527.08                                                                                        $1,527.08
Terry's Lawn Care, Inc.
PO Box 941                                                     RS Legacy Corporation fka RadioShack
Aledo, TX 76008                             36       2/17/2015 Corporation                                                   $4,790.07                                                                                        $4,790.07
Daily News, L.P.
125 Theodore Conrad Drive                                      RS Legacy Corporation fka RadioShack
Jersey City, NJ 07305                       37       2/17/2015 Corporation                                                $133,100.82                                                                                       $133,100.82
Times Journal
PO Box 339                                                     RS Legacy Corporation fka RadioShack
Cobleskill, NY 12043                        38       2/17/2015 Corporation                                                     $349.89                                                                                          $349.89
Abbeville Meridional
PO Box 400                                                     RS Legacy Corporation fka RadioShack
Abbeville, LA 70510                         39       2/17/2015 Corporation                                                     $255.84                                                    $0.00                                 $255.84




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                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
GROVE SQUARE LIMITED PARTNERSHIP
SIDCOR REAL ESTATE
N 9274 WINDY WAY                                                          RS Legacy Corporation fka RadioShack
MUKWONAGO, WI 53149                                    40       2/17/2015 Corporation                                                  $8,627.52                                                                                        $8,627.52
AIR TREATMENT INC
4110 ROMAINE ST                                                           RS Legacy Corporation fka RadioShack
GREENSBORO, NC 27407                                   41       2/17/2015 Corporation                                                  $3,973.00                                                                                        $3,973.00
High Country Media
PO Box 1815                                                               RS Legacy Corporation fka RadioShack
Boone, NC 28607                                        42       2/17/2015 Corporation                                                  $1,071.00                                                                                        $1,071.00

Weslaco Independent School District
John T. Banks
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
3301 Northland Drive
Suite 505                                                                 RS Legacy Corporation fka RadioShack
Austin, TX 78731                                       43       2/17/2015 Corporation                                                                                           $0.00                                                       $0.00
Waycross Journal Herald
PO Box 219                                                                RS Legacy Corporation fka RadioShack
Waycross, GA 31502                                     44       2/17/2015 Corporation                                                    $495.00                                                                                          $495.00
Homecrest Services, LLC d/b/a Mr. Rooter Plumbing
of Queens
PO Box 119                                                                RS Legacy Corporation fka RadioShack
East Brunswick, NJ 08816                               45       2/17/2015 Corporation                                                  $6,246.97                                                                                        $6,246.97
American Combustion Industries, Inc.
7100 Holladay Tyler Road, Suite 233                                       RS Legacy Corporation fka RadioShack
Glenn Dale, MD 20769                                   46       2/17/2015 Corporation                                                    $591.00                                                                                          $591.00
Richard Woods JR and Bryan G. Hasendehrl
1053 21st St                                                              RS Legacy Corporation fka RadioShack
Lewiston, ID 83501                                     47       2/17/2015 Corporation                                                  $7,289.27                                                                                        $7,289.27
Southtown Plaza, LLC
Sidcor Real Estate
N9274 Windy Way                                                           RS Legacy Corporation fka RadioShack
Mukwonago, WI 53149                                    48       2/17/2015 Corporation                                                  $5,192.26                                                                                        $5,192.26
THE INDEPENDENT
PO BOX 311                                                                RS Legacy Corporation fka RadioShack
ASHLAND, KY 41105‐0311                                 49       2/17/2015 Corporation                                                  $2,931.75                                                                                        $2,931.75

Kerr County
John T. Banks
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
3301 Northland Drive
Suite 505                                                                 RS Legacy Corporation fka RadioShack
Austin, TX 78731                                       50       2/17/2015 Corporation                                                                                         $817.35                                                     $817.35
S&I Partners
7600 Red Road, Suite 124                                                  RS Legacy Corporation fka RadioShack
South Miami, FL 33143                                  51       2/17/2015 Corporation                                                                                           $0.00                                                       $0.00




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                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount

Kendall County
John T. Banks
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
3301 Northland Drive
Suite 505                                                                RS Legacy Corporation fka RadioShack
Austin, TX 78731                                      52       2/17/2015 Corporation                                                                                       $2,845.57                                                   $2,845.57
Stephens Media DBA The Courier Tribune
The Courier Tribune
500 Sunset Ave                                                           RS Legacy Corporation fka RadioShack
Asheboro, NC 27203                                    53       2/17/2015 Corporation                                                    $564.00                                                                                          $564.00

City of Weslaco
John T. Banks
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
3301 Northland Drive
Suite 505                                                                RS Legacy Corporation fka RadioShack
Austin, TX 78731                                      54       2/17/2015 Corporation                                                                                       $1,944.49                                                   $1,944.49
Diversified Signs & Graphics, Inc
4085 E La Palma Ave #C                                                   RS Legacy Corporation fka RadioShack
Anaheim, CA 92807                                     55       2/17/2015 Corporation                                                  $7,418.76                                                                                        $7,418.76
George A. and Marlene Sperry Trust
Coldwell Banker McKinney & Assoc.
2196 Lake Tahoe Blvd.                                                    RS Legacy Corporation fka RadioShack
So Lake Tahoe, CA 96150                               56       2/17/2015 Corporation                                                  $8,199.58                                                                                        $8,199.58
The Times
The Times Newspaper
110 W. Jefferson St.                                                     RS Legacy Corporation fka RadioShack
Ottawa, IL 61350                                      57       2/17/2015 Corporation                                                  $1,084.75                                                                                        $1,084.75

Newspapers of New England DBA Concord Monitor
PO Box 1177                                                              RS Legacy Corporation fka RadioShack
Concord, NH 03302                                     58       2/17/2015 Corporation                                                  $1,048.80                                                                                        $1,048.80
Casata, LP
c/o TRI Property Management Services, Inc.
2209 Plaza Drive, Suite 100                                              RS Legacy Corporation fka RadioShack
Rocklin, CA 95765                                     59       2/17/2015 Corporation                                                $10,747.18                                                                                        $10,747.18
Mu Sigma Inc.
3400 Dundee Rd. Suite 160                                                RS Legacy Corporation fka RadioShack
Northbrook, IL 60062                                  60       2/17/2015 Corporation                                               $325,600.00                                                                                       $325,600.00

McAllen Independent School District
John T. Banks
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
3301 Northland Drive
Suite 505                                                                RS Legacy Corporation fka RadioShack
Austin, TX 78731                                      61       2/17/2015 Corporation                                                                                           $0.00                                                       $0.00




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                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount

Copperas Cove Independent School District
John T. Banks
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
3301 Northland Drive
Suite 505                                                                RS Legacy Corporation fka RadioShack
Austin, TX 78731                                      62       2/17/2015 Corporation                                                                                         $1,246.57                                                   $1,246.57
New Concept Facility Solutions
16249 107th ave                                                          RS Legacy Corporation fka RadioShack
Orland Park, IL 60467                                 63       2/17/2015 Corporation                                                  $18,297.55                                                $12,640.34                              $30,937.89
Hauck Holdings Nacogdoches II, TX LLC
4334 Glendale Milford Road                                               RS Legacy Corporation fka RadioShack
Cincinnati, OH 45242                                  64       2/18/2015 Corporation                                                      $571.23                                                                                          $571.23
Artesia Daily Press
PO Box 190                                                               RS Legacy Corporation fka RadioShack
Artesia, NM 88211                                     65       2/18/2015 Corporation                                                      $376.03                                                                                          $376.03
ATWOOD3B LLC and ATWOODTFB LLC
22481 Tindaya                                                            RS Legacy Corporation fka RadioShack
Mission Viejo, CA 92692                               66       2/18/2015 Corporation                                                    $2,773.34                                                                                        $2,773.34
GateHouse Media Pennsylvania Holdings, Inc
220 8th Street                                                           RS Legacy Corporation fka RadioShack
Honesdale, PA 18431                                   67       2/18/2015 Corporation                                                      $240.00                                                                                          $240.00
Pizzazz Center I LLC
PO Box 481                                                               RS Legacy Corporation fka RadioShack
Grover, MO 63040                                      68       2/18/2015 Corporation                                                    $2,200.00                                                                                        $2,200.00
Field Stone Dirt Works Corp
446 East Meadow Ave #196                                                 RS Legacy Corporation fka RadioShack
East Meadow, NY 11554                                 69       2/18/2015 Corporation                                                    $5,740.83                                                                                        $5,740.83
Air ‐ Mart Heating & Cooling
225 Stedman St. Unit 13                                                  RS Legacy Corporation fka RadioShack
Lowell, MA 01851                                      70       2/18/2015 Corporation                                                    $7,686.41                                                                                        $7,686.41
Woolridge, Terry Darnell
943 Green Ridge Drive                                                    RS Legacy Corporation fka RadioShack
Richmond, VA 23225                                    71       2/18/2015 Corporation                                                                       $3,444.00                                                                     $3,444.00
Uniontown Newspapers, Inc Herald Standard
Attn: Lindsey Price
8 E Church Street                                                        RS Legacy Corporation fka RadioShack
Uniontown, PA 15401                                   72       2/18/2015 Corporation                                                      $481.49                                                                                          $481.49
New York State Department of Taxation and
Finance
Bankruptcy Section
PO Box 5300
Albany, NY 12205‐0300                                 73       2/18/2015 Atlantic Retail Ventures, Inc.                               $82,731.34                                                                                        $82,731.34
Air Pro Inc.
827 Edith Blvd NE                                                        RS Legacy Corporation fka RadioShack
ALBUQUERQUE, NM 87102                                 74       2/18/2015 Corporation                                                    $4,916.82                                                                                        $4,916.82
Ferrellgas, Inc.
Ferrellgas
One Liberty Plaza ‐ Mail Drop                                            RS Legacy Corporation fka RadioShack
Liberty, MO 64068                                     75       2/18/2015 Corporation                                                    $1,287.18                                                                                        $1,287.18




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                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
Viking Distributing Co., Inc. ‐Profit Sharing Plan &
Trust dba South Gateway Retail Center (RadioShack
Store # 013356‐00)
South Gateway Retail Center
PO Box 4129                                                                  RS Legacy Corporation fka RadioShack
Medford, OR 97501                                         76       2/18/2015 Corporation                                                  $6,910.34                                                                                        $6,910.34
Hauck Holdings HANNIBAL, MO I, LLC
4334 Glendale‐ Milford Road                                                  RS Legacy Corporation fka RadioShack
Cincinnati, OH 45242                                      77       2/18/2015 Corporation                                                      $0.00                                                                                            $0.00
The Whistler Group, Inc.
Chris W. Sooter
PO Box 1760                                                                  RS Legacy Corporation fka RadioShack
Bentonville, AR 72712                                     78       2/18/2015 Corporation                                                      $0.00                                                                                            $0.00
Justice, Debra L.
2119 Turf Club Dr.                                                           RS Legacy Corporation fka RadioShack
Arlington, TX 76017                                       79       2/18/2015 Corporation                                                                     $4,921.60                                                                     $4,921.60
Gold Country Media
PO Box 5910                                                                  RS Legacy Corporation fka RadioShack
Auburn, CA 95604                                          80       2/18/2015 Corporation                                                  $1,921.15                                                                                        $1,921.15
77 Digital
Forum 1
Edificio A Piso 2
Santa Ana, San Jose                                                          RS Legacy Corporation fka RadioShack
Costa Rica                                                81       2/18/2015 Corporation                                                  $1,740.00                                                                                        $1,740.00
Bradford Publishing Co.
639 Norton Drive                                                             RS Legacy Corporation fka RadioShack
Olean, NY 14760                                           82       2/18/2015 Corporation                                                  $4,750.96                                                                                        $4,750.96
Best Name Badges
Ryan Ellis
1700 NW 65th Ave Suite 4                                                     RS Legacy Corporation fka RadioShack
Plantation, FL 33313                                      83       2/18/2015 Corporation                                                $22,614.25                                                                                        $22,614.25
HAMMOND REALTY LLC
201 HEMINGFORD CIRCLE                                                        RS Legacy Corporation fka RadioShack
SIMPSONVILLE, SC 29681                                    84       2/18/2015 Corporation                                                  $3,982.58                                                                                        $3,982.58
Oxford Newsmedia LLC
Attn: Jessica Harwell
PO Box 866                                                                   RS Legacy Corporation fka RadioShack
Oxford, MS 38655                                          85       2/18/2015 Corporation                                                    $401.79                                                                                          $401.79
Republic Media DBA: The Arizona Republic
The Arizona Republic
200 E. Van Buren                                                             RS Legacy Corporation fka RadioShack
Phoenix, AZ 85004                                         86       2/18/2015 Corporation                                                $13,024.62                                                                                        $13,024.62
Bellerose Automatic Transmissions, Inc.
c/o Steven Louros, Esq.
1261 Broadway, Suite 1100                                                    RS Legacy Corporation fka RadioShack
New York, NY 10001                                        87       2/18/2015 Corporation                                                                                                                             $6,641.74             $6,641.74
Chronicle Printing Co. Inc.
PO Box 148                                                                   RS Legacy Corporation fka RadioShack
Willimantic, CT 06226                                     88       2/18/2015 Corporation                                                    $347.62                                $0.00                                                     $347.62




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Tarrant County
Elizabeth Weller
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Freeway
Suite 1000                                                     RS Legacy Corporation fka RadioShack
Dallas, TX 75207                            89       2/18/2015 Corporation                                                                                   $2,911,394.55                                               $2,911,394.55
Dallas County
Elizabeth Weller
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Freeway
Suite 1000                                                     RS Legacy Corporation fka RadioShack
Dallas, TX 75207                            90       2/18/2015 Corporation                                                                                     $108,210.96                                                 $108,210.96
The Buffalo News, Inc. d/b/a TBN Media
c/o GETMAN & BIRYLA, LLP
800 Rand Building
14 Lafayette Square                                            RS Legacy Corporation fka RadioShack
Buffalo, NY 14203‐1995                      91       2/18/2015 Corporation                                                $59,395.71                                                                                        $59,395.71
77 Digital
Forum 1, Edificio 4, Piso 2
Santa Ana, San Jose                                            RS Legacy Corporation fka RadioShack
COSTA RICA                                  92       2/18/2015 Corporation                                                $19,660.00                                                                                        $19,660.00
Ford Centre, LLC
2530 Scottsville Rd Suite 21                                   RS Legacy Corporation fka RadioShack
Bowling Green, KY 42104                     93       2/18/2015 Corporation                                                                                           $0.00                                                       $0.00
Center & Court Properties, LLC
Anthony Yousif
812 S Main Street
Suite 200                                                      RS Legacy Corporation fka RadioShack
Royal Oak, MI 48067                         94       2/18/2015 Corporation                                                $43,374.48                                 $0.00                             $5,270.94            $48,645.42
Parker CAD
Elizabeth Weller
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Freeway
Suite 1000                                                     RS Legacy Corporation fka RadioShack
Dallas, TX 75207                            95       2/18/2015 Corporation                                                                                       $6,572.69                                                   $6,572.69
Dallas County
Elizabeth Weller
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Freeway
Suite 1000
Dallas, TX 75207                            96       2/18/2015 SCK, Inc.                                                                                             $0.00                                                       $0.00
Dean Technology, Inc
PO Box 700968                                                  RS Legacy Corporation fka RadioShack
Dallas, TX 75370                            97       2/18/2015 Corporation                                                $32,770.00                                 $0.00                                                  $32,770.00
Merlo Plumbing Co., Inc.
11041 Gravois Industrial Court                                 RS Legacy Corporation fka RadioShack
St. Louis, MO 63128                         98       2/18/2015 Corporation                                                    $250.00                                                                                          $250.00
The Journal Times
212 4th St                                                     RS Legacy Corporation fka RadioShack
Racine, WI 53403                            99       2/18/2015 Corporation                                                  $8,213.69                                                                                        $8,213.69




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            Creditor Name and Address              Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
Tri‐State Pennysaver Inc
85 Executive Blvd., Ste 295                                              RS Legacy Corporation fka RadioShack
Elmsford, NY 10523                                   100       2/18/2015 Corporation                                                  $5,931.93                                                                                        $5,931.93
Essex Media Group, dba. The Daily Item
Susan Conti
110 Munroe St.                                                           RS Legacy Corporation fka RadioShack
Lynn, MA 01901                                       101       2/18/2015 Corporation                                                    $469.80                                                                                          $469.80
Fort Bend CO MUD # 26
John P. Dillman
Linebarger Goggan Blair & Sampson, LLP
PO Box 3064                                                              RS Legacy Corporation fka RadioShack
Houston, TX 77253‐3064                               102       2/18/2015 Corporation                                                                                         $698.63                                                     $698.63
Cypress ‐ Fairbanks ISD
John P. Dillman
Linebarger Goggan Blair & Sampson, LLP
PO Box 3064                                                              RS Legacy Corporation fka RadioShack
Houston, TX 77253‐3064                               103       2/18/2015 Corporation                                                                                       $6,983.70                                                   $6,983.70
Angelina County
John P. Dillman
Linebarger Goggan Blair & Sampson, LLP
PO Box 3064                                                              RS Legacy Corporation fka RadioShack
Houston, TX 77253‐3064                               104       2/18/2015 Corporation                                                                                       $2,963.81                                                   $2,963.81
Tarrant County
Elizabeth Weller
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Freeway
Suite 1000
Dallas, TX 75207                                     105       2/18/2015 TE Electronics LP                                                                                     $0.00                                                       $0.00
City of Carrollton
Elizabeth Weller
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Freeway
Suite 1000                                                               RS Legacy Corporation fka RadioShack
Dallas, TX 75207                                     106       2/18/2015 Corporation                                                                                       $1,663.22                                                   $1,663.22

Southern Newspapers Inc. DBA Del Rio News‐Herald
2205 N. Bedell Avenue                                                    RS Legacy Corporation fka RadioShack
Del Rio, TX 78840                                    107       2/18/2015 Corporation                                                    $225.00                                                                                          $225.00
Newspaper Agency Company LLC dba Utah Media
Group
4770 S. 5600 W                                                           RS Legacy Corporation fka RadioShack
West Valley City, UT 84118                           108       2/18/2015 Corporation                                                $20,009.50                                                                                        $20,009.50
APG Media of Ohio
PO Box 600                                                               RS Legacy Corporation fka RadioShack
Easton, MD 21601                                     109       2/18/2015 Corporation                                                    $476.26                                                                                          $476.26
WA State Employment Security Department
Bankruptcy Unit
PO Box 9046                                                              RS Legacy Corporation fka RadioShack
Olympia, WA 98507‐9046                               110       2/18/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00




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                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                    Amount

NORTHEAST HEATING COOLING REFRIGERATION
27 RAILROAD AVE                                                        RS Legacy Corporation fka RadioShack
ALBANY, NY 12205                                   111       2/18/2015 Corporation                                                    $675.42                                                                                          $675.42
Milford Enterprises, LLC
3703 Concord Pike                                                      RS Legacy Corporation fka RadioShack
Wilmington, DE 19803                               112       2/18/2015 Corporation                                                $14,846.62                                                                                        $14,846.62
CITY OF CORINTH
Elizabeth Weller
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Freeway
Suite 1000                                                             RS Legacy Corporation fka RadioShack
Dallas, TX 75207                                   113       2/18/2015 Corporation                                                                                         $738.06                                                     $738.06
Danville Crossing, LP and LaPorte Partners, LP
7625 N. University St., Suite C                                        RS Legacy Corporation fka RadioShack
Peoria, IL 61614                                   114       2/18/2015 Corporation                                                $29,937.76                                                                                        $29,937.76
ARROW EXTERMINATORS INC
1517 W. NORTH CARRIER PKWY #146                                        RS Legacy Corporation fka RadioShack
GRAND PRAIRIE, TX 75050                            115       2/19/2015 Corporation                                                  $1,012.38                                                    $0.00                               $1,012.38
KENTUCKY NEW ERA
PO BOX 729                                                             RS Legacy Corporation fka RadioShack
HOPKINSVILLE, KY 42240                             116       2/19/2015 Corporation                                                  $1,560.78                                                                                        $1,560.78
Design Plastics Inc.
4000 Lubbock                                                           RS Legacy Corporation fka RadioShack
Fort Worth, TX 76110                               117       2/19/2015 Corporation                                                      $0.00                                                                                            $0.00
Kueven, James
130 Quail Pl.                                                          RS Legacy Corporation fka RadioShack
Milleadgeville, GA 31061                           118       2/19/2015 Corporation                                                                                                              $39.58                                  $39.58
Fourman, Jason
2521 Victory Street
apt O2                                                                 RS Legacy Corporation fka RadioShack
Augusta, GA 30909                                  119       2/19/2015 Corporation                                                      $0.00                                                                                            $0.00
Harris County, et al
John P. Dillman
Linebarger Goggan Blair & Sampson, LLP
PO Box 3064                                                            RS Legacy Corporation fka RadioShack
Houston, TX 77253‐3064                             120       2/18/2015 Corporation                                                                                     $112,609.11                                                 $112,609.11
Pioneer, LLC & Prospect, LLC
7625 N. University St., Suite C                                        RS Legacy Corporation fka RadioShack
Peoria, IL 61614                                   121       2/18/2015 Corporation                                                $31,396.79                                                                                        $31,396.79
Pioneer, LLC & Prospect, LLC
7625 N. University St., Suite C                                        RS Legacy Corporation fka RadioShack
Peoria, IL 61614                                   122       2/18/2015 Corporation                                                  $3,464.29                                                                                        $3,464.29
Assembly Products, Inc.
PO Box 147
Westfield, WI 53964                                123       2/19/2015 TE Electronics LP                                            $7,153.01                                                                                        $7,153.01
American Republican Inc
389 Meadow St.                                                         RS Legacy Corporation fka RadioShack
Waterbury, CT 06702                                124       2/18/2015 Corporation                                                  $6,967.73                                                                                        $6,967.73




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Wick Communications
Ron Lee
333 W. Wilcox Dr
Ste 302                                                        RS Legacy Corporation fka RadioShack
Sierra Vista, AZ 85635                     125       2/18/2015 Corporation                                                   $2,048.07                                                                                        $2,048.07
SEAN & STEPHEN CORPORATION
4F, NO.3, LANE 335, SEC. 4
HSIN‐Y1 Road                                                   RS Legacy Global Sourcing Limited Partnership
TAIPEI, R.O.C. 106                                             fka RadioShack Global Sourcing Limited
TAIWAN                                     126       2/18/2015 Partnership                                                                                                                $0.00                                   $0.00
Mospec Semiconductor Corp.
16 FL., No. 182‐1, Sec. 2
Tun Hwa S. Rd.,
TAIPEI                                                         RS Legacy Corporation fka RadioShack
TAIWAN                                     127       2/18/2015 Corporation                                                   $5,680.00                                                                                        $5,680.00
Tarrant County
Elizabeth Weller
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Freeway
Suite 1000
Dallas, TX 75207                           128       2/18/2015 SCK, Inc.                                                                                              $0.00                                                       $0.00
Galveston County
John P. Dillman
Linebarger Goggan Blair & Sampson, LLP
PO Box 3064                                                    RS Legacy Corporation fka RadioShack
Houston, TX 77253‐3064                     129       2/18/2015 Corporation                                                                                       $11,368.27                                                  $11,368.27
Fort Bend County
John P. Dillman
Linebarger Goggan Blair & Sampson, LLP
PO Box 3064                                                    RS Legacy Corporation fka RadioShack
Houston, TX 77253‐3064                     130       2/18/2015 Corporation                                                                                       $16,710.07                                                  $16,710.07
Musical Electronics Limited
Flat H, J, K, 12th Floor
World Tech Centre
95 How Ming Street
Kwun Tong, Kowloon                                             RS Legacy Corporation fka RadioShack
Hong Kong                                  131       2/18/2015 Corporation                                                                                                                $0.00                                   $0.00
Polk County
John P. Dillman
Linebarger Goggan Blair & Sampson, LLP
PO Box 3064                                                    RS Legacy Corporation fka RadioShack
Houston, TX 77253‐3064                     132       2/18/2015 Corporation                                                                                        $4,480.44                                                   $4,480.44
Montgomery County
John P. Dillman
Linebarger Goggan Blair & Sampson, LLP
PO 3064                                                        RS Legacy Corporation fka RadioShack
Houston, TX 77253‐3064                     133       2/18/2015 Corporation                                                                                       $15,251.87                                                  $15,251.87
Everspring Industry Co., Ltd.
3F. No. 50. Sec 1. Zhonghua Rd.
Tucheng Dist.
New Taipei City 23666                                          RS Legacy Corporation fka RadioShack
Taiwan                                     134       2/18/2015 Corporation                                                 $30,492.16                                                                                        $30,492.16



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                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Nick Corcokios Ent. Inc.
9121 N. military Trail, Suite #101                                       RS Legacy Corporation fka RadioShack
Palm Beach Gardens, FL 33410                         135       2/18/2015 Corporation                                                                                                                $0.00                                   $0.00

COLORADO COUNTY
John T. Banks
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
3301 Northland Drive
Suite 505                                                                RS Legacy Corporation fka RadioShack
Austin, TX 78731                                     136       2/17/2015 Corporation                                                                                            $0.00                                                       $0.00
Star Tribune
Attn: Credit Dept
425 Portland Ave.                                                        RS Legacy Corporation fka RadioShack
Minneapolis, MN 55488                                137       2/19/2015 Corporation                                                 $38,473.55                                                                                        $38,473.55
Unixtar Technology Inc.
Jessy Chang / Unixtar Technology Inc.
13F, 98‐100, Ming Chuan Rd.                                              RS Legacy Global Sourcing Limited Partnership
Hsin Tien Dist, New Taipei City 231                                      fka RadioShack Global Sourcing Limited
TAIWAN                                               138       2/19/2015 Partnership                                                $771,416.55                                                                                       $771,416.55
Shin Kin Enterprises Co., Ltd.
2F, No. 161 Hsin Yi Road
Panchiao District                                                        RS Legacy Global Sourcing Limited Partnership
New Taipei City 22061                                                    fka RadioShack Global Sourcing Limited
Taiwan                                               139       2/17/2015 Partnership                                                $183,132.20                                                     $0.00                             $183,132.20
Protop International Inc.
5F‐3. No.33, Sec.1, Minsheng Rd.
Banqiao Dist.
New Taipei City 220                                                      RS Legacy Corporation fka RadioShack
Taiwan, R.O.C                                        140       2/19/2015 Corporation                                                       $0.00                                                    $0.00                                   $0.00
Orange County
John P. Dillman
Linebarger Goggan Blair & Sampson, LLP
PO Box 3064                                                              RS Legacy Corporation fka RadioShack
Houston, TX 77253‐3064                               141       2/18/2015 Corporation                                                                                        $6,264.02                                                   $6,264.02
Arctic Silver, Inc
9826 West Legacy Ave.                                                    RS Legacy Corporation fka RadioShack
Visalia, CA 93291                                    142       2/19/2015 Corporation                                                 $37,200.00                                                                                        $37,200.00
Ranger American of The Virgin Island, Inc
PO Box 29105                                                             RS Legacy Corporation fka RadioShack
San Juan , PR 00929‐0105                             143       2/19/2015 Corporation                                                     $550.00              $0.00                                                                       $550.00
CFJ MANUFACTURING
5001 N FREEWAY                                                           RS Legacy Corporation fka RadioShack
FORT WORTH, TX 76106                                 144       2/20/2015 Corporation                                                                                                                $0.00                                   $0.00
Mann, Gregory
21923 Martin Circle                                                      RS Legacy Corporation fka RadioShack
Hagerstown, MD 21742                                 145       2/20/2015 Corporation                                                   $4,595.79                                                $3,745.50                               $8,341.29
Garber Properties
115 So. Vine St.                                                         RS Legacy Corporation fka RadioShack
Hinsdale , IL 60521                                  146       2/20/2015 Corporation                                                 $17,319.87                                                                                        $17,319.87
Ranger American of Puerto Rico, Inc.
PO Box 29105                                                             RS Legacy Corporation fka RadioShack
San Juan, PR 00929‐0105                              147       2/19/2015 Corporation                                                   $5,048.74          $5,048.74                                                                    $10,097.48



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                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                    Amount
RL East Haven SC, LLC
JCorp Realty, LLC
2 Corporate Drive Suite 441                                              RS Legacy Corporation fka RadioShack
Shelton, CT 06484                                    148       2/20/2015 Corporation                                                $15,138.14                                                                                        $15,138.14
CB Building LP
5115 Stanley Keller Rd                                                   RS Legacy Corporation fka RadioShack
Haltom City, TX 76117                                149       2/20/2015 Corporation                                                      $0.00                                                                                            $0.00
Wylie Commercial LLC. Landlord
PO Box 163                                                               RS Legacy Corporation fka RadioShack
Colleyville, TX 76034                                150       2/20/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
Moonlight A and F LLC
4703 Autumn Lakes                                                        RS Legacy Corporation fka RadioShack
Missouri City, TX 77459                              151       2/20/2015 Corporation                                                                         $0.00                                 $0.00                                   $0.00

Lubbock Central Appraisal District
Laura J. Monroe
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
PO Box 817                                                               RS Legacy Corporation fka RadioShack
Lubbock, TX 79408                                    152       2/23/2015 Corporation                                                                                           $0.00                                                       $0.00
Walker, Wanda D
409 Summit Way                                                           RS Legacy Corporation fka RadioShack
Norman, OK 73071                                     153       2/23/2015 Corporation                                                  $1,028.57                                                                                        $1,028.57
Cranston / BVT Associates LP
Stephen J Perrone
100 Westminster St, Suite 1700                                           RS Legacy Corporation fka RadioShack
Providence, RI 02903                                 154       2/23/2015 Corporation                                                $11,789.37                                                                                        $11,789.37
Contel USA, Inc
14270 Albers Way                                                         RS Legacy Corporation fka RadioShack
Chino, CA 91710                                      155       2/23/2015 Corporation                                                $42,410.00                                                                                        $42,410.00
BEST USA LOGISTICS INC
47470 SEABRIDGE DR.                                                      RS Legacy Corporation fka RadioShack
FREMONT, CA 94538                                    156       2/23/2015 Corporation                                                     $55.15                                                                                           $55.15
Champagne's Energy
844 Old Post Rd                                                          RS Legacy Corporation fka RadioShack
Arundel, ME 04046                                    157       2/23/2015 Corporation                                                  $4,562.18                                                                                        $4,562.18
Skovron Mechanical Services LLC
66 Main St.                                                              RS Legacy Corporation fka RadioShack
Raymond, NH 03077                                    158       2/23/2015 Corporation                                                $14,719.10                                                                                        $14,719.10
Allocacoc Corp
200 Technology Drive Suite A                                             RS Legacy Corporation fka RadioShack
Irvine, CA 92618                                     159       2/23/2015 Corporation                                                $50,109.50                                                                                        $50,109.50
Pandora Media, Inc.
Dave Nelson
2101 Webster St., Suite 1650                                             RS Legacy Corporation fka RadioShack
Oakland, CA 94612                                    160       2/23/2015 Corporation                                                $78,782.66                                                                                        $78,782.66
The Trenton Times
William Sulliven
1 Harman Plaza                                                           RS Legacy Corporation fka RadioShack
Secaucus, NJ 07094                                   161       2/23/2015 Corporation                                                  $5,836.67                                                                                        $5,836.67
Hannah, Jason Cornelius
PO Box 3872                                                              RS Legacy Corporation fka RadioShack
Petersburg, VA 23805                                 162       2/23/2015 Corporation                                                                     $5,219.25                                                                     $5,219.25



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                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                    Amount
BURLINGTON PALLET
17631 140TH ST                                                          RS Legacy Corporation fka RadioShack
DANVILLE, IA 52623                                  163       2/23/2015 Corporation                                                    $950.00                                                                                          $950.00

Lone Oak Publishing Co., Inc. DBA The Chronicle
The Chronicle
PO Box 153                                                              RS Legacy Corporation fka RadioShack
Glens Falls, NY 12801                               164       2/23/2015 Corporation                                                  $2,930.81                                                                                        $2,930.81
Allocacoc Corp
200 Technology Drive Suite A                                            RS Legacy Corporation fka RadioShack
Irvine, CA 92618                                    165       2/23/2015 Corporation                                                $22,650.50               $0.00                                                                    $22,650.50
Corporate Graphics International
1885 Northway Dr.                                                       RS Legacy Corporation fka RadioShack
N. Mankato, MN 56003                                166       2/23/2015 Corporation                                                $29,041.35                                                                                        $29,041.35
Allocacoc Corp
200 Technology Drive Suite A                                            RS Legacy Corporation fka RadioShack
Irvine, CA 92618                                    167       2/23/2015 Corporation                                                  $2,496.00                                                                      $0.00             $2,496.00
PR Newswire Association, LLC
602 Plaza Three
Harborside Financial Center, 6th Floor                                  RS Legacy Corporation fka RadioShack
Jersey City, NJ 07311                               168       2/23/2015 Corporation                                                $10,195.00                                                                                        $10,195.00
COPSPLUS INC
Attn: Ion Hatzithomas
38‐01 23RD AVE, STE 407                                                 RS Legacy Corporation fka RadioShack
ASTORIA, NY 11105                                   169       2/23/2015 Corporation                                                    $173.78                                                    $0.00                                 $173.78
NJAM ‐ New Jersey Advance Media
William Sullivan
1 Harman Plaza                                                          RS Legacy Corporation fka RadioShack
Secaucus, NJ 07094                                  170       2/23/2015 Corporation                                                $36,091.89                                                                                        $36,091.89
SCREENVISION
1411 BROADWAY FL 33                                                     RS Legacy Corporation fka RadioShack
NEW YORK, NY 10018                                  171       2/23/2015 Corporation                                              $1,164,606.00                                                                                    $1,164,606.00
TPP 217 TAYLORSVILLE, LLC
C/O NEWMARK GRUBB ACRES
376 EAST 400 SOUTH, SUITE 120                                           RS Legacy Corporation fka RadioShack
SALT LAKE CITY, UT 84111                            172       2/23/2015 Corporation                                                  $2,533.87                                                                                        $2,533.87
Wilkes Journal ‐ Patriot
PO Box 70                                                               RS Legacy Corporation fka RadioShack
North Wilkesboro, NC 28659                          173       2/23/2015 Corporation                                                    $703.68                                                                                          $703.68
The Express Times
William Sullivan
1 Harman Plaza                                                          RS Legacy Corporation fka RadioShack
Secaucus, NJ 07094                                  174       2/23/2015 Corporation                                                $11,056.37                                                                                        $11,056.37

The Times‐Picayune L.L.C. dba NOLA Media Group
3800 Howard Ave                                                         RS Legacy Corporation fka RadioShack
New Orleans, LA 70125                               175       2/20/2015 Corporation                                                $76,769.57                                                                                        $76,769.57
Northern Virginia Daily
152 N Holliday St                                                       RS Legacy Corporation fka RadioShack
Strasburg, VA 22657                                 176       2/23/2015 Corporation                                                  $1,054.00                                                                                        $1,054.00




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                                                                                                                                             Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address         Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                    Amount
Capital Enterprises, Inc.
Jeffrey Kurtzman, Esquire
1835 Market Street, Suite 1400                                      RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                          177       2/23/2015 Corporation                                                $10,036.02                                                                                        $10,036.02
Jartown, LP
Jeffrey Kurtzman, Esquire
1835 Market Street, Suite 1400                                      RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                          178       2/23/2015 Corporation                                                      $0.00                                                                                            $0.00
BT ABINGTON, LP
Jeffrey Kurtzman, Esquire
1835 Market Street, Suite 1400                                      RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                          179       2/23/2015 Corporation                                                $13,980.89                                                                                        $13,980.89
BT PALM BEACH, LLC
Jeffrey Kurtzman, Esquire
1835 Market Street, Suite 1400                                      RS Legacy Corporation fka RadioShack
Philadelphia , PA 19103                         180       2/23/2015 Corporation                                                      $0.00                                                                                            $0.00
Argento SC
Attn: Dina Vernikova
1407 Broadway, Suite 2201                                           RS Legacy Corporation fka RadioShack
New York, NY 10018                              181       2/23/2015 Corporation                                                                         $0.00                                 $0.00                                   $0.00
Claims Recovery Group LLC as Transferee for
Argento Sc By Sicura Inc.
C/O CRG Financial LLC
Attn: General Counsel
100 Union Avenue, Suite 240                                         RS Legacy Corporation fka RadioShack
Cresskill, NJ 07626                             181       2/23/2015 Corporation                                                                         $0.00                                 $0.00                                   $0.00
CHESTER MALL, LLC
4 EXECUTIVE BOULEVARD, SUITE 200                                    RS Legacy Corporation fka RadioShack
SUFFERN, NY 10901                               182       2/20/2015 Corporation                                                  $5,435.68                                                                                        $5,435.68
Clean Logic Technologies Ltd.
Rory Kilgallen
Clash Industrial Est.
Tralee, Co. Kerry                                                   RS Legacy Corporation fka RadioShack
Ireland                                         183       2/23/2015 Corporation                                                $11,137.60                                                                                        $11,137.60
Guion Gregg, III Investments
Megan Kobler
Gregg Children's Property Trust
3838 Oak Lawn Ave., Suite 1416                                      RS Legacy Corporation fka RadioShack
Dallas , TX 75219                               184       2/20/2015 Corporation                                                $10,261.09                                                                                        $10,261.09
Jardel Co., Inc
Jeffrey Kurtzman, Esquire
401 S 2nd St Ste 200                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19147‐1612                     185       2/23/2015 Corporation                                                  $6,739.82                                                                                        $6,739.82
Robertson County
Diane W. Sanders
Linebarger Goggan Blair & Sampson, LLP
PO Box 17428                                                        RS Legacy Corporation fka RadioShack
Austin, TX 78760‐7428                           186       2/24/2015 Corporation                                                                                           $0.00                                                       $0.00
Frontline Mechanical Inc.
205 N. Walnut St.                                                   RS Legacy Corporation fka RadioShack
Howell, MI 48843                                187       2/24/2015 Corporation                                                  $6,261.32                                                                                        $6,261.32




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                                                                                                                             Current General                                           Current 503(b)(9)
                                                                                                                                                  Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address              Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                    Amount
The San Diego Union‐Tribune, LLC
Attn: Vickie Bolinger, Credit Mgr
PO Box 121222                                                            RS Legacy Corporation fka RadioShack
San Diego, CA 92112‐9884                             188       2/24/2015 Corporation                                                $26,471.99                                                                                        $26,471.99
Talcott III Thousand Oaks, LP
c/o CBRE Memphis
2620 Thousand Oaks Blvd., Suite 4000                                     RS Legacy Corporation fka RadioShack
Memphis, TN 38118                                    189       2/24/2015 Corporation                                                  $2,745.32                                                                                        $2,745.32
City of El Paso
David G. Aelvoet
Linebarger Goggan Blair & Sampson, LLP
711 Navarro Street, Ste 300                                              RS Legacy Corporation fka RadioShack
San Antonio, TX 78205                                190       2/24/2015 Corporation                                                                                      $45,118.18                                                  $45,118.18
Encompass Supply Chain Solutions Inc
Anita Nash
775 Tipton Industrial Dr Ste D                                           RS Legacy Corporation fka RadioShack
Lawrenceville, GA 30046                              191       2/24/2015 Corporation                                                    $336.51                                                                                          $336.51
Freundlich, Jana
2901 Bledsoe St., Apt. 1461                                              RS Legacy Corporation fka RadioShack
Fort Worth, TX 76107                                 192       2/24/2015 Corporation                                              $1,318,483.17                                                                                    $1,318,483.17

Los Angeles County Treasurer and Tax Collector
PO Box 54110                                                             RS Legacy Corporation fka RadioShack
Los Angeles, CA 90054‐0110                           193       2/24/2015 Corporation                                                      $0.00                                $0.00                                                       $0.00
Fort Bend County
John P. Dillman
Linebarger Googan Blair & Sampson, LLP
PO Box 3064
Houston, TX 77253‐3064                               194       2/24/2015 SCK, Inc.                                                                                             $0.00                                                       $0.00
IOWA INFORMATION INC.
PO BOX 160                                                               RS Legacy Corporation fka RadioShack
SHELDON, IA 51201                                    195       2/24/2015 Corporation                                                    $441.54                                                                                          $441.54
Wappingers Falls Shopper, Inc. d/b/a Southern
Dutchess News
84 East Main Street                                                      RS Legacy Corporation fka RadioShack
Wappingers Falls, NY 12590                           196       2/24/2015 Corporation                                                  $1,205.10                                                                                        $1,205.10
Mosich Family Trust
PO Box 3738                                                              RS Legacy Corporation fka RadioShack
Mission Viejo, CA 92690                              197       2/24/2015 Corporation                                                      $0.00                                                                                            $0.00
Production Contracting, LLC
161 21st Street                                                          RS Legacy Corporation fka RadioShack
Brooklyn , NY 11232                                  198       2/24/2015 Corporation                                                  $8,255.00                                                                                        $8,255.00
Herald Banner
PO Box 6000                                                              RS Legacy Corporation fka RadioShack
Greenville, TX 75403                                 199       2/24/2015 Corporation                                                    $535.49                                                                                          $535.49

Hutchinson County
D'Layne Carter
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
PO Box 9132                                                              RS Legacy Corporation fka RadioShack
Amarillo, TX 79105‐9132                              200       2/24/2015 Corporation                                                                                           $0.00                                                       $0.00




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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                    Amount
Kleberg County
Diane W. Sanders
Linebarger Goggan Blair & Sampson, LLP
PO Box 17428                                                   RS Legacy Corporation fka RadioShack
Austin, TX 78760‐7428                      201       2/24/2015 Corporation                                                                                       $7,568.86                                                   $7,568.86
Bexar County
David G. Aelvoet
Linebarger Goggan Blair & Sampson, LLP
711 Navarro Street, Ste 300                                    RS Legacy Corporation fka RadioShack
San Antonio, TX 78205                      202       2/24/2015 Corporation                                                                                      $76,705.86                                                  $76,705.86
Atascosa County
David G. Aelvoet
Linebarger Goggan Blair & Sampson, LLP
711 Navarro Street, Ste 300                                    RS Legacy Corporation fka RadioShack
San Antonio, TX 78205                      203       2/24/2015 Corporation                                                                                       $2,607.25                                                   $2,607.25
City of Del Rio
David G. Aelvoet
Linebarger Googan Blair & Sampson, LLP
711 Navarro Street, Ste 300                                    RS Legacy Corporation fka RadioShack
San Antonio, TX 78205                      204       2/24/2015 Corporation                                                                                         $994.37                                                     $994.37
Hays CISD
Diane W. Sanders
Linebarger Goggan Blair & Sampson, LLP
PO Box 17428                                                   RS Legacy Corporation fka RadioShack
Austin, TX 78760‐7428                      205       2/24/2015 Corporation                                                                                       $4,257.93                                                   $4,257.93
Starr County
Diane W. Sanders
Linebarger Goggan Blair & Sampson, LLP
PO Box 17428                                                   RS Legacy Corporation fka RadioShack
Austin, TX 78760‐7428                      206       2/24/2015 Corporation                                                                                       $2,055.31                                                   $2,055.31
Victoria County
Diane W. Sanders
Linebarger Goggan Blair & Sampson, LLP
PO Box 17428                                                   RS Legacy Corporation fka RadioShack
Austin, TX 78760‐7428                      207       2/24/2015 Corporation                                                                                       $3,019.37                                                   $3,019.37
R.Sax Inc. (Radio Shack Dealer)
1040 West Main Street                                          RS Legacy Corporation fka RadioShack
Mascoutah, IL 62258                        208       2/24/2015 Corporation                                                $27,586.96                                                                                        $27,586.96
Cameron County
Diane W. Sanders
Linebarger Goggan Blair &
Sampson, LLP
PO Box 17428                                                   RS Legacy Corporation fka RadioShack
Austin, TX 78760‐7428                      209       2/24/2015 Corporation                                                                                      $12,371.81                                                  $12,371.81
Charleston Newspaper
1001 Virginia St. E                                            RS Legacy Corporation fka RadioShack
Charleston, WV 25301                       210       2/24/2015 Corporation                                                  $5,382.32                                                                                        $5,382.32
Riverton Plaza, LC
C/O PDT Management, Inc.
6589 South 130 East, Suite 120                                 RS Legacy Corporation fka RadioShack
Salt Lake City, UT 84121                   211       2/24/2015 Corporation                                                      $0.00                                                    $0.00                                   $0.00




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                                                                                                                                                  Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address              Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                    Amount
Val Verde County
David G. Aelvoet
Linebarger Goggan Blair & Sampson, LLP
711 Navarro Street, Ste 300                                              RS Legacy Corporation fka RadioShack
San Antonio, TX 78205                                212       2/24/2015 Corporation                                                                                       $2,752.23                                                   $2,752.23
Rio Grande City CISD
Diane W. Sanders
Linebarger Goggan Blair & Sampson, LLP
PO Box 17428                                                             RS Legacy Corporation fka RadioShack
Austin, TX 78760‐7428                                213       2/24/2015 Corporation                                                                                       $3,313.52                                                   $3,313.52
CITY OF HARLINGEN
Diane W. Sanders
Linebarger Goggan Blair & Sampson, LLP
PO Box 17428                                                             RS Legacy Corporation fka RadioShack
Austin, TX 78760‐7428                                214       2/24/2015 Corporation                                                                                       $2,281.67                                                   $2,281.67

Taxing Districts Collected by Randall County
D'Layne Carter
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
PO Box 9132                                                              RS Legacy Corporation fka RadioShack
Amarillo, TX 79105‐9132                              215       2/24/2015 Corporation                                                                                       $2,003.76                                                   $2,003.76
Eagle Pass ISD
David G. Aelvoet
Linebarger Goggan Blair & Sampson, LLP
711 Navarro Street, Ste 300                                              RS Legacy Corporation fka RadioShack
San Antonio, TX 78205                                216       2/24/2015 Corporation                                                                                       $2,361.70                                                   $2,361.70
Nueces County
Diane W. Sanders
Linebarger Goggan Blair & Sampson, LLP
PO Box 17428                                                             RS Legacy Corporation fka RadioShack
Austin, TX 78760‐7428                                217       2/24/2015 Corporation                                                                                      $19,912.23                                                  $19,912.23
Harlingen CISD
Diane W. Sanders
LineBarger Goggan Blair & Sampson, LLP
PO Box 17428                                                             RS Legacy Corporation fka RadioShack
Austin , TX 78760‐7428                               218       2/24/2015 Corporation                                                                                       $5,107.16                                                   $5,107.16

Taxing Districts Collected by Potter County
D'Layne Carter
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
PO Box 9132                                                              RS Legacy Corporation fka RadioShack
Amarillo, TX 79105‐9132                              219       2/24/2015 Corporation                                                                                       $9,112.86                                                   $9,112.86

Gray County
D'Layne Carter
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
PO Box 9132                                                              RS Legacy Corporation fka RadioShack
Amarillo, TX 79105‐9132                              220       2/24/2015 Corporation                                                                                       $3,394.21                                                   $3,394.21
Randall Family, LLC.
351 Ballenger Center Drive                                               RS Legacy Corporation fka RadioShack
Frederick, MD 21703                                  221       2/24/2015 Corporation                                                  $4,053.08                                                                                        $4,053.08




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                                                                                                                                               Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address           Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                    Amount
ROSELLE PLAZA MANAGEMENT
1000 SOUTH ELMORA AVE                                                 RS Legacy Corporation fka RadioShack
ELIZABETH, NJ 07202                               222       2/24/2015 Corporation                                                $12,608.21                                                                                        $12,608.21
SULPHUR SPRINGS VALLEY ELECTRIC
311 E. Wilcox Drive                                                   RS Legacy Corporation fka RadioShack
Sierra Vista, AZ 85635                            223       2/24/2015 Corporation                                                    $869.20                                                                                          $869.20
Accelerated Services, Inc
856‐5 Johnson Ave                                                     RS Legacy Corporation fka RadioShack
Ronkonkoma, NY 11779                              224       2/24/2015 Corporation                                                                                                             $670.76                                 $670.76
CHEROKEE CAD
Elizabeth Weller
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Freeway
Suite 1000                                                            RS Legacy Corporation fka RadioShack
Dallas, TX 75207                                  225       2/24/2015 Corporation                                                                                       $2,005.29                                                   $2,005.29
Brown, Nichole
7629 Hollow Pt.                                                       RS Legacy Corporation fka RadioShack
Ft. Worth, TX 76123                               226       2/24/2015 Corporation                                                                         $0.00                                                                         $0.00
Didomenico, Rocco
1748 Jancey Street                                                    RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15206                              227       2/24/2015 Corporation                                                $22,546.59                                                                                        $22,546.59

"Tandy Town" ‐ Carole Cramer & Gene Murphy
3325 Ocean Dr.                                                        RS Legacy Corporation fka RadioShack
Oxnard, CA 93035                                  228       2/24/2015 Corporation                                                  $3,143.96                                                                                        $3,143.96
The Times Media Company d/b/a The Times of NW
Indiana
601 W 45th Ave                                                        RS Legacy Corporation fka RadioShack
Munster , IN 46321                                229       2/24/2015 Corporation                                                $24,178.99                                                     $0.00                              $24,178.99
Daily Globe
118 E. McLeod Ave                                                     RS Legacy Corporation fka RadioShack
Ironwood , MI 49938                               230       2/24/2015 Corporation                                                    $336.00                                                                                          $336.00
The Facts
PO Box 549                                                            RS Legacy Corporation fka RadioShack
Clute , TX 77531                                  231       2/24/2015 Corporation                                                  $2,824.16                                                                                        $2,824.16
McLennan County
Diane W. Sanders
Linebarger Goggan Blair & Sampson, LLP
PO Box 17428                                                          RS Legacy Corporation fka RadioShack
Austin , TX 78760‐7428                            232       2/24/2015 Corporation                                                                                       $2,008.14                                                   $2,008.14
MAVERICK COUNTY
David G. Aelvoet
LINEBARGER GOGGAN BLAIR & SAMPSON, LLP
711 Navarro Street, Ste 300                                           RS Legacy Corporation fka RadioShack
San Antonio, TX 78205                             233       2/24/2015 Corporation                                                                                       $1,372.00                                                   $1,372.00
Aransas County
Diane W. Sanders
Linebarger Goggan Blair & Sampson, LLP
PO Box 17428                                                          RS Legacy Corporation fka RadioShack
Austin, TX 78760‐7428                             234       2/24/2015 Corporation                                                                                          $12.50                                                      $12.50




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                                                                                                                                                     Current Priority    Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                 Claim No.   Claim Date                    Debtor                          Unsecured Claim                                             Admin Priority
                                                                                                                                                      Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
Limestone County
Diane W. Sanders
Linebarger Goggan Blair & Sampson, LLP
PO Box 17428                                                                RS Legacy Corporation fka RadioShack
Austin , TX 78760‐7428                                  235       2/24/2015 Corporation                                                                                        $3,084.89                                                   $3,084.89
City of Eagle Pass
David G. Aelvoet
Linebarger Goggan Blair & Sampson, LLP
711 Navarro Street, Ste 300                                                 RS Legacy Corporation fka RadioShack
San Antonio , TX 78205                                  236       2/24/2015 Corporation                                                                                        $1,109.83                                                   $1,109.83
JIM WELLS CAD
Diane W. Sanders
Linebarger Goggan Blair & Sampson, LLP
PO Box 17428                                                                RS Legacy Corporation fka RadioShack
Austin, TX 78760‐7428                                   237       2/24/2015 Corporation                                                                                        $3,896.89                                                   $3,896.89
Kirkwood DB, LLC
NorthPoint Properties
Dave Carter, Manager
8235 Douglas Avenue
Suite 720                                                                   RS Legacy Corporation fka RadioShack
Dallas, TX 75225                                        238       2/23/2015 Corporation                                                $30,566.08                                                                                         $30,566.08
Robert Raczynski dba AAAPlumbing
1401 Oregon St                                                              RS Legacy Corporation fka RadioShack
Rapid City, SD 57701                                    239       2/24/2015 Corporation                                                    $190.60                                                                                           $190.60
Presque Isle Newspaper Inc
104 South Third St
PO Box 50                                                                   RS Legacy Corporation fka RadioShack
Rogers City, MI 49779                                   240       2/25/2015 Corporation                                                    $201.42                                                                                           $201.42
Fu Ji Elecronics (Shenshen) Co. LTD
c/o RMS
PO Box 5126                                                                 RS Legacy Corporation fka RadioShack
Timonium, MD 21094                                      241       2/25/2015 Corporation                                                      $0.00              $0.00                                                                          $0.00
Neil, William
17‐E Chapel Hill Dr                                                         RS Legacy Corporation fka RadioShack
Playmouth, MA 02360                                     242       2/25/2015 Corporation                                                    $505.79          $12,475.00                                                                    $12,980.79
Liquidity Solutions Inc. as Transferee for Mattews,
Leslie
1 University Plz
Ste 508                                                                     RS Legacy Corporation fka RadioShack
Hackensack, NJ 07601‐6203                               243       2/25/2015 Corporation                                                                         $0.00                                                                          $0.00
Cohen, David
6808 Ledyard Drive                                                          RS Legacy Corporation fka RadioShack
Dallas, TX 75248                                        244       2/25/2015 Corporation                                                                      $6,923.08                                                                     $6,923.08
JPMorgan Chase Bank, N.A as transferee for
Panasonic Corporation of North America
Mail Code: NY1‐M138
383 Madison Avenue ‐ Floor 37                                               RS Legacy Corporation fka RadioShack
New York, NY 10179                                      245       2/25/2015 Corporation                                               $295,782.76                                                                                        $295,782.76
Foam Fabricators, Inc.
100 Formad Industrial Drive                                                 RS Legacy Corporation fka RadioShack
Fort Madison, IA 52627                                  246       2/25/2015 Corporation                                                  $3,067.89               $0.00                                                                     $3,067.89




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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                    Amount
Lopina Partners IV
360 Kiely Blvd., Suite 220                                     RS Legacy Corporation fka RadioShack
San Jose, CA 95129                         247       2/26/2015 Corporation                                                  $2,832.29                                                                                        $2,832.29
Dantona Industries, Inc.
3051 Burns Avenue                                              RS Legacy Corporation fka RadioShack
Wantagh , NY 11793                         248       2/26/2015 Corporation                                                $14,920.83                                                   $510.69                              $15,431.52
Dantona Industries, Inc.
3051 BURNS AVENUE                                              RS Legacy Corporation fka RadioShack
WANTAGH, NY 11793                          249       2/26/2015 Corporation                                                    $719.43                                                                                          $719.43
Thermus Mechanical Inc.
1432 Kearney St. Suite B                                       RS Legacy Corporation fka RadioShack
El Cerrito, CA 94530                       250       2/26/2015 Corporation                                                $17,955.58                                                                                        $17,955.58
The Gaffney Ledger Inc.
PO Box 670                                                     RS Legacy Corporation fka RadioShack
Gaffney , SC 29341                         251       2/26/2015 Corporation                                                    $450.00                                                                                          $450.00
Superior Bands, Inc
251 Alliance Parkway                                           RS Legacy Corporation fka RadioShack
Williamston, SC 29697                      252       2/26/2015 Corporation                                                    $785.00                                                                                          $785.00
Navarro County
Elizabeth Weller
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Freeway
Suite 1000                                                     RS Legacy Corporation fka RadioShack
Dallas, TX 75207                           253       2/25/2015 Corporation                                                                                       $4,085.41                                                   $4,085.41
City of Wylie
Elizabeth Weller
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Freeway
Suite 1000                                                     RS Legacy Corporation fka RadioShack
Dallas, TX 75207                           254       2/25/2015 Corporation                                                                                       $1,080.69                                                   $1,080.69
Bare Conductive Ltd
98 Commercial St                                               RS Legacy Corporation fka RadioShack
London, United Kingdom E1 6LZ              255       2/26/2015 Corporation                                                      $0.00                                                                                            $0.00
Dantona Industries, Inc.
3051 Burns Avenue                                              RS Legacy Corporation fka RadioShack
Wantagh, NY 11793                          256       2/26/2015 Corporation                                                     $87.00                                                                                           $87.00
Chamberlain Group, Inc.
Theresa Lawler
845 Larch Avenue                                               RS Legacy Corporation fka RadioShack
Elmhurst, IL 60126                         257       2/26/2015 Corporation                                                $16,239.39                                                                                        $16,239.39
Dantona Industries, Inc.
3051 Burns Avenue                                              RS Legacy Corporation fka RadioShack
Wantagh, NY 11793                          258       2/26/2015 Corporation                                                $23,371.42                                                                                        $23,371.42
Borenstein, Richard J.
2607 Torrey Pines Drive                                        RS Legacy Corporation fka RadioShack
Fort Worth, TX 76109‐5513                  259       2/26/2015 Corporation                                                $34,484.43                                                                                        $34,484.43
Brod, David
5305‐A Schuler St                                              RS Legacy Corporation fka RadioShack
Houston, TX 77007                          260       2/26/2015 Corporation                                                $21,923.00                                                                                        $21,923.00
Dantona Industries, Inc.
3051 BURNS AVENUE                                              RS Legacy Corporation fka RadioShack
WANTAGH, NY 11793                          261       2/26/2015 Corporation                                                $22,730.40                                                                                        $22,730.40



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                                                                                                                                        Current Priority    Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                          Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Requerdo Co.
c/o 21 Reynolds Road                                           RS Legacy Corporation fka RadioShack
Glen Cove, NY 11542                        262       2/26/2015 Corporation                                                                         $0.00                                                                          $0.00
Beard, Paul O. Jr.
5925 Lakeview CT                                               RS Legacy Corporation fka RadioShack
Haltom City, TX 76137                      263       2/26/2015 Corporation                                                  $3,825.98          $12,475.00                                                                    $16,300.98
Source Refrigeration & HVAC, Inc.
Ruth E. Torres
800 E. Orangethorpe Ave                                        RS Legacy Corporation fka RadioShack
Anaheim, CA 92801                          264       2/26/2015 Corporation                                                  $9,925.63                                                                                         $9,925.63
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                           265       2/23/2015 Corporation                                                                                                                                                        $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                           266       2/23/2015 Corporation                                                                                                                                                        $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                           267       2/23/2015 Corporation                                                                                                                                                        $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                           268       2/23/2015 Corporation                                                                                                                                                        $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                           269       2/23/2015 Corporation                                                                                                                                                        $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                           270       2/23/2015 Corporation                                                                                                                                                        $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                           271       2/23/2015 Corporation                                                                                                                                                        $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                           272       2/23/2015 Corporation                                                                                                                                                        $0.00
North State Communications
111 North Main Street                                          RS Legacy Corporation fka RadioShack
High Point , NC 27260                      273       2/23/2015 Corporation                                                    $498.03                                                                                           $498.03
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                    RS Legacy Corporation fka RadioShack
Carneys Point, NJ 08069‐3600               274       2/25/2015 Corporation                                                    $236.85                                                                                           $236.85
Gannett Co. Inc. Cincinnati Enquirer
Shelly Lucas
Law Department
7950 Jones Branch Dr                                           RS Legacy Corporation fka RadioShack
McLean, VA 22107                           275       2/24/2015 Corporation                                                $41,865.80                                                                                         $41,865.80
City of Frisco
Elizabeth Weller
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Freeway
Suite 1000                                                     RS Legacy Corporation fka RadioShack
Dallas, TX 75207                           276       2/25/2015 Corporation                                                                                        $1,188.48                                                   $1,188.48
Nothnagle, Edwin P.
306 West Seventh Street                                        RS Legacy Corporation fka RadioShack
Auburn, IN 46706                           277       2/25/2015 Corporation                                                                      $9,230.82                                                                     $9,230.82
Bothhand Enterprise Inc.
No. 58, Industry 3RD. Road
An‐Nan Dist., Tainan City 709                                  RS Legacy Corporation fka RadioShack
Taiwan                                     278       2/25/2015 Corporation                                               $130,284.78                                                                                        $130,284.78



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                                                                                                                   Current General                                           Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                    Amount
Stephenville ISD
Elizabeth Weller
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Freeway
Suite 1000                                                     RS Legacy Corporation fka RadioShack
Dallas, TX 75207                           279       2/25/2015 Corporation                                                                                       $1,722.93                                                   $1,722.93
Rockwall CAD
Elizabeth Weller
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Freeway
Suite 1000                                                     RS Legacy Corporation fka RadioShack
Dallas, TX 75207                           280       2/25/2015 Corporation                                                                                       $4,036.10                                                   $4,036.10
Gainesville ISD
Elizabeth Weller
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Freeway
Suite 1000                                                     RS Legacy Corporation fka RadioShack
Dallas, TX 75207                           281       2/25/2015 Corporation                                                                                       $3,275.84                                                   $3,275.84
HOPKINS COUNTY
Elizabeth Weller
LINEBARGER GOGGAN BLAIR & SAMPSON, LLP
2777 N. Stemmons Freeway Suite 1000                            RS Legacy Corporation fka RadioShack
Dallas, TX 75207                           282       2/25/2015 Corporation                                                                                       $1,491.48                                                   $1,491.48
Gregg County
Elizabeth Weller
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Freeway
Suite 1000                                                     RS Legacy Corporation fka RadioShack
Dallas, TX 75207                           283       2/25/2015 Corporation                                                                                       $6,864.25                                                   $6,864.25
ELLIS COUNTY
Elizabeth Weller
LINEBARGER GOGGAN BLAIR & SAMPSON, LLP
2777 N. Stemmons Freeway
Suite 1000                                                     RS Legacy Corporation fka RadioShack
DALLAS, TX 75207                           284       2/25/2015 Corporation                                                                                       $7,063.97                                                   $7,063.97
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                    RS Legacy Corporation fka RadioShack
Carneys Point , NJ 08069‐3600              285       2/25/2015 Corporation                                                    $504.68                                                                                          $504.68
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                    RS Legacy Corporation fka RadioShack
Carneys Point, NJ 08069‐3600               286       2/25/2015 Corporation                                                    $593.49                                                                                          $593.49
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                    RS Legacy Corporation fka RadioShack
Carneys Point, NJ 08069‐3600               287       2/25/2015 Corporation                                                  $1,444.46                                                                                        $1,444.46




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                                                                                                                   Current General                                           Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                    Amount
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                    RS Legacy Corporation fka RadioShack
Carneys Point , NJ 08069‐3600              288       2/25/2015 Corporation                                                    $750.09                                                                                          $750.09
Lansing State Journal
Shelly Lucas
Gannett Co., Inc
Law Dept
7950 Jones Branch Dr                                           RS Legacy Corporation fka RadioShack
Mclean, VA 22107                           289       2/24/2015 Corporation                                                  $2,428.06                                                                                        $2,428.06
Gemaire Distributors LLC
Atten: Mario Rivera / 53796
2151 West Hillsboro Blvd Suite 400                             RS Legacy Corporation fka RadioShack
Deerfield Beach, FL 33442                  290       2/23/2015 Corporation                                                    $145.32                                                                                          $145.32
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                    RS Legacy Corporation fka RadioShack
Carneys Point , NJ 08069‐3600              291       2/25/2015 Corporation                                                    $289.68                                                                                          $289.68
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                    RS Legacy Corporation fka RadioShack
Carneys Point, NJ 08069‐3600               292       2/25/2015 Corporation                                                    $237.48                                                                                          $237.48
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                    RS Legacy Corporation fka RadioShack
Carneys Point, NJ 08069‐3600               293       2/25/2015 Corporation                                                    $237.99                                                                                          $237.99
Fort Myers‐New Press
Shelly Lucas
Gannett Co., Inc
Law Dept
7950 Jones Branch Dr                                           RS Legacy Corporation fka RadioShack
Mclean, VA 22107                           294       2/24/2015 Corporation                                                    $344.45                                                                                          $344.45
Courier Post‐Gannet Co., Inc.
Shelly Lucas
Gannett Co., Inc
Law Department
7950 Jones Branch Dr.                                          RS Legacy Corporation fka RadioShack
McLean, VA 22107                           295       2/24/2015 Corporation                                                $11,748.21                                                                                        $11,748.21
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                    RS Legacy Corporation fka RadioShack
Carneys Point, NJ 08069‐3600               296       2/25/2015 Corporation                                                    $524.48                                                                                          $524.48
Centerpoint Energy
PO Box 1700                                                    RS Legacy Corporation fka RadioShack
Houston, TX 77251                          297       2/19/2015 Corporation                                                  $2,518.31                                                                                        $2,518.31




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                                                                                                                   Current General                                           Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                    Amount
Greenville News
Shelly Lucas
Gannett Co., Inc
Law Dept
7950 Jones Branch Dr                                           RS Legacy Corporation fka RadioShack
Mclean, VA 22107                           298       2/24/2015 Corporation                                                  $6,148.94                                                                                        $6,148.94
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                    RS Legacy Corporation fka RadioShack
Carneys Point, NJ 08069‐3600               299       2/25/2015 Corporation                                                  $1,250.32                                                                                        $1,250.32
City of Gainesville
PO Box 2496                                                    RS Legacy Corporation fka RadioShack
Gainesville, GA 30503                      300       2/25/2015 Corporation                                                      $0.00                                $0.00                                                       $0.00
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                    RS Legacy Corporation fka RadioShack
Carneys Point , NJ 08069‐3600              301       2/25/2015 Corporation                                                  $1,088.51                                                                                        $1,088.51
Observer & Eccentric
Shelly Lucas
Gannett Co., Inc
Law Dept
7950 Jones Branch Dr                                           RS Legacy Corporation fka RadioShack
Mclean, VA 22107                           302       2/24/2015 Corporation                                                  $2,660.93                                                                                        $2,660.93
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                    RS Legacy Corporation fka RadioShack
Carneys Point, NJ 08069‐3600               303       2/25/2015 Corporation                                                    $650.24                                                                                          $650.24
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                    RS Legacy Corporation fka RadioShack
Carneys Point, NJ 08069‐3600               304       2/25/2015 Corporation                                                    $354.35                                                                                          $354.35
Salinas Statesman Journal
Shelly Lucas
Gannett, Co. Inc
Law Department
7950 Jones Branch Dr.                                          RS Legacy Corporation fka RadioShack
McLean, VA 22107                           305       2/24/2015 Corporation                                                $14,270.64                                                                                        $14,270.64
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                    RS Legacy Corporation fka RadioShack
Carneys Point, NJ 08069‐3600               306       2/25/2015 Corporation                                                    $607.17                                                                                          $607.17
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                    RS Legacy Corporation fka RadioShack
Carneys Point, NJ 08069‐3600               307       2/25/2015 Corporation                                                    $795.27                                                                                          $795.27




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                                                                                                                   Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority    Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                          Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
St George ‐ Spectrum
Shelly Lucas
Gannett Co., Inc
Law Department
7950 Jones Branch Dr                                           RS Legacy Corporation fka RadioShack
McLean, VA 22107                           308       2/24/2015 Corporation                                                  $1,129.57                                                                                         $1,129.57
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                    RS Legacy Corporation fka RadioShack
Carneys Point , NJ 08069‐3600              309       2/25/2015 Corporation                                                  $1,162.48                                                                                         $1,162.48
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                    RS Legacy Corporation fka RadioShack
Carneys Point , NJ 08069‐3600              310       2/25/2015 Corporation                                                    $669.27                                                                                           $669.27
Gannett Co. Inc. Poughkeepsie Journal
Shelly Lucas
Law Department
7950 Jones Branch Dr.                                          RS Legacy Corporation fka RadioShack
McLean, VA 22107                           311       2/24/2015 Corporation                                                  $6,853.31                                                                                         $6,853.31
Gannett Inc‐ Wilmington News Journal
Shelly Lucas
Law Department
7950 Jones Branch Dr.                                          RS Legacy Corporation fka RadioShack
McLean, VA 22107                           312       2/24/2015 Corporation                                                $14,027.22                                                                                         $14,027.22
Mcwhirter, Sharon
7217 Starling Drive                                            RS Legacy Corporation fka RadioShack
Joshua, TX 76058                           313       2/27/2015 Corporation                                                  $1,265.80          $12,475.00                                                                    $13,740.80
Penelec, a FirstEnergy Company
331 Newman Springs Road, Buliding 3                            RS Legacy Corporation fka RadioShack
Red Bank, NJ 07701                         314       2/27/2015 Corporation                                                      $0.00                                                                                             $0.00
LARIS SHELMAN & SONS TRUCKING
Laris Shelman
709 W HWY 78                                                   RS Legacy Corporation fka RadioShack
WINFIELD, IA 52659                         315       2/27/2015 Corporation                                                  $1,200.00                                                                                         $1,200.00
Jim's Lock & Safe Service Inc.
2005 N 77th Street                                             RS Legacy Corporation fka RadioShack
Kansas City , KS 66109                     316       2/27/2015 Corporation                                                    $135.97                                                                                           $135.97
Murphy, Pamela
12928 Royal Ascot Dr                                           RS Legacy Corporation fka RadioShack
Ft. Worth , TX 76244                       317       2/26/2015 Corporation                                                                     $12,322.62                                                                    $12,322.62
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                    RS Legacy Corporation fka RadioShack
Carneys Point, NJ 08069‐3600               318       2/25/2015 Corporation                                                    $766.23                                                                                           $766.23
Ameren Illinois
2105 E State Route 104                                         RS Legacy Corporation fka RadioShack
Pawnee, IL 62558                           319       2/23/2015 Corporation                                                $11,438.41                                                                                         $11,438.41




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                                                                                                                    Current General                                           Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address     Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                    Amount
Salinas Californian
Shelly Lucas
Garnett Co. Inc
Law Department
7950 Jones Beach Dr.                                            RS Legacy Corporation fka RadioShack
McLean, VA 22102                            320       2/24/2015 Corporation                                                    $454.13                                                                                          $454.13
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                     RS Legacy Corporation fka RadioShack
Carneys Point, NJ 08069‐3600                321       2/25/2015 Corporation                                                    $399.72                                                                                          $399.72
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                     RS Legacy Corporation fka RadioShack
Cameys Point, NJ 08069‐3600                 322       2/25/2015 Corporation                                                    $529.33                                                                                          $529.33
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                     RS Legacy Corporation fka RadioShack
Carneys Point, NJ 08069‐3600                323       2/25/2015 Corporation                                                    $514.62                                                                                          $514.62
Asbury Park Press‐Gannett Company, Inc.
Shelly Lucas
Law Department
7950 Jones Branch Dr.                                           RS Legacy Corporation fka RadioShack
McLean, VA 22107                            324       2/24/2015 Corporation                                                $38,857.46                                                                                        $38,857.46
Hillsborough County Fire Marshal
PO Box 310398                                                   RS Legacy Corporation fka RadioShack
Tampa, FL 33680                             325       2/27/2015 Corporation                                                    $135.00                                                                                          $135.00
Buckley, Kathy A.
708 Love Henry Court                                            RS Legacy Corporation fka RadioShack
Southlake , TX 76092                        326       2/27/2015 Corporation                                                                         $0.00                                                                         $0.00
RA Three RDS, LLC
38 Kings HWY                                                    RS Legacy Corporation fka RadioShack
Hauppauge, NY 11788                         327       2/27/2015 Corporation                                                                                           $0.00                                                       $0.00
Leader Publications
Rhonda Raven
217 N. Fourth St.                                               RS Legacy Corporation fka RadioShack
Niles, MI 49120                             328       2/26/2015 Corporation                                                    $185.19                                                                                          $185.19
Multimedia Holdings Corp.
Shelly Lucas
Gannett Co., Inc
Law Dept
7950 Jones Branch Dr                                            RS Legacy Corporation fka RadioShack
Mclean, VA 22107                            329       2/24/2015 Corporation                                                $17,167.71                                                                                        $17,167.71
Daily Journal ‐ Gannett Co., Inc.
Shelly Lucas
Law Department
7950 Jones Branch Dr.                                           RS Legacy Corporation fka RadioShack
McLean, VA 22107                            330       2/24/2015 Corporation                                                    $821.81                                                                                          $821.81




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                                                                                                                   Current General                                           Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                    Amount
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                    RS Legacy Corporation fka RadioShack
Carneys Point, NJ 08069‐3600               331       2/25/2015 Corporation                                                    $664.28                                                                                          $664.28
Mechanical Air Systems Inc
1705 W. Detroit                                                RS Legacy Corporation fka RadioShack
Broken Arrow , OK 74012                    332       2/27/2015 Corporation                                                  $1,349.47                                                                                        $1,349.47
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                    RS Legacy Corporation fka RadioShack
Carneys Point, NJ 08069‐3600               333       2/25/2015 Corporation                                                    $365.36                                                                                          $365.36
Bothhand Enterprise Inc.
No. 58, INDUSTRY 3 RD. ROAD
AN‐NAN DIST.
TAINAN CITY 709                                                RS Legacy Corporation fka RadioShack
TAIWAN                                     334       2/25/2015 Corporation                                                $18,004.33                                                                                        $18,004.33
Jackson, Curtis
C/O Jackson Builders, Inc.
1608 US 70 West                                                RS Legacy Corporation fka RadioShack
Goldsboro, NC 27530                        335       2/27/2015 Corporation                                                $54,877.18                                                                                        $54,877.18
Livingston Press & Argus
Shelly Lucas
Gannett Co., Inc
Law Dept
7950 Jones Branch Dr                                           RS Legacy Corporation fka RadioShack
Mclean, VA 22107                           336       2/24/2015 Corporation                                                  $3,347.82                                                                                        $3,347.82
Gannett Inc‐ Burlington Free Press
Shelly Lucas
Law Department
7950 Jones Branch Dr.                                          RS Legacy Corporation fka RadioShack
McLean, VA 22107                           337       2/24/2015 Corporation                                                  $2,249.24                                                                                        $2,249.24
Ft Collins Coloradoan
Shelly Lucas
Gannett Co., Inc
Law Dept
7950 Jones Branch Dr                                           RS Legacy Corporation fka RadioShack
McLean , VA 22107                          338       2/24/2015 Corporation                                                  $1,366.42                                                                                        $1,366.42
Gannett Wisconsin Media
Shelly Lucas
Gannett Co., Inc
Law Department
7950 Jones Branch Dr                                           RS Legacy Corporation fka RadioShack
McLean, VA 22107                           339       2/24/2015 Corporation                                                  $1,000.89                                                                                        $1,000.89
ST Cloud Times
Shelly Lucas
Gannett Co., Inc
Law Dept
7950 Jones Branch Dr                                           RS Legacy Corporation fka RadioShack
Mclean, VA 22107                           340       2/24/2015 Corporation                                                  $3,004.65                                                                                        $3,004.65




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                                                                                                                   Current General                                           Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                    Amount
Nashville Daily News Journal
Shelly Lucas
Gannett Co., Inc
Law Dept
7950 Jones Branch Dr                                           RS Legacy Corporation fka RadioShack
Mclean , VA 22107                          341       2/24/2015 Corporation                                                $24,460.70                                                                                        $24,460.70
Muncie Star Press
Shelly Lucas
Gannett Co., Inc
Law Dept
7950 Jones Branch Dr                                           RS Legacy Corporation fka RadioShack
McLean, VA 22107                           342       2/24/2015 Corporation                                                  $1,669.73                                                                                        $1,669.73
Richmond Palladium‐Item
Shelly Lucas
Gannett Co., Inc
Law Dept
7950 Jones Beach Dr.                                           RS Legacy Corporation fka RadioShack
McLean, VA 22107                           343       2/24/2015 Corporation                                                    $836.00                                                                                          $836.00
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                    RS Legacy Corporation fka RadioShack
Carneys Point, NJ 08069‐3600               344       2/25/2015 Corporation                                                    $719.17                                                                                          $719.17
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                    RS Legacy Corporation fka RadioShack
Carneys Point, NJ 08069‐3600               345       2/25/2015 Corporation                                                    $522.91                                                                                          $522.91
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                    RS Legacy Corporation fka RadioShack
Carneys Point, NJ 08069‐3600               346       2/25/2015 Corporation                                                    $340.65                                                                                          $340.65
REGIONAL INCOME TAX AGENCY
Attn: Legal Dept
PO Box 470537                                                  RS Legacy Corporation fka RadioShack
Broadview Heights, OH 44147                347       2/24/2015 Corporation                                                                     $5,610.86                                                                     $5,610.86
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                    RS Legacy Corporation fka RadioShack
Carneys Point , NJ 08069‐3600              348       2/25/2015 Corporation                                                    $919.86                                                                                          $919.86
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                    RS Legacy Corporation fka RadioShack
Carneys Point, NJ 08069‐3600               349       2/25/2015 Corporation                                                    $561.15                                                                                          $561.15
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                    RS Legacy Corporation fka RadioShack
Carneys Point, NJ 08069‐3600               350       2/25/2015 Corporation                                                  $1,005.82                                                                                        $1,005.82



Kroll Restructuring Administration LLC                                                                Page 29 of 1344
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                                                                                                                     Current General                                           Current 503(b)(9)
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            Creditor Name and Address      Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                    Amount
Eastern Suburban Water Authority
PO Box 3819                                                      RS Legacy Corporation fka RadioShack
Eastern, PA 18043‐3819                       351       2/24/2015 Corporation                                                     $11.71              $0.00                                                                        $11.71
Samya Technology Co., LTD
FUI YANG
NO. 61, Ln. 770, Guangfu Rd., Bade Dist.
Taoyuan City                                                     RS Legacy Corporation fka RadioShack
Taiwan                                       352       2/27/2015 Corporation                                               $385,424.75           $2,775.00                                                                   $388,199.75
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                      RS Legacy Corporation fka RadioShack
Carneys Point, NJ 08069‐3600                 353       2/25/2015 Corporation                                                    $771.89                                                                                          $771.89
Atlantic City Electric Company
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                      RS Legacy Corporation fka RadioShack
Carneys Point, NJ 08069‐3600                 354       2/25/2015 Corporation                                                    $840.91                                                                                          $840.91
Indianapolis Star Media
Shelly Lucas
Gannett Co., Inc
Law Dept
7950 Jones Branch Dr                                             RS Legacy Corporation fka RadioShack
McLean, VA 22107                             355       2/24/2015 Corporation                                                $46,254.53                                                                                        $46,254.53
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                      RS Legacy Corporation fka RadioShack
Carneys Point, NJ 08069‐3600                 356       2/25/2015 Corporation                                                    $479.79                                                                                          $479.79
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                      RS Legacy Corporation fka RadioShack
Carneys Point, NJ 08069‐3600                 357       2/25/2015 Corporation                                                    $604.16                                                                                          $604.16
Grayson County
Elizabeth Weller
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Freeway
Suite 1000                                                       RS Legacy Corporation fka RadioShack
Dallas, TX 75207                             358       2/25/2015 Corporation                                                                                       $2,752.67                                                   $2,752.67
Turn Inc.
835 Main St.                                                     RS Legacy Corporation fka RadioShack
Redwood City, CA 94063                       359       2/25/2015 Corporation                                                $13,909.57                                                                                        $13,909.57
Smith County
Elizabeth Weller
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Freeway
Suite 1000                                                       RS Legacy Corporation fka RadioShack
Dallas, TX 75207                             360       2/25/2015 Corporation                                                                                       $1,209.27                                                   $1,209.27




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                                                                                                                     Current General                                           Current 503(b)(9)
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            Creditor Name and Address      Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                    Amount
Democrat & Chronicle ‐ Gannett Co., Inc.
Shelly Lucas
Law Department
7950 Jones Branch Dr.                                            RS Legacy Corporation fka RadioShack
McLean, VA 22107                             361       2/24/2015 Corporation                                                $40,213.50                                                                                        $40,213.50
Detroit Media Partnership
Shelly Lucas
Gannett Co., Inc
Law Dept
7950 Jones Branch Dr                                             RS Legacy Corporation fka RadioShack
McLean, VA 22107                             362       2/24/2015 Corporation                                               $101,589.93                                                                                       $101,589.93
Sugarcreek Plaza II, LLC
c/o Harbert Realty Services, Inc.
Two North 20th Street, Suite 1700                                RS Legacy Corporation fka RadioShack
Birmingham, AL 35203                         363       2/25/2015 Corporation                                                  $2,761.66                                                                                        $2,761.66
Linkedin Corporation
Attn Credit & Collections
580 N. Mary Avenue                                               RS Legacy Corporation fka RadioShack
Sunnyvale, CA 94086                          364       2/25/2015 Corporation                                                                                           $0.00                                                       $0.00
Hampton Property Partnership LLC
334 No. Main St.                                                 RS Legacy Corporation fka RadioShack
St. Charles, MO 63301                        365       2/25/2015 Corporation                                                  $4,400.00                                $0.00                             $2,750.00             $7,150.00
TGT Realty Co.
Attn: Jim Totaro
391 Grand Ave., Suite One                                        RS Legacy Corporation fka RadioShack
Englewood, NJ 07631                          366       2/25/2015 Corporation                                                                         $0.00                                                                         $0.00
Devaney, Greg
34670 W 133rd St                                                 RS Legacy Corporation fka RadioShack
Excelsior Springs, MO 64024                  367       2/25/2015 Corporation                                                    $275.00                                                                                          $275.00
Property Holdings LLC
1991 Main St # 183                                               RS Legacy Corporation fka RadioShack
Sarasota, FL 34236                           368       2/25/2015 Corporation                                                  $6,491.12                                                                                        $6,491.12
DALSA LLC
Dale Kerr
6425 Tennyson Oaks                                               RS Legacy Corporation fka RadioShack
Alexandria, LA 71301                         369       2/25/2015 Corporation                                                  $3,696.64                                                                                        $3,696.64
VMIP LLC
Dale Kerr
6425 Terryson Oaks Ln.                                           RS Legacy Corporation fka RadioShack
Alexandria, LA 71301                         370       2/25/2015 Corporation                                                  $2,823.51                                                                                        $2,823.51
Capital Records Management
3080 Kronprindsens Gade                                          RS Legacy Corporation fka RadioShack
St. Thomas, VI 00802                         371       2/25/2015 Corporation                                                    $693.00                                                                                          $693.00
Avers Property Management, Herbert Avers
PO Box 2453                                                      RS Legacy Corporation fka RadioShack
Danville, CA 94526                           372       2/25/2015 Corporation                                                  $4,299.86                                                                                        $4,299.86
Shenzhen AEE Technology Co. Ltd
Allen Xu, AEE Technology Inc
17870 Castleton St. Suite 270                                    RS Legacy Corporation fka RadioShack
City of Industry, CA 91748                   373       2/25/2015 Corporation                                               $138,500.00                                                                                       $138,500.00




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                                                                                                                       Current General                                           Current 503(b)(9)
                                                                                                                                            Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address        Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                    Amount
Missourian Media Group
William L. Miller, Jr.
PO Box 336                                                         RS Legacy Corporation fka RadioShack
Washington, MO 63090                           374       2/25/2015 Corporation                                                  $4,258.25                                                    $0.00                               $4,258.25
Vision Properties, Blueberry Crossing, LLC
Vision Property Group
Attn: Jayme Gerber
1147 S. White Horse Pike                                           RS Legacy Corporation fka RadioShack
Hammonton, NJ 08037                            375       2/25/2015 Corporation                                                  $7,269.17                                                                                        $7,269.17
HOOD CAD
Elizabeth Weller
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Freeway
Suite 1000                                                         RS Legacy Corporation fka RadioShack
Dallas, TX 75207                               376       2/25/2015 Corporation                                                                                       $2,629.40                                                   $2,629.40
City of Stephenville
Elizabeth Weller
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Freeway
Suite 1000                                                         RS Legacy Corporation fka RadioShack
Dallas, TX 75207                               377       2/25/2015 Corporation                                                                                         $683.65                                                     $683.65
South West Empire Plumbing LLC
1514 Salida Sol Dr SE                                              RS Legacy Corporation fka RadioShack
Rio Rancho, NM 87124                           378       2/25/2015 Corporation                                                    $136.40                                                                                          $136.40
Wells Brothers Inc
105 Shue Dr                                                        RS Legacy Corporation fka RadioShack
Anna, OH 45302                                 379       2/25/2015 Corporation                                                     $95.00                                                                                           $95.00
Visalia Times Delta
Shelly Lucas
Gannett Co Inc
Law Department
7950 Jones Branch Dr.                                              RS Legacy Corporation fka RadioShack
McLean, VA 22107                               380       2/24/2015 Corporation                                                    $835.27                                                                                          $835.27
Journal News ‐ Gannett Co., Inc.
Shelly Lucas
Law Department
7950 Jones Branch Dr.                                              RS Legacy Corporation fka RadioShack
McLean, VA 22107                               381       2/24/2015 Corporation                                                $19,888.14                                                                                        $19,888.14
Cape Publications, Inc.
Shelly Lucas
Gannett Co., Inc
Law Dept
7950 Jones Branch Dr                                               RS Legacy Corporation fka RadioShack
McLean, VA 22107                               382       2/24/2015 Corporation                                                $15,054.60                                                                                        $15,054.60
Flatbush Charter Partners, LLC
Donna Thompson, Esq.
PO Box 679                                                        RS Legacy Corporation fka RadioShack
Allenwood, NJ 08720                            383       3/2/2015 Corporation                                                   $5,830.56                                                                                        $5,830.56
Flatbush Charter Partners, LLC
Donna Thompson, Esq.
PO Box 679                                                        RS Legacy Corporation fka RadioShack
Allenwood, NJ 08720                            384       3/2/2015 Corporation                                                                                                                                  $0.00                 $0.00



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                                                                                                                  Current General                                           Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                   Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                    Amount
Boatner Jr, Antonio
3191 West 7th Street #428                                     RS Legacy Corporation fka RadioShack
Los Angeles, CA 90005                      385       3/2/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
Northern MI Review
319 State St.                                                 RS Legacy Corporation fka RadioShack
Petoskey, MI 49770                         386       3/2/2015 Corporation                                                    $570.00                                                                                          $570.00
Maldonado, Otilio Ramirez
PO Box 140674                                                 RS Legacy Corporation fka RadioShack
Arecibo, PR 00614                          387       3/2/2015 Corporation                                                      $0.00                                                                                            $0.00
Bob's Plumbing & Htg Inc
800 Hickory Ave                                               RS Legacy Corporation fka RadioShack
Harahan, LA 70123                          388       3/2/2015 Corporation                                                    $342.00                                                                                          $342.00
Northern States Power Co., A Minnesota
Corporation, DBA Xcel Energy
3215 Commerce St                                              RS Legacy Corporation fka RadioShack
La Crosse, WI 54603                        389       3/2/2015 Corporation                                                $23,673.40                                                                                        $23,673.40
City of Hagerstown
c/o Nelia Tidler
425 E Baltimore St.                                           RS Legacy Corporation fka RadioShack
Hagerstown, MD 21740                       390       3/2/2015 Corporation                                                  $2,942.22                                                                                        $2,942.22
Alabama Media Group
Lacie Wendell
Advance Central Services Michigan
3102 Walker Ridge Drive NW                                    RS Legacy Corporation fka RadioShack
Walker, MI 49544                           391       3/2/2015 Corporation                                                  $7,021.36                                                                                        $7,021.36
Berkeley Realty Associates, LLC
PO Box 1026                                                   RS Legacy Corporation fka RadioShack
Melville, NY 11747                         392       3/2/2015 Corporation                                                      $0.00                                                                                            $0.00
Deep Green Waste & Recycling
3225 Shallowford Rd. Ste 1020                                 RS Legacy Corporation fka RadioShack
Marietta, GA 30062                         393       3/2/2015 Corporation                                                    $170.63                                                    $0.00                                 $170.63
City of Norman
Leah Messner
PO Box 370                                                    RS Legacy Corporation fka RadioShack
Norman, OK 73070                           394       3/2/2015 Corporation                                                    $228.60                                                                                          $228.60
Hidalgo County
Diane W. Sanders
Linebarger Goggan Blair & Sampson, LLP
PO Box 17428                                                  RS Legacy Corporation fka RadioShack
Austin , TX 78760‐7428                     395       3/2/2015 Corporation                                                                                      $41,763.94                                                  $41,763.94
Utah State Tax commission
Sam Jones
210 N 1950 W                                                  RS Legacy Corporation fka RadioShack
Salt Lake City , UT 84134                  396       3/2/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
Innovation First Labs, Inc.
Attn: Kim True
1519 Interstate 30 West                                       RS Legacy Corporation fka RadioShack
Greenville, TX 75402                       397       3/2/2015 Corporation                                               $132,395.94                                                                                       $132,395.94
Widewaters Heating + Air, Inc.
6251 Fly Road                                                 RS Legacy Corporation fka RadioShack
E. Syracuse , NY 13057                     398       3/2/2015 Corporation                                                  $6,718.45                                                                                        $6,718.45




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                                                                                                                            Current General                                             Current 503(b)(9)
                                                                                                                                                  Current Priority    Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address             Claim No.   Claim Date                     Debtor                         Unsecured Claim                                              Admin Priority
                                                                                                                                                   Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                      Amount
Northern States Power Co., A Wisconsin
Corporation, DBA Xcel Energy
3215 Commerce St                                                       RS Legacy Corporation fka RadioShack
La Crosse, WI 54603                                 399       3/2/2015 Corporation                                                    $3,043.91                                                                                         $3,043.91
KAUFMAN COUNTY
Elizabeth Weller
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Freeway
Suite 1000                                                              RS Legacy Corporation fka RadioShack
Dallas, TX 75207                                    400       2/25/2015 Corporation                                                                                             $0.00                                                       $0.00
Shenzhen Chousen Optolectronics Technology Co.,
LTD
c/o RMS                                                                 RS Legacy Global Sourcing Limited Partnership
PO Box 5126                                                             fka RadioShack Global Sourcing Limited
Timonium, MD 21094                                  401       2/25/2015 Partnership                                                $304,333.00           $19,656.00                                                                   $323,989.00
Lady Lake Shoppes, LLC
c/o Unicorp national Developments, Inc.
7940 Via Dellagio Way, Suite 200                                       RS Legacy Corporation fka RadioShack
Orlando, FL 32819                                   402       3/2/2015 Corporation                                                    $5,232.83                                                                                         $5,232.83
Sonoco Products Company
Stanley H. McGuffin, Esq.
Haynsworth Sinkler Boyd, PA
PO Box 11889                                                           RS Legacy Corporation fka RadioShack
Columbia , SC 29211‐1889                            403       3/2/2015 Corporation                                                  $28,840.90                                                  $5,254.72                              $34,095.62
San Patricio County
Diane W. Sanders
Linebarger Goggan Blair & Sampson, LLC
PO Box 17428                                                           RS Legacy Corporation fka RadioShack
Austin , TX 78760                                   404       3/2/2015 Corporation                                                                                          $3,202.54                                                   $3,202.54
Paramount Plaza at New Brite, LLC
Donna Thompson, Esq.
PO Box 679                                                             RS Legacy Corporation fka RadioShack
Allenwood, NJ 08720                                 405       3/2/2015 Corporation                                                                                                                                    $0.00                 $0.00
MLive Media Group
Lacie Wendell
Advance Central Services Michigan
3102 Walker Ridge Drive NW                                             RS Legacy Corporation fka RadioShack
Walker, MI 49544                                    406       3/2/2015 Corporation                                                  $21,877.79                                                                                         $21,877.79
The Mining Journal
PO Box 430                                                             RS Legacy Corporation fka RadioShack
Marquette, MI 49855                                 407       3/2/2015 Corporation                                                      $810.00                                                                                           $810.00
Kenney Signs, Inc.
PO Box 45                                                              RS Legacy Corporation fka RadioShack
Frostburg, MD 21532                                 408       3/2/2015 Corporation                                                      $132.67                                                                                           $132.67
Crown Packaging Corporation
17854 Chesterfield Airport Road                                        RS Legacy Corporation fka RadioShack
Chesterfield, MO 63005                              409       3/2/2015 Corporation                                                  $11,527.30                                                                                         $11,527.30
Dover Parcade, LLC
Donna Thompson, Esq.
PO Box 679                                                             RS Legacy Corporation fka RadioShack
Allenwood, NJ 08720                                 410       3/2/2015 Corporation                                                    $5,881.80                                                                                         $5,881.80




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                                                                                                                          Current General                                            Current 503(b)(9)
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            Creditor Name and Address           Claim No.   Claim Date                    Debtor                          Unsecured Claim                                             Admin Priority
                                                                                                                                                Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
Dover Parcade, LLC
Donna Thompson, Esq.
PO Box 679                                                           RS Legacy Corporation fka RadioShack
Allenwood, NJ 08720                               411       3/2/2015 Corporation                                                                                                                               $4,411.44             $4,411.44
City of McAllen
Diane W. Sanders
Linebarger Goggan Blair & Sampson, LLP
PO Box 17428                                                         RS Legacy Corporation fka RadioShack
Austin, TX 78760‐7428                             412       3/2/2015 Corporation                                                                                         $3,968.09                                                   $3,968.09
Indianapolis ‐ Star Media
Shelly Lucas
Gannett Co., Inc
Law Department
7950 Jones Branch Dr                                                  RS Legacy Corporation fka RadioShack
Mclean, VA 22107                                  413       2/24/2015 Corporation                                                    $716.40                                                                                           $716.40
Hernando County Tax Collector
20 N. Main Street Rm 112                                             RS Legacy Corporation fka RadioShack
Brooksville , FL 34601‐2892                       414       3/2/2015 Corporation                                                                                           $225.88                                                     $225.88
Paramount Plaza at New Brite, LLC
Donna Thompson, Esq.
PO Box 679                                                           RS Legacy Corporation fka RadioShack
Allenwood, NJ 08720                               415       3/2/2015 Corporation                                                   $4,926.09                                                                                         $4,926.09
Crossroads Shopping Center, LLC
205 East York Street                                                 RS Legacy Corporation fka RadioShack
Savannah, GA 31401                                416       3/2/2015 Corporation                                                   $2,585.00                                                                                         $2,585.00
Southbridge Fair Investors, LLC
Donna Thompson, Esq.
PO Box 679                                                           RS Legacy Corporation fka RadioShack
Allenwood, NJ 08720                               417       3/2/2015 Corporation                                                     $366.82                                                                   $2,200.84             $2,567.66
Southbridge Fair Investors, LLC
Donna Thompson, Esq.
PO Box 679                                                           RS Legacy Corporation fka RadioShack
Allenwood, NJ 08720                               418       3/2/2015 Corporation                                                   $2,200.84                                                                                         $2,200.84
Bell, Carol
1809 Wild Willow Trail                                                RS Legacy Corporation fka RadioShack
Fort Worth, TX 76134                              419       2/27/2015 Corporation                                                  $4,495.00          $12,475.00                                                                    $16,970.00
De Jesús Colón, Edwin Omar
35 Calle Escorpora
Urb. Extancias de Barceloneta                                        RS Legacy Corporation fka RadioShack
Barceloneta, PR 00617                             420       3/2/2015 Corporation                                                       $0.00                                                                                             $0.00
Ziff Davis LLC
28 East 28th Street                                                  RS Legacy Corporation fka RadioShack
New York, NY 10016                                421       3/2/2015 Corporation                                                 $21,100.00                                                                                         $21,100.00
San Marcos CISD
Diane W. Sanders
LINEBARGER GOGGAN BLAIR & SAMPSON, LLP
PO Box 17428                                                         RS Legacy Corporation fka RadioShack
Austin, TX 78760‐7428                             422       3/2/2015 Corporation                                                                                         $1,480.04                                                   $1,480.04
Department of the Treasury ‐ Internal Revenue
Service
PO Box 7346
Philadelphia, PA 19101‐7346                       423       3/2/2015 Ignition L.P.                                                     $0.00                                                                                             $0.00



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                                                                                                                             Current General                                           Current 503(b)(9)
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            Creditor Name and Address              Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                    Amount
Hy‐Vee Foods # 1044
3140 Agency St.                                                         RS Legacy Corporation fka RadioShack
Burlington, IA 52601                                 424       3/2/2015 Corporation                                                     $377.58                                                                                          $377.58
Hunt County
Elizabeth Weller
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Freeway
Suite 1000                                                              RS Legacy Corporation fka RadioShack
Dallas, TX 75207                                     425       3/2/2015 Corporation                                                                                        $1,383.51                                                   $1,383.51
Action Glass
54978 Mayflower Road                                                    RS Legacy Corporation fka RadioShack
South Bend, IN 46628                                 426       3/2/2015 Corporation                                                                                                                $0.00                                   $0.00
Terminix International
PO Box 17167                                                            RS Legacy Corporation fka RadioShack
Memphis, TN 38187                                    427       3/2/2015 Corporation                                                 $10,575.10                                                                                        $10,575.10
Nañez, Sylvia
1117 E. California Ave                                                  RS Legacy Corporation fka RadioShack
El Paso, TX 79902                                    428       3/2/2015 Corporation                                                   $3,115.20                                                                                        $3,115.20
The Monroe Publishing Company
20 W First St
PO Box 1176                                                             RS Legacy Corporation fka RadioShack
Monroe, MI 48161                                     429       3/3/2015 Corporation                                                   $5,022.21                                                                                        $5,022.21
Mondo L.B. Inc.
2700 Two Brothers Ct.                                                   RS Legacy Corporation fka RadioShack
Oceanside, NY 11572                                  430       3/3/2015 Corporation                                                   $6,400.00                                                                                        $6,400.00
Lansing Board of Water and Light
PO Box 13007                                                            RS Legacy Corporation fka RadioShack
Lansing, MI 48901‐3007                               431       3/3/2015 Corporation                                                   $2,058.42                                                                                        $2,058.42
City of Columbus (Ohio) ‐ Department of Public
Safety
License Section
750 Piedmont Rd                                                         RS Legacy Corporation fka RadioShack
Columbus, OH 43224                                   432       3/3/2015 Corporation                                                     $365.00                                                                                          $365.00
Acorn Influence, LLC
102 E. Central Ave                                                      RS Legacy Corporation fka RadioShack
Bentonville, AR 72712                                433       3/3/2015 Corporation                                                 $25,000.00                                                                                        $25,000.00
LEE COUNTY TAX COLLECTOR
PO BOX 1968                                                             RS Legacy Corporation fka RadioShack
SANFORD, NC 27331                                    434       3/3/2015 Corporation                                                                       $502.09                                                                        $502.09
Fair Harbor Capital, LLC as transferee for South
Penn Plaza, LLC
Ansonia Finance Station
PO Box 237037                                                           RS Legacy Corporation fka RadioShack
New York, NY 10023                                   435       3/3/2015 Corporation                                                   $5,894.43              $0.00             $0.00               $0.00             $0.00             $5,894.43
Miami‐Dade County Tax Collector
200 NW 2nd Avenue                                                       RS Legacy Corporation fka RadioShack
Miami, FL 33128                                      436       3/3/2015 Corporation                                                                                        $5,062.30                                                   $5,062.30
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                              RS Legacy Corporation fka RadioShack
Carneys Point, NJ 08069‐3600                         437       2/25/2015 Corporation                                                    $493.50                                                                                          $493.50



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                                                                                                                            Current General                                           Current 503(b)(9)
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            Creditor Name and Address              Claim No.   Claim Date                   Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                    Amount
P.C.
Donald F. Campbell, Jr., Esq.
Giordano, Halleran & Ciesla, P.C.
125 Half Mile Road, Suite 300                                           RS Legacy Corporation fka RadioShack
Red Bank, NJ 07701                                   438       3/3/2015 Corporation                                               $115,004.10                                                                                       $115,004.10
Storix Inc
David Smiljkovich
9150 Chesapeake Drive, Suite 290                                        RS Legacy Corporation fka RadioShack
San Diego, CA 92123‐1023                             439       3/3/2015 Corporation                                                    $227.25                                                                                          $227.25
The Express
Ogden Publications of PA LLC
dba The Express
PO Box 208                                                              RS Legacy Corporation fka RadioShack
Lock Haven, PA 17745                                 440       3/3/2015 Corporation                                                    $389.25                                                                                          $389.25
De Bauw, William C
PMB 179
13500 S.W. Pacific Hwy.                                                 RS Legacy Corporation fka RadioShack
Tigard, OR 97223                                     441       3/3/2015 Corporation                                                $21,328.01                                                                                        $21,328.01
Schmitt, Rosemary G.
156 N. Bailey                                                           RS Legacy Corporation fka RadioShack
Ft. Worth, TX 76107                                  442       3/3/2015 Corporation                                                $10,692.00                                                                                        $10,692.00
Stylianou, Barbara
219 Newburgh Ave.                                                       RS Legacy Corporation fka RadioShack
Medford, NY 11763                                    443       3/3/2015 Corporation                                                                     $7,189.20                                 $0.00                               $7,189.20
Skagit County Treasurer
PO Box 518                                                              RS Legacy Corporation fka RadioShack
Mount Vernon, WA 98273                               444       3/3/2015 Corporation                                                                                           $0.00                                                       $0.00

720 North Bedford Road Bedford Hills Corporation
Christina M. Martabano, Esq.
269 North Bedford Road                                                  RS Legacy Corporation fka RadioShack
Mount Kisco, NY 10549                                445       3/3/2015 Corporation                                                $14,896.25                                                                                        $14,896.25
Bare Conductive Ltd
98 Commercial St
London E1 6LZ                                                           RS Legacy Corporation fka RadioShack
United Kingdom                                       446       3/3/2015 Corporation                                                $70,506.70                                                                                        $70,506.70

Weslaco Independent School District
John T. Banks
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
3301 Northland Drive
Suite 505                                                               RS Legacy Corporation fka RadioShack
Austin, TX 78731                                     447       3/3/2015 Corporation                                                                                       $3,274.92                                                   $3,274.92
Ricoh USA Inc
Accounts Receivable Center
Attn: Bankruptcy Team
3920 Arkwright Rd. Suite 400                                            RS Legacy Corporation fka RadioShack
Macon, GA 31210                                      448       3/3/2015 Corporation                                                $19,285.53                                                                                        $19,285.53
COUNTY OF SAN BERNARDINO
OFFICE OF THE TAX COLLECTOR
172 WEST THIRD STREET                                                   RS Legacy Corporation fka RadioShack
SAN BERNARDINO, CA 92415                             449       3/3/2015 Corporation                                                      $0.00                                $0.00                                                       $0.00



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                                                                                                                             Current General                                            Current 503(b)(9)
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            Creditor Name and Address              Claim No.   Claim Date                    Debtor                          Unsecured Claim                                             Admin Priority
                                                                                                                                                   Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Ripperton, John Gregory
PO Box 1566                                                             RS Legacy Corporation fka RadioShack
Aledo, TX 76008                                      450       3/3/2015 Corporation                                                $559,510.50               $0.00                                                                    $559,510.50
Palmer 2109 S College, LLC
3711 JFK PKWY #340                                                      RS Legacy Corporation fka RadioShack
Fort Collins, CO 80528                               451       3/3/2015 Corporation                                                       $0.00                                                     $0.00                                   $0.00
Kansas City Power & Light
PO Box 418679                                                           RS Legacy Corporation fka RadioShack
Kansas City, MO 64141‐8679                           452       3/3/2015 Corporation                                                   $9,639.28                                                                                         $9,639.28
Empire Schuylkill, LP
Jeffrey Kurtzman, Esquire
Klehr Harrison Harvey Branzburg LLP
1835 Market Street, Suite 1400                                          RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                               453       3/3/2015 Corporation                                                     $783.97                                                                                           $783.97

McAllen Independent School District
John T. Banks
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
3301 Northland Drive
Suite 505                                                               RS Legacy Corporation fka RadioShack
Austin, TX 78731                                     454       3/3/2015 Corporation                                                                                        $23,754.01                                                  $23,754.01
Dimmitt, Michael James
209 S Heartz Rd                                                         RS Legacy Corporation fka RadioShack
Coppell , TX 75019                                   455       3/3/2015 Corporation                                                 $27,631.00           $12,475.00                                                                    $40,106.00
The County of Denton, Texas, Collecting property
for itself and for the City of Sanger, Texas and
Sanger Independent School District
Lee Gordon
McCreary, Veseslka, Bragg & Allen, P.C.
PO Box 1269                                                             RS Legacy Corporation fka RadioShack
Round Rock, TX 78680‐1269                            456       3/3/2015 Corporation                                                                                         $2,956.93                                                   $2,956.93
Morehead News
PO Box 311                                                               RS Legacy Corporation fka RadioShack
Ashland, KY 41105                                    457       2/17/2015 Corporation                                                    $480.65                                                                                           $480.65

City of Weslaco
John T. Banks
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
3301 Northland Drive
Suite 505                                                               RS Legacy Corporation fka RadioShack
Austin, TX 78731                                     458       3/3/2015 Corporation                                                                                         $1,944.49                                                   $1,944.49
The County of Hill, Texas
Lee Gordon
McCreary, Veselka, Bragg & Allen, P.C.
PO Box 1269                                                             RS Legacy Corporation fka RadioShack
Round Rock , TX 78680‐1269                           459       3/3/2015 Corporation                                                                                             $0.00                                                       $0.00
Brico Industries, Inc.
Thomas Tumbarello
777 Larch Avenue                                                        RS Legacy Corporation fka RadioShack
Elmhurst, IL 60126                                   460       3/3/2015 Corporation                                                   $2,160.00                                                                                         $2,160.00




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                                                                                                                                Current General                                           Current 503(b)(9)
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            Creditor Name and Address                  Claim No.   Claim Date                   Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                    Amount
Stapleton, Judith A
4109 Ridgecrest Circle                                                      RS Legacy Corporation fka RadioShack
Fort Worth , TX 76135                                    461       3/3/2015 Corporation                                                                     $3,386.40                                 $0.00                               $3,386.40
Eastland County Appraisal District
Lee Gordon
McCreary, Veselka, Bragg & Allen, P.C.
PO Box 1269                                                                 RS Legacy Corporation fka RadioShack
Round Rock, TX 78680‐1269                                462       3/3/2015 Corporation                                                                                           $0.00                                                       $0.00
Kerrville Independent School District
Lee Gordon
McCreary, Veselka, Bragg & Allen, P.C.
PO Box 1269                                                                 RS Legacy Corporation fka RadioShack
Round Rock, TX 78680‐1269                                463       3/3/2015 Corporation                                                                                       $2,755.89                                                   $2,755.89
Mission Bell East, LLC
c/o Safco Capital Corp.
1850 S. Sepulveda Boulevard                                                 RS Legacy Corporation fka RadioShack
Los Angeles, CA 90025                                    464       3/3/2015 Corporation                                                $16,363.29                                                                                        $16,363.29
The County of Henderson, Texas
Lee Gordon
McCreary, Veselka, Bragg & Allen, P.C.
PO Box 1269                                                                 RS Legacy Corporation fka RadioShack
Round Rock, TX 78680‐1269                                465       3/3/2015 Corporation                                                                                         $914.28                                                     $914.28
The County of Cherokee, Texas
Lee Gordon
McCreary, Veselka, Bragg & Allen, P.C.
PO Box 1269                                                                 RS Legacy Corporation fka RadioShack
Round Rock, TX 78680‐1269                                466       3/3/2015 Corporation                                                                                         $650.69                                                     $650.69
Hill County Appraisal District, collecting property
taxes for The City of Hillsboro, Texas and Hillsboro
Independent School District
Lee Gordon
McCreary, Veselka, Bragg & Allen, P.C.
PO Box 1269                                                                 RS Legacy Corporation fka RadioShack
Round Rock, TX 78680‐1269                                467       3/3/2015 Corporation                                                                                           $0.00                                                       $0.00

Advanced Mechanical Services of Central Florida,
Inc. D/b/a Advanced Mechanical Services
2475 Regent Avenue                                                          RS Legacy Corporation fka RadioShack
Orlando, FL 32804                                        468       3/3/2015 Corporation                                                      $0.00                                                    $0.00                                   $0.00
Harrison Central Appraisal District, collecting
property taxes for The City of Marshall, Texas and
Marshall Independent School District
Lee Gordon
McCreary, Veselka, Bragg & Allen, P.C.
PO Box 1269                                                                 RS Legacy Corporation fka RadioShack
Round Rock, TX 78680‐1269                                469       3/3/2015 Corporation                                                                                       $2,482.48                                                   $2,482.48
Image Solutions Apparel Inc.
Tom Fitzpatrick
19819 Hamilton Ave                                                          RS Legacy Corporation fka RadioShack
Torrance, CA 90502                                       470       3/3/2015 Corporation                                                    $192.54                                                    $0.00                                 $192.54




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                                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                    Claim No.   Claim Date                   Debtor                          Unsecured Claim                                           Admin Priority
                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                      Amount                                                   Amount
The County of Harrison, Texas
Lee Gordon
McCreary, Veselka, Bragg & Allen, P.C.
PO Box 1269                                                                   RS Legacy Corporation fka RadioShack
Round Rock, TX 78680‐1269                                  471       3/3/2015 Corporation                                                                                        $422.93                                                     $422.93
The County of Hays, Texas, et al
Lee Gordon
McCreary, Veselka, Bragg & Allen, P.C.
PO Box 1269                                                                   RS Legacy Corporation fka RadioShack
Round Rock, TX 78680‐1269                                  472       3/3/2015 Corporation                                                                                      $6,588.36                                                   $6,588.36

The County of Erath, Texas, collecting property
taxes for itself and for Middle Trinity Water District
Lee Gordon
McCreary, Veselka, Bragg & Allen, P.C.
PO Box 1269                                                                   RS Legacy Corporation fka RadioShack
Round Rock, TX 78680‐1269                                  473       3/3/2015 Corporation                                                                                      $3,165.70                                                   $3,165.70
The County of Guadalupe, Texas, et al
Lee Gordon
McCreary, Veselka, Bragg & Allen, P.C.
PO Box 1269                                                                   RS Legacy Corporation fka RadioShack
Round Rock, TX 78680‐1269                                  474       3/3/2015 Corporation                                                                                      $8,962.75                                                   $8,962.75

Burnet Central Appraisal District, collecting property
taxes for The County of Burnet, Texas, et al
Lee Gordon
McCreary, Veselka, Bragg & Allen, P.C.
PO Box 1269                                                                   RS Legacy Corporation fka RadioShack
Round Rock, TX 78680‐1269                                  475       3/3/2015 Corporation                                                                                      $2,751.12                                                   $2,751.12

The County of Comal, Texas, collecting property
taxes for itself and The City of New Braunfels, Texas
and New Braunfels Independent School District
Lee Gordon
McCreary, Veselka, Bragg & Allen, P.C.
PO Box 1269                                                                   RS Legacy Corporation fka RadioShack
Round Rock, TX 78680‐1269                                  476       3/3/2015 Corporation                                                                                      $3,554.23                                                   $3,554.23

Brown County Appraisal District, collecting property
taxes for the County of Brown, Texas, Brown County
Road and Flood, The City of Brownwood, Texas and
Brownwood Independent School District
Lee Gordon
McCreary, Veselka, Bragg & Allen, P.C.
PO Box 1269                                                                   RS Legacy Corporation fka RadioShack
Round Rock, TX 78680‐1269                                  477       3/3/2015 Corporation                                                                                      $3,768.11                                                   $3,768.11




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            Creditor Name and Address                     Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                       Amount                                                     Amount

The County of Coryell, Texas, collecting property
taxes for itself and the City Of Copperas Cove, Texas
and Central Texas College
Lee Gordon
McCreary, Veselka, Bragg & Allen, P.C.
PO Box 1269                                                                    RS Legacy Corporation fka RadioShack
Round Rock, TX 78680‐1269                                   478       3/3/2015 Corporation                                                                                        $1,438.80                                                   $1,438.80
The County of Anderson, Texas, collecting property
taxes for itself and for The City of Palestine, Texas,
et al
Lee Gordon
McCreary, Veselka, Bragg & Allen, P.C.
PO Box 1269                                                                    RS Legacy Corporation fka RadioShack
Round Rock, TX 78680‐1269                                   479       3/3/2015 Corporation                                                                                        $3,324.02                                                   $3,324.02
The County of Bastrop, Texas, collecting property
taxes for itself and for The City of Bastrop, Texas, et
al
Lee Gordon
McCreary, Veselka, Bragg & Allen, P.C.
PO Box 1269                                                                    RS Legacy Corporation fka RadioShack
Round Rock, TX 78680‐1269                                   480       3/3/2015 Corporation                                                                                        $3,598.53                                                   $3,598.53

Bowie Central Appraisal District, collecting property
taxes for The County of Bowie, Texas, et al
Lee Gordon
McCreary, Veselka, Bragg & Allen, P.C.
PO Box 1269                                                                    RS Legacy Corporation fka RadioShack
Round Rock, TX 78680‐1269                                   481       3/3/2015 Corporation                                                                                        $5,815.89                                                   $5,815.89
Ruiz, Alejandro
HC‐5 Box 52991                                                                 RS Legacy Corporation fka RadioShack
Aguadilla, PR 00603                                         482       3/3/2015 Corporation                                                       $0.00                                                                                            $0.00
DJ Management
c/o Doug JASA
5460 Hildreth Lane                                                             RS Legacy Corporation fka RadioShack
Stockton, CA 95212                                          483       3/3/2015 Corporation                                                                          $0.00                                                                         $0.00
ACE Temperature Control, Inc.
30 Ward St.                                                                    RS Legacy Corporation fka RadioShack
Worcester, MA 01610                                         484       3/3/2015 Corporation                                                   $5,407.31                                                                                        $5,407.31

Tax Appraisal District of Bell County, collecting
property taxes for The County of Bell, Texas, et al
Lee Gordon
McCreary, Veselka, Bragg & Allen, P.C.
PO Box 1269                                                                    RS Legacy Corporation fka RadioShack
Round Rock, TX 78680‐1269                                   485       3/3/2015 Corporation                                                                                        $9,707.63                                                   $9,707.63
Primatronix Ltd
Flat C & D 17/F
Kings Tower III King Lam Street                                                RS Legacy Global Sourcing Limited Partnership
Kowloon                                                                        fka RadioShack Global Sourcing Limited
HONG KONG                                                   486       3/3/2015 Partnership                                                $170,543.02                                                                                       $170,543.02




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            Creditor Name and Address                     Claim No.   Claim Date                   Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                       Amount                                                    Amount
Mexia Independent School District
Lee Gordon
McCreary, Veselka, Bragg & Allen, P.C.
PO Box 1269                                                                    RS Legacy Corporation fka RadioShack
Round Rock, TX 78680‐1269                                   487       3/3/2015 Corporation                                                                                       $3,084.89                                                   $3,084.89
The County of Wharton, Texas, collecting property
taxes for itself and for the City of Wharton, Texas, et
al
Lee Gordon
McCreary, Veselka, Bragg & Allen, P.C.
PO Box 1269                                                                    RS Legacy Corporation fka RadioShack
Round Rock, TX 78680‐1269                                   488       3/3/2015 Corporation                                                                                           $0.00                                                       $0.00
The County of Wilbarger, Texas
Lee Gordon
McCreary, Veselka, Bragg & Allen, P.C.
PO Box 1269                                                                    RS Legacy Corporation fka RadioShack
Round Rock, TX 78680‐1269                                   489       3/3/2015 Corporation                                                                                           $0.00                                                       $0.00
Walter, Lenke
3529 South Dr.                                                                 RS Legacy Corporation fka RadioShack
Fort Worth, TX 76109‐4513                                   490       3/3/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
Midland Central Appraisal District, collecting
property taxes for Midland Independent School
District, et al
Lee Gordon
McCreary, Veselka, Bragg & Allen, P.C.
PO Box 1269                                                                    RS Legacy Corporation fka RadioShack
Round Rock, TX 78680‐1269                                   491       3/3/2015 Corporation                                                                                       $6,365.58                                                   $6,365.58
Central Appraisal District of Taylor County,
collecting property taxes for The County of Taylor,
Texas, et al
Lee Gordon
McCreary, Veselka, Bragg & Allen, P.C.
PO Box 1269                                                                    RS Legacy Corporation fka RadioShack
Round Rock, TX 78680‐1269                                   492       3/3/2015 Corporation                                                                                       $8,899.96                                                   $8,899.96
The County of Williamson, Texas, collecting
property taxes for itself and for The city of Cedar
Park, Texas, et al
Lee Gordon
McCreary, Veselka, Bragg & Allen, P.C.
PO Box 1269                                                                    RS Legacy Corporation fka RadioShack
Round Rock, TX 78680‐1269                                   493       3/3/2015 Corporation                                                                                      $16,286.79                                                  $16,286.79
City of Waco and/or Waco Independent School
District
Lee Gordon
McCreary, Veselka, Bragg & Allen, P.C.
PO Box 1269                                                                    RS Legacy Corporation fka RadioShack
Round Rock, TX 78680‐1269                                   494       3/3/2015 Corporation                                                                                       $4,888.83                                                   $4,888.83




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                                                                                                                                                        Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                                      Amount                                                     Amount

The County of Brazos, Texas, collecting property
taxes for itself and for the City of Bryan, Texas, The
City of College Station, Texas, Bryan Independent
School District and College Station Independen
Lee Gordon
McCreary, Veselka, Bragg & Allen, P.C.
PO Box 1269                                                                   RS Legacy Corporation fka RadioShack
Round Rock, TX 78680‐1269                                  495       3/3/2015 Corporation                                                                                        $6,358.34                                                   $6,358.34
Koerner, Keri L
9 East Young Street                                                           RS Legacy Corporation fka RadioShack
Somerville, NJ 08876                                       496       3/3/2015 Corporation                                                                     $10,601.80                                                                    $10,601.80
Scott D.H. Redman, Individually and on behalf of all
others similarly situated
Paul F. Markoff
Markoff Leinberger LLC
134 N LaSalle St Ste 1050                                                     RS Legacy Corporation fka RadioShack
Chicago, IL 60602                                          497       3/3/2015 Corporation                                                      $0.00                                                                                             $0.00
Masters, Kimberly A.
5720 Round Rock Rd.                                                           RS Legacy Corporation fka RadioShack
Haltom City, TX 76137                                      498       3/4/2015 Corporation                                                $10,218.00                                                                                         $10,218.00
Miller, Thelma Lois
3408 Woodbridge Dr                                                            RS Legacy Corporation fka RadioShack
Ft Worth, TX 76140                                         499       3/4/2015 Corporation                                                $11,736.00                                                                                         $11,736.00
Uvalde Leader News
PO Box 740                                                                    RS Legacy Corporation fka RadioShack
Uvalde, TX 78802‐0740                                      500       3/4/2015 Corporation                                                  $2,196.00                                                                                         $2,196.00
North Jersey Media Group
1 Garret Mountain Plaza
7th Floor                                                                     RS Legacy Corporation fka RadioShack
Woodland Park, NJ 07424‐0471                               501       3/4/2015 Corporation                                                $26,628.83                                                                                         $26,628.83
MEM‐CE, LLC.
11485 Valley View Road                                                        RS Legacy Corporation fka RadioShack
Eden Prairie, MN 55344                                     502       3/4/2015 Corporation                                                $97,284.00                                                                                         $97,284.00
Griffin Daily News
Times ‐ Georgian
901 Hays Mill Rd                                                              RS Legacy Corporation fka RadioShack
Carrollton, GA 30117                                       503       3/4/2015 Corporation                                                    $535.60                                                                                           $535.60
Northeast Ohio Media Group, LLC
C/O The Plain Dealer Credit Manager
4800 Tiedeman Rd                                                              RS Legacy Corporation fka RadioShack
Brooklyn , OH 44144                                        504       3/4/2015 Corporation                                                $65,567.28                                                                                         $65,567.28
Healthy Air Duct Cleaning
103 Olympe Dr                                                                 RS Legacy Corporation fka RadioShack
Houma, LA 70363                                            505       3/4/2015 Corporation                                                  $2,750.00                                                                                         $2,750.00
United Communications Corporation
Kenosha News
5800 ‐ 7th Ave                                                                RS Legacy Corporation fka RadioShack
Kenosha, WI 53141                                          506       3/4/2015 Corporation                                                  $1,160.00                                                                                         $1,160.00
Central Dakota Times
Box 125                                                                       RS Legacy Corporation fka RadioShack
Chamberlain, SD 57325‐0125                                 507       3/4/2015 Corporation                                                    $291.50                                                                                           $291.50



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            Creditor Name and Address             Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                     Amount
Jefferson County
Clayton E. Mayfield
Linebarger Goggan Blair & Sampson, LLP
1148 Park Street                                                       RS Legacy Corporation fka RadioShack
Beaumont, TX 77701‐3614                             508       3/4/2015 Corporation                                                                                       $18,299.29                                                  $18,299.29
Metropolitan Trustee of Metropolitan Government
of Nashville & Davidson County
PO Box 196358                                                          RS Legacy Corporation fka RadioShack
Nashville, TN 37219‐6358                            509       3/4/2015 Corporation                                                                                        $1,579.75                                                   $1,579.75
Lafayette Walmart Shoppes, LP
Latter & Blum Property Management, Inc.
128 Demanade Blvd., Suite 107                                          RS Legacy Corporation fka RadioShack
Lafayette, LA 70503                                 510       3/4/2015 Corporation                                                   $7,758.14                                                                                        $7,758.14

Treasurer of Douglas County, Nebraska
John W. Ewing Jr.
Timothy K. Dolan #20978, Deputy County Attorney
909 Civic Center
1819 Farnam Street                                                     RS Legacy Corporation fka RadioShack
Omaha, NE 68183                                     511       3/4/2015 Corporation                                                                          $0.00                                                                         $0.00
The Newspapers of West Georgia
Times ‐ Georgian
901 Hays Mill Rd                                                       RS Legacy Corporation fka RadioShack
Carrollton, GA 30117                                512       3/4/2015 Corporation                                                     $484.49                                                                                          $484.49
Graves, Rhonda Denise
2001 Fairmount Ave, Apt A                                              RS Legacy Corporation fka RadioShack
Fort Worth, TX 76110                                513       3/3/2015 Corporation                                                                          $0.00                                                                         $0.00
Manchester Tic LLC
US Realty Management Company LLC
3003 English Creek Ave, Suite D‐13A                                    RS Legacy Corporation fka RadioShack
EHT, NJ 08234                                       514       3/4/2015 Corporation                                                   $2,868.13                                                                                        $2,868.13
Line Tech Industrial Co., Ltd.
No. 82‐7, Sec.1 Kuang Fu Road
San Chung Area
New Taipei City                                                        RS Legacy Global Sourcing Corporation fka
Taiwan, R.O.C.                                      515       3/4/2015 RadioShack Global Sourcing Corporation                     $186,232.12                                                                                       $186,232.12
Denny, Annemarie
PO Box 122534                                                          RS Legacy Corporation fka RadioShack
Fort Worth, TX 76121                                516       3/4/2015 Corporation                                                                          $0.00                                 $0.00                                   $0.00
Delgado, Miguel Maxan
HC‐8 Box 65101                                                         RS Legacy Corporation fka RadioShack
Arecibo, PR 00612                                   517       3/4/2015 Corporation                                                                          $0.00                                                                         $0.00
Seikaku Technical Group Limited
No. 1, Lane 17, Sec. 2
Hanshi West Road
East District
Taichung City 40151                                                    RS Legacy Corporation fka RadioShack
Taiwan, R.O.C                                       518       3/4/2015 Corporation                                                 $26,352.00                                                                                        $26,352.00
Del Sol Capital, LLC
c/o Safco Capital Corp.
1850 S. Sepulveda Boulevard                                            RS Legacy Corporation fka RadioShack
Los Angeles , CA 90025                              519       3/3/2015 Corporation                                                   $3,450.01                                                                                        $3,450.01



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            Creditor Name and Address     Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                    Amount
Ramirez Maldonado, Carmen Ivette
PO Box 140674                                                  RS Legacy Corporation fka RadioShack
Arecibo, PR 00614                           520       3/3/2015 Corporation                                                       $0.00                                                                                            $0.00
Palm Beach County Tax Collector
Attn: Legal Services
PO Box 3715                                                    RS Legacy Corporation fka RadioShack
West Palm Beach , FL 33402‐3715             521       3/5/2015 Corporation                                                                                        $1,338.47                                                   $1,338.47
Viona Corporation
c/o Liquidity Solutions, Inc.
One University Plaza, Suite 312                                RS Legacy Corporation fka RadioShack
Hackensack, NJ 07601                        522       3/5/2015 Corporation                                                                          $0.00                             $2,000.00                               $2,000.00
Stillwater News Press
Attn: Sure Glasscock
PO Box 2288                                                    RS Legacy Corporation fka RadioShack
Stillwater, OK 74076                        523       3/5/2015 Corporation                                                     $157.29                                                    $0.00                                 $157.29
Scarpaci, Bruce
4159 Little Gap Loop                                            RS Legacy Corporation fka RadioShack
Ellenton, FL 34222                          524       2/27/2015 Corporation                                                $32,281.06                                                                                        $32,281.06
Hickox, Lynn
7959 Southbrook circle                                         RS Legacy Corporation fka RadioShack
Fort Worth , TX 76134                       525       3/5/2015 Corporation                                                                      $6,728.40                                                                     $6,728.40
Franklin ISD
Diane W. Sanders
Linebarger Goggan Blair & Sampson, LLP
PO Box 17428                                                   RS Legacy Corporation fka RadioShack
Austin, TX 78760‐7428                       526       3/5/2015 Corporation                                                                                            $0.00                                                       $0.00
Palm Beach County Tax Collector
Attn: Legal Services
PO Box 3715                                                    RS Legacy Corporation fka RadioShack
West Palm Beach, FL 33402‐3715              527       3/5/2015 Corporation                                                                       $744.99            $744.99                                                   $1,489.98
Clark county Treasurer
PO Box 9808                                                    RS Legacy Corporation fka RadioShack
Vancouver, WA 98666                         528       3/3/2015 Corporation                                                                                          $302.38                                                     $302.38
Clark County Treasurer
PO Box 9808                                                    RS Legacy Corporation fka RadioShack
Vancouver, WA 98666                         529       3/3/2015 Corporation                                                                                          $153.13                                                     $153.13
City of Tiffin Sewer Revenue Department
PO Box 156                                                      RS Legacy Corporation fka RadioShack
Tiffin, OH 44883                            530       2/27/2015 Corporation                                                     $36.68                                                                                           $36.68
Clark County Treasurer
PO Box 9808                                                    RS Legacy Corporation fka RadioShack
Vancouver, WA 98666                         531       3/3/2015 Corporation                                                                                          $290.02                                                     $290.02
Solano County Tax Collector
675 Texas St Ste 1900                                          RS Legacy Corporation fka RadioShack
Fairfield, CA 94533                         532       3/3/2015 Corporation                                                                      $8,487.62             $0.00                                                   $8,487.62
Accountemps of Robert Half
Attn: Karen Lima
PO Box 5024                                                    RS Legacy Corporation fka RadioShack
San Ramon, CA 94583                         533       3/3/2015 Corporation                                                 $11,676.72                                                                                        $11,676.72




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            Creditor Name and Address               Claim No.   Claim Date                   Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                    Amount
Pitney Bowes Global Financial Services LLC
Pitney Bowes Inc.
27 Waterview Drive                                                       RS Legacy Corporation fka RadioShack
Shelton, CT 06484                                     534       3/2/2015 Corporation                                                  $7,968.16                                                                                        $7,968.16
City of Midland
333 W. Ellsworth Street                                                  RS Legacy Corporation fka RadioShack
Midland, MI 48640                                     535       3/4/2015 Corporation                                                    $114.26                                $0.00                                                     $114.26
LMC Industrial Contractors Inc
6020 Lakevile Rd                                                         RS Legacy Corporation fka RadioShack
Avon, NY 14414                                        536       3/6/2015 Corporation                                                  $2,561.39                                                                                        $2,561.39
Clark County Treasurer
PO Box 9808                                                              RS Legacy Corporation fka RadioShack
Vancouver, WA 98666                                   537       3/3/2015 Corporation                                                                                         $246.45                                                     $246.45
Snohomish County PUD #1
PO Box 1107                                                              RS Legacy Corporation fka RadioShack
Everett, WA 98206                                     538       3/3/2015 Corporation                                                  $9,082.46                                                                                        $9,082.46
Washington State, Department of Revenue
Attn: Doug Houghton
2101 4th Ave, Suite 1400                                                 RS Legacy Corporation fka RadioShack
Seattle, WA 98121‐2300                                539       3/6/2015 Corporation                                                                         $0.00                                                                         $0.00
Level 3 Communications, LLC
Attn: Legal Dept. (BKY)
1025 Eldorado Blvd.                                                      RS Legacy Corporation fka RadioShack
Broomfield, CO 80021                                  540       3/4/2015 Corporation                                                  $5,369.59                                                                                        $5,369.59
Nakatani, Neal
4410 Elk Grove Trail                                                     RS Legacy Corporation fka RadioShack
Augusta, GA 30906                                     541       3/6/2015 Corporation                                                      $0.00                                                                                            $0.00
Hanlong Industrial Co., Ltd.
No.58 Chung Shan Road
Tu Cheng Dist.
New Taipei City 23680                                                    RS Legacy Corporation fka RadioShack
Taiwan                                                542       3/5/2015 Corporation                                                $40,366.00                                                                                        $40,366.00
Claims Recovery Group LLC as Transferee for Linda
Leapheart
C/O CRG Financial LLC
Attn: General Counsel
100 Union Avenue, Suite 240                                              RS Legacy Corporation fka RadioShack
Cresskill, NJ 07626                                   543       3/6/2015 Corporation                                                      $0.00          $2,880.00             $0.00               $0.00             $0.00             $2,880.00
City of Mount Pleasant MI
320 West Broadway                                                        RS Legacy Corporation fka RadioShack
Mount Pleasant, MI 48858                              544       3/3/2015 Corporation                                                     $29.85                                $0.00                                                      $29.85
Salem Utilities Department
231 S. Broadway Ave                                                      RS Legacy Corporation fka RadioShack
Salem, OH 44460                                       545       3/3/2015 Corporation                                                     $20.84                                                                                           $20.84
Blair, Curtis
127 Nicole Lane                                                          RS Legacy Corporation fka RadioShack
Crestview, FL 32539                                   546       3/4/2015 Corporation                                                                         $0.00                                                                         $0.00
Clark County Treasurer
PO Box 9808                                                              RS Legacy Corporation fka RadioShack
Vancouver, WA 98666                                   547       3/3/2015 Corporation                                                                                         $140.85                                                     $140.85




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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                    Amount
Dominion‐Virginia Power
PO Box 26666
Bankruptcy Dept.‐ 10th Floor                                   RS Legacy Corporation fka RadioShack
Richmond, VA 23261                         548       2/27/2015 Corporation                                                  $5,586.88                                                                                        $5,586.88
González Vazquez, Gustavo
PO Box 2121                                                   RS Legacy Corporation fka RadioShack
Vega Baja, PR 00694                        549       3/5/2015 Corporation                                                       $0.00                                                                                            $0.00
City of Whittier
13230 Penn St.                                                RS Legacy Corporation fka RadioShack
Whittier , CA 90602                        550       3/3/2015 Corporation                                                   $1,126.81                                                                                        $1,126.81
Robert Half Management Resources
Attn: Karen Lima
PO Box 5024                                                   RS Legacy Corporation fka RadioShack
San Ramon, CA 94583                        551       3/3/2015 Corporation                                                 $12,375.22                                                                                        $12,375.22
Claim Docketed In Error                                       RS Legacy Corporation fka RadioShack
                                           552       3/3/2015 Corporation                                                                                                                                                        $0.00
City of Ocala Utilities
201 SE 3rd St                                                 RS Legacy Corporation fka RadioShack
Ocala, FL 34471                            553       3/3/2015 Corporation                                                   $2,682.34                                                                                        $2,682.34
PMK Family, LLC
531 Bayview Drive                                             RS Legacy Corporation fka RadioShack
Toms River, NJ 08753‐2003                  554       3/6/2015 Corporation                                                                                                                                                        $0.00
City of Midland
333 W. Ellsworth Street                                       RS Legacy Corporation fka RadioShack
Midland , MI 48640                         555       3/4/2015 Corporation                                                      $25.00                                                                                           $25.00
Negron Otero, Vilma Ivette
Urb. Estancias de Yauco D‐10
Calle Esmeralda                                               RS Legacy Corporation fka RadioShack
Yauco, PR 00698                            556       3/6/2015 Corporation                                                       $0.00              $0.00                                                                         $0.00
Centerpoint Energy
PO Box 4567                                                    RS Legacy Corporation fka RadioShack
Houston, TX 77210‐4567                     557       2/26/2015 Corporation                                                $10,612.95                                                                                        $10,612.95
Lewis County, Washington
Lewis County Treasurer
PO Box 509                                                    RS Legacy Corporation fka RadioShack
Chehalis, WA 98532‐0509                    558       3/2/2015 Corporation                                                                      $1,448.30           $319.59                                                   $1,767.89
Garden City Park Associates, LLC
350 Theodore Fremd Avenue
Suite 210                                                     RS Legacy Corporation fka RadioShack
Rye, NY 10580                              559       3/6/2015 Corporation                                                 $20,720.46                                                                                        $20,720.46
Jackson EMC
PO Box 38                                                     RS Legacy Corporation fka RadioShack
Jefferson, GA 30549                        560       3/3/2015 Corporation                                                     $912.85                                                                                          $912.85
Board of Public Utilities
Bankruptcy Clerk
540 Minnesota Avenue                                          RS Legacy Corporation fka RadioShack
Kansas City, KS 66101                      561       3/2/2015 Corporation                                                     $320.09                                                                                          $320.09
Taunton Municipal Lighting Plant
PO Box 870                                                     RS Legacy Corporation fka RadioShack
Taunton, MA 02780                          562       2/27/2015 Corporation                                                                                           $0.00                                                       $0.00




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                                                                                                                                  Current General                                           Current 503(b)(9)
                                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                   Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                      Amount                                                    Amount
City Utilities of Springfield Missouri
301 E. Central                                                               RS Legacy Corporation fka RadioShack
Springfield, MO 65802                                     563       3/3/2015 Corporation                                                   $4,501.75                                                                                        $4,501.75
Hub Group, Inc.
2000 Clearwater Drive                                                        RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                       564       3/3/2015 Corporation                                                   $6,032.22                                                                                        $6,032.22
Jersey Central Power & Light, a Firstenergy
Company
331 Newman Springs Road, Bldg 3                                               RS Legacy Corporation fka RadioShack
Red Bank, NJ 07701                                        565       2/26/2015 Corporation                                                  $3,952.02                                                                                        $3,952.02
Met‐Ed, a Firstenergy Company
331 Newman Springs Road, Bldg 3                                               RS Legacy Corporation fka RadioShack
Red Bank, NJ 07701                                        566       2/26/2015 Corporation                                                    $714.64                                                                                          $714.64
Sierra Liquidity Fund, LLC as Transferee for All
Seasons Service Network
19772 MacArthur Blvd., Suite 200                                             RS Legacy Corporation fka RadioShack
Irvine, CA 92612                                          567       3/5/2015 Corporation                                                       $0.00              $0.00             $0.00             $499.70             $0.00               $499.70
Service By All Seasons
89‐A East Blount Street                                                      RS Legacy Corporation fka RadioShack
Pensacola, FL 32501                                       568       3/5/2015 Corporation                                                   $1,522.48                                                                                        $1,522.48
Lynda Hall, in Her Official Capacity as Tax Collector
of Madison County, AL
100 NorthSide Square
Room 116                                                                     RS Legacy Corporation fka RadioShack
Huntsville, AL 35801                                      569       3/2/2015 Corporation                                                       $0.00                                                                                            $0.00
All Trades Maintenance
PO Box 57                                                                    RS Legacy Corporation fka RadioShack
Auburn, ME 04212                                          570       3/6/2015 Corporation                                                   $4,505.71                                                                                        $4,505.71
Emera Maine (fka Bangor Hydro Electric Company
and Maine Public Service Company)
Nathan J. Martell, Esq.
Emera Maine
PO Box 932                                                                   RS Legacy Corporation fka RadioShack
Bangor, ME 04402‐0932                                     571       3/6/2015 Corporation                                                   $2,278.39                                                                                        $2,278.39
Min Wen Huang
56 Hillburn Lane                                                             RS Legacy Corporation fka RadioShack
North Barrington , IL 60010                               572       3/6/2015 Corporation                                                 $13,450.03                                                                                        $13,450.03
Sierra Liquidity Fund, LLC as Transferee for All
Trades Maintenance & Repairs, Inc.
19772 MacArthur Blvd
Suite 200                                                                    RS Legacy Corporation fka RadioShack
Irvine, CA 92612                                          573       3/6/2015 Corporation                                                       $0.00              $0.00             $0.00             $448.00             $0.00               $448.00
Las Vegas Review‐Journal
Credit Office
PO Box 70                                                                    RS Legacy Corporation fka RadioShack
Las Vegas, NV 89125‐0070                                  574       3/9/2015 Corporation                                                     $661.25                                                                                          $661.25
Boomerang Commerce, Inc.
1987 Leghorn St
Suite 100                                                                    RS Legacy Corporation fka RadioShack
Mountain View, CA 94043                                   575       3/9/2015 Corporation                                                $166,875.00                                                                                       $166,875.00




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            Creditor Name and Address           Claim No.   Claim Date                   Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                    Amount
Bellevue Plaza, LLC
678 Aquidneck Ave                                                    RS Legacy Corporation fka RadioShack
Middletown, RI 02842                              576       3/9/2015 Corporation                                                  $4,744.32                                                                                        $4,744.32
The Columbus Telegram / Lee Enterprises
PO Box 80528                                                         RS Legacy Corporation fka RadioShack
Lincoln, NE 68501                                 577       3/9/2015 Corporation                                                    $516.13                                                                                          $516.13
Las Vegas Review‐Journal
Credit Office
PO Box 70                                                            RS Legacy Corporation fka RadioShack
Las Vegas, NV 89125‐0070                          578       3/9/2015 Corporation                                                $29,315.11                                                                                        $29,315.11
Softthinks USA Inc.
Laurent Kitzinger
11940 Jollyville Road 225‐S                                          RS Legacy Corporation fka RadioShack
Austin, TX 78759                                  579       3/9/2015 Corporation                                                  $4,728.00                                                    $0.00                               $4,728.00
Maricopa County Treasurer
Lori A. Lewis
Maricopa County Attorney's Office
222 N. Central Avenue, Suite 1100                                    RS Legacy Corporation fka RadioShack
Phoenix, AZ 85004                                 580       3/9/2015 Corporation                                                  $5,112.34                                                                                        $5,112.34
City of Laurinburg
PO Box 249                                                           RS Legacy Corporation fka RadioShack
Laurinburg, NC 28353                              581       3/9/2015 Corporation                                                                                           $0.00                                                       $0.00
Alabama Power Company
c/o Eric T. Ray, Balch & Bingham LLP
PO Box 306                                                           RS Legacy Corporation fka RadioShack
Birmingham, AL 35201                              582       3/9/2015 Corporation                                                $11,720.86                                                                                        $11,720.86
South Whit Shopping Center Associates
c/o Weiss, Zarett, Brofman & Sonnenklar, P.C.
3333 New Hyde Park Road, Suite 211                                   RS Legacy Corporation fka RadioShack
New Hyde Park, NY 11042                           583       3/9/2015 Corporation                                                  $7,319.68                                                                                        $7,319.68
BT Palm Beach, LLC
Jeffrey Kurtzman, Esquire
1835 Market Street, Suite 1400                                       RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                            584       3/9/2015 Corporation                                                $83,548.71                                                                                        $83,548.71
Air Box Television, INC
Attn: Catherine Gopaulsingh
601 Clearwater Park RD                                               RS Legacy Corporation fka RadioShack
West Palm Beach , FL 33401                        585       3/9/2015 Corporation                                                $85,008.63                                                                                        $85,008.63
Y.C Cable Co., LTD
SF. No. 12. Ln. 270. Sec. 3.
Beishen Rd.
Shenkeng Dist.
New Taipei City 222                                                  RS Legacy Corporation fka RadioShack
Taiwan (R.O.C.)                                   586       3/9/2015 Corporation                                               $692,943.06                                                                                       $692,943.06
Prince George's County, Maryland
c/o Meyers, Rodbell & Rosenbaum, P.A.
6801 Kenilworth Avenue, Suite 400                                    RS Legacy Corporation fka RadioShack
Riverdale, MD 20737‐1385                          587       3/9/2015 Corporation                                                                                           $0.00                                                       $0.00
Prince George's County, Maryland
c/o Meyers, Rodbell & Rosenbaum, P.A.
6801 Kenilworth Avenue, Suite 400                                    RS Legacy Corporation fka RadioShack
Riverdale, MD 20737‐1385                          588       3/9/2015 Corporation                                                                                           $0.00                                                       $0.00



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            Creditor Name and Address              Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                    Amount
Prince George's County, Maryland
C/O Meyers, Rodbell & Rosenbaum, P.A.
6801 Kenilworth Avenue, Suite 400                                       RS Legacy Corporation fka RadioShack
Riverdale, MD 20737‐1385                             589       3/9/2015 Corporation                                                                                            $0.00                                                       $0.00
Prince George's County, Maryland
c/o Meyers, Rodbell & Rosenbaum, P.A.
6801 Kenilworth Avenue, Suite 400                                       RS Legacy Corporation fka RadioShack
Riverdale, MD 20737‐1385                             590       3/9/2015 Corporation                                                                                            $0.00                                                       $0.00
Prince George's County, Maryland
c/o Meyers, Rodbell & Rosenbaum, P.A.
6801 Kenilworth Avenue, Suite 400                                       RS Legacy Corporation fka RadioShack
Riverdale, MD 20737‐1385                             591       3/9/2015 Corporation                                                                                            $0.00                                                       $0.00
Charter Communications
Attention: Cash Management
4670 E Fulton, Suite 102                                                RS Legacy Corporation fka RadioShack
Ada, MI 49301                                        592       3/9/2015 Corporation                                                   $8,255.66                                                                                        $8,255.66
WKLC Inc
LM Communications ‐ Dotsy Klei
100 kanawha Terrace                                                     RS Legacy Corporation fka RadioShack
St. Albans, WV 25177                                 593       3/9/2015 Corporation                                                     $867.00                                                                                          $867.00
Bristol Broadcasting Company
PO Box 871                                                              RS Legacy Corporation fka RadioShack
Charleston, WV 25323                                 594       3/9/2015 Corporation                                                   $1,360.00                                                                                        $1,360.00
Maricopa County Treasurer
Lori A. Lewis
Attorney's Office
222 N. Central Avenue, Suite 1100                                       RS Legacy Corporation fka RadioShack
Phoenix, AZ 85004                                    595       3/9/2015 Corporation                                                                                            $0.00                                                       $0.00
Chandler Signs, L.P., L.L.P.
3201 Manor Way                                                          RS Legacy Corporation fka RadioShack
Dallas , TX 75235‐5909                               596       3/9/2015 Corporation                                                 $14,681.99                                                                                        $14,681.99

City of Cleburne
Elizabeth Banda Calvo
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
500 East Border St, Suite 640                                            RS Legacy Corporation fka RadioShack
Arlington, TX 76010                                  597       2/18/2015 Corporation                                                                                       $1,323.95                                                   $1,323.95

Burleson Independent School District
Elizabeth Banda Calvo
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
500 East Border St, Suite 640                                            RS Legacy Corporation fka RadioShack
Arlington, TX 76010                                  598       2/18/2015 Corporation                                                                                       $1,569.06                                                   $1,569.06
Contel USA, Inc
14270 Albers Way                                                         RS Legacy Corporation fka RadioShack
Chino, CA 91710                                      599       3/10/2015 Corporation                                                  $2,520.00                                                                                        $2,520.00

Cleburne Independent School District
Elizabeth Banda Calvo
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
500 East Border St, Suite 640                                            RS Legacy Corporation fka RadioShack
Arlington, TX 76010                                  600       2/18/2015 Corporation                                                                                       $2,250.34                                                   $2,250.34



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            Creditor Name and Address              Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Department of the Treasury ‐ Internal Revenue
Service
PO Box 7346
Philadelphia, PA 19101‐7346                          601       3/10/2015 TRS Quality, Inc.                                                                    $0.00                                                                         $0.00
Department of the Treasury ‐ Internal Revenue
Service                                                                  RS Legacy Global Sourcing Limited Partnership
PO Box 7346                                                              fka RadioShack Global Sourcing Limited
Philadelphia, PA 19101‐7346                          602       3/10/2015 Partnership                                                                          $0.00                                                                         $0.00

City of Burleson
Elizabeth Banda Calvo
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
500 East Border St, Suite 640                                            RS Legacy Corporation fka RadioShack
Arlington, TX 76010                                  603       2/18/2015 Corporation                                                                                          $753.96                                                     $753.96
Chillum Center LLC
C/O Colliers International
8601 Robert Fulton Drive
Suite 220                                                                RS Legacy Corporation fka RadioShack
Columbia, MD 21046‐2278                              604       3/10/2015 Corporation                                                 $14,955.28                                                                                        $14,955.28

City of Benbrook
Elizabeth Banda Calvo
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
500 East Border St, Suite 640                                            RS Legacy Corporation fka RadioShack
Arlington, TX 76010                                  605       2/18/2015 Corporation                                                                                          $727.85                                                     $727.85
Lippincott's Rubbish Inc.
PO Box 675
6773 Tobes Hill Rd.                                                      RS Legacy Corporation fka RadioShack
Hornell, NY 14843                                    606       3/10/2015 Corporation                                                     $669.19                                                    $0.00                                 $669.19

Eagle Mountain‐Saginaw Independent School
District
Elizabeth Banda Calvo
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
500 East Border St. Suite 640                                            RS Legacy Corporation fka RadioShack
Arlington , TX 76010                                 607       2/18/2015 Corporation                                                                                        $3,483.36                                                   $3,483.36
Pinellas County Tax Collector
Attn: Robin Ferguson, CFCA, Tax Manager
PO Box 4006                                                              RS Legacy Corporation fka RadioShack
Seminole, FL 33775‐4006                              608       3/10/2015 Corporation                                                                                        $3,227.25                                                   $3,227.25
Air Mart Heating & Cooling
225 Stedman Street Unit 13                                              RS Legacy Corporation fka RadioShack
Lowell, MA 01851                                     609       3/9/2015 Corporation                                                    $1,381.79                                                                                        $1,381.79
Vinkim‐Heritage South
c/o Michael Cassady
Venture Investment Co., LLC
7101 Cove Pointe Place                                                   RS Legacy Corporation fka RadioShack
Prospect, KY 40059                                   610       3/10/2015 Corporation                                                   $3,125.01                                                                                        $3,125.01
THE DENVER POST
101 W COLFAX AVE                                                         RS Legacy Corporation fka RadioShack
DENVER, CO 80202                                     611       3/10/2015 Corporation                                                 $87,743.00                                                                                        $87,743.00




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                                                                                                                             Current General                                            Current 503(b)(9)
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            Creditor Name and Address              Claim No.   Claim Date                    Debtor                          Unsecured Claim                                             Admin Priority
                                                                                                                                                   Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Paxton Media Group
dba News Dispatch
PO Box 1640                                                              RS Legacy Corporation fka RadioShack
Paducah, KY 42002                                    612       3/10/2015 Corporation                                                  $4,091.33                                                                                         $4,091.33
The News Tribune
1950 South State Street                                                 RS Legacy Corporation fka RadioShack
Tacoma, WA 98405‐2860                                613       3/9/2015 Corporation                                                   $1,265.89                                                                                         $1,265.89
Peach Blossoms, LLC
c/o Metro Realty
2302 N Central Avenue
Suite 12                                                                 RS Legacy Corporation fka RadioShack
Phoenix, AZ 85004                                    614       3/10/2015 Corporation                                                      $0.00                                                                                             $0.00
Abell, Debra A
316 Jennifer Court. Apt. 102                                            RS Legacy Corporation fka RadioShack
Weatherford, TX 76086                                615       3/9/2015 Corporation                                                                      $11,692.80                                                                    $11,692.80
Plumbarama Co., Inc.
3431 Bristol Pike                                                       RS Legacy Corporation fka RadioShack
Bensalem, PA 19020                                   616       3/9/2015 Corporation                                                     $129.00                                                                                           $129.00
Ireland Tallahassee, Ltd.
David N. Stern, Esq.
Frank Weinberg & Black, P.L.
1875 Corporate Blvd., Suite 100                                          RS Legacy Corporation fka RadioShack
Boca Raton, FL 33431                                 617       3/10/2015 Corporation                                                  $9,554.10                                                                                         $9,554.10

Richardson Independent School District
Elizabeth Banda Calvo
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
500 East Border St, Suite 640                                            RS Legacy Corporation fka RadioShack
Arlington, TX 76010                                  618       2/18/2015 Corporation                                                                                        $5,437.38                                                   $5,437.38
Bracketron, Inc.
5624 Lincoln Drive                                                       RS Legacy Corporation fka RadioShack
Edina, MN 55436                                      619       3/10/2015 Corporation                                               $160,440.07                                                                                        $160,440.07
SUPEREX CANADA LIMITED
601 GORDON BAKER ROAD
TORONTO, ON M2H 3B8                                                      RS Legacy Corporation fka RadioShack
Canada                                               620       3/10/2015 Corporation                                               $275,498.00                                                                                        $275,498.00
The Patriot News
1900 Patriot Drive                                                       RS Legacy Corporation fka RadioShack
Mechanicsburg, PA 17050‐9987                         621       3/10/2015 Corporation                                                $21,861.37                                                      $0.00                              $21,861.37
Paxton Media Group
dba Peru Tribune
PO Box 1640                                                              RS Legacy Corporation fka RadioShack
Paducah, KY 42002                                    622       3/10/2015 Corporation                                                    $177.10                                                                                           $177.10

Ennis Independent School District
Elizabeth Banda Calvo
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
500 East Border St, Suite 640                                            RS Legacy Corporation fka RadioShack
Arlington, TX 76010                                  623       2/18/2015 Corporation                                                                                        $2,050.05                                                   $2,050.05




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            Creditor Name and Address              Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                    Amount

Crowley Independent School District
Elizabeth Banda Calvo
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
500 East Border St, Suite 640                                            RS Legacy Corporation fka RadioShack
Arlington, TX 76010                                  624       2/18/2015 Corporation                                                                                       $1,564.93                                                   $1,564.93
Georgia Department of Revenue
Compliance Division
ARCS ‐ Bankruptcy
1800 Century Blvd NE, Suite 9100                                         RS Legacy Corporation fka RadioShack
Atlanta , GA 30345‐3205                              625       3/10/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
Hibbing Public Utilities Commission
Kevin M Gargano
PO Box 249                                                               RS Legacy Corporation fka RadioShack
Hibbing, MN 55746                                    626       3/11/2015 Corporation                                                    $775.51                                                    $0.00                                 $775.51
Specialty Air Conditioning Services, Inc.
2830 E Pythian                                                           RS Legacy Corporation fka RadioShack
Springfield, MO 65802                                627       3/11/2015 Corporation                                                  $1,053.16                                                                                        $1,053.16
Freedom Communications, Inc DBA ‐ Orange County
Register
c/o Cyndi Eschardles/Credit Specialist
4th Floor Finance
625 N. Grand Avenue                                                      RS Legacy Corporation fka RadioShack
Santa Ana, CA 90701                                  628       3/10/2015 Corporation                                                $44,332.44                                                                                        $44,332.44
Paxton Media Group
dba Chronicle Tribune
PO Box 1640                                                              RS Legacy Corporation fka RadioShack
Paducah, KY 42002                                    629       3/10/2015 Corporation                                                    $534.02                                                                                          $534.02

Johnson County
Elizabeth Banda Calvo
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
500 East Border St, Suite 640                                            RS Legacy Corporation fka RadioShack
Arlington, TX 76010                                  630       2/18/2015 Corporation                                                                                       $1,319.39                                                   $1,319.39
APG Media of Southern Minnesota dba Faribault
Daily News
514 Central Ave                                                          RS Legacy Corporation fka RadioShack
Faribault, MN 55021                                  631       3/11/2015 Corporation                                                  $1,924.27                                                                                        $1,924.27

Mansfield Independent School District
Elizabeth Banda Calvo
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
500 East Border St, Suite 640                                            RS Legacy Corporation fka RadioShack
Arlington, TX 76010                                  632       2/18/2015 Corporation                                                                                       $3,484.12                                                   $3,484.12
Valley Fastener Group LLC
PO Box 2790                                                              RS Legacy Corporation fka RadioShack
Aurora, IL 60507                                     633       3/10/2015 Corporation                                                  $1,285.90                                                    $0.00                               $1,285.90
Paxton Media Group
dba Courier Times
PO Box 1640                                                              RS Legacy Corporation fka RadioShack
Paducah, KY 42002                                    634       3/10/2015 Corporation                                                    $414.12                                                                                          $414.12




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                                                                                                                             Current General                                           Current 503(b)(9)
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            Creditor Name and Address              Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                    Amount
City of Portland
Finance Department Sewer
PO Box 544                                                               RS Legacy Corporation fka RadioShack
Portland, ME 04112                                   635       3/11/2015 Corporation                                                     $17.67                                                                                           $17.67
Marsh Investment Corp.
2709 Ridgelake Dr., Ste 100                                              RS Legacy Corporation fka RadioShack
Metairie, LA 70002                                   636       3/11/2015 Corporation                                                $10,862.30                                                                                        $10,862.30
The Dispatch Printing Company
34 South Third St                                                       RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                   637       3/9/2015 Corporation                                                 $14,964.12                                                                                        $14,964.12
Portland Water District
225 Douglass St
PO Box 3553                                                              RS Legacy Corporation fka RadioShack
Portland, ME 04104                                   638       3/11/2015 Corporation                                                     $27.40                                                                                           $27.40
Synco Chemical Corporation
24 DaVinci Drive
PO Box 405                                                               RS Legacy Corporation fka RadioShack
Bohemia, NY 11716                                    639       3/10/2015 Corporation                                                  $5,310.00                                                    $0.00                               $5,310.00
Prince George's County, Maryland
Meyers, Rodbell & Rosenbaum, P.A.
6801 Kenilworth Ave., Ste 400                                           RS Legacy Corporation fka RadioShack
Riverdale Park, MD 20737                             640       3/9/2015 Corporation                                                                                            $0.00                                                       $0.00
Ostrow Partnership Island Plaza
8660 Burton Way, Apt. B                                                  RS Legacy Corporation fka RadioShack
Los Angeles, CA 90048                                641       3/11/2015 Corporation                                                      $0.00                                                                                            $0.00
Lieberman, Benjamin M.
31 Pleasant Road                                                        RS Legacy Corporation fka RadioShack
Plymouth Meeting, PA 19462                           642       3/9/2015 Corporation                                                       $0.00                                                                                            $0.00
The Facts
PO Box 549                                                              RS Legacy Corporation fka RadioShack
Clute, TX 77531                                      643       3/9/2015 Corporation                                                   $4,079.20                                                                                        $4,079.20
County of San Bernardino
Office of The Tax Collector
172 West Third Street                                                   RS Legacy Corporation fka RadioShack
San Bernardino, CA 92415                             644       3/3/2015 Corporation                                                 $22,107.72                               $262.25                                                  $22,369.97
WOODWARD NEWS
Attn: Lettie Chaisson
PO BOX 928                                                              RS Legacy Corporation fka RadioShack
WOODWARD, OK 73802                                   645       3/9/2015 Corporation                                                     $875.46                                                                                          $875.46
Rangeline Road Holdings LLC
100 Dorrance St, Suite 20                                               RS Legacy Corporation fka RadioShack
Providence, RI 02903                                 646       3/9/2015 Corporation                                                                          $0.00                                 $0.00                                   $0.00

City of Azle
Elizabeth Banda Calvo
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
500 East Border St, Suite 640                                            RS Legacy Corporation fka RadioShack
Arlington, TX 76010                                  647       2/18/2015 Corporation                                                                                         $661.55                                                     $661.55




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                                                                                                                             Current General                                           Current 503(b)(9)
                                                                                                                                                  Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address              Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                    Amount

Arlington Independent School District
Elizabeth Banda Calvo
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
500 East Border St, Suite 640                                            RS Legacy Corporation fka RadioShack
Arlington, TX 76010                                  648       2/18/2015 Corporation                                                                                      $10,773.84                                                  $10,773.84
Ogletree Deakins, Nash, Smoak & Stewart
PO Box 167                                                               RS Legacy Corporation fka RadioShack
Greenville, SC 29602                                 649       3/11/2015 Corporation                                                $41,875.40                                                                                        $41,875.40

Carroll Independent School District
Elizabeth Banda Calvo
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
500 East Border St, Suite 640                                            RS Legacy Corporation fka RadioShack
Arlington, TX 76010                                  650       2/18/2015 Corporation                                                                                       $4,682.71                                                   $4,682.71
Monica Phelan and John Phelan
PO Box 83                                                                RS Legacy Corporation fka RadioShack
Bryn Mawr, PA 19010                                  651       3/11/2015 Corporation                                                  $9,514.44                                                                                        $9,514.44
Paxton Media Group
dba Herald Press
PO Box 1640                                                              RS Legacy Corporation fka RadioShack
Paducah, KY 42002                                    652       3/10/2015 Corporation                                                    $147.92                                                                                          $147.92
Alvarez, Efrain
435 Paseo Encantado
Ciudad Jardin                                                            RS Legacy Corporation fka RadioShack
Canovanas, PR 00729                                  653       3/11/2015 Corporation                                                                         $0.00                                                                         $0.00
WV Radio Corporation
Attn: Peggy Snuffer
1111 Virginia St, E                                                      RS Legacy Corporation fka RadioShack
Charleston, WV 25301                                 654       3/11/2015 Corporation                                                  $3,471.40                                                                                        $3,471.40
Cable Manufacturing Technologies
280 Buchanan Field RD. Suite 1                                           RS Legacy Corporation fka RadioShack
Concord, CA 94520                                    655       3/10/2015 Corporation                                                                                                             $285.00                                 $285.00
Earthlink Business
c/o RMS
PO Box 5126                                                              RS Legacy Corporation fka RadioShack
Timonium, MD 21094                                   656       3/11/2015 Corporation                                                    $295.96                                                                                          $295.96
Wisher Enterprise Co., Ltd.
Mr. Chuy‐Nan Chio
4F‐2, No. 333, Fu‐Hsing N. Rd.
Taipei 10544                                                             RS Legacy Corporation fka RadioShack
Taiwan R.O.C.                                        657       3/11/2015 Corporation                                                $16,031.00                                                                                        $16,031.00
MARTHA'S VINEYARD TIMES
BARBARA OBERFEST, PUBLISHER
PO BOX 518                                                               RS Legacy Corporation fka RadioShack
VINEYARD HAVEN, MA 02568                             658       3/12/2015 Corporation                                                  $1,190.00                                                                                        $1,190.00
County of Spotsylvania
Spotsylvania County Treasurer's Office
PO Box 100                                                              RS Legacy Corporation fka RadioShack
Spotsylvania, VA 22553                               659       3/9/2015 Corporation                                                      $18.43                                                                                           $18.43




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                                                                                                                            Current General                                            Current 503(b)(9)
                                                                                                                                                 Current Priority    Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address             Claim No.   Claim Date                    Debtor                          Unsecured Claim                                             Admin Priority
                                                                                                                                                  Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
St. Thomas Joint Venture
c/o Marc A. Klitenic, Esquire
9515 Deereco Road, Suite 1015                                           RS Legacy Corporation fka RadioShack
Timonium, MD 21093                                  660       3/10/2015 Corporation                                                $18,534.32                                                                                         $18,534.32
Clayton County Tax Commissioner
Courthouse Annex 3, 2nd Floor
121 S. McDonough Street                                                 RS Legacy Corporation fka RadioShack
Jonesboro, GA 30236‐3651                            661       3/11/2015 Corporation                                                                      $8,430.33                                                                     $8,430.33
FORT PIERCE UTILITIES AUTHORITY
PO BOX 3191                                                            RS Legacy Corporation fka RadioShack
FORT PIERCE, FL 34948‐3191                          662       3/9/2015 Corporation                                                                          $0.00                                                                          $0.00
Brazzini, Carlos E
3716 Dresage Ln                                                         RS Legacy Corporation fka RadioShack
Flower Mound, TX 75022                              663       3/12/2015 Corporation                                                                      $2,730.78                                                                     $2,730.78
Northern Indiana Public Service Company
Attn: Revenue/Recovery
801 E. 86th Avenue                                                     RS Legacy Corporation fka RadioShack
Merrillville, IN 46410                              664       3/6/2015 Corporation                                                 $21,068.44                                                                                         $21,068.44
McGill, Suzanne M.
10500 Stoneside Trail                                                   RS Legacy Corporation fka RadioShack
Fort Worth, TX 76244‐6370                           665       3/12/2015 Corporation                                                $10,678.90           $12,475.00                                                                    $23,153.90
City of Tacoma
Dept of Public Utilities
PO Box 11007                                                            RS Legacy Corporation fka RadioShack
Tacoma , WA 98411‐0007                              666       3/10/2015 Corporation                                                  $3,214.22                                                                                         $3,214.22
Advanced Graphic Printing, Inc.
PO Box 11370                                                            RS Legacy Corporation fka RadioShack
San Juan, PR 00922‐1370                             667       3/13/2015 Corporation                                                $75,316.21                                                                                         $75,316.21
Stone, Gary
408 N. Bailey Ave                                                       RS Legacy Corporation fka RadioShack
Fort Worth, TX 76107                                668       3/13/2015 Corporation                                                $22,574.70                                                                                         $22,574.70
Paranga Wonder Property Management LLC
21682 Club Villa Terrace                                                RS Legacy Corporation fka RadioShack
Boca Raton, FL 33433                                669       3/12/2015 Corporation                                                  $5,137.00                                                                                         $5,137.00
Figueroa, Barbara Garrote
PO Box 369                                                              RS Legacy Corporation fka RadioShack
Guaynabo, PR 00970                                  670       3/13/2015 Corporation                                                                         $0.00                                                                          $0.00
ElectraLink, Inc.
Attn: Nadine Jenkins
21755 Interstate 45
Building #10                                                            RS Legacy Corporation fka RadioShack
Spring , TX 77388                                   671       3/13/2015 Corporation                                                  $6,551.58                                                 $6,300.56                              $12,852.14
TNP SRT Portfolio I, LLC
Ronald K. Brown Jr., Esq.
Law Offices of Ronald K. Brown, Jr., APC
901 Dove Street, Suite 120                                              RS Legacy Corporation fka RadioShack
Newport Beach, CA 92660                             672       3/13/2015 Corporation                                                      $0.00                                                                                             $0.00
Legacy Communications, LLC dba GI Family Radio,
KRGY‐FM
3205 West North Front Street                                            RS Legacy Corporation fka RadioShack
Grand Island , NE 68803                             673       3/13/2015 Corporation                                                    $391.00                                                                                           $391.00




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                                                                                                                        Current General                                            Current 503(b)(9)
                                                                                                                                             Current Priority    Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address         Claim No.   Claim Date                    Debtor                          Unsecured Claim                                             Admin Priority
                                                                                                                                              Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
Northwest Park Municipal Utility District
Young & Brooks, Attorneys At Law
10000 Memorial Drive, Suite 260                                     RS Legacy Corporation fka RadioShack
Houston, TX 77024                               674       3/13/2015 Corporation                                                                                          $527.00                                                     $527.00
Johns, Delores A.
PO Box 2385                                                         RS Legacy Corporation fka RadioShack
Berkeley, CA 94702                              675       3/13/2015 Corporation                                                     $54.50                                                                                            $54.50
Pruitt's Air Conditioning & Heating, Inc
PO Box 4192                                                         RS Legacy Corporation fka RadioShack
Monroe, LA 71211‐4192                           676       3/13/2015 Corporation                                                    $247.50                                                                                           $247.50
Lambert, June E
5625 Stone Meadow Lane                                              RS Legacy Corporation fka RadioShack
Fort Worth, TX 76179                            677       3/13/2015 Corporation                                                  $2,498.33          $12,475.00                                                                    $14,973.33
Maldonado, Monica Vargas
Urb. Paseo del Prade 74 Vereda                                      RS Legacy Corporation fka RadioShack
Carolina, PR 00987                              678       3/13/2015 Corporation                                                                         $0.00                                                                          $0.00
Cordero Rivera, Luis E.
201 Villas del Atlantico                                            RS Legacy Corporation fka RadioShack
Aguada, PR 00602                                679       3/13/2015 Corporation                                                      $0.00                                                                                             $0.00
Rivera, Jimmy Oquendo
Urb Marina Bahia
RB 14 Plaza 4                                                       RS Legacy Corporation fka RadioShack
Catano, PR 00962                                680       3/13/2015 Corporation                                                                      $8,596.15                                                                     $8,596.15
Washington, Paris
451 Market St. 2nd Fl.                                              RS Legacy Corporation fka RadioShack
Paterson, NJ 07501                              681       3/16/2015 Corporation                                                     $60.00                                                                                            $60.00
Claims Recovery Group LLC as Transferee for
Sylvanne Sims
C/O CRG Financial LLC
Attn: General Counsel
100 Union Avenue, Suite 240                                         RS Legacy Corporation fka RadioShack
Cresskill, NJ 07626                             682       3/16/2015 Corporation                                                      $0.00           $5,171.60             $0.00               $0.00             $0.00             $5,171.60
Vazquez Rivera, Rafael L
Sierra Bayamon
Calle 35A Blg. 32A # 6                                              RS Legacy Corporation fka RadioShack
Bayamon, PR 00961                               683       3/13/2015 Corporation                                                                         $0.00                                                                          $0.00
Tred Avon LLC
Colliers International
8601 Robert Fulton Drive Suite 220                                  RS Legacy Corporation fka RadioShack
Columbia, MD 21046                              684       3/16/2015 Corporation                                                                         $0.00                                                                          $0.00
Hollman Property Company
315 Meigs Road Ste A654                                             RS Legacy Corporation fka RadioShack
Santa Barbara, CA 93109                         685       3/16/2015 Corporation                                                  $5,846.90                                                                                         $5,846.90
Rowe Plumbing and Drain
1505 NW 95th Circle                                                 RS Legacy Corporation fka RadioShack
Vancouver, WA 98665                             686       3/16/2015 Corporation                                                    $216.80                                                                                           $216.80
Sanchez Carrasquillo, Mayra I.
Urb. Villa Andalucia C16 Calle Llanez                               RS Legacy Corporation fka RadioShack
San Juan, PR 00926                              687       3/13/2015 Corporation                                                  $8,000.00                                                                                         $8,000.00
Gonzalez Arroyo, William
Urb. Paseo del Prado 74 Vereda                                      RS Legacy Corporation fka RadioShack
Carolina, PR 00987                              688       3/13/2015 Corporation                                                                         $0.00                                                                          $0.00



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                                                                                                                                Current General                                           Current 503(b)(9)
                                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                 Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                    Amount
Huang, Min Wen
56 Hillburn Lane                                                            RS Legacy Corporation fka RadioShack
North Barrington, IL 60010                              689       3/16/2015 Corporation                                                  $4,600.00                                                                                        $4,600.00
CITY OF AUBURNDALE
PO BOX 186                                                                  RS Legacy Corporation fka RadioShack
AUBURNDALE, FL 33823                                    690       3/16/2015 Corporation                                                                                                             $301.36                                 $301.36
Freilinger Electronics, Inc.
218 East Main Street                                                        RS Legacy Corporation fka RadioShack
Silverton , OR 97381                                    691       3/16/2015 Corporation                                                $22,166.67                                                                                        $22,166.67
Sentinel & Enterprise ‐ Media News Group
PO Box 65230                                                                RS Legacy Corporation fka RadioShack
Colorado Spring , CO 80962‐5230                         692       3/12/2015 Corporation                                                      $0.00                                                                                            $0.00
Vante Inc
1733 SHEEPSHEAD BAY ROAD, SUITE 32                                          RS Legacy Corporation fka RadioShack
BROOKLYN , NY 11235                                     693       3/13/2015 Corporation                                               $112,160.00                                                                                       $112,160.00
City of Traverse City
C/O CITY TREASURER
400 BOARDMAN AVE                                                            RS Legacy Corporation fka RadioShack
TRAVERSE CITY, MI 49684                                 694       3/12/2015 Corporation                                                                         $0.00                                                                         $0.00
DeLisle, Joseph Anthony
34120 Victor Drive                                                          RS Legacy Corporation fka RadioShack
Eastlake, OH 44095‐2111                                 695       3/16/2015 Corporation                                                                                                              $60.00                                  $60.00
Diversified Building Company, LLC
c/o Diversified Realty Corp.
PO Box 1200                                                                 RS Legacy Corporation fka RadioShack
Jericho, NY 11753                                       696       3/12/2015 Corporation                                                  $3,096.59                                                                                        $3,096.59
BATTERIES PLUS BULBS
5825 CAMP BOWIE BLVD.                                                       RS Legacy Corporation fka RadioShack
FORT WORTH, TX 76107                                    697       3/12/2015 Corporation                                                  $1,453.58                                                                                        $1,453.58
APS ASSOCIATES, LLC
3859 NAZARETH PIKE, SUITE 201                                               RS Legacy Corporation fka RadioShack
BETHLEHEM, PA 18020                                     698       3/16/2015 Corporation                                                  $9,895.84                                                                                        $9,895.84
Cumulus Media ‐Columbia, MO
503 Old Hwy 63 N                                                            RS Legacy Corporation fka RadioShack
Columbia, MO 65201                                      699       3/12/2015 Corporation                                                    $973.25                                                                                          $973.25
Liquidity Solutions Inc. as Transferee for Mattews,
Leslie
1 University Plz
Ste 508                                                                     RS Legacy Corporation fka RadioShack
Hackensack, NJ 07601‐6203                               700       3/12/2015 Corporation                                                                         $0.00                                 $0.00                                   $0.00
Patrick, LA‐vetra
4324 Carol Ave                                                              RS Legacy Corporation fka RadioShack
Fort Worth, TX 76105‐4226                               701       3/12/2015 Corporation                                                  $9,815.22                                                                                        $9,815.22
Jive Software, Inc.
Attn: Accounts Receivable
915 SW Stark Street, Suite 200                                              RS Legacy Corporation fka RadioShack
Portland, OR 97205                                      702       3/12/2015 Corporation                                               $631,981.17                                                                                       $631,981.17




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                                                                                                                                  Current General                                           Current 503(b)(9)
                                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                   Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                      Amount                                                    Amount
CREFII Silver City, LLC
Karen Lee Turner, Esquire
Eckert Seamans Cherin & Mellot, LLC
Two Libery Place
50 South 16th Street, 22nd Fl                                                 RS Legacy Corporation fka RadioShack
Philadelphia, PA 19102                                    703       3/12/2015 Corporation                                                $11,604.56                                                                                        $11,604.56
Intercall
Attn: Melody Lohr
11808 Miracle Hills Dr Fl 3                                                   RS Legacy Corporation fka RadioShack
Omaha, NE 68154                                           704       3/16/2015 Corporation                                                $33,074.97                                                                                        $33,074.97
Victory Sales Engineering Co.
Michael Lee
10F‐4 No.33, Sec., 1, Minsheng Rd.
Banqiao Dist.
New Taipei City                                                               RS Legacy Corporation fka RadioShack
Taiwan R.O.C.                                             705       3/12/2015 Corporation                                                $53,159.42                                                                                        $53,159.42
KNOXVILLE UTILITIES BOARD
PO BOX 59017                                                                  RS Legacy Corporation fka RadioShack
KNOXVILLE, TN 37950‐9017                                  706       3/16/2015 Corporation                                                  $3,704.07                                                                                        $3,704.07
Rip Griffin Truck Servicing Center, Inc. Successor in
int. to Sublett Corners, L.P.
c/o Joseph F. Postnikoff
Goodrich Postnikoff & Associates, LLP
801 Cherry Street
Suite 1010                                                                    RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                                      707       3/16/2015 Corporation                                                $31,921.71               $0.00                                                                    $31,921.71
United Illuminating Company
c/o Jim Piergrossi ‐ OPIC
180 Marsh Hill Road                                                          RS Legacy Corporation fka RadioShack
Orange, CT 06477                                          708       3/9/2015 Corporation                                                     $775.18                                                                                          $775.18
UNITED ILLUMINATING
Attn: J. Piergrossi OP 1‐C
100 Marsh Hill Road                                                          RS Legacy Corporation fka RadioShack
Orange, CT 06477‐3628                                     709       3/9/2015 Corporation                                                     $893.56                                                                                          $893.56
UNITED ILLUMINATING
Attn: J. Piergrossi OP 1‐C
100 Marsh Hill Road                                                          RS Legacy Corporation fka RadioShack
Orange, CT 06477‐3628                                     710       3/9/2015 Corporation                                                     $966.04                                                                                          $966.04
UNITED ILLUMINATING
J. Piergrossi OP 1‐C
100 Marsh Hill Road                                                          RS Legacy Corporation fka RadioShack
Orange, CT 06477‐3628                                     711       3/9/2015 Corporation                                                   $1,430.44                                                                                        $1,430.44
UNITED ILLUMINATING
J. Piergrossi OP 1‐C
100 Marsh Hill Road                                                          RS Legacy Corporation fka RadioShack
Orange, CT 06477‐3628                                     712       3/9/2015 Corporation                                                     $321.14                                                                                          $321.14
UNITED ILLUMINATING
J. Piergrossi OP 1‐C
100 Marsh Hill Road                                                          RS Legacy Corporation fka RadioShack
Orange, CT 06477‐3628                                     713       3/9/2015 Corporation                                                     $603.34                                                                                          $603.34




Kroll Restructuring Administration LLC                                                                               Page 59 of 1344
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                                                                                                                               Current General                                            Current 503(b)(9)
                                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                Claim No.   Claim Date                      Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
Advance Publications Inc. d/b/a Staten Island
Advance
950 Fingerboard Road                                                       RS Legacy Corporation fka RadioShack
Staten Island, NY 10305                                714       3/16/2015 Corporation                                                 $13,115.44                                                                                        $13,115.44
Comfortable Electronic Co., Ltd.
3rd FL., No 142, Li‐Teh Street
Chung‐ho Dist.,
, New Tapei City 235                                                       RS Legacy Global Sourcing, Inc. fka RadioShack
Taiwan                                                 715       3/12/2015 Global Sourcing, Inc.                                                                                                  $5,680.00                               $5,680.00
Centro Independence LLC
David M. Grogan of Shumaker
Loop & Kendrick, LLP
128 S. Tryon St., Suite 1800                                               RS Legacy Corporation fka RadioShack
Charlotte, NC 28202                                    716       3/12/2015 Corporation                                                 $44,489.62                                                                                        $44,489.62
Wico Mico County MD
Wico Mico County Finance
PO Box 4036                                                                RS Legacy Corporation fka RadioShack
Salisbury, MD 21803                                    717       3/12/2015 Corporation                                                                      $5,020.50                                                                     $5,020.50
Silva, Jorge
12 W Judith Drive                                                          RS Legacy Corporation fka RadioShack
Hammonton, NJ 08037                                    718       3/16/2015 Corporation                                                      $60.00                                                                                           $60.00
CENTER MORICHES SQUARE LLC
c/o DAMIANOS REALTY GROUP LLC
222 MIDDLE COUNTRY ROAD
SUITE 300                                                                  RS Legacy Corporation fka RadioShack
SMITHTOWN, NY 11787                                    719       3/16/2015 Corporation                                                       $0.00                                                                                            $0.00
Precision Htg & Pro Refrigeration
12004 S. Central Ave                                                       RS Legacy Corporation fka RadioShack
Alsip, IL 60803                                        720       3/16/2015 Corporation                                                   $1,774.73                                                                                        $1,774.73
Dean's Heating & Air
110 South 16th Street                                                      RS Legacy Corporation fka RadioShack
Fargo, ND 58103                                        721       3/16/2015 Corporation                                                     $793.75                                                                                          $793.75
Procision Heating Cooling Ref DBA Precision HTG &
ProRef
12004 S. Central Ave.                                                      RS Legacy Corporation fka RadioShack
Alsip, IL 60803                                        722       3/16/2015 Corporation                                                   $7,828.03                                                $3,318.77                              $11,146.80
PacifiCorp dba Rocky Mountain Power & Pacific
Power
PO Box 25308                                                              RS Legacy Corporation fka RadioShack
Salt Lake City, UT 84125                               723       3/9/2015 Corporation                                                  $24,686.08                                                                                        $24,686.08
United Air Conditioning, Refrigeration, Plumbing &
Heating, Inc.
299 Washington Street                                                      RS Legacy Corporation fka RadioShack
Newburgh, NY 12550                                     724       3/16/2015 Corporation                                                   $9,515.29                                                                                        $9,515.29
Hoff HTG & Air Conditioning
1520 Kemmar Ct.                                                            RS Legacy Corporation fka RadioShack
O'Fallon, MO 63366                                     725       3/12/2015 Corporation                                                     $405.00                                                                                          $405.00
GH Pud # 1
PO Box 510                                                                RS Legacy Corporation fka RadioShack
Aberdeen, WA 98520                                     726       3/6/2015 Corporation                                                    $1,660.25                                                                                        $1,660.25




Kroll Restructuring Administration LLC                                                                            Page 60 of 1344
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                                                                                                                         Current General                                            Current 503(b)(9)
                                                                                                                                              Current Priority    Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address          Claim No.   Claim Date                    Debtor                          Unsecured Claim                                             Admin Priority
                                                                                                                                               Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
INDIAN RIVER COUNTY TAX COLLECTOR
ATTN: BANKRUPTCY DEPARTMENT
PO BOX 1509                                                          RS Legacy Corporation fka RadioShack
VERO BEACH, FL 32961‐1509                        727       3/10/2015 Corporation                                                                                            $0.00                                                       $0.00
UNITED ILLUMINATING
J. Piergrossi OP 1‐C
100 Marsh Hill Road                                                 RS Legacy Corporation fka RadioShack
Orange, CT 06477‐3628                            728       3/9/2015 Corporation                                                     $493.55                                                                                           $493.55
Porter, Jojuane
3712 Burgee Court                                                    RS Legacy Corporation fka RadioShack
Fort Worth, TX 76244                             729       3/16/2015 Corporation                                                $12,140.40           $12,475.00                                                                    $24,615.40
MidAmerican Energy Co
PO Box 4350 Credit                                                   RS Legacy Corporation fka RadioShack
Davenport, IA 52808‐4350                         730       3/16/2015 Corporation                                                  $8,993.53                                                                                         $8,993.53
Harford County, Maryland
Department of Revenue Collections
220 S. Main Street, 1st Floor                                        RS Legacy Corporation fka RadioShack
Bel Air, MD 21014                                731       3/16/2015 Corporation                                                                                          $906.59                                                     $906.59
Folsom Central Holdings, LLC
c/o Parkinson Phinney
400 Capitol Mall, Suite 2560                                         RS Legacy Corporation fka RadioShack
Sacramento, CA 95814                             732       3/16/2015 Corporation                                                $73,788.23                                                                                         $73,788.23
Chin Nan Precision Electronics Co., Ltd.
No. 33 Chung‐sham 2nd St.
Tainan                                                               RS Legacy Corporation fka RadioShack
Taiwan                                           733       3/16/2015 Corporation                                               $149,319.60                                                                                        $149,319.60
United Illuminating
Attn: J. Piergrossi OP 1‐C
100 Marsh Hill Road                                                 RS Legacy Corporation fka RadioShack
Orange, CT 06477‐3628                            734       3/9/2015 Corporation                                                   $1,024.05                                                                                         $1,024.05
Bennington Banner ‐ Media News Group
PO Box 65230                                                         RS Legacy Corporation fka RadioShack
Colorado Springs, CO 80962‐5230                  735       3/12/2015 Corporation                                                  $1,274.70                                                                                         $1,274.70
Professional Plumbing Inc
PO Box 57                                                            RS Legacy Corporation fka RadioShack
Auburn , ME 04212                                736       3/12/2015 Corporation                                                  $8,231.96                                                                                         $8,231.96
Prince George's County, Maryland
c/o Meyers, Rodbell & Rosenbaum, P.A.
6801 Kenilworth Avenue, Suite 400                                   RS Legacy Corporation fka RadioShack
Riverdale, MD 20737‐1385                         737       3/9/2015 Corporation                                                                                             $0.00                                                       $0.00
Sierra Liquidity Fund, LLC as Transferee for
Professional Plumbing, Inc.
19772 MacArthur Blvd
Suite 200                                                            RS Legacy Corporation fka RadioShack
Irvine, CA 92612                                 738       3/12/2015 Corporation                                                      $0.00               $0.00             $0.00           $1,685.75             $0.00             $1,685.75
UNITED ILLUMINATING
J. Piergrossi OP 1‐C
100 Marsh Hill Road                                                 RS Legacy Corporation fka RadioShack
Orange, CT 06477‐3628                            739       3/9/2015 Corporation                                                   $1,366.66                                                                                         $1,366.66
Sea‐Sal Salem LLC (Landlord for 3728)
5050 1st Ave S, Suite 102                                            RS Legacy Corporation fka RadioShack
Seattle, WA 98134                                740       3/12/2015 Corporation                                                  $4,500.00                                                                                         $4,500.00



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                                                                                                                                                  Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address              Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                    Amount
The Shin Family Trust
C/O Alexandra Smith
61 Annapolis Terrace                                                     RS Legacy Corporation fka RadioShack
San Francisco , CA 94118                             741       3/12/2015 Corporation                                                  $4,008.20                                                                                        $4,008.20
El Paso Times ‐ Media News Group
PO Box 65230                                                             RS Legacy Corporation fka RadioShack
Colorado Springs, CO 80962‐5230                      742       3/12/2015 Corporation                                                  $6,192.48                                                                                        $6,192.48
Bassett, Susan D
1700 Long Ave                                                            RS Legacy Corporation fka RadioShack
Fort Worth, TX 76114                                 743       3/12/2015 Corporation                                                                     $6,402.00                                                                     $6,402.00
Ridgeway Plaza LLC
PO Box 990                                                               RS Legacy Corporation fka RadioShack
Port Jefferson Station, NY 11776                     744       3/12/2015 Corporation                                                                                           $0.00                                                       $0.00
The Berkshire Eagle ‐ Media New Group
Media News Group
PO Box 65230                                                             RS Legacy Corporation fka RadioShack
Colorado Springs, CO 80962‐5230                      745       3/12/2015 Corporation                                                  $1,586.00                                                                                        $1,586.00
Hoff HTG + Air Conditioning
1520 Kemmar Ct.                                                          RS Legacy Corporation fka RadioShack
O'Fallon, MO 63366                                   746       3/12/2015 Corporation                                                  $3,545.00                                                                                        $3,545.00
United Electric Cooperative Services, Inc. d/b/a
United Cooperative Services
Randyl Meigs, McDonald Sanders, P.C.
777 Main St., Suite 1300                                                 RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                                 747       3/11/2015 Corporation                                                  $1,345.92                                                                                        $1,345.92
LoJack Supply Chain Integrity
1702 N. Collins Blvd., Suite 200                                         RS Legacy Corporation fka RadioShack
Richardson, TX 75080                                 748       3/10/2015 Corporation                                                $46,740.00                                                                                        $46,740.00
UNITED ILLUMINATING
J. Piergrossi OP 1‐C
100 Marsh Hill Road                                                     RS Legacy Corporation fka RadioShack
Orange, CT 06477‐3628                                749       3/9/2015 Corporation                                                   $1,076.02                                                                                        $1,076.02
El Paso County Treasurer
PO Box 2018                                                              RS Legacy Corporation fka RadioShack
Colorado Springs, CO 80901                           750       3/10/2015 Corporation                                                                     $5,806.64             $0.00                                                   $5,806.64
United Illuminating
J. Piergrossi OP 1‐C
100 Marsh Hill Road                                                     RS Legacy Corporation fka RadioShack
Orange, CT 06477‐3628                                751       3/9/2015 Corporation                                                     $889.77                                                                                          $889.77
Marrero Rios, Yesenia M
Box 313                                                                  RS Legacy Corporation fka RadioShack
Dorado , PR 00646                                    752       3/16/2015 Corporation                                                                         $0.00                                                                         $0.00
UNITED ILLUMINATING
J. Piergrossi OP 1‐C
100 Marsh Hill Road                                                     RS Legacy Corporation fka RadioShack
Orange, CT 06477‐3628                                753       3/9/2015 Corporation                                                      $36.98                                                                                           $36.98
Cruz Matos, Lourder A.
Calle/3 G‐27
Urb. Villar de San Agustin                                               RS Legacy Corporation fka RadioShack
Bayamon, PR 00959                                    754       3/16/2015 Corporation                                                                         $0.00                                                                         $0.00




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                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                    Amount

Dallas County Utility & Reclamation District
Eboney Cobb
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
500 East Border St, Suite 640
Arlington, TX 76010                                  755       3/17/2015 SCK, Inc.                                                                                             $0.00                                                       $0.00
Roto Rooter
101 N. Cannon Ave                                                        RS Legacy Corporation fka RadioShack
Hagerstown, MD 21740                                 756       3/17/2015 Corporation                                                    $330.42                                                                                          $330.42
Shenzhen Hubsan Technology Co., Ltd.
Software Industry Base
1 C Block 13 Layers
Nanshan District, University Road
Shenzhen, Guangdong                                                      RS Legacy Corporation fka RadioShack
China                                                757       3/16/2015 Corporation                                               $144,225.00                                              $144,000.00                              $288,225.00
Montañez Concepcion, Catherine
Alturas de Interamericana Calle 11‐p‐19                                  RS Legacy Corporation fka RadioShack
Trujillo Alto, PR 00976                              758       3/17/2015 Corporation                                                                                                                                                       $0.00
Dennis John Carver dba So Cal Jetting
PO Box 1125                                                              RS Legacy Corporation fka RadioShack
Murrieta, CA 92564                                   759       3/17/2015 Corporation                                                  $3,050.00                                                                                        $3,050.00
CITY OF DURHAM
101 City Hall Plaza
Suite 1100                                                               RS Legacy Corporation fka RadioShack
DURHAM, NC 27701                                     760       3/17/2015 Corporation                                                  $1,421.30                                                                                        $1,421.30
Dean, Lori
2415 N. Sugar Ridge Rd                                                   RS Legacy Corporation fka RadioShack
Laplace, LA 70068                                    761       3/18/2015 Corporation                                                     $60.00                                                                                           $60.00
Barrett/Airworks Service Company
10060 Railroad Drive                                                     RS Legacy Corporation fka RadioShack
El Paso, TX 79924                                    762       3/17/2015 Corporation                                                  $3,381.53                                $0.00                                                   $3,381.53

Richardson Independent School District
Eboney Cobb
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
500 East Border St, Suite 640
Arlington, TX 76010                                  763       3/17/2015 SCK, Inc.                                                                                             $0.00                                                       $0.00
Larimer County Treasurer
Attn: Vicky Glass
PO Box 1250                                                              RS Legacy Corporation fka RadioShack
Ft Collins, CO 80522                                 764       3/17/2015 Corporation                                                                     $1,971.19                                                                     $1,971.19
PRAIRIE PRIDE COOPERATIVE
1100 E. MAIN                                                             RS Legacy Corporation fka RadioShack
MARSHALL, MN 56258                                   765       3/18/2015 Corporation                                                    $331.77                                                  $196.20                                 $527.97

Utilities Commission, City of New Smyrna Beach
PO Box 100                                                               RS Legacy Corporation fka RadioShack
New Smyrna Beach, FL 32170                           766       3/17/2015 Corporation                                                    $335.00                                                  $223.91                                 $558.91
Ortiz, Giselle
Po Box 3360                                                              RS Legacy Corporation fka RadioShack
Bayamon, PR 00958                                    767       3/17/2015 Corporation                                                                         $0.00                                                                         $0.00




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                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                    Amount
Florida Keys Electric Cooperative (FKEC)
Attn: TS Patterson
PO Box 377                                                                 RS Legacy Corporation fka RadioShack
Tavernier, FL 33070                                    768       3/18/2015 Corporation                                                    $696.00                            $1,515.00                                                   $2,211.00

BH Media, Inc. dba Greensboro News & Record, Inc.
200 E. Market St.                                                          RS Legacy Corporation fka RadioShack
Greensboro, NC 22401                                   769       3/18/2015 Corporation                                                  $4,641.78                                                                                        $4,641.78
McCreery, Wendy
2110 Warnford Place                                                        RS Legacy Corporation fka RadioShack
Arlington , TX 76015                                   770       3/17/2015 Corporation                                                    $120.00                                                                                          $120.00
Core Champaign, LLC
PO BOX 1245                                                                RS Legacy Corporation fka RadioShack
NORTHBROOK, IL 60065‐1243                              771       3/17/2015 Corporation                                                                                           $0.00                                                       $0.00
No Sweat Air Conditioning, Inc.
73‐4576 Mamalahoa Hwy.                                                     RS Legacy Corporation fka RadioShack
Kailua Kona, HI 96740                                  772       3/17/2015 Corporation                                                    $466.66              $0.00                                                                       $466.66
Marietta Daily Journal, Cherokee Tribune, Neighbor
Newspapers
PO Box 449                                                                 RS Legacy Corporation fka RadioShack
Marietta, GA 30061                                     773       3/17/2015 Corporation                                                    $665.45                                                $1,405.04                               $2,070.49
Sugarbush Properties‐1, LLC., c/o Reliable
Properties
6399 Wilshire Blvd., Suite 604                                             RS Legacy Corporation fka RadioShack
Los Angeles, CA 90048                                  774       3/17/2015 Corporation                                                  $5,547.13                                                                                        $5,547.13
View Newspapers
Attn: Dale Phillips
PO Box 220                                                                 RS Legacy Corporation fka RadioShack
Lapeer, MI 48446                                       775       3/17/2015 Corporation                                                    $967.20                                                                                          $967.20
Yiyang Corun Battery Co., LTD
2801 Network Blvd, Ste 501                                                 RS Legacy Corporation fka RadioShack
Frisco, TX 75034                                       776       3/18/2015 Corporation                                               $386,357.80                                                $47,249.60                             $433,607.40
City of Fort Worth
Chris Mosley
1000 Throckmorton                                                          RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                                   777       3/18/2015 Corporation                                                     $40.00                                                                                           $40.00
City of Fort Worth
Chris Mosley
1000 Throckmorton                                                          RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                                   778       3/18/2015 Corporation                                                     $40.00                                                                                           $40.00
KCPL Greater Missouri Operations
PO Box 11739                                                               RS Legacy Corporation fka RadioShack
Kansas City , MO 64138                                 779       3/18/2015 Corporation                                                  $6,287.49                                                                                        $6,287.49
Hutchinson, Marilyn N.
1735 Arlington Avenue                                                      RS Legacy Corporation fka RadioShack
Columbus, OH 43212                                     780       3/18/2015 Corporation                                                  $8,332.98                                                                                        $8,332.98

West Lebanon Realty, LLC
c/o Steven Weiss, Shatz Schwartz and Fentin, P.C.
1441 Main St., Suite 1100                                                  RS Legacy Corporation fka RadioShack
Springfield, MA 01103                                  781       3/18/2015 Corporation                                                  $4,057.09                                                                                        $4,057.09




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                          Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
DUN & BRADSTREET, AB
RECEIVABLE MANAGEMENT SERVICES ("RMS")
PO BOX 361345                                                  RS Legacy Corporation fka RadioShack
COLUMBUS, OH 43256‐1345                    782       3/18/2015 Corporation                                                      $0.00               $0.00                                                                         $0.00
Modern Electronics, Inc.
614 Fort Riley Blvd                                            RS Legacy Corporation fka RadioShack
Manhattan, KS 66502                        783       3/18/2015 Corporation                                                  $1,595.46                                                                                         $1,595.46
Venture B.G. LLC
c/o Irving Walker, Esq.
Cole Schotz P.C.
300 E. Lombard Street, Ste 2000                                RS Legacy Corporation fka RadioShack
Baltimore, MD 21202                        784       3/18/2015 Corporation                                                $64,765.06                                                                                         $64,765.06
Axper Inc.
1991 Boul. Perigny
Suite 105
Chambly, QC J3L4C3                                             RS Legacy Corporation fka RadioShack
Canada                                     785       3/18/2015 Corporation                                                $17,250.00                                                                                         $17,250.00
Sanchez Gomez, Juan
Calle Azucena E‐7 Caribe Gardens                               RS Legacy Corporation fka RadioShack
Caguas, PR 00725                           786       3/17/2015 Corporation                                                                                                                                                        $0.00
Santiago, Idelisa Lopez
32 Plaza Mozaico
Hacienda San Jose                                              RS Legacy Corporation fka RadioShack
Cagus, PR 00727                            787       3/17/2015 Corporation                                                                     $11,000.00                                                                    $11,000.00
Zapata, Lizmarie Silva
urb. Marina Bahla Rh3 ca16 aquamarina                          RS Legacy Corporation fka RadioShack
Catano, PR 00962                           788       3/17/2015 Corporation                                                                          $0.00                                                                         $0.00
Fermaintt, Andy Medina
1696 Paseo Dund
urb. Levittown                                                 RS Legacy Corporation fka RadioShack
Toa Baia, PR 00949                         789       3/17/2015 Corporation                                                                          $0.00                                                                         $0.00
Acton Mechanical
PO Box 19065                                                   RS Legacy Corporation fka RadioShack
Amarillo, TX 79114                         790       3/18/2015 Corporation                                                    $608.91                                                     $0.00                                 $608.91
Kadakia, Swetal
1 Currytown Lane                                               RS Legacy Corporation fka RadioShack
Freehold, NJ 07728                         791       3/18/2015 Corporation                                                                        $60.00                                                                         $60.00
NPG Newspapers, Inc.
PO Box 29                                                      RS Legacy Corporation fka RadioShack
St. Joseph, MO 64502                       792       3/18/2015 Corporation                                                    $308.61                                                                                           $308.61
Summit Electric Supply
Att: Debbie Clarkson
2900 Stanford NE                                               RS Legacy Corporation fka RadioShack
Albuquerque, NM 87107                      793       3/17/2015 Corporation                                                    $278.65                                                   $278.65                                 $557.30
Clarke County Tax Commissioners Office
PO Box 1768                                                    RS Legacy Corporation fka RadioShack
Athens, GA 30603                           794       3/17/2015 Corporation                                                                      $5,839.96                                                                     $5,839.96
City of Fort Worth
Chris Mosley
1000 Throckmorton                                              RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                       795       3/18/2015 Corporation                                                    $100.00                                                                                           $100.00




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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Deming, Kelley A.
807 SE 63rd Dr.                                                RS Legacy Corporation fka RadioShack
Hillsboro, OR 97123                        796       3/18/2015 Corporation                                                     $120.00                                                                                          $120.00
The Whistler Group, Inc.
Chris W. Sooter                                                RS Legacy Global Sourcing Limited Partnership
PO Box 1760                                                    fka RadioShack Global Sourcing Limited
Bentonville, AR 72712                      797       3/18/2015 Partnership                                                       $0.00                                                                                            $0.00
Perez Ruiz, Yarilette
Urb. Factor 1 Calle 5 Casa 686                                 RS Legacy Corporation fka RadioShack
Manati, PR 00674                           798       3/18/2015 Corporation                                                                          $0.00                                                                         $0.00
Sierra Martínez, Alexander
Cond Torre Vista Apt 551
Ave Trio Vega Sajeño                                           RS Legacy Corporation fka RadioShack
Vega Beja, PR 00693                        799       3/18/2015 Corporation                                                                          $0.00                                                                         $0.00
Pérez Vázquez, Hyan
Urb. Luchetti V. Pozo #37                                      RS Legacy Corporation fka RadioShack
Manati, PR 00674                           800       3/18/2015 Corporation                                                                          $0.00                                                                         $0.00
McKenna Long & Aldridge LLP
Bryan E. Bates
303 Peachtree Street, N.E., Suite 5300                         RS Legacy Corporation fka RadioShack
Atlanta, GA 30308                          801       3/18/2015 Corporation                                                $123,203.84                                                                                       $123,203.84
BH Media/ Winston Salem Journal
418 N. Marshall Street                                         RS Legacy Corporation fka RadioShack
Winston‐Salem, NC 27101                    802       3/18/2015 Corporation                                                   $4,256.00                                                                                        $4,256.00
Cintas Fire
825 W. Sandy Lake Rd.
Suite 100                                                      RS Legacy Corporation fka RadioShack
Coppell, TX 75019                          803       3/18/2015 Corporation                                                     $606.54                                                                                          $606.54
Bermudez, Josue Vaello
1536 Ave Los Astros
Golden Hill                                                    RS Legacy Corporation fka RadioShack
Dorado, PR 00646                           804       3/18/2015 Corporation                                                                          $0.00                                                                         $0.00
Nyko Technologies Inc
1990 Westwood Blvd. # 300                                      RS Legacy Corporation fka RadioShack
Los Angeles, CA 90025                      805       3/18/2015 Corporation                                                 $34,249.00                                                                                        $34,249.00
Bytech NY Inc.
2585 West 13th Street                                          RS Legacy Corporation fka RadioShack
Brooklyn, NY 11223                         806       3/18/2015 Corporation                                                 $47,040.15               $0.00                                 $0.00                              $47,040.15
GEJ High Point LLC
c/o Juster Development Co
120 White Plains Rd #110                                       RS Legacy Corporation fka RadioShack
Tarrytown, NY 10591                        807       3/18/2015 Corporation                                                   $1,714.29                                                                                        $1,714.29
Colon, Cheymaries Rivera
HCO Box 6630                                                   RS Legacy Corporation fka RadioShack
Ciales, PR 00638                           808       3/18/2015 Corporation                                                                          $0.00                                                                         $0.00
C. Stewart, Maria Del Carmen
541 Panay Way Drive                                            RS Legacy Corporation fka RadioShack
Fort Worth, TX 76108                       809       3/18/2015 Corporation                                                 $13,433.00                                                                                        $13,433.00
Maldonado Castello, José R.
Bo Mogote
27 Ricardo Marti                                               RS Legacy Corporation fka RadioShack
Cayey, PR 00736‐3121                       810       3/17/2015 Corporation                                                                          $0.00                                                                         $0.00



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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                    Amount
Hilderbran, Harvey Ray
Robert N. Ray, Esq.
7272 Wurzbach Road, Suite 1401                                 RS Legacy Corporation fka RadioShack
San Antonio, TX 78240                      811       3/17/2015 Corporation                                                  $6,023.35                                                                                        $6,023.35
Nieves, Tania N.
Vista del Morro
Calle Brazil L5                                                RS Legacy Corporation fka RadioShack
Cataño, PR 00962                           812       3/17/2015 Corporation                                                                         $0.00                                                                         $0.00
Cruz González, Andrés F.
PO Box 529                                                     RS Legacy Corporation fka RadioShack
Corozal, PR 00783                          813       3/17/2015 Corporation                                                                         $0.00                                                                         $0.00
Pagan, Sharon
RR5 Box 8583                                                   RS Legacy Corporation fka RadioShack
Toa Alta, PR 00953                         814       3/17/2015 Corporation                                                                         $0.00                                                                         $0.00
Alpha Wireless Inc 22N120 22N121
731 W. Michigan Ave                                            RS Legacy Corporation fka RadioShack
Saline, MI 48176                           815       3/17/2015 Corporation                                                                                           $0.00               $0.00                                   $0.00
Pantoja Córdova, Carlos E.
Calle Júpiter #48 Barriada Sundin                              RS Legacy Corporation fka RadioShack
Vega Baja, PR 00693                        816       3/17/2015 Corporation                                                                         $0.00                                                                         $0.00
Enid News & Eagle
Attn: Kellan Hohmann
227 W Broadway Ave                                             RS Legacy Corporation fka RadioShack
Enid, OK 73701                             817       3/17/2015 Corporation                                                  $5,260.15                                                                                        $5,260.15
GN Netcom, Inc.
Anna Johnson
77 Northeastern Blvd.                                          RS Legacy Corporation fka RadioShack
Nashu, NH 03062                            818       3/17/2015 Corporation                                               $439,059.50                                                                                       $439,059.50
Stevens, Sandie
170 River Cove Meadows                                         RS Legacy Corporation fka RadioShack
Social Circle, GA 30025                    819       3/17/2015 Corporation                                                                                                              $60.00                                  $60.00
LaBarbera, Robert S.
1528 Tuscarora Road                                            RS Legacy Corporation fka RadioShack
Niagara Falls, NY 14304                    820       3/17/2015 Corporation                                                                       $30.23              $0.00                                                      $30.23
Bensalem Associates, L.P.
Jeffrey Kurtzman, Esquire
Klehr Harrison Harvey Branzburg LLP
401 S 2nd St
Suite 200                                                      RS Legacy Corporation fka RadioShack
Philadelphia, PA 19147‐1612                821       3/17/2015 Corporation                                                $22,815.64                                                                                        $22,815.64
Marco Display Specialists, LP
3209 Marquita Drive                                            RS Legacy Corporation fka RadioShack
Fort Worth, TX 76116                       822       3/17/2015 Corporation                                                $15,591.70                                                                                        $15,591.70
Highley, Mary Beth
17141 Harding Cyn. Rd.                                         RS Legacy Corporation fka RadioShack
Modjeska Cyn, CA 92676                     823       3/17/2015 Corporation                                                                      $165.23              $0.00               $0.00                                 $165.23
Kraus‐Anderson, Incorporated
4210 West Old Shakopee Road                                    RS Legacy Corporation fka RadioShack
Bloomington, MN 55437                      824       3/17/2015 Corporation                                                  $2,146.07                                                                                        $2,146.07




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                                                                                                                                               Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
AJG Corporation
WCLG Radio
Attn: Cindy Funk
PO Box 885                                                           RS Legacy Corporation fka RadioShack
Morgantown, WV 26507                             825       3/17/2015 Corporation                                                    $662.15                                                                                           $662.15
Alvarado Pérez, José
RR07‐Box 11282                                                       RS Legacy Corporation fka RadioShack
Toa Alta, PR 00953                               826       3/17/2015 Corporation                                                                         $0.00                                                                          $0.00
Essentra Specialty Tapes
7400 W. Industrial Dr.                                               RS Legacy Corporation fka RadioShack
Forest Park, IL 60130                            827       3/17/2015 Corporation                                                $23,748.00                                                                                         $23,748.00
Perez Esteva, Geancarlos R.
San Geraido
Calle Oklahoma 337                                                   RS Legacy Corporation fka RadioShack
San Juan, PR 00926                               828       3/17/2015 Corporation                                                                                                                                                        $0.00
Claudio Vazquez, Maribel
Villas del Caribe #3 Calle Amapola                                   RS Legacy Corporation fka RadioShack
Bayamon, PR 00956                                829       3/17/2015 Corporation                                                      $0.00                                                                                             $0.00
Bliss Electronic Co., Ltd.
2F, No. 2, Lane 348, Sec. 2, Chung Shan Road
Chung Ho City, Taipei                                                RS Legacy Corporation fka RadioShack
Taiwan ROC                                       830       3/17/2015 Corporation                                                $10,005.26                                                                                         $10,005.26
Cruz, Jennifer Vazquez
Urb. Constancia 2576 Calle Coloso                                    RS Legacy Corporation fka RadioShack
Ponce, PR 00717                                  831       3/17/2015 Corporation                                                                         $0.00                                                                          $0.00
Fonseca Cosme, Amaury
1708 Calle Camelia Urb. el Encanto                                   RS Legacy Corporation fka RadioShack
Juncos, PR 00777                                 832       3/17/2015 Corporation                                                                         $0.00                                                                          $0.00
Perez Bermúdez, Joan M.
Paseo Aguila I 2626 2nd Secc.                                        RS Legacy Corporation fka RadioShack
Levittown, Toa Baja, PR 00949                    833       3/17/2015 Corporation                                                                                                                                                        $0.00
Robles Vazquez, Carlos A.
Calle 27 2T‐21 Mirador de Bairoa                                     RS Legacy Corporation fka RadioShack
Caguas, PR 00727                                 834       3/17/2015 Corporation                                                                         $0.00                                                                          $0.00
Alejandro Ramirez, Miguel A
Calle Agua Marina RH‐3
Marina Bahia                                                         RS Legacy Corporation fka RadioShack
Cataño, PR 00962                                 835       3/17/2015 Corporation                                                                         $0.00                                                                          $0.00
JGKALLINS INVESTMENTS LP
Matthew J. Salcedo
3720 S. SUSAN STREET
SUITE 100                                                            RS Legacy Corporation fka RadioShack
SANTA ANA, CA 92704                              836       3/17/2015 Corporation                                                  $7,560.00                                                                                         $7,560.00
Northside Plumbing
975 Swift                                                            RS Legacy Corporation fka RadioShack
N. Kansas City, MO 64116                         837       3/16/2015 Corporation                                                    $715.00                                                                                           $715.00
Espinosa, Tina
1508 Mary K Lane                                                     RS Legacy Corporation fka RadioShack
Ft Worth, TX 76108                               838       3/16/2015 Corporation                                                  $1,605.00          $12,475.00                                                                    $14,080.00
Cardenales Orellano, Magaly
Urb. Villa del Caribe Calle Amapola # 1                              RS Legacy Corporation fka RadioShack
Bayamon, PR 00956                                839       3/16/2015 Corporation                                                                         $0.00                                                                          $0.00



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                                                                                                                                    Current General                                           Current 503(b)(9)
                                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                     Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                        Amount                                                    Amount
Wells Fargo Shareowner Services
c/o Gwen Williams
301 S College St, MAC D1053‐300                                                 RS Legacy Corporation fka RadioShack
Charlotte, NC 28288                                         840       3/17/2015 Corporation                                                      $0.00                                                                                            $0.00
Serrant Cartagena, Alberto
Urb Los Pinos
48 Cipres Mejicano                                                              RS Legacy Corporation fka RadioShack
Arecibo, PR 00612                                           841       3/16/2015 Corporation                                                      $0.00                                                                                            $0.00
Utah State Tax Commission
Sam Jones, Bankruptcy Agent
210 N 1950 W                                                                    RS Legacy Corporation fka RadioShack
Salt Lake City, UT 84134                                    842       3/16/2015 Corporation                                                    $140.81            $18.99                                                                        $159.80
Empire Columbia, L.P.
Jeffrey Kurtzman, Esquire
Klehr Harrison Harvey Branzburg LLP
1835 Market Street, Suite 1400                                                  RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                      843       3/16/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
Ryan, Alexis
3824 Rye Ct                                                                     RS Legacy Corporation fka RadioShack
El Dorado Hills, CA 95762                                   844       3/16/2015 Corporation                                                                                                               $0.00                                   $0.00
Hernandez Davila, Janira
PO Box 79                                                                       RS Legacy Corporation fka RadioShack
San Lorenzo, PR 00754                                       845       3/16/2015 Corporation                                                $25,000.00               $0.00                                                                    $25,000.00
Cordero Soto, Lizette
Portal de la Reina Apt 238                                                      RS Legacy Corporation fka RadioShack
San Juan, PR 00924                                          846       3/16/2015 Corporation                                                                         $0.00                                                                         $0.00
Morales Aguirre, Jesús
Urb. Boneville Heights Calle Comerio #32                                        RS Legacy Corporation fka RadioShack
Caguas, PR 00727                                            847       3/16/2015 Corporation                                                                         $0.00                                                                         $0.00
Sierra Nieves, Glenise
c/ Laurel Sur AA‐2
Urb. Quintas de Dorado                                                          RS Legacy Corporation fka RadioShack
Dorado, PR 00646                                            848       3/16/2015 Corporation                                                                      $321.00                                                                        $321.00
Vázquez Cruz, José C.
Urb. Constancia 2576 Calle Coloso                                               RS Legacy Corporation fka RadioShack
Ponce, PR 00717                                             849       3/16/2015 Corporation                                                                         $0.00                                                                         $0.00
Sentinel & Enterprise ‐ Media News Group
PO Box 65230                                                                    RS Legacy Corporation fka RadioShack
Colorado Springs, CO 80962‐5230                             850       3/18/2015 Corporation                                                $13,461.58                                                                                        $13,461.58
Sierra Liquidity Fund, LLC ‐ Assignee & ATT ‐ In ‐ Fact
for Northside Plumbing ‐ Assignor
19772 Macarthur Blvd #200                                                       RS Legacy Corporation fka RadioShack
Irvine , CA 92620                                           851       3/16/2015 Corporation                                                                                                             $500.00                                 $500.00
Vazquez, Luis R.
3089 Calle Rio Minillas
Urb. Praderas del Rio                                                           RS Legacy Corporation fka RadioShack
Toa Alta, PR 00953                                          852       3/16/2015 Corporation                                                                         $0.00                                                                         $0.00
Dámaso Roche Maldonado D/B/A Bairda
Exterminating Service
PO Box 7954                                                                     RS Legacy Corporation fka RadioShack
Caguas, PR 00726‐7954                                       853       3/16/2015 Corporation                                                    $880.00              $0.00                                                                       $880.00




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                                                                                                                      Current General                                           Current 503(b)(9)
                                                                                                                                           Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address       Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                          Amount                                                    Amount
Snohomish County Treasurer
Attn: Bankruptcy
3000 Rockefeller Ave, M/S 501                                     RS Legacy Corporation fka RadioShack
Everett, WA 98201‐4060                        854       3/16/2015 Corporation                                                                      $119.00              $0.00                                                     $119.00
Diaz, Andrea Melendez
Urb. Santa Juana 3 Calle 9 F‐24                                   RS Legacy Corporation fka RadioShack
Caguas, PR 00725                              855       3/16/2015 Corporation                                                                         $0.00                                                                         $0.00
Jones, Baker L.
1834 Lyons Bend Rd.                                               RS Legacy Corporation fka RadioShack
Knoxville, TN 37919                           856       3/16/2015 Corporation                                                  $2,771.78                                                                                        $2,771.78
Fuentes Pagán, Alex O. Jr.
Estancias del Bosque 851 Calle Los Robles                         RS Legacy Corporation fka RadioShack
Cidra, PR 00739                               857       3/16/2015 Corporation                                                                         $0.00                                                                         $0.00
Trustev Limited
Stephen Fanning
2100 Cork Airport Business Park
Cork                                                              RS Legacy Corporation fka RadioShack
Ireland                                       858       3/16/2015 Corporation                                                      $0.00                                                    $0.00                                   $0.00
Roche Ayala, Carla M.
Condominio Assisi Apt. 304 Ave. Luis                              RS Legacy Corporation fka RadioShack
Vigoreaux Guaynabo, PR 00969                  859       3/16/2015 Corporation                                                                         $0.00                                                                         $0.00
Hernandez Davica, Janira
PO Box 79                                                         RS Legacy Corporation fka RadioShack
San Lorenzo, PR 00754                         860       3/16/2015 Corporation                                                                         $0.00                                                                         $0.00
Mercado Gonzalez, Rene
MC 03 B04 10635                                                   RS Legacy Corporation fka RadioShack
San Germán, PR 00683                          861       3/16/2015 Corporation                                                                         $0.00                                                                         $0.00
Shenzhen Hubsan Technology Co., Ltd.
Rm 409 Municipal Building
Hongli West Road
Futian District
Shenzhen, CN                                                      RS Legacy Corporation fka RadioShack
China                                         862       3/16/2015 Corporation                                               $132,768.00                                                                                       $132,768.00
Rojas Colón, Vanessa
210 c/ Alamo Grand Palm 2                                         RS Legacy Corporation fka RadioShack
Vega Alta, PR 00692                           863       3/16/2015 Corporation                                                                         $0.00                                                                         $0.00
Alvarez Aponte, Carmen Wanda
Urb. Miradero 59 Camino de las Lomas                              RS Legacy Corporation fka RadioShack
Humacuo, PR 00791‐9676                        864       3/16/2015 Corporation                                                                         $0.00                                                                         $0.00
Wanstonic Electronics Ltd.
4F, No. 540‐1 Zhong Zheng Road
Xindian Dist.
New Taipei City, 231                                              RS Legacy Corporation fka RadioShack
Taiwan                                        865       3/16/2015 Corporation                                                $60,255.60                                                                                        $60,255.60
Capalbo Family LP
130 Granite Street                                                RS Legacy Corporation fka RadioShack
Westerly, RI 02891‐2461                       866       3/16/2015 Corporation                                                  $9,440.73                                                                                        $9,440.73
Roche Ayala, Claudia M.
Calle Rio de Janeiro 1501                                         RS Legacy Corporation fka RadioShack
Ciudad Primavera Cidra, PR 00739              867       3/16/2015 Corporation                                                                         $0.00                                                                         $0.00




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                                                                                                                             Current General                                           Current 503(b)(9)
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            Creditor Name and Address              Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                    Amount
Design Plastics Inc.
4000 Lubbock                                                             RS Legacy Corporation fka RadioShack
Fort Worth, TX 76110                                 868       3/13/2015 Corporation                                                                                           $0.00                                                       $0.00
Arnaud Germoso, Ramon R.
Urb. Villa Andalucía C16 Calle Llanez                                    RS Legacy Corporation fka RadioShack
San Juan, PR 00926                                   869       3/13/2015 Corporation                                                      $0.00                                                                                            $0.00
Maldonado Andino, Carmen D.
Acacia RK‐8 Rosaleda II                                                  RS Legacy Corporation fka RadioShack
Levittown, Toa Baja, PR 00949                        870       3/17/2015 Corporation                                                                     $1,273.33                                                                     $1,273.33
López Santiago, Melissa
Calle J‐I 7 Urb. Jardines de Cagua                                       RS Legacy Corporation fka RadioShack
Caguas, PR 00727                                     871       3/18/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
Koldhoff, Robert E.
2157 Achilles St.                                                        RS Legacy Corporation fka RadioShack
Port Charlotte, FL 33980                             872       3/18/2015 Corporation                                                                         $0.00                                                                         $0.00
Louisville Gas & Electric Company
820 W. Broadway                                                          RS Legacy Corporation fka RadioShack
Louisville, KY 40202                                 873       3/17/2015 Corporation                                                $10,752.08                                                                                        $10,752.08
Seminole County Tax Collector
Ray Valdes
1101 East First Street
PO Box 630                                                               RS Legacy Corporation fka RadioShack
Sanford, FL 32772                                    874       3/16/2015 Corporation                                                                                           $0.00                                                       $0.00
CARLYLEER METRO LLC
Paul M. Weiser, Esq. / Nancy K. Swift, Esq.
Buchalter Nemer
16435 North Scottsdale Road, Suite 440                                   RS Legacy Corporation fka RadioShack
Scottsdale, AZ 85254‐1754                            875       3/13/2015 Corporation                                                  $2,708.38                                                                                        $2,708.38
Spok Inc
6580 Versar Center Suite 420                                             RS Legacy Corporation fka RadioShack
Springfield , VA 22151                               876       3/17/2015 Corporation                                                    $123.42                                                                                          $123.42
Piedmont Natural Gas Company
4339 S Tryon Street                                                      RS Legacy Corporation fka RadioShack
Charlotte , NC 28217‐1733                            877       3/19/2015 Corporation                                                  $8,796.45                                                                                        $8,796.45
Gulf Energy Mechanical Inc.
860 N Dorothy Dr Ste 610                                                 RS Legacy Corporation fka RadioShack
Richardson , TX 75081                                878       3/19/2015 Corporation                                                $26,179.16                                                 $1,144.68                              $27,323.84
Sandhill Venture Group, LLC.
PO Box 8                                                                 RS Legacy Corporation fka RadioShack
Hilton Head Island , SC 29938                        879       3/19/2015 Corporation                                                  $9,762.30                                                                                        $9,762.30
The Virginian‐Pilot Media Companies, LLC t/a The
Virginian‐Pilot
c/o Pender & Coward, P.C.
Attn: Glen W. Thompson
222 Central Park Avenue, Suite 400                                       RS Legacy Corporation fka RadioShack
Virginia Beach, VA 23462                             880       3/20/2015 Corporation                                                $49,981.72                                                                                        $49,981.72
Dominion Hope Gas
48 Columbia Blvd                                                         RS Legacy Corporation fka RadioShack
Clarksburg, WV 26301                                 881       3/13/2015 Corporation                                                    $305.54                                                                                          $305.54




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                                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                    Amount
RIO Ventures, LLC
Ralph H. Scheuer, Member
PO Box 9570                                                                RS Legacy Corporation fka RadioShack
Sante Fe, NM 87504                                     882       3/16/2015 Corporation                                                  $2,902.52                                                                                        $2,902.52
West Aurora Plaza, LLC
Devon J. Eggert, Esq.
Freeborn & Peters LLP
311 S. Wacker Drive, Suite 3000                                            RS Legacy Corporation fka RadioShack
Chicago, IL 60606                                      883       3/20/2015 Corporation                                                    $581.91                                                                                          $581.91

Hayco Realty, Ltd (c/o Guess Horton Ventures, LLC)
Douglas M. Neistat, Esq.
Greenberg & Bass
16000 Ventura Blvd., Suite 1000                                            RS Legacy Corporation fka RadioShack
Encino, CA 91436                                       884       3/20/2015 Corporation                                               $254,600.82                                                                                       $254,600.82
1995 Land Company, LLC
Chris Bumgarner
2100 S. Utica Ave. PH                                                      RS Legacy Corporation fka RadioShack
Tulsa, OK 74114                                        885       3/20/2015 Corporation                                                $71,420.70                                                                                        $71,420.70
Donahue Schriber Realty Group, LP
c/o Trainor Fairbrook
980 Fulton Avenue                                                          RS Legacy Corporation fka RadioShack
Sacramento, CA 95825                                   886       3/20/2015 Corporation                                                                                                                             $3,086.63             $3,086.63
Donahue Schriber Realty Group, LP
c/o Trainor Fairbrook
980 Fulton Avenue                                                          RS Legacy Corporation fka RadioShack
Sacramento, CA 95825                                   887       3/20/2015 Corporation                                                  $5,602.86                                                                                        $5,602.86
CP Associates LLC
Robinson brog Leinwand ‐ Attn:FBR
875 Third Avenue, 9th FL                                                   RS Legacy Corporation fka RadioShack
New York, NY 10022                                     888       3/20/2015 Corporation                                                $11,782.24                                                                                        $11,782.24
Stephan, Robin Renee
633 South Kate Street                                                      RS Legacy Corporation fka RadioShack
Ft. Worth, TX 76108‐1413                               889       3/20/2015 Corporation                                                                     $4,969.60                                                                     $4,969.60
Crespo Melendez, Carlos E
PO Box 2507                                                                RS Legacy Corporation fka RadioShack
Vega Baja, PR 00694                                    890       3/20/2015 Corporation                                                                         $0.00                                                                         $0.00
Jared Properties
Lee J. Viorel
Lowther Johnson Attorneys at Law, LLC
901 St. Louis St., 20th Fl.                                                RS Legacy Corporation fka RadioShack
Springfield, MO 65806                                  891       3/20/2015 Corporation                                                    $675.00              $0.00                                               $2,699.89             $3,374.89
Jared Properties
Lee J. Viorel
Lowther Johnson Attorneys at Law, LLC
901 St. Louis St., 20th Fl.                                                RS Legacy Corporation fka RadioShack
Springfield, MO 65806                                  892       3/20/2015 Corporation                                                $55,176.00                                                                                        $55,176.00
Jared Properties
Lee J. Viorel
Lowther Johnson Attorneys at Law, LLC
901 St. Louis St., 20th Fl.                                                RS Legacy Corporation fka RadioShack
Springfield, MO 65806                                  893       3/20/2015 Corporation                                                    $279.31                                                                                          $279.31



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                                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                  Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                     Amount                                                    Amount
Bonacchi, Remo
60 Saddler Lane                                                              RS Legacy Corporation fka RadioShack
Levittown, NY 11756                                      894       3/19/2015 Corporation                                                    $120.00                                                                                          $120.00

Norwalk‐LIR, LLC f/k/a Tartaglia Limited Partnership
Tartaglia Commercial Properties
477 Main Street, Suite 212                                                   RS Legacy Corporation fka RadioShack
Monroe, CT 06468                                         895       3/19/2015 Corporation                                                $89,650.50                                                                                        $89,650.50
CORUM INVESTMENT
C/O Butch Corum
1005 12th Street, Suite 6                                                    RS Legacy Corporation fka RadioShack
Sacramento, CA 95814                                     896       3/19/2015 Corporation                                                      $0.00                                                                                            $0.00
Yakima County Treasurer
PO Box 22530                                                                 RS Legacy Corporation fka RadioShack
Yakima , WA 98907                                        897       3/19/2015 Corporation                                                                                       $1,220.98                                                   $1,220.98
Dominion Hope Gas
48 Columbia Blvd                                                             RS Legacy Corporation fka RadioShack
Clarksburg, WV 26301                                     898       3/13/2015 Corporation                                                    $117.55                                                                                          $117.55
Sheriff of Monongalia County, West Virginia
Monongalia County Courthouse
Lower Level
243 High Street                                                              RS Legacy Corporation fka RadioShack
Morgantown , WV 26505                                    899       3/16/2015 Corporation                                                                         $0.00                                                                         $0.00
McDonald, Jr., Colin J.
989 Terrace Ln                                                               RS Legacy Corporation fka RadioShack
Ypsilanti, MI 48198                                      900       3/19/2015 Corporation                                                      $0.00                                                                                            $0.00
David Ellis/RadioShack 22‐0303
19191 Alberta St                                                             RS Legacy Corporation fka RadioShack
Oneida, TN 37841                                         901       3/19/2015 Corporation                                                $24,675.35                                                                                        $24,675.35
Dominion Hope Gas
48 Columbia Blvd                                                             RS Legacy Corporation fka RadioShack
Clarksburg, WV 26301                                     902       3/13/2015 Corporation                                                    $158.84                                                                                          $158.84
County of Orange
Attn: Bankruptcy Unit
PO Box 4515                                                                  RS Legacy Corporation fka RadioShack
Santa Ana, CA 92702‐4515                                 903       3/19/2015 Corporation                                                                         $0.00                                                                         $0.00
McDonald, Jr., Colin J.
989 Terrace Ln.                                                              RS Legacy Corporation fka RadioShack
Ypsilanti, MI 48198                                      904       3/19/2015 Corporation                                                                         $0.00                                                                         $0.00
SEMINOLE COUNTY TAX COLLECTOR
RAY VALDES
1101 East First Street
PO Box 630                                                                   RS Legacy Corporation fka RadioShack
Sanford , Fl 32772                                       905       3/16/2015 Corporation                                                                                           $0.00                                                       $0.00
Yesco LLC
c/o Karen Stuart
6725 W. Chicago Street                                                       RS Legacy Corporation fka RadioShack
Chandler , AZ 85226‐3335                                 906       3/18/2015 Corporation                                                      $0.00                                                                                            $0.00
Alpha Wireless, Inc.
733 Michigan Avenue                                                          RS Legacy Corporation fka RadioShack
Saline, MI 48176                                         907       3/17/2015 Corporation                                                                                           $0.00               $0.00                                   $0.00




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                                                                                                                    Current General                                           Current 503(b)(9)
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            Creditor Name and Address     Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                    Amount
Questar Gas Company
Bankruptcy DNR 244
1140 West 200 South
PO Box 3194                                                     RS Legacy Corporation fka RadioShack
Salt Lake City, UT 84110‐3194               908       3/18/2015 Corporation                                                  $7,705.32                                                                                        $7,705.32
SC KIOSKS INC
210 N 1950 W                                                    RS Legacy Corporation fka RadioShack
SALT LAKE CITY, UT 84134                    909       3/17/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
Warner, Kathleen
5652 S Nasturtium Place                                         RS Legacy Corporation fka RadioShack
Boise , ID 83716                            910       3/19/2015 Corporation                                                     $60.00                                                                                           $60.00
425 Oser Avenue LLC
Gerald Wolkoff
425 Oser Avenue LLC,
1 Executive Drive                                               RS Legacy Corporation fka RadioShack
Edgewood, NY 11717                          911       3/19/2015 Corporation                                                $83,584.46                                                                   $3,375.00            $86,959.46
Forest City Commercial Management, Inc.
South Bay Center SPE, LLC
50 Public Square
Terminal Tower
Suite 1360                                                      RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                         912       3/18/2015 Corporation                                               $115,799.91                                                                       $0.00           $115,799.91
Viera Rosa, Cesar J.
HC 03 Box 17016                                                 RS Legacy Corporation fka RadioShack
Corozal, PR 00783                           913       3/17/2015 Corporation                                                                         $0.00                                                                         $0.00
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                     RS Legacy Corporation fka RadioShack
Carneys Point, NJ 08069‐3600                914       3/16/2015 Corporation                                                    $648.84                                                                                          $648.84
New York State Department of Labor
Unemployment Insurance Division
Greta C. Brown‐ Vergare
State Office Campus
Building #12 Room #256                                          RS Legacy Corporation fka RadioShack
Albany, NY 12240                            915       3/16/2015 Corporation                                                                         $0.00                                                                         $0.00
Donahue Schriber Realty Group, LP
c/o Trainor Fairbrook
980 Fulton Avenue                                               RS Legacy Corporation fka RadioShack
Sacramento, CA 95825                        916       3/20/2015 Corporation                                                $85,269.40                                                                       $0.00            $85,269.40
Zabinsky, Jean
HC 38 Box 7862                                                  RS Legacy Corporation fka RadioShack
Guanica, PR 00653                           917       3/20/2015 Corporation                                                                         $0.00                                                                         $0.00
Donahue Schriber Realty Group, LP
c/o Trainor Fairbrook
980 Fulton Avenue                                               RS Legacy Corporation fka RadioShack
Sacramento, CA 95825                        918       3/20/2015 Corporation                                               $103,863.82                                                                                       $103,863.82
Shields, Tim W.
91 Mission Hills Dr.                                            RS Legacy Corporation fka RadioShack
Cartersville, GA 30120                      919       3/24/2015 Corporation                                                     $60.00                                                                                           $60.00




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                                                                                                                              Current General                                           Current 503(b)(9)
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            Creditor Name and Address               Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                    Amount
COR Clay Company, LLC (successor to COR Route 31
Company, LLC)
Attn: Joseph B. Gerardi, Vice President and Legal
Counsel
540 Towne Drive                                                           RS Legacy Corporation fka RadioShack
Fayetteville, NY 13066                                920       3/24/2015 Corporation                                                $68,957.88                                                                                        $68,957.88
Ohio Bureau of Workers' Compensation
Attn: Larry Rhodebeck
PO Box 15567                                                              RS Legacy Corporation fka RadioShack
Columbus, OH 43215‐0567                               921       3/24/2015 Corporation                                                                         $0.00                                                                         $0.00
Golgoski, Gary
137 Soundside Drive                                                       RS Legacy Corporation fka RadioShack
Hertford, NC 27944                                    922       3/24/2015 Corporation                                                    $365.00              $0.00                                                                       $365.00
Whitehead Signs, LLC
1801 Deloss St.                                                           RS Legacy Corporation fka RadioShack
Indianapolis, IN 46201                                923       3/24/2015 Corporation                                                  $3,403.54                                                                                        $3,403.54
Claim Docketed In Error                                                   RS Legacy Corporation fka RadioShack
                                                      924       3/24/2015 Corporation                                                                                                                                                       $0.00
V.G.R. Associates, LLC
40 East 69th Street                                                       RS Legacy Corporation fka RadioShack
New York, NY 10021                                    925       3/24/2015 Corporation                                                  $6,493.60                                                                                        $6,493.60
Dominion Hope Gas
48 Columbia Blvd                                                          RS Legacy Corporation fka RadioShack
Clarksburg, WV 26301                                  926       3/13/2015 Corporation                                                     $85.50                                                                                           $85.50
Combs, Leslie J.
3329 Royal View Drive                                                     RS Legacy Corporation fka RadioShack
Willow Park, TX 76087                                 927       3/24/2015 Corporation                                                                     $6,608.80                                                                     $6,608.80
NG Hood Commons LLC & Quenton Hood Commons
LLC
c/o Nightingale Realty
1430 Broadway
Suite 1605                                                                RS Legacy Corporation fka RadioShack
New York, NY 10018                                    928       3/24/2015 Corporation                                                  $9,492.20                                                                                        $9,492.20
Central Maine Power Co.
83 Edison Drive                                                           RS Legacy Corporation fka RadioShack
Augusta, ME 04330                                     929       3/16/2015 Corporation                                                $11,849.94                                                                                        $11,849.94

Ramco Gershenson Properties, LP
David M. Blau, Esq., Attorney/authorized agent
151 S. Old Woodward Ave., Ste. 200                                        RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                                  930       3/24/2015 Corporation                                                $67,111.26                                                                       $0.00            $67,111.26
William M. and Claire T. Hartman, Joseph and Mary
R. Daher, and Grace Properties, LLC
c/o Colliers International
PO Box 3546                                                               RS Legacy Corporation fka RadioShack
Little Rock, AR 72203‐3546                            931       3/24/2015 Corporation                                                $12,111.82               $0.00                                                 $803.57            $12,915.39
Custom Engineering Heating & Cooling, LLC
PO Box 367                                                                RS Legacy Corporation fka RadioShack
Linwood, MI 48634‐0367                                932       3/20/2015 Corporation                                                    $616.80              $0.00                                                                       $616.80
Claim Docketed In Error                                                   RS Legacy Corporation fka RadioShack
                                                      933       3/23/2015 Corporation                                                                                                                                                       $0.00




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                                                                                                                             Current General                                           Current 503(b)(9)
                                                                                                                                                  Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address              Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                    Amount
Northeast Plumbing and Mechanical LLC
1630 Lincoln Ave                                                         RS Legacy Corporation fka RadioShack
Lakewood, OH 44107                                   934       3/23/2015 Corporation                                                    $777.00                                                                                          $777.00
Donahue Schriber Realty Group, LP
c/o Trainor Fairbrook
980 Fulton Avenue                                                        RS Legacy Corporation fka RadioShack
Sacramento, CA 95825                                 935       3/23/2015 Corporation                                                $85,269.40                                                                                        $85,269.40
NG Palm Aire Marketplace LLC
c/o Nightingale Realty LLC
1430 Broadway
Suite 1605                                                               RS Legacy Corporation fka RadioShack
New York, NY 10018                                   936       3/24/2015 Corporation                                                  $6,361.97                                                                                        $6,361.97
Whitfield, Marie
7812 Chaddington Ct.                                                     RS Legacy Corporation fka RadioShack
North Richland Hills, TX 76182                       937       3/24/2015 Corporation                                                                                          $60.00               $0.00                                  $60.00
COR Veterans Memorial Drive Company, LLC
Attn: Joseph B. Gerado, Vice President and Legal
Counsel
COR Development Company, LLC
540 Towne Drive                                                          RS Legacy Corporation fka RadioShack
Fayetteville, NY 13066                               938       3/24/2015 Corporation                                                  $4,981.72                                                                                        $4,981.72
Keokuk Municipal Waterworks
20 N. 4th                                                                RS Legacy Corporation fka RadioShack
Keokuk, IA 52632                                     939       3/24/2015 Corporation                                                    $104.64                                                                                          $104.64
Colon, Jinellie Morales
PO Box 51705                                                             RS Legacy Corporation fka RadioShack
Toa Baja, PR 00950‐1705                              940       3/24/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
City of Escanaba
Robert Valentine, Treasurer
PO Box 948                                                               RS Legacy Corporation fka RadioShack
Escanaba, MI 49829                                   941       3/24/2015 Corporation                                                      $0.00                                                                                            $0.00
City of Farmington
City Attorney's Office
800 Municipal Drive                                                      RS Legacy Corporation fka RadioShack
Farmington, NM 87418                                 942       3/24/2015 Corporation                                                    $445.13                                                                                          $445.13
Palm Bay Shopping Plaza LLC
c/o Nightingale Realty LLC
1430 Broadway, Suite 1605                                                RS Legacy Corporation fka RadioShack
New York, NY 10018                                   943       3/24/2015 Corporation                                                    $574.53                                                                                          $574.53
Danville Mall, LLC
c/o Hull Property Group
Attn: Ashley Dolce
1190 Interstate Parkway                                                  RS Legacy Corporation fka RadioShack
Augusta, GA 30909                                    944       3/24/2015 Corporation                                                      $0.00                                                                                            $0.00
Market Plaza 450, LLC
David M. Blau, Esq.
Clark Hill PLC
151 S. Old Woodward Ave.
2nd Floor                                                                RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                                 945       3/24/2015 Corporation                                                $59,965.26                                                                   $3,314.74            $63,280.00




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                                                                                                                           Current General                                           Current 503(b)(9)
                                                                                                                                                Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address            Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                    Amount
Prince of Orange, LLC
c/o Hull Property Group
Attn: Ashley Dolce
1190 Interstate Parkway                                                RS Legacy Corporation fka RadioShack
Augusta, GA 30909                                  946       3/24/2015 Corporation                                                      $0.00                                                                                            $0.00
NG 651 Nicollet Mall, LLC
c/o Nightingale Realty, LLC
1430 Broadway, Suite 1605                                              RS Legacy Corporation fka RadioShack
New York, NY 10018                                 947       3/24/2015 Corporation                                                  $4,760.71                                                                                        $4,760.71

Ramco‐Gershenson Properties, L.P.
David M. Blau, Esq., Attorney/Authorized Agent
151 S. Old Woodward Ave., Ste. 200                                     RS Legacy Corporation fka RadioShack
Birmingham , MI 48009                              948       3/24/2015 Corporation                                                  $6,028.66                                                                  $1,608.88             $7,637.54
Ramco Spring Meadows LLC
David M. Blau, Esq.
Clark Hill PLC
151 S. Old Woodward Ave
2nd Floor                                                              RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                               949       3/24/2015 Corporation                                                    $986.59                                                                  $3,229.76             $4,216.35
Ramco‐Gershenson Properties, L.P.
David M. Blau, Esq.
Clark Hill PLC
151 S. Old Woodward Ave.
2nd Floor                                                              RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                               950       3/24/2015 Corporation                                                $82,241.80                                                                       $0.00            $82,241.80
Olentangy Plaza 450 LLC
David M. Blau, Esq.
Clark Hill PLC
151 S. Old Woodward Ave.
2nd Floor                                                              RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                               951       3/24/2015 Corporation                                                  $2,625.24                                                                  $2,625.24             $5,250.48
Robert A. Lynch Trucking, Inc.
PO Box 7487                                                            RS Legacy Corporation fka RadioShack
St. Thomas, VI 00803                               952       3/24/2015 Corporation                                                  $1,410.00                                                                                        $1,410.00
Ramco‐Gershenson Properties, L.P.
David M. Blau, Esq.
Clark Hill PLC
151 S. Oldwoodward Ave.
2nd Floor                                                              RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                               953       3/24/2015 Corporation                                                $53,939.14                                                                       $0.00            $53,939.14
First Burlington Ventures, Inc.
c/o Hull Property Group ‐ Attn. Ashley Dolce
1190 Interstate Parkway                                                RS Legacy Corporation fka RadioShack
Augusta, GA 30909                                  954       3/24/2015 Corporation                                                      $0.00                                                                                            $0.00
NMP Kingwood Glen, LLC
c/o John A. Christy
Schreeder, Wheeler & Flint, LLP
1100 Peachtree Street NE, Suite 800                                    RS Legacy Corporation fka RadioShack
Atlanta, GA 30309                                  955       3/24/2015 Corporation                                                  $2,462.78                                                                                        $2,462.78




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                                                                                                                           Current General                                           Current 503(b)(9)
                                                                                                                                                Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address            Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                    Amount
City of Raleigh
Raleigh City Attorney's Office
PO Box 590                                                             RS Legacy Corporation fka RadioShack
Raleigh, NC 27602                                  956       3/24/2015 Corporation                                                    $278.48                                                                                          $278.48
Scarborough‐St James Corporation
Michael T. Conway, Esq.
LeClairRyan, a Professional Corporation
885 Third Avenue, 16th Floor                                           RS Legacy Corporation fka RadioShack
New York, NY 10022                                 957       3/24/2015 Corporation                                                  $1,053.57                                                                                        $1,053.57

Ramco‐Gershenson Properties, L.P
David M. Blau, Esq., Attorney/Authorized Agent
151 S. Old Woodward Ave., Ste. 200                                     RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                               958       3/24/2015 Corporation                                                $50,981.84                                                                       $0.00            $50,981.84
Perez Bermudez, Joan M
Paseo Aguila I 2626
2nd Secc. Levittown                                                    RS Legacy Corporation fka RadioShack
Toa Baja, PR 00949                                 959       3/24/2015 Corporation                                                                         $0.00                                                                         $0.00
Fortune Enterprise LLC
5436 Gaineway Dr.                                                      RS Legacy Corporation fka RadioShack
Greenwood, IN 46142                                960       3/24/2015 Corporation                                               $145,081.04               $0.00                                               $3,440.65           $148,521.69
Cary Services, Inc.
Mark Cary
PO Box 5101                                                            RS Legacy Corporation fka RadioShack
Abilene, TX 79608                                  961       3/24/2015 Corporation                                                    $210.85                                                                                          $210.85
City of Newport News, Virginia
2400 Washington Avenue, 9th Floor                                      RS Legacy Corporation fka RadioShack
Newport News, VA 23607                             962       3/24/2015 Corporation                                                      $0.00                                                                                            $0.00
Ramco‐Gershenson Properties, L.P.
David M. Blau, Esq.
Clark Hill PLC
151 S. Old Woodward Ave., 2nd Floor                                    RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                               963       3/24/2015 Corporation                                                $88,956.64                                                                       $0.00            $88,956.64
Donahue Schriber Realty Group, LP
c/o Trainor Fairbrook
980 Fulton Avenue                                                      RS Legacy Corporation fka RadioShack
Sacramento, CA 95825                               964       3/23/2015 Corporation                                                                                                                             $4,189.76             $4,189.76

City of Boston
Treasury Department, Bankruptcy Coordiantor
City Hall Room ‐ M‐5
One City Hall Square                                                   RS Legacy Corporation fka RadioShack
Boston, MA 02201                                   965       3/23/2015 Corporation                                                                         $0.00                                                                         $0.00
Vicente, Wilfredo Rivera
HC 45 Box 9721                                                         RS Legacy Corporation fka RadioShack
Cayey, PR 00737                                    966       3/24/2015 Corporation                                                                     $9,600.00                                                                     $9,600.00
Zimmermann, Patricia
104 Westage at the Harbor                                              RS Legacy Corporation fka RadioShack
Rochester, NY 14617                                967       3/24/2015 Corporation                                                                      $120.00                                                                        $120.00
Johnson, David P.
2312 Cactus Rio Lane                                                   RS Legacy Corporation fka RadioShack
Weatherford, TX 76087                              968       3/24/2015 Corporation                                               $281,481.27                                                                                       $281,481.27



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                                                                                                                    Current General                                            Current 503(b)(9)
                                                                                                                                          Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address     Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
Rivera Sanabria, Sonia I.
Urb. Baco Calle Gardenia
G‐19                                                            RS Legacy Corporation fka RadioShack
Ensenada , PR 00647                         969       3/24/2015 Corporation                                                                          $0.00                                                                         $0.00
Ortiz Miranda, Victor M.
Urb. Santa Juana
Calle ll L‐26                                                   RS Legacy Corporation fka RadioShack
Caguas, PR 00725                            970       3/24/2015 Corporation                                                                          $0.00                                                                         $0.00
Bay Area News Group ‐ Media News Group
12320 Oracle Blvd, Suite 310                                    RS Legacy Corporation fka RadioShack
Colorado Springs, CO 80921                  971       3/24/2015 Corporation                                                $252,169.05                                                                                       $252,169.05
Albertsons LLC
250 Parkcenter Blvd.                                            RS Legacy Corporation fka RadioShack
Boise, ID 83726                             972       3/23/2015 Corporation                                                $121,227.84                                                                                       $121,227.84
Barry Willingham Cullman County Revenue
Commission
PO Box 2220                                                     RS Legacy Corporation fka RadioShack
Cullman, AL 35056‐2220                      973       3/23/2015 Corporation                                                                       $100.97                                                                        $100.97
The Whistler Group, Inc.
Chris W. Sooter                                                 RS Legacy Global Sourcing Limited Partnership
PO Box 1760                                                     fka RadioShack Global Sourcing Limited
Bentonville, AR 72712                       974       3/23/2015 Partnership                                              $1,560,842.93                                                                                     $1,560,842.93
Acevedo, Luis J.
PO Box 1724                                                     RS Legacy Corporation fka RadioShack
Aguada, PR 00602                            975       3/23/2015 Corporation                                                       $0.00                                                                                            $0.00
Broadridge ICS
Attn: Daniel Martinez
1155 Long Island Ave                                            RS Legacy Corporation fka RadioShack
Edgewood , NY 11717                         976       3/23/2015 Corporation                                                 $32,266.66                                                                                        $32,266.66
City of Richmond, Virginia
900 E Broad St.
City Hall Room 109                                              RS Legacy Corporation fka RadioShack
Richmond, VA 23219                          977       3/23/2015 Corporation                                                                                          $170.16                                                     $170.16
Garland County Tax Collector
Rebecca Dodd‐Talbert, Collector
200 Woodbine ‐ Room 108                                         RS Legacy Corporation fka RadioShack
Hot Springs, AR 71901                       978       3/23/2015 Corporation                                                                          $0.00                                                                         $0.00
Michael and Fanny Taylor Estates
PO Box 476                                                      RS Legacy Corporation fka RadioShack
Storrs, CT 06268                            979       3/23/2015 Corporation                                                 $14,444.15                                                                                        $14,444.15
Vance Godbey's Company
PO Box 136273                                                   RS Legacy Corporation fka RadioShack
Fort Worth, TX 76136‐6273                   980       3/23/2015 Corporation                                                   $4,059.38                                                                                        $4,059.38
Aikpak Plastic Forming
202 N. Great SW Parkway                                         RS Legacy Corporation fka RadioShack
Grand Prairie, TX 75050                     981       3/23/2015 Corporation                                                   $7,128.00                                                                                        $7,128.00
Dolphin Mall Associates LLC
200 East Long Lake Road                                         RS Legacy Corporation fka RadioShack
Bloomfield Hills, MI 48304                  982       3/23/2015 Corporation                                                 $38,022.28                                                                                        $38,022.28




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                                                                                                                      Current General                                           Current 503(b)(9)
                                                                                                                                           Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address       Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                          Amount                                                    Amount
Roberts, Leonard H.
Bruce W. Akerly, Cantey Hanger LLP
1999 Bryan Street, Suite 3300                                     RS Legacy Corporation fka RadioShack
Dallas , TX 75201                             983       3/23/2015 Corporation                                              $1,615,000.00                                                                                    $1,615,000.00
Pagán Roldán, Maribel
Urb. Diamari 142 Calle Aleli                                      RS Legacy Corporation fka RadioShack
Juncos, PR 00777                              984       3/20/2015 Corporation                                                                         $0.00                                                                         $0.00
Jared Properties
Lee J. Viorel
Lowther Johnson Attorneys at Law, LLC
901 St. Louis St., 20th Fl.                                       RS Legacy Corporation fka RadioShack
Springfield, MO 65806                         985       3/20/2015 Corporation                                                     $62.50                                                                    $588.23               $650.73
Huffman Mill Plaza Limited Partnership
Holmes P. Harden
PO Box 1000                                                       RS Legacy Corporation fka RadioShack
Raleigh, NC 27602                             986       3/20/2015 Corporation                                                $66,003.57                                                                                        $66,003.57
Causeway LLC a/a/f Greater Lakeside Corp.
Robinson Brog Leinward‐‐Attn: FBR
875 Third Avenue, 9th FL                                          RS Legacy Corporation fka RadioShack
New York, NY 10022                            987       3/20/2015 Corporation                                               $148,129.17                                                                   $8,849.72           $156,978.89
North Riverside Park Associates LLC
Robinson Brog Leinwand‐‐Attn: FBR
875 Third Avenue, 9th FL                                          RS Legacy Corporation fka RadioShack
New York, NY 10022                            988       3/20/2015 Corporation                                               $163,074.25                                                                  $10,272.49           $173,346.74
Adolfo's Sealcoating & Landscaping
1106 Muirfield Ave                                                RS Legacy Corporation fka RadioShack
Waukegan, IL 60085                            989       3/20/2015 Corporation                                                  $2,590.00                                                                                        $2,590.00
Jared Properties
Lee J. Viorel
Lowther Johnson Attorneys at Law, LLC
901 St. Louis St., 20th Fl.                                       RS Legacy Corporation fka RadioShack
Springfield, MO 65806                         990       3/20/2015 Corporation                                                $35,500.08                                                                                        $35,500.08
Fire Master/ Master Protection, LP
Dept 1019
PO Box 121019                                                     RS Legacy Corporation fka RadioShack
Dallas, TX 75312                              991       3/20/2015 Corporation                                                     $63.18                                                                                           $63.18
Jared Properties
Lee J. Viorel
Lowther Johnson Attorneys at Law, LLC
901 St. Louis St., 20th Fl.                                       RS Legacy Corporation fka RadioShack
Springfield, MO 65806                         992       3/20/2015 Corporation                                                  $5,699.26                                                                                        $5,699.26
Negron Troche, Adriana
PO Box 988                                                        RS Legacy Corporation fka RadioShack
Hormigueros, PR 00660                         993       3/20/2015 Corporation                                                                         $0.00                                                                         $0.00
Veqa, Roberto Ortiz
HC 10 Box 7821                                                    RS Legacy Corporation fka RadioShack
Sabana Grande, PR 00637                       994       3/20/2015 Corporation                                                                     $9,304.11                                                                     $9,304.11
USA Hauling & Recycling, INC
PO Box 808                                                        RS Legacy Corporation fka RadioShack
East Windsor, CT 06088                        995       3/16/2015 Corporation                                                    $136.92                                                                                          $136.92




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                                                                                                                                Current General                                           Current 503(b)(9)
                                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                 Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                    Amount
Delmarya Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                                 RS Legacy Corporation fka RadioShack
Carneys Point, NJ 08069‐3600                            996       3/16/2015 Corporation                                                    $167.75                                                                                          $167.75
PSEG Long Island
Geralyn Clinch
15 Park Drive                                                               RS Legacy Corporation fka RadioShack
Melville, NY 11747                                      997       3/16/2015 Corporation                                                $93,727.87                                                                                        $93,727.87
Dominion Hope Gas
48 Columbia Blvd                                                            RS Legacy Corporation fka RadioShack
Clarksburg, WV 26301                                    998       3/13/2015 Corporation                                                    $213.36                                                                                          $213.36
Maldonado Cortes, Edgar A.
Urb Luchetty V del Pozo 48                                                  RS Legacy Corporation fka RadioShack
Manati, PR 00674                                        999       3/19/2015 Corporation                                                                         $0.00                                                                         $0.00
R.I. Division of Taxation
One Capitol Hill                                                            RS Legacy Corporation fka RadioShack
Providence, RI 02908                                    1000      3/18/2015 Corporation                                                                         $0.00                                                                         $0.00
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                                 RS Legacy Corporation fka RadioShack
Carneys Point, NJ 08069‐3600                            1001      3/16/2015 Corporation                                                    $814.97                                                                                          $814.97
Clay Electric Cooperative, Inc.
Clint Boone, Accounting Supervisor
PO Box 308                                                                  RS Legacy Corporation fka RadioShack
Keystone Heights, FL 32656                              1002      3/18/2015 Corporation                                                  $3,356.17                                                                                        $3,356.17
PINAL COUNTY TREASURER
PO BOX 729                                                                  RS Legacy Corporation fka RadioShack
FLORENCE, AZ 85132‐0729                                 1003      3/17/2015 Corporation                                                                                         $504.98                                                     $504.98

The City of San Antonio, acting by and through CITY
PUBLIC SERVICE BOARD ("CPS Energy")
CPS Energy ‐ Bankruptcy Section
145 Navarro ‐ Mail Drop 110910                                              RS Legacy Corporation fka RadioShack
San Antonio, TX 78205                                   1004      3/17/2015 Corporation                                                $12,957.97                                                                                        $12,957.97
City of San Jose, Finance Department
200 E. Santa Clara Street, 13th Floor                                       RS Legacy Corporation fka RadioShack
San Jose, CA 95113                                      1005      3/13/2015 Corporation                                                  $2,349.38                                                                                        $2,349.38
Seminole County Tax Collector
Ray Valdes
1101 East First Street
PO Box 630                                                                  RS Legacy Corporation fka RadioShack
Sanford, FL 32772                                       1006      3/16/2015 Corporation                                                                                          $28.06                                                      $28.06
R.I. Division of Taxation
One Capitol Hill                                                            RS Legacy Corporation fka RadioShack
Providence, RI 02908                                    1007      3/18/2015 Corporation                                                                     $1,000.00                                                                     $1,000.00
Oster Linden Properties, LLC
Lasser Hochman, L.L.C.
Richard L. Zucker, Esq.
75 Eisenhower Parkway                                                       RS Legacy Corporation fka RadioShack
Roseland, NJ 07068                                      1008      3/19/2015 Corporation                                                $44,949.73                                                                   $3,317.55            $48,267.28



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                                                                                                                         Current General                                           Current 503(b)(9)
                                                                                                                                              Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address          Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                    Amount
Berkeley Realty Associates, LLC
PO Box 1026                                                          RS Legacy Corporation fka RadioShack
Melville, NY 11747                               1009      3/18/2015 Corporation                                                $64,010.14                                                                                        $64,010.14
Dominion Hope Gas
48 Columbia Blvd                                                     RS Legacy Corporation fka RadioShack
Clarksburg, WV 26301                             1010      3/13/2015 Corporation                                                    $224.19                                                                                          $224.19
Northtowne, Inc. Trustee
Benjamin J. Berger and David B. Anthony
Berger Harris LLP
1105 N. Market Street, 11th Floor                                    RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                             1011      3/20/2015 Corporation                                                  $9,300.84                                                                                        $9,300.84
Felicoano, Melvin M. Nogueras
317 Ave. Munoz Rivera S                                              RS Legacy Corporation fka RadioShack
Cayey , PR 00736                                 1012      3/20/2015 Corporation                                                                         $0.00                                                                         $0.00
Alicea Hernandez, Kiomaris
Urb. Cana w‐w‐16 Calle 19                                            RS Legacy Corporation fka RadioShack
Bayamon, PR 00957                                1013      3/20/2015 Corporation                                                                         $0.00                                                                         $0.00
SEMINOLE COUNTY TAX COLLECTOR
RAY VALDES
1101 East First Street
PO Box 630                                                           RS Legacy Corporation fka RadioShack
Sanford , FL 32772                               1014      3/16/2015 Corporation                                                                                           $0.00                                                       $0.00
United Parcel Service (Freight)
c/o Receivable Management Services ("RMS")
PO Box 4396                                                          RS Legacy Corporation fka RadioShack
Timonium, MD 21094                               1015      3/23/2015 Corporation                                                $12,592.08                                                                                        $12,592.08
Duane W. Metzger, Trustee Metzger Family GST
Non‐Exempt Martial Trust
543 McCall Avenue                                                    RS Legacy Corporation fka RadioShack
Sanger, CA 93657                                 1016      3/23/2015 Corporation                                                $45,392.36                                                                                        $45,392.36
United Parcel Service
c/o Receivable Management Services ("RMS")
PO box 4396                                                          RS Legacy Corporation fka RadioShack
Timonium, MD 21094                               1017      3/23/2015 Corporation                                                    $392.57                                                                                          $392.57
Southwest Gas Corporation
PO Box 1498                                                          RS Legacy Corporation fka RadioShack
Victorville, ca 92393‐1498                       1018      3/23/2015 Corporation                                                  $4,704.57                                                                                        $4,704.57
Action Plumbing Inc.
7 East Stow Rd                                                       RS Legacy Corporation fka RadioShack
Marlton, NJ 08053                                1019      3/23/2015 Corporation                                                  $2,196.38                                                                                        $2,196.38
Clarson, John P.
4200 Ranier Court                                                    RS Legacy Corporation fka RadioShack
Fort Worth, TX 76109                             1020      3/25/2015 Corporation                                                $86,256.45                                                                                        $86,256.45
Lugo Serrano, Karla Mariel
HC 20 Box 26327                                                      RS Legacy Corporation fka RadioShack
San Lorenzo, PR 00754                            1021      3/23/2015 Corporation                                                                         $0.00                                                                         $0.00
711 Hope LP dba Wilshire, LLC
1007 N. Sepulveda Blvd., #1237                                       RS Legacy Corporation fka RadioShack
Manhattan Beach, CA 90267‐1237                   1022      3/23/2015 Corporation                                                      $0.00                                                                      $0.00                 $0.00
Charter Fire Protection, Inc
PO Box 4578                                                          RS Legacy Corporation fka RadioShack
Pasadena, TX 77502                               1023      3/25/2015 Corporation                                                  $3,085.13                                                                                        $3,085.13



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                                                                                                                               Current General                                           Current 503(b)(9)
                                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                    Amount
Wick Shopping Plaza Associates, L.L.C.
PO Box 29                                                                  RS Legacy Corporation fka RadioShack
Woodbridge, NJ 07095                                   1024      3/25/2015 Corporation                                                      $0.00                                                                                            $0.00
Marilyn E. Wood, Revenue Commissioner
PO Drawer 1169                                                             RS Legacy Corporation fka RadioShack
Mobile, AL 36633‐1169                                  1025      3/25/2015 Corporation                                                                                           $0.00                                                       $0.00
Kern County Treasurer and Tax Collector
PO Box 579                                                                 RS Legacy Corporation fka RadioShack
Bakersfield, CA 93302‐0579                             1026      3/25/2015 Corporation                                                                     $2,333.75                                                                     $2,333.75
Amazing Heating & Air Conditioning, Inc.
1922 Light Street                                                          RS Legacy Corporation fka RadioShack
Baltimore, MD 21230                                    1027      3/25/2015 Corporation                                                  $2,019.00                                                                                        $2,019.00
Sonoma Media‐ The Press Democrat
c/o CRI
PO Box 3111                                                                RS Legacy Corporation fka RadioShack
Rohnert Park, CA 94927‐3111                            1028      3/25/2015 Corporation                                                $11,873.94                                                                                        $11,873.94
Rodriguez Horta, Ezequiel
PO Box 978                                                                 RS Legacy Corporation fka RadioShack
Hormigueros, PR 00660                                  1029      3/25/2015 Corporation                                                      $0.00                                                                                            $0.00
HENRY & SANDRA FRIEDMAN
8803 S.E. 78TH STREET                                                      RS Legacy Corporation fka RadioShack
Mercer Isl., WA 98040                                  1030      3/25/2015 Corporation                                                  $8,706.04                                                                                        $8,706.04
RCG‐ Rome, LLC
RCG Ventures, LLC
Attn: Carisa LeClair
3060 Peachtree Road NW
Suite 400                                                                  RS Legacy Corporation fka RadioShack
Atlanta, GA 30305                                      1031      3/25/2015 Corporation                                                $22,553.63                                                                                        $22,553.63
RCG‐ Miamisburg, LLC
c/o RCG‐Ventures I, LLC
3060 Peachtree Road NW, Suite 400                                          RS Legacy Corporation fka RadioShack
Atlanta, GA 30305                                      1032      3/25/2015 Corporation                                                                                                                                 $0.00                 $0.00
Bonilla Pedraza, Janisse G.
Quintas Valle Verde Calle Coqui # 10                                       RS Legacy Corporation fka RadioShack
Yauco, PR 00698                                        1033      3/25/2015 Corporation                                                      $0.00                                                                                            $0.00

Forum Communications Company DBA: Morris Sun
Tribune, The Bemidji Pioneer, West Central Tribune
c/o Tammie Brooks
PO Box 455                                                                 RS Legacy Corporation fka RadioShack
Bemidji, MN 56619                                      1034      3/25/2015 Corporation                                                      $0.00                                                                                            $0.00
Chelan County PUD
PO Box 1231                                                                RS Legacy Corporation fka RadioShack
Wenatchee, WA 98807                                    1035      3/25/2015 Corporation                                                    $154.62                                                                                          $154.62
Rivera Camacho, Magauy
HC 2 Box 2136                                                              RS Legacy Corporation fka RadioShack
Boqueroli, PR 00622                                    1036      3/25/2015 Corporation                                                      $0.00                                                                                            $0.00
Rauworth, Sydney P.
603 S. Grant Ave                                                           RS Legacy Corporation fka RadioShack
Janesville, WI 53548                                   1037      3/25/2015 Corporation                                               $132,097.51                                                                                       $132,097.51




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                                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                   Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                      Amount                                                    Amount
Sanchez Cruz, Jean Carlos
PO Box 1454                                                                   RS Legacy Corporation fka RadioShack
Cabo Rojo, PR 00623                                       1038      3/25/2015 Corporation                                                      $0.00                                                                                            $0.00
Barneset, Nannette Troche
Hc02 Box 11765                                                                RS Legacy Corporation fka RadioShack
Yauco, PR 00698                                           1039      3/25/2015 Corporation                                                                         $0.00                                                                         $0.00

J. Grothe Electric, Inc. DBA JG Service Company
15632 El Prado Rd.                                                            RS Legacy Corporation fka RadioShack
Chino, CA 91710                                           1040      3/25/2015 Corporation                                                      $0.00                                                                                            $0.00
Rosa, Alexandra Figueroa
Hacienda La Matilde Calle
Surco 5449                                                                    RS Legacy Corporation fka RadioShack
Ponce, PR 00728                                           1041      3/25/2015 Corporation                                                                         $0.00                                                                         $0.00
Ruby Rental Properties LLC
c/o James S. Yoder, White and WIlliams LLC
824 N. Market St.                                                             RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                                      1042      3/25/2015 Corporation                                                $19,759.43                                                                                        $19,759.43
Cassidy Turley Commercial Real Estate Services, Inc.,
As Receiver
David M. Powlen
Kevin G. Collins
Barnes & Thornburg LLP
1000 N. West Street, Suite 1500                                               RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                                      1043      3/25/2015 Corporation                                                $42,528.16                                                                                        $42,528.16
LaFrenie Waste
Charles LaFrenie
5912 Leprechaun Dr                                                            RS Legacy Corporation fka RadioShack
Bethel Park, PA 15102                                     1044      3/25/2015 Corporation                                                    $450.00                                                                                          $450.00

Broward County Records, Taxes & Treasury Div.
Attn: Bankruptcy Section
115 S. Andrews Ave. # A‐100                                                   RS Legacy Corporation fka RadioShack
Ft. Lauderdale, FL 33301                                  1045      3/25/2015 Corporation                                                                                       $1,836.77                                                   $1,836.77
RCG‐ Rome, LLC
c/o RCG‐Ventures I, LLC
3060 Peachtree Road NW, Suite 400                                             RS Legacy Corporation fka RadioShack
Atlanta, GA 30305                                         1046      3/25/2015 Corporation                                                                                                                               $371.63               $371.63
RCG‐Miamisburg, LLC
Attention: Carisa Leclair
3060 Peachtree Road NW
Suite 400                                                                     RS Legacy Corporation fka RadioShack
Atlanta, GA 30305                                         1047      3/25/2015 Corporation                                                  $1,527.94                                                                                        $1,527.94
Good Mind Industries Co., LTD.
Chien‐Te ho
No.22, Ta Yeou 2nd St.
Ta Fa Industrial District
Kaohsiung City , Ta Liau District 83163                                       RS Legacy Corporation fka RadioShack
Taiwan                                                    1048      3/23/2015 Corporation                                               $311,571.98                                                                                       $311,571.98




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            Creditor Name and Address              Claim No.   Claim Date                    Debtor                          Unsecured Claim                                             Admin Priority
                                                                                                                                                   Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Jebsee. Electronics Co., Ltd.
No. 24‐3, Sinle Road
Tainan 702                                                               RS Legacy Corporation fka RadioShack
Taiwan                                               1049      3/23/2015 Corporation                                                    $235.58                                                     $0.00                                 $235.58
Rich‐Taubman Associates
Andrew S. Conway
200 East Long Lake Road, Suite 300                                       RS Legacy Corporation fka RadioShack
Bloomfield Hills, MI 48304                           1050      3/23/2015 Corporation                                               $163,236.02                                                                                        $163,236.02
EPB FIBER OPTICS
Attn: Legal Services Division
PO Box 182255                                                            RS Legacy Corporation fka RadioShack
Chattanooga, TN 37422‐7255                           1051      3/23/2015 Corporation                                                     $42.49                                                                                            $42.49
Radiant Innovation INC.
1F, No3 Industrial E. 9th Rd.,
Science Based Industrial Park
Hsinchu 300                                                              RS Legacy Corporation fka RadioShack
Taiwan                                               1052      3/23/2015 Corporation                                                $16,320.00                $0.00                                                                    $16,320.00
Inveshare, Inc.
4501 North Point Parkway, Suite 325                                      RS Legacy Corporation fka RadioShack
Alpharetta, GA 30022                                 1053      3/23/2015 Corporation                                                     $75.16               $0.00                                                                        $75.16
Denny, Annemarie
PO Box 122534                                                            RS Legacy Corporation fka RadioShack
Fort Worth , TX 76121                                1054      3/23/2015 Corporation                                                  $2,333.48          $12,475.00                                                                    $14,808.48
Ontario Municipal Utilities Company
1333 S Bon View Avenue                                                   RS Legacy Corporation fka RadioShack
Ontario, CA 91761‐4404                               1055      3/24/2015 Corporation                                                    $540.67                                                                                           $540.67
Ohio Bureau of Workers' Compensation
PO Box 15567                                                             RS Legacy Corporation fka RadioShack
Columbus, OH 43215‐0567                              1056      3/23/2015 Corporation                                                                     $43,471.72                                                                    $43,471.72
USA Hauling & Recycle Inc.
PO Box 808                                                               RS Legacy Corporation fka RadioShack
East Windsor , CT 06088                              1057      3/23/2015 Corporation                                                  $3,351.68                                                                                         $3,351.68
Ellis County Newspapers, Inc
PO Box 100                                                               RS Legacy Corporation fka RadioShack
Ennis, TX 75120                                      1058      3/26/2015 Corporation                                                    $206.25                                                     $0.00                                 $206.25
Clearview Mall Associates, By J. J. Gumberg Co.,
Agent
H. Brian Peck, Esquire
198 Canterbury Road                                                      RS Legacy Corporation fka RadioShack
McMurray, PA 15317                                   1059      3/26/2015 Corporation                                                $77,606.94                                                                                         $77,606.94
Chargeitspot LLC
111 South Independence Mall East
Suite 810                                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19106                               1060      3/26/2015 Corporation                                                  $1,607.51                                                     $0.00                               $1,607.51
RK Midway LLC
c/o RD Management LLC
810 Seventh Avenue, 10 Flr.                                              RS Legacy Corporation fka RadioShack
New York, NY 10019                                   1061      3/26/2015 Corporation                                                $58,967.74            $3,898.11                                                                    $62,865.85
DEMCO
PO Box 15659                                                             RS Legacy Corporation fka RadioShack
Baton Rouge, LA 70895                                1062      3/25/2015 Corporation                                                  $2,294.70                                                                                         $2,294.70




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            Creditor Name and Address              Claim No.   Claim Date                     Debtor                         Unsecured Claim                                              Admin Priority
                                                                                                                                                    Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                      Amount
KIRKWOOD DB LLC
8235 DOUGLAS AVENUE
SUITE 720                                                                RS Legacy Corporation fka RadioShack
DALLAS, TX 75225                                     1063      3/26/2015 Corporation                                                   $4,961.25                                                                                         $4,961.25
Ayoroa, Jaime R.
RR02 Buzon 3042                                                          RS Legacy Corporation fka RadioShack
Toa Alta , PR 00953                                  1064      3/26/2015 Corporation                                                                           $0.00                                                                         $0.00

City of Garland
c/o Gay, McCall, Isaacks, Gordon & Roberts, P.C.
1919 S. Shiloh Road, Suite 310, LB40                                     RS Legacy Corporation fka RadioShack
Garland , TX 75042                                   1065      3/20/2015 Corporation                                                                                         $3,943.99                                                   $3,943.99

Garland Independent School District
c/o Gay, McCall, Isaacks, Gordon & Roberts, P.C.
1919 S. Shiloh Road, Suite 310, LB40                                     RS Legacy Corporation fka RadioShack
Garland, TX 75042                                    1066      3/20/2015 Corporation                                                                                         $9,398.81                                                   $9,398.81
Metropolitan Utilities District
1723 Harney St                                                           RS Legacy Corporation fka RadioShack
Omaha , NE 68102                                     1067      3/26/2015 Corporation                                                   $4,844.23                                                                                         $4,844.23
Skyway Regional Shopping Center, LLC
166 East 14000 South Ste. 10                                             RS Legacy Corporation fka RadioShack
Draper, UT 84020                                     1068      3/25/2015 Corporation                                                     $679.51                                                                                           $679.51
Peyton C. Cochrane, Tax Collector, Tuscaloosa
County, Alabama
714 Greensboro Avenue, Room 124                                          RS Legacy Corporation fka RadioShack
Tuscaloosa, AL 35401                                 1069      3/23/2015 Corporation                                                                                           $484.35                                                     $484.35
State of Maine Bureau of Revenue Services
Compliance Division
Compliance Division
PO Box 9101                                                              RS Legacy Corporation fka RadioShack
Augusta, ME 04332‐9101                               1070      3/23/2015 Corporation                                                                      $56,088.82                                                                    $56,088.82
Department of the Treasury ‐ Internal Revenue
Service
PO Box 7346
Philadelphia, PA 19101‐7346                          1071      3/23/2015 TRS Quality, Inc.                                                                     $0.00                                                                         $0.00
Negrón Casillas, Angelique
Urb. Olympic Ville #238                                                  RS Legacy Corporation fka RadioShack
Las Piedras, PR 00771                                1072      3/23/2015 Corporation                                                                           $0.00                                                                         $0.00
Zimmer Radio of Mid‐Missouri/Zimmer Radio &
Marketing Group Inc.
3215 Lemone Industrial Blvd, Ste 200                                     RS Legacy Corporation fka RadioShack
Columbia, MO 65201                                   1073      3/23/2015 Corporation                                                   $1,644.75                                                                                         $1,644.75
M/M Jason Scotti
46 Gerard Road                                                           RS Legacy Corporation fka RadioShack
Nutley , NJ 07110                                    1074      3/23/2015 Corporation                                                                           $0.00                                                                         $0.00
City of Boston
Treasury Department
Bankruptcy Coordinator
City Hall Room M‐5
One City Hall Square                                                     RS Legacy Corporation fka RadioShack
Boston, MA 02201                                     1075      3/23/2015 Corporation                                                                          $0.00                                                                          $0.00



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                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                    Amount
ACTION DYERSBURG LLC
110 N JERRY CLOWER BLVD, STE W                                          RS Legacy Corporation fka RadioShack
YAZOO CITY, MS 39194                                1076      3/23/2015 Corporation                                                  $5,111.66                                                                                        $5,111.66
NNE Associates, LLC
Steven M. Crell, Attorney
8888 Keystone Crossing Blvd.
Suite 800                                                               RS Legacy Corporation fka RadioShack
Indianapolis, IN 46240                              1077      3/23/2015 Corporation                                                $58,229.79                                                                                        $58,229.79
Perez, Wilmer Rodriguez
HC 04 Box 12396                                                         RS Legacy Corporation fka RadioShack
Yauco, PR 00698                                     1078      3/23/2015 Corporation                                                                         $0.00                                                                         $0.00
Frias Diaz, Arlene
281 Calle Del Rio Villa Palmeras                                        RS Legacy Corporation fka RadioShack
Santurce, PR 00912                                  1079      3/23/2015 Corporation                                                                         $0.00                                                                         $0.00
Alvarez, Davies
Calle Florentino‐ Roman G‐21
Villa San Anton                                                         RS Legacy Corporation fka RadioShack
Carolina, PR 00987                                  1080      3/23/2015 Corporation                                                      $0.00                                                                                            $0.00
Torres Vega, Yaleen
Calle Tanque 95
Bda. Venezuela                                                          RS Legacy Corporation fka RadioShack
San Juan, PR 00926                                  1081      3/23/2015 Corporation                                                                         $0.00                                                                         $0.00
Edmund W. Yee, Managing Partner ‐ Campus Plaza,
LLC
2421 Flintridge Drive                                                   RS Legacy Corporation fka RadioShack
Glendale, CA 91206                                  1082      3/23/2015 Corporation                                               $163,676.00                                                                                       $163,676.00
Los Angeles News Group ‐ Media News Group
12320 Oracle Blvd Suite 310                                             RS Legacy Corporation fka RadioShack
Colorado Springs, CO 80921                          1083      3/23/2015 Corporation                                                $34,656.62                                                                                        $34,656.62
Monterey County Herald ‐ MediaNews Group
12320 Oracle Blvd, Suite 310                                            RS Legacy Corporation fka RadioShack
Colorado Springs, CO 80921                          1084      3/23/2015 Corporation                                                  $8,225.58                                                                                        $8,225.58
Ukiah Daily Journal ‐ MediaNews Group
12320 Oracle Blvd, Suite 310                                            RS Legacy Corporation fka RadioShack
Colorado Springs, CO 80921                          1085      3/23/2015 Corporation                                                  $1,500.18                                                                                        $1,500.18
Arroyo Mercado, Delmer M
Urb. Alturas de Flamboyan
L4 Calle4                                                               RS Legacy Corporation fka RadioShack
Bayamon, PR 00959                                   1086      3/23/2015 Corporation                                                                         $0.00                                                                         $0.00
The Ukiah Daily Journal‐ Median News Group
12320 Oracle Blvd, Suite 310                                            RS Legacy Corporation fka RadioShack
Colorado Springs, CO 80921                          1087      3/23/2015 Corporation                                                    $221.00                                                                                          $221.00
EPB of Chattanooga
Attn: Legal Services Division
PO Box 182255                                                           RS Legacy Corporation fka RadioShack
Chattanooga, TN 37422‐7255                          1088      3/23/2015 Corporation                                                  $2,832.76                                                                                        $2,832.76
Millennial Media, Inc.
2400 Boston St., Suite 300                                              RS Legacy Corporation fka RadioShack
Baltimore, MD 21224                                 1089      3/23/2015 Corporation                                               $190,235.42                                                                                       $190,235.42
HULLINGER, MARK ALLEN
2009 Marble Pass RD                                                     RS Legacy Corporation fka RadioShack
Keller, TX 76248                                    1090      3/23/2015 Corporation                                               $702,717.00                                                                                       $702,717.00



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            Creditor Name and Address             Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
Dolphin Mall Associates LLC
200 East Long Lake Road
Suite 300                                                               RS Legacy Corporation fka RadioShack
Bloomfield Hills, MI 48304                          1091      3/23/2015 Corporation                                                                                                                             $24,377.64            $24,377.64
Montgomery County Treasurer
755 Roanoke Street, Suite 1B                                            RS Legacy Corporation fka RadioShack
Christiansburg, VA 24073                            1092      3/23/2015 Corporation                                                                                            $0.00                                                       $0.00
LAMAR CAD
Elizabeth Weller
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Freeway
Suite 1000                                                              RS Legacy Corporation fka RadioShack
Dallas, TX 75207                                    1093      3/23/2015 Corporation                                                                                        $5,876.92                                                   $5,876.92
Comfort Engineering Co.
111 Greycliff Manor Dr.                                                 RS Legacy Corporation fka RadioShack
St. Louis, MO 63129                                 1094      3/23/2015 Corporation                                                   $4,919.44                              $744.10                                                   $5,663.54
Duane W. Metzger, Trustee Metzger Family GST
Non‐Exempt Marital Trust
543 McCall Avenue                                                       RS Legacy Corporation fka RadioShack
Sanger, CA 93657                                    1095      3/23/2015 Corporation                                                       $0.00                                                                                            $0.00
Radiant Innovation Inc.
1F. No3. Industrial E. 9th Rd.
Screna‐Based Industrial Park
Hsa Chu                                                                 RS Legacy Corporation fka RadioShack
Taiwan 300                                          1096      3/23/2015 Corporation                                                 $16,320.00               $0.00                                                                    $16,320.00
Lexel Battery (Shenzhen) Co., Ltd.
No.2, Guangtian Road, Lexel Technology Park
3rd Industrial Park, Luotian Village, Songgang,                         RS Legacy Global Sourcing Limited Partnership
Bao'an, Shenzhen 518105                                                 fka RadioShack Global Sourcing Limited
China                                               1097      3/20/2015 Partnership                                                $247,796.43                                              $568,435.97                              $816,232.40
Grant Plaza Acquisition, LP
2400 Route 1                                                            RS Legacy Corporation fka RadioShack
North Brunswick , NJ 08902                          1098      3/20/2015 Corporation                                                 $10,054.42               $0.00                                               $1,774.30            $11,828.72
DAILY JEFFERSON COUNTY UNION
PO BOX 801                                                              RS Legacy Corporation fka RadioShack
FORT ATKINSON, WI 53538                             1099      3/20/2015 Corporation                                                     $324.00                                                                                          $324.00
Candelario Merced, Juan C.
Calle 13 DC‐6 Urb. Bairoa                                               RS Legacy Corporation fka RadioShack
Caguas, PR 00725                                    1100      3/17/2015 Corporation                                                                          $0.00                                                                         $0.00
State of Maine Bureau of Revenue Services
Compliance Division
PO Box 9101                                                             RS Legacy Corporation fka RadioShack
Augusta, ME 04332‐9101                              1101      3/23/2015 Corporation                                                                          $0.00                                                                         $0.00
Corporation Service Company
2711 Centerville Road, Suite 400                                        RS Legacy Corporation fka RadioShack
Wilmington, DE 19808                                1102      3/26/2015 Corporation                                                 $21,221.14                                                                                        $21,221.14
Brown, Rekeicha
PO Box 54                                                               RS Legacy Corporation fka RadioShack
Gulfport, MS 39502                                  1103      3/26/2015 Corporation                                                      $30.00                                                                                           $30.00
MIDDLESEX ASSOCIATES LLP
2800 QUARRY LAKE DRIVE ‐ SUITE 340                                      RS Legacy Corporation fka RadioShack
BALTIMORE, MD 21209                                 1104      3/26/2015 Corporation                                                   $1,218.27                                                                                        $1,218.27



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            Creditor Name and Address               Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                    Amount
Rodriguez Vega, Ashley M.
RR1 Buzon 2370                                                            RS Legacy Corporation fka RadioShack
Anasco, PR 00610                                      1105      3/26/2015 Corporation                                                                         $0.00                                                                         $0.00
Rivera, Luis Sepulveda
Urb. Rio Cristal
634 Calle Frank Souffront                                                 RS Legacy Corporation fka RadioShack
Mayaguez, PR 00680                                    1106      3/26/2015 Corporation                                                                         $0.00                                                                         $0.00

Northtowne Associates, by J.J. Gumberg Co., Agent
H. Brian Peck, Esquire
198 Canterbury Road                                                       RS Legacy Corporation fka RadioShack
McMurray, PA 15317                                    1107      3/26/2015 Corporation                                                  $1,817.81                                                                                        $1,817.81
La La Holdings, LLC
4457 Willard Avenue                                                       RS Legacy Corporation fka RadioShack
Chevy Chase, MD 20815                                 1108      3/26/2015 Corporation                                               $113,893.78               $0.00                                               $6,707.49           $120,601.27
BACM 2004‐6 1475 Upper Valley Pike LLC *
Demetra L. Liggins
333 Clay St., Suite 3300                                                  RS Legacy Corporation fka RadioShack
Houston , TX 77002                                    1109      3/26/2015 Corporation                                               $181,888.93                                                                                       $181,888.93
Western Massachusetts Electric Company dba
Everyone
Eversource
PO Box 2899                                                               RS Legacy Corporation fka RadioShack
Hartford, CT 06101‐8307                               1110      3/23/2015 Corporation                                                  $3,943.97                                                                                        $3,943.97
RB SEMINOLE LLC
C/O RD MANAGEMENT LLC
810 SEVENTH AVENUE, 10TH FLOOR                                            RS Legacy Corporation fka RadioShack
NEW YORK, NY 10019                                    1111      3/26/2015 Corporation                                                $56,130.77                                                                   $3,508.17            $59,638.94
Forest City Commercial Management, Inc.
BPC Henderson, LLC
50 Public Square, Terminal Tower, Suite 1360                              RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                   1112      3/23/2015 Corporation                                               $120,618.77                                                                                       $120,618.77
Zel‐Fran Investments (1201 Williams St. #18,
Denver, Colorado 80218)
Husch Blackwell LLP
Attn: Seth Weiland
1700 Lincoln Street
Suite 4700                                                                RS Legacy Corporation fka RadioShack
Denver, CO 80203                                      1113      3/27/2015 Corporation                                                  $3,326.23                                                                                        $3,326.23
SEROTA WADING RIVER, LLC.
c/o Certilman Balin Adler & Hyman, LLP.
90 Merrick Avenue                                                         RS Legacy Corporation fka RadioShack
East Meadow, NY 11554                                 1114      3/27/2015 Corporation                                                $59,142.86                                                                                        $59,142.86
FEINROSE DOWNING, LLC.
c/o Certilman Balin Adler & Hyman, LLP.
90 Merrick Avenue                                                         RS Legacy Corporation fka RadioShack
East Meadow, NY 11554                                 1115      3/27/2015 Corporation                                               $112,587.08                                                                                       $112,587.08
Luckett, Daphne
3904 Cedar Street                                                         RS Legacy Corporation fka RadioShack
Centerville, TN 37033                                 1116      3/27/2015 Corporation                                                                                                              $60.00                                  $60.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                    Amount
R/M Vacaville Ltd., LP
c/o Trainor Fairbrook
980 Fulton Avenue                                              RS Legacy Corporation fka RadioShack
Sacramento, CA 95825                       1117      3/27/2015 Corporation                                               $119,319.80                                                                                       $119,319.80
Verve Wireless, Inc.
5973 Avenida Encinas, Suite 101                                RS Legacy Corporation fka RadioShack
Carlsbad, CA 92008                         1118      3/27/2015 Corporation                                                $74,196.33                                                                                        $74,196.33
Ohio Bureau of Workers' Compensation
PO Box 15567                                                   RS Legacy Corporation fka RadioShack
Columbus, OH 43215‐0567                    1119      3/26/2015 Corporation                                               $419,889.21                                                                                       $419,889.21
Chester Water Authority
PO Box 467                                                     RS Legacy Corporation fka RadioShack
Chester, PA 19016                          1120      3/20/2015 Corporation                                                     $30.12                                                                                           $30.12
Yankee Gas Company dba Eversource
PO Box 2899                                                    RS Legacy Corporation fka RadioShack
Hartford, CT 06101‐8307                    1121      3/23/2015 Corporation                                                $12,278.56                                                                                        $12,278.56
Smith, Tonia
8966 Green Castle Wy                                           RS Legacy Corporation fka RadioShack
Houston, TX 77095                          1122      3/30/2015 Corporation                                                                                          $60.00               $0.00                                  $60.00
Abbott, Carlene C.
25800 Amherst Road                                             RS Legacy Corporation fka RadioShack
Amherst, NE 68812                          1123      3/30/2015 Corporation                                                     $60.00                                                                                           $60.00
Vazquez Santiago, Ivette
117 Calle 2 Urb. Jardines del Caribe                           RS Legacy Corporation fka RadioShack
Ponce, PR 00728                            1124      3/27/2015 Corporation                                                                         $0.00                                                                         $0.00
AmREIT Preston Royal NEC, LP
Jim Lombardi, Esquire
Ross, Banks, May, Cron & Cavin, P.C.
2 Riverway, Suite 700                                          RS Legacy Corporation fka RadioShack
Houston, TX 77056                          1125      3/30/2015 Corporation                                                $21,001.92                                                                                        $21,001.92
AmREIT Preston Royal NEC, LP
Attn: Jim Lombardi, Esquire
Ross, Banks, May, Cron & Cavin, P.C
2 Riverway
Suite 700                                                      RS Legacy Corporation fka RadioShack
Houston, TX 77056                          1126      3/30/2015 Corporation                                                                         $0.00                             $6,499.08                               $6,499.08
Surrey Fondren Investors, LLC
Benjamin R. Picker, Esquire
McCausland Keen & Buckman
259 North Radnor‐Chester Road
Radnor Court, Suite 160                                        RS Legacy Corporation fka RadioShack
Radnor, PA 19087                           1127      3/30/2015 Corporation                                                $37,700.88           $4,265.87                                                                    $41,966.75
DiCentral Corporation
1199 Nasa Pkwy                                                 RS Legacy Corporation fka RadioShack
Houston, TX 77058                          1128      3/30/2015 Corporation                                                    $137.60                                                                                          $137.60
Vazquez, Brandon
35 Heartleaf Ln.                                               RS Legacy Corporation fka RadioShack
Magnolia, DE 19962                         1129      3/30/2015 Corporation                                                                                                               $0.00                                   $0.00
Durant, David
1016 Stuyvesant Ave                                            RS Legacy Corporation fka RadioShack
Irvington, NJ 07111                        1130      3/30/2015 Corporation                                                                         $0.00                                 $0.00                                   $0.00




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            Creditor Name and Address       Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                          Amount                                                    Amount
Kissimmee Utility Authority
LeeAnn Dorsey
1701 W. Carroll St.                                               RS Legacy Corporation fka RadioShack
Kissimmee, FL 34744                           1131      3/27/2015 Corporation                                                    $587.02                                                                                          $587.02
T Adrian Mall LLC
16600 North Dallas Parkway
Suite 300                                                         RS Legacy Corporation fka RadioShack
Dallas , TX 75248                             1132      3/27/2015 Corporation                                                  $4,650.00                                                                                        $4,650.00
Meletiche Cintron, Jorge O.
P.O. Box 8257                                                     RS Legacy Corporation fka RadioShack
Ponce, PR 00732                               1133      3/27/2015 Corporation                                                                         $0.00                                                                         $0.00
Northridge Plaza 07 A, LLC
Attn: Tim M. Swanson, Esq.
Moye White LLP
16 Market Square, 6th Floor
1400 16th Street                                                  RS Legacy Corporation fka RadioShack
Denver, CO 80202‐1486                         1134      3/30/2015 Corporation                                                $69,073.60                                                                                        $69,073.60
Claim Docketed In Error                                           RS Legacy Corporation fka RadioShack
                                              1135      3/27/2015 Corporation                                                                                                                                                       $0.00
T NORTHGATE MALL LLC
16600 DALLAS PKWY., SUITE 300                                     RS Legacy Corporation fka RadioShack
DALLAS, TX 75248                              1136      3/27/2015 Corporation                                                  $2,489.58                                                                                        $2,489.58
Sampson Crossing, LLLP
Horack Talley Pharr & Lowndes, ATTN: John
H.Capitano
301 South College St., Suite 2600                                 RS Legacy Corporation fka RadioShack
Charlotte, NC 28202                           1137      3/27/2015 Corporation                                                  $3,621.68                                                                                        $3,621.68
Venner Shipley LLP
200 Aldersgate
London EC1A 4HD                                                   RS Legacy Corporation fka RadioShack
United Kingdom                                1138      3/26/2015 Corporation                                                  $1,155.00                                                                                        $1,155.00
Southstar Holdings‐ Rock Hill, LLC
Horack Talley Pharr & Lowndes
Attn: John H. Capitano
301 South College St.
Suite 2600                                                        RS Legacy Corporation fka RadioShack
Charlotte, NC 28202                           1139      3/27/2015 Corporation                                                $35,997.92                                                                                        $35,997.92
LVM Limited Partnership
Lawrence D. Coppel
Gordon Feinblatt LLC
233 E. Redwood Street                                             RS Legacy Corporation fka RadioShack
Baltimore, MD 21202                           1140      3/27/2015 Corporation                                                      $0.00                                                                                            $0.00
West Lake Associates, LLC
Attn: V. Castaldo
14 Headwaters Place                                               RS Legacy Corporation fka RadioShack
Barnegat, NJ 08005                            1141      3/27/2015 Corporation                                                $11,508.88                                                                                        $11,508.88
R/M Vacaville Ltd., LP
c/o Trainor Fairbrook
980 Fulton Avenue                                                 RS Legacy Corporation fka RadioShack
Sacramento, CA 95825                          1142      3/27/2015 Corporation                                                      $0.00                                                                  $5,896.85             $5,896.85




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            Creditor Name and Address       Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                          Amount                                                    Amount
CONCORD LAND & DEVELOPMENT LLC
568 JETTON ST STE 200                                             RS Legacy Corporation fka RadioShack
DAVIDSON, NC 28036                            1143      3/27/2015 Corporation                                                                                           $0.00                                                       $0.00
Southern Trails Shopping Center, L.L.C.
Nicholas R. Grillot, Hinkle Law Firm, LLC
301 North Main, Suite 2000                                        RS Legacy Corporation fka RadioShack
Wichita, KS 67202‐4820                        1144      3/27/2015 Corporation                                                                         $0.00                                                                         $0.00
4801 Hulen, LLC
Nicholas R. Grillot, Hinkle Law Firm, LLC
301 North Main, Suite 2000                                        RS Legacy Corporation fka RadioShack
Wichita, KS 67202‐4820                        1145      3/27/2015 Corporation                                                  $2,953.76          $5,508.22                                                                     $8,461.98
Tower Avenue Partners, LLC
2230 London Road, Suite 100                                       RS Legacy Corporation fka RadioShack
Duluth, MN 55812                              1146      3/27/2015 Corporation                                                $22,631.65               $0.00                                                                    $22,631.65
Massey, Bertha
131 Cumberland Walk ‐ Apt 5E                                      RS Legacy Corporation fka RadioShack
Brooklyn, NY 11205                            1147      3/27/2015 Corporation                                                     $60.00                                                                                           $60.00
Montanez Concepcion, Catherine
Alterasde Interanericana Calle ‐11‐p‐19                           RS Legacy Corporation fka RadioShack
Trujillo Alto, PR 00976                       1148      3/27/2015 Corporation                                                                         $0.00                                                                         $0.00
Albemarle Crossing II, LLC
Horack Talley Pharr & Lowndes, P.A.
Attn: John H. Capitano
301 South College St., Suite 2600                                 RS Legacy Corporation fka RadioShack
Charlotte, NC 28202                           1149      3/27/2015 Corporation                                                $11,174.07                                                                                        $11,174.07
FEINROSE DOWNING, LLC.
c/o Certilman Balin Adler & Hyman, LLP
90 Merrick Avenue                                                 RS Legacy Corporation fka RadioShack
East Meadow, NY 11554                         1150      3/27/2015 Corporation                                                  $7,331.26                                                                                        $7,331.26
SEROTA WADING RIVER, LLC.
c/o Certilman Balin Adler & Hyman, LLP.
90 Merrick Avenue                                                 RS Legacy Corporation fka RadioShack
East Meadow, NY 11554                         1151      3/27/2015 Corporation                                                  $5,142.86                                                                                        $5,142.86
BSV Dekalb LLC
Stephen A. Metz, Esquire
Shulman Rogers Gandal Pordy & Ecker, PA
12505 Park Potomac Avenue, 6th Floor                              RS Legacy Corporation fka RadioShack
Potomac, MD 20854                             1152      3/27/2015 Corporation                                                $37,923.21                                                                                        $37,923.21
Planitretail, LLC
PO Box 363                                                        RS Legacy Corporation fka RadioShack
Granby, CT 06090                              1153      3/27/2015 Corporation                                                $84,784.25                                                                                        $84,784.25
116 ST. REALITY LLC
173 East 116th Street ‐ Second Floor                              RS Legacy Corporation fka RadioShack
New York, NY 10029                            1154      3/26/2015 Corporation                                                $25,333.34                                                                                        $25,333.34
Perl Investments, LLC
Higier Allen Lautin, PC (02392.2)
5057 Keller Springs Rd., Suite 600                                RS Legacy Corporation fka RadioShack
Addision , TX 75023                           1155      3/26/2015 Corporation                                                $43,149.65                                                                                        $43,149.65
Reyes‐Alveno, Yashira
Villas de San Cristobal II #327                                   RS Legacy Corporation fka RadioShack
Las Piedras , PR 00771                        1156      3/26/2015 Corporation                                                                         $0.00                                                                         $0.00




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            Creditor Name and Address              Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Connecticut Light and Power DBD Eversource
Eversource
PO Box 2899                                                              RS Legacy Corporation fka RadioShack
Hartford, CT 06101‐8307                              1157      3/19/2015 Corporation                                                       $0.00                                                                                            $0.00
Ontario Municipal Utilities Company
1333 S Bon View Avenue                                                   RS Legacy Corporation fka RadioShack
Ontario, CA 91761‐4404                               1158      3/24/2015 Corporation                                                     $300.72                                                                                          $300.72
Memphis Light, Gas & Water
MLGW/Credit Operations
PO Box 430                                                               RS Legacy Corporation fka RadioShack
Memphis, TN 38101                                    1159      3/24/2015 Corporation                                                   $7,210.52                                                                                        $7,210.52

Collin County Tax Assessor/Collector
c/o Gay, McCall, Isaacks, Gordon & Roberts, P.C.
777 E. 15th St.                                                          RS Legacy Corporation fka RadioShack
Plano, TX 75074                                      1160      3/23/2015 Corporation                                                                                       $11,255.80                                                  $11,255.80
Perez Hernandez, Stephanie Y.
PO Box 248                                                               RS Legacy Corporation fka RadioShack
Juncos, PR 00777                                     1161      3/26/2015 Corporation                                                                          $0.00                                                                         $0.00
Prince William County (Police Department)
Carolyn Pruitt Desai
Prince William County Attorney's Office
1 County Complex Court, Suite 240                                        RS Legacy Corporation fka RadioShack
Prince William, VA 22192                             1162      3/25/2015 Corporation                                                     $100.00                                                                                          $100.00
Faulkner County Tax Collector
806 Faulkner St.                                                         RS Legacy Corporation fka RadioShack
Conway, AR 72034                                     1163      3/23/2015 Corporation                                                                      $3,888.61                                                                     $3,888.61
Department of the Treasury ‐ Internal Revenue
Service                                                                  RS Legacy Global Sourcing Limited Partnership
PO Box 7346                                                              fka RadioShack Global Sourcing Limited
Philadelphia, PA 19101‐7346                          1164      3/23/2015 Partnership                                                                          $0.00                                                                         $0.00
Rich‐Taubman Associates, a Connecticut general
partnership
Andrew S. Conway
200 East Long Lake Road                                                  RS Legacy Corporation fka RadioShack
Bloomfield Hills, MI 48304                           1165      3/23/2015 Corporation                                                                                                                              $8,907.05             $8,907.05
SKYE‐HILSHIRE, LP
Jayna Lamar, Maynard Cooper & Gale, PC
1901 6 th ave N, Suite 2400                                              RS Legacy Corporation fka RadioShack
Birmingham, AL 35203                                 1166      3/26/2015 Corporation                                                 $59,532.90                                                                                        $59,532.90
Vidal, Luciano
3038 Fry Rd
Unit 2                                                                   RS Legacy Corporation fka RadioShack
Katy, TX 77449                                       1167      3/27/2015 Corporation                                                 $13,077.00                                                                                        $13,077.00
Esquilin, Yaileen Castro
Condominio Veredas del Rio
Apt. B 112                                                               RS Legacy Corporation fka RadioShack
Carolina, PR 00987                                   1168      3/27/2015 Corporation                                                                          $0.00             $0.00                                                       $0.00
Sansone Fenton Plaza, LLC
c/o Stuart Radloff, Attorney
13321 N. Outer 40 Road, Suite 800                                        RS Legacy Corporation fka RadioShack
Town and Country, MO 63017                           1169      3/30/2015 Corporation                                                   $7,281.23                                                                                        $7,281.23



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                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                    Amount
Cedar Falls Utilities (CFU)
Molly Cormaney
1 Utiliy Parkway                                                         RS Legacy Corporation fka RadioShack
Cedar Falls, IA 50613                                1170      3/30/2015 Corporation                                                    $691.82                                                                                          $691.82
City of Lebanon
50 S. Broadway                                                           RS Legacy Corporation fka RadioShack
Lebanon, OH 45036                                    1171      3/30/2015 Corporation                                                      $0.00                                                                                            $0.00
Point Plaza, LLC
John C. La Liberte, Esq.
Sherin and Lodgen LLP
101 Federal Street                                                       RS Legacy Corporation fka RadioShack
Boston, MA 02110                                     1172      3/27/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00

City of Tomball
Michael J. Darlow
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600                                                                RS Legacy Corporation fka RadioShack
Houston, TX 77008                                    1173      3/31/2015 Corporation                                                                                         $642.57                                                     $642.57

1‐800‐Got‐Junk? Commercial Services (USA), LLC
#301 ‐ 887 Great Northern Way
Vancouver, BC V5T 4T5                                                    RS Legacy Corporation fka RadioShack
Canada                                               1174      3/30/2015 Corporation                                                $54,334.87                                                                                        $54,334.87

NYC Office of Administrative Trials and Hearings
James Macron
66 John Street, 10th Floor                                               RS Legacy Corporation fka RadioShack
New York, NY 10038                                   1175      3/30/2015 Corporation                                                $17,176.76                                                                                        $17,176.76

Lakeway Publishers Inc Middle Tennessee Group
Attn: Billy Chandler
Box 625                                                                  RS Legacy Corporation fka RadioShack
Morristown, TN 37815                                 1176      3/31/2015 Corporation                                                    $262.50                                                                                          $262.50
City of Mission, Texas
Utility Billing Dept.
1201 East 8th St.                                                        RS Legacy Corporation fka RadioShack
Mission, TX 78572                                    1177      3/30/2015 Corporation                                                     $48.84                                                                                           $48.84
Ortiz Fonseca, Oscar A.
Calle Leonore
Ax‐9 4th Sec. Levittown                                                  RS Legacy Corporation fka RadioShack
Toabaja, PR 00949                                    1178      3/30/2015 Corporation                                                                         $0.00                                                                         $0.00
City, Water, Light & Power Springfield, IL
Attn: Corporation Counsel
800 E. Monroe St.
Rm. 313                                                                  RS Legacy Corporation fka RadioShack
Springfield, IL 62701                                1179      3/31/2015 Corporation                                                  $2,349.08                                                                                        $2,349.08
Mendez Ocasio, Jose R
748 Calle Algarrobo
URB. Highland Park                                                       RS Legacy Corporation fka RadioShack
San Juan, PR 00924                                   1180      3/30/2015 Corporation                                                                      $298.00                                                                        $298.00




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                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                    Amount
Rodriguez Negron, Fernando
PO Box 163                                                               RS Legacy Corporation fka RadioShack
Juana Diaz, PR 00795                                 1181      3/30/2015 Corporation                                                                         $0.00                                                                         $0.00
Comas Verdejo, Luis Guillermo
Urbanieccion Forest Plantation
#17 Calle Almacigo                                                       RS Legacy Corporation fka RadioShack
Canovanas , PR 00729                                 1182      3/30/2015 Corporation                                                                         $0.00             $0.00                                                       $0.00
Cintron Soto, Sheila
The Residency apt. 1613 Parque Escorial                                  RS Legacy Corporation fka RadioShack
Carolina, PR 00987                                   1183      3/30/2015 Corporation                                                                         $0.00                                                                         $0.00
TONE YE TECHNOLOGY INC.
6F, NO.14, LANE 83 SEC.1,
GUANGFU RD
SANCHONG DIST, NEW TAIPEI CITY 24158                                     RS Legacy Corporation fka RadioShack
TAIWAN                                               1184      3/20/2015 Corporation                                                                                                               $0.00                                   $0.00
Fair Harbor Capital, LLC as transferee for South
Penn Plaza, LLC
Ansonia Finance Station
PO Box 237037                                                            RS Legacy Corporation fka RadioShack
New York, NY 10023                                   1185      3/31/2015 Corporation                                                  $1,416.42              $0.00             $0.00               $0.00             $0.00             $1,416.42
FOXMOOR ASSOCIATES
C/O PETTINARO MANAGEMENT, LLC
J. ERDEK, ESQ.
234 NORTH JAMES                                                          RS Legacy Corporation fka RadioShack
NEWPORT, DE 19804                                    1186      3/31/2015 Corporation                                                  $3,091.67                                                                                        $3,091.67
Lombard, Cathleen
6170 Maclay St                                                           RS Legacy Corporation fka RadioShack
San Bernardino, CA 92407                             1187      3/31/2015 Corporation                                                                                                             $250.00                                 $250.00
Cahill, Regina
105 West Chapel St                                                       RS Legacy Corporation fka RadioShack
Abington, MA 02351                                   1188      3/31/2015 Corporation                                                                       $30.00                                                                         $30.00
Torres Soto, Kedie L
Urb. Villas del Prado 685
Calle la Fuente                                                          RS Legacy Corporation fka RadioShack
Juana diaz, PR 00795                                 1189      3/31/2015 Corporation                                                      $0.00                                                                                            $0.00
Lozada, Roberto O.
P.O. Box 28                                                              RS Legacy Corporation fka RadioShack
Saint Just, PR 00978                                 1190      3/30/2015 Corporation                                                                         $0.00                                                                         $0.00
ALROSE PATCHOGUE LLC
C/O ALROSE GROUP
30 EAST 39TH STREET                                                      RS Legacy Corporation fka RadioShack
NEW YORK, NY 10016                                   1191      3/31/2015 Corporation                                               $681,984.00                                                                                       $681,984.00
Torres Mojica, Miguel E.
Urbanizacion Magnolia Gardens
Calle 20 N17                                                             RS Legacy Corporation fka RadioShack
Bayamon, PR 00956                                    1192      3/31/2015 Corporation                                                                         $0.00                                                                         $0.00
Huber, Daniel
12 Brookhaven Drive                                                      RS Legacy Corporation fka RadioShack
Rocky Point, NY 11778                                1193      3/31/2015 Corporation                                                     $60.00                                                                                           $60.00
POINTROLL INC
3200 HORIZON DR. SUITE 120                                               RS Legacy Corporation fka RadioShack
KING OF PRUSSIA, PA 19406                            1194      3/31/2015 Corporation                                                    $673.02                                                                                          $673.02



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                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                     Amount                                                    Amount
El Mercado Plaza, S.E.
PO Box 474                                                                   RS Legacy Corporation fka RadioShack
Trujillo Alto, PR 00977‐0474                             1195      3/31/2015 Corporation                                                  $3,000.00                                                                                        $3,000.00
WTOP‐FM
WTOP‐AM/FM
3400 Idaho Ave, NW Suite 200                                                 RS Legacy Corporation fka RadioShack
Washington, DC 20016                                     1196      3/31/2015 Corporation                                                  $4,284.00                                                                                        $4,284.00
Gladys Johnson
602 Valley Mills Drive                                                       RS Legacy Corporation fka RadioShack
Arlington, TX 76018‐2290                                 1197      3/31/2015 Corporation                                                  $9,288.00                                                                                        $9,288.00
Hicks, Natalie
537 Yandes St.                                                               RS Legacy Corporation fka RadioShack
Franklin, IN 46131                                       1198      3/31/2015 Corporation                                                    $739.09                                                                                          $739.09
Chin, Carlen
2985 Longview Drive                                                          RS Legacy Corporation fka RadioShack
San Bruno, CA 94066                                      1199      3/31/2015 Corporation                                                     $60.00                                                                                           $60.00
St. Louis Post‐Dispatch
Attn: Kathy Dobson
900 N Tucker Blvd.                                                           RS Legacy Corporation fka RadioShack
St. Louis, MO 63101                                      1200      3/31/2015 Corporation                                                      $0.00                                                                                            $0.00
Mississippi Department of Revenue
Bankruptcy Section
PO Box 22808                                                                 RS Legacy Corporation fka RadioShack
Jackson, MS 39225‐2808                                   1201      3/31/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00

Harris‐Fort Bend Counties Municipal Utility District
#4
Carl O. Sandin
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600                                                                    RS Legacy Corporation fka RadioShack
Houston, TX 77008                                        1202      3/31/2015 Corporation                                                                                       $1,533.48                                                   $1,533.48

City of Meadows Place
Yolanda M. Humphrey
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600                                                                    RS Legacy Corporation fka RadioShack
Houston, TX 77008                                        1203      3/31/2015 Corporation                                                                                         $718.18                                                     $718.18
AVISTA UTILITIES
PO BOX 3727                                                                  RS Legacy Corporation fka RadioShack
SPOKANE, WA 99220                                        1204      3/31/2015 Corporation                                                  $7,433.13                                                                                        $7,433.13

Fort Bend Independent School District
Yolanda M. Humphrey
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600                                                                    RS Legacy Corporation fka RadioShack
Houston, TX 77008                                        1205      3/31/2015 Corporation                                                                                       $5,159.94                                                   $5,159.94




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                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                   Amount
CITY OF HOUSTON
MICHAEL J. DARLOW
PERDUE, BRANDON, FIELDER, COLLINS & MOTT,
L.L.P.
1235 NORTH LOOP WEST
SUITE 600                                                                RS Legacy Corporation fka RadioShack
HOUSTON, TX 77008                                    1206      3/31/2015 Corporation                                                                                      $3,630.95                                                   $3,630.95

The Woodlands Metro Center MUD
Michael J. Darlow
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600                                                                RS Legacy Corporation fka RadioShack
Houston, TX 77008                                    1207      3/31/2015 Corporation                                                                                        $110.04                                                     $110.04

THE WOODLANDS ROAD UTILITY DISTRICT # 1
Michael J. Darlow
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600                                                                RS Legacy Corporation fka RadioShack
Houston, TX 77008                                    1208      3/31/2015 Corporation                                                                                        $227.18                                                     $227.18

Harris County Municipal Utility District #132
Carl O. Sandin
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600                                                                RS Legacy Corporation fka RadioShack
Houston, TX 77008                                    1209      3/31/2015 Corporation                                                                                         $87.58                                                      $87.58

Brazoria County Tax Office
Michael J. Darlow
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600                                                                RS Legacy Corporation fka RadioShack
Houston, TX 77008                                    1210      3/31/2015 Corporation                                                                                     $15,895.44                                                  $15,895.44

Harris County Municipal Utility District #105
Carl O. Sandin
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600                                                                RS Legacy Corporation fka RadioShack
Houston, TX 77008                                    1211      3/31/2015 Corporation                                                                                      $1,031.54                                                   $1,031.54

Walker County Appraisal District
E. Stephen Lee
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
2040 North Loop 336 West, Suite 320                                      RS Legacy Corporation fka RadioShack
Conroe, TX 77304                                     1212      3/31/2015 Corporation                                                                                      $4,581.12                                                   $4,581.12




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                                                                                                                             Current General                                          Current 503(b)(9)
                                                                                                                                                 Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address              Claim No.   Claim Date                    Debtor                          Unsecured Claim                                           Admin Priority
                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                   Amount

Tomball Independent School District
Michael J. Darlow
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600                                                                RS Legacy Corporation fka RadioShack
Houston, TX 77008                                    1213      3/31/2015 Corporation                                                                                      $4,461.78                                                   $4,461.78

City of Rosenberg
Michael J. Darlow
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600                                                                RS Legacy Corporation fka RadioShack
Houston, TX 77008                                    1214      3/31/2015 Corporation                                                                                        $533.73                                                     $533.73

Spring Branch Independent School District
Owen M. Sonik
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600                                                                RS Legacy Corporation fka RadioShack
Houston, TX 77008                                    1215      3/31/2015 Corporation                                                                                      $7,144.92                                                   $7,144.92

Galena Park Independent School District
Owen M. Sonik
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600                                                                RS Legacy Corporation fka RadioShack
Houston, TX 77008                                    1216      3/31/2015 Corporation                                                                                      $2,718.66                                                   $2,718.66
Barna, Kenneth G
147 E Tall Oaks Circle                                                   RS Legacy Corporation fka RadioShack
Palm Beach Gardens, FL 33410                         1217      3/31/2015 Corporation                                               $764,686.50                                                                                      $764,686.50

Harris County Municipal Utility District #249
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
Carl O. Sandin
1235 North Loop West
Suite 600                                                                RS Legacy Corporation fka RadioShack
Houston, TX 77008                                    1218      3/31/2015 Corporation                                                                                        $758.76                                                     $758.76
Southpoint Realty Group LLC.
24 Rutledge Street                                                       RS Legacy Corporation fka RadioShack
Brooklyn, NY 11211                                   1219      3/31/2015 Corporation                                                                                          $0.00                                                       $0.00

Spring Independent School District
Yolanda M. Humphrey
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600                                                                RS Legacy Corporation fka RadioShack
Houston, TX 77008                                    1220      3/31/2015 Corporation                                                                                      $3,719.36                                                   $3,719.36




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                                                                                                                             Current General                                           Current 503(b)(9)
                                                                                                                                                  Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address              Claim No.   Claim Date                    Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                    Amount
South Towne Properties
Mayo Mendolia & Vice, LLP
5189 E. I‐20, N. Service Rd
Suite 104                                                                RS Legacy Corporation fka RadioShack
Willow Park, TX 76087                                1221      3/31/2015 Corporation                                                                                                                                 $0.00                 $0.00
Lesch Tejada, Roberto Jose
URB Pabellones 263 Calle                                                 RS Legacy Corporation fka RadioShack
Toa Baja, PR 00949                                   1222      3/31/2015 Corporation                                                                         $0.00                                                                         $0.00
Goodman Distribution, Inc.
Raymond V. Carroll, Jr.
5151 San Felipe, Suite 500                                               RS Legacy Corporation fka RadioShack
Houston, TX 77056                                    1223      3/30/2015 Corporation                                                $31,224.97                                                                                        $31,224.97

Brazoria County Municipal Utility District #6
Carl O. Sandin
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600                                                                RS Legacy Corporation fka RadioShack
Houston, TX 77008                                    1224      3/31/2015 Corporation                                                                                       $1,196.46                                                   $1,196.46
Claim Docketed In Error                                                  RS Legacy Corporation fka RadioShack
                                                     1225      3/31/2015 Corporation                                                                                                                                                       $0.00

Harris County Municipal Utility District # 276
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
Carl O. Sandin
1235 North Loop West
Suite 600                                                                RS Legacy Corporation fka RadioShack
Houston, TX 77008                                    1226      3/31/2015 Corporation                                                                                         $731.85                                                     $731.85
Mississippi Department of Revenue
Bankruptcy Section
PO Box 22808
Jackson, MS 39225‐2808                               1227      3/31/2015 SCK, Inc.                                                        $0.00              $0.00                                                                         $0.00
Midwest Automatic Fire Sprinkler Company
2001 DeWolf Street                                                       RS Legacy Corporation fka RadioShack
Des Moines, IA 50316                                 1228      3/31/2015 Corporation                                                    $114.00                                                    $0.00                                 $114.00

La Porte Independent School District
Owen M. Sonik
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600                                                                RS Legacy Corporation fka RadioShack
Houston, TX 77008                                    1229      3/31/2015 Corporation                                                                                       $1,635.43                                                   $1,635.43

City of Bellaire
Michael J. Darlow
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600                                                                RS Legacy Corporation fka RadioShack
Houston, TX 77008                                    1230      3/31/2015 Corporation                                                                                         $469.98                                                     $469.98




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                                                                                                                                                  Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address              Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount

Clear Creek Independent School District
Carl O. Sandin
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600                                                                RS Legacy Corporation fka RadioShack
Houston, TX 77008                                    1231      3/31/2015 Corporation                                                                                       $4,877.78                                                   $4,877.78

Willow Fork Drainage District
Yolanda M. Humphrey
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600                                                                RS Legacy Corporation fka RadioShack
Houston, TX 77008                                    1232      3/31/2015 Corporation                                                                                         $385.71                                                     $385.71
HAINES MALL LLC
PO BOX 864942                                                            RS Legacy Corporation fka RadioShack
ORLANDO, FL 32886‐4942                               1233      3/30/2015 Corporation                                                $16,518.23                                                                                        $16,518.23
WEST MORRISON REALTY LLC
Charles E. Boulbol, PC
26 Broadway, 17th Floor                                                  RS Legacy Corporation fka RadioShack
New York, NY 10004                                   1234      3/27/2015 Corporation                                                $86,953.62                                                                                        $86,953.62

City of Katy
Michael J. Darlow
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600                                                                RS Legacy Corporation fka RadioShack
Houston, TX 77008                                    1235      3/31/2015 Corporation                                                                                         $985.02                                                     $985.02
Ocasio Lugo, Luis Manuel
URB Las Colinas Buena Vista
P‐19 Calle 15                                                            RS Legacy Corporation fka RadioShack
Toa Baja, PR 00949                                   1236      3/31/2015 Corporation                                                                         $0.00                                                                         $0.00
Perez Rodriguez, Iomida
RR8 Box 9448                                                             RS Legacy Corporation fka RadioShack
Bayamon, PR 00956                                    1237      3/30/2015 Corporation                                                                         $0.00                                                                         $0.00
Staruk, Patricia
2 Macintosh Drive                                                        RS Legacy Corporation fka RadioShack
Dracut, MA 01826                                     1238      3/31/2015 Corporation                                                     $30.12                                                                                           $30.12

Humble Independent School District
Carl O. Sandin
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600                                                                RS Legacy Corporation fka RadioShack
Houston, TX 77008                                    1239      3/31/2015 Corporation                                                                                       $4,708.41                                                   $4,708.41

Harris County Municipal Utility District # 321
Carl O. Sandin
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600                                                                RS Legacy Corporation fka RadioShack
Houston, TX 77008                                    1240      3/31/2015 Corporation                                                                                       $2,553.11                                                   $2,553.11



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                                                                                                                                                   Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address               Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount

Klein Independent School District
Carl O. Sandin
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600                                                                 RS Legacy Corporation fka RadioShack
Houston, TX 77008                                     1241      3/31/2015 Corporation                                                                                       $5,199.07                                                   $5,199.07

Malcomson Road Utility District
Carl O. Sandin
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600                                                                 RS Legacy Corporation fka RadioShack
Houston, TX 77008                                     1242      3/31/2015 Corporation                                                                                         $637.05                                                     $637.05


West Harris County Municipal Utility District #16
Carl O. Sandin
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600                                                                 RS Legacy Corporation fka RadioShack
Houston, TX 77008                                     1243      3/31/2015 Corporation                                                                                         $448.23                                                     $448.23

FORT BEND COUNTY LEVEE IMPROVEMENT
DISTRICT #2
Carl O. Sandin
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600                                                                 RS Legacy Corporation fka RadioShack
Houston, TX 77008                                     1244      3/31/2015 Corporation                                                                                         $178.49                                                     $178.49

Alief Independent School District
Carl O. Sandin
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600                                                                 RS Legacy Corporation fka RadioShack
Houston, TX 77008                                     1245      3/31/2015 Corporation                                                                                       $8,052.76                                                   $8,052.76

Harris County Municipal Utility District # 186
Carl O. Sandin
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600                                                                 RS Legacy Corporation fka RadioShack
Houston, TX 77008                                     1246      3/31/2015 Corporation                                                                                         $303.48                                                     $303.48
City of Thomasville Utilities
PO Box 1397                                                               RS Legacy Corporation fka RadioShack
Thomasville, GA 31799                                 1247      3/31/2015 Corporation                                                  $1,593.77                                                                                        $1,593.77




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                                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                 Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount

Magnolia Independent School District
Michael J. Darlow
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600                                                                   RS Legacy Corporation fka RadioShack
Houston, TX 77008                                       1248      3/31/2015 Corporation                                                                                       $1,540.17                                                   $1,540.17
Elkatta, Said
317 Prospect St. Apt 6                                                      RS Legacy Corporation fka RadioShack
Cambridge, MA 02139                                     1249      3/31/2015 Corporation                                                                                           $0.00                                                       $0.00
Buchanan Crossroads II, LP, a California limited
Partnership
7090 N. Marks Avenue, Suite 102                                             RS Legacy Corporation fka RadioShack
Fresno, CA 93711                                        1250      3/31/2015 Corporation                                                      $0.00                                                                      $0.00                 $0.00
Batlle Ramirez, Jose Ygnacio
PO Box 426                                                                  RS Legacy Corporation fka RadioShack
Mayaguez, PR 00681‐0426                                 1251      3/30/2015 Corporation                                                                         $0.00                                                                         $0.00

Loeb Realty, L.P./Loeb Properties, Inc.
c/o Law Offices of Gordon, Feldbaum & Cantora
22 N. Front Street, Suite 1055                                              RS Legacy Corporation fka RadioShack
Memphis, TN 38103                                       1252      4/1/2015 Corporation                                                   $2,500.36                                                                                        $2,500.36
Claim Docketed In Error                                                     RS Legacy Corporation fka RadioShack
                                                        1253      3/27/2015 Corporation                                                                                                                                                       $0.00
Catskill Commons Associates, LLC as Successor‐in‐
interest to Catskill Realty Associates Limited
Partnership
c/o Konover Commercial corporation
342 North Main Street, Suite 200                                            RS Legacy Corporation fka RadioShack
West Hartford, CT 06117                                 1254      3/27/2015 Corporation                                                      $0.00                                                                                            $0.00
Liquidity Solutions Inc. as Transferee for Mattews,
Leslie
1 University Plz
Ste 508                                                                     RS Legacy Corporation fka RadioShack
Hackensack, NJ 07601‐6203                               1255      3/27/2015 Corporation                                                                     $4,197.20                                 $0.00                               $4,197.20

Harlan D. and Maxine Douglass (Husband and wife)
Joseph P. Delay
Attorney at Law
601 W. Main Avenue, Suite 1212                                              RS Legacy Corporation fka RadioShack
Spokane, WA 99201                                       1256      3/30/2015 Corporation                                                      $0.00              $0.00             $0.00                                                       $0.00
Frantz Ward LLP
Attn: John F. Kostelnik, Esq.
200 Public Square, Suite 3000                                              RS Legacy Corporation fka RadioShack
Cleveland, OH 44114                                     1257      4/1/2015 Corporation                                                     $401.80                                                                                          $401.80
KQMV‐FM Radio
c/o Szabo Associates, Inc.
3355 Lenox Road NE
Suite 945                                                                  RS Legacy Corporation fka RadioShack
Atlanta, GA 30326                                       1258      4/1/2015 Corporation                                                   $6,434.50                                                                                        $6,434.50




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                                                                                                                                                   Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address               Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Yakup Imir
284 5th Ave                                                              RS Legacy Corporation fka RadioShack
New York, NY 10001                                    1259      4/1/2015 Corporation                                                   $7,500.00                                                                                        $7,500.00
TCP Red Bank, LLC, successor‐in‐interest to Eagle
Plaza II, LLC
James E. Carlberg, Bose Mckinney & Evans
111 Monument Circle, SUite 2700                                          RS Legacy Corporation fka RadioShack
Indianapolis, IN 46294                                1260      4/1/2015 Corporation                                                 $62,902.32                                                                                        $62,902.32
Maiz Morales, Samuel J.
PO Box 51705                                                             RS Legacy Corporation fka RadioShack
Toa Baja, PR 00950‐1705                               1261      4/1/2015 Corporation                                                                          $0.00                                                                         $0.00
TSCA‐245 Limited Partnership
Jonathan L. Howell, Attorney‐in‐fact
McCathern PLLC
3710 Rawlins Street, Suite 1600                                          RS Legacy Corporation fka RadioShack
Dallas, TX 75219                                      1262      4/1/2015 Corporation                                                 $64,432.53                                                                                        $64,432.53

Loeb Realty, L.P./ Loeb Properties, Inc.
c/o Law Offices of Gordon, Feldbaum & Cantora
22 N. Front Street
Suite 1055                                                               RS Legacy Corporation fka RadioShack
Memphis, TN 38103                                     1263      4/1/2015 Corporation                                                   $3,771.00                                                                                        $3,771.00

LOEB Realty, L.P./LOEB Properties, Inc.
c/o Law Offices of Gordon , Feldbaum & Cantora
22 N. Front Street
Suite 1055                                                               RS Legacy Corporation fka RadioShack
Memphis, TN 38103                                     1264      4/1/2015 Corporation                                                 $42,956.00                                                                                        $42,956.00
Pure Air
Post Office Box 9519                                                     RS Legacy Corporation fka RadioShack
Greenwood, MS 38930                                   1265      4/1/2015 Corporation                                                 $69,658.10                                                                                        $69,658.10
DJD Partners 10, LLC
c/o Colliers International
4350 Baker Road
Suite 400                                                                RS Legacy Corporation fka RadioShack
Minnetonka, MN 55343‐8628                             1266      4/1/2015 Corporation                                                 $82,353.80           $5,147.11                                                                    $87,500.91
Webb, Henry L.
7220 Lakewood Court                                                      RS Legacy Corporation fka RadioShack
Pine Bluff, AR 71603                                  1267      4/1/2015 Corporation                                                      $60.00                                                                                           $60.00
Collier County Tax Collector
3291 East Tamiami Trail                                                  RS Legacy Corporation fka RadioShack
Naples, FL 34112                                      1268      4/1/2015 Corporation                                                                                           $80.45                                                      $80.45
Temple Development Company
Matthew G. Hauber, Esquire
Hauber Law, LLC
601 Chadds Ford Dr. Ste 200                                               RS Legacy Corporation fka RadioShack
Chadds Ford, PA 19317                                 1269      3/31/2015 Corporation                                                  $3,336.53                                                                                        $3,336.53
Heral Progress PO Box 8 Warsaw, VA 22572
Attn: Heather Baker
Box 625                                                                   RS Legacy Corporation fka RadioShack
Morristown, TN 37815                                  1270      3/31/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                               Current General                                            Current 503(b)(9)
                                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current Claim
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                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount

Dickinson Independent School District
Yolanda M. Humphrey
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600                                                                   RS Legacy Corporation fka RadioShack
Houston, TX 77008                                       1271      3/31/2015 Corporation                                                                                       $3,327.22                                                   $3,327.22
Montanez Garcia, Zuleika Y.
c/24 Y‐1311 Alturas de Rio Grande                                           RS Legacy Corporation fka RadioShack
Rio Gtande , PR 00745                                   1272      3/27/2015 Corporation                                                                         $0.00             $0.00                                                       $0.00
Fameco Real Estate, L.P., Receiver
Amy L. SantaMaria, Esq.
Kaplin Stewart Meloff Reiter & Stein, P.C.
457 Haddonfield Rd., Suite 310                                              RS Legacy Corporation fka RadioShack
Cherry Hill, NJ 08002                                   1273      3/23/2015 Corporation                                                  $5,033.63                                                                                        $5,033.63

SFP Pool Three Shopping Center, LP
David M. Blau, Esq., Attorney/Authorized Agent
151 S. Old Woodward Ave., Ste. 200                                         RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                                    1274      4/6/2015 Corporation                                                 $49,518.00                                                                                        $49,518.00

SFP Pool Three Shopping Center, LP
David M. Blau, Esq., Attorney/Authorized Agent
151 S. Old Woodward Ave., Ste. 200                                         RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                                    1275      4/6/2015 Corporation                                                 $26,600.00                                                                                        $26,600.00
SFP Pool Six, LLC
David M. Blau, Esq.
151 S. Old Woodward Ave., Ste. 200                                         RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                                    1276      4/6/2015 Corporation                                                 $34,509.50                                                                                        $34,509.50
Gonzalez, Yuberkis
PO Box 420272                                                              RS Legacy Corporation fka RadioShack
Kissimmee, FL 34742                                     1277      4/3/2015 Corporation                                                       $0.00                                                                                            $0.00
Ciarlariello, Justina
269 Walker St. #242                                                        RS Legacy Corporation fka RadioShack
Detroit, MI 48207                                       1278      4/3/2015 Corporation                                                                                          $120.00                                                     $120.00
EA394 Associates, LLC
Jacob B. Sellers, Esq.
225 South Sixth St.
Suite 3500                                                                 RS Legacy Corporation fka RadioShack
Minneapolis, MN 55402                                   1279      4/6/2015 Corporation                                                 $45,256.75           $2,705.88                                                                    $47,962.63
SFP Pool One Shopping Center, LP
David M. Blau, Esq.
Clark Hill PLC
151 S. Old Woodward Ave., Ste. 200                                         RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                                    1280      4/6/2015 Corporation                                                 $33,646.70                                                                                        $33,646.70
Blue Rock Investments, LLC Successor in Interest to
Sam Boymel, Trustee
c/o R&B Investments, LLC
PO Box 37804                                                               RS Legacy Corporation fka RadioShack
Cincinnati, OH 45222‐0804                               1281      4/6/2015 Corporation                                                 $11,594.24                                                                                        $11,594.24




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                                                                                                                         Current General                                            Current 503(b)(9)
                                                                                                                                               Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address            Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount

UrbanCal Oakland Mall, LLC
David M. Blau, Esq., Attorney/Authorized Agent
151 S. Old Woodward Ave., Ste. 200                                    RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                               1282      4/6/2015 Corporation                                                $63,632.20                                                                                        $63,632.20
The News Tribune
1950 South State Street                                               RS Legacy Corporation fka RadioShack
Tacoma, WA 98405‐2860                              1283      4/6/2015 Corporation                                                  $1,284.88                                                                                        $1,284.88

Landings of Sarasota Florida, LLC
David M. Blau, Esq., Attorney/Authorized Agent
151 S. Old Woodward Ave., Ste. 200                                    RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                               1284      4/6/2015 Corporation                                                $63,075.23                                                                                        $63,075.23
ISLANDIA SC 1 LLC
C/O WESTERMAN BALL EDERER MILLER ZUCKER &
SHARFSTEIN, LLP
ATTN: THOMAS A DRAGHI, ESQ
1201 RXR PLAZA                                                        RS Legacy Corporation fka RadioShack
UNIONDALE, NY 11556                                1285      4/6/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
EAST FOREST II, LLC
C/O WILLIAM H. SHORT, JR
ADAMS AND REESE LLP
P.O. BOX 2285                                                         RS Legacy Corporation fka RadioShack
COLUMBIA, SC 29202                                 1286      4/6/2015 Corporation                                                  $3,308.78                                                                                        $3,308.78
Allen, Byron F.
302 William Trail                                                     RS Legacy Corporation fka RadioShack
Locust Grove, GA 30248                             1287      4/6/2015 Corporation                                                      $0.00                                                                                            $0.00
Velazquez, Gabriel Ruiz
bda Marin Callez # 50A                                                RS Legacy Corporation fka RadioShack
Guayama, PR 00784                                  1288      4/3/2015 Corporation                                                      $0.00                                                                                            $0.00
Gustin, Rebecca
1808 South Dr                                                         RS Legacy Corporation fka RadioShack
Venus, TX 76084                                    1289      4/3/2015 Corporation                                                                     $9,945.60                                                                     $9,945.60
Maldonado Vazquez, Jonathan
Calle 21 P 63 Urb Bella Vista                                         RS Legacy Corporation fka RadioShack
Bayamon, PR 00957                                  1290      4/3/2015 Corporation                                                                         $0.00                                                                         $0.00
Pavlus, Ron
7306 State Route 20                                                   RS Legacy Corporation fka RadioShack
Madison, NY 13402                                  1291      4/3/2015 Corporation                                                     $76.24                                                                                           $76.24
Texas Filter Service, LLC
10276 Robison Drive                                                   RS Legacy Corporation fka RadioShack
Tyler, TX 75703                                    1292      4/3/2015 Corporation                                                $15,057.07                                                                                        $15,057.07
Perez Bermudez, Jose D.
Paseo Angel 2532 2nd Secc. Levittown                                  RS Legacy Corporation fka RadioShack
Toa Baja, PR 00949                                 1293      4/3/2015 Corporation                                                                         $0.00                                                                         $0.00
Mason Mechanical, Inc
PO BOX 5598                                                           RS Legacy Corporation fka RadioShack
MESA, AZ 85211                                     1294      4/3/2015 Corporation                                                  $8,651.89                                                                                        $8,651.89
Lisa Dowling ‐ Rebate # 660858841
14 Riverbanks Ct                                                      RS Legacy Corporation fka RadioShack
Greer, SC 29651                                    1295      4/3/2015 Corporation                                                     $60.00                                                                                           $60.00




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                                                                                                                             Current General                                            Current 503(b)(9)
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            Creditor Name and Address               Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Forest City Commercial Management, Inc.
Boulevard Mall SPE, LLC
50 Public Square, Terminal Tower, Suite 1360                              RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                   1296      3/27/2015 Corporation                                               $170,895.38                                                                                       $170,895.38
KONE Inc.
Attn: J. Riggs
3550 George Busbee Pkwy, Suite 140                                        RS Legacy Corporation fka RadioShack
Kennesaw, GA 30144                                    1297      3/31/2015 Corporation                                                    $163.77                                                                                          $163.77
El Dorado Water Utilities
PO Box 1587                                                              RS Legacy Corporation fka RadioShack
El DOrado, AR 71781‐1587                              1298      4/2/2015 Corporation                                                      $64.22                                                                                           $64.22
Forest City Commercial Management, Inc.
Charleston Town Center SPE, LLC
50 Public Square, Terminal Tower, Suite 1360                              RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                   1299      3/27/2015 Corporation                                               $119,693.81                                                                                       $119,693.81

City of Richmond, Department of Public Utilities
Department of Public Utilities
730 E. Broad Street, 5th Floor                                            RS Legacy Corporation fka RadioShack
Richmond, VA 23219                                    1300      3/30/2015 Corporation                                                  $2,640.57                                                                                        $2,640.57
Deep River Crossing Shops, LLP
Horack Talley Pharr & Lowndes
ATTN: John H. Capitano
301 South College St., Suite 2600                                         RS Legacy Corporation fka RadioShack
Charlotte, NC 28202                                   1301      3/30/2015 Corporation                                                  $3,178.71                                                                                        $3,178.71
SFP Pool Six, LLC
David M. Blau, Esq.
Clark Hill PLC
151 S. Old Woodward Ave., 2nd Floor                                      RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                                  1302      4/6/2015 Corporation                                                 $33,913.00                                                                                        $33,913.00
W.W. Grainger, Inc.
7300 N. Melvina Ave MWX22863054243
Niles, IL 60714                                       1303      4/7/2015 Merchandising Support Services, Inc.                                                 $0.00                                 $0.00                                   $0.00
W.W. Grainger, Inc.
7300 N. Melvina Ave
MWX22863054243
Niles , IL 60714                                      1304      4/7/2015 TRS Quality, Inc.                                                                    $0.00             $0.00               $0.00                                   $0.00
Leader Electronics, Inc.
2901 S. Harbor Blvd.                                                      RS Legacy Corporation fka RadioShack
Santa Ana, CA 92704                                   1305      3/30/2015 Corporation                                               $819,857.14                                                     $0.00                             $819,857.14
CHI KWONG FAN
200 BRANNAN STREET, 227                                                   RS Legacy Corporation fka RadioShack
SAN FRANCISCO , CA 94107                              1306      4/10/2015 Corporation                                                    $119.61                                                                                          $119.61
Ozark Centre, LLC
Lee J. Viorel ‐ Lowther Johnson Attorneys at Law,
LLC
901 St. Louis St., 20th Fl.                                               RS Legacy Corporation fka RadioShack
Springfield, MO 65806                                 1307      4/10/2015 Corporation                                                $21,900.48                                                                                        $21,900.48




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            Creditor Name and Address                  Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
Ozark Centre, LLC
Lee J. Viorel ‐ Lowther Johnson Attorneys at Law,
LLC
901 St. Louis St., 20th Fl                                                   RS Legacy Corporation fka RadioShack
Springfield , MO 65806                                   1308      4/10/2015 Corporation                                                  $1,825.04                                                                                        $1,825.04
SPS INC
MICHAEL YOO
537 YONGSAN‐DONG,YUSEONG‐GU
DAEJEON 305‐500                                                              RS Legacy Corporation fka RadioShack
KOREA                                                    1309      4/10/2015 Corporation                                               $334,351.10                                                                                       $334,351.10
Ahoku Electronic Company
5F, No. 88 Sec. 1
Nei‐Hu Road
Taipei                                                                       RS Legacy Corporation fka RadioShack
Taiwan R.O.C                                             1310      4/10/2015 Corporation                                               $253,744.90                                                     $0.00                             $253,744.90
ADVANCED RETAIL SOLUTIONS
Kathy Hines
1431 AIRPORT DRIVE                                                          RS Legacy Corporation fka RadioShack
BALL GROUND, GA 30107                                    1311      4/9/2015 Corporation                                                   $3,164.16                                                                                        $3,164.16

Ozark Centre, LLC
Lee J. Viorel ‐ Lowther Johnson Attorneys at La, LLC
901 St. Louis St., 20th Fl.                                                  RS Legacy Corporation fka RadioShack
Springfield, MO 65806                                    1312      4/10/2015 Corporation                                                                      $797.70                                                                        $797.70
UNITED ELECTRONICS CO., LTD.
NO. 5, LANE 292, SEC. 1, DATUNG RD.
XIZHI DIST.
NEW TAIPEI CITY 221                                                         RS Legacy Corporation fka RadioShack
Taiwan                                                   1313      4/2/2015 Corporation                                                   $6,451.20                                                                                        $6,451.20
Claim Docketed In Error                                                     RS Legacy Corporation fka RadioShack
                                                         1314      4/2/2015 Corporation                                                                                                                                                        $0.00
Ramirez, William
William Javier Ramirez Del Pino
2408 Ave. Eduardo Conde Parque Victoria
Apt. 229 Edf.2                                                              RS Legacy Corporation fka RadioShack
San Juan, PR 00915                                       1315      4/2/2015 Corporation                                                                          $0.00                                                                         $0.00
Faith D. Towle c/o Davis & Ferber, LLP
1345 Motor Parkway                                                           RS Legacy Corporation fka RadioShack
Islandia, NY 11749                                       1316      3/27/2015 Corporation                                                      $0.00                                                                                            $0.00
MerloneGeier Partners
c/o Law Offices of Martha J. Simon
155 Montgomery St., Ste. 1004                                                RS Legacy Corporation fka RadioShack
San Francisco, CA 94104                                  1317      4/10/2015 Corporation                                                  $9,179.30                                                                                        $9,179.30
Sierra Liquidity Fund, LLC ‐ Assignee & Att‐In‐Fact
for Accurate Heating & Cooling ‐ Assignor
19772 Mac Arthur Blvd # 200                                                  RS Legacy Corporation fka RadioShack
Irvine, CA 92620                                         1318      4/10/2015 Corporation                                                                                                           $2,126.80                               $2,126.80
MerloneGeier Partners
Law Offices of Marth J. Simon
155 Montgomery St., Ste. 1004                                                RS Legacy Corporation fka RadioShack
San Francisco, CA 94104                                  1319      4/10/2015 Corporation                                                $13,193.82                                                                                        $13,193.82




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                                                                                                                                 Current General                                            Current 503(b)(9)
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                                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                     Amount                                                     Amount
Jarrell, Dale
Box 301                                                                      RS Legacy Corporation fka RadioShack
Dorton, KY 41520                                         1320      4/13/2015 Corporation                                                      $80.00                                                                                           $80.00
Frear, Al
PO Box 612                                                                   RS Legacy Corporation fka RadioShack
Cave Creek, AZ 85327                                     1321      4/13/2015 Corporation                                                      $43.31                                                                                           $43.31
Inkel Corporation
93, Cheongjung‐ro
Bupyeong‐gu                                                                 RS Legacy Global Sourcing Limited Partnership
Incheon 403‐853                                                             fka RadioShack Global Sourcing Limited
Korea                                                    1322      4/9/2015 Partnership                                                 $124,245.00                                                                                       $124,245.00
Hamm, Brenda
48 Villar Hill Drive                                                         RS Legacy Corporation fka RadioShack
Chesterfield, MO 63017                                   1323      4/13/2015 Corporation                                                      $30.75                                                                                           $30.75
Ahoku Electronic Company
5F, No. 88 Sec. 1
Nei‐Hu Road                                                                  RS Legacy Global Sourcing Limited Partnership
Taipei                                                                       fka RadioShack Global Sourcing Limited
Taiwan R.O.C                                             1324      4/10/2015 Partnership                                                       $0.00                                                    $0.00                                   $0.00
Hernandez Soto, Manuel H.
103 Carr 865
Bc. Campanillas                                                              RS Legacy Corporation fka RadioShack
Toa Baja, PR 00949‐5704                                  1325      4/13/2015 Corporation                                                      $37.44                                                                                           $37.44

Goose Creek Consolidated ISD & Lee College District
Reid Strickland & Gillette LLP
PO Box 809
Baytown, TX 77522‐0809                                   1326      4/13/2015 SCK, Inc.                                                                                          $2,288.43                                                   $2,288.43
City of Gadsden, a municipal corporation
PO Box 267                                                                   RS Legacy Corporation fka RadioShack
Gadsden, AL 35902‐0267                                   1327      4/13/2015 Corporation                                                      $64.75            $51.80                                                                        $116.55


City of Philadelphia/School District of Philadelphia
City of Philadelphia, Law Department ‐ Tax Unit
Municipal Services Building
1401 John F. Kennedy Blvd., 5th Floor
Philadelphia, PA 19102                                   1328      4/13/2015 SCK, Inc.                                                                            $0.00                                                                         $0.00
Holt, Virginia
1402 4th St                                                                  RS Legacy Corporation fka RadioShack
Bremerton, WA 98337                                      1329      4/13/2015 Corporation                                                                        $54.34                                                                         $54.34
Ferreira, Jacob
51 G St                                                                      RS Legacy Corporation fka RadioShack
Dracut, MA 01826                                         1330      4/13/2015 Corporation                                                                                                               $20.00                                  $20.00
Barfield, Mark W.
1016 Pienza Path                                                            RS Legacy Corporation fka RadioShack
Keller, TX 76248                                         1331      4/9/2015 Corporation                                               $1,017,312.26                                                                                     $1,017,312.26
Lundy, Chris
1042 E. Andrews Dr.                                                          RS Legacy Corporation fka RadioShack
Long Beach , CA 90807                                    1332      4/13/2015 Corporation                                                      $29.99                                                                                           $29.99




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                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                          Amount                                                     Amount
Santiago, Emmanuel Colón
605 Palmarejo                                                      RS Legacy Corporation fka RadioShack
Cotto Laurel, PR 00780                         1333      4/13/2015 Corporation                                                      $0.00                                                                                            $0.00
Saul Subsidiary I Limited Partnership
Stephen A. Metz, Esquire
Shulman Rogers Gandal Pordy & Ecker, PA
12505 Park Potomac Avenue, 6th Floor                               RS Legacy Corporation fka RadioShack
Potomac, MD 20854                              1334      4/10/2015 Corporation                                                $98,950.71                                                                                        $98,950.71
Fellowes Inc.
1789 Norwood Avenue                                                RS Legacy Corporation fka RadioShack
Itasca, IL 60143                               1335      4/10/2015 Corporation                                               $241,865.94                                                                                       $241,865.94
Southwestern Public Service Company
PO Box 1261                                                       RS Legacy Corporation fka RadioShack
Amarillo, TX 79105‐9984                        1336      4/9/2015 Corporation                                                   $4,718.99                                                                                        $4,718.99
FedEx TechConnect, Inc.
As Assignee of Federal Express Corporation
FedEx Ground Package Systems, Inc.
Attn: Revenue Recovery/Bankruptcy
3965 Airway Blvd, Module G, 3rd Floor                             RS Legacy Corporation fka RadioShack
Memphis, TN 38116                              1337      4/7/2015 Corporation                                              $2,989,681.98                                                                                     $2,989,681.98
Penelec, a FirstEnergy Company
331 Newman Springs Road, Buliding 3                                RS Legacy Corporation fka RadioShack
Red Bank, NJ 07701                             1338      3/26/2015 Corporation                                                  $3,444.24                                                                                        $3,444.24
Garvin, Joe
2421 Filbert Ave                                                   RS Legacy Corporation fka RadioShack
Clovis, CA 93611                               1339      4/13/2015 Corporation                                                                       $43.46                                                                         $43.46
Shattuck, James E.
214 Luna Circle                                                    RS Legacy Corporation fka RadioShack
Folsom, CA 95630                               1340      4/13/2015 Corporation                                                     $25.00                                                                                           $25.00
Patel, Hemant
10418 Memorial Knoll Dr.                                           RS Legacy Corporation fka RadioShack
Indianapolis, IN 46234                         1341      4/13/2015 Corporation                                                     $32.09                                                                                           $32.09
ADCO INDUSTRIES
11333 PAGEMILL ROAD                                                RS Legacy Corporation fka RadioShack
DALLAS, TX 75243                               1342      4/13/2015 Corporation                                                    $442.20                                                   $21.60                                 $463.80
Carrasquillo, Marisol Rosario
P.O. Box 138                                                       RS Legacy Corporation fka RadioShack
Juncos, PR 00777                               1343      4/13/2015 Corporation                                                      $0.00                                                                                            $0.00
Sánchez Cruz, Jean Carlos
P.O. Box 1454                                                      RS Legacy Corporation fka RadioShack
Cabo Rojo, P.R. 00623                          1344      4/13/2015 Corporation                                                                         $0.00                                                                         $0.00
Mid‐Carolina Electric Cooperative, Inc.
PO Box 669                                                         RS Legacy Corporation fka RadioShack
Lexington , SC 29071‐0669                      1345      4/13/2015 Corporation                                                      $0.00                                                                                            $0.00
3950 TECPORT DRIVE, LP
950 SMILE WAY
PO Box 902                                                         RS Legacy Corporation fka RadioShack
YORK, PA 17405                                 1346      4/13/2015 Corporation                                                                         $0.00                                                   $0.00                 $0.00
City of Quincy
Attn: Dept. of Utilites
730 Maine St.                                                      RS Legacy Corporation fka RadioShack
Quincy, IL 62301                               1347      4/13/2015 Corporation                                                     $22.81                                                                                           $22.81



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                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
Van Zandt CAD
Attn: Elizabeth Weller
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Freeway
Suite 1000                                                               RS Legacy Corporation fka RadioShack
Dallas, TX 75207                                     1348      4/13/2015 Corporation                                                                                           $0.00                                                       $0.00
Latham, Susan
20735 SE 3rd Way                                                         RS Legacy Corporation fka RadioShack
Sammamish , WA 98074                                 1349      4/13/2015 Corporation                                       Unknown                                                                                                         $0.00
Oregonian Media Group
Advance Central Services
1515 SW Fifth Ave #1000                                                 RS Legacy Corporation fka RadioShack
Portland, OR 97201                                   1350      4/1/2015 Corporation                                                  $54,987.81                                                                                       $54,987.81

Cinco Municipal Utility District # 12
Carl O. Sandin
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600                                                                RS Legacy Corporation fka RadioShack
Houston, TX 77008                                    1351      3/31/2015 Corporation                                                                                         $562.92                                                     $562.92
Thierry, Tom
255 Lighthouse View Drive                                                RS Legacy Corporation fka RadioShack
Stevensville, MD 21666                               1352      4/13/2015 Corporation                                                    $200.00                                                                                          $200.00
Lubecki, Timothy
1238 Hartford Turnpike, Unit 6C                                          RS Legacy Corporation fka RadioShack
North Haven, CT 06473                                1353      4/13/2015 Corporation                                                      $8.44                                                                                            $8.44
TULARE COUNTY TAX COLLECTOR
ATTN: MICHAEL SEE
221 S. MOONEY BLVD RM 104E                                               RS Legacy Corporation fka RadioShack
VISALIA, CA 93291                                    1354      3/31/2015 Corporation                                                                     $4,012.00             $0.00                                                   $4,012.00

Collin County Tax Assessor/Collector
c/o Gay, McCall, Isaacks, Gordon & Roberts, P.C.
777 E. 15th St.                                                          RS Legacy Corporation fka RadioShack
Plano, TX 75074                                      1355      3/31/2015 Corporation                                                                                      $17,612.62                                                  $17,612.62
USA Today/Gannett Digital
Shelly Lucas
Gannett Co., Inc.
Law Department
7950 Jones Branch Dr.                                                    RS Legacy Corporation fka RadioShack
McLean, VA 22107                                     1356      3/31/2015 Corporation                                                 $58,479.94                                                                                       $58,479.94
Claim Docketed In Error                                                  RS Legacy Corporation fka RadioShack
                                                     1357      4/2/2015 Corporation                                                                                                                                                        $0.00
Lee Hecht Harrison LLC
2301 Lucien Way
Suite 325                                                               RS Legacy Corporation fka RadioShack
Maitland, FL 32751                                   1358      4/2/2015 Corporation                                                   $1,710.00          $1,710.00                                                                     $3,420.00




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                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                     Amount
RKM Management Trade Name: Atlanta
Refrigeration Service
Atlanta Refrigeration Service, VI
DBA: ARS
7350 Estate Bouoni C121                                                RS Legacy Corporation fka RadioShack
St. Thomas, VI 00802                                1359      4/2/2015 Corporation                                                   $5,503.20              $0.00                                                                     $5,503.20
THE MIKE TALLEFF LLC
1940 MIMOSA PLACE                                                       RS Legacy Corporation fka RadioShack
FULLERTON, CA 92835‐2246                            1360      4/13/2015 Corporation                                                $20,081.50                                                                                        $20,081.50
Bonneville International dba Bonneville Seattle
Media Group, dba KIRO‐FM
1820 Eastlake Ave E                                                     RS Legacy Corporation fka RadioShack
Seattle, WA 98102‐3711                              1361      4/10/2015 Corporation                                                  $4,632.50                                                    $0.00                               $4,632.50
HENRY & SANDRA FRIEDMAN
8803 S.E. 78TH STREET                                                   RS Legacy Corporation fka RadioShack
Mercer Isl., WA 98040                               1362      4/10/2015 Corporation                                                  $4,659.29                                                                                        $4,659.29
W.W. Grainger, Inc.
7300 N. Melvina Ave MWX22863054243                                     RS Legacy Global Sourcing Corporation fka
Niles, IL 60714                                     1363      4/7/2015 RadioShack Global Sourcing Corporation                            $0.00              $0.00             $0.00               $0.00                                   $0.00
RKM Management Trade Name: Atlanta
Refrigeration Service
Atlanta Refrigeration Service, VI
DBA: ARS
7350 Estate Bouoni C121                                                RS Legacy Corporation fka RadioShack
St. Thomas, VI 00802                                1364      4/2/2015 Corporation                                                                          $0.00                                                                         $0.00
RKM Management Trade Name: Atlanta
Refrigeration Service
Atlanta Refrigeration Service, VI
DBA: ARS
7350 Estate Bouoni C121                                                RS Legacy Corporation fka RadioShack
St. Thomas, VI 00802                                1365      4/2/2015 Corporation                                                                          $0.00                                                                         $0.00
Dideujuste, Bruce
Ronald J. Morgan, Esq.
400 Market St.                                                          RS Legacy Corporation fka RadioShack
Newark, NJ 07105                                    1366      3/26/2015 Corporation                                                      $0.00                                                                                            $0.00
Zel‐Fran Investments, LLC, a Colorado limited
liability company
Husch Blackwell LLP, Attn: Seth Weiland
1700 Lincoln Street, Suite 4700                                        RS Legacy Corporation fka RadioShack
Denver, CO 80203                                    1367      4/2/2015 Corporation                                                 $79,212.07                                                                                        $79,212.07
RKM Management Trade Name: Atlanta
Refrigeration Service
Atlanta Refrigeration Service, VI DBA: ARS
7350 Estate Bovoni                                                     RS Legacy Corporation fka RadioShack
St. Thomas, VI 00802                                1368      4/2/2015 Corporation                                                                          $0.00                                                                         $0.00
Liberty Utilities
36 Fifth St                                                             RS Legacy Corporation fka RadioShack
Fall River, MA 02721                                1369      3/30/2015 Corporation                                                  $3,646.13                                                                                        $3,646.13




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                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
RKM Management Trade Name: Atlanta
Refrigeration Service
DBA: ARS
Atlanta Refrigeration Service, VI
7350 Estate Bovoni C121                                                 RS Legacy Corporation fka RadioShack
St. Thomas, VI 00802                                 1370      4/2/2015 Corporation                                                                          $0.00                                                                         $0.00
Edali Industrial Corp.
No. 159 Xingzhong Rd. Tamsui Dist.
New Taipei City 25152                                                   RS Legacy Corporation fka RadioShack
Taiwan, R.O.C.                                       1371      4/2/2015 Corporation                                                 $28,680.00                                                                                        $28,680.00
Standard Register Company
600 Albany St
Dayton, OH 45417‐3405                                1372      4/1/2015 TE Electronics LP                                           $12,508.54                                                                                        $12,508.54
TOWN OF COLLIERVILLE
500 POPLAR VIEW PARKWAY                                                  RS Legacy Corporation fka RadioShack
COLLIERVILLE, TN 38017                               1373      3/31/2015 Corporation                                                     $75.75                                                                                           $75.75
NATRONA COUNTY TREASURER
PO BOX 2290                                                              RS Legacy Corporation fka RadioShack
CASPER, WY 82602                                     1374      3/27/2015 Corporation                                                                      $187.11                                                                        $187.11

Harris County Municipal Utility District # 285
Carl O. Sandin
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600                                                                RS Legacy Corporation fka RadioShack
Houston, TX 77008                                    1375      3/31/2015 Corporation                                                                                       $1,455.07                                                   $1,455.07
CONWAY CORPORATION
PO BOX 99                                                                RS Legacy Corporation fka RadioShack
CONWAY, AR 72033‐0099                                1376      3/30/2015 Corporation                                                    $477.24                                                                                          $477.24
City Water and Light
Attn: Slade Mitchell
PO Box 1289                                                              RS Legacy Corporation fka RadioShack
Jonesboro, AR 72403                                  1377      3/30/2015 Corporation                                                  $1,723.58                                                                                        $1,723.58
Sansone Fenton Plaza, LLC
c/o Stuart Radloff, Attorney
13321 N. Outer 40 Road, Suite 800                                        RS Legacy Corporation fka RadioShack
Town and Country, MO 63017                           1378      3/30/2015 Corporation                                                $44,967.36                                                                                        $44,967.36
Collazo Acevedo, Ramon A
630 Granada
Susua Alta                                                               RS Legacy Corporation fka RadioShack
Yauco, PR 00698                                      1379      3/30/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
Columbia Gas of Massachusetts
Attn: Bankruptcy Department
PO Box 2025                                                              RS Legacy Corporation fka RadioShack
Springfield, MA 01102‐2025                           1380      3/10/2015 Corporation                                                  $9,596.95                                                                                        $9,596.95
CITY OF TULLAHOMA
PO BOX 807                                                              RS Legacy Corporation fka RadioShack
TULLAHOMA, TN 37388                                  1381      4/1/2015 Corporation                                                                       $138.81                                                                        $138.81
Kendall, Chevonn
2208 Kempton St SE                                                      RS Legacy Corporation fka RadioShack
Olympia, WA 98501                                    1382      4/3/2015 Corporation                                                     $120.00                                                                                          $120.00




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            Creditor Name and Address          Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
Mackowiak, Paula
3410 Southcreek Rd.                                                  RS Legacy Corporation fka RadioShack
Hamburg, NY 14075                                1383      4/14/2015 Corporation                                                                                                              $56.52                                  $56.52
Potomac Edison
1310 Fairmont Ave                                                   RS Legacy Corporation fka RadioShack
Fairmont, WV 26554                               1384      4/7/2015 Corporation                                                   $3,403.31                                                                                        $3,403.31
Santoni, Willy Mendez
RR1 Box 2066                                                        RS Legacy Corporation fka RadioShack
Anasco, PR 00610‐9641                            1385      4/7/2015 Corporation                                                 $24,480.00                                                                                        $24,480.00
Aspen Hill Venture, LLP
Luann S. Sinclair, Esq.
The Tower Companies
2000 Tower Oaks Blvd., 9th FL                                       RS Legacy Corporation fka RadioShack
Rockville, MD 20852                              1386      4/7/2015 Corporation                                                   $5,294.71                                                                                        $5,294.71
West Penn Power
1310 Fairmont Ave.                                                  RS Legacy Corporation fka RadioShack
Fairmont, WV 26554                               1387      4/7/2015 Corporation                                                   $7,611.71                                                                                        $7,611.71
TEMP SETTERS MECHANICAL CONTRACTORS
27 TUCCI DRIVE                                                      RS Legacy Corporation fka RadioShack
WALES, ME 04280                                  1388      4/7/2015 Corporation                                                 $18,007.99                                                                                        $18,007.99
Claim Docketed In Error                                             RS Legacy Corporation fka RadioShack
                                                 1389      4/7/2015 Corporation                                                                                                                                                        $0.00
Malkin, Philippa Feigen
PO Box 44                                                           RS Legacy Corporation fka RadioShack
Lakeville, CT 06039                              1390      4/7/2015 Corporation                                                                        $31.89                                                                         $31.89
Zhang, Yinuo
1385 W 22nd Street                                                  RS Legacy Corporation fka RadioShack
Los Angeles, CA 90007                            1391      4/7/2015 Corporation                                                      $13.34                                                                                           $13.34
Goldstein, Barbara
115 Kozlewski Rd.                                                   RS Legacy Corporation fka RadioShack
Milford, CT 06461                                1392      4/7/2015 Corporation                                                      $14.91                                                                                           $14.91
Holt, Janel
8601 CR 1229                                                         RS Legacy Corporation fka RadioShack
Godley, TX 76044                                 1393      4/14/2015 Corporation                                                                         $5.42                                                                         $5.42
RCG‐Circleville, LLC
RCG Ventures I, LLC, Attn: Carisa Leclair
3060 Peachtree Rd. NW, Suite 400                                    RS Legacy Corporation fka RadioShack
Atlanta, GA 30305                                1394      4/8/2015 Corporation                                                 $35,320.29                                                                                        $35,320.29
Cardenales Orellano, Magaly
Urb. Villa del Caribe Calle Amapola # 1                             RS Legacy Corporation fka RadioShack
Bayamon, PR 00956                                1395      4/7/2015 Corporation                                                                          $0.00                                                                         $0.00
Potsdam Associates
c/o Gross, Shuman, Brizdle & Gilfillan, P.C.
465 Main Street, Suite 600                                          RS Legacy Corporation fka RadioShack
Buffalo, NY 14203                                1396      4/2/2015 Corporation                                                     $988.57                                                                                          $988.57
Hicks, Janet B.
PO Box 521                                                           RS Legacy Corporation fka RadioShack
Hollis, NH 03049                                 1397      4/14/2015 Corporation                                                     $89.99                                                                                           $89.99




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            Creditor Name and Address            Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
Mecco, Inc. ‐ c/o Richard M. Sissman, Esquire
Fracassi Mahdavi Sisman & Rand LLP
600 Jefferson Plaza
Suite 308                                                              RS Legacy Corporation fka RadioShack
Rockville, MD 20852                                1398      4/14/2015 Corporation                                                  $3,099.75                                                                                        $3,099.75
EBIFEMI, OLUSEGUN SAMUEL
2243 JOEY LANE                                                         RS Legacy Corporation fka RadioShack
ARLINGTON, TX 76010                                1399      4/14/2015 Corporation                                                                       $24.80                                                                         $24.80
Hamm, Brenda
48 Villar Hill Drive                                                   RS Legacy Corporation fka RadioShack
Chesterfield, MO 63017                             1400      4/14/2015 Corporation                                                     $20.00                                                                                           $20.00
Herndon, Freda
317 N. Oak Street                                                      RS Legacy Corporation fka RadioShack
Springfield, TN 37172                              1401      4/14/2015 Corporation                                                     $32.91                                                                                           $32.91

Arapahoe County Treasurer, Bankruptcy division
5334 S Prince St.                                                      RS Legacy Corporation fka RadioShack
Littleton, CO 80166                                1402      4/14/2015 Corporation                                                                                       $4,784.47                                                   $4,784.47
Nwosu, Robinson
2931 201st Place                                                       RS Legacy Corporation fka RadioShack
Lynwood, IL 60411                                  1403      4/15/2015 Corporation                                                                       $40.00                                                                         $40.00
Jones, Lesley
118 Windflower Way                                                    RS Legacy Corporation fka RadioShack
Oviedo, FL 32765                                   1404      4/9/2015 Corporation                                                                       $199.83                                                                        $199.83
Thomson, John
6307 Palmas Bay Circle                                                 RS Legacy Corporation fka RadioShack
Port Orange, FL 32127                              1405      4/14/2015 Corporation                                                     $31.94                                                                                           $31.94
Cleco Power LLC
2030 Donahue Ferry Road                                                RS Legacy Corporation fka RadioShack
Pineville, LA 71360                                1406      4/14/2015 Corporation                                                  $4,297.99                                                                                        $4,297.99
Maldonado, Vanessa
11816 Presgraves Rd                                                    RS Legacy Corporation fka RadioShack
Reisterstown, MD 21136                             1407      4/14/2015 Corporation                                                    $120.00                                                                                          $120.00
Roman, Christa
4295 Birch St. NE                                                      RS Legacy Corporation fka RadioShack
St. Petesburg, FL 33703                            1408      4/14/2015 Corporation                                                                                          $60.00               $0.00                                  $60.00
City of Chelsea, Massachusetts
Attn: Cheryl Watson Fisher, City Solicitor
500 Broadway
Room 307                                                               RS Legacy Corporation fka RadioShack
Chelsea, MA 02150                                  1409      4/14/2015 Corporation                                                                      $165.77                                                                        $165.77
Taylor, William
81 Monadnock Lane                                                      RS Legacy Corporation fka RadioShack
Peterborough, NH 03458                             1410      4/14/2015 Corporation                                                     $20.04                                                                                           $20.04
Corporate Services Consultants, LLC
PO Box 1048                                                            RS Legacy Corporation fka RadioShack
DANDRIDGE, TN 37725                                1411      4/14/2015 Corporation                                                $15,809.80                                                                                        $15,809.80
Cotty Electronics Co., Ltd.
Mr. Chenge‐Feui Huang
5F‐4 No.89, Jhong Jheng 2nd Road
Kaohsiung                                                              RS Legacy Corporation fka RadioShack
Taiwan R.O.C.                                      1412      4/14/2015 Corporation                                                $10,225.64                                                                                        $10,225.64



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                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
Perez, Geancarlos
Urb San Gerardo
Calle Oklahoma 337                                                 RS Legacy Corporation fka RadioShack
San Juan, PR 00926                             1413      4/14/2015 Corporation                                                       $0.00                                                                                            $0.00
POWER GOOD ELECTRONIC IND. CO. LTD.
6, ALLEY 3, LANE 126, SEC. 3
CHUNG‐YANG ROAD                                                    RS Legacy Global Sourcing Limited Partnership
TU‐CHENG CITY, TAIPEI COUNTY                                       fka RadioShack Global Sourcing Limited
Taiwan                                         1414      4/15/2015 Partnership                                                 $37,187.40                                                                                        $37,187.40
Bartley, Jimmy R.
3454 Ridge Rd.                                                     RS Legacy Corporation fka RadioShack
Aliquippa, PA 15001                            1415      4/15/2015 Corporation                                                                        $15.80                                                                         $15.80
Khine, Hnin
464 Saint Francis Blvd                                             RS Legacy Corporation fka RadioShack
Daly City, CA 94015                            1416      4/15/2015 Corporation                                                      $90.00                                                                                           $90.00
Perretta, Gertrude Trudy
135 Dahlia Dr                                                      RS Legacy Corporation fka RadioShack
Mastic Beach, NY 11951                         1417      4/15/2015 Corporation                                                      $60.00                                                                                           $60.00
Pascual, Reesa
1710 Fernandez St                                                  RS Legacy Corporation fka RadioShack
Honolulu, HI 96819                             1418      4/15/2015 Corporation                                                      $46.06                                                                                           $46.06
Verbatim Americas LLC
1200 West W.T. Harris Blvd                                        RS Legacy Corporation fka RadioShack
Charlotte, NC 28262                            1419      4/9/2015 Corporation                                                                                             $0.00                                                       $0.00
Eslambolchi, Saeed
677 Starfield Dr.                                                  RS Legacy Corporation fka RadioShack
Keswick, VA 22947                              1420      4/15/2015 Corporation                                                      $28.42                                                                                           $28.42
Hamm, Brenda
48 Villar Hill Drive                                               RS Legacy Corporation fka RadioShack
Chesterfield, MO 63017                         1421      4/14/2015 Corporation                                                      $75.00                                                                                           $75.00
Dorris, Robert
447 Stanford Ave.                                                  RS Legacy Corporation fka RadioShack
Medford, OR 97504                              1422      4/14/2015 Corporation                                                      $65.97                                                                                           $65.97
Calixto de Lira Sant' Ana, Silvia Patricia
2000 Pennington Road
STH 25B.                                                           RS Legacy Corporation fka RadioShack
Ewing, NJ 08618                                1423      4/14/2015 Corporation                                                     $110.00                                                                                          $110.00
Smith, Donna M.
3 Monroe Ave                                                       RS Legacy Corporation fka RadioShack
Carteret, NJ 07008                             1424      4/14/2015 Corporation                                                      $31.04                                                                                           $31.04
Nelson‐Dabo, Josette
65 West 96th Street #23F                                           RS Legacy Corporation fka RadioShack
New York, NY 10025                             1425      4/14/2015 Corporation                                                                        $60.00                                                                         $60.00
Huang, Min Wen
56 Hillburn Lane                                                   RS Legacy Corporation fka RadioShack
North Barrington, IL 60010                     1426      4/14/2015 Corporation                                                   $7,384.79                                                                                        $7,384.79
Facility Solutions Group Inc
4401 Westgate Blvd
Ste 310                                                            RS Legacy Corporation fka RadioShack
AUSTIN, TX 78745                               1427      4/14/2015 Corporation                                                   $6,789.71                                                                                        $6,789.71




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Clark, Nadine
801 Riverside Park Rd #40                                      RS Legacy Corporation fka RadioShack
Carlotta, CA 95528                         1428      4/14/2015 Corporation                                                     $52.76                                                                                           $52.76
D'COSTA, CEDRIC
14069 WALNEY VILLAGE CT                                        RS Legacy Corporation fka RadioShack
CHANTILLY, VA 20151                        1429      4/14/2015 Corporation                                                     $13.48                                                                                           $13.48
Facility Solutions Group Inc
4401 Westgate Blvd
Ste 310                                                        RS Legacy Corporation fka RadioShack
AUSTIN, TX 78745                           1430      4/14/2015 Corporation                                               $379,411.78                                                                                       $379,411.78
Stump, Lisa
409 Edgecombe Ave #5A                                          RS Legacy Corporation fka RadioShack
New York, NY 10032                         1431      4/14/2015 Corporation                                                                                          $58.83                                                      $58.83
Top, Hector A
2515 NW 21st                                                  RS Legacy Corporation fka RadioShack
Fort Worth, TX 76106                       1432      4/9/2015 Corporation                                                       $0.00                                                                                            $0.00
Gural, Shirley C.
457 S. Main St.                                                RS Legacy Corporation fka RadioShack
N. Syracuse, NY 13212                      1433      4/14/2015 Corporation                                                                       $94.00                                  $0.00                                  $94.00
Hannaford Bros. Co., LLC
PO Box 1000
MS 6000                                                        RS Legacy Corporation fka RadioShack
Portland, ME 04104                         1434      4/14/2015 Corporation                                                  $1,303.18                                                                                        $1,303.18
Oklahoma County Treasurer
Forrest "Butch" Freeman
320 Robert S. Kerr, Rm 307                                     RS Legacy Corporation fka RadioShack
Oklahoma City, OK 73102                    1435      3/31/2015 Corporation                                                      $0.00                           $24,821.49                                                  $24,821.49
United Illuminating
Attn: J. Piergrossi OP 1‐C
100 Marsh Hill Road                                           RS Legacy Corporation fka RadioShack
Orange, CT 06477‐3628                      1436      4/6/2015 Corporation                                                   $1,103.85                                                                                        $1,103.85
PR Beaver Valley Limited Partnership
Jeffrey Kurtzman, Esquire
1835 Market Street, Suite 1400                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                     1437      4/9/2015 Corporation                                                 $67,797.58           $4,785.71                                                                    $72,583.29
KALANTARI, ROBERT
2844 EAST 42ND COURT                                          RS Legacy Corporation fka RadioShack
DAVENPORT, IA 52807                        1438      4/9/2015 Corporation                                                       $0.00                                                                                            $0.00
PR LOGAN VALLEY L.P.
Jeffrey Kurtzman, Esquire
1835 Market Street, Suite 1400                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                     1439      4/9/2015 Corporation                                                   $1,223.37          $2,757.00                                                                     $3,980.37
Bates, Olivia
2819 Stephanie Drive                                          RS Legacy Corporation fka RadioShack
Little Rock, AR 72206                      1440      4/9/2015 Corporation                                                     $180.33                                                                                          $180.33
Public Service Company of Colorado
Attn: Dennis A. Schipper
1800 Larimer St, 15th Fl                                      RS Legacy Corporation fka RadioShack
Denver, CO 80202                           1441      4/6/2015 Corporation                                                 $31,514.56                                                                                        $31,514.56




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                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                          Amount                                                     Amount
Ithisuphalap, Jaruda
40‐20 69th St
Apt #1C                                                            RS Legacy Corporation fka RadioShack
Woodside, NY 11373                              1442      4/9/2015 Corporation                                                                       $60.00                                                                         $60.00
Hudson Associates Limited Partnership
c/o Preit‐Rubin, Inc.
200 S. Broad Street                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19102                          1443      4/9/2015 Corporation                                                  $1,191.19          $7,147.14                                                                     $8,338.33
PREIT GADSDEN MALL, LLC
Jeffrey Kurtzman, Esquire
1835 Market Street, Suite 1400                                     RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                          1444      4/9/2015 Corporation                                                $89,934.01           $6,250.00                                                                    $96,184.01
LAFAYETTE UTILITIES SYSTEMS
PO BOX 4024‐C                                                      RS Legacy Corporation fka RadioShack
LAFAYETTE, LA 70502‐4024                        1445      4/6/2015 Corporation                                                  $2,523.79                                                                                        $2,523.79
Reynoso Urbaez, Juan C.
3830 NW 183rd St Apt 106                                           RS Legacy Corporation fka RadioShack
Miami Gardens, FL 33055                         1446      4/9/2015 Corporation                                                      $0.00                                                                                            $0.00

PR SPRINGFIELD/DELCO LIMITED PARTNERSHIP
PREIT Services, LLC
200 S. Broad Street                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19102                          1447      4/9/2015 Corporation                                                $92,051.41           $6,467.25                                                                    $98,518.66
Allen County Treasurer
1 East Main Street Suite 104                                       RS Legacy Corporation fka RadioShack
Fort Wayne, IN 46802‐1888                       1448      4/7/2015 Corporation                                                                     $2,992.54                                                                     $2,992.54
Sugru, Inc.
Thorelli & Associates
c/o Nathaniel T. Cutler
70 West Madison Street, Suite 5750                                 RS Legacy Corporation fka RadioShack
Chicago, IL 60602                               1449      4/7/2015 Corporation                                                $33,600.00                                                                                        $33,600.00
CITY OF XENIA
UTILITY BILLING DIVISION
101 N DETROIT ST                                                   RS Legacy Corporation fka RadioShack
XENIA, OH 45385                                 1450      4/2/2015 Corporation                                                     $55.87                                                                                           $55.87
Horst, Robin Ho
60 Ferndale Drive                                                  RS Legacy Corporation fka RadioShack
Easton, CT 06612                                1451      4/7/2015 Corporation                                                     $10.00                                                                                           $10.00
LAMONT STRIP MALL II LLC
LAMONT COMPANIES
205 6TH AVE SE # 300                                               RS Legacy Corporation fka RadioShack
ABERDEEN, SD 57401                              1452      4/7/2015 Corporation                                               $113,095.50                                 $0.00                                                 $113,095.50
Feng, Xiaoyan
12 DEXTER STRRET                                                   RS Legacy Corporation fka RadioShack
MEDFORD, MA 02155                               1453      4/7/2015 Corporation                                                     $60.00                                                                                           $60.00
Runyan, Penny L.
Box 144                                                            RS Legacy Corporation fka RadioShack
Mill Creek, OK 74856                            1454      4/7/2015 Corporation                                                    $284.68                                                                                          $284.68
CITY OF OAK RIDGE
City of Oak Ridge Utilities Business Office
P.O. BOX 1                                                         RS Legacy Corporation fka RadioShack
OAK RIDGE, TN 37831‐0001                        1455      4/6/2015 Corporation                                                    $151.13                                                                                          $151.13



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                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
The Ohio Department of Taxation
Bankruptcy Div.
PO Box 530                                                          RS Legacy Corporation fka RadioShack
Columbus, OH 43216                               1456      4/7/2015 Corporation                                                       $0.00              $0.00                                                                         $0.00
COR CANADA ROAD COMPANY, LLC
COR DEVELOPMENT COMPANY, LLC
ATTN: JOSEPH B. GERARDI
VICE PRESIDENT AND LEGAL COUNSEL
540 TOWNE DRIVE                                                     RS Legacy Corporation fka RadioShack
FAYETTEVILLE, NY 13066                           1457      4/7/2015 Corporation                                                   $3,837.85                                                                                        $3,837.85
Walls, Lisa
3405 NW 97th Blvd
Suite A‐102                                                         RS Legacy Corporation fka RadioShack
Gainesville, FL 32606                            1458      4/7/2015 Corporation                                                      $60.00                                                                                           $60.00
Gravitt, Jim
324 Fairmeade Road                                                  RS Legacy Corporation fka RadioShack
Louisville, KY 40207                             1459      4/7/2015 Corporation                                                                        $15.00                                                                         $15.00
Darlington SC, LLC
Horack Talley Pharr & Lowndes
Attn: John H. Capitano
301 South College St., Suite 2600                                   RS Legacy Corporation fka RadioShack
Charlotte, NC 28202                              1460      4/7/2015 Corporation                                                 $30,893.29                                                                                        $30,893.29
Strickland, Carrie
16 Pine St.                                                         RS Legacy Corporation fka RadioShack
Poquoson, VA 23662                               1461      4/7/2015 Corporation                                                     $120.00                                                                                          $120.00
Correa, Anthony
CALLE 13 M‐25 VRB
CONDADO MODERNO                                                     RS Legacy Corporation fka RadioShack
CAGUAS, PR 00725                                 1462      4/7/2015 Corporation                                                                      $2,929.50                                                                     $2,929.50
CUMBERLAND MALL ASSOCIATES
Jeffrey Kurtzman, Esquire
1835 Market Street, Suite 1400                                      RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                           1463      4/9/2015 Corporation                                                     $628.72                                                                                          $628.72
Manning & Kass, Ellrod, Ramirez, Trester LLP
Steven D. Manning
801 South Figueroa Street                                           RS Legacy Corporation fka RadioShack
Los Angeles, CA 90017                            1464      4/7/2015 Corporation                                                 $30,241.00                                                                                        $30,241.00
AT INVESTMENTS FOUR
C/O DANA BUTCHER ASSOCIATES
1690 W. SHAW AVE., SUITE 220                                        RS Legacy Corporation fka RadioShack
FRESNO, CA 93711                                 1465      4/7/2015 Corporation                                                 $60,675.87                             $3,165.68                                                  $63,841.55
W.W. Grainger, Inc.
7300 N. Melvina Ave MWX22863054243
Niles, IL 60714                                  1466      4/7/2015 RSIgnite, LLC                                                     $0.00              $0.00             $0.00               $0.00                                   $0.00
WATERTOWN RETAIL GROUP, LLC
LAMONT COMPANIES
205 6th Avenue SE # 300                                             RS Legacy Corporation fka RadioShack
ABERDEEN, SD 57401                               1467      4/7/2015 Corporation                                                $137,258.97                                 $0.00                                                 $137,258.97
Federal Heath Sign Company LLC
2300 N. Hwy 121                                                     RS Legacy Corporation fka RadioShack
Euless, TX 76039                                 1468      4/7/2015 Corporation                                                 $38,931.54                                                                                        $38,931.54




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                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
Sanchez Carrasquillo, Mayra I.
Urb. Villa Andalucia C16 Calle Llanez                               RS Legacy Corporation fka RadioShack
San Juan, PR 00926                               1469      4/7/2015 Corporation                                                       $0.00                                                                                            $0.00
Rodriguez, Maricarmen
Villas De Candelero
Calle Golondrina Num 36                                             RS Legacy Corporation fka RadioShack
Humacao, PR 00791                                1470      4/7/2015 Corporation                                                                          $0.00                                                                         $0.00
SUSQUEHANNA VALLEY MALL ASSOCIATES
Jeffrey Kurtzman, Esquire
1835 Market Street, Suite 1400                                      RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                           1471      4/9/2015 Corporation                                                 $30,357.14           $2,142.86                                                                    $32,500.00
Oquendo Rivera, Jimmy
Urb Marina Bahia
RB14 Plaza 4                                                        RS Legacy Corporation fka RadioShack
Catano, PR 00962                                 1472      4/7/2015 Corporation                                                                          $0.00                                                                         $0.00
Concepcion, Catherine Montanez
Alturas de Interamericana Calle 11‐p‐19                             RS Legacy Corporation fka RadioShack
Trujillo Alto, PR 00976                          1473      4/7/2015 Corporation                                                                                                                                                        $0.00
Vazquez, Luis R.
3089 Calle Rio Minillas
Urb. Praderas del Rio                                               RS Legacy Corporation fka RadioShack
Toa Alta, PR 00953                               1474      4/7/2015 Corporation                                                       $0.00                                                                                            $0.00
Perez Esteva, Geamcarlos R.
Urb. San Gerardo Calle Oklahoma 337                                 RS Legacy Corporation fka RadioShack
San Juan, PR 00926                               1475      4/7/2015 Corporation                                                                                                                                                        $0.00
Rivera Clemente, Jeyza E
76351 Cl Las Palmas                                                 RS Legacy Corporation fka RadioShack
Sabana Seca, PR 00952                            1476      4/3/2015 Corporation                                                                          $0.00                                                                         $0.00
Gonzalez, Catherine
1788 South Belvoir Blvd.                                            RS Legacy Corporation fka RadioShack
South Euclid, OH 44121                           1477      4/2/2015 Corporation                                                                                                                $0.00                                   $0.00
MSF Mayfair LLC
c/o Gross, Shuman, Brizdle & Gilfillan, P.C.
465 Main Street, Suite 600                                          RS Legacy Corporation fka RadioShack
Buffalo, NY 14203                                1478      4/2/2015 Corporation                                                 $30,705.68                                                                                        $30,705.68
Cofield, Andria
2 Darby Court                                                       RS Legacy Corporation fka RadioShack
Ewing, NJ 08628                                  1479      4/9/2015 Corporation                                                      $33.91                                                                                           $33.91
Spence, James
2676 W Yale Ave                                                     RS Legacy Corporation fka RadioShack
Anaheim, CA 92801                                1480      4/9/2015 Corporation                                                                                          $100.00                                                     $100.00
PR WYOMING VALLEY LIMITED PARTNERSHIP
Jeffrey Kurtzman, Esquire
1835 Market Street, Suite 1400                                      RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                           1481      4/9/2015 Corporation                                                       $0.00              $0.00                                                                         $0.00
Moad, Martin O.
2005 Forest Park Blvd                                               RS Legacy Corporation fka RadioShack
Ft. Worth, TX 76110                              1482      4/9/2015 Corporation                                                $861,327.41                                                                                       $861,327.41
Lundy, Julie
4918 W. 106th Street                                                 RS Legacy Corporation fka RadioShack
Oak Lawn, IL 60453                               1483      4/15/2015 Corporation                                                     $60.00                                                                                           $60.00




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                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
Ellis, Loren
2350 Broadway #1140                                                 RS Legacy Corporation fka RadioShack
New York, NY 10024                              1484      4/15/2015 Corporation                                                     $60.00                                                                                           $60.00
City of Greensboro ‐ Collections
PO Box 3136                                                         RS Legacy Corporation fka RadioShack
Greensboro , NC 27402                           1485      4/15/2015 Corporation                                                      $0.00                                                                                            $0.00
Orora North America dba Landsberg
Orora North America
600 Valley View Street                                              RS Legacy Corporation fka RadioShack
Buena Park, CA 90620                            1486      4/15/2015 Corporation                                                  $7,735.36                                                                                        $7,735.36
Vocollect Inc.
703 Rodi Road                                                       RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15235‐4558                       1487      4/15/2015 Corporation                                                  $4,104.34                                                                                        $4,104.34
Ithisuphalap, Kemakorn
40‐20 69th St. Apt. # 1C                                           RS Legacy Corporation fka RadioShack
Woodside , NY 11377                             1488      4/9/2015 Corporation                                                                        $60.00                                                                         $60.00
Morales Contreras, Maria Teresa
Calle 13 Z8‐15 Turabo Gardens                                      RS Legacy Corporation fka RadioShack
Caguas, PR 00727                                1489      4/8/2015 Corporation                                                                          $0.00                                                                         $0.00
Sea‐Sal Salem LLC (Landlord for Store 3728)
5050 1st Ave S, Suite 102                                          RS Legacy Corporation fka RadioShack
Seattle, WA 98134                               1490      4/8/2015 Corporation                                                   $2,844.16                                                                                        $2,844.16
City of Fort Worth
Chris Mosley
1000 Throckmorton                                                   RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                            1491      4/16/2015 Corporation                                                     $38.07                                                                                           $38.07
City of Fort Worth
Chris Mosley
1000 Throckmorton                                                   RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                            1492      4/16/2015 Corporation                                                     $57.80                                                                                           $57.80
City of Fort Worth
Chris Mosley
1000 Throckmorton                                                   RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                            1493      4/16/2015 Corporation                                                    $100.90                                                                                          $100.90
City of Fort Worth
Chris Mosley
1000 Throckmorton                                                   RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                            1494      4/16/2015 Corporation                                                    $193.66                                                                                          $193.66
Rojas Colón, Vanessa
210 c/ Alamo Grand Palm 2                                          RS Legacy Corporation fka RadioShack
Vega Alta, PR 00692                             1495      4/7/2015 Corporation                                                                          $0.00                                                                         $0.00
Viera Rosa, Cesar J.
HC 03 Box 17016                                                    RS Legacy Corporation fka RadioShack
Corozal, PR 00783                               1496      4/7/2015 Corporation                                                                          $0.00                                                                         $0.00
RCG‐Circleville, LLC
RCG Ventures I, LLC
Attn: Carisa Leclair
3060 Peachtree Rd. NW, Suite 400                                   RS Legacy Corporation fka RadioShack
Atlanta, GA 30305                               1497      4/8/2015 Corporation                                                   $2,152.17                                                                                        $2,152.17




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                                                                                                                              Current General                                            Current 503(b)(9)
                                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount
Polk County Tax Collector
Joe G Tedder, CFC
PO Box 2016                                                                RS Legacy Corporation fka RadioShack
Bartow, FL 33831‐2016                                  1498      4/14/2015 Corporation                                                                                         $196.68                                                     $196.68
Okaloosa County Tax Collector
Attn: Brandy Hearne
73 Eglin Pkwy NE, Ste. 111                                                 RS Legacy Corporation fka RadioShack
Fort Walton Beach, FL 32548                            1499      4/16/2015 Corporation                                                                                         $443.70                                                     $443.70
SHINE ALPHA ELECTRONICS CO., LTD
NO 48
YEN‐KUO WEST STREET
TAOYUAN CITY                                                               RS Legacy Corporation fka RadioShack
TAIWAN                                                 1500      4/16/2015 Corporation                                                $17,314.50                                                                                        $17,314.50
Autoridad de Acueductos y Alcantarillados
PO Box 7066                                                                RS Legacy Corporation fka RadioShack
San Juan, PR 00916‐7066                                1501      4/16/2015 Corporation                                                    $490.64                                                                                          $490.64
Winterbottom, Terki L.
26 St. Charles Street                                                      RS Legacy Corporation fka RadioShack
Plattsburgh, NY 12901                                  1502      4/16/2015 Corporation                                                    $156.57                                                                                          $156.57
Southern Connecticut Gas Co
855 Main Street                                                            RS Legacy Corporation fka RadioShack
Bridgeport, CT 06605                                   1503      4/13/2015 Corporation                                                  $2,190.30                                                                                        $2,190.30
Autoridad de Acueductos y Alcantarillados
PO Box 7066                                                                RS Legacy Corporation fka RadioShack
San Juan, PR 00916‐7066                                1504      4/16/2015 Corporation                                                     $29.84                                                                                           $29.84
Bravo Lopez, Sandra I.
10205 Bo Bajuras                                                           RS Legacy Corporation fka RadioShack
Isabela, PR 00662                                      1505      4/17/2015 Corporation                                                                         $0.00                                                                         $0.00
Tricoche Felton, Belkis W
Ext Villa Rita Calle 32 JJ 20                                              RS Legacy Corporation fka RadioShack
San Sebastian, PR 00685                                1506      4/17/2015 Corporation                                                                         $0.00                                                                         $0.00
Miranda Forti, Hector M.
Betances #57                                                               RS Legacy Corporation fka RadioShack
Coamo, PR 00769                                        1507      4/17/2015 Corporation                                                                     $3,300.00                                                                     $3,300.00
Claims Recovery Group LLC as Transferee for Merlyn
Melendez Ortix
C/O CRG Financial LLC
Attn: General Counsel
100 Union Avenue, Suite 240                                                RS Legacy Corporation fka RadioShack
Cresskill, NJ 07626                                    1508      4/17/2015 Corporation                                                      $0.00          $4,290.00             $0.00               $0.00             $0.00             $4,290.00
Pierce County Budget & Finance
615 South 9th ST, STE 100                                                  RS Legacy Corporation fka RadioShack
Tacoma, WA 98405                                       1509      4/17/2015 Corporation                                                                                           $0.00                                                       $0.00
RCG‐PASCAGOULA, LLC
RCG VENTURES I, LLC
Attn: Katie Wood
3060 Peachtree Rd. NW, Suite 400                                           RS Legacy Corporation fka RadioShack
ATLANTA, GA 30305                                      1510      4/16/2015 Corporation                                                  $1,519.95                                                                                        $1,519.95
W.W. Grainger, Inc.
7300 N. Melvina Ave MWX22863054243
Niles, IL 60714                                        1511      4/7/2015 ITC Services, Inc.                                                                   $0.00             $0.00               $0.00                                   $0.00




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            Creditor Name and Address      Claim No.   Claim Date                    Debtor                         Unsecured Claim                                              Admin Priority
                                                                                                                                           Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                      Amount
RCG‐Circleville, LLC
c/o RCG Ventures I, LLC
Attn: Carisa Leclair
3060 Peachtree Rd. NW, Suite 400                                RS Legacy Corporation fka RadioShack
Atlanta, GA 30305                            1512      4/8/2015 Corporation                                                       $0.00                                                                                             $0.00
Lozada, Roberto O.
PO Box 28                                                       RS Legacy Corporation fka RadioShack
Saint Just, PR 00978                         1513      4/7/2015 Corporation                                                                           $0.00                                                                         $0.00
Nevada Department of Taxation
Bankruptcy Section
555 E. Washington Ave. STE # 1300                               RS Legacy Corporation fka RadioShack
Las Vegas, NV 89101                          1514      4/7/2015 Corporation                                                   $2,317.99                                                                                         $2,317.99
Environment Conditioning Service Corp. ‐
Mechanical & Service Contractor
Mr. Jose J Calderin
PO Box 195018                                                   RS Legacy Corporation fka RadioShack
San Juan, PR 00919‐5018                      1515      4/7/2015 Corporation                                                 $15,953.32                                                                                         $15,953.32
Alicea Hernandez, Kiomaris
Urb. Cana w‐w‐16 Calle 19                                       RS Legacy Corporation fka RadioShack
Bayamon, PR 00957                            1516      4/7/2015 Corporation                                                                          $0.00                                                                          $0.00
RCG‐NAPLES, LLC
c/o RCG VENTURES I, LLC
3060 PEACHTREE ROAD NW, SUITE 400                                RS Legacy Corporation fka RadioShack
ATLANTA, GA 30305                            1517      4/16/2015 Corporation                                                                          $0.00                                                                         $0.00
Berrios Torres, Jeisy Enid
89 Hacienda Parque                                              RS Legacy Corporation fka RadioShack
San Lorenzo, PR 00754                        1518      4/7/2015 Corporation                                                                           $0.00                                                                         $0.00
Cherry Hill Center LLC
Jeffrey Kurtzman, Esquire
1835 Market Street, Suite 1400                                  RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                       1519      4/9/2015 Corporation                                                     $941.80           $5,650.82                                                                     $6,592.62
Mon Power
1310 Fairmont Ave                                               RS Legacy Corporation fka RadioShack
Fairmont, WV 26554                           1520      4/7/2015 Corporation                                                   $3,267.38                                                                                         $3,267.38
Sanchez Gomez, Juan
Calle Azucena E‐7 Caribe Gardens                                RS Legacy Corporation fka RadioShack
Caguas, PR 00725                             1521      4/7/2015 Corporation                                                                           $0.00                                                                         $0.00
Brightbox, Inc.
39 West 37th Street ‐ 17th Floor                                RS Legacy Corporation fka RadioShack
New York, NY 10018                           1522      4/7/2015 Corporation                                                   $6,663.70                                                     $0.00                               $6,663.70
W.W. Grainger, Inc.
7300 N. Melvina Ave MWX22863054243                              RS Legacy Customer Service LLC fka RadioShack
Niles, IL 60714                              1523      4/7/2015 Customer Service LLC                                              $0.00                                 $0.00               $0.00                                   $0.00
W.W. Grainger, Inc.
7300 N. Melvina Ave MWX22863054243
Niles, IL 60714                              1524      4/7/2015 Ignition L.P.                                                     $0.00               $0.00             $0.00               $0.00                                   $0.00
W.W. Grainger, Inc.
7300 N. Melvina Ave MWX22863054243                              RS Legacy International Corporation fka Tandy
Niles, IL 60714                              1525      4/7/2015 International Corporation                                         $0.00                                 $0.00               $0.00                                   $0.00
Perez Rodriguez, Iomida
RR8 Box 9448                                                    RS Legacy Corporation fka RadioShack
Bayamon, PR 00956                            1526      4/7/2015 Corporation                                                                      $23,942.25                                                                    $23,942.25



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                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount

PR Financing Limited Partnership (Uniontown)
Jeffrey Kurtzman, Esquire
1835 Market Street, Suite 1400                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                  1527      4/9/2015 Corporation                                                 $56,108.30                                                                   $3,931.14            $60,039.44
Maldonado Andino, Carmen D.
Acacia RK‐8 Rosaleda II                                                    RS Legacy Corporation fka RadioShack
Levittown, Toa Baja, PR 00949                           1528      4/7/2015 Corporation                                                                          $0.00                                                                         $0.00
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                                 RS Legacy Corporation fka RadioShack
Carneys Point, NJ 08069‐3600                            1529      3/16/2015 Corporation                                                      $0.00                                                                                            $0.00
Breckenridge 2005 LLC
Holmes P. Harden
PO Box 1000                                                                RS Legacy Corporation fka RadioShack
Raleigh, NC 27602                                       1530      4/9/2015 Corporation                                                 $40,164.37                                                                                        $40,164.37
COMMONWEALTH EDISON CO.
3 Lincoln Center
Attn: Bankruptcy Section                                                   RS Legacy Corporation fka RadioShack
Oakbrook Terrace, IL 60181                              1531      4/6/2015 Corporation                                                 $72,095.03                                                                                        $72,095.03
PR CAPITAL CITY LIMITED PARTNERSHIP
PREIT Services, LLC
200 S. Broad Street                                                        RS Legacy Corporation fka RadioShack
Philadelphia, PA 19102                                  1532      4/9/2015 Corporation                                                       $0.00              $0.00                                                                         $0.00
PR EXTON LIMITED PARTNERSHIP
PREIT Services, LLC
200 S. Broad Street                                                        RS Legacy Corporation fka RadioShack
Philadelphia, PA 19102                                  1533      4/9/2015 Corporation                                                   $1,104.77                                                                  $2,293.76             $3,398.53
PR Jacksonville Limited Partnership
c/o Preit Services, LLC
200 S. Broad Street                                                        RS Legacy Corporation fka RadioShack
Philadelphia, PA 19102                                  1534      4/9/2015 Corporation                                                 $54,421.03                                                                  $11,259.52            $65,680.55
PR VALLEY LIMITED PARTNERSHIP
PREIT Services, LLC
200 S. Broad Street                                                        RS Legacy Corporation fka RadioShack
Philadelphia, PA 19102                                  1535      4/9/2015 Corporation                                                   $1,491.46          $8,101.71                                                                     $9,593.17
PR CROSSROADS I, LLC
PREIT Services, LLC
200 S. Broad Street                                                        RS Legacy Corporation fka RadioShack
Philadelphia, PA 19102‐3803                             1536      4/9/2015 Corporation                                                       $0.00              $0.00                                                   $0.00                 $0.00

Goose Creek Consolidated ISD & Lee College District
Reid Strickland & Gillette LLP
PO Box 809
Baytown, TX 77522‐0809                                  1537      4/13/2015 SCK, Inc.                                                                                             $0.00                                                       $0.00
Autoridad de Acueductos y Alcantarillados
PO Box 7066                                                                 RS Legacy Corporation fka RadioShack
San Juan, PR 00916‐7066                                 1538      4/14/2015 Corporation                                                    $177.42                                                                                          $177.42




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
PR NORTH DARTMOUTH LLC
c/o Preit Services, LLC
200 S. Broad Street                                           RS Legacy Corporation fka RadioShack
Philadelphia, PA 19102                     1539      4/9/2015 Corporation                                                $132,202.00                                                                   $9,139.20           $141,341.20
PR PALMER PARK LIMITED PARTNERSHIP
c/o PREIT Services, LLC
200 S. Broad Street, Suite 1400                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19102                     1540      4/9/2015 Corporation                                                   $9,523.81                                                                  $7,142.85            $16,666.66
PR LYCOMING LIMITED PARTNERSHIP
c/o PREIT Services, LLC
200 S. Broad Street, Suite 1400                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19102                     1541      4/9/2015 Corporation                                                 $75,199.04                                                                   $5,592.56            $80,791.60
PR PRINCE GEORGES PLAZA LLC
c/o PREIT Services, LLC
200 S. Broad Street, Suite 1400                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19102                     1542      4/9/2015 Corporation                                                   $2,294.43                                                                      $0.00             $2,294.43
Otero Maldonado, Carmen
Calle I B‐8 Vega Baja Lakes                                    RS Legacy Corporation fka RadioShack
Vega Baja, PR 00693                        1543      4/16/2015 Corporation                                                  $2,932.80                                                                                        $2,932.80
City of Fort Worth
Chris Mosley
1000 Throckmorton                                              RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                       1544      4/16/2015 Corporation                                                     $35.33                                                                                           $35.33
ECHELON TITLE LLC
c/o PREIT Services, LLC
200 S. Broad Street, 1400                                     RS Legacy Corporation fka RadioShack
Philadelphia, PA 19102                     1545      4/9/2015 Corporation                                                 $32,380.99                                                                   $2,285.72            $34,666.71
PR PATRICK HENRY, LLC
PREIT Services, LLC
200 S. Broad Street                                           RS Legacy Corporation fka RadioShack
Philadelphia, PA 19102                     1546      4/9/2015 Corporation                                                $135,907.57                                                                   $9,387.10           $145,294.67
PR WOODLAND LIMITED PARTNERSHIP
PREIT Services, LLC
200 S. Broad Street                                           RS Legacy Corporation fka RadioShack
Philadelphia, PA 19102                     1547      4/9/2015 Corporation                                                   $1,127.92          $4,285.71                                                                     $5,413.63
PR VIEWMONT LIMITED PARTNERSHIP
PREIT Services, LLC
Christiana Uy
Manager of Collections
200 S. Broad Street                                           RS Legacy Corporation fka RadioShack
Philadelphia, PA 19102                     1548      4/9/2015 Corporation                                                   $1,579.27                                                                  $9,646.08            $11,225.35
PR WIREGRASS COMMONS LLC
PREIT Services, LLC
200 S. Broad Street                                           RS Legacy Corporation fka RadioShack
Philadelphia, PA 19102                     1549      4/9/2015 Corporation                                                       $0.00              $0.00                                                                         $0.00
PR VALLEY VIEW LIMITED PARTNERSHIP
PREIT Services, LLC
200 S. Broad Street, suite 1400                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19102                     1550      4/9/2015 Corporation                                                   $7,510.58                                                                  $7,299.39            $14,809.97
Pollock, Alice
690 South RD.                                                 RS Legacy Corporation fka RadioShack
Milton, NY 12547                           1551      4/7/2015 Corporation                                                      $10.80                                                                                           $10.80



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                                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                  Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
City of Fort Worth
Chris Mosley
1000 Throckmorton                                                            RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                                     1552      4/16/2015 Corporation                                                  $1,118.88                                                                                        $1,118.88
Arnot Realty Corporation
Jeffrey Kurtzman, Esquire
1835 Market Street, Suite 1400                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                   1553      4/9/2015 Corporation                                                 $50,595.28                                                                   $3,571.43            $54,166.71
Fulton County Tax Commissioner
141 Pryor St
Suite 1113                                                                  RS Legacy Corporation fka RadioShack
Atlanta, GA 30303                                        1554      4/9/2015 Corporation                                                                          $0.00                                                                         $0.00
Grays Harbor County Treasurer
PO Box 831                                                                  RS Legacy Corporation fka RadioShack
Montesano, WA 98563                                      1555      4/9/2015 Corporation                                                                          $0.00           $175.14                                                     $175.14
Moorestown Mall LLC
Jeffrey Kurtzman, Esquire
1835 Market Street, Suite 1400                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                   1556      4/9/2015 Corporation                                                $137,063.71                                                                   $9,675.09           $146,738.80
City of Fort Worth
Chris Mosley
1000 Throckmorton                                                            RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                                     1557      4/16/2015 Corporation                                                $10,739.83                                                                                        $10,739.83
Grand Entrance, A division Construction Specialties,
Inc
4005 Royal Dr. Suite 300                                                    RS Legacy Corporation fka RadioShack
Kennesaw, GA 30144                                       1558      4/7/2015 Corporation                                                   $1,291.37                                                                                        $1,291.37
City of Fort Worth
Chris Mosley
1000 Throckmorton                                                            RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                                     1559      4/16/2015 Corporation                                                    $646.87                                                                                          $646.87
South Brunswick Shopping Plaza Company
John P. Di Iorio, Esq.
Shapiro, Croland, Reiser, Apfel & Di Iorio, LLP
411 Hackensack Ave.                                                         RS Legacy Corporation fka RadioShack
Hackensack, NJ 07601                                     1560      4/7/2015 Corporation                                                     $159.14                                                                                          $159.14
W.W. Grainger, Inc.
7300 N. Melvina Ave MWX22863054243
Niles, IL 60714                                          1561      4/7/2015 TE Electronics LP                                                 $0.00              $0.00             $0.00               $0.00                                   $0.00
City of Fort Worth
Chris Mosley
1000 Throckmorton                                                            RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                                     1562      4/16/2015 Corporation                                                    $164.44                                                                                          $164.44
City of Fort Worth
Chris Mosley
1000 Throckmorton                                                            RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                                     1563      4/16/2015 Corporation                                                    $595.46                                                                                          $595.46
City of Fort Worth
Chris Mosley
1000 Throckmorton                                                            RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                                     1564      4/16/2015 Corporation                                                    $232.43                                                                                          $232.43




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            Creditor Name and Address       Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                     Amount
Faria, Manuel A.
3194 Fairfield Drive                                             RS Legacy Corporation fka RadioShack
Kissimmee, FL 34743                           1565      4/7/2015 Corporation                                                                          $0.00                                                                         $0.00
City of Fort Worth
Chris Mosley
1000 Throckmorton                                                 RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                          1566      4/16/2015 Corporation                                                    $100.90                                                                                          $100.90
City of Fort Worth
Chris Mosley
1000 Throckmorton                                                 RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                          1567      4/16/2015 Corporation                                                    $585.18                                                                                          $585.18
City of Fort Worth
Chris Mosley
1000 Throckmorton                                                 RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                          1568      4/16/2015 Corporation                                                  $1,154.06                                                                                        $1,154.06
Alvarez, Davies
Calle Florentino ‐ Roman G‐21
Villa San Anton                                                  RS Legacy Corporation fka RadioShack
Carolina, PR 00987                            1569      4/7/2015 Corporation                                                       $0.00                                                                                            $0.00
Penn Power
1310 Fairmont Ave                                                RS Legacy Corporation fka RadioShack
Fairmont, WV 26554                            1570      4/7/2015 Corporation                                                     $732.94                                                                                          $732.94
City of Fort Worth
Chris Mosley
1000 Throckmorton                                                 RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                          1571      4/16/2015 Corporation                                                    $138.23                                                                                          $138.23
Unifirst Corporation
2900 North Beach St                                              RS Legacy Corporation fka RadioShack
Fort Worth, TX 76117                          1572      4/7/2015 Corporation                                                   $2,251.44                                                                                        $2,251.44
The Illumination Company
1310 Fairmont Ave                                                RS Legacy Corporation fka RadioShack
Fairmont, WV 26554                            1573      4/7/2015 Corporation                                                   $9,290.55                                                                                        $9,290.55
Gellman, Robert I.
2713 ERVIN WAY                                                   RS Legacy Corporation fka RadioShack
Mansfield, TX 76063‐2337                      1574      4/7/2015 Corporation                                                $175,000.00                                                                                       $175,000.00
Autoridad de Acueductos y Alcantarillados
PO Box 7066                                                       RS Legacy Corporation fka RadioShack
San Juan, PR 00916‐7066                       1575      4/16/2015 Corporation                                                    $150.20                                                                                          $150.20
Autoridad de Acueductos y Alcantarillados
PO Box 7066                                                       RS Legacy Corporation fka RadioShack
San Juan, PR 00916‐7066                       1576      4/16/2015 Corporation                                                     $79.23                                                                                           $79.23
Pursati, Anthony
4 Ditton St                                                      RS Legacy Corporation fka RadioShack
Lyons, NY 14489                               1577      4/7/2015 Corporation                                                                                                                $0.00                                   $0.00
Autoridad de Acueductos y Alcantarillados
PO Box 7066                                                       RS Legacy Corporation fka RadioShack
San Juan, PR 00916‐7066                       1578      4/16/2015 Corporation                                                    $723.28                                                                                          $723.28
Palmetto Park Road Associates, LTD
c/o Brent A. Friedman
1001 Brickell Avenue, 8th Fl
South Tower                                                      RS Legacy Corporation fka RadioShack
Miami, FL 33131                               1579      4/7/2015 Corporation                                                 $82,144.30           $5,376.82                                                                    $87,521.12



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                                                                                                                     Current General                                            Current 503(b)(9)
                                                                                                                                           Current Priority   Current Secured                        Current Admin    Total Current Claim
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                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                     Amount
Autoridad de Acueductos y Alcantarillados
PO Box 7066                                                       RS Legacy Corporation fka RadioShack
San Juan, PR 00916‐7066                       1580      4/16/2015 Corporation                                                     $68.78                                                                                           $68.78
Transbay Capital, L.L.C.
c/o Michael McGrath
Mesch, Clark & Rothschild, P.C.
259 N. Meyer Ave.                                                RS Legacy Corporation fka RadioShack
Tucson, AZ 85701                              1581      4/7/2015 Corporation                                                   $8,808.93                                                                                        $8,808.93
W.W. Grainger, Inc.
7300 N. Melvina Ave MWX22863054243
Niles, IL 60714                               1582      4/7/2015 RS Ig Holdings Incorporated                                       $0.00              $0.00             $0.00               $0.00                                   $0.00
Autoridad de Acueductos y Alcantarillados
PO Box 7066                                                       RS Legacy Corporation fka RadioShack
San Juan, PR 00916‐7066                       1583      4/16/2015 Corporation                                                    $106.66                                                                                          $106.66
Sierra Nieves, Glenise
c/ Laurel Sur AA‐2
Urb. Quintas de Dorado                                           RS Legacy Corporation fka RadioShack
Dorado, PR 00646                              1584      4/7/2015 Corporation                                                                          $0.00                                                                         $0.00
Autoridad de Acueductos y Alcantarillados
PO Box 7066                                                       RS Legacy Corporation fka RadioShack
San Juan, PR 00916‐7066                       1585      4/16/2015 Corporation                                                    $312.02                                                                                          $312.02
Va'zquez, Maribel Claudio
Villas del Caribe #3 Calle Amapola                               RS Legacy Corporation fka RadioShack
Bayamon, PR 00956                             1586      4/7/2015 Corporation                                                       $0.00                                                                                            $0.00
Autoridad de Acueductos y Alcantarillados
PO Box 7066                                                       RS Legacy Corporation fka RadioShack
San Juan, PR 00916‐7066                       1587      4/16/2015 Corporation                                                     $89.06                                                                                           $89.06
Cintron Soto, Sheila
The Residency apt. 1613 Parque Escorial                          RS Legacy Corporation fka RadioShack
Carolina, PR 00987                            1588      4/7/2015 Corporation                                                                          $0.00                                                                         $0.00
Autoridad de Acueductos y Alcantarillados
PO Box 7066                                                       RS Legacy Corporation fka RadioShack
San Juan, PR 00916‐7066                       1589      4/16/2015 Corporation                                                    $485.30                                                                                          $485.30
Cruz Matos, Lourder A.
Calle/3 G‐27
Urb. Villas de San Agustin                                       RS Legacy Corporation fka RadioShack
Bayamon, PR 00959                             1590      4/7/2015 Corporation                                                                          $0.00                                                                         $0.00
Nieves, Tania N.
Vista del Morro
Calle Brazil L5                                                  RS Legacy Corporation fka RadioShack
Cataño, PR 00962                              1591      4/7/2015 Corporation                                                                          $0.00                                                                         $0.00
Jimenez Mort, Miguel A.
Jesus M. Lago I‐24                                               RS Legacy Corporation fka RadioShack
Utuado, PR 00641                              1592      4/7/2015 Corporation                                                                          $0.00                                                                         $0.00
Cordero Soto, Lizette
Portal de la Reina Apt 238                                       RS Legacy Corporation fka RadioShack
San Juan, PR 00924                            1593      4/7/2015 Corporation                                                                          $0.00                                                                         $0.00
Arnaud Germoso, Ramon R.
Urb. Villa Andalucía C16 Calle Llanez                            RS Legacy Corporation fka RadioShack
San Juan, PR 00926                            1594      4/7/2015 Corporation                                                       $0.00                                                                                            $0.00




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                                                                                                                                           Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address       Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                     Amount
RCG‐PASCAGOULA, LLC
c/o RCG‐VENTURES I, LLC
3060 Peachtree Rd. NW, Suite 400                                  RS Legacy Corporation fka RadioShack
ATLANTA, GA 30305                             1595      4/16/2015 Corporation                                                                         $0.00                                                                         $0.00
RCG‐NAPLES, LLC
RCG VENTURES I, LLC
Attn: Katie Wood
3060 PEACHTREE ROAD NW, SUITE 400                                 RS Legacy Corporation fka RadioShack
ATLANTA, GA 30305                             1596      4/16/2015 Corporation                                                    $452.47                                                                                          $452.47
Vazquez Cruz, Jennifer
Urb Constancia
2576 Calle Coloso                                                RS Legacy Corporation fka RadioShack
Ponce, PR 00717                               1597      4/7/2015 Corporation                                                                          $0.00                                                                         $0.00
Perez Bermudez, Joan M
Paseo Aguila I 2626
2nd Secc. Levittown                                              RS Legacy Corporation fka RadioShack
Toa Baja, PR 00949                            1598      4/7/2015 Corporation                                                                                                                                                        $0.00
Martínez, Alexander Sierra
Cond Torre Vista Apt 551
Ave Trio Vega bajeño                                             RS Legacy Corporation fka RadioShack
Vega Beja, PR 00693                           1599      4/7/2015 Corporation                                                                          $0.00                                                                         $0.00
Valley Square Shopping Center, LLC
Higler Allen & Lautin, PC (6074.082)
5057 Keller Springs Rd., Suite 600                                RS Legacy Corporation fka RadioShack
Addison, TX 75023                             1600      4/16/2015 Corporation                                                  $4,668.71                                                                                        $4,668.71
Maynard, David W.
PO Box 214
10439 Crane St                                                    RS Legacy Corporation fka RadioShack
Carnesville, PA 16410                         1601      4/21/2015 Corporation                                                                                                              $25.00                                  $25.00
Rodríguez Berrios, Orlando
Box 164                                                           RS Legacy Corporation fka RadioShack
Humacao, PR 00791                             1602      4/16/2015 Corporation                                                                         $0.00                                                                         $0.00
Lesch Tejada, Roberto Jose
URB Pabellones 263 Calle                                         RS Legacy Corporation fka RadioShack
Toa Baja, PR 00949                            1603      4/7/2015 Corporation                                                                          $0.00                                                                         $0.00
Hernandez Gonzalez, Alexander
Urb. Bosque de la Sierra
Coqui Guajon #705                                                 RS Legacy Corporation fka RadioShack
Caguas, PR 00725                              1604      4/17/2015 Corporation                                                                         $0.00                                                                         $0.00
Berrios, Orlando Rodriguez
Box 164                                                           RS Legacy Corporation fka RadioShack
Humacao, PR 00791                             1605      4/17/2015 Corporation                                                                         $0.00                                                                         $0.00
Autoridad de Acueductos y Alcantarillados
PO Box 7066                                                       RS Legacy Corporation fka RadioShack
San Juan, PR 00916‐7066                       1606      4/16/2015 Corporation                                                    $253.28                                                                                          $253.28
MEDFORD EQUITIES, LLC
Weinberg, Gross & Pergament LLP
Attn: Seth M. Choset, Esq
400 Garden City Plaza, Suite 403                                  RS Legacy Corporation fka RadioShack
Garden City, NY 11530                         1607      4/16/2015 Corporation                                                $66,282.06                                                                                        $66,282.06




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            Creditor Name and Address    Claim No.   Claim Date                      Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Sanchez Gomez, Juan O.
Urb. Caribe Gardens Calle Azucena E‐7                         RS Legacy Corporation fka RadioShack
Caguas, PR 00725                           1608      4/7/2015 Corporation                                                                           $0.00                                                                         $0.00
Cruz González, Andrés F.
PO Box 529                                                    RS Legacy Corporation fka RadioShack
Corozal, PR 00783                          1609      4/7/2015 Corporation                                                                           $0.00                                                                         $0.00
W.W. Grainger, Inc.
7300 N. Melvina Ave MWX22863054243
Niles, IL 60714                            1610      4/7/2015 Trade and Save LLC                                                 $0.00              $0.00             $0.00               $0.00                                   $0.00
Pantoja Córdova, Carlos E.
Calle Júpiter #48 Barriada Sandin                             RS Legacy Corporation fka RadioShack
Vega Baja, PR 00693                        1611      4/7/2015 Corporation                                                                           $0.00                                                                         $0.00
Gonzalez, Manuel
599 Kent Ave                                                   RS Legacy Corporation fka RadioShack
Brooklyn, NY 11211                         1612      4/17/2015 Corporation                                                       $5.45                                                                                            $5.45
W.W. Grainger, Inc.
7300 N. Melvina Ave MWX22863054243
Niles, IL 60714                            1613      4/7/2015 RS Legacy Holdings, Inc. fka Tandy Holdings, Inc.                  $0.00              $0.00             $0.00               $0.00                                   $0.00
Gonzalez, Rene Mercado
HC 03 Box 10635                                               RS Legacy Corporation fka RadioShack
San German, PR 00683                       1614      4/7/2015 Corporation                                                                           $0.00                                                                         $0.00
Vazquez Rivera, Rafael L
Sierra Bayamon
Calle 35A Blg. 32A # 6                                        RS Legacy Corporation fka RadioShack
Bayamon, PR 00961                          1615      4/7/2015 Corporation                                                                           $0.00                                                                         $0.00
W.W. Grainger, Inc.
7300 N. Melvina Ave
MWX22863054243                                                RS Legacy Corporation fka RadioShack
Niles , IL 60714                           1616      4/7/2015 Corporation                                                  $40,202.41               $0.00             $0.00           $4,567.34                              $44,769.75
W.W. Grainger, Inc.
7300 N. Melvina Ave
MWX22863054243
Niles, IL 60714                            1617      4/7/2015 SCK, Inc.                                                          $0.00              $0.00             $0.00               $0.00                                   $0.00
Alejandro Ramirez, Miguel A
Calle Agua Marina RH‐3
Marina Bahia                                                  RS Legacy Corporation fka RadioShack
Cataño, PR 00962                           1618      4/7/2015 Corporation                                                                           $0.00                                                                         $0.00
Hilas, Demetrios P.
232 Summit Ave                                                 RS Legacy Corporation fka RadioShack
Lyndhurst, NJ 07071                        1619      4/17/2015 Corporation                                                      $66.82                                                                                           $66.82
W.W. Grainger, Inc.                                            RS Legacy Global Sourcing Limited Partnership
7300 N. Melvina Ave MWX22863054243                             fka RadioShack Global Sourcing Limited
Niles, IL 60714                            1620      4/7/2015 Partnership                                                        $0.00              $0.00             $0.00               $0.00                                   $0.00
HENRY & SANDRA FRIEDMAN
8803 S.E. 78TH STREET                                          RS Legacy Corporation fka RadioShack
MERCER ISLAND, WA 98040                    1621      4/17/2015 Corporation                                                 $70,611.64                                                                                        $70,611.64
Correa‐Rivera, Mildred S.
C1 Urb. Parque Del Sol, Apto 305                               RS Legacy Corporation fka RadioShack
Bayamon, PR 00959                          1622      4/17/2015 Corporation                                                      $60.00                                                                                           $60.00
Bailes, Terri
1801 W. Sycamore Ave.                                          RS Legacy Corporation fka RadioShack
Corsicana, TX 75110                        1623      4/17/2015 Corporation                                                     $100.87                                                                                          $100.87



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                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                          Amount                                                     Amount
Toledo Edison
1310 Fairmont Ave                                                RS Legacy Corporation fka RadioShack
Fairmont, WV 26554                            1624      4/7/2015 Corporation                                                    $1,033.97                                                                                        $1,033.97
Edali Industrial Corp.
No. 159 Xingzhong Rd. Tamsui Dist.
New Taipei City 25152                                             RS Legacy Corporation fka RadioShack
Taiwan, R.O.C.                                1625      4/17/2015 Corporation                                                       $0.00                                                                                            $0.00
W.W. Grainger, Inc.
7300 N. Melvina Ave MWX22863054243                               RS Legacy Finance Corporation fka Tandy Finance
Niles, IL 60714                               1626      4/7/2015 Corporation                                                        $0.00              $0.00             $0.00               $0.00                                   $0.00
ACME REALTY OF MERIDIAN, INC.
806 Hwy. 19, North, Suite 310                                    RS Legacy Corporation fka RadioShack
MERIDAIN, MS 39307                            1627      4/8/2015 Corporation                                                    $5,639.67                                                                                        $5,639.67
W.W. Grainger, Inc.
7300 N. Melvina Ave
MWX22863054243
Niles , IL 60714                              1628      4/7/2015 Atlantic Retail Ventures, Inc.                                     $0.00              $0.00             $0.00               $0.00                                   $0.00
Perez Bermudez, Joan M
Paseo Aguila I 2626
2nd Secc. Levittown                                              RS Legacy Corporation fka RadioShack
Toa Baja, PR 00949                            1629      4/7/2015 Corporation                                                                           $0.00                                                                         $0.00
Gonzalez, Natalia C.
89 Hacienda Parques                                              RS Legacy Corporation fka RadioShack
San Lorenzo, PR 00754                         1630      4/7/2015 Corporation                                                                           $0.00                                                                         $0.00
BONIAL ENTERPRISES NORTH AMERICA, INC.
Attn: Diane Mistretta
525 W. Monroe, Suite 510                                         RS Legacy Corporation fka RadioShack
CHICAGO, IL 60661                             1631      4/7/2015 Corporation                                                  $25,999.80                                                                                        $25,999.80
W.W. Grainger, Inc.
7300 N. Melvina Ave
MWX22863054243                                                   RS Legacy Global Sourcing, Inc. fka RadioShack
Niles, IL 60714                               1632      4/7/2015 Global Sourcing, Inc.                                              $0.00              $0.00             $0.00               $0.00                                   $0.00
Ohio Edison
1310 Fairmont Ave                                                RS Legacy Corporation fka RadioShack
Fairmont, WV 26554                            1633      4/7/2015 Corporation                                                    $5,511.92                                                                                        $5,511.92
Mellecker, Russ
21347 North 77th Lane                                             RS Legacy Corporation fka RadioShack
Peoria, AZ 85382‐3349                         1634      4/21/2015 Corporation                                                      $25.00                                                                                           $25.00
Villar Castro, Kiara
Calle Angelino Fuentes M‐3
Urb Idamaris Gardens                                              RS Legacy Corporation fka RadioShack
Caguas, PR 00757                              1635      4/15/2015 Corporation                                                                          $0.00                                                                         $0.00
Autoridad de Acueductos y Alcantarillados
PO Box 7066                                                       RS Legacy Corporation fka RadioShack
San Juan, PR 00916‐7066                       1636      4/16/2015 Corporation                                                      $13.29                                                                                           $13.29
McKenzie, Josh
5000 Austin Lane                                                  RS Legacy Corporation fka RadioShack
Strasburg, OH 44680                           1637      4/20/2015 Corporation                                                     $106.49                                                                                          $106.49
MacDonald, Robert
4532 E. Blue Sky Dr.                                              RS Legacy Corporation fka RadioShack
Cave Creek, AZ 85331                          1638      4/20/2015 Corporation                                                                       $108.29                                                                        $108.29




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            Creditor Name and Address                 Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
Mirenda, Theresa
101 Lincoln Rd                                                              RS Legacy Corporation fka RadioShack
Fr. Sq., NY 11010                                       1639      4/20/2015 Corporation                                                     $15.00                                                                                           $15.00
Nelson, Susie
5979 Town and Country Lane                                                  RS Legacy Corporation fka RadioShack
House Springs, MO 63051                                 1640      4/17/2015 Corporation                                                     $45.99                                                                                           $45.99
Treasurer ‐ City of Norfolk
PO Box 3215                                                                 RS Legacy Corporation fka RadioShack
Norfolk, VA 23514                                       1641      4/17/2015 Corporation                                                                     $9,107.81                                                                     $9,107.81
Cook, Justin
1510 Aspen Street                                                           RS Legacy Corporation fka RadioShack
Selma, CA 93662                                         1642      4/17/2015 Corporation                                                                      $108.71                                                                        $108.71
Bryant, Christina
612 West Lake Circle                                                        RS Legacy Corporation fka RadioShack
Chesapeake, VA 23322                                    1643      4/20/2015 Corporation                                                                                                              $37.44                                  $37.44
UNIVERS WORKPLACE SOLUTIONS
897 12TH STREET                                                             RS Legacy Corporation fka RadioShack
HAMMONTON, NJ 08037                                     1644      4/20/2015 Corporation                                                $15,818.65                                                                                        $15,818.65
Cohen, Joshua
311 Anderson Rd                                                             RS Legacy Corporation fka RadioShack
Alameda, CA 94502                                       1645      4/20/2015 Corporation                                                     $54.49                                                                                           $54.49


Plaintiffs and Counsel in Kamar v. Radio Shack, 9th
Circuit Court of Appeals Case No. 13‐57157
Andre E. Jardini, Esq./Knapp, Petersen & Clarke
550 North Brand Blvd., Suite 1500                                           RS Legacy Corporation fka RadioShack
Glendale, CA 91203‐1922                                 1646      4/20/2015 Corporation                                               $325,000.00               $0.00                                                                   $325,000.00
Ghobrial, Wassim
4812 Marymead Dr.                                                           RS Legacy Corporation fka RadioShack
Fairfax, VA 22030                                       1647      4/20/2015 Corporation                                                     $62.99                                                                                           $62.99
HELLER, RICHARD
149 Lick Meadow                                                             RS Legacy Corporation fka RadioShack
Bristol, TN 37620                                       1648      4/21/2015 Corporation                                                     $28.51                                                                                           $28.51
Quintana, Shari
1500 Cool Springs Dr                                                        RS Legacy Corporation fka RadioShack
Allen, TX 75013                                         1649      4/20/2015 Corporation                                                     $31.61                                                                                           $31.61
Patel, Rishen
1356 Dukes Creek Dr                                                         RS Legacy Corporation fka RadioShack
Kennesaw, GA 30152                                      1650      4/20/2015 Corporation                                                    $361.98                                                                                          $361.98
Consumers Energy Company
Attn: Legal Department
One Energy Plaza                                                            RS Legacy Corporation fka RadioShack
Jackson, MI 49201                                       1651      4/20/2015 Corporation                                                $21,303.67                                                                                        $21,303.67
Arevalos, Maria J.
12655 Harlow Ave                                                            RS Legacy Corporation fka RadioShack
Riverside, CA 92503                                     1652      4/21/2015 Corporation                                                    $215.99                                                                                          $215.99
ChoiceStream, Inc.
25 Drydock Ave. 5th Floor                                                   RS Legacy Corporation fka RadioShack
Boston, MA 02210                                        1653      4/20/2015 Corporation                                                $41,844.74                                                                                        $41,844.74




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                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
Wilmoth, Cynthia G.
11601 N.W. 23 St.                                                     RS Legacy Corporation fka RadioShack
Plantation, FL 33323                              1654      4/21/2015 Corporation                                                     $18.01                                                                                           $18.01
Ryczek, Jaime
E6545 Fuller Rd                                                       RS Legacy Corporation fka RadioShack
Reedsburg, WI 53959                               1655      4/21/2015 Corporation                                                                                                             $100.00                                 $100.00
Chicon, Cintia
1625 E. Little Creek Rd Apt 201                                       RS Legacy Corporation fka RadioShack
Norfolk, VA 23518                                 1656      4/22/2015 Corporation                                                    $230.57                                                                                          $230.57
McGreevy, Jennifer
206 Cotton Hill Rd.                                                   RS Legacy Corporation fka RadioShack
Gilford, NH 03249                                 1657      4/22/2015 Corporation                                                     $28.78                                                                                           $28.78
Lee, Carrie
PO Box 50                                                             RS Legacy Corporation fka RadioShack
Chippewa Lake, MI 49320                           1658      4/21/2015 Corporation                                                                       $12.17                                                                         $12.17
Kosinski, Dawn S.
5233 MEADOWCREST RD                                                   RS Legacy Corporation fka RadioShack
PITTSBURGH, PA 15236                              1659      4/20/2015 Corporation                                                     $11.75                                                                                           $11.75
HELLER, RICHARD
149 Lick Meadow                                                       RS Legacy Corporation fka RadioShack
Bristol, TN 37620                                 1660      4/21/2015 Corporation                                                                                                              $16.42                                  $16.42

Coldwell Banker Commercial McLain Real Estate
Disraeli‐Tennessee, LLC
c/o Chad W. Ayres, Wilmer & Lee, P.A.
P.O. Box 2168                                                         RS Legacy Corporation fka RadioShack
Huntsville, AL 35804                              1661      4/21/2015 Corporation                                                  $4,279.65                            $2,730.00                                                   $7,009.65
Manes, Andrew
1951 Legacy Ln                                                        RS Legacy Corporation fka RadioShack
Winona Lake, IN 46590                             1662      4/21/2015 Corporation                                                     $42.98                                                                                           $42.98
Time 2 Market West, LLC
1936 Grape st                                                         RS Legacy Corporation fka RadioShack
Denver, CO 80220                                  1663      4/22/2015 Corporation                                                  $7,019.77                                                                                        $7,019.77
Gareda, Patricia
2413 CR 805B                                                          RS Legacy Corporation fka RadioShack
Cleburne, TX 76031                                1664      4/22/2015 Corporation                                                    $164.28                                                                                          $164.28
deJesus, Edward N.
5 East Street                                                         RS Legacy Corporation fka RadioShack
Somersworth, NH 03878                             1665      4/22/2015 Corporation                                                     $50.00                                                                                           $50.00
Wilson Gardens Havana, LLC
Steven W. Kelly, Esq.
1801 York Street                                                      RS Legacy Corporation fka RadioShack
Denver, CO 80206                                  1666      4/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Tulsie, Dean Marsh
3610 N 56th Ave Apt 210                                               RS Legacy Corporation fka RadioShack
Hollywood , FL 33021‐2255                         1667      4/22/2015 Corporation                                                                       $68.89                                                                         $68.89
Johnson, Ashley
405 N. Cornell                                                        RS Legacy Corporation fka RadioShack
Greenville, MS 38703                              1668      4/22/2015 Corporation                                                     $40.00                                                                                           $40.00
Audio‐Technica US, Inc.
1221 Commerce Dr                                                      RS Legacy Corporation fka RadioShack
Stowe, OH 44224                                   1669      4/22/2015 Corporation                                               $157,696.92                                                                                       $157,696.92



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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Crabb, Diana
904 Fenway Lane                                                RS Legacy Corporation fka RadioShack
Saginaw, TX 76179                          1670      4/22/2015 Corporation                                                                     $9,625.65                                                                     $9,625.65
TGT REALTY CO.
ATTN: JIM TOTARO
391 GRAND AVE.
SUITE ONE                                                      RS Legacy Corporation fka RadioShack
ENGLEWOOD, NJ 07631                        1671      4/21/2015 Corporation                                                                         $0.00                                                                         $0.00
Zichettella, Jennifer
36 Pineview Blvd                                               RS Legacy Corporation fka RadioShack
Central Islip, NY 11722                    1672      4/21/2015 Corporation                                                                                          $25.19               $0.00                                  $25.19
Sanchez Pabón, Jennifer
Calle Ucar Casa U‐7
Urb. El Culebrinas                                             RS Legacy Corporation fka RadioShack
San Sebastian, PR 00685                    1673      4/21/2015 Corporation                                                                         $0.00                                                                         $0.00
Nolasco, Gabriel
6905 Gray Oaks Dr                                              RS Legacy Corporation fka RadioShack
Theodore, AL 36582                         1674      4/21/2015 Corporation                                                     $71.49                                                                                           $71.49
Mason, Debbie A.
1444 Park Place, Apt. C6                                       RS Legacy Corporation fka RadioShack
Brooklyn, NY 11213                         1675      4/21/2015 Corporation                                                      $0.00            $87.09                                  $0.00                                  $87.09
Denequolo, Scott
Jackie/ Scott Denequolo
3319 Pacific Drive                                             RS Legacy Corporation fka RadioShack
Naples, FL 34119                           1676      4/21/2015 Corporation                                                     $60.00                                                                                           $60.00
Hall, Allyson
256 Garden Ln                                                  RS Legacy Corporation fka RadioShack
Los Gatos, CA 95032                        1677      4/21/2015 Corporation                                                     $30.00                                                                                           $30.00
Aleke, Afi
5307 Barker Place                                              RS Legacy Corporation fka RadioShack
Lanham, MD 20706                           1678      4/21/2015 Corporation                                                                                                             $108.00                                 $108.00
Delana, Elana
PO Box 270914                                                  RS Legacy Corporation fka RadioShack
San Diego, CA 92198                        1679      4/21/2015 Corporation                                                                      $227.00                                                                        $227.00
Hamilton, Vanessa
1307 W. 56th St.                                               RS Legacy Corporation fka RadioShack
Los Angeles, CA 90037                      1680      4/20/2015 Corporation                                                     $65.39                                                                                           $65.39
WKAQ‐AM/FM Radio
c/o Szabo Associates, Inc.
3355 Lenox Road NE, Suite 945                                  RS Legacy Corporation fka RadioShack
Atlanta, GA 30326                          1681      4/20/2015 Corporation                                                $12,240.00                                                                                        $12,240.00
Dorer, David
31 Old Denville Rd                                             RS Legacy Corporation fka RadioShack
Boonton TWP, NJ 07005                      1682      4/20/2015 Corporation                                                     $42.79                                                                                           $42.79
WLII Television
c/o Szabo Associates, Inc.
3355 Lenox Road NE, Suite 945                                  RS Legacy Corporation fka RadioShack
Atlanta, GA 30326                          1683      4/20/2015 Corporation                                                  $2,187.05                                                                                        $2,187.05
Walters, William G.
100 Center Grove Rd
Bldg 3. Apt. 18                                                RS Legacy Corporation fka RadioShack
Randolph, NJ 07869                         1684      4/21/2015 Corporation                                                     $25.00                                                                                           $25.00



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                                                                                                                     Current General                                            Current 503(b)(9)
                                                                                                                                           Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address       Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                     Amount
Sanborn‐Franklin, LLC
c/o Brookside Properties, Inc.
2002 Richard Jones Road, Ste 200C                                 RS Legacy Corporation fka RadioShack
Nashville, TN 37215                           1685      4/21/2015 Corporation                                                $84,333.22                                 $0.00                             $5,267.01            $89,600.23
Porter, Daniel A.
PO Box 352                                                        RS Legacy Corporation fka RadioShack
Latham, NY 12110‐0352                         1686      4/20/2015 Corporation                                                     $21.59                                                                                           $21.59
SPRING CREEK CENTER, LLC #6236
C/O AIG PROPERTIES, LTD
118 W. PECKHAM STREET                                             RS Legacy Corporation fka RadioShack
NEENAH, WI 54956                              1687      4/21/2015 Corporation                                                $35,209.27                                                                                        $35,209.27
Coughlin, Patrick
15 Ox Yoke Dr                                                     RS Legacy Corporation fka RadioShack
Wethersfield, CT 06109                        1688      4/21/2015 Corporation                                                     $64.19                                                                                           $64.19
Drake, Dennis A.
6 Byron Dr.                                                       RS Legacy Corporation fka RadioShack
Phillipsburg, NJ 08865                        1689      4/21/2015 Corporation                                                     $53.49                                                                                           $53.49
MCMINNVILLE ELECTRIC SYSTEM
PO BOX 608                                                        RS Legacy Corporation fka RadioShack
MCMINNVILLE, TN 37111                         1690      4/22/2015 Corporation                                                    $503.71                                                                                          $503.71
Lila, Inc.
Attn: Jennifer Powell
c/o Pace Properties
1401 S Brentwood Blvd., Suite 900                                 RS Legacy Corporation fka RadioShack
St. Louis, MO 63144                           1691      4/21/2015 Corporation                                                  $3,190.40                                                                                        $3,190.40
HALPERN ENTERPRISES INC
5269 BUFORD HWY                                                   RS Legacy Corporation fka RadioShack
ATLANTA, GA 30340                             1692      4/21/2015 Corporation                                                  $2,651.42                                                                                        $2,651.42
ELD Supermarket, L.P., a Delaware limited
partnership
Clifford Cohen
Knapp, Petersen & Clarke
550 N. Brand Blvd., Ste 1500                                      RS Legacy Corporation fka RadioShack
Glendale, CA 91203                            1693      4/21/2015 Corporation                                                $43,485.33                                                                                        $43,485.33
D'Eon, Carol
7 Deon Terrace                                                    RS Legacy Corporation fka RadioShack
West Yarmouth, MA 02673                       1694      4/21/2015 Corporation                                                                                                              $30.00                                  $30.00
Athens East LLC
Halpern Enterprises Inc
5269 Buford Hwy                                                   RS Legacy Corporation fka RadioShack
Atlanta, GA 30340                             1695      4/21/2015 Corporation                                                $11,099.29                                                                                        $11,099.29
HALPERN ENTERPRISES, INC.
5269 BUFORD HWY                                                   RS Legacy Corporation fka RadioShack
ATLANTA, GA 30340                             1696      4/21/2015 Corporation                                                  $5,125.00                                                                                        $5,125.00
NATIONAL HVAC SERVICE
7123 I‐30, Suite 53                                               RS Legacy Corporation fka RadioShack
Little Rock, AR 72209                         1697      4/21/2015 Corporation                                                  $3,328.97                                                                                        $3,328.97
ROSCOE DEVELOPMENT, LLC
2000 Forum Blvd., Ste.4                                           RS Legacy Corporation fka RadioShack
COLUMBIA, MO 65203                            1698      4/21/2015 Corporation                                                $35,664.30                                                                                        $35,664.30




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            Creditor Name and Address          Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
Modi, Nishith K.
204 Cooper Rd.                                                       RS Legacy Corporation fka RadioShack
C.M.C.H., NJ 08210                               1699      4/20/2015 Corporation                                                      $37.44                                                                                           $37.44
Norbert E. Mitchell Co. Inc.
PO Box 186                                                           RS Legacy Corporation fka RadioShack
Danbury, CT 06813‐0186                           1700      4/20/2015 Corporation                                                     $586.62                                                  $223.46                                 $810.08
Hammann, Shavonne
4107 Jessica Marie St.                                               RS Legacy Corporation fka RadioShack
N. Las Vegas, NV 89032                           1701      4/21/2015 Corporation                                                      $54.05                                                                                           $54.05
POWER GOOD ELECTRONIC IND. CO. LTD.
6, ALLEY 3, LANE 126, SEC. 3
CHUNG‐YANG ROAD                                                      RS Legacy Global Sourcing Limited Partnership
TU‐CHENG CITY, TAIPEI COUNTY                                         fka RadioShack Global Sourcing Limited
Taiwan                                           1702      4/20/2015 Partnership                                                 $10,158.80                                                                                        $10,158.80
ALPINE INDEPENDENT SCHOOL DISTRICT
ALDINE INDEPENDENT SCHOOL DISTRICT TAX
OFFICE
14909 ALDINE WESTFIELD ROAD                                          RS Legacy Corporation fka RadioShack
HOUSTON, TX 77032                                1703      4/20/2015 Corporation                                                                      $6,195.03             $0.00                                                   $6,195.03
Senter, Levann
37 Byron St
Unit 1                                                               RS Legacy Corporation fka RadioShack
Bradford, MA 01835                               1704      4/20/2015 Corporation                                                                                                                                                        $0.00
Acevedo Sanchez, Diana
HCS Box 51517                                                        RS Legacy Corporation fka RadioShack
San Sebastian, PR 00685                          1705      4/20/2015 Corporation                                                                          $0.00                                                                         $0.00
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                          RS Legacy Corporation fka RadioShack
Carneys Point, NJ 08069‐3600                     1706      3/16/2015 Corporation                                                       $0.00                                                                                            $0.00
Delmarva Power
Pepco Holdings, Inc.
Bankruptcy Division, Mail Stop:84CP42
5 Collins Drive, Suite 2133                                          RS Legacy Corporation fka RadioShack
Carneys Point, NJ 08069‐3600                     1707      3/16/2015 Corporation                                                       $0.00                                                                                            $0.00
Ghobrial, Wassim
4812 Maymead Dr                                                      RS Legacy Corporation fka RadioShack
Fairfax, VA 22030                                1708      4/20/2015 Corporation                                                      $15.72                                                                                           $15.72
City of Mesquite and/or Mesquite Independent
School District
Schuerenberg & Grimes
120 W. Main, Suite 201
Dallas County                                                        RS Legacy Corporation fka RadioShack
Mesquite, TX 75149                               1709      4/20/2015 Corporation                                                                                        $3,040.15                                                   $3,040.15
Morales Contreras, Maria Teresa
Calle 13 Z8‐15 Turabo Gardens                                        RS Legacy Corporation fka RadioShack
Caguas, PR 00727                                 1710      4/20/2015 Corporation                                                                          $0.00                                                                         $0.00




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                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
City of Mesquite and/or Mesquite Independent
School District
c/o Schuerenberg & Grimes, P.C.
Gary Allmon Grimes
120 W. Main, Suite 201                                               RS Legacy Corporation fka RadioShack
Mesquite, TX 75149                               1711      4/20/2015 Corporation                                                                                       $4,438.66                                                   $4,438.66
KBBT‐FM Radio
c/o Szabo Associates, Inc.
3355 Lenox Road NE, Suite 945                                        RS Legacy Corporation fka RadioShack
Atlanta, GA 30326                                1712      4/20/2015 Corporation                                                  $1,925.25                                                                                        $1,925.25
Tran, Trung‐Quan
9512 Steele Meadow Rd.                                               RS Legacy Corporation fka RadioShack
Charlotte, NC 28273                              1713      4/20/2015 Corporation                                                     $30.00                                                                                           $30.00
Hershey Square 2014, LP.
c/o Heidenberg Properties
234 Closter Dock Rd                                                  RS Legacy Corporation fka RadioShack
Closter, NJ 07624                                1714      4/20/2015 Corporation                                                  $3,726.98                                                    $0.00         $2,340.68             $6,067.66
Frenze, Kristie D
375 Hunters Chase Rd                                                 RS Legacy Corporation fka RadioShack
Montrose, CO 81403                               1715      4/20/2015 Corporation                                                     $65.32                                                                                           $65.32
Bieler, Jerome M.
615 Emerald Way East                                                 RS Legacy Corporation fka RadioShack
Deerfield Beach, FL 33442                        1716      4/20/2015 Corporation                                                    $105.99                                                                                          $105.99
Salvador, Lydia Renee
Law Offices of Maryann Gallagher
202 W. 1st Street, TS 100                                            RS Legacy Corporation fka RadioShack
Los Angeles, CA 90012                            1717      4/20/2015 Corporation                                                      $0.00                                                                                            $0.00
CITY OF BURBANK
FINANCIAL SERVICES DEPT.
PO BOX 6459                                                          RS Legacy Corporation fka RadioShack
BURBANK, CA 91510                                1718      4/20/2015 Corporation                                                    $225.00                                                                                          $225.00
Verifone, Inc.
Attn: Jeanine Sterling
300 South Park Place Blvd.                                           RS Legacy Corporation fka RadioShack
Clearwater, FL 33759                             1719      4/20/2015 Corporation                                                  $5,852.36                                                                                        $5,852.36
107 Edgewater, LLC c/o JK Group, AMO
20955 PATHFINDER RD., Suite 225                                      RS Legacy Corporation fka RadioShack
DIAMOND BAR, CA 91765                            1720      4/20/2015 Corporation                                                                         $0.00                                                                         $0.00
Perez Bermudez, Jose D.
Paseo Angel 2532 2nd Secc. Levittown                                 RS Legacy Corporation fka RadioShack
Toa Baja, PR 00949                               1721      4/20/2015 Corporation                                                                         $0.00                                                                         $0.00
Torres Mojica, Miguel E.
Urbanizacion Magnolia Gardens
Calle 20 N17                                                         RS Legacy Corporation fka RadioShack
Bayamon, PR 00956                                1722      4/20/2015 Corporation                                                                         $0.00                                                                         $0.00
Venkataraman, Sudhakar
3923 Silver Brook Dr                                                 RS Legacy Corporation fka RadioShack
Mechanicsburg, PA 17050                          1723      4/23/2015 Corporation                                                                       $50.00                                                                         $50.00
May, Melanie
50 Ancona Drive                                                      RS Legacy Corporation fka RadioShack
Upper Saddle River, NJ 07458                     1724      4/20/2015 Corporation                                                     $25.00                                                                                           $25.00




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            Creditor Name and Address              Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
Best of Vermont / Bonnie Kelsey
Best of Vermont
20 Belden Rd                                                             RS Legacy Corporation fka RadioShack
Rutland, Vermont 05701                               1725      4/21/2015 Corporation                                                    $155.12                                                                                          $155.12
Comdata, Inc. dba Stored Value Systems, Inc.
5301 Maryland Way                                                        RS Legacy Corporation fka RadioShack
Brentwood, TN 37027                                  1726      4/20/2015 Corporation                                                $74,008.15                                                                                        $74,008.15
GREECE RIDGE, LLC
c/o THOMAS W. DANIELS, ESQ.
1265 SCOTTSVILLE ROAD                                                    RS Legacy Corporation fka RadioShack
ROCHESTER, NY 14624                                  1727      4/16/2015 Corporation                                                $82,708.00                                                                                        $82,708.00
OAK RIDGE PLAZA, INC.
C/O AIG PROPERTIES LTD.
118 W. PECKHAM STREET                                                    RS Legacy Corporation fka RadioShack
NEENAH, WI 54956                                     1728      4/23/2015 Corporation                                                $47,806.92                                                                                        $47,806.92
Alterio, Mark
3 Short Hills Circle Apt 2A                                              RS Legacy Corporation fka RadioShack
Millburn, NJ 07041                                   1729      4/23/2015 Corporation                                                                                                              $89.31                                  $89.31
ShopperTrak RCT Corporation
233 South Wacker Drive
41st Floor                                                               RS Legacy Corporation fka RadioShack
Chicago, IL 60606                                    1730      4/23/2015 Corporation                                                $63,380.71                                                                                        $63,380.71
Shelby County Trustee
PO Box 2751                                                              RS Legacy Corporation fka RadioShack
MEMPHIS, TN 38101‐2751                               1731      4/21/2015 Corporation                                                                                           $0.00                                                       $0.00
Shelby County Trustee
PO Box 2751                                                              RS Legacy Corporation fka RadioShack
Memphis, TN 38101‐2751                               1732      4/21/2015 Corporation                                                                                           $0.00                                                       $0.00
Shelby County Trustee
PO Box 2751                                                              RS Legacy Corporation fka RadioShack
Memphis, TN 38101‐2751                               1733      4/21/2015 Corporation                                                                                           $0.00                                                       $0.00
Shelby County Trustee
PO Box 2751                                                              RS Legacy Corporation fka RadioShack
Memphis, TN 38101‐2751                               1734      4/21/2015 Corporation                                                                                           $0.00                                                       $0.00
Shelby County Trustee
PO Box 2751                                                              RS Legacy Corporation fka RadioShack
Memphis, TN 38101‐2751                               1735      4/21/2015 Corporation                                                                                           $0.00                                                       $0.00
Shelby County Trustee
PO Box 2751                                                              RS Legacy Corporation fka RadioShack
Memphis, TN 38101‐2751                               1736      4/21/2015 Corporation                                                                                           $0.00                                                       $0.00
Shelby County Trustee
PO Box 2751                                                              RS Legacy Corporation fka RadioShack
Memphis, TN 38101‐2751                               1737      4/21/2015 Corporation                                                                                           $0.00                                                       $0.00

Advance Magazine Publishers, Inc D/B/A Conde
Nast
1313 N Market Street
12th FL, Accounting/Cash Applications Department                         RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                                 1738      4/20/2015 Corporation                                               $282,314.05                                                                                       $282,314.05




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Benderson 85‐1 Trust
Ken Labenski
570 Delaware Ave                                               RS Legacy Corporation fka RadioShack
Buffalo, NY 14202                          1739      4/23/2015 Corporation                                                $46,648.48                                                                                        $46,648.48
SHELBY COUNTY TRUSTEE
PO Box 2751                                                    RS Legacy Corporation fka RadioShack
Memphis, TN 38101‐2751                     1740      4/21/2015 Corporation                                                                                           $0.00                                                       $0.00
Shelby County Trustee
PO Box 2751                                                    RS Legacy Corporation fka RadioShack
Memphis, TN 38101‐2751                     1741      4/21/2015 Corporation                                                                                           $0.00                                                       $0.00
Shelby County Trustee
PO Box 2751                                                    RS Legacy Corporation fka RadioShack
Memphis, TN 38101‐2751                     1742      4/21/2015 Corporation                                                                                           $0.00                                                       $0.00
City of Memphis, Treasurer
PO BOX 185                                                     RS Legacy Corporation fka RadioShack
MEMPHIS, TN 38101‐0185                     1743      4/23/2015 Corporation                                                                                           $0.00                                                       $0.00
City of Memphis, Treasurer
PO BOX 185                                                     RS Legacy Corporation fka RadioShack
MEMPHIS, TN 38101‐0185                     1744      4/23/2015 Corporation                                                                                           $0.00                                                       $0.00
Amudala, Tharun
1 New Castle Dr. Apt #2                                        RS Legacy Corporation fka RadioShack
Nashua, NH 03060                           1745      4/23/2015 Corporation                                                      $0.00                                                                                            $0.00
Lifeworks Technology Group, LLC
Lazarus & Lazarus, P.C.
Attention: Harlan M. Lazarus Esq.
240 Madison Avenue, 8th Floor                                  RS Legacy Corporation fka RadioShack
New York, NY 10016                         1746      4/23/2015 Corporation                                                $46,936.36                                                                                        $46,936.36
City of Memphis, Treasurer
PO Box 185                                                     RS Legacy Corporation fka RadioShack
Memphis, TN 38101‐0185                     1747      4/23/2015 Corporation                                                                                           $0.00                                                       $0.00
The Marketplace
Thomas W. Daniels, Esq.
1265 Scottsville Road                                          RS Legacy Corporation fka RadioShack
Rochester, NY 14624                        1748      4/16/2015 Corporation                                                $87,362.00                                                                                        $87,362.00
City of Memphis, Treasurer
PO Box 185                                                     RS Legacy Corporation fka RadioShack
Memphis, TN 38101‐0185                     1749      4/21/2015 Corporation                                                                                           $0.00                                                       $0.00
M & J ‐ Big Waterfront Market, LLC
Luke A. Sizemore, Esq.
REED SMITH LLP
225 Fifth Avenue, Suite 1200                                   RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15222                       1750      4/23/2015 Corporation                                                  $6,040.64                                                                                        $6,040.64
City of Memphis, Treasurer
PO Box 185                                                     RS Legacy Corporation fka RadioShack
Memphis, TN 38101‐0185                     1751      4/21/2015 Corporation                                                                                           $0.00                                                       $0.00
Shelby County Trustee
PO Box 2751                                                    RS Legacy Corporation fka RadioShack
Memphis, TN 38101‐2751                     1752      4/21/2015 Corporation                                                                                           $0.00                                                       $0.00
City of Memphis, Treasurer
PO Box 185                                                     RS Legacy Corporation fka RadioShack
Memphis, TN 38101‐0185                     1753      4/21/2015 Corporation                                                                                           $0.00                                                       $0.00




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            Creditor Name and Address                     Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                       Amount                                                     Amount
City of Memphis, Treasurer
PO BOX 185                                                                      RS Legacy Corporation fka RadioShack
MEMPHIS, TN 38101‐0185                                      1754      4/21/2015 Corporation                                                                                           $0.00                                                       $0.00
McNeil, Alexandria
150 W School St. Apt 233                                                        RS Legacy Corporation fka RadioShack
Sharon, WI 53585                                            1755      4/23/2015 Corporation                                                    $139.95                                                                                          $139.95
City of Memphis, Treasurer
PO BOX 185                                                                      RS Legacy Corporation fka RadioShack
MEMPHIS, TN 38101‐0185                                      1756      4/21/2015 Corporation                                                                                           $0.00                                                       $0.00
City of Chandler ‐ Chandler Police Department
Alarm Unit
Attorney's Office
PO Box 4008, MS 602                                                             RS Legacy Corporation fka RadioShack
Chandler, AZ 85224‐4008                                     1757      4/21/2015 Corporation                                                    $105.00                                                                                          $105.00

System III, LLC, a California limited liability company
Michael I. Weiss, Esq.
Lerner & Weiss, APC
21600 Oxnard Street, Suite 1130                                                 RS Legacy Corporation fka RadioShack
Woodland Hills, CA 91367                                    1758      4/22/2015 Corporation                                                  $7,295.82                                                                      $0.00             $7,295.82
Capital Group MDI, LLC
c/o Roth & Scholl
Jeffrey C. Roth
866 South Dixie Highway                                                         RS Legacy Corporation fka RadioShack
Coral Gables, FL 33146                                      1759      4/21/2015 Corporation                                                      $0.00                                                                      $0.00                 $0.00

International Business Machines Corporation (IBM)
Attn: Bankruptcy Coordinator
275 VIGER E
4th Floor
MONTREAL, QC H2X 3R7                                                            RS Legacy Corporation fka RadioShack
CANADA                                                      1760      4/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Buccaneer Mall, Inc.
Attn: Marna Green, VP
PO Box 7020                                                                     RS Legacy Corporation fka RadioShack
St. Thomas, VI 00801                                        1761      4/23/2015 Corporation                                                $28,177.23                                                                                        $28,177.23
Benderson‐Wainberg Associates II, L.P.
570 Delaware Ave                                                                RS Legacy Corporation fka RadioShack
Buffalo, NY 14202                                           1762      4/23/2015 Corporation                                                $55,407.21                                                                   $2,964.56            $58,371.77
4908 Transit LLC
570 Delaware Ave                                                                RS Legacy Corporation fka RadioShack
Buffalo, NY 14202                                           1763      4/23/2015 Corporation                                                $66,516.44                                                                       $0.00            $66,516.44
BENDERSON 85‐1 TRUST
570 DELAWARE AVE                                                                RS Legacy Corporation fka RadioShack
BUFFALO, NY 14202                                           1764      4/23/2015 Corporation                                                $17,323.42                                                                   $2,594.23            $19,917.65
BENDERSON 85‐1 TRUST
570 DELAWARE AVE                                                                RS Legacy Corporation fka RadioShack
BUFFALO, NY 14202                                           1765      4/23/2015 Corporation                                                $62,889.40                                                                                        $62,889.40
Shelby County Trustee
PO Box 2751                                                                     RS Legacy Corporation fka RadioShack
MEMPHIS, TN 38101‐2751                                      1766      4/21/2015 Corporation                                                                                           $0.00                                                       $0.00




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                                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                     Amount                                                     Amount
SDI Technologies, Inc.
1299 Main Street                                                              RS Legacy Corporation fka RadioShack
Rahway, NJ 07065                                          1767      4/23/2015 Corporation                                               $134,393.46                                                                                       $134,393.46
Chumley, Shelly C.
526 Peeler Creek Rd                                                           RS Legacy Corporation fka RadioShack
Gaffney, SC 29340                                         1768      4/20/2015 Corporation                                                      $7.33                                                                                            $7.33
Deuink, Brittane
128 E. Old Camden Rd                                                          RS Legacy Corporation fka RadioShack
Hartsville, SC 29550                                      1769      4/20/2015 Corporation                                                     $63.52                                                                                           $63.52
Wissink, Ted
19 Burton Way                                                                 RS Legacy Corporation fka RadioShack
Falmouth, ME 04105                                        1770      4/20/2015 Corporation                                                     $87.76                                                                                           $87.76
Lynda Hall, in Her Official Capacity as Tax Collector
of Madison County, AL
100 NorthSide Square
Room 116                                                                     RS Legacy Corporation fka RadioShack
Huntsville, AL 35801                                      1771      4/6/2015 Corporation                                                                                        $2,562.64                                                   $2,562.64
Almase, Armando
PO Box 27                                                                     RS Legacy Corporation fka RadioShack
Weston, WV 26452                                          1772      4/20/2015 Corporation                                                     $21.19                                                                                           $21.19
Jimenez Mort, Miguel A.
Jesus M. Lago I‐24                                                            RS Legacy Corporation fka RadioShack
Utuado, PR 00641                                          1773      4/20/2015 Corporation                                                                         $0.00                                                                         $0.00
Mendez Ocasio, Jose R
748 Calle Algarrobo
URB. Highland Park                                                            RS Legacy Corporation fka RadioShack
San Juan, PR 00924                                        1774      4/20/2015 Corporation                                                                         $0.00                                                                         $0.00
Ramirez, William
William Javier Ramirez Del Pino
2408 Ave. Eduardo Conde Parque Victoria
Apt. 229 Edf.2                                                                RS Legacy Corporation fka RadioShack
San Juan, PR 00915                                        1775      4/20/2015 Corporation                                                                         $0.00                                                                         $0.00
Chawla, Ahil
91 Oak Street                                                                 RS Legacy Corporation fka RadioShack
Shrewsbury, MA 01545                                      1776      4/20/2015 Corporation                                                                                          $26.55               $0.00                                  $26.55
City of Mesquite and Mesquite Independent School
District
Schuerenberg & Grimes
120 W. Main, Suite 201                                                        RS Legacy Corporation fka RadioShack
Mesquite, TX 75149                                        1777      4/20/2015 Corporation                                                                                       $3,025.60                                                   $3,025.60
City of Mesquite and Mesquite Independent School
District
Schuerenberg & Grimes
120 W. Main, Suite 201                                                        RS Legacy Corporation fka RadioShack
Mesquite, TX 75149                                        1778      4/20/2015 Corporation                                                                                       $1,087.67                                                   $1,087.67
Southern Imperial, Inc.
Coface North America Insurance Company
50 Millstone Rd., Bldg. 100, Ste. 360
East Windsor, NJ 08520                                    1779      4/17/2015 TE Electronics LP                                            $4,248.98                                                                                        $4,248.98
Roberts, Robert
PO Box 92846                                                                  RS Legacy Corporation fka RadioShack
City of Industry, CA 91715‐2846                           1780      4/17/2015 Corporation                                                    $200.55                                                                                          $200.55



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                                                                                                                         Current General                                            Current 503(b)(9)
                                                                                                                                               Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address           Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
Southern Community Newspapers Inc
PO Box 603                                                            RS Legacy Corporation fka RadioShack
Lawrenceville, GA 30046                           1781      4/16/2015 Corporation                                                $22,294.99                                                                                        $22,294.99
KM EL MONTE INVESTORS, LLC
C/O DECRON PROPERTIES CORP.
Attn: David Nagel, President and CEO
6222 WILSHIRE BOLEVARD, SUITE 400                                     RS Legacy Corporation fka RadioShack
LOS ANGELES, CA 90048                             1782      4/27/2015 Corporation                                                $63,506.22                                                                       $0.00            $63,506.22
Department of the Treasury ‐ Internal Revenue
Service
PO Box 7346
Philadelphia, PA 19101‐7346                       1783      5/5/2015 Ignition L.P.                                                     $0.00                                                                                            $0.00
Willis, Judy W
2788 Lynn St                                                          RS Legacy Corporation fka RadioShack
Frederick, MD 21704                               1784      4/24/2015 Corporation                                                    $105.99                                                                                          $105.99
LIM, Dennis
315 California Street C                                               RS Legacy Corporation fka RadioShack
Arcadia, CA 91006                                 1785      4/24/2015 Corporation                                                     $21.26                                                                                           $21.26
SUL 620/564 LLC
Michael D. Capozzi
Ingram Yuzek, et al.
250 Park Avenue, 6th Floor                                            RS Legacy Corporation fka RadioShack
New York, NY 10177                                1786      4/24/2015 Corporation                                               $322,876.10                                                                                       $322,876.10
Duft, Jane C.
2740 Fieldstone Drive                                                 RS Legacy Corporation fka RadioShack
Maryville, IL 62062                               1787      4/24/2015 Corporation                                                     $23.47                                                                                           $23.47
Uricoli, Anne
301 13th Avenue                                                       RS Legacy Corporation fka RadioShack
Belmar, NJ 07719                                  1788      4/24/2015 Corporation                                                     $15.74                                                                                           $15.74
Harley H. Hartman
2195 Black Rock Road                                                 RS Legacy Corporation fka RadioShack
Hanover , PA 17331‐9508                           1789      5/5/2015 Corporation                                                                        $50.00                                                                         $50.00
Pennywitt, Rachel
200 Mtn View Rd                                                      RS Legacy Corporation fka RadioShack
Locust Grove, AR 72550                            1790      5/5/2015 Corporation                                                      $54.24                                                                                           $54.24
Gregor, Amanda
2507 Noble Road                                                      RS Legacy Corporation fka RadioShack
Kirkwood, PA 17536                                1791      5/5/2015 Corporation                                                      $15.00                                                                                           $15.00
Gerring, June and Ray
19046 11th Avenue NW                                                 RS Legacy Corporation fka RadioShack
Shoreline, WA 98177                               1792      5/5/2015 Corporation                                                       $5.55                                                                                            $5.55
Salberg, Jack
52 Annandale                                                         RS Legacy Corporation fka RadioShack
Nashville, TN 37215                               1793      5/5/2015 Corporation                                                                          $7.41                                                                         $7.41
Romano, Marlene I
1014 Buena Vist St. Apt 3                                            RS Legacy Corporation fka RadioShack
Duarte, CA 91010                                  1794      5/5/2015 Corporation                                                                        $50.00                                                                         $50.00
Henderson, Ericka
1909 Brightleaf Way                                                  RS Legacy Corporation fka RadioShack
Marietta, GA 30060                                1795      5/5/2015 Corporation                                                                                                                $0.00                                   $0.00




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                                                                                                                            Current General                                            Current 503(b)(9)
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            Creditor Name and Address              Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
Vyawahare, Prafulla
2112 Apricot Dr                                                         RS Legacy Corporation fka RadioShack
Irvine, CA 92618                                     1796      5/5/2015 Corporation                                                      $26.99                                                                                           $26.99
Hendricks, Linda K.
1080 Grandview Drive                                                    RS Legacy Corporation fka RadioShack
Lenoir City, TN 37772                                1797      5/5/2015 Corporation                                                      $35.09                                                                                           $35.09
Garcia, Henry
175 Science Parkway                                                     RS Legacy Corporation fka RadioShack
Rochester, NY 14620                                  1798      5/5/2015 Corporation                                                                        $25.00                                                                         $25.00
Russell, Kimberly A.
10 Old Lantern Place                                                    RS Legacy Corporation fka RadioShack
Norwalk, CT 06851                                    1799      5/5/2015 Corporation                                                      $19.68                                                                                           $19.68
Keys Connection LLC
RadioShack Store 22N004
255 Key Deer Blvd.                                                      RS Legacy Corporation fka RadioShack
Big Pine Key, FL 33043                               1800      5/5/2015 Corporation                                                 $90,000.00                                                                                        $90,000.00
Linda C.Wachter
89 Tennyson Street                                                      RS Legacy Corporation fka RadioShack
Carteret, NJ 07008                                   1801      5/5/2015 Corporation                                                      $25.12                                                                                           $25.12
MEPT West Cobb Marketplace, LLC
c/o Seyfarth Shaw LLP
Attn: Marianne M. Dickson
560 Mission Street, Suite 3100                                           RS Legacy Corporation fka RadioShack
San Francisco, CA 94105                              1802      4/24/2015 Corporation                                                $48,083.43                                                                                        $48,083.43
Remo Tartaglia Assocs., LLC f/k/a Remo Tartaglia
Assocs.
Tartaglia Commercial Properties
477 Main Street, Suite 212                                               RS Legacy Corporation fka RadioShack
Monroe, CT 06468                                     1803      4/24/2015 Corporation                                                $75,668.47                                                                                        $75,668.47
Mondragon, Maria
308 S. AVE M                                                             RS Legacy Corporation fka RadioShack
Marble Falls, TX 78654                               1804      4/21/2015 Corporation                                                                      $151.00                                                                        $151.00
WELL SHIN TECHNOLOGY CO., LTD.
Mr. Tim Liu
No. 196, XinHu 3rd Rd.
Nei Hu District
114 Taipei City                                                          RS Legacy Corporation fka RadioShack
Taiwan                                               1805      4/16/2015 Corporation                                                      $0.00                                                                                            $0.00
Hernandez Gonzalez, Alexander
Urb. Bosque de la Sierra
Coqui Guajon #705                                                        RS Legacy Corporation fka RadioShack
Caguas, PR 00725                                     1806      4/15/2015 Corporation                                                                         $0.00                                                                         $0.00
Gutenberg, Dalia
1‐27 27th Street                                                         RS Legacy Corporation fka RadioShack
Fair Lawn, NJ 07410                                  1807      4/24/2015 Corporation                                                     $12.84                                                                                           $12.84
Renzi, Daniel J.
36 Timber Trace                                                          RS Legacy Corporation fka RadioShack
Malta, NY 12020                                      1808      4/24/2015 Corporation                                                     $10.69                                                                                           $10.69
Desai, Parvi
222 Regina St.                                                           RS Legacy Corporation fka RadioShack
Iselin, NJ 08830                                     1809      4/24/2015 Corporation                                                                       $50.00                                                                         $50.00




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                                                                                                                     Current General                                            Current 503(b)(9)
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                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                     Amount
Serrano, Jose
1290 Highland Dr.                                                 RS Legacy Corporation fka RadioShack
Des Plaines, IL 60018                         1810      4/24/2015 Corporation                                                     $50.00                                                                                           $50.00
Dilluvio, John
6589 Terrace Court Apt 3                                          RS Legacy Corporation fka RadioShack
Middle Village, NY 11379                      1811      4/24/2015 Corporation                                                                                          $23.94                                                      $23.94
Knight, Wayne
8075 Kimberly Ct                                                 RS Legacy Corporation fka RadioShack
Largo, FL 33777                               1812      5/5/2015 Corporation                                                                                            $0.00               $0.00                                   $0.00
Redstone Operating Limited Partnership
Paul W. Carey, Esq./Kate P. Foley, Esq.
Mirick, O'Connell, DeMallie & Lougee, LLP
100 Front St.                                                     RS Legacy Corporation fka RadioShack
Worcester, MA 01608                           1813      4/27/2015 Corporation                                                  $7,741.20                                                                                        $7,741.20
Marrapu, Nihar
4261 Stevenson Blvd, Apt # 119                                    RS Legacy Corporation fka RadioShack
Fremont, CA 94538                             1814      4/27/2015 Corporation                                                                      $100.00                                                                        $100.00
AIRPORT 50 LLC
C/O THE HONE COMPANY
101 SW Main Street, Suite 1100                                    RS Legacy Corporation fka RadioShack
Portland, OR 97204                            1815      4/27/2015 Corporation                                                $40,213.14               $0.00                                                   $0.00            $40,213.14
Kerber, Sandra
60 Dautrich Rd                                                    RS Legacy Corporation fka RadioShack
Reading, PA 19606                             1816      4/27/2015 Corporation                                                                       $34.96                                                                         $34.96
Rector, Avery Lewis
General Delivery                                                 RS Legacy Corporation fka RadioShack
Fort Lauderdale, FL 33310‐9999                1817      5/6/2015 Corporation                                                      $11.98                                                                                           $11.98
Webb, Ray C
6812 Calle Santiago NE                                           RS Legacy Corporation fka RadioShack
Albuquerque, NM 87113                         1818      5/6/2015 Corporation                                                      $25.00                                                                                           $25.00
Taylor, William
4835 Labadie                                                     RS Legacy Corporation fka RadioShack
St. Louis, MO 63115                           1819      5/6/2015 Corporation                                                      $22.67                                                                                           $22.67
Maximous, Andrew
12001 National Blvd                                               RS Legacy Corporation fka RadioShack
Los Angeles, CA 90064                         1820      4/27/2015 Corporation                                                                                                               $8.78                                   $8.78
Brooks, Corey
930 Piercefield Dr                                               RS Legacy Corporation fka RadioShack
Richmond Hill, GA 31324                       1821      5/6/2015 Corporation                                                      $37.53                                                                                           $37.53
Ramos, Marielena
633 N. Irving Blvd                                               RS Legacy Corporation fka RadioShack
Los Angeles, CA 90004                         1822      5/6/2015 Corporation                                                      $64.48                                                                                           $64.48
Maxell Corporation of America
Attn: Len Haine
3 Garret Mountain Plaza                                          RS Legacy Corporation fka RadioShack
Woodland Park, NJ 07424‐3352                  1823      5/6/2015 Corporation                                                 $23,460.20                                                                                        $23,460.20
DULLES TOWN CENTER MALL, LLC
LERNER CORPORATION
2000 TOWER OAKS BLVD. 8th Floor                                  RS Legacy Corporation fka RadioShack
ROCKVILLE, MD 20852                           1824      5/6/2015 Corporation                                                   $7,304.41                                                                                        $7,304.41




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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Krampe, Claude
24406 Oaks Blvd.                                              RS Legacy Corporation fka RadioShack
Land O Lakes, FL 34639                     1825      5/6/2015 Corporation                                                                                          $75.99                                                      $75.99
J + K Electronics, Inc.
PO Box 822                                                    RS Legacy Corporation fka RadioShack
Campton, KY 41301                          1826      5/6/2015 Corporation                                                    $701.97           $517.00                                                                      $1,218.97
CITY OF ROCK HILL
Attn: Envinia Quinones
PO BOX 11706                                                  RS Legacy Corporation fka RadioShack
ROCK HILL, SC 29731                        1827      5/6/2015 Corporation                                                  $2,579.03                                                                                        $2,579.03
Knishka, Jenelle
PO Box 716                                                    RS Legacy Corporation fka RadioShack
Peshastn, WA 98847                         1828      5/6/2015 Corporation                                                     $43.35                                                                                           $43.35
Adams, Michele
664 Townbank Rd
Apt 209                                                       RS Legacy Corporation fka RadioShack
Cape May, NJ 08204                         1829      5/6/2015 Corporation                                                      $0.00                                                                                            $0.00
Sharpe, Adrian
4470 N.W. 71 Ave                                              RS Legacy Corporation fka RadioShack
Lauderhill, FL 33319                       1830      5/6/2015 Corporation                                                                                                               $0.00                                   $0.00
Arnold, Tami L.
1413 Briarcroft Rd                                            RS Legacy Corporation fka RadioShack
Claremont, CA 91711                        1831      5/6/2015 Corporation                                                                                                               $0.00                                   $0.00
Skills of Central PA, Inc.
2437 Commercial Blvd, Ste 1                                   RS Legacy Corporation fka RadioShack
State College, PA 16801                    1832      5/6/2015 Corporation                                                                      $100.00                                                                        $100.00
Pecorella, Vincent V
4939 Floramar Terr #707                                       RS Legacy Corporation fka RadioShack
New Port Richey, FL 34652                  1833      5/6/2015 Corporation                                                    $200.76                                                                                          $200.76
Hatter, Jennifer
304 East Centre Street                                        RS Legacy Corporation fka RadioShack
Donaldson, PA 17981                        1834      5/5/2015 Corporation                                                     $25.00                                                                                           $25.00
Nguyen, Van
4846 E. Stetson Lane                                          RS Legacy Corporation fka RadioShack
Orange, CA 92869                           1835      5/6/2015 Corporation                                                                                         $110.03                                                     $110.03
Reston North Point Village LLLP
c/o Lerner Corporation
2000 Tower Oaks Blvd., 8th Floor                              RS Legacy Corporation fka RadioShack
ROCKVILLE, MD 20852                        1836      5/6/2015 Corporation                                                  $5,015.11                                                                                        $5,015.11
MONROVIA SHOPPING CENTER LLC
Peter E. Ronay, Esq.
527 S. Lake Ave. Suite 102                                    RS Legacy Corporation fka RadioShack
Pasadena, CA 91101                         1837      5/6/2015 Corporation                                                  $5,967.50                                                                                        $5,967.50
Hughes , J. Louis
21876 Benton Rd                                               RS Legacy Corporation fka RadioShack
McSick, MI 49668                           1838      5/6/2015 Corporation                                                     $15.89                                                                                           $15.89
Rogers, Leane
6946 N. Oicott Avenue                                         RS Legacy Corporation fka RadioShack
Chicago, IL 60631                          1839      5/5/2015 Corporation                                                     $21.84                                                                                           $21.84
Taylor, Thomas
1001 Kessler                                                  RS Legacy Corporation fka RadioShack
El Paso, TX 79907                          1840      5/6/2015 Corporation                                                                                           $4.13                                                       $4.13



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            Creditor Name and Address               Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
City of Lawrence
Lawrence Utility Billing
PO Box 708                                                               RS Legacy Corporation fka RadioShack
Lawrence, KS 66044                                    1841      5/5/2015 Corporation                                                     $498.08                                                                                          $498.08
Taecker, David
21220 N 23rd Ave
Apt 125                                                                  RS Legacy Corporation fka RadioShack
Phoenix , AZ 85027                                    1842      5/5/2015 Corporation                                                      $32.09                                                                                           $32.09
WP Company LLC
1150 15th Street NW                                                      RS Legacy Corporation fka RadioShack
Washington, DC 20071                                  1843      5/5/2015 Corporation                                                $203,669.37                                                                                       $203,669.37
REYES, LUIS
12512 COUNTY ROAD 421                                                    RS Legacy Corporation fka RadioShack
ROSHARON, TX 77583                                    1844      5/5/2015 Corporation                                                                        $21.59                                                                         $21.59
Reitz, Duane
1225 10th St                                                             RS Legacy Corporation fka RadioShack
Nevada, IA 50201                                      1845      5/5/2015 Corporation                                                      $40.00                                                                                           $40.00
Recchioni, Marcus
32990 Bluebird Loop                                                      RS Legacy Corporation fka RadioShack
Fremont, CA 94555                                     1846      5/5/2015 Corporation                                                     $400.00                                                                                          $400.00
Pedroza, Lourdes G.
3403 Frutas Ave                                                          RS Legacy Corporation fka RadioShack
El Paso, TX 79905                                     1847      5/5/2015 Corporation                                                                                          $118.66                                                     $118.66

2505 Broadway Co.
c/o Ingram Yuzek Gainen Carroll & Bertolotti, LLP
250 park avenue
6th floor                                                                RS Legacy Corporation fka RadioShack
New York , New York 10177                             1848      5/4/2015 Corporation                                                $165,932.21                                                                                       $165,932.21
Lopez, Bettina L.
127 Watson Avenue                                                         RS Legacy Corporation fka RadioShack
Hamilton, NJ 08610                                    1849      4/27/2015 Corporation                                                                                                               $0.00                                   $0.00
STANDARD PROPERTY GROUP, LP
C/O ROBB REAL ESTATE COMPANY
5816 FORBES AVENUE                                                       RS Legacy Corporation fka RadioShack
PITTSBURGH, PA 15217                                  1850      5/4/2015 Corporation                                                   $1,739.95                                                                                        $1,739.95
Gaston, Kelly
1619 Broadway                                                            RS Legacy Corporation fka RadioShack
Bethlehem, PA 18015                                   1851      5/5/2015 Corporation                                                      $84.79                                                                                           $84.79
McClain, Kathleen
950 Freeport Rd                                                          RS Legacy Corporation fka RadioShack
Brackenridge, PA 15014                                1852      5/5/2015 Corporation                                                      $99.00                                                                                           $99.00
Iuppa, Susan
108 Teel Brooke Rd.                                                      RS Legacy Corporation fka RadioShack
Rocky Mount, VA 24151‐4141                            1853      5/5/2015 Corporation                                                      $57.89                                                                                           $57.89
Oriz Tamayo, Leonel Antonio
HK 5 Calle 255
URB Country Club                                                         RS Legacy Corporation fka RadioShack
Carolina, PR 00982                                    1854      5/5/2015 Corporation                                                                          $0.00                                                                         $0.00




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            Creditor Name and Address        Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                     Amount
Rushton, Stakely, Johnston & Garrett, P.A.
c/o R. Austin Huffaker, Jr.
PO Box 270                                                        RS Legacy Corporation fka RadioShack
Montgomery, AL 36101                           1855      5/4/2015 Corporation                                                  $1,159.72                                                                                        $1,159.72
Sipio, John
761 Burmont Road
1st Floor                                                         RS Legacy Corporation fka RadioShack
Drexel Hill, PA 19026                          1856      5/5/2015 Corporation                                                     $49.99                                                                                           $49.99
Azadi, Amad
802 Primrose Dr.                                                  RS Legacy Corporation fka RadioShack
Seven Hills, OH 44131                          1857      5/5/2015 Corporation                                                                                                               $0.00                                   $0.00
Sonnenburg, William R.
402 Ohio Ave.                                                     RS Legacy Corporation fka RadioShack
Signal Mtn., TN 37377                          1858      5/5/2015 Corporation                                                     $16.38                                                                                           $16.38
Adam Singer
1 Baker Lane                                                      RS Legacy Corporation fka RadioShack
Suffern, NY 10901                              1859      5/5/2015 Corporation                                                     $20.00                                                                                           $20.00
LITECORR GLOBAL INC.
LITECORR CANADA
235‐WATLINE AVE
MISSISSAUGA, ON L4Z1P3                                            RS Legacy Corporation fka RadioShack
CANADA                                         1860      5/5/2015 Corporation                                                    $814.00                                                                                          $814.00
Tyus, Erika
19383 Prairie                                                     RS Legacy Corporation fka RadioShack
Detroit, MI 48221                              1861      5/5/2015 Corporation                                                                                                              $20.00                                  $20.00
Hampton, Jamey B.
14209 Tranters Creek Lane                                         RS Legacy Corporation fka RadioShack
Charlotte, NC 28273                            1862      5/5/2015 Corporation                                                    $107.00                                                                                          $107.00
Anzai, Ronald
32914 Brookseed Dr.                                               RS Legacy Corporation fka RadioShack
Trabuco Canyon, CA 92679                       1863      5/5/2015 Corporation                                                     $59.40                                                                                           $59.40
Stengel, Jutta H
9757 E. Cannon Pl.                                                RS Legacy Corporation fka RadioShack
Tucson, AZ 85748‐3337                          1864      5/5/2015 Corporation                                                     $14.06                                                                                           $14.06
City of Lawrence
ATTN: Lawrence Utility Billing
PO Box 708                                                        RS Legacy Corporation fka RadioShack
Lawrence, KS 66044                             1865      5/5/2015 Corporation                                                    $414.78                                                                                          $414.78
Penna, Ronald J
2384 Peter Smith Rd.                                              RS Legacy Corporation fka RadioShack
Kent, NY 14477                                 1866      5/5/2015 Corporation                                                                       $40.00                                                                         $40.00
GASTON, JENNIFER
2414 SW FOXPOINT TRAIL                                            RS Legacy Corporation fka RadioShack
PALM CITY , FL 34980                           1867      5/5/2015 Corporation                                                     $31.79                                                                                           $31.79
Group II Commercial Real Estate, Inc.
818 Grayson Road, Ste 100                                         RS Legacy Corporation fka RadioShack
Pleasant Hill, CA 94523                        1868      5/4/2015 Corporation                                                  $5,185.00                                                                                        $5,185.00
Grayson, Meshia
10650 Steppington Dr
#128                                                              RS Legacy Corporation fka RadioShack
Dallas, TX 75230                               1869      5/5/2015 Corporation                                                     $37.00                                                                                           $37.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
David H.McKinney, III
501Wildwood Ct.                                               RS Legacy Corporation fka RadioShack
Champaign, IL 61821                        1870      5/4/2015 Corporation                                                      $54.49                                                                                           $54.49
Halley, Paul
950 Columbia Hwy                                              RS Legacy Corporation fka RadioShack
Bridgeton, NJ 08302                        1871      5/5/2015 Corporation                                                                                                                                                        $0.00
O'Neill, Karen
P.O. Box 171126                                               RS Legacy Corporation fka RadioShack
Boston, MA 02117                           1872      5/5/2015 Corporation                                                      $50.00                                                                                           $50.00
Deffner, Michael C.
1302 Hermitage Rd                                             RS Legacy Corporation fka RadioShack
Colonial Heights, VA 23834                 1873      5/5/2015 Corporation                                                      $24.00                                                                                           $24.00
DiSciascio, Lisette
3815 Cleveland St                                             RS Legacy Corporation fka RadioShack
Hollywood, FL 33021                        1874      5/5/2015 Corporation                                                      $35.99                                                                                           $35.99
Waryas, Nora
4804 N. Hamilton Apt 4s                                       RS Legacy Corporation fka RadioShack
Chicago, IL 60625                          1875      5/5/2015 Corporation                                                      $85.39                                                                                           $85.39
Davis, Connie
PO Box 16188                                                   RS Legacy Corporation fka RadioShack
Portland, OR 97292                         1876      4/27/2015 Corporation                                                     $10.99                                                                                           $10.99
Barbati, Joseph
63 South Main Street Suite ‐ A                                 RS Legacy Corporation fka RadioShack
Randolph , MA 02368                        1877      4/27/2015 Corporation                                                     $44.05                                                                                           $44.05
City of Lawrence
Lawrence Utility Billing
PO Box 708                                                    RS Legacy Corporation fka RadioShack
Lawrence, KS 66044                         1878      5/5/2015 Corporation                                                      $51.26                                                                                           $51.26
Saenz, Francisco
233 Elmwood Dr                                                RS Legacy Corporation fka RadioShack
Parsippany, NJ 07054                       1879      5/5/2015 Corporation                                                                                                               $64.19                                  $64.19
Ings, Linda D.
4341 N. 15th St                                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19140                     1880      5/5/2015 Corporation                                                      $37.79                                                                                           $37.79
Ludford, Meranda M.
8615 Valley View Ct.                                          RS Legacy Corporation fka RadioShack
Chanhassen, MN 55317                       1881      5/4/2015 Corporation                                                      $24.58                                                                                           $24.58
Norton, James
3118 Lowingwood Ct                                            RS Legacy Corporation fka RadioShack
Jenison, MI 49428                          1882      5/4/2015 Corporation                                                      $50.00                                                                                           $50.00
Smith, Ronnie W
6260 W Azure 12R                                              RS Legacy Corporation fka RadioShack
Las Vegas, Nevada 89130                    1883      5/4/2015 Corporation                                                     $100.00                                                                                          $100.00
Scoville, Bernard E.
2395 Garden Hwy                                               RS Legacy Corporation fka RadioShack
Sacramento, CA 95833                       1884      5/4/2015 Corporation                                                                                       $13,037.50                                                  $13,037.50
Kelljcheain, Connie
15 Sherry Lane                                                RS Legacy Corporation fka RadioShack
Neptune, NJ 07753                          1885      5/4/2015 Corporation                                                      $42.79                                                                                           $42.79
Roosth Interests 850, LLC
3310 South Broadway, Suite 200                                 RS Legacy Corporation fka RadioShack
Tyler, TX 75701                            1886      4/28/2015 Corporation                                                  $2,501.57                                                                                        $2,501.57



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                                                                                                                       Current General                                            Current 503(b)(9)
                                                                                                                                             Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address        Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
Cyber Power Systems, Inc.
Jeffrey Tulchin
STA Intl                                                           RS Legacy Global Sourcing Limited Partnership
1400 Old Country Rd, Ste                                           fka RadioShack Global Sourcing Limited
Westbury, NY 11590                             1887      4/27/2015 Partnership                                                 $87,972.48                                                                                        $87,972.48
McKenzie, Gail
1090 W. Huff St.                                                  RS Legacy Corporation fka RadioShack
Rialto, CA 92376                               1888      5/4/2015 Corporation                                                                                                                $20.92                                  $20.92
Mosley Monogram
444 Gunter Ave                                                     RS Legacy Corporation fka RadioShack
Guntersville, AL 35976                         1889      4/27/2015 Corporation                                                                                                               $57.23                                  $57.23
Eduardo Rodriguez and Evelia Rodriguez
ERIK L. HUBBARD
c/o VILLA CAPITAL PROPERTIES, LLC
823 Superior St., #C                                              RS Legacy Corporation fka RadioShack
Chicago, IL 60642                              1890      5/1/2015 Corporation                                                  $53,596.68                                                                                        $53,596.68
Campbell, Pamela
3576 E. Lake Dr                                                    RS Legacy Corporation fka RadioShack
Metamora, MI 48455                             1891      4/28/2015 Corporation                                                      $26.49                                                                                           $26.49
Farkas, Jonathan
2125 E 72 Street                                                   RS Legacy Corporation fka RadioShack
Brooklyn, NY 11234                             1892      4/28/2015 Corporation                                                                        $53.27                                                                         $53.27
Orecchio Egresitz, Lauren
161 Halyburton Memorial Parkway
Apt 103                                                            RS Legacy Corporation fka RadioShack
Wilmington, NC 28412                           1893      4/29/2015 Corporation                                                                        $41.38                                                                         $41.38
VanAmburg, Steven
740 Breezy Oak Ct.                                                 RS Legacy Corporation fka RadioShack
DeLand, FL 32724                               1894      4/28/2015 Corporation                                                      $30.91                                                                                           $30.91
Davila, Gianina
3985 SW 137th Ave                                                  RS Legacy Corporation fka RadioShack
Davie, FL 33330                                1895      4/30/2015 Corporation                                                                                                               $49.90                                  $49.90
The City of Daytona Beach
Robert Jagger, Deputy City Attorney
301 S. Ridgewood Avenue                                           RS Legacy Corporation fka RadioShack
Daytona Beach, FL 32114                        1896      5/7/2015 Corporation                                                      $297.70                                                                                          $297.70
Gomez, Nicholas & Teodora
219‐21 Jamaica Ave.                                               RS Legacy Corporation fka RadioShack
Queens Village, NY 11428                       1897      5/7/2015 Corporation                                                        $0.00                                                                                            $0.00
Bridle Development Corporation
c/o E.Rebecca Case
Stone, Leyton & Gershman
7733 Forsyth Boulevard, Suite 500                                 RS Legacy Corporation fka RadioShack
St Louis, MI 63105                             1898      5/7/2015 Corporation                                                    $7,701.16                                                                                        $7,701.16
Dubois, Brenda
9878 Via Esperanza                                                RS Legacy Corporation fka RadioShack
Alta Loma, CA 91737                            1899      5/7/2015 Corporation                                                       $15.00                                                                                           $15.00
1040 SECOND STREET PIKE ASSOCIATES I, L.P.
SOLOFF REALTY & DEVELOPMENT, INC.
1 PRESIDENTIAL BOULEVARD, #202                                    RS Legacy Corporation fka RadioShack
BALA CYNWYD, PA 19004                          1900      5/5/2015 Corporation                                                    $1,215.97                                                                                        $1,215.97




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            Creditor Name and Address                 Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
Brandt, Dirk Allen
5211 Red Fox Drive                                                          RS Legacy Corporation fka RadioShack
Brighton, MI 48114                                      1901      4/29/2015 Corporation                                                      $5.32                                                                                            $5.32
Stack, Robert M.
11 Olofsson Street                                                         RS Legacy Corporation fka RadioShack
Braintree, MA 02184                                     1902      5/7/2015 Corporation                                                      $30.00                                                                                           $30.00
Clark , Brenda
10469 Balsa St.                                                            RS Legacy Corporation fka RadioShack
Rancho Cucamonga , CA 91730                             1903      5/7/2015 Corporation                                                      $34.58                                                                                           $34.58
DUNBAR ARMORED INC.
50 Schilling Road
Attn: Kathy Childress                                                      RS Legacy Corporation fka RadioShack
Hunt Valley, MD 21031                                   1904      4/7/2015 Corporation                                                   $1,789.64                                                                                        $1,789.64
Hanson, Scott
4148 E. Rockledge Rd                                                       RS Legacy Corporation fka RadioShack
Phoenix, AZ 85044                                       1905      5/7/2015 Corporation                                                      $60.00                                                                                           $60.00
Bridle Development Corporation
E. Rebecca Case
Stone,Leyton & Gershman
A Professional Corporation
7733 Forsyth Boulevard, Suite 500                                          RS Legacy Corporation fka RadioShack
St. Louis, MO 63105                                     1906      5/7/2015 Corporation                                                 $36,607.00                                                                                        $36,607.00
Thomson Reuters Tax and Accounting
610 Opperman Drive                                                          RS Legacy Corporation fka RadioShack
Eagan, MN 55123                                         1907      4/27/2015 Corporation                                                $29,634.92                                                                                        $29,634.92
Hilyard, Juanita
2065 Fetter Rd                                                              RS Legacy Corporation fka RadioShack
Lima, OH 45801                                          1908      4/27/2015 Corporation                                                     $20.00                                                                                           $20.00
Metz, Douglas P.
117 Serenity Bay Boulevard                                                  RS Legacy Corporation fka RadioShack
St. Augustine Beach, FL 32080                           1909      4/24/2015 Corporation                                                     $50.00                                                                                           $50.00
Sweeney, Daniel
1706 Huntington Court                                                       RS Legacy Corporation fka RadioShack
Safety Harbor, FL 34695                                 1910      4/24/2015 Corporation                                                     $15.00                                                                                           $15.00
Hackney, Alisha
123 Albemarle St.                                                           RS Legacy Corporation fka RadioShack
Baltimore, MD 21202                                     1911      4/24/2015 Corporation                                                                                                              $63.85                                  $63.85

MEC Fitchburg Associates Limited Partnership,
successor‐in‐interest to Harold Cohen and Martin E.
Cohen, Trustees of Fitchtex Realty Trust
Paul W. Carey, Esq. / Kate P. Foley, Esq.
Mirick, O'Connell, DeMallie & Lougee, LLP
100 Front St.                                                               RS Legacy Corporation fka RadioShack
Worcester, MA 01608                                     1912      4/27/2015 Corporation                                                $11,800.00                                                                                        $11,800.00
Gilbert, Mary‐Jo
7 Wilson Court                                                              RS Legacy Corporation fka RadioShack
Enfield, CT 06082                                       1913      4/24/2015 Corporation                                                     $15.94                                                                                           $15.94




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                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
SK Drive Properties, LLC successor‐in‐interest to SK
Drive, LLC
Paul W. Carey, Esq. / Kate P. Foley, Esq.
Mirick, O'Connell, DeMallie & Lougee, LLP
100 Front St.                                                                RS Legacy Corporation fka RadioShack
Worcester, MA 01608                                      1914      4/27/2015 Corporation                                               $109,137.72                                                                                       $109,137.72
HUNTSVILLE COMMONS, LLC
c/o Joseph Goldstein
400 Mall Blvd., Suite M                                                      RS Legacy Corporation fka RadioShack
Savannah, GA 31406                                       1915      4/27/2015 Corporation                                                      $0.00                                                                                            $0.00
Redman Associates
Michael S. Amato, Esq.
RUSKIN MOSCOU FALTISCHEK, P.C.
EAST TOWER, 15TH FLOOR
1425 RXR PLAZA                                                               RS Legacy Corporation fka RadioShack
UNIONDALE, NY 11556‐1425                                 1916      4/27/2015 Corporation                                               $291,941.48                                                                                       $291,941.48
Scatterfield Road Associates, LLC
ATTN: Karen Byrge
PO BOX 639                                                                   RS Legacy Corporation fka RadioShack
Anderson, IN 46015                                       1917      4/27/2015 Corporation                                                $52,992.00                                                                                        $52,992.00
Garringer, Shirley
673 River Birch Rd.                                                          RS Legacy Corporation fka RadioShack
Washington Court House, OH 43160                         1918      4/27/2015 Corporation                                                     $23.58                                                                                           $23.58
King, Kathy
2727 Chesapeake Drive                                                        RS Legacy Corporation fka RadioShack
Hueytown, AL 35023                                       1919      4/27/2015 Corporation                                                     $30.00                                                                                           $30.00
Giovetsis, Constantine
530 Simms St.                                                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19116                                   1920      5/4/2015 Corporation                                                      $31.80                                                                                           $31.80
Mobile Area Water & Sewer System (MAWSS)
Attn: C.T. Cain
PO Box 2368                                                                 RS Legacy Corporation fka RadioShack
Mobile, AL 36652                                         1921      5/5/2015 Corporation                                                     $130.52                                                                                          $130.52
Pitney Bowes Software Inc.
One Global View                                                             RS Legacy Corporation fka RadioShack
Troy, NY 12180                                           1922      5/5/2015 Corporation                                                 $43,756.91                                                                                        $43,756.91
Mendelson, Karla Jackson
408 5th St.                                                                 RS Legacy Corporation fka RadioShack
Manhattan Beach, CA 90266                                1923      5/4/2015 Corporation                                                      $32.69                                                                                           $32.69
Town of Milford NH
Town of Milford, Tax Collector
1 Union Square                                                              RS Legacy Corporation fka RadioShack
Milford, NH 03055                                        1924      5/4/2015 Corporation                                                                        $42.20                                                                         $42.20
Villano, Kellie
415 Post Ave                                                                 RS Legacy Corporation fka RadioShack
Lyndhurst, NJ 07071                                      1925      4/28/2015 Corporation                                                     $47.97                                                                                           $47.97
Kagan, Dale
726 Strawberry Hill Dr                                                       RS Legacy Corporation fka RadioShack
Glencoe, IL 60022                                        1926      4/29/2015 Corporation                                                                                          $20.00                                                      $20.00
Serpas, Melvin
6060 Bellaire Blvd. Ste. E                                                  RS Legacy Corporation fka RadioShack
Houston, TX 77081                                        1927      5/4/2015 Corporation                                                      $43.29                                                                                           $43.29



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                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
James F. Ade, Jr.
1728 Teresa Ct.                                                RS Legacy Corporation fka RadioShack
Downingtown, PA 19335                       1928      5/7/2015 Corporation                                                       $21.19                                                                                           $21.19
Lake Square Mall Realty Management, LLC
10401 US HWY 441
Leesburg, FL 34788                          1929      5/4/2015 Atlantic Retail Ventures, Inc.                                     $0.00                                                                                            $0.00
Mounce, Diane
1748 Dove Lane                                                  RS Legacy Corporation fka RadioShack
Lake Charles, LA 70605                      1930      4/30/2015 Corporation                                                                                                               $40.00                                  $40.00
Claim Docketed In Error                                         RS Legacy Corporation fka RadioShack
                                            1931      5/4/2015 Corporation                                                                                                                                                         $0.00
Collins, Sharon J.
37 Courtland St                                                RS Legacy Corporation fka RadioShack
Nashua, NH 03064                            1932      5/4/2015 Corporation                                                       $14.99                                                                                           $14.99
Erickson, Patricia
3399 Sherwood Rd                                               RS Legacy Corporation fka RadioShack
Bay City, MI 48706                          1933      5/4/2015 Corporation                                                      $100.00                                                                                          $100.00
T OTTAWA CENTER IL, LLC
16600 DALLAS PARKWAY
SUITE 300                                                      RS Legacy Corporation fka RadioShack
DALLAS, TX 75248                            1934      5/4/2015 Corporation                                                    $7,419.96                                                                                        $7,419.96
Miami Dade Water and Sewer Department
Attn: Collection Branch/Bankruptcy Unit
P.O.Box 149089                                                 RS Legacy Corporation fka RadioShack
Coral Gables, FL 33114                      1935      5/4/2015 Corporation                                                    $1,508.07                                                                                        $1,508.07
Berrios, Diane
1048 S.Sierra Vista                                            RS Legacy Corporation fka RadioShack
Alhambra, CA 91801                          1936      5/4/2015 Corporation                                                                        $162.46              $0.00               $0.00                                 $162.46
WILSON OFFICE INTERIORS, LLC
5051 PULASKI ST                                                RS Legacy Corporation fka RadioShack
DALLAS, TX 75247                            1937      5/4/2015 Corporation                                                  $17,011.48                                                     $0.00                              $17,011.48
SANSONE PLAZA ON THE BOULEVARD, LLC
c/o STUART RADLOFF
ATTORNEY AT LAW
13321 N. OUTER 40 ROAD SUITE800                                RS Legacy Corporation fka RadioShack
TOWN & COUNTRY , MO 63017                   1938      5/4/2015 Corporation                                                  $13,333.28                                                                                        $13,333.28
Shenandoah Valley Electric Cooperative
PO Box 236                                                     RS Legacy Corporation fka RadioShack
Mt. Crawford, VA 22841‐0236                 1939      5/4/2015 Corporation                                                    $1,048.53                                                                                        $1,048.53
GB Mall Limited Partnership
Marc "Kap" Kapastin, General Counsel
4912 Del Ray Ave                                               RS Legacy Corporation fka RadioShack
Bethesda, MD 20814                          1940      5/4/2015 Corporation                                                  $80,010.88                                                                                        $80,010.88
McKernan, Patricia
112 Englewood Road                                             RS Legacy Corporation fka RadioShack
North Cape May, NJ 08204                    1941      5/4/2015 Corporation                                                                                                                $34.24                                  $34.24
Sansone Plaza on the Boulevard, LLC
c/o Stuart Radloff
Attorney at Law
13321 N. Outer 40 Road, Suite 800                              RS Legacy Corporation fka RadioShack
Town and Country, MO 63017                  1942      5/4/2015 Corporation                                                  $63,248.97                                                                                        $63,248.97




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Blue Ridge Radio, Inc. dba WBRF‐FM 98.1
Attn: Jason Blevins
PO Box 838                                                     RS Legacy Corporation fka RadioShack
Galax, VA 24333                             1943      5/4/2015 Corporation                                                  $1,710.20                                                                                        $1,710.20
Steckler, Henry
8 SEABREEZE AVE,
APT. D                                                         RS Legacy Corporation fka RadioShack
MILFORD, CT 06460                           1944      5/4/2015 Corporation                                                     $23.63                                                                                           $23.63
Dudek, Lawrence E.
PO Box 141                                                     RS Legacy Corporation fka RadioShack
Timberon, NM 88350                          1945      5/4/2015 Corporation                                                     $18.17                                                                                           $18.17
Griswold, Lisa M.
8 Odyssey Ln                                                   RS Legacy Corporation fka RadioShack
Franklin, MA 02038                          1946      5/4/2015 Corporation                                                     $38.00                                                                                           $38.00
Kerr Manistee, LLC
c/o David J. Hutchinson
106 N. 4th Ave                                                 RS Legacy Corporation fka RadioShack
Ann Arbor, MI 48104                         1947      5/4/2015 Corporation                                                  $1,117.49                                                                                        $1,117.49
Bayside Limited Partnership
Marc "Kap" Kapstein, General Counsel
4912 Del Ray Ave                                               RS Legacy Corporation fka RadioShack
Bethesda, MD 20814                          1948      5/4/2015 Corporation                                                  $5,021.62                                                                                        $5,021.62
Andrews, Lindalee J.
PO BOX 445                                                     RS Legacy Corporation fka RadioShack
North Falmouth, MA 02556                    1949      5/4/2015 Corporation                                                     $11.68                                                                                           $11.68
Bosworth, Michael
5127 San Vicente Dr.                                           RS Legacy Corporation fka RadioShack
Santa Barbara, CA 93111                     1950      5/4/2015 Corporation                                                     $26.90                                                                                           $26.90
Parker, Michael
4228 Suncroft Drive                                            RS Legacy Corporation fka RadioShack
Apex, NC 27539                              1951      5/4/2015 Corporation                                                     $25.41                                                                                           $25.41
Sharamet, Artem
290 West Main St. Apt. 331                                     RS Legacy Corporation fka RadioShack
Hyannis, MA 02601                           1952      5/4/2015 Corporation                                                     $26.55                                                                                           $26.55
Torres, Sol
4222 Ketcham St #18F                                           RS Legacy Corporation fka RadioShack
Elmhurst, NY 11373                          1953      5/4/2015 Corporation                                                                       $75.00                                                                         $75.00
Russo, Peter
3 Macintosh Rd.                                                RS Legacy Corporation fka RadioShack
Bedford, MA 01730                           1954      5/4/2015 Corporation                                                    $138.11                                                                                          $138.11
Harris, Angel
1006 3rd Street SW                                             RS Legacy Corporation fka RadioShack
Washington, DC 20024                        1955      5/4/2015 Corporation                                                     $22.22                                                                                           $22.22
Hairston, Pamela
50 Riverdale Ave Apt 3A                                        RS Legacy Corporation fka RadioShack
Yonkers, NY 10701                           1956      5/4/2015 Corporation                                                      $0.00                                                                                            $0.00
Greenberg, Susan
194 Patton Dr.                                                 RS Legacy Corporation fka RadioShack
Cheshire, CT 06410                          1957      5/4/2015 Corporation                                                     $84.88                                                                                           $84.88
Ingoglia, William
1523 Holiday Park Drive                                        RS Legacy Corporation fka RadioShack
Wantagh , NY 11793                          1958      5/4/2015 Corporation                                                     $61.81                                                                                           $61.81



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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Hawaii Electric Light Company
Hawaiian Electric Company, Inc.
PO Box 2750                                                   RS Legacy Corporation fka RadioShack
Honolulu, HI 96840                         1959      5/4/2015 Corporation                                                   $6,850.55                                                                                        $6,850.55
McDonnell, Erin
2704 Earls Court                                              RS Legacy Corporation fka RadioShack
Vienna, VA 22181‐6116                      1960      5/1/2015 Corporation                                                      $47.23                                                                                           $47.23
Von Braun, Diane
16 Algonquin Drive                                            RS Legacy Corporation fka RadioShack
Queensbury, NY 12804                       1961      5/1/2015 Corporation                                                      $50.00                                                                                           $50.00
Grammer, Kristin
35926 Leah Ln.                                                RS Legacy Corporation fka RadioShack
Yucaipa , CA 92399                         1962      5/4/2015 Corporation                                                      $50.00                                                                                           $50.00
DOWNTOWN DEVELOPMENT, CORP.
PO Box 190858                                                 RS Legacy Corporation fka RadioShack
SAN JUAN, PR 00919‐0858                    1963      5/1/2015 Corporation                                                   $1,986.59                                                                                        $1,986.59
Wilborn, Lakisha
116 Sunny Dr                                                   RS Legacy Corporation fka RadioShack
Savannah, GA 31419                         1964      4/28/2015 Corporation                                                                                                               $0.00                                   $0.00
Towle, Faith D
147 Robinson Avenue                                           RS Legacy Corporation fka RadioShack
Medford, NY 11749                          1965      5/1/2015 Corporation                                                       $0.00                                                                                            $0.00
Lukich, Mary Ann
19‐79 80 St.                                                  RS Legacy Corporation fka RadioShack
East Elmhurst, NY 11370                    1966      5/1/2015 Corporation                                                      $35.00                                                                                           $35.00
YABUCOA DEVELOPMENT, S. E.
PO BOX 190858                                                 RS Legacy Corporation fka RadioShack
SAN JUAN, PR 00919‐0858                    1967      5/1/2015 Corporation                                                 $42,318.50                                                                   $7,859.15            $50,177.65
Franklin, Ruth
Box 460                                                       RS Legacy Corporation fka RadioShack
Wyalusing, PA 18853                        1968      5/1/2015 Corporation                                                      $20.35                                                                                           $20.35
REGENCY PARK ASSOCIATES, S.E.
PO BOX 190858                                                 RS Legacy Corporation fka RadioShack
SAN JUAN, PR 00919‐0858                    1969      5/1/2015 Corporation                                                   $2,568.55                                                                                        $2,568.55
Romeo, Alessandro
28 B Terhune St.                                              RS Legacy Corporation fka RadioShack
Bergenfield, NJ 07621                      1970      5/1/2015 Corporation                                                      $47.69                                                                                           $47.69
Hopson, Jason
3957 30th St #519                                             RS Legacy Corporation fka RadioShack
San Diego, CA 92104                        1971      5/1/2015 Corporation                                                      $43.19                                                                                           $43.19
Edwards, Joan
116 ‐ 14 191 St                                               RS Legacy Corporation fka RadioShack
St. Albans, NY 11412                       1972      5/1/2015 Corporation                                                     $217.74                                                                                          $217.74
Pantops Shopping Center 1, LLC
c/o Great Eastern Management Company
PO Box 5526                                                   RS Legacy Corporation fka RadioShack
Charlottesville, VA 22905‐5526             1973      5/1/2015 Corporation                                                   $7,500.00                                                                                        $7,500.00
Wind, Robert
276 Warwick Ave                                               RS Legacy Corporation fka RadioShack
Teaneck, NJ 07666                          1974      5/1/2015 Corporation                                                      $10.70                                                                                           $10.70




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                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
HAWAIIAN ELECTRIC COMPANY, INC
PO BOX 2750                                                        RS Legacy Corporation fka RadioShack
HONOLULU, HI 96840                              1975      5/1/2015 Corporation                                                 $32,453.86                                                                                        $32,453.86
VanTull, Berkley K.
85 Bronx River Road Apt. 4G                                        RS Legacy Corporation fka RadioShack
Yonkers, NY 10704                               1976      5/1/2015 Corporation                                                      $30.00                                                                                           $30.00
SRESELI, MAIA
18 COVE RIDGE LANE                                                 RS Legacy Corporation fka RadioShack
OLD GREENWICH, CT 06870                         1977      5/1/2015 Corporation                                                     $249.64                                                                                          $249.64
Litrenta, Thomas F.
40 Nowell Rd                                                       RS Legacy Corporation fka RadioShack
Melrose, MA 02176                               1978      5/1/2015 Corporation                                                                        $18.89                                                                         $18.89
Phillipi, Deeann
2995 Corona Ave                                                    RS Legacy Corporation fka RadioShack
Norco, CA 92860                                 1979      5/1/2015 Corporation                                                      $66.79                                                                                           $66.79
REGENCY PARK ASSOCIATES, S.E.
PO BOX 190858                                                      RS Legacy Corporation fka RadioShack
SAN JUAN, PR 00919‐0858                         1980      5/1/2015 Corporation                                                 $11,699.64                                                                      $67.89            $11,767.53
Yabucoa Development, S.E.
PO BOX 190858                                                      RS Legacy Corporation fka RadioShack
SAN JUAN, PR 00919‐0858                         1981      5/1/2015 Corporation                                                   $3,526.23                                                                                        $3,526.23
P.C.D.M. ASSOCIATES, S.E.
PO BOX 190858                                                      RS Legacy Corporation fka RadioShack
SAN JUAN, PR 00919‐0858                         1982      5/1/2015 Corporation                                                   $1,714.29                                                                                        $1,714.29
Bird, Dianne
342 Conlon Road                                                    RS Legacy Corporation fka RadioShack
Lansing, NY 14882                               1983      5/1/2015 Corporation                                                       $0.00                                                                                            $0.00
Yabucoa Development, S.E.
PO Box 190858                                                      RS Legacy Corporation fka RadioShack
San Juan, PR 00919‐0858                         1984      5/1/2015 Corporation                                                 $55,270.11                                                                      $77.73            $55,347.84
80 PINE LLC
Young Conaway Stargatt & Taylor, LLP
Robert S. Brady, Edmon L. Morten, Ashley E.
Markow
Rodney Square
1000 North King Street                                             RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                            1985      5/1/2015 Corporation                                                                                                                                  $0.00                 $0.00
P.D.C.M. ASSOCIATES, S.E.
PO BOX 190858                                                      RS Legacy Corporation fka RadioShack
San Juan, PR 00919‐0858                         1986      5/1/2015 Corporation                                                 $58,812.18                                                                                        $58,812.18
Casto Investment Company, LLLP
c/o Roth & Scholl
866 South Dixie Highway                                             RS Legacy Corporation fka RadioShack
Coral Gables, FL 33146                          1987      4/30/2015 Corporation                                                                     $2,439.46                                                                     $2,439.46
Riche, Ticia
3534 W. Ball RD #116                                                RS Legacy Corporation fka RadioShack
Anaheim, CA 92804                               1988      4/29/2015 Corporation                                                                       $26.99                                                                         $26.99
Hampton Property Partnership, LLC
334 North Main Street                                              RS Legacy Corporation fka RadioShack
St. Charles, MO 63301                           1989      4/7/2015 Corporation                                                 $17,752.76                                                                                        $17,752.76




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                                                                                                                              Current General                                            Current 503(b)(9)
                                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount
Cape Town Plaza LLC successor‐in‐interest to Cape,
LLC
Paul W. Carey, Esq. / Kate P. Foley, Esq.
Mirick, O'Connell, DeMallie & Lougee, LLP
100 Front St.                                                              RS Legacy Corporation fka RadioShack
Worcester, MA 01608                                    1990      4/27/2015 Corporation                                                $62,486.17                                                                                        $62,486.17
Young, Mary Vic
2106 Bobby Jones Way                                                       RS Legacy Corporation fka RadioShack
Westlake, LA 70669                                     1991      4/24/2015 Corporation                                                                      $110.66                                                                        $110.66
Butler, Bobbie F.
2075 Westmoreland Dr                                                       RS Legacy Corporation fka RadioShack
Brea, CA 92821                                         1992      4/29/2015 Corporation                                                                                           $0.00               $0.00                                   $0.00
Crane Worldwide Logistics LLC
2022 McKenzie Drive, Suite 120                                             RS Legacy Corporation fka RadioShack
Carrollton, TX 75006                                   1993      4/27/2015 Corporation                                                  $7,864.48                                                                                        $7,864.48
Judd, Jennifer
591 Daffodil Dr                                                            RS Legacy Corporation fka RadioShack
Benicia, CA 94510                                      1994      4/30/2015 Corporation                                                    $100.00                                                                                          $100.00
JM Ponce III Limited Partnership, S.E.
c/o RD Management, LLC
810 Seventh Avenue, 10th Flr.                                              RS Legacy Corporation fka RadioShack
New York, NY 10019                                     1995      4/27/2015 Corporation                                               $123,106.07                                                                   $5,392.38           $128,498.45
Ko, John
309 Camino De Gloria                                                       RS Legacy Corporation fka RadioShack
Walnut, CA 91789                                       1996      4/30/2015 Corporation                                                                                          $33.75                                                      $33.75
WINFIELD DAILY COURIER
PO BOX 543                                                                 RS Legacy Corporation fka RadioShack
WINFIELD, KS 67156                                     1997      4/30/2015 Corporation                                                    $276.48                                                                                          $276.48
Pitney Bowes Global Financial Services LLC
27 Waterview Drives                                                        RS Legacy Corporation fka RadioShack
Shelton , CT 06484                                     1998      4/30/2015 Corporation                                                $21,096.49                                                                                        $21,096.49
Sanchez Gomez, Juan O.
Urb. Caribe Gardens Calle Azucena E‐7                                     RS Legacy Corporation fka RadioShack
Caguas, PR 00725                                       1999      5/1/2015 Corporation                                                                          $0.00                                                                         $0.00
Chatham County Tax Commissioner's Office
PO Box 8324                                                                RS Legacy Corporation fka RadioShack
Savannah, GA 31412                                     2000      4/27/2015 Corporation                                                                     $6,701.48                                                                     $6,701.48
2317 Route 22 Investors, LLC
c/o The Klein Group
Attn:Mark Kessler
25A Hanover Road, Suite 350                                                RS Legacy Corporation fka RadioShack
Florham Park, NJ 07932                                 2001      4/30/2015 Corporation                                               $161,560.00                                                                                       $161,560.00
Roberts, James W.
610 Edward Rd                                                              RS Legacy Corporation fka RadioShack
Naperville, IL 60540                                   2002      4/27/2015 Corporation                                                     $64.34                                                                                           $64.34
Martinez, Nora
18199 Norwalk Dr                                                           RS Legacy Corporation fka RadioShack
Madura, CA 93638                                       2003      4/29/2015 Corporation                                                     $19.43                                                                                           $19.43
Peru Utilities
PO BOX 67                                                                  RS Legacy Corporation fka RadioShack
Peru, IN 46970                                         2004      4/30/2015 Corporation                                                    $676.97                                                                                          $676.97




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
City of Boston
Treasury Department
Bankruptcy Coordinator
City Hall Room M‐5
One City Hall Square                                           RS Legacy Corporation fka RadioShack
Boston, MA 02201                           2005      4/27/2015 Corporation                                                    $218.29                                                                                          $218.29
Goldenberg Associates
c/o Jeffrey Kurtzman
Klehr Harrison Harvey Branzburg LLP
1835 Market St., Suite 1400                                    RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                     2006      4/27/2015 Corporation                                                $81,154.34           $4,414.12                                                   $0.00            $85,568.46
Ramos, Evelin
2225 SW 131 Pl                                                 RS Legacy Corporation fka RadioShack
Miami, FL 33175                            2007      4/27/2015 Corporation                                                                                                             $140.21                                 $140.21
Wong, Eloise
1027 N. Sierra Bonita Ave #7                                   RS Legacy Corporation fka RadioShack
W. Hollywood, CA 90046                     2008      4/27/2015 Corporation                                                    $500.00                                                                                          $500.00
Lindstrom, Barbara
535 Albany St 3rd Floor                                        RS Legacy Corporation fka RadioShack
Boston, MA 02118                           2009      4/27/2015 Corporation                                                                       $15.91                                                                         $15.91
FB HAGERSTOWN LLC
C/O RD MANAGEMENT LLC
810 SEVENTH AVENUE 10TH FLOOR                                  RS Legacy Corporation fka RadioShack
NEW YORK, NY 10019                         2010      4/27/2015 Corporation                                                $22,512.61               $0.00                                               $1,353.80            $23,866.41
Cornell Storefront Systems Inc.
140 Maffet Street, Suite 200                                   RS Legacy Corporation fka RadioShack
Wilkes‐Barre, PA 18705                     2011      4/27/2015 Corporation                                                  $1,345.33                                                                                        $1,345.33
Whitten, Ellen
6371 Vale Ct.                                                  RS Legacy Corporation fka RadioShack
Alexandria, VA 22312                       2012      4/27/2015 Corporation                                                      $5.80                                                                                            $5.80
Cornell Storefront Systems Inc.
140 Maffet Street, Suite 200                                   RS Legacy Corporation fka RadioShack
Wilkes‐Barre, PA 18705                     2013      4/27/2015 Corporation                                                    $300.00                                                                                          $300.00
Robert, Lana
PO Box 1043                                                    RS Legacy Corporation fka RadioShack
Santa Barbara, CA 93102                    2014      4/27/2015 Corporation                                                                       $35.63                                                                         $35.63
Cellebrite Inc
7 Campus Drive Suite 210                                       RS Legacy Corporation fka RadioShack
Parsippany, NJ 07054                       2015      4/27/2015 Corporation                                               $480,870.00                                                                                       $480,870.00
Davis, Thomas
19 Sweet St.                                                   RS Legacy Corporation fka RadioShack
Saco, ME 04072                             2016      4/27/2015 Corporation                                                                                           $0.00               $0.00                                   $0.00
Janora, Marian
214 Clark St.                                                  RS Legacy Corporation fka RadioShack
Buffalo, NY 14212                          2017      4/27/2015 Corporation                                                     $32.63                                                                                           $32.63
Sarabi, Lynda
2830 Mills Park Dr. #89                                        RS Legacy Corporation fka RadioShack
Rancho Cordova, CA 95670                   2018      4/27/2015 Corporation                                                     $12.54                                                                                           $12.54
Li, Rui
609 Plymouth Lane                                              RS Legacy Corporation fka RadioShack
Foster City , CA 94404                     2019      4/27/2015 Corporation                                                     $21.79                                                                                           $21.79




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Vu, Thuy
12709 Whitefield Circle                                        RS Legacy Corporation fka RadioShack
Oklahoma City, OK 73142                    2020      4/27/2015 Corporation                                                    $374.55                                                                                          $374.55
Newton, Daniel L.
22929 NE 54th st.                                              RS Legacy Corporation fka RadioShack
Redmond, WA 98053                          2021      4/27/2015 Corporation                                                     $54.74                                                                                           $54.74
Castellano, Rosemarie
620 Pelham Road
Apt 6A                                                         RS Legacy Corporation fka RadioShack
New Rochelle, NY 10805                     2022      4/27/2015 Corporation                                                    $104.73                                                                                          $104.73
Jefferson County TN Trustee
Ginger Franklin
PO Box 38                                                      RS Legacy Corporation fka RadioShack
Dandridge, TN 37725                        2023      4/27/2015 Corporation                                                                      $119.00                                                                        $119.00
JS West Propane Gas
Attn: Terry Martin
801 9th Street                                                 RS Legacy Corporation fka RadioShack
Modesto, CA 95354                          2024      4/27/2015 Corporation                                                    $296.20                                                                                          $296.20
Wall, Katherine M.
1458 London Circle                                             RS Legacy Corporation fka RadioShack
Benicia, CA 94510                          2025      4/27/2015 Corporation                                                                       $41.10                                                                         $41.10
The Platteville Journal
25 East Main                                                   RS Legacy Corporation fka RadioShack
Platteville, WI 53818                      2026      4/27/2015 Corporation                                                    $208.08                                                                                          $208.08
Utsey, Shaday
101 East 119 Street Apt #2C                                    RS Legacy Corporation fka RadioShack
New York, NY 10035                         2027      4/27/2015 Corporation                                                                                                              $50.00                                  $50.00
Garcia, Maria E.
4187 NE 16 St.                                                 RS Legacy Corporation fka RadioShack
Homestead, FL 33033                        2028      4/27/2015 Corporation                                                                       $27.87                                                                         $27.87
Brandt, Dirk Allen
5211 Red Fox Drive                                             RS Legacy Corporation fka RadioShack
Brighton, MI 48114                         2029      4/27/2015 Corporation                                                     $74.21                                                                                           $74.21
Bainbridge, Mary L
207 Linden St                                                  RS Legacy Corporation fka RadioShack
Minersville, PA 17954                      2030      4/27/2015 Corporation                                                     $41.75                                                                                           $41.75
Egan, James
12050 Park Blvd #158                                           RS Legacy Corporation fka RadioShack
Seminole, FL 33772                         2031      4/27/2015 Corporation                                                     $64.19                                                                                           $64.19
Popa, Georgeta
PO Box 609071                                                  RS Legacy Corporation fka RadioShack
Cleveland, OH 44109                        2032      4/27/2015 Corporation                                                                                          $32.39                                                      $32.39
Ciocan, Steven
520 S. Amboy St.                                               RS Legacy Corporation fka RadioShack
Anaheim, CA 92802                          2033      4/30/2015 Corporation                                                                                          $60.41                                                      $60.41
St. Paul Pioneer Press
Attn. Dawn Lindgren
345 Cedar Street                                               RS Legacy Corporation fka RadioShack
St. Paul, MN 55101                         2034      4/27/2015 Corporation                                                $37,998.76                                                                                        $37,998.76
Roth, Ronald
301 Pecos River Dr                                             RS Legacy Corporation fka RadioShack
Carlsbad, NM 88220                         2035      4/27/2015 Corporation                                                     $70.00                                                                                           $70.00



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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Identicard Systems
25 Race Avenue, Fl 1                                            RS Legacy Corporation fka RadioShack
Lancaster, PA 17603                         2036      4/27/2015 Corporation                                                    $599.71                                                                                          $599.71
Hochschild, Anton
571 S Melrose St                                                RS Legacy Corporation fka RadioShack
Anaheim , CA 92805                          2037      4/29/2015 Corporation                                                     $50.00                                                                                           $50.00
Seirbert, Tammy
1023 Macon Ave.                                                 RS Legacy Corporation fka RadioShack
Canon City, CO 81212                        2038      4/27/2015 Corporation                                                                       $68.94                                                                         $68.94
Duke Energy Florida
5225 Tech Data Drive                                            RS Legacy Corporation fka RadioShack
Clearwater , Fl 33760                       2039      4/27/2015 Corporation                                                $35,835.80                                                                                        $35,835.80
CITY OF WYOMING, TREASURER
CITY OF WYOMING ‐ TREASURER'S OFFICE
1155 28TH ST SW, PO BOX 905                                     RS Legacy Corporation fka RadioShack
WYOMING, MI 49509‐0905                      2040      4/27/2015 Corporation                                                    $289.98                                $0.00                                                     $289.98
Kaykov, David
2402 63 Street Apt. A3                                          RS Legacy Corporation fka RadioShack
Brooklyn, NY 11204                          2041      4/27/2015 Corporation                                                    $202.72                                                                                          $202.72
Timmermann, Corey M.
14836 Highline Rd                                               RS Legacy Corporation fka RadioShack
Carlyle, IL 62231                           2042      4/27/2015 Corporation                                                     $33.71                                                                                           $33.71
RANKIN, CRYSTAL A
PO BOX 188                                                      RS Legacy Corporation fka RadioShack
CLEAR BROOK, VA 22624                       2043      4/27/2015 Corporation                                                                      $411.87                                                                        $411.87
Miami Dade Water and Sewer Department
Attn: Collection Branch/Bankruptcy Unit
P.O.Box 149089                                                 RS Legacy Corporation fka RadioShack
Coral Gables, FL 33114                      2044      5/8/2015 Corporation                                                       $0.00                                                                                            $0.00
SIERRA LIQUIDITY FUND, LLC
19772 MACARTHUR BLVD #200                                       RS Legacy Corporation fka RadioShack
IRVINE, CA 92620                            2045      4/27/2015 Corporation                                                                                                           $3,132.80                               $3,132.80
CHAMPAGNE'S PROPANE INC
844 Old Post Rd                                                 RS Legacy Corporation fka RadioShack
Arundel, ME 04046                           2046      4/27/2015 Corporation                                                  $2,448.33                                                                                        $2,448.33
Gregory Village Partners
David M. Wiseblood
Law Offices of David M. Wiseblood
601 Montgomery Street, suite 2000                               RS Legacy Corporation fka RadioShack
San Francisco, CA 94111                     2047      4/27/2015 Corporation                                                $69,954.00                                                                                        $69,954.00
Accurate Heating & Cooling Inc
1208 Cosmos Place                                               RS Legacy Corporation fka RadioShack
Columbia, MO 65202                          2048      4/27/2015 Corporation                                                    $520.00                                                                                          $520.00
Fukuda, Kristopher
13894 Paseo Zaldivar                                           RS Legacy Corporation fka RadioShack
San Diego, CA 92129                         2049      5/8/2015 Corporation                                                      $15.50                                                                                           $15.50
Cincinnati Bell Telephone
221 E 4th Street ML 121‐1095                                   RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                        2050      5/8/2015 Corporation                                                     $249.81                                                                                          $249.81
Siraj, Ambareen
664 Canter Lane                                                RS Legacy Corporation fka RadioShack
Cookeville, TN 38501                        2051      5/8/2015 Corporation                                                     $180.00                                                                                          $180.00



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                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
Cincinnati Bell Telephone
221 E 4th Street ML 121‐1095                                        RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                             2052      5/8/2015 Corporation                                                    $195.98                                                                                          $195.98
Air Technologies
110 NE 48th                                                         RS Legacy Corporation fka RadioShack
Oklahoma City, OK 73105                          2053      5/8/2015 Corporation                                                    $468.00              $0.00                                $29.81                                 $497.81
Newton, Gaila
PO Box 55                                                           RS Legacy Corporation fka RadioShack
Gainesville , MO 65655                           2054      5/8/2015 Corporation                                                                                           $5.54                                                       $5.54
Cincinnati Bell Telephone
221 E 4th Street ML 121‐1095                                        RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                             2055      5/8/2015 Corporation                                                    $113.90                                                                                          $113.90
Cincinnati Bell Telephone
221 E 4th Street ML 121‐1095                                        RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                             2056      5/8/2015 Corporation                                                    $118.22                                                                                          $118.22
Waynesburd Retail Center A, LLC & Waynesburd
Retail Center B, LLC
620 Woudbrook Drive, Suite 6                                        RS Legacy Corporation fka RadioShack
Charlottesville, VA 22901                        2057      5/8/2015 Corporation                                                  $3,932.42                                                                                        $3,932.42
Cincinnati Bell Telephone
221 E 4th Street ML 121‐1095                                        RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                             2058      5/8/2015 Corporation                                                    $147.43                                                                                          $147.43
CAPE FEAR PUBLIC UTILITY AUTHORITY
235 GOVERNMENT CENTER DRIVE                                         RS Legacy Corporation fka RadioShack
WILMINGTON, NC 28403                             2059      5/8/2015 Corporation                                                     $70.00                                                                                           $70.00
Cincinnati Bell Telephone
221 E 4th Street ML 121‐1095                                        RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                             2060      5/8/2015 Corporation                                                    $195.68                                                                                          $195.68
Cincinnati Bell Telephone
221 E 4th Street ML 121‐1095                                        RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                             2061      5/8/2015 Corporation                                                    $147.11                                                                                          $147.11
Alvarez, Veronica
857 Clay Bottom Rd                                                  RS Legacy Corporation fka RadioShack
Swansea, SC 29160                                2062      5/8/2015 Corporation                                                    $250.00                                                                                          $250.00
Wick, Molly
11444 Palisade Ave N.                                               RS Legacy Corporation fka RadioShack
Stillwater, MN 55082                             2063      5/8/2015 Corporation                                                     $57.49                                                                                           $57.49
Acocella, Mr. John
97 Smith Road                                                       RS Legacy Corporation fka RadioShack
Poughkeepsie, NY 12603                           2064      5/8/2015 Corporation                                                     $16.69                                                                                           $16.69
ZAIDI, JAWED
11009 WATERS EDGE DR.                                               RS Legacy Corporation fka RadioShack
ORLAND PARK, IL 60467                            2065      5/8/2015 Corporation                                                     $32.90                                                                                           $32.90
CAPE FEAR PUBLIC UTILITY AUTHORITY
235 GOVERNMENT CENTER DRIVE                                         RS Legacy Corporation fka RadioShack
WILMINGTON, NC 28403                             2066      5/8/2015 Corporation                                                     $37.72                                                                                           $37.72
Carnow, David
PO Box 408                                                          RS Legacy Corporation fka RadioShack
Rockville , MD 20848‐0408                        2067      5/8/2015 Corporation                                                     $63.59                                                                                           $63.59
Lavecchia, Dayne A.
6943 Weymouth Rd                                                    RS Legacy Corporation fka RadioShack
Mayslanding, NJ 08330‐3940                       2068      5/8/2015 Corporation                                                     $11.46                                                                                           $11.46



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                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
Suchora, Mary
426 Holly Dr.                                                   RS Legacy Corporation fka RadioShack
Oregon, OH 43616                             2069      5/8/2015 Corporation                                                      $20.57                                                                                           $20.57
Evans, Joan L.
10535 Wilshire Blvd #407                                        RS Legacy Corporation fka RadioShack
Los Angeles, CA 90024                        2070      5/8/2015 Corporation                                                                                                               $21.79                                  $21.79
The Ohio Department of Taxation
Bankruptcy Div.
PO Box 530
Columbus, OH 43216                           2071      5/5/2015 SCK, Inc.                                                        $91.20              $0.00                                                                        $91.20
Bouchard, John F
487 Fish Rd                                                     RS Legacy Corporation fka RadioShack
Tiverton, RI 02878                           2072      5/8/2015 Corporation                                                      $15.00                                                                                           $15.00
Athey, Melissa
117 W. Virginia Ave                                             RS Legacy Corporation fka RadioShack
Vandergrift, PA 15690                        2073      5/8/2015 Corporation                                                      $19.38              $0.00                                                                        $19.38
82‐75 Limited Partnership
c/o Tom Matter
PO Box 12392                                                     RS Legacy Corporation fka RadioShack
DALLAS, TX 75225                             2074      4/27/2015 Corporation                                                  $3,576.22                                                                                        $3,576.22
Aitchison, George
43 Buckhorn Trail                                                RS Legacy Corporation fka RadioShack
Fredericksburg, VA 22406                     2075      4/27/2015 Corporation                                                    $145.00                                                                                          $145.00
Grajales Hernandez, Sandra E.
HC ‐ 06 Box 67892                                                RS Legacy Corporation fka RadioShack
Aguadilla, PR 00603                          2076      4/27/2015 Corporation                                                                         $0.00                                                                         $0.00
Soto, James Donald
14602 Old White Toll Road                                        RS Legacy Corporation fka RadioShack
Grass Valley, CA 95945‐4320                  2077      4/27/2015 Corporation                                                     $72.46                                                                                           $72.46
Takahara, Lynn A.
1249 8th Avenue                                                  RS Legacy Corporation fka RadioShack
Honolulu, HI 96816                           2078      4/29/2015 Corporation                                                     $80.62                                                                                           $80.62
Hernandez , Vilma
Comnidad Estelas St. 8 #2794                                     RS Legacy Corporation fka RadioShack
Rincon, PR 00677                             2079      4/29/2015 Corporation                                                     $59.99                                                                                           $59.99
Vandrew, Michael
2610 Fargo St                                                    RS Legacy Corporation fka RadioShack
Klamath Falls, OR 97603‐6725                 2080      4/27/2015 Corporation                                                     $99.99                                                                                           $99.99
Herron, Janice
17 Brixton Rd                                                    RS Legacy Corporation fka RadioShack
Old Bethpage, NY 11804                       2081      4/27/2015 Corporation                                                     $47.80                                                                                           $47.80
N G & G Facility Services Int'l
650 College Road East, Suite 2005                                RS Legacy Corporation fka RadioShack
Princeton, NJ 08540                          2082      4/27/2015 Corporation                                               $438,601.28                                                                                       $438,601.28
150 E 42 Realty LLC & AM E 42 Realty LLC
Mark Frankel, as Attorney
Backenroth Frankel & Krinsky, LLP
800 Third Ave., 11th Floor                                       RS Legacy Corporation fka RadioShack
New York, NY 10022                           2083      4/28/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
SPS INC.
537, YONGSAN‐DONG,YUSEONG‐GU
DAEJEON 305‐500                                                RS Legacy Corporation fka RadioShack
KOREA                                      2084      4/29/2015 Corporation                                                      $0.00                                                                                            $0.00
224 West 57th Street LLC
c/o Backenroth Frankel & Krinsky
800 Third Avenue
11th Floor                                                     RS Legacy Corporation fka RadioShack
New York, NY 10022                         2085      4/28/2015 Corporation                                               $396,429.00                                                                                       $396,429.00
Thomson Reuters
Thomson Reuters % Accounts Receivable
610 Opperman Drive                                             RS Legacy Corporation fka RadioShack
Eagan, MN 55123                            2086      4/28/2015 Corporation                                                $10,977.96                                                                                        $10,977.96
Hughes, Charron
10328 N. Jennings Rd                                           RS Legacy Corporation fka RadioShack
Clio, MI 48420                             2087      4/28/2015 Corporation                                                    $100.00                                                                                          $100.00
Vance, Genia G
635 N Canyon Dr                                                RS Legacy Corporation fka RadioShack
Olathe, KS 66061                           2088      4/28/2015 Corporation                                                                       $32.65                                                                         $32.65
Sullivan Sr, Mark
54 Seaver Rd                                                   RS Legacy Corporation fka RadioShack
East Weymouth, MA 02189                    2089      4/28/2015 Corporation                                                    $109.54                                                                                          $109.54
Kunishima, Ron T
140 Hoomalu St                                                 RS Legacy Corporation fka RadioShack
Hilo, HI 96720                             2090      4/29/2015 Corporation                                                                       $37.49                                                                         $37.49
Gundlach, Shauna
1500 Tumbleweed Dr.                                            RS Legacy Corporation fka RadioShack
Henderson, NV 89002                        2091      4/28/2015 Corporation                                                                                          $30.00                                                      $30.00
Cooksey, Debbie
1727 W. New Buckly Rd.                                         RS Legacy Corporation fka RadioShack
Ashland, KY 41102                          2092      4/28/2015 Corporation                                                     $31.81                                                                                           $31.81
Tale, Mae
587 Skyline Dr                                                 RS Legacy Corporation fka RadioShack
Daly City, CA 94015                        2093      4/28/2015 Corporation                                                     $10.00                                                                                           $10.00
Skrzypek, Joseph
3507 Plantation Grove                                          RS Legacy Corporation fka RadioShack
Colorado Springs, CO 80920                 2094      4/28/2015 Corporation                                                                                                              $65.57                                  $65.57
NEW BRAUNFELS HERALD‐ZEITUNG
549 Landa St                                                   RS Legacy Corporation fka RadioShack
New Braunfels, TX 78130                    2095      4/28/2015 Corporation                                                  $2,981.46                                                                                        $2,981.46
Hall, Debbie K.
2016 St. Rt BB                                                 RS Legacy Corporation fka RadioShack
West Plains, MO 65775                      2096      4/28/2015 Corporation                                                     $29.08                                                                                           $29.08
FAIRBANKS DAILY NEWS MINER
PO BOX 70710                                                   RS Legacy Corporation fka RadioShack
FAIRBANKS, AK 99707                        2097      4/28/2015 Corporation                                                    $960.63                                                                                          $960.63
Sandius, Ayo
28 Cheshire Terrace                                            RS Legacy Corporation fka RadioShack
West Orange, NJ 07052                      2098      4/28/2015 Corporation                                                     $28.30                                                                                           $28.30
Prudvi Raj Mallam
250 Main Street, Apt. No #828                                  RS Legacy Corporation fka RadioShack
Hartford, CT 06106                         2099      4/28/2015 Corporation                                                    $120.00                                                                                          $120.00



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                                                                                                                                              Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address          Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
West Shaw Partners LLC
Walter & Wilhelm Law Group Attn: Michael L.
Wilheim
205 E. River Park Circle, Suite 410                                  RS Legacy Corporation fka RadioShack
Fresno, CA 93720                                 2100      4/28/2015 Corporation                                                $74,655.22                                                                                        $74,655.22
Thomas Fitzpatrick (Philadelphia Police Bomb
Squad)
8501 State Rd.                                                       RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19136                           2101      4/28/2015 Corporation                                                                         $0.00             $0.00                                                       $0.00
Paddock Place GP
c/o Grace Development, Inc
3309 Fairmont Drive                                                  RS Legacy Corporation fka RadioShack
Nashville, TN 37203‐1007                         2102      4/28/2015 Corporation                                                  $3,357.15                                                                                        $3,357.15
American Electric Power
Greg T. Holland
PO Box 2021                                                          RS Legacy Corporation fka RadioShack
Roanoke, VA 24022                                2103      4/28/2015 Corporation                                                $27,106.69                                                                                        $27,106.69
Duke Energy Ohio
139 E. 4th Street                                                    RS Legacy Corporation fka RadioShack
Cincinannati, OH 45201                           2104      4/28/2015 Corporation                                                  $7,220.67                                                                                        $7,220.67
Duke Energy Indiana
1000 E. Main Street                                                  RS Legacy Corporation fka RadioShack
PLAINFIELD, IN 46168                             2105      4/28/2015 Corporation                                                    $706.16                                                                                          $706.16
NORTHWESTERN DEVELOPMENT COMPANY B
David P. Caravaggio; Michael R. Cogan, P.C.
12 S. Summit Avenue; Suite 250                                       RS Legacy Corporation fka RadioShack
Gaithersburg, Md 20877                           2106      4/28/2015 Corporation                                               $153,135.85                                                                                       $153,135.85
150 E 42 Realty LLC & AM E 42 Realty LLC
c/o Backenroth Frankel & Krinsky
800 Third Ave
11th Floor                                                           RS Legacy Corporation fka RadioShack
New York, NY 10022                               2107      4/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Pan, Yu
105 Mary Lane                                                        RS Legacy Corporation fka RadioShack
Ithaea, NY 14850                                 2108      4/28/2015 Corporation                                                                                         $272.49                                                     $272.49
Cole, Catherine L.
104 Norman Rd                                                        RS Legacy Corporation fka RadioShack
Hamden, CT 06514‐1216                            2109      4/28/2015 Corporation                                                                                                             $106.34                                 $106.34
Hoselton, Julie Ann
410 CORRAL LOOP                                                      RS Legacy Corporation fka RadioShack
ANGELS CAMP, CA 95222                            2110      4/28/2015 Corporation                                                                       $35.41                                  $0.00                                  $35.41
Hoffman, Mathew M.
713 NE 124 Ave                                                       RS Legacy Corporation fka RadioShack
Vancouver, WA 98684                              2111      4/28/2015 Corporation                                                     $50.00                                                                                           $50.00
WANG, SHAOYING
2901 Richmond Rd Suite 130 Box 150                                   RS Legacy Corporation fka RadioShack
Lexington, KY 40509                              2112      4/28/2015 Corporation                                                     $17.00                                                                                           $17.00
Melzer, Michael
5478 Hallamshire Blvd                                                RS Legacy Corporation fka RadioShack
Titusville, FL 32780                             2113      4/28/2015 Corporation                                                     $37.97                                                                                           $37.97




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                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                          Amount                                                     Amount
TXU Energy Retail Company LLC
c/o Bankruptcy Department
PO Box 650393                                                     RS Legacy Corporation fka RadioShack
Dallas, TX 75265‐0393                         2114      4/28/2015 Corporation                                                   $2,821.45                                                                                        $2,821.45
Wojcik, Thomas J.
413 River Grove Lane                                              RS Legacy Corporation fka RadioShack
Vernon Hills, IL 60061                        2115      4/28/2015 Corporation                                                      $81.87                                                                                           $81.87
Mahan, Ryan
129 Ramshorn Rd                                                   RS Legacy Corporation fka RadioShack
Charlton, MA 01507                            2116      4/28/2015 Corporation                                                                        $25.00                                                                         $25.00

80 PINE LLC
GOLENBOCK EISEMAN ASSOR BELL & PESKOE LLP
437 Madison Avenue
Attn: Marc D. Rosenberg, Esq.                                     RS Legacy Corporation fka RadioShack
New York, NY 10022‐7302                       2117      4/28/2015 Corporation                                                $270,144.53                                                                                       $270,144.53
Myers, Brenda
7288 Hermosa                                                      RS Legacy Corporation fka RadioShack
Alta Loma, CA 91701                           2118      4/28/2015 Corporation                                                      $65.00                                                                                           $65.00
Wharton, Matt
PO Box 6181                                                       RS Legacy Corporation fka RadioShack
Whittier, CA 90609                            2119      4/28/2015 Corporation                                                      $54.49                                                                                           $54.49
Mumper, Natalie
1230 Hammond Creek Trail                                          RS Legacy Corporation fka RadioShack
Watkinsville, GA 30677                        2120      4/28/2015 Corporation                                                                                           $22.46                                                      $22.46
Wong, Deric
39 Ronald Rd                                                      RS Legacy Corporation fka RadioShack
Lake Hiawatha, NJ 07034                       2121      4/28/2015 Corporation                                                     $116.61                                                                                          $116.61
Chirchigno, James
156 MAIN STREET                                                   RS Legacy Corporation fka RadioShack
MILFOND, MA 01757                             2122      4/28/2015 Corporation                                                      $23.89                                                                                           $23.89
Gonzalez Nieves, Mayra
60N Post Edf. Post Center #106                                    RS Legacy Corporation fka RadioShack
Mayaguez, PR 00680                            2123      4/28/2015 Corporation                                                                                                              $312.00                                 $312.00
OLYMPIC SIGNS INC
1130 N. Garfield Street                                           RS Legacy Corporation fka RadioShack
LOMBARD, IL 60148                             2124      4/29/2015 Corporation                                                   $9,816.64                                                                                        $9,816.64
Kimberling, Jackie
1408 Chisholm Trails                                              RS Legacy Corporation fka RadioShack
Granbury, TX 76048                            2125      4/29/2015 Corporation                                                $291,909.56                                                                                       $291,909.56
SPS INC.
537, Yongsan‐Dong
Yuseong‐Gu                                                        RS Legacy Global Sourcing Limited Partnership
Daejeion 305‐500                                                  fka RadioShack Global Sourcing Limited
SOUTH KOREA                                   2126      4/29/2015 Partnership                                                $261,236.88                                                                                       $261,236.88
Hsiu, Ru Hsiang
406 LaPlaza Dr.                                                   RS Legacy Corporation fka RadioShack
Brea, CA 92823                                2127      4/29/2015 Corporation                                                      $62.44                                                                                           $62.44
Shelby County Trustee
PO Box 2751                                                       RS Legacy Corporation fka RadioShack
Memphis, TN 38101‐2751                        2128      4/21/2015 Corporation                                                                                            $0.00                                                       $0.00




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            Creditor Name and Address            Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                     Amount
SkullCandy, Inc
Attention: Patrick Grosso: Chief Legal Officer
1441 W. Ute Boulevard, Suite 250
Park City, Utah 84098                              2129      4/29/2015 Ignition L.P.                                                                                     $53,762.53                                                  $53,762.53
Norwich Realty Associates LLC
c/o Konover Commerical Corporation
342 North Main Street, Suite 200                                       RS Legacy Corporation fka RadioShack
West Hartford, CT 06117                            2130      4/29/2015 Corporation                                                   $1,072.53                                                                                        $1,072.53
1620 East Riverside Drive LLC
Shannon S. Rutherford
c/o Hajjar Peters LLP
3144 Bee Caves Road                                                    RS Legacy Corporation fka RadioShack
Austin, TX 78746                                   2131      4/29/2015 Corporation                                                   $6,056.60                                                                                        $6,056.60
Avnet, Inc.
5400 Prairie Stone Pkwy
Hoffman Estates, IL 60192                          2132      4/29/2015 TE Electronics LP                                           $10,213.60                                                                                        $10,213.60
Sacramento Municipal Utility District
PO Box 15830, MS A253                                                  RS Legacy Corporation fka RadioShack
Sacramento, CA 95852‐1830                          2133      4/28/2015 Corporation                                                 $11,377.00                                                                                        $11,377.00
Ruszczyk, Henry
350 Bond Road                                                         RS Legacy Corporation fka RadioShack
Titus, AL 36080                                    2134      5/8/2015 Corporation                                                       $63.80                                                                                           $63.80
PECO Energy Company
c/o Merrick L. Friel
2301 Market Street, S23‐1                                              RS Legacy Corporation fka RadioShack
Philadelphia , PA 19103                            2135      5/11/2015 Corporation                                                 $21,910.60                                                                                        $21,910.60
Paranga Wonder Property Management LLC
21682 Club Villa Terrace                                               RS Legacy Corporation fka RadioShack
Boca Raton, FL 33433                               2136      5/11/2015 Corporation                                                   $4,403.18                                                                                        $4,403.18
Town of Milford NH
Town of Milford, Tax Collector
1 Union Square                                                         RS Legacy Corporation fka RadioShack
Milford, NH 03055                                  2137      5/11/2015 Corporation                                                      $58.19              $0.00                                                                        $58.19
Washington County Tax Collector
155 N. 1st Ave. #130                                                   RS Legacy Corporation fka RadioShack
Hillsboro, OR 97124                                2138      5/11/2015 Corporation                                                                                        $3,634.21                                                   $3,634.21
Catugas Peralta, Charmaine Vikkie
2904 Sun Way                                                           RS Legacy Corporation fka RadioShack
Morgantown, WV 26505                               2139      5/11/2015 Corporation                                                      $15.89                                                                                           $15.89
The News Tribune
1950 South State Street                                                RS Legacy Corporation fka RadioShack
Tacoma, WA 98405‐2860                              2140      5/11/2015 Corporation                                                   $1,303.87                                                                                        $1,303.87
Grovelake SC Company, a Florida General
Partnership
Carla Markowitz, Esq.
PO Box 20582                                                           RS Legacy Corporation fka RadioShack
TAMPA, FL 33622                                    2141      5/11/2015 Corporation                                                   $2,470.34                                                                                        $2,470.34
Villasinger, L.L.C.
Attn: Francisco P. Villanueva, Manager
1425 E MAIN ST
SUITE 1100                                                             RS Legacy Corporation fka RadioShack
FREDERICKSBURG, TX 78624                           2142      5/11/2015 Corporation                                                       $0.00                                                                                            $0.00



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                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                          Amount                                                     Amount
Disston Pete SC Company, a Florida General
Partnership
Carla Markowitz, Esq.
P.O. Box 20582                                                     RS Legacy Corporation fka RadioShack
Tampa, FL 33622                                2143      5/11/2015 Corporation                                                    $465.18                                                                                          $465.18
Reddington, Susan
123 Northwood Drive                                                RS Legacy Corporation fka RadioShack
Depew, NY 14043                                2144      5/11/2015 Corporation                                                     $32.61                                                                                           $32.61
Landeros, Maria C.
8722 Boyne St                                                      RS Legacy Corporation fka RadioShack
Downey , CA 90242                              2145      5/11/2015 Corporation                                                                                                              $26.14                                  $26.14
Watson, Celina
10 Stuart Drive                                                    RS Legacy Corporation fka RadioShack
Danbury, CT 06811                              2146      5/11/2015 Corporation                                                     $19.13                                                                                           $19.13
Essary, David W.
PO Box 1459                                                        RS Legacy Corporation fka RadioShack
Castroville, TX 78009                          2147      5/11/2015 Corporation                                                                                          $27.05                                                      $27.05
WARD'S SYSTEMS INC.
PO BOX 769                                                         RS Legacy Corporation fka RadioShack
MORRISVILLE, VT 05661                          2148      5/11/2015 Corporation                                                $12,349.82                                                                                        $12,349.82
Mires, Julie
115 Spring Lane                                                    RS Legacy Corporation fka RadioShack
Branson, MO 65616                              2149      5/11/2015 Corporation                                                                                                              $26.00                                  $26.00
Jones, Daniel
1402 Northwood Drive                                               RS Legacy Corporation fka RadioShack
Nappanee, IN 46550                             2150      5/11/2015 Corporation                                                     $60.00                                                                                           $60.00
GOODHOUSE ENTERPRISE CO. LTD.
Mr. Tsai
NO. 21 JIFENG W. RD.
WUFENG DIST
TAICHUNG CITY 41349                                                RS Legacy Corporation fka RadioShack
TAIWAN                                         2151      5/11/2015 Corporation                                               $111,755.86                                                                                       $111,755.86
Andreoli, Mary
15 Wedgewood Drive #86                                             RS Legacy Corporation fka RadioShack
Verona , NJ 07044                              2152      5/11/2015 Corporation                                                    $100.00                                                                                          $100.00
Arcilesi, Frank
9722 Hellingly Place                                               RS Legacy Corporation fka RadioShack
Montgomery Village, MD 20886                   2153      5/11/2015 Corporation                                                    $150.00                                                                                          $150.00
Nguyen, Thu
2957 Vicky Dr SW                                                   RS Legacy Corporation fka RadioShack
Wyoming , MI 49418                             2154      5/11/2015 Corporation                                                                       $50.00                                                                         $50.00
Johnson, Lance G.
308 Waterlily Way                                                  RS Legacy Corporation fka RadioShack
Hutto, TX 78634                                2155      5/11/2015 Corporation                                                     $32.14                                                                                           $32.14
Galindez, Luis
1303 St. Tropez Cir #1907                                          RS Legacy Corporation fka RadioShack
Weston, Fl 33326                               2156      5/11/2015 Corporation                                                      $8.18                                                                                            $8.18
Chen, Kang
21 Ketcham Rd                                                      RS Legacy Corporation fka RadioShack
Belle Mead, NJ 08502                           2157      5/11/2015 Corporation                                                     $87.00                                                                                           $87.00




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                                                                                                                               Current General                                            Current 503(b)(9)
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                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
Winkelman, James
62 Rangeley Road                                                            RS Legacy Corporation fka RadioShack
Chestnut Hill, MA 02467                                 2158      5/11/2015 Corporation                                                                       $53.11                                                                         $53.11
Khalid, Owais
51 West Hoffman Ave Apt 3                                                   RS Legacy Corporation fka RadioShack
Lindenhurst, NY 11757                                   2159      5/11/2015 Corporation                                                     $90.00                                                                                           $90.00
Nichols, Barbara
1633 Clear View Drive                                                       RS Legacy Corporation fka RadioShack
Beverly Hills, CA 90210                                 2160      5/11/2015 Corporation                                                     $32.46                                                                                           $32.46
Herrera, Mario A.
11237 Old Leavells Rd.                                                      RS Legacy Corporation fka RadioShack
Fredericksburg, VA 22407                                2161      5/11/2015 Corporation                                                                                         $115.00                                                     $115.00
Needham, Patrick
702 Eastern Trail                                                           RS Legacy Corporation fka RadioShack
Mukwonago, WI 53149                                     2162      5/11/2015 Corporation                                                     $15.00                                                                                           $15.00
Kulesza, Barbara
7328 Penelope Ave                                                           RS Legacy Corporation fka RadioShack
Middle Village, NY 11379                                2163      5/11/2015 Corporation                                                                       $32.94                                                                         $32.94
Coll, William J.
129 Serene Hills                                                            RS Legacy Corporation fka RadioShack
Hattiesburg, MS 39402‐7968                              2164      5/11/2015 Corporation                                                     $25.00                                                                                           $25.00
Samaroo, Geeta
1041 NW 45th Street                                                         RS Legacy Corporation fka RadioShack
Ft. Lauderdale, FL 33305                                2165      5/11/2015 Corporation                                                    $120.00                                                                                          $120.00
Buchholz, James
4203C W. Muledeer Dr.                                                       RS Legacy Corporation fka RadioShack
Usafa, CO 80840                                         2166      5/11/2015 Corporation                                                    $100.00                                                                                          $100.00
Otting, Steve
41465 Hanford Road                                                          RS Legacy Corporation fka RadioShack
Canton, MI 48197                                        2167      5/11/2015 Corporation                                                     $32.90                                                                                           $32.90
Ebzery, Brian
1330 5th St                                                                 RS Legacy Corporation fka RadioShack
Boulder, CO 80302                                       2168      5/11/2015 Corporation                                                     $75.00                                                                                           $75.00

Evans/Thomas Land Acquisitions, LLC (the successor‐
in‐interest to Pavilion NTB‐Kuykendahl)
Diane Thomason
818 SW Third Avenue, #227                                                  RS Legacy Corporation fka RadioShack
Portland, OR 97204                                      2169      5/8/2015 Corporation                                                   $3,291.00          $7,719.17                                                                    $11,010.17
Ruszczyk, Henry
350 Bond Road                                                              RS Legacy Corporation fka RadioShack
Titus, AL 36080                                         2170      5/8/2015 Corporation                                                      $63.80                                                                                           $63.80
Barthelemy, Loretta J.
309 Stratmore St                                                           RS Legacy Corporation fka RadioShack
PITTSBURGH, PA 15205                                    2171      5/6/2015 Corporation                                                                        $82.11              $0.00                                                      $82.11
Guthartz, Ilean
334 Windsoro                                                               RS Legacy Corporation fka RadioShack
West Palm Beach , Fl 33417                              2172      5/8/2015 Corporation                                                      $10.59                                                                                           $10.59
Tanona, John M
89 Mill St                                                                  RS Legacy Corporation fka RadioShack
Worcester, MA 01603                                     2173      5/12/2015 Corporation                                                    $100.00                                                                                          $100.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Peach Blossoms, LLC
C/O Metro Realty
2302 N Central Avenue, Suite 12                                RS Legacy Corporation fka RadioShack
Phoenix, AZ 85004                          2174      5/11/2015 Corporation                                                  $4,834.06                                                                                        $4,834.06
GREENVILLE WATER
PO BOX 687                                                     RS Legacy Corporation fka RadioShack
GREENVILLE, SC 29602‐0687                  2175      5/12/2015 Corporation                                                      $6.39                                                                                            $6.39
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                           2176      5/12/2015 Corporation                                                                                                                                                       $0.00
Parkway Plaza Limited Partnership
c/o David Rasmussen, Esq.
Davidson Fink LLP
28 East Main Street                                            RS Legacy Corporation fka RadioShack
Rochester , NY 14621                       2177      5/12/2015 Corporation                                                      $0.00                                                                                            $0.00
Leuterio, Rosario
8333 1/2 Fontana St.                                           RS Legacy Corporation fka RadioShack
Downey , CA 90241                          2178      5/12/2015 Corporation                                                     $43.19                                                                                           $43.19
Stevens , Randy L
535 Jackson Square Rd                                          RS Legacy Corporation fka RadioShack
Thomasville, PA 17364                      2179      5/12/2015 Corporation                                                     $50.00                                                                                           $50.00
Greenville Water
Post Office Box 687                                            RS Legacy Corporation fka RadioShack
Greenville, SC 29602‐0687                  2180      5/12/2015 Corporation                                                     $35.28                                                                                           $35.28
Worley , Brian
1000 Plantation Pkwy Ste 100                                   RS Legacy Corporation fka RadioShack
Woody , Al 35004                           2181      5/12/2015 Corporation                                                     $42.79                                                                                           $42.79
GREENVILLE WATER
PO BOX 687                                                     RS Legacy Corporation fka RadioShack
GREENVILLE, SC 29602‐0687                  2182      5/12/2015 Corporation                                                     $96.75                                                                                           $96.75
Amekouar, Azouz
CMR 467
BOX 5905
APO AE
Wesbaden 09096‐9998                                            RS Legacy Corporation fka RadioShack
Germany                                    2183      5/12/2015 Corporation                                                     $50.00                                                                                           $50.00
Greenville Water
Post Office Box 687                                            RS Legacy Corporation fka RadioShack
Greenville, SC 29602‐0687                  2184      5/12/2015 Corporation                                                     $52.59                                                                                           $52.59
Sivak, Kirsten A.
3795 N. Southwood Dr.                                          RS Legacy Corporation fka RadioShack
Oconomowoc , WI 53066                      2185      5/12/2015 Corporation                                                                                                               $0.00                                   $0.00
CARRELL, VINCE
200 KEENE DR.                                                  RS Legacy Corporation fka RadioShack
TRAVELERS REST, SC 29690                   2186      5/12/2015 Corporation                                                                                                              $37.02                                  $37.02
Ellithorpe, Paul
4249 Pixie Ave.                                                RS Legacy Corporation fka RadioShack
Lakewood, CA 90712                         2187      5/12/2015 Corporation                                                                                          $50.17               $0.00                                  $50.17
Donahue, Dianne
1937 S. 10th Ave                                               RS Legacy Corporation fka RadioShack
Maywood, IL 60153                          2188      5/12/2015 Corporation                                                     $60.00                                                                                           $60.00




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                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                          Amount                                                     Amount
Solomon, Gayl
1458 Maryland Ave                                                  RS Legacy Corporation fka RadioShack
Havertown, PA 19083                            2189      5/12/2015 Corporation                                                                                                              $37.09                                  $37.09
Greenville Water
PO Box 687                                                         RS Legacy Corporation fka RadioShack
Greenville , SC 29602‐0687                     2190      5/12/2015 Corporation                                                     $64.43                                                                                           $64.43
Greenville Water
Post Office Box 687                                                RS Legacy Corporation fka RadioShack
Greenville, SC 29602‐0687                      2191      5/12/2015 Corporation                                                     $87.05                                                                                           $87.05
Greenville Water
PO Box 687                                                         RS Legacy Corporation fka RadioShack
Greenville , SC 29602‐0687                     2192      5/12/2015 Corporation                                                     $65.14                                                                                           $65.14
MINNIS, EARL
421 BRYANT RD                                                      RS Legacy Corporation fka RadioShack
RIGELWOOD, NC 28456                            2193      5/12/2015 Corporation                                                      $0.00                                                                                            $0.00
King Jr., Aldo
PO Box 326                                                         RS Legacy Corporation fka RadioShack
Hackensack, NJ 07602‐0326                      2194      5/12/2015 Corporation                                                     $12.87                                                                                           $12.87
Lewisville Independent School District
C/O GEORGE C. SCHERER, ESQ.
LAW OFFICES OF ROBERT E. LUNA, P.C.
441 NORTH CENTRAL EXPRESSWAY                                       RS Legacy Corporation fka RadioShack
DALLAS, TX 75205                               2195      5/12/2015 Corporation                                                                     $5,403.74             $0.00                                                   $5,403.74
Cox, Devlin Dion
805 19th Street                                                    RS Legacy Corporation fka RadioShack
S. Fargo, ND 58103                             2196      5/12/2015 Corporation                                                                                                              $60.00                                  $60.00
Harrison , Sharyn
2760 NE 6th Street                                                 RS Legacy Corporation fka RadioShack
Pompano Bch, FL 33062                          2197      5/12/2015 Corporation                                                                                                              $15.90                                  $15.90
Paris Corporation
800 Highland Drive                                                 RS Legacy Corporation fka RadioShack
Westampton, NJ 08060                           2198      5/12/2015 Corporation                                                $10,044.54                                                                                        $10,044.54
MARTINEZ, STEVE
2232 Cowlin Ave                                                    RS Legacy Corporation fka RadioShack
Commerce , CA 90040                            2199      5/12/2015 Corporation                                                    $103.00                                                                                          $103.00
OLD CAPITOL CENTRE PROPERTIES, LLC
(STORE#4509)
C/O URBAHNS COMPANIES, INC.
7914 N. SHADELAND AVENUE, SUITE 200                                RS Legacy Corporation fka RadioShack
INDIANAPOLIS, IN 46250                         2200      5/12/2015 Corporation                                                  $2,089.90                                                                                        $2,089.90
Eau Claire Associates, Limited Partnership
Attn: William E. Wallo
3624 Oakwood Hills Parkway
PO Box 1030                                                        RS Legacy Corporation fka RadioShack
Eau Claire, WI 54702‐1030                      2201      5/12/2015 Corporation                                                  $1,549.28                                                                                        $1,549.28
Jensen, LeRoy
945‐12th AVE WEST                                                  RS Legacy Corporation fka RadioShack
DICKINSON, ND 58601                            2202      5/13/2015 Corporation                                                     $25.00                                                                                           $25.00
Morgan, Hilary Flint
2905 W. Coachman Ave                                               RS Legacy Corporation fka RadioShack
Tampa, FL 33611                                2203      5/13/2015 Corporation                                                    $190.00                                                                                          $190.00




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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
CITY OF FREDERICKSBURG, VIRGINIA
BRENDA A. WOOD, TREASURER
PO BOX 267                                                     RS Legacy Corporation fka RadioShack
FREDERICKSBURG, VA 22404                   2204      5/14/2015 Corporation                                                    $249.85                                                                                          $249.85
Merritt, Debra
28 ALPINE PL                                                   RS Legacy Corporation fka RadioShack
COLONIA , NJ 07067                         2205      5/13/2015 Corporation                                                                       $60.00                                  $0.00                                  $60.00
NW Sign Industries, Inc.
360 Crider Ave.                                                RS Legacy Corporation fka RadioShack
Moorestown, NJ 08057                       2206      5/13/2015 Corporation                                               $159,618.63                                                   $450.00                             $160,068.63
SANOM, SOEURETTA
40 Templest                                                    RS Legacy Corporation fka RadioShack
Somerville, MA 02145                       2207      5/13/2015 Corporation                                                     $60.89                                                                                           $60.89
Falappino, Miles Joseph
22976 Pawi Ct.                                                 RS Legacy Corporation fka RadioShack
Wildomar, CA 92595                         2208      5/13/2015 Corporation                                                                                          $35.00              $35.00                                  $70.00
OJIMA, DAVID
4021 NE LUXURY LN                                              RS Legacy Corporation fka RadioShack
BREMERTON, WA 98311                        2209      5/13/2015 Corporation                                                     $25.00                                                                                           $25.00
Henson, Marcia
2910 CLEBURNE                                                  RS Legacy Corporation fka RadioShack
HOUSTON , TX 77004                         2210      5/13/2015 Corporation                                                                                          $20.00               $0.00                                  $20.00
Constantinidis, Anna
189‐38 46 Ave.                                                 RS Legacy Corporation fka RadioShack
Flushing, NY 11358                         2211      5/13/2015 Corporation                                                     $32.65                                                                                           $32.65
Weinberger, Simone
1152 East 18th Street                                          RS Legacy Corporation fka RadioShack
Brooklyn, NY 11230                         2212      5/13/2015 Corporation                                                     $16.40                                                                                           $16.40
Erickson, Arlene M.
704 W. US 223
#115                                                           RS Legacy Corporation fka RadioShack
Adrian, MI 49221                           2213      5/13/2015 Corporation                                                     $10.64                                                                                           $10.64
Floyd, Nancy
766 W. Midland Trl                                             RS Legacy Corporation fka RadioShack
Lexington , VA 24450                       2214      5/13/2015 Corporation                                                     $56.84                                                                                           $56.84
DIRECT ENERGY BUSINESS, LLC
SARA L. ABNER
FROST BROWN TODD LLC
400 WEST MARKET STREET,32ND FLOOR                              RS Legacy Corporation fka RadioShack
LOUISVILLE, KY 40202                       2215      5/13/2015 Corporation                                               $148,383.62                                                                                       $148,383.62
GRIGGS, GEORGIA
29 HAYNES ST                                                   RS Legacy Corporation fka RadioShack
ENFIELD, CT 06082                          2216      5/13/2015 Corporation                                                     $12.74                                                                                           $12.74
CAMPANELLA‐ARLT , JULIE
11019 W 65th way                                               RS Legacy Corporation fka RadioShack
Arvada, Co 80004                           2217      5/13/2015 Corporation                                                     $53.97                                                                                           $53.97




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                                                                                                                                                     Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                      Amount

CambridgeSide Galleria Associates Trust formerly
known as Riverside Galleria Associates Trust
Paul W. Carey, Esq. /Kate P. Foley, Esq.
Mirick, O'Connell, DeMallie & Lougee, LLP
100 Front St.                                                              RS Legacy Corporation fka RadioShack
Worcester, MA 01608                                    2218      5/13/2015 Corporation                                               $272,606.30                                                                                        $272,606.30
Buccaneer Mall, Inc.
Attn: Marna Green, VP
PO Box 7020                                                                RS Legacy Corporation fka RadioShack
St. Thomas, VI 00801                                   2219      5/13/2015 Corporation                                                      $0.00                                                                                             $0.00
Paine, Mitchell F
74 Hobart St                                                               RS Legacy Corporation fka RadioShack
Hingham, MA 02043                                      2220      5/13/2015 Corporation                                                     $20.00                                                                                            $20.00
Balestrini, David J.
2358 Saranac Ave                                                           RS Legacy Corporation fka RadioShack
Lake Placid, NY 12946                                  2221      5/14/2015 Corporation                                                     $79.11                                                                                            $79.11
Cinatl, Cathy
2105 Park Place                                                            RS Legacy Corporation fka RadioShack
Fort Worth, TX 76110                                   2222      5/14/2015 Corporation                                                  $9,520.20          $12,475.00                                                                    $21,995.20
Firester, Angel
2816 1/2 W. Wallace Ave.                                                   RS Legacy Corporation fka RadioShack
Tampa, FL 33611                                        2223      5/14/2015 Corporation                                                                                                               $56.43                                  $56.43
Ipreo Holdings LLC
Christopher J. Major, Esq.
Meister Seelig & Fein LLP
125 Park Avenue, 7th Floor                                                 RS Legacy Corporation fka RadioShack
New York, NY 10017                                     2224      5/14/2015 Corporation                                                $53,000.00                                                                                         $53,000.00
Rubino, Giovanni
20 Hancock Street                                                          RS Legacy Corporation fka RadioShack
Lambertville, NJ 08530                                 2225      5/14/2015 Corporation                                                     $22.25                                                                                            $22.25
Monteforte, Sean
35 Benjamin Way                                                            RS Legacy Corporation fka RadioShack
South Windsor , CT 06074                               2226      5/14/2015 Corporation                                                     $21.26                                                                                            $21.26
Cortez, Karla
7821 Stewart Gray Rd                                                       RS Legacy Corporation fka RadioShack
Downey , CA 90241                                      2227      5/14/2015 Corporation                                                                       $150.00              $0.00                                                     $150.00
Anderson, Holly J.
36124 Baugh St. NW.                                                        RS Legacy Corporation fka RadioShack
Princeton, MN 55371                                    2228      5/14/2015 Corporation                                                     $50.00                                                                                            $50.00

New Westgate Mall, LLC, successor‐in‐interest to
Westgate Brockton Mall, LLC, successor‐in‐interest
to Westgate Mall Properties, LLC, Successor‐in‐
interest to Joseph Campanelli,*
c/o Liquidity Solutions, Inc.
One University Plaza
Suite 312                                                                  RS Legacy Corporation fka RadioShack
Hackensack, NJ 07601                                   2229      5/13/2015 Corporation                                                $53,635.79                                                                                         $53,635.79
McWilliams II, Dennis E
2 lake trail drive                                                         RS Legacy Corporation fka RadioShack
Copper Canyon, TX 76226‐9639                           2230      5/13/2015 Corporation                                                                         $0.00                                                                          $0.00



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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
AGERMOUNE, ABDUL
12723 Brewster Cir.                                            RS Legacy Corporation fka RadioShack
Woodbridge, VA 22192                       2231      5/13/2015 Corporation                                                     $42.39                                                                                           $42.39
Ciarrocchi, Lisa
2982 Harvey Bowden Rd                                          RS Legacy Corporation fka RadioShack
Paris, TN 38242                            2232      5/13/2015 Corporation                                                                       $65.52                                                                         $65.52
Cholak, Heather
2151 Meadow Reed Drive                                         RS Legacy Corporation fka RadioShack
Sterling Heights, MI 48314                 2233      5/13/2015 Corporation                                                    $199.29                                                                                          $199.29
Crossin, Shirley
2041 Gateshead DR                                              RS Legacy Corporation fka RadioShack
North Chesterfield, VA 23235               2234      5/13/2015 Corporation                                                                       $15.78                                                                         $15.78
RAMIREZ, DENA
2201 1ST AVE 3B                                                RS Legacy Corporation fka RadioShack
NEW YORK , NY 10029                        2235      5/13/2015 Corporation                                                    $200.00                                                                                          $200.00
THOMAS, BUCK
2505 Cochiti                                                   RS Legacy Corporation fka RadioShack
Farmington, NM 87401                       2236      5/13/2015 Corporation                                                                      $100.37                                                                        $100.37
MULHOLLAND, WILLIAM
1190 BONAIR RD                                                 RS Legacy Corporation fka RadioShack
CHICO, CA 95926                            2237      5/13/2015 Corporation                                                                                                              $53.74                                  $53.74
Gonzalez, Hector
13309 S. Budlong Ave                                           RS Legacy Corporation fka RadioShack
Gardena, CA 902407                         2238      5/13/2015 Corporation                                                     $85.00                                                                                           $85.00
WOOD, ROBERT
6544 W. PECK DR.                                               RS Legacy Corporation fka RadioShack
GLENDALE, AZ 85301                         2239      5/13/2015 Corporation                                                     $54.11                                                                                           $54.11
VERMA, AKTA
ANKUR JOHRI
4000 LIBERTY CREEK PKWY                                        RS Legacy Corporation fka RadioShack
COOPERSBURG, PA 18036                      2240      5/13/2015 Corporation                                                    $688.89                                                                                          $688.89
ECHEVARRIA, JESSICA
40 Steele Ave                                                  RS Legacy Corporation fka RadioShack
Somerville, NJ 08876                       2241      5/13/2015 Corporation                                                     $31.45                                                                                           $31.45
Barker, Debbie
1645 9th Ave SE #164                                           RS Legacy Corporation fka RadioShack
Albany, OR 97321                           2242      5/13/2015 Corporation                                                     $99.99                                                                                           $99.99
M. Gloria Pinckney
137 Shelter Rock Road                                          RS Legacy Corporation fka RadioShack
Danbury, CT 06810                          2243      5/13/2015 Corporation                                                     $63.80                                                                                           $63.80
OUILLETTE, CHERYL
7953 JENNNGS RD                                                RS Legacy Corporation fka RadioShack
WHITMORE LAKE, MI 48189                    2244      5/13/2015 Corporation                                                     $37.09                                                                                           $37.09
Zhang, Changqing
7277 Charolette Pike Unit 346.                                 RS Legacy Corporation fka RadioShack
Nashville, TN 37209                        2245      5/13/2015 Corporation                                                     $28.00                                                                                           $28.00
Charrette, Jan
216 Farm Ln
Martinez, CA                                                   RS Legacy Corporation fka RadioShack
94553                                      2246      5/13/2015 Corporation                                                     $35.00                                                                                           $35.00




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                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
Kohel, Kimberly
541 Shelbourne Ct. # 98                                          RS Legacy Corporation fka RadioShack
Racine, WI 53402                             2247      5/13/2015 Corporation                                                     $21.03                                                                                           $21.03
Nicol, Larissa D.
12501 S. Smithtown Rd                                            RS Legacy Corporation fka RadioShack
Riverton, UT 84065                           2248      5/13/2015 Corporation                                                    $180.00                                                                                          $180.00
NEW BRAUNFELS HERALD‐ZEITUNG
549 Landa St                                                     RS Legacy Corporation fka RadioShack
New Braunfels, TX 78130                      2249      5/13/2015 Corporation                                                      $0.00                                                                                            $0.00
Davis, Dylan
25234 730th Ave                                                  RS Legacy Corporation fka RadioShack
Grand Meadow, MN                             2250      5/13/2015 Corporation                                                    $107.36                                                                                          $107.36
Heitor, Fabiano
88 Greenwich St. 1704                                            RS Legacy Corporation fka RadioShack
New York, NY 10006                           2251      5/13/2015 Corporation                                                  $1,000.00                                                                                        $1,000.00
O'Connor, Sally
1431 Riverplace Blvd #3306                                       RS Legacy Corporation fka RadioShack
Jacksonville, FL                             2252      5/13/2015 Corporation                                                                       $52.49                                                                         $52.49
DORSO, MICHELLE A
1935 MEETINGHOUSE RD                                             RS Legacy Corporation fka RadioShack
BOOTHWYN, PA 19061                           2253      5/13/2015 Corporation                                                     $59.99                                                                                           $59.99
Zarzar, David
1549 Ryder St                                                    RS Legacy Corporation fka RadioShack
Brooklyn, NY 11234                           2254      5/13/2015 Corporation                                                                      $293.95                                                                        $293.95
Allen, Brenda
28637 Shirley Shores Rd.                                         RS Legacy Corporation fka RadioShack
Towares, Fl 32778                            2255      5/13/2015 Corporation                                                     $45.00                                                                                           $45.00
STEVEN KARBELNIG AND SHARON HELLER DBA
EVERGREEN ENTERPRISES
2658 GRIFFITH PARK BLVD #271                                     RS Legacy Corporation fka RadioShack
LOS ANGELES, CA 90039                        2256      5/13/2015 Corporation                                                  $5,600.00                                                                                        $5,600.00
TNP SRT Portfolio I, LLC
Ronald K. Brown Jr., Esq.
Law Offices of Ronald K. Brown, Jr., APC
901 Dove Street, Suite 120                                       RS Legacy Corporation fka RadioShack
Newport Beach, CA 92660                      2257      5/14/2015 Corporation                                                $41,462.80                                                                                        $41,462.80
Wagner, Cheryl
22 Rising Street                                                 RS Legacy Corporation fka RadioShack
Feeding HIlls, MA 01030                      2258      5/15/2015 Corporation                                                     $63.64                                                                                           $63.64
Minickiello, Linda K
1 West Diane Drive                                               RS Legacy Corporation fka RadioShack
Keene, NH 03431‐2631                         2259      5/15/2015 Corporation                                                                       $50.00                                                                         $50.00
Cox, Kathy A.
932 West L St                                                    RS Legacy Corporation fka RadioShack
Benicia, CA 94510                            2260      5/15/2015 Corporation                                                      $0.00                                                                                            $0.00
Anderson, Dawn
5919 Beaudry                                                     RS Legacy Corporation fka RadioShack
Houston, TX 77035                            2261      5/15/2015 Corporation                                                                       $20.00                                                                         $20.00
Fu Ji Electronics (Shenshen) Co. LTD
c/o RMS
P.O. Box 5126                                                    RS Legacy Corporation fka RadioShack
Timonium, MD 21094                           2262      5/15/2015 Corporation                                               $356,721.20                                                                                       $356,721.20



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                                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                       Amount                                                     Amount

DUPAGE COUNTY PUBLIC WORKS
Barbara Q. Reynolds, Assistant State's Attorney
DuPage County State's Attorney's Office
503 N. County Farm Road                                                        RS Legacy Corporation fka RadioShack
Wheaton, IL 60187                                          2263      5/11/2015 Corporation                                                      $60.85                                                                                           $60.85
New, Jim
1604 Walnut Ave                                                               RS Legacy Corporation fka RadioShack
Escalon, CA 95320                                          2264      5/5/2015 Corporation                                                                                            $53.00                                                      $53.00
Ray, DeElla A.
14212 Cedar Circle                                                             RS Legacy Corporation fka RadioShack
Omaha, NE 68144                                            2265      4/29/2015 Corporation                                                      $18.31                                                                                           $18.31
Delgado, Patricia
4N071 Edwards Drive                                                            RS Legacy Corporation fka RadioShack
Addison, IL 60101                                          2266      5/15/2015 Corporation                                                      $98.50                                                                                           $98.50
Lindquist, Kelly
483 Hillcrest Ave.                                                             RS Legacy Corporation fka RadioShack
Oroville, CA 95966                                         2267      5/15/2015 Corporation                                                      $43.02                                                                                           $43.02
Sierra Liquidity Fund, LLC‐ Assignee & Att‐In‐Fact for
Accurate Heating & Cooling ‐ Assignor
19772 Mac Arthur Blvd #200
Irvine , CA 92612                                          2268      5/14/2015 TE Electronics LP                                                                                                      $1,159.80                               $1,159.80
DALTON HVAC, INC
36 DALTON RIDGE RD
FAIRVIEW, NC 28730                                         2269      5/14/2015 TE Electronics LP                                           $11,690.00                                                                                        $11,690.00
Borvayeh, Elia
4026 Angelina Dr.                                                              RS Legacy Corporation fka RadioShack
Plano, TX 75074                                            2270      5/18/2015 Corporation                                                                        $27.33                                                                         $27.33
Skullcandy, Inc.
Attn: Patrick Grosso, Chief Legal Officer                                      RS Legacy Global Sourcing Limited Partnership
1441 W. Ute Boulevard, Suite 250                                               fka RadioShack Global Sourcing Limited
Park City, UT 84098                                        2271      4/29/2015 Partnership                                                 $53,762.53                                                                                        $53,762.53
Novotny, Marie
12204 Kingfisher Rd.                                                           RS Legacy Corporation fka RadioShack
Crown Point, IN 46307                                      2272      5/18/2015 Corporation                                                      $25.47                                                                                           $25.47
Dobkousky, Mark
4654 Cielo Circle                                                              RS Legacy Corporation fka RadioShack
Calabasas, CA 91302                                        2273      5/18/2015 Corporation                                                       $0.00                                                                                            $0.00
Sanchez, Yolanda
10886 Mimosa Place                                                             RS Legacy Corporation fka RadioShack
Oakton, VA 22124                                           2274      5/18/2015 Corporation                                                       $0.00                                                                                            $0.00
CITY OF MOLINE
1630 8TH AVENUE                                                                RS Legacy Corporation fka RadioShack
Moline, IL 61265                                           2275      5/18/2015 Corporation                                                     $376.16                                                                                          $376.16
CENTER POINT L.P.
c/o Stephen B. Porterfield
Sirote & Permutt, P.C.
2311 Highland Avenue South                                                     RS Legacy Corporation fka RadioShack
BIRMINGHAM, AL 35205                                       2276      5/18/2015 Corporation                                                       $0.00                                                                                            $0.00
Trahaiv, Rose
274 Broadacres Dr.                                                             RS Legacy Corporation fka RadioShack
Crowley, LA 70526                                          2277      5/18/2015 Corporation                                                      $59.48                                                                                           $59.48



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                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
Nguyen, Kim
5015 Silhouette Ave                                                    RS Legacy Corporation fka RadioShack
Las Vegas, NV 89142                                2278      5/18/2015 Corporation                                                                                                              $43.00                                  $43.00

DEPARTMENT OF TAXATION, STATE OF HAWAII
ATTN: BANKRUPTCY UNIT
PO BOX 259                                                             RS Legacy Corporation fka RadioShack
HONOLULU, HI 96809                                 2279      5/18/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
SHELBY VESTAVIA LLC & SOUTH HAMPTON‐SHELBY
LLC
Stephen B. Porterfield, Sirote & Permutt, P.C.
2311 Highland Avenue South                                             RS Legacy Corporation fka RadioShack
BIRMINGHAM, AL 35205                               2280      5/18/2015 Corporation                                                    $896.91                                                                                          $896.91
Palton, Tesla K.
1338 E. 79th Street                                                    RS Legacy Corporation fka RadioShack
Kansas City, MO 64131                              2281      5/18/2015 Corporation                                                                                                               $8.00                                   $8.00
Baker, Gene E.
582 Elk Creek Road                                                     RS Legacy Corporation fka RadioShack
Philippi, WV 26416                                 2282      5/18/2015 Corporation                                                     $50.00                                                                                           $50.00
Leone, Armando
1715 W. Cortland Ct
Unit 1                                                                 RS Legacy Corporation fka RadioShack
Addison, IL 60101                                  2283      5/18/2015 Corporation                                                                                                              $75.00                                  $75.00
Stalker, Amy
1734 Alps Ct                                                           RS Legacy Corporation fka RadioShack
Fleming Island, FL 32003                           2284      5/18/2015 Corporation                                                                                                              $40.00                                  $40.00
Empresas Fioderey Inc.
PO Box 9020989                                                         RS Legacy Corporation fka RadioShack
San Juan, PR 00902‐0989                            2285      5/13/2015 Corporation                                               $104,485.57               $0.00                                              $12,814.60           $117,300.17
Douglas County Treasurer
PO Box 884                                                             RS Legacy Corporation fka RadioShack
Lawrence, KS 66044                                 2286      5/11/2015 Corporation                                                                                         $141.10                                                     $141.10
ROYAL HAWAIIAN EXPRESS
Attn: VP of Finance
1901 RAYMER AVE                                                        RS Legacy Corporation fka RadioShack
FULLERTON, CA 92833‐2512                           2287      5/18/2015 Corporation                                                $12,035.44                                                                                        $12,035.44
R & S Properties, L.L.C.
Attention Charles A. Rohde
PO BOX 368                                                             RS Legacy Corporation fka RadioShack
Cedar Rapids, IA 52406                             2288      5/18/2015 Corporation                                                $16,314.30                                                                                        $16,314.30
Autauga Co. Revenue
135 N. Court Street Suite D                                           RS Legacy Corporation fka RadioShack
Prattville, AL 36067                               2289      5/8/2015 Corporation                                                                       $165.54              $0.00                                                     $165.54
Arrow Electronics, Inc.
c/o Nac Risk Recovery
9201 E. Dry Creek Road                                                 RS Legacy Corporation fka RadioShack
Englewood, CO 80112                                2290      5/18/2015 Corporation                                                    $460.00                                                                                          $460.00




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                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
New Hampshire Department of Revenue
Administration
Attn: Legal Bureau
109 Pleasant Street
PO Box 457                                                       RS Legacy Corporation fka RadioShack
Concord, NH 03302‐0457                       2291      5/11/2015 Corporation                                                                     $8,999.32                                                                     $8,999.32
150 E 42 Realty LLC & AM E 42 Realty LLC
Mark Frankel, as Attorney
Backenroth Frankel & Krinsky, LLP
800 Third Ave., 11th Floor                                       RS Legacy Corporation fka RadioShack
New York, NY 10022                           2292      5/14/2015 Corporation                                             $1,317,593.31                                                                                     $1,317,593.31
Sra, Baltej
4712 Norris Canyon Road Unit‐102                                 RS Legacy Corporation fka RadioShack
San Ramon, CA 94583                          2293      5/15/2015 Corporation                                                                                         $385.16                                                     $385.16
Carrolla, Lynn M.
291 Summer Hill Road                                             RS Legacy Corporation fka RadioShack
Madison, CT 06443                            2294      5/15/2015 Corporation                                                    $106.34                                                                                          $106.34
Douglas County Treasurer
PO Box 884                                                       RS Legacy Corporation fka RadioShack
Lawrence, KS 66044                           2295      5/18/2015 Corporation                                                                                         $106.10                                                     $106.10
Paul & Rose Bryan
PO Box 643                                                       RS Legacy Corporation fka RadioShack
Umatilla, FL 32784                           2296      5/18/2015 Corporation                                                     $20.32                                                                                           $20.32
Sandesara, Pratik
8842 SW 14th RD                                                  RS Legacy Corporation fka RadioShack
Gainesville, Fl 32607                        2297      5/26/2015 Corporation                                                    $120.00                                                                                          $120.00
Flores, Jaime
9628 Broadway                                                    RS Legacy Corporation fka RadioShack
Temple City, CA 91780                        2298      5/19/2015 Corporation                                                    $142.34                                                                                          $142.34
Khuu, Kevin
2629 Orange Way                                                  RS Legacy Corporation fka RadioShack
Antioch, CA 94531                            2299      5/19/2015 Corporation                                                                                                             $544.98                                 $544.98
Wu, Re
5 Glen Rd. #306                                                  RS Legacy Corporation fka RadioShack
Stoneham, MA 02180                           2300      5/19/2015 Corporation                                                     $37.18                                                                                           $37.18
SFP Pool Six, LLC
David M. Blau, Esq.
Clark Hill PLC
151 S. Old Woodward Ave., 2nd Floor                              RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                         2301      5/19/2015 Corporation                                                    $556.56                                                                                          $556.56
Chan, Tiffany
19088 Helton St                                                  RS Legacy Corporation fka RadioShack
Castro Valley, CA 94546                      2302      5/19/2015 Corporation                                                     $41.74                                                                                           $41.74
Singh, Harminder
11 Matthew Ave                                                   RS Legacy Corporation fka RadioShack
Carteret, NJ 07008                           2303      5/19/2015 Corporation                                                                                         $139.69                                                     $139.69
Grant, Bruce A
63 Hy Vue Dr                                                     RS Legacy Corporation fka RadioShack
Newburgh, NY 12550                           2304      5/19/2015 Corporation                                                      $0.00                               $90.00                                                      $90.00
Baumann, Marie
2590 S County Highway H                                          RS Legacy Corporation fka RadioShack
Brule, WI 54820                              2305      5/19/2015 Corporation                                                    $295.37                                                                                          $295.37



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                                                                                                                    Current General                                            Current 503(b)(9)
                                                                                                                                          Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address      Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
Dorschner, Michael
5633 Washburn Avenue South                                       RS Legacy Corporation fka RadioShack
Minneapolis, MN 55410                        2306      5/19/2015 Corporation                                                     $25.00                                                                                           $25.00
Padilla, Kitty
5710 Baltimore Dr. #413                                          RS Legacy Corporation fka RadioShack
La Mesa, CA 91942                            2307      5/19/2015 Corporation                                                     $43.49                                                                                           $43.49
Madeline L. Camisa and Josepht T. Camisa
Iain A. Macdonald
Macdonald Fernandez LLP
221 Sansome Street, Third Floor                                  RS Legacy Corporation fka RadioShack
San Francisco, CA 94104                      2308      5/19/2015 Corporation                                               $108,000.00                                                                                       $108,000.00
Churkey, Kathy
S3208 Eagle Road                                                 RS Legacy Corporation fka RadioShack
Spencer , WI 54479                           2309      5/26/2015 Corporation                                                     $25.00                                                                                           $25.00
Ryan, George
1279 Peru Ave E.                                                 RS Legacy Corporation fka RadioShack
Port Orchard, WA 98366                       2310      5/19/2015 Corporation                                                                       $31.11                                                                         $31.11
LEGACY III SR CROW CANYON, LLC
MOUNT, SPELMAN & FINGERMAN, P.C.
333 W. San Carlos St., Ste. 1650                                 RS Legacy Corporation fka RadioShack
San Jose, CA 95110                           2311      5/20/2015 Corporation                                                $74,917.20               $0.00                                               $3,687.20            $78,604.40
Vdopia, Inc
2201 Walnut Ave                                                  RS Legacy Corporation fka RadioShack
Fremont , CA 94538                           2312      5/28/2015 Corporation                                                $53,000.02               $0.00                                 $0.00                              $53,000.02
RVFjr
Richard Fabian
POB 223                                                          RS Legacy Corporation fka RadioShack
Holderness, NH 03245                         2313      5/27/2015 Corporation                                                      $3.06                                                                                            $3.06
Crogan, Patrick F.
2329 Market St.                                                  RS Legacy Corporation fka RadioShack
San Francisco, CA 94114                      2314      5/20/2015 Corporation                                                     $43.39                                                                                           $43.39
Franchise Tax Board
Bankruptcy Section MS A340
PO Box 2952                                                      RS Legacy Corporation fka RadioShack
Sacramento, CA 95812‐2952                    2315      5/20/2015 Corporation                                                      $0.00                                                                                            $0.00
Heath, Susan
225 Mckinley Ave                                                 RS Legacy Corporation fka RadioShack
Alpena, MI 49707                             2316      5/20/2015 Corporation                                                    $105.99                                                                                          $105.99
VanSickle, Grace
115 Keystone Rd                                                  RS Legacy Corporation fka RadioShack
Lake Ariel, PA 18436                         2317      5/28/2015 Corporation                                                     $21.19                                                                                           $21.19
Jacobson, David
445 8th St. #2                                                   RS Legacy Corporation fka RadioShack
Brooklyn, NY 11215                           2318      5/22/2015 Corporation                                                                                                              $30.00                                  $30.00
Palma, Victor
13423 Ocean Gave Ave                                             RS Legacy Corporation fka RadioShack
Hawthorne, CA 90250                          2319      5/22/2015 Corporation                                                     $50.00                                                                                           $50.00

NORTHCENTRAL ELECTRIC POWER ASSOCIATION
PO BOX 405                                                       RS Legacy Corporation fka RadioShack
BYHALIA, MS 38611                            2320      5/27/2015 Corporation                                                    $859.36                                                                                          $859.36




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Peterson, Jennifer
11320 N Manning Ave                                            RS Legacy Corporation fka RadioShack
KANSAS CITY, MO 64157                      2321      5/22/2015 Corporation                                                                       $28.20                                  $0.00                                  $28.20
Merck, Nanci
91‐314 Pupu Place                                              RS Legacy Corporation fka RadioShack
Ewa Beach, HI 96706‐2331                   2322      5/22/2015 Corporation                                                                       $52.36                                                                         $52.36
Rolle, Theresa
131 Moore Street #1A                                           RS Legacy Corporation fka RadioShack
Brooklyn, NY 11206                         2323      5/22/2015 Corporation                                                                                                              $21.78                                  $21.78
Hudspeth, Kimberly
1643 Greenwood Circle                                          RS Legacy Corporation fka RadioShack
Conway, AR 72034                           2324      5/21/2015 Corporation                                                                                                               $0.00                                   $0.00
Clarke, Richard
24949 Avenida Balita                                           RS Legacy Corporation fka RadioShack
Valencia, CA 91355                         2325      5/28/2015 Corporation                                                    $100.00                                                                                          $100.00
GP DEVELOPMENT CORP
THE PAVILION STE 700‐40
261 OLD YORK RD                                                RS Legacy Corporation fka RadioShack
JENKINTOWN, PA 19046                       2326      5/28/2015 Corporation                                                      $0.00              $0.00                                 $0.00                                   $0.00
Rust, Marilyn
3216 S Gunnison ST                                             RS Legacy Corporation fka RadioShack
Tacoma , WA 98409                          2327      5/29/2015 Corporation                                                                       $43.79                                  $0.00                                  $43.79
Omaha Public Power District
PO Box 3995                                                    RS Legacy Corporation fka RadioShack
Omaha, NE 68103‐0995                       2328      5/29/2015 Corporation                                                  $4,157.64                                                                                        $4,157.64
Forouzan, Soleyman
For FOROUZAN BROTHERS LP
4333 Admiralty Way Ste 11                                      RS Legacy Corporation fka RadioShack
Marina Del Rey, CA 90292‐5469              2329      5/28/2015 Corporation                                                  $4,472.26                                                                                        $4,472.26
Millett, Joshua
196 Woodland Dr                                                RS Legacy Corporation fka RadioShack
Purling, NY 12470                          2330      5/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Taylor, Gretchen
194 Evan Way                                                   RS Legacy Corporation fka RadioShack
Royal, AR 71968                            2331      5/28/2015 Corporation                                                     $50.00                                                                                           $50.00
Sanford Water District
PO Box 650                                                     RS Legacy Corporation fka RadioShack
Sanford, ME 04073                          2332      5/28/2015 Corporation                                                                                                             $199.43                                 $199.43
Litrenta, Tom
40 Nowell Rd                                                   RS Legacy Corporation fka RadioShack
Melrose, MA 02176                          2333      5/28/2015 Corporation                                                     $20.62                                                                                           $20.62
Singh, Mytri p
549 W 123rd street Apt 15C                                     RS Legacy Corporation fka RadioShack
New York, NY 10027‐5040                    2334      5/26/2015 Corporation                                                     $66.50                                                                                           $66.50
Lambert, Nicole
2314 Pleasant Hill Rd                                          RS Legacy Corporation fka RadioShack
Pleasant Hill, CA 94523                    2335      5/22/2015 Corporation                                                                       $50.00                                                                         $50.00
Dolvin, Ashley
59 Clive Blvd                                                  RS Legacy Corporation fka RadioShack
Fort Valley, GA 31030                      2336      5/26/2015 Corporation                                                    $236.00                                                                                          $236.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                           2337      5/27/2015 Corporation                                                                                                                                                       $0.00



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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                           2338      5/27/2015 Corporation                                                                                                                                                       $0.00
Lyman, Eugenic
919 Arabella St                                                RS Legacy Corporation fka RadioShack
New Orleans, LA 70115                      2339      5/27/2015 Corporation                                                     $86.00                                                                                           $86.00
Winton, Ronda
PO BOx 12115                                                   RS Legacy Corporation fka RadioShack
Wilmington, NC 28405                       2340      5/27/2015 Corporation                                                     $28.88                                                                                           $28.88
Ruiz, Palmira
216 Pine Valley Road Apt B                                     RS Legacy Corporation fka RadioShack
Saint Cloud, FL 34769                      2341      5/27/2015 Corporation                                                     $63.00                                                                                           $63.00
D'Auria, EUGENE
877 Van Buren Avenue                                           RS Legacy Corporation fka RadioShack
Franklin Square, NY 11010                  2342      5/29/2015 Corporation                                                     $19.54                                                                                           $19.54
Fiske, Jennifer
75 Rowe Drive                                                  RS Legacy Corporation fka RadioShack
Fremont, NH 03044                          2343      5/26/2015 Corporation                                                     $30.00                                                                                           $30.00
MATHIAS SHOPPING CENTERS INC
PO BOX 6485                                                    RS Legacy Corporation fka RadioShack
SPRINGDALE, AR 72766                       2344      5/26/2015 Corporation                                                  $6,734.58                                                                                        $6,734.58
Cornelius, Mary
6092 cold brook rd lot7                                        RS Legacy Corporation fka RadioShack
Homer, NY 13077                            2345      5/22/2015 Corporation                                                     $37.00                                                                                           $37.00
Zianouka, Yauheniya
145 Willowdale Drive, Apt. #43                                 RS Legacy Corporation fka RadioShack
Frederick, MD 21702                        2346      5/29/2015 Corporation                                                     $18.01                                                                                           $18.01
Muse, Emily
5809 Regents Park Road                                         RS Legacy Corporation fka RadioShack
Kernersville, NC 27284                     2347      5/29/2015 Corporation                                                     $50.00                                                                                           $50.00
DW28 Fremont, LLC
C/O Matthew L. Weisenburger, Esquire
300 Madison Avenue, Suite 1100                                 RS Legacy Corporation fka RadioShack
Toledo, Ohio 43604                         2348      5/28/2015 Corporation                                                  $4,840.00                                                                                        $4,840.00
Theagene, Baudlaire
4 Secora Rd E‐16                                               RS Legacy Corporation fka RadioShack
Monsey, NY 10952                           2349      5/28/2015 Corporation                                                     $71.57                                                                                           $71.57
DW28 Fremont, LLC
c/o Matthew L. Weisenburger, Esquire
300 Madison Avenue, Suite 1100                                 RS Legacy Corporation fka RadioShack
Toledo , OH 43604                          2350      5/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Gomez, Nancy
4061 Euclid Ave. Apt G                                         RS Legacy Corporation fka RadioShack
San Diego, CA 92105                        2351      5/28/2015 Corporation                                                                         $0.00             $0.00               $0.00                                   $0.00
Gomez, Neydi
4061 Euclid Ave
Apt. G                                                         RS Legacy Corporation fka RadioShack
San Diego , CA 92105                       2352      5/27/2015 Corporation                                                                         $0.00             $0.00               $0.00                                   $0.00
Gomez, Neydi
4061 Eulcid Ave
Apt. G                                                         RS Legacy Corporation fka RadioShack
San Diego, CA 92105                        2353      5/27/2015 Corporation                                                                         $0.00             $0.00               $0.00                                   $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
The City of Dania Beach
Aleida Martinez Molina
Weiss Serota Helfman, et al.
2525 Ponce de Leon Boulevard
Suite 700                                                      RS Legacy Corporation fka RadioShack
Coral Gables, FL 33134                     2354      5/28/2015 Corporation                                                    $189.34                                                                                          $189.34
Emhoff, Shane T.
1126 Cero Ct
Apt. 4                                                         RS Legacy Corporation fka RadioShack
Redlands, CA 92374                         2355      5/28/2015 Corporation                                                                       $86.00                                  $0.00                                  $86.00
Doan, Karen
18 Split rail drive                                            RS Legacy Corporation fka RadioShack
Asheville, NC 28806                        2356      5/28/2015 Corporation                                                     $16.04                                                                                           $16.04
Connolly, Robin J
2580 NW Eventide Place                                         RS Legacy Corporation fka RadioShack
Stuart, FL 34994                           2357      5/28/2015 Corporation                                                                                                              $30.00                                  $30.00
Stetson, Aaron
PO Box 316                                                     RS Legacy Corporation fka RadioShack
Sheffield, VT 05866                        2358      5/28/2015 Corporation                                                     $87.00                                                                                           $87.00
Hongming Li
216 Linwood Ave
Unit 1
Monrovia, CA 91016                                             RS Legacy Corporation fka RadioShack
USA                                        2359      5/28/2015 Corporation                                                                       $50.00                                                                         $50.00
Shoppes of Liberty City, LLC
Alexis S. Read, Esq.
Blaxberg, Grayson & Kukoff, P.A.
25 SE Second Ave, Suite 730                                    RS Legacy Corporation fka RadioShack
Miami, FL 33131                            2360      5/25/2015 Corporation                                                  $4,591.06                                                                                        $4,591.06
Beck, Jill
901 Tewa Loop                                                  RS Legacy Corporation fka RadioShack
Los Alamos, NM 87544                       2361      5/28/2015 Corporation                                                     $50.00                                                                                           $50.00
York‐Foltz, Judith
735 S Herbert Ave                                              RS Legacy Corporation fka RadioShack
Tucson, AZ 85701                           2362      5/28/2015 Corporation                                                     $42.00                                                                                           $42.00
Heckman, David
137 Dartmouth Ave                                              RS Legacy Corporation fka RadioShack
Somerdale, NJ 08083                        2363      5/28/2015 Corporation                                                    $481.49                                                                                          $481.49
Appana, Ramarao
2595 Seton Dr                                                  RS Legacy Corporation fka RadioShack
Avon, OH 44011                             2364      5/26/2015 Corporation                                                    $200.00                                                                                          $200.00
Dothan Utilities
PO BOX 6728                                                    RS Legacy Corporation fka RadioShack
Dothan, AL 36302                           2365      5/28/2015 Corporation                                                    $761.98                                                                                          $761.98
Weems, Annette
2624 Port St                                                   RS Legacy Corporation fka RadioShack
Evans, CO 80620                            2366      5/28/2015 Corporation                                                     $76.53                                                                                           $76.53
Villegas, Victor M
5353 Ridge APT#20                                              RS Legacy Corporation fka RadioShack
El Paso, TX 79932                          2367      5/28/2015 Corporation                                                                                          $80.06                                                      $80.06




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Resnick, Ronald H.
6140 Indian Forest Circle                                      RS Legacy Corporation fka RadioShack
Lake Worth, FL 33463                       2368      5/27/2015 Corporation                                                     $80.00                                                                                           $80.00
Vdopia, Inc
2201 Walnut Ave                                                RS Legacy Corporation fka RadioShack
Fremont, CA 94538                          2369      5/28/2015 Corporation                                                                         $0.00                                 $0.00                                   $0.00
Air‐Mart Heating and Cooling
225 Stedman Street Unit 13                                     RS Legacy Corporation fka RadioShack
Lowell, MA 01851                           2370      5/27/2015 Corporation                                                  $9,068.20                                                                                        $9,068.20
Chaboya, Victor
353 Jefferson St                                               RS Legacy Corporation fka RadioShack
Santa Clara, CA 95050                      2371      5/26/2015 Corporation                                                                       $22.00                                                                         $22.00
Cumulus Broadcasting, LLC dba WQSM‐FM
Kathy Conrad
1009 Drayton Road                                              RS Legacy Corporation fka RadioShack
Fayetteville, NC 28303                     2372      5/27/2015 Corporation                                                    $535.50                                                                                          $535.50
Mclntosh, Nacoya
21385 NW Miami Court                                           RS Legacy Corporation fka RadioShack
Miami, Fl 33169                            2373      5/27/2015 Corporation                                                    $150.00                                                                                          $150.00
Katz, Marina
239 Park Avenue South
Apt PHC                                                        RS Legacy Corporation fka RadioShack
New York, NY 10003                         2374      5/28/2015 Corporation                                                    $544.36                                                                                          $544.36
FRONTIER MECHANICAL INC
3800 S FEDERAL BLVD                                            RS Legacy Corporation fka RadioShack
ENGLEWOOD, CO 80110                        2375      5/27/2015 Corporation                                                $17,732.57                                                                                        $17,732.57
Camel, Tiana
3930 Monarch Lane                                              RS Legacy Corporation fka RadioShack
Coconut Creek, FL 33073                    2376      5/27/2015 Corporation                                                     $16.95                                                                                           $16.95
Abreu, Zoraida
52 Washington Avenue                                           RS Legacy Corporation fka RadioShack
Lynbrook, NY 11563                         2377      5/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Singh, Tarunpreet
108 Old Farm Road                                              RS Legacy Corporation fka RadioShack
Valhalla, NY 10595                         2378      5/26/2015 Corporation                                                     $30.47                                                                                           $30.47
Jestis, Richards
2114 E. Whitmer                                                RS Legacy Corporation fka RadioShack
Decatur, lL 62521                          2379      5/27/2015 Corporation                                                     $25.00                                                                                           $25.00
Brownlee, Antwan
1766 Hillview Rd.                                              RS Legacy Corporation fka RadioShack
Cleveland, OH 44112                        2380      5/26/2015 Corporation                                                    $118.80                                                                                          $118.80
Williams, Trent
530 8th Street                                                 RS Legacy Corporation fka RadioShack
Brooklyn, NY 11215                         2381      5/26/2015 Corporation                                                     $21.77                                                                                           $21.77
Williams, Shelly
6656 Autumn West Drive                                         RS Legacy Corporation fka RadioShack
Riverdale, GA 30296                        2382      5/27/2015 Corporation                                                                                                              $21.99                                  $21.99
McKey & Sanchez, P.C.
Jeremy McKey
1349 Empire Central, Ste. 700                                  RS Legacy Corporation fka RadioShack
Dallas, TX 75247                           2383      5/26/2015 Corporation                                               $500,000.00                                                                                       $500,000.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Crabtree, Patrick
14404 Jefferson creek Drive                                    RS Legacy Corporation fka RadioShack
Alpharetta, GA 30005                       2384      5/29/2015 Corporation                                                     $38.00                                                                                           $38.00
Fulton, Bill
William Fulton
2450 mikler Rd                                                 RS Legacy Corporation fka RadioShack
Oviedo, FL 32765                           2385      5/28/2015 Corporation                                                    $172.10                                                                                          $172.10
Fisher, Shawna
22803 Williamschase                                            RS Legacy Corporation fka RadioShack
Katy, TX 77449                             2386      5/26/2015 Corporation                                                     $32.46                                                                                           $32.46
Miyakado, Kuniko
PO Box 12                                                      RS Legacy Corporation fka RadioShack
Kalaheo, HI 96741                          2387      5/26/2015 Corporation                                                     $27.60                                                                                           $27.60
WIlliams, Shelly
6656 Autumn West Drive                                         RS Legacy Corporation fka RadioShack
Riverdale, GA 30296                        2388      5/27/2015 Corporation                                                                                                              $21.99                                  $21.99
Airgas USA LLC Central Division
Attn: Carrie Dodson
110 W 7th St
Suite 1300                                                     RS Legacy Corporation fka RadioShack
Tulsa, OK 74114‐1031                       2389      5/28/2015 Corporation                                                    $123.80                                                                                          $123.80
Tax Collector, City of Norwalk
125 East Avenue                                                RS Legacy Corporation fka RadioShack
Norwalk, CT 06851                          2390      5/26/2015 Corporation                                                                     $1,021.24                                                                     $1,021.24
Auburn Water & Sewer District
268 Court St
P.O. Box 414                                                   RS Legacy Corporation fka RadioShack
Auburn, ME 04210                           2391      5/27/2015 Corporation                                                     $65.68                                                                                           $65.68
Trampedach, Dr. Kurt
5416 Prince Lane                                               RS Legacy Corporation fka RadioShack
Flowerhound, TX 75022                      2392      5/27/2015 Corporation                                                    $143.00                                                                                          $143.00
Blake, Brenda
141 Oak Circle                                                 RS Legacy Corporation fka RadioShack
Big Lake , MN 55309                        2393      5/26/2015 Corporation                                                     $98.10                                                                                           $98.10
Silva, Manuel
24 Hillcrest Avenue                                            RS Legacy Corporation fka RadioShack
Wethersfield, CT 06109                     2394      5/22/2015 Corporation                                                     $60.00                                                                                           $60.00
Vithidkul, Derek
307 Irwin St.                                                  RS Legacy Corporation fka RadioShack
Silver Spring, MD 20901                    2395      5/26/2015 Corporation                                                     $40.00                                                                                           $40.00
Buchan, chris
5197 Rd 192                                                    RS Legacy Corporation fka RadioShack
Antwerp, OH 45813                          2396      5/27/2015 Corporation                                                     $60.00                                                                                           $60.00
Aigas USA LLC Central Division
Attn: Carrie Dodson
110 W 7th St
Suite 1300                                                     RS Legacy Corporation fka RadioShack
Tulsa, OK 74114‐1031                       2397      5/28/2015 Corporation                                                     $33.24                                                                                           $33.24
Ryan, Heather
1948 Saffron Court                                             RS Legacy Corporation fka RadioShack
Oviedo, FL 32765                           2398      5/26/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                       Current General                                            Current 503(b)(9)
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                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
Lee Publications dba The Daily News
770 11th Avenue
PO Box 189                                                          RS Legacy Corporation fka RadioShack
Longview, WA 98632                              2399      5/27/2015 Corporation                                                  $5,317.88                                                                                        $5,317.88
Airgas USA LLC Central Division
Attn: Carrie Dodson
110 W 7th St
Suite 1300                                                          RS Legacy Corporation fka RadioShack
Tulsa, OK 74114‐1031                            2400      5/28/2015 Corporation                                                    $322.50                                                                                          $322.50
Airgas USA LLC Central Division
Attn: Carrie Dodson
110 W 7th St., Suite 1300                                           RS Legacy Corporation fka RadioShack
Tulsa, OK 74114‐1031                            2401      5/28/2015 Corporation                                                    $603.00                                                                                          $603.00
Whitehouse Mall, LLC
70 Bloomfield Avenue, Suite 200                                     RS Legacy Corporation fka RadioShack
Pine Brook, NJ 07058                            2402      5/27/2015 Corporation                                                    $220.00                                                                                          $220.00
Branick, Kevin
4423 N Sheridan Rd Apt 911                                          RS Legacy Corporation fka RadioShack
Chicago, IL 60640                               2403      5/27/2015 Corporation                                                      $6.88                                                                                            $6.88
City of Ponca City
Attn: Michael Vanderburg, City Attorney
516 E. Grand                                                        RS Legacy Corporation fka RadioShack
Ponca City, OK 74601                            2404      5/27/2015 Corporation                                                    $671.37                                                                                          $671.37
Voldan, David
55 Aberdeen Dr.                                                     RS Legacy Corporation fka RadioShack
Scituate, MA 02066‐2419                         2405      5/26/2015 Corporation                                                      $9.54                                                                                            $9.54
McKenzie, Brian
3714 11th St C                                                      RS Legacy Corporation fka RadioShack
Lewiston, ID 83501                              2406      5/22/2015 Corporation                                                     $20.00                                                                                           $20.00
Rier Realty Co., Inc
C/O Marx Realty & Improvment Co., Inc
708 Third Avenue
21st Floor                                                          RS Legacy Corporation fka RadioShack
New York, NY 10017                              2407      5/28/2015 Corporation                                                  $5,796.86                                                                                        $5,796.86
Scott Randolph, Orange County Tax Collector
PO BOX 545100                                                       RS Legacy Corporation fka RadioShack
Orlando, FL 32854                               2408      5/28/2015 Corporation                                                                                         $142.36                                                     $142.36
Attalla, Linda
PO Box 1447                                                         RS Legacy Corporation fka RadioShack
Claremont, CA 91711                             2409      5/27/2015 Corporation                                                    $100.00                                                                                          $100.00
Schur, Lori
1216 Sandhurst Drive                                                RS Legacy Corporation fka RadioShack
Buffalo Grove, IL 60089                         2410      5/27/2015 Corporation                                                     $62.38                                                                                           $62.38
Gill, Sheila
PO Box 1763                                                         RS Legacy Corporation fka RadioShack
Buna, TX 77612                                  2411      5/27/2015 Corporation                                                     $60.00                                                                                           $60.00
FANOVIDAL, S.E.
MSC #6152, ESTACION 1                                               RS Legacy Corporation fka RadioShack
BAYAMON, PR 00960                               2412      5/27/2015 Corporation                                                $18,046.92                                                                                        $18,046.92
Noggerath, Marlene
39073 St. Jude Dr                                                   RS Legacy Corporation fka RadioShack
Pearl River, LA 70452                           2413      5/27/2015 Corporation                                                                                                              $26.08                                  $26.08



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                                                                                                                                             Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address         Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
Watson, Darlene
2870 Greer Rd                                                       RS Legacy Corporation fka RadioShack
Theodore, AL 36582                              2414      5/27/2015 Corporation                                                                                                             $159.00                                 $159.00
INTERNATIONAL BUSINESS MACHINES
CORPORATION
IBM CORPORATION
ATTN: BANKRUPTCY COORDINATOR
275 Viger E. 4th Floor
MONTREAL, QC H2X 3R7                                                RS Legacy Corporation fka RadioShack
CANADA                                          2415      5/26/2015 Corporation                                                      $0.00                                                                                            $0.00
CXTEC (DBA of Cablexpress)
5404 South Bay Rd.                                                  RS Legacy Corporation fka RadioShack
Syracuse, NY 13212                              2416      5/27/2015 Corporation                                                    $293.32                                                                                          $293.32
Nursey, John Allen
747 Barrington Cir.                                                 RS Legacy Corporation fka RadioShack
Winter Springs, FL 32708                        2417      5/27/2015 Corporation                                                     $19.07                                                                                           $19.07
KENOSHA WATER UTILITY
4401 GREEN BAY ROAD                                                 RS Legacy Corporation fka RadioShack
KENOSHA, WI 53144                               2418      5/26/2015 Corporation                                                     $35.09                                                                                           $35.09
McDaniel, R. Bryan
2101 Hollydale Ave.                                                 RS Legacy Corporation fka RadioShack
Baton Rouge, LA 70808                           2419      5/27/2015 Corporation                                                                                                              $17.25                                  $17.25
Torres, Gildardo
641 West Ave.                                                       RS Legacy Corporation fka RadioShack
Gainesville, GA 30501                           2420      5/27/2015 Corporation                                                     $49.90                                                                                           $49.90
Hammond, Larry
19221 36th Ave. W. # 106                                            RS Legacy Corporation fka RadioShack
Lynnwood, WA 98036                              2421      5/26/2015 Corporation                                                                       $51.44                                  $0.00                                  $51.44
Denison, Jr., Dedrick
Arata, Swingle, Sodhi & Vanegmond
912 11th Street                                                     RS Legacy Corporation fka RadioShack
Modesto, CA 95353                               2422      5/26/2015 Corporation                                                      $0.00                                                                                            $0.00
Moebus, Linda
1646 Lake Floyd Circle                                              RS Legacy Corporation fka RadioShack
Bristol, WV 26426                               2423      5/27/2015 Corporation                                                      $0.00                                                                                            $0.00
Thew, Tiffany
14568 Kristenright Ln.                                              RS Legacy Corporation fka RadioShack
Orlando, FL 32826                               2424      5/28/2015 Corporation                                                    $106.49                                                                                          $106.49
ROSEMEAD PLACE LLC
C/O BEACON PROPERTY MANAGEMENT
3505 HART AVENUE
SUITE 214                                                           RS Legacy Corporation fka RadioShack
ROSEMEAD, CA 91770                              2425      5/26/2015 Corporation                                                  $3,657.85                                                                                        $3,657.85
Scott Randolph, Orange County Tax Collector
PO Box 545100                                                       RS Legacy Corporation fka RadioShack
Orlando, FL 32854                               2426      5/26/2015 Corporation                                                                                         $330.04                                                     $330.04
Chang, Jennie
124 Leary St.                                                       RS Legacy Corporation fka RadioShack
Jericho, NY 11753                               2427      5/26/2015 Corporation                                                    $100.00                                                                                          $100.00
Pizzo, Patricia
2299 Forest Grove Rd                                                RS Legacy Corporation fka RadioShack
Furlong, PA 18925                               2428      5/27/2015 Corporation                                                                                          $23.11                                                      $23.11



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            Creditor Name and Address              Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Mosier, Darin
10222 N 43RD AVE #8                                                      RS Legacy Corporation fka RadioShack
Glendale, AZ 85302                                   2429      5/27/2015 Corporation                                                                        $36.76              $0.00               $0.00                                  $36.76
Elizalde, Lynn Kathleen
639 Rossmore Road                                                        RS Legacy Corporation fka RadioShack
Goleta, CA 93117                                     2430      5/27/2015 Corporation                                                      $25.00                                                                                           $25.00
Cano, Luis E
20‐45 Seagirt Boulevard
Apt 3G                                                                   RS Legacy Corporation fka RadioShack
Far Rockaway, NY 11691                               2431      5/26/2015 Corporation                                                                          $9.77                                                                         $9.77
Hemmes, Lorna
PO Box 27                                                                RS Legacy Corporation fka RadioShack
Humboldt, MN 56731                                   2432      5/27/2015 Corporation                                                                        $22.41                                                                         $22.41
Levcom Wall Plaza Associates
C/O Jacobs Enterprises, Inc
1051 Bloomfield Avenue                                                   RS Legacy Corporation fka RadioShack
Clifton, NJ 07012                                    2433      5/26/2015 Corporation                                                   $4,568.88                                                                                        $4,568.88
Dorow, Erich
2725 Leabrook Drive                                                      RS Legacy Corporation fka RadioShack
Fayetteville, NC 28306                               2434      5/26/2015 Corporation                                                       $0.00                                                                                            $0.00
Yerramsetty, Viswanath
7384 Winding Lake Circle                                                 RS Legacy Corporation fka RadioShack
Oviedo, FL 32765                                     2435      5/26/2015 Corporation                                                                        $25.00                                 $25.00                                  $50.00
Radunzel, Elizabeth
912 Rumley Run                                                           RS Legacy Corporation fka RadioShack
Deforest, WI 53532                                   2436      5/26/2015 Corporation                                                      $20.00                                                                                           $20.00
Department of the Treasury‐ Internal Revenue
Service
PO Box 7346                                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19101‐7346                          2437      5/26/2015 Corporation                                                       $0.00              $0.00                                                                         $0.00
Niemier, Charles E.
1600 S. Meadow DR                                                        RS Legacy Corporation fka RadioShack
Warsaw, IN 46580‐7071                                2438      5/26/2015 Corporation                                                      $50.00                                                                                           $50.00
Teng, Jaja
3239 Mercer Lane                                                         RS Legacy Corporation fka RadioShack
San Diego, CA 92122                                  2439      5/26/2015 Corporation                                                      $19.11                                                                                           $19.11
Jarmin, H. E.
6450 E. Golf Links Rd‐ Apt‐ 1099                                         RS Legacy Corporation fka RadioShack
Tucson, AZ 85730                                     2440      5/27/2015 Corporation                                                      $97.26                                                                                           $97.26
Puckett, John
17201 Anne Freda St.                                                     RS Legacy Corporation fka RadioShack
Santa Clarita, CA 91387                              2441      5/26/2015 Corporation                                                      $50.00                                                                                           $50.00

Guangdong Alpha Animation & Culture CO., LTD.
Auldey Industrial Area Wenguan Road                                      RS Legacy Global Sourcing Limited Partnership
Chenghai, Guangdong                                                      fka RadioShack Global Sourcing Limited
China                                                2442      5/26/2015 Partnership                                                       $0.00                                                    $0.00                                   $0.00

Rebecca Shirlene Kennelly Haas DBA CBK Interests
1716 Magnolia Lane                                                       RS Legacy Corporation fka RadioShack
Richmond, TX 77469                                   2443      5/27/2015 Corporation                                                   $1,552.40                                                                                        $1,552.40




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                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
Andrade, Alexandra
9581 Fontainebleau Blvd
Apt 309                                                               RS Legacy Corporation fka RadioShack
Miami, FL 33172                                   2444      5/28/2015 Corporation                                                      $42.79                                                                                           $42.79
SEAFORD AVENUE CORP
21 BROOKLYN AVENUE                                                    RS Legacy Corporation fka RadioShack
MASSAPEQUA, NY 11758                              2445      5/27/2015 Corporation                                                     $309.58                                                                                          $309.58
CITY OF HAMPTON TREASURERS OFFICE
1 FRANKLIN STREET SUITE 100                                           RS Legacy Corporation fka RadioShack
HAMPTON, VA 23669                                 2446      5/18/2015 Corporation                                                                                        $1,724.94                                                   $1,724.94
Harvey, Arrie J.
206 E. 11th St                                                        RS Legacy Corporation fka RadioShack
Berwick, PA 18603                                 2447      5/28/2015 Corporation                                                      $25.00                                                                                           $25.00
Miller, Mark A.
1139 Glen Dr                                                          RS Legacy Corporation fka RadioShack
San Leandro, CA 94577                             2448      5/26/2015 Corporation                                                       $0.00                                                                                            $0.00
Baker, Lynee
4824 East 53rd St #506                                                RS Legacy Corporation fka RadioShack
Minneapolis, MN 55417                             2449      5/27/2015 Corporation                                                      $44.23                                                                                           $44.23
Turner, Robert M.
1020 Lancer Lane                                                      RS Legacy Corporation fka RadioShack
Prosper, TX 75078                                 2450      5/27/2015 Corporation                                                       $0.00                                                                                            $0.00
SEAFORD AVENUE CORP
21 BROOKLYN AVENUE                                                    RS Legacy Corporation fka RadioShack
MASSAPEQUA, NY 11758                              2451      5/27/2015 Corporation                                                     $435.91                                                                                          $435.91
Hernandez, Martha
10 Forest ave                                                         RS Legacy Corporation fka RadioShack
ossining, NY 10562                                2452      5/26/2015 Corporation                                                                       $214.74              $0.00                                                     $214.74
Reyes, Jose
2 VICTOR STREET                                                       RS Legacy Corporation fka RadioShack
Lodi, NJ 07644                                    2453      5/26/2015 Corporation                                                      $25.00                                                                                           $25.00
William & Antonia carney
8711 & Hazelwood St.                                                  RS Legacy Corporation fka RadioShack
Scottsdale, AZ 85251                              2454      5/26/2015 Corporation                                                      $64.69                                                                                           $64.69

Guangdong Alpha Animation & Culture CO., LTD.
2102, Poly International Center
No. 5 Lin Jiang Rd.
Zhujiang New Town                                                     RS Legacy Global Sourcing Limited Partnership
Guangzhou                                                             fka RadioShack Global Sourcing Limited
PRC                                               2455      5/26/2015 Partnership                                                                                                           $16,048.00                              $16,048.00
Melton, Anne
7361 Hamlet Ave                                                       RS Legacy Corporation fka RadioShack
San Diego, CA 92120                               2456      5/27/2015 Corporation                                                      $60.00                                                                                           $60.00

Guangdong Alpha Animation & Culture CO., LTD.
Auldey Industrial Area
Wenguan Road
Chenghai                                                              RS Legacy Global Sourcing Limited Partnership
Guangdong                                                             fka RadioShack Global Sourcing Limited
CHINA                                             2457      5/26/2015 Partnership                                                                                                                $0.00                                   $0.00




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                                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                     Amount                                                     Amount


Guangdong Alpha Animation & Culture CO., LTD.
2102, Poly International Center, No. 5 Lin Jiang Rd.                         RS Legacy Global Sourcing Limited Partnership
Zhujiang New Town, Guangzhou                                                 fka RadioShack Global Sourcing Limited
China                                                    2458      5/26/2015 Partnership                                                 $14,169.60                                                     $0.00                              $14,169.60
Lyness, Julie M.
26 Bromby Court                                                              RS Legacy Corporation fka RadioShack
Rising Sun , MD 21911                                    2459      5/26/2015 Corporation                                                      $50.00                                                                                           $50.00
Al‐Milli, Rania
25 Chilhowie Dr                                                              RS Legacy Corporation fka RadioShack
Kinnelon, NJ 07405                                       2460      5/27/2015 Corporation                                                      $12.99                                                                                           $12.99
Commissioners of Public Works
PO Box B                                                                     RS Legacy Corporation fka RadioShack
Charleston, SC 29402                                     2461      5/22/2015 Corporation                                                     $428.05                                                                                          $428.05
Millare, Grazielli
226 Red Hawk Ridge                                                           RS Legacy Corporation fka RadioShack
San Antonio, TX 78258                                    2462      5/29/2015 Corporation                                                      $17.00                                                                                           $17.00

Monster, Inc (F/K/A Monster Cable Products, Inc.)
Valerie Bantner Peo
Buchalter Nemer PC
425 Market Street
Suite 2900                                                                   RS Legacy Corporation fka RadioShack
San Francisco, CA 94105                                  2463      5/27/2015 Corporation                                                 $85,960.16                                                                                        $85,960.16
INMAR REALTY CO., INC.
C/O MARX REALTY & IMPROVEMENT CO., INC.
708 Third Avenue, 21st Floor                                                 RS Legacy Corporation fka RadioShack
NEW YORK, NY 10017                                       2464      5/28/2015 Corporation                                                 $60,512.73                                                                                        $60,512.73

Guangdong Alpha Animation & Culture CO., LTD.
2102, Poly International Center
No. 5 Lin Jiang Rd.                                                          RS Legacy Global Sourcing Limited Partnership
Zhujiang New Town, Guangzhou                                                 fka RadioShack Global Sourcing Limited
People's Republic of China                               2465      5/26/2015 Partnership                                                                                                                $0.00                                   $0.00
Gallo, Tamara
452 stafford avenue                                                          RS Legacy Corporation fka RadioShack
Statenisland, NY 10312                                   2466      5/27/2015 Corporation                                                                       $163.00                                                                        $163.00
Stashenko III, John
21 Garner St.                                                                RS Legacy Corporation fka RadioShack
Norwack, CT 06854                                        2467      5/27/2015 Corporation                                                      $25.00                                                                                           $25.00
Polaski, Terry
625 Wall St                                                                  RS Legacy Corporation fka RadioShack
Vero Beach, FL 32960                                     2468      5/28/2015 Corporation                                                      $32.11                                                                                           $32.11
Ivan, Charles
461 Greenmont Drive                                                          RS Legacy Corporation fka RadioShack
Canfield, OH 44406                                       2469      5/27/2015 Corporation                                                      $50.00                                                                                           $50.00




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                                                                                                                          Current General                                            Current 503(b)(9)
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            Creditor Name and Address           Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
Baltimore County, Maryland
Bambi Glenn, Assistant County Attorney,
Baltimore County Office of Law
400 Washington Avenue
Room 219                                                              RS Legacy Corporation fka RadioShack
Towson, Maryland 21204                            2470      5/27/2015 Corporation                                                      $50.00           $172.80                                                                        $222.80
LOCKWORKS
1844 W. Berteau Ave
Apt 1                                                                 RS Legacy Corporation fka RadioShack
Chicago, IL 60613                                 2471      5/29/2015 Corporation                                                   $4,567.31              $0.00                                                                     $4,567.31
Appleton, Linda
35 Van Gogh Way                                                       RS Legacy Corporation fka RadioShack
Trabuco Canyon, CA 92679                          2472      5/27/2015 Corporation                                                      $43.18                                                                                           $43.18
Dieffenbach, Samantha
34 Spruce Glen Terrace                                                RS Legacy Corporation fka RadioShack
Wallingford, CT 06492                             2473      5/26/2015 Corporation                                                                        $29.54              $0.00                                                      $29.54
Pasini, Don
4 Pinewood Village                                                    RS Legacy Corporation fka RadioShack
West Lebanon, NH 03784                            2474      5/26/2015 Corporation                                                      $74.99                                                                                           $74.99

Guangdong Alpha Animation & Culture Co., LTD.
2102, Poly International Center
No. 5 Lin Jiang Rd.
Zhujiang New Town                                                     RS Legacy Global Sourcing Limited Partnership
Guangzhou                                                             fka RadioShack Global Sourcing Limited
PRC                                               2475      5/26/2015 Partnership                                                 $35,400.00                                                     $0.00                              $35,400.00
Cardona Cordero, Leishla M.
91 Calle Principe Williams #254
Urb. Colinas Del Pradro                                               RS Legacy Corporation fka RadioShack
Juana Diaz, PR 00795                              2476      5/26/2015 Corporation                                                                          $0.00                                                                         $0.00
Thoma, Joan
29864 Centerville Rd                                                  RS Legacy Corporation fka RadioShack
La Motte, IA 52054                                2477      5/27/2015 Corporation                                                     $160.30                                                                                          $160.30
Claim Docketed In Error                                               RS Legacy Corporation fka RadioShack
                                                  2478      5/26/2015 Corporation                                                                                                                                                        $0.00
Sheldon Broadcasting Co. Inc.
Walt Pruiksma
411 9th Street                                                        RS Legacy Corporation fka RadioShack
Sheldon, IA 51201                                 2479      5/26/2015 Corporation                                                     $675.96                                                                                          $675.96
Harsch Investment Properties, LLC
STEPHAN KOTKINS
1121 SW SALMON                                                        RS Legacy Corporation fka RadioShack
PORTLAND, OR 97205                                2480      5/26/2015 Corporation                                                $109,930.31                                                                                       $109,930.31
Snyder, Joseph
28316 Relda DR.                                                       RS Legacy Corporation fka RadioShack
Brownstown Twp., MI 48183                         2481      5/26/2015 Corporation                                                      $50.00                                                                                           $50.00
Mahlum, Daniel
1050 N Poplar Ave                                                     RS Legacy Corporation fka RadioShack
Tea, SD 57064                                     2482      5/29/2015 Corporation                                                      $60.00                                                                                           $60.00
Garabito, Luz Y
61 Ellwood St. Apt 3H                                                 RS Legacy Corporation fka RadioShack
New York, NY 10040                                2483      5/26/2015 Corporation                                                     $272.18                                                                                          $272.18



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                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
Grossman, Robert
PO BOX 10314                                                        RS Legacy Corporation fka RadioShack
Truckee, CA 96162                               2484      5/27/2015 Corporation                                                   $1,830.95                                                                                        $1,830.95
Petty, Eugene Glenn
539 Rosary Drive Apt #5                                             RS Legacy Corporation fka RadioShack
                                                2485      5/26/2015 Corporation                                                                                                               $20.00                                  $20.00
Saldivar, Sandra A.
1914 Declaration St.                                                RS Legacy Corporation fka RadioShack
Salinas, CA 93906                               2486      5/26/2015 Corporation                                                      $50.00                                                                                           $50.00
Turner, Jessica
1635 Burnt Oak Court                                                RS Legacy Corporation fka RadioShack
Jefferson, GA 30549                             2487      5/29/2015 Corporation                                                                                                              $100.00                                 $100.00
McKey & Sanchez, P.C.
Jeremy McKey
1349 Empire Central, Ste 700                                        RS Legacy International Corporation fka Tandy
Dallas, TX 75247                                2488      5/26/2015 International Corporation                                         $0.00                                                                                            $0.00
Watkins, David J.
2136 15th Street                                                    RS Legacy Corporation fka RadioShack
Cuyahoga Falls, OH 44223                        2489      5/26/2015 Corporation                                                      $41.99                                                                                           $41.99
Indianapolis Power & Light Co.
PO BOX 1595                                                         RS Legacy Corporation fka RadioShack
INDIANAPOLIS, IN 46206                          2490      5/28/2015 Corporation                                                 $12,484.06                                                                                        $12,484.06
Scott Randolph, Orange County Tax Collector
PO BOX 545100                                                       RS Legacy Corporation fka RadioShack
ORLANDO, FL 32854                               2491      5/26/2015 Corporation                                                                                          $336.73                                                     $336.73
Boykin, Sharon
421 Gunther Drive                                                   RS Legacy Corporation fka RadioShack
Darlington, SC 29532‐3662                       2492      5/29/2015 Corporation                                                      $46.43                                                                                           $46.43
Carbonell, Yikaurys
St 16 SE 1261 Caparra Terrace                                       RS Legacy Corporation fka RadioShack
San Juan, PR 00921                              2493      5/26/2015 Corporation                                                       $0.00                                                                                            $0.00
Queen Boulevard Joint Venture
C/O Marx Realty & Improvment Co., Inc
708 Third Avenue
21st Floor                                                          RS Legacy Corporation fka RadioShack
New York, NY 10017                              2494      5/28/2015 Corporation                                                $137,601.14                                                                                       $137,601.14
Jarrett, Ellen
1325 Chippendale road                                               RS Legacy Corporation fka RadioShack
Lutherville, MD 21093                           2495      5/26/2015 Corporation                                                      $30.00                                                                                           $30.00
National Grid
c/o Bankruptcy
300 Erie Blvd. W.                                                   RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                              2496      5/26/2015 Corporation                                                $195,929.47                                                                                       $195,929.47
Gruber, Mark
8547 Glenwood St.                                                   RS Legacy Corporation fka RadioShack
Overland Park, KS 66212                         2497      5/26/2015 Corporation                                                      $25.00                                                                                           $25.00
Ellis, Eric Jarod
1815 West 54th Street                                               RS Legacy Corporation fka RadioShack
Los Angeles, CA 90062                           2498      5/26/2015 Corporation                                                                                                               $98.09                                  $98.09




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                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
Glynn, Shawn Michael
16 Baltimore st
Apt. 3                                                               RS Legacy Corporation fka RadioShack
MIllis, MA 02054                                 2499      5/26/2015 Corporation                                                                       $15.00                                                                         $15.00
Kazarians, Armen
1720 Wabasso Way                                                     RS Legacy Corporation fka RadioShack
Glendale, CA 91208                               2500      5/26/2015 Corporation                                                                       $28.16             $28.16              $28.16                                  $84.48
Ruan Transport Corporation
Attn: Ken Baird
666 Grand Avenue, Floor 31                                           RS Legacy Corporation fka RadioShack
Des Moines, IA 50309                             2501      5/26/2015 Corporation                                               $173,760.84                                                                                       $173,760.84
Hou, Suyi
3805 2nd St NE
Apt.111                                                              RS Legacy Corporation fka RadioShack
Minot, ND 58703                                  2502      5/26/2015 Corporation                                                    $200.00                                                                                          $200.00
Chester Mall LLC
4 Executive Boulevard, Suite 200                                     RS Legacy Corporation fka RadioShack
Suffern, NY 10901                                2503      5/26/2015 Corporation                                                  $1,324.57                                                                                        $1,324.57
Fiske, Jennifer
75 Rowe Drive                                                        RS Legacy Corporation fka RadioShack
Fremont, NH 03044                                2504      5/26/2015 Corporation                                                     $30.00                                                                                           $30.00
Kille, Michelle
PO Box 980816                                                        RS Legacy Corporation fka RadioShack
West Sacramento, CA 95798                        2505      5/26/2015 Corporation                                                    $126.71              $0.00                                                                       $126.71
Watkins, David J
2136 15th Street                                                     RS Legacy Corporation fka RadioShack
Cuyahoga Falls, OH 44223                         2506      5/26/2015 Corporation                                                     $41.99                                                                                           $41.99
Ellis, Eric Jarod
721 West 111th Street                                                RS Legacy Corporation fka RadioShack
Los Angeles, CA 90044                            2507      5/26/2015 Corporation                                                                                                              $98.09                                  $98.09
Carrollton‐Farmers Branch Independent School
District
c/o Daniel K. Bearden, Esq.
Law Offices of Robert E. Luna, P.C.
4411 North Central Expressway                                        RS Legacy Corporation fka RadioShack
Dallas, TX 75205                                 2508      5/15/2015 Corporation                                                                         $0.00             $0.00                                                       $0.00
Stone , Beverly
747 Darlow Dr                                                        RS Legacy Corporation fka RadioShack
Annapolis, MD 21409                              2509      5/26/2015 Corporation                                                                         $7.34             $0.00                                                       $7.34
MSO, LLC
777 E 2100 SOUTH                                                     RS Legacy Corporation fka RadioShack
SALT LAKE CITY, UT 84106                         2510      5/26/2015 Corporation                                                    $540.47                                                                                          $540.47
McMillan, Richard
91‐1029 Kai Uhu Street                                               RS Legacy Customer Service LLC fka RadioShack
Ewa Beach, HI 96706                              2511      5/27/2015 Customer Service LLC                                            $22.60                                                                                           $22.60
Yen, Dorothy
13316 Deerbrook Dr.                                                  RS Legacy Corporation fka RadioShack
Potomac, MD 20854                                2512      5/26/2015 Corporation                                                     $92.00                                                                                           $92.00




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                                                                                                                              Current General                                            Current 503(b)(9)
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            Creditor Name and Address                Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount
Gatehous Media Massachusetts 1, Inc., d/b/a
Community Newspaper Company
Steven L. Kornstein, Esquire
15 Court Square, Suite 1150                                                RS Legacy Corporation fka RadioShack
Boston, MA 02108                                       2513      5/19/2015 Corporation                                                $19,287.24                                                                                        $19,287.24
Fiorentino, Alana
40 Waterside Plaza, Apt. 21D                                               RS Legacy Corporation fka RadioShack
New York, NY 10010                                     2514      5/26/2015 Corporation                                                      $0.00                                                                                            $0.00
Petty, Eugene Glenn
539 Rosary Drive Apt#5                                                     RS Legacy Corporation fka RadioShack
Erlanger, KY 41018                                     2515      5/26/2015 Corporation                                                                                                              $20.00                                  $20.00

South Florida Residential, LLC; Dadeland Interests
Corp.; Dadeland Retail Plaza LLC; et al.
Alexis S. Read, Esq.
Blaxberg, Grayson & Kukoff, P.A.
25 SE Second Ave, Suite 730                                                RS Legacy Corporation fka RadioShack
Miami, FL 33131                                        2516      5/25/2015 Corporation                                                    $336.60                                                                                          $336.60
Cooper, Susan M.
36 Sagamore Trail                                                          RS Legacy Corporation fka RadioShack
New Canaan, CT 06840                                   2517      5/25/2015 Corporation                                                     $85.00                                                                                           $85.00
Flores, Renee
1481 E. Level Street                                                       RS Legacy Corporation fka RadioShack
Covina, CA 91724                                       2518      5/24/2015 Corporation                                                     $86.39                                                                                           $86.39
Quezada, Evelyn
2744B MALABEY COURT                                                        RS Legacy Corporation fka RadioShack
Kailua, HI 96734                                       2519      5/24/2015 Corporation                                                                       $60.00                                  $0.00                                  $60.00
Jerman, Kevin
941 East 200 North                                                         RS Legacy Corporation fka RadioShack
Nephi, UT 84648                                        2520      5/26/2015 Corporation                                                                      $125.00                                  $0.00                                 $125.00
Ranish, William
PO Box 598                                                                 RS Legacy Corporation fka RadioShack
Sebastopol, CA 95472                                   2521      5/23/2015 Corporation                                                     $30.00                                                                                           $30.00
Purnell, Charmayne
1133 E. Durham St                                                          RS Legacy Customer Service LLC fka RadioShack
Philadelphia, PA 19150                                 2522      5/24/2015 Customer Service LLC                                            $10.40                                                                                           $10.40
Woodward, Jerry
20935 Apple Valley Drive                                                   RS Legacy Corporation fka RadioShack
Sonora, CA 95370                                       2523      5/22/2015 Corporation                                                                       $39.26                                  $0.00                                  $39.26
Freeland, Jill
211 North Street                                                           RS Legacy Corporation fka RadioShack
Middlebury, CT 06762                                   2524      5/29/2015 Corporation                                                      $0.00                                                                                            $0.00
Smoot, Janet
144 Rone Ave SW                                                            RS Legacy Customer Service LLC fka RadioShack
Concord, NC 28025                                      2525      5/23/2015 Customer Service LLC                                                                                                     $63.52                                  $63.52
Gee, Laurie
754 Broadway St #15                                                        RS Legacy Corporation fka RadioShack
San Francisco, CA 94133                                2526      5/22/2015 Corporation                                                                                                              $78.26                                  $78.26
Gravot, Shawn
7327 Town Hall Rd                                                          RS Legacy Corporation fka RadioShack
Belleville, IL 62223                                   2527      5/22/2015 Corporation                                                     $17.18                                                                                           $17.18




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                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
Broderick, Dianne
56 Bungalon LN                                                        RS Legacy Corporation fka RadioShack
Flat Rock , NC 28731                              2528      5/27/2015 Corporation                                                     $25.00                                                                                           $25.00
TRP‐MCB Eastpoint, LLC
2701 North Charles Street, Suite 404                                  RS Legacy Corporation fka RadioShack
Baltimore, MD 21218                               2529      5/22/2015 Corporation                                                  $2,341.21                                                                                        $2,341.21
Maxfield, Georgeanna
650 South Town Center Dr. #2022                                       RS Legacy Corporation fka RadioShack
LAS VEGAS, NV 89144                               2530      5/22/2015 Corporation                                                     $43.23                                                                                           $43.23
The Brooklyn Union Gas Company d/b/a National
Grid New York
Attn: Mr. E. Negron ‐ 13th Floor
One MetroTech Center                                                  RS Legacy Corporation fka RadioShack
Brooklyn, NY 11201‐3850                           2531      5/22/2015 Corporation                                                $22,258.92                                                                                        $22,258.92
NYKO Technologies, Inc.
1990 Westwood Blvd
#350                                                                  RS Legacy Corporation fka RadioShack
Los Angeles, CA 90025                             2532      5/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Saffle, Eric
108 Linden CV                                                         RS Legacy Corporation fka RadioShack
Madison, MS 39110                                 2533      5/22/2015 Corporation                                                     $25.00                                                                                           $25.00
Keter Environmental Services, Inc.
c/o Maria Baklanova
4 High Ridge Park                                                     RS Legacy Corporation fka RadioShack
Stamford, CT 06905                                2534      5/22/2015 Corporation                                                  $3,829.54                                                                                        $3,829.54
Lewis, Katrina
110 Irving Lane                                                       RS Legacy Corporation fka RadioShack
Georgetown, KY                                    2535      5/29/2015 Corporation                                                    $110.00                                                                                          $110.00
Carrillo, Rocio
452 Grier Ave                                                         RS Legacy Corporation fka RadioShack
Elizabeth, NJ 07202                               2536      5/22/2015 Corporation                                                                       $80.00                                  $0.00                                  $80.00
Russell, Ricky
1086 S. Springer Road                                                 RS Legacy Corporation fka RadioShack
Los Altos, CA 94024                               2537      5/22/2015 Corporation                                                                                          $45.32               $0.00                                  $45.32
Russell, Ricky
1086 S. Springer Road                                                 RS Legacy Corporation fka RadioShack
Los Altos, CA 94024                               2538      5/22/2015 Corporation                                                                                          $22.60               $0.00                                  $22.60
SIRVA Relocation LLC
Attn: Legal Department
6200 Oak Tree Boulevard, Suite 300                                    RS Legacy Corporation fka RadioShack
Independence, OH 44131                            2539      5/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Bassett, Carol L
78 Merchants Rd                                                       RS Legacy Corporation fka RadioShack
Rochester, NY 14609                               2540      5/22/2015 Corporation                                                    $100.00                                                                                          $100.00
Bond, Katrelle
404 Willow Hill Court                                                 RS Legacy Corporation fka RadioShack
Hyattsville, MD 20785                             2541      5/22/2015 Corporation                                                                                                             $114.00                                 $114.00
ESCAMBIA COUNTY TAX COLLECTOR
PO BOX 1312                                                           RS Legacy Corporation fka RadioShack
PENSACOLA, FL 32591                               2542      5/22/2015 Corporation                                                                       $42.20              $0.00                                                      $42.20




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                                                                                                                                         Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                      Amount
Banks, Wendy
PO Box 442                                                     RS Legacy Corporation fka RadioShack
Thrall, TX 76578                           2543      5/21/2015 Corporation                                                     $30.00                                                                                            $30.00
Myers, Cheryl L.
128 Kittery Ct.                                                RS Legacy Corporation fka RadioShack
Sellersville, PA 18960                     2544      5/22/2015 Corporation                                                     $34.96                                                                                            $34.96
Acosta, Bernice
17018 E. Benbow Street                                         RS Legacy Corporation fka RadioShack
Covina, CA 91722                           2545      5/21/2015 Corporation                                                                        $32.21                                  $0.00                                  $32.21
Romeo, Jacquelyn
5119 Arthur Street                                             RS Legacy Corporation fka RadioShack
Hollywood, FL 33021                        2546      5/21/2015 Corporation                                                                                                               $26.00                                  $26.00
Bennett, Ivory
1240 Clairhaven ST.                                            RS Legacy Corporation fka RadioShack
PGH, PA 15205                              2547      5/21/2015 Corporation                                                     $19.70                                                                                            $19.70
Keohane, Marcy
9 Angelo Way                                                   RS Legacy Corporation fka RadioShack
Franklin, MA 02038                         2548      5/21/2015 Corporation                                                                                                               $65.00                                  $65.00
Tennessee Department of Revenue
c/o Attorney General
PO Box 20207                                                  RS Legacy Corporation fka RadioShack
NASHVILLE, TN 37202‐0207                   2549      5/4/2015 Corporation                                                       $0.00              $0.00                                                                          $0.00
Hoskins, Yolanda
6239 Fort Worth St.                                            RS Legacy Corporation fka RadioShack
North Las Vegas, NV 89081                  2550      5/21/2015 Corporation                                                     $45.00                                                                                            $45.00
Team Radio, LLC
PO Box 2509
102 E. Grand Ave                                               RS Legacy Corporation fka RadioShack
Ponca City, OK 74602                       2551      5/21/2015 Corporation                                                    $952.00                                                                                           $952.00
BIGGS PARK INC.
PO BOX 967                                                     RS Legacy Corporation fka RadioShack
LUMBERTON, NC 28359                        2552      5/21/2015 Corporation                                                $37,827.65                                                                                         $37,827.65
DAVIESS COUNTY TREASURER
200 E. Walnut St                                              RS Legacy Corporation fka RadioShack
WASHINGTON, IN 47501                       2553      5/4/2015 Corporation                                                                          $0.00                                                                          $0.00
Hampton Property Partnership, LLC
334 North Main Street                                          RS Legacy Corporation fka RadioShack
St. Charles, MO 63301                      2554      5/11/2015 Corporation                                                  $4,438.19                                                                                         $4,438.19
Woodbury, Donna Kaye
5740 Dennis Ave                                               RS Legacy Corporation fka RadioShack
Ft Worth, TX 76114                         2555      5/4/2015 Corporation                                                     $702.60          $12,475.00                                                                    $13,177.60
Gribble, Ruth
453 Richwood Hall Rd                                           RS Legacy Corporation fka RadioShack
Kearneysville, WV 25430                    2556      5/21/2015 Corporation                                                                        $20.00                                 $20.00                                  $40.00
Gingles, Charmanique
5632 Alhambra Ave                                             RS Legacy Corporation fka RadioShack
Balto, MD 21212                            2557      5/5/2015 Corporation                                                      $25.00                                                                                            $25.00
OYOLA‐DIAZ, ELIUD
HC‐15 Box 16557                                               RS Legacy Corporation fka RadioShack
Humacao, PR 00791                          2558      5/6/2015 Corporation                                                $950,000.00                                                                                        $950,000.00




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                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
Bristol Center Holding LP
Attn: Asset Manager
8115 Preston Road, Suite 400                                           RS Legacy Corporation fka RadioShack
Dallas, TX 75225                                   2559      5/21/2015 Corporation                                                $21,600.17                                                                                        $21,600.17
Ellis, Maurissa
14804 Lawndale Ave                                                     RS Legacy Corporation fka RadioShack
Cleveland, OH 44128                                2560      5/21/2015 Corporation                                                     $38.00                                                                                           $38.00
Alba, Ofelia L.
1725 Gamo St                                                           RS Legacy Corporation fka RadioShack
Houston, TX 77009                                  2561      5/21/2015 Corporation                                                     $25.00                                                                                           $25.00
Taveras, Saskia
3525 Hull Ave. Apt 5E                                                  RS Legacy Corporation fka RadioShack
Bronx, NY 10467                                    2562      5/21/2015 Corporation                                                                                                              $92.52                                  $92.52
Jackson, Thomas
6230 NE Deer Ln                                                        RS Legacy Corporation fka RadioShack
Newport, OR 97365                                  2563      5/21/2015 Corporation                                                                                                              $25.00                                  $25.00
Petit, Loc
2787 Klotz St                                                          RS Legacy Corporation fka RadioShack
Orefield, PA 18069                                 2564      5/20/2015 Corporation                                                      $7.40                                                                                            $7.40
Petit, Loc
2787 Klotz St                                                          RS Legacy Corporation fka RadioShack
Orefield, PA 18069                                 2565      5/20/2015 Corporation                                                      $7.40                                                                                            $7.40
Taylor, Kenneth
13810 SW 11th St                                                       RS Legacy Corporation fka RadioShack
Miami, FL 33184                                    2566      5/20/2015 Corporation                                                     $36.07                                                                                           $36.07
LEWIS LABEL PRODUCTS
2300 RACE ST.                                                          RS Legacy Corporation fka RadioShack
FORT WORTH, TX 76111                               2567      5/20/2015 Corporation                                                    $390.50                                                                                          $390.50
Le, Chris
1128 J St                                                              RS Legacy Corporation fka RadioShack
Davis, CA 95616                                    2568      5/20/2015 Corporation                                                    $100.00                                                                                          $100.00
Fayette Square Associates, LLC and BCP Fayette
Square, LLC
c/o Jennifer J. West, Esquire
Spotts Fain PC
411 E. Franklin St., Ste. 600                                          RS Legacy Corporation fka RadioShack
Richmond, VA 23219                                 2569      5/20/2015 Corporation                                                  $1,506.07                                                                                        $1,506.07
SHOQUIST PROPERTIES LP
Attn: Carol Shoquist
5120 MEADOWSIDE LANE                                                   RS Legacy Corporation fka RadioShack
PLANO, TX 75093                                    2570      5/20/2015 Corporation                                                $57,544.30                                                                                        $57,544.30
Mehta, Jayesh
19 ‐ Tralee Lane                                                       RS Legacy Corporation fka RadioShack
SHREWSBURY, MA 01545                               2571      5/18/2015 Corporation                                                    $126.89                                                                                          $126.89
Franchise Tax Board
Bankruptcy Section MS A340
PO Box 2952
Sacramento, CA 95812‐2952                          2572      5/20/2015 SCK, Inc.                                                        $0.00                                                                                            $0.00
Zabalerio, Roy
8928 Gentle Wind Drive                                                 RS Legacy Corporation fka RadioShack
Corona, CA 92883                                   2573      5/29/2015 Corporation                                                                         $0.00                                 $0.00                                   $0.00




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                                                                                                                          Current General                                            Current 503(b)(9)
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                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
Cach, LLC
4340 S Monaco Street, 2nd Floor                                        RS Legacy Corporation fka RadioShack
Denver, CO 80237                                   2574      5/20/2015 Corporation                                                  $3,774.90                                                                                        $3,774.90
Trinity Johnson City, LLC
c/o Jennifer J. West, Esquire
Spotts Fain PC
411 East Franklin Street, Suite 600                                    RS Legacy Corporation fka RadioShack
Richmond, VA 23219                                 2575      5/20/2015 Corporation                                                      $0.00                                                                                            $0.00
Zoghi, Bahar
7 Skyview Pl                                                           RS Legacy Corporation fka RadioShack
Melville, NY 11747                                 2576      5/20/2015 Corporation                                                     $25.00                                                                                           $25.00
CRESOF HARTSVILLE LOAN, LLC
c/o Jennifer J. West, Esquire
Spotts Fain PC
411 East Franklin St., Ste. 600                                        RS Legacy Corporation fka RadioShack
Richmond, VA 23219                                 2577      5/20/2015 Corporation                                                  $5,956.52                                                                                        $5,956.52
Fayette Square Associates, LLC and BCP Fayette
Square, LLC
c/o Jennifer J. West, Esquire
Spotts Fain PC
411 E. Franklin St., Ste. 600                                          RS Legacy Corporation fka RadioShack
Richmond, VA 23219                                 2578      5/20/2015 Corporation                                                $15,750.00                                                                                        $15,750.00
CRESOF HARTSVILLE LOAN, LLC
c/o Jennifer J. West, Esquire
Spotts Fain PC
411 East Franklin St., Ste. 600                                        RS Legacy Corporation fka RadioShack
Richmond, VA 23219                                 2579      5/20/2015 Corporation                                                $33,588.00                                                                                        $33,588.00
Trinity Johnson City, LLC
c/o Jennifer J. West, Esquire
Spotts Fain PC
411 E. Franklin St., Ste. 600                                          RS Legacy Corporation fka RadioShack
Richmond, VA 23219                                 2580      5/20/2015 Corporation                                                      $0.00                                                                                            $0.00
Tsimouris, Konstantinos E.
C/O Bradley Scott Inc.
400 Warren Ave.
Suite 450                                                              RS Legacy Corporation fka RadioShack
Bremerton, WA 98337                                2581      5/19/2015 Corporation                                                                         $0.00                                                                         $0.00
Frontier Communications
Bankruptcy Dept
19 John St                                                             RS Legacy Corporation fka RadioShack
Middletown, NY 10940                               2582      5/19/2015 Corporation                                                $15,522.49                                                                                        $15,522.49
Forsyth County Tax Collector
PO Box 082                                                             RS Legacy Corporation fka RadioShack
Winston‐Salem, NC 27102                            2583      5/19/2015 Corporation                                                    $617.66              $0.00                                                                       $617.66
Dayton Power and Light Company
1065 Woodman Drive                                                     RS Legacy Corporation fka RadioShack
Dayton, OH 45432                                   2584      5/19/2015 Corporation                                                $14,865.23                                                                                        $14,865.23
eScreen, Inc
7500 W. 110th Street
Suite 500                                                              RS Legacy Corporation fka RadioShack
Overland Park, KS 66210                            2585      5/19/2015 Corporation                                                    $302.64                                                                                          $302.64




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                                                                                                                          Current General                                            Current 503(b)(9)
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                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
Dr. Jan Wade Gilbert
207 Franklin Boulevard                                                 RS Legacy Corporation fka RadioShack
Long Beach, NY 11561                               2586      5/19/2015 Corporation                                                     $32.58                                                                                           $32.58
NEDELLEC, PETER
585F MOONACHIE AVE                                                     RS Legacy Corporation fka RadioShack
WOODRIDGE, NJ 07075                                2587      5/19/2015 Corporation                                                     $50.00                                                                                           $50.00

SFP Pool Three Shopping Center, LP
David M. Blau, Esq., Attorney/Authorized Agent
151 S. Old Woodward Ave., Ste. 200                                     RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                               2588      5/19/2015 Corporation                                                $57,853.45               $0.00                                               $3,766.29            $61,619.74
YAHOO! INC.
Lawrence Schwab/Thomas GAA
Bialson, Bergen & Schwab
A Professional Corporation
633 Menlo Avenue, Suite 100                                            RS Legacy Corporation fka RadioShack
Menlo Park,, CA 94025                              2589      5/19/2015 Corporation                                                      $0.00                                                                      $0.00                 $0.00
Peninsula Electronics, LLC
Mike Navarre
PO Box 2009                                                            RS Legacy Corporation fka RadioShack
KENAI, AK 99611                                    2590      5/19/2015 Corporation                                                  $4,059.31                                                                                        $4,059.31
Spoto, Anthony
6 Saddletree Lane                                                      RS Legacy Corporation fka RadioShack
Harrison, NY 10528                                 2591      5/19/2015 Corporation                                                                                         $108.86                                                     $108.86
Bisso, Rosa E.
19810 Sheldon St.                                                      RS Legacy Corporation fka RadioShack
Orlando, FL 32833                                  2592      5/19/2015 Corporation                                                     $22.00                                                                                           $22.00
Rogstad, Bruce
3340 S 269th St                                                        RS Legacy Corporation fka RadioShack
Kent, WA 98032                                     2593      5/19/2015 Corporation                                                                                          $20.00                                                      $20.00
McNamara, Kevin J.
Nine Hawthorne Place, 14A                                              RS Legacy Corporation fka RadioShack
Boston, MA 02114‐2329                              2594      5/19/2015 Corporation                                                    $111.68                                                                                          $111.68
J.R. Quaid Investments, LLC
Attn: Fred Van Denburg
228 St. Charles Ave., Suite 1317                                       RS Legacy Corporation fka RadioShack
New Orleans, LA 70115                              2595      5/19/2015 Corporation                                                  $5,691.00                                                                                        $5,691.00
Rauch, Beth
5 Patricia Dr.                                                         RS Legacy Corporation fka RadioShack
New City, NY 10956                                 2596      5/19/2015 Corporation                                                     $76.56                                                                                           $76.56
Meeker, Steve
18225 Burnham Suite 1                                                  RS Legacy Corporation fka RadioShack
Lansing, IL 60438                                  2597      5/19/2015 Corporation                                                     $89.00                                                                                           $89.00
Fourth Avenue Developers, Inc.
c/o Patrick Patrissi, Esq.
Lerman & Whitebook, P.A.
2611 Hollywood Boulevard                                               RS Legacy Corporation fka RadioShack
Hollywood, FL 33020                                2598      5/19/2015 Corporation                                                  $4,914.29                                                                                        $4,914.29




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                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
Malouf, Rodney A.
Iain A. Macdonald
Macdonald | Fernandez LLP
221 Sansome Street, Third Floor                                     RS Legacy Corporation fka RadioShack
San Francisco, CA 94102                         2599      5/19/2015 Corporation                                               $100,800.00                                                                                       $100,800.00
Hanover County, Virginia
Hanover County Attorney's Office
PO Box 470                                                          RS Legacy Corporation fka RadioShack
Hanover, VA 23069                               2600      5/19/2015 Corporation                                                    $132.83                                                                                          $132.83
Madeline L. Camisa and Joseph T. Camisa
Iain A. Macdonald
Macdonald | Fernandez LLP
221 Sansome Street, Third Floor                                     RS Legacy Corporation fka RadioShack
San Francisco, CA 94102                         2601      5/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
J.J KELLER & Associates,INC
PO BOX 548                                                          RS Legacy Corporation fka RadioShack
Neenah, WI 54957‐0548                           2602      5/18/2015 Corporation                                                  $7,267.38                                                                                        $7,267.38

DEPARTMENT OF TAXATION, STATE OF HAWAII
ATTN: BANKRUPTCY UNIT
PO BOX 259
HONOLULU, HI 96809                              2603      5/11/2015 SCK, Inc.                                                        $0.00              $0.00                                                                         $0.00
CITY OF ARLINGTON
CITY ATTORNEY'S OFFICE
PO BOX 90231                                                        RS Legacy Corporation fka RadioShack
ARLINGTON, TX 76004‐3231                        2604      5/18/2015 Corporation                                                     $33.35                               $25.00                                                      $58.35
City of Arlington
City Attorney`s Office
po box 90231                                                        RS Legacy Corporation fka RadioShack
Arlington, TX 76004‐3231                        2605      5/13/2015 Corporation                                                     $54.76                                $0.00                                                      $54.76
Plunkett, Jr., Robert J.
60 Longmeadow Road                                                  RS Legacy Corporation fka RadioShack
Milton, MA                                      2606      5/18/2015 Corporation                                                     $12.92                                                                                           $12.92
Wilson, Norma
po box 3224                                                         RS Legacy Corporation fka RadioShack
Newport Beach, CA 92659                         2607      5/18/2015 Corporation                                                                                                              $42.49                                  $42.49
Martin Gas, Inc
PO Box 783                                                          RS Legacy Corporation fka RadioShack
Hindman, KY 41822                               2608      5/18/2015 Corporation                                                    $208.03                                                                                          $208.03
Gatehous Media Massachusetts 1, Inc., d/b/a
Community Newspaper Company
Steven L. Kornstein, Esquire
15 Court Square, Suite 1150                                         RS Legacy Corporation fka RadioShack
Boston, MA 02108                                2609      5/18/2015 Corporation                                                      $0.00                                                                                            $0.00
Mississippi Department of Revenue
Bankruptcy Section
PO Box 22808                                                        RS Legacy Corporation fka RadioShack
Jackson, MS 39225‐2808                          2610      5/18/2015 Corporation                                                                       $95.41                                                                         $95.41
CITY OF ARLINGTON
CITY ATTORNEY'S OFFICE
PO BOX 90231                                                        RS Legacy Corporation fka RadioShack
ARLINGTON, TX 76004‐3231                        2611      5/18/2015 Corporation                                                    $108.65                               $80.00                                                     $188.65



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                                                                                                                           Current General                                            Current 503(b)(9)
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                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                     Amount
Chess, David
7800 Bristol Park Dr                                                    RS Legacy Corporation fka RadioShack
Tinley Park, IL 60477                               2612      5/18/2015 Corporation                                                     $50.00                                                                                           $50.00
City of Bronwnwood, Texas
William P.Chesser
po box 1389                                                             RS Legacy Corporation fka RadioShack
Brownwood , TX 76804‐1389                           2613      5/11/2015 Corporation                                                    $321.32                                                                                          $321.32
James M. Scalisi, Esq
4 Lefferts Avenue                                                       RS Legacy Corporation fka RadioShack
East Northport, NY 11731                            2614      5/18/2015 Corporation                                                    $120.00                                                                                          $120.00
Collins, James P.
460 Whiton Rd.                                                          RS Legacy Corporation fka RadioShack
Neshanic Station, NJ 08853                          2615      5/18/2015 Corporation                                                     $16.85                                                                                           $16.85
Menzie, Dawn
5232 Maymount Drive                                                     RS Legacy Corporation fka RadioShack
Windsor Hills, CA 90043                             2616      5/18/2015 Corporation                                                      $9.99                                                                                            $9.99
McLallan, Stacy
5012 56th ave                                                           RS Legacy Corporation fka RadioShack
Hyattsville, MD 20781                               2617      5/18/2015 Corporation                                                     $25.00                                                                                           $25.00
Camwnas Mathew, Jose Manuel
Urb Villa Universitaria st 26
T‐14                                                                    RS Legacy Corporation fka RadioShack
Humacao, PR 00791                                   2618      5/15/2015 Corporation                                                                         $0.00                                                                         $0.00
Hairabedian, Julie
455 Hyde Street Apartment 81                                            RS Legacy Corporation fka RadioShack
San Francisco, CA 94109                             2619      5/18/2015 Corporation                                                                         $3.25                                                                         $3.25
Zabalerio, Roy
8928 Gentle Wind Dr.                                                    RS Legacy Corporation fka RadioShack
Corona, CA 92883                                    2620      5/29/2015 Corporation                                                                      $102.13                                                                        $102.13
Perlman, Steve
1776 Castle Hill Ave #6A                                                RS Legacy Corporation fka RadioShack
Bronx, NY 10462                                     2621      5/29/2015 Corporation                                                     $10.84                                                                                           $10.84
Zabalerio, Roy
8928 Gentle Wind Dr.                                                    RS Legacy Corporation fka RadioShack
Corona , CA 92883                                   2622      5/29/2015 Corporation                                                                         $0.00                                 $0.00                                   $0.00
MUSHTAQ, BABAR
4819 DAVIS ST                                                           RS Legacy Corporation fka RadioShack
SKOKIE, IL 60077                                    2623      5/29/2015 Corporation                                                      $0.00                                                                                            $0.00
ROBLES JR, VIDAL
1601 VINEYARD AVE                                                       RS Legacy Corporation fka RadioShack
LOS ANGELES, CA 90019                               2624      5/29/2015 Corporation                                                                      $108.97                                                                        $108.97

The Marketplace of Rochester Hill Parcel B, LLC
David M. Blau, Esq
Clark Hill PLC
151 S. Old Woodward Ave., 2nd Floor                                     RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                                2625      5/29/2015 Corporation                                                  $2,860.70                                                                                        $2,860.70
ECONOMY ELEVATOR INC.
59‐46 55TH DRIVE                                                        RS Legacy Corporation fka RadioShack
MASPETH, NY 11378                                   2626      5/29/2015 Corporation                                                  $1,031.66                                                    $0.00                               $1,031.66




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
KIM FAMILY TRUST
PACIFIC COAST COMMERCIAL REAL ESTATE
41 CORPORATE PARK
SUITE 230                                                      RS Legacy Corporation fka RadioShack
IRVINE, CA 92606                           2627      5/27/2015 Corporation                                                $15,125.47                                                                                        $15,125.47
Cicatiello, Alan
1112 Reading Ave.                                              RS Legacy Corporation fka RadioShack
Hammonton, NJ 08037                        2628      5/29/2015 Corporation                                                    $104.38                                                                                          $104.38
Regan, Anna
1 Spring Floral Drive                                          RS Legacy Corporation fka RadioShack
New Providence, NJ 07974                   2629      5/30/2015 Corporation                                                     $42.80                                                                                           $42.80
Beach, Bill
PO Box 730 Sp41                                                RS Legacy Corporation fka RadioShack
Dunnigan, CA 95937                         2630      5/30/2015 Corporation                                                      $0.00                                                                                            $0.00
Kashani, M
PO Box 8129                                                    RS Legacy Corporation fka RadioShack
Rancho Santa Fe, CA 92067‐8129             2631      5/31/2015 Corporation                                                    $100.00                                                                                          $100.00
Hamer, Erika
1930 Crawford Ave                                             RS Legacy Corporation fka RadioShack
Altoona, PA 16602                          2632      6/1/2015 Corporation                                                                          $0.00                                 $0.00                                   $0.00
Marbuery, Judy A
22750 Arms Ave                                                RS Legacy Corporation fka RadioShack
Euclid, OH 44123                           2633      6/1/2015 Corporation                                                                          $0.00                                                                         $0.00
Murray, John
5425 Park Ave                                                 RS Legacy Corporation fka RadioShack
Kansas City, MO 64130                      2634      6/1/2015 Corporation                                                                                                                $0.00                                   $0.00
MECKLENBURG COUNTY TAX COLLECTOR
PO Box 31637                                                  RS Legacy Corporation fka RadioShack
Charlotte, NC 28231                        2635      6/1/2015 Corporation                                                                      $8,693.10                                                                     $8,693.10
Bogler, William A.
153 N. 4th St                                                 RS Legacy Corporation fka RadioShack
Mifflinburg, PA 17844                      2636      6/1/2015 Corporation                                                                          $0.00                                 $0.00                                   $0.00
Carmichael, Verita C.
PO Box 4177                                                   RS Legacy Corporation fka RadioShack
Kingshill, VI 00851                        2637      6/1/2015 Corporation                                                      $76.01                                                                                           $76.01
CITY OF SULPHUR SPRINGS
125 S DAVIS                                                   RS Legacy Corporation fka RadioShack
SULPHUR SPRINGS, TX 75482                  2638      6/1/2015 Corporation                                                     $171.82                                                                                          $171.82
Murray, Kimberly Anne
199 MILLER RD APT 5                                            RS Legacy Customer Service LLC fka RadioShack
MILTON, FL 32570‐3401                      2639      5/31/2015 Customer Service LLC                                             $0.00                                                                                            $0.00
Comes, Jennifer
1500 McDonald Avenue Apt 32                                    RS Legacy Corporation fka RadioShack
Missoula, MT 59801                         2640      5/31/2015 Corporation                                                     $50.00                                                                                           $50.00
2935‐37 Third Ave Realty, LLC
Elysee Investment
c/o Lewis W. Siegel
630 Third Ave ‐ 7th Floor                                      RS Legacy Corporation fka RadioShack
New York, NY 10017                         2641      5/29/2015 Corporation                                               $288,237.20                                                                                       $288,237.20
Stimpson, Mark
13 Abenaki Drive                                               RS Legacy Corporation fka RadioShack
Topsham, ME 04086                          2642      5/31/2015 Corporation                                                     $10.99                                                                                           $10.99



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                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                     Amount
Lugenbell, Michael
1703 E Samuel J                                                         RS Legacy Corporation fka RadioShack
Ozark, MO 65721                                     2643      5/31/2015 Corporation                                                     $21.58                                                                                           $21.58
Hall, Aaron
2606 SW Buckingham Ave                                                  RS Legacy Corporation fka RadioShack
Portland, OR 97201                                  2644      5/30/2015 Corporation                                                    $299.99                                                                                          $299.99
Turton, Christopher Anthony
12106 La Charca                                                         RS Legacy Corporation fka RadioShack
San Antonio, TX 78233                               2645      5/30/2015 Corporation                                                  $2,553.11                                                                                        $2,553.11
OLIVE TOWN CENTER, LLC
C/O M.D. ATKINSON CO., INC.
1401 19TH STREET, SUITE 400                                             RS Legacy Corporation fka RadioShack
BAKERSFIELD, CA 93301                               2646      5/29/2015 Corporation                                                  $3,127.50                                                                                        $3,127.50

New York City Department of Consumer Affairs
Attn.: Mitchell B. Nisonoff, Assistant General
Counsel, 1st Floor
42 Broadway                                                             RS Legacy Corporation fka RadioShack
New York, NY 10004                                  2647      5/29/2015 Corporation                                                    $500.00                                                                                          $500.00

New York City Department of Consumer Affairs
Attn.: Mitchell B. Nisonoff, Assistant General
Counsel, 1st Floor
42 Broadway                                                             RS Legacy Corporation fka RadioShack
New York, NY 10004                                  2648      5/29/2015 Corporation                                                    $500.00                                                                                          $500.00
Twitchell, Bonnie B.
852 Chandler Road                                                       RS Legacy Customer Service LLC fka RadioShack
White River Junction, VT 05001                      2649      5/29/2015 Customer Service LLC                                            $40.00                                                                                           $40.00

New York City Department of Consumer Affairs
Attn: Mitchell B. Nisonoff, Assistant General
Counsel, 1st Floor
42 Broadway                                                             RS Legacy Corporation fka RadioShack
New York, NY 10004                                  2650      5/29/2015 Corporation                                                  $1,000.00                                                                                        $1,000.00

SAMS Air Conditioning Maintenance Service, Inc.
6141 Masonic Drive                                                     RS Legacy Corporation fka RadioShack
Alexandria, LA 71301                                2651      6/1/2015 Corporation                                                     $285.00                                                    $0.00                                 $285.00
Brownville, Charles
54 Howarth Road                                                        RS Legacy Corporation fka RadioShack
Oxford, MA 01540                                    2652      6/1/2015 Corporation                                                     $212.49                                                                                          $212.49

New York City Department of Consumer Affairs
Attn.: Mitchell B. Nisonoff, Assistant General
Counsel, 1st Floor
42 Broadway                                                             RS Legacy Corporation fka RadioShack
New York, NY 10004                                  2653      5/29/2015 Corporation                                                    $500.00                                                                                          $500.00
Tarazona, Ana
5940 SW 198 Terr.                                                       RS Legacy Corporation fka RadioShack
Southwest Ranches, FL 33332                         2654      5/29/2015 Corporation                                                     $84.79                                                                                           $84.79




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                                                                                                                              Amount                                                     Amount

New York City Department of Consumer Affairs
Attn.: Mitchell B. Nisonoff, Assistant General
Counsel, 1st Floor
42 Broadway                                                            RS Legacy Corporation fka RadioShack
New York, NY 10004                                 2655      5/29/2015 Corporation                                                    $350.00                                                                                          $350.00
Reed, Donna
11068 Galaxy Drive                                                    RS Legacy Corporation fka RadioShack
Maryland Heights, MO 63043                         2656      6/1/2015 Corporation                                                      $27.10                                                                                           $27.10

New York City Department of Consumer Affairs
Attn.: Mitchell B. Nisonoff
Assistant General Counsel, 1st Floor
42 Broadway                                                            RS Legacy Corporation fka RadioShack
New York, NY 10004                                 2657      5/29/2015 Corporation                                                    $250.00                                                                                          $250.00
Tanzman‐Rivas, Lynne
183 Melbourne Rd.                                                     RS Legacy Corporation fka RadioShack
Pittsfield, MA 01201‐850                           2658      6/1/2015 Corporation                                                      $15.74                                                                                           $15.74
Oehmen, William
1334 Ridge Rd                                                         RS Legacy Corporation fka RadioShack
Homewood, IL 60430                                 2659      6/1/2015 Corporation                                                     $100.00                                                                                          $100.00
Masci, Eugene
168 Capitol Ave.                                                       RS Legacy Corporation fka RadioShack
Williamson Pk., NY 11596                           2660      5/29/2015 Corporation                                                     $56.56                                                                                           $56.56
Sherwood, B. R., La., Commercial Properties
Development Company, LLC
c/o Commercial Properties Realty Trust, LLC
402 N. Fourth Street, 1st Floor                                       RS Legacy Corporation fka RadioShack
Baton Rouge, LA 70802‐5506                         2661      6/1/2015 Corporation                                                   $4,010.96                                                                                        $4,010.96
Schillaci, Patricia
2701 Bellefontaine #B21                                                RS Legacy Corporation fka RadioShack
Houston, TX 77025                                  2662      5/29/2015 Corporation                                                                       $86.58                                                                         $86.58
Reed, Donna
11068 Galaxy Drive                                                    RS Legacy Corporation fka RadioShack
Maryland Heights, MO 63043                         2663      6/1/2015 Corporation                                                      $27.10                                                                                           $27.10
Logue, David
1501 e.sunnyside dr.                                                  RS Legacy Corporation fka RadioShack
PHOENIX, AZ 85020                                  2664      6/1/2015 Corporation                                                       $5.95                                                                                            $5.95
Curley, Stephen
Box 412                                                               RS Legacy Corporation fka RadioShack
S. Wellfleet, MA 02663                             2665      6/1/2015 Corporation                                                      $17.57                                                                                           $17.57
Hoyen, Harry
593 St. Rita's Court                                                  RS Legacy Corporation fka RadioShack
Webster, NY 14580                                  2666      6/1/2015 Corporation                                                      $50.00                                                                                           $50.00
Murray, Vicky
141 Winter Street                                                      RS Legacy Corporation fka RadioShack
Bridgewater, MA 02324                              2667      5/29/2015 Corporation                                                                         $0.00                                 $0.00                                   $0.00
Mrs Jackie Trennery
30822 La Mer                                                          RS Legacy Corporation fka RadioShack
Laguna Niguel, CA 92677                            2668      6/1/2015 Corporation                                                      $49.51                                                                                           $49.51




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                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
Kelly, Helene
6916 Bitterbush Place                                                RS Legacy Corporation fka RadioShack
Boynton Beach, FL 33472                           2669      6/1/2015 Corporation                                                       $0.00                                                                                            $0.00
Harrison, Brandon
3129 St Louis Avenue                                                 RS Legacy Corporation fka RadioShack
Columbia, SC 29204                                2670      6/1/2015 Corporation                                                       $0.00                                                                                            $0.00
Cauthen, Lora
257 Black Rock Avenue                                                RS Legacy Corporation fka RadioShack
Bridgeport, CT 06605                              2671      6/1/2015 Corporation                                                      $50.00                                                                                           $50.00
Chirchigno, James
156 MAIN STREET                                                      RS Legacy Corporation fka RadioShack
MILFOND, MA 01757                                 2672      6/1/2015 Corporation                                                      $33.67                                                                                           $33.67
Brownville, Charles
54 Howarth Road                                                      RS Legacy Corporation fka RadioShack
Oxford, MA 01540                                  2673      6/1/2015 Corporation                                                     $212.49                                                                                          $212.49
Grenier, Erin
9710 Oaks St                                                         RS Legacy Corporation fka RadioShack
Tampa, FL 33635                                   2674      6/1/2015 Corporation                                                     $121.00                                                                                          $121.00
Derbacher, Robert
611 Powers Drive                                                     RS Legacy Corporation fka RadioShack
El Dorado Hills, CA 95762                         2675      6/1/2015 Corporation                                                      $25.00                                                                                           $25.00
Twitchell, Bonnie B.
852 Chandler Road                                                     RS Legacy Customer Service LLC fka RadioShack
White River Junction, VT 05001                    2676      5/29/2015 Customer Service LLC                                            $40.00                                                                                           $40.00
Woo, Steven
923 Union Street                                                     RS Legacy Corporation fka RadioShack
San Francisco, CA 94133                           2677      6/1/2015 Corporation                                                      $75.00                                                                                           $75.00

New York City Department of Consumer Affairs
Attn: Mitchell B. Nisonoff, Assistant General
Counsel, 1st Floor
42 Broadway                                                           RS Legacy Corporation fka RadioShack
New York, NY 10004                                2678      5/29/2015 Corporation                                                  $3,400.00                                                                                        $3,400.00
Watts, Betty
1801 Travis Dr.                                                       RS Legacy Corporation fka RadioShack
Allen, TX 75002                                   2679      5/29/2015 Corporation                                                     $45.00                                                                                           $45.00
Yesair, Kelly
138 Main St                                                          RS Legacy Customer Service LLC fka RadioShack
Byfield, MA 01922                                 2680      6/1/2015 Customer Service LLC                                            $100.00                                                                                          $100.00
McCosh, Michael
18992 N 74th Dr.                                                     RS Legacy Corporation fka RadioShack
Glendale, AZ 85308                                2681      6/1/2015 Corporation                                                      $60.00                                                                                           $60.00
SILCO, LLC
PO BOX 362                                                            RS Legacy Corporation fka RadioShack
HENDERSON, KY 42419                               2682      5/29/2015 Corporation                                                  $2,071.43                                                                                        $2,071.43
Sanchez, Annabel
1503 N York St                                                       RS Legacy Corporation fka RadioShack
Porterville, CA 93257                             2683      6/1/2015 Corporation                                                      $20.58                                                                                           $20.58




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                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount

New York City Department of Consumer Affairs
Attn.: Mitchell B. Nisonoff, Assistant General
Counsel, 1st Floor
42 Broadway                                                            RS Legacy Corporation fka RadioShack
New York, NY 10004                                 2684      5/29/2015 Corporation                                                  $1,000.00                                                                                        $1,000.00
Bainbridge, Mary L
207 Linden St                                                         RS Legacy Corporation fka RadioShack
Minersville, PA 17954                              2685      6/1/2015 Corporation                                                      $41.75                                                                                           $41.75
Rose, Joseph H.
15‐06 Abbott Rd                                                       RS Legacy Corporation fka RadioShack
Fair Lwn, NJ 07410                                 2686      6/1/2015 Corporation                                                                                                               $32.09                                  $32.09
Town of Munster Utility Billing
1005 Ridge Rd                                                         RS Legacy Corporation fka RadioShack
Munster, IN 46321                                  2687      6/1/2015 Corporation                                                                                                              $130.28                                 $130.28
Costner, Joan
1703 Duncan Rd                                                        RS Legacy Corporation fka RadioShack
Jonesboro, AR 72401                                2688      6/1/2015 Corporation                                                      $26.04                                                                                           $26.04
Salvador, Lydia
202 W. 1st Street, Suite TS100                                        RS Legacy Corporation fka RadioShack
Los Angeles, CA 90012                              2689      6/1/2015 Corporation                                                $600,000.00                                                                                       $600,000.00
Cauthen, Lora
257 Black Rock Avenue                                                 RS Legacy Corporation fka RadioShack
Bridgeport, CT 06605                               2690      6/1/2015 Corporation                                                      $50.00                                                                                           $50.00
Barrientos, Steve
30840 Mission Dr.                                                     RS Legacy Corporation fka RadioShack
Cathedral City, CA 92234                           2691      6/1/2015 Corporation                                                                                           $99.94                                                      $99.94
ELMIRA WATER BOARD
John J. Ryan Jr.
261 W WATER ST                                                        RS Legacy Corporation fka RadioShack
ELMIRA, NY 14901                                   2692      6/1/2015 Corporation                                                                                                               $45.06                                  $45.06
HERNANDEZ, MICHAEL
2235 Tiemann Avenue                                                   RS Legacy Corporation fka RadioShack
Bronx, NY 10469                                    2693      6/1/2015 Corporation                                                                        $50.00                                                                         $50.00
ORTON ABERNETHY, ROBERT N
17680 SW Hill Way                                                     RS Legacy Corporation fka RadioShack
Lake Oswego, OR 97035‐5416                         2694      6/1/2015 Corporation                                                       $0.00                                                                                            $0.00
Coleman, Peter
129 Grovers Ave                                                       RS Legacy Corporation fka RadioShack
Black Rock, CT 06605                               2695      6/1/2015 Corporation                                                     $500.00                                                                                          $500.00
Dudek, Robert F.
2705 Pickering Rd.                                                    RS Legacy Corporation fka RadioShack
Wilmington, DE 19808                               2696      6/1/2015 Corporation                                                      $26.99                                                                                           $26.99
DAC Group / Rochester, Inc.
1600 Chase Square                                                     RS Legacy Corporation fka RadioShack
Rochester, NY 14604                                2697      6/1/2015 Corporation                                                   $9,000.00                                                                                        $9,000.00
CINTAS MANAGED SOLUTIONS
400 WEST MAIN STREET SUITE 300                                        RS Legacy Corporation fka RadioShack
RIVERHEAD, NY 11901                                2698      6/1/2015 Corporation                                                   $3,805.01                                                                                        $3,805.01
Lee, Jenna
                                                   2699      6/1/2015 ITC Services, Inc.                                                                                                                                                 $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
VEERAMANENI, SOMESH
130 SOUTH BARROW PL                                           RS Legacy Corporation fka RadioShack
PRINCETON, NJ 08540                        2700      6/1/2015 Corporation                                                     $136.91                                                                                          $136.91
Oteyza, Michael
2005 Mill Pond Rd                                              RS Legacy Corporation fka RadioShack
Garland, TX 75044                          2701      5/30/2015 Corporation                                                $15,000.00                                                                                        $15,000.00
RA Three Roads
Enrico Scarda
38 Kings Highway                                               RS Legacy Corporation fka RadioShack
Hauppauge, NY 11788                        2702      5/29/2015 Corporation                                                                                                                                 $0.00                 $0.00
Kasner, Glori
807 Red Wing Lane                                              RS Legacy Corporation fka RadioShack
Huntington Valley, PA 19006                2703      5/29/2015 Corporation                                                    $120.00                                                                                          $120.00
Masangcay, Jose Tabasa
1280 Paddington Way
San Jose, CA 95127                         2704      6/2/2015 SCK, Inc.                                                                            $0.00                                                                         $0.00
CBS OUTDOOR INVESTMENTS
PO BOX 28708                                                  RS Legacy Corporation fka RadioShack
New York, NY 10087‐8708                    2705      6/2/2015 Corporation                                                 $15,777.08                                                                                        $15,777.08
Massena Electric Department
71 E. Hatfield St.
PO Box 209                                                    RS Legacy Corporation fka RadioShack
Massena, NY 13662                          2706      6/2/2015 Corporation                                                     $272.03                                                                                          $272.03
Bradford, Susan
405 Bay Road                                                  RS Legacy Corporation fka RadioShack
Duxbury, MA 02332                          2707      6/2/2015 Corporation                                                      $42.49                                                                                           $42.49
Bridgewater Commons Mall II, LLC
c/o GGP Limited Partnership
110 North Wacker Drive                                        RS Legacy Corporation fka RadioShack
Chicago, IL 60606                          2708      6/1/2015 Corporation                                                   $3,850.68                                                                                        $3,850.68
Hart, Virginia
6600 Pinehurst Dr.                                            RS Legacy Corporation fka RadioShack
San Angelo , TX 76904                      2709      6/1/2015 Corporation                                                                                                               $56.27                                  $56.27
Brass Mill Center, LLC
C/O GGP Limited Partnership
110 North Wacker Drive                                        RS Legacy Corporation fka RadioShack
Chicago, IL 60606                          2710      6/1/2015 Corporation                                                $166,707.52                                                                                       $166,707.52
FOUR DIAMOND LAWN CARE
101 CHURCH RD                                                 RS Legacy Corporation fka RadioShack
SUGARLOAF, PA 18249                        2711      6/1/2015 Corporation                                                     $555.00                                                                      $0.00               $555.00
Dolvin, Ashley
59 Clive Blvd                                                 RS Legacy Corporation fka RadioShack
Fort Valley, GA 31030                      2712      6/1/2015 Corporation                                                                                                              $236.00                                 $236.00
Robinson, Lisa A
166 S Miller Rd                                               RS Legacy Corporation fka RadioShack
Fairlawn, OH 44333                         2713      6/2/2015 Corporation                                                      $60.00                                                                                           $60.00
Griffin, Deana
105 N. 2nd Ave.                                               RS Legacy Corporation fka RadioShack
Mansfield, TX 76063                        2714      6/2/2015 Corporation                                                       $0.00                                                                                            $0.00
Hight, Susan B
1030 Browning Rd                                              RS Legacy Corporation fka RadioShack
Greensboro, NC 27410                       2715      6/2/2015 Corporation                                                                                                              $112.00                                 $112.00



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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Loury, Isodine
1420 Spring Ridge Road                                        RS Legacy Corporation fka RadioShack
Gautier, MS 39553                          2716      6/2/2015 Corporation                                                      $0.00                                                                                            $0.00
Addison, Eric
5450 Newton St Apt # 12                                       RS Legacy Corporation fka RadioShack
Hyattsville, MD 20784                      2717      6/2/2015 Corporation                                                      $0.00                                                                                            $0.00
COLUMBIA MALL L.L.C.
c/o GGP Limited Partnership
110 North Wacker Drive                                        RS Legacy Corporation fka RadioShack
Chicago, IL 60606                          2718      6/1/2015 Corporation                                                $97,993.74                                                                                        $97,993.74
Coral Ridge Mall, LLC
c/o GGP Limited Partnership
110 North Wacker Drive                                        RS Legacy Corporation fka RadioShack
Chicago, IL 60606                          2719      6/1/2015 Corporation                                                  $4,762.29                                                                                        $4,762.29
Depicolzuane, Edward
1534 19 Ave S.                                                RS Legacy Corporation fka RadioShack
Seattle , WA 98144                         2720      6/1/2015 Corporation                                                     $30.00                                                                                           $30.00
TGT Realty Co.
Attn: Jim Totaro
391 Grand Ave., Suite One                                     RS Legacy Corporation fka RadioShack
Englewood, NJ 07631                        2721      6/1/2015 Corporation                                                                         $0.00                                                                         $0.00
Town East Mall, LLC
C/O GGP Limited Partnership
110 North Wacker Drive                                        RS Legacy Corporation fka RadioShack
Chicago, IL 60606                          2722      6/1/2015 Corporation                                                  $1,995.49                                                                                        $1,995.49
Parkside Shopping Center LLLP
PO Box 32591                                                  RS Legacy Corporation fka RadioShack
Baltimore, MD 21282‐2591                   2723      6/2/2015 Corporation                                                $20,157.74                                                                                        $20,157.74
Skamanich, Ronald J.
155 Cherry St.                                                RS Legacy Corporation fka RadioShack
Duryea, PA 18642                           2724      6/2/2015 Corporation                                                     $25.00                                                                                           $25.00
Hunter, Sheila
15130 Swanee Lane                                             RS Legacy Corporation fka RadioShack
Baldwin Park, CT 91706                     2725      6/1/2015 Corporation                                                                       $54.36                                  $0.00                                  $54.36
Boise Mall, LLC
c/o GGP Limited Partnership
110 North Wacker Drive                                        RS Legacy Corporation fka RadioShack
Chicago, IL 60606                          2726      6/1/2015 Corporation                                               $115,120.44                                                                                       $115,120.44
Elcsisin, Michael
24724 Plank Road                                              RS Legacy Corporation fka RadioShack
Calcium, NY 13616                          2727      6/1/2015 Corporation                                                     $50.00                                                                                           $50.00
Coastland Center, LLC
c/o GGP Limited Partnership
110 North Wacker Drive                                        RS Legacy Corporation fka RadioShack
Chicago, IL 60606                          2728      6/1/2015 Corporation                                               $167,249.16                                                                                       $167,249.16
AUGUSTA MALL, LLC
C/O GGP LIMITED PARTNERSHIP
110 North WACKER DRIVE                                        RS Legacy Corporation fka RadioShack
CHICAGO, IL 60606                          2729      6/1/2015 Corporation                                               $134,711.57                                                                                       $134,711.57




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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Clackamas Mall L.L.C.
c/o GGP Limited Partnership
110 North Wacker Drive                                        RS Legacy Corporation fka RadioShack
Chicago, IL 60606                          2730      6/1/2015 Corporation                                               $110,005.65                                                                                       $110,005.65
St. Cloud Mall L.L.C.
c/o GGP Limited Partnership
110 North Wacker Drive                                        RS Legacy Corporation fka RadioShack
Chicago, IL 60606                          2731      6/1/2015 Corporation                                                $85,267.24                                                                                        $85,267.24
CITY OF LEBANON OHIO
CITY BUILDING
50 S BROADWAY                                                 RS Legacy Corporation fka RadioShack
LEBANON, OH 45036                          2732      6/1/2015 Corporation                                                    $788.48                                                                      $0.00               $788.48
Katz, Norman
570 Olde Lauren CT.                                           RS Legacy Corporation fka RadioShack
Alpharetta , GA 30022                      2733      6/1/2015 Corporation                                                     $12.00                                                                                           $12.00
SYLMAR PLAZA SHOPPING CENTER INC
15445 VENTURA BLVD STE 31                                     RS Legacy Corporation fka RadioShack
SHERMAN OAKS, CA 91403                     2734      6/1/2015 Corporation                                                $15,523.01                                                                                        $15,523.01
Ferry, John C.
3408 Indian River Dr                                          RS Legacy Corporation fka RadioShack
Cocoa, FL 32926                            2735      6/1/2015 Corporation                                                                                                              $50.00                                  $50.00
CITY OF LAWRENCEVILLE
PO BOX 2200                                                   RS Legacy Corporation fka RadioShack
LAWRENCEVILLE, GA 30046‐2200               2736      6/1/2015 Corporation                                                     $20.70                                                                                           $20.70
De Jesus, Gracelia
460 Charles St
Apt 906                                                       RS Legacy Corporation fka RadioShack
Providence , RI 02904                      2737      6/1/2015 Corporation                                                      $3.50                                                                                            $3.50
Soto, Fernando W.
11601 NW 18 St                                                RS Legacy Corporation fka RadioShack
Pembroke Pines, FL 33026                   2738      6/1/2015 Corporation                                                     $17.09                                                                                           $17.09
Mills, Jeremy Scott
9405 Burt St
Apt 52                                                        RS Legacy Corporation fka RadioShack
Omaha, NE 68114                            2739      6/1/2015 Corporation                                                     $45.46                                                                                           $45.46
Zamarripa, Roberto S.
1610 Walnut Ct.                                               RS Legacy Corporation fka RadioShack
Harlingen, TX 78550                        2740      6/1/2015 Corporation                                                     $54.11            $54.11                                                                        $108.22
Shaikh, Haris
134 Janos Lane                                                RS Legacy Corporation fka RadioShack
West Hempstead, NY 11552                   2741      6/2/2015 Corporation                                                     $65.31                                                                                           $65.31
Barredo, Bryan V.
419 Mangels Ave                                               RS Legacy Corporation fka RadioShack
San Francisco, CA 94127                    2742      6/1/2015 Corporation                                                                      $163.49                                                                        $163.49
Win, Naing
8620 Rio Dell St.                                             RS Legacy Corporation fka RadioShack
Rosemead, CA 91770                         2743      6/1/2015 Corporation                                                                                          $20.00                                                      $20.00
SYLMAR PLAZA SHOPPING CENTER INC
15445 VENTURA BLVD STE 31                                     RS Legacy Corporation fka RadioShack
SHERMAN OAKS, CA 91403                     2744      6/1/2015 Corporation                                                                     $3,263.35                                                                     $3,263.35




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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Becerra, Juan C.
3205 Ivy Station Drive                                        RS Legacy Corporation fka RadioShack
Duluth, GA 30096                           2745      6/1/2015 Corporation                                                     $50.00                                                                                           $50.00
Cupples, Michelle
27154 Oak Glen St                                             RS Legacy Corporation fka RadioShack
Murrieta, CA 92562                         2746      6/1/2015 Corporation                                                                       $50.00                                  $0.00                                  $50.00
Singer, Howard
5 Foxhill Rd                                                  RS Legacy Corporation fka RadioShack
Foxboro, MA 02035                          2747      6/1/2015 Corporation                                                     $12.41                                                                                           $12.41
Sanders, Gemerial
1505 Archer Rd. Apt 10 D                                      RS Legacy Corporation fka RadioShack
Bronx, NY 10462                            2748      6/1/2015 Corporation                                                     $80.64                                                                                           $80.64
Anderson, Margaret L
4744 Cheshire Circle                                          RS Legacy Corporation fka RadioShack
Birmingham, AL 35235                       2749      6/1/2015 Corporation                                                     $30.97                                                                                           $30.97
Canby Utility
PO Box 1070                                                   RS Legacy Corporation fka RadioShack
Canby, OR 97013                            2750      6/1/2015 Corporation                                                    $281.24                                                                                          $281.24
Maggio, Joela
4619 S. Brandon St.                                           RS Legacy Corporation fka RadioShack
Seattle, WA 98118                          2751      6/2/2015 Corporation                                                                                                              $21.00                                  $21.00
Mill‐Irving, Jennifer
305 Fulton Avenue                                             RS Legacy Corporation fka RadioShack
Charles Town, WV 25414                     2752      6/2/2015 Corporation                                                                                                               $8.00                                   $8.00
Jackson, Brecon
1565 Penny Ln                                                 RS Legacy Corporation fka RadioShack
San Luis Obispo , CA 93401                 2753      6/2/2015 Corporation                                                    $100.00                                                                                          $100.00
ALTOONA WATER AUTHORITY
PO BOX 3150                                                   RS Legacy Corporation fka RadioShack
ALTOONA, PA 16603                          2754      6/1/2015 Corporation                                                    $193.69                                                                                          $193.69
Lynnhaven Mall L.L.C.
c/o GGP Limited Partnership
110 North Wacker Drive                                        RS Legacy Corporation fka RadioShack
Chicago, IL 60606                          2755      6/1/2015 Corporation                                               $216,932.11                                                                                       $216,932.11
Edlow, Anderson U.
12904 Oak Creek Terrace                                       RS Legacy Corporation fka RadioShack
Midlothian, VA 23114                       2756      6/2/2015 Corporation                                                      $0.00                                                                                            $0.00
Denison Jr., Dedrick
216 Leveland Land                                             RS Legacy Corporation fka RadioShack
Modesto, CA 95350                          2757      6/2/2015 Corporation                                                      $0.00                                                                                            $0.00
ANZALONE, JAMES M
4346 Hunting Trail                                            RS Legacy Corporation fka RadioShack
Lake Worth, FL 33467                       2758      6/2/2015 Corporation                                                                       $80.00                                                                         $80.00
Redmon, Erica
343 River Bluff Lane                                          RS Legacy Corporation fka RadioShack
Royal Palm Beach, FL 33411                 2759      6/3/2015 Corporation                                                                         $0.00                                                                         $0.00
North Star Mall, LLC
C/O GGP Limited Partnership
110 North Wacker Drive                                        RS Legacy Corporation fka RadioShack
Chicago, IL 60606                          2760      6/1/2015 Corporation                                                $15,756.56                                                                                        $15,756.56




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                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                     Amount
Oakwood Shopping Center,LLC
C/O GGP Limited Partnership
110 North Wacker Drive                                                  RS Legacy Corporation fka RadioShack
Chicago, IL 60606                                    2761      6/1/2015 Corporation                                               $182,373.62                                                                                       $182,373.62
Oakwood Shopping Center, LLC
c/o GGP Limited Partnership
110 North Wacker Drive                                                  RS Legacy Corporation fka RadioShack
Chicago, IL 60606                                    2762      6/1/2015 Corporation                                                      $0.00                                                                                            $0.00
SUBURBAN NATURAL GAS COMPANY
Jeff Fox, Director of Accounting
PO BOX 130                                                              RS Legacy Corporation fka RadioShack
CYGNET, OH 43413                                     2763      6/3/2015 Corporation                                                    $325.76                                                                                          $325.76
Oakwood Shopping Center, LLC
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties
110 North Wacker Drive                                                  RS Legacy Corporation fka RadioShack
Chicago, IL 60606                                    2764      6/1/2015 Corporation                                                $68,531.75                                                                                        $68,531.75
BRODIT, RACHEL
1401 VINE CIRCLE                                                        RS Legacy Corporation fka RadioShack
ROCKLIN, CA 95765                                    2765      6/2/2015 Corporation                                                    $120.00                                                                                          $120.00
Deerbrook Mall, LLC
c/o GGP Limited Partnership
110 North Wacker Drive                                                  RS Legacy Corporation fka RadioShack
Chicago , IL 60606                                   2766      6/1/2015 Corporation                                                  $3,688.00                                                                                        $3,688.00

Paramus Park Shopping Center Limited Partnership
C/O GGP Limited Partnership
110 North Wacker Drive                                                  RS Legacy Corporation fka RadioShack
Chicago, IL 60606                                    2767      6/1/2015 Corporation                                                $49,578.10                                                                                        $49,578.10
GM Logistics, LC
18281 Edison Ave.                                                       RS Legacy Corporation fka RadioShack
Chesterfield, MO 63005‐3714                          2768      6/2/2015 Corporation                                                    $150.00                                                                                          $150.00
Perimeter Mall, LLC
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties, Inc.
110 North Wacker Drive                                                  RS Legacy Corporation fka RadioShack
Chicago, IL 60606                                    2769      6/1/2015 Corporation                                               $403,241.86                                                                                       $403,241.86
City of Clinton
Attn: Timothy W. Howard ‐ City Attorney
C/O Howard & Bradshaw, PLLC
115 East Elizabeth St                                                   RS Legacy Corporation fka RadioShack
Clinton, NC 28329                                    2770      6/2/2015 Corporation                                                                                                                                 $0.00                 $0.00
Governor's Square Mall LLC
C/O GGP Limited Partnership
110 North Wacker Drive                                                  RS Legacy Corporation fka RadioShack
Chicago, IL 60606                                    2771      6/1/2015 Corporation                                                $35,419.91                                                                                        $35,419.91
ANTELOPE VALLEY PRESS
PO BOX 4050                                                             RS Legacy Corporation fka RadioShack
PALMDALE, CA 93590‐4050                              2772      6/1/2015 Corporation                                                  $9,519.49                                                    $0.00                               $9,519.49




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Kokomo, Cumulus
100.5 WWKI ‐ FM
3641 Momentum Place                                            RS Legacy Corporation fka RadioShack
Chicago, IL 60689‐5336                      2773      6/2/2015 Corporation                                                  $1,037.85                                                                                        $1,037.85
City of Clinton
Attn: Timothy W. Howard ‐ City Attorney
C/O Howard & Bradshaw, PLLC
115 East Elizabeth St                                          RS Legacy Corporation fka RadioShack
Clinton, NC 28329                           2774      6/2/2015 Corporation                                                    $464.85                                                                                          $464.85
KFI KIRKSVILLE LLC
ATTN NANCY KERSTEN
16761 CONCORD HILL ROAD                                        RS Legacy Corporation fka RadioShack
MARTHASVILLE, MO 63357                      2775      6/2/2015 Corporation                                                  $1,186.66                                                                                        $1,186.66
Nolen, Donald J.
2005 West Jorome Drive                                         RS Legacy Corporation fka RadioShack
Tampa, FL 33612‐5051                        2776      6/2/2015 Corporation                                                     $50.00                                                                                           $50.00
Jordan Creek Town Center, LLC
C/O GGP Limited Partnership
110 North Wacker Drive                                         RS Legacy Corporation fka RadioShack
Chicago, IL 60606                           2777      6/1/2015 Corporation                                               $201,461.90                                                                                       $201,461.90
Muscarella, Gary
Barbara Muscarella
508 Friel Road                                                 RS Legacy Corporation fka RadioShack
Baden, PA 15005                             2778      6/2/2015 Corporation                                                                       $20.00              $0.00               $0.00                                  $20.00
Champlain Centre North, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                      RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                          2779      6/2/2015 Corporation                                                $18,759.54                                                                                        $18,759.54
Cary, Richard
2050 Springfield Dr. #225                                      RS Legacy Corporation fka RadioShack
Chico, CA 95928                             2780      6/2/2015 Corporation                                                    $212.87                                                                                          $212.87
CITY OF OXNARD
214 SOUTH C STREET                                             RS Legacy Corporation fka RadioShack
OXNARD, CA 93030                            2781      6/2/2015 Corporation                                                  $1,143.62                                                                                        $1,143.62
Mettler, Ben
200 Taylor St                                                  RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                        2782      6/2/2015 Corporation                                                     $50.00                                                                                           $50.00
BUILDERS INCORPORATED
PO BOX 20050                                                   RS Legacy Corporation fka RadioShack
WICHITA, KS 67208                           2783      6/2/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
Pembroke Lakes Mall,LLC
C/O GGP Limited Partnership
110 North Wacker Drive                                         RS Legacy Corporation fka RadioShack
Chicago, IL 60606                           2784      6/1/2015 Corporation                                               $164,603.45                                                                                       $164,603.45
GREENWOOD MALL L.L.C.
c/o GGP Limited Partnership
110 North Wacker Drive                                         RS Legacy Corporation fka RadioShack
Chicago, IL 60606                           2785      6/1/2015 Corporation                                               $118,303.33                                                                                       $118,303.33




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                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Folsom Central Holdings, LLC
Laurinda Gallelli, Vice Presidant
GRE Management Services
C/O Parkinson Phinney, LLP
400 Capitol Mall, Suite 2560                                              RS Legacy Corporation fka RadioShack
Sacremento, CA 95814                                   2786      6/2/2015 Corporation                                                                                                                             $4,801.50             $4,801.50
Rogue Valley Mall, LLC
C/O GGP Limited Partnership
110 North Wacker Drive                                                    RS Legacy Corporation fka RadioShack
Chicago, IL 60606                                      2787      6/1/2015 Corporation                                                $51,526.27                                                                                        $51,526.27
Perez, Caridad                                                            RS Legacy Corporation fka RadioShack
                                                       2788      6/2/2015 Corporation                                                      $0.00                                                                                            $0.00
Wood, Thomas
Birchwood Dr                                                              RS Legacy Corporation fka RadioShack
Portland, ME 04102                                     2789      6/2/2015 Corporation                                                     $50.00                                                                                           $50.00
J P BOWLIN COMPANY INC
PO BOX 123500                                                             RS Legacy Corporation fka RadioShack
FORT WORTH, TX 76121‐3500                              2790      6/2/2015 Corporation                                                    $282.00                                                    $0.00                                 $282.00
CITY OF MONROE
Dawn Whitesides ‐ Utility Billing Customer Service
Supervisor
300 West Crowell Street                                                   RS Legacy Corporation fka RadioShack
Monroe, NC 28112                                       2791      6/1/2015 Corporation                                                    $643.27                                                                                          $643.27
FIKES SERVICES INC
753 POST AMERICA PLACE, #205                                              RS Legacy Corporation fka RadioShack
GRAPEVINE, TX 76051                                    2792      6/2/2015 Corporation                                                    $181.88                                                                                          $181.88
THE WOODLANDS MALL ASSOCIATES
c/o GGP Limited Partnership
110 N. WACKER DRIVE                                                       RS Legacy Corporation fka RadioShack
CHICAGO, IL 60606                                      2793      6/1/2015 Corporation                                               $173,890.02                                                                                       $173,890.02
PECANLAND MALL, LLC
c/o GGP Limited Partnership
110 N. WACKER DRIVE                                                       RS Legacy Corporation fka RadioShack
CHICAGO, IL 60606                                      2794      6/1/2015 Corporation                                               $110,827.82                                                                                       $110,827.82
Vasquez, Ed
464 Ivy St Apt 4                                                          RS Legacy Corporation fka RadioShack
Glendale, CA 91204                                     2795      6/2/2015 Corporation                                                     $17.31                                                                                           $17.31
Kinsey, Richard
PO BOX 1141                                                               RS Legacy Corporation fka RadioShack
TOMBALL, TX 77377                                      2796      6/2/2015 Corporation                                                                                                              $25.00                                  $25.00
Kidd, Paula
2310 East Lake Drive                                                      RS Legacy Corporation fka RadioShack
Conyers, GA 30012                                      2797      6/3/2015 Corporation                                                     $42.88                                                                                           $42.88
CITY COMMERCIAL MANAGEMENT
ACCOUNT OF IBANEZ FAMILY TRUST
10722 ARROW ROUTE‐ STE 500 BOX 548                                        RS Legacy Corporation fka RadioShack
RANCHO CUCAMONGA, CA 91729                             2798      6/2/2015 Corporation                                                $14,684.56                                                                                        $14,684.56
CITY OF BOWLING GREEN
Michael Marsh‐ City Attorney
249 S. Main Street                                                        RS Legacy Corporation fka RadioShack
Bowling Green, OH 43402                                2799      6/2/2015 Corporation                                                    $379.79                                                                                          $379.79




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Gossert, Scott
11693 Hollyview Drive                                          RS Legacy Corporation fka RadioShack
Great Falls, VA 22066                       2800      6/2/2015 Corporation                                                     $13.76                                                                                           $13.76

NORTHCENTRAL ELECTRIC POWER ASSOCIATION
PO BOX 405                                                     RS Legacy Corporation fka RadioShack
BYHALIA, MS 38611                           2801      6/2/2015 Corporation                                                      $0.00                                                                                            $0.00
GGP‐TUCSON MALL L.L.C.
C/O GGP LIMITED PARTNERSHIP
110 NORTH WACKER DRIVE                                         RS Legacy Corporation fka RadioShack
CHICAGO, IL 60606                           2802      6/1/2015 Corporation                                               $114,076.37                                                                                       $114,076.37
Waste Industries
c/o RMS
PO Box 5126                                                    RS Legacy Corporation fka RadioShack
Timonium, MD 21094                          2803      6/2/2015 Corporation                                                    $365.87                                                                                          $365.87
Singletary, Jeanette
4 Elsinore Ave                                                 RS Legacy Corporation fka RadioShack
Glen Cove, NY 11542                         2804      6/2/2015 Corporation                                                    $600.00                                                                                          $600.00
Edmonds, Carrol
4710 58th Ave N
Apt 319                                                        RS Legacy Corporation fka RadioShack
Crystal, MN 55429                           2805      6/2/2015 Corporation                                                     $75.07                                                                                           $75.07
Smith, Chris
PO Box 6091                                                    RS Legacy Corporation fka RadioShack
Omaha, NE 68106                             2806      6/2/2015 Corporation                                                     $28.50                                                                                           $28.50
Cowlitz County Pud
961 12th Avenue
PO Box 3007                                                    RS Legacy Corporation fka RadioShack
Longview, WA 98632                          2807      6/2/2015 Corporation                                                    $574.24                                                                                          $574.24
LANCASTER UTILITIES
104 E MAIN STREET
PO BOX 1099                                                    RS Legacy Corporation fka RadioShack
LANCASTER, OH 43130                         2808      6/2/2015 Corporation                                                    $611.26                                                                                          $611.26
A ACTION PLUMBING INC
7 EAST STOW ROAD                                               RS Legacy Corporation fka RadioShack
MARLTON, NJ 08053                           2809      6/2/2015 Corporation                                                  $2,196.38                                                                                        $2,196.38
CEDAR FALLS UTILITIES
PO BOX 769                                                     RS Legacy Corporation fka RadioShack
CEDAR FALLS, IA 50613                       2810      6/2/2015 Corporation                                                      $0.00                                                                                            $0.00
BERKELEY REALTY ASSOCIATES LLC
PO BOX 1026                                                    RS Legacy Corporation fka RadioShack
MELVILLE, NY 11747                          2811      6/2/2015 Corporation                                                      $0.00                                                                                            $0.00
Champlain Centre North, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                      RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                          2812      6/2/2015 Corporation                                                    $775.36                                                                                          $775.36




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                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                     Amount
Aviation Mall NewCo, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                         RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                             2813      6/2/2015 Corporation                                                    $151.92                                                                                          $151.92
PCK Development Company, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                         RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                             2814      6/2/2015 Corporation                                                  $2,206.64                                                                                        $2,206.64
Lynch, Beatrice W
1950 Dixie Dr                                                     RS Legacy Corporation fka RadioShack
Wankesha, WI 53189                             2815      6/2/2015 Corporation                                                    $136.28                                                                                          $136.28

CrossGates Mall General Company NewCo, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                         RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                             2816      6/2/2015 Corporation                                                  $4,592.45                                                                                        $4,592.45
Builders, Inc.
Bradley H Smason
PO Box 20050                                                      RS Legacy Corporation fka RadioShack
Wichita, KS 67208                              2817      6/2/2015 Corporation                                                                                                                                 $0.00                 $0.00
Kalamazoo Mall L.L.C.
C/O GGP Limited Partnership
110 NORTH WACKER DRIVE                                            RS Legacy Corporation fka RadioShack
Chicago, IL 60606                              2818      6/1/2015 Corporation                                                                                                                             $5,360.08             $5,360.08
Crossgates Mall General Company Newco, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                         RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                             2819      6/2/2015 Corporation                                                  $2,498.34                                                                                        $2,498.34
Crystal Run Newco, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                         RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                             2820      6/2/2015 Corporation                                                $59,357.20                                                                                        $59,357.20
GREENWOOD MALL L.L.C.
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties, Inc.
110 North Wacker Drive                                            RS Legacy Corporation fka RadioShack
Chicago, IL 60606                              2821      6/1/2015 Corporation                                                                                                                             $6,006.66             $6,006.66
CITY OF LAGRANGE
PO BOX 4410                                                       RS Legacy Corporation fka RadioShack
LAGRANGE, GA 30241                             2822      6/2/2015 Corporation                                                     $30.10                                                                                           $30.10




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                                                                                                                 Current General                                            Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Albee, Lucie Marie R
24 Drake Rd                                                   RS Legacy Corporation fka RadioShack
Sanbornton, NH 03269                       2823      6/1/2015 Corporation                                                                                          $50.00                                                      $50.00
HUDSON PLAZA DEVELOPMENT LLC
FERESHTEH ACHILABADI
ATTN SOUTHEAST PROPERTIES INC
PO BOX 1387                                                   RS Legacy Corporation fka RadioShack
FAYETTEVILLE, GA 30214                     2824      6/1/2015 Corporation                                                    $160.00                                                                  $2,200.00             $2,360.00
Crystal Run Newco, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                     RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                         2825      6/2/2015 Corporation                                                                                                                             $5,876.04             $5,876.04
De Jesus, Gracelia
460 Charles St
Apt 906                                                       RS Legacy Corporation fka RadioShack
Providence , RI 02904                      2826      6/1/2015 Corporation                                                      $3.50                                                                                            $3.50
Cynthia A Pavesich + Assoc. Inc.
79 West Monroe St
#1215                                                         RS Legacy Corporation fka RadioShack
Chicago, IL 60603                          2827      6/1/2015 Corporation                                                  $1,476.85                                                                      $0.00             $1,476.85
Edmonds, Carrol
4710 58th Ave N
Apt 319                                                       RS Legacy Corporation fka RadioShack
Crystal, MN 55429                          2828      6/1/2015 Corporation                                                     $75.07                                                                                           $75.07
Zuckerman, Liliane
141 Clinton st                                                RS Legacy Corporation fka RadioShack
West Harrison, NY 10604                    2829      6/1/2015 Corporation                                                     $17.16                                                                                           $17.16
Claim Docketed In Error                                       RS Legacy Corporation fka RadioShack
                                           2830      6/1/2015 Corporation                                                                                                                                                       $0.00
ASHLAND POND LP
C/O SAXON PARTNERS
25 RECREATION PARK DR STE 204                                 RS Legacy Corporation fka RadioShack
HINGHAM, MA 02043                          2831      6/2/2015 Corporation                                                  $6,626.43                                                                                        $6,626.43
MADISONVILLE MUNICIPAL UTILITIES
PO BOX 710                                                    RS Legacy Corporation fka RadioShack
MADISONVILLE, KY 42431                     2832      6/1/2015 Corporation                                                    $544.64                                                    $0.00                                 $544.64
PCK DEVELOPMENT COMPANY, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                     RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                         2833      6/2/2015 Corporation                                                                                                                            $13,239.70            $13,239.70
Aranda, David
1160 E Cunningham Dr                                          RS Legacy Corporation fka RadioShack
Palatine , IL 60074                        2834      6/2/2015 Corporation                                                                         $0.00                                                                         $0.00
Murfreesboro Electric Dept.
PO Box 9                                                      RS Legacy Corporation fka RadioShack
Murfreesboro , TN 37133                    2835      6/2/2015 Corporation                                                    $212.98                                                                                          $212.98




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                                                                                                                                             Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address          Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
City of Fort Lauderdale
Penny L. Temple
Sr. Accounting Clerk III
100 N. Andrews Ave. 7th flr                                         RS Legacy Corporation fka RadioShack
Fort Lauderdale, FL 33301                        2836      6/3/2015 Corporation                                                    $425.00                                                                                          $425.00
RECEIVER OF TAXES
1496 ROUTE 300                                                      RS Legacy Corporation fka RadioShack
NEWBURGH, NY 12550                               2837      6/2/2015 Corporation                                                                                                             $348.72                                 $348.72
Allegheny Township Sewer & Water Auth
3131 COLONIAL DR                                                    RS Legacy Corporation fka RadioShack
DUNCANVILLE, PA 16635                            2838      6/2/2015 Corporation                                                      $0.00                                                                                            $0.00
HERMITAGE PLACE LP
2201 TRINITY CHURCH RD                                              RS Legacy Corporation fka RadioShack
CONCORD, NC 28027                                2839      6/2/2015 Corporation                                                  $3,994.98                                                                                        $3,994.98
Bispels, Jacqueline
136 Normal Avenue                                                   RS Legacy Corporation fka RadioShack
Kutztown, PA 19530                               2840      6/3/2015 Corporation                                                      $0.00                                                                                            $0.00
West Lake Associates, L.L.C.
Vincent R Castaldo
14 Headwaters Place                                                 RS Legacy Corporation fka RadioShack
Barnegat, NJ 08005                               2841      6/2/2015 Corporation                                                  $3,866.18                                                                                        $3,866.18
HEB GROCERY COMPANY LP
PO BOX 839955                                                       RS Legacy Corporation fka RadioShack
SAN ANTONIO, TX 78283                            2842      6/1/2015 Corporation                                                  $3,620.73                                                                                        $3,620.73
Kim, Yong
4516 Seascape Ct                                                    RS Legacy Corporation fka RadioShack
Seaside, CA 93955                                2843      6/2/2015 Corporation                                                     $50.00                                                                                           $50.00
MCKENZIE CROSSING LP
PO BOX 1328                                                         RS Legacy Corporation fka RadioShack
EUREKA, CA 95502                                 2844      6/2/2015 Corporation                                                $12,645.33                                                                                        $12,645.33
CITY OF FREDERICKSBURG, VIRGINIA
BRENDA A. WOOD, TREASURER
PO BOX 267                                                          RS Legacy Corporation fka RadioShack
FREDERICKSBURG, VA 22404                         2845      6/2/2015 Corporation                                                      $0.00                                                                                            $0.00
PANTANO BROADWAY LLC
C/O MAS REAL ESTATE SERVICE INC
4750 N ORACLE RD #210                                               RS Legacy Corporation fka RadioShack
TUCSON, AZ 85705                                 2846      6/2/2015 Corporation                                                      $0.00                                                    $0.00                                   $0.00
Veta, Ratna
20 Halstead Place                                                   RS Legacy Corporation fka RadioShack
Princeton, NJ 08540                              2847      6/3/2015 Corporation                                                    $136.91                                                                                          $136.91
Empresas Puertorriquenas de Desarrollo, Inc.
PO Box 366006                                                       RS Legacy Corporation fka RadioShack
San Juan , PR 00936‐6006                         2848      6/2/2015 Corporation                                                $12,541.49                                                                  $16,622.89            $29,164.38
DELTA‐MONTROSE ELECTRIC ASSOCIATION
PO BOX 1608                                                         RS Legacy Corporation fka RadioShack
MONTROSE, CO 81402                               2849      6/2/2015 Corporation                                                    $571.01                                $0.00                                                     $571.01

NSTAR GAS Company d/b/a Eversource Energy
Attn: Special Collections
1 NSTAR Way                                                         RS Legacy Corporation fka RadioShack
Westwood, MA 02090                               2850      6/2/2015 Corporation                                                  $7,077.35                                                                                        $7,077.35



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                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                     Amount
CRYSTAL RUN NEWCO, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                               RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                   2851      6/2/2015 Corporation                                                  $1,215.30                                                                                        $1,215.30
PECANLAND MALL, LLC
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties, Inc.
110 North Wacker Drive                                                  RS Legacy Corporation fka RadioShack
CHICAGO, IL 60606                                    2852      6/1/2015 Corporation                                                                                                                             $5,246.99             $5,246.99
CROSSGATES MALL GENERAL COMPANY NEWCO,
LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                               RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                   2853      6/2/2015 Corporation                                                                                                                             $8,784.91             $8,784.91
PYRAMID MALL OF HADLEY NEWCO, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                               RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                   2854      6/2/2015 Corporation                                                                                                                             $4,323.47             $4,323.47
COLE‐TAYLOR BANK
C/O CROWN COMMERCIAL REAL ESTATE
903 S BUTTERNUT CIRCLE                                                  RS Legacy Corporation fka RadioShack
FRANKFORT, IL 60423                                  2855      6/1/2015 Corporation                                                  $5,952.32                                                                                        $5,952.32
PYRAMID MALL OF HADLEY NEWCO, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                               RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                   2856      6/2/2015 Corporation                                                $45,886.77                                                                                        $45,886.77
Watertown
Town of Tax Collector
37 DeForest St.                                                         RS Legacy Corporation fka RadioShack
Watertown, CT 06795                                  2857      6/1/2015 Corporation                                                                      $742.09                                                                        $742.09
PONCA CITY UTILITY
PO BOX 1450                                                             RS Legacy Corporation fka RadioShack
PONCA CITY, OK 74602                                 2858      6/2/2015 Corporation                                                      $0.00                                                                                            $0.00

Paramus Park Shopping Center Limited Partnership
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties, Inc.
110 North Wacker Drive                                                  RS Legacy Corporation fka RadioShack
Chicago, IL 60606                                    2859      6/1/2015 Corporation                                                                                                                                 $0.00                 $0.00




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                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
OAKWOOD HILLS MALL, LLC
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties, Inc.
110 NORTH WACKER DRIVE                                           RS Legacy Corporation fka RadioShack
CHICAGO, IL 60606                             2860      6/1/2015 Corporation                                                                                                                             $4,096.45             $4,096.45
Fanovidal, S.E
Educardo J. Corretjer Reyes
625 AVE PONCE DE LEON                                            RS Legacy Corporation fka RadioShack
SAN JUAN, PR 00917‐4819                       2861      6/2/2015 Corporation                                                                                                                             $5,810.03             $5,810.03
Jordan Creek Town Center, LLC
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties, Inc.
110 North Wacker Drive                                           RS Legacy Corporation fka RadioShack
Chicago, IL 60606                             2862      6/1/2015 Corporation                                                                                                                            $11,283.35            $11,283.35
USA HAULING & RECYCLING INC
PO BOX 808                                                       RS Legacy Corporation fka RadioShack
EAST WINDSOR, CT 06088                        2863      6/2/2015 Corporation                                                      $0.00                                                                                            $0.00
GOVERNOR'S SQUARE MALL, LLC
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties, Inc.
110 North Wacker Drive                                           RS Legacy Corporation fka RadioShack
CHICAGO, IL 64207                             2864      6/1/2015 Corporation                                                                                                                             $2,775.83             $2,775.83
EMPRESAS PUERTORRIQUENAS
DE DESARROLLO INC
PO BOX 366006                                                    RS Legacy Corporation fka RadioShack
SAN JUAN, PR 00936                            2865      6/2/2015 Corporation                                               $315,382.33                                                                                       $315,382.33
CLARKSVILLE GAS & WATER
DEPARTMENT
PO BOX 387                                                       RS Legacy Corporation fka RadioShack
CLARKSVILLE, TN 37041                         2866      6/2/2015 Corporation                                                    $332.87                                                                                          $332.87
AIR PRO INC
827 EDITH NE                                                     RS Legacy Corporation fka RadioShack
ALBUQUERQUE, NM 87102                         2867      6/2/2015 Corporation                                                      $0.00                                                                                            $0.00
WHITE MARSH MALL, LLC
c/o GGP Limited Partnership
110 NORTH WACKER DRIVE                                           RS Legacy Corporation fka RadioShack
CHICAGO, IL 60606                             2868      6/1/2015 Corporation                                                  $4,169.88                                                                                        $4,169.88
Arwood, Tonya
10 Lee Road 983                                                  RS Legacy Corporation fka RadioShack
Smiths, AL 36877                              2869      6/3/2015 Corporation                                                     $65.31              $0.00             $0.00                                                      $65.31
Garza, Cristina
931 e. 87th Place                                                RS Legacy Corporation fka RadioShack
Los Angeles, CA 90002                         2870      6/3/2015 Corporation                                                                      $200.00                                                                        $200.00
COPLAY‐WHITEHALL SEWER AUTHORITY
3213 MACARTHUR RD                                                RS Legacy Corporation fka RadioShack
WHITEHALL, PA 18052                           2871      6/1/2015 Corporation                                                     $88.00                                                                                           $88.00
Coney, Stephanie
29145 Tiffany Dr. W                                              RS Legacy Corporation fka RadioShack
Southfield, MI 48034                          2872      6/3/2015 Corporation                                                     $25.00                                                                                           $25.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Cancelmo, Joanne
PO Box K269                                                   RS Legacy Corporation fka RadioShack
Brookfield, MA 01506                       2873      6/4/2015 Corporation                                                     $60.00                                                                                           $60.00
PARIS HENRY COUNTY PUBLIC UTILITY
DISTRICT NATURAL GAS
PO BOX 309                                                    RS Legacy Corporation fka RadioShack
PARIS, TN 38242                            2874      6/4/2015 Corporation                                                    $345.58                                                                                          $345.58
Carlock, Lorie
215 Thomas St                                                 RS Legacy Corporation fka RadioShack
Joshua, TX 76058                           2875      6/3/2015 Corporation                                                                         $0.00                                                                         $0.00
Peter, Zachary
32 Harris Fuller Road                                         RS Legacy Corporation fka RadioShack
Preston, CT 06365                          2876      6/3/2015 Corporation                                                     $60.00                                                                                           $60.00
Matthew, Johnathan
346 High Street                                               RS Legacy Corporation fka RadioShack
Plainfield, VT 05667                       2877      6/3/2015 Corporation                                                     $69.57                                                                                           $69.57
Dahlmeir , Kari
600 Deats Rd #g3                                              RS Legacy Corporation fka RadioShack
Dickinson , TX 77573                       2878      6/3/2015 Corporation                                                     $25.00                                                                                           $25.00
Pride, Denice
33 Karis Ct                                                   RS Legacy Corporation fka RadioShack
Bayshore, NY 11706                         2879      6/3/2015 Corporation                                                                                                             $162.93                                 $162.93
GIORDANO, HALLERAN & CIESLA, P.C.
ATTN: DONALD F. CAMPBELL, JR., ESQ.
125 HALF MILE ROAD
SUITE 300                                                     RS Legacy Corporation fka RadioShack
RED BANK, NJ 07701                         2880      6/3/2015 Corporation                                                      $0.00                                                                                            $0.00
Klein, Peter G
623 Eagle Rock Avenue, #120                                   RS Legacy Corporation fka RadioShack
West Orange, NJ 07052                      2881      6/3/2015 Corporation                                                                       $22.98              $0.00               $0.00                                  $22.98
Bell, Gary C
509 Hall Street                                               RS Legacy Corporation fka RadioShack
Malvern, AR 72104                          2882      6/3/2015 Corporation                                                     $17.38                                                                                           $17.38
Dunham, Chris
1009 E. Sunshine                                              RS Legacy Corporation fka RadioShack
Springfield , Mo 65807                     2883      6/3/2015 Corporation                                                    $100.00                                                                                          $100.00
Fourman, Jason
1814 Fayetteville Drive
Apt O‐2                                                       RS Legacy Corporation fka RadioShack
Augusta, GA 30904                          2884      6/3/2015 Corporation                                                      $0.00                                                                                            $0.00
Pollog, Michael A.
130 Talavera Parkway
Apt 1134                                                      RS Legacy Corporation fka RadioShack
San Antonio, TX 78232                      2885      6/3/2015 Corporation                                                      $0.00                                                                                            $0.00
Vo Family Trust, LLC
C/O The Congeni Law Firm, LLC
424 Gravier Street                                            RS Legacy Corporation fka RadioShack
New Orleans, LA 70130                      2886      6/3/2015 Corporation                                                  $3,385.70                                                                                        $3,385.70
Tennessee American Water
PO Box 578                                                    RS Legacy Corporation fka RadioShack
Alton, IL 62002                            2887      6/3/2015 Corporation                                                     $52.92                                                                                           $52.92




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                                                                                                                                                Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address             Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
Cherry, Yolanda R.
11921 Kibbee Ave                                                       RS Legacy Corporation fka RadioShack
La Mirada, CA 90638                                 2888      6/3/2015 Corporation                                                      $0.00            $50.00                                  $0.00                                  $50.00
Cherry, Yolanda R.
11921 Kibbee Ave                                                       RS Legacy Corporation fka RadioShack
La Mirada, CA 90638                                 2889      6/3/2015 Corporation                                                      $0.00              $0.00                                 $0.00                                   $0.00
Fox Glass of New England, Inc.
1035 TIFFORD LANE                                                      RS Legacy Corporation fka RadioShack
OSTEEN, FL 32764                                    2890      6/3/2015 Corporation                                                    $297.70                                                                                          $297.70
Nichols, Wendy S.
8 Cottage Court                                                        RS Legacy Corporation fka RadioShack
Bear, DE 19701                                      2891      6/3/2015 Corporation                                                                                                              $39.99                                  $39.99
Walla Walla County Treasurer
315 W Main St. #204                                                    RS Legacy Corporation fka RadioShack
Walla Walla, WA 99362                               2892      6/3/2015 Corporation                                                      $0.00                                                                                            $0.00
FOX GLASS CO., INC.
1035 TIFFORD LANE                                                      RS Legacy Corporation fka RadioShack
OSTEEN, FL 32764                                    2893      6/3/2015 Corporation                                                  $3,112.13                                                                                        $3,112.13
GROVE SQUARE LP
C/O SIDCOR MANAGEMENT
N 9274 WINDY WAY                                                       RS Legacy Corporation fka RadioShack
MUKWONAGO, WI 53149                                 2894      6/2/2015 Corporation                                                $21,568.80                                                                                        $21,568.80

J. Grothe Electric, Inc. DBA JG Service Company
15632 El Prado Rd.                                                     RS Legacy Corporation fka RadioShack
Chino, CA 91710                                     2895      6/2/2015 Corporation                                                $19,992.90                                                                                        $19,992.90
Pennsylvania Department of Revenue
Bankruptcy Division
PO Box 280946                                                          RS Legacy Corporation fka RadioShack
Harrisburg, PA 17128‐0946                           2896      6/2/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
TARRAYO, ROMEO
3907 SUMAC DRIVE                                                       RS Legacy Corporation fka RadioShack
Sherman Oaks, CA 91403                              2897      6/3/2015 Corporation                                                    $180.00                                                                                          $180.00
VALLEY ENERGY
PO BOX 340                                                             RS Legacy Corporation fka RadioShack
SAYRE, PA 18840                                     2898      6/2/2015 Corporation                                                    $588.05                                                                                          $588.05
BOISE MALL, LLC
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties, Inc.
110 North Wacker Drive                                                 RS Legacy Corporation fka RadioShack
CHICAGO, IL 60606                                   2899      6/1/2015 Corporation                                                                                                                             $8,604.64             $8,604.64
City of Marysville
1049 State Avenue                                                      RS Legacy Corporation fka RadioShack
Marysville, WA 98270                                2900      6/3/2015 Corporation                                                    $141.03                                                                                          $141.03
Contreras‐Calderon, Joel
306 Village Green Blvd, Apt 105                                        RS Legacy Corporation fka RadioShack
Ann Arbor, MI 48105                                 2901      6/3/2015 Corporation                                                     $50.00                                                                                           $50.00
NORTH TOWN MALL, LLC
c/o GGP Limited Partnership
110 NORTH WACKER DRIVE                                                 RS Legacy Corporation fka RadioShack
Chicago, IL 60606                                   2902      6/1/2015 Corporation                                               $147,972.50                                                                                       $147,972.50



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            Creditor Name and Address       Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
City of Fort Lauderdale
Penny L. Temple
Sr. Accounting Clerk III
100 N. Andrews Ave. 7th flr                                      RS Legacy Corporation fka RadioShack
Fort Lauderdale, FL 33301                     2903      6/3/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
CB BUILDING LP
5115 STANLEY KELLER ROAD                                         RS Legacy Corporation fka RadioShack
HALTOM CITY, TX 76117                         2904      6/1/2015 Corporation                                                $10,052.78                                                     $0.00         $5,965.72            $16,018.50
NATICK MALL, LLC
c/o GGP Limited Partnership
110 North Wacker Drive                                           RS Legacy Corporation fka RadioShack
CHICAGO, IL 60606                             2905      6/1/2015 Corporation                                                  $3,865.66                                                                                        $3,865.66
COLUMBIA MALL L.L.C.
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties, Inc.
110 NORTH WACKER DRIVE                                           RS Legacy Corporation fka RadioShack
CHICAGO, IL 60606                             2906      6/1/2015 Corporation                                                  $3,103.17                                                                  $3,103.17             $6,206.34
PEACHTREE MALL LLC
c/o GGP Limited Partnership
110 NORTH WACKER DRIVE                                           RS Legacy Corporation fka RadioShack
CHICAGO, IL 60606                             2907      6/1/2015 Corporation                                                $69,584.49                                                                                        $69,584.49
Lynnhaven Mall L.L.C.
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties, Inc.
110 North Wacker Drive                                           RS Legacy Corporation fka RadioShack
Chicago, IL 60606                             2908      6/1/2015 Corporation                                                                                                                            $12,760.57            $12,760.57
Virginia American Water
PO Box 578                                                       RS Legacy Corporation fka RadioShack
Alton, IL 62002                               2909      6/3/2015 Corporation                                                    $216.73                                                                                          $216.73
ADVOCATE COMMUNICATIONS
PO BOX 149                                                       RS Legacy Corporation fka RadioShack
DANVILLE, KY 40423‐0149                       2910      6/2/2015 Corporation                                                    $467.50                                                                                          $467.50
TYLER MALL LIMITED PARTNERSHIP
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties, Inc.
110 North Wacker Drive                                           RS Legacy Corporation fka RadioShack
CHICAGO, IL 60606                             2911      6/1/2015 Corporation                                                                                                                             $2,984.88             $2,984.88
DiDio, John
Rhonda DiDio
322 Veterans Memorial Hwy                                        RS Legacy Corporation fka RadioShack
Commack, NY 11725                             2912      6/3/2015 Corporation                                                      $0.00                                                                                            $0.00
NORTH TOWN MALL, LLC
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties, Inc.
110 North Wacker Drive                                           RS Legacy Corporation fka RadioShack
Chicago , IL 60606                            2913      6/1/2015 Corporation                                                                                                                            $10,442.98            $10,442.98




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                                                                                                                    Current General                                            Current 503(b)(9)
                                                                                                                                          Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address       Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
Smith, Chris
PO Box 6091                                                      RS Legacy Corporation fka RadioShack
Omaha, NE 68106                               2914      6/3/2015 Corporation                                                     $28.50                                                                                           $28.50
City of Gastonia
Attn: Lloyd Ashley Smith
PO Box 1748                                                      RS Legacy Corporation fka RadioShack
Gastonia, NC 28053                            2915      6/2/2015 Corporation                                                  $1,028.09                                                                                        $1,028.09
NATICK MALL, LLC
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties, Inc.
110 North Wacker Drive                                           RS Legacy Corporation fka RadioShack
CHICAGO, IL 60606                             2916      6/1/2015 Corporation                                                                                                                            $10,654.11            $10,654.11
TOWN OF TOLLAND
Collector of Revenue
21 Tolland Green                                                 RS Legacy Corporation fka RadioShack
Tolland, CT 06084                             2917      6/3/2015 Corporation                                                                                           $0.00                                                       $0.00
Arwood, Tonya
10 Lee Road 983                                                  RS Legacy Corporation fka RadioShack
Smiths, AL 36877                              2918      6/3/2015 Corporation                                                                      $161.99              $0.00                                                     $161.99
Sawada, Ken
518 Park Drive #6267                                             RS Legacy Corporation fka RadioShack
Boston, MA 02215                              2919      6/4/2015 Corporation                                                     $10.00                                                                                           $10.00
Finch, Holly
3 Ligotino Lane                                                  RS Legacy Corporation fka RadioShack
New Paltz, NY                                 2920      6/3/2015 Corporation                                                     $43.19                                                                                           $43.19
Johnson III, David G
7003 Deer Thicket Dr                                             RS Legacy Corporation fka RadioShack
Midlothian , VA 23112                         2921      6/3/2015 Corporation                                                                         $0.00                                                                         $0.00
Knickelbine, Paul
W1055 Potter Road                                                RS Legacy Corporation fka RadioShack
Burlington, WI 53105                          2922      6/3/2015 Corporation                                                                                          $50.00                                                      $50.00
West Virginia American Water
PO Box 578                                                       RS Legacy Corporation fka RadioShack
Alton, IL 62002                               2923      6/3/2015 Corporation                                                     $78.97                                                                                           $78.97
Holyoke Mall Company, L.P.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                        RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                            2924      6/2/2015 Corporation                                                  $1,483.25                                                                                        $1,483.25
GGP NORTHRIDGE FASHION CENTER, LP
c/o GGP Limited Partnership
110 NORTH WACKER DRIVE                                           RS Legacy Corporation fka RadioShack
CHICAGO, IL 60606                             2925      6/1/2015 Corporation                                                $90,259.96                                                                                        $90,259.96
MID CAROLINA ELECTRIC COOPERATIVE
PO BOX 669                                                       RS Legacy Corporation fka RadioShack
LEXINGTON, SC 290710669                       2926      6/1/2015 Corporation                                                    $501.00                                                                                          $501.00
GGP‐Maine Mall L.L.C.
c/o GGP Limited Partnership
110 NORTH WACKER DRIVE                                           RS Legacy Corporation fka RadioShack
Chicago , IL 60606                            2927      6/1/2015 Corporation                                               $159,710.30                                                                                       $159,710.30



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                                                                                                                                           Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address       Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                     Amount
SOUTHWEST PLAZA L.L.C.
c/o GGP Limited Partnership
110 North Wacker Drive                                           RS Legacy Corporation fka RadioShack
Chicago, IL 60606                             2928      6/1/2015 Corporation                                                   $4,482.83                                                                                        $4,482.83
HEB GROCERY COMPANY LP
PO BOX 839955                                                    RS Legacy Corporation fka RadioShack
SAN ANTONIO, TX 78283                         2929      6/1/2015 Corporation                                                   $4,645.72                                                                                        $4,645.72
CITY OF ALBEMARLE
PO BOX 160                                                       RS Legacy Corporation fka RadioShack
ALBEMARLE, NC 28002                           2930      6/1/2015 Corporation                                                   $1,322.62                                                                                        $1,322.62
Taylor, Matthew
129 Pleasant Street                                              RS Legacy Corporation fka RadioShack
Reading, MA 01867                             2931      6/2/2015 Corporation                                                      $29.74                                                                                           $29.74
DANIEL G KAMIN
MICHIGAN ENTERPRISES
PO BOX 10234                                                      RS Legacy Corporation fka RadioShack
PITTSBURGH, PA 15232                          2932      5/29/2015 Corporation                                                $10,402.84                                                                                        $10,402.84
FARMERS ELECTRIC COOPERATIVE
PO BOX 558                                                       RS Legacy Corporation fka RadioShack
SULPHUR SPRINGS, TX 75483                     2933      6/1/2015 Corporation                                                     $524.80                                                                                          $524.80
Tower Retail, LLC
Laurence H. berbert
Bregman, Berbert, Schwartz & Gilady, LLC
7315 Wisconsin Avenue,
Suite 800 West                                                   RS Legacy Corporation fka RadioShack
Bethesda, MD 20814                            2934      6/3/2015 Corporation                                                                                                                              $4,403.14             $4,403.14
Kocken, Henk
5375 Blackhawk Drive                                             RS Legacy Corporation fka RadioShack
Danville, CA 94506                            2935      6/3/2015 Corporation                                                      $50.00                                                                                           $50.00
Mendelson, Debra
10781 Santa Fe Dr                                                RS Legacy Corporation fka RadioShack
Hollywood, FL 33026                           2936      6/3/2015 Corporation                                                      $32.82                                                                                           $32.82
THE MALL IN COLUMBIA BUSINESS TRUST
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties, Inc.
110 North Wacker Drive                                           RS Legacy Corporation fka RadioShack
Chicago, IL 60606                             2937      6/1/2015 Corporation                                                                                                                             $15,038.47            $15,038.47
Deerbrook Mall, LLC
c/o GGP Limited Partnership
110 North Wacker Drive                                           RS Legacy Corporation fka RadioShack
Chicago , IL 60606                            2938      6/1/2015 Corporation                                                                                                                              $2,180.60             $2,180.60
PARK CITY CENTER BUSINESS TRUST
c/o GGP Limited Partnership
110 NORTH WACKER DRIVE                                           RS Legacy Corporation fka RadioShack
Chicago, IL 60606                             2939      6/1/2015 Corporation                                                $199,112.58                                                                                       $199,112.58
GGP‐Glenbrook L.L.C.
c/o GGP Limited Partnership
110 North Wacker Drive                                           RS Legacy Corporation fka RadioShack
Chicago, IL 60606                             2940      6/1/2015 Corporation                                                   $1,446.00                                                                                        $1,446.00




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                                                                                                                                               Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address            Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
Kentucky American Water
PO Box 578                                                            RS Legacy Corporation fka RadioShack
Alton, IL 62002                                    2941      6/3/2015 Corporation                                                     $34.62                                                                                           $34.62
PCK Development Company, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                             RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                 2942      6/2/2015 Corporation                                               $185,355.84                                                                                       $185,355.84
Champlain Centre North, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                             RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                 2943      6/2/2015 Corporation                                                                                                                             $2,554.10             $2,554.10
SHOPPES AT BUCKLAND HILLS, LLC
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties, Inc.
110 NORTH WACKER DRIVE                                                RS Legacy Corporation fka RadioShack
CHICAGO, IL 60606                                  2944      6/1/2015 Corporation                                                                                                                             $1,482.12             $1,482.12
Hinkley, Jonathan M.
3744 South Geneva Drive                                               RS Legacy Corporation fka RadioShack
Bay City, MI 48706                                 2945      6/2/2015 Corporation                                                                       $53.00              $0.00                                                      $53.00
Perimeter Mall, LLC
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties, Inc.
110 North Wacker Drive                                                RS Legacy Corporation fka RadioShack
Chicago, IL 60606                                  2946      6/1/2015 Corporation                                                                                                                            $17,058.01            $17,058.01

NSTAR Electric Company d/b/a Eversource Energy
ATTN: Special Collections
1 NSTAR Way                                                           RS Legacy Corporation fka RadioShack
Westwood, MA 02090                                 2947      6/2/2015 Corporation                                                $45,866.21                                                                                        $45,866.21
California American Water
PO Box 578                                                            RS Legacy Corporation fka RadioShack
Alton, IL 62002                                    2948      6/3/2015 Corporation                                                     $69.18                                                                                           $69.18
Holyoke Mall Company, L.P.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                             RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                 2949      6/2/2015 Corporation                                                $67,418.75                                                                                        $67,418.75
PYRAMID MALL OF HADLEY NEWCO, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                             RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                 2950      6/2/2015 Corporation                                                  $1,541.62                                                                                        $1,541.62




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                                                                                                                                           Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address        Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                     Amount
Lake Jackson Shopping Center LTD
1800 AUGUSTA STE 370                                              RS Legacy Corporation fka RadioShack
HOUSTON, TX 77057                              2951      6/2/2015 Corporation                                                  $1,256.15                                                                                        $1,256.15
Pembroke Lakes Mall, LLC
Julike Minnick Bowden, National Bankruptcy
Manager
General Growth Properties, Inc.
110 North Wacker Drive                                            RS Legacy Corporation fka RadioShack
Chicago, IL 60606                              2952      6/1/2015 Corporation                                                                                                                            $12,308.71            $12,308.71
Park City Center Business Trust
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties, Inc.
110 North Wacker Drive                                            RS Legacy Corporation fka RadioShack
CHICAGO, IL 60606                              2953      6/1/2015 Corporation                                                                                                                            $13,112.35            $13,112.35
Soto‐Ruiz, Mariela
51 Urb. Los Flamboyanes                                           RS Legacy Corporation fka RadioShack
Anasco, PR 00610                               2954      6/3/2015 Corporation                                                                         $0.00                                                                         $0.00
Kentucky American Water
PO Box 578                                                        RS Legacy Corporation fka RadioShack
Alton, IL 62002                                2955      6/3/2015 Corporation                                                    $183.92                                                                                          $183.92
SHOPPES AT BUCKLAND HILLS, LLC
C/O GGP Limited Partnership
110 NORTH WACKER DRIVE                                            RS Legacy Corporation fka RadioShack
CHICAGO, IL 60606                              2956      6/1/2015 Corporation                                                  $2,851.77                                                                                        $2,851.77
Bridgewater Commons Mall II, LLC
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties, Inc.
110 North Wacker Drive                                            RS Legacy Corporation fka RadioShack
Chicago, IL 60606                              2957      6/1/2015 Corporation                                                                                                                            $13,183.78            $13,183.78
GGP‐Four Seasons L.L.C.
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties, Inc.
110 North Wacker Drive                                            RS Legacy Corporation fka RadioShack
Chicago, IL 60606                              2958      6/1/2015 Corporation                                                                                                                             $6,490.20             $6,490.20
Brass Mill Center, LLC
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties, Inc.
110 North Wacker Drive                                            RS Legacy Corporation fka RadioShack
Chicago, IL 60606                              2959      6/1/2015 Corporation                                                                                                                            $15,448.75            $15,448.75
Neshaminy Mall Joint Venture Limited
Julie Minnick Bowden, National Bankruptcy
Manager
General Counsel and Senior Vice President
110 North Wacker Drive                                            RS Legacy Corporation fka RadioShack
CHICAGO, IL 60606                              2960      6/1/2015 Corporation                                                                                                                             $2,826.73             $2,826.73
MASTER PUBLISHING INC
6019 W HOWARD STREET                                              RS Legacy Corporation fka RadioShack
NILES, IL 60714                                2961      6/1/2015 Corporation                                                $23,280.00                                                     $0.00                              $23,280.00



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                                                                                                                                          Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address       Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
AUGUSTA MALL, LLC
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties
110 North Wacker Drive                                           RS Legacy Corporation fka RadioShack
CHICAGO, IL 60606                             2962      6/1/2015 Corporation                                                                                                                             $7,777.46             $7,777.46
Robert Half Management Resources
Attn: Karen Lima
PO Box 5024                                                      RS Legacy Corporation fka RadioShack
San Ramon, CA 94583                           2963      6/1/2015 Corporation                                                $13,000.00                                                                                        $13,000.00
The Woodlands Mall Associates, LLC
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties, Inc.
110 North Wacker Drive                                           RS Legacy Corporation fka RadioShack
Chicago, IL 60606                             2964      6/1/2015 Corporation                                                                                                                             $7,686.11             $7,686.11
Forouzan, Soleyman
For FOROUZAN BROTHERS LP
4333 Admiralty Way Ste 11                                        RS Legacy Corporation fka RadioShack
Marina Del Rey, CA 90292‐5469                 2965      6/2/2015 Corporation                                                $10,622.52                                                                                        $10,622.52
OLIVE TOWN CENTER, LLC
Agent for Owner
Jeanie Chiu
1401 19TH STREET, SUITE 400                                      RS Legacy Corporation fka RadioShack
BAKERSFIELD, CA 93301                         2966      6/3/2015 Corporation                                                                                                                                 $0.00                 $0.00
PS Business Parks, L.P.
c/o Todd A. Brisco & Associates, APC
1900 South State College Blvd, Suite 275                         RS Legacy Corporation fka RadioShack
Anaheim, CA 92806                             2967      6/1/2015 Corporation                                                  $4,035.60                                                                                        $4,035.60
CITY OF FERNANDINA BEACH
UTILITY BILLING DEPT
PO BOX 16115                                                     RS Legacy Corporation fka RadioShack
FERNANDINA BEACH, FL 32035‐3119               2968      6/1/2015 Corporation                                                    $263.46                                                                                          $263.46
Coral Ridge Mall, LLC
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties
110 North Wacker Drive                                           RS Legacy Corporation fka RadioShack
Chicago, IL 60606                             2969      6/1/2015 Corporation                                                                                                                                 $0.00                 $0.00
AMES MUNICIPAL UTILITIES
Judy Parks, City Attorney
515 Clark Avenue                                                 RS Legacy Corporation fka RadioShack
Ames, IA 50010                                2970      6/3/2015 Corporation                                                    $669.54                                                                                          $669.54
PENNSYLVANIA AMERICAN WATER
PO BOX 578                                                       RS Legacy Corporation fka RadioShack
Alton, IL 62002                               2971      6/3/2015 Corporation                                                     $27.59                                                                                           $27.59
INDIANA AMERICAN WATER
PO BOX 578                                                       RS Legacy Corporation fka RadioShack
Alton, IL 62002                               2972      6/3/2015 Corporation                                                     $23.67                                                                                           $23.67




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                                                                                                                   Current General                                            Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address      Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Ellis, Eric J.
Mr. Eric J. Ellis
427 E 5th St Apt 201                                            RS Legacy Corporation fka RadioShack
Los Angeles, CA 90013                        2973      6/3/2015 Corporation                                                     $98.09                                                                                           $98.09
TARRAYO, ROMEO
3907 SUMAC DRIVE                                                RS Legacy Corporation fka RadioShack
Sherman Oaks, CA 91403                       2974      6/3/2015 Corporation                                                    $180.00                                                                                          $180.00
Harsch Investment Properties, LLC
STEPHAN KOTKINS
1121 SW SALMON                                                  RS Legacy Corporation fka RadioShack
PORTLAND, OR 97205                           2975      6/1/2015 Corporation                                                      $0.00                                                                                            $0.00
INDIANA AMERICAN WATER
PO Box 578                                                      RS Legacy Corporation fka RadioShack
Alton, IL 62002                              2976      6/3/2015 Corporation                                                     $33.24                                                                                           $33.24
FLORENCE MALL L.L.C.
C/O GGP Limited Partnership
110 NORTH WACKER DRIVE                                          RS Legacy Corporation fka RadioShack
CHICAGO, IL 60606                            2977      6/1/2015 Corporation                                                  $3,397.89                                                                                        $3,397.89
ALGONQUIN WOODSCREEK PARTNERS LLC
C/O MCVICKERS DEVELOPMENT LLC
2150 E LAKE COOK RD STE 320                                     RS Legacy Corporation fka RadioShack
BUFFALO GROVE, IL 60089                      2978      6/4/2015 Corporation                                                $70,005.36                                                                                        $70,005.36
CALIFORNIA AMERICAN WATER
PO Box 578                                                      RS Legacy Corporation fka RadioShack
Alton, IL 62002                              2979      6/3/2015 Corporation                                                     $56.09                                                                                           $56.09
Parks At Arlington, LLC
C/O GGP Limited Partnership
110 NORTH WACKER DRIVE                                          RS Legacy Corporation fka RadioShack
Chicago, IL 60606                            2980      6/1/2015 Corporation                                                $26,132.89                                                                                        $26,132.89
NEW JERSEY AMERICAN WATER
PO BOX 578                                                      RS Legacy Corporation fka RadioShack
ALTON, IL 62002                              2981      6/3/2015 Corporation                                                     $78.75                                                                                           $78.75

Bull Run Plaza, LLC
BREGMAN, BERBERT, SCHWARTZ & GILDAY, LLC
7315 Wisconsin Avenue, Suite 800 West                           RS Legacy Corporation fka RadioShack
Bethesda, MD 20814                           2982      6/3/2015 Corporation                                                                                                                             $3,185.14             $3,185.14
Sangertown Square, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                       RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                           2983      6/2/2015 Corporation                                                    $936.78                                                                                          $936.78
BPI, Inc.
PO Box 8300                                                     RS Legacy Corporation fka RadioShack
Tyler , TX 75711                             2984      6/3/2015 Corporation                                                  $1,514.30                                                                                        $1,514.30
New Jersey American Water
PO Box 578                                                      RS Legacy Corporation fka RadioShack
Alton, IL 62002                              2985      6/3/2015 Corporation                                                     $67.45                                                                                           $67.45
Musa, Dina
17219 Rolling Brook Dr.                                         RS Legacy Corporation fka RadioShack
Sugar Land, TX 77479                         2986      6/3/2015 Corporation                                                     $21.64                                                                                           $21.64



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                                                                                                                          Current General                                            Current 503(b)(9)
                                                                                                                                                Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address             Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
City of Watertown
23 2nd Street NE                                                       RS Legacy Corporation fka RadioShack
Watertown, SD 57201                                 2987      6/3/2015 Corporation                                                    $553.31                                                                                          $553.31
INDIANA AMERICAN WATER
PO Box 578                                                             RS Legacy Corporation fka RadioShack
Alton, IL 62002                                     2988      6/3/2015 Corporation                                                     $62.69                                                                                           $62.69
Kroker, Sonnet
PO Box 395                                                             RS Legacy Corporation fka RadioShack
Carnelian Bay, CA 96140                             2989      6/4/2015 Corporation                                                     $17.23                                                                                           $17.23
New Jersey American Water
PO Box 578                                                             RS Legacy Corporation fka RadioShack
Alton, IL 62002                                     2990      6/3/2015 Corporation                                                     $59.20                                                                                           $59.20
KHEDR, DAVID
1242‐ 3rd St #206                                                      RS Legacy Corporation fka RadioShack
SANTA MONICA, CA 90401                              2991      6/3/2015 Corporation                                                                                                           $2,080.00                               $2,080.00
GGP Northridge Fashion Center, LP
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties, Inc.
110 North Wacker Drive                                                 RS Legacy Corporation fka RadioShack
Chicago, IL 60606                                   2992      6/1/2015 Corporation                                                                                                                             $3,233.84             $3,233.84
Coastland Center, LLC
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties
110 North Wacker Drive                                                 RS Legacy Corporation fka RadioShack
Chicago, IL 60606                                   2993      6/1/2015 Corporation                                                                                                                            $10,419.25            $10,419.25
Rogue Valley Mall L.L.C
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties
110 North Wacker Drive                                                 RS Legacy Corporation fka RadioShack
Chicago, IL 60606                                   2994      6/1/2015 Corporation                                                                                                                             $3,597.15             $3,597.15
ILLINOIS AMERICAN WATER
PO BOX 578                                                             RS Legacy Corporation fka RadioShack
Alton, IL 62002                                     2995      6/3/2015 Corporation                                                     $33.76                                                                                           $33.76
Oaks Mall, LLC
c/o GGP Limited Partnership
110 North Wacker Drive                                                 RS Legacy Corporation fka RadioShack
Chicago, IL 60606                                   2996      6/1/2015 Corporation                                                    $100.00                                                                                          $100.00
Coshocton Associates LLC McClain‐Palmer Ltd and
Fine Real Estate Investments
C/O Central Realty LLC
331 West Thornton Ave.                                                 RS Legacy Corporation fka RadioShack
St. Louis, MO 63119                                 2997      6/4/2015 Corporation                                                    $969.29                                                                                          $969.29
New Jersey American Water
PO Box 578                                                             RS Legacy Corporation fka RadioShack
Alton, IL 62002                                     2998      6/3/2015 Corporation                                                    $154.24                                                                                          $154.24
PENNSYLVANIA AMERICAN WATER
PO Box 578                                                             RS Legacy Corporation fka RadioShack
Alton, IL 62002                                     2999      6/3/2015 Corporation                                                     $18.67                                                                                           $18.67




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                                                                                                                                              Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address           Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
GGP‐NEWGATE MALL INC.
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties, Inc.
110 North Wacker Drive                                               RS Legacy Corporation fka RadioShack
CHICAGO, IL 60606                                 3000      6/1/2015 Corporation                                               $114,297.55                                                                                       $114,297.55
GGP‐Four Seasons L.L.C
c/o GGP Limited Partnership
110 NORTH WACKER DRIVE                                               RS Legacy Corporation fka RadioShack
Chicago, IL 60606                                 3001      6/1/2015 Corporation                                                $56,983.96                                                                                        $56,983.96
Claim Docketed In Error                                              RS Legacy Corporation fka RadioShack
                                                  3002      6/3/2015 Corporation                                                                                                                                                       $0.00
ILLINOIS AMERICAN WATER
PO BOX 578                                                           RS Legacy Corporation fka RadioShack
Alton, IL 62002                                   3003      6/3/2015 Corporation                                                     $37.24                                                                                           $37.24
Federicksburg 35, LLC
Laurence H. Berbert
Bregman, Berbert, Schwartz & Gilday, LLC
7315 Wisconsin Avenue, Suite 800 West                                RS Legacy Corporation fka RadioShack
Bethesda, MD 20814                                3004      6/3/2015 Corporation                                                                                                                             $5,155.29             $5,155.29
Ruiz, Aristides
Property Manager
City Commercial Management
10722 Arrow Route, Suite 500
PO Box 548                                                           RS Legacy Corporation fka RadioShack
Rancho Cucamonga, CA 91729‐0548                   3005      6/2/2015 Corporation                                                                                                                                 $0.00                 $0.00

Consolidated Edison Company of New York, Inc.
Bankruptcy Group
4 Irving Place, Room 1875‐S                                          RS Legacy Corporation fka RadioShack
New York, NY 10003                                3006      6/1/2015 Corporation                                                      $0.00                                                                                            $0.00
SUL 620/564 LLC
Michael D. Capozzi
Ingram Yuzek, et al.
250 Park Avenue, 6th Floor                                           RS Legacy Corporation fka RadioShack
New York, NY 10177                                3007      6/3/2015 Corporation                                                                                                                            $19,999.92            $19,999.92
PENNSYLVANIA AMERICAN WATER
PO BOX 578                                                           RS Legacy Corporation fka RadioShack
Alton, IL 62002                                   3008      6/3/2015 Corporation                                                     $22.18                                                                                           $22.18
Missouri American Water
PO Box 578                                                           RS Legacy Corporation fka RadioShack
Alton, IL 62002                                   3009      6/3/2015 Corporation                                                     $19.00                                                                                           $19.00
Virginia American Water
PO Box 578                                                           RS Legacy Corporation fka RadioShack
Alton, IL 62002                                   3010      6/3/2015 Corporation                                                     $69.58                                                                                           $69.58
Dilorenzo, Edward J
28 Sargent Road                                                      RS Legacy Corporation fka RadioShack
Weymouth, MA 02190                                3011      6/4/2015 Corporation                                                     $20.00                                                                                           $20.00
INDIANA AMERICAN WATER
PO Box 578                                                           RS Legacy Corporation fka RadioShack
Alton, IL 62002                                   3012      6/3/2015 Corporation                                                     $45.25                                                                                           $45.25




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                                                                                                                                                   Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount

Forum Communications Company DBA: Morris Sun
Tribune, West Central Tribune, The Bemidji Pioneer
PO Box 455                                                                RS Legacy Corporation fka RadioShack
Bemidji, MN 56619‐0455                                 3013      6/3/2015 Corporation                                                  $6,189.28                                                                                        $6,189.28
INDIANA AMERICAN WATER
PO Box 578                                                                RS Legacy Corporation fka RadioShack
Alton, IL 62002                                        3014      6/3/2015 Corporation                                                     $43.96                                                                                           $43.96
Pennsylvania American Water
PO Box 578                                                                RS Legacy Corporation fka RadioShack
Alton, IL 62002                                        3015      6/3/2015 Corporation                                                     $42.82                                                                                           $42.82
INDIANA AMERICAN WATER
PO Box 578                                                                RS Legacy Corporation fka RadioShack
Alton, IL 62002                                        3016      6/3/2015 Corporation                                                     $39.16                                                                                           $39.16
Pennsylvania American Water
PO Box 578                                                                RS Legacy Corporation fka RadioShack
Alton, IL 62002                                        3017      6/3/2015 Corporation                                                    $301.59                                                                                          $301.59
Paul, Stephen R.
277 Camerton Lane                                                         RS Legacy Corporation fka RadioShack
Townsend, DE 19734                                     3018      6/4/2015 Corporation                                                     $62.96                                                                                           $62.96
Illinois American Water
PO Box 578                                                                RS Legacy Corporation fka RadioShack
Alton, IL 62002                                        3019      6/3/2015 Corporation                                                     $31.31                                                                                           $31.31
Pennsylvania American Water
PO Box 578                                                                RS Legacy Corporation fka RadioShack
Alton, IL 62002                                        3020      6/3/2015 Corporation                                                     $21.43                                                                                           $21.43
Indiana American Water
P.O. Box 578                                                              RS Legacy Corporation fka RadioShack
Alton, IL 62002                                        3021      6/3/2015 Corporation                                                     $76.61                                                                                           $76.61
New Jersey American Water
PO Box 578                                                                RS Legacy Corporation fka RadioShack
Alton, IL 62002                                        3022      6/3/2015 Corporation                                                     $93.18                                                                                           $93.18
Pennsylvania American Water
PO Box 578                                                                RS Legacy Corporation fka RadioShack
Alton, IL 62002                                        3023      6/3/2015 Corporation                                                     $17.69                                                                                           $17.69
New Jersey American Water
PO Box 578                                                                RS Legacy Corporation fka RadioShack
Alton, Il 62002                                        3024      6/3/2015 Corporation                                                     $17.45                                                                                           $17.45
Missouri American Water
PO Box 578                                                                RS Legacy Corporation fka RadioShack
Alton, IL 62002                                        3025      6/3/2015 Corporation                                                     $64.33                                                                                           $64.33
Hewlett‐Packard Company
12610 Park Plaza Dr                                                       RS Legacy Corporation fka RadioShack
Cerritos, CA 90703                                     3026      6/4/2015 Corporation                                                      $0.00                                                                                            $0.00
NEW JERSEY AMERICAN WATER
PO Box 578                                                                RS Legacy Corporation fka RadioShack
Alton, IL 62002                                        3027      6/3/2015 Corporation                                                     $34.92                                                                                           $34.92
Illinois American Water
PO Box 578                                                                RS Legacy Corporation fka RadioShack
Alton, IL 62002                                        3028      6/3/2015 Corporation                                                     $54.33                                                                                           $54.33




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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
New Jersey American Water
PO Box 578                                                    RS Legacy Corporation fka RadioShack
Alton, IL 62002                            3029      6/3/2015 Corporation                                                     $18.70                                                                                           $18.70
West Virginia American Water
PO Box 578                                                    RS Legacy Corporation fka RadioShack
Alton, IL 62002                            3030      6/3/2015 Corporation                                                     $70.50                                                                                           $70.50
NEW JERSEY AMERICAN WATER
PO Box 578                                                    RS Legacy Corporation fka RadioShack
Alton, IL 62002                            3031      6/3/2015 Corporation                                                     $55.52                                                                                           $55.52
New Jersey American Water
PO Box 578                                                    RS Legacy Corporation fka RadioShack
Alton, IL 62002                            3032      6/3/2015 Corporation                                                     $23.08                                                                                           $23.08
New York American Water
PO Box 578                                                    RS Legacy Corporation fka RadioShack
Alton, IL 62002                            3033      6/3/2015 Corporation                                                     $53.37                                                                                           $53.37
Indiana American Water
PO Box 578                                                    RS Legacy Corporation fka RadioShack
Alton, IL 62002                            3034      6/3/2015 Corporation                                                     $47.93                                                                                           $47.93
Hyland Filter Service Owensboro, Inc.
PO Box 608                                                    RS Legacy Corporation fka RadioShack
Owensboro, KY 42302‐0608                   3035      6/4/2015 Corporation                                                $16,070.25                                                                                        $16,070.25
New Jersey American Water
PO Box 578                                                    RS Legacy Corporation fka RadioShack
Alton, IL 62002                            3036      6/3/2015 Corporation                                                     $30.76                                                                                           $30.76
Pennsylvania American Water
PO Box 578                                                    RS Legacy Corporation fka RadioShack
Alton, IL 62002                            3037      6/3/2015 Corporation                                                     $21.63                                                                                           $21.63
New Jersey American Water
PO Box 578                                                    RS Legacy Corporation fka RadioShack
Alton, IL 62002                            3038      6/3/2015 Corporation                                                     $33.27                                                                                           $33.27
INDIANA AMERICAN WATER
PO Box 578                                                    RS Legacy Corporation fka RadioShack
Alton, IL 62002                            3039      6/3/2015 Corporation                                                     $43.64                                                                                           $43.64
Wind, Robert
276 Warwick Ave                                               RS Legacy Corporation fka RadioShack
Teaneck, NJ 07666                          3040      6/4/2015 Corporation                                                     $10.70                                                                                           $10.70
New Jersey American Water
PO Box 578                                                    RS Legacy Corporation fka RadioShack
Alton, IL 62002                            3041      6/3/2015 Corporation                                                     $23.12                                                                                           $23.12
INDIANA AMERICAN WATER
PO BOX 578                                                    RS Legacy Corporation fka RadioShack
Alton, IL 62002                            3042      6/3/2015 Corporation                                                     $47.00                                                                                           $47.00
NEW YORK AMERICAN WATER
PO Box 578                                                    RS Legacy Corporation fka RadioShack
Alton, IL 62002                            3043      6/3/2015 Corporation                                                    $124.41                                                                                          $124.41
ILLINOIS AMERICAN WATER
PO Box 578                                                    RS Legacy Corporation fka RadioShack
Alton, IL 62002                            3044      6/3/2015 Corporation                                                     $69.80                                                                                           $69.80
Patel, Om
704 Heath Place                                               RS Legacy Corporation fka RadioShack
Smyrna, TN 37167                           3045      6/4/2015 Corporation                                                      $6.98                                                                                            $6.98




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            Creditor Name and Address       Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
Maui Electric Company, Ltd.
PO Box 398                                                       RS Legacy Corporation fka RadioShack
Kahului, HI 96733‐6898                        3046      6/4/2015 Corporation                                                  $3,862.11                                                                                        $3,862.11
INDIANA AMERICAN WATER
PO BOX 578                                                       RS Legacy Corporation fka RadioShack
Alton, IL 62002                               3047      6/3/2015 Corporation                                                     $22.92                                                                                           $22.92
NEW JERSEY AMERICAN WATER
PO Box 578                                                       RS Legacy Corporation fka RadioShack
Alton, IL 62002                               3048      6/3/2015 Corporation                                                     $33.58                                                                                           $33.58
Indiana American Water
PO Box 578                                                       RS Legacy Corporation fka RadioShack
Alton, IL 62002                               3049      6/3/2015 Corporation                                                     $26.51                                                                                           $26.51
New Jersey American Water
PO Box 578                                                       RS Legacy Corporation fka RadioShack
Alton, IL 62002                               3050      6/3/2015 Corporation                                                     $17.59                                                                                           $17.59
Pennsylvania American Water
PO Box 578                                                       RS Legacy Corporation fka RadioShack
Alton, IL 62002                               3051      6/3/2015 Corporation                                                     $43.50                                                                                           $43.50
NIATS REALTY CORPORATION
1345 POND LN                                                     RS Legacy Corporation fka RadioShack
HEWLETT HARBOR, NY 11557                      3052      6/4/2015 Corporation                                                $13,168.83                                                                                        $13,168.83
Pennsylvania American Water
PO Box 578                                                       RS Legacy Corporation fka RadioShack
Alton, IL 62002                               3053      6/3/2015 Corporation                                                     $19.71                                                                                           $19.71
NEW JERSEY AMERICAN WATER
PO Box 578                                                       RS Legacy Corporation fka RadioShack
Alton, IL                                     3054      6/3/2015 Corporation                                                     $57.04                                                                                           $57.04
Pennsylvania American Water
PO Box 578                                                       RS Legacy Corporation fka RadioShack
Alton, IL 62002                               3055      6/3/2015 Corporation                                                     $21.43                                                                                           $21.43
Jackson, Oliver
PO Box 123500                                                    RS Legacy Corporation fka RadioShack
Fort Worth, TX 76121‐3500                     3056      6/2/2015 Corporation                                                                                                                                 $0.00                 $0.00
Illinois American Water
PO Box 578                                                       RS Legacy Corporation fka RadioShack
Alton, IL 62002                               3057      6/3/2015 Corporation                                                     $97.49                                                                                           $97.49
Pennsylvania American Water
PO Box 578                                                       RS Legacy Corporation fka RadioShack
Alton, IL 62002                               3058      6/3/2015 Corporation                                                    $102.41                                                                                          $102.41
FOWLER, PAUL
18313 LEEDSTOWN WAY                                              RS Legacy Corporation fka RadioShack
OLNEY, MD 20832                               3059      6/2/2015 Corporation                                                      $0.00                                                                                            $0.00
NEW YORK AMERICAN WATER
PO Box 578                                                       RS Legacy Corporation fka RadioShack
Alton, IL 62002                               3060      6/3/2015 Corporation                                                     $26.82                                                                                           $26.82
Florence Mall L.L.C.
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties, Inc.
110 North Wacker Drive                                           RS Legacy Corporation fka RadioShack
Chicago, IL 60606                             3061      6/1/2015 Corporation                                                                                                                             $4,783.74             $4,783.74




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            Creditor Name and Address       Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
HEB GROCERY COMPANY LP
ATTN SHOPPING CENTER DEVELOPMENT
PO BOX 839955                                                    RS Legacy Corporation fka RadioShack
SAN ANTONIO, TX 78283                         3062      6/1/2015 Corporation                                                  $2,719.99                                                                                        $2,719.99
City of Fort Walton Beach
Attn: Customer Service
107 Miracle Strip Pkwy. SW                                       RS Legacy Corporation fka RadioShack
Fort Walton Beach, FL 32548                   3063      6/2/2015 Corporation                                                    $145.40                                                                                          $145.40
St. Cloud Mall L.L.C.
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties, Inc.
110 North Wacker Drive                                           RS Legacy Corporation fka RadioShack
Chicago, IL 60606                             3064      6/1/2015 Corporation                                                                                                                             $5,015.71             $5,015.71
Pennsylvania American Water
PO Box                                                           RS Legacy Corporation fka RadioShack
Alton, IL 62002                               3065      6/3/2015 Corporation                                                     $28.73                                                                                           $28.73
COLUMBIA MALL L.L.C.
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties, Inc.
110 NORTH WACKER DRIVE                                           RS Legacy Corporation fka RadioShack
CHICAGO, IL 60606                             3066      6/1/2015 Corporation                                                                                                                             $3,103.17             $3,103.17
Frodo Okulam and or Oku Lam Properties
N SLATER
C/O CSC COMMERCIAL
12036 SW Wilton AVE                                              RS Legacy Corporation fka RadioShack
Portland, OR 97223‐1667                       3067      6/2/2015 Corporation                                                      $0.00                                                                                            $0.00
TYLER MALL LIMITED PARTNERSHIP
c/o GGP Limited Partnership
110 NORTH WACKER DRIVE                                           RS Legacy Corporation fka RadioShack
CHICAGO, IL 60606                             3068      6/1/2015 Corporation                                                  $2,793.96                                                                                        $2,793.96
GGP‐TUCSON MALL L.L.C.
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties, Inc.
110 North Wacker Drive                                           RS Legacy Corporation fka RadioShack
CHICAGO, IL 60606                             3069      6/1/2015 Corporation                                                                                                                             $6,689.34             $6,689.34
City of Ephrata
Attn: Robert Thompson, Borough Manager
124 S State St                                                   RS Legacy Corporation fka RadioShack
Ephrata, PA 17522                             3070      6/2/2015 Corporation                                                    $950.22                                                   $16.76                                 $966.98
Global Inheritance
1855 Industrial Street, Suite 613                                RS Legacy Corporation fka RadioShack
Los Angeles, CA 90021                         3071      6/1/2015 Corporation                                                    $217.99                                                                                          $217.99
North Star Mall, LLC
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties
110 North Wacker Drive                                           RS Legacy Corporation fka RadioShack
Chicago, IL 60606                             3072      6/1/2015 Corporation                                                                                                                            $10,697.03            $10,697.03




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                                                                                                                                          Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address       Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
MONDAWMIN BUSINESS TRUST
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties
110 North Wacker Drive                                           RS Legacy Corporation fka RadioShack
Chicago, IL 60606                             3073      6/1/2015 Corporation                                                                                                                            $10,258.58            $10,258.58
Clackamas Mall L.L.C.
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties, Inc.
110 North Wacker Drive                                           RS Legacy Corporation fka RadioShack
Chicago, IL 60606                             3074      6/1/2015 Corporation                                                                                                                             $7,429.71             $7,429.71
Tennessee American Water
PO Box 578                                                       RS Legacy Corporation fka RadioShack
Alton, IL 62002                               3075      6/3/2015 Corporation                                                     $30.52                                                                                           $30.52
COMMERCIAL MANAGEMENT SERVICES LLC
PO BOX 1390                                                      RS Legacy Corporation fka RadioShack
KNOXVILLE, TN 37901‐1390                      3076      6/3/2015 Corporation                                                  $3,152.24                                                                                        $3,152.24
BOX COMPANY.COM
263 MERRITT AVE                                                  RS Legacy Corporation fka RadioShack
WHEATLEY HEIGHTS, NY 11798                    3077      6/3/2015 Corporation                                                  $4,260.00                                                                                        $4,260.00
Virginia American Water
PO Box 578                                                       RS Legacy Corporation fka RadioShack
Alton, IL 62002                               3078      6/3/2015 Corporation                                                     $62.99                                                                                           $62.99
Missouri American Water
PO Box 578                                                       RS Legacy Corporation fka RadioShack
Alton, IL 62002                               3079      6/3/2015 Corporation                                                     $40.92                                                                                           $40.92
CALIFORNIA AMERICAN WATER
PO Box 578                                                       RS Legacy Corporation fka RadioShack
Alton, IL 62002                               3080      6/3/2015 Corporation                                                     $69.62                                                                                           $69.62
Graves, Yan
831 15th Ave                                                     RS Legacy Corporation fka RadioShack
Menlo Park, CA 94025                          3081      6/4/2015 Corporation                                                    $180.00                                                                                          $180.00
Pennsylvania American Water
PO Box 578                                                       RS Legacy Corporation fka RadioShack
Alton, IL 62002                               3082      6/3/2015 Corporation                                                     $49.33                                                                                           $49.33
Pennsylvania American Water
PO Box 578                                                       RS Legacy Corporation fka RadioShack
Alton, IL 62002                               3083      6/3/2015 Corporation                                                     $34.84                                                                                           $34.84
West Virginia American Water
PO Box 578                                                       RS Legacy Corporation fka RadioShack
Alton, IL 62002                               3084      6/3/2015 Corporation                                                     $66.47                                                                                           $66.47
Missouri American Water
PO Box 578                                                       RS Legacy Corporation fka RadioShack
Alton, IL 62002                               3085      6/3/2015 Corporation                                                     $41.22                                                                                           $41.22
West Virginia American Water
PO Box 578                                                       RS Legacy Corporation fka RadioShack
Alton, IL 62002                               3086      6/3/2015 Corporation                                                     $73.89                                                                                           $73.89
Leach, Katie M.
953 Norman St.                                                   RS Legacy Corporation fka RadioShack
Weatherly, PA 18255                           3087      6/4/2015 Corporation                                                     $75.00                                                                                           $75.00




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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
May, Melanie
50 Anona Drive                                                RS Legacy Corporation fka RadioShack
Upper Saddle River, NJ 07458               3088      6/5/2015 Corporation                                                     $25.00                                                                                           $25.00
Kentucky Oaks Mall Company
Richard T. Davis, Asst. Counsel
2445 Belmont Avenue
PO Box 2186                                                   RS Legacy Corporation fka RadioShack
Youngstown, OH 44504‐0186                  3089      6/4/2015 Corporation                                                                                                                             $3,423.78             $3,423.78
Gomma, Khaled
100 glenwood Ave Apt E2                                       RS Legacy Corporation fka RadioShack
Jersey City , NJ 07306                     3090      6/4/2015 Corporation                                                     $50.00                                                                                           $50.00
Bowman, Johann
3948 South 3rd Street #58                                     RS Legacy Corporation fka RadioShack
Jacksonville Beach, FL 32250               3091      6/5/2015 Corporation                                                    $100.00                                                                                          $100.00
Piedmont Associates LLC
651 Morris Turnpike                                           RS Legacy Corporation fka RadioShack
Springfield, NJ 07081                      3092      6/4/2015 Corporation                                                    $216.00                                                                                          $216.00
Paine, David A.
23 Prospect Street                                            RS Legacy Corporation fka RadioShack
North Attleboro, MA 02760                  3093      6/4/2015 Corporation                                                     $46.73                                                                                           $46.73
KENERGY CORP
Christopher Hopgood ‐ Attorney
318 2nd St                                                    RS Legacy Corporation fka RadioShack
Henderson, KY 42420                        3094      6/4/2015 Corporation                                                    $855.97                                                                                          $855.97
Mattson, Karen
2082 Swede Lake Road                                          RS Legacy Corporation fka RadioShack
Cromwell, MN 55726                         3095      6/4/2015 Corporation                                                                                                             $200.00                                 $200.00
DAVID KHEDR TRUSTEE
KHEDR FAMILY TRUST
1242 THIRD ST PROMENADE SUITE 206                             RS Legacy Corporation fka RadioShack
SANTA MONICA, CA 90401                     3096      6/3/2015 Corporation                                                      $0.00                                                                                            $0.00
Eckart, James
10288 Beggs Ln Brooksville                                    RS Legacy Corporation fka RadioShack
, FL 34601                                 3097      6/4/2015 Corporation                                                      $4.78                                                                                            $4.78
Dye, Gary A
S53 W31115 Old Village Road                                   RS Legacy Corporation fka RadioShack
Mukwonago, WI 53149                        3098      6/4/2015 Corporation                                                     $26.26                                                                                           $26.26
300 West Salt Lake LLC
Miller Real Estate Investments LLC
Attn: Mike Smith
7100 East Belleview Avenue, Suite 309                         RS Legacy Corporation fka RadioShack
Greenwood Village, CO 80111                3099      6/4/2015 Corporation                                                $77,239.38                                                                                        $77,239.38
Kinetic Social LLC
Taft Stettinius & Hollister LLP
Attn: Casey Cantrell Swartz
425 Walnut St., Suite 1800                                    RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                       3100      6/4/2015 Corporation                                               $553,655.40                                                                                       $553,655.40
Lasewicz, Mari Kaye
327 East 25th St.                                             RS Legacy Corporation fka RadioShack
Houston, TX 77008                          3101      6/4/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                         Current General                                            Current 503(b)(9)
                                                                                                                                               Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address            Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
Frontier St. Lucie West Two, LLLP
c/o Ronald Page, PLC
PO Box 73524                                                          RS Legacy Corporation fka RadioShack
Richmond, VA 23235                                 3102      6/4/2015 Corporation                                                  $5,404.29                                                                                        $5,404.29
City of Golden
Sales Tax Division
911 10th St.                                                          RS Legacy Corporation fka RadioShack
Golden, CO 80401                                   3103      6/5/2015 Corporation                                                                         $0.00                                                                         $0.00
Lasewicz, Mari Kaye
327 East 25th St.                                                     RS Legacy Corporation fka RadioShack
Houston, TX 77008                                  3104      6/4/2015 Corporation                                                      $0.00                                                                                            $0.00
DONAHUE SCHRIBER REALTY GROUP
c/o Trainor Fairbrook
Attn: Jennifer L. Pruski
980 Fulton Avenue                                                     RS Legacy Corporation fka RadioShack
Sacramento, CA 95825                               3105      6/4/2015 Corporation                                                                                                                                 $0.00                 $0.00
Frontier Communications
Bankruptcy Dept
19 John St                                                            RS Legacy Corporation fka RadioShack
Middletown, NY 10940                               3106      6/4/2015 Corporation                                                      $0.00                                                                                            $0.00
Prenizny, Lorraine
2189 Lincolnwood Rd                                                   RS Legacy Corporation fka RadioShack
Schererville, IN 46375                             3107      6/4/2015 Corporation                                                     $79.14                                                                                           $79.14
GB Mall Limited Partnership
Marc "Kap" Kapastin, General Counsel
4912 Del Ray Ave                                                      RS Legacy Corporation fka RadioShack
Bethesda, MD 20814                                 3108      6/4/2015 Corporation                                                      $0.00                                                                                            $0.00
ALBI LYNNWOOD INVESTMENT, LLC
C/O DOLMAR, INC.
433 NORTH CAMDEN DRIVE, SUITE 500                                     RS Legacy Corporation fka RadioShack
BEVERLY HILLS, CA 90210                            3109      6/4/2015 Corporation                                                $14,157.70                                                                                        $14,157.70
The Marion Plaza, Inc., dba Eastwood Mall
2445 Belmont Avenue
PO Box 2186                                                           RS Legacy Corporation fka RadioShack
Youngstown, OH 44504‐0186                          3110      6/4/2015 Corporation                                                    $547.52                                                                  $2,737.60             $3,285.12
GOVERNOR'S SQUARE COMPANY
Richard T. Davis, Asst. Counsel
2445 BELMONT AVENUE
P O BOX 2186                                                          RS Legacy Corporation fka RadioShack
YOUNGSTOWN, OH 44504‐0186                          3111      6/4/2015 Corporation                                                                                                                                 $0.00                 $0.00
JIM LAABS MUSIC
928 MAIN ST                                                           RS Legacy Corporation fka RadioShack
STEVENS POINT, WI 54481                            3112      6/4/2015 Corporation                                                $10,189.62                                                                                        $10,189.62
Hyland Filter Service Owensboro, Inc.
PO Box 608                                                            RS Legacy Corporation fka RadioShack
Owensboro, KY 42302                                3113      6/5/2015 Corporation                                                      $0.00                                                                                            $0.00

Linton Delray, LLC
David M. Blau, Esq., Attorney/Authorized Agent
Clark Hill PLC
151 S. Old Woodward Ave., Ste. 200                                    RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                               3114      6/4/2015 Corporation                                                $19,077.78               $0.00                                                                    $19,077.78



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                                                                                                                          Current General                                             Current 503(b)(9)
                                                                                                                                                Current Priority    Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address             Claim No.   Claim Date                   Debtor                         Unsecured Claim                                              Admin Priority
                                                                                                                                                 Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                      Amount
Miller, Howard A
7052 Del Norte Dr                                                      RS Legacy Corporation fka RadioShack
Goleta, CA 93117                                    3115      6/4/2015 Corporation                                                                        $64.79                                                                         $64.79
Smego, Shirley J
4709 Holiday Lane E                                                    RS Legacy Corporation fka RadioShack
N Richland Hills, TX 76180                          3116      6/4/2015 Corporation                                                                     $12,475.00                                                                    $12,475.00
Desai, Devshri
23 Dean Street                                                         RS Legacy Corporation fka RadioShack
Hicksville, NY 11801                                3117      6/4/2015 Corporation                                                      $0.00                                                                                             $0.00
Bertuccio, John
Lamonica Herbst & Maniscalco LLP
3305 Jerusalem Avenue
Attn: Nicholas C. Rigano, Esq.                                         RS Legacy Corporation fka RadioShack
Wantagh, NY 11793                                   3118      6/4/2015 Corporation                                                $20,675.00                                                                                         $20,675.00
Frederick Shopping Center, LLC
c/o Laurence H. Berbert
Bregman, Berbert, Schwartz & Gilday, LLC
7315 Wisconsin Avenue
Suite 800 West                                                         RS Legacy Corporation fka RadioShack
Bethesda, MD 20814                                  3119      6/4/2015 Corporation                                                                                                                              $5,469.76             $5,469.76
EAGLES NEST PROPERTY LLC
PO BOX 5010                                                            RS Legacy Corporation fka RadioShack
HUNTINGTON BEACH, CA 92615                          3120      6/4/2015 Corporation                                                $24,599.79                                                                                         $24,599.79

Cafaro Management Company, dba Millcreek Mall
Richard T. Davis, Asst. Counsel
2445 BELMONT AVENUE
P O BOX 2186                                                           RS Legacy Corporation fka RadioShack
YOUNGSTOWN, OH 44504                                3121      6/4/2015 Corporation                                                                                                                              $2,744.77             $2,744.77
The Cafaro Northwest partnership dba South Hill
Mall
2445 BELMONT AVENUE
PO Box 2186                                                            RS Legacy Corporation fka RadioShack
YOUNGSTOWN, OH 44504‐0186                           3122      6/4/2015 Corporation                                                                                                                              $4,440.20             $4,440.20
DecisionQuest, Inc.
21535 Hawthorne Blvd.
Suite 310                                                              RS Legacy Corporation fka RadioShack
Torrance, CA 90503                                  3123      6/4/2015 Corporation                                                $81,205.79                                                                                         $81,205.79
EDENNIS PROPERTY LLC
PO BOX 5010                                                            RS Legacy Corporation fka RadioShack
HUNTINGTON BEACH, CA 92615                          3124      6/4/2015 Corporation                                                $10,478.77                                                                                         $10,478.77
MAPLEWOOD PLAZA
C/O CITIZEN NATIONAL BANK
PO BOX 324                                                             RS Legacy Corporation fka RadioShack
LIMA, OH 45802                                      3125      6/4/2015 Corporation                                                  $5,522.12               $0.00                                                                     $5,522.12
Kray, David
4618 Roxbury Road                                                      RS Legacy Corporation fka RadioShack
Corona Del Mar, CA 92625                            3126      6/4/2015 Corporation                                                                                                               $67.44                                  $67.44
Bennett, Novey
917 Greene Avenue #4B                                                  RS Legacy Corporation fka RadioShack
Brooklyn, NY 11221                                  3127      6/4/2015 Corporation                                                     $16.25                                                                                            $16.25




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            Creditor Name and Address                 Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
THE SFVS COMPANY LLC
C/O DOLMAR, INC.
433 N. CAMDEN DR.; STE 500                                                 RS Legacy Corporation fka RadioShack
BEVERLY HILLS, CA 90210                                 3128      6/4/2015 Corporation                                                   $2,932.00                                                                                        $2,932.00
Edington, Rodney
14002 Upton Rd                                                             RS Legacy Corporation fka RadioShack
Windsor, MO 65360                                       3129      6/4/2015 Corporation                                                      $80.00                                                                                           $80.00
Drucker, Leonard M
1717 12th Ave S
Lot F9                                                                     RS Legacy Corporation fka RadioShack
Lake Worth, FL 33460                                    3130      6/4/2015 Corporation                                                                      $6,448.82                                                                     $6,448.82
Mechura, Diana
14268 Linden Rd.                                                           RS Legacy Corporation fka RadioShack
Clio, MI 48420                                          3131      6/4/2015 Corporation                                                      $60.00                                                                                           $60.00

Hewlett‐Packard Company
Attn: Default Recovery Analyst‐Credit & Collections
Mail Stop 060400
11445 Compaq Center Dr. W                                                  RS Legacy Corporation fka RadioShack
Houston , TX 77070                                      3132      6/4/2015 Corporation                                                   $7,579.84                                                                                        $7,579.84

HULU LLC
Greenberg Glusker Fields Claman & Machtinger LLP
c/o Jeffrey Krieger
1900 Avenue of the Stars, 21st Floor                                       RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067                                   3133      6/4/2015 Corporation                                                 $97,000.01                                                                                        $97,000.01
MISSOURI AMERICAN WATER
PO Box 578                                                                 RS Legacy Corporation fka RadioShack
Alton, IL 62002                                         3134      6/3/2015 Corporation                                                      $18.38                                                                                           $18.38
IOWA AMERICAN WATER
PO Box 578                                                                 RS Legacy Corporation fka RadioShack
Alton, IL 62002                                         3135      6/3/2015 Corporation                                                      $15.71                                                                                           $15.71
Tennessee American Water
PO Box 578                                                                 RS Legacy Corporation fka RadioShack
Alton, IL 62002                                         3136      6/3/2015 Corporation                                                      $19.84                                                                                           $19.84
Pennsylvania American Water
PO Box 578                                                                 RS Legacy Corporation fka RadioShack
Alton, IL 62002                                         3137      6/3/2015 Corporation                                                      $45.93                                                                                           $45.93
Pennsylvania American Water
PO Box 578                                                                 RS Legacy Corporation fka RadioShack
Alton, IL 62002                                         3138      6/3/2015 Corporation                                                      $38.68                                                                                           $38.68
CALIFORNIA AMERICAN WATER
PO Box 578                                                                 RS Legacy Corporation fka RadioShack
Alton, IL 62002                                         3139      6/3/2015 Corporation                                                      $87.99                                                                                           $87.99
Nikoui, Neda
12120 Wexford Club Drive                                                   RS Legacy Global Sourcing Corporation fka
Roswell, GA 30075                                       3140      6/5/2015 RadioShack Global Sourcing Corporation                                             $50.00              $0.00                                                      $50.00
Wright, Tammy Annette
633 Jefferson ST NE                                                        RS Legacy Corporation fka RadioShack
Washington, DC 20011                                    3141      6/5/2015 Corporation                                                                       $400.00                                                                        $400.00




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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
CENTER POINT L.P.
c/o Stephen B. Porterfield
Sirote & Permutt, P.C.
2311 Highland Avenue South                                    RS Legacy Corporation fka RadioShack
BIRMINGHAM, AL 35205                       3142      6/3/2015 Corporation                                                                                                                             $1,254.85             $1,254.85
Tennessee American Water
PO Box 578                                                    RS Legacy Corporation fka RadioShack
Alton, IL 62002                            3143      6/3/2015 Corporation                                                     $76.01                                                                                           $76.01
INDIANA AMERICAN WATER
PO Box 578                                                    RS Legacy Corporation fka RadioShack
Alton, IL 62002                            3144      6/3/2015 Corporation                                                     $19.68                                                                                           $19.68
Virginia American Water
PO Box 578                                                    RS Legacy Corporation fka RadioShack
Alton, IL 62002                            3145      6/3/2015 Corporation                                                     $53.03                                                                                           $53.03
Tennessee American Water
PO Box 578                                                    RS Legacy Corporation fka RadioShack
Alton, IL 62002                            3146      6/3/2015 Corporation                                                     $29.42                                                                                           $29.42
BOX COMPANY.COM
263 MERRITT AVE                                               RS Legacy Corporation fka RadioShack
WHEATLEY HEIGHTS, NY 11798                 3147      6/3/2015 Corporation                                                                                                                                 $0.00                 $0.00
Missouri American Water
PO Box 578                                                    RS Legacy Corporation fka RadioShack
Alton, IL 62002                            3148      6/3/2015 Corporation                                                     $31.92                                                                                           $31.92
California American Water
PO Box 578                                                    RS Legacy Corporation fka RadioShack
Alton, IL 62002                            3149      6/3/2015 Corporation                                                     $21.59                                                                                           $21.59
City of Bowling Green, Ohio
Michael J Marsh
City Attorney
304 N. Church St                                              RS Legacy Corporation fka RadioShack
Bowling Green, OH 45402                    3150      6/2/2015 Corporation                                                                                                                                $97.06                $97.06
Tennessee American Water
PO Box 578                                                    RS Legacy Corporation fka RadioShack
Alton, IL 62002                            3151      6/3/2015 Corporation                                                     $81.68                                                                                           $81.68
Missouri American Water
PO Box 578                                                    RS Legacy Corporation fka RadioShack
Alton, IL 62002                            3152      6/3/2015 Corporation                                                     $18.29                                                                                           $18.29
Illinois American Water
PO Box 578                                                    RS Legacy Corporation fka RadioShack
Alton, IL 62002                            3153      6/3/2015 Corporation                                                     $88.99                                                                                           $88.99
CENTER POINT L.P.
c/o Stephen B. Porterfield
Sirote & Permutt, P.C.
2311 Highland Avenue South                                    RS Legacy Corporation fka RadioShack
BIRMINGHAM, AL 35205                       3154      6/3/2015 Corporation                                                $18,470.97                                                                                        $18,470.97
Pennsylvania American Water
PO Box 578                                                    RS Legacy Corporation fka RadioShack
Alton, IL 62002                            3155      6/3/2015 Corporation                                                     $39.28                                                                                           $39.28
Illinois American Water
PO Box 578                                                    RS Legacy Corporation fka RadioShack
Alton, IL 62002                            3156      6/3/2015 Corporation                                                     $59.18                                                                                           $59.18




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                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
Virginia American Water
PO Box 578                                                       RS Legacy Corporation fka RadioShack
Alton, IL 62002                               3157      6/3/2015 Corporation                                                     $52.41                                                                                           $52.41
Tennessee American Water
PO Box 578                                                       RS Legacy Corporation fka RadioShack
Alton, IL 62002                               3158      6/3/2015 Corporation                                                     $25.22                                                                                           $25.22
Parks At Arlington, LLC
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties, Inc.
110 North Wacker Drive                                           RS Legacy Corporation fka RadioShack
CHICAGO, IL 60606                             3159      6/1/2015 Corporation                                                                                                                             $9,840.51             $9,840.51
Independence Center NewCo, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                        RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                            3160      6/2/2015 Corporation                                                                                                                             $4,837.79             $4,837.79
Sangertown Square, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                        RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                            3161      6/2/2015 Corporation                                                  $3,232.71                                                                                        $3,232.71
MONDAWMIN BUSINESS TRUST
c/o GGP Limited Partnership
110 NORTH WACKER DRIVE                                           RS Legacy Corporation fka RadioShack
Chicago , IL 60606                            3162      6/1/2015 Corporation                                               $122,121.17                                                                                       $122,121.17
JPMG MANASSAS MALL OWNER LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                        RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                            3163      6/2/2015 Corporation                                                    $173.31                                                                                          $173.31
Holyoke Mall Company, L.P.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                        RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                            3164      6/2/2015 Corporation                                                                                                                             $7,083.33             $7,083.33
Independence Center NewCo, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                        RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                            3165      6/2/2015 Corporation                                                $16,644.68                                                                                        $16,644.68
GGP‐Maine Mall L.L.C.
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties, Inc.
110 North Wacker Drive                                           RS Legacy Corporation fka RadioShack
Chicago, IL 60606                             3166      6/1/2015 Corporation                                                                                                                            $14,118.41            $14,118.41



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            Creditor Name and Address       Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
Kalamazoo Mall L.L.C.
C/O GGP Limited Partnership
110 NORTH WACKER DRIVE                                           RS Legacy Corporation fka RadioShack
Chicago, IL 60606                             3167      6/1/2015 Corporation                                                $87,323.23                                                                                        $87,323.23
Jaeger, Margaret
74072 St Hwy 77                                                  RS Legacy Corporation fka RadioShack
Mellen, WI 54546                              3168      6/5/2015 Corporation                                                    $100.00                                                                                          $100.00
Independence Center NewCo, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                        RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                            3169      6/2/2015 Corporation                                                    $966.22                                                                                          $966.22
GGP‐NEWGATE MALL INC.
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties, Inc.
110 North Wacker Drive                                           RS Legacy Corporation fka RadioShack
CHICAGO, IL 60606                             3170      6/1/2015 Corporation                                                                                                                             $7,619.44             $7,619.44
Faith D. Towle c/o Davis & Ferber, LLP
1345 Motor Parkway                                               RS Legacy Corporation fka RadioShack
Islandia, NY 11749                            3171      6/5/2015 Corporation                                                      $0.00                                                                                            $0.00
Maples, Christine
69185 San Helena Ave                                             RS Legacy Corporation fka RadioShack
Cathedral City , CA 92234                     3172      6/5/2015 Corporation                                                     $29.67                                                                                           $29.67
Boykin, Sharon
421 Gunther Drive                                                RS Legacy Corporation fka RadioShack
Darlington, SC 29532‐3662                     3173      6/5/2015 Corporation                                                     $46.43                                                                                           $46.43
Hughes , J. Louis
21876 Benton Rd                                                  RS Legacy Corporation fka RadioShack
McSick, MI 49668                              3174      6/5/2015 Corporation                                                     $15.89                                                                                           $15.89
Passarello, Carol
10 East Pond Lane                                                RS Legacy Corporation fka RadioShack
Eastport, NY 11941                            3175      6/5/2015 Corporation                                                    $120.00                                                                                          $120.00
Claim Docketed In Error                                          RS Legacy Corporation fka RadioShack
                                              3176      6/5/2015 Corporation                                                                                                                                                       $0.00
Rubab, Shahida
16 TracyAlan way                                                 RS Legacy Corporation fka RadioShack
Revere, MA 02151                              3177      6/5/2015 Corporation                                                     $25.00                                                                                           $25.00
COLUMBIA COUNTY TAX COLLECTOR
135 NE HERNANDO AVE STE 125                                      RS Legacy Corporation fka RadioShack
LAKE CITY, FL 32055                           3178      6/5/2015 Corporation                                                                                         $412.42                                                     $412.42
Frontier Madison Heights, LLC
c/o Ronald Page, PLC
PO Box 73524                                                     RS Legacy Corporation fka RadioShack
Richmond, VA 23235                            3179      6/5/2015 Corporation                                                $83,201.00                                                                                        $83,201.00
CITY OF YUKON
PO BOX 850500                                                    RS Legacy Corporation fka RadioShack
YUKON, OK 73085                               3180      6/5/2015 Corporation                                                    $344.84                                                                                          $344.84
Lambert, June
5625 Stone Meadow Lane                                           RS Legacy Corporation fka RadioShack
Fort Worth, TX 76179                          3181      6/5/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00



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            Creditor Name and Address           Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
Horne, Shannon
1254 Wisconsin Dr                                                    RS Legacy Corporation fka RadioShack
Naples , FL 34103                                 3182      6/5/2015 Corporation                                                    $105.99                                                                                          $105.99
Truckey, Sherryll
3100 Heritage Road                                                   RS Legacy Corporation fka RadioShack
De Pere, WI 54115                                 3183      6/5/2015 Corporation                                                                         $0.00                                                                         $0.00
Bear Lake Outfitters, L.L.C.
Harold C. Cheirrett, Member
928 WASHINGTON ST.                                                   RS Legacy Corporation fka RadioShack
MONTPELIER, ID 83254                              3184      6/5/2015 Corporation                                               $250,000.00                                                                                       $250,000.00
Wilson, Andrea
2609 Quail Ridge Ct                                                  RS Legacy Corporation fka RadioShack
Stillwater, OK 74074                              3185      6/5/2015 Corporation                                                                                                              $84.00                                  $84.00
Hackney, Alisha
27160 Birch Manor Circle                                             RS Legacy Corporation fka RadioShack
Mechanicsville, MD 20659                          3186      6/7/2015 Corporation                                                     $63.85                                                                                           $63.85
Power, Daniel
2995 Trousdale Dr                                                    RS Legacy Corporation fka RadioShack
Burlingame, CA 94010                              3187      6/7/2015 Corporation                                                     $50.00                                                                                           $50.00
Team Radio
Bill Coleman
102 E. Grand Ave                                                     RS Legacy Corporation fka RadioShack
Ponca City, OK 74601                              3188      6/5/2015 Corporation                                                                                                               $0.00                                   $0.00
ALGONQUIN WOODSCREEK PARTNERS LLC
Kathy Garazin Controller
2150 E. LAKE COOK ROAD, SUITE 320                                    RS Legacy Corporation fka RadioShack
BUFFALO GROVE, IL 60089                           3189      6/5/2015 Corporation                                                  $8,157.26                                                                 $11,983.75            $20,141.01
Reed Smith LLP
101 Second Street                                                    RS Legacy Corporation fka RadioShack
San Francisco, CA 94105                           3190      6/5/2015 Corporation                                               $184,527.45                                                                                       $184,527.45
Notarantonio, David
132r Waterman Avenue                                                 RS Legacy Corporation fka RadioShack
North Providence, RI 02911                        3191      6/5/2015 Corporation                                                                                                               $0.00                                   $0.00
Lu, Yulanda
1083 Shell Blvd. #12                                                 RS Legacy Corporation fka RadioShack
Foster City, CA 94404                             3192      6/5/2015 Corporation                                                    $140.70                                                                                          $140.70
JRJ CROSSING, LLC
Shannon Herber as agent for JRJ Crossing, LLC
600 WASHINGTON AVENUE
SUITE 560                                                            RS Legacy Corporation fka RadioShack
ST LOUIS, MO 63101                                3193      6/5/2015 Corporation                                                $12,299.38                                                                   $6,319.51            $18,618.89
Cruz, Illenys Martinez
319 B JEFFREY RD                                                     RS Legacy Corporation fka RadioShack
Willimantic, CT 06226                             3194      6/5/2015 Corporation                                                      $0.00                                                                                            $0.00
Southgate Plaza 93, LTD
Alan Roeder
J. Herzog and Sons, Inc.
1720 South ‐ Bellaire St., Suite 1209                                RS Legacy Corporation fka RadioShack
Denver, CO 80222                                  3195      6/5/2015 Corporation                                                                                                                                 $0.00                 $0.00




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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
SanDisk Corporation
O'Melveny & Myers LLP
Attn: Suzzanne Uhland
Two Embarcadero Center, 28th Floor                            RS Legacy Corporation fka RadioShack
San Francisco, CA 95035‐7932               3196      6/5/2015 Corporation                                             $2,801,080.92                                                                                     $2,801,080.92
McIntosh, Laurie Shirley
18 Lexington Close
Lacombe, AB T4L 2J3                                           RS Legacy Corporation fka RadioShack
Canada                                     3197      6/5/2015 Corporation                                                    $500.00                                                                                          $500.00
Diviney, Jada M
6733 Sea Turtle Way                                           RS Legacy Corporation fka RadioShack
Fort Worth, TX 76135                       3198      6/5/2015 Corporation                                                      $0.00                                                                                            $0.00
SOUTHGATE PLAZA 93, LTD
C/O J.HERZOG & SONS, INC.
1720 SOUTH BELLAIRE STREET, SUITE 1209                        RS Legacy Corporation fka RadioShack
DENVER, CO 80222                           3199      6/5/2015 Corporation                                                      $0.00                                                                                            $0.00
SANDUSKY MALL COMPANY
Richard T. Davis, Asst. Counsel
2445 BELMONT AVENUE
PO BOX 2186                                                   RS Legacy Corporation fka RadioShack
YOUNGSTOWN, OH 44504‐0186                  3200      6/4/2015 Corporation                                                                                                                             $2,649.60             $2,649.60
MEADOWBROOK MALL COMPANY
Richard T. Davis, Asst. Counsel
2445 BELMONT AVENUE
PO BOX 2186                                                   RS Legacy Corporation fka RadioShack
YOUNGSTOWN, OH 44504‐0186                  3201      6/4/2015 Corporation                                                                                                                             $7,147.44             $7,147.44
SEYFARTH SHAW LLP
3807 COLLECTIONS CENTER DRIVE                                 RS Legacy Corporation fka RadioShack
CHICAGO, IL 60693                          3202      6/5/2015 Corporation                                                $13,236.16                                                                                        $13,236.16
Shirley Smego
4709 Holiday Lane E                                           RS Legacy Corporation fka RadioShack
N Richland Hills, TX 76180                 3203      6/5/2015 Corporation                                                                         $0.00                                                                         $0.00
Olguin, Rosa M
1010 Woodland Ave.                                            RS Legacy Customer Service LLC fka RadioShack
Sanford, NC 27330                          3204      6/5/2015 Customer Service LLC                                            $40.00                                                                                           $40.00
Valente, Christine
46 Low Ln                                                     RS Legacy Corporation fka RadioShack
Levittown, NY 11756                        3205      6/5/2015 Corporation                                                     $43.44                                                                                           $43.44
Kale Realty Corp.
125 Dolson Ave
Suite 22                                                      RS Legacy Corporation fka RadioShack
Middletown, NY 10940                       3206      6/5/2015 Corporation                                                                                                               $0.00                                   $0.00
McWhorter, Robert
Vita McWhorter
2917 E Ashby Drive                                            RS Legacy Corporation fka RadioShack
St. George, UT 84790                       3207      6/4/2015 Corporation                                                      $0.00                                                                                            $0.00
Navex Global, Inc.
6000 Meadows Road
Suite 200                                                     RS Legacy Corporation fka RadioShack
Lake Oswego, OR 97035                      3208      6/5/2015 Corporation                                                $45,650.48                                                                                        $45,650.48




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                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
TGT Realty Co.
Attn: Jim Totaro
391 Grand Ave., Suite One                                             RS Legacy Corporation fka RadioShack
Englewood, NJ 07631                                3209      6/5/2015 Corporation                                                  $4,603.85              $0.00                                                                     $4,603.85

New York City Department of Consumer Affairs
Attn.: Mitchell B. Nisonoff, Assistant General
Counsel, 1st Floor
42 Broadway                                                           RS Legacy Corporation fka RadioShack
New York, NY 10004                                 3210      6/5/2015 Corporation                                                    $350.00                                                                                          $350.00
Hamack, Harley
375 Heathcliff Drive                                                  RS Legacy Corporation fka RadioShack
Pacifica, CA 94044                                 3211      6/5/2015 Corporation                                                                                                                                 $0.00                 $0.00
T.G.T. REALTY CO.
391 GRAND AVENUE
SUITE 1                                                               RS Legacy Corporation fka RadioShack
ENGLEWOOD, NJ 07631                                3212      6/5/2015 Corporation                                                                         $0.00                                                                         $0.00
Essex Media Group, dba. The Daily Item
Susan Conti
110 Munroe St.                                                        RS Legacy Corporation fka RadioShack
Lynn, MA 01901                                     3213      6/5/2015 Corporation                                                    $484.00                                                                                          $484.00
Rampersaus, Pramrajie
114‐24 149th Street                                                   RS Legacy Corporation fka RadioShack
Jamaica, NY 11436                                  3214      6/5/2015 Corporation                                                     $65.00                                                                                           $65.00
Graziani, JoAnn
89 Nostrand Ave                                                       RS Legacy Corporation fka RadioShack
Port Jefferson Station, NY 11776                   3215      6/5/2015 Corporation                                                     $86.89                                                                                           $86.89

New York City Department of Consumer Affairs
Attn.: Mitchell B. Nisonoff, Assistant General
Counsel, 1st Floor
42 Broadway                                                           RS Legacy Corporation fka RadioShack
New York, NY 10004                                 3216      6/5/2015 Corporation                                                    $500.00                                                                                          $500.00
Capital Collections, LLC
Steven R. Hrdlicka, Attorney at Law
1221 Van Ness
2nd Floor                                                             RS Legacy Corporation fka RadioShack
Fresno, CA 93721                                   3217      6/5/2015 Corporation                                                  $2,998.15                                                                                        $2,998.15
Ireland Tallahassee, Ltd.
David N. Stern, Esq.
Frank Weinberg & Black, P.L.
1875 Corporate Blvd., Suite 100                                       RS Legacy Corporation fka RadioShack
Boca Raton, FL 33431                               3218      6/3/2015 Corporation                                                  $5,800.70                                                                                        $5,800.70
California American Water
PO Box 578                                                            RS Legacy Corporation fka RadioShack
Alton, IL 62002                                    3219      6/3/2015 Corporation                                                     $45.69                                                                                           $45.69
Peachtree Mall L.L.C.
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties
110 North Wacker Drive                                                RS Legacy Corporation fka RadioShack
Chicago, IL 60606                                  3220      6/1/2015 Corporation                                                                                                                             $5,827.55             $5,827.55



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                                                                                                                                               Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address            Claim No.   Claim Date                    Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
Salem Utilities Department
231 S. Broadway Ave                                                   RS Legacy Corporation fka RadioShack
Salem, OH 44460                                    3221      6/5/2015 Corporation                                                      $0.00                                                                                            $0.00
Friedman, Robert
7 Amherst Rd                                                          RS Legacy Corporation fka RadioShack
Waban, MA 02468                                    3222      6/8/2015 Corporation                                                     $31.86                                                                                           $31.86
CRESTVIEW S C INC
C/O SABRE REALTY MANAGEMENT INC
16475 DALLAS PKWY STE 800                                             RS Legacy Corporation fka RadioShack
ADDISON, TX 75001                                  3223      6/4/2015 Corporation                                                  $1,158.03                                                                                        $1,158.03
Frodo Okulam and or Oku Lam Properties
N SLATER
C/O CSC COMMERCIAL
12036 SW Wilton AVE                                                   RS Legacy Corporation fka RadioShack
Portland, OR 97223‐1667                            3224      6/5/2015 Corporation                                                  $9,471.66                                                                                        $9,471.66
HUNTINGTON MALL COMPANY
Richard T. Davis, Asst. Counsel
2445 BELMONT AVENUE
PO BOX 2186                                                           RS Legacy Corporation fka RadioShack
YOUNGSTOWN, OH 44501‐0168                          3225      6/4/2015 Corporation                                                    $184.98                                                                  $2,258.00             $2,442.98
FRENCHTOWN SQUARE PARTNERSHIP, DBA THE
MALL OF MONROE
Richard T. Davis, Asst. Counsel
2445 BELMONT AVENUE
P O BOX 2186                                                          RS Legacy Corporation fka RadioShack
YOUNGSTOWN, OH 44504‐0186                          3226      6/4/2015 Corporation                                                  $1,243.88                                                                  $4,923.82             $6,167.70
THE MALL IN COLUMBIA BUSINESS TRUST
c/o GGP Limited Partnership
110 North Wacker Drive                                                RS Legacy Corporation fka RadioShack
Chicago, IL 60606                                  3227      6/1/2015 Corporation                                               $213,774.93                                                                                       $213,774.93
Pyramid Walden Company, L.P.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                             RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                 3228      6/2/2015 Corporation                                                $31,022.17                                                                                        $31,022.17
DOWNEAST ENERGY & BUILDING SUPPLY
18 Spring St.                                                         RS Legacy Corporation fka RadioShack
Brunswick, ME 04011                                3229      6/2/2015 Corporation                                                    $274.34                                                                                          $274.34
Mims, Randy
Po Box 386                                                            RS Legacy Corporation fka RadioShack
Apalachicola, FL 32329                             3230      6/8/2015 Corporation                                                      $0.00                                                                                            $0.00
Franchise Tax Board of the State of California
Bankruptcy Section MS A340
PO Box 2952
Sacramento, CA 95812‐2952                          3231      6/1/2015 Trade and Save LLC                                             $387.20          $3,313.14                                                                     $3,700.34
Contel USA Inc.
Rita Garcia
6600 Jurupa Ave #214                                                  RS Legacy Corporation fka RadioShack
Riverside, CA 92504‐1041                           3232      6/1/2015 Corporation                                                                                                                                 $0.00                 $0.00




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                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
Pyramid Walden Company, L.P.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                        RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                            3233      6/2/2015 Corporation                                                  $1,249.81                                                                                        $1,249.81
Pyramid Walden Company, L.P.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                        RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                            3234      6/2/2015 Corporation                                                                                                                             $4,222.39             $4,222.39
Wood, Laurie Lynn
1620 Rodeo Drive                                                 RS Legacy Corporation fka RadioShack
Virginia Beach, VA 23464                      3235      6/7/2015 Corporation                                                                                                              $93.26                                  $93.26
SALMON RUN SHOPPING CENTER, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                        RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                            3236      6/2/2015 Corporation                                                    $410.80                                                                                          $410.80
Oakwood Shopping Center, LLC
Julie Minnick Bowden, National Bankruptcy
Manager
General Growth Properties
110 North Wacker Drive                                           RS Legacy Corporation fka RadioShack
Chicago, IL 60606                             3237      6/2/2015 Corporation                                                                                                                            $11,800.91            $11,800.91
CITY OF RIVERSIDE
CENTRAL CASHERING CITY HALL
3900 MAIN STREET                                                 RS Legacy Corporation fka RadioShack
RIVERSIDE, CA 92522                           3238      6/5/2015 Corporation                                                    $882.65                                                                                          $882.65
Kirk, Colleen
25 Hillside Ave
Apt 1D                                                           RS Legacy Corporation fka RadioShack
White Plains, NY 10601                        3239      6/7/2015 Corporation                                                     $68.27                                                                                           $68.27
TRUSSVILLE UTILITIES
PO BOX 836                                                       RS Legacy Corporation fka RadioShack
TRUSSVILLE, AL 35173                          3240      6/5/2015 Corporation                                                    $193.56                                                                                          $193.56
Friedman, Bobby
Robert Friedman
7 Amherst Rd                                                     RS Legacy Corporation fka RadioShack
Waban, MA 02468                               3241      6/8/2015 Corporation                                                     $26.55                                                                                           $26.55
Russo, Selene
160 Devon Loop ‐ 3                                               RS Legacy Corporation fka RadioShack
Staten Island, NY 10314                       3242      6/6/2015 Corporation                                                      $0.00                                                                                            $0.00
CITY OF SIDNEY
201 W POPLAR ST                                                  RS Legacy Corporation fka RadioShack
SIDNEY, OH 45365                              3243      6/5/2015 Corporation                                                     $63.06                                                                                           $63.06
Taylor, Nathan
13712 Rosecroft Way                                              RS Legacy Corporation fka RadioShack
San Diego, CA 92130                           3244      6/8/2015 Corporation                                                    $129.29                                                                                          $129.29




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                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
Moore, Sharon
26062 Haggard Nest Dr.                                          RS Legacy Corporation fka RadioShack
Katy, TX 77494                               3245      6/8/2015 Corporation                                                      $21.64                                                                                           $21.64
Halsell, Michael
225 Winding Way                                                 RS Legacy Corporation fka RadioShack
Saylorsburg, PA 18353                        3246      6/8/2015 Corporation                                                                                                                $0.00                                   $0.00
SHENZHEN SHENGJING OPTOELECTRONIC
TECHNOLOGY CO., LTD
Blg.2,Logistics park phase II
No.1 Zhoushi Rd.
Shiyan Town,Bao'an District                                     RS Legacy Global Sourcing Limited Partnership
SHENZHEN 518108                                                 fka RadioShack Global Sourcing Limited
CHINA                                        3247      6/8/2015 Partnership                                                 $21,279.20                                                                                        $21,279.20
HILLCREST PLAZA 1998 LLC
NW 5635
PO BOX 1450                                                     RS Legacy Corporation fka RadioShack
MINNEAPOLIS, MN 55485                        3248      6/5/2015 Corporation                                                   $4,059.36                                                                                        $4,059.36
CITY OF ESCANABA
ROBERT S. RICHARDS, CMC
410 Ludington Street                                            RS Legacy Corporation fka RadioShack
ESCANABA, MI 49829                           3249      6/5/2015 Corporation                                                     $612.12                                                                                          $612.12
Hamack, Harley
375 Heathcliff Drive                                            RS Legacy Corporation fka RadioShack
Pacifica, CA 94044                           3250      6/5/2015 Corporation                                                                       $372.51                                                                        $372.51
TOWNSHIP OF MEDFORD
Ryan Willitts
18 Fostertown Road                                              RS Legacy Corporation fka RadioShack
Medford, NJ 08055                            3251      6/5/2015 Corporation                                                     $122.75                                $0.00                                                     $122.75
Conestoga Mall 2002 LLC
Department 1385                                                 RS Legacy Corporation fka RadioShack
Denver, CO 80256                             3252      6/5/2015 Corporation                                                   $1,739.31                                                                                        $1,739.31
Pilot, Dallas
4120 Crest View Drive                                           RS Legacy Corporation fka RadioShack
Stroudsburg, PA 18360                        3253      6/7/2015 Corporation                                                       $0.00                                                                                            $0.00
ABRAM LLC
C/O MISLE PROPERTIES
ATTN: LINDA MISLE SHRIER
9360 JONES STREET                                               RS Legacy Corporation fka RadioShack
OMAHA, NE 68114                              3254      6/5/2015 Corporation                                                 $47,679.32                                                                                        $47,679.32
Montero, Daniel Alberto
55 SW 9th Street
Apt 4210                                                        RS Legacy Corporation fka RadioShack
Miami, FL 33130                              3255      6/6/2015 Corporation                                                                                                              $850.00                                 $850.00
AIG Specialty Insurance Company, et al.
AIG Property Casualty, Inc.
Ryan G. Foley, Authorized Representative
175 Water Street, 15th Floor                                    RS Legacy Corporation fka RadioShack
New York, NY 10038                           3256      6/8/2015 Corporation                                                                                            $0.00                                                       $0.00
City of Fayetteville
ATTN: Karen M. McDonald ‐ City Attorney
433 Hay Street                                                  RS Legacy Corporation fka RadioShack
Fayetteville, NC 28301                       3257      6/5/2015 Corporation                                                     $200.00              $0.00                                                                       $200.00



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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Palchikoff, Gail
12400 Creek Crest Drive                                       RS Legacy Corporation fka RadioShack
Reno, NV 89511                             3258      6/8/2015 Corporation                                                                                                              $40.00                                  $40.00
TOWN OF TARBORO
PO BOX 220                                                    RS Legacy Corporation fka RadioShack
TARBORO, NC 27886                          3259      6/5/2015 Corporation                                                    $356.20                                                                                          $356.20
Crews, Rhonda Charlene
510 Elk Trail Dr. # D‐5                                       RS Legacy Corporation fka RadioShack
Evansville, IN 47712                       3260      6/5/2015 Corporation                                                                         $0.00                                                                         $0.00
Romero, Annette
305 N Beechwood Ave. #B                                       RS Legacy Corporation fka RadioShack
Catonsville, MD 21228                      3261      6/8/2015 Corporation                                                     $35.00                                                                                           $35.00
Butler, Bobbie F.
2075 Westmoreland Dr                                          RS Legacy Corporation fka RadioShack
Brea, CA 92821                             3262      6/8/2015 Corporation                                                                      $180.00                                                                        $180.00
CC COMMUNICATIONS
1750 W WILLIAMS AVENUE                                        RS Legacy Corporation fka RadioShack
FALLON, NV 89406                           3263      6/5/2015 Corporation                                                    $126.41                                                    $0.00                                 $126.41
Tasher, Dean C.
1723 Laslo Dr                                                 RS Legacy Corporation fka RadioShack
Escondido, CA 92025                        3264      6/5/2015 Corporation                                                    $186.98                                                                                          $186.98
Morris, Ronald
PO Box 160195                                                 RS Legacy Corporation fka RadioShack
Brooklyn, NY 11216                         3265      6/5/2015 Corporation                                                      $0.00                                                    $0.00                                   $0.00
Jones, Lloyd
3313 Knolls Rd.                                               RS Legacy Corporation fka RadioShack
Miramar, FL 33025                          3266      6/8/2015 Corporation                                                    $100.00                                                                                          $100.00
Young, Byron
2351 Woodthrush Way                                           RS Legacy Corporation fka RadioShack
Pleasanton, CA 94566                       3267      6/8/2015 Corporation                                                      $0.00                                                                                            $0.00
POPE COUNTY COLLECTOR
100 W MAIN STREET                                             RS Legacy Corporation fka RadioShack
RUSSELLVILLE, AR 72801                     3268      6/8/2015 Corporation                                                                     $1,111.50                                                                     $1,111.50
Thierry, Tom
255 Lighthouse View Drive                                     RS Legacy Corporation fka RadioShack
Stevensville, MD 21666                     3269      6/5/2015 Corporation                                                                      $250.00                                                                        $250.00
COUNTY OF CULPEPER
PO BOX 1447                                                   RS Legacy Corporation fka RadioShack
CULPEPER, VA 22701                         3270      6/5/2015 Corporation                                                                      $404.22                                                                        $404.22
JADE EXTERIOR CLEANING INC
7 Brandywine Drive                                            RS Legacy Corporation fka RadioShack
Deer Park, NY 11729                        3271      6/8/2015 Corporation                                                    $272.19                                                                                          $272.19
Nwosu, Robinson
2931 201st Place                                              RS Legacy Corporation fka RadioShack
Lynwood, IL 60411                          3272      6/5/2015 Corporation                                                                       $40.00                                                                         $40.00
Morris, Ronald
PO Box 160195                                                 RS Legacy Corporation fka RadioShack
Brooklyn, NY 11216                         3273      6/5/2015 Corporation                                                                                                               $0.00                                   $0.00
COMPRESSED AIR SERVICES INC
934 SWEENEY DR STE 1A                                         RS Legacy Corporation fka RadioShack
HAGERSTOWN , MD 21740                      3274      6/8/2015 Corporation                                                  $1,648.15                                                                                        $1,648.15




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            Creditor Name and Address             Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
FORT COLLINS UTILITIES
Attn: Shawn Montoya
PO Box 1580                                                            RS Legacy Corporation fka RadioShack
Fort Collins , CO 80522                             3275      6/5/2015 Corporation                                                    $966.46                                                                                          $966.46
Jackman, Bobby L
550 Forrest Ln                                                         RS Legacy Corporation fka RadioShack
Joshua, TX 76058                                    3276      6/8/2015 Corporation                                                $31,611.98               $0.00                                                                    $31,611.98
TGT Realty Inc‐ Estate of John Totaro & Leonard
Goldberg
391 GRAND AVE STE ONE                                                  RS Legacy Corporation fka RadioShack
ENGLEWOOD, NJ 07631                                 3277      6/5/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
MAINE PROPANE ENERGY
1625 HAMMOND ST.                                                       RS Legacy Corporation fka RadioShack
BANGOR, ME 04401                                    3278      6/8/2015 Corporation                                                    $667.15                                                                                          $667.15
Moyers, James D.
1414 Keokuk St.                                                        RS Legacy Corporation fka RadioShack
Iowa City, IA 52240                                 3279      6/8/2015 Corporation                                                    $127.46                                                                                          $127.46
SWIFTEL COMMUNICATIONS
Mark Thompson
415 4th Street                                                         RS Legacy Corporation fka RadioShack
Bookings, SD 57006                                  3280      6/8/2015 Corporation                                                    $131.05                                                                                          $131.05
Anderson, Holly J.
36124 Baugh St. NW.                                                    RS Legacy Corporation fka RadioShack
Princeton, MN 55371                                 3281      6/8/2015 Corporation                                                                                                                                 $0.00                 $0.00
Butler, Bobbie F.
2075 Westmoreland Dr                                                   RS Legacy Corporation fka RadioShack
Brea, CA 92821                                      3282      6/8/2015 Corporation                                                                                           $0.00               $0.00                                   $0.00
2690 SW 22 STREET, LLC
6915 RED ROAD
SUITE 215‐A                                                            RS Legacy Corporation fka RadioShack
CORAL GABLES, FL 33143                              3283      6/8/2015 Corporation                                                                                           $0.00                                                       $0.00
Jackman, Bobby L
550 Forrest Ln
Joshua, TX 76058                                    3284      6/8/2015 TE Electronics LP                                                                   $0.00                                                                         $0.00
Ford, Carla
PO Box 100                                                             RS Legacy Corporation fka RadioShack
Leeds, AL 35094                                     3285      6/8/2015 Corporation                                                                                                                                 $0.00                 $0.00
WEST MEMPHIS UTILITIES
604 E. Cooper                                                          RS Legacy Corporation fka RadioShack
WEST MEMPHIS, AR 72301                              3286      6/8/2015 Corporation                                                  $1,071.62                                                                                        $1,071.62
Kaufman, David M                                                       RS Legacy Corporation fka RadioShack
                                                    3287      6/8/2015 Corporation                                                      $0.00                                                                                            $0.00
Truckey, Sherryll
3100 Heritage Road                                                     RS Legacy Corporation fka RadioShack
De Pere, WI 54115                                   3288      6/5/2015 Corporation                                                                                                                                 $0.00                 $0.00
CUMBERLAND COUNTY TAX COLLECTOR
PO BOX 449                                                             RS Legacy Corporation fka RadioShack
FAYETTEVILLE, NC 28302‐0449                         3289      6/5/2015 Corporation                                                                     $3,797.69                                                                     $3,797.69




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                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                     Amount
HILLCREST PLAZA 1998, LLC
ALAN ROEDER
J. HERZOG & SONS, INC.
1720 S. BELLAIRE STREET, SUITE 1209                               RS Legacy Corporation fka RadioShack
DENVER, CO 80222                               3290      6/5/2015 Corporation                                                                                                                                 $0.00                 $0.00
Walker, Janelle
113 Redmont Road                                                  RS Legacy Corporation fka RadioShack
Stamford, CT 06903                             3291      6/5/2015 Corporation                                                     $75.00                                                                                           $75.00
COOPER, TERRY L.
1108 BAYFIELD                                                     RS Legacy Corporation fka RadioShack
LAKE ORION, MI 48362                           3292      6/5/2015 Corporation                                                     $85.00                                                                                           $85.00
Shmalo, Nathan
The Real Estate Equity Company
10 East Palisade Avenue                                           RS Legacy Corporation fka RadioShack
Englewood, NJ 07631                            3293      6/5/2015 Corporation                                                $36,382.20                                                                       $0.00            $36,382.20
Leeds Water Works Board
Carla Ford ‐Office Manager
8651 Thornton Avenue                                              RS Legacy Corporation fka RadioShack
Leeds, AL 35094                                3294      6/8/2015 Corporation                                                     $52.89                                                                                           $52.89
Fulton, Adam
200 Hidden Acres Dr
Apt A                                                             RS Legacy Corporation fka RadioShack
Lafayette, LA 70503                            3295      6/8/2015 Corporation                                                                                                                                 $0.00                 $0.00

Frodo Okulam and or Oku Lam Properties
N SLATER
C/O PATHFINDER COMM'L F/K/A CSC COMMERCIAL
12036 SW Wilton AVE                                               RS Legacy Corporation fka RadioShack
Portland, OR 97223‐1667                        3296      6/5/2015 Corporation                                                      $0.00                                                                                            $0.00
SAGINAW TOWNSHIP WATER DEPT
PO BOX 6400                                                       RS Legacy Corporation fka RadioShack
SAGINAW, MI 48608                              3297      6/8/2015 Corporation                                                    $640.45                                                                                          $640.45
K.S.J.W.A.
710 TARRTOWN ROAD                                                 RS Legacy Corporation fka RadioShack
ADRIAN, PA 16210                               3298      6/8/2015 Corporation                                                     $31.17                                                                                           $31.17
Harper, Tamara
2492 Meadow Springs Drive                                         RS Legacy Corporation fka RadioShack
Lithonia, GA 30058                             3299      6/8/2015 Corporation                                                                         $0.00                                                                         $0.00
Ordonez, Marco                                                    RS Legacy Corporation fka RadioShack
                                               3300      6/9/2015 Corporation                                                     $20.00                                                                                           $20.00
Deryeghiayan, James
940 Azalea Dr.                                                    RS Legacy Corporation fka RadioShack
Costa Mesa, CA 91750                           3301      6/9/2015 Corporation                                                                                          $25.00               $0.00                                  $25.00
Bailey, Mike                                                      RS Legacy Corporation fka RadioShack
                                               3302      6/9/2015 Corporation                                                      $0.00                                                                                            $0.00
DEMCO
PO Box 15659                                                      RS Legacy Corporation fka RadioShack
Baton Rouge, LA 70895                          3303      6/8/2015 Corporation                                                  $1,909.82                                                                                        $1,909.82
TAX COLLECTOR/LONOKE COMPANY
PO BOX 192                                                        RS Legacy Corporation fka RadioShack
LONOKE, AR 72086                               3304      6/8/2015 Corporation                                                                         $0.00                                                                         $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Jack, Lacy
6625 south 77th east avenue                                   RS Legacy Corporation fka RadioShack
Tulsa, OK 74133                            3305      6/8/2015 Corporation                                                                          $0.00                                 $0.00                                   $0.00
MIRAJKAR, SRIDHAR
15451 MEHERRIN DR.                                            RS Legacy Corporation fka RadioShack
CENTREVILLE, VA 20120                      3306      6/8/2015 Corporation                                                      $75.00                                                                                           $75.00
Gelin, Geraldine
105 Dickens Drive                                             RS Legacy Corporation fka RadioShack
Lancaster, PA 17603                        3307      6/8/2015 Corporation                                                                          $0.00                                 $0.00                                   $0.00
CITY OF RIVERSIDE
CENTRAL CASHERING CITY HALL
3900 MAIN STREET                                              RS Legacy Corporation fka RadioShack
RIVERSIDE, CA 92522                        3308      6/5/2015 Corporation                                                     $425.07                                                                                          $425.07
GOODRICH HAZLET, L.L.C.
560 SYLVAN AVENUE                                             RS Legacy Corporation fka RadioShack
ENGLEWOOD CLIFFS, NJ 07632                 3309      6/8/2015 Corporation                                                       $0.00                                                                                            $0.00
Moody, Carolyn
PO Box 53                                                     RS Legacy Corporation fka RadioShack
Niobrara, NE 68760                         3310      6/8/2015 Corporation                                                      $60.00                                                                                           $60.00
Suela, Flordeliza A.
94‐875 Kuhaulua Street
Apt. 162                                                      RS Legacy Corporation fka RadioShack
Waipahu, HI 96797                          3311      6/9/2015 Corporation                                                       $0.00                                                                                            $0.00
CITY OF RIVERSIDE
CENTRAL CASHERING CITY HALL
3900 MAIN STREET                                              RS Legacy Corporation fka RadioShack
RIVERSIDE, CA 92522                        3312      6/5/2015 Corporation                                                     $452.17                                                                                          $452.17
SALINE COUNTY COLLECTOR
SALINE COUNTY COMPLEX
215 N MAIN ST                                                 RS Legacy Corporation fka RadioShack
BENTON, AR 72015                           3313      6/8/2015 Corporation                                                                      $2,803.76                                                                     $2,803.76

LACKAWANNA RIVER BASIN SEWER AUTHORITY
PO BOX 280                                                    RS Legacy Corporation fka RadioShack
OLYPHANT, PA 18447‐0280                    3314      6/8/2015 Corporation                                                      $87.34                                                                                           $87.34
E‐LEAD ELECTRONIC CO., LTD
No.37, Gungdung 1st Rd.
Shengang Shiang                                               RS Legacy Global Sourcing Limited Partnership
Changhua 509                                                  fka RadioShack Global Sourcing Limited
Taiwan (R.O.C.)                            3315      6/8/2015 Partnership                                                 $21,360.00                                                                                        $21,360.00
Harper, Tamara
2492 Meadow Springs Drive                                     RS Legacy Corporation fka RadioShack
Lithonia, GA 30058                         3316      6/8/2015 Corporation                                                                                                                                  $0.00                 $0.00
SCARANTINO, FRANCES
156‐18 96TH ST                                                RS Legacy Corporation fka RadioShack
HOWARD BEACH, NY 11414                     3317      6/8/2015 Corporation                                                                        $68.58                                                                         $68.58
Coppola, Ralph
11424 Killion St # 3                                          RS Legacy Corporation fka RadioShack
North Hollywood, CA 91601                  3318      6/9/2015 Corporation                                                     $100.00                                                                                          $100.00
Anderson, Holly J.
36124 BAUGH ST. NW.                                           RS Legacy Corporation fka RadioShack
PRINCETON, MN 55371                        3319      6/8/2015 Corporation                                                      $50.00                                                                                           $50.00



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                                                                                                                                               Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address           Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
Corwin, Kathy
1648 Howard Avenue                                                   RS Legacy Corporation fka RadioShack
Waterloo, IA 50702                                3320      6/9/2015 Corporation                                                       $8.28                                                                                            $8.28
Coombs, Brent
1278 W 1480 N                                                        RS Legacy Corporation fka RadioShack
Orem , UT 84057‐6527                              3321      6/9/2015 Corporation                                                       $0.00                                                                                            $0.00
Independence Shopping Center, Charlotte, N.C.
Limited Partnership
Kristin Ellsworth
270 Commerce Dr.                                                     RS Legacy Corporation fka RadioShack
Rochester, NY 14623                               3322      6/9/2015 Corporation                                                                                                                                  $0.00                 $0.00
Skyview Shopping Plaza, LLC
c/o Seneca Realty
PO Box 11325
1148 Old Freeport Road                                               RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15238                              3323      6/8/2015 Corporation                                                                                                                                  $0.00                 $0.00
LENOIR CITY UTILITIES BOARD
200 Depot Street                                                     RS Legacy Corporation fka RadioShack
Lenoir City, TN 37771                             3324      6/8/2015 Corporation                                                   $2,078.30                                                                                        $2,078.30
Pinta, Jennifer
20 Hemlock Road                                                      RS Legacy Corporation fka RadioShack
Andover, MA 01810                                 3325      6/9/2015 Corporation                                                      $31.49                                                                                           $31.49
CITY OF CONOVER
Donald E. Duncan, Jr. ‐ City Manager
101 1st Street East                                                  RS Legacy Corporation fka RadioShack
CONOVER, NC 28613                                 3326      6/8/2015 Corporation                                                     $106.34              $0.00                                                                       $106.34
Murphy, Michael
2873 Marrcrest Circle North                                          RS Legacy Corporation fka RadioShack
Provo, UT 84604                                   3327      6/8/2015 Corporation                                                                                                                                  $0.00                 $0.00
CITY OF GULFPORT WATER DEPT.
Attn: Terri Fairley
1422 23RD AVE                                                        RS Legacy Corporation fka RadioShack
GULFPORT, MS 39501                                3328      6/8/2015 Corporation                                                      $55.28                                                                                           $55.28
City of Jamestown
102 3rd Ave SE                                                       RS Legacy Corporation fka RadioShack
Jamestown, ND 58401                               3329      6/8/2015 Corporation                                                     $158.26                                                                                          $158.26
TAX COLLECTOR
P BOX 9276                                                           RS Legacy Corporation fka RadioShack
JONESBORO, AR 72403                               3330      6/8/2015 Corporation                                                                      $3,373.88                                                                     $3,373.88
Jones‐Onslow EMC
259 Western Blvd                                                     RS Legacy Corporation fka RadioShack
Jacksonville, NC 28546                            3331      6/8/2015 Corporation                                                   $1,058.98                                                                                        $1,058.98
Scheirer, Joshua
210 Westfall Drive                                                    RS Legacy Corporation fka RadioShack
Syracuse, NY 13219                                3332      6/10/2015 Corporation                                                                                                               $0.00                                   $0.00
Lava Services
c/o Luis E. Gutierrez
80 Venetian Drive
Apt. 205S                                                            RS Legacy Corporation fka RadioShack
Delray Beach, FL 33483                            3333      6/8/2015 Corporation                                                   $1,750.00                                                                                        $1,750.00




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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Addison, Eric
5450 Newton St Apt # 12                                       RS Legacy Corporation fka RadioShack
Hyattsville, MD 20784                      3334      6/8/2015 Corporation                                                                          $0.00                                                                         $0.00
CITY OF MOUNT PLEASANT
501 N MADISON                                                 RS Legacy Corporation fka RadioShack
MOUNT PLEASANT, TX 75455                   3335      6/8/2015 Corporation                                                     $112.91                                                                                          $112.91
Kanttamaneni, siddhartha
910‐ N Charles street, apt 63                                  RS Legacy Corporation fka RadioShack
Macomb, IL 61455                           3336      6/10/2015 Corporation                                                     $60.00                                                                                           $60.00
DiMartino, Michelina
136 Saratoga Street
Apt#1                                                         RS Legacy Corporation fka RadioShack
East Boston, MA 02128                      3337      6/9/2015 Corporation                                                      $63.73                                                                                           $63.73
MCMINNVILLE WATER & LIGHT
PO BOX 638                                                    RS Legacy Corporation fka RadioShack
MCMINNVILLE, OR 97128‐0638                 3338      6/8/2015 Corporation                                                     $477.34                                                                                          $477.34
Lava Services
Luis E. Gutierrez
80 Venetian Drive
Apt. S205                                                     RS Legacy Corporation fka RadioShack
Delray Beach, FL 33483                     3339      6/8/2015 Corporation                                                                                                                                  $0.00                 $0.00
Iuppa, Susan
108 Teel Brooke Rd.                                           RS Legacy Corporation fka RadioShack
Rocky Mount, VA 24151‐4141                 3340      6/8/2015 Corporation                                                      $52.60                                                                                           $52.60
MCKINLEY COUNTY TREASURER
207 WEST HILL, SUITE 101                                      RS Legacy Corporation fka RadioShack
GALLUP, NM 87301                           3341      6/8/2015 Corporation                                                       $0.00              $0.00                                                                         $0.00
TAX COMMISSIONER
PO BOX 70                                                     RS Legacy Corporation fka RadioShack
FAYETTEVILLE, GA 30214                     3342      6/8/2015 Corporation                                                   $4,585.91                                                                                        $4,585.91
WILLIAMS LACY MCCLURE & PARMELEE
5601 Bridge Street, Suite 300                                 RS Legacy Corporation fka RadioShack
FORT WORTH, TX 76112                       3343      6/7/2015 Corporation                                                   $6,860.12                                                                                        $6,860.12
West Lake Associates, L.L.C.
Vincent R Castaldo
14 Headwaters Place                                           RS Legacy Corporation fka RadioShack
Barnegat, NJ 08005                         3344      6/2/2015 Corporation                                                                                                                                  $0.00                 $0.00
Hamm, Brenda
48 Villar Hill Drive                                          RS Legacy Corporation fka RadioShack
Chesterfield, MO 63017                     3345      6/8/2015 Corporation                                                                                                              $125.75                                 $125.75
Deluca, Richard M
24 Ridge Road                                                 RS Legacy Corporation fka RadioShack
Highland Mills, NY 10930                   3346      6/8/2015 Corporation                                                       $0.00              $0.00                                                                         $0.00
JONES, KAREN
PO Box 3921                                                   RS Legacy Corporation fka RadioShack
Visalia , CA 93278                         3347      6/8/2015 Corporation                                                     $199.83                                                                                          $199.83
Williams Broadcasting
1710 W. Willow, Suite 300                                     RS Legacy Corporation fka RadioShack
Enid, OK 73703                             3348      6/8/2015 Corporation                                                     $832.12                                                                                          $832.12




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                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
GOODRICH CICERO, LLC
C/O GOODRICH MANAGEMENT CORP.
560 SYLVAN AVENUE                                                   RS Legacy Corporation fka RadioShack
ENGLEWOOD CLIFFS, NJ 07632                       3349      6/8/2015 Corporation                                                    $243.34                                                                                          $243.34
OHIO GAS COMPANY
Chareen Hooser
200 West High Street
PO Box 528                                                          RS Legacy Corporation fka RadioShack
Bryan, OH 43506                                  3350      6/8/2015 Corporation                                                     $30.69                                                                      $0.00                $30.69
Diversified Building Company, LLC
c/o Diversified Realty Corp.
PO Box 1200                                                         RS Legacy Corporation fka RadioShack
Jericho, NY 11753                                3351      6/8/2015 Corporation                                                                                                                             $2,584.00             $2,584.00
CITY OF TUSTIN
Attn Pameral Arends‐King
300 CENTENNIAL WAY                                                  RS Legacy Corporation fka RadioShack
TUSTIN, CA 92780                                 3352      6/8/2015 Corporation                                                    $100.00                                                                      $0.00               $100.00
Southern Maryland Electric Cooperative
PO Box 1937                                                         RS Legacy Corporation fka RadioShack
Hughesville, MD 20637‐1937                       3353      6/8/2015 Corporation                                                  $2,433.28                                                                                        $2,433.28
Lock Haven Zamagias Limited Partnership, a
Pennsylvania limited partnership
Crystal H. Thornton‐Illar
525 William Penn Place, 28th Floor                                  RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15219                             3354      6/8/2015 Corporation                                                                                                                             $1,826.90             $1,826.90
Carlsten, Roger
433 LLoyd Ave                                                       RS Legacy Corporation fka RadioShack
Providence, RI 02906                             3355      6/8/2015 Corporation                                                     $21.61                                                                                           $21.61

Princeton (EDENS), LLC
C/O BREGMAN, BERBERT, SCHWARTZ & GILDAY, LLC
Laurence H. Berbert
7315 Wisconsin Avenue, #800W                                        RS Legacy Corporation fka RadioShack
Betheseda, MD 20814                              3356      6/8/2015 Corporation                                                                                                                             $4,729.47             $4,729.47
Zbela, Stanislawa
204 5th Avenue                                                      RS Legacy Corporation fka RadioShack
San Francisco, CA 94118                          3357      6/8/2015 Corporation                                                     $20.60                                                                                           $20.60
Monrovia Shopping Center LLC
Peter E. Ronay
527 S. Lake Ave. Suite 102                                          RS Legacy Corporation fka RadioShack
Pasadena, CA 91101                               3358      6/8/2015 Corporation                                                                                                                                 $0.00                 $0.00
MCKINLEY COUNTY TREASURER
207 WEST HILL, SUITE 101                                            RS Legacy Corporation fka RadioShack
GALLUP, NM 87301                                 3359      6/8/2015 Corporation                                                                     $1,131.76                                                                     $1,131.76
Kadakia, Swetal
1 Currytown Lane                                                    RS Legacy Corporation fka RadioShack
Freehold, NJ 07728                               3360      6/8/2015 Corporation                                                                                                                                 $0.00                 $0.00
OTTER TAIL POWER COMPANY
Attn: Cash Management
215 S. Cascade St.                                                  RS Legacy Corporation fka RadioShack
FERGUS FALLS, MN 56537                           3361      6/8/2015 Corporation                                                  $2,031.17                                                                                        $2,031.17




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                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
Nault, Julia L.
826 Ohio Street #1                                              RS Legacy Corporation fka RadioShack
Bangor, ME 04401                             3362      6/8/2015 Corporation                                                      $10.02                                                                                           $10.02
CITY OF DAVISON
TREASURER'S OFFICE
200 E FLINT STREET                                              RS Legacy Corporation fka RadioShack
DAVISON, MI 48423                            3363      6/8/2015 Corporation                                                     $285.95                                $0.00                                                     $285.95
LYNN AND MARIAN ASTLE
1431 OAKCREST LANE         .                                    RS Legacy Corporation fka RadioShack
PROVO, UT 84604                              3364      6/8/2015 Corporation                                                     $126.62                                                                                          $126.62
Reef, Martin
6341 East County Road 500 South                                 RS Legacy Corporation fka RadioShack
Cutler, IN 46920                             3365      6/8/2015 Corporation                                                      $50.27                                                                                           $50.27
MARSHFIELD UTILITIES
2000 S CENTRAL AVE
PO BOX 670                                                      RS Legacy Corporation fka RadioShack
MARSHFIELD, WI 54449                         3366      6/8/2015 Corporation                                                     $518.64                                                                                          $518.64
Centrepointe Plaza, L.P.
Ronald K. Brown, Jr., Esq.
Law Offices of Ronald K. Brown, Jr., APC
901 Dove Street, Suite 120                                      RS Legacy Corporation fka RadioShack
Newport Beach, CA 92660                      3367      6/8/2015 Corporation                                                 $32,015.65                                                                                        $32,015.65
CentiMark Corporation
12 Grandview Cr.                                                RS Legacy Corporation fka RadioShack
Canonsburg, PA 15317                         3368      6/8/2015 Corporation                                                   $2,869.51                                                                                        $2,869.51
De Leon, Maria L
3819 N Elm                                                       RS Legacy Corporation fka RadioShack
Fort Worth, TX 76106                         3369      6/10/2015 Corporation                                                      $0.00                                                                                            $0.00
CATNEW10, LLC
Attn: Cathy Husman
1200 N. Ashland Ave.
Suite 600                                                        RS Legacy Corporation fka RadioShack
Chicago, IL 60622                            3370      6/10/2015 Corporation                                               $111,016.01                                                                                       $111,016.01
Harris, Sara
330 S Larkin                                                     RS Legacy Corporation fka RadioShack
Sunnyvale, TX 75182                          3371      6/10/2015 Corporation                                                    $120.00                                                                                          $120.00
Roman, Christa
4295 Birch St. NE                                               RS Legacy Corporation fka RadioShack
St. Petesburg, FL 33703                      3372      6/8/2015 Corporation                                                                          $0.00                                                                         $0.00
Baer, Jennifer
394 Whitetail Cove                                              RS Legacy Corporation fka RadioShack
Casselberry, FL 32707                        3373      6/8/2015 Corporation                                                      $52.99                                                                                           $52.99
Friedman, Robert
7 Amherst Rd                                                     RS Legacy Corporation fka RadioShack
Waban, MA 02468                              3374      6/10/2015 Corporation                                                     $42.49                                                                                           $42.49
Wallace, Shawn
PO Box 8634                                                     RS Legacy Corporation fka RadioShack
Albany, NY 12208                             3375      6/8/2015 Corporation                                                                                                              $199.99                                 $199.99
Passansi, Carolyn
328 Valparaiso Court                                             RS Legacy Corporation fka RadioShack
Valley Park , MO 63088                       3376      6/10/2015 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address        Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                     Amount
Conveyor Handling Company
Attn: Jean Rittermann, President
6715 Santa Barbara Court                                          RS Legacy Corporation fka RadioShack
Elkridge, MD 21075‐5830                        3377      6/9/2015 Corporation                                                    $218.87                                                                                          $218.87
Suchanick, Stephen R
631 W Mulberry St                                                 RS Legacy Corporation fka RadioShack
Shamokin, PA 17872                             3378      6/8/2015 Corporation                                                      $0.00                                                                                            $0.00
City of Tarpon Springs, Florida
c/o Thomas J. Trask, Esquire
Trask, Metz & Daigneault, LLP
1001 South Fort Harrison Avenue, Suite 201                        RS Legacy Corporation fka RadioShack
Clearwater, FL 33756                           3379      6/8/2015 Corporation                                                                                         $312.32                                                     $312.32
3501 Bergenline Realty, Inc.
Lazarus & Lazarus, P.C.
Attention: Harlan M. Lazarus, Esq.
240 Madison Avenue, 8th Floor                                     RS Legacy Corporation fka RadioShack
New York, NY 10016                             3380      6/8/2015 Corporation                                               $113,924.28                                                                                       $113,924.28
TAX COLLECTOR
Attn: Robin Mazerolle
Town of Southbury
PO Box 467                                                        RS Legacy Corporation fka RadioShack
Southbury, CT 06488                            3381      6/8/2015 Corporation                                                      $0.00           $721.60                                                                        $721.60
ACADEMY FIRE PROTECTION
58‐29 MASPETH AVENUE                                              RS Legacy Corporation fka RadioShack
MASPETH, NY 11378                              3382      6/4/2015 Corporation                                                $40,383.92                                                                                        $40,383.92
Willis, Shirley
1018 N Chandler Dr
Ft Worth, TX 76111                             3383      6/8/2015 TE Electronics LP                                                                   $0.00                                                                         $0.00
Molloy, Patrick
13 Senator Lane                                                   RS Legacy Corporation fka RadioShack
Burlington, NJ 08016                           3384      6/8/2015 Corporation                                                                         $0.00                                                                         $0.00
BOONE COUNTY TAX COLLECTOR
PO BOX 1152                                                       RS Legacy Corporation fka RadioShack
HARRISON, AR 72602                             3385      6/8/2015 Corporation                                                                     $1,836.31                                                                     $1,836.31
Interstate Power & Light Company
Deb Henkle
300 E Sheridan Ave                                                RS Legacy Corporation fka RadioShack
Centerville, IA 52544                          3386      6/8/2015 Corporation                                                $15,872.33                                                                                        $15,872.33
Emmons, Charles
75 Wentworth Drive                                                RS Legacy Corporation fka RadioShack
Berkeley Heights, NJ 07922                     3387      6/9/2015 Corporation                                                                                         $100.00                                                     $100.00
CAPE FEAR PUBLIC UTILITY AUTHORITY
235 GOVERNMENT CENTER DRIVE                                       RS Legacy Corporation fka RadioShack
WILMINGTON, NC 28403                           3388      6/9/2015 Corporation                                                    $153.55                                                                                          $153.55
Black Hills Corporation
1102 East First Street                                            RS Legacy Corporation fka RadioShack
Papillion, NE 68046                            3389      6/8/2015 Corporation                                                    $618.55                                                                                          $618.55
Black Hills Corporation
1102 East First Street                                            RS Legacy Corporation fka RadioShack
Papillion, NE 68046                            3390      6/8/2015 Corporation                                                     $47.08                                                                                           $47.08




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Benker, John
307 Scarborough Lane                                           RS Legacy Corporation fka RadioShack
Middletown, CT 06457                       3391      6/10/2015 Corporation                                                     $50.00                                                                                           $50.00
P.C.
Donald F. Campbell, Jr., Esq.
Giordano, Halleran & Ciesla, P.C.
125 Half Mile Road, Suite 300                                 RS Legacy Corporation fka RadioShack
Red Bank, NJ 07701                         3392      6/8/2015 Corporation                                                       $0.00                                                                                            $0.00
MINNIS, EARL
421 BRYANT RD                                                 RS Legacy Corporation fka RadioShack
RIGELWOOD, NC 28456                        3393      6/8/2015 Corporation                                                     $180.00                                                                                          $180.00
MARQUETTE BOARD OF LIGHT & PWR
2200 WRIGHT ST                                                RS Legacy Corporation fka RadioShack
MARQUETTE, MI 49855                        3394      6/8/2015 Corporation                                                     $892.95                                                                                          $892.95
Greenville Utilities
PO BOX 1847                                                   RS Legacy Corporation fka RadioShack
GREENVILLE, NC 27835‐1847                  3395      6/9/2015 Corporation                                                   $3,305.34                                                                                        $3,305.34
EMSER INTERNATIONAL LLC
8431 SANTA MONICA BOULEVARD                                   RS Legacy Corporation fka RadioShack
LOS ANGELES, CA 90069                      3396      6/8/2015 Corporation                                                   $8,318.34                                                                                        $8,318.34
Black Hills Corporation
1102 East First Street                                        RS Legacy Corporation fka RadioShack
Papillion, NE 68046                        3397      6/8/2015 Corporation                                                     $226.29                                                                                          $226.29
Nees, Michael L
12 Oakwood Place                                              RS Legacy Corporation fka RadioShack
Lima, OH 45804                             3398      6/8/2015 Corporation                                                                                                                                  $0.00                 $0.00
Tax Collector
PO Box 546                                                    RS Legacy Corporation fka RadioShack
Yuba City, CA 95992                        3399      6/8/2015 Corporation                                                     $205.24                                                                                          $205.24
Holmes, Jeff
89 east Temple st apt#1                                       RS Legacy Corporation fka RadioShack
Boylston, MA 01505                         3400      6/9/2015 Corporation                                                      $98.15                                                                                           $98.15
Black Hills Corporation
1102 East First Street                                        RS Legacy Corporation fka RadioShack
Papillion, NE 68046                        3401      6/8/2015 Corporation                                                      $36.07                                                                                           $36.07
Black Hills Corporation
1102 East First Street                                        RS Legacy Corporation fka RadioShack
Papillion, NE 68046                        3402      6/8/2015 Corporation                                                     $304.41                                                                                          $304.41
Jada Toys Inc.
938 Hatcher Ave                                               RS Legacy Corporation fka RadioShack
City of Industry, CA 91748                 3403      6/8/2015 Corporation                                                 $37,450.62                                                                                        $37,450.62
TAX COLLECTOR
PO Box 1298                                                   RS Legacy Corporation fka RadioShack
Columbiana, AL 35051                       3404      6/8/2015 Corporation                                                                                            $0.00                                                       $0.00
TAX COLLECTOR
PO BOX 1298                                                   RS Legacy Corporation fka RadioShack
COLUMBIANA, AL 35051                       3405      6/8/2015 Corporation                                                                                            $0.00                                                       $0.00
Black Hills Corporation
1102 East First Street                                        RS Legacy Corporation fka RadioShack
Papillion, NE 68046                        3406      6/8/2015 Corporation                                                      $63.93                                                                                           $63.93




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                                                                                                                              Current General                                            Current 503(b)(9)
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                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount
CITY OF RIVERSIDE
CENTRAL CASHERING CITY HALL
3900 MAIN STREET                                                           RS Legacy Corporation fka RadioShack
RIVERSIDE, CA 92522                                     3407      6/5/2015 Corporation                                                    $883.26                                                                                          $883.26
McGrath, Thomas R.
117 Sachem Ave                                                             RS Legacy Corporation fka RadioShack
Worcester, MA 01606                                     3408      6/8/2015 Corporation                                                     $25.00                                                                                           $25.00
Mcleod, Brittany
209 Wildwood Dr                                                            RS Legacy Corporation fka RadioShack
Cadillac, MI 49601‐9072                                 3409      6/8/2015 Corporation                                                                         $0.00                                                                         $0.00
Sierra Liquidity Fund, LLC ‐ Assignee & Att‐In‐Fact
for All Trades Maintenance ‐ Assignor
19772 MacArthur Blvd #200                                                  RS Legacy Corporation fka RadioShack
Irvine, CA 92620                                        3410      6/8/2015 Corporation                                                                                                               $0.00                                   $0.00
Sierra Liquidity Fund, LLC ‐ Assignee + ATT‐In‐Fact
for Professional Plumbing ‐ Assignor
19772 MacArthur Blvd
Suite 200                                                                  RS Legacy Corporation fka RadioShack
Irvine, CA 92620                                        3411      6/8/2015 Corporation                                                                                                               $0.00                                   $0.00
Smith, Susan D.
514 S Limestone Street                                                     RS Legacy Corporation fka RadioShack
Gaffney, SC 29340                                       3412      6/9/2015 Corporation                                                      $0.00                                                                                            $0.00
Black Hills Corporation
1102 East First Street                                                     RS Legacy Corporation fka RadioShack
Papillion, NE 68046                                     3413      6/8/2015 Corporation                                                    $267.84                                                                                          $267.84
Nees, Michael L
12 Oakwood Place                                                           RS Legacy Corporation fka RadioShack
Lima, OH 45804                                          3414      6/8/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
Combs, Kelly J.
804 Carolina Ave                                                           RS Legacy Corporation fka RadioShack
North Augusta, SC 29841                                 3415      6/8/2015 Corporation                                                     $68.54                                                                                           $68.54
Kadakia, Swetal
1 Currytown Lane                                                           RS Legacy Corporation fka RadioShack
Freehold, NJ 07728                                      3416      6/8/2015 Corporation                                                                         $0.00                                                                         $0.00
MCKINLEY COUNTY TREASURER
207 WEST HILL, SUITE 101                                                   RS Legacy Corporation fka RadioShack
GALLUP, NM 87301                                        3417      6/8/2015 Corporation                                                    $186.12                                                                                          $186.12
Petti, Maria
55 Clark Ave                                                               RS Legacy Corporation fka RadioShack
Bloomfield, NJ 07003                                    3418      6/8/2015 Corporation                                                     $25.00                                                                                           $25.00
CITY OF STEUBENVILLE
Gary Repella, Law Director
115 South Third Street,                                                    RS Legacy Corporation fka RadioShack
Steubenville, OH 43952                                  3419      6/8/2015 Corporation                                                    $129.56                                                                                          $129.56
Roxas, Roman Carlo B.
1345 Woodbridge Trail                                                      RS Legacy Corporation fka RadioShack
Virginia beach , VA 23453                               3420      6/9/2015 Corporation                                                      $0.00                                                                                            $0.00
Flewellen, Brenda
9954 Bessemer                                                              RS Legacy Corporation fka RadioShack
Houston, TX 77034                                       3421      6/9/2015 Corporation                                                                                          $80.00                                                      $80.00




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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Zhang, Changqing
7277 Charolette Pike Unit 346.                                RS Legacy Corporation fka RadioShack
Nashville, TN 37209                        3422      6/8/2015 Corporation                                                      $28.00                                                                                           $28.00
Martinsville (Mountainview) WMA, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                     RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                         3423      6/8/2015 Corporation                                                                                                                              $4,063.50             $4,063.50
VILLAGE OF NORTH RIVERSIDE
2401 S. DESPLAINES AVE                                        RS Legacy Corporation fka RadioShack
NORTH RIVERSIDE, IL 60546                  3424      6/8/2015 Corporation                                                     $453.75                                                                      $0.00               $453.75
Abernethy, Robert Norton
4320 Sunset Dr                                                RS Legacy Corporation fka RadioShack
Lake Oswego, OR 97035                      3425      6/8/2015 Corporation                                                       $0.00                                                                                            $0.00
Simmons, Khalinah R.
5403 Tubman Drive North                                       RS Legacy Corporation fka RadioShack
Jacksonville, FL 32219                     3426      6/9/2015 Corporation                                                                          $0.00                                                                         $0.00
Bailey, Mike
15704 State Hwy Y                                             RS Legacy Corporation fka RadioShack
Greentop, MO 63546                         3427      6/9/2015 Corporation                                                     $140.17                                                                                          $140.17
Yu, Ing‐Ru
22 Georgetown                                                 RS Legacy Corporation fka RadioShack
Irvine, CA 92612                           3428      6/9/2015 Corporation                                                       $0.00                                                                                            $0.00
Neff, Erik P.
406 N. 15th Av.                                               RS Legacy Corporation fka RadioShack
Beech Grove, IN 46107                      3429      6/8/2015 Corporation                                                                        $40.17                                                                         $40.17
Black Hills Corporation
1102 East First Street                                        RS Legacy Corporation fka RadioShack
Papillion, NE 68046                        3430      6/8/2015 Corporation                                                     $323.44                                                                                          $323.44
RICE LAKE UTILITIES
320 W COLEMAN ST                                              RS Legacy Corporation fka RadioShack
RICE LAKE, WI 54868                        3431      6/8/2015 Corporation                                                   $2,530.00                                                                                        $2,530.00
WISCONSIN POWER & LIGHT COMPANY
Deb Henkle
300 E Sheridan Ave                                            RS Legacy Corporation fka RadioShack
Centerville, IA 52544                      3432      6/8/2015 Corporation                                                   $5,179.48                                                                                        $5,179.48
Harm, Gregory J
2017 Hawthorne LN                                             RS Legacy Corporation fka RadioShack
Hatfield, PA 19044‐2120                    3433      6/9/2015 Corporation                                                       $0.00                                                                                            $0.00
Guerriero, Tyler
55 South 3rd Street                                            RS Legacy Corporation fka RadioShack
Saint Clair, PA 17970                      3434      6/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Manes, Andrew
1951 Legacy Ln                                                RS Legacy Corporation fka RadioShack
Winona Lake, IN 46590                      3435      6/9/2015 Corporation                                                      $42.79                                                                                           $42.79
Ahmad, Kai
3272 West Dale Court                                          RS Legacy Corporation fka RadioShack
Waldorf, MD 20601                          3436      6/9/2015 Corporation                                                     $106.00                                                                                          $106.00




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                                                                                                                                              Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address          Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
Terrys Lawn Care Inc.
PROFESSIONAL LANDSCAPE MANAGEMENT
PO BOX 941                                                           RS Legacy Corporation fka RadioShack
ALEDO, TX 76008                                  3437      6/10/2015 Corporation                                                      $0.00                                                                                            $0.00
CLS Facility Services
8061 Tyler Blvd.                                                     RS Legacy Corporation fka RadioShack
Mentor, OH 44060                                 3438      6/10/2015 Corporation                                                $24,555.34                                                                                        $24,555.34
CAPE FEAR PUBLIC UTILITY AUTHORITY
235 GOVERNMENT CENTER DRIVE                                         RS Legacy Corporation fka RadioShack
WILMINGTON, NC 28403                             3439      6/9/2015 Corporation                                                       $0.00                                                                                            $0.00
Christopher, Steven C.
562 Green Ridge Rd SE                                                RS Legacy Corporation fka RadioShack
Cartersville, GA 30120‐6945                      3440      6/10/2015 Corporation                                                    $165.73                                                                                          $165.73
Summit, Alixandra
PO Box 59                                                            RS Legacy Customer Service LLC fka RadioShack
Okemos, MI 48805‐0059                            3441      6/10/2015 Customer Service LLC                                             $0.00                                                   $21.19                                  $21.19
Guerriero, Joshua R
8 Poplar Street
P.O. Box 374eet                                                      RS Legacy Corporation fka RadioShack
Hegins, PA 17938                                 3442      6/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Chen, Xiaodong
215 Castlehill Drive                                                RS Legacy Corporation fka RadioShack
Birmingham, AL 35226                             3443      6/9/2015 Corporation                                                       $0.00                                                                                            $0.00

Randall Cottingham and Baldwin & Vernon, LLC
11 E. Kansas                                                        RS Legacy Corporation fka RadioShack
Liberty, MO 64068                                3444      6/9/2015 Corporation                                                       $0.00                                                                                            $0.00
Kulesza, Barbara
7328 Penelope Ave                                                   RS Legacy Corporation fka RadioShack
Middle Village, NY 11379                         3445      6/8/2015 Corporation                                                                        $32.94                                                                         $32.94
KNOX COUNTY TREASURER
111 N 7TH ST                                                        RS Legacy Corporation fka RadioShack
VINCENNES, IN 47591                              3446      6/8/2015 Corporation                                                       $0.00                                                                                            $0.00
Mason, Debbie A.
1444 Park Place, Apt. C6                                            RS Legacy Corporation fka RadioShack
Brooklyn, NY 11213                               3447      6/8/2015 Corporation                                                                                                                                  $0.00                 $0.00
2317 Route 22 Investors, LLC
Christopher D. Loizides (No. 3968)
Loizides, P.A.
1225 King Street, Suite 800                                         RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                             3448      6/8/2015 Corporation                                                                                                                             $10,000.00            $10,000.00

Woodhill (E&A), LLC
Laurence H. Berbert
BREGMAN, BERBERT, SCHWARTZ & GILDAY, LLC
7315 Wisconsin Avenue, Suite 800 West                               RS Legacy Corporation fka RadioShack
Betheseda, MD 20814                              3449      6/8/2015 Corporation                                                                                                                              $4,467.23             $4,467.23
Kulesza, Barbara
7328 Penelope Ave                                                   RS Legacy Corporation fka RadioShack
Middle Village, NY 11379                         3450      6/8/2015 Corporation                                                                                                                                  $0.00                 $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Willis, Shirley
1018 N Chandler Dr                                            RS Legacy Corporation fka RadioShack
Ft Worth, TX 76111                         3451      6/8/2015 Corporation                                                                                                                                  $0.00                 $0.00
White, Patrick
18 Marycrest Rd                                               RS Legacy Corporation fka RadioShack
West Nyack, NY 10964                       3452      6/8/2015 Corporation                                                                                                                                  $0.00                 $0.00
Flewellen, Brenda
9954 Bessemer                                                 RS Legacy Corporation fka RadioShack
Houston, TX 77034                          3453      6/9/2015 Corporation                                                      $80.00                                                                                           $80.00
Schmitt, Dawn
69 Wilma Drive                                                 RS Legacy Corporation fka RadioShack
Lancaster, NY 14086                        3454      6/10/2015 Corporation                                                     $10.86                                                                                           $10.86
Eversource
PO Box 330                                                    RS Legacy Corporation fka RadioShack
Manchester , NH 03105                      3455      6/8/2015 Corporation                                                 $13,311.77                                                                                        $13,311.77
Black Hills Corporation
1102 East First Street                                        RS Legacy Corporation fka RadioShack
Papillion, NE 68046                        3456      6/8/2015 Corporation                                                     $757.04                                                                                          $757.04
Black Hills Corporation
1102 East First Street                                        RS Legacy Corporation fka RadioShack
Papillion, NE 68046                        3457      6/8/2015 Corporation                                                     $395.69                                                                                          $395.69
Cotton, Bryanna
1249 Sultan Circle                                             RS Legacy Corporation fka RadioShack
Carson, CA 90746                           3458      6/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Thomas, Saundra K
PO Box 81017                                                   RS Legacy Corporation fka RadioShack
Charleston, SC 29416                       3459      6/10/2015 Corporation                                                     $24.45                                                                                           $24.45
Black Hills Corporation
1102 East First Street                                        RS Legacy Corporation fka RadioShack
Papillion, NE 68046                        3460      6/8/2015 Corporation                                                     $517.56                                                                                          $517.56
Willis, Shirley
1018 N Chandler Dr                                            RS Legacy Corporation fka RadioShack
Ft Worth, TX 76111                         3461      6/8/2015 Corporation                                                                          $0.00                                                                         $0.00
Black Hills Corporation
1102 East First Street                                        RS Legacy Corporation fka RadioShack
Papillion, NE 68046                        3462      6/8/2015 Corporation                                                     $250.10                                                                                          $250.10
Black Hills Corporation
1102 East First Street                                        RS Legacy Corporation fka RadioShack
Papillion, NE 68046                        3463      6/8/2015 Corporation                                                   $1,472.27                                                                                        $1,472.27
Black Hills Corporation
1102 East First Street                                        RS Legacy Corporation fka RadioShack
Papillion, NE 68046                        3464      6/8/2015 Corporation                                                     $750.71                                                                                          $750.71
Bernhart, Glenda S
11725 94th Avenue                                             RS Legacy Corporation fka RadioShack
Burlington, IA 52601                       3465      6/8/2015 Corporation                                                       $0.00                                                                                            $0.00
Black Hills Corporation
1102 East First Street                                        RS Legacy Corporation fka RadioShack
Papillion, NE 68046                        3466      6/8/2015 Corporation                                                     $338.43                                                                                          $338.43
Black Hills Corporation
1102 East First Street                                        RS Legacy Corporation fka RadioShack
Papillion, NE 68046                        3467      6/8/2015 Corporation                                                      $69.07                                                                                           $69.07




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            Creditor Name and Address            Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
HEARING COMPONENTS INC
615 HALE AVENUE N                                                     RS Legacy Corporation fka RadioShack
OAKDALE, MN 55128                                  3468      6/8/2015 Corporation                                                   $9,408.00                                                                                        $9,408.00
SLM WASTE & RECYCLING SERVICES INC
FACILITY SOLUTIONS NATIONWIDE
5000 COMMERCE DR                                                      RS Legacy Corporation fka RadioShack
GREEN LANE, PA 18054                               3469      6/8/2015 Corporation                                                     $296.83                                                                                          $296.83
Morales, Hector
8704 Terra Oaks Road                                                   RS Legacy Corporation fka RadioShack
Tampa , Fl 33637                                   3470      6/10/2015 Corporation                                                     $20.00                                                                                           $20.00
State of Arizona ex rel. Arizona Department of
Weights and Measures
Arizona Attorney General
Matthew A. Silverman
1275 West Washington Street                                            RS Legacy Corporation fka RadioShack
Phoenix, AZ 85007‐2926                             3471      6/10/2015 Corporation                                                    $200.00                                                                                          $200.00
BAY COUNTY
DEPT OF WATER & SEWER
3933 PATTERSON RD                                                     RS Legacy Corporation fka RadioShack
BAY CITY, MI 48706                                 3472      6/8/2015 Corporation                                                     $107.22                                $0.00                                                     $107.22
Guerriero, Joshua R.
8 Poplar Street
PO Box 374                                                             RS Legacy Corporation fka RadioShack
Hegins, PA 17938                                   3473      6/10/2015 Corporation                                                      $0.00                                                                                            $0.00
MARTIN COUNTY TAX COLLECTOR
Attn: Bankruptcy Department
3485 SE Willoughby Blvd                                                RS Legacy Corporation fka RadioShack
STUART, FL 34994                                   3474      6/10/2015 Corporation                                                    $245.00                                                                                          $245.00
New Century Associates Group, LP
2010 County Line Road                                                  RS Legacy Corporation fka RadioShack
Huntindon Valley, PA 19006                         3475      6/10/2015 Corporation                                                  $2,448.06                                                                                        $2,448.06
Chappell, Pallavi
4705 Jaybird Lane                                                      RS Legacy Corporation fka RadioShack
Powder Springs, GA 30127                           3476      6/10/2015 Corporation                                                    $100.00                                                                                          $100.00
Green, Elisa Michelle
3715 South 1st Street
#567                                                                   RS Legacy Corporation fka RadioShack
Austin, TX 78704                                   3477      6/10/2015 Corporation                                                     $86.59                                                                                           $86.59
Kore, Admassu
1500 Ogden St. NW                                                     RS Legacy Corporation fka RadioShack
Washington, DC 20010                               3478      6/9/2015 Corporation                                                                        $79.29                                                                         $79.29
Clegg, Monty
505 Main St. Ste 270                                                  RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                               3479      6/9/2015 Corporation                                                     $100.00                                                                                          $100.00
Markel, Heidi Jo
1930 Laurel Canyon Rd.                                                 RS Legacy Corporation fka RadioShack
Los Angeles, CA 90046                              3480      6/10/2015 Corporation                                                                                                                                                       $0.00
Wright, Janet
4934 North 19th Street                                                RS Legacy Corporation fka RadioShack
Milwaukee, WI 53209                                3481      6/9/2015 Corporation                                                                          $0.00                                                                         $0.00
Claim Docketed In Error                                               RS Legacy Corporation fka RadioShack
                                                   3482      6/8/2015 Corporation                                                                                                                                                        $0.00



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                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount
720 UNIVERSITY LLC
C/O WATERBURY PROPERTIES INC
1801 OAKLAND BLVD STE 310                                                 RS Legacy Corporation fka RadioShack
WALNUT CREEK, CA 94596                                 3483      6/8/2015 Corporation                                                   $2,276.67                                                                                        $2,276.67
Clarence L Raker & Darlene H Raker JTWROS
PO Box 1297                                                               RS Legacy Corporation fka RadioShack
Havana, FL 32333‐1298                                  3484      6/9/2015 Corporation                                                       $0.00                                                                                            $0.00
Jeffries, Alex
1324 E Harvard St                                                         RS Legacy Corporation fka RadioShack
Glendale, CA 91205                                     3485      6/9/2015 Corporation                                                     $300.00                                                                                          $300.00
CITY OF MILTON
Dewitt Nobles ‐ City Clerk and Brian Watkins‐ City
Manager
6738 Dixon Street                                                         RS Legacy Corporation fka RadioShack
Milton, FL 32570                                       3486      6/8/2015 Corporation                                                     $176.53                                                    $0.00                                 $176.53
TOWN OF TOLLAND
Steven R. Werbner
21 Tolland Green                                                          RS Legacy Corporation fka RadioShack
Tolland, CT 06084                                      3487      6/8/2015 Corporation                                                       $0.00              $0.00             $0.00                                                       $0.00
HOLT SAN ANTONIO LLC
DBA ONTARIO VILLAGE CENTER
PO BOX 3131                                                               RS Legacy Corporation fka RadioShack
HUNTINGTON BEACH, CA 92605                             3488      6/8/2015 Corporation                                                       $0.00                                $0.00               $0.00                                   $0.00
Bill Naber
2317 Denbigh Dr.                                                          RS Legacy Corporation fka RadioShack
Modesto, CA 95356                                      3489      6/8/2015 Corporation                                                       $0.00                                                                                            $0.00
CITY OF MOLINE
PO BOX 930                                                                RS Legacy Corporation fka RadioShack
MOLINE, IL 61266                                       3490      6/8/2015 Corporation                                                       $0.00                                                                                            $0.00
KALE REALTY
PO BOX 200                                                                RS Legacy Corporation fka RadioShack
MONSEY, NY 10952                                       3491      6/5/2015 Corporation                                                   $6,530.88                                                                                        $6,530.88
Guerriero, Joshua R.
8 Poplar Street
PO Box 374                                                                 RS Legacy Corporation fka RadioShack
Hegins, PA 17938                                       3492      6/10/2015 Corporation                                                      $0.00                                                                                            $0.00
CITY OF WHEELING WATER DEPT
1500 CHAPLINE ST
ROOM 112                                                                  RS Legacy Corporation fka RadioShack
WHEELING, WV 26003                                     3493      6/8/2015 Corporation                                                       $4.28                                                   $48.79                                  $53.07
BROOKINGS UTILITIES
PO BOX 588                                                                RS Legacy Corporation fka RadioShack
BROOKINGS, SD 57006                                    3494      6/8/2015 Corporation                                                     $450.71                                                                                          $450.71
Keller, Charles E.
Compressed Air Services Inc.
Sweeney Dr. Ste. 1A                                                       RS Legacy Corporation fka RadioShack
Hagerstown, MD 21740                                   3495      6/8/2015 Corporation                                                                                                                                  $0.00                 $0.00
Central Florida Electric Cooperative Inc
PO BOX 9                                                                  RS Legacy Corporation fka RadioShack
CHIEFLAND, FL 32644                                    3496      6/8/2015 Corporation                                                   $1,265.52                                                                                        $1,265.52




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            Creditor Name and Address                 Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
Addison, Eric
5450 Newton St. Apt #12                                                    RS Legacy Corporation fka RadioShack
Hyattsville, MD 20784                                   3497      6/8/2015 Corporation                                                                                                                                  $0.00                 $0.00
Tranel, Timothy E.
782 Connors Drive Apt G                                                     RS Legacy Corporation fka RadioShack
Greenwood, IN 46143                                     3498      6/10/2015 Corporation                                                                                           $0.00                                                       $0.00
SPARTANBURG WATER SYSTEM
Harriet Stinson
200 Commerce Street
PO Box 251                                                                 RS Legacy Corporation fka RadioShack
Spartanburg, SC 29306                                   3499      6/8/2015 Corporation                                                     $117.44                                                                                          $117.44
United Communications Corporation
Kenosha News
5800 ‐ 7th Ave                                                             RS Legacy Corporation fka RadioShack
Kenosha, WI 53141                                       3500      6/8/2015 Corporation                                                       $0.00                                                                                            $0.00

Aviana Company 3 LLC
c/o Carnegie Management & Development Corp
27500 Detroit Road, Ste. 300                                                RS Legacy Corporation fka RadioShack
Westlake, OH 44145                                      3501      6/11/2015 Corporation                                                $66,533.62                                                                                        $66,533.62
City of Fallon
Attn: MICHAEL F. MACKEDON ‐ City Attorney
C/O Mackedon Erquiaga, P.C.
179 S. LaVerne St.                                                         RS Legacy Corporation fka RadioShack
Fallon, NV 89406                                        3502      6/8/2015 Corporation                                                   $1,165.96                                                                                        $1,165.96

North Providence (E&A), LLC
Laurence H. Berbert
BREGMAN, BERBERT, SCHWARTZ & GILDAY, LLC
7315 Wisconsin Avenue, Suite 800 West                                      RS Legacy Corporation fka RadioShack
Bethesda, MD 20814                                      3503      6/8/2015 Corporation                                                                                                                              $4,013.13             $4,013.13
LAROY THOMAS, INC.
3201 E. BROAD ST.                                                          RS Legacy Corporation fka RadioShack
TEXARKANA, TX 71854                                     3504      6/8/2015 Corporation                                                     $305.81                                                                                          $305.81
NM Taxation & Revenue Department
PO Box 8575
Albuquerque, NM 87198‐8575                              3505      6/8/2015 SCK, Inc.                                                       $174.88                                                                                          $174.88
NASHVILLE ELECTRIC SERVICE
1214 CHURCH ST                                                             RS Legacy Corporation fka RadioShack
NASHVILLE, TN 37246                                     3506      6/8/2015 Corporation                                                   $8,721.38                                                                                        $8,721.38
Laura Lin; Chin Chin Chou
33178 Dequindre Rd                                                         RS Legacy Corporation fka RadioShack
Sterling Heights, MI 48310                              3507      6/8/2015 Corporation                                                       $0.00                                                                                            $0.00
CAMDEN COUNTY TAX COMMISSIONER
PO BOX 698                                                                  RS Legacy Corporation fka RadioShack
WOODBINE, GA 31569                                      3508      6/11/2015 Corporation                                                                         $0.00                                                                         $0.00
Sierra Liquidity Fund, LLC ‐ Assignee & Att‐In‐Fact
for Accurate Heating & Cooling ‐ Assignor
19772 Mac Arthur Blvd # 200                                                RS Legacy Corporation fka RadioShack
Irvine, CA 92620                                        3509      6/8/2015 Corporation                                                                                                                $0.00                                   $0.00




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            Creditor Name and Address                   Claim No.   Claim Date                      Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                      Amount                                                     Amount
Sierra Liquidity Fund, LLC ‐ Assignee + ATT‐IN‐Fact
for service by all seasons ‐ Assignor
19772 Macarthur Blvd #200                                                    RS Legacy Corporation fka RadioShack
Irvine, CA 92620                                          3510      6/8/2015 Corporation                                                                                                                 $0.00                                   $0.00
HAYDAY INC
401 N.W. 38TH COURT                                                          RS Legacy Corporation fka RadioShack
MIAMI, FL 33126                                           3511      6/9/2015 Corporation                                                    $8,704.10                                                                                        $8,704.10
Ortega, Tanner
PO Box 1112                                                                   RS Legacy Corporation fka RadioShack
Frazier Park, CA 93225                                    3512      6/11/2015 Corporation                                                     $200.00                                                                                          $200.00
Claim Docketed In Error                                                       RS Legacy Corporation fka RadioShack
                                                          3513      6/8/2015 Corporation                                                                                                                                                         $0.00
Sierra Liquidity Fund, LLC ‐ Assignee & Att‐In‐Fact
for Northside Plumbing ‐ Assignor
19772 Mac Arthur Blvd #200                                                   RS Legacy Corporation fka RadioShack
Irvine , CA 92620                                         3514      6/8/2015 Corporation                                                                                                                 $0.00                                   $0.00
Black Hills Corporation
1102 East First Street                                                       RS Legacy Corporation fka RadioShack
Papillion, NE 68046                                       3515      6/8/2015 Corporation                                                      $471.72                                                                                          $471.72
Sierra Liquidity Fund, LLC‐ Assignee & Att ‐ In‐ Fact
for Dalton Hvac ‐ Assignor
James S. Riley
19772 Mac Arthur Blvd
Suite 200                                                                    RS Legacy Corporation fka RadioShack
Irvine, CA 92612                                          3516      6/8/2015 Corporation                                                                                                                 $0.00                                   $0.00
Sierra Liquidity Fund, LLC ‐ Assignee & Att‐In‐Fact
for Service by All Seasons ‐ Assignor
James S. Riley
19772 MacArthur Blvd
Suite 200                                                                    RS Legacy Corporation fka RadioShack
Irvine, CA 92612                                          3517      6/8/2015 Corporation                                                                                                                 $0.00                                   $0.00
CITY OF LIVINGSTON
200 WEST CHURCH                                                              RS Legacy Corporation fka RadioShack
LIVINGSTON, TX 77351                                      3518      6/8/2015 Corporation                                                    $1,175.73                                                                                        $1,175.73
YALE PENSACOLA LLC
C/O YALE REALTY SERVICES CORPORATION
10 NEW KING STREET
SUITE 102                                                                    RS Legacy Corporation fka RadioShack
WHITE PLAINS, NY 10604                                    3519      6/8/2015 Corporation                                                                                                                                   $0.00                 $0.00
Willis, Shirley
1018 N. Chandler Dr.                                                         RS Legacy Corporation fka RadioShack
Fort Worth, TX 76111                                      3520      6/8/2015 Corporation                                                                                                                                   $0.00                 $0.00
Black Hills Corporation
1102 East First Street                                                       RS Legacy Corporation fka RadioShack
Papillion, NE 68046                                       3521      6/8/2015 Corporation                                                       $31.75                                                                                           $31.75
UNITIL
PO BOX 981010                                                                RS Legacy Corporation fka RadioShack
BOSTON, MA 02298                                          3522      6/8/2015 Corporation                                                  $20,932.19                                                                                        $20,932.19
UNITIL
PO BOX 981010
BOSTON, MA 02298                                          3523      6/8/2015 RS Legacy Holdings, Inc. fka Tandy Holdings, Inc.              $1,765.89                                                                                        $1,765.89




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                                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                 Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
Town & Country Center, Inc.
Dov Gross, President
1660 49th St.                                                              RS Legacy Corporation fka RadioShack
Brooklyn, NY 11204                                      3524      6/8/2015 Corporation                                                                                                                              $1,885.71             $1,885.71
R&L Construction
c/o Patrick White
904 Nepperhan Avenue                                                       RS Legacy Corporation fka RadioShack
Yonkers, NY 10703                                       3525      6/8/2015 Corporation                                                       $0.00              $0.00                                                                         $0.00
Martinsville (Mountainview) WMA, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                  RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                      3526      6/8/2015 Corporation                                                       $0.00                                                                                            $0.00
Sierra Liquidity Fund, LLC ‐ Assignee & Att‐In‐Fact
for Champagne's Propane Inc ‐ Assignor
James S. Riley
19772 Mac Arthur Blvd
Suite 200                                                                  RS Legacy Corporation fka RadioShack
Irvine, CA 92612                                        3527      6/8/2015 Corporation                                                                                                                $0.00                                   $0.00
Bluefield (Ridgeview) WMS, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                  RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                      3528      6/8/2015 Corporation                                                                                                                              $2,501.19             $2,501.19
Little Britain Holdings, LLC
Mitchell S Rosen
5555 Glenridge Connectors Ste. 800                                         RS Legacy Corporation fka RadioShack
Atlanta, GA 30342                                       3529      6/8/2015 Corporation                                                                                                                              $6,920.92             $6,920.92
Shook, Dustin A
419 S Park Dr                                                              RS Legacy Corporation fka RadioShack
Ada, OH 45810                                           3530      6/8/2015 Corporation                                                                          $0.00                                                                         $0.00
Village Realty, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                  RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                      3531      6/8/2015 Corporation                                                                                                                              $2,043.38             $2,043.38

Monster, Inc. (f/k/a Monster Cable Products, Inc.)
Valerie Bantner Peo
Buchalter Nemer PC
425 Market Street
Suite 2900
San Francisco, CA 94105                                 3532      6/8/2015 Ignition L.P.                                                     $0.00                                                                                            $0.00
MAIN & MCFADDEN CENTER LLC
C/O PREMIER COMMERCIAL BROKERAGE
PO BOX 3131                                                                RS Legacy Corporation fka RadioShack
HUNTINGTON BEACH, CA 92605                              3533      6/8/2015 Corporation                                                                                            $0.00                                                       $0.00




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            Creditor Name and Address                    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                     Amount                                                     Amount
TROUP COUNTY
TAX COMMISSIONER
100 RIDLEY AVE                                                                RS Legacy Corporation fka RadioShack
LAGRANGE, GA 30240                                         3534      6/8/2015 Corporation                                                                     $2,454.94                                                                     $2,454.94
Sierra Liquidity Fund, LLC‐ Assignee & Att‐In‐Fact for
Accurate Heating & Cooling ‐ Assignor
19772 Mac Arthur Blvd #200                                                    RS Legacy Corporation fka RadioShack
Irvine , CA 92612                                          3535      6/8/2015 Corporation                                                                                                               $0.00                                   $0.00
Winston‐Salem (Oak Summit) WMC, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                     RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                         3536      6/8/2015 Corporation                                                $54,550.68                                                                                        $54,550.68
Freilinger Electronics, Inc.
218 East Main Street                                                          RS Legacy Corporation fka RadioShack
Silverton , OR 97381                                       3537      6/8/2015 Corporation                                                      $0.00                                                                                            $0.00
Shook, Dustin A.
419 S. Park Dr.                                                               RS Legacy Corporation fka RadioShack
Ada, OH 45810                                              3538      6/8/2015 Corporation                                                                                                                                 $0.00                 $0.00
Mason, Debbie A.
1444 Park Place, Apt. C6                                                      RS Legacy Corporation fka RadioShack
Brooklyn, NY 11213                                         3539      6/8/2015 Corporation                                                                       $87.09                                                                         $87.09
Popoola Olusegun & Mosunmola
4501 Morris Str. NE
Apt #280                                                                      RS Legacy Corporation fka RadioShack
Albuquerque, NM 87111                                      3540      6/8/2015 Corporation                                                     $34.29                                                                                           $34.29
Black Hills Corporation
1102 East First Street                                                        RS Legacy Corporation fka RadioShack
Papillion, NE 68046                                        3541      6/8/2015 Corporation                                                    $643.22                                                                                          $643.22
RHODAL 2 LLC
10632 N. Scottsdale Road
Suite B‐247                                                                   RS Legacy Corporation fka RadioShack
Scottsdale, AZ 85254                                       3542      6/9/2015 Corporation                                                                                                                            $17,897.61            $17,897.61
Sierra Liquidity Fund, LLC ‐ Assignee & Att‐In‐Fact
for All Trades Maintenance‐ Assignor
James S. Riley
19772 Mac Arthur Blvd
Suite 200                                                                     RS Legacy Corporation fka RadioShack
Irvine, CA 92612                                           3543      6/8/2015 Corporation                                                                                                               $0.00                                   $0.00
Bluefield (Ridgeview) WMS, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                     RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                         3544      6/8/2015 Corporation                                                      $0.00                                                                                            $0.00
Princeton (East River) WMS, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                     RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                         3545      6/8/2015 Corporation                                                      $0.00                                                                                            $0.00



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            Creditor Name and Address                    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                      Amount                                                     Amount
Jackson (Metro Junction) DDP, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                     RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                         3546      6/8/2015 Corporation                                                                                                                              $2,985.43             $2,985.43
TAX COLLECTOR
PO BOX 1298                                                                   RS Legacy Corporation fka RadioShack
COLUMBIANA, AL 35051                                       3547      6/8/2015 Corporation                                                                                          $552.10                                                     $552.10
Winkelman, James
62 Rangeley Road                                                              RS Legacy Corporation fka RadioShack
Chestnut Hill, MA 02467                                    3548      6/8/2015 Corporation                                                                                                                                  $0.00                 $0.00
KAUAI ISLAND UTILITY COOPERATIVE
4463 Pahee Street, Suite 1                                                     RS Legacy Corporation fka RadioShack
Lihue, HI 96766                                            3549      6/10/2015 Corporation                                                  $2,182.82                                $0.00                                                   $2,182.82
CAWTHON‐HOLLUMS PROP INC
PO Box 82640                                                                  RS Legacy Corporation fka RadioShack
HAPEVILLE, GA 30354                                        3550      6/8/2015 Corporation                                                   $5,505.55                                                                                        $5,505.55
SCHNEIDER, DEBORAH
2712 IMBS STATION RD                                                          RS Legacy Corporation fka RadioShack
MILLSTADT, IL 62260                                        3551      6/8/2015 Corporation                                                      $59.99                                                                                           $59.99
Movsessian, Vazrik
318 W. Elk #2                                                                  RS Legacy Corporation fka RadioShack
Glendale, CA 91204                                         3552      6/10/2015 Corporation                                                     $27.24                                                                                           $27.24
Hewlett‐Packard Company
Ken Higman, Default Analyst
12610 Park Plaza Dr                                                           RS Legacy Corporation fka RadioShack
Cerritos, CA 90703                                         3553      6/8/2015 Corporation                                                                                                                                  $0.00                 $0.00
Sierra Liquidity Fund, LLC‐ Assignee + Att‐In‐Fact for
Dalton HVAC ‐ Assignor
19772 Mac Arthur Blvd #200
Irvine , CA 92620                                          3554      6/8/2015 TE Electronics LP                                                                                                          $0.00                                   $0.00
Sierra Liquidity Fund, LLC ‐ Assignee & Att‐In‐Fact
for Northside Plumbing ‐ Assignor
19772 Mac Arthur Blvd., Suite 200                                             RS Legacy Corporation fka RadioShack
Irvine, CA 92612                                           3555      6/8/2015 Corporation                                                                                                                $0.00                                   $0.00
GARCIA, OSCAR
2920 N CENTER ST
APT 3                                                                         RS Legacy Corporation fka RadioShack
FLAGSTAFF, AZ 86004‐1915                                   3556      6/8/2015 Corporation                                                                                                                                  $0.00                 $0.00
City of Tarpon Springs, Florida
c/o Thomas J. Trask, Esquire
Trask, Metz & Daigneault, LLP
1001 South Fort Harrison Avenue, Suite 201                                    RS Legacy Corporation fka RadioShack
Clearwater, FL 33756                                       3557      6/8/2015 Corporation                                                                                                                                  $0.00                 $0.00
Winkelman, James
62 Rangeley Road                                                              RS Legacy Corporation fka RadioShack
Chestnut Hill, MA 02467                                    3558      6/8/2015 Corporation                                                      $53.11                                                                                           $53.11
JOHNNY APPLESEED CENTER LTD
4270 MORSE RD                                                                 RS Legacy Corporation fka RadioShack
COLUMBUS, OH 43230                                         3559      6/8/2015 Corporation                                                   $2,137.34                                                                                        $2,137.34




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                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
Radford (Peppers Ferry) WMS, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                  RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                      3560      6/8/2015 Corporation                                                                                                                                $701.10               $701.10
Martinsville (Mountainview) WMA, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                  RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                      3561      6/8/2015 Corporation                                                   $4,063.50                                                                                        $4,063.50
Johnson, Ronald W.
29253 Kestrel Ln.                                                           RS Legacy Corporation fka RadioShack
Laguna Niguel, CA 92677                                 3562      6/10/2015 Corporation                                                     $53.85                                                                                           $53.85
JACKSON (METRO JUNCTION) DDP, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                  RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                      3563      6/8/2015 Corporation                                                 $41,796.00                                                                                        $41,796.00
Stokes, Ron
5400 Kiwi Ct.                                                               RS Legacy Corporation fka RadioShack
Concord, NC 28025                                       3564      6/10/2015 Corporation                                                     $10.75                                                                                           $10.75
CAWTHON‐HOLLUMS PROPERTIES, INC.
J.E. Peterson
PO Box 82640                                                               RS Legacy Corporation fka RadioShack
HAPEVILLE, GA 30354                                     3565      6/8/2015 Corporation                                                                                                                                  $0.00                 $0.00
Sierra Liquidity Fund, LLC ‐ Assignee & Att‐In‐Fact
for Champagne's Propane Inc ‐ Assignor
19772 Mac Arthur Blvd #200                                                 RS Legacy Corporation fka RadioShack
Irvine, CA 92620                                        3566      6/8/2015 Corporation                                                                                                                $0.00                                   $0.00

Closter Marketplace (EBA), LLC
Laurence H. Berbert
BREGMAN, BERBERT, SCHWARTZ & GILDAY, LLC
7315 Wisconsin Avenue, Suite 800 West                                      RS Legacy Corporation fka RadioShack
Betheseda, MD 20814                                     3567      6/8/2015 Corporation                                                                                                                              $1,773.87             $1,773.87
Village Realty, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                  RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                      3568      6/8/2015 Corporation                                                   $2,724.50                                                                                        $2,724.50
Roeder, Alan
J. Herzog and Sons, Inc.
1720 S. Bellaire St., Suite 1209                                           RS Legacy Corporation fka RadioShack
Denver, CO 80222                                        3569      6/5/2015 Corporation                                                                                                                                  $0.00                 $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Sangertown Square, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                     RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                         3570      6/2/2015 Corporation                                                                                                                              $1,516.35             $1,516.35
Winston‐Salem (Oak Summit) WMC, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                     RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                         3571      6/8/2015 Corporation                                                   $5,195.30                                                                                        $5,195.30
John F. Horn & Cathy A. Horn
824 Edgemere Lane                                             RS Legacy Corporation fka RadioShack
Sarasota, FL 34242                         3572      6/9/2015 Corporation                                                                                       $14,000.00                                                  $14,000.00
VIDOR CROSSROADS LLC
350 PINE ST STE 800                                           RS Legacy Corporation fka RadioShack
BEAUMONT, TX 77701                         3573      6/8/2015 Corporation                                                   $1,596.57                                                                                        $1,596.57
MONTANA‐DAKOTA UTILITIES
PO BOX 5600                                                    RS Legacy Corporation fka RadioShack
BISMARCK, ND 58506                         3574      6/10/2015 Corporation                                                  $1,532.69                                                                                        $1,532.69
YUKON REFRIGERATION
3640 N. Rancho Dr. Suite 102                                  RS Legacy Corporation fka RadioShack
Las Vegas, NV 89130                        3575      6/8/2015 Corporation                                                   $2,049.94              $0.00                                                                     $2,049.94
Hampton Property Partnership, LLC
334 North Main Street                                         RS Legacy Corporation fka RadioShack
St. Charles, MO 63301                      3576      6/9/2015 Corporation                                                   $4,438.19                                                                                        $4,438.19
TOWN OF SPRING LAKE
Byron Blumenfeld
300 Ruth Street                                               RS Legacy Corporation fka RadioShack
Spring Lake, NC 28390                      3577      6/8/2015 Corporation                                                      $37.58                                                                                           $37.58
Levine, Bryan
98 Rartan Ave                                                  RS Legacy Corporation fka RadioShack
Staten Island, NY 10304                    3578      6/11/2015 Corporation                                                                                                             $217.74                                 $217.74
BAY COUNTY
DEPT OF WATER & SEWER
3933 PATTERSON RD                                             RS Legacy Corporation fka RadioShack
BAY CITY, MI 48706                         3579      6/8/2015 Corporation                                                                                           $23.24                                                      $23.24
UNITED ELECTRIC COOPERATIVE INC
PO BOX 688                                                    RS Legacy Corporation fka RadioShack
DUBOIS, PA 15801                           3580      6/8/2015 Corporation                                                     $607.96                                                                                          $607.96
MT STERLING ADVOCATE
PO BOX 406                                                    RS Legacy Corporation fka RadioShack
MT STERLING, KY 40353                      3581      6/8/2015 Corporation                                                     $335.00                                                                                          $335.00
Bautista, Adam
6746 Honeycrest Lane                                           RS Legacy Corporation fka RadioShack
Spring, TX 77389                           3582      6/11/2015 Corporation                                                                                                              $13.00                                  $13.00
Gerber , John
7037 Landingham Drive                                          RS Legacy Corporation fka RadioShack
Willow Spring, NC 27592                    3583      6/11/2015 Corporation                                                                         $0.00                                                                         $0.00




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                                                                                                                                                Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address            Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
Lim, James
124 East Broad Street #C                                               RS Legacy Corporation fka RadioShack
Falls Church, VA 22046                             3584      6/11/2015 Corporation                                                                                                               $0.00                                   $0.00
Adesara, Mitesh
76 Lasalle Ave                                                         RS Legacy Corporation fka RadioShack
Wabash, IN 46992                                   3585      6/11/2015 Corporation                                                    $200.00                                                                                          $200.00
Lowe, Gary
16509 Fishing Ave                                                      RS Legacy Corporation fka RadioShack
Rosemont, MN 55068                                 3586      6/11/2015 Corporation                                                      $0.00                                                                                            $0.00
AAA AIR CONDITIONING & REF., Inc.
1835 Coletoville Rd.                                                   RS Legacy Corporation fka RadioShack
Victoria, TX 77905                                 3587      6/10/2015 Corporation                                                  $2,130.72                                                                                        $2,130.72
Pitt, Susan
6642 Maple Lakes Dr.                                                   RS Legacy Corporation fka RadioShack
West Bloomfield, MI 48322                          3588      6/10/2015 Corporation                                                                                                              $21.19                                  $21.19
CITY OF EDEN
Erin B. Gilley ‐ City Attorney
308 East Stadium Drive                                                 RS Legacy Corporation fka RadioShack
Eden, NC 27288                                     3589      6/10/2015 Corporation                                                    $133.65                                                                                          $133.65
CITY OF PITTSBURGH
FINANCE DEPT
PO BOX 193                                                            RS Legacy Corporation fka RadioShack
PITTSBURG, KS 66762                                3590      6/8/2015 Corporation                                                                                                               $57.81                                  $57.81
CITY OF THOMASVILLE
Kelly Craver ‐ City Manager
10 Salem Street                                                       RS Legacy Corporation fka RadioShack
Thomasville, NC 27360                              3591      6/8/2015 Corporation                                                     $255.67                                $0.00                                                     $255.67

Los Angeles County Treasurer and Tax Collector
PO Box 54110                                                          RS Legacy Corporation fka RadioShack
Los Angeles, CA 90054‐0110                         3592      6/9/2015 Corporation                                                       $0.00              $0.00             $0.00                                                       $0.00
6118 Bergenline Avenue Corp.
Nicolette Law Firm, LLC
David A. Nicolette
25 East Salem Street, Suite 400                                       RS Legacy Corporation fka RadioShack
Hackensack, NJ 07601                               3593      6/9/2015 Corporation                                                                                                            $6,434.63                               $6,434.63
SISKIN INVESTMENT CO
ATTN MICHAEL MURPHY
2873 MARRCREST CIR N                                                  RS Legacy Corporation fka RadioShack
PROVO, UT 84604                                    3594      6/8/2015 Corporation                                                   $1,446.43                                                                                        $1,446.43
THE EMPIRE DISTRICT GAS COMPANY
PO BOX 127                                                             RS Legacy Corporation fka RadioShack
JOPLIN, MO 64802‐0127                              3595      6/10/2015 Corporation                                                    $958.29                                                                                          $958.29
SHOQUIST PROPERTIES, LP
CAROL SHOQUIST
5120 MEADOWSIDE LANE                                                  RS Legacy Corporation fka RadioShack
PLANO, TX 75093                                    3596      6/9/2015 Corporation                                                       $0.00                                                                                            $0.00

Aviana Company 3 LLC
c/o Carnegie Management & Development Corp
27500 Detroit Road, Ste. 300                                           RS Legacy Corporation fka RadioShack
Westlake, OH 44145                                 3597      6/11/2015 Corporation                                                      $0.00                                                                                            $0.00



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                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
HEBCO DEVELOPMENT INC
PO BOX 839955                                                               RS Legacy Corporation fka RadioShack
SAN ANTONIO, TX 78283‐3955                               3598      6/9/2015 Corporation                                                   $5,495.95                                                                                        $5,495.95
DIGILANT INC
2 Oliver Street
Suite 901                                                                   RS Legacy Corporation fka RadioShack
Boston, MA 02109                                         3599      6/9/2015 Corporation                                                 $97,033.77                                                                                        $97,033.77
Young, Margaret M
c/o Vernon Young
5325 Katy Fwy, Ste One                                                       RS Legacy Corporation fka RadioShack
Houston, TX 77007‐2287                                   3600      6/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Leesburg Pike Center LLC
Stephen A. Metz, Esquire
Shulman Rogers Gandal Pordy & Ecker, PA
12505 Park Potomac Avenue
6th Floor                                                                   RS Legacy Corporation fka RadioShack
Potomac, MD 20854                                        3601      6/9/2015 Corporation                                                   $6,784.64                                                                                        $6,784.64
Direct Energy Business, LLC
William Egley, Manager of Receivables
Management
1001 Liberty Avenue, Floor 13                                               RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15222                                     3602      6/9/2015 Corporation                                                                                                                             $28,077.85            $28,077.85
MUNICIPALITY OF SAN SEBASTIAN
PO BOX 1603                                                                 RS Legacy Corporation fka RadioShack
SAN SEBASTIAN, PR 00685                                  3603      6/9/2015 Corporation                                                                       $101.33                                                                        $101.33
THE CENTRE AT FORESTVILLE, LLC
C/O PETRIE RICHARDSON VENTURES
1919 WEST STREET
SUITE 100                                                                   RS Legacy Corporation fka RadioShack
ANNAPOLIS, MD 21401                                      3604      6/9/2015 Corporation                                                   $4,568.43                                                                                        $4,568.43
Scott D.H. Redman, Individually and on behalf of all
others similarly situated
Paul F. Markoff
Markoff Leinberger LLC
134 N LaSalle St Ste 1050                                                   RS Legacy Corporation fka RadioShack
Chicago, IL 60602                                        3605      6/9/2015 Corporation                                         $16,000,000,000.00                                                                               $16,000,000,000.00
TAB ASSOCIATES
ATTN.: MARK TANENBAUM
43‐29 BELL BOULEVARD                                                        RS Legacy Corporation fka RadioShack
BAYSIDE, NY 11361                                        3606      6/9/2015 Corporation                                                   $7,285.71                                                                                        $7,285.71
CITY OF CENTRALIA
PO BOX 569                                                                  RS Legacy Corporation fka RadioShack
CENTRALIA, IL 62801                                      3607      6/8/2015 Corporation                                                      $37.39                                                                                           $37.39
SHOQUIST PROPERTIES, LP
CAROL SHOQUIST
5120 MEADOWSIDE LANE                                                        RS Legacy Corporation fka RadioShack
PLANO, TX 75093                                          3608      6/9/2015 Corporation                                                                                                                                  $0.00                 $0.00
EVDOKIA KARAS
9217 N MERRILL                                                              RS Legacy Corporation fka RadioShack
MORTON GROVE, IL 60053                                   3609      6/9/2015 Corporation                                                   $4,001.22                                                                  $2,000.61             $6,001.83




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                                                                                                                               Current General                                            Current 503(b)(9)
                                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                 Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
Salesforce.com, Inc.
c/o BIALSON, BERGEN & SCHWAB, P.C.
Thomas M. Gaa, Esq.
2600 El Camino Real, Suite 300                                             RS Legacy Corporation fka RadioShack
Palo Alto, CA 94551                                     3610      6/8/2015 Corporation                                                     $228.81                                                                 $17,372.18            $17,600.99
State of Michigan
Unemployment Insurance Agency, Tax Office
POC Unit, STE 12‐650
3024 W. Grand Blvd                                                          RS Legacy Corporation fka RadioShack
Detroit, MI 48202                                       3611      6/11/2015 Corporation                                                                     $5,881.72                                                                     $5,881.72
Glenwood Associates LLC
Nate Sorenson
102 Larch Circle
SUITE 301                                                                  RS Legacy Corporation fka RadioShack
Newport, DE 19804                                       3612      6/8/2015 Corporation                                                 $12,111.52                                                                       $0.00            $12,111.52
Sierra Liquidity Fund, LLC ‐ Assignee + ATT‐In‐Fact
for Professional Plumbing ‐ Assignor
19772 MacArthur Blvd
Suite 200                                                                  RS Legacy Corporation fka RadioShack
Irvine, CA 92620                                        3613      6/8/2015 Corporation                                                                                                                $0.00                                   $0.00
BAXTER COUNTY TAX COLLECTOR
#8 EAST 7TH ST                                                              RS Legacy Corporation fka RadioShack
MOUNTAIN HOME, AR 72653                                 3614      6/10/2015 Corporation                                                                     $1,284.42                                                                     $1,284.42
Princeton (East River) WMS, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                  RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                      3615      6/8/2015 Corporation                                                                                                                              $2,961.22             $2,961.22
Village Realty, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                  RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                      3616      6/8/2015 Corporation                                                       $0.00                                                                                            $0.00
DAVIS COUNTY ASSESSOR
PO BOX 618                                                                  RS Legacy Corporation fka RadioShack
FARMINGTON, UT 84025                                    3617      6/10/2015 Corporation                                                                      $317.85                                                                        $317.85
UNITED POWER
PO BOX 5025                                                                 RS Legacy Corporation fka RadioShack
BRIGHTON, CO 80601                                      3618      6/10/2015 Corporation                                                    $499.18                                                                                          $499.18
TAX COLLECTOR
PO BOX A                                                                    RS Legacy Corporation fka RadioShack
PINE BLUFF, AR 71611                                    3619      6/10/2015 Corporation                                                                     $2,944.73                                                                     $2,944.73
811 FAIR OAKS AVENUE LLC AND AGM MARINA
CLUB LLC
C/O THE KUTZER COMPANY
716 MISSION STREET                                                         RS Legacy Corporation fka RadioShack
SOUTH PASADENA, CA 91030‐3040                           3620      6/9/2015 Corporation                                                                                                                             $10,637.59            $10,637.59




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                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
SOUTHGATE ASSOCIATES, LLC
2570 WALDEN AVENUE
ATTN.: JAMES F. CAMPOFELICE                                        RS Legacy Corporation fka RadioShack
CHEEKTOWAGA, NY 14225                           3621      6/9/2015 Corporation                                                                          $0.00                                                                         $0.00
COLUMBUS WATER WORKS
PO BOX 1600                                                        RS Legacy Corporation fka RadioShack
COLUMBUS, GA 31902                              3622      6/8/2015 Corporation                                                      $74.57                                                                                           $74.57
INDEPENDENCE SHOPPING CENTER CHARLOTTE, NC
LP
270 COMMERCE DRIVE                                                 RS Legacy Corporation fka RadioShack
ROCHESTER, NY 14623‐3506                        3623      6/9/2015 Corporation                                                   $5,400.45              $0.00                                                  $22.35             $5,422.80
CONCORD LAND & DEVELOPMENT LLC
568 JETTON ST STE 200                                              RS Legacy Corporation fka RadioShack
DAVIDSON, NC 28036                              3624      6/8/2015 Corporation                                                       $0.00                                                                                            $0.00
CENTER TOWNSHIP
WATER AUTHORITY
SEWER AUTHORITY
224 CENTER GRANGE RD                                                RS Legacy Corporation fka RadioShack
ALIQUIPPA, PA 15001                             3625      6/10/2015 Corporation                                                     $65.73                                                                                           $65.73
Ramos, Marielena
633 N. Irving Blvd                                                  RS Legacy Corporation fka RadioShack
Los Angeles, CA 90004                           3626      6/10/2015 Corporation                                                     $69.00                                                                                           $69.00
H E BUTT GROCERY COMPANY
PO BOX 839955                                                      RS Legacy Corporation fka RadioShack
SAN ANTONIO, TX 78283                           3627      6/9/2015 Corporation                                                   $3,342.85                                                                                        $3,342.85
ADAMS COUNTY TREASURER
PO BOX 869                                                          RS Legacy Corporation fka RadioShack
BRIGHTON, CO 80601                              3628      6/10/2015 Corporation                                                                                           $0.00                                                       $0.00
Brown, Patricia
134 Eagle Vista                                                     RS Legacy Corporation fka RadioShack
Bishop, CA 93514                                3629      6/10/2015 Corporation                                                    $100.00                                                                                          $100.00
Boyd, Jennifer J.
4639 Emerson Ave N                                                  RS Legacy Corporation fka RadioShack
MINNEAPOLIS, MN 55412                           3630      6/10/2015 Corporation                                                     $86.19                                                                                           $86.19
HY‐VEE GROCERY
3140 AGENCY ST
BURLINGTON, IA 52601                            3631      6/10/2015 TE Electronics LP                                                $0.00                                                                                            $0.00
Buchholz, James
4203C W. Muledeer Dr.                                               RS Legacy Corporation fka RadioShack
Usafa, CO 80840                                 3632      6/10/2015 Corporation                                                    $100.00                                                                                          $100.00
Oklahoma Natural Gas Company, a division of
ONEGAS, Inc.
PO Box 21019                                                        RS Legacy Corporation fka RadioShack
Tulsa, OK 74121‐1019                            3633      6/10/2015 Corporation                                                    $143.21                                                                                          $143.21
Syed, Farooq
1438 WINCHESTER AVE                                                 RS Legacy Corporation fka RadioShack
LAKEWOOD, OH 44107                              3634      6/10/2015 Corporation                                                    $835.46                                                                                          $835.46
A‐24 HOUR DOOR AMERICA/ TENN. DOOR INC
James L. Nelson/Tennessee Door Inc
4116 BENT RD.                                                       RS Legacy Corporation fka RadioShack
KODAK, TN 37764                                 3635      6/10/2015 Corporation                                                    $370.19              $0.00                                                                       $370.19




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                                                                                                                          Amount                                                     Amount
DAVIS COUNTY ASSESSOR
PO BOX 618                                                         RS Legacy Corporation fka RadioShack
FARMINGTON, UT 84025                           3636      6/10/2015 Corporation                                                                      $161.07                                                                        $161.07
SHERIFF OF BROOKE COUNTY
202 COURTHOUSE SQUARE                                              RS Legacy Corporation fka RadioShack
WELLSBURG, WV 26070                            3637      6/10/2015 Corporation                                                                     $2,333.34                                                                     $2,333.34
NM Taxation & Revenue Department
PO Box 8575                                                        RS Legacy Corporation fka RadioShack
Albuquerque, NM 87198‐8575                     3638      6/10/2015 Corporation                                                  $1,760.29                                                                                        $1,760.29
St. Louis Post‐Dispatch
Attn: Kathy Dobson
900 N Tucker Blvd.                                                 RS Legacy Corporation fka RadioShack
St. Louis, MO 63101                            3639      6/10/2015 Corporation                                                $48,197.57                                                                                        $48,197.57
National Fuel Gas Distribution Corporation
6363 Main Street                                                   RS Legacy Corporation fka RadioShack
Williamsville, NY 14221                        3640      6/10/2015 Corporation                                                  $7,924.09                                                                                        $7,924.09
MIDWEST ENERGY INC.
PO BOX 898                                                         RS Legacy Corporation fka RadioShack
HAYS, KS 67601                                 3641      6/10/2015 Corporation                                                  $1,145.33                                                                                        $1,145.33
YALE PENSACOLA, LLC
C/O YALE REALTY SERVICES CORP
10 NEW KING STREET SUITE 102                                       RS Legacy Corporation fka RadioShack
WHITE PLAINS, NY 10604                         3642      6/10/2015 Corporation                                                $26,512.08                                                                                        $26,512.08
Mach Speed Technologies, LLC
300 E. Arlington, Suite 3                                          RS Legacy Corporation fka RadioShack
Aida, OK 79820                                 3643      6/10/2015 Corporation                                               $103,295.95                                                     $0.00                             $103,295.95
Sun, Junhui
5009 Druid Drive                                                   RS Legacy Corporation fka RadioShack
Kensington, MD 20895                           3644      6/11/2015 Corporation                                                     $70.00                                                                                           $70.00
HIGHWAY 20 SHOPS, LLC
1775 WOODSTOCK ROAD
SUITE 150                                                          RS Legacy Corporation fka RadioShack
ROSWELL, GA 30075                              3645      6/10/2015 Corporation                                                  $6,382.28                                                                                        $6,382.28
City of Loveland
Utility Billing ‐ Administrative Office
Attn: Kay Cox
500 East Third Street
Suite 100                                                          RS Legacy Corporation fka RadioShack
Loveland, CO 80537                             3646      6/10/2015 Corporation                                                    $901.28                                                                                          $901.28
City of Glenwood Spring
Attn: Legal Department
101 West 8th Street                                                RS Legacy Corporation fka RadioShack
Glenwood Springs, CO 81601                     3647      6/10/2015 Corporation                                                  $1,436.60                                                                                        $1,436.60
Henry, William
458 S. Canton Rd                                                   RS Legacy Corporation fka RadioShack
Potsdam, NY 13676                              3648      6/10/2015 Corporation                                                     $77.00                                                                                           $77.00
Goedert, Jerald F.
1040 Locust Street                                                 RS Legacy Corporation fka RadioShack
Sutherland, NE 69165                           3649      6/10/2015 Corporation                                                     $50.00                                                                                           $50.00




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                                                                                                                               Amount                                                     Amount
CITY OF RIVERSIDE
CENTRAL CASHERING CITY HALL
3900 MAIN STREET                                                       RS Legacy Corporation fka RadioShack
RIVERSIDE, CA 92522                                 3650      6/5/2015 Corporation                                                       $0.00                                                                                            $0.00
GLORIA MANSFIELD
1401 FOUNTAINGROVE PKWY # 334                                           RS Legacy Corporation fka RadioShack
SANTA ROSA, CA 95403                                3651      6/10/2015 Corporation                                                  $6,426.97                                                                                        $6,426.97
NEW BRAUNFELS HERALD‐ZEITUNG
549 Landa St                                                            RS Legacy Corporation fka RadioShack
New Braunfels, TX 78130                             3652      6/10/2015 Corporation                                                      $0.00                                                                                            $0.00
COLLECTOR
CITY OF MERIDEN
142 EAST MAIN ST, ROOM 117                                              RS Legacy Corporation fka RadioShack
MERIDEN, CT 06450                                   3653      6/10/2015 Corporation                                                                      $905.14                                                                        $905.14
Oklahoma Natural Gas Company, a division of
ONEGAS, Inc.
PO Box 21019                                                            RS Legacy Corporation fka RadioShack
Tulsa, OK 74121‐1019                                3654      6/10/2015 Corporation                                                    $167.57                                                                                          $167.57
Dejesus Colon, Edwin O
35 Calle Escorpora
Extancias de Barceloneta                                                RS Legacy Corporation fka RadioShack
Barceloneta, PR 00617                               3655      6/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Oklahoma Natural Gas Company, a division of
ONEGAS, Inc.
PO Box 21019                                                            RS Legacy Corporation fka RadioShack
Tulsa, OK 74121‐1019                                3656      6/10/2015 Corporation                                                    $286.64                                                                                          $286.64
CITY OF MILFORD
Jeff Wright ‐ CITY MANAGER and Dee Dee Hershey‐
Shaw
745 Center Street, Suite 200                                            RS Legacy Corporation fka RadioShack
Milford, OH 45150                                   3657      6/10/2015 Corporation                                                    $107.59                                                                                          $107.59
CoServ Electric
Attn: Revenue Recovery
7701 S STEMMONS                                                         RS Legacy Corporation fka RadioShack
CORINTH, TX 76210                                   3658      6/10/2015 Corporation                                                  $2,575.75                                                                                        $2,575.75
Claim Docketed In Error                                                 RS Legacy Corporation fka RadioShack
                                                    3659      6/10/2015 Corporation                                                                                                                                                       $0.00
ANTELOPE VALLEY MALL, LLC
50 PUBLIC SQUARE
SUITE 1360                                                              RS Legacy Corporation fka RadioShack
CLEVELAND, OH 44113                                 3660      6/10/2015 Corporation                                                                                                                             $3,345.92             $3,345.92
Lopez, Manuel T.
1303 Anton Pl.                                                          RS Legacy Corporation fka RadioShack
Aromas, CA 95004                                    3661      6/10/2015 Corporation                                                     $40.00                                                                                           $40.00
Oklahoma Natural Gas Company, a division of
ONEGAS, Inc.
PO Box 21019                                                            RS Legacy Corporation fka RadioShack
Tulsa, OK 74121‐1019                                3662      6/10/2015 Corporation                                                    $154.14                                                                                          $154.14
MISSOURI GAS ENERGY
PO BOX 219255                                                           RS Legacy Corporation fka RadioShack
KANSAS CITY, MO 64121                               3663      6/10/2015 Corporation                                                    $893.65                                                                                          $893.65




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                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
Buchholz, James
4203C W. Muledeer Dr.                                               RS Legacy Corporation fka RadioShack
Usafa, CO 80840                                 3664      6/10/2015 Corporation                                                                                                                               $100.00               $100.00
Correa, Efren
1420 Irving St.                                                     RS Legacy Corporation fka RadioShack
So. Plainfield, NJ 07080                        3665      6/10/2015 Corporation                                                     $84.53                                                                                           $84.53
Boulder County Treasurer
PO Box 471                                                          RS Legacy Corporation fka RadioShack
Boulder, CO 80306                               3666      6/10/2015 Corporation                                                                                       $2,968.64                                                   $2,968.64
Arevalos, Maria J.
12655 Harlow Ave                                                    RS Legacy Corporation fka RadioShack
Riverside, CA 92503                             3667      6/10/2015 Corporation                                                                                                                               $215.99               $215.99
DAVIS COUNTY ASSESSOR
PO BOX 618                                                          RS Legacy Corporation fka RadioShack
FARMINGTON, UT 84025                            3668      6/10/2015 Corporation                                                                      $155.78                                                                        $155.78
PRISCILLA AGUILAR ‐ VALCOR COMMERCIAL REAL
ESTATE
5101 Broadway Suite 200                                             RS Legacy Corporation fka RadioShack
San Antonio, TX 78209                           3669      6/10/2015 Corporation                                                                                                                                                       $0.00
CITY OF ABERDEEN
FINANCE DEPARTMENT
200 E MARKET ST                                                     RS Legacy Corporation fka RadioShack
ABERDEEN, WA 98520                              3670      6/10/2015 Corporation                                                    $121.57                                                                                          $121.57
Ohio Bureau of Workers' Compensation
Attn: Larry Rhodebeck
PO Box 15567                                                        RS Legacy Corporation fka RadioShack
Columbus, OH 43215‐0567                         3671      6/10/2015 Corporation                                                                                                                                 $0.00                 $0.00
Marietta Power
Wilma R. Bush
MOORE INGRAM JOHNSON & STEELE, LLP
326 Roswell Street                                                  RS Legacy Corporation fka RadioShack
Marietta, GA 30060                              3672      6/10/2015 Corporation                                                  $1,135.63                                                                                        $1,135.63
Hayward, Lee
1172 Britton Ave.                                                   RS Legacy Corporation fka RadioShack
San Jose, CA 95125                              3673      6/10/2015 Corporation                                                                       $35.00              $0.00                                                      $35.00
Elder, Richard
9011 Gardenia Meadow Lane                                           RS Legacy Corporation fka RadioShack
Spring, TX 77379                                3674      6/10/2015 Corporation                                                                      $300.00                                                                        $300.00
Shumate, Andrea
MANUFACTURERS NEWS, INC.
1633 CENTRAL ST                                                     RS Legacy Corporation fka RadioShack
EVANSTON, IL 60201                              3675      6/10/2015 Corporation                                                      $0.00                                                                                            $0.00
215 BANDERA PARTNERS, LTD
C/O VALCOR COMMERCIAL REAL ESTATE
5101 BROADWAY, SUITE 200                                            RS Legacy Corporation fka RadioShack
SAN ANTONIO, TX 78209                           3676      6/10/2015 Corporation                                                                         $0.00                                                                         $0.00
Oklahoma Natural Gas Company, a division of
ONEGAS, Inc.
PO Box 21019                                                        RS Legacy Corporation fka RadioShack
Tulsa , OK 74121‐1019                           3677      6/10/2015 Corporation                                                    $301.26                                                                                          $301.26




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                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
PARKING MANAGEMENT COMPANY
514 SW 6th Avenue
1st Floor                                                           RS Legacy Corporation fka RadioShack
PORTLAND, OR 97204                              3678      6/10/2015 Corporation                                                    $935.79                                                                                          $935.79
YALE PENSACOLA LLC
C/O YALE REALTY SERVICES CORPORATION
10 NEW KING STREET
SUITE 102                                                           RS Legacy Corporation fka RadioShack
WHITE PLAINS, NY 10604                          3679      6/10/2015 Corporation                                                                                                                                 $0.00                 $0.00
Manfield, Gloria
Blatteis Realty
44 Montgomery St., Ste. 1288                                        RS Legacy Corporation fka RadioShack
SAN FRANCISCO, CA 94104                         3680      6/10/2015 Corporation                                                                                                                                 $0.00                 $0.00
Oklahoma Natural Gas Company, a division of
ONEGAS, Inc.
PO Box 21019                                                        RS Legacy Corporation fka RadioShack
Tulsa, OK 74121‐1019                            3681      6/10/2015 Corporation                                                    $122.05                                                                                          $122.05
HERNANDEZ, JENNIFER
1002 E ST ANDREW PL                                                 RS Legacy Corporation fka RadioShack
SANTA ANA , CA 92707                            3682      6/10/2015 Corporation                                                     $75.00                                                                                           $75.00
CENTER TOWNSHIP
WATER AUTHORITY
TREASURY
224 CENTER GRANGE RD                                                RS Legacy Corporation fka RadioShack
ALIQUIPPA, PA 15001                             3683      6/10/2015 Corporation                                                     $43.79                                                                                           $43.79
ATHENS UTILITIES BOARD
Eric Newberry ‐ General Manager
100 Englewood Road                                                  RS Legacy Corporation fka RadioShack
Athens, TN 37371                                3684      6/10/2015 Corporation                                                  $1,026.78                                                                                        $1,026.78
Shumate, Andrea
MANUFACTURERS NEWS, INC.
1633 CENTRAL ST                                                     RS Legacy Corporation fka RadioShack
EVANSTON, IL 60201                              3685      6/10/2015 Corporation                                                                                                                                 $0.00                 $0.00
22300 LAKE SHORE BLVD LLC
Miles G. Carter
13 WEST HANNA LANE                                                  RS Legacy Corporation fka RadioShack
BRATENAHL, OH 44108                             3686      6/10/2015 Corporation                                                                                                               $0.00                                   $0.00
CCVA, INC.
HECTOR J. FIGUEROA VINCENTY
EDIFICIO NORFE 201 AVE. 65 INFANTERIA 714                           RS Legacy Corporation fka RadioShack
SAN JUAN, PR 00924                              3687      6/10/2015 Corporation                                                $14,589.16                                                                                        $14,589.16
OKLAHOMA NATURAL GAS COMPANY, A DIVISION
OF ONEGAS, INC.
PO BOX 21019                                                        RS Legacy Corporation fka RadioShack
TULSA, OK 74121‐1019                            3688      6/10/2015 Corporation                                                    $637.70                                                                                          $637.70
Dockins, Bryant
522 E MARKISON AVE                                                  RS Legacy Corporation fka RadioShack
COLUMBUS, OH 43207                              3689      6/10/2015 Corporation                                                                                                                                                       $0.00
Hernandez, Megan M.
978 Blue Bonnet Dr                                                  RS Legacy Corporation fka RadioShack
Harlingen, TX 78550                             3690      6/10/2015 Corporation                                                    $108.24                                                                                          $108.24




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                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount

ARKANSAS OKLAHOMA GAS CORP
Shannon Mirus‐ Senior Vice President – Counsel
115 North 12th Street                                                  RS Legacy Corporation fka RadioShack
FORT SMITH, AR 72901                               3691      6/10/2015 Corporation                                                     $92.88                                                                                           $92.88
Paxton Media Group
dba Courier Times
PO Box 1640                                                            RS Legacy Corporation fka RadioShack
Paducah, KY 42002                                  3692      6/10/2015 Corporation                                                    $371.20                                                                                          $371.20
WEST BEND PLAZA FLP JAMES E DESHUS
KENNETH A. BIECK
BIECK MANAGEMENT INC
5205 N. IRONWOOD RD # 201                                              RS Legacy Corporation fka RadioShack
GLENDALE, WI 53217                                 3693      6/10/2015 Corporation                                                  $2,532.85                                                    $0.00         $6,396.65             $8,929.50
JACKSON COUNTY TAX COLLECTOR
10 SOUTH OAKDALE RM 111                                                RS Legacy Corporation fka RadioShack
MEDFORD, OR 97501                                  3694      6/10/2015 Corporation                                                                      $557.83                                                                        $557.83
Bluebonnet Electronic Cooperative
PO Box 729                                                             RS Legacy Corporation fka RadioShack
Bastrop, TX 78602                                  3695      6/10/2015 Corporation                                                    $451.86                                                                                          $451.86
OKLAHOMA NATURAL GAS COMPANY, A DIVISON
OF ONEGAS, INC.
PO BOX 21019                                                           RS Legacy Corporation fka RadioShack
TULSA, OK 74121‐1019                               3696      6/10/2015 Corporation                                                    $235.21                                                                                          $235.21
Vega Lamboy, Neftalie
Urb. Rio Canas Calle Cristal # 1714                                    RS Legacy Corporation fka RadioShack
Ponce, PR 00728                                    3697      6/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Arevalos, Maria J.
12655 Harlow Ave                                                       RS Legacy Corporation fka RadioShack
Riverside, CA 92503                                3698      6/10/2015 Corporation                                                    $215.99                                                                                          $215.99
Dockins, Bryant
522 E MARKISON AVE                                                     RS Legacy Corporation fka RadioShack
COLUMBUS, OH 43207‐1371                            3699      6/10/2015 Corporation                                                                         $0.00                                                                         $0.00
YALE PENSACOLA LLC
C/O YALE REALTY SERVICES CORPORATION
10 NEW KING STREET
SUITE 102                                                              RS Legacy Corporation fka RadioShack
WHITE PLAINS, NY 10604                             3700      6/10/2015 Corporation                                                      $0.00                                                                  $3,165.12             $3,165.12
Bowman, Johann
3948 South 3rd Street #58                                              RS Legacy Corporation fka RadioShack
Jacksonville Beach, FL 32250                       3701      6/10/2015 Corporation                                                    $100.00                                                                                          $100.00
KARAS , EVDOKIA
9217 N MERRILL                                                        RS Legacy Corporation fka RadioShack
MORTON GROVE, IL 60053                             3702      6/9/2015 Corporation                                                       $0.00                                                                                            $0.00
NEWS‐TOPIC
C/O PAXTON MEDIA GROUP
PO BOX 1200                                                            RS Legacy Corporation fka RadioShack
PADUCAH, KY 42002‐1200                             3703      6/10/2015 Corporation                                                    $390.91                                                                                          $390.91
SOUTHGATE ASSOCIATES, LLC
2750 Walden Avenue                                                    RS Legacy Corporation fka RadioShack
Cheektowaga, NY 14225                              3704      6/9/2015 Corporation                                                                                                                                  $0.00                 $0.00




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            Creditor Name and Address         Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
Spillner, Jeanette
6628 Saxton Run                                                     RS Legacy Corporation fka RadioShack
Ft. Wayne, IN 46835                             3705      6/10/2015 Corporation                                                     $10.70                                                                                           $10.70
The Empire District Electric Company
PO Box 127                                                          RS Legacy Corporation fka RadioShack
Joplin, MO 64802‐0127                           3706      6/10/2015 Corporation                                                    $270.12                                                                                          $270.12
MIDWEST COMMUNICATIONS INC
PO BOX 27100                                                        RS Legacy Corporation fka RadioShack
KNOXVILLE, TN 37927                             3707      6/11/2015 Corporation                                                  $2,137.75                                                                                        $2,137.75
DAILY CORINTHIAN
C/O PAXTON MEDIA GROUP
PO BOX 1200                                                         RS Legacy Corporation fka RadioShack
PADUCAH, KY 42002                               3708      6/10/2015 Corporation                                                    $480.00                                                                                          $480.00
Oklahoma Natural Gas Company, a division of
ONEGAS, Inc.
PO Box 21019                                                        RS Legacy Corporation fka RadioShack
Tulsa, OK 74121‐1019                            3709      6/10/2015 Corporation                                                    $703.93                                                                                          $703.93
City Attorney
2400 Washington Avenue
9th Floor                                                           RS Legacy Corporation fka RadioShack
Newport News, VA 23607                          3710      6/10/2015 Corporation                                                    $157.36                                                                                          $157.36
INTERMOUNTAIN GAS CO
PO BOX 64                                                           RS Legacy Corporation fka RadioShack
BOISE, ID 83732                                 3711      6/10/2015 Corporation                                                  $3,105.66                                                                                        $3,105.66
SULPHUR SPRINGS VALLEY
ELECTRIC COOPERATIVE INC
350 N HASKELL AVE
0                                                                   RS Legacy Corporation fka RadioShack
WILLCOX, AZ 85643‐1718                          3712      6/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Oklahoma Natural Gas Company, a division of
ONEGAS, Inc.
PO Box 21019                                                        RS Legacy Corporation fka RadioShack
Tulsa, OK 74121‐1019                            3713      6/10/2015 Corporation                                                    $435.98                                                                                          $435.98
Oklahoma Natural Gas Company, a division of
ONEGAS, Inc.
PO Box 21019                                                        RS Legacy Corporation fka RadioShack
Tulsa, OK 74121‐1019                            3714      6/10/2015 Corporation                                                    $247.55                                                                                          $247.55
McLaughlin Freight Services, Inc.
604 Main Street, P.O. Box 700                                       RS Legacy Corporation fka RadioShack
Mediapolis , IA 52637                           3715      6/11/2015 Corporation                                                $10,056.36                                                                                        $10,056.36
Golden State Water Company
PO Box 9016                                                         RS Legacy Corporation fka RadioShack
San Dimas, CA 91773                             3716      6/11/2015 Corporation                                                    $543.14                                                                                          $543.14
Volobuev, Alexey
PO Box 22264                                                        RS Legacy Corporation fka RadioShack
Honolulu, HI 96823                              3717      6/11/2015 Corporation                                                     $25.00                                                                                           $25.00
Sun, Junhui
5009 Druid Drive                                                    RS Legacy Corporation fka RadioShack
Kensington, MD 20895                            3718      6/11/2015 Corporation                                                     $70.00                                                                                           $70.00
CITY OF HICKORY
PO BOX 580069                                                       RS Legacy Corporation fka RadioShack
CHARLOTTE, NC 282580069                         3719      6/10/2015 Corporation                                                     $64.85                                                                                           $64.85



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            Creditor Name and Address         Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
City of Hamilton
ATTN: Heather Lewis ‐ City Law Director
232 High Street                                                     RS Legacy Corporation fka RadioShack
Hamilton, OH 45011                              3720      6/10/2015 Corporation                                                  $1,267.79                                                                                        $1,267.79
City of Lafayette
Ronald R. Womack ‐ City Attorney
C/O Womack, Gottlieb and Rodham, P.C.
109 East Patton Avenue                                              RS Legacy Corporation fka RadioShack
Lafayette, GA 30728                             3721      6/10/2015 Corporation                                                    $123.71                                                                                          $123.71
CITY OF WESTERVILLE OHIO
Attn: Utility Billing Dept.
21 S. State Street                                                  RS Legacy Corporation fka RadioShack
Westerville, OH 43081                           3722      6/10/2015 Corporation                                                    $768.05                                                                                          $768.05
SCANA ENERGY
220 Operation Way
Mail Code C222
Attn: Janet Reyes                                                   RS Legacy Corporation fka RadioShack
Cayce, SC 29033                                 3723      6/10/2015 Corporation                                                  $7,405.89              $0.00                                               $1,655.77             $9,061.66
BOWERS‐CENTRAL CORP
C/O PETER HIRSCHMANN INC
301 S LIVINGSTON AVE SUITE 100                                      RS Legacy Corporation fka RadioShack
LIVINGSTON, NJ 07039                            3724      6/10/2015 Corporation                                                  $7,777.40                                                                                        $7,777.40
CITY OF COLORADO SPRINGS
DEPARTMENT OF UTILITIES
PO BOX 1103                                                         RS Legacy Corporation fka RadioShack
COLORADO SPRINGS , CO 80947                     3725      6/10/2015 Corporation                                                  $5,141.75                                                                                        $5,141.75
Oklahoma Natural Gas Company, a division of
ONEGAS, Inc.
PO Box 21019                                                        RS Legacy Corporation fka RadioShack
Tulsa, OK 74121‐1019                            3726      6/10/2015 Corporation                                                    $278.48                                                                                          $278.48
THE DAILY STAR
C/O PAXTON MEDIA GROUP
PO BOX 1200                                                         RS Legacy Corporation fka RadioShack
PADUCAH, KY 42002                               3727      6/10/2015 Corporation                                                    $540.10                                                                                          $540.10
THE DAILY DISPATCH
C/O PAXTON MEDIA GROUP
PO BOX 1200                                                         RS Legacy Corporation fka RadioShack
PADUCAH, KY 42002‐1200                          3728      6/10/2015 Corporation                                                    $354.02                                                                                          $354.02
SARASOTA COUNTY
TAX COLLECTOR
101 S WASHINGTON BLVD                                               RS Legacy Corporation fka RadioShack
SARASOTA, FL 34236                              3729      6/10/2015 Corporation                                                                      $539.10                                                                        $539.10
Oklahoma Natural Gas Company, a division of
ONEGAS, Inc.
PO Box 21019                                                        RS Legacy Corporation fka RadioShack
Tulsa, OK 74121‐1019                            3730      6/10/2015 Corporation                                                    $114.51                                                                                          $114.51
CAL PERL UPLAND 5 LP
C/O DMP PROPERTIES
250 NEWPORT CENTER DR STE 300                                       RS Legacy Corporation fka RadioShack
NEWPORT BEACH, CA 92660                         3731      6/10/2015 Corporation                                                  $7,870.88                                                                                        $7,870.88




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            Creditor Name and Address              Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
Sanders, Rita
909 Wynhaven Lane                                                        RS Legacy Corporation fka RadioShack
Ballwin, MO 63011                                    3732      6/11/2015 Corporation                                                     $30.00                                                                                           $30.00
TOWN OF NEW PALTZ
PO BOX 550                                                               RS Legacy Corporation fka RadioShack
NEW PALTZ, NY 12561                                  3733      6/11/2015 Corporation                                                    $177.61                                                                                          $177.61
GAINESVILLE REGIONAL UTILITIES
PO BOX 147051                                                            RS Legacy Corporation fka RadioShack
GAINESVILLE, FL 32614                                3734      6/10/2015 Corporation                                                  $2,707.18                                                  $791.43                               $3,498.61
CITY OF COEUR D'ALENE
710 E MULLAN AVENUE                                                      RS Legacy Corporation fka RadioShack
COEUR D ALENE, ID 83814                              3735      6/10/2015 Corporation                                                    $105.15                                                                                          $105.15
Khalid, Owais
51 West Hoffman Ave Apt 3                                                RS Legacy Corporation fka RadioShack
Lindenhurst, NY 11757                                3736      6/11/2015 Corporation                                                     $90.00                                                                                           $90.00
GREEN MOUNT CROSSING LLC
11850 STUDT AVENUE                                                       RS Legacy Corporation fka RadioShack
ST LOUIS, MO 63141                                   3737      6/10/2015 Corporation                                                  $2,639.58                                                                                        $2,639.58
S&N CO & KENNETH NILES
C/O THE NILES CO
PO BOX 298                                                               RS Legacy Corporation fka RadioShack
SONOMA, CA 95476                                     3738      6/11/2015 Corporation                                                $10,860.75                                                                                        $10,860.75

Middle Tennessee Electric Membership Corporation
555 New Salem Hwy                                                        RS Legacy Corporation fka RadioShack
Murfreesboro, TN 37129                               3739      6/10/2015 Corporation                                                  $1,581.50                                                                                        $1,581.50
Oklahoma Natural Gas Company, a division of
ONEGAS, Inc.
PO Box 21019                                                             RS Legacy Corporation fka RadioShack
Tulsa, OK 74121‐1019                                 3740      6/10/2015 Corporation                                                    $208.75                                                                                          $208.75
CAPLACO MANAGEMENT CO
ATTN AP / 94 CROSSING SC
11850 STUDT AVE / PO BOX 419121                                          RS Legacy Corporation fka RadioShack
ST LOUIS, MO 63141                                   3741      6/10/2015 Corporation                                                $12,580.15                                                                                        $12,580.15
Cal‐Perl Upland 5, LP a Delaware Limited
Partnership
250 Newport Center Drive
Suite 300                                                                RS Legacy Corporation fka RadioShack
NEWPORT BEACH, CA 92660                              3742      6/10/2015 Corporation                                                $31,226.84                                                                       $0.00            $31,226.84
P.U.D.#1 OF SNOHOMISH COUNTY
PO BOX 1100                                                             RS Legacy Corporation fka RadioShack
EVERETT, WA 98206                                    3743      6/8/2015 Corporation                                                       $0.00                                                                                            $0.00
LAKEWAY PUBLISHERS INC
PO BOX 400                                                               RS Legacy Corporation fka RadioShack
TULLAHOMA, TN 37388                                  3744      6/10/2015 Corporation                                                    $262.00                                                                                          $262.00
HERALD SUN
C/O PAXTON MEDIA GROUP
PO BOX 1200                                                              RS Legacy Corporation fka RadioShack
PADUCAH, KY 42002                                    3745      6/10/2015 Corporation                                                    $924.00                                                                                          $924.00




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                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
Jackson ( Metro Junction) DDP, LLC
Menter, Rudin & Triverpiece, P.C.
Attn: Kevin M. Newman
308 Maltible Street, Suite 200                                      RS Legacy Corporation fka RadioShack
Syracuse, NY 13204‐1439                         3746      6/10/2015 Corporation                                                  $4,904.03                                                                                        $4,904.03
Henry, Patty
PO BOX 1200                                                         RS Legacy Corporation fka RadioShack
PADUCAH, KY 42002                               3747      6/10/2015 Corporation                                                                                                                                 $0.00                 $0.00
Henry, Patty
PO BOX 1200                                                         RS Legacy Corporation fka RadioShack
PADUCAH, KY 42002                               3748      6/10/2015 Corporation                                                                                                                                 $0.00                 $0.00
Henry, Patty
PO BOX 1200                                                         RS Legacy Corporation fka RadioShack
PADUCAH, KY 42002                               3749      6/10/2015 Corporation                                                                                                                                 $0.00                 $0.00
Oklahoma Natural Gas Company, a division of
ONEGAS, Inc.
PO Box 21019                                                        RS Legacy Corporation fka RadioShack
Tulsa, OK 74121‐1019                            3750      6/10/2015 Corporation                                                    $246.57                                                                                          $246.57
PAXTON MEDIA GROUP
C/O PATTY HENRY
PO BOX 1200                                                         RS Legacy Corporation fka RadioShack
PADUCAH, KY 42002                               3751      6/10/2015 Corporation                                                                                                                                 $0.00                 $0.00
Tsimouris, Konstantions E.
Bradley Scott Inc.
400 Warren Avenue, Suite 450                                        RS Legacy Corporation fka RadioShack
Bremerton, WA 98337                             3752      6/10/2015 Corporation                                                                         $0.00                                                                         $0.00
Tsimouris, Konstantinos E.
DANIEL MORSE ‐ PROPERTY MGR.
400 WARREN AVE, Ste 450                                             RS Legacy Corporation fka RadioShack
Bremerton, WA 98337‐1479                        3753      6/10/2015 Corporation                                                                                                                                 $0.00                 $0.00
Mercado Gonzalez, Rene
MC 03 B04 10635                                                     RS Legacy Corporation fka RadioShack
San Germán, PR 00683                            3754      6/10/2015 Corporation                                                                         $0.00                                                                         $0.00
THE NEWSPAPERS OF WEST GEORGIA
C/O PAXTON MEDIA GROUP
PO BOX 1400                                                         RS Legacy Corporation fka RadioShack
PADUCAH, KY 42002                               3755      6/10/2015 Corporation                                                    $506.30                                                                                          $506.30
GRIFFIN DAILY NEWS
C/O PAXTON MEDIA GROUP
PO BOX 1400                                                         RS Legacy Corporation fka RadioShack
PADUCAH, KY 42002                               3756      6/10/2015 Corporation                                                    $311.96                                                                                          $311.96
Bear Valley Electric
PO Box 1547                                                         RS Legacy Corporation fka RadioShack
Big Bear Lake, CA 92315                         3757      6/11/2015 Corporation                                                    $776.92                                                                                          $776.92
Sane, Danny W
Whitfield County Tax Commissioner
205 N Selvidge Street, Ste J                                        RS Legacy Corporation fka RadioShack
Datlon, GA 30720                                3758      6/11/2015 Corporation                                                                         $0.00                                                                         $0.00
Henry, Patty
PO BOX 1200                                                         RS Legacy Corporation fka RadioShack
PADUCAH, KY 42002                               3759      6/10/2015 Corporation                                                                                                                                 $0.00                 $0.00




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                                                                                                                                             Current Priority    Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address         Claim No.   Claim Date                    Debtor                         Unsecured Claim                                              Admin Priority
                                                                                                                                              Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                      Amount
DDR Isabela LLC, S.E.
Robert R. LeHane, counsel for DDR Corp
Kelley Drye & Warren LLP
101 Park Avenue                                                     RS Legacy Corporation fka RadioShack
New York, NY 10178                              3760      6/11/2015 Corporation                                                                                                                              $8,050.91             $8,050.91
Nelson, Graham
4633 Casco Ave                                                      RS Legacy Corporation fka RadioShack
Edina, MN 55424                                 3761      6/11/2015 Corporation                                                     $45.00                                                                                            $45.00
Gatehous Media Massachusetts 1, Inc., d/b/a
Community Newspaper Company
Steven L. Kornstein, Esquire
15 Court Square
Suite 1150                                                          RS Legacy Corporation fka RadioShack
Boston, MA 02108                                3762      6/11/2015 Corporation                                                      $0.00                                                                                             $0.00
Baltimore Gas and Electric Company
PO Box 1475                                                         RS Legacy Corporation fka RadioShack
Baltimore, MD 21203                             3763      6/11/2015 Corporation                                                                     $17,521.97                                                                    $17,521.97
HIGH POINT ENTERPRISE
C/O PAXTON MEDIA GROUP
PO BOX 1200                                                         RS Legacy Corporation fka RadioShack
PADUCAH, KY 42002‐1200                          3764      6/10/2015 Corporation                                                  $1,525.00                                                                                         $1,525.00
Donalo Moore
C/O Norman M Block, N.C.
245 Saw Mill River Road                                             RS Legacy Corporation fka RadioShack
Hawthorne, NY 10532                             3765      6/11/2015 Corporation                                                      $0.00                                                                                             $0.00
San Diego County Treasurer‐Tax Collector
Attn: Bankruptcy Desk
1600 Pacific Highway
Room 162                                                            RS Legacy Corporation fka RadioShack
San Diego, CA 92101                             3766      6/11/2015 Corporation                                                                      $2,367.80                                                                     $2,367.80
WICOMICO COUNTY
PO BOX 4036                                                         RS Legacy Corporation fka RadioShack
SALISBURY, MD 21803                             3767      6/11/2015 Corporation                                                                      $1,937.85                                                                     $1,937.85
CB Group Brevard, LC
502 E. New Haven Avenue                                             RS Legacy Corporation fka RadioShack
Melbourne, FL 32901                             3768      6/11/2015 Corporation                                                      $0.00                                                                                             $0.00
S + N Company ‐ Sonoma Ltd
Attn: Tina Luther‐ Prop Mgr
PO BOX 298                                                          RS Legacy Corporation fka RadioShack
SONOMA, CA 95476                                3769      6/11/2015 Corporation                                                                                                                                  $0.00                 $0.00
DDR Chesterfield Crossing, LLC
c/o Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
101 Park Avenue                                                     RS Legacy Corporation fka RadioShack
New York, NY 10178                              3770      6/11/2015 Corporation                                                $85,057.51                                                                                         $85,057.51
Patel, Dimple
5409 7th street                                                     RS Legacy Corporation fka RadioShack
Bay City, TX 77414                              3771      6/11/2015 Corporation                                                    $100.00                                                                                           $100.00
Paez, Harry
23075 Twinflower Ave                                                RS Legacy Corporation fka RadioShack
Wildomar, CA 92595                              3772      6/11/2015 Corporation                                                                                           $10.79                                                      $10.79




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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Doulos, Mari
659 S. River Rd                                                RS Legacy Corporation fka RadioShack
Des Plaines, IL 60016                      3773      6/11/2015 Corporation                                                      $6.49                                                                                            $6.49
Suela, Flordeliza A
94‐875 Kuhaulua street
Apt #162                                                       RS Legacy Corporation fka RadioShack
Waipahu, HI 96797                          3774      6/11/2015 Corporation                                                                         $0.00                                                                         $0.00
Treasurer‐Tax Collector
Lassen County
220 S Lassen Suite 3                                           RS Legacy Corporation fka RadioShack
Susanville, CA 96130                       3775      6/11/2015 Corporation                                                                      $377.38              $0.00                                                     $377.38
DDR Escorial LLC, S.E.
Robert R. LeHane, Counsel for DDR Corp
Kelley Drye & Warren LLP
101 Park Avenue                                                RS Legacy Corporation fka RadioShack
New York, NY 10178                         3776      6/11/2015 Corporation                                                                                                                            $11,896.95            $11,896.95
Bush, Gail A.
110 W. Fayette St ‐6th Flr                                     RS Legacy Corporation fka RadioShack
Baltimore, MD 21201                        3777      6/11/2015 Corporation                                                                                                                                 $0.00                 $0.00
THE MOUNTAIN PRESS
C/O PAXTON MEDIA GROUP
PO BOX 1200                                                    RS Legacy Corporation fka RadioShack
PADUCAH, KY 42002‐1200                     3778      6/10/2015 Corporation                                                    $629.00                                                                                          $629.00
Boulder County Treasurer
PO Box 471                                                    RS Legacy Corporation fka RadioShack
Boulder, CO 80306                          3779      6/9/2015 Corporation                                                                                            $0.00                                                       $0.00
CITY OF LIVONIA
TREASURER'S OFFICE
33000 CIVIC CENTER DRIVE                                      RS Legacy Corporation fka RadioShack
LIVONIA, MI 48154‐3060                     3780      6/9/2015 Corporation                                                                      $1,597.33         $1,597.33                                                   $3,194.66
Venable LLP
Attn: Troy Conran
750 E Pratt Street
Suite 900                                                      RS Legacy Corporation fka RadioShack
Baltimore, MD 21202                        3781      6/11/2015 Corporation                                                  $3,878.50                                                                                        $3,878.50
CITY OF ALEXANDRIA, VIRGINIA
Attn: Shanta Washington‐ Johnson
PO Box 178                                                    RS Legacy Corporation fka RadioShack
Alexandria, VA 22313                       3782      6/9/2015 Corporation                                                                                        $1,259.14                                                   $1,259.14
Manatee County
Attn: Consumer Protection Agency
Mitchell Palmer ‐ County Attorney
Manatee Board of County Commissioners
1112 Manatee Avenue West                                       RS Legacy Corporation fka RadioShack
Bradenton, FL 34205                        3783      6/12/2015 Corporation                                                  $1,303.44                                                                                        $1,303.44
THE DAILY CITIZEN
C/O PAXTON MEDIA GROUP
PO BOX 1200                                                    RS Legacy Corporation fka RadioShack
PADUCAH, KY 42002                          3784      6/10/2015 Corporation                                                    $251.80                                                                                          $251.80
CENVEO
14001 INWOOD ROAD                                              RS Legacy Corporation fka RadioShack
DALLAS, TX 75244                           3785      6/11/2015 Corporation                                                $11,097.86                                                                                        $11,097.86



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                                                                                                                                               Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address           Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
City of Anaheim
201 S Anaheim Blvd
PO Box 3069                                                           RS Legacy Corporation fka RadioShack
Anaheim, CA 92803                                 3786      6/11/2015 Corporation                                                    $831.26                                                    $3.28                                 $834.54
DDRM North Pointe Plaza LLC
Kelley Drye & Warren LLP
ATTN: ROBERT L. LEHANE, ESQ.
101 PARK AVENUE                                                       RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                                3787      6/11/2015 Corporation                                                $45,003.96                                                                                        $45,003.96
DDR Del Sol LLC, S.E.
c/o Kelley Drye & Warren LLP
ATTN: ROBERT L. LEHANE, ESQ.
101 PARK AVENUE                                                       RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                                3788      6/11/2015 Corporation                                               $200,467.24                                                                                       $200,467.24
TOWN OF NEW PALTZ
Susan Zimet
PO BOX 550                                                            RS Legacy Corporation fka RadioShack
NEW PALTZ, NY 12561                               3789      6/11/2015 Corporation                                                    $177.61                                                                      $0.00               $177.61
Johnson, Gwen
357 Inverness Ave                                                     RS Legacy Corporation fka RadioShack
McDonough, GA 30253                               3790      6/11/2015 Corporation                                                      $9.62                                                                                            $9.62
JDN Real Estate‐West Lansing, L.P. (DDR Corp)
Robert R. LeHane, Counsel for DDR Corp.
Kelley Drye & Warren LLP
101 Park Avenue                                                       RS Legacy Corporation fka RadioShack
New York, NY 10178                                3791      6/11/2015 Corporation                                                                                                                             $2,194.97             $2,194.97
Favela, Juan
3632 S 57th Ave                                                       RS Legacy Corporation fka RadioShack
Cicero, IL 60804                                  3792      6/12/2015 Corporation                                                      $0.00                                                                                            $0.00
Dick, Marcia
10572 Avenue N                                                        RS Legacy Corporation fka RadioShack
Brooklyn, NY 11236                                3793      6/11/2015 Corporation                                                     $77.28                                                                                           $77.28
THE PLAZA @ ERRINGER & COCHRAN LLC
P O BOX 23277                                                         RS Legacy Corporation fka RadioShack
VENTURA, CA 93002                                 3794      6/11/2015 Corporation                                                  $6,234.73                                                                                        $6,234.73
DDR Warner Robins LLC
Attn: Renee Weiss, Assistant General Counsel
c/o DDR Corp.
3300 Enterprise Parkway                                               RS Legacy Corporation fka RadioShack
Beachwood, OH 44122                               3795      6/11/2015 Corporation                                                $20,086.54                                                                                        $20,086.54
DDRM APPLE BLOSSOM CORNERS LLC
Robert R. Lehane, Counsel for DDR Corp.
Kelley Drye & Warren LLP
101 Park Avenue                                                       RS Legacy Corporation fka RadioShack
New York, NY 10178                                3796      6/11/2015 Corporation                                                                                                                             $3,554.81             $3,554.81
Keane, Tom
12 Lakeview Dr                                                        RS Legacy Corporation fka RadioShack
Lansing, NY 14882                                 3797      6/12/2015 Corporation                                                    $100.00                                                                                          $100.00




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                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount
DDRTC Eisenhower Crossing LLC
KELLEY DRYE & WARREN LLP
Attn: Robert L. LeHane, Esq.
101 PARK AVE                                                               RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                                     3798      6/11/2015 Corporation                                                $72,324.41                                                                                        $72,324.41
Simons, Karen
1636 Chestnut Ave.                                                         RS Legacy Corporation fka RadioShack
Haddon Heights, NJ 08035                               3799      6/11/2015 Corporation                                                                      $100.00                                                                        $100.00
DDR Oeste LLC, S.E.
C/O KELLEY DRYE & WARREN LLP
ATTN: ROBERT L. HANE, Esq.
101 PARK AVE                                                               RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                                     3800      6/11/2015 Corporation                                                $97,555.40                                                                                        $97,555.40
City of Nacogdoches
Attn: Rob Atherton, City Attorney
City Attorneys Office
202 E. Pilar St                                                            RS Legacy Corporation fka RadioShack
Nacogdoches, TX 75961                                  3801      6/10/2015 Corporation                                                    $207.02                                                                                          $207.02
CB Group of Brevard, LC
David G. Larkin
Jesse L. Kabaservice
Fallace & Larkin, L.C.
1900 S. Hickory Street, Suite A                                            RS Legacy Corporation fka RadioShack
Melbourne, FL 32901                                    3802      6/11/2015 Corporation                                                $10,370.07                                                                   $4,844.44            $15,214.51
D'Eon, Carol
7 Deon Terrace                                                             RS Legacy Corporation fka RadioShack
West Yarmouth, MA 02673                                3803      6/11/2015 Corporation                                                     $30.00                                                                                           $30.00
Davis, April
4140 Wellington Drive                                                      RS Legacy Corporation fka RadioShack
Bethlehem, PA 18020                                    3804      6/12/2015 Corporation                                                                                         $233.20                                                     $233.20
Oklahoma Natural Gas Company, a division of
ONEGAS, Inc.
PO Box 21019                                                               RS Legacy Corporation fka RadioShack
Tulsa, OK 74121‐1019                                   3805      6/10/2015 Corporation                                                    $132.83                                                                                          $132.83
Action Glass
54978 Mayflower Road                                                       RS Legacy Corporation fka RadioShack
South Bend, IN 46628                                   3806      6/11/2015 Corporation                                                                         $0.00                                                                         $0.00

Fitbit, Inc.
Morrison & Foerster LLP
c/o Lorenzo Marinuzzi, Esq., Meryl Rothchild, Esq.
250 W. 55th Street                                                         RS Legacy Corporation fka RadioShack
New York, NY 10019                                     3807      6/11/2015 Corporation                                                                                     $101,788.33                                                 $101,788.33
DDRTC Eisenhower Crossing LLC
Robert R. LeHane, Counsel for DDR Corp.
Kelley Drye & Warren LLP
101 Park Avenue                                                            RS Legacy Corporation fka RadioShack
New York, NY 10178                                     3808      6/11/2015 Corporation                                                                                                                             $4,631.94             $4,631.94




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Fairfax Circle LLC
Tania Beale
1025 Thomas Jefferson St NW
Suite 700 East                                                  RS Legacy Corporation fka RadioShack
Washington, DC 20007                        3809      6/11/2015 Corporation                                                                                                                             $3,012.93             $3,012.93
BRE DDR Great Northern LLC
Robert R. LeHane, Counsel for DDR Corp.
Kelley Drye & Warren LLP
101 Park Avenue                                                 RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                          3810      6/11/2015 Corporation                                                                                                                             $4,208.72             $4,208.72
BRE DDR Great Northern LLC
c/o KELLEY DRYE & WARREN LLP
Attn: Robert L. LeHane, Esq.
101 PARK AVE                                                    RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                          3811      6/11/2015 Corporation                                                $81,089.38                                                                                        $81,089.38
GRE Coralwood LP
David Neal Stern
Frank, Weinberg & Black, P.L.
1875 NW Corporate Blvd, Suite 100                               RS Legacy Corporation fka RadioShack
Boca Raton, FL 33431                        3812      6/12/2015 Corporation                                                $18,370.79                                                                                        $18,370.79
Bailey, Daquavia
1303 Valley Grove Drive                                         RS Legacy Corporation fka RadioShack
Seffner, FL 33584                           3813      6/12/2015 Corporation                                                    $170.00                                                                                          $170.00
BrownWinick Law Firm
Attn: Sean P. Moore
666 Grand Avenue
Suite 2000                                                      RS Legacy Corporation fka RadioShack
Des Moines, IA 50309‐2510                   3814      6/12/2015 Corporation                                                  $5,708.18                                                                                        $5,708.18
Spungin, Jennifer
20 Whittier Rd                                                  RS Legacy Corporation fka RadioShack
Marblehead, MA 01945                        3815      6/12/2015 Corporation                                                                                                             $110.00                                 $110.00
Wood‐Oaks, Kimberly
1190 Camille Drive                                              RS Legacy Corporation fka RadioShack
Ojai, CA 93023                              3816      6/12/2015 Corporation                                                                       $77.40                                                                         $77.40
Princeton (East River) WMS, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                       RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                          3817      6/10/2015 Corporation                                                  $3,948.30                                                                                        $3,948.30
CATNEW10, LLC
Attn: Cathy Husman
1200 N. Ashland Ave.
Suite 600                                                       RS Legacy Corporation fka RadioShack
Chicago, IL 60622                           3818      6/11/2015 Corporation                                                                                                                            $21,987.08            $21,987.08
PACIFIC ALASKA FREIGHTWAYS
PO BOX 101714                                                   RS Legacy Corporation fka RadioShack
Pasadena, CA 91189‐0037                     3819      6/12/2015 Corporation                                                $11,540.15                                                                                        $11,540.15




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            Creditor Name and Address          Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
DDR Escorial LLC, S.E.
KELLEY DRYE & WARREN LLP
Attn: Robert L. LeHane, Esq.
101 PARK AVE                                                         RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                               3820      6/11/2015 Corporation                                               $187,851.36                                                                                       $187,851.36
DDR Senorial LLC, S.E.
KELLEY DRYE & WARREN LLP
Attn: Robert L. LeHane, Esq.
101 PARK AVENUE                                                      RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                               3821      6/11/2015 Corporation                                               $155,115.57                                                                                       $155,115.57
BRE DDR WhittWood CA LLC
Robert R. LeHane, Counsel for DDR Corp.
Kelley Drye & Warren LLP
101 Park Avenue                                                      RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                               3822      6/11/2015 Corporation                                                                                                                             $3,840.00             $3,840.00
Sundance Plaza Buildings, LLC
c/o Clay Taylor
Kelly Hart & Hallman LLP
201 Main Street, Suite 2500                                          RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                             3823      6/12/2015 Corporation                                               $140,788.68                                                                                       $140,788.68
DDR DEL SOL LLC, S.E.
Robert R. Lehane, Counsel for DDR Corp.
Kelley Drye & Warren LLP
101 Park Avenue                                                      RS Legacy Corporation fka RadioShack
New York, NY 10178                               3824      6/11/2015 Corporation                                                                                                                            $12,981.90            $12,981.90
DDR Chesterfield Crossings, LLC
Robert R. LeHane, Counsel for DDR Corp.
Kelley Drye & Warren LLP
101 Park Avenue                                                      RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                               3825      6/11/2015 Corporation                                                                                                                             $5,445.30             $5,445.30
Highway 150, LLC
PO Box 1382                                                          RS Legacy Corporation fka RadioShack
Dothan, AL 36302                                 3826      6/12/2015 Corporation                                                  $2,969.72                                                                                        $2,969.72
Graber, Joel S
42 Wyandemere Dr.                                                    RS Legacy Corporation fka RadioShack
Woodcliff Lake, NJ 07677                         3827      6/11/2015 Corporation                                                     $81.62                                                                                           $81.62
DDR Senorial LLC, S.E.
Robert R. LeHane, Counsel for DDR Corp.
Kelley Drye & Warren LLP
101 Park Avenue                                                      RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                               3828      6/11/2015 Corporation                                                                                                                            $10,080.43            $10,080.43
DDR Rio Hondo LLC, S.E.
Attn: Renee Weiss, Assistant General Counsel
c/o DDR Corp.
3300 Enterprise Parkway                                              RS Legacy Corporation fka RadioShack
Beachwood, OH 44122                              3829      6/11/2015 Corporation                                               $518,270.43                                                                                       $518,270.43
Claim Docketed In Error                                              RS Legacy Corporation fka RadioShack
                                                 3830      6/11/2015 Corporation                                                                                                                                                       $0.00
Proia, Tina
225 Chapel St.                                                       RS Legacy Corporation fka RadioShack
Newton, MA 02458                                 3831      6/11/2015 Corporation                                                     $34.95                                                                                           $34.95




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                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
Khalid, Owais
51 West Hoffman Ave Apt 3                                            RS Legacy Corporation fka RadioShack
Lindenhurst, NY 11757                            3832      6/11/2015 Corporation                                                                                                                                 $0.00                 $0.00
Ehrlich, Benjamin
209 Holme Ave                                                        RS Legacy Corporation fka RadioShack
Elkins Park, PA 19027                            3833      6/11/2015 Corporation                                                                                                                                 $0.00                 $0.00
DDR Michigan II LLC
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
101 Park Avenue                                                      RS Legacy Corporation fka RadioShack
New York, NY 10178                               3834      6/11/2015 Corporation                                                  $2,263.82                                                                                        $2,263.82
Ehrlich, Benjamin Avery
209 Holme Ave                                                        RS Legacy Corporation fka RadioShack
Elkins Park, PA 19027                            3835      6/11/2015 Corporation                                                                         $0.00                                                                         $0.00
Meeker, Bill
8737 Elk Ridge Way                                                   RS Legacy Corporation fka RadioShack
Elk Grove, CA 95624                              3836      6/11/2015 Corporation                                                    $107.99                                                                                          $107.99
TDC South Loop, LLC
Howard B. Levi, Esq.
Levi Lubarsky Feigenbaum & Weiss LLP
655 Third Avenue, 27th Floor                                         RS Legacy Corporation fka RadioShack
NEW YORK, NY 10017                               3837      6/12/2015 Corporation                                                                                                                             $7,188.56             $7,188.56
DDR Guayama WM LLC, S.E.
KELLEY DRYE & WARREN LLP
Attn: Robert L. LeHane, Esq.
101 PARK AVE                                                         RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                               3838      6/11/2015 Corporation                                               $164,755.13                                                                                       $164,755.13
Buffalo‐Westgate Associates, LLC (DDR Corp)
Robert R. Lehane, counsel for DDR Corp
Kelley Drye & Warren LLP
101 Park Avenue                                                      RS Legacy Corporation fka RadioShack
New York, NY 10178                               3839      6/11/2015 Corporation                                                                                                                             $2,897.90             $2,897.90
DDRM NORTH POINTE PLAZA LLC
Robert R. LeHane, Counsel for DDR Corp.
Kelley Drye & Warren LLP
101 Park Avenue                                                      RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                               3840      6/11/2015 Corporation                                                                                                                                 $0.00                 $0.00
DDRM Skyview Plaza, LLC
Attn: Renee Weiss, Assistant General Counsel
c/o DDR Corp.
3300 Enterprise Parkway                                              RS Legacy Corporation fka RadioShack
Beachwood, OH 44122                              3841      6/11/2015 Corporation                                                $14,151.16                                                                                        $14,151.16
DDR CAYEY LLC, S.E.
Robert R. LeHane, Counsel for DDR Corp.
Kelley Drye & Warren LLP
101 Park Avenue                                                      RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                               3842      6/11/2015 Corporation                                                                                                                             $8,362.66             $8,362.66
MUNICIPAL UTILITIES
WATER & SEWER/MUNICIPAL BLDG
200 W DOUGLAS AVE                                                    RS Legacy Corporation fka RadioShack
JACKSONVILLE, IL 62650                           3843      6/10/2015 Corporation                                                     $99.85                                                                                           $99.85




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                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
Byer, Dionne
52185 Eaton Road                                                     RS Legacy Corporation fka RadioShack
Portland, OH 45770                               3844      6/12/2015 Corporation                                                      $0.00                                                                                            $0.00
A‐24 HOUR DOOR AMERICA/ TENN. DOOR INC
James L. Nelson/Tennessee Door Inc
4116 BENT RD.                                                        RS Legacy Corporation fka RadioShack
KODAK, TN 37764                                  3845      6/10/2015 Corporation                                                                                                                                 $0.00                 $0.00
KENNEBUNK KENNEBUNKPORT & WELLS
Norm Labbe ‐ Superintendent
92 Main Street                                                       RS Legacy Corporation fka RadioShack
Kennebunk, ME 04043                              3846      6/12/2015 Corporation                                                     $46.41                                                                                           $46.41
Buffalo‐Westgate Associates, LLC (DDR Corp)
Attn: Renee Weiss, Assistant General Counsel
c/o DDR Corp.
3300 Enterprise Parkway                                              RS Legacy Corporation fka RadioShack
Beachwood, OH 44122                              3847      6/11/2015 Corporation                                                                                                                                 $0.00                 $0.00
DDR MICHIGAN II LLC
Attn: Renee Weiss, Assistant General Counsel
c/o DDR Corp.
3300 Enterprise Parkway                                              RS Legacy Corporation fka RadioShack
Beachwood, OH 44122                              3848      6/11/2015 Corporation                                                                                                                             $2,299.83             $2,299.83
GS II UNIVERSITY CENTRE LP (DDR CORP)
Attn: Renee Weiss, Assistant General Counsel
c/o DDR Corp.
3300 Enterprise Parkway                                              RS Legacy Corporation fka RadioShack
Beachwood, OH 44122                              3849      6/11/2015 Corporation                                                    $624.68                                                                                          $624.68
DDRM Riverstone Plaza LLC
Kelley Drye & Warren LLP
ATTN: ROBERT L. LEHANE, ESQ.
101 PARK AVENUE                                                      RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                               3850      6/11/2015 Corporation                                                  $3,603.65                                                                                        $3,603.65
DDR Southeast Tequesta, LLC
Kelley Drye & Warren LLP
ATTN: ROBERT L. LEHANE, ESQ.
101 PARK AVENUE                                                      RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                               3851      6/11/2015 Corporation                                                      $1.59                                                                                            $1.59
Developers Diversified Cook's Corner LLC
Kelley Drye & Warren LLP
ATTN: ROBERT L. LEHANE, ESQ.
101 PARK AVENUE                                                      RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                               3852      6/11/2015 Corporation                                                  $3,989.03                                                                                        $3,989.03
DDR Isabela LLC, S.E.
KELLEY DRYE & WARREN LLP
Attn: Robert L. LeHane, Esq.
101 PARK AVE                                                         RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                               3853      6/11/2015 Corporation                                               $105,923.06                                                                                       $105,923.06
DDRTC Winslow Bay Commons LLC
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
101 Park Avenue                                                      RS Legacy Corporation fka RadioShack
New York, NY 10178                               3854      6/11/2015 Corporation                                                                                                                                 $0.00                 $0.00




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                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
DDRM Rayetteville Pavilion LLC
KELLEY DRYE & WARREN LLP
Attn; Roberth Lehane, Esq.
101 PARK AVE                                                         RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                               3855      6/11/2015 Corporation                                                  $2,456.95                                                                                        $2,456.95
Rivera Clemente, Jeyza E
76351 Calle Las Palmas                                               RS Legacy Corporation fka RadioShack
Sabana Seca, PR 00952                            3856      6/12/2015 Corporation                                                                         $0.00                                                                         $0.00

New York City Department of Consumer Affairs
Mitchell B. Nironoff, Esq.
42 Broadway, 1st Fl.                                                 RS Legacy Corporation fka RadioShack
New York, NY 10004                               3857      6/10/2015 Corporation                                                                                                                               $250.00               $250.00
BG Monmouth, LLC (DDR Corp)
Kelley Drye & Warren LLP
ATTN: ROBERT L. LEHANE, ESQ.
101 PARK AVENUE                                                      RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                               3858      6/11/2015 Corporation                                                  $2,552.07                                                                                        $2,552.07
DDR Cayey LLC, S.E
c/o DDR Corp.
Attn: Renee Weiss, Assistant General Counsel
3300 Enterprise Parkway                                              RS Legacy Corporation fka RadioShack
Beachwood, OH 10178                              3859      6/11/2015 Corporation                                               $133,312.21                                                                                       $133,312.21
Cascade Natural Gas Corporation
PO BOX 990065                                                        RS Legacy Corporation fka RadioShack
BOISE, ID 83799‐0065                             3860      6/10/2015 Corporation                                                  $1,440.72                                                                                        $1,440.72
TDC South Loop LLC
Howard B. Levi, Esq.
Levi Lubarsky Feigenbaum & Weiss LLP
655 Third Avenue, 27th Floor                                         RS Legacy Corporation fka RadioShack
New York, NY 10017                               3861      6/12/2015 Corporation                                                                                                                                 $0.00                 $0.00
DDR DB Stone Oak LP
KELLEY DRYE & WARREN LLP
Attn: Robert L. LeHane, Esq.
101 PARK AVE                                                         RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                               3862      6/11/2015 Corporation                                                $57,697.32                                                                                        $57,697.32
DDRM River Run LLC
Robert R. LeHane, Counsel for DDR Corp.
Kelley Drye & Warren LLP
101 Park Avenue                                                      RS Legacy Corporation fka RadioShack
New York, NY 10178                               3863      6/11/2015 Corporation                                                                                                                             $3,258.42             $3,258.42
DDR Vega Baja LLC, S.E.
Robert R. LeHane, Counsel for DDR Corp.
Kelley Drye & Warren LLP
101 Park Avenue                                                      RS Legacy Corporation fka RadioShack
New York, NY 10178                               3864      6/11/2015 Corporation                                                                                                                            $10,128.90            $10,128.90
Doyle, Gene E.
26 Panorama Way                                                      RS Legacy Corporation fka RadioShack
Beverly, WV 26253                                3865      6/12/2015 Corporation                                                      $0.00                                                                                            $0.00
Gangnon, Kathleen
7063 W. 110th St. Circle                                             RS Legacy Corporation fka RadioShack
Bloomington, MN 55438                            3866      6/12/2015 Corporation                                                     $12.86                                                                                           $12.86



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                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                     Amount
HARNET TRUST
John A. Harrison, Trustee of Harnet Trust
100 Boston Street                                                 RS Legacy Corporation fka RadioShack
LYNN, MA 01904                                3867      6/11/2015 Corporation                                                                                                                                 $0.00                 $0.00
SAWNEE EMC
PO BOX 100002                                                     RS Legacy Corporation fka RadioShack
CUMMING, GA 30028                             3868      6/12/2015 Corporation                                                    $622.98                                                                                          $622.98
Phenix Partnership, L.P.
c/o Samuel R. Arden, Esq.
Hartman Simons & Wood
6400 Powers Ferry Road NW #400                                    RS Legacy Corporation fka RadioShack
Atlanta, GA 30339                             3869      6/12/2015 Corporation                                                  $2,408.87                                                                                        $2,408.87
Cruz, Brandy R
45 Salisbury #19                                                  RS Legacy Corporation fka RadioShack
Porterville, CA 93257                         3870      6/12/2015 Corporation                                                                      $130.93              $0.00               $0.00                                 $130.93
Goodwyne, Tracy
2013 Brighton Place                                               RS Legacy Corporation fka RadioShack
Harvey, LA 70058                              3871      6/12/2015 Corporation                                                     $18.06                                                                                           $18.06
Fairic‐Tech Metal Works Mfg. Ltd.
Windy Yeung
8/F Peter Leung Ind. Bldg,
103 Wai Yip Street
Kwun Tong, Kowloon                                                RS Legacy Corporation fka RadioShack
HONG KONG                                     3872      6/12/2015 Corporation                                                                                                                                 $0.00                 $0.00
DDRTC Turkey Creek LLC
Robert R. LeHane, Counsel for DDR Corp.
Kelley Drye & Warren LLP
101 Park Avenue                                                   RS Legacy Corporation fka RadioShack
New York, NY 10178                            3873      6/11/2015 Corporation                                                                                                                             $3,491.62             $3,491.62
TDC South Loop LLC
c/o Levi Lubarsky Feigenbaum & Weiss LLP
Attention: Howard B. Levi, Esq
655 Third Avenue, 27th Floor                                      RS Legacy Corporation fka RadioShack
New York, NY 10017                            3874      6/12/2015 Corporation                                               $114,579.31                                                                                       $114,579.31
SOUTHERN AIR
PO BOX 4205                                                       RS Legacy Corporation fka RadioShack
LYNCHBURG, VA 24502                           3875      6/12/2015 Corporation                                                  $9,169.65                                                                                        $9,169.65
SHAKOPEE UTILITIES COMMISSION
PO BOX 470                                                        RS Legacy Corporation fka RadioShack
SHAKOPEE, MN 55379                            3876      6/12/2015 Corporation                                                    $205.51              $0.00                                                                       $205.51
23 REALTY LLC
C/O GERONIMO PROPERTIES
975 MERRIAM AVENUE, SUITE 213                                     RS Legacy Corporation fka RadioShack
LEOMINSTER, MA 01453                          3877      6/12/2015 Corporation                                                  $5,683.65                                                                  $2,963.88             $8,647.53
AMALGAMATED FINANCIAL GROUP VIII
1414 ATWOOD AVENUE                                                RS Legacy Corporation fka RadioShack
JOHNSTON, RI 02919                            3878      6/12/2015 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                           RS Legacy Corporation fka RadioShack
                                              3879      6/12/2015 Corporation                                                                                                                                                       $0.00
Highway 150, LLC
PO Box 1382                                                       RS Legacy Corporation fka RadioShack
Dothan, AL 36302                              3880      6/12/2015 Corporation                                                $21,559.16                                                                                        $21,559.16



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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
H. Charles Jahnke
c/o Lynn E. Saarinen
111 Congress Avenue, Suite 400                                  RS Legacy Corporation fka RadioShack
Austin, TX 78701                            3881      6/12/2015 Corporation                                                    $950.00                                                                                          $950.00
Sunbelt Corporate Center II, Inc.
C/O Sunbelt Investmet Holdings INC.
8095 Othello Avenue                                             RS Legacy Corporation fka RadioShack
San Diego, CA 92111                         3882      6/12/2015 Corporation                                                  $6,251.51                                                                                        $6,251.51
Grajales, Sandra E
HC 06
Box 67892                                                       RS Legacy Corporation fka RadioShack
Aguadilla, PR 00603                         3883      6/12/2015 Corporation                                                                         $0.00                                                                         $0.00
Byer, Dionne
52185 Eaton Rd                                                  RS Legacy Corporation fka RadioShack
Portland, OH 45770                          3884      6/12/2015 Corporation                                                                                                                                 $0.00                 $0.00
Vassallo, Cathy
3 Barrett Ave.                                                  RS Legacy Corporation fka RadioShack
Hammonton, NJ 08037                         3885      6/15/2015 Corporation                                                     $70.00                                                                                           $70.00
Lee, Jeanna
3623 Winnetka Rd.                                               RS Legacy Corporation fka RadioShack
Glenview, IL 60026                          3886      6/14/2015 Corporation                                                                                                              $20.00                                  $20.00
Multnomah County‐ DART
Assessment, Recording & Taxation
PO Box 2716                                                     RS Legacy Corporation fka RadioShack
Portland, OR 97208‐2716                     3887      6/12/2015 Corporation                                                                                       $3,387.03                                                   $3,387.03
Warner, Russell
c/o Decolator Cohen & DiPrisco LLP
1399 Franklin Avenue                                            RS Legacy Corporation fka RadioShack
Garden City, NY 11530                       3888      6/12/2015 Corporation                                                      $0.00                                                                                            $0.00
PLYMOUTH VILLAGE
WATER & SEWER DIST
227 OLD N MAIN ST                                               RS Legacy Corporation fka RadioShack
PLYMOUTH, NH 03264                          3889      6/10/2015 Corporation                                                     $35.43                                                                                           $35.43
Hudson Energy Services, LLC
Kelly Kleist
Conley Rosenberg Mendez & Brenniese LLP
5080 Spectrum Drive, Ste 850E                                   RS Legacy Corporation fka RadioShack
Addison, TX 75001                           3890      6/12/2015 Corporation                                               $249,208.64                                                                                       $249,208.64
PIETKA INVESTMENTS LLC
KIERSEY & MCMILLAN INC/DAVID KIERSEY
PO BOX 1696                                                     RS Legacy Corporation fka RadioShack
BEAVERTON, OR 97075                         3891      6/12/2015 Corporation                                                $14,329.63                                                                                        $14,329.63
Garcia, Marie
4748 NW 103 Ct.                                                 RS Legacy Corporation fka RadioShack
Doral, FL 33178                             3892      6/15/2015 Corporation                                                     $16.46                                                                                           $16.46
CITY OF AUSTIN
UTILITY CUSTOMER SERV OFFICE
P O BOX 2267                                                    RS Legacy Corporation fka RadioShack
AUSTIN, TX 78783                            3893      6/12/2015 Corporation                                                $15,680.10                                                                                        $15,680.10
Pham, Tony
602 Maplewood Avenue                                            RS Legacy Corporation fka RadioShack
Durham, NC 27701                            3894      6/15/2015 Corporation                                                                                                                                                       $0.00



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                                                                                                                    Current General                                            Current 503(b)(9)
                                                                                                                                          Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address      Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
Lindsley, Michael
603 Farmers Ave                                                  RS Legacy Corporation fka RadioShack
Bellmore, NY 11710                           3895      6/13/2015 Corporation                                                     $19.56                                                                                           $19.56
Allen County Treasurer
Susan L Orth
1 East Main Street, Suite 104                                    RS Legacy Corporation fka RadioShack
Fort Wayne, IN 46802‐1888                    3896      6/12/2015 Corporation                                                                                                                             $3,397.00             $3,397.00
Kothapalli, Sarat
23027 Potomac Cir                                                RS Legacy Corporation fka RadioShack
Farmington Hills, MI 48335                   3897      6/14/2015 Corporation                                                                                                             $189.00                                 $189.00
STATE BOARD OF EQUALIZATION
J. R. Williams
SPECIAL OPERATIONS BRANCH, MIC:55
PO BOX 942879                                                    RS Legacy Corporation fka RadioShack
SACRAMENTO, CA 94279‐0055                    3898      6/12/2015 Corporation                                                                         $0.00                                                                         $0.00
LI, ALWIN
44 MONTGOMERY STREET
SUITE 1288                                                       RS Legacy Corporation fka RadioShack
SAN FRANCISCO, CA 94104                      3899      6/12/2015 Corporation                                                  $4,400.00                                                                                        $4,400.00
Rhodal 2 LLC
c/o McKool Smith. P.C.
One Bryant Park, 47th Floor                                      RS Legacy Corporation fka RadioShack
New York, NY 10036                           3900      6/12/2015 Corporation                                               $499,937.52                                                                                       $499,937.52
MFP MID AMERICA SHOPPING CENTERS LLC
FBO JEFFERIES LOANCORE LLC AN 4941037541
PO BOX 912655                                                    RS Legacy Corporation fka RadioShack
DENVER, CO 80291‐2655                        3901      6/12/2015 Corporation                                                  $6,273.73                                                    $0.00         $2,316.00             $8,589.73
Lecours, Norman E.
1390 Mendon Rd.                                                  RS Legacy Corporation fka RadioShack
Cumberland, RI 02864‐4867                    3902      6/12/2015 Corporation                                                      $0.00                                                                                            $0.00
Schrock, Jenny
5112 S. Sweetgrass PL                                            RS Legacy Corporation fka RadioShack
Boise, ID 83716                              3903      6/12/2015 Corporation                                                    $105.99                                                                                          $105.99
BLATTEIS REALTY
44 MONTGOMERY ST., STE. 1288                                     RS Legacy Corporation fka RadioShack
SAN FRANCISCO, CA 94104                      3904      6/12/2015 Corporation                                                                                                                                 $0.00                 $0.00
Gates, Juanita C
36376 S. Riverview DR                                            RS Legacy Corporation fka RadioShack
Eastlake, OH 44095                           3905      6/12/2015 Corporation                                                      $0.00                                                                                            $0.00
City of Kewanee
401 E 3RD ST                                                     RS Legacy Corporation fka RadioShack
Kewanee, IL 61443                            3906      6/12/2015 Corporation                                                    $104.37                                                                                          $104.37
Phenix Partnership LP
Samuel R. Arden, Esq.
Hartman Simons & Wood
6400 Powers Ferry Road NW #400                                   RS Legacy Corporation fka RadioShack
Atlanta, GA 30339                            3907      6/12/2015 Corporation                                                                                                           $1,610.11                               $1,610.11
DAWSONVILLE COMMONS, LLC
3350 RIVERWOOD PARKWAY, SE
SUITE 450                                                        RS Legacy Corporation fka RadioShack
ATLANTA, GA 30339                            3908      6/12/2015 Corporation                                                  $4,312.31                                                                                        $4,312.31




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Rivera Clemente, Jeyza E
76351 Cl Las Palmas                                             RS Legacy Corporation fka RadioShack
Sabana Seca, PR 00952                       3909      6/12/2015 Corporation                                                                                                               $0.00                                   $0.00
Donovan, Noreen
120 Walden Place                                                RS Legacy Corporation fka RadioShack
Pompton Plains, NJ 07444                    3910      6/12/2015 Corporation                                                      $0.00                                                                                            $0.00
Grajales, Sandra E.
HC ‐ 06 Box 6789                                                RS Legacy Corporation fka RadioShack
Aguadilla, PR 00603                         3911      6/12/2015 Corporation                                                                                                                                 $0.00                 $0.00
DDR Warner Robins LLC
Kelley Drye & Warren LLP
Robert L. LeHane, Counsel for DDR Corp.
101 Park Avenue                                                 RS Legacy Corporation fka RadioShack
New York, NY 10178                          3912      6/11/2015 Corporation                                                                                                                             $3,575.81             $3,575.81
DDRTC Winslow Bay Commons LLC
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
101 Park Avenue                                                 RS Legacy Corporation fka RadioShack
New York, NY 10178                          3913      6/11/2015 Corporation                                                      $0.00                                                                                            $0.00
TULARE COUNTY TAX COLLECTOR
ATTN: MICHAEL SEE
221 S. MOONEY BLVD RM 104E                                      RS Legacy Corporation fka RadioShack
VISALIA, CA 93291                           3914      6/12/2015 Corporation                                                                         $0.00             $0.00                                                       $0.00
King, Michael
1012 Autumn Lane                                                RS Legacy Corporation fka RadioShack
Concord, NC 28025                           3915      6/15/2015 Corporation                                                                       $50.00              $0.00               $0.00                                  $50.00
Hogan, Brittany
7168 New Hope Rd                                                RS Legacy Corporation fka RadioShack
Denton, NC 27239                            3916      6/15/2015 Corporation                                                     $60.00                                                                                           $60.00
Ames, Kimberly
751 W SILAS BROWN ST APT C                                      RS Legacy Corporation fka RadioShack
Jackson, MS 39204‐3065                      3917      6/15/2015 Corporation                                                      $0.00                                                                                            $0.00
Harris, MacArthur
5547 Hammermill Drive                                           RS Legacy Corporation fka RadioShack
Harrisburg, NC 28075                        3918      6/14/2015 Corporation                                                      $0.00                                                                                            $0.00
Vasquez, Maegan
464 Ivy St Apt 4                                                RS Legacy Corporation fka RadioShack
Glendale, CA 91204                          3919      6/12/2015 Corporation                                                                                                              $17.31                                  $17.31
SUNDANCE PLAZA BUILDINGS, LLC
JOHNNY CAMPBELL, PRESIDENT & CEO
201 MAIN STREET, SUITE 700                                      RS Legacy Corporation fka RadioShack
FORT WORTH, TX 76102                        3920      6/12/2015 Corporation                                                                                                                                 $0.00                 $0.00
Board of Public Works
Robert Stevenson, General Manager
#3 Industrial Loop Drive                                       RS Legacy Corporation fka RadioShack
Hannibal, MO 63401                          3921      6/8/2015 Corporation                                                   $3,030.65                                                                                        $3,030.65
VALLEY NEWS
PO BOX 877                                                      RS Legacy Corporation fka RadioShack
WHITE RIVER JUNCTION, VT 05001‐0877         3922      6/12/2015 Corporation                                                    $843.60                                                                                          $843.60
THE SERVICE
42‐16 34TH AVE                                                  RS Legacy Corporation fka RadioShack
LONG ISLAND CITY, NY 11101                  3923      6/12/2015 Corporation                                                    $115.00                                                                                          $115.00



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                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
FAIRIC‐TECH METAL WORKS MFG., LTD.
8TH FL., PETER LEUNG IND. BLDG.
KOWLOON                                                              RS Legacy Global Sourcing Corporation fka
HONG KONG                                        3924      6/12/2015 RadioShack Global Sourcing Corporation                                           $772.50                                                                        $772.50
CYPRESS CREEK CO, LP
C/O SUNBELT INVESTMET HOLDINGS INC.
8095 OTHELLO AVENUE                                                  RS Legacy Corporation fka RadioShack
SAN DIEGO, CA 92111                              3925      6/12/2015 Corporation                                                  $1,127.29                                                                                        $1,127.29
UNIVERSITY MARKETPLACE LLC
1414 ATWOOD AVENUE                                                   RS Legacy Corporation fka RadioShack
JOHNSTON, RI 02919                               3926      6/12/2015 Corporation                                                  $9,233.75                                                                                        $9,233.75
CITY OF LUMBERTON
E. Holt Moore, III ‐ Lumberton City Attorney
PO BOX 1388                                                          RS Legacy Corporation fka RadioShack
LUMBERTON, NC 28359                              3927      6/12/2015 Corporation                                                                                                                             $1,103.42             $1,103.42
CITY OF LUMBERTON
ATTN: CITY ATTORNEY
PO BOX 1388                                                          RS Legacy Corporation fka RadioShack
LUMBERTON, NC 28359                              3928      6/12/2015 Corporation                                                  $2,377.77                                                                                        $2,377.77

DEPARTMENT OF TAXATION, STATE OF HAWAII
ATTN: BANKRUPTCY UNIT
PO BOX 259
HONOLULU, HI 96809                               3929      6/12/2015 SCK, Inc.                                                        $0.00              $0.00                                                                         $0.00
BURBANK WATER & POWER
PO BOX 631                                                           RS Legacy Corporation fka RadioShack
BURBANK, CA 91503                                3930      6/12/2015 Corporation                                                    $686.69                                                                                          $686.69
Commonwealth Edison Company
Erin M. Buechler
3 Lincoln Center
4th Floor                                                            RS Legacy Corporation fka RadioShack
Oakbrook Terrace, IL 60181                       3931      6/12/2015 Corporation                                                                                                                            $19,649.78            $19,649.78
3950 TECPORT DRIVE, LP
950 SMILE WAY
PO Box 902                                                           RS Legacy Corporation fka RadioShack
YORK, PA 17405                                   3932      6/12/2015 Corporation                                                      $0.00                                                    $0.00             $0.00                 $0.00
23 REALTY LLC
C/O GERONIMO PROPERTIES
975 MERRIAM AVE STE 213                                              RS Legacy Corporation fka RadioShack
LEOMINSTER, MA 01453                             3933      6/12/2015 Corporation                                                      $0.00                                                    $0.00                                   $0.00
Ghobrial, Wassim
4812 Maymead Dr                                                      RS Legacy Corporation fka RadioShack
Fairfax, VA 22030                                3934      6/12/2015 Corporation                                                     $62.99                                                                                           $62.99
Herald Progress
PO Box 8                                                             RS Legacy Corporation fka RadioShack
Warsaw, VA 22572                                 3935      6/10/2015 Corporation                                                    $360.13                                                                                          $360.13
Rubalcaba, Guillermina
3917 Schwartz                                                        RS Legacy Corporation fka RadioShack
Fort Worth, TX 76106                             3936      6/13/2015 Corporation                                                      $0.00                                                                                            $0.00
Akhavan, Shohreh
235 S. Tower Dr. # 202                                               RS Legacy Corporation fka RadioShack
Beverly Hills, CA 90211                          3937      6/12/2015 Corporation                                                     $11.44                                                                                           $11.44



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                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
Thayne, Sandra
8022 Folsom Auburn Road                                                     RS Legacy Corporation fka RadioShack
Folsom, CA 95630                                        3938      6/15/2015 Corporation                                                     $80.43                                                                                           $80.43
Sundance Plaza Buildings, LLC
c/o Clay Taylor
Kelly Hart & Hallman LLP
201 Main Street, Suite 2500                                                 RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                                    3939      6/12/2015 Corporation                                                                     $4,494.09                                                                     $4,494.09
Davis, Andrea D.
PO Box 426                                                                  RS Legacy Customer Service LLC fka RadioShack
Redlands, CA 92373‐0141                                 3940      6/12/2015 Customer Service LLC                                           $100.00                                                                                          $100.00
Greene County Sanitiary Engineering
667 Dayton Xenia Rd                                                         RS Legacy Corporation fka RadioShack
Xenia, OH 45385                                         3941      6/12/2015 Corporation                                                    $222.89                                                                                          $222.89
CITY OF GRIFFIN
PO BOX T                                                                    RS Legacy Corporation fka RadioShack
GRIFFIN, GA 30224                                       3942      6/12/2015 Corporation                                                    $759.39                                                                                          $759.39
Sunnyslope Investments LLC
PO Box 37963                                                                RS Legacy Corporation fka RadioShack
Phoenix, AZ 85069                                       3943      6/15/2015 Corporation                                                  $2,080.00                                                                                        $2,080.00
GORDON COUNTY
TAX COMMISSIONER
PO BOX 337                                                                  RS Legacy Corporation fka RadioShack
CALHOUN, GA 30703‐0337                                  3944      6/12/2015 Corporation                                                                      $844.34                                                                        $844.34
JARDEL CO., INC.
DEBORAH MILLS HOUSTON
THE ROBBINS COMPANIES
555 CITY AVENUESUITE 1130                                                   RS Legacy Corporation fka RadioShack
BALA CYNWYD, PA 19004                                   3945      6/12/2015 Corporation                                                                                                                             $6,694.14             $6,694.14
BRE DDR BR Whittwood CA LLC
c/o KELLEY DRYE & WARREN LLP
Robert L. LeHane, Counsel for DDR Corp.
101 PARK AVENUE                                                             RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                                      3946      6/11/2015 Corporation                                                  $2,310.03                                                                                        $2,310.03
DDR Rio Hondo LLC, S.E.
Robert R. LeHane, Counsel for DDR Corp.
Kelley Drye & Warren LLP
101 Park Avenue                                                             RS Legacy Corporation fka RadioShack
New York, NY 10178                                      3947      6/11/2015 Corporation                                                                                                                            $18,927.87            $18,927.87
DDR Tarpon Square LLC
Kelley Drye & Warren LLP
Robert L. LeHane, Counsel for DDR Corp.
101 Park Avenue                                                             RS Legacy Corporation fka RadioShack
New York, NY 10178                                      3948      6/11/2015 Corporation                                                                                                                                 $0.00                 $0.00

Allen Central Market Allen, TX. Limited Partnership
270 Commerce Drive                                                          RS Legacy Corporation fka RadioShack
Rochester, NY 14623                                     3949      6/12/2015 Corporation                                                      $0.00                                                                      $0.00                 $0.00
3950 Tecport Drive, LP
Craig S. Sharnetzka, Esquire
135 North George Street                                                     RS Legacy Corporation fka RadioShack
York, PA 17401                                          3950      6/12/2015 Corporation                                                                                                               $0.00                                   $0.00



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                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
DDR Ohio Opportunity II LLC
KELLEY DRYE & WARREN LLP
Attn: Robert L. LeHane, Esq.
101 Park Avenue                                                       RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                                3951      6/11/2015 Corporation                                                $76,012.59                                                                                        $76,012.59
BRE DDR BR White Oak LLC
Robert R. LeHane, Counsel for DDR Corp.
Kelley Drye & Warren LLP
101 Park Avenue                                                       RS Legacy Corporation fka RadioShack
New York, NY 10178                                3952      6/11/2015 Corporation                                                                                                           $4,141.24                               $4,141.24
DDR Tarpon Square LLC
KELLEY DRYE & WARREN LLP
Attn: Robert L. Lehane, Esq.
101 PARK AVE                                                          RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                                3953      6/11/2015 Corporation                                                      $0.00                                                                                            $0.00
DDRM Apple Blossom Corners LLC
Kelley Drye & Warren LLP
Attn: Robert LeHane, Esq.
101 Park Avenue                                                       RS Legacy Corporation fka RadioShack
New York, NY 10178                                3954      6/11/2015 Corporation                                                      $0.00                                                                                            $0.00
DDR Southeast Windsor, LLC
KELLEY DRYE & WARREN LLP
Attn: Robert L. LeHane, Esq.
101 PARK AVE                                                          RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                                3955      6/11/2015 Corporation                                                $43,278.91                                                                                        $43,278.91
BRE DDR BR White Oak VA LLC
KELLEY DRYE & WARREN LLP
Attn: Robert L. LeHane, Esq.
101 PARK AVE                                                          RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                                3956      6/11/2015 Corporation                                                $25,552.78                                                                                        $25,552.78
DDRM River Run LLC
Robert R. LeHane, Counsel for DDR Corp.
Kelley Drye & Warren LLP
101 Park Avenue                                                       RS Legacy Corporation fka RadioShack
New York, NY 10178                                3957      6/11/2015 Corporation                                                $59,312.13                                                                                        $59,312.13
DDR Oestle, LLC, S.E.
Robert R. LeHane, Counsel for DDR Corp.
Kelley Drye & Warren LLP
101 Park Avenue                                                       RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                                3958      6/11/2015 Corporation                                                                                                                             $6,687.06             $6,687.06
DDR Guayama WM LLC, S.E.
Robert R. LeHane, Counsel for DDR Corp.
Kelley Drye & Warren LLP
101 Park Avenue                                                       RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                                3959      6/11/2015 Corporation                                                                                                                             $7,035.38             $7,035.38
JDN Real Estate ‐ West Lansing, LP (DDR Corp)
Kelley Drye & Warren LLP
ATTN: ROBERT L. LEHANE, ESQ.
101 PARK AVENUE                                                       RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                                3960      6/11/2015 Corporation                                                $39,816.44                                                                                        $39,816.44




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
DDRTC Turkey Creek LLC
KELLEY DRYE & WARREN LLP
Attn: Robert L. LeHane, Esq.
101 PARK AVE                                                    RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                          3961      6/11/2015 Corporation                                                $63,744.09                                                                                        $63,744.09
DDR Ohio Opportunity II LLC
Robert R. LeHane, Counsel for DDR Corp.
Kelley Drye & Warren LLP
101 Park Avenue                                                 RS Legacy Corporation fka RadioShack
New York, NY 10178                          3962      6/11/2015 Corporation                                                                                                                             $2,295.04             $2,295.04
DDR Atlantico LLC, S.E.
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
101 Park Avenue                                                 RS Legacy Corporation fka RadioShack
New York, NY 10178                          3963      6/11/2015 Corporation                                                  $2,058.55                                                                                        $2,058.55
DDR Southeast Windsor, L.L.C.
Kelley Drye & Warren LLP
ROBERT L. LEHANE, Counsel for DDR Corp.
101 PARK AVENUE                                                 RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                          3964      6/11/2015 Corporation                                                                                                                             $2,978.66             $2,978.66
Earleywine, Joshua
5825 Gemini Drive                                               RS Legacy Corporation fka RadioShack
Madison, WI 53718                           3965      6/12/2015 Corporation                                                                       $25.00                                                                         $25.00
AMALGAMATED FINANCIAL GROUP VI
1414 ATWOOD AVENUE                                              RS Legacy Corporation fka RadioShack
JOHNSTON, RI 02919                          3966      6/12/2015 Corporation                                                $51,198.64                                                                                        $51,198.64
Harris, MacArthur
2435 Catalina Ave                                               RS Legacy Corporation fka RadioShack
Charlotte, NC 28206                         3967      6/14/2015 Corporation                                                      $0.00                                                                                            $0.00
DDR DB Stone Oak LP
Robert R. LeHane, Counsel for DDR Corp.
Kelley Drye & Warren LLP
101 Park Avenue                                                 RS Legacy Corporation fka RadioShack
New York, NY 10178                          3968      6/11/2015 Corporation                                                                                                                             $3,319.40             $3,319.40
DDR Vega Baja LLC, S.E.
KELLEY DRYE & WARREN LLP
Attn: Robert L. LeHane, Esq.
101 PARK AVE                                                    RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                          3969      6/11/2015 Corporation                                               $164,210.11                                                                                       $164,210.11
DDR DownREIT LLC
KELLEY DRYE & WARREN LLP
Attn: Robert L. LeHane, Esq.
101 PARK AVE                                                    RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                          3970      6/11/2015 Corporation                                                  $2,612.18                                                                                        $2,612.18
DDRM Skyview Plaza, LLC
Robert R. LeHane, Counsel for DDR Corp.
Kelley Drye & Warren LLP
101 Park Avenue                                                 RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                          3971      6/11/2015 Corporation                                                                                                                             $2,638.27             $2,638.27




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                                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                     Amount                                                     Amount
DDR Mariner Square II LLC
Kelley Drye & Warren LLP
ATTN: ROBERT L. LEHANE, ESQ.
101 PARK AVENUE                                                               RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                                        3972      6/11/2015 Corporation                                                $23,453.78                                                                                        $23,453.78
DDRTC Fayette Pavilion III and IV, LLC
Kelley Drye & Warren LLP
ATTN: ROBERT L. LEHANE, ESQ.
101 PARK AVENUE                                                               RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                                        3973      6/11/2015 Corporation                                                    $549.70                                                                                          $549.70
Gates, D.
1360 Montecito Ave #A                                                         RS Legacy Corporation fka RadioShack
Mountain View, CA 94043                                   3974      6/13/2015 Corporation                                                                       $34.00                                                                         $34.00
FLOWLINE PLUMBING
PO BOX 630                                                                    RS Legacy Corporation fka RadioShack
BRIGHTON, CO 80601                                        3975      6/10/2015 Corporation                                                  $1,068.93                                                                                        $1,068.93
Springer, Kevin
6125 Kent Rd                                                                  RS Legacy Corporation fka RadioShack
Fort Wayne, IN 46816                                      3976      6/14/2015 Corporation                                                                                                               $0.00                                   $0.00
Ames, Kimberly
751 W Silas Brown ST APT C                                                    RS Legacy Corporation fka RadioShack
Jackson, MS 39204‐3065                                    3977      6/15/2015 Corporation                                                      $0.00                                                                                            $0.00
KPAC LLLP
Store 8560
1824 S. Glenstone                                                             RS Legacy Corporation fka RadioShack
Springfield, MO 65804                                     3978      6/10/2015 Corporation                                                                                                                                 $0.00                 $0.00
Henry, Patty
PO BOX 1200                                                                   RS Legacy Corporation fka RadioShack
PADUCAH, KY 42002                                         3979      6/10/2015 Corporation                                                                                                                                 $0.00                 $0.00
UGI Utilities Inc
PO Box 13009                                                                  RS Legacy Corporation fka RadioShack
Reading, PA 19612‐3009                                    3980      6/15/2015 Corporation                                                    $188.05                                                                                          $188.05
Rip Griffin Truck Servicing Center, Inc. Successor in
Interest to Sublett Corners, L.P.
Betty Catherman, CFO
c/o Joseph F. Postnikoff
777 Main St., Suite 1360                                                      RS Legacy Corporation fka RadioShack
Ft. Worth, TX 76102                                       3981      6/12/2015 Corporation                                                                                                                             $3,934.30             $3,934.30
Ramos, Marielena
633 N. Irving Blvd                                                            RS Legacy Corporation fka RadioShack
Los Angeles, CA 90004                                     3982      6/10/2015 Corporation                                                                                                                                $69.00                $69.00
JOHNSON CITY POWER BOARD
Attn: Tiphanie Watson
2600 Boones Creek Road                                                        RS Legacy Corporation fka RadioShack
Johnson City, TN 37615                                    3983      6/10/2015 Corporation                                                    $877.15                                                                                          $877.15
Dewey, Brent R
210 NORTHTOWNE CT                                                             RS Legacy Corporation fka RadioShack
NEWARK, OH 43055                                          3984      6/10/2015 Corporation                                                                                                                                 $0.00                 $0.00




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                                                                                                                                                   Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address               Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Houston County Revenue Commission
KATHY GILLEY ‐ AGENT
HOUSTON COUNTY REVENUE
PO DRAWER 6406                                                            RS Legacy Corporation fka RadioShack
DOTHAN , AL 36302                                     3985      6/10/2015 Corporation                                                                                                                                $93.94                $93.94
Retail Data LLC
Attention: Chris Ferguson
2235 Staples Mill Rd.
Suite 300                                                                 RS Legacy Corporation fka RadioShack
Richmond, VA 23230                                    3986      6/12/2015 Corporation                                                  $3,346.46                                                                                        $3,346.46
VILLAGE OF WELLSVILLE
156 N MAIN ST                                                            RS Legacy Corporation fka RadioShack
WELLSVILLE, NY 14895                                  3987      6/8/2015 Corporation                                                     $913.12                                                                                          $913.12
Corum Investment
Steven J. Williamson, Attorney
Wilke Fleury Hoffelt Gould & Birney, LLP
400 Capitol Mall, 22nd Floor                                              RS Legacy Corporation fka RadioShack
Sacramento, CA 95814                                  3988      6/10/2015 Corporation                                                                                                                             $2,233.39             $2,233.39
AKD CONSTRUCTION INC
210 NORTHTOWN COURT SUITE G                                               RS Legacy Corporation fka RadioShack
NEWARK, OH 43055                                      3989      6/10/2015 Corporation                                                      $0.00              $0.00                                 $0.00                                   $0.00
Oklahoma Natural Gas Company, a division of
ONEGAS, Inc.
PO Box 21019                                                              RS Legacy Corporation fka RadioShack
Tulsa, OK 74121‐1019                                  3990      6/10/2015 Corporation                                                    $378.23                                                                                          $378.23
Dunbar, Merida K
1192 Broadway Ave Se                                                      RS Legacy Corporation fka RadioShack
Masury, OH 44438                                      3991      6/15/2015 Corporation                                                                         $0.00                                                                         $0.00
BAZOO, ROBERT
10813 YOLANDA AVE                                                         RS Legacy Corporation fka RadioShack
NORTHRIDGE, CA 91326                                  3992      6/15/2015 Corporation                                                                       $84.25              $0.00               $0.00                                  $84.25
Oklahoma Natural Gas Company, a division of
ONEGAS, Inc.
PO Box 21019                                                              RS Legacy Corporation fka RadioShack
Tulsa, OK 74121‐1019                                  3993      6/10/2015 Corporation                                                    $613.88                                                                                          $613.88
Festival Pasadena Associates, LP, HSG Pasadena,
LLC, LM Pasadena, LLC, SFG Pasadena, LLC and
Garstat Corporation
Robert G. Pollokoff, Managing Member
10096 Red Run Boulevard, Suite 300                                        RS Legacy Corporation fka RadioShack
Owings Mills, MD 21117                                3994      6/10/2015 Corporation                                                                                                                             $3,493.23             $3,493.23
Forest City Commercial Management, Inc. Agent for
BPC Henderson, LLC
DOUGLAS H. SOLOMON
50 Public Square
Suite 1360                                                                RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                   3995      6/10/2015 Corporation                                                                                                                             $3,633.77             $3,633.77
36 EAST 23RD ST ASSOCIATES LLC
PO BOX 460                                                                RS Legacy Corporation fka RadioShack
VALLEY STREAM, NY 11582                               3996      6/10/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
Hoskins, Jenny                                                            RS Legacy Corporation fka RadioShack
                                                      3997      6/15/2015 Corporation                                                     $50.00                                                                                           $50.00



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                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
Oklahoma Natural Gas Company, a division of
ONEGAS, Inc.
PO Box 21019                                                             RS Legacy Corporation fka RadioShack
Tulsa, OK 74121‐1019                                 3998      6/10/2015 Corporation                                                    $556.53                                                                                          $556.53
Singmaster, Jackie
116 Meade Drive                                                          RS Legacy Corporation fka RadioShack
Annapolis, MD 21403                                  3999      6/15/2015 Corporation                                                                                          $20.00                                                      $20.00
Forest City Commercial Management,Inc. Agent for
Charlestown Town Center SPE,LLC
50 Public Square
Suite 1360                                                               RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                  4000      6/10/2015 Corporation                                                                                                                             $7,963.78             $7,963.78
Baghboudarian, Garo
1298 North Tam O'Shanter Drive                                           RS Legacy Corporation fka RadioShack
Azusa, CA 91702                                      4001      6/13/2015 Corporation                                                                                         $100.00                                                     $100.00
Henry, Patty
PO BOX 1200                                                              RS Legacy Corporation fka RadioShack
PADUCAH, KY 42003                                    4002      6/10/2015 Corporation                                                                                                                                 $0.00                 $0.00
CITY OF TORRANCE
 John Fellows‐ City Attorney
City Hall
3031 Torrance Blvd.                                                      RS Legacy Corporation fka RadioShack
Torrance, CA 90503                                   4003      6/10/2015 Corporation                                                     $89.00                                                                                           $89.00
NP/I&G Eastchase Property Owner LLC
c/o J. David Folds
Baker Donelson
901 K Street NW, Suite 900                                               RS Legacy Corporation fka RadioShack
Washington, DC 20001                                 4004      6/10/2015 Corporation                                                  $4,285.02                                                                                        $4,285.02
Oklahoma Natural Gas Company, a division of
ONEGAS, Inc.
PO Box 21019                                                             RS Legacy Corporation fka RadioShack
Tulsa, OK 74121‐1019                                 4005      6/10/2015 Corporation                                                    $275.22                                                                                          $275.22
Radford (Peppers Ferry) WMS, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                   4006      6/10/2015 Corporation                                                  $3,856.05                                                                                        $3,856.05
Oklahoma Natural Gas Company, a division of
ONEGAS, Inc.
PO Box 21019                                                             RS Legacy Corporation fka RadioShack
Tulsa, OK 74121‐1019                                 4007      6/10/2015 Corporation                                                    $321.86                                                                                          $321.86
Claim Docketed In Error                                                  RS Legacy Corporation fka RadioShack
                                                     4008      6/15/2015 Corporation                                                                                                                                                       $0.00
CORUM INVESTMENT
C/O Butch Corum
1005 12th Street, Suite 6                                                RS Legacy Corporation fka RadioShack
Sacramento, CA 95814                                 4009      6/10/2015 Corporation                                                $48,573.56                                                                                        $48,573.56
Uricoli, Anne
301 13th Avenue                                                          RS Legacy Corporation fka RadioShack
Belmar, NJ 07719                                     4010      6/15/2015 Corporation                                                                                          $15.89                                                      $15.89




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                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
YAHOO! INC.
Thomas M. Gaa
Bialson, Bergen & Schwab, P.C.
633 Menlo Avenue, Suite 100                                         RS Legacy Corporation fka RadioShack
Menlo Park, CA 94025                            4011      6/10/2015 Corporation                                                                                                                                 $0.00                 $0.00
UGI Utilities Inc
PO Box 13009                                                        RS Legacy Corporation fka RadioShack
Reading, PA 19612‐3009                          4012      6/15/2015 Corporation                                                    $253.00                                                                                          $253.00
Phenix Partnership, L.P.
c/o Samuel R. Arden, Esq.
Hartman Simons & Wood
6400 Powers Ferry Road NW #400                                      RS Legacy Corporation fka RadioShack
Atlanta, GA 30339                               4013      6/12/2015 Corporation                                                $23,435.40                                                                                        $23,435.40
Public Service Co of North Carolina
ATTN: JANET REYES
220 OPERATION WAY
MAIL CODE C222                                                      RS Legacy Corporation fka RadioShack
CAYCE, SC 29033                                 4014      6/10/2015 Corporation                                                  $7,154.54              $0.00                                               $4,057.10            $11,211.64
Henry, Patty
PO BOX 1400                                                         RS Legacy Corporation fka RadioShack
PADUCAH, KY 42002                               4015      6/10/2015 Corporation                                                                                                                                 $0.00                 $0.00
Bluefield (Ridgeview) WMS, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                           RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                              4016      6/10/2015 Corporation                                                  $3,334.93                                                                                        $3,334.93
Oklahoma Natural Gas Company, a division of
ONEGAS, Inc.
PO Box 21019                                                        RS Legacy Corporation fka RadioShack
Tulsa, OK 74121‐1019                            4017      6/10/2015 Corporation                                                     $42.18                                                                                           $42.18
YORK INTERNATIONAL CORP
UNITARY PRODUCTS GROUP
PO BOX 905578                                                       RS Legacy Corporation fka RadioShack
CHARLOTTE, NC 28290‐5578                        4018      6/15/2015 Corporation                                                $21,020.43                                                                                        $21,020.43
Radford (Peppers Ferry) WMS, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                           RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                              4019      6/10/2015 Corporation                                                  $2,920.83                                                                                        $2,920.83
36 East 23rd St. Associates, LLC
Patrick J. O'Connor
3490 Piedmont Rd #650                                               RS Legacy Corporation fka RadioShack
Atlanta, GA 30305                               4020      6/10/2015 Corporation                                                                                                                                 $0.00                 $0.00
140 Village Limited Liability Partnership
FEDDER MANAGEMENT CORPORATION
Robert G. Pollokoff, President
10096 Red Run Boulevard, Suite 300                                  RS Legacy Corporation fka RadioShack
Owings Mills, MD 21117                          4021      6/10/2015 Corporation                                                                                                                             $2,317.96             $2,317.96




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                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Oklahoma Natural Gas Company, a division of
ONEGAS, Inc.
PO Box 21019                                                              RS Legacy Corporation fka RadioShack
Tulsa, OK 74121‐1019                                  4022      6/10/2015 Corporation                                                    $290.39                                                                                          $290.39
Henry, Patty
PO BOX 1400                                                               RS Legacy Corporation fka RadioShack
PADUCAH, KY 42002                                     4023      6/10/2015 Corporation                                                                                                                                 $0.00                 $0.00
Henry, Patty
PO Box 1200                                                               RS Legacy Corporation fka RadioShack
Paducah , KY 42002                                    4024      6/10/2015 Corporation                                                                                                                                 $0.00                 $0.00
Forest City Commercial Management, Inc. Agent for
South Bay Center SPE, LLC
Douglas H. Soloman
50 Public Square
Suite 1360                                                                RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                   4025      6/10/2015 Corporation                                                                                                                             $5,067.37             $5,067.37
W.W. GRAINGER
7300 N Melvina Ave                                                        RS Legacy Corporation fka RadioShack
Niles, IL 60714                                       4026      6/10/2015 Corporation                                                                                                                                 $0.00                 $0.00
UGI Utilities Inc
PO Box 13009                                                              RS Legacy Corporation fka RadioShack
Reading, PA 19612‐3009                                4027      6/15/2015 Corporation                                                    $394.52                                                                                          $394.52
Henry, Patty
PO BOX 1200                                                               RS Legacy Corporation fka RadioShack
PADUCAH, KY 42002                                     4028      6/10/2015 Corporation                                                                                                                                 $0.00                 $0.00
Reyes, Janet C.
220 Operation Way
Mail Code C222                                                            RS Legacy Corporation fka RadioShack
Cayce, SC 29033                                       4029      6/10/2015 Corporation                                                                                                                                 $0.00                 $0.00
WILSON COUNTY TAX COLLECTOR
PO BOX 1162                                                               RS Legacy Corporation fka RadioShack
WILSON, NC 27894                                      4030      6/10/2015 Corporation                                                                      $734.60                                                                        $734.60
Waste Industries
c/o RMS
PO Box 5126                                                               RS Legacy Corporation fka RadioShack
Timonium, MD 21094                                    4031      6/10/2015 Corporation                                                      $0.00                                                                                            $0.00
UGI UTILITIES INC
PO BOX 13009                                                              RS Legacy Corporation fka RadioShack
READING, PA 19612‐3009                                4032      6/15/2015 Corporation                                                    $254.28                                                                                          $254.28
NORTHPOINT INVESTMENTS LLC
4333 N. VINE ST. SUITE 40                                                 RS Legacy Corporation fka RadioShack
HAYS, KS 67601                                        4033      6/10/2015 Corporation                                                  $8,285.92                                                                                        $8,285.92
Oklahoma Natural Gas Company, a division of
ONEGAS, Inc.
PO Box 21019                                                              RS Legacy Corporation fka RadioShack
Tulsa, OK 74121‐1019                                  4034      6/10/2015 Corporation                                                    $259.97                                                                                          $259.97
UGI Utilities Inc
PO Box 13009                                                              RS Legacy Corporation fka RadioShack
Reading , PA 19612‐3009                               4035      6/15/2015 Corporation                                                    $162.42                                                                                          $162.42
Alexander, Sharon
9096 Shelton Drive                                                        RS Legacy Corporation fka RadioShack
Chandler, TX 75758                                    4036      6/15/2015 Corporation                                                     $14.06                                                                                           $14.06



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                                                                                                                                             Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address         Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
Oklahoma Natural Gas Company, a division of
ONEGAS, Inc.
PO Box 21019                                                        RS Legacy Corporation fka RadioShack
Tulsa, OK 74121‐1019                            4037      6/10/2015 Corporation                                                    $351.47                                                                                          $351.47
REKHA REDDI TRUSTEE
14008 OUTLOOK STREET                                                RS Legacy Corporation fka RadioShack
OVERLAND PARK, KS 66223                         4038      6/10/2015 Corporation                                                  $3,540.27                                                                                        $3,540.27
FOREST CITY COMMERCIAL MANAGEMENT INC.
AGENT FOR BOULEVARD MALL SPE, LLC
DOUGLAS H. SOLOMON
50 Public Square
Suite 1360                                                          RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                             4039      6/10/2015 Corporation                                                                                                                            $10,303.87            $10,303.87
The Empire District Electric Company
PO Box 127                                                          RS Legacy Corporation fka RadioShack
Joplin, MO 64802‐0127                           4040      6/10/2015 Corporation                                                     $58.72                                                                                           $58.72
Haas, Zygmunt
280 W. Renner Road, Apt. 4321                                       RS Legacy Corporation fka RadioShack
Richardson, TX 75080                            4041      6/15/2015 Corporation                                                      $0.00                                                                                            $0.00
Oklahoma Natural Gas Company, a division of
ONEGAS, Inc.
PO Box 21019                                                        RS Legacy Corporation fka RadioShack
Tulsa, OK 74121‐1019                            4042      6/10/2015 Corporation                                                    $187.05                                                                                          $187.05
City of Cheshire
Attn: Alfred E. Smith, Jr. ‐ City Attorney
Town of Cheshire Town Hall
84 South Main Street                                                RS Legacy Corporation fka RadioShack
Cheshire, CT 06410                              4043      6/15/2015 Corporation                                                                      $398.05                                                                        $398.05
Oklahoma Natural Gas Company, a division of
ONEGAS, Inc.
PO Box 21019                                                        RS Legacy Corporation fka RadioShack
Tulsa, OK 74121‐1019                            4044      6/10/2015 Corporation                                                    $157.67                                                                                          $157.67
UGI UTILITIES INC
PO BOX 13009                                                        RS Legacy Corporation fka RadioShack
READING, PA 19612‐3009                          4045      6/15/2015 Corporation                                                     $15.78                                                                                           $15.78
UGI UTILITIES INC
PO BOX 13009                                                        RS Legacy Corporation fka RadioShack
READING, PA 19612‐3009                          4046      6/15/2015 Corporation                                                  $1,226.17                                                                                        $1,226.17
UGI UTILITIES INC
PO BOX 13009                                                        RS Legacy Corporation fka RadioShack
READING, PA 19612‐3009                          4047      6/15/2015 Corporation                                                    $452.22                                                                                          $452.22
UGI UTILITIES INC
PO BOX 13009                                                        RS Legacy Corporation fka RadioShack
READING, PA 19612‐3009                          4048      6/15/2015 Corporation                                                  $1,819.13                                                                                        $1,819.13
Oklahoma Natural Gas Company, a division of
ONEGAS, Inc.
PO Box 21019                                                        RS Legacy Corporation fka RadioShack
Tulsa, OK 74121‐1019                            4049      6/10/2015 Corporation                                                     $95.20                                                                                           $95.20
Hutton, Susan G.
6 Zandhoek Rd                                                       RS Legacy Corporation fka RadioShack
Hurley, NY 12443                                4050      6/10/2015 Corporation                                                     $60.00                                                                                           $60.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
UGI Utilities Inc
PO Box 13009                                                   RS Legacy Corporation fka RadioShack
Reading, PA 19612‐3009                     4051      6/15/2015 Corporation                                                    $116.18                                                                                          $116.18
UGI UTILITIES INC
PO BOX 13009                                                   RS Legacy Corporation fka RadioShack
READING, PA 19612‐3009                     4052      6/15/2015 Corporation                                                  $1,328.25                                                                                        $1,328.25
UGI UTILITIES INC
PO BOX 13009                                                   RS Legacy Corporation fka RadioShack
READING, PA 19612‐3009                     4053      6/15/2015 Corporation                                                    $389.72                                                                                          $389.72
UGI Utilities Inc
PO Box 13009                                                   RS Legacy Corporation fka RadioShack
Reading, PA 19612‐3009                     4054      6/15/2015 Corporation                                                    $208.25                                                                                          $208.25
UGI UTILITIES INC
PO BOX 13009                                                   RS Legacy Corporation fka RadioShack
READING, PA 19612‐3009                     4055      6/15/2015 Corporation                                                    $296.82                                                                                          $296.82
UGI Utilities Inc
PO Box 13009                                                   RS Legacy Corporation fka RadioShack
Reading, PA 19612‐3009                     4056      6/15/2015 Corporation                                                    $158.61                                                                                          $158.61
UGI Utilities Inc
PO Box 13009                                                   RS Legacy Corporation fka RadioShack
Reading, PA 19612‐3009                     4057      6/15/2015 Corporation                                                    $507.24                                                                                          $507.24
SKYE‐HILSHIRE, L.P.
1927 1st AVE. NORTH, 5TH FLOOR                                 RS Legacy Corporation fka RadioShack
BIRMINGHAM, AL 35203                       4058      6/10/2015 Corporation                                                                                                                             $2,999.80             $2,999.80
CoServ Gas
Attn: Revenue Recovery
7701 S Stemmons                                                RS Legacy Corporation fka RadioShack
Corinth, TX 76210                          4059      6/10/2015 Corporation                                                    $233.58                                                                                          $233.58
UGI Utilities Inc
PO Box 13009                                                   RS Legacy Corporation fka RadioShack
Reading, PA 19612‐3009                     4060      6/15/2015 Corporation                                                    $266.21                                                                                          $266.21
UGI UTILITIES INC
PO BOX 13009                                                   RS Legacy Corporation fka RadioShack
READING, PA 19612‐3009                     4061      6/15/2015 Corporation                                                    $386.57                                                                                          $386.57
UGI UTILITIES INC
PO BOX 13009                                                   RS Legacy Corporation fka RadioShack
READING, PA 19612‐3009                     4062      6/15/2015 Corporation                                                    $564.29                                                                                          $564.29
SMITH & KEENE ELECTRIC SERVICE INC
PO BOX 1777                                                    RS Legacy Corporation fka RadioShack
CHESAPEAKE, VA 23327                       4063      6/15/2015 Corporation                                                  $1,712.00                                                                                        $1,712.00
Kohler, David John
6637 Jannie St                                                 RS Legacy Corporation fka RadioShack
North Richland Hills, TX 76180‐1503        4064      6/15/2015 Corporation                                                                         $0.00                                                                         $0.00
Ghobrial, Wassim
4812 Marymead Dr.                                              RS Legacy Corporation fka RadioShack
Fairfax, VA 22030                          4065      6/15/2015 Corporation                                                     $15.72                                                                                           $15.72
WhitleyPenn
Felix Lozano
1400 W 7th Street, Suite 400                                   RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                       4066      6/15/2015 Corporation                                                $23,275.00                                                                                        $23,275.00




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                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount
Danilin, Michael Y
4409 160th ave SE                                                          RS Legacy Corporation fka RadioShack
Bellevue, WA 98006                                     4067      6/15/2015 Corporation                                                      $0.00                                                                                            $0.00
Roanoke Gas Company
PO Box 13007                                                               RS Legacy Corporation fka RadioShack
Roanoke, VA 24030                                      4068      6/15/2015 Corporation                                                    $805.64                                                                                          $805.64
REYES, JANET C.
220 OPERATION WAY
MAIL CODE C222                                                             RS Legacy Corporation fka RadioShack
CAYCE, SC 29033                                        4069      6/10/2015 Corporation                                                      $0.00                                                                                            $0.00
City of Hendersonville
145 FIFTH AVE E.                                                           RS Legacy Corporation fka RadioShack
HENDERSONVILLE, NC 28792                               4070      6/10/2015 Corporation                                                    $149.19            $28.89                                                                        $178.08
Wind, Robert
276 Warwick Ave                                                            RS Legacy Corporation fka RadioShack
Teaneck, NJ 07666                                      4071      6/15/2015 Corporation                                                     $50.00                                                                                           $50.00

1 MILE WEST LLLP, HSG ONEMV, LLC, Garten
ONEMW, LLC, Overlea Limited Partnership and HA
Limited Parternship (as Tenants‐in‐Common)
Robert G. Pollokoff, President
10096 RED RUN BLVD STE 300                                                 RS Legacy Corporation fka RadioShack
OWINGS MILLS, MD 21117                                 4072      6/10/2015 Corporation                                                                                                                             $3,300.00             $3,300.00
UGI UTILITIES INC
PO BOX 13009                                                               RS Legacy Corporation fka RadioShack
READING, PA 19612‐3009                                 4073      6/15/2015 Corporation                                                    $449.70                                                                                          $449.70
UGI UTILITIES INC
PO BOX 13009                                                               RS Legacy Corporation fka RadioShack
READING, PA 19612‐3009                                 4074      6/15/2015 Corporation                                                    $297.35                                                                                          $297.35
UGI UTILITIES INC
PO BOX 13009                                                               RS Legacy Corporation fka RadioShack
READING, PA 19612‐3009                                 4075      6/15/2015 Corporation                                                    $584.94                                                                                          $584.94
Lafitte, Carolyn
Cond el Atlantico
Apt 708                                                                    RS Legacy Corporation fka RadioShack
Toa Baja, PR 00949                                     4076      6/11/2015 Corporation                                                                                                              $37.00                                  $37.00
Gonzalez, Rene Mercado
HC 03 Box 10635                                                            RS Legacy Corporation fka RadioShack
San German, PR 00683                                   4077      6/10/2015 Corporation                                                      $0.00                                                                                            $0.00
CITY OF NEW BERN
PO BOX 63005                                                               RS Legacy Corporation fka RadioShack
CHARLOTTE, NC 28263                                    4078      6/15/2015 Corporation                                                    $778.77                                                                                          $778.77
THE LONE STAR NEWS GROUP
512 PALO PINTO                                                             RS Legacy Corporation fka RadioShack
WEATHERFORD, TX 76086                                  4079      6/15/2015 Corporation                                                  $1,521.90                                                                                        $1,521.90

Puerto Rico Power Electric Authority (Autoridad de
Energia Electrica de Puerto Rico)
Attn: Maria T. Gorbea, Supervisor
PREPA ‐ Bankruptcy Office
PO Box 364267                                                              RS Legacy Corporation fka RadioShack
San Juan, PR 00936‐4267                                4080      6/15/2015 Corporation                                               $134,151.84               $0.00                                 $0.00                             $134,151.84



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                                                                                                                                           Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address       Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                     Amount
CITY OF SUNRISE
Kimberly A. Kisslan ‐ City Attorney
10770 West Oakland Park Boulevard                                 RS Legacy Corporation fka RadioShack
Sunrise, FL 33351                             4081      6/15/2015 Corporation                                                    $515.50              $0.00                                                                       $515.50
Lubbock Power and Light/City of Lubbock
1301 Broadway                                                     RS Legacy Corporation fka RadioShack
Lubbock, TX 79401                             4082      6/15/2015 Corporation                                                  $2,326.20                                                                                        $2,326.20
CITY OF SANTA CLARA
1500 WARBURTON AVE                                                RS Legacy Corporation fka RadioShack
SANTA CLARA, CA 95161‐9067                    4083      6/15/2015 Corporation                                                  $1,225.97                                                                                        $1,225.97

CAPLACO MANAGEMENT CO
C/O CAPITAL LAND CO RE MACKENZIE POINT SC
PO BOX 419121                                                     RS Legacy Corporation fka RadioShack
ST LOUIS, MO 63141                            4084      6/10/2015 Corporation                                                $14,762.52                                                                                        $14,762.52
Li, Rui
609 Plymouth Lane                                                 RS Legacy Corporation fka RadioShack
Foster City , CA 94404                        4085      6/15/2015 Corporation                                                                       $21.79                                                                         $21.79
Poser, Daniel W
1030 ATLANTIC APT 305                                             RS Legacy Corporation fka RadioShack
ST. PAUL, MN 55106                            4086      6/15/2015 Corporation                                                     $30.00                                                                                           $30.00
Thomas, Robin Lesha
850 Easto Countyline Rd                                           RS Legacy Corporation fka RadioShack
Ridgeland, MS 39157                           4087      6/15/2015 Corporation                                                                         $0.00                                 $0.00                                   $0.00
PANAMA CITY UTILITIES DEPT
Matt Standley ‐ Utilities Director
9 Harrison Ave.                                                   RS Legacy Corporation fka RadioShack
Panama City, FL 32401                         4088      6/15/2015 Corporation                                                    $280.32                                                                                          $280.32
US Security Associates Inc.
200 Mansell Court #500                                            RS Legacy Corporation fka RadioShack
Roswell, GA 30076                             4089      6/15/2015 Corporation                                                  $6,537.71                                                                                        $6,537.71
CITY OF ASHEBORO
PO BOX 2628                                                       RS Legacy Corporation fka RadioShack
ASHEBORO, NC 27204‐2628                       4090      6/15/2015 Corporation                                                     $82.18                                                                                           $82.18
UGI Utilities Inc
PO Box 13009                                                      RS Legacy Corporation fka RadioShack
Reading, PA 19612‐3009                        4091      6/15/2015 Corporation                                                    $160.96                                                                                          $160.96
DOUGLAS COUNTY TAX COMMISSIONER
PO BOX 1177                                                       RS Legacy Corporation fka RadioShack
DOUGLASVILLE, GA 30133                        4092      6/15/2015 Corporation                                                                         $0.00                                                                         $0.00
SUNSET VIEW CEMETERY ASS.
101 COLUSE AVE.
PO BOX 187                                                        RS Legacy Corporation fka RadioShack
EL CERRITO, CA 94530                          4093      6/15/2015 Corporation                                                $17,332.92                                                                                        $17,332.92
City of Traverse City
C/O City Treasurer
400 Boardman Ave                                                  RS Legacy Corporation fka RadioShack
Traverse City, MI 49684                       4094      6/15/2015 Corporation                                                    $724.69                                                                                          $724.69
Puma, Mary
26378 Woodmont St                                                 RS Legacy Corporation fka RadioShack
Roseville, MI 48066                           4095      6/15/2015 Corporation                                                                      $100.00                                                                        $100.00




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                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Lim, James
124 East Broad Street #C                                                  RS Legacy Corporation fka RadioShack
Falls Church, VA 22046                                4096      6/15/2015 Corporation                                                                                                               $0.00                                   $0.00
VAN OOYEN'S J&D ELECTRIC, L.L.C.
DONNA VAN OOYEN, MEMBER
N2033 US HIGHWAY 45 S                                                     RS Legacy Corporation fka RadioShack
ANTIGO, WI 54409                                      4097      6/15/2015 Corporation                                                  $5,000.00                                                                                        $5,000.00

CITY OF NEWBERRY
Al Harvey, City Manager and Marc Regier, Director
1330 College Street
P.O. Box 538                                                              RS Legacy Corporation fka RadioShack
Newberry, SC 29108                                    4098      6/15/2015 Corporation                                                    $681.51                                                                                          $681.51
Kroeker, Barbara
397 Karen St.                                                             RS Legacy Corporation fka RadioShack
Dayton, TN 37321                                      4099      6/15/2015 Corporation                                                     $16.45                                                                                           $16.45
Hopkinsville Electric System
PO Box 728                                                                RS Legacy Corporation fka RadioShack
Hopkinsville, KY 42241                                4100      6/12/2015 Corporation                                                  $1,079.00                                                                                        $1,079.00
COBB EMC
Attn: Jim Gantt
PO BOX 369                                                                RS Legacy Corporation fka RadioShack
MARIETTA, GA 30061                                    4101      6/15/2015 Corporation                                                  $1,074.86                                                                                        $1,074.86
Li, Rui
609 Plymouth Lane                                                         RS Legacy Corporation fka RadioShack
Foster City, CA 94404                                 4102      6/15/2015 Corporation                                                                                                                                $21.79                $21.79
Shaney, JagJit
151‐09 36 Ave
Apt# 2E                                                                   RS Legacy Customer Service LLC fka RadioShack
Flushing, NY 11354                                    4103      6/15/2015 Customer Service LLC                                             $0.00                                                                                            $0.00
Dudek, Lawrence E.
PO Box 141                                                                RS Legacy Corporation fka RadioShack
Timberon, NM 88350                                    4104      6/15/2015 Corporation                                                     $18.17                                                                                           $18.17
UGI Utilities Inc
PO Box 13009                                                              RS Legacy Corporation fka RadioShack
Reading, PA 19612‐3009                                4105      6/15/2015 Corporation                                                    $155.96                                                                                          $155.96
STATESBORO HERALD
1 PROCTOR STREET
PO BOX 888                                                                RS Legacy Corporation fka RadioShack
STATESBORO, GA 30459                                  4106      6/15/2015 Corporation                                                    $489.90                                                                                          $489.90
Esparza, Edward
2514 Warwick Ave                                                          RS Legacy Corporation fka RadioShack
Fort Worth, TX 76106                                  4107      6/15/2015 Corporation                                                     $50.00                                                                                           $50.00
Action Glass Company
54978 Mayflower Road                                                      RS Legacy Corporation fka RadioShack
South Bend, IN 46628                                  4108      6/11/2015 Corporation                                                                                                                                 $0.00                 $0.00
Mendez, Maria
2008 Ross Ave                                                             RS Legacy Corporation fka RadioShack
Fort Worth, TX 76164                                  4109      6/15/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Jartown, LP
Deborah Mills Houston
The Robbins Companies
555 City Avenue, Suite 1130                                     RS Legacy Corporation fka RadioShack
Bala Cynwyd, PA 19004                       4110      6/12/2015 Corporation                                                                                                                                 $0.00                 $0.00
Skagit County Treasurer
PO Box 518                                                      RS Legacy Corporation fka RadioShack
Mount Vernon, WA 98273                      4111      6/15/2015 Corporation                                                                         $0.00             $0.00                                                       $0.00
Oriole Construction, Inc
39 East Central Ave
Suite 2                                                         RS Legacy Corporation fka RadioShack
Pearl River, NY 10965                       4112      6/15/2015 Corporation                                                  $1,555.00                                                                                        $1,555.00
COBB EMC
Attn: Jim Gantt
PO BOX 369                                                      RS Legacy Corporation fka RadioShack
MARIETTA, GA 30061                          4113      6/15/2015 Corporation                                                    $822.22                                                                                          $822.22
UGI UTILITIES INC
PO BOX 13009                                                    RS Legacy Corporation fka RadioShack
READING, PA 19612‐3009                      4114      6/15/2015 Corporation                                                    $313.66                                                                                          $313.66
SPRINGFIELD UTILITY BOARD
PO BOX 300                                                      RS Legacy Corporation fka RadioShack
SPRINGFIELD, OR 97477                       4115      6/15/2015 Corporation                                                    $573.46                                                                                          $573.46
Schnitzer Wagner Partnership No. 2 Ltd.
1500 Ramsgate                                                   RS Legacy Corporation fka RadioShack
Plano, TX 75093                             4116      6/15/2015 Corporation                                                  $1,818.21                                                                                        $1,818.21
COBB EMC
Attn: Jim Gantt
PO BOX 369                                                      RS Legacy Corporation fka RadioShack
MARIETTA, GA 30061                          4117      6/15/2015 Corporation                                                    $989.46                                                                                          $989.46
Kohler, David John
6637 Jannie St
North Richland Hills, TX 76180‐1503         4118      6/15/2015 TE Electronics LP                                                                   $0.00                                                                         $0.00
WRS Centers I, LLC
Chamblee GA Store #018720‐02
Chamblee Retail Holdings, LLC
550 Long Point Road                                             RS Legacy Corporation fka RadioShack
Mount Pleasant, SC 29464                    4119      6/15/2015 Corporation                                                      $0.00                                                                                            $0.00
Sunset View Cemetery Association
Mayra Y. Martinez
PO Box 187                                                      RS Legacy Corporation fka RadioShack
El Cerrito, CA 94530‐5187                   4120      6/15/2015 Corporation                                                                                                                                 $0.00                 $0.00
Walter, Lenke
3529 South Dr.                                                  RS Legacy Corporation fka RadioShack
Fort Worth, TX 76109                        4121      6/15/2015 Corporation                                                                     $9,388.80                                                                     $9,388.80
City of BANGOR
Attn: City Attorney
Legal Department
73 Harlow Street                                                RS Legacy Corporation fka RadioShack
Bangor, ME 04401                            4122      6/15/2015 Corporation                                                                                                             $112.58                                 $112.58
Roberts, Chantell
6744 S Oquirrh Ridge Rd                                         RS Legacy Corporation fka RadioShack
West Jordan, UT 84081                       4123      6/15/2015 Corporation                                                                                                              $43.04                                  $43.04



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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Banks, Cachet
208 Sunflower Estate Lane                                      RS Legacy Corporation fka RadioShack
Carencro, LA 70520                         4124      6/15/2015 Corporation                                                                                                                                 $0.00                 $0.00
UGI UTILITIES INC
PO BOX 13009                                                   RS Legacy Corporation fka RadioShack
READING, PA 19612‐3009                     4125      6/15/2015 Corporation                                                    $402.91                                                                                          $402.91
Ortiz Vega, Roberto
Hc 10 Box 7821                                                 RS Legacy Corporation fka RadioShack
Sabana Grande, PR 00637                    4126      6/15/2015 Corporation                                                                         $0.00                                                                         $0.00
Watauga 377, L.L.C.
C/O McCathern PLLC
Attn: Jonathan L. Howell
3710 Rawlins Street
Suite 1600                                                     RS Legacy Corporation fka RadioShack
Dallas, TX 75219                           4127      6/15/2015 Corporation                                                $48,288.24                                                                                        $48,288.24
Center Point, LP
Stephen B. Porterfield
Sirote & Permutt, P.C.
2311 Highland Avenue S.                                        RS Legacy Corporation fka RadioShack
Birmingham, AL 35205                       4128      6/15/2015 Corporation                                                                                                                             $2,314.85             $2,314.85
ROCHESTER GAS & ELECTRIC CORPORATION
Patricia A. Cotton
89 EAST AVE                                                    RS Legacy Corporation fka RadioShack
ROCHESTER, NY 14649                        4129      6/15/2015 Corporation                                                                                                                             $1,612.46             $1,612.46
City of Jacksonville
Attn: John Carter, City Attorney
815 New Bridge St                                              RS Legacy Corporation fka RadioShack
Jacksonville, NC 28540                     4130      6/15/2015 Corporation                                                      $0.00              $0.00             $0.00               $0.00                                   $0.00
Rosenquist, Dennis
26029 S. HollyGreen Dr.                                        RS Legacy Corporation fka RadioShack
Sunlakes, AZ 85248                         4131      6/15/2015 Corporation                                                      $0.00                                                                                            $0.00
Feo, Anthony J
10 Salk DR.                                                    RS Legacy Corporation fka RadioShack
Highland, NY 12528                         4132      6/15/2015 Corporation                                                                       $39.94                                                                         $39.94
ST JOHNSBURY ROUTE 5 ASSOCIATES
2000 Memorial Drive # 14
57 ENON ST                                                     RS Legacy Corporation fka RadioShack
Saint Johnsbury, VT 05819                  4133      6/15/2015 Corporation                                                  $4,615.53              $0.00                                 $0.00         $2,186.29             $6,801.82
PR Wiregrass Commons LLC
Jeffrrey Kurtzman, Esquire
Klehr Harrison Harvey Branzburg LLP
1835 Market Street, Suite 1400                                 RS Legacy Corporation fka RadioShack
Philadephia, PA 19103                      4134      6/15/2015 Corporation                                                $30,795.14                                                                   $2,886.05            $33,681.19
Mesilla Valley Business Park, LLC
Herbert Ehrlich ‐ Attorney
444 Executive Center Blvd, Ste. 240                            RS Legacy Corporation fka RadioShack
El Paso, TX 79902                          4135      6/15/2015 Corporation                                                                                                                             $3,332.73             $3,332.73
PANARA, DAVID T.
12 BEGONIA CT.                                                 RS Legacy Corporation fka RadioShack
MARLTON, NJ 08053                          4136      6/15/2015 Corporation                                                                                          $32.61                                                      $32.61




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                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
D'COSTA, CEDRIC
14069 WALNEY VILLAGE CT                                                     RS Legacy Corporation fka RadioShack
CHANTILLY, VA 20151                                     4137      6/15/2015 Corporation                                                     $15.00                                                                                           $15.00
Cosmello, Christina
1357 Main St. Box 697                                                       RS Legacy Corporation fka RadioShack
Newmilford, PA 18834                                    4138      6/15/2015 Corporation                                                                                                              $60.00                                  $60.00
Botica, Nesit
132 Palos Verdes Blvd
Apt 4                                                                       RS Legacy Corporation fka RadioShack
Redondo Beach, CA 90277                                 4139      6/15/2015 Corporation                                                     $20.00                                                                                           $20.00
WISCONSIN PUBLIC SERVICE
PO BOX 19003                                                                RS Legacy Corporation fka RadioShack
GREEN BAY, WI 54307                                     4140      6/15/2015 Corporation                                                  $7,186.20                                                                                        $7,186.20

Stifel Nicolaus, Custodian for David R. Terry IRA
501 N. Broadway                                                             RS Legacy Corporation fka RadioShack
St. Louis, MO 63102                                     4141      6/15/2015 Corporation                                                      $0.00                                                                                            $0.00
Loudis, Frank
37 Sycamore Street APT 1                                                    RS Legacy Corporation fka RadioShack
Albany, NY 12208                                        4142      6/15/2015 Corporation                                                      $0.00                                                                                            $0.00
Salinas, Melanie
4444 Rosemont Ave.                                                          RS Legacy Corporation fka RadioShack
Montrose, CA 91020                                      4143      6/15/2015 Corporation                                                    $450.00                                                                                          $450.00
Vega, Roberto Ortiz
HC 10 Box 7821                                                              RS Legacy Corporation fka RadioShack
Sabana Grande, PR 00637                                 4144      6/15/2015 Corporation                                                                                                                                 $0.00                 $0.00
Lee, Tiffany
91‐365 Ewa Beach Rd                                                         RS Legacy Corporation fka RadioShack
Ewa Beach, HI 96706                                     4145      6/15/2015 Corporation                                                     $44.76                                                                                           $44.76
UGI Utilities Inc
PO Box 13009                                                                RS Legacy Corporation fka RadioShack
Reading, PA 19612‐3009                                  4146      6/15/2015 Corporation                                                  $1,585.26                                                                                        $1,585.26
RUBLOFF C&G PORTFOLIO, L.L.C.
C/O RUBLOFF DEVELOPMENT GROUP, INC.
6723 WEAVER ROAD, SUITE 108                                                 RS Legacy Corporation fka RadioShack
ROCKFORD, IL 61114                                      4147      6/15/2015 Corporation                                                $63,589.27               $0.00                                                                    $63,589.27
ROCHESTER GAS & ELECTRIC CORPORATION
Patricia A. Cotton
89 EAST AVE                                                                 RS Legacy Corporation fka RadioShack
ROCHESTER, NY 14649                                     4148      6/15/2015 Corporation                                                $17,451.09                                                                                        $17,451.09
CAPE FEAR PUBLIC UTILITY AUTHORITY
Leslie Ogilvie, Assistant to the Executive Director
and Jim Flechtner
235 Government Center Drive                                                 RS Legacy Corporation fka RadioShack
Wilmington, NC 28403                                    4149      6/15/2015 Corporation                                                      $0.00                                                                                            $0.00
MANITOWOC ASSOCIATES LP
C/O SPATZ CENTERS, INC.
14 NORTH PEORIA STREET, 3F                                                  RS Legacy Corporation fka RadioShack
CHICAGO, IL 60607                                       4150      6/15/2015 Corporation                                                  $7,737.58                                                                                        $7,737.58




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                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
Loyola, Miguel
Law Office of Levik Yarian APLC
700 Central Ave, Ste 470                                                    RS Legacy Corporation fka RadioShack
Glendale, CA 91203                                      4151      6/15/2015 Corporation                                                $49,461.98           $2,400.67                                                                    $51,862.65
Stensberg, Matthew
PO Box 1486                                                                 RS Legacy Corporation fka RadioShack
Brookfield, WI 53008                                    4152      6/16/2015 Corporation                                                      $9.44                                                                                            $9.44
Matteo, James
31 Daytona Ave.                                                             RS Legacy Corporation fka RadioShack
Albany, NY 12203                                        4153      6/16/2015 Corporation                                                                                                             $100.00                                 $100.00

Wilcut Joint Venture
Pope, Hardwicke, Christie, Schell, Kelly & Ray, LLP
c/o Mike Atchley, Esquire
500 West 7th Street, Suite 6000                                             RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                                    4154      6/15/2015 Corporation                                                $22,863.31                                                                                        $22,863.31
Walter, Lenke
3529 South Dr.                                                              RS Legacy Corporation fka RadioShack
Fort Worth, TX 76109                                    4155      6/15/2015 Corporation                                                      $0.00                                                                                            $0.00

Hamco Realty Hopkinsville, LLC
c/o Mike Atchley, Esquire
Pope, Hardwicke, Christie, Schell, Kelly & Ray,LLP
500 West 7th Street, Suite 6000                                             RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                                    4156      6/15/2015 Corporation                                                $71,482.99                                                                                        $71,482.99
EC Cleburne Properties, Ltd.
c/o LAW OFFICE OF SUSAN E. KAUFMAN, LLC
Susan E. Kaufman
919 North Market Street, Suite 460                                          RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                                    4157      6/15/2015 Corporation                                                                                                                             $3,456.16             $3,456.16
FAIRWAY SUPPLY INC
P O BOX 678178                                                              RS Legacy Corporation fka RadioShack
DALLAS, TX 75267                                        4158      6/15/2015 Corporation                                                    $690.56                                                                                          $690.56
Kaufman, Esquire, Susan E.
Cooch and Taylor, P.A.
1000 West Street, 10th Floor                                                RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                                    4159      6/15/2015 Corporation                                                                                                                             $9,674.44             $9,674.44
McMichael, Rochelle
2527 Yearling Street                                                        RS Legacy Corporation fka RadioShack
Lakewood, CA 90712                                      4160      6/15/2015 Corporation                                                                       $20.00                                  $0.00                                  $20.00
Gandhi, Asha
312 Cave River Dr                                                           RS Legacy Customer Service LLC fka RadioShack
Murphy, TX 75094                                        4161      6/16/2015 Customer Service LLC                                                                                                     $52.12                                  $52.12
Klaus, Angela
2080 Stippled Clay St                                                       RS Legacy Corporation fka RadioShack
Henderson, NV 80944                                     4162      6/16/2015 Corporation                                                      $0.00                                                                                            $0.00
GRE Coralwood LP
David Neal Stern
Frank, Weinberg & Black, P.L.
1875 NW Corporate Blvd, Suite 100                                           RS Legacy Corporation fka RadioShack
Boca Raton, FL 33431                                    4163      6/15/2015 Corporation                                                                                                                             $2,062.38             $2,062.38




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                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
City of Winchester
c/o Treasurer's Office
15 N. Cameron Street                                                      RS Legacy Corporation fka RadioShack
Winchester, VA 22601                                  4164      6/15/2015 Corporation                                                                     $2,181.13                                                                     $2,181.13
Meadows Plaza Associates, LLC
C/O Levey & Company
1535 Frederick Blvd.                                                      RS Legacy Corporation fka RadioShack
Akron, OH 44320                                       4165      6/16/2015 Corporation                                                $45,453.28                                                                                        $45,453.28
Cervantes, Imelda R.
PO Box 873                                                                RS Legacy Corporation fka RadioShack
Woodland, CA 95776                                    4166      6/15/2015 Corporation                                                  $1,731.20                                                                                        $1,731.20
Hayco Realty, Ltd.
c/o Mike Atchley, Esquire
Pope, Hardwicke, Christie, Schell, Kelly & Ray
500 West 7th Street, Suite 6000                                           RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                                  4167      6/15/2015 Corporation                                                $79,160.14                                                                                        $79,160.14
FAIRWAY SUPPLY INC
Jennifer Espinosa
PO BOX 678178                                                             RS Legacy Corporation fka RadioShack
DALLAS, TX 75267                                      4168      6/15/2015 Corporation                                                    $690.56                                                                      $0.00               $690.56
CLARIDGE PARTNERS LLC
PO BOX 993                                                                RS Legacy Corporation fka RadioShack
NOVI, MI 48376‐0993                                   4169      6/15/2015 Corporation                                                $30,030.09                                                                                        $30,030.09
Hayco Realty, Ltd.
c/o LAW OFFICE OF SUSAN E. KAUFMAN, LLC
Susan E. Kaufman
919 North Market Street, Suite 460                                        RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                                  4170      6/15/2015 Corporation                                                                                                                             $4,770.67             $4,770.67
Kenosha Water Utility
Edward R. Antaramian
City Attorney
4401 Green Bay road                                                       RS Legacy Corporation fka RadioShack
Kenosha, WI 53140                                     4171      6/15/2015 Corporation                                                     $51.45                                                                                           $51.45
Westover Eagle Harbor, LLC
c/o LAW OFFICE OF SUSAN E. KAUFMAN, LLC
Susan E. Kaufman
919 North Market Street, Suite 460                                        RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                                  4172      6/15/2015 Corporation                                                                                                                             $7,110.45             $7,110.45
COBB EMC
Attn: Jim Gantt
PO BOX 369                                                                RS Legacy Corporation fka RadioShack
MARIETTA, GA 30061                                    4173      6/15/2015 Corporation                                                    $943.28                                                                                          $943.28
RUBLOFF C&G PORTFOLIO, L.L.C.
Gerald H. Weber, Jr., President of the Manager of
its Sole Member
6723 WEAVER ROAD, SUITE 108                                               RS Legacy Corporation fka RadioShack
ROCKFORD, IL 61114                                    4174      6/15/2015 Corporation                                                                                                                             $2,935.95             $2,935.95
UGI Utilities Inc
PO Box 13009                                                              RS Legacy Corporation fka RadioShack
Reading, PA 19612‐3009                                4175      6/15/2015 Corporation                                                    $221.68                                                                                          $221.68




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                                                                                                                        Current General                                            Current 503(b)(9)
                                                                                                                                              Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address          Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
Ireland Tallahassee, Ltd.
David Neal Stern
Frank Weinberg & Black, P.L.
1875 NW Corp. Blvd., Suite 100                                       RS Legacy Corporation fka RadioShack
Boca Raton, FL 33431                             4176      6/15/2015 Corporation                                                                                                                               $669.53               $669.53
Barley Square Partners, L.P.
Herbert Ehrlich ‐ Attorney
444 Executive Center Blvd, Ste. 240                                  RS Legacy Corporation fka RadioShack
El Paso, TX 79902                                4177      6/15/2015 Corporation                                                                                                                                 $0.00                 $0.00
MANITOWOC ASSOCIATES LP
C/O SPATZ CENTERS INC
14 NORTH PEORIA ST 3F                                                RS Legacy Corporation fka RadioShack
CHICAGO, IL 60607                                4178      6/15/2015 Corporation                                                  $2,598.82                                                                                        $2,598.82
PIERCE COUNTY
PO BOX 11621                                                         RS Legacy Corporation fka RadioShack
Tacoma, WA 98411                                 4179      6/15/2015 Corporation                                                                                       $2,858.44                                                   $2,858.44
Bird‐Galloway Center, LLC
Mary Pat Lyden Berg Manager
8672 SW 40 Street
Suite 205                                                            RS Legacy Corporation fka RadioShack
Miami, FL 33155                                  4180      6/15/2015 Corporation                                                                                                                             $4,531.56             $4,531.56
Lee, Tiffany
91‐365 EWA BEACH RD                                                  RS Legacy Corporation fka RadioShack
Ewa Beach, HI 96706                              4181      6/15/2015 Corporation                                                     $44.76                                                                                           $44.76
LRC‐G Lakewood, LLC
C/O Levey & Company
1535 Frederick Blvd.                                                 RS Legacy Corporation fka RadioShack
Akron, OH 44320                                  4182      6/16/2015 Corporation                                                $22,918.84                                                                                        $22,918.84

County of San Bernardino
Department of Agriculture/Weights & Measures
777 East Rialto Avenue                                               RS Legacy Corporation fka RadioShack
San Bernardino, CA 92415‐0720                    4183      6/15/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
CITY OF PLAINVIEW
Sarianne Beversdorf
901 broadway st                                                      RS Legacy Corporation fka RadioShack
Plainview, TX 79072                              4184      6/15/2015 Corporation                                                    $329.75                                                                                          $329.75
Perez, Joan M
Levittown 2nd Secc
Paseo Aguila 2626                                                    RS Legacy Corporation fka RadioShack
Toa Baja, PR 00949                               4185      6/15/2015 Corporation                                                                         $0.00                                                                         $0.00
Velocis West Woods, L.P.
Bobbie Myers
Lincoln Property Company
7500 Rialto Blvd, Bldg 1, Ste 270                                    RS Legacy Corporation fka RadioShack
Austin, TX 78735                                 4186      6/15/2015 Corporation                                                                                                                                 $0.00                 $0.00
PNM
PO BOX 17970                                                         RS Legacy Corporation fka RadioShack
DENVER, CO 80217                                 4187      6/15/2015 Corporation                                                  $9,742.49                                                                                        $9,742.49




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Mendy Chang/Sean & Stephen Corp.
4F, NO. 3. LANE 335, SEC. 4
HSIN‐YI RD.
TAIPEI                                                         RS Legacy Corporation fka RadioShack
Taiwan                                     4188      6/15/2015 Corporation                                                                                                                                                       $0.00
MICHAEL PANAGAKOS
PANAGAKOS DEVELOPMENT
133 FAUNCE CORNER RD                                           RS Legacy Corporation fka RadioShack
DARTMOUTH, MA 02747                        4189      6/15/2015 Corporation                                                  $4,140.00                                                                                        $4,140.00
Ferstenberg, Becky
94 Monterey Dr                                                 RS Legacy Corporation fka RadioShack
New Hyde Park, NY 11040                    4190      6/16/2015 Corporation                                                     $65.00              $0.00                                                                        $65.00
Eastwood Square Associates, LLC
C/O Levey & Company
1535 Frederick Blvd.                                           RS Legacy Corporation fka RadioShack
Akron, OH 44320                            4191      6/16/2015 Corporation                                                  $2,477.98                                                                                        $2,477.98
Kada, Hanane
5505 Seminary rd., Apt 2008N                                   RS Legacy Corporation fka RadioShack
Falls Church, VA 22041                     4192      6/16/2015 Corporation                                                      $0.00                                                                                            $0.00
De Leon, Maria L
3819 N. Elm
Fort Worth, TX 76106                       4193      6/16/2015 TE Electronics LP                                                $0.00                                                                                            $0.00
Klaus, Angela
2080 Stippled Clay St                                          RS Legacy Corporation fka RadioShack
Henderson, NV 89044                        4194      6/16/2015 Corporation                                                      $0.00                                                                                            $0.00
POLK JACKSON BUILDING
C/O MARTIN HARBAND/CHAUVEL GLATT LLP
66 BOVET ROAD SUITE 280                                        RS Legacy Corporation fka RadioShack
SAN MATEO, CA 94402‐3127                   4195      6/15/2015 Corporation                                                  $5,714.22                                                                                        $5,714.22
Richardson, William
1408 N. Farley Rd.                                             RS Legacy Corporation fka RadioShack
Essexville, MI 48732                       4196      6/16/2015 Corporation                                                                       $30.00                                                                         $30.00
Festival Pasadena Associates LP
C/O Fedder Management
10096 Red Run Blvd., Suite 300                                 RS Legacy Corporation fka RadioShack
Ownings Mills, MD 21117                    4197      6/16/2015 Corporation                                                      $0.00                                                                                            $0.00
Mattson, Karen
2082 Swede Lake Road                                           RS Legacy Corporation fka RadioShack
Cromwell, MN 55726                         4198      6/16/2015 Corporation                                                                                                             $200.00                                 $200.00
Phenis, Cheryl
1461 Willow Grove Rd.                                          RS Legacy Corporation fka RadioShack
Centerville, IN 47330                      4199      6/16/2015 Corporation                                                      $0.00                                                   $42.79                                  $42.79
Deffner, Michael C.
1302 Hermitage Rd                                              RS Legacy Corporation fka RadioShack
Colonial Heights, VA 23834                 4200      6/16/2015 Corporation                                                     $24.00                                                                                           $24.00
A. HIRSCH REALTY, LLC
1613 BLUE HILL AVE, SUITE 201                                  RS Legacy Corporation fka RadioShack
MATTAPAN, MA 02126                         4201      6/15/2015 Corporation                                                  $6,505.06                                                                                        $6,505.06
Garcia, Laura
2505 ne 30th Street                                            RS Legacy Corporation fka RadioShack
Fort Worth, TX 76106                       4202      6/16/2015 Corporation                                                                         $0.00                                                                         $0.00




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                                                                                                                      Amount                                                     Amount
Kada, Hanane
5505 Seminary Rd., Apt. 2008N                                  RS Legacy Corporation fka RadioShack
Falls Church, VA 22041                     4203      6/16/2015 Corporation                                                     $30.00                                                                                           $30.00
El Dorado County Tax Collector
C L Raffety Tax Collector
360 Fair Lane                                                  RS Legacy Corporation fka RadioShack
Placerville , CA 95667                     4204      6/16/2015 Corporation                                                                                           $0.00                                                       $0.00
CITY OF BROOKSVILLE
Janice Peters‐ City Clerk
201 Howell Avenue                                              RS Legacy Corporation fka RadioShack
Brooksville, FL 34601‐2041                 4205      6/16/2015 Corporation                                                    $208.89                                                                                          $208.89
DARR EQUIPMENT COMPANY
PO BOX 975053
DALLAS, TX 75397                           4206      6/15/2015 TE Electronics LP                                            $1,442.27                                                                                        $1,442.27
Torosyan, Nazeli
12618 Gilmore Street                                           RS Legacy Corporation fka RadioShack
North Hollywood, CA 91606                  4207      6/16/2015 Corporation                                                                                                                                                       $0.00
Sabella, Matthew J.
240 Hilltop Dr                                                 RS Legacy Corporation fka RadioShack
Philippi, WV 26416                         4208      6/16/2015 Corporation                                                      $5.29                                                                                            $5.29
WORTHINGTON PUBLIC UTILITIES
PO BOX 458                                                     RS Legacy Corporation fka RadioShack
WORTHINGTON, MN 56187                      4209      6/16/2015 Corporation                                                    $527.63                                                                                          $527.63
Suburban Propane
PO Box 206                                                     RS Legacy Corporation fka RadioShack
Whippany, NJ 07981                         4210      6/15/2015 Corporation                                                  $8,861.97                                                                                        $8,861.97
EP GMK, LP
Herbert Ehrlich ‐ Attorney
444 Executive Center Blvd, Ste. 240                            RS Legacy Corporation fka RadioShack
El Paso, TX 79902                          4211      6/15/2015 Corporation                                                                                                                             $4,110.00             $4,110.00
City of Wichita Falls
R. Kinley Hegglund, Jr.
1300 7th St.
Room 108                                                       RS Legacy Corporation fka RadioShack
Wichita Falls, TX 76301                    4212      6/16/2015 Corporation                                                    $397.56                                                    $0.00                                 $397.56
TOM GREEN CNTY APPRAISAL DIST
PO BOX 3307                                                    RS Legacy Corporation fka RadioShack
SAN ANGELO, TX 76902                       4213      6/15/2015 Corporation                                                                                       $3,611.89                                                   $3,611.89
Batson, Maria
38 Alsun Dr.                                                   RS Legacy Corporation fka RadioShack
Hollis, NH 03049                           4214      6/16/2015 Corporation                                                     $25.00                                                                                           $25.00
Frias, Rita
5833 Cowden                                                    RS Legacy Corporation fka RadioShack
Ft Worth, TX 76114                         4215      6/16/2015 Corporation                                                                         $0.00                                                                         $0.00
SUMMERDALE PLAZA ASSOCIATES
PO BOX 829506                                                  RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19182                     4216      6/15/2015 Corporation                                                $39,835.24                                                                                        $39,835.24
Frias, RIta
5833 Cowden                                                    RS Legacy Corporation fka RadioShack
Ft Worth, TX 76114                         4217      6/16/2015 Corporation                                                                         $0.00                                                                         $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
IMPERIAL IRRIGATION DISTRICT
PO BOX 937                                                     RS Legacy Corporation fka RadioShack
IMPERIAL, CA 92251                         4218      6/16/2015 Corporation                                                  $5,399.66                                                                                        $5,399.66
DONA ANA COUNTY TREASURER
PO BOX 1179                                                    RS Legacy Corporation fka RadioShack
LAS CRUCES, NM 88004                       4219      6/16/2015 Corporation                                                                      $740.00                                                                        $740.00
Mantzel, Bill
977 Water Oak DR                                               RS Legacy Corporation fka RadioShack
Grapevine, TX 76051                        4220      6/16/2015 Corporation                                                     $21.64                                                                                           $21.64
TAX COLLECTOR
714 GREENSBORO AVE                                             RS Legacy Corporation fka RadioShack
TUSCALOOSA, AL 35401                       4221      6/16/2015 Corporation                                                                         $0.00                                                                         $0.00
FIRST REALTY MANAGEMENT
Attn: J. Fleischman
1505 FOURTH STREET #219                                        RS Legacy Corporation fka RadioShack
SANTA MONICA, CA 90401                     4222      6/15/2015 Corporation                                                  $3,466.01                                                                                        $3,466.01
City of Long Beach
City Attorneys Office
Attn: Kendra Carney
333 W. Ocean Blvd., 11th Floor                                 RS Legacy Corporation fka RadioShack
Long Beach, CA 90802                       4223      6/15/2015 Corporation                                                  $1,663.86                                                                                        $1,663.86
KRG PORT ST. LUCIE LANDING, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                      RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                         4224      6/16/2015 Corporation                                                    $657.27                                                                                          $657.27
City of Anaheim
201 S Anaheim Blvd
PO Box 3069                                                    RS Legacy Corporation fka RadioShack
Anaheim, CA 92803                          4225      6/11/2015 Corporation                                                    $612.56                                                    $0.00                                 $612.56
Danilin, Michael Y.
4409 160th Ave SE                                              RS Legacy Corporation fka RadioShack
Bellevue, WA 98006                         4226      6/16/2015 Corporation                                                      $0.00                                                                                            $0.00
Garcia, Elizabeth
220 N Walnut St                                                RS Legacy Corporation fka RadioShack
Woodland, CA 95695                         4227      6/15/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
CITY OF FINDLAY WATER DEPT
136 N BLANCHARD ST                                             RS Legacy Corporation fka RadioShack
FINDLAY, OH 45840                          4228      6/16/2015 Corporation                                                    $109.91                                                                                          $109.91
City of Sterling Heights
Attn: Jeff Bahorski, City Attorney
12900 Hall Road                                                RS Legacy Corporation fka RadioShack
Sterling Heights, MI 48313                 4229      6/16/2015 Corporation                                                    $110.46                                $0.00                                                     $110.46
West Georgia Commons, LLC
Ashley W Dolce, Agent
c/o Hull Property Group
1190 Interstate Pkwy                                           RS Legacy Corporation fka RadioShack
Augusta, GA 30909                          4230      6/16/2015 Corporation                                                                                                                             $3,617.37             $3,617.37
Garcia, Laura
2505 NE 30th Street
Fort Worth, TX 76106                       4231      6/16/2015 TE Electronics LP                                                                                                         $0.00                                   $0.00



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                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                          Amount                                                     Amount
SULPHUR LLC
1711 WILSON ST                                                     RS Legacy Corporation fka RadioShack
MENOMONIE, WI 54751                            4232      6/16/2015 Corporation                                                                         $0.00                                                                         $0.00
CASCADE COUNTY TREASURER
PO BOX 2549                                                        RS Legacy Corporation fka RadioShack
GREAT FALLS, MT 59401                          4233      6/16/2015 Corporation                                                                       $76.18                                                                         $76.18
OKLAHOMA STATE TREASURER
UNCLAIMED PROPERTY DIVISION
4545 LINCOLN BLVD ST 106                                           RS Legacy Corporation fka RadioShack
OKLAHOMA CITY, OK 73105                        4234      6/16/2015 Corporation                                                      $0.00                                                                                            $0.00
ARROW EXTERMINATORS INC
PO BOX 1328                                                        RS Legacy Corporation fka RadioShack
KANNAPOLIS, NC 28082                           4235      6/16/2015 Corporation                                                    $285.00                                                                                          $285.00
Netro, Rosario
805 W Malta Ave                                                    RS Legacy Corporation fka RadioShack
Fort Worth, TX 76115                           4236      6/16/2015 Corporation                                                  $2,280.00                                                                                        $2,280.00
Mendez, Blanca P
2801 Nw 31st
Fort Worth, TX 76106                           4237      6/16/2015 TE Electronics LP                                                                   $0.00                                                                         $0.00
ElectraLink, Inc.
Attn: Nadine Jenkins
21755 Interstate 45
Building #10                                                       RS Legacy Corporation fka RadioShack
Spring , TX 77388                              4238      6/16/2015 Corporation                                                      $0.00                                                                                            $0.00
Chingo, Elba Gutierrez
4 Farrar Ave                                                       RS Legacy Corporation fka RadioShack
Worcester, MA 01604                            4239      6/16/2015 Corporation                                                     $42.49                                                                                           $42.49
Maynard, Elizabeth A.
Susan M. Maynard
125 Scottsville ‐ W. Henrietta Rd, Apt 307                         RS Legacy Corporation fka RadioShack
West Henrietta, NY 14586                       4240      6/16/2015 Corporation                                                                      $100.44                                                                        $100.44
CITY OF CRYSTAL LAKE
PO BOX 1139                                                        RS Legacy Corporation fka RadioShack
CRYSTAL LAKE, IL 60039                         4241      6/16/2015 Corporation                                                     $20.19                                                                                           $20.19
Cornell Storefront Systems Inc.
140 Maffet Street, Suite 200                                       RS Legacy Corporation fka RadioShack
Wilkes‐Barre, PA 18705                         4242      6/11/2015 Corporation                                                  $2,240.47                                                                                        $2,240.47
Ennis, Inc.
Attn: Judy Taylor
2441 Presidential Pkwy.                                            RS Legacy Corporation fka RadioShack
Midlothian, TX 76065                           4243      6/15/2015 Corporation                                                  $2,358.00                                                                                        $2,358.00
Westover Eagle Harbor, LLC
c/o Mike Atchley, Esquire
Pope, Hardwicke, Christie, Schell,
Kelly & Ray, LLP
500 West 7th Street, Suite 6000                                    RS Legacy Corporation fka RadioShack
FORT WORTH, TX 76102                           4244      6/15/2015 Corporation                                                $32,941.05                                                                                        $32,941.05




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                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
Merge Holdings, LLC
c/o Mike Atchley, Esquire
Pope, Hardwicke, Christie, Schell,
Kelly & Ray, LLP
500 West 7th Street, Suite 6000                                  RS Legacy Corporation fka RadioShack
FORT WORTH, TX 76102                         4245      6/15/2015 Corporation                                                $50,546.10                                                                                        $50,546.10
Hamco Realty Kansas, LLC
c/o LAW OFFICE OF SUSAN E. KAUFMAN, LLC
Susan E. Kaufman
919 North Market Street, Suite 460                               RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                         4246      6/15/2015 Corporation                                                                                                                             $3,519.29             $3,519.29

WASHINGTON COUNTY DIV OF EMERGENCY SVCS
FARP
16232 ELLIOTT PARKWAY                                            RS Legacy Corporation fka RadioShack
WILLIAMSPORT, MD 21795                       4247      6/15/2015 Corporation                                                                      $120.00                                                                        $120.00
Hamco Realty Hopkinsville, LLC
c/o LAW OFFICE OF SUSAN E. KAUFMAN, LLC
Susan E. Kaufman
919 North Market Street, Suite 460                               RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                         4248      6/15/2015 Corporation                                                                                                                             $4,240.11             $4,240.11
Garcia, Elizabeth
220 N Walnut St                                                  RS Legacy Corporation fka RadioShack
Woodland, CA 95695                           4249      6/15/2015 Corporation                                                                                                                                 $0.00                 $0.00
Perez, Joan M
Paseo Aguila I2626                                               RS Legacy Corporation fka RadioShack
Levittown Toa Baja, PR 00949                 4250      6/15/2015 Corporation                                                                                                                                                       $0.00
POLK JACKSON BUILDING
MARTIN E HARBAND, MANAGING PARTNER
66 BOVET ROAD, SUITE 280                                         RS Legacy Corporation fka RadioShack
SAN MATEO, CA 94402‐3127                     4251      6/15/2015 Corporation                                                                                                                             $3,857.56             $3,857.56
Wilcut Joint Venture
c/o LAW OFFICE OF SUSAN E. KAUFMAN, LLC
Susan E. Kaufman
919 North Market Street, Suite 460                               RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                         4252      6/15/2015 Corporation                                                                                                                             $2,940.00             $2,940.00
City of Greensboro ‐ Collections
PO Box 3136                                                      RS Legacy Corporation fka RadioShack
Greensboro , NC 27402                        4253      5/28/2015 Corporation                                                    $200.00                                                                    $121.63               $321.63
UGI UTILITIES INC
PO BOX 13009                                                     RS Legacy Corporation fka RadioShack
READING, PA 19612‐3009                       4254      6/15/2015 Corporation                                                    $308.52                                                                                          $308.52
Sentinel Properties, LLC
c/o Mike Atchley, Esquire
Pope, Hardwicke, Christie, Schell
Kelly & Ray, LLP
500 West 7th Street, Suite 6000                                  RS Legacy Corporation fka RadioShack
Forth Worth, TX 76102                        4255      6/15/2015 Corporation                                                  $9,434.64                                                                                        $9,434.64
SEAN & STEPHEN CORPORATION
4F., NO. 3, LANE 335, SEC. 4 HSIN‐YI RD.
TAIPEI                                                           RS Legacy Corporation fka RadioShack
Taiwan                                       4256      6/15/2015 Corporation                                                $29,883.54                                                                                        $29,883.54



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                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
PORTER COUNTY INVESTORS LLC
PO BOX 7                                                              RS Legacy Corporation fka RadioShack
SCHERERVILLE, IN 46375                            4257      6/15/2015 Corporation                                                  $2,535.84                                                                                        $2,535.84
Centerville Development Company
c/o R.J. Waters & Associates, Inc.
200 Old Forge Lane
Suite 200                                                             RS Legacy Corporation fka RadioShack
Kennett Square, PA 19348                          4258      6/15/2015 Corporation                                                      $0.00                                                                                            $0.00
KRG Beechwood, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                             RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                4259      6/16/2015 Corporation                                                                                                                             $5,969.02             $5,969.02

Cape Girardeau County Collector Diane Diebold
1 Barton Square Ste 303                                               RS Legacy Corporation fka RadioShack
Jackson, MO 63755                                 4260      6/15/2015 Corporation                                                      $0.00                                                                                            $0.00
KRG Beechwood, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                             RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                4261      6/16/2015 Corporation                                                $41,302.64                                                                                        $41,302.64
First Burlington Ventures, Inc.
c/o Hull Property Group ‐ Attn. Ashley Dolce
1190 Interstate Parkway                                               RS Legacy Corporation fka RadioShack
Augusta, GA 30909                                 4262      6/16/2015 Corporation                                                                                                                             $1,334.82             $1,334.82
Brooks Shopping Centers, LLC
Attn: Niclas A. Ferland
c/o LeClairRyan, A Professional Corporation
545 Long Wharf Drive, 9th Floor                                       RS Legacy Corporation fka RadioShack
New Haven, CT 06511                               4263      6/16/2015 Corporation                                                                                                                            $19,939.91            $19,939.91
Prince of Orange, LLC
c/o Hull Property Group
Attn: Ashley Dolce
1190 Interstate Parkway                                               RS Legacy Corporation fka RadioShack
Augusta, GA 30909                                 4264      6/16/2015 Corporation                                                                                                                             $3,303.57             $3,303.57

Larry McColm, Joanne McColm and Larry Stepp
dba Danville Crossroads Associates
Susan M Batty
1201 W Main St Ste7                                                   RS Legacy Corporation fka RadioShack
Ripon, CA 95366                                   4265      6/15/2015 Corporation                                                                                                                                 $0.00                 $0.00
Sumter Mall, LLC
Ashley W. Dolce, Agent
C/O HULL PROPERTY GROUP
1190 INTERSTATE PKWY                                                  RS Legacy Corporation fka RadioShack
Augusta, GA 30909                                 4266      6/16/2015 Corporation                                                                                                                             $3,125.00             $3,125.00
Miller, Gregory J
5132 Salinger Dr                                                      RS Legacy Corporation fka RadioShack
Darrow, LA 70725                                  4267      6/12/2015 Corporation                                                                         $0.00                                                                         $0.00



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            Creditor Name and Address                 Claim No.   Claim Date                     Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount

Belleview SC Co. LLC, AR Holding Co. II LLC and The
Benenson Investment Company of Virginia LLC
Niclas A. Ferland, Esq.
LeClairRyan, A Profesional Corporation
545 Long Wharf Drive, 9th Floor                                             RS Legacy Corporation fka RadioShack
New Haven, CT 06511                                     4268      6/16/2015 Corporation                                                                                                                             $3,867.81             $3,867.81
WESTGROVE PROPERTIES
C/O SABRE REALTY MANAGEMENT
16475 DALLAS PKWY STE 800                                                   RS Legacy Corporation fka RadioShack
ADDISON, TX 75001                                       4269      6/16/2015 Corporation                                                  $3,723.63                                                                                        $3,723.63
JEFFERSON COUNTY TREASURER
100 Jefferson County Pkwy 2520                                              RS Legacy Corporation fka RadioShack
Golden, CO 80419‐2520                                   4270      6/16/2015 Corporation                                                                                       $5,861.77                                                   $5,861.77
Netro, Rosario
805 W Malta Ave                                                             RS Legacy Corporation fka RadioShack
Fortrh Worth, Texas 76115                               4271      6/16/2015 Corporation                                                      $0.00                                                                                            $0.00
KRG Cool Creek Outlots, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                   RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                      4272      6/16/2015 Corporation                                                $64,297.34                                                                                        $64,297.34
RioCan America Management, LP f/k/a RioCan
(America) Management, Inc., as managing agent for
Alamo Ranch Marketplace TX, LP
307 Fellowship Road, Suite 116                                              RS Legacy Corporation fka RadioShack
Mount Laurel, NJ 08054                                  4273      6/16/2015 Corporation                                                                                                                             $7,382.58             $7,382.58
KRG Cool Creek Outlots, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                   RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                      4274      6/16/2015 Corporation                                                  $4,945.21                                                                                        $4,945.21
City of Cambridge
Office of the City Solicitor
c/o Paul S. Kawai
795 Massachusetts Avenue                                                    RS Legacy Corporation fka RadioShack
Cambridge, MA 02139                                     4275      6/16/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
LANDAUER
PO BOX 809051                                                               RS Legacy Corporation fka RadioShack
CHICAGO, IL 60680                                       4276      6/16/2015 Corporation                                                    $190.00                                                                                          $190.00
Danville Mall, LLC
c/o Hull Property Group
Attn: Ashley Dolce
1190 Interstate Parkway                                                     RS Legacy Corporation fka RadioShack
Augusta, GA 30909                                       4277      6/16/2015 Corporation                                                                                                                             $4,333.13             $4,333.13
Suarez, Elsieta C
3382 Belvedere Ave.                                                         RS Legacy Finance Corporation fka Tandy Finance
Stockton, CA 95205                                      4278      6/16/2015 Corporation                                                                         $0.00                                                                         $0.00




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            Creditor Name and Address     Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Rubalcaba, Guillermina
3917 Schwartz
Fort Worth, TX 76106                        4279      6/16/2015 TE Electronics LP                                                $0.00                                                                                            $0.00
Calhoun, Michael
613 A Street NW                                                 RS Legacy Corporation fka RadioShack
Washington, DC 20001                        4280      6/17/2015 Corporation                                                     $43.35                                                                                           $43.35
KRG Hunter's Creek, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                       RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                          4281      6/16/2015 Corporation                                                                                                                             $2,568.49             $2,568.49
Shah, Pallavkumar J
8012 Via Hacienda                                               RS Legacy Corporation fka RadioShack
Riviera Beach, FL 33418                     4282      6/16/2015 Corporation                                                                         $0.00                                                                         $0.00
Erickson, Patricia
3399 Sherwood Rd                                                RS Legacy Corporation fka RadioShack
Bay City, MI 48706                          4283      6/16/2015 Corporation                                                    $100.00                                                                                          $100.00
AIRCO MECHANICAL LTD
9200 Waterford Centre Blvd, Suite 600                           RS Legacy Corporation fka RadioShack
Austin, TX 78758                            4284      6/17/2015 Corporation                                                      $0.00                                                    $0.00                                   $0.00
WESTGROVE PROPERTIES
C/O SABRE REALTY MANAGEMENT
16475 DALLAS PKWY STE 800                                       RS Legacy Corporation fka RadioShack
ADDISON, TX 75001                           4285      6/16/2015 Corporation                                                      $0.00                                                                                            $0.00
KRG Merrimack Village, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                       RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                          4286      6/16/2015 Corporation                                                    $846.66                                                                                          $846.66
Thomson Reuters (Tax & Accounting) Inc.
c/o Moss & Barnett
Attn: Sarah E. Doerr
150 5th St S, Suite 1200                                        RS Legacy Corporation fka RadioShack
Minneapolis, MN 55402                       4287      6/16/2015 Corporation                                                      $0.00                                                                                            $0.00
Karp, Robert M
C/O AAMS CORP
4711 W GOLF RD #1000                                            RS Legacy Corporation fka RadioShack
SKOKIE, IL 60076                            4288      6/16/2015 Corporation                                                $40,118.48                                                                                        $40,118.48
CONNECTICUT WATER COMPANY
DEPARTMENT 345
PO BOX 981015                                                   RS Legacy Corporation fka RadioShack
BOSTON, MA 02298‐1015                       4289      6/16/2015 Corporation                                                    $408.93                                                                                          $408.93
Tau, Morton S
127 South Little Tor Rd                                         RS Legacy Corporation fka RadioShack
New City, NY 10956                          4290      6/16/2015 Corporation                                                     $43.92                                                                                           $43.92




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
KRG St. Cloud 13th, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                      RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                         4291      6/16/2015 Corporation                                                    $759.44                                                                                          $759.44
MIDLAND REALTY LLC
10689 N PENNSYLVANIA ST SUITE 100                              RS Legacy Corporation fka RadioShack
INDIANAPOLIS, IN 46280                     4292      6/17/2015 Corporation                                                $57,920.74               $0.00                                                                    $57,920.74
Karter, Benjamin
6207 Pintado                                                   RS Legacy Corporation fka RadioShack
Irvine, CA 92618                           4293      6/17/2015 Corporation                                                                                                              $45.00                                  $45.00
Diviney, Jada M
6733 Sea Turtle Way
Fort Worth, TX 76135                       4294      6/17/2015 TE Electronics LP                                                $0.00                                                                                            $0.00
EP GMK, L.P.
C/O MIMCO, INC.
6500 MONTANA AVE.                                              RS Legacy Corporation fka RadioShack
El Paso, TX 79925                          4295      6/16/2015 Corporation                                                $73,980.00                                                                                        $73,980.00
MOUNDSVILLE WATER BOARD
PO BOX 480                                                     RS Legacy Corporation fka RadioShack
MOUNDSVILLE, WV 26041‐0480                 4296      6/16/2015 Corporation                                                                                                              $56.56                                  $56.56
KRG Hunter's Creek, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                      RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                         4297      6/16/2015 Corporation                                                $42,852.74                                                                                        $42,852.74
KRG Las Vegas Centennial Center, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                      RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                         4298      6/16/2015 Corporation                                                                                                                             $2,835.88             $2,835.88
Berghaus, Sylvia
8583 Irvine Center Drive
Apt #333                                                       RS Legacy Corporation fka RadioShack
Irvine, CA 92618                           4299      6/17/2015 Corporation                                                                                                              $95.00                                  $95.00
KIT RICHLAND PROPERTIES LTD
1705 W LASKEY ROAD                                             RS Legacy Corporation fka RadioShack
TOLEDO, OH 43613                           4300      6/17/2015 Corporation                                                  $5,710.00                                                                                        $5,710.00
Gomma, Khaled
100 glenwood Ave Apt E2                                        RS Legacy Corporation fka RadioShack
Jersey City , NJ 07306                     4301      6/16/2015 Corporation                                                                                          $50.00                                                      $50.00
Watauga 377, LLC
Jonathan Howell
McCathern PLLC
3710 Rawlins Street, Suite 1600                                RS Legacy Corporation fka RadioShack
Dallas, TX 75219                           4302      6/16/2015 Corporation                                                                                                                             $2,426.03             $2,426.03




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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
KRG St. Cloud 13th, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                      RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                         4303      6/16/2015 Corporation                                                                                                                                 $0.00                 $0.00
ElectraLink, Inc.
Attn: Nadine Jenkins
21755 IN 45
Building #8                                                    RS Legacy Corporation fka RadioShack
Spring , TX 77388                          4304      6/16/2015 Corporation                                                                                                                                 $0.00                 $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                           4305      6/16/2015 Corporation                                                                                                                                                       $0.00
Palm Bay Partners LLC
WM CAPITAL PARTNERS LLC
885 3RD AVE RM 2403                                            RS Legacy Corporation fka RadioShack
New York, NY 10022‐4834                    4306      6/16/2015 Corporation                                                                                                                                 $0.00                 $0.00
KRG Merrimack Village, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                      RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                         4307      6/16/2015 Corporation                                                                                                                             $2,383.20             $2,383.20
KING COUNTY TREASURY
500 4TH AVE RM 600                                             RS Legacy Corporation fka RadioShack
SEATTLE, WA 98104                          4308      6/16/2015 Corporation                                                                         $0.00         $8,754.98                                                   $8,754.98
Wilmington Trust, N.A., as Trustee
Attn: Peter Finkel
50 South Sixth Street, Suite 1290                              RS Legacy Finance Corporation fka Tandy Finance
Minneapolis, MN 55402                      4309      6/16/2015 Corporation                                                      $0.00                                                                                            $0.00
KRG Port St. Lucie Landing, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                      RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                         4310      6/16/2015 Corporation                                                                                                                             $3,779.28             $3,779.28
KRG Las Vegas Centennial Center, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                      RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                         4311      6/16/2015 Corporation                                               $124,571.31                                                                                       $124,571.31
Wilmington Trust, N.A., as Trustee
Attn: Peter Finkel
50 South Sixth Street, Suite 1290
Minneapolis, MN 55402                      4312      6/16/2015 RS Ig Holdings Incorporated                                      $0.00                                                                                            $0.00
KRG Dallas Wheatland, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                      RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                         4313      6/16/2015 Corporation                                                    $868.16                                                                                          $868.16



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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
CONNEXUS ENERGY
PO BOX 1808                                                    RS Legacy Corporation fka RadioShack
MINNEAPOLIS, MN 55480                      4314      6/15/2015 Corporation                                                   $1,484.60                                                                                        $1,484.60
Wilmington Trust, N.A., as Trustee
Attn: Peter Finkel
50 South Sixth Street, Suite 1290                              RS Legacy Finance Corporation fka Tandy Finance
Minneapolis, MN 55402                      4315      6/16/2015 Corporation                                                       $0.00                                                                                            $0.00
Metropolitan Utlities District
Attn: Legal Dept
1723 Harney St.                                                RS Legacy Corporation fka RadioShack
Omaha, NE 68102                            4316      6/12/2015 Corporation                                                       $0.00                                                                                            $0.00
The Quest Group
2621 White Road                                                RS Legacy Corporation fka RadioShack
Irvine, CA 92614                           4317      6/16/2015 Corporation                                                $130,711.50                                                                                       $130,711.50
Wilmington Trust, N.A., as Trustee
Attn: Peter Finkel
50 South Sixth Street, Suite 1290
Minneapolis, MN 55402                      4318      6/16/2015 SCK, Inc.                                                         $0.00                                                                                            $0.00
ORANGE & ROCKLAND UTILITIES
Attn: Customer Support Operations
390 W ROUTE 59                                                 RS Legacy Corporation fka RadioShack
SPRING VALLEY, NY 10977                    4319      6/16/2015 Corporation                                                   $8,785.21                                                                                        $8,785.21
KRG St. Cloud 13th, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                      RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                         4320      6/16/2015 Corporation                                                       $0.00                                                                                            $0.00
Wilmington Trust, N.A., as Trustee
Attn: Peter Finkel
50 South Sixth Street, Suite 1290
Minneapolis, MN 55402                      4321      6/16/2015 RS Ig Holdings Incorporated                                       $0.00                                                                                            $0.00
Torosyan, Nazeli
12618 Gilmore Street                                           RS Legacy Corporation fka RadioShack
North Hollywood, CA 91606                  4322      6/16/2015 Corporation                                                                                                                                                        $0.00
PR Crossroad I, LLC
Jeffrey Kurtzman, Esquire
Klehr Harrison Harvey Branzburg LLP
1835 Market Street, Suite 1400                                 RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                     4323      6/15/2015 Corporation                                                 $62,024.83           $4,182.62                                                                    $66,207.45
Wilmington Trust, N.A., as Trustee
Attn: Peter Finkel
50 South Sixth Street, Suite 1290
Minneapolis, MN 55402                      4324      6/16/2015 Merchandising Support Services, Inc.                              $0.00                                                                                            $0.00
Wilmington Trust, N.A., as Trustee
Attn: Peter Finkel
50 South Sixth Street, Suite 1290
Minneapolis, MN 55402                      4325      6/16/2015 TRS Quality, Inc.                                                 $0.00                                                                                            $0.00
DEYO, GLENN A
28 ROUND LN                                                    RS Legacy Corporation fka RadioShack
ENFIELD, ME 04493                          4326      6/15/2015 Corporation                                                      $19.77                                                                                           $19.77




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Fink, Sandy
Box 292                                                        RS Legacy Corporation fka RadioShack
Ceylon, MN 56121                           4327      6/16/2015 Corporation                                                     $106.86                                                                                          $106.86
Walter, Lenke
3529 South Drive                                               RS Legacy Corporation fka RadioShack
Fort Worth, TX 76109                       4328      6/17/2015 Corporation                                                                          $0.00                                                                         $0.00
Wilmington Trust, N.A., as Trustee
Attn: Peter Finkel
50 South Sixth Street, Suite 1290
MINNEAPOLIS, MN 55402                      4329      6/16/2015 TRS Quality, Inc.                                                 $0.00                                                                                            $0.00
Wilmington Trust, N.A., as Trustee
Attn: Peter Finkel
50 South Sixth Street, Suite 1290                              RS Legacy International Corporation fka Tandy
Minneapolis, MN 55402                      4330      6/16/2015 International Corporation                                         $0.00                                                                                            $0.00
WILLMAR TEN INVESTORS
416 6TH ST SW                                                  RS Legacy Corporation fka RadioShack
WILLMAR, MN 56201                          4331      6/16/2015 Corporation                                                   $3,020.92                                                                                        $3,020.92
Fish & Richardson P.C.
60 South Sixth Street                                          RS Legacy Corporation fka RadioShack
MINNEAPOLIS, MN 55402                      4332      6/16/2015 Corporation                                                   $3,013.00                                                                                        $3,013.00
Wilmington Trust, N.A., as Trustee
Attn: Peter Finkel
50 South Sixth Street, Suite 1290                              RS Legacy Global Sourcing Corporation fka
Minneapolis, MN 55402                      4333      6/16/2015 RadioShack Global Sourcing Corporation                            $0.00                                                                                            $0.00
THE QUEST GROUP DBA AUDIO QUEST
Michelle Sanders
2621 WHITE ROAD                                                RS Legacy Corporation fka RadioShack
IRVINE, CA 92614                           4334      6/16/2015 Corporation                                                                                                                                                        $0.00
TALX Corporation
11432 Lackland Road                                            RS Legacy Corporation fka RadioShack
St. Louis, MO 63146                        4335      6/16/2015 Corporation                                                 $29,431.52                                                                                        $29,431.52
KRG Merrimack Village, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                      RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                         4336      6/16/2015 Corporation                                                 $51,049.27                                                                                        $51,049.27
TALX Corporation
11432 Lackland Road                                            RS Legacy Corporation fka RadioShack
St Louis, MO 63146                         4337      6/16/2015 Corporation                                                   $7,354.63                                                                                        $7,354.63
Wilmington Trust, N.A., as Trustee
Attn: Peter Finkel
50 South Sixth Street, Suite 1290                              RS Legacy Global Sourcing Corporation fka
Minneapolis, MN 55402                      4338      6/16/2015 RadioShack Global Sourcing Corporation                            $0.00                                                                                            $0.00
Rector, Linda
2726 4‐H Camp Rd                                               RS Legacy Corporation fka RadioShack
Philippi, WV 26416                         4339      6/16/2015 Corporation                                                                                                               $22.09                                  $22.09
TAX COLLECTOR
PO BOX 387                                                     RS Legacy Corporation fka RadioShack
VERNON, CT 06066                           4340      6/16/2015 Corporation                                                                          $0.00           $703.88                                                     $703.88




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            Creditor Name and Address                 Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
Gilbert, Mary‐Jo
7 Wilson Court                                                              RS Legacy Corporation fka RadioShack
Enfield, CT 06082                                       4341      6/16/2015 Corporation                                                      $15.94                                                                                           $15.94
Karp, Robert M
C/O AAMS CORP
4711 W GOLF RD #1000                                                        RS Legacy Corporation fka RadioShack
SKOKIE, IL 60076                                        4342      6/16/2015 Corporation                                                                                                                                                        $0.00
Front Street Facility Solutions (ON HOLD)
4170 Veterans Memorial Hwy                                                  RS Legacy Corporation fka RadioShack
Bohemia, NY 11716                                       4343      6/16/2015 Corporation                                                   $6,212.31                                                                                        $6,212.31
Martinez, Mercedes M
4020 Zwolle                                                                 RS Legacy Corporation fka RadioShack
Fort Worth, TX 76106                                    4344      6/17/2015 Corporation                                                                          $0.00                                                                         $0.00
Spring Creek Plaza LLC c/o Grenadier Realty, by its
attorneys Kucker & Bruh LLP
Attn: Abner T. Zelman, Esq.
747 Third Avenue                                                            RS Legacy Corporation fka RadioShack
New York, NY 10017                                      4345      6/16/2015 Corporation                                                                                                                                  $0.00                 $0.00
CANAL ROYAL, LLC
ROSS MANCUSO
10 LA QUINTA DRIVE                                                          RS Legacy Corporation fka RadioShack
SLIDELL, LA 70458                                       4346      6/16/2015 Corporation                                                 $12,484.55                                                                                        $12,484.55
KRG Las Vegas Centennial Center, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                   RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                      4347      6/16/2015 Corporation                                                   $1,354.72                                                                                        $1,354.72
Wilmington Trust, N.A., as Trustee
Attn: Peter Finkel                                                          RS Legacy Global Sourcing Limited Partnership
50 South Sixth Street, Suite 1290                                           fka RadioShack Global Sourcing Limited
Minneapolis, MN 55402                                   4348      6/16/2015 Partnership                                                       $0.00                                                                                            $0.00
KRG Dallas Wheatland, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                   RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                      4349      6/16/2015 Corporation                                                 $69,681.14                                                                                        $69,681.14
Wilmington Trust, N.A., as Trustee
Attn: Peter Finkel
50 South Sixth Street, Suite 1290
Minneapolis, MN 55402                                   4350      6/16/2015 Ignition L.P.                                                     $0.00                                                                                            $0.00
Tobina LLC
13337 South St. #241                                                        RS Legacy Corporation fka RadioShack
Cerritos, CA 90703                                      4351      6/17/2015 Corporation                                                   $4,617.54                                                                                        $4,617.54
LAKE CITY MALL, L.P.
ASHLEY W DOLCE, AGENT
C/O HULL PROPERTY GROUP
1190 INTERSTATE PARKWAY                                                     RS Legacy Corporation fka RadioShack
AUGUSTA, GA 30909                                       4352      6/16/2015 Corporation                                                                                                                              $4,567.37             $4,567.37




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                                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                     Amount                                                     Amount
Orange & Rockland Utilities
Jennifer A. Woehrle
390 W. Rt 59                                                                RS Legacy Corporation fka RadioShack
Spring Valley, NY 10977                                 4353      6/16/2015 Corporation                                                                                                                               $6,187.22             $6,187.22
Time Equities, Inc.
SIROTE & PERMUTT, P.C.
Attn: Stephen B. Porterfield
2311 Highland Avenue South                                                  RS Legacy Corporation fka RadioShack
Birmingham, AL 35205                                    4354      6/16/2015 Corporation                                                                                                                                   $0.00                 $0.00
Tripathi, Gayle
101 Algrave Way                                                             RS Legacy Corporation fka RadioShack
Columbia, SC 29229                                      4355      6/16/2015 Corporation                                                       $39.29                                                                                           $39.29
Wilmington Trust, N.A., as Trustee
Attn: Peter Finkel                                                          RS Legacy Global Sourcing Limited Partnership
50 South Sixth Street, Suite 1290                                           fka RadioShack Global Sourcing Limited
Minneapolis, MN 55402                                   4356      6/16/2015 Partnership                                                        $0.00                                                                                            $0.00
DICKSON CLI, LLC
Erick Dickson, Manager
1074 FAIRWAY PLACE                                                          RS Legacy Corporation fka RadioShack
NORTH SALT LAKE CITY, UT 84054                          4357      6/16/2015 Corporation                                                                                                                               $4,879.69             $4,879.69
Wilmington Trust, N.A., as Trustee
Attn: Peter Finkel
50 South Sixth Street, Suite 1290
Minneapolis, MN 55402                                   4358      6/16/2015 ITC Services, Inc.                                                 $0.00                                                                                            $0.00
PALM BAY PARTNERS LLC
c/o Martin Kravel
500 Fifth Avenue
Suite 1540                                                                  RS Legacy Corporation fka RadioShack
New York, NY 10110                                      4359      6/16/2015 Corporation                                                    $8,088.44                                                                                        $8,088.44

Belleview SC Co. LLC, AR Holding Co. II LLC and The
Benenson Investment Company of Virginia LLC
Attn: Niclas A. Ferland, Esq.
c/o LeClairRyan, A Professional Corporation
545 Long Wharf Drive, 9th Floor                                             RS Legacy Corporation fka RadioShack
New Haven, CT 06511                                     4360      6/16/2015 Corporation                                                  $55,311.39                                                                                        $55,311.39
Tangsirikusolwong, Amornrat
449 Peacock Dr.                                                             RS Legacy Corporation fka RadioShack
San Benito, TX 78586                                    4361      6/17/2015 Corporation                                                       $15.00                                                                                           $15.00
MR SPRINKLER FIRE PROTECTION
100 DEREK PLACE STE 100                                                     RS Legacy Corporation fka RadioShack
ROSEVILLE, CA 95678                                     4362      6/16/2015 Corporation                                                    $1,382.50                                                                                        $1,382.50
Wilmington Trust, N.A., as Trustee
Attn: Peter Finkel
50 South Sixth Street, Suite 1290
Minneapolis, MN 55402                                   4363      6/16/2015 RS Legacy Holdings, Inc. fka Tandy Holdings, Inc.                  $0.00                                                                                            $0.00
Wilmington Trust, N.A., as Trustee
Attn: Peter Finkel
50 South Sixth Street, Suite 1290                                           RS Legacy Customer Service LLC fka RadioShack
Minneapolis, MN 55402                                   4364      6/16/2015 Customer Service LLC                                               $0.00                                                                                            $0.00




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                                                                                                                      Current General                                            Current 503(b)(9)
                                                                                                                                            Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address      Claim No.   Claim Date                      Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                          Amount                                                     Amount
Wilmington Trust, N.A., as Trustee
Attn: Peter Finkel
50 South Sixth Street, Suite 1290                                RS Legacy Corporation fka RadioShack
Minneapolis, MN 55402                        4365      6/16/2015 Corporation                                             $329,875,000.00                                                                                  $329,875,000.00
Wilmington Trust, N.A., as Trustee
Attn: Peter Finkel
50 South Sixth Street, Suite 1290
Minneapolis, MN 55402                        4366      6/16/2015 RS Legacy Holdings, Inc. fka Tandy Holdings, Inc.                  $0.00                                                                                            $0.00
Wilmington Trust, N.A., as Trustee
Attn: Peter Finkel
50 South Sixth Street, Suite 1290
Minneapolis, MN 55402                        4367      6/16/2015 RSIgnite, LLC                                                      $0.00                                                                                            $0.00
Ford Centre, LLC
2530 Scottsville Rd Suite 21                                     RS Legacy Corporation fka RadioShack
Bowling Green, KY 42104                      4368      6/16/2015 Corporation                                                    $1,339.39                                                                                        $1,339.39
Wilmington Trust, N.A., as Trustee
Attn: Peter Finkel
50 South Sixth Street, Suite 1290
Minneapolis, MN 55402                        4369      6/16/2015 Merchandising Support Services, Inc.                               $0.00                                                                                            $0.00
Ford Centre, LLC
2530 Scottsville Rd Suite 21                                     RS Legacy Corporation fka RadioShack
Bowling Green, KY 42104                      4370      6/16/2015 Corporation                                                                                                                                   $0.00                 $0.00
Erickson, Patricia
3399 Sherwood Rd                                                 RS Legacy Corporation fka RadioShack
Bay City, MI 48706                           4371      6/16/2015 Corporation                                                                                                                                   $0.00                 $0.00

COLORADO SPRINGS DEPARTMENT OF UTILITIES
PO BOX 1103                                                      RS Legacy Corporation fka RadioShack
COLORADO SPRINGS, CO 80947                   4372      6/16/2015 Corporation                                                        $0.00                                                                                            $0.00
Hocking, Lee L.
2701 Hemphill
Apt 109                                                          RS Legacy Corporation fka RadioShack
Fort Worth, TX 76110                         4373      6/16/2015 Corporation                                                                           $0.00                                                                         $0.00
Wilmington Trust, N.A., as Trustee
Attn: Peter Finkel
50 South Sixth Street, Suite 1290                                RS Legacy Corporation fka RadioShack
Minneapolis, MN 55402                        4374      6/16/2015 Corporation                                             $325,000,000.00                                                                                  $325,000,000.00
Wilmington Trust, N.A., as Trustee
Attn: Peter Finkel
50 South Sixth Street, Suite 1290                                RS Legacy Global Sourcing, Inc. fka RadioShack
Minneapolis, MN 55402                        4375      6/16/2015 Global Sourcing, Inc.                                              $0.00                                                                                            $0.00
Wilmington Trust, N.A., as Trustee
Attn: Peter Finkel
50 South Sixth Street, Suite 1290
Minneapolis, MN 55402                        4376      6/16/2015 SCK, Inc.                                                          $0.00                                                                                            $0.00
Wilmington Trust, N.A., as Trustee
Attn: Peter Finkel
50 South Sixth Street, Suite 1290
Minneapolis, MN 55402                        4377      6/16/2015 Atlantic Retail Ventures, Inc.                                     $0.00                                                                                            $0.00




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                                                                                                                                          Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address     Claim No.   Claim Date                      Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
Wilmington Trust, N.A., as Trustee
Attn: Peter Finkel
50 South Sixth Street, Suite 1290
Minneapolis, MN 55402                       4378      6/16/2015 ITC Services, Inc.                                                $0.00                                                                                            $0.00
Wilmington Trust, N.A., as Trustee
Attn: Peter Finkel
50 South Sixth Street, Suite 1290                               RS Legacy Global Sourcing, Inc. fka RadioShack
Minneapolis, MN 55402                       4379      6/16/2015 Global Sourcing, Inc.                                             $0.00                                                                                            $0.00
COBB EMC
Attn: Jim Gantt
PO BOX 369                                                      RS Legacy Corporation fka RadioShack
MARIETTA, GA 30061                          4380      6/15/2015 Corporation                                                     $961.71                                                                                          $961.71
Wilmington Trust, N.A., as Trustee
Attn: Peter Finkel
50 South Sixth Street, Suite 1290                               RS Legacy Customer Service LLC fka RadioShack
Minneapolis, MN 55402                       4381      6/16/2015 Customer Service LLC                                              $0.00                                                                                            $0.00
Merge Holdings, LLC
c/o LAW OFFICE OF SUSAN E. KAUFMAN, LLC
Susan E. Kaufman
919 North Market Street, Suite 460                              RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                        4382      6/15/2015 Corporation                                                                                                                              $4,582.32             $4,582.32
Hamco Realty Kansas, LLC
c/o Mike Atchley, Esquire
Pope, Hardwicke, Christie, Schell,
Kelly & Ray, LLP
500 West 7th Street, Suite 6000                                 RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                        4383      6/15/2015 Corporation                                                 $74,045.04                                                                                        $74,045.04
City of Greensboro ‐ Collections
PO Box 3136                                                     RS Legacy Corporation fka RadioShack
Greensboro , NC 27402                       4384      6/15/2015 Corporation                                                       $0.00                                                                                            $0.00
Wilmington Trust, N.A., as Trustee
Attn: Peter Finkel
50 South Sixth Street, Suite 1290                               RS Legacy International Corporation fka Tandy
Minneapolis, MN 55402                       4385      6/16/2015 International Corporation                                         $0.00                                                                                            $0.00
Wilmington Trust, N.A., as Trustee
Attn: Peter Finkel
50 South Sixth Street, Suite 1290
Minneapolis, MN 55402                       4386      6/16/2015 TE Electronics LP                                                 $0.00                                                                                            $0.00
Oriz Tamayo, Leonel Antonio
HK 5 Calle 255
URB Country Club                                                RS Legacy Corporation fka RadioShack
Carolina, PR 00982                          4387      6/17/2015 Corporation                                                                          $0.00                                                                         $0.00
Wilmington Trust, N.A., as Trustee
Attn: Peter Finkel
50 South Sixth Street, Suite 1290
Minneapolis, MN 55402                       4388      6/16/2015 RSIgnite, LLC                                                     $0.00                                                                                            $0.00
Wilmington Trust, N.A., as Trustee
Attn: Peter Finkel
50 South Sixth Street, Suite 1290
Minneapolis, MN 55402                       4389      6/16/2015 TE Electronics LP                                                 $0.00                                                                                            $0.00




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                                                                                                                       Current General                                            Current 503(b)(9)
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            Creditor Name and Address         Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
COLUMBUS LIGHT & WATER DEPT
420 4th Ave S
PO Box 949                                                          RS Legacy Corporation fka RadioShack
Columbus, MS 39703                              4390      6/17/2015 Corporation                                                    $659.09                                                                                          $659.09
KRG Hunter's Creek, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                           RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                              4391      6/16/2015 Corporation                                                  $4,716.64                                                                                        $4,716.64
Bryan, Andrea
363 Glenn Gap Rd                                                    RS Legacy Corporation fka RadioShack
Gadsden, AL 35904                               4392      6/17/2015 Corporation                                                                                                                                 $0.00                 $0.00
Stallings, Bruce
150 Nicole Terrace                                                  RS Legacy Corporation fka RadioShack
Mt. Holly, NC 28120                             4393      6/17/2015 Corporation                                                     $28.00                                                                                           $28.00
Martinez, Mercedes M
4020 Zwolle
Fort Worth, TX 76106                            4394      6/17/2015 TE Electronics LP                                                                   $0.00                                                                         $0.00
WYLIE COMMERCIAL, LLC
C/O MEP CONSULTING ENGINEERS, INC
2928 STORY ROAD WEST                                                RS Legacy Corporation fka RadioShack
IRVING, TX 75038                                4395      6/17/2015 Corporation                                                  $1,974.44          $5,820.25                                                                     $7,794.69
Eastport Plaza Shopping Center, L.P.
c/o Kathleen S. Sieler, Esq.
Bateman Seidel
888 S.W. Fifth Avenue, Suite 1250                                   RS Legacy Corporation fka RadioShack
Portland, OR 97204                              4396      6/16/2015 Corporation                                                $68,347.46                                                                                        $68,347.46
VILLAGE OF WHEELING
Jon A. Sfondilis ‐ Village Manager
2 Community Boulevard                                               RS Legacy Corporation fka RadioShack
Wheeling, IL 60090                              4397      6/16/2015 Corporation                                                     $62.37                                                                                           $62.37
Zagorski, John
1221 Mowry St                                                       RS Legacy Corporation fka RadioShack
Old Firge, PA 18518                             4398      6/17/2015 Corporation                                                     $50.00                                                                                           $50.00
Oriz Tamayo, Leonel Antonio
HK 5 Calle 255
URB Country Club                                                    RS Legacy Corporation fka RadioShack
Carolina, PR 00982                              4399      6/17/2015 Corporation                                                                                                                                                       $0.00
KRG PORT ST. LUCIE LANDING, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                           RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                              4400      6/16/2015 Corporation                                                $55,922.26                                                                                        $55,922.26
Brooks Shopping Centers, LLC
Attn: Niclas A. Ferland
c/o LeClairRyan, A Professional Corporation
545 Long Wharf Drive, 9th Floor                                     RS Legacy Corporation fka RadioShack
New Haven, CT 06511                             4401      6/16/2015 Corporation                                               $295,630.80                                                                                       $295,630.80




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            Creditor Name and Address             Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
The Modesto Bee
c/o The McClatchy Company
Attn: Juan Cornejo, Asst. Gen. Counsel
2100 Q Street                                                           RS Legacy Corporation fka RadioShack
Sacramento, CA 95816‐6899                           4402      6/17/2015 Corporation                                                 $17,666.80                                                                                        $17,666.80
Wilmington Trust, N.A., as Trustee
Attn: Peter Finkel
50 South Sixth Street, Suite 1290
Minneapolis, MN 55402                               4403      6/16/2015 Ignition L.P.                                                     $0.00                                                                                            $0.00
Bryan, Andrea Nichole
363 Glenn Gap Rd                                                        RS Legacy Corporation fka RadioShack
Gadsden, AL 35904                                   4404      6/17/2015 Corporation                                                                          $0.00                                                                         $0.00

Festival Pasadena Associates, LP, HSG Pasadena,
LLC, LM Pasadena, LLC SFG Pasadena, LLC and
Garstat Corporation (as Tenants‐in‐Common)
C/O FEDDER MANAGEMENT
c/o Robert G. Pollokoff
10096 RED RUN BLVD STE 300                                              RS Legacy Corporation fka RadioShack
OWINGS MILLS, MD 21117                              4405      6/17/2015 Corporation                                                 $32,765.04                                                                                        $32,765.04
Gutierrez, Carlos
3235 Machado Ave.                                                       RS Legacy Corporation fka RadioShack
Santa Clara, CA 95051                               4406      6/17/2015 Corporation                                                      $50.00                                                                                           $50.00
Arredondo, Bertha I
525 North Park Dr                                                       RS Legacy Corporation fka RadioShack
Saginaw , TX 76179                                  4407      6/17/2015 Corporation                                                                          $0.00                                                                         $0.00
NORTH HAVEN HOLDINGS LP
NAT'L REALTY & DEVELOPMENT CORP
3 MANHATTANVILLE ROAD STE 202                                           RS Legacy Corporation fka RadioShack
PURCHASE, NY 10577‐2177                             4408      6/17/2015 Corporation                                                 $60,570.50                                                                                        $60,570.50
Patel, Neela
3 Metcalf Drive                                                         RS Legacy Corporation fka RadioShack
Holliston, MA 01746                                 4409      6/17/2015 Corporation                                                                          $0.00                                                                         $0.00
ERNESTO SANCHEZ
64 PASEO DE DIEGO                                                       RS Legacy Corporation fka RadioShack
San Juan, PR 00925                                  4410      6/17/2015 Corporation                                                   $2,571.43                                                                                        $2,571.43
CROWN VALLEY SOUTH LLC
Kendrick, Jackson & Kearl
2603 Main Street, Suite 700                                             RS Legacy Corporation fka RadioShack
Irvine, CA 92614                                    4411      6/17/2015 Corporation                                                   $2,623.86                                                                                        $2,623.86
Villarreal, Olga
3160 Runnels
Ft. Worth, TX 76106                                 4412      6/17/2015 TE Electronics LP                                                                    $0.00                                                                         $0.00
ROCK SPRINGS RETAIL CENTER LLC
PO BOX 1104                                                             RS Legacy Corporation fka RadioShack
TAMPA, FL 33601‐1104                                4413      6/17/2015 Corporation                                                   $3,524.69                                                                                        $3,524.69
Mendez, Maria
2008 Ross Ave.
Fort Worth, TX 76106                                4414      6/17/2015 TE Electronics LP                                                 $0.00                                                                                            $0.00




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            Creditor Name and Address           Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
Morales, Maria T
Calle 13 Z8‐15
Turabo Gardens                                                        RS Legacy Corporation fka RadioShack
Caguas, PR 00727                                  4415      6/17/2015 Corporation                                                                                                                                                       $0.00
Dakotaland Federal Credit Union
Bryan W. Smith
Dakotaland Federal Credit Union
1371 Dakota Avenue South                                              RS Legacy Corporation fka RadioShack
Huron, SD 57350                                   4416      6/17/2015 Corporation                                                                                                                             $1,382.96             $1,382.96
Barneset, Nannette T
HC 4 Box 11765                                                        RS Legacy Corporation fka RadioShack
Yauco, PR 00698                                   4417      6/17/2015 Corporation                                                                                                                                                       $0.00
Sun Herald ‐ Biloxi
c/o The McClatchy Company
Attn: Juan Cornejo, Asst. Gen. Counsel
2100 Q Street                                                         RS Legacy Corporation fka RadioShack
Sacramento, CA 95816‐6899                         4418      6/17/2015 Corporation                                                  $2,274.69                                                                                        $2,274.69
Harrisburg Mall, LP
Attn: Management Office ‐ Vicki Keating, Mall
Manager
3501 Paxton Street
Attn: Management Office                                               RS Legacy Corporation fka RadioShack
Harrisburg, PA 17111                              4419      6/17/2015 Corporation                                                                                                                               $549.01               $549.01
Morgan, Lewis & Bockius, LLP
Attn: Darlene J. Renken
1701 Market Street                                                    RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103‐2921                       4420      6/16/2015 Corporation                                               $221,481.36                                                                                       $221,481.36
GREEN HILLS COURT LLC
C/O BROOKSIDE PROPERTIES INC
2002 RICHARD JONES RD STE 200A                                        RS Legacy Corporation fka RadioShack
NASHVILLE, TN 37215                               4421      6/17/2015 Corporation                                                  $4,783.18                                                                                        $4,783.18
Blair, Curtis E
127 Nicole Lane                                                       RS Legacy Corporation fka RadioShack
Crestview, FL 32539                               4422      6/17/2015 Corporation                                               $200,000.00                                                                                       $200,000.00
Endres, Arthur
204 W Nevada St.                                                      RS Legacy Corporation fka RadioShack
Urbana, IL 61801                                  4423      6/17/2015 Corporation                                                     $54.49                                                                                           $54.49
THE METZGER FAMILY GST NON‐EXEMPT MARITAL
TRUST
DANA BUTCHER ASSOCIATES
1690 W. SHAW AVENUE, SUITE 220                                        RS Legacy Corporation fka RadioShack
FRESNO, CA 93711                                  4424      6/17/2015 Corporation                                               $129,818.86                                 $0.00                             $3,114.90           $132,933.76
H & K TAKENAGA ENTERPRISES, INC.
DBA: DANA POINT PLAZA
PO BOX 61474                                                          RS Legacy Corporation fka RadioShack
IRVINE, CA 92602                                  4425      6/17/2015 Corporation                                                  $6,735.86                                                                                        $6,735.86
2502 8TH AVENUE CORP.
26910 GRAND CENTRAL PARKWAY
C/O BRILL APT 31E                                                     RS Legacy Corporation fka RadioShack
FLORAL PARK, NY 11005                             4426      6/18/2015 Corporation                                               $329,745.24                                                                                       $329,745.24




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                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount
Johnson‐Conley, Jakobi
8715 homestead ave ne                                                      RS Legacy Corporation fka RadioShack
Olympia, WA 98516                                      4427      6/17/2015 Corporation                                                     $20.00                                                                                           $20.00
Morales Contreras, Maria Teresa
Calle 13 Z8‐15 Turabo Gardens                                              RS Legacy Corporation fka RadioShack
Caguas, PR 00727                                       4428      6/17/2015 Corporation                                                                         $0.00                                                                         $0.00
Slaikeu, Peggy
1773 200th Ave. #2                                                         RS Legacy Corporation fka RadioShack
Mora, MN 55051                                         4429      6/17/2015 Corporation                                                     $25.00                                                                                           $25.00
Mr. Rooter Plumbing Pittsburgh
64 Progress Ave                                                            RS Legacy Corporation fka RadioShack
Cranberry Twp, PA 16066                                4430      6/18/2015 Corporation                                                    $995.00                                                                                          $995.00
The Tribune
c/o The McClatchy Company
Attn: Juan Cornejo, Asst. Gen. Counsel
2100 Q Street                                                              RS Legacy Corporation fka RadioShack
SACRAMENTO, CA 95816‐6899                              4431      6/17/2015 Corporation                                                  $5,100.23                                                                                        $5,100.23
Crawford, Dennis
108 Mercury Circle                                                         RS Legacy Corporation fka RadioShack
Liverpool, NY 13088                                    4432      6/18/2015 Corporation                                                     $86.39                                                                                           $86.39
Cypress Media, LLC dba The Kansas City Star
c/o The McClatchy Company
Attn: Juan Cornejo, Asst. Gen. Counsel
2100 Q Street                                                              RS Legacy Corporation fka RadioShack
Sacramento, CA 95816‐6899                              4433      6/17/2015 Corporation                                                $17,732.00                                                                                        $17,732.00
Villarreal, Olga
3160 Runnels St                                                            RS Legacy Corporation fka RadioShack
Ft. Worth, TX 76106                                    4434      6/17/2015 Corporation                                                                         $0.00                                                                         $0.00
Perkey, Joshua
167 W 1485 N                                                               RS Legacy Corporation fka RadioShack
Orem, UT 84057                                         4435      6/17/2015 Corporation                                                     $30.56                                                                                           $30.56
Lexington Herald Leader
c/o The McClatchy Company
Attn: Juan Cornejo, Asst. Gen. Counsel
2100 Q Street                                                              RS Legacy Corporation fka RadioShack
Sacramento , CA 95816‐6899                             4436      6/17/2015 Corporation                                                  $6,027.22                                                                                        $6,027.22
MJS CAGUAS LP
PO BOX 535599                                                              RS Legacy Corporation fka RadioShack
ATLANTA, GA 30353‐5599                                 4437      6/17/2015 Corporation                                                  $9,175.60                                                                                        $9,175.60
2502 8TH AVENUE CORP.
26910 GRAND CENTRAL PARKWAY
C/O BRILL APT 31E                                                          RS Legacy Corporation fka RadioShack
FLORAL PARK, NY 11005                                  4438      6/18/2015 Corporation                                                      $0.00                                                                                            $0.00

Puerto Rico Electric Power Authority (Autoridad de
Energia Electrica de Puerto Rico)
Maria T. Gorbea, Supervisor
PREPA ‐ Bankruptcy Office
PO Box 364267                                                              RS Legacy Corporation fka RadioShack
San Juan, PR 00936‐4267                                4439      6/17/2015 Corporation                                                                                                                                 $0.00                 $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
COLUMBUS LIGHT & WATER DEPT
420 4th Ave S
PO Box 949                                                     RS Legacy Corporation fka RadioShack
Columbus, MS 39703                         4440      6/17/2015 Corporation                                                                                                                                 $0.00                 $0.00
The Wichita Eagle
c/o The McClatchy Company
Attn: Juan Cornejo, Asst. Gen. Counsel
2100 Q Street                                                  RS Legacy Corporation fka RadioShack
Sacramento, CA 95816‐6899                  4441      6/17/2015 Corporation                                                  $7,102.20                                                                                        $7,102.20
The News & Observer
c/o The McClatchy Company
Attn: Juan Cornejo, Asst. Gen. Counsel
2100 Q Street                                                  RS Legacy Corporation fka RadioShack
Sacramento, CA 95816‐6899                  4442      6/17/2015 Corporation                                                $58,574.46                                                                                        $58,574.46
Belleville News Democrat
c/o The McClatchy Company
Attn: Juan Cornejo, Asst. Gen. Counsel
2100 Q Street                                                  RS Legacy Corporation fka RadioShack
Sacramento, CA 95816‐6899                  4443      6/17/2015 Corporation                                                  $4,193.09                                                                                        $4,193.09
Ennis, Robyn
375 Union Street                                               RS Legacy Corporation fka RadioShack
Millis, MA 02054                           4444      6/17/2015 Corporation                                                                                                              $20.00                                  $20.00
One Mile West, LLP
c/o Robert G. Pollokoff
10096 Red Run Blvd
Suite 300                                                      RS Legacy Corporation fka RadioShack
Owings Mills, MD 21117                     4445      6/17/2015 Corporation                                                $30,880.00                                                                                        $30,880.00
The Sacramento Bee
c/o The McClatchy Company
Attn: Juan Cornejo, Asst. Gen. Counsel
2100 Q Street                                                  RS Legacy Corporation fka RadioShack
Sacramento, CA 95816‐6899                  4446      6/17/2015 Corporation                                                      $0.00                                                                                            $0.00
Pietrantoni Méndez & Alvarez LLC
Banco Popular Center, 19th Floor
208 Ponce de Leon Avenue                                       RS Legacy Corporation fka RadioShack
San Juan, PR 00918                         4447      6/18/2015 Corporation                                                $53,433.55                                                                                        $53,433.55
The Island Packet
c/o The McClatchy Company
Attn: Juan Cornejo, Asst. Gen. Counsel
2100 Q Street                                                  RS Legacy Corporation fka RadioShack
Sacramento, CA 95816‐6899                  4448      6/17/2015 Corporation                                                  $1,095.00                                                                                        $1,095.00
Bradenton Herald
c/o The McClatchy Company
Attn: Juan Cornejo, Asst. Gen. Counsel
2100 Q Street                                                  RS Legacy Corporation fka RadioShack
Sacramento, CA 95816‐6899                  4449      6/17/2015 Corporation                                                  $3,658.31                                                                                        $3,658.31
Merced Sun‐Star
c/o The McClatchy Company
Attn: Juan Cornejo, Asst. Gen. Counsel
2100 Q Street                                                  RS Legacy Corporation fka RadioShack
Sacramento, CA 95816‐6899                  4450      6/17/2015 Corporation                                                    $514.98                                                                                          $514.98




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                                                                                                                  Current General                                            Current 503(b)(9)
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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
The Fresno Bee
c/o The McClatchy Company
Attn: Juan Cornejo, Asst. Gen. Counsel
2100 Q Street                                                  RS Legacy Corporation fka RadioShack
Sacramento, CA 95816‐6899                  4451      6/17/2015 Corporation                                                $16,844.74                                                                                        $16,844.74
Carter, Ben
7831 Denise Cir                                                RS Legacy Corporation fka RadioShack
La Palma, CA 90623                         4452      6/17/2015 Corporation                                                                                                             $100.00                                 $100.00
Morrison & Forester
Attn Michael Pearl
1290 Avenue of the Americas                                    RS Legacy Corporation fka RadioShack
New York, NY 10104                         4453      6/17/2015 Corporation                                                  $1,215.00                                                                                        $1,215.00
Dehring, Jonathan
24628 Jason Drive                                              RS Legacy Corporation fka RadioShack
Brownstown Township, MI 48134              4454      6/17/2015 Corporation                                                                       $47.16                                                                         $47.16
Rock Springs Retail Center LLC
Sara M. Ingber
508 W. Davis Blvd                                              RS Legacy Corporation fka RadioShack
Tampa, FL 33606                            4455      6/17/2015 Corporation                                                                                                                                 $0.00                 $0.00
Dore, Joanne
146 Howells Rd                                                 RS Legacy Corporation fka RadioShack
Middletown, NY 10940                       4456      6/17/2015 Corporation                                               $150,000.00                                                                                       $150,000.00
Soto, Josefa
408 E Mason St
Fort Worth, TX 76110                       4457      6/17/2015 TE Electronics LP                                                                   $0.00                                                                         $0.00
140 Village LLP
c/o Robert G. Pollokoff
10096 Red Run Blvd
Suite 300                                                      RS Legacy Corporation fka RadioShack
Owings Mills, MD 21117                     4458      6/17/2015 Corporation                                                $36,676.38                                                                                        $36,676.38
Miami Herald Media Company
Rob Polhemus, Assistant Controller
The McClatchy Company
2100 Q Street                                                  RS Legacy Corporation fka RadioShack
Sacramento, CA 95816‐6899                  4459      6/17/2015 Corporation                                                                                                                                 $0.00                 $0.00
The Bellingham Herald
c/o The McClatchy Company
Attn: Juan Cornejo, Asst. Gen. Counsel
2100 Q Street                                                  RS Legacy Corporation fka RadioShack
Sacramento, CA 95816‐6899                  4460      6/17/2015 Corporation                                                  $4,712.62                                                                                        $4,712.62
The Charlotte Observer
c/o The McClatchy Company
Attn: Juan Cornejo, Asst. Gen. Counsel
2100 Q Street                                                  RS Legacy Corporation fka RadioShack
Sacramento, CA 95816‐6899                  4461      6/17/2015 Corporation                                                $35,177.40                                                                                        $35,177.40
Morrison & Foerster LLP
Lorenzo Marinuzzi
250 W. 55th Street                                             RS Legacy Corporation fka RadioShack
New York, NY 10019                         4462      6/17/2015 Corporation                                                                                                           $3,637.50                               $3,637.50




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                                                                                                                                                  Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address              Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
JAMES VILLAGE LYNNWOOD INC
603 STEWART ST
SUITE 919                                                                RS Legacy Corporation fka RadioShack
SEATTLE, WA 98101                                    4463      6/17/2015 Corporation                                                  $5,357.56                                                                                        $5,357.56
Vienna Plaza Associates Limited Partnership
Peter J. Federowicz
6001 Montrose Road, Suite 600                                            RS Legacy Corporation fka RadioShack
Rockville, MD 20852                                  4464      6/17/2015 Corporation                                                                                                                             $6,056.64             $6,056.64
ENCRH PARTNERSHIP LP
PO BOX 7084                                                              RS Legacy Corporation fka RadioShack
DALLAS, TX 75209                                     4465      6/17/2015 Corporation                                               $269,516.65                                                                                       $269,516.65
Fort Worth Star‐Telegram
c/o The McClatchy Company
Attn: Juan Cornejo, Asst. Gen. Counsel
2100 Q Street                                                            RS Legacy Corporation fka RadioShack
Sacramento, CA 95816‐6899                            4466      6/17/2015 Corporation                                                      $0.00                                                                                            $0.00
The News Tribune
c/o The McClatchy Company
Attn: Juan Cornejo, Asst. Gen. Counsel
2100 Q Street                                                            RS Legacy Corporation fka RadioShack
Sacramento, CA 95816‐6899                            4467      6/17/2015 Corporation                                                $33,451.11                                                                                        $33,451.11
Barneset, Nannette Troche
Hc02 Box 11765                                                           RS Legacy Corporation fka RadioShack
Yauco, PR 00698                                      4468      6/17/2015 Corporation                                                                         $0.00                                                                         $0.00
National Project Resources L.P.
Wayne E. Heller
National Realty & Development Corp.
3 MANHATTANVILLE RD., Suite 202                                          RS Legacy Corporation fka RadioShack
Purchase, NY 10577                                   4469      6/17/2015 Corporation                                                                                                                             $4,551.16             $4,551.16
Lebanon 7 Holdings L.P., GBR Lebanon Two Limited
Liability Company
National Realty & Development Corp
Attn: Wayne E. Heller
3 Manhattanville Rd, Suite 202                                           RS Legacy Corporation fka RadioShack
Purchase, NY 10577                                   4470      6/17/2015 Corporation                                                                                                                             $4,013.57             $4,013.57
The McClatchy Company
Attn: Juan Cornejo, Asst. Gen. Counsel
2100 Q Street                                                            RS Legacy Corporation fka RadioShack
Sacramento, CA 95816‐6899                            4471      6/17/2015 Corporation                                               $387,143.93                                                                                       $387,143.93
Tower Avenue Partners, LLC
Frederick A. Dudderar, Jr.
Attorney at Law
1000 U.S. Bank Place,
130 W Superior St.                                                       RS Legacy Corporation fka RadioShack
Duluth, MN 55802                                     4472      6/17/2015 Corporation                                                                                                                             $1,807.44             $1,807.44
Dakotaland Federal Credit Union
Woods, Fuller, Shultz & Smith P.C.
Attn: Roger W. Damgaard
300 South Phillips Avenue, Suite 300
PO Box 5027                                                              RS Legacy Corporation fka RadioShack
Sioux Falls , SD 57117‐5027                          4473      6/17/2015 Corporation                                                  $6,558.59                                                                                        $6,558.59




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            Creditor Name and Address             Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                     Amount
NYSEG
Attn: Bankruptcy Dept
PO Box 5240                                                             RS Legacy Corporation fka RadioShack
Binghamton, NY 13902                                4474      6/17/2015 Corporation                                                                                                                             $1,076.54             $1,076.54

Rapp Investments, LLC
Michael E. Gossler
Montgomery Purdue Blankinship & Austin PLLC
701 5th Avenue, Suite 5500                                              RS Legacy Corporation fka RadioShack
Seattle, WA 98104                                   4475      6/17/2015 Corporation                                                                                                                             $7,887.19             $7,887.19
Parks, Bobbie
313 Mimosa Ave                                                          RS Legacy Corporation fka RadioShack
Lulling, LA 70070                                   4476      6/17/2015 Corporation                                                                       $95.73                                  $0.00                                  $95.73
Kardashian, Stasie
9157 Alcott Sr. #5                                                      RS Legacy Corporation fka RadioShack
Los Angeles, CA 90035                               4477      6/17/2015 Corporation                                                                                                             $120.00                                 $120.00
MarkMonitor Inc.
ATTN: David Haenel, Corporate Counsel
3540 E LONGWING LN STE 300                                              RS Legacy Corporation fka RadioShack
MERIDIAN, ID 83646‐1238                             4478      6/17/2015 Corporation                                                  $1,937.50              $0.00                                                                     $1,937.50
VICTORIA RETAIL LLC
KRISTIN E. SATHER, SENIOR VICE PRESIDENT
C/O TF CORNERSTONE INC.
387 PARK AVENUE SOUTH, 7TH FLOOR                                        RS Legacy Corporation fka RadioShack
NEW YORK, NY 10016                                  4479      6/17/2015 Corporation                                                                                                                            $24,345.32            $24,345.32
Stored Value Solutions, Inc. f/k/a Stored Value
Systems, Inc.
Sean C. Kirk
Bone McAllester Norton PLLC
511 Union St. Suite 1600                                                RS Legacy Corporation fka RadioShack
Nashville, TN 37219                                 4480      6/17/2015 Corporation                                                                                                                             $1,111.17             $1,111.17
Blair, Curtis
127 Nicole Lane                                                         RS Legacy Corporation fka RadioShack
Crestview, FL 32539                                 4481      6/17/2015 Corporation                                                                                                                                                       $0.00
Hal R. Dixon Trust
Attn: Terence M. Tombari, Trustee of the Hal R.
Dixon Trust
4102 S Regal St, Ste 202                                                RS Legacy Corporation fka RadioShack
Spokane, WA 99223                                   4482      6/17/2015 Corporation                                                $21,252.00                                                                                        $21,252.00
KOGAP ENTERPRISES, INC.
GRAMOR DEVELOPMENT UNIT 1022
PO BOX 2369                                                             RS Legacy Corporation fka RadioShack
PORTLAND, OR 97208‐2369                             4483      6/17/2015 Corporation                                                      $0.00                                                                                            $0.00
Fuchs, Stephen A.
1107 Poydras Place Dr.                                                  RS Legacy Corporation fka RadioShack
Breaux Bridge, LA 70517                             4484      6/17/2015 Corporation                                                      $0.00                                                   $97.19                                  $97.19

A&B WAIANAE LLC
ATTN.: VICE PRESIDENT, PROPERTY MANAGEMENT
822 BISHOP STREET                                                       RS Legacy Corporation fka RadioShack
HONOLULU, HI 96813                                  4485      6/17/2015 Corporation                                                  $9,004.62                                                                                        $9,004.62




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            Creditor Name and Address     Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Toebben, Dennis
560 Dove Lake Rd.                                               RS Legacy Corporation fka RadioShack
Jefferson Cty, MO                           4486      6/17/2015 Corporation                                                  $7,500.00                                                                                        $7,500.00
ERNESTO SANCHEZ
64 PASEO DE DIEGO                                               RS Legacy Corporation fka RadioShack
San Juan, PR 00925                          4487      6/17/2015 Corporation                                                      $0.00                                                                                            $0.00
National Project Resources LP
c/o National Realty & Development Corp.
3 Manhattan Rd., Suite 202                                      RS Legacy Corporation fka RadioShack
Purchase, NY 10577                          4488      6/17/2015 Corporation                                                $67,002.57                                                                                        $67,002.57
IRET PROPERTIES a North Dakota Limited
Partnership
1400 31st Avenue SW, Suite 60                                   RS Legacy Corporation fka RadioShack
MINOT, ND 58702‐1988                        4489      6/17/2015 Corporation                                                    $857.14                                                                                          $857.14
Zumut, Mona
PO Box 5095                                                     RS Legacy Corporation fka RadioShack
Concord, CA 94524                           4490      6/17/2015 Corporation                                                    $401.63              $0.00                                 $0.00                                 $401.63
2505 Broadway Co.
Michael D. Capozzi, Esq.
Ingram Yuzek, et al.
250 Park Avenue, 6th Floor                                      RS Legacy Corporation fka RadioShack
New York, NY 10177                          4491      6/17/2015 Corporation                                                                                                                            $22,500.00            $22,500.00
Sawey, Rojeanne
ROJEANNE SAWEY
P.O BOX 895                                                     RS Legacy Corporation fka RadioShack
SAN CARLOS, CA 94070                        4492      6/17/2015 Corporation                                                                       $87.19                                                                         $87.19
Williams, Lucas
1851 East J10                                                   RS Legacy Corporation fka RadioShack
Lancaster, CA 93535                         4493      6/17/2015 Corporation                                                                         $0.00                                                                         $0.00
Mendez, Blanca P
2801 Nw 31st                                                    RS Legacy Corporation fka RadioShack
Fort Worth, TX 76106                        4494      6/17/2015 Corporation                                                                         $0.00                                                                         $0.00
Soto, Josefa
408 E Mason St                                                  RS Legacy Corporation fka RadioShack
Fort Worth, TX 70110                        4495      6/17/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
NATIONAL REALTY & DEVELOPMENT CORP
ATTN Wayne E. Heller, Esq.
3 MANHATTANVILLE RD‐ Suite 202                                  RS Legacy Corporation fka RadioShack
PURCHASE, NY 10577                          4496      6/17/2015 Corporation                                                    $688.93                                                                                          $688.93
Bertha I Arrendondo
525 North Park Dr
Saginaw, TX 76179                           4497      6/17/2015 TE Electronics LP                                                                   $0.00                                                                         $0.00
North Haven Holdings L.P.
Wayne E. Heller
c/o National Realty & Development Corp
3 Manhattanville Rd., Suite 202                                 RS Legacy Corporation fka RadioShack
Purchase, NY 10577                          4498      6/17/2015 Corporation                                                                                                                             $4,409.03             $4,409.03
Miami Herald
c/o The McClatchy Company
Attn: Juan Cornejo, Asst. Gen. Counsel
2100 Q Street                                                   RS Legacy Corporation fka RadioShack
Sacramento, CA 95816‐6899                   4499      6/17/2015 Corporation                                                      $0.00                                                                                            $0.00



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                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
Stephanie Waghorn (Formerly Known as
Boutsikakis) & Jerry Garb
PO Box 504                                                                RS Legacy Corporation fka RadioShack
Riverside, IL 60546                                   4500      6/17/2015 Corporation                                                    $1,200.74                                                                                        $1,200.74
Wilmington Trust, N.A., as Trustee
Attn: Peter Finkel
50 South Sixth Street, Suite 1290
Minneapolis, MN 55402                                 4501      6/16/2015 Atlantic Retail Ventures, Inc.                                     $0.00                                                                                            $0.00
RioCan America Management, LP f/k/a RioCan
(America) Management, Inc., as managing agent for
Louetta RioCan LP
Mark Wampler, Assistant Vice President,
Operations
307 Fellowship Road, Suite 116                                            RS Legacy Corporation fka RadioShack
Mount Laurel, NJ 08054                                4502      6/16/2015 Corporation                                                                                                                               $3,977.12             $3,977.12
KRG Beechwood, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                 RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                    4503      6/16/2015 Corporation                                                    $5,804.45                                                                                        $5,804.45
Debby Hill Levine & Barton Hill Jt Ten
235 W. End Ave.
Apt. 7D                                                                   RS Legacy Corporation fka RadioShack
New York, NY 10023                                    4504      6/16/2015 Corporation                                                        $0.00                                                                                            $0.00
KRG Dallas Wheatland LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                 RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                    4505      6/16/2015 Corporation                                                                                                                               $4,060.70             $4,060.70
Held, Marlene
501 Laughlin Ave                                                          RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15210                                  4506      6/18/2015 Corporation                                                       $21.39                                                                                           $21.39
Smirnova, Nadia
329 Devon Place                                                           RS Legacy Corporation fka RadioShack
Morganville, NJ 07751                                 4507      6/18/2015 Corporation                                                                                                                $42.78                                  $42.78
R&H Mission George, Ltd
Attn.: Kerrie L. Ozarski
c/o Reef Real Estate Services, Inc.
Third Party Administrator
1620 Fifth Ave, Ste 770                                                   RS Legacy Corporation fka RadioShack
San Diego, CA 92101                                   4508      6/18/2015 Corporation                                                  $10,575.12                                                                                        $10,575.12
Nguyen, Kevin A.
1809 SE 1st St                                                            RS Legacy Corporation fka RadioShack
Moore, OK 73160‐8115                                  4509      6/18/2015 Corporation                                                      $100.00                                                                                          $100.00
Dehring, Jonathan
24628 Jason Drive                                                         RS Legacy Corporation fka RadioShack
Brownstown Township, MI 48134                         4510      6/17/2015 Corporation                                                                         $47.16                                                                         $47.16
Capital Development Company
PO BOX 3487                                                               RS Legacy Corporation fka RadioShack
LACEY, WA 98509                                       4511      6/18/2015 Corporation                                                  $19,188.68                                                                                        $19,188.68



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            Creditor Name and Address               Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Hooks, Ronald
PO Box 30121                                                              RS Legacy Corporation fka RadioShack
Clarksville, TN 37040                                 4512      6/18/2015 Corporation                                                                         $0.00                                                                         $0.00
Bernikow, Jason
188 Haut Brion Ave                                                        RS Legacy Corporation fka RadioShack
Newark , DE 19702                                     4513      6/18/2015 Corporation                                                                                          $29.99               $0.00                                  $29.99

Points East, LLC (c/o Sequoia Realty Corporation)
Howard S. Rabb, Esq.
Dworken & Bernstein Co., L.P.A.
60 South Park Place                                                       RS Legacy Corporation fka RadioShack
Painesville, OH 44077                                 4514      6/18/2015 Corporation                                                  $2,539.78                                                                                        $2,539.78
State of Texas on behalf of Texas Consumers
holding unredeemed gift cards issued by
RadioShack
Hal F. Morris, Assistant Attorney General
PO Box 12548 MC‐0008                                                      RS Legacy Corporation fka RadioShack
Austin, TX 78711‐2548                                 4515      6/18/2015 Corporation                                                      $0.00                                                                                            $0.00
R&H MIssion George, Ltd
Attn.: Kerrie L. Ozarski
c/o Reef Real Estate Services, Inc.
Third‐Party Administrator
1620 Fifth Ave, Ste 770                                                   RS Legacy Corporation fka RadioShack
San DIego, CA 92101                                   4516      6/18/2015 Corporation                                                      $0.00                                                                                            $0.00
Rattanpal, Sukhjinder Singh
1306 Forest Haven Blvd                                                    RS Legacy Corporation fka RadioShack
Edison, NJ 08817                                      4517      6/18/2015 Corporation                                                     $20.00                                                                                           $20.00

Points East, LLC (c/o Sequoia Realty Corporation)
Howard S. Rabb, Esq.
Dworken & Bernstein Co., L.P.A.
60 South Park Place                                                       RS Legacy Corporation fka RadioShack
Painesville, OH 44077                                 4518      6/18/2015 Corporation                                                      $0.00                                                                                            $0.00
RioCan America Management, LP f/k/a RioCan
(America) Management, Inc., as managing agent for
CSC Towne Square LP
Mark Wampler
Assistant Vice President, Operations
307 Fellowship Road, Suite 116                                            RS Legacy Corporation fka RadioShack
Mount Laurel, NJ 08054                                4519      6/16/2015 Corporation                                                                                                                             $3,594.95             $3,594.95
Unity Township Municipal Authority
Joseph G. Lucas, Esquire
519 Court Place                                                           RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15219                                  4520      6/15/2015 Corporation                                                    $109.59              $0.00                                                                       $109.59
George, Kathy
1056 Blackwater                                                           RS Legacy Corporation fka RadioShack
Chillicothe, OH 45601                                 4521      6/18/2015 Corporation                                                     $39.61                                                                                           $39.61
Ramos, Evelin
2225 SW 131 Pl                                                            RS Legacy Corporation fka RadioShack
Miami, FL 33175                                       4522      6/18/2015 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Kentucky Utilities Company
820 W. Broadway                                                RS Legacy Corporation fka RadioShack
Louisville, KY 40202                       4523      6/16/2015 Corporation                                                $10,417.97                                                                                        $10,417.97
Doe, Jane
Timothy M. Osborn, Esq.
2200 Truxton Avenue                                            RS Legacy Corporation fka RadioShack
Bakersfield, CA 93301                      4524      6/18/2015 Corporation                                                      $0.00                                                                                            $0.00
Market Track LLC
125 High Rock Avenue
Third Floor                                                    RS Legacy Corporation fka RadioShack
Saratoga Springs, NY 12866                 4525      6/18/2015 Corporation                                               $237,658.00                                                                                       $237,658.00
Lexel Battery (Shen Zhen) Co, Ltd
NO.2 GUANGTIAN ROAD,
LEXEL TECHNOLOGY PARK,
3RD INDUSTRIAL PARK, LUOTIAN VILLAGE
SONGANG, BAOAN,
SHENZHEN                                                       RS Legacy Corporation fka RadioShack
CHINA                                      4526      6/18/2015 Corporation                                                                                                                                 $0.00                 $0.00
Knight, Wayne
8075 Kimberly Ct                                               RS Legacy Corporation fka RadioShack
Largo, FL 33777                            4527      6/18/2015 Corporation                                                                       $20.00                                                                         $20.00
Lopez, Bettina L.
127 Watson Avenue                                              RS Legacy Corporation fka RadioShack
Hamilton, NJ 08610                         4528      6/18/2015 Corporation                                                     $45.99                                                                                           $45.99
PLR Real Estate Development, LLC
Robert M. Barsamian, Manager
1340 Centre Street
Suite 207                                                      RS Legacy Corporation fka RadioShack
Newton, MA 02459                           4529      6/18/2015 Corporation                                                                                                                             $4,528.40             $4,528.40
Kroger Limited Partnership I
Attn: Law Dept. ‐ Grubbs
Rick J. Landrum
1014 Vine Street                                               RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                       4530      6/18/2015 Corporation                                                $59,465.98                                                                                        $59,465.98
Southwestern Electric Power Co.
Gregory T. Holland
PO Box 2021                                                    RS Legacy Corporation fka RadioShack
Roanoke , VA 24022                         4531      6/18/2015 Corporation                                                                                                                               $391.45               $391.45
RR Donnelley
Dan Pevonka, Director Credit services
4101 Winfield Rd                                               RS Legacy Corporation fka RadioShack
Warrenville, IL 60555                      4532      6/18/2015 Corporation                                                                                                        $271,120.52                              $271,120.52
Breckenridge 2005 LLC
Holmes P. Harden, Esquire
Williams Mullen
301 Fayetteville Street
P.O. Box 1000                                                  RS Legacy Corporation fka RadioShack
Raleigh, NC 27601                          4533      6/18/2015 Corporation                                                                                                                             $2,551.03             $2,551.03
93 NYRPT LLC
Ken Labenski
570 Delaware Ave                                               RS Legacy Corporation fka RadioShack
Buffalo, NY 14202                          4534      6/18/2015 Corporation                                                  $5,364.27                                                                  $3,932.57             $9,296.84



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                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                          Amount                                                     Amount
EYE MALL MEDIA USA INC
901 South MoPac Expressway
Barton Oaks Building 111 Suite 250                                RS Legacy Corporation fka RadioShack
AUSTIN, TX 78746                              4535      6/18/2015 Corporation                                                 $44,955.00                                                                                        $44,955.00
FRENCHTOWN SQUARE PARTNERSHIP
2445 BELMONT AVENUE
P.O. BOX 2186                                                     RS Legacy Corporation fka RadioShack
YOUNGSTOWN, OH 44504                          4536      6/18/2015 Corporation                                                 $17,596.86                                                                                        $17,596.86
Lyons Consulting Group, LLC
c/o Law Offices of Richard E. Nawracaj
One S. Dearborn Street, 21st Floor                                RS Legacy Corporation fka RadioShack
Chicago, IL 60603                             4537      6/18/2015 Corporation                                                 $19,129.40                                                                                        $19,129.40
CITY OF CHINO
PO BOX 667                                                        RS Legacy Corporation fka RadioShack
CHINO, CA 91708                               4538      6/18/2015 Corporation                                                     $437.47                                                                                          $437.47
SOUTHLAND TERRACE SHOPPING CENTER LLC
C/O CG COMMERCIAL REAL ESTATE, INC.
P O BOX 99816                                                     RS Legacy Corporation fka RadioShack
LOUISVILLE, KY 40269                          4539      6/18/2015 Corporation                                                   $3,542.51                                                                                        $3,542.51
Bright, Susan
69 Bear Mountain Road                                             RS Legacy Corporation fka RadioShack
Ringwood, NJ 07456                            4540      6/18/2015 Corporation                                                      $49.73                                                                                           $49.73
S & S INVESTMENTS
902 CARNEGIE CENTER SUITE 400                                     RS Legacy Corporation fka RadioShack
PRINCETON, NJ 08540                           4541      6/18/2015 Corporation                                                                                                                                  $0.00                 $0.00
WD Navarre Distribution, LLC (fka NAVARRE
DISTRIBUTION SERVICES INC)
5801 East Taft Road
North Syracuse, NY 13212                      4542      6/18/2015 Ignition L.P.                                              $517,428.34                                                                                       $517,428.34
Belcher, Karen
9423 Summerland Dr                                                RS Legacy Corporation fka RadioShack
Whitmore Lake, MI 48189                       4543      6/18/2015 Corporation                                                      $30.72                                                                                           $30.72
WAYNESBORO GF LP
JC BAR PROPERTIES INC
415 FALLOWFIELD RD STE 301                                        RS Legacy Corporation fka RadioShack
CAMP HILL, PA 17011                           4544      6/18/2015 Corporation                                                   $1,489.28                                                                                        $1,489.28
Roslindale Realty Group LLC
One Washington Street
Suite 300                                                         RS Legacy Corporation fka RadioShack
Wellesley, MA 02481                           4545      6/18/2015 Corporation                                                                                                                              $5,836.32             $5,836.32
GEORGIA NATURAL GAS
PO BOX 105445                                                     RS Legacy Corporation fka RadioShack
ATLANTA, GA 30348                             4546      6/18/2015 Corporation                                                   $2,272.67                                                                                        $2,272.67
4908 Transit LLC
570 Delaware Ave                                                  RS Legacy Corporation fka RadioShack
Buffalo, NY 14202                             4547      6/18/2015 Corporation                                                                                                                              $4,564.52             $4,564.52
Benderson‐Wainberg Associates II
Ken Labenski
570 Delaware Ave                                                  RS Legacy Corporation fka RadioShack
Buffalo, NY 14202                             4548      6/18/2015 Corporation                                                                                                                                  $0.00                 $0.00




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            Creditor Name and Address                Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount
CROWN VALLEY SOUTH LLC
Kendrick, Jackson & Kearl
2603 Main Street, Suite 700                                                RS Legacy Corporation fka RadioShack
Irvine, CA 92614                                       4549      6/18/2015 Corporation                                                                                                                                 $0.00                 $0.00
PINTZUK BROWN REALTY GROUP INC
491 OLD YORK RD STE 200                                                    RS Legacy Corporation fka RadioShack
JENKINTOWN, PA 19046                                   4550      6/18/2015 Corporation                                                      $0.00                                                                                            $0.00
Wong, Henry F.
1128 SPRUCE ST                                                             RS Legacy Corporation fka RadioShack
BERKELEY, CA 94707                                     4551      6/18/2015 Corporation                                                                                                                                 $0.00                 $0.00
Benderson 85‐1 Trust
Ken Labenski
570 Delaware Ave                                                           RS Legacy Corporation fka RadioShack
Buffalo, NY 14202                                      4552      6/18/2015 Corporation                                                                                                                                 $0.00                 $0.00
VMY Properties, LLC, assignee of Lancaster Venture
No. One, L.P.
c/o Howard Marc Spector
Spector & Johnson, PLLC
12770 Coit Road, Suite 1100                                                RS Legacy Corporation fka RadioShack
DALLAS, TX 75251                                       4553      6/18/2015 Corporation                                                $67,505.96                                                                                        $67,505.96
Appalachian Power Company
Gregory T. Holland
PO Box 2021                                                                RS Legacy Corporation fka RadioShack
Roanoke, VA 24022                                      4554      6/18/2015 Corporation                                                                                                                             $4,769.92             $4,769.92
BENDERSON 85‐1 TRUST
570 DELAWARE AVE                                                           RS Legacy Corporation fka RadioShack
BUFFALO, NY 14202                                      4555      6/18/2015 Corporation                                                                                                                             $2,051.44             $2,051.44
EYE MALL MEDIA USA INC
901 South MoPac Expressway
Barton Oaks Building 111 Suite 250                                         RS Legacy Corporation fka RadioShack
AUSTIN, TX 78746                                       4556      6/18/2015 Corporation                                                      $0.00                                                                                            $0.00
Regency Commercial Associates, LLC
Elizabeth Amandus, Esq., Agent
500 Lee St., East, Suite 1600
PO Box 553                                                                 RS Legacy Corporation fka RadioShack
Charleston, WV 25322‐0553                              4557      6/18/2015 Corporation                                                                                                                             $3,199.74             $3,199.74
Inland National Real Estate Services LLC, as
managing agent for IREIT Little Rock Park Avenue
L.L.C.
Brian Moore
Vice President/Lease Administration
2901 Butterfield Road                                                      RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                    4558      6/18/2015 Corporation                                                                                                                             $4,202.06             $4,202.06
Indiana Michigan Power Co.
Gregory T. Holland
PO Box 2021                                                                RS Legacy Corporation fka RadioShack
Roanoke, VA 24022                                      4559      6/18/2015 Corporation                                                                                                                             $1,295.10             $1,295.10
Randall Benderson 1993‐1 Trust
Ken Labenski
570 Delaware Ave                                                           RS Legacy Corporation fka RadioShack
Buffalo, NY 14202                                      4560      6/18/2015 Corporation                                                  $3,016.95                                                                  $3,205.63             $6,222.58




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            Creditor Name and Address            Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
RB‐3 Associates
Attn: Ken Labenski
570 Delaware Ave                                                       RS Legacy Corporation fka RadioShack
Buffalo, NY 14202                                  4561      6/18/2015 Corporation                                                    $531.17                                                                  $1,596.89             $2,128.06
HENRY F. WONG
1128 SPRUCE STREET                                                     RS Legacy Corporation fka RadioShack
BERKELEY, CA 94707                                 4562      6/18/2015 Corporation                                                  $5,999.40                                                                                        $5,999.40
Kroger Limited Partnership I
Attn: Law Dept. ‐ Grubbs
Rick J. Landrum
1014 Vine Street                                                       RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                               4563      6/18/2015 Corporation                                                                                                                             $2,411.71             $2,411.71
BFW Associates
Ken Labenski
570 Delaware Ave                                                       RS Legacy Corporation fka RadioShack
Buffalo, NY 14202                                  4564      6/18/2015 Corporation                                                  $4,594.90                                                                  $5,812.95            $10,407.85
Columbia Gas Massachusetts
Attn: Bankruptcy Department
PO Box 2025                                                            RS Legacy Corporation fka RadioShack
Springfield, MA 01102‐2025                         4565      6/18/2015 Corporation                                                      $0.00                                                                                            $0.00
AEP Ohio
Gregory T. Holland
PO Box 2021                                                            RS Legacy Corporation fka RadioShack
Roanoke, VA 24022                                  4566      6/18/2015 Corporation                                                                                                                             $3,323.23             $3,323.23

GDF Suez Energy Resources NA, Inc.
Ray Cunningham, VP & Assistant General Counsel
1990 Post Oak Blvd, Ste. 1900                                          RS Legacy Corporation fka RadioShack
Houston, TX 77056                                  4567      6/16/2015 Corporation                                                      $0.00                                                                                            $0.00
West Bluff Center LLC
Sutin Thayer & Browne APC
Gail Gottlieb
Two Park Square
6565 Americas Parkway NE, Suite 1000                                   RS Legacy Corporation fka RadioShack
Albuquerque, NM 87110                              4568      6/18/2015 Corporation                                                  $8,450.85                                                                 $20,283.14            $28,733.99
Norco Corona Associates
Ronald K. Brown, Jr., Esq.
LAW OFFICES OF RONALD K. BROWN, JR., APC
901 Dove Street, Suite 120                                             RS Legacy Corporation fka RadioShack
Newport Beach, CA 92660                            4569      6/15/2015 Corporation                                                $93,228.14                                                                                        $93,228.14
Lopez, Bettina L.
127 Watson Avenue                                                      RS Legacy Corporation fka RadioShack
Hamilton, NJ 08610                                 4570      6/18/2015 Corporation                                                                                                                                                       $0.00
MICROMONT HOLDINGS 6, LLC
Jim Kropp, CFO
c/o U.S. Restaurant Properties, LLC
8140 Walnut Hill Lane, Suite 400                                       RS Legacy Corporation fka RadioShack
DALLAS, TX 75231                                   4571      6/18/2015 Corporation                                                                                                                             $4,686.71             $4,686.71
KENTUCKY OAKS MALL COMPANY
2445 BELMONT AVE
PO BOX 2186                                                            RS Legacy Corporation fka RadioShack
YOUNGSTOWN, OH 44504‐0186                          4572      6/18/2015 Corporation                                                $13,032.99                                                                                        $13,032.99



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                                                                                                                                                   Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                      Amount
HUNTINGTON MALL COMPANY
2445 Belmont Ave.
PO BOX 2186                                                             RS Legacy Corporation fka RadioShack
Youngstown, OH 44504‐0186                           4573      6/18/2015 Corporation                                                   $9,104.43                                                                                         $9,104.43
GOVERNOR'S SQUARE COMPANY
2445 BELMONT AVENUE
PO BOX 2186                                                             RS Legacy Corporation fka RadioShack
YOUNGSTOWN, OH 44504‐0186                           4574      6/18/2015 Corporation                                                 $76,201.40                                                                                         $76,201.40
MEADOWBROOK MALL COMPANY
2445 BELMONT AVE.
P O BOX 2186                                                            RS Legacy Corporation fka RadioShack
YOUNGSTOWN, OH 44504‐0186                           4575      6/18/2015 Corporation                                                $109,775.79                                                                                        $109,775.79
The Cafaro Northwest partnership dba South Hill
Mall
2445 BELMONT AVENUE
PO Box 2186                                                             RS Legacy Corporation fka RadioShack
YOUNGSTOWN, OH 44504‐0186                           4576      6/18/2015 Corporation                                                 $22,761.16                                                                                         $22,761.16

Cafaro Management Company, dba Millcreek Mall
Richard T. Davis, Asst. Counsel
2445 BELMONT AVENUE
P O BOX 2186                                                            RS Legacy Corporation fka RadioShack
YOUNGSTOWN, OH 44504                                4577      6/18/2015 Corporation                                                   $6,685.33                                                                                         $6,685.33
KOGAP ENTERPRISES INC
GRAMOR DEVELOPMENT UNIT 1022
PO BOX 2369                                                             RS Legacy Corporation fka RadioShack
PORTLAND, OR 97208‐2369                             4578      6/18/2015 Corporation                                                       $0.00                                                                                             $0.00
SANDUSKY MALL COMPANY
2445 BELMONT AVENUE
P.O. BOX 2186                                                           RS Legacy Corporation fka RadioShack
YOUNGSTOWN, OH 44504‐0186                           4579      6/18/2015 Corporation                                                 $71,126.99                                                                                         $71,126.99
LEXEL BATTERY (SHENZHEN) CO. LTD.
NO.2 GUANGTIAN ROAD,
LEXEL TECHNOLOGY PARK,
3RD INDUSTRIAL PARK, LUOTIAN
VILLAGE, SONGANG, BAOAN,

CHINA                                               4580      6/18/2015 Ignition L.P.                                              $786,476.24                                                                                        $786,476.24
TSCA‐245 Limited Partnership
Jonathan L. Howell, Attorney‐in‐fact
McCathern PLLC
3710 Rawlins Street, Suite 1600                                         RS Legacy Corporation fka RadioShack
Dallas, TX 75219                                    4581      6/18/2015 Corporation                                                                                                                               $2,564.95             $2,564.95
Hess Jr, Elwood J.
976 Reed Ave                                                            RS Legacy Corporation fka RadioShack
Franklinville, NJ 08322                             4582      6/18/2015 Corporation                                                   $5,792.00          $12,475.00                                                                    $18,267.00
SANDUSKY MALL COMPANY
2445 BELMONT AVENUE
P.O. BOX 2186                                                           RS Legacy Corporation fka RadioShack
YOUNGSTOWN, OH 44504‐0186                           4583      6/18/2015 Corporation                                                   $4,826.33                                                                                         $4,826.33




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                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
The Cafaro Northwest partnership dba South Hill
Mall
2445 BELMONT AVENUE
PO Box 2186                                                              RS Legacy Corporation fka RadioShack
YOUNGSTOWN, OH 44504‐0186                            4584      6/18/2015 Corporation                                                $87,387.07                                                                                        $87,387.07
Simms, Daniel
10601 9th Dr SE                                                          RS Legacy Corporation fka RadioShack
Everett, WA 98208                                    4585      6/18/2015 Corporation                                                                                                               $0.00                                   $0.00
KENTUCKY OAKS MALL COMPANY
2445 BELMONT AVE
PO BOX 2186                                                              RS Legacy Corporation fka RadioShack
YOUNGSTOWN, OH 44504‐0186                            4586      6/18/2015 Corporation                                                $83,413.36                                                                                        $83,413.36
Springfield Dept of Utilities
405 N Main Street                                                        RS Legacy Corporation fka RadioShack
Springfield, TN 37172                                4587      6/18/2015 Corporation                                                    $547.19                                                                                          $547.19
11718 Reisterstown Road Limited Partnership
James Howdyshell
11718 Reisterstown Road, Unit D                                          RS Legacy Corporation fka RadioShack
Reisterstown, MD 21136                               4588      6/18/2015 Corporation                                                                                                                                 $0.00                 $0.00

Cafaro Management Company, dba Millcreek Mall
Richard T. Davis, Asst. Counsel
2445 BELMONT AVENUE
P O BOX 2186                                                             RS Legacy Corporation fka RadioShack
YOUNGSTOWN, OH 44504                                 4589      6/18/2015 Corporation                                                $59,806.46                                                                                        $59,806.46
Regency Lumberton LLC
Elizabeth Amandus, Esq.
500 Lee St., East, Suite 1600
PO Box 553                                                               RS Legacy Corporation fka RadioShack
Charleston, WV 25322‐0553                            4590      6/18/2015 Corporation                                                                                                                             $2,473.09             $2,473.09
InvenTrust Property Management, LLC, f/k/a IA
Management, L.L.C., as managing agent for IA St.
Petersburg Gateway, L.L.C.
Frank Natanek
Managing Counsel
2901 Butterfield Road                                                    RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                  4591      6/18/2015 Corporation                                                                                                                             $5,463.12             $5,463.12

InvenTrust Property Management, LLC, f/k/a IA
Management, L.L.C., as managing agent for IA
McKinney Towne Crossing Limited Partnership
Attn: Bert Bittourna, Esquire
Law Department
2901 Butterfield Road                                                    RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                  4592      6/18/2015 Corporation                                                                                                                             $5,432.01             $5,432.01
InvenTrust Property Management, LLC, f/k/a IA
Management, LLC, as managing agent for IA Tulsa
71st, LLC
Frank Natanek
Managing Counsel
2901 Butterfield Road                                                    RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                  4593      6/18/2015 Corporation                                                                                                                             $3,994.68             $3,994.68



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                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount
224 West 57 Street LLC
Mark Frankel, as Attorney
800 Third Avenue 11th Fl                                                   RS Legacy Corporation fka RadioShack
New York, NY 10022                                     4594      6/18/2015 Corporation                                                                                                                                 $0.00                 $0.00
InvenTrust Property Management, LLC, f/k/a IA
Management, L.L.C., as managing agent for MB
Lincoln Mall, L.L.C.
Frank Natanek
Managing Counsel
2901 Butterfield Road                                                      RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                    4595      6/18/2015 Corporation                                                                                                                             $5,206.50             $5,206.50
QMI SECURITY SOLUTIONS
1661 Glenlake Ave                                                          RS Legacy Corporation fka RadioShack
Itasca, IL 60143                                       4596      6/18/2015 Corporation                                                $41,453.48                                                                                        $41,453.48
Adame, Maria Nalda
4254 Larson Ln.
Fort Worth, TX 76115                                   4597      6/18/2015 TE Electronics LP                                                $0.00                                                                                            $0.00
Spangler, Kimberly R.
983 Keiths Fork Road
PO Box 183                                                                 RS Legacy Corporation fka RadioShack
Horner, WV 26372                                       4598      6/19/2015 Corporation                                                     $71.51                                                                                           $71.51
Tracfone Wireless, Inc.
James P.S. Leshaw
Leshaw Law, P.A.
240 Crandon Boulevard, Suite 248                                           RS Legacy Corporation fka RadioShack
Key Biscayne, FL 33149                                 4599      6/19/2015 Corporation                                                                                                                           $470,658.50           $470,658.50
InvenTrust Property Management, LLC
f/k/a IA Management, LLC, as managing agent for IA
Lynchburg Wards, LLC
Frank Natanek
2901 Butterfield Road                                                      RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                    4600      6/18/2015 Corporation                                                                                                                             $4,877.19             $4,877.19
Southgate Retail Center, LLC, a Delaware limited
liability company
c/o Hanson Bridgett LLP
Attn: Jordan Lavinsky
425 Market Street, 26th Floor                                              RS Legacy Corporation fka RadioShack
SAN FRANCISCO, CA 94105                                4601      6/18/2015 Corporation                                                  $1,618.94                                                                                        $1,618.94
GOVERNOR'S SQUARE COMPANY
2445 BELMONT AVENUE
PO BOX 2186                                                                RS Legacy Corporation fka RadioShack
YOUNGSTOWN, OH 44504‐0186                              4602      6/18/2015 Corporation                                                  $9,040.20                                                                                        $9,040.20
Cruz, Imelda
6301 Canyon Circle                                                         RS Legacy Corporation fka RadioShack
Fort Worth, TX 76133                                   4603      6/18/2015 Corporation                                                      $0.00                                                                                            $0.00
Adame, Maria Nalda
4254 Larson Ln.                                                            RS Legacy Corporation fka RadioShack
Fort Worth, TX 76115                                   4604      6/18/2015 Corporation                                                  $7,617.60                                                                                        $7,617.60




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                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
Inland National Real Estate Service LLC, as managing
for IREIT Branson Hills, LLC
Brian Moore
Vice President/Lease Administration
2901 Butterfield Road                                                        RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                      4605      6/18/2015 Corporation                                                                                                                             $5,663.39             $5,663.39
Perimeter Investments, Inc.
C/O Coastal States Realty Inc.
246 2nd Street North                                                         RS Legacy Corporation fka RadioShack
Safety Harbor, FL 34695                                  4606      6/19/2015 Corporation                                                      $0.00                                                                                            $0.00
Huffman Mill Plaza Limited Partnership
Holmes P. Harden
Williams Mullen
301 Fayetteville Street                                                      RS Legacy Corporation fka RadioShack
Raleigh, NC 27601                                        4607      6/18/2015 Corporation                                                                                                                             $3,702.76             $3,702.76
STOCKTON PLAZA PARTNERS LLC
Allen J. Lynch
1448 15th Street, #100                                                       RS Legacy Corporation fka RadioShack
Santa Monica, CA 90404                                   4608      6/18/2015 Corporation                                                                                                                             $2,310.36             $2,310.36
Pelham Realty Group LLC
Jonathan P. Fine
One Washington Street
Suite 300                                                                    RS Legacy Corporation fka RadioShack
Wellesley, MA 02481                                      4609      6/18/2015 Corporation                                                                                                                             $2,212.41             $2,212.41
Knight, Wayne
8075 Kimberly Ct                                                             RS Legacy Corporation fka RadioShack
Largo, FL 33777                                          4610      6/18/2015 Corporation                                                                                                                                 $0.00                 $0.00
Pers, Matthew
61‐39 212 St                                                                 RS Legacy Corporation fka RadioShack
Bayside, NY 11364                                        4611      6/15/2015 Corporation                                                                         $0.00                                                                         $0.00
Benderson 85‐1 Trust
Ken Labenski
570 Delaware Ave                                                             RS Legacy Corporation fka RadioShack
Buffalo, NY 14202                                        4612      6/18/2015 Corporation                                                                                                                             $2,354.28             $2,354.28
Warwick Mall L.L.C.
Mark T Brennan
400 Bald Hill Rd                                                             RS Legacy Corporation fka RadioShack
Warwick, RI 02886                                        4613      6/18/2015 Corporation                                                                                                                             $5,714.29             $5,714.29
Waynesboro GF LP; JC Bar Properties Inc.
Robert Vgothier
415 FALLOWFIELD ROAD, SUITE 301                                              RS Legacy Corporation fka RadioShack
CAMP HILL, PA 17011                                      4614      6/18/2015 Corporation                                                                                                                               $147.58               $147.58
Amin, Mohammad
700 Lopes Ct                                                                 RS Legacy Corporation fka RadioShack
Woodland, CA 95776                                       4615      6/18/2015 Corporation                                                                         $0.00                                                                         $0.00
Micromont Holdings 6, LLC
c/o Howard Marc Spector
Spector & Johnson, PLLC
12770 Coit Road, Suite 1100                                                  RS Legacy Corporation fka RadioShack
Dallas, TX 75251                                         4616      6/18/2015 Corporation                                                $44,421.83                                                                                        $44,421.83




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                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
Tritell L.L.C.
c/o Pepple Cantu Schmidt PLLC
Attn: Jeffrey M. Hawkinson
1000 2nd Avenue, Suite 2950                                                RS Legacy Corporation fka RadioShack
Seattle, WA 98104                                      4617      6/18/2015 Corporation                                                                                                                              $6,251.59             $6,251.59
The Marion Plaza, Inc., dba Eastwood Mall
2445 Belmont Avenue
PO Box 2186                                                                RS Legacy Corporation fka RadioShack
Youngstown, OH 44504‐0186                              4618      6/18/2015 Corporation                                                 $95,254.93                                                                                        $95,254.93
150 E 42 Realty LLC & AM E 42 Realty LLC
Mark Frankel, as Attorney
800 Third Avenue 11th Floor                                                RS Legacy Corporation fka RadioShack
New York, NY 10022                                     4619      6/18/2015 Corporation                                                 $49,122.36                                                                  $36,841.78            $85,964.14
MEADOWBROOK MALL COMPANY
2445 BELMONT AVE.
P O BOX 2186                                                               RS Legacy Corporation fka RadioShack
YOUNGSTOWN, OH 44504‐0186                              4620      6/18/2015 Corporation                                                 $12,879.61                                                                                        $12,879.61
FRENCHTOWN SQUARE PARTNERSHIP
DBA THE MALL OF MONROE
2445 BELMONT AVENUE
PO BOX 2186                                                                RS Legacy Corporation fka RadioShack
YOUNGSTOWN, OH 44504‐0186                              4621      6/18/2015 Corporation                                                $114,960.36                                                                                       $114,960.36
Tritell L.L.C.
c/o Pepple Cantu Schmidt PLLC
Attn: Jeffrey M. Hawkinson
1000 2nd Avenue, Suite 2950                                                RS Legacy Corporation fka RadioShack
Seattle, WA 98104                                      4622      6/18/2015 Corporation                                                 $44,242.01                                                                                        $44,242.01
Zumut, Mona
PO Box 5095                                                                RS Legacy Corporation fka RadioShack
Concord, CA 94524                                      4623      6/18/2015 Corporation                                                     $673.00                                                                                          $673.00
UNIXTAR TECHNOLOGY INC.
13F, NO 98‐100
MinChuan Rd.
HSIN TIEN DIST.                                                            RS Legacy Global Sourcing Limited Partnership
NEW TAIPEI CITY                                                            fka RadioShack Global Sourcing Limited
TAIWAN                                                 4624      6/18/2015 Partnership                                                       $0.00                                                                                            $0.00
VMY Properties, LLC, assignee of Lancaster Venture
No. One. LP
Michael Veletsky
c/o 312 Management
5918 Lovell Avenue                                                         RS Legacy Corporation fka RadioShack
Fort Worth, TX 76107                                   4625      6/18/2015 Corporation                                                                                                                              $3,708.06             $3,708.06
HUNTINGTON MALL COMPANY
2445 Belmont Ave.
PO BOX 2186                                                                RS Legacy Corporation fka RadioShack
Youngstown, OH 44504‐0186                              4626      6/18/2015 Corporation                                                 $54,103.45                                                                                        $54,103.45
Sauceda, Providencia
3022 Refugio St.
Fort Worth, TX 76106                                   4627      6/18/2015 TE Electronics LP                                                 $0.00                                                                                            $0.00




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                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount

USR‐Desco Bellerive Plaza, LLC
f/k/a MCW‐RD Bellerive Plaza LLC, s‐i‐i to DESCO
Investment Co, LLC, s‐i‐i to DESCO Investment Co
Bryon E. Hale
Summers Compton Wells LLC
8909 Ladue Road                                                          RS Legacy Corporation fka RadioShack
St. Louis, MO 63124                                  4628      6/18/2015 Corporation                                                                                                                              $7,830.20             $7,830.20
Hal R. Dixon Trust
Terrance M. Tombari
4102 S Regal St, Ste 202                                                 RS Legacy Corporation fka RadioShack
Spokane, WA 99223                                    4629      6/18/2015 Corporation                                                                                                                              $3,339.60             $3,339.60
ASSOCIATED INVESTMENTS LLC
5007 TYLER DRIVE                                                         RS Legacy Corporation fka RadioShack
TROY, MI 48085                                       4630      6/19/2015 Corporation                                                   $1,285.71                                                                                        $1,285.71
UNIXTAR TECHNOLOGY INC.
13F, NO 98‐100
MinChuan Rd.
HSIN TIEN DIST.                                                          RS Legacy Global Sourcing Limited Partnership
NEW TAIPEI CITY                                                          fka RadioShack Global Sourcing Limited
TAIWAN                                               4631      6/19/2015 Partnership                                                $700,057.50                                                                                       $700,057.50
Smith, Chekera
1951 Doris St                                                            RS Legacy Corporation fka RadioShack
Shreveport, LA 71108                                 4632      6/18/2015 Corporation                                                                                                                                  $0.00                 $0.00
MUSICAL ELECTRONICS LIMITED
FLAT H, J, K, 12TH FLOOR,
WORLD TECH CENTRE,
95 HOW MING STREET,
KWUN TONG, KOWLOON
                                                                         RS Legacy Corporation fka RadioShack
HONG KONG                                            4633      6/18/2015 Corporation                                                $967,787.47                                                                                       $967,787.47
InvenTrust Property Management, LLC, f/k/a IA
Management, L.L.C., as managing agent for IA
Erlanger Silverlake L.L.C.
Frank Natanek
Managing Counsel
2901 Butterfield Road                                                    RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                  4634      6/18/2015 Corporation                                                                                                                              $2,069.43             $2,069.43
Smith, Chekera
1951 Doris St                                                            RS Legacy Corporation fka RadioShack
Shreveport, LA 71106                                 4635      6/18/2015 Corporation                                                                          $0.00                                                                         $0.00
Providencia Sauceda
3022 Refugio St.                                                         RS Legacy Corporation fka RadioShack
Fort Worth, TX 76106                                 4636      6/18/2015 Corporation                                                       $0.00                                                                                            $0.00
STOCKTON PLAZA PARTNERS LLC
FILE 1104
1801 W OLYMPIC BLVD                                                      RS Legacy Corporation fka RadioShack
PASADENA, CA 91199                                   4637      6/18/2015 Corporation                                                                          $0.00                                                                         $0.00




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                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
InvenTrust Property Management, LLC
f/k/a IA Management, LLC as managing agent for
MB Houston Antoine Limited Partnership
Frank Natanek, Managing Counsel
2901 Butterfield Road                                                        RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                      4638      6/18/2015 Corporation                                                                                                                             $4,192.56             $4,192.56
Duran, Maria
711 W. Boyce Ave
Forth Worth, TX 76115                                    4639      6/18/2015 TE Electronics LP                                                $0.00                                                                                            $0.00
Duran, Maria
711 W. Boyce Ave.                                                            RS Legacy Corporation fka RadioShack
Fort Worth, TX 76106                                     4640      6/18/2015 Corporation                                                      $0.00                                                                                            $0.00

USR‐Desco Richardson Crossing, LLC, as successor‐in‐
interest to SM Properties Richardson, LLC
Bryon E. Hale
Summers Compton Wells LLC
8909 Ladue Road                                                              RS Legacy Corporation fka RadioShack
St. Louis, MO 63124                                      4641      6/18/2015 Corporation                                                                                                                             $6,934.35             $6,934.35
Ramos, Evelin
2225 SW 131 Pl                                                               RS Legacy Corporation fka RadioShack
Miami, FL 33175                                          4642      6/18/2015 Corporation                                                                                                                                 $0.00                 $0.00
USR‐Desco Zumbehl Commons, LLC
c/o Summers Compton Wells
Bonnie L. Clair
8909 Ladue Road                                                              RS Legacy Corporation fka RadioShack
St. Louis, MO 63124                                      4643      6/18/2015 Corporation                                                                                                                                 $0.00                 $0.00
Conner‐Jackson, LaShad Rom
9022 Weymouth                                                                RS Legacy Corporation fka RadioShack
Houston, TX 77031                                        4644      6/18/2015 Corporation                                                      $0.00                                                                                            $0.00
The Marion Plaza, Inc., dba Eastwood Mall
2445 Belmont Avenue
PO Box 2186                                                                  RS Legacy Corporation fka RadioShack
Youngstown, OH 44504‐0186                                4645      6/18/2015 Corporation                                                  $7,222.75                                                                                        $7,222.75
King County Water District No 49
415 SW 153rd St                                                              RS Legacy Corporation fka RadioShack
Burien, WA 98166                                         4646      6/19/2015 Corporation                                                                                                               $0.00                                   $0.00
Maxxtoona Limited Partnership
Holmes P. Harden
PO Box 1000                                                                  RS Legacy Corporation fka RadioShack
Raleigh, NC 27602                                        4647      6/18/2015 Corporation                                                  $4,466.55                                                                  $2,532.50             $6,999.05
Southern California Gas Company
Mass Markets Credit & Collections
The Gas Company
PO Box 30337                                                                 RS Legacy Corporation fka RadioShack
Los Angeles, CA 90030‐0337                               4648      6/16/2015 Corporation                                                  $6,934.48                                                                                        $6,934.48
InvenTrust Property Management, LLC, f/k/a IA
Management, L.L.C., as managing agent for IA
Hiram Smith, L.L.C.
Frank Natanek, Managing Counsel
2901 Butterfield Road                                                        RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                      4649      6/18/2015 Corporation                                                                                                                             $3,445.52             $3,445.52



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                                                                                                                                                 Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                      Amount
11718 REISTERTOWN RD L P
11718 REISTERSTOWN RD STE D                                           RS Legacy Corporation fka RadioShack
REISTERSTOWN, MD 21136‐3372                       4650      6/18/2015 Corporation                                                                                             $0.00                                                       $0.00
InvenTrust Property Management, LLC, f/k/a IA
Management, L.L.C., as managing agent for IA
Monroe Poplin, L.L.C.
Attn: Bert Bittourna, Esquire
InvenTrust Property Management, LLC
Law Department
2901 Butterfield Road                                                 RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                               4651      6/18/2015 Corporation                                                                                                                               $4,814.97             $4,814.97
Ruiz, Tiffany May
5609 Tahama Street                                                    RS Legacy Corporation fka RadioShack
Sacramento, CA 95841                              4652      6/18/2015 Corporation                                              $1,737,525.00           $12,475.00                                                                 $1,750,000.00
COUNTY OF ALBEMARLE
401 MCINTIRE ROAD, ROOM 135                                           RS Legacy Corporation fka RadioShack
CHARLOTTESVILLE, VA 22902                         4653      6/19/2015 Corporation                                                                          $0.00            $461.32                                                     $461.32
CITY OF PALATKA
Michael J. Czymbor ‐ City Manager
201 N. 2nd St.                                                        RS Legacy Corporation fka RadioShack
Palatka, FL 32177                                 4654      6/19/2015 Corporation                                                       $0.00                                                                                             $0.00
CITY OF PALATKA
Michael J. Czymbor ‐ City Manager
201 N. 2nd St.                                                        RS Legacy Corporation fka RadioShack
Palatka, FL 32177                                 4655      6/19/2015 Corporation                                                     $165.86                                                                                           $165.86
Perimeter Investments, Inc.
C/O Coastal States Realty Inc.
246 2nd Street North                                                  RS Legacy Corporation fka RadioShack
Safety Harbor, FL 34695                           4656      6/19/2015 Corporation                                                       $0.00                                                                                             $0.00
LEXEL BATTERY (SHENZHEN) CO. LTD.
NO.2 GUANGTIAN ROAD,
LEXEL TECHNOLOGY PARK,
3RD INDUSTRIAL PARK, LUOTIAN
VILLAGE, SONGANG, BAOAN,                                              RS Legacy Global Sourcing Limited Partnership
                                                                      fka RadioShack Global Sourcing Limited
CHINA                                             4657      6/18/2015 Partnership                                                       $0.00                                                                                             $0.00
SIMON PROPERTY GROUP (TX) LP
Simon Property Group, Inc.
225 WEST WASHINGTON STREET                                            RS Legacy Corporation fka RadioShack
INDIANAPOLIS, IN 46204                            4658      6/19/2015 Corporation                                                                                                                                   $0.00                 $0.00
PLAZA CAROLINA MALL, L.P.
Simon Property Group, Inc.
225 West Washington Street                                            RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                            4659      6/19/2015 Corporation                                                   $2,504.28                                                                                         $2,504.28
NORTH AND CICERO DEVELOPMENT LLC
C/O HARLEM IRVING COMPANY INC
4104 N HARLEM AVE                                                     RS Legacy Corporation fka RadioShack
CHICAGO, IL 60706                                 4660      6/19/2015 Corporation                                                   $1,480.64                                                     $0.00                               $1,480.64
SIMON PROPERTY GROUP (TEXAS), L.P.
225 West Washington Street                                            RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                            4661      6/19/2015 Corporation                                                $144,335.76                                                                                        $144,335.76




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                                                                                                                                              Claim Amount         Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                       Amount
CENTER MORICHES SQUARE LLC
c/o DAMIANOS REALTY GROUP LLC
222 MIDDLE COUNTRY ROAD
SUITE 300                                                           RS Legacy Corporation fka RadioShack
SMITHTOWN, NY 11787                             4662      6/19/2015 Corporation                                                  $4,584.67                                                                                          $4,584.67
Rotterdam Square Mall
93 W. Campbell Road                                                 RS Legacy Corporation fka RadioShack
Schenectady, NY 12306                           4663      6/19/2015 Corporation                                                  $8,141.18                                                                                          $8,141.18
Vo, Mai‐Trang T
1701 Sheffield Place                                                RS Legacy Corporation fka RadioShack
Fort Worth, TX 76112                            4664      6/19/2015 Corporation                                                                           $0.00                                                                         $0.00
SIMON PROPERTY GROUP, LP
225 WEST WASHINGTON STREET                                          RS Legacy Corporation fka RadioShack
INDIANAPOLIS, IN 46204                          4665      6/19/2015 Corporation                                                    $913.45                                                                                            $913.45
CHARLES MALL COMPANY LTD PARTNERSHIP
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                            RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                          4666      6/19/2015 Corporation                                                                                                                                   $0.00                 $0.00
SIMON PROPERTY GROUP (TEXAS) L.P.
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
225 W. Washington Street                                            RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                          4667      6/19/2015 Corporation                                                  $1,589.53                $0.00                                                                     $1,589.53
SIMON PROPERTY GROUP, L.P.
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
225 W. Washington Street                                            RS Legacy Corporation fka RadioShack
INDIANAPOLIS, IN 46204                          4668      6/19/2015 Corporation                                                                                                                                   $0.00                 $0.00
C.B.N.J. LLC
c/o Emile Joseph Jr.
Allen & Gooch, A Law Corporation
2000 Kaliste Saloom Road, Suite 400                                 RS Legacy Corporation fka RadioShack
Lafayette, LA 70508                             4669      6/19/2015 Corporation                                                $20,391.29                                                                                          $20,391.29
Williams, Derek
44546 Bayview Ave
Apt 13204                                                           RS Legacy Corporation fka RadioShack
Clinton Twp, MI 48038                           4670      6/19/2015 Corporation                                                                           $0.00                                                                         $0.00
GREENWOOD PARK MALL, LLC.
Simon Property Group, Inc.
225 West Washington Street                                          RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                          4671      6/19/2015 Corporation                                               $111,521.77           $111,521.77                                                                   $223,043.54
SIMON PROPERTY GROUP, LP
225 WEST WASHINGTON STREET                                          RS Legacy Corporation fka RadioShack
INDIANAPOLIS, IN 46204                          4672      6/19/2015 Corporation                                                    $949.86                                                                                            $949.86
Colon, Jinellie Morales
PO Box 51705                                                        RS Legacy Corporation fka RadioShack
Toa Baja, PR 00950‐1705                         4673      6/19/2015 Corporation                                                                           $0.00                                                                         $0.00




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                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
Mall at Midland Park, LLC
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                            RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                          4674      6/19/2015 Corporation                                               $102,813.16                                                                                       $102,813.16
SIMON PROPERTY GROUP (TEXAS) L.P.
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
225 W. Washington Street                                            RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                          4675      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
SM EMPIRE MALL, LLC
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                            RS Legacy Corporation fka RadioShack
INDIANAPOLIS, IN 46204                          4676      6/19/2015 Corporation                                                    $360.80                                                                      $0.00               $360.80
Cameli, Gianfilippo
1423 Newton St NW Apt.101                                           RS Legacy Corporation fka RadioShack
Washington, DC 20010                            4677      6/19/2015 Corporation                                                      $0.00                                                                                            $0.00
Plaza Carolina Mall, L.P.
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                            RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                          4678      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
City Attorney
115 Executive Parkway
Suite 400                                                           RS Legacy Corporation fka RadioShack
Hudson, OH 44236                                4679      6/19/2015 Corporation                                                    $972.75                                                                                          $972.75
FIX, GREGORY E.
4104 NORTH HARLEM AVENUE                                            RS Legacy Corporation fka RadioShack
NORRIDGE, IL 60706                              4680      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
Simon Property Group, Inc.
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
225 W. Washington Street                                            RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                          4681      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
D‐Link Systems, Inc.
Attn: General Counsel
17595 Mt. Herrmann St.                                              RS Legacy Corporation fka RadioShack
Fountain Valley, CA 92708                       4682      6/19/2015 Corporation                                                                                     $191,631.92                                                 $191,631.92
CBS Interactive Inc.
c/o CBS Law Dept.
Attn: Helen D'Antona
51 West 52nd Street                                                 RS Legacy Corporation fka RadioShack
New York, NY 10019                              4683      6/19/2015 Corporation                                               $252,452.17                                                                                       $252,452.17
BELLWETHER PROPERTIES OF SOUTH CAROLINA.
LIMITED PARTNERSHIP.
Simon Property Group, Inc.
225 West Washington Street                                          RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                          4684      6/19/2015 Corporation                                                    $990.97                                                                      $0.00               $990.97



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                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
MALL AT INGRAM PARK, LLC
Simon Property Group, Inc.
225 West Washington Street                                                RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                4685      6/19/2015 Corporation                                                $13,397.16                                                                       $0.00            $13,397.16
GREENWOOD PARK MALL LLC
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
SIMON PROPERTY GROUP, INC.
225 West Washington Street                                                RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                4686      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
SIMON PROPERTY GROUP, L.P.
225 W. Washington Street                                                  RS Legacy Corporation fka RadioShack
INDIANAPOLIS, IN 46204                                4687      6/19/2015 Corporation                                                $88,930.30                                                                       $0.00            $88,930.30
BRIARWOOD LLC
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                  RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                4688      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
Quiñones Barriera, Evelyn
HC‐‐02
Box 3360                                                                  RS Legacy Corporation fka RadioShack
Penuelas, PR 00624                                    4689      6/19/2015 Corporation                                                                         $0.00                                                                         $0.00
LIVINGSTON MALL VENTURE
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. WASHINGTON STREET                                                  RS Legacy Corporation fka RadioShack
INDIANAPOLIS, IN 46204                                4690      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
Fashion Centre Mall, LLC
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                  RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                4691      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
Narayan, Aitesh
7009 61st St W.                                                           RS Legacy Corporation fka RadioShack
U.P., WA 98467                                        4692      6/19/2015 Corporation                                                                       $68.85                                                                         $68.85
LIVINGSTON MALL VENTURE
Simon Property Group, Inc.
225 West Washington Street                                                RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                4693      6/19/2015 Corporation                                                    $835.25                                                                      $0.00               $835.25
University City Associates, Inc. (Trustees of the
University of Penn) t/a University SC (Hamilton
Square), Philadelphia, PA
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                            RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                4694      6/19/2015 Corporation                                                                                                                             $6,230.09             $6,230.09




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                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
THE RETAIL PROPERTY TRUST
SIMON PROPERTY GROUP, INC.
225 WEST WASHINGTON STREET                                                  RS Legacy Corporation fka RadioShack
INDIANAPOLIS, IN 46204                                  4695      6/19/2015 Corporation                                                  $1,250.21                                                                      $0.00             $1,250.21
Cahill, Susan
18515 Oldenburg Ln                                                          RS Legacy Corporation fka RadioShack
Granada Hills, CA 91344                                 4696      6/19/2015 Corporation                                                     $32.46                                                                                           $32.46
HUNT, SANDRA
1901 GLENROY ST. NW                                                         RS Legacy Corporation fka RadioShack
ROANOKE, VA 24017                                       4697      6/19/2015 Corporation                                                     $49.29                                                                                           $49.29
Maiz Morales, Samuel J.
PO Box 51705                                                                RS Legacy Corporation fka RadioShack
Toa Baja, PR 00950‐1705                                 4698      6/19/2015 Corporation                                                                         $0.00                                                                         $0.00
Lovejoy Shop Investment, LLC
Anne Marie Smallwood
550 Long Point Road                                                         RS Legacy Corporation fka RadioShack
Mt. Pleasant, SC 29464                                  4699      6/19/2015 Corporation                                                  $5,691.79                                                                      $0.00             $5,691.79
Simon Property Group, Inc.
225 West Washington Street                                                  RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                  4700      6/19/2015 Corporation                                                  $1,118.93                                                                      $0.00             $1,118.93
Gibson, Lashan
13551 Marion                                                                RS Legacy Corporation fka RadioShack
Redford, MI 48239                                       4701      6/19/2015 Corporation                                                      $0.00                                                                                            $0.00
COLDHEAT LLC
Dragos Axinte
1420 NW Gilman Blvd
# 2354                                                                      RS Legacy Corporation fka RadioShack
Issaquah, WA 98027‐8371                                 4702      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
Morales, Jinellie
PO Box 51705                                                                RS Legacy Corporation fka RadioShack
Toa Baja, PR 00950‐1705                                 4703      6/19/2015 Corporation                                                                         $0.00                                                                         $0.00

AG‐WP Oak Park Owner, L.L.C. (WP Realty, Inc.) t/a
Oak Park Commons, South Plainfield, NJ
c/o David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                  4704      6/19/2015 Corporation                                                                                                                             $3,444.02             $3,444.02
NEBRASKA PUBLIC POWER DIST
Attn: Lisa McFarland
PO BOX 499                                                                  RS Legacy Corporation fka RadioShack
Columbus, NE 68602‐0499                                 4705      6/19/2015 Corporation                                                  $1,900.71                                                                                        $1,900.71
WP Mayfair Associates, L.P. (WP Realty) t/a Mayfair
Shopping Center, Philadelphia, PA
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                  4706      6/19/2015 Corporation                                                                                                                             $4,145.68             $4,145.68




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                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
SIMON PROPERTY GROUP (TEXAS) LP
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 WEST WASHINGTON STREET                                              RS Legacy Corporation fka RadioShack
INDIANAPOLIS, IN 46204                              4707      6/19/2015 Corporation                                                                                                                                  $0.00                 $0.00
D‐Link Systems, Inc.
ATTN: GENERAL COUNSEL
17595 Mt. Herrmann St
Fountain Valley, CA 92708                           4708      6/19/2015 Ignition L.P.                                                                                          $0.00                                                       $0.00
Orange County Water District
Miller & Axline
Miller, Daune C.
1050 Fulton Ave Ste 100                                                 RS Legacy Corporation fka RadioShack
Sacramento , CA 95825                               4709      6/19/2015 Corporation                                              $9,000,000.00                                                                                     $9,000,000.00
COLDHEAT LLC
13217 255TH AVE SE                                                      RS Legacy Corporation fka RadioShack
ISSAQUAH, WA 98027‐8371                             4710      6/19/2015 Corporation                                                 $13,827.50                                                                                        $13,827.50
VO, MAI‐TRANG T
1701 SHEFFIELD PLACE                                                    RS Legacy Corporation fka RadioShack
FORT WORTH, TX 76112                                4711      6/19/2015 Corporation                                                                                                                                  $0.00                 $0.00
FEDERAL REALTY INVESTMENT TRUST t/a TOWER
SHOPPING CENTER, SPRINGFIELD, VA
c/o David L. Pollack, Esq.
Billard Spahr LLP
1735 Market Street, 51st Floor                                          RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                              4712      6/19/2015 Corporation                                                                                                                              $7,009.32             $7,009.32
LIGHTING MAINTENANCE & SERV
663 W 4330 S                                                            RS Legacy Corporation fka RadioShack
SALT LAKE CITY, UT 84123                            4713      6/19/2015 Corporation                                                     $524.47                                                                                          $524.47
LEXEL BATTERY (SHENZHEN) CO. LTD.
NO.2 GUANGTIAN ROAD,
LEXEL TECHNOLOGY PARK,
3RD INDUSTRIAL PARK, LUOTIAN
VILLAGE, SONGANG, BAOAN,
                                                                        RS Legacy Corporation fka RadioShack
CHINA                                               4714      6/18/2015 Corporation                                                $247,796.44                                                                                       $247,796.44
Liquidity Solutions, Inc as Transferee of Lexel
Battery (Shenzhen) Co.Ltd.
Attn. Jeff Caress
Liquidity Solutions, Inc.
One University Plaza, Suite 508                                         RS Legacy Corporation fka RadioShack
Hackensack, NJ 07601                                4714      6/18/2015 Corporation                                                                                                         $439,999.77                              $439,999.77
RPAI King's Grant, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                               RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                  4715      6/19/2015 Corporation                                                                                                                              $2,448.60             $2,448.60




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                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                    Amount
SM EMPIRE MALL, LLC
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                    RS Legacy Corporation fka RadioShack
INDIANAPOLIS, IN 46204                                  4716      6/19/2015 Corporation                                                                                                                            $1,438.33             $1,438.33
Hamilton TC, LLC
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                    RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                  4717      6/19/2015 Corporation                                                                                                                                $0.00                 $0.00

Walgreen of Hawaii, LLC (DLC) Management Corp)
t/a Nuuana Shopping Center, Honolulu, HI
Ballard Spahr LLP
David L. Pollack, Esq.
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                  4718      6/19/2015 Corporation                                                                                                                           $23,993.13            $23,993.13
RPAI MCDONOUGH HENRY TOWN, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                   RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                      4719      6/19/2015 Corporation                                                                                                                                $0.00                 $0.00

RPAI North Richland Hills Davis Limited Partnership
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                   RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                      4720      6/19/2015 Corporation                                                                                                                            $4,621.50             $4,621.50

TRI CITY IMPROVEMENTS, LLC (DLC MANAGEMENT
CORP) T/A TRI CITY PLAZA, VERNON, CT
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                  4721      6/19/2015 Corporation                                                                                                                           $14,087.22            $14,087.22
FBBT/US Properties LLC
Ken Labenski
570 Delaware Ave                                                            RS Legacy Corporation fka RadioShack
Buffalo, NY 14202                                       4722      6/18/2015 Corporation                                                                                                                            $3,261.43             $3,261.43
Inland National Real Estate Services LLC, as
managing agent for IREIT Louisville Dixie Valley,
L.L.C.
Brian Moore
Vice President/Lease Administration
2901 Butterfield Road                                                       RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                     4723      6/18/2015 Corporation                                                                                                                            $2,231.47             $2,231.47




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                                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                     Amount                                                     Amount
PINTZUK BROWN REALTY GROUP INC
491 OLD YORK RD STE 200                                                       RS Legacy Corporation fka RadioShack
JENKINTOWN, PA 19046                                      4724      6/18/2015 Corporation                                                $30,666.09                                                                                        $30,666.09
FEDERAL REALTY INVESTMENT TRUST t/a TOWER
SHOPPING CENTER, SPRINGFIELD, VA
c/o David L. Pollack, Esq.
Billard Spahr LLP
1735 Market Street, 51st Floor                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                    4725      6/19/2015 Corporation                                                                                                                             $5,853.96             $5,853.96
AIRPORT 50 LLC
David W. Criswell, OSB#92593, Attorney
Ball Janik LLP
101 SW Main St., Ste. 1100                                                    RS Legacy Corporation fka RadioShack
Portland, OR 97204                                        4726      6/18/2015 Corporation                                                                                                                             $2,838.57             $2,838.57
Cruz, Imelda
6301 Canyon Circle
Fort Worth, TX 76133                                      4727      6/18/2015 TE Electronics LP                                                $0.00                                                                                            $0.00
FEDERAL REALTY INVESTMENT TRUST t/a TOWER
SHOPPING CENTER, SPRINGFIELD, VA
c/o David L. Pollack, Esq.
Billard Spahr LLP
1735 Market Street, 51st Floor                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                    4728      6/19/2015 Corporation                                                                                                                             $7,344.25             $7,344.25
REESE HEIRS LLC
MARCHETA REESE FRANKLIN
155 MORNING DOVE LANE                                                         RS Legacy Corporation fka RadioShack
BLUE RIDGE, VA 24064                                      4729      6/18/2015 Corporation                                                  $2,204.31                                                                  $1,791.99             $3,996.30

FR PIKE 7 LIMITED PARTNERSHIP (FEDERAL REALTY
INVESTMENT TRUST) t/a PIKE 7 PLAZA, VIENNA, VA
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                    4730      6/19/2015 Corporation                                                                                                                             $4,970.62             $4,970.62
WP Wells Associates, L.P. (WP Realty, Inc.) t/a Wells
Plaza, Wells, ME
Ballard Spahr LLP
David L. Pollack, Esq.
1735 Market Street, 51st Floor                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                    4731      6/19/2015 Corporation                                                                                                                             $1,646.78             $1,646.78
Federal Realty Partners L.P. (Federal Realty
Investment Trust) t/a Mount Vernon Shopping
Center, Alexandria, VA
Ballard Spahr LLP
David L. Pollack, Esq.
1735 Market Street, 51st Floor                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                    4732      6/19/2015 Corporation                                                                                                                            $16,568.73            $16,568.73




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                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                    Amount
Federal Realty Investment Trust t/a Laurel Shopping
Center, Laurel, MD
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                  4733      6/19/2015 Corporation                                                                                                                            $7,621.17             $7,621.17
Inland Western Worcester Lincoln Plaza, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                   RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                      4734      6/19/2015 Corporation                                                                                                                            $5,166.21             $5,166.21
RIVER POINTE IMPROVEMENTS, LP (DLC
MANAGEMENT CORP) t/a RIVER POINTE MALL,
MADISON, IN
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                  4735      6/19/2015 Corporation                                                                                                                            $2,334.05             $2,334.05
Sunburst Station LLC (Phillips Edison & Company)
t/a Sunburst Plaza, Glendale, AZ
c/o David L. Pollack, Esq.
Ballard Spahr, LLP
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                  4736      6/19/2015 Corporation                                                                                                                            $2,172.28             $2,172.28
Morales, Jinellie
PO Box 51705                                                                RS Legacy Corporation fka RadioShack
Toa Baja, PR 00950‐1705                                 4737      6/19/2015 Corporation                                                                                                                                $0.00                 $0.00
Lakewood Station LLC (Phillips Edison & Company)
t/a Lakewood Plaza, Spring Hill, FL
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                  4738      6/19/2015 Corporation                                                                                                                            $3,717.99             $3,717.99
Gibson, Lashan
13551 Marion                                                                RS Legacy Corporation fka RadioShack
Redford, MI 48239                                       4739      6/19/2015 Corporation                                                                                                                                $0.00                 $0.00
Perez Bermudez, Jose D.
Paseo Angel 2532 2nd Secc. Levittown                                        RS Legacy Corporation fka RadioShack
Toa Baja, PR 00949                                      4740      6/19/2015 Corporation                                                                        $0.00                                                                         $0.00
Taylor, Becky
PO Box 1587                                                                 RS Legacy Corporation fka RadioShack
El Dorado, AR 71731‐1587                                4741      6/19/2015 Corporation                                                                                                                                $0.00                 $0.00
Inland Western Gurnee, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                   RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                      4742      6/19/2015 Corporation                                                                                                                            $6,987.81             $6,987.81




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                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount

PDSI, Inc. (American Resurgens Management Corp)
t/a Trumans Corner S.C., Grandview, MO
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 4743      6/19/2015 Corporation                                                                                                                              $2,652.17             $2,652.17

FR Shoppers World, LLC (Federal Realty Investment
Trust) t/a 29th Place, Charlottesville, VA
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 4744      6/19/2015 Corporation                                                                                                                              $4,050.57             $4,050.57

Brixmor Property Owner II, LLC (Brixmor Property
Group, Inc.) t/a Vallejo Corners, Vallejo, CA
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 4745      6/19/2015 Corporation                                                                                                                              $4,259.93             $4,259.93
D‐Link Systems, Inc.                                                       RS Legacy Global Sourcing Limited Partnership
17595 Mt. Herrmann St.                                                     fka RadioShack Global Sourcing Limited
Fountain Valley, CA 92708                              4746      6/19/2015 Partnership                                                                                            $0.00                                                       $0.00
Hunt, Sandra
1901 Glenroy St. NW.                                                       RS Legacy Corporation fka RadioShack
Roanoke, VA 24017                                      4747      6/19/2015 Corporation                                                      $49.29                                                                                           $49.29
Columbia Gas of Massachusetts
Elisabete Goodrow, Team Lead
2025 Roosevelt Ave                                                         RS Legacy Corporation fka RadioShack
Springfield, MA 01104                                  4748      6/19/2015 Corporation                                                                                                                                 $35.38                $35.38

Thomaston South Associates, LLC t/a Thomaston
South Shopping Center, Thomaston, GA
David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 4749      6/19/2015 Corporation                                                                                                                              $1,857.14             $1,857.14
Town & Country Noblesville Station LLC (Phillips
Edison & Company) t/a Town & Country Shopping
Center, Noblesville, IN
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 4750      6/19/2015 Corporation                                                                                                                              $2,266.05             $2,266.05
Brixmor Cross Keys Commons LLC (Brixmor Property
Group, Inc.) t/a Cross Keys Commons, Turnersville,
NJ
c/o David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 4751      6/19/2015 Corporation                                                                                                                              $3,135.11             $3,135.11



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                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
Musson, Pamela
4404 W Tarkio St                                                             RS Legacy Corporation fka RadioShack
Springfield, MO 65802                                    4752      6/18/2015 Corporation                                                      $0.00                                                                                            $0.00
Puget Sound Energy
Vendor Collections Dept ‐ BOT‐02G
PO Box 97034                                                                 RS Legacy Corporation fka RadioShack
Bellevue, WA 98009‐7034                                  4753      6/19/2015 Corporation                                                $17,040.50                                                                                        $17,040.50

Brixmor GA Apollo IV Sub LLC (Brixmor Property
Group, Inc.) t/a Perlis Plaza, Americus, GA
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                   4754      6/19/2015 Corporation                                                                                                                               $771.43               $771.43
New Plan Hampton Village, LLC (Brixmor Property
Group, Inc.) t/a Hampton Village Centre, Rochester
Hills, MI
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                   4755      6/19/2015 Corporation                                                                                                                             $3,956.48             $3,956.48
Airport Mall Associates, LLC (WP Realty) t/a Airport
Mall, Bangor, ME
David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                               RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                                   4756      6/19/2015 Corporation                                                                                                                             $1,974.25             $1,974.25
Lakeforest Owner LLC
Yeny C. Estrada, Esq.
Locke Lord LLP
111 S. Wacker Drive, 41st Floor                                              RS Legacy Corporation fka RadioShack
Chicago, IL 60606                                        4757      6/19/2015 Corporation                                                                                                                             $8,190.70             $8,190.70
RPAI Chicago Brickyard, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                    RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                       4758      6/19/2015 Corporation                                                  $7,823.56                                                                                        $7,823.56
Mall at Solomon Pond, LLC
Simon property group, Inc.
225 West Washington Street                                                   RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                   4759      6/19/2015 Corporation                                                    $531.87                                                                      $0.00               $531.87
Brixmor GA Apollo IV Sub LLC (Brixmor Property
Group, Inc.) t/a Genesee Valley Shopping Center,
Genesee, NY
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                   4760      6/19/2015 Corporation                                                                                                                             $3,154.29             $3,154.29




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                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
BROOKLYN PLAZA, LTD.
Gregory Houle
9255 SUNSET BLVD SUITE 1030                                                 RS Legacy Corporation fka RadioShack
WEST HOLLYWOOD, CA 90069                                4761      6/19/2015 Corporation                                                    $450.00                                                                                          $450.00

Inland Western Cypress Mill Limited Partnership
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                   RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                      4762      6/19/2015 Corporation                                                  $1,991.75                                                                                        $1,991.75
REESE HEIRS LLC
MARCHETA REESE FRANKLIN
155 MORNING DOVE LANE                                                       RS Legacy Corporation fka RadioShack
BLUE RIDGE, VA 24064                                    4763      6/18/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
Union Consumer Improvements, LLC (DLC
Management Corp) t/a Union Consumer Square,
Cheektowaga, NY
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                                  4764      6/19/2015 Corporation                                                                                                                             $3,843.16             $3,843.16
Albany Mall LLC (Aronov Realty Management, Inc.)
t/a Albany Mall, Albany, GA
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                                  4765      6/19/2015 Corporation                                                                                                                             $4,925.18             $4,925.18

Brixmor Oakwood Commons LLC (Brixmor Property
Group, Inc.) t/a Oakwood Commons, Hermitage, TN
c/o David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                  4766      6/19/2015 Corporation                                                                                                                             $3,295.76             $3,295.76
Parmatown Station LLC (Phillips Edison & Company)
t/a Parmatown Mall, Parma, OH
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                                  4767      6/19/2015 Corporation                                                                                                                             $4,808.09             $4,808.09
ERT 163rd Street Mall, LLC (Brixmor Property Group,
Inc.) t/a Mall at 163rd Street, Miami, FL
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                                  4768      6/19/2015 Corporation                                                                                                                             $6,227.13             $6,227.13
Cruz, Imelda
6301 Canyon Circle
Fort Worth, TX 76133                                    4769      6/20/2015 TE Electronics LP                                                $0.00                                                                                            $0.00




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                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
Rivera, David Joe
4333 Weber Street Apt #306                                                   RS Legacy Corporation fka RadioShack
Fort Worth, TX 76106                                     4770      6/19/2015 Corporation                                                                         $0.00                                                                         $0.00
CP ANTELOPE SHOPS LLC
2009 PORTERFIELD WAY
SUITE P                                                                      RS Legacy Corporation fka RadioShack
UPLAND, CA 91786                                         4771      6/19/2015 Corporation                                                  $8,683.49                                                                  $4,185.71            $12,869.20
Hernandez, Julia
5104 Lower Birdville Rd.                                                     RS Legacy Corporation fka RadioShack
Haltom City, TX 76117                                    4772      6/19/2015 Corporation                                                                         $0.00                                                                         $0.00

Quail Valley Station LLC (Phillips Edison & Company)
t/a Quail Valley Shopping Center, Missouri City, TX
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                               RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                                   4773      6/19/2015 Corporation                                                                                                                             $2,141.02             $2,141.02
Lakeforest Owner LLC (2)
c/o Yeny C. Estrada, Esq.
Locke Lord LLP
111 S. Wacker Drive
41st Floor                                                                   RS Legacy Corporation fka RadioShack
Chicago, IL 60606                                        4774      6/19/2015 Corporation                                               $173,143.04                                 $0.00                                 $0.00           $173,143.04
Inland Western Gurnee, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                    RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                       4775      6/19/2015 Corporation                                                $10,523.96                                                                                        $10,523.96
Inland Western Houston Sawyer Heights Limited
Partnership
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                    RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                       4776      6/19/2015 Corporation                                                                                                                             $6,275.66             $6,275.66

Brixmor GA Waterbury LLC (Brixmor Property
Group, Inc.) t/a Waterbury Plaza, Waterbury, CT
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                               RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                                   4777      6/19/2015 Corporation                                                                                                                             $1,689.64             $1,689.64
SUGARLOAF MILLS LIMITED PARTNERSHIP
Simon Property Group, Inc.
225 West Washington Street                                                   RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                   4778      6/19/2015 Corporation                                                    $336.42                                                                      $0.00               $336.42




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                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
Inland Western Fullerton MetroCenter, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                   RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                      4779      6/19/2015 Corporation                                                  $6,967.45                                                                                        $6,967.45

Brixmor Hanover SC, LLC (Brixmor Property Group,
Inc.) t/a Hanover Square, Mechanicsville, VA
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                                  4780      6/19/2015 Corporation                                                                                                                             $1,267.05             $1,267.05
MAYFLOWER SQUARE ONE, LLC
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                    RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                  4781      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
BRE Retail Residual Owner 6 LLC (Brixmor Property
Group, Inc.) t/a Sun Ray Shopping Center, St. Paul,
MN
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                                  4782      6/19/2015 Corporation                                                                                                                             $2,531.48             $2,531.48
Dover Mall, LLC
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                    RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                  4783      6/19/2015 Corporation                                               $142,909.93                                                                       $0.00           $142,909.93
Orange Improvements Partnership (DLC
Management Corp) t/a Orange Promenade, Orange,
CT
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                  4784      6/19/2015 Corporation                                                                                                                             $3,773.22             $3,773.22

Nordan Station LLC (Phillips Edison & Company) t/a
Nordan Shopping Center, Danville, VA
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                                  4785      6/19/2015 Corporation                                                                                                                             $1,064.48             $1,064.48
Del Amo Fashion Ctr Operating Co., L.L.C.
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc
225 W. Washington Street                                                    RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                  4786      6/19/2015 Corporation                                                                                                                             $3,355.82             $3,355.82



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                                                                                                                                 Current General                                            Current 503(b)(9)
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            Creditor Name and Address                   Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                     Amount                                                     Amount
Inland Western Fullerton MetroCenter, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                     RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                        4787      6/19/2015 Corporation                                                                                                                             $5,102.16             $5,102.16
Mall at Katy Mills, L.P.
Simon Property Group, Inc.
225 West Washington Street                                                    RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                    4788      6/19/2015 Corporation                                                  $2,001.33                                                                                        $2,001.33
Quiñones Barriera, Evelyn
HC‐‐02
Box 3360                                                                      RS Legacy Corporation fka RadioShack
Penuelas, PR 00624                                        4789      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
Flag City Station LLC (Phillips Edison & Company) t/a
Flag City Station, Findlay, OH
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                                RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                                    4790      6/19/2015 Corporation                                                                                                                             $2,154.61             $2,154.61
Inland Western Bethlehem Saucon Valley DST
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                     RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                        4791      6/19/2015 Corporation                                                  $4,332.77                                                                                        $4,332.77

Inland Western Cypress Mill Limited Partnership
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                     RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                        4792      6/19/2015 Corporation                                                  $2,675.82                                                                                        $2,675.82
Roch and Diane Houle Family Trust Dated July 11,
2002
Greegory Houle
9255 Sunset Blvd., Suite 1030                                                 RS Legacy Corporation fka RadioShack
West Hollywood, CA 90069                                  4793      6/19/2015 Corporation                                                    $450.00                                                                                          $450.00
SUGARLOAF MILLS LIMITED PARTNERSHIP
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                      RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                    4794      6/19/2015 Corporation                                                  $1,146.94                                                                      $0.00             $1,146.94
Miami County
Attn: Consumer Protection Agency
Jim Stubbs, County Treasurer
201 W. Main St.                                                               RS Legacy Corporation fka RadioShack
Troy, OH 45373                                            4795      6/19/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00




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            Creditor Name and Address            Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
Mall at Midland Park, LLC
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                               RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                             4796      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
Colorado Mills Mall Limited Partnership
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                               RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                             4797      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
RPAI McAllen Limited Partnership f/k/a Inland
Western McAllen Limited Partnership
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                              RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                 4798      6/19/2015 Corporation                                                                                                                             $5,357.10             $5,357.10
UNIVERSITY MALL, LLC (ARONOV REALTY
MANAGEMENT, INC.) t/a UNIVERSITY MALL,
TUSCALOOSA, AL
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                         RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                             4799      6/19/2015 Corporation                                                                                                                             $4,904.93             $4,904.93
Hurstbourne Station LLC (Phillips Edison &
Company) t/a Town Fair Center, Louisville, KY
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                         RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                             4800      6/19/2015 Corporation                                                                                                                             $1,839.35             $1,839.35
Colorado Mills Mall Limited Partnership
Simon Property Group, Inc.
225 West Washington Street                                             RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                             4801      6/19/2015 Corporation                                                    $610.44              $0.00                                                                       $610.44
RPAI McDonough Henry Town, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                              RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                 4802      6/19/2015 Corporation                                                $10,866.11                                                                                        $10,866.11

GTM Development, Ltd. (Cencor Realty Services,
Inc.) t/a Golden Triangle Mall, Denton, TX
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                         RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                             4803      6/19/2015 Corporation                                                                                                                             $2,044.76             $2,044.76




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                                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                     Amount                                                     Amount

Brixmor Montebello Plaza, L.P. (Brixmor Property
Group, Inc.) t/a Montebello Plaza, Montebello, CA
c/o David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                    4804      6/19/2015 Corporation                                                                                                                             $3,671.29             $3,671.29
Shopping Center Associates
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                      RS Legacy Corporation fka RadioShack
INDIANAPOLIS, IN 46204                                    4805      6/19/2015 Corporation                                                                                                                             $3,950.85             $3,950.85
Federal Realty Investment Trust t/a Troy Shopping
Center, Parsippany‐Troy, NJ
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                    4806      6/19/2015 Corporation                                                                                                                            $16,161.54            $16,161.54

Fairlawn Station LLC (Phillips Edison & Company) t/a
Fairlawn Town Centre, Fairlawn, OH
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                    4807      6/19/2015 Corporation                                                                                                                             $7,948.68             $7,948.68

Rolling Hills Station LLC (Phillips Edison & Company)
t/a Rolling Hills Shopping Center, Tucson, AZ
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                    4808      6/19/2015 Corporation                                                                                                                             $4,973.51             $4,973.51

Brixmor Tri‐City Plaza LLC (Brixmor Property Group,
Inc.) t/a Tri‐City Plaza, Somersworth, NJ
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                    4809      6/19/2015 Corporation                                                                                                                             $2,852.83             $2,852.83
Duran, Daenna
711 W Boyce Ave                                                               RS Legacy Corporation fka RadioShack
Fort Worth, TX 76115                                      4810      6/19/2015 Corporation                                                  $2,375.00                                                                                        $2,375.00
SWC Fry Road/W Little York, Ltd. (Cencor Realty
Services, Inc.) t/a Eagle Ranch Shopping Center,
Katy, TX
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                    4811      6/19/2015 Corporation                                                                                                                             $3,491.07             $3,491.07




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                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
Western Sun, LLC (Cencor Realty Services, Inc.) t/a
Legacy Coit Village, Planto, TX
c/o Ballard Spahr LLP
David L. Pollack, Esq.
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                  4812      6/19/2015 Corporation                                                                                                                             $1,375.07             $1,375.07

Loch Raven Improvements, LLC (DLC Management
Corp) t/a Loch Raven Plaza, Towson, MD
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                  4813      6/19/2015 Corporation                                                                                                                             $3,561.12             $3,561.12
Roch and Diane Houle Family Trust Dated July 11,
2002
Greegory Houle
9255 Sunset Blvd., Suite 1030                                               RS Legacy Corporation fka RadioShack
West Hollywood, CA 90069                                4814      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00

Infor (US), Inc.
Gregory M. Giangiordano, SVP & General Counsel
40 General Warren Blvd. Suite 110                                           RS Legacy Corporation fka RadioShack
Malvern, PA 19355                                       4815      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
RPAI McDonough Henry Town, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                   RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                      4816      6/19/2015 Corporation                                                      $0.00                                                                                            $0.00
Inland Western Spokane Northpoint, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                   RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                      4817      6/19/2015 Corporation                                                  $3,869.35                                                                                        $3,869.35
MEPT Woburn Mall, LLC
c/o Seyfarth Shaw LLP
Attn: Marianne M. Dickson, Esq.
560 Mission Street, Suite 3100                                              RS Legacy Corporation fka RadioShack
San Francisco, CA 94105                                 4818      6/19/2015 Corporation                                                  $9,981.87                                                                                        $9,981.87
BRIARWOOD LLC
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                    RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                  4819      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
BROOKLYN PLAZA, LTD.
Gregory Houle
9255 SUNSET BLVD SUITE 1030                                                 RS Legacy Corporation fka RadioShack
WEST HOLLYWOOD, CA 90069                                4820      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00




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                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                     Amount
RPAI McAllen Limited Partnership F/K/A Inland
Western McAllen Limited Partnership
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                               RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                  4821      6/19/2015 Corporation                                                    $843.04                                                                                          $843.04
Southport 2013 LLC
c/o Heidenberg Properties
234 Closter Dock Rd.                                                    RS Legacy Corporation fka RadioShack
Closter, NJ 07624                                   4822      6/19/2015 Corporation                                                    $460.56                                                    $0.00                                 $460.56
Trustev Limited
Stephen Fanning
2100 Cork Airport Business Park
Cork                                                                    RS Legacy Corporation fka RadioShack
Ireland                                             4823      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
Trustev Limited
Stephen Fanning
2100 Cork Airport Business Park
Cork                                                                    RS Legacy Corporation fka RadioShack
Ireland                                             4824      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
White Plains Galleria LTD Partnership.
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                              4825      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
Arizona Mills Mall, LLC
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                              4826      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
Fairfax Company of Virginia L.L.C.
Andrew S. Conway
200 E. Long Lake Road
Suite 300                                                               RS Legacy Corporation fka RadioShack
Bloomfield Hills, MI 48304                          4827      6/19/2015 Corporation                                                                                                                             $3,234.65             $3,234.65
Plentino Realty, Ltd. (Pliskin Realty and
Development, Inc.) located at 940 Third Avenue,
New York, NY
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                          RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                              4828      6/19/2015 Corporation                                                                                                                            $24,173.56            $24,173.56
Newport Centre, LLC
Simon Property Group, Inc.
225 West Washington Street                                              RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                              4829      6/19/2015 Corporation                                               $236,602.68                                                                                       $236,602.68




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                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount

RPAI North Richland Hills Davis Limited Partnership
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                   RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                      4830      6/19/2015 Corporation                                                    $682.81                                                                                          $682.81
Mall at Potomac Mills LLC
Simon Property Group, Inc.
225 West Washington Street                                                  RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                  4831      6/19/2015 Corporation                                               $125,146.75               $0.00                                                                   $125,146.75

Shakopee Station LLC (Phillips Edison & Company)
t/a Crossroads of Shakopee, Shakopee, MN
Ballard Spahr LLP
c/o David L. Pollack, Esq.
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                  4832      6/19/2015 Corporation                                                                                                                             $4,146.04             $4,146.04
Mall at Katy Mills, L.P.
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                    RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                  4833      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
BAHRAM & MALIHE F BARGRIZAN Y
2170 CENTURY PARK E APT 311 S                                               RS Legacy Corporation fka RadioShack
LOS ANGELES, CA 90067                                   4834      6/19/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
UNIVERSITY PARK MALL LLC
867525 RELIABLE PARKWAY                                                     RS Legacy Corporation fka RadioShack
CHICAGO, IL 60686‐0075                                  4835      6/19/2015 Corporation                                                    $640.95                                                                      $0.00               $640.95
Mall at Gurnee Mills, LLC
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                    RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                  4836      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
Bellwether Properties of S. Carolina, LTD
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                    RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                  4837      6/19/2015 Corporation                                                    $856.73                                                                      $0.00               $856.73

Brixmor Holdings 12 SPE, LLC (Brixmor Property
Group, Inc.) t/a Northtown Plaza, Houston, TX
Ballard Spahr LLP
David L. Pollack, Esq.
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                  4838      6/19/2015 Corporation                                                                                                                             $5,050.53             $5,050.53




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                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount
Inland Western Houston Sawyer Heights Limited
Partnership
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                  RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                     4839      6/19/2015 Corporation                                                $88,336.35                                                                                        $88,336.35

Guadalupe Station LLC (Phillips Edison & Company)
t/a Guadalupe Plaza, Albuquerque, NM
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 4840      6/19/2015 Corporation                                                                                                                             $1,406.87             $1,406.87

MEPT West Cobb Marketplace, LLC
Bentall Kennedy
Kelli Dickerson, Vice President, Asset Management
7315 Wisconsin Avenue, Ste 350W                                            RS Legacy Corporation fka RadioShack
Bethesda, MD 20814                                     4841      6/19/2015 Corporation                                                                                                                             $2,960.51             $2,960.51
Grafton II Associates t/a Washington Square, Store
No. 01‐1768
C/O David A. Greer, attorney for claimant
500 East Main Street, Suite 1225                                           RS Legacy Corporation fka RadioShack
Norfolk, VA 23510                                      4842      6/19/2015 Corporation                                                                                                                             $2,155.73             $2,155.73
Westland South Shore Mall L.P.
c/o LeClairRyan, A Professional Corporation
Attn: Niclas A. Ferland, Esq.
545 Long Wharf Drive, 9th Floor                                            RS Legacy Corporation fka RadioShack
New Haven, CT 06511                                    4843      6/19/2015 Corporation                                                                                                                             $6,832.19             $6,832.19
PRINCETON PLAZA LLC
C/O ERSHIG PROPERTIES INC
PO BOX 634184                                                              RS Legacy Corporation fka RadioShack
CINCINNATI, OH 45263                                   4844      6/19/2015 Corporation                                                    $643.76                                                                                          $643.76
FAIRFAX COMPANY OF VIRGINIA LLC
c/o Andrew S. Conway
DEPT 56501
PO BOX 67000                                                               RS Legacy Corporation fka RadioShack
DETROIT, MI 48267                                      4845      6/19/2015 Corporation                                                      $0.00                                                                                            $0.00
The Times
Attn: Credit Manager
PO Box 838                                                                 RS Legacy Corporation fka RadioShack
Gainesville, GA 30503                                  4846      6/19/2015 Corporation                                                  $2,640.52                                                                                        $2,640.52

BRE Mariner Carrollwood LLC (Brixmor Property
Group, Inc.) t/a Carrollwood Center, Tampa, FL
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 4847      6/19/2015 Corporation                                                                                                                             $1,262.90             $1,262.90




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                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Hoke Crossing Station LLC (Phillips Edison &
Company) t/a Hoke Crossing, Clayton, OH
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                            RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                4848      6/19/2015 Corporation                                                                                                                             $3,036.79             $3,036.79

Arapahoe Crossings, L.P. (Brixmor Property Group,
Inc.) t/a Arapahoe Crossings, Aurora, CO
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                            RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                4849      6/19/2015 Corporation                                                                                                                             $4,210.51             $4,210.51
SOUTH HILLS VILLAGE ASSOCIATES, L.P.
Simon Property Group, Inc.
225 West Washington Street                                                RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                4850      6/19/2015 Corporation                                               $115,524.44               $0.00                                                                   $115,524.44
Inland TRS Property Management, Inc., as managing
agent for Inland Fort Smith, L.L.C.
Beth Sprecher Brooks, Esquire
General Counsel
2901 Butterfield Road                                                     RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                   4851      6/19/2015 Corporation                                                                                                                             $2,631.18             $2,631.18
SHOPPING CENTER ASSOCIATES
Simon Property Group, Inc.
225 West Washington Street                                                RS Legacy Corporation fka RadioShack
INDIANAPOLIS, IN 46204                                4852      6/19/2015 Corporation                                                  $1,008.96                                                                                        $1,008.96

Brixmor Holdings 12 SPE, LLC (Brixmor Property
Group, Inc.) t/a Parktown, Deer Park, TX
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                            RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                4853      6/19/2015 Corporation                                                                                                                             $2,552.39             $2,552.39
EMI SANTA ROSA LIMITED PARTNERSHIP
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                  RS Legacy Corporation fka RadioShack
INDIANAPOLIS, IN 46204                                4854      6/19/2015 Corporation                                                  $1,439.96              $0.00                                                                     $1,439.96
NEWPORT CENTRE, LLC
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                  RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                4855      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
Inland TRS Property Management, Inc., as managing
agent for Inland Westgate, L.L.C.
Beth Sprecher Brooks, Esquire
General Counsel
2901 Butterfield Road                                                     RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                   4856      6/19/2015 Corporation                                                                                                                             $1,399.49             $1,399.49



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            Creditor Name and Address               Claim No.   Claim Date                    Debtor                         Unsecured Claim                                               Admin Priority
                                                                                                                                                    Claim Amount         Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                       Amount
COUNTRYSIDE MALL LLC
Niclas A. Ferland, Esq.
LeClairRyan, A Professional Corporation
545 Long Wharf Drive, 9th Floor                                           RS Legacy Corporation fka RadioShack
New Haven, CT 06511                                   4857      6/19/2015 Corporation                                                                                                                               $4,925.51             $4,925.51
Franklin Mills Associates Limited Partnership
Simon Property Group, Inc.
225 West Washington Street                                                RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                4858      6/19/2015 Corporation                                               $116,097.58           $116,097.58                                                                   $232,195.16
Mayflower Apple Blossom, L.P.
Simon Property Group, Inc.
225 West Washington Street                                                RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                4859      6/19/2015 Corporation                                                    $826.03                                                                        $0.00               $826.03

Five Town Station LLC (Phillips Edison & Company)
t/a Five Town Plaza, Springfield, MA
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                            RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                4860      6/19/2015 Corporation                                                                                                                                 $439.44               $439.44
MAYFLOWER GREENDALE, L.P.
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                  RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                4861      6/19/2015 Corporation                                                                                                                                   $0.00                 $0.00
Braintree Property Associates Ltd Partnership
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                  RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                4862      6/19/2015 Corporation                                                                                                                                   $0.00                 $0.00
COLLEGE CENTER
C/O JOHN PARKYN INC
20241 AETNA ST                                                            RS Legacy Corporation fka RadioShack
WOODLAND HILLS, CA 91367                              4863      6/19/2015 Corporation                                                                                                                                   $0.00                 $0.00
CITY OF CAMARILLO
601 CARMEN
PO BOX 37                                                                 RS Legacy Corporation fka RadioShack
CAMARILLO, CA 93011                                   4864      6/19/2015 Corporation                                                    $102.98                                                                                            $102.98
Southport 2013 LLC
c/o Heidenberg Properties
234 Closter Dock Rd.                                                      RS Legacy Corporation fka RadioShack
Closter, NJ 07624                                     4865      6/19/2015 Corporation                                                                                                                                   $0.00                 $0.00
Mayflower Greendale, L.P.
Simon Property Group, Inc.
225 West Washington Street                                                RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                4866      6/19/2015 Corporation                                                    $460.17                $0.00                                                                       $460.17
Abacus Bloodstock Agency, LLC and JBRO, LLC
John Bronaugh
300 East Main Street, Suite 220                                           RS Legacy Corporation fka RadioShack
Lexington, KY 40507                                   4867      6/19/2015 Corporation                                                  $7,516.48                                                                                          $7,516.48



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                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
Mayflower Emerald Square, LLC
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                 RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                               4868      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
LMR Silverlake North, Ltd.
Lasco Development
3301 Edloe #100                                                          RS Legacy Corporation fka RadioShack
Houston, TX 77027                                    4869      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
Mayflower Cape Cod, LLC
Simon Property Group, Inc.
225 West Washington Street                                               RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                               4870      6/19/2015 Corporation                                                    $923.26                                                                      $0.00               $923.26
Mayflower Emerald Square, LLC
Simon Property Group, Inc.
225 West Washington Street                                               RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                               4871      6/19/2015 Corporation                                                    $576.35              $0.00                                                                       $576.35
Kent Displays Inc
Joel C Domino
343 Portage Blvd                                                         RS Legacy Corporation fka RadioShack
Kent, OH 44240                                       4872      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00

The Joint Venture between Hilco Merchant
Resources, LLC; Gordon Brothers Retail Partners,
LLC; and Tiger Capital Group, LLC
Ian S. Fredricks, VP & Assistant General Counsel
Hilco Global
5 Revere Drive, Suite 206                                                RS Legacy Corporation fka RadioShack
Northbrook, IL 60602                                 4873      6/19/2015 Corporation                                                                                                                           $341,186.77           $341,186.77
Susu Developers t/a Hilltop North, Store No. 01‐
2445
David A. Greer, attorney for claimant
500 East Main Street, Suite 1225                                         RS Legacy Corporation fka RadioShack
Norfolk, VA 23510                                    4874      6/19/2015 Corporation                                                                                                                             $4,540.13             $4,540.13
Alaqua Investors, LLC
Mitchell S. Rosen, Esq.
Kitchens Kelley Gaynes, P.C.
5555 Glenridge Connector, Suite 800                                      RS Legacy Corporation fka RadioShack
Atlanta, GA 30342                                    4875      6/19/2015 Corporation                                                                                                                             $2,871.00             $2,871.00
RPAI King's Grant, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                   4876      6/19/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount

Inland TRS Property Management, Inc., as managing
agent for Inland Cedar Center South, L.L.C.
Attn: Beth Sprecher Brooks, Esquire
Inland Real Estate Corp.
Law Department
2901 Butterfield Road                                                     RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                   4877      6/19/2015 Corporation                                                                                                                             $3,423.81             $3,423.81
Airline Manhattan Investors, LLC
Keith Walker
240 Brookstone Centre Parkway                                             RS Legacy Corporation fka RadioShack
Columbus, GA 31904                                    4878      6/19/2015 Corporation                                                  $9,993.76                                                                      $0.00             $9,993.76
Mayflower Cape Cod, LLC
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                  RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                4879      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
I.I. MART, LLC
C/O SITEHAWK PROPERTY MANAGEMENT
8500 KEYSTONE CROSSING, SUITE 170                                         RS Legacy Corporation fka RadioShack
INDIANAPOLIS, IN 46240                                4880      6/19/2015 Corporation                                                  $5,276.23                                                                                        $5,276.23
Johnson, Cecilia A.
16220 Turnberry Turn NW                                                   RS Legacy Corporation fka RadioShack
Ramsey, MN 55303                                      4881      6/19/2015 Corporation                                                     $72.02                                                                                           $72.02
Berkeley BLDG Realty Trust
c/o A W Perry Mngmnt Corp
20 Winthrop Sq                                                            RS Legacy Corporation fka RadioShack
Boston, MA 02110                                      4882      6/19/2015 Corporation                                               $232,046.99                                                                                       $232,046.99

MEPT Woburn Mall, LLC
c/o Bentall Kennedy
Kelli Dickerson, Vice President, Asset Management
7315 Wisconsin Avenue, Ste 350W                                           RS Legacy Corporation fka RadioShack
Bethesda, MD 20814                                    4883      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
MotionPoint Corporation
William S. Fleming
4661 Johnson Road, Suite 14
Coconut Creek, FL 33073                               4884      6/19/2015 SCK, Inc.                                                                                                                               $7,961.83             $7,961.83
Gentle, Jamison
12659 Arminta Street                                                      RS Legacy Corporation fka RadioShack
North Hollywood, CA 91605                             4885      6/19/2015 Corporation                                                                       $31.52                                                                         $31.52
City of Los Angeles
150 N Los Angeles St Rm 144                                               RS Legacy Corporation fka RadioShack
Los Angeles, CA 90012                                 4886      6/19/2015 Corporation                                                  $4,271.00                                                                                        $4,271.00
Inland Western Worcester Lincoln Plaza, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                 RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                    4887      6/19/2015 Corporation                                                  $7,912.66                                                                                        $7,912.66




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                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
SHELVIN TWO
ShelvinPartners LLC, General Partner
Vincent Polimeni Marital Trust
Michael J. Polimeni, Trustee
600 Old Country Rd., Suite 425                                            RS Legacy Corporation fka RadioShack
GARDEN CITY, NY 11530                                 4888      6/19/2015 Corporation                                                $46,701.00                                                                       $0.00            $46,701.00
Mall at Potomac Mills, LLC
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                  RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                4889      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
United Illuminating Company
c/o Jim Piergrossi ‐ OPIC
180 Marsh Hill Road                                                       RS Legacy Corporation fka RadioShack
Orange, CT 06477                                      4890      6/19/2015 Corporation                                                                                                                             $6,034.65             $6,034.65
Arizona Mills Mall, LLC
Simon Property Group, Inc.
225 West Washington Street                                                RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                4891      6/19/2015 Corporation                                               $105,018.75                                                                       $0.00           $105,018.75
Abacus Bloodstock Agency, LLC and JBRO, LLC
John Bronaugh
300 East Main Street, Suite 220                                           RS Legacy Corporation fka RadioShack
Lexington, KY 40507                                   4892      6/19/2015 Corporation                                                                                                                             $5,876.85             $5,876.85
Gomez, Nicholas & Teodora
219‐21 Jamaica Ave.                                                       RS Legacy Corporation fka RadioShack
Queens Village, NY 11428                              4893      6/19/2015 Corporation                                                $54,000.00                                                                   $3,857.14            $57,857.14
Inland Western Bethlehem Saucon Valley DST
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                 RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                    4894      6/19/2015 Corporation                                                  $3,926.57                                                                                        $3,926.57
Greenwood Station LLC (Phillips Edison & Company)
t/a Greenwood West Shopping Center, Greenwood,
MS
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                            RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                4895      6/19/2015 Corporation                                                                                                                             $2,244.00             $2,244.00
Mall at Gurnee Mills, LLC
Simon Property Group, Inc.
225 West Washington Street                                                RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                4896      6/19/2015 Corporation                                                    $915.89                                                                      $0.00               $915.89
RPAI McAllen Limited Partnership F/K/A Inland
Western McAllen Limited Partnership
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                 RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                    4897      6/19/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                      Amount                                                    Amount
Inland Western Spokane Northpointe, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                      RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                         4898      6/19/2015 Corporation                                                                                                                            $1,974.29             $1,974.29
Inland Western Bethlehem Saucon Valley DST
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                      RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                         4899      6/19/2015 Corporation                                                                                                                            $3,119.36             $3,119.36
Franklin Mills Assoc LTD Partnership
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                       RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                     4900      6/19/2015 Corporation                                                                                                                                $0.00                 $0.00
COLLEGE CENTER
C/O JOHN PARKYN INC
20241 AETNA ST                                                                 RS Legacy Corporation fka RadioShack
WOODLAND HILLS, CA 91367                                   4901      6/19/2015 Corporation                                                $12,580.92                                                                                       $12,580.92
Broward Mall LLC
c/o LeClairRyan, A Professional Corporation
Attn: Niclas A. Ferland, Esq.
545 Long Wharf Drive, 9th Floor                                                RS Legacy Corporation fka RadioShack
New Haven , CT 06511                                       4902      6/19/2015 Corporation                                                                                                                            $2,060.26             $2,060.26

RPAI North Richland Hills Davis Limited Partnership
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                      RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                         4903      6/19/2015 Corporation                                                $68,951.77                                                                                       $68,951.77
Inland Western Worcester Lincoln Plaza, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                      RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                         4904      6/19/2015 Corporation                                                $87,966.98                                                                                       $87,966.98

Inland Commercial Property Management, Inc., as
managing agent for Inland Real Estate‐Illinois, L.L.C.
Attn: Beth Sprecher Brooks, Esquire
Inland Real Estate Corp.
Law Department
2901 Butterfield Road                                                          RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                        4905      6/19/2015 Corporation                                                                                                                            $2,938.70             $2,938.70




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                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
The Connecticut Post Limited Partnership
c/o LeClairRyan, A Professional Corporation
Attn: Niclas A. Ferland, Esq.
545 Long Wharf Drive, 9th Floor                                           RS Legacy Corporation fka RadioShack
New Haven, CT 06511                                   4906      6/19/2015 Corporation                                                                                                                               $521.75               $521.75

Del Amo Fashion Center Operating Company, L.L.C.
Simon Property Group, Inc.
225 West Washington Street                                                RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                4907      6/19/2015 Corporation                                                    $841.46                                                                      $0.00               $841.46
Bruun Andersen, Lars E
10729 Harbottle Drive                                                     RS Legacy Corporation fka RadioShack
Reno, NV 89511‐5398                                   4908      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00

Highland Improvements, LLC (DLC Management
Corp) t/a Highland Square, Jacksonville, FL
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                            RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                4909      6/19/2015 Corporation                                                                                                                             $5,180.31             $5,180.31

Braintree Property Associates Limited Partnership
Simon Property Group, Inc.
225 West Washington Street                                                RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                4910      6/19/2015 Corporation                                               $188,415.14               $0.00                                                                   $188,415.14
Nebraska Public Power District
Attn: Lisa McFarland
PO Box 499                                                                RS Legacy Corporation fka RadioShack
Columbus, NE 68601                                    4911      6/19/2015 Corporation                                                                                                                               $244.05               $244.05
Mall at Auburn, LLC
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                  RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                4912      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
Fashion Centre Mall, LLC
Simon Property Group, Inc.
225 West Washington Street                                                RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                4913      6/19/2015 Corporation                                                  $2,929.19              $0.00                                                                     $2,929.19
MALL AT INGRAM PARK, LLC
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                  RS Legacy Corporation fka RadioShack
INDIANAPOLIS, IN 46204                                4914      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
Hamilton TC, LLC
Simon Property Group, Inc.
225 West Washington Street                                                RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                4915      6/19/2015 Corporation                                                    $847.54           $847.54                                                                      $1,695.08




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                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                    Amount
RPAI Arvada, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                  RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                     4916      6/19/2015 Corporation                                                                                                                            $2,152.86             $2,152.86
Federal Realty Investment Trust t/a Eastgate
Shopping Center, Chapel Hill, NC
Ballard Spahr LLP
c/o David L. Pollack, Esq.
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 4917      6/19/2015 Corporation                                                                                                                            $3,395.43             $3,395.43
Maiz Morales, Samuel J.
PO Box 51705                                                               RS Legacy Corporation fka RadioShack
Toa Baja, PR 00950‐1705                                4918      6/19/2015 Corporation                                                                                                                                $0.00                 $0.00
MEMORIAL CITY MALL, LP (METRONATIONAL) T/A
MEMORIAL CITY MALL, HOUSTON, TX
DAVID L. POLLACK, ESQ.
BALLARD SPAHR LLP
1735 MARKET STREET, 51ST FLOOR                                             RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                                 4919      6/19/2015 Corporation                                                                                                                            $1,738.33             $1,738.33
WRS Centers I, LLC f/k/a Chamblee Retail Holdings,
LLC
Southern Real Estate Management
Anne Marie Smallwood
550 Long Point Road                                                        RS Legacy Corporation fka RadioShack
Mt. Pleasant, SC 29464                                 4920      6/19/2015 Corporation                                                                                                                                $0.00                 $0.00

Penn Station Improvements, LLC (DLC Management
Corp) t/a Penn Station, District Heights, MD
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 4921      6/19/2015 Corporation                                                                                                                            $3,774.45             $3,774.45
Colon, Jinellie Morales
PO Box 51705                                                               RS Legacy Corporation fka RadioShack
Toa Baja, PR 00950‐1705                                4922      6/19/2015 Corporation                                                                                                                                $0.00                 $0.00
Shops at St. Johns, LLC
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                   RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                 4923      6/19/2015 Corporation                                                                                                                                $0.00                 $0.00
Governor Plaza Associates (Federal Realty
Investment Trust) t/a Governor Plaza, Glen Burnie,
MD
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 4924      6/19/2015 Corporation                                                                                                                            $5,967.76             $5,967.76




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                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount

Brixmor Watson Glen LLC (Brixmor Property Group,
Inc.) t/a Watson Glen Shopping Center, Franklin, TN
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                  4925      6/19/2015 Corporation                                                                                                                             $2,902.94             $2,902.94
Baker & McKenzie LLP
Attn: David W. Parham
2001 Ross Avenue, Suite 2300                                                RS Legacy Corporation fka RadioShack
Dallas, TX 75201                                        4926      6/19/2015 Corporation                                                $54,321.46                                                                                        $54,321.46
Baker & McKenzie LLP
David W. Parham, Partner
2001 Ross Avenue, Suite 2300                                                RS Legacy Corporation fka RadioShack
Dallas, TX 75201                                        4927      6/19/2015 Corporation                                                                                                                            $10,350.03            $10,350.03
Zhuo, Ling
21 Edinboro Rd. Unit 1                                                      RS Legacy Corporation fka RadioShack
Quincy, MA 02169‐7075                                   4928      6/19/2015 Corporation                                                      $0.00                                                                                            $0.00
Shops at St. Johns, LLC
Simon Property Group, Inc.
225 West Washington Street                                                  RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                  4929      6/19/2015 Corporation                                                $16,098.94               $0.00                                                                    $16,098.94
Perez Bermudez, Jose D.
Paseo Angel 2532
2nd secc Levittown                                                          RS Legacy Corporation fka RadioShack
Toa Baja, PR 00949                                      4930      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
PCWA
David Breninger ‐ General Manager
144 Ferguson Road                                                           RS Legacy Corporation fka RadioShack
Auburn, CA 95604                                        4931      6/19/2015 Corporation                                                    $105.62                                                                                          $105.62
Castellanos, Cecilia
38780 Trade Center Dr.
Suite 1A                                                                    RS Legacy Corporation fka RadioShack
Palmdale, CA 93551                                      4932      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
Stadium Plaza Shopping Center, LLC
Elizabeth Blake
414 E. Broadway
Ste 200                                                                     RS Legacy Corporation fka RadioShack
Columbia, MO 65201                                      4933      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
EL DORADO WATER DEPT
Mark Smith
500 N Washington                                                            RS Legacy Corporation fka RadioShack
El Dorado, AR 71730                                     4934      6/19/2015 Corporation                                                      $0.00                                                                                            $0.00
Perez, Alphonse
7734 Brown Avenue                                                           RS Legacy Corporation fka RadioShack
Evanston, IL 60202                                      4935      6/19/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount

BRE Retail Residual Owner 1 LLC (Brixmor Property
Group, Inc.) t/a Elkhart Plaza West, Elkhart, IN
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 4936      6/19/2015 Corporation                                                                                                                             $2,558.40             $2,558.40
South Hills Village Associates, L.P.
Ronald M. Tucker
Vice President/Bankruptcy Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                   RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                 4937      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
Clark, Dixie
3100 Beechnut Dr                                                           RS Legacy Customer Service LLC fka RadioShack
Pine Bluff, AR 71603                                   4938      6/19/2015 Customer Service LLC                                            $35.10                                                                                           $35.10
Brixmor Property Owner II, LLC (Brixmor Property
Group, Inc.) t/a Puente Hills Center, Rowland
Heights, CA
c/o David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 4939      6/19/2015 Corporation                                                                                                                             $3,435.32             $3,435.32
Rivera, David Joe
4333 Weber Street Apt #306
Fort Worth, TX 76106                                   4940      6/19/2015 TE Electronics LP                                                                   $0.00                                                                         $0.00
Brixmor GA Cobblestone Village Royal Palm Beach,
LLC (Brixmor Property Group, Inc.) t/a Cobblestone
at West Palm, W. Palm Beach, FL
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 4941      6/19/2015 Corporation                                                                                                                             $6,536.87             $6,536.87
Pitrock Realty Corp. (Pliskin Realty and
Development, Inc.) located at 5005 N. Crescent
Blvd., Pennsauken, NJ
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 4942      6/19/2015 Corporation                                                                                                                             $6,840.87             $6,840.87

BRE Throne Applegate Ranch LLC (Brixmor Property
Group, Inc.) t/a Applegate Ranch S.C., Atwater, CA
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 4943      6/19/2015 Corporation                                                                                                                             $3,501.89             $3,501.89
Duran, Maria
2206 S. Sycamore Ave                                                       RS Legacy Corporation fka RadioShack
Los Angeles , CA 90016                                 4944      6/19/2015 Corporation                                                    $163.11                                                                                          $163.11




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                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
Kovuru, Karthik
2501 Maryland Road Apt D‐11                                                 RS Legacy Corporation fka RadioShack
Willow Grove, PA 19090                                  4945      6/19/2015 Corporation                                                    $121.00                                                                                          $121.00
Lee, Sandy
45‐524B Pahia Road                                                          RS Legacy Corporation fka RadioShack
Kaneohe, HI 96744                                       4946      6/19/2015 Corporation                                                      $8.68                                                                                            $8.68
WalLeeds, LLC
4611 Bee Cave Road, Suite 306                                               RS Legacy Corporation fka RadioShack
Austin, TX 78746                                        4947      6/19/2015 Corporation                                                  $2,826.24                                                                                        $2,826.24
YS PROPERTIES LP 64 HARGRAVE LANE, MEDIA, PA
19063
64 Hargrave Lane                                                            RS Legacy Corporation fka RadioShack
Media, PA 19063                                         4948      6/21/2015 Corporation                                                $73,937.50                                                $73,937.50                             $147,875.00
MEPT WESTWOOD VILLAGE LLC
NW 584318
PO BOX 1450                                                                 RS Legacy Corporation fka RadioShack
MINNEAPOLIS, MN 554856231                               4949      6/20/2015 Corporation                                                      $0.00                                                    $0.00                                   $0.00
LARNERD, WALTER
1310 Fairmont Ave                                                           RS Legacy Corporation fka RadioShack
Fairmont, WV 26554                                      4950      6/19/2015 Corporation                                                                                                                             $1,582.24             $1,582.24

Rap Heart, LLC (Pliskin Realty & Development, Inc.)
located at 15005 E. Eight Mile Road, Eastpoint, MI
DAVID L. POLLACK, ESQ.
BALLARD SPAHR LLP
1735 MARKET STREET, 51ST FLOOR                                              RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                                  4951      6/19/2015 Corporation                                                                                                                             $1,924.20             $1,924.20
Moore, Edna L
6241 n Francisco                                                            RS Legacy Corporation fka RadioShack
Chicago, IL 60659                                       4952      6/21/2015 Corporation                                                                         $0.00                                                                         $0.00

CBL‐Friendly Center CBMS, LLC, by CBL & Associates
Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                                   RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                   4953      6/19/2015 Corporation                                                                                                                             $5,387.29             $5,387.29
Green, Anita N.
5400 Memorial Drive
Apt 27D                                                                     RS Legacy Corporation fka RadioShack
Stone Mountain, GA 30083                                4954      6/20/2015 Corporation                                                                                          $53.49               $0.00                                  $53.49
Duke Energy Kentucky
Jennie M. Raine
1697 Monmouth Street                                                        RS Legacy Corporation fka RadioShack
Newport, KY 41071                                       4955      6/19/2015 Corporation                                                                                                                               $384.64               $384.64
McDonald, Jim
1900 Simond Ave Apt 5004                                                    RS Legacy Corporation fka RadioShack
Austin, TX 78723‐4662                                   4956      6/19/2015 Corporation                                                $39,150.43                                                                                        $39,150.43
Rabinowitz, Daniel
21539 Sweet Water Lane South                                                RS Legacy Corporation fka RadioShack
Boca Raton, FL 33428                                    4957      6/21/2015 Corporation                                                     $50.00                                                                                           $50.00




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                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
Hernandez, Julia
5104 Lower Birdville Rd
Haltom City, TX 76117                           4958      6/20/2015 TE Electronics LP                                                                   $0.00                                                                         $0.00
Martinez, Imelda
111 SW 6th st                                                       RS Legacy Corporation fka RadioShack
Kerens, TX 75144                                4959      6/20/2015 Corporation                                                    $273.00                                                                                          $273.00
Coral‐CS/LTD. Associates
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                            RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                          4960      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
Columbia Mall Partnership
Simon Property Group, Inc.
225 West Washington Street                                          RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                          4961      6/19/2015 Corporation                                                $12,091.79                                                                       $0.00            $12,091.79
PLAZA CAROLINA MALL, L.P.
Simon Property Group, Inc.
225 West Washington Street                                          RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                          4962      6/19/2015 Corporation                                               $163,499.63                                                                       $0.00           $163,499.63
Columbia Mall Partnership
Ronald R. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                            RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                          4963      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
West Town Mall, LLC
Simon Property Group, Inc.
225 West Washington Street                                          RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                          4964      6/19/2015 Corporation                                               $111,358.99                                                                       $0.00           $111,358.99
Paull, Rory
1253 Springfield Ave
Ste 190                                                             RS Legacy Corporation fka RadioShack
New Providence, NJ 07974                        4965      6/21/2015 Corporation                                                     $32.90                                                                                           $32.90
Simon Capital Limited Partnership
Simon Property Group, Inc.
225 West Washington Street                                          RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                          4966      6/19/2015 Corporation                                                    $624.34                                                                      $0.00               $624.34
Lawrence Associates
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                            RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                          4967      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
PLAZA CAROLINA MALL, L.P
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                            RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                          4968      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00




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            Creditor Name and Address            Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
Venegas, Estela
3809 Townsend Dr                                                       RS Legacy Corporation fka RadioShack
Fort Worth, TX 76110                               4969      6/20/2015 Corporation                                                                         $0.00                                                                         $0.00
Briarwood LLC.
Simon Property Group, Inc.
225 West Washington Street                                             RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                             4970      6/19/2015 Corporation                                               $157,618.48                                                                       $0.00           $157,618.48
Briggs Equipment
10540 N. Stemmans Freeway                                              RS Legacy Corporation fka RadioShack
Dallas, TX 75220                                   4971      6/19/2015 Corporation                                                $32,757.01                                                                                        $32,757.01
Ewa Beach Center, LLC
Rachel Dowell
Colliers International
PO Box 257                                                             RS Legacy Corporation fka RadioShack
Honolulu, HI 96809                                 4972      6/19/2015 Corporation                                                                         $0.00                                                                         $0.00
MAYFLOWER SQUARE ONE,LLC
Simon Property Group, Inc.
225 West Washington Street                                             RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                             4973      6/19/2015 Corporation                                                    $704.75                                                                      $0.00               $704.75
Fidone, Vicky
4224 W Charleston Blvd #355                                            RS Legacy Corporation fka RadioShack
Las Vegas, NV 89102                                4974      6/22/2015 Corporation                                                     $97.00                                                                                           $97.00

Brixmor Holdings 12 SPE, LLC (Brixmor Property
Group, Inc.) t/a Wynnewood Village, Dallas, TX
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                         RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                             4975      6/19/2015 Corporation                                                                                                                             $2,438.42             $2,438.42
Bender, Steven
4 Riverwood Drive                                                      RS Legacy Corporation fka RadioShack
Landenberg, PA 19350                               4976      6/21/2015 Corporation                                                    $100.00                                                                                          $100.00
PCWA
PLACER COUNTY WATER AGENCY
PO BOX 6570                                                            RS Legacy Corporation fka RadioShack
AUBURN, CA 95604                                   4977      6/19/2015 Corporation                                                     $67.89                                                                                           $67.89
Woodford Square Associates, Store No. 1929
David A. Greer, Attorney
500 East Main Street, Suite 1225                                       RS Legacy Corporation fka RadioShack
Norfolk, VA 23510                                  4978      6/19/2015 Corporation                                                                                                                             $1,209.38             $1,209.38
Maldonado Castello, José R.
Bo Mogote
27 Ricardo Marti                                                       RS Legacy Corporation fka RadioShack
Cayey, PR 00736‐3121                               4979      6/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Maldonado, Jose Rene
27 Ricardo Marti
Sec Mogote                                                             RS Legacy Corporation fka RadioShack
Cayey, PR 00736                                    4980      6/22/2015 Corporation                                                      $0.00                                                                                            $0.00
SIMON PROPERTY GROUP, INC.
Simon Property Group, Inc.
225 West WASHINGTON STREET                                             RS Legacy Corporation fka RadioShack
INDIANAPOLIS, IN 46204                             4981      6/19/2015 Corporation                                               $142,662.24                                                                                       $142,662.24



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            Creditor Name and Address                  Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
THE RETAIL PROPERTY TRUST
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                     RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                   4982      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00

Brixmor GA San Dimas, LP (Brixmor Property Group,
Inc.) t/a San Dimas Plaza, San Dimas, CA
c/o David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                   4983      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
KOP Perkins Farm Marketplace LLC (Brixmor
Property Group, Inc.) t/a Perkins Farm Marketplace,
Worcester, MA
c/o David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                   4984      6/19/2015 Corporation                                                                                                                             $3,378.00             $3,378.00
Alvarez, Efrain
435 Paseo Encantado
Ciudad Jardin                                                                RS Legacy Corporation fka RadioShack
Canovanas, PR 00729                                      4985      6/19/2015 Corporation                                                                         $0.00                                                                         $0.00
Kouns, Sarah
11555 Rancho Fiesta Rd                                                       RS Legacy Corporation fka RadioShack
Carmel Valley, CA 93924                                  4986      6/19/2015 Corporation                                                     $32.24                                                                                           $32.24
BRE Retail NP Kimball Crossing Owner LLC (Brixmor
Property Group, Inc.) t/a Kimball Crossing, Kimball,
TN
David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                   4987      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00

BRE Mariner Milestones Plaza (Brixmor Property
Group, Inc.) t/a Milestone Plaza, Greensville, SC
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                   4988      6/19/2015 Corporation                                                                                                                             $3,484.20             $3,484.20
150 E 42 Realty LLC & AM E 42 Realty LLC
Mark Frankel, as Attorney
Backenroth Frankel & Krinsky, LLP
800 Third Ave., 11th Floor                                                   RS Legacy Corporation fka RadioShack
New York, NY 10022                                       4989      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
Brixmor Holdings 1SPE, LLC (Brixmor Property
Group, Inc.) t/a Crossroads, Statesville, NC
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                               RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                                   4990      6/19/2015 Corporation                                                                                                                             $3,194.17             $3,194.17



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                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
The Thomas and Mary Baggot Revocable Trust dtd
Sept 25, 2000
c/o Michael D. Breslauer, Esq.
Solomon Ward Seidenwurm & Smith, LLP
401 B Street, Suite1200                                                      RS Legacy Corporation fka RadioShack
San Diego, CA 92101                                      4991      6/19/2015 Corporation                                                      $0.00                                                                                            $0.00
MOTIONPOINT CORPORATION
4661 JOHNSON ROAD SUITE 14
COCONUT CREEK, FL 33071                                  4992      6/19/2015 SCK, Inc.                                                  $47,134.49                                                                                        $47,134.49
The Donald and Mary Abinante Family 1985
Revocable Trust
c/o Donald Russo
Schwabe, Williamson & Wyatt, P.C.
700 Washington St., Suite 701                                                RS Legacy Corporation fka RadioShack
Vancouver, WA 98660                                      4993      6/19/2015 Corporation                                                $32,077.09                                                                   $3,868.68            $35,945.77
52nd Street Associates LLC
Sharyn L. Lustig
653 Arbuckle Ave.                                                            RS Legacy Corporation fka RadioShack
Woodmere, NY 11598                                       4994      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00

Madison/East Towne, LLC, by CBL & Associates
Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                                    RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                    4995      6/19/2015 Corporation                                                                                                                             $7,701.60             $7,701.60
Inland Western Houston Sawyer Heights Limited
Partnership
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                    RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                       4996      6/19/2015 Corporation                                                    $936.31                                                                                          $936.31
Vancouver Mall II LLC
Attn: Niclas A. Ferland, Esq.
c/o LeClairRyan, A Professional Corporation
545 Long Whartf Drive, 9th Floor                                             RS Legacy Corporation fka RadioShack
New Haven, CT 06511                                      4997      6/19/2015 Corporation                                                                                                                             $5,375.84             $5,375.84
Sienna Sky Capital Ltd
c/o Alliance Realty Services
PO Box 53608                                                                 RS Legacy Corporation fka RadioShack
Lubbock, TX 79453                                        4998      6/19/2015 Corporation                                                      $0.00                                                                                            $0.00

Plaza Camino Real (a California limited partnership)
Niclas A. Ferland, Esq.
LeClairRyan, A Professional Corporation
545 Long Wharf Drive, 9th Floor                                              RS Legacy Corporation fka RadioShack
New Haven, CT 06511                                      4999      6/19/2015 Corporation                                                                                                                             $5,414.04             $5,414.04




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                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
Brandon Shopping Center Partners Ltd.
Niclas A. Ferland, Esq.
LeClairRyan, A Professional Corporation
545 Long Wharf Drive, 9th Floor                                     RS Legacy Corporation fka RadioShack
New Haven, CT 06511                             5000      6/19/2015 Corporation                                                                                                                             $7,557.79             $7,557.79
Sherman Oaks Fashion Associates, LP
c/o LeClairRyan, A Professional Corporation
Attn: Niclas A. Ferland, Esq.
545 Long Wharf Drive, 9th Floor                                     RS Legacy Corporation fka RadioShack
New Haven, CT 06511                             5001      6/19/2015 Corporation                                                                                                                             $1,839.09             $1,839.09
Sarasota Shoppingtown LLC
c/o LeClairRyan, A Professional Corporation
Attn: Niclas A. Ferland, Esq.
545 Long Whartf Drive, 9th Floor                                    RS Legacy Corporation fka RadioShack
New Haven, CT 06511                             5002      6/19/2015 Corporation                                                                                                                            $19,672.56            $19,672.56
Fox Valley Mall LLC
Niclas A. Ferland Esq.,
LeClairRyan, A Professional Corporation
545 Long Wharf Drive, 9th Floor                                     RS Legacy Corporation fka RadioShack
New Haven, CT 06511                             5003      6/19/2015 Corporation                                                                                                                               $954.22               $954.22
Citrus Park Mall Owner LLC
c/o LeClairRyan, A Professional Corporation
Attn: Niclas A. Ferland, Esq.
545 Long Wharf Drive, 9th Floor                                     RS Legacy Corporation fka RadioShack
New Haven, CT 06511                             5004      6/19/2015 Corporation                                                                                                                             $1,878.51             $1,878.51
CESC Crystal Square Flour LLC
Attn: Randall Greenman
c/o Vornado/Charles E. Smith L.P.
210 Route 4 East                                                    RS Legacy Corporation fka RadioShack
Paramus, NJ 07652                               5005      6/19/2015 Corporation                                                  $9,511.33                                                                                        $9,511.33
Trumbull Shopping Center #2 LLC
Niclas A. Ferland, Esq.
LeClairRyan, A Professional Corporation
545 Long Whartf Drive, 9th Floor                                    RS Legacy Corporation fka RadioShack
New Haven, CT 06511                             5006      6/19/2015 Corporation                                                                                                                             $7,525.05             $7,525.05
WEA Palm Desert LLC
c/o LeClairRyan, A Professional Corporation
Attn: Niclas A. Ferland, Esq.
545 Long Wharf Drive, 9th Floor                                     RS Legacy Corporation fka RadioShack
New Haven, CT 06511                             5007      6/19/2015 Corporation                                                                                                                             $6,722.58             $6,722.58
Montgomery Mall Owner LLC
Niclas A. Ferland, Esq.
LeClairRyan, A Professional Corporation
545 Long Whartf Drive, 9th Floor                                    RS Legacy Corporation fka RadioShack
New Haven, CT 06511                             5008      6/19/2015 Corporation                                                                                                                            $32,003.00            $32,003.00
Hawthorn, L.P.
Niclas A. Ferland, Esq.
LeClairRyan, A Professional Corporation
545 Long Whartf Drive, 9th Floor                                    RS Legacy Corporation fka RadioShack
New Haven, CT 06511                             5009      6/19/2015 Corporation                                                                                                                             $1,477.25             $1,477.25




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                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount

Westland Garden State Plaza Limited Partnership
Niclas A. Ferland, Esq.
LeClairRyan, A Professional Corporation
545 Long Wharf Drive, 9th Floor                                              RS Legacy Corporation fka RadioShack
New Haven, CT 06511                                      5010      6/19/2015 Corporation                                                                                                                            $13,175.70            $13,175.70
MILPITAS MILLS LIMITED PARTNERSHIP
Simon Property Group, Inc.
225 West Washington Street                                                   RS Legacy Corporation fka RadioShack
INDIANAPOLIS, IN 46204                                   5011      6/19/2015 Corporation                                                    $724.55                                                                      $0.00               $724.55
V F Mall LLC
Niclas A. Ferland, Esq.
LeClairRyan, A Professional Corporation
545 Long Wharf Drive, 9th Floor                                              RS Legacy Corporation fka RadioShack
New Haven, CT 06511                                      5012      6/19/2015 Corporation                                                                                                                             $3,483.65             $3,483.65
Westfield Topanga Owner LLC
c/o LeClairRyan, A Professional Corporation
Attn: Niclas A. Ferland, Esq.
545 Long Wharf Drive, 9th Floor                                              RS Legacy Corporation fka RadioShack
New Haven, CT 06511                                      5013      6/19/2015 Corporation                                                                                                                            $23,266.07            $23,266.07
Brixmor SPE 3 LLC (Brixmor Property Group, Inc.) t/a
Lincoln Plaza, New Haven, IN
c/o David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                   5014      6/19/2015 Corporation                                                                                                                             $5,422.15             $5,422.15
Sunrise Mall LLC
c/o LeClairRyan, A Professional Corporation
Niclas A. Ferland, Esq.
545 Long Wharf Drive, 9th Floor                                              RS Legacy Corporation fka RadioShack
New Haven, CT 06511                                      5015      6/19/2015 Corporation                                                                                                                            $30,301.05            $30,301.05
RPAI King's Grant, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                    RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                       5016      6/19/2015 Corporation                                                  $5,047.96                                                                                        $5,047.96
Pacific Plaza Shopping Center
Ervin Cohen & Jessup LLP
9401 Wilshire Blvd., 9th Floor                                               RS Legacy Corporation fka RadioShack
Beverly Hills, CA 90212                                  5017      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
RPAI Arvada, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                    RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                       5018      6/19/2015 Corporation                                                  $2,425.66                                                                                        $2,425.66
College Park Square Associates, LLLP, Store No. 01‐
1708
c/o David A. Greer, Attorney
500 East Main Street, Suite 1225                                             RS Legacy Corporation fka RadioShack
Norfolk, VA 23510                                        5019      6/19/2015 Corporation                                                                                                                             $2,061.00             $2,061.00



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            Creditor Name and Address               Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
UNIVERSITY PARK MALL, LLC
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                  RS Legacy Corporation fka RadioShack
INDIANAPOLIS, IN 46204                                5020      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
Wheaton Plaza Regional Shopping Center LLC
LeClairRyan, A Professional Corporation
545 Long Wharf Drive, 9th Floor                                           RS Legacy Corporation fka RadioShack
New Haven, CT 06511                                   5021      6/19/2015 Corporation                                                                                                                               $980.65               $980.65
Federal Realty Investment Trust t/a Lawrence Park
Shopping Center, Broomall, PA
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                            RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                5022      6/19/2015 Corporation                                                                                                                            $46,046.06            $46,046.06
Suffolk Plaza Shopping Center, L.C.
c/o David A. Greer
500 East Main Street, Suite 1225                                          RS Legacy Corporation fka RadioShack
Norfolk, VA 23510                                     5023      6/19/2015 Corporation                                                                                                                             $2,209.67             $2,209.67
Mall at Auburn, LLC
Simon Property Group, Inc.
225 West Washington Street                                                RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                5024      6/19/2015 Corporation                                               $139,989.48                                                                       $0.00           $139,989.48
Bruun Andersen, Lars E
10729 Harbottle Drive                                                     RS Legacy Corporation fka RadioShack
Reno, NV 89511‐5398                                   5025      6/19/2015 Corporation                                                $10,430.78                                                                                        $10,430.78
Coral‐CS/LTD. Associates
Simon Property Group, Inc.
225 West Washington Street                                                RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                5026      6/19/2015 Corporation                                                  $1,680.82                                                                      $0.00             $1,680.82
Victory Associates, LLP, Store No. 2943
David A. Greer, Attorney
500 East Main Street, Suite 1225                                          RS Legacy Corporation fka RadioShack
Norfolk, VA 23510                                     5027      6/19/2015 Corporation                                                                                                                             $3,309.50             $3,309.50
Mall at Lehigh Valley, L.P.
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                  RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                5028      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
CoolSprings Mall, LLC, by CBL & Associates
Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
2330 Hamilton Place Blvd.                                                 RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                 5029      6/19/2015 Corporation                                                                                                                             $8,477.48             $8,477.48
West Town Mall, LLC
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                  RS Legacy Corporation fka RadioShack
INDIANAPOLIS, IN 46204                                5030      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00



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                                                                                                                          Current General                                            Current 503(b)(9)
                                                                                                                                                Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address            Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
Ramirez, William J
2408 Ave Eduardo Conde Parque Victoria
Edf 2 Apt 229                                                          RS Legacy Corporation fka RadioShack
San Juan, PR 00915                                 5031      6/19/2015 Corporation                                                                         $0.00                                                                         $0.00
Milpitas Mills Limited Partnership
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                               RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                             5032      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
Simon Capital Limited Partnership
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                               RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                             5033      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
Massglass and Door Facilities Maintenance, Inc
DBA: Mass Glass + Door
275 E. Hillcrest Dr #200                                               RS Legacy Corporation fka RadioShack
Thousand Oaks, CA 91360                            5034      6/19/2015 Corporation                                                $92,314.59                                                                                        $92,314.59
Lawrence Associates
Simon Property Group, Inc.
225 West Washington Street                                             RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                             5035      6/19/2015 Corporation                                                  $1,279.60              $0.00                                                                     $1,279.60
Mall at Lehigh Valley, L.P.
Simon Property Group, Inc.
225 West Washington Street                                             RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                             5036      6/19/2015 Corporation                                                  $1,256.78                                                                      $0.00             $1,256.78
BIG APPLE SIGN CORP
DBA BIG APPLE VISUAL GROUP
247 WEST 35TH ST                                                       RS Legacy Corporation fka RadioShack
NEW YORK, NY 10001                                 5037      6/19/2015 Corporation                                               $114,715.78                                                 $1,954.30                             $116,670.08
HG Galleria, LLC
Simon Property Group, Inc.
225 West Washington Street                                             RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                             5038      6/19/2015 Corporation                                               $239,362.67                                                                       $0.00           $239,362.67
HUNTSVILLE COMMONS, LLC
c/o Joseph Goldstein
400 Mall Blvd., Suite M                                                RS Legacy Corporation fka RadioShack
Savannah, GA 31406                                 5039      6/19/2015 Corporation                                                $51,304.67                                                                                        $51,304.67
Fox Run Mall, LLC
Simon Property Group, Inc.
225 West Washington Street                                             RS Legacy Corporation fka RadioShack
INDIANAPOLIS, IN 46204                             5040      6/19/2015 Corporation                                                    $827.04                                                                      $0.00               $827.04
Toledo Edison
Walter Larnerd
1310 Fairmont Ave                                                      RS Legacy Corporation fka RadioShack
Fairmont, WV 26554                                 5041      6/19/2015 Corporation                                                                                                                               $541.02               $541.02




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                                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                      Amount                                                     Amount

Kirkwood Mall Acquisition, LLC, by CBL & Associates
Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                                      RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                      5042      6/19/2015 Corporation                                                                                                                             $3,100.75             $3,100.75
HG Galleria, LLC
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                       RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                     5043      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
Mayflower Apple Blossom, L.P.
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                       RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                     5044      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
Jefferson Mall CMBS, LLC, by CBL & Associates
Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                                      RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                      5045      6/19/2015 Corporation                                                                                                                             $2,224.79             $2,224.79
Meadowood Mall SPE. LLC
Simon Property Group Inc
225 West Washington Street                                                     RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                     5046      6/19/2015 Corporation                                                    $569.36              $0.00                                                                       $569.36
Met Ed
Walter Larnerd
1310 Fairmont Ave                                                              RS Legacy Corporation fka RadioShack
Fairmont, WV 26554                                         5047      6/19/2015 Corporation                                                                                                                             $1,397.57             $1,397.57

Inland Commercial Property Management, Inc., as
managing agent for Inland Real Estate‐Illinois, L.L.C.
Beth Sprecher Brooks, Esquire
General Counsel
2901 Butterfield Road                                                          RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                        5048      6/19/2015 Corporation                                                                                                                                $86.91                $86.91
JG Winston‐Salem, LLC, by CBL & Associates
Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                                      RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                      5049      6/19/2015 Corporation                                                                                                                            $11,399.38            $11,399.38
Fox Run Mall, LLC
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                       RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                     5050      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00



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                                                                                                                                                 Current Priority   Current Secured                        Current Admin    Total Current Claim
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                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                     Amount
Ravid Knoxville, LLC
R. Louis Crossley, Jr.
Long, Ragsdale & Waters, P.C.
1111 N. Northshore Drive; Suite S‐700                                  RS Legacy Corporation fka RadioShack
Knoxville, TN 37919                                5051      6/19/2015 Corporation                                                                                                                              $2,118.73             $2,118.73
Styertowne Shopping Center, LLC
c/o STEVEN Z. JURISTA, ESQ.
WASSERMAN, JURISTA & STOLZ
110 Allen Road, Suite 304                                              RS Legacy Corporation fka RadioShack
Basking Ridge, NJ 07920                            5052      6/19/2015 Corporation                                                 $19,161.02                                                                                        $19,161.02
West Penn Power
1310 Fairmont Ave.                                                     RS Legacy Corporation fka RadioShack
Fairmont, WV 26554                                 5053      6/19/2015 Corporation                                                                                                                              $2,689.48             $2,689.48
Greenbrier Mall II, LLC, by CBL & Associates
Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd                                               RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                              5054      6/19/2015 Corporation                                                                                                                              $3,376.22             $3,376.22

Cantor Fitzgerald Securities, as Agent and the
Claimants identified on the attachment hereto
James Bond
110 East 59th Street
New York, NY 10022                                 5055      6/19/2015 Merchandising Support Services, Inc.                                                                                                         $0.00                 $0.00
ALAQUA INVESTORS, LLC
C/O RETAIL PLANNING CORPORATION
35 JOHNSON FERRY ROAD                                                  RS Legacy Corporation fka RadioShack
MARIETTA, GA 30068                                 5056      6/19/2015 Corporation                                                 $51,304.14                                                                                        $51,304.14
PACIFIC ALASKA FREIGHTWAYS
PO BOX 101714                                                          RS Legacy Corporation fka RadioShack
Pasadena, CA 91189‐0037                            5057      6/19/2015 Corporation                                                       $0.00                                                                                            $0.00
RR Donnelley
Dan Pevanter, Director Credit Services
4101 Winfield Road                                                     RS Legacy Corporation fka RadioShack
Warrenville, IN 60555                              5058      6/19/2015 Corporation                                                                                                                             $31,643.00            $31,643.00

Cantor Fitzgerald Securities, as Agent and the
Claimants identified on the attachment hereto
James Bond
110 East 59th Street
New York, NY 10022                                 5059      6/19/2015 RSIgnite, LLC                                                                                                                                $0.00                 $0.00
Airline Manhattan Investors, LLC
240 Brookstone Centre Parkway                                          RS Legacy Corporation fka RadioShack
Columbus, GA 31904                                 5060      6/19/2015 Corporation                                                 $24,878.69                                                                                        $24,878.69
MEADOWOOD MALL SPE, LLC
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                               RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                             5061      6/19/2015 Corporation                                                                                                                                  $0.00                 $0.00




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                                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount
Levcom Wall Plaza Associates
William Santianna
C/O Jacobs Enterprises, Inc.
1051 Bloomfield Avenue                                                     RS Legacy Corporation fka RadioShack
Clifton, NJ 07012                                      5062      6/19/2015 Corporation                                                                                                                             $3,511.03             $3,511.03

Garrison Chapel Hills Owner LLC, by CBL &
Associates Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
2330 Hamilton Place Blvd.                                                  RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                  5063      6/19/2015 Corporation                                                                                                                             $5,513.53             $5,513.53
Penelec
Walter Larnerd
1310 Fairmont Ave.                                                         RS Legacy Corporation fka RadioShack
Fairmont, WV 26554                                     5064      6/19/2015 Corporation                                                                                                                             $2,637.64             $2,637.64
RHODAL 2 LLC
10632 N. SCOTTSDALE ROAD, STE. B‐247                                       RS Legacy Corporation fka RadioShack
SCOTTSDALE, AZ 85254                                   5065      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
REGIONAL MALLS, LLC
1800 North Elm Street
PO Box 1127 (42419‐1127)                                                   RS Legacy Corporation fka RadioShack
HENDERSON, KY 42420                                    5066      6/19/2015 Corporation                                                  $2,569.64                                                                                        $2,569.64
Coastal Grand CBMS, by CBL & Associates
Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
2330 Hamilton Place Blvd.                                                  RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                  5067      6/19/2015 Corporation                                                                                                                             $7,865.82             $7,865.82
Mcdonald, Jim
1900 Simond Ave. #5004                                                     RS Legacy Corporation fka RadioShack
Austin, TX 78723                                       5068      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
Larken & Associates, as managing agent for Raritan
Crossing Investor II, LLC
Attn: David Gardner, President/CEO
116 Route 22 East                                                          RS Legacy Corporation fka RadioShack
North Plainfield, NJ 07060                             5069      6/19/2015 Corporation                                                                                                                             $7,235.76             $7,235.76
Cleveland Electric Illuminating Co
Walter Larnerd
1310 Fairmont Ave                                                          RS Legacy Corporation fka RadioShack
Fairmont , wv 26554                                    5070      6/19/2015 Corporation                                                                                                                             $3,168.64             $3,168.64
Harter, Tyler A
57 Peak Rd                                                                 RS Legacy Corporation fka RadioShack
Lyndonville, VT 05851                                  5071      6/19/2015 Corporation                                                                      $130.00                                                                        $130.00
Annapolis Mall Owner LLC
c/o LeClairRyan, A Professional Corporation
Attn: Niclas A. Ferland, Esq.
545 Long Wharf Drive, 9th Floor                                            RS Legacy Corporation fka RadioShack
New Haven, CT 06511                                    5072      6/19/2015 Corporation                                                                                                                             $9,136.56             $9,136.56
Duke Energy Ohio
Jennie M. Raine
139 E. 4th Street                                                          RS Legacy Corporation fka RadioShack
Cincinnati, OH 45201                                   5073      6/19/2015 Corporation                                                                                                                             $4,154.88             $4,154.88




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                                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                  Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
GBGC Hattiesburg Retail LLC and Hattiesburg
Highway 49 LLC,
 Tenants in Common
9907 E Bell Rd. Suite 110                                                    RS Legacy Corporation fka RadioShack
Scottsdale, AZ 85260                                     5074      6/19/2015 Corporation                                                  $5,950.92                                                                                        $5,950.92
CERTEGY CHECK SERVICES INC
Attn: Marcy J. Thurman, Paralegal
11601 Roosevelt Blvd., TA‐41                                                 RS Legacy Corporation fka RadioShack
St. Petersburg, FL 33716                                 5075      6/19/2015 Corporation                                                $17,867.00                                                                                        $17,867.00
CATALYST CCT LLC
1901 Avenue Of The Stars
Suite 820                                                                    RS Legacy Corporation fka RadioShack
LOS ANGELES, CA 90067                                    5076      6/19/2015 Corporation                                                $29,880.42                                                                                        $29,880.42

Cross Creek Mall SPE, L.P., by CBL & Associates
Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
2330 Hamilton Place Blvd.                                                    RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                    5077      6/19/2015 Corporation                                                                                                                            $10,236.97            $10,236.97
224 West 57 Street LLC
Mark Frankel, as Attorney
Backenroth Frankel & Krinsky, LLP
800 Third Ave. 11th Floor                                                    RS Legacy Corporation fka RadioShack
New York, NY 10022                                       5078      6/19/2015 Corporation                                                  $3,999.71                                                                 $25,161.29            $29,161.00
Duke Energy Carolinas
Jennie M. Raine
PO Box 1321 ‐ DEC45A                                                         RS Legacy Corporation fka RadioShack
Charlotte, NC 28202                                      5079      6/19/2015 Corporation                                                                                                                             $6,801.92             $6,801.92
Sotomayor, Elian C
Hc 6915936‐C                                                                 RS Legacy Corporation fka RadioShack
Bayamon, PR 00956                                        5080      6/19/2015 Corporation                                                                         $0.00                                                                         $0.00
Mall at Solomon Pond, LLC
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                     RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                   5081      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
Bangor Mall, LLC
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                                     RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                   5082      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
KENT DISPLAYS
343 PORTAGE BLVD                                                             RS Legacy Corporation fka RadioShack
KENT, OH 44240                                           5083      6/19/2015 Corporation                                               $184,645.98                                                     $0.00                             $184,645.98
LogicSource, Inc.
Casey J. Servais (as attorney/agent for LogicSource,
Inc.)
Cadwalader, Wickersham & Taft LLP
One World Financial Center                                                   RS Legacy Corporation fka RadioShack
New York, NY 10281                                       5084      6/19/2015 Corporation                                                                                                                           $430,514.00           $430,514.00



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                                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                 Claim No.   Claim Date                      Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                     Amount                                                     Amount
32‐42 Broadway Owner LLC
C/O Cammeby's Management Company, LLC
Ruby Schron, President
45 Broadway, 25th Floor                                                     RS Legacy Corporation fka RadioShack
New York, NY 10006                                      5085      6/19/2015 Corporation                                                                                                                              $37,996.35            $37,996.35

Cantor Fitzgerald Securities, as Agent and the
Claimants identified on the attachment hereto
James Bond
110 East 59th Street
New York, NY 10022                                      5086      6/19/2015 RS Legacy Holdings, Inc. fka Tandy Holdings, Inc.                                                                                             $0.00                 $0.00
Bangor Mall, LLC
Simon Property Group, Inc.
225 West Washington Street                                                  RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                  5087      6/19/2015 Corporation                                                      $926.47              $0.00                                                                       $926.47
Wilshire Plaza Investors, LLC
Keith Walker
240 Brookstone Centre Parkway                                               RS Legacy Corporation fka RadioShack
Columbus, GA 31904                                      5088      6/19/2015 Corporation                                                    $9,497.48                                                                      $0.00             $9,497.48

Cantor Fitzgerald Securities, as Agent and the
Claimants identified on the attachment hereto
James Bond
110 East 59th Street
New York, NY 10022                                      5089      6/19/2015 Atlantic Retail Ventures, Inc.                                                                                                                $0.00                 $0.00
INLAND COMMERCIAL PROPERTY MANAGEMENT,
INC., as managing agent for Inland Real Estate Deer
Trace, L.L.C.
Beth Sprecher Brooks, Esquire
2901 BUTTERFIELD ROAD                                                       RS Legacy Corporation fka RadioShack
OAK BROOK, IL 60523                                     5090      6/19/2015 Corporation                                                                                                                               $2,751.21             $2,751.21
Fayette Mall SPE, by CBL & Associates Management,
Inc., managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                                   RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                   5091      6/19/2015 Corporation                                                                                                                               $2,000.44             $2,000.44

Cantor Fitzgerald Securities, as Agent and the
Claimants identified on the attachment hereto
James Bond
110 East 59th Street
New York, NY 10022                                      5092      6/19/2015 SCK, Inc.                                                                                                                                     $0.00                 $0.00
Galleria at Wolfchase, LLC
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc
225 W. Washington Street                                                    RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                  5093      6/19/2015 Corporation                                                                                                                                   $0.00                 $0.00
Harter, Tyler A
57 Peak Rd                                                                  RS Legacy Corporation fka RadioShack
Lyndonville, VT 05851                                   5094      6/19/2015 Corporation                                                                        $703.77                                                                        $703.77



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            Creditor Name and Address              Claim No.   Claim Date                      Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Oakdale Mall II LLC
Stephen Theriot, CFO
c/o Urban Edge Properties
210 Route 4 East                                                         RS Legacy Corporation fka RadioShack
Paramus, NJ 07652                                    5095      6/19/2015 Corporation                                                                                                                              $5,401.19             $5,401.19

Cantor Fitzgerald Securities, as Agent and the
Claimants identified on the attachment hereto
James Bond
110 East 59th Street                                                     RS Legacy Corporation fka RadioShack
New York, NY 10022                                   5096      6/19/2015 Corporation                                                                                                                                  $0.00                 $0.00
CW PARK OAKS LLC
1901 AVE OF THE STARS SUITE 820                                          RS Legacy Corporation fka RadioShack
LOS ANGELES, CA 90067                                5097      6/19/2015 Corporation                                                 $18,600.00                                                                                        $18,600.00

Inland Commercial property Management Inc., as
managing agent Inland Park Center, Plaza, L.L.C.
Beth Sprecher Brooks, Esquire
General Counsel
2901 Butterfield Road                                                    RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                  5098      6/19/2015 Corporation                                                                                                                              $1,422.15             $1,422.15

Montebello LLC
c/o A. Kenneth Hennesay, Jr.
Allen Matkins Leck Gamble Mallory & Natsis LLP
1900 Main Street, Fifth Floor                                            RS Legacy Corporation fka RadioShack
Irvine, CA 92614‐7321                                5099      6/19/2015 Corporation                                                                                                                                  $0.00                 $0.00
ENERGY COOPERATIVE
Lija Kaleps‐Clark
1500 Granville Rd                                                        RS Legacy Corporation fka RadioShack
Newark, OH 43058                                     5100      6/19/2015 Corporation                                                      $81.95                                                  $131.54                                 $213.49
EQUITY BUILDERS INC
JEAN BROCKMUELLER
100 N PHILLIPS AVE, STE 901                                              RS Legacy Corporation fka RadioShack
SIOUX FALLS, SD 57104                                5101      6/19/2015 Corporation                                                 $17,669.69                                                                                        $17,669.69
Cantor Fitzgerald Securities, as Agent and the
Claimants identified on the attached hereto
James Bond
110 East 59th Street
New York, NY 10022                                   5102      6/19/2015 TRS Quality, Inc.                                                                                                                            $0.00                 $0.00

Cantor Fitzgerald Securities, as Agent and the
Claimants identified on the attachment hereto
James Bond
110 East 59th Street                                                     RS Legacy Global Sourcing, Inc. fka RadioShack
New York, NY 10022                                   5103      6/19/2015 Global Sourcing, Inc.                                                                                                                        $0.00                 $0.00
Cantor Fitzgerald Securities, as Agent and the
Claimants identified on the attached hereto
James Bond
110 East 59th Street
New York, NY 10022                                   5104      6/19/2015 Ignition L.P.                                                                                                                                $0.00                 $0.00




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                                                                                                                              Current General                                            Current 503(b)(9)
                                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address               Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount

Cantor Fitzgerald Securities, as Agent and the
Claimants identified on the attachment hereto
James Bond                                                                RS Legacy Global Sourcing Limited Partnership
110 East 59th Street                                                      fka RadioShack Global Sourcing Limited
New York, NY 10022                                    5105      6/19/2015 Partnership                                                                                                                                  $0.00                 $0.00
MGEN CAPITAL LLC
501 N. 13TH STREET                                                        RS Legacy Corporation fka RadioShack
HARLINGEN, TX 78550                                   5106      6/19/2015 Corporation                                                   $4,965.51              $0.00                                               $3,514.52             $8,480.03
VNO 100 WEST 33RD STREET LLC
Vornado Realty Trust
Steven Santora, Senior Vice President
Attn: Randall Greenman
210 Route 4 East                                                          RS Legacy Corporation fka RadioShack
Paramus, NJ 07652                                     5107      6/19/2015 Corporation                                                   $3,395.07                                                                                        $3,395.07

Points East, LLC (c/o Sequoia Realty Corporation)
Howard S. Rabb, Esq.
Dworken & Bernstein Co., L.P.A.
60 South Park Place                                                       RS Legacy Corporation fka RadioShack
Painesville, OH 44077                                 5108      6/19/2015 Corporation                                                       $0.00                                                                                            $0.00
Galleria at Wolfchase, LLC
Simon Property Group Inc.
225 West Washington Street                                                RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                5109      6/19/2015 Corporation                                                     $760.29              $0.00                                                                       $760.29
KRG Draper Peaks, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                 RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                    5110      6/19/2015 Corporation                                                                                                                                  $0.00                 $0.00
RACEWAY PLAZA II 2006 LP
C/O GLIMCHER GROUP INC
1 MELLON BANK CTR STE 2000                                                RS Legacy Corporation fka RadioShack
PITTSBURGH, PA 15258                                  5111      6/19/2015 Corporation                                                 $56,857.49                                                                                        $56,857.49
Village Realty, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                 RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                    5112      6/19/2015 Corporation                                                 $34,597.90                                                                                        $34,597.90
Ramirez, William J.
2408 Ave. Eduardo Conde Parq. Victoria
Apt. 229 Edf. 2                                                           RS Legacy Corporation fka RadioShack
San Juan, PR 00915                                    5113      6/19/2015 Corporation                                                                                                                                  $0.00                 $0.00
PINNACLE PROPERTIES I, LLC
C/O ERSHIG PROPERTIES, INC.
1800 N ELM STREET
PO Box 1127                                                               RS Legacy Corporation fka RadioShack
HENDERSON, KY 42420                                   5114      6/19/2015 Corporation                                                   $1,333.34                                                                                        $1,333.34




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                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
Mall del Norte, LLC, by CBL & Associates
Management, Inc. managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                                RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                5115      6/19/2015 Corporation                                                                                                                            $11,257.43            $11,257.43
MERCED IRRIGATION DISTRICT
Phil McMurray, General Counsel
744 W. 20th Street                                                       RS Legacy Corporation fka RadioShack
Merced, CA 95340                                     5116      6/19/2015 Corporation                                                    $601.22                                                                                          $601.22
York Galleria Partnership by CBL & Associates
management, Inc. managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                                RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                5117      6/19/2015 Corporation                                                                                                                             $4,486.24             $4,486.24
Buckley, Kathy A.
708 Love Henry Court                                                     RS Legacy Corporation fka RadioShack
South Lake, TX 76092                                 5118      6/22/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
WAGNERVILLE PROPERTIES
3000 HENKLE DR STE G                                                     RS Legacy Corporation fka RadioShack
LEBANON, OH 45036                                    5119      6/22/2015 Corporation                                                  $1,318.36                                                                                        $1,318.36
MADISON/WEST TOWNE LLC
C/O CBL & ASSOCIATES MANAGEMENT INC.
2030 HAMILTON PLACE BOULEVARD                                            RS Legacy Corporation fka RadioShack
CHATTANOOGA, TN 37421                                5120      6/19/2015 Corporation                                                                                                                             $2,971.45             $2,971.45

Walnut Square Associates Limited Partnership by
CBL & Associates Management, Inc. managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                                RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                5121      6/19/2015 Corporation                                                                                                                             $6,871.75             $6,871.75

West County Mall CMBS, LLC by CBL & Associates
Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                                RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                5122      6/19/2015 Corporation                                                                                                                             $2,144.31             $2,144.31
Torres Gonzalez, Wilmary
PO Box 21                                                                RS Legacy Corporation fka RadioShack
Patillas, PR 00723                                   5123      6/19/2015 Corporation                                                                         $0.00                                                                         $0.00
Pierce Building Assocaites LP
c/o Rosemary A. Macero
Macero Law PC
92 High St. Suite T2A                                                    RS Legacy Corporation fka RadioShack
Medford, MA 02155                                    5124      6/19/2015 Corporation                                                $14,849.10                                                                                        $14,849.10




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                                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                     Amount                                                     Amount

Dakota Square Mall CBMS, LLC, by CBL & Associates
Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                                     RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                     5125      6/19/2015 Corporation                                                                                                                             $5,956.12             $5,956.12
Duke Energy Indiana
1000 E. Main Street                                                           RS Legacy Corporation fka RadioShack
PLAINFIELD, IN 46168                                      5126      6/19/2015 Corporation                                                                                                                             $3,489.13             $3,489.13

Fashion Square Mall CMBS, LLC, by CBL & Associates
Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                                     RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                     5127      6/19/2015 Corporation                                                                                                                             $2,991.37             $2,991.37
Chesterfield Mall LLC, by CBL & Associates
Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                                     RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                     5128      6/19/2015 Corporation                                                                                                                             $4,804.12             $4,804.12
CBL Morristown, Ltd., by CBL & Associates
Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                                     RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                     5129      6/19/2015 Corporation                                                                                                                             $4,285.34             $4,285.34
Frontier Mall Associates Limited Partnership, LLC, by
CBL & Associates Management, Inc., managing
agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                                     RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                     5130      6/19/2015 Corporation                                                                                                                             $4,928.98             $4,928.98
CBL SM‐Brownsville, LLC by CBL & Associates
Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                                     RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                     5131      6/19/2015 Corporation                                                                                                                             $8,190.14             $8,190.14
Walton Jr., Frazer
1913 D Street, N.E.                                                           RS Legacy Corporation fka RadioShack
Washington, D.C. 20002‐6719                               5132      6/19/2015 Corporation                                                      $0.00                                                                                            $0.00
Honey Creek Mall, LLC, by CBL & Associates
Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                                     RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                     5133      6/19/2015 Corporation                                                                                                                             $7,042.15             $7,042.15




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                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
Parkchester Preservation Company, L.P.
c/o Michael S. Tucker, Esq.
ULMER & BERNE LLP
1660 West 2nd Street, Suite 1100                                    RS Legacy Corporation fka RadioShack
Cleveland, OH 44113‐1448                        5134      6/19/2015 Corporation                                                                                                                             $7,486.78             $7,486.78
Herrera, Robert
1001 California Trl                                                 RS Legacy Corporation fka RadioShack
Grand Prairie, TX 75052                         5135      6/19/2015 Corporation                                                                         $0.00                                                                         $0.00
PINTZUK BROWN REALTY GROUP INC
491 OLD YORK RD STE 200                                             RS Legacy Corporation fka RadioShack
JENKINTOWN, PA 19046                            5136      6/19/2015 Corporation                                                      $0.00                                                                                            $0.00
AEW LT BROOMFIELD TOWN CENTRE LLC
CYLG, P.C.
1522 Blake Street, Suite 300                                        RS Legacy Corporation fka RadioShack
Denver, CO 80202                                5137      6/19/2015 Corporation                                                      $0.00                                                                                            $0.00
JWW Family, LLC.
Matthew P Austin
Werb & Sullivan
300 Delaware Ave, Ste 1300                                          RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                            5138      6/20/2015 Corporation                                                                                                                                 $0.00                 $0.00
Wilton Mall, LLC (203270‐02195)
c/o Dustin P. Branch, Esq.
Katten Munchin Rosenman LLP
2029 Century Park East, Suite 2600                                  RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                      5139      6/20/2015 Corporation                                                                                                                               $306.34               $306.34
Bacak, George
14 Bricks Way                                                       RS Legacy Corporation fka RadioShack
Sellersville, PA 18960                          5140      6/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Hughes, Ann Marie
408 Angelo Lane                                                     RS Legacy Corporation fka RadioShack
Cocoa Beach, FL 32931                           5141      6/22/2015 Corporation                                                     $25.00                                                                                           $25.00

G.G. SEEGER SQUARE 1996 LIMITED PARTNERSHIP
C/O GLIMCHER GROUP, BNY MELLON CENTER
SUITE 2000, 500 GRANT STREET                                        RS Legacy Corporation fka RadioShack
PITTSBURGH, PA 15219                            5142      6/19/2015 Corporation                                                $36,918.72                                                                                        $36,918.72
PINTZUK BROWN REALTY GROUP INC
491 OLD YORK RD STE 200                                             RS Legacy Corporation fka RadioShack
JENKINTOWN, PA 19046                            5143      6/19/2015 Corporation                                                      $0.00                                                                                            $0.00
Austintown Plaza, Ltd.
c/o Michael S. Tucker, Esq.
ULMER & BERNE LLP
1660 West 2nd Street, Suite 1100                                    RS Legacy Corporation fka RadioShack
Cleveland, OH 44113‐1448                        5144      6/19/2015 Corporation                                                $30,408.76                                                                                        $30,408.76
Southlake Indiana LLC (384901‐00151)
c/o Dustin P. Branch, Esq.
Katten Munchin Rosenman LLP
2029 Century Park East, Suite 2600                                  RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                      5145      6/20/2015 Corporation                                                                                                                             $5,733.05             $5,733.05




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            Creditor Name and Address               Claim No.   Claim Date                     Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount

Cantor Fitzgerald Securities, as Agent and the
Claimants identified on the attachment hereto
James Bond
110 East 59th Street
New York, NY 10022                                    5146      6/19/2015 RS Ig Holdings Incorporated                                                                                                                 $0.00                 $0.00

Madison Square Associates, Ltd., by CBL &
Associates Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                                 RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                 5147      6/19/2015 Corporation                                                                                                                             $1,065.88             $1,065.88
Volusia Mall, LLC by CBL & Associates Management,
Inc., managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                                 RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                 5148      6/19/2015 Corporation                                                                                                                            $12,940.36            $12,940.36
Westgate Mall CMBS, LLC by CBL & Associates
Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                                 RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                 5149      6/19/2015 Corporation                                                                                                                             $2,555.25             $2,555.25
4801 Hulen, LLC
Nicholas R. Grillot, Hinkle Law Firm, LLC
301 North Main, Suite 2000                                                RS Legacy Corporation fka RadioShack
Wichita, KS 67202‐4820                                5150      6/20/2015 Corporation                                                                                                                                 $0.00                 $0.00
Fleming, Danny W.
5500 Azaloak Rd.                                                          RS Legacy Corporation fka RadioShack
Conway, SC 29526                                      5151      6/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Rodriguez Berrios, Orlando
Mondriguez & Mondriguez
Apartado 1211                                                             RS Legacy Corporation fka RadioShack
Las Piedras, PR 00771                                 5152      6/22/2015 Corporation                                                $80,974.08                                                                                        $80,974.08
White Plains Galleria Limited Partnership
Simon Property Group, Inc.
225 West Washington Street                                                RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                5153      6/19/2015 Corporation                                                  $1,190.76                                                                      $0.00             $1,190.76
Campolo, Middleton & McCormick, LLP
4175 Veterans Memorial Highway, Suite 400                                 RS Legacy Corporation fka RadioShack
Ronkonkoma, NY 11779                                  5154      6/22/2015 Corporation                                                  $9,188.81                                                                                        $9,188.81
Courtemanche, Scott
31 Francis Dr                                                             RS Legacy Corporation fka RadioShack
Newington, CT 06111                                   5155      6/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Buchanan Crossroads II, LP, a California limited
Partnership
7090 N. Marks Avenue, Suite 102                                           RS Legacy Corporation fka RadioShack
Fresno, CA 93711                                      5156      6/22/2015 Corporation                                                      $0.00                                                                      $0.00                 $0.00




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                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
E & J Builders
PO Box 2055                                                            RS Legacy Corporation fka RadioShack
Glenview, IL 60025                                 5157      6/22/2015 Corporation                                                  $1,714.88                                                                                        $1,714.88
CITY OF NICEVILLE
Lannie Corbin ‐ City Manager
208 N Partin Dr                                                        RS Legacy Corporation fka RadioShack
Niceville, FL 32578                                5158      6/22/2015 Corporation                                                    $447.41                                                                                          $447.41

Ramco Gershenson Properties, LP
David M. Blau, Esq., Attorney/authorized agent
151 S. Old Woodward Ave., Ste. 200                                     RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                               5159      6/22/2015 Corporation                                                                                                                             $2,230.20             $2,230.20
Bautista Gonzalez, Christian J
318 W 41st Pl                                                          RS Legacy Corporation fka RadioShack
Los Angeles, CA 90037                              5160      6/22/2015 Corporation                                                      $0.00              $0.00             $0.00                                                       $0.00
Ann Marie Hughes
408 Angelo Lane                                                        RS Legacy Corporation fka RadioShack
Cocoa Beach, FL 32931                              5161      6/22/2015 Corporation                                                     $25.00                                                                                           $25.00
Rocha, Luis
Friedman & Feiger LLP
5301 Spring Valley Road
Suite 200                                                              RS Legacy Corporation fka RadioShack
Dallas, TX 75254                                   5162      6/22/2015 Corporation                                                      $0.00                                                                                            $0.00

SFP Pool Three Shopping Center, LP
David M. Blau, Esq., Attorney/Authorized Agent
151 S. Old Woodward Ave., Ste. 200                                     RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                               5163      6/22/2015 Corporation                                                                                                                             $2,240.10             $2,240.10
Moore, Garrett
4428 Newlands St                                                       RS Legacy Corporation fka RadioShack
Metairie, LA 70006                                 5164      6/22/2015 Corporation                                                                                                              $50.00                                  $50.00

Ramco Gershenson Properties, LP
David M. Blau, Esq., Attorney/authorized agent
151 S. Old Woodward Ave., Ste. 200                                     RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                               5165      6/22/2015 Corporation                                                                                                                             $2,240.48             $2,240.48

Linton Delray, LLC
David M. Blau, Esq., Attorney/Authorized Agent
Clark Hill PLC
151 S. Old Woodward Ave., Ste. 200                                     RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                               5166      6/22/2015 Corporation                                                                                                                             $5,529.03             $5,529.03
Bautista, Christian
318 W 41st Pl                                                          RS Legacy Corporation fka RadioShack
Los Angeles, CA 90037                              5167      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
Courtemanche, Scott
31 Francis Drive                                                       RS Legacy Corporation fka RadioShack
Newington, CT 06111                                5168      6/22/2015 Corporation                                                      $0.00                                                                                            $0.00
NStar Gas D/B/A/ Eversource
Kathleen Berry
One NStar Way                                                          RS Legacy Corporation fka RadioShack
Westwood, MA 02090                                 5169      6/22/2015 Corporation                                                                                                                             $2,147.99             $2,147.99



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                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
West Allen Plaza, LLC
David M. Blau, Esq.
Clark Hill PLC
151 S. Old Woodward Ave., 2nd Floor                                    RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                               5170      6/22/2015 Corporation                                                  $7,380.29                                                                  $6,088.86            $13,469.15
Dika‐Windmill Lakes, LLC
c/o Thomas W. Goedert
Crane, Heyman, Simaon, Welch & Clar
135 S. LaSalle Street
Suite 3705                                                             RS Legacy Corporation fka RadioShack
Chicago, IL 60603                                  5171      6/22/2015 Corporation                                                  $3,595.28                                                                                        $3,595.28

UrbanCal Oakland Mall, LLC
David M. Blau, Esq., Attorney/Authorized Agent
151 S. Old Woodward Ave., Ste. 200                                     RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                               5172      6/22/2015 Corporation                                                                                                                             $3,082.57             $3,082.57

Ramco‐Gershenson Properties, L.P.
David M. Blau, Esq., Attorney/Authorized Agent
151 S. Old Woodward Ave., Ste. 200                                     RS Legacy Corporation fka RadioShack
Birmingham , MI 48009                              5173      6/22/2015 Corporation                                                    $446.54                                                                      $0.00               $446.54
Chester Springs SC, LLC
David M. Blau, Esq.
Clark Hill PLC
151 S. Old Woodward Ave., 2nd Floor                                    RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                               5174      6/22/2015 Corporation                                                                                                                             $3,355.60             $3,355.60
COLT HOLDINGS, LTD
CHARLES W. SHEARS, MANAGER
712 MAIN STREET, 29TH FLOOR                                            RS Legacy Corporation fka RadioShack
HOUSTON, TX 77002                                  5175      6/22/2015 Corporation                                                                                                                             $4,093.44             $4,093.44

Melbourne/C&A, LTD (Phillips Edison & Company)
t/a Melbourne Village Plaza, Melbourne, FL
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                         RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                             5176      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00

Ramco‐Gershenson Properties, LP
David M. Blau, Esq., Attorney/Authorized Agent
151 S. Old Woodward Ave., Ste. 200                                     RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                               5177      6/22/2015 Corporation                                                                                                                             $3,377.92             $3,377.92
Park Plaza Properties‐Mavco, LLC
541 CALEDONIA ROAD                                                     RS Legacy Corporation fka RadioShack
DIX HILLS, NY 11746‐7715                           5178      6/22/2015 Corporation                                                  $4,120.90                                                                                        $4,120.90

Ramco‐Gershenson Properties, L.P
David M. Blau, Esq., Attorney/Authorized Agent
151 S. Old Woodward Ave., Ste. 200                                     RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                               5179      6/22/2015 Corporation                                                    $523.66                                                                  $5,297.14             $5,820.80




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                                                                                                                          Current General                                            Current 503(b)(9)
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            Creditor Name and Address            Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount

Ramco Gershenson Properties, LP
David M. Blau, Esq., Attorney/authorized agent
151 S. Old Woodward Ave., Ste. 200                                     RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                               5180      6/22/2015 Corporation                                                                                                                             $3,142.57             $3,142.57
S.D.P. ELECTRONICS, INC.
4360 PINE LAKE DR                                                      RS Legacy Corporation fka RadioShack
MEDINA, OH 44256‐7626                              5181      6/22/2015 Corporation                                                  $1,643.47                                                                      $0.00             $1,643.47
BRIGHTON BEACH REALTY LLC
Re Store No. 2658
PO BOX 525                                                             RS Legacy Corporation fka RadioShack
MANALPAN, NJ 07726‐0000                            5182      6/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Cedar Timpany, LLC
c/o Cedar Realty Trust, Inc.
44 South Bayles Avenue, Suite 304                                      RS Legacy Corporation fka RadioShack
Port Washington, NY 11050                          5183      6/22/2015 Corporation                                                $34,616.38                                                 $1,968.76                              $36,585.14
Dover Mall, LLC
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                               RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                             5184      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
North Collins Two, LP
Attn: Ken Bruder
1010 N Collins St.                                                     RS Legacy Corporation fka RadioShack
Arlington, TX 76011                                5185      6/20/2015 Corporation                                                                                                                             $4,145.30             $4,145.30
East Mesa Mall, L.L.C. (203270‐02206)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                     RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                         5186      6/20/2015 Corporation                                                                                                                             $2,052.87             $2,052.87
EQUITY BUILDERS INC
JEAN BROCKMUELLER
100 N PHILLIPS AVE, STE 901                                            RS Legacy Corporation fka RadioShack
SIOUX FALLS, SD 57104                              5187      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
AEW LT Broomfield Town Centre LLC
c/o Weingarten Realty Investors
Christopher A. Young
1522 Blake Street, Suite 300                                           RS Legacy Corporation fka RadioShack
Denver, CO 80202                                   5188      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
MCGorty Costa, Mary
3114 Pocahontas Avenue                                                 RS Legacy Customer Service LLC fka RadioShack
Point Pleasant, NJ 08742                           5189      6/20/2015 Customer Service LLC                                                              $69.35                                  $0.00                                  $69.35
Banksville, Inc.
537 Rochester Road                                                     RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15237                               5190      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
Valley View Mall SPE, LLC by CBL & Associates
Management, Inc., managing agent
Gary Roddy
Vice President ‐ Collections
2330 Hamilton Place Blvd. Suite 500                                    RS Legacy Corporation fka RadioShack
CHATTANOOGA, TN 37421                              5191      6/19/2015 Corporation                                                                                                                             $4,731.04             $4,731.04



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            Creditor Name and Address             Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                     Amount
WLPX Hesperia, LLC
John M. Goodman
Senior Vice President/ CEO/ CFO
Lewis Operating Corp.
1156 N. Mountain Ave                                                    RS Legacy Corporation fka RadioShack
Upland, CA 91786                                    5192      6/19/2015 Corporation                                                                                                                             $3,989.04             $3,989.04
De Rito Pavilions 139, LLC
Willaim A. Hazeltine
Sullivan Hazeltine Allison LLC
901 North Market Street, Suite 1300                                     RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                                5193      6/19/2015 Corporation                                                                                                                             $4,639.90             $4,639.90
ONE PENN PLAZA LLC
C/O VORNADO REALTY TRUST
ATTN: RANDALL GREENMAN
210 ROUTE 4 EAST                                                        RS Legacy Corporation fka RadioShack
PARAMUS, NJ 07652                                   5194      6/19/2015 Corporation                                                  $1,215.91                                                                                        $1,215.91

Bonita Lakes Mall Limited Partnership, by CBL &
Associates Management, Inc. managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                               RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                               5195      6/19/2015 Corporation                                                                                                                             $9,817.85             $9,817.85
1 South Wacker Financial Associates, LLC.
Robert S. Friedman
999 Waterside Drive Ste 2300                                            RS Legacy Corporation fka RadioShack
Norfolk, VA 23510                                   5196      6/19/2015 Corporation                                                                                                                             $7,537.50             $7,537.50

Cary Venture Limited Partnership, by CBL &
Associates Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                               RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                               5197      6/19/2015 Corporation                                                                                                                             $2,610.15             $2,610.15
POM‐ College Station, LLC, by CBL & Associates
Management, Inc. managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                               RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                               5198      6/19/2015 Corporation                                                                                                                             $2,639.65             $2,639.65
Claim Docketed In Error                                                 RS Legacy Corporation fka RadioShack
                                                    5199      6/8/2015 Corporation                                                                                                                                                        $0.00

Old Hickory Mall Venture II, LLC, by CBL &
Associates Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                               RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                               5200      6/19/2015 Corporation                                                                                                                             $6,398.60             $6,398.60




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            Creditor Name and Address               Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Arbor Place II, LLC, by CBL & Associates
Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
2330 Hamilton Place Blvd.                                                 RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                 5201      6/19/2015 Corporation                                                                                                                             $7,758.53             $7,758.53
Eastgate CMBS, LLC, by CBL & Associates
Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                                 RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                 5202      6/19/2015 Corporation                                                                                                                             $4,059.67             $4,059.67

Garrison Lakeshore Owner LLC, by CBL & Associates
Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                                 RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                 5203      6/19/2015 Corporation                                                                                                                             $5,304.71             $5,304.71
Ashville Mall CMBS, LLC, by CBL & Associates
Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                                 RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                 5204      6/19/2015 Corporation                                                                                                                             $6,308.57             $6,308.57
Invesco IF IV U.S. 2, L.P.
Denis D. Miller for Landlord
c/o Lubin Olson & Niewaidomski
600 Montgomery Street, 14th Fl                                            RS Legacy Corporation fka RadioShack
San Francisco, CA 94111                               5205      6/19/2015 Corporation                                                                                                                             $8,387.88             $8,387.88
Duffey, Seth
4315 River Road Nw
Apt 7                                                                     RS Legacy Corporation fka RadioShack
Washington, DC 20016                                  5206      6/19/2015 Corporation                                                                     $3,384.62                                                                     $3,384.62

Ramco Spring Meadows LLC
David M. Blau, Esq., Attorney/Authorized Agent
151 S. Old Woodward Ave., Ste. 200                                        RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                                  5207      6/22/2015 Corporation                                                    $184.31                                                                      $0.00               $184.31
The Lakes Mall, LLC by CBL & Associates
Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                                 RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                 5208      6/19/2015 Corporation                                                                                                                             $4,952.87             $4,952.87
Bayshore Mall 1A, LLC, Bayshore Mall 1B, LLC and
Bayshore Mall 2, LLC
Inez M. Markovich, Esq.
Anderson Kill, P.C.
1760 Market St
Ste 600                                                                   RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                                5209      6/19/2015 Corporation                                                  $2,828.59                                                                  $1,918.57             $4,747.16




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                                                                                                                                                Current Priority    Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address            Claim No.   Claim Date                    Debtor                         Unsecured Claim                                              Admin Priority
                                                                                                                                                 Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                      Amount
Claims Recovery Group LLC as Transferee for
Benjamin Lieberman
C/O CRG Financial LLC
Attn: General Counsel
100 Union Avenue, Suite 240                                            RS Legacy Corporation fka RadioShack
Cresskill, NJ 07626                                5210      6/19/2015 Corporation                                                      $0.00          $12,475.00             $0.00               $0.00             $0.00            $12,475.00
Lieberman, Benjamin
31 Pleasant Road                                                       RS Legacy Corporation fka RadioShack
Plymouth Meeting, PA 19462                         5210      6/19/2015 Corporation                                                $10,409.68                $0.00                                                                    $10,409.68
Mon Power
Walter Larnerd
1310 Fairmont Ave                                                      RS Legacy Corporation fka RadioShack
Fairmont, WV 26554                                 5211      6/19/2015 Corporation                                                                                                                              $3,221.20             $3,221.20
CBL/Westmoreland, L.P. by CBL & Associates
Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
2330 Hamilton Place Blvd.                                              RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                              5212      6/19/2015 Corporation                                                                                                                              $4,970.13             $4,970.13
Fair Harbor Capital, LLC as Assignee of 126‐01
Hillside Ave Associates LLC (Store # 2662)
PO Box 237037                                                          RS Legacy Corporation fka RadioShack
New York, NY 10023                                 5213      6/22/2015 Corporation                                                                                                                              $6,844.66             $6,844.66

SFP Pool Three Shopping Center, LP
David M. Blau, Esq., Attorney/Authorized Agent
151 S. Old Woodward Ave., Ste. 200                                     RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                               5214      6/22/2015 Corporation                                                                                                                              $1,203.33             $1,203.33
SFP Pool Six, LLC
David M. Blau, Esq.
151 S. Old Woodward Ave., Ste. 200                                     RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                               5215      6/22/2015 Corporation                                                                                                                                $770.88               $770.88
Parsons Village Station LLC (Phillips Edison &
Company) t/a Parsons Village, Seffner, FL
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                         RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                             5216      6/22/2015 Corporation                                                  $3,469.51                                                                   $3,028.15             $6,497.66
Ohio Edison
Walter Larnerd
1310 Fairmont Ave                                                      RS Legacy Corporation fka RadioShack
Fairmont, WV 26554                                 5217      6/19/2015 Corporation                                                                                                                              $5,854.33             $5,854.33
QMI Security Shutter
c/o Liquidity Solutions, Inc.
One University Plaza
Suite 312                                                              RS Legacy Corporation fka RadioShack
Hackensack, NJ 07601                               5218      6/19/2015 Corporation                                                  $4,456.73                                                                   $2,228.12             $6,684.85
Winter Street Condominiums, LLC
c/o Holland & Knight LLP
10 St. James Avenue                                                    RS Legacy Corporation fka RadioShack
Boston, MA 02116                                   5219      6/22/2015 Corporation                                                                                                                             $16,300.03            $16,300.03




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            Creditor Name and Address                     Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                       Amount                                                     Amount
Wetlstein, Thomas
W4558 Hickory Hills Rd.                                                         RS Legacy Corporation fka RadioShack
Chi Hon, WI 53014                                           5220      6/19/2015 Corporation                                                      $0.00                                                                                            $0.00

Illinois National Insurance Company, National Union
Fire Insurance Company of Pittsburgh, Pa., and
certain other affiliates of AIG Property Casualty, Inc.
Jason R. Goldy, Esq.
Attorney for Claimant
15 Water Street, 15th Floor                                                     RS Legacy Corporation fka RadioShack
New York, NY 10038                                          5221      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
Gumberg Associates ‐ Franklin Plaza c/o LG Realty
Advisors, Inc.
Brian T. Lindauer, Esq.
Goehring, Ruttner & Boehm
437 Grant Street, 14th Floor                                                    RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15219                                        5222      6/22/2015 Corporation                                                                                                                             $1,712.74             $1,712.74
Fair Harbor Capital, LLC as Assignee of Marketplace‐
Columbia, LLC (Store #9636)
PO Box 237037                                                                   RS Legacy Corporation fka RadioShack
New York, NY 10023                                          5223      6/22/2015 Corporation                                                                                                                             $2,475.64             $2,475.64
Fair Harbor Capital, LLC as Assignee of Creativity
Circle, Inc. (Store #6559)
PO Box 237037                                                                   RS Legacy Corporation fka RadioShack
New York, NY 10023                                          5224      6/22/2015 Corporation                                                                                                                             $2,186.67             $2,186.67
HAMPTON & 12TH, L.P.
Geena Piwetz, Chief Fin. Officer
Rader Family Holdings, LLC, Gen. Partner
c/o RP Texas Mgt, LLC
12342 Inwood Rd.                                                                RS Legacy Corporation fka RadioShack
Dallas, TX 75244                                            5225      6/22/2015 Corporation                                                    $492.18                                                                                          $492.18
Fair Harbor Capital, LLC as Assignee of Seaford
Commons LLC (store #2954)
Victor Knox
PO Box 237037                                                                   RS Legacy Corporation fka RadioShack
New York, NY 10023                                          5226      6/22/2015 Corporation                                                                                                                             $4,148.28             $4,148.28
PAGE PLAZA, LLC
Ecoff Landsberg, LLP
Attn: Ian S. Landsberg
280 South Beverly Drive, Suite 5040                                             RS Legacy Corporation fka RadioShack
Beverly Hills, CA 90212                                     5227      6/22/2015 Corporation                                                                                                                             $3,852.77             $3,852.77
Fair Harbor Capital, LLC as Assignee of CCVA, Inc.
(aka Centro Gran Caribe Shopping Center) (Store
#9571)
PO Box 237037                                                                   RS Legacy Corporation fka RadioShack
New York, NY 10023                                          5228      6/22/2015 Corporation                                                                                                                             $5,991.98             $5,991.98
CEDAR‐SOUTH PHILADELPHIA I, LLC
c/o Cedar Realty Trust, Inc.
44 South Bayles Avenue, Suite 304                                               RS Legacy Corporation fka RadioShack
Port Washington, NY 11050                                   5229      6/22/2015 Corporation                                                $21,858.35                                                     $0.00                              $21,858.35




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            Creditor Name and Address               Claim No.   Claim Date                    Debtor                         Unsecured Claim                                            Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                    Amount
The Thomas and Mary Baggot Revocable Trust dtd
Sept 25, 2000
Solomon Ward Seidenwurm & Smith, LLP
Michael D. Breslauer, Esq.
401 B Street, SUITE 1200                                                  RS Legacy Corporation fka RadioShack
San Diego, CA 92101                                   5230      6/22/2015 Corporation                                                                                                                                $0.00                 $0.00
Fair Harbor Capital, LLC as Assignee of NC Plaza
Realty LLC (store #6723)
PO Box 237037                                                             RS Legacy Corporation fka RadioShack
New York, NY 10023                                    5231      6/22/2015 Corporation                                                                                                                            $1,415.48             $1,415.48
EA394 Associates, LLC
Jacob B. Sellers, Esq.
225 South Sixth St.
Suite 3500                                                                RS Legacy Corporation fka RadioShack
Minneapolis, MN 55402                                 5232      6/22/2015 Corporation                                                                                                                                $0.00                 $0.00

SDI Bossier Ltd.
Charles W. Shears, Manager
c/o Karen E. Murray, Esq. ‐ Craddock Massey LLP
712 Main Street, 29th Floor                                               RS Legacy Corporation fka RadioShack
Houston, TX 77002                                     5233      6/22/2015 Corporation                                                                                                                            $7,761.47             $7,761.47
Fair Harbor Capital, LLC, as assignee of Geyer
Springs Shopping Center, LLC (Store #8441)
PO Box 237037                                                             RS Legacy Corporation fka RadioShack
New York, NY 10023                                    5234      6/22/2015 Corporation                                                                                                                            $2,249.89             $2,249.89

Landings of Sarasota Florida, LLC
David M. Blau, Esq., Attorney/Authorized Agent
151 S. Old Woodward Ave., Ste. 200                                        RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                                  5235      6/22/2015 Corporation                                                                                                                            $3,034.17             $3,034.17
Fair Harbor Capital, LLC as Assignee of R Stewart
Properties LLC (Store #8517)
PO Box 237037                                                             RS Legacy Corporation fka RadioShack
New York, NY 10023                                    5236      6/22/2015 Corporation                                                                                                                            $1,622.21             $1,622.21
Park Central Crossing Outlot 2, Ltd.
Charles W. Shears, Manager
c/o KAREN E. MURRAY, ESQ. ‐ CRADDOCK MASSEY
LLP
712 Main Street, 29th Floor                                               RS Legacy Corporation fka RadioShack
HOUSTON, TX 77002                                     5237      6/22/2015 Corporation                                                                                                                                $0.00                 $0.00
Cohen, David
223 Brookside Dr                                                          RS Legacy Corporation fka RadioShack
Sparta, NJ 07871                                      5238      6/22/2015 Corporation                                                                                                             $50.00                                  $50.00

Treeline Partners, Ltd.
Charles W. Shears, Manager
c/o Karen E. Murray, Esq. ‐ Craddock Massey LLP
712 Main Street, 29th Floor                                               RS Legacy Corporation fka RadioShack
Houston, TX 77002                                     5239      6/22/2015 Corporation                                                                                                                            $3,891.60             $3,891.60




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                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
Cedar‐Carmans, LLC
c/o Cedar Realty Trust, Inc.
44 South Bayles Avenue, Suite 304                                        RS Legacy Corporation fka RadioShack
Port Washington, NY 11050                            5240      6/22/2015 Corporation                                                $61,104.47                                                     $0.00                              $61,104.47
COOPER BUSSMANN
Sandra M. Scafaria, Manager ‐ Insolvency
1000 Eaton Blvd
Mailcode 3N                                                              RS Legacy Corporation fka RadioShack
Cleveland, OH 44122‐9100                             5241      6/22/2015 Corporation                                                                                                                             $1,920.00             $1,920.00
Park Plaza Properties‐Mavco, LLC
541 CALEDONIA ROAD                                                       RS Legacy Corporation fka RadioShack
DIX HILLS, NY 11746‐7715                             5242      6/22/2015 Corporation                                                                                                                             $8,222.76             $8,222.76
P.D. Liberty Plaza GBC, LLC
Attn: Barnett Interests, Inc.
5700 Legacy Drive, Suite 10                                              RS Legacy Corporation fka RadioShack
Plano, TX 75024                                      5243      6/22/2015 Corporation                                                  $3,005.68                                                                                        $3,005.68
Hitachi Data Systems Credit Corporation
Dale L. Bratton, Attorney at Law
172 7th Avenue                                                           RS Legacy Corporation fka RadioShack
San Francisco, CA 94118                              5244      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
Fair Harbor Capital, LLC as Assignee of 2935‐37
Third Ave Realty LLC (Store #2881)
PO Box 237037                                                            RS Legacy Corporation fka RadioShack
New York, NY 10023                                   5245      6/22/2015 Corporation                                                                                                                            $16,237.78            $16,237.78

Jubilee Square, LLC
Richard M. Gaal, Counsel for Jubilee Square, LLC
11 North Water Street, Ste. 13290
PO Box 350                                                               RS Legacy Corporation fka RadioShack
Mobile, AL 36601                                     5246      6/22/2015 Corporation                                                                                                                             $3,294.72             $3,294.72
Gumberg Associates ‐ Mifflin County Commons c/o
LG Realty Advisors, Inc.
Brian T. Lindauer
Goehring, Rutter & Boehm
437 Grant Street, 14th Floor                                             RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15219                                 5247      6/22/2015 Corporation                                                                                                                             $2,189.76             $2,189.76
CFS Associates, L.L.C.
c/o Matthew G. Summers, Esq.
Ballard Spahr LLP
919 N. Market Street, 11th Floor                                         RS Legacy Corporation fka RadioShack
Wilmington , DE 19801                                5248      6/22/2015 Corporation                                                                                                                             $2,836.62             $2,836.62
Alecta Real Estate USA, LLC
Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                       RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                           5249      6/22/2015 Corporation                                                                                                                               $406.82               $406.82
Bay Park Venture I, Ltd.
Bay Park Partners, L.L.C.
Charles W. Shears, Manager
712 Main Street, 29th Floor                                              RS Legacy Corporation fka RadioShack
Houston, TX 77002                                    5250      6/22/2015 Corporation                                                                                                                             $4,294.33             $4,294.33




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                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount

Highlands Center, LLC
Highlands Center, LLC, by JIT Investment Company
LLC, Member, By John M. Sigler, Member
800 NE Tenney Road,
Suite 110‐135                                                              RS Legacy Corporation fka RadioShack
Vancouver , WA 98685                                   5251      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
Kimco Delaware Inc.
c/o Kimco Realty Corporation
3333 New Hyde Park Road
Ste. 100                                                                   RS Legacy Corporation fka RadioShack
New Hyde Park, NY 11042                                5252      6/22/2015 Corporation                                                                                                                             $5,183.49             $5,183.49
KIMSCHOTT FACTORIA MALL LLC
C/O KIMCO REALTY CORPORATION
3333 NEW HYDE PARK ROAD
Ste. 100                                                                   RS Legacy Corporation fka RadioShack
NEW HYDE PARK, NY 11042                                5253      6/22/2015 Corporation                                                                                                                             $7,641.23             $7,641.23
Lake Arbor Plaza, LLC
Ian S. Landsberg, Esq.
Ecoff Landsberg, LLP
280 South Beverly Drive                                                    RS Legacy Corporation fka RadioShack
Beverly Hills , CA 90212                               5254      6/22/2015 Corporation                                                  $2,783.22                                                                  $2,737.50             $5,520.72
EA394 Associates, LLC
Winthrop & Weinstine, P.A. (JBS)
225 South Sixth St, Suite 3500                                             RS Legacy Corporation fka RadioShack
Minneapolis, MN 55402                                  5255      6/22/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00

Jive Software, Inc.
John R. Knapp, Jr., Its Attorney, Del. ID No. 3681
Miller Nash Graham & Dunn LLP
Pier 70, 2801 Alaskan Way, Suite 300                                       RS Legacy Corporation fka RadioShack
Seattle, WA 98121                                      5256      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
Zylux Acoustic Corporation
Wyatt Briant (Officer of Zylux)
c/o Christopher A. Minier
Ringstad & Sanders, LLP
2030 Main Street, Suite 1600                                               RS Legacy Corporation fka RadioShack
Irvine, CA 92614                                       5257      6/22/2015 Corporation                                                                                                               $0.00                                   $0.00
Bittersweet Plaza, LLC
Patrick M. Groom, Esq.
c/o Witwer, Oldenburg, Barry & Groom, LLP
822 7th St., Ste. 760                                                      RS Legacy Corporation fka RadioShack
Greeley, CO 80631                                      5258      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
LORDEN S.C., LLC
SUSAN L. MASONE
AUTHORIZED PERSON
c/o KIMCO REALTY CORPORATION
3333 NEW HYDE PARK ROAD, PO BOX 5020                                       RS Legacy Corporation fka RadioShack
NEW HYDE PARK, NY 11042                                5259      6/22/2015 Corporation                                                                                                                             $3,166.18             $3,166.18




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                                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                   Claim No.   Claim Date                     Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                     Amount                                                     Amount
Bittersweet Plaza, LLC
c/o Witwer, Oldenburg, Barry & Groom, LLP
Attn: Patrick M. Groom
822 7th St., Ste. 760                                                         RS Legacy Corporation fka RadioShack
Greeley, CO 80631                                         5260      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
Fair Harbor Capital, LLC as Assignee of Indian Creek
Shopping Ctr LLC (Store #8541)
PO Box 237037                                                                 RS Legacy Corporation fka RadioShack
New York, NY 10023                                        5261      6/22/2015 Corporation                                                                                                                             $1,702.30             $1,702.30
Franchise Tax Board of the State of California
Bankruptcy Section MS A340
PO Box 2952
Sacramento, CA 95812‐2952                                 5262      6/22/2015 Trade and Save LLC                                                                                                                          $0.00                 $0.00

Fair Harbor Capital, LLC as Assignee of Union Station
LP (aka Union Station Mngmnt Corp) (Store #1511)
PO Box 237037                                                                 RS Legacy Corporation fka RadioShack
New York, NY 10023                                        5263      6/22/2015 Corporation                                                                                                                             $2,404.86             $2,404.86
Macerich South Plains LP (203270‐02175)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                            RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                                5264      6/22/2015 Corporation                                                                                                                             $7,047.47             $7,047.47
Franchise Tax Board of the State of California
Bankruptcy Section MS A340
PO Box 2952
Sacramento, CA 95812‐2952                                 5265      6/22/2015 SCK, Inc.                                                                                                                                   $0.00                 $0.00
DIKA‐WINDMILL LAKES LLC
Thomas w. Goedert
Crane, Heyman, Simon, Welch & Clar
135 S. Lasalle St., Ste. 3705                                                 RS Legacy Corporation fka RadioShack
Chicago, IL 60603                                         5266      6/22/2015 Corporation                                                                                                                             $6,409.83             $6,409.83
Franchise Tax Board of the State of California
Bankruptcy Section MS A340
PO Box 2952                                                                   RS Legacy Corporation fka RadioShack
Sacramento, CA 95812‐2952                                 5267      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
BRE Retail NO Kimball Crossing Owner LLC (Brixmor
Property Group, Inc.) t/a Kimball Crossing, Kimball,
TN
David L. Pollack, Esq.
Attn for Creditor
Ballard Spahr LLP
1735 Market Street, 51st Floor                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                    5268      6/22/2015 Corporation                                                                                                                             $1,767.78             $1,767.78
FW CT‐Corbins Corner Center, LLC
c/o Regency Centers, LP/Attn: Ernst Bell, Esq.
1 Independent Drive                                                           RS Legacy Corporation fka RadioShack
Jacksonville, FL 32202                                    5269      6/22/2015 Corporation                                                  $1,971.41          $9,559.57                                                                    $11,530.98




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            Creditor Name and Address              Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
HAMPTON & 12TH, L.P.
Geena Piwetz, Chief Fin. Officer
Rader Family Holdings, LLC, Gen. Partner
c/o RP Texas Mgt, LLC
12342 Inwood Rd.                                                         RS Legacy Corporation fka RadioShack
Dallas, TX 75244                                     5270      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
Star Development Corporation, [successor in
interest to, inter ala, 24 Independence, LLC]
Timothy D. Harris
244 West Mill Street, Suite 101                                          RS Legacy Corporation fka RadioShack
Liberty, MO 64068                                    5271      6/22/2015 Corporation                                                                                                                             $5,045.20             $5,045.20
Paul Hendifar & Shahnaz Hendifar
PO Box 4629                                                              RS Legacy Corporation fka RadioShack
Palos Verde, CA 90274                                5272      6/22/2015 Corporation                                                                                                                             $5,022.37             $5,022.37
Lifestyle Properties
Don Wenzel
1528 W. Grace Street                                                     RS Legacy Corporation fka RadioShack
Chicago, IL 60613                                    5273      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00

Ramco‐Gershenson Properties, LP
David M. Blau, Esq., Attorney/Authorized Agent
Clark Hill PLC
151 S. Old Woodward Ave., Ste. 200                                       RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                                 5274      6/22/2015 Corporation                                                                                                                             $1,998.52             $1,998.52
Town of Mount Airy
PO Box 50
110 S. Main Street                                                       RS Legacy Corporation fka RadioShack
Mount Airy, MD 21771                                 5275      6/22/2015 Corporation                                                    $502.98                                                                                          $502.98
Buchanan Crossroads II, LP, a California limited
Partnership
7090 N. Marks Avenue, Suite 102                                          RS Legacy Corporation fka RadioShack
Fresno, CA 93711                                     5276      6/22/2015 Corporation                                                $59,078.88                                                                   $4,157.74            $63,236.62
Star Development Corporation, [successor in
interest to, inter ala, 24 Independence, LLC]
Timothy D. Harris
244 West Mill Street, Suite 101                                          RS Legacy Corporation fka RadioShack
Liberty, MO 64068                                    5277      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
Demandware, Inc.
c/o Shirley Paley, Asst General Counsel
5 Wall St.
Burlington, MA 01803                                 5278      6/22/2015 SCK, Inc.                                                                                                                              $56,109.34            $56,109.34
WP Glimcher Inc. as managing agent or owner of
Markland Plaza (the "Claimant")
Stephen E. Ifeduba
WP Glimcher Inc.
180 E. Broad St.                                                         RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                   5279      6/22/2015 Corporation                                                                                                                             $5,623.91             $5,623.91
Tuorto, Jeffrey
93 Westport Dr.                                                          RS Legacy Corporation fka RadioShack
Toms river, NJ 08757                                 5280      6/22/2015 Corporation                                                                       $15.81                                                                         $15.81




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            Creditor Name and Address                  Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
Voight, Greta
518 Plymouth rd                                                              RS Legacy Corporation fka RadioShack
Auburndale, FL 33823                                     5281      6/22/2015 Corporation                                                     $50.00                                                                                           $50.00
Gupta, Saurabh
5628 Gracie Ln                                                               RS Legacy Corporation fka RadioShack
Frisco , TX 75035                                        5282      6/23/2015 Corporation                                                                      $100.00                                                                        $100.00
Brixmor SPE 1 LLC (Brixmor Property Group, Inc.) t/a
Apple Glen Crossing, Fort Wayne, IN
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                               RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                                   5283      6/22/2015 Corporation                                                                                                                             $3,190.31             $3,190.31
NStar Electric D/B/A Eversource
Kathleen Berry
One NStar Way                                                                RS Legacy Corporation fka RadioShack
Westwood, MA 02090                                       5284      6/22/2015 Corporation                                                                                                                            $14,568.00            $14,568.00
Land Equities LLC
c/o Matthew G. Summers, Esq.
Ballard Spahr LLP
919 N. Market Street, 11th Floor                                             RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                                     5285      6/22/2015 Corporation                                                                                                                             $9,984.00             $9,984.00
Fair Harbor Capital, LLC as Assignee of JW Oxford
Plaza Partners LLC (Store #8234)
PO Box 237037                                                                RS Legacy Corporation fka RadioShack
New York, NY 10023                                       5286      6/22/2015 Corporation                                                                                                                             $4,226.93             $4,226.93
Plaza del Caribe, S.E.
c/o Holland & Knight LLP
Attn: Jose A. Casal, Joaquin J. Alemany
701 Brickell Avenue, Suite 3300                                              RS Legacy Corporation fka RadioShack
Miami, FL 33131                                          5287      6/22/2015 Corporation                                                                                                                            $20,280.54            $20,280.54
Countryside Plaza (Batista and Dolores Vieira)
C/O The Vieira Company
227 N. Santa Cruz Ave
Suite B                                                                      RS Legacy Corporation fka RadioShack
Los Gatos, CA 95030                                      5288      6/22/2015 Corporation                                                  $3,291.97                                                                                        $3,291.97
CITY OF FRESNO
PO BOX 2069                                                                  RS Legacy Corporation fka RadioShack
FRESNO, CA 93718                                         5289      6/22/2015 Corporation                                                    $502.00                                                                                          $502.00
Berg, Andrew C.
PO Box 580546                                                                RS Legacy Corporation fka RadioShack
Minneapolis, MN 55458                                    5290      6/22/2015 Corporation                                                  $2,000.00                                                                                        $2,000.00
BONNEY LAKE VILLAGE ASSOCIATES LLC
C.O ROSEN PROPERTIES
PO BOX 5003                                                                  RS Legacy Corporation fka RadioShack
BELLEVUE, WA 98009‐5003                                  5291      6/22/2015 Corporation                                                $62,681.00                                                                                        $62,681.00
Walgreens Co (DLC Management Corp.) t/a
Muskegon‐Sherman, Muskegon, MI
David L. Pollack, Esq
Ballard Spahr LLP
1735 Market Street, 51st Floor                                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                   5292      6/22/2015 Corporation                                                                                                                             $1,565.59             $1,565.59




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            Creditor Name and Address                 Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
Newman, Joshua
2312 Lassen Place                                                           RS Legacy Corporation fka RadioShack
Davis, CA 95616                                         5293      6/22/2015 Corporation                                                                      $100.00                                                                        $100.00
Bunkley, Pablo A
5800 Annapolis Rd Apt 1010                                                  RS Legacy Corporation fka RadioShack
Bladensburg, MD 20710                                   5294      6/22/2015 Corporation                                                                         $0.00                                                                         $0.00
FIRST LODI PLAZA ASSOCIATES
1556 PARKSIDE DRIVE                                                         RS Legacy Corporation fka RadioShack
WALNUT CREEK, CA 94596                                  5295      6/22/2015 Corporation                                                      $0.00                                                                      $0.00                 $0.00
Centeron Square LLC
Daniel J. Garfield, Counsel for Creditor
Foster Graham Milstein & Calisher, LLP
360 S. Garfield St., 6th Floor                                              RS Legacy Corporation fka RadioShack
Denver, CO 80209                                        5296      6/22/2015 Corporation                                                                                                                             $5,687.43             $5,687.43
Nichols, Jolonda
1017 Newnham Dr.                                                            RS Legacy Corporation fka RadioShack
Columbia, SC 29210                                      5297      6/22/2015 Corporation                                                                         $0.00                                                                         $0.00
The Breeden Company
Rafael X. Zahralddin‐Aravena (DE No. 4166)
Jonathan M. Stemerman (DE Bar No. 4510)
c/o Elliott Greenleaf
1105 N. Market Street, Suite 1700                                           RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                                    5298      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
AC I Manahawkin LLC
Robert M. Sasloff, Atty in Fact
Robinson Brog
875 Third Avenue                                                            RS Legacy Corporation fka RadioShack
New York, NY 10022                                      5299      6/22/2015 Corporation                                                                                                                             $3,098.96             $3,098.96
Hsiao Children's Trust 1, Hsiao Children's Trust 2,
Hsiao Children's Trust 3, Andrew Hsiao
Best Best & Krieger LLP
Attn: Laurie Verstegen
18101 Von Karman Ave., Suite 1000
Irvine, CA 92626                                                            RS Legacy Corporation fka RadioShack
949‐263‐6586                                            5300      6/22/2015 Corporation                                                                                                                            $19,245.69            $19,245.69
Commons Boulevard, LP
29 East Commons Boulevard
Suite 100                                                                   RS Legacy Corporation fka RadioShack
New Castle, DE 19720                                    5301      6/22/2015 Corporation                                                                                                                             $5,385.38             $5,385.38
2000 Rockaway Pkwy Assoc.
Robert M. Sasloff, Atty in Fact
Robinson Brog
875 Third Avenue                                                            RS Legacy Corporation fka RadioShack
New York, NY 10022                                      5302      6/22/2015 Corporation                                                                                                                             $1,159.99             $1,159.99
Wegmans Food Markets, Inc.
c/o Boylan Code LLP
Attn: Devin L. Palmer
145 Culver Road, Suite 100                                                  RS Legacy Corporation fka RadioShack
Rochester, NY 14620                                     5303      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00




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                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
Wilson Gardens Havana, LLC
Steven W. Kelly
Silver & DeBoskey, P.C.
1801 York Street                                                      RS Legacy Corporation fka RadioShack
Denver, CO 80206                                  5304      6/22/2015 Corporation                                                                                                                             $3,963.72             $3,963.72
Siegel, Lauren
120 Nooks Hill Road                                                   RS Legacy Corporation fka RadioShack
Cromwell, CT 06416                                5305      6/23/2015 Corporation                                                                       $43.55                                  $0.00                                  $43.55
AT&T Mobility, LLC
James Walter Grudus
One AT&T Way                                                          RS Legacy Corporation fka RadioShack
Bedminster, NJ 07921                              5306      6/22/2015 Corporation                                                                                                               $0.00                                   $0.00
Spanbauer, Teresa
3120 PoppySeed Ct                                                     RS Legacy Corporation fka RadioShack
Orlando, FL 32826                                 5307      6/23/2015 Corporation                                                    $266.24                                                                                          $266.24
Dunst, Eric
2230 Woodfield Cir                                                    RS Legacy Corporation fka RadioShack
Waukesha, WI 53188                                5308      6/22/2015 Corporation                                                                       $49.02                                                                         $49.02
Porterwood Shopping Center, LP c/o G & E Real
Estate Mgmt Services Inc.
PO BOX 841293                                                         RS Legacy Corporation fka RadioShack
Dallas, TX 75284‐1293                             5309      6/22/2015 Corporation                                                $23,891.25                                                     $0.00                              $23,891.25
Safety National Casualty Corporation
Nicholas A. Kriegel
1832 Schuetz Rd                                                       RS Legacy Corporation fka RadioShack
St Louis, MO 63146                                5310      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
Custom Engineering, Inc.
Attn: Debra L. Padget
990 S. Huron Rd.
PO BOX 367                                                            RS Legacy Corporation fka RadioShack
Linwood, MI 48634                                 5311      6/22/2015 Corporation                                                                         $0.00                                 $0.00                                   $0.00
Charlie's Corner Venture's LLC
Andrew Mack
150 E. Broad St. Suite 305                                            RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                5312      6/22/2015 Corporation                                                                                                                             $5,010.84             $5,010.84
Wilson Gardens Havana, LLC
Steven W. Kelly, Esq.
1801 York Street                                                      RS Legacy Corporation fka RadioShack
Denver, CO 80206                                  5313      6/22/2015 Corporation                                                $49,301.86                                                                                        $49,301.86
Plaza Las Americas, Inc.
c/o Holland & Knight LLP
Attn: Jose A. Casal, Joaquin J. Alemany
701 Brickell Avenue, Suite 3300                                       RS Legacy Corporation fka RadioShack
Miami, FL 33131                                   5314      6/22/2015 Corporation                                                                                                                            $23,599.57            $23,599.57
Hudson Vickerry, LLC
Debra L. Lupien, CFO
MEG Asset Management, Inc
25 Orchard View Drive                                                 RS Legacy Corporation fka RadioShack
Londonderry, NH 03053                             5315      6/22/2015 Corporation                                                  $8,558.94                                                                  $1,834.05            $10,392.99




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                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
1565 Broadway LLC
c/o SCHIFF HARDIN LLP
Louis T. DeLucia
666 Fifth Avenue, 17th Floor                                         RS Legacy Corporation fka RadioShack
New York, NY 10103                               5316      6/22/2015 Corporation                                                 $29,161.98                                                                                        $29,161.98
WB PARIS LLC
1000 ASHLAND DRIVE STE 100                                           RS Legacy Corporation fka RadioShack
ASHLAND, KY 41101                                5317      6/22/2015 Corporation                                                   $2,485.72                                                                                        $2,485.72
Spalding County Tax Commissioner
Sylvia W. Hollums
PO Box 509                                                           RS Legacy Corporation fka RadioShack
Griffin, GA 30224                                5318      6/22/2015 Corporation                                                                      $3,372.19         $2,748.40                                                   $6,120.59
Progress Trust, Inc.
E. David Chanin, Esquire
Kleinbard LLC
One Liberty Place, 46th Floor
1650 Market Street                                                   RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                           5319      6/22/2015 Corporation                                                                                                                              $5,302.60             $5,302.60
CTT Peoria Power, LLC
c/o Walter H. Gilbert, Esq.
Gilbert Bird Law Firm, PC
10575 North 114th Street, Suite 115                                  RS Legacy Corporation fka RadioShack
Scottsdale, AZ 85259                             5320      6/22/2015 Corporation                                                   $1,854.28                                                                                        $1,854.28
Spirakis Properties, LLC
George Mason Oliver
PO Box 1548                                                          RS Legacy Corporation fka RadioShack
New Bern, NC 28563                               5321      6/22/2015 Corporation                                                   $3,759.13                                                                                        $3,759.13
Rashid, Nadeem
6422 Sweet Orchid Lane                                               RS Legacy Corporation fka RadioShack
Katy, TX 77494                                   5322      6/22/2015 Corporation                                                      $46.67                                                                                           $46.67
Commons Boulevard, LP
29 East Commons Boulevard
Suite 100                                                            RS Legacy Corporation fka RadioShack
New Castle, DE 19720                             5323      6/22/2015 Corporation                                                   $1,489.38                                                                                        $1,489.38
Lloyd Crossing Shopping Center, LLC
Successor to G.B. Evansville Developers, LLC
600 East 96th Street, Suite 150                                      RS Legacy Corporation fka RadioShack
Indianapolis, IN 46240                           5324      6/22/2015 Corporation                                                 $45,039.49                                                                                        $45,039.49
Nieves, Tania N.
Vista del Morro
Calle Brazil L5                                                      RS Legacy Corporation fka RadioShack
Cataño, PR 00962                                 5325      6/22/2015 Corporation                                                       $0.00                                                                                            $0.00
Wells Fargo Bank, N.A.
Joel T. Brighton, Esq.
301 South College Street
Charlotte, NC 28202                              5326      6/22/2015 Ignition L.P.                                                                                          $0.00                                 $0.00                 $0.00
WILLIAMS, CONNIE
6215 61ST AVE SE                                                     RS Legacy Corporation fka RadioShack
SNOHOMISH, WA 98290                              5327      6/22/2015 Corporation                                                      $43.51                                                                                           $43.51
Ricci, Lynn
1200 S. Big Bend Blvd.                                               RS Legacy Corporation fka RadioShack
St. Louis, MO 63117                              5328      6/22/2015 Corporation                                                      $51.00                                                                                           $51.00



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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Kesty, Sarah
4726 Eli Court                                                 RS Legacy Corporation fka RadioShack
Carmichael, CA 95608                       5329      6/22/2015 Corporation                                                       $0.00                                                                                            $0.00
Clark, Kenneth
5917 Timberwolfe Lane                                          RS Legacy Corporation fka RadioShack
Ft Worth, TX 76135                         5330      6/22/2015 Corporation                                                                        $37.80                                  $0.00                                  $37.80
Equity One (Florida Portfolio) Inc.
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
Gilbert R. Saydah Jr. Esq.
101 Park Avenue                                                RS Legacy Corporation fka RadioShack
New York, NY 10178                         5331      6/22/2015 Corporation                                                                                                                              $3,284.82             $3,284.82
Alecta Real Estate USA, LLC
Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                             RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                 5332      6/22/2015 Corporation                                                                                                                                  $0.00                 $0.00
FREDERICK'S HOME ENTERTAINMENT, INC.
Dan T. Frederick, President
832 BIG HORN AVENUE                                            RS Legacy Corporation fka RadioShack
WORLAND, WY 82401                          5333      6/22/2015 Corporation                                                                                                                                  $0.00                 $0.00
Southern Trails Shopping Center, LLC
Nicholas R. Grillot, Attorney
Hinkle Law Firm, LLC
301 North Main, Suite 2000                                     RS Legacy Corporation fka RadioShack
Wichita, KS 67202                          5334      6/22/2015 Corporation                                                   $3,408.51                                                                  $3,597.66             $7,006.17
Antonia, Hailey K
813 Saint Vincent                                              RS Legacy Corporation fka RadioShack
Irvine, CA 92618                           5335      6/22/2015 Corporation                                                     $200.00                                                                                          $200.00
Zylux Acoustic Corporation
Wyatt Briant (Officer of Zylux)
c/o Christopher A. Minier
Ringstad & Sanders, LLP                                        RS Legacy Global Sourcing Limited Partnership
2030 Main Street, Suite 1600                                   fka RadioShack Global Sourcing Limited
Irvine, CA 92614                           5336      6/22/2015 Partnership                                                                                                                $0.00                                   $0.00
Lowery, Jackie R.
7316 Woodbridge Drive                                          RS Legacy Corporation fka RadioShack
Forest Hill, TX 76140                      5337      6/22/2015 Corporation                                                       $0.00                                                                                            $0.00
Hybris (U.S.) Corporation
Baker & Hostetler LLP
Elyssa Kates, Esq., Counsel
45 Rockefeller Plaza                                           RS Legacy Corporation fka RadioShack
New York, NY 10111                         5338      6/22/2015 Corporation                                                                                                                                  $0.00                 $0.00
Wells Fargo Bank, N.A.
Mark Buechner, Senior Company Counsel
Wells Fargo law Department
301 South College Street                                       RS Legacy Corporation fka RadioShack
Charlotte, NC 28202                        5339      6/22/2015 Corporation                                                                                                                                  $0.00                 $0.00




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                                                                                                                                                   Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                      Amount
Read Real Estate, LLC
Robert L. LeHane
Gilbert R. Saydah Jr. (DE Bar No. 4304)
101 Park Avenue                                                          RS Legacy Corporation fka RadioShack
New York, NY 10178                                   5340      6/22/2015 Corporation                                                                                                                              $1,876.92             $1,876.92
Gonzalez, Lilliam
44 Ismael Hernandez                                                      RS Legacy Corporation fka RadioShack
Moca, PR 00676                                       5341      6/22/2015 Corporation                                                                          $0.00                                                                         $0.00

PARKVILLE SHOPPING CENTER, LLC
C/O REGENCY CENTERS, LP / ATTN: Ernst Bell, Esq.
1 Independent Drive                                                      RS Legacy Corporation fka RadioShack
JACKSONVILLE, FL 32202                               5342      6/22/2015 Corporation                                                  $5,583.07           $9,495.07                                                                    $15,078.14
Associated Investments, L.L.C.
Robert D. Mollhagen
Varnum LLP
39500 High Pointe Blvd., Suite 350                                       RS Legacy Corporation fka RadioShack
Novi, MI 48375                                       5343      6/22/2015 Corporation                                                                                                                              $1,285.68             $1,285.68
Southland Mall, L.P. (Haywood)
Susan Elman, Esq.
c/o Rouse Properties, Inc.
1114 Avenue of Americas, Suite 2800                                      RS Legacy Corporation fka RadioShack
New York, NY 10036                                   5344      6/22/2015 Corporation                                                                                                                              $1,339.63             $1,339.63
Perez Rodriguez, Iomida
RR8 Box 9448                                                             RS Legacy Corporation fka RadioShack
Bayamon, PR 00956                                    5345      6/22/2015 Corporation                                                                     $23,300.00                                                                    $23,300.00
TREA WESTON, LLC
200 EAST LAS OLAS BOULEVARD
SUITE 1620                                                               RS Legacy Corporation fka RadioShack
FORT LAUDERDALE, FL 33301                            5346      6/22/2015 Corporation                                                    $429.35                                                                                           $429.35
DAVID DEVELOPMENT COMPANY
C/O SANDOR DEVELOPMENT COMPANY
10689 N PENNSYLVANIA ST SUITE 100                                        RS Legacy Corporation fka RadioShack
INDIANAPOLIS, IN 46280                               5347      6/22/2015 Corporation                                                      $0.00                                                                       $0.00                 $0.00
PK I CHEYENNE COMMONS LLC
Susan L. Masone
Authorized Person
C/O KIMCO REALTY CORPORATION
3333 NEW HYDE PARK ROAD, SUITE 100                                       RS Legacy Corporation fka RadioShack
NEW HYDE PARK, NY 11042                              5348      6/22/2015 Corporation                                                                                                                              $3,475.16             $3,475.16
Mall St. Vincent LP
Susan Elman, Esq.
c/o Rouse Properties, Inc.
1114 Avenue of America, Suite 2800                                       RS Legacy Corporation fka RadioShack
New York, NY 10036                                   5349      6/22/2015 Corporation                                                                                                                              $6,869.16             $6,869.16
WP Glimcher Inc.
Stephen E. Ifeduba
180 E. Broad St.                                                         RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                   5350      6/22/2015 Corporation                                                                                                                              $2,241.99             $2,241.99




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                                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount
HM Mall Associates LP
Chris Haboian, Esq.
601 E. Pratt St., 6th Fl.                                                  RS Legacy Corporation fka RadioShack
Baltimore, MD 21202                                    5351      6/22/2015 Corporation                                                  $4,612.60                                                                  $3,461.68             $8,074.28
WP Glimcher Inc. as managing agent or owner of
Edison Mall (the "Claimant")
Stephen F. Ifeduba
180 E. Broad St.                                                           RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                     5352      6/22/2015 Corporation                                                                                                                            $11,039.43            $11,039.43
WP Glimcher Inc. as managing agent or owner of
Irving Mall (the "Claimant")
Stephen E. Ifeduba
180 E. Broad St.                                                           RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                     5353      6/22/2015 Corporation                                                                                                                             $3,270.18             $3,270.18
Wells Fargo Bank, N.A.
Joel T. Brighton, Esq.
301 South College Street                                                   RS Legacy Corporation fka RadioShack
Charlotte, NC 28202                                    5354      6/22/2015 Corporation                                                      $0.00              $0.00             $0.00                                 $0.00                 $0.00
DAYTON MALL II, LLC
Stephen E. Ifeduba
180 E. Broad St.                                                           RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                     5355      6/22/2015 Corporation                                                                                                                             $1,071.43             $1,071.43
Southland Center, LLC
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
101 Park Avenue                                                            RS Legacy Corporation fka RadioShack
New York, NY 10178                                     5356      6/22/2015 Corporation                                                    $419.92                                                                                          $419.92
DJD Partners 10, LLC
Christopher A. Camardello
Winthrop & Weinstine, P.A.
225 S. 6th St., Suite 3500                                                 RS Legacy Corporation fka RadioShack
Minneapolis, MN 55402                                  5357      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
Grand Traverse Mall, L.L.C.
Kelley Drye & Warren LLP
Attn: Robert L. Lehane, Esq.
101 Park Avenue                                                            RS Legacy Corporation fka RadioShack
New York, NY 10178                                     5358      6/22/2015 Corporation                                                      $0.00                                                                                            $0.00
REDMAN ASSOCIATES
PATRICIA ROCHA
39 WEST 14TH STREET                                                        RS Legacy Corporation fka RadioShack
NEW YORK, NY 10011                                     5359      6/22/2015 Corporation                                                                                                                            $14,683.04            $14,683.04
FR San Antonio Center, LLC (Federal Realty
Investment Trust) t/a San Antonio Center, Mountain
View, CA
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 5360      6/22/2015 Corporation                                                                                                                             $8,221.83             $8,221.83




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                                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount
WP Glimcher Inc. as managing agent or owner of
Boynton Beach Mall (the "Claimant")
Stephen E. Ifeduba
180 E. Broad St.                                                           RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                     5361      6/22/2015 Corporation                                                                                                                             $4,851.99             $4,851.99
Benjamin, Ellen
c/o Krieger Wilansky & Hupart
5602 Broadway
2nd Floor                                                                  RS Legacy Corporation fka RadioShack
Bronx, NY 10463                                        5362      6/22/2015 Corporation                                                      $0.00                                                                                            $0.00

Johnson River Center LLC and 3520‐52 Johnson LLC
Troutman Saders LLP
Attn: Brett D. Goodman
875 Third Avenue                                                           RS Legacy Corporation fka RadioShack
New York, NY 10022                                     5363      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
WP Glimcher Inc. as managing agent or owner of
Bowie Town Center
Stephen E. Ifeduba
WP Glimcher Inc.
180 E. Broad St.                                                           RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                     5364      6/22/2015 Corporation                                                                                                                             $3,142.26             $3,142.26
SRM‐SPE, LLC
Gilbert R. Saydah Jr.
Kelley Drye & Warren LLP
101 Park Avenue                                                            RS Legacy Corporation fka RadioShack
New York, NY 10178                                     5365      6/22/2015 Corporation                                                $88,227.63                                                                                        $88,227.63
GG&A Central Mall Partners, LP (Texarkana)
c/o Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
101 Park Avenue                                                            RS Legacy Corporation fka RadioShack
New York, NY 10178                                     5366      6/22/2015 Corporation                                                $42,720.30                                                                                        $42,720.30
Valley Hills Mall L.L.C.
Susan Elman, Esq.
Valley Hills Mall L.L.C.
c/o Rouse Properties, Inc.
1114 Avenue of Americas, Suite 2800                                        RS Legacy Corporation fka RadioShack
New York, NY 10036                                     5367      6/22/2015 Corporation                                                                                                                             $3,179.19             $3,179.19
Eddystone Associates, LP (Store 1824) 1564 Chester
Pike, Eddystone, PA 19022
Attn: Steven Wolfson and Thomas Verrichia
WV Eddystone, LLC, its Sole General Partner
Meetinghouse Business Ctr., 120 W. Germantown
Pike
Ste. 120                                                                   RS Legacy Corporation fka RadioShack
Plymouth Meeting, PA 19462                             5368      6/22/2015 Corporation                                                  $3,291.00                                                                  $4,723.21             $8,014.21
Fawzy Sedrak
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 5369      6/22/2015 Corporation                                                                                                                             $5,936.95             $5,936.95




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                                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                      Amount                                                     Amount
Fair Harbor Capital, LLC, as assignee of 92‐11
Jamaica Avenue Corp (Store #2603)
PO Box 237037                                                                 RS Legacy Corporation fka RadioShack
New York, NY 10023                                        5370      6/22/2015 Corporation                                                                                                                              $4,353.57             $4,353.57
KIM‐SAM PR RETAIL, LLC
C/O KIMCO CORPORATION
3333 NEW HYDE PARK ROAD, SUITE 100                                            RS Legacy Corporation fka RadioShack
NEW HYDE PARK, NY 11042                                   5371      6/22/2015 Corporation                                                                                                                              $7,019.79             $7,019.79

WP Glimcher Inc. as managing agent or owner of
Waterford Lakes Town Center (the "Claimant")
Stephen E. Ifeduba
WP Glimcher Inc.
180 E. Broad St.                                                              RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                        5372      6/22/2015 Corporation                                                                                                                              $4,817.61             $4,817.61
WP Glimcher Inc. as managing agent or owner of
Cottonwood Mall (the "Claimant")
Stephen E. Ifeduba
180 E. Broad St.                                                              RS Legacy Corporation fka RadioShack
Columbus , OH 43215                                       5373      6/22/2015 Corporation                                                                                                                              $3,475.61             $3,475.61
Nite Ize, Inc.
5660 Central Ave                                                              RS Legacy Corporation fka RadioShack
Boulder, CO 80301                                         5374      6/22/2015 Corporation                                                 $36,114.42                                                                                        $36,114.42
Zhang, Lei
3120 Sawtelle Blvd, Apt 203                                                   RS Legacy Corporation fka RadioShack
Los Angeles, CA 90066                                     5375      6/22/2015 Corporation                                                     $300.00                                                                                          $300.00
Wells Fargo Bank, N.A.
Joel T. Brighton, Esq.
301 South College Street
Charlotte, NC 28202                                       5376      6/22/2015 SCK, Inc.                                                         $0.00                                $0.00                                                       $0.00
Gibraltar Management Co. Inc., in its capacity as the
authorized agent for GBR Spencerport Limited
Liability Company
c/o Gibraltar Management Co. Inc.
Ronald S. Friedman, Executive Vice President
150 White Plains Road, Suite 400                                              RS Legacy Corporation fka RadioShack
Tarrytown, NY 10591                                       5377      6/22/2015 Corporation                                                                                                                                  $0.00                 $0.00
Avenues Mall, LLC
C/O Simon Property Group, Inc
225 W. Washington Street                                                      RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                    5378      6/22/2015 Corporation                                                   $1,859.19                                                                      $0.00             $1,859.19
Wells Fargo Bank, N.A.
Joel T. Brighton, Esq.
301 South College Street                                                      RS Legacy International Corporation fka Tandy
Charlotte, NC 28202                                       5379      6/22/2015 International Corporation                                         $0.00                                $0.00                                 $0.00                 $0.00
NORTHWOODS SHOPPING CENTER, LLC
c/o Simon Property Group, Inc.
225 W. Washington Street                                                      RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                    5380      6/22/2015 Corporation                                                   $2,314.67              $0.00                                                                     $2,314.67




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                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
Wells Fargo Bank, N.A.
Joel T. Brighton, Esq.
301 South College Street                                                 RS Legacy Finance Corporation fka Tandy Finance
Charlotte, NC 28202                                  5381      6/22/2015 Corporation                                                      $0.00                                $0.00                                 $0.00                 $0.00
SFP Pool One Shopping Center, LP
David M. Blau, Esq.
Clark Hill PLC
151 S. Old Woodward Ave., Ste. 200                                       RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                                 5382      6/22/2015 Corporation                                                                                                                             $2,592.23             $2,592.23
Penn, Nora M.
1312 Sierra Creek Court                                                  RS Legacy Corporation fka RadioShack
Patterson, CA 95363                                  5383      6/22/2015 Corporation                                                     $89.88                                                                                           $89.88
Fair Harbor Capital, LLC as Assignee of Karnezis
Properties (Store #6562)
PO Box 237037                                                            RS Legacy Corporation fka RadioShack
New York, NY 10023                                   5384      6/22/2015 Corporation                                                                                                                             $3,019.30             $3,019.30
KIMCO HATTIESBURG L.P.
C/O KIMCO REALTY CORPORATION
SUSAN L. MASONE, AUTHORISED PERSON
3333 NEW HYDE PARK ROAD, SUITE 100                                       RS Legacy Corporation fka RadioShack
NEW HYDE PARK, NY 11042                              5385      6/22/2015 Corporation                                                                                                                             $1,678.30             $1,678.30
KNIGHTDALE CENTERS, LLC
Susan L. Masone
c/o Kimco Realty Corporation
333 New Hyde Park Road
Ste. 100                                                                 RS Legacy Corporation fka RadioShack
New Hyde Park, NY 11042                              5386      6/22/2015 Corporation                                                                                                                             $5,065.73             $5,065.73
KRUMP, MARILYN J
137 GLENN DR                                                             RS Legacy Corporation fka RadioShack
COTTAGE GROVE, WI 53527‐9389                         5387      6/22/2015 Corporation                                                     $69.57                                                                                           $69.57
TACOMA MALL PARTNERSHIP
c/o Simon Property Group, Inc.
225 W. Washington Street                                                 RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                               5388      6/22/2015 Corporation                                                  $1,071.44                                                                      $0.00             $1,071.44
Ferrell Parkway Associates, L.L.C.
D. Scott Seery, Authorized Agent
Faggert & Frieden, P.C.
222 Central Park Ave., Suite 1300                                        RS Legacy Corporation fka RadioShack
Virginia Beach, VA 23462                             5389      6/22/2015 Corporation                                                                                                                             $3,524.88             $3,524.88
Florida Mall Associates, LTD
c/o Simon Property Group, Inc.
225 W. Washington Street                                                 RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                               5390      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
953 Realty Corp.
J. Ted Donovan, Esq.
Goldberg Weprin Finkel Goldstein LLP
1501 Broadway, 22nd Floor                                                RS Legacy Corporation fka RadioShack
New York, NY 10036                                   5391      6/22/2015 Corporation                                               $215,936.40                                                                                       $215,936.40




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                                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                  Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
FREMONT RETAIL PARTNERS, L.P.
C/O KIMCO REALTY CORPORATION
3333 NEW HYDE PARK ROAD
Ste. 100                                                                     RS Legacy Corporation fka RadioShack
NEW HYDE PARK, NY 11042                                  5392      6/22/2015 Corporation                                                                                                                             $2,392.53             $2,392.53
Pan Pacific (Bel Air Village) LLC
Susan L. Masone
c/o Kimco Realty Corporation
3333 New Hyde Park Road, Ste. 100                                            RS Legacy Corporation fka RadioShack
New Hyde, NY 11042                                       5393      6/22/2015 Corporation                                                                                                                             $2,908.24             $2,908.24
Florida Mall Associates, LTD
c/o Simon Property Group, Inc.
225 W. Washington Street                                                     RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                                   5394      6/22/2015 Corporation                                                                         $0.00                                                                         $0.00
PK II Tanasbourne Village LP
c/o Kimco Realty Corporation
Susan L. Masone
Authorized Person
3333 New Hyde Park Road, Ste. 100                                            RS Legacy Corporation fka RadioShack
New Hyde Park, NY 11042                                  5395      6/22/2015 Corporation                                                                                                                             $3,501.43             $3,501.43

Outdoor Media Allicance / McGavren Guild Malls
1065 Avenue of the Americas, 3rd Floor                                       RS Legacy Corporation fka RadioShack
New York, NY 10018                                       5396      6/22/2015 Corporation                                                $11,875.00                                                                                        $11,875.00
Empire Telephone, Inc.
PO Box 1996                                                                  RS Legacy Corporation fka RadioShack
Oak Harbor, WA 98277                                     5397      6/23/2015 Corporation                                                    $145.95                                                                                          $145.95
Fair Harbor Capital, LLC as Assignee of New Hartford
SC Trust (Store #1627)
PO Box 237037                                                                RS Legacy Corporation fka RadioShack
New York, NY 10023                                       5398      6/22/2015 Corporation                                                                                                                             $1,835.38             $1,835.38
PK I DEL NORTE PLAZA LP
C/O KIMCO REALTY CORPORATION
3333 NEW HYDE PARK ROAD, SUITE 100                                           RS Legacy Corporation fka RadioShack
NEW HYDE PARK, NY 11042                                  5399      6/22/2015 Corporation                                                                                                                             $3,706.07             $3,706.07
Dimmock Square Company, LLC
D. Scott Seery
Faggert & Frieden, P.C.
222 Central Park Avenue, Suite 1300                                          RS Legacy Corporation fka RadioShack
Virginia Beach, VA 23462                                 5400      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
Washington Shops, LLC
c/o Matthew G. Summers, Esq.
Ballard Spahr LLP
919 N. Market Street, 11th Floor                                             RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                                     5401      6/22/2015 Corporation                                                                                                                             $2,230.51             $2,230.51
Equity One (Vons Citcle) LLC
Kelley Drye & Warren LLP
Robert L. LeHane
Gilbert R. Saydah Jr. (DE Bar No. 4304)
101 Park Avenue                                                              RS Legacy Corporation fka RadioShack
New York, NY 10178                                       5402      6/22/2015 Corporation                                                                                                                             $5,893.48             $5,893.48




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                                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current Claim
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                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
Fair Harbor Capital, LLC as Assignee of Standard
Property, LP (Store #4397)
PO Box 237037                                                                RS Legacy Corporation fka RadioShack
New York, NY 10023                                       5403      6/22/2015 Corporation                                                                                                                             $1,667.45             $1,667.45
New Creek II LLC
c/o Kimco Realty Corporation
Susan L. Masone, Authorized Person
3333 New Hyde Park Road, Ste. 100                                            RS Legacy Corporation fka RadioShack
New Hyde Park, NY 11042                                  5404      6/22/2015 Corporation                                                                                                                             $6,295.33             $6,295.33
Prime Clerk LLC
Michael J. Frishberg, Co‐President and COO
830 Third Avenue
9th Floor                                                                    RS Legacy Corporation fka RadioShack
New York, NY 10022                                       5405      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
1565 Broadway LLC
Jeff Sutton
Wharton Properties
500 Fifth Avenue, 54th Floor                                                 RS Legacy Corporation fka RadioShack
New York, NY 10110                                       5406      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
Verizon Wireless
Christian Groves
One Verzion Way                                                              RS Legacy Corporation fka RadioShack
Basking Ridge, NJ 07920                                  5407      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
Fair Harbor Capital, LLC as Assignee of TBB
Development, LLC (store #9365)
Victor Knox
PO Box 237037                                                                RS Legacy Corporation fka RadioShack
New York, NY 10023                                       5408      6/22/2015 Corporation                                                                                                                             $2,265.08             $2,265.08
Green, Edward
1714 15TH ST NW # A                                                          RS Legacy Corporation fka RadioShack
WASHINGTON, DC 20009‐3814                                5409      6/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Tri‐County Mall LLC
c/o Zachary D. Prendergast, Esq.
250 E. Fifth Street, Suite 310                                               RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                                     5410      6/22/2015 Corporation                                                    $714.29                                                                                          $714.29
Fair Harbor Capital, LLC as Assignee of Post Benson
Corporation (Store #1282)
Victor Knox
PO Box 237037                                                                RS Legacy Corporation fka RadioShack
New York, NY 10023                                       5411      6/22/2015 Corporation                                                                                                                             $2,850.15             $2,850.15
Fair Harbor Capital, LLC as Assignee of Glenwood
Associates LLC (Store #2960)
PO Box 237037                                                                RS Legacy Corporation fka RadioShack
New York, NY 10023                                       5412      6/22/2015 Corporation                                                                                                                             $1,807.93             $1,807.93
Brixmor SPE 3 LLC (Brixmor Property Group, Inc.) t/a
Lincoln Plaza, New Haven, IN
c/o David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                   5413      6/22/2015 Corporation                                                                                                                               $337.82               $337.82




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                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
KIMCO WESTLAKE, L.P.
Susan L. Masone
Authorized Person
C/O KIMCO REALTY CORPORATION
3333 NEW HYDE PARK ROAD, STE. 100                                        RS Legacy Corporation fka RadioShack
NEW HYDE PARK, NY 11042                              5414      6/22/2015 Corporation                                                                                                                              $5,635.98             $5,635.98
ANTUNA BERMUDEZ, ELIZABETH
HC‐01 BOX 3945                                                           RS Legacy Corporation fka RadioShack
ARROYO, PR 00714                                     5415      6/22/2015 Corporation                                                                                                                                  $0.00                 $0.00
Wells Fargo Bank, N.A.
Joel T. Brighton, Esq.                                                   RS Legacy Global Sourcing Limited Partnership
301 South College Street                                                 fka RadioShack Global Sourcing Limited
Charlotte, NC 28202                                  5416      6/22/2015 Partnership                                                       $0.00                                $0.00                                 $0.00                 $0.00
Talavera Soto, Roberto
Rr 02 Box 4259                                                           RS Legacy Corporation fka RadioShack
A Asco, PR 00610                                     5417      6/22/2015 Corporation                                                       $0.00                                                                                            $0.00
RPI Turtle Creek Mall, LLC (Rouse)
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
101 Park Avenue                                                          RS Legacy Corporation fka RadioShack
New York, NY 10178                                   5418      6/22/2015 Corporation                                                 $11,639.98                                                                                        $11,639.98

Wells Fargo Bank, N.A., as Trustee for the
Registered Holders of Banc of America Commercial
Mortgage Inc., Commercial Mortgage
Midland Loan Services, a division of PNC Bank
Attn: Brian Davis
10815 Mastin Blvd., Suite 300                                            RS Legacy Corporation fka RadioShack
Overland Park, KS 66210                              5419      6/22/2015 Corporation                                                       $0.00                                                                      $0.00                 $0.00

LLOYD CROSSING SHOPPING CENTER, LLC,
SUCCESSOR TO G.B. EVANSVILLE DEVELOPERS, LLC
H. Spencer Knotts
600 East 96th Street, Suite 150                                          RS Legacy Corporation fka RadioShack
Indianapolis, IN 46240                               5420      6/22/2015 Corporation                                                                                                                              $2,621.14             $2,621.14
Wels Fargo Bank, N.A.
Joel T. Brighton, Esq.
301 South College Street                                                 RS Legacy Corporation fka RadioShack
Charlotte, NC 28202                                  5421      6/22/2015 Corporation                                                       $0.00                                $0.00                                                       $0.00
Wells Fargo Bank, N.A.
Joel T. Brighton, Esq.
301 South College Street
Charlotte, NC 28202                                  5422      6/22/2015 Merchandising Support Services, Inc.                              $0.00                                $0.00                                 $0.00                 $0.00
Wells Fargo Bank, N.A.
Joel T. Brighton, Esq.
301 South College Street                                                 RS Legacy Global Sourcing Corporation fka
Charlotte, NC 28202                                  5423      6/22/2015 RadioShack Global Sourcing Corporation                            $0.00                                $0.00                                 $0.00                 $0.00
COLQUITT ELECTRIC MEMBERSHIP CORP
Doug Loftis, Manager of H.R.
15 Rowland Dr. N. E.                                                     RS Legacy Corporation fka RadioShack
Moultrie, GA 31776                                   5424      6/22/2015 Corporation                                                   $1,173.45                                                                                        $1,173.45




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            Creditor Name and Address              Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
Cellebrite Inc.
Francis Felice, Vice President
7 Campus Drive, Suite 210                                                RS Legacy Corporation fka RadioShack
Parsippany, NJ 07054                                 5425      6/22/2015 Corporation                                                                                                                           $263,286.26           $263,286.26

Indian Springs Investors II LLC (the "Claimant")
Mark Kanter
Indian SPrings Investors II, LLC
8160 Corporate Park Drive, Suite 220                                     RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                                 5426      6/22/2015 Corporation                                                     $33.86                                                                  $4,528.21             $4,562.07
OTRE INVESTMENTS LLC
C/O MARKS MANAGEMENT CO
1721 BROADWAY SUITE 202                                                  RS Legacy Corporation fka RadioShack
OAKLAND, CA 94612                                    5427      6/22/2015 Corporation                                                $25,778.57               $0.00                                               $4,311.43            $30,090.00
Ewa Beach Center, LLC
Rachel Dowell
Colliers International
PO Box 257                                                               RS Legacy Corporation fka RadioShack
Honolulu, HI 96809                                   5428      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
Columbia Regency Retail Partners, LLC
c/o Regency Centers, LP / Attn: Ernst Bell, Esq.
1 Independent Drive                                                      RS Legacy Corporation fka RadioShack
Jacksonville, FL 32202                               5429      6/22/2015 Corporation                                                  $1,401.20                                                                  $2,981.95             $4,383.15
PPR Washington Square LLC (203270‐02177)
c/o Dustin P. branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                       RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                           5430      6/22/2015 Corporation                                                                                                                             $5,840.51             $5,840.51
CARRIAGE SQUARE LLC
c/o JSH Properties, Inc.
10655 NE 4th St, Ste 901                                                 RS Legacy Corporation fka RadioShack
Bellevue, WA 98004                                   5431      6/22/2015 Corporation                                                    $692.42                                                                                          $692.42
GRQ LLC now Nassau Real Estate LP
C/O WALPIN & COMPANY
1355 S COLORADO BLVD STE #506                                            RS Legacy Corporation fka RadioShack
DENVER, CO 80222                                     5432      6/22/2015 Corporation                                                  $7,032.39                                                                                        $7,032.39
Wells Fargo Bank, N.A.
Joel T. Brighton, Esq
301 South College Street                                                 RS Legacy Customer Service LLC fka RadioShack
Charlotte, NC 28202                                  5433      6/22/2015 Customer Service LLC                                                                                  $0.00                                                       $0.00
Maldonado, Otilio Ramirez
PO Box 140674                                                            RS Legacy Corporation fka RadioShack
Arecibo, PR 00614                                    5434      6/22/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
Dominion East Ohio
Marrissa Hinton
1201 E. 55th St.                                                         RS Legacy Corporation fka RadioShack
Cleveland , OH 44103                                 5435      6/22/2015 Corporation                                                                                                                             $4,055.66             $4,055.66




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                                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                  Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                     Amount                                                     Amount
Roosevelt Square, LLLP (Formerly Roosevelt Square
Associates LLLP)
Peter Farag
Dewberry Capital
1545 Peachtree Street, NE Suite 250                                          RS Legacy Corporation fka RadioShack
Atlanta , GA 30309                                       5436      6/22/2015 Corporation                                                                                                                                  $0.00                 $0.00
Mark Haywood, Indvidually and on Behalf of All
others Similarly Situated
3609 E 44th St                                                               RS Legacy Corporation fka RadioShack
Edmond, OK 73013                                         5437      6/22/2015 Corporation                                                                        $29.00                                                                         $29.00
HIGHLAND DEVELOPMENT PROPERTIES
13116 Imperial Highway
PO BOX 2128                                                                  RS Legacy Corporation fka RadioShack
SANTA FE SPRINGS, CA 90670                               5438      6/22/2015 Corporation                                                 $23,077.39                                                                                        $23,077.39
Ferrell Parkway Associates, L.L.C.
c/o Armada Hoffler Properties
Attn: Jana Svobodova
222 Central Park Avenue, Suite 2100                                          RS Legacy Corporation fka RadioShack
Virginia Beach, VA 23462                                 5439      6/22/2015 Corporation                                                 $53,383.22               $0.00                                                                    $53,383.22
TUP 130, LLC (ROUSE)
Susan Elman, Esq.
c/o Rouse Properties, Inc.
1114 Avenue of Americas, Suite 2800                                          RS Legacy Corporation fka RadioShack
New York, NY 10036                                       5440      6/22/2015 Corporation                                                                                                                              $6,102.22             $6,102.22
JDA Software Group, Inc.
Walt Opaska
15059 N Scottsdale Rd, Ste 400                                               RS Legacy Corporation fka RadioShack
SCOTTSDALE, AZ 85254‐2666                                5441      6/22/2015 Corporation                                                                                                                             $36,759.69            $36,759.69

Joshua Joseph of Frontline Real Estate Partners, LLC
Court Appointed Receiver for DCR Management,
LLC as Transferee for Chicago Capital Holdings, LLC
Latimer Levay Fyock LLC
c/o Tejal S. Desai
55 W. Monroe Street
Suite 1100                                                                   RS Legacy Corporation fka RadioShack
Chicago, IL 60603                                        5442      6/22/2015 Corporation                                                       $0.00                                                                                            $0.00
COTRONICS, INC.
LAWRENCE M. COHEN
5595 SE LAMAY DR                                                             RS Legacy Corporation fka RadioShack
STUART, FL 34997                                         5443      6/22/2015 Corporation                                                                                                                                $875.00               $875.00
Wells Fargo Bank, N.A.
Joel T. Brighton, Esq.
301 South College Street
Charlotte, NC 28202                                      5444      6/22/2015 ITC Services, Inc.                                                                                     $0.00                                 $0.00                 $0.00

Brixmor GA San Dimas, LP (Brixmor Property Group,
Inc.) t/a San Dimas Plaza, San Dimas, CA
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                   5445      6/22/2015 Corporation                                                                                                                                $892.86               $892.86



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            Creditor Name and Address               Claim No.   Claim Date                    Debtor                         Unsecured Claim                                            Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                    Amount
Linwood Mall Associates LLC (RadioShack 01 ‐2270‐
01 Renli) Job 43866
Michael P. Feltman
433 Hackensack Avenue 12th Floor                                          RS Legacy Corporation fka RadioShack
Hackensack, NJ 07601                                  5446      6/22/2015 Corporation                                                                                                                           $15,397.02            $15,397.02
Kimco Realty Corporation
Susan L. Masone
3333 New Hyde Park Road
Ste. 100                                                                  RS Legacy Corporation fka RadioShack
New Hyde Park, NY 11042                               5447      6/22/2015 Corporation                                                                                                                            $7,069.10             $7,069.10
Levin Properties, LP
Thomas S. Onder, Esquire, Agent for Levin
Properties, LP
Stark & Stark, PC
993 Lenox Drive                                                           RS Legacy Corporation fka RadioShack
Lawrenceville, NJ 08648                               5448      6/22/2015 Corporation                                                                                                                                $0.00                 $0.00
Santee Trolley Square 91, LP
Susan L. Masone
Authorized Person
c/o Kimco Realty Corporation
3333 New Hyde Park Road Ste. 100                                          RS Legacy Corporation fka RadioShack
New Hyde Park, NY 11042                               5449      6/22/2015 Corporation                                                                                                                            $5,351.17             $5,351.17
KRCX Linwood Square, LLC
Susan L. Masone
c/o Kimco Realty Corporation
3333 New Hyde Park Road, Ste. 100                                         RS Legacy Corporation fka RadioShack
NEW HYDE PARK, NY 11042                               5450      6/22/2015 Corporation                                                                                                                            $4,572.27             $4,572.27
MISSION GROVE PLAZA LP
9201 Wilshire Blvd.
Suite 103                                                                 RS Legacy Corporation fka RadioShack
BEVERLY HILLS, CA 90210                               5451      6/22/2015 Corporation                                                                        $0.00             $0.00                                                       $0.00
MC Corp.
Susan L. Masone
c/o Kimco Realty Corporation
333 New Hyde Park Road
Ste. 100                                                                  RS Legacy Corporation fka RadioShack
New Hyde Park, NY 11042                               5452      6/22/2015 Corporation                                                                                                                            $4,754.07             $4,754.07
PK I Cable Park LP
Susan L. Masone
c/o Kimco Realty Corporation
333 New Hyde Park Road
Ste. 100                                                                  RS Legacy Corporation fka RadioShack
New Hyde Park, NY 11042                               5453      6/22/2015 Corporation                                                                                                                              $929.80               $929.80
Willowbrook Center Partnership
Susan L. Masone
c/o Kimco Realty Corporation
3333 New Hyde Park Road Ste. 100                                          RS Legacy Corporation fka RadioShack
NEW HYDE PARK, NY 11042                               5454      6/22/2015 Corporation                                                                                                                            $5,309.71             $5,309.71




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                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
CITY HEIGHTS CENTER 1689, INC.
Susan L. Masone
c/o Kimco Realty Corporation
3333 New Hyde Park Road Ste. 100                                         RS Legacy Corporation fka RadioShack
NEW HYDE PARK, NY 11042                              5455      6/22/2015 Corporation                                                                                                                             $19,148.29            $19,148.29
Edgewater Retail Partners, LLC
Susan L. Masone
c/o Kimco Realty Corporation
333 New Hyde Park Road
Ste. 100                                                                 RS Legacy Corporation fka RadioShack
New Hyde Park, NY 11042                              5456      6/22/2015 Corporation                                                                                                                              $8,480.01             $8,480.01
KIOP BRANFORD, LLC
SUSAN L. MASONE
Authorized Agent
C/O KIMCO REALTY CORPORATION
3333 NEW HYDE PARK ROAD, STE. 100                                        RS Legacy Corporation fka RadioShack
NEW HYDE PARK, NY 11042                              5457      6/22/2015 Corporation                                                                                                                              $4,391.68             $4,391.68
Wells Fargo Bank, N.A.
Joel T. Brighton, Esq.
301 South College Street
Charlotte, NC 28202                                  5458      6/22/2015 TRS Quality, Inc.                                                 $0.00                                $0.00                                                       $0.00
Fair Harbor Capital, LLC as Assignee of Shoquist
Properties LP (2) (store #8496)
Victor Knox
PO Box 237037                                                            RS Legacy Corporation fka RadioShack
New York, NY 10023                                   5459      6/22/2015 Corporation                                                                                                                              $3,343.41             $3,343.41
PK II Marina Village LP
SUSAN L. MASONE
C/O KIMCO REALTY CORPORATION
3333 NEW HYDE PARK ROAD, STE. 100                                        RS Legacy Corporation fka RadioShack
NEW HYDE PARK, NY 11042                              5460      6/22/2015 Corporation                                                                                                                              $3,099.71             $3,099.71
Kimco L‐S Limited Partnership
Susan L. Masone
c/o Kimco Realty Corporation
3333 New Hyde Park Road, Suite 100
PO Box 5020                                                              RS Legacy Corporation fka RadioShack
NEW HYDE PARK, NY 11042                              5461      6/22/2015 Corporation                                                                                                                              $3,127.50             $3,127.50
RPI SALISBURY MALL LLC (ROUSE)
Susan Elman, Esq.
c/o Rouse Properties, Inc.
200 Vesey Street, 25th Floor                                             RS Legacy Corporation fka RadioShack
New York, NY 10281                                   5462      6/22/2015 Corporation                                                                                                                              $2,033.81             $2,033.81
PK I Plaza 580 SC LP
Susan L. Masone
c/o Kimco Realty Corporation
3333 New Hyde Park Road, Ste. 100                                        RS Legacy Corporation fka RadioShack
New Hyde Park, NY 11042                              5463      6/22/2015 Corporation                                                                                                                              $1,239.34             $1,239.34
RPI Turtle Creek Mall, LLC (Rouse)
Susan Elman, Esq.
c/o Rouse Properties, Inc.
1114 Avenue of the Americas, Suite 2800                                  RS Legacy Corporation fka RadioShack
New York, NY 10036                                   5464      6/22/2015 Corporation                                                                                                                              $5,985.33             $5,985.33



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                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
KDI OMAHA, L.P.
Susan L. Masone
c/o Kimco Realty Corporation
3333 New Hyde Park Road Ste. 100                                    RS Legacy Corporation fka RadioShack
NEW HYDE PARK, NY 11042                         5465      6/22/2015 Corporation                                                                                                                              $4,659.73             $4,659.73
Williams, Earnest
226 Cochran Springs Road                                            RS Legacy Corporation fka RadioShack
Ohatchee, AL 36271                              5466      6/23/2015 Corporation                                                      $32.99                                                                                           $32.99
KIN PROPERTIES INC
185 NW SPANISH RIVER BLVD STE 100                                   RS Legacy Corporation fka RadioShack
BOCA RATON, FL 33431                            5467      6/22/2015 Corporation                                                   $8,452.74                                                                                        $8,452.74
Claims Recovery Group LLC as Transferee for
Argento Sc By Sicura Inc.
C/O CRG Financial LLC
Attn: General Counsel
100 Union Avenue, Suite 240
Cresskill, NJ 07626                             5468      6/22/2015 Ignition L.P.                                                 $4,608.00              $0.00                                                                     $4,608.00
Wells Fargo Bank, N.A.
Joel T. Brighton, Esq.
301 South College Street
Charlotte, NC 28202                             5469      6/22/2015 TE Electronics LP                                                                                      $0.00                                                       $0.00
Claim Docketed In Error                                             RS Legacy Corporation fka RadioShack
                                                5470      6/8/2015 Corporation                                                                                                                                                         $0.00
Cabrieto, Debbie
1126 Silverlake Dr                                                  RS Legacy Corporation fka RadioShack
Sunnyvale, CA 94089                             5471      6/23/2015 Corporation                                                                                           $15.74              $15.74                                  $31.48
Permelynn of Bridgehampton 360, LLC
Susan L. Masone
c/o Kimco Realty Corporation
3333 New Hyde Park Road, Ste. 100                                   RS Legacy Corporation fka RadioShack
New Hyde Park, NY 11042                         5472      6/22/2015 Corporation                                                                                                                              $3,181.89             $3,181.89
RPI Greenville Mall,LP
C/O Rouse Properties, Inc.
Susan Elman, Esq.
1114 Avenue of Americas, Suite 2800                                 RS Legacy Corporation fka RadioShack
New York, NY 10036                              5473      6/22/2015 Corporation                                                                                                                              $3,095.24             $3,095.24
Vermont‐Slauson Shopping Center Ltd., L.P.
Susan L. Masone
c/o Kimco Realty Corporation
3333 New Hyde Park Road, Ste. 100                                   RS Legacy Corporation fka RadioShack
New Hyde Park, NY 11042                         5474      6/22/2015 Corporation                                                                                                                              $7,325.39             $7,325.39
Wells Fargo Bank, N.A.
Kurt F. Gwynne, Esq.
J. Cory Falgowski, Esq.
Reed Smith LLP
1201 Market Street, Suite 1500                                      RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                            5475      6/22/2015 Corporation                                                                                                                                  $0.00                 $0.00
Kin Properties, Inc.
Andrew M. Schreier
185 NW SPANISH RIVER BLVD.
SUITE 100                                                           RS Legacy Corporation fka RadioShack
BOCA RATON, FL 33431                            5476      6/22/2015 Corporation                                                                                                                              $8,100.00             $8,100.00



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                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Sikes Senter, LLC
c/o Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
101 Park Avenue                                                           RS Legacy Corporation fka RadioShack
New York, NY 10178                                    5477      6/22/2015 Corporation                                                $39,340.31                                                                                        $39,340.31
PK Signal Hill, L.P.
 c/o Kimco Realty Corporation
Susan L. Masone, Authorized Person
3333 New Hyde Park Road Ste. 100                                          RS Legacy Corporation fka RadioShack
NEW HYDE PARK, NY 11042                               5478      6/22/2015 Corporation                                                                                                                             $3,807.11             $3,807.11
SFS MAYAGUEZ, L.P.
Susan L. Masone
c/o Kimco Realty Corporation
3333 New Hyde Park Road Ste. 100                                          RS Legacy Corporation fka RadioShack
NEW HYDE PARK, NY 11042                               5479      6/22/2015 Corporation                                                                                                                             $1,835.69             $1,835.69
Rockaway Realty Associates
Robert M. Sasloff, Atty in Fact
Robinson Brog
875 Third Avenue                                                          RS Legacy Corporation fka RadioShack
New York, NY 10022                                    5480      6/22/2015 Corporation                                                    $491.87                                                                  $8,886.37             $9,378.24
Zamias Services Inc. Receiver for Steamstown Mall
Partners, LP
John R. McGuire, Esq.
300 Market Street                                                         RS Legacy Corporation fka RadioShack
Johnstown, PA 15901                                   5481      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00

FutureLink Corporation, a RadioShack franchisee
with Stores in Greenfield MA (22‐7196 and
Brattleboro, VT (22‐B477)
Ira Brezinsky, President Futurelink Corporation
93 Woodbridge St.                                                         RS Legacy Corporation fka RadioShack
South Hadley, MA 01075                                5482      6/22/2015 Corporation                                                                                                                             $5,300.13             $5,300.13
Kimco Austin L.P.
Susan Masone, Authorized Agent
C/O KIMCO REALTY CORPORATION
3333 NEW HYDE PARK ROAD, STE. 100                                         RS Legacy Corporation fka RadioShack
NEW HYDE PARK, NY 11042                               5483      6/22/2015 Corporation                                                                                                                             $2,918.26             $2,918.26
MJS Rexville L.P.
Susan L. Masone
c/o Kimco Realty Corporation
3333 New Hyde Park Road Ste. 100                                          RS Legacy Corporation fka RadioShack
NEW HYDE PARK, NY 11042                               5484      6/22/2015 Corporation                                                                                                                            $10,212.91            $10,212.91
Pierre Bossier Mall, LP
c/o Kelley Drye & Warren LLP
Attn: Robert E. Lehane, Esq.
101 Park Avenue                                                           RS Legacy Corporation fka RadioShack
New York, NY 10178                                    5485      6/22/2015 Corporation                                                $26,583.01                                                                                        $26,583.01
Downers Grove 764 LLC
Susan L. Masone
c/o Kimco Realty Corporation
3333 New Hyde Park Road, Ste. 100                                         RS Legacy Corporation fka RadioShack
New Hyde Park, NY 11042                               5486      6/22/2015 Corporation                                                                                                                             $1,644.51             $1,644.51



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            Creditor Name and Address         Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
Claims Recovery Group LLC as Transferee for
Argento Sc By Sicura Inc.
C/O CRG Financial LLC
Attn: General Counsel
100 Union Avenue, Suite 240
Cresskill, NJ 07626                             5487      6/22/2015 Ignition L.P.                                                     $0.00              $0.00             $0.00               $0.00        $13,248.00            $13,248.00
CARY PARK PLACE, LLC
Susan L. Masone
c/o Kimco Realty Corporation
3333 New Hyde Park                                                  RS Legacy Corporation fka RadioShack
New Hyde Park, NY 11042                         5488      6/22/2015 Corporation                                                                                                                                  $0.00                 $0.00
Fluency LLC
J. Ted Donovan, Esq.
Goldberg Weprin Finkel Goldstein LLP
1501 Broadway, 22nd Floor                                           RS Legacy Corporation fka RadioShack
New York, NY 10036                              5489      6/22/2015 Corporation                                                 $72,750.00                                                                                        $72,750.00
Rockingham 620, Inc.
Susan L. Masone
c/o Kimco Realty Corporation
3333 New Hyde Park Road, Ste. 100                                   RS Legacy Corporation fka RadioShack
NEW HYDE PARK, NY 11042                         5490      6/22/2015 Corporation                                                                                                                              $3,584.38             $3,584.38
AT&T Corp.
Bill Froehlich
1 AT&T Way                                                          RS Legacy Corporation fka RadioShack
Bedminster, NJ 07921                            5491      6/22/2015 Corporation                                                                                                                                  $0.00                 $0.00
HIGHLANDS CENTER. LLC
C/O GVA KIDDER MATHEWS
1201 PACIFIC AVE., SUITE 1400                                       RS Legacy Corporation fka RadioShack
TACOMA, WA 98402                                5492      6/22/2015 Corporation                                                   $5,771.06                                                                                        $5,771.06
Claim Docketed In Error                                             RS Legacy Corporation fka RadioShack
                                                5493      6/8/2015 Corporation                                                                                                                                                         $0.00
Valley Hills Mall LLC
c/o Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
101 Park Avenue                                                     RS Legacy Corporation fka RadioShack
New York, NY 10178                              5494      6/22/2015 Corporation                                                 $33,985.16                                                                                        $33,985.16
KIR TEMECULA, L.P.
Susan L. Masone
c/o Kimco Realty Corporation
3333 New Hyde Park Road Ste. 100                                    RS Legacy Corporation fka RadioShack
NEW HYDE PARK, NY 11042                         5495      6/22/2015 Corporation                                                                                                                              $5,152.25             $5,152.25
Airport Plaza, LLC
SUSAN L. MASONE
Authorized Agent
C/O KIMCO REALTY CORPORATION
3333 NEW HYDE PARK ROAD, STE. 100                                   RS Legacy Corporation fka RadioShack
NEW HYDE PARK, NY 11042                         5496      6/22/2015 Corporation                                                                                                                              $4,404.28             $4,404.28




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                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
NOVATO FAIR SHOPPING CENTER LLC
Susan L. Masone
Authorized Person
c/o Kimco Realty Corporation
3333 New Hyde Park Road Ste. 100                                       RS Legacy Corporation fka RadioShack
NEW HYDE PARK, NY 11042                            5497      6/22/2015 Corporation                                                                                                                             $4,867.14             $4,867.14
GRANITE SAND REALTY LLC
C/O SANDOR DEVELOPMENT CO
10689 N PENNSYLVANIA ST STE 100                                        RS Legacy Corporation fka RadioShack
INDIANAPOLIS, IN 46280                             5498      6/22/2015 Corporation                                                $35,176.56           $5,081.06                                                                    $40,257.62
WP Glimcher Inc. as managing agent or owner of
Lake Plaza (the "Claimant")
Stephen E. Ifeduba
WP Glimcher Inc.
180 E. Broad St.                                                       RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                 5499      6/22/2015 Corporation                                                                                                                             $2,480.90             $2,480.90
ORLANDO UTILITIES COMMISSION
Attention: Commercial Services / Bankruptcy
100 West Anderson Street                                               RS Legacy Corporation fka RadioShack
Orlando, FL 32802                                  5500      6/22/2015 Corporation                                                  $1,861.02                                                                                        $1,861.02
WAGNERVILLE PROEPERTIES
3000 HENKLE DR STE G                                                   RS Legacy Corporation fka RadioShack
Lebanon, OH 45036                                  5501      6/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Pierre Bossier Mall, LP
Susan Elman, Esq.
c/o Rouse Properties, Inc.
200 Vesey Street, 25th Floor                                           RS Legacy Corporation fka RadioShack
New York, NY 10281                                 5502      6/22/2015 Corporation                                                                                                                             $2,912.03             $2,912.03
KIMCO TYVOLA, LP
Susan L. Masone Authorized Person
c/o Kimco Realty Corporation
333 New Hyde Park Road
Ste. 100                                                               RS Legacy Corporation fka RadioShack
New Hyde Park, NY 11042                            5503      6/22/2015 Corporation                                                                                                                             $2,825.99             $2,825.99
KIR KEY LARGO 022, LLC
Susan L. Masone
Authorized Person
c/o Kimco Realty Corporation
3333 New Hyde Park Road, Ste. 100                                      RS Legacy Corporation fka RadioShack
NEW HYDE PARK, NY 11042                            5504      6/22/2015 Corporation                                                                                                                             $2,062.86             $2,062.86
Fairfax Circle LLC
c/o Magruder Cook & Koutsouftikis
1889 Preston White Dr., Suite 200                                      RS Legacy Corporation fka RadioShack
Reston, VA 20191                                   5505      6/22/2015 Corporation                                                $44,955.14                                                                                        $44,955.14
ZAMIAS SERVICES INC. for ZRAJ CLEARFIELD LP
John R. McGuire Esq
300 Market Street                                                      RS Legacy Corporation fka RadioShack
Johnstown, PA 15901                                5506      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00




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                                                                                                                                                Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address             Claim No.   Claim Date                    Debtor                         Unsecured Claim                                            Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                    Amount
Zylux Acoustic Corporation
Wyatt Briant (Officer of Zylux)
c/o Christopher A. Minier
Ringstad & Sanders, LLP
2030 Main Street, Suite 1600                                            RS Legacy Corporation fka RadioShack
Irvine, CA 92614                                    5507      6/22/2015 Corporation                                                                                                              $0.00                                   $0.00
E&J Property Management, Inc.
Edward Stern, President
1918 Waukegan Road                                                      RS Legacy Corporation fka RadioShack
Glenview, IL 60025                                  5508      6/22/2015 Corporation                                                                                                                            $1,571.98             $1,571.98
Perez Rodriguez, Iomida
RR8 Box 9448                                                            RS Legacy Corporation fka RadioShack
Bayamon, PR 00956                                   5509      6/22/2015 Corporation                                                                                                                                $0.00                 $0.00
GG&A Central Mall Partners, LP (Port Arthur)
Kelley Drye & Warren LLP
Attn: Robert L. Lehane, Esq.
101 Park Avenue                                                         RS Legacy Corporation fka RadioShack
New York, NY 10178                                  5510      6/22/2015 Corporation                                                $14,879.66                                                                                       $14,879.66
BDG GOTHAM PLAZA, LLC
BLUMENFLED DEVELOPMENT GROUP, LTD
300 ROBBINS LANE                                                        RS Legacy Corporation fka RadioShack
SYOSSET, NY 11791                                   5511      6/22/2015 Corporation                                                                                                                           $14,279.38            $14,279.38
Buchanan Cross Roads II, LP
MICHAEL THOMASON, PERSIDENT
7090 N. MARKS AVENUE, SUITE 102                                         RS Legacy Corporation fka RadioShack
FRESNO, CA 93711                                    5512      6/22/2015 Corporation                                                                                                                            $4,157.74             $4,157.74
Pacheco, Tony
Hc‐1 Box 5530                                                           RS Legacy Corporation fka RadioShack
Arroyo, PR 00714                                    5513      6/22/2015 Corporation                                                                                                                                $0.00                 $0.00

LF2 Rock Creek, LP
Jonathan Covin (Agent for LF2 Rock Creek, L.P.)
3131 McKinney Avenue, Suite 100                                         RS Legacy Corporation fka RadioShack
Dallas, TX 75204                                    5514      6/22/2015 Corporation                                                                                                                            $5,482.08             $5,482.08
LINDA MAR S.C., L.P.
C/O KIMCO REALTY CORPORATION
ATTN: LEGAL DEPT.
1621‐B SOUTH MELROSE DRIVE                                              RS Legacy Corporation fka RadioShack
VISTA, CA 92081                                     5515      6/22/2015 Corporation                                                                                                                            $4,738.55             $4,738.55
WP Glimcher Inc. as managing agent or owner of
Markland Plaza (the "Claimant")
Stephen E. Ifeduba
WP Glimcher Inc.
180 E. Broad St.                                                        RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                  5516      6/22/2015 Corporation                                                                                                                            $3,043.36             $3,043.36
KIR Cityplace Market LP
Susan L. Masone
Authorized Person
c/o Kimco Realty Corporation
3333 New Hyde Park Road Ste. 100                                        RS Legacy Corporation fka RadioShack
NEW HYDE PARK, NY 11042                             5517      6/22/2015 Corporation                                                                                                                            $8,499.75             $8,499.75




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                                                                                                                                                   Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address               Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
KIR LATHAM FARMS LP
Susan L. Masone
C/O KIMCO REALTY CORP
3333 NEW HYDE PARK ROAD
STE. 100                                                                  RS Legacy Corporation fka RadioShack
NEW HYDE PARK, NY 11042                               5518      6/22/2015 Corporation                                                                                                                             $2,659.50             $2,659.50
WP Glimcher Inc. as managing agent or owner of
Bloomingdale Court (the "Claimant")
Stephen E. Ifeduba
180 E. Broad St.                                                          RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                    5519      6/22/2015 Corporation                                                                                                                             $3,705.00             $3,705.00
PK I FASHION FAIRE PLACE LP
Susan L. Masone
C/O KIMCO REALTY CORPORATION
3333 NEW HYDE PARK ROAD, SUITE 100                                        RS Legacy Corporation fka RadioShack
NEW HYDE PARK, NY 11042                               5520      6/22/2015 Corporation                                                                                                                             $6,062.71             $6,062.71
Hernandez, Damaris Santana
Comunidad Las 500
Diamante #66                                                              RS Legacy Corporation fka RadioShack
Arroyo, PR 00714                                      5521      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
Adspace Networks, Inc
99 PARK AVENUE
SUITE 310                                                                 RS Legacy Corporation fka RadioShack
NEW YORK, NY 10017                                    5522      6/23/2015 Corporation                                                                                                               $0.00                                   $0.00
Davis, Layton I.
1547 Westwind Drive                                                       RS Legacy Corporation fka RadioShack
Jacksonville Beach, FL 32250                          5523      6/22/2015 Corporation                                                                     $3,220.00                                                                     $3,220.00

Zamias Services Inc. for Indiana Mall Company, LP
John R. McGuire Esq.
300 Market Street                                                         RS Legacy Corporation fka RadioShack
Johnstown, PA 15901                                   5524      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
HM MALL ASSOCIATES LP
PO BOX 62661                                                              RS Legacy Corporation fka RadioShack
BALTIMORE, MD 21264‐2661                              5525      6/22/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
CHATHAM PLAZA, LLC
Susan L. Masone
c/o Kimco Realty Corporation
3333 New Hyde Park Road
Ste. 100                                                                  RS Legacy Corporation fka RadioShack
New Hyde Park, NY 11042                               5526      6/22/2015 Corporation                                                                                                                             $2,840.01             $2,840.01
ORLANDO UTILITIES COMMISSION
Missy Stephenson
100 West Anderson Street                                                  RS Legacy Corporation fka RadioShack
Orlando, FL 32802                                     5527      6/22/2015 Corporation                                                                                                                             $2,681.27             $2,681.27
PK I LAKEWOOD SC LP
Susan L. Masone, Authorized Person
Attn: Legal Dept.
c/o Kimco Realty Corporation
1621‐B SOUTH MELROSE DRIVE                                                RS Legacy Corporation fka RadioShack
Vista, CA 92081                                       5528      6/22/2015 Corporation                                                                                                                             $3,993.33             $3,993.33




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            Creditor Name and Address                   Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                     Amount                                                     Amount
Greenway Plaza LLC
c/o Magruder Cook & Koutsouftikis
1889 Preston White Dr., Suite 200                                             RS Legacy Corporation fka RadioShack
Reston, VA 20191                                          5529      6/22/2015 Corporation                                                  $8,286.03                                                                                        $8,286.03
ANTUNA BERMUDEZ, ELIZABETH
HC‐01 BOX 3945                                                                RS Legacy Corporation fka RadioShack
ARROYO, PR 00714                                          5530      6/22/2015 Corporation                                                                         $0.00                                                                         $0.00
STRONGIN ROTHMAN & ABRAMS LLP
5 HANOVER SQUARE 4TH FLOOR                                                    RS Legacy Corporation fka RadioShack
NEW YORK, NY 10004                                        5531      6/22/2015 Corporation                                                $18,711.63                                                                                        $18,711.63
Garcia Lopez, Jose M.
HC 01 Box 3945                                                                RS Legacy Corporation fka RadioShack
Arroyo, PR 00714                                          5532      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
Claim Docketed In Error                                                       RS Legacy Corporation fka RadioShack
                                                          5533      6/8/2015 Corporation                                                                                                                                                        $0.00
Lesch Tejada, Roberto Jose
URB Pabellones 263 Calle                                                      RS Legacy Corporation fka RadioShack
Toa Baja, PR 00949                                        5534      6/22/2015 Corporation                                                                         $0.00                                                                         $0.00
ATC GLIMCHER, LLC
Stephen E. Ifeduba
180 EAST BROAD STREET                                                         RS Legacy Corporation fka RadioShack
COLUMBUS, OH 43215                                        5535      6/22/2015 Corporation                                                                                                                             $6,838.08             $6,838.08
Haft/Equities ‐ Sully Plaza Limited Partnership
c/o Magruder Cook & Koutsouftikis
1889 Preston White Dr., Suite 200                                             RS Legacy Corporation fka RadioShack
Reston, VA 20191                                          5536      6/22/2015 Corporation                                                  $6,929.22                                                                                        $6,929.22
Gibraltar Management Co. Inc., in its capacity as the
authorized agent for GBR Green Acres Limited
Liability Company
c/o Gibraltar Management Co. Inc.
Ronald S. Friedman, Executive Vice President
150 White Plains Road, Suite 400                                              RS Legacy Corporation fka RadioShack
Tarrytown, NY 10591                                       5537      6/22/2015 Corporation                                                                                                                             $8,903.89             $8,903.89
Dimmock Square Marketplace LLC
c/o Armada Hoffler Properties
Attn: Jana Svobodova
222 Central Park Ave., #2100                                                  RS Legacy Corporation fka RadioShack
Virginia Beach, VA 23462                                  5538      6/22/2015 Corporation                                                  $4,703.56                                                                                        $4,703.56
Woodford Square Associates
c/o David A. Greer, Attorney for claimant
500 East Main Street, Suite 1225                                              RS Legacy Corporation fka RadioShack
Norfolk, VA 23510                                         5539      6/22/2015 Corporation                                                $39,192.37                                                                                        $39,192.37
Claim Docketed In Error                                                       RS Legacy Corporation fka RadioShack
                                                          5540      6/8/2015 Corporation                                                                                                                                                        $0.00
WP Glimcher Inc. as managing agent or owner of
Knoxville Center
Stephen E. Ifeduba
180 E. Broad St.                                                              RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                        5541      6/22/2015 Corporation                                                                                                                             $4,075.54             $4,075.54




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                                                                                                                                                Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address            Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
WP Glimcher Inc. as managing agent or owner of
Maplewood Mall (the "Claimant")
Stephen E. Ifeduba
WP Glimcher inc
180 E. Broad St                                                        RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                 5542      6/22/2015 Corporation                                                                                                                             $5,508.72             $5,508.72
Motorola Mobility, LLC
c/o Jonathan W. Young and Michael B. Kind
Locke Lord LLP
111 South Wacker Drive
Suite 4100                                                             RS Legacy Corporation fka RadioShack
Chicago, IL 60606                                  5543      6/22/2015 Corporation                                                      $0.00                                $0.00                                 $0.00                 $0.00

Little River Limited Liability Corporation
Bryn H. Sherman, Esq.
Offit Kurman, 4800 Montgomery Lan, 9th Floor                           RS Legacy Corporation fka RadioShack
Bethesda, MD 20814                                 5544      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
R&H Mission George, LTD.
c/o Reef Real Estate Services, Inc.
Kerrie L. Ozarski
1620 Fifth Ave., Ste 770                                               RS Legacy Corporation fka RadioShack
San Diego, CA 92101                                5545      6/22/2015 Corporation                                                                                                                             $2,942.40             $2,942.40
Ramirez Maldonado, Carmen I
PO Box 140674                                                          RS Legacy Corporation fka RadioShack
Arecibo, PR 00614                                  5546      6/22/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
Waste Management National Services, Inc
1001 Fanin, Suite 4000                                                 RS Legacy Corporation fka RadioShack
Houston, TX 77002                                  5547      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
WP Glimcher Inc. as managing agent or owner of
Jefferson Valley Mall
Stephen E. Ifeduba
180 E. Broad St.                                                       RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                 5548      6/22/2015 Corporation                                                                                                                             $9,537.73             $9,537.73
Pacheco, Tony
Hc‐1 Box 5530                                                          RS Legacy Corporation fka RadioShack
Arroyo, PR 00714                                   5549      6/22/2015 Corporation                                                                         $0.00                                                                         $0.00
ST‐DIL LLC
c/o Darek S. Bushnaq, Esq.
Heather Deans Foley, Esq.
Venable LLP
750 East Pratt Street, Suite 900                                       RS Legacy Corporation fka RadioShack
Baltimore , MA 21202                               5550      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
Abilene Mall LLC
Melissa DeQuesada, Asset Manager
Gregory Greenfield & Associates, Ltd.
124 Johnson Ferry Road NE                                              RS Legacy Corporation fka RadioShack
Atlanta, GA 30328                                  5551      6/22/2015 Corporation                                                                                                                             $4,490.46             $4,490.46
953 Realty Corp.
Evan Lazerowitz, Attorney
Goldberg Warin Fintial Goldstein LLP
1501 Broadway ‐ 22 Fl                                                  RS Legacy Corporation fka RadioShack
New York, NY 10036                                 5552      6/22/2015 Corporation                                                                                                                            $11,577.17            $11,577.17



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                                                                                                                                                Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address            Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
M&N300, LLC
c/o Manuel L Munoz
643 Eagle Rock Avenue
PO Box 239                                                             RS Legacy Corporation fka RadioShack
West Orange, NJ 07052                              5553      6/23/2015 Corporation                                                $16,582.40                                                                                        $16,582.40
KILLEEN MALL LLC
Amy Kuehn, Asset Manager
Gregory Greenfield & Associates, Ltd.
124 JOHNSON FERRY ROAD NE                                              RS Legacy Corporation fka RadioShack
ATLANTA, GA 30328                                  5554      6/22/2015 Corporation                                                                                                                             $3,204.10             $3,204.10

THE SCHREIBER CO.‐ BELLEVIEW ASSOCIATES, LTD
MARVIN SCHREIBER
609 EPSILON DRIVE                                                      RS Legacy Corporation fka RadioShack
PITTSBURGH, PA 15238                               5555      6/19/2015 Corporation                                                  $2,735.29                                                                  $2,637.85             $5,373.14
Mt. Shasta Mall, LLC
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
101 Park Avenue                                                        RS Legacy Corporation fka RadioShack
New York, NY 10178                                 5556      6/22/2015 Corporation                                                                                                                             $5,356.96             $5,356.96
Watt North Highlands, L.P.
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                     RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                         5557      6/22/2015 Corporation                                                                                                                             $7,410.12             $7,410.12
Eigenrauch, Steven Dale
75 vail drive                                                          RS Legacy Corporation fka RadioShack
goreville, IL 62939                                5558      6/19/2015 Corporation                                                                         $0.00                                                                         $0.00
Saban, Eddy Coroxon                                                    RS Legacy Corporation fka RadioShack
                                                   5559      6/22/2015 Corporation                                                                       $85.00              $0.00                                                      $85.00
Colonial Realty Limited Partnership
Chris Bussjager, Asset Manager
Gregory Greenfield & Associates, Ltd.
124 JOHNSON FERRY ROAD NE                                              RS Legacy Corporation fka RadioShack
ATLANTA, GA 30328                                  5560      6/22/2015 Corporation                                                    $799.25                                                                      $0.00               $799.25
Freehold Shopping L.L.C.
NY Beekman LLC
295 Madison Avenue                                                     RS Legacy Corporation fka RadioShack
New York, NY 10017                                 5561      6/22/2015 Corporation                                                                                                                             $2,317.69             $2,317.69
Killeen Mail LLC
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
101 Park Avenue                                                        RS Legacy Corporation fka RadioShack
New York, NY 10178                                 5562      6/22/2015 Corporation                                                  $4,851.91                                                                                        $4,851.91
WP Glimcher Inc. as managing agent or owner of
Chesapeake Square
Stephen E. Ifeduba
WP Glimcher Inc.
180 E. Broad St.                                                       RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                 5563      6/22/2015 Corporation                                                                                                                             $4,889.45             $4,889.45




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                                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                 Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
MFC BEAVERCREEK, LLC
Stephen E. Ifeduba
180 E. Broad St.                                                            RS Legacy Corporation fka RadioShack
COLUMBUS, OH 43215                                      5564      6/22/2015 Corporation                                                                                                                              $3,214.29             $3,214.29
Digital Stream Technology
c/o Michael Fox
Olshan Frome Wolosky LLP                                                    RS Legacy Global Sourcing Limited Partnership
65 E 55th St                                                                fka RadioShack Global Sourcing Limited
New York, NY 10022                                      5565      6/22/2015 Partnership                                                                                                                                  $0.00                 $0.00
GG&A Central Mall Partners, LP (Texarkana)
Melissa DeQuesada, Asset Manager
Gregory Greenfield & Associates, Ltd.
124 Johnson Ferry Road NE                                                   RS Legacy Corporation fka RadioShack
Atlanta, GA 30328                                       5566      6/22/2015 Corporation                                                                                                                              $2,396.25             $2,396.25
WP Glimcher Inc. as managing agent or owner of
Brunswick Square (the "Claimant")
Stephen E. Ifeduba
WP Glimcher Inc.
180 E. Broad St.                                                            RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                      5567      6/22/2015 Corporation                                                                                                                              $3,833.02             $3,833.02

The Ad Hoc Committee of U.S Dealers and
Franchisees, by and through it members: Future
Link Corporation (Ira Brezinsky (Chairman)), et al.
Ira Brezinsky, as Chair of the Ad Hoc Committee of
U.S. Dealers and Franchisees
93 Woodbridge St.                                                           RS Legacy Corporation fka RadioShack
South Hadley, MA 01075                                  5568      6/22/2015 Corporation                                                                                                                            $320,817.71           $320,817.71
Regency Centers, L.P.
Attn: Ernst Bell, Esq.
1 Independent Drive                                                         RS Legacy Corporation fka RadioShack
Jacksonville, FL 32202                                  5569      6/22/2015 Corporation                                                   $2,219.64                                                                 $15,961.04            $18,180.68
Colonial Realty Limited Partnership
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
101 Park Avenue                                                             RS Legacy Corporation fka RadioShack
New York, NY 10178                                      5570      6/22/2015 Corporation                                                     $799.25                                                                                          $799.25
KDI Atlanta Mall, LLC
c/o Heather D. Brown, Esq.
Brown Law, LLC
2727 Paces Ferry Road
Suite 1‐225                                                                 RS Legacy Corporation fka RadioShack
Atlanta, GA 30339                                       5571      6/22/2015 Corporation                                                                                                                              $4,962.48             $4,962.48
SANCHEZ, ERNESTO
64 PASEO DE DIEGO                                                           RS Legacy Corporation fka RadioShack
RIO PIEDRAS, PR 00925                                   5572      6/22/2015 Corporation                                                                                                                              $2,464.22             $2,464.22
CT Retail Properties Finance V, LLC
Susan L. Masone Authorized Person
c/o Kimco Realty Corporation
Attn: Legal Department
1621‐B South Melrose Drive                                                  RS Legacy Corporation fka RadioShack
Vista, CA 92081                                         5573      6/22/2015 Corporation                                                                                                                                  $0.00                 $0.00



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            Creditor Name and Address                 Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
Sikes Senter, LLC
Susan Elman, Esq.
c/o Rouse Properties, Inc.
1114 Avenue of America, Suite 2800                                          RS Legacy Corporation fka RadioShack
New York, NY 10036                                      5574      6/22/2015 Corporation                                                                                                                             $3,986.02             $3,986.02
RPI Bel Air Mall LLC (Rouse)
c/o Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
101 Park Avenue                                                             RS Legacy Corporation fka RadioShack
                                                        5575      6/22/2015 Corporation                                                $59,746.41                                                                                        $59,746.41
College Park Square Associates, LLLP, Store No. 01‐
1708
c/o David A. Greer, Attorney
500 East Main Street, Suite 1225                                            RS Legacy Corporation fka RadioShack
Norfolk, VA 23510                                       5576      6/22/2015 Corporation                                                  $2,061.00                                                                                        $2,061.00
Abilene Mall LLC
Kelley Drye & Warren LLP
Attn: Robert L. Lehane, Esq.
101 Park Avenue                                                             RS Legacy Corporation fka RadioShack
New York, NY 10178                                      5577      6/22/2015 Corporation                                                $71,949.34                                                                                        $71,949.34
BERENDO PARTNERS LP
Adrianne Silver, as Secretary of Millennium
Holdings, Inc.
General Partner of Berendo Partners LP
95 N. County Road                                                           RS Legacy Corporation fka RadioShack
Palm Beach, FL 33480                                    5578      6/22/2015 Corporation                                                                                                                             $4,364.95             $4,364.95
Citizans Bank, N.A.
c/o Steven E. Fox, Esq.
Reimer & Braunstein LLP
Times Square Tower
Seven Times Square, Suite 2506                                              RS Legacy Corporation fka RadioShack
New York, NY 10036                                      5579      6/22/2015 Corporation                                                                                           $0.00                                                       $0.00
WP Glimcher Inc. as managing agent or owner of
Paddock Mall (the "Claimant")
Stephen E. Ifeduba
180 E. Broad St.                                                            RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                      5580      6/22/2015 Corporation                                                                                                                             $4,217.01             $4,217.01
WP Glimcher Inc. as managing agent or owner of
Town Center at Aurora
Stephen E. Ifeduba
WP Glimcher Inc.
180 E. Broad St.                                                            RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                      5581      6/22/2015 Corporation                                                                                                                             $5,740.39             $5,740.39
WP Glimcher Inc. as managing agent or owner of
Melbourne Square(the"claimant")
Stephen E. Ifeduba
180 E. Broad St.                                                            RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                      5582      6/22/2015 Corporation                                                                                                                             $6,211.81             $6,211.81




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            Creditor Name and Address             Claim No.   Claim Date                    Debtor                         Unsecured Claim                                            Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                    Amount
WP Glimcher Inc. as managing agent or owner of
West Town Corners
Stephen E. Ifeduba
180 E. Broad St.                                                        RS Legacy Corporation fka RadioShack
COLUMBUS, OH 43215                                  5583      6/22/2015 Corporation                                                                                                                            $3,152.35             $3,152.35
Mesilla Valley Mall LLC
Kelley Drye & Warren LLP
Attn: Robert L. Lehane, Esq.
101 Park Avenue                                                         RS Legacy Corporation fka RadioShack
New York, NY 10178                                  5584      6/22/2015 Corporation                                                $71,441.26                                                                                       $71,441.26
Citizans Bank, N.A.
c/o Steven E. Fox, Esq.
Reimer & Braunstein LLP
Times Square Tower
Seven Times Square, Suite 2506                                          RS Legacy Corporation fka RadioShack
New York, NY 10036                                  5585      6/22/2015 Corporation                                                                                                                                $0.00                 $0.00
BRE Pearlridge, LLC
Stephen E. Ifeduba
180 E. Broad St.                                                        RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                  5586      6/22/2015 Corporation                                                                                                                           $18,001.68            $18,001.68
Rodriguez Rivera, Maribel
HC 65 Buzon 4001                                                        RS Legacy Corporation fka RadioShack
Patillas, PR 00723                                  5587      6/22/2015 Corporation                                                                                                                                $0.00                 $0.00
WP Glimcher Inc. as managing agent or owner of
Rushmore Mall
Stephen E. Ifeduba
180 E. Broad St.                                                        RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                  5588      6/22/2015 Corporation                                                                                                                            $3,801.41             $3,801.41
GG&A Central Mall Partners, LP (Port Arthur)
Melissa DeQuesada, Asset Manager
Gregory Greenfield & Associates, Ltd.
124 Johnson Ferry Road NE                                               RS Legacy Corporation fka RadioShack
Atlanta, GA 30328                                   5589      6/22/2015 Corporation                                                                                                                            $1,420.74             $1,420.74
Prisa II Davie Square Associates, Ltd. (204404‐
00169)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park east, Suite 2600                                      RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                          5590      6/22/2015 Corporation                                                                                                                            $1,164.24             $1,164.24
WP Glimcher Inc. as managing agent or owner of
Towne West Square (the "Claimant")
Stephen E. Ifeduba
WP Glimcher Inc.
180 E. Broad St.                                                        RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                  5591      6/22/2015 Corporation                                                                                                                            $3,539.78             $3,539.78
WP Glimcher Inc. as managing agent or owner of
Seminole Towne Center
Stephen E. Ifeduba
180 E. Broad St.                                                        RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                  5592      6/22/2015 Corporation                                                                                                                            $1,525.22             $1,525.22




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                                                                                                                                                Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address            Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
Gomez, Nicholas & Teodora
219‐21 Jamaica Ave.                                                    RS Legacy Corporation fka RadioShack
Queens Village, NY 11428                           5593      6/19/2015 Corporation                                                  $5,100.00                                                                                        $5,100.00
Wards Systems INC
65 Northgate Plaza
PO Box 124                                                             RS Legacy Corporation fka RadioShack
Morrisville, VT 05661                              5594      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
WP Glimcher Inc. as managing agent or owner of
Richmond Town Square
Stephen E. Ifeduba
180 E. Broad St.                                                       RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                 5595      6/22/2015 Corporation                                                                                                                             $2,928.80             $2,928.80
FORBES/COHEN FLORIDA PROPERTIES LIMITED
PARTNERSHIP (214166‐00074)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                     RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                         5596      6/22/2015 Corporation                                                                                                                            $21,539.23            $21,539.23
GGF Bristol, LLC
Aida Norhadian, Manager
100 West Broadway, Suite 950                                           RS Legacy Corporation fka RadioShack
Glendale, CA 91210                                 5597      6/22/2015 Corporation                                                                                                                             $4,971.68             $4,971.68
MESILLA VALLEY MALL LLC
Amy Kuehn, Asset Manager
Killeen Mall, LLC
Gregory Greenfield & Associates, Ltd.
124 Johnson Ferry Road NE                                              RS Legacy Corporation fka RadioShack
Atlanta, GA 30328                                  5598      6/22/2015 Corporation                                                                                                                             $3,697.66             $3,697.66
WICK SHOPPING PLAZA ASSOCIATES
WICK CORPORATE CENTER
100 WOODBRIDGE CTR DR STE 301                                          RS Legacy Corporation fka RadioShack
WOODBRIDGE, NJ 07095                               5599      6/22/2015 Corporation                                                                                           $0.00                             $4,240.85             $4,240.85
Digital Stream Technology
c/o Michael Fox
Olshan Frome Wolosky LLP
65 E. 55th St                                                          RS Legacy Corporation fka RadioShack
New York, NY 10022                                 5600      6/22/2015 Corporation                                               $217,265.40                                                                  $40,000.00           $257,265.40
Capitol Ventures
c/o Prospect Enterprises
216 Main Street                                                        RS Legacy Corporation fka RadioShack
Hartford, CT 06106                                 5601      6/22/2015 Corporation                                                                                                                             $4,499.44             $4,499.44
Macerich Victor Valley LLC (203270‐02173)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                     RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                         5602      6/22/2015 Corporation                                                                                                                             $5,808.74             $5,808.74
Crossroads II, LLC (209847‐00007)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                     RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                         5603      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00




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                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
WP Glimcher Inc. as managing agent or owner of
Northlake Mall
Stephen E. Ifeduba
180 E. Broad St.                                                       RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                 5604      6/22/2015 Corporation                                                                                                                             $2,650.44             $2,650.44
WP Glimcher Inc. as managing agent or owner of
Westminster Mall (the "Claimant")
Stephen E. Ifeduba
180 E. Broad St.                                                       RS Legacy Corporation fka RadioShack
COLUMBUS, OH 43215                                 5605      6/22/2015 Corporation                                                                                                                             $1,177.62             $1,177.62
MIDLAND REALTY LLC
10689 N PENNSYLVANIA ST SUITE 100                                      RS Legacy Corporation fka RadioShack
INDIANAPOLIS, IN 46280                             5606      6/22/2015 Corporation                                                      $0.00                                                                      $0.00                 $0.00
Ramirez Maldonado, Carmen I
PO Box 140674                                                          RS Legacy Corporation fka RadioShack
Arecibo, PR 00614                                  5607      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
Glimcher Northtown Venture, LLC
Stephen E. Ifeduba
180 E. Broad St.                                                       RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                 5608      6/22/2015 Corporation                                                                                                                               $727.20               $727.20
Alexandria Main Mall LLC
Attn: Robert L. LeHane, Esq.
Kelley Drye & Warren LLP
101 Park Avenue                                                        RS Legacy Corporation fka RadioShack
New York, NY 10178                                 5609      6/22/2015 Corporation                                                $44,815.75                                                                                        $44,815.75

HVS East, LLC Harbour View East (385110‐00008)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                     RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                         5610      6/22/2015 Corporation                                                                                                                             $3,958.76             $3,958.76
VNO 100 WEST 33RD STREET LLC
Vornado Realty Trust
Steven Santora, Senior Vice President
Attn: Randall Greenman
210 Route 4 East                                                       RS Legacy Corporation fka RadioShack
Paramus, NJ 07652                                  5611      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
Equity One (Florida Portfolio) Inc.
Kelley Drye & Warren LLP
Robert L. LeHane
Gilbert R. Saydah Jr.
101 Park Avenue                                                        RS Legacy Corporation fka RadioShack
New York, NY 10178                                 5612      6/22/2015 Corporation                                                                                                                             $2,091.60             $2,091.60
ALPHA OPPORTUNITY FUND I LLC
ATTN ACCOUNTS RECEIVABLE
10689 N PENNSYLVANIA ST STE 100                                        RS Legacy Corporation fka RadioShack
INDIANAPOLIS, IN 46280                             5613      6/22/2015 Corporation                                                $88,496.41               $0.00                                              $10,805.29            $99,301.70




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                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount
AlShak Realty, LLC
Thomas S. Onder, Esquire, Agent for AlShak Realty,
LLC
STARK & STARK, P.C.
993 Lenox Drive                                                            RS Legacy Corporation fka RadioShack
Lawrenceville, NJ 08648                                5614      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
Delco Development Co. of Hickville, LP
Robert L. LeHane
Gilbert R, Saydah Jr. (DE Bar No. 4304)
101 Park Avenue                                                            RS Legacy Corporation fka RadioShack
New York, NY 10178                                     5615      6/22/2015 Corporation                                                                                                                             $4,835.65             $4,835.65

Home Depot Plaza Associates, Ltd. ‐ Store 9512
Heather D. Brown
2727 Paces Ferry Road
Suite 1 ‐ 225                                                              RS Legacy Corporation fka RadioShack
Atlanta, GA 30339                                      5616      6/22/2015 Corporation                                                                                                                             $2,232.01             $2,232.01
WP Glimcher Inc. as managing agent or owner of
Rolling Oaks Mall
Stephen E. Ifeduba
180 E. Broad St.                                                           RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                     5617      6/22/2015 Corporation                                                                                                                             $1,506.83             $1,506.83
Birchwood Mall, LLC
Kelley Drye & Warren LLP
Attn: Robert L. Lehane, Esq.
101 Park Avenue                                                            RS Legacy Corporation fka RadioShack
New York, NY 10178                                     5618      6/22/2015 Corporation                                                  $3,635.32                                                                                        $3,635.32
Digital Stream Technology
Michael Fox
Olshan Frome Wolosky, LLP
65 E. 55th St                                                              RS Legacy Corporation fka RadioShack
New York, NY 10022                                     5619      6/22/2015 Corporation                                                                                                               $0.00                                   $0.00
Equity One (Northeast Portfolio) Inc.
Kelley Drye & Warren LLP
Robert L. LeHane
Gilbert R. Saydah Jr. (DE Bar No. 4304)
101 Park Avenue                                                            RS Legacy Corporation fka RadioShack
New York, NY 10178                                     5620      6/22/2015 Corporation                                                  $5,347.70                                                                  $6,562.33            $11,910.03
CBNJ, L.L.C.
The Law Office of Edward J. Kosmowski, LLC
Edward J. Kosmowski, Esquire
2 Mill Road, Suite 202                                                     RS Legacy Corporation fka RadioShack
Wilmington, DE 19806                                   5621      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
BAYWICK PLAZA LLC
C/O WICK COMPANIES LLC
PO BOX 29                                                                  RS Legacy Corporation fka RadioShack
WOODBRIDGE, NJ 07095                                   5622      6/22/2015 Corporation                                                  $2,712.63                                $0.00                                                   $2,712.63
FORT SMITH MALL LLC
Amy Kuehn, Asset Manager
Gregory Greenfield & Associates, Ltd.
124 Johnson Ferry Road NE                                                  RS Legacy Corporation fka RadioShack
ATLANTA, GA 30328                                      5623      6/22/2015 Corporation                                                    $659.40                                                                      $0.00               $659.40



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                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
MORGANTOWN MALL ASSOCIATES, LP
Stephen E. Ifeduba
180 E. Broad St.                                                          RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                    5624      6/22/2015 Corporation                                                                                                                               $4,869.21             $4,869.21
Motorola Mobility, LLC
Michael B. Kind and Jonathan W. Young
Locke Lord LLP
111 South Wacker Drive
Suite 4100                                                                RS Legacy Corporation fka RadioShack
Chicago, IL 60606                                     5625      6/22/2015 Corporation                                                 $173,768.00                                                                 $300,000.00           $473,768.00
Wells Fargo Bank, N.A.
JOEL T. BRIGHTON, ESQ.
301 SOUTH COLLEGE STREET
CHARLOTTE, NC 28202                                   5626      6/22/2015 RS Legacy Holdings, Inc. fka Tandy Holdings, Inc.                                                                                             $0.00                 $0.00
INVESCO IF IV U.S. 2, L.P.
c/o Orchard Commercial Inc.
c/o Dennis D. Miller
Lubin Olson & Niewiadomski LLP
600 Montgomery Street, 14th Floor                                         RS Legacy Corporation fka RadioShack
San Francisco, CA 94111                               5627      6/19/2015 Corporation                                                 $187,900.39                                                                                       $187,900.39

Comm 2005‐FL 10 Berkshire Mall, LLC, by CBL &
Associates Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                                 RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                 5628      6/19/2015 Corporation                                                                                                                               $2,180.26             $2,180.26
Cantor Fitzgerald Securities, as Agent and the
Claimants identified on the attached hereto
James Bond
110 East 59th Street                                                      RS Legacy International Corporation fka Tandy
New York, NY 10022                                    5629      6/19/2015 International Corporation                                                                               $0.00                                 $0.00                 $0.00
Hixson Mall, LLC, by CBL & Associates Management,
Inc., managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                                 RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                 5630      6/19/2015 Corporation                                                                                                                               $4,254.76             $4,254.76
Stroud Mall, LLC by CBL & Associates Management,
Inc., managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                                 RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                 5631      6/19/2015 Corporation                                                                                                                               $5,238.10             $5,238.10
Kroger Limited Partnership I
Attn: Law Dept. ‐ K. Grubbs
1014 Vine Street                                                          RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                                  5632      6/19/2015 Corporation                                                    $1,955.52                                                                  $7,189.22             $9,144.74




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                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount

Cantor Fitzgerald Securities, as Agent and the
Claimants identified on the attachment hereto
James Bond
110 East 59th Street                                                    RS Legacy Customer Service LLC fka RadioShack
New York, NY 10022                                  5633      6/19/2015 Customer Service LLC                                                                                                                         $0.00                 $0.00
Macerich Buenaventura Limited Partnership
(203270‐02168)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                      RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                          5634      6/22/2015 Corporation                                                                                                                              $1,065.48             $1,065.48

BURNSVILLE CENTER SPE, LLC, by CBL & Associates
Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
2030 Hamilton Place Blvd.                                               RS Legacy Corporation fka RadioShack
CHATTANOOGA, TN 37421                               5635      6/19/2015 Corporation                                                                                                                              $4,268.48             $4,268.48
Wells Fargo Bank, N.A.
Joel T. Brighton, Esq.
301 South College Street                                                RS Legacy Global Sourcing, Inc. fka RadioShack
Charlotte, NC 28202                                 5636      6/22/2015 Global Sourcing, Inc.                                             $0.00                                $0.00                                 $0.00                 $0.00
Victory Associates, LLP
C/O David A. Greer, Attorney for Claimant
500 East Main Street, Suite 1225                                        RS Legacy Corporation fka RadioShack
Norfolk, VA 23510                                   5637      6/22/2015 Corporation                                                 $53,095.81                                                                                        $53,095.81
Western Pet Supply, Inc.
Matthew P. Austria
Werb & Sullivan
300 Delaware Avenue, Suite 1300                                         RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                                5638      6/20/2015 Corporation                                                                                                                                  $0.00                 $0.00

South County Shoppingtown, LLC by CBL &
Associates Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                               RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                               5639      6/19/2015 Corporation                                                                                                                              $3,158.21             $3,158.21
Macerich Lakewood, LLC (203270‐02207)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                      RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                          5640      6/22/2015 Corporation                                                                                                                             $11,105.01            $11,105.01

Star‐West Franklin Park Mall LLC (384901‐00155)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                      RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                          5641      6/22/2015 Corporation                                                                                                                             $11,661.83            $11,661.83




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                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
EMI SANTA ROSA LIMITED PARTNERSHIP
Ronald M. Tucker, Vice President/Bankruptcy
Counsel
Simon Property Group, Inc.
225 W. Washington Street                                               RS Legacy Corporation fka RadioShack
INDIANAPOLIS, IN 46204                             5642      6/19/2015 Corporation                                                                                                                             $5,748.10             $5,748.10
Cantor Fitzgerald Securities, as Agent and the
Claimants identified on the attached hereto
James Bond
110 East 59th Street
New York, NY 10022                                 5643      6/19/2015 TE Electronics LP                                                                                     $0.00                                 $0.00                 $0.00
Little Creek Investment Corporation
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                              RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                 5644      6/19/2015 Corporation                                                                                                                             $2,600.51             $2,600.51
WHLR‐Tampa Festival, LLC
Menter, Rudin & Trivelpiece, P.C.
Attn: Kevin M. Newman
308 Maltbie Street, Suite 200                                          RS Legacy Corporation fka RadioShack
Syracuse, NY 13204‐1439                            5645      6/19/2015 Corporation                                                  $1,177.76                                                                  $2,273.79             $3,451.55
KOGAP Enterprises, Inc.
John Blackhurst, Attorney, OSB #790189
717 Murphy Road                                                        RS Legacy Corporation fka RadioShack
Medford, OR 97504                                  5646      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
Bond, James
Cantor Fitzgerald Securities, as Agent
110 East 59th Street                                                   RS Legacy Corporation fka RadioShack
New York, NY 10022                                 5647      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
ETC Dime, LLC
ULMER & BERNE LLP
Michael S. Tucker, Esq.
Skylight Office Tower
1660 West 2nd Street, Suite 1100                                       RS Legacy Corporation fka RadioShack
Cleveland, OH 44113‐1448                           5648      6/19/2015 Corporation                                                                                                                             $7,079.46             $7,079.46
DORI DEVELOPMENT COMPANY LLC
C/O SANDOR DEVELOPMENT COMPANY
10689 N PENNSYLVANIA ST SUITE 100                                      RS Legacy Corporation fka RadioShack
INDIANAPOLIS, IN 46280                             5649      6/22/2015 Corporation                                                      $0.00                                                                      $0.00                 $0.00
Capital Mall LP (384901‐00158)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                     RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                         5650      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
Cherryvale Mall, LLC, by CBL & Associates
Management, Inc., managing agent
Garry Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                              RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                              5651      6/19/2015 Corporation                                                                                                                             $1,526.72             $1,526.72




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                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                     Amount                                                    Amount

Parkdale Crossing CBMS, LLC, by CBL & Associates
Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                                    RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                    5652      6/19/2015 Corporation                                                                                                                             $6,128.94             $6,128.94
Acadiana Mall CMBS, LLC, by CBL & Associates
Management, Inc., managing agent.
Gary Roddy, Vice President ‐ Collections
2330 Hamilton Place Blvd.                                                    RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                    5653      6/19/2015 Corporation                                                                                                                             $5,750.24             $5,750.24

ERA BC Partners Ltd. c/o David Berndt Interests Inc.
Lisa Bryant
c/o Eric Taube and Christopher Bradley
Taube Summers
100 Congress Ave., Suite 1800                                                RS Legacy Corporation fka RadioShack
Austin, TX 78701                                         5654      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
ETC Dime, LLC
c/o Michael S. Tucker, Esq.
Ulmer & Berne LLP
1660 West 2nd Street, Suite 1100                                             RS Legacy Corporation fka RadioShack
Cleveland, OH 44113‐1448                                 5655      6/19/2015 Corporation                                                $117,454.08                                                                                      $117,454.08
Urban Edge Caguas, L.P. (formerly known as
Vornado Caguas, L.P.)
Robert Minatoli, COO
c/o Urban Edge Properties
210 Route 4 East                                                             RS Legacy Corporation fka RadioShack
Paramus, NJ 07652                                        5656      6/19/2015 Corporation                                                                                                                            $19,078.73            $19,078.73

Northwoods Mall CBMS, LLC, by CBL & Associates
Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                                    RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                    5657      6/19/2015 Corporation                                                                                                                             $4,775.34             $4,775.34

Hamilton Place Mall General Partnership, by CBL &
Associates Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
2330 Hamilton Place Blvd.                                                    RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                    5658      6/19/2015 Corporation                                                                                                                             $4,109.85             $4,109.85
Cantor Fitzgerald Securities, as Agent and the
Claimants identified on the attached hereto
James Bond
110 East 59th Street
New York, NY 10022                                       5659      6/19/2015 ITC Services, Inc.                                                                                    $0.00                                 $0.00                 $0.00




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                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount

Meridian Mall Limited Partnership, CBL & Associates
Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                                   RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                   5660      6/19/2015 Corporation                                                                                                                             $3,854.86             $3,854.86
Cedar‐South Philadelphia I,LLC
Philip R. Mays, CFO and Treasurer
Cedar‐South Philadelphia I, LLC
44 S. Bayles Avenue, Suite304                                               RS Legacy Corporation fka RadioShack
Port Washington, NY 11050                               5661      6/22/2015 Corporation                                                                                                                             $2,062.19             $2,062.19
CBL/Monroeville, L.P., by CBL & Associates
Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                                   RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                   5662      6/19/2015 Corporation                                                                                                                             $1,405.55             $1,405.55
Raceway Plaza II 2006 Limited Partnership
c/o THE GLIMCHER GROUP
500 GRANT STREET, STE 2000                                                  RS Legacy Corporation fka RadioShack
PITTSBURGH, PA 15219                                    5663      6/19/2015 Corporation                                                                                                                             $2,922.74             $2,922.74
Northwestern Development Company B
David P. Caravaggio
Authorized Agent
12 S. Summit Avenue; Ste. 250                                               RS Legacy Corporation fka RadioShack
Gaithersburg, Md 20877                                  5664      6/19/2015 Corporation                                                                                                                            $11,685.48            $11,685.48
Sotomayor Colon, Elian
HC 6915936 ‐ C                                                              RS Legacy Corporation fka RadioShack
Bayamon, PR 00956                                       5665      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
TM Fairlane Town Center LP
Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                          RS Legacy Corporation fka RadioShack
LOS ANGELES, CA 90067‐3012                              5666      6/22/2015 Corporation                                                  $2,818.17                                                                  $2,818.17             $5,636.34
Renaissance Partners I, LLC Pueblo Mall (386781‐
00002)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                          RS Legacy Corporation fka RadioShack
LOS ANGELES, CA 90067‐3012                              5667      6/22/2015 Corporation                                                                                                                             $9,799.87             $9,799.87
Commons Mall LLC (344312‐00019)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                          RS Legacy Corporation fka RadioShack
LOS ANGELES, CA 90067‐3012                              5668      6/22/2015 Corporation                                                                                                                               $277.75               $277.75




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            Creditor Name and Address                 Claim No.   Claim Date                    Debtor                         Unsecured Claim                                            Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                    Amount
Oracle America, Inc successor‐in‐interest to Oracle
USA, Inc., Hyperion Solutions Corporation,
Peoplesoft, Inc., Retek, Storage Technology
Corporation, Sun Microsystems, and Taleo
("Oracle")
Amish R. Doshi, Esq.
Doshi Legal Group, P.C.
1979 Marcus Avenue
Suite 210E                                                                  RS Legacy Corporation fka RadioShack
Lake Sucess, NY 11042                                   5669      6/22/2015 Corporation                                                                                                                                $0.00                 $0.00
Hernandez, Damaris Santana
Comunidad Las 500
Diamante #66                                                                RS Legacy Corporation fka RadioShack
Arroyo, PR 00714                                        5670      6/22/2015 Corporation                                                                        $0.00                                                                         $0.00

G.G. SEEGER SQUARE 1996 LIMITED PARTNERSHIP
C/O GLIMCHER GROUP
Diane E. DiGuilio
500 Grant Street, Suite 2000                                                RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15219                                    5671      6/19/2015 Corporation                                                                                                                            $2,588.25             $2,588.25
Fluency LLC
Evan Lazerowitz, Attorney
Goldberg Weprin Finkel Goldstein LLP
1501 Broadway ‐ 22 Fl                                                       RS Legacy Corporation fka RadioShack
New York, NY 10036                                      5672      6/22/2015 Corporation                                                                                                                           $11,500.00            $11,500.00
Star‐West Solano, LLC
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                          RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                              5673      6/22/2015 Corporation                                                                                                                            $5,651.00             $5,651.00

Elkhorn Plaza Shopping Center, LLC (386513‐00002)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                          RS Legacy Corporation fka RadioShack
LOS ANGELES, CA 90067‐3012                              5674      6/22/2015 Corporation                                                                                                                            $2,477.17             $2,477.17
FW CA‐Brea Marketplace, LLC
c/o Regency Centers, LP
Attn: Ernst Bell, Esq.
1 Independent Drive                                                         RS Legacy Corporation fka RadioShack
Jacksonville, FL 32202                                  5675      6/22/2015 Corporation                                                $78,738.32                                                                 $18,084.58            $96,822.90
WP Glimcher Inc. as managing agent or owner of
Royal Eagle Plaza
Stephen E. Ifeduba
180 E. Broad St.                                                            RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                      5676      6/22/2015 Corporation                                                                                                                            $3,567.27             $3,567.27
TM Northlake Mall LP (384901‐00153)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                          RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                              5677      6/22/2015 Corporation                                                                                                                            $4,562.65             $4,562.65




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            Creditor Name and Address              Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
Valley & Plainfield Associates, L.P.
V.P. Corporation
395 Pleasant Valley Way                                                  RS Legacy Corporation fka RadioShack
West Orange, NJ 07052                                5678      6/22/2015 Corporation                                                $93,728.64                                                                       $0.00            $93,728.64
KRE Colonie Owner LLC
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                       RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                           5679      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
Bill's Discount Furniture, Inc.
William Pardue, Jr., President
1103 N 5TH STREET                                                        RS Legacy Corporation fka RadioShack
LEESVILLE, LA 71457                                  5680      6/22/2015 Corporation                                                $12,994.89                                                                                        $12,994.89
400 Duval Retail, LLC
1119 Von Phister St                                                      RS Legacy Corporation fka RadioShack
Key West, FL 33040                                   5681      6/22/2015 Corporation                                                                                                                            $11,938.55            $11,938.55
WP Glimcher Inc. as managing agent or owner of
Valle Vista Mall
Stephen E. Ifeduba
180 E. Broad St.                                                         RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                   5682      6/22/2015 Corporation                                                                                                                             $4,080.20             $4,080.20
Hershey Square 2014, LP.
c/o Heidenberg Properties
234 Closter Dock Rd                                                      RS Legacy Corporation fka RadioShack
Closter, NJ 07624                                    5683      6/22/2015 Corporation                                                  $5,394.79                                                                                        $5,394.79
TM WELLINGTON GREEN MALL LP
Katten Muchin Rosenman LLP
Dustin P. Branch, Esq
2029 Century Park East, Suite 2600                                       RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                           5684      6/22/2015 Corporation                                                                                                                             $6,839.80             $6,839.80
VGC‐SOUTHLAKE MALL,LLC
Katten Muchin Rosenman LLP
Dustin P. Branch, Esq
2029 Century Park East, Suite 2600                                       RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                           5685      6/22/2015 Corporation                                                                                                                             $4,701.28             $4,701.28
NORTHRIDGE OWNER, L.P. (384901‐00070)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                       RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                           5686      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00

Giv Green Tree Mall Investors LLC (339136‐00037)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                       RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                           5687      6/22/2015 Corporation                                                                                                                             $5,690.31             $5,690.31
Bijoor, Ajay
1345 Avenue of the Americas                                              RS Legacy Corporation fka RadioShack
New York, NY 10105                                   5688      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00




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                                                                                                                                                 Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                     Amount
Star‐West Gateway, LLC (384901‐00068)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                      RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                          5689      6/22/2015 Corporation                                                                                                                             $3,631.99             $3,631.99
OSBORNE CAPITAL LLC
C/O DVL INC
70 EAST 55TH ST 7TH FLOOR                                               RS Legacy Corporation fka RadioShack
NEW YORK, NY 10022                                  5690      6/22/2015 Corporation                                                $19,690.53                                                                                        $19,690.53

Savannah Square Associates, Ltd. (204404‐00166)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                      RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                          5691      6/22/2015 Corporation                                                                                                                             $4,473.46             $4,473.46
CAPITOL VENTURES, LLC
c/o Prospect Enterprises
Eliot Gersten
433 South Main St Ste 328                                               RS Legacy Corporation fka RadioShack
WEST HARTFORD, CT 06110                             5692      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
Martes Ortega, Yarely
PO Box 1488                                                             RS Legacy Corporation fka RadioShack
Isabela, PR 00662                                   5693      6/22/2015 Corporation                                                                                                                                                       $0.00
US Retail Partners Limited Partnership
c/o Regency Centers, LP
Attn: Ernst Bell, Esq.                                                  RS Legacy Corporation fka RadioShack
Jacksonville, FL 32202                              5694      6/22/2015 Corporation                                                $42,665.74                                                                   $3,983.22            $46,648.96
WP Glimcher Inc. as managing agent or owner of
Port Charlotte Town Center
Stephen E. Ifeduba
WP Glimcher Inc.
180 E. Broad St.                                                        RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                  5695      6/22/2015 Corporation                                                                                                                             $4,346.19             $4,346.19
Macerich Northpark Mall LLC (203270‐02179)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                      RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                          5696      6/22/2015 Corporation                                                                                                                             $3,030.49             $3,030.49
CAR Apple Valley Square, LLC
c/o Regency Centers, LP
Attn: Ernst Bel, Esq.
1 Independent Drive                                                     RS Legacy Corporation fka RadioShack
Jacksonville, FL 33202                              5697      6/22/2015 Corporation                                                $61,816.68           $4,104.95                                                                    $65,921.63

OTR, an Ohio general Partnership
Ivan M. Gold, attorney for claimant
Allen Matkins Leck Gamble Mallory & Natsis LLP
3 Embarcadero Center, 12th Floor                                        RS Legacy Corporation fka RadioShack
San Francisco, CA 94111                             5698      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00




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            Creditor Name and Address              Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
Campus View, LLC (340784‐00007)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                       RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                           5699      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
CAPITOL VENTURES LLC
C/O PROSPECT ENTERPRISES
Attn: Eliot Gersten
433 SOUTH MAIN ST STE 328                                                RS Legacy Corporation fka RadioShack
WEST HARTFORD, CT 06110                              5700      6/22/2015 Corporation                                                $83,315.67                                                                                        $83,315.67
RPI Greenville Mall, LP (Rouse)
Kelley Drye & Warren LLP
Attn: Robert L. Lehane, Esq.
101 Park Avenue                                                          RS Legacy Corporation fka RadioShack
New York, NY 10178                                   5701      6/22/2015 Corporation                                                  $3,095.23                                                                                        $3,095.23
WP Glimcher Inc. as managing agent or owner of
Southern Hills Mall (the "Claimant")
Stephen E. Ifeduba
WP Glimcher Inc.
180 E. Broad St.                                                         RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                   5702      6/22/2015 Corporation                                                                                                                             $7,495.90             $7,495.90
US Retail Partners Limited Partnership
c/o Regency Centers, LP / Attn: Ernst Bell, Esq.
1 Independent Drive                                                      RS Legacy Corporation fka RadioShack
Jacksonville, FL 32202                               5703      6/22/2015 Corporation                                                  $8,239.71                                                                  $8,229.93            $16,469.64
Public Service Electric & Gas Co.
Attn: Bankruptcy Dept.
PO Box 490                                                               RS Legacy Corporation fka RadioShack
Cranford , NJ 07016                                  5704      6/22/2015 Corporation                                                                                                                            $50,138.45            $50,138.45
Hershey Square 2014, LP
234 Closter Dock Rd.                                                     RS Legacy Corporation fka RadioShack
Closter, NJ 07624                                    5705      6/22/2015 Corporation                                                                                                                             $3,963.40             $3,963.40
TRUSTCO DEVELOPMENT COMPANY LLC
10689 N PENNSYLVANIA ST STE 100                                          RS Legacy Corporation fka RadioShack
INDIANAPOLIS, IN 46280                               5706      6/22/2015 Corporation                                                $36,450.93                                                                   $2,337.82            $38,788.75

Wells Fargo Bank, N.A., as Trustee for the
Registered Holders of Bank of America Commercial
Mortgage, Inc., Commercial Mortgage Pass‐Through
Certificates, Series 2004‐6
Brian Davis
Midland Loan Services, a division of PNC Bank
10815 Mastin Boulevard, Suite 300                                        RS Legacy Corporation fka RadioShack
Overland Park, KS 66210                              5707      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
PPR Kitsap Mall LLC (384901‐00066)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                       RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                           5708      6/22/2015 Corporation                                                                                                                             $6,916.25             $6,916.25




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                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
Towne Mall, LLC
Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                           RS Legacy Corporation fka RadioShack
LOS ANGELES, CA 90067‐3012                               5709      6/22/2015 Corporation                                                                                                                             $6,219.58             $6,219.58
SM Valley Mall, LLC (203270‐02200)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                           RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                               5710      6/22/2015 Corporation                                                                                                                             $3,685.03             $3,685.03
Animas Valley Mall, LLC
Attn: Matthew Hickey, Esq.
c/o Rouse Properties, Inc.
1114 Avenue of the Americas, Suite 2800                                      RS Legacy Corporation fka RadioShack
New York, NY 10036‐7703                                  5711      6/22/2015 Corporation                                                  $1,459.99                                                                                        $1,459.99

Brixmor GA Apollo III Sub Holdings, LLC (Brixmor
Property Group, Inc.) t/a Hornell Plaza, Hornell, NY
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                   5712      6/22/2015 Corporation                                                                                                                               $138.36               $138.36
Equity One (Louisiana Portfolio) LLC
Robert L. LeHane
Gilbert R. Saydah Jr. (DE Bar No. 4304)
101 Park Avenue                                                              RS Legacy Corporation fka RadioShack
New York, NY 10178                                       5713      6/22/2015 Corporation                                                                                                                             $2,413.01             $2,413.01
WRI JT Hollywood Hills I, LP
C/O WEINGARTEN REALTY INVESTORS
Attn: Jenny J. Hyun, Esq.
2600 CITADEL PLAZA DRIVE, SUITE 125                                          RS Legacy Corporation fka RadioShack
HOUSTON, TX 77008                                        5714      6/22/2015 Corporation                                                                                                                             $5,506.40             $5,506.40
Chico Mall Investors, LLC (339136‐00036)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                           RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                               5715      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
TM Macarthur Center LP
Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                           RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                               5716      6/22/2015 Corporation                                                                                                                             $8,601.31             $8,601.31
TUP 130, LLC (Rouse)
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
101 Park Avenue                                                              RS Legacy Corporation fka RadioShack
New York, NY 10178                                       5717      6/22/2015 Corporation                                                $94,567.42                                                                                        $94,567.42
PALM SPRINGS MILE ASSOCIATES, LTD
Diana Marrone, Vice President
419 West 49th Street, Suite 300                                              RS Legacy Corporation fka RadioShack
Hialeah, FL 33012                                        5718      6/22/2015 Corporation                                                                                                                             $6,097.04             $6,097.04




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                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
420 Lincoln Road Associates, Ltd.
c/o Gellert Scali Busenkell & Brown, LLC
Attn: Michael G. Busenkell, Esquire
913 N. Market Street, 10th Floor
Suite 1001                                                               RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                                 5719      6/22/2015 Corporation                                                      $0.00                                                                      $0.00                 $0.00
RIVERA, MARIBEL RODRIGUEZ
HC 65 BUZON 4001                                                         RS Legacy Corporation fka RadioShack
PATILLAS, PR 00723                                   5720      6/22/2015 Corporation                                                                         $0.00                                                                         $0.00
Permelynn of Westchester, Inc.
c/o Kimco Realty Corporation
Susan L. Masone
3333 New Hyde Park Road
Ste. 100                                                                 RS Legacy Corporation fka RadioShack
New Hyde Park, NY 11042                              5721      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
Regency Centers, LP
Attn: Ernst Bell, Esq.
1 Independent Drive                                                      RS Legacy Corporation fka RadioShack
Jacksonville, FL 32202                               5722      6/22/2015 Corporation                                                $33,347.85                                                                   $3,579.57            $36,927.42
Cross‐Bronx Plaza LLP
Goldberg Weprin Finkel Goldstein LLP
Attn: Evan Lazerowitz, Esq.
1501 Broadway, 22nd Floor                                                RS Legacy Corporation fka RadioShack
New York, NY 10036                                   5723      6/22/2015 Corporation                                                                                                                             $8,165.13             $8,165.13
Southside Marketplace Limited Partnership
c/o Regency Centers, LP / Attn: Ernst Bell, Esq.
1 Independent Drive                                                      RS Legacy Corporation fka RadioShack
Jacksonville, FL 32202                               5724      6/22/2015 Corporation                                                  $1,186.55                                                                                        $1,186.55
Weingarten Nostat, Inc.
c/o Weingarten Realty Investors
Attn: Jenny J. Hyun, Esq.
2600 Citadel Plaza Drive, Suite 125                                      RS Legacy Corporation fka RadioShack
Houston, TX 77008                                    5725      6/22/2015 Corporation                                                                                                                             $2,915.76             $2,915.76
Lakeshore/Sebring Limited Partnership
Kelley Drye & Warren LLP
Gilbert R. Saydah Jr.
101 Park Avenue                                                          RS Legacy Corporation fka RadioShack
New York, NY 10178                                   5726      6/22/2015 Corporation                                                                                                                             $8,281.65             $8,281.65
Everett Mall LLC (344312‐00020)
Katten Muchin Rosenman LLP
Attn: Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                       RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                           5727      6/22/2015 Corporation                                                                                                                             $1,776.01             $1,776.01
VALLEY STREAM GREEN ACRES LLC
Katten Muchin Rosenman LLP
Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                       RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                           5728      6/22/2015 Corporation                                                                                                                            $22,795.07            $22,795.07




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                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
WRI JT Tamiami Trail, LP
c/o Weingarten Realty Investors
Attn: Jenny J. Hyun, Esq.
2600 Citadel Plaza Drive, Suite 125                                       RS Legacy Corporation fka RadioShack
Houston, TX 77008                                     5729      6/22/2015 Corporation                                                                                                                             $4,067.76             $4,067.76
Macerich Panorama SPE LLC
Katten Muchin Rosenman LLP
Attn: Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                        RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                            5730      6/22/2015 Corporation                                                                                                                             $7,567.29             $7,567.29
Brownsville Public Utilities Board
Ricardo Ayala
1425 Robinhood Dr.                                                        RS Legacy Corporation fka RadioShack
Brownsville, TX 78521                                 5731      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00

Bis Corporation Belle Isle Station (385110‐00009)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                        RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                            5732      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
Cross Bronx Plaza LLP
J. Ted Donovan, Esq.
Goldberg Weprin Finkel Goldstein LLP
1501 Broadway, 22nd Floor                                                 RS Legacy Corporation fka RadioShack
New York, NY 10036                                    5733      6/22/2015 Corporation                                               $122,901.83                                                                                       $122,901.83
Myrtle Beach Mall, LLC
Kelley Drye & Warren LLP
Gilbert R. Saydah Jr.
101 Park Avenue                                                           RS Legacy Corporation fka RadioShack
New York, NY 10178                                    5734      6/22/2015 Corporation                                                                                                                             $2,087.10             $2,087.10
69th Street Office Owner, LP
Goldberg Weprin Finkel Goldstein LLP
Attn: Ted Donovan, Esq.
1501 Broadway, 22nd Floor                                                 RS Legacy Corporation fka RadioShack
New York, NY 10036                                    5735      6/22/2015 Corporation                                                $90,419.58                                                                                        $90,419.58
Weingarten Las Tiendas JV
c/o Weingarten Realty Investors
Attn: Jenny H. Hyun, Esq.
2600 Citadel Plaza Drive, Suite 125                                       RS Legacy Corporation fka RadioShack
Houston, TX 77008                                     5736      6/22/2015 Corporation                                                                                                                             $5,431.28             $5,431.28
Woodbridge Plaza, LLC
Kelley Drye & Warren LLP
Robert L. LeHane
Gilbert R. Saydah Jr.
101 Park Avenue                                                           RS Legacy Corporation fka RadioShack
New York, NY 10178                                    5737      6/22/2015 Corporation                                                    $668.40                                                                  $4,010.40             $4,678.80
CACHE VALLEY,LLC
c/o Rouse Properties, Inc.
Susan Elman, Esq.
1114 Avenue of Americas, Suite 2800                                       RS Legacy Corporation fka RadioShack
New York, NY 10036                                    5738      6/22/2015 Corporation                                                                                                                             $2,835.43             $2,835.43




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            Creditor Name and Address            Claim No.   Claim Date                    Debtor                         Unsecured Claim                                            Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                    Amount
WRI JT Northridge, LP
c/o Weingarten Realty Investors
Jenny J. Hyun
Vice President/Associate General Counsel
2600 Citadel Plaza Drive, Suite 125                                    RS Legacy Corporation fka RadioShack
Houston, TX 77008                                  5739      6/22/2015 Corporation                                                                                                                            $4,857.72             $4,857.72
WEINGARTEN NOSTAT, INC.
c/o Weingarten Realty Investors
Jenny J. Hyun, Esq.
Vice President/Associate General Counsel
2600 Citadel Plaza Drive, Suite 125                                    RS Legacy Corporation fka RadioShack
HOUSTON, TX 77008                                  5740      6/22/2015 Corporation                                                                                                                            $4,040.38             $4,040.38
Cross Country Plaza LLC ‐ Store 8726
Heather D. Brown
2727 Paces Ferry Road
Suite 1‐225                                                            RS Legacy Corporation fka RadioShack
Atlanta, GA 30339                                  5741      6/22/2015 Corporation                                                                                                                            $4,566.00             $4,566.00

OTR, an Ohio general partnership
Allen Matkins Leck Gamble Mallory & Natsis LLP
Ivan M. Gold
3 Embarcadero Center, 12th Floor                                       RS Legacy Corporation fka RadioShack
San Francisco, CA 94111                            5742      6/22/2015 Corporation                                                                                                                            $3,598.33             $3,598.33
KDI Athens Mall, LLC ‐ Store 9686
Heather D. Brown
2727 Paces Ferry Road
Suite 1‐225                                                            RS Legacy Corporation fka RadioShack
Atlanta, GA 30339                                  5743      6/22/2015 Corporation                                                                                                                            $4,437.91             $4,437.91
Florin Associates, LLC (204404‐00168)
Katten Muchin Rosenman LLP
Attn: Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                     RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                         5744      6/22/2015 Corporation                                                                                                                            $6,744.68             $6,744.68
Georgia Power Company
c/o Nathan A. Wood
McGuireWoods LLP
1230 Peachtree St. NE, Suite 2100                                      RS Legacy Corporation fka RadioShack
Atlanta, GA 30309                                  5745      6/22/2015 Corporation                                                                                                                           $19,049.07            $19,049.07
GGF LLC
Attn: Aida Northadian, Manager
100 West Broadway, Suite 950                                           RS Legacy Corporation fka RadioShack
Glendale, CA 91210                                 5746      6/22/2015 Corporation                                                                                                                            $3,806.49             $3,806.49
Janss Marketplace, LLC
Ecoff Landsberg, LLP
Attn: Ian S. Landsberg
280 South Beverly Drive, Suite 504                                     RS Legacy Corporation fka RadioShack
Beverly Hills, CA 90212                            5747      6/22/2015 Corporation                                                                                                                            $5,141.73             $5,141.73




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            Creditor Name and Address            Claim No.   Claim Date                    Debtor                         Unsecured Claim                                            Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                    Amount
IRT Partners L.P.
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
Gilbert R. Saydah Jr., Esq.
101 Park Avenue                                                        RS Legacy Corporation fka RadioShack
New York, NY 10178                                 5748      6/22/2015 Corporation                                                                                                                            $2,530.83             $2,530.83
KDI Rivergate Mall, LLC ‐ Store 4543
Heather D. Brown
2727 Paces Ferry Road
Suite 1 ‐ 225                                                          RS Legacy Corporation fka RadioShack
Atlanta, GA 30339                                  5749      6/22/2015 Corporation                                                                                                                            $3,147.32             $3,147.32
Rio Grande Investment, LLC
c/o Heather D. Brown, Esq.
Brown Law, LLC
2727 Paces Ferry Road
Suite 1‐255                                                            RS Legacy Corporation fka RadioShack
Atlanta, GA 30339                                  5750      6/22/2015 Corporation                                                                                                                            $3,779.43             $3,779.43
Florida Land Trust No. V‐1 ‐ Store 8899
Heather D. Brown
2727 Paces Ferry Road
Suite 1 ‐ 225                                                          RS Legacy Corporation fka RadioShack
Atlanta, GA 30339                                  5751      6/22/2015 Corporation                                                                                                                            $2,649.57             $2,649.57
Macerich South Park Mall LLC (203270‐02194)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                     RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                         5752      6/22/2015 Corporation                                                                                                                            $1,788.25             $1,788.25

CP/IPERS Woodfield, LLC
Allen Matkins Leck Gamble Mallory & Natsis LLP
Ivan M. Gold
3 Embarcadero Center, 12th Floor                                       RS Legacy Corporation fka RadioShack
San Francisco, CA 94111                            5753      6/22/2015 Corporation                                                                                                                                $0.00                 $0.00
WEINGARTEN NOSTAT, INC.
c/o Weingarten Realty Investors
Jenny J. Hyun, Esq.
Vice President/Associate General Counsel
2600 Citadel Plaza Drive, Suite 125                                    RS Legacy Corporation fka RadioShack
HOUSTON, TX 77008                                  5754      6/22/2015 Corporation                                                                                                                            $7,119.20             $7,119.20
Weingarten Nostat, Inc.
c/o Weingarten Realty Investors
Attn: Jenny J. Hyun, Esq.
2600 Citadel Plaza Drive, Suite 125                                    RS Legacy Corporation fka RadioShack
Houston, TX 77008                                  5755      6/22/2015 Corporation                                                                                                                            $4,837.13             $4,837.13
Equity One (Florida Portfolio) Inc.
Kelley Drye & Warren LLP
Robert L. LeHane
Gilbert R. Saydah Jr.
101 Park Avenue                                                        RS Legacy Corporation fka RadioShack
New York, NY 10178                                 5756      6/22/2015 Corporation                                                                                                                            $1,982.56             $1,982.56




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                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
Suffolk Plaza Shopping Center, L.C.
c/o David A. Greer
500 East Main Street, Suite 1225                                 RS Legacy Corporation fka RadioShack
Norfolk, VA 23510                            5757      6/22/2015 Corporation                                                $31,588.48                                                                                        $31,588.48
GRI‐EQY (Airpark Plaza) LLC
Kelley Drye & Warren LLP
Robert L. LeHane
Gilbert R. Saydah Jr.
101 Park Avenue                                                  RS Legacy Corporation fka RadioShack
New York, NY 10178                           5758      6/22/2015 Corporation                                                                                                                             $1,372.50             $1,372.50
Northgate Mall Associates (203270‐02193)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                               RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                   5759      6/22/2015 Corporation                                                                                                                             $4,013.69             $4,013.69
City of Fort Lauderdale
Penny L. Temple
Sr. Accounting Clerk III
100 N. Andrews Ave. 7th flr                                      RS Legacy Corporation fka RadioShack
Fort Lauderdale, FL 33301                    5760      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
Marlboro Plaza Associates LLC
c/o Marc Kemp
Basser‐Kaufman
151 Irving Place                                                 RS Legacy Corporation fka RadioShack
Woodmere, NY 11598                           5761      6/22/2015 Corporation                                                  $4,563.71                                                                                        $4,563.71
Bay Shore GP, LLC
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
101 Park Avenue                                                  RS Legacy Corporation fka RadioShack
New York, NY 10178                           5762      6/22/2015 Corporation                                                  $4,267.45                                                                                        $4,267.45
WNI/TENNESSEE, LP
C/O WEINGARTEN REALTY MANAGEMENT CO.
Jenny J. Hyun
Vice President/Associate General Counsel
2600 Citadel Plaza Drive                                         RS Legacy Corporation fka RadioShack
HOUSTON, TX 77292                            5763      6/22/2015 Corporation                                                                                                                             $2,390.22             $2,390.22
69th Street Office Owner, LP
Goldberg Weprin Finkel Goldstein LLP
Evan Lazerowitz, Attorney
1501 Broadway ‐ 22nd FL.                                         RS Legacy Corporation fka RadioShack
New York, NY 10036                           5764      6/22/2015 Corporation                                                                                                                             $4,926.32             $4,926.32
WFC Wyoming NM LLC (330706‐00016)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                               RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                   5765      6/22/2015 Corporation                                                                                                                             $4,005.14             $4,005.14
Toro, Carlos
399 W Manning Ave                                                RS Legacy Corporation fka RadioShack
Fresno, CA 93706                             5766      6/24/2015 Corporation                                                                                                              $54.10                                  $54.10




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                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
Tracy Mall Partners, LP
c/o Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
101 Park Avenue                                                       RS Legacy Corporation fka RadioShack
New York, NY 10178                                5767      6/22/2015 Corporation                                                    $403.43                                                                                          $403.43
Murray, Cynthia
2321 Clearview Drive                                                  RS Legacy Corporation fka RadioShack
Fort worth, TX 76119                              5768      6/23/2015 Corporation                                                                         $0.00                                                                         $0.00
MARLBORO PLAZA ASSOCIATES LLC
MARC KEMP
BASSER‐KAUFMAN
151 IRVING PLAZA                                                      RS Legacy Corporation fka RadioShack
WOODMERE, NY 11598                                5769      6/22/2015 Corporation                                                                                                                               $274.16               $274.16
Southpark Mall CMBS, LLC by CBL & Associates
Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                             RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                             5770      6/19/2015 Corporation                                                                                                                             $2,979.37             $2,979.37
Oak Park Mall, LLC, by CBL & Associates
Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
2330 Hamilton Place Blvd.                                             RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                             5771      6/19/2015 Corporation                                                                                                                             $5,826.13             $5,826.13
St. Clair Square SPE, LLC by CBL & Associates
Management, Inc., management agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                             RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                             5772      6/19/2015 Corporation                                                                                                                             $2,680.74             $2,680.74
Oconnor, Kerry
521 Wyoming ave                                                       RS Legacy Corporation fka RadioShack
Penndel, PA 19047                                 5773      6/23/2015 Corporation                                                     $12.97                                                                                           $12.97
OMNICARE
309 BELLEVIEW BLVD                                                    RS Legacy Corporation fka RadioShack
BELLEAIR, FL 33756                                5774      6/23/2015 Corporation                                                $21,034.15                                                                                        $21,034.15
GRETA BECKERMAN
6101 OHIO DRIVE APT #1227                                             RS Legacy Corporation fka RadioShack
PLANO, TX 75024                                   5775      6/23/2015 Corporation                                               $200,488.00                                                                                       $200,488.00
Szeto, Mary Fung
4143 Camino Real                                                      RS Legacy Corporation fka RadioShack
Los Angeles , CA 90065                            5776      6/23/2015 Corporation                                                     $46.65                                                                                           $46.65
JCDecaux Mallscape, LLC
3 Park Avenue, 33rd Floor                                             RS Legacy Corporation fka RadioShack
New York, NY 10016                                5777      6/23/2015 Corporation                                                  $4,219.00                                                                                        $4,219.00
Lyons Plaza, LLC
Peter Schofe
C/O Eastman
651 W MT Pleasant Ave
Suite 110                                                             RS Legacy Corporation fka RadioShack
Livingston, NJ 07039                              5778      6/23/2015 Corporation                                                                                                                             $1,561.26             $1,561.26




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
David L. Rasmussen, Esq
28 East Main Street
Suite 1700                                                     RS Legacy Corporation fka RadioShack
Rochester, NY 14614                        5779      6/23/2015 Corporation                                                $54,121.89                                                                                        $54,121.89
Transitown Plaza Associates LLC
Transitown Plaza Assoc.
Matthew D Gian,VP
4221 Transit Rd                                                RS Legacy Corporation fka RadioShack
Williamsville, NY 14221                    5780      6/23/2015 Corporation                                                                                                                             $1,350.18             $1,350.18
MUNICIPAL UTILITIES
Bill Bach
3000 North Westwood                                            RS Legacy Corporation fka RadioShack
Poplar Bluff, MO 63901                     5781      6/23/2015 Corporation                                                    $930.82                                                                                          $930.82
KERRVILLE PUBLIC UTILITY BOARD
c/o Mark Nelson
PO BOX 294999                                                  RS Legacy Corporation fka RadioShack
KERRVILLLE, TX 78029                       5782      6/23/2015 Corporation                                                  $1,415.98                                                                                        $1,415.98
Przybylski, Bary
10907 E. San Tan Blvd                                          RS Legacy Corporation fka RadioShack
Sun Lakes, AZ 85248‐7902                   5783      6/23/2015 Corporation                                                                      $130.99                                                                        $130.99
Montano, Sarah
14108 San Jose ave                                             RS Legacy Corporation fka RadioShack
Bakersfield, CA 93314                      5784      6/23/2015 Corporation                                                     $20.00                                                                                           $20.00
BERKELEY MALL, LLC
c/o Faison & Associates
121 West Trade St.
Suite 2800                                                     RS Legacy Corporation fka RadioShack
Charlotte, NC 28202                        5785      6/23/2015 Corporation                                                $66,027.95                                                                                        $66,027.95
CTT Peoria Power, LLC
c/o Walter H. Gilbert, Esq.
Gilbert Bird Law Firm, PC
10575 North 114th Street, Suite 115                            RS Legacy Corporation fka RadioShack
Scottsdale, AZ 85259                       5786      6/23/2015 Corporation                                                      $0.00                                                                                            $0.00
CITY OF AURORA
Attn: Water Billing Division
44 E DOWNER PL                                                 RS Legacy Corporation fka RadioShack
AURORA, IL 60507                           5787      6/23/2015 Corporation                                                    $126.41                                                                                          $126.41
Hingst, Eric
1210 Dehner St.                                                RS Legacy Corporation fka RadioShack
Burlington, IA 52601                       5788      6/23/2015 Corporation                                                                                                                                 $0.00                 $0.00
Keene, Melissa
5306 Clark Drive                                               RS Legacy Corporation fka RadioShack
Roeland Park, KS 66205                     5789      6/23/2015 Corporation                                                     $25.00                                                                                           $25.00
Sendejo, Rebecca
13669 Teague Lane #104                                         RS Legacy Corporation fka RadioShack
Corpus Christi, TX 78410                   5790      6/23/2015 Corporation                                                                                                               $0.00                                   $0.00
Regency Centers, L.P.
Attn: Ernst Bell, Esq.
1 Independent Drive                                            RS Legacy Corporation fka RadioShack
Jacksonville, FL 32202                     5791      6/22/2015 Corporation                                                $56,678.81                                                                  $12,361.22            $69,040.03




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                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                     Amount
Adams, Ronda
202 Windham Ct                                                          RS Legacy Corporation fka RadioShack
Broadview Hts., OH 44147                            5792      6/24/2015 Corporation                                                    $150.00                                                                                          $150.00
DANBURY MALL LLC
Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                      RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                          5793      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
Susu Developers t/a Hilltop North
C/O David A. Greer, attorney for claimant
500 East Main Street, Suite 1225                                        RS Legacy Corporation fka RadioShack
Norfolk, VA 23510                                   5794      6/22/2015 Corporation                                                $64,312.68                                                                                        $64,312.68

Macerich Valley River Center LLC (203270‐02174)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 CENTURY PARK EAST, SUITE 2600                                      RS Legacy Corporation fka RadioShack
LOS ANGELES, CA 90067‐3012                          5795      6/22/2015 Corporation                                                                                                                             $7,635.30             $7,635.30
Equity One (Florida Portfolio) Inc.
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
Gilbert R. Saydah Jr. Esq.
101 Park Avenue                                                         RS Legacy Corporation fka RadioShack
New York, NY 10178                                  5796      6/22/2015 Corporation                                                  $1,245.46                                                                  $4,933.47             $6,178.93
Adams, Ronda
202 Windman Court                                                       RS Legacy Corporation fka RadioShack
Broadview Hts, OH 44147                             5797      6/24/2015 Corporation                                                      $0.00                                                                                            $0.00
ISLANDIA SC I LLC
PO BOX 842505                                                           RS Legacy Corporation fka RadioShack
BOSTON, MA 02284‐2505                               5798      6/23/2015 Corporation                                                $16,144.85                                                                                        $16,144.85
Warren, Tammy
PO Box 584                                                              RS Legacy Corporation fka RadioShack
Clarksville, AR 72830                               5799      6/24/2015 Corporation                                                     $43.43                                                                                           $43.43
Spring Hill Mall L.L.C.
Susan Elman, Esq.
C/O Rouse Properties, Inc.
1114 Avenue of America, Suite 2800                                      RS Legacy Corporation fka RadioShack
New York, NY 10036                                  5800      6/22/2015 Corporation                                                                                                                             $5,796.88             $5,796.88
Davis, Layton I.
1547 Westwind Drive                                                     RS Legacy Corporation fka RadioShack
Jacksonville Beach, FL 32250                        5801      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
West, Donald W.
7231 Cottonwood Ct                                                      RS Legacy Corporation fka RadioShack
Middleburg, FL 32068                                5802      6/23/2015 Corporation                                                                       $40.00             $40.00                                                      $80.00
Sanchez, Giovanni Nieves
Levittown 6ta Seccion
EV‐2 Salvador Brau                                                      RS Legacy Corporation fka RadioShack
Toa Baja, PR 00949                                  5803      6/23/2015 Corporation                                                                         $0.00                                                                         $0.00




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                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Equity One, Inc.
Kelley Drye & Warren LLP
Robert L. LeHane
Gilbert R. Saydah Jr. (DE Bar No. 4304)
101 Park Avenue                                                           RS Legacy Corporation fka RadioShack
New York, NY 10178                                    5804      6/22/2015 Corporation                                                                                                                             $1,366.21             $1,366.21
Armstead, Barbara
2201 Paige Street                                                         RS Legacy Corporation fka RadioShack
Knoxville, TN 37917‐4443                              5805      6/23/2015 Corporation                                                                                          $20.00                                                      $20.00
Elk Crossing Fund II, LLC (330706‐00014)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                        RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                            5806      6/22/2015 Corporation                                                                                                                             $5,871.17             $5,871.17
Flagstaff Mall Associates Limited Partnership
Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                        RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                            5807      6/22/2015 Corporation                                                                                                                             $6,705.98             $6,705.98
West Salinas Shops, LLC
c/o Anne Secker, Esq., Noland, Hamerly, Etienne &
Hoss
PO Box 2510                                                               RS Legacy Corporation fka RadioShack
Salinas, CA 93902‐2510                                5808      6/23/2015 Corporation                                                      $0.00                                                                                            $0.00
Azodzadegan, David
10638 FITZROY AVE                                                         RS Legacy Corporation fka RadioShack
TUJUNGA, CA 91042‐1503                                5809      6/23/2015 Corporation                                                                                           $0.00                                                       $0.00
Cloppers Mill Village Center, LLC
Regency Centers, LP
Attn: Ernst Bell, Esq.
1 Independent Drive                                                       RS Legacy Corporation fka RadioShack
Jacksonville, FL 32202                                5810      6/22/2015 Corporation                                                    $842.03                                                                  $2,071.93             $2,913.96
Bittersweet Plaza, LLC
Patrick M. Groom, Esq.
c/o Witwer, Oldenburg, Barry & Groom, LLP
822 7th St., Ste. 760                                                     RS Legacy Corporation fka RadioShack
Greeley, CO 80631                                     5811      6/23/2015 Corporation                                                                                                                             $4,146.99             $4,146.99
Equity One (Florida Portfolio) Inc.
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
Gilbert R. Saydah Jr. Esq.
101 Park Avenue                                                           RS Legacy Corporation fka RadioShack
New York, NY 10178                                    5812      6/22/2015 Corporation                                                                                                                               $280.52               $280.52
The Schreiber Co.‐ Belleview Associates, LTD.
C/O The Schreiber Company
609 Epsilon Drive                                                         RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15238                                  5813      6/23/2015 Corporation                                                      $0.00                                                                                            $0.00
RANDOLPH COUNTY TAX
725 MCDOWELL RD                                                           RS Legacy Corporation fka RadioShack
ASHEBORO, NC 27205                                    5814      6/23/2015 Corporation                                                                         $7.11                                                                         $7.11




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Hingst, Eric Anthony
1210 Dehner Street                                             RS Legacy Corporation fka RadioShack
Burlington, IA 52601                       5815      6/23/2015 Corporation                                                                         $0.00                                                                         $0.00
SHAW MEDIA
PO BOX 250                                                     RS Legacy Corporation fka RadioShack
CRYSTAL LAKE, IL 60039‐0250                5816      6/23/2015 Corporation                                                    $918.41                                                                                          $918.41
VALLEY AND PLAINFIELD ASSOCIATES, LP
C/O CROMAN DEVELOPMENT COMPANY
395 PLEASANT VALLEY WAY                                        RS Legacy Corporation fka RadioShack
WEST ORANGE, NJ 07052                      5817      6/22/2015 Corporation                                                  $4,200.35                                $0.00                             $6,694.89            $10,895.24
Pietrantoni, Mendez & Alvarez, LLC
Jorge I. Peirats, Esquire
Banco Popular Center ‐ 19th Floor
208 Ponce de Leon Avenue                                       RS Legacy Corporation fka RadioShack
San Juan, PR 00918                         5818      6/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Alejo/Alvarez Investment, Inc.
c/o Cesar Alvarez
2828 Coral Way #400                                            RS Legacy Corporation fka RadioShack
Miami, FL 33145                            5819      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
RIDGE NORTH SHOPPING CENTER ASSOCIATES
C/O ACL REALTY CORP
3060 PEACHTREE RD STE 270                                      RS Legacy Corporation fka RadioShack
ATLANTA, GA 30305‐2234                     5820      6/23/2015 Corporation                                                  $2,614.77                                                                                        $2,614.77
Katz, Arnold L.
Melba L. Katz
7943 Canterbury St                                             RS Legacy Corporation fka RadioShack
Prairie Village , KS 66708                 5821      6/23/2015 Corporation                                                      $0.00                                                                                            $0.00
VCG‐Southbay Pavilion, LLC
Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                             RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                 5822      6/22/2015 Corporation                                                                                                                             $6,772.18             $6,772.18
Cranberry Mall Properties, Inc.
Gilbert R. Saydah Jr
Kelley Drye & Warren LLP
101 Park Avenue                                                RS Legacy Corporation fka RadioShack
New York, NY 10178                         5823      6/22/2015 Corporation                                                $37,943.87                                                                       $0.00            $37,943.87
WRI West Gate South, L.P.
c/o Weingarten Realty Investors
Attn: Jenny J. Hyun, Esq.
2600 Citadel Plaza Drive, Suite 125                            RS Legacy Corporation fka RadioShack
Houston, TX 77008                          5824      6/22/2015 Corporation                                                                                                                             $6,594.12             $6,594.12
Merced, Josefina
Hc 57 Box 9682                                                 RS Legacy Corporation fka RadioShack
Aguada, PR 00602                           5825      6/23/2015 Corporation                                                      $0.00                                                                                            $0.00
Cranberry Mall Partners, Inc.
Kelley Drye & Warren LLP
Attn: Robert L. Lehane, Esq.
101 Park Avenue                                                RS Legacy Corporation fka RadioShack
New York, NY 10178                         5826      6/22/2015 Corporation                                                                                                                            $13,994.09            $13,994.09




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                                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current Claim
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                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount

CSFB 2004‐C2 Puyallup Retail, LLC, as successor‐in‐
interest to Meridian Center L.L.C.
Darek S. Bushnaq (No. 5596)
Heather Deans Foley
Venable LLP
750 East Pratt Street, Suite 900                                            RS Legacy Corporation fka RadioShack
Baltimore, MD 21202                                     5827      6/22/2015 Corporation                                                                                                                             $3,506.74             $3,506.74
Brooklyn Kings Plaza LLC (203270‐02192)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                          RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                              5828      6/22/2015 Corporation                                                                                                                            $10,674.60            $10,674.60
LASHER HOLZAPFEL SPERRY & EBBENSON
601 UNION STREET SUITE 2600                                                 RS Legacy Corporation fka RadioShack
SEATTLE, WA 98101                                       5829      6/22/2015 Corporation                                                  $1,796.20                                                                                        $1,796.20
Read Real Estate, LLC
Kelley Drye & Warren LLP
Attn: Robert L. Lehane, Esq.
101 Park Avenue                                                             RS Legacy Corporation fka RadioShack
New York, NY 10178                                      5830      6/22/2015 Corporation                                                $79,333.69                                                                                        $79,333.69
Alexandria Main Mall LLC By Alexandria Mall
Partners LLC By Alexandria Sub‐Radiant LLC
Gilbert R. Saydah Jr.
Kelley Drye & Warren LLP
101 Park Avenue                                                             RS Legacy Corporation fka RadioShack
New York, NY 10178                                      5831      6/22/2015 Corporation                                                                                                                             $5,681.75             $5,681.75
PATEL MANAGEMENT INC
3730 W DEVON AVE                                                            RS Legacy Corporation fka RadioShack
LINCOLNWOOD, IL 60712                                   5832      6/23/2015 Corporation                                                  $5,532.14                                                    $0.00         $3,503.58             $9,035.72

Higginbotham Bros. & Co.
Matthews Stein Shiels Pearce Knott Eden & Davis
8131 LBJ Freeway
Suite 700                                                                   RS Legacy Corporation fka RadioShack
Dallas, TX 75251                                        5833      6/23/2015 Corporation                                               $137,463.39                                                                                       $137,463.39

OTR, an Ohio General Partnership
Ivan M. Gold, attorney for Claimant
Allen Matkins Leck Gamble Mallory & Natsis LLP
3 Embarcadero Center, 12th Floor                                            RS Legacy Corporation fka RadioShack
San Francisco, CA 94111                                 5834      6/22/2015 Corporation                                                                                                                             $5,094.11             $5,094.11
Stailey, Angela
9928 Lone Eagle Dr.
Fort Worth, TX 76108                                    5835      6/23/2015 TE Electronics LP                                                                   $0.00                                                                         $0.00
VCG Whitney Field, LLC (340210‐00008)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                          RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                              5836      6/22/2015 Corporation                                                                                                                             $4,096.87             $4,096.87
Claim Docketed In Error                                                     RS Legacy Corporation fka RadioShack
                                                        5837      6/8/2015 Corporation                                                                                                                                                        $0.00



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            Creditor Name and Address                Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount
Claim Docketed In Error                                                   RS Legacy Corporation fka RadioShack
                                                       5837      6/8/2015 Corporation                                                                                                                                                        $0.00
Sunset Mall SPE, L.P.
KELLEY DRYE & WARREN LLP
ATTN: ROBERT L. LEHANE, ESQ.
101 PARK AVENUE                                                            RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                                     5838      6/22/2015 Corporation                                                  $1,890.71                                                                                        $1,890.71
Grafton II Associates t/a Washington Square, Store
No. 01‐1768
C/O David A. Greer, attorney for claimant
500 East Main Street, Suite 1225                                           RS Legacy Corporation fka RadioShack
Norfolk, VA 23510                                      5839      6/22/2015 Corporation                                                  $2,974.31                                                                                        $2,974.31
REGENCY CENTERS, L.P.
ATTN: ERNST BELL, ESQ.
1 INDEPENDENT DRIVE                                                        RS Legacy Corporation fka RadioShack
JACKSONVILLE, FL 32202                                 5840      6/22/2015 Corporation                                                $33,198.36                                                                   $4,460.78            $37,659.14
Regency Centers, LP
Attn: Ernst Bell, Esq.
1 Independent Drive                                                        RS Legacy Corporation fka RadioShack
Jacksonville, FL 32202                                 5841      6/22/2015 Corporation                                                  $1,217.63          $7,680.23                                                                     $8,897.86
FW CA‐Bay Hill Shopping Center, LLC
C/O Regency Centers, LP
Attn: Ernst Bell, Esq.
1 Independent Drive                                                        RS Legacy Corporation fka RadioShack
JACKSONVILLE, FL 32202                                 5842      6/22/2015 Corporation                                                $44,721.62                                                                   $8,048.47            $52,770.09
Gibraltar Management Co., Inc., in its capacity as
the authorized agent for Washington/Bloomfield
Development Corp.
Ronald S. Friedman, Executive Vice President
150 White Plains Road, Suite 400                                           RS Legacy Corporation fka RadioShack
Tarrytown, NY 10591                                    5843      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
CEDAR TIMPANY LLC
Philip R. Mays, CFO and Treasurer
44 S. Bayles Avenue, Suite 304                                             RS Legacy Corporation fka RadioShack
PORT WASHINGTON, NY 11050                              5844      6/22/2015 Corporation                                                                                                                             $1,968.76             $1,968.76
Spring Hill Mall L.L.C.
KELLEY DRYE & WARREN LLP
ATTN: ROBERT L. LEHANE, ESQ.
101 PARK AVENUE                                                            RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                                     5845      6/22/2015 Corporation                                               $177,804.98                                                                                       $177,804.98
Equity One, Inc.
Robert L. LeHane
Gilbert R. Saydah Jr.
101 Park Avenue                                                            RS Legacy Corporation fka RadioShack
New York, NY 10178                                     5846      6/22/2015 Corporation                                                    $491.67                                                                  $2,704.25             $3,195.92
AHB Atlantic Realty LLC
Attn: Stanley Schuckman
7600 Jericho Turnpike                                                      RS Legacy Corporation fka RadioShack
Woodbury, NY 11797                                     5847      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
Matye, Adam
8660 Burton Way #B                                                         RS Legacy Corporation fka RadioShack
Los Angeles, CA 90048                                  5848      6/23/2015 Corporation                                                                                                                                 $0.00                 $0.00



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                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                     Amount
Waikele 101 Sorrento, LLC, et al.
c/o American Assets Trust Management, LLC
11455 El Camino Real, Suite 200                                   RS Legacy Corporation fka RadioShack
San Diego, CA 92130                           5849      6/23/2015 Corporation                                               $104,141.45                                                                                       $104,141.45
Equity One (Northeast Portfolio) Inc.
Kelley Drye & Warren LLP
Robert L. LeHane
Gilbert R. Saydah Jr. (DE Bar No. 4304)
101 Park Avenue                                                   RS Legacy Corporation fka RadioShack
New York, NY 10178                            5850      6/22/2015 Corporation                                                                                                                             $1,948.68             $1,948.68
COLONY SQUARE LLC
Susan Elman, Esq.
c/o Rouse Properties, Inc.
1114 Avenue of Americas, Suite 2800                               RS Legacy Corporation fka RadioShack
New York, NY 10036                            5851      6/22/2015 Corporation                                                                                                                               $679.02               $679.02
THE MACERICH PARTNERSHIP, L.P.
Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                    5852      6/22/2015 Corporation                                                                                                                            $11,325.89            $11,325.89
Cedar‐Carmans LLC
Philip R. Mays, CFO and Treasurer
44 S. Bayles Avenue, Suite 304                                    RS Legacy Corporation fka RadioShack
Port Washington, NY 11050                     5853      6/22/2015 Corporation                                                                                                                             $5,141.75             $5,141.75
Ostrow Partnership Island Plaza
8660 Burton Way, Apt. B                                           RS Legacy Corporation fka RadioShack
Los Angeles, CA 90048                         5854      6/23/2015 Corporation                                                      $0.00                                $0.00                                                       $0.00
CJB Real Estate, L.L.C.
Brian S. McCool, Esq.
Fredrikson & Byron, P.A.
200 S. Sixth Street, Ste 4000                                     RS Legacy Corporation fka RadioShack
Minneapolis, MN 55402                         5855      6/22/2015 Corporation                                                                                                                             $3,936.56             $3,936.56
Equity One (West Coast Portfolio) Inc.
Robert L. LeHane
Gilbert R. Saydah Jr. (DE Bar No. 4304)
101 PARK AVENUE                                                   RS Legacy Corporation fka RadioShack
New York, NY 10178                            5856      6/22/2015 Corporation                                                                                                                             $6,686.26             $6,686.26

ALLENBETH ASSOCIATES LIMITED PARTNERSHIP
C/O Regency Centers, LP
Attn: Ernst Bell, Esq.
1 Independent Drive                                               RS Legacy Corporation fka RadioShack
JACKSONVILLE, FL 32202                        5857      6/22/2015 Corporation                                                $28,721.22                                                                   $2,678.42            $31,399.64
KoKo Marina Holdings LLC
DANIEL CHUNG, GENERAL MANAGER
KOKO MARINA CENTER
C/O SOFOS REALTY CORPORATION
600 KAPIOLANI BLVD., #200                                         RS Legacy Corporation fka RadioShack
HONOLULU, HI 96813                            5858      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00




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                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
SMITH & WEISS
C/O EDWARD A SMITH
180 BIG OAK ROAD                                                 RS Legacy Corporation fka RadioShack
STAMFORD, CT 06903                           5859      6/23/2015 Corporation                                                  $1,488.96                                                                                        $1,488.96
Cache Valley, LLC
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
101 Park Avenue                                                  RS Legacy Corporation fka RadioShack
New York, NY 10178                           5860      6/22/2015 Corporation                                                      $0.00                                                                                            $0.00
KDI Panama Mall, LLC ‐ Store 9391
Heather D. Brown
2727 Paces Ferry Road
Suite 1 ‐ 225                                                    RS Legacy Corporation fka RadioShack
Atlanta, GA 30339                            5861      6/22/2015 Corporation                                                                                                                             $2,457.41             $2,457.41
Equity One (Sheridan Plaza) LLC
Kelley Drye & Warren LLP
Robert L. LeHane
Gilbert R. Saydah Jr. (DE Bar No. 4304)
101 Park Avenue                                                  RS Legacy Corporation fka RadioShack
New York, NY 10178                           5862      6/22/2015 Corporation                                                                                                                             $4,844.93             $4,844.93
Vantiv, LLC
Todd A. Atkinson (Delaware Bar No. 4825)
ULMER & BERNE LLP
1660 West 2nd Street, Suite 1100                                 RS Legacy Corporation fka RadioShack
Cleveland, OH 44113‐1448                     5863      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
SANDY SPRINGS REGENCY, LLC
c/o Regency Centers, LP
ATTN: Ernst Bell, Esq.
1 Independent Drive                                              RS Legacy Corporation fka RadioShack
Jacksonville, FL 32202                       5864      6/22/2015 Corporation                                                $67,598.03                                                                   $3,463.36            $71,061.39
Southland Mall, L.P. (Haywood)
Kelley Drye & Warren LLP
Attn: Robert L. Lehane, Esq.
101 Park Avenue                                                  RS Legacy Corporation fka RadioShack
New York, NY 10178                           5865      6/22/2015 Corporation                                                $96,916.77                                                                                        $96,916.77
SRM‐SPE, LLC
Gilbert R. Saydah Jr.
Kelley Drye & Warren LLP
101 Park Avenue                                                  RS Legacy Corporation fka RadioShack
New York, NY 10178                           5866      6/22/2015 Corporation                                                                                                                             $7,119.56             $7,119.56
Freemall Associates, LLC
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                               RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                   5867      6/22/2015 Corporation                                                                                                                             $7,008.48             $7,008.48
Lakeshore/Sebring Limited Partnership
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
101 Park Avenue                                                  RS Legacy Corporation fka RadioShack
New York, NY 10178                           5868      6/22/2015 Corporation                                                $88,942.18                                                                                        $88,942.18




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Compton Commercial Development Company
(205102‐00054)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                              RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                  5869      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
Ocasio Lugo, Luis Manuel
URB Las Colinas Buena Vista
P‐19 Calle 15                                                   RS Legacy Corporation fka RadioShack
Toa Baja, PR 00949                          5870      6/23/2015 Corporation                                                                         $0.00                                                                         $0.00
NYSEG
Attn: Teresa Jangochian
NYSEG
18 Link Drive                                                   RS Legacy Corporation fka RadioShack
Binghamton, NY 13904                        5871      6/23/2015 Corporation                                                  $5,133.99                                                                                        $5,133.99
COLQUITT ELECTRIC MEMBERSHIP CORP
Brenda M. Jarrett
PO Box 3608                                                     RS Legacy Corporation fka RadioShack
Moultrie, GA 31776                          5872      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
Pace‐Washington Associates, L.L.C.
Attn: Rick L. Matejka
1401 S. Brentwood Blvd., Suite 900                              RS Legacy Corporation fka RadioShack
St. Louis, MO 63144                         5873      6/22/2015 Corporation                                                  $2,113.25                                                                                        $2,113.25
TWC Chandler LLC
Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                              RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                  5874      6/22/2015 Corporation                                                                                                                             $3,346.54             $3,346.54
Talcott III Thousand Oaks, LP
Mary F. Sharp
2620 Thousand Oaks Blvd.
Ste 4000                                                        RS Legacy Corporation fka RadioShack
Memphis, TN 38118                           5875      6/22/2015 Corporation                                                  $5,686.72                                                                    $784.32             $6,471.04

APEX CENTURY COLONIAL PLAZA LLC
C/O BENCHMARK MANAGEMENT CORPORATION
4053 MAPLE ROAD, SUITE 200                                      RS Legacy Corporation fka RadioShack
AMHERST, NY 14226                           5876      6/23/2015 Corporation                                                  $7,636.02                                                                                        $7,636.02
Macerich Deptford LLC (203270‐02204)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                              RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                  5877      6/22/2015 Corporation                                                                                                                             $4,447.75             $4,447.75
Lake Square Mall Realty Management, LLC
10401 US HWY 441
Leesburg, FL 34788                          5878      6/22/2015 Atlantic Retail Ventures, Inc.                                 $646.38                                                                                          $646.38
Claim Docketed In Error                                         RS Legacy Corporation fka RadioShack
                                            5879      6/8/2015 Corporation                                                                                                                                                        $0.00




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                                                                                                                                                     Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                      Amount
Board of County Commissioners of Johnson County,
Kansas
c/o Johnson County Legal Dept.
111 S. Cherry, Suite 3200                                                  RS Legacy Corporation fka RadioShack
Olathe, KS 66061                                       5880      6/23/2015 Corporation                                                                       $958.51                                                                        $958.51
CJB Real Estate, L.L.C.
c/o Brian S. McCool, Esq.
Fredrikson & Byron, P.A.
200 S. Sixth, Ste 4000                                                     RS Legacy Corporation fka RadioShack
Minneapolis, MN 55402                                  5881      6/22/2015 Corporation                                                $55,767.89                                                                                         $55,767.89
The Realty Associates Fund VII,L.P. C/O Sansone
Group (Punta Gorda, FL)
Stuart J. Radloff
Attorney at Law
13321 N. Outer 40 Rd. #800                                                 RS Legacy Corporation fka RadioShack
Town & Country, MO 63017                               5882      6/23/2015 Corporation                                                                                                                                  $0.00                 $0.00
CITY OF SEBRING UTILITIES DEPARTMENT
Bob Boggus, Utilities Director
321 N. Mango Street                                                        RS Legacy Corporation fka RadioShack
Sebring, FL 33870                                      5883      6/23/2015 Corporation                                                    $324.37                                                                                           $324.37
Brooks Shopping Centers, LLC Cross County (203270‐
00210)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                         RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                             5884      6/22/2015 Corporation                                                                                                                                  $0.00                 $0.00
Heartland Acquisition LLC
Michael D. DeBaecke (as attorney)
Blank Rome LLP
1201 N. Market St., Suite 800                                              RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                                   5885      6/22/2015 Corporation                                                                                                                              $2,089.34             $2,089.34
OWENSBORO MUNICIPAL UTILITIES
Terrance Naulty ‐ General Manager
2070 Tamarack Road                                                         RS Legacy Corporation fka RadioShack
Owensboro, KY 42301                                    5886      6/23/2015 Corporation                                                    $641.88                                                                                           $641.88
Montebello LLC
A. Kenneth Hennesay Jr.
Allen matkins, et al.
1900 Main Street, 5th Flr                                                  RS Legacy Corporation fka RadioShack
Irvine, CA 92614                                       5887      6/23/2015 Corporation                                                                                                                                  $0.00                 $0.00
Marist Parents Club
Ginny Allman
3790 Ashford Dunwoody Road                                                 RS Legacy Corporation fka RadioShack
Atlanta, GA 30319                                      5888      6/23/2015 Corporation                                                                       $225.00                                                                        $225.00
U.S. Equal Employment Opportunity Commission
(EEOC)
EEOC Oakland Local Office
1301 Clay Street
1170‐N                                                                     RS Legacy Corporation fka RadioShack
Oakland, CA 94612                                      5889      6/23/2015 Corporation                                                                     $12,475.00                                                                    $12,475.00




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                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                     Amount
STORY ROAD CENTER LLC
333 W EL CAMINO REAL STE 240                                      RS Legacy Corporation fka RadioShack
SUNNYVALE, CA 94087‐1969                      5890      6/23/2015 Corporation                                                $68,215.51                                                                                        $68,215.51
Quangvan, Vana
306 Nita Lane                                                     RS Legacy Corporation fka RadioShack
Euless, TX 76040                              5891      6/23/2015 Corporation                                                                                                                                 $0.00                 $0.00
ISLANDIA SC 1 LLC
C/O WESTERMAN BALL EDERER MILLER ZUCKER &
SHARFSTEIN, LLP
ATTN: THOMAS A DRAGHI, ESQ
1201 RXR PLAZA                                                    RS Legacy Corporation fka RadioShack
UNIONDALE, NY 11556                           5892      6/23/2015 Corporation                                                                                                                             $5,522.07             $5,522.07
Pasadena Independent School District
Law Office of Dexter D. Joyner
Attn: Dexter D. Joyner or C. Austin
4701 Preston Ave                                                  RS Legacy Corporation fka RadioShack
Pasadena , TX 77505                           5893      6/23/2015 Corporation                                                                                       $8,084.54                                                   $8,084.54
SOL‐TERRA PROPERTIES, LLC
John Matassa
11152 WESTHEIMER RD. #814                                         RS Legacy Corporation fka RadioShack
HOUSTON, TX 77042                             5894      6/23/2015 Corporation                                                                                                                                 $0.00                 $0.00
NORTHWESTERN WATER AND SEWER DISTRICT
Jerry Greiner ext. 194
12560 Middleton Pike                                              RS Legacy Corporation fka RadioShack
Bowling Green, OH 43402                       5895      6/23/2015 Corporation                                                    $260.90                                                                                          $260.90
GREENWOOD SANITATION
PO BOX 1206                                                       RS Legacy Corporation fka RadioShack
INDIANAPOLIS, IN 46206                        5896      6/23/2015 Corporation                                                     $35.09                                                                                           $35.09
SOL‐Terra Properties
John Matassa
1152 Westheimer Road
Suite 814                                                         RS Legacy Corporation fka RadioShack
Houston, TX 77042                             5897      6/23/2015 Corporation                                                $14,900.24                                                                                        $14,900.24
KDI Rivergate Mall, LLC
BROWN LAW, LLC
C/O HEATHER D. BROWN, ESQ.
2727 PACES FERRY ROAD, SUITE 1‐ 225                               RS Legacy Corporation fka RadioShack
ATLANTA, GA 30339                             5898      6/23/2015 Corporation                                                $20,982.15                                                                                        $20,982.15
Hayward, Pamela D
3425 Michelle Ridge                                               RS Legacy Corporation fka RadioShack
Fort Worth, TX 76123                          5899      6/23/2015 Corporation                                                                                                                                 $0.00                 $0.00
Erie County
Attn: Consumer Protection Agency
Pete Daniel, County Administrator
2900 Columbus Avenue                                              RS Legacy Corporation fka RadioShack
Sandusky, OH 44870                            5900      6/23/2015 Corporation                                                     $40.12                                                                                           $40.12
Hayward, Pamela D
3425 Michelle Ridge                                               RS Legacy Corporation fka RadioShack
Fort Worth, TX 76123                          5901      6/23/2015 Corporation                                                                         $0.00                                                                         $0.00
Martin, Zack
PO Box 441                                                        RS Legacy Corporation fka RadioShack
Lyle, WA 98635                                5902      6/23/2015 Corporation                                                     $25.00                                                                                           $25.00



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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
SOUTHLAND TERRACE SHOPPING CENTER LLC
John W. Harrison
Legal Counsel for Creditor
2244 Taylorsville Rd                                           RS Legacy Corporation fka RadioShack
LOUISVILLE, KY 40205                       5903      6/23/2015 Corporation                                                                                                                              $2,248.66             $2,248.66
SUNSET JOHNSON, LLC
JARED ENTERPRISES, INC.
2870‐A SOUTH INGRAM MILL ROAD                                  RS Legacy Corporation fka RadioShack
SPRINGFIELD, MO 65804                      5904      6/23/2015 Corporation                                                                                                                                  $0.00                 $0.00
Patzer, Gordon
5431 N. East River Road
Apt. 1217                                                      RS Legacy Corporation fka RadioShack
Chicago, IL 60656‐1032                     5905      6/23/2015 Corporation                                                      $57.34                                                                                           $57.34
Sansone Fenton Plaza, LLC
c/o Stuart Radloff, Attorney
13321 N. Outer 40 Road, Suite 800                              RS Legacy Corporation fka RadioShack
Town and Country, MO 63017                 5906      6/23/2015 Corporation                                                                                                                              $2,902.89             $2,902.89
Zylux Acoustic Corporation
Wyatt Briant (Officer of Zylux)
c/o Christopher A. Minier
Ringstad & Sanders, LLP                                        RS Legacy Global Sourcing Limited Partnership
2030 Main Street, Suite 1600                                   fka RadioShack Global Sourcing Limited
Irvine, CA 92614                           5907      6/22/2015 Partnership                                                                                                                $0.00                                   $0.00
CITY OF EDMOND
Stephen T. Murdock
24 E. First St.                                                RS Legacy Corporation fka RadioShack
Edmond, OK 73034                           5908      6/23/2015 Corporation                                                   $1,553.46                                                                                        $1,553.46
KEY CONNECTION LLC
Kevin Gerard, Member
20787 Sixth Avenue West                                        RS Legacy Corporation fka RadioShack
Cudjoe Key, FL 33043                       5909      6/23/2015 Corporation                                                $356,483.00                                                                                       $356,483.00
Boga, Nancy
5401 Palm Valley Dr. South                                     RS Legacy Corporation fka RadioShack
Harlingen, TX 78552                        5910      6/23/2015 Corporation                                                                        $32.46                                                                         $32.46
VALLEY ELECTRIC ASSOCIATION
Curt Ledford
800 E. Hwy 372                                                 RS Legacy Corporation fka RadioShack
Pahrump, NV 89048                          5911      6/23/2015 Corporation                                                     $381.30                                                                                          $381.30
Cross Country Plaza, LLC
c/o Heather D. Brown, Esq.
Brown Law, LLC
2727 Paces Ferry Road, Suite 1 ‐ 225                           RS Legacy Corporation fka RadioShack
Atlanta, GA 30339                          5912      6/23/2015 Corporation                                                 $43,377.00                                                                                        $43,377.00
GREEN KEEPERS
PO BOX 1575                                                    RS Legacy Corporation fka RadioShack
WOODLAND, CA 95776                         5913      6/23/2015 Corporation                                                   $2,396.90          $3,300.00                                                                     $5,696.90
City of Atlantic Beach
Attn: Donna L. Bartle, City Clerk
800 Seminole Road                                              RS Legacy Corporation fka RadioShack
Atlantic Beach, FL 32233                   5914      6/23/2015 Corporation                                                      $52.73                                                                                           $52.73




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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Wong, Tony K
9238 Gallatin Road                                             RS Legacy Corporation fka RadioShack
Pico Rivera, CA 90660                      5915      6/23/2015 Corporation                                                    $100.00                                                                                          $100.00
Dion, Michael J.
5456 Chatham Lake Dr.                                          RS Legacy Corporation fka RadioShack
VA Beach, VA 23464                         5916      6/23/2015 Corporation                                                     $35.28                                                                                           $35.28
Brandon, Willie L.
270 Via Contata                                                RS Legacy Corporation fka RadioShack
Henderson, NV 89074                        5917      6/23/2015 Corporation                                                                      $100.72                                                                        $100.72
Jones, Joan
3302 Corning St.                                               RS Legacy Corporation fka RadioShack
Newbury Pk., CA 91320                      5918      6/23/2015 Corporation                                                     $48.36                                                                                           $48.36
Larnerd, Walter
1310 Fairmont Ave                                              RS Legacy Corporation fka RadioShack
Fairmont, WV 26554                         5919      6/19/2015 Corporation                                                                                                                             $1,402.18             $1,402.18
RAMZAN, KHATIDJA
2497 132ND AVE SE                                              RS Legacy Corporation fka RadioShack
BELLEVUE, WA 98005                         5920      6/23/2015 Corporation                                                                         $0.00                                                                         $0.00
Westar Energy Inc
Attn: Bankruptcy Dept
PO Box 208                                                     RS Legacy Corporation fka RadioShack
Wichita, KS 67201‐0208                     5921      6/23/2015 Corporation                                                  $4,835.45                                                                                        $4,835.45
TOWN OF SMYRNA
PO BOX 307                                                     RS Legacy Corporation fka RadioShack
SMYRNA, DE 19977                           5922      6/23/2015 Corporation                                                  $1,222.77                                                                                        $1,222.77
TRANSITOWN PLAZA ASSOCIATES LLC
C/O GIAN PROPERTIES
4221 TRANSIT ROAD                                              RS Legacy Corporation fka RadioShack
WILLIAMSVILLE, NY 14221                    5923      6/23/2015 Corporation                                                  $1,779.39                                                                                        $1,779.39
CWPM LLC
PO BOX 415                                                     RS Legacy Corporation fka RadioShack
PLAINVILLE, CT 06062                       5924      6/23/2015 Corporation                                                    $202.04                                                    $0.00                                 $202.04
Commons Boulevard, LP
29 East Commons Boulevard
Suite 100                                                      RS Legacy Corporation fka RadioShack
New Castle, DE 19720                       5925      6/22/2015 Corporation                                                $33,937.66                                                                                        $33,937.66
CENTRE ON SEVENTEENTH PARTNERS
2222 E 17TH ST                                                 RS Legacy Corporation fka RadioShack
SANTA ANA, CA 92705                        5926      6/23/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
Soto Marrero, Ramona
c/o Talisman, Delorenz & Pinnisi PC
14 Wall Street, Suite 3D                                       RS Legacy Corporation fka RadioShack
New York, NY 10005                         5927      6/23/2015 Corporation                                                      $0.00                                                                                            $0.00
Gil, Narmin Aly
5909 Vineland Ave                                              RS Legacy Corporation fka RadioShack
North Hollywood, CA 91601                  5928      6/23/2015 Corporation                                                     $40.00                                                                                           $40.00
Perales, Armandina
1017 Pavillion Ct                                              RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                       5929      6/23/2015 Corporation                                                                         $0.00                                                                         $0.00




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                                                                                                                                  Amount                                                     Amount

Sansone Plaza on the Boulevard, LLC (Jennings, MO)
Stuart Radloff
13321 N. Outer 40 Road, #800                                               RS Legacy Corporation fka RadioShack
Town and Country, MO 63017                             5930      6/23/2015 Corporation                                                                                                                             $4,327.29             $4,327.29
LACLEDE GAS
PO BOX 2                                                                   RS Legacy Corporation fka RadioShack
SAINT LOUIS, MO 63171                                  5931      6/23/2015 Corporation                                                  $8,652.69                                                $3,262.21                              $11,914.90
Perales, Armandina
1017 Pavillion Ct
Fort Worth, TX 76102                                   5932      6/23/2015 TE Electronics LP                                                                   $0.00                                                                         $0.00

Consolidated Edison Company of New York, Inc.
Bankruptcy Group
4 Irving Place, Room 1875‐S                                                RS Legacy Corporation fka RadioShack
New York, NY 10003                                     5933      6/23/2015 Corporation                                               $255,101.30                                                                                       $255,101.30
Booth Mitchel Strange LLP
707 Wilshire BLVD STE 3000                                                 RS Legacy Corporation fka RadioShack
Los Angeles, CA 90017‐3565                             5934      6/23/2015 Corporation                                                $10,463.57                                                                                        $10,463.57
High Desert Partners, LLC
Margaret S. Hungate, Member
1701 First Avenue                                                          RS Legacy Corporation fka RadioShack
Evansville, IN 47710                                   5935      6/23/2015 Corporation                                                                                                                                 $0.00                 $0.00
Rodriguez, Ildefonso Velez
Po Box 4277                                                                RS Legacy Corporation fka RadioShack
Aguadilla, PR 00605                                    5936      6/23/2015 Corporation                                                      $0.00                                                                                            $0.00
PINPOINT FRAZER ASSOCIATES I LLC
236 ARROWHEAD LANE                                                         RS Legacy Corporation fka RadioShack
EIGHTY FOUR, PA 15330                                  5937      6/23/2015 Corporation                                                  $6,821.72                                                                                        $6,821.72
Dehring, Jonathan
24628 Jason Drive                                                          RS Legacy Corporation fka RadioShack
Brownstown Township, MI 48134                          5938      6/23/2015 Corporation                                                                       $47.16                                                                         $47.16
Tufano, Theodore
8 Marjorie Terr.                                                           RS Legacy Corporation fka RadioShack
Englewood Cliffs, NJ 07632‐3006                        5939      6/23/2015 Corporation                                                     $26.74                                                                                           $26.74
Daugherty, Delton
PO Box 270                                                                 RS Legacy Corporation fka RadioShack
Fort Davis, TX 79734                                   5940      6/24/2015 Corporation                                                                                          $21.64                                                      $21.64
BIAGINI PROPERTIES INC
333 W EL CAMINO REAL STE 240                                               RS Legacy Corporation fka RadioShack
SUNNYVALE, CA 94087                                    5941      6/23/2015 Corporation                                                $25,903.93                                                                                        $25,903.93
Jain, Jyoti
180 Kennedy Drive
Apt.# 309                                                                  RS Legacy Corporation fka RadioShack
Malden , MA 02148                                      5942      6/24/2015 Corporation                                                     $60.00                                                                                           $60.00
CHAMBERSBURG WASTE PAPER CO INC
PO BOX 975                                                                 RS Legacy Corporation fka RadioShack
CHAMBERSBURG, PA 17201                                 5943      6/23/2015 Corporation                                                  $1,784.01                                                                                        $1,784.01
Quangvan, Vana
306 Nita Lane                                                              RS Legacy Corporation fka RadioShack
Euless, TX 76040                                       5944      6/23/2015 Corporation                                                                         $0.00                                                                         $0.00




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                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
Johnson, Gwen
357 Inverness Ave                                                RS Legacy Corporation fka RadioShack
McDonough, GA 30253                          5945      6/23/2015 Corporation                                                                         $9.62                                                                         $9.62
Segeda, Elsa A
2807 Runnels st.                                                 RS Legacy Corporation fka RadioShack
Fort Worth, TX 76106                         5946      6/23/2015 Corporation                                                                         $0.00                                                                         $0.00
Norco Corona Associates
Ronald K. Brown, Jr., Esq.
LAW OFFICES OF RONALD K. BROWN, JR., APC
901 Dove Street, Suite 120                                       RS Legacy Corporation fka RadioShack
Newport Beach, CA 92660                      5947      6/23/2015 Corporation                                                      $0.00                                                                                            $0.00
SUNSET JOHNSON, LLC
JARED ENTERPRISES, INC.
2870‐A SOUTH INGRAM MILL ROAD                                    RS Legacy Corporation fka RadioShack
SPRINGFIELD, MO 65804                        5948      6/23/2015 Corporation                                                                                                                                 $0.00                 $0.00
National Management Systems
Mike Nepi, Owner
21719 Harper Ave                                                 RS Legacy Corporation fka RadioShack
St. Clair Shores, MI 48080                   5949      6/23/2015 Corporation                                                    $336.76                                                                                          $336.76
PULASKI COUNTY TREASURER
PO Box 430                                                       RS Legacy Corporation fka RadioShack
LITTLE ROCK, AR 72203                        5950      6/23/2015 Corporation                                                                     $4,290.21                                                                     $4,290.21
Khuu, Jeffrey
1938 44th ave                                                    RS Legacy Corporation fka RadioShack
San Francisco, CA 94116                      5951      6/24/2015 Corporation                                                                         $0.00                                 $0.00                                   $0.00
Bill's Discount Furniture, Inc.
WILLIAM C. PARDUE, JR., PRESIDENT
PO BOX 1549                                                      RS Legacy Corporation fka RadioShack
LEESVILLE, LA 71446                          5952      6/23/2015 Corporation                                                  $2,220.14                                                                                        $2,220.14
Broussard, Deborah V.
1513 E. Milton Ave.                                              RS Legacy Corporation fka RadioShack
Lafayette, LA 70508                          5953      6/23/2015 Corporation                                                                       $26.00                                                                         $26.00
Frascone, Rebecca
8828 Elk Grove Way
Unit 33‐201                                                      RS Legacy Corporation fka RadioShack
Las Vegas, NV 89117                          5954      6/24/2015 Corporation                                                      $0.00                                                                                            $0.00
King, Kathy
2727 Chesapeake Drive                                            RS Legacy Corporation fka RadioShack
Hueytown, AL 35023                           5955      6/23/2015 Corporation                                                                                                                                $87.99                $87.99
DEOL, HARLEEN
1700 VASCONCELLOS WAY                                            RS Legacy Corporation fka RadioShack
TURLOCK, CA 95382                            5956      6/23/2015 Corporation                                                     $32.28                                                                                           $32.28
Segeda, Elsa A
2807 Runnels st.                                                 RS Legacy Corporation fka RadioShack
Fort Worth, TX 76106                         5957      6/23/2015 Corporation                                                                                                                                 $0.00                 $0.00
TN DEPT OF TREASURY
c/o TN Atty General, Bankruptcy Div.
PO Box 20207                                                     RS Legacy Corporation fka RadioShack
Nashville, TN 37202‐0207                     5958      6/23/2015 Corporation                                                $57,578.43                                                                                        $57,578.43




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                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
Department of the Treasury ‐ Internal Revenue
Service                                                               RS Legacy Global Sourcing Limited Partnership
PO Box 7346                                                           fka RadioShack Global Sourcing Limited
Philadelphia, PA 19101‐7346                       5959      6/23/2015 Partnership                                                                                                                                                        $0.00
Deanna Hahn (Pamela Hahn‐mother)
PO Box 704                                                            RS Legacy Corporation fka RadioShack
Warren, PA 16365                                  5960      6/23/2015 Corporation                                                                                                              $100.00                                 $100.00
Gustafson, Robert M.
721 Surrey Lane                                                       RS Legacy Corporation fka RadioShack
Sleepy Hollow, IL 60118                           5961      6/23/2015 Corporation                                                      $56.94                                                                                           $56.94
University Mall Shopping Center, L.C.
c/o Woodbury Corporation
Chris Mancini
2733 East Parleys Way, Suite 300                                      RS Legacy Corporation fka RadioShack
Salt Lake City, UT 84109                          5962      6/23/2015 Corporation                                                                                                                              $3,716.72             $3,716.72
Mendoza, Karina
3103 Bismark St                                                       RS Legacy Corporation fka RadioShack
Laredo, TX 78043                                  5963      6/23/2015 Corporation                                                                          $0.00                                                                         $0.00
Shivtahal, Alan
6 Elsinore Avenue                                                     RS Legacy Corporation fka RadioShack
Glen Cove, NY 11542                               5964      6/24/2015 Corporation                                                      $69.52                                                                                           $69.52
STORY ROAD CENTER, LLC
Mary C. Egan
c/o Biagini Properties, Inc.
333 W. El Camino Real, Suite 240                                      RS Legacy Corporation fka RadioShack
SUNNYVALE, CA 94087                               5965      6/23/2015 Corporation                                                                                                                              $7,549.23             $7,549.23
Rio Grande Investment, LLC
c/o Heather D. Brown, Esq.
Brown Law, LLC
2727 Paces Ferry Road
Suite 1‐255                                                           RS Legacy Corporation fka RadioShack
Atlanta, GA 30339                                 5966      6/23/2015 Corporation                                                 $57,951.33                                                                                        $57,951.33
Torrence Holdings LLC
3730 W Devon                                                          RS Legacy Corporation fka RadioShack
Lincolnwood, IL 60712                             5967      6/23/2015 Corporation                                                                                                                                                        $0.00
O.V. Smith & Sons of Big Chimney, Inc.
James Smith
PO BOX 12150                                                          RS Legacy Corporation fka RadioShack
CHARLESTON, WV 25302                              5968      6/23/2015 Corporation                                                     $862.77                                                                      $0.00               $862.77
Murray, Cynthia
2321 Clearview Drive                                                  RS Legacy Corporation fka RadioShack
Fort Worth, TX 76119                              5969      6/23/2015 Corporation                                                                                                                                  $0.00                 $0.00
Tarrant County
Elizabeth Weller
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Freeway
Suite 1000                                                            RS Legacy Corporation fka RadioShack
Dallas, TX 75207                                  5970      6/23/2015 Corporation                                                                                      $994,130.77                                                 $994,130.77
Booth, Mitchel & Strange LLP
Daniel M. Crowley
707 Wilshire Blvd., Suite 3000                                        RS Legacy Corporation fka RadioShack
Los Angeles, CA 90017                             5971      6/23/2015 Corporation                                                   $1,972.58                                                                                        $1,972.58



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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Sellitto, Maureen
807 Sunflower Circle                                           RS Legacy Corporation fka RadioShack
Weston, FL 33327                           5972      6/24/2015 Corporation                                                     $15.89                                                                                           $15.89
Garcia, Mary
1029 42 E 34th St                                              RS Legacy Corporation fka RadioShack
Los Angeles, CA 90011                      5973      6/23/2015 Corporation                                                                      $108.99            $108.99                                                     $217.98
Bernardy, Yvonne B.
a.k.a. Bonnie Bernardy
1813 7 St. S.                                                  RS Legacy Corporation fka RadioShack
Fargo, ND 58103                            5974      6/23/2015 Corporation                                                      $0.00                                                                                            $0.00
Lance Tickyj
1071 Hrezent View Lane                                         RS Legacy Corporation fka RadioShack
Webster, NY 14580                          5975      6/23/2015 Corporation                                                     $58.00                                                                                           $58.00
KDI Atlanta Mall, LLC
c/o Heather D. Brown, Esq.
Brown Law, LLC
2727 Paces Ferry Road
Suite 1‐225                                                    RS Legacy Corporation fka RadioShack
Atlanta, GA 30339                          5976      6/23/2015 Corporation                                                $70,301.80                                                                                        $70,301.80
Irvin, Willie
PO Box 173                                                     RS Legacy Corporation fka RadioShack
San Pedro, CA 90733                        5977      6/23/2015 Corporation                                                     $23.96                                                                                           $23.96
CHARLES COUNTY MARYLAND
c/o Meyers, Rodbell & Rosenbaum, P.A.
6801 Kenilworth Avenue, Suite 400                              RS Legacy Corporation fka RadioShack
Riverdale, MD 20737‐1385                   5978      6/23/2015 Corporation                                                                                       $1,049.26                                                   $1,049.26
JAMES C. MACCHIA ROTH IRA
James C. Macchia
16W730 89th Place                                              RS Legacy Corporation fka RadioShack
Willowbrook, IL 60527                      5979      6/23/2015 Corporation                                                $30,000.00                                                                                        $30,000.00
Dirks, John
1025 Mastline Drive                                            RS Legacy Corporation fka RadioShack
Annapolis , MD 21401                       5980      6/24/2015 Corporation                                                     $28.31                                                                                           $28.31
Rotterdam Square Mall
Viaport New York LLC
93 W. Cambell Road                                             RS Legacy Corporation fka RadioShack
Schenectady, NY 12306                      5981      6/23/2015 Corporation                                                      $0.00                                                                                            $0.00
Sanchez, Giovanni Nieves
Levittown 6ta Seccion
EV‐2 Salvador Brau                                             RS Legacy Corporation fka RadioShack
Toa Baja, PR 00949                         5982      6/23/2015 Corporation                                                                                                                                 $0.00                 $0.00
City of Cambridge
Louie DePasquale
City of Cambridge, Finance Department
795 Massachusetts Avenue                                       RS Legacy Corporation fka RadioShack
CAMBRIDGE, MA 02139                        5983      6/23/2015 Corporation                                                                                                                                $70.00                $70.00
JIM Lou LLC
330 N 4th St Ste 300                                           RS Legacy Corporation fka RadioShack
St. Louis, MO 63102‐2008                   5984      6/23/2015 Corporation                                                  $2,955.81                                                                                        $2,955.81




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
KU PING Enterprise CO., LTD..
No. 5, Lane 302, Hsin Shuh Road
Hsin Chuang District
Taipei                                                         RS Legacy Corporation fka RadioShack
Taiwan                                     5985      6/23/2015 Corporation                                                      $0.00                                                                                            $0.00
RPI Bel Air Mall LLC (Rouse)
Susan Elman, Esq.
C/O Rouse Properties, Inc.
1114 Avenue of Americas, Suite 2800                            RS Legacy Corporation fka RadioShack
New York, NY 10036                         5986      6/22/2015 Corporation                                                                                                                             $5,270.84             $5,270.84
TN Dept of Treasury
C/O TN Atty General, Bankruptcy Div.
PO Box 20207                                                   RS Legacy Corporation fka RadioShack
Nashville, TN 37202‐0207                   5987      6/23/2015 Corporation                                                    $137.15                                                                                          $137.15
Kamealoha, Caezelle
86‐131 Hokuukali Street                                        RS Legacy Corporation fka RadioShack
Waianae, HI 96792                          5988      6/23/2015 Corporation                                                                                          $25.68                                                      $25.68
CITY OF NORWICH
100 BROADWAY                                                   RS Legacy Corporation fka RadioShack
NORWICH, CT 06360‐4431                     5989      6/23/2015 Corporation                                                  $1,492.63                                                                                        $1,492.63
Delaney, Mary
69 Delcasse ave., apt 400                                      RS Legacy Corporation fka RadioShack
San Juan, PR 00907                         5990      6/23/2015 Corporation                                                    $100.00                                                                                          $100.00
Kimberly Mcgee, Esq.
22 Courthouse Square                                           RS Legacy Corporation fka RadioShack
Norwich, CT 06360                          5991      6/23/2015 Corporation                                                                                                                                 $0.00                 $0.00
BANK OF THE WEST TRUSTEE
C/O BIAGINI PROPERTIES, INC.
333 W. EL CAMINO REAL, SUITE 240                               RS Legacy Corporation fka RadioShack
SUNNYVALE, CA 94087                        5992      6/23/2015 Corporation                                                      $0.00                                                                                            $0.00
KDI Athens Mall, LLC
Brown Law, LLC
C/O Heather D. Brown Esq.
2727 Paces Ferry Road
Suite 1‐225                                                    RS Legacy Corporation fka RadioShack
Atlanta, GA 30339                          5993      6/23/2015 Corporation                                                $81,735.22                                                                                        $81,735.22
UNS GAS INC
PO BOX 80078                                                   RS Legacy Corporation fka RadioShack
PRESCOTT, AZ 86304                         5994      6/23/2015 Corporation                                                    $734.87                                                                                          $734.87
GREER COMMISSION OF PUBLIC WORKS
PO BOX 160                                                     RS Legacy Corporation fka RadioShack
GREER, SC 29652                            5995      6/23/2015 Corporation                                                    $669.67                                                                                          $669.67
LYONS PLAZA LLC
C/O EASTMAN MANAGEMENT CORP
651 W MT PLEASANT AVE STE 110                                  RS Legacy Corporation fka RadioShack
LIVINGSTON, NJ 07039                       5996      6/23/2015 Corporation                                                  $3,162.20                                                                                        $3,162.20
PASSAIC VALLEY WATER COMMISSION
George T. Hanley ‐ Legal
1525 Main Avenue                                               RS Legacy Corporation fka RadioShack
Clifton, NJ 07011                          5997      6/23/2015 Corporation                                                    $115.26                                $0.00                                                     $115.26




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Jones, Joseph Lee
PO Box 5991                                                    RS Legacy Corporation fka RadioShack
Topeka , KS 66605‐5991                     5998      6/23/2015 Corporation                                                      $0.00                                                                                            $0.00
KU PING ENTERPRISE CO., LTD.
No.5, Lane 302, Hsin Shuh Road
Hsin Chuang City
New Taipei City                                                RS Legacy Corporation fka RadioShack
Taiwan                                     5999      6/23/2015 Corporation                                                $58,525.35                                                $42,837.51                             $101,362.86
Arocho, Karina Martinez
PO Box 1833                                                    RS Legacy Corporation fka RadioShack
San Sebastian, PR 00685                    6000      6/23/2015 Corporation                                                                                                                                 $0.00                 $0.00
Home Depot Plaza Associates, Ltd.
Brown Law LLC
C/O Heather D. Brown, Esq.
2727 Paces Ferry Road
Suite 1‐225                                                    RS Legacy Corporation fka RadioShack
Atlanta, GA 30339                          6001      6/23/2015 Corporation                                                $34,224.27                                                                                        $34,224.27
Treasurer of Harrison County
245 Atwood St. Ste 213                                         RS Legacy Corporation fka RadioShack
Corydon, IN 47112‐0000                     6002      6/23/2015 Corporation                                                                         $0.00                                                                         $0.00
City of Cambridge
Office of the City Solicitor
c/o Paul S. Kawai
795 Massachusetts Avenue                                       RS Legacy Corporation fka RadioShack
Cambridge, MA 02139                        6003      6/23/2015 Corporation                                                                      $384.14                                                                        $384.14
Florida Land Trust No. V‐1
c/o Heather D. Brown, Esq.
Brown Law, LLC
2727 Paces Ferry Road, Suite 1 ‐ 255                           RS Legacy Corporation fka RadioShack
Atlanta, GA 30339                          6004      6/23/2015 Corporation                                                $40,187.85                                                                                        $40,187.85
Makaj, Antoneta
206 Willow Drive                                               RS Legacy Corporation fka RadioShack
Briarcliff Manor, NY 10510                 6005      6/24/2015 Corporation                                                     $31.68                                                                                           $31.68
Demarco, Noel
94.510 Lumiaina St. N202                                       RS Legacy Corporation fka RadioShack
Waipalm, HI 96797                          6006      6/23/2015 Corporation                                                    $102.47                                                                                          $102.47
KDI Panama Mall, LLC
c/o Heather D. Brown, Esq.
Brown Law, LLC
2727 Paces Ferry Road, Suite 1 ‐ 225                           RS Legacy Corporation fka RadioShack
Atlanta, GA 30339                          6007      6/23/2015 Corporation                                                $35,052.60                                                                                        $35,052.60
Biagini Properties, Inc.
Mary C. Egan
333 W. El Camino Real, Ste 240                                 RS Legacy Corporation fka RadioShack
Sunnyvale, CA 94087                        6008      6/23/2015 Corporation                                                                                                                             $6,793.69             $6,793.69
Sierra Vista Mall LLC
c/o Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
101 Park Avenue                                                RS Legacy Corporation fka RadioShack
New York, NY 10178                         6009      6/22/2015 Corporation                                                  $2,148.37                                                                                        $2,148.37




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                                                                                                                                 Current General                                            Current 503(b)(9)
                                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                   Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                     Amount                                                     Amount
RPI CHESTERFIELD LLC
C/O ROUSE PROPERTIES, INC
SUSAN ELMAN, ESQ.
1114 AVENUE OF AMERICAS
SUITE 2800                                                                    RS Legacy Corporation fka RadioShack
NEW YORK, NY 10036                                        6010      6/22/2015 Corporation                                                                                                                             $8,216.61             $8,216.61
State of Arizona ex rel. Arizona Department of
Weights and Measures
Arizona Attorney General
Matthew A. Silverman
1275 West Washington Street                                                   RS Legacy Corporation fka RadioShack
Phoenix, AZ 85007‐2926                                    6011      6/23/2015 Corporation                                                      $0.00                                                                                            $0.00
RPI Chesterfield LLC (Rouse)
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
10 Park Avenue                                                                RS Legacy Corporation fka RadioShack
New York, NY 10178                                        6012      6/22/2015 Corporation                                               $234,146.63                                                                                       $234,146.63
US Regency Retail I, LLC
c/o Regency Centers, LP
ATTN: Ernst Bell, Esq.
1 Independent Drive                                                           RS Legacy Corporation fka RadioShack
Jacksonville, FL 32202                                    6013      6/22/2015 Corporation                                                $44,266.69                                                                   $4,400.41            $48,667.10
MYRTLE BEACH MALL, LLC
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
101 Park Avenue                                                               RS Legacy Corporation fka RadioShack
New York, NY 10178                                        6014      6/22/2015 Corporation                                                $37,374.18                                                                                        $37,374.18
Sunset Mall SPE, L.P.
Kelley Drye & Warren LLP
Gilbert R. Saydan Jr.
101 Park Avenue                                                               RS Legacy Corporation fka RadioShack
New York, NY 10178                                        6015      6/22/2015 Corporation                                                                                                                             $5,136.72             $5,136.72
BDG Gotham Plaza, LLC
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
101 Park Avenue                                                               RS Legacy Corporation fka RadioShack
New York, NY 10178                                        6016      6/22/2015 Corporation                                               $213,355.14                                                                                       $213,355.14
Freehold Shopping LLC
Kelley Drye & Warren LLP
Attn: Robert L. Lehane, Esq.
101 Park Avenue                                                               RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                                        6017      6/22/2015 Corporation                                                $10,446.40                                                                                        $10,446.40
Gibraltar Management Co. Inc., in its capacity as the
authorized agent for GBR Spencerport Limited
Liability Company
c/o Gibraltar Management Co. Inc.
Ronald S. Friedman, Executive Vice President
150 White Plains Road, Suite 400                                              RS Legacy Corporation fka RadioShack
Tarrytown, NY 10591                                       6018      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00




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                                                                                                                                 Current General                                            Current 503(b)(9)
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            Creditor Name and Address                   Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                     Amount                                                     Amount
USPG Portfolio Five, LLC
Christine G. Benintend, Authorized Rep.
3665 Fishinger Boulevard                                                      RS Legacy Corporation fka RadioShack
Hilliard, OH 43026                                        6019      6/22/2015 Corporation                                                                                                                             $1,263.62             $1,263.62
FW CA‐Granada Village, LLC
REGENCY CENTERS, LP
ATTN: ERNST BELL, ESQ.
1 INDEPENDENT DRIVE                                                           RS Legacy Corporation fka RadioShack
JACKSONVILLE, FL 32202                                    6020      6/22/2015 Corporation                                                      $0.00                                                                      $0.00                 $0.00
Crespo Cervantes, Yadimer E
RR 2
Box 3139                                                                      RS Legacy Corporation fka RadioShack
Anasco, PR 00610                                          6021      6/23/2015 Corporation                                                                         $0.00                                                                         $0.00
Stailey, Angela F.
9928 Lone Eagle Dr.                                                           RS Legacy Corporation fka RadioShack
Fort Worth, TX 76108                                      6022      6/23/2015 Corporation                                                                         $0.00                                                                         $0.00
Atlantic Retail Ventures, Inc.
Lake Square Mall Realty Management, LLC
10401 US HWY 441
Suite 336A                                                                    RS Legacy Corporation fka RadioShack
Leesburg, FL 34788                                        6023      6/22/2015 Corporation                                                $58,096.76                                                                       $0.00            $58,096.76
MP Falls Plaza, LLC
Attn: Diana Marrone, Vice President
419 West 49th Street, Suite 300                                               RS Legacy Corporation fka RadioShack
Hialeah, FL 33012                                         6024      6/22/2015 Corporation                                                $23,229.36                                                                                        $23,229.36
Gibraltar Management Co. Inc., in its capacity as the
authorized agent for GBR Middlesex Limited
Liability Company
Ronald S. Friedman, Executive Vice President
150 White Plains Road, Suite 400                                              RS Legacy Corporation fka RadioShack
Tarrytown, NY 10591                                       6025      6/22/2015 Corporation                                                                                                                             $9,551.97             $9,551.97
Moslehi, Hassan
1544 Placentia Ave #24                                                        RS Legacy Corporation fka RadioShack
Newport Beach, CA 92663                                   6026      6/23/2015 Corporation                                                     $76.39                                                                                           $76.39
MP FALLS PLAZA
Diana Marrone
419 West 49th Street, Suite 300                                               RS Legacy Corporation fka RadioShack
Hialeah, FL 33012                                         6027      6/22/2015 Corporation                                                                                                                             $2,232.64             $2,232.64
City of STURGIS
Attn: Michael Hughes, City Manager
130 N. Nottawa                                                                RS Legacy Corporation fka RadioShack
Sturgis, MI 49091                                         6028      6/23/2015 Corporation                                                                                       $1,182.10                                                   $1,182.10
Martes Ortega, Yarely
4515 Calle Zaragoza                                                           RS Legacy Corporation fka RadioShack
Isabela, PR 00662                                         6029      6/22/2015 Corporation                                                                         $0.00                                                                         $0.00
PPR Cascade LLC Cascade Mall (203270‐02171)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                            RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                                6030      6/22/2015 Corporation                                                                                                                             $1,729.68             $1,729.68




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                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
Maldonado, Otilio Ramirez
PO Box 140674                                                            RS Legacy Corporation fka RadioShack
Arecibo, PR 00614                                    6031      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
JG Randolph II, LLC, by CBL & Associates
Management agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                                RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                6032      6/19/2015 Corporation                                                                                                                             $1,275.60             $1,275.60
MALL ST. VINCENT, LLC
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
101 Park Avenue                                                          RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                                   6033      6/22/2015 Corporation                                                $39,044.59                                                                                        $39,044.59
Palm Springs Mile Associates, Ltd.
By Palm Springs Mile GP LLC, General Partner
Attn: Diana Marrone, Vice President
419 West 49th Street, Suite 300                                          RS Legacy Corporation fka RadioShack
Hialeah, FL 33012                                    6034      6/22/2015 Corporation                                                $71,235.77                                                                                        $71,235.77
Custom Engineering, Inc.
Attn: Debra L. Padget
990 S. Huron Rd.
PO BOX 367                                                               RS Legacy Corporation fka RadioShack
Linwood, MI 48634                                    6035      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
RPI Salisbury Mall, LLC (Rouse)
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
101 Park Avenue                                                          RS Legacy Corporation fka RadioShack
New York, NY 10178                                   6036      6/22/2015 Corporation                                                  $2,033.81                                                                                        $2,033.81
Cantor Fitzgerald Securities, as Agent and the
Claimants identified on the attached hereto
James Bond
110 East 59th Street                                                     RS Legacy Finance Corporation fka Tandy Finance
New York, NY 10022                                   6037      6/19/2015 Corporation                                                                                           $0.00                                 $0.00                 $0.00
Midland Mall, LLC, by CBL & Associates
Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
2330 Hamilton Place Blvd.                                                RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                6038      6/19/2015 Corporation                                                                                                                               $653.79               $653.79

Racine Joint Venture II, LLC bY CBL & Associates
Management, Inc., managing agent
Gary Roddy, Vice President ‐ Collections
CBL & Associates Management, Inc.
2330 Hamilton Place Blvd.                                                RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                                6039      6/19/2015 Corporation                                                                                                                             $3,286.34             $3,286.34
Cantor Fitzgerald Securities, as Agent and the
Claimants identified on the attached hereto
James Bond
110 East 59th Street
New York, NY 10022                                   6040      6/19/2015 Trade and Save LLC                                                                                    $0.00                                 $0.00                 $0.00




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            Creditor Name and Address             Claim No.   Claim Date                    Debtor                         Unsecured Claim                                            Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                    Amount

Jim R. Smith and Company
c/o Karen E. Murray, Esq. ‐ Craddock Massey LLP
Wendy S. Lewis, CFO
1400 Post Oak Blvd., Suite 650                                          RS Legacy Corporation fka RadioShack
Houston, TX 77056                                   6041      6/19/2015 Corporation                                                                                                                                $0.00                 $0.00
Leasehold, Inc.
Dennis J. Conry, Pres. of Leasehold, Inc.
245 Main Street                                                         RS Legacy Corporation fka RadioShack
Wareham, MA 02571                                   6042      6/19/2015 Corporation                                                                                                                                $0.00                 $0.00
OAKDALE MALL II L.L.C.
C/O URBAN EDGE PROPERTIES
Attn: Mei Cheng
210 ROUTE 4 EAST                                                        RS Legacy Corporation fka RadioShack
PARAMUS, NJ 07652                                   6043      6/19/2015 Corporation                                               $124,513.21                                                                                      $124,513.21
Parkchester Preservation Company, L.P.
c/o Michael S. Tucker, Esq.
ULMER & BERNE LLP
1660 West 2nd Street, Suite 1100                                        RS Legacy Corporation fka RadioShack
Cleveland, OH 44113‐1448                            6044      6/19/2015 Corporation                                                $26,155.58                                                                                       $26,155.58
CATALYST CCT LLC
1901 Avenue Of The Stars
Suite 820                                                               RS Legacy Corporation fka RadioShack
LOS ANGELES, CA 90067                               6045      6/19/2015 Corporation                                                                                                                            $1,156.95             $1,156.95
Pierce Building Associates LP
Rosemary A. Macero
92 High St TZA                                                          RS Legacy Corporation fka RadioShack
Medford, MA 02155                                   6046      6/19/2015 Corporation                                                                                                                                $0.00                 $0.00
UE MONTEHIEDRA ACQUISITION LP
c/o Urban Edge Properties
Attn: Mei Cheng
210 ROUTE 4 EAST                                                        RS Legacy Corporation fka RadioShack
PARAMUS, NJ 07652                                   6047      6/19/2015 Corporation                                               $196,417.97                                                                                      $196,417.97
Apple Inc.
c/o Cornelius Mahon
1 Infinite Loop
MS: 318‐5CR                                                             RS Legacy Corporation fka RadioShack
Cupertino, CA 95014                                 6048      6/19/2015 Corporation                                                                                                                                $0.00                 $0.00
DC USA Operating Co., LLC, a New York limited
liability company
c/o Grid Properties, Inc.,
Attn: Steven A. Sterneck
2309 Frederick Douglass Blvd.,                                          RS Legacy Corporation fka RadioShack
New York, NY 10027                                  6049      6/19/2015 Corporation                                                $25,372.48                                                                      $0.00            $25,372.48
SOUTH PLAZA CENTER ASSOCIATES, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                               RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                  6050      6/19/2015 Corporation                                                                                                                            $4,166.35             $4,166.35




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            Creditor Name and Address               Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
EATONTOWN MONMOUTH MALL LLC
Stephen Theriot, CFO
c/o Urban Edge Propertie
210 Route 4 East                                                          RS Legacy Corporation fka RadioShack
Paramus, NJ 07652                                     6051      6/19/2015 Corporation                                                                                                                             $6,907.54             $6,907.54

UE Montehiedra Acquisition LP, formerly known as
Vornado Montehiedra Acquisition LP
c/o Urban Edge Properties
210 Route 4 East                                                          RS Legacy Corporation fka RadioShack
Paramus, NJ 07652                                     6052      6/19/2015 Corporation                                                                                                                            $12,594.75            $12,594.75
The Stop & Shop Supermarket Company LLC
John C. La Liberte, Esq.
Sherin and Lodgen LLP
101 Federal Street                                                        RS Legacy Corporation fka RadioShack
Boston, MA 02110                                      6053      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
Leasehold, Inc.
Dennis J. Conry, Pres. of Leasehold, Inc.
245 Main Street                                                           RS Legacy Corporation fka RadioShack
Wareham, MA 02571                                     6054      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
Fresno County Tax Collector
PO Box 1192                                                               RS Legacy Corporation fka RadioShack
Fresno, CA 93715‐1192                                 6055      6/24/2015 Corporation                                                                                           $0.00                                                       $0.00
Austintown Plaza, Ltd.
Michael S. Tucker, Attorney for Austintown Plaza,
Ltd.
Ulmer & Berne LLP
1660 West 2nd Street, Suite 1100                                          RS Legacy Corporation fka RadioShack
Cleveland, OH 44113‐1448                              6056      6/19/2015 Corporation                                                                                                                             $1,903.00             $1,903.00
Westford Valley Marketplace, Inc.
c/o John C. La Liberte
Sherin and Lodgen LLP
101 Federal Street                                                        RS Legacy Corporation fka RadioShack
Boston , MA 02110                                     6057      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
Ravid Knoxville, LLC
c/o Meir
675 3rd Avenue, Suite 2400                                                RS Legacy Corporation fka RadioShack
New York, NY 10017                                    6058      6/19/2015 Corporation                                                $33,266.13                                                                                        $33,266.13
SHAW MEDIA
PO BOX 250                                                                RS Legacy Corporation fka RadioShack
CRYSTAL LAKE, IL 60039‐0250                           6059      6/23/2015 Corporation                                                  $3,212.18                                                                                        $3,212.18
Ocoee Equities LLC
C/O Falcon Development
5728 Major Blvd., Suite 505                                               RS Legacy Corporation fka RadioShack
Orlando, FL 32819                                     6060      6/24/2015 Corporation                                                  $3,343.83                                                                                        $3,343.83
1204 Corporation
c/o GOLDBERG, KAMIN & GARVIN, LLP
Robert J. Garvin, Esquire
1806 Frick Building
437 Grant Street                                                          RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15219‐6101                             6061      6/19/2015 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address           Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
SCREIBER CO BELLEVIEW ASSOC LTD
PO BOX 534273                                                         RS Legacy Corporation fka RadioShack
PITTSBURGH, PA 15253‐4273                         6062      6/19/2015 Corporation                                                $36,930.00                                                                                        $36,930.00
EATONTOWN MONMOUTH MALL, LLC
c/o Urban Edge Properties
210 ROUTE 4 EAST                                                      RS Legacy Corporation fka RadioShack
PARAMUS, NJ 07652                                 6063      6/19/2015 Corporation                                               $306,624.11                                                                                       $306,624.11
CITY TREASURER
PO BOX 2997                                                           RS Legacy Corporation fka RadioShack
MADISON, WI 53701                                 6064      6/24/2015 Corporation                                                    $119.70                                                                                          $119.70
AIRCO MECHANICAL LTD
9200 Waterford Centre Blvd, Suite 600                                 RS Legacy Corporation fka RadioShack
Austin, TX 78758                                  6065      6/23/2015 Corporation                                                    $688.48                                                    $0.00                                 $688.48
Zumut, Mona
PO Box 5095                                                           RS Legacy Corporation fka RadioShack
Concord, CA 94524                                 6066      6/24/2015 Corporation                                                    $673.00                                                                                          $673.00
Owatonna Properties LLC
4590 Scott Trail #103                                                 RS Legacy Corporation fka RadioShack
Eagan, MN 55122                                   6067      6/24/2015 Corporation                                                    $516.63                                                                                          $516.63
6507 Bardstown Road, LLC, A Kentucky Building
Liability Company
Blacketer Co.
225 S Hurstbourne Lane, Ste. 103                                      RS Legacy Corporation fka RadioShack
Louisville, KY 40222                              6068      6/24/2015 Corporation                                                  $6,646.87                                $0.00                                                   $6,646.87
Acevedo, Luis J
Apt 1724                                                              RS Legacy Corporation fka RadioShack
Aguada, PR 00602                                  6069      6/24/2015 Corporation                                                                         $0.00                                                                         $0.00
Shifman, Kay
701 Montgomery Ave                                                    RS Legacy Customer Service LLC fka RadioShack
Cumberland, MD 21502                              6070      6/24/2015 Customer Service LLC                                            $42.00                                                                                           $42.00
Traister, Joyce E
749 Mahoning Rd                                                       RS Legacy Corporation fka RadioShack
Templeton, PA 16259                               6071      6/24/2015 Corporation                                                                       $25.00              $0.00                                                      $25.00
DC USA Operating Co., LLC
c/o Grid Properties, Inc.
Attn: Steven A. Sterneck
2309 Frederick Douglass Blvd.                                         RS Legacy Corporation fka RadioShack
NEW YORK, NY 10027                                6072      6/19/2015 Corporation                                                                                                                            $21,414.21            $21,414.21
1204 Corporation
c/o GOLDBERG, KAMIN & GARVIN, LLP
Robert J. Garvin, Esquire
1806 Frick Building
437 Grant Street                                                      RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15219‐6101                         6073      6/19/2015 Corporation                                                                                                                                 $0.00                 $0.00
STATE BOARD OF EQUALIZATION
J. R. Williams
SPECIAL OPERATIONS BRANCH, MIC:55
PO BOX 942879                                                         RS Legacy Corporation fka RadioShack
SACRAMENTO, CA 94279‐0055                         6074      6/24/2015 Corporation                                                                                                                                 $0.00                 $0.00
Gobbo, Ernest
733 Valley Ave.                                                       RS Legacy Corporation fka RadioShack
Hammonton, NJ 08037                               6075      6/24/2015 Corporation                                                    $192.59                                                                                          $192.59



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                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Claim Docketed In Error                                                  RS Legacy Corporation fka RadioShack
                                                      6076      6/8/2015 Corporation                                                                                                                                                        $0.00

Urban Edge Caguas L.P.
c/o Urban Edge Properties (FKA Vornado Caguas LP)
Attn.: Mei Chang
210 Route 4 East                                                          RS Legacy Corporation fka RadioShack
Paramus, NJ 07652                                     6077      6/19/2015 Corporation                                               $303,193.43                                                                                       $303,193.43
Swanson, Rochelle
4004 232nd Ave. S.E.                                                      RS Legacy Corporation fka RadioShack
Sammamish, WA 98075                                   6078      6/24/2015 Corporation                                                     $43.79                                                                                           $43.79
NIDDRIE FISH & ADDAMS LLP
Michael H. Fish
600 W BROADWAY STE 1200                                                   RS Legacy Corporation fka RadioShack
SAN DIEGO, CA 92101‐3314                              6079      6/24/2015 Corporation                                                $11,269.00                                                                                        $11,269.00
Almase, Armando
PO Box 27                                                                 RS Legacy Corporation fka RadioShack
Weston, WV 26452                                      6080      6/24/2015 Corporation                                                     $21.19                                                                                           $21.19
COFFEE COUNTY
REVENUE COMMISSIONER
PO BOX 311606                                                             RS Legacy Corporation fka RadioShack
ENTERPRISE, AL 36331                                  6081      6/24/2015 Corporation                                                                      $163.56              $0.00                                                     $163.56
Morin, Judy & Bill
4408 Bluebird Dr                                                          RS Legacy Corporation fka RadioShack
Midland, MI 48640                                     6082      6/24/2015 Corporation                                                    $150.00                                                                                          $150.00
Abbott, Carlene C.
25800 Amherst Road                                                        RS Legacy Corporation fka RadioShack
Amherst, NE 68812                                     6083      6/24/2015 Corporation                                                      $0.00                                                                                            $0.00
Bustillos, Juanita A.
922 E. Peach Street
Fort Worth, TX 76102                                  6084      6/24/2015 TE Electronics LP                                                                   $0.00                                                                         $0.00
Star‐West Louis Joliet, LLC.
Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                        RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                            6085      6/20/2015 Corporation                                                                                                                             $3,252.14             $3,252.14
Bustillos, Juanita A.
922 E. Peach Street                                                       RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                                  6086      6/24/2015 Corporation                                                                         $0.00                                                                         $0.00
PROVO CITY UTILITIES
351 WEST CENTER STREET
PO BOX 1849                                                               RS Legacy Corporation fka RadioShack
PROVO, UT 84603‐1849                                  6087      6/24/2015 Corporation                                                    $634.95                                                                                          $634.95
Abbott, Carlene C.
25800 Amherst Road                                                        RS Legacy Corporation fka RadioShack
Amherst, NE 68812                                     6088      6/24/2015 Corporation                                                                                                                                 $0.00                 $0.00
Lavicka, Christina
3025 N. Rankin St                                                         RS Legacy Corporation fka RadioShack
Appleton, WI 54911                                    6089      6/24/2015 Corporation                                                     $32.98                                                                                           $32.98
Acevedo, Luis J
Apt 1724                                                                  RS Legacy Corporation fka RadioShack
Aguada, PR 00602                                      6090      6/24/2015 Corporation                                                                                                                                 $0.00                 $0.00



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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Hill Ware, Bettie D
6700 Ridgecrest Court                                          RS Legacy Corporation fka RadioShack
Fort Worth, TX 76133                       6091      6/24/2015 Corporation                                                                         $0.00                                                                         $0.00
Rivera Tirado, Omar
PO Box 1179                                                    RS Legacy Corporation fka RadioShack
Patillas, PR 00723                         6092      6/24/2015 Corporation                                                                                                                                 $0.00                 $0.00
LAMONT STRIP MALL II LLC
LAMONT COMPANIES
205 6TH AVE SE STE 300                                         RS Legacy Corporation fka RadioShack
ABERDEEN, SD 57401                         6093      6/24/2015 Corporation                                                      $0.00                                $0.00                                                       $0.00
CHARLIE'S PLUMBING
1309 PENNSYLVANIA AVENUE                                       RS Legacy Corporation fka RadioShack
SOUTH HOUSTON, TX 77587                    6094      6/24/2015 Corporation                                                  $1,265.80                                                    $0.00                               $1,265.80
Securitas Security Services USA, Inc.
2 Campus Dr                                                    RS Legacy Corporation fka RadioShack
Parsippany, NJ 07950                       6095      6/24/2015 Corporation                                                  $1,531.71                                                                                        $1,531.71
Khatchadourian, Victor
16 Fieldcrest Drive                                            RS Legacy Corporation fka RadioShack
Westampton, NJ 08060                       6096      6/24/2015 Corporation                                                     $50.00                                                                                           $50.00
WATERTOWN RETAIL GROUP LLC
LAMONT COMPANIES
205 6TH AVE SE STE 300                                         RS Legacy Corporation fka RadioShack
ABERDEEN, SD 57401                         6097      6/24/2015 Corporation                                                      $0.00                                $0.00                                                       $0.00
R P & A LLC
1125 WESTVIEW DR                                               RS Legacy Corporation fka RadioShack
NAPA, CA 94558‐4200                        6098      6/24/2015 Corporation                                                  $9,972.92                                                                                        $9,972.92
Rivera, Omar A
PO Box 1179                                                    RS Legacy Corporation fka RadioShack
Patillas, PR 00723                         6099      6/24/2015 Corporation                                                                         $0.00                                                                         $0.00
City of Turlock
Attn: Kellie E. Weaver, City Clerk
156 S. Broadway, Ste. 240                                      RS Legacy Corporation fka RadioShack
Turlock, CA 95380‐5454                     6100      6/24/2015 Corporation                                                    $315.00                                                                                          $315.00
KALANTARI , ROBERT
2844 EAST 42ND COURT                                           RS Legacy Corporation fka RadioShack
DAVENPORT, IA 52807                        6101      6/24/2015 Corporation                                                    $358.69                                                    $0.00         $5,755.36             $6,114.05
Cline, Dan
2915 N. Southport Avenue #1F                                   RS Legacy Corporation fka RadioShack
Chicago, IL 60657                          6102      6/24/2015 Corporation                                                                       $50.00                                  $0.00                                  $50.00
KEYS CONNECTION LLC
Kevin Gerard
255 Key Deer Blvd                                              RS Legacy Corporation fka RadioShack
Big Pine Key, FL 33043                     6103      6/23/2015 Corporation                                                                                                                                 $0.00                 $0.00
Torres, Jamie Ignacio
10233 Gainsborough Road                                        RS Legacy Corporation fka RadioShack
Potomac, MD 20854                          6104      6/24/2015 Corporation                                                      $0.00                                                                                            $0.00
White, Virginia
25 Five Mile River Rd.                                         RS Legacy Corporation fka RadioShack
Darien, CT 06820                           6105      6/24/2015 Corporation                                                     $53.16                                                                                           $53.16
De La Garza, Monica
12318 Cedarspur                                                RS Legacy Corporation fka RadioShack
Austin, TX 78754                           6106      6/24/2015 Corporation                                                    $102.82              $0.00             $0.00               $0.00                                 $102.82



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            Creditor Name and Address     Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Goulooms, Arpy
1125 Westview Dr                                                RS Legacy Corporation fka RadioShack
Napa, CA 94558                              6107      6/24/2015 Corporation                                                                                                                                 $0.00                 $0.00
LINCOLN ELECTRIC SYSTEM
RIchard Grabow
1040 O. Street                                                  RS Legacy Corporation fka RadioShack
Lincoln, NE 68501                           6108      6/24/2015 Corporation                                                  $1,751.19                                                                                        $1,751.19
Rolek, Janet
316 Campbell Ln                                                 RS Legacy Corporation fka RadioShack
Costa Mesa, CA 92627                        6109      6/24/2015 Corporation                                                      $0.00                                                                                            $0.00
Gordiy, Yelena
5235 Karm Way                                                   RS Legacy Corporation fka RadioShack
Sacramento, CA 95842                        6110      6/23/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
Lopez Bonilla, Etzia
PO Box 1549                                                     RS Legacy Corporation fka RadioShack
Aguada, PR 00602                            6111      6/24/2015 Corporation                                                      $0.00                                                                                            $0.00
Gough, Christopher M
100 Luna Park Dr. #243                                          RS Legacy Corporation fka RadioShack
Alexandria, VA 22305                        6112      6/24/2015 Corporation                                                     $11.80                                                                                           $11.80
IMAGETEK OFFICE SYSTEMS
220 WESTWAY PL STE 150                                          RS Legacy Corporation fka RadioShack
ARLINGTON, TX 76018‐5673                    6113      6/24/2015 Corporation                                                $27,438.36                                                                                        $27,438.36
Shivtahal, Alan
6 Elsinore Avenue                                               RS Legacy Corporation fka RadioShack
Glen Cove, NY 11542                         6114      6/24/2015 Corporation                                                                                                              $69.52                                  $69.52
Tarrant County
Elizabeth Weller
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Freeway
Suite 1000
Dallas, TX 75207                            6115      6/24/2015 TE Electronics LP                                                                                $49,348.64                                                  $49,348.64
Rancho Cordova Property Holdco, LLC
Ronald K. Brown, Jr., Esq.
Law Offices of Ronald K Brown, Jr., APC
901 Dove Street, Suite 120                                      RS Legacy Corporation fka RadioShack
Newport Beach, CA 92660                     6116      6/24/2015 Corporation                                                $34,945.37                                                                                        $34,945.37
State of New Jersey
Department of Treasury
Division of Taxation
Valerie Walachy
PO Box 245                                                      RS Legacy Corporation fka RadioShack
Trenton, NJ 08695‐0245                      6117      6/24/2015 Corporation                                                      $0.00                                                                                            $0.00
Savage, William
362 Laurel Park Place                                           RS Legacy Corporation fka RadioShack
Hendersonville, NC 28791                    6118      6/24/2015 Corporation                                                                      $106.74                                                                        $106.74
SPRINGLAND ASSOCIATES LLC
ATTN DEHLER HART
951 MARKET STREET SUITE 204                                     RS Legacy Corporation fka RadioShack
FORT MILL, SC 29708                         6119      6/24/2015 Corporation                                                $10,523.39                                                                                        $10,523.39
Lobb, Kimberly
422 N Lehigh Ave                                                RS Legacy Corporation fka RadioShack
Wind Gap, PA 18091                          6120      6/24/2015 Corporation                                                     $10.60                                                                                           $10.60



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                                                                                                                               Current General                                            Current 503(b)(9)
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                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
Hill Ware, Bettie D
6700 Ridgecrest Court                                                       RS Legacy Corporation fka RadioShack
Fort Worth, TX 76133                                    6121      6/24/2015 Corporation                                                                                                                                 $0.00                 $0.00
Claim Docketed In Error                                                     RS Legacy Corporation fka RadioShack
                                                        6122      6/8/2015 Corporation                                                                                                                                                        $0.00
East Bay Municipal Utility
Alexander R. Coate
375 11th Street                                                             RS Legacy Corporation fka RadioShack
Oakland, CA 94607                                       6123      6/24/2015 Corporation                                                    $669.29                                                                                          $669.29
Szymanski, Traci
11531 Duque Dr.                                                             RS Legacy Corporation fka RadioShack
Studio City, CA 91604                                   6124      6/24/2015 Corporation                                                    $108.24                                                                                          $108.24
Taylor, Shannon
9209 N 143rd E Ave                                                          RS Legacy Corporation fka RadioShack
Owasso, OK 74055                                        6125      6/25/2015 Corporation                                                                       $43.50                                                                         $43.50
Cohen, Stanley
61 Tranquility Road                                                         RS Legacy Corporation fka RadioShack
Suffern, NY 10901                                       6126      6/25/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
Wagner, Pamela
39 Unger Lane                                                               RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15217                                    6127      6/25/2015 Corporation                                                     $10.69                                                                                           $10.69
Mateo, Ronald
11847 Apple Grove Lane                                                      RS Legacy Corporation fka RadioShack
Sylmar, CA 91342                                        6128      6/25/2015 Corporation                                                    $462.12                                                                                          $462.12

Mario Aliano and Victoria Radaviciute, individually
and on behalf of all others similarly situated
Zimmerman Law Offices, P.C.
77 West Washington Street, Suite 1220                                       RS Legacy Corporation fka RadioShack
Chicago, IL 60602                                       6129      6/22/2015 Corporation                                        $16,000,000,000.00                                                                               $16,000,000,000.00
Toepfer, Rudy
1913 n 38th ST                                                              RS Legacy Corporation fka RadioShack
Seattle, WA 98103                                       6130      6/25/2015 Corporation                                                     $75.00                                                                                           $75.00
Boone County Collector
Brian McCollum
Government Center, 9th & Ash
801 E Walnut, Room 118                                                      RS Legacy Corporation fka RadioShack
Columbia, MO 65201‐4890                                 6131      6/24/2015 Corporation                                                                      $259.40                                                                        $259.40
Freemall Associates, LLC
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                          RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                              6132      6/25/2015 Corporation                                                  $7,429.98          $7,008.48                                                                    $14,438.46
Rader, Sandra L.
504 E Timber Drive                                                          RS Legacy Corporation fka RadioShack
Payson, AZ 85541                                        6133      6/25/2015 Corporation                                                      $0.00                                                                                            $0.00
Toepfer, Rudy
1913 N 38th st                                                              RS Legacy Corporation fka RadioShack
Seattle, WA 98103                                       6134      6/25/2015 Corporation                                                     $75.00                                                                                           $75.00
Callahan, James
157 Spring Hill Road                                                        RS Legacy Corporation fka RadioShack
Sharon, NH 03458                                        6135      6/25/2015 Corporation                                                                                                              $50.00                                  $50.00



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            Creditor Name and Address       Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                     Amount
Kisiel, Tom
91 Amherst Street                                                 RS Legacy Corporation fka RadioShack
West Springfield, MA 01089                    6136      6/26/2015 Corporation                                                     $15.93                                                                                           $15.93
Swirkowski, Dylan
3981 Wild Ginger Way                                              RS Legacy Corporation fka RadioShack
Franksville, WI 53126                         6137      6/25/2015 Corporation                                                                       $50.00                                 $50.00                                 $100.00
Wallace, William
26 Kline Blvd                                                     RS Legacy Corporation fka RadioShack
Whitehouse Station, NJ 08889                  6138      6/26/2015 Corporation                                                    $100.00                                                                                          $100.00
Crane, Karen
401 Chadwyck Dr.                                                  RS Legacy Corporation fka RadioShack
Glen Carbon, IL 62034                         6139      6/26/2015 Corporation                                                     $80.00                                                                                           $80.00
O'Farrell III, Francisco
1906 E. Clinton St.                                               RS Legacy Corporation fka RadioShack
Tampa, FL 33610                               6140      6/26/2015 Corporation                                                     $50.00                                                                                           $50.00
LAFAYETTE WALMART SHOPPES, LP
LAUREN MCELLIGOTT, AS AGENT FOR LAFAYETTE
WALMART SHOPPES, LP
C/O LATTER & BLUM PROPERTY MGMT, INC.
128 DEMANADE BOULEVARD, SUITE 107                                 RS Legacy Corporation fka RadioShack
LAFAYETTE, LA 70503                           6141      6/25/2015 Corporation                                                                                                                                 $0.00                 $0.00
Vinger, Jeffery A.
2696 Willow Bend Circle                                           RS Legacy Corporation fka RadioShack
Springdale, AR 72762                          6142      6/26/2015 Corporation                                                     $70.23                                                                                           $70.23
OG&E Electric Services
PO BOX 24990                                                      RS Legacy Corporation fka RadioShack
OKLAHOMA CITY, OK 73124                       6143      6/26/2015 Corporation                                                $10,324.23                                                                                        $10,324.23
Pagan, Sharon
Rr 5 Box 8583                                                     RS Legacy Corporation fka RadioShack
Toa alra, PR 00953                            6144      6/26/2015 Corporation                                                                                                               $0.00                                   $0.00
Silberstein, Jerilyn
256 S. Robertson blvd #369                                        RS Legacy Corporation fka RadioShack
Beverly Hills, CA 90211                       6145      6/26/2015 Corporation                                                     $12.21                                                                                           $12.21
Silberstein, Jerilyn
256 S.Robertson Blvd
#369                                                              RS Legacy Corporation fka RadioShack
                                              6146      6/26/2015 Corporation                                                     $12.21                                                                                           $12.21
Gitte, Ana
83 Saint Nicholas place apt 11                                    RS Legacy Corporation fka RadioShack
New York, NY 10032                            6147      6/25/2015 Corporation                                                                         $0.00                                                                         $0.00
Abreu, Jose Manuel
2610 University Ave
Apt B3                                                            RS Legacy Corporation fka RadioShack
Bronx, NY 10468                               6148      6/25/2015 Corporation                                                      $0.00                                                                                            $0.00
Jawa, Vin
22 Greenfield Drive                                               RS Legacy Corporation fka RadioShack
Plaistow, NH 03865                            6149      6/25/2015 Corporation                                                      $0.00                                                                                            $0.00
Time Warner Cable
2551 DULLES VIEW DRIVE                                            RS Legacy Corporation fka RadioShack
Herndon, VA 20171                             6150      6/25/2015 Corporation                                                $34,436.71                                                                                        $34,436.71




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                                                                                                                         Current General                                            Current 503(b)(9)
                                                                                                                                               Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address           Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
William B Malouf, LLC and Bert B. Malouf, LLC
W Gary Malouf
7025 E. Scottsdale Road, Suite 6                                      RS Legacy Corporation fka RadioShack
SCOTTSDALE, AZ 85257                              6151      6/25/2015 Corporation                                                  $4,495.94                                                                                        $4,495.94
City of Los Angeles, Office of Finance
Los Angeles City Attorney's Office
Attn: Wendy Loo
200 N. Main Street, Ste 920                                           RS Legacy Corporation fka RadioShack
Los Angeles, CA 90012                             6152      6/22/2015 Corporation                                                                         $0.00                                                                         $0.00
Iorio, Carmelina
39 Elizabeth Street                                                   RS Legacy Corporation fka RadioShack
Ossining, NY 10562                                6153      6/25/2015 Corporation                                                    $100.00                                                                                          $100.00
Robert, Lana
PO Box 1043                                                           RS Legacy Corporation fka RadioShack
Santa Barbara, CA 93102                           6154      6/25/2015 Corporation                                                                       $35.63                                                                         $35.63
TM Northlake Mall LP (384901‐00153)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                    RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                        6155      6/25/2015 Corporation                                               $103,246.84           $4,735.16                                                                   $107,982.00
Peace River Electric Cooperative, Inc.
Randy Shaw ‐ General Manager / CEO
210 Metheny Road                                                      RS Legacy Corporation fka RadioShack
Wauchula, FL 33873                                6156      6/25/2015 Corporation                                                    $732.00                                                                                          $732.00
TM Fairlane Center, L.P. (384901‐00152)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                    RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                        6157      6/25/2015 Corporation                                                $15,479.31           $2,818.17                                                                    $18,297.48
Elk Crossing Fund II, LLC (330706‐00014)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                    RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                        6158      6/25/2015 Corporation                                                $21,290.28           $5,871.17                                                                    $27,161.45
Boone County Collector
Brian McCollum
Government Center, 9th & Ash
801 E Walnut, Room 118                                                RS Legacy Corporation fka RadioShack
Columbia, MO 65201‐4890                           6159      6/24/2015 Corporation                                                                      $265.62                                                                        $265.62
JK Imaging, Ltd.
c/o Gellert Scali Busenkell & Brown, LLC
Michael G. Busenkell
913 N. Market St, 10th Floor                                          RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                              6160      6/25/2015 Corporation                                               $239,597.53                                                                                       $239,597.53
NORTHRIDGE OWNER, L.P. (384901‐00070)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                    RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                        6161      6/25/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00




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                                                                                                                                                   Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                      Amount
JK Imaging, Ltd.
c/o Gellert Scali Busenkell & Brown, LLC
1201 N. Orange Street, Suite 300
Wilmington, DE 19801                                6162      6/25/2015 Ignition L.P.                                                     $0.00                                                                                             $0.00
Schroeder, Erich                                                        RS Legacy Corporation fka RadioShack
                                                    6163      6/25/2015 Corporation                                                      $50.00                                                                                            $50.00
TM Macarthur Center LP (384901‐00154)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                      RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                          6164      6/25/2015 Corporation                                                $126,115.17            $8,926.51                                                                   $135,041.68

Star‐West Franklin Park Mall LLC (384901‐00155)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                      RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                          6165      6/25/2015 Corporation                                                $177,895.37           $12,102.75                                                                   $189,998.12
PPR Kitsap Mall LLC (384901‐00066)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                      RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                          6166      6/25/2015 Corporation                                                $118,896.87            $6,916.25                                                                   $125,813.12
Crossroads II, LLC (209847‐00007)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                      RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                          6167      6/25/2015 Corporation                                                       $0.00              $0.00                                                                          $0.00
TM WELLINGTON GREEN MALL LP
Katten Muchin Rosenman LLP
Dustin P. Branch, Esq
2029 Century Park East, Suite 2600                                      RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                          6168      6/25/2015 Corporation                                                $131,704.01            $7,703.56                                                                   $139,407.57
Compton Commercial Development Company
(205102‐00054)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                      RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                          6169      6/25/2015 Corporation                                                 $85,287.43            $6,014.15                                                                    $91,301.58
ASSOCIATED MECHANICAL CONTRACTORS
1257 Marschall Rd                                                       RS Legacy Corporation fka RadioShack
Shakopee, MN 55379                                  6170      6/25/2015 Corporation                                                   $7,857.69                                                                                         $7,857.69
JK Imaging, Ltd.
c/o Gellert Scali Busenkell & Brown, LLC
Michael G. Busenkell                                                    RS Legacy Global Sourcing Limited Partnership
1201 N. Orange Street, Suite 300                                        fka RadioShack Global Sourcing Limited
Wilmington, DE 19801                                6171      6/25/2015 Partnership                                                       $0.00                                                                                             $0.00
Watt North Highlands, L.P.
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                      RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                          6172      6/25/2015 Corporation                                                       $0.00              $0.00                                                                          $0.00




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                                                                                                                                 Current General                                             Current 503(b)(9)
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                                                                                                                                                        Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                                     Amount                                                      Amount
New Britain Board of Water Commissioners
27 W Main St                                                                  RS Legacy Corporation fka RadioShack
New Britain, CT 06051‐2289                                6173      6/26/2015 Corporation                                                     $73.30                                 $0.00                                                      $73.30
CITY OF ATTLEBORO
MS. DEBORA MARCOCCIO, CITY COLLECTOR'S
OFFICE
77 PARK ST
PO BOX 4127                                                                   RS Legacy Corporation fka RadioShack
ATTLEBORO, MA 02703                                       6174      6/19/2015 Corporation                                                                        $44.00             $63.30                                                     $107.30
Danbury Mall LLC (203270‐02209)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                            RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                                6175      6/25/2015 Corporation                                                $10,369.97           $17,609.84                                                                    $27,979.81
Southlake Indiana LLC (384901‐00151)
c/o Dustin P. Branch, Esq.
Katten Munchin Rosenman LLP
2029 Century Park East, Suite 2600                                            RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                                6176      6/25/2015 Corporation                                                  $6,795.88           $5,524.18                                                                    $12,320.06
Parkway Plaza LP
David L. Rasmussen, Esq.
Davidson Fink LLP
28 East Main Street                                                           RS Legacy Corporation fka RadioShack
Rochester, NY 14614                                       6177      6/26/2015 Corporation                                                                                                                              $3,824.13             $3,824.13
K.S. Terminals Inc.
Attention: Viviean Wu
8, E.3Rd Road Chang Pin Ind. Park
Hsien Shi
Chang Hwa 507                                                                 RS Legacy Corporation fka RadioShack
TAIWAN, R.O.C.                                            6178      6/26/2015 Corporation                                                $53,826.60                                                                                         $53,826.60
CITY OF SANTA ROSA
PO BOX 1658                                                                   RS Legacy Corporation fka RadioShack
SANTA ROSA, CA 95402                                      6179      6/26/2015 Corporation                                                    $247.18                                                                                           $247.18
Rivera, Francisco J
La Plata Calle
Turqueza A‐15                                                                 RS Legacy Corporation fka RadioShack
Cayey, PR 00736                                           6180      6/26/2015 Corporation                                                                         $0.00                                                                          $0.00
Chenault, Charles
Unit 01‐0121
436 Oak Point Ct                                                              RS Legacy Corporation fka RadioShack
Santa Rosa, CA 95409                                      6181      6/26/2015 Corporation                                               $198,338.52                                                                                        $198,338.52
Alecta Real Estate USA, LLC La Jolla Village (339142‐
00006)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                            RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                                6182      6/25/2015 Corporation                                                  $9,020.89          $11,641.90                                                                    $20,662.79
COCONINO COUNTY TREASURER
110 E. CHERRY AVENUE                                                          RS Legacy Corporation fka RadioShack
FLAGSTAFF, AZ 86001                                       6183      6/23/2015 Corporation                                                                       $216.20                                                                        $216.20




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                                                                                                                         Current General                                             Current 503(b)(9)
                                                                                                                                               Current Priority    Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address          Claim No.   Claim Date                     Debtor                         Unsecured Claim                                              Admin Priority
                                                                                                                                                Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                      Amount
KRE Colonie Owner LLC
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                   RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                       6184      6/25/2015 Corporation                                                       $0.00              $0.00                                                                          $0.00
Star‐West Louis Joliet LLC (384901‐00157)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                   RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                       6185      6/25/2015 Corporation                                                   $6,233.74           $2,506.92                                                                     $8,740.66
CITY OF SANTA ROSA
90 SANTA ROSA AVE                                                    RS Legacy Corporation fka RadioShack
SANTA ROSA, CA 95404                             6186      6/26/2015 Corporation                                                       $0.00                                                                                             $0.00
Macerich Deptford LLC (203270‐02204)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                   RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                       6187      6/25/2015 Corporation                                                 $12,600.31            $4,447.75                                                                    $17,048.06
VCG‐Southlake Mall, LLC (340210‐00007)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                   RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                       6188      6/25/2015 Corporation                                                 $65,034.91            $4,701.28                                                                    $69,736.19
VCG Whitney Field, LLC (340210‐00008)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                   RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                       6189      6/25/2015 Corporation                                                 $65,529.31            $4,096.87                                                                    $69,626.18
The Macerich Partnership, L.P. Capitola Mall
(203270‐02190)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                   RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                       6190      6/25/2015 Corporation                                                $177,183.96           $11,325.89                                                                   $188,509.85
PPR Cascade LLC Cascade Mall (203270‐02171)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                   RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                       6191      6/25/2015 Corporation                                                 $35,914.99            $1,729.68                                                                    $37,644.67
Capital Mall LP (384901‐00158)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                   RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                       6192      6/25/2015 Corporation                                                $111,856.93            $5,187.03                                                                   $117,043.96
Carol
75 Wetmore Ave.
Winsted, CT 06098                                6193      6/25/2015 Ignition L.P.                                                    $21.26                                                                                            $21.26
Florin Associates, LLC (204404‐00168)
Katten Muchin Rosenman LLP
Attn: Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                   RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                       6194      6/25/2015 Corporation                                                $106,929.21            $6,999.68                                                                   $113,928.89



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            Creditor Name and Address                Claim No.   Claim Date                    Debtor                         Unsecured Claim                                              Admin Priority
                                                                                                                                                     Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                      Amount
East Mesa Mall, L.L.C. (203270‐02206)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                         RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                             6195      6/25/2015 Corporation                                                  $2,426.91           $2,840.65                                                                     $5,267.56
WFC Wyoming NM LLC (330706‐00016)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                         RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                             6196      6/25/2015 Corporation                                                $93,570.79            $4,156.56                                                                    $97,727.35

Elkhorn Plaza Shopping Center, LLC (386513‐00002)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                         RS Legacy Corporation fka RadioShack
LOS ANGELES, CA 90067‐3012                             6197      6/25/2015 Corporation                                                $37,174.04            $2,477.17                                                                    $39,651.21
Everett Mall LLC (344312‐00020)
Katten Muchin Rosenman LLP
Attn: Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                         RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                             6198      6/25/2015 Corporation                                                  $6,933.75           $1,776.01                                                                     $8,709.76
Commons Mall LLC (344312‐00019)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                         RS Legacy Corporation fka RadioShack
LOS ANGELES, CA 90067‐3012                             6199      6/25/2015 Corporation                                                  $5,030.96            $277.75                                                                      $5,308.71
Brooks Shopping Centers, LLC Cross County (203270‐
00210)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                         RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                             6200      6/25/2015 Corporation                                               $297,818.94           $21,593.54                                                                   $319,412.48
General Beneficial LP.
1522 W. Manchester Ave.                                                    RS Legacy Corporation fka RadioShack
Los Angeles, CA 90047                                  6201      6/23/2015 Corporation                                                      $0.00                                                                                             $0.00
Star‐West Gateway, LLC (384901‐00068)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                         RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                             6202      6/25/2015 Corporation                                                $44,039.97            $3,631.99                                                                    $47,671.96
Valley Stream Green Acres LLC (203270‐02191)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                         RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                             6203      6/25/2015 Corporation                                                $89,700.86           $22,795.07                                                                   $112,495.93
DTE ENERGY
One Energy Plaza, 735 WCB                                                  RS Legacy Corporation fka RadioShack
Detroit, MI 48226                                      6204      6/22/2015 Corporation                                                $55,504.64                                                                                         $55,504.64
Grube, Shannon
2649 41st Ave SW                                                           RS Legacy Corporation fka RadioShack
Seattle, WA 98116                                      6205      6/25/2015 Corporation                                                     $70.00                                                                                            $70.00




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                                                                                                                                                     Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                      Amount
Brooklyn Kings Plaza LLC (203270‐02192)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                         RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                             6206      6/25/2015 Corporation                                                  $4,056.72           $4,500.00                                                                     $8,556.72
Campus View, LLC (340784‐00007)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                         RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                             6207      6/25/2015 Corporation                                                $16,526.00            $5,705.86                                                                    $22,231.86
Platt, Russell
609 W 25th St
Apt. 4                                                                     RS Legacy Corporation fka RadioShack
Lawrence, KS 66046                                     6208      6/25/2015 Corporation                                                      $0.00                                                                                             $0.00
Macerich Lakewood, LLC (203270‐02207)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                         RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                             6209      6/25/2015 Corporation                                               $183,808.04           $11,105.01                                                                   $194,913.05
Macerich Victor Valley LLC (203270‐02173)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                         RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                             6210      6/25/2015 Corporation                                                  $7,293.25           $5,808.74                                                                    $13,101.99

Alecta Real Estate Doral Plaza, LLC (339142‐00005)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                         RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                             6211      6/25/2015 Corporation                                                      $0.00                                                                       $0.00                 $0.00
FORBES/COHEN FLORIDA PROPERTIES LIMITED
PARTNERSHIP (214166‐00074)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                         RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                             6212      6/25/2015 Corporation                                                $30,332.42           $21,539.23                                                                    $51,871.65
Flagstaff Mall Associates Limited Partnership
(203270‐02176)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                         RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                             6213      6/25/2015 Corporation                                               $132,384.42                                                                    $6,705.98           $139,090.40
Prisa II Davie Square Associates, Ltd. (204404‐
00169)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park east, Suite 2600                                         RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                             6214      6/25/2015 Corporation                                                $15,287.97            $1,299.69                                                                    $16,587.66




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                                                                                                                                                   Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                      Amount
Macerich Northpark Mall LLC (203270‐02179)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                       RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                           6215      6/25/2015 Corporation                                                $45,082.36            $3,030.49                                                                    $48,112.85
Porter, Garrett
7069 Mink Hollow Road                                                    RS Legacy Corporation fka RadioShack
Highland, MD 20777                                   6216      6/25/2015 Corporation                                                                        $40.00                                                                         $40.00
Macerich Buenaventura Limited Partnership
(203270‐02168)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                       RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                           6217      6/25/2015 Corporation                                                $67,379.05            $1,065.48                                                                    $68,444.53
Chico Mall Investors, LLC (339136‐00036)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                       RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                           6218      6/25/2015 Corporation                                                $32,649.13            $2,934.90                                                                    $35,584.03
Robert, Lana
1868 Knapps Alley
Apt 207                                                                  RS Legacy Corporation fka RadioShack
West Linn, OR 97068                                  6219      6/25/2015 Corporation                                                                                                                                  $0.00                 $0.00
Renaissance Partners I, LLC Pueblo Mall (386781‐
00002)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                       RS Legacy Corporation fka RadioShack
LOS ANGELES, CA 90067‐3012                           6220      6/25/2015 Corporation                                                $72,493.42           $10,801.67                                                                    $83,295.09
Towne Mall, L.L.C. (203270‐02172)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                       RS Legacy Corporation fka RadioShack
LOS ANGELES, CA 90067‐3012                           6221      6/25/2015 Corporation                                                $92,747.65            $6,219.58                                                                    $98,967.23
SM Valley Mall, LLC (203270‐02200)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                       RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                           6222      6/25/2015 Corporation                                                $55,415.57            $3,824.35                                                                    $59,239.92
OCONOMOWOC CITY UTILITIES
PO BOX 27                                                                RS Legacy Corporation fka RadioShack
OCONOMOWOC, WI 53066                                 6223      6/26/2015 Corporation                                                    $602.45                                                                                           $602.45

Macerich Valley River Center LLC (203270‐02174)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 CENTURY PARK EAST, SUITE 2600                                       RS Legacy Corporation fka RadioShack
LOS ANGELES, CA 90067‐3012                           6224      6/25/2015 Corporation                                                $82,679.67            $7,635.30                                                                    $90,314.97




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                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount

Bis Corporation Belle Isle Station (385110‐00009)
Katten Muchin Rosenman LLP
c/o Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                        RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                            6225      6/25/2015 Corporation                                                $69,839.14           $7,254.65                                                                    $77,093.79
Macerich South Plains LP (203270‐02175)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                        RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                            6226      6/25/2015 Corporation                                               $119,753.16           $7,047.47                                                                   $126,800.63
Northgate Mall Associates (203270‐02193)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                        RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                            6227      6/25/2015 Corporation                                                $84,703.66           $4,013.69                                                                    $88,717.35
Macerich Panorama SPE LLC (203270‐02170)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                        RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                            6228      6/25/2015 Corporation                                                $91,239.67           $7,567.29                                                                    $98,806.96
Macerich South Park Mall LLC (203270‐02194)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                        RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                            6229      6/25/2015 Corporation                                                $29,296.08           $1,788.25                                                                    $31,084.33
Wilton Mall, LLC (203270‐02195)
c/o Dustin P. Branch, Esq.
Katten Munchin Rosenman LLP
2029 Century Park East, Suite 2600                                        RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                            6230      6/25/2015 Corporation                                                    $788.61              $0.00                                                 $224.78             $1,013.39
PPR Washington Square LLC (203270‐02177)
c/o Dustin P. branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                        RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                            6231      6/25/2015 Corporation                                               $123,813.55           $5,840.51                                                                   $129,654.06

HVS East, LLC Harbour View East (385110‐00008)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                        RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                            6232      6/25/2015 Corporation                                                $63,634.14           $3,958.76                                                                    $67,592.90

Giv Green Tree Mall Investors LLC (339136‐00037)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                        RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                            6233      6/25/2015 Corporation                                                $25,252.84           $5,690.31                                                                    $30,943.15
Barker, Deanna
3504 SW 4th St. Unit B                                                    RS Legacy Corporation fka RadioShack
Deerfield Beach, FL 33442                             6234      6/25/2015 Corporation                                                     $15.89                                                                                           $15.89




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                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                     Amount
Hess, Garrett
5304 Dandelion Dr.                                                      RS Legacy Corporation fka RadioShack
Wilmington, NC 28405                                6235      6/26/2015 Corporation                                                                       $28.61             $28.61                                                      $57.22
Williams, Tuba
2738 Martinec Dr                                                        RS Legacy Corporation fka RadioShack
Pearland, TX 77584                                  6236      6/25/2015 Corporation                                                     $30.00                                                                                           $30.00
TWC Chandler LLC (203270‐02196)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                      RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                          6237      6/25/2015 Corporation                                                  $4,444.70          $2,371.08                                                                     $6,815.78
Star‐West Solano, LLC
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                      RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                          6238      6/25/2015 Corporation                                               $101,421.67           $5,816.36                                                                   $107,238.03
VCG‐Southbay Pavilion, LLC
Katten Muchin Rosenman LLP
C/O Dustin P. Branch, Esq.
2029 Century Park East, Suite 2600                                      RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                          6239      6/25/2015 Corporation                                                  $5,209.03          $6,525.46                                                                    $11,734.49

Savannah Square Associates, Ltd. (204404‐00166)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                      RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                          6240      6/25/2015 Corporation                                                  $7,780.29          $4,310.49                                                                    $12,090.78
Spaulding, Aracelis
13125 Scarlet Oak Dr.                                                   RS Legacy Corporation fka RadioShack
Gaithersburg, MD 20878                              6241      6/24/2015 Corporation                                                                      $126.42                                  $0.00                                 $126.42
Bear Creek Ventures LLC
36 Country Lane                                                         RS Legacy Corporation fka RadioShack
Rolling Hills Estates, CA 90274                     6242      6/24/2015 Corporation                                                  $6,610.54                                                                                        $6,610.54
Bailey, Daquavia
1303 Valley Grove Drive                                                 RS Legacy Corporation fka RadioShack
Seffner, FL 33584                                   6243      6/26/2015 Corporation                                                      $0.00            $10.69              $0.00                                                      $10.69

Brixmor Holdings 12 SPE, LLC (Brixmor Property
Group, Inc.) t/a Northtown Plaza, Houston, TX
Ballard Spahr LLP
David L. Pollack, Esq.
1735 Market Street, 51st Floor                                          RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                              6244      6/26/2015 Corporation                                                $28,002.56                                                                                        $28,002.56

Cantor Fitzgerald Securities, as Agent and the
Claimants identified on the attachment hereto
James Bond
110 East 59th Street                                                    RS Legacy Global Sourcing Corporation fka
New York, NY 10022                                  6245      6/19/2015 RadioShack Global Sourcing Corporation                                                                                                      $0.00                 $0.00
Schertz, Angela Jolene
317 North Plane                                                         RS Legacy Corporation fka RadioShack
Burlington, IA 52601                                6246      6/26/2015 Corporation                                                                                                                                 $0.00                 $0.00



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                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
Guzman Ortiz, Janette
Urb. Colinas San Francisco
Calle Lucero D‐30                                                           RS Legacy Corporation fka RadioShack
Aibonito, PR 00705                                      6247      6/26/2015 Corporation                                                                         $0.00                                                                         $0.00
Snell, Kadian
3818 SW 48 Ave                                                              RS Legacy Corporation fka RadioShack
Pembroke Park, FL 33023                                 6248      6/26/2015 Corporation                                                                       $55.00                                  $0.00                                  $55.00
Mendoza Morales, Veronica
248 Portia ave                                                              RS Legacy Corporation fka RadioShack
Vista, CA 92084                                         6249      6/26/2015 Corporation                                                     $40.00                                                                                           $40.00
ALEXANDER STILLWAGON LLC
C/O MR FRED IOZZO
PO BOX 354                                                                  RS Legacy Corporation fka RadioShack
WAYNE, IL 60184‐0354                                    6250      6/26/2015 Corporation                                                $10,382.21                                                                                        $10,382.21
Bailey, Daquavia
1303 Valley Grove Drive                                                     RS Legacy Corporation fka RadioShack
Seffner, FL 33584                                       6251      6/26/2015 Corporation                                                      $0.00           $180.50              $0.00                                                     $180.50
COMMISSIONERS OF PUBLIC WORKS
PO BOX 549                                                                  RS Legacy Corporation fka RadioShack
GREENWOOD, SC 29648                                     6252      6/26/2015 Corporation                                                    $130.39                                                                                          $130.39
Vazquez, Luis R.
3089 Calle Rio Minillas
URB. Praderas del Rio                                                       RS Legacy Corporation fka RadioShack
Toa Alto, PR 00953                                      6253      6/26/2015 Corporation                                                                                                                                 $0.00                 $0.00
Dasi, Inc
PO Box 805                                                                  RS Legacy Corporation fka RadioShack
Newton, NJ 07860                                        6254      6/26/2015 Corporation                                                                         $0.00                                 $0.00                                   $0.00
Rivera, Francisco Javier
La Plata C/Turqueza‐A‐15                                                    RS Legacy Corporation fka RadioShack
Cayey, PR 00736                                         6255      6/26/2015 Corporation                                                                                                                                 $0.00                 $0.00
Laforte, Jacqulyn J
6 W 132nd St                                                                RS Legacy Customer Service LLC fka RadioShack
Kansas City, MO 64145                                   6256      6/26/2015 Customer Service LLC                                             $0.00            $21.69                                                                         $21.69
Inland Western Spokane Northpointe, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                   RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                      6257      6/26/2015 Corporation                                                                                                                                 $0.00                 $0.00
Santiago, Lynnette Alvaradu
Bda: San Luis Calle Gelzemani #6                                            RS Legacy Corporation fka RadioShack
Aibonito, PR 00705                                      6258      6/26/2015 Corporation                                                                                                                                 $0.00                 $0.00
ERT 163rd Street Mall, LLC (Brixmor Property Group,
Inc.) t/a Mall at 163rd Street, Miami, FL
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                                  6259      6/26/2015 Corporation                                                $88,217.74                                                                                        $88,217.74
Doyle, Linda W.
114 E. Franklin St. Rm 101                                                  RS Legacy Corporation fka RadioShack
Rockingham, NC 28379                                    6260      6/26/2015 Corporation                                                                                                                                 $0.00                 $0.00




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                                                                                                                             Current General                                            Current 503(b)(9)
                                                                                                                                                   Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address               Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
P.D.C.M Associates, S.E.
PO Box 190858                                                             RS Legacy Corporation fka RadioShack
San Juan, PR 00919‐0858                               6261      6/26/2015 Corporation                                                $41,889.30                                                                                        $41,889.30
FASTENAL COMPANY
JOHN MILEK
GENERAL COUNSEL
PO BOX 978                                                                RS Legacy Corporation fka RadioShack
WINONA, MN 55987                                      6262      6/26/2015 Corporation                                                    $331.76                                                                                          $331.76

University Mall LLC (Aronov Realty Management,
Inc.) t/a University Mall, Tuscaloosa, AL
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street
51st Floor                                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                6263      6/26/2015 Corporation                                                $75,994.21                                                                                        $75,994.21
Armstrong, Sarah P.
1011 Stiles Street                                                        RS Legacy Corporation fka RadioShack
Baltimore, MD 21202                                   6264      6/26/2015 Corporation                                                                                                              $65.00                                  $65.00
Enterprise Shopping Center (Aronov Realty
Management, Inc.) t/a Enterprise Shopping Center,
Enterprise, AL
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                            RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                6265      6/26/2015 Corporation                                                  $2,365.12                                                                                        $2,365.12
Vazquez Rivera, Rafael L
Sierra Bayamon
Calle 35A Blg. 32A # 6                                                    RS Legacy Corporation fka RadioShack
Bayamon, PR 00961                                     6266      6/26/2015 Corporation                                                                         $0.00                                                                         $0.00
Schertz, Angela Jolene
317 North Plane
Burlington, IA 52601                                  6267      6/26/2015 TE Electronics LP                                                $0.00                                                                                            $0.00
Rasche, Robert J.
20234 Williamson St.                                                      RS Legacy Corporation fka RadioShack
Clinton Twp., MI 48035                                6268      6/26/2015 Corporation                                                                         $0.00                                                                         $0.00
Harris County WCID #109 Tax Collector
6935 Barney Rd., Ste 110                                                  RS Legacy Corporation fka RadioShack
Houston, TX 77092                                     6269      6/26/2015 Corporation                                                                                         $344.15                                                     $344.15
Prelsnik, Lynne
PO Box 302                                                                RS Legacy Corporation fka RadioShack
Pacific Grove, CA 93950                               6270      6/26/2015 Corporation                                                                       $80.42                                  $0.00                                  $80.42
CNP UD TAX COLLECTOR
13333 NORTHWEST FRWY #250                                                 RS Legacy Corporation fka RadioShack
HOUSTON, TX 77040                                     6271      6/26/2015 Corporation                                                                                         $443.49                                                     $443.49
Gordily, Yelena
5235 Karm Way                                                             RS Legacy Corporation fka RadioShack
Sacramento, CA 95842                                  6272      6/26/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
Prince George's County, Maryland
Meyers, Rodbell & Rosenbaum, P.A.
6801 Kenilworth Ave., Ste 400                                             RS Legacy Corporation fka RadioShack
Riverdale Park, MD 20737                              6273      6/26/2015 Corporation                                                                                           $0.00                                                       $0.00



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                                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                  Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
Spring Creek Plaza LLC c/o Grenadier Realty, by its
attorneys Kucker & Bruh LLP
Attn: Abner T. Zelman, Esq.
747 Third Avenue                                                             RS Legacy Corporation fka RadioShack
New York, NY 10017                                       6274      6/26/2015 Corporation                                                                         $0.00                                                                         $0.00
Rivera Vazquez, Lizette
PO Box 3306                                                                  RS Legacy Corporation fka RadioShack
Guayama, PR 00785                                        6275      6/26/2015 Corporation                                                                         $0.00                                                                         $0.00
Penfield TK Owner LLC
c/o David Rasmussen, Esq.
Davidson Fink LLP
28 East Main Street                                                          RS Legacy Corporation fka RadioShack
Rochester, NY 14621                                      6276      6/26/2015 Corporation                                                $52,176.13                                                                                        $52,176.13
Gonzalez, Catherine
1788 South Belvoir Blvd.                                                     RS Legacy Corporation fka RadioShack
South Euclid, OH 44121                                   6277      6/26/2015 Corporation                                                     $60.00                                                                                           $60.00
Athey, Melissa
117 W. Virginia Ave                                                          RS Legacy Corporation fka RadioShack
Vandergrift, PA 15690                                    6278      6/26/2015 Corporation                                                      $0.00            $65.70                                                                         $65.70
Brixmor SPE 3 LLC (Brixmor Property Group, Inc.) t/a
Lincoln Plaza, New Haven, IN
c/o David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                   6279      6/26/2015 Corporation                                                $15,662.47                                                                                        $15,662.47
Parkway Plaza Limited Partnership
c/o David Rasmussen, Esq.
Davidson Fink LLP
28 East Main Street                                                          RS Legacy Corporation fka RadioShack
Rochester , NY 14621                                     6280      6/26/2015 Corporation                                                      $0.00                                                                                            $0.00
Prince George's County, Maryland
Meyers, Rodbell & Rosenbaum, P.A.
6801 Kenilworth Ave., Ste 400                                                RS Legacy Corporation fka RadioShack
Riverdale Park, MD 20737                                 6281      6/26/2015 Corporation                                                                                           $0.00                                                       $0.00
P.D.C.M. ASSOCIATES, S.E.
PO BOX 190858                                                                RS Legacy Corporation fka RadioShack
San Juan, PR 00919‐0858                                  6282      6/26/2015 Corporation                                                  $5,136.97                                                                                        $5,136.97
Vazquez Rivera, Rafael L
Sierra Bayamon
Calle 35A Blq. 32A # 6                                                       RS Legacy Corporation fka RadioShack
Bayamon, PR 00960                                        6283      6/26/2015 Corporation                                                                                                                                 $0.00                 $0.00
Dixon Walker, Shannah
1322 Shellbark Court                                                         RS Legacy Corporation fka RadioShack
Havelock, NC 28532                                       6284      6/26/2015 Corporation                                                                         $0.00                                                                         $0.00
Prince George's County, Maryland
Meyers, Rodbell & Rosenbaum, P.A.
6801 Kenilworth Ave., Ste 400                                                RS Legacy Corporation fka RadioShack
Riverdale Park, MD 20737                                 6285      6/26/2015 Corporation                                                                                           $0.00                                                       $0.00
Gibbons, William A
1370 Settlers Way                                                            RS Legacy Corporation fka RadioShack
Seguin, TX 78155                                         6286      6/26/2015 Corporation                                                                      $105.00                                                                        $105.00




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                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
GEUS ‐CITY OF GREENVILLE
Gary Singleton
2810 Wesley Street                                                    RS Legacy Corporation fka RadioShack
Greenville, TX 75401                              6287      6/26/2015 Corporation                                                  $1,074.00                                                                                        $1,074.00
Keenan, Brandon M.
3925 NE 72nd Ave Suite #105                                           RS Legacy Corporation fka RadioShack
Vancouver, WA 98661                               6288      6/26/2015 Corporation                                                     $63.89                                                                                           $63.89

Plainfield Commons II Lot A LLC
c/o Sitehawk Property Management Services LLC
8500 Keystone Crossing
Suite 170                                                             RS Legacy Corporation fka RadioShack
Indianapolis, IN 46240                            6289      6/26/2015 Corporation                                                  $3,404.30                                                                                        $3,404.30
Alvarado Santiago, Lynette
Bda San Luis
Getzemani #6                                                          RS Legacy Corporation fka RadioShack
Aibonito, PR 00705                                6290      6/26/2015 Corporation                                                                         $0.00                                                                         $0.00
Vazquez, Lizzette Rivera
PO Box 3306                                                           RS Legacy Corporation fka RadioShack
Guayama, PR 00785                                 6291      6/26/2015 Corporation                                                                                                                                 $0.00                 $0.00
Rouse, Landis
129 Redbud Dr.                                                        RS Legacy Corporation fka RadioShack
Forney, TX 75126                                  6292      6/26/2015 Corporation                                                                         $0.00                                 $0.00                                   $0.00
Claim Docketed In Error                                               RS Legacy Corporation fka RadioShack
                                                  6293      6/8/2015 Corporation                                                                                                                                                        $0.00
Vazquez, Luis R.
3089 Calle Rio Minillas
Urb. Praderas del Rio                                                 RS Legacy Corporation fka RadioShack
Toa Alta, PR 00953                                6294      6/26/2015 Corporation                                                                         $0.00                                                                         $0.00
UNIVERSITY MALL SHOPPING CENTER LC
575 E UNIVERSITY PKWY STE N‐260                                       RS Legacy Corporation fka RadioShack
OREM, UT 84097                                    6295      6/26/2015 Corporation                                                    $619.45                                                                      $0.00               $619.45
Prince George's County, Maryland
Meyers, Rodbell & Rosenbaum, P.A.
6801 Kenilworth Ave., Ste 400                                         RS Legacy Corporation fka RadioShack
Riverdale Park, MD 20737                          6296      6/26/2015 Corporation                                                                                           $0.00                                                       $0.00
NORTHERN KENTUCKY WATER DISTRICT
Jack P. Bragg, Jr., VP
2835 Crescent Springs Road                                            RS Legacy Corporation fka RadioShack
Erlanger, KY 41018                                6297      6/26/2015 Corporation                                                     $24.27                                                                                           $24.27
Belcea, John M
2550 Ventura Circle                                                  RS Legacy Corporation fka RadioShack
West Melbourne, FL 32904                          6298      6/2/2015 Corporation                                                 $10,000.00                                                                                        $10,000.00
Garcia, Jose M
Hc 01 Box3945                                                         RS Legacy Corporation fka RadioShack
Arroyo, PR 00714                                  6299      6/22/2015 Corporation                                                                         $0.00                                                                         $0.00
Prelsnik, Lynne
PO Box 302                                                            RS Legacy Corporation fka RadioShack
Pacific Grove, CA 93950                           6300      6/26/2015 Corporation                                                                                                              $80.42                                  $80.42
Hill, Jamie T.
742 South Range Ave.                                                  RS Legacy Corporation fka RadioShack
Denham Springs, LA 70726                          6301      6/26/2015 Corporation                                                     $80.71                                                                                           $80.71



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            Creditor Name and Address                 Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
Bunkley, Pablo A
5800 Annapolis Rd Apt 1010                                                  RS Legacy Corporation fka RadioShack
Bladensburg, MD 20710                                   6302      6/26/2015 Corporation                                                                                                                                 $0.00                 $0.00
CITY OF SANTA ROSA
90 SANTA ROSA AVE                                                           RS Legacy Corporation fka RadioShack
SANTA ROSA, CA 95404                                    6303      6/26/2015 Corporation                                                    $876.00                                                                                          $876.00
Ramos, Coralia
57 Shaler Avenue apt 3                                                      RS Legacy Corporation fka RadioShack
Fairview, NJ 07022                                      6304      6/28/2015 Corporation                                                    $104.29                                                                                          $104.29
Athey, Melissa
117 W. Virginia Ave                                                         RS Legacy Corporation fka RadioShack
Vandergrift, PA 15690                                   6305      6/26/2015 Corporation                                                     $65.70                                                                                           $65.70

Brixmor Tri‐City Plaza LLC (Brixmor Property Group,
Inc.) t/a Tri‐City Plaza, Somersworth, NJ
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                  6306      6/26/2015 Corporation                                                $27,613.77                                                                                        $27,613.77
Konetzni, Pamela J
8914 W 104th Ter                                                            RS Legacy Corporation fka RadioShack
Overland Park, KS 66212‐5513                            6307      6/27/2015 Corporation                                                     $43.31                                                                                           $43.31
Brixmor Holdings 1 SPE, LLC (Brixmor Property
Group, Inc.) t/a Crossroads, Statesville, NC
Ballard Spahr LLP
C/O David L. Pollack
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                  6308      6/26/2015 Corporation                                                $42,784.04                                                                                        $42,784.04
Torres, Edwin
Hacienda San Jose
702 Via del Sol Caguas                                                      RS Legacy Corporation fka RadioShack
Caguas, PR 00727‐3105                                   6309      6/27/2015 Corporation                                                                                                             $101.00                                 $101.00
Sinha, Suyash
12329 NE 102ND LN                                                           RS Legacy Corporation fka RadioShack
Kirkland, WA 98033                                      6310      6/28/2015 Corporation                                                  $5,168.75                                                                                        $5,168.75
Savant, Lance
2334 Mystic Star Dr.                                                        RS Legacy Corporation fka RadioShack
Corpus Christi, TX 78414                                6311      6/28/2015 Corporation                                                    $141.00                                                                                          $141.00

Brixmor Holdings 12 SPE, LLC (Brixmor Property
Group, Inc.) t/a Northtown Plaza, Houston, TX
Ballard Spahr LLP
David L. Pollack, Esq.
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                  6312      6/26/2015 Corporation                                                $40,567.46                                                                                        $40,567.46
CITY OF SANTA ROSA
PO BOX 1658                                                                 RS Legacy Corporation fka RadioShack
SANTA ROSA, CA 95402                                    6313      6/26/2015 Corporation                                                      $0.00                                                                                            $0.00
Ford, Marc
6710 Red Oak Drive                                                          RS Legacy Corporation fka RadioShack
Shawnee, KS 66217                                       6314      6/28/2015 Corporation                                                     $87.19                                                                                           $87.19




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            Creditor Name and Address          Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
Claim Docketed In Error                                             RS Legacy Corporation fka RadioShack
                                                 6315      6/8/2015 Corporation                                                                                                                                                        $0.00
Patel, Avinash D
4525 Buffalo Bend Place                                              RS Legacy Corporation fka RadioShack
Fort Worth, TX 76137                             6316      6/26/2015 Corporation                                                                         $0.00                                                                         $0.00
Prince George's County, Maryland
c/o Meyers, Rodbell & Rosenbaum, P.A.
M. Evan Meyers
6801 Kenilworth Avenue, Suite 400                                    RS Legacy Corporation fka RadioShack
Riverdale, MD 20737‐1385                         6317      6/26/2015 Corporation                                                                                           $0.00                                                       $0.00
Bunkley, Pablo A
5800 Annapolis Rd Apt 1010                                           RS Legacy Corporation fka RadioShack
Bladensburg, MD 20710                            6318      6/26/2015 Corporation                                                                         $0.00                                                                         $0.00

New Mexico Department of Workforce Solutions
Office of General Counsel
P.O. Box 1928                                                        RS Legacy Corporation fka RadioShack
Albuquerque, NM 87103‐1928                       6319      6/29/2015 Corporation                                                    $114.82           $114.82                                                                        $229.64
Gao, Wenni
2350 Whitman Way                                                     RS Legacy Corporation fka RadioShack
San Bruno, CA 94066                              6320      6/27/2015 Corporation                                                      $0.00                                                                                            $0.00
Ramos, Coralia
57 Shaler Avenue apt 3                                               RS Legacy Corporation fka RadioShack
Fairview, NJ 07022                               6321      6/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Prince George's County, Maryland
Meyers, Rodbell & Rosenbaum, P.A.
6801 Kenilworth Ave., Ste 400                                        RS Legacy Corporation fka RadioShack
Riverdale Park, MD 20737                         6322      6/26/2015 Corporation                                                                                           $0.00                                                       $0.00
Sinha, Suyash
12329 NE 102ND LN                                                    RS Legacy Corporation fka RadioShack
Kirkland, WA 98033                               6323      6/28/2015 Corporation                                                      $0.00                                                                                            $0.00
State of Florida‐Department of Revenue
Claimants Attorney: Fred Rudzik
Bankruptcy Section
PO Box 6668                                                          RS Legacy Corporation fka RadioShack
Tallahassee, FL 32314‐6668                       6324      6/29/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
Perry Jr., Alvin
5225 N. Riverview Dr.                                                RS Legacy Corporation fka RadioShack
Indianapolis, IN 46208                           6325      6/28/2015 Corporation                                                                                                               $0.00                                   $0.00
ALEXANDER STILLWAGON LLC
C/O MR FRED IOZZO
PO BOX 354                                                           RS Legacy Corporation fka RadioShack
WAYNE, IL 60184‐0354                             6326      6/26/2015 Corporation                                                                                                                             $1,842.00             $1,842.00
Cesar, Stanley
6 Stacey Court                                                       RS Legacy Corporation fka RadioShack
Stony Point, NY 10980                            6327      6/26/2015 Corporation                                                                      $768.61                                                                        $768.61
Guzman Ortiz, Janette
Urb. Colinas San Francisco
Calle Lucero D‐30                                                    RS Legacy Corporation fka RadioShack
Aibonito, PR 00705                               6328      6/26/2015 Corporation                                                                                                                                 $0.00                 $0.00




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                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
New York State Department of Taxation and
Finance
Bankruptcy Section
PO Box 5300
Albany, NY 12205‐0300                                6329      6/26/2015 SCK, Inc.                                                      $875.00          $9,356.14                                                                    $10,231.14
Albany Mall LLC (Aronov Realty Management, Inc.)
t/a Albany Mall, Albany, GA
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                           RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                               6330      6/26/2015 Corporation                                                $78,820.38                                                                                        $78,820.38

Hale County Appraisal District
D'Layne Carter
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
PO Box 9132                                                              RS Legacy Corporation fka RadioShack
Amarillo, TX 79105‐9132                              6331      6/23/2015 Corporation                                                                     $3,372.19                                                                     $3,372.19
Petropoulos, Wiliam
AKOPYAN LAW GROUP
c./o Michael Akopyan, Esq.
A Professional Corporation
300 North Lake Avenue Suite 200                                          RS Legacy Corporation fka RadioShack
Pasadena, CA 91101                                   6332      6/27/2015 Corporation                                                      $0.00                                                                                            $0.00
Ferrer, Edgar
1320 N Biscayne Point Rd                                                 RS Legacy Corporation fka RadioShack
Miami Beach, FL 33141                                6333      6/29/2015 Corporation                                                     $84.79                                                                                           $84.79
Hanke, Kevin A
1129 N Jackson Street #813                                               RS Legacy Corporation fka RadioShack
Milwaukee, WI 53202                                  6334      6/29/2015 Corporation                                                     $86.00                                                                                           $86.00
Cross Bronx Plaza LLP
Evan Lazerowitz, Attorney
Goldberg Weprin Finkel Goldstein LLP
1501 Brodway ‐ 22nd Fl.                                                  RS Legacy Corporation fka RadioShack
New York, NY 10036                                   6335      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
Cobb, Curt M.
Clerk and Master
1 Public Square
Room 302                                                                 RS Legacy Corporation fka RadioShack
Shelbyville, TN 37160                                6336      6/29/2015 Corporation                                                     $64.00                                                                                           $64.00
TROY COMMONS/STUART FRANKEL
1334 MAPLELAWN                                                           RS Legacy Corporation fka RadioShack
TROY, MI 48084                                       6337      6/29/2015 Corporation                                                  $1,200.00                                                                                        $1,200.00
FIRST ADVANTAGE ENTERPRISE SCREENING
CORPORATION
100 CARILLON PARKWAY                                                     RS Legacy Corporation fka RadioShack
ST. PETERSBURG, FL 33716                             6338      6/29/2015 Corporation                                                $67,264.86                                                                                        $67,264.86
MLive Media Group
Lacie Wendell
Advance Central Services Michigan
3102 Walker Ridge Drive NW                                               RS Legacy Corporation fka RadioShack
Walker, MI 49544                                     6339      6/29/2015 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                              Admin Priority
                                                                                                                                         Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                      Amount
Claim Docketed In Error                                       RS Legacy Corporation fka RadioShack
                                           6340      6/8/2015 Corporation                                                                                                                                                         $0.00
Belmontes, Teresa
1705 Alston Ave
Fort Worth, TX 76110                       6341      6/29/2015 TE Electronics LP                                                                   $0.00                                                                          $0.00
Alabama Media Group
Lacie Wendell
Advance Central Services Michigan
3102 Walker Ridge Drive NW                                     RS Legacy Corporation fka RadioShack
Walker, MI 49544                           6342      6/29/2015 Corporation                                                      $0.00                                                                                             $0.00
Belmontes, Teresa
1705 Alston Ave                                                RS Legacy Corporation fka RadioShack
Fort Worth, TX 76110                       6343      6/29/2015 Corporation                                                                         $0.00                                                                          $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                           6344      6/8/2015 Corporation                                                                                                                                                         $0.00
Cobb, Curt M.
Clerk and Master
1 Public Square
Room 302                                                       RS Legacy Corporation fka RadioShack
Shelbyville, TN 37160                      6345      6/29/2015 Corporation                                                     $65.98                                                                                            $65.98
Symon, Phillip K.
13151 EBB Tide Circle                                          RS Legacy Corporation fka RadioShack
North Royalton, OH 44133‐5973              6346      6/29/2015 Corporation                                                                                           $50.00                                                      $50.00
FLORENCE UTILITIES
PO BOX 877                                                     RS Legacy Corporation fka RadioShack
FLORENCE, AL 35631                         6347      6/29/2015 Corporation                                                    $516.51                                                                                           $516.51
Hyde Park Mall
John Azarian
c/o Kilstein & Kilstein, LLC
619 RiverDrive, St. 200                                        RS Legacy Corporation fka RadioShack
Elmwood Park, NJ 07407                     6348      6/29/2015 Corporation                                                      $0.00                                                                                             $0.00
THE HEIGHTS
C/O STUART FRANKEL DEVELOP CO
1334 MAPLELAWN                                                 RS Legacy Corporation fka RadioShack
TROY, MI 48084                             6349      6/29/2015 Corporation                                                  $2,749.99                                                                                         $2,749.99
Hyde Park Mall
C/O Azarian Mgmt & Dev
6 Prospect St Ste 1B                                           RS Legacy Corporation fka RadioShack
Midland Park, NJ 07432                     6350      6/29/2015 Corporation                                                      $0.00                                                                                             $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                           6351      6/8/2015 Corporation                                                                                                                                                         $0.00
Plue, Carol A.
2508 Weast Road                                                RS Legacy Corporation fka RadioShack
Pattersonville, NY 12137                   6352      6/29/2015 Corporation                                                     $30.00                                                                                            $30.00
Barker, Tom
6325 N. Barcelona Ln.
Apt. 705                                                       RS Legacy Corporation fka RadioShack
Tucson, AZ 85704                           6353      6/29/2015 Corporation                                                     $35.30                                                                                            $35.30
NEBRASKA DEPARTMENT OF REVENUE
Attention: Bankruptcy Unit
PO BOX 94818
LINCOLN, NE 68509‐4818                     6354      6/29/2015 SCK, Inc.                                                  $64,118.11           $73,454.00                                                                   $137,572.11



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                                                                                                                       Current General                                            Current 503(b)(9)
                                                                                                                                             Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address         Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
Rungruangviechakul, Oragan
709 Palmer Ct APT 1F                                                RS Legacy Corporation fka RadioShack
Mamaroneck, NY 10543                            6355      6/29/2015 Corporation                                                     $84.16                                                                                           $84.16
Rungruangviechakul, Oragan
709 Palmer Ct APT 1F                                                RS Legacy Corporation fka RadioShack
Mamaroneck, NY 10543                            6356      6/29/2015 Corporation                                                     $84.16                                                                                           $84.16
Pillard, Cheryl A
141 Stony Rd                                                        RS Legacy Corporation fka RadioShack
Lancaster, NY 14086                             6357      6/29/2015 Corporation                                                    $108.74                                                                                          $108.74
B & G PROPERTIES OF MARSHALL
711 W COLLEGE DR                                                    RS Legacy Corporation fka RadioShack
MARSHALL, MN 56258                              6358      6/29/2015 Corporation                                                  $9,581.00                                                                                        $9,581.00
Prince George's County, Maryland
c/o Meyers, Rodbell & Rosenbaum, P.A.
6801 Kenilworth Avenue, Suite 400                                   RS Legacy Corporation fka RadioShack
Riverdale, MD 20737‐1385                        6359      6/26/2015 Corporation                                                                                           $0.00                                                       $0.00
Downers Grove 764 LLC
c/o Morgan, Lewis & Bockius LLP
Attn: Neil Herman, Esq.
James Moore, Esq.
101 Park Avenue                                                     RS Legacy Corporation fka RadioShack
New York, NY 10178                              6360      6/29/2015 Corporation                                                  $9,957.47                                                                                        $9,957.47
Citrus Park Mall Owner LLC
c/o LeClairRyan, A Professional Corporation
Attn: Niclas A. Ferland, Esq.
545 Long Wharf Drive, 9th Floor                                     RS Legacy Corporation fka RadioShack
New Haven, CT 06511                             6361      6/29/2015 Corporation                                                    $238.70                                                                                          $238.70
Kimco Brownsville, L.P.
c/o Morgan, Lewis & Bockius LLP
Attn: Neil Herman, Esq.
James Moore, Esq.
101 Park Avenue                                                     RS Legacy Corporation fka RadioShack
New York, NY 10178                              6362      6/29/2015 Corporation                                                  $4,522.89                                                                                        $4,522.89
TOWN OF SMITHFIELD
PO BOX 761                                                          RS Legacy Corporation fka RadioShack
SMITHFIELD, NC 27577                            6363      6/29/2015 Corporation                                                  $1,217.94                                                                                        $1,217.94
Andrews, Elaine
PO Box 761                                                          RS Legacy Corporation fka RadioShack
Smithfield, NC 27577                            6364      6/29/2015 Corporation                                                                                                                                 $0.00                 $0.00
Widewaters Northgate Company, LLC
Joseph M. Snyder, Vice President ‐ Legal
The Widewaters Group, Inc., Managing Agent
5786 Widewaters Parkway, PO Box 3                                   RS Legacy Corporation fka RadioShack
DeWitt, NY 13214‐0003                           6365      6/29/2015 Corporation                                                  $8,047.05                                                                                        $8,047.05
McAlister, Jr, Willie J.
8308 W Main St                                                      RS Legacy Corporation fka RadioShack
Belleville, IL 62223                            6366      6/29/2015 Corporation                                                      $0.00                                                                                            $0.00
Monaco, Joe
2247 Lewis Rd                                                       RS Legacy Corporation fka RadioShack
Poultney, VT 05764                              6367      6/29/2015 Corporation                                                     $14.41                                                                                           $14.41




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            Creditor Name and Address              Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
Moore, Kevin
1400 Congress Pl. SE #302                                                RS Legacy Corporation fka RadioShack
Washington, DC 20020                                 6368      6/29/2015 Corporation                                                     $15.85                                                                                           $15.85
Countryside Mall LLC
c/o LeClairRyan, A Professional Corporation
Attn: Niclas A. Ferland, Esq.
545 Long Wharf Drive, 9th Floor                                          RS Legacy Corporation fka RadioShack
New Haven, CT 06511                                  6369      6/29/2015 Corporation                                                $95,150.40                                                                                        $95,150.40
Chatham Plaza, LLC
c/o Morgan, Lewis & Bockius LLP
Attn: Neil Herman, Esq.
James Moore, Esq.
101 Park Avenue                                                          RS Legacy Corporation fka RadioShack
New York, NY 10178                                   6370      6/29/2015 Corporation                                                $34,881.00                                                                                        $34,881.00
Luchi, Jean Marie
6316 Kennett Place                                                       RS Legacy Corporation fka RadioShack
Mission, KS 66205                                    6371      6/29/2015 Corporation                                                     $90.00                                                                                           $90.00
CITY OF DENTON
601 E HICKORY ST SUITE F                                                 RS Legacy Corporation fka RadioShack
DENTON, TX 76205                                     6372      6/29/2015 Corporation                                                  $1,166.50                                                                                        $1,166.50
Brandon Shopping Center Partners Ltd.
c/o LeClairRyan, A Professional Corporation
Attn: Niclas A. Ferland, Esq.
545 Long Wharf Drive, 9th Floor                                          RS Legacy Corporation fka RadioShack
New Haven, CT 06511                                  6373      6/29/2015 Corporation                                                  $1,799.47                                                                                        $1,799.47
Broward Mall LLC
c/o LeClairRyan, A Professional Corporation
Attn: Niclas A. Ferland, Esq.
545 Long Wharf Drive, 9th Floor                                          RS Legacy Corporation fka RadioShack
New Haven , CT 06511                                 6374      6/29/2015 Corporation                                                    $214.20                                                                                          $214.20
Annapolis Mall Owner LLC
c/o LeClairRyan, A Professional Corporation
Attn: Niclas A. Ferland, Esq.
545 Long Wharf Drive, 9th Floor                                          RS Legacy Corporation fka RadioShack
New Haven, CT 06511                                  6375      6/29/2015 Corporation                                               $153,654.56                                                                                       $153,654.56
Lowe, Marlin
127 Norval Lowe Rd                                                       RS Legacy Corporation fka RadioShack
Lowgap, NC 27024                                     6376      6/29/2015 Corporation                                                                       $32.10                                                                         $32.10

Highland Improvements, LLC (DLC Management
Corp) t/a Highland Square, Jacksonville, FL
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                           RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                               6377      6/29/2015 Corporation                                                $79,364.45                                                                                        $79,364.45
Lakewood Station LLC (Phillips Edison & Company)
t/a Lakewood Plaza, Spring Hill, FL
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                           RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                               6378      6/29/2015 Corporation                                                $53,991.50                                                                                        $53,991.50




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            Creditor Name and Address                  Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
Bowman, Kara
7727 Aster Ln.                                                               RS Legacy Corporation fka RadioShack
Jenison, MI 49428                                        6379      6/29/2015 Corporation                                                     $60.00                                                                                           $60.00
KIOP Branford LLC
c/o Morgan, Lewis & Bockius LLP
Attn: Neil Herman, Esq.
James Moore, Esq.
101 Park Avenue                                                              RS Legacy Corporation fka RadioShack
New York, NY 10178                                       6380      6/29/2015 Corporation                                                $67,548.25                                                                                        $67,548.25
Williams, Michelle
Employment Lawyers Group
13418 Ventura Blvd                                                           RS Legacy Corporation fka RadioShack
Sherman Oaks, CA 91423                                   6381      6/29/2015 Corporation                                               $250,000.00                                                                                       $250,000.00
KRCX Linwood Square, LLC
c/o Morgan, Lewis & Bockius LLP
Attn: Neil Herman, Esq.
James Moore, Esq.
101 Park Avenue                                                              RS Legacy Corporation fka RadioShack
New York, NY 10178                                       6382      6/29/2015 Corporation                                                $51,648.47                                                                                        $51,648.47
Howard, Steve
3855 Holbein Drive                                                           RS Legacy Corporation fka RadioShack
Zanesville, OH 43701                                     6383      6/29/2015 Corporation                                                    $500.00                                                                                          $500.00
VERMONT GAS SYSTEMS INC
Barbara Corrigan
85 Swift Street                                                              RS Legacy Corporation fka RadioShack
So. Burlington, VT 05403                                 6384      6/29/2015 Corporation                                                    $457.84                                                                                          $457.84

Quail Valley Station LLC (Phillips Edison & Company)
t/a Quail Valley Shopping Center, Missouri City, TX
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                               RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                                   6385      6/29/2015 Corporation                                                $35,261.73                                                                                        $35,261.73
RIVER POINTE IMPROVEMENTS, LP (DLC
MANAGEMENT CORP) t/a RIVER POINTE MALL,
MADISON, IN
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                   6386      6/29/2015 Corporation                                                $35,616.87                                                                                        $35,616.87
Berg, Susan
89 Cross St                                                                  RS Legacy Corporation fka RadioShack
Gardner, MA 01440                                        6387      6/29/2015 Corporation                                                    $136.01                                                                                          $136.01
MOUNTAIN VISTA PLAZA
12725 VENTURA BLVD STE A                                                     RS Legacy Corporation fka RadioShack
STUDIO CITY, CA 91604                                    6388      6/29/2015 Corporation                                                  $3,360.59                                                                                        $3,360.59




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            Creditor Name and Address                Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount
Plentino Realty, Ltd. (Pliskin Realty and
Development, Inc.) located at 940 Third Avenue,
New York, NY
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 6389      6/29/2015 Corporation                                                $30,257.58                                                                                        $30,257.58
Sunburst Station LLC (Phillips Edison & Company)
t/a Sunburst Plaza, Glendale, AZ
c/o David L. Pollack, Esq.
Ballard Spahr, LLP
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 6390      6/29/2015 Corporation                                                $46,160.95                                                                                        $46,160.95
Sunrise Mall LLC
c/o LeClairRyan, A Professional Corporation
Niclas A. Ferland, Esq.
545 Long Wharf Drive, 9th Floor                                            RS Legacy Corporation fka RadioShack
New Haven, CT 06511                                    6391      6/29/2015 Corporation                                                    $322.89                                                                                          $322.89
Pan Pacific (Bel Air Village) LLC
c/o Morgan, Lewis & Bockius LLP
Attn: Neil Herman, Esq.
James Moore, Esq.
101 Park Avenue                                                            RS Legacy Corporation fka RadioShack
New York, NY 10178                                     6392      6/29/2015 Corporation                                                $68,923.05                                                                                        $68,923.05
Governor Plaza Associates (Federal Realty
Investment Trust) t/a Governor Plaza, Glen Burnie,
MD
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 6393      6/29/2015 Corporation                                                $88,889.25                                                                                        $88,889.25
Williams, Michelle
Employment Lawyers Group
Karl Gerber
13418 Ventura Blvd                                                         RS Legacy Corporation fka RadioShack
Sherman Oaks, CA 91423                                 6394      6/29/2015 Corporation                                                      $0.00                                                                                            $0.00
Fournier, Nanci
24 Crescent St                                                             RS Legacy Corporation fka RadioShack
Wilmington, MA 01887                                   6395      6/29/2015 Corporation                                                     $30.88                                                                                           $30.88
MIDDLE TENNESSEE NATURAL GAS
PO BOX 720                                                                 RS Legacy Corporation fka RadioShack
SMITHVILLE, TN 37166‐0720                              6396      6/29/2015 Corporation                                                    $146.38                                                                                          $146.38
Howard, Steve
3855 Holbein Drive                                                         RS Legacy Corporation fka RadioShack
Zanesville, OH 43701                                   6397      6/29/2015 Corporation                                                    $500.00                                                                                          $500.00

Loch Raven Improvements, LLC (DLC Management
Corp) t/a Loch Raven Plaza, Towson, MD
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 6398      6/29/2015 Corporation                                                $54,603.86                                                                                        $54,603.86



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            Creditor Name and Address          Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
Croghan, Carol
10514 Adams Dr                                                       RS Legacy Corporation fka RadioShack
Omaha , NE 68127                                 6399      6/29/2015 Corporation                                                                                          $25.00                                                      $25.00
New Creek II LLC
c/o Morgan, Lewis & Bockius LLP
Attn: Neil Herman, Esq., James Moore, Esq.
101 Park Avenue                                                      RS Legacy Corporation fka RadioShack
New York, NY 10178                               6400      6/29/2015 Corporation                                               $158,265.12                                                                                       $158,265.12
Union Consumer Improvements, LLC (DLC
Management Corp) t/a Union Consumer Square,
Cheektowaga, NY
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                       RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                           6401      6/29/2015 Corporation                                                $23,058.98                                                                                        $23,058.98
Noel, Patricia
137‐26 224TH STREET                                                  RS Legacy Customer Service LLC fka RadioShack
LAURELTON, NY 11413‐2426                         6402      6/30/2015 Customer Service LLC                                                                                 $69.96               $0.00                                  $69.96
Lapinski, Charles
152 W Hollow Rd                                                      RS Legacy Corporation fka RadioShack
Nescopeck, PA 18635                              6403      6/29/2015 Corporation                                                                      $100.00                                                                        $100.00
Rockingham 620, Inc.
c/o Morgan, Lewis & Bockius LLP
Attn: Neil Herman, Esq., James Moore, Esq.
101 Park Avenue                                                      RS Legacy Corporation fka RadioShack
New York, NY 10178                               6404      6/29/2015 Corporation                                                  $5,686.46                                                                                        $5,686.46
Fox Valley Mall LLC
c/o LeClairRyan, A Professional Corporation
Attn: Niclas A. Ferland, Esq.
545 Long Wharf Drive, 9th Floor                                      RS Legacy Corporation fka RadioShack
New Haven, CT 06511                              6405      6/29/2015 Corporation                                                  $2,589.09                                                                                        $2,589.09
PK II Tanasbourne Village LP
c/o Morgan, Lewis & Bockius LLP
Attn: Neil Herman, Esq., James Moore, Esq.
101 Park Avenue                                                      RS Legacy Corporation fka RadioShack
New York, NY 10178                               6406      6/29/2015 Corporation                                                  $1,569.44                                                                                        $1,569.44
MC Corp.
c/o Morgan, Lewis & Bockius LLP
Attn: Neil Herman, Esq., James Moore, Esq.
101 Park Avenue                                                      RS Legacy Corporation fka RadioShack
New York, NY 10178                               6407      6/29/2015 Corporation                                                $74,251.52                                                                                        $74,251.52
Vik, David R.
11977 Fern Beach Drive                                               RS Legacy Corporation fka RadioShack
Detroit Lakes, MN 56501                          6408      6/29/2015 Corporation                                                     $57.48                                                                                           $57.48
Hoke Crossing Station LLC (Phillips Edison &
Company) t/a Hoke Crossing, Clayton, OH
c/o Ballard Spahr LLP
David L. Pollack, Esq.
1735 Market Street, 51st Floor                                       RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                           6409      6/29/2015 Corporation                                                $53,653.11                                                                                        $53,653.11




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            Creditor Name and Address                 Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
Tri City Improvements, LLC (DLC Management
Corp.) t/a Tri City Plaza, Vernon, CT
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                  6410      6/29/2015 Corporation                                                  $7,193.40                                                                                        $7,193.40
The Connecticut Post Limited Partnership
c/o LeClairRyan, A Professional Corporation
Attn: Niclas A. Ferland, Esq.
545 Long Wharf Drive, 9th Floor                                             RS Legacy Corporation fka RadioShack
New Haven, CT 06511                                     6411      6/29/2015 Corporation                                                  $1,300.91                                                                                        $1,300.91
KRG Draper Peaks, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                   RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                      6412      6/29/2015 Corporation                                                      $0.00                                                                                            $0.00
Levittown, LP (DLC Management Corp.) t/a
Levittown Town Center, Levittown PA
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
Philadelphia , PA 19103                                 6413      6/29/2015 Corporation                                                $11,290.12                                                                                        $11,290.12
CITY OF SANTA ANA
Bich Ta
20 Civic Center Plaza, M‐17                                                 RS Legacy Corporation fka RadioShack
Santa Ana, CA 92702                                     6414      6/29/2015 Corporation                                                                                                                                 $0.00                 $0.00
WP Mayfair Associates, L.P. (WP Realty) Mayfair
Shopping Center, Philadelphia, PA
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                  6415      6/29/2015 Corporation                                                $28,880.76                                                                                        $28,880.76
Hughes, Erika R.
3701 Sacramento Street, #133                                                RS Legacy Corporation fka RadioShack
San Francisco, CA 94118                                 6416      6/29/2015 Corporation                                                      $0.00                                                                                            $0.00
Federal Realty Investment Trust t/a Laurel Shopping
Center, Laurel, MD
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                  6417      6/29/2015 Corporation                                               $113,467.71                                                                                       $113,467.71
VERMONT GAS SYSTEMS INC
Barbara Corrigan
85 Swift Street                                                             RS Legacy Corporation fka RadioShack
So. Burlington, VT 05403                                6418      6/29/2015 Corporation                                                    $311.53                                                                                          $311.53
Howard, Norman
2822 Preece St.                                                             RS Legacy Corporation fka RadioShack
San Diego, CA 92111                                     6419      6/29/2015 Corporation                                                                      $194.39                                                                        $194.39




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            Creditor Name and Address                  Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
NEBRASKA DEPARTMENT OF REVENUE
Attention: Bankruptcy Unit
PO BOX 94818
LINCOLN, NE 68509‐4818                                   6420      6/29/2015 SCK, Inc.                                                        $0.00              $0.00                                                                         $0.00

Rap Heart, LLC (Pliskin Realty & Development, Inc.)
located at 15005 E. Eight Mile Road, Eastpoint, MI
DAVID L. POLLACK, ESQ.
BALLARD SPAHR LLP
1735 MARKET STREET, 51ST FLOOR                                               RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                                   6421      6/29/2015 Corporation                                                $79,161.65                                                                                        $79,161.65

Fairlawn Station LLC (Phillips Edison & Company) t/a
Fairlawn Town Centre, Fairlawn, OH
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                   6422      6/29/2015 Corporation                                                $51,619.29                                                                                        $51,619.29

Walgreen of Hawaii, LLC (DLC Management Corp)
t/a Nuuanu Shopping Center, Honolulu, HI
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                   6423      6/29/2015 Corporation                                               $178,630.98                                                                                       $178,630.98
Fawzy Sedrak t/a 901 W. Pioneer Parkway,
Arlington, TX
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                   6424      6/29/2015 Corporation                                                $90,077.69                                                                                        $90,077.69
PK Signal Hill, L.P.
c/o Morgan, Lewis & Bockius LLP
Attn: Neil Herman, Esq., James Moore, Esq.
101 Park Avenue                                                              RS Legacy Corporation fka RadioShack
New York, NY 10178                                       6425      6/29/2015 Corporation                                                $63,703.53                                                                                        $63,703.53

Nordan Station LP (Phillips Edison & Company) t/a
Nordan Shopping Center, Danville, VA
c/o David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                               RS Legacy Corporation fka RadioShack
Philadelphia , PA 19103                                  6426      6/29/2015 Corporation                                                $11,323.60                                                                                        $11,323.60
KRG Draper Peaks, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                    RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                       6427      6/29/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
NORTHSTAR PLAZA SC, LTD (CENCOR REALTY
SERVICES, INC.) T/A NORTHSTAR PLAZA, GARLAND,
TX
C/O DAVID L. POLLACK
BALLARD SPAHR LLP
1735 MARKET STREET, 51ST FLOOR                                           RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                               6428      6/29/2015 Corporation                                                  $2,528.45                                                                                        $2,528.45
SWC Fry Road/W Little York, Ltd. (Cencor Realty
Services, Inc.) t/a Eagle Ranch Shopping Center,
Katy, TX
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                           RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                               6429      6/29/2015 Corporation                                                $52,796.08                                                                                        $52,796.08
GTM DEVELOPMENT, LTD (CENCOR REALTY
SERVICES, INC.) T/A GOLDEN TRIANGLE MALL,
DENTON, TX
C/O DAVID L. POLLACK
BALLARD SPAHR LLP
1735 MARKET STREET, 51ST FLOOR                                           RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                               6430      6/29/2015 Corporation                                                  $5,903.05                                                                                        $5,903.05
VERMONT GAS SYSTEMS INC
Barbara Corrigan
85 Swift Street                                                          RS Legacy Corporation fka RadioShack
So. Burlington, VT 05403                             6431      6/29/2015 Corporation                                                     $40.16                                                                                           $40.16
MEMORIAL CITY MALL, LP (METRONATIONAL) T/A
MEMORIAL CITY MALL, HOUSTON, TX
DAVID L. POLLACK, ESQ.
BALLARD SPAHR LLP
1735 MARKET STREET, 51ST FLOOR                                           RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                               6432      6/29/2015 Corporation                                                $23,848.38                                                                                        $23,848.38
ROCKWOOD WATER DISTRICT
19601 NE Halsey Street                                                   RS Legacy Corporation fka RadioShack
Portland, OR 97230                                   6433      6/29/2015 Corporation                                                     $28.69                                                                                           $28.69

Brixmor Property Owner II, LLC (Brixmor Property
Group, Inc.) t/a Vallejo Corners, Vallejo, CA
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                           RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                               6434      6/29/2015 Corporation                                                $58,719.04                                                                                        $58,719.04
Wheaton Plaza Regional Shopping Center LLC
c/o LeClairRyan, A Professional Corporation
Attn: Niclas A. Ferland, Esq.
545 Long Wharf Drive, 9th Floor                                          RS Legacy Corporation fka RadioShack
New Haven, CT 06511                                  6435      6/29/2015 Corporation                                                    $817.21                                                                                          $817.21




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            Creditor Name and Address                   Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                     Amount                                                     Amount
Gibraltar Management Co., Inc. in its capacity as the
authorized agent for Claimant GBR Green Acres
Limited Liability Company
c/o Morgan, Lewis & Bockius LLP
Attn: Neil Herman, Esq. James Moore, Esq.
101 Park Avenue                                                               RS Legacy Corporation fka RadioShack
New York, NY 10178                                        6436      6/29/2015 Corporation                                                  $5,305.42                                                                                        $5,305.42
BRE Retail Residual Owner 6 LLC (Brixmor Property
Group, Inc.) t/a Sun Ray Shopping Center, St. Paul,
MN
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                                RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                                    6437      6/29/2015 Corporation                                                $48,777.25                                                                                        $48,777.25

Westland Garden State Plaza Limited Partnership
c/o LeClairRyan, A Professional Corporation
Attn: Niclas A. Ferland, Esq.
545 Long Wharf Drive, 9th Floor                                               RS Legacy Corporation fka RadioShack
New Haven, CT 06511                                       6438      6/29/2015 Corporation                                               $164,333.41                                                                                       $164,333.41
VF Mall LLC
c/o LeClairRyan, A Professional Corporation
Attn: Niclas A. Ferland, Esq.
545 Long Wharf Drive, 9th Floor                                               RS Legacy Corporation fka RadioShack
New Haven, CT 06511                                       6439      6/29/2015 Corporation                                                  $3,483.56                                                                                        $3,483.56

Five Town Station LLC (Phillips Edison & Company)
t/a Five Town Plaza, Springfield, MA
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                    6440      6/29/2015 Corporation                                                $35,872.44                                                                                        $35,872.44
Verendrye Electric Coop Inc
615 HIGHWAY 52 WEST                                                           RS Legacy Corporation fka RadioShack
VELVA, ND 58790                                           6441      6/29/2015 Corporation                                                     $74.39                                                                                           $74.39

Guadalupe Station LLC (Phillips Edison & Company)
t/a Guadalupe Plaza, Albuquerque, NM
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                    6442      6/29/2015 Corporation                                                $28,223.09                                                                                        $28,223.09
Greenwood Station LLC (Phillips Edison & Company)
t/a Greenwood West Shopping Center, Greenwood,
MS
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                    6443      6/29/2015 Corporation                                                $29,580.00                                                                                        $29,580.00




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            Creditor Name and Address                   Claim No.   Claim Date                      Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                       Amount                                                     Amount
Flag City Station LLC (Phillips Edison & Company) t/a
Flag City Station, Findlay, OH
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                                RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                                    6444      6/29/2015 Corporation                                                    $6,800.81                                                                                        $6,800.81
Hurstbourne Station LLC (Phillips Edison &
Company) t/a Town Fair Center, Louisville, KY
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                                RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                                    6445      6/29/2015 Corporation                                                  $23,294.45                                                                                        $23,294.45
Hawthorn, L.P.
ATTN: Niclas A. Ferland, Esq.
c/o LeClairRyan, A Professional Corporation
545 Long Wharf Drive, 9th Floor                                               RS Legacy Corporation fka RadioShack
New Haven, CT 06511                                       6446      6/29/2015 Corporation                                                    $3,508.47                                                                                        $3,508.47
Gaskins, Amy
44140 Via Real #2                                                             RS Legacy Customer Service LLC fka RadioShack
Carpinteria, CA 93013                                     6447      6/29/2015 Customer Service LLC                                              $50.00                                                                                           $50.00
Spampinato, Anna
160 Elwood Ave
Hawthorne, NY 10532                                       6448      6/29/2015 Atlantic Retail Ventures, Inc.                                                                         $28.98                                                      $28.98
Town & Country Noblesville Station LLC (Phillips
Edison & Company) t/a Town & Country Shopping
Center, Noblesville, IN
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                    6449      6/29/2015 Corporation                                                  $46,293.83                                                                                        $46,293.83
BRIXMOR GA APOLLO IV SUB LLC (BRIXMOR
PROPERTY GROUP, INC.) T/A GENESEE VALLEY
SHOPPING CENTER, GENESEE, NY
BALLARD SPAHR LLP
DAVID L. POLLACK
1735 MARKET STREET
51ST FLOOR                                                                    RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                                    6450      6/29/2015 Corporation                                                  $41,153.64                                                                                        $41,153.64
Sherman Oaks Fashion Associates, LP
c/o LeClairRyan, A Professional Corporation
Attn: Niclas A. Ferland, Esq.
545 Long Wharf Drive, 9th Floor                                               RS Legacy Corporation fka RadioShack
New Haven, CT 06511                                       6451      6/29/2015 Corporation                                                 $125,426.13                                                                                       $125,426.13
Willowbrook Center Partnership
c/o Morgan, Lewis & Bockius LLP
Attn: Neil E. Herman, Esq., James Moore, Esq.
101 Park Avenue                                                               RS Legacy Corporation fka RadioShack
New York, NY 10178                                        6452      6/29/2015 Corporation                                                  $82,959.72                                                                                        $82,959.72




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            Creditor Name and Address                   Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                     Amount                                                     Amount
WEA Palm Desert LLC
c/o LeClairRyan, A Professional Corporation
Attn: Niclas A. Ferland, Esq.
545 Long Wharf Drive, 9th Floor                                               RS Legacy Corporation fka RadioShack
New Haven, CT 06511                                       6453      6/29/2015 Corporation                                               $104,199.98                                                                                       $104,199.98
Santee Trolley Square 91, L.P.
c/o Morgan, Lewis & Bockius LLP
Attn: Neil Herman, Esq.
James Moore, Esq.
101 Park Avenue                                                               RS Legacy Corporation fka RadioShack
New York, NY 10178                                        6454      6/29/2015 Corporation                                                $83,853.56                                                                                        $83,853.56
Vancouver Mall II LLC
Attn: Niclas A. Ferland, Esq.
c/o LeClairRyan, A Professional Corporation
545 Long Whartf Drive, 9th Floor                                              RS Legacy Corporation fka RadioShack
New Haven, CT 06511                                       6455      6/29/2015 Corporation                                               $122,210.87                                                                                       $122,210.87
Westfield Topanga Owner LLC
c/o LeClairRyan, A Professional Corporation
Attn: Niclas A. Ferland, Esq.
545 Long Wharf Drive, 9th Floor                                               RS Legacy Corporation fka RadioShack
New Haven, CT 06511                                       6456      6/29/2015 Corporation                                               $207,067.76                                                                                       $207,067.76
Duquesne Light Company
Peter J. Ashcroft
Bernstein‐Burkley, P.C.
707 Grant St., Suite 2200
Gulf Tower                                                                    RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15219                                      6457      6/29/2015 Corporation                                                $13,954.32                                                                                        $13,954.32
VERMONT GAS SYSTEMS INC
Barbara Corrigan
85 Swift Street                                                               RS Legacy Corporation fka RadioShack
So. Burlington, VT 05403                                  6458      6/29/2015 Corporation                                                    $672.75                                                                                          $672.75
Mel Wheeler, Inc. dba
WSLQ/WSLC/WXLK/WVBE/WFIR/WLNI
3934 Electric Rd., SW                                                         RS Legacy Corporation fka RadioShack
Roanoke, VA 24018                                         6459      6/29/2015 Corporation                                                  $4,781.25                                                                                        $4,781.25
Pitrock Realty Corp. (Pliskin Realty and
Development, Inc.) located at 5005 N. Crescent
Blvd., Pennsauken, NJ
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                    6460      6/29/2015 Corporation                                                  $4,937.99                                                                                        $4,937.99
Gibraltar Management Co., Inc. in its capacity as the
authorized agent for claimant
GBR Middlesex Limited Liability Company
c/o MORGAN, LEWIS & BOCKIUS LLP
Attn: Neil E. Herman, Esq., James Moore, Esq.
101 Park Avenue                                                               RS Legacy Corporation fka RadioShack
New York, NY 10178                                        6461      6/29/2015 Corporation                                                  $7,971.30              $0.00                                                                     $7,971.30




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            Creditor Name and Address                Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount
PK I Cheyenne Commons LLC
c/o Morgan, Lewis & Bockius LLP
Attn: Neil Herman, Esq.
James Moore, Esq.
101 Park Avenue                                                            RS Legacy Corporation fka RadioShack
New York, NY 10178                                     6462      6/29/2015 Corporation                                                  $6,446.14                                                                                        $6,446.14
Federal Realty Investment Trust t/a Eastgate
Shopping Center, Chapel Hill, NC
Ballard Spahr LLP
c/o David L. Pollack, Esq.
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 6463      6/29/2015 Corporation                                                $75,275.91                                                                                        $75,275.91
Kimco Tyvola, LP
c/o Morgan, Lewis & Bockius LLP
Attn: Neil Herman, Esq.
James Moore, Esq.
101 Park Avenue                                                            RS Legacy Corporation fka RadioShack
New York, NY 10178                                     6464      6/29/2015 Corporation                                                $43,051.00                                                                                        $43,051.00

Shakopee Station LLC (Phillips Edison & Company)
t/a Crossroads of Shakopee, Shakopee, MN
Ballard Spahr LLP
c/o David L. Pollack, Esq.
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 6465      6/29/2015 Corporation                                                $66,799.10                                                                                        $66,799.10
New Plan Hampton Village, LLC (Brixmor Property
Group, Inc.) t/a Hampton Village Centre, Rochester
Hills, MI
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 6466      6/29/2015 Corporation                                                $59,373.82                                                                                        $59,373.82
University City Associates, Inc. (Trustee of the
University of Penn) t/a University S.C. (Hamilton
Square), Philadelphia, PA
C/O David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                                 6467      6/29/2015 Corporation                                                $73,847.04                                                                                        $73,847.04
Sarasota Shoppingtown LLC
c/o LeClairRyan, A Professional Corporation
Attn: Niclas A. Ferland, Esq.
545 Long Whartf Drive, 9th Floor                                           RS Legacy Corporation fka RadioShack
New Haven, CT 06511                                    6468      6/29/2015 Corporation                                               $110,153.51                                                                                       $110,153.51
Vermont‐Slauson Shopping Center Ltd., L.P.
c/o Morgan, Lewis & Bockius LLP
Attn: Neil Herman, Esq.
James Moore, Esq.
101 Park Avenue                                                            RS Legacy Corporation fka RadioShack
New York, NY 10178                                     6469      6/29/2015 Corporation                                               $112,944.26                                                                                       $112,944.26




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            Creditor Name and Address                 Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount

Thomaston South Associates, LLC t/a Thomaston
South Shopping Center, Thomaston, GA
David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                  6470      6/29/2015 Corporation                                                $31,450.19                                                                                        $31,450.19
LEHANE, LYNN C
66‐00 LONG ISLAND EXPWY STE 301                                             RS Legacy Corporation fka RadioShack
MASPETH, NY 11378                                       6471      6/29/2015 Corporation                                                                                                                                 $0.00                 $0.00
GE CAPITAL SOLUTIONS FLEET SERVICES
ATTN: KEITH BERGQUIST, BANKRUPTCY /
LITIGATION MANAGER
3 CAPITAL DRIVE                                                             RS Legacy Corporation fka RadioShack
EDEN PRAIRIE, MN 55344                                  6472      6/29/2015 Corporation                                                                                       $2,161.72                                                   $2,161.72

Brixmor Hanover Square SC, LLC (Brixmor Property
Group, Inc.) t/a Hanover Square, Mechanicsville, VA
C/O David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                  6473      6/29/2015 Corporation                                                  $3,547.64                                                                                        $3,547.64

Arapahoe Crossings, L.P. (Brixmor Property Group,
Inc.) t/a Arapahoe Crossings, Aurora, CO
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                  6474      6/29/2015 Corporation                                                $65,071.51                                                                                        $65,071.51
Zabinsky, Jean
HC 38 Box 7862                                                              RS Legacy Corporation fka RadioShack
Guanica, PR 00653                                       6475      6/29/2015 Corporation                                                                         $0.00                                                                         $0.00
FEDERAL REALTY INVESTMENT TRUST t/a TOWER
SHOPPING CENTER, SPRINGFIELD, VA
c/o David L. Pollack, Esq.
Billard Spahr LLP
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                  6476      6/29/2015 Corporation                                               $123,180.78                                                                                       $123,180.78
Herron, Arthur F.
c/o Slater Slater Schulman LLP
445 Broad Hollow Road, Suite 334                                            RS Legacy Corporation fka RadioShack
Melville, NY 11747                                      6477      6/29/2015 Corporation                                                  $5,000.00                                                                                        $5,000.00
Pekkar, Moshe
5882 Hobart St                                                              RS Legacy Customer Service LLC fka RadioShack
Pittsburgh, PA 15217                                    6478      6/29/2015 Customer Service LLC                                            $30.00                                                                                           $30.00
Walgreens Co. (DLC Management Corp.) t/a
Muskegon‐Sherman, Muskegon, MI
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                  6479      6/29/2015 Corporation                                                $15,228.09                                                                                        $15,228.09




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            Creditor Name and Address                   Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                     Amount                                                     Amount
WP Wells Associates, L.P. (WP Realty, Inc.) t/a Wells
Plaza, Wells, ME
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                    6480      6/29/2015 Corporation                                                $21,132.35                                                                                        $21,132.35
KIMCO DELAWARE INC.
c/o Morgan, Lewis & Bockius LLP
Attn: Neil Herman, Esq., James Moore, Esq.
101 Park Avenue                                                               RS Legacy Corporation fka RadioShack
New York, NY 10178                                        6481      6/29/2015 Corporation                                                $74,356.42                                                                                        $74,356.42
Dore, Joanne
146 Howells Road                                                              RS Legacy Corporation fka RadioShack
Middletown, NY 10940                                      6482      6/29/2015 Corporation                                                      $0.00                                                                                            $0.00
Federal Realty Investment Trust t/a Leesburg Plaza,
Leesburg, VA
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                    6483      6/29/2015 Corporation                                                  $7,321.43                                                                                        $7,321.43
CITY OF WEATHERFORD
PO BOX 255                                                                    RS Legacy Corporation fka RadioShack
WEATHERFORD, TX 76086                                     6484      6/29/2015 Corporation                                                  $1,470.83                                                $1,086.66                               $2,557.49
Parmatown Station LLC (Phillips Edison & Company)
t/a Parmatown Mall, Parma, OH
c/o David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                                RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                                    6485      6/29/2015 Corporation                                                $76,991.34                                                                                        $76,991.34

Federal Realty Investment Trust t/a Gaithersburg
Square Shopping Center, Gaithersburg, MD
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                    6486      6/29/2015 Corporation                                                  $5,693.61                                                                                        $5,693.61
Paddock Place GP
Fred Russell Harwell
Adams and Reese LLP
424 Church Street, Suite 2700                                                 RS Legacy Corporation fka RadioShack
Nashville, TN 37219                                       6487      6/29/2015 Corporation                                                    $444.38                                                                      $0.00               $444.38
Earlie, Tom
38 Paige Ln.                                                                  RS Legacy Corporation fka RadioShack
Moriches, NY 11955                                        6488      6/30/2015 Corporation                                                     $50.00                                                                                           $50.00
Guidry, Jennifer
1208 Lafayette Street                                                         RS Legacy Corporation fka RadioShack
Scott, LA 70583                                           6489      6/30/2015 Corporation                                                                                          $40.00                                                      $40.00
Maxwell, G L
PO Box 2350                                                                   RS Legacy Corporation fka RadioShack
Allen, TX 75013                                           6490      6/30/2015 Corporation                                                     $28.36                                                                                           $28.36




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            Creditor Name and Address                Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount

BRE Mariner Milestone Plaza LLC (Brixmor Property
Group, Inc.) t/a Milestone Plaza, Greenville, SC
c/o David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 6491      6/29/2015 Corporation                                                $56,190.95                                                                                        $56,190.95
KRT Property Holdings LLC (Brixmor Property Group,
Inc.) t/a Bristol Park, Bristol, PA
c/o David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 6492      6/29/2015 Corporation                                                  $1,453.42                                                                                        $1,453.42

FR PIKE 7 LIMITED PARTNERSHIP (FEDERAL REALTY
INVESTMENT TRUST) t/a PIKE 7 PLAZA, VIENNA, VA
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 6493      6/29/2015 Corporation                                               $164,885.71                                                                                       $164,885.71
Trumbull Shopping Center #2 LLC
Niclas A. Ferland, Esq.
LeClairRyan, A Professional Corporation
545 Long Whartf Drive, 9th Floor                                           RS Legacy Corporation fka RadioShack
New Haven, CT 06511                                    6494      6/29/2015 Corporation                                                  $3,458.88                                                                                        $3,458.88
Metaxa Properties LLC
2455 Beechwood Ave                                                         RS Legacy Corporation fka RadioShack
SAN JOSE, CA 95128                                     6495      6/30/2015 Corporation                                                                                                                                 $0.00                 $0.00
Liberty Mutual Insurance Company
100 Liberty Way
PO Box 1525                                                                RS Legacy Corporation fka RadioShack
Dover, NH 03821‐1525                                   6496      6/30/2015 Corporation                                                      $0.00                                $0.00                                                       $0.00
Zeppetini, Anne
119 MISTY LANE NE                                                          RS Legacy Corporation fka RadioShack
EATONTON, GA 31024                                     6497      6/30/2015 Corporation                                                     $64.19                                                                                           $64.19
Scully, Kevin
70 Chadwick Road                                                           RS Legacy Corporation fka RadioShack
White Plains, NY 10604                                 6498      6/30/2015 Corporation                                                     $12.07                                                                                           $12.07
Stafford, Stephanee
435 Cerro Vera Way                                                         RS Legacy Corporation fka RadioShack
San Jacinto, CA 92582                                  6499      6/30/2015 Corporation                                                     $36.00                                                                                           $36.00
Wayland, Jacob
904 NW 168th Street                                                        RS Legacy Corporation fka RadioShack
Edmond, OK 73012                                       6500      6/30/2015 Corporation                                                     $10.00                                                                                           $10.00
MADISON GAS & ELECTRIC
Barbara Severson
Attention: Admin Support
133 South Blair St                                                         RS Legacy Corporation fka RadioShack
Madison, WI 53788                                      6501      6/30/2015 Corporation                                                  $4,322.39                                                                                        $4,322.39
Walden, Kylie
1004 E. Chestnut St                                                        RS Legacy Corporation fka RadioShack
Crawfordsville, IN 47933                               6502      6/30/2015 Corporation                                                                       $50.00                                  $0.00                                  $50.00



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            Creditor Name and Address                Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount
Schaffler, Robin
85 Hickman Street                                                          RS Legacy Corporation fka RadioShack
Syosset, NY 11791                                      6503      6/30/2015 Corporation                                                     $24.02                                                                                           $24.02
ZP NO. 116, LC
c/o Zimmer Management Company
PO Box 2628                                                                RS Legacy Corporation fka RadioShack
Wilmington, NC 28402                                   6504      6/29/2015 Corporation                                                      $0.00                                                                                            $0.00
L & J MANCHESTER II LLC
HSBC BANK USA NA
452 5TH AVENUE 27TH FLOOR                                                  RS Legacy Corporation fka RadioShack
NEW YORK, NY 10018                                     6505      6/29/2015 Corporation                                                $12,780.81                                                                                        $12,780.81
City of Enid Utility Services
Attn: Andrea L. Chism
401 West Owen K. Garriott Road                                             RS Legacy Corporation fka RadioShack
Enid, OK 73702                                         6506      6/30/2015 Corporation                                                     $77.65                                                                                           $77.65
Orange Improvements Partnership (DLC
Management Corp) t/a Orange Promenade, Orange,
CT
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 6507      6/29/2015 Corporation                                                $57,044.36                                                                                        $57,044.36
Westar Energy Inc
Attn: Bankruptcy Dept
PO Box 208                                                                 RS Legacy Corporation fka RadioShack
Wichita, KS 67201‐0208                                 6508      6/23/2015 Corporation                                                                                                               $0.00                                   $0.00

BRE Throne Applegate Ranch LLC (Brixmor Proerty
Group, Inc.) t/a Applegate Ranch S.C., Atwater, CA
c/o Ballard Spahr LLP
David L. Pollack, Esq.
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 6509      6/29/2015 Corporation                                                $52,443.91                                                                                        $52,443.91

Brixmor Montebello Plaza, L.P. (Brixmor Property
Group, Inc.) t/a Montebello Plaza, Montebello, CA
c/o David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 6510      6/29/2015 Corporation                                                $23,145.11                                                                                        $23,145.11
Dasi, Inc
PO Box 805                                                                 RS Legacy Corporation fka RadioShack
Newton, NJ 07860                                       6511      6/30/2015 Corporation                                                                       $40.00                                                                         $40.00
WBCMT 2004‐C12 Mall at Waycross LLC, a Delaware
limited liability company
c/o Torchlight Loan Services, LLC
Attn: Javier A. Callejas
701 Brickell Avenue, Suite 2200                                            RS Legacy Corporation fka RadioShack
Miami, FL 33131                                        6512      6/30/2015 Corporation                                                  $1,782.86                                                                                        $1,782.86
Widner, Lisa C
12021 Bob White Dr                                                         RS Legacy Corporation fka RadioShack
Houston, TX 77035                                      6513      6/30/2015 Corporation                                                     $16.23                                                                                           $16.23



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                                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                  Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
Jackson, Phillip W
6308 Maplebrook Lane                                                         RS Legacy Corporation fka RadioShack
Flint, MI 48507                                          6514      6/30/2015 Corporation                                                                         $0.00                                                                         $0.00
Hom, Judi
590 Tahmore Drive                                                            RS Legacy Corporation fka RadioShack
Fairfield , CT 06825                                     6515      6/30/2015 Corporation                                                    $100.00                                                                                          $100.00
Henrico County, Virginia (Acct # 0079352‐
00566888)
Jason M. Hart, Asst. County Attorney
PO Box 90775                                                                 RS Legacy Corporation fka RadioShack
Henrico, VA 23273‐0775                                   6516      6/30/2015 Corporation                                                    $436.10                                                                                          $436.10
Brixmor Property Owner II, LLC (Brixmor Property
Group, Inc.) t/a Puente Hills Center, Rowland
Heights, CA
c/o David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                   6517      6/29/2015 Corporation                                                $15,412.41                                                                                        $15,412.41
BRE Retail NP Kimball Crossing Owner LLC (Brixmor
Property Group, Inc.) t/a Kimball Crossing, Kimball,
TN
David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                   6518      6/29/2015 Corporation                                                  $1,325.84                                                                                        $1,325.84
Donahue, Dianne
1937 S. 10th Ave                                                             RS Legacy Corporation fka RadioShack
Maywood, IL 60153                                        6519      6/30/2015 Corporation                                                                         $0.00                                                                         $0.00
JRS INC
Jack Sexton, Owner
2203 W Main St                                                               RS Legacy Corporation fka RadioShack
CLARKSVILLE, AR 72830‐3250                               6520      6/29/2015 Corporation                                               $150,000.00               $0.00                                                                   $150,000.00
Futrell, Ronda
67‐35 Kissena Blvd Apt 5D                                                    RS Legacy Customer Service LLC fka RadioShack
Flushing, NY 11367                                       6521      6/30/2015 Customer Service LLC                                            $76.21                                                                                           $76.21
VENTURE INVESTMENT PARTNERS, LLP
KEEFE REAL ESTATE, INC.
751 GENEVA PARKWAY, PO BOX 460                                               RS Legacy Corporation fka RadioShack
LAKE GENEVA, WI 53147                                    6522      6/29/2015 Corporation                                                  $2,442.00                                                                                        $2,442.00
Springfield Commercial Investments LLC
C/O The Gilbert Group Inc Re
Attn: Jess Kester
203 East Broad St                                                            RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                       6523      6/30/2015 Corporation                                                                                                                                 $0.00                 $0.00
Guzman, Lourdes
133‐13 121st Street                                                          RS Legacy Corporation fka RadioShack
South Ozone Pk, NY 11420                                 6524      6/30/2015 Corporation                                                     $32.65                                                                                           $32.65




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                                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                  Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
Walgreens Co. (DLC Management Corp.) t/a
Muskegon‐Sherman, Muskegon, MI
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                   6525      6/29/2015 Corporation                                                      $0.00                                                                                            $0.00

Henrico County Virginia (Acct #0033721‐00252539)
Jason M. Hart, Asst. County Attorney
PO Box 90775                                                                 RS Legacy Corporation fka RadioShack
Henrico, VA 23273‐0775                                   6526      6/30/2015 Corporation                                                     $44.61                                                                                           $44.61
Brixmor Cross Keys Commons LLC (Brixmor Property
Group, Inc.) t/a Cross Keys Commons, Turnersville,
NJ
c/o David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                   6527      6/29/2015 Corporation                                                $47,273.98                                                                                        $47,273.98
KOP Perkins Farm Marketplace LLC (Brixmor
Property Group, Inc.) t/a Perkins Farm Marketplace,
Worcester, MA
c/o David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                   6528      6/29/2015 Corporation                                                $47,855.00                                                                                        $47,855.00
Claim Docketed In Error                                                      RS Legacy Corporation fka RadioShack
                                                         6529      6/8/2015 Corporation                                                                                                                                                        $0.00
Airport Mall Associates, LLC (WP Realty) t/a Airport
Mall, Bangor, ME
David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                               RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                                   6530      6/29/2015 Corporation                                                $13,163.81                                                                                        $13,163.81
Mullen, Gregg J.
3108 TIMBER RIDGE CIRCLE                                                     RS Legacy Corporation fka RadioShack
White Hall, MD 21161‐8982                                6531      6/30/2015 Corporation                                                     $25.00                                                                                           $25.00
Wisconsin Department of Revenue
Special Procedures Unit
PO Box 8901                                                                  RS Legacy Corporation fka RadioShack
Madison, WI 53708‐8901                                   6532      6/30/2015 Corporation                                                                         $0.00                                                                         $0.00
Federal Realty Investment Trust t/a Lawrence Park
Shopping Center, Broomall, PA
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                   6533      6/29/2015 Corporation                                                  $1,894.33                                                                                        $1,894.33
City of Portland
City Attorney's Office
1221 SW Fourth Avenue, Rm 430                                                RS Legacy Corporation fka RadioShack
Portland, OR 97204                                       6534      6/30/2015 Corporation                                                    $357.00                                                                                          $357.00




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            Creditor Name and Address                Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount

Brixmor GA Apollo IV Sub LLC (Brixmor Property
Group, Inc.) t/a Perlis Plaza, Americus, GA
c/o Ballard Spahr LLP
David L. Pollack
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 6535      6/29/2015 Corporation                                                    $128.57                                                                                          $128.57
KRG Draper Peaks, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                  RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                     6536      6/29/2015 Corporation                                                $15,328.28                                                                                        $15,328.28
Federal Realty Partners L.P. (Federal Investment
Trust) t/a Mount Vernon Shopping Center,
Alexandria, Va
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 6537      6/29/2015 Corporation                                                  $1,552.73                                                                                        $1,552.73
Roche, Liz
2112 W. Jetton Ave.                                                        RS Legacy Corporation fka RadioShack
Tampa , FL 33606                                       6538      6/29/2015 Corporation                                                      $6.96                                                                                            $6.96
Westland South Shore Mall L.P.
c/o LeClairRyan, A Professional Corporation
Attn: Niclas A. Ferland, Esq.
545 Long Wharf Drive, 9th Floor                                            RS Legacy Corporation fka RadioShack
New Haven, CT 06511                                    6539      6/29/2015 Corporation                                                $44,104.75                                                                                        $44,104.75

FR Shoppers World, LLC (Federal Realty Investment
Trust) t/a 29th Place, Charlottesville, VA
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 6540      6/29/2015 Corporation                                                $59,901.52                                                                                        $59,901.52
Dipinto, Rana
1100 Taliwa Trail                                                          RS Legacy Corporation fka RadioShack
Marietta, GA 30068                                     6541      6/30/2015 Corporation                                                      $9.76                                                                                            $9.76

AG‐WP Oak Park Owner, L.L.C. (WP Realty, Inc.) t/a
Oak Park Commons, South Plainfield, NJ
c/o David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                 6542      6/29/2015 Corporation                                                $10,835.24                                                                                        $10,835.24
PK I Cable Park LP
c/o Morgan, Lewis & Bockius LLP
Attn: Neil Herman, Esq., James Moore, Esq.
101 Park Avenue                                                            RS Legacy Corporation fka RadioShack
New York, NY 10178                                     6543      6/29/2015 Corporation                                                $41,436.90                                                                                        $41,436.90




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            Creditor Name and Address               Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Lonstein, Tony
4825 Gaynor Ave.                                                          RS Legacy Corporation fka RadioShack
Encino, CA 91436                                      6544      6/30/2015 Corporation                                                     $24.31                                                                                           $24.31
OKALOOSA GAS
PO BOX 548                                                                RS Legacy Corporation fka RadioShack
VALPARISO, FL 32580                                   6545      6/30/2015 Corporation                                                    $230.44                                                                                          $230.44
AIRPORT PLAZA ASSOCIATES
c/o SAF Properties Inc.
Attn Stefanin M. Mardo
101 PLAIN ST 1ST FLOOR                                                    RS Legacy Corporation fka RadioShack
PROVIDENCE, RI 02903                                  6546      6/30/2015 Corporation                                                  $1,331.07                                                                      $0.00             $1,331.07
Freed, Rae
8808 David Ave.                                                           RS Legacy Corporation fka RadioShack
Los Angeles, CA 90034                                 6547      6/30/2015 Corporation                                                     $24.51                                                                                           $24.51
Donahue, Dianne
1937 S. 10th Ave                                                          RS Legacy Corporation fka RadioShack
Maywood, IL 60153                                     6548      6/30/2015 Corporation                                                                                                                                 $0.00                 $0.00
Stewart, Laverne
37 Harold Avenue                                                          RS Legacy Corporation fka RadioShack
Latham, NY 12110                                      6549      6/30/2015 Corporation                                                                                                              $54.02                                  $54.02
Westar Energy Inc
Attn: Bankruptcy Dept
PO Box 208                                                                RS Legacy Corporation fka RadioShack
Wichita, KS 67201‐0208                                6550      6/23/2015 Corporation                                                                                                                             $4,228.77             $4,228.77
R.K. WESTBORO, LLC
C/O RK CENTERS
PO BOX 111                                                                RS Legacy Corporation fka RadioShack
DEDHAM, MA 02027                                      6551      6/30/2015 Corporation                                                  $1,971.43                                                                                        $1,971.43
RK Swansea, LLC
c/o RK Centers
PO Box 111                                                                RS Legacy Corporation fka RadioShack
Dedham, MA 02027‐0111                                 6552      6/30/2015 Corporation                                                  $4,721.44                                                                                        $4,721.44
Norman, William R.
406 Dunmore Rd                                                            RS Legacy Corporation fka RadioShack
Fayetteville, NC 28303                                6553      6/30/2015 Corporation                                                     $79.62                                                                                           $79.62

Henrico County, Virginia (Acct #0022202‐00166740)
Jason M. Hart, Asst. County Attorney
PO Box 90775                                                              RS Legacy Corporation fka RadioShack
Henrico, VA 23273‐0775                                6554      6/30/2015 Corporation                                                    $119.67                                                                                          $119.67
Hoeksma, Jason Noel
2906 Branch Street                                                        RS Legacy Corporation fka RadioShack
Duluth, MN 55812                                      6555      6/30/2015 Corporation                                                      $0.00                                                                                            $0.00
TRAFFIC CIRCLE, LTD
Vincent B. Merkle, Jr, VP of the Gen. Ptr.
PO Box 725589                                                             RS Legacy Corporation fka RadioShack
Atlanta, GA 31139‐2589                                6556      6/30/2015 Corporation                                                $26,812.55                                                                       $0.00            $26,812.55




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            Creditor Name and Address             Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                     Amount
Daly City Serramonte Center, LLC
Kelley Drye & Warren LLp
Attn: Robert L. LeHane, Esq.
Gilbert R. Saydah Jr. Esq.
101 Park Avenue                                                         RS Legacy Corporation fka RadioShack
New York, NY 10178                                  6557      6/30/2015 Corporation                                                      $0.00                                                                                            $0.00
Levine Lenell, Leslie J
4928 Maytime Lane                                                       RS Legacy Corporation fka RadioShack
Culver City, CA 90230                               6558      6/30/2015 Corporation                                                                     $4,431.25                                                                     $4,431.25
Hoskins, Linda J
2615 Camilla St                                                         RS Legacy Corporation fka RadioShack
Ft Worth, TX 76105                                  6559      6/30/2015 Corporation                                                                         $0.00                                                                         $0.00
Equity One (Louisiana Portfolio) Inc.
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
Gilbert R. Saydah Jr. Esq.
101 Park Avenue                                                         RS Legacy Corporation fka RadioShack
New York, NY 10178                                  6560      6/30/2015 Corporation                                                  $7,007.32                                                                                        $7,007.32
Equity One, LLC (Westwood Shopping Center)
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
Gilbert R. Saydah Jr., Esq.
101 Park Avenue                                                         RS Legacy Corporation fka RadioShack
New York, NY 10178                                  6561      6/30/2015 Corporation                                                  $4,608.56                                                                                        $4,608.56
PEOPLES TWP LLC
Attn: Dawn Lindner
205 N MAIN ST                                                           RS Legacy Corporation fka RadioShack
BUTLER, PA 16001                                    6562      6/30/2015 Corporation                                                    $807.85                                                                                          $807.85
IRT Partners L.P.
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
Gilbert R. Saydah Jr., Esq.
101 Park Avenue                                                         RS Legacy Corporation fka RadioShack
New York, NY 10178                                  6563      6/30/2015 Corporation                                                $42,629.29                                                                                        $42,629.29
Equity One (Florida Portfolio) Inc. (Lantana)
Kelley Drye & Warren LP
Attn: Robert L. LeHane, Esq.
Gilbert R. Saydah Jr. Esq.
101 Park Avenue                                                         RS Legacy Corporation fka RadioShack
New York, NY 10178                                  6564      6/30/2015 Corporation                                                $30,762.73                                                                                        $30,762.73
GREEN MOUNTAIN POWER CORP
PO BOX 1611                                                             RS Legacy Corporation fka RadioShack
BRATTLEBORO, VT 05302‐1611                          6565      6/30/2015 Corporation                                                  $7,145.64                                                                                        $7,145.64

Equity One (Northeast Portfolio) Inc. (Webster)
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
Gilbert R. Saydah Jr., Esq.
101 Park Avenue                                                         RS Legacy Corporation fka RadioShack
New York, NY 10178                                  6566      6/30/2015 Corporation                                                $33,476.20                                                                                        $33,476.20




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            Creditor Name and Address                  Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
Equity One (Florida Portfolio) Inc. (Lake Mary)
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
Gilbert R. Saydah Jr. Esq.
101 Park Avenue                                                              RS Legacy Corporation fka RadioShack
New York, NY 10178                                       6567      6/30/2015 Corporation                                                $36,657.87                                                                                        $36,657.87
Equity One (Florida Portfolio) Inc. (Skylake)
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
Gilbert R. Saydah Jr. Esq.
101 Park Avenue                                                              RS Legacy Corporation fka RadioShack
New York, NY 10178                                       6568      6/30/2015 Corporation                                                  $5,745.89                                                                                        $5,745.89
Kimco Austin L.P.
c/o Morgan, Lewis & Bockius LLP
Attn: Neil Herman, Esq.
James Moore, Esq.
101 Park Avenue                                                              RS Legacy Corporation fka RadioShack
New York, NY 10178                                       6569      6/29/2015 Corporation                                                $42,522.55                                                                                        $42,522.55
Equity One, Inc. (Shoppes of Silver Lakes)
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
Gilbert R. Saydah Jr. Esq.
101 Park Avenue                                                              RS Legacy Corporation fka RadioShack
New York, NY 10178                                       6570      6/30/2015 Corporation                                                $55,338.41                                                                                        $55,338.41
KDI Omaha, L.P.
c/o Morgan, Lewis & Bockius LLP
Attn: Neil Herman, Esq.
James Moore, Esq.
101 Park Avenue                                                              RS Legacy Corporation fka RadioShack
New York, NY 10178                                       6571      6/29/2015 Corporation                                                $70,178.45                                                                                        $70,178.45
MJS Rexville L.P.
c/o Morgan, Lewis & Bockius LLP
Attn: Neil Herman, Esq.
James Moore, Esq.
101 Park Avenue                                                              RS Legacy Corporation fka RadioShack
New York, NY 10178                                       6572      6/29/2015 Corporation                                               $135,164.78                                                                                       $135,164.78
Knightdale Centers, LLC
c/o Morgan, Lewis & Bockius LLP
Attn: Neil Herman, Esq.
James Moore, Esq.
101 Park Avenue                                                              RS Legacy Corporation fka RadioShack
New York, NY 10178                                       6573      6/29/2015 Corporation                                                $88,334.16                                                                                        $88,334.16

Plaza Camino Real (A California Limited Partnership)
C/O LeClairRyan, A Professional Corporation
Attn: Niclas A. Ferland, Esq.
545 Long Wharf Drive, 9th Floor                                              RS Legacy Corporation fka RadioShack
New Haven, CT 06511                                      6574      6/29/2015 Corporation                                                  $3,759.84                                                                                        $3,759.84




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                                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                     Amount                                                     Amount

Brixmor GA Apollo Sub Holdings, LLC (Brixmor
Property Group, Inc.) t/a Hornell Plaza, Hornell, NY
c/o David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                    6575      6/29/2015 Corporation                                                $38,109.82                                                                                        $38,109.82
Advanced Power Technologies, LLC
1500 N. Powerline Rd.                                                         RS Legacy Corporation fka RadioShack
Pompano Beach, FL 33441                                   6576      6/29/2015 Corporation                                                  $8,670.43                                                                                        $8,670.43
Brixmor SPE 3 LLC (Brixmor Property Group, Inc.) t/a
Lincoln Plaza, New Haven, IN
c/o David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                    6577      6/29/2015 Corporation                                                  $5,663.17                                                                                        $5,663.17
LEHANE, LYNN C
66‐00 LONG ISLAND EXPWY STE 301                                               RS Legacy Corporation fka RadioShack
MASPETH, NY 11378                                         6578      6/29/2015 Corporation                                                  $1,036.61                                                                                        $1,036.61

BRE Retail Residual Owner 1 LLC (Brixmor Property
Group, Inc.) t/a Elkhart Plaza West, Elkhart, IN
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                    6579      6/29/2015 Corporation                                                $39,936.40                                                                                        $39,936.40

Brixmor GA Cobblestone Village at Royal Palm
Beach, LLC (Brixmor Property Group, Inc.) t/a
Cobblestone at West Palm, W. Palm Beach, FL
c/o David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                    6580      6/29/2015 Corporation                                                $95,415.84                                                                                        $95,415.84

Rolling Hills Station LLC (Phillips Edison & Company)
t/a Rolling Hills Shopping Center, Tucson, AZ
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                    6581      6/29/2015 Corporation                                                $92,159.32                                                                                        $92,159.32
ZP NO. 116, LLC
c/o Zimmer Management Co
Post Office Box 2628                                                          RS Legacy Corporation fka RadioShack
WILMINGTON, NC 28402                                      6582      6/29/2015 Corporation                                                                                                                                 $0.00                 $0.00

Brixmor Watson Glen LLC (Brixmor Property Group,
Inc.) t/a Watson Glen Shopping Center, Franklin, TN
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                    6583      6/29/2015 Corporation                                                $49,350.03                                                                                        $49,350.03



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                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount

Bre Mariner Carrollwood LLC (Brixmor Property
Group, Inc.) t/a Carrollwood Center, Tampa, FL
c/o David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                            RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                6584      6/29/2015 Corporation                                                $19,644.01                                                                                        $19,644.01

Brixmor GA San Dimas, LP (Brixmor Property Group,
Inc.) t/a San Dimas Plaza, San Dimas, CA
c/o David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                            RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                6585      6/29/2015 Corporation                                                  $6,757.14                                                                                        $6,757.14
Caviness, Olivia B.
8042 Bunting Rd                                                           RS Legacy Corporation fka RadioShack
Nashville, NC 27856                                   6586      6/30/2015 Corporation                                                     $70.00                                                                                           $70.00

Brixmor GA Waterbury, LLC (Brixmor Property
Group, Inc.) t/a Waterbury Plaza, Waterbury, CT
c/o David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                            RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                6587      6/29/2015 Corporation                                                  $5,294.21                                                                                        $5,294.21

Brixmor Oakwood Commons LLC (Brixmor Property
Group, Inc.) t/a Oakwood Commons, Hermitage, TN
c/o David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                            RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                6588      6/29/2015 Corporation                                                $48,719.94                                                                                        $48,719.94
Manalo, Rogelio M.
800 W 2nd Ave                                                             RS Legacy Corporation fka RadioShack
Cheyenne, WY 82001                                    6589      6/29/2015 Corporation                                                                         $0.00                                                                         $0.00
Federal Realty Investment Trust t/a Troy Shopping
Center, Parsippany‐Troy, NJ
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                            RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                6590      6/29/2015 Corporation                                                  $1,643.20                                                                                        $1,643.20

Brixmor Holdings 12 SPE, LLC (Brixmor Property
Group, Inc.) t/a Wynnewood Village, Dallas, TX
David L. Pollack
Ballard Spahr LLP
1735 Market Street, 51st Floor                                            RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                6591      6/29/2015 Corporation                                                $32,291.51                                                                                        $32,291.51
Gupta, Saurabh
5628 Gracie Ln                                                            RS Legacy Corporation fka RadioShack
Frisco , TX 75035                                     6592      6/30/2015 Corporation                                                                         $0.00                                                                         $0.00




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                                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                 Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
Palm Coast Observer LLC
PO Box 353850                                                               RS Legacy Corporation fka RadioShack
Palm Coast, FL 32135                                    6593      6/30/2015 Corporation                                                      $0.00                                                                                            $0.00
Equity One (Vons Circle) LLC
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
Gilbert R. Saydah Jr., Esq.
101 Park Avenue                                                             RS Legacy Corporation fka RadioShack
New York, NY 10178                                      6594      6/30/2015 Corporation                                                $95,650.31                                                                                        $95,650.31
Dove, Diane
1423 Versailles Ave.                                                        RS Legacy Corporation fka RadioShack
Alameda, CA 94501                                       6595      6/30/2015 Corporation                                                     $50.00                                                                                           $50.00
Equity One (Thomasville)
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
Gilbert R. Saydah Jr., Esq.
101 Park Avenue                                                             RS Legacy Corporation fka RadioShack
New York, NY 10178                                      6596      6/30/2015 Corporation                                                $25,730.58                                                                                        $25,730.58
Equity One (Sheridan Plaza) LLC
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
Gilbert R. Saydah Jr. Esq.
101 Park Avenue                                                             RS Legacy Corporation fka RadioShack
New York, NY 10178                                      6597      6/30/2015 Corporation                                                $86,266.10                                                                                        $86,266.10
Jackson, Phillip W
6308 Maplebrook Lane                                                        RS Legacy Corporation fka RadioShack
Flint, MI 48507                                         6598      6/30/2015 Corporation                                                                                                                                 $0.00                 $0.00

Equity One (Florida Portfolio) Inc. (Boynton Plaza)
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
Gilbert R. Saydah Jr., Esq.
101 Park Avenue                                                             RS Legacy Corporation fka RadioShack
New York, NY 10178                                      6599      6/30/2015 Corporation                                                $67,736.35                                                                                        $67,736.35
Equity One (Florida Portfolio) Inc.
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
Gilbert R. Saydah Jr. Esq.
101 Park Avenue                                                             RS Legacy Corporation fka RadioShack
New York, NY 10178                                      6600      6/30/2015 Corporation                                                  $2,264.95                                                                                        $2,264.95

Equity One (West Coast Portfolio) Inc. (Potrero)
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
Gilbert R. Saydah Jr., Esq.
101 Park Avenue                                                             RS Legacy Corporation fka RadioShack
New York, NY 10178                                      6601      6/30/2015 Corporation                                                $11,324.92                                                                                        $11,324.92
Metaxa Properties LLC
2455 Beechwood Ave                                                          RS Legacy Corporation fka RadioShack
SAN JOSE, CA 95128                                      6602      6/30/2015 Corporation                                                      $0.00                                $0.00               $0.00                                   $0.00




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                                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                 Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
Springfield Commercial Investments LLC
C/O The Gilbert Group Inc Re
Attn: Jess Kester
203 East Broad St                                                           RS Legacy Corporation fka RadioShack
Columbus, OH 43215                                      6603      6/30/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
ROSS , MICHENER
1412 W IDAHO ST STE 110                                                     RS Legacy Corporation fka RadioShack
BOISE, ID 83702                                         6604      6/30/2015 Corporation                                                  $4,211.66          $2,775.00                                                                     $6,986.66
Kim‐Sam PR Retail, LLC
c/o Morgan, Lewis & Bockius LLP
Attn: Neil Herman, Esq.
James Moore, Esq.
101 Park Avenue                                                             RS Legacy Corporation fka RadioShack
New York, NY 10178                                      6605      6/29/2015 Corporation                                               $107,420.00                                                                                       $107,420.00
Western Sun, LLC (Cencor Realty Services, Inc.) t/a
Legacy Coit Village, Planto, TX
c/o Ballard Spahr LLP
David L. Pollack, Esq.
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                  6606      6/29/2015 Corporation                                                  $8,115.03                                                                                        $8,115.03
MAGIC VALLEY MALL LLC
ATTN CHERI FREEMAN
1485 POLE LINE ROAD EAST SUITE OFC                                          RS Legacy Corporation fka RadioShack
TWIN FALLS, ID 83301                                    6607      6/30/2015 Corporation                                                $88,960.68                                                                                        $88,960.68
Henrico County, Virginia
Jason M. Hart, Asst. County Attorney
PO Box 90775                                                                RS Legacy Corporation fka RadioShack
Henrico, VA 23273‐0775                                  6608      6/30/2015 Corporation                                                     $56.70                                                                                           $56.70
AIRPORT PLAZA ASSOCIATES
c/o SAF Properties Inc.
Attn Stefanin M. Mardo
101 PLAIN ST 1ST FLOOR                                                      RS Legacy Corporation fka RadioShack
PROVIDENCE, RI 02903                                    6609      6/30/2015 Corporation                                                  $7,320.11                                                                                        $7,320.11
PIKEN‐ENCINO LTD
12725 VENTURA BLVD STE A                                                    RS Legacy Corporation fka RadioShack
STUDIO CITY, CA 91604                                   6610      6/30/2015 Corporation                                               $131,661.40                                                                                       $131,661.40
McAfee, Pamela
1901 Fairlawn Ln
Unit B                                                                     RS Legacy Corporation fka RadioShack
Austin, TX 78704                                        6611      7/1/2015 Corporation                                                      $40.00                                                                                           $40.00
Arabo, Vidal W
2010 Walnut Lake Rd                                                         RS Legacy Corporation fka RadioShack
West Bloomfield, MI 48323                               6612      6/30/2015 Corporation                                                                      $100.00                                                                        $100.00
Carrousel, Lucia
520 41st Street                                                            RS Legacy Corporation fka RadioShack
Richmond, CA 94805                                      6613      7/1/2015 Corporation                                                      $25.00                                                                                           $25.00
PEOPLES NATURAL GAS COMPANY LLC EQUITABLE
DIVISION
ATTN: DAWN LINDNER
225 NORTH SHORE DRIVE                                                      RS Legacy Corporation fka RadioShack
PITTSBURGH, PA 15212                                    6614      7/1/2015 Corporation                                                   $2,012.76                                                                                        $2,012.76




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            Creditor Name and Address          Claim No.   Claim Date                    Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
Bellon, Julia Eccles
2413 Wilmot Avenue                                                  RS Legacy Corporation fka RadioShack
Columbia, SC 29205                               6615      7/1/2015 Corporation                                                      $0.00                                                                                            $0.00
Patterson, Amy
5017 Barcelona Dr                                                   RS Legacy Customer Service LLC fka RadioShack
Garland, TX 75043                                6616      7/1/2015 Customer Service LLC                                                                $0.00                                                                         $0.00
Call, Taylor
46703 Lynnhaven Sq.                                                 RS Legacy Corporation fka RadioShack
Sterling, VA 20165                               6617      7/1/2015 Corporation                                                                       $90.00                                  $0.00                                  $90.00
Call, Taylor
46703 Lynnhaven Sq.                                                 RS Legacy Corporation fka RadioShack
Sterling, VA 20165                               6618      7/1/2015 Corporation                                                                       $90.00                                  $0.00                                  $90.00
PEOPLES NATURAL GAS COMPANY LLC
Attn: Dawn Lindner
225 North Shore Drive                                               RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15212                             6619      7/1/2015 Corporation                                                  $3,747.37                                                                                        $3,747.37
Doherty, Diana
14 Command Dr.                                                      RS Legacy Corporation fka RadioShack
SAFB, TX 76311                                   6620      7/1/2015 Corporation                                                     $50.00                                                                                           $50.00
City of Milford
201 S. Walnut Street                                                RS Legacy Corporation fka RadioShack
Milford, DE 19963                                6621      7/1/2015 Corporation                                                    $699.65                                                                                          $699.65
Kesty, Sarah
4726 Eli Court                                                      RS Legacy Corporation fka RadioShack
Carmichael, CA 95608                             6622      7/1/2015 Corporation                                                      $0.00                                                                                            $0.00
Porter, Wright, Morris & Arthur LLP
Attn: Jack R. Pigman, Esq.
41 South High Street                                                RS Legacy Corporation fka RadioShack
Columbus , OH 43215                              6623      7/1/2015 Corporation                                                  $6,107.50                                                                                        $6,107.50
Ong, Frederick
25731 Celtic Terrace Dr                                             RS Legacy Corporation fka RadioShack
Katy, TX 77494                                   6624      7/1/2015 Corporation                                                     $47.59                                                                                           $47.59
Mainline Information Systems, Inc.
Attn: Corporate Counsel
1700 Summit Lake Dr.                                                RS Legacy Corporation fka RadioShack
Tallahassee, FL 32317                            6625      7/1/2015 Corporation                                                $35,690.91                                                                                        $35,690.91
Tax Collector
100 Court Square                                                    RS Legacy Corporation fka RadioShack
Marion, AR 72364                                 6626      7/1/2015 Corporation                                                                     $1,660.92                                                                     $1,660.92
Hannah, Brandon
308 Seaboard Lane                                                   RS Legacy Corporation fka RadioShack
Franklin, TN 37067                               6627      7/1/2015 Corporation                                                                      $150.00                                                                        $150.00
Kotsiopoulos, Jamie C
448 Commack Road                                                    RS Legacy Corporation fka RadioShack
Commack, NY 11725                                6628      7/1/2015 Corporation                                                                       $50.00                                                                         $50.00
Parker Bangerter, LLC dba Kathy Parker & Pat
Bangerter, LLC
c/o Sheila R. Schwager
Hawley Troxell Ennis & Hawley LLP
PO Box 1617                                                         RS Legacy Corporation fka RadioShack
Boise , ID 83701                                 6629      7/1/2015 Corporation                                                  $7,562.00                                                                                        $7,562.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Fravel, Karen
1588 Middlebrook Road                                         RS Legacy Customer Service LLC fka RadioShack
Staunton, VA 24401                         6630      7/1/2015 Customer Service LLC                                                                                                     $25.00                                  $25.00
Market & Noe Center
Business Office
36 Orange Avenue                                              RS Legacy Corporation fka RadioShack
LARKSPUR, CA 94939                         6631      7/1/2015 Corporation                                               $557,077.00                                                                                       $557,077.00
Santiago, Alma
17950 Lassen Street Apt J‐5                                   RS Legacy Corporation fka RadioShack
Northridge, CA 91325                       6632      7/1/2015 Corporation                                                                                                              $25.00                                  $25.00
Claim Docketed In Error                                       RS Legacy Corporation fka RadioShack
                                           6633      7/1/2015 Corporation                                                                                                                                                       $0.00
Market & Noe Center
Business Office
36 Orange Avenue                                              RS Legacy Corporation fka RadioShack
LARKSPUR, CA 94939                         6634      7/1/2015 Corporation                                                      $0.00                                                                                            $0.00
New Jersey Natural Gas
Att: Eileen Mayfield
1415 Wykoff Rd ‐ PO Box 1378                                  RS Legacy Corporation fka RadioShack
Wall, NJ 07719                             6635      7/1/2015 Corporation                                                    $208.30                                                                                          $208.30
New Jersey Natural Gas
Att: Eileen Mayfield
1415 Wykoff Rd ‐ PO Box 1378                                  RS Legacy Corporation fka RadioShack
Wall, NJ 07719                             6636      7/1/2015 Corporation                                                     $35.38                                                                                           $35.38
New Jersey Natural Gas
Att: Eileen Mayfield
1415 Wykoff Rd ‐ PO Box 1378                                  RS Legacy Corporation fka RadioShack
Wall, NJ 07719                             6637      7/1/2015 Corporation                                                    $264.10                                                                                          $264.10
New Jersey Natural Gas
Att: Eileen Mayfield
1415 Wykoff Rd ‐ PO Box 1378                                  RS Legacy Corporation fka RadioShack
Wall, NJ 07719                             6638      7/1/2015 Corporation                                                    $193.82                                                                                          $193.82
New Jersey Natural Gas
Att: Eileen Mayfield
1415 Wykoff Rd
PO Box 1378                                                   RS Legacy Corporation fka RadioShack
Wall , NJ 07719                            6639      7/1/2015 Corporation                                                    $508.73                                                                                          $508.73
New Jersey Natural Gas
1415 Wykoff Rd ‐ PO Box 1378                                  RS Legacy Corporation fka RadioShack
Wall, NJ 07719                             6640      7/1/2015 Corporation                                                    $184.73                                                                                          $184.73
New Jersey Natural Gas
1415 Wykoff Rd ‐ PO Box 1378                                  RS Legacy Corporation fka RadioShack
Wall, NJ 07719                             6641      7/1/2015 Corporation                                                    $135.94                                                                                          $135.94
New Jersey Natural Gas
Att: Eileen Mayfield
1415 Wykoff Rd ‐ PO Box 1378                                  RS Legacy Corporation fka RadioShack
Wall, NJ 07719                             6642      7/1/2015 Corporation                                                    $497.60                                                                                          $497.60
New Jersey Natural Gas
Att: Eileen Mayfield
1415 Wykoff Rd ‐ PO Box 1378                                  RS Legacy Corporation fka RadioShack
Wall, NJ 07719                             6643      7/1/2015 Corporation                                                    $504.05                                                                                          $504.05




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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Verbatim Americas LLC
Attn: Gustavo Giordanelli
8210 University Executive Park Drive
Suite 300                                                     RS Legacy Corporation fka RadioShack
Charlotte, NC 28262                        6644      7/1/2015 Corporation                                                                                           $0.00                                                       $0.00
New Jersey Natural Gas
Att: Eileen Mayfield
1415 Wykoff Rd ‐ PO Box 1378                                  RS Legacy Corporation fka RadioShack
Wall, NJ 07719                             6645      7/1/2015 Corporation                                                    $396.94                                                                                          $396.94
New Jersey Natural Gas
Att: Eileen Mayfield
1415 Wykoff Rd ‐ PO Box 1378                                  RS Legacy Corporation fka RadioShack
Wall, NJ 07719                             6646      7/1/2015 Corporation                                                    $344.50                                                                                          $344.50
New Jersey Natural Gas
Att: Eileen Mayfield
1415 Wykoff Rd ‐ PO Box 1378                                  RS Legacy Corporation fka RadioShack
Wall, NJ 07719                             6647      7/1/2015 Corporation                                                    $171.85                                                                                          $171.85
New Jersey Natural Gas
Att: Eileen Mayfield
1415 Wykoff Rd ‐ PO Box 1378                                  RS Legacy Corporation fka RadioShack
Wall, NJ 07719                             6648      7/1/2015 Corporation                                                    $359.38                                                                                          $359.38
New Jersey Natural Gas
Att: Eileen Mayfield
1415 Wykoff Rd ‐ PO Box 1378                                  RS Legacy Corporation fka RadioShack
Wall, NJ 07719                             6649      7/1/2015 Corporation                                                    $175.54                                                                                          $175.54
New Jersey Natural Gas
Att: Eileen Mayfield
1415 Wykoff Rd ‐ PO Box 1378                                  RS Legacy Corporation fka RadioShack
Wall, NJ 07719                             6650      7/1/2015 Corporation                                                    $307.93                                                                                          $307.93
New Jersey Natural Gas
Att: Eileen Mayfield
1415 Wykoff Rd ‐ PO Box 1378                                  RS Legacy Corporation fka RadioShack
Wall, NJ 07719                             6651      7/1/2015 Corporation                                                     $20.46                                                                                           $20.46
New Jersey Natural Gas
Attn: Eileen Mayfield
1415 Wyckoff Road ‐ PO Box 1376                               RS Legacy Corporation fka RadioShack
Wall, NJ 07719                             6652      7/1/2015 Corporation                                                    $232.50                                                                                          $232.50
New Jersey Natural Gas
Attn: Eileen Mayfield
1415 Wyckoff Rd ‐ PO Box 1378                                 RS Legacy Corporation fka RadioShack
Wall, NJ 07719                             6653      7/1/2015 Corporation                                                    $510.94                                                                                          $510.94
Jean Denezier/Mansabruna Denizart
951 Juniper CT                                                RS Legacy Corporation fka RadioShack
Kissimee, FL 34743                         6654      7/1/2015 Corporation                                                                         $0.00             $0.00               $0.00                                   $0.00
New Jersey Natural Gas
Att: Eileen Mayfield
1415 Wykoff Rd ‐ PO Box 1378                                  RS Legacy Corporation fka RadioShack
Wall, NJ 07719                             6655      7/1/2015 Corporation                                                     $12.36                                                                                           $12.36
City of Dayton
PO Box 643700                                                 RS Legacy Corporation fka RadioShack
Cincinnati, OH 45264                       6656      7/1/2015 Corporation                                                                       $25.00                                                                         $25.00




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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
New Jersey Natural Gas
Att: Eileen Mayfield
1415 Wykoff Rd ‐ PO Box 1378                                  RS Legacy Corporation fka RadioShack
Wall, NJ 07719                             6657      7/1/2015 Corporation                                                  $1,441.06                                                                                        $1,441.06
Terray, Michele
5651 Cinnamon Fern Blvd                                       RS Legacy Corporation fka RadioShack
Cocoa, FL 32827                            6658      7/1/2015 Corporation                                                                                                              $22.14                                  $22.14
New Jersey Natural Gas
Att: Eileen Mayfield
1415 Wykoff Rd ‐ PO Box 1378                                  RS Legacy Corporation fka RadioShack
Wall, NJ 07719                             6659      7/1/2015 Corporation                                                    $240.28                                                                                          $240.28
New Jersey Natural Gas
Att: Eileen Mayfield
1415 Wykoff Rd ‐ PO Box 1378                                  RS Legacy Corporation fka RadioShack
Wall, NJ 07719                             6660      7/1/2015 Corporation                                                    $383.62                                                                                          $383.62
De Rito Pavilions 139, LLC
c/o Adam Nach
Lane & Nach, P.C.
2001 East Campbell, Suite 103                                 RS Legacy Corporation fka RadioShack
Phoenix , AZ 85016                         6661      7/1/2015 Corporation                                                $75,783.08                                                                                        $75,783.08
Spencer, Reece Upshaw
4154 NW 12th Terrace                                          RS Legacy Corporation fka RadioShack
Gainesville, FL 32609                      6662      7/1/2015 Corporation                                                     $25.57                                                                                           $25.57
New Jersey Natural Gas
Att: Eileen Mayfield
1415 Wykoff Rd ‐ PO Box 1378                                  RS Legacy Corporation fka RadioShack
Wall, NJ 07719                             6663      7/1/2015 Corporation                                                    $744.17                                                                                          $744.17
New Jersey Natural Gas
Att: Eileen Mayfield
1415 Wykoff Rd ‐ PO Box 1378                                  RS Legacy Corporation fka RadioShack
Wall, NJ 07719                             6664      7/1/2015 Corporation                                                    $554.67                                                                                          $554.67
PLR REAL ESTATE DEVELOPMENT LLC
C/O OVP MANAGEMENT INC
2 COMMON COURT UNIT C13                                       RS Legacy Corporation fka RadioShack
NORTH CONWAY, NH 03860                     6665      7/1/2015 Corporation                                                  $4,528.40                                                                                        $4,528.40
JDA Software Group, Inc.
14400 N. 87th Street                                          RS Legacy Corporation fka RadioShack
Scottsdale, AZ 85260                       6666      7/1/2015 Corporation                                                $36,759.60                                                                                        $36,759.60
Swift Transportation
Attn: Director of Pricing
2200 S. 75th Street                                           RS Legacy Corporation fka RadioShack
Phoenix, AZ 85043                          6667      7/1/2015 Corporation                                                  $7,136.18                                                                                        $7,136.18
Hanfman, Nathan
12619 Thunder Chase Drive                                     RS Legacy Corporation fka RadioShack
Reston, VA 20191                           6668      7/1/2015 Corporation                                                      $9.29                                                                                            $9.29
Ryan, Kathleen
253 Oakland Ave                                               RS Legacy Corporation fka RadioShack
Methuen, MA 01844                          6669      7/1/2015 Corporation                                                     $39.99                                                                                           $39.99
Azarnoff, Martin
552 E 39th PL                                                 RS Legacy Corporation fka RadioShack
Eugene, OR 97405                           6670      7/2/2015 Corporation                                                     $30.00                                                                                           $30.00




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                                                                                                                                               Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address            Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
Flores, Daniel A
210 E. Fig St., St. 201                                               RS Legacy Corporation fka RadioShack
Fallbrook, CA 92028                                6671      7/1/2015 Corporation                                                    $110.00                                                                                          $110.00
Flores, Daniel A.
210 E. Fig St., Ste. 201                                              RS Legacy Corporation fka RadioShack
Fallbrook, CA 92028                                6672      7/1/2015 Corporation                                                    $110.00                                                                                          $110.00
Wanda, Tracy A.
120 Grimm Ln.                                                         RS Legacy Corporation fka RadioShack
Middletown, PA 17057                               6673      7/2/2015 Corporation                                                     $20.00                                                                                           $20.00
Bittersweet Plaza, LLC
c/o Wheeler Management Group
1130 38th Ave.
Suite B                                                               RS Legacy Corporation fka RadioShack
Greeley, CO 80634                                  6674      7/2/2015 Corporation                                                $47,665.78                                                                                        $47,665.78
South Plaza Center Associates, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                             RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                 6675      7/2/2015 Corporation                                                  $1,013.05                                                                                        $1,013.05

Penn Station Improvements, LLC (DLC Management
Corp) t/a Penn Station, District Heights, MD
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                        RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                             6676      7/2/2015 Corporation                                                  $1,001.04                                                                                        $1,001.04
Lathrop & Gage LLP
2345 Grand Blvd, Suite 2400                                           RS Legacy Corporation fka RadioShack
Kansas City, MO 64108                              6677      7/2/2015 Corporation                                                  $2,988.95                                                                                        $2,988.95
Perez, Lissette
1103 Wedgewood Circle                                                 RS Legacy Corporation fka RadioShack
Belford, NJ 07718                                  6678      7/2/2015 Corporation                                                    $213.90                                                                                          $213.90
Delta Natural Gas Company, Inc.
3617 Lexington Road                                                   RS Legacy Corporation fka RadioShack
Winchester, KY 40391                               6679      7/2/2015 Corporation                                                    $431.08                                                                                          $431.08
Delta Natural Gas Company, Inc.
3617 Lexington Road                                                   RS Legacy Corporation fka RadioShack
Winchester, KY 40391                               6680      7/2/2015 Corporation                                                    $478.97                                                                                          $478.97
SOUTH PLAZA CENTER ASSOCIATES, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                             RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                 6681      7/2/2015 Corporation                                                $55,113.96                                                                                        $55,113.96
DELTA NATURAL GAS COMPANY, INC.
3617 Lexington Road                                                   RS Legacy Corporation fka RadioShack
Winchester, KY 40391                               6682      7/2/2015 Corporation                                                    $494.41                                                                                          $494.41




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Roslindale Realty Group LLC
c/o Douglas B. Rosner, Esq.
Gouslton & Storrs PC
400 Atlantic Avenue                                           RS Legacy Corporation fka RadioShack
Boston, MA 02110‐3333                      6683      7/2/2015 Corporation                                                       $0.00                                                                                            $0.00
WHLR‐Tampa Festival, LLC
Menter, Rudin & Trivelpiece, P.C.
Attn: Kevin M. Newman
308 Maltbie Street, Suite 200                                 RS Legacy Corporation fka RadioShack
Syracuse, NY 13204‐1439                    6684      7/2/2015 Corporation                                                     $500.02                                                                                          $500.02
Franchise Tax Board
Bankruptcy Section MS A340
PO Box 2952
Sacramento, CA 95812‐2952                  6685      7/2/2015 SCK, Inc.                                                         $0.00              $0.00                                                                         $0.00
AOL Advertising Inc.
c/o Tiffany Strelow Cobb
Vorys, Saler, Seymour and Pease LLP
52 East Gay Street                                            RS Legacy Corporation fka RadioShack
COLUMBUS, OH 43215                         6686      7/2/2015 Corporation                                                $609,701.60                                                                                       $609,701.60
Franchise Tax Board
Bankruptcy Section MS A340
PO Box 2952                                                   RS Legacy Corporation fka RadioShack
Sacramento, CA 95812‐2952                  6687      7/2/2015 Corporation                                                       $0.00              $0.00                                                                         $0.00
Hough, Theresa
8800 Tudor Lane                                               RS Legacy Corporation fka RadioShack
Manassas, VA 20111                         6688      7/2/2015 Corporation                                                       $0.00                                                                                            $0.00
Goddard, G.
54 Curtis St                                                  RS Legacy Corporation fka RadioShack
Rockport, MA 01966                         6689      7/2/2015 Corporation                                                      $50.00                                                                                           $50.00
Pelham Realty Group LLC
c/o Douglas B. Rosner, Esq.
Goulston & Storrs PC
400 Atlantic Avenue                                           RS Legacy Corporation fka RadioShack
Boston, MA 02110‐3333                      6690      7/2/2015 Corporation                                                 $32,684.54                                                                                        $32,684.54
Magdalena, Patricia
2376 83 street                                                RS Legacy Corporation fka RadioShack
Brooklyn, NY 11214                         6691      7/2/2015 Corporation                                                      $50.00                                                                                           $50.00
Walters, Mark
3900 Forest Crest Way                                          RS Legacy Corporation fka RadioShack
Louisville, KY 40245                       6692      6/15/2015 Corporation                                                                                                              $25.34                                  $25.34
Hart, Jeffrey
12 Sunnyside Lane                                             RS Legacy Corporation fka RadioShack
Hillsborough, NJ 08844                     6693      7/2/2015 Corporation                                                      $18.20                                                                                           $18.20
Hutterer, Jeremy
1965 S East lane                                              RS Legacy Corporation fka RadioShack
New Berlin, WI 53146                       6694      7/2/2015 Corporation                                                      $35.00                                                                                           $35.00
RR Donnelley
Attn: Robert Larsen
4101 Winfield Rd.                                             RS Legacy Corporation fka RadioShack
Warrenville, TN 60555                      6695      7/2/2015 Corporation                                                $716,911.94                                                                                       $716,911.94




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                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
WHLR‐Tampa Festival, LLC
Menter, Rudin & Trivelpiece, P.C.
Attn: Kevin M. Newman
308 Maltbie Street, Suite 200                                           RS Legacy Corporation fka RadioShack
Syracuse, NY 13204‐1439                              6696      7/2/2015 Corporation                                                 $37,020.72                                                                                        $37,020.72
MJS CAGUAS LP
PO BOX 535599                                                           RS Legacy Corporation fka RadioShack
ATLANTA, GA 30353‐5599                               6697      7/2/2015 Corporation                                                 $54,212.45                                                                                        $54,212.45
Cartwright, Joel James
8315 152nd Place                                                        RS Legacy Corporation fka RadioShack
Savage, MN 55378                                     6698      7/2/2015 Corporation                                                      $99.00                                                                                           $99.00
Henderson, Debbie
3732 FM 149 Rd. E                                                       RS Legacy Corporation fka RadioShack
Anderson, TX 77830                                   6699      7/2/2015 Corporation                                                     $150.00                                                                                          $150.00
PPL Electric Utilities
827 Hausman Road                                                         RS Legacy Corporation fka RadioShack
Allentown, PA 18104                                  6700      6/24/2015 Corporation                                                  $2,669.98                                                                                        $2,669.98
Rhynes, Vincent E.
513 W. 159th Street                                                      RS Legacy Corporation fka RadioShack
Gardena, CA 90248                                    6701      6/26/2015 Corporation                                                      $0.00                                                                                            $0.00
Dexxxon Digital Storage Inc
26124 NETWORK PLACE                                                     RS Legacy Corporation fka RadioShack
CHICAGO, IL 60673‐1261                               6702      7/2/2015 Corporation                                                   $3,550.00                                                                                        $3,550.00
DFS Services LLC
PO Box 3000                                                             RS Legacy Corporation fka RadioShack
New Albany , OH 43054                                6703      7/2/2015 Corporation                                                                                            $0.00                                                       $0.00

Harlan D. and Maxine Douglass (Husband and wife)
Joseph P. Delay
Attorney at Law
601 W. Main Avenue, Suite 1212                                           RS Legacy Corporation fka RadioShack
Spokane, WA 99201                                    6704      6/29/2015 Corporation                                                    $249.51              $0.00           $271.76                                                     $521.27
Nicor Gas
PO Box 549                                                               RS Legacy Corporation fka RadioShack
Aurora, IL 60507                                     6705      6/30/2015 Corporation                                                $17,828.80                                                                                        $17,828.80
Henderson, Debbie
3732 FM 149 Rd. E.                                                      RS Legacy Corporation fka RadioShack
Anderson, TX 77830                                   6706      7/2/2015 Corporation                                                     $150.00                                                                                          $150.00
Pacific Plaza Shopping Center
Ervin Cohen & Jessup LLP
9401 Wilshire Blvd., 9th Floor                                          RS Legacy Corporation fka RadioShack
Beverly Hills, CA 90212                              6707      7/2/2015 Corporation                                                $106,923.23                                                                                       $106,923.23
Sarracco Mechanical Services Inc
PO Box 475                                                              RS Legacy Corporation fka RadioShack
Brattleboro, VT 05302                                6708      7/2/2015 Corporation                                                   $9,566.85                                                  $314.65                               $9,881.50
Azarnoff, Martin
552 E 39th PL                                                           RS Legacy Corporation fka RadioShack
Eugene, OR 97405                                     6709      7/2/2015 Corporation                                                      $30.00                                                                                           $30.00
Zielinski, Diane
1115 Driftwood Ct., #226                                                RS Legacy Corporation fka RadioShack
Elk Grove Village, IL 60007                          6710      7/2/2015 Corporation                                                      $11.01                                                                                           $11.01




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                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount
Mader, Ryan
PO Box 1270                                                                RS Legacy Corporation fka RadioShack
Monterey , CA 93942                                     6711      7/2/2015 Corporation                                                    $100.00                                                                                          $100.00
Belran, Norma I.
IPO 683                                                                    RS Legacy Corporation fka RadioShack
Mayaguez, PR 00681                                      6712      7/2/2015 Corporation                                                     $35.00                                                                                           $35.00
Claim Docketed In Error                                                    RS Legacy Corporation fka RadioShack
                                                        6713      7/2/2015 Corporation                                                                                                                                                       $0.00
Short Circuit Electronics Inc
PO BOX 803867                                                              RS Legacy Corporation fka RadioShack
KANSAS CITY, MO 64180                                   6714      7/2/2015 Corporation                                                $25,391.29                                                                                        $25,391.29
Raymond, Charlean
6213 Harper Dr. N.E.                                                       RS Legacy Corporation fka RadioShack
Albuquerque, NM 87109                                   6715      7/2/2015 Corporation                                                      $0.00                                                                                            $0.00
Guggisberg, Marie
17703 Grandview Rd                                                         RS Legacy Corporation fka RadioShack
New Ulm, MN 56073                                       6716      7/3/2015 Corporation                                                     $53.64                                                                                           $53.64
Sayers, Joseph
1004 Spindle Crossing                                                      RS Legacy Corporation fka RadioShack
Virginia Beach, VA 23455‐6726                           6717      7/3/2015 Corporation                                                                                                              $24.32                                  $24.32
Bohlman, Craig
39 White Pine Lane                                                         RS Legacy Corporation fka RadioShack
Brandenburg, KY 40108                                   6718      7/3/2015 Corporation                                                    $276.63                                                                                          $276.63
Shkinder, Oleg
4200 Mary Gates Memorial Dr Ne
Unit T247                                                                  RS Legacy Corporation fka RadioShack
Seattle, WA 98105                                       6719      7/3/2015 Corporation                                                     $54.24                                                                                           $54.24
Sanchez, Claudia
2107 SE 10th Ave
Apt. 833                                                                   RS Legacy Corporation fka RadioShack
Fort Lauderdale , FL 33316                              6720      7/3/2015 Corporation                                                     $45.00                                                                                           $45.00
Carlson, Thomas J
205 W Walnut St, Suite 200                                                 RS Legacy Corporation fka RadioShack
Springfield, MO 65806‐2096                              6721      7/3/2015 Corporation                                                $53,395.25                                                                                        $53,395.25
Verderese, James
6797 Belle Road                                                            RS Legacy Corporation fka RadioShack
Harborcreek, PA 16421                                   6722      7/3/2015 Corporation                                                     $25.00                                                                                           $25.00
Carlson, Thomas J
205 W Walnut, Suite 200                                                    RS Legacy Corporation fka RadioShack
Springfield, MO 65806                                   6723      7/3/2015 Corporation                                                  $5,616.00                                                                                        $5,616.00
Lawler, Lisa
33 Maidstone Avenue                                                        RS Legacy Corporation fka RadioShack
East Hampton, NY 11937                                  6724      7/6/2015 Corporation                                                      $0.00                                                   $50.00                                  $50.00
Marshall A. Dana and David L. Stone, Trustees under
the Will of Herman Dana and Marshall
c/o Myer Dana and Sons, Agents
1340 Centre Street, Suite 101                                              RS Legacy Corporation fka RadioShack
Newton, MA 02459                                        6725      7/6/2015 Corporation                                                $66,296.38                                                                                        $66,296.38




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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Condan Enterprises, LLC
c/o Eric J. Snyder
Wilk Auslander, LLP
1515 Broadway, 43rd Floor                                     RS Legacy Corporation fka RadioShack
New York, NY 10036                         6726      7/3/2015 Corporation                                                      $0.00                                                                                            $0.00
Travis, Larry
581 Arch Place                                                RS Legacy Corporation fka RadioShack
Glendale, CA 91206                         6727      7/5/2015 Corporation                                                                       $48.23                                                                         $48.23
TracFone Wireless, Inc.
Attention: Richard Salzman, Esq.
9700 MW 112th Avenue                                          RS Legacy Corporation fka RadioShack
Miami, FL 33178                            6728      7/3/2015 Corporation                                             $2,648,362.10                                 $0.00                                               $2,648,362.10
Claim Docketed In Error                                       RS Legacy Corporation fka RadioShack
                                           6729      7/6/2015 Corporation                                                                                                                                                       $0.00
Rincon, Mary Frances
9311 Rowlands Sayle                                           RS Legacy Corporation fka RadioShack
Austin, TX 78744                           6730      7/6/2015 Corporation                                                    $140.71                                                                                          $140.71
Capriotti, Gianpaolo
741 Deer Creek Drive                                          RS Legacy Corporation fka RadioShack
King of Prussia, PA 19406                  6731      7/3/2015 Corporation                                                                       $63.58                                                                         $63.58
Park Tysen Associates LLC
C/o Eric J. Snyder
Wilk Auslander, LLP
1515 Broadway, 43rd Floor                                     RS Legacy Corporation fka RadioShack
New York, NY 10036                         6732      7/3/2015 Corporation                                                      $0.00                                                                                            $0.00
Bueno, Giselle N.
730 Kirkwood Ct                                               RS Legacy Corporation fka RadioShack
Los Banos, CA 93635                        6733      7/6/2015 Corporation                                                      $0.00                                                                                            $0.00
Sayers, Joseph
1004 Spindle Crossing                                         RS Legacy Corporation fka RadioShack
Virginia Beach, VA 23455‐6726              6734      7/3/2015 Corporation                                                                                                              $24.32                                  $24.32
Murphy, Kimberly
2929 95th Street                                              RS Legacy Corporation fka RadioShack
Granada, MN 56039                          6735      7/6/2015 Corporation                                                    $123.64                                                                                          $123.64
Sean N Strache
438 Falcon Cir #2                                             RS Legacy Corporation fka RadioShack
Monona, WI 53716                           6736      7/6/2015 Corporation                                                      $0.00                                                                                            $0.00
Lock Haven Zamagias, LP
c/o Crystal H. Thornton‐Illar
Leech Tishman Fuscaldo & Lampl, LLC
525 William Penn Place, 28th Floor                            RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15219                       6737      7/6/2015 Corporation                                                $33,695.95               $0.00                                                                    $33,695.95
Red Mountain Asset Fund I, LLC
Ervin Cohen & Jessup LLP
9401 Wilshire Blvd., 9th Floor                                RS Legacy Corporation fka RadioShack
Beverly Hills, CA 90212                    6738      7/6/2015 Corporation                                                $83,911.23                                                                                        $83,911.23
Warwick Mall L.L.C.
c/o Douglas B. Rosner, Esq.
GOULSTON & STORRS PC
400 Atlantic Avenue                                           RS Legacy Corporation fka RadioShack
Boston, MA 02110‐3333                      6739      7/6/2015 Corporation                                                $97,142.86                                                                                        $97,142.86




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                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                     Amount
PERSON COUNTY TAX COLLECTOR
PO BOX 1701                                                       RS Legacy Corporation fka RadioShack
ROXBORO, NC 27573                              6740      7/6/2015 Corporation                                                                      $525.02                                                                        $525.02
BROOKWRAP II LLC
1535 CHESTNUT ST SUITE 200                                        RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19102                         6741      7/6/2015 Corporation                                                  $3,997.04                                                                                        $3,997.04
SUNSET JOHNSON, LLC
JARED ENTERPRISES, INC.
2870‐A SOUTH INGRAM MILL ROAD                                     RS Legacy Corporation fka RadioShack
SPRINGFIELD, MO 65804                          6742      7/6/2015 Corporation                                                      $0.00                                $0.00                                                       $0.00
FFlipp Corporation (formerly Wishabi Inc.)
75 Remittance Drive Suite 6263                                    RS Legacy Corporation fka RadioShack
Chicago, IL 60675‐6263                         6743      7/6/2015 Corporation                                                $19,708.98                                                                                        $19,708.98
SUNSET JOHNSON, LLC
JARED ENTERPRISES, INC.
2870‐A SOUTH INGRAM MILL ROAD                                     RS Legacy Corporation fka RadioShack
SPRINGFIELD, MO 65804                          6744      7/6/2015 Corporation                                                      $0.00                                $0.00                                                       $0.00
CITY OF BELLINGHAM
FINANCE DIRECTOR
210 LOTTIE ST
0                                                                 RS Legacy Corporation fka RadioShack
BELLINGHAM, WA 98225‐4009                      6745      7/6/2015 Corporation                                                                      $191.45                                                                        $191.45
Kurt , Schwartz
8173 Tolama Place                                                 RS Legacy Corporation fka RadioShack
Sacramento, CA 95829                           6746      7/6/2015 Corporation                                                    $132.18                                                                                          $132.18
LEE COUNTY ELECTRIC CO‐OP INC.
PO BOX 3455                                                       RS Legacy Corporation fka RadioShack
NORTH FORT MYERS, FL 33918                     6747      7/6/2015 Corporation                                                  $3,697.37                                                                                        $3,697.37
SFP Pool Six, LLC
David M. Blau, Esq.
Clark Hill PLC
151 S. Old Woodward Ave., 2nd Floor                               RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                           6748      7/6/2015 Corporation                                                $45,591.20                                                                                        $45,591.20
Louisiana Department of Revenue
PO Box 66658                                                      RS Legacy Corporation fka RadioShack
Baton Rouge, LA 70896‐9988                     6749      7/6/2015 Corporation                                                                         $0.00                                                                         $0.00
SCHWENDIMAN, JOSIE
STERLING MANAGEMENT GROUP, INC.
977 WILLAGILLESPIE ROAD                                           RS Legacy Corporation fka RadioShack
EUGENE, OR 97401                               6750      7/6/2015 Corporation                                                    $525.14                                                                                          $525.14
City of Yuma
Attn: Steven Moore ‐ City Attorney
One City Plaza                                                    RS Legacy Corporation fka RadioShack
Yuma, AZ 85364                                 6751      7/6/2015 Corporation                                                     $82.29                                                                                           $82.29
Maiz Morales, Samuel J.
PO Box 51705                                                      RS Legacy Corporation fka RadioShack
Toa Baja, PR 00950‐1705                        6752      7/6/2015 Corporation                                                                                                                                 $0.00                 $0.00
Mendez, Jose R
748 Algarrobo St
Urb Highland Park                                                 RS Legacy Corporation fka RadioShack
San Juan, PR 00924                             6753      7/6/2015 Corporation                                                                         $0.00                                                                         $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Ordonez, Daniel
Rastegar & Matern APC
1010 Crenshaw Boulevard
Suite 100                                                      RS Legacy Corporation fka RadioShack
Torrence, CA 90501                          6754      7/6/2015 Corporation                                             $9,585,142.00                                                                                     $9,585,142.00
Demandware, Inc.
c/o Shirley Paley, Asst General Counsel
5 Wall St.
Burlington, MA 01803                        6755      7/6/2015 SCK, Inc.                                                  $96,192.90                                                                                        $96,192.90
Fuller, Anthony L
2364 New York Ave                                              RS Legacy Corporation fka RadioShack
Fort Worth, TX 76104                        6756      7/6/2015 Corporation                                                      $0.00                                                                                            $0.00
Patel, Haresh A.
31 Washington Rd                                               RS Legacy Corporation fka RadioShack
Hamden, CT 06518                            6757      7/6/2015 Corporation                                                                         $0.00                                                                         $0.00
BENDERSON 85‐1 TRUST
570 DELAWARE AVE                                               RS Legacy Corporation fka RadioShack
BUFFALO, NY 14202                           6758      7/6/2015 Corporation                                                  $4,917.31                                                                                        $4,917.31
Castro, Brenda
7138 Maricopa Rd                                               RS Legacy Corporation fka RadioShack
Charlotte, NC 28277                         6759      7/6/2015 Corporation                                                                                                                                                       $0.00
IRVING OIL CORPORATION
Attn: Veronica Wilson
PO BOX 11013                                                   RS Legacy Corporation fka RadioShack
LEWISTON, ME 04243                          6760      7/6/2015 Corporation                                                  $3,364.63                                                                                        $3,364.63
Santoli, Phyllis
74 Emerson Avenue                                              RS Legacy Corporation fka RadioShack
Floral Park, NY 11001                       6761      7/6/2015 Corporation                                                      $0.00                                                                                            $0.00
RB‐3 Associates
Attn: Ken Labenski
570 Delaware Ave                                               RS Legacy Corporation fka RadioShack
Buffalo, NY 14202                           6762      7/6/2015 Corporation                                                $34,975.78                                                                                        $34,975.78
Mendez Ocasio, Jose R
748 Calle Algarrobo
URB. Highland Park                                             RS Legacy Corporation fka RadioShack
San Juan, PR 00924                          6763      7/6/2015 Corporation                                                                         $0.00                                                                         $0.00
PRIVITERA REALTY HOLDING LLC
909 TROOST AVE                                                 RS Legacy Corporation fka RadioShack
KANSAS CITY, MO 64106                       6764      7/6/2015 Corporation                                                    $750.00                                                                                          $750.00
Louisiana Department of Revenue
PO BOX 66658                                                   RS Legacy Corporation fka RadioShack
Baton Rouge, LA 70896‐9988                  6765      7/6/2015 Corporation                                                                         $0.00                                                                         $0.00
City of Fort Atkinson
ATTN: Michelle Ebbert ‐ City Clerk
101 N. Main Street                                             RS Legacy Corporation fka RadioShack
Fort Atkinson, WI 53538                     6766      7/6/2015 Corporation                                                    $245.39                                                                                          $245.39
Little Creek Investment Corporation
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                      RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                          6767      7/6/2015 Corporation                                                    $360.21                                                                                          $360.21



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                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
RONALD H WILLIAMS CITY TREASURER
C/O CITY OF SUFFOLK TREASURER
441 MARKET STREET                                                    RS Legacy Corporation fka RadioShack
SUFFOLK, VA 23434                                 6768      7/6/2015 Corporation                                                                     $1,035.73                                                                     $1,035.73
Hampton, Jamey B.
14209 Tranters Creek Lane                                            RS Legacy Corporation fka RadioShack
Charlotte, NC 28273                               6769      7/6/2015 Corporation                                                    $107.00                                                                                          $107.00
Maiz, Samuel
Po Box 51705                                                         RS Legacy Corporation fka RadioShack
Toa Baja, PR 00950                                6770      7/6/2015 Corporation                                                                         $0.00                                                                         $0.00
Florman, Lois
200 East 90th Street ‐ Apartment 3B                                  RS Legacy Corporation fka RadioShack
New York, NY 10128                                6771      7/6/2015 Corporation                                                    $434.40                                                                                          $434.40

ANNAPOLIS HARBOUR CENTER ASSOCIATES LLLP
2000 Tower Oaks Boulevard 8th Floor                                  RS Legacy Corporation fka RadioShack
Rockville, MD 20852                               6772      7/6/2015 Corporation                                               $123,031.79                                                                                       $123,031.79
Wagner, Mark F
114 N Ardmoor Ave                                                    RS Legacy Corporation fka RadioShack
Danville, PA 17821                                6773      7/6/2015 Corporation                                                      $0.00                                                                                            $0.00
FBBT/US Properties LLC
Ken Labenski
570 Delaware Ave                                                     RS Legacy Corporation fka RadioShack
Buffalo, NY 14202                                 6774      7/6/2015 Corporation                                                $57,375.15                                                                                        $57,375.15
SIMPLEXGRINNELL
ATTN: BANKRUPTCY
50 Technology Drive                                                  RS Legacy Corporation fka RadioShack
WESTMINSTER, MA 01441                             6775      7/6/2015 Corporation                                                $13,237.19                                                                                        $13,237.19
River Plaza Muncie, In. LLC
RIVER PLAZA
270 COMMERCE DRIVE                                                   RS Legacy Corporation fka RadioShack
ROCHESTER, NY 14623                               6776      7/6/2015 Corporation                                                  $3,243.60                                                                                        $3,243.60
Patel, Haresh A.
31 Washington Rd                                                     RS Legacy Corporation fka RadioShack
Hamden, CT 06518                                  6777      7/6/2015 Corporation                                                                                                                                 $0.00                 $0.00
Little Creek Investment Corporation
Menter, Rudin & Trivelpiece, P.C.
Attn: Kevin M. Newman
308 Maltbie Street, Suite 200                                        RS Legacy Corporation fka RadioShack
Syracuse, NY 13204‐1439                           6778      7/6/2015 Corporation                                                $31,626.72                                                                                        $31,626.72
Hallford Jr., Ken W.
7868 Horned Lark Circle                                              RS Legacy Corporation fka RadioShack
Port St. Lucie, FL 34952                          6779      7/6/2015 Corporation                                                                     $2,000.00                                                                     $2,000.00
Heartland Acquisition LLC
Heartland Payment Systems attn: Honora Moore,
Esq.
90 Nassau Street                                                     RS Legacy Corporation fka RadioShack
Princeton, NJ 08542                               6780      7/6/2015 Corporation                                                $11,601.17                                                                                        $11,601.17




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                                                                                                                               Current General                                            Current 503(b)(9)
                                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                 Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
Riviera Shopping Center, LTD, Successor‐in‐interest
to KIB Retail Properties, L.P.
Ronald K. Brown, Jr., Esq.
Law offices of Ronald K. Brown, JR., APC
901 Dove Street, Suite 120                                                 RS Legacy Corporation fka RadioShack
Newport Beach, CA 92660                                 6781      7/6/2015 Corporation                                                       $0.00                                                                                            $0.00
BRAUN, DEAN W.
449 TIMMONSVILLE WAY                                                       RS Legacy Corporation fka RadioShack
THE VILLAGES, FL 32162                                  6782      7/6/2015 Corporation                                                 $40,149.44                                                                                        $40,149.44
Jones, Baker L
1834 LYONS BEND RD                                                          RS Legacy Corporation fka RadioShack
KNOXVILLE, TN 37919                                     6783      6/23/2015 Corporation                                                      $0.00                                                                                            $0.00
Waste Management National Services, Inc
1001 Fanin, Suite 4000                                                     RS Legacy Corporation fka RadioShack
Houston, TX 77002                                       6784      7/6/2015 Corporation                                                $781,853.01                                                                                       $781,853.01
LOGICSOURCE INC
ATTN FINANCE DEPARTMENT
20 MARSHALL STREET STE 210                                                 RS Legacy Corporation fka RadioShack
NORWALK, CT 06850                                       6785      7/6/2015 Corporation                                              $24,714,362.00                                                                                   $24,714,362.00
Perkins, Kashemia
138 Valley Rd                                                              RS Legacy Corporation fka RadioShack
Statesboro, GA 30458                                    6786      7/6/2015 Corporation                                                      $50.00                                                                                           $50.00
Miller, Shawna
3841 Prado Drive                                                           RS Legacy Corporation fka RadioShack
Sarasota, FL 34235                                      6787      7/6/2015 Corporation                                                      $53.00                                                                                           $53.00
Lynch, Hugh F
4732 E 1950th Rd                                                           RS Legacy Customer Service LLC fka RadioShack
Leland, IL 60531                                        6788      7/6/2015 Customer Service LLC                                                               $10.00                                  $0.00                                  $10.00
Frederick Shopping Center, LLC
c/o Laurence H. Berbert
Bregman, Berbert, Schwartz & Gilday, LLC
7315 Wisconsin Avenue
Suite 800 West                                                             RS Legacy Corporation fka RadioShack
Bethesda, MD 20814                                      6789      7/6/2015 Corporation                                                 $53,927.35                                                                                        $53,927.35
TOWN N COUNTRY REALTY
1919 E MAIN STREET                                                         RS Legacy Corporation fka RadioShack
EASLEY, SC 29641                                        6790      7/6/2015 Corporation                                                 $32,757.91                                                                       $0.00            $32,757.91
Henry County Tax Commissioner
140 Henry Parkway                                                          RS Legacy Corporation fka RadioShack
McDonough, GA 30253                                     6791      7/6/2015 Corporation                                                                      $5,018.52                                                                     $5,018.52
Reola, Arnold T.
13725 Hastenbeck Dr.                                                       RS Legacy Corporation fka RadioShack
Gainesville, VA 20155                                   6792      7/6/2015 Corporation                                                       $0.00                                                                                            $0.00
Castro, Brenda
10656 Victory Blvd #110                                                    RS Legacy Corporation fka RadioShack
North Hollywood, CA 91606                               6793      7/6/2015 Corporation                                                                                                                                  $0.00                 $0.00
Cayton, Amelia
19426 tajauta ave                                                          RS Legacy Corporation fka RadioShack
Carson, CA 90746                                        6794      7/6/2015 Corporation                                                       $0.00                                                                                            $0.00
Greenhouse, Kathleen M.
PO Box 31                                                                  RS Legacy Corporation fka RadioShack
Chautauqua, NY 14722                                    6795      7/6/2015 Corporation                                                      $26.86                                                                                           $26.86



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            Creditor Name and Address                Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount
CHILLICOTHE MUNICIPAL
UTILITIES DEPT
35 S PAINT STREET SUITE A                                                 RS Legacy Corporation fka RadioShack
CHILLICOTHE, OH 45601                                  6796      7/6/2015 Corporation                                                      $12.60                                                                                           $12.60
Johnson River LLC and 3520‐52 Johnson LLC
Brett D. Goodman, counsel to John River Center and
3520‐52 Johnson LLC
Troutman Sanders LLP
875 Third Avenue                                                          RS Legacy Corporation fka RadioShack
New York, NY 10022                                     6797      7/6/2015 Corporation                                                                                                                              $4,940.78             $4,940.78
Baird, Sr, Glenn D
210 James Boulevard                                                       RS Legacy Corporation fka RadioShack
Signal Mountain, TN 37377                              6798      7/6/2015 Corporation                                                      $18.56                                                                                           $18.56
Cayton, Amelia
19426 Tajauta Ave                                                         RS Legacy Corporation fka RadioShack
Carson, CA 90746                                       6799      7/6/2015 Corporation                                                       $0.00                                                                                            $0.00
Laufer, Tyler
29740 SE Roork Rd                                                         RS Legacy Corporation fka RadioShack
Gresham, OR 97080                                      6800      7/6/2015 Corporation                                                      $52.06                                                                                           $52.06
SOMERS POINT BUILDERS, INC.
c/o Brahin Properties
1535 CHESTNUT STREET
SUITE 200                                                                 RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19102                                 6801      7/6/2015 Corporation                                                   $4,222.01                                                                                        $4,222.01
Pascoe, Peter
1536 Notre Dame Dr.                                                       RS Legacy Corporation fka RadioShack
Davis, CA 95616                                        6802      7/6/2015 Corporation                                                      $13.78                                                                                           $13.78
Deukmejian, George K.
c/o Robert Smith
1369 VALLEJO WAY                                                          RS Legacy Corporation fka RadioShack
SACRAMENTO, CA 95818                                   6803      7/6/2015 Corporation                                                       $0.00                                                                                            $0.00
Biniamini, Hanna
8544 W. Bellfort #603                                                     RS Legacy Corporation fka RadioShack
Houston, Texas 77071                                   6804      7/6/2015 Corporation                                                      $12.43                                                                                           $12.43
Penfield TK Owner LLC
c/o David Rasmussen, Esq.
Davidson Fink LLP
28 East Main Street                                                       RS Legacy Corporation fka RadioShack
Rochester, NY 14621                                    6805      7/6/2015 Corporation                                                       $0.00                                                                                            $0.00
VAN OAK PLAZA
595 EVELYN PL                                                             RS Legacy Corporation fka RadioShack
BEVERLY HILLS, CA 90210                                6806      7/6/2015 Corporation                                                   $4,771.45                                                                                        $4,771.45
Brookler, Morry
c/o Law Offices of Stephen Glick
1055 Wilshire Blvd., Suite 1480                                           RS Legacy Corporation fka RadioShack
Los Angeles, CA 90017                                  6807      7/6/2015 Corporation                                                 $20,000.00                                                                                        $20,000.00
Lesnikova, Irina
437 Cheyenne Dr.                                                          RS Legacy Global Sourcing Corporation fka
Waretown , NJ 08758                                    6808      7/6/2015 RadioShack Global Sourcing Corporation                                                               $125.00               $0.00                                 $125.00
Kinaga, Rose Y.
7845 Prestwick Cir                                                        RS Legacy Corporation fka RadioShack
San Jose, CA 95135                                     6809      7/7/2015 Corporation                                                                        $10.00                                                                         $10.00



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                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Parkway Plaza Limited Partnership
c/o David Rasmussen, Esq.
Davidson Fink LLP
28 East Main Street                                                      RS Legacy Corporation fka RadioShack
Rochester , NY 14621                                  6810      7/6/2015 Corporation                                                   $3,277.83                                                                                        $3,277.83
Farran, Darrel
9596 E. 550 Rd
El Dorado Springs, MO 64744                           6811      7/6/2015 Merchandising Support Services, Inc.                            $324.65                                                                                          $324.65
Griffiths, Jillian
9 Georgia Place                                                          RS Legacy Corporation fka RadioShack
Montauk, NY 11954                                     6812      7/6/2015 Corporation                                                     $100.00                                                                                          $100.00
Texas Comptroller of Public Accounts on behalf of
the State of Texas, Texas Municipalities, Texas
Counties, Special Purpose Districts and/or Texas
Metropolitan or Regional Transportation
Authorities
Office of the Attorney General
Bankruptcy ‐ Collections Division
PO Box 12548                                                             RS Legacy Corporation fka RadioShack
Austin, TX 78711‐2548                                 6813      7/6/2015 Corporation                                                                                                                                  $0.00                 $0.00
Logan, Jeanne Marie
6540 Githens Ave                                                         RS Legacy Corporation fka RadioShack
Pensauken, NJ 08109                                   6814      7/6/2015 Corporation                                                     $199.88                                                                                          $199.88
Coggiola, Nicholas
1147 Hummingbird Lane                                                    RS Legacy Corporation fka RadioShack
Grayslake, IL 60030                                   6815      7/6/2015 Corporation                                                                                                               $98.54                                  $98.54
Morry Brookler and Johnny Triplett, as putative
class representatives
c/o Law Offices of Stephen Glick
1055 Wilshire Blvd., Suite 1480                                          RS Legacy Corporation fka RadioShack
Los Angeles, CA 90017                                 6816      7/6/2015 Corporation                                                       $0.00                                                                                            $0.00
Farran, Darrel
9596 E. 550 Rd                                                           RS Legacy Corporation fka RadioShack
El Dorado Springs, MO 64744                           6817      7/6/2015 Corporation                                                     $324.65                                                                                          $324.65
Farran, Darrel
9596 E. 550 Rd.                                                          RS Legacy Customer Service LLC fka RadioShack
El Dorado Springs, MO 64744                           6818      7/6/2015 Customer Service LLC                                            $324.65                                                                                          $324.65
Cathro, Michelle
14322 Millstone Estates Lane                                             RS Legacy Corporation fka RadioShack
Cypress , TX 77429                                    6819      7/7/2015 Corporation                                                      $75.00                                                                                           $75.00
TOWN OF MOREHEAD CITY
706 ARENDELL ST                                                          RS Legacy Corporation fka RadioShack
MOREHEAD CITY, NC 28557                               6820      7/6/2015 Corporation                                                      $33.19                                                                                           $33.19
Texas Comptroller of Public Accounts on behalf of
the State of Texas, Texas Municipalities, Texas
Counties, Special Purpose Districts and/or Texas
Metropolitan or Regional Transportation
Authorities.
Office of the Attorney General
Bankruptcy ‐ Collections Division
PO Box 12548                                                             RS Legacy Corporation fka RadioShack
Austin, TX 78711‐2548                                 6821      7/6/2015 Corporation                                                       $0.00              $0.00                                                                         $0.00



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                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
Triplett, Johnny
c/o Law Offices of Stephen Glick
1055 Wilshire Blvd., Suite 1480                                        RS Legacy Corporation fka RadioShack
Los Angeles, CA 90017                               6822      7/6/2015 Corporation                                                  $20,000.00                                                                                        $20,000.00
dang, Mai
1204 chelsen cross                                                     RS Legacy Corporation fka RadioShack
mechanicsburg, PA 17050                             6823      7/6/2015 Corporation                                                       $15.89                                                                                           $15.89
Reizis, Eugune
C/O BRIGHTON BEACH REALTY LLC
PO BOX 525
Store # 2658                                                           RS Legacy Corporation fka RadioShack
MANALAPAN, NJ 07726                                 6824      7/6/2015 Corporation                                                                                                                              $12,428.57            $12,428.57
Liberty Mutual Insurance Company
100 Liberty Way
PO Box 1525                                                            RS Legacy Global Sourcing, Inc. fka RadioShack
Dover, NH 03821‐1525                                6825      7/7/2015 Global Sourcing, Inc.                                              $0.00                                $0.00                                                       $0.00
Liberty Mutual Insurance Company
100 Liberty Way                                                        RS Legacy Global Sourcing Limited Partnership
PO Box 1525                                                            fka RadioShack Global Sourcing Limited
Dover, NH 03821‐1525                                6826      7/7/2015 Partnership                                                        $0.00                                $0.00                                                       $0.00
Liberty Mutual Insurance Company
100 Liberty Way
PO Box 1525
Dover, NH 03821‐1525                                6827      7/7/2015 RS Legacy Holdings, Inc. fka Tandy Holdings, Inc.                  $0.00                                $0.00                                                       $0.00
Liberty Mutual Insurance Company
100 Liberty Way
PO Box 1525
Dover, NH 03821‐1525                                6828      7/7/2015 SCK, Inc.                                                          $0.00                                $0.00                                                       $0.00
Hares, Mohammad
30 Mill St Apt #116                                                    RS Legacy Corporation fka RadioShack
Arlington, MA 02476                                 6829      7/7/2015 Corporation                                                       $42.48                                                                                           $42.48
Parkway PLaza LP
Davidson Fink LLP
David L. Rasmussen, Esq
28 East Main Street                                                    RS Legacy Corporation fka RadioShack
Rochester, NY 14614                                 6830      7/6/2015 Corporation                                                                                                                                   $0.00                 $0.00

Jim R. Smith and Company
c/o Karen E. Murray, Esq. ‐ Craddock Massey LLP
Wendy S. Lewis, CFO
1400 Post Oak Blvd., Suite 650                                         RS Legacy Corporation fka RadioShack
Houston, TX 77056                                   6831      7/6/2015 Corporation                                                                                                                                   $0.00                 $0.00
WEDDLE TECHNOLOGIES INC
SPENCER WEDDLE
1340 S HWY 27 Suite E                                                  RS Legacy Corporation fka RadioShack
SOMERSET, KY 42501                                  6832      7/6/2015 Corporation                                                  $34,950.00                                                                                        $34,950.00
Claim Docketed In Error                                                RS Legacy Corporation fka RadioShack
                                                    6833      7/7/2015 Corporation                                                                                                                                                         $0.00
Leger, Robert
9663 Santa Monica Blvd, #605                                           RS Legacy Corporation fka RadioShack
Beverly Hills, CA 90210                             6834      7/7/2015 Corporation                                                       $60.00                                                                                           $60.00




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                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
Liberty Mutual Insurance Company
100 Liberty Way
PO Box 1525
Dover, NH 03821‐1525                                    6835      7/7/2015 RS Ig Holdings Incorporated                                       $0.00                                $0.00                                                       $0.00
Bruce, Thomas
6016 Meridian St.                                                          RS Legacy Corporation fka RadioShack
Los Angeles, CA 90042                                   6836      7/7/2015 Corporation                                                                          $0.00                                 $0.00                                   $0.00
Morton Sr., Kenneth J.
17 Stonegate Rd.                                                           RS Legacy Corporation fka RadioShack
New Hartford, CT 06057                                  6837      7/7/2015 Corporation                                                                        $56.34                                                                         $56.34
Liberty Mutual Insurance Company
100 Liberty Way
PO Box 1525                                                                RS Legacy Global Sourcing Corporation fka
Dover, NH 03821‐1525                                    6838      7/7/2015 RadioShack Global Sourcing Corporation                            $0.00                                $0.00                                                       $0.00
Wireless Data Services North America, Inc., a Xerox
Company
c/o Michelle E. Shriro
Singer & Levick, PC
16200 Addison Road, Suite 140                                              RS Legacy Corporation fka RadioShack
Addison, TX 75001                                       6839      7/7/2015 Corporation                                              $2,725,322.82                                                                                     $2,725,322.82
IMPERIAL STERLING LTD.
EEVO REAL ESTATE GROUP
1430 BROADWAY, 20TH FLOOR                                                  RS Legacy Corporation fka RadioShack
NEW YORK, NY 10018                                      6840      7/7/2015 Corporation                                                   $6,428.57                                                                                        $6,428.57
Spates, Theresa
6 Grace Way                                                                RS Legacy Corporation fka RadioShack
Hampstead, NH 03841                                     6841      7/7/2015 Corporation                                                                        $11.23                                                                         $11.23
Liberty Mutual Insurance Company
100 Liberty Way
PO Box 1525                                                                RS Legacy Customer Service LLC fka RadioShack
Dover, NH 03821‐1525                                    6842      7/7/2015 Customer Service LLC                                              $0.00                                $0.00                                                       $0.00
Liberty Mutual Insurance Company
100 Liberty Way
PO Box 1525
Dover, NH 03821‐1525                                    6843      7/7/2015 TRS Quality, Inc.                                                 $0.00                                $0.00                                                       $0.00
Liberty Mutual Insurance Company
100 Liberty Way
PO Box 1525                                                                RS Legacy International Corporation fka Tandy
Dover, NH 03821‐1525                                    6844      7/7/2015 International Corporation                                         $0.00                                $0.00                                                       $0.00
Liberty Mutual Insurance Company
100 Liberty Way
PO Box 1525
Dover, NH 03821‐1525                                    6845      7/7/2015 TE Electronics LP                                                 $0.00                                $0.00                                                       $0.00
Liberty Mutual Insurance Company
100 Liberty Way
PO Box 1525                                                                RS Legacy Finance Corporation fka Tandy Finance
Dover, NH 03821‐1525                                    6846      7/7/2015 Corporation                                                       $0.00                                $0.00                                                       $0.00
Liberty Mutual Insurance Company
100 Liberty Way
PO Box 1525
Dover, NH 03821‐1525                                    6847      7/7/2015 Trade and Save LLC                                                $0.00                                $0.00                                                       $0.00




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                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Liberty Mutual Insurance Company
100 Liberty Way
PO Box 1525
Dover, NH 03821‐1525                                 6848      7/7/2015 Atlantic Retail Ventures, Inc.                                     $0.00                                $0.00                                                       $0.00
Liberty Mutual Insurance Company
100 Liberty Way
PO Box 1525
Dover, NH 03821‐1525                                 6849      7/7/2015 Merchandising Support Services, Inc.                               $0.00                                $0.00                                                       $0.00
Atmos Energy Corporation
PO Box 650205                                                           RS Legacy Corporation fka RadioShack
Dallas, TX 75265‐0205                                6850      7/7/2015 Corporation                                                  $68,470.71                                                                                        $68,470.71
Liberty Mutual Insurance Company
100 Liberty Way
PO Box 1525
Dover, NH 03821‐1525                                 6851      7/7/2015 Ignition L.P.                                                      $0.00                                $0.00                                                       $0.00
Liberty Mutual Insurance Company
100 Liberty Way
PO Box 1525
Dover, NH 03821‐1525                                 6852      7/7/2015 RSIgnite, LLC                                                      $0.00                                $0.00                                                       $0.00
Liberty Mutual Insurance Company
100 Liberty Way
PO Box 1525
Dover, NH 03821‐1525                                 6853      7/7/2015 ITC Services, Inc.                                                 $0.00                                $0.00                                                       $0.00
Pennsylvania Department of Revenue
Bankruptcy Division
PO Box 280946                                                           RS Legacy Corporation fka RadioShack
Harrisburg, PA 17128‐0946                            6854      7/7/2015 Corporation                                                        $0.00              $0.00                                                   $0.00                 $0.00
Wolle, Deborah A.
11900 Highland Rd. NW                                                   RS Legacy Corporation fka RadioShack
Elk River, MN 55330‐1232                             6855      7/7/2015 Corporation                                                       $38.00                                                                                           $38.00
El Dorado Investment, LLC
CARNEGIE COMPANIES, INC.
6190 COCHRAN ROAD, SUITE A                                              RS Legacy Corporation fka RadioShack
SOLON, OH 44139                                      6856      7/7/2015 Corporation                                                    $2,900.93                                                                                        $2,900.93
Stevens, Kayla
724 SE 154th Ave                                                        RS Legacy Corporation fka RadioShack
Portland, OR 97233                                   6857      7/7/2015 Corporation                                                      $147.85                                                                                          $147.85
Lee‐White, Terri
1723 E. Florida Ave Apt 207                                             RS Legacy Corporation fka RadioShack
Urbana, IL 61802                                     6858      7/7/2015 Corporation                                                       $55.06                                                                                           $55.06
Perry, Terry L.
240 Yeoman                                                              RS Legacy Corporation fka RadioShack
Springfield, IL 62704                                6859      7/7/2015 Corporation                                                      $125.00                                                                                          $125.00
MFC PROPERTIES 10 LP
3470 WASHINGTON DRIVE SUITE 102                                         RS Legacy Corporation fka RadioShack
EAGAN, MN 55122                                      6860      7/7/2015 Corporation                                                    $3,713.46                                                                                        $3,713.46

American Express Travel Related Services Co, Inc
Becket and Lee LLP
POB 3001                                                                RS Legacy Corporation fka RadioShack
Malvern, PA 19355‐0701                               6861      7/7/2015 Corporation                                                  $14,440.00                                                                                        $14,440.00




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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Lubas, Teresa
30 West 10th Street                                           RS Legacy Corporation fka RadioShack
Linden, NJ 07036                           6862      7/7/2015 Corporation                                                      $0.00                                                                                            $0.00
HAMILTON WEST DEVELOPMENT LTD. CO.
C/O CHASE PROPERTIES LTD.
3333 RICHMOND ROAD, SUITE 320                                 RS Legacy Corporation fka RadioShack
BEACHWOOD, OH 44122                        6863      7/7/2015 Corporation                                                  $3,614.54                                                                                        $3,614.54
MHN Services
2370 Kerner Blvd                                              RS Legacy Corporation fka RadioShack
San Rafael, CA 94901                       6864      7/7/2015 Corporation                                                $10,094.00                                                                                        $10,094.00
Kott, Diane H
5919 Leeway Dr                                                RS Legacy Corporation fka RadioShack
Midland, MI 48640                          6865      7/7/2015 Corporation                                                                                         $100.00                                                     $100.00
Miedzinski, Ava
1800 Beech Court                                              RS Legacy Corporation fka RadioShack
Frederick, MD 21701                        6866      7/7/2015 Corporation                                                                                                              $27.54                                  $27.54
Ogren, Willard
64610 McCarry Lake Rd                                         RS Legacy Corporation fka RadioShack
Iron River, WI 54847                       6867      7/7/2015 Corporation                                                     $32.48                                                                                           $32.48
RAF BEDFORD LLC
CHASE PROPERTIES LTD.
3333 RICHMOND ROAD SUITE 320                                  RS Legacy Corporation fka RadioShack
BEACHWOOD, OH 44122                        6868      7/7/2015 Corporation                                                  $1,857.14                                                                                        $1,857.14
Miedzinski, Ava
1800 Beech Court                                              RS Legacy Corporation fka RadioShack
Frederick, MD 21701                        6869      7/7/2015 Corporation                                                                                                              $27.54                                  $27.54
James G. Shaw Revocable Trust
James G. Shaw
237 N.E. Wavecrest Way                                        RS Legacy Corporation fka RadioShack
Boca Raton, FL 33432‐4219                  6870      7/7/2015 Corporation                                                $88,000.00                                                                                        $88,000.00
MEADOWVIEW PROPERTY, LLC
CARNGIE PROPERTIES, INC.
6190 COCHRAN ROAD, SUITE A                                    RS Legacy Corporation fka RadioShack
SOLON, OH 44139                            6871      7/7/2015 Corporation                                                  $2,296.00                                                                                        $2,296.00
Stillwater MP I LLC
Chase Properties Ltd.
3333 Richmond Road, Suite 320                                 RS Legacy Corporation fka RadioShack
Beachwood, OH 44122                        6872      7/7/2015 Corporation                                                $75,607.66                                                                                        $75,607.66
Wiley Rein LLP
Attn: Rebecca L. Saitta
1776 K Street NW                                              RS Legacy Corporation fka RadioShack
Washington, DC 20006                       6873      7/7/2015 Corporation                                                $15,573.70                                                                                        $15,573.70
GSD&M Idea City LLC
Attn: Marty Urbanovsky
828 West 6th Street                                           RS Legacy Corporation fka RadioShack
Austin, TX 78703                           6874      7/7/2015 Corporation                                               $492,642.11                                                                                       $492,642.11
Krizek, David
5125 W. Larkspur Ridge Dr.                                    RS Legacy Corporation fka RadioShack
Tucson, AZ 85743                           6875      7/7/2015 Corporation                                                                                          $30.00                                                      $30.00




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                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
West Bluff Center, LLC
6211 San Mateo Blvd.
Suite 130                                                           RS Legacy Corporation fka RadioShack
Albuquerque, NM 87109                            6876      7/7/2015 Corporation                                                $69,377.24                                                                       $0.00            $69,377.24
Fredericksburg 35, LLC
c/o Laurence H. Berbert
Bregman, Berbert, Schawrtz & Gilday, LLC
7315 Wisonson Avenue
Suite 800 West                                                      RS Legacy Corporation fka RadioShack
Bethesda, MD 20814                               6877      7/7/2015 Corporation                                                $77,041.14                                                                                        $77,041.14
Liberty Mutual Insurance Company
100 Liberty Way
PO Box 1525                                                         RS Legacy Corporation fka RadioShack
Dover, NH 03821‐1525                             6878      7/7/2015 Corporation                                                                                  $24,056,206.00                                              $24,056,206.00
Mountaineer Gas
Attn: Diane S. Carey
PO Box 1003                                                         RS Legacy Finance Corporation fka Tandy Finance
Charleston, WV 25324‐1003                        6879      7/7/2015 Corporation                                                     $74.49                                                                                           $74.49
Victoria Retail L.L.C.
c/o TF Cornerstone, Inc.
387 Park Avenue South, 7th Floor                                    RS Legacy Corporation fka RadioShack
New York, NY 10016                               6880      7/7/2015 Corporation                                               $180,370.67                                                                                       $180,370.67
Butler Plaza Lot 1, LLC
Richard L. Zucker, Esq.
Lasser Hochman, LLC
75 Eisenhower Parkway                                               RS Legacy Corporation fka RadioShack
Roseland, NJ 07068‐1694                          6881      7/7/2015 Corporation                                                $35,237.61                                                                   $2,010.59            $37,248.20
GATEWAY JACKSON, INC.
C/O EMMES REALTY SERVICES, LLC
420 LEXINGTON AVENUE, SUITE 900                                     RS Legacy Corporation fka RadioShack
NEW YORK, NY 10170                               6882      7/7/2015 Corporation                                                  $3,162.35                                                                                        $3,162.35
Bull Run Plaza LLC
c/o Laurence H. Berbert
Bregman, Berbert, Schwartz & Gilday, LLC
7315 Wisconsin Avenue
Suite 800 West                                                      RS Legacy Corporation fka RadioShack
Bethesda, MD 20814                               6883      7/7/2015 Corporation                                                $51,991.68                                                                                        $51,991.68
Towers Retail, LLC
c/o Bregman, Berbert, Schwartz & Gilday, LLC
Attn: Laurence H. Berbert
7315 Wisconsin Avenue
Suite 800 West                                                      RS Legacy Corporation fka RadioShack
Bethesda, MD 20814                               6884      7/7/2015 Corporation                                                $65,566.73                                                                                        $65,566.73
Romano, Antonio
7 Red Way Road                                                      RS Legacy Corporation fka RadioShack
Ossining, NY 10562                               6885      7/7/2015 Corporation                                                     $96.63                                                                                           $96.63
SILVER STATE HEATING & AIR CONDITIONING
686 BECKWOURTH DRIVE                                                RS Legacy Corporation fka RadioShack
RENO, NV 89506                                   6886      7/7/2015 Corporation                                                    $719.74                                                                                          $719.74




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            Creditor Name and Address             Claim No.   Claim Date                    Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
Mountaineer Gas
Attn: Diane S. Carey
PO Box 1003                                                            RS Legacy Corporation fka RadioShack
Charleston, WV 25324‐1003                           6887      7/7/2015 Corporation                                                    $899.39                                                                                          $899.39
NORWICH REALTY ASSOCIATES L P
C/O KONOVER OFFICE & INDUSTRIAL
342 N MAIN ST                                                          RS Legacy Corporation fka RadioShack
WEST HARTFORD, CT 06117                             6888      7/7/2015 Corporation                                                $24,511.14                                                                                        $24,511.14
Claim Docketed In Error                                                RS Legacy Corporation fka RadioShack
                                                    6889      7/7/2015 Corporation                                                                                                                                                       $0.00
Luan Investment, S.E.
PO Box 362983                                                          RS Legacy Corporation fka RadioShack
San Juan, PR 00936‐2983                             6890      7/7/2015 Corporation                                                  $6,162.21                                                                                        $6,162.21
Villa Blanca Shopping Center, LLC
PO Box 362983                                                          RS Legacy Corporation fka RadioShack
San Juan, PR 00936‐2983                             6891      7/7/2015 Corporation                                                  $4,480.70                                                                                        $4,480.70
SILVER STATE HEATING & AIR CONDITIONING
686 BECKWOURTH DRIVE                                                   RS Legacy Corporation fka RadioShack
RENO, NV 89506                                      6892      7/7/2015 Corporation                                                    $719.74                                                                      $0.00               $719.74
COMMON URBAN BUSINESS ADVISORY, INC.
PO BOX 362983                                                          RS Legacy Corporation fka RadioShack
SAN JUAN, PR 00936‐2983                             6893      7/7/2015 Corporation                                                  $3,785.71                                                                                        $3,785.71
Childress, Judi
5494 Bentwood Dr                                                       RS Legacy Customer Service LLC fka RadioShack
Mason, OH 45040                                     6894      7/7/2015 Customer Service LLC                                                                                                     $18.64                                  $18.64
Mcgrew, Bob
2410 High Meadow Lane                                                  RS Legacy Corporation fka RadioShack
Champaign, IL 61822                                 6895      7/7/2015 Corporation                                                    $100.00                                                                                          $100.00
Osinski, Robb
183 Atlantic Avenue                                                    RS Legacy Corporation fka RadioShack
Salisbury, MA 01952                                 6896      7/7/2015 Corporation                                                     $50.00                                                                                           $50.00

Carmella Moustafa, as Administratrix ad
Prosequendum of Estate of Christiano Bonner, as
Guardian ad Litem for Bianca Bonner
Law Offices Rosemarie Arnold
1386 Palisade Avenue                                                   RS Legacy Corporation fka RadioShack
Fort Lee, NJ 07024                                  6897      7/7/2015 Corporation                                             $35,000,000.00                                                                                   $35,000,000.00
SANTA ROSA MALL, LLC
PO BOX 362983                                                          RS Legacy Corporation fka RadioShack
SAN JUAN, PR 00936‐2983                             6898      7/7/2015 Corporation                                                  $6,604.01                                                                                        $6,604.01
2810 Broadway LLC
Troutman Sanders LLP
Brett D. Goodman
875 Third Ave                                                          RS Legacy Corporation fka RadioShack
New York, NY 10022                                  6899      7/7/2015 Corporation                                                                                                                            $17,761.46            $17,761.46
Sullivan & Cromwell LLP
Attn: Andrew G. Dietderich, Esq.
125 Broad Street                                                       RS Legacy Corporation fka RadioShack
NEW YORK, NY 10004                                  6900      7/7/2015 Corporation                                               $139,611.59                                                                                       $139,611.59




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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
2561 Broadway LLC
Brett D. Goodman, Counsel
Troutman Sanders LLP
875 Third Ave                                                 RS Legacy Corporation fka RadioShack
New York, NY 10022                         6901      7/7/2015 Corporation                                                                                                                            $21,304.11            $21,304.11
50 East Forty Second Company
c/o: Abramson Brothers Incorporated
501 Fifth Avenue                                              RS Legacy Corporation fka RadioShack
New York, NY 10017                         6902      7/7/2015 Corporation                                               $669,082.00                                                                                       $669,082.00
CENTRO DEL SUR MALL, LLC
PO BOX 362983                                                 RS Legacy Corporation fka RadioShack
SAN JUAN, PR 00936‐2983                    6903      7/7/2015 Corporation                                                  $5,892.86                                                                                        $5,892.86
Martin, Lisa R.
91 Hillsborough Dr                                            RS Legacy Corporation fka RadioShack
Sorrento, FL 32776                         6904      7/7/2015 Corporation                                                     $40.00                                                                                           $40.00
SCOTTS VALLEY PLAZA, L.P.
C/O PGI MANAGEMENT
1606 N. MAIN ST.                                              RS Legacy Corporation fka RadioShack
SALINAS, CA 93906                          6905      7/7/2015 Corporation                                                  $1,026.60                                                                                        $1,026.60
Ayuk‐Arrey, Tambe
13916 Castle Blvd # 303                                       RS Legacy Corporation fka RadioShack
Silver Spring, MD 20904                    6906      7/7/2015 Corporation                                                    $120.00                                                                                          $120.00
SCOTTS VALLEY PLAZA, L.P.
C/O PGI MANAGEMENT
1606 N. MAIN ST.                                              RS Legacy Corporation fka RadioShack
SALINAS, CA 93906                          6907      7/7/2015 Corporation                                                      $0.00                                                                                            $0.00
Niemann, John
16532 Pine Hill Drive                                         RS Legacy Corporation fka RadioShack
Homer Glen, IL 60491                       6908      7/7/2015 Corporation                                                     $52.99                                                                                           $52.99
OSTROVSKY, YELENA
24428 SAN MATEO AVENUE                                        RS Legacy Corporation fka RadioShack
CARMEL, CA 93923                           6909      7/7/2015 Corporation                                                     $38.75                                                                                           $38.75
AT&T Corp.
Attention: James W. Grudus
One AT&T Way, Room 3A115                                      RS Legacy Corporation fka RadioShack
Bedminster, NJ 07921                       6910      7/7/2015 Corporation                                               $413,122.09                                                                                       $413,122.09
Slater, Mary S.
c/o Anthony & Partners, LLC
201 N. Franklin Street, Suite 2800                            RS Legacy Corporation fka RadioShack
Tampa, FL 33602                            6911      7/7/2015 Corporation                                                      $0.00                                                                                            $0.00
Kawamoto, Ryan
1818 North Kenwood Street                                     RS Legacy Corporation fka RadioShack
Burbank, CA 91505                          6912      7/7/2015 Corporation                                                      $0.00                                                                                            $0.00
Caldwell, Jeffrey
908 Manhattan Ave Apt C                                       RS Legacy Corporation fka RadioShack
Hermosa Beach, CA 90254                    6913      7/8/2015 Corporation                                                     $10.00                                                                                           $10.00
CFS Associates, L.L.C.
c/o Matthew G. Summers, Esq.
Ballard Spahr LLP
919 N. Market Street, 11th Floor                              RS Legacy Corporation fka RadioShack
Wilmington , DE 19801                      6914      7/8/2015 Corporation                                                $45,808.72                                                                                        $45,808.72




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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Familia, Onasis
898 Saint Nicholas Ave
Apt 7B                                                        RS Legacy Corporation fka RadioShack
New York, NY 10032                         6915      7/8/2015 Corporation                                                                         $0.00                                                                         $0.00
Beatman, Matthew K.
10 Middle Street, 15th Floor                                  RS Legacy Corporation fka RadioShack
Bridgeport, CT 06604                       6916      7/8/2015 Corporation                                                                       $25.00                                                                         $25.00
Toy, David
729 Laurel Way                                                RS Legacy Corporation fka RadioShack
Casselberry, FL 32707                      6917      7/7/2015 Corporation                                                                                                              $79.50                                  $79.50
Vargas Jr., Diogenes A
190 Park Street                                               RS Legacy Corporation fka RadioShack
Ridgefield Park, NJ 07660                  6918      7/7/2015 Corporation                                                                         $0.00                                                                         $0.00
CFS Associates, L.L.C.
c/o Matthew G. Summers, Esq,
Ballard Spahr LLP
919 N. Market Street, 11th Floor                              RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                       6919      7/8/2015 Corporation                                                      $0.00                                                                                            $0.00
Villasinger, LLC
Attn: Francisco Villanueva
1425 E. Main St. Suite 1100                                   RS Legacy Corporation fka RadioShack
Fredericksburg, TX 78624                   6920      7/7/2015 Corporation                                               $391,444.86                                                                                       $391,444.86
Bedos, Alexis
2055 Long Ridge RD                                            RS Legacy Corporation fka RadioShack
Stamford, CT 06903                         6921      7/8/2015 Corporation                                                    $191.42                                                                                          $191.42
Familia, Onasis
898 Saint Nicholas Ave
Apt 7b                                                        RS Legacy Corporation fka RadioShack
New York, NY 10032                         6922      7/8/2015 Corporation                                                                         $0.00                                                                         $0.00
CATSKILL COMMONS ASSOCIATES LLC
C/O KONOVER COMMERCIAL CORP
342 NORTH MAIN ST                                             RS Legacy Corporation fka RadioShack
WEST HARTFORD, CT 06117                    6923      7/8/2015 Corporation                                                $70,070.76                                                                                        $70,070.76
Lesnikova, Irina
437 Cheyenne Dr.                                              RS Legacy Corporation fka RadioShack
Waretown , NJ 08758                        6924      7/8/2015 Corporation                                                      $0.00                              $125.00               $0.00                                 $125.00
Washington Shops, LLC
c/o Matthew G. Summers, Esq.
Ballard Spahr LLP
919 N. Market Street, 11th Floor                              RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                       6925      7/8/2015 Corporation                                                $35,780.30                                                                                        $35,780.30
Land Equities LLC
c/o Matthew G. Summers, Esq.
Ballard Spahr LLP
919 N. Market Street, 11th Floor                              RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                       6926      7/8/2015 Corporation                                               $111,664.68                                                                                       $111,664.68
Harpole, Heather
PO Box 9345                                                   RS Legacy Corporation fka RadioShack
San Diego, CA 92169                        6927      7/8/2015 Corporation                                                    $108.74                                                                                          $108.74
Vargas, Gracie T.
10270 Old Corpus Christi Rd.                                  RS Legacy Corporation fka RadioShack
San Antonio, TX 78223                      6928      7/8/2015 Corporation                                                     $21.64                                                                                           $21.64



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                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
Smith, Thomas D.
6605 West Dormany Road                                                      RS Legacy Corporation fka RadioShack
Plant City, FL 33565                                     6929      7/8/2015 Corporation                                                      $0.00                                                                                            $0.00
DiMino, Giovanni
7616 E Olive Ann Ln                                                         RS Legacy Corporation fka RadioShack
Yuma, AZ 85365                                           6930      7/8/2015 Corporation                                                     $50.00                                                                                           $50.00
The Village Company, LLC
PO Box 31827                                                                RS Legacy Corporation fka RadioShack
Raleigh, NC 27622                                        6931      7/8/2015 Corporation                                                $40,937.26                                                                                        $40,937.26
Scott, William
826 Granada Drive                                                           RS Legacy Corporation fka RadioShack
Duncanville, TX 75116                                    6932      7/8/2015 Corporation                                                     $75.47                                                                                           $75.47
WRI West Gate South, L.P.
c/o Weingarten Realty Investors
Attn: Jenny J. Hyun, Esq.
2600 Citadel Plaza Drive, Suite 125                                         RS Legacy Corporation fka RadioShack
Houston, TX 77008                                        6933      7/8/2015 Corporation                                                $53,250.71                                                                                        $53,250.71
Alpha Wireless, Inc.
733 Michigan Avenue                                                         RS Legacy Corporation fka RadioShack
Saline, MI 48176                                         6934      7/8/2015 Corporation                                                      $0.00                                                                                            $0.00
Brixmor SPE 1 LLC (Brixmor Property Group, Inc.) t/a
Apple Glen Crossing, Fort Wayne, IN
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                                   6935      7/8/2015 Corporation                                                $46,672.89                                                                                        $46,672.89
Williams, Delano
3157 Earlington Ln                                                          RS Legacy Corporation fka RadioShack
Reynoldsburg, OH 43068                                   6936      7/8/2015 Corporation                                                                         $0.00                                                                         $0.00
Columbia Gas of Pennsylvania
PO Box 117                                                                  RS Legacy Corporation fka RadioShack
COLUMBUS, OH 43216‐0117                                  6937      7/8/2015 Corporation                                                  $6,361.29                                                                                        $6,361.29
Burton, Natalie
815 NW Clinton County Line Rd                                               RS Legacy Corporation fka RadioShack
Smithville, MO 64089                                     6938      7/8/2015 Corporation                                                  $1,094.95                                                                                        $1,094.95
Maendel, James
10007 CRAYVIEW ST                                                           RS Legacy Corporation fka RadioShack
WHITE LAKE, MI 48386                                     6939      7/8/2015 Corporation                                                    $100.00                                                                                          $100.00
North Providence (E&A), LLC
c/o Bregman, Berbert, Schwartz & Gilday, LLC
7315 Wisconsin Avenue, #800W                                                RS Legacy Corporation fka RadioShack
Bethesda, MD 20814                                       6940      7/8/2015 Corporation                                                $60,720.14                                                                                        $60,720.14
Hernandez, Jessica
c/o Robert Lee
Lee & Braziel, LLP
1801 N. Lamar, Suite 325                                                    RS Legacy Corporation fka RadioShack
Dallas, TX 75202                                         6941      7/8/2015 Corporation                                               $200,000.00                                                                                       $200,000.00
ZONES
PO BOX 34740                                                                RS Legacy Corporation fka RadioShack
SEATTLE, WA 98124‐1740                                   6942      7/8/2015 Corporation                                                    $974.25                                                                                          $974.25




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                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
Deveaux, Mary
625 Gramatan Ave
Apt 6D                                                                       RS Legacy Corporation fka RadioShack
Mount Vernon, NY 10552                                    6943      7/8/2015 Corporation                                                     $65.00                                                                                           $65.00
Plentino Realty, Ltd. (Pliskin Realty and
Development, Inc.) located at 940 Third Avenue,
New York, NY
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                    6944      7/8/2015 Corporation                                               $255,484.38                                                                                       $255,484.38
Tomas, Mayra
1990 hawthorne Dr., Lot 213                                                  RS Legacy Corporation fka RadioShack
North Charleston, SC 29406                                6945      7/8/2015 Corporation                                                     $60.00                                                                                           $60.00
AUSTIN PROPERTY GROUP, L.L.C.
c/o William J. Barrett
Barack Ferazzano Kirschbaum & Nagelberg LLP
200 West Madison St., Suite 3900                                             RS Legacy Corporation fka RadioShack
CHICAGO, IL 60606                                         6946      7/8/2015 Corporation                                                  $4,420.72                                                                                        $4,420.72

National Shopping Plazas, Inc.
c/o William J. Barrett
Barack Ferrazzano Kirschbaum & Nagelberg LLP
200 West Madison St., Suite 3900                                             RS Legacy Corporation fka RadioShack
Chicago, IL 60606                                         6947      7/8/2015 Corporation                                                  $2,095.12                                                                                        $2,095.12
Amor, Michael
1052 Lake Ashby Rd.                                                          RS Legacy Corporation fka RadioShack
New Smyrna, FL 32168                                      6948      7/8/2015 Corporation                                                    $150.00                                                                                          $150.00

Plentino Realty, Ltd. (Pliskin Realty and Devlopment,
Inc.) located at 940 Third Avenue, New York, NY
David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                    6949      7/8/2015 Corporation                                                                                                                            $57,738.79            $57,738.79
Westford Valley Marketplace, Inc.
c/o John C. La Liberte
Sherin and Lodgen LLP
101 Federal Street                                                           RS Legacy Corporation fka RadioShack
Boston , MA 02110                                         6950      7/8/2015 Corporation                                                $37,599.93                                                                   $3,471.80            $41,071.73
Hudson Vickerry, LLC
c/o MEG Asset Managment, Inc.
Attn.: Debra L. Lupien, CFO
25 Orchard View Drive                                                        RS Legacy Corporation fka RadioShack
Londonderry, NH 03053                                     6951      7/8/2015 Corporation                                                $19,466.14                                                                                        $19,466.14
Viking Partners Indian Creek, LLC
c/o Donald R. Rose, Esq.
Miller, Griffin & Marks, PSC
271 W. Short St., Suite 600                                                  RS Legacy Corporation fka RadioShack
Lexington, KY 40507                                       6952      7/8/2015 Corporation                                                  $2,915.87                                                                                        $2,915.87




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                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
Kaminski, Michaelene
10116 Bonita Dr                                                             RS Legacy Corporation fka RadioShack
Ocean City , MD 21842                                    6953      7/8/2015 Corporation                                                     $50.00                                                                                           $50.00
Pitrock Realty Corp. (Pliskin Realty and Devlopment,
Inc.) located at 5005 N. Crescent Blvd., Pennsauken,
NJ
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                   6954      7/8/2015 Corporation                                                  $9,969.51                                                                                        $9,969.51
Pitrock Realty Corp. (Pliskin Realty and
Development, Inc.)
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                   6955      7/8/2015 Corporation                                                                                                                             $6,961.25             $6,961.25

Woodhill (E&A), LLC
c/o BREGMAN, BERBERT, SCHWARTZ & GILDAY, LLC
Laurence H. Berbert
7315 Wisconsin Avenue, #800W                                                RS Legacy Corporation fka RadioShack
Bethesda, MD 20814                                       6956      7/8/2015 Corporation                                                $27,122.64                                                                                        $27,122.64
Georgia Power Company
c/o Nathan A. Wood
McGuireWoods LLP
1230 Peachtree St. NE, Suite 2100                                           RS Legacy Corporation fka RadioShack
Atlanta, GA 30309                                        6957      7/8/2015 Corporation                                                $18,734.19                                                                                        $18,734.19
MUNICIPIO DE ISABELA
PO BOX 507                                                                  RS Legacy Corporation fka RadioShack
ISABELA, PR 00662                                        6958      7/8/2015 Corporation                                                                      $127.36                                                                        $127.36
Certain Current and Former Officers and Directors
of RadioShack Corporation
Weil, Gotshal & Manges LLP
c/o Alfredo R. Perez
700 Louisiana, Suite 1700                                                   RS Legacy Corporation fka RadioShack
Houston, TX 77002                                        6959      7/8/2015 Corporation                                                      $0.00                                                                                            $0.00

Princeton (EDENS), LLC
C/O BREGMAN, BERBERT, SCHWARTZ & GILDAY, LLC
Laurence H. Berbert
7315 Wisconsin Avenue, #800W                                                RS Legacy Corporation fka RadioShack
Betheseda, MD 20814                                      6960      7/8/2015 Corporation                                                $74,260.22                                                                                        $74,260.22
Columbia Gas of Ohio
PO Box 117                                                                  RS Legacy Corporation fka RadioShack
COLUMBUS, OH 43216‐0117                                  6961      7/8/2015 Corporation                                                $12,362.61                                                                                        $12,362.61
750 Citadel Drive Holdings, LLC
c/o Kelly Howden, Spinoso Real Estate Group
112 Northern Concourse                                                      RS Legacy Corporation fka RadioShack
North Syracuse, NY 13212                                 6962      7/8/2015 Corporation                                                  $4,073.00                                                                                        $4,073.00
Digital Resource Solutions, LLC
1150 W. Frontage Rd, Suite E                                                RS Legacy Corporation fka RadioShack
Wiggins, MS 39577                                        6963      7/8/2015 Corporation                                                $17,213.31                                                                                        $17,213.31



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                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
Infor (US), Inc.
Blank Rome LLP
Attn: Victoria Guilfoyle
1201 Market Street, Suite 800                                         RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                               6964      7/8/2015 Corporation                                               $171,294.77                                                                                       $171,294.77
Parsons Village Station LLC (Phillips Edison &
Company) t/a Parsons Village, Seffner, FL
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                        RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                             6965      7/8/2015 Corporation                                                $19,695.38                                                                                        $19,695.38

Penn Station Improvements, LLC (DLC Management
Corp) t/a Penn Station, District Heights, MD
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                        RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                             6966      7/8/2015 Corporation                                                $26,445.48                                                                                        $26,445.48

Closter Marketplace (EBA), LLC
c/o BREGMAN, BERBERT, SCHWARTZ & GILDAY, LLC
Laurence H. Berbert
7315 Wisconsin Avenue, #800W                                          RS Legacy Corporation fka RadioShack
Betheseda, MD 20814                                6967      7/8/2015 Corporation                                                  $8,288.40                                                                                        $8,288.40
Columbia Gas of Virginia
PO BOX 117                                                            RS Legacy Corporation fka RadioShack
Columbus, OH 43216‐0117                            6968      7/8/2015 Corporation                                                  $4,446.84                                                                                        $4,446.84
2250 Town Circle Holdings, LLC
c/o Kelly Howden, Spinoso Real Estate Group
112 Northern Concourse                                                RS Legacy Corporation fka RadioShack
North Syracuse, NY 13212                           6969      7/8/2015 Corporation                                                  $2,276.94                                                                                        $2,276.94
Columbia Gas of Kentucky
PO Box 117                                                            RS Legacy Corporation fka RadioShack
Columbus, OH 43216‐0117                            6970      7/8/2015 Corporation                                                  $2,814.72                                                                                        $2,814.72
Blazevic, Loren
351 Lois Lane                                                         RS Legacy Corporation fka RadioShack
San Pedro, CA 90732                                6971      7/8/2015 Corporation                                                      $0.00                                                                                            $0.00
Northcliff I‐480, LLC
c/o David S. Blocker, Esq.
Sonkin & Koberna, LLC
3401 Enterprise Parkway, Suite 400                                    RS Legacy Corporation fka RadioShack
Cleveland , OH 44122                               6972      7/8/2015 Corporation                                                $50,472.71                                                                                        $50,472.71
Weingarten Nostat, Inc.
c/o Weingarten Realty Investors
Attn: Jenny J. Hyun, Esq.
2600 Citadel Plaza Drive, Suite 125                                   RS Legacy Corporation fka RadioShack
Houston, TX 77008                                  6973      7/8/2015 Corporation                                                $72,473.67                                                                                        $72,473.67
Calderon, David
3525 NE 6th PL                                                        RS Legacy Corporation fka RadioShack
Renton, WA 98056                                   6974      7/8/2015 Corporation                                                                       $80.00                                                                         $80.00




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                                                                                                                          Current General                                            Current 503(b)(9)
                                                                                                                                                Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address            Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
Chen, Chun Yan
1049 Bernard Gray Ct.                                                 RS Legacy Corporation fka RadioShack
Colton, CA 92324                                   6975      7/8/2015 Corporation                                                                                                                $0.00                                   $0.00
CFV Commercial Properties, Inc.
10449 Saint Charles Rock Road                                         RS Legacy Corporation fka RadioShack
Saint Ann, MO 63074                                6976      7/8/2015 Corporation                                                 $60,513.22                                                                                        $60,513.22
Nipp, Ronnell
99‐1794 Hoapono Place                                                 RS Legacy Corporation fka RadioShack
Aiea, HI 96701                                     6977      7/8/2015 Corporation                                                      $42.83                                                                                           $42.83
Columbia Gas of Kentucky
PO Box 117                                                            RS Legacy Corporation fka RadioShack
Columbus, OH 43216‐0117                            6978      7/8/2015 Corporation                                                       $0.00                                                                                            $0.00
Chen, Chun Yan
1049 Bernard Gray Ct.                                                 RS Legacy Corporation fka RadioShack
Colton, CA 92324                                   6979      7/8/2015 Corporation                                                                                                                $0.00                                   $0.00

National Shopping Plazas, Inc.
c/o William J. Barrett
Barack Ferrazzano Kirschbaum & Nagelberg LLP
200 West Madison St.
Suite 3900                                                            RS Legacy Corporation fka RadioShack
Chicago, IL 60606                                  6980      7/8/2015 Corporation                                                 $79,160.15                                                                                        $79,160.15
Finger, Sharon
1076 Oconobanks Dr.                                                   RS Legacy Corporation fka RadioShack
Colgate, WI 53017                                  6981      7/8/2015 Corporation                                                                                                               $12.60                                  $12.60
LSREF3 Peppertree, LLC
c/o Tobin & Reyes, P.A.
Hector E. Valdes‐Ortiz, Esq.
225 NE Mizner Blvd., Ste. 510                                         RS Legacy Corporation fka RadioShack
Boca Raton, FL 33432                               6982      7/8/2015 Corporation                                                       $0.00                                                                                            $0.00
Wildwood Investors LLC
Wildwood North Lease, 220 State Farm Parkway
#B2, Birmingham AL
c/o Kevin Thompson
CW Capital Asset Management, LLC
One South Street, Suite 850                                           RS Legacy Corporation fka RadioShack
Baltimore, MD 21202                                6983      7/8/2015 Corporation                                                $104,848.85                                                                                       $104,848.85
Peterson, Diana M.
2063 Cherry St.                                                        RS Legacy Corporation fka RadioShack
Marquette, MI 49855‐1409                           6984      4/24/2015 Corporation                                                     $24.05                                                                                           $24.05
Weingarten Nostat, Inc.
c/o Weingarten Realty Investors
Attn: Jenny J. Hyun, Esq.
2600 Citadel Plaza Drive, Suite 125                                   RS Legacy Corporation fka RadioShack
Houston, TX 77008                                  6985      7/8/2015 Corporation                                                 $50,025.86                                                                                        $50,025.86
General Instrument Corp./Arris Solutions, Inc.
Jami B. Nimeroff, Esquire
Brown Wynn McGarry Nimeroff LLC
919 N. Market Street
Suite 420                                                             RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                               6986      7/8/2015 Corporation                                                 $98,467.67                                 $0.00                                                  $98,467.67




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                                                                                                                                                 Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address              Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                     Amount
Gateway Retain Center, LLC
c/o Tobin & Reyes, P.A.
Hector Valdes‐Ortiz, Esq.
225 NE Mizner Blvd., Ste. 510                                           RS Legacy Corporation fka RadioShack
Boca Raton, FL 33432                                 6987      7/8/2015 Corporation                                                      $0.00                                                                                            $0.00
1600 NORTH STATE ROUTE 50 HOLDINGS, LLC
c/o Kelly Howden, Spinoso Real Estate Group
112 Northern Concourse                                                  RS Legacy Corporation fka RadioShack
North Syracuse, NY 13212                             6988      7/8/2015 Corporation                                                $63,089.82                                                                                        $63,089.82
WNI/Tennessee, L.P.
c/o Weingarten Realty Investors
Attn: Jenny J. Hyun, Esq.
2600 Citadel Plaza Drive, Suite 125                                     RS Legacy Corporation fka RadioShack
Houston, TX 77008                                    6989      7/8/2015 Corporation                                                $43,691.12                                                                                        $43,691.12
WRI JT Tamiami Trail, LP
c/o Weingarten Realty Investors
Attn: Jenny J. Hyun, Esq.
2600 Citadel Plaza Drive, Suite 125                                     RS Legacy Corporation fka RadioShack
Houston, TX 77008                                    6990      7/8/2015 Corporation                                                $63,972.46                                                                                        $63,972.46
LSREF3 Spartan (Genesee), LLC
c/o Kelly Howden, Spinoso Real Estate Group
112 Northern Concourse                                                  RS Legacy Corporation fka RadioShack
North Syracuse, NY 13212                             6991      7/8/2015 Corporation                                                  $1,346.56                                                                                        $1,346.56

1775 Washington Street Holdings, LLC The Hanover
Mall Lease, 1775 Washington St, Hanover MA
c/o Frank Rinaldi
CW Capital Asset Management, LLC
7501 Wisconsin Avenue, Suite 500W                                       RS Legacy Corporation fka RadioShack
Bethesda, MD 20814                                   6992      7/8/2015 Corporation                                               $144,315.47                                                                                       $144,315.47
Santa Fe Mall Property Owner LLC Santa Fe Place
Lease, 4250 Cerrillos Road, Santa Fe NM
c/o Kelly Howden, Spinoso Real Estate Group
112 Northern Concourse                                                  RS Legacy Corporation fka RadioShack
North Syracuse, NY 13212                             6993      7/8/2015 Corporation                                                $42,247.82                                                                                        $42,247.82
Gator Golden Gate, LLC
c/o Tobin & Reyes, P.A.
Hector E. Valdes‐Ortiz, Esq
225 NE Mizner Blvd., Ste 510                                            RS Legacy Corporation fka RadioShack
Boca Raton, FL 33432                                 6994      7/8/2015 Corporation                                                $53,305.41                                                                                        $53,305.41
Weingarten Las Tiendas JV
c/o Weingarten Realty Investors
Attn: Jenny H. Hyun, Esq.
2600 Citadel Plaza Drive, Suite 125                                     RS Legacy Corporation fka RadioShack
Houston, TX 77008                                    6995      7/8/2015 Corporation                                                $82,927.42                                                                                        $82,927.42
Black, Brandon
13351 Gaylord Street                                                    RS Legacy Corporation fka RadioShack
Thornton, CO 80241                                   6996      7/8/2015 Corporation                                                    $195.29                                                                                          $195.29
Columbia Gas of Maryland
PO Box 117                                                              RS Legacy Corporation fka RadioShack
Columbus, OH 43216‐0117                              6997      7/8/2015 Corporation                                                $13,075.20                                                                                        $13,075.20




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            Creditor Name and Address             Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                     Amount
1120 Avenue of the Americas, LLC
c/o Andrew K. Gottesman, Edison Investment
Advisors, LLC
100 Washington Street                                                  RS Legacy Corporation fka RadioShack
Newark, NJ 07102                                    6998      7/8/2015 Corporation                                                $363,018.12                                                                                       $363,018.12
Shaw, Sharone
22942 Newcut Rd                                                        RS Legacy Corporation fka RadioShack
Clarksburg, MD 20871                                6999      7/8/2015 Corporation                                                      $50.00                                                                                           $50.00

LSREF Summer REO Trust 2009
Westland Center Lease, 35000 West Warren Road,
Westland MI
(as more fully described in the attached Rider)
c/o Kelly Howden, Spinoso Real Estate Group
112 Northern Concourse                                                 RS Legacy Corporation fka RadioShack
North Syracuse, NY 13212                            7000      7/8/2015 Corporation                                                   $1,807.72                                                                                        $1,807.72
Irving, David K
249 W 29th 5N                                                          RS Legacy Corporation fka RadioShack
New York, NY 10001                                  7001      7/8/2015 Corporation                                                      $21.78                                                                                           $21.78
WRI JT Hollywood Hills I, LP
C/O WEINGARTEN REALTY INVESTORS
Attn: Jenny J. Hyun, Esq.
2600 CITADEL PLAZA DRIVE, SUITE 125                                    RS Legacy Corporation fka RadioShack
HOUSTON, TX 77008                                   7002      7/8/2015 Corporation                                                 $86,337.87                                                                                        $86,337.87
Roslindale Realty Group LLC
c/o Douglas B. Rosner, Esq.
Goulston & Storrs PC
400 Atlantic Avenue                                                    RS Legacy Corporation fka RadioShack
Boston, MA 02110‐3333                               7003      7/8/2015 Corporation                                                 $53,656.55                                                                                        $53,656.55
Cellebrite USA Inc.
Attn: Francis Felice, Vice President
7 Campus Drive, Suite 210                                              RS Legacy Corporation fka RadioShack
Parsippany, NJ 07054                                7004      7/8/2015 Corporation                                                 $83,456.78                                                                                        $83,456.78
Chen, Chun Yan
1049 Bernard Gray Ct                                                   RS Legacy Corporation fka RadioShack
Colton, CA 92324                                    7005      7/8/2015 Corporation                                                                                                                $0.00                                   $0.00
Weingarten Nostat, Inc.
c/o Weingarten Realty Investors
Attn: Jenny J. Hyun, Esq.
2600 Citadel Plaza Drive, Suite 125                                    RS Legacy Corporation fka RadioShack
Houston, TX 77008                                   7006      7/8/2015 Corporation                                                   $3,842.57                                                                                        $3,842.57
Gator Hillside Vilage, LLC
c/o Tobin & Reyes, P.A.
Hector E. Valdes‐Ortiz, Esq
225 NE Mizner Blvd., Ste. 510                                          RS Legacy Corporation fka RadioShack
Boca Raton, FL 33432                                7007      7/8/2015 Corporation                                                   $2,025.73                                                                                        $2,025.73
Salus Capital Partners, LLC
Attention: Portfolio Manager ‐ RadioShack
197 First Avenue, Suite 250
Needham, MA 02494                                   7008      7/8/2015 Merchandising Support Services, Inc.                              $0.00              $0.00             $0.00                                                       $0.00




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            Creditor Name and Address             Claim No.   Claim Date                     Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                     Amount
Hurst, Emily A.
322 Buckeye Street                                                     RS Legacy Corporation fka RadioShack
Hamilton, OH 45011                                  7009      7/8/2015 Corporation                                                      $63.93                                                                                           $63.93
WRI JT Northridge, LP
Attn: Jenny J. Hyun, Esq.
c/o Weingarten Realty Investors
2600 Citadel Plaza Drive, Suite 125                                    RS Legacy Corporation fka RadioShack
Houston, TX 77008                                   7010      7/8/2015 Corporation                                                 $80,367.57                                                                                        $80,367.57
Salus Capital Partners, LLC
Attn: Portfolio Manager ‐ RadioShack
197 First Avenue
Suite 250
Needham, MA 02494                                   7011      7/8/2015 SCK, Inc.                                                         $0.00              $0.00             $0.00                                                       $0.00
Salus Capital Partners, LLC
Attention: Portfolio Manager
197 First Avenue, Suite 250                                            RS Legacy Finance Corporation fka Tandy Finance
Needham, MA 02494                                   7012      7/8/2015 Corporation                                                       $0.00              $0.00             $0.00                                                       $0.00
Simpson, Jodie
482 Carrington Road                                                    RS Legacy Corporation fka RadioShack
Bethany, CT 06524                                   7013      7/8/2015 Corporation                                                      $25.00                                                                                           $25.00

General Instrument Corp./ Arris Solutions, Inc.
Jami B. Nimeroff, Esquire, Brown Wynn McGarry
Nimeroff LLC
901 N. Market Street, Suite 1300
Wilmington, DE 19801                                7014      7/8/2015 Ignition L.P.                                                     $0.00                                $0.00                                                       $0.00
Salus Capital Partners, LLC
197 First Avenue
Suite 250
Needham, MA 02494                                   7015      7/8/2015 TE Electronics LP                                                 $0.00              $0.00             $0.00                                                       $0.00
Newman, Eric S.
3510 Northfield Road                                                   RS Legacy Corporation fka RadioShack
Dayton, OH 45415‐1521                               7016      7/8/2015 Corporation                                                      $50.00                                                                                           $50.00
Salus Capital Partners, LLC
Attention: Portfolio Manager
197 First Avenue, Suite 250
Needham, MA 02494                                   7017      7/8/2015 ITC Services, Inc.                                                $0.00              $0.00             $0.00                                                       $0.00
Salus Capital Partners, LLC
Attention: Portfolio Manager
197 First Avenue, Suite 250                                            RS Legacy Global Sourcing, Inc. fka RadioShack
Needham, MA 02494                                   7018      7/8/2015 Global Sourcing, Inc.                                             $0.00              $0.00             $0.00                                                       $0.00
Salus Capital Partners, LLC
197 First Avenue                                                       RS Legacy Global Sourcing Limited Partnership
Suite 250                                                              fka RadioShack Global Sourcing Limited
Needham, MA 02494                                   7019      7/8/2015 Partnership                                                       $0.00              $0.00             $0.00                                                       $0.00
Salus Capital Partners, LLC
Attention: Portfolio Manager
197 First Avenue, Suite 250                                            RS Legacy Global Sourcing Corporation fka
Needham, MA 02494                                   7020      7/8/2015 RadioShack Global Sourcing Corporation                            $0.00              $0.00             $0.00                                                       $0.00




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            Creditor Name and Address           Claim No.   Claim Date                      Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
Salus Capital Partners, LLC
197 First Avenue
Suite 250
Needham, MA 02494                                 7021      7/8/2015 Ignition L.P.                                                      $0.00              $0.00             $0.00                                                       $0.00
CPP Creekside at Colfax, LLC
Prudential Commercial Real Estate c/o Rebecca
Martin
1120 Lincoln St. #1607                                               RS Legacy Corporation fka RadioShack
Denver, CO 80203                                  7022      7/8/2015 Corporation                                                    $3,500.88                                                                                        $3,500.88
Kingstowne Towne Center LP
c/o Stephen Nichols, Esq.
OFFIT | KURMAN, PA
4800 Montgomery Lane
9th Floor                                                            RS Legacy Corporation fka RadioShack
Bethesda, MD 20814                                7023      7/8/2015 Corporation                                                    $6,125.13                                                                                        $6,125.13
Salus Capital Partners, LLC
Attn: Portfolio Manager ‐ RadioShack
197 First Avenue
Suite 250
Needham, MA 02494                                 7024      7/8/2015 RS Legacy Holdings, Inc. fka Tandy Holdings, Inc.                  $0.00              $0.00             $0.00                                                       $0.00
Salus Capital Partners, LLC
Attn: Portfolio Manager ‐ RadioShack
197 First Avenue, Suite 250                                          RS Legacy International Corporation fka Tandy
Needham, MA 02494                                 7025      7/8/2015 International Corporation                                          $0.00              $0.00             $0.00                                                       $0.00
Salus Capital Partners, LLC
Attention: Portfolio Manager ‐ RadioShack
197 First Avenue, Suite 250                                          RS Legacy Customer Service LLC fka RadioShack
Needham, MA 02494                                 7026      7/8/2015 Customer Service LLC                                               $0.00              $0.00             $0.00                                                       $0.00
Salus Capital Partners LLC
Attention: Portfolio Manager ‐ RadioShack
197 First Avenue, Suite 250
Needham, MA 02494                                 7027      7/8/2015 TRS Quality, Inc.                                                  $0.00              $0.00             $0.00                                                       $0.00
Merritts, Shirley
910 Chase Street                                                     RS Legacy Corporation fka RadioShack
Florence, SC 29501                                7028      7/8/2015 Corporation                                                                                                                $35.00                                  $35.00
Sudarov, Elizaveta
136 Christina St                                                     RS Legacy Corporation fka RadioShack
Newton, MA 02461                                  7029      7/8/2015 Corporation                                                                        $100.00                                  $0.00                                 $100.00
Wu, David
13930 Chadsworth Ter                                                 RS Legacy Corporation fka RadioShack
Laurel, MD 20707                                  7030      7/8/2015 Corporation                                                      $200.00                                                                                          $200.00
Salus Capital Partners, LLC
Attn: Portfolio Manager ‐ RadioShack
197 First Avenue
Suite 250                                                            RS Legacy Corporation fka RadioShack
Needham, MA 02494                                 7031      7/8/2015 Corporation                                                        $0.00              $0.00             $0.00                                                       $0.00
Long, Donna
8861 E Colby                                                         RS Legacy Corporation fka RadioShack
Mesa, AZ 85207                                    7032      7/8/2015 Corporation                                                       $15.00                                                                                           $15.00
Sudarov, Elizaveta
136 Christina St                                                     RS Legacy Corporation fka RadioShack
Newton, MA 02461                                  7033      7/8/2015 Corporation                                                      $100.00                                                                                          $100.00



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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Dixon, Patricia
170 Babbling Brook Dr                                         RS Legacy Corporation fka RadioShack
McDonough, GA 30252                        7034      7/8/2015 Corporation                                                                                                             $120.00                                 $120.00
Teakell, Richard
2 Stone Ranch Rd                                              RS Legacy Corporation fka RadioShack
Portales , NM 88130                        7035      7/8/2015 Corporation                                                      $0.00            $53.90                                  $0.00                                  $53.90
Green, Derek L.
9 Bancroft Lane                                               RS Legacy Corporation fka RadioShack
South Windsor, CT 06074                    7036      7/8/2015 Corporation                                                                      $106.00                                                                        $106.00
Yong, Andrew
550 W 54th St. Apt 2002                                       RS Legacy Corporation fka RadioShack
New York, NY 10019                         7037      7/9/2015 Corporation                                                                       $80.00                                                                         $80.00
Landry, Gwendolyn
7507 Bradmar Street                                           RS Legacy Corporation fka RadioShack
Houston, TX 77088                          7038      7/8/2015 Corporation                                                                       $40.33              $0.00                                                      $40.33
Arroyo, Yury
14807 Archwood St.                                            RS Legacy Corporation fka RadioShack
Van Nuys, CA 91405                         7039      7/9/2015 Corporation                                                     $66.24                                                                                           $66.24
Acosta, Francisco/Rosalba
Attn: Rosalba Acosta
11428 Long John Dr.                                           RS Legacy Corporation fka RadioShack
El Paso, TX 79936                          7040      7/8/2015 Corporation                                                                       $30.00                                                                         $30.00
Acosta, Francisco/Rosalba
Attn: Rosalba Acosta
11428 Long John Dr.                                           RS Legacy Corporation fka RadioShack
El Paso, TX 79936                          7041      7/8/2015 Corporation                                                                       $30.00                                                                         $30.00
Fujitsu America, Inc.
Attn: Legal Department/C.Hom
1250 E. Arques Avenue                                         RS Legacy Corporation fka RadioShack
Sunnyvale, CA 94085                        7042      7/8/2015 Corporation                                                      $0.00                                                                                            $0.00
Frade, Josue
3276 Oxford Ct                                                RS Legacy Corporation fka RadioShack
Island Lake, IL 60042                      7043      7/9/2015 Corporation                                                    $180.00                                                                                          $180.00
Walter, Laurie A
1796 Scenic Drive                                             RS Legacy Corporation fka RadioShack
Catawissa, PA 17820                        7044      7/8/2015 Corporation                                                     $26.49                                                                                           $26.49
Inner‐Cool Refrigeration, Inc.
c/o Craig Margulies, Esq.
Margulies Faith, LLP
16030 Ventura Blvd., Suite 470                                RS Legacy Corporation fka RadioShack
Encino, CA 91436                           7045      7/8/2015 Corporation                                                $34,543.14                                                                                        $34,543.14
Moustafa, Carmella
c/o Law Offices Rosemarie Arnold
1386 Palisade Avenue                                          RS Legacy Corporation fka RadioShack
Fort Lee, NJ 07024                         7046      7/9/2015 Corporation                                             $35,000,000.00                                                                                   $35,000,000.00
Heschke, Robert
409 Hill N Dale Cir                                           RS Legacy Corporation fka RadioShack
Hartland, WI 53029                         7047      7/9/2015 Corporation                                                                                          $15.76               $0.00                                  $15.76




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                                                                                                                              Current General                                            Current 503(b)(9)
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            Creditor Name and Address                 Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount
Bianca Bonner by her Guardian and Litem Carmella
Moustafa
c/o Law Offices Rosemarie Arnold
1386 Palisade Avenue                                                       RS Legacy Corporation fka RadioShack
Fort Lee, NJ 07024                                      7048      7/9/2015 Corporation                                           $350,000,000.00                                                                                  $350,000,000.00
Bianca Bonner by her Guardian and Litem Carmella
Moustafa
c/o Law Offices Rosemarie Arnold
1386 Palisade Avenue                                                       RS Legacy Corporation fka RadioShack
Fort Lee, NJ 07024                                      7049      7/9/2015 Corporation                                                      $0.00                                                                                            $0.00

Estate of Cristiano Bonner by his Administratrix ad
Prosequendum, Carmella Moustaf
c/o Law Offices of Rosemarie Arnold
1386 Palisade Avenue                                                       RS Legacy Corporation fka RadioShack
Fort Lee, NJ 07024                                      7050      7/9/2015 Corporation                                                      $0.00                                                                                            $0.00
Weingarten Nostat, Inc.
c/o Weingarten Realty Investors
Attn: Jenny J. Hyun, Esq.
2600 Citadel Plaza Drive, Suite 125                                        RS Legacy Corporation fka RadioShack
Houston, TX 77008                                       7051      7/9/2015 Corporation                                               $115,447.03                                                                                       $115,447.03
VECTREN ENERGY DELIVERY
PO BOX 6248                                                                RS Legacy Corporation fka RadioShack
INDIANAPOLIS, IN 46206                                  7052      7/9/2015 Corporation                                                $15,494.91                                                                                        $15,494.91
Shala, Anton
276 Temple Hill Rd Unit 1616                                               RS Legacy Corporation fka RadioShack
New Windsor , NY 12553                                  7053      7/9/2015 Corporation                                                     $21.61                                                                                           $21.61
Fujitsu America, Inc.
Attn: Legal Department/C.Hom
1250 E. Arques Avenue                                                      RS Legacy Corporation fka RadioShack
Sunnyvale, CA 94085                                     7054      7/9/2015 Corporation                                                  $5,500.00                                                                                        $5,500.00
The Bank of New York Mellon Trust Company,
National Association as Trustee for Morgan Stanley
Capital I Inc., Commercial Mortgage Pass‐Through
Certificates, Series 2007‐IQ14
c/o C‐III Asset Management
Attn: Don Vintsent
5221 N. O'Connor Blvd., Suite 600                                          RS Legacy Corporation fka RadioShack
Irving, TX 75039                                        7055      7/9/2015 Corporation                                                  $2,965.23              $0.00             $0.00                                 $0.00             $2,965.23
WESTFIELD SHOPPING CENTER, LLC
C/O SKILKEN PROPERTIES
4270 MORSE ROAD                                                            RS Legacy Corporation fka RadioShack
COLUMBUS, OH 43230                                      7056      7/9/2015 Corporation                                                  $2,211.65                                                                                        $2,211.65
Palladinelli, Nicholas
4574 Valley Parkway Apt. H                                                 RS Legacy Corporation fka RadioShack
Smyrna , Ga 30082                                       7057      7/9/2015 Corporation                                                    $100.00                                                                                          $100.00
Lorring, Clare
3339 E. Monte Vista Dr.
Unit 7                                                                     RS Legacy Corporation fka RadioShack
Tucson, AZ 85716                                        7058      7/9/2015 Corporation                                                     $54.54                                                                                           $54.54




Kroll Restructuring Administration LLC                                                                          Page 569 of 1344
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                                                                                                                              Current General                                            Current 503(b)(9)
                                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount
SUSO 4 Smithfield LP
C/O Paul F. Wells
665 Main Street, Suite 300                                                RS Legacy Corporation fka RadioShack
Buffalo, NY 14203                                      7059      7/9/2015 Corporation                                                   $2,428.66                                                                                        $2,428.66
Innovative DTV Solutions, Inc.
Attn: Chris Lee
12145 Mora Drive, Suite 13
Santa Fe Springs , CA 90670                            7060      7/9/2015 Ignition L.P.                                              $257,440.16                                                                                       $257,440.16
Vantiv, LLC
c/o Ulmer & Berne LLP
Todd A. Atkinson
1660 West 2nd Street, Suite 1100                                          RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                    7061      7/9/2015 Corporation                                                 $33,998.62                                                                                        $33,998.62

U.S. Bank National Association, as Trustee, as
Successor‐In‐Interest to Bank of America, N.A., as
Trustee, as Successor‐by‐Merger to LaSalle Bank
National Association as Trustee for
Morgan Stanlley Capital Inc., Commercial Pass‐
Through Certificates, Series 2005‐IQ9
c/o C‐III Asset Management
Attn: Josh Faseler
5221 N. O'Connor Blvd., Suite 600                                         RS Legacy Corporation fka RadioShack
Irving, TX 75039                                       7062      7/9/2015 Corporation                                                       $0.00              $0.00             $0.00                                 $0.00                 $0.00
Vessel, Princetta
7429 Horizon Dr.                                                          RS Legacy Corporation fka RadioShack
New Orleans, LA 70129                                  7063      7/9/2015 Corporation                                                       $0.00                                                                                            $0.00
Jimenez, Leonor
201 S. 26th St.                                                           RS Legacy Corporation fka RadioShack
Goshen, IN 46528                                       7064      7/9/2015 Corporation                                                                       $192.59                                                                        $192.59
Montgomery County Environmental Services
1850 Spaulding Rd.                                                        RS Legacy Corporation fka RadioShack
Kettering, OH 45432                                    7065      7/9/2015 Corporation                                                     $494.76                                                                                          $494.76
Jim R. Smith and Company
C/O Craddock Massey LLP
Attn: K. Murray
1400 Post Oak Blvd. Suite 640                                             RS Legacy Corporation fka RadioShack
Houston , TX 77056                                     7066      7/9/2015 Corporation                                                 $72,047.72                                                                                        $72,047.72
Iron Mountain Information Management, LLC
Attn: Joseph Corrigan
1 Federal Street, 7th Floor                                               RS Legacy Corporation fka RadioShack
BOSTON, MA 02110                                       7067      7/9/2015 Corporation                                                 $61,497.17                                                                                        $61,497.17
Koski, Cody
1319 1/2 13th St                                                          RS Legacy Corporation fka RadioShack
Hibbing , MN 55746                                     7068      7/9/2015 Corporation                                                     $100.00                                                                                          $100.00
Bookman, Michael
PO Box 45684                                                              RS Legacy Corporation fka RadioShack
Somerville, MA 02145                                   7069      7/9/2015 Corporation                                                       $0.00                                                                                            $0.00




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                                                                                                                              Current General                                            Current 503(b)(9)
                                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount




U.S. Bank National Association, as trustee, as
successor‐in‐interest to Bank of America, National
Association, as trustee, as successor‐by‐merger to
Lasalle Bank National Association, as trustee for
the Registered Holders of Bear Stearns Commercial
Mortgage Securities Inc., Commercial
Pass‐Through Certificates, Series 2007‐PWR16
c/o C‐III Asset Management, Attn: Michele Ray
5221 N. O'Connor Blvd., Suite 600                                         RS Legacy Corporation fka RadioShack
Irving, TX 75039                                       7070      7/9/2015 Corporation                                                   $2,809.00              $0.00             $0.00                               $254.83             $3,063.83
Wilson Electronics, LLC, d/b/a weBoost
Jones Waldo Holbrook & McDonough, PC
Jeffrey W. Shields, Esq.                                                  RS Legacy Global Sourcing Limited Partnership
170 S. Main St., #1500                                                    fka RadioShack Global Sourcing Limited
Salt Lake City, UT 84101                               7071      7/9/2015 Partnership                                                $790,069.30                                                                                       $790,069.30
Wilson Electronics, LLC, d/b/a weBoost
Jones Waldo Holbrook & McDonough, PC
Jeffrey W. Shields, Esq.
170 S. Main St., #1500
Salt Lake City, UT 84101                               7072      7/9/2015 Ignition L.P.                                                     $0.00                                                                                            $0.00
AVR Bridgeview LLC
c/o AVR Realty Company
One Executive Drive                                                       RS Legacy Corporation fka RadioShack
Yonkers , NY 10701                                     7073      7/9/2015 Corporation                                                       $0.00                                                                                            $0.00
Inland Western Gurnee, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                 RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                     7074      7/9/2015 Corporation                                                $105,132.50                                                                                       $105,132.50
Inner‐Cool Refrigeration, Inc.
c/o Craig Margulies, Esq.
Margulies Faith, LLP
16030 Ventura Blvd., Suite 470                                            RS Legacy Corporation fka RadioShack
Encino, CA 91436                                       7075      7/9/2015 Corporation                                                       $0.00                                                                                            $0.00
Mt. Pleasant Shopping Center, L.L.C.
c/o Honigman Miller Schwartz and Cohn LLP
Attn: Joseph R Sgroi
2290 First National Building
660 Woodward Avenue                                                       RS Legacy Corporation fka RadioShack
Detroit, MI 48226‐3506                                 7076      7/9/2015 Corporation                                                   $1,925.05                                                                                        $1,925.05




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                                                                                                                           Current General                                            Current 503(b)(9)
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            Creditor Name and Address            Claim No.   Claim Date                      Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                     Amount

WELLS FARGO BANK, N.A, AS TRUSTEE FOR THE
REGISTERED HOLDERS OF BANC OF AMERICA
COMMERCIAL MORTGAGE INC. COMMERCIAL PASS‐
THROUGH CERTIFICATES, SERIES 2005‐1
c/o C‐III Asset Management
Attn: Michael Ludden
5221 N. O'Connor Blvd., Suite 600                                     RS Legacy Corporation fka RadioShack
Irving, TX 75039                                   7077      7/9/2015 Corporation                                                    $7,218.33              $0.00             $0.00                             $1,463.78             $8,682.11
APS (Arizona Public Service)
Attn: Martha
Bldg M
2043 W Cheryl
M/S 3209                                                              RS Legacy Corporation fka RadioShack
Phoenix, AZ 85021                                  7078      7/9/2015 Corporation                                                    $7,721.23                                                                                        $7,721.23
Inland National Real Estate Services LLC, as
managing agent for IREIT Branson Hills, L.L.C.
Attn: Bert Hittourna, Esquire
Law Department
2901 Butterfield Road                                                 RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                7079      7/9/2015 Corporation                                                  $86,103.74                                                                                        $86,103.74
Google Inc.
c/o White and Williams, LLP
Att: Steven E. Ostrow, Esquire
1800 One Liberty Place                                                RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19103                             7080      7/9/2015 Corporation                                                        $0.00                                                                                            $0.00
Liberty Mutual Insurance Company
100 Liberty Way
PO Box 1525
Dover, NH 03821‐1525                               7081      7/9/2015 Atlantic Retail Ventures, Inc.                                                                          $0.00                                                       $0.00
KA Elie, LLC
C/O ElieCorp
Attn: Delfarib Fanaie
PO Box 280148                                                         RS Legacy Corporation fka RadioShack
San Francisco, CA 94128‐0148                       7082      7/9/2015 Corporation                                                  $91,424.72                                                                                        $91,424.72
Liberty Mutual Insurance Company
100 Liberty Way
PO Box 1525
Dover, NH 03821‐1525                               7083      7/9/2015 TRS Quality, Inc.                                                                                       $0.00                                                       $0.00

Montebello LLC
c/o A. Kenneth Hennesay, Jr.
Allen Matkins Leck Gamble Mallory & Natsis LLP
1900 Main Street, Fifth Floor                                         RS Legacy Corporation fka RadioShack
Irvine, CA 92614‐7321                              7084      7/9/2015 Corporation                                                    $1,644.36                                                                  $4,899.42             $6,543.78
Liberty Mutual Insurance Company
100 Liberty Way
PO Box 1525
Dover, NH 03821‐1525                               7085      7/9/2015 Ignition L.P.                                                                                           $0.00                                                       $0.00




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                                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                   Claim No.   Claim Date                    Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
S.D.P. ELECTRONICS, INC.
PAUL SEVOUGIAN, PRESIDENT
4937 GRANDE SHOPS AVE
Medina Grande Shops                                                          RS Legacy Corporation fka RadioShack
MEDINA, OH 44256                                          7086      7/9/2015 Corporation                                             $3,610,531.00                                                                                     $3,610,531.00
Noel, Patricia
137‐26 224th Street                                                          RS Legacy Customer Service LLC fka RadioShack
Laurelton, NY 11413‐2426                                  7087      7/9/2015 Customer Service LLC                                                                                 $69.96                                                      $69.96
Tyco Integrated Security (Sensormatic)
10405 Crosspoint Blvd                                                        RS Legacy Corporation fka RadioShack
Indianapolis, IN 46256                                    7088      7/9/2015 Corporation                                                $47,233.80                                                                                        $47,233.80
Kolb, Ramon
51 Simmons Ave                                                               RS Legacy Corporation fka RadioShack
Belmont, MA 02478                                         7089      7/9/2015 Corporation                                                     $25.00                                                                                           $25.00
Wells Fargo Bank, N.A., as trustee for the registered
holders of Merrill Lynch Mortgage Trust 2004‐BPC1
commercial mortgage pass‐through certificates,
series 2004‐BPC1
c/o C‐III Asset Management
Attn: Michael Ludden
5221 N. O'Connor Blvd., Suite 600                                            RS Legacy Corporation fka RadioShack
Irving, TX 75039                                          7090      7/9/2015 Corporation                                                  $2,443.75              $0.00             $0.00                                                   $2,443.75
International Square, L.P.
c/o Andrew B. Schulwolf, Esq.
2273 Research Blvd., Suite No. 200                                           RS Legacy Corporation fka RadioShack
Rockville, MD 20850                                       7091      7/9/2015 Corporation                                                $11,926.94                                                                                        $11,926.94
Haynes and Boone LLP
Attn: Ian T. Peck, Partner
2323 Victory Avenue, Suite 700                                               RS Legacy Corporation fka RadioShack
Dallas, TX 75219                                          7092      7/9/2015 Corporation                                                $30,573.63                                                                                        $30,573.63
Rose, Charmaine
30 Walnut Rd.                                                                RS Legacy Corporation fka RadioShack
McDonald, PA 15057                                        7093      7/9/2015 Corporation                                                    $150.00                                                                                          $150.00
Inland National Real Estate Services LLC, as
managing agent for IREIT Little Rock Park Avenue
L.L.C.
Attn: Bert Bittourns, Esquire
Law Department
2901 Butterfield Road                                                        RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                       7094      7/9/2015 Corporation                                                $65,108.49                                                                                        $65,108.49

Oracle America, Inc. successor‐in‐interest to Oracle
USA, Inc., Hyperion Solutions Corporation,
PeopleSoft, Inc., Retek, Storage Technology
Corporation, Sun MicroSystems and Taleo
Shawn M. Christianson, Esq.
Buchalter Nemer PC
425 Market Street
Suite 2900                                                                   RS Legacy Corporation fka RadioShack
San Francisco, CA 94105                                   7095      7/9/2015 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Apple Inc.
c/o Cornelius Mahon
1 Infinite Loop
MS: 318‐5CR                                                   RS Legacy Corporation fka RadioShack
Cupertino, CA 95014                        7096      7/9/2015 Corporation                                                                                      $435,313.87                                                 $435,313.87
Sudarov, Elizaveta
136 Christina St                                              RS Legacy Corporation fka RadioShack
Newton, MA 02461                           7097      7/9/2015 Corporation                                                                                                              $100.00                                 $100.00
Pocono Retail Associates, L.L.C.
c/o Riverview Management Company
1765 Merriman Road                                            RS Legacy Corporation fka RadioShack
Akron, OH 44313                            7098      7/9/2015 Corporation                                                   $4,021.33                                                                                        $4,021.33
Bayshore Associates LLC
c/o ElieCorp
Attn: Delfarib Fanaie
PO BOX 280148                                                 RS Legacy Corporation fka RadioShack
SAN FRANCISCO, CA 94128‐0148               7099      7/9/2015 Corporation                                                $141,378.30                                                                                       $141,378.30
Agree Realty Corporation
Honigman Miller Schwartz and Cohn LLP
Joseph R. Sgroi
2290 First National Building
660 Woodward Avenue                                           RS Legacy Corporation fka RadioShack
Detroit, MI 48226‐3506                     7100      7/9/2015 Corporation                                                 $17,372.81                                                                                        $17,372.81
WEINGARTEN NOSTAT, INC.
c/o Weingarten Realty Investors
Jenny J. Hyun, Esq.
2600 Citadel Plaza Drive, Suite 125                           RS Legacy Corporation fka RadioShack
HOUSTON, TX 77008                          7101      7/9/2015 Corporation                                                   $3,875.57                                                                                        $3,875.57
Liberty Mutual Insurance Company
100 Liberty Way
PO Box 1525                                                   RS Legacy Global Sourcing, Inc. fka RadioShack
Dover, NH 03821‐1525                       7102      7/9/2015 Global Sourcing, Inc.                                                                                  $0.00                                                       $0.00
Liberty Mutual Insurance Company
100 Liberty Way                                               RS Legacy Global Sourcing Limited Partnership
PO Box 1525                                                   fka RadioShack Global Sourcing Limited
Dover, NH 03821‐1525                       7103      7/9/2015 Partnership                                                                                            $0.00                                                       $0.00
Liberty Mutual Insurance Company
100 Liberty Way
PO Box 1525
Dover, NH 03821‐1525                       7104      7/9/2015 Merchandising Support Services, Inc.                                                                   $0.00                                                       $0.00
Centerton Square LLC
c/o Daniel J. Garfield, Esq.
Foster Graham Milstein & Calisher, LLP
360 S. Garfield St., 6th Fl.                                  RS Legacy Corporation fka RadioShack
Denver, CO 80209                           7105      7/9/2015 Corporation                                                $119,498.44                                                                                       $119,498.44
Wilson Electronics, LLC, d/b/a weBoost
Jones Waldo Holbrook & McDonough, PC
Jeffrey W. Shields, Esq.
170 S. Main St., #1500                                        RS Legacy Corporation fka RadioShack
Salt Lake City, UT 84101                   7106      7/9/2015 Corporation                                                       $0.00                                                                                            $0.00




Kroll Restructuring Administration LLC                                                               Page 574 of 1344
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            Creditor Name and Address                 Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount
Morgantown Mall Associates LP
Frost Brown Todd LLC
c/o Ronald E. Gold
3300 Great American Tower
301 E. Fourth St                                                           RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                                    7107      7/9/2015 Corporation                                                $85,063.85                                                                                        $85,063.85

Bonita Lakes Mall Limited Partnership by CBL &
Associates Management, Inc., managing agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                              RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                                   7108      7/9/2015 Corporation                                               $148,438.34                                                                                       $148,438.34
Zinn Beal, Mandie B
515 W PARKWAY DR                                                           RS Legacy Corporation fka RadioShack
Madison, OH 44057                                       7109      7/9/2015 Corporation                                                      $0.00                                                                                            $0.00

Butler Crossing Building Associates II, L.L.C.
ATTN: VICE PRESIDENT AND GENERAL COUNSEL
1765 MERRIMAN ROAD                                                         RS Legacy Corporation fka RadioShack
AKRON, OH 44313                                         7110      7/9/2015 Corporation                                                $63,636.22                                                                                        $63,636.22
MagicJack LP
Attn: Joanne Gelfand, Esq.
Akerman LLP
One Southeast Third Ave., Suite 2500                                       RS Legacy Corporation fka RadioShack
Miami, FL 33131‐1714                                    7111      7/9/2015 Corporation                                             $1,318,920.26                                                                                     $1,318,920.26
RPAI Arvada, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                  RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                      7112      7/9/2015 Corporation                                                $33,195.71                                                                                        $33,195.71
Inland Western Spokane Northpointe, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                  RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                      7113      7/9/2015 Corporation                                                $49,047.98                                                                                        $49,047.98


U.S. Bank National Association, as Trustee, as
Successor in Interest to Bank of America, National
Association, as Successor by merger to LaSalle Bank
National Association,
as Trustee for Morgan Stanley Capital Inc.,
Commercial Mortgage Pass‐Through Certificates,
Series 2007‐Top27
c/o C‐III Asset Management, Attn: Rudy Vazquez
5221 N. O'Connor Blvd., Suite 600                                          RS Legacy Corporation fka RadioShack
Irving, TX 75039                                        7114      7/9/2015 Corporation                                                  $4,212.43              $0.00             $0.00                                 $0.00             $4,212.43




Kroll Restructuring Administration LLC                                                                          Page 575 of 1344
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            Creditor Name and Address                 Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount
Vienna Plaza Associates Limited Partnership
C/O NELLIS CORPORATION
6001 MONTROSE ROAD, SUITE 600                                              RS Legacy Corporation fka RadioShack
ROCKVILLE, MD 20852                                     7115      7/9/2015 Corporation                                                $17,039.54                                                                                        $17,039.54
Jacob, Jennifer M
6029 Eastwood Terrace                                                      RS Legacy Corporation fka RadioShack
Norfolk, VA 23508                                       7116      7/9/2015 Corporation                                                                       $10.48                                  $0.00                                  $10.48
GLIMCHER WESTSHORE, LLC
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                          RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                                    7117      7/9/2015 Corporation                                                    $380.38                                                                                          $380.38
DTM Management Co.
David H Matthews Jr, President
PO BOX 1366
518 Main Street                                                            RS Legacy Corporation fka RadioShack
Taylor, AZ 85939                                        7118      7/9/2015 Corporation                                                $32,628.00               $0.00                                                                    $32,628.00


U.S. Bank National Association, as Trustee, as
Successor‐in‐Interest to Bank of America, National
Association, Successor‐by‐Merger to LaSalle Bank
National Association, as Trustee for the Registered
Holders of LB‐UBS Commerical Mortgage Trust 2006‐
C6, Commercial Mortgage Pass‐Through
Certificates, Series 2006‐C6
c/o C‐III Asset Management, Attn: Laura McWilliams
5221 N. O'Connor Blvd., Suite 600                                          RS Legacy Corporation fka RadioShack
Irving, TX 75039                                        7119      7/9/2015 Corporation                                                $13,223.76               $0.00             $0.00                             $1,155.70            $14,379.46
COBBLESTONE VICTOR NY LLC
C/O SCHOTTENSTEIN PROPERTY GROUP, LLC
Attn: EVP/General Counsel
4300 East Fifth Avenue                                                     RS Legacy Corporation fka RadioShack
Columbus, OH 43219                                      7120      7/9/2015 Corporation                                                  $7,916.00                                                                                        $7,916.00

WP Glimcher Inc. as owner of Westminster Mall
Frost Brown Todd LLC
C/O Ronald E. Gold
3300 Great American Tower
301 E. Fourth St.                                                          RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                                    7121      7/9/2015 Corporation                                                    $248.05                                                                                          $248.05
The Sanbar Investment Group, LTD
117 SOUTH COOK STREET‐#332                                                 RS Legacy Corporation fka RadioShack
BARRINGTON, IL 60010                                    7122      7/9/2015 Corporation                                                  $3,163.03                                                                                        $3,163.03
DAVOS MANSFIELD LLC
PO BOX 920732                                                              RS Legacy Corporation fka RadioShack
NEEDHAM, MA 02492                                       7123      7/9/2015 Corporation                                                  $6,326.16                                                                                        $6,326.16




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            Creditor Name and Address            Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
Eastgate Mall CMBS, LLC
by CBL & Associates Management, Inc., managing
agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                         RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                              7124      7/9/2015 Corporation                                                   $4,164.25                                                                                        $4,164.25
SUSO 2 Uptown LP
Paul F. Wells
665 Main Street, Suite 300                                            RS Legacy Corporation fka RadioShack
Buffalo, NY 14203                                  7125      7/9/2015 Corporation                                                                                                                             $11,595.71            $11,595.71
DTM Management Co.
David H. Matthews, Jr., President
4431 S White Mountain Rd. c‐1                                         RS Legacy Corporation fka RadioShack
Show Low, AZ 85901                                 7126      7/9/2015 Corporation                                                 $67,092.00               $0.00                                                                    $67,092.00
Dudley, James S
13903 Cypresswood Crossing Blvd                                       RS Legacy Corporation fka RadioShack
Houston, TX 77070                                  7127      7/9/2015 Corporation                                                       $8.07                                                                                            $8.07
Liberty Mutual Insurance Company
100 Liberty Way
PO Box 1525
Dover, NH 03821‐1525                               7128      7/9/2015 RSIgnite, LLC                                                                                          $0.00                                                       $0.00
WP Glimcher Inc. as owner of Mesa Mall
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                     RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                               7129      7/9/2015 Corporation                                                   $6,783.25                                                                                        $6,783.25
Top17‐599 W. 4th Street LLC
c/o C‐III Asset Management
Attn: Don Vintsent
5221 N. O'Connor Blvd., Suite 600                                     RS Legacy Corporation fka RadioShack
Irving, TX 75039                                   7130      7/9/2015 Corporation                                                       $0.00              $0.00             $0.00                                 $0.00                 $0.00
RPAI Chicago Brickyard, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                             RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                 7131      7/9/2015 Corporation                                                $111,904.56                                                                                       $111,904.56
DTM Management Co.
David H. Matthews Jr., President
209 Hwy 260                                                           RS Legacy Corporation fka RadioShack
Payson, AZ 85541                                   7132      7/9/2015 Corporation                                                 $52,918.00               $0.00                                                                    $52,918.00
Dewan, Neha
216 S PIE ST                                                          RS Legacy Corporation fka RadioShack
HARTSDALE, NY 10530‐1317                           7133      7/9/2015 Corporation                                                       $0.00                                                                                            $0.00
Cotroics, Inc. for store 22a774
2250 SE Federal Hwy                                                   RS Legacy Corporation fka RadioShack
Stuart, FL 34994                                   7134      7/9/2015 Corporation                                                $154,000.00                                                                                       $154,000.00




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                                                                                                                          Current General                                            Current 503(b)(9)
                                                                                                                                                Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address            Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount

Cary Venture Limited Partnership by CBL &
Associates Management, Inc., managing agent
Husch Blackwell LLP
C/O Laura F. Ketcham, Esq
736 Georgia Avenue, Suite 300                                         RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                              7135      7/9/2015 Corporation                                                   $2,041.20                                                                                        $2,041.20

Mary Ellen Barnard & Mark T. Barnard, Trustees
PO Box 1043                                                           RS Legacy Corporation fka RadioShack
Solvang, CA 93464                                  7136      7/9/2015 Corporation                                                 $21,682.71                                                                                        $21,682.71
RUSSO, JASON
PO BOX 5119                                                           RS Legacy Corporation fka RadioShack
EL DORADO HILLS, CA 95762                          7137      7/9/2015 Corporation                                                                                            $0.00               $0.00                                   $0.00
MagicJack LP
Attn: Joanne Gelfand, Esq.
Akerman LLP
One Southeast Third Ave., Suite 2500                                  RS Legacy Global Sourcing Corporation fka
Miami, FL 33131‐1714                               7138      7/9/2015 RadioShack Global Sourcing Corporation                            $0.00                                                                                            $0.00
CBL/Monroeville, L.P.
by CBL & Associates Management, Inc., managing
agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                         RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                              7139      7/9/2015 Corporation                                                   $5,001.19                                                                                        $5,001.19
Centeno, Arturo
1212 3/4 N. Ave 54                                                    RS Legacy Corporation fka RadioShack
Los Angeles, CA 90042                              7140      7/9/2015 Corporation                                                     $102.00                                                                                          $102.00
North Collins Two, LP
Attn: Ken Bruder
1010 N Collins St.                                                    RS Legacy Corporation fka RadioShack
Arlington, TX 76011                                7141      7/9/2015 Corporation                                                 $90,603.62                                                                                        $90,603.62
Chesterfield Mall LLC by CBL & Associates
Management, Inc., managing agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                         RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                              7142      7/9/2015 Corporation                                                 $82,147.83                                                                                        $82,147.83
J&S Latonia Centre KY LLC
c/o Schottenstein Property Group, LLC
Attn: EVP/General Counsel
4300 East Fifth Avenue                                                RS Legacy Corporation fka RadioShack
Columbus, OH 43219                                 7143      7/9/2015 Corporation                                                   $2,702.86                                                                                        $2,702.86




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                                                                                                                                Current General                                            Current 503(b)(9)
                                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                   Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount


U.S Bank National Association, As Trustee, as
Successor‐In‐Interest to Bank of America, N.A.,
Successor by Merger to Lasalle Bank National
Association, as Trustee for the Registered Holders of
Bear Sterns Commercial Mortgage Securities Inc.,
Commercial Mortgage Pass‐
Through Certificates, Series 2006‐PWR14
c/o C‐III Asset Management LLC, Attn Mitzie Crider
5221 N. O'Connor Blvd., Suite 600                                            RS Legacy Corporation fka RadioShack
Irving, TX 75039                                          7144      7/9/2015 Corporation                                                $77,178.03               $0.00             $0.00                                                  $77,178.03
Dayton Mall II, LLC
Frost Brown Todd LLC
c/o Ronald E. Gold
3300 Great American Tower
301 E. Fourth SSt.                                                           RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                                      7145      7/9/2015 Corporation                                                  $3,853.48                                                                                        $3,853.48
Zylux Acoustic Corporation
Wyatt Briant (Officer of Zylux)
Ringstad & Sanders, LLP
2030 Main Street, Suite 1600                                                 RS Legacy Corporation fka RadioShack
Irvine, CA 92614                                          7146      7/9/2015 Corporation                                               $601,221.00                                                                                       $601,221.00
WP Glimcher Inc. as owner of Edison Mall
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                            RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                                      7147      7/9/2015 Corporation                                                $81,460.13                                                                                        $81,460.13
SSC Oxford LLC
c/o Schottenstein Property Group, LLC
Attn: EVP/General Counsel
4300 East Fifth Avenue                                                       RS Legacy Corporation fka RadioShack
Columbus, OH 43219                                        7148      7/9/2015 Corporation                                                  $6,392.60                                                                                        $6,392.60

Cross Creek Mall, SPE, L.P. by CBL & Associates
Management, Inc., Managing agent
Husch Blackwell LLP
c/o Laura F. Ketcham, Esq.
736 George Avenue, Suite 300                                                 RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                                     7149      7/9/2015 Corporation                                               $217,964.76                                                                                       $217,964.76
Villasinger, LLC
Attn: Francisco Villanueva
1425 E. Main St. Suite 1100                                                  RS Legacy Corporation fka RadioShack
Fredericksburg, TX 78624                                  7150      7/9/2015 Corporation                                                      $0.00                                                                                            $0.00

WP Glimcher Inc. as owner of Rolling Oaks Mall
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                            RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                                      7151      7/9/2015 Corporation                                                    $380.95                                                                                          $380.95



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                                                                                                                                               Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address            Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
Fashion Square Mall CMBS, LLC
by CBL & Associates Management, Inc., managing
agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                         RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                              7152      7/9/2015 Corporation                                                  $5,921.73                                                                                        $5,921.73
InvenTrust Property Management, LLC, f/k/a IA
Management, L.L.C., as managing agent for MB
Lincoln Mall, L.L.C
Attn: Bert Bittourna, Esquire
Law Department
2901 Butterfield Road                                                 RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                7153      7/9/2015 Corporation                                                $80,189.85                                                                                        $80,189.85

United Telephone Southeast‐VA dba CenturyLink
Attn: Bankruptcy
1801 California St Rm 900                                             RS Legacy Corporation fka RadioShack
Denver , CO 80202                                  7154      7/9/2015 Corporation                                                     $92.08                                                                                           $92.08
WP Glimcher Inc. as owner of Mesa Mall
Frost Brown Todd LLC
c/o Ronald E. Gold
3300 Great American Tower
301 E. Fourth St.                                                     RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                               7155      7/9/2015 Corporation                                                  $1,615.88                                                                                        $1,615.88
Storz, Galina
2544 Marron Rd #202                                                   RS Legacy Corporation fka RadioShack
Carlsbad, CA 92010                                 7156      7/9/2015 Corporation                                                                       $60.00                                                                         $60.00
KSK Scottsdale Mall LP
Re: Erskine Village
c/o Schottenstein Property Group, LLC
Attn: EVP/General Counsel
4300 East Fifth Avenue                                                RS Legacy Corporation fka RadioShack
Columbus, OH 43219                                 7157      7/9/2015 Corporation                                                     $30.00                                                                                           $30.00
Midland Mall, LLC by CBL & Associates
Management, Inc., managing agent
Husch Blackwell LLP
c/o Laura F. Ketcham, Esq.
736 Georgia Avenue, Suite 300                                         RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                              7158      7/9/2015 Corporation                                                $28,148.31                                                                                        $28,148.31

United Telephone Co of Texas dba Centurylink
Attn: Bankruptcy
1801 California St
Rm 900                                                                RS Legacy Corporation fka RadioShack
Denver, CO 80802‐265                               7159      7/9/2015 Corporation                                                    $282.76                                                                                          $282.76
Cole MT Columbia SC, LLC
C/O Todd J. Weiss, Esq.
2325 East Camelback Road                                              RS Legacy Corporation fka RadioShack
Phoenix, AZ 85016                                  7160      7/9/2015 Corporation                                                  $4,006.26                                                                                        $4,006.26




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                                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount
United Telephone of the Northwest‐OR dba
Centurylink
Attn: Bankruptcy
1801 California St ‐ Rm 900                                               RS Legacy Corporation fka RadioShack
Denver, CO 80202‐265                                   7161      7/9/2015 Corporation                                                     $122.80                                                                                          $122.80
Zylux Acoustic Corporation
c/o Christopher A. Minier, Esq.
Ringstad & Sanders LLP                                                    RS Legacy Global Sourcing Limited Partnership
2030 Main Street, Suite 1600                                              fka RadioShack Global Sourcing Limited
Irvine, CA 92614                                       7162      7/9/2015 Partnership                                                       $0.00                                                                                            $0.00
Liberty Mutual Insurance Company
100 Liberty Way
PO Box 1525
Dover, NH 03821‐1525                                   7163      7/9/2015 TE Electronics LP                                                                                      $0.00                                                       $0.00
Embarq Florida North dba Centurylink
Attn: Bankruptcy
1801 California St ‐ Rm 900                                               RS Legacy Corporation fka RadioShack
Denver, CO 80202‐265                                   7164      7/9/2015 Corporation                                                     $470.83                                                                                          $470.83
CBL Morristown, Ltd. by CBL & Associates
Management, Inc., managing agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 George Avenue, Suite 300                                              RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                                  7165      7/9/2015 Corporation                                                   $1,500.75                                                                                        $1,500.75

Madison Square Associates, Ltd. by CBL &
Associates Management, Inc., managing agent
Husch Blackwell LLP
c/o Laura F. Ketcham, Esq.
736 Georgia Avenue, Suite 300                                             RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                                  7166      7/9/2015 Corporation                                                   $2,965.60                                                                                        $2,965.60
BELFOR COPORATION
ATTN: LEGAL DEPARTMENT
185 OAKLAND AVENUE, SUITE 150                                             RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                                   7167      7/9/2015 Corporation                                                       $0.00                                                                                            $0.00
InvenTrust Property Management, LLC, f/k/a IA
Management, L.L.C., As Managing Agent for IA Tulsa
71st, L.L.C.
Inven Trust property Management,LLC
Attn: BeriBitlourna, Esquire
Law Department
2901 Butterfield Road                                                     RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                    7168      7/9/2015 Corporation                                                 $97,637.28                                                                                        $97,637.28
UB New Providence, LLC
Douglas M. Evans, Esq.
Kroll, McNamara, Evans & Delehanty, LLP
65 Memorial Road ‐ Suite 300                                              RS Legacy Corporation fka RadioShack
WEST HARTFORD, CT 06107                                7169      7/9/2015 Corporation                                                 $18,567.42                                                                                        $18,567.42




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            Creditor Name and Address                Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount
Terramar Retail Centers LLC
5973 Avenida Encinas
Suite 300
Store No. 3067                                                            RS Legacy Corporation fka RadioShack
Calsbad, CA 92008                                      7170      7/9/2015 Corporation                                                   $4,665.21                                                                                        $4,665.21
Liberty Mutual Insurance Company
100 Liberty Way
PO Box 1525                                                               RS Legacy Global Sourcing Corporation fka
Dover, NH 03821‐1525                                   7171      7/9/2015 RadioShack Global Sourcing Corporation                                                                 $0.00                                                       $0.00

CBL‐ Friendly Center CMBS, LLC by CBL & Associates
Management, Inc., Managing agent
Husch Blackwell LLP
C/O Laura F. Ketcham, Esq.
736 Georgia Avenue, Suite 300                                             RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                                  7172      7/9/2015 Corporation                                                 $78,639.44                                                                                        $78,639.44
MCCORDUCK PROPERTIES TURLOCK, LLC
1615 BONANZA STREET, SUITE 401                                            RS Legacy Corporation fka RadioShack
WALNUT CREEK, CA 94596                                 7173      7/9/2015 Corporation                                                   $7,036.36              $0.00                                               $4,361.61            $11,397.97
Liberty Mutual Insurance Company
100 Liberty Way
PO Box 1525
Dover, NH 03821‐1525                                   7174      7/9/2015 RS Ig Holdings Incorporated                                                                            $0.00                                                       $0.00
Acadiana Mall CMBS, LLC by CBL & Associates
Management, Inc., Managing agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 George Avenue, Suite 300                                              RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                                  7175      7/9/2015 Corporation                                                 $81,149.39                                                                                        $81,149.39
David Khedr, Trustee
Khedr Family Trust
1242 Third Street Promenade, Suite 206                                    RS Legacy Corporation fka RadioShack
Santa Monica, CA 90401                                 7176      7/9/2015 Corporation                                                 $16,689.45                                                                                        $16,689.45
SUSO 4 WESTMINSTER LP
LIPPES MATHIAS WEXLER FRIEDMAN LLP
665 MAIN STREET, SUITE 300                                                RS Legacy Corporation fka RadioShack
BUFFALO, NY 14203                                      7177      7/9/2015 Corporation                                                   $2,368.75                                                                                        $2,368.75
St. Clair Square SPE, LLC by CBL & Associates
Management, Inc., managing agent
Husch Blackwell LLP
c/o Laura F. Ketcham, Esq.
736 Georgia Avenue, Suite 300                                             RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                                  7178      7/9/2015 Corporation                                                   $4,610.42                                                                                        $4,610.42
CBL SM‐ Brownsville, LLC by CBL & Associates
Management, Inc., managing agent
Husch Blackwell LLP
c/o Laura F. Ketcham, Esq.
736 Georgia Avenue, Suite 300                                             RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                                  7179      7/9/2015 Corporation                                                   $1,507.88                                                                                        $1,507.88




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            Creditor Name and Address                 Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount
Liberty Mutual Insurance Company
100 Liberty Way
PO Box 1525
Dover, NH 03821‐1525                                    7180      7/9/2015 SCK, Inc.                                                                                             $0.00                                                       $0.00
Seman, Abdalla
6352 Neddersen Circle                                                      RS Legacy Corporation fka RadioShack
Brooklyn Park, MN 55445                                 7181      7/9/2015 Corporation                                                     $85.00                                                                                           $85.00

Frontier Mall Associates Limited Partnership by CBL
& Associates Management, Inc., Managing Agent
Husch Blackwell LLP
C/O Laura F. Ketcham, Esq.
736 Georgia Avenue, Suite 300                                              RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                                   7182      7/9/2015 Corporation                                                $71,337.39                                                                                        $71,337.39
LSREF3 Peppertree, LLC
c/o Tobin & Reyes, P.A.
Hector E. Valdes‐Ortiz, Esq.
225 NE Mizner Blvd., Ste. 510                                              RS Legacy Corporation fka RadioShack
Boca Raton, FL 33432                                    7183      7/9/2015 Corporation                                                $35,113.38                                                                                        $35,113.38
Kelly, Christopher J.
161 Berrian Road                                                           RS Legacy Corporation fka RadioShack
Stamford, CT 06905                                      7184      7/9/2015 Corporation                                                      $0.00              $0.00             $0.00                                                       $0.00
ROIC Washington, LLC
Dunn Carney Allen Higgins & Tongue LLP
Kenneth S. Antell
851 SW Sixth Avenue, Suite 1500                                            RS Legacy Corporation fka RadioShack
Portland, OR 97204‐1357                                 7185      7/9/2015 Corporation                                                $65,924.67               $0.00                                                                    $65,924.67
Fertig, Donna
677 Marion Avenue                                                          RS Legacy Corporation fka RadioShack
Ben Lomond, CA 95005                                    7186      7/9/2015 Corporation                                                      $2.31                                                                                            $2.31
Tyco Integrated Security, LLC
10405 Crosspoint Blvd                                                      RS Legacy Corporation fka RadioShack
Indianapolis, IN 46256                                  7187      7/9/2015 Corporation                                               $367,806.73                                                                                       $367,806.73
Delco Development Co. of Hicksville, LP
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
101 Park Avenue                                                            RS Legacy Corporation fka RadioShack
New York, NY 10178                                      7188      7/9/2015 Corporation                                                  $9,081.18                                                                                        $9,081.18

Carolina Telephone and Telegraph dba Centurylink
ATTN Bankruptcy
1801 California St ‐ Rm 900                                                RS Legacy Corporation fka RadioShack
Denver, CO 80202‐265                                    7189      7/9/2015 Corporation                                                    $634.58                                                                                          $634.58

West County Mall CMBS, LLC by CBL & Associates
Management, Inc., managing agent
Husch Blackwell LLP
c/o Laura F. Ketcham, Esq.
736 Georgia Avenue, Suite 300                                              RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                                   7190      7/9/2015 Corporation                                                $91,435.28                                                                                        $91,435.28




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                                                                                                                                               Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address            Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
Madison/East Towne, LLC
By CBL & Associates Management, Inc., managing
agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                         RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                              7191      7/9/2015 Corporation                                               $111,812.05                                                                                       $111,812.05
Zylux Acoustic Corporation
c/o Christopher A. Minier, Esq.
Ringstad & Sanders LLP
2030 Main Street, Suite 1600                                          RS Legacy Corporation fka RadioShack
Irvine, CA 92614                                   7192      7/9/2015 Corporation                                                      $0.00                                                                      $0.00                 $0.00
Castelan, Eder
4420 Estrella Ave
Apt 9                                                                 RS Legacy Corporation fka RadioShack
San Diego, Ca 92115                                7193      7/9/2015 Corporation                                                                         $0.00             $0.00                                                       $0.00
York Galleria Limited Partnership
by CBL & Associates Management, Inc. managing
agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 George Avenue, Suite 300                                          RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                              7194      7/9/2015 Corporation                                                $63,155.13                                                                                        $63,155.13
Hixson Mall, LLC
by CBL & Associates Management, Inc., managing
agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                         RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                              7195      7/9/2015 Corporation                                                $57,201.27                                                                                        $57,201.27
Kirkwood Mall Acquisition, LLC
by CBL & Associates Management, Inc., managing
agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                         RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                              7196      7/9/2015 Corporation                                                $41,741.99                                                                                        $41,741.99
Volusia Mall, LLC
by CBL & Associates Management, Inc., managing
agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                         RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                              7197      7/9/2015 Corporation                                               $176,918.68                                                                                       $176,918.68

WP Glimcher Inc. as owner of Melbourne Square
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                     RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                               7198      7/9/2015 Corporation                                                $23,717.68                                                                                        $23,717.68




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            Creditor Name and Address                  Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
Sedlacek, Edward
203 W 19th St Apt 2R                                                        RS Legacy Corporation fka RadioShack
New York, NY 10011‐4011                                  7199      7/9/2015 Corporation                                                      $0.00                                                                                            $0.00
Honey Creek Mall, LLC
by CBL & Associates Management, Inc., managing
agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                               RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                                    7200      7/9/2015 Corporation                                                      $0.00                                                                                            $0.00
Stroud Mall, LLC by CBL & Associates Management,
Inc., managing agent
Husch Blackwell LLP
c/o Laura F. Ketcham, Esq.
736 Georgia Avenue, Suite 300                                               RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                                    7201      7/9/2015 Corporation                                                $31,342.47                                                                                        $31,342.47
CenturyTel of Southern Missouri of Missouri dba
Centurylink
Attn Bankruptcy
1801 California St
Rm 900                                                                      RS Legacy Corporation fka RadioShack
Denver, CO 80202                                         7202      7/9/2015 Corporation                                                    $568.01                                                                                          $568.01
MARION COUNTY TREASURER
200 E WASHINGTON ST STE 1041                                                RS Legacy Corporation fka RadioShack
INDIANAPOLIS, IN 46204                                   7203      7/9/2015 Corporation                                                                         $0.00                                                                         $0.00
Google Inc.
c/o White and Williams LLP
Att: Steven E. Ostrow, Esquire
One Penn Plaza, Suite 4110
250 W. 34th Street                                                          RS Legacy Corporation fka RadioShack
New York, NY 10119                                       7204      7/9/2015 Corporation                                                      $0.00                                                                                            $0.00
PWR 12‐5370 Stone Mountain Hwy LLC
c/o C‐III Asset Management
Attn: Laura McWilliams
5221 N. O'Connor Blvd., Suite 600                                           RS Legacy Corporation fka RadioShack
Irving, TX 75039                                         7205      7/9/2015 Corporation                                                $32,139.81               $0.00             $0.00                             $2,008.74            $34,148.55
Larken & Associates, as managing agent for Raritan
Crossing Investor II, LLC
Attn: Robert Marek
1250 Route 28, Suite 101                                                    RS Legacy Corporation fka RadioShack
Branchburg, NJ 08876                                     7206      7/9/2015 Corporation                                               $134,236.81                                                                                       $134,236.81
The Bank of New York Trust Company, National
Association, As Trustee for Morgan Stanley Capital I
Inc., Commercial Mortgage Pass‐Through
Certificates, Series 2007‐IQ14
c/o C‐III Asset Management
Attn: Russ Tuman
5221 N. O'Connor Blvd., Suite 600                                           RS Legacy Corporation fka RadioShack
Irving, TX 75039                                         7207      7/9/2015 Corporation                                                  $5,912.06              $0.00             $0.00                                 $0.00             $5,912.06




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                                                                                                                            Current General                                            Current 503(b)(9)
                                                                                                                                                  Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address               Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
CenturyTel of Washington, Inc of Washington dba
Centurylink
Attn Bankruptcy
1801 California St Rm 900                                                RS Legacy Corporation fka RadioShack
Denver, CO 80202‐265                                  7208      7/9/2015 Corporation                                                    $484.62                                                                                          $484.62
Agree Limited Partnership
Joseph R Sgroi
Honigman Miller Schwartz and Cohn LLP
2290 First National Building
660 Woodward Avenue                                                      RS Legacy Corporation fka RadioShack
Detroit, MI 48226‐3506                                7209      7/9/2015 Corporation                                                $24,166.37                                                                                        $24,166.37
Kiesel, Brian
233 E Hillcrest St                                                       RS Legacy Corporation fka RadioShack
Altamonte Springs, FL 32701                           7210      7/9/2015 Corporation                                                     $25.00                                                                                           $25.00
Glimcher Merritt Square, LLC
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                        RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                                  7211      7/9/2015 Corporation                                                $24,531.63                                                                   $9,116.07            $33,647.70
MEDALLIA INC
395 Page Mill Rd. Suite 100                                              RS Legacy Corporation fka RadioShack
Palo Alto, CA 94306                                   7212      7/9/2015 Corporation                                               $273,471.74                                                                                       $273,471.74
POM‐College Station, LLC
by CBL & Associates Management, Inc, managing
agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                            RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                                 7213      7/9/2015 Corporation                                                  $1,954.74                                                                                        $1,954.74
WP Glimcher Inc. as owner of Edison Mall
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                        RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                                  7214      7/9/2015 Corporation                                                $53,042.27                                                                                        $53,042.27
ROIC Paramount Plaza, LLC
c/o Christopher L. Parnell
Dunn Carney Allen Higgins & Tongue LLP
851 SW Sixth Avenue, Suite 1500                                          RS Legacy Corporation fka RadioShack
Portland, OR 97204                                    7215      7/9/2015 Corporation                                                  $4,341.45                                                                                        $4,341.45
Inland National Real Estate Services LLC, as
managing agent for IREIT Louisville Dixie Valley,
L.L.C.
Attn: Bert Bittourna, Esquire
Law Department
2901 Butterfield Road                                                    RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                   7216      7/9/2015 Corporation                                                  $2,231.47                                                                                        $2,231.47




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                                                                                                                              Current General                                            Current 503(b)(9)
                                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount


U.S. Bank National Association, as Trustee, as
Successor‐In‐Interest to Bank of America, N.A., as
Trustee, as Successor‐by‐Merger to LaSalle Bank
National Association as Trustee for
Morgan Stanley Capital I Inc., Commercial Pass‐
Through Certificates
Series 2005‐Top17
c/o C‐III Asset Management, Attn: Don Vintsent
5221 N. O'Connor Blvd., Suite 600                                         RS Legacy Corporation fka RadioShack
Irving, TX 75039                                       7217      7/9/2015 Corporation                                                   $5,867.71              $0.00             $0.00                                 $0.00             $5,867.71
Oster Bergenfield Properties, LLC
Richard L, Zucker, Esq.
Lasser Hochman, LLC
75 Eisenhower Parkway                                                     RS Legacy Corporation fka RadioShack
Roseland, NJ 07068‐1694                                7218      7/9/2015 Corporation                                                       $0.00                                                                      $0.00                 $0.00
Liberty Mutual Insurance Company
100 Liberty Way
PO Box 1525                                                               RS Legacy Customer Service LLC fka RadioShack
Dover, NH 03821‐1525                                   7219      7/9/2015 Customer Service LLC                                                                                   $0.00                                                       $0.00

WP Glimcher Inc. As owner of Towne West Square
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                         RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                                   7220      7/9/2015 Corporation                                                     $891.07                                                                                          $891.07
Southpark Mall CBMS, LLC
by CBL & Associates Management, Inc., managing
agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 George Avenue, Suite 300                                              RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                                  7221      7/9/2015 Corporation                                                 $13,048.29                                                                                        $13,048.29
Inland Western Fullerton MetroCenter, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                 RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                     7222      7/9/2015 Corporation                                                 $80,381.00                                                                                        $80,381.00
Liberty Mutual Insurance Company
100 Liberty Way
PO Box 1525
Dover, NH 03821‐1525                                   7223      7/9/2015 ITC Services, Inc.                                                                                     $0.00                                                       $0.00
Madison/West Towne, LLC
by CBL & Associates Management, Inc., managing
agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                             RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                                  7224      7/9/2015 Corporation                                                   $5,774.65                                                                                        $5,774.65



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                                                                                                                            Current General                                            Current 503(b)(9)
                                                                                                                                                  Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address              Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
Mall Del Norte, LLC
by CBL & Associates Management, Inc., managing
agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                           RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                                7225      7/9/2015 Corporation                                                $159,404.62                                                                                       $159,404.62

Wells Fargo Bank, N.A., As Trustee For the
Registered Holders of Banc of America Commercial
Mortgage Inc., Commercial Mortgage Pass‐Through
Certificates, Series 2005‐1
c/o C‐III Asset Management
Attn: Russ Tuman
5221 N. O'Connor Blvd., Suite 600                                       RS Legacy Corporation fka RadioShack
Irving, TX 75039                                     7226      7/9/2015 Corporation                                                   $4,001.24              $0.00             $0.00                                 $0.00             $4,001.24
Cherryvale Mall, LLC
by CBL & Associates Management, Inc., managing
agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 George Avenue, Suite 300                                            RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                                7227      7/9/2015 Corporation                                                   $3,641.29                                                                                        $3,641.29
Mehrhoff, Robert
1781 Adlin CT                                                           RS Legacy Corporation fka RadioShack
East Meadow, NY 11554‐1614                           7228      7/9/2015 Corporation                                                      $57.12                                                                                           $57.12
Autodesk, Inc.
111 McInnis Parkway                                                     RS Legacy Corporation fka RadioShack
San Rafael, CA 94903                                 7229      7/9/2015 Corporation                                                       $0.00                                                                                            $0.00

Garrison Chapel Hills Owner LLC by CBL &
Associates Management, Inc., Managing agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 George Avenue, Suite 300                                            RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                                7230      7/9/2015 Corporation                                                $131,766.60                                                                                       $131,766.60
Kelly, Christopher J.
161 Berrian Road                                                        RS Legacy Corporation fka RadioShack
Stamford, CT 06905                                   7231      7/9/2015 Corporation                                                   $2,150.00                                                                                        $2,150.00
Merritts, Shirley
910 Chase Street                                                         RS Legacy Corporation fka RadioShack
Florence , SC 29501                                  7232      7/10/2015 Corporation                                                                                                              $35.00                                  $35.00
magicJack LP
Attn: Joanne Gelfand, Esq.
Akerman LLP
One Southeast Third Ave., Suite 2500
Miami, FL 33131‐1714                                 7233      7/9/2015 Ignition L.P.                                                     $0.00                                                                                            $0.00
Liberty Mutual Insurance Company
100 Liberty Way
PO Box 1525
Dover, NH 03821‐1525                                 7234      7/9/2015 Trade and Save LLC                                                                                     $0.00                                                       $0.00




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                                                                                                                             Current General                                            Current 503(b)(9)
                                                                                                                                                   Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                Claim No.   Claim Date                    Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Gateway Retail Center, LLC
c/o Tobin & Reyes, P.A.
Hector Valdes‐Ortiz, Esq.
225 NE Mizner Boulevard, Ste 510                                          RS Legacy Corporation fka RadioShack
Boca Raton, FL 33432                                   7235      7/9/2015 Corporation                                                  $3,590.00                                                                                        $3,590.00
Meridian Mall Limited Partnership
by CBL & Associates Management, Inc., managing
agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                             RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                                  7236      7/9/2015 Corporation                                                $75,535.17                                                                                        $75,535.17
Mississippi Power Company
PO Box 245                                                                RS Legacy Corporation fka RadioShack
Birmingham, AL 35201                                   7237      7/9/2015 Corporation                                                      $0.00                                                                                            $0.00
Liberty Mutual Insurance Company
100 Liberty Way
PO Box 1525                                                               RS Legacy Finance Corporation fka Tandy Finance
Dover, NH 03821‐1525                                   7238      7/9/2015 Corporation                                                                                           $0.00                                                       $0.00


U.S. Bank National Association, As Trustee, As
Successor‐In‐Interest to Bank of America, N.A., As
Trustee, As Successor‐By‐Merger To LaSalle Bank
National Assoc, as trustee
for the registered holders of Bear Stearns
Commerical Mortgage Securities Inc., Commercial
Pass‐Through Certificates, Series 2005‐PWR7
c/o C‐III Asset Management ‐ Attn: Michele Ray
5221 N. O'Connor Blvd., Suite 600                                         RS Legacy Corporation fka RadioShack
Irving, TX 75039                                       7239      7/9/2015 Corporation                                               $104,079.81               $0.00             $0.00                                 $0.00           $104,079.81
Hitachi Data Systems Corporation
Attn: John LaRocca
2845 Lafayette Street                                                     RS Legacy Corporation fka RadioShack
Santa Clara, CA 95050                                  7240      7/9/2015 Corporation                                                $29,583.22                                                                                        $29,583.22
Coastal Grand CMBS, LLC
by CBL & Associates Management, Inc., managing
agent
Husch Blackwell LLP
c/o Laura F. Ketcham, Esq.
736 Georgia Avenue, Suite 300                                             RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                                  7241      7/9/2015 Corporation                                                  $2,626.57                                                                                        $2,626.57
Garrison Lakeshore Owner LLC by CBL & Associates
Management,Inc., Managing agent
Husch Blackwell LLP
C/O Laura F. Ketcham, Esq.
736 Georgia Avenue, Suite 300                                             RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                                  7242      7/9/2015 Corporation                                                $21,834.79                                                                                        $21,834.79




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                                                                                                                              Current General                                            Current 503(b)(9)
                                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount

U.S. Bank National Association, as Trustee, as
Successor‐In‐Interest to Bank of America, N.A., as
Trustee, as Successor‐by‐Merger to LaSalle Bank
National Association as Trustee for
Morgan Stanlley Capital Inc., Commercial Pass‐
Through Certificates, Series 2005‐IQ9
c/o C‐III Asset Management
Attn: Josh Faseler
5221 N. O'Connor Blvd., Suite 600                                         RS Legacy Corporation fka RadioShack
Irving, TX 75039                                       7243      7/9/2015 Corporation                                                       $0.00                                $0.00                                 $0.00                 $0.00
Gates Circle LLC
Rutan & Tucker, LLP
c/o Mark B. Frazier
611 Anton Boulevard, Suite 1400                                           RS Legacy Corporation fka RadioShack
Costa Mesa, CA 92626                                   7244      7/9/2015 Corporation                                                       $0.00                                                                                            $0.00
Sanchez, Simon B.
1362 Stabler Lane
Apt 7                                                                     RS Legacy Corporation fka RadioShack
Yuba City, CA 95993                                    7245      7/9/2015 Corporation                                                       $0.00                                                                                            $0.00
Aref, Diana Mustafa
662 55TH ST FL 2                                                          RS Legacy Corporation fka RadioShack
Brooklyn, NY 11220                                     7246      7/9/2015 Corporation                                                       $0.00                                                                                            $0.00
Robertson, Valerie
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                                RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                    7247      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Young, Lisa
170 So. Main St                                                           RS Legacy Corporation fka RadioShack
Youngstown, OH 44515                                   7248      7/9/2015 Corporation                                                      $11.03                                                                                           $11.03
Riegel, Richard
c/o Thomas W. Coffey
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                                RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                    7249      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
AREF, DIANA MUSTAFA
662 55TH STREET                                                           RS Legacy Corporation fka RadioShack
BROOKLYN, NY 11220                                     7250      7/9/2015 Corporation                                                     $283.07                                                                                          $283.07
Y‐1 Magazine Street, LLC
c/o Redwood Capital Investments
Charles Campisi
7301 Parkway Drive                                                        RS Legacy Corporation fka RadioShack
Hanover, MD 21076                                      7251      7/9/2015 Corporation                                                                                                                                  $0.00                 $0.00
WP Glimcher Inc. as owner of Rushmore Mall
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                         RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                                   7252      7/9/2015 Corporation                                                     $705.66                                                                                          $705.66




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                                                                                                                                                  Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address              Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
Jefferson Mall CBMS, LLC
by CBL & Associates Management, Inc., managing
agent
Husch Blackwell LLP
c/o Laura F. Ketcham, Esq.
736 Georgia Avenue, Suite 300                                           RS Legacy Corporation fka RadioShack
Charleston, TN 37402                                 7253      7/9/2015 Corporation                                                 $51,531.56                                                                                        $51,531.56
Lesage, Nicole
C/O Richard M. Dohoney, Esq.
Donovan & O'Connor, LLP
2 SOUTH STREET, SUITE 115                                                RS Legacy Corporation fka RadioShack
PITTSFIELD, MA 01201                                 7254      7/10/2015 Corporation                                                $75,000.00                                                                                        $75,000.00
Greenbrier Mall II, LLC
by CBL & Associates Management, Inc., managing
agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                           RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                                7255      7/9/2015 Corporation                                                $106,587.16                                                                                       $106,587.16
JAFFER, MOHAMED A
PO BOX 1083                                                              RS Legacy Corporation fka RadioShack
New Hyde Park, NY 11040‐1083                         7256      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Cole MT Coventry RI, LLC
c/o Todd J. Weiss, Esq.
2325 East Camelback Road                                                RS Legacy Corporation fka RadioShack
Phoenix, AZ 85016                                    7257      7/9/2015 Corporation                                                   $6,038.37                                                                                        $6,038.37

Wells Fargo Bank, N.A., as Trustee for the
Registered Holders of Bank of America Commerical
Mortgage, Inc., Commercial Mortgage Pass‐Through
Certificates, Series 2004‐6
Midland Loan Services, a division of PNC Bank
Attn: Mr. Brian Davis
10851 Mastin Boulevard, Suite 300                                       RS Legacy Corporation fka RadioShack
Overland Park, KS 66210                              7258      7/9/2015 Corporation                                                   $7,804.29                                                                  $2,875.82            $10,680.11
Embarq Florida Central dba Centurylink.com
Attn: Bankruptcy
1801 California St Rm 900                                               RS Legacy Corporation fka RadioShack
Denver, CO 80202‐265                                 7259      7/9/2015 Corporation                                                   $2,078.41                                                                                        $2,078.41
Valley View Mall SPE, LLC by CBL & Associates
Management, Inc., managing agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                           RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                                7260      7/9/2015 Corporation                                                   $6,701.02                                                                                        $6,701.02
Pham, Tonny
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                              RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                  7261      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount
United Telephone Company of New Jersey DBA
CenturyLink
Attn: Bankruptcy
1801 California St Rm 900                                                 RS Legacy Corporation fka RadioShack
Denver , CO 80202‐265                                  7262      7/9/2015 Corporation                                                     $580.64                                                                                          $580.64
Glimcher Northtown Venture, LLC
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                         RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                                   7263      7/9/2015 Corporation                                                 $30,000.00                                                                                        $30,000.00

Central Telephone of Virginia dba CenturyLink
Attn: Bankruptcy
1801 California St ‐ Rm 900                                               RS Legacy Corporation fka RadioShack
Denver, CO 80202                                       7264      7/9/2015 Corporation                                                     $297.13                                                                                          $297.13

Manoj P. Singh, Jeffrey Snyder, William A. Gerhart
and Steven Wolpin, on behalf of the RadioShack
401(k) Plan and the RadioShack Puerto Rico 1165(e)
Plan, themselves and a class of similarly situated
participants and beneficiaries of the Plans
c/o Lowenstein Sandler LLP
Attn: Michael S. Etkin and S. Jason Teele
65 Livingston Avenue                                                      RS Legacy Corporation fka RadioShack
Roseland, NJ 07068                                     7265      7/9/2015 Corporation                                              $50,000,000.00                                                                                   $50,000,000.00
Coastal Mechanical Contractors, Inc.
318 Venture Blvd.                                                          RS Legacy Corporation fka RadioShack
Homa, LA 70360                                         7266      7/10/2015 Corporation                                                  $1,487.59                                                                                        $1,487.59
WP Glimcher Inc. as owner of Mesa Mall
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                         RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                                   7267      7/9/2015 Corporation                                                   $1,289.13                                                                                        $1,289.13
Embarq Florida FL South dba Centurylink
Attn: Bankruptcy
1801 California St ‐ Rm 900                                               RS Legacy Corporation fka RadioShack
Denver, CO 80202‐265                                   7268      7/9/2015 Corporation                                                   $1,882.69                                                                                        $1,882.69

WP Glimcher Inc. as owner of Knoxville Center
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                         RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                                   7269      7/9/2015 Corporation                                                   $5,442.13                                                                                        $5,442.13
Experian Marketing Solutions, Inc.
c/o Joseph D. Frank
FrankGecker LLP
325 North LaSalle Street
Suite 625                                                                 RS Legacy Corporation fka RadioShack
Chicago, IL 60654                                      7270      7/9/2015 Corporation                                                $133,906.35                                                                                       $133,906.35



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                                                                                                                            Current General                                            Current 503(b)(9)
                                                                                                                                                  Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address              Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
JG Winston‐Salem, LLC
by CBL & Associates Management, Inc., managing
agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                           RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                                7271      7/9/2015 Corporation                                                $172,471.55                                                                                       $172,471.55
Centurytel of Wisconsin LLC of Wisconsin dba
Centurylink
Attn: Bankruptcy
1801 California St ‐ Rm 900                                             RS Legacy Corporation fka RadioShack
Denver, CO 80202‐265                                 7272      7/9/2015 Corporation                                                      $80.66                                                                                           $80.66
MAIN STREET NA PARKADE, LLC
c/o First Hartford Realty Corporation
149 Colonial Road                                                       RS Legacy Corporation fka RadioShack
Manchester , CT 06042                                7273      7/9/2015 Corporation                                                   $3,674.28                                                                                        $3,674.28
South , Sheryl
6835 150 Street
Apartment 328A                                                           RS Legacy Corporation fka RadioShack
Flushing, NY 11367                                   7274      7/10/2015 Corporation                                                     $50.00                                                                                           $50.00
WP Glimcher Inc. as owner of Markland Plaza
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                       RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                                 7275      7/9/2015 Corporation                                                 $47,035.27                                                                                        $47,035.27

Mountain Home Inc of Arkansas dba Centurylink
Attn: Bankruptcy
1801 California St ‐ Rm 900                                             RS Legacy Corporation fka RadioShack
Denver, CO 80202‐265                                 7276      7/9/2015 Corporation                                                     $144.47                                                                                          $144.47
United Telephone Co of the West‐NE dba
Centurylink
Attn Bankruptcy
1801 California St Rm 900                                               RS Legacy Corporation fka RadioShack
Denver, CO 80202‐265                                 7277      7/9/2015 Corporation                                                     $117.67                                                                                          $117.67

WP Glimcher Inc. as owner of Southern Hills Mall
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                       RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                                 7278      7/9/2015 Corporation                                                $160,860.19                                                                                       $160,860.19
Fayette Mall SPE, LLC
by CBL & Associates Management, Inc., managing
agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                           RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                                7279      7/9/2015 Corporation                                                       $0.00                                                                                            $0.00




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                                                                                                                          Current General                                            Current 503(b)(9)
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            Creditor Name and Address            Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
USR‐Desco Bellerive Plaza, LLC
c/o Summers Compton Wells LLC
Bonnie L. Clair
8909 Ladue Road                                                        RS Legacy Corporation fka RadioShack
ST. Louis, MO 63124                                7280      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Ruttar, Kellie
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                            RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                7281      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
UNION COUNTY DEPT OF TAX COLLECTION
PO BOX 38                                                              RS Legacy Corporation fka RadioShack
MONROE, NC 28111                                   7282      7/10/2015 Corporation                                                                     $1,448.30                                                                     $1,448.30
Ferrante, Ben
159‐43 81 Street                                                       RS Legacy Corporation fka RadioShack
Howard Beach, NY 11414                             7283      7/10/2015 Corporation                                                                                                                                 $0.00                 $0.00
David Khedr, Trustee, Khedr Family Trust
1242 3rd STREET PROMENADE #206                                        RS Legacy Corporation fka RadioShack
Santa Monica, CA 90401                             7284      7/9/2015 Corporation                                                   $7,632.00                                                                                        $7,632.00
The North Mississippi, Inc of Missouri dba
Centurylink
Attn: Bankruptcy
1801 California St Rm ‐900                                            RS Legacy Corporation fka RadioShack
Denver, CO 80202‐265                               7285      7/9/2015 Corporation                                                     $122.04                                                                                          $122.04
United Telephone Co of the Northwest‐WA dba
Centurylink
Attn: Bankruptcy
1801 California St Rm 900                                             RS Legacy Corporation fka RadioShack
Denver, CO 80202‐265                               7286      7/9/2015 Corporation                                                     $151.86                                                                                          $151.86
Lenovo (United States) Inc.
c/o Jonathan W. Young and Michael B. Kind
Locke Lord LLP
111 South Wacker Drive, Suite 4100                                    RS Legacy Corporation fka RadioShack
Chicago, IL 60606                                  7287      7/9/2015 Corporation                                                 $60,467.01                                 $0.00                                                  $60,467.01
Embarq Florida‐FL Panhandle dba CenturyLink
Attn: Bankruptcy
1801 California St Rm 900                                             RS Legacy Corporation fka RadioShack
Denver , CO 80202                                  7288      7/9/2015 Corporation                                                     $417.27                                                                                          $417.27
Asheville Mall CMBS, LLC by CBL & Associates
Management, Inc., managing agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                         RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                              7289      7/9/2015 Corporation                                                $119,148.89                                                                                       $119,148.89
CBL/Westmoreland, L.P.
by CBL & Associates Management, Inc., managing
age
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                         RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                              7290      7/9/2015 Corporation                                                 $69,425.08                                                                                        $69,425.08




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                                                                                                                             Current General                                            Current 503(b)(9)
                                                                                                                                                   Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address               Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
eBay Enterprise, Inc.
Ross Huwitz, Senior Commercial Counsel at eBay
Enterprise, Inc.
935 First Avenue                                                          RS Legacy Corporation fka RadioShack
King of Prussia, PA 19406                             7291      7/10/2015 Corporation                                               $666,292.25                                                                                       $666,292.25
WP Glimcher Inc. as owner of Town Center at
Aurora
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                        RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                                  7292      7/9/2015 Corporation                                                   $5,740.39                                                                                        $5,740.39
Jaffer, Mohamed A
PO Box 1083                                                               RS Legacy Corporation fka RadioShack
New Hyde Park, NY 11040‐1083                          7293      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Pham, Tonny
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                               RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                   7294      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Mackelprang CPA, Ramel J.
8784 Grand Oak Drive                                                      RS Legacy Corporation fka RadioShack
Salt Lake City, UT 84121                              7295      7/10/2015 Corporation                                                     $64.10                                                                                           $64.10

Chula Vista Town Center Associates II, L.P.
Successor to Aero Drive Associates, Limited, L.P.
c/o Gatlin Development Company, Inc.
1301 Riverplace Blvd., Ste. 1900                                         RS Legacy Corporation fka RadioShack
Jacksonville, FL 32207                                7296      7/9/2015 Corporation                                                 $66,485.89                                                                                        $66,485.89
Pinewood Palm Beach Retail, LLC
c/o Jeffrey W. Courter
Nyemaster Goode, P.C.
700 Walnut Street, Suite 1600                                            RS Legacy Corporation fka RadioShack
Des Moines, IL 50309‐3899                             7297      7/9/2015 Corporation                                                   $1,111.36                                                                                        $1,111.36
eBay Enterprise, Inc.
Ross Hurwitz, Senior Commercial Counsel
935 First Avenue
King of Prussia, PA 19406                             7298      7/10/2015 SCK, Inc.                                                        $0.00                                                                                            $0.00
Villasinger, LLC
Attn: Francisco Villanueva
1425 E. Main St.                                                         RS Legacy Corporation fka RadioShack
Fredericksburg, TX 78624                              7299      7/9/2015 Corporation                                                       $0.00                                                                                            $0.00
ARCP MT Houston TX, LLC
c/o Todd J. Weiss, Esq.
2325 East Camelback Road                                                 RS Legacy Corporation fka RadioShack
Phoenix, AZ 85016                                     7300      7/9/2015 Corporation                                                 $52,138.67                                                                                        $52,138.67
Centurytel of Jacksonville of Arkansas dba
Centurylink
Attn: Bankruptcy
1801 California St Rm 900                                                RS Legacy Corporation fka RadioShack
Denver, CO 80202‐265                                  7301      7/9/2015 Corporation                                                     $297.48                                                                                          $297.48




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                                                                                                                         Current General                                            Current 503(b)(9)
                                                                                                                                               Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address            Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
THE LAKES MALL, LLC
by CBL & Associates Management, Inc., managing
agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                         RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                              7302      7/9/2015 Corporation                                                $68,302.22                                                                                        $68,302.22

WP Glimcher Inc. as owner of Great Lakes Mall
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Forth St.                                                      RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                               7303      7/9/2015 Corporation                                                    $253.77                                                                  $1,512.61             $1,766.38
Oak Park Mall, LLC
by CBL & Associates Management, Inc., Managing
agent
c/o Laura F. Ketcham, Esq
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                         RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                              7304      7/9/2015 Corporation                                                $81,631.91                                                                                        $81,631.91

Tel USA Wisconsin of Wisconsin dba Centurylink
Attn: Bankruptcy
1801 California St ‐ Rm 900                                           RS Legacy Corporation fka RadioShack
Denver, CO 80202‐265                               7305      7/9/2015 Corporation                                                     $60.20                                                                                           $60.20
Northwoods Mall CMBS, LLC
by CBL & Associates Management, Inc., managing
agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                         RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                              7306      7/9/2015 Corporation                                                $69,678.38                                                                                        $69,678.38
Dakota Square Mall CBMS, LLC
by CBL & Associates Management, Inc., managing
agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                         RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                              7307      7/9/2015 Corporation                                                $89,802.86                                                                                        $89,802.86
Westgate Mall CMBS, LLC
by CBL & Associates Management, Inc., managing
agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                         RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                              7308      7/9/2015 Corporation                                                $32,700.74                                                                                        $32,700.74




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                                                                                                                          Current General                                            Current 503(b)(9)
                                                                                                                                                Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address            Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
JG Randolph II, LLC
by CBL & Associates Management, Inc., managing
agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                         RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                              7309      7/9/2015 Corporation                                                $101,095.89                                                                                       $101,095.89
NW NATURAL
PO BOX 6017                                                            RS Legacy Corporation fka RadioShack
PORTLAND, OR 97228                                 7310      7/10/2015 Corporation                                                  $6,659.96                                                                                        $6,659.96
Steelyard Commons, LLC
c/o First Interstate Properties, LLC
25333 Cedar Rd., Suite 300                                             RS Legacy Corporation fka RadioShack
Lyndhurst, OH 44124                                7311      7/10/2015 Corporation                                                  $5,119.44                                                                                        $5,119.44
Carolina Telephone and Telegraph‐Central dba
CenturyLink
Attn: Bankruptcy
1801 California St Rm 900                                             RS Legacy Corporation fka RadioShack
Denver, CO 80202                                   7312      7/9/2015 Corporation                                                   $1,955.39                                                                                        $1,955.39
Parkdale Crossing CBMS, LLC
by CBL & Associates Management, Inc., managing
agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                         RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                              7313      7/9/2015 Corporation                                                   $1,808.36                                                                                        $1,808.36
Old Hickory Mall Venture II, LLC
by CBL & Associates Management, Inc., managing
agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                         RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                              7314      7/9/2015 Corporation                                                 $89,378.51                                                                                        $89,378.51
CenturyTel of San Marcos, Inc of Texas dba
Centurylink
Attn: Bankruptcy
1801 California St ‐ Rm 900                                           RS Legacy Corporation fka RadioShack
Denver, CO 80202‐265                               7315      7/9/2015 Corporation                                                     $127.49                                                                                          $127.49
Hamilton Place Mall General Partnership
by CBL & Associates Management, Inc., managing
agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                         RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                              7316      7/9/2015 Corporation                                                 $55,463.01                                                                                        $55,463.01
Centurylel of Lake Dallac Inc of Texas dba
Centurylink
Attn Bankruptcy
1801 California St ‐ Rm 900                                           RS Legacy Corporation fka RadioShack
Denver, CO 80202‐265                               7317      7/9/2015 Corporation                                                     $135.14                                                                                          $135.14




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                                                                                                                             Current General                                            Current 503(b)(9)
                                                                                                                                                   Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
WP Glimcher Inc. as owner of Northlake Mall
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                         RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                                   7318      7/9/2015 Corporation                                                    $451.09                                                                                          $451.09
South County Shoppingtown, LLC
by CBL & Associates Management, Inc., managing
agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                             RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                                  7319      7/9/2015 Corporation                                                $59,462.37                                                                                        $59,462.37

Walnut Square Associates Limited Partnership
by CBL & Associates Management, Inc., managing
agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                             RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                                  7320      7/9/2015 Corporation                                               $133,981.06                                                                                       $133,981.06
Racine Joint Venture II, LLC
by CBL & Associates Management, Inc., managing
agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                             RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                                  7321      7/9/2015 Corporation                                                  $6,723.46                                                                                        $6,723.46
Central Telephone of Nevada dba Centurylink
Att Bankruptcy
1801 California St ‐ Rm 900                                               RS Legacy Corporation fka RadioShack
Denver, CO 80202                                       7322      7/9/2015 Corporation                                                  $1,116.96                                                                                        $1,116.96

United Telephone Southeast‐TN dba CenturyLink
Attn: Bankruptcy
1801 California St Rm 900                                                 RS Legacy Corporation fka RadioShack
Denver , CO 80202                                      7323      7/9/2015 Corporation                                                    $270.05                                                                                          $270.05
BBDO Puerto Rico, Inc.
ATT: Merixandra Rodriguez
PO Box 11854                                                              RS Legacy Corporation fka RadioShack
San Juan, PR 00922‐1854                                7324      7/9/2015 Corporation                                               $359,890.00                                                                                       $359,890.00
CITY OF DOUGLAS
SALES & USE TAX
425 E 10TH ST                                                             RS Legacy Corporation fka RadioShack
DOUGLAS, AZ 85607                                      7325      7/9/2015 Corporation                                                    $193.98                                                                                          $193.98

Winick Realty Group LLC
c/o Schiff Hardin LLP
Attn:Louis T. DeLucia, Esq/Alyson M. Fiedler, Esq.
666 Fifth Avenue, 17th Floor                                              RS Legacy Corporation fka RadioShack
New York, NY 10103                                     7326      7/9/2015 Corporation                                                $15,407.60                                                                                        $15,407.60




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                                                                                                                           Current General                                             Current 503(b)(9)
                                                                                                                                                 Current Priority    Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address             Claim No.   Claim Date                    Debtor                         Unsecured Claim                                              Admin Priority
                                                                                                                                                  Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                      Amount
SDI Bossier, Ltd.
c/o Craddock Massey LLP
Attn: K. Murray
1400 Post Oak Boulevard, Suite 640                                     RS Legacy Corporation fka RadioShack
Houston, TX 77056                                   7327      7/9/2015 Corporation                                                 $61,923.44                                                                                         $61,923.44
InvenTrust Property Management, LLC, f/k/a IA
Management, L.L.C., as managing agent for M B
Houston Antoine Limited Partnership
Attn: Bert Bittourne, Esquire
Law Department
2901 Butterfield Road                                                  RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                 7328      7/9/2015 Corporation                                                 $67,167.59                                                                                         $67,167.59
United Telephone Company of Pennsylvania DBA
Centurylink
Attn: Bankruptcy
1801 California St ‐ Rm 900                                            RS Legacy Corporation fka RadioShack
Denver, CO 80202                                    7329      7/9/2015 Corporation                                                     $656.67                                                                                           $656.67

WP Glimcher Inc. as owner of Maplewood Mall
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                      RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                                7330      7/9/2015 Corporation                                                     $924.09                                                                                           $924.09
WP Glimcher Inc. as owner of Lake Plaza
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                      RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                                7331      7/9/2015 Corporation                                                     $488.48                                                                                           $488.48
International Square, LP.
c/o Andrew B. Schulwolf, Esq.
2273 Research Blvd., Suite No.200                                      RS Legacy Corporation fka RadioShack
Rockville, MD 20850                                 7332      7/9/2015 Corporation                                                 $46,892.27                                                                                         $46,892.27

Hugh M. Goldberg & Susan J. Goldberg, Partners
1 Dunsinane Road                                                        RS Legacy Corporation fka RadioShack
Brookfield, CT 06804                                7333      7/10/2015 Corporation                                                    $672.78                                                                                           $672.78
Wells Fargo Bank, N.A.
Attn: Mark Buechner
Wells Fargo Law Department
301 South College Street                                               RS Legacy Corporation fka RadioShack
Charllote, NC 28202                                 7334      7/9/2015 Corporation                                                                      $12,307.08        $12,307.08                                                  $24,614.16

CenturyTel of Ohio Inc. of Ohio dba Centurylink
Attn: Bankruptcy
1801 California St Rm 900                                              RS Legacy Corporation fka RadioShack
Denver, CO 80202‐265                                7335      7/9/2015 Corporation                                                     $151.32                                                                                           $151.32




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                                                                                                                                                Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address            Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
WP Glimcher Inc. as owner of Irving Mall
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                     RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                               7336      7/9/2015 Corporation                                                     $560.05                                                                                          $560.05
Embarq Florida North dba Centurylink
Attn: Bankruptcy
1801 California St ‐ Rm 900                                           RS Legacy Corporation fka RadioShack
Denver, CO 80202‐265                               7337      7/9/2015 Corporation                                                      $59.66                                                                                           $59.66
WP Glimcher Inc. as owner of Paddock Mall
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                     RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                               7338      7/9/2015 Corporation                                                     $707.28                                                                                          $707.28
Bear Creek Ventures LLC
36 Country Lane                                                       RS Legacy Corporation fka RadioShack
Rolling Hills Estates, CA 90274                    7339      7/9/2015 Corporation                                                       $0.00                                                                                            $0.00
Claim Docketed In Error                                               RS Legacy Corporation fka RadioShack
                                                   7340      7/9/2015 Corporation                                                                                                                                                        $0.00
Sukhwani, Manoharlal
540 N. Neville St #606                                                RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15213                               7341      7/9/2015 Corporation                                                 $23,000.00                                                                                        $23,000.00
First Interstate Willoughby, Ltd.
c/o First Interstate Properties, LLC
2533 Cedar Road, Suite 300                                             RS Legacy Corporation fka RadioShack
Lyndhurst, OH 44124                                7342      7/10/2015 Corporation                                                    $249.33                                                                                          $249.33

WP Glimcher Inc. as owner of Chesapeake Square
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                     RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                               7343      7/9/2015 Corporation                                                   $6,557.73                                                                                        $6,557.73
WP Glimcher Inc. as owner of Forest Mall
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                     RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                               7344      7/9/2015 Corporation                                                   $2,247.39                                                                                        $2,247.39
BRE Pearlridge, LLC
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                     RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                               7345      7/9/2015 Corporation                                                $196,777.07                                                                                       $196,777.07
King, Sandra
3830 Habberline St.                                                    RS Legacy Corporation fka RadioShack
Wilmington, NC 28412                               7346      7/10/2015 Corporation                                                    $200.61                                                                                          $200.61




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                                                                                                                             Current General                                            Current 503(b)(9)
                                                                                                                                                   Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address               Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Cole MT Matteson IL, LLC
c/o Todd J. Weiss, Esq.
2325 East Camelback Road                                                 RS Legacy Corporation fka RadioShack
Phoenix, AZ 85016                                     7347      7/9/2015 Corporation                                                     $303.11                                                                                          $303.11

Mebtel, INC (Milton/Gatewood) of North Carolina
Attn: Bankruptcy
1801 California St Rm 900                                                RS Legacy Corporation fka RadioShack
Denver, CO 80202                                      7348      7/9/2015 Corporation                                                     $156.22                                                                                          $156.22
Illinois Department of Revenue
PO Box 64338                                                             RS Legacy Corporation fka RadioShack
Chicago, IL 60664‐0338                                7349      7/9/2015 Corporation                                                       $0.00              $0.00                                                                         $0.00
Vanita Gupta; Charles H. Warner, Jr.; Gregory
Runyard; Eduardo Vasquez
c/o Warner Law Firm, LLC
Attn: Curtis C. Warner
350 S. Northwest HWY, Ste. 300                                           RS Legacy Corporation fka RadioShack
Park Ridge, IL 60068                                  7350      7/9/2015 Corporation                                                 $56,289.00                                                                                        $56,289.00
Colt Holdings, Ltd.
c/o Craddock Massey LLP
Attn: Karen E. Murray, Esq.
1400 Post Oak Boulevard, Suite 640                                       RS Legacy Corporation fka RadioShack
Houston, TX 77056                                     7351      7/9/2015 Corporation                                                 $57,993.08                                                                                        $57,993.08

Chula Vista Town Center Associates II, LP
Successor to Aero Drive Associates, Limited, L.P.
c/o Gatlin Development Company, Inc.
1301 Riverplace Blvd., Ste. 1900                                         RS Legacy Corporation fka RadioShack
Jacksonville, FL 32207                                7352      7/9/2015 Corporation                                                       $0.00                                                                                            $0.00
Flint Jr, Charles B
8311 Packard                                                              RS Legacy Corporation fka RadioShack
Warren, MI 48089                                      7353      7/10/2015 Corporation                                                     $52.00                                                                                           $52.00
Dewan, Neha
216 S PIE ST                                                             RS Legacy Corporation fka RadioShack
HARTSDALE, NY 10530‐1317                              7354      7/9/2015 Corporation                                                       $0.00                                                                                            $0.00
InvenTrust Property Management, LLC, f/k/a IA
Management, L.L.C., as managing agent for IA
Atlanta Buckhead, L.L.C.
Attn: Bert Bittourna, Esquire
Law Department
2901 Butterfield Road                                                    RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                   7355      7/9/2015 Corporation                                                   $5,432.01                                                                                        $5,432.01

Hi‐Tec Comercio, Importa ao e Exportacao Ltda
Tostes & Associados
Rua Da Assembleia
77/21 Anda
Rio De Janeiro 20011‐011                                                  RS Legacy Corporation fka RadioShack
Brazil                                                7356      7/10/2015 Corporation                                             $9,991,064.75                                                                                     $9,991,064.75




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                                                                                                                          Current General                                            Current 503(b)(9)
                                                                                                                                                Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address            Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
United Telephone Company of Indiana
Attn: Bankruptcy
1801 California St Rm 900                                             RS Legacy Corporation fka RadioShack
Denver , CO 80202                                  7357      7/9/2015 Corporation                                                     $632.34                                                                                          $632.34
Principal Life Insurance Company
c/o Jeffrey W. Courter
Nyemaster Goode, P.C.
700 Walnut Street
Suite 1600                                                            RS Legacy Corporation fka RadioShack
Des Moines, IL 50309‐3899                          7358      7/9/2015 Corporation                                                   $1,757.78                                                                                        $1,757.78
Liberty Mutual Insurance Company
100 Liberty Way
PO Box 1525                                                           RS Legacy International Corporation fka Tandy
Dover, NH 03821‐1525                               7359      7/9/2015 International Corporation                                                                              $0.00                                                       $0.00
Seminole Mall LP
Attn: Craig Walton, Legal Counsel, NADG
2851 John Street, Suite One
Markham, ON L3R 5R7                                                    RS Legacy Corporation fka RadioShack
Canada                                             7360      7/10/2015 Corporation                                                    $933.10                                                                                          $933.10
Gallatin River Comm, LLC of Illinois
Attn: Bankruptcy
1801 California St Rm 900                                             RS Legacy Corporation fka RadioShack
Denver, CO 80202                                   7361      7/9/2015 Corporation                                                     $170.74                                                                                          $170.74

Comm 2005‐FL Berkshire Mall, LLC by CBL &
Associates Management, Inc., managing agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 George Avenue, Suite 300                                          RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                              7362      7/9/2015 Corporation                                                 $58,289.71                                                                                        $58,289.71
Coastal Utillities, INC of Georgia
Attn: Bankruptcy
1801 California St Rm 900                                             RS Legacy Corporation fka RadioShack
Denver, CO 80202                                   7363      7/9/2015 Corporation                                                      $15.27                                                                                           $15.27
United Telephone Company of the Carolinas dba
CenturyLink
Attn: Bankruptcy
1801 California St Rm 900                                             RS Legacy Corporation fka RadioShack
Denver , CO 80202                                  7364      7/9/2015 Corporation                                                      $75.78                                                                                           $75.78
Arbor Place II, LLC
by CBL & Associates Management, Inc., managing
agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                         RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                              7365      7/9/2015 Corporation                                                $112,641.54                                                                                       $112,641.54
Levin Properties, L.P.
C/O Stark & Stark, PC
Attn: Thomas S. Onder, Esquire
993 Lenox Drive                                                        RS Legacy Corporation fka RadioShack
Lawrenceville, NJ 08648                            7366      7/10/2015 Corporation                                                $65,950.26                                                                                        $65,950.26




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                                                                                                                             Current General                                            Current 503(b)(9)
                                                                                                                                                   Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address               Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Karge, Joanne                                                            RS Legacy Customer Service LLC fka RadioShack
                                                      7367      7/9/2015 Customer Service LLC                                              $0.00                                                                                            $0.00
WP Glimcher Inc. as owner of Port Charlotte Town
Center
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                        RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                                  7368      7/9/2015 Corporation                                                     $774.99                                                                                          $774.99
LEM ‐ Lloyd Morris
226 N. Chestnut St                                                        RS Legacy Corporation fka RadioShack
Jefferson, OH 44047                                   7369      7/10/2015 Corporation                                                $71,790.38                                                                                        $71,790.38
Goodwin, Chavarn
600 Old Augusta Rd.                                                      RS Legacy Corporation fka RadioShack
Greenville, SC 29605                                  7370      7/9/2015 Corporation                                                                          $0.00                                                                         $0.00
Grand Central Parkersburg, LLC
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                        RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                                  7371      7/9/2015 Corporation                                                 $59,085.79               $0.00                                               $6,467.46            $65,553.25
ElectricLand, Inc.
410 N. Central Ave.                                                      RS Legacy Corporation fka RadioShack
Sidney, MT 59270                                      7372      7/9/2015 Corporation                                                $496,500.00                                 $0.00                                                 $496,500.00
Central Telephone Company‐North Carolina dba
CenturyLink
Attn: Bankruptcy
1801 California St Rm 900                                                RS Legacy Corporation fka RadioShack
Denver , CO 80202                                     7373      7/9/2015 Corporation                                                     $706.36                                                                                          $706.36
Federal Realty Partners L.P. (Federal Realty
Investment Trust) t/a Mount Vernon Shopping
Center, Alexandria, VA
c/o David L. Pollack, Esq.
Ballard Spahr LLP
1735 Market Street, 51st Floor                                            RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                7374      7/10/2015 Corporation                                               $107,812.73                                                                                       $107,812.73
Federal Realty Investment Trust t/a Troy Shopping
Center, Parsippany‐Troy, NJ
c/o David L. Pollack, Esq.
Ballard Sphar LLP
1735 Market Street, 51st Floor                                            RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                7375      7/10/2015 Corporation                                               $106,071.64                                                                                       $106,071.64
Inven Trust Property Management, LLC, f/k/a IA
Management, LLC as managing agent for IA Hiram
Smith, LLC
Attn: Bert Bittourna, Esquire
Law Department
2901 Butterfield Road                                                    RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                   7376      7/9/2015 Corporation                                                 $56,580.73                                                                                        $56,580.73




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                                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                 Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount

Cognizant Technology Solutions U.S. Corporation
211 Quality Circle                                                          RS Legacy Corporation fka RadioShack
College Station, TX 77845                               7377      7/10/2015 Corporation                                               $273,382.40                                                                                       $273,382.40
Wood, Rimmele
166 McCarthy Acres                                                         RS Legacy Corporation fka RadioShack
North Bennington, VT                                    7378      7/9/2015 Corporation                                                                        $50.00                                 $50.00                                 $100.00
Bennett, Anthony G.
6501 Bright Mountain Rd                                                     RS Legacy Corporation fka RadioShack
McLean, VA 22101                                        7379      7/10/2015 Corporation                                                                                                              $40.00                                  $40.00
Century Tel of Central Missouri
Attn: Bankruptcy
1801 California St Rm 900                                                  RS Legacy Corporation fka RadioShack
Denver , CO 80202                                       7380      7/9/2015 Corporation                                                     $288.14                                                                                          $288.14
Chula Vista Town Center Associates II, L.P.
Successor to Palm 805 Investment Associates,
Limited, L.P.
c/o Gatlin Development Company, Inc.
1301 Riverplace Blvd., Ste. 1900                                           RS Legacy Corporation fka RadioShack
Jacksonville, FL 32207                                  7381      7/9/2015 Corporation                                                 $42,838.42                                                                                        $42,838.42
LF2 Rock Creek LP
Attn: Craig Walton, Legal Counsel NADG
2851 John Street, Suite One
Markham, ON L3R 5R7                                                         RS Legacy Corporation fka RadioShack
Canada                                                  7382      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00

WP Glimcher Inc. as owner of Bowie Town Center
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                          RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                                    7383      7/9/2015 Corporation                                                     $833.84                                                                                          $833.84
Blake, Jacqueline
c/o The Brumer Law Firm, P.C.
45 W 60th Street #28H                                                      RS Legacy Corporation fka RadioShack
New York, NY 10023                                      7384      7/9/2015 Corporation                                                $300,000.00                                                                                       $300,000.00
WP Glimcher Inc. as owner of Waterford Lakes
Town Center
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                          RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                                    7385      7/9/2015 Corporation                                                 $52,698.20                                                                                        $52,698.20
The Russellville of Arkansas, Missouri and Oklahoma
dba Centurylink
Attn: Bankruptcy
1801 California St ‐ Rm 900                                                RS Legacy Corporation fka RadioShack
Denver, CO 80202‐265                                    7386      7/9/2015 Corporation                                                      $46.44                                                                                           $46.44




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                                                                                                                                               Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address            Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
CenturyTel of Montana Inc, Montana dba
Centurylink
Attn: Bankruptcy
1801 California St Rm 900                                             RS Legacy Corporation fka RadioShack
Denver, CO 80202‐265                               7387      7/9/2015 Corporation                                                    $102.67                                                                                          $102.67
PFP COLUMBUS II, LLC
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                     RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                               7388      7/9/2015 Corporation                                                  $1,193.90                                                                                        $1,193.90
WP Glimcher Inc. as Owner of Richmond Town
Center
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                     RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                               7389      7/9/2015 Corporation                                                    $492.98                                                                                          $492.98
Circle Graphics, Inc
120 9th Avenue                                                        RS Legacy Corporation fka RadioShack
Longmont, CO 80501                                 7390      7/9/2015 Corporation                                                  $4,361.06                                                                                        $4,361.06
COTRONICS, INC FOR STORE 22A606
ATTN: LAWRENCE COHEN
5595 SE LAMAY DR.                                                     RS Legacy Corporation fka RadioShack
STUART, FL 34997                                   7391      7/9/2015 Corporation                                               $179,000.00                                                                                       $179,000.00

WP Glimcher Inc. as owner of West Town Corners
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                     RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                               7392      7/9/2015 Corporation                                                $18,073.36                                                                                        $18,073.36
InvenTrust Property Management LLC, f/k/a IA
Management, LLC, as managing agent for IA
Erlanger Silverlake, LLC
Attn: Bert Bittourna, Esquire
Law Department
2901 Butterfield Road                                                 RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                7393      7/9/2015 Corporation                                                $32,036.29                                                                                        $32,036.29
Bay Park Venture I, Ltd.
c/o Craddock Massey LLP
Attn: K. Murray
1400 Post Oak Blvd., Suite 640                                        RS Legacy Corporation fka RadioShack
Houston, TX 77056                                  7394      7/9/2015 Corporation                                                $63,517.64                                                                                        $63,517.64
Embarq Minnesota dba CenturyLink
Attn: Bankruptcy
1801 California St Rm 900                                             RS Legacy Corporation fka RadioShack
Denver, CO 80202                                   7395      7/9/2015 Corporation                                                     $98.15                                                                                           $98.15




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            Creditor Name and Address              Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
CenturyTel Southern Alabama of Alabama dba
Centurylink
Attn: Bankruptcy
1801 California St Rm 900                                               RS Legacy Corporation fka RadioShack
Denver, CO 80202                                     7396      7/9/2015 Corporation                                                     $507.79                                                                                          $507.79
WP Glimcher Inc. as owner of Edison Mall
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                       RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                                 7397      7/9/2015 Corporation                                                $203,209.56                                                                                       $203,209.56
InvenTrust Property Management, LLC, f/k/a IA
Management, L.L.C. as managing agent for IA St.
Petersburg Gateway, L.L.C.
Attn Bert Bittourna, Esquire
Law Department
2901 Butterfield Road                                                   RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                  7398      7/9/2015 Corporation                                                 $85,858.49                                                                                        $85,858.49
Embarq Missouri‐Northern dba CenturyLink
Attn: Bankruptcy
1801 California St Rm 900                                               RS Legacy Corporation fka RadioShack
Denver , CO 80202                                    7399      7/9/2015 Corporation                                                     $561.50                                                                                          $561.50
MFC Beavercreek, LLC
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                       RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                                 7400      7/9/2015 Corporation                                                 $45,746.65                                                                                        $45,746.65
PLAINFIELD PARKADE INC.
c/o First Hartford Realty Corporation
149 COLONIAL ROAD                                                       RS Legacy Corporation fka RadioShack
MANCHESTER, CT 06045                                 7401      7/9/2015 Corporation                                                      $36.83                                                                                           $36.83
USR‐Desco Bellerive Plaza, LLC
c/o Summers Compton Wells LLC
Bonnie L. Clair
8909 Ladue Road                                                          RS Legacy Corporation fka RadioShack
ST. Louis, MO 63124                                  7402      7/10/2015 Corporation                                                $64,118.81                                                                                        $64,118.81

WP Glimcher Inc. as owner of Cottonwood Mall
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                       RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                                 7403      7/9/2015 Corporation                                                     $698.97                                                                                          $698.97

Johnson River Center LLC and 3520‐52 Johnson LLC
Attn: Eric Friedland
c/o Larstrand Corp.
500 Park Avenue 11th Floor                                              RS Legacy Corporation fka RadioShack
New York, NY 10022                                   7404      7/9/2015 Corporation                                                 $40,050.67                                                                                        $40,050.67




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            Creditor Name and Address              Claim No.   Claim Date                      Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
La Habra Associates, LLC
Micheal Sobkowiak, Esq.
Friedman Law Group, P.C.
1900 Avenue of the Stars, 11th Fl.                                      RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067                                7405      7/9/2015 Corporation                                                  $44,436.66           $3,900.38                                                                    $48,337.04

Centurytel of Oregon Inc, Oregon dba Centurylink
Attn: Bankruptcy
1801 California St Rm 900                                               RS Legacy Corporation fka RadioShack
Denver, CO 80202‐265                                 7406      7/9/2015 Corporation                                                      $113.94                                                                                          $113.94
Burnsville Center SPE, LLC
by CBL & Associates Management, Inc., managing
agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                           RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                                7407      7/9/2015 Corporation                                                  $93,003.27                                                                                        $93,003.27
Westwood Dome Partners, L.P.
Daniel P. Stimpert, Esq.
8500 Wilshire Blvd
Suite 640                                                               RS Legacy Corporation fka RadioShack
Beverly Hills, CA 90211                              7408      7/9/2015 Corporation                                                    $4,426.10                                                                                        $4,426.10
Illinois Department of Revenue
PO Box 64338
Chicago, IL 60664‐0338                               7409      7/9/2015 SCK, Inc.                                                          $0.00              $0.00                                                                         $0.00
United Telephone Company of Ohio DBA
Centurylink
Attn: Bankruptcy
1801 California St Rm 900                                               RS Legacy Corporation fka RadioShack
Denver, CO 80202                                     7410      7/9/2015 Corporation                                                    $1,684.07                                                                                        $1,684.07
Liberty Mutual Insurance Company
100 Liberty Way
PO Box 1525
Dover, NH 03821‐1525                                 7411      7/9/2015 RS Legacy Holdings, Inc. fka Tandy Holdings, Inc.                                                       $0.00                                                       $0.00
Centurytel of the Midwest‐Wisconsin of Wisconsin
dba Centurylink
Attn Bankruptcy
1801 California St
Rm 900                                                                  RS Legacy Corporation fka RadioShack
Denver , CO 80202                                    7412      7/9/2015 Corporation                                                      $164.02                                                                                          $164.02
Julie Bovay, Franchisee
RadioShack 22K811
PO BOX 1306                                                             RS Legacy Corporation fka RadioShack
Avalon, CA 90704                                     7413      7/9/2015 Corporation                                                  $34,822.03                                                                                        $34,822.03
Qwest Corporation dba Centurylink QC
Attn: Bankruptcy
1801 California St Rm 900                                               RS Legacy Corporation fka RadioShack
Denver, CO 80202‐265                                 7414      7/9/2015 Corporation                                                 $150,152.83                                                                                       $150,152.83
GAR CUDAHY LP
C/O CBRE
7777 EAST WISCONSIN, SUITE 3250                                         RS Legacy Corporation fka RadioShack
MILWAUKEE, WI 53202                                  7415      7/9/2015 Corporation                                                    $1,643.56                                                                                        $1,643.56



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                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                     Amount
Central Telephone Company of Texas dba
CenturyLink
Attn: Bankruptcy
1801 California St Rm 900                                              RS Legacy Corporation fka RadioShack
Denver , CO 80202                                   7416      7/9/2015 Corporation                                                   $1,022.17                                                                                        $1,022.17
InvenTrust Property Management, LLC, f/k/a IA
Management, L.L.C., as managing agent for IA
Lynchburg Wards, L.L.C.
Attn: Bert Bittourna, Esquire
Law Department
2901 Butterfield Road                                                  RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                 7417      7/9/2015 Corporation                                                   $4,877.19                                                                                        $4,877.19
AlShak Realty, LLC
C/O STARK & STARK, PC
Attn: Thomas S. Onder, Esquire
993 Lenox Drive                                                         RS Legacy Corporation fka RadioShack
Lawrenceville, NJ 08648                             7418      7/10/2015 Corporation                                                  $5,697.01                                                                                        $5,697.01
WP Glimcher Inc. as Owner of Valle Vista Mall
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                      RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                                7419      7/9/2015 Corporation                                                     $820.61                                                                                          $820.61
CenturyTel of Northern Alabama of Alabama dba
Centurylink
Attn Bankruptcy
1801 California St
Rm 900                                                                 RS Legacy Corporation fka RadioShack
Denver, CO 80202‐265                                7420      7/9/2015 Corporation                                                     $244.86                                                                                          $244.86

WP Glimcher Inc. as owner of Bloomingdale Court
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                      RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                                7421      7/9/2015 Corporation                                                 $63,295.07                                                                                        $63,295.07

WP Glimcher. as owner of Boynton Beach Mall
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                      RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                                7422      7/9/2015 Corporation                                                 $15,443.28                                                                                        $15,443.28
2561 BROADWAY LLC
Attn: Eric Friedland
c/o Larstrand Corp.
500 Park Avenue 11th Floor                                             RS Legacy Corporation fka RadioShack
NEW YORK, NY 10022                                  7423      7/9/2015 Corporation                                                $526,578.49                                                                                       $526,578.49
Zraj Clearfield Limited Partnership
300 MARKET STREET                                                       RS Legacy Corporation fka RadioShack
JOHNSTOWN, PA 15901                                 7424      7/10/2015 Corporation                                                    $478.04                                                                                          $478.04




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                                                                                                                                              Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address          Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
Illinois Department of Revenue
Bankruptcy Section
PO Box 64338                                                        RS Legacy Corporation fka RadioShack
Chicago, IL 60664‐0338                           7425      7/9/2015 Corporation                                                       $0.00              $0.00                                                                         $0.00
Verizon Communications and/or various of its
subsidiaries
Anne M. Siotka, Esquire
Verizon Wireless
Legal & External Affairs Department
One Verizon Way VC52S435                                             RS Legacy Corporation fka RadioShack
Basking Ridge, NJ 07920                          7426      7/10/2015 Corporation                                                $72,284.05                                                                                        $72,284.05
2810 BROADWAY LLC
Attn: Eric Friedland
c/o Larstrand Corp.
500 Park Avenue 11th Floor                                          RS Legacy Corporation fka RadioShack
NEW YORK, NY 10022                               7427      7/9/2015 Corporation                                                $538,239.48                                                                                       $538,239.48
Medallia Inc.
395 Page Mill Rd. Suite 100                                         RS Legacy Corporation fka RadioShack
Palo Alto, CA 94306                              7428      7/9/2015 Corporation                                                       $0.00                                                                                            $0.00
USR‐Desco Wentzville Commons, LLC
c/o Summers Compton Wells LLC
Bonnie L. Clair
8909 Ladue Road                                                      RS Legacy Corporation fka RadioShack
St. Louis, MO 63124                              7429      7/10/2015 Corporation                                                    $290.09                                                                                          $290.09
ATC Glimcher, LLC
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                   RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                             7430      7/9/2015 Corporation                                                $115,847.16                                                                                       $115,847.16
ROIC Pinole Vista, LLC
c/o Christopher L. Parnell
Dunn Carney Allen Higgins & Tongue LLP
851 SW Sixth Avenue, Suite 1500                                     RS Legacy Corporation fka RadioShack
Portland, OR 97204                               7431      7/9/2015 Corporation                                                 $93,849.14                                                                   $3,863.92            $97,713.06
Fair Lakes Center Associates II, L.C.
c/o Andrew B. Schulwolf, Esq.
2273 Research Boulevard, Suite 200                                  RS Legacy Corporation fka RadioShack
Rockville, MD 20850                              7432      7/9/2015 Corporation                                                   $3,494.96                                                                                        $3,494.96
Deville‐ THF Massilon Dev, LLC
c/o THF Management, Inc.
Attn: Jason Meyerpeter
211 North Stadium Blvd., Suite 201                                   RS Legacy Corporation fka RadioShack
Columbia, MO 65203                               7433      7/10/2015 Corporation                                                  $3,348.92                                                                                        $3,348.92
Davis, Cornelia
2412 18th St SE                                                      RS Legacy Corporation fka RadioShack
Washington, DC 20020                             7434      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Davis, Cornelia
2412 18th St SE                                                      RS Legacy Corporation fka RadioShack
Washington, DC 20020                             7435      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address             Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                     Amount
SINGING RIVER EPA.
Sara Bray
11 187 Old 63 South                                                     RS Legacy Corporation fka RadioShack
Lucedale, MS 39452                                  7436      7/10/2015 Corporation                                                  $1,802.29                                                                                        $1,802.29
La Habra Associates
Friedman Law Group, P.C.
Michael Sobkowiak, Esq.
1901 Avenue of the Stars, Suite 1000                                   RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067                               7437      7/9/2015 Corporation                                                       $0.00                                                                      $0.00                 $0.00
Sandra D and/or Doug B Jones
25400 W 132nd St                                                       RS Legacy Corporation fka RadioShack
Olathe, KS 66061                                    7438      7/9/2015 Corporation                                                   $6,488.71                                                                                        $6,488.71

InvenTrust Property Management, LLC, f/k/a IA
Management, L.L.C., as managing agent for IA
McKinney Towne Crossing Limited Partnership
Attn: Bert Bittourna, Esquire
Law Department
2901 Butterfield Road                                                  RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                 7439      7/9/2015 Corporation                                                     $168.55                                                                                          $168.55

THF Chesterfield Dev, LLC
c/o The Staengberg Group
Attn: Ashley Metcalf
2127 Innerbelt Business Center Drive, Suite 310                         RS Legacy Corporation fka RadioShack
St. Louis, MO 63114                                 7440      7/10/2015 Corporation                                                  $3,023.30                                                                                        $3,023.30
Sadoski, MMaryann A.
287 River Road                                                         RS Legacy Corporation fka RadioShack
So. Deerfield, MA 01373                             7441      7/9/2015 Corporation                                                      $37.18                                                                                           $37.18


Lindell Market Place, L.P.
c/o The Staengberg Group, Attn: Ashley Metcalf
2127 Innerbelt Business Center Drive, Suite 310                         RS Legacy Corporation fka RadioShack
ST LOUIS, MO 63114                                  7442      7/10/2015 Corporation                                                  $2,803.49                                                                                        $2,803.49
Morry Brookler and Johnny Triplett, as putative
class representatives
c/o Law Offices of Stephen Glick
1055 Wilshire Blvd., Suite 1480                                         RS Legacy Corporation fka RadioShack
Los Angeles, CA 90017                               7443      7/10/2015 Corporation                                             $50,000,000.00                                                                                   $50,000,000.00
Huckabee, Elizabeth
944 Laurel Avenue                                                      RS Legacy Corporation fka RadioShack
Bridgeport, CT 06604                                7444      7/9/2015 Corporation                                                      $85.04                                                                                           $85.04
Kilbury, Brett Jared
809 Pecks Cnyn Rd                                                       RS Legacy Corporation fka RadioShack
Yakima, WA 98908                                    7445      7/10/2015 Corporation                                                                         $0.00                                                                         $0.00
Tiller, Robert
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                             RS Legacy Corporation fka RadioShack
Cleveland , OH 44113                                7446      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address      Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
The Residuary Trust UWO Robert Buchakian
Chiesa Shahinian & Giantomasi PC
Attn: Steven J. Sheldon, Esq.
One Boland Drive                                                 RS Legacy Corporation fka RadioShack
West Orange, NJ 07052                        7447      7/10/2015 Corporation                                                $96,768.28                                                                                        $96,768.28
USR‐Desco Bellerive Plaza, LLC
c/o Summers Compton Wells LLC
Bonnie L. Clair
8909 Ladue Road                                                  RS Legacy Corporation fka RadioShack
ST. Louis, MO 63124                          7448      7/10/2015 Corporation                                                $51,710.55                                                                                        $51,710.55
STEAMTOWN MALL PARTNERS LP
300 MARKET ST                                                    RS Legacy Corporation fka RadioShack
JOHNSTOWN, PA 15901                          7449      7/10/2015 Corporation                                                  $1,502.91                                                                                        $1,502.91
WC North Oaks Houston LP
c/o Lynn Hamilton Butler
Husch Blackwell LLP
111 Congress Avenue,. Suite 1400                                 RS Legacy Corporation fka RadioShack
Austin, TX 78701                             7450      7/10/2015 Corporation                                                  $4,212.01                                                                                        $4,212.01
Calvillo, Paul
7832 golondrina drive                                            RS Legacy Corporation fka RadioShack
San Bernardino, CA 92410                     7451      7/10/2015 Corporation                                                                                                              $50.00                                  $50.00
Seayco‐THF Owasso Market, LLC
C/O THF Management, Inc.
Attn: Jason Meyerpeter
211 North Stadium Blvd., Suite 201                               RS Legacy Corporation fka RadioShack
COLUMBIA, MO 65203                           7452      7/10/2015 Corporation                                                  $3,224.26                                                                                        $3,224.26
USR‐Desco Zumbehl Commons, LLC
c/o Summers Compton Wells
Bonnie L. Clair
8909 Ladue Road                                                  RS Legacy Corporation fka RadioShack
St. Louis, MO 63124                          7453      7/10/2015 Corporation                                                $79,762.71                                                                                        $79,762.71
HUGH M. GOLDBERG & SUSAN J. GOLDBERG,
PRTNRS
1 Dunsinane Road                                                 RS Legacy Corporation fka RadioShack
Brookfield, CT 06804                         7454      7/10/2015 Corporation                                               $101,836.31                                                                                       $101,836.31
THF EUREKA DEVELOPMENT LP
C/O THF MANAGEMENT, INC.
Attn: Jason Meyerpeter
211 North Stadium Blvd., Suite 201                               RS Legacy Corporation fka RadioShack
COLUMBIA, MO 65203                           7455      7/10/2015 Corporation                                                  $2,926.86                                                                                        $2,926.86
DESCARTES SYSTEMS USA LLC
Michael Verhoeve
120 Randall Drive
Waterloo, ON N2V 1C6                                             RS Legacy Corporation fka RadioShack
Canada                                       7456      7/10/2015 Corporation                                                  $1,798.49                                                                                        $1,798.49
Woodbridge Plaza, LLC
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
101 Park Avenue                                                 RS Legacy Corporation fka RadioShack
New York, NY 10178                           7457      7/9/2015 Corporation                                                 $21,073.28                                                                                        $21,073.28




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            Creditor Name and Address           Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
Levin Properties, L.P.
Levin Management Corporation, agent for Levin
Properties, L.P.
C/O Thomas S. Onder, Esq.
Stark & Stark, PC
993 Lenox Drive                                                       RS Legacy Corporation fka RadioShack
Lawrenceville, NJ 08648                           7458      7/10/2015 Corporation                                                $11,850.83                                                                  $22,550.29            $34,401.12
Streicher, Marcia
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                           RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                               7459      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
KRE COLONIE OWNER LLC
Brian D. Huben, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                    RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                        7460      7/10/2015 Corporation                                                                                                                             $5,648.20             $5,648.20
Intelligrated Products, LLC
c/o Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                     RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                              7461      7/10/2015 Corporation                                                $12,174.48                                                                                        $12,174.48
State of Michigan, Department of Treasury
Cadillac Place, Suite 10‐200
3030 W. Grand Blvd                                                    RS Legacy Corporation fka RadioShack
Detroit, MI 48202                                 7462      7/10/2015 Corporation                                                                         $0.00                                                                         $0.00
Kroger Limited Partnership I
Attn: Law Dept. ‐ K. Grubbs
1014 Vine Street                                                      RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                              7463      7/10/2015 Corporation                                                $46,826.40                                                                                        $46,826.40
FutureLink Corporation
255 Mohawk Trail                                                      RS Legacy Corporation fka RadioShack
Greenfield, MA 01301                              7464      7/10/2015 Corporation                                               $513,000.00                                                                                       $513,000.00
Suits, Kevin
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                           RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                               7465      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
VanBuren, Yulonda
12937 Centre Park Circle
Apt 402                                                               RS Legacy Corporation fka RadioShack
Herndon, VA 20171                                 7466      7/10/2015 Corporation                                                     $94.68                                                                                           $94.68
InvenTrust Property Management, LLC, f/k/a IA
Management, L.L.C., as managing agent for IA
Monroe Poplin, L.L.C.
Attn: Bert Bittourna, Esquire
InvenTrust Property Management, LLC
Law Department
2901 Butterfield Road                                                RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                               7467      7/9/2015 Corporation                                                 $72,103.69                                                                                        $72,103.69




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
SANTEE COOPER
Legal Dept
Mail Code M402
Santee Cooper Headquarters
1 Riverwood Drive                                              RS Legacy Corporation fka RadioShack
Moncks Corner, SC 29461                    7468      7/10/2015 Corporation                                                    $568.03                                                                                          $568.03
Twombley, David
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                    RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                        7469      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Progress Trust, Inc.
c/o Kleinbard LLC
E. David Chanin
One Liberty Place, 46th Floor
1650 Market Street                                             RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                     7470      7/10/2015 Corporation                                                $65,797.23                                                                                        $65,797.23
Van Arsdale, Robert III
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                    RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                        7471      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
GGF, LLC
Attn: Aida Norhadian
100 West Broadway, Suite 950                                   RS Legacy Corporation fka RadioShack
Glendale, CA 91210                         7472      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
THF Fruitport Parcel R Dev LP
C/O THF MANAGEMENT, INC.
Attn: Jason Meyerpeter
211 North Stadium Blvd., Suite 201                             RS Legacy Corporation fka RadioShack
COLUMBIA, MO 65203                         7473      7/10/2015 Corporation                                                  $3,289.71                                                                                        $3,289.71
DTM Management Co.
David H. Matthews, Jr., President
4431 S White Mountain Rd. c‐1                                  RS Legacy Corporation fka RadioShack
Show Low, AZ 85901                         7474      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Neris, Daurys
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                    RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                        7475      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Watt North Highlands, L.P.
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                             RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                 7476      7/10/2015 Corporation                                                $24,821.48           $7,410.12                                                                    $32,231.60
Alecta Real Estate Doral Plaza, LLC
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                             RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                 7477      7/10/2015 Corporation                                                $53,906.02                                                                       $0.00            $53,906.02




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                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                     Amount
KRE Colonie Owner LLC
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                      RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                          7478      7/10/2015 Corporation                                                $86,900.44           $5,889.60                                                                    $92,790.04
Thousand Oaks Marketplace, LP
c/o Ian S. Landsberg
Ecoff Landsberg, LLP
280 South Beverly Drive, Suite 504                                      RS Legacy Corporation fka RadioShack
Beverly Hills, CA 90212                             7479      7/10/2015 Corporation                                                $85,162.14               $0.00                                                                    $85,162.14
INDIANA MALL COMPANY LP
PO BOX 5481                                                             RS Legacy Corporation fka RadioShack
JOHNSTOWN, PA 15904                                 7480      7/10/2015 Corporation                                                  $1,994.75                                                                                        $1,994.75
Century III Mall PA LLC
2100 Pleasant Hill Road
Suite 250                                                               RS Legacy Corporation fka RadioShack
Duluth, GA 30096                                    7481      7/10/2015 Corporation                                                  $1,974.61                                                                                        $1,974.61
El Paso Electric Company
Attention Ms. Juanita (JJ) Jimenez
100 N. Stanton Street                                                   RS Legacy Corporation fka RadioShack
El Paso, TX 79901                                   7482      7/10/2015 Corporation                                                  $5,097.74                                                                                        $5,097.74
WP Glimcher Inc. as owner of Longview Mall
c/o Ronald E. Gold
Frost Brown Todd LLC
3300 Great American Tower
301 E. Fourth St.                                                       RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                                7483      7/10/2015 Corporation                                                $30,243.24                                                                   $1,100.37            $31,343.61
KELLY BROTHERS TRUST DBA ELM PLACE
C/O COMMERICAL ASSET MANAGEMENT
PO BOX 7979                                                             RS Legacy Corporation fka RadioShack
EDMOND, OK 73083‐7979                               7484      7/10/2015 Corporation                                                    $166.82                                                                                          $166.82
GGF, LLC
Attn: Aida Norhadian
100 West Broadway, Suite 950                                            RS Legacy Corporation fka RadioShack
Glendale, CA 91210                                  7485      7/10/2015 Corporation                                               $111,800.29                                                                                       $111,800.29

Union Square Newcastle J.V.
c/o The Staengberg Group
Attn: Ashley Metcalf
2127 Innerbelt Business Center Drive, Suite 310                         RS Legacy Corporation fka RadioShack
St. Louis, MO 63114                                 7486      7/10/2015 Corporation                                                $63,166.53                                                                                        $63,166.53
Gemini Property Management LLC
REF JOHNSTOWN GALLERIA
PO BOX 725 BIN # 17                                                     RS Legacy Corporation fka RadioShack
INDIANA, PA 15701                                   7487      7/10/2015 Corporation                                                $19,715.53                                                                                        $19,715.53
THF Chippewa Ventures, LP
C/O THF MANAGEMENT, INC.
Attn: Jason Meyerpeter
211 North Stadium Blvd., Suite 201                                      RS Legacy Corporation fka RadioShack
COLUMBIA, MO 65203                                  7488      7/10/2015 Corporation                                                  $1,810.48                                                                                        $1,810.48




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                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
THF‐D Charleston Development Limited Liability
Company
C/O THF MANAGEMENT, INC.
Attn: Robert J. Jukabeck
211 North Stadium Blvd., Suite 201                                     RS Legacy Corporation fka RadioShack
COLUMBIA, MO 65203                                 7489      7/10/2015 Corporation                                                  $3,221.77                                                                                        $3,221.77
Lake Arbor Plaza, LLC
c/o Ian S. Landsberg
Ecoff Landsberg, LLP
280 South Beverly Drive, Suite 504                                     RS Legacy Corporation fka RadioShack
Beverly Hills, CA 90212                            7490      7/10/2015 Corporation                                                $43,236.87                                                                       $0.00            $43,236.87
Jewell, Kurtis
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                            RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                7491      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Wait Enterprises, Inc.
DBA J&J Satellite & Communications
1112 E. Main St.                                                       RS Legacy Corporation fka RadioShack
Mountain View, AR 72560                            7492      7/10/2015 Corporation                                               $252,898.99                                                                                       $252,898.99
Kroger Limited Partnership I
Attn: Law Dept. ‐ K. Grubbs
1014 Vine Street                                                       RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                               7493      7/10/2015 Corporation                                                $65,401.44                                                                                        $65,401.44
Page Plaza, LLC
Ecoff Landsberg, LLP
280 South Beverly Drive, Suite 504                                     RS Legacy Corporation fka RadioShack
Beverly Hills, CA 90212                            7494      7/10/2015 Corporation                                                $66,524.50               $0.00                                                                    $66,524.50
THF Glen Carbon DEV, LLC
c/o THF Management, Inc.
Attn: Jason Meyerpeter
211 North Stadium Blvd., Suite 201                                     RS Legacy Corporation fka RadioShack
Columbia, MO 65203                                 7495      7/10/2015 Corporation                                                  $1,687.17                                                                                        $1,687.17
Somma, Andrew
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                            RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                7496      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Crossroads II, LLC
Brian D. Huben, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                     RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                         7497      7/10/2015 Corporation                                                                                                                             $8,724.65             $8,724.65
Hoard, Christal
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                            RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                7498      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
Jubilee Square, LLC
McDowell Knight. Roedder & Sledge, LLC
Richard M. Gaal
11 North Water Street, Suite 13290
Post Office Box 350                                                          RS Legacy Corporation fka RadioShack
Mobile, AL 36601                                         7499      7/10/2015 Corporation                                               $183,823.19                                                                                       $183,823.19
Danville Mall, LLC
c/o Hull Property Group
Attn: Ashley Dolce
1190 Interstate Parkway                                                      RS Legacy Corporation fka RadioShack
Augusta, GA 30909                                        7500      7/10/2015 Corporation                                                $95,977.19                                                                                        $95,977.19
Cellco Partnership d/b/a Verizon Wireless
Christian Groves, Director ‐ Strategic Alliances
One Verizon Way                                                              RS Legacy Corporation fka RadioShack
Basking Ridge, NJ 07920                                  7501      7/10/2015 Corporation                                                      $1.00                                                                                            $1.00
Sam J. Russo Trust, William D. Russo, et al, Tenants
in Common
c/o David Chasin
Gordon & Rees LLP
101 West Broadway, Suite 2000                                                RS Legacy Corporation fka RadioShack
San Diego, CA 92101                                      7502      7/10/2015 Corporation                                                $54,484.78                                                                                        $54,484.78
Blevins, Eric
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                                  RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                      7503      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Sanchez, Zack
3103 Wyoming Ave.                                                            RS Legacy Corporation fka RadioShack
Burbank, CA 91505                                        7504      7/10/2015 Corporation                                                     $70.00                                                                                           $70.00

Estate of Cristiano Bonner by his Administratrix ad
Prosequendum, Carmella Moustaf
c/o Law Offices of Rosemarie Arnold
1386 Palisade Avenue                                                         RS Legacy Corporation fka RadioShack
Fort Lee, NJ 07024                                       7505      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Jones, Tyler
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                                  RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                      7506      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Sanchez, Zack
3103 Wyoming Ave.                                                            RS Legacy Corporation fka RadioShack
Burbank, CA 91505                                        7507      7/10/2015 Corporation                                                     $70.00                                                                                           $70.00
ACE American Insurance Company et al.
Joseph G. Gibbons, Esq.
1650 Market Street
Suite 1800                                                                   RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                   7508      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
TAYLOR ASSOCIATES, LP
C/O Zamias Services, Inc
Attn: Joseph Anthony, Esq.
300 Market St                                                             RS Legacy Corporation fka RadioShack
JOHNSTOWN, PA 15901                                   7509      7/10/2015 Corporation                                                  $3,513.32                                                                                        $3,513.32
2576 Erie Associates LLC
2576 Erie Blvd. East                                                      RS Legacy Corporation fka RadioShack
Syracuse, NY 13224                                    7510      7/10/2015 Corporation                                                $52,174.00                                                                       $0.00            $52,174.00
First Burlington Ventures, Inc.
c/o Hull Property Group ‐ Attn. Ashley Dolce
1190 Interstate Parkway                                                   RS Legacy Corporation fka RadioShack
Augusta, GA 30909                                     7511      7/10/2015 Corporation                                                $43,654.14                                                                                        $43,654.14
Pope, Joseph
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                               RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                   7512      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Prince of Orange, LLC
c/o Hull Property Group
Attn: Ashley Dolce
1190 Interstate Parkway                                                   RS Legacy Corporation fka RadioShack
Augusta, GA 30909                                     7513      7/10/2015 Corporation                                                $78,889.71                                                                                        $78,889.71
GGF Bristol, LLC
Attn: Aida Norhadian
100 West Broadway, Suite 950                                              RS Legacy Corporation fka RadioShack
Glendale, CA 91210                                    7514      7/10/2015 Corporation                                                $89,126.87                                                                                        $89,126.87
Jamie Wills, on behalf of himself and all other
similarly situated claimants
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                               RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                   7515      7/10/2015 Corporation                                             $41,029,237.00                                                                                   $41,029,237.00
SUMTER MALL, LLC
C/O Hull Property Group
Attn: Ashley Dolce
1190 INTERSTATE PARKWAY                                                   RS Legacy Corporation fka RadioShack
AUGUSTA, GA 30909                                     7516      7/10/2015 Corporation                                                $78,431.00                                                                                        $78,431.00
RioCan America Management, LP f/k/a RioCan
(America) Management, Inc., as managing agent for
CSC Towne Square LP
Attn: Linda Madway, Esquire
307 Fellowship Road, Suite 116                                            RS Legacy Corporation fka RadioShack
Mount Laurel, NJ 08054                                7517      7/10/2015 Corporation                                                $38,488.65                                                                                        $38,488.65
Robin Investments, L.L.C.
c/o Summers Compton Wells LLC
Bonnie L. Clair
8909 Ladue Road                                                           RS Legacy Corporation fka RadioShack
St. Louis, MO 63124                                   7518      7/10/2015 Corporation                                                $15,477.12           $2,415.00                                                                    $17,892.12




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            Creditor Name and Address          Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
Green, Jason
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                          RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                              7519      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Safety National Casualty Corporation
1832 Schuetz Rd                                                      RS Legacy Corporation fka RadioShack
St. Louis, MO 63146                              7520      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
GUMBERG ASSOCIATES‐FRANKLIN PLAZA
C/O LG REALTY ADVISORS, INC. (AGENT)
535 SMITHFIELD STREET, SUITE 900                                     RS Legacy Corporation fka RadioShack
PITTSBURGH, PA 15222                             7521      7/10/2015 Corporation                                                $18,669.23                                                                                        $18,669.23
Vineyard Electronics, Inc
426 State Road                                                       RS Legacy Corporation fka RadioShack
Vineyard Haven, MA 02568                         7522      7/10/2015 Corporation                                                                                                               $0.00                                   $0.00
Ubieta, Gloria
630 Ruthcrest Ave.                                                   RS Legacy Corporation fka RadioShack
La Puente, CA 91744                              7523      7/10/2015 Corporation                                                     $32.69                                                                                           $32.69
Kaplan, Lawrence
Tucker Ellis LLP
950 Main Avenue, Suite 1100
c/o Thomas W. Coffey, Esq.                                           RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                              7524      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
West Georgia Commons, LLC
C/O Hull Property Group
Attn: Ashley Dolce
1190 Interstate Parkway                                              RS Legacy Corporation fka RadioShack
Augusta, GA 30909                                7525      7/10/2015 Corporation                                                $77,962.41                                                                                        $77,962.41
Jamie Wills, Individually
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                          RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                              7526      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Mitchell, Chaletha
645 Putnam Dr                                                        RS Legacy Corporation fka RadioShack
Nashville, TN 37218                              7527      7/10/2015 Corporation                                                    $109.00                                                                                          $109.00
David Verderame, as Class Representative, on
behalf of himself, the Certified Class o
c/o Christopher D. Loizides, Esquire
LOIZIDES PA
1225 King Street, Suite 800                                          RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                             7528      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
THF GREENGATE DEVELOPMENT LLC
C/O THF MANAGEMENT INC
Attn: Jason Meyerpeter
211 NORTH STADIUM BLVD., SUITE 201                                   RS Legacy Corporation fka RadioShack
COLUMBIA, MO 65203                               7529      7/10/2015 Corporation                                                  $3,194.94                                                                                        $3,194.94
American Society of Composers Authors and
Publishers
Two Music Square West                                                RS Legacy Corporation fka RadioShack
Nashville, TN 37203                              7530      7/10/2015 Corporation                                                $12,388.51                                                                                        $12,388.51




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                                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                  Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                     Amount                                                     Amount
Barner, Jeff
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                                  RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                      7531      7/10/2015 Corporation                                                       $0.00                                                                                            $0.00
Heagan, Robert
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                                  RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                      7532      7/10/2015 Corporation                                                       $0.00                                                                                            $0.00
OCW Retail‐Belmont, LLC
Jill Brenner Meixel, Esq.
Krokidas & Bluestein LLP
600 Atlantic Avenue, 19th Floor                                              RS Legacy Corporation fka RadioShack
Boston, MA 02210                                         7533      7/10/2015 Corporation                                                 $45,130.45                                                                                        $45,130.45
For Michael Sission, on behalf of himself and all
other similarly situated claimants
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                                  RS Legacy Corporation fka RadioShack
Cleveland , OH 44113                                     7534      7/10/2015 Corporation                                                       $0.00                                                                                            $0.00
THF Nitro Development LLC
c/o THF Management, Inc.
Attn: Jason Meyerpeter
211 North Stadium Blvd., Suite 201                                           RS Legacy Corporation fka RadioShack
Columbia, MO 65203                                       7535      7/10/2015 Corporation                                                   $2,600.26                                                                                        $2,600.26
400 Duval Retail, LLC
1119 Von Phister St                                                          RS Legacy Corporation fka RadioShack
Key West, FL 33040                                       7536      7/10/2015 Corporation                                                 $74,745.52               $0.00                                                                    $74,745.52
Sam J. Russo Trust, William D. Russo, et al, Tenants
in Common
c/o David Chasin
Gordon & Rees LLP
101 West Broadway, Suite 2000                                                RS Legacy Corporation fka RadioShack
San Diego, CA 92101                                      7537      7/10/2015 Corporation                                                       $0.00                                                                                            $0.00
Sam J. Russo Trust, William D. Russo, et al, Tenants
in Common
Gordon & Rees LLP
Attn: David Chasin
101 West Broadway, Suite 2000                                                RS Legacy Corporation fka RadioShack
San Diego, CA 92101                                      7538      7/10/2015 Corporation                                                       $0.00                                                                                            $0.00
Cantor Fitzgerald Securities LLC, as Agent
Attn: Nils E. Horning, Esq
110 East 59th Street, 7th Floor
New York, NY 10022                                       7539      7/10/2015 ITC Services, Inc.                                                                           $250,334,031.00                                            $250,334,031.00
Hernandez Gonzalez, Alexander
Mondriguez & Mondriguez
Apartado 1211                                                                RS Legacy Corporation fka RadioShack
Las Piedras, PR 00771                                    7540      7/10/2015 Corporation                                                $200,000.00                                                                                       $200,000.00




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            Creditor Name and Address          Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount

SIERRA PACIFIC POWER COMPANY DBA NV ENERGY
ATTN: YVONNE ENOS
P.O. BOX 10100                                                       RS Legacy Corporation fka RadioShack
RENO, NV 89520                                   7541      7/10/2015 Corporation                                                  $6,528.99                                                                                        $6,528.99
Ward's Systems Inc.
Franchise #22B636
PO Box 769
65 Northgate Plaza                                                   RS Legacy Corporation fka RadioShack
Morrisville, VT 05661                            7542      7/10/2015 Corporation                                                $30,310.92                                                                                        $30,310.92
THF/MRP TIGER TOWN, LLC
C/O THF MANAGEMENT, INC.
Attn: Robert J. Jakubeck
211 NORTH STADIUM BLVD., SUITE 201                                   RS Legacy Corporation fka RadioShack
COLUMBIA, MO 65203                               7543      7/10/2015 Corporation                                                  $4,714.29                                                                                        $4,714.29
THF Paducah Development, LP
C/O THF MANAGEMENT, INC.
Attn: Jason Meyerpeter
211 N. STADIUM BOULEVARD, SUITE 201                                  RS Legacy Corporation fka RadioShack
COLUMBIA, MO 65203                               7544      7/10/2015 Corporation                                                  $3,214.40                                                                                        $3,214.40
TN Dept of Commerce and Insurance ‐ Consumer
Affairs
c/o TN Atty General, Bankruptcy Div.
PO Box 20207                                                         RS Legacy Corporation fka RadioShack
Nashville, TN 37202‐0207                         7545      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Frechette, L.
PO Box 2003                                                          RS Legacy Corporation fka RadioShack
Scarborough, ME 04070‐2003                       7546      7/10/2015 Corporation                                                     $62.99                                                                                           $62.99

OTR, an Ohio general partnership
c/o State Teachers Retirement System of Ohio
Attn: Thomas S. Counts, Real Estate Counsel
275 East Broad Street                                                RS Legacy Corporation fka RadioShack
Columbus, OH 43215                               7547      7/10/2015 Corporation                                                $59,408.35                                                                                        $59,408.35
Familia, Onasis
898 Saint Nicholas Ave
Apt 7B                                                               RS Legacy Corporation fka RadioShack
New York, NY 10032                               7548      7/10/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
Benitez, Kritina
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                          RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                              7549      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Robin Drive Investments, L.L.C.
c/o Summers Compton Wells LLC
Bonnie L. Clair
8909 Ladue Road                                                      RS Legacy Corporation fka RadioShack
St.Louis, MO 63124                               7550      7/10/2015 Corporation                                                  $1,920.00                                                                                        $1,920.00
Star Development Corporation
244 West Mill Street, Suite 101                                      RS Legacy Corporation fka RadioShack
Liberty, MO 64068                                7551      7/10/2015 Corporation                                                $10,673.91                                                                                        $10,673.91




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            Creditor Name and Address          Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
Nebes III, William
PO Box 7201                                                          RS Legacy Corporation fka RadioShack
Nashua, NH 03060‐7201                            7552      7/10/2015 Corporation                                               $297,764.24               $0.00                                                                   $297,764.24
USR‐Desco Urbana Crossing, LLC
c/o Summers Compton Wells LLC
Bonnie L. Clair
8909 Ladue Road                                                      RS Legacy Corporation fka RadioShack
St. Louis, MO 63124                              7553      7/10/2015 Corporation                                                $11,639.27           $7,556.33                                                                    $19,195.60
RYAN INC
Three Galleria Tower
13155 Noel Road, Suite 100                                           RS Legacy Corporation fka RadioShack
DALLAS, TX 75240                                 7554      7/10/2015 Corporation                                               $762,987.49                                                                                       $762,987.49
Brown, Brenda J.
4343 G. St. S.E.                                                     RS Legacy Corporation fka RadioShack
Washington, DC 20019                             7555      7/10/2015 Corporation                                                     $34.99                                                                                           $34.99
Jeffrey Plaza Investors, LLC
C/O Law Offices of William J. Factor, LTD.
Zane L. Zielinski
105 W. Madison; Suite 1500                                           RS Legacy Corporation fka RadioShack
Chicago, IL 60602                                7556      7/10/2015 Corporation                                                  $6,462.47                                                                                        $6,462.47
Costa, Richard
2101 Ocean Street                                                    RS Legacy Customer Service LLC fka RadioShack
Marshfield, MA 02050                             7557      7/10/2015 Customer Service LLC                                            $45.00                                                                                           $45.00

OTR, an Ohio general partnership
c/o State Teachers Retirement System of Ohio
275 East Broad Street                                                RS Legacy Corporation fka RadioShack
Columbus, OH 43215                               7558      7/10/2015 Corporation                                                $15,014.17                                                                                        $15,014.17
Star Development Corporation
244 West Mill Street, Suite 101                                      RS Legacy Corporation fka RadioShack
Liberty, MO 64068                                7559      7/10/2015 Corporation                                                $25,612.68                                                                                        $25,612.68
GUMBERG ASSOCIATES‐MIFFLIN COUNTY
COMMONS
C/O LG REALTY ADVISORS, INC., AGENT
535 SMITHFIELD STREET, SUITE 900                                     RS Legacy Corporation fka RadioShack
PITTSBURGH, PA 15222                             7560      7/10/2015 Corporation                                                $33,734.68                                                                                        $33,734.68
Savannah Square Associates, LTD.
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                   RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                       7561      7/10/2015 Corporation                                                $68,623.74           $4,473.46                                                                    $73,097.20
Burlington Mall NJ LLC
2100 Pleasant Hill Road
Suite 250                                                            RS Legacy Corporation fka RadioShack
Duluth, GA 30096                                 7562      7/10/2015 Corporation                                                  $5,624.24                                                                                        $5,624.24
FutureLink Corporation DBA BRW Electronics
972 Putney Road
Suite 9                                                              RS Legacy Corporation fka RadioShack
Brattleboro, VT 05301                            7563      7/10/2015 Corporation                                               $513,000.00                                                                                       $513,000.00




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                                                                                                                    Current General                                            Current 503(b)(9)
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            Creditor Name and Address      Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
Cortana Mall LA LLC
2100 Pleasant Hill Road
Suite 250                                                        RS Legacy Corporation fka RadioShack
Duluth, GA 30096                             7564      7/10/2015 Corporation                                                    $983.96                                                                                          $983.96
1 South Wacker Financial Associates, LLC
Elizabeth B. Vandesteeg, Esq.
Levenfeld Pearlstein, LLC
2 N. LaSalle St., Suite 1300                                     RS Legacy Corporation fka RadioShack
Chicago, IL 60602                            7565      7/10/2015 Corporation                                                $10,620.75                                                                                        $10,620.75
Costa, Richard
2101 Ocean Street                                                RS Legacy Corporation fka RadioShack
Marshfield, MA 02050                         7566      7/10/2015 Corporation                                                     $45.00                                                                                           $45.00
Nevada Power Company dba NV Energy
Attn: Yvonee Enos
P.O. Box 10100                                                   RS Legacy Corporation fka RadioShack
Reno, NV 89520                               7567      7/10/2015 Corporation                                                $12,725.39                                                                                        $12,725.39
Star Development Corporation
244 West Mill Street, Suite 101                                  RS Legacy Corporation fka RadioShack
Liberty, MO 64068                            7568      7/10/2015 Corporation                                                $59,258.06                                                                                        $59,258.06
Vargas, Diogenes
190 Park Street                                                  RS Legacy Corporation fka RadioShack
Ridgefield Park, NJ 07660                    7569      7/10/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
Claim Docketed In Error                                          RS Legacy Corporation fka RadioShack
                                             7570      7/10/2015 Corporation                                                                                                                                                       $0.00
Coon, Kenisha
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                      RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                          7571      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Regency Lumberton LLC
330 Cross Pointe Boulevard                                       RS Legacy Corporation fka RadioShack
Evansville, IN 47715‐4027                    7572      7/10/2015 Corporation                                                $42,112.24                                                                                        $42,112.24
ABM Onsite Services ‐ Midwest, Inc.
c/o Ean L. Kryska
180 N. LaSalle Street
Suite 1700                                                       RS Legacy Corporation fka RadioShack
Chicago, IL 60601                            7573      7/10/2015 Corporation                                                    $648.00                                                                                          $648.00
Rasberry, John Etta
4032 Hamilton Circle
Apt. 115                                                         RS Legacy Corporation fka RadioShack
Arlington, TX 76013                          7574      7/10/2015 Corporation                                                                       $62.74                                  $0.00                                  $62.74
Walker, Nathan
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                      RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                          7575      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Martin, Bryan
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                      RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                          7576      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address             Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
Harris, Laurance
1695 Bethel Road                                                        RS Legacy Corporation fka RadioShack
Greenville, TX 75402                                7577      7/10/2015 Corporation                                                       $0.00                                                                                            $0.00

Carmella Moustafa, as Administratrix ad
Prosequendum of Estate of Christiano Bonner, as
Guardian ad Litem for Bianca Bonner
Law Offices Rosemarie Arnold
1386 Palisade Avenue                                                    RS Legacy Corporation fka RadioShack
Fort Lee, NJ 07024                                  7578      7/10/2015 Corporation                                                       $0.00                                                                                            $0.00
EASTVALE GATEWAY II LLC
c/o Lewis Operating Corp.
Attn: John Goodman
PO BOX 0670
1156 N. Mountain Ave.                                                   RS Legacy Corporation fka RadioShack
UPLAND, CA 91785‐0670                               7579      7/10/2015 Corporation                                                 $11,688.95                                                                                        $11,688.95
Purvis, Carol
104 Parkmist Circle                                                     RS Legacy Corporation fka RadioShack
Cary, NC 27519                                      7580      7/10/2015 Corporation                                                      $10.69                                                                                           $10.69
Pepper, Ellen M.
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                             RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                 7581      7/10/2015 Corporation                                                       $0.00                                                                                            $0.00
Gustafson, Judy
12215 Beckendorf Bend Ln                                                RS Legacy Corporation fka RadioShack
Tomball, TX 77377                                   7582      7/10/2015 Corporation                                                       $0.00                                                                                            $0.00
Cantor Fitzgerald Securities LLC, as Agent
Attn: Nils E. Horning, Esq
110 East 59th Street, 7th Floor
New York, NY 10022                                  7583      7/10/2015 Ignition L.P.                                                                                $250,334,031.00                                            $250,334,031.00
Cheshier, Aaron
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                             RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                 7584      7/10/2015 Corporation                                                       $0.00                                                                                            $0.00
WLPX HESPERIA, LLC
Attn: John Goodman
c/o Lewis Operating Corp.
PO Box 0670                                                             RS Legacy Corporation fka RadioShack
UPLAND, CA 91785‐0670                               7585      7/10/2015 Corporation                                                 $76,016.97                                                                                        $76,016.97
LeMay, Joshua
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                             RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                 7586      7/10/2015 Corporation                                                       $0.00                                                                                            $0.00
Bess, Bernadette
3918 Bradford N.E.                                                      RS Legacy Corporation fka RadioShack
Grand Rapids, MI 49525                              7587      7/10/2015 Corporation                                                      $80.00                                                                                           $80.00




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            Creditor Name and Address             Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                     Amount
TPM CSQ A, LLC
c/o Peter J. Haley
Nelson Mullins Riley & Scarborough LLP
One Post Office Square                                                  RS Legacy Corporation fka RadioShack
Boston, MA 02109                                    7588      7/10/2015 Corporation                                                $12,176.97                                                                                        $12,176.97
Franz, Melissa
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                             RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                 7589      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Crossroads II, LLC (209847‐00007)
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                      RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                          7590      7/10/2015 Corporation                                                $53,102.07                                                                   $8,724.65            $61,826.72
Huang, Lulu
170 Federal Way, #102                                                   RS Legacy Corporation fka RadioShack
Johnston, RI 02919                                  7591      7/10/2015 Corporation                                                    $191.44           $400.00                                  $0.00                                 $591.44
Mullen, Maribeth
22 Darien                                                               RS Legacy Corporation fka RadioShack
New Hope, PA 18938                                  7592      7/10/2015 Corporation                                                     $27.55                                                                                           $27.55
Shaines, Sarah
PO Box 1685                                                             RS Legacy Customer Service LLC fka RadioShack
Kihei, HI 96753                                     7593      7/10/2015 Customer Service LLC                                            $54.89                                                                                           $54.89
Edgewater Holding Corporation
100 Bush Street, Suite 218                                              RS Legacy Corporation fka RadioShack
SAN FRANCISCO, CA 94104                             7594      7/10/2015 Corporation                                                  $4,043.87                                                                                        $4,043.87
Persico, Danielle
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                             RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                 7595      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Regency Commercial Associates LLC
330 Cross Pointe Boulevard                                              RS Legacy Corporation fka RadioShack
Evansville, IN 47715‐4027                           7596      7/10/2015 Corporation                                                $54,534.62                                                                                        $54,534.62
Walker, William
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                             RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                 7597      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Inland Commercial Property Management, Inc., as
managing agent for IN Retail Fund Forest Lake
Marketplace, L.L.C.
Attn: Beth Sprecher Brooks, Esquire
Inland Real Estate Corp.
Law Department
2901 Butterfield Road                                                   RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                 7598      7/10/2015 Corporation                                                $19,575.36                                                                                        $19,575.36




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            Creditor Name and Address            Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
AlShak Realty, LLC
Levin Management Corporation, Agent for AlShak
Realty, LLC
Thomas S. Onder, Esquire
STARK & STARK, P.C.
993 Lenox Drive                                                        RS Legacy Corporation fka RadioShack
Lawrenceville, NJ 08648                            7599      7/10/2015 Corporation                                                  $1,043.36                                                                 $12,139.98            $13,183.34
Braden, David
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                            RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                7600      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
County of Fairfax
Office of the County Attorney
12000 Govt. Center Parkway, Suite 549                                  RS Legacy Corporation fka RadioShack
Fairfax, VA 22035                                  7601      7/10/2015 Corporation                                                                      $488.94                                                                        $488.94
Pilgrim Plaza, LLC
Richard L. Zucker, Esq.
Lasser Hochman, L.L.C.
75 Eisenhower Parkway                                                  RS Legacy Corporation fka RadioShack
Roseland, NJ 07068‐1694                            7602      7/10/2015 Corporation                                                $13,461.03                                                                   $6,191.13            $19,652.16
Silver Shield, LLC
Block & Co
605 W 47th Street, Suite 200                                           RS Legacy Corporation fka RadioShack
Kansas City, MO 64112                              7603      7/10/2015 Corporation                                                  $3,162.86                                                                                        $3,162.86
Watson, Shiloh
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                            RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                7604      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
The Can Company LLC
c/o Peter J. Haley
Nelson Mullins Riley & Scarborough LLP
One Post Office Square                                                 RS Legacy Corporation fka RadioShack
Boston, MA 02109                                   7605      7/10/2015 Corporation                                                  $6,333.58                                                                                        $6,333.58
Pimentel, Jessica
224 Warwick Street                                                     RS Legacy Corporation fka RadioShack
Brooklyn, NY 11207                                 7606      7/10/2015 Corporation                                                                       $86.00              $0.00                                                      $86.00
Plaza Las Americas, Inc.
c/o Holland & Knight LLP
Attn: Jose A. Casal, Joaquin J. Alemany
701 Brickell Avenue, Suite 3300                                        RS Legacy Corporation fka RadioShack
Miami, FL 33131                                    7607      7/10/2015 Corporation                                               $431,452.00                                                                                       $431,452.00
2000 ROCKAWAY PARKWAY ASSOCIATES
Attn: Robert M. Sasloff
c/o Robinson Brog Leinwand Greene Genovese &
Gluck
875 Third Avenue                                                       RS Legacy Corporation fka RadioShack
New York, NY 10022                                 7608      7/10/2015 Corporation                                                $54,710.84                                                                                        $54,710.84




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            Creditor Name and Address           Claim No.   Claim Date                      Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
Dennett, Joseph
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                           RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                               7609      7/10/2015 Corporation                                                       $0.00                                                                                            $0.00
Cantor Fitzgerald Securities LLC, as Agent
Attn: Nils E. Horning, Esq
110 East 59th Street, 7th Floor                                       RS Legacy Global Sourcing, Inc. fka RadioShack
New York, NY 10022                                7610      7/10/2015 Global Sourcing, Inc.                                                                        $250,334,031.00                                            $250,334,031.00
DTM Management Co.
David H. Matthews Jr., President
209 Hwy 260                                                           RS Legacy Corporation fka RadioShack
Payson, AZ 85541                                  7611      7/10/2015 Corporation                                                       $0.00                                                                                            $0.00
Silver Shield
Attn:David Harris
Block & Co
605 W 47th Street, Suite 350                                          RS Legacy Corporation fka RadioShack
Kansas City, MO 64112                             7612      7/10/2015 Corporation                                                       $0.00                                                                                            $0.00
CSFB 2004‐C2 Puyallup Retail, LLC
c/o Darek S. Bushnaq, Esq
Heather Deans Foley, Esq
Venable LLP
750 East Pratt Street, Suite 900                                      RS Legacy Corporation fka RadioShack
Baltimore, MD 21202                               7613      7/10/2015 Corporation                                                 $59,721.48                                                                                        $59,721.48
ST‐DIL LLC
c/o Darek S. Bushnaq, Esq.
Heather Deans Foley, Esq.
Venable LLP
750 East Pratt Street, Suite 900                                      RS Legacy Corporation fka RadioShack
Baltimore , MA 21202                              7614      7/10/2015 Corporation                                                                                                                             $11,153.22            $11,153.22
OCW Retail‐Dedham, LLC
c/o Jill Brenner Meixel, Esq.
Krokidas & Bluestein LLP
600 Atlantic Avenue, 19th Floor                                       RS Legacy Corporation fka RadioShack
Boston, MA 02210                                  7615      7/10/2015 Corporation                                                $159,797.16                                                                                       $159,797.16
811 Fair Oaks Avenue, LLC and AGM Marina Club
LLC
c/o The Kutzer Company
716 Mission Street                                                    RS Legacy Corporation fka RadioShack
South Pasadena, CA 91030‐3040                     7616      7/10/2015 Corporation                                                 $95,566.42                            $13,080.00                                 $0.00           $108,646.42
LDV PROPERTIES LIMITED
17111 E JEFFERSON #24                                                 RS Legacy Corporation fka RadioShack
GROSSE POINTE, MI 48230‐1943                      7617      7/10/2015 Corporation                                                   $4,478.50                                                                                        $4,478.50
Mullen, Maribeth
22 Darien                                                             RS Legacy Corporation fka RadioShack
New Hope, PA 18938                                7618      7/10/2015 Corporation                                                      $27.55                                                                                           $27.55
The Hsiao Children's Trust
Best Best & Krieger LLP
Attn: Laurie Verstegen
18101 Von Karman Ave., Suite 1000                                     RS Legacy Corporation fka RadioShack
Irvine, CA 92612                                  7619      7/10/2015 Corporation                                                       $0.00                                                                                            $0.00




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                                                                                                                                                   Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address               Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Regency Commercial Associates LLC
330 Cross Pointe Boulevard                                                RS Legacy Corporation fka RadioShack
Evansville, IN 47715‐4027                             7620      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00

Inland TRS Property Management, Inc., as managing
agent for Inland Creekside Commons, L.L.C.
Attn: Beth Sprecher Brooks, Esquire
Inland Real Estate Crop.
Law Department
2901 Butterfield Road                                                     RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                   7621      7/10/2015 Corporation                                                  $4,361.48                                                                                        $4,361.48
HQ8‐10410‐10450 Melody Lane, LLC
c/o Darek S. Bushnaq, Esq.
Heather Deans Foley, Esq.
Venable LLP
750 East Pratt Street, Suite 900                                          RS Legacy Corporation fka RadioShack
Baltimore, MD 21202                                   7622      7/10/2015 Corporation                                                $13,547.69                                                                                        $13,547.69
APPLE VALLEY COMMONS I, LLC
c/o LEWIS OPERATING CORP.
Attn: John Goodman
PO Box 0670                                                               RS Legacy Corporation fka RadioShack
Upland, CA 91785‐0670                                 7623      7/10/2015 Corporation                                                  $4,788.52                                                                                        $4,788.52
Bianca Bonner by her Guardian ad Litem Carmella
Moustafa
c/o Law Offices Rosemarie Arnold
1386 Palisade Avenue                                                      RS Legacy Corporation fka RadioShack
Fort Lee, NJ 07024                                    7624      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Levin Properties, L.P.
c/o Stark & Stark
Attn: Thomas S. Onder, Esquire
993 Lenox Drive                                                           RS Legacy Corporation fka RadioShack
Lawrenceville, NJ 08648                               7625      7/10/2015 Corporation                                                $31,979.54                                                                                        $31,979.54
FIRST RIVERBANK LP
C/O BROWMAN DEVELOPMENT CO
1556 PARKSIDE DRIVE                                                       RS Legacy Corporation fka RadioShack
WALNUT CREEK, CA 94596                                7626      7/10/2015 Corporation                                                  $3,298.57                                                                                        $3,298.57
Dana, Kathryn
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                               RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                   7627      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Ratliff, Kyle
6140 Hatches Ct.                                                          RS Legacy Corporation fka RadioShack
Burke, VA 22015                                       7628      7/10/2015 Corporation                                                                       $10.48                                                                         $10.48
GSMS 2005‐GG4 Temple Retail, LLC
c/o Darek S. Bushnaq, Esq.
Heather Deans Foley, Esq.
Venable LLP
750 East Pratt Street, Suite 900                                          RS Legacy Corporation fka RadioShack
Baltimore, MD 21202                                   7629      7/10/2015 Corporation                                                  $5,291.42                                                                                        $5,291.42




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                                                                                                                             Current General                                            Current 503(b)(9)
                                                                                                                                                   Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address               Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Ford, Jr., Anthony
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                               RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                   7630      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
King, Carrie
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                               RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                   7631      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Aguilar, Michael
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                               RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                   7632      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Huda, Quamrul A
11412 206th St                                                            RS Legacy Corporation fka RadioShack
Lakewood, CA 90715                                    7633      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
ST‐DIL LLC
c/o Darek S. Bushnaq, Esq.
Heather Deans Foley, Esq.
Venable LLP
750 East Pratt Street, Suite 900                                          RS Legacy Corporation fka RadioShack
Baltimore , MA 21202                                  7634      7/10/2015 Corporation                                               $218,092.80                                                                                       $218,092.80
Dana, Matthew
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                               RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                   7635      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00

Washington State Department of Labor & Industries
Bankruptcy Unit
PO Box 44171                                                              RS Legacy Corporation fka RadioShack
Olympia, WA 98504                                     7636      7/10/2015 Corporation                                                                     $4,106.26                                                                     $4,106.26
Claim Docketed In Error                                                   RS Legacy Corporation fka RadioShack
                                                      7637      7/10/2015 Corporation                                                                                                                                                       $0.00
Nathan Walker
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                               RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                   7638      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
NREA‐TRC 700 LLC
C/O THE RATKOVICH COMPANY
Attn: Brian Saenger
700 SOUTH FLOWER, SUITE 2600                                              RS Legacy Corporation fka RadioShack
LOS ANGELES, CA 90017                                 7639      7/10/2015 Corporation                                                                                           $0.00                                                       $0.00
DTM Management Co.
David H Matthews Jr, President
PO BOX 1366
518 Main Street                                                           RS Legacy Corporation fka RadioShack
Taylor, AZ 85939                                      7640      7/10/2015 Corporation                                                                         $0.00                                                                         $0.00




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                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
Lawrence, Kelley
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                               RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                   7641      7/10/2015 Corporation                                                        $0.00                                                                                            $0.00
FAIRFAX COMPANY OF VIRGINIA LLC
c/o Andrew S. Conway
DEPT 56501
PO BOX 67000                                                              RS Legacy Corporation fka RadioShack
DETROIT, MI 48267                                     7642      7/10/2015 Corporation                                                    $9,333.80                                                                                        $9,333.80
Cantor Fitzgerald Securities LLC, as Agent
Attn: Nils E. Horning, Esq                                                RS Legacy Global Sourcing Limited Partnership
110 East 59th Street, 7th Floor                                           fka RadioShack Global Sourcing Limited
New York, NY 10022                                    7643      7/10/2015 Partnership                                                                                   $250,334,031.00                                            $250,334,031.00
Cantor Fitzgerald Securities LLC, as Agent
Attn: Nils E. Horning, Esq
110 East 59th Street, 7th Floor
New York, NY 10022                                    7644      7/10/2015 TE Electronics LP                                                                             $250,334,031.00                                            $250,334,031.00
PZ MIRACLE LIMITED PARTNERSHIP
C/O ZAMIAS SEREVICES, INC.
300 MARKET STREET                                                         RS Legacy Corporation fka RadioShack
JOHNSTOWN, PA 15901                                   7645      7/10/2015 Corporation                                                    $4,954.39                                                                                        $4,954.39
Cantor Fitzgerald Securities LLC, as Agent
Attn: Nils E. Horning, Esq
110 East 59th Street, 7th Floor                                           RS Legacy Global Sourcing Corporation fka
New York, NY 10022                                    7646      7/10/2015 RadioShack Global Sourcing Corporation                                                        $250,334,031.00                                            $250,334,031.00

Wilcut Joint Venture
c/o Mike Atchley, Esquire
Pope, Hardwicke, Christie, Schell, Kelly&Ray, LLP
500 West 7th Street, Suite 6000                                           RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                                  7647      7/10/2015 Corporation                                                  $26,007.63                                                                                        $26,007.63
Cantor Fitzgerald Securities LLC, as Agent
Attn: Nils E. Horning, Esq
110 East 59th Street, 7th Floor                                           RS Legacy Finance Corporation fka Tandy Finance
New York, NY 10022                                    7648      7/10/2015 Corporation                                                                                   $250,334,031.00                                            $250,334,031.00
Cantor Fitzgerald Securities LLC, as Agent
Attention: Nils E. Horning, Esq
110 East 59th Street, 7th Floor                                           RS Legacy Customer Service LLC fka RadioShack
New York, NY 10022                                    7649      7/10/2015 Customer Service LLC                                                                                    $0.00                                                       $0.00
JPMCC 2003‐ ML1 Retail 4910, LLC
c/o Darek S. Bushnaq, Esq.
Heather Deans Foley, Esq.
Venable LLP
750 East Pratt Street, Suite 900                                          RS Legacy Corporation fka RadioShack
Baltimore, MD 21202                                   7650      7/10/2015 Corporation                                                  $35,750.00                                                                                        $35,750.00
Claim Docketed In Error                                                   RS Legacy Corporation fka RadioShack
                                                      7651      7/10/2015 Corporation                                                                                                                                                         $0.00
Cantor Fitzgerald Securities LLC, as Agent
Attn: Nils E. Horning, Esq
110 East 59th Street, 7th Floor
New York, NY 10022                                    7652      7/10/2015 RS Legacy Holdings, Inc. fka Tandy Holdings, Inc.                                             $250,334,031.00                                            $250,334,031.00



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                                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                       Amount                                                     Amount
Cantor Fitzgerald Securities LLC, as Agent
Attn: Nils E. Horning, Esq
110 East 59th Street, 7th Floor
New York, NY 10022                                         7653      7/10/2015 SCK, Inc.                                                                                    $250,334,031.00                                            $250,334,031.00
Carmella Moustafa, Individually
c/o Law Offices Rosemarie Arnold
1386 Palisade Avenue                                                           RS Legacy Corporation fka RadioShack
Fort Lee, NJ 07024                                         7654      7/10/2015 Corporation                                                       $0.00                                                                                            $0.00
OUTDOOR MEDIA ALLIANCE LLC
195 BROADWAY ‐ 29TH FLOOR                                                      RS Legacy Corporation fka RadioShack
NEW YORK, NY 10007                                         7655      7/10/2015 Corporation                                                   $7,548.77                                                                                        $7,548.77
Northridge Owner, L.P.
c/o Dustin P. Branch, Esq.
Katten Muchin Rosenman LLP
2029 Century Park East, Suite 2600                                             RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067‐3012                                 7656      7/10/2015 Corporation                                                 $34,794.33           $3,142.31                                                                    $37,936.64
Cantor Fitzgerald Securities LLC, as Agent
Attn: Nils E. Horning, Esq
110 East 59th Street, 7th Floor                                                RS Legacy Corporation fka RadioShack
New York, NY 10022                                         7657      7/10/2015 Corporation                                                                                            $0.00                                                       $0.00
Cantor Fitzgerald Securities LLC, as Agent
Attn: Nils E. Horning, Esq
110 East 59th Street, 7th Floor                                                RS Legacy International Corporation fka Tandy
New York, NY 10022                                         7658      7/10/2015 International Corporation                                                                    $250,334,031.00                                            $250,334,031.00
Law Offices of Arthur Shaw
Arthur Shaw
600 Old Country Road
Room 229                                                                       RS Legacy Corporation fka RadioShack
Garden City, NY 11530                                      7659      7/10/2015 Corporation                                                       $0.00                                                                                            $0.00
Inland TRS Property Management, Inc., as managing
agent for Inland Fort Smith, L.L.C.
Attn: Beth Sprecher Brooks, Esquire
Inland Real Estate Corp.
Law Department
2901 Butterfield Road                                                          RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                        7660      7/10/2015 Corporation                                                 $60,590.49                                                                                        $60,590.49

Inland Commercial Property Management, Inc., as
managing agent for Inland Real Estate‐Illinois, L.L.C.
Attn: Beth Sprecher Brooks, Esquire
Inland Real Estate Corp.
Law Department
2901 Butterfield Road                                                          RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                        7661      7/10/2015 Corporation                                                   $2,129.67                                                                                        $2,129.67
Cantor Fitzgerald Securities LLC, as Agent
Attn: Nils E. Horning, Esq
110 East 59th Street, 7th Floor
New York, NY 10022                                         7662      7/10/2015 TRS Quality, Inc.                                                                                      $0.00                                                       $0.00




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                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount

LNR Partners LLC, Solely in its capacity as Special
Servicer for Wells Fargo Bank, N.A., as trustee for
the Registered Holders of Citigroup commercial
Mortgage Trust 2008‐C7,
Commercial Mortgage Pass‐ Through Certificates,
Series 2008‐C7
Venable LLP
Darek S. Bushnaq, Esq Heather Deans Foley, Esq.
750 East Pratt Street, Suite 900                                            RS Legacy Corporation fka RadioShack
baltimore, MD 21202                                     7663      7/10/2015 Corporation                                                $68,663.62                                                                                        $68,663.62
USPG PORTFOLIO FIVE, LLC
C/O US PROPERTIES GROUP
ATTN: LEGAL DEPARTMENT
3665 FISHINGER BOULEVARD                                                    RS Legacy Corporation fka RadioShack
HILLIARD, OH 43026                                      7664      7/10/2015 Corporation                                                $11,509.24                                                                                        $11,509.24
Outdoor Imaging LLC
195 Broadway ‐ 29th Floor                                                   RS Legacy Corporation fka RadioShack
New York, NY 10007                                      7665      7/10/2015 Corporation                                                    $267.94                                                                                          $267.94
CMGRP, Inc. d/b/a Weber Shandwick
Attention: Michael Bowman
1717 Main Street, Suite 1600                                                RS Legacy Corporation fka RadioShack
Dallas, TX 75201                                        7666      7/10/2015 Corporation                                                $13,512.06                                                                                        $13,512.06
Alejo/Alvarez Investment, Inc.
c/o Cesar Alvarez
2828 Coral Way #400                                                         RS Legacy Corporation fka RadioShack
Miami, FL 33145                                         7667      7/10/2015 Corporation                                                $54,388.91                                                                                        $54,388.91
Cellco Partnership d/b/a Verizon Wireless
Christian Groves
Director ‐ Strategic Alliances
One Verizon way                                                             RS Legacy Corporation fka RadioShack
Basking Ridge, NJ 07920                                 7668      7/10/2015 Corporation                                             $1,458,775.14                                                                                     $1,458,775.14
Plaza del Caribe, S.E.
c/o Holland & Knight LLP
Attn: Jose A. Casal, Joaquin J. Alemany
701 Brickell Avenue, Suite 3300                                             RS Legacy Corporation fka RadioShack
Miami, FL 33131                                         7669      7/10/2015 Corporation                                               $205,788.90                                                                                       $205,788.90
Rockaway Realty Associates, L.P.
c/o Robinson Brog Leinwand Greene Genovese &
Gluck
Attn: Robert M. Sasloff
875 Third Avenue                                                            RS Legacy Corporation fka RadioShack
New York, NY 10022                                      7670      7/10/2015 Corporation                                               $101,029.20                                                                                       $101,029.20
USPG PORTFOLIO EIGHT, LLC
ATTN.: LEGAL DEPARTMENT
3665 FISHINGER BOULEVARD                                                    RS Legacy Corporation fka RadioShack
HILLIARD, OH 43026                                      7671      7/10/2015 Corporation                                                  $2,940.01                                                                                        $2,940.01




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            Creditor Name and Address                  Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
AC I Manahawkin LLC
Attn: Robert M. Sasloff
c/o Robinson Brog Leinwand Green Genovese &
Gluck
875 Third Avenue                                                             RS Legacy Corporation fka RadioShack
New York, NY 10022                                       7672      7/10/2015 Corporation                                                $50,976.28                                                                                        $50,976.28
RioCan America Management, LP f/k/a RioCan
(America) Management, Inc., as managing agent for
Louetta RioCan LP
Attn: Linda Madway, Esquire
307 Fellowship Road, Suite 116                                               RS Legacy Corporation fka RadioShack
Mt. Laurel, NJ 08054                                     7673      7/10/2015 Corporation                                                $79,180.82                                                                                        $79,180.82
INLAND COMMERCIAL PROPERTY MANAGEMENT,
INC, AS MANAGING AGENT FOR INLAND REAL
ESTATE DEER TRACE, L.L.C
ATTN: BETH SPRECHER BROOKS, ESQUIRE
INLAND REAL ESTATE CORP,
LAW DEPARTMENT
2901 BUTTERFIELD ROAD                                                        RS Legacy Corporation fka RadioShack
OAK BROOK, IL 60523                                      7674      7/10/2015 Corporation                                                $46,844.44                                                                                        $46,844.44




LNR Partners LLC, Solely in Its Capacity as Special
Servicer for U.S. Bank National Association as
Successor Trustee to Wells Fargo Bank, N.A.,
as Trustee for the Registered Holders of J.P. Morgan
Chase Commercial Mortgage Securities Corp.,
Mortg. Pass‐Through Certificates Series 2006‐LDP7
Venable LLP c/o Darek S. Bushnaq/Heather D. Foley
750 East Pratt Street, Suite 900                                             RS Legacy Corporation fka RadioShack
Baltimore, MD 21202                                      7675      7/10/2015 Corporation                                                $77,400.80                                                                                        $77,400.80
City of Belton
Amanda Cox‐ Utlity Billing Supervisor
100 South Davis Street
PO Box 120                                                                   RS Legacy Corporation fka RadioShack
Belton, TX 76513                                         7676      7/10/2015 Corporation                                                    $111.51                                                                                          $111.51
RioCan America Management, LP f/k/a RioCan
(America) Management, Inc., as managing agent for
Alamo Ranch Marketplace TX, LP
Attn: Linda Madway, Esquire
307 Fellowship Road, Suite 116                                               RS Legacy Corporation fka RadioShack
Mt. Laurel, NJ 08054                                     7677      7/10/2015 Corporation                                               $121,859.79                                                                                       $121,859.79
Tamaqua Associates, LP
C/O Zamias Services, Inc., Attn.: Joseph A. Anthony,
Esq.
300 Market Street                                                            RS Legacy Corporation fka RadioShack
Johnstown, PA 15901                                      7678      7/10/2015 Corporation                                                    $356.45                                                                                          $356.45
Julien, Janet
PO Box 224272                                                                RS Legacy Corporation fka RadioShack
Christiansted, VI 00822                                  7679      7/10/2015 Corporation                                                     $40.00                                                                                           $40.00



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            Creditor Name and Address                 Claim No.   Claim Date                      Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
Williams, Latrice
1121 Diamond Glen Way                                                       RS Legacy Corporation fka RadioShack
North Las Vegas, NV 89032                               7680      7/10/2015 Corporation                                                      $10.00                                                                                           $10.00
Inland TRS Property Management, Inc., as managing
agent for Inland Westgate, L.L.C.
Attn: Beth Sprecher Brooks, Esquire
Inland Real Estate Corp.
Law Department
2901 Butterfield Road                                                       RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                     7681      7/10/2015 Corporation                                                 $16,263.77                                                                                        $16,263.77
McCRAY, CASSANDRA
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                                 RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                     7682      7/10/2015 Corporation                                                       $0.00                                                                                            $0.00

Inland TRS Property Management, as managing
agent for Inland Cedar Center South, L.L.C
Attn: Beth Sprecher Brooks, Esquire
Inland Real Estate Corp.
Law Department
2901 Butterfield Road                                                       RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                     7683      7/10/2015 Corporation                                                $105,655.49                                                                                       $105,655.49

Inland Commercial Property Management, Inc., as
managing agent for Inland Park Center Plaza, L.L.C.
Attn: Beth Sprecher Brooks, Esquire
Inland Real Estate Corp.
Law Department
2901 Butterfield Road                                                       RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                     7684      7/10/2015 Corporation                                                 $13,119.97                                                                                        $13,119.97
Julien, Janet
PO Box 224272                                                               RS Legacy Corporation fka RadioShack
Christiansted, VI 00822                                 7685      7/10/2015 Corporation                                                       $0.00                                                                                            $0.00
Ayala, Gustavo M.
1509 W. 146th St. Unit 1                                                    RS Legacy Corporation fka RadioShack
Gardena, CA 90247                                       7686      7/10/2015 Corporation                                                      $50.00                                                                                           $50.00
Julien, Janet
PO Box 224272                                                               RS Legacy Global Sourcing, Inc. fka RadioShack
Christiansted, VI 00822                                 7687      7/10/2015 Global Sourcing, Inc.                                             $0.00                                                                                            $0.00
Rodriguez, Ashley
43 Wesleyan Avenue 2nd Floor                                                RS Legacy Corporation fka RadioShack
Providence, RI 02907                                    7688      7/10/2015 Corporation                                                      $50.00                                                                                           $50.00
Beaufort County Tax Collector
PO BOX 633                                                                  RS Legacy Corporation fka RadioShack
WASHINGTON, NC 27889                                    7689      7/10/2015 Corporation                                                                       $735.48                                                                        $735.48




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                                                                                                                                                Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address            Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
CoolSprings Mall, LLC
by CBL & Associates Management, Inc., managing
agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                         RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                              7690      7/9/2015 Corporation                                                $127,715.90                                                                                       $127,715.90
Reed, Stephanie
2500 Frenchmen Street Apt B                                            RS Legacy Customer Service LLC fka RadioShack
New Orleans, LA 70119                              7691      7/11/2015 Customer Service LLC                                            $85.50                                                                                           $85.50
Booker, Jessica
4770 S. 700 E. #142                                                    RS Legacy Corporation fka RadioShack
Murray, UT 84107                                   7692      7/11/2015 Corporation                                                                                                              $74.78                                  $74.78
Sharma, Vijay
35 Bear Paw, Apt 39C                                                   RS Legacy Corporation fka RadioShack
Irvine, CA 92604                                   7693      7/11/2015 Corporation                                                     $34.79                                                                                           $34.79
Von Fumetti, Rick
9465 NE 42nd PL                                                        RS Legacy Corporation fka RadioShack
Altoona, IA 50009                                  7694      7/11/2015 Corporation                                                    $250.00                                                                                          $250.00
Ursell, Tiena
1426 Drexel Dr                                                         RS Legacy Corporation fka RadioShack
Katy, TX 77493                                     7695      7/11/2015 Corporation                                                                                                              $49.00                                  $49.00
Sintrail, Lateia
31566 1St Ave NE                                                       RS Legacy Corporation fka RadioShack
Carbon Hill, AL 35549                              7696      7/12/2015 Corporation                                                      $0.00                                                                                            $0.00
Kakadiya, Nilkanth
14481 Lydden Dr.                                                       RS Legacy Corporation fka RadioShack
Fishers, IN 46037                                  7697      7/12/2015 Corporation                                                    $100.00                                                                                          $100.00
Capparelli, Richard
425 Catamaran Dr Unit 68                                               RS Legacy Corporation fka RadioShack
Merritt Island, FL 32952                           7698      7/13/2015 Corporation                                                     $70.00                                                                                           $70.00
Bachteler, Charles
4948 Aurora Court                                                      RS Legacy Corporation fka RadioShack
Oldsmar, FL 34677                                  7699      7/13/2015 Corporation                                                                         $0.00                                                                         $0.00
ALONSO, DORA L.
1821 Lawther Dr                                                        RS Legacy Corporation fka RadioShack
River Oaks, TX 76114                               7700      7/13/2015 Corporation                                                      $0.00                                                                                            $0.00
Lee County Tax Collector
C/o Legal Department
PO Box 850                                                             RS Legacy Corporation fka RadioShack
Fort Myers, FL 33902‐0850                          7701      7/13/2015 Corporation                                                                         $0.00                                                                         $0.00
Starr, Terrice
73255 Lake Drive                                                       RS Legacy Corporation fka RadioShack
Mellen, Wisconsin 54546                            7702      7/13/2015 Corporation                                                     $50.00                                                                                           $50.00
State of Texas on behalf of Texas Consumers
holding unredeemed gift cards issued by
RadioShack
Hal F. Morris, Assistant Attorney General
PO Box 12548 MC‐0008                                                   RS Legacy Corporation fka RadioShack
Austin, TX 78711‐2548                              7703      7/13/2015 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address                 Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
Treasurer of Virginia
VA Dept. of the Treasury
Division of Unclaimed Property
PO Box 2478                                                                 RS Legacy Customer Service LLC fka RadioShack
Richmond, VA 23218‐2478                                 7704      7/13/2015 Customer Service LLC                                                            $2,775.00                                                                     $2,775.00
Riegel, Richard
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                                 RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                     7705      7/13/2015 Corporation                                                      $0.00                                                                                            $0.00
PR Capital City Limited Partnership
Jeffrey Kurtzman, Esquire
401 South 2nd Street                                                        RS Legacy Corporation fka RadioShack
Philadelphia, PA 19147                                  7706      7/13/2015 Corporation                                                $26,638.18                                                                       $0.00            $26,638.18

S & S Investments, a New Jersey general partnership
Andrew J. Schragger, Attorney for Claimant
902 Carnegie Center, Suite 400                                              RS Legacy Corporation fka RadioShack
Princeton, NJ 08540                                     7707      7/13/2015 Corporation                                                                                                                             $7,812.98             $7,812.98
KRG Beechwood, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                   RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                      7708      7/13/2015 Corporation                                                $36,139.81                                                                                        $36,139.81
Robertson, Valerie
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                                 RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                                     7709      7/13/2015 Corporation                                                      $0.00                                                                                            $0.00
Contra Costa County
Attention: Bankruptcy Treasurer‐Tax Collector
PO Box 967                                                                  RS Legacy Corporation fka RadioShack
Martinez, CA 94553                                      7710      7/13/2015 Corporation                                                                                       $8,921.29                                                   $8,921.29
Curry, David
140 Henry Pkwy                                                              RS Legacy Corporation fka RadioShack
McDonough, GA 30253                                     7711      7/13/2015 Corporation                                                                                                                                 $0.00                 $0.00
PR WYOMING VALLEY LIMITED PARTNERSHIP
Jeffrey Kurtzman, Esquire
1835 Market Street, Suite 1400                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                                  7712      7/13/2015 Corporation                                                  $1,759.51                                                                  $5,753.01             $7,512.52
City of Sulphur Springs
Elizabeth Weller
LINEBARGER GOGGAN BLAIR & SAMPSON, LLP
2777 N. Stemmons Freeway
Suite 1000                                                                  RS Legacy Corporation fka RadioShack
DALLAS, TX 75207                                        7713      7/13/2015 Corporation                                                                                         $747.96                                                     $747.96
Rathi, Vinod
18909 Lloyd CIR
APT5212                                                                     RS Legacy Corporation fka RadioShack
Dallas, TX 75252                                        7714      7/13/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
KRG ST. CLOUD 13TH, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                      RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                         7715      7/13/2015 Corporation                                                $60,504.24                                                                                        $60,504.24
HENRY COUNTY
TAX COMMISSIONER
OCCUPATIONAL TAX DIVISION
PO BOX 488                                                     RS Legacy Corporation fka RadioShack
MCDONOUGH, GA 30253                        7716      7/13/2015 Corporation                                                                         $0.00                                                                         $0.00
Fiske, Jennifer
75 Rowe Drive                                                  RS Legacy Corporation fka RadioShack
Fremont, NH 03044                          7717      7/13/2015 Corporation                                                     $30.00                                                                                           $30.00
Long, Alanna
275 Kathleen Rd.                                               RS Legacy Corporation fka RadioShack
Byhalia, MS 38611                          7718      7/13/2015 Corporation                                                     $25.00                                                                                           $25.00
Mounce, Diane
1748 Dove Lane                                                 RS Legacy Corporation fka RadioShack
Lake Charles, LA 70605                     7719      7/13/2015 Corporation                                                     $40.00                                                                                           $40.00
Weichman, Ann
33 Race Brook Road                                             RS Legacy Corporation fka RadioShack
West Hartford , CT 06107                   7720      7/13/2015 Corporation                                                     $29.27                                                                                           $29.27
Mounce, Diane
1748 Dove Lane                                                 RS Legacy Corporation fka RadioShack
Lake Charles, LA 70605                     7721      7/13/2015 Corporation                                                                                                                                 $0.00                 $0.00
Ruttar, Kellie
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                    RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                        7722      7/13/2015 Corporation                                                      $0.00                                                                                            $0.00
MOULTON NIGUEL WATER
PO BOX 30204                                                   RS Legacy Corporation fka RadioShack
LAGUNA NIGUEL, CA 92607‐0204               7723      7/13/2015 Corporation                                                     $49.78                                                                                           $49.78
Rozicki, Sandra
13198 Farm Hill Drive                                          RS Legacy Corporation fka RadioShack
Huntley , IL 60142                         7724      7/13/2015 Corporation                                                      $0.00                                                                                            $0.00
WEST LEBANON TOWNSHIP
R. Scott Feeman
815 Cumberland St
Suite 200                                                      RS Legacy Corporation fka RadioShack
Lebanon, PA 17046                          7725      7/13/2015 Corporation                                                    $956.00                                                                                          $956.00
Hansmeyer, Mary
4408 McLeod St NE                                              RS Legacy Global Sourcing Corporation fka
Columbia Heights, MN 55421                 7726      7/13/2015 RadioShack Global Sourcing Corporation                          $45.64                                                                                           $45.64
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                           7727      7/13/2015 Corporation                                                                                                                                                       $0.00
Tatum, Betty D.
685 Hwy 100 Lot 4                                              RS Legacy Corporation fka RadioShack
Hogansville, GA 30230                      7728      7/13/2015 Corporation                                                                       $32.09                                                                         $32.09




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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Baerga, Josian
The Law Office of Glen P Ringbloom
c/o Glen P. Ringbloom
One Monarch Place
Suite 1450                                                     RS Legacy Corporation fka RadioShack
Springfield, MA 01144                      7729      7/13/2015 Corporation                                                $10,000.00                                                                                        $10,000.00
Sulphur Springs ISD
Elizabeth Weller
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Freeway
Suite 1000                                                     RS Legacy Corporation fka RadioShack
Dallas, TX 75207                           7730      7/13/2015 Corporation                                                                                       $2,295.68                                                   $2,295.68
Higgins, Sandra
154 Enterprise St                                              RS Legacy Corporation fka RadioShack
Duxbury, MA 02332                          7731      7/13/2015 Corporation                                                     $50.00                                                                                           $50.00
Jones, Phyllis
833 Home Ct.                                                   RS Legacy Customer Service LLC fka RadioShack
The Dalles, OR 97058                       7732      7/13/2015 Customer Service LLC                                             $0.00            $40.00                                                                         $40.00
CLARK PUBLIC UTILITIES
Clark Public Utilities
Legal Department
1200 Fort Vancouver Way                                        RS Legacy Corporation fka RadioShack
Vancouver, WA 98668                        7733      7/13/2015 Corporation                                                  $2,041.54                                                                                        $2,041.54
Scott, William M.
826 Granada Dr.                                                RS Legacy Corporation fka RadioShack
Duncanville, TX 75116                      7734      7/13/2015 Corporation                                                                       $69.02                                                                         $69.02
Richardson, Kevin M.
3106 Glendon Avenue                                            RS Legacy Corporation fka RadioShack
Los Angeles, CA 90034‐3404                 7735      7/13/2015 Corporation                                                    $375.00                                                                                          $375.00
Buell, Lisa
4777 Penn Place Dr.                                            RS Legacy Corporation fka RadioShack
Edmond, OK 73025                           7736      7/13/2015 Corporation                                                     $58.50                                                                                           $58.50
Price, Barbara
3896 Masseyville RD                                            RS Legacy Corporation fka RadioShack
Macon, GA 31217                            7737      7/13/2015 Corporation                                                     $20.22                                                                                           $20.22
Gars, Shelley S.
142 28th Ave No.                                               RS Legacy Corporation fka RadioShack
St. Petersburg, FL 33704                   7738      7/13/2015 Corporation                                                     $21.39                                                                                           $21.39
Hansmeyer, Mary
4408 McLeod St NE                                              RS Legacy Global Sourcing Corporation fka
Columbia Heights, MN 55421                 7739      7/13/2015 RadioShack Global Sourcing Corporation                          $45.64                                                                                           $45.64
Jackiw, John
10624 S. Kilboorn                                              RS Legacy Customer Service LLC fka RadioShack
Oaklawn, IL 60453                          7740      7/13/2015 Customer Service LLC                                            $25.00                                                                                           $25.00
Williams, Mark
1 Chestnut St.
Unit 5B                                                        RS Legacy Customer Service LLC fka RadioShack
Boston, MA 02108                           7741      7/13/2015 Customer Service LLC                                           $550.00                                                                                          $550.00




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                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
The Irvine Company LLC
Bewley, Lassleben & Miller LLP
Ernie Zachary Park
13215 E. Penn Street
Suite 510                                                                  RS Legacy Corporation fka RadioShack
Whittier, CA 90602‐1797                                 7742      7/2/2015 Corporation                                                    $2,863.02                                                                                        $2,863.02
Johnson County Wastewater
Attn: Customer Service ‐ Bankruptcy
11811 S. Sunset Drive
Suite 2500                                                                 RS Legacy Corporation fka RadioShack
Olathe, Kansas 66061                                    7743      7/9/2015 Corporation                                                      $190.97                                                                                          $190.97
Riviera Shopping Center, LTD, Successor‐in‐interest
to KIB Retail Properties, L.P.
Ronald K. Brown, Jr., Esq.
Law offices of Ronald K. Brown, JR., APC
901 Dove Street, Suite 120                                                 RS Legacy Corporation fka RadioShack
Newport Beach, CA 92660                                 7744      7/2/2015 Corporation                                                    $4,875.43                                                                                        $4,875.43
Taylor, Sonya
1250 Raptor Lane
Forsyth, IL 62535                                       7745      7/13/2015 RS Ig Holdings Incorporated                                      $10.00                                                                                           $10.00
McClintock, Peter
5900 S Bemis St                                                             RS Legacy Corporation fka RadioShack
Littleton, CO 80120                                     7746      7/13/2015 Corporation                                                                                                                $0.00                                   $0.00
Tennessee Department of Revenue
c/o Attorney General
PO Box 20207                                                               RS Legacy Corporation fka RadioShack
NASHVILLE, TN 37202‐0207                                7747      7/6/2015 Corporation                                                        $0.00              $0.00                                                                         $0.00
WELSON ELECTRONIC INC.
8F‐3, NO. 16, NANKING E. ROAD                                               RS Legacy Global Sourcing Limited Partnership
TAIPEI CITY, R.O.C. 105                                                     fka RadioShack Global Sourcing Limited
TAIWAN                                                  7748      7/13/2015 Partnership                                                       $0.00                                                                                            $0.00
Michel, Elizabeth
2257 Mardel Ave.                                                            RS Legacy Corporation fka RadioShack
Whittier, CA 90601                                      7749      7/13/2015 Corporation                                                                                                                                  $0.00                 $0.00
Michel, Elizabeth
2257 Mardel Ave.                                                            RS Legacy Corporation fka RadioShack
Whittier, CA 90601                                      7750      7/13/2015 Corporation                                                                        $75.00                                                                         $75.00
Burton, Katherine
2630 west State street suite g                                              RS Legacy Corporation fka RadioShack
Alliance , OH 446012                                    7751      7/14/2015 Corporation                                                                                                              $223.65                                 $223.65
Hanoun, Rana
22031 N Parish Place                                                        RS Legacy Corporation fka RadioShack
Burbank, CA 91504                                       7752      7/14/2015 Corporation                                                                       $236.00                                  $0.00                                 $236.00
Campbell, Pamela
3576 E. Lake Dr                                                             RS Legacy Corporation fka RadioShack
Metamora, MI 48455                                      7753      7/14/2015 Corporation                                                      $26.49                                                                                           $26.49
Cantor Fitzgerald Securities LLC, as Agent
Attention: Nils E. Horning, Esq
110 East 59th Street, 7th Floor
New York, NY 10022                                      7754      7/10/2015 Merchandising Support Services, Inc.                                                                   $0.00                                                       $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Boomerang Commerce, Inc.
1987 Leghorn St
Suite 100                                                      RS Legacy Corporation fka RadioShack
Mountain View, CA 94043                    7755      7/14/2015 Corporation                                                      $0.00                                                                                            $0.00
PAUL HENDIFAR & SHAHNAZ HENDIFAR
ATTN SEAN HANDIFAR
PO BOX 4629                                                    RS Legacy Corporation fka RadioShack
PALOS VERDES, CA 90274                     7756      7/10/2015 Corporation                                                $73,370.04                                                                                        $73,370.04
C H ROBINSON WORLDWIDE INC
14701 Charlson Road
Eden Praire, MN 55347                      7757      7/13/2015 TE Electronics LP                                            $4,314.24                                                                                        $4,314.24
WELSON ELECTRONIC INC.
8F‐3, NO. 16, NANKING E. ROAD
TAIPEI CITY, R.O.C. 105                                        RS Legacy Corporation fka RadioShack
TAIWAN                                     7758      7/13/2015 Corporation                                                                                                                                 $0.00                 $0.00
Tompkins, William D
711 East 11th Street
#10 H                                                          RS Legacy Corporation fka RadioShack
New York, NY 10009                         7759      7/14/2015 Corporation                                                                                                               $8.70                                   $8.70
Pham, Tonny
c/o Thomas W. Coffey, Esq.
Tucker Ellis LLP
950 Main Avenue, Suite 1100                                    RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                        7760      7/13/2015 Corporation                                                      $0.00                                                                                            $0.00
Balvaneda Jr., Mario
10131 San Gabriel Ave. Apt. C                                  RS Legacy Corporation fka RadioShack
South Gate , CA 90280                      7761      7/14/2015 Corporation                                                     $49.04                                                                                           $49.04
Scaringello, Vincent
1 JFK Blvd
Apt 1F                                                         RS Legacy Corporation fka RadioShack
Somerset, NJ 08873                         7762      7/13/2015 Corporation                                                      $0.00                                                                                            $0.00
Brown, Michael
5168 Hugh Howell Road                                          RS Legacy Corporation fka RadioShack
Stone Mountain, GA 30087                   7763      7/14/2015 Corporation                                                    $399.00                                                                                          $399.00
Travis County Tax Office
c/o Kay D. Brock
P.O. Box 1748                                                  RS Legacy Corporation fka RadioShack
Austin, TX 78767                           7764      7/14/2015 Corporation                                                                                           $0.00                                                       $0.00
Carter, Camille
600 N. Evers Ave.                                              RS Legacy Corporation fka RadioShack
Compton, CA 90220                          7765      7/14/2015 Corporation                                                      $0.00                                                                                            $0.00
Monroe County Tax Collector
Monroe County
Attn: Danise D. Henriquez, CFC
PO Box 1129                                                    RS Legacy Corporation fka RadioShack
Key West, FL 33041‐1129                    7766      7/14/2015 Corporation                                                                                         $247.71                                                     $247.71
Brown, Ben
15214 White                                                    RS Legacy Corporation fka RadioShack
Allen Park, MI 48101                       7767      7/14/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
HUBER PROPERTY MANAGEMENT INC
ATTN CINDY
1222 HIGH ST                                                   RS Legacy Corporation fka RadioShack
AUBURN, CA 95603                           7768      7/13/2015 Corporation                                                $11,121.10               $0.00                                               $1,879.62            $13,000.72
Carter, Camille
600 N. Evers Ave.                                              RS Legacy Corporation fka RadioShack
Compton, CA 90220                          7769      7/14/2015 Corporation                                                      $0.00                                                                                            $0.00
CITY OF WAYCROSS
PO BOX 99                                                      RS Legacy Corporation fka RadioShack
WAYCROSS, GA 31502                         7770      7/14/2015 Corporation                                                    $216.68                                                                                          $216.68
Vern Murray
Vern Murray, Owner
1215 PARKWAY DR.                                               RS Legacy Corporation fka RadioShack
BLACKFOOT, ID 83221                        7771      7/10/2015 Corporation                                               $200,000.00                                                                                       $200,000.00
City of Corpus Christi
1201 Leopard Street                                            RS Legacy Corporation fka RadioShack
Corpus Christi, TX 78401                   7772      7/14/2015 Corporation                                                    $280.00                                                                                          $280.00
Al Masella
403 Annandale Dr                                               RS Legacy Corporation fka RadioShack
Cary, NC 27511                             7773      7/14/2015 Corporation                                                      $0.00                                                                                            $0.00
Bowen, Kathi
226 Coral Road                                                 RS Legacy Corporation fka RadioShack
Dudley, NC 28333                           7774      7/14/2015 Corporation                                                    $104.61                                                                                          $104.61
City of Corpus Christi
1201 Leopard Street                                            RS Legacy Corporation fka RadioShack
Corpus Christi, TX 78401                   7775      7/14/2015 Corporation                                                    $439.04                                                                                          $439.04
IREDELL COUNTY TAX COLLECTOR
PO BOX 1027                                                    RS Legacy Corporation fka RadioShack
STATESVILLE, NC 28687‐1027                 7776      7/14/2015 Corporation                                                                                       $1,230.22                                                   $1,230.22
WV State Treasurer's Office
Attn: Christina Merbedone, Esq.
322 70th Street SE                                             RS Legacy Corporation fka RadioShack
Charleston, WV 25304                       7777      7/14/2015 Corporation                                                $20,000.00                                                                                        $20,000.00
Wasserstrom, Bruce
500 S. Parkview Ave., Ste 301                                  RS Legacy Corporation fka RadioShack
COLUMBUS, OH 43209                         7778      7/13/2015 Corporation                                                    $250.00                                                                                          $250.00
Monroe County Tax Collector
Monroe County
Attn: Danise D. Henriquez, CFC
PO Box 1129                                                    RS Legacy Corporation fka RadioShack
Key West, FL 33041‐1129                    7779      7/14/2015 Corporation                                                                                         $140.75                                                     $140.75
City of Tucson‐PD False Alarm
c/o Professional Credit Service
PO Box 7548                                                    RS Legacy Corporation fka RadioShack
Springfield, OR 97475                      7780      7/14/2015 Corporation                                                    $242.00                                                                                          $242.00
CITY OF WAYCROSS
Rick Currie, City Attorney
417 Pendleton Street                                           RS Legacy Corporation fka RadioShack
Waycross, GA 31501                         7781      7/14/2015 Corporation                                                    $115.67                                                                                          $115.67
Windham, Lawrence (Larry)
6818 So. Land Park Drive                                       RS Legacy Corporation fka RadioShack
Sacramento, CA 95831                       7782      7/14/2015 Corporation                                                     $43.99                                                                                           $43.99



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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Monroe County Tax Collector
Monroe County
Attn: Danise D. Henriquez, CFC
PO Box 1129                                                    RS Legacy Corporation fka RadioShack
Key West, FL 33041‐1129                    7783      7/14/2015 Corporation                                                                                         $311.45                                                     $311.45
Raj, Vinay
1601 Mesquite Dr                                               RS Legacy Corporation fka RadioShack
Little Rock, AR 72211                      7784      7/14/2015 Corporation                                                     $37.04                                                                                           $37.04
City of Belton
Amanda Cox‐ Utlity Billing Supervisor
100 South Davis Street
PO Box 120                                                     RS Legacy Corporation fka RadioShack
Belton, TX 76513                           7785      7/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Grove Square Limited Partnership
c/o Sidcor Real Estate
N 9274 Windy Way                                               RS Legacy Corporation fka RadioShack
Mukwanago, WI 53149                        7786      7/14/2015 Corporation                                                $21,440.74                                                                                        $21,440.74
Arroyo, Yury
14807 Archwod St.                                              RS Legacy Corporation fka RadioShack
Van Nuys, CA 91405                         7787      7/14/2015 Corporation                                                     $66.24                                                                                           $66.24
Malcom, Quangela
200 green commons Dr                                           RS Legacy Corporation fka RadioShack
Covington, GA 30016                        7788      7/14/2015 Corporation                                                     $40.00                                                                                           $40.00
Hares, Mohammad
30 Mill St Apt #116                                            RS Legacy Corporation fka RadioShack
Arlington, MA 02476                        7789      7/13/2015 Corporation                                                     $42.48                                                                                           $42.48
Martinez, Mary L.
11662 Carmenia Rd
Unit F                                                         RS Legacy Corporation fka RadioShack
Whittier, CA 90605                         7790      7/13/2015 Corporation                                                                                                                                                       $0.00
U.D.I. Dev & Invest Co.
Stelie Havkin, Esq.
Havkin & Shrago
20700 Ventura Blvd., Suite 328                                 RS Legacy Corporation fka RadioShack
Woodland Hills, CA 91364                   7791      7/13/2015 Corporation                                                                                                                            $18,958.38            $18,958.38
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                           7792      7/14/2015 Corporation                                                                                                                                                       $0.00
Moore, Ruth E
3221 Finley St                                                 RS Legacy Corporation fka RadioShack
Middletown, OH 45044                       7793      7/14/2015 Corporation                                                     $74.69                                                                                           $74.69
Heinold, Rachel
821 N Connecticut Ave                                          RS Legacy Corporation fka RadioShack
Mason City, IA 50401                       7794      7/14/2015 Corporation                                                                       $23.39                                  $0.00                                  $23.39
Gatlin, Peggy
2234 Cook Court                                                RS Legacy Corporation fka RadioShack
Schereville, IN 46375                      7795      7/14/2015 Corporation                                                     $34.00                                                                                           $34.00
Steel, Andrea
4342 Mount Jeffers Ave                                         RS Legacy Corporation fka RadioShack
San Diego, CA 92117                        7796      7/14/2015 Corporation                                                     $12.95                                                                                           $12.95




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Process Displays Co.
Dean Friedrichs
7108 31st Ave N                                                RS Legacy Corporation fka RadioShack
Minneapolis , MN 55427                     7797      7/14/2015 Corporation                                                      $0.00                                                                                            $0.00
City of Tucson‐PD False Alarm
c/o Professional Credit Service
PO Box 7548                                                    RS Legacy Corporation fka RadioShack
Springfield, OR 97475                      7798      7/14/2015 Corporation                                                    $242.00                                                                                          $242.00
Bero, Mary
4109 Chesswood Dr.                                             RS Legacy Corporation fka RadioShack
Holiday, FL 34691                          7799      7/14/2015 Corporation                                                      $0.00                                                                                            $0.00
CITY OF GARDEN GROVE‐CE 2NDS
CITY OF GARDEN GROVE‐CE 2NDS C/O
PROFESSIONAL CREDIT SERVICE
PO BOX 7548                                                    RS Legacy Corporation fka RadioShack
SPRINGFIELD, OR 97475                      7800      7/14/2015 Corporation                                                    $490.88                                                                                          $490.88

MORGAN HILL RETAIL VENTURE, L.P.
C/O BROWMAN DEVELOPMENT COMPANY, INC.
1556 PARKSIDE DRIVE                                            RS Legacy Corporation fka RadioShack
WALNUT CREEK, CA 94596                     7801      7/10/2015 Corporation                                                  $2,943.43                                                                                        $2,943.43
Campbell, Pamela A
3576 E Lake Dr.                                                RS Legacy Corporation fka RadioShack
Metamora, MI 48455                         7802      7/14/2015 Corporation                                                                                                                                $26.49                $26.49
Sadoski, Maryann A.
289 River Rd                                                   RS Legacy Corporation fka RadioShack
South Deerfield, MA 01373                  7803      7/14/2015 Corporation                                                     $37.18                                                                                           $37.18
KALANTARI , ROBERT
2844 EAST 42ND COURT                                           RS Legacy Corporation fka RadioShack
DAVENPORT, IA 52807                        7804      7/14/2015 Corporation                                                      $0.00                                                                                            $0.00
KRG St. Cloud 13th, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                      RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                         7805      7/13/2015 Corporation                                                  $3,401.22                                                                                        $3,401.22
Lovewell, Steven
1513 S Knollwood Dr E                                          RS Legacy Corporation fka RadioShack
Bradenton, FL 34208                        7806      7/14/2015 Corporation                                                     $20.00                                                                                           $20.00
Vaher, Elmar
6302 71 Street                                                 RS Legacy Corporation fka RadioShack
Middle Village, NY 11379                   7807      7/14/2015 Corporation                                                     $50.00                                                                                           $50.00
Oregon Dept. of Justice
c/o Carolyn G. Wade
1162 Court Street                                              RS Legacy Corporation fka RadioShack
Salem, OR 97301                            7808      7/14/2015 Corporation                                                                     $2,775.00                                                                     $2,775.00
MORRISON & FOERSTER LLP
PO BOX 742335                                                  RS Legacy Corporation fka RadioShack
LOS ANGELES, CA 90074‐2335                 7809      7/15/2015 Corporation                                                $23,499.90                                                                                        $23,499.90
Sanchez, Juan
1097 Sw Martha St                                              RS Legacy Corporation fka RadioShack
Arcadia, FL 34266                          7810      7/15/2015 Corporation                                                     $27.56                                                                                           $27.56



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                                                                                                                    Current General                                            Current 503(b)(9)
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            Creditor Name and Address     Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
Porter, Patricia
2110 North Anvil Lane                                           RS Legacy Corporation fka RadioShack
Temple Hills, MD 20748                      7811      7/15/2015 Corporation                                                      $25.00                                                                                           $25.00
Lady Lakes Shoppes, LLC
c/o Unicorp National Developments, Inc.
7940 Via Dellagio Way, Suite 200                                RS Legacy Corporation fka RadioShack
Orlando, FL 32819                           7812      7/15/2015 Corporation                                                 $46,764.51                                                                                        $46,764.51
LeAndre, Lesly
436 Page Terrace                                                RS Legacy Global Sourcing Corporation fka
South Orange, NJ 07079                      7813      7/15/2015 RadioShack Global Sourcing Corporation                          $139.09                                                                                          $139.09
THURSTON COUNTY TREASURER
2000 LAKERIDGE DR                                               RS Legacy Corporation fka RadioShack
OLYMPIA, WA 98502                           7814      7/15/2015 Corporation                                                       $0.00              $0.00                                                                         $0.00
Shelton, Steve
2321 4th Ave
#103                                                            RS Legacy Corporation fka RadioShack
Seattle, WA 98121                           7815      7/15/2015 Corporation                                                      $10.95                                                                                           $10.95
Spradling, Michael
13510 Pueblo Crossing                                           RS Legacy Corporation fka RadioShack
San Antonio, TX 78232                       7816      7/15/2015 Corporation                                                      $32.46                                                                                           $32.46
U.S. Customs and Border Protection
Attn: Revenue Division, Bankruptcy Team
6650 Telecom Dr., Suite 100                                     RS Legacy Corporation fka RadioShack
Indianapolis, IN 46278                      7817      7/15/2015 Corporation                                                                          $0.00                                                                         $0.00
U.S. Customs and Border Protection
Attn: Revenue Division, Bankruptcy Team                         RS Legacy Global Sourcing Limited Partnership
6650 Telecom Dr., Suite 100                                     fka RadioShack Global Sourcing Limited
Indianapolis, IN 46278                      7818      7/15/2015 Partnership                                                                          $0.00                                                                         $0.00
State Insurance Fund Corporation
Wally De La Rosa Vidal, Esq.
PO Box 365028                                                   RS Legacy Corporation fka RadioShack
San Juan, PR 00936‐5028                     7819      7/15/2015 Corporation                                                   $5,272.50                                                                                        $5,272.50
Aguilar, Kelli
1405 Elm Hills Blvd
Lot 33                                                          RS Legacy Corporation fka RadioShack
Sedalia , MO 65301                          7820      7/15/2015 Corporation                                                      $18.38                                                                                           $18.38
McClary, Chantal
140 Sterling Ave                                                RS Legacy Corporation fka RadioShack
Jersey City, NJ 07305                       7821      7/15/2015 Corporation                                                      $30.00                                                                                           $30.00
Irwin, Steven M
6544 E Deacon St                                                RS Legacy Corporation fka RadioShack
Prescott Valley, AZ 86314                   7822      7/15/2015 Corporation                                                                                                                                                        $0.00
RadioShack Corporation
300 RadioShack Circle                                           RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                        7823      7/15/2015 Corporation                                                                          $0.00                                                                         $0.00
Sicat, Jolan
3101 Antrim Cir.                                                RS Legacy Corporation fka RadioShack
Dumfries, VA 22026                          7824      7/16/2015 Corporation                                                                                                              $350.00                                 $350.00
Fisher, Natally
709 Hyland Dr                                                   RS Legacy Corporation fka RadioShack
Stoughton, WI 53589                         7825      7/16/2015 Corporation                                                                        $25.00             $25.00              $25.00                                  $75.00




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                                                                                                                            Current General                                              Current 503(b)(9)
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            Creditor Name and Address              Claim No.   Claim Date                    Debtor                         Unsecured Claim                                               Admin Priority
                                                                                                                                                   Claim Amount         Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                       Amount
Washington Gas
Bankruptcy Dept
6801 Industrial Rd. RM 117A                                              RS Legacy Corporation fka RadioShack
Springfield, VA 22151                                7826      7/13/2015 Corporation                                                $16,286.50                                                       $0.00                              $16,286.50

Peoples Gas Light & Coke Co. North Shore Gas Co.
200 E. Randolph Dr.                                                      RS Legacy Corporation fka RadioShack
CHICAGO, IL 60601                                    7827      7/14/2015 Corporation                                                  $7,611.04                                                                                          $7,611.04
RPAI McDonough Henry Town, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                   7828      7/16/2015 Corporation                                                      $0.00                                                                                              $0.00
TJ Culligan Family Partners, LP
c/o Ginger L. Sotelo, Pahl & McCay
225 W. Santa Clara St., Suite 1500                                       RS Legacy Corporation fka RadioShack
San Jose, CA 95113                                   7829      7/16/2015 Corporation                                                $82,939.60                                                                                          $82,939.60
Dang, Xiaoye
103 Highland Ave.                                                        RS Legacy Corporation fka RadioShack
Hamilton, NJ 08620                                   7830      7/16/2015 Corporation                                                     $35.68                                                                                             $35.68
RPAI McAllen Limited Partnership F/K/A Inland
Western McAllen Limited Partnership
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                                RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                   7831      7/16/2015 Corporation                                                $69,558.00                                                                                          $69,558.00
NEBRASKA DEPARTMENT OF REVENUE
Attention: Bankruptcy Unit
PO BOX 94818                                                             RS Legacy Corporation fka RadioShack
LINCOLN, NE 68509‐4818                               7832      7/16/2015 Corporation                                                      $0.00          $160,373.18                                                                   $160,373.18
Martinez, Lynette
Urb Vista Azul
C17 Calle 12                                                             RS Legacy Corporation fka RadioShack
Arecibo, PR 00612                                    7833      7/16/2015 Corporation                                                                           $0.00                                                                         $0.00
PLR REAL ESTATE DEVELOPMENT LLC
C/O OVP MANAGEMENT INC
2 COMMON COURT UNIT C13                                                  RS Legacy Corporation fka RadioShack
NORTH CONWAY, NH 03860                               7834      7/16/2015 Corporation                                                $72,869.52                                                                                          $72,869.52
Diamond, Mitchell
61 Fells Ave                                                             RS Legacy Corporation fka RadioShack
Medford, MA 02155                                    7835      7/16/2015 Corporation                                                      $0.00                                                                                              $0.00
Sheridan Electronics L.L.C.
1842 Sugarland DR STE # 111                                              RS Legacy Corporation fka RadioShack
Sheridan, WY 82801                                   7836      7/16/2015 Corporation                                                $30,775.00                                                                                          $30,775.00
Markey, Josephine M.
22 Pine Street                                                           RS Legacy Corporation fka RadioShack
Lynnfield, MA 01940                                  7837      7/16/2015 Corporation                                                    $168.49                                                                                            $168.49
Shoaf, Michael
7905 Rocky Canyon Rd.                                                    RS Legacy Corporation fka RadioShack
Atascadero, CA 93422‐4714                            7838      7/16/2015 Corporation                                                     $50.18                                                                                             $50.18



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                                                                                                                         Current General                                            Current 503(b)(9)
                                                                                                                                               Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address           Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
Jenkinson, Patricia
322 Zephyr Ranch Drive                                                RS Legacy Customer Service LLC fka RadioShack
Sacramento, CA 95831                              7839      7/16/2015 Customer Service LLC                                             $0.00                                                                                            $0.00
Santana, Eduardo
1847 Wharf Rd #E                                                      RS Legacy Corporation fka RadioShack
Capitola, CA 95010                                7840      7/16/2015 Corporation                                                                       $10.90                                                                         $10.90
Hernandez, Eldon
1001 N. Gardner Street #101                                           RS Legacy Corporation fka RadioShack
West Hollywood, CA 90046                          7841      7/16/2015 Corporation                                                     $16.30                                                                                           $16.30
Sanamo, Trent M.
6514 Crystal Forest Trail                                             RS Legacy Corporation fka RadioShack
Katy, TX 77493                                    7842      7/16/2015 Corporation                                                                                                              $27.05                                  $27.05
Kesacjekian, David
17447 Rushing Drive                                                   RS Legacy Corporation fka RadioShack
Granada Hills, CA 91344                           7843      7/16/2015 Corporation                                                      $0.00                                                                                            $0.00
Jussila, LeTa
21645 East Cliff Drive                                                RS Legacy Corporation fka RadioShack
Santa Cruz, CA 95062                              7844      7/17/2015 Corporation                                                                                                              $40.00                                  $40.00
Harper, Karen
241 E 15th Ave                                                        RS Legacy Corporation fka RadioShack
Homestead, PA 15120                               7845      7/17/2015 Corporation                                                                       $25.00                                                                         $25.00
Charlet, Keith W
3916 N Potsdam Ave PMB 2652                                           RS Legacy Corporation fka RadioShack
Sioux Falls, SD 57104‐7048                        7846      7/17/2015 Corporation                                                      $0.00                                                                                            $0.00
SIRVA Relocation LLC
6200 Oak Tree Blvd., Suite 300                                        RS Legacy Corporation fka RadioShack
Independence, OH 44131                            7847      7/17/2015 Corporation                                                $74,080.12                                                                                        $74,080.12
Verticelli, Dominick
156 Rutgers Rd                                                        RS Legacy Corporation fka RadioShack
Venice, FL 34293                                  7848      7/17/2015 Corporation                                                     $73.83                                                                                           $73.83
Dugas, Jennifer
6502 Fremin Road                                                      RS Legacy Corporation fka RadioShack
New Iberia, LA 70560                              7849      7/17/2015 Corporation                                                     $18.43                                                                                           $18.43
Peter J. Solomon Company, L.P.
Attn: Ajay Bijour
1345 Avenue of the Americas                                           RS Legacy Corporation fka RadioShack
New York, NY 10105                                7850      6/22/2015 Corporation                                               $130,871.15                                                                                       $130,871.15
DORCHESTER COUNTY
TREAS
PO BOX 66                                                             RS Legacy Corporation fka RadioShack
CAMBRIDGE, MD 21613                               7851      7/17/2015 Corporation                                                     $54.41                                                                                           $54.41
Corporate Security LLC dba First Security Inc
PO Box 1892                                                           RS Legacy Corporation fka RadioShack
Bellevue, WA 98009                                7852      7/17/2015 Corporation                                                    $127.14                                                                                          $127.14
Leisure, Janice
9128 Blairmoore Rd                                                    RS Legacy Corporation fka RadioShack
Tampa, FL 33635‐1322                              7853      7/17/2015 Corporation                                                      $0.00                                                                                            $0.00
Whistler, Wendell
2907 Nelson Road                                                      RS Legacy Corporation fka RadioShack
North Pole, AK 99705                              7854      7/17/2015 Corporation                                                                                                              $40.01                                  $40.01




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            Creditor Name and Address         Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
Dorchester county Dept. of Finance/Treasury
501 Court Lane, Rm 102                                              RS Legacy Corporation fka RadioShack
Cambridge, MD 21613                             7855      7/17/2015 Corporation                                                    $115.00                                                                                          $115.00
DiClemente, Albert
c/o Levin & Martin
75 Essex Street                                                     RS Legacy Corporation fka RadioShack
Hackensack, NJ 07601                            7856      7/17/2015 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                             RS Legacy Corporation fka RadioShack
                                                7857      7/17/2015 Corporation                                                                                                                                                       $0.00
NEBRASKA DEPARTMENT OF REVENUE
Attention: Bankruptcy Unit
PO BOX 94818                                                        RS Legacy Corporation fka RadioShack
LINCOLN, NE 68509‐4818                          7858      7/17/2015 Corporation                                                                      $429.83                                                                        $429.83
Malkin, Seth
Suite 102‐ 75 Essex St                                              RS Legacy Corporation fka RadioShack
Hackensack, NJ 07601                            7859      7/17/2015 Corporation                                                                                                                                 $0.00                 $0.00
DFG‐ Chapel Hill, LLC
10100 Waterville St.                                                RS Legacy Corporation fka RadioShack
Whitehouse, OH 43571                            7860      7/17/2015 Corporation                                                $18,157.38                                                                                        $18,157.38
Wong, Benjamin
519‐12th Ave.                                                       RS Legacy Corporation fka RadioShack
San Francisco, CA 94118                         7861      7/17/2015 Corporation                                                     $95.39                                                                                           $95.39
Herrera, Mario A.
11237 Old Leavells Rd.                                              RS Legacy Corporation fka RadioShack
Fredericksburg, VA 22407                        7862      7/17/2015 Corporation                                                      $0.00                                                                                            $0.00
Herrera, Mario A.
11237 Old Leavells Rd.                                              RS Legacy Corporation fka RadioShack
Fredericksburg, VA 22407                        7863      7/17/2015 Corporation                                                                      $115.00              $0.00                                                     $115.00
Bluefield (Ridgeview) WMS, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                           RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                              7864      7/17/2015 Corporation                                                $35,016.72                                                                                        $35,016.72
Dougherty, Dennis
132 Sandy Beach Drive                                               RS Legacy Corporation fka RadioShack
Pasadena, MD 21122                              7865      7/17/2015 Corporation                                                     $25.00                                                                                           $25.00
Delco Development Co. of Hicksville, LP
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
101 Park Avenue                                                     RS Legacy Corporation fka RadioShack
New York, NY 10178                              7866      7/17/2015 Corporation                                                $56,176.70                                                                                        $56,176.70
Nealy, Gasey J.
USS Germantown                                                      RS Legacy Corporation fka RadioShack
FPO 96666                                       7867      7/17/2015 Corporation                                                      $0.00                                                                                            $0.00
Martinsville (Mountainview) WMA, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                           RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                              7868      7/17/2015 Corporation                                                $56,889.00                                                                                        $56,889.00




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                                                                                                                           Current General                                            Current 503(b)(9)
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            Creditor Name and Address             Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                     Amount
Koirif, Angelica
2159 E Calle los Marmoles                                               RS Legacy Corporation fka RadioShack
Tucson, AZ 85706                                    7869      7/17/2015 Corporation                                                    $105.00                                                                                          $105.00
Robinson, Elbert
600 Nottingham Oaks Trl #102                                            RS Legacy Corporation fka RadioShack
Houston, TX 77079                                   7870      7/17/2015 Corporation                                                     $21.64                                                                                           $21.64
Cohen, Evan
2015 NW 127th Terr                                                      RS Legacy Customer Service LLC fka RadioShack
Coral Springs, FL 33071                             7871      7/18/2015 Customer Service LLC                                                                                                     $20.00                                  $20.00
Claim Docketed In Error                                                 RS Legacy Corporation fka RadioShack
                                                    7872      7/18/2015 Corporation                                                                                                                                                       $0.00

Cool Air Houston HVACR Mechanical Services, LLC
PO Box 492                                                              RS Legacy Corporation fka RadioShack
South Houston, TX 77587                             7873      7/18/2015 Corporation                                                $14,461.59                                                     $0.00           $515.27            $14,976.86
Wright, Kyle
740 Grant Street Apt. 4                                                 RS Legacy Corporation fka RadioShack
Indiana, PA 15701                                   7874      7/20/2015 Corporation                                                     $31.00                                                                                           $31.00
CITY OF HINESVILLE
Attn: Sarah R. Lumpkin
115 E M L KING JR DR                                                    RS Legacy Corporation fka RadioShack
HINESVILLE, GA 31313                                7875      7/20/2015 Corporation                                                    $203.54                                                                                          $203.54
Mitchell, Alexandra
1750 Red Rock Court                                                     RS Legacy Customer Service LLC fka RadioShack
Westlake Village, CA 91362                          7876      7/20/2015 Customer Service LLC                                            $18.78                                                                                           $18.78
Cichanski, Nicole
2401 Hibiscus Bay Lane                                                  RS Legacy Corporation fka RadioShack
Brandon, FL 33511                                   7877      7/20/2015 Corporation                                                                                                               $0.00                                   $0.00
Attorney Liz Austin
Pullman & Comley, LLC
850 Main Street, 8th Floor                                              RS Legacy Corporation fka RadioShack
Bridgeport, CT 06601‐7006                           7878      7/20/2015 Corporation                                                      $0.00                                                                                            $0.00
Roberts, John C.
1026 Mohican Pass                                                       RS Legacy Corporation fka RadioShack
Madison , WI 53711                                  7879      7/20/2015 Corporation                                                     $28.47                                                                                           $28.47
Pierce, Yvonne E.
1512 Alison Drive                                                       RS Legacy Corporation fka RadioShack
Gretna, LA 70056                                    7880      7/20/2015 Corporation                                                     $78.68                                                                                           $78.68
Lemoine, Suzanne
1428 Banyan Drive                                                       RS Legacy Corporation fka RadioShack
Fallbrook, CA 92028                                 7881      7/20/2015 Corporation                                                                       $86.00                                                                         $86.00
Mississippi Department of Revenue
Bankruptcy Section
PO Box 22808                                                            RS Legacy Corporation fka RadioShack
Jackson, MS 39225‐2808                              7882      7/20/2015 Corporation                                                                         $0.00                                                                         $0.00
New York State Department of Taxation and
Finance
Bankruptcy Section
PO Box 5300                                                             RS Legacy Corporation fka RadioShack
Albany, NY 12205‐0300                               7883      7/20/2015 Corporation                                               $172,707.64      $1,214,496.74                                                                  $1,387,204.38




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                                                                                                                   Current General                                            Current 503(b)(9)
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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Kugler, Tyler
190 Crosby Lane                                                 RS Legacy Corporation fka RadioShack
Brewster, MA 02631                          7884      7/19/2015 Corporation                                                     $63.74                                                                                           $63.74
Doughty, Diana
3251 Liahona Way                                                RS Legacy Corporation fka RadioShack
Las Vegas, NV 89121                         7885      7/20/2015 Corporation                                                      $0.00                                                                                            $0.00
Estrada, Elia
2302 North Houston Street                                       RS Legacy Corporation fka RadioShack
Fort Worth, TX 76164                        7886      7/20/2015 Corporation                                                                         $0.00                                                                         $0.00
Estrada, Elia
2302 N Houston st                                               RS Legacy Corporation fka RadioShack
Fort Worth, TX 76164                        7887      7/20/2015 Corporation                                                      $0.00                                                                                            $0.00
Swarts, Stephen
1988 Bellavista St.                                             RS Legacy Corporation fka RadioShack
Castle Rock, CO 80109                       7888      7/20/2015 Corporation                                                     $20.00                                                                                           $20.00
Cripps, Megan
166 State St 1A                                                 RS Legacy Corporation fka RadioShack
Brooklyn, NY 11201                          7889      7/20/2015 Corporation                                                     $70.00                                                                                           $70.00
Yakubov, Dmitry
75‐02 186 Street                                                RS Legacy Customer Service LLC fka RadioShack
Fresh Meadows, NY 11366                     7890      7/20/2015 Customer Service LLC                                            $32.65                                                                                           $32.65
He, Bin
11726 SE Rustling Ridge Dr.                                     RS Legacy Corporation fka RadioShack
Clackamas, OR 97015                         7891      7/20/2015 Corporation                                                                                         $200.00                                                     $200.00
Leesburg Pike Center LLC
Stephen A. Metz, Esquire
Shulman Rogers Gandal Pordy & Ecker, PA
12505 Park Potomac Avenue
6th Floor                                                       RS Legacy Corporation fka RadioShack
Potomac, MD 20854                           7892      7/20/2015 Corporation                                               $114,980.77                                                                                       $114,980.77
RANDALL BENDERSON 1993‐1 TRUST
570 Delaware Ave                                                RS Legacy Corporation fka RadioShack
Buffalo, NY 14202                           7893      7/20/2015 Corporation                                                $74,617.12                                                                                        $74,617.12
Consumer Protection Division
Office of the Attorney General
State of Maryland
c/o Steven M. Sakamoto‐Wengel
200 St. Paul Place, 16th floor                                  RS Legacy Corporation fka RadioShack
Baltimore, MD 21202                         7894      7/21/2015 Corporation                                                                     $2,775.00                                                                     $2,775.00
M. Gloria Pinckney
137 Shelter Rock Road                                           RS Legacy Corporation fka RadioShack
Danbury, CT 06810                           7895      7/21/2015 Corporation                                                     $70.00                                                                                           $70.00
El Trigal Plaza Associates, S.E. 2013
PO Box 8509                                                     RS Legacy Corporation fka RadioShack
San Juan, PR 00910                          7896      7/20/2015 Corporation                                                $20,781.10           $7,062.50                                                                    $27,843.60
City and County of San Francisco
Treasurer and Tax Collector's Office
Bureau of Delinquent Revenue
PO Box 7027                                                     RS Legacy Corporation fka RadioShack
San Francisco, CA 94120‐7027                7897      7/21/2015 Corporation                                                                     $5,755.00                                                                     $5,755.00




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            Creditor Name and Address          Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
BFW Associates
Ken Labenski
570 Delaware Ave                                                     RS Legacy Corporation fka RadioShack
Buffalo, NY 14202                                7898      7/20/2015 Corporation                                                $35,344.88                                                                                        $35,344.88
RANDALL BENDERSON 1993‐1 TRUST
570 Delaware Ave                                                     RS Legacy Corporation fka RadioShack
Buffalo, NY 14202                                7899      7/20/2015 Corporation                                                $43,108.62                                                                                        $43,108.62
City of Brazil Utilities
203 E. National Ave.                                                 RS Legacy Corporation fka RadioShack
Brazil, IN 47834                                 7900      7/20/2015 Corporation                                                      $0.00                                                                                            $0.00
TN Dept of Commerce and Insurance ‐ Consumer
Affairs
c/o TN Atty General, Bankruptcy Div.
PO Box 20207                                                         RS Legacy Corporation fka RadioShack
Nashville, TN 37202‐0207                         7901      7/20/2015 Corporation                                                                         $0.00                                                                         $0.00
Centerville Development Company
c/o R.J. Waters & Associates, Inc.
200 Old Forge Lane
Suite 200                                                            RS Legacy Corporation fka RadioShack
Kennett Square, PA 19348                         7902      7/20/2015 Corporation                                                $27,509.48                                                                                        $27,509.48
Leflore, Jackie
3614 North 40th Street                                               RS Legacy Corporation fka RadioShack
Milwaukee, WI 53216                              7903      7/20/2015 Corporation                                                                                                             $105.59                                 $105.59
Rapp Investments, LLC
P.O. Box 3727                                                        RS Legacy Corporation fka RadioShack
Bellevue, WA 98009                               7904      7/20/2015 Corporation                                                $61,796.83                                                                                        $61,796.83
James P. ERB, CPA
County Tax Collector
Room D‐290, County Government Center                                 RS Legacy Corporation fka RadioShack
San Luis Obispo, CA 93408                        7905      7/20/2015 Corporation                                                                         $0.00                                                                         $0.00

NEW BRITAIN BOARD OF WATER COMMISSIONERS
27 W MAIN ST                                                         RS Legacy Corporation fka RadioShack
NEW BRITAIN, CT 06051‐2289                       7906      7/21/2015 Corporation                                                                                           $0.00                                                       $0.00
Reeves, Louise
240 E. Westfield Avenue
APT C6                                                               RS Legacy Corporation fka RadioShack
Roselle Park, NJ 07204                           7907      7/21/2015 Corporation                                                     $76.25                                                                                           $76.25
Sum Total Systems LLC
Attn: Greg Porto
107 Northeastern Blvd                                                RS Legacy Corporation fka RadioShack
Nashua, NH 03062                                 7908      7/21/2015 Corporation                                                $58,452.50                                                                                        $58,452.50
City and County of San Francisco
Treasurer and Tax Collector's Office
Burea of Delinquent Revenue
P.O. Box 7027                                                        RS Legacy Corporation fka RadioShack
San Francisco, CA 94120‐7027                     7909      7/21/2015 Corporation                                                                         $0.00                                                                         $0.00




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            Creditor Name and Address            Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount

The Mayor and Aldermen of the City of Savannah
City of Savannah, Revenue Dept.
James B. Blackburn, Jr.
P.O. BOX 1228
BOX 8996                                                               RS Legacy Corporation fka RadioShack
Savannah, GA 31402                                 7910      7/22/2015 Corporation                                                    $107.35          $2,269.24                                                                     $2,376.59
Steinfeld, Mango
148 Berkeley Place                                                     RS Legacy Corporation fka RadioShack
Brooklyn, NY 11217                                 7911      7/21/2015 Corporation                                                    $294.49                                                                                          $294.49
SECRETARY OF THE TREASURY PUERTO RICO
PO BOX 70125                                                           RS Legacy Corporation fka RadioShack
SAN JUAN, PR 00936‐8125                            7912      7/21/2015 Corporation                                                                         $0.00                                                                         $0.00
DEPARTMENT OF TREASURY
Department of Treasury‐Bankruptcy Section
P.O. BOX 9024140 Ofiice 424‐B                                          RS Legacy Corporation fka RadioShack
San Juan, P.R. 00902‐4140                          7913      7/21/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
Department of Treasury Bankruptcy Section
P.O. Box 9024140 office 424‐BB                                         RS Legacy Corporation fka RadioShack
San Juan, PR 00902‐4140                            7914      7/21/2015 Corporation                                                                                                                                 $0.00                 $0.00
Reeves, Louise
240 E. Westfield Avenue
APT C6                                                                 RS Legacy Corporation fka RadioShack
Roselle Park, NJ 07204                             7915      7/21/2015 Corporation                                                     $76.25                                                                                           $76.25
Rosen, Eric
94 Oak Drive                                                           RS Legacy Corporation fka RadioShack
Pleasantville, NY 10570                            7916      7/22/2015 Corporation                                                                                                              $54.00                                  $54.00
Quintero, Nicole
8125 Mills Rd
#8202                                                                  RS Legacy Corporation fka RadioShack
Houston, TX 77064                                  7917      7/22/2015 Corporation                                                     $32.48                                                                                           $32.48
Johnson, Regina
129‐11 Jamaica Avenue apt 7C                                           RS Legacy Corporation fka RadioShack
Richmond Hill, N.Y. 11418                          7918      7/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Anderson, Rebecca C
175 Pysell Rd, Apt 2                                                   RS Legacy Corporation fka RadioShack
McHenry, MD 21541                                  7919      7/21/2015 Corporation                                                                         $0.00                                                                         $0.00
Massey, Latoya S
128 Oakland Street                                                     RS Legacy Corporation fka RadioShack
Englewood, NJ 07631                                7920      7/21/2015 Corporation                                                     $12.43                                                                                           $12.43
Bonin, Steve G
324 Maguire Rd Ext                                                     RS Legacy Corporation fka RadioShack
Ocoee, FL 34761                                    7921      7/22/2015 Corporation                                                                       $37.00                                                                         $37.00
Aguilar, Kelli
1405 elm hills blvd lot 33                                             RS Legacy Corporation fka RadioShack
Sedalia, MO 65301                                  7922      7/21/2015 Corporation                                                     $64.85                                                                                           $64.85
Loving, Pierre
1145 N Waller                                                          RS Legacy Corporation fka RadioShack
Chicago, IL 60651                                  7923      7/21/2015 Corporation                                                      $0.00                                                                                            $0.00
Montijo, Patricia
800 E Baffert Dr L 203                                                 RS Legacy Corporation fka RadioShack
Nogales, AZ 85621                                  7924      7/22/2015 Corporation                                                                                                              $27.14                                  $27.14



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                                                                                                                  Current General                                             Current 503(b)(9)
                                                                                                                                        Current Priority    Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                              Admin Priority
                                                                                                                                         Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                      Amount
Giddings, Tamara
11817 Leisure Drive                                            RS Legacy Corporation fka RadioShack
Dallas, TX 75243                           7925      7/22/2015 Corporation                                                     $13.95                                                                                            $13.95
MONTEREY COUNTY TAX COLLECTOR
PO BOX 891                                                     RS Legacy Corporation fka RadioShack
SALINAS, CA 93902                          7926      7/22/2015 Corporation                                                                                          $810.96                                                     $810.96
Standifer, Sonjee
765 Anderson Ave., Apt. 5‐8                                    RS Legacy Corporation fka RadioShack
Cliffside Park, NJ 07010                   7927      7/22/2015 Corporation                                                                       $100.00                                                                        $100.00
LINCOLN TIMES‐NEWS
PO BOX 40                                                      RS Legacy Corporation fka RadioShack
LINCOLNTON, NC 28093                       7928      7/22/2015 Corporation                                                    $375.24                                                                                           $375.24
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                           7929      7/22/2015 Corporation                                                                                                                                                        $0.00
City of Madison
Attn: Michael May, City Attorney
City Council Building
210 Martin Luther King Blvd.
Room 107                                                       RS Legacy Corporation fka RadioShack
Madison, WI 53703‐3342                     7930      7/22/2015 Corporation                                                                                        $1,368.79                                                   $1,368.79
MONTEREY COUNTY TAX COLLECTOR
PO BOX 891                                                     RS Legacy Corporation fka RadioShack
SALINAS, CA 93902                          7931      7/22/2015 Corporation                                                                                          $496.47                                                     $496.47
MONTEREY COUNTY TAX COLLECTOR
PO BOX 891                                                     RS Legacy Corporation fka RadioShack
SALINAS, CA 93902                          7932      7/22/2015 Corporation                                                                                          $911.13                                                     $911.13
MONTEREY COUNTY TAX COLLECTOR
PO BOX 891                                                     RS Legacy Corporation fka RadioShack
SALINAS, CA 93902                          7933      7/22/2015 Corporation                                                                       $604.49              $0.00                                                     $604.49
CITY OF SANTA ANA
Sonia R. Carvalho ‐ City Attorney
John M. Funk, Assistant City Attorney
20 Civic Center Plaza, M‐29                                    RS Legacy Corporation fka RadioShack
Santa Ana, CA 92701                        7934      7/22/2015 Corporation                                                  $1,300.00                                                                                         $1,300.00
MONTEREY COUNTY TAX COLLECTOR
PO BOX 891                                                     RS Legacy Corporation fka RadioShack
SALINAS, CA 93902                          7935      7/22/2015 Corporation                                                                                          $538.91                                                     $538.91
MONTEREY COUNTY TAX COLLECTOR
PO BOX 891                                                     RS Legacy Corporation fka RadioShack
SALINAS, CA 93902                          7936      7/22/2015 Corporation                                                                       $489.90              $0.00                                                     $489.90
Alameda County Tax Collector
1221 Oak Street                                                RS Legacy Corporation fka RadioShack
Oakland, CA 94612                          7937      7/22/2015 Corporation                                                                     $12,275.55                                                                    $12,275.55
MONTEREY COUNTY TAX COLLECTOR
PO BOX 891                                                     RS Legacy Corporation fka RadioShack
SALINAS, CA 93902                          7938      7/22/2015 Corporation                                                                      $1,836.31         $1,115.34                                                   $2,951.65
Manzanarez, G. Lorenzo
203 S. Mansfield Av                                            RS Legacy Corporation fka RadioShack
Los Angeles, CA 90036                      7939      7/22/2015 Corporation                                                      $0.00                                                                                             $0.00




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                                                                                                                                                 Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address             Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                     Amount
General Wireless Inc. and it Affiliates
c/o Standard General L.P.
Attention:Gail Steiner
767 Fifth Avenue, 12th Floor                                            RS Legacy Corporation fka RadioShack
New York, NY 10153                                  7940      7/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
PLACER COUNTY TAX COLLECTOR
Gayle Strom, Deputy Tax Collector
2976 RICHARDSON DRIVE                                                   RS Legacy Corporation fka RadioShack
AUBURN, CA 95603                                    7941      7/22/2015 Corporation                                                                                           $0.00                                                       $0.00
Princeton (East River) WMS, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                               RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                  7942      7/22/2015 Corporation                                                                                                                             $4,361.22             $4,361.22
GRI‐EQY (Airpark Plaza) LLC
Kelley Drye & Warren LLP
Robert L. LeHane
Gilbert R. Saydah Jr.
101 Park Avenue                                                         RS Legacy Corporation fka RadioShack
New York, NY 10178                                  7943      7/22/2015 Corporation                                                $45,707.78                                                                                        $45,707.78
Princeton (East River) WMS,LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                               RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                                  7944      7/22/2015 Corporation                                                $44,257.12                                                                                        $44,257.12
Henry, Megan
162‐19 144th Ave.                                                       RS Legacy Corporation fka RadioShack
Jamaica, NY 11434                                   7945      7/22/2015 Corporation                                                     $60.00                                                                                           $60.00
Partners Behavioral Health Management
Attn: LEGAL
901 S. New Hope Road                                                    RS Legacy Corporation fka RadioShack
Gastonia, NC 28054                                  7946      7/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Arkansas Attorney General on behalf of Arkansas
consumers holding unredeemed Radio Shack gift
cards
Peggy J. Johnson
Assistant Attorney General
323 Center Street Suite 500                                             RS Legacy Corporation fka RadioShack
Little Rock, AR 72201                               7947      7/23/2015 Corporation                                                                         $0.00                                                                         $0.00
Riverside County Tax Collector
ATTN: Sheree Raphael
4080 Lemon St, 4th Floor                                                RS Legacy Corporation fka RadioShack
Riverside, CA 92501                                 7948      7/20/2015 Corporation                                                  $4,040.96          $4,040.97             $0.00                                                   $8,081.93
Parwl, Mona
4 Wooley Way                                                            RS Legacy Corporation fka RadioShack
Ocean Township, NJ 07712                            7949      7/23/2015 Corporation                                                     $42.79                                                                                           $42.79
SAHAGUN, JAIME
484 Mariposa Ave Apt E                                                  RS Legacy Corporation fka RadioShack
Sierra Madre, CA 91024‐2384                         7950      7/23/2015 Corporation                                                                                                               $0.00                                   $0.00




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                                                                                                                   Current General                                            Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Tsao, Lynn
109 Davis Ave Unit 3                                           RS Legacy Corporation fka RadioShack
Brookline, MA 02445                        7951      7/23/2015 Corporation                                                                                           $20.00                                                      $20.00
STATE OF NEW JERSEY
UNCLAIMED PROPERTY
PO BOX 214                                                     RS Legacy International Corporation fka Tandy
TRENTON, NJ 08625                          7952      7/23/2015 International Corporation                                         $0.00                                                                                            $0.00
STATE OF NEW JERSEY
UNCLAIMED PROPERTY
PO BOX 214                                                     RS Legacy Finance Corporation fka Tandy Finance
TRENTON, NJ 08625                          7953      7/23/2015 Corporation                                                       $0.00                                                                                            $0.00
West, Tasha M.
4652 Brooktree Dr                                              RS Legacy Corporation fka RadioShack
Charlotte, NC 28208                        7954      7/23/2015 Corporation                                                      $80.00                                                                                           $80.00
STATE OF NEW JERSEY
UNCLAIMED PROPERTY
PO BOX 214
TRENTON, NJ 08625                          7955      7/23/2015 RS Ig Holdings Incorporated                                       $0.00                                                                                            $0.00
STATE OF NEW JERSEY
UNCLAIMED PROPERTY
PO BOX 214
TRENTON, NJ 08625                          7956      7/23/2015 RSIgnite, LLC                                                     $0.00                                                                                            $0.00
STATE OF NEW JERSEY
UNCLAIMED PROPERTY
PO BOX 214
TRENTON, NJ 08625                          7957      7/23/2015 SCK, Inc.                                                         $0.00                                                                                            $0.00
STATE OF NEW JERSEY
UNCLAIMED PROPERTY
PO BOX 214
TRENTON, NJ 08625                          7958      7/23/2015 ITC Services, Inc.                                                $0.00                                                                                            $0.00
STATE OF NEW JERSEY
UNCLAIMED PROPERTY
PO BOX 214                                                     RS Legacy Customer Service LLC fka RadioShack
TRENTON, NJ 08625                          7959      7/23/2015 Customer Service LLC                                              $0.00                                                                                            $0.00
STATE OF NEW JERSEY
UNCLAIMED PROPERTY
PO BOX 214                                                     RS Legacy Global Sourcing Corporation fka
TRENTON, NJ 08625                          7960      7/23/2015 RadioShack Global Sourcing Corporation                            $0.00                                                                                            $0.00
STATE OF NEW JERSEY
UNCLAIMED PROPERTY
PO BOX 214                                                     RS Legacy Corporation fka RadioShack
TRENTON, NJ 08625                          7961      7/23/2015 Corporation                                                       $0.00                                                                                            $0.00
STATE OF NEW JERSEY
UNCLAIMED PROPERTY                                             RS Legacy Global Sourcing Limited Partnership
PO BOX 214                                                     fka RadioShack Global Sourcing Limited
TRENTON, NJ 08625                          7962      7/23/2015 Partnership                                                       $0.00                                                                                            $0.00
STATE OF NEW JERSEY
UNCLAIMED PROPERTY
PO BOX 214
TRENTON, NJ 08625                          7963      7/23/2015 Trade and Save LLC                                                $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                      Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
STATE OF NEW JERSEY
UNCLAIMED PROPERTY
PO BOX 214
TRENTON, NJ 08625                          7964      7/23/2015 TE Electronics LP                                                  $0.00                                                                                            $0.00
STATE OF NEW JERSEY
UNCLAIMED PROPERTY
PO BOX 214
TRENTON, NJ 08625                          7965      7/23/2015 RS Legacy Holdings, Inc. fka Tandy Holdings, Inc.                  $0.00                                                                                            $0.00
Barrera, Myrna
1370 South Van Ness Avenue #103                                RS Legacy Corporation fka RadioShack
San Francisco, CA 94110                    7966      7/24/2015 Corporation                                                       $43.49                                                                                           $43.49
White, Nicole
1446 Greenbriar Circle                                         RS Legacy Corporation fka RadioShack
Pikesville, MD 21208                       7967      7/24/2015 Corporation                                                                         $50.00                                  $0.00                                  $50.00
Rossi, Anthony G
1424 Oak St                                                    RS Legacy Corporation fka RadioShack
Oakmont, PA 15139                          7968      7/29/2015 Corporation                                                       $10.60                                                                                           $10.60
Foster, Katherine
6747 37th Ave SW                                               RS Legacy Corporation fka RadioShack
Seattle, WA 98126                          7969      7/24/2015 Corporation                                                        $5.98                                                                                            $5.98
Onofrio II, Joseph
39 Sherwood Terrace                                            RS Legacy Corporation fka RadioShack
Old Saybrook, CT 06475                     7970      7/28/2015 Corporation                                                        $0.00           $100.00                                  $0.00                                 $100.00
Treasurer of Virginia
Virginia Department of the Treasury
Division of Unclaimed Property
PO Box 2478                                                    RS Legacy Corporation fka RadioShack
Richmond, VA 23218‐2393                    7971      7/24/2015 Corporation                                                        $0.00                                                                                            $0.00
Mayberry, Carol J.
2303 N. Van Buren Court                                        RS Legacy Corporation fka RadioShack
Arlington, VA 22205                        7972      7/27/2015 Corporation                                                       $40.96                                                                                           $40.96
Tara Hills Villas, Inc.
c/o Michael J. Hogan
818 Tara Plaza                                                 RS Legacy Corporation fka RadioShack
Papillion, NE 68046                        7973      7/28/2015 Corporation                                                  $47,367.74                                                                                        $47,367.74
Prado, Kim
3 Dogwood Drive                                                RS Legacy Corporation fka RadioShack
Chester, NJ 07930                          7974      7/24/2015 Corporation                                                       $32.10                                                                                           $32.10
Townsend, Cheryl
5406 NW 56 Court                                               RS Legacy Corporation fka RadioShack
Tamarac, FL 33319                          7975      7/28/2015 Corporation                                                                                                                $31.79                                  $31.79
Araujo, Thomas
11 Bossy Lane                                                  RS Legacy Corporation fka RadioShack
Wilton, CT 06897                           7976      7/24/2015 Corporation                                                      $276.04                                                                                          $276.04
Pradip Kumar Saha
2501 Westerlake Dr.                                            RS Legacy Corporation fka RadioShack
Pearland, TX 77584                         7977      7/24/2015 Corporation                                                       $39.98                                                                                           $39.98
City of Houston, Texas
City of Houston P.W.E.
Attn: Effie Green
4200 Leeland                                                   RS Legacy Corporation fka RadioShack
Houston, TX 77023                          7978      7/21/2015 Corporation                                                       $37.11                                                                                           $37.11



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                                                                                                                   Current General                                            Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Burton, Sophine
4234 37th Ave No                                               RS Legacy Corporation fka RadioShack
Saint Petersburg , FL 33713                7979      7/29/2015 Corporation                                                                        $62.04                                                                         $62.04
Commack Shopping Center Associates
c/o Robinson Brog Leinwand et al
ATTN: FBR
875 Third Avenue, 9th Floor                                    RS Legacy Corporation fka RadioShack
New York, NY 10022                         7980      7/23/2015 Corporation                                                $139,006.21                                                                                       $139,006.21
WELL SHIN TECHNOLOGY CO., LTD.
NO. 196, XINHU 3RD ROAD                                        RS Legacy Global Sourcing Limited Partnership
TAIPEI, R.O.C. 114                                             fka RadioShack Global Sourcing Limited
TAIWAN                                     7981      7/23/2015 Partnership                                                $190,953.80                                                                                       $190,953.80
Lopez, Enrique
708 Probst Ave.                                                RS Legacy Corporation fka RadioShack
Fairview, NJ 07022                         7982      7/23/2015 Corporation                                                      $35.00            $35.00             $35.00              $35.00                                 $140.00
Nolan, Lynn
3714 Peugeot St                                                RS Legacy Corporation fka RadioShack
Sebring, FL 33872                          7983      7/27/2015 Corporation                                                      $45.00                                                                                           $45.00
Srinivasa Rao. Patcha
6431 Huntscott Place                                           RS Legacy Corporation fka RadioShack
Jacksonville, FL 32258                     7984      7/27/2015 Corporation                                                      $10.00                                                                                           $10.00
KEEN, REHN E.
76 Versailles Ct                                               RS Legacy Corporation fka RadioShack
Newark, DE 19702                           7985      7/23/2015 Corporation                                                     $250.00                                                                                          $250.00
Hernandez, Edwin
1 1st St willowpoint #43                                       RS Legacy Corporation fka RadioShack
lakeport, CA 95453                         7986      7/27/2015 Corporation                                                                       $222.38                                                                        $222.38
STATE OF NEW JERSEY
UNCLAIMED PROPERTY
PO BOX 214
TRENTON, NJ 08625                          7987      7/23/2015 Merchandising Support Services, Inc.                              $0.00                                                                                            $0.00
STATE OF NEW JERSEY
UNCLAIMED PROPERTY
PO BOX 214
TRENTON, NJ 08625                          7988      7/23/2015 Ignition L.P.                                                     $0.00                                                                                            $0.00
Barneclo, Xavier
2301 Chapel Drive                                              RS Legacy Corporation fka RadioShack
Camarillo, CA 93010                        7989      7/28/2015 Corporation                                                      $25.00                                                                                           $25.00
thomas, cheryce
2247 vallejo st                                                RS Legacy Corporation fka RadioShack
Santa rosa, CA 95404                       7990      7/27/2015 Corporation                                                      $10.90                                                                                           $10.90
City of Houston, Texas
City of Houston P.W.E.
Attn: Effie Green
4200 Leeland                                                   RS Legacy Corporation fka RadioShack
Houston, TX 77023                          7991      7/21/2015 Corporation                                                     $563.90                                                                                          $563.90
City of Houston, Texas
City of Houston P.W.E.
Attn: Effie Green
4200 Leeland                                                   RS Legacy Corporation fka RadioShack
Houston, TX 77023                          7992      7/21/2015 Corporation                                                      $13.72                                                                                           $13.72




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                                                                                                                             Current General                                            Current 503(b)(9)
                                                                                                                                                   Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address              Claim No.   Claim Date                      Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Adams, Melissa
26 Beattie Road                                                          RS Legacy Corporation fka RadioShack
Washingtonville, NY 10992                            7993      7/27/2015 Corporation                                                      $50.00                                                                                           $50.00
City of Houston, Texas
City of Houston P.W.E.
Attn: Effie Green
4200 Leeland                                                             RS Legacy Corporation fka RadioShack
Houston, TX 77023                                    7994      7/21/2015 Corporation                                                     $256.04                                                                                          $256.04
STATE OF NEW JERSEY
UNCLAIMED PROPERTY
PO BOX 214                                                               RS Legacy Global Sourcing, Inc. fka RadioShack
TRENTON, NJ 08625                                    7995      7/23/2015 Global Sourcing, Inc.                                             $0.00                                                                                            $0.00
STATE OF NEW JERSEY
UNCLAIMED PROPERTY
PO BOX 214
TRENTON, NJ 08625                                    7996      7/23/2015 TRS Quality, Inc.                                                 $0.00                                                                                            $0.00
SARRIA HOLDINGS, INC.
Attn: Francisco Sarria
4725 SW 8TH ST.                                                          RS Legacy Corporation fka RadioShack
MIAMI, FL 33134                                      7997      7/27/2015 Corporation                                                 $23,630.95                                                                                        $23,630.95
ROBERT MORLEY & ROMAINE MORLEY JT TEN
Ave De La Bonne Fosse 34
1420 Braine‐L'Alleud
                                                                         RS Legacy Corporation fka RadioShack
Belgium                                              7998      7/23/2015 Corporation                                                       $0.00                                                                                            $0.00
Standifer, Sonjee
765 Anderson Ave., Apt. 5‐8                                              RS Legacy Corporation fka RadioShack
Cliffside Park, NJ 07010                             7999      7/22/2015 Corporation                                                                       $100.00                                                                        $100.00

Equity One (West Coast Portfolio) Inc. (Potrero)
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
Gilbert R. Saydah Jr., Esq.
101 Park Avenue                                                          RS Legacy Corporation fka RadioShack
New York, NY 10178                                   8000      7/22/2015 Corporation                                                $121,191.00                                                                                       $121,191.00
Bucaj, Len
9 Warren St.                                                             RS Legacy Corporation fka RadioShack
Stamford, CT 06902                                   8001      7/24/2015 Corporation                                                                        $73.08                                                                         $73.08
Hutt, Andrew B
243 White River Ln                                                       RS Legacy Corporation fka RadioShack
West Hartford, VT 05084                              8002      7/27/2015 Corporation                                                     $385.00                                                                                          $385.00
Vazquez, Esther I
2355 N. Frederick PK                                                     RS Legacy Corporation fka RadioShack
Winchester, VA 22603                                 8003      7/24/2015 Corporation                                                                        $34.22                                 $34.22                                  $68.44
Barnes, John E
8703 San Fernando Way                                                    RS Legacy Corporation fka RadioShack
Dallas, TX 75218                                     8004      7/24/2015 Corporation                                                      $20.00                                                                                           $20.00
Ely, Taylor
PO Box 722526                                                            RS Legacy Corporation fka RadioShack
Norman, OK 73070                                     8005      7/27/2015 Corporation                                                      $34.26                                                                                           $34.26




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Vinegar, Venise
6152 Woodman Avenue
Apt. D                                                         RS Legacy Corporation fka RadioShack
Van Nuys, CA 91401                         8006      7/27/2015 Corporation                                                                                                              $10.80                                  $10.80
Barnes, William
2925 Palos Verdes Drive North                                  RS Legacy Corporation fka RadioShack
Palos Verdes Estates, CA 90274             8007      7/27/2015 Corporation                                                     $32.69                                                                                           $32.69
City of Houston, Texas
City of Houston P.W.E.
Attn: Effie Green
4200 Leeland                                                   RS Legacy Corporation fka RadioShack
Houston, TX 77023                          8008      7/21/2015 Corporation                                                     $77.16                                                                                           $77.16
Ponce, Ana
404 Red Cedar Lane                                             RS Legacy Corporation fka RadioShack
Somerville, TX 77879                       8009      7/27/2015 Corporation                                                    $150.00                                                                                          $150.00
California State Controller's Office
Attn: Justin W. Dersch, Staff Counsel
300 Capitol Mall, Suite 1850                                   RS Legacy Corporation fka RadioShack
Sacramento, CA 95814                       8010      7/24/2015 Corporation                                               $758,909.77                                                                                       $758,909.77
Cherry, Clifton
3118 E Kite Circe                                              RS Legacy Corporation fka RadioShack
Wichita, KS 67219                          8011      7/26/2015 Corporation                                                     $39.86                                                                                           $39.86
Mammarella, Kyle
162 Smith St
Apt 4R                                                         RS Legacy Corporation fka RadioShack
Brooklyn, NY 11201                         8012      7/29/2015 Corporation                                                     $19.99                                                                                           $19.99
Shulha, Hennady
PO Box 5184                                                    RS Legacy Corporation fka RadioShack
Bellingham, WA 98227‐5184                  8013      7/28/2015 Corporation                                                    $100.00                                                                                          $100.00
SARRIA HOLDINGS, INC.
Attn: Francisco Sarria
4725 SW 8TH ST.                                                RS Legacy Corporation fka RadioShack
MIAMI, FL 33134                            8014      7/27/2015 Corporation                                                      $0.00                                                                                            $0.00
Vickers, Doral
348 Main St                                                    RS Legacy Corporation fka RadioShack
West Orange, NJ 07052                      8015      7/24/2015 Corporation                                                     $10.00                                                                                           $10.00
Sams, Tomoral
14200 Conser St
#808                                                           RS Legacy Corporation fka RadioShack
Overland Park, KS 66223                    8016      7/27/2015 Corporation                                                                                                              $60.00                                  $60.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                           8017      7/21/2015 Corporation                                                                                                                                                       $0.00
City of Houston, Texas
City of Houston P.W.E.
Attn: Effie Green
4200 Leeland                                                   RS Legacy Corporation fka RadioShack
Houston, TX 77023                          8018      7/21/2015 Corporation                                                     $90.43                                                                                           $90.43
Riverside County Tax Collector
ATTN: Sheree Raphael
4080 Lemon St, 4th Floor                                       RS Legacy Corporation fka RadioShack
Riverside, CA 92501                        8019      7/24/2015 Corporation                                                                                           $0.00                                                       $0.00




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                                                                                                                             Current General                                            Current 503(b)(9)
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            Creditor Name and Address             Claim No.   Claim Date                      Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
STATE OF NEW JERSEY
UNCLAIMED PROPERTY
PO BOX 214
TRENTON, NJ 08625                                   8020      7/23/2015 Atlantic Retail Ventures, Inc.                                     $0.00                                                                                            $0.00
He, Liangzi
115 E Broadway, Apt K201                                                RS Legacy Customer Service LLC fka RadioShack
San Gabriel, CA 91776                               8021      7/25/2015 Customer Service LLC                                                               $100.00                                                                        $100.00
Jaber, Vivian
136 WIlliam Chambers Jr. Dr.                                            RS Legacy Corporation fka RadioShack
Glen Burnie, MD 21060                               8022      7/27/2015 Corporation                                                        $0.00                                                                                            $0.00
Korea Trade Insurance Corporation as Transferee
for Inkel Corporation
c/o Henry Hwang; Lee, Hong, et al                                       RS Legacy Global Sourcing Limited Partnership
660 S. Figueroa St., Suite 2300                                         fka RadioShack Global Sourcing Limited
Los Angeles, CA 90017                               8023      7/24/2015 Partnership                                                 $119,039.89               $0.00             $0.00               $0.00             $0.00           $119,039.89
Gallagher, Victoria
4355 Rilea Way #4                                                       RS Legacy Corporation fka RadioShack
Oakland, CA 94605                                   8024      7/27/2015 Corporation                                                                                             $0.00                                                       $0.00
Harris, Dorothy
18924 Godddard                                                          RS Legacy Corporation fka RadioShack
Detroit, MI 48234                                   8025      7/28/2015 Corporation                                                                                            $69.00                                                      $69.00
CITY OF BOERNE UTILITIES
Kirsten Cohoon‐ City Attorney
402 E. Blanco                                                           RS Legacy Corporation fka RadioShack
Boerne, TX 78006                                    8026      7/27/2015 Corporation                                                        $0.00                                                                                            $0.00
State of Indiana
Office of the Indiana Attorney General
Consumer Protection Division
302 W. Washington St., 5th Floor                                        RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                              8027      7/29/2015 Corporation                                                        $0.00                                                                                            $0.00
Dolbow, Judy
3706 Knollwood Dr.                                                      RS Legacy Corporation fka RadioShack
Chattanooga, TN 37415                               8028      7/27/2015 Corporation                                                                                                                                  $38.23                $38.23
Karaffa, Jean
17934 Lyon Lane                                                         RS Legacy Corporation fka RadioShack
Strongsville , OH 44149                             8029      7/28/2015 Corporation                                                       $24.30                                                                                           $24.30
CITY OF CHESAPEAKE
PO BOX 16495                                                            RS Legacy Corporation fka RadioShack
CHESAPEAKE, VA 23328                                8030      7/27/2015 Corporation                                                      $141.18            $29.38                                                                        $170.56
Lyons, David
15634 Robin Ridge                                                       RS Legacy Corporation fka RadioShack
San Antonio , TX 78248                              8031      7/27/2015 Corporation                                                       $25.00                                                                                           $25.00
Idaho State Treasure's Office
Idaho State Treasurer's Office
Unclaimed Property
PO Box 83702                                                            RS Legacy Corporation fka RadioShack
Boise, ID 83720‐9101                                8032      7/27/2015 Corporation                                                    $3,775.00                                                                                        $3,775.00
Sabato, Derek
217 Bells Lake Road                                                     RS Legacy Corporation fka RadioShack
Turnersville, NJ 08012                              8033      7/29/2015 Corporation                                                       $18.71                                                                                           $18.71




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            Creditor Name and Address          Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
Araujo, Thomas
11 Bossy Lane                                                        RS Legacy Corporation fka RadioShack
Wilton, CT 06897                                 8034      7/28/2015 Corporation                                                    $182.90                                                                                          $182.90
CITY OF CONYERS
PO BOX 1259                                                          RS Legacy Corporation fka RadioShack
CONYERS, GA 30012                                8035      7/27/2015 Corporation                                                                      $832.00                                                                        $832.00
NORTH CAROLINA DEPT OF STATE TREASURER
UNCLAIMED PROPERTY PROGRAM
325 N SALISBURY ST                                                   RS Legacy Corporation fka RadioShack
RALEIGH, NC 27603                                8036      7/27/2015 Corporation                                                $10,652.64                                                                                        $10,652.64
Gandi, Sandeep
424 Secluded Post cir, Apt F                                         RS Legacy Corporation fka RadioShack
Glen Burnie, MD 21061                            8037      7/29/2015 Corporation                                                                                                              $21.00                                  $21.00
Radack, Pat
1836 Palomares Rd                                                    RS Legacy Corporation fka RadioShack
Fallbrook, CA 92028                              8038      7/27/2015 Corporation                                                     $12.38                                                                                           $12.38
Commonwealth of Massachusetts, Office of the
Attorney General
Francesca L. Miceli, AAG
Consumer Protection Division
Office of the Attorney General
One Ashburton Place                                                  RS Legacy Corporation fka RadioShack
Boston, MA 02108                                 8039      7/29/2015 Corporation                                                                         $0.00                                                                         $0.00
Alabama Gas Corportation
2101 6th Ave North                                                   RS Legacy Corporation fka RadioShack
Birmingham, AL 35203                             8040      7/28/2015 Corporation                                                    $658.01                                                                                          $658.01
WIG PROPERTIES LLC‐LKPL
4811 134TH PLACE SE                                                  RS Legacy Corporation fka RadioShack
BELLEVUE, WA 98006                               8041      7/29/2015 Corporation                                                  $7,490.66                                                                                        $7,490.66
Miller, Mathew
5451 Millenia Lakes Blvd #480                                        RS Legacy Corporation fka RadioShack
Orlando, FL 32839                                8042      7/29/2015 Corporation                                                                                                             $100.00                                 $100.00
Adspace Networks, Inc
99 PARK AVENUE
SUITE 310                                                            RS Legacy Corporation fka RadioShack
NEW YORK, NY 10017                               8043      7/29/2015 Corporation                                                $70,150.00                                                                                        $70,150.00
STATE OF MAINE
OFFICE OF THE STATE TREASURER
39 STATE HOUSE STATION                                               RS Legacy Corporation fka RadioShack
AUGUSTA, ME 04333‐0039                           8044      7/29/2015 Corporation                                                $19,880.45                                                                                        $19,880.45
ALLEYNE‐LIVINGSTONE, AYANNA
1203 ROGERS AVE APT 3B                                               RS Legacy Corporation fka RadioShack
BROOKLYN, NY 11226                               8045      7/29/2015 Corporation                                                      $0.00                                                                                            $0.00
Tricoche Felton, Belkis W
Ext Villa Rita Calle 32 JJ 20                                        RS Legacy Corporation fka RadioShack
San Sebastian, PR 00685                          8046      7/29/2015 Corporation                                                                         $0.00                                 $0.00                                   $0.00
Widewaters Route 12 II Associates
C/O Joseph M Snyder Vice President‐ Legal
The Widewaters Group, Inc
5786 Widewaters Parkway,
PO Box 3                                                             RS Legacy Corporation fka RadioShack
Dewitt, NY 13214‐0003                            8047      7/28/2015 Corporation                                                  $2,145.04                                                                                        $2,145.04



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                                                                                                                        Current General                                            Current 503(b)(9)
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            Creditor Name and Address          Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
HALPERN ENTERPRISES INC
5269 BUFORD HWY                                                      RS Legacy Corporation fka RadioShack
ATLANTA, GA 30340                                8048      7/29/2015 Corporation                                                $41,447.09                                                                                        $41,447.09
Unger, Naftali
PO Box 36 ‐ Lefferts Station                                         RS Legacy Corporation fka RadioShack
Brooklyn, NY 11225                               8049      7/27/2015 Corporation                                                     $45.00                                                                                           $45.00
Litz, Michelle
1503 Big Bend Drive                                                  RS Legacy Corporation fka RadioShack
Cedar Park , TX 78613                            8050      7/29/2015 Corporation                                                  $2,941.05                                                                                        $2,941.05
Hoyne, Jean
2801 Shortgrass Rd #138                                              RS Legacy Customer Service LLC fka RadioShack
Edmond, OK 73003                                 8051      7/28/2015 Customer Service LLC                                            $64.64                                                                                           $64.64
The Leung Trust
Attn: Ted Leung
900 Kearny Street #618                                               RS Legacy Corporation fka RadioShack
San Francisco, CA 94133                          8052      7/29/2015 Corporation                                               $122,820.05                                                                                       $122,820.05
Azodzadegan, David
10638 FITZROY AVE                                                    RS Legacy Corporation fka RadioShack
TUJUNGA, CA 91042‐1503                           8053      7/27/2015 Corporation                                             $1,500,000.00                                                                                     $1,500,000.00
John Hancock Life Insurance Company (U.S.A.)
c/o Liquidity Solutions, Inc.
One University Plaza
Suite 312                                                            RS Legacy Corporation fka RadioShack
Hackensack, NK 07601                             8054      7/29/2015 Corporation                                                $17,587.50                                                                       $0.00            $17,587.50
Maxxtoona Limited Partnership
Holmes P. Harden
PO Box 1000                                                          RS Legacy Corporation fka RadioShack
Raleigh, NC 27602                                8055      7/29/2015 Corporation                                                $28,640.86                                                                                        $28,640.86
Ramco‐Gershenson Properties, L.P.
David M. Blau, Esq.
Clark Hill PLC
151 S. Old Woodward Ave.
2nd Floor                                                            RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                             8056      7/29/2015 Corporation                                                  $5,279.72                                                                                        $5,279.72
Arizona Department of Revenue
Unclaimed Property Unit
1600 W. Monroe Div. Code: 10                                         RS Legacy Corporation fka RadioShack
PHOENIX, AZ 85007                                8057      7/27/2015 Corporation                                                $84,326.86                                                                                        $84,326.86
Solovieff, David
770 W. Lone Mountain Rd. #2028                                       RS Legacy Corporation fka RadioShack
North Las Vegas, NV 89031                        8058      7/29/2015 Corporation                                                                       $48.17                                  $0.00                                  $48.17
Chester Springs SC, LLC
David M. Blau, Esq.
Clark Hill PLC
151 S. Old Woodward Ave., 2nd Floor                                  RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                             8059      7/29/2015 Corporation                                                  $4,194.50                                                                                        $4,194.50
Point Plaza, LLC
John C. La Liberte, Esq.
Sherin and Lodgen LLP
101 Federal Street                                                   RS Legacy Corporation fka RadioShack
Boston, MA 02110                                 8060      7/29/2015 Corporation                                                $40,824.34                                                                   $2,616.74            $43,441.08




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                                                                                                                            Current General                                            Current 503(b)(9)
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            Creditor Name and Address              Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
West Allen Plaza, LLC
David M. Blau, Esq.
Clark Hill PLC
151 S. Old Woodward Ave., 2nd Floor                                      RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                                 8061      7/29/2015 Corporation                                                $98,590.38                                                                                        $98,590.38
Chicago Children's Choir
78 E. Washington St.
5th Floor                                                                RS Legacy Corporation fka RadioShack
Chicago, IL 60602                                    8062      7/29/2015 Corporation                                                     $65.00                                                                                           $65.00
City of Odessa
City Attorney's Office
PO Box 4398                                                              RS Legacy Corporation fka RadioShack
Odessa, TX 79760                                     8063      7/29/2015 Corporation                                                    $209.94                                                                                          $209.94
Lebanon 7 Holdings L.P., GBR Lebanon Two Limited
Liability Company
National Realty & Development Corp
Attn: Wayne E. Heller
3 Manhattanville Rd, Suite 202                                           RS Legacy Corporation fka RadioShack
Purchase, NY 10577                                   8064      7/22/2015 Corporation                                                $53,786.52                                                                                        $53,786.52
Winter Street Condominiums, LLC
c/o Lynne B. Xerras, Esq.
Holland & Knight LLP
10 St. James Avenue                                                      RS Legacy Corporation fka RadioShack
Boston, MA 02116                                     8065      7/29/2015 Corporation                                               $170,454.18                                                                                       $170,454.18
Lake City Mall, LP
c/o Hull Property Group
Attn. Ashley Dolce
1190 Interestate Parkway                                                 RS Legacy Corporation fka RadioShack
Augusta, GA 30909                                    8066      7/29/2015 Corporation                                                $88,633.43                                                                                        $88,633.43
City of Camden
City Attorney
206 Van Buren NE                                                         RS Legacy Corporation fka RadioShack
Camden, AR 71701                                     8067      7/29/2015 Corporation                                                                                                                                $92.55                $92.55
Look, Jane
2068 Live Oak Blvd                                                       RS Legacy Corporation fka RadioShack
St. Cloud , FL 34771                                 8068      7/29/2015 Corporation                                                      $0.00                                                                                            $0.00
WHLR‐Beaver Ruin, LLC
Menter, Rudin & Trivelpiece, P.C.
Attn: Kevin M. Newman
308 Maltbie Street, Suite 200                                            RS Legacy Corporation fka RadioShack
Syracuse, NY 13204‐1439                              8069      7/29/2015 Corporation                                                  $2,668.28                                                                                        $2,668.28
City and County of Denver/ Treasury
Attn: Karen Katros, Bankruptcy Analyst
201 W. Colfax Avenue, Department 1001                                    RS Legacy Corporation fka RadioShack
Denver, CO 80202                                     8070      7/29/2015 Corporation                                                                     $2,642.27                                                                     $2,642.27
City of Port Orange, Florida
c/o Margaret T. Roberts, City Attorney
1000 City Center Circle                                                  RS Legacy Corporation fka RadioShack
Port Orange, FL 32129                                8071      7/29/2015 Corporation                                                     $91.95                                $0.00                                                      $91.95




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                                                                                                                              Current General                                            Current 503(b)(9)
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            Creditor Name and Address                Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount
Colony Square Mall L.L.C.
c/o Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
101 Park Avenue                                                            RS Legacy Corporation fka RadioShack
New York, NY 10178                                     8072      7/29/2015 Corporation                                                  $4,084.04                                                                                        $4,084.04
Tolbert, Glenda R.
5694 Old Springville Road                                                  RS Legacy Corporation fka RadioShack
Pinson, AL 35126                                       8073      7/29/2015 Corporation                                                                       $54.42                                                                         $54.42
Larzik, Dennis J.
596 Sumner Ave                                                             RS Legacy Corporation fka RadioShack
Belford, NJ 07718                                      8074      7/29/2015 Corporation                                                      $0.00                                                                                            $0.00
Rossi, Cheryl
48 Hall Drive                                                              RS Legacy Corporation fka RadioShack
Norwell, MA 02061                                      8075      7/29/2015 Corporation                                                    $100.00                                                                                          $100.00
Crump, Denise
10404 ‐ Wagner Rd                                                          RS Legacy Corporation fka RadioShack
Snohomish, WA 98290                                    8076      7/28/2015 Corporation                                                                       $86.85                                                                         $86.85
Vortex Industries
3198‐M Airport Loop                                                        RS Legacy Corporation fka RadioShack
Costa Mesa, CA 92626‐3407                              8077      7/28/2015 Corporation                                                  $2,235.37                                                                                        $2,235.37
Sarria Holdings, Inc.
McDonald Hopkins LLC
600 Superior Avenue, East
Suite 2100                                                                 RS Legacy Corporation fka RadioShack
Cleveland, OH 44114                                    8078      7/28/2015 Corporation                                                                                                                                 $0.00                 $0.00
Solis, Juventina
1224 2nd Street                                                            RS Legacy Corporation fka RadioShack
Novato, CA 94945                                       8079      7/28/2015 Corporation                                                     $99.47                                                                                           $99.47
McFadden, Kathleen
416 N Cambridge Ave                                                        RS Legacy Corporation fka RadioShack
Ventnor, NJ 08406                                      8080      7/28/2015 Corporation                                                                      $125.00                                  $0.00                                 $125.00
Kreiss, Joshua
10522 buckhorn ridge court                                                 RS Legacy Corporation fka RadioShack
truckee, CA 96161                                      8081      7/28/2015 Corporation                                                                       $43.08                                  $0.00                                  $43.08
CITY OF POMONA
ATTN REVENUE DIVISION UTILITY BILLING
PO BOX 3179                                                                RS Legacy Corporation fka RadioShack
POMONA, CA 91769‐3179                                  8082      7/28/2015 Corporation                                                    $103.48                                                                                          $103.48
CITY OF SPRINGFIELD
Jim Bodenmiller ‐ City Manager and Jerry Strozdas‐
City Attorney
76 East High Street                                                        RS Legacy Corporation fka RadioShack
Springfield, OH 45502                                  8083      7/28/2015 Corporation                                                    $114.40                                                                                          $114.40
Renda, Heidi
PO DRAWER A                                                                RS Legacy Corporation fka RadioShack
DURANGO, CO 81302                                      8084      7/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Fort Smith Mall LLC
Attn: Robert L. LeHane, Esq.
Kelley Drye & Warren LLP
101 Park Avenue                                                            RS Legacy Corporation fka RadioShack
New York, NY 10178                                     8085      7/28/2015 Corporation                                                $29,353.06                                                                                        $29,353.06




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                                                                                                                              Current General                                             Current 503(b)(9)
                                                                                                                                                    Current Priority    Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                Claim No.   Claim Date                    Debtor                         Unsecured Claim                                              Admin Priority
                                                                                                                                                     Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                      Amount
Leung, Catherine
Attention: Yehuda Miller ‐ Bankruptcy Unit
NYC Department of Finance
Bankruptcy and Assignment Unit
345 Adams Street, 10th Floor                                               RS Legacy Corporation fka RadioShack
Brooklyn, NY 11201                                     8086      7/28/2015 Corporation                                                                     $32,663.31                                                                    $32,663.31
DC USA Operating Co., LLC
c/o Grid Properties, Inc.
Attn: Steven A. Sterneck
2309 Frederick Douglass Blvd.                                              RS Legacy Corporation fka RadioShack
NEW YORK, NY 10027                                     8087      7/28/2015 Corporation                                               $254,972.76                                                                        $0.00           $254,972.76
WARWICK DEVCO, L.P.
C/O R.J. WATERS & ASSOCIATES, INC.
200 OLD FORGE LANE, SUITE 201                                              RS Legacy Corporation fka RadioShack
KENNETT SQUARE, PA 19348                               8088      7/28/2015 Corporation                                                $32,620.56                                                                                         $32,620.56
Moon, Pamela Denise
405 Jefferies Road                                                         RS Legacy Corporation fka RadioShack
Shady Dale, GA 31085                                   8089      7/28/2015 Corporation                                                                                                               $50.00                                  $50.00
Patel, Rashmi
28 Oak Lane
West Bromwich, West Midlands B70 8PN                                       RS Legacy Corporation fka RadioShack
United kingdom                                         8090      7/28/2015 Corporation                                                                         $0.00                                  $0.00                                   $0.00
Smith, Sarah E.
78 Old English Dr                                                          RS Legacy Corporation fka RadioShack
Rochester, NY 14616                                    8091      7/28/2015 Corporation                                                      $0.00                                                                                             $0.00
GOLDEN EAGLE MANAGEMENT LLC
2775 VIA DE LA VALLE Suite 200                                             RS Legacy Corporation fka RadioShack
DEL MAR, CA 92014                                      8092      7/28/2015 Corporation                                               $106,391.28                                                                                        $106,391.28
Beckerman, Barbara
4 Deer Creek Drive                                                         RS Legacy Corporation fka RadioShack
Madison, CT 06443                                      8093      7/28/2015 Corporation                                                                                                              $100.00                                 $100.00
Columbia County Tax Commissioner's Office
Attn: Brittany Austin
P.O. Box 3030                                                              RS Legacy Corporation fka RadioShack
Evans, GA 30809                                        8094      7/27/2015 Corporation                                                                      $1,338.58                                                                     $1,338.58
Treasurer of Virginia
Virginia Department of the Treasury
Division of Unclaimed Property
PO Box 2478                                                                RS Legacy Corporation fka RadioShack
Richmond, VA 23218‐2393                                8095      7/28/2015 Corporation                                               $105,740.90                                                                                        $105,740.90
COMBINED PROCESSING CENTER
970‐375‐4503
PO DRAWER A                                                                RS Legacy Corporation fka RadioShack
DURANGO, CO 81302                                      8096      7/28/2015 Corporation                                                      $0.00                                                     $0.00                                   $0.00
David Verderame as Class Representative on Behalf
of Himself, the Certified Class of 569 Individuals
Listed in the Attached Table, and the Court‐
Appointed Class Counsel.
c/o Christopher D. Loizides, Esquire
Loizides, P.A.
1225 King Street, Ste. 800                                                 RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                                   8097      7/27/2015 Corporation                                             $7,369,517.44                                                                                      $7,369,517.44



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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Kaske, Sandra J.
5308 Vincent Ave South                                         RS Legacy Corporation fka RadioShack
Minneapolis, MN 55410                      8098      7/27/2015 Corporation                                                     $64.56                                                                                           $64.56
Guevara Alfaro, Cesar Pedro
4640 Dowel Ave                                                 RS Legacy Corporation fka RadioShack
Palmdale, CA 93552                         8099      7/27/2015 Corporation                                                     $30.00                                                                                           $30.00
Wyoming State Treasurers Office
Unclaimed Property Division
2515 Warren Avenue Suite 502                                   RS Legacy Corporation fka RadioShack
Cheyenne, WY 82002                         8100      7/27/2015 Corporation                                                $13,550.97                                                                                        $13,550.97
Shimunov, Ilya
147‐51 77 Ave                                                  RS Legacy Corporation fka RadioShack
Flushing, NY 11367                         8101      7/27/2015 Corporation                                                    $175.00                                                                                          $175.00
Kesachekian, Vahe David
17447 Rushing Drive                                            RS Legacy Corporation fka RadioShack
Granada Hills, CA 91344                    8102      7/27/2015 Corporation                                                      $0.00                                                                                            $0.00
Kesachekian, Vahe David
17447 Rushing Drive                                            RS Legacy Corporation fka RadioShack
Granada Hills, CA 91344                    8103      7/27/2015 Corporation                                                      $0.00                                                                                            $0.00
Kesachekian, Vahe David
17447 Rushing Drive                                            RS Legacy Corporation fka RadioShack
Granada Hills, CA 91344                    8104      7/27/2015 Corporation                                                      $0.00                                                                                            $0.00
PANSE, BHAVANA
10353, MILLER AVE. UNIT 1                                      RS Legacy Corporation fka RadioShack
CUPERTINO, CA 95014                        8105      7/27/2015 Corporation                                                                                                              $25.00                                  $25.00
Hernandez, Edwin
1 1st St willowpoint #43                                       RS Legacy Corporation fka RadioShack
Lakeport, CA 95453                         8106      7/27/2015 Corporation                                                                      $222.38                                                                        $222.38
The Ohio Department of Taxation
Bankruptcy Div.
PO Box 530                                                     RS Legacy Corporation fka RadioShack
Columbus, OH 43216                         8107      7/27/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
Sprague, Beth M
5610 Timberline                                                RS Legacy Corporation fka RadioShack
College Station, TX 77845                  8108      7/27/2015 Corporation                                                     $29.50                                                                                           $29.50
GOLDEN EAGLE MANAGEMENT LLC
2775 VIA DE LA VALLE Suite 200                                 RS Legacy Corporation fka RadioShack
DEL MAR, CA 92014                          8109      7/27/2015 Corporation                                                                                                                                $15.97                $15.97
Smith, Orlean
6505.5 S. Lowe Ave                                             RS Legacy Corporation fka RadioShack
CHICAGO, IL 60621                          8110      7/27/2015 Corporation                                                     $40.00                                                                                           $40.00
Anne Arundel County, Maryland
County Finance Office
PO Box 2700, MS 1103                                           RS Legacy Corporation fka RadioShack
Annapolis, MD 21404                        8111      7/27/2015 Corporation                                                    $211.77              $0.00                                                                       $211.77
Bibb County
Attn: Consumer Protection Agency
Judd Drake ‐ County Attorney
700 Poplar Street
Room 309                                                       RS Legacy Corporation fka RadioShack
Macon, GA 31201                            8112      7/27/2015 Corporation                                                                     $4,285.60                                                                     $4,285.60




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            Creditor Name and Address               Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount
City of Chesapeake Treasurer's Office
Wendy M. Roenker, Esq. VSB # 47345
PO Box 16495                                                              RS Legacy Corporation fka RadioShack
Chesapeake, VA 23328‐6495                             8113      7/27/2015 Corporation                                                                                                                                $139.54               $139.54
Harley, William
6410 northeast 18th terr.                                                 RS Legacy Corporation fka RadioShack
Ft. Lauderdale, FL 33308                              8114      7/26/2015 Corporation                                                      $42.38                                                                                           $42.38
Stegman, Patty
90 Briarcliff Road                                                        RS Legacy Corporation fka RadioShack
Tenafly, NJ 07670                                     8115      7/26/2015 Corporation                                                       $0.00                                                                                            $0.00
HT West End LLC
Bryan Kaplan
Glenridge Highlands One
Ste. 800
5555 Glenridge Connector                                                  RS Legacy Corporation fka RadioShack
Atlanta, GA 30342                                     8116      7/24/2015 Corporation                                                   $3,469.68                                                                                        $3,469.68
PMK Family, LLC
531 Bayview Drive                                                         RS Legacy Corporation fka RadioShack
Toms River, NJ 08753‐2003                             8117      7/24/2015 Corporation                                                 $20,000.00                                                                                        $20,000.00
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
Gilbert R. Saydah, Esq.
101 Park Avenue                                                           RS Legacy Corporation fka RadioShack
New York, NY 10178                                    8118      7/24/2015 Corporation                                                $109,879.33                                                                                       $109,879.33
State of New York Department of Labor
Unemployment Insurance Division
Governor W. Averell
Harriman State Office Building Campus
Building 12, Room 256                                                     RS Legacy Corporation fka RadioShack
Albany, NY 12240                                      8119      7/20/2015 Corporation                                                                          $0.00                                                                         $0.00
GORMAN, ROBERT SCOTT
20465 N. 17th Way                                                         RS Legacy Corporation fka RadioShack
Phoenix, AZ 85024‐4322                                8120      7/23/2015 Corporation                                                      $20.30                                                                                           $20.30
McCormick, Wilma
149 Addisons Lane                                                         RS Legacy Corporation fka RadioShack
Seymour, IN 47274‐7436                                8121      7/24/2015 Corporation                                                       $0.00                                                                                            $0.00

Equity One (West Coast Portfolio) Inc. (Westwood)
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
Gilbert R. Saydah, Esq.
101 Park Avenue                                                           RS Legacy Corporation fka RadioShack
New York, NY 10178                                    8122      7/22/2015 Corporation                                                       $0.00                                                                                            $0.00
Mach, Phuong
3309 Esquarre Ct                                                          RS Legacy Corporation fka RadioShack
Woodbridge, VA 22193                                  8123      7/22/2015 Corporation                                                     $100.00                                                                                          $100.00
WELL SHIN TECHNOLOGY CO., LTD.
NO. 196, XIN HU 3rd Rd                                                    RS Legacy Global Sourcing Limited Partnership
NEI HU, TAIPEI 114                                                        fka RadioShack Global Sourcing Limited
TAIWAN                                                8124      7/22/2015 Partnership                                                       $0.00                                                                                            $0.00




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                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
Inland Western Spokane Northpointe, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                           RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                              8125      7/21/2015 Corporation                                                                                                                             $8,012.58             $8,012.58
Smith Jr, Robert E.
701 Greenbrook Road                                                 RS Legacy Corporation fka RadioShack
North Plainfield, NJ 07063‐1666                 8126      7/24/2015 Corporation                                                     $19.42                                                                                           $19.42
Commonwealth of Kentucky
Unclaimed Property Division
1050 US Hwy 127 S. Ste. 100                                         RS Legacy Corporation fka RadioShack
Frankfort, KY 40601                             8127      7/29/2015 Corporation                                                $34,684.88                                                                                        $34,684.88
Forest city Commercial Management, Inc.
50 Public Square
Terminal Tower
Suite 1360                                                          RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                             8128      7/22/2015 Corporation                                                  $6,088.11                                                                                        $6,088.11
Velazco, Katie
951 Fell St #328                                                    RS Legacy Corporation fka RadioShack
Baltimore, MD 21231                             8129      7/30/2015 Corporation                                                     $50.00                                                                                           $50.00
Ogles, Aurelia
2517 Tecumseh Ave                                                   RS Legacy Corporation fka RadioShack
Leesburg, FL 34748                              8130      7/30/2015 Corporation                                                     $90.00                                                                                           $90.00
CITY OF ROSENBERG
PO BOX 631                                                          RS Legacy Corporation fka RadioShack
ROSENBERG, TX 77471                             8131      7/30/2015 Corporation                                                    $184.78                                                                                          $184.78
Alvarez, Jorge
1640 Ocean Avenue, Apt. 5E                                          RS Legacy Corporation fka RadioShack
Brooklyn, NY                                    8132      7/29/2015 Corporation                                                     $34.99                                                                                           $34.99
Schirf, Jennifer
1731 Dailey Ave                                                     RS Legacy Corporation fka RadioShack
Latrobe, PA 15650                               8133      7/30/2015 Corporation                                                     $25.00                                                                                           $25.00
Schwartz, Lawrence
8 Twin Ledge Road                                                   RS Legacy Corporation fka RadioShack
Norwalk, CT 06854                               8134      7/30/2015 Corporation                                                     $15.94                                                                                           $15.94
City of Brea
Attn: Alicia Lopez, Administrative Services
1 Civic Center Circle                                               RS Legacy Corporation fka RadioShack
Brea, CA 92821                                  8135      7/29/2015 Corporation                                                    $182.00                                                                                          $182.00
Nguyen, Linh
11413 campbell lane                                                 RS Legacy Corporation fka RadioShack
New Orleans, LA 70128                           8136      7/30/2015 Corporation                                                    $100.00                                                                                          $100.00
Mallatt, Michael
2136 Valdes Dr                                                      RS Legacy Corporation fka RadioShack
Santa Rosa, CA 95403                            8137      7/30/2015 Corporation                                                                       $50.00              $0.00                                                      $50.00
City of Memphis, Treasurer
PO Box 185                                                          RS Legacy Corporation fka RadioShack
Memphis, TN 38101‐0185                          8138      7/30/2015 Corporation                                                     $25.49                                                                                           $25.49
Shelby County Trustee
PO Box 2751                                                         RS Legacy Corporation fka RadioShack
Memphis, TN 38101‐2751                          8139      7/27/2015 Corporation                                                      $0.00                                                                                            $0.00



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            Creditor Name and Address             Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                     Amount
Shelby County Trustee
PO Box 2751                                                             RS Legacy Corporation fka RadioShack
Memphis, TN 38101‐2751                              8140      7/27/2015 Corporation                                                    $178.30                                                                                          $178.30
Patel, Mona
4 Wooley Way                                                            RS Legacy Corporation fka RadioShack
Ocean, NJ 07712                                     8141      7/30/2015 Corporation                                                     $42.79                                                                                           $42.79
Shelby County Trustee
PO Box 2751                                                             RS Legacy Corporation fka RadioShack
Memphis, TN 38101‐2751                              8142      7/27/2015 Corporation                                                    $297.60                                                                                          $297.60
Shelby County Trustee
PO Box 2751                                                             RS Legacy Corporation fka RadioShack
Memphis, TN 38101‐2751                              8143      7/27/2015 Corporation                                                    $274.00                                                                                          $274.00
City of Memphis, Treasurer
PO BOX 185                                                              RS Legacy Corporation fka RadioShack
MEMPHIS, TN 38101‐0185                              8144      7/30/2015 Corporation                                                    $165.24                                                                                          $165.24
City of Memphis, Treasurer
PO BOX 185                                                              RS Legacy Corporation fka RadioShack
MEMPHIS, TN 38101‐0185                              8145      7/27/2015 Corporation                                                    $138.72                                                                                          $138.72
Shelby County Trustee
PO Box 2751                                                             RS Legacy Corporation fka RadioShack
Memphis, TN 38101‐2751                              8146      7/27/2015 Corporation                                                    $103.57                                                                                          $103.57
City of Memphis, Treasurer
PO BOX 185                                                              RS Legacy Corporation fka RadioShack
MEMPHIS, TN 38101‐0185                              8147      7/27/2015 Corporation                                                    $231.53                                                                                          $231.53
Shelby County Trustee
PO Box 2751                                                             RS Legacy Corporation fka RadioShack
Memphis, TN 38101‐2751                              8148      7/27/2015 Corporation                                                    $133.72                                                                                          $133.72
City of Memphis, Treasurer
PO BOX 185                                                              RS Legacy Corporation fka RadioShack
MEMPHIS, TN 38101‐0185                              8149      7/27/2015 Corporation                                                    $213.18                                                                                          $213.18
City of Memphis, Treasurer
PO BOX 185                                                              RS Legacy Corporation fka RadioShack
MEMPHIS, TN 38101‐0185                              8150      7/27/2015 Corporation                                                    $108.12                                                                                          $108.12
Shelby County Trustee
PO Box 2751                                                             RS Legacy Corporation fka RadioShack
Memphis, TN 38101‐2751                              8151      7/30/2015 Corporation                                                    $138.97                                                                                          $138.97
State of New Jersey
Unclaimed Property Administration
50 West State Street, 6th Floor                                         RS Legacy Corporation fka RadioShack
Trenton, NJ 08625                                   8152      7/30/2015 Corporation                                               $205,967.77                                                                                       $205,967.77
A.J. Richard & Sons, Inc.
c/o FARRELL FRITZ, P.C.
Ted A. Berkowitz
Darren A. Pascarella
1320 RXR Plaza                                                          RS Legacy Corporation fka RadioShack
Uniondale, NY 11556‐1320                            8153      7/30/2015 Corporation                                               $226,003.48                                                                                       $226,003.48
Schaffer, Eric A.
225 Fifth Avenue, Suite 1200                                            RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15222                                8154      7/30/2015 Corporation                                                                       $52.42                                                                         $52.42
Tara Hills Villas, Inc., a Nebraska Corporation
818 Tara Plaza                                                          RS Legacy Corporation fka RadioShack
Papillion, NE 68046                                 8155      7/30/2015 Corporation                                                                                                                             $2,952.51             $2,952.51



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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Tara Hills Villas, Inc.
c/o Michael J. Hogan
818 Tara Plaza                                                 RS Legacy Corporation fka RadioShack
Papillion, NE 68046                        8156      7/30/2015 Corporation                                                      $0.00                                                                                            $0.00
Freeman, Ashlea
912 11th Street                                                RS Legacy Corporation fka RadioShack
Wolfforth, TX 79382                        8157      7/30/2015 Corporation                                                     $60.00                                                                                           $60.00
Waters, Mena
3218 Bayfield Street                                           RS Legacy Corporation fka RadioShack
Cocoa, FL 32926                            8158      7/30/2015 Corporation                                                     $19.13                                                                                           $19.13
City of Memphis, Treasurer
PO BOX 185                                                     RS Legacy Corporation fka RadioShack
MEMPHIS, TN 38101‐0185                     8159      7/27/2015 Corporation                                                                                         $104.04                                                     $104.04
Shelby County Trustee
PO Box 2751                                                    RS Legacy Corporation fka RadioShack
Memphis, TN 38101‐2751                     8160      7/27/2015 Corporation                                                    $212.38                                                                                          $212.38
Shelby County Trustee
PO Box 2751                                                    RS Legacy Corporation fka RadioShack
Memphis, TN 38101‐2751                     8161      7/27/2015 Corporation                                                    $150.77                                                                                          $150.77
Howe, Brennan Janay
19471 Tonto Rd.                                                RS Legacy Corporation fka RadioShack
Apple Valley, CA 92307                     8162      7/30/2015 Corporation                                                      $0.00                                                                                            $0.00
Thompson, Kirk G.
PO Box 117                                                     RS Legacy Corporation fka RadioShack
Frederiksted, VI 00841                     8163      7/30/2015 Corporation                                                                                                             $600.00                                 $600.00
City of Memphis, Treasurer
PO BOX 185                                                     RS Legacy Corporation fka RadioShack
MEMPHIS, TN 38101‐0185                     8164      7/27/2015 Corporation                                                                                           $0.00                                                       $0.00
Meyers, Tom
6944 SE Yamhill St                                             RS Legacy Corporation fka RadioShack
Portland, OR 97215                         8165      7/30/2015 Corporation                                                     $12.99                                                                                           $12.99
Chen, Hui
264 Newbury Ave                                                RS Legacy Corporation fka RadioShack
Quincy, MA 02171                           8166      7/30/2015 Corporation                                                    $360.00                                                                                          $360.00
OSTER BELLEVILLE PROPERTIES, LLC
Richard L. Zucker, Esq.,
Lasser Hochman, LLC
75 Eisenhower Parkway                                          RS Legacy Corporation fka RadioShack
Roseland, NJ 07068                         8167      7/30/2015 Corporation                                                $10,385.41                                                                   $6,413.95            $16,799.36
Shelby County Trustee
PO Box 2751                                                    RS Legacy Corporation fka RadioShack
Memphis, TN 38101‐2751                     8168      7/27/2015 Corporation                                                     $32.78                                                                                           $32.78
Shelby County Trustee
PO Box 2751                                                    RS Legacy Corporation fka RadioShack
Memphis, TN 38101‐2751                     8169      7/27/2015 Corporation                                                    $211.86                                                                                          $211.86
Shelby County Trustee
PO Box 2751                                                    RS Legacy Corporation fka RadioShack
Memphis, TN 38101‐2751                     8170      7/27/2015 Corporation                                                     $74.17                                                                                           $74.17
CITY OF MOORE
Randy Brink ‐ City Attorney
301 N. Broadway                                                RS Legacy Corporation fka RadioShack
Moore, OK 73160‐5130                       8171      7/27/2015 Corporation                                                    $176.90                                                                                          $176.90



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                                                                                                                                           Claim Amount         Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                       Amount
Hager, Oscar A
6253 W Deer Valley Rd                                            RS Legacy Corporation fka RadioShack
Glendale, AZ 85308                           8172      7/30/2015 Corporation                                                     $87.35                                                                                             $87.35
State of Louisiana
Department of the Treasury
Unclaimed Property Division
PO Box 91010                                                     RS Legacy Corporation fka RadioShack
Baton Rouge, LA 70821‐9010                   8173      7/31/2015 Corporation                                                $48,267.90                                                                                          $48,267.90
COUNTY COLLECTOR
ST CHARLES COUNTY GOVERNMENT
201 N SECOND STREET ROOM 134                                     RS Legacy Corporation fka RadioShack
ST CHARLES, MO 63301                         8174      7/31/2015 Corporation                                                                        $924.20                                                                        $924.20
Jaffe, Stephanie
153 Old Oak Court East                                           RS Legacy Corporation fka RadioShack
Buffalo Grove, IL 60089                      8175      7/31/2015 Corporation                                                      $9.17                                                                                              $9.17
Liberman, Barbara
6530 N. Kimball Avenue                                           RS Legacy Corporation fka RadioShack
Lincolnwood, IL 60712                        8176      7/31/2015 Corporation                                                     $26.98                                                                                             $26.98
Arizona Consumer Protection and Advocacy
c/o Matthew A. Silverman
Arizona Attorney General's Office
1275 West Washington Street                                      RS Legacy Corporation fka RadioShack
Phoenix, AZ 85007                            8177      7/31/2015 Corporation                                                      $0.00                                                                                              $0.00
Nagy, Jonathan
2127 Quarry Valley Rd.                                           RS Legacy Corporation fka RadioShack
Columbus, OH 43204                           8178      7/31/2015 Corporation                                                      $7.89                                                                                              $7.89
Gann, Emily
822 S. 4th Street, Apt C                                         RS Legacy Corporation fka RadioShack
PHILADELPHIA, PA 19147                       8179      7/31/2015 Corporation                                                     $20.00                                                                                             $20.00
Claim Docketed In Error                                          RS Legacy Corporation fka RadioShack
                                             8180      7/31/2015 Corporation                                                                                                                                                         $0.00
Massachusetts Department of Revenue
Bankruptcy Unit
PO Box 9564                                                      RS Legacy Corporation fka RadioShack
Boston, MA 02114                             8181      7/31/2015 Corporation                                                                     $161,433.62                                                                   $161,433.62
Eaton, Rebecca
39 Callahan Rd                                                   RS Legacy Corporation fka RadioShack
Canfield, OH 44406                           8182      7/31/2015 Corporation                                                     $54.61                                                                                             $54.61
Barnett, Kevin
5637 Sweetwater Dr                                               RS Legacy Corporation fka RadioShack
El Paso, TX 79924                            8183      7/31/2015 Corporation                                                                                                                $47.00                                  $47.00
160 Market Street Equities, LLC
c/o Alma Realty Corp.
31‐10 37th Avenue, Suite 500                                     RS Legacy Corporation fka RadioShack
Long Island, NY 11101                        8184      7/31/2015 Corporation                                                  $1,024.94                                                                                          $1,024.94
Avila, Jose G.
636 Andalucia Dr.                                                RS Legacy Corporation fka RadioShack
Soledad, CA 93960                            8185      7/31/2015 Corporation                                                    $175.00                                                                                            $175.00
Broughton, Theodora
10458 Westover                                                   RS Legacy Corporation fka RadioShack
Detroit, MI 48204                            8186      7/31/2015 Corporation                                                                         $63.40              $0.00                                                      $63.40




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                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
Sanderfer, Shawn
561 Washington Blvd.                                             RS Legacy Corporation fka RadioShack
Marina Del Rey, CA 90292                     8187      7/31/2015 Corporation                                                                                                              $18.45                                  $18.45
Simpson, Dean
242 Canyon Rd.                                                   RS Legacy Corporation fka RadioShack
Newbury Park, CA 91320                       8188      7/31/2015 Corporation                                                     $45.77                                                                                           $45.77
CITY OF VIRGINIA BEACH
City of Virginia Beach Treasurer
Bankruptcy Records
2401 Courthouse Drive                                            RS Legacy Corporation fka RadioShack
VIRGINIA BEACH, VA 23456                     8189      7/31/2015 Corporation                                                  $1,671.00                                                                                        $1,671.00
Gwin, Daphna
29511 Hwy 107                                                    RS Legacy Corporation fka RadioShack
Cabot, AR 72023                              8190      7/31/2015 Corporation                                                                       $93.05                                                                         $93.05
Illinois State Treasurer
c/o James Newbold
Assistant Attorney General
100 W. Randolph Street                                           RS Legacy Corporation fka RadioShack
Chicago, IL 60601                            8191      7/31/2015 Corporation                                                                                           $0.00                                                       $0.00
County of Orange
Attn: Bankruptcy Unit
PO Box 4515                                                      RS Legacy Corporation fka RadioShack
Santa Ana, CA 92702‐4515                     8192      7/31/2015 Corporation                                                                         $0.00                                                                         $0.00
Florida Department of Revenue
Michelle Kennedy, Revenue Specialist III
Bankruptcy Unit
PO Box 6668                                                      RS Legacy Corporation fka RadioShack
Tallahassee, FL 32314‐6668                   8193      7/31/2015 Corporation                                                      $0.00                                                                                            $0.00
Texas Comptroller of Public Accounts
c/o Office of the Attorney General
Bankruptcy ‐ Collection Division MC‐008
PO Box 12548                                                     RS Legacy Corporation fka RadioShack
Austin, TX 78711‐2548                        8194      7/31/2015 Corporation                                               $337,693.46                                                                                       $337,693.46
Morrow, Dawn
2370 NW Cantebury Dr.                                            RS Legacy Corporation fka RadioShack
Roseburg, OR 97471                           8195      7/31/2015 Corporation                                                     $10.00                                                                                           $10.00
Wethington, Bradley
911 NE Ravenna Blvd                                             RS Legacy Corporation fka RadioShack
Seattle, WA 98115                            8196      8/2/2015 Corporation                                                       $0.00                               $24.61                                                      $24.61
Tariq, Mohammad
6401 Orchard Woods Drive                                        RS Legacy Corporation fka RadioShack
West Bloomfield, MI 48324                    8197      8/3/2015 Corporation                                                                                                               $55.15                                  $55.15
Hazim, Saad
12750 Laurel St. #507                                           RS Legacy Corporation fka RadioShack
Lakeside, CA 92040                           8198      8/3/2015 Corporation                                                      $25.00                                                                                           $25.00
Town of Leesburg
Barbara A. Notar, Esq.
Town Attorney
25 West Market Street                                           RS Legacy Corporation fka RadioShack
Leesburg, VA 20176                           8199      8/3/2015 Corporation                                                      $40.45                                                                                           $40.45




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Chittipolu, Sujeev
301 Pruitt Rd
APT 1621                                                      RS Legacy Corporation fka RadioShack
Spring, TX 77380                           8200      8/2/2015 Corporation                                                     $100.00                                                                                          $100.00
NYC Department of Finance
Attn: Yehuda Miller
Bankruptcy and Assignment Unit
345 Adams Street, 10th Floor                                   RS Legacy Corporation fka RadioShack
Brooklyn, NY 11201                         8201      7/31/2015 Corporation                                                                         $0.00                                                                         $0.00
Kimco Westlake L.P.
c/o Morgan, Lewis & Bockius LLP
Attn: Neil Herman, Esq.
James Moore, Esq.
101 Park Avenue                                                RS Legacy Corporation fka RadioShack
New York, NY 10178                         8202      7/31/2015 Corporation                                                $75,842.10                                                                                        $75,842.10
Permelynn of Westchester, Inc.
c/o Morgan, Lewis & Bockius LLP
Attn: Neil Herman, Esq.
James Moore, Esq.
101 Park Avenue                                                RS Legacy Corporation fka RadioShack
New York, NY 10178                         8203      7/31/2015 Corporation                                                $29,685.57                                                                   $3,506.08            $33,191.65
Wang, Xiao
9922 EDEN VALLEY DR                                            RS Legacy Corporation fka RadioShack
SPRING, TX 77379                           8204      7/31/2015 Corporation                                                     $50.00                                                                                           $50.00
Como, Andrew
5 Alcolade Drive W                                            RS Legacy Corporation fka RadioShack
Shirley, NY 11967                          8205      8/3/2015 Corporation                                                      $83.72                                                                                           $83.72
CABARRUS COUNTY TAX COLLECTOR
PO BOX 7078                                                   RS Legacy Corporation fka RadioShack
CONCORD, NC 28026                          8206      8/3/2015 Corporation                                                                       $362.50                                                                        $362.50
Allison, Aaron
8729 Villa Crest Dr.                                          RS Legacy Corporation fka RadioShack
Saint Louis, MO 63126                      8207      8/3/2015 Corporation                                                      $20.00                                                                                           $20.00
Fernandes, Jaqueline
1064 N Taniami TRL Unit 1201                                  RS Legacy Corporation fka RadioShack
Sarasota, FL 31236                         8208      8/3/2015 Corporation                                                       $0.00                                                                                            $0.00
Fernandes, Jaqueline
750 N Tamiami Trail unit 309                                  RS Legacy Corporation fka RadioShack
Sarasota, FL 34236                         8209      8/3/2015 Corporation                                                     $568.42                                                                                          $568.42
Claim Docketed In Error                                       RS Legacy Corporation fka RadioShack
                                           8210      8/3/2015 Corporation                                                                                                                                                        $0.00
Sullivan, Rita
102 Surry Road                                                RS Legacy Corporation fka RadioShack
Elk City, OK 73644                         8211      8/3/2015 Corporation                                                     $100.00                                                                                          $100.00
Hawkins, Shirley
10 Museum Way
Unit 221                                                      RS Legacy Corporation fka RadioShack
Cambridge, MA 02141                        8212      8/3/2015 Corporation                                                      $10.00                                                                                           $10.00
Jones, Andrea
2138 Howard Pl                                                RS Legacy Corporation fka RadioShack
Bellmore, NY 11710                         8213      8/3/2015 Corporation                                                      $50.00                                                                                           $50.00




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                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount

Commonwealth Of Puerto Rico
Office of the Commissioner of Financial Institutions
PO Box 11855                                                                RS Legacy Corporation fka RadioShack
San Juan, PR 00910‐3855                                  8214      8/3/2015 Corporation                                               $235,723.03                                                                                       $235,723.03
Langford, Camille J
4504 Tall Hickory Drive                                                     RS Legacy Customer Service LLC fka RadioShack
Midlothian, VA 23112                                     8215      8/3/2015 Customer Service LLC                                                                                                      $8.55                                   $8.55
Mehdi, Sam
2014 Cambridge Place                                                        RS Legacy Corporation fka RadioShack
South Pasadena, CA 91030                                 8216      8/3/2015 Corporation                                                     $37.45                                                                                           $37.45
SOUTHERN CONNECTICUT GAS
517 Church Street
Legal Dept                                                                  RS Legacy Corporation fka RadioShack
New Heaven, CT 06506                                     8217      8/3/2015 Corporation                                                    $387.97                                                                                          $387.97
Bassett Jr., Donald E.
54 Zeno Crocker Rd.                                                         RS Legacy Corporation fka RadioShack
Centerville, MA 02632                                    8218      8/3/2015 Corporation                                                    $109.71                                                                                          $109.71
Watson, James Leon
331 Tulane Cir                                                              RS Legacy Corporation fka RadioShack
Avon Park, FL 33825                                      8219      8/3/2015 Corporation                                                    $353.09                                                                                          $353.09
SOUTHERN CONNECTICUT GAS
517 Church Street
Legal Dept                                                                  RS Legacy Corporation fka RadioShack
New Heaven, CT 06506                                     8220      8/3/2015 Corporation                                                    $420.80                                                                                          $420.80
SOUTHERN CONNECTICUT GAS
517 Church Street
Legal Dept                                                                  RS Legacy Corporation fka RadioShack
New Heaven, CT 06506                                     8221      8/3/2015 Corporation                                                    $515.59                                                                                          $515.59
SOUTHERN CONNECTICUT GAS
517 Church Street
Legal Dept                                                                  RS Legacy Corporation fka RadioShack
New Heaven, CT 06506                                     8222      8/3/2015 Corporation                                                  $1,203.78                                                                                        $1,203.78
SOUTHERN CONNECTICUT GAS
517 Church Street
Legal Dept                                                                  RS Legacy Corporation fka RadioShack
New Heaven, CT 06506                                     8223      8/3/2015 Corporation                                                    $551.83                                                                                          $551.83
SOUTHERN CONNECTICUT GAS
517 Church Street
Legal Dept                                                                  RS Legacy Corporation fka RadioShack
New Heaven, CT 06506                                     8224      8/3/2015 Corporation                                                    $341.02                                                                                          $341.02
SOUTHERN CONNECTICUT GAS
517 Church Street
Legal Dept                                                                  RS Legacy Corporation fka RadioShack
New Heaven, CT 06506                                     8225      8/3/2015 Corporation                                                    $191.53                                                                                          $191.53
SOUTHERN CONNECTICUT GAS
517 Church Street
Legal Dept                                                                  RS Legacy Corporation fka RadioShack
New Heaven, CT 06506                                     8226      8/3/2015 Corporation                                                    $867.88                                                                                          $867.88




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            Creditor Name and Address          Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
SOUTHERN CONNECTICUT GAS
517 Church Street
Legal Dept                                                          RS Legacy Corporation fka RadioShack
New Heaven, CT 06506                             8227      8/3/2015 Corporation                                                     $975.93                                                                                          $975.93
Florida Department of Financial Services
200 East Gaines Street                                              RS Legacy Corporation fka RadioShack
Tallahassee, FL 32399‐4229                       8228      8/3/2015 Corporation                                                $388,510.79                                                                                       $388,510.79
Lopez, Susana
14530 S. Cookacre St                                                RS Legacy Corporation fka RadioShack
Compton, CA 90221                                8229      8/3/2015 Corporation                                                      $21.79                                                                                           $21.79
KINGS COUNTY TAX COLLECTOR
1400 WEST LACEY BLVD.                                               RS Legacy Corporation fka RadioShack
HANFORD, CA 93230                                8230      8/3/2015 Corporation                                                                       $539.80              $0.00                                                     $539.80
SOUTHERN CONNECTICUT GAS
517 Church Street
Legal Dept                                                          RS Legacy Corporation fka RadioShack
New Heaven, CT 06506                             8231      8/3/2015 Corporation                                                     $436.12                                                                                          $436.12
SOUTHERN CONNECTICUT GAS
517 Church Street
Legal Dept                                                          RS Legacy Corporation fka RadioShack
New Heaven, CT 06506                             8232      8/3/2015 Corporation                                                   $1,285.60                                                                                        $1,285.60
SOUTHERN CONNECTICUT GAS
517 Church Street
Legal Dept                                                          RS Legacy Corporation fka RadioShack
New Heaven, CT 06506                             8233      8/3/2015 Corporation                                                     $521.35                                                                                          $521.35
SOUTHERN CONNECTICUT GAS
517 Church Street
Legal Dept                                                          RS Legacy Corporation fka RadioShack
New Heaven, CT 06506                             8234      8/3/2015 Corporation                                                     $966.49                                                                                          $966.49
FORT SMITH MALL LLC
Amy Kuehn, Asset Manager
Gregory Greenfield & Associates, Ltd.
124 Johnson Ferry Road NE                                            RS Legacy Corporation fka RadioShack
ATLANTA, GA 30328                                8235      7/28/2015 Corporation                                                                                                                             $8,571.82             $8,571.82
Missouri State Treasurer's Office, Unclaimed
Property Division
Attn: Scott Harper
301 W. High Street, Ste. 157
PO Box 1272                                                         RS Legacy Corporation fka RadioShack
Jefferson City, MO 65101                         8236      8/3/2015 Corporation                                                 $48,879.43                                                                                        $48,879.43
State of Ohio
Ohio Department of Commerce
Division of Unclaimed Funds
Attn: Denise C. Lee
77 S. High Street, 20th Floor                                       RS Legacy Corporation fka RadioShack
Columbus, OH 43215‐6108                          8237      8/3/2015 Corporation                                                $130,162.73                                                                                       $130,162.73
Tomeo, Marilyn
4362 Hammond Cir                                                    RS Legacy Corporation fka RadioShack
Martinez, GA 30907                               8238      8/3/2015 Corporation                                                      $25.00                                                                                           $25.00
Mayer, Erin
525 E. Constitution Drive #1                                        RS Legacy Corporation fka RadioShack
Palatine, IL 60074                               8239      8/3/2015 Corporation                                                                                           $25.00                                                      $25.00



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            Creditor Name and Address                Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
PRINCE WILLIAM COUNTY
DEPT 871                                                                  RS Legacy Corporation fka RadioShack
ALEXANDRIA, VA 22334                                   8240      8/3/2015 Corporation                                                                     $1,958.16                                                                     $1,958.16

Glenwood Bright Holding Company, LLC
C/O GLENWOOD DEVELOPMENT COMPANY,LLC
9525 BIRKDALE CROSSING DR., SUITE 200                                     RS Legacy Corporation fka RadioShack
HUNTERSVILLE, NC 28078                                 8241      8/3/2015 Corporation                                                  $2,008.72                                                                                        $2,008.72

State of Hawaii Office of Consumer Protection
Attn: James F. Evers
235 S. Beretania Street, Room 801                                         RS Legacy Corporation fka RadioShack
Honolulu, HI 96813                                     8242      8/3/2015 Corporation                                                                         $0.00                                                                         $0.00
STATE OF ALASKA
Unclaimed Property
Rachel Lewis
PO Box 110405                                                             RS Legacy Corporation fka RadioShack
Juneau, AK 99811‐0405                                  8243      8/3/2015 Corporation                                                  $4,519.00                                                                                        $4,519.00

State of New York on Behalf of New York Consumers
holding unredeemed gift cards issued by the debtor
Clark Russell
Deputy Bureau Chief
New York Attorney General Office
120 Broadway                                                              RS Legacy Corporation fka RadioShack
New York, NY 10271                                     8244      8/4/2015 Corporation                                                      $0.00                                                                                            $0.00
SANISETTY, SAIKRISHNA
2090 HASSELL RD
APT 203                                                                   RS Legacy Corporation fka RadioShack
HOFFMAN ESTATES, IL 60169                              8245      8/4/2015 Corporation                                                     $25.00                                                                                           $25.00
State of Montana Department of Revenue
PO Box 7701                                                               RS Legacy Corporation fka RadioShack
Helena, MT 59604‐7701                                  8246      8/4/2015 Corporation                                                $22,666.07                                                                                        $22,666.07
Feltman, Rosa
1612 Gentilly Dr                                                          RS Legacy Corporation fka RadioShack
Vestavia Hills, AL 35226                               8247      8/4/2015 Corporation                                                    $100.00                                                                                          $100.00
Gray, Dorothy
4819 Sheridan Drive                                                       RS Legacy Corporation fka RadioShack
Jackson, MS 39206                                      8248      8/4/2015 Corporation                                                     $64.79                                                                                           $64.79
Claim Docketed In Error                                                   RS Legacy Corporation fka RadioShack
                                                       8249      8/4/2015 Corporation                                                                                                                                                       $0.00
Crawford, Mike
625 Mary Ingles Highway                                                   RS Legacy Corporation fka RadioShack
Fort Thomas, KY 41075                                  8250      8/4/2015 Corporation                                                                       $66.76                                  $0.00                                  $66.76
Indian River County Utilities
c/o Dylan Reingold, County Attorney
1801 27th Street                                                          RS Legacy Corporation fka RadioShack
Vero Beach, FL 32960                                   8251      8/4/2015 Corporation                                                                                          $34.26                                                      $34.26
VOLUSIA COUNTY WATER & SEWER
DEPT OF FINANCE/WATER & SEWER
123 W INDIANA AVE                                                         RS Legacy Corporation fka RadioShack
DELAND, FL 32720                                       8252      8/4/2015 Corporation                                                    $334.21                                                                                          $334.21



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                                                                                                                 Current General                                            Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
City of Owensboro
Attn: Stephen D. Lynn
PO Box 10003                                                  RS Legacy Corporation fka RadioShack
Owensboro, KY 42302‐9003                   8253      8/4/2015 Corporation                                                                      $246.97                                                                        $246.97
Reyes, Jennifer
1666 Calle Diamonte                                           RS Legacy Corporation fka RadioShack
Newbury Park, CA 91320                     8254      8/4/2015 Corporation                                                    $107.49                                                                                          $107.49
City of Overland Park, KS
Alarm Coordinator
12400 Foster Street                                           RS Legacy Corporation fka RadioShack
Overland Park, KS 66213                    8255      8/4/2015 Corporation                                                     $85.00              $0.00                                                                        $85.00
Young, Charles
2741 Palo Duro Drive                                          RS Legacy Corporation fka RadioShack
San Angelo, TX 76904‐7448                  8256      8/4/2015 Corporation                                                     $50.00                                                                                           $50.00
KITSAP COUNTY TREASURER
PO BOX 299                                                    RS Legacy Corporation fka RadioShack
BREMERTON, WA 98337                        8257      8/4/2015 Corporation                                                                                         $477.50                                                     $477.50
State of Iowa Treasurer's Office
321 E 12th St                                                 RS Legacy Corporation fka RadioShack
Des Moines, IA 50319                       8258      8/4/2015 Corporation                                                $28,484.42                                                                                        $28,484.42
KITSAP COUNTY TREASURER
PO BOX 299                                                    RS Legacy Corporation fka RadioShack
BREMERTON, WA 98337                        8259      8/4/2015 Corporation                                                                                         $358.88                                                     $358.88
City of Overland Park, KS
Alarm Coordinator
12400 Foster Street                                           RS Legacy Corporation fka RadioShack
Overland Park, KS 66213                    8260      8/4/2015 Corporation                                                    $300.00              $0.00                                                                       $300.00
Hermetic Rush Services, Inc.
PO Box 5565                                                   RS Legacy Corporation fka RadioShack
Jackson, MS 39288                          8261      8/4/2015 Corporation                                                  $2,908.18                                                                                        $2,908.18
Domenech, Carlos O
Hc 02 Box 9366                                                RS Legacy Corporation fka RadioShack
Aibonito, PR 00705                         8262      8/4/2015 Corporation                                                      $0.00                                                                                            $0.00
Cote, Kathleen
1187 Alfred Road                                              RS Legacy Corporation fka RadioShack
Arundel, ME 04046                          8263      8/4/2015 Corporation                                                                                                              $31.64                                  $31.64
Ross, Cheryl
755 E. Hedgelawn Way                                          RS Legacy Corporation fka RadioShack
Southern Pines, NC 28387                   8264      8/4/2015 Corporation                                                     $42.69                                                                                           $42.69
Adelberg, Robert
18 Bellevue Ave                                               RS Legacy Corporation fka RadioShack
Cambridge, MA 02140                        8265      8/4/2015 Corporation                                                    $134.17                                                                                          $134.17
DEPT OF PUBLIC UTILITIES
OHIO BUILDING
420 MADISON AVE STE 100                                       RS Legacy Corporation fka RadioShack
TOLEDO, OH 43667                           8266      8/4/2015 Corporation                                                    $209.55                                $0.00                                                     $209.55
City of Fairfax
Treasurer's Office
10455 Armstrong Street                                        RS Legacy Corporation fka RadioShack
Fairfax, VA 22030                          8267      8/4/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00




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                                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                     Amount                                                     Amount
Stewart, James
448 El Capitan Dr.                                                            RS Legacy Corporation fka RadioShack
Danville, CA 94526                                         8268      8/4/2015 Corporation                                                     $22.50                                                                                           $22.50
Claim Docketed In Error                                                       RS Legacy Corporation fka RadioShack
                                                           8269      8/4/2015 Corporation                                                                                                                                                       $0.00
CITY OF WINTER HAVEN, FLORIDA
Attn: Frederick J. Murphy, Jr., City Attorney
451 Third Street, N.W.                                                        RS Legacy Corporation fka RadioShack
Winter Haven, FL 33881                                     8270      8/4/2015 Corporation                                                    $548.65                                                                                          $548.65
City of San Diego
1200 Third Avenue, Suite 1100                                                 RS Legacy Corporation fka RadioShack
San Diego, CA 92101                                        8271      8/4/2015 Corporation                                                                         $0.00                                                                         $0.00
ROBESON COUNTY TAX ADMINISTRATION
C/O KRIS L MCMILLAN
500 N ELM ST                                                                  RS Legacy Corporation fka RadioShack
LUMBERTON, NC 28358                                        8272      8/4/2015 Corporation                                                                      $909.40                                                                        $909.40
Nebraska State Treasurer's Office
Unclaimed Property Division
809 P ST                                                                      RS Legacy Corporation fka RadioShack
Lincoln, NE 68508                                          8273      8/4/2015 Corporation                                                $17,254.95                                                                                        $17,254.95
Chapa, Nathaniel
100 Kings Ct                                                                  RS Legacy Corporation fka RadioShack
Kerrville, TX 78028                                        8274      8/4/2015 Corporation                                                      $7.00                                                                                            $7.00
Halfiax County
Attn: M. Glynn Rollins, Jr.
Post Office Box 68                                                            RS Legacy Corporation fka RadioShack
Halifax, NC 27839                                          8275      8/4/2015 Corporation                                                                      $770.85                                                                        $770.85
Halfiax County
Attn: M. Glynn Rollins, Jr.
Post Office Box 68                                                            RS Legacy Corporation fka RadioShack
Halifax, NC 27839                                          8276      8/4/2015 Corporation                                                                         $0.00                                                                         $0.00
Charlotte County, a political Subdivision of the State
of Florida
c/o Charlotte County Attorney's Office
Marilyn Miller, Esq.
18500 Murdock Circle, Suite 573                                               RS Legacy Corporation fka RadioShack
Port Charlotte, FL 33948                                   8277      8/4/2015 Corporation                                                                                         $293.54                                                     $293.54

State of Minnesota ‐ Department of Human Rights
Freeman Building
625 Robert Street North                                                       RS Legacy Corporation fka RadioShack
St. Paul, MN 55155                                         8278      8/4/2015 Corporation                                                      $0.00                                                                                            $0.00
City of Overland Park, Kansas
Alarm Coordinator
12400 Foster Street                                                           RS Legacy Corporation fka RadioShack
Overland Park, KS 66213                                    8279      8/4/2015 Corporation                                                  $4,000.00              $0.00                                                                     $4,000.00
City of Overland Park, KS
Alarm Coordinator
12400 Foster Street                                                           RS Legacy Corporation fka RadioShack
Overland Park, KS 66213                                    8280      8/4/2015 Corporation                                                    $200.00              $0.00                                                                       $200.00




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                                                                                                                            Current General                                            Current 503(b)(9)
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                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
City of Overland Park, KS
Alarm Coordinator
12400 Foster Street                                                      RS Legacy Corporation fka RadioShack
Overland Park, KS 66213                               8281      8/4/2015 Corporation                                                     $10.00              $0.00                                                                        $10.00
Connecticut Department of Revenue Services
C&E Division, Bankruptcy Section
25 Sigourney Street                                                      RS Legacy Corporation fka RadioShack
Hartford, CT 06106‐5032                               8282      8/4/2015 Corporation                                                                         $0.00                                                                         $0.00
Flores, Josmar Claudio
Bo Las Vegas 26610
Carr 743                                                                 RS Legacy Corporation fka RadioShack
Cayey, PR 00736                                       8283      8/4/2015 Corporation                                                                                                                                                       $0.00
Hicks, Robin
33 Buckeye Rd                                                            RS Legacy Corporation fka RadioShack
Amherst, NY 14226                                     8284      8/5/2015 Corporation                                                    $167.00                                                                                          $167.00
Pascual, Florinda
344 w 79st #2                                                            RS Legacy Corporation fka RadioShack
Los Angeles, CA 90003                                 8285      8/5/2015 Corporation                                                      $0.00              $0.00             $0.00               $0.00                                   $0.00
Hicks, Robin
33 Buckeye Road                                                          RS Legacy Corporation fka RadioShack
Amherst, NY 14226                                     8286      8/5/2015 Corporation                                                    $167.00                                                                                          $167.00
Leon, Lumary
Urb Villa Retiro
M‐30                                                                     RS Legacy Corporation fka RadioShack
Santa Isabel, PR 00757                                8287      8/4/2015 Corporation                                                      $0.00                                                                                            $0.00
Tribune Publishing Company, LLC d/b/a Los Angeles
Times Media Group
2501 S. State Hwy 121 Bldg 8B                                            RS Legacy Corporation fka RadioShack
Lewisville, TX 75067                                  8288      8/4/2015 Corporation                                                      $0.00                                                                                            $0.00
UNION COUNTY NORTH CAROLINA
PO BOX 580365                                                            RS Legacy Corporation fka RadioShack
CHARLOTTE, NC 28258                                   8289      8/4/2015 Corporation                                                                     $2,438.03                                                                     $2,438.03
Tribune Publishing Company, d/b/a The Baltimore
Sun Media Group
2501 S. State Hwy 121 Bldg 8B                                            RS Legacy Corporation fka RadioShack
Lewisville, TX 75067                                  8290      8/4/2015 Corporation                                                      $0.00                                                                                            $0.00
Tribune Publishing Company, LLC d/b/a Chicago
Tribune Media Group
2501 S. State Hwy 121 Bldg 8B                                            RS Legacy Corporation fka RadioShack
Lewisville, TX 75067                                  8291      8/4/2015 Corporation                                                      $0.00                                                                                            $0.00
Tribune Publishing Company, LLC d/b/a Sun Times
Media
2501 S. State Hwy 121 Bldg 8B                                            RS Legacy Corporation fka RadioShack
Lewisville, TX 75067                                  8292      8/4/2015 Corporation                                                      $0.00                                                                                            $0.00
Tribune Publishing, LLC d/b/a Sun Sentinel Media
Group
2501 S. State Hwy 121
Bldg 8B                                                                  RS Legacy Corporation fka RadioShack
Lewisville, TX 75067                                  8293      8/4/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                            Current General                                            Current 503(b)(9)
                                                                                                                                                  Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address               Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
Tribune Publishing Company, LLC d/b/a Orlando
Sentinel Media Group
2501 S. State Hwy 121
Bldg 8B                                                                  RS Legacy Corporation fka RadioShack
Lewisville, TX 75067                                  8294      8/4/2015 Corporation                                                      $0.00                                                                                            $0.00
Tribune Publishing Company, LLC d/b/a Daily Press
Media Group
2501 S. State Hwy 121 Bldg 8B                                            RS Legacy Corporation fka RadioShack
Lewisville, TX 75067                                  8295      8/4/2015 Corporation                                                      $0.00                                                                                            $0.00
Tribune Publishing Company, LLC d/b/a Hartford
Courant Media Group
2501 S. State Hwy 121 Bldg 8B                                            RS Legacy Corporation fka RadioShack
Lewisville, TX 75067                                  8296      8/4/2015 Corporation                                                      $0.00                                                                                            $0.00
Tribune Publishing Company, LLC d/b/a The
Morning Call Media Group
2501 S. State Hwy 121 Bldg 8B                                            RS Legacy Corporation fka RadioShack
Lewisville, TX 75067                                  8297      8/4/2015 Corporation                                                      $0.00                                                                                            $0.00
Shields, Laneara
7510 Tempsclair Rd                                                       RS Legacy Corporation fka RadioShack
Louisville , KY 40220                                 8298      8/4/2015 Corporation                                                                       $97.00                                                                         $97.00

Neshaminy Mall Joint Venture Limited Partnership
c/o GGP Limited Partnership
110 North Wacker Drive                                                   RS Legacy Corporation fka RadioShack
Chicago, IL 60606                                     8299      8/4/2015 Corporation                                                    $471.12                                                                                          $471.12
City of San Diego
1200 Third Avenue, Suite 1100                                            RS Legacy Corporation fka RadioShack
San Diego, CA 92101                                   8300      8/4/2015 Corporation                                                                         $0.00                                                                         $0.00
Budhram, Dhanesh Rishi
23995 SW 127 Avenue                                                      RS Legacy Corporation fka RadioShack
Homestead, FL 33032                                   8301      8/4/2015 Corporation                                                                                                               $0.00                                   $0.00
WAKE COUNTY REVENUE DEPARTMENT
ATTN ATTACHMENT DIVISION
PO BOX 2331                                                              RS Legacy Corporation fka RadioShack
RALEIGH, NC 27602                                     8302      8/4/2015 Corporation                                                                     $2,822.27                                                                     $2,822.27
Cranberry Township
2525 Rochester Road                                                      RS Legacy Corporation fka RadioShack
Cranberry Township , PA 16066                         8303      8/4/2015 Corporation                                                     $65.19                                                                                           $65.19
Office of the Kansas State Treasurer
Unclaimed Property Division
900 SW Jackson, Ste. 201                                                 RS Legacy Corporation fka RadioShack
Topeka, KS 66612                                      8304      8/4/2015 Corporation                                                $23,290.96                                                                                        $23,290.96
State of Nevada Treasurer's Office
Unclaimed Property Division
555 F. Washington Avenue
Suite 4200                                                               RS Legacy Corporation fka RadioShack
Las Vegas, NV 89101                                   8305      8/4/2015 Corporation                                                $29,227.49                                                                                        $29,227.49
Oregon Department of State Lands
Trust Property Section
775 Summer St NE STE 100                                                 RS Legacy Corporation fka RadioShack
Salem, OR 97302                                       8306      8/4/2015 Corporation                                                $50,486.43                                                                                        $50,486.43




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                                                                                                                  Current General                                              Current 503(b)(9)
                                                                                                                                        Current Priority     Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address     Claim No.   Claim Date                   Debtor                         Unsecured Claim                                               Admin Priority
                                                                                                                                         Claim Amount         Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                       Amount
Flores, Josmar Claudio
Sales Associate
RadioShack
Bo Las Vegas 26610
Carr 743                                                       RS Legacy Corporation fka RadioShack
Cayey, PR 00736                             8307      8/4/2015 Corporation                                                      $0.00                                                                                              $0.00
SFPUC‐Water Department
Collection Unit
525 Golden Gate Ave
2nd Floor                                                      RS Legacy Corporation fka RadioShack
San Francisco, CA 94102                     8308      8/4/2015 Corporation                                                    $227.22                                                                                            $227.22
Muscogee County Tax Commissioner (GA)
Stephen G. Gunby, Attorney for MCTC
P.O. Box 1199                                                  RS Legacy Corporation fka RadioShack
Columbus , GA 31902                         8309      8/4/2015 Corporation                                                                                                                               $8,378.71             $8,378.71
ERA BC Partners Ltd.
C/O DAVID BERNDT INTERESTS INC.
10101 REUNION PL., STE. 160                                    RS Legacy Corporation fka RadioShack
SAN ANTONIO, TX 78216                       8310      8/4/2015 Corporation                                                $77,250.78             $4,815.67                                                                    $82,066.45
Aponte, Lumary Leon
Villa Retiro M‐30
Calle Tnte Bermudez
Santa Isabel                                                   RS Legacy Corporation fka RadioShack
Santa Isabel, PR 00757                      8311      8/4/2015 Corporation                                                                                                                                   $0.00                 $0.00
Seeherman, Marc
32 west 40th street
Apt 2c                                                         RS Legacy Corporation fka RadioShack
New York, NY 10018                          8312      8/4/2015 Corporation                                                     $74.02                                                                                             $74.02
Colon, Angel L
PO Box 154                                                     RS Legacy Corporation fka RadioShack
Orocovis, PR 00720                          8313      8/5/2015 Corporation                                                      $0.00                                                                                              $0.00
Vasko, Joe
83 Buena Vista Avenue                                          RS Legacy Corporation fka RadioShack
Youngstown, OH 44512                        8314      8/5/2015 Corporation                                                     $42.81                                                                                             $42.81
White, Niqueta N.
809A Freeman Street #2                                         RS Legacy Corporation fka RadioShack
Bronx, NY 10459                             8315      8/5/2015 Corporation                                                     $51.21                                                                                             $51.21
Colley, Tamara
1620 Dodgers Drive                                             RS Legacy Corporation fka RadioShack
Prattville, AL 36067                        8316      8/5/2015 Corporation                                                                         $36.12              $0.00                                                      $36.12
Stark, Rita
2220 Ridgley Woods Dr                                          RS Legacy Corporation fka RadioShack
ChesterField, Mo 63005                      8317      8/5/2015 Corporation                                                     $21.39                                                                                             $21.39
Washington State, Department of Revenue
Attn: Doug Houghton
2101 4th Ave, Suite 1400                                       RS Legacy Corporation fka RadioShack
Seattle, WA 98121‐2300                      8318      8/5/2015 Corporation                                                $99,285.43           $395,309.32                                                                   $494,594.75
Manavi , Mojgan
11782 Bellagio Road                                            RS Legacy Corporation fka RadioShack
Los Angeles, CA 90049                       8319      8/5/2015 Corporation                                                     $14.79                                                                                             $14.79




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                                                                                                                            Current General                                             Current 503(b)(9)
                                                                                                                                                  Current Priority    Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address               Claim No.   Claim Date                   Debtor                         Unsecured Claim                                              Admin Priority
                                                                                                                                                   Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                      Amount
Sperato, Cherie
84 Quintard Street                                                       RS Legacy Corporation fka RadioShack
Staten Island, NY 10305                               8320      8/5/2015 Corporation                                                    $180.00                                                                                           $180.00
Perez, Ailyn Perez
Ext. Valle Alto
Calle Loma 2302                                                          RS Legacy Corporation fka RadioShack
Ponce, PR 00730                                       8321      8/5/2015 Corporation                                                      $0.00                                                                                             $0.00
Colon, Angel L
PO Box 154                                                               RS Legacy Corporation fka RadioShack
Orocovis, PR 00720                                    8322      8/5/2015 Corporation                                                                                                                                  $0.00                 $0.00
Columbia Co Tax Comissioner
Attn: Brittany Austin
PO Box 3030                                                              RS Legacy Corporation fka RadioShack
Evans, GA 30809                                       8323      8/5/2015 Corporation                                                                         $0.00                                                                          $0.00
Berry, Christy A.
12400 Jefferson Highway 903                                              RS Legacy Corporation fka RadioShack
Baton Rouge, LA 70816                                 8324      8/5/2015 Corporation                                                    $108.99                                                                                           $108.99
Pyke, Kathleen A.
3115 Thunderbird Circle                                                  RS Legacy Corporation fka RadioShack
Hays , KS 67601                                       8325      8/5/2015 Corporation                                                     $17.60                                                                                            $17.60
Frank, Crystal
106 N Zulkey                                                             RS Legacy Corporation fka RadioShack
Sallisaw, OK 74955                                    8326      8/6/2015 Corporation                                                     $48.06                                                                                            $48.06

County of Santa Clara Office of the Tax Collector
70 W Hedding St, East Wing 6th FL                                        RS Legacy Corporation fka RadioShack
San Jose, CA 95110                                    8327      8/5/2015 Corporation                                                      $0.00          $21,139.71                                                                    $21,139.71
NASH COUNTY TAX SUPERVISOR
120 W Washington St
Ste 2058                                                                 RS Legacy Corporation fka RadioShack
Nashville, NC 27856                                   8328      8/5/2015 Corporation                                                                       $132.20                                                                        $132.20
Barham , Michael Clyde
9806 McCracken Blvd                                                      RS Legacy Corporation fka RadioShack
Garfield Heights, OH 44125                            8329      8/5/2015 Corporation                                                                       $140.00                                                                        $140.00
State of Rhode Island
General Treasurers Office‐ Unclaimed Property
Division
50 Service Avenue                                                        RS Legacy Corporation fka RadioShack
Warwick, RI 02886                                     8330      8/5/2015 Corporation                                                $22,664.49                                                                                         $22,664.49
Parrish, Darrell Wayne
663 C.S. 2750                                                            RS Legacy Corporation fka RadioShack
Minco, OK 73059                                       8331      8/5/2015 Corporation                                                      $0.00                                                                                             $0.00
Somerset Township Municipal Authority
Carolyn M. Zambanin
PO BOX 247                                                               RS Legacy Corporation fka RadioShack
Somerset, PA 15501                                    8332      8/5/2015 Corporation                                                    $116.55                                                                       $0.00               $116.55
Biddlingmeier, Valerie
1733 Valencia Dr.                                                        RS Legacy Corporation fka RadioShack
Las Cruces, NM 88001                                  8333      8/5/2015 Corporation                                                                        $25.00                                                                         $25.00




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                                                                                                                   Current General                                            Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address      Claim No.   Claim Date                    Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
NORTHERN WASCO COUNTY
PEOPLES UTILITY DISTRICT
2345 RIVER RD                                                   RS Legacy Corporation fka RadioShack
THE DALLES, OR 97058                         8334      8/5/2015 Corporation                                                    $256.71                                                                                          $256.71
Nevada County Tax Collector
PO Box 128                                                      RS Legacy Corporation fka RadioShack
Nevada City, CA 95959‐0128                   8335      8/5/2015 Corporation                                                                                           $0.00                                                       $0.00
PITT COUNTY TAX COLLECTOR
PO BOX 875                                                      RS Legacy Corporation fka RadioShack
GREENVILLE, NC 27835‐0875                    8336      8/5/2015 Corporation                                                                                       $1,485.08                                                   $1,485.08
SOMERSET TOWNSHIP WATER DEPT.
PO BOX 247                                                      RS Legacy Corporation fka RadioShack
SOMERSET, PA 15501                           8337      8/5/2015 Corporation                                                    $116.55                                                                                          $116.55
Curtis, Nadja J
12400 Jefferson Highway #809                                    RS Legacy Corporation fka RadioShack
Baton Rouge, LA 70816‐6252                   8338      8/5/2015 Corporation                                                     $84.49                                                                                           $84.49
White, Niqueta N.
809A Freeman Street #2                                          RS Legacy Corporation fka RadioShack
Bronx , NY 10459                             8339      8/5/2015 Corporation                                                     $51.21                                                                                           $51.21
WASHINGTON SUBURBAN SANITARY
COMMISSION
14501 SWEITZER LN                                               RS Legacy Corporation fka RadioShack
LAUREL, MD 20707                             8340      8/4/2015 Corporation                                                    $377.83                                                                                          $377.83
Ponce Vilella, Pedro J.
Po Box 215                                                      RS Legacy Corporation fka RadioShack
Mercedita, PR 00715                          8341      8/5/2015 Corporation                                                      $0.00                                                                                            $0.00
sperato, frank
84 quintard street                                              RS Legacy Corporation fka RadioShack
staten island, ny 10305                      8342      8/5/2015 Corporation                                                    $180.00                                                                                          $180.00
White, Niqueta N
809A Freeman Street #2                                          RS Legacy Corporation fka RadioShack
Bronx , NY 10459                             8343      8/5/2015 Corporation                                                     $60.00                                                                                           $60.00
City of St. Augustine
Attn: Isabelle Lopez, City Attorney
75 King Street                                                  RS Legacy Corporation fka RadioShack
St Augustine, FL 32085                       8344      8/5/2015 Corporation                                                     $95.78                                                                                           $95.78
Clapp, Janie L.
2255 PARADISE LN                                                RS Legacy Corporation fka RadioShack
MERIDIAN, ID 83646                           8345      8/4/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
Meagher, Michael
3490 Melissa CT                                                 RS Legacy Corporation fka RadioShack
Port Charlotte, FL 33980                     8346      8/5/2015 Corporation                                                     $26.11                                                                                           $26.11
ONSLOW COUNTY TAX COLLECTOR
ATTN: MANAGING AGENT
234 NW CORRIDOR BLVD                                            RS Legacy Corporation fka RadioShack
JACKSONVILLE, NC 28540‐5309                  8347      8/6/2015 Corporation                                                                         $0.00                                                                         $0.00
Bodner, Karen
5335 Paisley                                                    RS Legacy Customer Service LLC fka RadioShack
Houston, TX 77096                            8348      8/6/2015 Customer Service LLC                                             $0.00                                                  $135.28                                 $135.28
Digity F/K/A Three Eagles Communications
1418 25th Street                                                RS Legacy Corporation fka RadioShack
Columbus, NE 68601                           8349      8/6/2015 Corporation                                                  $1,904.00                                                                                        $1,904.00



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                                                                                                                                           Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address        Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                     Amount
ONSLOW COUNTY TAX COLLECTOR
ATTN: MANAGING AGENT
234 NW CORRIDOR BLVD                                              RS Legacy Corporation fka RadioShack
JACKSONVILLE, NC 28540‐5309                    8350      8/6/2015 Corporation                                                                     $1,898.08                                                                     $1,898.08
Hatfield, Melinda
10 Cold Spring Circle                                             RS Legacy Corporation fka RadioShack
Shelton, CT 06484                              8351      8/6/2015 Corporation                                                     $25.00                                                                                           $25.00
AMOROSO, MARY
383 Marshall Street                                               RS Legacy Corporation fka RadioShack
OCEANSIDE, NY 11572                            8352      8/6/2015 Corporation                                                     $47.78                                                                                           $47.78
Verdugo, Yolanda A.
12285 W. Vegas Dr.                                                RS Legacy Corporation fka RadioShack
Tucson, AZ 85736                               8353      8/6/2015 Corporation                                                     $23.23                                                                                           $23.23
Swatek, Patricia
5133 Eichelberger St.                                             RS Legacy Corporation fka RadioShack
St. Louis, MO 63109                            8354      8/6/2015 Corporation                                                                                                              $59.75                                  $59.75
Swatek, Patricia
5133 Eichelberger St.                                             RS Legacy Corporation fka RadioShack
St. Louis , MO 63109                           8355      8/6/2015 Corporation                                                                                                              $59.75                                  $59.75
Vanderveen, Ellen
1094 Alcatraz Avenue
Apt #321                                                          RS Legacy Corporation fka RadioShack
Oakland, CA 94608                              8356      8/6/2015 Corporation                                                     $62.68                                                                                           $62.68
Kattine, Kevin
53 Sturbridge Circle                                              RS Legacy Corporation fka RadioShack
Wayne, NJ 07470                                8357      8/6/2015 Corporation                                                     $21.39                                                                                           $21.39
Welsh, Elizabeth
153 W. Hampton Street                                             RS Legacy Corporation fka RadioShack
Pemberton, NJ 08068                            8358      8/7/2015 Corporation                                                     $50.00                                                                                           $50.00
Yang, Ren Song
600 dodge ave                                                     RS Legacy Corporation fka RadioShack
elk river, mn 55330                            8359      8/6/2015 Corporation                                                                                                             $250.00                                 $250.00
Smith, Brannon
13795 Claude Kelly Zrx.                                           RS Legacy Corporation fka RadioShack
Bastrop, LA 71220                              8360      8/7/2015 Corporation                                                      $0.00                                                                                            $0.00
Farias, Karina
511 Valley Mall PKWY A7                                           RS Legacy Corporation fka RadioShack
East Wenatchee , WA 98802                      8361      8/6/2015 Corporation                                                     $45.00                                                                                           $45.00
Scher, Mark
1 Rocking Horse Way                                               RS Legacy Corporation fka RadioShack
Holland, PA 18966                              8362      8/7/2015 Corporation                                                                       $12.80                                  $0.00                                  $12.80
Yesco LLC
c/o Karen Stuart
6725 W. Chicago Street                                            RS Legacy Corporation fka RadioShack
Chandler , AZ 85226‐3335                       8363      8/5/2015 Corporation                                                $12,231.89                                                                                        $12,231.89
State of Minnesota, Department of Revenue
Department of Revenue, Collection Division
Bankruptcy Section
PO Box 64447 ‐ BKY                                                RS Legacy Corporation fka RadioShack
St. Paul, MN 55164‐0447                        8364      8/7/2015 Corporation                                                                         $0.00                                                                         $0.00




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                                                                                                                      Current General                                            Current 503(b)(9)
                                                                                                                                            Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address        Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                          Amount                                                     Amount
Dugdale, Rick
2800 Overton Ave.                                                 RS Legacy Corporation fka RadioShack
Logan, IA 51546                                8365      8/7/2015 Corporation                                                                        $42.79                                                                         $42.79
Cash, Kevin
141 County Road 519                                               RS Legacy Corporation fka RadioShack
Mentone, AL 35984                              8366      8/7/2015 Corporation                                                      $30.00                                                                                           $30.00
Lebo, Doreen
201 W 331 Staffeldt                                               RS Legacy Corporation fka RadioShack
Naperville, IL 60564                           8367      8/7/2015 Corporation                                                                        $32.16                                                                         $32.16
State of Minnesota, Department of Revenue
Department of Revenue, Collection Division
Bankruptcy Section
PO Box 64447 ‐ BKY
St Paul, MN 55164‐0447                         8368      7/30/2015 SCK, Inc.                                                                       $1,774.00                                                                     $1,774.00
T Ottawa Center IL, LLC
16600 Dallas Parkway, Suite 300                                   RS Legacy Corporation fka RadioShack
Dallas, TX 75248                               8369      8/7/2015 Corporation                                                   $3,123.43                                                                                        $3,123.43
Nathan, Steven
7424 Carta Valley Dr                                              RS Legacy Corporation fka RadioShack
Dallas, TX 75248                               8370      8/9/2015 Corporation                                                                                                               $50.00                                  $50.00
Whiteside, Camille
2472 Ryerson Court                                                 RS Legacy Corporation fka RadioShack
Charlotte, NC 28213                            8371      8/10/2015 Corporation                                                                                                               $0.00                                   $0.00
Garcia, Annie
156 Churchill Downs                                                RS Legacy Corporation fka RadioShack
Kyle, TX 78640                                 8372      8/10/2015 Corporation                                                                                                             $150.00                                 $150.00
Claim Docketed In Error                                            RS Legacy Corporation fka RadioShack
                                               8373      8/10/2015 Corporation                                                                                                                                                       $0.00
Hearne, Keandra
1713 Asbury Court                                                  RS Legacy Corporation fka RadioShack
Norman, OK 73071                               8374      8/10/2015 Corporation                                                     $60.00                                                                                           $60.00
Shook, Marvin
4521 BLUEFIELD DR                                                  RS Legacy Corporation fka RadioShack
CORPUS CHRISTI, TX 78413                       8375      8/10/2015 Corporation                                                     $50.00            $50.00                                                                        $100.00
Claim Docketed In Error                                            RS Legacy Corporation fka RadioShack
                                               8376      8/10/2015 Corporation                                                                                                                                                       $0.00
McTernan, John Michael
7115 Third Avenue                                                  RS Legacy Corporation fka RadioShack
Kenosha, WI 53143                              8377      8/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Gutierrez, Celenia
1510 E Cesar E Chavez avenue                                       RS Legacy Corporation fka RadioShack
Los Angeles, CA 90033                          8378      8/10/2015 Corporation                                                                                                             $100.00                                 $100.00
Cooper, Deborah
19 Dow Street                                                      RS Legacy Corporation fka RadioShack
Somerville, MA 02144                           8379      8/10/2015 Corporation                                                      $5.30                                                                                            $5.30
RPAI McDonough Henry Town, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                          RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                             8380      8/10/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Whitehouse Mall, LLC
70 Bloomfield Avenue, Suite 200                                RS Legacy Corporation fka RadioShack
Pine Brook, NJ 07058                       8381      8/10/2015 Corporation                                                    $110.00                                                                                          $110.00
Schwartz, Andrea B.
330 E. 63rd Street, 3N                                         RS Legacy Corporation fka RadioShack
New York, NY 10065                         8382      8/10/2015 Corporation                                                     $15.00                                                                                           $15.00
Yoshikawa, Akie
747 6th avenue                                                 RS Legacy Corporation fka RadioShack
Honolulu, HI 96816                         8383      8/10/2015 Corporation                                                     $25.05                                                                                           $25.05
Torres, Virginia
2814 Budlong ave                                               RS Legacy Customer Service LLC fka RadioShack
Los Angeles, CA 90007                      8384      8/11/2015 Customer Service LLC                                            $25.00                                                                                           $25.00
Beard, Brad
6749 county road 63                                            RS Legacy Corporation fka RadioShack
Spencerville, IN 46788                     8385      8/11/2015 Corporation                                                                                                              $28.88                                  $28.88
MALPANI, NISHANT
1 143 TUPELO TRL                                               RS Legacy Corporation fka RadioShack
Frankfort, KY 40601                        8386      8/11/2015 Corporation                                                      $0.00                                                                                            $0.00
Rosa, Nancy
841 S 63 Ave                                                   RS Legacy Corporation fka RadioShack
Hollywood, FL 33023                        8387      8/11/2015 Corporation                                                     $32.88                                                                                           $32.88
Griffin, Julia A
7315 Hickory Dr                                                RS Legacy Corporation fka RadioShack
Hamburg, NY 14075                          8388      8/11/2015 Corporation                                                     $54.35                                                                                           $54.35
Commercial Realty Enterprises
Richard L. Zucker, Esq.
Lasser Hochman, L.L.C.
75 Eisenhower Parkway
Attorney                                                       RS Legacy Corporation fka RadioShack
Roseland, NJ 07068                         8389      8/11/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                           8390      8/11/2015 Corporation                                                                                                                                                       $0.00
Archer, Dean
578 Atlantic Ave Apt 3D                                        RS Legacy Corporation fka RadioShack
Brooklyn, NY 11217                         8391      8/11/2015 Corporation                                                    $125.18                                                                                          $125.18
Schaefer, Eric
2546 Maple Rd.                                                 RS Legacy Corporation fka RadioShack
Wilson, NY 14172                           8392      8/11/2015 Corporation                                                     $32.41                                                                                           $32.41
Tucker, Paula
4800 W. Commonwealth Place                                     RS Legacy Corporation fka RadioShack
Chandler , AZ 85226                        8393      8/11/2015 Corporation                                                     $25.00                                                                                           $25.00
Grzincic, Tina
140 Noble Beach Drive                                          RS Legacy Corporation fka RadioShack
Euclid, OH 44123                           8394      8/11/2015 Corporation                                                      $0.00            $25.00              $0.00               $0.00                                  $25.00
Oster Bergenfield Properties, LLC
Richard L, Zucker, Esq.
Lasser Hochman, LLC
75 Eisenhower Parkway                                          RS Legacy Corporation fka RadioShack
Roseland, NJ 07068‐1694                    8395      8/11/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
White, Niqueta N.
809A Freeman Street #2                                         RS Legacy Corporation fka RadioShack
Bronx, NY 10459                            8396      8/11/2015 Corporation                                                      $0.00                                                                                            $0.00



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                                                                                                                        Current General                                            Current 503(b)(9)
                                                                                                                                              Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address          Claim No.   Claim Date                     Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
Pedraza Artache, Jose Ramon
Sagrado Corazon EE‐4
Bonneville Valley                                                    RS Legacy Corporation fka RadioShack
Caguas, PR 00725                                 8397      8/11/2015 Corporation                                                                                                                                 $0.00                 $0.00
White, Niqueta N
809A Freeman Street #2                                               RS Legacy Corporation fka RadioShack
Bronx, NY 10459                                  8398      8/11/2015 Corporation                                                     $51.21                                                                                           $51.21
Weber, MaryGrace
50 Saw Mill Road Apt 4212                                            RS Legacy Corporation fka RadioShack
Danbury, CT 06810                                8399      8/11/2015 Corporation                                                     $47.85                                                                                           $47.85
Olivieri, Martha
6987 dublin village drive                                            RS Legacy Corporation fka RadioShack
Dublin, OH 43017                                 8400      8/11/2015 Corporation                                                    $101.00                                                                                          $101.00
Garfield, Jacklyn
423 Amherst SE                                                       RS Legacy Corporation fka RadioShack
Albuquerque, NM 87106                            8401      8/12/2015 Corporation                                                     $30.00                                                                                           $30.00
Asheville Mall CMBS, LLC by CBL & Associates
Management, Inc., managing agent
c/o Laura F. Ketcham, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                        RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                            8402      8/12/2015 Corporation                                               $119,247.92                                                                                       $119,247.92
CFJ MANUFACTURING
5001 N FREEWAY                                                       RS Legacy Corporation fka RadioShack
FORT WORTH, TX 76106                             8403      8/12/2015 Corporation                                                  $9,486.14                                                                                        $9,486.14
LIN, ZHIZHAO
1200 Welsh Rd Ste B                                                  RS Legacy Corporation fka RadioShack
North Wales, PA 19454                            8404      8/11/2015 Corporation                                                      $8.00                                                                                            $8.00
Gupta, Prateer
83‐37, 247 St.                                                       RS Legacy Corporation fka RadioShack
Bellerose, NY 11426                              8405      8/12/2015 Corporation                                                     $54.43                                                                                           $54.43
Yaklin, Trish
PO Box 260125                                                        RS Legacy Corporation fka RadioShack
Corpus Christi, TX 78426                         8406      8/12/2015 Corporation                                                     $27.00                                                                                           $27.00
Guldin, Kevin
12 Stockholm St                                                      RS Legacy Corporation fka RadioShack
Worcester, MA 01607                              8407      8/13/2015 Corporation                                                     $50.00                                                                                           $50.00
Berlejung, Matthew
14982 Cheyenne Way                                                   RS Legacy Global Sourcing Corporation fka
Haymarket, VA 20169                              8408      8/13/2015 RadioShack Global Sourcing Corporation                                                                                   $65.00                                  $65.00
Azzollini, Gina
51A Cleveland Street                                                 RS Legacy Corporation fka RadioShack
Caldwell, NJ 07006                               8409      8/13/2015 Corporation                                                    $241.73                                                                                          $241.73
Bellaire, Sandra
465 Johns Ave                                                        RS Legacy Corporation fka RadioShack
McDonald, PA 15057                               8410      8/13/2015 Corporation                                                    $101.75                                                                                          $101.75
Perez, Alfredo Z.
6438 Eskimo Dr.                                                      RS Legacy Corporation fka RadioShack
Sun Valley, NV 89433                             8411      8/13/2015 Corporation                                                     $60.29                                                                                           $60.29




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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
St. Thomas Joint Venture
c/o Marc A. Klitenic, Esquire
9515 Deereco Road, Suite 1015                                  RS Legacy Corporation fka RadioShack
Timonium, MD 21093                         8412      2/13/2015 Corporation                                                  $6,142.75                                                                                        $6,142.75
Bristol Center Holding LP
Attn: Asset Manager
8115 Preston Road, Suite 400                                   RS Legacy Corporation fka RadioShack
Dallas, TX 75225                           8413      8/14/2015 Corporation                                               $135,499.85                                                                                       $135,499.85
HALL, CLAIRE
55 SUNSET BLVD                                                 RS Legacy Corporation fka RadioShack
NARRAGANSETT, RI 02882                     8414      8/14/2015 Corporation                                                     $60.00                                                                                           $60.00
Stokes, Hasan
20 Harding st                                                  RS Legacy Corporation fka RadioShack
Maplewood, NJ 07040                        8415      8/14/2015 Corporation                                                     $50.00                                                                                           $50.00
St. Thomas Joint Venture
c/o Marc A. Klitenic, Esquire
9515 Deereco Road, Suite 1015                                  RS Legacy Corporation fka RadioShack
Timonium, MD 21093                         8416      2/13/2015 Corporation                                                                                                                             $3,806.27             $3,806.27
Douglas County
Douglas County Treasurer
Attn. Beth Barnes
100 Third Street                                               RS Legacy Corporation fka RadioShack
Castle Rock, CO 80104                      8417      5/13/2015 Corporation                                                                                       $1,713.51                                                   $1,713.51
Noble, Cynthia
59 Derby Ave
Apt 1R                                                         RS Legacy Corporation fka RadioShack
New Haven, CT 06511                        8418      8/14/2015 Corporation                                                     $10.00                                                                                           $10.00
Rivera, Corinne
25‐25 Astoria Blvd.
Apt. 6C                                                        RS Legacy Corporation fka RadioShack
Astoria, NY 11102                          8419      8/13/2015 Corporation                                                    $100.00                                                                                          $100.00
Peterson, James
43715 Orinoco Ln                                               RS Legacy Corporation fka RadioShack
Hemet, CA 92544                            8420      8/13/2015 Corporation                                                $10,054.86               $0.00                                                                    $10,054.86
PSE&G
Attn: Bankruptcy Dept
PO Box 490                                                     RS Legacy Corporation fka RadioShack
Cranford , NJ 07016                        8421      8/13/2015 Corporation                                                $31,518.61                                                                                        $31,518.61
Pemberton, Diana
1598 County Road 4210                                          RS Legacy Corporation fka RadioShack
Campbell, TX 75422                         8422      8/12/2015 Corporation                                                     $25.00                                                                                           $25.00
Matelski, Corinne
10 Birch Run Court                                             RS Legacy Corporation fka RadioShack
Ewing, NJ 08628                            8423      8/12/2015 Corporation                                                                                          $31.79               $0.00                                  $31.79
Kasprick, Jon
18211 152nd Ave SE                                             RS Legacy Corporation fka RadioShack
Renton,, WA 98058                          8424      8/12/2015 Corporation                                                     $20.00                                                                                           $20.00
Harrison, Brian
1313 Mother Lode Way Unit 4                                    RS Legacy Corporation fka RadioShack
Chula Vista, CA 91913                      8425      8/15/2015 Corporation                                                    $201.00                                                                                          $201.00
De Tore, Charles                                               RS Legacy Corporation fka RadioShack
                                           8426      8/15/2015 Corporation                                                                                                               $0.00                                   $0.00



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                                                                                                                     Current General                                            Current 503(b)(9)
                                                                                                                                           Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address       Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                     Amount
Wood, Sally
PO Box 86
211 Hook Street                                                   RS Legacy Corporation fka RadioShack
Mars, PA 16046                                8427      8/16/2015 Corporation                                                                                          $34.28              $34.28                                  $68.56
Wigler, Mitchell
19452 Dorado Dr                                                   RS Legacy Corporation fka RadioShack
Trabuco Canyon, CA 92679                      8428      8/16/2015 Corporation                                                                     $6,659.61                                                                     $6,659.61
Yazdani, Mehran
8664 Ivy Trails Dr.                                               RS Legacy Corporation fka RadioShack
Cincinnati, OH 452444                         8429      8/16/2015 Corporation                                                                                                              $50.00                                  $50.00
De Tore, Charles                                                  RS Legacy Corporation fka RadioShack
                                              8430      8/15/2015 Corporation                                                                                                               $0.00                                   $0.00
Kelly‐Hits, Lisa
6811 Old Canton Road, #5205                                       RS Legacy Corporation fka RadioShack
Ridgeland, MS 39157                           8431      8/14/2015 Corporation                                                     $25.00            $25.00                                                                         $50.00
Kimball, Judy
832 hawthorn court                                                RS Legacy Corporation fka RadioShack
Sterling, CO 80751                            8432      8/14/2015 Corporation                                                    $250.00              $0.00                                 $0.00                                 $250.00
McLaughlin, Lynn
2024 So. Branch Rd                                                RS Legacy Corporation fka RadioShack
Branchburg, NJ 08876                          8433      8/12/2015 Corporation                                                                      $108.06              $0.00                                                     $108.06
Franklin, Mary Anne
31210 West Chelton                                                RS Legacy Corporation fka RadioShack
Beverly Hills, MI 48025                       8434      8/12/2015 Corporation                                                    $100.00                                                                                          $100.00
Gruber, John J.
1217 W. Newport                                                   RS Legacy Corporation fka RadioShack
Chicago, IL 60657‐1421                        8435      8/12/2015 Corporation                                                                       $22.44                                                                         $22.44
Michelle Kennedy, Revenue Specialist III
State of Florida, Department of Revenue
Bankruptcy Section
Post Office Box 6668                                              RS Legacy Corporation fka RadioShack
Tallahassee, FL 32314‐6668                    8436      8/12/2015 Corporation                                                      $0.00                                                                                            $0.00
State of Indiana
Office of the Attorney General
Unclaimed Property Division
35 South Park Boulevard                                           RS Legacy Corporation fka RadioShack
Greenwood, IN 46143                           8437      8/12/2015 Corporation                                                $71,048.32                                                                                        $71,048.32
Surles, Samuel
324 Beach 59th Street                                             RS Legacy Corporation fka RadioShack
Far Rockaway, NY 11692                        8438      8/12/2015 Corporation                                                      $0.00                                                                                            $0.00
City of Pasadena
100 N Garfield Avenue #N210                                       RS Legacy Corporation fka RadioShack
Pasadena, CA 91109                            8439      8/12/2015 Corporation                                                  $2,911.59                                                                                        $2,911.59
Florida Department of Revenue
Michelle Kennedy, Revenue Specialist III
FL Department of Revenue, Bankruptcy Unit
Post Office Box 6668                                              RS Legacy Corporation fka RadioShack
Tallahassee, FL 32314‐6668                    8440      8/12/2015 Corporation                                                      $0.00                                                                                            $0.00
Akbay, Ali
690 SW 1st Ct Apt 1530                                            RS Legacy Corporation fka RadioShack
Miami , FL 33130                              8441      8/12/2015 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Kennedy, Charmaine M.
406 Vanessa Way                                                RS Legacy Corporation fka RadioShack
Danville, CA 94506                         8442      8/12/2015 Corporation                                                      $0.00                               $75.74                                                      $75.74
County of Orange
Attn: Bankruptcy Unit
PO Box 4515                                                    RS Legacy Corporation fka RadioShack
Santa Ana, CA 92702‐4515                   8443      8/12/2015 Corporation                                                                         $0.00                                                                         $0.00
Korosi, Anita
64‐80 Kisasena Blvd                                            RS Legacy Corporation fka RadioShack
Flushing, NY 11367                         8444      8/11/2015 Corporation                                                                                           $0.00                                                       $0.00
Graziano, Kimberly
98 Church Lane                                                 RS Legacy Corporation fka RadioShack
Middle Island, NY 11953                    8445      8/17/2015 Corporation                                                     $35.00                                                                                           $35.00
Olea, Andrew
13132 allard ave apt b                                         RS Legacy Corporation fka RadioShack
Garden Grove, CA 92840                     8446      8/17/2015 Corporation                                                  $2,221.22                                                                                        $2,221.22
Cowan, Peggy
2226 Fairhill Road                                             RS Legacy Corporation fka RadioShack
Sewickley, PA 15143                        8447      8/17/2015 Corporation                                                     $62.63                                                                                           $62.63
Motamed, Arash
1624 W 6 St
Apt G                                                          RS Legacy Corporation fka RadioShack
Austin, TX 78703                           8448      8/17/2015 Corporation                                                     $35.72                                                                                           $35.72
Sandoval, Beatriz A
825 N Garfield St Apt B                                        RS Legacy Corporation fka RadioShack
Santa Ana, CA 92701                        8449      8/17/2015 Corporation                                                                       $43.19                                                                         $43.19
Gentle, Jamison
12659 Arminta Street                                           RS Legacy Corporation fka RadioShack
North Hollywood, CA 91605                  8450      8/14/2015 Corporation                                                    $653.66                                                                                          $653.66
Pagan, Sharon
RR 5 Box 8583                                                  RS Legacy Corporation fka RadioShack
Toa Alta, PR 00953                         8451      8/17/2015 Corporation                                                      $0.00                                                                                            $0.00
Figueroa, Sebastian
10734 Valle Vista Rd.                                          RS Legacy Corporation fka RadioShack
Lakeside, CA 92040                         8452      8/14/2015 Corporation                                                                       $20.00                                  $0.00                                  $20.00
Huster, Michael
6035 Riva Ridge Road                                           RS Legacy Corporation fka RadioShack
Versailles, KY 40383                       8453      8/17/2015 Corporation                                                                       $25.00                                                                         $25.00
Bieg, Samuel
5441 Harrison                                                  RS Legacy Corporation fka RadioShack
Kansas City, MO 64110                      8454      8/17/2015 Corporation                                                     $50.00                                                                                           $50.00
Nishimoto, Derek Hideo
4729 W. Greenhouse Ave.                                        RS Legacy Corporation fka RadioShack
Visalia, CA 93277                          8455      8/18/2015 Corporation                                                    $485.40                                                                                          $485.40
Harper, Donald A.
35 Myrtle Lane                                                 RS Legacy Corporation fka RadioShack
Coram, NY 11727                            8456      8/17/2015 Corporation                                                     $19.54            $19.54                                                                         $39.08
Sears, Erin A
1831 W 28th St.                                                RS Legacy Corporation fka RadioShack
Jacksonville, FL 32209                     8457      8/17/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00




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                                                                                                                    Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                      Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
Griffin, Seth
111 Beaver Dam Trail                                           RS Legacy Corporation fka RadioShack
Newport, NC 28570                          8458      8/18/2015 Corporation                                                       $25.00                                                                                           $25.00
SUN , KITSAP
PO BOX 34688                                                   RS Legacy Corporation fka RadioShack
SEATTLE, WA 98124‐1688                     8459      8/17/2015 Corporation                                                    $1,854.98                                                                                        $1,854.98
Brown, Todd
792 Co Rd 630                                                  RS Legacy Corporation fka RadioShack
Roanoke, AL 36274                          8460      8/18/2015 Corporation                                                       $40.00                                                                                           $40.00
Juan, Jan Micael
3834 Dominque Lane
Stockton, CA 95206                         8461      8/17/2015 SCK, Inc.                                                          $0.00                                                                                            $0.00
Pagan, Sharon
RR5 BOX 8583                                                   RS Legacy Corporation fka RadioShack
TOA ALTA, PR 00953                         8462      8/17/2015 Corporation                                                        $0.00                                                                                            $0.00
PAGAN, SHARON
RR5 BOX 8583                                                   RS Legacy Corporation fka RadioShack
TOA ALTA, PR 00953                         8463      8/17/2015 Corporation                                                        $0.00                                                                                            $0.00
Sears, Erin A
1831 W 28th St.                                                RS Legacy Corporation fka RadioShack
Jacksonville, FL 32209                     8464      8/17/2015 Corporation                                                                                                                                   $0.00                 $0.00
Pagan, Sharon
RR5 Box 8583
Toa Alta, PR 00953                         8465      8/17/2015 Atlantic Retail Ventures, Inc.                                     $0.00                                                                                            $0.00
BOX COMPANY.COM
263 MERRITT AVE                                                RS Legacy Corporation fka RadioShack
WHEATLEY HEIGHTS, NY 11798                 8466      8/17/2015 Corporation                                                        $0.00                                                                                            $0.00
BOX COMPANY.COM
44 ISLAND CONTAINER PLAZA                                      RS Legacy Corporation fka RadioShack
WHEATLEY HEIGHTS, NY 11798                 8467      8/17/2015 Corporation                                                        $0.00                                                                                            $0.00
Sandoval, Beatriz A
825 N Garfield St Apt B                                        RS Legacy Corporation fka RadioShack
Santa Ana, CA 92701                        8468      8/17/2015 Corporation                                                                         $43.19                                                                         $43.19
Pate, Govind
224 Howland Terrace Blvd.                                      RS Legacy Corporation fka RadioShack
Warren, OH 44484                           8469      8/17/2015 Corporation                                                       $63.88                                                                                           $63.88
Island Container Corp
263 Merritt Ave                                                RS Legacy Corporation fka RadioShack
Wheatley Heights, NY 11798                 8470      8/17/2015 Corporation                                                                                                                                   $0.00                 $0.00
Illinois Department of Revenue
Bankruptcy Section
PO Box 64338
Chicago, IL 60664‐0338                     8471      8/18/2015 SCK, Inc.                                                                                               $0.00                                                       $0.00
Illinois Department of Revenue
PO Box 64338                                                   RS Legacy Corporation fka RadioShack
Chicago, IL 60664‐0338                     8472      8/18/2015 Corporation                                                                                       $441,041.00                                                 $441,041.00
Singh, Ajay
8612 Wonderland Avenue                                         RS Legacy Corporation fka RadioShack
Los Angeles , CA 90046                     8473      8/18/2015 Corporation                                                                                                               $100.00                                 $100.00
Martuscelli, Laura
1707 South Lincoln Avenue                                      RS Legacy Corporation fka RadioShack
Lakeland, FL 33803                         8474      8/18/2015 Corporation                                                                                                                $15.00                                  $15.00



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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Townsend, Charlene
51 Poor Farm Rd                                                RS Legacy Corporation fka RadioShack
Pennington, NJ 08534                       8475      8/18/2015 Corporation                                                     $41.72                                                                                           $41.72
Flores, Armando Diaz
10175 Diamond Head Ct.                                         RS Legacy Corporation fka RadioShack
Spring Valley, CA 91977                    8476      8/18/2015 Corporation                                                                     $5,000.00                                                                     $5,000.00
Roog, Robert
23927 Via Renata                                               RS Legacy Corporation fka RadioShack
Richmond, TX 77406                         8477      8/18/2015 Corporation                                                     $20.00                                                                                           $20.00
Harris, Mario
16 Havelock St
Unit # 1                                                       RS Legacy Corporation fka RadioShack
Dorchester, MA 02114                       8478      8/18/2015 Corporation                                                     $32.91                                                                                           $32.91
Macrae, Dennis
1942 NE 6th CT.
Apt D 205                                                      RS Legacy Corporation fka RadioShack
Fort Lauderdale, FL 33304                  8479      8/18/2015 Corporation                                                     $15.97                                                                                           $15.97
Benton Utilities
The Credit Bureau of Saline County
PO Box 1680                                                    RS Legacy Corporation fka RadioShack
Benton, AR 72018‐1680                      8480      8/18/2015 Corporation                                                    $708.29                                                                                          $708.29
Illinois Department of Revenue
Bankruptcy Section
PO Box 64338                                                   RS Legacy Corporation fka RadioShack
Chicago, IL 60664‐0338                     8481      8/18/2015 Corporation                                                                                      $29,543.40                                                  $29,543.40
Laub, Phillip
745 Balsam Way                                                 RS Legacy Corporation fka RadioShack
Hemet, CA 92545                            8482      8/18/2015 Corporation                                                  $2,800.00                                                                                        $2,800.00
RAE ME NORTH CAROLINA LLC
PO BOX 807                                                     RS Legacy Corporation fka RadioShack
OAKHURST, NJ 07755                         8483      8/17/2015 Corporation                                                  $3,394.30                                                                                        $3,394.30
Caragozian, Max
4116 Holly Knoll Drive                                         RS Legacy Corporation fka RadioShack
Los Angeles, CA 90027                      8484      8/18/2015 Corporation                                                     $20.00                                                                                           $20.00
Shalash, Lucy
17218 Dooneen Ave.                                             RS Legacy Corporation fka RadioShack
Tinley Park, IL 60477                      8485      8/18/2015 Corporation                                                     $60.00                                                                                           $60.00
Gorse, John
2233 San Jose Ave #B                                           RS Legacy Corporation fka RadioShack
Alameda, CA 94501                          8486      8/19/2015 Corporation                                                  $3,428.48              $0.00                                                                     $3,428.48
Garcia Urquieta, Christian E
2724 N. Bristol St.
Apt. H3                                                        RS Legacy Corporation fka RadioShack
Santa Ana, CA 92706                        8487      8/18/2015 Corporation                                                    $499.77                                                                                          $499.77
Bonomo, Wayne
12709 Ox Meadow Dr.                                            RS Legacy Corporation fka RadioShack
Oak Hill, VA 20171                         8488      8/18/2015 Corporation                                                                       $90.00                                                                         $90.00
Thurman, Christopher
2965 Clairemont Dr                                             RS Legacy Corporation fka RadioShack
San Diego, CA 92117                        8489      8/18/2015 Corporation                                                  $2,358.00                                                                                        $2,358.00




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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Rosado, Sherly
Villa Verde Calle 10 C‐69                                      RS Legacy Corporation fka RadioShack
Bayamon, PR 00959                          8490      8/19/2015 Corporation                                                     $60.00                                                                                           $60.00
Gross, Michael
102 Woodlawn Avenue                                            RS Legacy Corporation fka RadioShack
Harveys Lake, PA 18618                     8491      8/19/2015 Corporation                                                                       $50.00                                                                         $50.00
Cebell, David
2314 Edingal Dr.                                               RS Legacy Corporation fka RadioShack
Bakersfield, CA 93311                      8492      8/19/2015 Corporation                                                  $1,904.95              $0.00                                                                     $1,904.95
Gilmore, Davia
545 W Division
apt 803                                                        RS Legacy Corporation fka RadioShack
chicago, IL 60610                          8493      8/19/2015 Corporation                                                      $0.00                                                                                            $0.00
Rivera, Eduardo M
1033 Blinn ave                                                 RS Legacy Corporation fka RadioShack
Wilmington, CA 90744                       8494      8/19/2015 Corporation                                                    $837.20              $0.00                                                                       $837.20
Gilmore, Davia
545 W Division Street
apt 803                                                        RS Legacy Corporation fka RadioShack
CHICAGO, IL 60610                          8495      8/19/2015 Corporation                                                      $0.00                                                                                            $0.00
Warburtun, Gail L.
10 W. Farmington St                                            RS Legacy Corporation fka RadioShack
Fenwick Island, DE 19944                   8496      8/20/2015 Corporation                                                     $89.00                                                                                           $89.00
Price, Joann
5907 Nueces Dr                                                 RS Legacy Corporation fka RadioShack
Spring, TX 77389                           8497      8/20/2015 Corporation                                                     $21.64                                                                                           $21.64
Fairpoint Communications
521 East Morehead St                                           RS Legacy Corporation fka RadioShack
Charlotte, NC 28202                        8498      8/17/2015 Corporation                                                  $3,065.26                                                                                        $3,065.26
Fairpoint Communications
521 East Morehead St                                           RS Legacy Corporation fka RadioShack
Charlotte, NC 28202                        8499      8/17/2015 Corporation                                                  $9,216.03                                                                                        $9,216.03
Homampour, Huetan
320 Diana Pl                                                   RS Legacy Corporation fka RadioShack
Fullerton, CA 92833                        8500      8/20/2015 Corporation                                                  $2,641.79              $0.00                                                                     $2,641.79
Fairfield, Heather
8851 Carnation Drive                                           RS Legacy Corporation fka RadioShack
Corona, CA 92883                           8501      8/20/2015 Corporation                                                  $1,217.85              $0.00                                                                     $1,217.85
Soto, Joseph R
3900 Teleport Blvd. #140744                                    RS Legacy Corporation fka RadioShack
Irving, TX 75014                           8502      8/20/2015 Corporation                                                      $0.00                                                                                            $0.00
Soto, Joseph R
3900 Teleport Blvd. #140744                                    RS Legacy Corporation fka RadioShack
Irving, TX 75014                           8503      8/20/2015 Corporation                                                                                                                                 $0.00                 $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                           8504      8/20/2015 Corporation                                                                                                                                                       $0.00
Meduna, Sandy
4853 116th Ave. S.W.                                           RS Legacy Corporation fka RadioShack
Dickinson, ND 58601‐9222                   8505      8/20/2015 Corporation                                                     $50.00                                                                                           $50.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                           8506      8/20/2015 Corporation                                                                                                                                                       $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Baker, Stacey
4308 S Coolidge Ave                                            RS Legacy Corporation fka RadioShack
Tampa , FL 33611                           8507      8/20/2015 Corporation                                                     $50.00                                                                                           $50.00
Frankel, Seth
1615 2nd Ave Apt 8                                             RS Legacy Corporation fka RadioShack
Oakland, CA 94606                          8508      8/21/2015 Corporation                                                  $1,874.67                                                                                        $1,874.67
Swaim, Michael
1873 Creekside Dr                                              RS Legacy Corporation fka RadioShack
Hemet, CA 92545                            8509      8/21/2015 Corporation                                                  $3,859.17                                                                                        $3,859.17
Rhynes, Vincent E.
513 W. 159th Street                                            RS Legacy Corporation fka RadioShack
Gardena, CA 90248                          8510      8/13/2015 Corporation                                                      $0.00                                                                                            $0.00
Ye, Mei
32 Thistle Dr.                                                 RS Legacy Corporation fka RadioShack
Malta, NY 12020                            8511      8/20/2015 Corporation                                                     $10.69                                                                                           $10.69
FW CA‐Granada Village, LLC
Kelley Drye & Warren LLP
Attn: Robert LeHane, Esq.
101 Park Avenue                                                RS Legacy Corporation fka RadioShack
New York, NY 10178                         8512      8/20/2015 Corporation                                                $86,893.26           $6,776.14                                                                    $93,669.40
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                           8513      8/21/2015 Corporation                                                                                                                                                       $0.00
Falcigno, Stephen
26 Dillon Rd                                                   RS Legacy Corporation fka RadioShack
Woodbridge, CT 06525                       8514      8/21/2015 Corporation                                                     $39.47                                                                                           $39.47
Chiu, Alan
3324 Santana Lane                                              RS Legacy Corporation fka RadioShack
Plano, TX 75023                            8515      8/21/2015 Corporation                                                      $0.00                                                                                            $0.00
Dwan, Annis
6 Coombs Circle                                                RS Legacy Corporation fka RadioShack
Newburyport, MA 01950                      8516      8/21/2015 Corporation                                                                      $100.00                                                                        $100.00
Baird, Patricia C.
4909 YAX POINTE DRIVE                                          RS Legacy Corporation fka RadioShack
Howell, MI 48843                           8517      8/21/2015 Corporation                                                                       $21.19                                  $0.00                                  $21.19
Harris, Jazzmin
107 San Anselmo Lane                                           RS Legacy Corporation fka RadioShack
Placentia, CA 92870                        8518      8/21/2015 Corporation                                                    $853.31              $0.00                                                                       $853.31
Carp, Travis
31933 Constellation Drive                                      RS Legacy Corporation fka RadioShack
Sun City, CA 92586                         8519      8/22/2015 Corporation                                                    $796.61                                                                                          $796.61
RPAI King's Grant, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                      RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                         8520      8/21/2015 Corporation                                                $59,398.05                                                                                        $59,398.05
Gillard, Mary Ann
28856 Ravenwood                                                RS Legacy Corporation fka RadioShack
Farmington Hills, MI 48334                 8521      8/21/2015 Corporation                                                    $148.44                                                                                          $148.44
Tripp, Regina
48 Wexford Lane                                                RS Legacy Corporation fka RadioShack
Oceanside, NY 11572                        8522      8/21/2015 Corporation                                                    $108.65                                                                                          $108.65



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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Curiel, Apolonio A.
5642 Geer St                                                   RS Legacy Corporation fka RadioShack
Los Angeles, CA 90016                      8523      8/21/2015 Corporation                                                                      $900.00            $900.00                                                   $1,800.00
Rubio, Enrique
659 W 6th Apt A                                                RS Legacy Corporation fka RadioShack
San Pedro, CA 90731                        8524      8/21/2015 Corporation                                                    $385.74              $0.00                                                                       $385.74
Deaton, Sarah
1509 Barrywood Lane                                            RS Legacy Corporation fka RadioShack
Hemet, CA 92545                            8525      8/22/2015 Corporation                                                    $810.00              $0.00                                                                       $810.00
Walker, Janeen
PO Box 8952                                                    RS Legacy Corporation fka RadioShack
Reno, NV 89507                             8526      8/24/2015 Corporation                                                     $48.45                                                                                           $48.45
SHERIFF OF MARSHALL COUNTY
MARSHALL COUNTY COURTHOUSE
PO BOX 648                                                     RS Legacy Corporation fka RadioShack
MOUNDSVILLE, WV 26041                      8527      8/24/2015 Corporation                                                                     $1,919.98                                                                     $1,919.98
Garofalo, Maria Ann
24 Blair Rd.                                                   RS Legacy Corporation fka RadioShack
Aberdeen, NJ 07747                         8528      8/24/2015 Corporation                                                     $53.49                                                                                           $53.49
Berman, David
2701 Westwood Blvd                                             RS Legacy Corporation fka RadioShack
Los Angeles, CA 90064                      8529      8/24/2015 Corporation                                                  $1,130.49                                                                                        $1,130.49
Khogali, Nada
1035 Shelter Lane                                              RS Legacy Corporation fka RadioShack
Lansing, MI 48912                          8530      8/25/2015 Corporation                                                                                                             $100.00                                 $100.00
Reyna, Esther Catalina
111 Jackson St                                                 RS Legacy Customer Service LLC fka RadioShack
Laguna Heights, TX 78578                   8531      8/24/2015 Customer Service LLC                                            $75.76                                                                                           $75.76
Curiel, Apolonio A.
5642 Geer St                                                   RS Legacy Corporation fka RadioShack
Los Angeles, CA 90016                      8532      8/24/2015 Corporation                                                  $1,474.64              $0.00             $0.00                                                   $1,474.64
Benson, Dylan
1719 Semoran N. Cir. #103                                      RS Legacy Corporation fka RadioShack
Winter Park, FL 32792                      8533      8/24/2015 Corporation                                                     $25.00                                                                                           $25.00
TKG Southeast Market Center Dev, LLP
c/o TKG Management, Inc.
Attn: Jason Meyerpeter
211 North Stadium Blvd., Suite 201                             RS Legacy Corporation fka RadioShack
Columbia, MO 65203                         8534      8/24/2015 Corporation                                                  $1,566.39                                                                                        $1,566.39
Devoley, Margret
7429 N.Via Camello Del Norte
Unit 152                                                       RS Legacy Corporation fka RadioShack
Scottsdale, AZ 85258                       8535      8/24/2015 Corporation                                                     $33.79                                                                                           $33.79
MULLEN, IAN
2014 FERN ST #F                                                RS Legacy Corporation fka RadioShack
HONOLULU, HI 96825                         8536      8/22/2015 Corporation                                                     $14.30                                                                                           $14.30
Bonilla, Kathy Eloisa
215 Avenida Monterey
Apt. 3                                                         RS Legacy Corporation fka RadioShack
San Clemente, CA 92672                     8537      8/21/2015 Corporation                                                  $1,876.36                                                                                        $1,876.36




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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Culleton, Sandra
PO Box 83                                                      RS Legacy Corporation fka RadioShack
East Wakefield, NH 03830                   8538      8/25/2015 Corporation                                                     $19.00                                                                                           $19.00
Sentry, Peter
3529 S Pine Ave.                                               RS Legacy Corporation fka RadioShack
Milwaukee, WI 53207                        8539      8/25/2015 Corporation                                                     $53.61                                                                                           $53.61
Bride, John
125 Lindsley Ct                                                RS Legacy Corporation fka RadioShack
Hendersonville, NC 28792                   8540      8/25/2015 Corporation                                                      $0.00                                                   $31.75                                  $31.75
Love, George A
5016 Lincoln Oaks Drive N
#703                                                           RS Legacy Corporation fka RadioShack
Ft Worth, TX 76132                         8541      8/25/2015 Corporation                                                      $0.00                                                                                            $0.00
DiMarco, Matthew
44203 Maidens ct.                                              RS Legacy Corporation fka RadioShack
Leonardtown, MD 20650                      8542      8/25/2015 Corporation                                                                       $45.00                                  $0.00                                  $45.00
Teasley, Kenneth U.
3618 Riviera Street                                            RS Legacy Corporation fka RadioShack
Temple Hills, MD 20748                     8543      8/25/2015 Corporation                                                     $60.00                                                                                           $60.00
Brandon, Michael
499 Middle St                                                  RS Legacy Corporation fka RadioShack
Weymouth, MA 02189                         8544      8/25/2015 Corporation                                                     $80.00                                                                                           $80.00
Hansen, Destiny
1460 Yost DR                                                   RS Legacy Corporation fka RadioShack
San Diego, CA 92109                        8545      8/25/2015 Corporation                                                                       $32.39                                                                         $32.39
Malsom, Rita
PO Box 292                                                     RS Legacy Corporation fka RadioShack
Dodge Center, MN 55927                     8546      8/25/2015 Corporation                                                    $180.00                                                                                          $180.00
Kalpakchian, Arthur
4197 N. Shallowford Rd. unit "C"                               RS Legacy Corporation fka RadioShack
Atlanta, GA 30341                          8547      8/25/2015 Corporation                                                     $50.00                                                                                           $50.00
Urizabel, Jacqueline
68505 30th Ave                                                 RS Legacy Corporation fka RadioShack
Cathedral City, CA 92234                   8548      8/25/2015 Corporation                                                    $194.58              $0.00                                                                       $194.58
Sanderfer, Shawn
561 Washington Blvd.                                           RS Legacy Corporation fka RadioShack
Marina Del Rey, CA 90292                   8549      8/25/2015 Corporation                                                     $18.45                                                                                           $18.45
Stoian, Ioan
2325 Lennox Ct.                                                RS Legacy Corporation fka RadioShack
Round Lake Beach, IL 60073                 8550      8/25/2015 Corporation                                                                       $29.46                                                                         $29.46
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                           8551      8/25/2015 Corporation                                                                                                                                                       $0.00
Love, George A.
5016 Lincoln Oaks Dr. N. #703                                  RS Legacy Corporation fka RadioShack
Ft. Worth, TX 76132                        8552      8/25/2015 Corporation                                                                                                                                 $0.00                 $0.00
Grossman, Nicole
1412 Swann Streek, NW                                          RS Legacy Corporation fka RadioShack
Washington, DC 20009                       8553      8/24/2015 Corporation                                                                       $80.00                                                                         $80.00
Bast, Kenneth Douglas
314 West Thomas Street                                         RS Legacy Corporation fka RadioShack
Salisbury, NC 28144‐5352                   8554      8/25/2015 Corporation                                                     $25.00                                                                                           $25.00




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                                                                                                                      Current General                                            Current 503(b)(9)
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            Creditor Name and Address        Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                          Amount                                                     Amount
Martin, Virginia T.
1118 5th Avenue # 7171                                             RS Legacy Corporation fka RadioShack
Seattle , WA 98101                             8555      8/25/2015 Corporation                                                     $32.00                                                                                           $32.00
Commonwealth of Pennsylvania Department of
Revenue
Bureau Of Compliance
PO Box 280946                                                      RS Legacy Corporation fka RadioShack
Harrisburg, PA 17128‐0946                      8556      8/25/2015 Corporation                                                                                                                                 $0.00                 $0.00
Gutierrez, Tomasa
82399 Bliss Ave                                                    RS Legacy Corporation fka RadioShack
Indio, CA 92201                                8557      8/25/2015 Corporation                                                  $2,802.14              $0.00                                                                     $2,802.14
Toren, Nicholas
1247 11th St. #3                                                   RS Legacy Corporation fka RadioShack
Santa Monica, CA 90401                         8558      8/25/2015 Corporation                                                                                                              $40.00                                  $40.00
Nolan, James
504 Oak Circle                                                     RS Legacy Corporation fka RadioShack
West Chester, PA 19380                         8559      8/26/2015 Corporation                                                      $0.00            $43.00                                                                         $43.00
Gary/Karen Geiger
94 Townsend Avenue                                                 RS Legacy Corporation fka RadioShack
Norwalk, OH 44857                              8560      8/26/2015 Corporation                                                                       $83.83              $0.00               $0.00                                  $83.83
Sampson County Tax Office
PO Box 207                                                         RS Legacy Corporation fka RadioShack
Clinton, NC 28329                              8561      8/26/2015 Corporation                                                                       $16.90                                                                         $16.90
Alijani, Zahra Kedvani
20034 Hob Hill Way                                                 RS Legacy Corporation fka RadioShack
Gaithersburg, MD 20879                         8562      8/25/2015 Corporation                                                     $55.00                                                                                           $55.00
DeTore, Charles E.
653 Hillwell Road                                                  RS Legacy Corporation fka RadioShack
Chesapeake, VA 23322                           8563      8/25/2015 Corporation                                                      $0.00                                                                                            $0.00
Fuller, Timothy
1468 Japaul Ln                                                     RS Legacy Corporation fka RadioShack
San Jose, CA 95132                             8564      8/25/2015 Corporation                                                      $0.00            $50.00                                                                         $50.00
Ellis, Peggy L.
PO Box 2308                                                        RS Legacy Corporation fka RadioShack
Cleveland, TN 37320                            8565      8/26/2015 Corporation                                                                       $25.00                                  $0.00                                  $25.00
Head, Lorenzo Quinn
PO Box 8049                                                        RS Legacy Corporation fka RadioShack
Gadsden, AL 35902                              8566      8/26/2015 Corporation                                                    $272.49                                                                                          $272.49
Baller Sr., David M.
166 South Park St.                                                 RS Legacy Corporation fka RadioShack
Wheeling, WV 26003                             8567      8/26/2015 Corporation                                                     $35.00                                                                                           $35.00
Onstad, Carol J.
8078 Wieser Road                                                   RS Legacy Corporation fka RadioShack
Hokah, MN 55941                                8568      8/26/2015 Corporation                                                                                          $78.84                                                      $78.84
Hauck Holdings Hannibal MO I LLC
c/o Philomena S. Ashdown
Strauss Troy
150 E 4th Street, Ste 400                                          RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                           8569      8/26/2015 Corporation                                                  $1,380.29                                                                                        $1,380.29
KERNELLU, KIRAN
1333 Webster Street, Apt. A306                                     RS Legacy Corporation fka RadioShack
Alameda, CA 94501                              8570      8/26/2015 Corporation                                                     $16.28                                                                                           $16.28



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                                                                                                                     Current General                                            Current 503(b)(9)
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            Creditor Name and Address       Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                     Amount
Duong, Thuytien
1501 E Wilson Ave                                                 RS Legacy Corporation fka RadioShack
Las Vegas, NV 89101                           8571      8/26/2015 Corporation                                                    $196.55                                                                                          $196.55
GARG, HIMANSHU
5610 Ashford Ridge Ln                                             RS Legacy Corporation fka RadioShack
Katy, TX 77450                                8572      8/26/2015 Corporation                                                    $250.00                                                                                          $250.00
Joerling, Donna
275 Seminole Road                                                 RS Legacy Corporation fka RadioShack
Sunrise Beach, MO 65079                       8573      8/26/2015 Corporation                                                     $23.02                                                                                           $23.02
Ostap, Jerry
79 E. Country Club Ct.                                            RS Legacy Corporation fka RadioShack
Palatine, IL 60067                            8574      8/26/2015 Corporation                                                     $35.95                                                                                           $35.95
Biddelman, Mark
568 Hillsdale Ave                                                 RS Legacy Corporation fka RadioShack
Hillsdale, NJ 07642                           8575      8/25/2015 Corporation                                                      $8.47                                                                                            $8.47
Mcintosh, Don                                                     RS Legacy Corporation fka RadioShack
                                              8576      8/26/2015 Corporation                                                     $30.00                                                                                           $30.00
Silva, Jonathan
9452 Carlton Hills Blvd.                                          RS Legacy Corporation fka RadioShack
Santee, CA 92071                              8577      8/27/2015 Corporation                                                                                                              $65.31                                  $65.31
OCS Builders Group LLC
420 Westbury Avenue                                               RS Legacy Corporation fka RadioShack
Carle Place, NY 10017                         8578      8/27/2015 Corporation                                                $28,799.40                                                                                        $28,799.40
JIN‐TAO LEE
5F. No. 285‐7 Min‐An Rd
Xinzhuang Dist.
New Taipei City 242                                               RS Legacy Corporation fka RadioShack
Taiwan                                        8579      8/27/2015 Corporation                                                                                                                                 $0.00                 $0.00
New York State Department of Taxation and
Finance
Bankruptcy Section
PO Box 5300                                                       RS Legacy Corporation fka RadioShack
Albany, NY 12205‐0300                         8580      8/28/2015 Corporation                                                                                                                               $467.76               $467.76
Derdevanis, Candice
613 Willow Street
Apt C                                                             RS Legacy Corporation fka RadioShack
Alameda, CA 94501                             8581      8/28/2015 Corporation                                                     $17.31                                                                                           $17.31
Condan Enterprises, LLC
c/o Eric J. Snyder
Wilk Auslander, LLP
1515 Broadway, 43rd Floor                                         RS Legacy Corporation fka RadioShack
New York, NY 10036                            8582      8/28/2015 Corporation                                               $281,131.83                                                                   $5,815.09           $286,946.92
Condan Enterprises, LLC
c/o Eric J. Snyder
Wilk Auslander, LLP
1515 Broadway, 43rd Floor                                         RS Legacy Corporation fka RadioShack
New York, NY 10036                            8583      8/28/2015 Corporation                                                      $0.00                                                                      $0.00                 $0.00
Westbrook, Pattie
2000 Edinburgh Dr.                                                RS Legacy Corporation fka RadioShack
Cary, NC 27511                                8584      8/28/2015 Corporation                                                     $85.66                                                                                           $85.66




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Park Tysen Associates, LLC
c/o Eric J. Snyder
Wilk Auslander LLP
1515 Broadway, 43rd Floor                                      RS Legacy Corporation fka RadioShack
New York, NY 10036                         8585      8/28/2015 Corporation                                               $244,550.41                                                                   $8,481.48           $253,031.89
KRG Draper Peaks, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                      RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                         8586      8/28/2015 Corporation                                                                                                                               $457.65               $457.65
Reilly II, James P
1411 Medinah Ct                                                RS Legacy Corporation fka RadioShack
Arnold, MD 21012                           8587      8/28/2015 Corporation                                                     $21.21                                                                                           $21.21
Nickel, Cindy
1185 Cloverleigh Dr                                            RS Legacy Corporation fka RadioShack
Madison, OH 44057                          8588      8/28/2015 Corporation                                                     $42.90                                                                                           $42.90
COLDEN, CYNTHIA
275 Settlement Drive                                           RS Legacy Corporation fka RadioShack
Burlington, WI 53105                       8589      8/28/2015 Corporation                                                     $89.75                                                                                           $89.75
Rodriguez, Rosa
2205 Ellis Drive                                               RS Legacy Corporation fka RadioShack
Flower Mound, TX 75028                     8590      8/30/2015 Corporation                                                     $27.05                                                                                           $27.05
Rodriguez, Rosa
2205 Ellis Drive                                               RS Legacy Corporation fka RadioShack
Flower Mound, TX 75028                     8591      8/30/2015 Corporation                                                     $27.05                                                                                           $27.05
Sansonetti, Steven
1787 Solvang Mill Drive                                        RS Legacy Corporation fka RadioShack
Las Vegas, NV 89135                        8592      8/29/2015 Corporation                                                                       $40.00                                                                         $40.00
Austin, Traci J.
10804 Leanne Dr.                                               RS Legacy Corporation fka RadioShack
Tampa, FL 33610                            8593      8/29/2015 Corporation                                                                                                             $750.00                                 $750.00
Corbett, Carla
227 Maureen Ave.                                               RS Legacy Corporation fka RadioShack
Dickeyville, WI 53808                      8594      8/28/2015 Corporation                                                     $25.00                                                                                           $25.00
Motahar, Koorosh
15 Peterson Lane                                               RS Legacy Corporation fka RadioShack
Elkton, MD 21921                           8595      8/28/2015 Corporation                                                     $25.00                                                                                           $25.00
Russell County, Alabama
Naomi Elliott, Revenue Commissioner
PO Box 669                                                     RS Legacy Corporation fka RadioShack
Phenix City, AL 36868‐0669                 8596      8/28/2015 Corporation                                                                                         $223.02                                                     $223.02
Black, Mary
8 London Place                                                 RS Legacy Corporation fka RadioShack
Somerset, NJ 08873                         8597      8/28/2015 Corporation                                                                       $21.39                                                                         $21.39
TOWN OF TOLLAND
Collector of Revenue
21 Tolland Green                                               RS Legacy Corporation fka RadioShack
Tolland, CT 06084                          8598      8/28/2015 Corporation                                                                                           $0.00                                                       $0.00
Tharp, Beverly Ann
1406 W 55th                                                    RS Legacy Corporation fka RadioShack
North Little Rock, AR 72118                8599      8/28/2015 Corporation                                                                       $19.50                                                                         $19.50



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                                                                                                                   Current General                                            Current 503(b)(9)
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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Geiser, Karen
94 Townsend Ave                                                RS Legacy Corporation fka RadioShack
Norwalk, OH 44857                          8600      8/31/2015 Corporation                                                                          $0.00                                 $0.00                                   $0.00
Levaggi, Scott
214 Castilian Way                                              RS Legacy Corporation fka RadioShack
San Mateo, CA 94402                        8601      8/31/2015 Corporation                                                      $26.26                                                                                           $26.26
DOUGLAS COUNTY TAX COMMISSIONER
PO BOX 1177                                                    RS Legacy Corporation fka RadioShack
DOUGLASVILLE, GA 30133                     8602      8/31/2015 Corporation                                                                          $0.00                                                                         $0.00
GAUCIN, MARLENE
8961 Del Rio Circle                                            RS Legacy Corporation fka RadioShack
Gilroy, CA 95020                           8603      8/31/2015 Corporation                                                       $0.00                                                                                            $0.00
Wagner, Carol
2310 Camille Rd. S.W.                                          RS Legacy Corporation fka RadioShack
Sherrodsville, OH 44675                    8604      8/31/2015 Corporation                                                      $31.94                                                                                           $31.94
Warner, Philip
2875 Cambria CT                                                RS Legacy Corporation fka RadioShack
Cumming, GA 30041                          8605      8/31/2015 Corporation                                                      $33.00                                                                                           $33.00
Sipio, John A.
761 Burmont Road
First Floor                                                    RS Legacy Corporation fka RadioShack
Drexel Hill, PA 19026                      8606      8/31/2015 Corporation                                                                                                                                  $0.00                 $0.00
Tyson, Hazel
1660 Norwood Ave, Apt 308                                      RS Legacy Corporation fka RadioShack
Itasca, IL 60143                           8607      8/31/2015 Corporation                                                      $28.91                                                                                           $28.91
SEGALLA, GOLDBERG
Administrative Offices
95 Earhart Drive Suite 104                                     RS Legacy Corporation fka RadioShack
AMHERST, NY 14221‐7801                     8608      8/31/2015 Corporation                                                   $4,425.84                                                                                        $4,425.84
TRENTON WATER WORKS
CITY OF TRENTON / ACCOUNTS & CONTROL
319 East State St., Room 113                                   RS Legacy Corporation fka RadioShack
Trenton, NJ 08608                          8609      8/31/2015 Corporation                                                     $144.12                                                                                          $144.12
Kachhia, Dipesh
3255 Montelena Drive                                           RS Legacy Corporation fka RadioShack
San Jose, CA 95135                         8610      8/31/2015 Corporation                                                      $94.00                                                                                           $94.00
Becker, Luz Maria
301 Greenview Lane                                             RS Legacy Corporation fka RadioShack
Lake Villa, IL 60046                       8611      8/31/2015 Corporation                                                      $35.00                                                                                           $35.00
Becker, Ellen
632 Albert St                                                  RS Legacy Corporation fka RadioShack
Salina, KS 67401                           8612      8/31/2015 Corporation                                                       $0.00                                                                                            $0.00
GENIC ELECTRONICS CO, LTD.
1E., NO. 334, MIN‐AN RD.,                                      RS Legacy Global Sourcing Limited Partnership
SINJHUANG CITY, TAIPEI HSIEN 242                               fka RadioShack Global Sourcing Limited
TAIWAN                                     8613      8/27/2015 Partnership                                                   $9,910.40                                                                                        $9,910.40
White, Nicholas
19701 NE Davis Rd.                                             RS Legacy Corporation fka RadioShack
Brush Prairie , WA 98606                   8614      8/31/2015 Corporation                                                      $73.81                                                                                           $73.81
Gadreault, Deborah A
58 Calvin Street                                               RS Legacy Corporation fka RadioShack
West Springfield, MA 01089                 8615      8/31/2015 Corporation                                                      $60.00                                                                                           $60.00



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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Adamshick, Patty
2724 Oxbridge Dr                                               RS Legacy Corporation fka RadioShack
Toledo, OH 43614                           8616      8/31/2015 Corporation                                                     $54.00                                                                                           $54.00
Wu, Michelle
One Lake Bellevue Drive Suite 105                              RS Legacy Customer Service LLC fka RadioShack
Bellevue, WA 98005                         8617      8/31/2015 Customer Service LLC                                            $65.69                                                                                           $65.69
Gehbauer, Jamie
17711 Willow Trail Dr                                          RS Legacy Corporation fka RadioShack
Baton Rouge, LA 70817                      8618      8/31/2015 Corporation                                                     $16.34                                                                                           $16.34
Sipio, John
761 Burmont Road
1st Floor                                                      RS Legacy Corporation fka RadioShack
Drexel Hill, PA 19026                      8619      8/31/2015 Corporation                                                                       $49.99                                                                         $49.99
Lintner, Martin
50 Burda Avenue                                                RS Legacy Corporation fka RadioShack
New City, NY 10956                         8620      8/31/2015 Corporation                                                                                                              $22.00                                  $22.00
Kutnick, Richard
2096 Miramar Blvd                                             RS Legacy Corporation fka RadioShack
South Euclid, OH 44121                     8621      9/1/2015 Corporation                                                      $42.31                                                                                           $42.31
Shoemaker, Jodi
931 Church Street                                             RS Legacy Corporation fka RadioShack
Mount Joy, PA 17552                        8622      9/1/2015 Corporation                                                     $100.71                                                                                          $100.71
Brown, Brittany
7105 Portsmouth Road                                          RS Legacy Corporation fka RadioShack
Baltimore, MD 21244‐3432                   8623      9/1/2015 Corporation                                                      $21.19                                                                                           $21.19
RPAI McDonough Henry Town, L.L.C.
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                     RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                         8624      9/1/2015 Corporation                                                 $63,278.26                                                                                        $63,278.26
Kutelmack, Linda A.
4611 "A" Street                                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19120                     8625      9/1/2015 Corporation                                                      $60.00                                                                                           $60.00
Young, Tina
N1417 Evening Star Dr                                         RS Legacy Corporation fka RadioShack
Greenville , WI 54942                      8626      9/1/2015 Corporation                                                                        $20.00              $0.00                                                      $20.00
Curtis, Jeanette
705 West Chanslor Way                                         RS Legacy Corporation fka RadioShack
Blythe, CA 92225                           8627      9/1/2015 Corporation                                                   $4,701.55              $0.00                                                                     $4,701.55
Hentosh, Teresa M.
223 Jacobs Road                                               RS Legacy Customer Service LLC fka RadioShack
Hubbard, OH 44425                          8628      9/1/2015 Customer Service LLC                                                               $66.05                                                                         $66.05
Haagen, Betty
12302 EXPOSITION BOULEVARD                                    RS Legacy Corporation fka RadioShack
LOS ANGELES, CA 90064                      8629      9/1/2015 Corporation                                                                                           $86.59               $0.00                                  $86.59
Cacicio, Darcy A.
235 Center Road                                               RS Legacy Corporation fka RadioShack
Montpelier, VT 05602                       8630      9/1/2015 Corporation                                                                        $15.90                                                                         $15.90




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            Creditor Name and Address       Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
Jefferson Parish Department of Water
Reed Smith, Office of the Parish Attorney
General Office Building
200 Derbigny Street, Suite 5200                                  RS Legacy Corporation fka RadioShack
Gretna, LA 70123                              8631      9/1/2015 Corporation                                                    $516.99                                                                                          $516.99
Kaposi, Jesse O.
64 Santa Maria Drive                                             RS Legacy Corporation fka RadioShack
Novato, CA 94947                              8632      9/1/2015 Corporation                                                                                                              $43.29                                  $43.29
Nate, Tran
5628 MICHAEL P. ANDERSON LANE                                    RS Legacy Corporation fka RadioShack
EL PASO, TX 79934                             8633      9/2/2015 Corporation                                                                       $54.00              $0.00                                                      $54.00
KRG Draper Peaks, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                        RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                            8634      9/2/2015 Corporation                                                    $101.74                                                                                          $101.74
KRG Merrimack Village, LLC
Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street                                        RS Legacy Corporation fka RadioShack
Syracuse, NY 13202                            8635      9/2/2015 Corporation                                                $52,394.27                                                                                        $52,394.27
Stauble, Beat
825 Kalli Creek Lane                                             RS Legacy Corporation fka RadioShack
St. Augustine, FL 32080                       8636      9/2/2015 Corporation                                                     $22.25                                                                                           $22.25
Wisbach, Kristi
4442 Vereda Luna Llena                                           RS Legacy Corporation fka RadioShack
San Diego, CA 92130                           8637      9/2/2015 Corporation                                                     $17.59                                                                                           $17.59
Summers, Earnest
2253 Freedom ave                                                 RS Legacy Corporation fka RadioShack
Mims, FL 32754                                8638      9/2/2015 Corporation                                                    $126.73                                                                                          $126.73
Gertler, Ari
201 ocean ave #1005B                                             RS Legacy Corporation fka RadioShack
Santa Monica, CA 90402                        8639      9/2/2015 Corporation                                                     $26.68                                                                                           $26.68
Miller, Samuel
711 N Madison St                                                 RS Legacy Corporation fka RadioShack
Raymore, MO 64083                             8640      9/2/2015 Corporation                                                     $25.00                                                                                           $25.00
WOIRHAYE, GWEN
5810 FRIENDS AVE                                                 RS Legacy Corporation fka RadioShack
WHITTIER, CA 90601                            8641      9/2/2015 Corporation                                                    $210.84                                                                                          $210.84
Burd, Jeffrey
4330 SW 72nd Way                                                 RS Legacy Corporation fka RadioShack
Davie, FL 33314                               8642      9/2/2015 Corporation                                                     $50.00                                                                                           $50.00
Bhatnager, Tony
400 Devonshire Drive                                             RS Legacy Corporation fka RadioShack
Franlin Lakes, NJ 07417                       8643      9/3/2015 Corporation                                                    $100.00                                                                                          $100.00
Jaap, Lori
14606 Corys Ct.                                                  RS Legacy Corporation fka RadioShack
Glenelg, MD 21737                             8644      9/3/2015 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address        Claim No.   Claim Date                    Debtor                         Unsecured Claim                                              Admin Priority
                                                                                                                                             Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                          Amount                                                      Amount
PADGETT, RENDA
162 Huntington Street Apt #1F                                     RS Legacy Corporation fka RadioShack
Brooklyn, NY 11231                             8645      9/3/2015 Corporation                                                                          $0.00                                                                          $0.00
Besterman, Yaniv
56 Canterbury Lane                                                RS Legacy Corporation fka RadioShack
New Milford, NJ 07646                          8646      9/3/2015 Corporation                                                     $175.00                                                                                           $175.00
McGuire, Janine
3020 Center Ave.                                                  RS Legacy Corporation fka RadioShack
Fort Lauderdale, FL 33308                      8647      9/3/2015 Corporation                                                                                                                $50.00                                  $50.00
Oh, Michael
270 Marin Blvd
Apt 17H                                                           RS Legacy Corporation fka RadioShack
Jersey City, NJ 07302                          8648      9/3/2015 Corporation                                                                                                                $16.04                                  $16.04
Gozell, Branden
798 Meda St                                                       RS Legacy Corporation fka RadioShack
Memphis, TN 38104‐5550                         8649      9/3/2015 Corporation                                                                                                                $16.37                                  $16.37
Hosey, Christopher
11203 E. Peakview Ave                                             RS Legacy Corporation fka RadioShack
Centennial, CO 80111                           8650      9/3/2015 Corporation                                                                                            $15.00                                                      $15.00
McBride, Sheryl
PO Box 81056                                                      RS Legacy Corporation fka RadioShack
Lafayette, LA 70598                            8651      9/3/2015 Corporation                                                      $14.15                                                                                            $14.15
Curtis, Jeanette
705 West Chanslor Way                                             RS Legacy Corporation fka RadioShack
Blythe, CA 92225                               8652      9/1/2015 Corporation                                                                          $0.00                                                                          $0.00
JONES, MELISSA
1014 Brookmere Dr                                                 RS Legacy Corporation fka RadioShack
Dallas, TX 75216                               8653      9/3/2015 Corporation                                                                         $30.00                                                                         $30.00
Garcia, Fernando
1124 Hyatt Ave                                                    RS Legacy Corporation fka RadioShack
Wilmington, CA 90744                           8654      9/3/2015 Corporation                                                   $2,931.25                                                                                         $2,931.25
Richardson, Margaret
132 Hobart ave                                                    RS Legacy Corporation fka RadioShack
Short Hills, NJ 07078‐2001                     8655      9/4/2015 Corporation                                                      $23.21                                                                                            $23.21
Sefchik, John R.
208 Orchard Avenue                                                RS Legacy Corporation fka RadioShack
Scottdale, PA 15683                            8656      9/4/2015 Corporation                                                      $25.00                                                                                            $25.00
Abel, Kathleen S.
8790 Tallmadge Road                                               RS Legacy Corporation fka RadioShack
Diamond , OH 44412                             8657      9/4/2015 Corporation                                                     $100.00                                                                                           $100.00
Dun & Bradstreet
c/o RMS (an iQor Company)
PO Box 361345                                                     RS Legacy Corporation fka RadioShack
Columbus, OH 43236                             8658      9/4/2015 Corporation                                                 $31,996.13           $29,795.35                                                                    $61,791.48
New York State Dept. of Taxation & Finance
Bankruptcy Section
PO Box 5300                                                        RS Legacy Corporation fka RadioShack
Albany, NY 12205‐0300                          8659      2/13/2015 Corporation                                                      $0.00              $0.00                                                                          $0.00
FALCONE, ANTOINETTE
55 Bay Point Court                                                RS Legacy Corporation fka RadioShack
W. Babylon, NY 11704                           8660      9/4/2015 Corporation                                                      $18.46                                                                                            $18.46




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            Creditor Name and Address              Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
Bednar, Michael A.
1250 Arden Road                                                         RS Legacy Global Sourcing Corporation fka
Erie, PA 16504                                       8661      9/4/2015 RadioShack Global Sourcing Corporation                                               $0.00                                 $0.00                                   $0.00
Leitner, Gena
74 Holster Road                                                         RS Legacy Corporation fka RadioShack
Clifton, NJ 07013                                    8662      9/4/2015 Corporation                                                       $0.00                                                                                            $0.00
Sharkey, Greg
166 St. Helena Ct.                                                      RS Legacy Corporation fka RadioShack
Danville, CA 94526                                   8663      9/4/2015 Corporation                                                                                                               $25.00                                  $25.00
Branda, Eileen
8945 McLennan Avenue                                                    RS Legacy Corporation fka RadioShack
Northridge, CA 91343                                 8664      9/7/2015 Corporation                                                      $41.41                                                                                           $41.41
Hamilton, Loretta
1038 shoreline dr.                                                      RS Legacy Corporation fka RadioShack
San Mateo, CA 94404                                  8665      9/4/2015 Corporation                                                      $25.00                                                                                           $25.00
Zhou, Wenying
827 highland Ave #G                                                     RS Legacy Corporation fka RadioShack
San Mateo, CA 94401                                  8666      9/6/2015 Corporation                                                      $10.00                                                                                           $10.00
markoff, Julia
43 odonnell ave                                                         RS Legacy Customer Service LLC fka RadioShack
East falmouth, MA 02536                              8667      9/5/2015 Customer Service LLC                                                                                                      $50.00                                  $50.00
McGraw, Bridget
3040 Modesto Avenue                                                     RS Legacy Corporation fka RadioShack
Oakland, CA 94619                                    8668      9/5/2015 Corporation                                                      $25.00                                                                                           $25.00
Dave, Jyoti
34 Sovereign Ridge                                                      RS Legacy Corporation fka RadioShack
Cromwell, CT 06416                                   8669      9/8/2015 Corporation                                                      $25.00                                                                                           $25.00
Dave, Jyoti
34 Sovereign Ridge                                                      RS Legacy Corporation fka RadioShack
Cromwell, CT 06416                                   8670      9/8/2015 Corporation                                                      $25.00                                                                                           $25.00
Dell'lsola, Anthony
7270 Ridgeview Drive West                                               RS Legacy Corporation fka RadioShack
North Tonawanda, NY 14120                            8671      9/7/2015 Corporation                                                                        $50.00                                                                         $50.00

Wichita County
Perdue, Brandon, Fielder, Collins & Mott, l.L.P.
Jeanmarie Baer
PO Box 8188                                                              RS Legacy Corporation fka RadioShack
Wichita Falls , TX 76307                             8672      2/18/2015 Corporation                                                                                       $5,770.90                                                   $5,770.90

Young County
Jeanmarie Baer
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
PO Box 8188                                                              RS Legacy Corporation fka RadioShack
Wichita Falls, TX 76307                              8673      2/18/2015 Corporation                                                  $9,593.04                                                                                        $9,593.04

Cooke County Appraisal District
Jeanmarie Baer
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
PO Box 8188                                                              RS Legacy Corporation fka RadioShack
Wichita Falls, TX 76307                              8674      2/18/2015 Corporation                                                                                       $3,669.27                                                   $3,669.27




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                                                                                                                                                  Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address              Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
The Vice President Admin.‐Finance of AAA Cooper
Transportation
1751 Kinsey Rd
PO Box 6827                                                              RS Legacy Corporation fka RadioShack
Dorthan, AL 36302                                    8675      2/18/2015 Corporation                                                    $545.50                                                                                          $545.50
Young, Mary Vic
2106 Bobby Jones Way                                                    RS Legacy Corporation fka RadioShack
Westlake, LA 70669                                   8676      9/4/2015 Corporation                                                                       $110.66                                                                        $110.66
Roberson, Michelle R.
417 Clearview Ave                                                       RS Legacy Corporation fka RadioShack
Harwinton, CT 06791                                  8677      9/4/2015 Corporation                                                      $50.00                                                                                           $50.00

Johnson County
Elizabeth Banda Calvo
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
500 East Border St, Suite 640                                            RS Legacy Corporation fka RadioShack
Arlington, TX 76010                                  8678      2/18/2015 Corporation                                                                                           $0.00                                                       $0.00
Lebron, Gabriel Perez
Urb Villas de Candelero #163                                            RS Legacy Corporation fka RadioShack
Humacao, PR 00791                                    8679      9/4/2015 Corporation                                                       $0.00                                                                                            $0.00
Jaap, Lori
14606 Corys Ct.                                                         RS Legacy Corporation fka RadioShack
Glenelg, MD 21737                                    8680      9/8/2015 Corporation                                                                                                                                                        $0.00
New York State Department of Taxation and
Finance
Bankruptcy Section
PO Box 5300                                                             RS Legacy Corporation fka RadioShack
Albany, NY 12205‐0300                                8681      9/4/2015 Corporation                                                       $0.00              $0.00                                                                         $0.00
Dawkins Jr., Lonnie
506 Serene Dr.                                                          RS Legacy Corporation fka RadioShack
Gaffney, SC 29340                                    8682      9/4/2015 Corporation                                                                          $0.00                                                                         $0.00
Watos, Armando
Calle Coin S 12
Villa Andalucia                                                         RS Legacy Corporation fka RadioShack
San Juan, PR 00926                                   8683      9/8/2015 Corporation                                                       $0.00                                                                                            $0.00
Johnson, Julie
2686 N 3501 Road                                                        RS Legacy Corporation fka RadioShack
Marseilles, IL 61341                                 8684      9/8/2015 Corporation                                                                        $47.00                                                                         $47.00
Villegas, Victor
5353 Ridge Apt #20                                                      RS Legacy Corporation fka RadioShack
El Paso, TX 79932                                    8685      9/8/2015 Corporation                                                       $0.00                                                                                            $0.00
Kelly, Elizabeth
2251 10th Street                                                        RS Legacy Corporation fka RadioShack
White Bear Lake, MN 55110                            8686      9/8/2015 Corporation                                                                        $50.00              $0.00                                                      $50.00
Bay Plaza Community Center LLC
546 Fifth Ave. 15th Floor                                               RS Legacy Corporation fka RadioShack
New York , NY 10036                                  8687      9/8/2015 Corporation                                                $240,167.23                                                                                       $240,167.23
Hughes, Will
1405 Cedar Lane                                                         RS Legacy Corporation fka RadioShack
Nashville, TN 37212                                  8688      9/8/2015 Corporation                                                      $50.00                                                                                           $50.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
LVM Limited Partnership
c/o Maryland Financial Investors, Inc.
2800 Quarry Lake Drive, Suite 340                             RS Legacy Corporation fka RadioShack
Baltimore, MD 21209                        8689      9/8/2015 Corporation                                                 $81,368.52               $0.00                                               $5,354.98            $86,723.50
Hurwitz, David
5641 Case Ave.                                                RS Legacy Corporation fka RadioShack
North Hollywood, CA 91601                  8690      9/8/2015 Corporation                                                                                                                $0.00                                   $0.00
Torrano, Marianna
PO Box 908                                                    RS Legacy Customer Service LLC fka RadioShack
San Jacinto, CA 92581                      8691      9/2/2015 Customer Service LLC                                             $94.78                                                                                           $94.78
Nagle, Leticia
3226 Summit Drive                                             RS Legacy Corporation fka RadioShack
Escondido, CA 92025                        8692      9/8/2015 Corporation                                                     $100.00                                                                                          $100.00
Demand Media, Inc.
1655 26th Street                                              RS Legacy Corporation fka RadioShack
Santa Monica, CA 90404                     8693      9/8/2015 Corporation                                                       $0.00                                                                                            $0.00
Bargovic, Joseph J.
191 Prospect Street                                           RS Legacy Corporation fka RadioShack
Ballston Spa, NY 12020                     8694      9/9/2015 Corporation                                                                       $100.00                                                                        $100.00
County of Orange
Attn: Bankruptcy Unit
PO Box 4515                                                   RS Legacy Corporation fka RadioShack
Santa Ana, CA 92702‐4515                   8695      9/9/2015 Corporation                                                     $255.00           $834.01                                                                      $1,089.01
Moallem, Hamid
904 S. Main Ave                                               RS Legacy Corporation fka RadioShack
Fallbrook, CA 92028                        8696      9/9/2015 Corporation                                                       $0.00                               $35.00                                                      $35.00
Biancolli‐Dulmaine, Linda
1802 Forest Park Drive                                        RS Legacy Corporation fka RadioShack
Auburn, MA 01501                           8697      9/9/2015 Corporation                                                      $48.30                                                                                           $48.30
Boruff, Bill
705 Willow Street                                             RS Legacy Corporation fka RadioShack
Oakland, IA 51560                          8698      9/9/2015 Corporation                                                                       $250.00                                                                        $250.00
Benedict, Michael L
1403 Lake Shore Dr. Apt C                                     RS Legacy Corporation fka RadioShack
Columbus, OH 43204                         8699      9/9/2015 Corporation                                                      $10.74                                                                                           $10.74
Rogers, Debra
5326 NE 22nd Court                                            RS Legacy Corporation fka RadioShack
Renton, WA 98059                           8700      9/9/2015 Corporation                                                      $45.00                                                                                           $45.00
Graham, Bill
12334 Trearcy Lane                                            RS Legacy Corporation fka RadioShack
St. Louis, MO 63131                        8701      9/9/2015 Corporation                                                      $32.07                                                                                           $32.07
Papabathini, Corina
1104 S. 84th St                                               RS Legacy Corporation fka RadioShack
Omaha, NE 68124                            8702      9/9/2015 Corporation                                                                                                               $50.00                                  $50.00
Chepuri, Naveen
29B E Maple St                                                RS Legacy Corporation fka RadioShack
Massapequa, NY 11758                       8703      9/9/2015 Corporation                                                     $190.00                                                                                          $190.00
Rivas, Giovanni
42 Weathering Creek                                            RS Legacy Corporation fka RadioShack
San Antonio, TX 78238                      8704      9/10/2015 Corporation                                                    $211.06                                                                                          $211.06




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Maher Jr, Robert W
407 S Fair Oak St                                             RS Legacy Finance Corporation fka Tandy Finance
Shelbyville, TN 37160                      8705      9/9/2015 Corporation                                                       $0.00              $0.00                                 $0.00                                   $0.00
Goodreau, Robert W
N831 E Hills Rd                                               RS Legacy Corporation fka RadioShack
La Crosse, WI 54601‐2276                   8706      9/9/2015 Corporation                                                   $6,000.00                                                                                        $6,000.00
Lind, David
4258 W. Sargent Rd.                                           RS Legacy Corporation fka RadioShack
Lodi, CA 95242                             8707      9/9/2015 Corporation                                                     $222.65                                                                                          $222.65
Ross, Patricia
48 Hardwick Drive                                             RS Legacy Corporation fka RadioShack
Ewing, NJ 08638‐2414                       8708      9/9/2015 Corporation                                                                                                               $40.00                                  $40.00
Biesiadecki, Mike
152 Church Street                                              RS Legacy Corporation fka RadioShack
Ronkonkoma, NY 11779                       8709      9/10/2015 Corporation                                                     $21.71                                                                                           $21.71
Davis, Patricia
4957 Perth St                                                  RS Legacy Corporation fka RadioShack
Denver, CO 80249                           8710      9/10/2015 Corporation                                                     $36.50                                                                                           $36.50
Moyer, Allison
3454 North Edison Street                                       RS Legacy Corporation fka RadioShack
Arlington, VA 22207                        8711      9/10/2015 Corporation                                                      $0.00            $59.00                                  $0.00                                  $59.00
Marinan, Cathy
6004 NE Moonstone Dr                                           RS Legacy Corporation fka RadioShack
Lee's Summit, MO 64064‐1194                8712      9/10/2015 Corporation                                                                       $25.00                                  $0.00                                  $25.00
Simpson, Peter
4053 Ralph Scott Drive                                         RS Legacy Corporation fka RadioShack
Oscoda, MI 48750                           8713      9/10/2015 Corporation                                                                                                              $95.00                                  $95.00
Alderson, Justin W
35 Corte Vidriosa                                              RS Legacy Corporation fka RadioShack
San Clemente, CA 92673                     8714      9/10/2015 Corporation                                                    $500.00                                                                                          $500.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                           8715      9/10/2015 Corporation                                                                                                                                                       $0.00
Shenk, Jamie
626 County Road 54                                             RS Legacy Corporation fka RadioShack
Garrett , IN 46738                         8716      9/10/2015 Corporation                                                                                                              $75.00                                  $75.00
Ingram, Karen A.
5389 Playa Vista Dr.
Apt. D418                                                      RS Legacy Corporation fka RadioShack
Los Angeles , CA 90094                     8717      9/10/2015 Corporation                                                     $30.00                                                                                           $30.00
Pennsylvania Department of Revenue
Bankruptcy Division
PO Box 280946                                                 RS Legacy Corporation fka RadioShack
Harrisburg, PA 17128‐0946                  8718      9/9/2015 Corporation                                                       $0.00              $0.00             $0.00                                                       $0.00
Rubenstein, Laurie
1202 SW Englewood Drive                                        RS Legacy Corporation fka RadioShack
Lake Oswego, OR 97034                      8719      9/10/2015 Corporation                                                                                                               $0.00                                   $0.00
THAXTON, RITA
2029 MARTINS BRANCH RD                                         RS Legacy Corporation fka RadioShack
CHARLESTON, WV 25312                       8720      9/11/2015 Corporation                                                                       $60.00              $0.00                                                      $60.00




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                                                                                                                   Current General                                            Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                      Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Trott, Jason
7041 74th St
Circle East                                                    RS Legacy Corporation fka RadioShack
Bradenton, FL 34203                        8721      9/11/2015 Corporation                                                                       $161.61                                                                        $161.61
Babcock, Tim
1969 Green Brook LN                                            RS Legacy Corporation fka RadioShack
Paso Robles, CA 93446                      8722      9/13/2015 Corporation                                                      $12.00                                                                                           $12.00
Babcock, Tim
1969 Green Brook Ln                                            RS Legacy Corporation fka RadioShack
Paso Robles, CA 93446                      8723      9/13/2015 Corporation                                                      $12.00                                                                                           $12.00
Fink, Ronald
75 Evergreen Bldg 6                                            RS Legacy Corporation fka RadioShack
Wallingford, CT 06492                      8724      9/11/2015 Corporation                                                                                           $63.80                                                      $63.80
Liebel, Caroline
267 Twin Oaks Dr                                               RS Legacy Corporation fka RadioShack
Perkasie, PA 18944                         8725      9/14/2015 Corporation                                                      $15.39                                                                                           $15.39
Szilvas, Violet
7754 Oakhill Rd. Apt. C                                        RS Legacy Corporation fka RadioShack
North Royalton, OH 44133                   8726      9/14/2015 Corporation                                                       $0.00                                                                                            $0.00
Prasad, Suma
1402 East Braymore Circle                                      RS Legacy Global Sourcing, Inc. fka RadioShack
Naperville, IL 60564                       8727      9/14/2015 Global Sourcing, Inc.                                                                                                     $40.00                                  $40.00
Chastain, Grace
14815 Cerritos Ave. #D                                         RS Legacy Customer Service LLC fka RadioShack
Bellflower, CA 90706                       8728      9/14/2015 Customer Service LLC                                             $32.10                                                                                           $32.10
Grubbe, Susana Pulawa
6590 unit A Puupilo road                                       RS Legacy Corporation fka RadioShack
Kapaa, HI 96746                            8729      9/14/2015 Corporation                                                      $60.00                                                                                           $60.00
Pennsylvania Department of Revenue
Bankruptcy Division
PO Box 280946                                                  RS Legacy Corporation fka RadioShack
Harrisburg, PA 17128‐0946                  8730      9/14/2015 Corporation                                                       $0.00              $0.00             $0.00                                                       $0.00
Young, Sheri
802 Ninth Ave SE                                               RS Legacy Corporation fka RadioShack
Independence, IA 50644                     8731      9/14/2015 Corporation                                                      $24.00                                                                                           $24.00
Fowler, Melissa
401 CR231                                                      RS Legacy Corporation fka RadioShack
Ballinger, TX 76821                        8732      9/14/2015 Corporation                                                      $22.74                                                                                           $22.74
Humphrey, Gina
901 Rolling Hills Cove                                         RS Legacy Corporation fka RadioShack
Wilmington, NC 28409                       8733      9/15/2015 Corporation                                                      $17.10                                                                                           $17.10
Ji, Shiping
1649 Chapleau Dr.                                              RS Legacy Corporation fka RadioShack
Ann Arbor, MI 48103                        8734      9/14/2015 Corporation                                                      $15.99                                                                                           $15.99
Kossin, Bonnie
6700 Dunham Rd.                                                RS Legacy Corporation fka RadioShack
Walton Hills, OH 44146                     8735      9/14/2015 Corporation                                                                        $64.64              $0.00                                                      $64.64
Zachary, Charles R.
1908 Minnie St, SW                                             RS Legacy Corporation fka RadioShack
Albuquerque, NM 87105‐4527                 8736      9/15/2015 Corporation                                                      $21.15                                                                                           $21.15




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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Shrawder, Jo Ann
10591 S.W. Katrina Way                                         RS Legacy Corporation fka RadioShack
Port Saint Lucie, FL 34987                 8737      9/15/2015 Corporation                                                     $16.16                                                                                           $16.16
Sefchik, John R.
208 Orchard Avenue                                             RS Legacy Corporation fka RadioShack
Scottdale, PA 15683‐1222                   8738      9/15/2015 Corporation                                                     $25.00                                                                                           $25.00
Taravella, Michael
2645 Applewood Dr                                              RS Legacy Corporation fka RadioShack
Titusville, FL 32780                       8739      9/15/2015 Corporation                                                    $106.97                                                                                          $106.97
Smith, Yaphet L.
1715 Apache Trail                                              RS Legacy Corporation fka RadioShack
Round Rock, TX 78665                       8740      9/15/2015 Corporation                                                     $34.48                                                                                           $34.48
Hakim, Ali
9025 Heritage Bay Cir                                          RS Legacy Corporation fka RadioShack
Orlando , FL 32836                         8741      9/16/2015 Corporation                                                     $19.18                                                                                           $19.18
Yates, Jason
334 Heritage Way                                               RS Legacy Corporation fka RadioShack
Tuckerton, NJ 08087                        8742      9/16/2015 Corporation                                                                     $6,153.86                                                                     $6,153.86
VECEZ, REUBEN ABENISIO
1150 N LOVEKIN                                                RS Legacy Corporation fka RadioShack
BLYTHE, CA 92255                           8743      9/1/2015 Corporation                                                                          $0.00                                                                         $0.00
Elul, Daniel
3225 N 36th Ave                                                RS Legacy Corporation fka RadioShack
Hollywood, FL 33021                        8744      9/16/2015 Corporation                                                    $328.00                                                                                          $328.00
1565 Broadway LLC
c/o SCHIFF HARDIN LLP
Louis T. DeLucia
666 Fifth Avenue, 17th Floor                                   RS Legacy Corporation fka RadioShack
New York, NY 10103                         8745      9/16/2015 Corporation                                                $54,845.16                                                                  $98,461.44           $153,306.60
Carrasco, William
HC 60 BOX 43117                                                RS Legacy Corporation fka RadioShack
SAN LORENZO, PR 00754                      8746      9/17/2015 Corporation                                                                         $0.00                                 $0.00                                   $0.00
Griffin, Kathleen
9936 Meadow Oak Cir                                            RS Legacy Corporation fka RadioShack
Elk Grove, CA 95624                        8747      9/16/2015 Corporation                                                      $0.00                                                                                            $0.00
Holte, Douglas W.
16518 East 49th Place                                          RS Legacy Corporation fka RadioShack
Tulsa, OK 74134                            8748      9/16/2015 Corporation                                                     $43.40                                                                                           $43.40
1565 Broadway LLC
Louis T. DeLucia
Schiff Hardin LLP
666 Fifth Avenue, 17th Floor                                   RS Legacy Corporation fka RadioShack
New York, NY 10103                         8749      9/16/2015 Corporation                                                                                                                                 $0.00                 $0.00
Graham, Barbara
10904 Waycross Ave.                                            RS Legacy Corporation fka RadioShack
Louisville, KY 40229                       8750      9/17/2015 Corporation                                                     $46.81                                                                                           $46.81
Griffin, Travis
1825 N 33rd St                                                 RS Legacy Corporation fka RadioShack
Milwaukee, WI 53208                        8751      9/17/2015 Corporation                                                    $300.00                                                                                          $300.00
Minnesota Department of Revenue Taxes
PO Box 64447‐ BKY                                              RS Legacy Corporation fka RadioShack
St Paul, MN 55164‐0447                     8752      9/16/2015 Corporation                                                                                                                               $185.68               $185.68



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            Creditor Name and Address        Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                          Amount                                                     Amount
CITY OF BOERNE UTILITIES
Kirsten Cohoon‐ City Attorney
402 E. Blanco                                                      RS Legacy Corporation fka RadioShack
Boerne, TX 78006                               8753      9/18/2015 Corporation                                                    $169.24                                                                                          $169.24
Lega, Gilbert
c/o Chad T. Brazzeal, Esquire
Morgan and Morgan
PO Box 9504                                                        RS Legacy Corporation fka RadioShack
Fort Myers, FL 33906                           8754      9/18/2015 Corporation                                                      $0.00                                                                                            $0.00
Matamoros, Nuvia
1636 E 45th St.                                                    RS Legacy Corporation fka RadioShack
Los Angeles, CA 90011                          8755      9/19/2015 Corporation                                                                         $0.00                                                                         $0.00
TCU Florist. Inc
3131 University Dr S                                               RS Legacy Corporation fka RadioShack
Fort Worth, TX 76109                           8756      9/21/2015 Corporation                                                    $321.44              $0.00                                 $0.00                                 $321.44
TCU Florist. Inc.
3131 University Dr S                                               RS Legacy Corporation fka RadioShack
Fort Worth, TX 76109                           8757      9/21/2015 Corporation                                                                         $0.00                                 $0.00                                   $0.00
Miranda, Maria
14235 Walmac Pl.                                                   RS Legacy Corporation fka RadioShack
Fontana, CA 92337                              8758      9/22/2015 Corporation                                                  $1,303.60              $0.00                                                                     $1,303.60
Gilmore, Lamar
3540 Azalea Way                                                    RS Legacy Corporation fka RadioShack
Panama City, FL 32405                          8759      9/22/2015 Corporation                                                     $50.00                                                                                           $50.00
Matamoros, Nuvia
1636 E 45th St                                                     RS Legacy Corporation fka RadioShack
Los Angeles, CA 90011                          8760      9/19/2015 Corporation                                                                                           $0.00                                                       $0.00
Wagner, Martin
16547 E Masline St.                                                RS Legacy Corporation fka RadioShack
Covina, CA 91722                               8761      9/21/2015 Corporation                                                  $1,810.51              $0.00                                                                     $1,810.51
Soto, Anthony R
HC 02 Box 7323                                                     RS Legacy Corporation fka RadioShack
Camuy, PR 00627                                8762      9/21/2015 Corporation                                                                         $0.00                                                                         $0.00
Gilmore, Lamar
3540 Azalea Way                                                    RS Legacy Corporation fka RadioShack
Panama City, FL 32405                          8763      9/22/2015 Corporation                                                     $50.00                                                                                           $50.00
Wagner, Martin
16547 E Masline St.                                                RS Legacy Corporation fka RadioShack
Covina, CA 91722                               8764      9/21/2015 Corporation                                                                         $0.00                                                                         $0.00
Soto, Anthony R
HC 02 Box 7323                                                     RS Legacy Corporation fka RadioShack
Camuy, PR 00627                                8765      9/21/2015 Corporation                                                                         $0.00                                                                         $0.00
Forcina, Donatella
Studio Legale
Avv. Donatella Forcina
c/o Studio Legale Avv, Ottavio M.V. Annino
Via Palermo, 52
, Latina 04100                                                     RS Legacy Corporation fka RadioShack
Italy                                          8766      9/21/2015 Corporation                                                    $544.36                                                                                          $544.36
George, Prem
78‐24 266th Street                                                 RS Legacy Corporation fka RadioShack
Glen Oaks, NY 11004                            8767      9/17/2015 Corporation                                                    $100.00                                                                                          $100.00



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                                                                                                                                         Claim Amount         Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                       Amount
Fraley, Deborah
12327 Meadow Crest Drive                                       RS Legacy Corporation fka RadioShack
Meadows Place, TX 77477                    8768      9/22/2015 Corporation                                                     $50.00                                                                                             $50.00
CAPITAL CITY PRESS, LLC
THE ADVOCATE
PO BOX 613                                                     RS Legacy Corporation fka RadioShack
BATON ROUGE, LA 70821‐0613                 8769      9/22/2015 Corporation                                                      $0.00                                                                                              $0.00
Bear Creek Ventures LLC
36 Country Lane                                                RS Legacy Corporation fka RadioShack
Rolling Hills Estates, CA 90274            8770      9/22/2015 Corporation                                                      $0.00                                                                                              $0.00
Bartkus, Denise
55 Lupine Way                                                  RS Legacy Corporation fka RadioShack
Clark, NJ 07066                            8771      9/22/2015 Corporation                                                                                             $0.00                                                       $0.00
TIGHE, GEORGE M.
80 MAPLE ST.                                                   RS Legacy Corporation fka RadioShack
BRISTOL, VT 05443                          8772      9/22/2015 Corporation                                                     $90.00                                                                                             $90.00
Leavitt, Mark Preston
202 S. Highland Dr. Fl 2                                       RS Legacy Corporation fka RadioShack
West Hartford, CT 06119                    8773      9/23/2015 Corporation                                                     $50.00                                                                                             $50.00
Rajski, Robert S.
51778 Oldmill Rd.                                              RS Legacy Customer Service LLC fka RadioShack
South Bend, IN 46637                       8774      9/23/2015 Customer Service LLC                                             $0.00             $139.09              $0.00               $0.00                                 $139.09
Minnifield, Camilla A.
2061 St Raymond Ave #2f                                        RS Legacy Corporation fka RadioShack
Bronx, NY 10462                            8775      9/23/2015 Corporation                                                     $65.31                $0.00             $0.00                                                      $65.31
Astone, Roxanne
509 Sandfod Ave.                                               RS Legacy Corporation fka RadioShack
Newark, NJ 07106                           8776      9/23/2015 Corporation                                                     $40.63                $0.00                                                                        $40.63
Farraday, Coleen
15 Jackson Court                                               RS Legacy Corporation fka RadioShack
Syosset, NY 11791                          8777      9/24/2015 Corporation                                                     $25.00                                                                                             $25.00
HOUSTON COMMUNITY NEWSPAPERS
PO BOX 609                                                     RS Legacy Corporation fka RadioShack
CONROE, TX 77305                           8778      9/24/2015 Corporation                                                  $1,876.12                                                                                          $1,876.12
Jones, Danyell
1200 S. Exmoor Ave                                             RS Legacy Corporation fka RadioShack
Compton, CA 90220                          8779      9/24/2015 Corporation                                                     $60.00                                                                                             $60.00
Pennsylvania Department of Revenue
Bankruptcy Division
PO Box 280946                                                  RS Legacy Corporation fka RadioShack
Harrisburg, PA 17128‐0946                  8780      9/24/2015 Corporation                                                $10,425.20           $125,427.20                                                                   $135,852.40
Kirtley, Milford
1101 Carruthers DR                                             RS Legacy Customer Service LLC fka RadioShack
Morrilton, AR 72110                        8781      9/24/2015 Customer Service LLC                                                               $163.38                                                                        $163.38
Rajski, Robert S.
51778 Oldmill Rd.                                              RS Legacy Customer Service LLC fka RadioShack
South Bend, IN 46637                       8782      9/25/2015 Customer Service LLC                                             $0.00                $0.00             $0.00               $0.00                                   $0.00
Rajski, Robert S.
51778 Oldmill Rd.                                              RS Legacy Customer Service LLC fka RadioShack
South Bend, IN 46637                       8783      9/25/2015 Customer Service LLC                                             $0.00                $0.00             $0.00               $0.00                                   $0.00




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                                                                                                                     Current General                                            Current 503(b)(9)
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            Creditor Name and Address       Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                     Amount
Soto, Anthony R
HC 02 Box 7323                                                    RS Legacy Corporation fka RadioShack
Camuy, PR 00627                               8784      9/24/2015 Corporation                                                                                                                                 $0.00                 $0.00
Ondrasek, Douglas J.
ONDRASEK LAW OFFICE, S.C.
195 N Main Street                                                 RS Legacy Corporation fka RadioShack
Fond du Lac, WI 54935                         8785      9/25/2015 Corporation                                                     $42.19                                                                                           $42.19
McCandless, William L.
8379 Fairfax Dr.                                                  RS Legacy Corporation fka RadioShack
Mentor, OH 44060                              8786      9/24/2015 Corporation                                                      $9.39                                                                                            $9.39
Soto, Anthony R
HC 02 Box 7323                                                    RS Legacy Corporation fka RadioShack
Camuy, PR 00627                               8787      9/24/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
Anderson, Terri
W6334 Ravine Court                                                RS Legacy Corporation fka RadioShack
Menasha, WI 54952                             8788      9/25/2015 Corporation                                                    $100.00                                                                                          $100.00
Green, Llena J.
600 Wallingford ct.                                               RS Legacy Corporation fka RadioShack
Fayetteville, NC 28314                        8789      9/25/2015 Corporation                                                     $10.71                                                                                           $10.71
Cleveland County Treasurer
201 S Jones Suite 100
Norman, OK 73069                              8790      9/21/2015 SCK, Inc.                                                        $0.00              $0.00             $0.00                                                       $0.00
Fuller, Anthony L
2364 New York Ave                                                 RS Legacy Corporation fka RadioShack
Fort Worth, TX 76104                          8791      9/25/2015 Corporation                                                      $0.00                                                                                            $0.00
Amos, Jesse
PO Box 1053                                                       RS Legacy Corporation fka RadioShack
Lomita, CA 90717                              8792      9/25/2015 Corporation                                                     $63.72                                                                                           $63.72
TJ Culligan Family Partners, LP
c/o Ginger L. Sotelo, Pahl & McCay
225 W. Santa Clara St., Suite 1500                                RS Legacy Corporation fka RadioShack
San Jose, CA 95113                            8793      9/24/2015 Corporation                                                      $0.00                                                                                            $0.00
Fuller, Anthony
2364 New York Ave                                                 RS Legacy Corporation fka RadioShack
Fort Worth, TX 76104                          8794      9/26/2015 Corporation                                                      $0.00                                                                                            $0.00
Wimberly, Vontre
1530 W. 8th Street
Apt. #70                                                          RS Legacy Corporation fka RadioShack
Upland, CA 91786                              8795      9/25/2015 Corporation                                                  $1,324.75                                                    $0.00                               $1,324.75
Teslenko, Olga
4057 Birchgrove Way                                               RS Legacy Corporation fka RadioShack
Sacramento, CA 95826                          8796      9/25/2015 Corporation                                                     $50.00                                                                                           $50.00
Richard Perry Sr. and Mary P. Perry
c/o Berenbaum weinshienk PC
370 Seventeenth Street
Suite 4800                                                        RS Legacy Corporation fka RadioShack
Denver, CO 80202                              8797      9/25/2015 Corporation                                                                                                                             $9,500.00             $9,500.00
Pitney Bowes Global Financial Service LLC
Pitney Bowes Inc.
27 Waterview Drive                                                RS Legacy Corporation fka RadioShack
Shelton, CT 06484                             8798      9/25/2015 Corporation                                                    $846.26                                                                                          $846.26




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Matamoros, Nuvia
1636 E 45th St                                                 RS Legacy Corporation fka RadioShack
Los Angeles, CA 90011                      8799      9/28/2015 Corporation                                                  $4,069.22              $0.00                                                                     $4,069.22
Ramsey, Deanna
PO Box 325                                                     RS Legacy Corporation fka RadioShack
Claremont, NC 28610                        8800      9/28/2015 Corporation                                                     $71.11                                                                                           $71.11
Philippi, Judy
10998 Village Ridge Lane                                       RS Legacy Corporation fka RadioShack
Las Vegas, NV 89135                        8801      9/28/2015 Corporation                                       unknown                                                                                                         $0.00
Watkins, Alan
4420 W Prescott St                                             RS Legacy Corporation fka RadioShack
Tampa, FL 33616                            8802      9/28/2015 Corporation                                                                                                              $49.99                                  $49.99
City of Athens, Tennessee
PO Box 849                                                     RS Legacy Corporation fka RadioShack
Athens, TN 37371‐0849                      8803      9/28/2015 Corporation                                                     $68.00                                                                                           $68.00
Whilden, Carol
7 Broadway                                                     RS Legacy Corporation fka RadioShack
Ocean Grove, NJ 07756                      8804      9/28/2015 Corporation                                       unknown                                                                                                         $0.00
Cernick, John
1162 Bingay Drive                                              RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15237                       8805      9/28/2015 Corporation                                                     $53.45                                                                                           $53.45
Wright, Lori Lane
413 Post Oak CV                                                RS Legacy Corporation fka RadioShack
Madison, MS 39110                          8806      9/28/2015 Corporation                                                                       $27.28             $27.28              $27.28                                  $81.84
Brinkman, William H.
3242 Munras Place                                              RS Legacy Corporation fka RadioShack
San Ramon, CA 94583                        8807      9/29/2015 Corporation                                                     $35.64                                                                                           $35.64
Gerber, Daria
8309 Brittany Drive                                            RS Legacy Corporation fka RadioShack
Wayne, NJ 07470                            8808      9/29/2015 Corporation                                                    $100.00                                                                                          $100.00
Turner, Susan
185 CR 303                                                     RS Legacy Corporation fka RadioShack
Oxford, MS 38655                           8809      9/29/2015 Corporation                                                    $109.67                                                                                          $109.67
Paulick, John
1020 Ella St
Apt. B                                                         RS Legacy Corporation fka RadioShack
San Luis Obispo, CA 93401                  8810      9/29/2015 Corporation                                                                       $60.84                                  $0.00                                  $60.84
Burrell, Gary
2000 Arrowcreek Dr.
Apt 202                                                        RS Legacy Corporation fka RadioShack
Charlotte, NC 28273                        8811      9/29/2015 Corporation                                                                                                              $40.00                                  $40.00
Rios, Lynette Soto
Urb. Jardines De Arecibo
Calle L Casa I‐ 42                                             RS Legacy Corporation fka RadioShack
Arecibo, PR 00612                          8812      9/29/2015 Corporation                                                      $0.00                                                                                            $0.00
Lu, Linwan
661 14th Avenue                                                RS Legacy Corporation fka RadioShack
San Francisco, CA 94118                    8813      9/29/2015 Corporation                                                     $49.42                                                                                           $49.42
Soto, Lynette
Urb Jardines De Arecibo
Calle L Casa I‐42                                              RS Legacy Corporation fka RadioShack
Arecibo, PR 00612                          8814      9/29/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00



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            Creditor Name and Address       Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                     Amount
Linda Barrett. Vaughan, Rev. Comm. Etowah
County, Alabama
Etowah County Courthouse
800 Forrest Avenue, Room 5                                        RS Legacy Corporation fka RadioShack
Gadsden, AL 35901                             8815      9/29/2015 Corporation                                                                      $461.98                                                                        $461.98
Mathis, Vic
831 S Ash Avenue                                                  RS Legacy Corporation fka RadioShack
Tempe, AZ 85281                               8816      9/29/2015 Corporation                                                     $10.00                                                                                           $10.00
Wade, Ann
576 Cherokee Dr.                                                  RS Legacy Corporation fka RadioShack
N. Augusta, SC 29841                          8817      9/29/2015 Corporation                                                     $21.41                                                                                           $21.41
Hanamoto, Myles T.
1419 Akamai place                                                 RS Legacy Corporation fka RadioShack
Kailua, HI 96734                              8818      9/29/2015 Corporation                                                                                                              $80.00                                  $80.00
City of Athens, TN
PO Box 849                                                        RS Legacy Corporation fka RadioShack
Athens, TN 37371‐0849                         8819      9/30/2015 Corporation                                                                         $0.00                                                                         $0.00
Sarkisian, Joanne M
220 Las Palmas Street                                             RS Legacy Corporation fka RadioShack
Royal Palm Beach, FL 33411                    8820      10/1/2015 Corporation                                                    $200.00                                                                                          $200.00
Green, Michele
3891 Bays Ferry trail                                             RS Legacy Corporation fka RadioShack
Marietta, GA 30062                            8821      10/1/2015 Corporation                                                     $13.77                                                                                           $13.77
Sharma, Sudarshan L.
301 Old Deal Road                                                 RS Legacy Corporation fka RadioShack
Eatontown, NJ 07724                           8822      10/1/2015 Corporation                                                     $28.34                                                                                           $28.34
Mississippi Department of Revenue
Bankruptcy Section
PO Box 22808                                                      RS Legacy Corporation fka RadioShack
Jackson, MS 39225‐2808                        8823      10/1/2015 Corporation                                                                         $0.00                                                                         $0.00
City of Oklahoma City
420 W. Main St. STE. 100                                          RS Legacy Corporation fka RadioShack
Oklahoma City, OK 73102                       8824      9/25/2015 Corporation                                                     $61.52                                                                                           $61.52
City of Oklahoma City
420 W. Main St. Ste. 100                                          RS Legacy Corporation fka RadioShack
Oklahoma City, OK 73102                       8825      9/25/2015 Corporation                                                    $193.85                                                                                          $193.85
Walsh, Mark J.
18 Van Tassel Dr.                                                 RS Legacy Corporation fka RadioShack
Rensselaer, NY 12144                          8826      10/1/2015 Corporation                                                     $23.02                                                                                           $23.02
Carder, Cami
PO Box 34                                                         RS Legacy Corporation fka RadioShack
Summer Lake, OR 97640                         8827      10/1/2015 Corporation                                                     $39.99                                                                                           $39.99
Petersen, Danielle
49 Maple Ave                                                      RS Legacy Corporation fka RadioShack
Newport News, VA 23607                        8828      10/1/2015 Corporation                                                     $31.97                                                                                           $31.97
Migliaccio, Renee
5014 Springhouse Circle                                           RS Legacy Corporation fka RadioShack
Rosedale, MD 21237                            8829      10/1/2015 Corporation                                                     $84.79                                                                                           $84.79
Wells, Kurt
7575 Summerfield Rd                                               RS Legacy Corporation fka RadioShack
Lambertville, MI 48144                        8830      10/2/2015 Corporation                                                     $19.60                                                                                           $19.60




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                                                                                                                            Current General                                            Current 503(b)(9)
                                                                                                                                                  Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address              Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
Caballero, Nikki
6413 East Lake Dr                                                        RS Legacy Corporation fka RadioShack
Haslett, MI 48840                                    8831      10/5/2015 Corporation                                                     $25.00                                                                                           $25.00
Hurwitz, David
5641 Case Ave.                                                           RS Legacy Corporation fka RadioShack
North Hollywood, CA 91601                            8832      10/2/2015 Corporation                                                    $150.00              $0.00                                                                       $150.00
Alomar, Lynette
502 Pitirre St.
Haciendas de Canovanas                                                   RS Legacy Corporation fka RadioShack
Canovanas, PR 00729                                  8833      10/2/2015 Corporation                                                     $30.00                                                                                           $30.00
Adams, Stan
3283 Idlewood Dr.                                                        RS Legacy Corporation fka RadioShack
Pensacola, FL 32505                                  8834      10/2/2015 Corporation                                                                       $60.00                                  $0.00                                  $60.00
Adams, Stan
3283 Idlewood Dr.                                                        RS Legacy Corporation fka RadioShack
Pensacola, FL 32505                                  8835      10/2/2015 Corporation                                                                         $0.00                                 $0.00                                   $0.00
Williams, Denise
785 Fountain Ave #3                                                      RS Legacy Corporation fka RadioShack
Brooklyn, NY 11208                                   8836      10/2/2015 Corporation                                                     $45.00                                                                                           $45.00
St Fort, Guyrlaine
3604 E. Shore Rd                                                         RS Legacy Corporation fka RadioShack
Miramar, FL 33023                                    8837      10/1/2015 Corporation                                                                       $75.00              $0.00               $0.00                                  $75.00
Copeland, Tamara
1005 Aurora Lane                                                         RS Legacy Corporation fka RadioShack
Corona, CA 92881                                     8838      10/6/2015 Corporation                                                                                          $25.00              $25.00                                  $50.00
Copeland, Tamara
1005 Aurora Lane                                                         RS Legacy Corporation fka RadioShack
Corona, CA 92881                                     8839      10/6/2015 Corporation                                                                                                              $25.00                                  $25.00
Cochran, Jill
2402 State Route 132                                                     RS Legacy Corporation fka RadioShack
New Richmond, OH 45157                               8840      10/6/2015 Corporation                                                                      $100.00              $0.00               $0.00                                 $100.00
Revenue Commissioner
PO Box 794                                                               RS Legacy Corporation fka RadioShack
Florence, AL 35631                                   8841      10/6/2015 Corporation                                                    $162.68           $162.68                                                                        $325.36
The Marketplace
c/o Thomas W. Daniels, Esq.
1265 Scottsville Road                                                    RS Legacy Corporation fka RadioShack
Rochester, NY 14624                                  8842      4/17/2015 Corporation                                                                                                                             $2,930.08             $2,930.08
Adajian, Joseph
150 Osborne Lane                                                         RS Legacy Corporation fka RadioShack
Southport, CT 06890                                  8843      10/6/2015 Corporation                                                     $20.00                                                                                           $20.00
GREECE RIDGE, LLC
c/o THOMAS W. DANIELS, ESQ.
1265 SCOTTSVILLE ROAD                                                    RS Legacy Corporation fka RadioShack
ROCHESTER, NY 14624                                  8844      4/16/2015 Corporation                                                                                                                             $2,773.12             $2,773.12

CambridgeSide Galleria Associates Trust formerly
Known as Riverside Galleria Associates Trust
c/o Liquidity Solutions, Inc.
One University Plaza
Suite 312                                                                RS Legacy Corporation fka RadioShack
Hackensack, NJ 07601                                 8845      5/13/2015 Corporation                                                                                                                            $17,099.83            $17,099.83



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                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                  Amount                                                     Amount
RUBY RENTAL PROPERTIES LLC
C/O PULLIAM PROPERTIES
2 WALDEN RIDGE DR SUITE 70                                                 RS Legacy Corporation fka RadioShack
ASHEVILLE, NC 28803                                    8846      3/24/2015 Corporation                                                                                                                             $3,429.00             $3,429.00
Ohio Bureau of Workers' Compensation
Attn: Larry Rhodebeck
PO Box 15567                                                               RS Legacy Corporation fka RadioShack
Columbus, OH 43215‐0567                                8847      6/10/2015 Corporation                                                                                                                                 $0.00                 $0.00
Cape Town Plaza LLC successor‐in‐interest to Cape,
LLC
Sullivan Hazeltine Allison LLC
William A. Hazeltine
901 North Market Street, Suite 1300                                        RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                                   8848      4/29/2015 Corporation                                                                                                                             $3,946.56             $3,946.56
CAPITOL VENTURES, LLC
c/o Prospect Enterprises
Eliot Gersten
433 South Main St Ste 328                                                  RS Legacy Corporation fka RadioShack
WEST HARTFORD, CT 06110                                8849      6/22/2015 Corporation                                                                                                                                 $0.00                 $0.00
2317 Route 22 Investtors, LLC
Christopher D. Loizides (No. 3968)
Loizides, P.A.
1225 King Street
Suite 800                                                                  RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                                   8850      10/6/2015 Corporation                                                                                                                                 $0.00                 $0.00
Cherokee County Tax Commissioner
Dana McKinzie
Cheif Deputy Tax Commissioner
2780 Marietta Hwy                                                          RS Legacy Corporation fka RadioShack
Canton, GA 30114                                       8851      10/6/2015 Corporation                                                                     $1,545.59                                                                     $1,545.59
Chavez, Aidee
1629 Del Mar Ave #6                                                        RS Legacy Corporation fka RadioShack
Rosemead, CA 91770                                     8852      10/6/2015 Corporation                                                  $1,382.51              $0.00                                                                     $1,382.51
EQYInvest Owner II, Ltd, LLP
RASHTI AND MITCHELL, ATTORNEYS AT LAW
Timothy T. Mitchell
Donna Kaye Rashti
4422 Ridgeside Drive                                                       RS Legacy Corporation fka RadioShack
Dallas, TX 75244                                       8853      10/6/2015 Corporation                                                                                                                                 $0.00                 $0.00
Madeline L. Camisa and Joseph T. Camisa
1270 Chestnut Street, #6                                                   RS Legacy Corporation fka RadioShack
San Francisco, CA 94109‐1040                           8854      7/13/2015 Corporation                                                                                                                             $5,678.57             $5,678.57
80 Pine LLC
Robert S. Brady, Edmon L. Morton
Ashley E. Markow
Young Conaway Stargatt & Taylor, LLP
Rodney Square ‐ 1000 North King Street                                     RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                                   8855      4/28/2015 Corporation                                                                                                                            $41,087.79            $41,087.79




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                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                    Amount
Scatterfield Road Associates, LLC
Robert M. Stefancin
Ice Miller LLP
600 Superior Avenue East
Suite 1701                                                                  RS Legacy Corporation fka RadioShack
Cleveland, OH 44114                                     8856      4/28/2015 Corporation                                                                                                                            $3,620.86             $3,620.86
SK Drive Properties, LLC
SULLIVAN HAZELTINE ALLINSON LLC
901 North Market Street, Suite 1300                                         RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                                    8857      4/29/2015 Corporation                                                                                                                            $6,315.73             $6,315.73


New Westgate Mall, LLC, successor‐in‐interest to
Westgate Brockton Mall, LLC, successor‐in‐interest
to Westgate Mall Properties, LLC, successor‐in‐
interest to Joseph Campanelli
Nicholas Campanelli and Alfred Campanelli,
Trustees of Campanelli Investment Properties
Paul W. Carey, Kate P. Foley,
Mirick, O'Connell, DeMallie & Lougee, LLP
100 Front St.                                                               RS Legacy Corporation fka RadioShack
Worchester, MA 01608‐1477                               8858      5/13/2015 Corporation                                                                                                                            $2,344.89             $2,344.89
Mc Gowan, Ann
335 E 86th St
Apt 5A                                                                      RS Legacy Corporation fka RadioShack
New York, NY 10028                                      8859      10/6/2015 Corporation                                                                      $55.02                                                                         $55.02
The Breeden Company
Rafael X. Zahralddin‐Aravena (DE No. 4166)
Jonathan M. Stemerman (DE Bar No. 4510)
c/o Elliott Greenleaf
1105 N. Market Street, Suite 1700                                           RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                                    8860      6/18/2015 Corporation                                                                                                                            $4,974.67             $4,974.67
Hewlett‐Packard Company
Ken Higman
12610 Park Plaza Dr.                                                        RS Legacy Corporation fka RadioShack
Cerritos, CA 90703                                      8861      10/6/2015 Corporation                                                                                                                           $61,752.08            $61,752.08
Huntsville Commons, LLC
WHITE and WILLIAMS LLP
James S. Yoder
824 North Market Street, Suite 902                                          RS Legacy Corporation fka RadioShack
Wilmington, DE 19899‐0709                               8862      4/27/2015 Corporation                                                                                                                            $3,823.19             $3,823.19

MEC Fitchburg Associates Limited Partnership,
successor‐in‐interest to Harold Cohen and Martin E.
Cohen, Trustees of Fitchtex Realty Trust.
SULLIVAN HAZELTINE ALLINSON LLC
William A. Hazeltine (DE Bar ID No. 3294)
901 North Market Street, Suite 1300                                         RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                                    8863      4/29/2015 Corporation                                                                                                                              $350.00               $350.00




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                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
EQYINVEST OWNER II, LTD, LLP
RASHTI AND MITCHELL, ATTORNEYS AT LAW
Timothy T. Mitchell
Donna Kaye Rashti
4422 Ridgeside Drive                                                         RS Legacy Corporation fka RadioShack
Dallas, TX 75244                                         8864      8/11/2015 Corporation                                                                                                                             $2,124.50             $2,124.50
La Habra Associates
Chipman Brown Cicero & Cole, LLP
William E. Chipman Jr.
1313 North Market Street, Suite 5400                                         RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                                     8865      6/22/2015 Corporation                                                                                                                             $6,400.38             $6,400.38
Simmons, Christine
1311 Antoine Dr #282                                                         RS Legacy Corporation fka RadioShack
Houston, TX 77055                                        8866      10/7/2015 Corporation                                                     $25.00                                                                                           $25.00
Alejo/Alvarez Investment, Inc.
Gellert Scali Busenkell & Brown LLC
Brya M. Keilson
913 North Market Street, 10th Floor                                         RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                                     8867      5/5/2015 Corporation                                                                                                                              $4,029.60             $4,029.60

DEPARTMENT OF TAXATION, STATE OF HAWAII
ATTN: BANKRUPTCY UNIT
William J. Deeley(el)
Tax Collector
PO BOX 259                                                                   RS Legacy Corporation fka RadioShack
HONOLULU, HI 96809‐0259                                  8868      10/7/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00
PREIT‐RUBIN, Inc. and PREIT Services, LLC
Klehr Harrison Harvey Branzburg LLP
Domenic E. Pacitti, Esquire
919 Market Street, Suite 1000                                               RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                                     8869      5/6/2015 Corporation                                                                                                                            $130,859.71           $130,859.71
Kautsky, George A.
PO Box 105                                                                   RS Legacy Corporation fka RadioShack
Salyer, CA 95563                                         8870      10/7/2015 Corporation                                                                                         $100.00                                                     $100.00

Cassidy Turley Commercial Real Estate Services, Inc.
Barnes & Thornburg LLP
David M. Powlen
Kevin G. Collins
1000 N. West Street, Suite 1500                                             RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                                     8871      5/6/2015 Corporation                                                                                                                              $5,017.54             $5,017.54
Toscano, Maria
12109 Schick Lane                                                            RS Legacy Corporation fka RadioShack
Lakewood, CA 90715                                       8872      10/7/2015 Corporation                                                    $137.44                                                                                          $137.44
Maccarini, Paolo
3217 Oxford Drive                                                            RS Legacy Corporation fka RadioShack
Durham, NC 27707                                         8873      10/8/2015 Corporation                                                     $56.40                                                                                           $56.40
McCarroll, Kevin
642 E. 51st Unit 3E                                                          RS Legacy Corporation fka RadioShack
Chicago, IL 60615                                        8874      10/8/2015 Corporation                                                    $200.00                                                                                          $200.00




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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                               Admin Priority
                                                                                                                                          Claim Amount         Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                       Amount
Jay, Beverly
PO Box 200834                                                  RS Legacy Corporation fka RadioShack
Denver , CO 80220                          8875      10/7/2015 Corporation                                                                          $53.80                                                                         $53.80
Kautsky, George
PO Box 105                                                     RS Legacy Corporation fka RadioShack
Salyer, CA 95563                           8876      10/7/2015 Corporation                                                                                            $100.00                                                     $100.00
Otre Investments, LLC
Christine Wei
c/o GS Management
5674 Sonoma Drive                                              RS Legacy Corporation fka RadioShack
Pleasanton, CA 94566                       8877      6/22/2015 Corporation                                                                                                                                    $0.00                 $0.00
Angles, Vicki
2216 7th St S.W.                                               RS Legacy Corporation fka RadioShack
Akron, OH 44314                            8878      10/9/2015 Corporation                                                                          $18.15                                  $0.00                                  $18.15
Ramos Gonzalez, Angel Anibal
HC 3 Box 14637                                                 RS Legacy Corporation fka RadioShack
Aguas Buenas, PR 00703                     8879      10/8/2015 Corporation                                                       $0.00                $0.00                                                                         $0.00
Winter, Julie
50 Elm St West                                                 RS Legacy Corporation fka RadioShack
Hampden, ME 04444                          8880      10/8/2015 Corporation                                                      $25.00                                                                                             $25.00
Perez, Justin
1658 West 3rd Street                                            RS Legacy Corporation fka RadioShack
Brooklyn, NY 11223                         8881      10/12/2015 Corporation                                                    $300.00                                                                                            $300.00
Endres, Roy
5624 W. Grande Circle                                           RS Legacy Corporation fka RadioShack
Peoria, IL 61615                           8882      10/12/2015 Corporation                                                                           $0.00                                                                         $0.00
Williams, Jeffery
621 Valley Drive                                                RS Legacy Corporation fka RadioShack
Eden, NC 27288                             8883      10/12/2015 Corporation                                                                                                               $100.00                                 $100.00
Spatola, George
8531 E. San Miguel Ave                                          RS Legacy Corporation fka RadioShack
Scottsdale, AZ 85250                       8884      10/10/2015 Corporation                                                                        $115.70                                  $0.00                                 $115.70
Saldivar, Maria Teresa
1305 Lilac CT                                                  RS Legacy Corporation fka RadioShack
Brownsville, TX 78520                      8885      10/9/2015 Corporation                                                      $64.92                                                                                             $64.92
JOHNSON CITY POWER BOARD
Attn: Tiphanie Watson
2600 Boones Creek Road                                         RS Legacy Corporation fka RadioShack
Johnson City, TN 37615                     8886      10/9/2015 Corporation                                                     $890.26                                                                                            $890.26
Herbert, Sara
351 Round Hill Road                                            RS Legacy Corporation fka RadioShack
Greenwich, CT 06831                        8887      10/9/2015 Corporation                                        blank                                                                                                             $0.00
STATE BOARD OF EQUALIZATION
J. R. Williams
SPECIAL OPERATIONS BRANCH, MIC:55
PO BOX 942879                                                  RS Legacy Corporation fka RadioShack
SACRAMENTO, CA 94279‐0055                  8888      10/9/2015 Corporation                                                                      $664,650.00                                                                   $664,650.00
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
101 Park Avenue                                                 RS Legacy Corporation fka RadioShack
New York, NY 10178                         8889      10/12/2015 Corporation                                                  $2,878.00                                                                                          $2,878.00




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                                                                                                                                          Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address     Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
Thomsen, Gail
37 Surrey Lane                                                   RS Legacy Corporation fka RadioShack
Bergenfield, NJ 07621                       8890      10/12/2015 Corporation                                                                                                              $12.66                                  $12.66
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
101 Park Avenue                                                  RS Legacy Corporation fka RadioShack
New York, NY 10178                          8891      10/12/2015 Corporation                                                $78,478.53                                                                                        $78,478.53
BRE DDR BR Whittwood CA LLC
c/o KELLEY DRYE & WARREN LLP
Robert L. LeHane, Counsel for DDR Corp.
101 PARK AVENUE                                                  RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                          8892      10/12/2015 Corporation                                                  $9,078.09                                                                                        $9,078.09
BRE DDR Great Northern LLC
c/o KELLEY DRYE & WARREN LLP
Attn: Robert L. LeHane, Esq.
101 PARK AVE                                                     RS Legacy Corporation fka RadioShack
NEW YORK, NY 10178                          8893      10/12/2015 Corporation                                                $91,080.32                                                                                        $91,080.32
THOMAS, JOELY
65 Pageant Lane                                                  RS Legacy Corporation fka RadioShack
Willingboro, NJ 08046                       8894      10/12/2015 Corporation                                                                                                              $54.00                                  $54.00
Migliaccio, Renee
5014 Springhouse Circle                                         RS Legacy Corporation fka RadioShack
Rosedale, MD 21237                          8895      10/1/2015 Corporation                                                      $84.79                                                                                           $84.79
Ramos Gonzalez, Angel Anibal
HC 3 Box 14637                                                  RS Legacy Corporation fka RadioShack
Aguas Buenas, PR 00703                      8896      10/8/2015 Corporation                                                       $0.00              $0.00                                                                         $0.00
Migliaccio, Renee
5014 Springhouse Circle                                         RS Legacy Corporation fka RadioShack
Rosedale, MD 21237                          8897      10/1/2015 Corporation                                                      $84.79                                                                                           $84.79
St Fort, Guyrlaine
3604 E. Shore Rd                                                RS Legacy Corporation fka RadioShack
Miramar, FL 33023                           8898      10/1/2015 Corporation                                                                          $0.00             $0.00               $0.00                                   $0.00
Guyrlaine St Fort
3604 E. Shore Rd                                                RS Legacy Corporation fka RadioShack
Miramar, FL 33023                           8899      10/1/2015 Corporation                                                                          $0.00             $0.00               $0.00                                   $0.00
Paster, Anna
197 Lawnside Ave                                                 RS Legacy Corporation fka RadioShack
Collingswood, NJ 08108                      8900      10/13/2015 Corporation                                                     $20.00                                                                                           $20.00
Dolan, Patricia D.
90 Beta Drive                                                    RS Legacy Corporation fka RadioShack
Pittsburgh , PA 15238                       8901      10/13/2015 Corporation                                                     $37.09                                                                                           $37.09
THOMAS, JOELY
65 Pageant Lane                                                  RS Legacy Corporation fka RadioShack
Willingboro, NJ 08046                       8902      10/12/2015 Corporation                                                                       $54.00                                  $0.00                                  $54.00
Thomas, Joely
65 Pageant Lane                                                  RS Legacy Corporation fka RadioShack
Willingboro, NJ 08046                       8903      10/12/2015 Corporation                                                                       $54.00                                  $0.00                                  $54.00
Ramos Gonzalez, Angel Anibal
hc 3 box 14637                                                   RS Legacy Corporation fka RadioShack
Aguas Buenas, PR 00703                      8904      10/14/2015 Corporation                                                      $0.00              $0.00                                                                         $0.00




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Norton, Kane J
1293 Sage Green CT                                              RS Legacy Corporation fka RadioShack
Henderson, NV 89012                        8905      10/13/2015 Corporation                                                    $120.00                                                                                          $120.00
Seigle, Amanda
12020 McCartyville Road                                         RS Legacy Corporation fka RadioShack
Anna, OH 45302                             8906      10/14/2015 Corporation                                                                         $0.00                                                                         $0.00
Shnidman, Franziska
437 Spring Street                                               RS Legacy Corporation fka RadioShack
Ann Arbor, MI 48103                        8907      10/14/2015 Corporation                                                     $60.00                                                                                           $60.00
Blais, Steve
170 Main St                                                     RS Legacy Corporation fka RadioShack
Acushnet, MA 02743                         8908      10/14/2015 Corporation                                                                                          $60.00                                                      $60.00
Tsui, Andrew
16411 SE 24th st                                                RS Legacy Corporation fka RadioShack
Bellevue , WA 98008                        8909      10/14/2015 Corporation                                                                       $35.00                                                                         $35.00
Basso, Patricia L.
12043 S 69th Ct.                                                RS Legacy Global Sourcing Corporation fka
Palos Heights, IL 60463‐1650               8910      10/14/2015 RadioShack Global Sourcing Corporation                          $40.71                                                                                           $40.71
CITY OF LEWISTON
27 PINE ST                                                      RS Legacy Corporation fka RadioShack
LEWISTON, ME 04240‐7200                    8911      10/14/2015 Corporation                                                    $244.54                                                                                          $244.54
Sane, Danny W
Whitfield County Tax Commissioner
205 N Selvidge Street, STE J                                    RS Legacy Corporation fka RadioShack
Dalton, GA 30720                           8912      10/14/2015 Corporation                                                                         $0.00                                                                         $0.00
Witter, Stephen D.                                              RS Legacy Global Sourcing Limited Partnership
302 Hunters Crossing                                            fka RadioShack Global Sourcing Limited
Cary, NC 27518‐6827                        8913      10/14/2015 Partnership                                                     $25.50                                                                                           $25.50
Richard, Lewis
49‐R Tsienneto Rd                                               RS Legacy Corporation fka RadioShack
Derry, NH 03038                            8914      10/15/2015 Corporation                                                     $20.00                                                                                           $20.00
America, Amy
1069 Granny Smith Rd                                            RS Legacy Corporation fka RadioShack
Linden, VA 22642                           8915      10/16/2015 Corporation                                                    $100.00                                                                                          $100.00
Claim Docketed In Error                                         RS Legacy Corporation fka RadioShack
                                           8916      10/16/2015 Corporation                                                                                                                                                       $0.00
Gregorski, James J.
133 Boulter Road                                                RS Legacy Corporation fka RadioShack
Wethersfield, CT 06109                     8917      10/16/2015 Corporation                                                     $31.87                                                                                           $31.87
Sander, Hannelore
39 Claremont Ave, Apt 101                                       RS Legacy Corporation fka RadioShack
New York, NY 10027                         8918      10/15/2015 Corporation                                                      $0.00                                                                                            $0.00
Edgewater Holding Corporation
100 Bush Street, Suite 218                                      RS Legacy Corporation fka RadioShack
SAN FRANCISCO, CA 94104                    8919      10/15/2015 Corporation                                                  $5,400.40                                                                                        $5,400.40
Stang, Jerry
1713 Hidden Forest Lane                                         RS Legacy Corporation fka RadioShack
Jacksonville, FL 32225                     8920      10/16/2015 Corporation                                                                       $25.00                                  $0.00                                  $25.00
Stang, Jerry
1713 Hidden Forest Lane                                         RS Legacy Corporation fka RadioShack
Jacksonville, FL 32225                     8921      10/16/2015 Corporation                                                                       $25.00                                  $0.00                                  $25.00




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                                                                                                                      Current General                                            Current 503(b)(9)
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                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                          Amount                                                     Amount
Dasteel, Betty
2123 Century Woods Way                                             RS Legacy Corporation fka RadioShack
Los Angeles, CA 90067                         8922      10/16/2015 Corporation                                                                                          $43.59                                                      $43.59
Stahl, Arthur
408 Yellowstone Cir                                                RS Legacy Corporation fka RadioShack
Corona, CA 92879                              8923      10/17/2015 Corporation                                                  $3,613.97              $0.00                                                                     $3,613.97
Leveille, Yanick
6180 So. Christos Cir                                              RS Legacy Corporation fka RadioShack
Salt Lake City, UT 84123                      8924      10/14/2015 Corporation                                                      $7.15                                                                                            $7.15
Brooks, Tina
6908 Center St                                                     RS Legacy Corporation fka RadioShack
Lamont, CA 93241                              8925      10/16/2015 Corporation                                                      $0.00                                                                                            $0.00
Wyatt, Leslie J
3017 Staunton Jasper Rd. S.W.                                      RS Legacy Corporation fka RadioShack
Washington Ct. Hse., OH 43160                 8926      10/19/2015 Corporation                                                                         $0.00                                                                         $0.00
DeWith, Ed
18485 HY 47                                                        RS Legacy Corporation fka RadioShack
Yamhill, OR 97148                             8927      10/19/2015 Corporation                                                     $15.00                                                                                           $15.00
Wyatt, Leslie J
307 Stauton Jasper Rd                                              RS Legacy Corporation fka RadioShack
Washington C.H., OH 43160                     8928      10/19/2015 Corporation                                                                                                               $0.00                                   $0.00
Perry, Joyce
27620 73rd Ave NW                                                  RS Legacy Corporation fka RadioShack
Stanwood , WA 98292                           8929      10/19/2015 Corporation                                                                       $50.03                                                                         $50.03
Fuld, Steven J.
1 Aberdeen Place                                                   RS Legacy Corporation fka RadioShack
Fair Lawn, NJ 07410‐3504                      8930      10/19/2015 Corporation                                                     $30.00                                                                                           $30.00
State of Michigan, Department of Treasury
Cadillac Place, Suite 10‐200
3030 W. Grand Blvd                                                 RS Legacy Corporation fka RadioShack
Detroit, MI 48202                             8931      10/19/2015 Corporation                                                    $367.86                                                                                          $367.86
Toscano, Maria
12109 Schick Lane                                                  RS Legacy Corporation fka RadioShack
Lakewood, CA 90715                            8932      10/20/2015 Corporation                                                    $137.44                                                                                          $137.44
Perimeter Investments, Inc.
c/o Penson Law Firm, P.A.
2810 Remington Green Circle                                        RS Legacy Corporation fka RadioShack
Tallahassee, FL 32308                         8933      10/20/2015 Corporation                                                  $2,679.46                                                                                        $2,679.46
Salguero, Bryan
1413 E Thousand Oaks Blvd Apt D                                    RS Legacy Corporation fka RadioShack
Thousand Oaks, CA 91362                       8934      10/20/2015 Corporation                                                     $50.00                                                                                           $50.00
Alexander, Liam
65 Wyckoff Avenue
Apartment #1R                                                      RS Legacy Corporation fka RadioShack
Brooklyn, NY 11237                            8935      10/21/2015 Corporation                                                                                                              $30.00                                  $30.00
Sauer, Bobby
2443 Brantley St. NW                                               RS Legacy Corporation fka RadioShack
Atlanta, GA 30318                             8936      10/21/2015 Corporation                                                     $19.25                                                                                           $19.25




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            Creditor Name and Address               Claim No.   Claim Date                      Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
Texas Comptroller of Public Accounts on behalf of
the State of Texas, Texas Municipalities, Texas
Counties, Special Purpose Districts and/or Texas
Metropolitan or Regional Transportation
Authorities
Office of the Attorney General
Bankruptcy ‐ Collections Division
PO Box 12548                                                               RS Legacy Corporation fka RadioShack
Austin, TX 78711‐2548                                 8937      10/20/2015 Corporation                                                                          $0.00                                                                         $0.00
Dorval, Louis
751 8th Ave SW                                                             RS Legacy Corporation fka RadioShack
Dickinson, ND 58601                                   8938      10/21/2015 Corporation                                                      $24.99                                                                                           $24.99
Spence, Marielena
391 E. Michelle St.                                                        RS Legacy Corporation fka RadioShack
West Covina, CA 91790                                 8939      10/22/2015 Corporation                                                     $140.00                                                                                          $140.00
MD Haque
5950 Imperial Hwy#38                                                       RS Legacy Corporation fka RadioShack
South Gate, CA 90280                                  8940      10/21/2015 Corporation                                                   $2,985.52                                $0.00                                                   $2,985.52
MD Haque
5950 Imperial Hwy#38                                                       RS Legacy Corporation fka RadioShack
South Gate, CA 90280                                  8941      10/21/2015 Corporation                                                       $0.00                                                                                            $0.00
Industrious, Sonia
PO Box 10301                                                               RS Legacy Corporation fka RadioShack
St. Thomas , VI 00801                                 8942      10/22/2015 Corporation                                                      $40.04                                                                                           $40.04
Mozelak, Brian
87 Woodbridge Lane                                                         RS Legacy Corporation fka RadioShack
Thomaston, CT 06787                                   8943      10/22/2015 Corporation                                                      $46.75                                                                                           $46.75
Pickett, Jeff
173 Miramonte Road                                                         RS Legacy Corporation fka RadioShack
Walnut Creek, CA 94597                                8944      10/22/2015 Corporation                                                                                                               $50.00                                  $50.00
Coutu Jr, Roger
237 Valley Rd                                                              RS Legacy Corporation fka RadioShack
Danielson, CT 06239                                   8945      10/22/2015 Corporation                                                      $90.00                                                                                           $90.00
Coutu Jr, Roger
237 Valley Rd                                                              RS Legacy Corporation fka RadioShack
Danielson, CT 06239                                   8946      10/22/2015 Corporation                                                      $90.00                                                                                           $90.00
Carrigan, Debbie
10814 Mountain Laurel Court                                                RS Legacy Corporation fka RadioShack
Spotsylvania, VA 22553                                8947      10/23/2015 Corporation                                                     $100.00                                                                                          $100.00
IFIXIT
1330 MONTEREY ST
SAN LUIS OBISPO, CA 93401                             8948      10/23/2015 RSIgnite, LLC                                                     $0.00                                                                                            $0.00
Bailey, Tashameca
PO BOX 1000                                                                RS Legacy Corporation fka RadioShack
Fountain Inn, SC 29644                                8949      10/23/2015 Corporation                                                      $63.00                                                                                           $63.00
Ramirez, Dana
6140 Monterey Road, #223                                                   RS Legacy Corporation fka RadioShack
Los Angeles, CA 90042                                 8950      10/23/2015 Corporation                                                      $20.00                                                                                           $20.00
Gore II, Charles P
4928 Manley Smith Rd                                                       RS Legacy Corporation fka RadioShack
Nakina, NC 28455                                      8951      10/23/2015 Corporation                                                                        $50.00                                                                         $50.00




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            Creditor Name and Address                    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                       Amount                                                     Amount
Rahman, Mohammed
959 ‐ Broadway                                                                  RS Legacy Corporation fka RadioShack
Watervliet, NY 12189                                       8952      10/21/2015 Corporation                                                     $25.91                                                                                           $25.91
Wyatt, Leslie
307 Staunton Jasper Road S.W.                                                   RS Legacy Corporation fka RadioShack
Washington Court House, OH 43160                           8953      10/25/2015 Corporation                                                                                                               $0.00                                   $0.00
Hansen, Angela
1777 Ebers Street                                                               RS Legacy Corporation fka RadioShack
San Diego, CA 92107                                        8954      10/24/2015 Corporation                                                     $20.00                                                                                           $20.00

Inland Commercial Property Management, Inc. as
managing agent for Inland Real Estate‐Illinois, L.L.C.
Attn: Beth Sprecher Brooks, Esquire
Inland Real Estate Corp.
Law Department
2901 Butterfield Road                                                           RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                        8955      10/23/2015 Corporation                                                  $3,099.67                                                                                        $3,099.67

Inland TRS Property Management, Inc., as managing
agent for Inland Creekside Commons, L.L.C.
Attn: Beth Sprecher Brooks, Esquire
Inland Real Estate Corp
Law Department
2901 Butterfield Road                                                           RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                                        8956      10/23/2015 Corporation                                                $67,539.09                                                                                        $67,539.09
Mediant Communications Inc
200 Regency Forest Drive
Suite 110                                                                       RS Legacy Corporation fka RadioShack
Cary, NC 27518                                             8957      10/26/2015 Corporation                                                    $614.49                                                                                          $614.49
FOERST, DIANE T.
104 THORNRIDGE DRIVE                                                            RS Legacy Corporation fka RadioShack
LEVITTOWN, PA 19054                                        8958      10/26/2015 Corporation                                                                                                              $19.07                                  $19.07
Fogel, Kevin M
49 Irma Drive                                                                   RS Legacy Corporation fka RadioShack
Oceanside, ny 11572                                        8959      10/26/2015 Corporation                                                    $109.66                                                                                          $109.66
Scott, Marlene
1701 Still Wagon RD                                                             RS Legacy Corporation fka RadioShack
Niles, OH 44446                                            8960      10/26/2015 Corporation                                                     $92.46                                                                                           $92.46
Deukmejian, George
3915 Bartley Drive                                                              RS Legacy Corporation fka RadioShack
Sacramento, CA 95822                                       8961      10/26/2015 Corporation                                                $97,114.44                                                                                        $97,114.44
Weiner, Sharon
3287 Shore Rd                                                                   RS Legacy Corporation fka RadioShack
Oceanside, NY 11572                                        8962      10/26/2015 Corporation                                                      $0.00                                                                                            $0.00
Parkinson, Debra
894 Railway Square                                                              RS Legacy Corporation fka RadioShack
West Chester, PA 19380                                     8963      10/26/2015 Corporation                                                     $20.13                                                                                           $20.13
Waters, Wanda
117 Creekside Circle                                                            RS Legacy Customer Service LLC fka RadioShack
Spring Valley, NY 10977                                    8964      10/27/2015 Customer Service LLC                                            $65.31                                                                                           $65.31




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                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
Lampert, Selwyn
3 Bannock Court                                                        RS Legacy Corporation fka RadioShack
Suffern, NY 10901                                 8965      10/26/2015 Corporation                                                     $11.09                                                                                           $11.09
Joshi, Mukul
85 W 5th Ave
Apt 407                                                                RS Legacy Corporation fka RadioShack
San Mateo, CA 94402                               8966      10/26/2015 Corporation                                                                      $103.49                                                                        $103.49
Goodwin, Beverly
202 Evelyn Dr.                                                         RS Legacy Corporation fka RadioShack
Huntsville, AL 35811                              8967      10/26/2015 Corporation                                                      $0.08                                                  $185.20                                 $185.28
Vocaturo, Carolina
296 Marietta Ave                                                       RS Legacy Corporation fka RadioShack
Hawthorne, NY 10532                               8968      10/26/2015 Corporation                                                     $59.06                                                                                           $59.06
FOERST, DIANE T
104 THORNRIDGE DRIVE                                                   RS Legacy Corporation fka RadioShack
LEVITTOWN, PA 19054                               8969      10/26/2015 Corporation                                                                       $19.07                                                                         $19.07
Quill, Paul D.
51245 Avenida Rubio                                                    RS Legacy Corporation fka RadioShack
La Quinta, CA 92253                               8970      10/26/2015 Corporation                                                                                                              $32.38                                  $32.38
Paige, Linda
14 Greenwood Drive                                                     RS Legacy Corporation fka RadioShack
Auburn, MA 01501                                  8971      10/27/2015 Corporation                                                      $3.44                                                                                            $3.44
Stenor, Briel
11360 NW 29th Manor                                                    RS Legacy Corporation fka RadioShack
Sunrise, FL 33323                                 8972      10/27/2015 Corporation                                                     $25.00                                                                                           $25.00
Raihofer, Lynda
48 Young Ave                                                           RS Legacy Corporation fka RadioShack
Pelham, NY 10803                                  8973      10/27/2015 Corporation                                                     $75.00                                                                                           $75.00
Rossow USA, Inc.
100 Matawan Road, Suite 350                                            RS Legacy Corporation fka RadioShack
Matawan, NJ 07747                                 8974      10/27/2015 Corporation                                                     $32.09                                                                                           $32.09
Colman, George
5676 Colodny Dr.                                                       RS Legacy Corporation fka RadioShack
Agoura Hills, CA 91301                            8975      10/27/2015 Corporation                                                     $19.61                                                                                           $19.61
Barker, James
736 Meadow Park Drive                                                  RS Legacy Corporation fka RadioShack
Clinton, WI 53525                                 8976      10/27/2015 Corporation                                                                       $42.00                                                                         $42.00
Warren, Lisa
18933 Lofland Lane                                                     RS Legacy Corporation fka RadioShack
Milford, DE 19963                                 8977      10/28/2015 Corporation                                                                       $95.00              $0.00               $0.00                                  $95.00
Collins, Frederick W.
22 Magellan Court                                                      RS Legacy Corporation fka RadioShack
Novato, CA 94949                                  8978      10/27/2015 Corporation                                                     $18.53                                                                                           $18.53

Cape Girardeau County Collector Diane Diebold
1 Barton Square Ste 303                                                RS Legacy Corporation fka RadioShack
Jackson, MO 63755                                 8979      10/27/2015 Corporation                                                                      $168.18                                                                        $168.18
Dixon, Akeem J.
932 W. College Ave
Apt 2                                                                  RS Legacy Corporation fka RadioShack
Philadelphia, PA 19130                            8980      10/27/2015 Corporation                                                                                                             $100.00                                 $100.00




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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Aures, Marjorie J
90 Gordon Rd                                                    RS Legacy Corporation fka RadioShack
Spenerport, NY 14559                       8981      10/27/2015 Corporation                                                     $14.01                                                                                           $14.01
Ford, Sarah
380 East Napa St.                                               RS Legacy Corporation fka RadioShack
Sonoma, CA 95476                           8982      10/28/2015 Corporation                                                     $80.00                                                                                           $80.00
McFetridge, Kristee
570 Justice St. SE                                              RS Legacy Corporation fka RadioShack
Salem, OR 97302                            8983      10/28/2015 Corporation                                                     $15.00                                                                                           $15.00
Finnegan, Miriam
21 Alpine Dr                                                    RS Legacy Corporation fka RadioShack
Latham, NY 12110                           8984      10/28/2015 Corporation                                                    $140.39                                                                                          $140.39
Mistretta, Ross
96 Carol Place                                                  RS Legacy Corporation fka RadioShack
Wayne, NJ 07470                            8985      10/27/2015 Corporation                                                     $54.49                                                                                           $54.49
Tobias, Florencio M.
5320 Kevinberg Dr.                                              RS Legacy Corporation fka RadioShack
Sacramento, CA 95823                       8986      10/28/2015 Corporation                                                     $42.96                                                                                           $42.96
Klaus, Michael
15 Alta Vista                                                   RS Legacy Corporation fka RadioShack
Rancho Mirage, CA 92270                    8987      10/28/2015 Corporation                                                     $43.47                                                                                           $43.47
Gibbons, John L.
16300 Chaney Ln                                                 RS Legacy Corporation fka RadioShack
Stilwell, KS 66085‐9266                    8988      10/28/2015 Corporation                                                     $47.92                                                                                           $47.92
Williams, Sonia
7847 Colony Lake Dr.                                            RS Legacy Corporation fka RadioShack
Boynton Beach, FL 33436                    8989      10/28/2015 Corporation                                                                       $42.39                                  $0.00                                  $42.39
Glover, Robert
7150 Stevenson Boulevard                                        RS Legacy Customer Service LLC fka RadioShack
Fremont, CA 94538                          8990      10/28/2015 Customer Service LLC                                                             $100.00                                  $0.00                                 $100.00
Rudolph, Malcolm
200 Ginzel Rd                                                   RS Legacy Corporation fka RadioShack
New Oxford, PA 17350                       8991      10/29/2015 Corporation                                                     $80.00                                                                                           $80.00
Peter, Zachary
32 Harris Fuller Road                                           RS Legacy Corporation fka RadioShack
Preston, CT 06365                          8992      10/29/2015 Corporation                                                     $60.00                                                                                           $60.00
Daily Mountain Eagle
PO BOX 1469                                                     RS Legacy Corporation fka RadioShack
Jasper, AL 35502                           8993      10/27/2015 Corporation                                                    $369.08              $0.00                                                                       $369.08
Douglas County
John W. Ewing Jr., Treasurer
Timothy K. Dolan
909 Civic Center, 1819 Farnam Street                            RS Legacy Corporation fka RadioShack
Omaha, NE 68183                            8994      10/27/2015 Corporation                                                                     $2,184.45                                                                     $2,184.45
Saxton, Danielle
224 Beechwood Rd                                                RS Legacy Corporation fka RadioShack
Oradell, NJ 07649                          8995      10/29/2015 Corporation                                                     $80.00                                                                                           $80.00
Farmer, Cody
13165 Knox St.                                                  RS Legacy Corporation fka RadioShack
Overland Park, KS 66213                    8996      10/29/2015 Corporation                                                     $65.00                                                                                           $65.00




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                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
Gianotti, Alyssa
216‐15 31 Road                                                      RS Legacy Corporation fka RadioShack
Bayside, NY 11360                              8997      10/29/2015 Corporation                                                     $41.00                                                                                           $41.00
Mcclendon, Khayla
810 Benton Drive                                                    RS Legacy Corporation fka RadioShack
Hattiesburg, MS 39401                          8998      10/29/2015 Corporation                                                                         $0.00                                                                         $0.00
Olivadoti, Darlene
104 Elm Drive                                                       RS Legacy Corporation fka RadioShack
Neptune, NJ 07753                              8999      10/29/2015 Corporation                                                     $25.00                                                                                           $25.00
Pitney Bowes Global Financial Services LLC
Pitney Bowes Inc.
27 Waterview Drive                                                  RS Legacy Corporation fka RadioShack
Shelton, CT 06484                              9000      10/22/2015 Corporation                                                    $949.89                                                                                          $949.89
Zamora, Lizbeth
850 Coyote Dr                                                       RS Legacy Corporation fka RadioShack
Rio Grande City , TX 78582                     9001      10/29/2015 Corporation                                                    $100.00                                                                                          $100.00
Vega, Jorge
704 W. 53rd Street                                                  RS Legacy Corporation fka RadioShack
Los Angeles, CA 90037                          9002      10/30/2015 Corporation                                                     $50.00                                                                                           $50.00
Coleman, Vicki
13404 Autumn Ridge Lane                                             RS Legacy Corporation fka RadioShack
Silver Spring, MD 20906                        9003      10/30/2015 Corporation                                                                                                              $42.39                                  $42.39
AMALGAMATED FINANCIAL GROUP VIII
1414 ATWOOD AVENUE                                                  RS Legacy Corporation fka RadioShack
JOHNSTON, RI 02919                             9004      10/29/2015 Corporation                                                $57,778.76                                                                                        $57,778.76
Salazar, Ruben
3895 Cinco Amigos                                                   RS Legacy Corporation fka RadioShack
Santa Barbara, CA 93105                        9005      10/31/2015 Corporation                                                    $118.78                                                                                          $118.78
Slaughter, Sara
3063 Dauphine Street                                                RS Legacy Corporation fka RadioShack
New Orleans, LA 70117                          9006      10/31/2015 Corporation                                                     $48.37                                                                                           $48.37
Leung, Douglas
45 Lebanon Hills Dr                                                 RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15228                           9007      10/30/2015 Corporation                                                                      $100.00                                                                        $100.00
CASTOR, ANDRIA
97 S OAK ST                                                        RS Legacy Corporation fka RadioShack
VENTURA, CA 93001                              9008      11/2/2015 Corporation                                                                       $100.00                                  $0.00                                 $100.00
Chasse Jr., Joseph
2159 Waterbury Rd.                                                 RS Legacy Corporation fka RadioShack
Cheshire, CT 06410                             9009      11/2/2015 Corporation                                                      $25.00                                                                                           $25.00
Costell, Stephen
222 Lafayette Avenue                                               RS Legacy Corporation fka RadioShack
Chatham, NJ 07928                              9010      11/2/2015 Corporation                                                      $50.00                                                                                           $50.00
Deacon, Sarah
11115 Harford Road                                                 RS Legacy Corporation fka RadioShack
Glen Arm, MD 21057                             9011      11/2/2015 Corporation                                                                                                                $0.00                                   $0.00
Lee, Peter
7611 Squirewood Way                                                RS Legacy Corporation fka RadioShack
Cupertano, CA 95014                            9012      11/2/2015 Corporation                                                       $4.97                                                                                            $4.97
Oliver, Nancy C.
1324 Gibson Ave                                                    RS Legacy Corporation fka RadioShack
Myrtle Beach, SC 29575                         9013      11/2/2015 Corporation                                                      $40.00                                                                                           $40.00



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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Jiao, Sufang
349 S 47th St. #A310                                           RS Legacy Corporation fka RadioShack
Philadelphia, PA 19143                     9014      11/2/2015 Corporation                                                      $53.99                                                                                           $53.99
Templin, Josh
23 Forest Rd                                                   RS Legacy Corporation fka RadioShack
Tijeras, NM 87059                          9015      11/3/2015 Corporation                                                       $0.00                                                                                            $0.00
Bonn, Thomas
62775 Idanha Ct.                                               RS Legacy Corporation fka RadioShack
Bend, OR 97703                             9016      11/2/2015 Corporation                                                      $29.99                                                                                           $29.99
Schoonover, David R.
709 Mt. Rock Road                                              RS Legacy Corporation fka RadioShack
Carlisle, PA 17015                         9017      11/2/2015 Corporation                                                                                                               $74.18                                  $74.18
Lack, Gene
805 Lester Street                                              RS Legacy Corporation fka RadioShack
Kennett, MO 69857                          9018      11/2/2015 Corporation                                                     $160.93                                                                                          $160.93
WELSON ELECTRONIC INC.
8F‐3, NO. 16, NANKING E. ROAD                                  RS Legacy Global Sourcing Limited Partnership
TAIPEI CITY, R.O.C. 105                                        fka RadioShack Global Sourcing Limited
TAIWAN                                     9019      11/2/2015 Partnership                                                 $11,622.65                                                                                        $11,622.65
WELSON ELECTRONIC INC.
8F‐3, NO. 16, NANKING E. ROAD                                  RS Legacy Global Sourcing Limited Partnership
TAIPEI CITY, R.O.C. 105                                        fka RadioShack Global Sourcing Limited
TAIWAN                                     9020      11/2/2015 Partnership                                                                                                                                  $0.00                 $0.00
Galindo, Kelly
6532 San Mateo St.                                             RS Legacy Corporation fka RadioShack
Paramount, CA 90723                        9021      11/3/2015 Corporation                                                     $508.05              $0.00                                 $0.00                                 $508.05
Jive Software, Inc.
John R. Knapp, Jr., P.C., Bar No. 3681
Miller Nash Graham & Dunn LLP
Pier 70, 2801 Alaskan Way, Suite 300                           RS Legacy Corporation fka RadioShack
Seattle, WA 98121                          9022      11/3/2015 Corporation                                                                                                                                  $0.00                 $0.00
Knishka, Jenelle
PO Box 716                                                     RS Legacy Corporation fka RadioShack
Peshastn, WA 98847                         9023      11/3/2015 Corporation                                                      $43.35                                                                                           $43.35
Negron Quinones, Priscilla
Glenview Gardens
W22A Q‐70                                                      RS Legacy Corporation fka RadioShack
Ponce, PR 00730                            9024      11/4/2015 Corporation                                                      $50.00                                                                                           $50.00
Marion County Treasurer
B. Darland
200 E Washington St Ste 1041                                   RS Legacy Corporation fka RadioShack
Indianapolis, IN 46204                     9025      11/4/2015 Corporation                                                       $0.00                                                                                            $0.00
Jiang, Li
6515 Parkriver Xing,                                           RS Legacy Corporation fka RadioShack
Sugar Land, TX 77479                       9026      11/3/2015 Corporation                                                      $25.00                                                                                           $25.00
Folkestad, Leah
6212 E Saguaro Vista CT..                                      RS Legacy Corporation fka RadioShack
Cave Creek, AZ 85331                       9027      11/3/2015 Corporation                                                      $31.94                                                                                           $31.94
Kendrick, Mary R
11316 Kendricks Rd.                                            RS Legacy Corporation fka RadioShack
Lucedale, MS 39452                         9028      11/3/2015 Corporation                                                      $76.98                                                                                           $76.98




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                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
Knishka, Jenelle
PO Box 716                                                                   RS Legacy Corporation fka RadioShack
Peshastin, WA 98847                                      9029      11/3/2015 Corporation                                                     $43.35                                                                      $0.00                $43.35
Portsmouth Police Department
Debra Glitschier
3 Junkins Avenue                                                             RS Legacy Corporation fka RadioShack
Portsmouth, NH 03801                                     9030      11/2/2015 Corporation                                                    $300.00                                                                                          $300.00
Stamford, Chad
1209 Descanso Street                                                         RS Legacy Corporation fka RadioShack
San Luis Obispo, CA 93405                                9031      11/2/2015 Corporation                                                     $59.38                                                                                           $59.38
Spanish Broadcasting System, Inc.
7007 NW 77 Ave                                                               RS Legacy Corporation fka RadioShack
Miami , FL 33166                                         9032      11/4/2015 Corporation                                                      $0.00                                                                                            $0.00
Filho, Manoel Pereira
21012 Country Creek Drive                                                    RS Legacy Corporation fka RadioShack
Boca Raton, FL 33428                                     9033      11/4/2015 Corporation                                                                       $42.39                                                                         $42.39
Debi, Manika
12618 Curtis and King Rd                                                     RS Legacy Customer Service LLC fka RadioShack
Norwalk, CA 90650                                        9034      11/4/2015 Customer Service LLC                                                                                 $18.49                                                      $18.49
Budd, Kimberly S
72 Perkins St                                                                RS Legacy Customer Service LLC fka RadioShack
Newton, MA 02465                                         9035      11/5/2015 Customer Service LLC                                            $50.00                                                                                           $50.00
Taber, Corey
257 Southwood Ave                                                            RS Legacy Corporation fka RadioShack
Columbus, OH 43207                                       9036      11/5/2015 Corporation                                                     $54.36                                                                                           $54.36
Halkitis, Steve
1722 kingsley ave                                                            RS Legacy Corporation fka RadioShack
Akron, OH 44313                                          9037      11/5/2015 Corporation                                                                                                              $88.81                                  $88.81
Clarke, Tanya
130 Eastwind St #4                                                           RS Legacy Corporation fka RadioShack
Marina Del Rey, CA 90292                                 9038      11/5/2015 Corporation                                                                       $60.00                                  $0.00                                  $60.00
Johnson, Walter A
4 Dow Drive                                                                  RS Legacy Corporation fka RadioShack
Hillsborough, NJ 08844                                   9039      11/5/2015 Corporation                                                     $32.79                                                                                           $32.79
Song, Juyoung
95‐1247 Moea Street                                                          RS Legacy Corporation fka RadioShack
Mililani, HI 96789                                       9040      11/5/2015 Corporation                                                      $0.00                                                                                            $0.00
Oracle America, Inc. successor in interest to Oracle
USA, Inc., Hyperion Solutions Corporation,
PeopleSoft, Inc., Retek, Storage Technology Oracle
License and Services Agreement and related
contracts
Shawn M. Christianson, Esq.
Buchalter Nemer P.C.
425 Market Street
Suite 2900                                                                   RS Legacy Corporation fka RadioShack
San Francisco, CA 94105                                  9041      11/5/2015 Corporation                                                      $0.00                                                                                            $0.00
Bantum, Leatrice
37 W Saxony Dr                                                               RS Legacy Corporation fka RadioShack
New Castle, DE 19720                                     9042      11/6/2015 Corporation                                                     $50.00                                                                                           $50.00




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                                                                                                                             Current General                                            Current 503(b)(9)
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            Creditor Name and Address               Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Kendrick, Juliana
1303 E Old Cumberland Street                                              RS Legacy Corporation fka RadioShack
Lebanon, PA 17042                                     9043      11/6/2015 Corporation                                                     $50.00                                                                                           $50.00
Huynh, Lynn
562 6th Ave #6                                                            RS Legacy Corporation fka RadioShack
San Francisco, CA 94118                               9044      11/5/2015 Corporation                                                     $25.00                                                                                           $25.00
West Salinas Shops, LLC
c/o Anne Secker, Esq., Noland, Hamerly, Etienne &
Hoss
PO Box 2510                                                               RS Legacy Corporation fka RadioShack
Salinas, CA 93902‐2510                                9045      11/6/2015 Corporation                                                $32,200.13                                                                                        $32,200.13
Dewey, Mike
64 04 Tesuque Dr NW                                                       RS Legacy Corporation fka RadioShack
Albuquerque, NM 87120                                 9046      11/6/2015 Corporation                                                     $23.78                                                                                           $23.78
Pringle, Marie
2321 Wolf Ridge Lane                                                      RS Legacy Corporation fka RadioShack
Mount Dora, FL 32757                                  9047      11/5/2015 Corporation                                                     $25.00                                                                                           $25.00
Halkitis, Steve
1722 Kingsley Ave                                                         RS Legacy Corporation fka RadioShack
Akron, OH 44313                                       9048      11/5/2015 Corporation                                                                       $88.81                                  $0.00                                  $88.81
Wick Shopping Plaza Associates, LLC
PO Box 29                                                                 RS Legacy Corporation fka RadioShack
Woodbridge, NJ 07095                                  9049      11/5/2015 Corporation                                                $37,000.00                                                                                        $37,000.00
shao, li xia
1484 woodland dr                                                          RS Legacy Corporation fka RadioShack
south elgin, IL 60177                                 9050      11/5/2015 Corporation                                                                      $100.00                                  $0.00                                 $100.00
Sib, Laurice
11414 freestone ave.                                                      RS Legacy Corporation fka RadioShack
pearland, tx 77584                                    9051      11/5/2015 Corporation                                                     $27.46                                                                                           $27.46
Shields, Minister Edwwina K
804 Monroe                                                                RS Legacy Corporation fka RadioShack
Valparaiso, IN 46383                                  9052      11/7/2015 Corporation                                                                       $50.00                                                                         $50.00
Fleischman, Tina
11956 Bernardo Plaza Drive #210                                           RS Legacy Corporation fka RadioShack
San Diego, CA 92128                                   9053      11/6/2015 Corporation                                                                       $53.99              $0.00               $0.00                                  $53.99
Johnson, Lisa
406 Andall St                                                             RS Legacy Corporation fka RadioShack
Lino Lakes, MN 55014                                  9054      11/8/2015 Corporation                                                                       $22.84                                                                         $22.84
Duran, Maria
2206 S. Sycamore Ave                                                      RS Legacy Corporation fka RadioShack
Los Angeles, CA 90016                                 9055      11/9/2015 Corporation                                                    $163.11                                                                                          $163.11
Wolfe, Mike
3677 E Beaumont                                                           RS Legacy Corporation fka RadioShack
Springfield, MO 65809                                 9056      11/9/2015 Corporation                                                     $43.08                                                                                           $43.08
gurosko, bryan
2710 Carsins Run Road                                                     RS Legacy Corporation fka RadioShack
Aberdeen, MD 21001                                    9057      11/9/2015 Corporation                                                                                                              $84.79                                  $84.79




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                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount

Interactive Communications International, Inc.
c/o Bryan Bates, Esq.
Dentons US LLP
303 Peachtree St., NE #5300                                            RS Legacy Corporation fka RadioShack
Atlanta, GA 30308                                  9058      11/6/2015 Corporation                                                        $0.00                                                                                            $0.00
Silverman Kerr, Valarie
21 Sycamore Rd                                                         RS Legacy Corporation fka RadioShack
Scarsdale, NY 10583                                9059      11/5/2015 Corporation                                                       $25.00                                                                                           $25.00
Ware, Kimberly
PO Box 2                                                                RS Legacy Corporation fka RadioShack
Ackerly, TX 79713                                  9060      11/10/2015 Corporation                                                     $400.00                                                                                          $400.00
Henry, Robynne
21221 Winchester                                                        RS Legacy Corporation fka RadioShack
Southfield, MI 48076                               9061      11/10/2015 Corporation                                                      $50.00                                                                                           $50.00
ALEXANDER, VIDHU
302 BENNETT RD
NEW CASTLE, DE 19720                               9062      11/10/2015 RSIgnite, LLC                                                   $550.00              $0.00             $0.00                                                     $550.00
Cichon, Julia
910 W. 26th Street #08                                                  RS Legacy Corporation fka RadioShack
San Pedro, CA 90731                                9063      11/12/2015 Corporation                                                      $54.49                                                                                           $54.49
Farkus, Angela
608 Grant St                                                            RS Legacy Corporation fka RadioShack
Hazleton, PA 18201                                 9064      11/11/2015 Corporation                                                      $15.00                                                                                           $15.00
Newell, Clinton
3255 Almira Drive                                                       RS Legacy Corporation fka RadioShack
Bremerton, WA 98310                                9065      11/10/2015 Corporation                                                                                                               $52.11                                  $52.11
Belligiere, Erica
216‐24 Rockaway Point Blvd                                              RS Legacy Corporation fka RadioShack
Breezy Point, NY 11697                             9066      11/10/2015 Corporation                                                                        $50.00                                  $0.00                                  $50.00
ALEXANDER, VIDHU
302 BENNETT RD                                                          RS Legacy Corporation fka RadioShack
NEW CASTLE, DE 19720                               9067      11/10/2015 Corporation                                                                          $0.00             $0.00               $0.00                                   $0.00
Alexander, Vidhu
302 Bennett Rd
New Castle , DE 19720                              9068      11/10/2015 RSIgnite, LLC                                                                        $0.00             $0.00                                                       $0.00
DeMatteis, Jeff
3228 Lake Pointe Dr                                                     RS Legacy Corporation fka RadioShack
Belmont, NC 28012                                  9069      11/12/2015 Corporation                                                      $25.00                                                                                           $25.00
Wang, Meng
13721 Laburnum Ave                                                      RS Legacy Corporation fka RadioShack
Flushing, NY 11355                                 9070      11/12/2015 Corporation                                                     $100.00                                                                                          $100.00
Watt, Victoria Stefan
6338 Grove Rd                                                           RS Legacy Corporation fka RadioShack
Clinton, OH 44216                                  9071      11/12/2015 Corporation                                                      $64.64                                                                                           $64.64
Grotz, Brianna
1018 Road L                                                             RS Legacy Corporation fka RadioShack
York, NE 68467                                     9072      11/12/2015 Corporation                                                      $50.00                                                                                           $50.00




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                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                     Amount

Valdes, Ray
Seminole County Tax Collector
DANA MURPHY, BANKRUPTCY REPRESENTATIVE
1101 East First Street
PO Box 630                                                             RS Legacy Corporation fka RadioShack
Sanford, FL 32772                                  9073      11/9/2015 Corporation                                                                                            $0.00                                                       $0.00

Ray Valdes, the Seminole County Tax Collector
DEBRA MURPHY, BANK REPRESENTATIVE
1101 East First Street
PO Box 630                                                             RS Legacy Corporation fka RadioShack
Sanford, FL 32772                                  9074      11/9/2015 Corporation                                                                                           $12.47                                                      $12.47
Garland County Tax Collector
Rebecca Dodd‐Talbert, Collector
200 Woodbine ‐ Room 108                                                RS Legacy Corporation fka RadioShack
Hot Springs, AR 71901                              9075      11/9/2015 Corporation                                                                                                                                                        $0.00
Montesano, Frank
12819 Shadow Run Blvd.                                                  RS Legacy Corporation fka RadioShack
Riverview , FL 33569                               9076      11/11/2015 Corporation                                                     $49.00                                                                                           $49.00
McMorris, Brooke
507 N River Street                                                      RS Legacy Corporation fka RadioShack
Seymour, TX 76380                                  9077      11/12/2015 Corporation                                                      $7.02                                                                                            $7.02
Palm Beach County Tax Collector
Attn: Legal Services
PO Box 3715                                                             RS Legacy Corporation fka RadioShack
West Palm Beach, FL 33402‐3715                     9078      11/10/2015 Corporation                                                                      $384.14              $0.00                                                     $384.14

Trustev Limited
Attn: Stephen Fanning, Chief Operating Officer
2100 Cork Airport Business Park
Cork                                                                   RS Legacy Corporation fka RadioShack
Ireland                                            9079      11/9/2015 Corporation                                                 $90,188.60               $0.00             $0.00                           $663,406.46           $753,595.06
TAX COLLECTOR/LONOKE COMPANY
PO BOX 192                                                             RS Legacy Corporation fka RadioShack
LONOKE, AR 72086                                   9080      11/9/2015 Corporation                                                                      $2,367.80                                                                     $2,367.80
Adams, Loretta
26802 N Ellen Street                                                    RS Legacy Corporation fka RadioShack
Wauconda, IL 60084                                 9081      11/13/2015 Corporation                                                                                                              $50.00                                  $50.00
Jessen, Douglas
2347 E Lynnwood Drive                                                   RS Legacy Corporation fka RadioShack
Longview, WA 98632                                 9082      11/13/2015 Corporation                                                     $53.94                                                                                           $53.94
Rogers, Courtney
315 27th st ne apt 2                                                    RS Legacy Corporation fka RadioShack
Rochester, MN 55906                                9083      11/16/2015 Corporation                                                     $72.14                                                                                           $72.14
Kuchinka, Kris
11900 NE 18th St, Apt BK230                                             RS Legacy Corporation fka RadioShack
Vancouver, WA 98684                                9084      11/16/2015 Corporation                                                     $14.08                                                                                           $14.08
Cohen, Greg
477 Vista Gloriosa Drive                                                RS Legacy Corporation fka RadioShack
Los Angeles, CA 90065                              9085      11/17/2015 Corporation                                                     $80.00                                                                                           $80.00




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                                                                                                                          Current General                                            Current 503(b)(9)
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                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
Ryals, Kristine K
4200 Northern Cross Blvd #8302                                         RS Legacy Corporation fka RadioShack
Haltom City, TX 76137                             9086      11/16/2015 Corporation                                                     $15.00                                                                                           $15.00
Koral, Spencer
54 north main street                                                   RS Legacy Corporation fka RadioShack
Southampton, NY 11968                             9087      11/13/2015 Corporation                                                      $0.00                                                                                            $0.00
Sengul, Marcel
1726 Park St. Unit B                                                   RS Legacy Corporation fka RadioShack
Alameda, CA 94501                                 9088      11/17/2015 Corporation                                                                                                             $120.00                                 $120.00
Shanks, Martha L
Gift Card Monetery redemption                                          RS Legacy Corporation fka RadioShack
                                                  9089      11/13/2015 Corporation                                                     $25.00                                                                                           $25.00
Owens, Rebecca Auza
22117‐2 Burbank Blvd.                                                  RS Legacy Corporation fka RadioShack
Woodland Hills, CA 91367                          9090      11/17/2015 Corporation                                                     $60.00                                                                                           $60.00
Fioretti, Paul
220 Putnam Ave                                                         RS Legacy Corporation fka RadioShack
Hamden, CT 06517                                  9091      11/13/2015 Corporation                                                     $50.52                                                                                           $50.52
SPIEGEL, IRENE
32 GRACE ST.                                                           RS Legacy Corporation fka RadioShack
MALDEN, MA 02148                                  9092      11/13/2015 Corporation                                                     $23.00                                                                                           $23.00
Friedrichs, Oliver
1177 Canada Road                                                       RS Legacy Corporation fka RadioShack
Woodside, CA 94062                                9093      11/12/2015 Corporation                                                    $300.00                                                                                          $300.00
Palm Beach County Tax Collector
Attn: Legal Services
PO Box 3715                                                            RS Legacy Corporation fka RadioShack
West Palm Beach, FL 33402‐3715                    9094      11/10/2015 Corporation                                                                      $735.48              $0.00                                                     $735.48
Seminole County Tax Collector
Attn: Ray Valdes
1101 East First Street
PO Box 630                                                            RS Legacy Corporation fka RadioShack
Sanford, FL 32772                                 9095      11/9/2015 Corporation                                                                                          $458.20                                                     $458.20
Garni, Christina
8816 Kaehlers Mill Rd                                                  RS Legacy Corporation fka RadioShack
Cedarburg, WI 53012                               9096      11/18/2015 Corporation                                                    $100.00                                                                                          $100.00
Newman, Barry
366 Anzio Way                                                          RS Legacy Corporation fka RadioShack
Oak Park, CA 91377                                9097      11/16/2015 Corporation                                                     $18.52                                                                                           $18.52
Ramos, Heidi
URB Valle Hermoso arriba calle tilo n 12                               RS Legacy Corporation fka RadioShack
Hormigueros, PR 00660                             9098      11/16/2015 Corporation                                                                         $0.00                                                                         $0.00
Bowen, Don
149 Hartnell Place                                                     RS Legacy Corporation fka RadioShack
Sacramento, CA 95825                              9099      11/17/2015 Corporation                                                     $55.00                                                                                           $55.00

Ray Valdes, the Seminole County Tax Collector
1101 East First Street
PO Box 630                                                            RS Legacy Corporation fka RadioShack
Sanford, FL 32772                                 9100      11/9/2015 Corporation                                                                                           $62.42                                                      $62.42




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                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                     Amount

Trustev Limited
Attn: Stephen Fanning, Chief Operating Officer
2100 Cork Airport Business Park
Cork                                                                   RS Legacy Corporation fka RadioShack
Ireland                                            9101      11/9/2015 Corporation                                                       $0.00                                                                      $0.00                 $0.00
Williams, Maya
328 Gray Mount Cir                                                      RS Legacy Corporation fka RadioShack
Elkton, MD 21921                                   9102      11/16/2015 Corporation                                                      $0.00            $60.00              $0.00               $0.00                                  $60.00
Donovan, Frank
102 Franklin Avenue                                                     RS Legacy Corporation fka RadioShack
Valhalla, NY 10595                                 9103      11/17/2015 Corporation                                                    $250.00                                                                                          $250.00
Didio, Ann Marie
24 Saint Roch Avenue                                                    RS Legacy Corporation fka RadioShack
Greenwich, CT 06830                                9104      11/16/2015 Corporation                                                                                          $21.76                                                      $21.76
Quartley, Margie
56 Shalamar Court                                                       RS Legacy Corporation fka RadioShack
Getzville, NY 14068                                9105      11/16/2015 Corporation                                                                       $75.00                                                                         $75.00
Sapanaro, Marjorie
5 Cynthia lane                                                          RS Legacy Corporation fka RadioShack
Center Moriches, NY 11934                          9106      11/13/2015 Corporation                                                      $9.77                                                                                            $9.77
North Jersey Media Group
1 Garret Mountain Plaza
7th Floor                                                               RS Legacy Corporation fka RadioShack
Woodland Park, NJ 07424‐0471                       9107      11/16/2015 Corporation                                                $14,250.00                                                                                        $14,250.00
WYLIE COMMERCIAL, LLC
ATTN.: MATT NEMATI
PO BOX 163                                                              RS Legacy Corporation fka RadioShack
COLLEYVILLE, TX 76034                              9108      11/16/2015 Corporation                                                $80,471.43               $0.00                                                                    $80,471.43
Sayareh, Ray
6290 North Point Way                                                    RS Legacy Corporation fka RadioShack
Sacramento, CA 95831                               9109      11/16/2015 Corporation                                                                                                              $70.00                                  $70.00
Lozza, Virgilio
420 Columbus Avenue
Suite 314                                                               RS Legacy Corporation fka RadioShack
Valhalla , NY 10595                                9110      11/17/2015 Corporation                                                                                         $160.96                                                     $160.96
Fisher, Frances
1618 Electric Blvd                                                      RS Legacy Corporation fka RadioShack
Alliance, OH 44601                                 9111      11/16/2015 Corporation                                                      $0.00            $45.29                                                                         $45.29
Naumowicz, Tim
101 Chesham Ave                                                         RS Legacy Corporation fka RadioShack
San Carlos, CA 94070                               9112      11/19/2015 Corporation                                                     $38.00                                                                                           $38.00
Luther, Jamie
9267 Fox FIre Lane                                                      RS Legacy Corporation fka RadioShack
Highlands Ranch, CO 80129                          9113      11/19/2015 Corporation                                                     $30.00                                                                                           $30.00
Niemiec, Craig
3611 Killarney Ct                                                       RS Legacy Corporation fka RadioShack
Rolling Meadows, IL 60008                          9114      11/19/2015 Corporation                                                     $50.00                                                                                           $50.00
Calabrese, Christopher
228 Blooming Grove Tpk                                                  RS Legacy Corporation fka RadioShack
New Windsor, NY 12553                              9115      11/19/2015 Corporation                                                     $50.00                                                    $0.00                                  $50.00




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                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
Wininger, Kally
7905 Ruby Ct.                                                       RS Legacy Corporation fka RadioShack
Pasco, WA 99301                                9116      11/18/2015 Corporation                                                                                          $25.00              $25.00                                  $50.00
Honcharuk, Lisa M
603 South Owen street                                               RS Legacy Corporation fka RadioShack
Mount Prospect, IL 60056                       9117      11/18/2015 Corporation                                                      $0.00                                                                                            $0.00
Moss, Megan
5975 CR 31                                                          RS Legacy Corporation fka RadioShack
Auburn, IN 46706                               9118      11/18/2015 Corporation                                                     $15.00                                                                                           $15.00
Kazemi, Rodney
3648 Peachtree Rd. 1E                                               RS Legacy Corporation fka RadioShack
Atlanta, GA 30319                              9119      11/18/2015 Corporation                                                      $0.00                                                                                            $0.00
Sanchez, Yena P.
210 6th St.                                                         RS Legacy Corporation fka RadioShack
Fremont, OH 43420                              9120      11/17/2015 Corporation                                                                       $43.85                                                                         $43.85
Han, Jungmin
32 Holland Ave.                                                     RS Legacy Corporation fka RadioShack
Demarest, NJ 07027                             9121      11/16/2015 Corporation                                                    $130.00                                                                                          $130.00
Seneus, Claudemar
1994 Nostrand Ave
2nd Floor                                                           RS Legacy Corporation fka RadioShack
Brooklyn, NY 11210                             9122      11/16/2015 Corporation                                                                         $0.00                                                                         $0.00
Connecticut Light and Power dba Eversource
Eversource
PO Box 2899                                                         RS Legacy Corporation fka RadioShack
Hartford, CT 06101                             9123      11/16/2015 Corporation                                                $10,500.00                                                                                        $10,500.00
Dewey, Mike
64 04 Tesuque Dr NW                                                 RS Legacy Corporation fka RadioShack
Albuquerque, NM 87120                          9124      11/16/2015 Corporation                                                                       $23.78                                                                         $23.78
Claim Docketed In Error                                             RS Legacy Corporation fka RadioShack
                                               9125       12/1/2015 Corporation                                                                                                                                                       $0.00
Claim Docketed In Error                                             RS Legacy Corporation fka RadioShack
                                               9126       12/1/2015 Corporation                                                                                                                                                       $0.00
Claim Docketed In Error                                             RS Legacy Corporation fka RadioShack
                                               9127       12/2/2015 Corporation                                                                                                                                                       $0.00
Maya Williams
328 Gray Mount CIr                                                 RS Legacy Corporation fka RadioShack
Elkton, MD 21921                               9128      12/2/2015 Corporation                                                      $30.00                                                                                           $30.00
Maya Williams
328 Gray Mount Cir                                                 RS Legacy Corporation fka RadioShack
Elkton, MD 21921                               9129      12/2/2015 Corporation                                                      $30.00                                                                                           $30.00
Bajjuri, Ram
11151 Cardiff Ln                                                    RS Legacy Corporation fka RadioShack
Frisco, TX 75035                               9130      11/19/2015 Corporation                                                     $50.00                                                                                           $50.00
greg clark
148 w. 10th st. 5b                                                 RS Legacy Corporation fka RadioShack
new york, ny 10014                             9131      12/2/2015 Corporation                                                      $25.00                                                                                           $25.00
greg clark
148 w. 10th st. apt 5b                                             RS Legacy Corporation fka RadioShack
new york, ny 10014                             9132      12/2/2015 Corporation                                                      $25.00                                                                                           $25.00




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                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                          Amount                                                     Amount
Brian Whitman
110 Cobble Hill Dr                                                RS Legacy Corporation fka RadioShack
Wilton, NY 12831                              9133      12/2/2015 Corporation                                                      $20.00                                                                                           $20.00
Fricks Jr, DeMareo
1077 Greenfield Ave                                                RS Legacy Corporation fka RadioShack
Hanford, Ca 93230                             9134      11/20/2015 Corporation                                                     $25.00                                                                                           $25.00
Anthony Bichler
S58W25391 Crest Dr                                                RS Legacy Corporation fka RadioShack
Waukesha, WI 53189‐9695                       9135      12/2/2015 Corporation                                                      $16.31                                                                                           $16.31
Fayiz PVR
416 East 120 st                                                   RS Legacy Corporation fka RadioShack
NEW YORK, APT 2C 10035                        9136      12/2/2015 Corporation                                                     $100.00                                                                                          $100.00
Samantha Nieves
419 S 48th Street, Apt#311                                        RS Legacy Corporation fka RadioShack
Philadelphia, PA 19143                        9137      12/2/2015 Corporation                                                       $0.00                                                                                            $0.00
Callahan, Mari Ellyn
11219 NW 16 Court                                                  RS Legacy Corporation fka RadioShack
Pembroke Pines, FL 33026                      9138      11/23/2015 Corporation                                                     $50.00                                                                                           $50.00
Fed ID #53‐0127880 Potomac Electric Power
Company
Pepco
PO Box 97274                                                       RS Legacy Corporation fka RadioShack
Washington, DC 20090‐7274                     9139      11/16/2015 Corporation                                                    $899.30                                                                                          $899.30
Bhavsar, Sujit
25023 Catalan Cliff                                                RS Legacy Corporation fka RadioShack
San Antonio, TX 78261                         9140      11/20/2015 Corporation                                                     $36.65                                                                                           $36.65
Hoffmann, Zack
1611 Division St, Apt 1104                                         RS Legacy Corporation fka RadioShack
Chicago, IL 60622                             9141      11/23/2015 Corporation                                                                       $21.00                                  $0.00                                  $21.00
Fed ID #53‐0127880 Potomac Electric Power
Company
PEPCO
PO BOX 97274                                                       RS Legacy Corporation fka RadioShack
WASHINGTON, DC 20090‐7274                     9142      11/16/2015 Corporation                                                    $317.86                                                                                          $317.86
Fed ID #53‐0127880 Potomac Electric Power
Company
PEPCO
PO BOX 97274                                                       RS Legacy Corporation fka RadioShack
Washington, DC 20090‐7274                     9143      11/16/2015 Corporation                                                    $464.63                                                                                          $464.63
Nunez, Sandra
2604 Cross Point Cir Apt#‐21                                       RS Legacy Corporation fka RadioShack
Matthews, NC 28105                            9144      11/23/2015 Corporation                                                     $32.18                                                                                           $32.18
Figge, James
284 Highway 61                                                     RS Legacy Corporation fka RadioShack
Bloomsdale, MO 6327                           9145      11/24/2015 Corporation                                                     $90.00                                                                                           $90.00
Fed ID #53‐0127880 Potomac Electric Power
Company
PEPCO
PO Box 97274                                                       RS Legacy Corporation fka RadioShack
Washington, DC 20090‐7274                     9146      11/16/2015 Corporation                                                    $928.37                                                                                          $928.37




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                                                                                                                      Current General                                            Current 503(b)(9)
                                                                                                                                            Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address       Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                          Amount                                                     Amount
FED ID #53‐0127880 POTOMAC ELECTRIC POWER
COMPANY
PEPCO
PO Box 97274                                                       RS Legacy Corporation fka RadioShack
Washington, DC 20090‐7274                     9147      11/16/2015 Corporation                                                  $1,164.06                                                                                        $1,164.06
CAROL FOSTER, Carol
10412 FOREST LAKE TERR                                            RS Legacy Corporation fka RadioShack
MITCHELLVILLE, MD 20721                       9148      12/2/2015 Corporation                                                       $0.00                                                                                            $0.00
FED ID #53‐0127880 POTOMAC ELECTRIC POWER
COMPANY
PEPCO
PO Box 97274                                                       RS Legacy Corporation fka RadioShack
Washington, DC 20090‐7274                     9149      11/16/2015 Corporation                                                    $230.47                                                                                          $230.47
Fed ID #53‐0127880 Potomac Electric Power
Company
Pepco
PO Box 97274                                                       RS Legacy Corporation fka RadioShack
Washington, DC 20090‐7274                     9150      11/16/2015 Corporation                                                  $1,525.21                                                                                        $1,525.21
Claim Docketed In Error                                            RS Legacy Corporation fka RadioShack
                                              9151      11/16/2015 Corporation                                                                                                                                                       $0.00
FED ID #53‐0127880 Potomac Electric Power
Company
PEPCO
PO Box 97274                                                       RS Legacy Corporation fka RadioShack
Washington, DC 20090‐7274                     9152      11/16/2015 Corporation                                                    $739.08                                                                                          $739.08
Fed ID #53‐0127880 Potomac Electric Power
Company
PEPCO
PO Box 97274                                                       RS Legacy Corporation fka RadioShack
Washington, DC 20090‐7274                     9153      11/16/2015 Corporation                                                    $691.91                                                                                          $691.91
FED ID #53‐0127880 POTOMAC ELECTRIC POWER
COMPANY
PEPCO
PO Box 97274                                                       RS Legacy Corporation fka RadioShack
Washington, DC 20090‐7274                     9154      11/16/2015 Corporation                                                    $618.46                                                                                          $618.46
Cruz Marquez
51845 Avenida Carranza                                            RS Legacy Corporation fka RadioShack
La Quinta, CA 92253                           9155      12/2/2015 Corporation                                                     $301.95                                                                                          $301.95
peggy mueller
55 ferndale green                                                 RS Legacy Corporation fka RadioShack
wayzata, mn 55391                             9156      12/2/2015 Corporation                                                      $42.90                                                                                           $42.90
Angie miller
2626 Milligans cove rd                                            RS Legacy Corporation fka RadioShack
Buffalo Mills,, Pa 15534                      9157      12/2/2015 Corporation                                                      $74.20                                                                                           $74.20
Teresa Bauch
8100 Felbrigg Hall Road                                           RS Legacy Corporation fka RadioShack
Glenn Dale, Maryland 20769                    9158      12/2/2015 Corporation                                                      $25.00                                                                                           $25.00
Debra Mendelson
10781 Santa Fe Dr                                                 RS Legacy Corporation fka RadioShack
Hollywood, FL 33026                           9159      12/2/2015 Corporation                                                      $25.43                                                                                           $25.43




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Logan Davis
2057 McConnell Bridge Rd.                                      RS Legacy Corporation fka RadioShack
Adel, GA 31620                             9160      12/2/2015 Corporation                                                      $0.00                                                                                            $0.00
James Hendricks
264 Horse Hill Road                                            RS Legacy Corporation fka RadioShack
Ashford, CT 06278                          9161      12/2/2015 Corporation                                                     $25.00                                                                                           $25.00
Debra Mendelson
10781 Santa Fe Dr                                              RS Legacy Corporation fka RadioShack
Hollywood, FL 33026                        9162      12/2/2015 Corporation                                                      $6.35                                                                                            $6.35
Debra Mendelson
10781 Santa Fe Dr                                              RS Legacy Corporation fka RadioShack
Hollywood, FL 33026                        9163      12/2/2015 Corporation                                                      $6.35                                                                                            $6.35
Debra Mendelson
10781 Santa Fe Dr                                              RS Legacy Corporation fka RadioShack
Hollywood, FL 33026                        9164      12/2/2015 Corporation                                                      $6.35                                                                                            $6.35
Amin Boroumand
5207 windy willow dr                                           RS Legacy Corporation fka RadioShack
louisville, ky 40241                       9165      12/2/2015 Corporation                                                    $100.00                                                                                          $100.00
Frank Cararie
1220 Linden Vue Drive                                          RS Legacy Corporation fka RadioShack
Canonsburg, PA 15317                       9166      12/2/2015 Corporation                                                     $20.14                                                                                           $20.14
Mark A. Craig
60 Creeks Edge Way                                             RS Legacy Corporation fka RadioShack
Sacramento, CA 95823                       9167      12/2/2015 Corporation                                                      $0.00                                                                                            $0.00
Patricia Dinges
2775 Saxony PL. Apt. 1217                                      RS Legacy Corporation fka RadioShack
Allison Park, PA 15101                     9168      12/2/2015 Corporation                                                      $0.00                                                                                            $0.00
Constance Huff
49460 McKenzie Hwy                                             RS Legacy Corporation fka RadioShack
Vida, OR 97488                             9169      12/2/2015 Corporation                                                     $15.00                                                                                           $15.00
David Nguyen
46 Elliot Drive                                                RS Legacy Corporation fka RadioShack
Hicksville, NY 11801                       9170      12/2/2015 Corporation                                                     $52.89                                                                                           $52.89
Tao Li
7 Guernsey Ln                                                  RS Legacy Corporation fka RadioShack
East Brunswick, NJ 08816                   9171      12/2/2015 Corporation                                                     $25.00                                                                                           $25.00
Peter La Monica
3 Village Brook Lane                                           RS Legacy Corporation fka RadioShack
Derry, NH 03038                            9172      12/2/2015 Corporation                                                      $0.00                                                                                            $0.00
Tao Li
7 Guernsey Ln                                                  RS Legacy Corporation fka RadioShack
East Brunswick, NJ 08816                   9173      12/2/2015 Corporation                                                     $25.00                                                                                           $25.00
Tao Li
7 Guernsey Ln                                                  RS Legacy Corporation fka RadioShack
East Brunswick, NJ 08816                   9174      12/2/2015 Corporation                                                     $25.00                                                                                           $25.00
Dianne Tyler
1003 Carrington Avenue                                         RS Legacy Corporation fka RadioShack
Capitol Heights, MD 20743                  9175      12/2/2015 Corporation                                                      $0.00                                                                                            $0.00
Lazaros Gallos
703 4th Street                                                 RS Legacy Corporation fka RadioShack
Secaucus, NJ 07094                         9176      12/2/2015 Corporation                                                     $25.00                                                                                           $25.00




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Lazaros Gallos
703 4th Street                                                 RS Legacy Corporation fka RadioShack
Secaucus, NJ 07094                         9177      12/2/2015 Corporation                                                      $3.61                                                                                            $3.61
Nightingale Ngo
6890 SW 128th Street                                           RS Legacy Corporation fka RadioShack
Miami, FL 33156                            9178      12/2/2015 Corporation                                                      $0.00                                                                                            $0.00
Brian Ringwald
16 12 Sunswept Drive                                           RS Legacy Corporation fka RadioShack
Saint Charles, MO 63303                    9179      12/2/2015 Corporation                                                     $25.00                                                                                           $25.00
Brian Wesol
200 2nd Street                                                 RS Legacy Corporation fka RadioShack
Milford, PA 18337                          9180      12/2/2015 Corporation                                                      $0.00                                                                                            $0.00
D'Andrea Giddens‐Jones
8303 NW 83rd St                                                RS Legacy Corporation fka RadioShack
Tamarac, Florida 33321                     9181      12/2/2015 Corporation                                                     $75.00                                                                                           $75.00
Brandi Buerger
5704 Thunder Hill Rd.                                          RS Legacy Corporation fka RadioShack
Columbia, MD 21045                         9182      12/2/2015 Corporation                                                     $26.68                                                                                           $26.68
Jeffrey K Dellinger
1036 Sunset Lake Cove                                          RS Legacy Corporation fka RadioShack
Fort Wayne, IN 46845                       9183      12/3/2015 Corporation                                                     $11.97                                                                                           $11.97
DONNA HAYASHIDA
1262 NEHOA STREET                                              RS Legacy Corporation fka RadioShack
HONOLULU, HI 96822                         9184      12/3/2015 Corporation                                                     $10.00                                                                                           $10.00
Marjorie Samoff
2120 Green Street                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19130                     9185      12/3/2015 Corporation                                                     $77.01                                                                                           $77.01
Elise Bailey
1215 Halpin Ave.                                               RS Legacy Corporation fka RadioShack
Cincinnati, Ohio 45208                     9186      12/3/2015 Corporation                                                      $0.00                                                                                            $0.00
Sarah Noblett
4497 Carter Rd                                                 RS Legacy Corporation fka RadioShack
Fairport, NY 14450                         9187      12/3/2015 Corporation                                                     $43.16                                                                                           $43.16
Sarah Noblett
4497 Carter Rd                                                 RS Legacy Corporation fka RadioShack
Fairport, NY 14450                         9188      12/3/2015 Corporation                                                     $25.00                                                                                           $25.00
David Goyer
PO Box 303                                                     RS Legacy Corporation fka RadioShack
Stillwater, NY 12170                       9189      12/3/2015 Corporation                                                    $300.00                                                                                          $300.00
Sean Virkler
9 Catherine Ave.                                               RS Legacy Corporation fka RadioShack
New Hartford, NY 13413                     9190      12/3/2015 Corporation                                                      $0.00                                                                                            $0.00
Ricky Kelly
543 Whitegate Dr.                                              RS Legacy Corporation fka RadioShack
Jackson, Ms. 39206                         9191      12/3/2015 Corporation                                                    $193.00                                                                                          $193.00
brian payne
1808 Dryden Road                                               RS Legacy Corporation fka RadioShack
freeville, ny 13068                        9192      12/3/2015 Corporation                                                     $26.99                                                                                           $26.99
Lalith Silva
4114 Menlo Way                                                 RS Legacy Corporation fka RadioShack
Doraville, GA 30340                        9193      12/3/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                   Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Feldman, Amanda
5263 Oakwood Court                                             RS Legacy Corporation fka RadioShack
Egg Harbor City, NJ 08215                  9194      12/3/2015 Corporation                                                      $39.00                                                                                           $39.00
Alex bayala
20 Sharon dr                                                   RS Legacy Corporation fka RadioShack
Middletown, ny 10941                       9195      12/3/2015 Corporation                                                       $0.00                                                                                            $0.00
celina valenzuela ibarra
p.o. box 3801                                                  RS Legacy Corporation fka RadioShack
calexico, CA 92232                         9196      12/3/2015 Corporation                                                      $21.69                                                                                           $21.69
Carney, Ray
8 Clarkson Drive                                                RS Legacy Customer Service LLC fka RadioShack
Walpole, MA 02081‐1404                     9197      11/23/2015 Customer Service LLC                                                                                                     $60.00                                  $60.00
Venkat Battula
6033 S Tibet St                                                RS Legacy Corporation fka RadioShack
Aurora, CO 80015                           9198      12/3/2015 Corporation                                                      $38.00                                                                                           $38.00
Dennis Diorio
105 Cypress Drive                                              RS Legacy Corporation fka RadioShack
Kings Park, NY 11754                       9199      12/3/2015 Corporation                                                      $41.34                                                                                           $41.34
Tracy Parker
25 Jensen Avenue                                               RS Legacy Corporation fka RadioShack
Fords, NJ 08863                            9200      12/3/2015 Corporation                                                      $25.67                                                                                           $25.67
Mary Johnson
45 Ann Mary Brown Drive                                        RS Legacy Corporation fka RadioShack
Warwick, RI 02888                          9201      12/3/2015 Corporation                                                      $11.75                                                                                           $11.75
Tina Rich
242 Cook Hill Road                                             RS Legacy Corporation fka RadioShack
Marathon, NY 13803                         9202      12/3/2015 Corporation                                                      $53.97                                                                                           $53.97
Cindy Douglas
5983 State Route 164                                           RS Legacy Corporation fka RadioShack
Leetonia, OH 44431                         9203      12/3/2015 Corporation                                                      $20.00                                                                                           $20.00
Barnett Slutsky
100 Geneva Road                                                RS Legacy Corporation fka RadioShack
East Aurora, NY 14052                      9204      12/3/2015 Corporation                                                       $2.16                                                                                            $2.16
Penny Mayorga
Drawer B                                                       RS Legacy Corporation fka RadioShack
Orchard, TX 77464                          9205      12/3/2015 Corporation                                                      $75.76                                                                                           $75.76
Renee Palandri
23816 231st Pl Se                                              RS Legacy Corporation fka RadioShack
Maple Valley, WA 98038                     9206      12/3/2015 Corporation                                                       $0.00                                                                                            $0.00
salil mehta
1440 Jackson Street                                            RS Legacy Corporation fka RadioShack
San Francisco, CA 94109                    9207      12/3/2015 Corporation                                                      $27.11                                                                                           $27.11
Shuyi Zhou
113 E 13th Street Apt 9D                                       RS Legacy Corporation fka RadioShack
New York, NY 10003                         9208      12/3/2015 Corporation                                                      $30.25                                                                                           $30.25
Benjamin Lifshitz
383 Kingston Avenue                                            RS Legacy Corporation fka RadioShack
Brooklyn, NY 11213                         9209      12/3/2015 Corporation                                                       $0.00                                                                                            $0.00




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                                                                                                                       Current General                                            Current 503(b)(9)
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            Creditor Name and Address        Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
FED ID #53‐0127880 POTOMAC ELECTRIC POWER
COMPANY
PEPCO
PO Box 97274                                                        RS Legacy Corporation fka RadioShack
Washington, DC 20090‐7274                      9210      11/16/2015 Corporation                                                  $2,853.86                                                                                        $2,853.86
KIM WORTHY
2523 COVINGTON LOOP                                                RS Legacy Corporation fka RadioShack
GRAHAM, NC 27253                               9211      12/3/2015 Corporation                                                       $0.00                                                                                            $0.00
David W Galbreath
1012 Center Street                                                 RS Legacy Corporation fka RadioShack
Jupiter, FL 33458                              9212      12/3/2015 Corporation                                                       $0.00                                                                                            $0.00
KIM WORTHY
2523 Covington Loop                                                RS Legacy Corporation fka RadioShack
Graham, NC 27253                               9213      12/3/2015 Corporation                                                       $0.00                                                                                            $0.00
FED ID #53‐0127880 POTOMAC ELECTRIC POWER
COMPANY
PEPCO
PO Box 97274                                                        RS Legacy Corporation fka RadioShack
Washington, DC 20090‐7274                      9214      11/16/2015 Corporation                                                    $536.72                                                                                          $536.72
Sabbagh, Ebrahim
936 12th Ave Apt 7                                                  RS Legacy Corporation fka RadioShack
Huntington, WV 25701                           9215      11/25/2015 Corporation                                                                      $100.00                                  $0.00                                 $100.00
Shikta Sapkota
130 South 500 East, Apt 505                                        RS Legacy Corporation fka RadioShack
Salt Lake City, UT 84102                       9216      12/3/2015 Corporation                                                      $55.00                                                                                           $55.00
FED ID #53‐0127880 POTOMAC ELECTRIC POWEER
COMPANY
PEPCO
PO BOX 97274                                                        RS Legacy Corporation fka RadioShack
WASHINGTON, DC 20090‐7274                      9217      11/16/2015 Corporation                                                    $463.52                                                                                          $463.52
FED ID #53‐0127880 POTOMAC ELECTRIC POWEER
COMPANY
PEPCO
PO BOX 97274                                                        RS Legacy Corporation fka RadioShack
WASHINGTON, DC 20090‐7274                      9218      11/16/2015 Corporation                                                  $1,685.15                                                                                        $1,685.15
McGhee, Ellen
115 E Broadway st                                                   RS Legacy Corporation fka RadioShack
South Bend, IN 46601                           9219      11/20/2015 Corporation                                                                         $0.00                                                                         $0.00
Travis Vollweiler
3844 Swift Ave. #1                                                 RS Legacy Corporation fka RadioShack
San Diego, CA 92104                            9220      12/3/2015 Corporation                                                       $0.00                                                                                            $0.00
Adam Basic
18413 Piedra Dr.                                                   RS Legacy Corporation fka RadioShack
Edmond, OK 73012                               9221      12/3/2015 Corporation                                                       $0.00                                                                                            $0.00
FED ID #53‐0127880 POTOMAC ELECTRIC POWER
COMPANY
PEPCO
PO Box 97274                                                        RS Legacy Corporation fka RadioShack
Washington, DC 20090‐7274                      9222      11/16/2015 Corporation                                                    $170.61                                                                                          $170.61
kapelowitz, Tiffany
657 s heights dr                                                    RS Legacy Corporation fka RadioShack
Crowley, TX 76036                              9223      11/27/2015 Corporation                                                    $100.00                                                                                          $100.00



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                                                                                                                   Current General                                            Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Barbic, Clifford
13511 SW 111 Terrace                                            RS Legacy Corporation fka RadioShack
Miami, FL 33186‐4350                       9224      11/23/2015 Corporation                                                     $16.00                                                                                           $16.00
Autodesk, Inc.
111 McInnis Parkway                                             RS Legacy Corporation fka RadioShack
San Rafael, CA 94903                       9225      11/23/2015 Corporation                                               $140,371.70                                                                                       $140,371.70
Sharon Chuboff
2104 Swan Lane                                                 RS Legacy Corporation fka RadioShack
Rolling Meadows, IL 60008                  9226      12/3/2015 Corporation                                                      $92.63                                                                                           $92.63
Zhao, Aiying
7673 E Camino Amistoso                                          RS Legacy Corporation fka RadioShack
Tucson, AZ 85750‐7070                      9227      11/26/2015 Corporation                                                                                         $100.00                                                     $100.00
Mark Taylor
26014 Redding Ridge Ln.                                        RS Legacy Corporation fka RadioShack
Katy, TX 77494‐2042                        9228      12/3/2015 Corporation                                                       $0.00                                                                                            $0.00
Zhao, Aiying
7673 E Camino Amistoso                                          RS Legacy Corporation fka RadioShack
Tucson, AZ 85750                           9229      11/26/2015 Corporation                                                                                         $100.00                                                     $100.00
Manns, Bobbie
193 Miller Lake Road                                           RS Legacy Customer Service LLC fka RadioShack
Columbiaville, MI 48421                    9230      12/1/2015 Customer Service LLC                                             $35.00                                                                                           $35.00
Loftis, Rosemary
4500 NE 171st Street                                            RS Legacy Corporation fka RadioShack
Seattle, WA 98155                          9231      11/24/2015 Corporation                                                     $65.00                                                                                           $65.00
O'Neill, Michelle
62 Marshall Ridge Rd                                            RS Legacy Corporation fka RadioShack
New Canaan, CT 06840                       9232      11/25/2015 Corporation                                                                                                              $42.52                                  $42.52
Tom Walsh
PO box 1161                                                    RS Legacy Corporation fka RadioShack
Waialua, HI 96791                          9233      12/3/2015 Corporation                                                       $0.00                                                                                            $0.00
Wheaton, Sarah
431 M St. NW                                                    RS Legacy Corporation fka RadioShack
Washington, DC 20001                       9234      11/30/2015 Corporation                                                     $70.00                                                                                           $70.00
Gault, Ralph
724 E. Dorchester Dr.                                          RS Legacy Corporation fka RadioShack
Saint Johns, FL 32259                      9235      12/1/2015 Corporation                                                                                                               $47.68                                  $47.68
Michael Smith
39 Crestview Lane                                              RS Legacy Corporation fka RadioShack
Fitchburg, MA 01420‐6307                   9236      12/3/2015 Corporation                                                       $2.84                                                                                            $2.84
Tim Jessop
3105 Chestnut ST.                                              RS Legacy Corporation fka RadioShack
Dearborn, MI 48124                         9237      12/3/2015 Corporation                                                      $50.00                                                                                           $50.00
Terry Patrick
20375 Via Las Villas                                           RS Legacy Corporation fka RadioShack
Yorba Linda, CA 92887                      9238      12/3/2015 Corporation                                                      $42.96                                                                                           $42.96
gregory loren bilotto
80 winding ridge road                                          RS Legacy Corporation fka RadioShack
white plains, ny 10603‐2851                9239      12/3/2015 Corporation                                                      $45.00                                                                                           $45.00
Daniel Thrasher
4105 3rd St                                                    RS Legacy Corporation fka RadioShack
Des Moines, Iowa 50313‐3517                9240      12/3/2015 Corporation                                                       $0.00                                                                                            $0.00




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                                                                                                                      Current General                                            Current 503(b)(9)
                                                                                                                                            Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address       Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                          Amount                                                     Amount
Robert W Dick
P O Box 1919                                                      RS Legacy Corporation fka RadioShack
Belfair, WA 98528                             9241      12/3/2015 Corporation                                                      $22.82                                                                                           $22.82
Erika Cochran
13324 Julien Street                                               RS Legacy Corporation fka RadioShack
Woodford, VA 22580                            9242      12/3/2015 Corporation                                                     $500.00                                                                                          $500.00
Adam Kono
1110 Akipohe St., Apt. D                                          RS Legacy Corporation fka RadioShack
Kailua, HI 96734                              9243      12/3/2015 Corporation                                                       $0.00                                                                                            $0.00
Ernel Levine
45‐201 Namoku Street                                              RS Legacy Corporation fka RadioShack
Kaneohe, HI 96744                             9244      12/3/2015 Corporation                                                       $0.00                                                                                            $0.00
Bryan Okubo
6164 Makaniolu Place                                              RS Legacy Corporation fka RadioShack
Honolulu, Hawaii 96821                        9245      12/4/2015 Corporation                                                      $69.10                                                                                           $69.10
Benjamin M Richardson
16411 N 54th Ave                                                  RS Legacy Corporation fka RadioShack
GLENDALE, AZ 85306                            9246      12/4/2015 Corporation                                                     $101.00                                                                                          $101.00
Pina, Cindy
18522 Zachary Lane                                                RS Legacy Corporation fka RadioShack
Kennett, MO 63857                             9247      12/4/2015 Corporation                                                     $106.46                                                                                          $106.46
Diane Sontag
11103 Carolina Ridge                                              RS Legacy Corporation fka RadioShack
Harrison, Ohio 45030                          9248      12/4/2015 Corporation                                                       $0.00                                                                                            $0.00
FED ID #53‐0127880 POTOMAC ELECTRIC POWER
COMPANY
PEPCO
PO BOX 97274                                                       RS Legacy Corporation fka RadioShack
WASHINGTON, DC 20090‐7274                     9249      11/16/2015 Corporation                                                    $577.37                                                                                          $577.37
FED ID #53‐0127880 POTOMAC ELECTRIC POWER
COMPANY
PEPCO
PO BOX 97274                                                       RS Legacy Corporation fka RadioShack
WASHINGTON, DC 20090‐7274                     9250      11/16/2015 Corporation                                                    $548.80                                                                                          $548.80
FED ID #53‐0127880 POTOMAC ELECTRIC POWER
COMPANY
PEPCO
PO BOX 97274                                                       RS Legacy Corporation fka RadioShack
WASHINGTON, DC 20090‐7274                     9251      11/16/2015 Corporation                                                  $1,565.81                                                                                        $1,565.81
Tom Keane
12 Lakeview Dr                                                    RS Legacy Corporation fka RadioShack
Lansing, NY 14882                             9252      12/4/2015 Corporation                                                     $100.00                                                                                          $100.00
FED ID #53‐0127880 POTOMAC ELECTRIC POWER
COMPANY
PEPCO
PO BOX 97274                                                       RS Legacy Corporation fka RadioShack
WASHINGTON, DC 20090‐7274                     9253      11/16/2015 Corporation                                                    $522.09                                                                                          $522.09
Esther Clark
331 High St.                                                      RS Legacy Corporation fka RadioShack
Moorestown, NJ 08057                          9254      12/4/2015 Corporation                                                       $0.00                                                                                            $0.00




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                                                                                                                       Current General                                            Current 503(b)(9)
                                                                                                                                             Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address        Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
FED ID #53‐0127880 POTOMAC ELECTRIC POWER
COMPANY
PEPCO
PO BOX 97274                                                        RS Legacy Corporation fka RadioShack
WASHINGTON, DC 20090‐7274                      9255      11/16/2015 Corporation                                                  $1,055.20                                                                                        $1,055.20
David Jacoby
136 North Second Street                                            RS Legacy Corporation fka RadioShack
McSherrystown, PA 17344                        9256      12/4/2015 Corporation                                                      $20.00                                                                                           $20.00
David Jacoby
136 North Second Street                                            RS Legacy Corporation fka RadioShack
McSherrystown, PA 17344                        9257      12/4/2015 Corporation                                                       $9.98                                                                                            $9.98
FED ID #53‐0127880 POTOMAC ELECTRIC POWEER
COMPANY
PEPCO
PO BOX 97274                                                        RS Legacy Corporation fka RadioShack
WASHINGTON, DC 20090‐7274                      9258      11/16/2015 Corporation                                                    $458.89                                                                                          $458.89
FED ID #53‐0127880 POTOMAC ELECTRIC POWEER
COMPANY
PEPCO
PO BOX 97274                                                        RS Legacy Corporation fka RadioShack
WASHINGTON, DC 20090‐7274                      9259      11/16/2015 Corporation                                                  $2,192.38                                                                                        $2,192.38
Fed ID #53‐0127880 Potomac Electric Power
Company
PEPCO
PO BOX 97274                                                        RS Legacy Corporation fka RadioShack
WASHINGTON, DC 20090‐7274                      9260      11/16/2015 Corporation                                                    $830.79                                                                                          $830.79
Casper, Daniel
1524 W. Rogers St.                                                  RS Legacy Corporation fka RadioShack
Milwaukee, WI 53204                            9261      11/23/2015 Corporation                                                     $14.78                                                                                           $14.78
Ogle, Cindie Lee
1816 North 350 West                                                RS Legacy Corporation fka RadioShack
Orem, UT 84057                                 9262      12/1/2015 Corporation                                                      $42.73                                                                                           $42.73
BATAYNEH, GHASSAN
POST OFFICE BOX 333                                                RS Legacy Corporation fka RadioShack
MILWAUKEE, WI 53201                            9263      12/1/2015 Corporation                                                      $15.00                                                                                           $15.00
Cohen, Edward
277 Closter Dock Road
Suite 6                                                             RS Legacy Corporation fka RadioShack
Closter, NJ 07624                              9264      11/23/2015 Corporation                                                     $54.15                                                                                           $54.15
Ketan Bhandutia
166 CRESTVIEW WAY                                                  RS Legacy Corporation fka RadioShack
YARDLEY, PA 19067                              9265      12/4/2015 Corporation                                                       $6.35                                                                                            $6.35
Diane Samaroo
273 Otter Tail Court                                               RS Legacy Corporation fka RadioShack
Ocoee, FL 34761                                9266      12/4/2015 Corporation                                                       $2.88                                                                                            $2.88
Martin, Everard
9 Christopher Mills Drive                                          RS Legacy Corporation fka RadioShack
Mount Laurel, NJ 08054                         9267      12/1/2015 Corporation                                                                        $25.00                                                                         $25.00
Scott Parish
3249 39th Ave S                                                    RS Legacy Corporation fka RadioShack
Minneapolis, MN 55406                          9268      12/4/2015 Corporation                                                       $0.00                                                                                            $0.00




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                                                                                                                   Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Draze, Jacob
1444 Ellen Ave                                                 RS Legacy Corporation fka RadioShack
Madison, WI 53716‐1578                     9269      12/3/2015 Corporation                                                      $50.00                                                                                           $50.00
Lu, Jing
86‐35 131 Street
1st FL                                                          RS Legacy Corporation fka RadioShack
Richmond Hill, NY 11418                    9270      11/24/2015 Corporation                                                    $494.85                                                                                          $494.85
Stone, Maureen
622 Banderas Ave                                                RS Legacy Corporation fka RadioShack
Ocoee, FL 34761                            9271      11/26/2015 Corporation                                                      $0.00                                                                                            $0.00
Noelle Angelozzi
4023 Mariaville Road                                           RS Legacy Corporation fka RadioShack
Schenectady, NY 12306                      9272      12/4/2015 Corporation                                                     $109.90                                                                                          $109.90
Horton, Shawn
5728 Ebley Lane                                                 RS Legacy Corporation fka RadioShack
Charlotte, NC 28227                        9273      11/27/2015 Corporation                                                                                                              $45.00                                  $45.00
Linares‐Plimpton, Sandi
16045 Garo Street                                               RS Legacy Corporation fka RadioShack
Hacienda Heights, CA 91745                 9274      11/30/2015 Corporation                                                                                          $78.00               $0.00                                  $78.00
Nayyar, Prashant
50 Glenbrook Road
Apt. 4J                                                         RS Legacy Corporation fka RadioShack
Stamford, CT 06902                         9275      11/27/2015 Corporation                                                                       $53.00                                                                         $53.00
PSE&G
Attn: Bankruptcy Dept
PO Box 490                                                     RS Legacy Corporation fka RadioShack
Cranford , NJ 07016                        9276      12/2/2015 Corporation                                                                                                                                  $0.00                 $0.00
Brian Fagbewesa
4408 Kathland AVE                                              RS Legacy Corporation fka RadioShack
Gwynn oak, Md 21207                        9277      12/4/2015 Corporation                                                       $0.00                                                                                            $0.00
David Hawn
1204 Brittainy Dr                                              RS Legacy Corporation fka RadioShack
Carrollton, TX 75206                       9278      12/4/2015 Corporation                                                      $32.48                                                                                           $32.48
Chen, Ning
13716 Rosetree Court                                            RS Legacy Corporation fka RadioShack
Chantilly, VA 20151                        9279      11/27/2015 Corporation                                                     $60.00                                                                                           $60.00
Thomas Fitzpatrick
8501 State Road                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19136                     9280      12/4/2015 Corporation                                                     $400.00                                                                                          $400.00
Tanya Gospodinova
1619 45th Str. NW                                              RS Legacy Corporation fka RadioShack
Washington, DC 2007                        9281      12/1/2015 Corporation                                                                        $14.79                                                                         $14.79
Thomas Fitzpatrick
8501 State Road                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19136                     9282      12/4/2015 Corporation                                                     $400.00                                                                                          $400.00
Thomas Fitzpatrick
8501 State Road                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19136                     9283      12/4/2015 Corporation                                                     $400.00                                                                                          $400.00
Thomas Fitzpatrick
8501 State Road                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19136                     9284      12/4/2015 Corporation                                                      $45.67                                                                                           $45.67




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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Akil Young
1623 wedt erie avenue                                          RS Legacy Corporation fka RadioShack
Philadelphia, Pa 19140                     9285      12/4/2015 Corporation                                                      $3.95                                                                                            $3.95
D'Andrea Giddens‐Jones
8303 NW 73RD Street                                            RS Legacy Corporation fka RadioShack
Tamarac, Florida 33321                     9286      12/4/2015 Corporation                                                     $75.00                                                                                           $75.00
Eleanor Robinson
229 Mc Guire Road Apt B309                                     RS Legacy Corporation fka RadioShack
North Providence, RI 02904                 9287      12/4/2015 Corporation                                                      $0.00                                                                                            $0.00
Leah Turell
600 West 239th Street                                          RS Legacy Corporation fka RadioShack
Bronx, New York 10463                      9288      12/4/2015 Corporation                                                      $0.00                                                                                            $0.00
Eddie Gutierrez
405 West 21st St. #1RE                                         RS Legacy Corporation fka RadioShack
New York, NY 10011                         9289      12/4/2015 Corporation                                                     $50.00                                                                                           $50.00
MICHELLE AGON
594 Kealahou St.                                               RS Legacy Corporation fka RadioShack
Honolulu, HI 96825                         9290      12/4/2015 Corporation                                                    $147.60                                                                                          $147.60
Derrick Frye
108 Haldane Drive                                              RS Legacy Corporation fka RadioShack
La Plata, MD 20646                         9291      12/4/2015 Corporation                                                     $35.29                                                                                           $35.29
Liza Rochelson
106 Audubon Road                                               RS Legacy Corporation fka RadioShack
Fayetteville, NY 13066                     9292      12/4/2015 Corporation                                                     $20.00                                                                                           $20.00
Caesar Gomez
P.O Box 484                                                    RS Legacy Corporation fka RadioShack
Twin Peaks, CA 92391                       9293      12/4/2015 Corporation                                                     $30.00                                                                                           $30.00
Kevin Clark
162 MILLFORD XING                                              RS Legacy Corporation fka RadioShack
PENFIELD, NY 14526                         9294      12/4/2015 Corporation                                                      $0.00                                                                                            $0.00
Emma Neumann
1872 Brookview rd                                              RS Legacy Corporation fka RadioShack
Castleton, NY 12033                        9295      12/4/2015 Corporation                                                     $50.00                                                                                           $50.00
Carolyn Desch
2 Mather Terrace                                               RS Legacy Corporation fka RadioShack
Montpelier, VT 05602                       9296      12/4/2015 Corporation                                                     $15.89                                                                                           $15.89
William Van Damme
193 Park Street                                                RS Legacy Corporation fka RadioShack
Canandaigua, NY 14424                      9297      12/4/2015 Corporation                                                     $64.49                                                                                           $64.49
Lisa Mixon
2340 High Point drive                                          RS Legacy Corporation fka RadioShack
Bethlehem, PA 18017                        9298      12/4/2015 Corporation                                                     $25.00                                                                                           $25.00
BJ Searcy
1011 E College Ave                                             RS Legacy Corporation fka RadioShack
Westerville, OH 43081                      9299      12/4/2015 Corporation                                                      $0.00                                                                                            $0.00
Naresh Agrawal
4 Ninth Street                                                 RS Legacy Corporation fka RadioShack
Voorhees, NJ 08043, Voorhees NJ 08043      9300      12/4/2015 Corporation                                                      $0.00                                                                                            $0.00
Michele Welindt
115 Betsey Williams Drive                                      RS Legacy Corporation fka RadioShack
Cranston, RI 02905                         9301      12/4/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Daniel A Mulhern
27 Sunset Lane                                                 RS Legacy Corporation fka RadioShack
Levittown, PA 19055                        9302      12/4/2015 Corporation                                                    $100.00                                                                                          $100.00
Paul R. Lay
1004 Forge Road                                                RS Legacy Corporation fka RadioShack
Carlisle, PA 17015                         9303      12/4/2015 Corporation                                                      $5.00                                                                                            $5.00
Michele Welindt
115 Betsey Williams Drive                                      RS Legacy Corporation fka RadioShack
Cranston, RI 02905                         9304      12/4/2015 Corporation                                                      $9.18                                                                                            $9.18
Luis Aldarondo
28 Craig rd                                                    RS Legacy Corporation fka RadioShack
Bear, DE 19701                             9305      12/4/2015 Corporation                                                     $14.01                                                                                           $14.01
Mary Zane
809 Kumukahi Place                                             RS Legacy Corporation fka RadioShack
Honolulu, HI 96825                         9306      12/4/2015 Corporation                                                      $8.37                                                                                            $8.37
Jamie leonard
116 Tudor blvd                                                 RS Legacy Corporation fka RadioShack
Buffalo, Ny 14220                          9307      12/4/2015 Corporation                                                      $0.00                                                                                            $0.00
Roderick M. Swain
102 Tidwell Drive                                              RS Legacy Corporation fka RadioShack
Huntsville, Alabama 35806                  9308      12/4/2015 Corporation                                                     $50.00                                                                                           $50.00
Gianluca Oppedisano
23 Highland Rd.                                                RS Legacy Corporation fka RadioShack
Somerville, MA 02144                       9309      12/4/2015 Corporation                                                     $50.00                                                                                           $50.00
Shannon Hance
3346 Bloomingdale Rd                                           RS Legacy Corporation fka RadioShack
Kingsport, TN 37660                        9310      12/4/2015 Corporation                                                     $25.00                                                                                           $25.00
John Neale
961 Indian Springs Road                                        RS Legacy Corporation fka RadioShack
Indiana, PA 15701                          9311      12/4/2015 Corporation                                                     $50.00                                                                                           $50.00
Sean Swafford
1020 Dolores St. Apt. 40                                       RS Legacy Corporation fka RadioShack
Livermore, CA 94550                        9312      12/4/2015 Corporation                                                     $50.00                                                                                           $50.00
Denise Chandler
18 Pearl St #3                                                 RS Legacy Corporation fka RadioShack
Middleboro, MA 02346                       9313      12/4/2015 Corporation                                                     $13.28                                                                                           $13.28
Ronald Erb
104 W. School Street                                           RS Legacy Corporation fka RadioShack
Alburtis, PA 18011                         9314      12/4/2015 Corporation                                                      $5.88                                                                                            $5.88
Nonie Spangler
389 Eagle Mill Road                                            RS Legacy Corporation fka RadioShack
Butler, PA 16001                           9315      12/4/2015 Corporation                                                     $33.39                                                                                           $33.39
John gangewere jr
2332 S. 5th St. Apt 2b                                         RS Legacy Corporation fka RadioShack
Allentown, Pa 18103                        9316      12/5/2015 Corporation                                                     $25.00                                                                                           $25.00
Janet Steakley
1262 general george patton                                     RS Legacy Corporation fka RadioShack
nashivlle, tn 37221                        9317      12/5/2015 Corporation                                                      $0.00                                                                                            $0.00
Michelle Dolloph
76 Misty Drive                                                 RS Legacy Corporation fka RadioShack
Chester, VT 05143                          9318      12/5/2015 Corporation                                                    $100.00                                                                                          $100.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Louis James Vitolo
1252 Queens Drive                                              RS Legacy Corporation fka RadioShack
Moon Township, PA 15108                    9319      12/5/2015 Corporation                                                      $0.00                                                                                            $0.00
Robert Akinsehinwa
13146 Kara Lane                                                RS Legacy Corporation fka RadioShack
Silver Spring, Maryland 20904              9320      12/5/2015 Corporation                                                     $20.00                                                                                           $20.00
Robert Akinsehinwa
13146 Kara Lane                                                RS Legacy Corporation fka RadioShack
Silver Spring, Maryland 20904              9321      12/5/2015 Corporation                                                     $20.00                                                                                           $20.00
Rex Funk
32 Grove rd                                                    RS Legacy Corporation fka RadioShack
willow, NY 12495                           9322      12/5/2015 Corporation                                                     $20.16                                                                                           $20.16
Keith Wilusz
20 Stonybrook Road                                             RS Legacy Corporation fka RadioShack
Rush, New York 14543                       9323      12/5/2015 Corporation                                                     $25.00                                                                                           $25.00
David Lamb
21016 Oak Springs Road                                         RS Legacy Corporation fka RadioShack
Orange, Va 22960                           9324      12/5/2015 Corporation                                                     $25.00                                                                                           $25.00
Mark Rodefer
3119 S 16th St                                                 RS Legacy Corporation fka RadioShack
Milwaukee, Wi 53215                        9325      12/5/2015 Corporation                                                     $50.00                                                                                           $50.00
jessica aguilera
11 elizabeth ave                                               RS Legacy Corporation fka RadioShack
wilmington, de 19805                       9326      12/5/2015 Corporation                                                     $20.00                                                                                           $20.00
Jay Heller
315 Jamestown Rd                                               RS Legacy Corporation fka RadioShack
Bridgewater, NJ 08807‐3021                 9327      12/5/2015 Corporation                                                     $50.00                                                                                           $50.00
Dick Johnson
5705 Baron Drive                                               RS Legacy Corporation fka RadioShack
Joshua, Tx 76058                           9328      12/5/2015 Corporation                                                      $0.00                                                                                            $0.00
Shaun conley
13 bell air lane                                               RS Legacy Corporation fka RadioShack
Wappingers falls, Ny 12590                 9329      12/5/2015 Corporation                                                     $25.00                                                                                           $25.00
David Hornacek Sr.
101 Crest Haven Drive                                          RS Legacy Corporation fka RadioShack
Belleville, IL 62221                       9330      12/5/2015 Corporation                                                     $10.00                                                                                           $10.00
Tammy Brown
2447 Cinnamon Springs Trail                                    RS Legacy Corporation fka RadioShack
Jacksonville, FL 32246                     9331      12/5/2015 Corporation                                                      $0.00                                                                                            $0.00
Paul Sikov
227 Anita Avenue                                               RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15217                       9332      12/5/2015 Corporation                                                      $0.00                                                                                            $0.00
Lisa Johnson
516 Sweetflag Avenue                                           RS Legacy Corporation fka RadioShack
Fond du Lac, WI 54935                      9333      12/5/2015 Corporation                                                     $50.00                                                                                           $50.00
Amy Tori
1731 South Canal Street                                        RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15215                       9334      12/5/2015 Corporation                                                      $0.00                                                                                            $0.00
Justin Randolph
6315 State Route 113                                           RS Legacy Corporation fka RadioShack
Bellevue, Ohio 44811                       9335      12/5/2015 Corporation                                                     $37.15                                                                                           $37.15




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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
William Hawthorne
2010 Timber Ln                                                 RS Legacy Corporation fka RadioShack
Aliquippa, Pa 15001                        9336      12/5/2015 Corporation                                                     $20.00                                                                                           $20.00
Marcia Sagenich
3827 Washburn Place                                            RS Legacy Corporation fka RadioShack
Wesley Chapel, FL 33543                    9337      12/5/2015 Corporation                                                     $25.00                                                                                           $25.00
David Parfrey
1846 Berkshire Rd                                              RS Legacy Corporation fka RadioShack
Columbus, OH 43221                         9338      12/5/2015 Corporation                                                     $65.15                                                                                           $65.15
Helen Alesse
118 North Ave.                                                 RS Legacy Corporation fka RadioShack
Weston, MA 02493                           9339      12/5/2015 Corporation                                                     $25.00                                                                                           $25.00
Ed Holliday
3843 South Ticonderoga Way                                     RS Legacy Corporation fka RadioShack
Boise, Idaho 83706                         9340      12/5/2015 Corporation                                                     $52.98                                                                                           $52.98
Jason Ronca
529 Skinner Blvd, Unit E                                       RS Legacy Corporation fka RadioShack
Dunedin, FL 34698                          9341      12/5/2015 Corporation                                                      $0.00                                                                                            $0.00
Tim Moore
34955 Ridge St.                                                RS Legacy Corporation fka RadioShack
Richmond, MI 48062                         9342      12/5/2015 Corporation                                                      $7.62                                                                                            $7.62
Angie Aleman
1204 E Hancock                                                 RS Legacy Corporation fka RadioShack
Beeville, TX 78102                         9343      12/5/2015 Corporation                                                     $28.36                                                                                           $28.36
Andrea Hill
9 mountain brook ct                                            RS Legacy Corporation fka RadioShack
Bentonville, Ar 72712                      9344      12/5/2015 Corporation                                                      $0.00                                                                                            $0.00
Andrew Forsell
P.O. Box 142                                                   RS Legacy Corporation fka RadioShack
Loleta, CA 95551                           9345      12/5/2015 Corporation                                                     $47.75                                                                                           $47.75
Cynthia Rentz
19 Lee Dr.                                                     RS Legacy Corporation fka RadioShack
St. Augustine, FL 32080                    9346      12/5/2015 Corporation                                                     $37.50                                                                                           $37.50
Michael Rockhold
8267 Camp Chaffee Rd                                           RS Legacy Corporation fka RadioShack
Ventura, Ca 93001                          9347      12/5/2015 Corporation                                                     $50.00                                                                                           $50.00
Alex terry
154 elderberry circle                                          RS Legacy Corporation fka RadioShack
Athens, Ga 30605                           9348      12/5/2015 Corporation                                                     $10.00                                                                                           $10.00
Marty Sevensky
1328 Litha valley road                                         RS Legacy Corporation fka RadioShack
Factoryville, PA 18419                     9349      12/5/2015 Corporation                                                     $84.79                                                                                           $84.79
sarah cobb
2810 asbury ave                                                RS Legacy Corporation fka RadioShack
kalamazoo, mi 49048                        9350      12/5/2015 Corporation                                                     $50.00                                                                                           $50.00
SARAH COBB
2810 ASBURY AVE                                                RS Legacy Corporation fka RadioShack
KALAMAZOO, MI 49048                        9351      12/5/2015 Corporation                                                     $50.00                                                                                           $50.00
Richard Rothrock
2487 Captain Hook Dr                                           RS Legacy Corporation fka RadioShack
Fernandina Beach, fl 32034                 9352      12/5/2015 Corporation                                                     $17.11                                                                                           $17.11




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                                                                                                                  Current General                                            Current 503(b)(9)
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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Kristin Austin
14 W Park St.                                                  RS Legacy Corporation fka RadioShack
BLoomsburg, PA 17815                       9353      12/5/2015 Corporation                                                    $100.00                                                                                          $100.00
jason macdonald
338 vistula ave.                                               RS Legacy Corporation fka RadioShack
orchard park, ny 14127                     9354      12/5/2015 Corporation                                                      $0.00                                                                                            $0.00
Paul Sheridon
3641 Queen St N                                                RS Legacy Corporation fka RadioShack
St Petersburg, FL 33713                    9355      12/5/2015 Corporation                                                     $15.00                                                                                           $15.00
Hieu Le
3722 S. Garnsey St.                                            RS Legacy Corporation fka RadioShack
Santa Ana, CA 92707                        9356      12/5/2015 Corporation                                                    $250.00                                                                                          $250.00
jason macdonald
338 vistula ave.                                               RS Legacy Corporation fka RadioShack
orchard park, ny 14127                     9357      12/5/2015 Corporation                                                      $0.00                                                                                            $0.00
Harry Le
3722 S. Garnsey St.                                            RS Legacy Corporation fka RadioShack
Santa Ana, CA 92707                        9358      12/5/2015 Corporation                                                    $200.00                                                                                          $200.00
Taylor Hildenbrand
704 elmwood drive                                              RS Legacy Corporation fka RadioShack
Edmond, OK 73013                           9359      12/5/2015 Corporation                                                      $0.00                                                                                            $0.00
Robert Heberlein
900 Eisenhower Ct.                                             RS Legacy Corporation fka RadioShack
Howards Grove, WI 53083                    9360      12/5/2015 Corporation                                                     $30.00                                                                                           $30.00
Ginny Vaughan
120 Pruitt Drive                                               RS Legacy Corporation fka RadioShack
Alpharetta, ga 30004                       9361      12/5/2015 Corporation                                                     $18.43                                                                                           $18.43
Noreen P Richards
34 Pierce Drive                                                RS Legacy Corporation fka RadioShack
Pembroke, ma 02359                         9362      12/5/2015 Corporation                                                     $20.00                                                                                           $20.00
Nathalie Evans
210 Menands Rd                                                 RS Legacy Corporation fka RadioShack
Loudonville, NY 12211                      9363      12/5/2015 Corporation                                                     $95.02                                                                                           $95.02
JOAN M BRUNKEN
PO Box 449                                                     RS Legacy Corporation fka RadioShack
Thonotosassa, FL 33592                     9364      12/5/2015 Corporation                                                      $6.15                                                                                            $6.15
Phillip Condit
4213 Placid Creek Way                                          RS Legacy Corporation fka RadioShack
Round Rock, Texas 78665                    9365      12/5/2015 Corporation                                                      $0.00                                                                                            $0.00
Harold Alan Bingham
1768 Devil's Hollow Rd                                         RS Legacy Corporation fka RadioShack
Frankfort, KY 40601                        9366      12/5/2015 Corporation                                                     $25.00                                                                                           $25.00
Christopher Lipps
107 Shel‐Kel Dr.                                               RS Legacy Corporation fka RadioShack
Johnson City, TN 37615                     9367      12/5/2015 Corporation                                                      $0.00                                                                                            $0.00
Heidi James
15 Tucker's Run                                                RS Legacy Corporation fka RadioShack
Ledyard, CT 06339                          9368      12/5/2015 Corporation                                                     $53.17                                                                                           $53.17
RICK ROHLER
3062N 1150E                                                    RS Legacy Corporation fka RadioShack
OGDEN, UT 84414                            9369      12/5/2015 Corporation                                                     $39.09                                                                                           $39.09




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Clifford S. Davidson
1939 SE Larch Ave                                              RS Legacy Corporation fka RadioShack
Portland, OR 97214                         9370      12/5/2015 Corporation                                                     $34.99                                                                                           $34.99
Gail Burkel
1520 W Portview Dr., #7                                        RS Legacy Corporation fka RadioShack
Port Washington, WI 53074                  9371      12/5/2015 Corporation                                                     $20.00                                                                                           $20.00
Matthew Berlejung
14982 Cheyenne Way                                             RS Legacy Corporation fka RadioShack
Haymarket, VA 20169                        9372      12/5/2015 Corporation                                                     $65.00                                                                                           $65.00
John daneau
77 cogswell st                                                 RS Legacy Corporation fka RadioShack
Haverhill, Ma 01832                        9373      12/5/2015 Corporation                                                      $0.00                                                                                            $0.00
Jeff Hardin
31620 se bluff rd                                              RS Legacy Corporation fka RadioShack
Gresham, Oregon 97080                      9374      12/5/2015 Corporation                                                     $19.05                                                                                           $19.05
JUDITH RUSSIN
116 CORD LANE                                                  RS Legacy Corporation fka RadioShack
LEVITTOWN, NY 11756‐3906                   9375      12/5/2015 Corporation                                                     $13.01                                                                                           $13.01
ANNIE TENNARSE
1107 Beaver Bend Rd                                            RS Legacy Corporation fka RadioShack
Houston, Texas 77088                       9376      12/5/2015 Corporation                                                     $50.00                                                                                           $50.00
Alexander Hirschberg
6930 Rocky Top Cir                                             RS Legacy Corporation fka RadioShack
Dallas, TX 75252                           9377      12/5/2015 Corporation                                                      $0.00                                                                                            $0.00
Nguyen Masters
5515 Silver Maple Dr                                           RS Legacy Corporation fka RadioShack
Arlington, TX 76018                        9378      12/5/2015 Corporation                                                     $31.30                                                                                           $31.30
Louise Rogers
55 Elizabeth Street                                            RS Legacy Corporation fka RadioShack
San Francisco, CA 94110                    9379      12/5/2015 Corporation                                                     $20.00                                                                                           $20.00
Susan Ni
5122 West 137th Place                                          RS Legacy Corporation fka RadioShack
Hawthorne, CA 90250                        9380      12/5/2015 Corporation                                                     $35.00                                                                                           $35.00
Susan Ni
5122 West 137th Place                                          RS Legacy Corporation fka RadioShack
Hawthorne, CA 90250                        9381      12/5/2015 Corporation                                                     $35.00                                                                                           $35.00
Vincent Poy
409 Ulloa St                                                   RS Legacy Corporation fka RadioShack
San Francisco, CA 94127‐1230               9382      12/6/2015 Corporation                                                     $28.00                                                                                           $28.00
Kristi Cornutt
111 Roseland Dr.                                               RS Legacy Corporation fka RadioShack
Rainbow City, AL 35906                     9383      12/6/2015 Corporation                                                    $100.00                                                                                          $100.00
Ali Entezari
73 Plumeria Ct                                                 RS Legacy Corporation fka RadioShack
Danville, CA 94506                         9384      12/6/2015 Corporation                                                     $90.00                                                                                           $90.00
Daniel Andalon
6428 La Riba Way                                               RS Legacy Corporation fka RadioShack
Los Angeles, ca 90042                      9385      12/6/2015 Corporation                                                     $35.00                                                                                           $35.00
susan ross johnson
13791 malena dr                                                RS Legacy Corporation fka RadioShack
tustin, ca 92780                           9386      12/6/2015 Corporation                                                     $50.00                                                                                           $50.00




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                                                                                                                      Current General                                            Current 503(b)(9)
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                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                          Amount                                                     Amount
Ted Salazar
190 Throop Ave Apt 3                                               RS Legacy Corporation fka RadioShack
Brooklyn, NY 11206                             9387      12/6/2015 Corporation                                                      $2.59                                                                                            $2.59
Ted Fullard
783 Hebert Road                                                    RS Legacy Corporation fka RadioShack
Williamstown, VT 05679                         9388      12/6/2015 Corporation                                                     $20.00                                                                                           $20.00
Jeremy
759 Vermont ave Kansas city Kansas apt 513                         RS Legacy Corporation fka RadioShack
Kansas City, Ks 66101                          9389      12/6/2015 Corporation                                                      $0.00                                                                                            $0.00
John Tower
3 Rocky Hill Dr                                                    RS Legacy Corporation fka RadioShack
Brunswick, ME 04011                            9390      12/6/2015 Corporation                                                     $10.00                                                                                           $10.00
Anthony Mosakowski
637 Fill Farm Ln                                                   RS Legacy Corporation fka RadioShack
Springfield, PA 19064                          9391      12/6/2015 Corporation                                                      $2.01                                                                                            $2.01
John Remington
190 Peddlers Road                                                  RS Legacy Corporation fka RadioShack
Guilford, CT 06437                             9392      12/6/2015 Corporation                                                     $24.48                                                                                           $24.48
Nancy Adcock
18814 Breeze Way Circle                                            RS Legacy Corporation fka RadioShack
Olney, MD 20832                                9393      12/6/2015 Corporation                                                      $0.00                                                                                            $0.00
Laurie Duff
7894 E Ridge Pointe Dr                                             RS Legacy Corporation fka RadioShack
Fayetteville, NY 13066                         9394      12/6/2015 Corporation                                                     $19.45                                                                                           $19.45
Tjebbes Feenstra
13 Tyler Dr                                                        RS Legacy Corporation fka RadioShack
Londonderry, NH 03053                          9395      12/6/2015 Corporation                                                     $10.00                                                                                           $10.00
Stephen Koldin
8412 Glen Eagle Drive                                              RS Legacy Corporation fka RadioShack
Manlius, NY 13104                              9396      12/6/2015 Corporation                                                     $31.58                                                                                           $31.58
Jason Charles
5916 Wallace Rd                                                    RS Legacy Corporation fka RadioShack
Panama City, FL 32404                          9397      12/6/2015 Corporation                                                     $13.19                                                                                           $13.19
Hafez M. Hafez
17834 Vierra Avenue                                                RS Legacy Corporation fka RadioShack
Cerritos, CA 90703                             9398      12/6/2015 Corporation                                                     $10.00                                                                                           $10.00
Chris Monroe
202 Marsh Dr                                                       RS Legacy Corporation fka RadioShack
Dewitt, NY 13214                               9399      12/6/2015 Corporation                                                     $16.08                                                                                           $16.08
Jim Owens
1 Harrison Ln                                                      RS Legacy Corporation fka RadioShack
Wakefield, MA 01880                            9400      12/6/2015 Corporation                                                      $0.00                                                                                            $0.00
Jim Owens
1 Harrison Ln                                                      RS Legacy Corporation fka RadioShack
Wakefield, MA 01880                            9401      12/6/2015 Corporation                                                      $0.00                                                                                            $0.00
Margaret Stevens
3810 Park Flower Ct.                                               RS Legacy Corporation fka RadioShack
Arlington, TX 76017‐3345                       9402      12/6/2015 Corporation                                                    $100.00                                                                                          $100.00
Jack McClarty
8505 Rambling Rose Dr                                              RS Legacy Corporation fka RadioShack
Ooltewah, TN 37363                             9403      12/6/2015 Corporation                                                     $50.00                                                                                           $50.00




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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Brent Leffel
2909 Condit Street                                             RS Legacy Corporation fka RadioShack
Highland, IN 46322                         9404      12/6/2015 Corporation                                                    $160.49                                                                                          $160.49
Julie Sifers
3919 Clark Avenue                                              RS Legacy Corporation fka RadioShack
Kansas City, MO 64111                      9405      12/6/2015 Corporation                                                      $0.00                                                                                            $0.00
Adam Disler
6280 S Ider Street                                             RS Legacy Corporation fka RadioShack
Aurora, CO 80016                           9406      12/6/2015 Corporation                                                      $0.00                                                                                            $0.00
Randall Melton
300 Mashie Drive, SE                                           RS Legacy Corporation fka RadioShack
Vienna, VA 22180                           9407      12/6/2015 Corporation                                                     $50.00                                                                                           $50.00
Rebecca Harbour
106 Tarkington Court                                           RS Legacy Corporation fka RadioShack
Morrisville, NC 27560                      9408      12/6/2015 Corporation                                                     $20.00                                                                                           $20.00
Vlad Gandelman
161 Branford Rd                                                RS Legacy Corporation fka RadioShack
Rochester, NY 14618                        9409      12/6/2015 Corporation                                                     $50.00                                                                                           $50.00
Steven DeSena
17044 NW 11th St                                               RS Legacy Corporation fka RadioShack
Pembroke Pines, FL 33028                   9410      12/6/2015 Corporation                                                     $50.00                                                                                           $50.00
Dorothy Pliszczak
404 Gertrude Avenue                                            RS Legacy Corporation fka RadioShack
Solvay, NY 13209                           9411      12/6/2015 Corporation                                                     $18.91                                                                                           $18.91
Alma prisciliano
1414 Malvern ave                                               RS Legacy Corporation fka RadioShack
Los angeles, Ca 90006                      9412      12/6/2015 Corporation                                                      $0.00                                                                                            $0.00
Elisha DeHaan
1120 Barkley st.                                               RS Legacy Corporation fka RadioShack
Spearman, TX 79081                         9413      12/6/2015 Corporation                                                    $100.00                                                                                          $100.00
jose quintero
16w651 3rd ave                                                 RS Legacy Corporation fka RadioShack
bensenville, ill 60106                     9414      12/6/2015 Corporation                                                      $0.00                                                                                            $0.00
Diane Brown
33 Bremer Ave                                                  RS Legacy Corporation fka RadioShack
Danville, IL 61832                         9415      12/6/2015 Corporation                                                      $0.10                                                                                            $0.10
Mario Luna
5859 S Narragansett Ave                                        RS Legacy Corporation fka RadioShack
Chicago, IL 60638                          9416      12/6/2015 Corporation                                                     $20.00                                                                                           $20.00
Mark Risley
PO Box 1407                                                    RS Legacy Corporation fka RadioShack
Lake Sherwood, MO 63357                    9417      12/6/2015 Corporation                                                     $25.00                                                                                           $25.00
Luke clay
2529 alpine ct.                                                RS Legacy Corporation fka RadioShack
Sidney, Ohio 45365                         9418      12/6/2015 Corporation                                                      $4.30                                                                                            $4.30
Tab Brown
5650 Strawberry Circle                                         RS Legacy Corporation fka RadioShack
Commerce, MI 48382                         9419      12/6/2015 Corporation                                                     $50.00                                                                                           $50.00
Lori Large
238 E Michigan Avenue                                          RS Legacy Corporation fka RadioShack
Jacksonville, IL 62650                     9420      12/6/2015 Corporation                                                     $53.49                                                                                           $53.49




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Joanna Tomlinson
6710 Carrie ct                                                 RS Legacy Corporation fka RadioShack
Auburn, Ny 13021                           9421      12/6/2015 Corporation                                                     $20.00                                                                                           $20.00
Prashant Shah
578 Crimson Dr                                                 RS Legacy Corporation fka RadioShack
Crystal Lake, IL 60014                     9422      12/6/2015 Corporation                                                     $20.00                                                                                           $20.00
Blake Schippel
450 Washington St. Apt. 1                                      RS Legacy Corporation fka RadioShack
Brighton, MA 02135                         9423      12/6/2015 Corporation                                                      $0.00                                                                                            $0.00
Sonja Nalley
223 Thomas Wilson Rd.                                          RS Legacy Corporation fka RadioShack
Roopville, GA 30170                        9424      12/6/2015 Corporation                                                    $100.00                                                                                          $100.00
Lamar Gilmore
3540 Azalea Way                                                RS Legacy Corporation fka RadioShack
Panama City, FL 32405                      9425      12/6/2015 Corporation                                                     $50.00                                                                                           $50.00
Trisha Mayhorn
4198 Greensbury Drive                                          RS Legacy Corporation fka RadioShack
New Albany, OH 43054                       9426      12/6/2015 Corporation                                                     $50.00                                                                                           $50.00
Charles Duff
114 Northgate St.                                              RS Legacy Corporation fka RadioShack
Greenwood, SC 29649                        9427      12/6/2015 Corporation                                                     $20.00                                                                                           $20.00
martin hendrikcs
5802 35th way SE                                               RS Legacy Corporation fka RadioShack
Auburn, WA 98092                           9428      12/6/2015 Corporation                                                    $100.00                                                                                          $100.00
JoAnn Perley
1826 Kings Court                                               RS Legacy Corporation fka RadioShack
Muskegon, Mi 49445                         9429      12/6/2015 Corporation                                                     $36.41                                                                                           $36.41
Tequilla Verner
12021 Chester Creek Rd                                         RS Legacy Corporation fka RadioShack
Jacksonville, Florida 32218                9430      12/6/2015 Corporation                                                     $36.39                                                                                           $36.39
Paige Taylor
97 Delray Ave                                                  RS Legacy Corporation fka RadioShack
WEST SENECA, NY 14224                      9431      12/6/2015 Corporation                                                     $15.00                                                                                           $15.00
Pavel Usatyy
56 Patriots Path                                               RS Legacy Corporation fka RadioShack
Russell, MA 01071                          9432      12/6/2015 Corporation                                                      $0.00                                                                                            $0.00
Craig Upson
W7140 Western Ave                                              RS Legacy Corporation fka RadioShack
Adell, WI 53001                            9433      12/6/2015 Corporation                                                     $50.00                                                                                           $50.00
Andrew Metz
29 Revere Rd.                                                  RS Legacy Corporation fka RadioShack
Longmeadow, MA 01106                       9434      12/6/2015 Corporation                                                     $30.00                                                                                           $30.00
Sreenivas Munnangi
386 Summerwood Dr                                              RS Legacy Corporation fka RadioShack
Fremont, CA 94536                          9435      12/6/2015 Corporation                                                     $16.29                                                                                           $16.29
heidi smith
2101 New Hampshire #514                                        RS Legacy Corporation fka RadioShack
washington, dc 20009                       9436      12/6/2015 Corporation                                                     $50.00                                                                                           $50.00
Everard Martin
9 Christopher Mills Drive                                      RS Legacy Corporation fka RadioShack
Mount Laurel, NJ 08054                     9437      12/6/2015 Corporation                                                     $25.00                                                                                           $25.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Jason boone
Po box 3844                                                    RS Legacy Corporation fka RadioShack
salem, or 97302                            9438      12/6/2015 Corporation                                                      $3.85                                                                                            $3.85
Jon Kasprick
18211 152nd Ave SE                                             RS Legacy Corporation fka RadioShack
Renton, Wa 98058                           9439      12/6/2015 Corporation                                                     $20.00                                                                                           $20.00
John Li
602 Fairview Ave Apt 28                                        RS Legacy Corporation fka RadioShack
Arcadia, California 91789                  9440      12/7/2015 Corporation                                                    $100.00                                                                                          $100.00
David Marlin
P.O. Box 791966                                                RS Legacy Corporation fka RadioShack
Paia, HI 96779                             9441      12/7/2015 Corporation                                                     $81.29                                                                                           $81.29
Diane Von Braun
16 Algonquin Drive                                             RS Legacy Corporation fka RadioShack
Queensbury, NY 12804                       9442      12/7/2015 Corporation                                                     $50.00                                                                                           $50.00
Charles H. Grimes
1788 S. Trainer Rd                                             RS Legacy Corporation fka RadioShack
Rockford, illinoi 61108                    9443      12/7/2015 Corporation                                                      $1.09                                                                                            $1.09
Deborah Fales
1635 E. Ridgewood Street                                       RS Legacy Corporation fka RadioShack
orlando, fl 32803                          9444      12/7/2015 Corporation                                                     $17.01                                                                                           $17.01
Ilise Krieger
20 Stearns Road #4                                             RS Legacy Corporation fka RadioShack
Brookline, MA 02446                        9445      12/7/2015 Corporation                                                     $10.74                                                                                           $10.74
David Baran
1090 Summitville Drive                                         RS Legacy Corporation fka RadioShack
Webster, NY 14580                          9446      12/7/2015 Corporation                                                      $0.00                                                                                            $0.00
john caras
1595 123rd ave                                                 RS Legacy Corporation fka RadioShack
hopkins, mi 49328                          9447      12/7/2015 Corporation                                                     $63.59                                                                                           $63.59
RICHARD J RIORDAN
9709 SOUTH PARK CIRCLE                                         RS Legacy Corporation fka RadioShack
FAIRFAX STATION, VA 22039                  9448      12/7/2015 Corporation                                                      $0.00                                                                                            $0.00
Jeffrey McFadden
626 22nd St                                                    RS Legacy Corporation fka RadioShack
West Des Moines, IA 50265                  9449      12/7/2015 Corporation                                                     $15.00                                                                                           $15.00
Barbara N. Waller
1400 Sherrod Watlington Circle                                 RS Legacy Corporation fka RadioShack
Greensboro, NC 27406                       9450      12/7/2015 Corporation                                                     $20.00                                                                                           $20.00
Cothran, Jacob
3892 South Rossiland Circle                                    RS Legacy Corporation fka RadioShack
Memphis, TN 38122                          9451      12/7/2015 Corporation                                                     $38.23                                                                                           $38.23
Venkataramana Byrapuneni
3222 Amaryllis Cir                                             RS Legacy Corporation fka RadioShack
San Ramon, CA 94582                        9452      12/7/2015 Corporation                                                     $25.00                                                                                           $25.00
W.D. Alford
12315 Danny Drive                                              RS Legacy Corporation fka RadioShack
Austin, TX 78759                           9453      12/7/2015 Corporation                                                     $25.00                                                                                           $25.00
Farhan Khan
2 Chateau Pontet Canet Dr                                      RS Legacy Corporation fka RadioShack
Kenner, LA 70065                           9454      12/7/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Venkataramana Byrapuneni
3222 Amaryllis Cir                                             RS Legacy Corporation fka RadioShack
San Ramon, CA 94582                        9455      12/7/2015 Corporation                                                     $25.00                                                                                           $25.00
Raymond Fernandez
3350 San Pedro St                                              RS Legacy Corporation fka RadioShack
Clearwater, FL 33759                       9456      12/7/2015 Corporation                                                     $66.35                                                                                           $66.35
W.D. Alford
12315 Danny Drive                                              RS Legacy Corporation fka RadioShack
Austin, TX 78759                           9457      12/7/2015 Corporation                                                     $25.00                                                                                           $25.00
Steve Dudley
13903 Cypresswood Crossing Blvd                                RS Legacy Corporation fka RadioShack
Houston, TX 77070                          9458      12/7/2015 Corporation                                                      $0.00                                                                                            $0.00
Cynthia Diehl
680 Stony Point Road                                           RS Legacy Corporation fka RadioShack
Spencerport, NY 14559                      9459      12/7/2015 Corporation                                                    $102.59                                                                                          $102.59
Steve Dudley
13903 Cypresswood Crossing Blvd                                RS Legacy Corporation fka RadioShack
Houston, TX 77070                          9460      12/7/2015 Corporation                                                      $0.00                                                                                            $0.00
Elena Oxman
1993 El Dorado Ave #8                                          RS Legacy Corporation fka RadioShack
Berkeley, CA 94707                         9461      12/7/2015 Corporation                                                      $0.00                                                                                            $0.00
Steve Dudley
13903 Cypresswood Crossing Blvd                                RS Legacy Corporation fka RadioShack
Houston, TX 77070                          9462      12/7/2015 Corporation                                                      $0.00                                                                                            $0.00
Jennifer Michalak
8900 Abbey Rd                                                  RS Legacy Corporation fka RadioShack
North Royalton, OH 44133                   9463      12/7/2015 Corporation                                                     $32.39                                                                                           $32.39
Kevin Nash
948 Blue Fox Way                                               RS Legacy Corporation fka RadioShack
Arnold, MD 21012                           9464      12/7/2015 Corporation                                                      $0.00                                                                                            $0.00
Jenifer Catalano
3401 Coy Drive                                                 RS Legacy Corporation fka RadioShack
Sherman Oaks, CA 91423                     9465      12/7/2015 Corporation                                                     $34.63                                                                                           $34.63
McCue, Kathleen
9118 McDonald Drive                                            RS Legacy Corporation fka RadioShack
Bethesda, MD 20817                         9466      12/1/2015 Corporation                                                     $50.00                                                                                           $50.00
Judy Bonato
3370 S Nelson Ct                                               RS Legacy Corporation fka RadioShack
Lakewood, CO 80227                         9467      12/7/2015 Corporation                                                      $7.41                                                                                            $7.41
Joseph Svoboda
1041 Grandview Ave                                             RS Legacy Corporation fka RadioShack
Owatonna, MN 55060                         9468      12/7/2015 Corporation                                                     $20.00                                                                                           $20.00
Korff, Janice
944 Park Avenue
Fourth Floor                                                   RS Legacy Corporation fka RadioShack
New York, NY 10028                         9469      12/4/2015 Corporation                                                      $0.00                                                                                            $0.00
The Ohio Department of Taxation
Bankruptcy Div.
PO Box 530
Columbus, OH 43216                         9470      12/3/2015 SCK, Inc.                                                        $0.00              $0.00                                                                         $0.00




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                                                                                                                             Current General                                            Current 503(b)(9)
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            Creditor Name and Address              Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Felipe Roman
40404 Carretera 481                                                      RS Legacy Corporation fka RadioShack
Quebradillas, PR 00678                               9471      12/7/2015 Corporation                                                      $53.24                                                                                           $53.24
Rosely John
PO Box 266                                                               RS Legacy Corporation fka RadioShack
Church Rock, NM 87311                                9472      12/7/2015 Corporation                                                       $0.00                                                                                            $0.00
Felipe Roman
40404 Carretera 481                                                      RS Legacy Corporation fka RadioShack
Quebradillas, PR 00678                               9473      12/7/2015 Corporation                                                       $0.00                                                                                            $0.00
Kurt Rothermel
26150 Village Ln Apt 411                                                 RS Legacy Corporation fka RadioShack
Beachwood, OH 44122                                  9474      12/7/2015 Corporation                                                       $0.00                                                                                            $0.00
The Ohio Department of Taxation
Bankruptcy Div.
PO Box 530
Columbus, OH 43216                                   9475      12/3/2015 SCK, Inc.                                                         $0.00              $0.00                                                                         $0.00
Peters, Bryan
25769 Cottonwood Ave                                                     RS Legacy Corporation fka RadioShack
Sioux Falls, SD 57107                                9476      12/1/2015 Corporation                                                      $55.00                                                                                           $55.00
Bethany J. Rhodes
5606 Bonaventure Dr.                                                     RS Legacy Corporation fka RadioShack
Columbus, OH 43228                                   9477      12/7/2015 Corporation                                                      $25.00                                                                                           $25.00
Royce stratton
1120 Choctaw trail                                                       RS Legacy Corporation fka RadioShack
Blanchard, Oklahoma 73010                            9478      12/7/2015 Corporation                                                       $0.00                                                                                            $0.00
Rubinstein, Deborah
6 Churchill St.                                                          RS Legacy Corporation fka RadioShack
Newton, MA 02460                                     9479      12/4/2015 Corporation                                                      $38.85                                                                                           $38.85

Midland County
Laura J. Monroe
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
PO Box 817                                                                RS Legacy Corporation fka RadioShack
Lubbock, TX 79408                                    9480      11/30/2015 Corporation                                                                                         $507.46                                                     $507.46
FLORES, JESUS
11129 S AVE D                                                            RS Legacy Corporation fka RadioShack
Chicago, IL 60617                                    9481      12/3/2015 Corporation                                                      $90.00                                                                                           $90.00
Hilco Global
Attn.: Ian S. Fredericks, VP & Assistant General
Counsel
5 Revere Drive, Suite 206                                                RS Legacy Corporation fka RadioShack
Northbrook, IL 60602                                 9482      12/2/2015 Corporation                                                                                                                                  $0.00                 $0.00
Kerrigan, Nancy
3590 S. Vista Place                                                      RS Legacy Corporation fka RadioShack
Chandler, AZ 85248                                   9483      12/1/2015 Corporation                                                     $125.00                                                                                          $125.00
Nicholas, Tina
PO Box 1184                                                              RS Legacy Corporation fka RadioShack
Latexo, TX 75849                                     9484      12/1/2015 Corporation                                                      $50.00                                                                                           $50.00
Vasser‐Learn, Brooke
15003 132nd Ave. E.                                                      RS Legacy Corporation fka RadioShack
Puyallup, WA 98374                                   9485      12/1/2015 Corporation                                                      $25.00                                                                                           $25.00




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                                                                                                                    Current General                                            Current 503(b)(9)
                                                                                                                                          Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address      Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
MARILYN SPIEWAK
596 SHAWNEE LN                                                   RS Legacy Corporation fka RadioShack
BEDFORD, OH 44146‐3460                       9486      12/7/2015 Corporation                                                     $21.29                                                                                           $21.29
Nick Lawniczak
PO BOX 684270                                                    RS Legacy Corporation fka RadioShack
Park City, ut 84068                          9487      12/7/2015 Corporation                                                    $100.00                                                                                          $100.00
Melanie McElvany
300 Del Sol Avenue                                               RS Legacy Corporation fka RadioShack
Davenport, FL 33837                          9488      12/7/2015 Corporation                                                     $13.65                                                                                           $13.65
Jane Ross
55502 NW 173rd St.                                               RS Legacy Corporation fka RadioShack
Ridgefield, WA 98642                         9489      12/7/2015 Corporation                                                      $8.36                                                                                            $8.36
Jose S contreras
C/ José Acosta #408 Urb.Roosevelt                                RS Legacy Corporation fka RadioShack
San Juan, Puerto Rico 00918                  9490      12/7/2015 Corporation                                                     $20.00                                                                                           $20.00
Cohen, Bret
33 Brooks Pond Place                                             RS Legacy Corporation fka RadioShack
Staten Island, NY 10310                      9491      12/4/2015 Corporation                                                     $50.00                                                                                           $50.00
Arrotti, Tim
418 Everson Ave                                                  RS Legacy Corporation fka RadioShack
Scottdale, PA 15683                          9492      12/4/2015 Corporation                                                      $0.00                                                                                            $0.00
Miller, Jeff
60893 Duke Lane                                                  RS Legacy Corporation fka RadioShack
Bend, OR 97702                               9493      12/5/2015 Corporation                                                     $29.99                                                                                           $29.99
SUSAN MIYAO
1930 B 9TH AVENUE                                                RS Legacy Corporation fka RadioShack
HONOLULU, HI 96816                           9494      12/7/2015 Corporation                                                     $65.54                                                                                           $65.54
Christine Nolan
30 Underhill Avenue                                              RS Legacy Corporation fka RadioShack
Syosset, NY 11791                            9495      12/7/2015 Corporation                                                      $0.00                                                                                            $0.00
Wenjin Guo
65 Grant Ave                                                     RS Legacy Corporation fka RadioShack
Nutley, NJ 07110                             9496      12/7/2015 Corporation                                                      $0.00                                                                                            $0.00
McManus, Jacqueline
70 Homewood Avenue                                               RS Legacy Corporation fka RadioShack
Watervliet, NY 12189                         9497      12/5/2015 Corporation                                                     $50.00                                                                                           $50.00
Gabauer, Marsha
104 Rosewood Drive                                               RS Legacy Corporation fka RadioShack
Aliquippa, PA 15001                          9498      12/5/2015 Corporation                                                     $25.00                                                                                           $25.00
Edwin F. Castro
Jardines de Country Club Calle 157 Cp‐19                         RS Legacy Corporation fka RadioShack
Carolina, P.R. 00983                         9499      12/7/2015 Corporation                                                     $20.00                                                                                           $20.00
Ryan Jensen
4127 1/2 Utah St.                                                RS Legacy Corporation fka RadioShack
San Diego, CA 92104                          9500      12/7/2015 Corporation                                                     $32.08                                                                                           $32.08
Siddharth
7 Marie lane                                                     RS Legacy Corporation fka RadioShack
wallingford, ct 06492                        9501      12/7/2015 Corporation                                                      $0.00                                                                                            $0.00
Debbie Zanaty
2911 Crescent Avenue                                             RS Legacy Corporation fka RadioShack
Birmingham, AL 35209                         9502      12/7/2015 Corporation                                                     $29.19                                                                                           $29.19




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                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                     Amount
Edwin F. Castro
Jardines de Country Club Calle 157 CP‐19                         RS Legacy Corporation fka RadioShack
Carolina, P.R. 00983                         9503      12/7/2015 Corporation                                                       $7.33                                                                                            $7.33
Jamie Janisse
1446 N Dearborn St, Unit 1A                                      RS Legacy Corporation fka RadioShack
Chicago, IL 60610                            9504      12/7/2015 Corporation                                                       $0.00                                                                                            $0.00
Timothy Ormston
621 Ridgecliff Drive                                             RS Legacy Corporation fka RadioShack
New Braunfels, TX 78130                      9505      12/7/2015 Corporation                                                      $20.00                                                                                           $20.00
Shyron Shenko
5001 Rippy Road                                                  RS Legacy Corporation fka RadioShack
Flower Mound, TX 75028‐2204                  9506      12/7/2015 Corporation                                                      $51.95                                                                                           $51.95
Toby Brake
35 Candletree Circle                                             RS Legacy Corporation fka RadioShack
Beardstown, IL 62618                         9507      12/7/2015 Corporation                                                      $25.00                                                                                           $25.00
Doris Hair
8611 Hairs Chapel Church Road                                    RS Legacy Corporation fka RadioShack
Linden, NC 28356                             9508      12/7/2015 Corporation                                                       $0.00                                                                                            $0.00
barry schwartz
8262 elko drive                                                  RS Legacy Corporation fka RadioShack
ellicott city, md 21043                      9509      12/7/2015 Corporation                                                     $100.00                                                                                          $100.00
Jessica Herb
1330 W Monroe St #210                                            RS Legacy Corporation fka RadioShack
Chicago, IL 60607                            9510      12/7/2015 Corporation                                                      $25.00                                                                                           $25.00
Michael Melendez
9018 Gaymont Ave                                                 RS Legacy Corporation fka RadioShack
Downey, CA 90240                             9511      12/7/2015 Corporation                                                      $20.00                                                                                           $20.00
Arnold, Barbara
4201 Taverngreen Ln                                              RS Legacy Corporation fka RadioShack
Bowie, MD 20720                              9512      12/5/2015 Corporation                                                     $100.00                                                                                          $100.00
Citizens Bank, N.A.
James M. Ray, Senior Vice President
100 Sockanosset Cross Road                                       RS Legacy Corporation fka RadioShack
Cranston, RI 02920                           9513      12/4/2015 Corporation                                                                                                                          $1,000,002.08         $1,000,002.08
Rochester Gas and Electric Corp.
Patricia A. Cotton
89 East Avenue                                                   RS Legacy Corporation fka RadioShack
Rochester, NY 14649                          9514      12/4/2015 Corporation                                                                                                                                  $0.00                 $0.00
Frank Panaro
115 Atwood Dr                                                    RS Legacy Corporation fka RadioShack
Rochester, NY 14606                          9515      12/7/2015 Corporation                                                      $10.00                                                                                           $10.00
David Foster
1310 Harwood Lane                                                RS Legacy Corporation fka RadioShack
Macedon, NY 14502                            9516      12/7/2015 Corporation                                                      $20.00                                                                                           $20.00
Fields, Kesha
28646 Vineyard lane                                               RS Legacy Corporation fka RadioShack
Castaic, CA 91384                            9517      11/30/2015 Corporation                                                     $70.00                                                                                           $70.00
Collado, Angela
7 Tennis Road                                                     RS Legacy Corporation fka RadioShack
Mattapan, MA 02126                           9518      11/30/2015 Corporation                                                     $37.18                                                                                           $37.18




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                                                                                                                   Current General                                            Current 503(b)(9)
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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Moenster, Carrie L.
607 Cheryl Lane                                                 RS Legacy Corporation fka RadioShack
Hillsboro, OH 45133                        9519      11/30/2015 Corporation                                                     $69.69                                                                                           $69.69
Sandra Greget
215 Mark Ave                                                   RS Legacy Corporation fka RadioShack
Ozark, AL 36360                            9520      12/7/2015 Corporation                                                      $40.18                                                                                           $40.18
Davis, Troy
PO Box 383                                                      RS Legacy Corporation fka RadioShack
Rocky Mount, NC 27802                      9521      11/30/2015 Corporation                                                                      $100.00                                  $0.00                                 $100.00
Bachner Carey, Lori
6802 Jackie Deneese Court                                       RS Legacy Corporation fka RadioShack
Springfield, VA 22152                      9522      11/30/2015 Corporation                                                     $50.00                                                                                           $50.00
Brown, Gabrielle
1807 Barrow Way                                                 RS Legacy Customer Service LLC fka RadioShack
Duluth, GA 30096                           9523      11/30/2015 Customer Service LLC                                            $15.00                                                                                           $15.00
Floyd Howard
253 union st                                                   RS Legacy Corporation fka RadioShack
Jersey City, nj 07304                      9524      12/7/2015 Corporation                                                     $100.00                                                                                          $100.00
Henry Gonzalez
434 Isley Dr                                                   RS Legacy Corporation fka RadioShack
Blountville, TN 37617, TN 37617            9525      12/7/2015 Corporation                                                      $12.63                                                                                           $12.63
Alexa Brown
10900 McLennan Ave                                             RS Legacy Corporation fka RadioShack
Granada Hills, Ca 91344                    9526      12/7/2015 Corporation                                                      $33.66                                                                                           $33.66
Christy Ann Reponte
P. O. Box 341                                                  RS Legacy Corporation fka RadioShack
Kekaha, Hi 96752                           9527      12/7/2015 Corporation                                                      $24.94                                                                                           $24.94
Produce Paradsie LLC
2643 N. Larriva Pl.                                            RS Legacy Corporation fka RadioShack
Nogales, Az. 85621                         9528      12/7/2015 Corporation                                                      $78.29                                                                                           $78.29
Stockdale, Dennis L.
33 Rainbow Ridge                                                RS Legacy Corporation fka RadioShack
Swannanda, NC 28778                        9529      11/30/2015 Corporation                                                     $19.99                                                                                           $19.99
Jones, Neal
32977 Wintermute Ln.                                            RS Legacy Corporation fka RadioShack
Tollhouse, CA 93667                        9530      11/24/2015 Corporation                                                     $86.37                                                                                           $86.37
Paintball USA
19425 Soledad Cyn. Rd. B‐167                                    RS Legacy Customer Service LLC fka RadioShack
Canyon Country, CA 91350                   9531      11/28/2015 Customer Service LLC                                                                                                    $263.79                                 $263.79
Jennifer Mierkey
15833 Halmar Lane                                              RS Legacy Corporation fka RadioShack
Lathrop, CA 95330                          9532      12/7/2015 Corporation                                                      $29.48                                                                                           $29.48
MISSY ADKINS
714 LEVEE ROAD                                                 RS Legacy Corporation fka RadioShack
MONCKS CORNER, SC 29461                    9533      12/7/2015 Corporation                                                     $100.00                                                                                          $100.00
Donald Casterline
80 Fairwood Blvd                                               RS Legacy Corporation fka RadioShack
Mountain Top, PA 18707                     9534      12/7/2015 Corporation                                                       $0.00                                                                                            $0.00
Hageman, Julia D.
4410 E. Sheffield Dr.                                           RS Legacy Corporation fka RadioShack
Bloomington, IN 47408                      9535      11/27/2015 Corporation                                                    $100.00                                                                                          $100.00




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Nayyar, Prashant
50 Glenbrook Road , Apt. 4J                                     RS Legacy Corporation fka RadioShack
Stamford, CT 06902                         9536      11/27/2015 Corporation                                                                       $53.00                                                                         $53.00
Brown, Joshua
1100 Anacostia Rd. SE                                           RS Legacy Corporation fka RadioShack
Washington, DC 20019                       9537      11/25/2015 Corporation                                                     $20.00                                                                                           $20.00
Retail Construction Inc
David Baldinger
36 Cain Drive                                                   RS Legacy Corporation fka RadioShack
Plainview, NY 11803                        9538      11/25/2015 Corporation                                                  $1,950.00                                                    $0.00                               $1,950.00
Green, Jeff
430 S. Roberts Dr. Apt. 128                                     RS Legacy Corporation fka RadioShack
Prestonsburg, KY 41653                     9539      11/25/2015 Corporation                                                     $79.99                                                                                           $79.99
Keyonna Haynes
1408 Aggie Way                                                 RS Legacy Corporation fka RadioShack
Pensacola, Florida 32504                   9540      12/7/2015 Corporation                                                      $89.50                                                                                           $89.50
Summer Williams
1314 N. Belmont Ave                                            RS Legacy Corporation fka RadioShack
odessa, tx 79763                           9541      12/7/2015 Corporation                                                     $129.89                                                                                          $129.89
Jose Santellan
564 Deere Park Cir. Apt 105                                    RS Legacy Corporation fka RadioShack
Bartlett, IL 60103                         9542      12/7/2015 Corporation                                                      $16.48                                                                                           $16.48
Leavitt, Lucy
1188 Sultana St.                                                RS Legacy Customer Service LLC fka RadioShack
Port Charlotte, FL 33952                   9543      11/25/2015 Customer Service LLC                                            $10.67                                                                                           $10.67
Jones, Neal
32977 Wintermute Ln.                                            RS Legacy Corporation fka RadioShack
Tollhouse, CA 93667                        9544      11/24/2015 Corporation                                                      $0.00                                                                                            $0.00
Heather Clements
1560 Big Oak Ct                                                RS Legacy Corporation fka RadioShack
Lake Forest, IL 60045                      9545      12/7/2015 Corporation                                                      $40.00                                                                                           $40.00
Edward Forrest
225 Waxmyrtle Way                                              RS Legacy Corporation fka RadioShack
Locust Grove, Georgia 30248                9546      12/7/2015 Corporation                                                      $50.00                                                                                           $50.00
Madelyn English
16 Olde Town Court                                             RS Legacy Corporation fka RadioShack
Bernardsville, NJ 07924                    9547      12/7/2015 Corporation                                                      $25.00                                                                                           $25.00
Carmen Lea
712 WoodChuck Place                                            RS Legacy Corporation fka RadioShack
Bear, De 19701                             9548      12/7/2015 Corporation                                                       $8.03                                                                                            $8.03
Susan Huelsenbeck
208 Megan Court                                                RS Legacy Corporation fka RadioShack
Newark, DE 19702                           9549      12/7/2015 Corporation                                                      $20.00                                                                                           $20.00
Michael Stratton
1404 hillside pl                                               RS Legacy Corporation fka RadioShack
las vegas, nv 89104                        9550      12/7/2015 Corporation                                                     $100.00                                                                                          $100.00
Susan Huelsenbeck
208 Megan Court                                                RS Legacy Corporation fka RadioShack
Newark, DE 19702                           9551      12/7/2015 Corporation                                                      $20.00                                                                                           $20.00
Kisko, Betty
6 South Morgantown St.                                          RS Legacy Corporation fka RadioShack
Fairchance, PA 15436                       9552      11/25/2015 Corporation                                                     $23.31                                                                                           $23.31



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                                                                                                                   Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Doshi, Swati D.
2025 Broadway, #20B                                             RS Legacy Corporation fka RadioShack
New York, NY 10023                         9553      11/25/2015 Corporation                                                                                                              $21.76                                  $21.76
Jennifer Findley
410 E 3rd St.                                                  RS Legacy Corporation fka RadioShack
Hibbing, MN 55746                          9554      12/7/2015 Corporation                                                       $0.46                                                                                            $0.46
Anthony Shammami
4574 Appletree Ct.                                             RS Legacy Corporation fka RadioShack
West Bloomfield, MI 48323                  9555      12/7/2015 Corporation                                                      $63.41                                                                                           $63.41
Joel Carter
101 Cranwood Court                                             RS Legacy Corporation fka RadioShack
Yorktown, VA 23693                         9556      12/7/2015 Corporation                                                      $35.00                                                                                           $35.00
Shan Jiang
597 Kirts Blvd Apt 204                                         RS Legacy Corporation fka RadioShack
Troy, MI 48084                             9557      12/7/2015 Corporation                                                      $51.42                                                                                           $51.42
GAUTAM PRADHAN
14120 Highway 2                                                RS Legacy Corporation fka RadioShack
Williston, ND 58801                        9558      12/7/2015 Corporation                                                      $56.61                                                                                           $56.61
tracy hyatt
18975 Carillo Ct                                               RS Legacy Corporation fka RadioShack
Sonoma, CA 95476                           9559      12/7/2015 Corporation                                                     $134.81                                                                                          $134.81
Qidong Jia
1545 Coleman Rd APT K                                          RS Legacy Corporation fka RadioShack
KNOXVILLE, TN 37909                        9560      12/7/2015 Corporation                                                       $0.00                                                                                            $0.00
Qidong Jia
1545 Coleman Rd APT K                                          RS Legacy Corporation fka RadioShack
KNOXVILLE, TN 37909                        9561      12/7/2015 Corporation                                                      $23.96                                                                                           $23.96
Hongtao Mu
7176 Via Vico                                                  RS Legacy Corporation fka RadioShack
San Jose, CA 95129                         9562      12/7/2015 Corporation                                                      $22.81                                                                                           $22.81
Sara Lundberg
3635 W 10th St                                                 RS Legacy Corporation fka RadioShack
Lawrence, KS 66049                         9563      12/7/2015 Corporation                                                      $12.39                                                                                           $12.39
Frank Ouellette
11Mockingbird Ln                                               RS Legacy Corporation fka RadioShack
Kingston, NH 03848                         9564      12/7/2015 Corporation                                                      $50.00                                                                                           $50.00
Norma hernandez
normah20@gmail.com                                             RS Legacy Corporation fka RadioShack
Los angeles, CA 90015                      9565      12/7/2015 Corporation                                                     $100.00                                                                                          $100.00
Paul Larson
20 East Quasset Road                                           RS Legacy Corporation fka RadioShack
Woodstock, CT 06281                        9566      12/7/2015 Corporation                                                       $0.00                                                                                            $0.00
michael hunter
3232 Sweet Clover Ln                                           RS Legacy Corporation fka RadioShack
Lexington, KY 40509                        9567      12/7/2015 Corporation                                                       $0.00                                                                                            $0.00
sanae oswald
547 E. Walnut Ave. Apt 6                                       RS Legacy Corporation fka RadioShack
El Segundo, CA 90245                       9568      12/8/2015 Corporation                                                      $18.29                                                                                           $18.29
HIROSHI UTSUMI
112 NW GARDNER ST.                                             RS Legacy Corporation fka RadioShack
BOCA RATON, FL 33432                       9569      12/8/2015 Corporation                                                      $25.00                                                                                           $25.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
don rogers
536 13th st.                                                   RS Legacy Corporation fka RadioShack
clarkston, wa 99403                        9570      12/8/2015 Corporation                                                     $54.11                                                                                           $54.11
Patricia
3524 East Ave R spc 275                                        RS Legacy Corporation fka RadioShack
Palmdale, California 93550                 9571      12/8/2015 Corporation                                                     $88.20                                                                                           $88.20
Christopher Birli
6735 Yucca St
#306                                                           RS Legacy Corporation fka RadioShack
Los Angeles, CA 90028                      9572      12/8/2015 Corporation                                                    $108.99                                                                                          $108.99
Daniel Mattingly
2511 nak nak run                                               RS Legacy Corporation fka RadioShack
oviedo, fl 32765                           9573      12/8/2015 Corporation                                                    $133.00                                                                                          $133.00
Vincent Greenwood
812 Pennsylvania Avenue                                        RS Legacy Corporation fka RadioShack
Kennedale, Texas 76060                     9574      12/8/2015 Corporation                                                      $4.56                                                                                            $4.56
William Stiles
4 Crimson Way                                                  RS Legacy Corporation fka RadioShack
Plattsburgh, NY 12901                      9575      12/8/2015 Corporation                                                    $113.40                                                                                          $113.40
Bill Allen
3320 Clermont Drive                                            RS Legacy Corporation fka RadioShack
Muscatine, IA 52761                        9576      12/8/2015 Corporation                                                     $46.56                                                                                           $46.56
Barbara Bell
804 Fedelon Trail                                              RS Legacy Corporation fka RadioShack
Goldsboro, NC 27530                        9577      12/8/2015 Corporation                                                     $10.00                                                                                           $10.00
Pedro Ventura
23343 tranquil ln                                              RS Legacy Corporation fka RadioShack
Boca raton, Fl 33428                       9578      12/8/2015 Corporation                                                     $50.00                                                                                           $50.00
Jennifer Turner
213 N 11th St.                                                 RS Legacy Corporation fka RadioShack
Lafayette, IN 47901                        9579      12/8/2015 Corporation                                                     $62.07                                                                                           $62.07
Katherine Harper
7901 NE 158th PL                                               RS Legacy Corporation fka RadioShack
Vancouver, WA 98682                        9580      12/8/2015 Corporation                                                     $45.00                                                                                           $45.00
Susan Barnes
15 Evergreen Lane                                              RS Legacy Corporation fka RadioShack
Oneonta, NY 13820                          9581      12/8/2015 Corporation                                                     $20.00                                                                                           $20.00
Susan Barnes
15 Evergreen Lane                                              RS Legacy Corporation fka RadioShack
Oneonta, ny 13820                          9582      12/8/2015 Corporation                                                     $20.00                                                                                           $20.00
Michael Goldsberry
4630 Voyager Drive                                             RS Legacy Corporation fka RadioShack
Pensacola, FL 32514                        9583      12/8/2015 Corporation                                                     $30.00                                                                                           $30.00
Marty Winterbottom
26 St. Charles St.                                             RS Legacy Corporation fka RadioShack
Plattsburgh, NY 12901                      9584      12/8/2015 Corporation                                                    $140.38                                                                                          $140.38
Marty Winterbottom
26 St. Charles St.                                             RS Legacy Corporation fka RadioShack
Plattsburgh, NY 12901                      9585      12/8/2015 Corporation                                                     $16.19                                                                                           $16.19
Benjamin Brant
3840 N 38 Ave                                                  RS Legacy Corporation fka RadioShack
Hollywood, Fl 33021                        9586      12/8/2015 Corporation                                                      $0.00                                                                                            $0.00



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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Harrigan, James L.
133 Villa Pointe Dr.                                           RS Legacy Corporation fka RadioShack
Springboro, OH 45066                       9587      12/8/2015 Corporation                                                     $24.61                                                                                           $24.61
Mike Newnam
3689 Seneca Court                                              RS Legacy Corporation fka RadioShack
Doylestown, PA 18902                       9588      12/8/2015 Corporation                                                     $50.00                                                                                           $50.00
Cleta Cash
243 Kingwood Dr                                                RS Legacy Corporation fka RadioShack
Farmington, MO 63640                       9589      12/8/2015 Corporation                                                      $3.34                                                                                            $3.34
Tim. Whipkey
153. Nobe Rd                                                   RS Legacy Corporation fka RadioShack
Big Bend, WV 26136                         9590      12/8/2015 Corporation                                                     $20.00                                                                                           $20.00
Mike Newnam
3689 Seneca Court                                              RS Legacy Corporation fka RadioShack
Doylestown, PA 18902                       9591      12/8/2015 Corporation                                                     $50.00                                                                                           $50.00
Andrew Stoker
6 Hartshorn Drive                                              RS Legacy Corporation fka RadioShack
Brockport, NY 14420                        9592      12/8/2015 Corporation                                                      $9.52                                                                                            $9.52
Mansi Jain
8121 Long Nook Ln                                              RS Legacy Corporation fka RadioShack
Charlotte, NC 28277                        9593      12/8/2015 Corporation                                                     $25.00                                                                                           $25.00
David Rockwood III
240 Twin Oaks Terrace                                          RS Legacy Corporation fka RadioShack
South Burlington, VT 05403                 9594      12/8/2015 Corporation                                                      $0.00                                                                                            $0.00
Deborah Williams
1557 Kuhlview Drive                                            RS Legacy Corporation fka RadioShack
15237, Pittsburgh PA                       9595      12/8/2015 Corporation                                                    $100.00                                                                                          $100.00
Jill Cohen
210 Haddon Avenue                                              RS Legacy Corporation fka RadioShack
Westmont, NJ 08108                         9596      12/8/2015 Corporation                                                      $0.00                                                                                            $0.00
Hamilton Hawthorne
12136 Narrowleaf CT                                            RS Legacy Corporation fka RadioShack
Jacksonville, FL 32225                     9597      12/8/2015 Corporation                                                      $5.75                                                                                            $5.75
Jill Cohen
210 Haddon Avenue                                              RS Legacy Corporation fka RadioShack
Westmont, NJ 08108                         9598      12/8/2015 Corporation                                                      $0.00                                                                                            $0.00
Karl Schutte
133 Shoreward Drive                                            RS Legacy Corporation fka RadioShack
Great Neck, New York 11021                 9599      12/8/2015 Corporation                                                     $96.00                                                                                           $96.00
Mary Ann Dvonch
3001 Fidlers Bend                                              RS Legacy Corporation fka RadioShack
Palmetto, FL 34221, 34221 34221            9600      12/8/2015 Corporation                                                     $13.97                                                                                           $13.97
Patricia Lyons
26 Jackson Lane                                                RS Legacy Corporation fka RadioShack
Springboro, ohio 45066                     9601      12/8/2015 Corporation                                                     $30.15                                                                                           $30.15
Jon Seeber
35 Stanton St.                                                 RS Legacy Corporation fka RadioShack
Pawcatuck, CT 06379                        9602      12/8/2015 Corporation                                                     $26.35                                                                                           $26.35
Loretta Baer
104 Wallace Road                                               RS Legacy Corporation fka RadioShack
Maybrook, NY 12543                         9603      12/8/2015 Corporation                                                     $10.00                                                                                           $10.00




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Kimberly J. Askin
61 Bryce Canyon Road                                           RS Legacy Corporation fka RadioShack
Howell, NJ 07731                           9604      12/8/2015 Corporation                                                     $10.00                                                                                           $10.00
Jeremiah virtue
333 north main str P.O box 73                                  RS Legacy Corporation fka RadioShack
Amsterdam, Ohio 43903                      9605      12/8/2015 Corporation                                                     $10.00                                                                                           $10.00
Glenn Freitas
10433 Maranatha Place                                          RS Legacy Corporation fka RadioShack
Grass Valley, CA 95949                     9606      12/8/2015 Corporation                                                     $22.98                                                                                           $22.98
sandra jaworski
6305 Ruidoso Dr                                                RS Legacy Corporation fka RadioShack
Saginaw, MI 48603                          9607      12/8/2015 Corporation                                                     $34.30                                                                                           $34.30
Brian Del Terzo
9010 Horizon Dr                                                RS Legacy Corporation fka RadioShack
Shakopee, MN 55379                         9608      12/8/2015 Corporation                                                     $27.77                                                                                           $27.77
Carla S. Harvell
508 W. Wilkinson Street                                        RS Legacy Corporation fka RadioShack
Kill Devil Hills, NC 27948                 9609      12/8/2015 Corporation                                                    $450.00                                                                                          $450.00
Denise Ehr
8139 E Ridge Dr                                                RS Legacy Corporation fka RadioShack
Pleasant Prairie, wi 53158                 9610      12/8/2015 Corporation                                                      $6.02                                                                                            $6.02
Jennifer Crossman
26 Glencrest Drive                                             RS Legacy Corporation fka RadioShack
Newton, NJ 07860                           9611      12/8/2015 Corporation                                                     $25.00                                                                                           $25.00
Chas Pearson
75 Main Street                                                 RS Legacy Corporation fka RadioShack
Sandown, NH 03873                          9612      12/8/2015 Corporation                                                     $17.01                                                                                           $17.01
steven gorby
58 mandm lane                                                  RS Legacy Corporation fka RadioShack
wheeling, wv 26003                         9613      12/8/2015 Corporation                                                    $100.00                                                                                          $100.00
Lauren Gabrilowitz
20 Othmar Street                                               RS Legacy Corporation fka RadioShack
Narragansett, RI 02882‐3346                9614      12/8/2015 Corporation                                                      $0.00                                                                                            $0.00
Chris Allen
1803 McGavock Pike                                             RS Legacy Corporation fka RadioShack
Nashville, TN 37216                        9615      12/8/2015 Corporation                                                     $25.00                                                                                           $25.00
Judy Dee
13 Trailside Dr.                                               RS Legacy Corporation fka RadioShack
Lake St. Louis, MO 63367                   9616      12/8/2015 Corporation                                                     $20.00                                                                                           $20.00
Vickie Gunter
5937 County Hwy 69                                             RS Legacy Corporation fka RadioShack
Guin, AL 35563                             9617      12/8/2015 Corporation                                                     $20.00                                                                                           $20.00
Atkins, Stacey
1401 Hawkins Wood Circle                                       RS Legacy Corporation fka RadioShack
Midlothian, VA 23114                       9618      12/7/2015 Corporation                                                     $90.00                                                                                           $90.00
Michael Arras
4715 Basin St.                                                 RS Legacy Corporation fka RadioShack
Adrian, MI 49221                           9619      12/8/2015 Corporation                                                    $100.00                                                                                          $100.00
Kumar, Birendra
656 Kenwood Road                                               RS Legacy Corporation fka RadioShack
Ridgewood, NJ 07450                        9620      12/7/2015 Corporation                                                                      $310.30                                                                        $310.30




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                                                                                                                  Current General                                            Current 503(b)(9)
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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Andrew Cohen
7921Brooke Vista Lane                                          RS Legacy Corporation fka RadioShack
San Diego, Ca 92129                        9621      12/8/2015 Corporation                                                     $25.00                                                                                           $25.00
Cassandra Robitaille
16290 Kelly Cove Dr Unit 265                                   RS Legacy Corporation fka RadioShack
FOrt Myers, FL 33908                       9622      12/8/2015 Corporation                                                      $0.00                                                                                            $0.00
Bailey, Christie
146 Henry St                                                   RS Legacy Corporation fka RadioShack
Zavalla, TX 75980                          9623      12/8/2015 Corporation                                                    $100.00                                                                                          $100.00
Kendra Hypolite
4839 Pine Street, Apt. B2                                      RS Legacy Corporation fka RadioShack
Philadelphia, PA 19143                     9624      12/8/2015 Corporation                                                     $12.96                                                                                           $12.96
Sharon Szczepanik
29315 Parkside                                                 RS Legacy Corporation fka RadioShack
Farmington Hills, MI 48331                 9625      12/8/2015 Corporation                                                      $0.00                                                                                            $0.00
Manuel O Sepulveda
Cond Lagomar 7 Ave Laguna Apt 4K                               RS Legacy Corporation fka RadioShack
Carolina, PR 00979                         9626      12/8/2015 Corporation                                                     $96.29                                                                                           $96.29
Mark Watkins
403 Cherry Street                                              RS Legacy Corporation fka RadioShack
East Greenville, PA 18041                  9627      12/8/2015 Corporation                                                     $30.00                                                                                           $30.00
Joe somerville
6837 Oakland hills dr                                          RS Legacy Corporation fka RadioShack
Gaylord, Mi 49735                          9628      12/8/2015 Corporation                                                     $50.00                                                                                           $50.00
Michael Bragg
15 Rivergate Drive                                             RS Legacy Corporation fka RadioShack
Wilton, CT 06897                           9629      12/8/2015 Corporation                                                    $600.00                                                                                          $600.00
Jim Salutric
29 seagull dr                                                  RS Legacy Corporation fka RadioShack
Ormond beacj, Fl 32176                     9630      12/8/2015 Corporation                                                     $10.00                                                                                           $10.00
Kristin McClung
po box 2488                                                    RS Legacy Corporation fka RadioShack
elizabeth city, nc 27906                   9631      12/8/2015 Corporation                                                     $25.74                                                                                           $25.74
Patricia Brady
5 Melba Drive                                                  RS Legacy Corporation fka RadioShack
Hudson, NH 03051                           9632      12/8/2015 Corporation                                                     $10.00                                                                                           $10.00
Starr Corbin
20104 Turkey Trot Circle                                       RS Legacy Corporation fka RadioShack
Georgetown, TX 78633                       9633      12/8/2015 Corporation                                                     $47.63                                                                                           $47.63
Jeremiah Scheithe
N3329 University Rd                                            RS Legacy Corporation fka RadioShack
Lake Geneva, WI 53147                      9634      12/8/2015 Corporation                                                     $50.00                                                                                           $50.00
Ian Brown
2548 West Park Drive                                           RS Legacy Corporation fka RadioShack
Murfreesboro, TN 37129                     9635      12/8/2015 Corporation                                                      $0.00                                                                                            $0.00
Charles R. Rogers
500 Mandeville St., Unit 6                                     RS Legacy Corporation fka RadioShack
New Orleans, LA 70117                      9636      12/8/2015 Corporation                                                     $20.26                                                                                           $20.26
Derek Spears
6655 Dallavis Drive                                            RS Legacy Corporation fka RadioShack
Florissant, MO 63033‐7930                  9637      12/8/2015 Corporation                                                     $25.00                                                                                           $25.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Selena Catania
5 Sheppard Lane                                                RS Legacy Corporation fka RadioShack
Stony Brook, NY 11790                      9638      12/8/2015 Corporation                                                      $0.00                                                                                            $0.00
Lucia Auerbach
2246 Broadway St.                                              RS Legacy Corporation fka RadioShack
Nolensville, TN 37135                      9639      12/8/2015 Corporation                                                     $56.36                                                                                           $56.36
Leonard Lagdamen
525 West 238th Street #2P                                      RS Legacy Corporation fka RadioShack
Bronx, NY 10463                            9640      12/8/2015 Corporation                                                      $0.00                                                                                            $0.00
MIKE NADOLNY
180 WOODWARD LANE                                              RS Legacy Corporation fka RadioShack
BASKING RIDGE, NJ 07920                    9641      12/8/2015 Corporation                                                    $100.00                                                                                          $100.00
Joy Patterson
3218 Firwood Ave                                               RS Legacy Corporation fka RadioShack
Bellingham, WA 98225                       9642      12/8/2015 Corporation                                                     $20.00                                                                                           $20.00
Ross Corbitt
277 West 11th Street, Apartment 4F                             RS Legacy Corporation fka RadioShack
New York, NY 10014                         9643      12/8/2015 Corporation                                                    $130.65                                                                                          $130.65
JoLynn Schaffer
817 s 10th                                                     RS Legacy Corporation fka RadioShack
NORFOLK, Nebraska 68701                    9644      12/8/2015 Corporation                                                      $8.79                                                                                            $8.79
Mike Novello
2 Craig Court                                                  RS Legacy Corporation fka RadioShack
Morristown, NJ 07960                       9645      12/8/2015 Corporation                                                     $23.26                                                                                           $23.26
Lance Spahr
2323 E CR 700 N                                                RS Legacy Corporation fka RadioShack
Muncie, IN 47303                           9646      12/8/2015 Corporation                                                      $6.62                                                                                            $6.62
Jeff LaJeunesse
5376 Covey Creek Circle                                        RS Legacy Corporation fka RadioShack
Stockton, CA 95207                         9647      12/8/2015 Corporation                                                     $17.45                                                                                           $17.45
Marissa Richman
1114 coldwater canyon dr.                                      RS Legacy Corporation fka RadioShack
Beverly Hills, Ca 90210                    9648      12/8/2015 Corporation                                                      $0.00                                                                                            $0.00
Thomas Ciorciari
28 Franciscan Lane                                             RS Legacy Corporation fka RadioShack
Smithtown, NY 11787                        9649      12/8/2015 Corporation                                                      $0.00                                                                                            $0.00
Michael Finley
4337 Northwest Dr.                                             RS Legacy Corporation fka RadioShack
Bellingham, WA 98226                       9650      12/8/2015 Corporation                                                     $25.29                                                                                           $25.29
Ann Hessil
6818 S Dory Drive                                              RS Legacy Corporation fka RadioShack
Franklin, WI 53132                         9651      12/8/2015 Corporation                                                     $89.45                                                                                           $89.45
Bryan Erstad
6522 45th Ave S                                                RS Legacy Corporation fka RadioShack
Fargo, ND 58104                            9652      12/8/2015 Corporation                                                    $100.00                                                                                          $100.00
D woodnorth
90 MANNING STREET                                              RS Legacy Corporation fka RadioShack
NEEDHAM, Ma 02494                          9653      12/8/2015 Corporation                                                     $20.00                                                                                           $20.00
Golnaz Saeidinejad
11311 spectrum                                                 RS Legacy Corporation fka RadioShack
Irine, CA 92618                            9654      12/9/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Thomas Kim
4820 N Armenia Avenue                                          RS Legacy Corporation fka RadioShack
Tampa, FL 33603                            9655      12/9/2015 Corporation                                                      $0.00                                                                                            $0.00
Andrea Pell
4774 West Fork Blvd                                            RS Legacy Corporation fka RadioShack
Conroe, TX 77304                           9656      12/9/2015 Corporation                                                     $16.23                                                                                           $16.23
Hai Than
2581 Hebron Ave                                                RS Legacy Corporation fka RadioShack
San Jose, CA 95121                         9657      12/9/2015 Corporation                                                    $100.00                                                                                          $100.00
Jennifer Marshall
112 Hyers St                                                   RS Legacy Corporation fka RadioShack
Ithaca, NY 14850                           9658      12/9/2015 Corporation                                                     $17.61                                                                                           $17.61
Ralph Reeder
121 Stonehouse Road                                            RS Legacy Corporation fka RadioShack
Carlisle, PA 17015‐7413                    9659      12/9/2015 Corporation                                                     $50.00                                                                                           $50.00
Cecelia M Mayo
153 Webster ave                                                RS Legacy Corporation fka RadioShack
Marshfield, Ma 02050                       9660      12/9/2015 Corporation                                                     $63.74                                                                                           $63.74
Maryjo Seward
124 Old Kawkawlin Rd.                                          RS Legacy Corporation fka RadioShack
Bay City, MI 48706                         9661      12/9/2015 Corporation                                                      $8.90                                                                                            $8.90
Richard Quire
3380 Hwy 111 Se                                                RS Legacy Corporation fka RadioShack
Elizabeth, IN 47117                        9662      12/9/2015 Corporation                                                     $10.00                                                                                           $10.00
Janeta Jackson
3714 Carlos Ave                                                RS Legacy Corporation fka RadioShack
Fayetteville, NC 28306                     9663      12/9/2015 Corporation                                                     $21.41                                                                                           $21.41
AdriAnne Cooper
2938 W 4425 S                                                  RS Legacy Corporation fka RadioShack
Roy, UT 84067                              9664      12/9/2015 Corporation                                                      $0.00                                                                                            $0.00
DAVID REDLICH
5319 PINE ST.                                                  RS Legacy Corporation fka RadioShack
ANDERSON, CA 96007                         9665      12/9/2015 Corporation                                                    $100.00                                                                                          $100.00
Arlene Dlouglas
9530 sw 41st Apt 201                                           RS Legacy Corporation fka RadioShack
Miramar, fl 33025                          9666      12/9/2015 Corporation                                                     $47.13                                                                                           $47.13
Larry Bossone
27 Bodine Rd.                                                  RS Legacy Corporation fka RadioShack
Berwyn, PA 19312                           9667      12/9/2015 Corporation                                                     $24.00                                                                                           $24.00
Chris Garnett
141 E Davis Blvd. Apt. 105                                     RS Legacy Corporation fka RadioShack
Tampa, FL 33606                            9668      12/9/2015 Corporation                                                      $0.00                                                                                            $0.00
McClanahan, Jenette
241 Middle Street                                              RS Legacy Corporation fka RadioShack
New Castle, VA 24127                       9669      12/7/2015 Corporation                                                                                                             $163.50                                 $163.50
Corbett, Glen P
20 West Albany St                                              RS Legacy Corporation fka RadioShack
South Huntington, NY 11746                 9670      12/7/2015 Corporation                                                     $50.00                                                                                           $50.00
Steve Rogers
5923 Fishhawk Crosing Blvd                                     RS Legacy Corporation fka RadioShack
Lithia, FL 33547                           9671      12/9/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Rajni Parashar
1832 N Greenleese Dr                                           RS Legacy Corporation fka RadioShack
Frederick, MD 21701                        9672      12/9/2015 Corporation                                                      $10.00                                                                                           $10.00
Tribe, Gerry M.
3118 Willow Creek Ln                                           RS Legacy Corporation fka RadioShack
Katy, TX 77494                             9673      12/7/2015 Corporation                                                      $43.29                                                                                           $43.29
Berry, Ruth
160 Wilson Ave                                                 RS Legacy Corporation fka RadioShack
Warwick, RI 02889                          9674      12/7/2015 Corporation                                                       $0.00                                                                                            $0.00
Lee Way
20237 SW Tawakoni rd                                           RS Legacy Corporation fka RadioShack
Douglass, KS 67039                         9675      12/9/2015 Corporation                                                      $45.75                                                                                           $45.75
Rajni Parashar
1832 N Greenleese Dr                                           RS Legacy Corporation fka RadioShack
Frederick, MD 21701                        9676      12/9/2015 Corporation                                                      $10.00                                                                                           $10.00
Abigail Wright
252 Meadowlark St.                                             RS Legacy Corporation fka RadioShack
Highlandville, MO 65669                    9677      12/9/2015 Corporation                                                      $12.82                                                                                           $12.82
Kerrigan, Nancy
3590 S. Vista Place                                            RS Legacy Corporation fka RadioShack
Chandler, AZ 85248                         9678      12/7/2015 Corporation                                                     $125.00                                                                                          $125.00
Zender, Angela
43027 Hillcrest                                                RS Legacy Corporation fka RadioShack
Sterling Heights, MI 48313                 9679      12/7/2015 Corporation                                                      $25.00                                                                                           $25.00
Ohio Edison Company
John M. Craig
Law Firm of Russell R. Johnson III PLC
2257 Wheatlands Drive                                          RS Legacy Corporation fka RadioShack
Manakin‐Sabot, VA 23103                    9680      12/7/2015 Corporation                                                                                                                              $1,152.04             $1,152.04
Green, Jeff
430 S. Roberts Dr. Apt. 128                                     RS Legacy Corporation fka RadioShack
Prestonsburg, KY 41653                     9681      11/25/2015 Corporation                                                     $79.99                                                                                           $79.99
Prasad, Suma
1402 East Braymore Circle                                       RS Legacy Corporation fka RadioShack
Naperville, IL 60564                       9682      11/25/2015 Corporation                                                     $48.00                                                                                           $48.00
Verbatim Americas LLC
1200 West W.T. Harris Blvd                                      RS Legacy Corporation fka RadioShack
Charlotte, NC 28262                        9683      11/24/2015 Corporation                                               $250,700.97                                                                                       $250,700.97
Robert McGowan
23 Calvert Lane                                                RS Legacy Corporation fka RadioShack
Lumberton, NJ 08048                        9684      12/9/2015 Corporation                                                      $50.00                                                                                           $50.00
Shahriar Mahmud
15 Capella Rd                                                  RS Legacy Corporation fka RadioShack
Turnersville, NJ 08012                     9685      12/9/2015 Corporation                                                       $0.00                                                                                            $0.00
Shahriar Mahmud
15 Capella Rd                                                  RS Legacy Corporation fka RadioShack
Turnersville, NJ 08012                     9686      12/9/2015 Corporation                                                       $0.00                                                                                            $0.00
Grupper, Jonathan
33 Marquette Road                                               RS Legacy Corporation fka RadioShack
Montclair, NJ 07043                        9687      11/24/2015 Corporation                                                                                                              $42.79                                  $42.79




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                                                                                                                                             Claim Amount         Claim Amount                         Priority Amount         Amount
                                                                                                                          Amount                                                       Amount
Simpkins, Bernice
3110 20th St SE                                                    RS Legacy Corporation fka RadioShack
Washington, DC 20020                          9688      11/24/2015 Corporation                                                      $9.53                                                                                              $9.53
36 East 23rd St. Associates, LLC
Mr. Daniel Wiener
PO Box 450 / Suite 218                                             RS Legacy Corporation fka RadioShack
Valley Stream, NY 11582                       9689      11/24/2015 Corporation                                               $292,743.51            $14,915.72                                                                   $307,659.23
Cohen, Edward
277 Closter Dock Road
Suite 6                                                            RS Legacy Corporation fka RadioShack
Closter, NJ 07624                             9690      11/23/2015 Corporation                                                      $0.00                                                                                              $0.00
French, Dena
7858 Kilgore road                                                  RS Legacy Corporation fka RadioShack
Avoca, MI 48006                               9691      11/23/2015 Corporation                                                     $39.99                                                                                             $39.99
Hays, Daleshwari
23 Hartswood Road                                                  RS Legacy Corporation fka RadioShack
Stamford, CT 06905                            9692      11/23/2015 Corporation                                                    $465.94                                                                                            $465.94
SECRETARY OF THE TREASURY PUERTO RICO
PO BOX 70125                                                       RS Legacy Corporation fka RadioShack
SAN JUAN, PR 00936‐8125                       9693      11/23/2015 Corporation                                                                     $205,709.42                                                                   $205,709.42
Kwon, Sung Joo
947 S. Hoover St. #809                                             RS Legacy Global Sourcing Corporation fka
Los Angeles, CA 90006                         9694      11/23/2015 RadioShack Global Sourcing Corporation                          $38.05                                                                                             $38.05
Department of Treasury Bankruptcy Section
PO Box 9024140
Office 424‐B                                                       RS Legacy Corporation fka RadioShack
San Juan, PR 00902‐4140                       9695      11/23/2015 Corporation                                                                                                                                   $0.00                 $0.00
Department of Treasury
Bankruptcy Section
PO Box 9024140
Office 424‐B                                                       RS Legacy Corporation fka RadioShack
San Juan, PR 00902‐4140                       9696      11/23/2015 Corporation                                               $252,257.37      $1,032,537.63                                                                    $1,284,795.00
Adams, Kendall E.
848 Old Reading Rd.                                                RS Legacy Corporation fka RadioShack
Catawissa, PA 17820                           9697      11/19/2015 Corporation                                                    $175.00                                                                                            $175.00
Boyd, Cortni A.
24775 Judy Ln                                                      RS Legacy Corporation fka RadioShack
Monroe, OR 97456                              9698      11/19/2015 Corporation                                                                           $0.00                                                                         $0.00
INDIAN RIVER COUNTY TAX COLLECTOR
ATTN: BANKRUPTCY DEPARTMENT
PO BOX 1509                                                        RS Legacy Corporation fka RadioShack
VERO BEACH, FL 32961‐1509                     9699      11/17/2015 Corporation                                                                                            $61.43                                                      $61.43
FED ID#53‐0127880 Potomac Electric Power
Company
Pepco
PO Box 97274                                                       RS Legacy Corporation fka RadioShack
Washington, DC 20090‐7274                     9700      11/16/2015 Corporation                                                    $607.57                                                                                            $607.57
Jeff Wangen
605 Schroeder Drive                                               RS Legacy Corporation fka RadioShack
Grand Forks, ND 58201                         9701      12/9/2015 Corporation                                                      $20.00                                                                                             $20.00




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            Creditor Name and Address       Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                          Amount                                                     Amount
Dennis Schuring
3806 Greenview Drive                                              RS Legacy Corporation fka RadioShack
Urbandale, Iowa 50322                         9702      12/9/2015 Corporation                                                      $20.00                                                                                           $20.00
Potomac Electric Power Company
PO Box 97274                                                       RS Legacy Corporation fka RadioShack
Washington, DC 20090‐7274                     9703      11/16/2015 Corporation                                                    $524.40                                                                                          $524.40
Fed ID #53‐0127880 Potomac Electric Power
Company
PEPCO
PO BOX 97274                                                       RS Legacy Corporation fka RadioShack
WASHINGTON, DC 20090‐7274                     9704      11/16/2015 Corporation                                                    $417.32                                                                                          $417.32
Philip Rozewicz
2926 Spurlock Street                                              RS Legacy Corporation fka RadioShack
Dallas, TX 75223                              9705      12/9/2015 Corporation                                                      $48.09                                                                                           $48.09
FED ID #53‐0127880 POTOMAC ELECTRIC POWER
COMPANY
PEPCO
PO BOX 97274                                                       RS Legacy Corporation fka RadioShack
WASHINGTON, DC 20090‐7274                     9706      11/16/2015 Corporation                                                  $2,434.10                                                                                        $2,434.10
Fed ID #53‐0127880 Potomac Electric Power
Company
Pepco
PO Box 97274                                                       RS Legacy Corporation fka RadioShack
Washington, DC 20090‐7274                     9707      11/16/2015 Corporation                                                  $2,184.70                                                                                        $2,184.70
FED ID #53‐0127880 Potomac Electric Power
Company
PEPCO
PO BOX 97274                                                       RS Legacy Corporation fka RadioShack
WASHINGTON, DC 20090‐7274                     9708      11/16/2015 Corporation                                                  $1,003.47                                                                                        $1,003.47
Fed ID #53‐0127880 Potomac Electric Power
Company
PEPCO
PO BOX 97274                                                       RS Legacy Corporation fka RadioShack
WASHINGTON, DC 20090‐7274                     9709      11/16/2015 Corporation                                                  $1,151.93                                                                                        $1,151.93
FED ID #53‐0127880 Potomac Electric Power
Company
Pepco
PO Box 97274                                                       RS Legacy Corporation fka RadioShack
Washington, DC 20090‐7274                     9710      11/16/2015 Corporation                                                  $1,906.20                                                                                        $1,906.20
FED ID #53‐0127880 Potomac Electric Power
Company
Pepco
PO Box 97274                                                       RS Legacy Corporation fka RadioShack
Washington, DC 20090‐7274                     9711      11/16/2015 Corporation                                                  $1,136.55                                                                                        $1,136.55
Fed ID #53‐0127880 Potomac Electric Power
Company
PEPCO
PO BOX 97274                                                       RS Legacy Corporation fka RadioShack
WASHINGTON, DC 20090‐7274                     9712      11/16/2015 Corporation                                                    $902.90                                                                                          $902.90




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                                                                                                                       Current General                                            Current 503(b)(9)
                                                                                                                                             Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address        Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
Fed ID #53‐0127880 Potomac Electric Power
Company
Pepco
PO Box 97274                                                        RS Legacy Corporation fka RadioShack
Washington, DC 20090‐7274                      9713      11/16/2015 Corporation                                                    $657.84                                                                                          $657.84
Fed ID #53‐0127880 Potomac Electric Power
Company
Pepco
PO Box 97274                                                        RS Legacy Corporation fka RadioShack
Washington, DC 20090‐7274                      9714      11/16/2015 Corporation                                                    $535.89                                                                                          $535.89
Fed ID #53‐0127880 Potomac Electric Power
Company
Pepco
PO Box 97274                                                        RS Legacy Corporation fka RadioShack
Washington, DC 20090‐7274                      9715      11/16/2015 Corporation                                                    $709.93                                                                                          $709.93
Fed ID #53‐0127880 Potomac Electric Power
Company
Pepco
PO Box 97274                                                        RS Legacy Corporation fka RadioShack
Washington, DC 20090‐7274                      9716      11/16/2015 Corporation                                                    $396.74                                                                                          $396.74
FED ID #53‐0127880 POTOMAC ELECTRIC POWER
COMPANY
PEPCO
PO BOX 97274                                                        RS Legacy Corporation fka RadioShack
Washington, DC 20090‐7274                      9717      11/16/2015 Corporation                                                  $1,755.23                                                                                        $1,755.23
FED ID #53‐0127880 POTOMAC ELECTRIC POWEER
COMPANY
PEPCO
PO Box 97274                                                        RS Legacy Corporation fka RadioShack
Washington, DC 20090‐7274                      9718      11/16/2015 Corporation                                                  $1,118.09                                                                                        $1,118.09
Heather Pellegrini
11 Clinton Stree                                                   RS Legacy Corporation fka RadioShack
Hopkinton, MA 01748                            9719      12/9/2015 Corporation                                                      $25.00                                                                                           $25.00
Howard Boyer
528 Albermarle Road                                                RS Legacy Corporation fka RadioShack
Brick, NJ 08724                                9720      12/9/2015 Corporation                                                     $100.00                                                                                          $100.00
Aida Feesago
PO Box 6591                                                        RS Legacy Corporation fka RadioShack
Alhambra, CA 91802                             9721      12/9/2015 Corporation                                                       $8.87                                                                                            $8.87
leyla spears
2539 wrencrest cir                                                 RS Legacy Corporation fka RadioShack
valrico, fl 33596                              9722      12/9/2015 Corporation                                                      $20.00                                                                                           $20.00
shayne feinberg
913 channing rd                                                    RS Legacy Corporation fka RadioShack
far rockaway, ny 11691                         9723      12/9/2015 Corporation                                                       $0.00                                                                                            $0.00
Christine Wordlaw
3004 Alister St                                                    RS Legacy Corporation fka RadioShack
Dallas, tx 75229                               9724      12/9/2015 Corporation                                                       $8.77                                                                                            $8.77
Aida Feesago
PO Box 6591                                                        RS Legacy Corporation fka RadioShack
Alhambra, CA 91802                             9725      12/9/2015 Corporation                                                      $35.42                                                                                           $35.42




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                                                                                                                            Current General                                            Current 503(b)(9)
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            Creditor Name and Address             Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
Gina Park
26 Wild Rose Place                                                      RS Legacy Corporation fka RadioShack
Aliso Viejo, CA 92656                               9726      12/9/2015 Corporation                                                       $0.00                                                                                            $0.00
Maria Fernanda Hernandez
2733 Kendall crossing                                                   RS Legacy Corporation fka RadioShack
Jhonsburg, Illinois 60051                           9727      12/9/2015 Corporation                                                      $50.00                                                                                           $50.00
Tyler Gebert
955 S. 350 W.                                                           RS Legacy Corporation fka RadioShack
Salem, Utah 84653                                   9728      12/9/2015 Corporation                                                      $50.00                                                                                           $50.00
David Schirmer
1018 Aaron Rd.                                                          RS Legacy Corporation fka RadioShack
Summerville, PA 15864                               9729      12/9/2015 Corporation                                                       $0.00                                                                                            $0.00
OCW Retail‐Dedham, LLC
Cross & Simon, LLC
Joseph Grey
1105 Market Street, Suite 901                                            RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                                9730      11/12/2015 Corporation                                                                                                                             $8,838.41             $8,838.41
Jessica Faraci
241 Smith Ridge Road                                                    RS Legacy Corporation fka RadioShack
South Salem, NY 10590                               9731      12/9/2015 Corporation                                                     $100.00                                                                                          $100.00
OCW Retail‐Belmont, LLC
Cross & Simon, LLC
Joseph Grey (DE Bar No. 2358)
1105 Market Street, Suite 901                                            RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                                9732      11/12/2015 Corporation                                                                                                                             $2,509.44             $2,509.44
Massachusetts Department of Revenue, Litigation
Bureau, Bankruptcy Unit
100 Cambridge Street
7th Floor                                                                RS Legacy Corporation fka RadioShack
Boston, MA 02114                                    9733      11/16/2015 Corporation                                                                                                                             $3,238.43             $3,238.43
Diaz, Elizabeth
1020 Tyson Ave                                                           RS Legacy Customer Service LLC fka RadioShack
Philadelphia, PA 19111                              9734      11/13/2015 Customer Service LLC                                           $145.00                                                                                          $145.00
lashaunda parker
1231 s.winnebago                                                        RS Legacy Corporation fka RadioShack
Rockford, il 61102                                  9735      12/9/2015 Corporation                                                     $200.00                                                                                          $200.00
Spiess, Brian
45 West Villa Place                                                     RS Legacy Corporation fka RadioShack
Fort Thomas, KY 41075                               9736      12/9/2015 Corporation                                                      $20.00                                                                                           $20.00
Spitzer, Jason
1910 Rustic Way                                                         RS Legacy Corporation fka RadioShack
Waukesha, WI 53186                                  9737      12/8/2015 Corporation                                                      $20.64                                                                                           $20.64
Eggert, Mark
250 East Avenue R
Unit M78                                                                RS Legacy Corporation fka RadioShack
Palmdale, CA 93550                                  9738      12/8/2015 Corporation                                                   $1,528.64              $0.00                                                                     $1,528.64
Zukunft, Michael
9268 Grinnell St                                                        RS Legacy Corporation fka RadioShack
Indianapolis, IN 46268‐3243                         9739      12/8/2015 Corporation                                                                        $14.23                                                                         $14.23




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            Creditor Name and Address         Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
Jersey Central Power & Light Company
Law Firm of Russell R. Johnson III PLC
Attn: John M. Craig
2258 Wheatlands Drive                                               RS Legacy Corporation fka RadioShack
Manakin‐Sabot, VA 23103                         9740      12/7/2015 Corporation                                                                                                                                $221.30               $221.30
UNITED PARCEL SERVICE
c/o RMS (an iQor Company)
PO Box 361345                                                       RS Legacy Corporation fka RadioShack
Columbus, OH 43236                              9741      12/7/2015 Corporation                                                 $13,018.34                                                                                        $13,018.34
Merendino, Deborah
2436 Maple Avenue                                                   RS Legacy Corporation fka RadioShack
Seaford, NY 11783                               9742      12/8/2015 Corporation                                                      $65.00                                                                                           $65.00
The Stop & Shop Supermarket Company LLC
John C. La Liberte, Esq.
Sherin and Lodgen LLP
101 Federal Street                                                  RS Legacy Corporation fka RadioShack
Boston, MA 02110                                9743      12/7/2015 Corporation                                                                                                                                  $0.00                 $0.00
Guzman, Lourdes
133‐13 121st Street                                                 RS Legacy Corporation fka RadioShack
South Ozone Pk, NY 11420                        9744      12/8/2015 Corporation                                                      $32.65                                                                                           $32.65
Vallacchi, Carrie
2 Adams Pl                                                          RS Legacy Corporation fka RadioShack
Mendham, NJ 07945                               9745      12/8/2015 Corporation                                                      $32.39                                                                                           $32.39
Farnell, Candace
146 Valley Rd.                                                      RS Legacy Corporation fka RadioShack
North Branford, CT 06471                        9746      12/8/2015 Corporation                                                      $10.61                                                                                           $10.61
Ferguson, Holly
1300 Dutch Rd                                                       RS Legacy Corporation fka RadioShack
Suffolk, VA 23437                               9747      12/8/2015 Corporation                                                       $0.00                                                                                            $0.00
Zulewski, Deborah
6145 1st Ave No.                                                    RS Legacy Corporation fka RadioShack
St. Pete, FL 33710                              9748      12/8/2015 Corporation                                                      $25.00                                                                                           $25.00
Roberts, Laurel
702 N Hubbard Ave                                                   RS Legacy Corporation fka RadioShack
Yacolt, WA 98675                                9749      12/8/2015 Corporation                                                      $21.68                                                                                           $21.68
Roberts, Laurel
702 N Hubbard Ave                                                   RS Legacy Corporation fka RadioShack
Yacolt, WA 98675                                9750      12/8/2015 Corporation                                                      $19.57                                                                                           $19.57
The Cleveland Electric Illuminating Company
John M. Craig
Law Firm of Russell R. Johnson III PLC
2258 Wheatlands Drive                                               RS Legacy Corporation fka RadioShack
Manakin‐Sabot, VA 23103                         9751      12/7/2015 Corporation                                                     $306.26                                                                      $0.00               $306.26
Prow, Denise
51‐558 Kamehameha Highway                                           RS Legacy Corporation fka RadioShack
Kaaawa, HI 96730                                9752      12/8/2015 Corporation                                                       $0.00                                                                                            $0.00
Michael Musto
15 Paula Rd                                                          RS Legacy Corporation fka RadioShack
Brockton, MA 02302                              9753      12/10/2015 Corporation                                                     $50.00                                                                                           $50.00
Deborah Diemer
25819 W Grass Lake Rd                                                RS Legacy Corporation fka RadioShack
Antioch, IL 60002                               9754      12/10/2015 Corporation                                                     $32.10                                                                                           $32.10



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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Deborah Diemer
25819 W Grass Lake Rd                                           RS Legacy Corporation fka RadioShack
Antioch, IL 60002                          9755      12/10/2015 Corporation                                                     $32.10                                                                                           $32.10
Linda Handlon
3412 East Lovers Lane                                           RS Legacy Corporation fka RadioShack
Scottsburg, Indiana 47170                  9756      12/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Linda Handlon
3412 East Lovers Lane                                           RS Legacy Corporation fka RadioShack
Scottsburg, Indiana 47170                  9757      12/10/2015 Corporation                                                      $0.00                                                                                            $0.00
PW
1134 W Granada Blvd                                             RS Legacy Corporation fka RadioShack
Ormond Beach, FL 32174                     9758      12/10/2015 Corporation                                                      $0.00                                                                                            $0.00
PW
1134 W Granada Blvd                                             RS Legacy Corporation fka RadioShack
Ormond Beach, FL 32174                     9759      12/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Tiffini Stone
1080 Spruce Street Apt 3M                                       RS Legacy Corporation fka RadioShack
Riverside, CA 92507                        9760      12/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Tiffini Stone
1080 Spruce Street Apt 3M                                       RS Legacy Corporation fka RadioShack
Riverside, CA 92507                        9761      12/10/2015 Corporation                                                      $0.00                                                                                            $0.00
David Franklin
7211 Bobcat Trail Drive                                         RS Legacy Corporation fka RadioShack
Indianapolis, Indiana 46237                9762      12/10/2015 Corporation                                                     $30.00                                                                                           $30.00
David Franklin
7211 Bobcat Trail Drive                                         RS Legacy Corporation fka RadioShack
Indianapolis, Indiana 46237                9763      12/10/2015 Corporation                                                     $30.00                                                                                           $30.00
Michael Kitson
4518 NE Simpson St.                                             RS Legacy Corporation fka RadioShack
Portland, OR 97218                         9764      12/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Michael Kitson
4518 NE Simpson St.                                             RS Legacy Corporation fka RadioShack
Portland, OR 97218                         9765      12/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Dianne Ellison
710 Wyoming Street                                              RS Legacy Corporation fka RadioShack
Martinez, CA 94553                         9766      12/10/2015 Corporation                                                     $50.00                                                                                           $50.00
Dianne Ellison
710 Wyoming Street                                              RS Legacy Corporation fka RadioShack
Martinez, CA 94553                         9767      12/10/2015 Corporation                                                     $50.00                                                                                           $50.00
Alexandra Dillon
1202 W. 31st Street                                             RS Legacy Corporation fka RadioShack
Kearney, NE 68845                          9768      12/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Alexandra Dillon
1202 W. 31st Street                                             RS Legacy Corporation fka RadioShack
Kearney, NE 68845                          9769      12/10/2015 Corporation                                                      $0.00                                                                                            $0.00
tisha davis
Po box 470882                                                   RS Legacy Corporation fka RadioShack
la, ca 90047                               9770      12/10/2015 Corporation                                                      $0.00                                                                                            $0.00
tisha davis
Po box 470882                                                   RS Legacy Corporation fka RadioShack
la, ca 90047                               9771      12/10/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                   Current General                                            Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
PATRICK DIRUSSO
10040 eastern Lake Ave.                                         RS Legacy Corporation fka RadioShack
Orlando, FL 32817                          9772      12/10/2015 Corporation                                                      $0.00                                                                                            $0.00
PATRICK DIRUSSO
10040 eastern Lake Ave.                                         RS Legacy Corporation fka RadioShack
Orlando, FL 32817                          9773      12/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Eve Salstrom
PO Box 93                                                       RS Legacy Corporation fka RadioShack
St Mary of the Woods, IN 47876             9774      12/10/2015 Corporation                                                     $30.00                                                                                           $30.00
Eve Salstrom
PO Box 93                                                       RS Legacy Corporation fka RadioShack
St Mary of the Woods, IN 47876             9775      12/10/2015 Corporation                                                     $30.00                                                                                           $30.00
Nikki Williams
98 Melrose Drive                                                RS Legacy Corporation fka RadioShack
Destrehan, LA 70047                        9776      12/10/2015 Corporation                                                     $14.08                                                                                           $14.08
Nikki Williams
98 Melrose Drive                                                RS Legacy Corporation fka RadioShack
Destrehan, LA 70047                        9777      12/10/2015 Corporation                                                     $14.08                                                                                           $14.08
Marie Collins
12523 Bluestem Ln                                               RS Legacy Corporation fka RadioShack
Charlotte, NC 28277                        9778      12/10/2015 Corporation                                                     $37.54                                                                                           $37.54
Marie Collins
12523 Bluestem Ln                                               RS Legacy Corporation fka RadioShack
Charlotte, NC 28277                        9779      12/10/2015 Corporation                                                     $37.54                                                                                           $37.54
TRAVIS ROGERS
PO BOX 2032                                                     RS Legacy Corporation fka RadioShack
GARYVILLE, LA 70051                        9780      12/10/2015 Corporation                                                     $20.00                                                                                           $20.00
TRAVIS ROGERS
PO BOX 2032                                                     RS Legacy Corporation fka RadioShack
GARYVILLE, LA 70051                        9781      12/10/2015 Corporation                                                     $20.00                                                                                           $20.00
Anson robinson
8 ferdiand dr                                                   RS Legacy Corporation fka RadioShack
Fulton, Mo 65251                           9782      12/10/2015 Corporation                                                      $5.86                                                                                            $5.86
Douglas U. Gotschall
922 Clark Street                                                RS Legacy Corporation fka RadioShack
Cambridge, Ohio 43725                      9783      12/10/2015 Corporation                                                     $25.00                                                                                           $25.00
Cami Watkins
802 High Moore Rd.                                              RS Legacy Corporation fka RadioShack
London, KY 40741                           9784      12/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Vicky Castro
137 W. 42nd Place                                               RS Legacy Corporation fka RadioShack
Los Angeles, ca 90037                      9785      12/10/2015 Corporation                                                    $100.00                                                                                          $100.00
charles alp
5071 canterbury dr.                                             RS Legacy Corporation fka RadioShack
cypress, calif. 90630                      9786      12/10/2015 Corporation                                                     $10.00                                                                                           $10.00
Debra Givens
PO Box 5136                                                     RS Legacy Corporation fka RadioShack
Marysville, CA 95901                       9787      12/10/2015 Corporation                                                     $10.00                                                                                           $10.00
Owen Russell
1178 dorwinion dr                                               RS Legacy Corporation fka RadioShack
Jacksonville, fl 32225                     9788      12/10/2015 Corporation                                                     $30.00                                                                                           $30.00




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                                                                                                                   Current General                                            Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
PERRY HALKITIS
1722 KINGSLEY AVENU                                             RS Legacy Corporation fka RadioShack
AKRON, OHIO 44313‐6109                     9789      12/10/2015 Corporation                                                     $80.84                                                                                           $80.84
Robert Helman
15828 SE 326th St                                               RS Legacy Corporation fka RadioShack
Auburn, Wa 98092                           9790      12/10/2015 Corporation                                                     $25.00                                                                                           $25.00
PERRY HALKITIS
1722 KINGSLEY AVENUE                                            RS Legacy Corporation fka RadioShack
AKRON, OHIO 44313‐6109                     9791      12/10/2015 Corporation                                                      $7.97                                                                                            $7.97
Matthew B. Brement
206 W. Chestnut St                                              RS Legacy Corporation fka RadioShack
Rome, NY 13440                             9792      12/10/2015 Corporation                                                     $18.28                                                                                           $18.28
Cynthia Gwaro
63 West 119th St Apt 2                                          RS Legacy Corporation fka RadioShack
New York, NY 10026                         9793      12/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Johnny Green
300 Kirkstall Dr Apt 410                                        RS Legacy Corporation fka RadioShack
Houston, Texas 77090                       9794      12/10/2015 Corporation                                                      $6.48                                                                                            $6.48
Trish Cope
1B Carnegie Ave                                                 RS Legacy Corporation fka RadioShack
Cold Spring Harbor, NY 11724               9795      12/10/2015 Corporation                                                     $43.44                                                                                           $43.44
Melodie Rauhof
3104 merrick drive                                              RS Legacy Corporation fka RadioShack
Peachtree city, Ga 30269                   9796      12/10/2015 Corporation                                                     $20.00                                                                                           $20.00
Alex Lanphere
421 Calla Lily Lane                                             RS Legacy Corporation fka RadioShack
Norman, OK 73069                           9797      12/10/2015 Corporation                                                      $8.03                                                                                            $8.03
James
3115 Nantucket                                                  RS Legacy Corporation fka RadioShack
San Antonio, tx 78230                      9798      12/10/2015 Corporation                                                     $20.00                                                                                           $20.00
Courtney Clark
656 Middlesex Road                                              RS Legacy Corporation fka RadioShack
Essex, MD 21221                            9799      12/10/2015 Corporation                                                      $0.00                                                                                            $0.00
James Harper
7728 Tabeel Ter                                                 RS Legacy Corporation fka RadioShack
Powell, TN 37849                           9800      12/10/2015 Corporation                                                     $17.45                                                                                           $17.45
Greg Wilke
7813 Meadowcreek Dr.                                            RS Legacy Corporation fka RadioShack
Cincinnati, Ohio 45244                     9801      12/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Tony Navarro
932 Anderson wood way                                           RS Legacy Corporation fka RadioShack
rio linda, ca 95673                        9802      12/10/2015 Corporation                                                    $100.00                                                                                          $100.00
Hermann Fasel
1540 E Via Cotorra                                              RS Legacy Corporation fka RadioShack
Tucson, AZ 85718                           9803      12/10/2015 Corporation                                                    $152.73                                                                                          $152.73
Joseph Charles Becherer
11670 San Vicente Blvd Apt 112                                  RS Legacy Corporation fka RadioShack
Los Angeles, CA 90049                      9804      12/10/2015 Corporation                                                     $59.99                                                                                           $59.99
CBP Attn: Jennifer Jameson
1901 Cross Beam                                                 RS Legacy Corporation fka RadioShack
Charlotte, NC 28217                        9805      12/10/2015 Corporation                                                     $80.35                                                                                           $80.35




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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Bill Moody
250 Cabrini Blvd, apt 5H                                        RS Legacy Corporation fka RadioShack
New York, NY 10033                         9806      12/10/2015 Corporation                                                     $29.25                                                                                           $29.25
Rick Hluchan
3100 San Marino Dr                                              RS Legacy Corporation fka RadioShack
Odessa, TX 79765                           9807      12/10/2015 Corporation                                                      $6.48                                                                                            $6.48
Howard Adams
301 W Main St                                                   RS Legacy Corporation fka RadioShack
Greenfield, IN 46140                       9808      12/10/2015 Corporation                                                     $25.00                                                                                           $25.00
JINGJING ZHANG
336A ENDEAVOR PLACE                                             RS Legacy Corporation fka RadioShack
COLLEGE POINT, new york 11356              9809      12/10/2015 Corporation                                                     $45.61                                                                                           $45.61
Ashly Smith
305 Julia Dr                                                    RS Legacy Corporation fka RadioShack
Wilmington, NC 28412                       9810      12/10/2015 Corporation                                                     $25.00                                                                                           $25.00
Gray, Maya
87 Loughran Ave                                                RS Legacy Corporation fka RadioShack
Stamford, CT 06902‐1107                    9811      12/8/2015 Corporation                                                       $0.00                                                                                            $0.00
Bader, Mark
1304 Midland Ave #B38                                          RS Legacy Corporation fka RadioShack
Yonkers, NY 10704                          9812      12/8/2015 Corporation                                                      $69.22                                                                                           $69.22
Fulton County Tax Commissioner
141 Pryor St
Suite 1113                                                     RS Legacy Corporation fka RadioShack
Atlanta, GA 30303                          9813      12/9/2015 Corporation                                                                          $0.00                                                                         $0.00
Wechsler, Lawrence
5 Omni Court                                                   RS Legacy Corporation fka RadioShack
New City, NY 10956                         9814      12/8/2015 Corporation                                                      $10.00                                                                                           $10.00
Smith Jr, Henry
2371 Gaines Waterport Rd.                                      RS Legacy Corporation fka RadioShack
Albion, NY 14411                           9815      12/8/2015 Corporation                                                      $52.00                                                                                           $52.00
Ritchey, Linda J.
410 Cocklia St.                                                RS Legacy Corporation fka RadioShack
Mechanicsburg, PA 17055                    9816      12/8/2015 Corporation                                                      $25.00                                                                                           $25.00
Richie IV, Oscar
214 Chatham RD NE                                              RS Legacy Corporation fka RadioShack
Cedar Rapids, IA 52402                     9817      12/8/2015 Corporation                                                     $150.00                                                                                          $150.00
Guerra, Maria
1621 S. 29th. St.                                              RS Legacy Corporation fka RadioShack
McAllen, TX 78503                          9818      12/8/2015 Corporation                                                       $3.37                                                                                            $3.37
AEW LT Broomfield Town Centre LLC
c/o Weingarten Realty Investors
Christopher A. Young
1522 Blake Street, Suite 300                                   RS Legacy Corporation fka RadioShack
Denver, CO 80202                           9819      12/7/2015 Corporation                                                                                                                                  $0.00                 $0.00
SCOTT GROUNDS
5733 FAWN DRIVE                                                 RS Legacy Corporation fka RadioShack
SOUTHAVEN, MS 38672                        9820      12/10/2015 Corporation                                                     $20.00                                                                                           $20.00
James P. ERB, CPA
County Tax Collector
Room D‐290, County Government Center                           RS Legacy Corporation fka RadioShack
San Luis Obispo, CA 93408                  9821      12/7/2015 Corporation                                                                          $0.00                                                                         $0.00



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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
MUNICIPALITY OF RIO GRANDE
PO BOX 847                                                     RS Legacy Corporation fka RadioShack
RIO GRANDE, PR 00745‐0847                  9822      12/7/2015 Corporation                                                                      $1,583.54                                                                     $1,583.54
Pennsylvania Electric Company
John M. Craig
Law Firm of Russell R. Johnson III PLC
2258 Wheatlands Drive                                          RS Legacy Corporation fka RadioShack
Manakin‐Sabot, VA 23103                    9823      12/7/2015 Corporation                                                                                                                                $686.34               $686.34
Linda Wagner
30 Ellsworth lane                                               RS Legacy Corporation fka RadioShack
Canton, Ct 06019                           9824      12/10/2015 Corporation                                                     $10.00                                                                                           $10.00
Kojo Wright
3691 Heath Terce                                                RS Legacy Corporation fka RadioShack
Canal Winchester, OH ‐ Ohio 43110          9825      12/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Kojo Wright
3691 Heath Trce                                                 RS Legacy Corporation fka RadioShack
Canal Winchester, OH ‐ Ohio 43110          9826      12/10/2015 Corporation                                                     $20.00                                                                                           $20.00
Bobby Murphy
911 Beauty Rd                                                   RS Legacy Corporation fka RadioShack
Bethel Springs, TN 38315                   9827      12/10/2015 Corporation                                                     $37.44                                                                                           $37.44
Karen Whitman
743 18th Avenue                                                 RS Legacy Corporation fka RadioShack
Cumberland, WI 54829                       9828      12/10/2015 Corporation                                                      $9.94                                                                                            $9.94
ROHIT SHRESTHA
4849 W 118TH CT                                                 RS Legacy Corporation fka RadioShack
WESTMINSTER, CO 80031                      9829      12/10/2015 Corporation                                                    $100.00                                                                                          $100.00
Kam Nuon
29781 66th Way N                                                RS Legacy Corporation fka RadioShack
Clearwater, FL 33761                       9830      12/10/2015 Corporation                                                     $65.13                                                                                           $65.13
Marilyn Rubel
E 302 2401 Apple St                                             RS Legacy Corporation fka RadioShack
Boise, ID 83706                            9831      12/10/2015 Corporation                                                     $74.19                                                                                           $74.19
Nadia Miller
42 Fox Meadow Dr                                                RS Legacy Corporation fka RadioShack
Williamsville, NY 14221                    9832      12/10/2015 Corporation                                                     $25.00                                                                                           $25.00
Evann Peck
79 Wharton Row                                                  RS Legacy Corporation fka RadioShack
Groton, Ma 01450                           9833      12/10/2015 Corporation                                                     $20.00                                                                                           $20.00
Kirtna Pai
176 E. 71st St. Apt. #Ph‐B                                      RS Legacy Corporation fka RadioShack
New York, NY 10021                         9834      12/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Jennifer Hammock
102 i st                                                        RS Legacy Corporation fka RadioShack
anderson, sc 29625                         9835      12/10/2015 Corporation                                                      $0.00                                                                                            $0.00
christopher cocker
p o box 2422                                                    RS Legacy Corporation fka RadioShack
canyon country, ca 91386                   9836      12/10/2015 Corporation                                                     $50.00                                                                                           $50.00
Linda Harper
5 Butternut Street                                              RS Legacy Corporation fka RadioShack
Hudson, NH 03051                           9837      12/10/2015 Corporation                                                     $50.00                                                                                           $50.00




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                                                                                                                   Current General                                            Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Edward Hewitt
2608 Seminole Dr                                                RS Legacy Corporation fka RadioShack
Anderson, Indiana 46012                    9838      12/10/2015 Corporation                                                     $25.00                                                                                           $25.00
Anthony Mancina
29098 Baypointe                                                 RS Legacy Corporation fka RadioShack
Chesterfield, Michigan 48047               9839      12/10/2015 Corporation                                                     $40.00                                                                                           $40.00
Phyllis Harrington
385 Pinnacle Street                                             RS Legacy Corporation fka RadioShack
Tewksbury, MA 01876                        9840      12/10/2015 Corporation                                                     $42.00                                                                                           $42.00
Gurunanthan Palani
4307 Sonoma Dr                                                  RS Legacy Corporation fka RadioShack
Cedar Falls, Iowa 50613                    9841      12/10/2015 Corporation                                                     $20.84                                                                                           $20.84
Ernesto Melendez
6261 Eclipse Cir                                                RS Legacy Corporation fka RadioShack
Jacksonville, FL 32258                     9842      12/10/2015 Corporation                                                     $10.00                                                                                           $10.00
Alexander Polky
11 e gateway drive                                              RS Legacy Corporation fka RadioShack
terre haute, indiana 47802                 9843      12/10/2015 Corporation                                                     $18.73                                                                                           $18.73
Jennifer hill
1912 Reynolds rd.                                               RS Legacy Corporation fka RadioShack
Paragould, Ar 72450                        9844      12/10/2015 Corporation                                                     $50.00                                                                                           $50.00
Om Patel
704 Heath Place                                                 RS Legacy Corporation fka RadioShack
Smyrna, TN 37167                           9845      12/10/2015 Corporation                                                      $6.22                                                                                            $6.22
frank le
518. S Orange Ave ste C                                         RS Legacy Corporation fka RadioShack
monterey park, ca 91755                    9846      12/10/2015 Corporation                                                     $98.00                                                                                           $98.00
Braydan Beiswanger
9695 South 850 West                                             RS Legacy Corporation fka RadioShack
South Whitley, IN 46787                    9847      12/10/2015 Corporation                                                    $320.99                                                                                          $320.99
Sheri Houle
1 View St                                                       RS Legacy Corporation fka RadioShack
Dudley, Ma 01571                           9848      12/10/2015 Corporation                                                     $26.56                                                                                           $26.56
Linda McKenna
700 Starkey Road
Unit 212                                                        RS Legacy Corporation fka RadioShack
Largo, FL 33771                            9849      12/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Michelle Hang Bui
2505 Aspen Rd. Unit 10                                          RS Legacy Corporation fka RadioShack
Ames, IA 50010                             9850      12/10/2015 Corporation                                                     $36.49                                                                                           $36.49
Kathy Hilliard
4580 Via Corzo                                                  RS Legacy Corporation fka RadioShack
Yorba Linda, CA 92886                      9851      12/10/2015 Corporation                                                     $13.02                                                                                           $13.02
Lynn McHenry
2360 Turkey Hollow Rd                                           RS Legacy Corporation fka RadioShack
Baxter, TN 38544                           9852      12/10/2015 Corporation                                                     $61.62                                                                                           $61.62
Taylor Hukari
2295 Creighton Drive                                            RS Legacy Corporation fka RadioShack
Golden, CO 80401                           9853      12/10/2015 Corporation                                                     $21.66                                                                                           $21.66
Mike Albertini
421 Redstart Road                                               RS Legacy Corporation fka RadioShack
Naperville, IL 60565                       9854      12/10/2015 Corporation                                                      $0.00                                                                                            $0.00



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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Robert Barker
211 Parkway                                                     RS Legacy Corporation fka RadioShack
Harrington Park, NJ 07640                  9855      12/10/2015 Corporation                                                      $6.39                                                                                            $6.39
Greg Pierce
1960 Box House Rd                                               RS Legacy Corporation fka RadioShack
Lytle, Texas 78052                         9856      12/10/2015 Corporation                                                    $160.00                                                                                          $160.00
The Dominion East Ohio Gas Company
John M. Craig
Law Firm of Russell R. Johnson III PLC
2258 Wheatlands Drive                                          RS Legacy Corporation fka RadioShack
Manakin‐Sabot, VA 23103                    9857      12/7/2015 Corporation                                                                                                                                 $12.87                $12.87
Lin Winterowd
207 Trentt Drive                                                RS Legacy Corporation fka RadioShack
Batavia, IL 60510                          9858      12/10/2015 Corporation                                                     $50.00                                                                                           $50.00
Lori McDiarmid
2243 Waterford Way NE                                           RS Legacy Corporation fka RadioShack
Grand Rapids, Michigan 49525               9859      12/10/2015 Corporation                                                     $42.39                                                                                           $42.39
Carolyn L Carter
PO Box 1019                                                     RS Legacy Corporation fka RadioShack
Centralia, WA 98531                        9860      12/10/2015 Corporation                                                     $20.00                                                                                           $20.00
Maurice Robinson
1020 Ridgeway Avenue, Apt 11                                    RS Legacy Corporation fka RadioShack
Rochester, NY 14615                        9861      12/10/2015 Corporation                                                     $50.00                                                                                           $50.00
Nunez, Victor
3108 Saints Marys st                                            RS Legacy Corporation fka RadioShack
Bakersfield, CA 93305                      9862      12/10/2015 Corporation                                                  $1,579.40              $0.00                                                                     $1,579.40
Acevedo, Kelvin R
107 Anderson Ave.                                               RS Legacy Corporation fka RadioShack
Bergenfield, NJ 07621                      9863      12/10/2015 Corporation                                                                                          $92.00                                                      $92.00
Xian Lu
20875 E Girard Pl                                               RS Legacy Corporation fka RadioShack
Aurora, CO 80013‐8947                      9864      12/10/2015 Corporation                                                      $5.00                                                                                            $5.00
Brenda Wilson
807 Maple Street                                                RS Legacy Corporation fka RadioShack
Amory, MS 38821                            9865      12/10/2015 Corporation                                                     $23.58                                                                                           $23.58
Christopher Zanini
7112 Alward Road                                                RS Legacy Corporation fka RadioShack
Shingletown, California 96088‐9562         9866      12/10/2015 Corporation                                                     $11.26                                                                                           $11.26
Yadira arreola
24632 waterson ct                                               RS Legacy Corporation fka RadioShack
Hayward, Ca 94544                          9867      12/10/2015 Corporation                                                     $10.00                                                                                           $10.00
EUGENIO ROBERTO COCO
9501 AURORA AVENUE                                              RS Legacy Corporation fka RadioShack
URBANDALE, IOWA 50322‐1459                 9868      12/10/2015 Corporation                                                      $0.00                                                                                            $0.00
kayla golack
3398 pike street                                                RS Legacy Corporation fka RadioShack
herminie, pa 15637                         9869      12/11/2015 Corporation                                                      $8.38                                                                                            $8.38
Debbie Belloni
651 pilgrim Drive                                               RS Legacy Corporation fka RadioShack
Foster City, Ca 94404                      9870      12/11/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Jeff Buss
4307 Patrice Road                                               RS Legacy Corporation fka RadioShack
Newport Beach, CA 92663                    9871      12/11/2015 Corporation                                                      $0.00                                                                                            $0.00
Jeffrey uy
Hc1 box 5128                                                    RS Legacy Corporation fka RadioShack
Keaau, Hi 96749                            9872      12/11/2015 Corporation                                                     $25.00                                                                                           $25.00
Mildryn Uy
29641 S Western Avenue Unit 108                                 RS Legacy Corporation fka RadioShack
Rancho Palos Verdes, CA 90275              9873      12/11/2015 Corporation                                                     $25.00                                                                                           $25.00
Sheryl uy
Hc1 box 5128                                                    RS Legacy Corporation fka RadioShack
Keaau, Hi 96749                            9874      12/11/2015 Corporation                                                     $25.00                                                                                           $25.00
Jerome Cech
541 Westwind drive                                              RS Legacy Corporation fka RadioShack
Berwyn, PA 19312                           9875      12/11/2015 Corporation                                                      $0.00                                                                                            $0.00
toni hawkins
10176 shenandoah path                                           RS Legacy Corporation fka RadioShack
catlett, va 20119                          9876      12/11/2015 Corporation                                                     $50.00                                                                                           $50.00
Bill Biros
741 Woodfern Drive                                              RS Legacy Corporation fka RadioShack
Pingree Grove, IL 60140                    9877      12/11/2015 Corporation                                                     $12.90                                                                                           $12.90
kimi ho
8541 EMERSON CIR APT3                                           RS Legacy Corporation fka RadioShack
GARDEN GROVE, CA 92844                     9878      12/11/2015 Corporation                                                     $60.00                                                                                           $60.00
Khaliah Gray
Khaliahgray@gmail.com                                           RS Legacy Corporation fka RadioShack
Madison, TN 37115                          9879      12/11/2015 Corporation                                                      $0.00                                                                                            $0.00
stanley Kapinos
8145 Cyprus Cedar Lane Unit R                                   RS Legacy Corporation fka RadioShack
Ellicott City, Md. 21043                   9880      12/11/2015 Corporation                                                      $0.00                                                                                            $0.00
Peggy Cochran
305 Glenmore St                                                 RS Legacy Corporation fka RadioShack
Lower Burrell, PA 15068                    9881      12/11/2015 Corporation                                                      $0.00                                                                                            $0.00
Anita Owens
2108 Buell Dr                                                   RS Legacy Corporation fka RadioShack
Fallston, Md 21047                         9882      12/11/2015 Corporation                                                     $25.31                                                                                           $25.31
Sheri Pitts
3202 Highland Drive                                             RS Legacy Corporation fka RadioShack
Enid, ok 73701                             9883      12/11/2015 Corporation                                                     $10.00                                                                                           $10.00
Jennifer gholson
310 merritt ave #A                                              RS Legacy Corporation fka RadioShack
Oshkosh, Wi 54901                          9884      12/11/2015 Corporation                                                      $0.00                                                                                            $0.00
Jennifer gholson
310 merritt ave #A                                              RS Legacy Corporation fka RadioShack
Oshkosh, Wi 54901                          9885      12/11/2015 Corporation                                                      $0.00                                                                                            $0.00
Crystal Workman
P.O. Box 413/402 Granny Mae Rd.                                 RS Legacy Corporation fka RadioShack
Bolt, WV 25817                             9886      12/11/2015 Corporation                                                     $12.07                                                                                           $12.07
Vaughn McCamy
2930 18th Ave North                                             RS Legacy Corporation fka RadioShack
Texas City, Tx 77590                       9887      12/11/2015 Corporation                                                     $50.00                                                                                           $50.00




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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Scott Braid
102 SE 10th Ct.                                                 RS Legacy Corporation fka RadioShack
Deerfield Beach, FL 33441                  9888      12/11/2015 Corporation                                                     $34.11                                                                                           $34.11
Susan Wierzbicki
38 Woodlund Avenue                                              RS Legacy Corporation fka RadioShack
Westerly, RI 02891                         9889      12/11/2015 Corporation                                                      $0.00                                                                                            $0.00
Janet McQuaid
142 Redwood Drive                                               RS Legacy Corporation fka RadioShack
Venetia, PA 15367                          9890      12/11/2015 Corporation                                                      $0.00                                                                                            $0.00
Michelle Mullen
907 Woodland Avenue                                             RS Legacy Corporation fka RadioShack
Oakmont, PA 15139, 15139 Oakmont PA        9891      12/11/2015 Corporation                                                     $50.00                                                                                           $50.00
Robin Owens
117 Altra Drive                                                 RS Legacy Corporation fka RadioShack
Clarksville, IN 47129‐2219                 9892      12/11/2015 Corporation                                                     $50.00                                                                                           $50.00
Jennifer Yates
10225 Caminito Cuervo Unit 136                                  RS Legacy Corporation fka RadioShack
San Diego, CA 92108                        9893      12/11/2015 Corporation                                                     $50.00                                                                                           $50.00
VERTA CAVANAUGH
3931 BROOK GARDEN LANE                                          RS Legacy Corporation fka RadioShack
KATY, TX 77449                             9894      12/11/2015 Corporation                                                    $100.00                                                                                          $100.00
William Donarski
3831 W Anchor Dr                                                RS Legacy Corporation fka RadioShack
Peoria, IL 61615                           9895      12/11/2015 Corporation                                                      $0.00                                                                                            $0.00
mike cosar
125 sunset cir                                                  RS Legacy Corporation fka RadioShack
liitle falls ny, ny 13365                  9896      12/11/2015 Corporation                                                      $0.00                                                                                            $0.00
Sandra Brown
404 S Robinson Ave                                              RS Legacy Corporation fka RadioShack
Mangum, OK 73554                           9897      12/11/2015 Corporation                                                    $108.00                                                                                          $108.00
Michael Deutsch
7106 Goldcris Ln                                                RS Legacy Corporation fka RadioShack
Northampton, Pa 18067                      9898      12/11/2015 Corporation                                                      $0.00                                                                                            $0.00
Amy McCord
7140 Bohuslav Rd.                                               RS Legacy Corporation fka RadioShack
La Grange, TX 78945                        9899      12/11/2015 Corporation                                                      $0.00                                                                                            $0.00
Cody Turgeon
10356 BRODHEAD RD                                               RS Legacy Corporation fka RadioShack
GROSSE ILE, MI 48138                       9900      12/11/2015 Corporation                                                     $10.20                                                                                           $10.20
YOUMING LI
3618 ALLENDALE CIRCLE                                           RS Legacy Corporation fka RadioShack
PITTSBURGH, PA 15204                       9901      12/11/2015 Corporation                                                     $77.09                                                                                           $77.09
Minh Vo
10492 Harvest View way                                          RS Legacy Corporation fka RadioShack
San Diego, CA 92128                        9902      12/11/2015 Corporation                                                     $38.54                                                                                           $38.54
Kathleen Sipes
211 Myers Road                                                  RS Legacy Corporation fka RadioShack
Vandergrift, PA 15690                      9903      12/11/2015 Corporation                                                     $25.00                                                                                           $25.00
richard rose
8313 bayside road                                               RS Legacy Corporation fka RadioShack
chesapeake beach, md 20732                 9904      12/11/2015 Corporation                                                     $21.39                                                                                           $21.39




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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
John Zagorski
1221 Mowry St                                                   RS Legacy Corporation fka RadioShack
Old Forge, PA 18518                        9905      12/11/2015 Corporation                                                     $50.00                                                                                           $50.00
Tam Nguyen
8148 Laguna Brook Way                                           RS Legacy Corporation fka RadioShack
Elk Grove, CA 95758                        9906      12/11/2015 Corporation                                                      $0.00                                                                                            $0.00
Dane Hartman
1100 SE 11th Pt                                                 RS Legacy Corporation fka RadioShack
Lees Summit, MO 64081                      9907      12/11/2015 Corporation                                                      $2.40                                                                                            $2.40
Adil Memon
711 FM 1959 Rd Apt # 408                                        RS Legacy Corporation fka RadioShack
Houston, Texas 77034                       9908      12/11/2015 Corporation                                                     $50.00                                                                                           $50.00
Kathy A. Pyke
3115 Thunderbird Cir                                            RS Legacy Corporation fka RadioShack
HAYS, KS 67601‐1426                        9909      12/11/2015 Corporation                                                     $17.60                                                                                           $17.60
Mark Simonich
4530 Chevron Dr.                                                RS Legacy Corporation fka RadioShack
HIGHLAND, MI 48356                         9910      12/12/2015 Corporation                                                    $100.00                                                                                          $100.00
Cynthia Cicchetti
174 Velma Ave                                                   RS Legacy Corporation fka RadioShack
Pittsfield, MA 01201                       9911      12/12/2015 Corporation                                                     $50.00                                                                                           $50.00
Andre Cheese
2508 E 13th st                                                  RS Legacy Corporation fka RadioShack
Texarkana, AR 71854                        9912      12/12/2015 Corporation                                                     $50.00                                                                                           $50.00
Jaynard G Quirante
4119 Palm Ave                                                   RS Legacy Corporation fka RadioShack
San Diego, CA 92154                        9913      12/12/2015 Corporation                                                    $100.00                                                                                          $100.00
meyer lewin
1741 kilbourne pl nw                                            RS Legacy Corporation fka RadioShack
washing, dc 20010                          9914      12/12/2015 Corporation                                                     $35.00                                                                                           $35.00
Margaret Morrell
692 SW 159th Drive                                              RS Legacy Corporation fka RadioShack
Pembroke Pines, FL 33027                   9915      12/12/2015 Corporation                                                    $100.00                                                                                          $100.00
Dianne Buirge
904 Rosalind Road                                               RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15237                       9916      12/12/2015 Corporation                                                     $21.39                                                                                           $21.39
Veronica Arellano
1614 w 208th St.                                                RS Legacy Corporation fka RadioShack
Torrance, CA 90501                         9917      12/12/2015 Corporation                                                     $40.33                                                                                           $40.33
Kenneth Hung
17 Andrew Ln                                                    RS Legacy Corporation fka RadioShack
Windsor, Ct 06095                          9918      12/12/2015 Corporation                                                    $100.00                                                                                          $100.00
Diane Rimmer
4844 Haleville Rd                                               RS Legacy Corporation fka RadioShack
Memphis, TN 38116                          9919      12/12/2015 Corporation                                                      $1.96                                                                                            $1.96
malachi trester
375 old hwy road                                                RS Legacy Corporation fka RadioShack
dallas, pa 18612                           9920      12/12/2015 Corporation                                                      $0.00                                                                                            $0.00
Raymond Crawford
16425 Wintun Rd                                                 RS Legacy Corporation fka RadioShack
Apple Valley, CA 92307                     9921      12/12/2015 Corporation                                                     $25.00                                                                                           $25.00




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                                                                                                                       Amount                                                     Amount
Thomas Johnston
125 Everett Ave. W.                                             RS Legacy Corporation fka RadioShack
Saraland, Al 36571                         9922      12/12/2015 Corporation                                                      $0.00                                                                                            $0.00
Tyneeka Rice
4989 Columbia RD Apt 302                                        RS Legacy Corporation fka RadioShack
Columbia, MD 21044                         9923      12/12/2015 Corporation                                                    $250.00                                                                                          $250.00
Kimberly Hatfield
900 Adanka Lane                                                 RS Legacy Corporation fka RadioShack
Virginia Beach, VA 23451                   9924      12/12/2015 Corporation                                                     $20.00                                                                                           $20.00
Brett Mirsky
1225 Edna Drive                                                 RS Legacy Corporation fka RadioShack
Port Orange, FL 32129                      9925      12/12/2015 Corporation                                                     $17.41                                                                                           $17.41
Logan King
100 Buddy Blvd                                                  RS Legacy Corporation fka RadioShack
McDonough, GA 30252                        9926      12/12/2015 Corporation                                                     $33.52                                                                                           $33.52
David M Hinkle
1663 Commonwealth Avenue                                        RS Legacy Corporation fka RadioShack
West Newton, MA 02465                      9927      12/12/2015 Corporation                                                    $100.00                                                                                          $100.00
Gary Nichols
225 Maureen Ave                                                 RS Legacy Corporation fka RadioShack
Merritt Island, FL 32953                   9928      12/12/2015 Corporation                                                    $100.00                                                                                          $100.00
Anne‐Marie Herrick
104 Brookline Avenue                                            RS Legacy Corporation fka RadioShack
Albany, NY 12203                           9929      12/12/2015 Corporation                                                     $31.35                                                                                           $31.35
Rhonda Jablonski
120 N. Ronda Road                                               RS Legacy Corporation fka RadioShack
McHenry, IL 60050                          9930      12/12/2015 Corporation                                                     $25.00                                                                                           $25.00
Jason Radcliff
99 Bunting Avenue                                               RS Legacy Corporation fka RadioShack
Martinsburg, WV 25405                      9931      12/12/2015 Corporation                                                    $100.00                                                                                          $100.00
Jeremy Clark
52 Kings Drive                                                  RS Legacy Corporation fka RadioShack
Steubenville, OH 43952                     9932      12/12/2015 Corporation                                                     $50.00                                                                                           $50.00
Tim Nielsen
220 Century Pl Apt 3301                                         RS Legacy Corporation fka RadioShack
Alexandria, VA 22304                       9933      12/12/2015 Corporation                                                      $0.00                                                                                            $0.00
Mark Melvin
593 Avenue E, unit C2                                           RS Legacy Corporation fka RadioShack
Bayonne, NJ 07002                          9934      12/12/2015 Corporation                                                      $0.00                                                                                            $0.00
Jeyakumar Paramasivam
18 Ware Road                                                    RS Legacy Corporation fka RadioShack
Winchester, MA 01890                       9935      12/12/2015 Corporation                                                     $79.00                                                                                           $79.00
Yao Hui Zhang
2726 E 23rd Street                                              RS Legacy Corporation fka RadioShack
Brooklyn, NY 11235                         9936      12/12/2015 Corporation                                                     $86.95                                                                                           $86.95
Blaine Tolentino
4028 Keanu St.                                                  RS Legacy Corporation fka RadioShack
Honolulu, HI 96816                         9937      12/12/2015 Corporation                                                      $0.00                                                                                            $0.00
Leigh Sides
5191 11th Avenue                                                RS Legacy Corporation fka RadioShack
La Porte City, Iowa 50651                  9938      12/12/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Ben Kashi
23 Grove St Floor 1                                             RS Legacy Corporation fka RadioShack
Branford, CT 06405                         9939      12/12/2015 Corporation                                                      $0.00                                                                                            $0.00
Ben Kashi
23 Grove St Floor 1                                             RS Legacy Corporation fka RadioShack
Branford, CT 06405                         9940      12/12/2015 Corporation                                                      $0.00                                                                                            $0.00
kandice
11802 reality trail                                             RS Legacy Corporation fka RadioShack
Louisville, ky 40229                       9941      12/13/2015 Corporation                                                     $11.90                                                                                           $11.90
Joseph west
#3 saint ann                                                    RS Legacy Corporation fka RadioShack
Saint James, Missouri 65559                9942      12/13/2015 Corporation                                                      $0.00                                                                                            $0.00
Matthew
38 Wenark Drive                                                 RS Legacy Corporation fka RadioShack
Newark, DE 19713                           9943      12/13/2015 Corporation                                                     $50.00                                                                                           $50.00
Anne‐Marie johnson
130 Munson drive                                                RS Legacy Corporation fka RadioShack
Beckley, Wv 25801                          9944      12/13/2015 Corporation                                                      $8.81                                                                                            $8.81
saurabh bhatt
414 nw dover court                                              RS Legacy Corporation fka RadioShack
port saint lucie, fl 34983                 9945      12/13/2015 Corporation                                                      $0.00                                                                                            $0.00
saurabh bhatt
414 nw dover court                                              RS Legacy Corporation fka RadioShack
port saint lucie, fl 34983                 9946      12/13/2015 Corporation                                                      $0.00                                                                                            $0.00
Ugo LoCampo
58 Jumping Brook Drive                                          RS Legacy Corporation fka RadioShack
Lakewood, NJ 08701                         9947      12/13/2015 Corporation                                                    $100.00                                                                                          $100.00
Michael A Fusco
40 scoville st                                                  RS Legacy Corporation fka RadioShack
Torrington, Ct 06790                       9948      12/13/2015 Corporation                                                      $9.11                                                                                            $9.11
Julie Witkop
1243 Morningside Drive                                          RS Legacy Corporation fka RadioShack
Naples, FL 34103                           9949      12/13/2015 Corporation                                                     $45.96                                                                                           $45.96
vu nguyen
17455 rocky vista ct.                                           RS Legacy Corporation fka RadioShack
riverside, ca 92503                        9950      12/13/2015 Corporation                                                     $50.00                                                                                           $50.00
Jennifer
407 constitution dr                                             RS Legacy Corporation fka RadioShack
Forked river, Nj 08731                     9951      12/13/2015 Corporation                                                     $50.00                                                                                           $50.00
David VanKammen
15112 73rd Street                                               RS Legacy Corporation fka RadioShack
Kenosha, WI 53142                          9952      12/13/2015 Corporation                                                      $0.00                                                                                            $0.00
susan davidson
PO box 3424                                                     RS Legacy Corporation fka RadioShack
rancho santa fe, ca 92067                  9953      12/13/2015 Corporation                                                    $128.14                                                                                          $128.14
Horacio Ivan Correa Ferretiz
C LAZARO CARDENAS 209COL NACIONAL
COLECTIVA 1ERA ETAPA                                            RS Legacy Corporation fka RadioShack
mante, tamaulipas 89847                    9954      12/13/2015 Corporation                                                      $0.00                                                                                            $0.00
Alexander Narret
7650 Butternut Ct                                               RS Legacy Corporation fka RadioShack
Woodridge, IL 60517                        9955      12/13/2015 Corporation                                                     $30.00                                                                                           $30.00



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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Garth McCalla
8722 ave j                                                      RS Legacy Corporation fka RadioShack
Brooklyn, NY 11236                         9956      12/13/2015 Corporation                                                     $90.00                                                                                           $90.00
Patrick Moran
565 montauk highway                                             RS Legacy Corporation fka RadioShack
east quogue, NY 11942                      9957      12/13/2015 Corporation                                                     $10.00                                                                                           $10.00
Gregg Menaker
982 Marion Ave.                                                 RS Legacy Corporation fka RadioShack
Highland Park, IL 60035                    9958      12/13/2015 Corporation                                                     $20.00                                                                                           $20.00
Maryselyn McCarthy
317 Leonard Ave                                                 RS Legacy Corporation fka RadioShack
Syracuse, NY 13207                         9959      12/13/2015 Corporation                                                     $50.00                                                                                           $50.00
Lixin Zhang
785 48th Ave                                                    RS Legacy Corporation fka RadioShack
San Francisco, CA 94121                    9960      12/13/2015 Corporation                                                    $100.00                                                                                          $100.00
Darrell Ickes
6850 Hesperia Ave                                               RS Legacy Corporation fka RadioShack
Reseda, Ca. 91335                          9961      12/13/2015 Corporation                                                     $43.00                                                                                           $43.00
Artem Brayson
5819 Versage Dr                                                 RS Legacy Corporation fka RadioShack
Mint Hill, NC 28227                        9962      12/13/2015 Corporation                                                      $0.00                                                                                            $0.00
KIRTHIKA RAJAMOHAN
3225 Alexa Cruz Ter                                             RS Legacy Corporation fka RadioShack
Dublin, CA 94568                           9963      12/13/2015 Corporation                                                     $69.49                                                                                           $69.49
Robert Danka
3113 Ohio Drive                                                 RS Legacy Corporation fka RadioShack
Lower Burrell, PA 15068                    9964      12/13/2015 Corporation                                                      $0.00                                                                                            $0.00
Mitchell Wagner
43 Riverglen Dr                                                 RS Legacy Corporation fka RadioShack
Thiells, NY 10984                          9965      12/13/2015 Corporation                                                     $13.34                                                                                           $13.34
Lejo Varughese
903 Hamilton Ct                                                 RS Legacy Corporation fka RadioShack
Rockwall, TX 75032                         9966      12/13/2015 Corporation                                                    $104.00                                                                                          $104.00
Jim Jackson
220 Plantation Ln                                               RS Legacy Corporation fka RadioShack
Frankfort, KY 40601                        9967      12/13/2015 Corporation                                                    $100.00                                                                                          $100.00
Tiffany Kapelowitz
657 S Heights dr                                                RS Legacy Corporation fka RadioShack
crowley, tx 76036                          9968      12/13/2015 Corporation                                                    $100.00                                                                                          $100.00
Mary Ellen McElwee
19 Gerek Ave                                                    RS Legacy Corporation fka RadioShack
West Islip, New York 11795                 9969      12/13/2015 Corporation                                                     $65.24                                                                                           $65.24
Benjamin Alpren
1900 South Ocean Dr # 811                                       RS Legacy Corporation fka RadioShack
Fort Lauderdale, FL 33316                  9970      12/14/2015 Corporation                                                     $21.50                                                                                           $21.50
Sai Moturu
72 Plumeria Ct                                                  RS Legacy Corporation fka RadioShack
Danville, CA 94506                         9971      12/14/2015 Corporation                                                      $0.00                                                                                            $0.00
Kevin Hunter
42 East Ave Apt A                                               RS Legacy Corporation fka RadioShack
Naples, NY 14512                           9972      12/14/2015 Corporation                                                    $100.00                                                                                          $100.00




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                                                                                                                       Amount                                                     Amount
Kevin Hunter
42 East Ave Apt A                                               RS Legacy Corporation fka RadioShack
Naples, NY 14512                           9973      12/14/2015 Corporation                                                    $100.00                                                                                          $100.00
Carl Picard
12 Stonewood Lane                                               RS Legacy Corporation fka RadioShack
Hudson, NH 03051                           9974      12/14/2015 Corporation                                                      $0.00                                                                                            $0.00
Matthew Windham
2263 Deer Run Ridge                                             RS Legacy Corporation fka RadioShack
New Braunfels, TX 78132                    9975      12/14/2015 Corporation                                                     $14.10                                                                                           $14.10
Holly Danziger
641 Carriage Way                                                RS Legacy Corporation fka RadioShack
Deerfield, IL 60015                        9976      12/14/2015 Corporation                                                     $16.37                                                                                           $16.37
Diane D. Cardiff
1331 Pinewood Drive                                             RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15243                       9977      12/14/2015 Corporation                                                      $0.00                                                                                            $0.00
tiffany Flanagan
1722 lanier dr                                                  RS Legacy Corporation fka RadioShack
Atlanta, ga 330310                         9978      12/14/2015 Corporation                                                      $0.00                                                                                            $0.00
Paul Silva
1729 Laura Lane                                                 RS Legacy Corporation fka RadioShack
Clovis, NM 88101                           9979      12/14/2015 Corporation                                                    $120.00                                                                                          $120.00
Pennsylvania Power Company
John M. Craig
Law Firm of Russell R. Johnson III PLC
2258 Wheatlands Drive                                          RS Legacy Corporation fka RadioShack
Manakin‐Sabot, VA 23103                    9980      12/7/2015 Corporation                                                                                                                                $454.93               $454.93
Nic Dahlman
3600 78th Ave N                                                 RS Legacy Corporation fka RadioShack
Brooklyn Park, mn 55443                    9981      12/14/2015 Corporation                                                     $50.00                                                                                           $50.00
McLaughlin, Susan
184 Depew St                                                    RS Legacy Corporation fka RadioShack
Dumont, NJ 07628                           9982      12/10/2015 Corporation                                                     $50.00                                                                                           $50.00
Deborah Deja
109 Timber Lane                                                 RS Legacy Corporation fka RadioShack
New Braunfels, TX 78130                    9983      12/14/2015 Corporation                                                     $50.00                                                                                           $50.00
Hodge, Yvonne
11520 Sun Valley Drive                                         RS Legacy Corporation fka RadioShack
Oakland, CA 94605                          9984      12/4/2015 Corporation                                                                          $0.00                                                                         $0.00
Morris, Treaven
4922 D street S.E                                               RS Legacy Corporation fka RadioShack
Washington, DC 20019                       9985      12/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Mary Toepfer
1303 Washington Circle                                          RS Legacy Corporation fka RadioShack
Hays, KS 67601                             9986      12/14/2015 Corporation                                                     $25.00                                                                                           $25.00
Patricia Trapp
8 Evergreen Aenue                                               RS Legacy Corporation fka RadioShack
Port Washingtn, NY 11050                   9987      12/14/2015 Corporation                                                     $30.00                                                                                           $30.00
Peggy S Knoll
PO Box 9037                                                     RS Legacy Corporation fka RadioShack
Prescott, AZ 86313                         9988      12/14/2015 Corporation                                                     $32.09                                                                                           $32.09




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
kevin terry
15385 2140 rd                                                   RS Legacy Corporation fka RadioShack
STOCKTON, mo 65785                         9989      12/14/2015 Corporation                                                      $0.00                                                                                            $0.00
J Gipp
17790 Idawood Path                                              RS Legacy Corporation fka RadioShack
LAKEVILLE, MN 55044                        9990      12/14/2015 Corporation                                                     $50.00                                                                                           $50.00
Jillian Welch
957 Pine Avenue                                                 RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15234                       9991      12/14/2015 Corporation                                                     $90.04                                                                                           $90.04
Hunter B. Harrison
80 Lombardy Rd                                                  RS Legacy Corporation fka RadioShack
Memphis, TN 38111                          9992      12/14/2015 Corporation                                                     $87.39                                                                                           $87.39
Holly decker
275 Elaine ave apt 2                                            RS Legacy Corporation fka RadioShack
Twin falls, Id 83301                       9993      12/14/2015 Corporation                                                     $50.00                                                                                           $50.00
Juan Carlos Enriquez
50756 Montana Avenue                                            RS Legacy Corporation fka RadioShack
Novi, MI 48374                             9994      12/14/2015 Corporation                                                     $25.00                                                                                           $25.00
Ismael Diaz
28 Jacqueline Drive, New Oxford PA                              RS Legacy Corporation fka RadioShack
New Oxford, PA 17350                       9995      12/14/2015 Corporation                                                      $0.00                                                                                            $0.00
jason brader
109 East Chestnut St.                                           RS Legacy Corporation fka RadioShack
Lebanon, PA 17042                          9996      12/14/2015 Corporation                                                     $31.77                                                                                           $31.77
Fayez Mazid
25281 Ericson Way                                               RS Legacy Corporation fka RadioShack
Laguna Hills, California 92653             9997      12/14/2015 Corporation                                                      $0.00                                                                                            $0.00
Pamuk Bilsel
9 Boothbay Circle                                               RS Legacy Corporation fka RadioShack
Madison, WI 53717                          9998      12/14/2015 Corporation                                                     $50.00                                                                                           $50.00
Teresa A Peterson
5010 Lizzie Gunn Rd                                             RS Legacy Corporation fka RadioShack
Pulaski, Va 24301                          9999      12/14/2015 Corporation                                                     $50.00                                                                                           $50.00
Donna Luu
4942 Felicia Way                                                RS Legacy Corporation fka RadioShack
Elk Grove, CA 95758                       10000      12/14/2015 Corporation                                                     $15.57                                                                                           $15.57
nahum salgado
2834 hillcrest DR                                               RS Legacy Corporation fka RadioShack
los angeles, ca 90016                     10001      12/14/2015 Corporation                                                     $44.16                                                                                           $44.16
Sara Boone
7316 Thomas Avenue                                              RS Legacy Corporation fka RadioShack
Lanesville, IN 47136                      10002      12/14/2015 Corporation                                                     $10.00                                                                                           $10.00
WISPO, LLC
c/o Nifong Realty, Inc.
Attn: Susan M. Frye
2181 South Oneida Street, Suite 1                               RS Legacy Corporation fka RadioShack
GREEN BAY, WI 54304                       10003      12/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Kathy Pilgram
1 Log Cabin Lane                                                RS Legacy Corporation fka RadioShack
Labadie, MO 63055                         10004      12/14/2015 Corporation                                                     $50.00                                                                                           $50.00




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                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
Ryen Schaetzel
4020 Caruth Ct                                                         RS Legacy Corporation fka RadioShack
Flower Mound, Texas 75022                        10005      12/14/2015 Corporation                                                     $32.46                                                                                           $32.46
Charles Danish
2834 Paraiso Way                                                       RS Legacy Corporation fka RadioShack
La Crescenta, CA 91214                           10006      12/14/2015 Corporation                                                     $18.98                                                                                           $18.98
Deborah Deja
109 Timber Lane                                                        RS Legacy Corporation fka RadioShack
New Braunfels, TX 78130                          10007      12/14/2015 Corporation                                                     $50.00                                                                                           $50.00
ZP NO. 116, LLC
c/o Zimmer Management Co
Post Office Box 2628                                                   RS Legacy Corporation fka RadioShack
WILMINGTON, NC 28402                             10008      12/10/2015 Corporation                                                      $0.00                                                                                            $0.00
Faith D. Towle c/o Davis & Ferber, LLP
1345 Motor Parkway                                                     RS Legacy Corporation fka RadioShack
Islandia, NY 11749                               10009      12/10/2015 Corporation                                               $500,000.00                                                                                       $500,000.00
Municipio de Rio Grande
Raul Santiago Perez
100 Carr 165 Suite 409                                                RS Legacy Corporation fka RadioShack
Guaynabo, PR 00968‐8050                          10010      12/7/2015 Corporation                                                                                                                                  $0.00                 $0.00
MONONGAHELA POWER COMPANY
JOHN M. CRAIG, LAW FIRM OF RUSSELL R. JOHNSON
III PLC
2258 WHEATLANDS DRIVE                                                 RS Legacy Corporation fka RadioShack
MANAKIN‐SABOT, VA 23103                          10011      12/7/2015 Corporation                                                                                                                              $1,529.06             $1,529.06
Peggy Pearson
3429 N. 32nd Street                                                    RS Legacy Corporation fka RadioShack
Waco, Texas 76708                                10012      12/14/2015 Corporation                                                      $0.00                                                                                            $0.00
Erin Dale
910A 20th Street                                                       RS Legacy Corporation fka RadioShack
Santa Monica, CA 90403                           10013      12/14/2015 Corporation                                                      $0.00                                                                                            $0.00
Richard Corte
4130 forest dr                                                         RS Legacy Corporation fka RadioShack
weston, florida 33332                            10014      12/14/2015 Corporation                                                     $36.00                                                                                           $36.00
Michael Sullivan
61 Beacon Street                                                       RS Legacy Corporation fka RadioShack
Dedham, Massachusetts 02026                      10015      12/14/2015 Corporation                                                     $22.04                                                                                           $22.04
Curtis Lu
4129 180th Pl SE                                                       RS Legacy Corporation fka RadioShack
Bothell, WA 98012                                10016      12/14/2015 Corporation                                                    $179.56                                                                                          $179.56
Thomas Jacobucci
5247 Mount Alifan Dr                                                   RS Legacy Corporation fka RadioShack
San Diego, Ca 92111                              10017      12/14/2015 Corporation                                                      $0.00                                                                                            $0.00
William Nardone
201 w seaspray rd                                                      RS Legacy Corporation fka RadioShack
ocean city, NJ 08226‐4468                        10018      12/14/2015 Corporation                                                     $21.39                                                                                           $21.39
Maritza Ramirez
1512 Bryant Avenue apt.1F                                              RS Legacy Corporation fka RadioShack
Bronx, NY 10460                                  10019      12/14/2015 Corporation                                                     $50.00                                                                                           $50.00
Eastham, Charles
167 Hackett Place                                                      RS Legacy Corporation fka RadioShack
Rutherford, NJ 07070                             10020      12/14/2015 Corporation                                                     $25.00                                                                                           $25.00



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                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                          Amount                                                     Amount
Tom Kelly
2960 Oak Top Ct                                                    RS Legacy Corporation fka RadioShack
Kodak, TN 37764                              10021      12/14/2015 Corporation                                                     $82.03                                                                                           $82.03
Victor McDougall
1320 N. Milwaukee                                                  RS Legacy Corporation fka RadioShack
Chicago, IL 60622                            10022      12/14/2015 Corporation                                                      $0.00                                                                                            $0.00
Ying Ma
4440 Seminole Way                                                  RS Legacy Corporation fka RadioShack
Pleasanton, CA 94588                         10023      12/14/2015 Corporation                                                     $56.81                                                                                           $56.81
Mark Odaiyar
3810 NE 14th Dr                                                    RS Legacy Corporation fka RadioShack
Gainesville, Fl 32609                        10024      12/14/2015 Corporation                                                      $0.00                                                                                            $0.00
Yibing Shi
7335 197th Street Fresh Meadows, NY 11366                          RS Legacy Corporation fka RadioShack
Fresh Meadows, NY 11366                      10025      12/14/2015 Corporation                                                     $10.00                                                                                           $10.00
shobha
9784 cupola lane                                                   RS Legacy Corporation fka RadioShack
eden prairie, MN 55347                       10026      12/14/2015 Corporation                                                      $0.00                                                                                            $0.00
jane hallett
3912 Joppa Ave S                                                   RS Legacy Corporation fka RadioShack
MInneapolis, Mn 55416                        10027      12/14/2015 Corporation                                                     $22.19                                                                                           $22.19
Robert Argomaniz
5944 Allston St.                                                   RS Legacy Corporation fka RadioShack
Los Angeles, CA 90022                        10028      12/14/2015 Corporation                                                      $0.00                                                                                            $0.00
lorenzo wheeler
1005 virginia st                                                   RS Legacy Corporation fka RadioShack
sikeston, mo 63801                           10029      12/14/2015 Corporation                                                     $38.00                                                                                           $38.00
Robert Argomaniz
5944 Allston St.                                                   RS Legacy Corporation fka RadioShack
Los Angeles, CA 90023                        10030      12/14/2015 Corporation                                                     $10.89                                                                                           $10.89
Kelly Quebedeaux
11959 Wildwood Lane                                                RS Legacy Corporation fka RadioShack
Clinton, LA 70722                            10031      12/14/2015 Corporation                                                     $10.74                                                                                           $10.74
David Bernardin
17649 Rancho De Carole Rd.                                         RS Legacy Corporation fka RadioShack
Ramona, CA 92065                             10032      12/14/2015 Corporation                                                     $22.66                                                                                           $22.66
aaron negherbon
2400 camino ramon suite 105                                        RS Legacy Corporation fka RadioShack
san ramon, ca 94583                          10033      12/14/2015 Corporation                                                    $128.00                                                                                          $128.00
Duke Glover
375 E. Allen Street                                                RS Legacy Corporation fka RadioShack
Castle Rock, CO 80108                        10034      12/14/2015 Corporation                                                      $0.00                                                                                            $0.00
Baoqing Ma
10 Jared Blvd                                                      RS Legacy Corporation fka RadioShack
Kendall Park, NJ 08824                       10035      12/14/2015 Corporation                                                    $100.00                                                                                          $100.00
Tracie Bennett
1910 South 15th Court                                              RS Legacy Corporation fka RadioShack
Ridgefield, WA 98642                         10036      12/14/2015 Corporation                                                     $25.00                                                                                           $25.00
Baoqing Ma
10 Jared Blvd                                                      RS Legacy Corporation fka RadioShack
Kendall Park, NJ 08824                       10037      12/14/2015 Corporation                                                    $100.00                                                                                          $100.00




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                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                          Amount                                                     Amount
Sandra Gruen
457 Mildred Ave                                                    RS Legacy Corporation fka RadioShack
Cary, Il 60013                               10038      12/14/2015 Corporation                                                     $64.48                                                                                           $64.48
Roger Buckley
PO Box 720722                                                      RS Legacy Corporation fka RadioShack
Pinon Hills, California 92372                10039      12/14/2015 Corporation                                                     $50.00                                                                                           $50.00
Michael Stavola
161 Migazee Trail                                                  RS Legacy Corporation fka RadioShack
Medford Lakes, NJ 08055                      10040      12/14/2015 Corporation                                                     $13.56                                                                                           $13.56
Robert Argomaniz
5944 Allston St.                                                   RS Legacy Corporation fka RadioShack
Los Angeles, CA 90022                        10041      12/14/2015 Corporation                                                      $0.00                                                                                            $0.00
Meghan Tinker
10504 Jimson Pool St                                               RS Legacy Corporation fka RadioShack
Prospect, KY 40059                           10042      12/14/2015 Corporation                                                     $31.79                                                                                           $31.79
scott sinkule
608 south creek ct                                                 RS Legacy Corporation fka RadioShack
Traverse city/Michigan/49696, 49696 49696    10043      12/14/2015 Corporation                                                     $50.00                                                                                           $50.00
Thomas Sweeney
2200 Hawks Ridge Dr                                                RS Legacy Corporation fka RadioShack
High Ridge, MO 63049                         10044      12/14/2015 Corporation                                                     $42.83                                                                                           $42.83
Tyler Aho
5332 Olde Shawboro Rd.                                             RS Legacy Corporation fka RadioShack
Grand Blanc, MI 48439                        10045      12/14/2015 Corporation                                                      $0.00                                                                                            $0.00
Brian Bertothy
281 First Avenue                                                   RS Legacy Corporation fka RadioShack
St. James, NY 11780                          10046      12/14/2015 Corporation                                                    $100.00                                                                                          $100.00
Deb Galimba
114 East Shaw Ave Suite 103                                        RS Legacy Corporation fka RadioShack
Fresno, Ca 93710                             10047      12/14/2015 Corporation                                                     $86.56                                                                                           $86.56
Amy Hovland
726 NW 33rd St                                                     RS Legacy Corporation fka RadioShack
Corvallis, OR 97330                          10048      12/14/2015 Corporation                                                     $59.99                                                                                           $59.99
Kara Esselbach
PO Box 80                                                          RS Legacy Corporation fka RadioShack
Deer Park, WA 99006                          10049      12/14/2015 Corporation                                                      $0.00                                                                                            $0.00
Megan Smith
192 Clarke St.                                                     RS Legacy Corporation fka RadioShack
Bishop, CA 93514                             10050      12/14/2015 Corporation                                                      $0.00                                                                                            $0.00
Anita kimball
1111 7th Ave SE                                                    RS Legacy Corporation fka RadioShack
Decatur, AL 35601                            10051      12/14/2015 Corporation                                                     $50.00                                                                                           $50.00
Lawrence Watson
2252 Hwy 92                                                        RS Legacy Corporation fka RadioShack
Rutledge, TN 37861                           10052      12/14/2015 Corporation                                                     $98.76                                                                                           $98.76
nick babin
186 Valley 1 Drive                                                 RS Legacy Corporation fka RadioShack
Winnsboro, SC 29180                          10053      12/14/2015 Corporation                                                      $0.00                                                                                            $0.00
Kevin Mullally
2310 Sagamore Hills Dr                                             RS Legacy Corporation fka RadioShack
Decatur, GA 30033                            10054      12/14/2015 Corporation                                                     $14.41                                                                                           $14.41




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Dane artman
3813 SE 60th Ave                                                RS Legacy Corporation fka RadioShack
Portland, OR 97206                        10055      12/14/2015 Corporation                                                     $18.81                                                                                           $18.81
Terry Graber
12 Raddel Court                                                 RS Legacy Corporation fka RadioShack
Hillsborough, NJ 08844                    10056      12/14/2015 Corporation                                                     $25.00                                                                                           $25.00
Pamela Gilbert
118 PONDEROSA COURT                                             RS Legacy Corporation fka RadioShack
SANTA CRUZ, CA 95060                      10057      12/14/2015 Corporation                                                      $0.00                                                                                            $0.00
Linda Fane
E6184 870th. Ave.                                               RS Legacy Corporation fka RadioShack
Colfax, WI 54730                          10058      12/15/2015 Corporation                                                     $70.67                                                                                           $70.67
Mike Slater
33003 Brookside Ct                                              RS Legacy Corporation fka RadioShack
Livonia, MI 48152                         10059      12/15/2015 Corporation                                                      $0.00                                                                                            $0.00
Kim Richter
13274 Inglewood Avenue                                          RS Legacy Corporation fka RadioShack
Savage, MN 55378                          10060      12/15/2015 Corporation                                                     $14.45                                                                                           $14.45
Helene Moncman
1828 Harbour Circle                                             RS Legacy Corporation fka RadioShack
Canton, OH 44708                          10061      12/15/2015 Corporation                                                     $25.00                                                                                           $25.00
giridhar reddi
12911 Cordellera Ln                                             RS Legacy Corporation fka RadioShack
frisco, tx 75035                          10062      12/15/2015 Corporation                                                      $3.38                                                                                            $3.38
Lisa Spada
504 Enfield Court                                               RS Legacy Corporation fka RadioShack
Delray Beach, FL 33444                    10063      12/15/2015 Corporation                                                      $0.00                                                                                            $0.00
David Moore
4700 Fountain Gate Dr                                           RS Legacy Corporation fka RadioShack
Norman, OK 73072                          10064      12/15/2015 Corporation                                                      $9.19                                                                                            $9.19
Kim Brokate
244 Venturi Drive                                               RS Legacy Corporation fka RadioShack
New Bern, NC 28560                        10065      12/15/2015 Corporation                                                     $13.20                                                                                           $13.20
Roberta newman
3312 Hermosa ave                                                RS Legacy Corporation fka RadioShack
Hermosa bech, Ca 90254                    10066      12/15/2015 Corporation                                                      $0.00                                                                                            $0.00
Marileyn Ramirez
11251 South State Street Apt. B106                              RS Legacy Corporation fka RadioShack
Sandy, Utah 84070                         10067      12/15/2015 Corporation                                                      $0.00                                                                                            $0.00
Joni Daniel
3666 West State Rd H                                            RS Legacy Corporation fka RadioShack
Stoutland, Mo 65567                       10068      12/15/2015 Corporation                                                     $25.00                                                                                           $25.00
Robert Goertz
126 Ilwaco Place NE                                             RS Legacy Corporation fka RadioShack
Renton, Wa 98059                          10069      12/15/2015 Corporation                                                      $0.00                                                                                            $0.00
Robert Goertz
126 Ilwaco Place NE                                             RS Legacy Corporation fka RadioShack
Renton, Wa 98059                          10070      12/15/2015 Corporation                                                      $0.00                                                                                            $0.00
Henry busch
14200 Granery Lane                                              RS Legacy Corporation fka RadioShack
Accokeek, Maryland 20607                  10071      12/15/2015 Corporation                                                     $20.00                                                                                           $20.00




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Mark J. Cohen
921 Morningside Drive                                           RS Legacy Corporation fka RadioShack
Mays Landing, NJ 08330                    10072      12/15/2015 Corporation                                                     $63.32                                                                                           $63.32
Virgil Gibbs
5101 Holzman Ave                                                RS Legacy Corporation fka RadioShack
Choctaw, OK 73020                         10073      12/15/2015 Corporation                                                     $24.22                                                                                           $24.22
Pam Powers
535 Friendship Road                                             RS Legacy Corporation fka RadioShack
Somerville, AL 35670                      10074      12/15/2015 Corporation                                                     $20.00                                                                                           $20.00
Kelsee Adams
26594 Elk Run E                                                 RS Legacy Corporation fka RadioShack
New Hudson, MI 48165                      10075      12/15/2015 Corporation                                                     $50.00                                                                                           $50.00
Judy Wehrli
839 W. Grange Ave.                                              RS Legacy Corporation fka RadioShack
Milwaukee, WI 53221                       10076      12/15/2015 Corporation                                                     $19.07                                                                                           $19.07
LEO DAVIS
1385 Monteith Ave.                                              RS Legacy Corporation fka RadioShack
HERNANDO, MS 38632                        10077      12/15/2015 Corporation                                                     $25.00                                                                                           $25.00
LEO DAVIS
1385 Monteith Ave.                                              RS Legacy Corporation fka RadioShack
Hernando, MS 38632                        10078      12/15/2015 Corporation                                                     $25.00                                                                                           $25.00
Zhen Zhan
15200 NE 15th PL Apt D                                          RS Legacy Corporation fka RadioShack
Bellevue, WA 98007                        10079      12/15/2015 Corporation                                                      $0.00                                                                                            $0.00
sue keiswetter
522 Michigan St.                                                RS Legacy Corporation fka RadioShack
Petoskey, MI 49770                        10080      12/15/2015 Corporation                                                     $23.25                                                                                           $23.25
Abedalhalim Jabareen
5851 Revere Dr.                                                 RS Legacy Corporation fka RadioShack
North Olmsted, Ohio 44070                 10081      12/15/2015 Corporation                                                    $100.00                                                                                          $100.00
Ed Serino
49 bradshaw st                                                  RS Legacy Corporation fka RadioShack
medford, mass 02155                       10082      12/15/2015 Corporation                                                    $173.50                                                                                          $173.50
Harry Flamm
71 Standish Street                                              RS Legacy Corporation fka RadioShack
Cambridge, MA 02138                       10083      12/15/2015 Corporation                                                     $40.36                                                                                           $40.36
Margaret Lorenzo
382 Parkside Road                                               RS Legacy Corporation fka RadioShack
Harrington Park, NJ 07640                 10084      12/15/2015 Corporation                                                      $0.00                                                                                            $0.00
Richard Maka
734 S Nrrbury Ave                                               RS Legacy Corporation fka RadioShack
Lombard, IL 60148                         10085      12/15/2015 Corporation                                                      $0.00                                                                                            $0.00
Jonathan Soldan
89 Preston Drive                                                RS Legacy Corporation fka RadioShack
Gillette, NJ 07933                        10086      12/15/2015 Corporation                                                      $9.69                                                                                            $9.69
mark binder
12121 Wilshire Blvd. #525                                       RS Legacy Corporation fka RadioShack
Los Angeles, CA 90025                     10087      12/15/2015 Corporation                                                     $54.74                                                                                           $54.74
Charles W. Nelson
P.O. Box 16987                                                  RS Legacy Corporation fka RadioShack
South Lake Tahoe, CA 96151                10088      12/15/2015 Corporation                                                    $100.00                                                                                          $100.00




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                                                                                                                       Amount                                                     Amount
Marissa Lenti
5383 Southern Blvd, Apt 452                                     RS Legacy Corporation fka RadioShack
Dallas, TX 75240                          10089      12/15/2015 Corporation                                                      $0.00                                                                                            $0.00
PAUL PERRY
2180 JENKEE DR.                                                 RS Legacy Corporation fka RadioShack
FLORISSANT, MO 63031, MO 63031            10090      12/15/2015 Corporation                                                     $12.78                                                                                           $12.78
Matthew Morgan
12 Summit Avenue                                                RS Legacy Corporation fka RadioShack
East Hampton, NY 11937                    10091      12/15/2015 Corporation                                                    $100.00                                                                                          $100.00
Paul Abernathy
5213 Regimental Banner Dr.                                      RS Legacy Corporation fka RadioShack
Grand Blanc, MI 48439                     10092      12/15/2015 Corporation                                                      $0.00                                                                                            $0.00
Ron Dunagan
2912 W Woodlawn Ave                                             RS Legacy Corporation fka RadioShack
Boise, ID 83702                           10093      12/16/2015 Corporation                                                      $0.00                                                                                            $0.00
Krystal Hollesh
16651 Peters Rd.                                                RS Legacy Corporation fka RadioShack
Middlefield, OH 44062                     10094      12/16/2015 Corporation                                                    $119.75                                                                                          $119.75
Dufay Ramirez
5821 n.northwet hwy                                             RS Legacy Corporation fka RadioShack
chicago, illinois 60631                   10095      12/16/2015 Corporation                                                      $0.00                                                                                            $0.00
SUSAN VANDERVOORD
7102 Ridgewood Rd.                                              RS Legacy Corporation fka RadioShack
Clarkston, MICHIGAN 48346                 10096      12/16/2015 Corporation                                                      $4.96                                                                                            $4.96
Kent Yunk
68 Pine Avenue                                                  RS Legacy Corporation fka RadioShack
San Carlos, CA 94070                      10097      12/16/2015 Corporation                                                     $50.00                                                                                           $50.00
KAREN BROWN
10 CORNET WAY                                                   RS Legacy Corporation fka RadioShack
Ringoes, NJ 08551                         10098      12/16/2015 Corporation                                                      $0.00                                                                                            $0.00
Ben Hejazi
PO Box 1571                                                     RS Legacy Corporation fka RadioShack
Burlingame, CA 94011                      10099      12/16/2015 Corporation                                                     $25.76                                                                                           $25.76
Kevin Breutzmann
3145 E. Waverly St                                              RS Legacy Corporation fka RadioShack
Tucson, AZ 85716                          10100      12/16/2015 Corporation                                                     $16.18                                                                                           $16.18
Mehul Baxi
5927 Turner Shadow Lane                                         RS Legacy Corporation fka RadioShack
Sugar Land, TX 77479                      10101      12/16/2015 Corporation                                                      $0.00                                                                                            $0.00
Kevin Breutzmann
3145 E. Waverly St                                              RS Legacy Corporation fka RadioShack
Tucson, AZ 85716                          10102      12/16/2015 Corporation                                                     $23.99                                                                                           $23.99
Nicole Wetherby
193 east Main Street                                            RS Legacy Corporation fka RadioShack
Orange, Ma 01364                          10103      12/16/2015 Corporation                                                     $50.00                                                                                           $50.00
ricardo jaramillo
7000 sw 14 st                                                   RS Legacy Corporation fka RadioShack
pembroke pines, 33023 florida             10104      12/16/2015 Corporation                                                     $84.00                                                                                           $84.00
walter davis
7071 conifer rd.                                                RS Legacy Corporation fka RadioShack
richmond, va 23237                        10105      12/16/2015 Corporation                                                     $50.00                                                                                           $50.00




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                                                                                                                        Amount                                                     Amount
joey wilson
1890 Colesbend Rd                                                RS Legacy Corporation fka RadioShack
Smiths Grove, KY 42171                     10106      12/16/2015 Corporation                                                     $94.71                                                                                           $94.71
Lois burris
1005 Jeffrey Dr                                                  RS Legacy Corporation fka RadioShack
Carterville, Illinois 62918                10107      12/16/2015 Corporation                                                      $0.00                                                                                            $0.00
Lois Burris
1005 Jeffrey Dr                                                  RS Legacy Corporation fka RadioShack
Carterville, Illinois 62918                10108      12/16/2015 Corporation                                                      $0.00                                                                                            $0.00
Kristen Rubino
5 Ann Drive                                                      RS Legacy Corporation fka RadioShack
Johnston, RI 02919                         10109      12/16/2015 Corporation                                                      $0.00                                                                                            $0.00
Colette Perkins
9320 Sherwood Drive                                              RS Legacy Corporation fka RadioShack
Quinton, VA 23141                          10110      12/16/2015 Corporation                                                     $75.00                                                                                           $75.00
Michael Flannigan
301 Middleburg                                                   RS Legacy Corporation fka RadioShack
Sherman, il 62684                          10111      12/16/2015 Corporation                                                     $14.21                                                                                           $14.21
PowerComm Solutions
450 Sunshine Lane                                                RS Legacy Corporation fka RadioShack
Reno, NV 89502                             10112      12/16/2015 Corporation                                                     $64.55                                                                                           $64.55
Keli Kendall
1874 North 400 West                                              RS Legacy Corporation fka RadioShack
Sunset, ut 84015                           10113      12/16/2015 Corporation                                                      $1.62                                                                                            $1.62
Keli Kendall
1874 North 400 West                                              RS Legacy Corporation fka RadioShack
Sunset, UT 84015                           10114      12/16/2015 Corporation                                                      $2.70                                                                                            $2.70
Sylvia Rivera
Urb Jardines de Cerro Gordo calle 3 a13                          RS Legacy Corporation fka RadioShack
San Lorenzo, PR 00754                      10115      12/16/2015 Corporation                                                     $36.39                                                                                           $36.39
Manish Gupta
96 Acorn Lane                                                    RS Legacy Corporation fka RadioShack
Milford, CT 06461                          10116      12/16/2015 Corporation                                                     $91.63                                                                                           $91.63
Kathy McCarty
913 N. Whatley Rd.                                               RS Legacy Corporation fka RadioShack
White Oak, Texas 75693                     10117      12/16/2015 Corporation                                                     $20.00                                                                                           $20.00
Molly Akin
P. O. Box 515                                                    RS Legacy Corporation fka RadioShack
Roxton, Texas 75477                        10118      12/16/2015 Corporation                                                     $10.81                                                                                           $10.81
Richard Ogle
21552 tanglewood Dr                                              RS Legacy Corporation fka RadioShack
Castro Valley, CA 94546                    10119      12/16/2015 Corporation                                                     $32.02                                                                                           $32.02
Manish Gupta
96 Acorn Lane                                                    RS Legacy Corporation fka RadioShack
Milford, CT 06461                          10120      12/16/2015 Corporation                                                     $78.56                                                                                           $78.56
Mary Cordova
5801 Tama Rd                                                     RS Legacy Corporation fka RadioShack
Mendon, OH 45862                           10121      12/16/2015 Corporation                                                      $0.00                                                                                            $0.00
Manish Gupta
96 Acorn Lane                                                    RS Legacy Corporation fka RadioShack
Milford, CT 06461                          10122      12/16/2015 Corporation                                                     $91.63                                                                                           $91.63




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Sandra Driscoll
16 Cottage Street                                               RS Legacy Corporation fka RadioShack
Exeter, NH 03833                          10123      12/16/2015 Corporation                                                     $89.99                                                                                           $89.99
Manish Gupta
96 Acorn Lane                                                   RS Legacy Corporation fka RadioShack
Milford, CT 06461                         10124      12/16/2015 Corporation                                                     $74.37                                                                                           $74.37
Ekaterina Idiatoulina
1835 Tolbut Street                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 18152                    10125      12/16/2015 Corporation                                                    $100.00                                                                                          $100.00
Elvira Nunez
P.O. Box 3722                                                   RS Legacy Corporation fka RadioShack
South El Monte, Ca 91733                  10126      12/16/2015 Corporation                                                     $27.24                                                                                           $27.24
Andrew Wehr
1735 W. Diversey, Apt 608                                       RS Legacy Corporation fka RadioShack
Chicago, IL 60614                         10127      12/16/2015 Corporation                                                     $40.36                                                                                           $40.36
Chantel Manning
1501 N. Decker ave                                              RS Legacy Corporation fka RadioShack
Baltimore, MD 21213                       10128      12/16/2015 Corporation                                                     $63.00                                                                                           $63.00
Fred Fayette
202 Eagle Mountain Road                                         RS Legacy Corporation fka RadioShack
Milton, VT 05468                          10129      12/16/2015 Corporation                                                     $25.11                                                                                           $25.11
Paul Howard
12152 Moss Ln                                                   RS Legacy Corporation fka RadioShack
Nampa, ID 83651                           10130      12/16/2015 Corporation                                                      $0.00                                                                                            $0.00
John Allen
PO Box 5                                                        RS Legacy Corporation fka RadioShack
North Kingstown, RI 02852                 10131      12/16/2015 Corporation                                                     $50.00                                                                                           $50.00
Paula Renae Scott
2023 Park St                                                    RS Legacy Corporation fka RadioShack
Houston, TX 77019                         10132      12/16/2015 Corporation                                                     $50.00                                                                                           $50.00
Hilary Domeika
3302 East Mercer Street                                         RS Legacy Corporation fka RadioShack
Seattle, WA 98112                         10133      12/16/2015 Corporation                                                     $25.00                                                                                           $25.00
JanJinna Chavez
122 Center Street                                               RS Legacy Corporation fka RadioShack
Stamford, ct 06906                        10134      12/16/2015 Corporation                                                     $21.26                                                                                           $21.26
David Brennan
11 Harrison Ave                                                 RS Legacy Corporation fka RadioShack
Newport, RI 02840                         10135      12/16/2015 Corporation                                                     $42.79                                                                                           $42.79
Brian Schaubhut
830 SE Bel Aire Rd                                              RS Legacy Corporation fka RadioShack
Ankeny, IA 50021                          10136      12/16/2015 Corporation                                                     $20.00                                                                                           $20.00
Thomas Hanlon
93 Rotterdam West Rd                                            RS Legacy Corporation fka RadioShack
Holland, PA 18966                         10137      12/16/2015 Corporation                                                      $0.00                                                                                            $0.00
Dawn Stewart
301‐948 Esquimalt Road                                          RS Legacy Corporation fka RadioShack
Victoria, BC v9w6v3                       10138      12/16/2015 Corporation                                                     $10.00                                                                                           $10.00
Arthur Flexser
3 The Fairway                                                   RS Legacy Corporation fka RadioShack
Montclair, NJ 07043                       10139      12/16/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Melody Miller
7624 N Mt Tabor Rd                                              RS Legacy Corporation fka RadioShack
Ellettsville, IN 47429                    10140      12/16/2015 Corporation                                                    $100.00                                                                                          $100.00
noel fattah
1646 Wyandotte                                                  RS Legacy Corporation fka RadioShack
Lakewood, Ohio 44107                      10141      12/16/2015 Corporation                                                      $0.00                                                                                            $0.00
Marina Katz
239 Park Avenue South, Apt PHC                                  RS Legacy Corporation fka RadioShack
New York, NY 10003                        10142      12/16/2015 Corporation                                                    $400.00                                                                                          $400.00
Amol Gharse
3900 Monument Ave Suite A                                       RS Legacy Corporation fka RadioShack
Richmond, VA 23230                        10143      12/16/2015 Corporation                                                      $0.00                                                                                            $0.00
Csaba B, Neusch
2273 SE 9th St                                                  RS Legacy Corporation fka RadioShack
Pompano Beach, FL 33062                   10144      12/16/2015 Corporation                                                     $42.39                                                                                           $42.39
Marina Katz
239 Park Avenue South, Apt PHC                                  RS Legacy Corporation fka RadioShack
New York, NY 10003                        10145      12/16/2015 Corporation                                                    $144.36                                                                                          $144.36
Karen Page
P O Box 92                                                      RS Legacy Corporation fka RadioShack
STELLA, NC 28582                          10146      12/16/2015 Corporation                                                     $10.17                                                                                           $10.17
Isaac Sargent
95 White Oak Trail                                              RS Legacy Corporation fka RadioShack
Brewster, Ma 02631                        10147      12/16/2015 Corporation                                                      $0.00                                                                                            $0.00
Feliza Tagayun
7180 Melrose Street                                             RS Legacy Corporation fka RadioShack
Buena Park, CA 90621                      10148      12/16/2015 Corporation                                                     $86.18                                                                                           $86.18
Donna Resendez
25517 Magnolia Lane                                             RS Legacy Corporation fka RadioShack
Stevenson Ranch, CA 91381                 10149      12/16/2015 Corporation                                                     $97.86                                                                                           $97.86
Sue Volpato
10 Larksburg Avenue                                             RS Legacy Corporation fka RadioShack
Putnam Valley, NY 10579                   10150      12/16/2015 Corporation                                                     $91.26                                                                                           $91.26
Barry Anderson
1790 Faxon Avenue                                               RS Legacy Corporation fka RadioShack
Memphis, TN 38112                         10151      12/16/2015 Corporation                                                      $0.00                                                                                            $0.00
Linda Jo Johnson
1005 E Friar
Ave                                                             RS Legacy Corporation fka RadioShack
Apache Junction, Az 85119                 10152      12/16/2015 Corporation                                                     $21.60                                                                                           $21.60
Timothy Trask
121 Longwood Ave                                                RS Legacy Corporation fka RadioShack
Brockton, MA 02301                        10153      12/16/2015 Corporation                                                      $0.00                                                                                            $0.00
Shril Panchigar
803 college lane Apt. i                                         RS Legacy Corporation fka RadioShack
Salisbury, MD 21804                       10154      12/16/2015 Corporation                                                      $0.00                                                                                            $0.00
John Coyle
6145 Banner Drive                                               RS Legacy Corporation fka RadioShack
San Jose, CA 95123                        10155      12/16/2015 Corporation                                                     $10.00                                                                                           $10.00
John Coyle
6145 Banner Drive                                               RS Legacy Corporation fka RadioShack
San Jose, CA 95123                        10156      12/16/2015 Corporation                                                     $10.00                                                                                           $10.00



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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Judy Vandyke
604 Cherokee St.                                                RS Legacy Corporation fka RadioShack
Irwin, Pa. 15642                          10157      12/16/2015 Corporation                                                      $0.00                                                                                            $0.00
Justin Spaulding
3143 34th ave north                                             RS Legacy Corporation fka RadioShack
Saint Petersburg, FL 33713                10158      12/16/2015 Corporation                                                     $58.86                                                                                           $58.86
Patrick Reed
3447 Chris Circle                                               RS Legacy Corporation fka RadioShack
Morristown, TN 37814                      10159      12/16/2015 Corporation                                                      $0.00                                                                                            $0.00
John Ko
309 Camino de Gloria                                            RS Legacy Corporation fka RadioShack
Walnut, CA 91789                          10160      12/17/2015 Corporation                                                     $33.75                                                                                           $33.75
Michelle Nilsen
60 heston rd                                                    RS Legacy Corporation fka RadioShack
Shirley, NY 11967                         10161      12/17/2015 Corporation                                                      $0.00                                                                                            $0.00
William McNamara
P.O. Box 616                                                    RS Legacy Corporation fka RadioShack
Pleasant Valley, CT 06063                 10162      12/17/2015 Corporation                                                      $0.00                                                                                            $0.00
Ross D Ballard
1395 North Bennett Circle                                       RS Legacy Corporation fka RadioShack
Farmington, Utah 84025                    10163      12/17/2015 Corporation                                                     $42.02                                                                                           $42.02
sara
106 Kelsey ct.                                                  RS Legacy Corporation fka RadioShack
longview, washington 98632                10164      12/17/2015 Corporation                                                      $0.00                                                                                            $0.00
Robert Edel
34 Sagebrush Lane                                               RS Legacy Corporation fka RadioShack
Lancaster, NY 14086                       10165      12/17/2015 Corporation                                                     $15.00                                                                                           $15.00
Dawn Schaefer
35 Valley Road                                                  RS Legacy Corporation fka RadioShack
Stoneham, MA 02180                        10166      12/17/2015 Corporation                                                     $50.00                                                                                           $50.00
nathaniel pollack
1378 hill born ct                                               RS Legacy Corporation fka RadioShack
hanover, maryland 21076                   10167      12/17/2015 Corporation                                                     $50.00                                                                                           $50.00
Laura Hildebrandt
5050 Mountain Crest Way S.                                      RS Legacy Corporation fka RadioShack
Salem, OR 97302                           10168      12/17/2015 Corporation                                                     $70.01                                                                                           $70.01
Gary Strickland
19274 Jo Bar Drive                                              RS Legacy Corporation fka RadioShack
Tyler, TX 75703                           10169      12/17/2015 Corporation                                                      $0.00                                                                                            $0.00
Heather Taylor
203 Covey Road                                                  RS Legacy Corporation fka RadioShack
Burlington, CT 06013                      10170      12/17/2015 Corporation                                                      $0.00                                                                                            $0.00
Robbin Conner
33 Shingle House Road                                           RS Legacy Corporation fka RadioShack
Millwood, NY 10546                        10171      12/17/2015 Corporation                                                     $91.01                                                                                           $91.01
douglas donnelly
833 mill creek rd                                               RS Legacy Corporation fka RadioShack
arnold, md 21012                          10172      12/17/2015 Corporation                                                      $3.60                                                                                            $3.60
simon murciano
537 cedar hill road                                             RS Legacy Corporation fka RadioShack
far rockaway, ny 11691                    10173      12/17/2015 Corporation                                                     $16.06                                                                                           $16.06




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
anthony bird
1169 Yale ave                                                   RS Legacy Corporation fka RadioShack
wallingford, ct. 06492                    10174      12/17/2015 Corporation                                                      $0.00                                                                                            $0.00
Antonio Maldonado
65 Easton Ave.                                                  RS Legacy Corporation fka RadioShack
Waterbury, Ct. 06704                      10175      12/17/2015 Corporation                                                     $50.00                                                                                           $50.00
Richard Beckett
8 Chidester Road                                                RS Legacy Corporation fka RadioShack
Randolph, NJ 07869                        10176      12/17/2015 Corporation                                                     $21.44                                                                                           $21.44
Maggie Keller
3095 bishop estates road                                        RS Legacy Corporation fka RadioShack
Saint johns, Fl 32250                     10177      12/17/2015 Corporation                                                      $0.00                                                                                            $0.00
Lisa Garofola
50796 Briar Ridge Lane                                          RS Legacy Corporation fka RadioShack
Northville, MI 48168                      10178      12/17/2015 Corporation                                                     $25.00                                                                                           $25.00
Mauricio Mendez
8711 Rockcliff Dr.                                              RS Legacy Corporation fka RadioShack
Houston, TX 77037                         10179      12/17/2015 Corporation                                                     $32.48                                                                                           $32.48
Gabriel Ben‐Or
511 E. San Ysidro Blvd. t‐134                                   RS Legacy Corporation fka RadioShack
San ysidro, Ca 92173                      10180      12/17/2015 Corporation                                                     $21.39                                                                                           $21.39
Gloria Sabath
26910 Lunada Circle                                             RS Legacy Corporation fka RadioShack
Rancho Palos Verdes, CA 90275             10181      12/17/2015 Corporation                                                      $0.00                                                                                            $0.00
Pam Kadlubek
106 Sussex court                                                RS Legacy Corporation fka RadioShack
Lewes, De 19958                           10182      12/17/2015 Corporation                                                      $0.00                                                                                            $0.00
Krista Franklin
713 Seminary St                                                 RS Legacy Corporation fka RadioShack
Carrollton, ky 41008                      10183      12/17/2015 Corporation                                                      $6.29                                                                                            $6.29
evan lee
3127 Oak Knoll Dr                                               RS Legacy Corporation fka RadioShack
redwood city, ca 94062                    10184      12/17/2015 Corporation                                                      $0.00                                                                                            $0.00
Yelena Lunskaya
3775 Seven Hills Rd                                             RS Legacy Corporation fka RadioShack
Castro Valley, CA 94546                   10185      12/17/2015 Corporation                                                     $10.00                                                                                           $10.00
Damita IVEY
5104 Brooktree Dr                                               RS Legacy Corporation fka RadioShack
Charlotte, NC 28208                       10186      12/17/2015 Corporation                                                      $0.00                                                                                            $0.00
Teresa Eckman
82380 Golf View Dr                                              RS Legacy Corporation fka RadioShack
la Quinta, ca 92253                       10187      12/17/2015 Corporation                                                     $26.99                                                                                           $26.99
Orie Legum
PO Box 460117                                                   RS Legacy Corporation fka RadioShack
Fort Lauderdale, FL 33346                 10188      12/17/2015 Corporation                                                      $0.00                                                                                            $0.00
PATRICIA WOECK
5315 BEACH DR SW                                                RS Legacy Corporation fka RadioShack
SEATTLE, WA 98136                         10189      12/17/2015 Corporation                                                      $0.00                                                                                            $0.00
Diane MacNair
24 clove ave.                                                   RS Legacy Corporation fka RadioShack
Haverstraw, Ny 10927                      10190      12/17/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
stephen young
2358 S. Alahambra Dr.                                           RS Legacy Corporation fka RadioShack
Palm Springs, CA 92264                    10191      12/17/2015 Corporation                                                    $100.00                                                                                          $100.00
Boghossian, Mardik
460 Mercury Ln                                                  RS Legacy Corporation fka RadioShack
Pasadena, CA 91107                        10192      12/12/2015 Corporation                                                  $1,565.51                                                                                        $1,565.51
Filip Condeescu
3075 Heath Ave, Apt.1D                                          RS Legacy Corporation fka RadioShack
Bronx, NY 10463                           10193      12/17/2015 Corporation                                                      $0.00                                                                                            $0.00
Aghejian, Misak
1615 Bellford Ave                                               RS Legacy Corporation fka RadioShack
Pasadena, CA 91104                        10194      12/12/2015 Corporation                                                    $500.00              $0.00                                 $0.00                                 $500.00
Scott Petersen
12345 N Lamar STE 300                                           RS Legacy Corporation fka RadioShack
Austin, tx 78753                          10195      12/17/2015 Corporation                                                      $0.00                                                                                            $0.00
Jeff Sooy
1670 S Robert St #120                                           RS Legacy Corporation fka RadioShack
W St Paul, MN 55118                       10196      12/17/2015 Corporation                                                    $125.00                                                                                          $125.00
Berson, Anthony
200 Kanoelehua Ave.                                             RS Legacy Corporation fka RadioShack
Hilo, HI 96720                            10197      12/14/2015 Corporation                                                     $18.00                                                                                           $18.00
Lisa Quam
908 N. 2nd St.                                                  RS Legacy Corporation fka RadioShack
Cottonwood, Arizona 86326                 10198      12/17/2015 Corporation                                                      $0.00                                                                                            $0.00
Deborah Seay
228 Red Oak St                                                  RS Legacy Corporation fka RadioShack
Kilgore, TX 75662                         10199      12/17/2015 Corporation                                                     $75.77                                                                                           $75.77
claudia solomon
814 mechanic st                                                 RS Legacy Corporation fka RadioShack
florence, sc 29506                        10200      12/17/2015 Corporation                                                      $0.00                                                                                            $0.00
Albeldawi, Mazen
28551 Calabria Court #102                                       RS Legacy Corporation fka RadioShack
Naples, FL 34110                          10201      12/12/2015 Corporation                                                                      $100.00              $0.00               $0.00                                 $100.00
Tequilla Miller
572 Monday St.                                                  RS Legacy Corporation fka RadioShack
Mobile, Alabama 36603                     10202      12/17/2015 Corporation                                                     $16.50                                                                                           $16.50
Dalia
19230 Bessemer street                                           RS Legacy Corporation fka RadioShack
Tarzana, Ca 91335                         10203      12/17/2015 Corporation                                                      $0.00                                                                                            $0.00
Mary Mosher
305 W Springdale Lane                                           RS Legacy Corporation fka RadioShack
Grand Prairie, Texas 75052                10204      12/17/2015 Corporation                                                      $0.00                                                                                            $0.00
April Turner
337 Lee Rd 534                                                  RS Legacy Corporation fka RadioShack
Smiths, AL 36877                          10205      12/17/2015 Corporation                                                     $25.00                                                                                           $25.00
Angel Swindle
661 Deauville Drive Apt 2                                       RS Legacy Corporation fka RadioShack
Monroeville, PA 15146                     10206      12/17/2015 Corporation                                                      $8.33                                                                                            $8.33
Ken Levine
3801 Olmsted Ave.                                               RS Legacy Corporation fka RadioShack
Los Angeles, CA 90008                     10207      12/17/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Matthew Nierenberg
524 Brookline Boulevard                                         RS Legacy Corporation fka RadioShack
Havertown, PA 19083                       10208      12/17/2015 Corporation                                                     $42.39                                                                                           $42.39
Lana Brooks
1509 Harrison Ave                                               RS Legacy Corporation fka RadioShack
Centralia, WA 98531                       10209      12/17/2015 Corporation                                                     $97.19                                                                                           $97.19
ashley schutter
73 buckingham ct                                                RS Legacy Corporation fka RadioShack
pomona, NEW YORK 10970                    10210      12/17/2015 Corporation                                                      $0.00                                                                                            $0.00
COLLEEN GILLIS‐STANDLEY
174 WITHEE BROOK ROAD                                           RS Legacy Corporation fka RadioShack
MASON, NH 03048                           10211      12/17/2015 Corporation                                                      $0.00                                                                                            $0.00
Renee Terrell
PO Box 673673                                                   RS Legacy Corporation fka RadioShack
Marietta, GA 30006                        10212      12/17/2015 Corporation                                                     $74.44                                                                                           $74.44
Hema Desai
1 hipp brook dr.                                                RS Legacy Corporation fka RadioShack
penfield, ny 14526                        10213      12/18/2015 Corporation                                                      $0.00                                                                                            $0.00
dawn richiell
2 louisburg Square                                              RS Legacy Corporation fka RadioShack
nashua, nh 03060                          10214      12/18/2015 Corporation                                                     $10.00                                                                                           $10.00
David Stackpole
117 Vernondale Drive                                            RS Legacy Corporation fka RadioShack
Southington, ct 06489                     10215      12/18/2015 Corporation                                                      $0.00                                                                                            $0.00
Ansu Suseelan
11844 Autumn Sunset Way                                         RS Legacy Corporation fka RadioShack
Rancho Cordova, CA 95742                  10216      12/18/2015 Corporation                                                      $0.00                                                                                            $0.00
Lori Postak
2513 Lafayette Drive                                            RS Legacy Corporation fka RadioShack
University Heights, OH 44118              10217      12/18/2015 Corporation                                                      $0.00                                                                                            $0.00
Andrew Boucher
102 Gorham Pond Road                                            RS Legacy Corporation fka RadioShack
Goffstown, NH 03045                       10218      12/18/2015 Corporation                                                     $13.17                                                                                           $13.17
Austin Hillebrandt
W10522 Rowley Road                                              RS Legacy Corporation fka RadioShack
Portage, WI 53901                         10219      12/18/2015 Corporation                                                      $0.00                                                                                            $0.00
Vivek Sarada
1351 HARTLAND DR                                                RS Legacy Corporation fka RadioShack
TROY, MI 48083                            10220      12/18/2015 Corporation                                                     $10.66                                                                                           $10.66
Ronald Aman
1325 Barr Ave                                                   RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15205                      10221      12/18/2015 Corporation                                                      $0.00                                                                                            $0.00
Sridhar Sayam
10813 Grecian Dr                                                RS Legacy Corporation fka RadioShack
Mckinney, TX 75070                        10222      12/18/2015 Corporation                                                     $82.89                                                                                           $82.89
Crystal Reith
2174 61st St.                                                   RS Legacy Corporation fka RadioShack
Avoca, MN 56114                           10223      12/18/2015 Corporation                                                     $10.60                                                                                           $10.60
Julie Pruett
13742 308th Ave NW                                              RS Legacy Corporation fka RadioShack
Princeton, MN 55371                       10224      12/18/2015 Corporation                                                     $50.00                                                                                           $50.00




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Julie Pruett
13742 308th Ave NW                                              RS Legacy Corporation fka RadioShack
Princeton, MN 55371                       10225      12/18/2015 Corporation                                                     $50.00                                                                                           $50.00
Julie Pruett
13742 308th Ave NW                                              RS Legacy Corporation fka RadioShack
Princeton, MN 55371                       10226      12/18/2015 Corporation                                                     $50.00                                                                                           $50.00
EVAN WEISS
333 E. 79TH ST APT 6W                                           RS Legacy Corporation fka RadioShack
NEW YORK, NY 10075                        10227      12/18/2015 Corporation                                                     $50.00                                                                                           $50.00
Lori Kreher
4446 Yaeger Road                                                RS Legacy Corporation fka RadioShack
Freeburg, IL 62243                        10228      12/18/2015 Corporation                                                     $25.00                                                                                           $25.00
Xavier Faison
2360 maple avenue                                               RS Legacy Corporation fka RadioShack
Morrow, GA 30260                          10229      12/18/2015 Corporation                                                    $300.00                                                                                          $300.00
Craig DeArmond
17 W. Conron Ave.                                               RS Legacy Corporation fka RadioShack
Danville, IL 61832                        10230      12/18/2015 Corporation                                                     $25.00                                                                                           $25.00
Kim Seller
w198s10785 Red Oak Ct.                                          RS Legacy Corporation fka RadioShack
Muskego, WI 53150                         10231      12/18/2015 Corporation                                                    $108.12                                                                                          $108.12
John W Barber
1135 NW 35th St                                                 RS Legacy Corporation fka RadioShack
Corvallis, OR 97330                       10232      12/18/2015 Corporation                                                      $0.00                                                                                            $0.00
Scott Meyer
16307 Ranchita Drive                                            RS Legacy Corporation fka RadioShack
Dallas, TX 75248                          10233      12/18/2015 Corporation                                                      $7.68                                                                                            $7.68
GRACIE T VARGAS
10270 OLD CORPUS CHRISTI RD                                     RS Legacy Corporation fka RadioShack
SAN ANTONIO, TEXAS 78223                  10234      12/18/2015 Corporation                                                     $21.64                                                                                           $21.64
Pamela Spooner
2253 Bridle Path Drive                                          RS Legacy Corporation fka RadioShack
Waldorf, MD 20601                         10235      12/18/2015 Corporation                                                     $25.00                                                                                           $25.00
Alexander Tenshov
25 Peggy Lane                                                   RS Legacy Corporation fka RadioShack
Staten Island, NY 10306                   10236      12/18/2015 Corporation                                                      $0.00                                                                                            $0.00
Alexander Tenshov
25 Peggy Lane                                                   RS Legacy Corporation fka RadioShack
Staten Island, NY 10306                   10237      12/18/2015 Corporation                                                      $0.00                                                                                            $0.00
LISA THOMPSON
102 North Kelly Ave                                             RS Legacy Corporation fka RadioShack
Endwell, NY 13760                         10238      12/18/2015 Corporation                                                     $53.99                                                                                           $53.99
Ben carter
15333 Culver Drive Apt 340652                                   RS Legacy Corporation fka RadioShack
Irvine, CA 92618                          10239      12/18/2015 Corporation                                                      $0.00                                                                                            $0.00
Linda Hobbs
1008 south Smith Road, Apt. 5                                   RS Legacy Corporation fka RadioShack
Urbana, IL 61802                          10240      12/18/2015 Corporation                                                      $0.00                                                                                            $0.00
Michael Lawson
1405 Edith Blvd NE                                              RS Legacy Corporation fka RadioShack
Albuquerque, New Mexico 87102             10241      12/18/2015 Corporation                                                     $43.37                                                                                           $43.37




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Beth Friend
3739 Winter Leaf Drive                                          RS Legacy Corporation fka RadioShack
Traverse City, MI 49686                   10242      12/18/2015 Corporation                                                     $20.13                                                                                           $20.13
JACK CHEN
3643 HERITAGE COLONY DRIVE                                      RS Legacy Corporation fka RadioShack
MISSOURI CITY, TX 77459                   10243      12/18/2015 Corporation                                                      $0.00                                                                                            $0.00
Tyler danen
400 lake bluff dr                                               RS Legacy Corporation fka RadioShack
Oconomowoc, Wi 53066                      10244      12/18/2015 Corporation                                                      $0.00                                                                                            $0.00
Jerry Thompson
4604 N. Monticello Apt. G                                       RS Legacy Corporation fka RadioShack
Chicago, IL 60625                         10245      12/18/2015 Corporation                                                     $15.00                                                                                           $15.00
Lopez, Priscilla Christine
7212 Engelfield Dr                                              RS Legacy Corporation fka RadioShack
Bakersfield, CA 93307                     10246      12/17/2015 Corporation                                                    $784.35              $0.00                                                                       $784.35
Jerry Gonnuscio
17240 SW Sugar Plum Lane                                        RS Legacy Corporation fka RadioShack
Aloha, Oregon 97007                       10247      12/18/2015 Corporation                                                      $0.00                                                                                            $0.00
linda bianchi
11 neuchatel lane                                               RS Legacy Corporation fka RadioShack
fairport, ny 14450                        10248      12/18/2015 Corporation                                                     $54.49                                                                                           $54.49
Linda Bianchi
11 Neuchatel Lane                                               RS Legacy Corporation fka RadioShack
Fairport, ny 14450                        10249      12/18/2015 Corporation                                                      $0.00                                                                                            $0.00
April Walk
344 N 3500 E rd                                                 RS Legacy Corporation fka RadioShack
Sigel, il 62642                           10250      12/18/2015 Corporation                                                     $76.11                                                                                           $76.11
PARNELL, NICOLE
14679 DEER DR                                                   RS Legacy Corporation fka RadioShack
FONTANA, CA 92336                         10251      12/18/2015 Corporation                                                      $0.00                                                                                            $0.00
Matt Hubbs
8 Apple hill lane                                               RS Legacy Corporation fka RadioShack
Duxbury, MA 02332                         10252      12/18/2015 Corporation                                                      $0.00                                                                                            $0.00
Evangelina Olivas
3324 Jupiter Rd                                                 RS Legacy Corporation fka RadioShack
Las Cruces, NM 88012                      10253      12/18/2015 Corporation                                                      $0.00                                                                                            $0.00
amykoppes
10 attitash rd                                                  RS Legacy Corporation fka RadioShack
chappaqua, NY 10514                       10254      12/18/2015 Corporation                                                      $0.00                                                                                            $0.00
Kerry Koutouvidis
520 SE 5th Ave Apartment 1406                                   RS Legacy Corporation fka RadioShack
fort lauderdale, FL 33301                 10255      12/18/2015 Corporation                                                     $35.18                                                                                           $35.18
Placencia, Sandra
700 Isabell Rd.                                                 RS Legacy Corporation fka RadioShack
Bakersfield, CA 93306                     10256      12/16/2015 Corporation                                                  $1,669.55              $0.00                                                                     $1,669.55
Torres, Jose
201 s 1st st                                                    RS Legacy Corporation fka RadioShack
Yakima, WA 98901                          10257      12/11/2015 Corporation                                                                                                              $68.19                                  $68.19
Chaalan, Hassan
4326 SURREY DR                                                  RS Legacy Corporation fka RadioShack
CYPRESS, CA 90630                         10258      12/11/2015 Corporation                                                    $300.00                                                                                          $300.00




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
April Santistevan
P.o.O Box 774                                                   RS Legacy Corporation fka RadioShack
San Luis, Co. 81152                       10259      12/18/2015 Corporation                                                     $40.00                                                                                           $40.00
Arthur Gary
11552 Merejildo Madrid                                          RS Legacy Corporation fka RadioShack
El Paso, Texas 79934                      10260      12/18/2015 Corporation                                                      $0.00                                                                                            $0.00
randy bompane
44 Michigan ave                                                 RS Legacy Corporation fka RadioShack
lynn, ma 01902                            10261      12/18/2015 Corporation                                                      $0.00                                                                                            $0.00
karen giordano
88 bayview ave                                                  RS Legacy Corporation fka RadioShack
bayport, ny 11705                         10262      12/18/2015 Corporation                                                     $24.98                                                                                           $24.98
VENKATA PRASANNA KUMAR PENTAKOTA
12370 ALAMEDA TRACE CIR, APT 114                                RS Legacy Corporation fka RadioShack
AUSTIN, TX 78727                          10263      12/18/2015 Corporation                                                     $27.99                                                                                           $27.99
VENKATA PRASANNA KUMAR PENTAKOTA
12370 ALAMEDA TRACE CIR, APT 114                                RS Legacy Corporation fka RadioShack
AUSTIN, TX 78727                          10264      12/18/2015 Corporation                                                     $15.40                                                                                           $15.40
Katie Warpinski
N5626 County Rd A                                               RS Legacy Corporation fka RadioShack
Lake Mills, WI 53551                      10265      12/18/2015 Corporation                                                      $0.00                                                                                            $0.00
Angela Perry
1288 W 75 N                                                     RS Legacy Corporation fka RadioShack
Clearfield, UT 84015                      10266      12/18/2015 Corporation                                                    $100.00                                                                                          $100.00
melissa shannon
7108 high point drive                                           RS Legacy Corporation fka RadioShack
maurice, la 70555                         10267      12/18/2015 Corporation                                                     $21.62                                                                                           $21.62
Joshua Peterson
35582 Running Brook Lane                                        RS Legacy Corporation fka RadioShack
Elizabeth, CO 80107                       10268      12/18/2015 Corporation                                                     $64.04                                                                                           $64.04
Gary S. Wiedemann
3722 Buckingham Ct.                                             RS Legacy Corporation fka RadioShack
Boise, ID 83704                           10269      12/18/2015 Corporation                                                     $40.00                                                                                           $40.00
Gary S. Wiedemann
3722 Buckingham Ct.                                             RS Legacy Corporation fka RadioShack
Boise, ID 83704                           10270      12/18/2015 Corporation                                                     $14.21                                                                                           $14.21
Myiesha clements
832 Shasta Daisy Dr Brentwood CA94513                           RS Legacy Corporation fka RadioShack
brentwood, Ca 94513                       10271      12/18/2015 Corporation                                                      $0.00                                                                                            $0.00
Vickie Pagliarini
15 Williams Road                                                RS Legacy Corporation fka RadioShack
Trumbull, CT 06611                        10272      12/19/2015 Corporation                                                     $60.00                                                                                           $60.00
Jodi Jellie
214 maple street                                                RS Legacy Corporation fka RadioShack
Black river, Ny 13612                     10273      12/19/2015 Corporation                                                      $0.00                                                                                            $0.00
Tracy Finch
3726 Country Lane                                               RS Legacy Corporation fka RadioShack
Mount Pleasant, WI 53405                  10274      12/19/2015 Corporation                                                     $10.00                                                                                           $10.00
Jonathan Lehberger
32 Solomon Drive                                                RS Legacy Corporation fka RadioShack
Bridgewater, NJ 08807                     10275      12/19/2015 Corporation                                                     $28.87                                                                                           $28.87




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
natalie abramson
2526 South Milwaukee Street                                     RS Legacy Corporation fka RadioShack
Denver, CO 80210                          10276      12/19/2015 Corporation                                                     $20.00                                                                                           $20.00
Janet Tunget
1041 Bob O Link Drive                                           RS Legacy Corporation fka RadioShack
DARIEN, Illinois 60561                    10277      12/19/2015 Corporation                                                     $25.00                                                                                           $25.00
Fred Knapp
3847 Linden St.                                                 RS Legacy Corporation fka RadioShack
Lincoln, NE 68516                         10278      12/19/2015 Corporation                                                      $0.00                                                                                            $0.00
Eric Einstein
356 Pearl St                                                    RS Legacy Corporation fka RadioShack
Denver, CO 80203                          10279      12/19/2015 Corporation                                                      $0.00                                                                                            $0.00
Saba Woldu
153 College Ave                                                 RS Legacy Corporation fka RadioShack
Somerville, MA 02144                      10280      12/19/2015 Corporation                                                     $11.40                                                                                           $11.40
nicole kenig
6 harwood way                                                   RS Legacy Corporation fka RadioShack
medford, nj 08055                         10281      12/19/2015 Corporation                                                     $17.12                                                                                           $17.12
Nathan Johnston
2920 S. Miller Dr                                               RS Legacy Corporation fka RadioShack
Chandler, AZ 85286                        10282      12/19/2015 Corporation                                                     $25.00                                                                                           $25.00
Minto Michael
2544 Garzoni Dr                                                 RS Legacy Corporation fka RadioShack
Sparks, NV 89434                          10283      12/19/2015 Corporation                                                     $14.84                                                                                           $14.84
Gwen DeAntonio
3938 Manordale                                                  RS Legacy Corporation fka RadioShack
Houston, Texas 77082                      10284      12/19/2015 Corporation                                                    $174.99                                                                                          $174.99
Julia Alfonso
3741 S.W. 123rd Court                                           RS Legacy Corporation fka RadioShack
Miami, FL 33175                           10285      12/19/2015 Corporation                                                      $0.00                                                                                            $0.00
Jatin Goel
2000, E Arapaho Road, Apt # 6101                                RS Legacy Corporation fka RadioShack
Richardson, texas 75081                   10286      12/19/2015 Corporation                                                     $50.00                                                                                           $50.00
Tom boro
P.O.Box1096                                                     RS Legacy Corporation fka RadioShack
Temecula, Ca 92593                        10287      12/19/2015 Corporation                                                     $31.58                                                                                           $31.58
Corey Ellis
8560 Montravail Cir #632                                        RS Legacy Corporation fka RadioShack
Temple Terrace, FL 33637                  10288      12/19/2015 Corporation                                                     $71.27                                                                                           $71.27
Tim Belbutowski
5033 Trailridge Way                                             RS Legacy Corporation fka RadioShack
Dunwoody, GA 30338                        10289      12/19/2015 Corporation                                                      $0.00                                                                                            $0.00
Christine Cook
22 White Birch Circle                                           RS Legacy Corporation fka RadioShack
Rochester, ny 14624                       10290      12/19/2015 Corporation                                                      $0.00                                                                                            $0.00
Aneetpal Singh
3108 Val Vista Dr.                                              RS Legacy Corporation fka RadioShack
Easton, PA 18045                          10291      12/19/2015 Corporation                                                      $0.00                                                                                            $0.00
Ray Perez
705 East Market St                                              RS Legacy Corporation fka RadioShack
7Sinton, TX 78387                         10292      12/19/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                   Current General                                            Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Melissa Schechter
1683 Bullock Circle                                             RS Legacy Corporation fka RadioShack
Owings Mill, MD 21117                     10293      12/19/2015 Corporation                                                      $0.00                                                                                            $0.00
Kory Macdonald
129 Meredith Center Rd. #6                                      RS Legacy Corporation fka RadioShack
Meredith, N.H. 03253                      10294      12/19/2015 Corporation                                                      $0.00                                                                                            $0.00
Bing Liu
852 Mullrany Dr.                                                RS Legacy Corporation fka RadioShack
Coppell, TX 75019                         10295      12/19/2015 Corporation                                                     $25.00                                                                                           $25.00
James Marmara
66 Creighton Cir                                                RS Legacy Corporation fka RadioShack
Old Bridge, NJ 08857                      10296      12/19/2015 Corporation                                                     $11.10                                                                                           $11.10
Dustin Snyder
68 Methodist farm rd                                            RS Legacy Corporation fka RadioShack
Averill PaRK, ny 12018                    10297      12/19/2015 Corporation                                                     $27.00                                                                                           $27.00
Scott Pope
2933 SE Market st.                                              RS Legacy Corporation fka RadioShack
Portland, OR 97214                        10298      12/19/2015 Corporation                                                     $25.00                                                                                           $25.00
Tiffany Willard
1155 SE Conner Rd                                               RS Legacy Corporation fka RadioShack
El Doardo, Ks 67042                       10299      12/19/2015 Corporation                                                      $0.00                                                                                            $0.00
Megan Rudd
3140A Virginia Street                                           RS Legacy Corporation fka RadioShack
Conway, Arkansas 72034                    10300      12/19/2015 Corporation                                                      $0.00                                                                                            $0.00
Kristina Miller
6730 East Preston St. Unit 66                                   RS Legacy Corporation fka RadioShack
Mesa, AZ 85215                            10301      12/19/2015 Corporation                                                     $50.00                                                                                           $50.00
Lisa Metz
7 Rainey Lane                                                   RS Legacy Corporation fka RadioShack
Westport, Connecticut 06880               10302      12/19/2015 Corporation                                                      $0.00                                                                                            $0.00
Jodi Belcher
PO Box 37                                                       RS Legacy Corporation fka RadioShack
Fairdale, WV 25839                        10303      12/20/2015 Corporation                                                     $30.00                                                                                           $30.00
Joseph Mercado
2756 Corbel Loop                                                RS Legacy Corporation fka RadioShack
Kissimmee, FL 34746                       10304      12/20/2015 Corporation                                                     $89.42                                                                                           $89.42
Timothy G Dietz
428 West Avenue                                                 RS Legacy Corporation fka RadioShack
Wayne, PA 19087                           10305      12/20/2015 Corporation                                                      $0.00                                                                                            $0.00
Julie Tarlow
443 East Broad Street
2nd Floor                                                       RS Legacy Corporation fka RadioShack
Bethlehem, PA 18018                       10306      12/20/2015 Corporation                                                     $33.14                                                                                           $33.14
Jeffrey Blood
1212 Dahlia Ct                                                  RS Legacy Corporation fka RadioShack
Bel Air, MD 21014                         10307      12/20/2015 Corporation                                                     $10.00                                                                                           $10.00
Jeff Blood
1212 Dahlia Ct                                                  RS Legacy Corporation fka RadioShack
Bel Air, MD 21014                         10308      12/20/2015 Corporation                                                     $10.00                                                                                           $10.00
Jeff Blood
1212 Dahlia Ct                                                  RS Legacy Corporation fka RadioShack
Bel Air, MD 21014                         10309      12/20/2015 Corporation                                                      $0.00                                                                                            $0.00



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                                                                                                                       Amount                                                     Amount
Roel Garcia
4109 Santa Susana way                                           RS Legacy Corporation fka RadioShack
San Jose, CA 95111                        10310      12/20/2015 Corporation                                                     $50.00                                                                                           $50.00
Diana Smith
7527 Stonehouse run drive                                       RS Legacy Corporation fka RadioShack
Glen Burnie, Md 21060                     10311      12/20/2015 Corporation                                                      $0.00                                                                                            $0.00
sampson chateram
8124 chapel cove dr                                             RS Legacy Corporation fka RadioShack
laurel, maryland 20707                    10312      12/20/2015 Corporation                                                      $0.00                                                                                            $0.00
Emanuel Mulle
14542 Shadow Wood Lane                                          RS Legacy Corporation fka RadioShack
Delray Beach, Florida 33484               10313      12/20/2015 Corporation                                                     $25.00                                                                                           $25.00
Lewis Meyer
218 w liberty st                                                RS Legacy Corporation fka RadioShack
Lancaster, PA 17603                       10314      12/20/2015 Corporation                                                    $317.00                                                                                          $317.00
Peter Wu
91 Durand Drive                                                 RS Legacy Corporation fka RadioShack
marlboro, nj 07746                        10315      12/20/2015 Corporation                                                      $0.00                                                                                            $0.00
Keith Hildahl
7791 Dennison Blvd.                                             RS Legacy Corporation fka RadioShack
Northfield, MN 55057                      10316      12/20/2015 Corporation                                                      $0.00                                                                                            $0.00
Ann Wasson
P.O. Box 22023                                                  RS Legacy Corporation fka RadioShack
Carmel, CA 93922                          10317      12/20/2015 Corporation                                                      $0.00                                                                                            $0.00
Michael Silberman
1553 Butterfly Court                                            RS Legacy Corporation fka RadioShack
Yardley, Pa 19067                         10318      12/20/2015 Corporation                                                      $0.00                                                                                            $0.00
Jake Willi
118 Masten Ave                                                  RS Legacy Corporation fka RadioShack
Cohoes, NY 12047                          10319      12/20/2015 Corporation                                                     $10.79                                                                                           $10.79
Ross Bogash
3610 Bardfield Court                                            RS Legacy Corporation fka RadioShack
Cumming, Georgia 30041                    10320      12/20/2015 Corporation                                                      $5.35                                                                                            $5.35
Allison Kelly
206 Princeton Road                                              RS Legacy Corporation fka RadioShack
Parlin, NJ 08859                          10321      12/20/2015 Corporation                                                     $20.00                                                                                           $20.00
Karnitra Hall
1630 18th Place SW                                              RS Legacy Corporation fka RadioShack
Birmingham, Alabama 35211                 10322      12/20/2015 Corporation                                                     $43.34                                                                                           $43.34
Anil Sadasivan
2919 Thales Dr                                                  RS Legacy Corporation fka RadioShack
Troy, MI 48085                            10323      12/20/2015 Corporation                                                     $40.00                                                                                           $40.00
Nick Hovland
5330 San Mateo Blvd. NE, B 40                                   RS Legacy Corporation fka RadioShack
Albuquerque, NM 87109                     10324      12/20/2015 Corporation                                                      $0.00                                                                                            $0.00
Andrew Hartman
40 Gary Player DR                                               RS Legacy Corporation fka RadioShack
Etters, PA 17319                          10325      12/20/2015 Corporation                                                     $33.25                                                                                           $33.25
Cynthia Newton
2745 Sea Grove Lane                                             RS Legacy Corporation fka RadioShack
Fernandina Beach, Florida 32034           10326      12/20/2015 Corporation                                                     $50.00                                                                                           $50.00




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Donna Brann
633 doane dr apt B                                              RS Legacy Corporation fka RadioShack
Clarksville, Tn 37042                     10327      12/20/2015 Corporation                                                      $0.00                                                                                            $0.00
andy li
33 Albion st apt2                                               RS Legacy Corporation fka RadioShack
malden, ma 02148                          10328      12/20/2015 Corporation                                                    $100.00                                                                                          $100.00
songyang li
33 albion st                                                    RS Legacy Corporation fka RadioShack
malden, ma 02148                          10329      12/20/2015 Corporation                                                    $100.00                                                                                          $100.00
Pierce Campbell
124 mallard drive Avon CT                                       RS Legacy Corporation fka RadioShack
6001, 6001 06001                          10330      12/20/2015 Corporation                                                     $10.62                                                                                           $10.62
Ernest Li
99 Shoal Drive                                                  RS Legacy Corporation fka RadioShack
Daly City, CA 94014                       10331      12/20/2015 Corporation                                                     $50.00                                                                                           $50.00
Ronnie Warren
327 27th St.                                                    RS Legacy Corporation fka RadioShack
Springfield, MI 49037                     10332      12/20/2015 Corporation                                                    $100.00                                                                                          $100.00
nancy falconetti
4 burton way                                                    RS Legacy Corporation fka RadioShack
7850, nj landing                          10333      12/20/2015 Corporation                                                      $0.00                                                                                            $0.00
Ericka Ojeda
po box 155                                                      RS Legacy Corporation fka RadioShack
7850, landing new jersey                  10334      12/20/2015 Corporation                                                    $200.00                                                                                          $200.00
michele terray
5651 Cinnamon Fern Blvd                                         RS Legacy Corporation fka RadioShack
Cocoa, FL 32927                           10335      12/20/2015 Corporation                                                     $22.28                                                                                           $22.28
Christopoher Miele
525 N Graham St., Unit 2B                                       RS Legacy Corporation fka RadioShack
Charlotte, NC 28202                       10336      12/20/2015 Corporation                                                     $13.91                                                                                           $13.91
Matthew Wilkins
12402 Trebeau Ct                                                RS Legacy Corporation fka RadioShack
Houston, TX 77031                         10337      12/20/2015 Corporation                                                      $0.00                                                                                            $0.00
Jody Wyrsch
1816 Taos Estates St                                            RS Legacy Corporation fka RadioShack
Las Vegas, NV 89128                       10338      12/20/2015 Corporation                                                      $0.00                                                                                            $0.00
Chelsea Hagemann
1782 Starlight Canyon Ave.                                      RS Legacy Corporation fka RadioShack
Las Vegas, NV 89183                       10339      12/20/2015 Corporation                                                      $0.00                                                                                            $0.00
yitzchok zylberberg
715 AVENUE M                                                    RS Legacy Corporation fka RadioShack
BROOKLYN, NY 11230                        10340      12/20/2015 Corporation                                                     $12.43                                                                                           $12.43
Chris Dede
21108 E Sonoqui Drive                                           RS Legacy Corporation fka RadioShack
Queen Creek, AZ 85142                     10341      12/20/2015 Corporation                                                     $40.00                                                                                           $40.00
Edward Williams
244 e willock rd                                                RS Legacy Corporation fka RadioShack
Pittsburgh, Pa 15227                      10342      12/20/2015 Corporation                                                    $112.88                                                                                          $112.88
Nancy Visocki
140 East Linden Avenue                                          RS Legacy Corporation fka RadioShack
Dumont, NJ 07628‐1916                     10343      12/21/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
WEIBIN WU
13 FRANCES CIR                                                  RS Legacy Corporation fka RadioShack
BUENA PARK, CA 90621                      10344      12/21/2015 Corporation                                                      $0.00                                                                                            $0.00
claudyne pierre
5103 nw 30th Lane                                               RS Legacy Corporation fka RadioShack
fort lauderdale, fl 33309                 10345      12/21/2015 Corporation                                                     $50.00                                                                                           $50.00
Heather ford
1558 Emeric avenue                                              RS Legacy Corporation fka RadioShack
Simi Valley, Ca 93065                     10346      12/21/2015 Corporation                                                    $100.00                                                                                          $100.00
Allyson Garrity
2560 Wickersham Lane                                            RS Legacy Corporation fka RadioShack
Aston, PA 19014                           10347      12/21/2015 Corporation                                                      $0.00                                                                                            $0.00
Michael Jacobus
574 Indian Mound Rd                                             RS Legacy Corporation fka RadioShack
Columbus, OH 43213                        10348      12/21/2015 Corporation                                                     $16.11                                                                                           $16.11
Swathi Mudi
1202 Weatherstone Drive                                         RS Legacy Corporation fka RadioShack
Paoli, PA 19301                           10349      12/21/2015 Corporation                                                      $0.00                                                                                            $0.00
Martin Smith
46 Smith Rd                                                     RS Legacy Corporation fka RadioShack
Beaver Dams, NY 14812                     10350      12/21/2015 Corporation                                                      $0.00                                                                                            $0.00
Paul Bartlett
1182 Cherry Street                                              RS Legacy Corporation fka RadioShack
Winnetka, IL 60093                        10351      12/21/2015 Corporation                                                      $0.00                                                                                            $0.00
ARLENE FORBES
4724 LAYLA RD                                                   RS Legacy Corporation fka RadioShack
ARLINGTON, TX 76016                       10352      12/21/2015 Corporation                                                      $0.00                                                                                            $0.00
Danielle M.Sequino
2945 North‐Wading River Rd.                                     RS Legacy Corporation fka RadioShack
wading River, NY 11792‐1415               10353      12/21/2015 Corporation                                                     $45.00                                                                                           $45.00
Kendall Dulle
4119 11th st sw                                                 RS Legacy Corporation fka RadioShack
lehigh acres, fl 33976                    10354      12/21/2015 Corporation                                                     $50.00                                                                                           $50.00
Pat Montanio
2445 Sandburg Street                                            RS Legacy Corporation fka RadioShack
Dunn Loring, VA 22027                     10355      12/21/2015 Corporation                                                     $10.00                                                                                           $10.00
XUEMEI LIU
21 HEATHER DR                                                   RS Legacy Corporation fka RadioShack
CLIFTON PARK, NY 12065                    10356      12/21/2015 Corporation                                                    $160.49                                                                                          $160.49
patricia sinclair
712 bridle ridge road                                           RS Legacy Corporation fka RadioShack
eagan, mn 55123                           10357      12/21/2015 Corporation                                                      $0.00                                                                                            $0.00
Sam Sahlstrom
17585 Aspen Ave.                                                RS Legacy Corporation fka RadioShack
Tracu, MN 56175                           10358      12/21/2015 Corporation                                                      $0.00                                                                                            $0.00
Elizabeth Nguyen
173 Allen Street                                                RS Legacy Corporation fka RadioShack
Braintree, MA 02184                       10359      12/21/2015 Corporation                                                      $0.00                                                                                            $0.00
Juan Jimenez
1732 se lambright st                                            RS Legacy Corporation fka RadioShack
Tampa, Fl 33610                           10360      12/21/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                   Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Bichnhu Nguyen
321 Valencia Road                                               RS Legacy Corporation fka RadioShack
West Palm Beach, FL 33401                 10361      12/21/2015 Corporation                                                     $52.99                                                                                           $52.99
James Holyfield
1202 Westminster Dr                                             RS Legacy Corporation fka RadioShack
Greensboro, NC 27410                      10362      12/21/2015 Corporation                                                      $0.00                                                                                            $0.00
Martha Jo Ulmer
26354 Capay Bay Court                                           RS Legacy Corporation fka RadioShack
Moreno Valley, CA 92555‐6816              10363      12/21/2015 Corporation                                                     $26.42                                                                                           $26.42
Thornsley, Michelle
422 N. 11th St                                                  RS Legacy Corporation fka RadioShack
Coshocton, OH 43812                       10364      12/21/2015 Corporation                                                     $30.00                                                                                           $30.00
Kunst, Art
636 Mooreland Avenue                                            RS Legacy Corporation fka RadioShack
Carlise, PA 17013                         10365      12/11/2015 Corporation                                                      $0.00                                                                                            $0.00
Miller, Eddie D. D.
809 Tenth Ave.                                                  RS Legacy Corporation fka RadioShack
York, PA 17402                            10366      12/11/2015 Corporation                                                     $25.00                                                                                           $25.00
Maxwell, Susan
148 Mill Valley Rd.                                             RS Legacy Corporation fka RadioShack
Middleburgh, NY 12122                     10367      12/21/2015 Corporation                                                     $74.10                                                                                           $74.10
Torres, Marilie
Calle 12 Num. 9                                                 RS Legacy Corporation fka RadioShack
Cayey, PR 00736                           10368      12/11/2015 Corporation                                                    $100.00                                                                                          $100.00
Cluett, Jeffrey
4 Woodland Rd.                                                  RS Legacy Corporation fka RadioShack
Rockport, MA 01966                        10369      12/21/2015 Corporation                                                      $0.00                                                                                            $0.00
Varghese, John
8633 N.W. 57th Court                                            RS Legacy Corporation fka RadioShack
Coral Springs, FL 33067                   10370      12/14/2015 Corporation                                                      $0.00                                                                                            $0.00
Waite, John
130 Country Club Rd                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06708                       10371      12/21/2015 Corporation                                                     $50.00                                                                                           $50.00
Gordon, Robert S.
2047 Nuuanu Ave
Apt 1103                                                        RS Legacy Corporation fka RadioShack
Honolulu, HI 96817‐2520                   10372      12/14/2015 Corporation                                                     $50.00                                                                                           $50.00
Dorrance, Cathy
624 Armistice Boulevard                                         RS Legacy Corporation fka RadioShack
Pawtucket, RI 02861                       10373      12/14/2015 Corporation                                                     $81.33                                                                                           $81.33
Wolsieffer, Carl
60 Fire Station Road                                            RS Legacy Corporation fka RadioShack
Osterville, MA 02655                      10374      12/11/2015 Corporation                                                     $19.48                                                                                           $19.48
Riccoboni, Shelia
61 Strawberry Hill Rd                                           RS Legacy Corporation fka RadioShack
New Canaan, CT 06840                      10375      12/11/2015 Corporation                                                     $50.00                                                                                           $50.00
Rita Cain
3255A Shamrock Dr.                                              RS Legacy Corporation fka RadioShack
Charlotte, NC 28215                       10376      12/21/2015 Corporation                                                      $0.00                                                                                            $0.00
stephen galik
1251 HWY 14 NE                                                  RS Legacy Corporation fka RadioShack
denhoff, ND 58430                         10377      12/21/2015 Corporation                                                    $100.00                                                                                          $100.00



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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Ewald Toldt
9733 w hunt club dr                                             RS Legacy Corporation fka RadioShack
Mequon, Wis 53097                         10378      12/21/2015 Corporation                                                      $0.00                                                                                            $0.00
Joe Timbrook
603 N. 14th Street                                              RS Legacy Corporation fka RadioShack
Mitchell, in 47446                        10379      12/21/2015 Corporation                                                     $25.00                                                                                           $25.00
Matthew Ball
112 Seale Ave.                                                  RS Legacy Corporation fka RadioShack
Palo Alto, CA 94301                       10380      12/21/2015 Corporation                                                      $4.12                                                                                            $4.12
John Verikas
714 Royal Park rd                                               RS Legacy Corporation fka RadioShack
racine, wi 53402                          10381      12/21/2015 Corporation                                                    $101.18                                                                                          $101.18
Daniel Black
6 Onondaga Street                                               RS Legacy Corporation fka RadioShack
Old Bridge, NJ 08857                      10382      12/21/2015 Corporation                                                      $0.00                                                                                            $0.00
heidi ambrosino
141 co. hwy. 146                                                RS Legacy Corporation fka RadioShack
gloversville, ny 12078                    10383      12/21/2015 Corporation                                                     $30.00                                                                                           $30.00
Vamshi
1330 Old Spanish Trail, Apt 4204                                RS Legacy Corporation fka RadioShack
Houston, Texas 77054                      10384      12/21/2015 Corporation                                                     $11.24                                                                                           $11.24
marnie robbins
60 Cindy Lane                                                   RS Legacy Corporation fka RadioShack
Guilford, CT 06437                        10385      12/21/2015 Corporation                                                      $0.00                                                                                            $0.00
Robert Bosley
1286 Brooklawn Rd NE                                            RS Legacy Corporation fka RadioShack
Atlanta, GA 30319                         10386      12/21/2015 Corporation                                                    $106.00                                                                                          $106.00
Abigail Perry
78 Pickering St.                                                RS Legacy Corporation fka RadioShack
Manchester, NH 03104                      10387      12/21/2015 Corporation                                                      $0.00                                                                                            $0.00
John Brun
5215 Rebel Ridge Dr                                             RS Legacy Corporation fka RadioShack
Sugar Land, Texas 77478                   10388      12/21/2015 Corporation                                                     $25.00                                                                                           $25.00
Denise Groth
2605 Country Club Blvd                                          RS Legacy Corporation fka RadioShack
Sugar Land, Tx 77478                      10389      12/21/2015 Corporation                                                     $20.00                                                                                           $20.00
John Brun
5215 Rebel Ridge Dr                                             RS Legacy Corporation fka RadioShack
Sugar Land, Texas 77478                   10390      12/21/2015 Corporation                                                     $25.00                                                                                           $25.00
Rita Sanders
909 Wynhaven Lane                                               RS Legacy Corporation fka RadioShack
Ballwin, MO 63011                         10391      12/21/2015 Corporation                                                      $0.00                                                                                            $0.00
Stephanie Millet
125 Rue Bergere                                                 RS Legacy Corporation fka RadioShack
Thibodaux, La 70301                       10392      12/21/2015 Corporation                                                     $66.08                                                                                           $66.08
Arkady Uvaydov
6820 N 13th Place                                               RS Legacy Corporation fka RadioShack
Phoenix, AZ 85014                         10393      12/21/2015 Corporation                                                     $34.00                                                                                           $34.00
Stephanie Millet
125 Rue Bergere                                                 RS Legacy Corporation fka RadioShack
Thibodaux, La 70301                       10394      12/21/2015 Corporation                                                     $66.08                                                                                           $66.08




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Alessandro Garistina
377 Landing Street                                              RS Legacy Corporation fka RadioShack
Lumberton, NJ 08048                       10395      12/21/2015 Corporation                                                     $40.00                                                                                           $40.00
Kevin M. Rice
1216 Royal Lane                                                 RS Legacy Corporation fka RadioShack
West Deptford, NJ 08086                   10396      12/21/2015 Corporation                                                     $26.74                                                                                           $26.74
Stacey Carney
4402 Mt Adams View Drive                                        RS Legacy Corporation fka RadioShack
West Richland, WA 99353                   10397      12/21/2015 Corporation                                                     $50.00                                                                                           $50.00
Emeria Catalan
2474 Lewis st #E                                                RS Legacy Corporation fka RadioShack
Signal Hill, Ca 90755                     10398      12/21/2015 Corporation                                                     $34.62                                                                                           $34.62
SARAH KELLER
222 ELWOOD DR                                                   RS Legacy Corporation fka RadioShack
MCKENZIE, TN 38201                        10399      12/21/2015 Corporation                                                      $0.00                                                                                            $0.00
mauro ortiz
4343 n clarendon ave 2515                                       RS Legacy Corporation fka RadioShack
chicago, il 60613                         10400      12/21/2015 Corporation                                                     $20.00                                                                                           $20.00
Jon Bilodeau
1061 Upper Cold River Road                                      RS Legacy Corporation fka RadioShack
Shrewsbury, VT 05738                      10401      12/21/2015 Corporation                                                    $101.63                                                                                          $101.63
Paul Lyman
7675 Poplar Field Circle                                        RS Legacy Corporation fka RadioShack
Baldwinsville, NY 13027                   10402      12/21/2015 Corporation                                                     $10.00                                                                                           $10.00
Paul Lyman
7675 Poplar Field Circle                                        RS Legacy Corporation fka RadioShack
Baldwinsville, NY 13027                   10403      12/21/2015 Corporation                                                     $10.00                                                                                           $10.00
chad willis
PO BOX 436                                                      RS Legacy Corporation fka RadioShack
ARCHER, FL 32618                          10404      12/21/2015 Corporation                                                     $50.00                                                                                           $50.00
Lyndsey Clark
8722 Wayne Road                                                 RS Legacy Corporation fka RadioShack
Wayne, Ohio 43466                         10405      12/21/2015 Corporation                                                      $0.00                                                                                            $0.00
Jordan cook
4942 olive st                                                   RS Legacy Corporation fka RadioShack
Kc, Mo 64130                              10406      12/21/2015 Corporation                                                     $15.00                                                                                           $15.00
Lyndsey Clark
8722 Wayne Rd                                                   RS Legacy Corporation fka RadioShack
Wayne, Ohio 43466                         10407      12/21/2015 Corporation                                                      $0.00                                                                                            $0.00
Janet Larkin
4023 Araby Church Rd                                            RS Legacy Corporation fka RadioShack
Frederick, MD 21704                       10408      12/21/2015 Corporation                                                      $0.00                                                                                            $0.00
Donny Nguyen
1604 Cerro Gordo Street                                         RS Legacy Corporation fka RadioShack
Los Angeles, CA 90026                     10409      12/21/2015 Corporation                                                     $50.00                                                                                           $50.00
Gerald Connors
12123 S. Richard Ave.                                           RS Legacy Corporation fka RadioShack
Palos Heights, il 60463                   10410      12/21/2015 Corporation                                                      $0.00                                                                                            $0.00
Donny Nguyen
1604 Cerro Gordo Street                                         RS Legacy Corporation fka RadioShack
Los Angeles, CA 90026                     10411      12/21/2015 Corporation                                                     $50.00                                                                                           $50.00




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                                                                                                                   Current General                                            Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Donny Nguyen
1604 Cerro Gordo Street                                         RS Legacy Corporation fka RadioShack
Los Angeles, CA 90026                     10412      12/21/2015 Corporation                                                     $50.00                                                                                           $50.00
Kenda D DeFord
132 Cattail Circle                                              RS Legacy Corporation fka RadioShack
Saint Johns, FL 32259                     10413      12/22/2015 Corporation                                                      $0.00                                                                                            $0.00
chris kislow
600 west duerer str                                             RS Legacy Corporation fka RadioShack
egg harbor city, nj 08215                 10414      12/22/2015 Corporation                                                     $25.00                                                                                           $25.00
Clara Werner
7945 Porpoise Drive                                             RS Legacy Corporation fka RadioShack
Marathon, FL 33050, FL 33050              10415      12/22/2015 Corporation                                                     $80.00                                                                                           $80.00
Dustin Campbell
479 E 3400 S A                                                  RS Legacy Corporation fka RadioShack
Salt Lake City, UT 84115                  10416      12/22/2015 Corporation                                                     $34.61                                                                                           $34.61
Daniel Griese
6091 Meadowood Ct                                               RS Legacy Corporation fka RadioShack
Savage, MN 55378‐3604                     10417      12/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Andre Young
9 Maryanne Lane                                                 RS Legacy Corporation fka RadioShack
Stamford, CT 06905                        10418      12/22/2015 Corporation                                                    $100.00                                                                                          $100.00
Patrick Sellner
343 McCabe Drive                                                RS Legacy Corporation fka RadioShack
Greensburg, PA 15601                      10419      12/22/2015 Corporation                                                     $50.00                                                                                           $50.00
Christy Mobley
851 Sheparkon Dr.                                               RS Legacy Corporation fka RadioShack
Midlothian, TX 76065                      10420      12/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Wayd Emma
153 James Way                                                   RS Legacy Corporation fka RadioShack
Southampton, PA 18966                     10421      12/22/2015 Corporation                                                    $127.18                                                                                          $127.18
Wendy White
91 Pineswamp Road                                               RS Legacy Corporation fka RadioShack
Ipswich, MA 01938                         10422      12/22/2015 Corporation                                                     $16.26                                                                                           $16.26
Jerry Buttner
6922 San Pasqual Circle                                         RS Legacy Corporation fka RadioShack
Buena Park, CA 90620                      10423      12/22/2015 Corporation                                                     $31.15                                                                                           $31.15
Michael Pippenger
133 Holly Ave.                                                  RS Legacy Corporation fka RadioShack
Darien, IL 60561                          10424      12/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Wightman Cheryl
106R Pearl St                                                   RS Legacy Corporation fka RadioShack
Woburn, MA 01801                          10425      12/22/2015 Corporation                                                     $20.00                                                                                           $20.00
Wehrle, Robert
104 Amesbury Drive                                              RS Legacy Corporation fka RadioShack
Pittsburgh , PA 15241                     10426      12/14/2015 Corporation                                                     $25.00                                                                                           $25.00
Ron Hayunga
798 Arbor Rd.                                                   RS Legacy Corporation fka RadioShack
Paramus, NJ 07652                         10427      12/22/2015 Corporation                                                     $13.90                                                                                           $13.90
SAMUEL CHADIN F
1621 COLLINS AVE UNIT 705                                       RS Legacy Corporation fka RadioShack
MIAMI BEACH, FLORIDA 33139                10428      12/22/2015 Corporation                                                    $106.99                                                                                          $106.99




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                                                                                                                    Current General                                            Current 503(b)(9)
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                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
Shirl Jones
2825 Chappel Ave                                                 RS Legacy Corporation fka RadioShack
Wilmington , NC 28412, 28412 2825 Chapp    10429      12/22/2015 Corporation                                                     $20.00                                                                                           $20.00
Keith Grimball
1008 Francis Street                                              RS Legacy Corporation fka RadioShack
Patterson, LA 70392                        10430      12/22/2015 Corporation                                                     $10.00                                                                                           $10.00
kayla senuta
11 north summer st 3D                                            RS Legacy Corporation fka RadioShack
holyoke, Massachusetts 01040               10431      12/22/2015 Corporation                                                      $0.00                                                                                            $0.00
ANTHONY C HILL
1951 W 84th Pl                                                   RS Legacy Corporation fka RadioShack
Los Angeles, CA 90047                      10432      12/22/2015 Corporation                                                     $25.00                                                                                           $25.00
kayla senuta
11 north summer st 3D                                            RS Legacy Corporation fka RadioShack
holyoke, Massachusetts 01040               10433      12/22/2015 Corporation                                                      $0.00                                                                                            $0.00
ANTHONY C HILL
1951 W 84th Pl                                                   RS Legacy Corporation fka RadioShack
Los Angeles, CA 90047                      10434      12/22/2015 Corporation                                                     $25.00                                                                                           $25.00
Geri Benson
6 Mark Circle                                                    RS Legacy Corporation fka RadioShack
Kincheloe, MI 49788                        10435      12/22/2015 Corporation                                                     $29.37                                                                                           $29.37
Tiffany Wright
4046 S. Willow Wyck Drive                                        RS Legacy Corporation fka RadioShack
Memphis, Tn 38118                          10436      12/22/2015 Corporation                                                     $20.00                                                                                           $20.00
DAVID C BENSON
132 CARDINAL DR                                                  RS Legacy Corporation fka RadioShack
HOWARD, PA 16841                           10437      12/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Ryan Webb
4900 S. Figueroa Street Apt 105                                  RS Legacy Corporation fka RadioShack
Los Angeles, CA 90037‐5301                 10438      12/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Snehal Patel
348 Huntington Court                                             RS Legacy Corporation fka RadioShack
West Chester, PA 19380                     10439      12/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Sherry merryman
12 Gemma dr                                                      RS Legacy Corporation fka RadioShack
Peabody, Ma 01960                          10440      12/22/2015 Corporation                                                     $60.00                                                                                           $60.00
Terri Guillott‐Botts
904 Meadowbrook Drive                                            RS Legacy Corporation fka RadioShack
Kearney, MO 64060                          10441      12/22/2015 Corporation                                                      $0.00                                                                                            $0.00
April Coburn
1 Willis Ave                                                     RS Legacy Corporation fka RadioShack
Port Jefferson, NY 11777                   10442      12/22/2015 Corporation                                                     $20.15                                                                                           $20.15
Robert Connerney
9 Renfrew Park                                                   RS Legacy Corporation fka RadioShack
Middletown, RI 02842                       10443      12/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Heather Florendo
938 18th Avenue                                                  RS Legacy Corporation fka RadioShack
Honolulu, HI 96816                         10444      12/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Brian Side
1581 Narrows Drive                                               RS Legacy Corporation fka RadioShack
Chesterfield, MO 63017‐7751                10445      12/22/2015 Corporation                                                     $12.48                                                                                           $12.48




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                                                                                                                   Current General                                            Current 503(b)(9)
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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Jay Lokan
418 Oxford Ln                                                   RS Legacy Corporation fka RadioShack
Chalfont, PA 18914                        10446      12/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Michelle Couturier
5371 S. 115th Street                                            RS Legacy Corporation fka RadioShack
Hales Corners, WI 53130                   10447      12/22/2015 Corporation                                                     $21.12                                                                                           $21.12
Barbara Wright
1047 Hopewell Road                                              RS Legacy Corporation fka RadioShack
Blacksburg, SC 29702                      10448      12/22/2015 Corporation                                                     $50.00                                                                                           $50.00
Matthew De Jesus
65 Oneida ave                                                   RS Legacy Corporation fka RadioShack
San Francisco, CA 94112                   10449      12/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Ryan Yee
236 N Conlon Ave                                                RS Legacy Corporation fka RadioShack
West Covina, CA 91790                     10450      12/22/2015 Corporation                                                     $12.21                                                                                           $12.21
Robert Burgese
2728 South Smedley Street                                       RS Legacy Corporation fka RadioShack
Philadelphia, PA 19145                    10451      12/22/2015 Corporation                                                     $39.23                                                                                           $39.23
Jackie Kramer
10179 E. Kimball Rd.                                            RS Legacy Corporation fka RadioShack
Pewamo, MI 48873                          10452      12/22/2015 Corporation                                                     $60.00                                                                                           $60.00
Stephanie Matthews
46 S Good Hope Rd                                               RS Legacy Corporation fka RadioShack
Greenville, PA 16125                      10453      12/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Kara Palladino
1602 Applegate Lane                                             RS Legacy Corporation fka RadioShack
Pottstown, Pa 19464                       10454      12/22/2015 Corporation                                                     $55.38                                                                                           $55.38
Natasha Nevarez
4301 East Cheltenham Ave                                        RS Legacy Corporation fka RadioShack
Philadelphia, PA 19124                    10455      12/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Jennifer Lackey
1103 Monte Sano Drive                                           RS Legacy Corporation fka RadioShack
Scottsboro, AL 35769                      10456      12/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Terri Barth
2312 S Emerson Apt A                                            RS Legacy Corporation fka RadioShack
Gillette, WY 82718                        10457      12/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Greg Watson
10531 Durrey Court                                              RS Legacy Corporation fka RadioShack
Reminderville, OH 44202                   10458      12/22/2015 Corporation                                                     $75.00                                                                                           $75.00
David phillips
P.o. box 2143                                                   RS Legacy Corporation fka RadioShack
Bedford, In 47421                         10459      12/22/2015 Corporation                                                    $500.00                                                                                          $500.00
John McFayden
460 Wayside Place                                               RS Legacy Corporation fka RadioShack
Diamond Bar, CA 91765                     10460      12/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Kimberly Christian
4991 Lower Elm Street                                           RS Legacy Corporation fka RadioShack
Atlanta, GA 30349                         10461      12/22/2015 Corporation                                                     $79.69                                                                                           $79.69
Mike Daniels
399 S 600 E                                                     RS Legacy Corporation fka RadioShack
Mt. Pleasant, UT 84647                    10462      12/22/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Julie Seitter
167 Harwood Ave                                                 RS Legacy Corporation fka RadioShack
Littleton, MA 01460                       10463      12/22/2015 Corporation                                                     $50.00                                                                                           $50.00
Lisa Vacheron
160 Queens Grant Drive                                          RS Legacy Corporation fka RadioShack
Fairfield, CT 06824                       10464      12/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Mary Glassanos
1615 Folsom Street                                              RS Legacy Corporation fka RadioShack
San Francisco, Ca 94103                   10465      12/22/2015 Corporation                                                     $10.00                                                                                           $10.00
Edith Tray
838 crosstown blvd nw                                           RS Legacy Corporation fka RadioShack
andover, mn 55304                         10466      12/22/2015 Corporation                                                     $28.15                                                                                           $28.15
chuck luther
624 Senators Ridge Dr.                                          RS Legacy Corporation fka RadioShack
Dallas, GA 30132                          10467      12/22/2015 Corporation                                                      $7.94                                                                                            $7.94
Denis Botambekov
655 Furth Rd. NW                                                RS Legacy Corporation fka RadioShack
Palm Bay, FL 32907                        10468      12/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Jim Ablard
1047 Rocky Meadows Lane                                         RS Legacy Corporation fka RadioShack
Concord, NC 28025                         10469      12/22/2015 Corporation                                                     $34.93                                                                                           $34.93
Jennifer Wallace
399 Kwando Lane                                                 RS Legacy Corporation fka RadioShack
Bullard, TX 75757                         10470      12/22/2015 Corporation                                                     $54.11                                                                                           $54.11
Russell Driscoll
8702 E Indian Hills Rd Unit B                                   RS Legacy Corporation fka RadioShack
ORange, CA 92869                          10471      12/22/2015 Corporation                                                      $0.00                                                                                            $0.00
linda rizza
503 stevens                                                     RS Legacy Corporation fka RadioShack
dundee, IL 60118                          10472      12/22/2015 Corporation                                                     $10.00                                                                                           $10.00
Jeffrey Daddino
242 Mill Rd.                                                    RS Legacy Corporation fka RadioShack
yaphank, ny 11980                         10473      12/22/2015 Corporation                                                     $38.01                                                                                           $38.01
Laura Carpenter
2453 Aumakua Street                                             RS Legacy Corporation fka RadioShack
Pearl City, HI 96782                      10474      12/22/2015 Corporation                                                     $10.46                                                                                           $10.46
Dana Desiderio
PO box 333                                                      RS Legacy Corporation fka RadioShack
Oldwick, Nj 08858                         10475      12/22/2015 Corporation                                                      $0.00                                                                                            $0.00
GAnesh Rajamanickam
22901 Emerald Chase Place                                       RS Legacy Corporation fka RadioShack
Ashburn, VA 20148                         10476      12/22/2015 Corporation                                                     $65.00                                                                                           $65.00
Nolan Meyer
2212 Hampton Rhodes Ct NW                                       RS Legacy Corporation fka RadioShack
Rochester, MN 55901                       10477      12/22/2015 Corporation                                                     $25.00                                                                                           $25.00
Jonathan Warshay
7366 Birchwood Trail                                            RS Legacy Corporation fka RadioShack
West Bloomfield Township, MI 48322        10478      12/22/2015 Corporation                                                      $0.00                                                                                            $0.00
David Porianda
165 Forest Drive                                                RS Legacy Corporation fka RadioShack
Mount Kisco, NY 10549                     10479      12/22/2015 Corporation                                                     $25.00                                                                                           $25.00




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                                                                                                                   Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Helen H Nam
1241 Gabriel Garcia Marquez St, G181                            RS Legacy Corporation fka RadioShack
Los Angeles, CA 90033                     10480      12/22/2015 Corporation                                                     $16.35                                                                                           $16.35
Yvonne Yang
8968 Menkar Road                                                RS Legacy Corporation fka RadioShack
San Diego, CA 92126                       10481      12/22/2015 Corporation                                                     $11.00                                                                                           $11.00
Mark Hunziker
526 n hardin ave                                                RS Legacy Corporation fka RadioShack
freeport, il 61032                        10482      12/22/2015 Corporation                                                     $25.00                                                                                           $25.00
marsha gaspari
301 hermitage rd                                                RS Legacy Corporation fka RadioShack
Charlotte, nc 28207                       10483      12/22/2015 Corporation                                                     $25.00                                                                                           $25.00
Catherine DeMoon
29915 Tanya Trail                                               RS Legacy Corporation fka RadioShack
Libertyville, IL 60048                    10484      12/22/2015 Corporation                                                      $3.22                                                                                            $3.22
Steve Ridgeway
29 A South st                                                   RS Legacy Corporation fka RadioShack
concord, nh 03301                         10485      12/23/2015 Corporation                                                      $0.00                                                                                            $0.00
FRANK WU
280 WATTIS WAY, UNIT A                                          RS Legacy Corporation fka RadioShack
South San Francisco, CA 94080             10486      12/23/2015 Corporation                                                      $0.00                                                                                            $0.00
C. Armando Delgadillo
2614 182nd street                                               RS Legacy Corporation fka RadioShack
redondo beach, ca 90278                   10487      12/23/2015 Corporation                                                      $0.00                                                                                            $0.00
Edward Nemanic
531 East 14th Street                                            RS Legacy Corporation fka RadioShack
Marysville, CA 95901                      10488      12/23/2015 Corporation                                                    $100.00                                                                                          $100.00
Edward Nemanic
531 East 14th Street                                            RS Legacy Corporation fka RadioShack
Marysvillw, CA 95901                      10489      12/23/2015 Corporation                                                    $100.00                                                                                          $100.00
Eric Weinbaum
17 Wheeler Drive                                                RS Legacy Corporation fka RadioShack
Cortlandt Manor, NY 10567                 10490      12/23/2015 Corporation                                                      $0.00                                                                                            $0.00
Kelsey J Murdoch
3411 Aston Ct                                                   RS Legacy Corporation fka RadioShack
Cincinnati, OH 45209                      10491      12/23/2015 Corporation                                                     $23.48                                                                                           $23.48
Yvonne Bedford
1140 S Lorraine Rd #1A                                          RS Legacy Corporation fka RadioShack
Wheaton, IL 60189                         10492      12/23/2015 Corporation                                                     $48.70                                                                                           $48.70
Dave Krumme
5624 Skimmer Drive                                              RS Legacy Corporation fka RadioShack
Apollo Beach, FL 33572                    10493      12/23/2015 Corporation                                                     $42.79                                                                                           $42.79
Joan Santulli
114 Heather Drive                                               RS Legacy Corporation fka RadioShack
New Canaan, CT 06840                      10494      12/23/2015 Corporation                                                      $0.00                                                                                            $0.00
Vilas Satkalmi
263‐10A 73rd Ave                                                RS Legacy Corporation fka RadioShack
Glen Oaks, NY 11004                       10495      12/23/2015 Corporation                                                     $20.00                                                                                           $20.00
nadine berry
po box 114                                                      RS Legacy Corporation fka RadioShack
ross, CA 94957                            10496      12/23/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                   Current General                                            Current 503(b)(9)
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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
rachel ericson
151 blair dr                                                    RS Legacy Corporation fka RadioShack
angier, nc 27501                          10497      12/23/2015 Corporation                                                    $100.00                                                                                          $100.00
Kayla Riggs
4390 Taylors Ridge Road                                         RS Legacy Corporation fka RadioShack
Proctor, WV 26055                         10498      12/23/2015 Corporation                                                      $0.00                                                                                            $0.00
Tanci Cuthbertson
1446 Frog Pond RD.                                              RS Legacy Corporation fka RadioShack
Sherman, TX 75092                         10499      12/23/2015 Corporation                                                      $0.00                                                                                            $0.00
Ronald Wolf
3483 Westbury Road                                              RS Legacy Corporation fka RadioShack
Dayton, Ohio 45409                        10500      12/23/2015 Corporation                                                      $0.00                                                                                            $0.00
rose bautch
227 n crocker                                                   RS Legacy Corporation fka RadioShack
port washington, wi 53074                 10501      12/23/2015 Corporation                                                      $0.00                                                                                            $0.00
Tia Sanders
2321 Dowd Lane                                                  RS Legacy Corporation fka RadioShack
Austin, TX 78728                          10502      12/23/2015 Corporation                                                     $11.24                                                                                           $11.24
Gerard J Preisinger
26 Quails Run Blvd Unit #10                                     RS Legacy Corporation fka RadioShack
Englewood,, Florida 34223                 10503      12/23/2015 Corporation                                                     $25.00                                                                                           $25.00
Calen Kaneko
1231 NE 124th St                                                RS Legacy Corporation fka RadioShack
Seattle, Wa 98125                         10504      12/23/2015 Corporation                                                      $7.60                                                                                            $7.60
jim lovallo
744 Englewood ave, apt 3                                        RS Legacy Corporation fka RadioShack
tonawanda, new york 14223                 10505      12/23/2015 Corporation                                                      $0.00                                                                                            $0.00
Nathaniel Orquia
7203 Austin Lake Circle                                         RS Legacy Corporation fka RadioShack
Smyrna, Georgia 30082                     10506      12/23/2015 Corporation                                                     $15.00                                                                                           $15.00
Ajith Kalakunja
4829 Toledo Bend Dr                                             RS Legacy Corporation fka RadioShack
Frisco, TX 75033                          10507      12/23/2015 Corporation                                                     $25.00                                                                                           $25.00
Vikram Ramasahayam
1594 Streamwood Ct                                              RS Legacy Corporation fka RadioShack
Rochester Hills, MI 48309                 10508      12/23/2015 Corporation                                                     $11.01                                                                                           $11.01
Brian Moore
2309 Farleigh Rd.                                               RS Legacy Corporation fka RadioShack
Columbus, Ohio 43221                      10509      12/23/2015 Corporation                                                      $0.00                                                                                            $0.00
Giselle Uribe
6001 king ave                                                   RS Legacy Corporation fka RadioShack
Maywood, Ca 90270                         10510      12/23/2015 Corporation                                                     $50.00                                                                                           $50.00
Jim Watkins
5401 S. Caraway Rd.                                             RS Legacy Corporation fka RadioShack
Jonesboro, AR 72404                       10511      12/23/2015 Corporation                                                     $29.27                                                                                           $29.27
Jennifer Robertson
166 31st Avenue                                                 RS Legacy Corporation fka RadioShack
San Mateo, CA 94404                       10512      12/23/2015 Corporation                                                      $0.00                                                                                            $0.00
Daniel Somers
9 Sherlock Lane                                                 RS Legacy Corporation fka RadioShack
Westford, MA 01886                        10513      12/23/2015 Corporation                                                     $25.00                                                                                           $25.00




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                                                                                                                     Current General                                            Current 503(b)(9)
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                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                     Amount
janelle mauldin
3661 lama ave                                                     RS Legacy Corporation fka RadioShack
long beach, ca 90808                        10514      12/23/2015 Corporation                                                      $0.00                                                                                            $0.00
David Demler
2339 S 51 street Apt#104                                          RS Legacy Corporation fka RadioShack
milwaukee, WI 53219                         10515      12/23/2015 Corporation                                                     $26.00                                                                                           $26.00
Susan Mamiya
7192 Kalanianaole Hwy. Ste A143A PMB 120                          RS Legacy Corporation fka RadioShack
Honolulu, Hawaii 96825                      10516      12/23/2015 Corporation                                                      $0.00                                                                                            $0.00
Douglas Pindell
15620 Camden Meadows Ct                                           RS Legacy Corporation fka RadioShack
Woodbine, MD 21797                          10517      12/23/2015 Corporation                                                      $4.71                                                                                            $4.71
Jennifer Robertson
166 31st Avenue                                                   RS Legacy Corporation fka RadioShack
San Mateo, CA 94403w                        10518      12/23/2015 Corporation                                                      $0.00                                                                                            $0.00
Ephraim Waxman
1821 49th Street                                                  RS Legacy Corporation fka RadioShack
Brooklyn, NY 11204                          10519      12/23/2015 Corporation                                                     $95.00                                                                                           $95.00
Dana Hancock
9293 Beckoning Drive                                              RS Legacy Corporation fka RadioShack
Pittsboro, IN 46167                         10520      12/23/2015 Corporation                                                     $50.00                                                                                           $50.00
Jon P. Hudanich
13710 Greenway Dr.                                                RS Legacy Corporation fka RadioShack
Sugar Land, TX 77498                        10521      12/23/2015 Corporation                                                     $50.00                                                                                           $50.00
Cindi Chang
124 N Newport Ave                                                 RS Legacy Corporation fka RadioShack
Ventnor, NJ 08406                           10522      12/23/2015 Corporation                                                      $0.00                                                                                            $0.00
Lyn Gianni
2205 Sycamore Canyon Road                                         RS Legacy Corporation fka RadioShack
Santa Barbara, CA 93108                     10523      12/23/2015 Corporation                                                     $43.19                                                                                           $43.19
Ping Y. Chan
325 Avenida Esplendor                                             RS Legacy Corporation fka RadioShack
Walnut, CA 91789                            10524      12/23/2015 Corporation                                                     $54.99                                                                                           $54.99
Debbie Kumar
612 Logans Lane                                                   RS Legacy Corporation fka RadioShack
Austin, TX 78746                            10525      12/23/2015 Corporation                                                     $15.40                                                                                           $15.40
P.N. Borgerink
400 North Riverside Drive
Suite 416                                                         RS Legacy Corporation fka RadioShack
Pompano Beach, Florida 33062                10526      12/23/2015 Corporation                                                     $15.96                                                                                           $15.96
Max Matthews
202 Cayuga St #1                                                  RS Legacy Corporation fka RadioShack
Syracuse, NY 13204                          10527      12/23/2015 Corporation                                                     $21.39                                                                                           $21.39
Beverly Neighbours
3511 Halleys Dr.                                                  RS Legacy Corporation fka RadioShack
Murfreesboro, TN 37127                      10528      12/23/2015 Corporation                                                      $0.00                                                                                            $0.00
Laurent Jouvin
23200 Via Calisero                                                RS Legacy Corporation fka RadioShack
Valencia, CA 91355                          10529      12/23/2015 Corporation                                                     $25.00                                                                                           $25.00
Bonnie Law
1019 Cherry St                                                    RS Legacy Corporation fka RadioShack
Philadelphia, PA 19107                      10530      12/23/2015 Corporation                                                      $0.00                                                                                            $0.00



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                                                                                                                             Current General                                            Current 503(b)(9)
                                                                                                                                                   Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address              Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Deborah Bain
439 Fox St                                                                RS Legacy Corporation fka RadioShack
Denver, Co 80204                                    10531      12/23/2015 Corporation                                                     $85.00                                                                                           $85.00
Lincoln Maniram
49 Crestmont Avenue                                                       RS Legacy Corporation fka RadioShack
Yonkers, NY 10704                                   10532      12/23/2015 Corporation                                                      $0.00                                                                                            $0.00
Cory Wood
2009 W. Elm Ave.                                                          RS Legacy Corporation fka RadioShack
Enid, OK 73703                                      10533      12/23/2015 Corporation                                                     $50.00                                                                                           $50.00
Weichman, Ann
33 Race Brook Road                                                       RS Legacy Corporation fka RadioShack
West Hartford , CT 06107                            10534      12/4/2015 Corporation                                                      $41.02                                                                                           $41.02
Zhang, Ying
1808 Vine Street
Apt. 5                                                                   RS Legacy Corporation fka RadioShack
Alhambra, CA 91801                                  10535      12/5/2015 Corporation                                                      $50.00                                                                                           $50.00
Williams, Michael D.
4809 Marsh Hawk Drive                                                     RS Legacy Corporation fka RadioShack
Bakersfield, CA 93312                               10536      12/17/2015 Corporation                                                  $5,575.96              $0.00                                                                     $5,575.96
Mian, Zahid
850 River Street                                                          RS Legacy Corporation fka RadioShack
Troy, NY 12180                                      10537      12/17/2015 Corporation                                                                      $107.99                                  $0.00                                 $107.99

Advanced Mechanical Services of Central Florida,
Inc. D/b/a Advanced Mechanical Services
2475 Regent Avenue                                                        RS Legacy Corporation fka RadioShack
Orlando, FL 32804                                   10538      12/16/2015 Corporation                                                $52,354.71                                                                                        $52,354.71
Wheeler, Terrance
265 wheelertown sylvester rd                                              RS Legacy Corporation fka RadioShack
Collins, MI 39428                                   10539      12/20/2015 Corporation                                                      $0.00                                                                                            $0.00
Mobile Technologies Inc.
c/o Justin D. Leonard, Counsel
Leonard Law Group LLC
1 SW Columbia, Ste. 1010                                                  RS Legacy Corporation fka RadioShack
Portland, OR 97258                                  10540      12/18/2015 Corporation                                                  $8,725.00                                                                                        $8,725.00
Haro, Norma
106 Marlowe Dr.                                                           RS Legacy Corporation fka RadioShack
San Antonio, TX 78226                               10541      12/11/2015 Corporation                                                     $25.00                                                                                           $25.00
Ruf, Frank
14 Avalon Rd                                                              RS Legacy Corporation fka RadioShack
Binghamton, NY 13901                                10542      12/11/2015 Corporation                                                     $10.00                                                                                           $10.00
Loatman, Rosalyn
314 Clarence St. Apt. 4                                                   RS Legacy Corporation fka RadioShack
Charlotte, NC 28216                                 10543      12/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Snowden, Elton
320 Temple Street                                                         RS Legacy Corporation fka RadioShack
Beckely, WV 25801                                   10544      12/22/2015 Corporation                                                                         $0.00             $0.00               $0.00                                   $0.00
Warchol, Mark
9211 S. Roberts Rd. #3c                                                   RS Legacy Corporation fka RadioShack
Hickory Hills, IL 60457                             10545      12/22/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                   Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Harris, Lee A.
3 Charles Street
Unit 3A                                                         RS Legacy Corporation fka RadioShack
Newburyport, MA                           10546      12/14/2015 Corporation                                                     $42.49                                                                                           $42.49
Carlson, Dawn N
232 Rosebay Drive                                               RS Legacy Corporation fka RadioShack
Encinitas, CA 92024                       10547      12/16/2015 Corporation                                                     $10.00                                                                                           $10.00
Riberio, Mary
PO Box 353                                                      RS Legacy Corporation fka RadioShack
Glen Mills, PA 19342                      10548      12/14/2015 Corporation                                                     $50.00                                                                                           $50.00
MARIE + STEVE STOUFER
2295 Brazier Rd                                                 RS Legacy Corporation fka RadioShack
Montpelier, VT 05602                      10549      12/16/2015 Corporation                                                     $23.00                                                                                           $23.00
Ramos, Rafael
PO Box 868                                                      RS Legacy Corporation fka RadioShack
Hinesville, GA 31310                      10550      12/14/2015 Corporation                                                     $72.20                                                                                           $72.20
Paradis, Ernest
PO Box 922                                                      RS Legacy Corporation fka RadioShack
Waterville, ME 04903‐0922                 10551      12/16/2015 Corporation                                                    $100.00                                                                                          $100.00
Tony Stebleton
2675 E. Tennessee Ave                                           RS Legacy Corporation fka RadioShack
Denver, CO 80209                          10552      12/24/2015 Corporation                                                     $64.58                                                                                           $64.58
Rich Manning
10509 Old Bridge Lane                                           RS Legacy Corporation fka RadioShack
Charlotte, NC 28269                       10553      12/24/2015 Corporation                                                     $25.00                                                                                           $25.00
Christine Carbone
18 graney ct                                                    RS Legacy Corporation fka RadioShack
Pearl river, Ny 10965                     10554      12/24/2015 Corporation                                                      $0.00                                                                                            $0.00
Fan Yang
800 S Dixie Hwy Apt.206                                         RS Legacy Corporation fka RadioShack
Coral Gables, FL 33146                    10555      12/24/2015 Corporation                                                    $100.00                                                                                          $100.00
Lisa Fernandez
604 Pocasset Ct.                                                RS Legacy Corporation fka RadioShack
WARWICK, RI 02886                         10556      12/24/2015 Corporation                                                    $250.00                                                                                          $250.00
michael ayers
10090 sterling                                                  RS Legacy Corporation fka RadioShack
romulus, Mi 48174                         10557      12/24/2015 Corporation                                                     $46.88                                                                                           $46.88
Mark Rotzenberg
12704 Avocet St. NW                                             RS Legacy Corporation fka RadioShack
Coon Rapids, MN 55448                     10558      12/24/2015 Corporation                                                      $0.00                                                                                            $0.00
Heather Willey
7 Partridge Circle                                              RS Legacy Corporation fka RadioShack
Carlisle, PA 17013                        10559      12/24/2015 Corporation                                                    $100.00                                                                                          $100.00
Trude Holm
38 East Mountain Road                                           RS Legacy Corporation fka RadioShack
Grahamsville, New York 12740              10560      12/24/2015 Corporation                                                     $50.00                                                                                           $50.00
DON RUFFING
5673 VALLEYVIEW DRIVE                                           RS Legacy Corporation fka RadioShack
BETHEL PARK, PA 15102‐3543                10561      12/24/2015 Corporation                                                     $21.39                                                                                           $21.39
Daniel Grinbergs
3841 Lew Wallace Dr                                             RS Legacy Corporation fka RadioShack
Clovis, NM 88101                          10562      12/24/2015 Corporation                                                     $40.00                                                                                           $40.00



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                                                                                                                   Current General                                            Current 503(b)(9)
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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Emmitt houston
7319 w Morgan ave                                               RS Legacy Corporation fka RadioShack
Milwaukee, Wi 53220                       10563      12/24/2015 Corporation                                                     $25.00                                                                                           $25.00
Venon Hemphill
155 E 10th St                                                   RS Legacy Corporation fka RadioShack
Pomona, CA 91766                          10564      12/24/2015 Corporation                                                     $90.00                                                                                           $90.00
Rodney Beck
3007 Sierra Drive                                               RS Legacy Corporation fka RadioShack
Carrollton, TX 75007                      10565      12/24/2015 Corporation                                                     $88.00                                                                                           $88.00
Charles Long
9135 Soapberry Court                                            RS Legacy Corporation fka RadioShack
Bel Alton, MD 20611                       10566      12/24/2015 Corporation                                                     $26.49                                                                                           $26.49
Sanjaya
6 Orlando CT                                                    RS Legacy Corporation fka RadioShack
Billerica, MA 01821                       10567      12/24/2015 Corporation                                                    $127.56                                                                                          $127.56
Spall, Laura Elizabeth
510 E 300 S                                                     RS Legacy Corporation fka RadioShack
Providence, UT 84332                      10568      12/14/2015 Corporation                                                      $8.69                                                                                            $8.69
Varghese, John
8633 N.W. 57th Court                                            RS Legacy Corporation fka RadioShack
Coral Springs, FL 33067                   10569      12/14/2015 Corporation                                                    $100.00                                                                                          $100.00
Gillan, Eugene
5082 East Henrietta Road                                        RS Legacy Corporation fka RadioShack
Henrietta, NY 14467                       10570      12/16/2015 Corporation                                                      $5.45                                                                                            $5.45
Salaiz, Helen
HC 71 Box 702 / 2496 Hwy. 61 S.                                 RS Legacy Corporation fka RadioShack
San Lorenzo, NM 88041                     10571      12/16/2015 Corporation                                                      $7.38                                                                                            $7.38
Amy woodstock
116 n 6th st                                                    RS Legacy Corporation fka RadioShack
Evansville, Wi 53536                      10572      12/24/2015 Corporation                                                    $100.00                                                                                          $100.00
Charles Skurkis
279 Lawrence Drive                                              RS Legacy Corporation fka RadioShack
Harrisburg, P 17112                       10573      12/24/2015 Corporation                                                     $10.31                                                                                           $10.31
Garret Portenier
213 W 1st St.                                                   RS Legacy Corporation fka RadioShack
Washington, KS 66968                      10574      12/24/2015 Corporation                                                     $20.00                                                                                           $20.00
Charles Skurkis
279 Lawrence Drive                                              RS Legacy Corporation fka RadioShack
Harrisburg, P 17112                       10575      12/24/2015 Corporation                                                     $29.26                                                                                           $29.26
Alex Trac
9635 Little Harbor Wa                                           RS Legacy Corporation fka RadioShack
Elk Grove, CA 95624                       10576      12/24/2015 Corporation                                                     $36.97                                                                                           $36.97
Teresa Tidwell
798 Gardendale Drive                                            RS Legacy Corporation fka RadioShack
Columbia, SC 29210                        10577      12/24/2015 Corporation                                                      $0.00                                                                                            $0.00
Robert Hodge
4505 Elmwood Dr.                                                RS Legacy Corporation fka RadioShack
Alexandria, VA 22310                      10578      12/24/2015 Corporation                                                     $73.50                                                                                           $73.50
Kite, Karen M.
PO Box 351                                                      RS Legacy Corporation fka RadioShack
Festus, MO 63028                          10579      12/16/2015 Corporation                                                    $100.00                                                                                          $100.00




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                                                                                                                   Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Retta Rautenberg
32 Laval St                                                     RS Legacy Corporation fka RadioShack
Hyde Park, 2136 123                       10580      12/24/2015 Corporation                                                     $95.00                                                                                           $95.00
Avery
4817 Crumbcake Dr                                               RS Legacy Corporation fka RadioShack
Keller, Tx 677921                         10581      12/24/2015 Corporation                                                     $10.00                                                                                           $10.00
angela lobato
140 Windsor                                                     RS Legacy Corporation fka RadioShack
kearny, nj 07032                          10582      12/24/2015 Corporation                                                     $17.68                                                                                           $17.68
Paul DeLuca
8833 Michaels Lane                                              RS Legacy Corporation fka RadioShack
Broadview Heights, Ohio 44147             10583      12/24/2015 Corporation                                                      $3.78                                                                                            $3.78
Keegan Dunmire
378 Walnut Dr S                                                 RS Legacy Corporation fka RadioShack
Monmouth, OR 97361                        10584      12/24/2015 Corporation                                                     $50.00                                                                                           $50.00
Paul M Gunsch
2422 62nd ST NW                                                 RS Legacy Corporation fka RadioShack
Rochester, MN 55909‐8747                  10585      12/24/2015 Corporation                                                      $0.00                                                                                            $0.00
stephen alaimo
33 Amherst Rd.                                                  RS Legacy Corporation fka RadioShack
Toms River, NJ 08757                      10586      12/24/2015 Corporation                                                     $50.00                                                                                           $50.00
Dorian Miller
9405 Trails End Rd.                                             RS Legacy Corporation fka RadioShack
Knoxville, TN 37931                       10587      12/24/2015 Corporation                                                     $20.00                                                                                           $20.00
Quyen Tran
6746 38th Ave S                                                 RS Legacy Corporation fka RadioShack
Seattle, WA 98118                         10588      12/25/2015 Corporation                                                    $100.00                                                                                          $100.00
Michael Grosser
111 W 9th Street, #163                                          RS Legacy Corporation fka RadioShack
Clovis, CA 93612                          10589      12/25/2015 Corporation                                                      $0.00                                                                                            $0.00
Sheena Lekisha Hamlett
4596 Waldon Pond Lane                                           RS Legacy Corporation fka RadioShack
Corryton, TN 37721                        10590      12/25/2015 Corporation                                                      $0.00                                                                                            $0.00
Paul Brown
696 N Pioneer Fork Rd                                           RS Legacy Corporation fka RadioShack
Salt Lake City, Utah 84108                10591      12/25/2015 Corporation                                                      $8.55                                                                                            $8.55
Joe McElliott
3998 S Acoma St                                                 RS Legacy Corporation fka RadioShack
Englewood, CO 80110                       10592      12/25/2015 Corporation                                                      $0.00                                                                                            $0.00
Gary R. Schroeder
12004 Persimmon NE                                              RS Legacy Corporation fka RadioShack
Albuquerque, NM 87111                     10593      12/25/2015 Corporation                                                      $0.00                                                                                            $0.00
Elisabeth C Frank
61 Marvin Drive                                                 RS Legacy Corporation fka RadioShack
Kings Park, NY 11754                      10594      12/25/2015 Corporation                                                     $16.39                                                                                           $16.39
William Sabath
126 Grant Ave 4A                                                RS Legacy Corporation fka RadioShack
BROOKLYN, NY 11208                        10595      12/25/2015 Corporation                                                      $0.00                                                                                            $0.00
Hailee Damp
7310 Canosa Ct                                                  RS Legacy Corporation fka RadioShack
Westminster, CO 80030                     10596      12/25/2015 Corporation                                                      $3.49                                                                                            $3.49




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                                                                                                                   Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Tina Lange
118 W Neuman Rd                                                 RS Legacy Corporation fka RadioShack
Pinconning, MI 48650                      10597      12/25/2015 Corporation                                                     $15.87                                                                                           $15.87
Tina Lange
118 W Neuman Rd                                                 RS Legacy Corporation fka RadioShack
Pinconning, MI 48650                      10598      12/25/2015 Corporation                                                      $0.00                                                                                            $0.00
nikkos jackson
1906 sagemont drive                                             RS Legacy Corporation fka RadioShack
augusta, ga 30906                         10599      12/25/2015 Corporation                                                     $21.59                                                                                           $21.59
Jonathan Sidman
3525 Ridgeland Avenue                                           RS Legacy Corporation fka RadioShack
Berwyn, IL 60402                          10600      12/26/2015 Corporation                                                      $0.00                                                                                            $0.00
Martha R Alfaro
307 N 4th Ave                                                   RS Legacy Corporation fka RadioShack
Yakima, WA 98902                          10601      12/26/2015 Corporation                                                    $247.83                                                                                          $247.83
Eric Bajumpaa
53 Fairway Drive                                                RS Legacy Corporation fka RadioShack
Springfield, MA 01108                     10602      12/28/2015 Corporation                                                     $25.00                                                                                           $25.00
Alexis Rivera
81 Calle Mayaguez Apt 421                                       RS Legacy Corporation fka RadioShack
San Juan, P.R. 00917                      10603      12/28/2015 Corporation                                                     $20.00                                                                                           $20.00
Wes Crisp
2925 E Redwood Lane                                             RS Legacy Corporation fka RadioShack
Phoenix, AZ 85048                         10604      12/28/2015 Corporation                                                     $10.00                                                                                           $10.00
Roma Christian
1025 78 Street                                                  RS Legacy Corporation fka RadioShack
Brooklyn, New York 11228                  10605      12/28/2015 Corporation                                                    $100.00                                                                                          $100.00
Wes Crisp
2925 E Redwood Lane                                             RS Legacy Corporation fka RadioShack
Phoenix, AZ 85048                         10606      12/28/2015 Corporation                                                     $21.65                                                                                           $21.65
bob papiano
115 claxton ave                                                 RS Legacy Corporation fka RadioShack
watertown, ct 06795                       10607      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Dena Green
9227 County Road 201                                            RS Legacy Corporation fka RadioShack
Fredericksburg, OH 44627                  10608      12/28/2015 Corporation                                                     $39.42                                                                                           $39.42
Zach barnes
1002 south 13th st                                              RS Legacy Corporation fka RadioShack
La Crosse, Wi 54601                       10609      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Sheila smith
210 Columbus St                                                 RS Legacy Corporation fka RadioShack
Elyria, Ohio 44035                        10610      12/28/2015 Corporation                                                     $21.34                                                                                           $21.34
Davis Reins
13447 Chandler Blvd.                                            RS Legacy Corporation fka RadioShack
Van Nuys, CA 91401                        10611      12/28/2015 Corporation                                                     $27.18                                                                                           $27.18
Christine Liang
149‐41 Hawthorne Avenue                                         RS Legacy Corporation fka RadioShack
Flushing, New York 11355                  10612      12/28/2015 Corporation                                                     $53.24                                                                                           $53.24
Jennifer Corin
225 Tahoe Ave. Apt. B                                           RS Legacy Corporation fka RadioShack
Roseville, Ca 95678                       10613      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                           Current General                                            Current 503(b)(9)
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            Creditor Name and Address            Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                               Amount                                                     Amount
Anna Mason
41 South Shore Dr                                                       RS Legacy Corporation fka RadioShack
Owls Head, Maine 04854                            10614      12/28/2015 Corporation                                                     $20.00                                                                                           $20.00
Christine Liang
149‐41 Hawthorne avenue                                                 RS Legacy Corporation fka RadioShack
flushing, New York 11355                          10615      12/28/2015 Corporation                                                    $100.00                                                                                          $100.00
Liby Carrasquillo
10301 indigo broom loop                                                 RS Legacy Corporation fka RadioShack
Austin, TX 78733                                  10616      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
D'Andre Terry
22939 Westwind Dr.                                                      RS Legacy Corporation fka RadioShack
Richton Park, IL 60471                            10617      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Mark Mezzoprete
35 Long Branch Dr                                                       RS Legacy Corporation fka RadioShack
Henrietta, NY 14467                               10618      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Timothy Beltrami
640 Moore Avenue                                                        RS Legacy Corporation fka RadioShack
Buffalo, NY 14223                                 10619      12/28/2015 Corporation                                                     $20.00                                                                                           $20.00
Melissa Doff
9249 Nile Drive                                                         RS Legacy Corporation fka RadioShack
New Port Richey, Florida 34655                    10620      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Thomas Lonero
26 Locust Lane                                                          RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15241                              10621      12/28/2015 Corporation                                                    $100.00                                                                                          $100.00
Alicia Broadbent
1018 Kingston Drive                                                     RS Legacy Corporation fka RadioShack
Olean, NY 14760                                   10622      12/28/2015 Corporation                                                     $53.99                                                                                           $53.99
Joe Hutchens
633 Forest Park                                                         RS Legacy Corporation fka RadioShack
Marquette, MI 49855                               10623      12/28/2015 Corporation                                                     $10.00                                                                                           $10.00
Ryan Ursery
753 Montana Ave.                                                        RS Legacy Corporation fka RadioShack
Missoula, Mt 59802                                10624      12/28/2015 Corporation                                                     $20.00                                                                                           $20.00

Troy Gladstone
130 B State Route 37 New Fairfield Connecticut                          RS Legacy Corporation fka RadioShack
6812, 130 B State Route 37 CT                     10625      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Michael Miklos Jr
Box 344                                                                 RS Legacy Corporation fka RadioShack
Glen Jean, WV 25846                               10626      12/28/2015 Corporation                                                     $25.00                                                                                           $25.00
Joseph Altieri
1604 Marsh Road                                                         RS Legacy Corporation fka RadioShack
Wilmington, DE 19803                              10627      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Jason Piper
24402 Okehampton Dr.                                                    RS Legacy Corporation fka RadioShack
Tomball, Texas 77375                              10628      12/28/2015 Corporation                                                     $25.00                                                                                           $25.00
Chris Auger
581 Hidden Cottage Grove                                                RS Legacy Corporation fka RadioShack
Colorado Springs, CO 80906                        10629      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Tracy Risinger
56 Old Shelbyville Road                                                 RS Legacy Corporation fka RadioShack
McMinnville, TN 37110                             10630      12/28/2015 Corporation                                                     $25.00                                                                                           $25.00



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                                                                                                                   Current General                                            Current 503(b)(9)
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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Elvira Oca
8128 Rutherford Drive                                           RS Legacy Corporation fka RadioShack
Woodridge, Illinois 60517                 10631      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Elvira Oca
8128 Rutherford drive                                           RS Legacy Corporation fka RadioShack
Woodridge, IL 60517                       10632      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Kristina Cammille Concepcion
816 Kuialua St                                                  RS Legacy Corporation fka RadioShack
96761, Lahaina Hawaii                     10633      12/28/2015 Corporation                                                     $30.00                                                                                           $30.00
James Medek
1943 North Bissell Street, Unit B                               RS Legacy Corporation fka RadioShack
Chicago, IL 60614                         10634      12/28/2015 Corporation                                                    $100.00                                                                                          $100.00
Dorel Jones
122 Mine Road                                                   RS Legacy Corporation fka RadioShack
Pennington, NJ 08534                      10635      12/28/2015 Corporation                                                     $50.00                                                                                           $50.00
Stan Main
2117 Hoof Print Lane                                            RS Legacy Corporation fka RadioShack
Lakeland, FL 33811                        10636      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
James J Perkins
2762 Center Road                                                RS Legacy Corporation fka RadioShack
Scipio Center, NY 13147                   10637      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Izabella Shomakhov
112 Akron street                                                RS Legacy Corporation fka RadioShack
Rochester,, NY 14609                      10638      12/28/2015 Corporation                                                     $37.79                                                                                           $37.79
Linda Ream
3189 Arthur Terrace                                             RS Legacy Corporation fka RadioShack
Hollywood, Fl 33021                       10639      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Rosalyn leffall
1606 north Elva ave                                             RS Legacy Corporation fka RadioShack
Compton, ca 90222                         10640      12/28/2015 Corporation                                                     $50.00                                                                                           $50.00
Mayra Aguilar
502 Belt rd. Apt. 31                                            RS Legacy Corporation fka RadioShack
Texarkana, Texas 75501                    10641      12/28/2015 Corporation                                                      $8.89                                                                                            $8.89
Kenneth W Johnson
3314 Lost Oasis Hollow                                          RS Legacy Corporation fka RadioShack
Austin, TX 78739‐7604                     10642      12/28/2015 Corporation                                                     $10.83                                                                                           $10.83
Domenic Mauro
17 Newbern Ave.                                                 RS Legacy Corporation fka RadioShack
Medford, MA 02155                         10643      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Domenic Mauro
17 Newbern Ave.                                                 RS Legacy Corporation fka RadioShack
Medford, MA 02155                         10644      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Steven L Howard
3855 Holbein Drive                                              RS Legacy Corporation fka RadioShack
Zanesville, Ohio 43701                    10645      12/28/2015 Corporation                                                    $500.00                                                                                          $500.00
Kimberley McDonough
4589 Mesa Place                                                 RS Legacy Corporation fka RadioShack
Liberty Township, Ohio 45011              10646      12/28/2015 Corporation                                                     $27.10                                                                                           $27.10
Nhu Tran
485 Schofield Drive                                             RS Legacy Corporation fka RadioShack
Powder Springs, GA 30127                  10647      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                   Current General                                            Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Richard Chepovsky
421 Camino De Los Ranchos S.                                    RS Legacy Corporation fka RadioShack
Pueblo west, Co 81007                     10648      12/28/2015 Corporation                                                      $5.00                                                                                            $5.00
JOSE MEDINA
3005 SW 155TH AVENUE                                            RS Legacy Corporation fka RadioShack
MIAMI, FL 33185‐5909                      10649      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Jason Russo
PO BOX 5119                                                     RS Legacy Corporation fka RadioShack
El Dorado Hills, Ca 95762                 10650      12/28/2015 Corporation                                                    $100.00                                                                                          $100.00
Dee Dobbs
7920 Waterside Trail                                            RS Legacy Corporation fka RadioShack
Fort Worth, TX 76137                      10651      12/28/2015 Corporation                                                     $20.00                                                                                           $20.00
Diana Chavez
Po Box 83                                                       RS Legacy Corporation fka RadioShack
Cedar Glen, CA 92321                      10652      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Cody Vicknair
122 Park Avenue                                                 RS Legacy Corporation fka RadioShack
Lake Charles, La 70601                    10653      12/28/2015 Corporation                                                     $50.00                                                                                           $50.00
Roger Strong
6 Ridgeview Cir                                                 RS Legacy Corporation fka RadioShack
Armonk, NY 10504                          10654      12/28/2015 Corporation                                                     $11.96                                                                                           $11.96
Amira Ray
3600 Darston Street                                             RS Legacy Corporation fka RadioShack
Palm Harbor, FL. 34685                    10655      12/28/2015 Corporation                                                      $2.20                                                                                            $2.20
Amira Ray
3600 Darston Street                                             RS Legacy Corporation fka RadioShack
Palm Harbor, FL. 34685                    10656      12/28/2015 Corporation                                                     $50.00                                                                                           $50.00
Amira Ray
3600 Darston Street                                             RS Legacy Corporation fka RadioShack
Palm Harbor, FL. 34685                    10657      12/28/2015 Corporation                                                      $6.36                                                                                            $6.36
Sherryl Barker
4529 Milo Ave                                                   RS Legacy Corporation fka RadioShack
Bakersfield, CA 93313                     10658      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
MADHUKAR MISRA
4804 SILVER CLIFF DRIVE                                         RS Legacy Corporation fka RadioShack
COLUMBIA, MO 65203                        10659      12/28/2015 Corporation                                                     $39.00                                                                                           $39.00
Jeff Adlerstein
531 N Gardner St                                                RS Legacy Corporation fka RadioShack
Los Angeles, CA 90036, 90036 #1           10660      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Brian Gambsky
15142 Normandie                                                 RS Legacy Corporation fka RadioShack
Irvine, Ca 92604                          10661      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Shawn Omans
4 Sweet Gum Ct.                                                 RS Legacy Corporation fka RadioShack
Medford, NJ 08055                         10662      12/28/2015 Corporation                                                     $35.63                                                                                           $35.63
Lisa Stuckey
534 South Lee St. Apt.A‐103                                     RS Legacy Corporation fka RadioShack
Bishopville,, SC 29010                    10663      12/28/2015 Corporation                                                     $86.39                                                                                           $86.39
Sachin Vaidya
17504 Old Baltimore Rd.                                         RS Legacy Corporation fka RadioShack
Olney, MD 2032                            10664      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                   Current General                                            Current 503(b)(9)
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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Pooja Gupta
1220 SHIELDS STREET                                             RS Legacy Corporation fka RadioShack
Laramie, WY 82072                         10665      12/28/2015 Corporation                                                    $100.00                                                                                          $100.00
christoph geisler
1220 SHIELD STREET                                              RS Legacy Corporation fka RadioShack
LARAMIE, WY 82072                         10666      12/28/2015 Corporation                                                    $100.00                                                                                          $100.00
Sachin Vaidya
17504 Old Baltimore Rd.                                         RS Legacy Corporation fka RadioShack
Olney, MD 20832                           10667      12/28/2015 Corporation                                                     $13.77                                                                                           $13.77
Glenn Choi
99‐1355 Hele Mauna Place                                        RS Legacy Corporation fka RadioShack
Aiea, HI 96701                            10668      12/28/2015 Corporation                                                     $28.26                                                                                           $28.26
Kendal Shomura
3883 Briarwood Street                                           RS Legacy Corporation fka RadioShack
Napa, Ca 94558                            10669      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Paul Kralovanec
3012 Magdalene Woods Drive                                      RS Legacy Corporation fka RadioShack
Tampa, FL 33618                           10670      12/28/2015 Corporation                                                     $35.51                                                                                           $35.51
Abigail fresnares
872 s 85th st                                                   RS Legacy Corporation fka RadioShack
tacoma, wa 98444                          10671      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
John Merlie
541 26th Street                                                 RS Legacy Corporation fka RadioShack
Richmond, CA 94804                        10672      12/28/2015 Corporation                                                     $10.00                                                                                           $10.00
Janet Pishotta
126 Carlyle Ct                                                  RS Legacy Corporation fka RadioShack
Elgin, il 60120                           10673      12/28/2015 Corporation                                                     $31.85                                                                                           $31.85
Stacy Ellenberg
76 Aldrich Road                                                 RS Legacy Corporation fka RadioShack
Bridgewater, MA 02324                     10674      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Michael Bishop
1379 S Grand Dr                                                 RS Legacy Corporation fka RadioShack
Apache Junction, az 85120                 10675      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Bingwu yu
350 Hazelwood Ter                                               RS Legacy Corporation fka RadioShack
Buffalo Grove, il 60089                   10676      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
LING ZHOU
346 W 625 N                                                     RS Legacy Corporation fka RadioShack
LINDON, UT 84042                          10677      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
LING ZHOU
346 W 625 N                                                     RS Legacy Corporation fka RadioShack
LINDON, UT 84042                          10678      12/28/2015 Corporation                                                     $55.29                                                                                           $55.29
Joshua Francis
1724 N 4th street                                               RS Legacy Corporation fka RadioShack
berthoud, Colorado 80513                  10679      12/28/2015 Corporation                                                     $20.00                                                                                           $20.00
LAWRENCE LASKEY
26020 WOODVILLA PL.                                             RS Legacy Corporation fka RadioShack
SOUTTHFIELD, MI 48076                     10680      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Bob Fischella
6219 E. Via De La Yerba                                         RS Legacy Corporation fka RadioShack
Tucson, Az 85750                          10681      12/28/2015 Corporation                                                      $5.99                                                                                            $5.99




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Charles Gonzalez
12203 INGLEWOOD AVE                                             RS Legacy Corporation fka RadioShack
HAWTHORNE, CA 90250                       10682      12/28/2015 Corporation                                                     $52.00                                                                                           $52.00
Katherine Kimmel
323 N Center St apt 202                                         RS Legacy Corporation fka RadioShack
SALT LAKE CTY, UT 84103                   10683      12/28/2015 Corporation                                                     $25.00                                                                                           $25.00
Guan Wang
3713 Towne Park Cir.                                            RS Legacy Corporation fka RadioShack
Pomona, CA 91767                          10684      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Guan Wang
3713 Towne Park Cir.                                            RS Legacy Corporation fka RadioShack
Pomona, CA 91767                          10685      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Ken bloom
5 Christopher Rd                                                RS Legacy Corporation fka RadioShack
Westerly, RI 02891                        10686      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Joshua Herrold
113 Rolling Green Dr.                                           RS Legacy Corporation fka RadioShack
Crossville, TN 38558                      10687      12/28/2015 Corporation                                                      $3.30                                                                                            $3.30
Pratti, Naga Gangadhar
8540 Harvest View Ct                                            RS Legacy Corporation fka RadioShack
Ellicott City, MD 21043                   10688      12/16/2015 Corporation                                                    $100.00                                                                                          $100.00
Black, Patricia
6060 Lankford Mill Rd                                           RS Legacy Corporation fka RadioShack
Goode, VA 24556                           10689      12/16/2015 Corporation                                                     $20.00                                                                                           $20.00
Bonnie‐Jean Connal
231 Blueberry Lane                                              RS Legacy Corporation fka RadioShack
Branford, ct 06405                        10690      12/28/2015 Corporation                                                     $10.62                                                                                           $10.62
Ray Archibald
Annas Retreat 404‐320                                           RS Legacy Corporation fka RadioShack
St. Thomas, VI 00802                      10691      12/28/2015 Corporation                                                     $10.00                                                                                           $10.00
R.N. McCarthy
14 DuMerle Street                                               RS Legacy Corporation fka RadioShack
Lowell Ma, 1851 01851                     10692      12/28/2015 Corporation                                                    $100.00                                                                                          $100.00
Lilian Medina
6620 75th Street                                                RS Legacy Corporation fka RadioShack
Middle Village, ny 11379                  10693      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
David Mocine
988 BEAVERDALE RD NE                                            RS Legacy Corporation fka RadioShack
DALTON, GA 30721                          10694      12/28/2015 Corporation                                                      $7.62                                                                                            $7.62
Keisler, Drayton
2013 Calks Ferry Rd.                                            RS Legacy Corporation fka RadioShack
Lexington, SC 29073                       10695      12/16/2015 Corporation                                                    $100.00                                                                                          $100.00
Frank Fornara
1014 Sumners Ct                                                 RS Legacy Corporation fka RadioShack
Carrollton, TX 75007‐4915                 10696      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Billingsley, Sandra
3130 Laws Hill Rd.                                              RS Legacy Corporation fka RadioShack
Waterford, MS 38685                       10697      12/16/2015 Corporation                                                     $23.55                                                                                           $23.55
Rama Iyer
14 Grist Mill Lane                                              RS Legacy Corporation fka RadioShack
Westport, CT 06880                        10698      12/28/2015 Corporation                                                     $16.62                                                                                           $16.62




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            Creditor Name and Address          Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
Young, Susan
15 N Long St                                                          RS Legacy Corporation fka RadioShack
Shelby, OH 44875                                10699      12/16/2015 Corporation                                                     $59.08                                                                                           $59.08
James Volpe
118 Laburnam Crescent                                                 RS Legacy Corporation fka RadioShack
Rochester, Ny 14620                             10700      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Thomas Guillebeau
595 Kettle Creek Drive                                                RS Legacy Corporation fka RadioShack
Grovetown, GA 30813                             10701      12/28/2015 Corporation                                                     $43.19                                                                                           $43.19
Lisa Gaton
161 Stone Gable Circle                                                RS Legacy Corporation fka RadioShack
Winter Springs, Fl 32708                        10702      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Aucutt, Kathleen
3206 E. Diane Court                                                   RS Legacy Corporation fka RadioShack
Spokane, WA 99223                               10703      12/16/2015 Corporation                                                    $120.00                                                                                          $120.00
DDR Tarpon Square LLC
Robert L. LeHane, Esq.
Counsel for DDR Corp.
Kelley Drye & Warren LLP
101 Park Avenue                                                       RS Legacy Corporation fka RadioShack
New York, NY 10178                              10704      12/16/2015 Corporation                                                                                                                             $2,299.72             $2,299.72
Rob D. Williams
PO Box 56                                                             RS Legacy Corporation fka RadioShack
Keene, TX 76059                                 10705      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
DDRTC WINSLOW BAY COMMONS LLC
c/o DDR Corp.
Attn: Renee Weiss, Assistant General Counsel
3330 Enterprise Parkway                                               RS Legacy Corporation fka RadioShack
Beachwood, OH 44122                             10706      12/16/2015 Corporation                                                $69,107.53                                                                                        $69,107.53
Taipe, Graciela
5745 Tamarack Way                                                     RS Legacy Corporation fka RadioShack
Concord, CA 94521                               10707      12/22/2015 Corporation                                                                                                                                                       $0.00
Richard J. Merck
PO Box 3537                                                           RS Legacy Corporation fka RadioShack
Kingston, NY 12402                              10708      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Donovan, Katharine
131 Chilton St                                                        RS Legacy Corporation fka RadioShack
Belmont, MA 02478                               10709      12/22/2015 Corporation                                                     $25.00                                                                                           $25.00
Rajeev Sathianathan
26 Jeffro Dr                                                          RS Legacy Corporation fka RadioShack
Ridgefield, CT 06877                            10710      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Ermelinda DaRocha
202 Bouchard Avenue                                                   RS Legacy Corporation fka RadioShack
Dracut, MA 01826                                10711      12/28/2015 Corporation                                                     $40.00                                                                                           $40.00
Rajeev Sathianathan
26 Jeffro Dr                                                          RS Legacy Corporation fka RadioShack
Ridgefield, CT 06877                            10712      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Yung, Howard
53‐40 82nd St                                                         RS Legacy Corporation fka RadioShack
Elmhurst, NY 11373                              10713      12/18/2015 Corporation                                                    $100.00                                                                                          $100.00




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Anne McCambley
7040 Limekiln Pike                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19138                    10714      12/28/2015 Corporation                                                     $42.79                                                                                           $42.79
Robert Serroni
40 Juniper Lane Ext.                                            RS Legacy Corporation fka RadioShack
Harwich, MA 02645                         10715      12/28/2015 Corporation                                                      $5.22                                                                                            $5.22
Shalanko, John
1717 Maple Lane                                                 RS Legacy Corporation fka RadioShack
Wheaton, IL 60187                         10716      12/18/2015 Corporation                                                     $10.72                                                                                           $10.72
shannon Lozoya
8622 Dunwoodie Rd                                               RS Legacy Corporation fka RadioShack
Santee, CA 92071                          10717      12/28/2015 Corporation                                                     $11.41                                                                                           $11.41
Vernon, Joyce Z.
1 John Anderson Dr
 Apt. # 714                                                     RS Legacy Corporation fka RadioShack
Ormond Beach, FL 32176                    10718      12/22/2015 Corporation                                                     $53.72                                                                                           $53.72
Ian Porter
417 Golden Russett Blvd                                         RS Legacy Corporation fka RadioShack
Amherst, OH 44001                         10719      12/28/2015 Corporation                                                      $5.84                                                                                            $5.84
Thurlow, Jim
1360 N Airport Rd                                               RS Legacy Corporation fka RadioShack
St. John's, MI 48879                      10720      12/22/2015 Corporation                                                    $150.00                                                                                          $150.00
Swiger, Jeff
60033 N. Koci Rd.                                               RS Legacy Corporation fka RadioShack
Bellaire, OH 43906                        10721      12/22/2015 Corporation                                                     $22.46                                                                                           $22.46
Jared English
1261 Washington ST                                              RS Legacy Corporation fka RadioShack
Gloucester, MA 01930                      10722      12/28/2015 Corporation                                                     $53.11                                                                                           $53.11
sanjeev rawat
44 center grove road, apt h10                                   RS Legacy Corporation fka RadioShack
randolph, nj 07869                        10723      12/28/2015 Corporation                                                    $100.00                                                                                          $100.00
William Torrence
46 South Central St.                                            RS Legacy Corporation fka RadioShack
Bradford, MA 01835                        10724      12/28/2015 Corporation                                                     $25.00                                                                                           $25.00
Sanjeev Rawat
44 center grove road, apt h10                                   RS Legacy Corporation fka RadioShack
randolph, nj 07869                        10725      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Susan Armstrong
RR 1 Box 193AB                                                  RS Legacy Corporation fka RadioShack
Elizabethtown, IL 62931                   10726      12/28/2015 Corporation                                                     $25.00                                                                                           $25.00
JOHN RIPLEY
50 OLD POST ROAD                                                RS Legacy Corporation fka RadioShack
NEWINGTON, NH 03801                       10727      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
DJ Carpenter
16 Fernmeadow Lane                                              RS Legacy Corporation fka RadioShack
Ormond Beach, Fl 32174                    10728      12/28/2015 Corporation                                                     $53.24                                                                                           $53.24
DJ Carpenter
16 Fernmeadow Lane                                              RS Legacy Corporation fka RadioShack
Ormond Beach, fl 32174                    10729      12/28/2015 Corporation                                                     $53.24                                                                                           $53.24
Estrella Rodriguez
30 Rica Vista                                                   RS Legacy Corporation fka RadioShack
Novato, Ca 94947                          10730      12/28/2015 Corporation                                                     $50.00                                                                                           $50.00



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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Brian Ngambi
53 Moreland Green Dr                                            RS Legacy Corporation fka RadioShack
Worcester, MA 01609                       10731      12/28/2015 Corporation                                                     $50.00                                                                                           $50.00
DJ Carpenter
16 Fernmeadow Lane                                              RS Legacy Corporation fka RadioShack
Ormond Beach, fl 32174                    10732      12/28/2015 Corporation                                                     $53.24                                                                                           $53.24
Terry Wolk
5891 Briarhill Drive                                            RS Legacy Corporation fka RadioShack
Solon, Ohio 44139                         10733      12/28/2015 Corporation                                                     $25.00                                                                                           $25.00
Walt Ross
29 dogwood dr                                                   RS Legacy Corporation fka RadioShack
Flemington, Nj 08822                      10734      12/28/2015 Corporation                                                     $25.00                                                                                           $25.00
Walt Ross
29 dogwood dr                                                   RS Legacy Corporation fka RadioShack
Flemington, Nj 08822                      10735      12/28/2015 Corporation                                                     $22.51                                                                                           $22.51
Walt ross
29 dogwood dr                                                   RS Legacy Corporation fka RadioShack
Flemington, Nj 08822                      10736      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
scott bell
5670 evelyn court                                               RS Legacy Corporation fka RadioShack
new orleans, la 70124                     10737      12/28/2015 Corporation                                                     $43.00                                                                                           $43.00
johann guye
882 orlando avenue                                              RS Legacy Corporation fka RadioShack
west hempstead, ny 11552                  10738      12/28/2015 Corporation                                                     $20.00                                                                                           $20.00
Wayne Walkotten
5714 Nelson Drive                                               RS Legacy Corporation fka RadioShack
Hudsonville, MI 49426                     10739      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Alex A MacDonald
3640 Hamlin Ave SE                                              RS Legacy Corporation fka RadioShack
Rockford, MN 55373                        10740      12/28/2015 Corporation                                                     $10.00                                                                                           $10.00
Michael T Donzella
18 Dorman Road                                                  RS Legacy Corporation fka RadioShack
Wheeling, WV 26003                        10741      12/28/2015 Corporation                                                     $10.00                                                                                           $10.00
Juel Smith
23104 E Echo Lake Rd                                            RS Legacy Corporation fka RadioShack
Snohomish, WA 98296                       10742      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Carmin Hernandez
213 san Luis st                                                 RS Legacy Corporation fka RadioShack
Pomona, Ca 91767                          10743      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Okkasian, Vrezh
1341 N. Pacific Ave                                             RS Legacy Corporation fka RadioShack
Glendale, CA 91202                        10744      12/26/2015 Corporation                                                  $1,739.00                                                                                        $1,739.00
Fearon, Karen
4061 Marianne Dr.                                               RS Legacy Corporation fka RadioShack
Lafayette, CA 94549                       10745      12/18/2015 Corporation                                                      $0.00                                                                                            $0.00
Johnson, Kenneth W
3314 Lost Oasis Hollow                                          RS Legacy Corporation fka RadioShack
Austin, TX 78739‐7604                     10746      12/27/2015 Corporation                                                                       $10.83                                                                         $10.83
Chris Kruegel
12811 Scoter Ct                                                 RS Legacy Corporation fka RadioShack
Plainfield, IL 60585                      10747      12/28/2015 Corporation                                                     $50.00                                                                                           $50.00




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                                                                                                                   Current General                                            Current 503(b)(9)
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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Laura Harrington
3667 Thomas Road                                                RS Legacy Corporation fka RadioShack
Cazenovia, NY 13035                       10748      12/28/2015 Corporation                                                     $15.10                                                                                           $15.10
Quinn, Suzanne
3041 Dupont St. S.                                              RS Legacy Corporation fka RadioShack
Gulfport, FL 33707                        10749      12/22/2015 Corporation                                                    $100.00                                                                                          $100.00
tamara dethmers
950 golden west rd                                              RS Legacy Corporation fka RadioShack
reno, nv 89506                            10750      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Weichmann, Gary
100 Old Orchard Lane                                            RS Legacy Corporation fka RadioShack
Neenah, WI 54956                          10751      12/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Connor, Kathy
9320 SW 1st PL                                                  RS Legacy Corporation fka RadioShack
Gainesville, FL 32607                     10752      12/18/2015 Corporation                                                     $62.57                                                                                           $62.57
joseph cashel
125 canal rd                                                    RS Legacy Corporation fka RadioShack
Oakdale, ny 11769                         10753      12/28/2015 Corporation                                                    $150.00                                                                                          $150.00
Meghan Gombos
34 Preston St                                                   RS Legacy Corporation fka RadioShack
Providence, RI 02906                      10754      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Kristine Ream
206 Chase Road                                                  RS Legacy Corporation fka RadioShack
Columbus, oh 43214                        10755      12/28/2015 Corporation                                                    $100.00                                                                                          $100.00
Kaylee Bodtke‐Stout
28209 Somerset Ct.                                              RS Legacy Corporation fka RadioShack
Castaic, Ca 91384                         10756      12/28/2015 Corporation                                                     $50.00                                                                                           $50.00
Barlow, William
1542 Borgman Road                                               RS Legacy Corporation fka RadioShack
Kingwood, WV 26537                        10757      12/18/2015 Corporation                                                    $120.00                                                                                          $120.00
Adric Mueller
5430 N Sheridan Rd Apt 801                                      RS Legacy Corporation fka RadioShack
Chicago, IL 60640                         10758      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Angel Hernandez
109 Marsden St.                                                 RS Legacy Corporation fka RadioShack
Houston, TX 77011                         10759      12/28/2015 Corporation                                                     $25.00                                                                                           $25.00
Kasey Handel
12115 19th ave se apt j106                                      RS Legacy Corporation fka RadioShack
Everett, Wa 98208                         10760      12/28/2015 Corporation                                                      $7.64                                                                                            $7.64
Brandie Britt
PO Box 1194                                                     RS Legacy Corporation fka RadioShack
Pearland, TX 77588                        10761      12/28/2015 Corporation                                                     $34.62                                                                                           $34.62
Mark Raimer
840 Baneberry Drive                                             RS Legacy Corporation fka RadioShack
Sun Prairie, WI 53590                     10762      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Chris Ball
28650 N. Coal Ave.                                              RS Legacy Corporation fka RadioShack
San Tan Valley, AZ 85143                  10763      12/28/2015 Corporation                                                     $30.00                                                                                           $30.00
Shweta Galway
32 Sherwood Drive                                               RS Legacy Corporation fka RadioShack
Freeport, ME 04032                        10764      12/28/2015 Corporation                                                     $10.52                                                                                           $10.52




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                                                                                                                   Current General                                            Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Michael Dydyk
642 Toad Harbor Rd                                              RS Legacy Corporation fka RadioShack
West Monroe, NY 13167                     10765      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
David Globig
4367 E. Bogey Court                                             RS Legacy Corporation fka RadioShack
Springfield, MO 65809                     10766      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Abdul Noorrani
146 Jasper St                                                   RS Legacy Corporation fka RadioShack
Paterson, NJ 07522                        10767      12/28/2015 Corporation                                                    $100.00                                                                                          $100.00
Abdul Noorrani
146 Jasper St                                                   RS Legacy Corporation fka RadioShack
Paterson, NJ 07522                        10768      12/28/2015 Corporation                                                    $100.00                                                                                          $100.00
Melynda Rigdon
2010 Mulligan Road                                              RS Legacy Corporation fka RadioShack
Sebring, Fl 33872                         10769      12/28/2015 Corporation                                                     $18.74                                                                                           $18.74
Diana Schutz
653 Patterson Avenue                                            RS Legacy Corporation fka RadioShack
Franklin Square, NY 11010                 10770      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Judith Carlisle
4502 Sonata Court                                               RS Legacy Corporation fka RadioShack
Fairfax, Virginia 22032`                  10771      12/28/2015 Corporation                                                     $80.54                                                                                           $80.54
Liana Lake
1528 Chilworth Avenue                                           RS Legacy Corporation fka RadioShack
Middle River, MD 21220                    10772      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
THERESA LAKIN
18 Mt. Vernon Square                                            RS Legacy Corporation fka RadioShack
Verona, NJ 07044                          10773      12/28/2015 Corporation                                                      $8.72                                                                                            $8.72
Pricila Vidal
1003 St Nicholas Avenue Apt 61                                  RS Legacy Corporation fka RadioShack
New York, NY 10032                        10774      12/28/2015 Corporation                                                     $28.24                                                                                           $28.24
Muriel Ackroyd
3662 Bancroft                                                   RS Legacy Corporation fka RadioShack
Sudbury, Ontario, Canada P3B4J7           10775      12/28/2015 Corporation                                                     $25.00                                                                                           $25.00
darin nakamura
6209 Nelda st simi valley calif. 93063                          RS Legacy Corporation fka RadioShack
simi valley, california 93063             10776      12/29/2015 Corporation                                                     $30.00                                                                                           $30.00
Allen Brake
12000 Manhattan Place Drive                                     RS Legacy Corporation fka RadioShack
St. Louis, MO 63131                       10777      12/29/2015 Corporation                                                     $18.41                                                                                           $18.41
Warren Schmidt
571 29th Ave.                                                   RS Legacy Corporation fka RadioShack
Canton, KS 67428                          10778      12/29/2015 Corporation                                                     $30.00                                                                                           $30.00
Jeanne Wright
2510 N Lafayette Ave                                            RS Legacy Corporation fka RadioShack
Bremerton, WA 98312                       10779      12/29/2015 Corporation                                                     $32.46                                                                                           $32.46
José M Guzman
33‐18 97 Sr.                                                    RS Legacy Corporation fka RadioShack
Corona New York, Ny 11368                 10780      12/29/2015 Corporation                                                     $38.12                                                                                           $38.12
Sheila Greer
16905 Tidewater Lane                                            RS Legacy Corporation fka RadioShack
Hughesville, MD 20637                     10781      12/29/2015 Corporation                                                     $24.37                                                                                           $24.37




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                                                                                                                    Current General                                            Current 503(b)(9)
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                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
mona painter
380 Rutherford road                                              RS Legacy Corporation fka RadioShack
deridder, la 70634                         10782      12/29/2015 Corporation                                                    $213.00                                                                                          $213.00
Eric Linden
40700 Parsons Rd                                                 RS Legacy Corporation fka RadioShack
Lagrange, Ohio 44050                       10783      12/29/2015 Corporation                                                     $32.17                                                                                           $32.17
mark a. stine
732 Brandermill Dr.                                              RS Legacy Corporation fka RadioShack
Chesapeake, VA 23322                       10784      12/29/2015 Corporation                                                     $74.14                                                                                           $74.14
william dwyer
300 e upland rd                                                  RS Legacy Corporation fka RadioShack
ithaca, ny 14850                           10785      12/29/2015 Corporation                                                     $10.25                                                                                           $10.25
Brenda Samples
674 East 149th Street , Apt. 9J                                  RS Legacy Corporation fka RadioShack
Bronx, New York 10455                      10786      12/29/2015 Corporation                                                    $109.00                                                                                          $109.00
Cubellis, Lori
PO BOX 207                                                       RS Legacy Corporation fka RadioShack
Prudence Isl, RI 02872                     10787      12/22/2015 Corporation                                                                                                                                                       $0.00
Bob Collacchi
313 Steller Drive                                                RS Legacy Corporation fka RadioShack
Bear, DE 19701                             10788      12/29/2015 Corporation                                                      $0.00                                                                                            $0.00
Lanny Braff
2740 Delucio Blvd                                                RS Legacy Corporation fka RadioShack
Centerville, IN 47330                      10789      12/29/2015 Corporation                                                      $0.00                                                                                            $0.00
Carol L. Shafer
854 Superior Blvd.
Wyandotte, Mi.48192, 854 Superior Blvd.                          RS Legacy Corporation fka RadioShack
Wyandotte, Mi. 48192 same                  10790      12/29/2015 Corporation                                                     $52.99                                                                                           $52.99
Sergio A Boniche
971 SW 178TH Way                                                 RS Legacy Corporation fka RadioShack
Pembroke Pines, FL 33029                   10791      12/29/2015 Corporation                                                      $0.00                                                                                            $0.00
Alberto Urtula
9 Chestnut Court                                                 RS Legacy Corporation fka RadioShack
Cedar Grove, NJ 07009                      10792      12/29/2015 Corporation                                                      $0.00                                                                                            $0.00
Jennifer Churchill
7660 Wooddale Way                                                RS Legacy Corporation fka RadioShack
Citrus Heights, CA 95610                   10793      12/29/2015 Corporation                                                      $0.00                                                                                            $0.00
Hessed Asher
932 Hot Spring Valley                                            RS Legacy Corporation fka RadioShack
Buda, Tx 78610                             10794      12/29/2015 Corporation                                                      $0.00                                                                                            $0.00
Robert Doran
10227 Osceola Ct.                                                RS Legacy Corporation fka RadioShack
Westminster, co 80031                      10795      12/29/2015 Corporation                                                     $24.93                                                                                           $24.93
sherry kovachick
211 bull run rd.                                                 RS Legacy Corporation fka RadioShack
brownsville, pa 15417                      10796      12/29/2015 Corporation                                                     $12.64                                                                                           $12.64
Dennis Gedeon
6930 Evergreen St                                                RS Legacy Corporation fka RadioShack
Bonners Ferry, ID 83805                    10797      12/29/2015 Corporation                                                     $25.00                                                                                           $25.00
Mihir Patel
2515 4th Ave, Apt 304                                            RS Legacy Corporation fka RadioShack
Seattle, WA 98121                          10798      12/29/2015 Corporation                                                    $163.00                                                                                          $163.00



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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Rebecca Cavazuti
10 Arrowleaf Court                                              RS Legacy Corporation fka RadioShack
cheshire, Connecticut 06410               10799      12/29/2015 Corporation                                                      $0.00                                                                                            $0.00
Brittany Kennedy
1409 5th Ave                                                    RS Legacy Corporation fka RadioShack
Arnold, Pa 15068                          10800      12/29/2015 Corporation                                                      $0.00                                                                                            $0.00
Gena Leitner
74 Holster Road                                                 RS Legacy Corporation fka RadioShack
Clifton, NJ 07013                         10801      12/29/2015 Corporation                                                      $0.00                                                                                            $0.00
Chris Murphy
110 Pemberton Court                                             RS Legacy Corporation fka RadioShack
North Wales, PA 19454                     10802      12/29/2015 Corporation                                                     $34.97                                                                                           $34.97
Norman Robbins
6144 Plum Valley Place                                          RS Legacy Corporation fka RadioShack
Fort Worth, Texas 76116                   10803      12/29/2015 Corporation                                                      $0.00                                                                                            $0.00
Robin Picariello
PO Box 191                                                      RS Legacy Corporation fka RadioShack
Harvard, MA 01451                         10804      12/29/2015 Corporation                                                      $0.00                                                                                            $0.00
Jeff Tullis
3836 Weyburn Drive                                              RS Legacy Corporation fka RadioShack
Fort Worth, TX 76109                      10805      12/29/2015 Corporation                                                      $0.00                                                                                            $0.00
sizhong zhang
385 river oaks pkwy, apt 4023                                   RS Legacy Corporation fka RadioShack
san jose, ca 95134                        10806      12/29/2015 Corporation                                                      $0.00                                                                                            $0.00
Matthew Ryan
178 Central Ave Apt 3                                           RS Legacy Corporation fka RadioShack
93950, n/a n/a                            10807      12/29/2015 Corporation                                                      $8.53                                                                                            $8.53
Tam Le
2390 Lucretia Ave apt 1503                                      RS Legacy Corporation fka RadioShack
San Jose, CA 95122                        10808      12/29/2015 Corporation                                                      $0.00                                                                                            $0.00
Terry Duckett
19419 Desert Ivy Drive                                          RS Legacy Corporation fka RadioShack
Houston, Texas 77094                      10809      12/29/2015 Corporation                                                      $0.00                                                                                            $0.00
Charles Brissey
4204 W Kent St                                                  RS Legacy Corporation fka RadioShack
Broken Arrow, Ok 74012                    10810      12/29/2015 Corporation                                                     $25.00                                                                                           $25.00
Rita Lacy
4726 W Kelton Lane                                              RS Legacy Corporation fka RadioShack
Glendale, AZ 85306‐1414                   10811      12/29/2015 Corporation                                                      $8.80                                                                                            $8.80
Jastrzebski, Jozef
1 Louisburg Sq
Apt 12                                                          RS Legacy Corporation fka RadioShack
Nashua , NH 03060                         10812      12/22/2015 Corporation                                                     $60.00                                                                                           $60.00
Summers, Earnest
2253 Freedom ave                                                RS Legacy Corporation fka RadioShack
Mims, FL 32754                            10813      12/22/2015 Corporation                                                    $126.73                                                                                          $126.73
Parker, Mary
40 Palmerwoods Circle                                           RS Legacy Corporation fka RadioShack
Branford, CT 06405                        10814      12/22/2015 Corporation                                                     $20.00                                                                                           $20.00
Williams, Gwendolyn
PO BOX 967                                                      RS Legacy Corporation fka RadioShack
Newark, NJ 07101                          10815      12/22/2015 Corporation                                                     $50.00                                                                                           $50.00



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                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                     Amount
Blakeman, Jr., Carl
13884 Jane Street                                                RS Legacy Corporation fka RadioShack
Columbiana, OH 44408                       10816      12/22/2015 Corporation                                                      $40.00                                                                                           $40.00
Alfageme, Ana M.
10720 NW 66th St.                                                RS Legacy Corporation fka RadioShack
Doral, Fl 33178                            10817      12/22/2015 Corporation                                                       $2.14                                                                                            $2.14
Troop, Kortney
204 S. PARK ST                                                   RS Legacy Corporation fka RadioShack
Red Lion, PA 17356                         10818      12/22/2015 Corporation                                                      $20.00                                                                                           $20.00
Wadzinski, Kristine
3522 12th St.                                                    RS Legacy Corporation fka RadioShack
Columbus, NE 68601                         10819      12/22/2015 Corporation                                                      $64.19                                                                                           $64.19
Mozgai, Barry
10 Lexington Ave                                                 RS Legacy Corporation fka RadioShack
South River, NJ 08882                      10820      12/22/2015 Corporation                                                      $50.00                                                                                           $50.00
Whelan, David
9 Royal Circle                                                   RS Legacy Corporation fka RadioShack
East Falmouth, MA 02536                    10821      12/22/2015 Corporation                                                       $0.00                                                                                            $0.00
Evans, Michelle
1520 Bamboo rd                                                   RS Legacy Global Sourcing, Inc. fka RadioShack
Boone, NC 28607                            10822      12/22/2015 Global Sourcing, Inc.                                                                $0.00                                                                         $0.00
Sahlstrom, Sam
17585 Aspen Ave.                                                 RS Legacy Corporation fka RadioShack
Tracu, MN 56175                            10823      12/21/2015 Corporation                                                                                                                                                        $0.00
Connor Sullivan
2100 Cameron Circle                                              RS Legacy Corporation fka RadioShack
Birmingham, AL 35242                       10824      12/29/2015 Corporation                                                       $0.00                                                                                            $0.00
Burgese, Silvana
2728 South Smedley street                                        RS Legacy Corporation fka RadioShack
Philadelphia, PA 19145                     10825      12/21/2015 Corporation                                                      $29.49                                                                                           $29.49
teresa witt
16510 Mayfield                                                   RS Legacy Corporation fka RadioShack
Roseville, MI 48066                        10826      12/29/2015 Corporation                                                      $11.93                                                                                           $11.93
Olsen, Agnes
208 S. Michigan Ave                                              RS Legacy Corporation fka RadioShack
Addison, IL 60101                          10827      12/21/2015 Corporation                                                       $0.00                                                                                            $0.00
Hinnant, Richard Darius
12932 Ruth Haven Dr.                                             RS Legacy Corporation fka RadioShack
Charlotte, NC 28227                        10828      12/21/2015 Corporation                                                       $0.00                                                                                            $0.00
Hudson Energy Services, LLC
Kelly Kleist
Conley Rosenberg Mendez & Brenniese LLP
5080 Spectrum Drive, Ste 850E                                   RS Legacy Corporation fka RadioShack
Addison, TX 75001                          10829      12/4/2015 Corporation                                                        $0.00                                                                                            $0.00
Central Hudson Gas & Electric Corp
284 South Ave                                                    RS Legacy Corporation fka RadioShack
Poughkeepsie, NY 12601                     10830      12/21/2015 Corporation                                                       $0.00                                                                                            $0.00
Walker, Isaac
2 Cow Path                                                       RS Legacy Corporation fka RadioShack
Hopewell Junction, NY 12533                10831      12/21/2015 Corporation                                                       $0.00                                                                                            $0.00




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                                                                                                                   Current General                                            Current 503(b)(9)
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             Creditor Name and Address   Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Elizabeh O'Gorman
5508 Ironwood Street                                            RS Legacy Corporation fka RadioShack
Rancho Palos Verdes, CA 90275             10832      12/29/2015 Corporation                                                      $0.00                                                                                            $0.00
Esquivel, Cheri
733 W Cuming St                                                 RS Legacy Corporation fka RadioShack
Lincoln, NE 68521                         10833      12/22/2015 Corporation                                                     $21.39                                                                                           $21.39
Burmeister, Kalyn
PO Box 33902                                                    RS Legacy Corporation fka RadioShack
Seattle, WA 98133                         10834      12/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Kevin Meyer
1021 Falcon Dr.                                                 RS Legacy Corporation fka RadioShack
Columbia, MO 65201                        10835      12/29/2015 Corporation                                                     $14.03                                                                                           $14.03
Kent, Barbara
27 South Lake Shore Drive                                       RS Legacy Corporation fka RadioShack
Brookfield, CT 06804                      10836      12/28/2015 Corporation                                                                                                                                                       $0.00
Claim Docketed In Error                                         RS Legacy Corporation fka RadioShack
                                          10837      12/28/2015 Corporation                                                                                                                                                       $0.00
Ornes, Kathy
108 Granburg Circle                                             RS Legacy Corporation fka RadioShack
San Antonio, TX 78218                     10838      12/28/2015 Corporation                                                     $21.62                                                                                           $21.62
Ferrari, Phil L.
25 Cotswild Way                                                 RS Legacy Corporation fka RadioShack
Avon, CT 06001                            10839      12/28/2015 Corporation                                                     $50.00                                                                                           $50.00
Smith, Juel
23104 E Echo Lake Rd                                            RS Legacy Corporation fka RadioShack
Snohomish, WA 98296                       10840      12/28/2015 Corporation                                                                                                                                                       $0.00
Long, William L.
1138 Brighton Pl.                                               RS Legacy Corporation fka RadioShack
Charlotte, NC 28205                       10841      12/28/2015 Corporation                                                     $31.09                                                                                           $31.09
Lavalley, Bruce C.
1112 Cumberland Head                                            RS Legacy Corporation fka RadioShack
PLATTSBURGH, NY 12901                     10842      12/28/2015 Corporation                                                                                                                                                       $0.00
Mian, Zack
850 River St.                                                   RS Legacy Corporation fka RadioShack
Troy, NY 12180                            10843      12/28/2015 Corporation                                                    $107.99                                                                                          $107.99
Farley, Owen
151 Glen Drive                                                  RS Legacy Corporation fka RadioShack
Ridge, NY 11961                           10844      12/28/2015 Corporation                                                     $51.04                                                                                           $51.04
Mcintire, Nancy
1941 South 88 road                                              RS Legacy Corporation fka RadioShack
Greensboro, PA 15338                      10845      12/28/2015 Corporation                                                     $10.00                                                                                           $10.00
Youngblut, Thomas R.
1234 Pleasant St                                                RS Legacy Corporation fka RadioShack
Osage, IA 50461‐1839                      10846      12/22/2015 Corporation                                                     $10.00                                                                                           $10.00
Imperial Irrigation District
PO Box 937                                                     RS Legacy Corporation fka RadioShack
Imperial, CA 92251                        10847      12/4/2015 Corporation                                                                                                                              $1,366.02             $1,366.02
Farias, Terry
28882 Vermillion Lane                                           RS Legacy Corporation fka RadioShack
Bonita Springs, FL 34135                  10848      12/22/2015 Corporation                                                     $18.71                                                                                           $18.71
Claim Docketed In Error                                         RS Legacy Corporation fka RadioShack
                                          10849      12/29/2015 Corporation                                                                                                                                                       $0.00



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                                                                                                                   Current General                                            Current 503(b)(9)
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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Tad Maciejewski
114 Sayles Hill Rd                                              RS Legacy Corporation fka RadioShack
N. Smithfield, RI 02896                   10850      12/29/2015 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                         RS Legacy Corporation fka RadioShack
                                          10851       2/17/2016 Corporation                                                                                                                                                       $0.00
Judy Cashwell
4003 W. Carmen St                                               RS Legacy Corporation fka RadioShack
Tampa, Florida 33609                      10852      12/29/2015 Corporation                                                      $8.96                                                                                            $8.96
Claim Docketed In Error                                         RS Legacy Corporation fka RadioShack
                                          10853      12/28/2015 Corporation                                                                                                                                                       $0.00
Cayer, Bill
50 Oregon Dr. NE                                                RS Legacy Corporation fka RadioShack
FT. Walton Bch., FL 32548                 10854      12/28/2015 Corporation                                                     $20.00                                                                                           $20.00
Judy Cashwell
4003 W. Carmen St                                               RS Legacy Corporation fka RadioShack
Tampa, Fl 33609                           10855      12/29/2015 Corporation                                                     $15.00                                                                                           $15.00
Mahoney, John
2857 Harris St.                                                 RS Legacy Corporation fka RadioShack
Eugene, OR 94701                          10856      12/22/2015 Corporation                                                                                                                                                       $0.00
Derek
Derkthegamer@yahoo.com                                          RS Legacy Corporation fka RadioShack
Morgantown, WV 26501                      10857      12/29/2015 Corporation                                                      $0.00                                                                                            $0.00
Judy Cashwell
4003 W. Carmen St                                               RS Legacy Corporation fka RadioShack
Tampa, Fl 33609                           10858      12/29/2015 Corporation                                                     $15.00                                                                                           $15.00
David S Brunell
36 Coronado Pointe                                              RS Legacy Corporation fka RadioShack
Laguna Niguel, CA 92677‐5545              10859      12/29/2015 Corporation                                                      $0.00                                                                                            $0.00
Trustev Limited
Stephen Fanning
2100 Cork Airport Business Park
Cork                                                           RS Legacy Corporation fka RadioShack
Ireland                                   10860      12/4/2015 Corporation                                                                                                                                  $0.00                 $0.00
Judy Cashwell
4003 W. Carmen St                                               RS Legacy Corporation fka RadioShack
Tampa, Fl 33609                           10861      12/29/2015 Corporation                                                     $15.00                                                                                           $15.00
Douglas M. Fox
8 Thompson Street                                               RS Legacy Corporation fka RadioShack
Annapolis, MD 21401                       10862      12/29/2015 Corporation                                                     $25.00                                                                                           $25.00
Mostafa Sadeghi
1212 McClellan Dr Apt 103                                       RS Legacy Corporation fka RadioShack
Los Aneles, CA 90025                      10863      12/29/2015 Corporation                                                     $33.54                                                                                           $33.54
Dana Witt
Po box 3081                                                     RS Legacy Corporation fka RadioShack
Big spring, TX 79721                      10864      12/29/2015 Corporation                                                    $140.00                                                                                          $140.00
Alicia Nicholson
1070 Essex Rd                                                   RS Legacy Corporation fka RadioShack
Watkinsville, GA 30677                    10865      12/29/2015 Corporation                                                     $55.09                                                                                           $55.09
Gustie Houston
3603 Forest Village DR                                          RS Legacy Corporation fka RadioShack
Kingwood, TX 77339                        10866      12/29/2015 Corporation                                                     $40.00                                                                                           $40.00




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                                                                                                                   Current General                                            Current 503(b)(9)
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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Shawn Yashar
1441 4th Street                                                 RS Legacy Corporation fka RadioShack
Santa Monica, CA 90401                    10867      12/29/2015 Corporation                                                     $59.12                                                                                           $59.12
Joanne Durham
10330 Old Furnace Rd.                                           RS Legacy Corporation fka RadioShack
Seaford, Delaware 19973                   10868      12/29/2015 Corporation                                                     $50.00                                                                                           $50.00
Joanne Durham
10330 Old Furnace Rd.                                           RS Legacy Corporation fka RadioShack
Seaford, Delaware 19973                   10869      12/29/2015 Corporation                                                      $1.01                                                                                            $1.01
Jackie Bradley
606 McLamb Dr                                                   RS Legacy Corporation fka RadioShack
Fayetteville, nc 28301                    10870      12/29/2015 Corporation                                                     $10.00                                                                                           $10.00
william gargone
64 church lane                                                  RS Legacy Corporation fka RadioShack
madison, ct 06443                         10871      12/29/2015 Corporation                                                     $19.13                                                                                           $19.13
Jim Holesovsky
708 Lincoln Blvd                                                RS Legacy Corporation fka RadioShack
Bedford, Ohio 44146                       10872      12/29/2015 Corporation                                                      $0.00                                                                                            $0.00
Sunil Muthyala
25406 Silver Crest Ct                                           RS Legacy Corporation fka RadioShack
Santa Clarita, CA 91350                   10873      12/29/2015 Corporation                                                      $0.00                                                                                            $0.00
Ernst Louis‐Jacques
P.O. box 278                                                    RS Legacy Corporation fka RadioShack
Penngrove, Ca 94951                       10874      12/29/2015 Corporation                                                     $15.00                                                                                           $15.00
Annette Wu
12101 home ranch dr                                             RS Legacy Corporation fka RadioShack
Bakersfield, Ca 93312                     10875      12/30/2015 Corporation                                                      $0.00                                                                                            $0.00
Robert Stiurgeon
721 W Loula St                                                  RS Legacy Corporation fka RadioShack
Olathe, KS 66061                          10876      12/30/2015 Corporation                                                     $20.00                                                                                           $20.00
Todd Hoppes
4300 Rounding Run Road                                          RS Legacy Corporation fka RadioShack
Charlotte, NC 28277                       10877      12/30/2015 Corporation                                                     $45.92                                                                                           $45.92
Juan Renteria
8326 South Kildare Avenue                                       RS Legacy Corporation fka RadioShack
Chicago, IL 60652                         10878      12/30/2015 Corporation                                                      $0.00                                                                                            $0.00
Garsuah Reeves
4020 Pitch Pine Cir                                             RS Legacy Corporation fka RadioShack
Oviedo, FL 32765                          10879      12/30/2015 Corporation                                                     $53.24                                                                                           $53.24
Chang, Mimi
751 Hamann Dr.                                                  RS Legacy Corporation fka RadioShack
San Jose, CA 95117                        10880      12/28/2015 Corporation                                                                                                                                                       $0.00
Taylor, Casey
1213 Freedom Church Rd.                                         RS Legacy Corporation fka RadioShack
Russell Springs, KY 42642                 10881      12/22/2015 Corporation                                                     $10.00                                                                                           $10.00
Seymour, Donna G.
929 Bradley Rd.                                                 RS Legacy Corporation fka RadioShack
Springfield, MA 01109‐1428                10882      12/28/2015 Corporation                                                     $13.83                                                                                           $13.83
Rojas, Evelyn
77‐30 74th St # 2RR                                             RS Legacy Corporation fka RadioShack
Glendale, NY 11385                        10883      12/22/2015 Corporation                                                                                                                                                       $0.00




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                                                                                                                   Current General                                            Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Imhoff, David H.
2037 W. 96th St.                                                RS Legacy Corporation fka RadioShack
Leawood, KS 66206                         10884      12/28/2015 Corporation                                                     $97.52                                                                                           $97.52
Scichilone, Philip
1655 Elk Run Trl.                                               RS Legacy Corporation fka RadioShack
Reno, NV 89523                            10885      12/28/2015 Corporation                                                                                                                                                       $0.00
Shoppes of Liberty City, LLC
Alexis S. Read, Esq.
Blaxberg, Grayson & Kukoff, P.A.
25 SE Second Ave.
Suite 730                                                      RS Legacy Corporation fka RadioShack
Miami, FL 33131                           10886      12/4/2015 Corporation                                                       $0.00                                                                                            $0.00
Marisa Reisinger
40‐35 67th Street Apartment 44                                  RS Legacy Corporation fka RadioShack
Woodside, NY 11377                        10887      12/30/2015 Corporation                                                      $0.00                                                                                            $0.00
Gabriel Braganza
22 Peggy Lane                                                   RS Legacy Corporation fka RadioShack
Peekskill, NY 10566                       10888      12/30/2015 Corporation                                                     $50.00                                                                                           $50.00
Roxanne Lott
805 Tara Rd                                                     RS Legacy Corporation fka RadioShack
Papillion, NE 68046                       10889      12/30/2015 Corporation                                                      $0.00                                                                                            $0.00
Jerri Dean
3504 Hwy 43 North                                               RS Legacy Corporation fka RadioShack
Canton, Ms 39046                          10890      12/30/2015 Corporation                                                    $100.00                                                                                          $100.00
William Appling
4233 allendorf dr apt 19                                        RS Legacy Corporation fka RadioShack
Cincinnati, oh 45209                      10891      12/30/2015 Corporation                                                      $0.00                                                                                            $0.00
Paul Kolenda
3148 Plainfield Ste. #289                                       RS Legacy Corporation fka RadioShack
Grand Rapids, MI 49525                    10892      12/30/2015 Corporation                                                      $0.00                                                                                            $0.00
Grete Luxbacher
71 Dinsmore Avenue                                              RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15205                      10893      12/30/2015 Corporation                                                      $0.00                                                                                            $0.00
Carolyn Simon
472 Jefferson Abe                                               RS Legacy Corporation fka RadioShack
Hatboro, PA 19040                         10894      12/30/2015 Corporation                                                      $0.00                                                                                            $0.00
Laurie Figg / Raymond Figg
528 Madrid Blvd                                                 RS Legacy Corporation fka RadioShack
Punta Gorda, FL 33950‐7851                10895      12/22/2015 Corporation                                                      $0.00                                                                                            $0.00
Elizabeth J. Weaver
1143 Hartman rd.                                                RS Legacy Corporation fka RadioShack
Marion Center, PA 15759                   10896      12/30/2015 Corporation                                                      $0.00                                                                                            $0.00
Margaret Karimi
376 Sunderland Road
Apt # 23                                                        RS Legacy Corporation fka RadioShack
Worcester, MA 01604                       10897      12/30/2015 Corporation                                                      $0.00                                                                                            $0.00
Cornelius Anderson
3145 Parkview Ave                                               RS Legacy Corporation fka RadioShack
Cincinnati, OH 45213                      10898      12/30/2015 Corporation                                                      $0.00                                                                                            $0.00
MacMackin, Leonard
293 Fayette St                                                  RS Legacy Corporation fka RadioShack
Quincy, MA 02170                          10899      12/22/2015 Corporation                                                     $50.00                                                                                           $50.00



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                                                                                                                   Current General                                            Current 503(b)(9)
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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Broder, Anne
91 Fremont Street                                               RS Legacy Corporation fka RadioShack
Winthrop, MA 02152                        10900      12/22/2015 Corporation                                                                                                                                                       $0.00
Anahi Prieto
1608 broadway                                                   RS Legacy Corporation fka RadioShack
Great Bend, KS 67530                      10901      12/30/2015 Corporation                                                     $43.15                                                                                           $43.15
Morgan, Linda
9720 Rd 54                                                      RS Legacy Corporation fka RadioShack
Dalton, NE 69131                          10902      12/22/2015 Corporation                                                     $25.00                                                                                           $25.00
David Baron
24736 West Saddle Peak Road                                     RS Legacy Corporation fka RadioShack
Malibu, CA 90265                          10903      12/30/2015 Corporation                                                     $20.00                                                                                           $20.00
Brian Wood
410 Walnut St                                                   RS Legacy Corporation fka RadioShack
Pacific Grove, CA 93950                   10904      12/30/2015 Corporation                                                      $0.00                                                                                            $0.00
Trustev Limited
Stephen Fanning
2100 Cork Airport Business Park
Cork                                                           RS Legacy Corporation fka RadioShack
Ireland                                   10905      12/4/2015 Corporation                                                                          $0.00             $0.00                                                       $0.00
Thompson, Linda
8565 Dorwood                                                    RS Legacy Corporation fka RadioShack
Birch Run, MI 48415                       10906      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Ginny Hager
1896 Graham Blvd                                                RS Legacy Corporation fka RadioShack
Vale, OR 97918                            10907      12/30/2015 Corporation                                                      $0.00                                                                                            $0.00
Chris Collins
4022 Rector Common                                              RS Legacy Corporation fka RadioShack
Fremont, CA 94538                         10908      12/30/2015 Corporation                                                    $100.00                                                                                          $100.00
Paradise, Karin
4545 Myrtle St                                                  RS Legacy Corporation fka RadioShack
Edgewater, FL 32141                       10909      12/28/2015 Corporation                                                     $25.00                                                                                           $25.00
Brian Cerasuolo
1133 W9th St apt 104                                            RS Legacy Corporation fka RadioShack
Cleveland, Ohio 44113                     10910      12/30/2015 Corporation                                                      $0.00                                                                                            $0.00
Biedron, Cami
175 Wilcox Dr                                                   RS Legacy Corporation fka RadioShack
Bartlett, IL 60103                        10911      12/28/2015 Corporation                                                     $25.00                                                                                           $25.00
Brian Cerasuolo
1133 W 9th St Apt 104                                           RS Legacy Corporation fka RadioShack
Cleveland, Ohio 44113                     10912      12/30/2015 Corporation                                                      $0.00                                                                                            $0.00
Susana Davenport
115 Shadow Ct                                                   RS Legacy Corporation fka RadioShack
Huntsville, AL 35824                      10913      12/30/2015 Corporation                                                     $43.59                                                                                           $43.59
Justin Gilstrap
66 Rockwell Place, Apt. 12F                                     RS Legacy Corporation fka RadioShack
Brooklyn, NY 11217                        10914      12/30/2015 Corporation                                                      $0.00                                                                                            $0.00
Dyan Vega
609 Brita Trl                                                   RS Legacy Corporation fka RadioShack
Minooka, IL 60447                         10915      12/30/2015 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address              Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Justin DeSilva
9 Jean Street                                                             RS Legacy Corporation fka RadioShack
Blackstone, MA 01504                                10916      12/30/2015 Corporation                                                      $0.00                                                                                            $0.00
Robert Vega
609 Brita Trl                                                             RS Legacy Corporation fka RadioShack
Minooka, IL 60447                                   10917      12/30/2015 Corporation                                                      $0.00                                                                                            $0.00
Lynda Tshering
PO Box 1695                                                               RS Legacy Corporation fka RadioShack
Huntington, NY 11743                                10918      12/30/2015 Corporation                                                      $0.00                                                                                            $0.00
Christopher T. Long
2911 Westover Place                                                       RS Legacy Corporation fka RadioShack
St. Charles, Missouri 63301                         10919      12/30/2015 Corporation                                                      $0.00                                                                                            $0.00
Nguyen, Huyentran
822 Malibu Drive                                                          RS Legacy Corporation fka RadioShack
Silver Spring, MD 20901                             10920      12/28/2015 Corporation                                                     $20.00                                                                                           $20.00
Coburn, Henrietta J.
8 Purple Row                                                              RS Legacy Corporation fka RadioShack
Riverhead, NY 11901                                 10921      12/28/2015 Corporation                                                                                                                                                       $0.00
Michele Nunn
531 26th Street                                                           RS Legacy Corporation fka RadioShack
Sacramento, Ca 95816                                10922      12/30/2015 Corporation                                                     $50.00                                                                                           $50.00
James A. Boland
41532 Blaise Hamlet Lane                                                  RS Legacy Corporation fka RadioShack
Leesburg, VA 20176                                  10923      12/30/2015 Corporation                                                      $0.00                                                                                            $0.00
Jan Carey
1910 N Spencer Cir                                                        RS Legacy Corporation fka RadioShack
Flagstaff, AZ 86004                                 10924      12/30/2015 Corporation                                                     $10.00                                                                                           $10.00
robert ryan
842 brady ave                                                             RS Legacy Corporation fka RadioShack
alamo, tx 78516                                     10925      12/30/2015 Corporation                                                    $100.00                                                                                          $100.00
robert ryan
842 brady ave                                                             RS Legacy Corporation fka RadioShack
alamo, tx 78516                                     10926      12/30/2015 Corporation                                                    $100.00                                                                                          $100.00
Todd Kacer
129 High Noon Ln                                                          RS Legacy Corporation fka RadioShack
Huntsville, AL 35806                                10927      12/30/2015 Corporation                                                     $15.80                                                                                           $15.80
Luyt, Grady
7235 Henderson Dr.                                                        RS Legacy Corporation fka RadioShack
Traverse City, MI 49686                             10928      12/30/2015 Corporation                                                      $0.00                                                                                            $0.00
Ron James
113 Glenside Court                                                        RS Legacy Corporation fka RadioShack
Midway Park, NC 28544                               10929      12/30/2015 Corporation                                                      $0.00                                                                                            $0.00
John P Sapia
45 Murray Dr
Easton PA 18042, 45 Murray Dr Easton PA 18042 45                          RS Legacy Corporation fka RadioShack
Murray                                              10930      12/30/2015 Corporation                                                     $15.87                                                                                           $15.87
Kayla Schmitt
W3575 State Road 16                                                       RS Legacy Corporation fka RadioShack
Rio, WI 53960                                       10931      12/30/2015 Corporation                                                     $59.07                                                                                           $59.07
Justen T Maltinsky
950 Hillcrest Drive                                                       RS Legacy Corporation fka RadioShack
Felton, California 95018                            10932      12/30/2015 Corporation                                                      $0.00                                                                                            $0.00



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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
stephen falcigno
26 Dillon rd.                                                   RS Legacy Corporation fka RadioShack
woodbridge, conn. 06525                   10933      12/30/2015 Corporation                                                     $23.47                                                                                           $23.47
Jordan Yasutomi
1511 Nuuanu Ave. 3539                                           RS Legacy Corporation fka RadioShack
Honolulu, HI 96817                        10934      12/30/2015 Corporation                                                      $0.00                                                                                            $0.00
stephen falcigno
26 Dillon rd.                                                   RS Legacy Corporation fka RadioShack
woodbridge, conn. 06525                   10935      12/30/2015 Corporation                                                     $15.73                                                                                           $15.73
Andrew Miller
340 Elm St. NW                                                  RS Legacy Corporation fka RadioShack
Washington, DC 20001                      10936      12/30/2015 Corporation                                                     $10.00                                                                                           $10.00
Zack Essayli
6065 San Rolando Way                                            RS Legacy Corporation fka RadioShack
Buena Park, California 90620              10937      12/30/2015 Corporation                                                      $0.00                                                                                            $0.00
zack essayli
6065 San Rolando Way                                            RS Legacy Corporation fka RadioShack
Buena Park, California 90620              10938      12/30/2015 Corporation                                                     $84.09                                                                                           $84.09
zack essayli
6065 San rolando way                                            RS Legacy Corporation fka RadioShack
buena park, california 90620              10939      12/30/2015 Corporation                                                    $100.00                                                                                          $100.00
Lenore Sullivan
5 Tamarack Drive                                                RS Legacy Corporation fka RadioShack
Canandaigua, NY 14424                     10940      12/30/2015 Corporation                                                     $20.43                                                                                           $20.43
Yareli Montes
1629 Kniebes rd                                                 RS Legacy Corporation fka RadioShack
Gustine, CA 95351                         10941      12/30/2015 Corporation                                                     $69.21                                                                                           $69.21
Denan Wang
835 N 14th St Apt119                                            RS Legacy Corporation fka RadioShack
Milwaukee, WI 53233                       10942      12/30/2015 Corporation                                                    $100.00                                                                                          $100.00
Adrian Lopez
8335 e. Sells dr.                                               RS Legacy Corporation fka RadioShack
Scottsdale, Arizona 85251                 10943      12/30/2015 Corporation                                                     $20.25                                                                                           $20.25
Cecilia Anderson
518 Kelly ct                                                    RS Legacy Corporation fka RadioShack
Duncanville, TX ‐ Texas 75137             10944      12/30/2015 Corporation                                                      $0.00                                                                                            $0.00
Lori DeBough
2471 N. Aileen Ave.                                             RS Legacy Corporation fka RadioShack
Tucson, AZ 85715                          10945      12/30/2015 Corporation                                                      $0.00                                                                                            $0.00
hamid azad
951 Alexandra dr                                                RS Legacy Corporation fka RadioShack
corona, ca 92881                          10946      12/31/2015 Corporation                                                     $17.00                                                                                           $17.00
Christine Shimomura
248 South Alu Road                                              RS Legacy Corporation fka RadioShack
Wailuku, Hawaii 96793                     10947      12/31/2015 Corporation                                                     $74.36                                                                                           $74.36
xiangqing Li
110‐20 71Rd apt 114                                             RS Legacy Corporation fka RadioShack
Forest Hills, NY 11375                    10948      12/31/2015 Corporation                                                      $0.00                                                                                            $0.00
Johnson, Judy
5014 N washington ST                                            RS Legacy Corporation fka RadioShack
Spokane, WA 99205                         10949      12/30/2015 Corporation                                                     $10.80                                                                                           $10.80




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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
James Malys
231 Maple Avenue                                                RS Legacy Corporation fka RadioShack
Oil City, PA 16301                        10950      12/31/2015 Corporation                                                     $10.00                                                                                           $10.00
James Malys
231 Maple Ave                                                   RS Legacy Corporation fka RadioShack
Oil City, PA 16301                        10951      12/31/2015 Corporation                                                     $10.00                                                                                           $10.00
Virgil Scherr
26861 467th Ave.                                                RS Legacy Corporation fka RadioShack
Sioux Falls, SD 57106                     10952      12/31/2015 Corporation                                                      $0.00                                                                                            $0.00
JOHN ANDRISIN aka JOHN ANDERISON
7730 Fleger Drive                                               RS Legacy Corporation fka RadioShack
PARMA, OHIO 44134                         10953      12/31/2015 Corporation                                                     $50.00                                                                                           $50.00
Joel S. Pratt
74 Seawall Point                                                RS Legacy Corporation fka RadioShack
Roque Bluffs, ME 04654‐3101               10954      12/31/2015 Corporation                                                      $0.00                                                                                            $0.00
Christopher Lucero
P.O. Box 164                                                    RS Legacy Corporation fka RadioShack
Emerado, ND 58228                         10955      12/31/2015 Corporation                                                      $0.00                                                                                            $0.00
Daniel J Ziemba
5358 Picayune St                                                RS Legacy Corporation fka RadioShack
Columbus, Ohio 43221                      10956      12/31/2015 Corporation                                                     $17.31                                                                                           $17.31
Larry Haunert
9654 S 1000 W                                                   RS Legacy Corporation fka RadioShack
Waldron, In 46182                         10957      12/31/2015 Corporation                                                     $25.00                                                                                           $25.00
Anthony Yerbey
553 Plantation Dr.                                              RS Legacy Corporation fka RadioShack
Killen, AL 35645                          10958      12/31/2015 Corporation                                                     $25.00                                                                                           $25.00
Anthony Yerbey
553 Plantation Dr.                                              RS Legacy Corporation fka RadioShack
Killen, AL 35645                          10959      12/31/2015 Corporation                                                     $25.00                                                                                           $25.00
Anthony Yerbey
553 Plantation Dr.                                              RS Legacy Corporation fka RadioShack
Killen, AL 35645                          10960      12/31/2015 Corporation                                                     $25.00                                                                                           $25.00
Anthony Yerbey
553 Plantation Dr.                                              RS Legacy Corporation fka RadioShack
Killen, AL 35645                          10961      12/31/2015 Corporation                                                     $25.00                                                                                           $25.00
andria castor
97 s oak st                                                     RS Legacy Corporation fka RadioShack
ventura, ca 93001                         10962      12/31/2015 Corporation                                                      $0.00                                                                                            $0.00
Anthony Yerbey
553 Plantation Dr.                                              RS Legacy Corporation fka RadioShack
Killen, AL 35645                          10963      12/31/2015 Corporation                                                     $25.00                                                                                           $25.00
Bruce Weigman
2724 Cathedral Lane                                             RS Legacy Corporation fka RadioShack
Las Vegas, NV 89108                       10964      12/31/2015 Corporation                                                     $20.91                                                                                           $20.91
Ferguson, Laura
6566 Charles Rd                                                 RS Legacy Corporation fka RadioShack
Westerville, OH 43082                     10965      12/30/2015 Corporation                                                     $48.00                                                                                           $48.00
John Garver
3506 Springbriar Drive                                          RS Legacy Corporation fka RadioShack
Castle Rock, CO 80109                     10966      12/31/2015 Corporation                                                      $0.42                                                                                            $0.42




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                                                                                                                   Current General                                            Current 503(b)(9)
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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Kilmartin, Kimberly W.
116 Jensen Road                                                 RS Legacy Corporation fka RadioShack
Williston, VT 05495                       10967      12/30/2015 Corporation                                                     $25.00                                                                                           $25.00
Jason Shadden
12220 Hascall Street                                            RS Legacy Corporation fka RadioShack
Omaha, NE 68144                           10968      12/31/2015 Corporation                                                      $0.00                                                                                            $0.00
kathleen Malanga
62 Beechwood Lane                                               RS Legacy Corporation fka RadioShack
berkeley Hts, NJ 07922                    10969      12/31/2015 Corporation                                                     $46.51                                                                                           $46.51
GRIZELDA DOLUERAS
2555 ATLANTIC ST                                                RS Legacy Corporation fka RadioShack
Franklin Park, IL 60131                   10970      12/31/2015 Corporation                                                    $120.40                                                                                          $120.40
Micaela Levesque
166 Chipper Dr                                                  RS Legacy Corporation fka RadioShack
East Hartford, CT 06108                   10971      12/31/2015 Corporation                                                    $100.00                                                                                          $100.00
Pacific Plaza Shopping Center
Jodyne Roseman
c/o Byron Moldo
9401 Wilshire Blvd., 9th Floor                                  RS Legacy Corporation fka RadioShack
Beverly Hills, CA 90212                   10972      12/30/2015 Corporation                                                                                                                             $5,350.00             $5,350.00
Brian Kelley
423 Coleen St.                                                  RS Legacy Corporation fka RadioShack
Livermore, CA 94550                       10973      12/31/2015 Corporation                                                     $50.00                                                                                           $50.00
Michael Landry
463 High Bank Ct                                                RS Legacy Corporation fka RadioShack
Commerce TWP, MI 48382                    10974      12/31/2015 Corporation                                                     $25.00                                                                                           $25.00
tiana torres
3668 lake grove dr                                              RS Legacy Corporation fka RadioShack
yorba linda, ca 92886                     10975      12/31/2015 Corporation                                                     $56.09                                                                                           $56.09
Toni Skane
29574 Wagon Creek Lane                                          RS Legacy Corporation fka RadioShack
Menifee, Ca 92584                         10976      12/31/2015 Corporation                                                     $50.00                                                                                           $50.00
Komal Jain
9201 Fairwood Ct                                                RS Legacy Corporation fka RadioShack
plano, TX 75025                           10977      12/31/2015 Corporation                                                     $40.00                                                                                           $40.00
stephen amachee
6902 ridge blvd apt b3                                          RS Legacy Corporation fka RadioShack
booklyn, ny 11209                         10978      12/31/2015 Corporation                                                    $100.00                                                                                          $100.00
Jennifer Matthews
24 14th Ave                                                     RS Legacy Corporation fka RadioShack
Sea Cliff, NY 11579                       10979      12/31/2015 Corporation                                                      $0.00                                                                                            $0.00
Calihan Morling
2387 170th St                                                   RS Legacy Corporation fka RadioShack
Galesburg, Il 61401                       10980      12/31/2015 Corporation                                                    $100.00                                                                                          $100.00
sara mcmullen
19b w glenwood drive                                            RS Legacy Corporation fka RadioShack
camp hill, pa 17011                       10981      12/31/2015 Corporation                                                      $0.00                                                                                            $0.00
robert lucchetti
1520 forst drive                                                RS Legacy Corporation fka RadioShack
glenview, il 60025                        10982      12/31/2015 Corporation                                                     $25.00                                                                                           $25.00




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                                                                                                                   Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
robert hartwig
1700 Medfield Road                                              RS Legacy Corporation fka RadioShack
Raleigh, NC 27607                         10983      12/31/2015 Corporation                                                      $0.00                                                                                            $0.00
Efrain Bonilla Caudillo
32225 Terra Cotta st                                            RS Legacy Corporation fka RadioShack
Lake Elsinore, CA 92530                   10984      12/31/2015 Corporation                                                    $107.99                                                                                          $107.99
David Lintz
425 N 73rd St                                                   RS Legacy Corporation fka RadioShack
Lincoln, Nebraska 68505                   10985      12/31/2015 Corporation                                                     $25.00                                                                                           $25.00
Joyce R. Weiser
839 Beaver Lane                                                 RS Legacy Corporation fka RadioShack
Reading, PA 19606                         10986      12/31/2015 Corporation                                                     $21.19                                                                                           $21.19
gary Sedacca
2463 Old Samsula Rd                                             RS Legacy Corporation fka RadioShack
Port Orange, fl 32128                     10987      12/31/2015 Corporation                                                     $35.00                                                                                           $35.00
MURAD MOHAMMAD
19 PAERDEGAT 11TH ST 1ST FL                                     RS Legacy Corporation fka RadioShack
BROOKLYN, NY 11236                        10988      12/31/2015 Corporation                                                    $217.74                                                                                          $217.74
Paul Alvarez
555 Ovington Ave. Apt 4B                                       RS Legacy Corporation fka RadioShack
Brooklyn, NY 11209                        10989       1/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Charles Kauffmann
4316 Woodledge Place                                           RS Legacy Corporation fka RadioShack
Round Rock, TX 78665                      10990       1/1/2016 Corporation                                                      $16.09                                                                                           $16.09
Lisa Gladysz
106 Hall Hill Road                                             RS Legacy Corporation fka RadioShack
Somers, CT 06071                          10991       1/1/2016 Corporation                                                       $9.06                                                                                            $9.06
Michael Graziosi
63 Woolsey Avenue                                              RS Legacy Corporation fka RadioShack
Glen Cove, NY 11542                       10992       1/1/2016 Corporation                                                      $33.72                                                                                           $33.72
Jo Emmerson
PO BOX 503                                                     RS Legacy Corporation fka RadioShack
Paris, TX 75461‐0503                      10993       1/1/2016 Corporation                                                      $97.41                                                                                           $97.41
Sean E. Mann
253 E. 9th Street                                              RS Legacy Corporation fka RadioShack
Hobart, Indiana 46342                     10994       1/1/2016 Corporation                                                     $102.92                                                                                          $102.92
Shubhro Pal
11105 Wychwood Drive                                           RS Legacy Corporation fka RadioShack
Mechanicsville, VA 23116                  10995       1/1/2016 Corporation                                                      $50.00                                                                                           $50.00
Shubhro Pal
11105 Wychwood Drive                                           RS Legacy Corporation fka RadioShack
Mechanicsville, VA 23116                  10996       1/1/2016 Corporation                                                      $50.00                                                                                           $50.00
Carolyn Matthews
269 Third Street                                               RS Legacy Corporation fka RadioShack
Roxie, MS 39661                           10997       1/1/2016 Corporation                                                      $25.00                                                                                           $25.00
Steven L Howard
3855 Holbein Drive                                             RS Legacy Corporation fka RadioShack
Zanesville, Ohio 43701                    10998       1/1/2016 Corporation                                                     $500.00                                                                                          $500.00
Kristen Coons
650 Tamarack ave #613                                          RS Legacy Corporation fka RadioShack
Brea, CA 92821                            10999       1/1/2016 Corporation                                                       $0.00                                                                                            $0.00




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                                                                                                                       Current General                                            Current 503(b)(9)
                                                                                                                                             Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address          Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
Laurene Rodriguez
2670 Clarendon Dr                                                   RS Legacy Corporation fka RadioShack
Colorado Springs, Co 80916                      11000      1/1/2016 Corporation                                                    $215.25                                                                                          $215.25
Katie Roberts
4101 Hilltop Acres Ln.                                              RS Legacy Corporation fka RadioShack
Brenham, TX 77833                               11001      1/1/2016 Corporation                                                     $25.00                                                                                           $25.00
Jeremy Wenzel
13764 9th Ave S                                                     RS Legacy Corporation fka RadioShack
Zimmerman, MN 55398                             11002      1/1/2016 Corporation                                                     $30.00                                                                                           $30.00
Juan C. Fuentes
224 Amherst Street                                                  RS Legacy Corporation fka RadioShack
New Britain, CT 06053                           11003      1/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Truong Kha
1874 Quimby Rd                                                      RS Legacy Corporation fka RadioShack
San Jose, CA 95122                              11004      1/2/2016 Corporation                                                     $21.81                                                                                           $21.81
Duane Llave
1643 Ashby Ave                                                      RS Legacy Corporation fka RadioShack
Berkeley, ca 94703                              11005      1/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Kellie McAlister
6205 Carl Sandburg Cir                                              RS Legacy Corporation fka RadioShack
Sacrmento, CA 95842                             11006      1/2/2016 Corporation                                                     $18.06                                                                                           $18.06
Stephen Chapman
4957 Miami 1F
4957 Miami 1F
St.Louis, MO 63139, St. Louis, MO 63139 4957                        RS Legacy Corporation fka RadioShack
Miami                                           11007      1/2/2016 Corporation                                                     $25.00                                                                                           $25.00
John S Duros
2151 Glendalen Road                                                 RS Legacy Corporation fka RadioShack
Kronenwetter, Wisconsin 54455                   11008      1/2/2016 Corporation                                                     $25.00                                                                                           $25.00
Jennifer Wozniak
94 Stetson St                                                       RS Legacy Corporation fka RadioShack
Whitman, MA 02382                               11009      1/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Annette Sterling
781 Old Oyster PT Rd                                                RS Legacy Corporation fka RadioShack
Newport News, Va 23602                          11010      1/2/2016 Corporation                                                     $31.39                                                                                           $31.39
Christy Collins
26 Knightwood Rd                                                    RS Legacy Corporation fka RadioShack
Burlington, NJ 08016                            11011      1/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Cory Dodd
14449 greencastle dr apt 8                                          RS Legacy Corporation fka RadioShack
Chesterfield, Missouri 63017                    11012      1/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Qian Du
122 Remington Ave, Apt A                                            RS Legacy Corporation fka RadioShack
Syracuse, NY 13210                              11013      1/2/2016 Corporation                                                     $73.01                                                                                           $73.01
Maria Torres
6370 College street traila #28                                      RS Legacy Corporation fka RadioShack
Beaumont, Texas 77707                           11014      1/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Chris nuccio
999 south oyster bay road                                           RS Legacy Corporation fka RadioShack
Bethpage, Ny 11714                              11015      1/2/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                 Current General                                            Current 503(b)(9)
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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Matthew Gee
5107 S. Blackstone Ave., Apt. 1002                            RS Legacy Corporation fka RadioShack
Chicago, IL 60615                         11016      1/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Manrajdeep Gill
10006 Territory Lane                                          RS Legacy Corporation fka RadioShack
Houston, TX 77064                         11017      1/2/2016 Corporation                                                     $20.00                                                                                           $20.00
Jan Donahue
33335 Elgin Ct.                                               RS Legacy Corporation fka RadioShack
Sterling Heights, MI 48310                11018      1/2/2016 Corporation                                                     $30.00                                                                                           $30.00
Brian Hess
64 Old Pioneer Road                                           RS Legacy Corporation fka RadioShack
Camp Hill, PA 17011                       11019      1/2/2016 Corporation                                                    $100.00                                                                                          $100.00
David Le Vine
8 Todd Drive                                                  RS Legacy Corporation fka RadioShack
Wynantskill, NY 12198                     11020      1/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael Karmele
4415 East Entrada Drive                                       RS Legacy Corporation fka RadioShack
Beavercreek, Ohio 45431                   11021      1/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Krishna Cannon
12803 Old Pine Ln.                                            RS Legacy Corporation fka RadioShack
Houston, TX 77015                         11022      1/2/2016 Corporation                                                     $20.00                                                                                           $20.00
Paul Hogroian
6709 Osborn Street                                            RS Legacy Corporation fka RadioShack
Falls Church, VA 22046                    11023      1/2/2016 Corporation                                                     $10.00                                                                                           $10.00
Cindy Beckman
968 Ryan Court                                                RS Legacy Corporation fka RadioShack
Crown Point, IN 46307                     11024      1/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Mary Beth Jordan
11434 Billingham Ave.                                         RS Legacy Corporation fka RadioShack
Uniontown, OHIO 44685                     11025      1/2/2016 Corporation                                                     $35.40                                                                                           $35.40
Sylvester Enos
1138 Puritan Drive                                            RS Legacy Corporation fka RadioShack
Sharon, PA 16146                          11026      1/2/2016 Corporation                                                     $20.00                                                                                           $20.00
Louis Hodges
C3 Street E Urb. Santa Marta                                  RS Legacy Corporation fka RadioShack
San German, PR 00683                      11027      1/2/2016 Corporation                                                     $50.00                                                                                           $50.00
Merlin Simmons
1109 Fairview Dr                                              RS Legacy Corporation fka RadioShack
Kingsville, Texas 78363                   11028      1/2/2016 Corporation                                                     $30.29                                                                                           $30.29
Sylvester Enos
1138 Puritan Drive                                            RS Legacy Corporation fka RadioShack
Sharon, PA 16146                          11029      1/2/2016 Corporation                                                     $25.00                                                                                           $25.00
Sylvester Enos
1138 Puritan Drive                                            RS Legacy Corporation fka RadioShack
Sharon, PA 16146                          11030      1/2/2016 Corporation                                                      $2.92                                                                                            $2.92
dan siew
11813 silver lake dr.                                         RS Legacy Corporation fka RadioShack
everett, wa 98208                         11031      1/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Theresa Engblom
264 creek blvd                                                RS Legacy Corporation fka RadioShack
pasadena, MD 21122                        11032      1/2/2016 Corporation                                                     $25.00                                                                                           $25.00




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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
dan siew
11813 silver lake dr.                                         RS Legacy Corporation fka RadioShack
everett, wa 98208                         11033      1/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Subhash garg
15 Terrace Lane                                               RS Legacy Corporation fka RadioShack
Bridgewater, NJ 08807                     11034      1/2/2016 Corporation                                                     $25.00                                                                                           $25.00
Timothy Jackson
92‐1125 Panana St # 602                                       RS Legacy Corporation fka RadioShack
Kapolei, Hawaii 96707                     11035      1/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Gregory Bolduc
1501 marsh pointe                                             RS Legacy Corporation fka RadioShack
Morehead city, NC 28557                   11036      1/2/2016 Corporation                                                     $20.00                                                                                           $20.00
Eric Heille
1728 Sycamore                                                 RS Legacy Corporation fka RadioShack
Washington, IL 61571                      11037      1/2/2016 Corporation                                                      $0.00                                                                                            $0.00
James Moriarty
640 Declaration Road                                          RS Legacy Corporation fka RadioShack
Virginia Beach, VA 23462                  11038      1/2/2016 Corporation                                                     $47.00                                                                                           $47.00
Shea Brown
578 Pioneer st                                                RS Legacy Corporation fka RadioShack
Philomath, OR 97370                       11039      1/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Judith Huffman
5045 Tamarac St.                                              RS Legacy Corporation fka RadioShack
Denver, CO 80238                          11040      1/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Hoang Tran
4711 S. 35th street,                                          RS Legacy Corporation fka RadioShack
Greenfield, WI 53221                      11041      1/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Joielle Brown
2217 Prentiss Dr
 Apt 212                                                      RS Legacy Corporation fka RadioShack
downers grove, IL 60516                   11042      1/2/2016 Corporation                                                      $0.69                                                                                            $0.69
Carl E Dick
137 Kaw Lane                                                  RS Legacy Corporation fka RadioShack
Virginia Beach, Virginia 23462            11043      1/2/2016 Corporation                                                     $25.00                                                                                           $25.00
Hoang Tran
4711 S. 35th Street                                           RS Legacy Corporation fka RadioShack
Greenfield, WI 53221                      11044      1/2/2016 Corporation                                                     $29.56                                                                                           $29.56
Mary Guidotti
16118 Finland Ave                                             RS Legacy Corporation fka RadioShack
Rosemount, MN 55068                       11045      1/2/2016 Corporation                                                     $20.00                                                                                           $20.00
Christina Lalli
12591 S Vail Desert Trl                                       RS Legacy Corporation fka RadioShack
Vail, az 85641                            11046      1/2/2016 Corporation                                                    $100.00                                                                                          $100.00
Patrick Slater
195 Elmwood Drive                                             RS Legacy Corporation fka RadioShack
Clifton, NJ 07013                         11047      1/3/2016 Corporation                                                     $25.00                                                                                           $25.00
Tammy Pollard
310 Whipporwill Rd                                            RS Legacy Corporation fka RadioShack
Mooresville, NC 28117                     11048      1/3/2016 Corporation                                                     $35.00                                                                                           $35.00
Kerry Friedman
184 Gabriel Terrace                                           RS Legacy Corporation fka RadioShack
South Amboy, NJ 08879                     11049      1/3/2016 Corporation                                                      $0.00                                                                                            $0.00



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                                                                                                                 Current General                                            Current 503(b)(9)
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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
jack choueka
55 briarwood lane                                             RS Legacy Corporation fka RadioShack
lawrence, ny 11559                        11050      1/3/2016 Corporation                                                      $6.52                                                                                            $6.52
chris hopfensperger
1844 Potomac Greens Driv                                      RS Legacy Corporation fka RadioShack
Alexandria, VA 22314                      11051      1/3/2016 Corporation                                                     $42.28                                                                                           $42.28
chris hopfensperger
1844 Potomac greens drive                                     RS Legacy Corporation fka RadioShack
alexandria, VA 22314                      11052      1/3/2016 Corporation                                                     $24.45                                                                                           $24.45
Martha Tillson
225 Lincoln Avenue                                            RS Legacy Corporation fka RadioShack
Lexington, KY 40502                       11053      1/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Jeremy Rusin (Russin)
3659 32nd St.                                                 RS Legacy Corporation fka RadioShack
San Diego, CA 92104                       11054      1/3/2016 Corporation                                                     $41.38                                                                                           $41.38
Dario Villa
201 Racquet Club Rd Apt. N424                                 RS Legacy Corporation fka RadioShack
Weston, Florida 33326                     11055      1/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Judson Abart
2533 Regis Dr.                                                RS Legacy Corporation fka RadioShack
Davis, CA 95618                           11056      1/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Nancy J. Ruoss
5 Palm Lane                                                   RS Legacy Corporation fka RadioShack
Lebanon, PA 17042                         11057      1/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Genia Miles
8790 Greenridge Lane                                          RS Legacy Corporation fka RadioShack
Beaumont, Texas 77707                     11058      1/3/2016 Corporation                                                     $54.14                                                                                           $54.14
Kelly Smith
20 Spring Walk Way                                            RS Legacy Corporation fka RadioShack
Greenville, SC 29605                      11059      1/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael Joseph
25 West Ferry Road                                            RS Legacy Corporation fka RadioShack
Yardley, PA 19067                         11060      1/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Nadia Giordani
1712 Noble Creek Dr. NW                                       RS Legacy Corporation fka RadioShack
Atlanta, GA 30327                         11061      1/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Julie Brodeur
107 Abbotts Crossing Road                                     RS Legacy Corporation fka RadioShack
Coventry, RI 02816                        11062      1/3/2016 Corporation                                                      $0.00                                                                                            $0.00
shannon henry
500 City Limit Street                                         RS Legacy Corporation fka RadioShack
Mcfall, MO 64657                          11063      1/3/2016 Corporation                                                     $19.03                                                                                           $19.03
L. Michael hicks
1760 Bimini street                                            RS Legacy Corporation fka RadioShack
Titusville, Fl 32780                      11064      1/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Nancy J. Ruoss
5 Palm Lane                                                   RS Legacy Corporation fka RadioShack
Lebanon, PA 17042                         11065      1/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Les Fernandez
22 Lake Front Road                                            RS Legacy Corporation fka RadioShack
Putnam Valley, NY 10579                   11066      1/3/2016 Corporation                                                     $25.00                                                                                           $25.00




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                                                                                                                 Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Kyle Walther
506 54th St.                                                  RS Legacy Corporation fka RadioShack
Vienna, WV 26105                          11067      1/3/2016 Corporation                                                     $63.59                                                                                           $63.59
alyza palmateer
101 king road                                                 RS Legacy Corporation fka RadioShack
Saratoga springs, ny 12866                11068      1/3/2016 Corporation                                                    $400.00                                                                                          $400.00
Kyle Jackson
2656 e 3575 n                                                 RS Legacy Corporation fka RadioShack
layton, ut 84040                          11069      1/3/2016 Corporation                                                     $31.94                                                                                           $31.94
Kathy Ovalle
511 Lake Mariam Terrace                                       RS Legacy Corporation fka RadioShack
Winter Haven, FL 33884                    11070      1/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Yauhen Balatski
p. o. box 200332                                              RS Legacy Corporation fka RadioShack
denver, co 80220                          11071      1/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Rachel Demers
525 Huntington Ave                                            RS Legacy Corporation fka RadioShack
Boston, MA 02115                          11072      1/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Melissa Rementer
134 Daly street                                               RS Legacy Corporation fka RadioShack
Philadelphia, Pa 19148                    11073      1/3/2016 Corporation                                                    $100.00                                                                                          $100.00
Daniel Bonilla Vera
1325 s hope st apt 307                                        RS Legacy Corporation fka RadioShack
los angeles, ca 90015                     11074      1/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Stan Lantsman
12 Billings Lane                                              RS Legacy Corporation fka RadioShack
Jamaica Plain, MA 02130                   11075      1/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Ching Huang
101 S Marguerita Ave Apt C                                    RS Legacy Corporation fka RadioShack
Alhambra, CA 91801                        11076      1/3/2016 Corporation                                                     $15.00                                                                                           $15.00
Shayna Knipp
151 County Road 297                                           RS Legacy Corporation fka RadioShack
Centralia, Mo 65240                       11077      1/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Duran Lee
1817 Canyon Oak Ct                                            RS Legacy Corporation fka RadioShack
San Mateo, CA 94402                       11078      1/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Duran Lee
1817 Canyon Oak Ct.                                           RS Legacy Corporation fka RadioShack
San Mateo, CA 94402                       11079      1/3/2016 Corporation                                                      $0.00                                                                                            $0.00
donald beohner
57 thomas olney common                                        RS Legacy Corporation fka RadioShack
providence, ri 02904                      11080      1/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Evan Thierry
14462 San Feliciano drive                                     RS Legacy Corporation fka RadioShack
La mirada, CA 90638                       11081      1/3/2016 Corporation                                                     $25.00                                                                                           $25.00
Stephanie duran
141 s. California st                                          RS Legacy Corporation fka RadioShack
Chandler, az 85225                        11082      1/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Denise Yamauchi
1009 13th Ave                                                 RS Legacy Corporation fka RadioShack
Honolulu, HI 96816                        11083      1/4/2016 Corporation                                                     $25.00                                                                                           $25.00




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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Richard A Ellis III
70 Loon Creek Lane                                            RS Legacy Corporation fka RadioShack
Averill Park, NY 12018                    11084      1/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Dennis Pope
170 Point Heron Drive                                         RS Legacy Corporation fka RadioShack
Newport News, VA 23606                    11085      1/4/2016 Corporation                                                     $52.49                                                                                           $52.49
Jeremy Pfund
6 Dehart Ct                                                   RS Legacy Corporation fka RadioShack
Wayne, NJ 07470                           11086      1/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Agustin Hernandez
2035 Chariton St Apt# 15                                      RS Legacy Corporation fka RadioShack
Los Angeles, CA 90034                     11087      1/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Brisamar Caballero
2116 Aldrin Rd. Apt 5A                                        RS Legacy Corporation fka RadioShack
Ocean, NJ 07712                           11088      1/4/2016 Corporation                                                     $14.42                                                                                           $14.42
Thomas Weckerle
127 South 8th Street                                          RS Legacy Corporation fka RadioShack
Lindenhurst, New York 11757               11089      1/4/2016 Corporation                                                     $25.00                                                                                           $25.00
Julee Borak
7447 state road 38                                            RS Legacy Corporation fka RadioShack
CALEDONIA, WI 53108                       11090      1/4/2016 Corporation                                                      $0.00                                                                                            $0.00
kristi wilkey
3953 n 1050w                                                  RS Legacy Corporation fka RadioShack
pleasant view, utah 84414                 11091      1/4/2016 Corporation                                                      $0.00                                                                                            $0.00
David Curlee
PO Box 5264                                                   RS Legacy Corporation fka RadioShack
Fullerton, CA 92838                       11092      1/4/2016 Corporation                                                    $100.00                                                                                          $100.00
Sharon Smith
4934 Mandellyn Ct                                             RS Legacy Corporation fka RadioShack
Jacksonville, Florida 32217               11093      1/4/2016 Corporation                                                      $0.00                                                                                            $0.00
satish uppathil
1117 waterford way                                            RS Legacy Corporation fka RadioShack
allen, tx 75013                           11094      1/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Candace Schoppe
4429 University Blvd                                          RS Legacy Corporation fka RadioShack
Dallas, TX 75205                          11095      1/4/2016 Corporation                                                    $140.70                                                                                          $140.70
William Carr
28500 M60 W                                                   RS Legacy Corporation fka RadioShack
Cassopolis, MI 49031                      11096      1/4/2016 Corporation                                                     $20.00                                                                                           $20.00
Jennifer MakePeace
PO BOX 3025                                                   RS Legacy Corporation fka RadioShack
Santa Maria, CA 93457‐3025                11097      1/4/2016 Corporation                                                     $15.58                                                                                           $15.58
Russlee Armstrong
613 Portledge Drive                                           RS Legacy Corporation fka RadioShack
Bryn Mawr, PA 19010                       11098      1/4/2016 Corporation                                                     $16.94                                                                                           $16.94
Michael Mullings Jr
1019 Heather Ave.                                             RS Legacy Corporation fka RadioShack
Takoma Park, MD 20912                     11099      1/4/2016 Corporation                                                     $80.00                                                                                           $80.00
Arthur Tidwell
12646 Paradise View Ct                                        RS Legacy Corporation fka RadioShack
Willis, Texas 77318                       11100      1/4/2016 Corporation                                                     $16.66                                                                                           $16.66




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                                                                                                                       Current General                                            Current 503(b)(9)
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                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
nicole oneill
13 dornoch way                                                     RS Legacy Corporation fka RadioShack
townsend, DE 19734                            11101       1/4/2016 Corporation                                                      $18.05                                                                                           $18.05
ASHIM RAJ JOSHI
15 GOULD ROAD                                                      RS Legacy Corporation fka RadioShack
BEDFORD, MA 01730                             11102       1/4/2016 Corporation                                                      $54.43                                                                                           $54.43
cameron cook
1149 Finney Road                                                   RS Legacy Corporation fka RadioShack
Robertsville, mo 63072                        11103       1/4/2016 Corporation                                                      $25.00                                                                                           $25.00
Kassandra Garcia
390 west co rd 2160                                                RS Legacy Corporation fka RadioShack
Kingsville, Tx 78363                          11104       1/4/2016 Corporation                                                      $15.00                                                                                           $15.00
Essau Ramirez
2120 East Paisano Dr Apt. 205                                      RS Legacy Corporation fka RadioShack
El Paso, Tx 79905                             11105       1/4/2016 Corporation                                                     $100.00                                                                                          $100.00
Jason Hughes
PO BOX 518                                                         RS Legacy Corporation fka RadioShack
BOUNTIFUL, UT 84011                           11106       1/4/2016 Corporation                                                     $100.00                                                                                          $100.00
sadia ali
3335 Glamorgan Ct                                                  RS Legacy Corporation fka RadioShack
Charlotte, NC 28269                           11107       1/4/2016 Corporation                                                      $50.00                                                                                           $50.00
Clotilda Bruno
242 No Delaware Avenue
No Massapequa, NY 11758, No Massapequa, NY                         RS Legacy Corporation fka RadioShack
11758 No Massape                              11108       1/4/2016 Corporation                                                       $0.00                                                                                            $0.00
Justice, Fran
6839 McMullin Street                                               RS Legacy Corporation fka RadioShack
Jacksonville, FL 32210                        11109       1/1/2016 Corporation                                                      $25.00                                                                                           $25.00
Kevin Entwistle
3959 Wilnor Drive                                                  RS Legacy Corporation fka RadioShack
Oregon, WI 53575                              11110       1/4/2016 Corporation                                                       $0.00                                                                                            $0.00
Kim Kohlheim‐Harper
744 Crider Rd                                                      RS Legacy Corporation fka RadioShack
Maylene, AL 35114                             11111       1/4/2016 Corporation                                                       $0.00                                                                                            $0.00
Tullo, Nancy
36 Potter Road                                                     RS Legacy Corporation fka RadioShack
Waltham, MA 02453                             11112       1/1/2016 Corporation                                                      $31.86                                                                                           $31.86
Tri Gas & Oil Co., Inc.
3941 Federalsburg Hwy
PO Box 465                                                          RS Legacy Corporation fka RadioShack
Federalsburg, MD 21632                        11113      12/28/2015 Corporation                                                      $0.00                                                                                            $0.00
Lawrence Lucero
5238 ilea way                                                      RS Legacy Corporation fka RadioShack
Santa Fe, nm 87507                            11114       1/4/2016 Corporation                                                       $0.00                                                                                            $0.00
Mary Molina
434 West Vine St. Apt. A102                                        RS Legacy Corporation fka RadioShack
Hatfield, Pa 19440                            11115       1/4/2016 Corporation                                                       $0.00                                                                                            $0.00
Robert Hinton
6530 Rossford lane                                                 RS Legacy Corporation fka RadioShack
Durham, nc 27713                              11116       1/4/2016 Corporation                                                     $200.00                                                                                          $200.00




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                                                                                                                 Current General                                            Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Mary Molina
434 West Vine St. Apt. A102                                   RS Legacy Corporation fka RadioShack
Hatfield, Pa 19440                        11117      1/4/2016 Corporation                                                      $0.00                                                                                            $0.00
pavla pletkova
13632 flying squirrel drive                                   RS Legacy Corporation fka RadioShack
herndon, va 20171                         11118      1/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Tim Shults
1910 Isabella                                                 RS Legacy Corporation fka RadioShack
Sioux City, IA 51103                      11119      1/4/2016 Corporation                                                     $29.97                                                                                           $29.97
lina osorio
18222 stockton springs dr                                     RS Legacy Corporation fka RadioShack
spring, texas 77379                       11120      1/4/2016 Corporation                                                     $90.00                                                                                           $90.00
Michael Rubenstein
555 Eder Ave                                                  RS Legacy Corporation fka RadioShack
Wyckoff, NJ 07481                         11121      1/4/2016 Corporation                                                      $8.02                                                                                            $8.02
Sameer Chopra
321 S. San Vicente
Apt 803                                                       RS Legacy Corporation fka RadioShack
Los Angeles, CA 90048                     11122      1/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Sandra Bernal
1780 Boston Dr                                                RS Legacy Corporation fka RadioShack
Las Cruces, NM 88001                      11123      1/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Stephen Henry
1808 North Quinn Street Apartment 415                         RS Legacy Corporation fka RadioShack
Arlington, VA 22209                       11124      1/4/2016 Corporation                                                     $50.00                                                                                           $50.00
nitin Chavan
61‐25 98th st Apt 9F                                          RS Legacy Corporation fka RadioShack
Rego Park, NY 11374                       11125      1/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Steve Neider
1824 Kusaie Dr.                                               RS Legacy Corporation fka RadioShack
Jacksonville, Florida 32246               11126      1/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Albert Zeni
36 Glenwood Rd                                                RS Legacy Corporation fka RadioShack
Plainview, NY 11803                       11127      1/4/2016 Corporation                                                     $60.00                                                                                           $60.00
Michael Eisenstadt
814 Kersey Road                                               RS Legacy Corporation fka RadioShack
Silver Spring, Maryland 20902             11128      1/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael Eisenstadt
814 Kersey Road                                               RS Legacy Corporation fka RadioShack
Silver Spring, Maryland 20902             11129      1/4/2016 Corporation                                                     $50.00                                                                                           $50.00
James Holloway
124 Elmlawn Rd                                                RS Legacy Corporation fka RadioShack
Braintree, MA 02184                       11130      1/4/2016 Corporation                                                     $28.69                                                                                           $28.69
Henry Mullins
7935 Parker Road                                              RS Legacy Corporation fka RadioShack
Fairhope, AL 36532                        11131      1/4/2016 Corporation                                                     $75.00                                                                                           $75.00
Jason Wagner
1519 Spreading Oak Drive                                      RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15220                      11132      1/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Madison Allen
PO Box 315                                                    RS Legacy Corporation fka RadioShack
Jefferson, ME 07438                       11133      1/4/2016 Corporation                                                     $50.00                                                                                           $50.00



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                                                                                                                   Current General                                            Current 503(b)(9)
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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Scott MacIntyre
10 Rimmon ct.                                                  RS Legacy Corporation fka RadioShack
Merrimack, NH 03054                       11134       1/4/2016 Corporation                                                      $10.03                                                                                           $10.03
Yama Wardak
3579 RIMINI LN                                                 RS Legacy Corporation fka RadioShack
DUBLIN, CA 94568                          11135       1/4/2016 Corporation                                                      $83.66                                                                                           $83.66
Nichole Gloetzner
8401 Spain Rd NE Apt 29 A                                      RS Legacy Corporation fka RadioShack
Albuquerque, New Mexico 87111             11136       1/4/2016 Corporation                                                      $30.00                                                                                           $30.00
Marilee Westergaard
1454 NW 106th St.                                              RS Legacy Corporation fka RadioShack
Clive, IA 50325                           11137       1/4/2016 Corporation                                                       $5.82                                                                                            $5.82
Aaron Cunningham
218 Titan St                                                   RS Legacy Corporation fka RadioShack
Philadelphia, PA 19147                    11138       1/4/2016 Corporation                                                      $34.11                                                                                           $34.11
Jennifer Cos
146 Saint Regis Drive North                                    RS Legacy Corporation fka RadioShack
Rochester, NY 14618                       11139       1/4/2016 Corporation                                                      $26.99                                                                                           $26.99
Anthony Harrison
18 Somerset Rd N                                               RS Legacy Corporation fka RadioShack
Amityville, NY 11701                      11140       1/4/2016 Corporation                                                       $0.00                                                                                            $0.00
THOMAS R THOMPSON
3216 HOLLIDAY AVE                                              RS Legacy Corporation fka RadioShack
APOPKA, FLORIDA 32703‐6636                11141       1/4/2016 Corporation                                                     $100.00                                                                                          $100.00
Wilson, Wallace L.
11300 Chicamauga Tr. S.E.                                       RS Legacy Corporation fka RadioShack
Huntsville, AL 35803                      11142      12/10/2015 Corporation                                                    $207.16                                                                                          $207.16
English, Jenifer
PO Box 1387                                                    RS Legacy Corporation fka RadioShack
Mt Dora, FL 32756                         11143       1/4/2016 Corporation                                                                          $0.00                                                                         $0.00
Hanson, Sandy H
12215 Oakshade Lane                                            RS Legacy Corporation fka RadioShack
Matthews, NC 28105                        11144       1/2/2016 Corporation                                                       $0.00                                                                                            $0.00
Mamta Yerneni
20007 Sky Hollow ln                                            RS Legacy Corporation fka RadioShack
Katy, TX 77450                            11145       1/4/2016 Corporation                                                     $140.71                                                                                          $140.71
Gary Stubbings Jr
179 Marta Rd                                                   RS Legacy Corporation fka RadioShack
Rochester, NY 14612                       11146       1/4/2016 Corporation                                                      $25.00                                                                                           $25.00
Dan Johnson
2142 St. james Drive                                           RS Legacy Corporation fka RadioShack
Santa Barbara, Ca 93105                   11147       1/4/2016 Corporation                                                       $0.00                                                                                            $0.00
lizbeth hanson
2550 east valley Pkwy sp101                                    RS Legacy Corporation fka RadioShack
Escondido, ca 92027                       11148       1/4/2016 Corporation                                                       $0.00                                                                                            $0.00
Josh Homan
PO Box 1132                                                    RS Legacy Corporation fka RadioShack
Santa Cruz, CA 95061                      11149       1/4/2016 Corporation                                                      $14.60                                                                                           $14.60
Brandon Haggar
618 olivewood Dr apt 1                                         RS Legacy Corporation fka RadioShack
Merced, Ca 95348                          11150       1/4/2016 Corporation                                                      $20.00                                                                                           $20.00




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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Vang Hang
8523 Flanagan Ct                                              RS Legacy Corporation fka RadioShack
Huntersville, NC 28078                    11151      1/4/2016 Corporation                                                     $33.54                                                                                           $33.54
Vang Hang
8523 Flanagan Ct                                              RS Legacy Corporation fka RadioShack
Huntersville, NC 28078                    11152      1/4/2016 Corporation                                                     $85.57                                                                                           $85.57
Brian Case
4433 Camden RD.                                               RS Legacy Corporation fka RadioShack
Pine Bluff, AR 71603                      11153      1/4/2016 Corporation                                                     $25.00                                                                                           $25.00
Robert Spring
2112 East Pebble Beach                                        RS Legacy Corporation fka RadioShack
Tempe, AZ 85282                           11154      1/4/2016 Corporation                                                     $25.00                                                                                           $25.00
Mark Maisenbacher
977 El Camino Real #102                                       RS Legacy Corporation fka RadioShack
Burlingame, CA 94010                      11155      1/4/2016 Corporation                                                      $0.00                                                                                            $0.00
DeAnna harris
25 Murray Crossing Blvd NE                                    RS Legacy Corporation fka RadioShack
Ludowici, GA 31316                        11156      1/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Chariti Zvonec
17207 SE Auburn Black Diamond Rd.                             RS Legacy Corporation fka RadioShack
Auburn, WA 98092                          11157      1/5/2016 Corporation                                                     $50.00                                                                                           $50.00
Haijian Fang
10412 se 194th Pl                                             RS Legacy Corporation fka RadioShack
Renton, WA 98055                          11158      1/5/2016 Corporation                                                     $62.94                                                                                           $62.94
Becky Garcia
122 Schooner Dr.                                              RS Legacy Corporation fka RadioShack
Lakeway, TX 78738                         11159      1/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Shay ford
1558 Emeric avenue                                            RS Legacy Corporation fka RadioShack
Simi Valley, Ca 93065                     11160      1/5/2016 Corporation                                                     $75.00                                                                                           $75.00
Nicholas Hutchings
60 Haven Avenue Apt 25F                                       RS Legacy Corporation fka RadioShack
New York, NY 10032                        11161      1/5/2016 Corporation                                                      $7.45                                                                                            $7.45
Stephanie Vargas
35 Michael Lane                                               RS Legacy Corporation fka RadioShack
West Chester, PA 19380                    11162      1/5/2016 Corporation                                                     $25.00                                                                                           $25.00
Robert Fenn
1093 A1A Beach BLVD #337                                      RS Legacy Corporation fka RadioShack
Saint Augustine, FL 32080                 11163      1/5/2016 Corporation                                                     $50.00                                                                                           $50.00
Stephanie Vargas
35 Michael Lane                                               RS Legacy Corporation fka RadioShack
West Chester, PA 19380                    11164      1/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Lane, Stanley
5598 W. Hesse Ct.                                             RS Legacy Corporation fka RadioShack
Homosassa, FL 34448                       11165      1/5/2016 Corporation                                                     $50.00                                                                                           $50.00
Cunningham‐Huott, Carol
544 Undercliff Avenue                                         RS Legacy Corporation fka RadioShack
Edgewater, NJ 07020                       11166      1/5/2016 Corporation                                                     $14.14                                                                                           $14.14
Frasier, Michael
6162 Wynmoor Dr                                               RS Legacy Corporation fka RadioShack
Cicero, NY 13039                          11167      1/5/2016 Corporation                                                      $6.48                                                                                            $6.48




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                                                                                                                 Current General                                            Current 503(b)(9)
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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Foskey, Ruby
34519 South Haines Creek Road                                 RS Legacy Corporation fka RadioShack
Leesburg, FL 34788                        11168      1/5/2016 Corporation                                                     $19.28                                                                                           $19.28
Sweatman, Heather
639 N. Broadway #524                                          RS Legacy Corporation fka RadioShack
Los Angeles, CA 90012                     11169      1/5/2016 Corporation                                                     $40.00                                                                                           $40.00
Bilardello, Arianna
124 Bridgewood Ln                                             RS Legacy Corporation fka RadioShack
Rockton, IL 61072                         11170      1/5/2016 Corporation                                                     $52.49                                                                                           $52.49
Lin, Yeong‐Her
28 Butler St.                                                 RS Legacy Corporation fka RadioShack
Irvine, CA 92612                          11171      1/5/2016 Corporation                                                    $175.00                                                                                          $175.00
Dulemba, Stanislaw
16297 Vandelay Dr.                                            RS Legacy Corporation fka RadioShack
Macomb, MI 48044                          11172      1/5/2016 Corporation                                                     $50.00                                                                                           $50.00
Hyman, Greg
3588 NW Clubside Cir.                                         RS Legacy Corporation fka RadioShack
Boca Raton, FL 33496                      11173      1/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Ebert, Patti
3555 Becket Dr.                                               RS Legacy Corporation fka RadioShack
Green Bay, WI 54313                       11174      1/5/2016 Corporation                                                     $31.64                                                                                           $31.64
Liliana Brotea
18 Myrtle St                                                  RS Legacy Corporation fka RadioShack
Cranford, nj 07016                        11175      1/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Dulemba, Stanislaw
16297 Vandelay Dr.                                            RS Legacy Corporation fka RadioShack
Macomb, MI 48044                          11176      1/5/2016 Corporation                                                     $32.55                                                                                           $32.55
Zoeller, Ronald R.
2678 Shade Tree Lane                                          RS Legacy Corporation fka RadioShack
Green Bay, WI 54313                       11177      1/5/2016 Corporation                                                     $50.00                                                                                           $50.00
Pulliam, Sandra
6114 Lindley Woods Dr.                                        RS Legacy Corporation fka RadioShack
Greensboro, NC 27410                      11178      1/5/2016 Corporation                                                     $19.74                                                                                           $19.74
Wasiu, Akinlola
4‐3 Angela Pl                                                 RS Legacy Corporation fka RadioShack
Paterson, NJ 07502                        11179      1/5/2016 Corporation                                                     $58.61                                                                                           $58.61
Hall, David
2160 Love Oak Blvd. # 12                                      RS Legacy Corporation fka RadioShack
Yuba City, CA 95991                       11180      1/5/2016 Corporation                                                    $180.00                                                                                          $180.00
Beck, Erica
35 Joseph Street                                              RS Legacy Corporation fka RadioShack
South River, NJ 08882                     11181      1/5/2016 Corporation                                                     $90.00                                                                                           $90.00
Groves, Gary
4340 Seton St.                                                RS Legacy Corporation fka RadioShack
PITTSBURGH, PA 15227‐1246                 11182      1/5/2016 Corporation                                                     $50.00                                                                                           $50.00
Amy Metzger
95 N. Lincoln Avenue                                          RS Legacy Corporation fka RadioShack
Carpentersville, IL 60110                 11183      1/5/2016 Corporation                                                     $19.54                                                                                           $19.54
Lynn Slater
418 Posada Way                                                RS Legacy Corporation fka RadioShack
Fremont, ca 94536                         11184      1/5/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                 Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Gerhardt, Gladys
W 5234 Walker Rd                                              RS Legacy Corporation fka RadioShack
Neillsville, WI 54456                     11185      1/5/2016 Corporation                                                    $126.61                                                                                          $126.61
Julian, Bri
2816 6th Avenue Apt 510                                       RS Legacy Corporation fka RadioShack
Dodge City, KS 67801                      11186      1/5/2016 Corporation                                                     $10.00                                                                                           $10.00
Travers, Linda
3542 St Paul Blvd                                             RS Legacy Corporation fka RadioShack
Rochester, NY 14617                       11187      1/5/2016 Corporation                                                     $18.34                                                                                           $18.34
Michael Pica
3306 Wimbledon Way                                            RS Legacy Corporation fka RadioShack
Blackwood, NJ 08012                       11188      1/5/2016 Corporation                                                     $75.00                                                                                           $75.00
Burnham, Eileen
5 Sylvan St                                                   RS Legacy Corporation fka RadioShack
Gloulester, MA 01930                      11189      1/5/2016 Corporation                                                      $8.40                                                                                            $8.40
Teitler, Paul
73‐44 Austin St. Apt.2x                                       RS Legacy Corporation fka RadioShack
Forest Hills, NY 11375                    11190      1/5/2016 Corporation                                                     $60.00                                                                                           $60.00
Deanna Sigler
6513 Gilardi Road                                             RS Legacy Corporation fka RadioShack
Boonsboro, MD 21713                       11191      1/5/2016 Corporation                                                    $103.96                                                                                          $103.96
Sanquine, Ronald W.
2705 BM Montgomery St.                                        RS Legacy Corporation fka RadioShack
Birmingham, AL 35209                      11192      1/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Martin, Irvin & Laurel
700 Black Horse Rd.                                           RS Legacy Corporation fka RadioShack
Reinholds, PA 17569                       11193      1/5/2016 Corporation                                                     $50.00                                                                                           $50.00
Chen, Yong Peng
2516 Saviers RD                                               RS Legacy Corporation fka RadioShack
Oxnard, CA 93033                          11194      1/5/2016 Corporation                                                    $250.00                                                                                          $250.00
Hart, Dominic
3356 Paumanok Way                                             RS Legacy Corporation fka RadioShack
Sacramento, CA 95835                      11195      1/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Peer, Stephen
3 Jordan Ct                                                   RS Legacy Corporation fka RadioShack
Cliffonpark, NY 12065                     11196      1/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Pecoraro, Sister Christina
4421 Lower River Rd.                                          RS Legacy Corporation fka RadioShack
Stella Niagara, NY 14144                  11197      1/5/2016 Corporation                                                     $59.99                                                                                           $59.99
Robert Lewis
403 W. 43rd Street                                            RS Legacy Corporation fka RadioShack
Sand Springs, OK 74063                    11198      1/5/2016 Corporation                                                     $38.11                                                                                           $38.11
Capadona, Linda R
16340 Ironwood Dr                                             RS Legacy Corporation fka RadioShack
Tinley Pk, IL 60477                       11199      1/5/2016 Corporation                                                     $43.16                                                                                           $43.16
Diane Garnick
129 Doubling Rd                                               RS Legacy Corporation fka RadioShack
Greenwich, CT 06830                       11200      1/5/2016 Corporation                                                     $47.23                                                                                           $47.23
Karen Sessions
127 W Fairbanks Ave #482                                      RS Legacy Corporation fka RadioShack
Winter Park, FL 32789‐4326                11201      1/5/2016 Corporation                                                     $80.00                                                                                           $80.00




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
wilging, joseph
pob 25924                                                      RS Legacy Corporation fka RadioShack
sarasota, fl 34277                        11202       1/4/2016 Corporation                                                                                                              $200.00                                 $200.00
Christine Swanson
20 northrop str                                                RS Legacy Corporation fka RadioShack
Hopedale, MA 01747                        11203       1/5/2016 Corporation                                                       $0.00                                                                                            $0.00
Rioux, Jeanne
20911 Lennon St.                                               RS Legacy Corporation fka RadioShack
Harper Woods, MI 48225                    11204       1/4/2016 Corporation                                                     $116.62                                                                                          $116.62
Brandon Simpson
92 North Sugar Street                                          RS Legacy Corporation fka RadioShack
Chillicothe, OH 45601                     11205       1/5/2016 Corporation                                                      $50.00                                                                                           $50.00
Ajay Ganapabattula
46600 Pinehurst Cir                                            RS Legacy Corporation fka RadioShack
Northville, MI 48168                      11206       1/5/2016 Corporation                                                       $0.00                                                                                            $0.00
Gomez, Lucina
329 Edgar Rd                                                   RS Legacy Corporation fka RadioShack
El Paso, TX 79932                         11207       1/4/2016 Corporation                                                     $135.00                                                                                          $135.00
Alex, John
450 Old County Road                                            RS Legacy Corporation fka RadioShack
Pacifica, CA 94044                        11208       1/4/2016 Corporation                                                      $55.00                                                                                           $55.00
Smith, Michael
2151 N.E. 205 Street                                           RS Legacy Corporation fka RadioShack
Miami, FL 33179                           11209       1/4/2016 Corporation                                                                                                                                                        $0.00
Copeland, Aaron
27 Penny Ln                                                    RS Legacy Corporation fka RadioShack
Pawleys Island, SC 29585                  11210       1/1/2016 Corporation                                                      $25.00                                                                                           $25.00
Tri Gas & Oil Co., Inc.
3941 Federalsburg Hwy
PO Box 465                                                      RS Legacy Corporation fka RadioShack
Federalsburg, MD 21632                    11211      12/28/2015 Corporation                                                                                                               $0.00                                   $0.00
Snell, Brian C.
99 Walnut Street                                                RS Legacy Corporation fka RadioShack
Reading, MA 01867                         11212      12/30/2015 Corporation                                                      $0.00            $70.00                                                                         $70.00
Ries, Steve
80 Kapi Ln., 13 204                                             RS Legacy Corporation fka RadioShack
Wailuku, HI 96793                         11213      12/30/2015 Corporation                                                     $37.51                                                                                           $37.51
Phil Huxford
2355 n. springwood ct.                                         RS Legacy Corporation fka RadioShack
lafayette, colorado 80026                 11214       1/5/2016 Corporation                                                      $25.00                                                                                           $25.00
Sheila Edwards
21500 Potomac                                                  RS Legacy Corporation fka RadioShack
48076, Southfield Michigan                11215       1/5/2016 Corporation                                                       $0.00                                                                                            $0.00
Stephen Byruch
1919 Chestnut St. #1720                                        RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                    11216       1/5/2016 Corporation                                                       $0.00                                                                                            $0.00
David Vanoni
360 W La Loma Av.                                              RS Legacy Corporation fka RadioShack
Somis, CA 93066                           11217       1/5/2016 Corporation                                                       $0.00                                                                                            $0.00
Decker, Florence A.
APT 504 6 winners Circle                                        RS Legacy Corporation fka RadioShack
Colonie, NY 12205                         11218      12/30/2015 Corporation                                                     $16.20                                                                                           $16.20



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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Hopkins, Larry W
9521 Entrance Lane                                              RS Legacy Corporation fka RadioShack
Easton, MD 21601                          11219      12/30/2015 Corporation                                                     $52.99                                                                                           $52.99
Samson Morgan
16 Coolidge Street                                             RS Legacy Corporation fka RadioShack
Brookline, MA 02446`                      11220       1/5/2016 Corporation                                                      $25.00                                                                                           $25.00
Hooke, Thomas J.
188 Hidden Meadows Cir                                          RS Legacy Corporation fka RadioShack
Renfrew, PA 16053                         11221      12/30/2015 Corporation                                                     $26.74                                                                                           $26.74
Bilmin Company, Inc.
7411‐A Lindbergh Drive                                          RS Legacy Corporation fka RadioShack
Gaithersburg, MD 20878                    11222      12/30/2015 Corporation                                                                         $0.00                                 $0.00                                   $0.00
Nicolini, Jennifer
3038 Wolf Run                                                   RS Legacy Corporation fka RadioShack
Poplar Bluff, MO 63901                    11223      12/30/2015 Corporation                                                                       $25.00                                 $25.00                                  $50.00
McDonald, Linda J
3660 Co Rd 45                                                   RS Legacy Corporation fka RadioShack
Stevenson, AL 35772                       11224      12/30/2015 Corporation                                                                                                                                                       $0.00
Wong, Vincent
8410 153rd Ave Apt 3A                                           RS Legacy Corporation fka RadioShack
Howard Beach, NY 11414                    11225      12/30/2015 Corporation                                                     $25.00                                                                                           $25.00
josh Mayerfeld
37 Shonny ct                                                   RS Legacy Corporation fka RadioShack
Lakewood, NJ 08701                        11226       1/5/2016 Corporation                                                       $0.00                                                                                            $0.00
Barbara Casciano
724 Jane Drive                                                 RS Legacy Corporation fka RadioShack
Franklin Lakes, NJ 07417                  11227       1/5/2016 Corporation                                                      $64.19                                                                                           $64.19
Kelley, Keith
2938 West View St                                               RS Legacy Corporation fka RadioShack
Los Angeles, CA 90016                     11228      12/30/2015 Corporation                                                    $100.00                                                                                          $100.00
Estep, Connard
5032 Ogletown Stanton Rd                                        RS Legacy Corporation fka RadioShack
Newark, DE 19713                          11229      12/30/2015 Corporation                                                                                                                                                       $0.00
Ogden, Rick
732 Teal Place                                                  RS Legacy Corporation fka RadioShack
Edmond, OK 73003                          11230      12/30/2015 Corporation                                                     $73.28                                                                                           $73.28
David Vanoni
360 W La Loma Av.                                              RS Legacy Corporation fka RadioShack
Somis, CA 93066                           11231       1/5/2016 Corporation                                                       $0.00                                                                                            $0.00
Jason Whaling
po box 632                                                     RS Legacy Corporation fka RadioShack
Oakwood, il 61832                         11232       1/5/2016 Corporation                                                      $15.25                                                                                           $15.25
Victoria Longo
55 East 21st St Apt 1H                                         RS Legacy Corporation fka RadioShack
Brooklyn, NY 11226                        11233       1/5/2016 Corporation                                                      $50.00                                                                                           $50.00
Donnitta Donalddson
5202 EAgles Peak Way #304                                      RS Legacy Corporation fka RadioShack
Louisville, KY 40241                      11234       1/5/2016 Corporation                                                       $0.00                                                                                            $0.00
James Shand
4038 S Rolling Oaks Circle                                     RS Legacy Corporation fka RadioShack
Tulsa, OK 74107                           11235       1/5/2016 Corporation                                                       $9.90                                                                                            $9.90




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                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Pete Halberstadt
1410 Park Avenue                                               RS Legacy Corporation fka RadioShack
Alameda, CA 94501                         11236       1/5/2016 Corporation                                                     $100.00                                                                                          $100.00
Tina Hamm
821 North Mildred St #7101                                     RS Legacy Corporation fka RadioShack
Ranson, WV 25438                          11237       1/5/2016 Corporation                                                     $167.01                                                                                          $167.01
Aries, Sandi
5453 3rd ave                                                   RS Legacy Corporation fka RadioShack
Los Angeles, CA 90043                     11238       1/5/2016 Corporation                                                      $32.69                                                                                           $32.69
Davis, Mary C.
314 N. Governors Ave.                                           RS Legacy Corporation fka RadioShack
Dover, DE 19904                           11239      12/11/2015 Corporation                                                                                                                                                       $0.00
Dionisio, Marcella
21 Pinewood Drive                                               RS Legacy Corporation fka RadioShack
Medina, OH 44256                          11240      12/22/2015 Corporation                                                                                                                                                       $0.00
Bultman, Lisa T.
100 Grey Heuer                                                  RS Legacy Corporation fka RadioShack
Cory, NC 27513                            11241      12/22/2015 Corporation                                                     $50.00                                                                                           $50.00
Claim Docketed In Error                                         RS Legacy Corporation fka RadioShack
                                          11242       2/17/2016 Corporation                                                     $20.03                                                                                           $20.03
Hodges, Lara
2709 Cherry Ct.                                                 RS Legacy Corporation fka RadioShack
Richardson, TX 75082                      11243      12/22/2015 Corporation                                                     $35.00                                                                                           $35.00
Claim Docketed In Error                                         RS Legacy Corporation fka RadioShack
                                          11244       2/17/2016 Corporation                                                     $10.00                                                                                           $10.00
Maria Bush
550 N. Lincoln                                                 RS Legacy Corporation fka RadioShack
Hinsdale, IL 60521                        11245       1/5/2016 Corporation                                                       $0.00                                                                                            $0.00
Ann Honeycutt
97 Woodlore Circle                                             RS Legacy Corporation fka RadioShack
Little Rock, AR 72211                     11246       1/5/2016 Corporation                                                      $10.00                                                                                           $10.00
Alondra Vargas
614 Via Rodeo                                                  RS Legacy Corporation fka RadioShack
Fillmore, CA 93015                        11247       1/5/2016 Corporation                                                       $0.00                                                                                            $0.00
Alondra Vargas
614 Via Rodeo                                                  RS Legacy Corporation fka RadioShack
Fillmore, Ca 93015                        11248       1/5/2016 Corporation                                                      $10.00                                                                                           $10.00
Giuseppe Lamendola
164 42 86th Street                                             RS Legacy Corporation fka RadioShack
Howard Beach, NY 11414                    11249       1/5/2016 Corporation                                                      $50.00                                                                                           $50.00
Ray Sayareh
6290 North Point Way                                           RS Legacy Corporation fka RadioShack
Sacramento, CA 95831                      11250       1/5/2016 Corporation                                                      $70.00                                                                                           $70.00
Patricia Baker
9901 Millsaps Rd.                                              RS Legacy Corporation fka RadioShack
Soddy Daisy, TN 37379                     11251       1/5/2016 Corporation                                                      $66.01                                                                                           $66.01
DEREK MARSCHALL
26111 via Monterey                                             RS Legacy Corporation fka RadioShack
San Juan Capistrano, CA 92675             11252       1/5/2016 Corporation                                                       $0.00                                                                                            $0.00
Thomas Kehoe
1032 Peninsula Avenue                                          RS Legacy Corporation fka RadioShack
Tarpon Springs, Florida 34689             11253       1/5/2016 Corporation                                                      $50.00                                                                                           $50.00



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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Christopher Dabe
24 Amherst st                                                  RS Legacy Corporation fka RadioShack
Islip, NY 11751                           11254       1/5/2016 Corporation                                                      $58.65                                                                                           $58.65
Pesro Soto
1229 W Saint Anne Pl                                           RS Legacy Corporation fka RadioShack
Santa Ana, Ca 92707                       11255       1/5/2016 Corporation                                                       $0.00                                                                                            $0.00
Monica Cardenas
26251 S Vermont Ave Apt 204                                    RS Legacy Corporation fka RadioShack
Harbor City, CA 90710                     11256       1/6/2016 Corporation                                                       $0.00                                                                                            $0.00
Monica Cardenas
26251 S Vermont Ave Apt 204                                    RS Legacy Corporation fka RadioShack
Harbor City, CA 90710                     11257       1/6/2016 Corporation                                                       $0.00                                                                                            $0.00
Jackson, Lynn E.
37 Davis Hill Road                                              RS Legacy Corporation fka RadioShack
Weston, CT 06883                          11258      12/11/2015 Corporation                                                     $54.76                                                                                           $54.76
Campbell, Maureen
11705 Highland Pl                                               RS Legacy Corporation fka RadioShack
Coral Springs, FL 33071                   11259      12/11/2015 Corporation                                                     $74.19                                                                                           $74.19
Loose, Kevin
316 Forest Avenue                                               RS Legacy Corporation fka RadioShack
Plymouth, WI 53073                        11260      12/11/2015 Corporation                                                                                                                                                       $0.00
Creech, Stephanie
828 Battalion Place                                             RS Legacy Corporation fka RadioShack
Galloway, OH 43119                        11261      12/11/2015 Corporation                                                     $14.46                                                                                           $14.46
Vallano, Janine
514 Amberson Place                                              RS Legacy Corporation fka RadioShack
Greensburg, PA 15601                      11262      12/11/2015 Corporation                                                     $52.99                                                                                           $52.99
Willis , Charles L.
379 Shawnee Drive                                               RS Legacy Corporation fka RadioShack
Easton , PA 18042‐1358                    11263      12/11/2015 Corporation                                                     $20.18                                                                                           $20.18
ROSEN, NEAL
43‐10 KISSENA BLVD‐ APT 17K                                     RS Legacy Corporation fka RadioShack
FLUSHING , NY 11355                       11264      12/11/2015 Corporation                                                     $20.31                                                                                           $20.31
HANSEN, PAUL P
480 VAN RASTER DR                                               RS Legacy Corporation fka RadioShack
GREEN BAY, WI 54311                       11265      12/11/2015 Corporation                                                     $10.00                                                                                           $10.00
Bearer, Shelley
1 Silver Birch Ln.                                              RS Legacy Corporation fka RadioShack
Oil City, PA 16301                        11266      12/11/2015 Corporation                                                     $20.55                                                                                           $20.55
Johnson, Jeanee F.
101 Shadyside Drive                                             RS Legacy Corporation fka RadioShack
Aliquippa, PA 15001                       11267      12/11/2015 Corporation                                                     $50.00                                                                                           $50.00
sabin, robert
P.O. Box 3075                                                   RS Legacy Corporation fka RadioShack
Pocasset, MA 02559                        11268      12/11/2015 Corporation                                                                                                                                                       $0.00
Wagner, Pamela
39 Unger Lane                                                   RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15217                      11269      12/11/2015 Corporation                                                     $10.69                                                                                           $10.69
Rajput, Salahuddin
9 Helmstown Ct.                                                 RS Legacy Corporation fka RadioShack
Tuxedo Park, NY 10987                     11270      12/11/2015 Corporation                                                                                                                                                       $0.00




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                                                                                                                   Current General                                            Current 503(b)(9)
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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
DuByak, Deirdre
3306 E. Maritana Dr                                             RS Legacy Corporation fka RadioShack
St Pete Beach, FL 33706                   11271      12/11/2015 Corporation                                                     $25.00                                                                                           $25.00
Mayer, Donald R
2516 Mahan Denman Rd                                            RS Legacy Corporation fka RadioShack
Cortland, OH 44410                        11272      12/11/2015 Corporation                                                                                                                                                       $0.00
Smallwood, Esther
6048 Walden Pond Rd                                             RS Legacy Corporation fka RadioShack
Gainesville, GA 30506                     11273      12/11/2015 Corporation                                                     $42.79                                                                                           $42.79
Pope, Adam
1970 Adams St                                                   RS Legacy Corporation fka RadioShack
Eugene , OR 97405                         11274      12/11/2015 Corporation                                                     $23.01                                                                                           $23.01
Finos, Lucy
81 West Park Drive                                              RS Legacy Corporation fka RadioShack
Wakefield, MA 01880                       11275      12/11/2015 Corporation                                                     $18.56                                                                                           $18.56
PETRUZZELLI, JOHN P
1941 GREENLEAF STREET
BETHLEHEM, PA 18017                                             RS Legacy Corporation fka RadioShack
JPETRUZZELLI@BECAAI.COM                   11276      12/11/2015 Corporation                                                     $27.56                                                                                           $27.56
Scheidel, Elizabeth
155 BROOK ST                                                    RS Legacy Corporation fka RadioShack
BAY SHORE, NY 11706                       11277      12/11/2015 Corporation                                                     $41.09                                                                                           $41.09
CUTOLO, FRANK
140 BROOKSIDE AVENUE                                            RS Legacy Corporation fka RadioShack
NORTH BABYLON, NY 11703                   11278      12/11/2015 Corporation                                                                                                                                                       $0.00
VanSickle, Grace
115 Keystone Rd                                                 RS Legacy Corporation fka RadioShack
Lake Ariel, PA 18436                      11279      12/11/2015 Corporation                                                     $21.19                                                                                           $21.19
Falco, Theresa
14503 Reeveston Rd.                                             RS Legacy Corporation fka RadioShack
Houston, TX 77039                         11280      12/14/2015 Corporation                                                     $25.00                                                                                           $25.00
Eklund, Bonnie
4225 Isle Drive                                                 RS Legacy Corporation fka RadioShack
Carlsbad, CA 92008                        11281      12/14/2015 Corporation                                                                                                                                                       $0.00
Prewett, Shelley
474233 State Hwy 101                                            RS Legacy Corporation fka RadioShack
Muldrow, OK 74955                         11282      12/14/2015 Corporation                                                      $4.08                                                                                            $4.08
Maslanka, Arlene
907 Hillside Dr.                                                RS Legacy Corporation fka RadioShack
Atco, NJ 08004                            11283      12/14/2015 Corporation                                                     $19.66                                                                                           $19.66
Hunt, Ileen
119 Columbua St Apt 111                                         RS Legacy Corporation fka RadioShack
Hudosn, NY 12534                          11284      12/14/2015 Corporation                                                    $104.75                                                                                          $104.75
Bagg, Stephanie
89 Sunset circle                                                RS Legacy Corporation fka RadioShack
Mashpee, MA 02649                         11285      12/14/2015 Corporation                                                     $31.86                                                                                           $31.86
Konefke, Lynn M
903 E NORMAN ST.                                                RS Legacy Corporation fka RadioShack
LADY LAKE, FL 32159                       11286      12/14/2015 Corporation                                                     $50.00                                                                                           $50.00
Wong, Ricky
46‐175 Haiku Road                                               RS Legacy Corporation fka RadioShack
Kaneohe, HI 96744‐4050                    11287      12/14/2015 Corporation                                                     $25.00                                                                                           $25.00



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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Woodward, Nathan J.
530 N East St                                                   RS Legacy Corporation fka RadioShack
Fenton, MI 48430‐2724                     11288      12/14/2015 Corporation                                                      $8.15                                                                                            $8.15
Osterhoff, Ted
247 Woodridge Drive                                             RS Legacy Corporation fka RadioShack
Saunderstown, RI 02874                    11289      12/14/2015 Corporation                                                                                                                                                       $0.00
Suitnen, Wanda
2310 1st Ave North                                              RS Legacy Corporation fka RadioShack
Great Falls, MT 59401                     11290      12/14/2015 Corporation                                                     $16.01                                                                                           $16.01
Catallo‐Lemon, Isabella
56 Burlwood Drive                                               RS Legacy Corporation fka RadioShack
Rochester, NY 14612                       11291      12/14/2015 Corporation                                                     $29.82                                                                                           $29.82
Sertz, Paul
3271 N. Filbert Rd.                                             RS Legacy Corporation fka RadioShack
Exeter, CA 73221                          11292      12/14/2015 Corporation                                                     $12.13                                                                                           $12.13
Kelly, Corin
PO Box 3220                                                     RS Legacy Corporation fka RadioShack
Kailna‐Kona, HI 96745                     11293      12/14/2015 Corporation                                                                                                                                                       $0.00
Hall, Pamela
98‐410 Koouka Lp # 33K                                          RS Legacy Corporation fka RadioShack
Aiea, HI 96701                            11294      12/14/2015 Corporation                                                     $20.00                                                                                           $20.00
Gidos, Cheryl
1545 Main St                                                    RS Legacy Corporation fka RadioShack
West Leechburg, PA 15656                  11295      12/14/2015 Corporation                                                                                                                                                       $0.00
Ellis, Richard
30595 Heather Glen Drive                                        RS Legacy Corporation fka RadioShack
Salisbury, MD 21804                       11296      12/14/2015 Corporation                                                     $21.22                                                                                           $21.22
Dammers, Anne
37 Library Lane                                                 RS Legacy Corporation fka RadioShack
Bayville, NY 11709                        11297      12/14/2015 Corporation                                                     $29.32                                                                                           $29.32
Murphy, Julie
3821 Pine View Dr                                               RS Legacy Corporation fka RadioShack
Pulaski, WI 54162                         11298      12/14/2015 Corporation                                                     $10.00                                                                                           $10.00
Juhn, Norma J
189 Kaufman Rd                                                  RS Legacy Corporation fka RadioShack
Enon Vallet, PA 16120                     11299      12/14/2015 Corporation                                                    $100.00                                                                                          $100.00
Wong, Monica
2017 Iholena St. #B                                             RS Legacy Corporation fka RadioShack
honolulu, HI 96817                        11300      12/14/2015 Corporation                                                     $17.79                                                                                           $17.79
Thompson, Sascha
PO BOX 606                                                      RS Legacy Corporation fka RadioShack
Hauula , HI 96717                         11301      12/14/2015 Corporation                                                     $23.54                                                                                           $23.54
Frantz, Gary
2115 New St.                                                    RS Legacy Corporation fka RadioShack
Lebanon, PA 17046                         11302      12/14/2015 Corporation                                                     $20.00                                                                                           $20.00
Sakamoto, Joy
738 Kalaau Pl                                                   RS Legacy Corporation fka RadioShack
Honolulu, HI 96821                        11303      12/14/2015 Corporation                                                      $5.35                                                                                            $5.35
O'Hara, Jance R.
262 Percival Ave                                                RS Legacy Corporation fka RadioShack
Kensignton, CT 06037                      11304      12/14/2015 Corporation                                                     $63.59                                                                                           $63.59




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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Trump, Kris M
15000 N.E. Blue Bird Hill Ln                                    RS Legacy Corporation fka RadioShack
Dayton, OR 97114                          11305      12/16/2015 Corporation                                                     $65.35                                                                                           $65.35
Trump, Kris M
15000 NE Blue Bird Hill Ln                                      RS Legacy Corporation fka RadioShack
Dayton, OR 97114                          11306      12/16/2015 Corporation                                                     $65.38                                                                                           $65.38
CRUET, ARIANNA
206 Tetuan St. Ste 505                                          RS Legacy Corporation fka RadioShack
San Juan, PR 00901                        11307      12/16/2015 Corporation                                                      $8.35                                                                                            $8.35
Hiers, Ron
5741 Tristino Lane                                              RS Legacy Corporation fka RadioShack
Sarasota, FL 34238                        11308      12/16/2015 Corporation                                                     $54.01                                                                                           $54.01
Owens, Joseph
58 Maplewood Drive                                              RS Legacy Corporation fka RadioShack
Brewster, NY 10509                        11309      12/16/2015 Corporation                                                      $9.74                                                                                            $9.74
Quraishi, Sabrina
451 N Clinton Ave                                               RS Legacy Corporation fka RadioShack
Linderhurst, NY 11757                     11310      12/16/2015 Corporation                                                                                                                                                       $0.00
Ginsburg, Carol
11415 Rose Ave.                                                 RS Legacy Corporation fka RadioShack
Los Angeles, CA 90066                     11311      12/16/2015 Corporation                                                                                                                                                       $0.00
Eddins, C. Francis
2006 Friendly Dr # 3                                            RS Legacy Corporation fka RadioShack
Latrobe, PA 15650                         11312      12/16/2015 Corporation                                                    $100.00                                                                                          $100.00
Poras, Angela
637 Pine Ridge Drive                                            RS Legacy Corporation fka RadioShack
L.V., NV 89110                            11313      12/16/2015 Corporation                                                     $15.00                                                                                           $15.00
Chipman, Joseph
105 Wrenwood Lane                                               RS Legacy Corporation fka RadioShack
Charlotte, NC 28211                       11314      12/16/2015 Corporation                                                                                                                                                       $0.00
Gazzerro, Christian A.
103 Mountain Laurel Court                                       RS Legacy Corporation fka RadioShack
Parkesburg, PA 19365                      11315      12/16/2015 Corporation                                                     $41.76                                                                                           $41.76
SCHKADE, STEVE
4700 RIVERPLACE BLVD. # 3
AUSTIN, TX 78730‐3594                     11316      12/16/2015 RS Ig Holdings Incorporated                                                       $50.00                                                                         $50.00
Bacon, Jennifer
4115 Joe Ramsey Blvd Apt 137                                    RS Legacy Corporation fka RadioShack
Greenville, TX 75401                      11317      12/16/2015 Corporation                                                     $20.00                                                                                           $20.00
PETER MENARD AKA PIERRE M. MEWARD
14322 StirLing Drive                                            RS Legacy Corporation fka RadioShack
Lakewood Ranch, FL 34202                  11318      12/16/2015 Corporation                                                     $25.00                                                                                           $25.00
Lathbury, Sean
1913 Perimeter Park Rd                                          RS Legacy Corporation fka RadioShack
Fernandina Beach, FL 32034                11319      12/16/2015 Corporation                                                     $50.80                                                                                           $50.80
Farkash, Sarah
89‐46 Springfield Blvd.                                         RS Legacy Corporation fka RadioShack
Queens, NY 11427                          11320      12/16/2015 Corporation                                                                                                                                                       $0.00
Kyle, Anne
101 Pinehurst Drive                                             RS Legacy Corporation fka RadioShack
Wareham, MA 02571                         11321      12/16/2015 Corporation                                                     $25.00                                                                                           $25.00




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Sequerra, Gina
10888 Aderman Ave. # 184                                        RS Legacy Corporation fka RadioShack
San Diego, CA 92126                       11322      12/16/2015 Corporation                                                     $50.00                                                                                           $50.00
Jackson, Angela
2905 Ruckle Street                                              RS Legacy Corporation fka RadioShack
Indianapolis, IN 46205                    11323      12/16/2015 Corporation                                                     $17.92                                                                                           $17.92
Bell, Kay
9430 Nazen Rd                                                   RS Legacy Corporation fka RadioShack
Sherman, NY 14781                         11324      12/16/2015 Corporation                                                                                                                                                       $0.00
BALDOVIN, JOHN C
37 COLLAGE TERRACE                                              RS Legacy Corporation fka RadioShack
BEDFORD HILLS, NY 10507                   11325      12/16/2015 Corporation                                                     $14.73                                                                                           $14.73
Mcmillan, Susan
3105 Arrowsmith Rd                                              RS Legacy Corporation fka RadioShack
Wimauma, FL 33598                         11326      12/16/2015 Corporation                                                     $11.49                                                                                           $11.49
Rossi, Michael
46 Airport Road                                                 RS Legacy Corporation fka RadioShack
Concord, NH 03301                         11327      12/16/2015 Corporation                                                    $132.96                                                                                          $132.96
Aquino, Buena P
1109 Loho St                                                    RS Legacy Corporation fka RadioShack
Kailu, HI 96734                           11328      12/16/2015 Corporation                                                                                                                                                       $0.00
Riddle, Lee
Pob 190690                                                      RS Legacy Corporation fka RadioShack
Hawi, HI 96719                            11329      12/16/2015 Corporation                                                     $33.00                                                                                           $33.00
BOA 2004‐6 Steeplegate Mall LLC
270 Loudon Road, Unit 1000                                      RS Legacy Corporation fka RadioShack
Concord, NH 03301                         11330      12/16/2015 Corporation                                                    $500.00                                                                                          $500.00
Wolfe, Yvonne D.
3105 55th Court                                                 RS Legacy Corporation fka RadioShack
Kenosha, WI 53144                         11331      12/16/2015 Corporation                                                                                                                                                       $0.00
Yurick, John P.
1091 Thirza Place                                               RS Legacy Corporation fka RadioShack
Rahway, NJ 07065                          11332      12/16/2015 Corporation                                                     $50.00                                                                                           $50.00
NAGA GANGADHAR PRATTI
8540 HARVEST VIEW CT                                            RS Legacy Corporation fka RadioShack
ELLICOTT CITY, MD 21043                   11333      12/16/2015 Corporation                                                    $100.00                                                                                          $100.00
Imparato, Salvatore
1293 Mason Ave                                                  RS Legacy Corporation fka RadioShack
Staten Is, NY 10306                       11334      12/16/2015 Corporation                                                                                                                                                       $0.00
Schalles, Robert
216 Remington Ave                                               RS Legacy Corporation fka RadioShack
GALLATIN, TN 37066‐7582                   11335      12/18/2015 Corporation                                                                                                                                                       $0.00
Corcelius, Kathy
7608 Dew Wood Dr                                                RS Legacy Corporation fka RadioShack
Derwood, MD 20855                         11336      12/18/2015 Corporation                                                     $13.12                                                                                           $13.12
Mary Ann Atman60064938100888
1718 Partridge Run Road                                         RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15241                      11337      12/18/2015 Corporation                                                    $773.27                                                                                          $773.27
Pirie, Tom
1620 Starview Dr.                                               RS Legacy Corporation fka RadioShack
appleton, WI 54913                        11338      12/18/2015 Corporation                                                                                                                                                       $0.00




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Gonzalez, Joanly
Hc01box7270                                                     RS Legacy Corporation fka RadioShack
Bo. Llano Bolero 00656                    11339      12/18/2015 Corporation                                                      $9.33                                                                                            $9.33
Forrester, Michael E.
220 Austin Avenue                                               RS Legacy Corporation fka RadioShack
Shelbyville, TN 37160                     11340      12/18/2015 Corporation                                                     $50.00                                                                                           $50.00
Moreno, Adolfo S.
2002 Kennith Ave.                                               RS Legacy Corporation fka RadioShack
San Antonio, TX 78227                     11341      12/18/2015 Corporation                                                     $50.00                                                                                           $50.00
KOFFLER, NATALIE
PO BOX 1037                                                     RS Legacy Corporation fka RadioShack
ALAMEDA, CA 94501                         11342      12/18/2015 Corporation                                                                                                                                                       $0.00
BAYNES, WITT
925 POMPANO DR                                                  RS Legacy Corporation fka RadioShack
ARANSAS PASS, TX 78336                    11343      12/18/2015 Corporation                                                                                                                                                       $0.00
Bustos, Charles J.
2285 Savanna Way                                                RS Legacy Corporation fka RadioShack
Palm Springs, CA 92262                    11344      12/18/2015 Corporation                                                     $26.00                                                                                           $26.00
Rotto, Howard
95 Northgate Drive                                              RS Legacy Corporation fka RadioShack
Syosset, NY 11791                         11345      12/18/2015 Corporation                                                                                                                                                       $0.00
Hopkins, Galen R.
400 Highland Dr.                                                RS Legacy Corporation fka RadioShack
Elkton, MD 21921                          11346      12/18/2015 Corporation                                                     $25.00                                                                                           $25.00
Marcussen, Patricia
9106 N Kansas CT                                                RS Legacy Corporation fka RadioShack
Kansas City, MO 64156                     11347      12/18/2015 Corporation                                                      $7.86                                                                                            $7.86
Horn, Linda J
3379 Mill Vista Rd Unit 4303                                    RS Legacy Corporation fka RadioShack
Highlands Ranch, CO 80129                 11348      12/18/2015 Corporation                                                                                                                                                       $0.00
Randazzo, Isabella
16 Uncas Road                                                   RS Legacy Corporation fka RadioShack
Gloocaster, MA 01930                      11349      12/18/2015 Corporation                                                                                                                                                       $0.00
Csutor Jr., Steven
5 Blue Gill Lane                                                RS Legacy Corporation fka RadioShack
Westbrook, CT 06498                       11350      12/18/2015 Corporation                                                                                                                                                       $0.00
Reidelberger, Barbara
645 W. Broadway                                                 RS Legacy Corporation fka RadioShack
DuBois, IL 62831                          11351      12/18/2015 Corporation                                                     $60.00                                                                                           $60.00
Chadha, Uttamjeet S
36 Golden Hill Court                                            RS Legacy Corporation fka RadioShack
Catonsville, MD 21228                     11352      12/18/2015 Corporation                                                                                                                                                       $0.00
Huffaker, Cynthia W
51 Greenwood Shoals                                             RS Legacy Corporation fka RadioShack
Grasonsille, MD 21638                     11353      12/18/2015 Corporation                                                      $4.68                                                                                            $4.68
SURANGIWALA, ANWAAR
8120 GROSS POINT RD                                             RS Legacy Corporation fka RadioShack
MORTON GROVE, IL 60053                    11354      12/18/2015 Corporation                                                                                                                                                       $0.00
Flores, Valerie
609 Christine Dr                                                RS Legacy Corporation fka RadioShack
McHenry, IL 60057                         11355      12/18/2015 Corporation                                                      $2.76                                                                                            $2.76




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                                                                                                                   Current General                                            Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
CASE, RAMONA
18002 IRVINE BLVD # 206                                         RS Legacy Corporation fka RadioShack
TUSTIN 72780                              11356      12/18/2015 Corporation                                                     $73.41                                                                                           $73.41
Young, Christie
6561 Bradford Lane                                              RS Legacy Corporation fka RadioShack
Las Vegas, NV 89108‐4425                  11357      12/18/2015 Corporation                                                      $6.46                                                                                            $6.46
Leong, Lai
P.O. BOX 7752                                                   RS Legacy Corporation fka RadioShack
TACOMA, WA 98417                          11358      12/18/2015 Corporation                                                     $25.00                                                                                           $25.00
Eastham, Charles
167 Hackett Place                                               RS Legacy Corporation fka RadioShack
Rutherford, NJ 07070                      11359      12/18/2015 Corporation                                                     $85.00                                                                                           $85.00
Vaccaro, Lucretia
6983 Highway 412E                                               RS Legacy Corporation fka RadioShack
Slaughter, LA 70777                       11360      12/18/2015 Corporation                                                                                                                                                       $0.00
Sgroi, Betsy A
2038 FURANCE ROAD                                               RS Legacy Corporation fka RadioShack
FALLSTON, MD 21047                        11361      12/18/2015 Corporation                                                     $31.41                                                                                           $31.41
Uthmann, Kevin
3255 Firewater Lane                                             RS Legacy Corporation fka RadioShack
Wellington, CO 80549                      11362      12/18/2015 Corporation                                                     $15.00                                                                                           $15.00
Fallecker, Sue
1527 St. Rt. 130                                                RS Legacy Corporation fka RadioShack
Greensburg , PA 15601                     11363      12/22/2015 Corporation                                                     $31.77                                                                                           $31.77
Lamay‐McVay, Shandee
PO BOX 860                                                      RS Legacy Corporation fka RadioShack
Kalaheo, HI 96741                         11364      12/22/2015 Corporation                                                    $100.00                                                                                          $100.00
Morley, Rebecca
4106 Holland Ave Unit C                                         RS Legacy Corporation fka RadioShack
Dallas, TX 75219                          11365      12/22/2015 Corporation                                                     $50.00                                                                                           $50.00
Every, David
260 Ashley Dr                                                   RS Legacy Corporation fka RadioShack
Roshester, NY 14620                       11366      12/22/2015 Corporation                                                                                                                                                       $0.00
Rotband, Debbie
301 North Hawkins Ave                                           RS Legacy Corporation fka RadioShack
Akron, OH 44313                           11367      12/22/2015 Corporation                                                     $25.00                                                                                           $25.00
Scott, Glenn M.
PO BOX 1007                                                     RS Legacy Corporation fka RadioShack
Milton, NH 03851‐1007                     11368      12/22/2015 Corporation                                                     $34.99                                                                                           $34.99
Vaughn, Jackie
PO Box 219                                                      RS Legacy Corporation fka RadioShack
James City, PA 16734                      11369      12/22/2015 Corporation                                                     $60.00                                                                                           $60.00
Perry, Lynne
729 Bartletl Carry Rd                                           RS Legacy Corporation fka RadioShack
Tupper lake, NY 12986                     11370      12/22/2015 Corporation                                                     $14.21                                                                                           $14.21
Safin, Clifford D.
25 Sunset Dr                                                    RS Legacy Corporation fka RadioShack
E. Stroudsburg, PA 18301                  11371      12/22/2015 Corporation                                                     $23.00                                                                                           $23.00
Miller, Woodrow
20507 Travers Av                                                RS Legacy Corporation fka RadioShack
Chicago Heights, IL 60411‐1958            11372      12/22/2015 Corporation                                                      $5.00                                                                                            $5.00




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Currie, Patrick
214 East North St.                                              RS Legacy Corporation fka RadioShack
Albemarle, NC 28001                       11373      12/22/2015 Corporation                                                                                                                                                       $0.00
Church, Gail
2578 S Chipley Ford Rd                                          RS Legacy Corporation fka RadioShack
Statesville, NC 28625‐8711                11374      12/22/2015 Corporation                                                    $100.00                                                                                          $100.00
MacMackin, Leonard
293 Fayette St                                                  RS Legacy Corporation fka RadioShack
Quincy, MA 02170                          11375      12/22/2015 Corporation                                                     $50.00                                                                                           $50.00
Odell, Robert W.
5817 Mountain Laurel Dr.                                        RS Legacy Corporation fka RadioShack
East Syracuse, NY 13057                   11376      12/22/2015 Corporation                                                     $10.00                                                                                           $10.00
Talberg, Betty
5035 Applewood Dr                                               RS Legacy Corporation fka RadioShack
Lansing , MI 48917‐1504                   11377      12/22/2015 Corporation                                                     $21.19                                                                                           $21.19
MacDonald, Brenda
424 Brock Bridge Rd.                                            RS Legacy Corporation fka RadioShack
Laurel, MD 20724                          11378      12/22/2015 Corporation                                                      $6.48                                                                                            $6.48
Zeiner, Dale
1164 Cleveland Ave                                              RS Legacy Corporation fka RadioShack
Lincoln Park, MI 48146                    11379      12/22/2015 Corporation                                                     $74.14                                                                                           $74.14
Kevin & Janet Cooper
2005 H. 22nd St                                                 RS Legacy Corporation fka RadioShack
Springfield, IL 62702                     11380      12/22/2015 Corporation                                                     $65.09                                                                                           $65.09
Sousa, Kenneth J
2 Williams Road                                                 RS Legacy Corporation fka RadioShack
Smithfield, RI 02917                      11381      12/22/2015 Corporation                                                     $16.45                                                                                           $16.45
Norris, Allison
4519 Wilmington Pike #5                                         RS Legacy Corporation fka RadioShack
Kettering, OH 45440                       11382      12/22/2015 Corporation                                                      $9.00                                                                                            $9.00
Kubiak, Debbie
527 Elaine Drive                                                RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15236                      11383      12/22/2015 Corporation                                                      $9.32                                                                                            $9.32
Morrison, Robert
3112 S. Washington St.                                          RS Legacy Corporation fka RadioShack
Seattle, WA 98144                         11384      12/28/2015 Corporation                                                                                                                                                       $0.00
Blackburn, Walter
3783 Springhill Trail                                           RS Legacy Corporation fka RadioShack
Lincolnton, NC 28092                      11385      12/28/2015 Corporation                                                     $17.00                                                                                           $17.00
Lavalley, Bruce C.
1112 Cumberland Head Road                                       RS Legacy Corporation fka RadioShack
Plattsburgh, NY 12901                     11386      12/28/2015 Corporation                                                                                                                                                       $0.00
Mierzwa, Paul L.
90 E. Bennett St.                                               RS Legacy Corporation fka RadioShack
Kingston, PA 18704                        11387      12/28/2015 Corporation                                                     $31.79                                                                                           $31.79
Ginsberg, Barry
11 Wakefield Court                                              RS Legacy Corporation fka RadioShack
Deer Park, NY 11729                       11388      12/28/2015 Corporation                                                     $21.71                                                                                           $21.71
Riggs, John E.
24551 Dardania                                                  RS Legacy Corporation fka RadioShack
Mission Viejo, CA 92691                   11389      12/28/2015 Corporation                                                                                                                                                       $0.00




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Rubenstein, Davina
7535 S.W. Montchair Dr.                                         RS Legacy Corporation fka RadioShack
Portland, OR 97225                        11390      12/28/2015 Corporation                                                     $10.00                                                                                           $10.00
Elenberger, Scott
250 W. Huntington Drive                                         RS Legacy Corporation fka RadioShack
Arcadia , CA 91007                        11391      12/28/2015 Corporation                                                     $20.00                                                                                           $20.00
Gendron, Lucille M
7 Doreen Drive                                                  RS Legacy Corporation fka RadioShack
Pelham, NH 03076                          11392      12/28/2015 Corporation                                                                                                                                                       $0.00
Leferman, Norman B.
62 Charles Court                                                RS Legacy Corporation fka RadioShack
Southborough , MA 01772                   11393      12/28/2015 Corporation                                                     $60.00                                                                                           $60.00
Bean, Jeremy
192 Dean Creek Rd                                               RS Legacy Corporation fka RadioShack
Lockwood, NY 14859                        11394      12/28/2015 Corporation                                                     $20.00                                                                                           $20.00
Hey, Virginia I.
119 Columbia Circle                                             RS Legacy Corporation fka RadioShack
Erie, PA 16505                            11395      12/28/2015 Corporation                                                     $31.79                                                                                           $31.79
Coache, Richard J
44 Napoleon Ave                                                 RS Legacy Corporation fka RadioShack
Ludlow, MA 01056‐1335                     11396      12/28/2015 Corporation                                                     $25.00                                                                                           $25.00
Jha, Pravin K
6A Clobertin CT Apt 6                                           RS Legacy Corporation fka RadioShack
Bloomington, IL 61701‐5988                11397      12/28/2015 Corporation                                                                                                                                                       $0.00
Johnson, Audrey B.
162 Camp Road                                                   RS Legacy Corporation fka RadioShack
Deering, NH 03244                         11398      12/28/2015 Corporation                                                     $30.00                                                                                           $30.00
Misnik, Kenneth
649 N.E. Muskart Run                                            RS Legacy Corporation fka RadioShack
Port St. Lucie, FL 34983                  11399      12/28/2015 Corporation                                                                                                                                                       $0.00
Mahan, Robert E.
16241 Happy Ln                                                  RS Legacy Corporation fka RadioShack
Odessa, TX 29766                          11400      12/28/2015 Corporation                                                     $95.24                                                                                           $95.24
Swift, Tammy L.
2316 Cypress Ave                                                RS Legacy Corporation fka RadioShack
Allentown, PA 18103‐5952                  11401      12/30/2015 Corporation                                                      $7.64                                                                                            $7.64
Jazen, Leo
1190 Austin Way                                                 RS Legacy Corporation fka RadioShack
Arcata, CA 95521                          11402      12/30/2015 Corporation                                                     $20.00                                                                                           $20.00
Lester Sr., Richard M.
3031 Charlotte St.                                              RS Legacy Corporation fka RadioShack
Kansas City, MI 64109                     11403      12/30/2015 Corporation                                                     $37.92                                                                                           $37.92
Compton, Charles
384 S Pinegrove Ave                                             RS Legacy Corporation fka RadioShack
Waterford, MI 48327                       11404      12/30/2015 Corporation                                                                                                                                                       $0.00
Coughlin, Vicki
N 1668 County Rd K                                              RS Legacy Corporation fka RadioShack
Watertown, WI 53098                       11405      12/30/2015 Corporation                                                     $42.18                                                                                           $42.18
Strader, Suzanne M.
6608 NW 95th Ave.                                               RS Legacy Corporation fka RadioShack
Tamarac, FL 33321‐3532                    11406      12/30/2015 Corporation                                                     $99.00                                                                                           $99.00




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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Janzen, Leo
1190 Austin Way                                                 RS Legacy Corporation fka RadioShack
Arcata, CA 95521                          11407      12/30/2015 Corporation                                                                                                                                                       $0.00
Pitts, Elizabeth
429 Eastover Rd.                                                RS Legacy Corporation fka RadioShack
Charlotte, NC 28207                       11408      12/30/2015 Corporation                                                     $45.00                                                                                           $45.00
SHAH, SHRIPAL M
8 Wlodarczyk PL                                                 RS Legacy Corporation fka RadioShack
Parlin, NJ 08859                          11409      12/30/2015 Corporation                                                                                                                                                       $0.00
Kennedy, Margaret W.
7720 Belden St.
Apt B12                                                         RS Legacy Corporation fka RadioShack
San Diego, CA 92111                       11410      12/30/2015 Corporation                                                                                                                                                       $0.00
Russell, Dianne
1900 E. Tropicana Ave #109                                      RS Legacy Corporation fka RadioShack
Las Vegas, NV 89119                       11411      12/30/2015 Corporation                                                    $338.00                                                                                          $338.00
Singh, Gurvider
2636 Hop Ranch Rd.                                              RS Legacy Corporation fka RadioShack
Union City, CA 94587                      11412      12/30/2015 Corporation                                                     $43.69                                                                                           $43.69
Kaiser, Tim
8225 Pleasant Ave. S                                            RS Legacy Corporation fka RadioShack
Bloomington, MN 55420                     11413      12/30/2015 Corporation                                                     $28.56                                                                                           $28.56
Allada, Jaya
9100 Luna Ave                                                   RS Legacy Corporation fka RadioShack
Morton Grove, IL 60053                    11414      12/30/2015 Corporation                                                      $6.94                                                                                            $6.94
Morgan, Varchia
1811 Calypso Cove Crt                                           RS Legacy Corporation fka RadioShack
Seabrook, TX 77586                        11415      12/30/2015 Corporation                                                                                                                                                       $0.00
Alex, Christine
1300 Rive Drive #6                                              RS Legacy Corporation fka RadioShack
West Sacramento, CA 95691                 11416      12/30/2015 Corporation                                                     $65.00                                                                                           $65.00
Oddone, Vanessa
5000 Futton St. Apt 2                                           RS Legacy Corporation fka RadioShack
San Francisco, CA 94121                   11417      12/30/2015 Corporation                                                     $25.00                                                                                           $25.00
Delpiano, Pamela
160 Smithdun Lane                                               RS Legacy Corporation fka RadioShack
Atlanta, GA 30350                         11418      12/30/2015 Corporation                                                     $14.92                                                                                           $14.92
Torok, Paul
20 Hidden Cove                                                  RS Legacy Corporation fka RadioShack
Plymouth, MA 02360                        11419      12/30/2015 Corporation                                                                                                                                                       $0.00
Alexia, Kathy
1215 Milano Drive # 4                                           RS Legacy Corporation fka RadioShack
West Sacramento, CA                       11420      12/30/2015 Corporation                                                     $75.00                                                                                           $75.00
Sandra Madelans
3614 South Richfield Circle                                    RS Legacy Corporation fka RadioShack
Aurora, Colorado 80013                    11421       1/6/2016 Corporation                                                      $21.43                                                                                           $21.43
Teal Tobler
10208 Hopkins Rd                                               RS Legacy Corporation fka RadioShack
Chester, VA 23831                         11422       1/6/2016 Corporation                                                      $74.89                                                                                           $74.89
MERA, GRACIELA
1944 E Avenida del Oro                                         RS Legacy Corporation fka RadioShack
PHOENIX, AZ 85022                         11423       1/6/2016 Corporation                                                       $0.00                                                                                            $0.00



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                                                                                                                               Current General                                            Current 503(b)(9)
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            Creditor Name and Address                  Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
James Brye
16220 Maple Bluffs Court                                                    RS Legacy Corporation fka RadioShack
Suttons Bay, Mi 49682                                   11424      1/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Angelo Di Salvo
12520 Edgewater Drive, Unit 1601                                            RS Legacy Corporation fka RadioShack
Lakewood, OH 44107                                      11425      1/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Richard Horn
707 Virginia Ave. Ext.                                                      RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15215                                    11426      1/6/2016 Corporation                                                      $0.00                                                                                            $0.00
James H. Coney
6742 church street                                                          RS Legacy Corporation fka RadioShack
Jupiter, Florida 33458                                  11427      1/6/2016 Corporation                                                    $100.00                                                                                          $100.00
Brandon Simpson
92 North Sugar Street                                                       RS Legacy Corporation fka RadioShack
Chillicothe, OH 45601                                   11428      1/6/2016 Corporation                                                     $45.00                                                                                           $45.00
Michael Talbott
1604 Oak Park Dr                                                            RS Legacy Corporation fka RadioShack
Champaign, IL 61822                                     11429      1/6/2016 Corporation                                                     $16.66                                                                                           $16.66
JOSEPH GIULIETTI
9799 nw 19th st                                                             RS Legacy Corporation fka RadioShack
coral springs, fl 33071‐5814                            11430      1/6/2016 Corporation                                                     $50.00                                                                                           $50.00
Tina M. Alcaro
1157 Sherman Avenue                                                         RS Legacy Corporation fka RadioShack
Sharon, PA 16146‐3924                                   11431      1/6/2016 Corporation                                                     $53.36                                                                                           $53.36
John Marafino
48 Drake Ave                                                                RS Legacy Corporation fka RadioShack
Bellport, NY 11713                                      11432      1/6/2016 Corporation                                                     $50.00                                                                                           $50.00
SUSANA gutierrez
854 chardonnay circle                                                       RS Legacy Corporation fka RadioShack
petaluma, california 94954                              11433      1/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Bradley Martin
524 Dream St                                                                RS Legacy Corporation fka RadioShack
Anderson, IN 46013                                      11434      1/6/2016 Corporation                                                     $99.49                                                                                           $99.49
RAMON FERNANDEZ NAVARRO
50 San Jose Street, Cond. San Francisco Javier, Apt.
502                                                                         RS Legacy Corporation fka RadioShack
Guaynabo, Puerto Rico 00969                             11435      1/6/2016 Corporation                                                    $100.00                                                                                          $100.00
Stacy Romero
3008 Hazy Meadow Lane                                                       RS Legacy Corporation fka RadioShack
Las Vegas, NV 89108                                     11436      1/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Suzanne Harper
50 Savannah Drive                                                           RS Legacy Corporation fka RadioShack
Oxford, OH 45056                                        11437      1/6/2016 Corporation                                                      $3.71                                                                                            $3.71
Charles Michael Hamilton
3522 Helton Ct.                                                             RS Legacy Corporation fka RadioShack
Catlettsburg, KY. 41129, 41129 41129                    11438      1/6/2016 Corporation                                                     $20.00                                                                                           $20.00
CLINT RANDLE
13210 SOUTH WOODLAND APT 301                                                RS Legacy Corporation fka RadioShack
CLEVELAND, OHIO 44120                                   11439      1/6/2016 Corporation                                                    $300.00                                                                                          $300.00
Taylor Hukari
2295 Creighton Drive                                                        RS Legacy Corporation fka RadioShack
Golden, CO 80401                                        11440      1/6/2016 Corporation                                                     $21.66                                                                                           $21.66



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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Gary Strickland
19274 Jo Bar Drive                                             RS Legacy Corporation fka RadioShack
Tyler, TX 75703                           11441       1/6/2016 Corporation                                                       $0.00                                                                                            $0.00
Dalia
19230 Bessemer street                                          RS Legacy Corporation fka RadioShack
Tarzana, Ca 91335                         11442       1/6/2016 Corporation                                                       $0.00                                                                                            $0.00
dean van riesen
5274 stumberg lane apartment D                                 RS Legacy Corporation fka RadioShack
baton rouge, la 70816                     11443       1/6/2016 Corporation                                                       $0.00                                                                                            $0.00
Green, Lorna
7001 Bishop Drive                                              RS Legacy Corporation fka RadioShack
Capitol Heights, MD 20743                 11444       1/6/2016 Corporation                                                      $10.15                                                                                           $10.15
Zaccardo, Dominic
244 Minivale Rd.                                               RS Legacy Corporation fka RadioShack
Stamford, CT 06907‐1211                   11445       1/6/2016 Corporation                                                      $25.00                                                                                           $25.00
Sandberg, Deborah
225 Glen Road                                                  RS Legacy Corporation fka RadioShack
Woodcliff Lake, NJ 07677                  11446       1/6/2016 Corporation                                                       $0.00                                                                                            $0.00
Miclette, Gabe
437 I. St.                                                     RS Legacy Corporation fka RadioShack
Davis, CA 95616                           11447       1/4/2016 Corporation                                                      $20.00                                                                                           $20.00
Brugueras, Francisco
87 70th Street                                                  RS Legacy Corporation fka RadioShack
Brooklyn, NY 11209                        11448      12/30/2015 Corporation                                                     $87.09                                                                                           $87.09
Harris, Viola
1100 Skyland Dr 04                                              RS Legacy Corporation fka RadioShack
Cola, SC 29210                            11449      12/30/2015 Corporation                                                      $0.00                                                                                            $0.00
Cowart, Cindy
24 NE CR 234                                                    RS Legacy Corporation fka RadioShack
Gainesville, FL 32641                     11450      12/30/2015 Corporation                                                                                                                                                       $0.00
Carpenter, Phyliss
11691 Fountainhead Ct.                                          RS Legacy Corporation fka RadioShack
St. Charles, MD 20602                     11451      12/30/2015 Corporation                                                                                                                                                       $0.00
AHTREB L MC FEE
1822 EAST OUTER DRIVE                                          RS Legacy Corporation fka RadioShack
DETROIT, MICHIGAN 48234                   11452       1/6/2016 Corporation                                                       $0.00                                                                                            $0.00
Dees, Eric D.
PO Box 1042                                                     RS Legacy Corporation fka RadioShack
Milton, WA 98354‐1042                     11453      12/29/2015 Corporation                                                     $65.57                                                                                           $65.57
Sam, Christopher
487 Prospect Pl Apt. 2L                                        RS Legacy Corporation fka RadioShack
BROOKLYN, NY 11238                        11454       1/4/2016 Corporation                                                      $76.20                                                                                           $76.20
McCoskey, Nancy S.
2715 Knobview Avenue                                            RS Legacy Corporation fka RadioShack
New Albany, IN 47150                      11455      12/29/2015 Corporation                                                     $10.15                                                                                           $10.15
Spector, Janet
229 Sandtrap Ct                                                 RS Legacy Corporation fka RadioShack
Northbridge, MA 01534                     11456      12/29/2015 Corporation                                                                       $10.00                                 $10.00                                  $20.00
Doane, Deb
17819 Harney St                                                 RS Legacy Corporation fka RadioShack
Omaha , NE 68118                          11457      12/29/2015 Corporation                                                                         $0.00                                                                         $0.00




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                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
Bear Creek Ventures LLC
36 Country Lane                                                            RS Legacy Corporation fka RadioShack
Rolling Hills Estates, CA 90274                       11458      12/1/2015 Corporation                                                        $0.00                                                                                            $0.00
Jefferson, Andre J.
795 Honey Do Ct.                                                            RS Legacy Corporation fka RadioShack
Columbus, GA 31907                                    11459      12/28/2015 Corporation                                                                                                                                                        $0.00

South Florida Residential, LLC; Dadeland Interests
Corp.; Dadeland Retail Plaza LLC; et al.
Alexis S. Read, Esq.
Blaxberg, Grayson & Kukoff, P.A.
25 SE Second Ave, Suite 730                                                RS Legacy Corporation fka RadioShack
Miami, FL 33131                                       11460      12/4/2015 Corporation                                                        $0.00                                                                                            $0.00

Interactive Communications International, Inc.
c/o Bryan Bates, Esq.
Dentons US LLP
303 Peachtree St., NE #5300                                                RS Legacy Corporation fka RadioShack
Atlanta, GA 30308                                     11461      12/4/2015 Corporation                                                        $0.00                                                                                            $0.00
Chang, Susanna
3347 Emerson Street                                                         RS Legacy Corporation fka RadioShack
Palp Alto, CA 94306                                   11462      12/22/2015 Corporation                                                      $55.00                                                                                           $55.00
Hansman, Cathleen
5001 W. Florida Avenue
Space # 521                                                                 RS Legacy Corporation fka RadioShack
Hemet, CA 92545                                       11463      12/22/2015 Corporation                                                                        $66.93                                                                         $66.93
HM Mall Associates LP
2935 North Carroll Plaza                                                   RS Legacy Corporation fka RadioShack
Hampstead, MD 21074                                   11464      12/4/2015 Corporation                                                        $0.00                                                                                            $0.00
GIBLIN, JOHN
18514 HOMEWOOD AVE                                                          RS Legacy Corporation fka RadioShack
HOMEWOOD, IL 60430                                    11465      12/21/2015 Corporation                                                       $0.00                                                                                            $0.00
Miles, R Shajuna
10 creste drive
Decatur, GA 30035                                     11466      12/20/2015 ITC Services, Inc.                                                $0.00              $0.00                                                                         $0.00
Gary, Arthur
11552 Merejildo Madrid                                                      RS Legacy Corporation fka RadioShack
El Paso, TX 79934                                     11467      12/18/2015 Corporation                                                       $0.00                                                                                            $0.00
Josie Schwendiman, Sterling Management Group,
Inc.
c/o DC Law
PO Box 1265                                                                 RS Legacy Corporation fka RadioShack
Roseburg, OR 97470                                    11468      12/14/2015 Corporation                                                       $0.00                                                                                            $0.00
STATE OF LOUISIANA, LOUISIANA DEPARTMENT OF
REVENUE
PO Box 66658                                                                RS Legacy Corporation fka RadioShack
Baton Rouge, LA 70896                                 11469      12/17/2015 Corporation                                                                          $0.00             $0.00                                                       $0.00
Mills, Howard J
713 Centennial Parkway Apt 214                                              RS Legacy Corporation fka RadioShack
Raleigh, NC 27606                                     11470      12/16/2015 Corporation                                                                                                               $17.09                                  $17.09




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                                                                                                                         Current General                                            Current 503(b)(9)
                                                                                                                                               Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address          Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
DDR TARPON SQUARE LLC
Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Esq.
101 Park Avenue                                                       RS Legacy Corporation fka RadioShack
New York, NY 10178                              11471      12/16/2015 Corporation                                                $47,057.39                                                                                        $47,057.39
Clark‐Johnson, Mittie
1500 Hornell Loop Apt 2D                                              RS Legacy Corporation fka RadioShack
Brooklyn, NY 11239                              11472      12/16/2015 Corporation                                                    $113.29                                                                                          $113.29
DDRM Apple Blossom Corners LLC
c/o DDR Corp.
Attn: Renee Weiss, Assistant General Counsel
3300 Enterprise Parkway                                               RS Legacy Corporation fka RadioShack
Beachwood, OH 44122                             11473      12/16/2015 Corporation                                                $44,067.47                                                                                        $44,067.47
Hernandez, Danielle
1781 Old Summerwood Blvd                                             RS Legacy Corporation fka RadioShack
Sarasota, FL 34232                              11474       1/6/2016 Corporation                                                      $53.49                                                                                           $53.49
DDRM NORTH POINTE PLAZA LLC
Robert L. LeHane, Esq.
Counsel for DDR Corp.
kelley Drye & Warren LLP
101 Park Avenue                                                       RS Legacy Corporation fka RadioShack
New York, NY 10178                              11475      12/16/2015 Corporation                                                                                                                             $4,967.29             $4,967.29
DDRM North Pointe Plaza LLC
c/o DDR Corp.
Attn: Renee Weiss, Assistant General Counsel
3300 Enterprise Parkway                                               RS Legacy Corporation fka RadioShack
Beachwood, OH 44122                             11476      12/16/2015 Corporation                                                $45,075.22                                                                                        $45,075.22
BRE DDR BR Whittwood CA LLC
c/o DDR Corp.
Attn: Renee Weiss, Assistant General Counsel
3300 Enterprise Parkway                                               RS Legacy Corporation fka RadioShack
Beachwood, OH 44122                             11477      12/16/2015 Corporation                                                  $5,710.03                                                                                        $5,710.03
Claim Docketed In Error                                               RS Legacy Corporation fka RadioShack
                                                11478      12/16/2015 Corporation                                                                                                                                                       $0.00
DDRTC Winslow Bay Commons LLC
Robert L. LeHane, Esq.
Counsel for DDR Corp.
Kelley Drye & Warren LLP
101 Park Avenue                                                       RS Legacy Corporation fka RadioShack
New York, NY 10178                              11479      12/16/2015 Corporation                                                                                                                             $5,560.64             $5,560.64
Buffalo‐Westgate Associates, LLC (DDR CORP)
Robert L. LeHane, Esq.
Counsel for DDR Corp.
Kelley Drye & Warren LLP
101 Park Avenue                                                       RS Legacy Corporation fka RadioShack
New York, NY 10178                              11480      12/16/2015 Corporation                                                                                                                                 $0.00                 $0.00
DDRM APPLE BLOSSOM CORNERS LLC
Robert R. Lehane, Counsel for DDR Corp.
Kelley Drye & Warren LLP
101 Park Avenue                                                       RS Legacy Corporation fka RadioShack
New York, NY 10178                              11481      12/16/2015 Corporation                                                                                                                             $3,331.44             $3,331.44




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                                                                                                                             Current General                                            Current 503(b)(9)
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            Creditor Name and Address              Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Buffalo‐Westgate Associates, LLC
c/o DDR Corp.
Attn: Renee Weiss, Assistant General Counsel
3300 Enterprise Parkway                                                   RS Legacy Corporation fka RadioShack
Beachwood, OH 44122                                 11482      12/16/2015 Corporation                                                $54,268.34                                                                                        $54,268.34
Robinson, Lisa A
166 S Miller Rd                                                           RS Legacy Corporation fka RadioShack
Fairlawn, OH 44333                                  11483      12/15/2015 Corporation                                                      $0.00                                                                                            $0.00
Evans, Gail M.
16 Beverly Avenue                                                         RS Legacy Corporation fka RadioShack
Salem, NH 03079‐2558                                11484      12/15/2015 Corporation                                                                                                               $7.03                                   $7.03
Roper, Gerald G
3421 Oakridge Ln                                                          RS Legacy Corporation fka RadioShack
Saraland, AL 36571                                  11485      12/15/2015 Corporation                                                                       $40.00                                                                         $40.00
Spiegel, Theresa
361 Crane St                                                              RS Legacy Corporation fka RadioShack
Key Largo, FL 33039                                 11486      12/14/2015 Corporation                                                     $31.21                                                                                           $31.21
Reyes, Cynthia
8116 Meadowlane ln                                                        RS Legacy Corporation fka RadioShack
Charlotte, NC 28227                                 11487      12/14/2015 Corporation                                                     $10.00                                                                                           $10.00
Angelos, G. Nick
5451 Highway 162                                                          RS Legacy Corporation fka RadioShack
Hollywood , SC 29449‐5758                           11488      12/15/2015 Corporation                                                     $43.36                                                                                           $43.36
Balow, Brad E.
50 Puritan Lane                                                           RS Legacy Corporation fka RadioShack
Madison, CT 06443                                   11489      12/14/2015 Corporation                                                      $0.00                                                                                            $0.00
American Electric Power
Greg T. Holland
PO Box 2021                                                              RS Legacy Corporation fka RadioShack
Roanoke, VA 24022                                   11490      12/3/2015 Corporation                                                                                                                              $4,626.67             $4,626.67

Lubbock Central Appraisal District
Laura J. Monroe
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
PO Box 817                                                                RS Legacy Corporation fka RadioShack
Lubbock, TX 79408                                   11491      11/30/2015 Corporation                                                                                      $13,577.21                                                  $13,577.21
Lee County Tax Collector
C/o Legal Department
PO Box 850                                                                RS Legacy Corporation fka RadioShack
Fort Myers, FL 33902‐0850                           11492      12/14/2015 Corporation                                                                                       $1,498.10                                                   $1,498.10
Cochrane, John
PO Box 741                                                                RS Legacy Corporation fka RadioShack
Valle Crucis, NC 28691                              11493      12/14/2015 Corporation                                                     $32.09                                                                                           $32.09
Berson, Anthony
200 Kanoelehua Ave.                                                       RS Legacy Corporation fka RadioShack
Hilo, HI 96720                                      11494      12/12/2015 Corporation                                                    $118.00                                                                                          $118.00
Snyder, Jr., Frank K
1240 Delta Rd                                                             RS Legacy Corporation fka RadioShack
Red Lion, PA 17356‐9728                             11495      12/11/2015 Corporation                                                     $99.98                                                                                           $99.98
Anderson, Daryl
7724 arcadia trl                                                          RS Legacy Corporation fka RadioShack
Fort Worth, TX 76137                                11496      12/11/2015 Corporation                                                                                                              $20.00                                  $20.00



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                                                                                                                               Current General                                             Current 503(b)(9)
                                                                                                                                                     Current Priority    Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                Claim No.   Claim Date                     Debtor                         Unsecured Claim                                              Admin Priority
                                                                                                                                                      Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                      Amount
Travis County
c/o Kay D. Brock
PO Box 1748                                                                RS Legacy Corporation fka RadioShack
Austin, TX 78767                                      11497      12/4/2015 Corporation                                                                      $45,409.33             $0.00                                                  $45,409.33
Michael Musto
15 Paula Rd                                                                RS Legacy Corporation fka RadioShack
Brockton, MA 02302                                    11498      12/9/2015 Corporation                                                                                                                                                         $0.00
Fulton County Tax Commissioner
141 Pryor St
Suite 1113                                                                 RS Legacy Corporation fka RadioShack
Atlanta, GA 30303                                     11499      12/9/2015 Corporation                                                                           $0.00                                                                         $0.00
Fifo, Luljeta
78 Rutledge Rd                                                              RS Legacy Corporation fka RadioShack
Wethersfield, CT 06109                                11500      12/11/2015 Corporation                                                     $24.99                                                                                            $24.99
Tennessee Department of Revenue
Andrew Jackson Office Building                                             RS Legacy Corporation fka RadioShack
Nashville, TN 37242                                   11501      12/4/2015 Corporation                                                                                                                                   $0.00                 $0.00
Oracle America, Inc., including in its capacity as
successor in interest to Oracle USA,
James E. Huggett, Esq.
300 Delaware Avenue, Suite 800                                             RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                                  11502      12/7/2015 Corporation                                                 $14,539.20                                                                   $89,658.90           $104,198.10
Haywood, Mark
Adam Hiller (DE No. 4105)
Brian Arban (DE No. 4511)
1500 North French Street, 2nd Floor                                        RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                                  11503      12/7/2015 Corporation                                                                                                                             $203,105.51           $203,105.51
General Wireless Inc. and it Affiliates
c/o Standard General L.P.
Attention:Gail Steiner
767 Fifth Avenue, 12th Floor                                               RS Legacy Corporation fka RadioShack
New York, NY 10153                                    11504      12/7/2015 Corporation                                                                                                                                   $0.00                 $0.00
AEW LT BROOMFIELD TOWN CENTRE, LLC
Gellert Scali Busenkell & Brown LLC
Shannon Dougherty Humiston (No. 5740)
1201 N. Orange Street, Suite 300                                           RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                                  11505      12/7/2015 Corporation                                                                                                                                   $0.00                 $0.00
Hessert Jr, Thomas J
10 Gwen Court                                                               RS Legacy Corporation fka RadioShack
Cherry Hill, NJ 08003                                 11506      12/11/2015 Corporation                                                     $64.17                                                                                            $64.17
General Retail Holdings L.P. and its Affiliates
Joseph Mause
Chief Financial Officer
c/o Standard General L.P.
767 Fifth Avenue, 12th Floor                                               RS Legacy Corporation fka RadioShack
New York, NY 10153                                    11507      12/7/2015 Corporation                                                                                                                                   $0.00                 $0.00
Vincent Poy
409 Ulloa St                                                               RS Legacy Corporation fka RadioShack
San Francisco, CA 94127‐1230                          11508      12/6/2015 Corporation                                                      $28.00                                                                                            $28.00
Hernandez, Roberto
22939 Menlo Ave.                                                           RS Legacy Corporation fka RadioShack
Torrance , CA 90602                                   11509       1/6/2016 Corporation                                                      $77.70                                                                                            $77.70



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                                                                                                                                Current General                                            Current 503(b)(9)
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            Creditor Name and Address                 Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                    Amount                                                     Amount
Hudson, Carla M.
88 Yosemite Rd.                                                             RS Legacy Corporation fka RadioShack
San Rafael , CA 94903                                  11510       1/6/2016 Corporation                                                      $34.97                                                                                           $34.97
Deka Barre
11225 Potomac Oaks Drive                                                    RS Legacy Corporation fka RadioShack
Rockville, Maryland 20850                              11511       1/6/2016 Corporation                                                       $4.27                                                                                            $4.27
Casarez, Oscar
16828 SW Zion Ct.                                                           RS Legacy Corporation fka RadioShack
Beaverton, OR 97007                                    11512       1/5/2016 Corporation                                                      $39.99                                                                                           $39.99
George, Jeffrey
37 Lanshire Dr                                                              RS Legacy Corporation fka RadioShack
Texarkana, TX 75503                                    11513       1/5/2016 Corporation                                                      $64.94                                                                                           $64.94
Claim Docketed In Error                                                     RS Legacy Corporation fka RadioShack
                                                       11514       1/6/2016 Corporation                                                                                                                                                        $0.00
Hinman, James S.
PO BOX 67160                                                                RS Legacy Corporation fka RadioShack
Rochester, NY 14617                                    11515       1/5/2016 Corporation                                                       $0.00                                                                                            $0.00
Fish, Russell O.
1205 11th Avenue West                                                       RS Legacy Corporation fka RadioShack
Ashland, WI 54806                                      11516       1/5/2016 Corporation                                                      $35.00                                                                                           $35.00
Bower, Roger
3816 Chimney Hill Drive                                                     RS Legacy Corporation fka RadioShack
Valparaiso, IN 46383                                   11517       1/5/2016 Corporation                                                      $50.00                                                                                           $50.00
Thompson, Sascha
PO Box 606                                                                   RS Legacy Corporation fka RadioShack
Hauula, HI 96717                                       11518      12/14/2015 Corporation                                                                                                                                                       $0.00
Bear Creek Ventures LLC
36 Country Lane                                                             RS Legacy Corporation fka RadioShack
Rolling Hills Estates, CA 90274                        11519      12/1/2015 Corporation                                                       $0.00                                                                                            $0.00
Feldman, Amanda
5263 Oakwood Court                                                          RS Legacy Corporation fka RadioShack
Egg Harbor City, NJ 08215                              11520      12/3/2015 Corporation                                                      $39.00                                                                                           $39.00

General Wireless Operations Inc. and its Affiliates
Attention: Gail Steiner
General Wireless Inc.
c/o Standard General L.P.
767 Fifth Avenue, 12th Floor                                                RS Legacy Corporation fka RadioShack
New York, NY 10153                                     11521      12/4/2015 Corporation                                                                                                                                  $0.00                 $0.00
Marco Ramirez
1301 N 69 Ave                                                               RS Legacy Corporation fka RadioShack
Hollywood, FL 33024                                    11522       1/6/2016 Corporation                                                      $20.00                                                                                           $20.00
kim keaton
1725 round rock cir                                                         RS Legacy Corporation fka RadioShack
sulphur springs, tx 75482                              11523       1/6/2016 Corporation                                                      $20.00                                                                                           $20.00
Iron Mountain Information Management, LLC
Attn: Joseph Corrigan
1 Federal Street, 7th Floor                                                 RS Legacy Corporation fka RadioShack
BOSTON, MA 02110                                       11524      12/4/2015 Corporation                                                                                                                             $75,000.00            $75,000.00
Ivan Molina
4941 West Osborn Road                                                       RS Legacy Corporation fka RadioShack
Phoenix, AZ 85031                                      11525       1/6/2016 Corporation                                                      $21.65                                                                                           $21.65



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                                                                                                                         Current General                                            Current 503(b)(9)
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            Creditor Name and Address           Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
General Retail Holdings LP and its Affiliates
Joseph Mause
Chief Financial Officer
c/o Standard General LP
767 Fifth Avenue, 12th Floor                                          RS Legacy Corporation fka RadioShack
New York, NY 10153                               11526      12/4/2015 Corporation                                                                                                                                 $0.00                 $0.00
Foulkner, Sandra L.
612 Gum Bush Rd.                                                     RS Legacy Corporation fka RadioShack
Townsend, DE 19734                               11527      1/5/2016 Corporation                                                      $20.00                                                                                           $20.00
WIECK, THOMAS
1021 DURANGO DR                                                      RS Legacy Corporation fka RadioShack
GREAT FALLS , MT 59404                           11528      1/5/2016 Corporation                                                       $0.00                                                                                            $0.00
MEPT Woburn Mall LLC
William J. Hanlon, Bar No. 551878
SEYFARTH SHAW LLP
World Trade Center East
Two Seaport Lane, Suite 300                                           RS Legacy Corporation fka RadioShack
Boston, MA 02210‐2028                            11529      12/4/2015 Corporation                                                                                                                            $10,826.12            $10,826.12
Brandon Simpson
92 North Sugar Street                                                RS Legacy Corporation fka RadioShack
Chillicothe, OH 45601                            11530      1/5/2016 Corporation                                                      $45.00                                                                                           $45.00
Young, Ruth
335 W. Barnhart Rd                                                   RS Legacy Corporation fka RadioShack
Coldwater, MI 49036                              11531      1/5/2016 Corporation                                                      $31.79                                                                                           $31.79
Ryan Hamilton
19737 E Pinewood Drive                                               RS Legacy Corporation fka RadioShack
Aurora, COLORADO 80016                           11532      1/6/2016 Corporation                                                      $50.00                                                                                           $50.00
Medrano, Jacob Kirk
345 4th Ave. #204                                                    RS Legacy Corporation fka RadioShack
Venice, CA 90291                                 11533      1/4/2016 Corporation                                                                                                                $0.00                                   $0.00
Cherie Summers
19737 E Pinewood Dr                                                  RS Legacy Corporation fka RadioShack
Aurora, COLORADO 80016                           11534      1/6/2016 Corporation                                                      $50.00                                                                                           $50.00
Floyd, Joel
6805 Pineway                                                         RS Legacy Corporation fka RadioShack
University Park, MD 20782                        11535      1/5/2016 Corporation                                                       $0.00                                                                                            $0.00
Barbara J Dorsey
4293 Warner Rd                                                       RS Legacy Corporation fka RadioShack
Cleveland, OH 44105                              11536      1/6/2016 Corporation                                                       $0.00                                                                                            $0.00
Monika Brogan
PO Box 2030                                                          RS Legacy Corporation fka RadioShack
Ukiah, CA 95482                                  11537      1/6/2016 Corporation                                                      $97.30                                                                                           $97.30
antoun m tabet
409 blooming dale ct                                                 RS Legacy Corporation fka RadioShack
las vegas, nv 89144                              11538      1/6/2016 Corporation                                                       $0.00                                                                                            $0.00
Nicholas Senedzuk
78 Kuhn Drive                                                        RS Legacy Corporation fka RadioShack
Saddle Brook, NJ 07663                           11539      1/6/2016 Corporation                                                       $0.00                                                                                            $0.00
Michelle Kille
1743 Chelan Rd                                                       RS Legacy Corporation fka RadioShack
West Sacramento, CA 95691                        11540      1/6/2016 Corporation                                                   $1,749.09                                                                                        $1,749.09




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                                                                                                                             Current General                                            Current 503(b)(9)
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            Creditor Name and Address               Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Thomas Inners
711A. Washington St.                                                     RS Legacy Corporation fka RadioShack
Calistoga, CA 94515                                  11541      1/6/2016 Corporation                                                      $10.29                                                                                           $10.29
Aries, Sandi
5453 3rd ave                                                             RS Legacy Corporation fka RadioShack
Los Angeles, CA 90043                                11542      1/5/2016 Corporation                                                                          $0.00                                                                         $0.00
Gomez, Jeffrey
171 N 3375 W                                                             RS Legacy Corporation fka RadioShack
Layton, UT 84041                                     11543      1/5/2016 Corporation                                                                                            $0.00                                                       $0.00
Pecoraro, OSF, S. Christina
4421 Lower River Rd.                                                     RS Legacy Corporation fka RadioShack
Stella Niagara, NY 14144                             11544      1/4/2016 Corporation                                                      $59.99                                                                                           $59.99

FTI Consulting, Inc.
David M. Fournier (DE 2812) Evelyn J. Meltzer (DE
4581)
Michael J. Custer (DE 4843)
Hercules Plaza, Suite 5100; 1313 N. Market Street
PO Box 1709                                                               RS Legacy Corporation fka RadioShack
Wilmington, DE 19899‐1709                            11545      12/7/2015 Corporation                                                                                                                           $500,000.00           $500,000.00
Elena Shih
150 Power Street Box 1886                                                RS Legacy Corporation fka RadioShack
Providence, RI 02912                                 11546      1/6/2016 Corporation                                                       $0.00                                                                                            $0.00
Gabriele Santi
PO BOX 45                                                                RS Legacy Corporation fka RadioShack
santa ynez, CA 93460                                 11547      1/6/2016 Corporation                                                     $139.00                                                                                          $139.00
Zalevsky, Mariah
1355 E 18th Street Apt 3C                                                RS Legacy Corporation fka RadioShack
Brooklyn, NY 11230                                   11548      1/5/2016 Corporation                                                      $10.00                                                                                           $10.00
Khera, Amarjit S.
269 Cross Street                                                         RS Legacy Corporation fka RadioShack
Hanson, MA 02341                                     11549      1/5/2016 Corporation                                                      $29.98                                                                                           $29.98
Erik Suarez
PO Box 1374                                                              RS Legacy Corporation fka RadioShack
Ashland, OR 97520                                    11550      1/6/2016 Corporation                                                      $35.00                                                                                           $35.00
Gomez, Jeffrey R
171 N 3375 W                                                             RS Legacy Corporation fka RadioShack
Layton, UT 84041                                     11551      1/6/2016 Corporation                                                       $0.00                                                                                            $0.00
Claim Docketed In Error                                                  RS Legacy Corporation fka RadioShack
                                                     11552      1/6/2016 Corporation                                                                                                                                                        $0.00
Geiser, Karen
94 Townsend Av                                                           RS Legacy Corporation fka RadioShack
Norwalk, OH 44857                                    11553      1/5/2016 Corporation                                                       $0.00                                                                                            $0.00
Buxbaum, Dorothy
5072 Vt. Rt 7a                                                           RS Legacy Corporation fka RadioShack
Shaftsbury, VT 05262                                 11554      1/5/2016 Corporation                                                      $40.00                                                                                           $40.00
Ronnie Lane
8853 Camino Real                                                         RS Legacy Corporation fka RadioShack
San Gabriel, CA 91775                                11555      1/6/2016 Corporation                                                      $14.70                                                                                           $14.70
Large, Delores
2607 S. Chestnut St.                                                     RS Legacy Corporation fka RadioShack
Spokane, WA 99224                                    11556      1/5/2016 Corporation                                                      $76.08                                                                                           $76.08



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                                                                                                                 Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Boucher, Ray
56‐15th St                                                    RS Legacy Corporation fka RadioShack
00.B, ME 04064                            11557      1/5/2016 Corporation                                                     $10.00                                                                                           $10.00
Fergus, Anita
61 Bronx River road, Apt 5‐I                                  RS Legacy Corporation fka RadioShack
Younkers, NY                              11558      1/5/2016 Corporation                                                    $447.00                                                                                          $447.00
Morton, James H.
79‐7251 Kuuipo Pl.                                            RS Legacy Corporation fka RadioShack
Kealakekeia , Hi 96750                    11559      1/6/2016 Corporation                                                     $23.95                                                                                           $23.95
Alex, Jim
29 Point Reyes Way                                            RS Legacy Corporation fka RadioShack
Pautica, CA 94044                         11560      1/6/2016 Corporation                                                     $75.00                                                                                           $75.00
Eric Blough
3205 Arrowwood Lane                                           RS Legacy Corporation fka RadioShack
Boulder, CO 80303                         11561      1/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Kay Tarrant
85 Corliss Lane #9                                            RS Legacy Corporation fka RadioShack
Eugene, OR 97404                          11562      1/6/2016 Corporation                                                     $10.00                                                                                           $10.00
Hall‐Frazier, Patricia
252 Elm Ave.                                                  RS Legacy Corporation fka RadioShack
Chula Vista, CA 91910                     11563      1/5/2016 Corporation                                                     $53.97                                                                                           $53.97
James Mills
186 Old Embreeville Road                                      RS Legacy Corporation fka RadioShack
Jonesborough, TN 37659                    11564      1/6/2016 Corporation                                                     $25.00                                                                                           $25.00
Sands, Carol
32860 170th St
PO Box 12                                                     RS Legacy Corporation fka RadioShack
Huntley, MN 56047                         11565      1/5/2016 Corporation                                                     $24.25                                                                                           $24.25
Claim Docketed In Error                                       RS Legacy Corporation fka RadioShack
                                          11566      1/6/2016 Corporation                                                                                                                                                       $0.00
Claim Docketed In Error                                       RS Legacy Corporation fka RadioShack
                                          11567      1/6/2016 Corporation                                                                                                                                                       $0.00
Newsham, Peter
18540 SE Heritage Dr.                                         RS Legacy Corporation fka RadioShack
Tequesta, FL 33469                        11568      1/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                       RS Legacy Corporation fka RadioShack
                                          11569      1/6/2016 Corporation                                                                                                                                                       $0.00
Cacco, Marianne
315 Tionesta Drive                                            RS Legacy Corporation fka RadioShack
New Kensington, PA 15068                  11570      1/5/2016 Corporation                                                     $22.25                                                                                           $22.25
Sueda, Kathryn
2399 kapiolani Blvd #2803                                     RS Legacy Corporation fka RadioShack
Honolulu, , Hi 96826                      11571      1/6/2016 Corporation                                                      $5.23                                                                                            $5.23
Hazelwood, Alice
61147 N Mill Rd                                               RS Legacy Corporation fka RadioShack
Lacombe, LA 70445                         11572      1/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Adkins, Gloria J.
1148 Tonawanda St. Apt. 3                                     RS Legacy Corporation fka RadioShack
Buffalo, NY 14207‐1003                    11573      1/5/2016 Corporation                                                     $49.00                                                                                           $49.00
Murphy, Adam
100 Brookwood Rd                                              RS Legacy Corporation fka RadioShack
Wakefield, RI 02879                       11574      1/5/2016 Corporation                                                     $20.00                                                                                           $20.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Claim Docketed In Error                                       RS Legacy Corporation fka RadioShack
                                          11575      1/6/2016 Corporation                                                                                                                                                       $0.00
Benoit, Jimmy
1401 Cottage Dr.                                              RS Legacy Corporation fka RadioShack
Houma, LA 70360                           11576      1/6/2016 Corporation                                                    $130.79                                                                                          $130.79
Berris, Eric
1537 Oakdale Dr.                                              RS Legacy Corporation fka RadioShack
Baton Rouge, LA 70810                     11577      1/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Brooks, Dorothy
18855 Moenant St                                              RS Legacy Corporation fka RadioShack
Detroit, MI 48234                         11578      1/6/2016 Corporation                                                    $187.00                                                                                          $187.00
Cheng, Ying
32 Dolly Drive                                                RS Legacy Corporation fka RadioShack
Bristol, RI 02809                         11579      1/6/2016 Corporation                                                     $50.00                                                                                           $50.00
carmin wong
899 northgate drive suite 401                                 RS Legacy Corporation fka RadioShack
san rafael, ca 94903                      11580      1/6/2016 Corporation                                                    $500.00                                                                                          $500.00
Spital, Bruce
118 Kindred Place                                             RS Legacy Corporation fka RadioShack
Smithfield, VA 23430                      11581      1/6/2016 Corporation                                                     $52.49                                                                                           $52.49
Beatriz Tabares
PO Box 1473                                                   RS Legacy Corporation fka RadioShack
Wainscott, NY 11976                       11582      1/6/2016 Corporation                                                     $38.58                                                                                           $38.58
Cassius Montgomery
23551 morton                                                  RS Legacy Corporation fka RadioShack
oak park, michigan 48237                  11583      1/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Thorimbert, George
839 Allen Ave                                                 RS Legacy Corporation fka RadioShack
La Verne, CA 91750‐3202                   11584      1/6/2016 Corporation                                                     $10.00                                                                                           $10.00
Pearson, Dan
617 West Falls Rd.                                            RS Legacy Corporation fka RadioShack
West Falls, NY 14170                      11585      1/6/2016 Corporation                                                     $10.86                                                                                           $10.86
Nick Joseph LaPlaca
155 Robert Gardens North Apt 8                                RS Legacy Corporation fka RadioShack
Queensbury, Ny 12804                      11586      1/6/2016 Corporation                                                     $14.66                                                                                           $14.66
Terry Krepel
109 S. Rose Lane                                              RS Legacy Corporation fka RadioShack
Columbus, NE 68601                        11587      1/6/2016 Corporation                                                      $0.00                                                                                            $0.00
melissa Lewis
1349 Arrowhead Ave                                            RS Legacy Corporation fka RadioShack
Ventura, CA 93004                         11588      1/6/2016 Corporation                                                    $214.99                                                                                          $214.99
Alicia Plante
163 southern st apt2                                          RS Legacy Corporation fka RadioShack
Cranston, RI 02920                        11589      1/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Camille Hale
2102 Sulky Trail                                              RS Legacy Corporation fka RadioShack
Beavercreek, OH 45434                     11590      1/6/2016 Corporation                                                     $27.95                                                                                           $27.95
Larry Frost
PO Box 223390                                                 RS Legacy Corporation fka RadioShack
Princeville, HI 96722                     11591      1/7/2016 Corporation                                                     $62.48                                                                                           $62.48




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                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                     Amount
Patty Singer
19 Debbie Ln                                                      RS Legacy Corporation fka RadioShack
Eliot, ME 03903                               11592      1/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Chris Marici
1830 Thoe Hideout                                                 RS Legacy Corporation fka RadioShack
Lake Ariel, PA 18436                          11593      1/7/2016 Corporation                                                      $0.06                                                                                            $0.06
Ann Ciccarelli
80 Center Ave                                                     RS Legacy Corporation fka RadioShack
Chatham, NJ 07928                             11594      1/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Daniel A Stearns
19 Kurt Rd                                                        RS Legacy Corporation fka RadioShack
Pittsford, NY 14534                           11595      1/7/2016 Corporation                                                     $53.99                                                                                           $53.99
Thomas Weaver
3502 Plazas del Lago Dr                                           RS Legacy Corporation fka RadioShack
Edinburg, Tx 78539                            11596      1/7/2016 Corporation                                                     $10.00                                                                                           $10.00
abdessamad fadil
4119 levelside ave # 12                                           RS Legacy Corporation fka RadioShack
lakewood, ca 90712                            11597      1/7/2016 Corporation                                                     $29.99                                                                                           $29.99
Dan Pearson
617 West Falls Rd., West Falls, N.Y. 14170                        RS Legacy Corporation fka RadioShack
617 West Falls Rd., West Falls, N.Y. 14170    11598      1/7/2016 Corporation                                                     $10.86                                                                                           $10.86
Bruce Olds
17902 Canterbury Rd.                                              RS Legacy Corporation fka RadioShack
Cleveland, OH 44119                           11599      1/7/2016 Corporation                                                      $5.00                                                                                            $5.00
Shantell Harris
P O Box 794                                                       RS Legacy Corporation fka RadioShack
Harvey, La 70056                              11600      1/7/2016 Corporation                                                     $15.00                                                                                           $15.00
Taylor Wiand
1013 Dresser Drive                                                RS Legacy Corporation fka RadioShack
Anderson, IN 46011                            11601      1/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Shantell Harris
P O BOX 794                                                       RS Legacy Corporation fka RadioShack
Harvey, La 70059                              11602      1/7/2016 Corporation                                                     $15.00                                                                                           $15.00
Mariusz rogowski
13737 Windermere                                                  RS Legacy Corporation fka RadioShack
Southgate, Mi. 48195                          11603      1/7/2016 Corporation                                                     $14.41                                                                                           $14.41
karen joseph
4407 Aruba Blvd.                                                  RS Legacy Corporation fka RadioShack
Clermont, FL 34711                            11604      1/7/2016 Corporation                                                     $67.54                                                                                           $67.54
Mark V Gardella
10 Oak Hill Road                                                  RS Legacy Corporation fka RadioShack
Seymour, CT 06483                             11605      1/7/2016 Corporation                                                     $25.00                                                                                           $25.00
White, Lew
3132 White Cedar Place                                            RS Legacy Corporation fka RadioShack
Thousand Oaks, CA 91362                       11606      1/6/2016 Corporation                                                                                                               $0.00                                   $0.00
Torres, Julian
5 Calle Arimatea, Bda. San Luis                                   RS Legacy Corporation fka RadioShack
Aibonito, PR 00705                            11607      1/6/2016 Corporation                                                    $100.00                                                                                          $100.00
Fors, Dennis
3617 North Grand Ave. East, Lot #192                              RS Legacy Corporation fka RadioShack
Springfield, IL 62702                         11608      1/6/2016 Corporation                                                     $32.23                                                                                           $32.23




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                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                          Amount                                                     Amount
Swartwood, Hunter
44979 Rd 753                                                       RS Legacy Corporation fka RadioShack
Elm Creek, NE 68836                            11609      1/6/2016 Corporation                                                     $90.00                                                                                           $90.00
Meyer, Jonathan E.
5506 Capella Ln.                                                   RS Legacy Corporation fka RadioShack
Lancaster, CA 93536                            11610      1/6/2016 Corporation                                                     $20.00                                                                                           $20.00
Fish, Linda
125 11th Ave W                                                     RS Legacy Corporation fka RadioShack
Ashland, WI 54806                              11611      1/5/2016 Corporation                                                     $35.00                                                                                           $35.00
Decbove, Ralph S.
1173 Brookfield                                                    RS Legacy Corporation fka RadioShack
Memphis, TN 38119                              11612      1/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Marchant, Kimberley
2498 S. Highway 97 # 3                                             RS Legacy Corporation fka RadioShack
Rodmond, OR 97756                              11613      1/5/2016 Corporation                                                     $32.00                                                                                           $32.00
Adams, Cynthia Benson
609 S Kellogg St                                                   RS Legacy Corporation fka RadioShack
Kennewich, WA 99336                            11614      1/5/2016 Corporation                                                     $45.00                                                                                           $45.00

Jolene McFarland for Acme Machine & Welding
PO Box 1099                                                        RS Legacy Corporation fka RadioShack
Punxsutawney, PA 15767                         11615      1/5/2016 Corporation                                                                                                                                                       $0.00
Lane, Stanley
5598 W. Hesse Ct.                                                  RS Legacy Corporation fka RadioShack
Homosassa, FL 34448                            11616      1/5/2016 Corporation                                                     $50.00                                                                                           $50.00
Maldonado, Eddie
24 Gail Place                                                      RS Legacy Corporation fka RadioShack
Newburgh, NY 12550                             11617      1/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Murphy, Lucas
c/o Jacky Murphy (mother)
100 Brookwood Rd                                                   RS Legacy Corporation fka RadioShack
Wakefield , RI 02879                           11618      1/5/2016 Corporation                                                     $20.00                                                                                           $20.00
Kilmartin, Michael
43 Marilyn Ave                                                     RS Legacy Corporation fka RadioShack
Westbrook, ME 04092                            11619      1/5/2016 Corporation                                                     $24.26                                                                                           $24.26
Frank, Elisabeth C
61 Marvin Drive                                                    RS Legacy Corporation fka RadioShack
Kings Park, NY 11754                           11620      1/5/2016 Corporation                                                    $116.39                                                                                          $116.39
Jones, Bryan K.
4 Jomanda Way                                                      RS Legacy Corporation fka RadioShack
Fairport, NY 14450                             11621      1/5/2016 Corporation                                                     $23.22                                                                                           $23.22
Suzuki, David A.
PO Box 240597                                                      RS Legacy Corporation fka RadioShack
Honolulu, HI 96824‐0597                        11622      1/5/2016 Corporation                                                    $104.70                                                                                          $104.70
Larrabee, Craig
6686 Boyne City Rd                                                 RS Legacy Corporation fka RadioShack
Charlevoix, MI 49720                           11623      1/5/2016 Corporation                                                     $35.00                                                                                           $35.00
Kilmartin, Michael
43 Marilyn Ave.                                                    RS Legacy Corporation fka RadioShack
Westbrook, ME 04092                            11624      1/5/2016 Corporation                                                     $30.00                                                                                           $30.00




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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Patrick H Ryan
252 Olde Poat Road                                            RS Legacy Corporation fka RadioShack
Niceville, FL 32578                       11625      1/7/2016 Corporation                                                     $25.00                                                                                           $25.00
Wayne McCarthy
445 Spring Valley Road                                        RS Legacy Corporation fka RadioShack
Paramus, NJ 07652                         11626      1/7/2016 Corporation                                                     $25.00                                                                                           $25.00
Nathon Putallaz
1298 STAMFORD, Dusk Drive                                     RS Legacy Corporation fka RadioShack
Milliken, Co 0543                         11627      1/7/2016 Corporation                                                      $0.00                                                                                            $0.00
PAUL J. NORR
1332 CLEARVIEW DRIVE                                          RS Legacy Corporation fka RadioShack
JAMISON, PA 18929                         11628      1/7/2016 Corporation                                                     $10.00                                                                                           $10.00
Sharon L. Magro
230 Beaconview Court                                          RS Legacy Corporation fka RadioShack
Rochester, NY 14617                       11629      1/7/2016 Corporation                                                      $0.00                                                                                            $0.00
william talley
16915 Baylis                                                  RS Legacy Corporation fka RadioShack
detroit, mich 48221                       11630      1/7/2016 Corporation                                                     $10.00                                                                                           $10.00
Michelle Hinojos
14320 190th Street                                            RS Legacy Corporation fka RadioShack
Wadena, MN 56482                          11631      1/7/2016 Corporation                                                     $21.17                                                                                           $21.17
Dhiraj Murthy
8851 Baywood Drive                                            RS Legacy Corporation fka RadioShack
Huntington Beach, CA 92646                11632      1/7/2016 Corporation                                                      $0.00                                                                                            $0.00
David Fong
PO Box 4403                                                   RS Legacy Corporation fka RadioShack
Honolulu, Hawaii 96812                    11633      1/7/2016 Corporation                                                     $25.00                                                                                           $25.00
Kelly Leiker
12314 White River Dr.                                         RS Legacy Corporation fka RadioShack
Tomball, TX 77375                         11634      1/7/2016 Corporation                                                     $20.00                                                                                           $20.00
Tina Kellock
40907 N. Parker Court                                         RS Legacy Corporation fka RadioShack
Anthem, AZ 85086                          11635      1/7/2016 Corporation                                                     $25.00                                                                                           $25.00
katherine fu
173 country pkwy                                              RS Legacy Corporation fka RadioShack
williamsville, NY 14221                   11636      1/7/2016 Corporation                                                    $100.00                                                                                          $100.00
paul esman
2881 Summerdale Ave.                                          RS Legacy Corporation fka RadioShack
Kalamazoo, mi 49004                       11637      1/7/2016 Corporation                                                     $75.00                                                                                           $75.00
Tom Colon
1252 S 48th St                                                RS Legacy Corporation fka RadioShack
Baltimore, MD 21222‐1225                  11638      1/7/2016 Corporation                                                     $19.88                                                                                           $19.88
ardell Edwards
6425 Westheimer #2025                                         RS Legacy Corporation fka RadioShack
Houston, tx 77057                         11639      1/7/2016 Corporation                                                     $20.00                                                                                           $20.00
David Dalton
1612 Carolina Ridge Way                                       RS Legacy Corporation fka RadioShack
Justin, TX 76247                          11640      1/7/2016 Corporation                                                     $64.41                                                                                           $64.41
Sue Provo
7745 W County Line Rd N                                       RS Legacy Corporation fka RadioShack
West Lafayette, IN 47906                  11641      1/7/2016 Corporation                                                      $7.49                                                                                            $7.49




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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Glenn R. Burdo
14 Golden Road                                                RS Legacy Corporation fka RadioShack
West Chazy, NY 12992                      11642      1/7/2016 Corporation                                                     $32.37                                                                                           $32.37
chanel duguid
2610 15th st s #34                                            RS Legacy Corporation fka RadioShack
fargo, nd 58103                           11643      1/7/2016 Corporation                                                     $25.00                                                                                           $25.00
Breial Wilkins
4201 Milner Circle Apt 102                                    RS Legacy Corporation fka RadioShack
Lake Worth, Fl 33463                      11644      1/7/2016 Corporation                                                      $0.00                                                                                            $0.00
bobbie conder
622 truesdell ave                                             RS Legacy Corporation fka RadioShack
altamonte springs, florida 32701          11645      1/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Jovan Krkljus
29710 Del Rey Road                                            RS Legacy Corporation fka RadioShack
Temecula, CA 92591                        11646      1/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Nils Lindstrom
56 Southgate Rd                                               RS Legacy Corporation fka RadioShack
Franklin, MA 02038                        11647      1/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Ray Worcester
152 Winthrop St                                               RS Legacy Corporation fka RadioShack
Watertown, NY 13601                       11648      1/7/2016 Corporation                                                      $6.91                                                                                            $6.91
Jerome Ferrette
7101 Granby Street                                            RS Legacy Corporation fka RadioShack
Norfolk, VA 23505                         11649      1/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Thomas F. Zimmerman
10438 Johns Creek Road                                        RS Legacy Corporation fka RadioShack
Loami, IL 62661                           11650      1/8/2016 Corporation                                                      $0.00                                                                                            $0.00
John T Garcia
7546 Enfield Ave.                                             RS Legacy Corporation fka RadioShack
Reseda, CA 91335‐3233                     11651      1/8/2016 Corporation                                                    $129.06                                                                                          $129.06
Kathryn Fox
4280 Lillian Hall Ln                                          RS Legacy Corporation fka RadioShack
Orlando, FL 32812                         11652      1/8/2016 Corporation                                                    $100.00                                                                                          $100.00
Muriel Helms
424 E. Main St.                                               RS Legacy Corporation fka RadioShack
Jenks, OK 74037                           11653      1/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Shelley Liebert
13265 Evening Sunset Ln                                       RS Legacy Corporation fka RadioShack
Riverview, FL 33579                       11654      1/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Christine Tan
249 East Wildey Street                                        RS Legacy Corporation fka RadioShack
Philadelphia, PA 19125                    11655      1/8/2016 Corporation                                                     $30.00                                                                                           $30.00
kevin grossklaus
w269n2734 lelah ave                                           RS Legacy Corporation fka RadioShack
pewaukee, wi 53072                        11656      1/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Jennifer conway
118 southland ave                                             RS Legacy Corporation fka RadioShack
Lakewood, Ny 14750                        11657      1/8/2016 Corporation                                                     $64.49                                                                                           $64.49
Christina Huvane
220 East 238th Street                                         RS Legacy Corporation fka RadioShack
Bronx, NY 10470                           11658      1/8/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Carol Cole
1704 Dalewood Place                                           RS Legacy Corporation fka RadioShack
McLean, VA 22101                          11659      1/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Travis Humphrey
3401 Imperial Drive                                           RS Legacy Corporation fka RadioShack
High Point, NC 27265                      11660      1/8/2016 Corporation                                                     $10.00                                                                                           $10.00
april stewart
27418 brown                                                   RS Legacy Corporation fka RadioShack
flat rock, mi 48134                       11661      1/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Cheryl Ray
1716 Mossbrook Lane                                           RS Legacy Corporation fka RadioShack
Allen, TX 75002                           11662      1/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Shannon Honaker
7321 Marshall Lane                                            RS Legacy Corporation fka RadioShack
Radford, Va 24141                         11663      1/8/2016 Corporation                                                     $21.05                                                                                           $21.05
Harutyunyan, Gregham
625 Verdugo Ave # Q                                           RS Legacy Corporation fka RadioShack
Burbank , CA 91501                        11664      1/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Crumb, Douglas S.
230 Western Sand Pl                                           RS Legacy Corporation fka RadioShack
Loveland, CO 80537                        11665      1/8/2016 Corporation                                                     $65.00                                                                                           $65.00
Julie Nesky
2795 Commercial                                               RS Legacy Corporation fka RadioShack
Interlochen, MI 49643                     11666      1/8/2016 Corporation                                                    $100.00                                                                                          $100.00
Cameron, Jay
1140 Pigeon Rd                                                RS Legacy Corporation fka RadioShack
Bad Axe, MI 48413                         11667      1/8/2016 Corporation                                                     $10.00                                                                                           $10.00
Jonathan Crow
4173 Riverdale Rd                                             RS Legacy Corporation fka RadioShack
Riverdale, UT 84405                       11668      1/8/2016 Corporation                                                     $10.00                                                                                           $10.00
JoAnne Boston
210 Fremont Ave                                               RS Legacy Corporation fka RadioShack
Huron, OH 44839                           11669      1/8/2016 Corporation                                                     $26.27                                                                                           $26.27
Jennifer sharpe
242 Inverness ct                                              RS Legacy Corporation fka RadioShack
Alameda, Ca 94502                         11670      1/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Allen Snyder
929 Pine Creek Cir NE                                         RS Legacy Corporation fka RadioShack
Palm Bay, FL 32905                        11671      1/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Norma Hubbard
4425 North Hwy 52                                             RS Legacy Corporation fka RadioShack
St Stephen, SC 29479                      11672      1/8/2016 Corporation                                                     $50.00                                                                                           $50.00
Jazmin Devitt
1563 Winnetka Road                                            RS Legacy Corporation fka RadioShack
Glenview, IL 60025                        11673      1/8/2016 Corporation                                                     $16.45                                                                                           $16.45
Felicia Nelson
2663 39th Ave sw                                              RS Legacy Corporation fka RadioShack
Seattle, Wa 98116                         11674      1/8/2016 Corporation                                                     $13.00                                                                                           $13.00
John Zimmerer
213 W Roselawn Dr                                             RS Legacy Corporation fka RadioShack
Logansport, IN 46947                      11675      1/9/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                          Amount                                                     Amount
John Zimmerer
213 W Roselawn Dr                                                  RS Legacy Corporation fka RadioShack
Logansport, IN 46947                           11676      1/9/2016 Corporation                                                      $0.00                                                                                            $0.00
John Zimmerer
213 W Roselawn Dr                                                  RS Legacy Corporation fka RadioShack
Logansport, IN 46947                           11677      1/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Benjamin Conroy
10 Pondview Rd                                                     RS Legacy Corporation fka RadioShack
Arlington, MA 02474                            11678      1/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Jason Russo
707 Ponta Delgado Ct                                               RS Legacy Corporation fka RadioShack
El Dorado Hills, Ca 95762                      11679      1/9/2016 Corporation                                                    $100.00                                                                                          $100.00
Sandeep Kumar
417 Strafford ave,#2D                                              RS Legacy Corporation fka RadioShack
wayne, pa 19087                                11680      1/9/2016 Corporation                                                     $30.00                                                                                           $30.00
Dan Watson
dwatson425@aol.com                                                 RS Legacy Corporation fka RadioShack
46661 Desert Lily Dr., Palm Desert CA 92260    11681      1/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Carlos Sotomayor
3 Stevenson Pl                                                     RS Legacy Corporation fka RadioShack
Newport, RI 02840                              11682      1/9/2016 Corporation                                                     $14.31                                                                                           $14.31
filomena Aloe
102 Laurel Drive                                                   RS Legacy Corporation fka RadioShack
new hyde park, NY 11040                        11683      1/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Heather Winberg
249 North Avenue                                                   RS Legacy Corporation fka RadioShack
Blue Anchor, NJ 08037                          11684      1/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Nicholas Pearl
10839 S Natchez Ave                                                RS Legacy Corporation fka RadioShack
Worth, IL 60482                                11685      1/9/2016 Corporation                                                     $10.00                                                                                           $10.00
Rob Weidner
26883 W Lakeridge Drive                                            RS Legacy Corporation fka RadioShack
Lake Barrington, IL 60010                      11686      1/9/2016 Corporation                                                      $0.92                                                                                            $0.92
Scott Light
37101 27‐Mile Road                                                 RS Legacy Corporation fka RadioShack
Lenox, MI 48048                                11687      1/9/2016 Corporation                                                     $63.59                                                                                           $63.59
WILLIAM RIVERA‐VAZQUEZ
Urb Valle del Rey 4946 Peltada                                     RS Legacy Corporation fka RadioShack
Ponce,, Puerto Rico 00728‐3512                 11688      1/9/2016 Corporation                                                    $158.28                                                                                          $158.28
Charlotte M. Perolio
3650 Winder Dr.                                                    RS Legacy Corporation fka RadioShack
Holiday, FL 34691                              11689      1/9/2016 Corporation                                                     $10.00                                                                                           $10.00
Pamela Hammer
6228 Willer Dr So                                                  RS Legacy Corporation fka RadioShack
Quincy, IL 62305                               11690      1/9/2016 Corporation                                                      $0.00                                                                                            $0.00
natalia dolgovykh
4851 Las Vegas dr                                                  RS Legacy Corporation fka RadioShack
sarasota, fl 34233                             11691      1/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Dominic Cifelli
866 Paul Dr                                                        RS Legacy Corporation fka RadioShack
Toms River, NJ 08753                           11692      1/9/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Dominic Cifelli
866 Paul Dr                                                   RS Legacy Corporation fka RadioShack
Toms River, NJ 08753                      11693      1/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Dominic Cifelli
866 Paul Dr                                                   RS Legacy Corporation fka RadioShack
Toms River, NJ 08753                      11694      1/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Rhonda meabon
415 Lombardy ln.                                              RS Legacy Corporation fka RadioShack
Forrest, ar 72335                         11695      1/9/2016 Corporation                                                      $75.00                                                                                           $75.00
Maria Faber
15 Maple St                                                   RS Legacy Corporation fka RadioShack
Scarsdale, NY 10583                       11696      1/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Natasha Sanders
8828 Deep Maple Dr.                                           RS Legacy Corporation fka RadioShack
Riverview, FL 33578                       11697      1/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Marci Barnhart
56 Hunsley Hills Blvd                                         RS Legacy Corporation fka RadioShack
Canyon, TX 79015                          11698      1/9/2016 Corporation                                                      $30.00                                                                                           $30.00
Khassim Fall
9711 Drifting Oaks Ct                                          RS Legacy Corporation fka RadioShack
Houston, Texas 77095                      11699      1/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Laura Robinson
1224 Waterwitch Cove Cir                                       RS Legacy Corporation fka RadioShack
Orlando, FL 32806                         11700      1/10/2016 Corporation                                                      $5.49                                                                                            $5.49
Tara Togstad
2739 N Mildred Apt 3                                           RS Legacy Corporation fka RadioShack
Chicago, IL 60614                         11701      1/10/2016 Corporation                                                     $30.00                                                                                           $30.00
Paul Rubeo
232 Clay Rd                                                    RS Legacy Corporation fka RadioShack
Ulster Park, NY 12487                     11702      1/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Paul Rubeo
232 Clay Rd                                                    RS Legacy Corporation fka RadioShack
Ulster Park, Ny 12487                     11703      1/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Claudiu Predescu
3707 NE Grand Ave                                              RS Legacy Corporation fka RadioShack
Ryland Po, Or 97212                       11704      1/10/2016 Corporation                                                     $20.00                                                                                           $20.00
Joseph Sabella
P.O. Box 173                                                   RS Legacy Corporation fka RadioShack
Milton, NY 12547                          11705      1/10/2016 Corporation                                                     $21.61                                                                                           $21.61
Whitney
8500 Rocky Bluff Drive                                         RS Legacy Corporation fka RadioShack
Austin, Texas 78737                       11706      1/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Christina Borden
238 Louden Rd                                                  RS Legacy Corporation fka RadioShack
Saratoga Springs, NY 12866                11707      1/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Chris Herold
107 E Deer Horn Pass                                           RS Legacy Corporation fka RadioShack
Harker Heights, TX 76548                  11708      1/10/2016 Corporation                                                     $10.00                                                                                           $10.00
Elizabeth Brown
15820 Kruhm rd                                                 RS Legacy Corporation fka RadioShack
Burtonsville, md 20866                    11709      1/10/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Justin Chernow
135‐03 72 Avenue                                               RS Legacy Corporation fka RadioShack
Flushing, NY 11367                        11710      1/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Heidi Bond
6206 West 75th Place                                           RS Legacy Corporation fka RadioShack
Arvada, CO 80003                          11711      1/10/2016 Corporation                                                     $60.00                                                                                           $60.00
Travis kuhn
1844 tristram                                                  RS Legacy Corporation fka RadioShack
Lakeland, Fl 33813                        11712      1/10/2016 Corporation                                                      $7.41                                                                                            $7.41
Jasmine Dort
609 Alexander Avenue                                           RS Legacy Corporation fka RadioShack
Linden, NJ 07036                          11713      1/10/2016 Corporation                                                     $29.99                                                                                           $29.99
Jerry Kooiman
1708 Adams SE                                                  RS Legacy Corporation fka RadioShack
Grand Rapids, MI 49506                    11714      1/10/2016 Corporation                                                     $31.80                                                                                           $31.80
Felix Mendoza
2801 Utica St                                                  RS Legacy Corporation fka RadioShack
Denver, CO 80212                          11715      1/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Jerry Kooiman
1708 Adams SE                                                  RS Legacy Corporation fka RadioShack
Grand Rapids, Mi 49506                    11716      1/10/2016 Corporation                                                     $21.20                                                                                           $21.20
katherine fu
173 country pkwy                                               RS Legacy Corporation fka RadioShack
williamsville, NY 14221                   11717      1/10/2016 Corporation                                                    $100.00                                                                                          $100.00
katherine fu
173 country pkwy                                               RS Legacy Corporation fka RadioShack
williamsville, NY 14221                   11718      1/10/2016 Corporation                                                    $100.00                                                                                          $100.00
Randall Gore
3709 E. 1150 North                                             RS Legacy Corporation fka RadioShack
Alexandria, IN 46001                      11719      1/10/2016 Corporation                                                      $0.00                                                                                            $0.00
john wallace
4 janes lane                                                   RS Legacy Corporation fka RadioShack
lloyd harbor, ny 11743                    11720      1/10/2016 Corporation                                                     $86.89                                                                                           $86.89
Teresa Tancredi
4720 SW 62 Way, #303                                           RS Legacy Corporation fka RadioShack
Davie, FL 33314                           11721      1/10/2016 Corporation                                                  $4,238.00                                                                                        $4,238.00
Randy Hunt
614 30 Road                                                    RS Legacy Corporation fka RadioShack
Grand Junction, Colorado 81504            11722      1/10/2016 Corporation                                                      $5.00                                                                                            $5.00
Babak Djourabchi
447 S Drexel Avenue                                            RS Legacy Corporation fka RadioShack
Bexley, OH 43209                          11723      1/10/2016 Corporation                                                     $15.00                                                                                           $15.00
Kaitlin casper
1510 college st se apt b2                                      RS Legacy Corporation fka RadioShack
Lacey, Wa 98503                           11724      1/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Daniel Guilli
8 Indiana Ave                                                  RS Legacy Corporation fka RadioShack
Woburn, MA 01801                          11725      1/11/2016 Corporation                                                     $50.00                                                                                           $50.00
Daniel Guilli
8 Indiana Ave                                                  RS Legacy Corporation fka RadioShack
Woburn, MA 01801                          11726      1/11/2016 Corporation                                                     $50.00                                                                                           $50.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Daniel Guilli
8 Indiana Ave                                                  RS Legacy Corporation fka RadioShack
Woburn, MA 01801                          11727      1/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Daniel Guilli
8 Indian Ave                                                   RS Legacy Corporation fka RadioShack
Woburn, MA 01801                          11728      1/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Lauren Parker
3901‐A Lexington Drive                                         RS Legacy Corporation fka RadioShack
Raleigh, NC 27606                         11729      1/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Bryan Green
89 Second Avenue                                               RS Legacy Corporation fka RadioShack
Ilion, NY 13357                           11730      1/11/2016 Corporation                                                     $22.13                                                                                           $22.13
Matthew Harrison
668 Kilbourn St.                                               RS Legacy Corporation fka RadioShack
Elkhart, IN 46514                         11731      1/11/2016 Corporation                                                     $41.03                                                                                           $41.03
Mark Birns
11413 Twining Lane                                             RS Legacy Corporation fka RadioShack
Potomac, MD 20854                         11732      1/11/2016 Corporation                                                      $8.47                                                                                            $8.47
Spencer Terry
711 Cannon Rd.                                                 RS Legacy Corporation fka RadioShack
Glen Gardner, NJ 08826                    11733      1/11/2016 Corporation                                                    $100.00                                                                                          $100.00
Sridevi Ramasamy
401 NW 23rd street                                             RS Legacy Corporation fka RadioShack
Boca Raton, FL 33431                      11734      1/11/2016 Corporation                                                    $105.99                                                                                          $105.99
Ed Heath
8703 Spend A Buck Court                                        RS Legacy Corporation fka RadioShack
Indianapolis, IN 46217                    11735      1/11/2016 Corporation                                                    $100.00                                                                                          $100.00
Yenfi J. Duran
40 dartmouth ave. 2do floor                                    RS Legacy Corporation fka RadioShack
Providence, RI 02907                      11736      1/11/2016 Corporation                                                     $25.00                                                                                           $25.00
Brian Schnuckel
1600 Nelson Avenue                                             RS Legacy Corporation fka RadioShack
Manhattan Beach, CA 90266                 11737      1/11/2016 Corporation                                                      $6.51                                                                                            $6.51
Cherese Berry
3100 stirling st                                               RS Legacy Corporation fka RadioShack
phila, pa 19149                           11738      1/11/2016 Corporation                                                     $15.00                                                                                           $15.00
Hannah Hutchinson
3951 Quail Ave N                                               RS Legacy Corporation fka RadioShack
Robbinsdale, MN 55422                     11739      1/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Entergy Texas, Inc.
L‐JEF‐359
4809 Jefferson Hwy., Ste. A                                   RS Legacy Corporation fka RadioShack
New Orleans, LA 70121‐3138                11740      1/8/2016 Corporation                                                       $0.00                                                                                            $0.00
memuna diwan
6523 ESCENA BLVD., UNIT 2098                                   RS Legacy Corporation fka RadioShack
IRVING, TX 75039                          11741      1/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Klatt, Richard
5 Butrton Rd                                                  RS Legacy Corporation fka RadioShack
Thornwood, NY 10594                       11742      1/8/2016 Corporation                                                       $0.00                                                                                            $0.00
Andrew Seibert
31 Jane Street, 17C                                            RS Legacy Corporation fka RadioShack
New York, NY 10014                        11743      1/11/2016 Corporation                                                     $16.28                                                                                           $16.28



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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Joyce Hansard
6358 Fry Road                                                  RS Legacy Corporation fka RadioShack
Brook Park, OH 44142                      11744      1/11/2016 Corporation                                                     $10.00                                                                                           $10.00
DiGiacomo‐Porras, Deborah
1478 NW 113 Way                                               RS Legacy Corporation fka RadioShack
Pembroke Pines, FL 33026                  11745      1/8/2016 Corporation                                                      $19.09                                                                                           $19.09
Entergy New Orleans, Inc.
L‐JEF‐359
4809 Jefferson Hwy., Ste. A                                   RS Legacy Corporation fka RadioShack
New Orleans, LA 70121‐3138                11746      1/8/2016 Corporation                                                       $0.00                                                                                            $0.00
Castiel, Carol S
400 Massachusetts Ave NW #812                                 RS Legacy Corporation fka RadioShack
Washington, DC 20001                      11747      1/7/2016 Corporation                                                                        $23.39                                                                         $23.39
Li, Pui
325 Sharon Park Drive #113                                    RS Legacy Corporation fka RadioShack
Menlo Park, CA 94025                      11748      1/5/2016 Corporation                                                       $0.00              $0.00                                                                         $0.00
Victor Riehl
2267 Lambert Drive                                             RS Legacy Corporation fka RadioShack
Pasadena, CA 91107                        11749      1/11/2016 Corporation                                                     $87.19                                                                                           $87.19
Hannah khatib
327 santee drive                                               RS Legacy Corporation fka RadioShack
Piedmont, SC 29673                        11750      1/11/2016 Corporation                                                     $40.00                                                                                           $40.00
Esmeralda Salinas
217 S. Boyle Ave. Apt #30                                      RS Legacy Corporation fka RadioShack
Los Angeles, C.A 90033                    11751      1/11/2016 Corporation                                                     $76.00                                                                                           $76.00
David J. Raymond
9 Algonquin Lane                                               RS Legacy Corporation fka RadioShack
Nashua, NH 03063                          11752      1/11/2016 Corporation                                                     $25.00                                                                                           $25.00
Aneesa Khadim
419 North 6th Street                                           RS Legacy Corporation fka RadioShack
Newark, NJ 07107                          11753      1/11/2016 Corporation                                                     $25.00                                                                                           $25.00
Davidson, Trouble
214 B Almaville RD                                            RS Legacy Corporation fka RadioShack
Smyrna, TN 37167                          11754      1/8/2016 Corporation                                                      $50.00                                                                                           $50.00
Kahn, Laurie
16 Shore Ave                                                  RS Legacy Corporation fka RadioShack
Bayville, NY 11709                        11755      1/8/2016 Corporation                                                      $27.15                                                                                           $27.15
Koo, Kenrick
2759 Felton St.                                               RS Legacy Corporation fka RadioShack
Newbury Park, CA 91320                    11756      1/8/2016 Corporation                                                      $25.00                                                                                           $25.00
Yvette Hebert
922 Silverstone Dr                                             RS Legacy Corporation fka RadioShack
Lewisville, TX 75067                      11757      1/11/2016 Corporation                                                     $29.48                                                                                           $29.48
Robert A. Davis
1942 NE 6th Court
Apt. J 300                                                     RS Legacy Corporation fka RadioShack
Fort Lauderdale, FL 33304                 11758      1/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Yvette Hebert
922 Silverstone Dr.                                            RS Legacy Corporation fka RadioShack
Lewisville, TX 75067                      11759      1/11/2016 Corporation                                                     $18.13                                                                                           $18.13




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                                                                                                                        Current General                                            Current 503(b)(9)
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            Creditor Name and Address          Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
STITZEL, STAN
223 N. MAPLE ST.                                                    RS Legacy Corporation fka RadioShack
ITASCA, IL 60143                                11760      1/8/2016 Corporation                                                      $12.81                                                                                           $12.81
Serrano, Angel R.
841 HWY 92N                                                         RS Legacy Corporation fka RadioShack
Fayetteville, GA 30214                          11761      1/8/2016 Corporation                                                      $78.00                                                                                           $78.00
David Dempsey
446 Stockbridge Rd
Gt. Barrington, MA 01230, 446 Stockbridge Rd                         RS Legacy Corporation fka RadioShack
01230                                           11762      1/11/2016 Corporation                                                      $0.00                                                                                            $0.00
David Dempsey
446 Stockbridge Rd                                                   RS Legacy Corporation fka RadioShack
Gt.Barrington, MA 01230                         11763      1/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Natalie Wilkinson Banks
4756 S Palmyra Drive                                                 RS Legacy Corporation fka RadioShack
Spanish Fork, Utah 84660                        11764      1/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Alonzi, Chris
1426 Appaloosa Tr.                                                  RS Legacy Corporation fka RadioShack
Eagan, MN 55122                                 11765      1/8/2016 Corporation                                                      $63.74                                                                                           $63.74
Scott barber
2905 e main st                                                       RS Legacy Corporation fka RadioShack
urbana, il 61802                                11766      1/11/2016 Corporation                                                     $15.00                                                                                           $15.00
Kiev Ly
P. O. Box 927992                                                     RS Legacy Corporation fka RadioShack
San Diego, CA 92192                             11767      1/11/2016 Corporation                                                    $100.00                                                                                          $100.00
Raissa Brito
166 Nichols Ave Apt 2R                                               RS Legacy Corporation fka RadioShack
Brooklyn, NY 11208                              11768      1/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Steven Sullivan
2827 1/2 Hall Ave.                                                   RS Legacy Corporation fka RadioShack
Marinette, WI 54143                             11769      1/11/2016 Corporation                                                      $4.15                                                                                            $4.15
john holt
25801 craig st                                                       RS Legacy Corporation fka RadioShack
esparto, ca 95627                               11770      1/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Denise R. Lecy
21329 Summit Ranch Drive                                             RS Legacy Corporation fka RadioShack
Rushford, MN 55971                              11771      1/11/2016 Corporation                                                    $100.00                                                                                          $100.00
james marino
2432 lincoln blvd
suite b                                                              RS Legacy Corporation fka RadioShack
santa monica, ca 90405                          11772      1/11/2016 Corporation                                                     $33.00                                                                                           $33.00
Jean Saunders
4322 Westphalia Road                                                 RS Legacy Corporation fka RadioShack
Mattituck, New York 11952                       11773      1/11/2016 Corporation                                                     $21.71                                                                                           $21.71
Kari Nelson
16455 SW Marcile Ln                                                  RS Legacy Corporation fka RadioShack
Beaverton, OR 97007                             11774      1/11/2016 Corporation                                                     $43.47                                                                                           $43.47
Donald M Hotchkiss
404 Adams Ave
 Apt C                                                               RS Legacy Corporation fka RadioShack
Cape Canaveral, Florida 32920                   11775      1/11/2016 Corporation                                                     $25.00                                                                                           $25.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Michelle Frigon
29 Boutelle Ave                                                RS Legacy Corporation fka RadioShack
Waterville, ME 04901                      11776      1/11/2016 Corporation                                                     $25.00                                                                                           $25.00
Tim Smieja
W20033 Winnebago Road                                          RS Legacy Corporation fka RadioShack
Galesville, WI 54630                      11777      1/11/2016 Corporation                                                     $14.45                                                                                           $14.45
John Ricciardelli
60 Petroglyph Trail                                            RS Legacy Corporation fka RadioShack
Placitas, NM 87043                        11778      1/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Cheran Olaniyan
10850 Church St H206                                           RS Legacy Corporation fka RadioShack
Rancho Cucamonga, CA 91730                11779      1/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Dustin Melton
1318 zephyr ln                                                 RS Legacy Corporation fka RadioShack
round rock, tx 78664                      11780      1/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Michaela Keller
211 featherstone drive                                         RS Legacy Corporation fka RadioShack
Charlotte, Nc 28213                       11781      1/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Fields, Ed
P.O Box 590073                                                RS Legacy Corporation fka RadioShack
Bitmingtam, AL 75259                      11782      1/8/2016 Corporation                                                      $50.00                                                                                           $50.00
Katheryn Lee
8038 crystal creek road                                        RS Legacy Corporation fka RadioShack
lucerne valley, ca 92356                  11783      1/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Tanya Mathurin
P.O.Box 8535 Sunny Isles                                       RS Legacy Corporation fka RadioShack
Christiansted, VI 00823                   11784      1/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Mark Majick
3536 Greenview Way                                             RS Legacy Corporation fka RadioShack
Cincinnati, Ohio 45245                    11785      1/12/2016 Corporation                                                     $10.00                                                                                           $10.00
The Hsiao Children's Trust
Best Best & Krieger LLP
Attn: Laurie Verstegen
18101 Von Karman Ave., Suite 1000                             RS Legacy Corporation fka RadioShack
Irvine, CA 92612                          11786      1/8/2016 Corporation                                                $231,381.16                                                                                       $231,381.16
Xinyuan Dong
1903 Eastlawn Dr. Apt. B‐10                                    RS Legacy Corporation fka RadioShack
Midland, MI 48642                         11787      1/12/2016 Corporation                                                     $50.00                                                                                           $50.00
Entergy Arkansas, Inc.
L‐JEF‐359
4809 Jefferson Hwy., Ste. A                                   RS Legacy Corporation fka RadioShack
New Orleans, LA 70121‐3138                11788      1/8/2016 Corporation                                                       $0.00                                                                                            $0.00
Cristina Hernandez
609 creative Dr                                                RS Legacy Corporation fka RadioShack
Dalton, Ga 30721                          11789      1/12/2016 Corporation                                                    $100.00                                                                                          $100.00
Ramakrishna Kambhampati
1071 Southern Artery APT 506                                   RS Legacy Corporation fka RadioShack
Quincy, MA 02169                          11790      1/12/2016 Corporation                                                     $25.00                                                                                           $25.00
Brianna Wells
3430 Hermosa Ave. #1/2                                         RS Legacy Corporation fka RadioShack
Hermosa Beach, CA 90254                   11791      1/12/2016 Corporation                                                     $55.14                                                                                           $55.14




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Gordon Olson
PO Box 362                                                     RS Legacy Corporation fka RadioShack
New Market, Virginia 22844                11792      1/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Flannagan, Patricia
32 Webster St                                                 RS Legacy Corporation fka RadioShack
Gloucester, MS 09130                      11793      1/8/2016 Corporation                                                      $25.00                                                                                           $25.00
Kennedy, Naomi
1571 Andrea Street                                             RS Legacy Corporation fka RadioShack
Ypsilanti, MI 48198                       11794      1/8/2016 Corporation                                                       $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          11795      1/12/2016 Corporation                                                                                                                                                       $0.00
Zargar, Michael
2927 Elvido Dr.                                               RS Legacy Corporation fka RadioShack
Los Angeles, CA 90049                     11796      1/8/2016 Corporation                                                      $50.00                                                                                           $50.00
Ellingsworth, Thomas M.
N6790 ‐ State Hwy 42                                          RS Legacy Corporation fka RadioShack
Algoma, WI 54201                          11797      1/8/2016 Corporation                                                      $15.00                                                                                           $15.00
Jessica Gallman
7724 Erie Road                                                 RS Legacy Corporation fka RadioShack
Derby, NY 14047                           11798      1/12/2016 Corporation                                                     $14.13                                                                                           $14.13
Dayan, Eva
214 So. Orange Dr                                             RS Legacy Corporation fka RadioShack
Los Angeles, CA 90036                     11799      1/7/2016 Corporation                                                                          $0.00                                                                         $0.00
Sledd, David M
5335 Roswell Ave                                              RS Legacy Corporation fka RadioShack
Kansas City, KS 66104                     11800      1/8/2016 Corporation                                                       $1.25                                                                                            $1.25
Podosek, Eddie
279 Wilmot Road                                                RS Legacy Corporation fka RadioShack
Rochester , NY 14618                      11801      1/8/2016 Corporation                                                       $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          11802      1/12/2016 Corporation                                                                                                                                                       $0.00
Charles Fortune
3212 Druid Hills Reserve Dr NE                                 RS Legacy Corporation fka RadioShack
Atlanta, Ga 30329                         11803      1/12/2016 Corporation                                                     $32.61                                                                                           $32.61
Amelia Wiggins
1100 Wilson Road                                               RS Legacy Corporation fka RadioShack
Wilmington, DE 19803                      11804      1/12/2016 Corporation                                                    $100.00                                                                                          $100.00
Landholm, Dawn
118 e 17th                                                    RS Legacy Corporation fka RadioShack
Fremont, NE 68025                         11805      1/8/2016 Corporation                                                      $53.49                                                                                           $53.49
Cheryl Miller
608 3rd Street                                                 RS Legacy Corporation fka RadioShack
Wellman, Iowa 52356                       11806      1/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Ryan Abel
12106 Crescent Run Ct.                                         RS Legacy Corporation fka RadioShack
Charlotte, nc 28277                       11807      1/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Philip Garcia
3238 E. Ashurst Drive                                          RS Legacy Corporation fka RadioShack
Phoenix, AZ 85048                         11808      1/12/2016 Corporation                                                     $25.00                                                                                           $25.00
KELLY GAITAN
306 LAKE VICTORIA CIRCLE                                       RS Legacy Corporation fka RadioShack
MELBOURNE, FL 32940                       11809      1/12/2016 Corporation                                                      $0.00                                                                                            $0.00



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                                                                                                                    Current General                                            Current 503(b)(9)
                                                                                                                                          Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address      Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
Pyrlik, Angela
47 Rahkola Rd.                                                  RS Legacy Corporation fka RadioShack
Esko, MN 55733                              11810      1/8/2016 Corporation                                                      $30.00                                                                                           $30.00
Entergy Louisiana, LLC
L‐JEF‐359
4809 Jefferson Hwy., Ste. A                                     RS Legacy Corporation fka RadioShack
New Orleans, LA 70121‐3138                  11811      1/8/2016 Corporation                                                       $0.00                                                                                            $0.00
Entergy Mississippi, Inc.
L‐JEF‐359
4809 Jefferson Hwy., Ste. A                                     RS Legacy Corporation fka RadioShack
New Orleans, LA 70121‐3138                  11812      1/8/2016 Corporation                                                       $0.00                                                                                            $0.00
Herbert Thomas
Post Office Box 486                                              RS Legacy Corporation fka RadioShack
Friars Point, MS 38631                      11813      1/12/2016 Corporation                                                      $2.56                                                                                            $2.56
Sabrina Parker
27 Oak Leaf Lane                                                 RS Legacy Corporation fka RadioShack
Toms River, NJ 08755                        11814      1/12/2016 Corporation                                                     $20.00                                                                                           $20.00
Barry LeMond
4641 193rd PL SE                                                 RS Legacy Corporation fka RadioShack
Issaquah, wa 98027                          11815      1/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Barry LeMond
4641 193rd PL Se                                                 RS Legacy Corporation fka RadioShack
Issaquah, wa 98027                          11816      1/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                          RS Legacy Corporation fka RadioShack
                                            11817      1/8/2016 Corporation                                                                                                                                                        $0.00
Assise, Linda
29W530 Sunset Ridge Dr                                          RS Legacy Corporation fka RadioShack
Bartlett , IL 60103                         11818      1/8/2016 Corporation                                                      $12.83                                                                                           $12.83
Heather Ledford
1215 East Vista Del Cerro Apt 1001 South                         RS Legacy Corporation fka RadioShack
Tempe, AZ 85281                             11819      1/12/2016 Corporation                                                     $64.79                                                                                           $64.79
Meyers, Robert
9717 Matzon RD                                                   RS Legacy Corporation fka RadioShack
Middle River, MD 21220                      11820      1/12/2016 Corporation                                                     $95.39                                                                                           $95.39
Claim Docketed In Error                                          RS Legacy Corporation fka RadioShack
                                            11821      1/12/2016 Corporation                                                                                                                                                       $0.00
Claim Docketed In Error                                          RS Legacy Corporation fka RadioShack
                                            11822      1/12/2016 Corporation                                                                                                                                                       $0.00
Murray, Victoria
141 Winter Street                                                RS Legacy Corporation fka RadioShack
Bridgewater, MA 02324                       11823      1/12/2016 Corporation                                                     $24.85                                                                                           $24.85
Roseann Jones
14675 Via Azul                                                   RS Legacy Corporation fka RadioShack
San Diego, CA 92127                         11824      1/12/2016 Corporation                                                    $137.72                                                                                          $137.72
Turner, Betty L.
PO Box 300121                                                    RS Legacy Corporation fka RadioShack
Midwest City, OK 73140                      11825      1/12/2016 Corporation                                                     $12.88                                                                                           $12.88
Frames, Donna
2166 MT. Moriah Rd.                                              RS Legacy Corporation fka RadioShack
Delta, AL 36258                             11826      1/12/2016 Corporation                                                     $25.00                                                                                           $25.00
Claim Docketed In Error                                          RS Legacy Corporation fka RadioShack
                                            11827      1/12/2016 Corporation                                                                                                                                                       $0.00



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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Alonzo Skerrett
2013 Abbey Trace Drive                                         RS Legacy Corporation fka RadioShack
Dover, FL 33527                           11828      1/12/2016 Corporation                                                     $50.00                                                                                           $50.00
Campbell, Marcy L.
2121 Toftrees Dr.                                              RS Legacy Corporation fka RadioShack
Bridgeville, PA 15017                     11829      1/12/2016 Corporation                                                     $31.79                                                                                           $31.79
Jenna Morin
112 Zanettiville Loop                                          RS Legacy Corporation fka RadioShack
Wallace, Idaho 83873                      11830      1/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Balakrishna Kodali
4388 NW Chanticleer Dr Apt Q6                                  RS Legacy Corporation fka RadioShack
Portland, OR 97229                        11831      1/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Vannello, Susan L.
13820 Lodge dr                                                 RS Legacy Corporation fka RadioShack
N. Royalton, oh                           11832      1/12/2016 Corporation                                                     $50.00                                                                                           $50.00
Burwell, Lee
PO Box 14                                                      RS Legacy Corporation fka RadioShack
Woods hole, MA 02543                      11833      1/12/2016 Corporation                                                     $83.99                                                                                           $83.99
Unti, Darnece
N4992 CR577                                                    RS Legacy Corporation fka RadioShack
Wallace, MI 49893                         11834      1/12/2016 Corporation                                                     $74.19                                                                                           $74.19
Raghu Kona
1725 NW 173rd Ave Apt 808                                      RS Legacy Corporation fka RadioShack
Beaverton, 97006 7373                     11835      1/12/2016 Corporation                                                     $65.00                                                                                           $65.00
Jonathan Bryant
6B Dearborn St.                                                RS Legacy Corporation fka RadioShack
Portsmouth, NH 03801                      11836      1/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          11837      1/12/2016 Corporation                                                                                                                                                       $0.00
Fujie, Sue S.
94‐500 Lehuakona St.                                           RS Legacy Corporation fka RadioShack
Mililani, HI 96789                        11838      1/12/2016 Corporation                                                    $104.68                                                                                          $104.68
Baier, Lauren
11149 T.R. 90                                                  RS Legacy Corporation fka RadioShack
Kenton, OH 43326                          11839      1/12/2016 Corporation                                                     $50.00                                                                                           $50.00
Gaska, Michael A
5345 Main St                                                   RS Legacy Corporation fka RadioShack
Bethel Park, PA 15102                     11840      1/12/2016 Corporation                                                    $138.03                                                                                          $138.03
Garett Wisesan
2246 Gladwin Drive                                             RS Legacy Corporation fka RadioShack
Walnut Creek, CA 94596                    11841      1/12/2016 Corporation                                                     $25.78                                                                                           $25.78
Pitts, Melvin
10518 Pembriar Circle                                          RS Legacy Corporation fka RadioShack
San Antonio, TX 78240                     11842      1/11/2016 Corporation                                                                                                               $0.00                                   $0.00
Bonfrancesco Jr., George
26 Rahilly Rd.                                                 RS Legacy Corporation fka RadioShack
Wrightstown, NJ 08562                     11843      1/12/2016 Corporation                                                     $19.96                                                                                           $19.96
Sessions, Karen
127 W. Fairbanks Ave #482                                      RS Legacy Corporation fka RadioShack
Winter Park, FL 32789‐4326                11844      1/12/2016 Corporation                                                     $80.00                                                                                           $80.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Paul Wandel
47 Crowley Ave.                                                RS Legacy Corporation fka RadioShack
Buffalo, NY 14207                         11845      1/12/2016 Corporation                                                     $55.00                                                                                           $55.00
Eduardo Diaz
11221 NW 22nd St                                               RS Legacy Corporation fka RadioShack
Pembroke Pines, FL 33026                  11846      1/12/2016 Corporation                                                     $23.89                                                                                           $23.89
Randy Mukai
102 W Santa Ana Ave                                            RS Legacy Corporation fka RadioShack
Clovis, Ca 93612                          11847      1/12/2016 Corporation                                                     $54.00                                                                                           $54.00
Chintan Parikh
2127, Thistlerock Lane                                         RS Legacy Corporation fka RadioShack
Sugarland, TX 77479                       11848      1/12/2016 Corporation                                                     $86.59                                                                                           $86.59
carlos bowers
328 s. brookside dr.                                           RS Legacy Corporation fka RadioShack
oxford, pa 19363                          11849      1/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Joseph B. Tolerico
17 Prospect Road                                               RS Legacy Corporation fka RadioShack
Wayne, NJ 07470                           11850      1/13/2016 Corporation                                                      $8.65                                                                                            $8.65
Louis J. Vetter
667 Scranton Avenue                                            RS Legacy Corporation fka RadioShack
Lynbrook, NY 11563                        11851      1/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Becky Hagedorn
3083 29th Street, Apt. F4                                      RS Legacy Corporation fka RadioShack
Astoria, NY 11102                         11852      1/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Becky Hagedorn
3083 29th Street, Apt. F4                                      RS Legacy Corporation fka RadioShack
Astoria, NY 11102                         11853      1/13/2016 Corporation                                                     $10.00                                                                                           $10.00
FOLEY, MARK
4 MANNING STREET                                               RS Legacy Corporation fka RadioShack
WILMINGTON, MA 01887                      11854      1/12/2016 Corporation                                                     $55.57                                                                                           $55.57
Medina ‐ Barreto, maria
8661 Pasadena Blvd                                             RS Legacy Corporation fka RadioShack
Pembroke Pines, FL 33024                  11855      1/12/2016 Corporation                                                     $31.79                                                                                           $31.79
Rosado, Gustavo
1650 Library Ave                                               RS Legacy Corporation fka RadioShack
Bronx, NY 10465                           11856      1/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Henning, Loren
845 Ivy Ave                                                    RS Legacy Corporation fka RadioShack
Crete , NE 68333                          11857      1/12/2016 Corporation                                                     $25.00                                                                                           $25.00
KOZMA, MARY ANN
2584 COLD SPRING RD                                            RS Legacy Corporation fka RadioShack
LANSDALE, PA 19446                        11858      1/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Becky Hagedorn
3083 29th Street, Apt. F4                                      RS Legacy Corporation fka RadioShack
Astoria, NY 11102                         11859      1/13/2016 Corporation                                                     $10.00                                                                                           $10.00
Becky Hagedorn
3083 29th Street, Apt. F4                                      RS Legacy Corporation fka RadioShack
Astoria, NY 11102                         11860      1/13/2016 Corporation                                                     $10.00                                                                                           $10.00
Jason Owens
2 Sugar Hill Rd                                                RS Legacy Corporation fka RadioShack
Kinnelon, NJ 07405                        11861      1/13/2016 Corporation                                                     $54.64                                                                                           $54.64




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            Creditor Name and Address              Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
Kennedy, Robert SR T
871 Foster Avenue                                                        RS Legacy Corporation fka RadioShack
Sebastian, FL 32958                                 11862      1/12/2016 Corporation                                                     $30.54                                                                                           $30.54
Albone, karen
601 Marquette Ave                                                        RS Legacy Corporation fka RadioShack
Sault Ste. Marie, MI 49783                          11863      1/12/2016 Corporation                                                     $25.81                                                                                           $25.81

Miami Herald
c/o Paul J. Pascuzzi
Felderstein Fitzgerald Willoughby & Pascuzzi LLP
400 Capitol Mall, Suite 1750                                             RS Legacy Corporation fka RadioShack
Sacramento, CA 95814                                11864      1/12/2016 Corporation                                                $78,330.40                                                                                        $78,330.40
Farrell, tammy
672 Jefferson Ave                                                        RS Legacy Corporation fka RadioShack
Roch, NY 14611                                      11865      1/12/2016 Corporation                                                      $0.00                                                                                            $0.00
abdul kareem mohamed yaseen
21258 BARLEY HALL TERRACE                                                RS Legacy Corporation fka RadioShack
ASHBURN, VA 20147                                   11866      1/13/2016 Corporation                                                    $103.38                                                                                          $103.38
Arturo Dominguez
10104 Lazy J Trail                                                       RS Legacy Corporation fka RadioShack
Helotes, TX 78023                                   11867      1/13/2016 Corporation                                                      $0.00                                                                                            $0.00
AYOUNG PARK
2960 W. 8TH STREET APT#201                                               RS Legacy Corporation fka RadioShack
LOS ANGELES, CA 90005                               11868      1/13/2016 Corporation                                                     $76.11                                                                                           $76.11
Lindsay Cammarata
23 Swains Pond Avenue                                                    RS Legacy Corporation fka RadioShack
Melrose, MA 02176                                   11869      1/13/2016 Corporation                                                      $0.00                                                                                            $0.00
james grandin
109 glen beatty                                                          RS Legacy Corporation fka RadioShack
angola, in 46703                                    11870      1/13/2016 Corporation                                                     $10.40                                                                                           $10.40
Yolanda Lowery
2005 Baronwood Court                                                     RS Legacy Corporation fka RadioShack
Gastonia, NC 28052                                  11871      1/13/2016 Corporation                                                      $4.00                                                                                            $4.00
BETTY ROMAN
1404 BUCKNER RD                                                          RS Legacy Corporation fka RadioShack
VALRICO, FL 33596                                   11872      1/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Andrew Sheets
4 Blue Oak Ct                                                            RS Legacy Corporation fka RadioShack
Novato, CA 94949                                    11873      1/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Taylor, Gina
1111 W. 77th Terrace                                                     RS Legacy Corporation fka RadioShack
Kansas City, MO 64114                               11874      1/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Skerrett, Alonzo
2013 Abbey Trace Drive                                                   RS Legacy Corporation fka RadioShack
Dover, FL 33527                                     11875      1/12/2016 Corporation                                                     $50.00                                                                                           $50.00

Fort Worth Star‐ Telegram
c/o Paul J. Pascuzzi
Felderstein Fitzgerald Willoughby & Pascuzzi LLP
400 capitol Mall, Suite 1750                                             RS Legacy Corporation fka RadioShack
Sacramento, CA 95814                                11876      1/12/2016 Corporation                                                $59,558.67                                                                                        $59,558.67




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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Cheryl Chernoff
2831 Colonial Drive                                            RS Legacy Corporation fka RadioShack
Sugar Land, TX 77479                      11877      1/13/2016 Corporation                                                     $80.69                                                                                           $80.69
Jacqueline Vasquez
748 Smith Street                                               RS Legacy Corporation fka RadioShack
Providence, RI 02908                      11878      1/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Luisana Monterrosa
Lizmonterrosa22@yahoo.com                                      RS Legacy Corporation fka RadioShack
North Las Vegas, NV 89031                 11879      1/13/2016 Corporation                                                     $20.00                                                                                           $20.00
MANISH VED
19 Sunbeam Road                                                RS Legacy Corporation fka RadioShack
Syosset, NY 11791                         11880      1/13/2016 Corporation                                                     $46.13                                                                                           $46.13
Michael Essue
102 Convent Ave #51                                            RS Legacy Corporation fka RadioShack
New York, NY 10027                        11881      1/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Katie Leach
953 Norman St.                                                 RS Legacy Corporation fka RadioShack
Weatherly, PA 18255                       11882      1/13/2016 Corporation                                                     $25.00                                                                                           $25.00
Katie Leach
953 Norman St.                                                 RS Legacy Corporation fka RadioShack
Weatherly, PA 18255                       11883      1/13/2016 Corporation                                                     $25.00                                                                                           $25.00
Jacobs, Toni
211 West Edgewood Drive                                        RS Legacy Corporation fka RadioShack
McMurray, PA 15317                        11884      1/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Christiana Webb
1240 Gasman Road                                               RS Legacy Corporation fka RadioShack
Port Angeles, Wa 98362                    11885      1/13/2016 Corporation                                                     $10.00                                                                                           $10.00
Christiana Webb
1240 Gasman Road                                               RS Legacy Corporation fka RadioShack
Port Angeles, Wa 98362                    11886      1/13/2016 Corporation                                                     $10.00                                                                                           $10.00
Blake Williams
26723 Senator Blvd                                             RS Legacy Corporation fka RadioShack
Southfield, Michigan 48034                11887      1/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Scott Weideman
5106 Dunham Creek Place                                        RS Legacy Corporation fka RadioShack
Brandon, FL 33511                         11888      1/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Dennis Krawietz
2305 Rex Cruse Dr                                              RS Legacy Corporation fka RadioShack
Sherman, Tx 75092                         11889      1/13/2016 Corporation                                                     $58.88                                                                                           $58.88
Ethan Rambacher
205 Hartwell Avenue                                            RS Legacy Corporation fka RadioShack
Littleton, MA 01460                       11890      1/13/2016 Corporation                                                     $10.00                                                                                           $10.00
Richa Lowe
492 Georgetown St                                              RS Legacy Corporation fka RadioShack
Sharpsville, Pa 16150                     11891      1/13/2016 Corporation                                                      $0.00                                                                                            $0.00
david mac
9733 abilene st                                                RS Legacy Corporation fka RadioShack
rosemead, ca 91770                        11892      1/13/2016 Corporation                                                     $25.00                                                                                           $25.00
Christena McCoy
6404 Retton Road                                               RS Legacy Corporation fka RadioShack
Reynoldsburg, Ohio 43068                  11893      1/14/2016 Corporation                                                     $20.00                                                                                           $20.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Peralta, Joseph J
8721 Redman St                                                 RS Legacy Corporation fka RadioShack
Springfield, VA 22153                     11894      1/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Eric Hall
2119 33rd Ave apt 4                                            RS Legacy Corporation fka RadioShack
Astoria, NY 11106                         11895      1/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Billy Gagnon
486 N Perley Brook Rd                                          RS Legacy Corporation fka RadioShack
Fort Kent, ME 04743                       11896      1/14/2016 Corporation                                                     $20.00                                                                                           $20.00
Suela, Flordeliza A.
94‐875 Kuhaulua Street
Apt. 162                                                       RS Legacy Corporation fka RadioShack
Waipahu, HI 96797                         11897      1/12/2016 Corporation                                                                         $0.00                                                                         $0.00
Shanas, Frances
5950 South Pecos Rd., #3028                                    RS Legacy Corporation fka RadioShack
Las Vegas, NV 89120‐5441                  11898      1/12/2016 Corporation                                                     $25.00                                                                                           $25.00
Rosenquist, Dennis
26029 S. HollyGreen Dr.                                        RS Legacy Corporation fka RadioShack
Sunlakes, AZ 85248                        11899      1/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Newman, Julie
P.O. Box 101                                                   RS Legacy Corporation fka RadioShack
Canton, MN 55922                          11900      1/12/2016 Corporation                                                    $100.00                                                                                          $100.00
Bent, Richard
874 Trimmer Rd.                                                RS Legacy Corporation fka RadioShack
Spencerport, NY 14559‐9575                11901      1/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Liang, Yizhi
131 Dawson Cres.                                               RS Legacy Corporation fka RadioShack
Seaford, VA 23696                         11902      1/12/2016 Corporation                                                     $50.00                                                                                           $50.00
Kistner, Jerry
902 Coleman Drive                                              RS Legacy Corporation fka RadioShack
New Richmond, WI 54017                    11903      1/14/2016 Corporation                                                    $100.00                                                                                          $100.00
Peter Lehmann
20 Worths Mill Lane                                            RS Legacy Corporation fka RadioShack
Princeton, NJ 08540                       11904      1/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Patricia Baker
9901 Millsaps Rd.                                              RS Legacy Corporation fka RadioShack
Soddy Daisy, TN 37379                     11905      1/13/2016 Corporation                                                     $66.01                                                                                           $66.01
David W Beckett
P. O. Box 897                                                  RS Legacy Corporation fka RadioShack
Big Bear Lake, Ca 92315                   11906      1/14/2016 Corporation                                                    $250.00                                                                                          $250.00
Wanda Negron Beltran
Calle 414 MK6 4ta. ext. Country Club                           RS Legacy Corporation fka RadioShack
Carolina, PR 00982                        11907      1/14/2016 Corporation                                                     $50.00                                                                                           $50.00
Kari Green
485 E. Adams Ave                                               RS Legacy Corporation fka RadioShack
Kirkwood, MO 63122                        11908      1/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Elizabeth Kelly
3816 Carriage Hill Drive                                       RS Legacy Corporation fka RadioShack
Frederick, MD 21704                       11909      1/14/2016 Corporation                                                     $75.00                                                                                           $75.00
michael doman
4304 babcock avenue                                            RS Legacy Corporation fka RadioShack
studio city, ca 91604                     11910      1/14/2016 Corporation                                                    $100.00                                                                                          $100.00



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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Joshua Vigil
2587 35 St Apt. #1                                             RS Legacy Corporation fka RadioShack
Astoria, New York 11103                   11911      1/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          11912      3/7/2016 Corporation                                                                                                                                                        $0.00
Younes, Rosanne
2625 W. Farwell Ave.                                           RS Legacy Corporation fka RadioShack
Chicago , IL 60645                        11913      1/12/2016 Corporation                                                     $60.00                                                                                           $60.00
Grant, Rachel
10 Angela Lane                                                RS Legacy Corporation fka RadioShack
Watertown, MA 02472                       11914      1/8/2016 Corporation                                                      $25.00                                                                                           $25.00
Curtice, Gwen
3914 Woodhollow Ct                                            RS Legacy Corporation fka RadioShack
Sugarland, TX 77479                       11915      1/8/2016 Corporation                                                       $8.10                                                                                            $8.10
Rogers, Brenda
2104 Belclaire Dr.                                            RS Legacy Corporation fka RadioShack
Carrollton, TX 75006                      11916      1/8/2016 Corporation                                                      $21.64                                                                                           $21.64
Curtice, Gwen
3914 Woodhollow Ct                                            RS Legacy Corporation fka RadioShack
Sugarland, TX 77479                       11917      1/8/2016 Corporation                                                      $22.71                                                                                           $22.71
Duff, Susan
38 Lincoln Place                                              RS Legacy Corporation fka RadioShack
Waldwick, NJ 07463                        11918      1/8/2016 Corporation                                                       $0.00                                                                                            $0.00
Clock, Ryan
P.O Box 251                                                   RS Legacy Corporation fka RadioShack
Curtis, MI 49820                          11919      1/8/2016 Corporation                                                      $50.00                                                                                           $50.00
Hampson, Joyce
160 Royal London Court                                        RS Legacy Corporation fka RadioShack
Westlake Village, CA 91361                11920      1/8/2016 Corporation                                                      $50.00                                                                                           $50.00
Kammerer, Milton C.
P.O. Box 104                                                  RS Legacy Corporation fka RadioShack
River Pines, CA 95675                     11921      1/8/2016 Corporation                                                       $0.00                                                                                            $0.00
Isaacson, Richard
3820 Sw Stony Brook Dr                                        RS Legacy Corporation fka RadioShack
Topeka , KS 66610                         11922      1/8/2016 Corporation                                                      $20.00                                                                                           $20.00
Andrade, Ernestine
66 Whiting Street                                             RS Legacy Corporation fka RadioShack
Roxbury, MA 02119                         11923      1/8/2016 Corporation                                                       $0.00                                                                                            $0.00
Ky Johnson‐Scott
91 westervelt place                                            RS Legacy Corporation fka RadioShack
Teaneck, nj 07666                         11924      1/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Debbie Nilsson
1118 Jackson St                                                RS Legacy Corporation fka RadioShack
Yreka, 96097 3126                         11925      1/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Derek Rolvsbakken
10663 Kipling way                                              RS Legacy Corporation fka RadioShack
Westminster, CO 80021                     11926      1/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Helen Zamba
6225 Park Street                                               RS Legacy Corporation fka RadioShack
Las Vegas, NV 89149                       11927      1/14/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                    Current General                                            Current 503(b)(9)
                                                                                                                                          Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address      Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
Robert Bukar
12728 Futura Street                                              RS Legacy Corporation fka RadioShack
San Diego, CA 92130                         11928      1/14/2016 Corporation                                                     $25.00                                                                                           $25.00
george gray
11 bluebird lane                                                 RS Legacy Corporation fka RadioShack
Ashaway/RI/02804, 11 bluebird 11 Bluebir    11929      1/14/2016 Corporation                                                     $25.00                                                                                           $25.00
John Taylor
613 Spring Valley Drive                                          RS Legacy Corporation fka RadioShack
Medford, OR 97501                           11930      1/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Steven L Howard
3855 Holbein Drive                                               RS Legacy Corporation fka RadioShack
Zanesville, Ohio 43701                      11931      1/14/2016 Corporation                                                    $500.00                                                                                          $500.00
Lisa Murray, Program Director
WCMHN‐Waterbury Young Adult Services
1669 Thompston Ave                                               RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                    11932      1/13/2016 Corporation                                                     $12.80                                                                                           $12.80
Christopher Dalou
23653 Marguerite Circle                                          RS Legacy Corporation fka RadioShack
Moreno Valley, CA 92557                     11933      1/14/2016 Corporation                                                     $50.00                                                                                           $50.00
Ryan Passarelli
1101 Coeburn ct.                                                 RS Legacy Corporation fka RadioShack
College Station, TX 77845                   11934      1/14/2016 Corporation                                                    $100.00                                                                                          $100.00
Rick Crouse
1492 Hampton Lane                                                RS Legacy Corporation fka RadioShack
Warminster, PA 18974                        11935      1/14/2016 Corporation                                                    $100.00                                                                                          $100.00
Randall Marsile
4341 San Pablo Circle                                            RS Legacy Corporation fka RadioShack
Yorba Linda, Ca 92886                       11936      1/14/2016 Corporation                                                    $150.00                                                                                          $150.00
Amanda Newman
20384 Orbit Road                                                 RS Legacy Corporation fka RadioShack
Windsor, Virginia 23487                     11937      1/14/2016 Corporation                                                    $100.00                                                                                          $100.00
scott tran
3023 marble falls drive                                          RS Legacy Corporation fka RadioShack
pearland, tx 77584                          11938      1/14/2016 Corporation                                                     $10.00                                                                                           $10.00
tram nguyen
3023 marble falls drive                                          RS Legacy Corporation fka RadioShack
pearland, tx 77584                          11939      1/14/2016 Corporation                                                     $25.00                                                                                           $25.00
Arlene Garza
6806 Via Marinero                                                RS Legacy Corporation fka RadioShack
Carlsbad, CA 92009                          11940      1/14/2016 Corporation                                                     $72.02                                                                                           $72.02
Ankita Satpute
1 Willow Court                                                   RS Legacy Corporation fka RadioShack
Cranbury, NJ 08512                          11941      1/14/2016 Corporation                                                     $10.00                                                                                           $10.00
raymond catroppa
20 granada place                                                 RS Legacy Corporation fka RadioShack
massapequa, ny 11758                        11942      1/14/2016 Corporation                                                      $0.00                                                                                            $0.00
raymond catroppa
20 Granada Place                                                 RS Legacy Corporation fka RadioShack
Massapequa, New York 11758                  11943      1/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Jaime Flores
2662 Foreman Ave                                                 RS Legacy Corporation fka RadioShack
Long Beach, Ca 90815                        11944      1/14/2016 Corporation                                                     $50.00                                                                                           $50.00



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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
ashley holt
2729 5th st ne                                                 RS Legacy Corporation fka RadioShack
center point, al 35215                    11945      1/15/2016 Corporation                                                     $45.00                                                                                           $45.00
Doulos, Mari
659 S. River Rd                                                RS Legacy Corporation fka RadioShack
Des Plaines, IL 60016                     11946      1/13/2016 Corporation                                                      $5.99                                                                                            $5.99
Kistner, Jerry
902 Coleman Drive                                              RS Legacy Corporation fka RadioShack
New Richmond, WI 54017                    11947      1/13/2016 Corporation                                                    $100.00                                                                                          $100.00
Lisa Murray, Program Director
WCMHN ‐ Waterbury Young Adult Services
1669 Thomaston Ave                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  11948      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Lisa Murray, Program Director
WCMHN‐Waterbury Young Adult Service
1669 Thomaston Ave                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  11949      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
ABRAHAM THOMAS
10103 BROOK SHORE LN                                           RS Legacy Corporation fka RadioShack
PEARLAND, TX 77584                        11950      1/15/2016 Corporation                                                     $31.95                                                                                           $31.95
aaron graf
p.o. box 323                                                   RS Legacy Corporation fka RadioShack
eastchester, ny 10709                     11951      1/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Lisa Murray, Program Director
WCMHN‐Waterbury Young Adult Services
1669 Thompston Ave                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  11952      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
CHETAN CHOKSI
122 WEST WOODBRIDGE AVE                                        RS Legacy Corporation fka RadioShack
ISELIN, NJ 08830                          11953      1/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Lisa Murray, Program Director
WCMHN‐Waterbury Young Adult Services
1669 Thompston Ave                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  11954      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Lisa Murray, Program Director
WCMHN‐Waterbury Young Adult Services
1669 Thompston Ave                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  11955      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Lisa Murray, Program Director
WCMHN‐Waterbury Young Adult Services
1669 Thompston Ave                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  11956      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Lisa Murray, Program Director
WCMHN‐Waterbury Young Adult Services
1669 Thompston Ave                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  11957      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Lisa Murray, Program Director
WCMHN‐Waterbury Young Adult Services
1669 Thompston Ave                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  11958      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00




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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Alvarado, Rosellys
715 Fox St Apt 2F                                              RS Legacy Corporation fka RadioShack
Bronx, NY 10455                           11959      1/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Thomas albanese
76 appel drive east                                            RS Legacy Corporation fka RadioShack
Shirley, New york 11967                   11960      1/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Lisa Murray, Program Director
WCMHN‐Waterbury Young Adult Services
1669 Thompston Ave                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  11961      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Lisa Murray, Program Director
WCMHN‐Waterbury Young Adult Services
1669 Thompston Ave                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  11962      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Lisa Murray, Program Director
WCMHN‐Waterbury Young Adult Services
1669 Thompston Ave                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  11963      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Andrew Clements
4000 24th St N Lot 12                                          RS Legacy Corporation fka RadioShack
Saint Petersburg, FL 33714                11964      1/15/2016 Corporation                                                      $0.00                                                                                            $0.00
David Long
260 Long Pond Road                                             RS Legacy Corporation fka RadioShack
Plymouth, MA 02360                        11965      1/15/2016 Corporation                                                      $4.36                                                                                            $4.36
Michelle Fitzpatrick‐Baer
702 Front Street                                               RS Legacy Corporation fka RadioShack
Olean, NY 14760                           11966      1/15/2016 Corporation                                                     $25.00                                                                                           $25.00
Michelle Fitzpatrick‐Baer
702 Front Street                                               RS Legacy Corporation fka RadioShack
Olean, NY 14760                           11967      1/15/2016 Corporation                                                     $25.00                                                                                           $25.00
Jesus Mena
HC 2 BOX 47054                                                 RS Legacy Corporation fka RadioShack
Arecibo, PR 00612‐9311                    11968      1/15/2016 Corporation                                                     $20.00                                                                                           $20.00
Mihee Cho
2205 Cristina Circle                                           RS Legacy Corporation fka RadioShack
Carrollton, TX 75006                      11969      1/15/2016 Corporation                                                     $25.00                                                                                           $25.00
Thomas Meadows
12910 NW 26th Avenue                                           RS Legacy Corporation fka RadioShack
Vancouver, WA 98685                       11970      1/15/2016 Corporation                                                     $20.00                                                                                           $20.00
Tammy Cuma
805 independence ave                                           RS Legacy Corporation fka RadioShack
Westville, In 46391                       11971      1/15/2016 Corporation                                                     $74.89                                                                                           $74.89
Lisa Murray, Program Director
WCMHN‐Waterbury Young Adult Services
1669 Thompston Ave                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  11972      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Lisa Murray, Program Director
WCMHN‐Waterbury Young Adult Services
1669 Thompston Ave                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  11973      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Lisa Murray, Program Director
WCMHN‐Waterbury Young Adult Services
1669 Thompston Ave                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  11974      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Lisa Murray, Program Director
WCMHN‐Waterbury Young Adult Services
1669 Thompston Ave                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  11975      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Lisa Murray, Program Director
WCMHN‐Waterbury Young Adult Services
1669 Thompston Ave                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  11976      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Lisa Murray, Program Director
WCMHN‐Waterbury Young Adult Services
1669 Thompston Ave                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  11977      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Lisa Murray, Program Director
WCMHN‐Waterbury Young Adult Services
1669 Thompston Ave                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  11978      1/15/2016 Corporation                                                     $50.00                                                                                           $50.00
Matthew Kopecky
15 Atkinson Ln                                                 RS Legacy Corporation fka RadioShack
Newtown, PA 18940                         11979      1/15/2016 Corporation                                                     $20.00                                                                                           $20.00
Velma Farinha
1101 Chardonnay Way                                            RS Legacy Corporation fka RadioShack
Modesto, Ca 95355                         11980      1/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Jeremy Bice
835 Santa Fe Ave                                               RS Legacy Corporation fka RadioShack
El Dorado, KS 67042                       11981      1/15/2016 Corporation                                                      $0.00                                                                                            $0.00
MANUEL
1303 ANTON PL                                                  RS Legacy Corporation fka RadioShack
AROMAS, CA 95004                          11982      1/15/2016 Corporation                                                     $40.00                                                                                           $40.00
Merlyn ifenuk
55 Henderson st                                                RS Legacy Corporation fka RadioShack
Eureka, CA 95501                          11983      1/15/2016 Corporation                                                     $50.00                                                                                           $50.00
Joni EAdy
5025 Grand Blvd                                                RS Legacy Corporation fka RadioShack
Lakeland, FL 33812                        11984      1/16/2016 Corporation                                                     $50.00                                                                                           $50.00
Lori Kleu
2541 Floyd Street                                              RS Legacy Corporation fka RadioShack
sarasota, fl 34239                        11985      1/16/2016 Corporation                                                     $13.90                                                                                           $13.90
Lori Kleu
2541 Floyd street                                              RS Legacy Corporation fka RadioShack
sarasota, fl 34239                        11986      1/16/2016 Corporation                                                     $10.67                                                                                           $10.67
Lori Kleu
2541 Floyd street                                              RS Legacy Corporation fka RadioShack
sarasota, fl 34239                        11987      1/16/2016 Corporation                                                     $10.67                                                                                           $10.67
Cora Pucci
651 Glenwood Avenue                                            RS Legacy Corporation fka RadioShack
Ambridge, pa 15003                        11988      1/16/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Steve Klonicki
214 Farmcrest Lane                                             RS Legacy Corporation fka RadioShack
Mount Joy, PA 17552                       11989      1/16/2016 Corporation                                                     $14.41                                                                                           $14.41
Jerry Johnson
2201 S. Ocean Blvd #310                                        RS Legacy Corporation fka RadioShack
Myrtle Beach, SC 29577                    11990      1/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Randee Dixon
1108 skyline dr.                                               RS Legacy Corporation fka RadioShack
Danvill, IL 61832                         11991      1/16/2016 Corporation                                                     $25.00                                                                                           $25.00
Glenn Wissinger
306 Kline Ave                                                  RS Legacy Corporation fka RadioShack
North Versailles, Pa 15137                11992      1/16/2016 Corporation                                                     $25.00                                                                                           $25.00
Randee Dixon
1108 skyline dr.                                               RS Legacy Corporation fka RadioShack
Danville, IL 61832                        11993      1/16/2016 Corporation                                                      $3.86                                                                                            $3.86
Scott Delage
6 France's Drive                                               RS Legacy Corporation fka RadioShack
Brookline, NH 03033                       11994      1/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Harold Morris
12021 Yates Ford Road                                          RS Legacy Corporation fka RadioShack
Fairfax Station, VA 22039                 11995      1/16/2016 Corporation                                                      $0.00                                                                                            $0.00
jamelle Whitney
1217 Dothan rd                                                 RS Legacy Corporation fka RadioShack
columbia, SC 29210                        11996      1/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Bruce Nelson
120 Cobblestone Dr                                             RS Legacy Corporation fka RadioShack
Rochester, NY 14623                       11997      1/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Paola Mendez
1158 Marcela Ct.                                               RS Legacy Corporation fka RadioShack
Lakewood, Nj 08701                        11998      1/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Gary Schmidt
3 Florham Ave                                                  RS Legacy Corporation fka RadioShack
Florham Park, NJ 07932                    11999      1/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Gary Schmidt
3 Florham Ave                                                  RS Legacy Corporation fka RadioShack
Florham Park, NJ 07932                    12000      1/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Cynthia Rupert
PO Box 357                                                     RS Legacy Corporation fka RadioShack
Avonmore, PA 15618                        12001      1/16/2016 Corporation                                                      $0.00                                                                                            $0.00
L. Goldman
18 Bontempo Rd                                                 RS Legacy Corporation fka RadioShack
Newton, MA 02459                          12002      1/16/2016 Corporation                                                     $22.50                                                                                           $22.50
Eric Taylor
3710 Wooded View Dr.                                           RS Legacy Corporation fka RadioShack
Georgetown, IN 47122                      12003      1/16/2016 Corporation                                                      $0.90                                                                                            $0.90
Chris
1 Blanqueta ct                                                 RS Legacy Corporation fka RadioShack
Chico, Ca 95928                           12004      1/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Tara Martin
774 Baird St                                                   RS Legacy Corporation fka RadioShack
Akron, Oh 44306                           12005      1/16/2016 Corporation                                                     $26.61                                                                                           $26.61




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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
David Luu
1851 Ocala Ave                                                 RS Legacy Corporation fka RadioShack
San Jose, CA 95122                        12006      1/16/2016 Corporation                                                     $10.00                                                                                           $10.00
Venkat Gandham
2309 Elan Ln                                                   RS Legacy Corporation fka RadioShack
San Ramon, CA 94582                       12007      1/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Evon Thornton
360 East Avenue                                                RS Legacy Corporation fka RadioShack
Chico, CA 95926                           12008      1/16/2016 Corporation                                                     $17.20                                                                                           $17.20
Robert Alexander
4864 Sherwell Drive                                            RS Legacy Corporation fka RadioShack
Waterford, MI 48327                       12009      1/16/2016 Corporation                                                     $29.68                                                                                           $29.68
Janet Bond
409 Heather Way                                                RS Legacy Corporation fka RadioShack
Havre de Grace, MD 21078                  12010      1/16/2016 Corporation                                                      $8.47                                                                                            $8.47
lori kleu
2541 Floyd st                                                  RS Legacy Corporation fka RadioShack
sarasota, fl 34239                        12011      1/17/2016 Corporation                                                     $10.67                                                                                           $10.67
lori kleu
2541 Floyd st                                                  RS Legacy Corporation fka RadioShack
sarasota, fl 34239                        12012      1/17/2016 Corporation                                                     $13.90                                                                                           $13.90
lori kleu
2541 Floyd st                                                  RS Legacy Corporation fka RadioShack
sarasota, fl 34239                        12013      1/17/2016 Corporation                                                     $10.67                                                                                           $10.67
lori kleu
2541 Floyd st                                                  RS Legacy Corporation fka RadioShack
sarasota, fl 34239                        12014      1/17/2016 Corporation                                                     $10.67                                                                                           $10.67
stanley cesar
6 Stacey Court                                                 RS Legacy Corporation fka RadioShack
Stony Point, NY 10980                     12015      1/17/2016 Corporation                                                    $768.51                                                                                          $768.51
Tina K. Parker
330 May Road                                                   RS Legacy Corporation fka RadioShack
Potsdam, NY 13676                         12016      1/17/2016 Corporation                                                     $15.00                                                                                           $15.00
Lisa LaMarr
21106 Old Coach Rd                                             RS Legacy Corporation fka RadioShack
Elkhorn, NE 68022                         12017      1/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Pedro Oliveira
48 Wordsworth st                                               RS Legacy Corporation fka RadioShack
East Boston, Ma 02128                     12018      1/17/2016 Corporation                                                     $30.00                                                                                           $30.00
Maelyn Kisthard
301 Two Mile Bridge Road                                       RS Legacy Corporation fka RadioShack
Roberts, MT 59070                         12019      1/17/2016 Corporation                                                     $30.00                                                                                           $30.00
gilberto cervantes
1114 3rd ave so                                                RS Legacy Corporation fka RadioShack
moorehead, 56560 nd                       12020      1/17/2016 Corporation                                                    $200.00                                                                                          $200.00
Mara White
333 Washington blvd #366                                       RS Legacy Corporation fka RadioShack
Marina del Rey, Ca 90291                  12021      1/17/2016 Corporation                                                     $65.39                                                                                           $65.39
Tressa Derrick
2235 Algiers Street                                            RS Legacy Corporation fka RadioShack
Union, KY 41091                           12022      1/17/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Arun Chandrakantan
9100 Dillon Trail                                              RS Legacy Corporation fka RadioShack
Irving, TX 75063                          12023      1/17/2016 Corporation                                                    $127.53                                                                                          $127.53
DORA NIETO
PO BOX 495                                                     RS Legacy Corporation fka RadioShack
PROGRESO, TX 78579                        12024      1/17/2016 Corporation                                                     $60.00                                                                                           $60.00
Bruce Roche
182 Neptune Ave                                                RS Legacy Corporation fka RadioShack
Jersey CIty, NJ 07305                     12025      1/17/2016 Corporation                                                    $100.00                                                                                          $100.00
robert black
8640 nw 24th st                                                RS Legacy Corporation fka RadioShack
sunrise, fl 33322                         12026      1/17/2016 Corporation                                                     $50.00                                                                                           $50.00
Melvin Hartsook
26604 Dover Ct.                                                RS Legacy Corporation fka RadioShack
Kent, WA 98032                            12027      1/17/2016 Corporation                                                     $54.39                                                                                           $54.39
Jade braun
14453 e Burnside #209                                          RS Legacy Corporation fka RadioShack
Portland, Or 97233                        12028      1/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Rob Reynolds
5711 Wrenwyck Place                                            RS Legacy Corporation fka RadioShack
Weldon Spring, MO 63304                   12029      1/17/2016 Corporation                                                     $26.86                                                                                           $26.86
Wanda S. Morgan
231 Grant Road                                                 RS Legacy Corporation fka RadioShack
Westminster, SC 29693                     12030      1/17/2016 Corporation                                                     $25.00                                                                                           $25.00
Dan Huynh
540 palomino way                                               RS Legacy Corporation fka RadioShack
grand prairie, tx 75052                   12031      1/17/2016 Corporation                                                     $59.99                                                                                           $59.99
Sharon AlbrittonSmith
3318 Successful Way                                            RS Legacy Corporation fka RadioShack
Dayton, Ohio 45424                        12032      1/17/2016 Corporation                                                     $85.79                                                                                           $85.79
Janki Dhanjani
1024 Via Santalina                                             RS Legacy Corporation fka RadioShack
San Marcos, CA 92069                      12033      1/17/2016 Corporation                                                     $35.00                                                                                           $35.00
Gene McEnroe
352 Naples ct                                                  RS Legacy Corporation fka RadioShack
Chadwick beach, Nj 08735                  12034      1/18/2016 Corporation                                                     $26.74                                                                                           $26.74
james taraborrelli
1002 lamb roadf                                                RS Legacy Corporation fka RadioShack
secane, pa 19018                          12035      1/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Deddric davidson
9420 yandle Ln                                                 RS Legacy Corporation fka RadioShack
PIneville, Nc 28134                       12036      1/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Carole Turner‐Steel
20240 Sandalwood Lane                                          RS Legacy Corporation fka RadioShack
Strongsville, Ohio 44149                  12037      1/18/2016 Corporation                                                     $93.00                                                                                           $93.00
matthew beahm
115 watters station rd                                         RS Legacy Corporation fka RadioShack
Evans city, pa 16033                      12038      1/18/2016 Corporation                                                      $0.00                                                                                            $0.00
John A. Bliss
4926 Malibu Drive                                              RS Legacy Corporation fka RadioShack
Bloomfield Hills, MI 48302                12039      1/18/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Joshua mora
3342 sw 24 st                                                  RS Legacy Corporation fka RadioShack
Miami, Fla 33145                          12040      1/18/2016 Corporation                                                     $22.56                                                                                           $22.56
Kelly Mumbower
14502 Panther Pt                                               RS Legacy Corporation fka RadioShack
Helotes, Texas 78023                      12041      1/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Patrick Clark
1699 Concord Dr                                                RS Legacy Corporation fka RadioShack
Marietta, GA 30060                        12042      1/18/2016 Corporation                                                     $50.00                                                                                           $50.00
Adam Williams
380 Avery St                                                   RS Legacy Corporation fka RadioShack
Ashland, OR 97520                         12043      1/18/2016 Corporation                                                     $50.00                                                                                           $50.00
Katy Warren
76 Whetstone Dr                                                RS Legacy Corporation fka RadioShack
Angier, NC 27501                          12044      1/18/2016 Corporation                                                     $10.00                                                                                           $10.00
Lisa Cook
1217 Mockingbird Rd                                            RS Legacy Corporation fka RadioShack
Guthrie, OK 73044                         12045      1/18/2016 Corporation                                                     $50.00                                                                                           $50.00
Yadira Gonzalez
HC 1 Box 4555                                                  RS Legacy Corporation fka RadioShack
Bajadero, PR 00616                        12046      1/18/2016 Corporation                                                     $50.00                                                                                           $50.00
Wilbert Gonzalez
2690 Cottonwillow St                                           RS Legacy Corporation fka RadioShack
Las Vegas, NV 89135                       12047      1/18/2016 Corporation                                                     $51.64                                                                                           $51.64
Jeanne Benuzzi
7526 south leisure lane                                        RS Legacy Corporation fka RadioShack
rio linda, ca 95673                       12048      1/18/2016 Corporation                                                     $16.26                                                                                           $16.26
Pamala S. Weiler
5910 Wheatstalk Lane                                           RS Legacy Corporation fka RadioShack
Bonita, cA 91902                          12049      1/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Coby Rivera
4904 S. Power Rd., Ste. 103‐121                                RS Legacy Corporation fka RadioShack
Mesa, AZ 85212                            12050      1/18/2016 Corporation                                                     $55.61                                                                                           $55.61
Carlos Munoz
17 West Over Ave                                               RS Legacy Corporation fka RadioShack
Caldwell, NJ 07006                        12051      1/18/2016 Corporation                                                     $12.85                                                                                           $12.85
Ricky Ruedaflores
2300 E Concorda Dr                                             RS Legacy Corporation fka RadioShack
Tempe, AZ 85282                           12052      1/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Leslie Ulloa
25‐65 32 Street Apt4                                           RS Legacy Corporation fka RadioShack
Astoria, NY 11102                         12053      1/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Jamie Hathaway
12 Curtis Ave                                                  RS Legacy Corporation fka RadioShack
Baldwinsville, NY 13027                   12054      1/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael Kohlberg
571 Green Forest Drive                                         RS Legacy Corporation fka RadioShack
Fenton, MO 63026                          12055      1/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Andrew Brendler
3 Wright Road                                                  RS Legacy Corporation fka RadioShack
Lagrangeville, NY 12540                   12056      1/18/2016 Corporation                                                     $25.00                                                                                           $25.00




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                                                                                                                  Current General                                            Current 503(b)(9)
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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Emily Turner
PO Box 396                                                     RS Legacy Corporation fka RadioShack
Chouteau, OK 74337                        12057      1/18/2016 Corporation                                                     $25.00                                                                                           $25.00
ranelle kain
6520 mesa norte dr                                             RS Legacy Corporation fka RadioShack
san diego, ca 92130                       12058      1/18/2016 Corporation                                                     $20.00                                                                                           $20.00
sainath pandurang
5901 w.behrend drive/ apt#2018                                 RS Legacy Corporation fka RadioShack
glendale, az 85308                        12059      1/19/2016 Corporation                                                      $0.00                                                                                            $0.00
sainath pandurang
5901 w. behrend drive apt# 2018                                RS Legacy Corporation fka RadioShack
glendale, az 85308                        12060      1/19/2016 Corporation                                                      $0.00                                                                                            $0.00
DARNELL BROWN
2311 S COCHRAN AVENUE                                          RS Legacy Corporation fka RadioShack
LOS ANGELES, CA, 90016 none               12061      1/19/2016 Corporation                                                    $100.00                                                                                          $100.00
isabel camacho
2337 wallace avenue #2                                         RS Legacy Corporation fka RadioShack
bronx, new york 10467                     12062      1/19/2016 Corporation                                                    $100.00                                                                                          $100.00
Valarie Dimmig
2711 Levi Drive                                                RS Legacy Corporation fka RadioShack
Bath, PA 18014                            12063      1/19/2016 Corporation                                                      $1.08                                                                                            $1.08
Dolores Schlaak
103 Camellia Lane                                              RS Legacy Corporation fka RadioShack
Cartersville, GA 30120                    12064      1/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Arley Pitts
7865 SW Brentwood St                                           RS Legacy Corporation fka RadioShack
Portland, OR 97225                        12065      1/19/2016 Corporation                                                     $24.85                                                                                           $24.85
Paula Gerald
730 Wilton Farm Drive                                          RS Legacy Corporation fka RadioShack
Catonsville, MD 21228                     12066      1/19/2016 Corporation                                                      $3.44                                                                                            $3.44
Marcus Northeran
5607 Ormes St                                                  RS Legacy Corporation fka RadioShack
philadelphia, PA 119120                   12067      1/19/2016 Corporation                                                      $0.00                                                                                            $0.00
James Callahan
15101 School House Road                                        RS Legacy Corporation fka RadioShack
Brookville, OH 45309                      12068      1/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Marni Sager
452 York Court                                                 RS Legacy Corporation fka RadioShack
Sonoma, CA 95476                          12069      1/19/2016 Corporation                                                     $33.13                                                                                           $33.13
afsaneh lavari
22739 se 27 street                                             RS Legacy Corporation fka RadioShack
sammamish, wa 98075                       12070      1/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Julian Diehn
900 N Wood St Apt 3S                                           RS Legacy Corporation fka RadioShack
Chicago, IL 60622                         12071      1/19/2016 Corporation                                                     $54.61                                                                                           $54.61
Charles Thomas
7731 Peacock Dr                                                RS Legacy Corporation fka RadioShack
San Diego, Ca. 92123                      12072      1/19/2016 Corporation                                                     $25.00                                                                                           $25.00
Beaujean Scanlon
84 High Meadow Lane                                            RS Legacy Corporation fka RadioShack
Carmel, California 93923                  12073      1/19/2016 Corporation                                                     $65.53                                                                                           $65.53




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Philip Castro
86 Hilldale Road                                               RS Legacy Corporation fka RadioShack
West Hartford, CT 06117                   12074      1/19/2016 Corporation                                                     $25.00                                                                                           $25.00
Joseph McKay
128 highview drive                                             RS Legacy Corporation fka RadioShack
winsted, ct 06098                         12075      1/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Charlotte Hermelin
2358 Grandview St.                                             RS Legacy Corporation fka RadioShack
San Diego, CA 92110                       12076      1/19/2016 Corporation                                                     $21.74                                                                                           $21.74
Gulshan Merchants
6415 N sheridan rd #406                                        RS Legacy Corporation fka RadioShack
chicago, ill 60626, ill 60626             12077      1/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Marianne LeBlanc
130 Papoose Path                                               RS Legacy Corporation fka RadioShack
Middleburgh, NY 12122                     12078      1/19/2016 Corporation                                                     $18.40                                                                                           $18.40
Mai Nguyen
10514 Ventura Blvd.                                            RS Legacy Corporation fka RadioShack
Machesney Park, Illinois 61115            12079      1/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Kathy Norman
4822 Selkirk dr                                                RS Legacy Corporation fka RadioShack
South Bend, in 46614                      12080      1/19/2016 Corporation                                                      $0.00                                                                                            $0.00
ANDREW TETREAULT
15 WILMOT ROAD                                                 RS Legacy Corporation fka RadioShack
PORT JEFFERSON, NY 11777                  12081      1/19/2016 Corporation                                                     $25.00                                                                                           $25.00
Carol Polakoff
1416 Havenhurst Drive Apt 1C                                   RS Legacy Corporation fka RadioShack
West Hollywood, CA 90046                  12082      1/19/2016 Corporation                                                    $125.00                                                                                          $125.00
Robert Lux
521 Eugenia Avenue                                             RS Legacy Corporation fka RadioShack
Madison, WI 53705                         12083      1/19/2016 Corporation                                                      $6.33                                                                                            $6.33
Mary (Millie) Garcia
10650 Fourth St                                                RS Legacy Corporation fka RadioShack
Gilroy, Ca 95020                          12084      1/19/2016 Corporation                                                     $76.11                                                                                           $76.11
Angela Hobbins
34623 Fairfax Drive                                            RS Legacy Corporation fka RadioShack
48152, MI LIvonia                         12085      1/19/2016 Corporation                                                     $25.00                                                                                           $25.00
Debra Byrne
9117 W Barge St                                                RS Legacy Corporation fka RadioShack
Yakima, WA 98908                          12086      1/19/2016 Corporation                                                     $60.00                                                                                           $60.00
Jeremy Matthews
74 long meadow Lane                                            RS Legacy Corporation fka RadioShack
Worthington, Wv 26591                     12087      1/19/2016 Corporation                                                     $10.00                                                                                           $10.00
Faith Gibson
62‐64 Saunders St Apt H2                                       RS Legacy Corporation fka RadioShack
Rego Park, NY 11374                       12088      1/19/2016 Corporation                                                      $0.00                                                                                            $0.00
leah
38 Pennington Way                                              RS Legacy Corporation fka RadioShack
Spring Valley, NY 10977                   12089      1/19/2016 Corporation                                                      $0.00                                                                                            $0.00
leah cherns
38 Pennington Way                                              RS Legacy Corporation fka RadioShack
Spring Valley, NY 10977                   12090      1/19/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Mike Bosch
702 Berry Bramble Drive                                        RS Legacy Corporation fka RadioShack
Brandon, FL 33510                         12091      1/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Dave Rosenfield
241 Flower Hill Rd                                             RS Legacy Corporation fka RadioShack
Smithville, TX 78957                      12092      1/19/2016 Corporation                                                     $32.44                                                                                           $32.44
alex iskhakov
140‐35 burden cres apt 402                                     RS Legacy Corporation fka RadioShack
Briarwood, NY 11435                       12093      1/19/2016 Corporation                                                     $54.00                                                                                           $54.00
Brent H Nay
975 W 3800 N                                                   RS Legacy Corporation fka RadioShack
Ogden, Utah 84414‐1337                    12094      1/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael Knapp
601 Hill Road                                                  RS Legacy Corporation fka RadioShack
Pascoag, RI 02859                         12095      1/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Shari Hess
17 Red Birch Cove                                              RS Legacy Corporation fka RadioShack
Little Rock, AR 72212                     12096      1/19/2016 Corporation                                                     $43.59                                                                                           $43.59
Bonnie J Silverstein
10341 E Evans Ave Unit 160                                     RS Legacy Corporation fka RadioShack
Aurora, CO 80247                          12097      1/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Valerie Ramirez
Post Office Box 145                                            RS Legacy Corporation fka RadioShack
Waimanalo, HI 96795                       12098      1/19/2016 Corporation                                                     $25.00                                                                                           $25.00
Bonnie J Silverstein
10341 E Evans Ave Unit 160                                     RS Legacy Corporation fka RadioShack
Aurora, CO 80247                          12099      1/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Corinne Lee
45 ledgewood drive                                             RS Legacy Corporation fka RadioShack
wilton, ct 06897                          12100      1/19/2016 Corporation                                                    $100.00                                                                                          $100.00
Marguerite Cogliati
6 Green Circle                                                 RS Legacy Corporation fka RadioShack
Woodbury, CT 06798                        12101      1/19/2016 Corporation                                                      $0.00                                                                                            $0.00
JOHN GERBER
7110 WALKWAY                                                   RS Legacy Corporation fka RadioShack
HOUSTON, TEXAS 77036                      12102      1/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Anselmo Boroa
1674 De Rose way                                               RS Legacy Corporation fka RadioShack
San jose, Ca 95126                        12103      1/19/2016 Corporation                                                    $118.14                                                                                          $118.14
Dennis Linder
9 Rollinson St                                                 RS Legacy Corporation fka RadioShack
West Orange, NJ 07052                     12104      1/19/2016 Corporation                                                     $20.00                                                                                           $20.00
María v pille
1171 E Candlenut Ln                                            RS Legacy Corporation fka RadioShack
Palatine, IL 60074                        12105      1/19/2016 Corporation                                                     $54.47                                                                                           $54.47
Laura Nash
43 Lively Oaks Place                                           RS Legacy Corporation fka RadioShack
The Woodlands, Texas 77382                12106      1/19/2016 Corporation                                                    $125.00                                                                                          $125.00
Jack Chen
1360 POST OAK BLVD; SUITE 150                                  RS Legacy Corporation fka RadioShack
HOUSTON, Texas 77056                      12107      1/19/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Robert Schwartz
11805 S. Fairway Ridge Lane                                    RS Legacy Corporation fka RadioShack
Spokane, WA 99224                         12108      1/19/2016 Corporation                                                     $44.55                                                                                           $44.55
Krystal Schara
E7509 County Road PF                                           RS Legacy Corporation fka RadioShack
North Freedom, WI 53951                   12109      1/19/2016 Corporation                                                     $25.00                                                                                           $25.00
Lisa Murray, Program Director
WCMHN‐Waterbury Young Adult Services
1669 Thompston Ave                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  12110      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Murray, Program Director, Lisa
WCMHN‐Waterbury Young Adult Services
1669 Thomas Ave                                                RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  12111      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Christy McDuffie
10 W Church St                                                 RS Legacy Corporation fka RadioShack
Mascoutah, IL 62258                       12112      1/19/2016 Corporation                                                     $25.00                                                                                           $25.00
Chad bowers
16449 senkel road                                              RS Legacy Corporation fka RadioShack
east bernard, TX 77435                    12113      1/19/2016 Corporation                                                     $50.00                                                                                           $50.00
Lace, Cheryl
538 Skyline Dr.                                                RS Legacy Corporation fka RadioShack
Schenectady, NY 12306                     12114      1/13/2016 Corporation                                                     $27.00                                                                                           $27.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          12115      1/18/2016 Corporation                                                                                                                                                       $0.00
Lisa Murray, Program Director
WCMHN‐Waterbury Young Adult Services
1669 Thompston Ave                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  12116      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Lisa Murray, Program Director
WCMHN‐Waterbury Young Adult Services
1669 Thompston Ave                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  12117      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          12118      1/19/2016 Corporation                                                                                                                                                       $0.00
Murray, Program Director, Lisa
WCMHN‐Waterbury Young Adult Services
1669 Thomaston Av                                              RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  12119      1/19/2016 Corporation                                                     $50.00                                                                                           $50.00
Lisa Murray, Program Director
WCMHN‐Waterbury Young Adult Services
1669 Thompston Ave                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  12120      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Lisa Murray, Program Director
WCMHN‐Waterbury Young Adult Services
1669 Thompston Ave                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  12121      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
DeLuca, Cathy
803 N Derby Ave                                                RS Legacy Corporation fka RadioShack
Ventnor, NJ 08406                         12122      1/13/2016 Corporation                                                                                                                                                       $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Lalima, Eugene
129 Morehouse Rd.                                              RS Legacy Corporation fka RadioShack
Ravena, NY 12143                          12123      1/13/2016 Corporation                                                     $28.44                                                                                           $28.44
Sager, Marni
452 York Court                                                 RS Legacy Corporation fka RadioShack
Sonoma, CA 95476                          12124      1/19/2016 Corporation                                                     $33.13                                                                                           $33.13
Lisa Murray, Program Director
WCMHN‐Waterbury Young Adult Services
1669 Thompston Ave                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  12125      1/13/2016 Corporation                                                      $3.54                                                                                            $3.54
Lisa Murray, Program Director
WCMHN‐Waterbury Young Adult Services
1669 Thompston Ave                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  12126      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Toepfer, Rudy
1913 N 38th St                                                 RS Legacy Corporation fka RadioShack
Seattle, WA 98103                         12127      1/13/2016 Corporation                                                      $0.71                                                                                            $0.71
Swanson, Ginger
1046 Howe RD                                                   RS Legacy Corporation fka RadioShack
Kent , OH 44240                           12128      1/13/2016 Corporation                                                     $30.00                                                                                           $30.00
Alexie Creary
1980 South Ocean Drive
Apt. 12 N                                                      RS Legacy Corporation fka RadioShack
Hallandale Beach, FL 33009                12129      1/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert Jurgensen
12101 Oakland Avenue NE                                        RS Legacy Corporation fka RadioShack
Albuquerque, NM 87122                     12130      1/19/2016 Corporation                                                    $106.99                                                                                          $106.99
Kathy Risse
1871 23rd Ave E                                                RS Legacy Corporation fka RadioShack
Seattle, WA 98112                         12131      1/19/2016 Corporation                                                      $0.00                                                                                            $0.00
King John
525 Oakvale Terrace                                            RS Legacy Corporation fka RadioShack
Walnut Creek, CA 94597                    12132      1/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert Prosser
16655 Purcival Court                                           RS Legacy Corporation fka RadioShack
Dumfries, VA 22025                        12133      1/19/2016 Corporation                                                     $65.71                                                                                           $65.71
Robert Prosser
16655 Purcival Court                                           RS Legacy Corporation fka RadioShack
Dumfries, VA 22025                        12134      1/19/2016 Corporation                                                      $7.41                                                                                            $7.41
Brianna Armstrong
136 Clay St                                                    RS Legacy Corporation fka RadioShack
Bowling Green, Ohio 43402                 12135      1/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Jon Rigney
5412 Panilolo Pl.                                              RS Legacy Corporation fka RadioShack
Honolulu, HI 96821                        12136      1/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Serina Lidder
15628 N Himes Ave                                              RS Legacy Corporation fka RadioShack
Tampa, FL 33618                           12137      1/20/2016 Corporation                                                      $2.17                                                                                            $2.17
Genny Goemaere
1123 Millville Road                                            RS Legacy Corporation fka RadioShack
Lapeer, MI 48446                          12138      1/20/2016 Corporation                                                     $25.00                                                                                           $25.00




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                                                                                                                  Current General                                            Current 503(b)(9)
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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Lavari, Afsaneh
22739 SE 27 street                                             RS Legacy Corporation fka RadioShack
sammamish, WA 98075                       12139      1/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Chad Bowers
16449 senkel road                                              RS Legacy Corporation fka RadioShack
East Bernard, TX 77435                    12140      1/20/2016 Corporation                                                     $50.00                                                                                           $50.00
Oscar Cheung
649 Barnum Way                                                 RS Legacy Corporation fka RadioShack
Monterey Park, CA 91754                   12141      1/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Jude Nicastro
241 27th St.                                                   RS Legacy Corporation fka RadioShack
Brooklyn, NY 11232                        12142      1/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Jason Huffman
4197 E. Granger Dr.                                            RS Legacy Corporation fka RadioShack
Meridian, idaho 83646                     12143      1/20/2016 Corporation                                                     $50.00                                                                                           $50.00
Nayem, Abulkashem M
2059 St. Raymond Ave # 6H                                      RS Legacy Corporation fka RadioShack
Bronx, NY 10462                           12144      1/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Savage, William
362 Laurel Park Place                                          RS Legacy Corporation fka RadioShack
Hendersonville, NC 28791                  12145      1/13/2016 Corporation                                                    $106.74                                                                                          $106.74
Cross, Vincent
4827 Briggs Rd                                                 RS Legacy Corporation fka RadioShack
Otter Lake, MI 48464                      12146      1/20/2016 Corporation                                                    $100.00                                                                                          $100.00
Long, Michele
278 Jessups Mill Road                                          RS Legacy Corporation fka RadioShack
Clarksboro, NJ 08020                      12147      1/13/2016 Corporation                                                     $36.36                                                                                           $36.36
Woelkers, Jane
409 South Irving Ave.                                          RS Legacy Corporation fka RadioShack
Scranton, PA 18505                        12148      1/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Simcox, George
2188 Stevenson Hill Rd.                                        RS Legacy Corporation fka RadioShack
Reynoldsville, PA 15851                   12149      1/13/2016 Corporation                                                     $60.95                                                                                           $60.95
Barrett, Bethany
77 Kay St.                                                     RS Legacy Corporation fka RadioShack
Newport, RI 02840                         12150      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Haygood, Shanna
13302 Moran Drive                                              RS Legacy Corporation fka RadioShack
Tampa, FL 33618                           12151      1/19/2016 Corporation                                                     $85.59                                                                                           $85.59
Carol Worley
2751 Castro Valley Blvd                                        RS Legacy Corporation fka RadioShack
Castro Valley, CA 94546                   12152      1/20/2016 Corporation                                                     $23.99                                                                                           $23.99
Cheick Diakite
Po Box 145                                                     RS Legacy Corporation fka RadioShack
Holdingford, MN 56340                     12153      1/20/2016 Corporation                                                     $42.79                                                                                           $42.79
denise bartkus
55 lupine way                                                  RS Legacy Corporation fka RadioShack
clark, nj 07066                           12154      1/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Karen Tattersall
55939 250th street                                             RS Legacy Corporation fka RadioShack
Glenwood, IA 51534                        12155      1/20/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Clifford Webb
2025 Oak St. apt. C                                            RS Legacy Corporation fka RadioShack
Santa Monica, CA 90405                    12156      1/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Alan Kovacs
257 Dedham St.                                                 RS Legacy Corporation fka RadioShack
Newton, MA 02461                          12157      1/20/2016 Corporation                                                     $22.30                                                                                           $22.30
Leann Morgan
PO Box 704                                                     RS Legacy Corporation fka RadioShack
Prosper, TX 75078                         12158      1/20/2016 Corporation                                                     $21.64                                                                                           $21.64
Peter Larison
38996 Winodee Way                                              RS Legacy Corporation fka RadioShack
Hamilton, VA 20158                        12159      1/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Kelly Sell
PO Box 392                                                     RS Legacy Corporation fka RadioShack
Aberdeen, WA 98520                        12160      1/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Joe Procopio
4315 Taylor Hall Place                                         RS Legacy Corporation fka RadioShack
Chapel Hill, NC 27517                     12161      1/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Dominika Bartosiewicz
3407 Norris Ave.                                               RS Legacy Corporation fka RadioShack
Parma, Ohio 44134                         12162      1/20/2016 Corporation                                                     $50.00                                                                                           $50.00
David Smith
4105 PipeLine Road                                             RS Legacy Corporation fka RadioShack
Panama City, Florida 32404                12163      1/20/2016 Corporation                                                     $30.00                                                                                           $30.00
Erik
468 chaparral st                                               RS Legacy Corporation fka RadioShack
Salinas, Ca 93906                         12164      1/21/2016 Corporation                                                     $10.00                                                                                           $10.00
BENJAMIN L HOLMES
4048 31ST AVE W                                                RS Legacy Corporation fka RadioShack
SEATTLE, WA 98199                         12165      1/21/2016 Corporation                                                     $15.00                                                                                           $15.00
Darin Gray
5883 Big Pine Ct                                               RS Legacy Corporation fka RadioShack
Ypsilanti, MI 48197                       12166      1/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Davine Byon
215‐38 Corbett Rd                                              RS Legacy Corporation fka RadioShack
Bayside, NY 11361                         12167      1/21/2016 Corporation                                                      $1.96                                                                                            $1.96
Antoinette Dillard
5823 W. Superior                                               RS Legacy Corporation fka RadioShack
Chicago, Il 60644                         12168      1/21/2016 Corporation                                                     $24.17                                                                                           $24.17
Tangy Corley
2645 NW 7th                                                    RS Legacy Corporation fka RadioShack
Newcastle, Ok 73065                       12169      1/21/2016 Corporation                                                    $100.00                                                                                          $100.00
Aneisa Hall
17744 Greystone Terrace Drive                                  RS Legacy Corporation fka RadioShack
Chesterfield, MO 63005                    12170      1/21/2016 Corporation                                                    $100.00                                                                                          $100.00
Jim Marshall
125 South Langston Cricle                                      RS Legacy Corporation fka RadioShack
Perry, GA 31069                           12171      1/21/2016 Corporation                                                     $19.83                                                                                           $19.83
Joshua Scott
6723 Greenback Ln                                              RS Legacy Corporation fka RadioShack
Citrus Heights, CA 95621                  12172      1/21/2016 Corporation                                                     $15.97                                                                                           $15.97




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                                                                                                                  Current General                                            Current 503(b)(9)
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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Amanda Schulz
306 seafarer dr                                                RS Legacy Corporation fka RadioShack
Third lake, Il 60030                      12173      1/21/2016 Corporation                                                     $10.69                                                                                           $10.69
TERRI MANNO
7000 E SENECA TPKE.                                            RS Legacy Corporation fka RadioShack
jAMESVILLE, NY 13078                      12174      1/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Allen, Amber M.
1517 NW 9th Ave                                                RS Legacy Corporation fka RadioShack
Ft. Lauderdale, FL 33311                  12175      1/19/2016 Corporation                                                     $10.00                                                                                           $10.00
Woodland, Casie
4824 Maryland Ave                                              RS Legacy Corporation fka RadioShack
Lacrescenta, CA 91214                     12176      1/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Elizabeth Torres
1950 Hutchinson River Pkwy 2E                                  RS Legacy Corporation fka RadioShack
Bronx, NY 10461                           12177      1/21/2016 Corporation                                                     $26.83                                                                                           $26.83
Malone, Mark
9714 Mallard Drive SE                                          RS Legacy Corporation fka RadioShack
Olympia, WA 98513                         12178      1/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Kepple, Jeanne
6051 99th Court N.                                             RS Legacy Corporation fka RadioShack
Pinellas Park, FL 33782                   12179      1/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Greer, Amette K.
999 Laurelwood Ln                                              RS Legacy Corporation fka RadioShack
Mountain City, TN 37683                   12180      1/20/2016 Corporation                                                      $0.00                                                                                            $0.00
McGhee, Jerry
2778 Allen St                                                  RS Legacy Corporation fka RadioShack
Kelso, WA 98626                           12181      1/20/2016 Corporation                                                     $60.00                                                                                           $60.00
Lewis, Cathy
215 W. Shore Rd                                                RS Legacy Corporation fka RadioShack
Sorrento, ME                              12182      1/20/2016 Corporation                                                     $26.00                                                                                           $26.00
Michael Mullin
21 Hollis Ave                                                  RS Legacy Corporation fka RadioShack
Quincy, MA 02171                          12183      1/21/2016 Corporation                                                     $10.00                                                                                           $10.00
Peggy J Gourley
3534 Gorman Drive                                              RS Legacy Corporation fka RadioShack
New Port Richey, FL 34655                 12184      1/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Doyle, Wayne
4351 42nd Ave Court                                            RS Legacy Corporation fka RadioShack
Rock Island, IL 61201                     12185      1/13/2016 Corporation                                                    $117.77                                                                                          $117.77
Brown, Billy
2211 Judson St., Apt 22C                                       RS Legacy Corporation fka RadioShack
San Diego, CA 92111                       12186      1/19/2016 Corporation                                                    $100.00                                                                                          $100.00
Shaver, Virginia
2305 Edgefeld Rd                                               RS Legacy Corporation fka RadioShack
Trenton, SC 29847                         12187      1/21/2016 Corporation                                                     $29.99                                                                                           $29.99
Nelms, Brittany
10381 Oak Ranch Way                                            RS Legacy Corporation fka RadioShack
Escordido, CA 92026                       12188      1/19/2016 Corporation                                                     $20.00                                                                                           $20.00
Randy Seeger
1900 Cisco Road                                                RS Legacy Corporation fka RadioShack
Sidney, Ohio 45365                        12189      1/21/2016 Corporation                                                     $32.16                                                                                           $32.16




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Johnny D Simpkins
131 Dana dr.                                                   RS Legacy Corporation fka RadioShack
Windsor, SC 29856                         12190      1/21/2016 Corporation                                                     $48.14                                                                                           $48.14
La'Shonda Hill
1721 5th St Apt A                                              RS Legacy Corporation fka RadioShack
Berkeley, Ca 94710                        12191      1/21/2016 Corporation                                                      $0.00                                                                                            $0.00
William
1747 trinity way                                               RS Legacy Corporation fka RadioShack
west sacramento, ca 95691                 12192      1/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Lamar Walent
306 Bartlett Street                                            RS Legacy Corporation fka RadioShack
San Francisco, CA 94110                   12193      1/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert Daurio
83 Lexington Avenue                                            RS Legacy Corporation fka RadioShack
Somerville, MA 02144                      12194      1/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Toni K Vogt
2215 Blue Lake Drive                                           RS Legacy Corporation fka RadioShack
Wentzville, MO 63385                      12195      1/21/2016 Corporation                                                     $32.36                                                                                           $32.36
Phyllis Holmes
16137 NW 150th. Street                                         RS Legacy Corporation fka RadioShack
Yukon, OK 73099                           12196      1/21/2016 Corporation                                                     $21.70                                                                                           $21.70
Guadalupe Martinez
1050 Crestview Drive #102                                      RS Legacy Corporation fka RadioShack
Mountain View, CA 94040                   12197      1/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Charles Coburn
PO Box 121743                                                  RS Legacy Corporation fka RadioShack
San Diego, CA 92112                       12198      1/22/2016 Corporation                                                     $25.00                                                                                           $25.00
Charles Coburn
PO Box 121743                                                  RS Legacy Corporation fka RadioShack
San Diego, CA 92212                       12199      1/22/2016 Corporation                                                     $20.00                                                                                           $20.00
Roland Adams
126 Falling Brook Way                                          RS Legacy Corporation fka RadioShack
Hawley, PA 18428                          12200      1/22/2016 Corporation                                                     $24.86                                                                                           $24.86
Brian Beilke
79463 Ridgehaven Road                                          RS Legacy Corporation fka RadioShack
Lancaster, SC 29720                       12201      1/22/2016 Corporation                                                      $4.22                                                                                            $4.22
Amy Montefusco
40 Longview Drive                                              RS Legacy Corporation fka RadioShack
Portland, ME 04103                        12202      1/22/2016 Corporation                                                     $20.00                                                                                           $20.00
Claudia Helle
1115 Ringo Street                                              RS Legacy Corporation fka RadioShack
Mexico, MO 65265                          12203      1/22/2016 Corporation                                                     $50.52                                                                                           $50.52
thanh Phan
12534 Katrina COurt                                            RS Legacy Corporation fka RadioShack
Houston, tx 77089                         12204      1/22/2016 Corporation                                                     $50.00                                                                                           $50.00
pat gaut
11 jean ave                                                    RS Legacy Corporation fka RadioShack
Hempstead, ny 11550                       12205      1/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Susan Pullaro
369 Crane Ave                                                  RS Legacy Corporation fka RadioShack
Pittsfield, Ma 01201                      12206      1/22/2016 Corporation                                                     $25.00                                                                                           $25.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Rachel Ebie
4341 Riverview Rd. Lot 6                                       RS Legacy Corporation fka RadioShack
Peninsula, Ohio 44264                     12207      1/22/2016 Corporation                                                     $50.00                                                                                           $50.00
Daren Rudolph
1265 E. 2450 N. Rd.                                            RS Legacy Corporation fka RadioShack
Edinburg, Illinois 62531                  12208      1/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Erica allen
54 ninth Ave apt g                                             RS Legacy Corporation fka RadioShack
hudson falls, ny 12839                    12209      1/22/2016 Corporation                                                     $34.00                                                                                           $34.00
eldar sharashenidze
p.o box 62064                                                  RS Legacy Corporation fka RadioShack
fort myers, fl 33906                      12210      1/22/2016 Corporation                                                     $78.21                                                                                           $78.21
Malachi Gaston
24032 25th ave s                                               RS Legacy Corporation fka RadioShack
des moines, wa 98198                      12211      1/22/2016 Corporation                                                     $23.59                                                                                           $23.59
phillip holman
2628 blue bonnet dr.                                           RS Legacy Corporation fka RadioShack
sebring, fl. 33870                        12212      1/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Darcy
4 Wheelock Road                                                RS Legacy Corporation fka RadioShack
Ellington, CT 06029                       12213      1/22/2016 Corporation                                                     $53.16                                                                                           $53.16
Cassandra Gallo
13255 Quinta way                                               RS Legacy Corporation fka RadioShack
Desert hot springs, Ca 92240              12214      1/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Roberta Marino
924E Boulevard                                                 RS Legacy Corporation fka RadioShack
New Milford, NJ 07646                     12215      1/22/2016 Corporation                                                    $100.00                                                                                          $100.00
Alan Campbell II
4071 kinlock st                                                RS Legacy Corporation fka RadioShack
North Port, FL 34286                      12216      1/22/2016 Corporation                                                      $0.00                                                                                            $0.00
John henning
2216 Cerro vista dr.                                           RS Legacy Corporation fka RadioShack
Rockford, Il 61107                        12217      1/22/2016 Corporation                                                     $10.00                                                                                           $10.00
howard livingston
372 Garden Pond Lane                                           RS Legacy Corporation fka RadioShack
Sagle, Idaho 83860                        12218      1/22/2016 Corporation                                                      $0.00                                                                                            $0.00
John henning
2216 Cerro vista dr.                                           RS Legacy Corporation fka RadioShack
Rockford, Il 61107                        12219      1/22/2016 Corporation                                                      $0.00                                                                                            $0.00
David Harbert
6020 Walnut Ave                                                RS Legacy Corporation fka RadioShack
Orangevale, CA 95662                      12220      1/22/2016 Corporation                                                      $8.39                                                                                            $8.39
Thomas Vega
2247 N Karlov                                                  RS Legacy Corporation fka RadioShack
Chicago, IL 60630                         12221      1/22/2016 Corporation                                                     $15.00                                                                                           $15.00
Ryan Webster
1002 Manhattan Ave Unit B                                      RS Legacy Corporation fka RadioShack
Hermosa Beach, CA 90254                   12222      1/22/2016 Corporation                                                    $100.00                                                                                          $100.00
Eva
2421 Strathmore Ave.                                           RS Legacy Corporation fka RadioShack
Rosemead, CA 91770                        12223      1/22/2016 Corporation                                                     $65.39                                                                                           $65.39




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                                                                                                                   Current General                                            Current 503(b)(9)
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            Creditor Name and Address     Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Thomas See
914 21st Ave                                                    RS Legacy Corporation fka RadioShack
Honolulu, HI 96816                         12224      1/23/2016 Corporation                                                     $32.21                                                                                           $32.21
Daniel Ferch
3840 Hartung Ct.                                                RS Legacy Corporation fka RadioShack
Newbury Park, CA 91320                     12225      1/23/2016 Corporation                                                    $328.11                                                                                          $328.11
Erica Hamilton
225 Eastern Parkway, Apt 1B                                     RS Legacy Corporation fka RadioShack
Brooklyn, NY 11238                         12226      1/23/2016 Corporation                                                     $30.98                                                                                           $30.98
Berj Parseghian
70 W 93rd St Apt 23A                                            RS Legacy Corporation fka RadioShack
New York, NY 10025                         12227      1/23/2016 Corporation                                                      $3.27                                                                                            $3.27
Po‐Ju Chen
9338 Cypress Cove Drive                                         RS Legacy Corporation fka RadioShack
Orlando, FL 32819                          12228      1/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Brent Jarnecke
753 South 300 East                                              RS Legacy Corporation fka RadioShack
Kouts, IN 46347                            12229      1/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Pamela Himes
17789 Route 36                                                  RS Legacy Corporation fka RadioShack
Punxsutawney, PA 15767                     12230      1/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Cal Ahmad
#                                                               RS Legacy Corporation fka RadioShack
3 Innsbruck Blvd, Hopewell Jct NY 12533    12231      1/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Mr Dennis S Coyne
20 El Molino Dr.                                                RS Legacy Corporation fka RadioShack
Clayton, CA 94517                          12232      1/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Maureen E. Delano
1486 Pleasantville Rd                                           RS Legacy Corporation fka RadioShack
Briarcliff Manor, NY 10510                 12233      1/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Edward Graham
289 Duck Road                                                   RS Legacy Corporation fka RadioShack
Southern Shores, NC 27949                  12234      1/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Laura Porter
322 Green Acres Rd                                              RS Legacy Corporation fka RadioShack
Weatherford, TX 76088                      12235      1/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Charles Gadon
3 Stone Boat Road                                               RS Legacy Corporation fka RadioShack
Old Saybrook, CT 06475                     12236      1/23/2016 Corporation                                                      $2.14                                                                                            $2.14
Maryann Luxeder
602 Woodrow St.                                                 RS Legacy Corporation fka RadioShack
Clinton, NC 28328                          12237      1/23/2016 Corporation                                                     $12.18                                                                                           $12.18
Maureen Delano
1486 Pleasantville Rd                                           RS Legacy Corporation fka RadioShack
Briarcliff Manor, NY 10510                 12238      1/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Maureen Delano
1486 Pleasantville Rd                                           RS Legacy Corporation fka RadioShack
Briarcliff Manor, NY 10510                 12239      1/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Maureen Delano
1486 Pleasantville Rd                                           RS Legacy Corporation fka RadioShack
Briarcliff Manor, NY 10510                 12240      1/23/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Maureen Delano
1486 Pleasantville Rd                                          RS Legacy Corporation fka RadioShack
Briarcliff Manor, NY 10510                12241      1/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Paul
43155 Parkers Ridge Drive                                      RS Legacy Corporation fka RadioShack
Leesburg, va 20176                        12242      1/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Maureen Delano
1486 Pleasantville Rd                                          RS Legacy Corporation fka RadioShack
Briarcliff Manor, NY 10510                12243      1/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Marco Arizmendi
414 West Figueroa st Apt A                                     RS Legacy Corporation fka RadioShack
Santa Barbara, California 93101           12244      1/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Maureen Delano
1486 Pleasantville Rd                                          RS Legacy Corporation fka RadioShack
Briarcliff Manor, NY 10510                12245      1/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Maureen Delano
1486 Pleasantville Rd                                          RS Legacy Corporation fka RadioShack
Briarcliff Manor, NY 10510                12246      1/23/2016 Corporation                                                      $6.05                                                                                            $6.05
Marco Arizmendi
414 West Figueroa apt A                                        RS Legacy Corporation fka RadioShack
Santa Barbara, Califorina 93101           12247      1/23/2016 Corporation                                                      $0.00                                                                                            $0.00
vaughn haydu
728 Innsbruck dr                                               RS Legacy Corporation fka RadioShack
orlando, fl 32825                         12248      1/23/2016 Corporation                                                     $38.00                                                                                           $38.00
vaughn haydu
728 Innsbruck dr                                               RS Legacy Corporation fka RadioShack
orlando, fl 32825                         12249      1/23/2016 Corporation                                                      $6.37                                                                                            $6.37
Eva Higgins
106 Hanahan Court                                              RS Legacy Corporation fka RadioShack
Cary, NC 27513                            12250      1/23/2016 Corporation                                                      $0.00                                                                                            $0.00
enid
2155 grand concourse 6E                                        RS Legacy Corporation fka RadioShack
bronx, ny 10453                           12251      1/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Madhukar Thakur
5998 Pala Mesa Dr                                              RS Legacy Corporation fka RadioShack
San Jose, CA 95123                        12252      1/23/2016 Corporation                                                     $10.00                                                                                           $10.00
Brian Wolferts
6705 SW 28th St                                                RS Legacy Corporation fka RadioShack
Topeka, Kansas 66614                      12253      1/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Noel Wise
1216 Bay St.                                                   RS Legacy Corporation fka RadioShack
Alameda, CA 94501                         12254      1/23/2016 Corporation                                                     $30.48                                                                                           $30.48
Shane Kaylor
4422 Shining Armor Lane                                        RS Legacy Corporation fka RadioShack
West Lafayette, IN 47906                  12255      1/23/2016 Corporation                                                     $50.00                                                                                           $50.00
Ed Heath
8703 Spend A Buck Ct                                           RS Legacy Corporation fka RadioShack
Indianapolis, IN 46217                    12256      1/23/2016 Corporation                                                     $50.00                                                                                           $50.00
Teresa Kava
60‐19 61st Street                                              RS Legacy Corporation fka RadioShack
Maspeth, NY 11378                         12257      1/23/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Daniel Jones
1902 a st September apt c207                                   RS Legacy Corporation fka RadioShack
Auburn, Wa 98002                          12258      1/23/2016 Corporation                                                     $20.00                                                                                           $20.00
chris neumann
80 botany dr.                                                  RS Legacy Corporation fka RadioShack
asheville, nc 28805                       12259      1/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Po‐Ju Chen
9338 Cypress Cove Drive                                        RS Legacy Corporation fka RadioShack
Orlando, FL 32819                         12260      1/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Ben Dailey
6449 s. Mason ave                                              RS Legacy Corporation fka RadioShack
Tacoma, Wa 98409                          12261      1/24/2016 Corporation                                                     $25.00                                                                                           $25.00
logan sage
109 main street                                                RS Legacy Corporation fka RadioShack
albion, RI 02802                          12262      1/24/2016 Corporation                                                      $0.00                                                                                            $0.00
logan sage
109 main street                                                RS Legacy Corporation fka RadioShack
albion, RI 02802                          12263      1/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Jason Brown
2149 Otis Dr #139                                              RS Legacy Corporation fka RadioShack
Alameda, CA 94501                         12264      1/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Steve Melsness
9803 Goodrich AV NE                                            RS Legacy Corporation fka RadioShack
Monticello, MN 55362                      12265      1/24/2016 Corporation                                                      $0.00                                                                                            $0.00
TJ Terrell
3239 Central St #2                                             RS Legacy Corporation fka RadioShack
Dexter, MI 48130                          12266      1/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Joseph Milanowski
2844 Ellwood Ave.                                              RS Legacy Corporation fka RadioShack
Berkley, MI 48072                         12267      1/24/2016 Corporation                                                     $20.00                                                                                           $20.00
Gary Punzak
603 Perry Highway                                              RS Legacy Corporation fka RadioShack
Pittsburgh, Pa 15229                      12268      1/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Tom Gazsi
467 Costa Mesa St                                              RS Legacy Corporation fka RadioShack
Costa Mesa, CA 92627                      12269      1/24/2016 Corporation                                                     $21.46                                                                                           $21.46
Moira McDonough
16460 Lemolo Shore Drive NE                                    RS Legacy Corporation fka RadioShack
Poulsbo, WA 98370                         12270      1/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Lisa Handler
146 W Durham Street                                            RS Legacy Corporation fka RadioShack
Philadelphia, PA 19119                    12271      1/24/2016 Corporation                                                     $50.00                                                                                           $50.00
Keith Osburn
10030 NW Pioneer Rd                                            RS Legacy Corporation fka RadioShack
Seabeck, WA 98380                         12272      1/24/2016 Corporation                                                     $25.00                                                                                           $25.00
carlos rafael prats
2410 sw 25th ter                                               RS Legacy Corporation fka RadioShack
miami, fl 33133                           12273      1/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Gywen wilson
P.O. Box 536                                                   RS Legacy Corporation fka RadioShack
Winters, Tx 79567                         12274      1/24/2016 Corporation                                                     $97.41                                                                                           $97.41




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Misael Venancio
923 Raintree PL.                                               RS Legacy Corporation fka RadioShack
Vista, Ca 92084                           12275      1/24/2016 Corporation                                                     $25.00                                                                                           $25.00
Jason Fisher
7324 Windhaven Rd                                              RS Legacy Corporation fka RadioShack
North Richland Hills, TX 76182            12276      1/24/2016 Corporation                                                      $5.42                                                                                            $5.42
Izak Rosenfeld
8500 Pelham Rd                                                 RS Legacy Corporation fka RadioShack
Bethesda, MD 20817                        12277      1/24/2016 Corporation                                                    $100.00                                                                                          $100.00
Linda Clark
7 Phillips Dr.                                                 RS Legacy Corporation fka RadioShack
Hudson, NH 03051, NH 03051                12278      1/24/2016 Corporation                                                     $22.99                                                                                           $22.99
Rich Taylor
175 Queens Crossing                                            RS Legacy Corporation fka RadioShack
Centerville, OH 45458                     12279      1/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Debra Ridlen
4686 Shady Ridge Row                                           RS Legacy Corporation fka RadioShack
Greenwood, Indiana 46143                  12280      1/24/2016 Corporation                                                     $10.00                                                                                           $10.00
Pavan kumar sannapareddy
2050 southwest expy, apt 40                                    RS Legacy Corporation fka RadioShack
san jsoe, CA 95126                        12281      1/25/2016 Corporation                                                      $0.00                                                                                            $0.00
corinne broza
35 Acton Street, Unit 1                                        RS Legacy Corporation fka RadioShack
Nashua, NH 03060                          12282      1/25/2016 Corporation                                                    $200.00                                                                                          $200.00
Henry, Themla
412 Ben. Franklin Rd                                           RS Legacy Corporation fka RadioShack
Indiana, PA 15701                         12283      1/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Gina Galindo
631 W Olive Avenue                                             RS Legacy Corporation fka RadioShack
Turlock, ca 95380                         12284      1/25/2016 Corporation                                                     $50.00                                                                                           $50.00
Ahmed Abood
1201 Briarly ct apt 3                                          RS Legacy Corporation fka RadioShack
Louisvill, Kentucky 40222                 12285      1/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Tracey Schneider
2123 Canyon Lake Dr                                            RS Legacy Corporation fka RadioShack
Canyon Lake, TX 78133                     12286      1/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Leong C Loh
40‐54 69th STREET                                              RS Legacy Corporation fka RadioShack
WOODISDE, NY 11377                        12287      1/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Leong C Loh
40‐54 69th STREET                                              RS Legacy Corporation fka RadioShack
WOODSIDE, NY 11377                        12288      1/25/2016 Corporation                                                      $0.00                                                                                            $0.00
John N. McGrath
2601 Pennsylvania Ave., apt 1222                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19130                    12289      1/25/2016 Corporation                                                    $100.00                                                                                          $100.00
Mayra Matos Martinez
HC 71 Box 7265                                                 RS Legacy Corporation fka RadioShack
Cayey, PR 00736‐9557                      12290      1/25/2016 Corporation                                                     $50.00                                                                                           $50.00
Jennifer Monahan
43 Penn Circle                                                 RS Legacy Corporation fka RadioShack
Holland, PA 18966                         12291      1/25/2016 Corporation                                                     $11.23                                                                                           $11.23




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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
nisha patel
701 n linden drive                                             RS Legacy Corporation fka RadioShack
beverly hlls, ca 90210                    12292      1/25/2016 Corporation                                                     $15.25                                                                                           $15.25
Murtaugh, C. Denise
13613 Thornhope Rd.                                            RS Legacy Corporation fka RadioShack
Cleveland, OH 44135                       12293      1/20/2016 Corporation                                                     $19.97                                                                                           $19.97
Juliana Opsahl
1509 Young Avenue                                              RS Legacy Corporation fka RadioShack
Clearwater, FL 33756                      12294      1/25/2016 Corporation                                                     $50.00                                                                                           $50.00
Pergolizzi, James
264 Helm Ln                                                    RS Legacy Corporation fka RadioShack
Bay Shore, NY 11706                       12295      1/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Delmus Gobble
2208 Naples Way                                                RS Legacy Corporation fka RadioShack
Edmond, OK 73034                          12296      1/25/2016 Corporation                                                      $0.00                                                                                            $0.00
beth stewart
915 New Hope Rd                                                RS Legacy Corporation fka RadioShack
Elsberry, mo 63343                        12297      1/25/2016 Corporation                                                     $91.90                                                                                           $91.90
Poppie, Benjamin
3720 S normal ave                                              RS Legacy Corporation fka RadioShack
Chicago, IL 60609                         12298      1/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Arguelles, Ramon F.
4201 Derby Drive                                               RS Legacy Corporation fka RadioShack
Davie, FL 33330                           12299      1/19/2016 Corporation                                                     $15.00                                                                                           $15.00
Marx, Wendy
3160 N. 35th St                                                RS Legacy Corporation fka RadioShack
Hollywood, FL 33021‐2630                  12300      1/20/2016 Corporation                                                     $15.00                                                                                           $15.00
Allen, Cody
15050 Burbank Blvd. #31                                        RS Legacy Corporation fka RadioShack
Sherman Oaks, CA 91411                    12301      1/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Vincent Troiano
908 East End Road                                              RS Legacy Corporation fka RadioShack
Newton, NJ 07860                          12302      1/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Mary Bahrs
10004 Thornwood Road                                           RS Legacy Corporation fka RadioShack
Kensington, MD 20895                      12303      1/25/2016 Corporation                                                      $0.20                                                                                            $0.20
Marks, Bruce S.
5548 S. Hillside St.                                           RS Legacy Corporation fka RadioShack
Greenwood Village, CO 80111               12304      1/16/2016 Corporation                                                                         $0.00                                                                         $0.00
Beth Stewart
915 New Hope Rd                                                RS Legacy Corporation fka RadioShack
elsberry, mo 63343                        12305      1/25/2016 Corporation                                                     $26.92                                                                                           $26.92
Dams, Terryn
6031 Shenandoah Ave
Los Angeles, CA 90056                     12306      1/18/2016 RS Ig Holdings Incorporated                                      $0.00                                                    $0.00                                   $0.00
Swanagan, Regina
18141 Star Jasmin ct.                                          RS Legacy Corporation fka RadioShack
Lehigh Acres , FL 33972                   12307      1/20/2016 Corporation                                                     $25.00                                                                                           $25.00
Freeman, Valorie
15427 S. Hwy 11                                                RS Legacy Corporation fka RadioShack
Fair Play, SC 29643                       12308      1/20/2016 Corporation                                                     $33.94                                                                                           $33.94




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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Self, Candice
67 Hason PL Apt #3F                                            RS Legacy Corporation fka RadioShack
Brooklyn, NY 11217                        12309      1/20/2016 Corporation                                                    $176.00                                                                                          $176.00
Toepfer, Rudy
1913 n 38th ST                                                 RS Legacy Corporation fka RadioShack
Seattle, WA 98103                         12310      1/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Baccaire, Stephanie
1120 Atwood Avenue                                             RS Legacy Corporation fka RadioShack
Johnston, RI 02919                        12311      1/18/2016 Corporation                                                      $0.00              $0.00                                 $0.00                                   $0.00
PERRY, BARBRA
29 CLIFFORD ST                                                 RS Legacy Corporation fka RadioShack
TAUNTON, MA 02780                         12312      1/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Rehm, Judy
212 Garden Street                                              RS Legacy Corporation fka RadioShack
Lockport, NY 14094                        12313      1/21/2016 Corporation                                                     $10.00                                                                                           $10.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          12314      1/2/2016 Corporation                                                                                                                                                        $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          12315      1/2/2016 Corporation                                                                                                                                                        $0.00
Cathedral of Our Lady of Guadalupe
PO Box 670                                                     RS Legacy Corporation fka RadioShack
Dodge City, KS 67801                      12316      1/25/2016 Corporation                                                    $250.00                                                                                          $250.00
Green, Lynn
1103 King St.                                                  RS Legacy Corporation fka RadioShack
Grandoiew, WA 98930                       12317      1/20/2016 Corporation                                                      $9.17                                                                                            $9.17
Green, Lynn
1103 King Street                                               RS Legacy Corporation fka RadioShack
Grandview, WA 98930                       12318      1/20/2016 Corporation                                                     $23.19                                                                                           $23.19
Jackie Tibbs
1361 Kitmore Rd                                                RS Legacy Corporation fka RadioShack
Baltimore, Md 21239                       12319      1/25/2016 Corporation                                                     $20.00                                                                                           $20.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          12320      1/2/2016 Corporation                                                                                                                                                        $0.00
Reese, Delois
815 58th Ave. Dr. East                                         RS Legacy Corporation fka RadioShack
Bradenton, FL 34203                       12321      1/20/2016 Corporation                                                     $30.00                                                                                           $30.00
Gurley, Tammie
3852 Leisure Lane                                              RS Legacy Corporation fka RadioShack
Denton, TX                                12322      1/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          12323      1/2/2016 Corporation                                                                                                                                                        $0.00
Green, Tracy
201 Carter St SW                                               RS Legacy Corporation fka RadioShack
Mitchellville, IA 50169                   12324      1/24/2016 Corporation                                                      $6.86                                                                                            $6.86
Michael Rutherford
271 Samoa Dr                                                   RS Legacy Corporation fka RadioShack
Akron, OH 44319                           12325      1/25/2016 Corporation                                                      $0.00                                                                                            $0.00
carl lindberg
1120 e algonquin 3f                                            RS Legacy Corporation fka RadioShack
Schaumburg, il 60173                      12326      1/25/2016 Corporation                                                    $100.00                                                                                          $100.00




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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Lizotte, Daniel
12766 Seminole Blvd #62                                        RS Legacy Corporation fka RadioShack
Largo , FL 33778                          12327      1/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          12328      1/25/2016 Corporation                                                                                                                                                       $0.00
Smith, Melba D.
2450 Old Newman Road                                           RS Legacy Corporation fka RadioShack
Carrollton, GA 30116                      12329      1/20/2016 Corporation                                                     $17.39                                                                                           $17.39
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          12330      1/21/2016 Corporation                                                                                                                                                       $0.00
Fuller, Roy
359 1st Rt 39                                                  RS Legacy Corporation fka RadioShack
Shelby, OH 44875                          12331      1/21/2016 Corporation                                                     $21.35                                                                                           $21.35
Carol Ward
7438 Trade Street                                              RS Legacy Corporation fka RadioShack
San Diego, Ca 92121                       12332      1/25/2016 Corporation                                                     $22.21                                                                                           $22.21
Smith, Bonnie Margaret
5200 Patterson Farm Road                                       RS Legacy Corporation fka RadioShack
Baldwin, MD 21013‐9362                    12333      1/20/2016 Corporation                                                     $31.94                                                                                           $31.94
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          12334      1/25/2016 Corporation                                                                                                                                                       $0.00
Gabriel, Antoine
2021 S. Morgan Apt 209                                         RS Legacy Corporation fka RadioShack
Chicago, IL 60608                         12335      1/20/2016 Corporation                                                    $850.00                                                                                          $850.00
Cummings, Marie
339 Eastern st.‐Apt B403                                       RS Legacy Corporation fka RadioShack
New Haven, CT 06513                       12336      1/25/2016 Corporation                                                     $10.00                                                                                           $10.00
King, Arielle
7 Forest Knoll Drive                                           RS Legacy Corporation fka RadioShack
Suffen, NY 10901                          12337      1/25/2016 Corporation                                                     $25.00                                                                                           $25.00
Petersen, Don A.
1004 Bluff St                                                  RS Legacy Corporation fka RadioShack
Cedar Falls , IA 50613                    12338      1/20/2016 Corporation                                                     $25.00                                                                                           $25.00
Brandon Verrault
7 Cherry Brook Lane                                            RS Legacy Corporation fka RadioShack
East Windsor, NJ 08520                    12339      1/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Hamasaki, Derek
PO Box 701235                                                  RS Legacy Corporation fka RadioShack
Kapolei, HI 96709                         12340      1/25/2016 Corporation                                                     $60.00                                                                                           $60.00
DeVincenzo, Jared
1 Central Ave Unit 1                                           RS Legacy Corporation fka RadioShack
Atlantic Highlands, NJ 07716              12341      1/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Milot, Priscilla A.
103 Prospect Hill Street                                       RS Legacy Corporation fka RadioShack
Taunton, MA 02780                         12342      1/22/2016 Corporation                                                     $25.00                                                                                           $25.00
William Elliott
8511s 1000w                                                    RS Legacy Corporation fka RadioShack
Covington, Indiana 47932                  12343      1/25/2016 Corporation                                                     $50.00                                                                                           $50.00
Denise Meech
23 Essex Road                                                  RS Legacy Corporation fka RadioShack
Sharon, MA 02067                          12344      1/25/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Flora Eskenazi
1 Baldwin Ave. Apt 1014                                        RS Legacy Corporation fka RadioShack
San Mateo, CA 94401                       12345      1/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Jason Murdock
699 VZ CR 3703                                                 RS Legacy Corporation fka RadioShack
Wills Point, Tx 75169                     12346      1/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Joshua Dowers
2601 West Ave Apt 404                                          RS Legacy Corporation fka RadioShack
Newport News, VA 23607                    12347      1/26/2016 Corporation                                                    $436.21                                                                                          $436.21
Girish Welling
1 Sky Country Dr                                               RS Legacy Corporation fka RadioShack
Nashua, NH 03062                          12348      1/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Audrey Ewert
2321 4 Ave N W                                                 RS Legacy Corporation fka RadioShack
Rochester, MN 55901                       12349      1/26/2016 Corporation                                                     $25.00                                                                                           $25.00
Afeworki Paulos
47095 Stumptown Road                                           RS Legacy Corporation fka RadioShack
Cadiz, OH 43907                           12350      1/26/2016 Corporation                                                    $289.56                                                                                          $289.56
Diane McClintock
7 Carriage Lane                                                RS Legacy Corporation fka RadioShack
Hamilton, MA 01982                        12351      1/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Jeff Trotz
6892 jonathan ave                                              RS Legacy Corporation fka RadioShack
cypress, ca 90630                         12352      1/26/2016 Corporation                                                     $17.95                                                                                           $17.95
Anthony P. Cianfarani
91 Skyway Dr                                                   RS Legacy Corporation fka RadioShack
scotia, NY 12302                          12353      1/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Jared DeVincenzo
1 Central Ave Unit 1                                           RS Legacy Corporation fka RadioShack
Atlantic Highlands, NJ 07716              12354      1/26/2016 Corporation                                                      $0.00                                                                                            $0.00
David G Wilcox
672 Euclid Ave                                                 RS Legacy Corporation fka RadioShack
Long Beach, CA 90814                      12355      1/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Steve Drimones
3 Maljim Ct.                                                   RS Legacy Corporation fka RadioShack
Wayne, NJ 07470                           12356      1/26/2016 Corporation                                                      $7.21                                                                                            $7.21
Babita Dhawan
26596 Durham Way                                               RS Legacy Corporation fka RadioShack
Hayward, CA 94542                         12357      1/26/2016 Corporation                                                      $0.00                                                                                            $0.00
KEVIN A NGUYEN
1809 SE 1ST ST                                                 RS Legacy Corporation fka RadioShack
MOORE, OK 73160‐8115                      12358      1/26/2016 Corporation                                                    $100.00                                                                                          $100.00
Laux, Susan
85 Fallingstar                                                 RS Legacy Corporation fka RadioShack
Irvine, CA 92614                          12359      1/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Scott Carney
1024 Dixon Ave                                                 RS Legacy Corporation fka RadioShack
Louisville, KY 40217                      12360      1/26/2016 Corporation                                                     $21.18                                                                                           $21.18
Lano, Anotoinette M.
2378 Engelwood Drive                                           RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15241                      12361      1/26/2016 Corporation                                                     $20.00                                                                                           $20.00




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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Soliman, Samuel
6175 Canterbury Dr #105                                        RS Legacy Corporation fka RadioShack
Colver City, CA 90230                     12362      1/26/2016 Corporation                                                     $16.41                                                                                           $16.41
Peltzie, Gerald
70 East 107th St.                                              RS Legacy Corporation fka RadioShack
Kansas City, MO 64114                     12363      1/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Main Jr., Barry E
186 Abbott st                                                  RS Legacy Corporation fka RadioShack
Bennington , Vt 05201                     12364      1/26/2016 Corporation                                                      $4.16                                                                                            $4.16
Scharff, Cindy
4328 S. 174th Ave                                              RS Legacy Corporation fka RadioShack
Omaha, NE 68135                           12365      1/26/2016 Corporation                                                     $15.00                                                                                           $15.00
Ferch, Daniel
3840 Hartung Ct.                                               RS Legacy Corporation fka RadioShack
Newbury Park, CA 91320                    12366      1/23/2016 Corporation                                                                         $0.00                                 $0.00                                   $0.00
Kopacz, Lisa A.
5637 Young Road                                                RS Legacy Corporation fka RadioShack
Lockport, NY 14094                        12367      1/23/2016 Corporation                                                                                           $0.00               $0.00                                   $0.00
Uminski, Denis J.
95 Columbia Blvd.                                              RS Legacy Corporation fka RadioShack
Kenmore, NY 14217                         12368      1/20/2016 Corporation                                                      $6.75                                                                                            $6.75
Broadway, Dontreli
351 Chaparral Rd #1701                                         RS Legacy Corporation fka RadioShack
Allen, TX 75002                           12369      1/20/2016 Corporation                                                     $40.00                                                                                           $40.00
Hall, Christina
233 Heritage Ct.                                               RS Legacy Corporation fka RadioShack
Walkersville, MD 21793                    12370      1/20/2016 Corporation                                                     $25.00                                                                                           $25.00
Pline, Kathy
3220 W. Summerband Ct.                                         RS Legacy Corporation fka RadioShack
Peoria, IL 61615                          12371      1/20/2016 Corporation                                                     $16.22                                                                                           $16.22
Webb, Dianne
5154 James Stone Rd                                            RS Legacy Corporation fka RadioShack
Cedar Hill, TN 37032                      12372      1/20/2016 Corporation                                                     $20.00                                                                                           $20.00
Bledsoe, Richard P.
303 Thomas                                                     RS Legacy Corporation fka RadioShack
Midland, TX 79703                         12373      1/20/2016 Corporation                                                     $16.24                                                                                           $16.24
Hall, Christina
233 Heritage Ct.                                               RS Legacy Corporation fka RadioShack
Walkersville, MD 21793                    12374      1/20/2016 Corporation                                                     $25.00                                                                                           $25.00
Suzy Watson
878 Riverwood Drive                                            RS Legacy Corporation fka RadioShack
San Angelo, TX 76905                      12375      1/26/2016 Corporation                                                     $92.00                                                                                           $92.00
Craig, Shirley
PO Box 5236                                                    RS Legacy Corporation fka RadioShack
Hilton Head Island, SC 29938              12376      1/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Hall, Christina
233 Heritage Ct.                                               RS Legacy Corporation fka RadioShack
Walkersville, MD 21793                    12377      1/20/2016 Corporation                                                     $25.00                                                                                           $25.00
Gutierrez, Wanda
643 West 172 Street Apt 25                                     RS Legacy Corporation fka RadioShack
New York, NY 10032                        12378      1/20/2016 Corporation                                                    $108.86                                                                                          $108.86




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                                                                                                                  Current General                                            Current 503(b)(9)
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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Allen, Cody
15050 Burbank Blvd. #31                                        RS Legacy Corporation fka RadioShack
Sherman Oaks, CA 91411                    12379      1/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Peachey, Kendall
788 Forest Ave.                                                RS Legacy Corporation fka RadioShack
Bellefonte, PA 16823                      12380      1/20/2016 Corporation                                                    $250.00                                                                                          $250.00
Price, Arnold
3274 Sedwick Circle                                            RS Legacy Corporation fka RadioShack
Loveland, CO 80538                        12381      1/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Marx, Jeff
3160 N. 35th St.                                               RS Legacy Corporation fka RadioShack
Hollywood, FL 33021                       12382      1/20/2016 Corporation                                                     $11.00                                                                                           $11.00
Sharkey, Helena
49 Moore TER                                                   RS Legacy Corporation fka RadioShack
WEST ORANGE , NJ 07052                    12383      1/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Olivares, Roberto
681 N. Saginaw Blvd. #1128                                     RS Legacy Corporation fka RadioShack
Solginolw, TX 76179                       12384      1/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Allen, Phillis
3540 So. St Francis                                            RS Legacy Corporation fka RadioShack
Wichita, KS 67216                         12385      1/20/2016 Corporation                                                     $25.00                                                                                           $25.00
Kaiser, Stephanie
51 Passaic Valley Rd                                           RS Legacy Corporation fka RadioShack
Montville, NJ 07045                       12386      1/20/2016 Corporation                                                     $17.92                                                                                           $17.92
Peck, James
10030 FM 1013                                                  RS Legacy Corporation fka RadioShack
Hillister, TX 77624                       12387      1/20/2016 Corporation                                                    $108.24                                                                                          $108.24
Cynthia, Allen
15 View Road                                                   RS Legacy Corporation fka RadioShack
Pulaski, NY 13142                         12388      1/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Montgomery County
Linebarger Goggan Blair & Sampson LLP
PO BOX 3064                                                    RS Legacy Corporation fka RadioShack
Houston, TX 77253                         12389      1/19/2016 Corporation                                                                                      $13,484.52                                                  $13,484.52
Lisa Murray, Program Director
WCMHN‐Waterbury Young Adult Services
1669 Thompston Ave                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  12390      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Abood, Ahmed
1201 Briarly ct apt 3                                          RS Legacy Corporation fka RadioShack
Louisville, KY 40222                      12391      1/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Morton, Alicia
1990 Kimball Lane                                              RS Legacy Corporation fka RadioShack
Waukee, LA 50263                          12392      1/20/2016 Corporation                                                     $75.00                                                                                           $75.00
Powers‐Neeld, Michele
11388 Holshoe Rd.                                              RS Legacy Corporation fka RadioShack
Homerville, OH 44235                      12393      1/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Harris , Fredericka
PO Box 451                                                     RS Legacy Corporation fka RadioShack
McKinney, TX 75070                        12394      1/20/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Martin, Patricia A.
7655 Watson Rd., Apt 416                                       RS Legacy Corporation fka RadioShack
St. Louis, MO 63119                       12395      1/20/2016 Corporation                                                     $75.62                                                                                           $75.62
Prince George's County, Maryland
Meyers, Rodbell & Rosenbaum, P.A.
6801 Kenilworth Ave., Ste 400                                  RS Legacy Corporation fka RadioShack
Riverdale Park, MD 20737                  12396      1/25/2016 Corporation                                                                                         $608.64                                                     $608.64
Venturin, CoCo
645 S. Lakeview Drive                                          RS Legacy Corporation fka RadioShack
Lowell, IN 46356                          12397      1/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Shaver, Linda
2301 Edgefield Rd                                              RS Legacy Corporation fka RadioShack
Trenton, SC 29847                         12398      1/19/2016 Corporation                                                     $96.96                                                                                           $96.96
Burgess, Steven A.
12 Duffryn Ave                                                 RS Legacy Corporation fka RadioShack
Malvern, PA 19355‐3038                    12399      1/25/2016 Corporation                                                     $84.74                                                                                           $84.74
Grimes, Jeana
320 E. 1st St.                                                 RS Legacy Corporation fka RadioShack
Madrid, IA 50156                          12400      1/26/2016 Corporation                                                     $15.90                                                                                           $15.90
Amaral, Lilliam Ruiz
Estancias de Santa Barbara
24 Canaria                                                     RS Legacy Corporation fka RadioShack
Gurabo, PR 00778                          12401      1/19/2016 Corporation                                                     $50.00                                                                                           $50.00
Monnes, Frederick M.
43 Washington RD                                               RS Legacy Corporation fka RadioShack
Cromwell, CT 06416                        12402      1/19/2016 Corporation                                                     $15.92                                                                                           $15.92
Auerbach, Martin E.
12801 N. Central Expy, STE 1500                                RS Legacy Corporation fka RadioShack
Dallas, TX 75243                          12403      1/19/2016 Corporation                                                     $25.00                                                                                           $25.00
Robert Mistretta
305 East 86th Street, Apt. 17SW                                RS Legacy Corporation fka RadioShack
New York, NY 10028                        12404      1/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Mike Swintek
510 Horizon Drive                                              RS Legacy Corporation fka RadioShack
Brockway, PA 15824                        12405      1/26/2016 Corporation                                                     $10.00                                                                                           $10.00
Laurent Mais
401 Stannage avenue #10                                        RS Legacy Corporation fka RadioShack
Albany, Ca 94706                          12406      1/26/2016 Corporation                                                     $10.00                                                                                           $10.00
Cesar Uribe
23901 Civic Center Way Apt 120                                 RS Legacy Corporation fka RadioShack
Malibu, CA 90265                          12407      1/26/2016 Corporation                                                     $50.00                                                                                           $50.00
Heather Fields
1204 10th Street NOrth                                         RS Legacy Corporation fka RadioShack
jacksonville beach, fl 32250              12408      1/26/2016 Corporation                                                     $21.91                                                                                           $21.91
Prince George's County, Maryland
Meyers, Rodbell & Rosenbaum, P.A.
6801 Kenilworth Ave., Ste. 400                                 RS Legacy Corporation fka RadioShack
Riverdale Park, MD 20737                  12409      1/25/2016 Corporation                                                                                         $697.79                                                     $697.79
Tejinder chohan
9464 126 street                                                RS Legacy Corporation fka RadioShack
Surrey, BC V3v 5c5                        12410      1/26/2016 Corporation                                                     $43.47                                                                                           $43.47




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Jones, Carolyn
5959 Nankin Road                                               RS Legacy Corporation fka RadioShack
Valdosta, GA 31601                        12411      1/26/2016 Corporation                                                     $20.00                                                                                           $20.00
Dorr, Susan K.
40 Cooper Street                                               RS Legacy Corporation fka RadioShack
Machias, ME 04654                         12412      1/26/2016 Corporation                                                     $50.00                                                                                           $50.00
J. A, Pizzolato
405 Fairway Green                                              RS Legacy Corporation fka RadioShack
Mamaroneck, NY 10543                      12413      1/26/2016 Corporation                                                     $14.27                                                                                           $14.27
Zerbon, Catherine
129 Leslie                                                     RS Legacy Corporation fka RadioShack
Bolingbrook, IL 60440                     12414      1/26/2016 Corporation                                                     $17.39                                                                                           $17.39
Debbie Walker
2 Beacon Tree Rd                                               RS Legacy Corporation fka RadioShack
Savannah, GA 31419                        12415      1/26/2016 Corporation                                                      $0.14                                                                                            $0.14
Steve Rossi
1585 Bay Hill Circle                                           RS Legacy Corporation fka RadioShack
Sarasota,fl, 34232 34232                  12416      1/26/2016 Corporation                                                      $0.17                                                                                            $0.17
King, Arielle
7 Forest Knoll Drive                                           RS Legacy Corporation fka RadioShack
Suffen, NY 10901                          12417      1/26/2016 Corporation                                                     $25.00                                                                                           $25.00
Tyson, Charles
34284 Corcoran Hill Lane                                       RS Legacy Corporation fka RadioShack
Davis, CA 95616                           12418      1/25/2016 Corporation                                                     $54.24                                                                                           $54.24
Snook, Eleanor
PO Box 1813                                                    RS Legacy Corporation fka RadioShack
Simivalley , CA 93062                     12419      1/26/2016 Corporation                                                     $36.88                                                                                           $36.88
Christine Clarke
11555 NW 39 Place                                              RS Legacy Corporation fka RadioShack
Coral Springs, 33065 florida              12420      1/26/2016 Corporation                                                     $25.00                                                                                           $25.00
Michael Stein
75 Southport Cove                                              RS Legacy Corporation fka RadioShack
Bonita Springs, FL 34134                  12421      1/26/2016 Corporation                                                     $42.39                                                                                           $42.39
Barry , Jeff
7575 N Adams Central Ave                                       RS Legacy Corporation fka RadioShack
Hastings , NE 68901‐1708                  12422      1/26/2016 Corporation                                                     $48.14                                                                                           $48.14
Ginsberg, Bernard
1018 Pacific St., Apt A                                        RS Legacy Corporation fka RadioShack
Santa Monica, CA 90405                    12423      1/26/2016 Corporation                                                     $98.76                                                                                           $98.76
Epstein, Rebecca
10700 McFarlie Cove                                            RS Legacy Corporation fka RadioShack
Austin, TX 78750                          12424      1/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Terranova, Sam
6079 Towawanda Creek Rd                                        RS Legacy Corporation fka RadioShack
Lockport , NY 14094                       12425      1/26/2016 Corporation                                                     $10.80                                                                                           $10.80
Hamasaki, Artess
P.O. Box 701235                                                RS Legacy Corporation fka RadioShack
Kapolei, HI 96709                         12426      1/26/2016 Corporation                                                     $60.00                                                                                           $60.00
Foster, Debbie
12 Grubb Rd.                                                   RS Legacy Corporation fka RadioShack
Malvern, PA 19355                         12427      1/26/2016 Corporation                                                     $31.79                                                                                           $31.79




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Myers, William C.
2135 Missouri Avenue                                           RS Legacy Corporation fka RadioShack
Belleville, IL 62220                      12428      1/26/2016 Corporation                                                     $25.00                                                                                           $25.00
Narmin Ghobrial
109 Newark Pompton Tpke                                        RS Legacy Corporation fka RadioShack
Little Falls, NJ 07424                    12429      1/26/2016 Corporation                                                     $42.79                                                                                           $42.79
Prince George's County, Maryland
Meyers, Rodbell & Rosenbaum, P.A.
6801 Kenilworth Ave., Ste. 400                                 RS Legacy Corporation fka RadioShack
Riverdale Park, MD 20737                  12430      1/25/2016 Corporation                                                                                      $23,072.80                                                  $23,072.80
Floy Rentz
119 Tarwood Lane                                               RS Legacy Corporation fka RadioShack
Lexington, SC 29073                       12431      1/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Lauren Zekoff
106 Meghan Lane                                                RS Legacy Corporation fka RadioShack
Madison, AL 35758                         12432      1/26/2016 Corporation                                                      $3.67                                                                                            $3.67
Mark Johnson
6711 Chancellor Drive                                          RS Legacy Corporation fka RadioShack
Spring, TX 77379                          12433      1/26/2016 Corporation                                                     $50.00                                                                                           $50.00
Cedra Rockwood
13 Placitas Trails Rd, Unit C                                  RS Legacy Corporation fka RadioShack
Placitas, NM 87043                        12434      1/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          12435      1/27/2016 Corporation                                                                                                                                                       $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          12436      1/27/2016 Corporation                                                                                                                                                       $0.00
Nicole Cruz
107 President Street, #1                                       RS Legacy Corporation fka RadioShack
Brooklyn, NY 11231                        12437      1/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          12438      1/27/2016 Corporation                                                                                                                                                       $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          12439      1/27/2016 Corporation                                                                                                                                                       $0.00
O'Donovan, Yvonne
19 Edgeworth Road                                              RS Legacy Corporation fka RadioShack
Qunicy, MA 02171                          12440      1/25/2016 Corporation                                                     $84.09                                                                                           $84.09
Carhart, Elaine
4222 Foxview Ct                                                RS Legacy Corporation fka RadioShack
Lake Worth, FL 33467                      12441      1/27/2016 Corporation                                                      $0.00                                                                                            $0.00
joe magliolo
2606 carolina way                                              RS Legacy Corporation fka RadioShack
Houston, Texas 77005                      12442      1/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Rob Rodriguez
3275 Atlanta Blvd                                              RS Legacy Corporation fka RadioShack
Portage, IN 46368                         12443      1/27/2016 Corporation                                                      $4.09                                                                                            $4.09
Andrew Miller
440 forsyth rd                                                 RS Legacy Corporation fka RadioShack
Salem, CT 06420                           12444      1/27/2016 Corporation                                                     $20.00                                                                                           $20.00
Zhen Q. Lei
50 Bay 38th Street                                             RS Legacy Corporation fka RadioShack
Brooklyn, NY 11214                        12445      1/27/2016 Corporation                                                     $26.50                                                                                           $26.50




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Vincent Perry
PO Box 26523                                                   RS Legacy Corporation fka RadioShack
Raleigh, NC 27611                         12446      1/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Loretta Breedveld
24 Maple Avenue                                                RS Legacy Corporation fka RadioShack
Warwick, NY 10990                         12447      1/27/2016 Corporation                                                      $0.00                                                                                            $0.00
theodore tsembelis
135 Deerwood lane                                              RS Legacy Corporation fka RadioShack
grand Island,ny 14072, ny 14072           12448      1/27/2016 Corporation                                                     $42.00                                                                                           $42.00
Leslie Bishop
7626 Pea Ridge Rd                                              RS Legacy Corporation fka RadioShack
Hillsboro, Ohio 45133‐8225                12449      1/27/2016 Corporation                                                     $20.00                                                                                           $20.00
Johnston, Suzanne
18 Shire Oaks Drive                                            RS Legacy Corporation fka RadioShack
Pittsford, NY 14534                       12450      1/26/2016 Corporation                                                     $64.80                                                                                           $64.80
Prince George's County, Maryland
Meyers, Rodbell & Rosenbaum, P.A.
6801 Kenilworth Ave., Ste 400                                  RS Legacy Corporation fka RadioShack
Riverdale Park, MD 20737                  12451      1/25/2016 Corporation                                                      $0.00                            $3,826.58                                                   $3,826.58
Prince George's County, Maryland
Meyers, Rodbell & Rosenbaum, P.A.
6801 Kenilworth Ave., Ste 400                                  RS Legacy Corporation fka RadioShack
Riverdale Park, MD 20737                  12452      1/25/2016 Corporation                                                                                       $2,312.70                                                   $2,312.70
Prince George's County, Maryland
Meyers, Rodbell & Rosenbaum, P.A.
6801 Kenilworth Ave., Ste 400                                  RS Legacy Corporation fka RadioShack
Riverdale Park, MD 20737                  12453      1/25/2016 Corporation                                                                                       $1,912.85                                                   $1,912.85
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          12454      3/7/2016 Corporation                                                                                                                                                        $0.00
Prince George's County, Maryland
Meyers, Rodbell & Rosenbaum, P.A.
6801 Kenilworth Ave., Ste. 400                                 RS Legacy Corporation fka RadioShack
Riverdale Park , MD 20737                 12455      1/25/2016 Corporation                                                                                         $541.86                                                     $541.86
Hawkins, Danielle
140 Nutwood Ave                                                RS Legacy Corporation fka RadioShack
Schenectady, NY 12304                     12456      1/25/2016 Corporation                                                    $107.00                                                                                          $107.00
Bennett, Nina
7 Thomas Rice Dr                                               RS Legacy Corporation fka RadioShack
Westborough, MA 01581                     12457      1/25/2016 Corporation                                                     $14.32                                                                                           $14.32
Steven Yow
200 Kinderkamack Road                                          RS Legacy Corporation fka RadioShack
Oradell, NJ 07649                         12458      1/27/2016 Corporation                                                     $20.13                                                                                           $20.13
Woo, Aileen
112 Bluebird Court                                             RS Legacy Corporation fka RadioShack
Hercules, CA 94547                        12459      1/27/2016 Corporation                                                     $17.00                                                                                           $17.00
Suleski, Richard
3429 Rock Creek Dr.                                            RS Legacy Corporation fka RadioShack
Port Charlotte, FL 33948                  12460      1/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Petty, Glenn
3268 Greensmill Rd                                             RS Legacy Corporation fka RadioShack
Spring Hill, TN 37174                     12461      1/25/2016 Corporation                                                    $100.00                                                                                          $100.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Trone, Robert
190 Scraggle Point Road                                        RS Legacy Corporation fka RadioShack
Spruce Head, ME 04859                     12462      1/25/2016 Corporation                                                      $4.01                                                                                            $4.01
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          12463      3/7/2016 Corporation                                                                                                                                                        $0.00
Kempf, Karen
1501 Challenger Ct W                                           RS Legacy Corporation fka RadioShack
Jacksonville, FL 32233‐4638               12464      1/25/2016 Corporation                                                     $10.00                                                                                           $10.00
Martin, Diane E.
3319 227th St. Ct. E.                                          RS Legacy Corporation fka RadioShack
Spanaway, WA 98387                        12465      1/25/2016 Corporation                                                     $16.39                                                                                           $16.39
Christensen, Raymond D.
2528 Quincy Ave                                                RS Legacy Corporation fka RadioShack
Long Beach, CA 90815                      12466      1/25/2016 Corporation                                                     $10.59                                                                                           $10.59
Castro, Rafael
7028 Mayflower Ave                                             RS Legacy Corporation fka RadioShack
Bell, CA 90201                            12467      1/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Crawford, Kelly
7321 NW 21st St                                                RS Legacy Corporation fka RadioShack
Ankeny, IA 50023                          12468      1/25/2016 Corporation                                                     $20.00                                                                                           $20.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          12469      3/7/2016 Corporation                                                                                                                                                        $0.00
Halus, Siegfried
307 Lomita Street                                              RS Legacy Corporation fka RadioShack
Santa Fe, NM 87505                        12470      1/18/2016 Corporation                                                                                                               $0.00                                   $0.00
Bawany, Rukhsana
7302 Girard Dr.                                                RS Legacy Corporation fka RadioShack
Las Vegas, NV 89147                       12471      1/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Farrow, Phyllis
351 E Bear Grass Rd                                            RS Legacy Corporation fka RadioShack
Longs, SC 29568                           12472      1/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Lisa Murray, Program Director
WCMHN‐Waterbury Young Adult Services
1669 Thompston Ave                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  12473      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Vargo, Don
21439 South Lakewoods Lane                                     RS Legacy Corporation fka RadioShack
Shorewood, IL 60404                       12474      1/13/2016 Corporation                                                     $70.00                                                                                           $70.00
Agranoff, Larry
28 Elderwood Dr                                                RS Legacy Corporation fka RadioShack
St. James, NY 11780                       12475      1/13/2016 Corporation                                                     $48.32                                                                                           $48.32
Stanton, Derald
3292 Panorama Ln.                                              RS Legacy Corporation fka RadioShack
Traverse City, MI 49684                   12476      1/13/2016 Corporation                                                     $12.51                                                                                           $12.51
Freeman, Diana B
226 Marshall Acres Dr                                          RS Legacy Corporation fka RadioShack
Summerville , SC 29486                    12477      1/13/2016 Corporation                                                     $65.09                                                                                           $65.09
Lugo, Frank
PO Box 414                                                     RS Legacy Corporation fka RadioShack
New Madrid, MO 63869                      12478      1/13/2016 Corporation                                                      $5.40                                                                                            $5.40




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Lisa Murray, Program Director
WCMHN‐Waterbury Young Adult Services
1669 Thompston Ave                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  12479      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Lisa Murray, Program Director
WCMHN‐Waterbury Young Adult Services
1669 Thomaston Av                                              RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  12480      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Anderson, Mark E.
6514 24th Ave                                                  RS Legacy Corporation fka RadioShack
Kenosha, WI 53143‐4711                    12481      1/13/2016 Corporation                                                     $15.00                                                                                           $15.00
Murray, Lisa, Program Director
WCMHN‐Waterbury Young Adult Services
1669 Thomaston Ave.                                            RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  12482      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          12483      3/7/2016 Corporation                                                                                                                                                        $0.00
Lisa Murray, Program Director
WCMHN ‐ Waterbury Young Adult Services
1669 Thomaston Avenue                                          RS Legacy Corporation fka RadioShack
Waterbury, CT 06704                       12484      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Wilson, Susan
PO BOX 824                                                     RS Legacy Corporation fka RadioShack
Portola, CA 96122                         12485      1/13/2016 Corporation                                                     $24.77                                                                                           $24.77
Salvatore, Donna
PO Box 21663                                                   RS Legacy Corporation fka RadioShack
Bakersfield, CA 93390                     12486      1/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Lisa Murray, Program Director
WCMHN ‐ Waterbury Young Adult Services
1669 Thomaston Ave                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  12487      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Toepfer, Rudy
1913 N 38th St.                                                RS Legacy Corporation fka RadioShack
Seattle, WA 98103                         12488      1/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Lisa Murray, Program Director
WCMHN‐Waterbury Young Adult Services
1669 Thompston Ave                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  12489      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Lisa Murray, Program Director
WCMHN‐Waterbury Young Adult Services
1669 Thompston Ave                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  12490      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Dona Good
536 S. Lanvale Ave.                                            RS Legacy Corporation fka RadioShack
Daytona Beach, FL 32114                   12491      1/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Lisa Murray, Program Director
WCMHN ‐ Waterbury Young Adult Services
1669 Thomaston Ave                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  12492      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Orendorf, Larry
609 Moline St.                                                 RS Legacy Corporation fka RadioShack
Brooksville, FL 34601                     12493      1/13/2016 Corporation                                                     $11.12                                                                                           $11.12



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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Lisa Murray, Program Director
WCMHN‐Waterbury Young Adult Services
1669 Thompston Ave                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  12494      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Lisa Murray, Program Director
WCMHN‐Waterbury Young Adult Services
1669 Thompston Ave                                             RS Legacy Corporation fka RadioShack
Waterbury, CT 06704‐1026                  12495      1/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Rhonda Hetrick
500 North Congress Avenue #153                                 RS Legacy Corporation fka RadioShack
West Palm Beach, Florida 33401            12496      1/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Kruger, Harriet
3244 Muirfield                                                 RS Legacy Corporation fka RadioShack
Weston, FL 33332                          12497      1/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Alvarado, Rosellys
715 Fox St Apt 2F                                              RS Legacy Corporation fka RadioShack
Bronx, NY 10455                           12498      1/13/2016 Corporation                                                     $20.00                                                                                           $20.00
Azamian, Kamran
10459 Vanalden Ave                                             RS Legacy Corporation fka RadioShack
Northridge , CA 91326                     12499      1/13/2016 Corporation                                                     $25.00                                                                                           $25.00
Ulrich, Karan
252 Stotler Rd                                                 RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15235                      12500      1/13/2016 Corporation                                                     $78.40                                                                                           $78.40
Robert Kastan
708 Beaver Street                                              RS Legacy Corporation fka RadioShack
Leetsdale, PA 15056                       12501      1/27/2016 Corporation                                                     $16.04                                                                                           $16.04
Storey, Leslee
17675 Ellinghausen Rd                                          RS Legacy Corporation fka RadioShack
Aurora, IN 47001                          12502      1/13/2016 Corporation                                                     $32.01                                                                                           $32.01
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          12503      3/7/2016 Corporation                                                                                                                                                        $0.00
Eric Rasmussen
21305 Hoekstra Ct. N.                                          RS Legacy Corporation fka RadioShack
Forest Lake, MN 55025                     12504      1/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Eric Rasmussen
21305 Hoekstra Ct. N.                                          RS Legacy Corporation fka RadioShack
Forest Lake, MN 55025                     12505      1/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Nafman, Cheryl
6 Roberta La.                                                  RS Legacy Corporation fka RadioShack
Commack, NY 11725                         12506      1/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Dinsmore, Kayla
271 Straight Bay Rd                                            RS Legacy Corporation fka RadioShack
Lubec, ME 04652                           12507      1/27/2016 Corporation                                                     $29.01                                                                                           $29.01
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          12508      1/18/2016 Corporation                                                                                                                                                       $0.00
Creevy, M.D., Don
1175 Westridge Drive                                           RS Legacy Corporation fka RadioShack
Portola Valley, CA 94028‐7340             12509      1/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          12510      1/18/2016 Corporation                                                                                                                                                       $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Doto, Alexander
726 Oak Springs Road                                           RS Legacy Corporation fka RadioShack
Rosemont, PA 19010                        12511      1/25/2016 Corporation                                                      $6.47                                                                                            $6.47
Schafer, Melissa
1821 Bolson Drive                                              RS Legacy Corporation fka RadioShack
Downers Grove, IL 60516                   12512      1/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Lourdes P Silveira
451 Division Rd                                                RS Legacy Corporation fka RadioShack
Westport, MA 02790                        12513      1/27/2016 Corporation                                                     $15.00                                                                                           $15.00
Nathan Breaux
3737 W. Niemann Drive                                          RS Legacy Corporation fka RadioShack
Meridian, ID 83646                        12514      1/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Tanya Williams
6007 Landfall Ln                                               RS Legacy Corporation fka RadioShack
Houston, tx 77087‐5215                    12515      1/27/2016 Corporation                                                     $60.00                                                                                           $60.00
Kylie Thompson
1141 33rd Ave                                                  RS Legacy Corporation fka RadioShack
Greeley, CO 80634                         12516      1/27/2016 Corporation                                                     $39.23                                                                                           $39.23
Sotis, Jack
4 Warner Rd                                                    RS Legacy Corporation fka RadioShack
Ipswich, MA 01938‐1617                    12517      1/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Miller, Tammy
3250 W. Middle                                                 RS Legacy Corporation fka RadioShack
Columbiania, OH                           12518      1/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Ierley, Merritt
PO BOX 315                                                     RS Legacy Corporation fka RadioShack
Sparta, NJ 07871                          12519      1/27/2016 Corporation                                                     $10.40                                                                                           $10.40
Lopez, Anthony G.
6410 Field Crest Ln.                                           RS Legacy Corporation fka RadioShack
Sachse , TX 75048                         12520      1/27/2016 Corporation                                                     $20.00                                                                                           $20.00
Cheney, Peggy
22132 Oak Rest Rd                                              RS Legacy Corporation fka RadioShack
Piasa, IL 62079                           12521      1/27/2016 Corporation                                                     $25.00                                                                                           $25.00
Yasuko Collins
3990 Marcasel Ave                                              RS Legacy Corporation fka RadioShack
Los Angeles, CA 90066                     12522      1/27/2016 Corporation                                                      $0.00                                                                                            $0.00
SLANEY, MICHAEL
3011 SAINT ALBANS DR.                                          RS Legacy Corporation fka RadioShack
LOS ALAMITOS, CA 90720                    12523      1/27/2016 Corporation                                                     $37.79                                                                                           $37.79
Christine Einarson
12183 Margaret Park Dr                                         RS Legacy Corporation fka RadioShack
Riverton, UT 84065                        12524      1/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Nicholas Coles
1200 S. Riverview Dr.                                          RS Legacy Corporation fka RadioShack
Hanover, IN 47243                         12525      1/27/2016 Corporation                                                     $25.00                                                                                           $25.00
Nicholas Coles
1200 S.Riverview Dr.                                           RS Legacy Corporation fka RadioShack
Hanover, IN 47243                         12526      1/27/2016 Corporation                                                     $50.00                                                                                           $50.00
Lisa Linnell‐Olsen
132 South 52nd St                                              RS Legacy Corporation fka RadioShack
Springfield, OR 97478                     12527      1/27/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Robert Shepherd
202 Caraway Lane                                               RS Legacy Corporation fka RadioShack
Cary, NC 27519                            12528      1/27/2016 Corporation                                                      $0.00                                                                                            $0.00
kelly baxter
22 BALD CYPRESS LANE                                           RS Legacy Corporation fka RadioShack
LEVITTOWN, PA 19054                       12529      1/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Tao Chen
38142 Martha Ave                                               RS Legacy Corporation fka RadioShack
Fremont, CA 94536                         12530      1/28/2016 Corporation                                                     $54.49                                                                                           $54.49
Kevin nguyen
4841 Tusk Way                                                  RS Legacy Corporation fka RadioShack
Elk Grove, CA 95757                       12531      1/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Lynn White
PO BOX 12946                                                   RS Legacy Corporation fka RadioShack
Tempe, AZ 85284                           12532      1/28/2016 Corporation                                                    $424.00                                                                                          $424.00
jacquline buso
2101 S Borgman Road                                            RS Legacy Corporation fka RadioShack
Oak Grove, MO 64075                       12533      1/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Claes, Mike
19499 Jack LN SE                                               RS Legacy Corporation fka RadioShack
Silverton, OR 97381                       12534      1/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Chris Carrara
117 Bay Rd.                                                    RS Legacy Corporation fka RadioShack
Brookhaven, NY 11719                      12535      1/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Chris Carrara
117 Bay Rd.                                                    RS Legacy Corporation fka RadioShack
Brookhaven, NY 11719                      12536      1/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Russell Wilburth
310 Willard Ave.                                               RS Legacy Corporation fka RadioShack
Fruitland Park, FL 34731                  12537      1/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Yip‐Ng, Mayron M
3322 Woodbine Place                                            RS Legacy Corporation fka RadioShack
Philomath, OR 97370                       12538      1/26/2016 Corporation                                                     $69.99                                                                                           $69.99
Lombardi, Tamara L.
1170 SW 6th Circle                                             RS Legacy Corporation fka RadioShack
Troutdale, OR 97060                       12539      1/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Keske, Steven E.
3456 Tagus Ave.                                                RS Legacy Corporation fka RadioShack
Brownton, MN 55312                        12540      1/26/2016 Corporation                                                     $25.00                                                                                           $25.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          12541      3/7/2016 Corporation                                                                                                                                                        $0.00
Sharp, Arthur
416 E Lincoln Ave.                                             RS Legacy Corporation fka RadioShack
Goshen, IN 46528                          12542      1/26/2016 Corporation                                                                         $0.00                                 $0.00                                   $0.00
DiLuccia, Anthony S.
284 Glass Run Rd                                               RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15207                      12543      1/25/2016 Corporation                                                     $32.09                                                                                           $32.09
Francisco Dominguez
3985 Lyman Rd                                                  RS Legacy Corporation fka RadioShack
Oakland, CA 94602, 94602 co               12544      1/28/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                          Current General                                            Current 503(b)(9)
                                                                                                                                                Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address            Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
Akshatha Bhat
595 Waterford Cir W                                                    RS Legacy Corporation fka RadioShack
Tarpon Springs, FL 34688                          12545      1/28/2016 Corporation                                                      $3.02                                                                                            $3.02
MJS CAGUAS LP
PO BOX 535599                                                          RS Legacy Corporation fka RadioShack
ATLANTA, GA 30353‐5599                            12546      11/4/2015 Corporation                                                      $0.00                                                                                            $0.00
NARESH CHAUDHARI
801 Albion Ave. Suite B                                                RS Legacy Corporation fka RadioShack
Schaumburg, IL 60193                              12547      1/28/2016 Corporation                                                      $0.00                                                                                            $0.00

Danny Chaves
13374 McLaughlin Road, Caledon Ontario L7C 2A2                         RS Legacy Corporation fka RadioShack
Canada void next info 000000, oo 00000            12548      1/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Regan Hoover
4714 Baldwin Avenue                                                    RS Legacy Corporation fka RadioShack
Lincoln, NE 68504                                 12549      1/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert Reko
721 Ladybird Lane                                                      RS Legacy Corporation fka RadioShack
Burnsville, MN 55337                              12550      1/28/2016 Corporation                                                     $25.00                                                                                           $25.00
Robert Reko
721 Ladybird Lane                                                      RS Legacy Corporation fka RadioShack
Burnsville, MN 55337                              12551      1/28/2016 Corporation                                                    $200.00                                                                                          $200.00
Drew Achong
317 S. 12th Street                                                     RS Legacy Corporation fka RadioShack
Independence, KS 67301                            12552      1/28/2016 Corporation                                                     $50.00                                                                                           $50.00
DEBBIE FREDERICK
3700 Lady Banks Lane                                                   RS Legacy Corporation fka RadioShack
Huntsville, AL 35806                              12553      1/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Cheyenne renken
1340 county st, trailer 28                                             RS Legacy Corporation fka RadioShack
Attleboro, MA 02703                               12554      1/28/2016 Corporation                                                     $30.00                                                                                           $30.00
Lyndsay Wilson
709 Pleasant Valley Parkway                                            RS Legacy Corporation fka RadioShack
Waunakee, WI 53597                                12555      1/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Norris, Fay
2259 Trailblazar Wy                                                    RS Legacy Corporation fka RadioShack
Castle Rock, CO 80109                             12556      1/28/2016 Corporation                                                     $26.87                                                                                           $26.87
Kowel, Richard
50 Elgin Road                                                          RS Legacy Corporation fka RadioShack
Valley Stream, NY 11581                           12557      1/28/2016 Corporation                                                     $10.00                                                                                           $10.00
French, Allen
24612 Camden Ct.                                                       RS Legacy Corporation fka RadioShack
Laguna Niguel, CA 92677                           12558      1/28/2016 Corporation                                                     $75.00                                                                                           $75.00
Highet, Loraine
9501 126th St E                                                        RS Legacy Corporation fka RadioShack
Puyallup, WA 98373                                12559      1/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Hartinger, Robert E
1455 Shagbark Street                                                   RS Legacy Corporation fka RadioShack
Circleville, OH 43113                             12560      1/28/2016 Corporation                                                      $0.00                                                                                            $0.00
DAVE FLETCHER
3710 ST CLAIR ST                                                       RS Legacy Corporation fka RadioShack
RACINE, WI 53402                                  12561      1/28/2016 Corporation                                                     $60.00                                                                                           $60.00



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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Debbie Teichert
905 Belle Point Drive                                          RS Legacy Corporation fka RadioShack
Mount Pleasant, SC 29464                  12562      1/28/2016 Corporation                                                     $20.00                                                                                           $20.00
Northcutt, Luther H
51 Forest Lane                                                 RS Legacy Corporation fka RadioShack
Martinsville, VA 24112                    12563      1/27/2016 Corporation                                                     $10.00                                                                                           $10.00
Husoskey, Irene
3180 Fulton Run Rd.                                            RS Legacy Corporation fka RadioShack
Indiana, PA 15701                         12564      1/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Crapsey, Martha
7139 Fuller Station Rd                                         RS Legacy Corporation fka RadioShack
Schenectady, NY 12303                     12565      1/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Beardsley, Lynn
117 N Broadway                                                 RS Legacy Corporation fka RadioShack
De Pere, WI 54115                         12566      1/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Lake Peterson
21303 Oakforest Lane                                           RS Legacy Corporation fka RadioShack
Newhall, CA 91321                         12567      1/28/2016 Corporation                                                      $0.23                                                                                            $0.23
Steven Becker
5424 Fairmont Cir.                                             RS Legacy Corporation fka RadioShack
Austin, TX 78745                          12568      1/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Cognata, Ludovico
PO Box 186                                                     RS Legacy Corporation fka RadioShack
Cedars, PA 19423                          12569      1/28/2016 Corporation                                                     $95.98                                                                                           $95.98
Anderson, Dawn
14415 Bayberry Cir                                             RS Legacy Corporation fka RadioShack
Rosemount, MN 55068                       12570      1/28/2016 Corporation                                                     $66.40                                                                                           $66.40
Hilgendorf, David R.
831 Rolfe Dr.                                                  RS Legacy Corporation fka RadioShack
St. Louis, MO 63122                       12571      1/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Maria Baldrich Valerio
184 Faywood Ave. Apt. 340                                      RS Legacy Corporation fka RadioShack
East Boston, MA 02128                     12572      1/28/2016 Corporation                                                    $127.51                                                                                          $127.51
Mitzy Allen
604 W 29th Ave                                                 RS Legacy Corporation fka RadioShack
Pine Bluff, AR 71603                      12573      1/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Walt Flynn
14085 Guthrie Ave.                                             RS Legacy Corporation fka RadioShack
Apple Valley, MN 55124                    12574      1/28/2016 Corporation                                                     $49.00                                                                                           $49.00
Tazbaz, Liz
247 Nice Court                                                 RS Legacy Corporation fka RadioShack
Redwood City, CA 94065                    12575      1/28/2016 Corporation                                                    $100.00                                                                                          $100.00
Manasselian, Gilbert E
5499 E Indianapolis Av                                         RS Legacy Corporation fka RadioShack
Fresno, CA 93227                          12576      1/28/2016 Corporation                                                     $15.14                                                                                           $15.14
Linnen, Lorinda
237 Vernoy Aiken Rd, Apt 1102                                  RS Legacy Corporation fka RadioShack
Dallas, GA 30157                          12577      1/28/2016 Corporation                                                      $6.00                                                                                            $6.00
Robert Reagan
735 Springshire Drive                                          RS Legacy Corporation fka RadioShack
Telford, PA 18969                         12578      1/28/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          12579      1/18/2016 Corporation                                                                                                                                                       $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          12580      1/18/2016 Corporation                                                                                                                                                       $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          12581      1/18/2016 Corporation                                                                                                                                                       $0.00
Howard , Steven L
3855 Holbein Drive                                             RS Legacy Corporation fka RadioShack
Zaresville , OH 43701                     12582      1/28/2016 Corporation                                                    $500.00                                                                                          $500.00
Young, Charles G
2510 Lambin Drive                                              RS Legacy Corporation fka RadioShack
Sun City Center, FL 33573                 12583      1/28/2016 Corporation                                                     $25.12                                                                                           $25.12
Karen Plonowski
2 Heritage Hill Road                                           RS Legacy Corporation fka RadioShack
Norwalk, CT 06851                         12584      1/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Eric Garzona
333 Communipaw Ave                                             RS Legacy Corporation fka RadioShack
Jersey City, NJ 07304                     12585      1/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Mariana Rivera
1126 S. Hudson Ave.                                            RS Legacy Corporation fka RadioShack
Los Angeles, CA 90019                     12586      1/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Christopher Brandon Voight
29 Stuyvesant Avenue, Apt. 1‐10                                RS Legacy Corporation fka RadioShack
Brooklyn, NY 11221                        12587      1/28/2016 Corporation                                                     $25.00                                                                                           $25.00
charles neidle
300 circle rd                                                  RS Legacy Corporation fka RadioShack
stony brook, ny 11790                     12588      1/28/2016 Corporation                                                    $100.00                                                                                          $100.00
Alisha Burns
6802 Wilkow Dr. Apt.302                                        RS Legacy Corporation fka RadioShack
Orlando, Fl 32821                         12589      1/29/2016 Corporation                                                     $14.97                                                                                           $14.97
Kris Nakashima
99‐829 Lalawai Drive                                           RS Legacy Corporation fka RadioShack
Aiea, Hawaii 96701                        12590      1/29/2016 Corporation                                                      $0.00                                                                                            $0.00
dominique thompson
2200 w wilson st spc 21                                        RS Legacy Corporation fka RadioShack
banning, ca 92220                         12591      1/29/2016 Corporation                                                    $300.00                                                                                          $300.00
Farran, George D.
12 Alexander Ave                                               RS Legacy Corporation fka RadioShack
Spring Valley, NY 10977                   12592      1/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Pitotti, Annette
211 N Schanck Ave                                              RS Legacy Corporation fka RadioShack
Pen Argyl, PA 18072                       12593      1/28/2016 Corporation                                                     $12.92                                                                                           $12.92
Chergey, Richard
4 Shaw Divide                                                  RS Legacy Corporation fka RadioShack
Bow, NH 03304                             12594      1/28/2016 Corporation                                                     $25.00                                                                                           $25.00
Betty A Tennial
16936 Tortoise Street                                          RS Legacy Corporation fka RadioShack
Round Rock, TX 78664                      12595      1/29/2016 Corporation                                                    $100.00                                                                                          $100.00
Alicia Riniker
1495 Wood Street                                               RS Legacy Corporation fka RadioShack
Dubuque, IA 52001                         12596      1/29/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Kenneth
PO Box 210283                                                  RS Legacy Corporation fka RadioShack
San Francisco, ca 94121                   12597      1/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Lopez, Anthony G.
6410 Field Crest Ln.                                           RS Legacy Corporation fka RadioShack
Sachse, TX 75048                          12598      1/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Marks, Bruce S.
5548 S. Hillside St.                                           RS Legacy Corporation fka RadioShack
Greenwood Village, CO 80111               12599      1/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Young, Evelyn Yancy
1101 Greyton Road                                              RS Legacy Corporation fka RadioShack
Cleveland Heights, OH 44112               12600      1/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Patricia Parente
16538 St. Anthony Lane                                         RS Legacy Corporation fka RadioShack
Cleveland, Ohio 44111                     12601      1/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Van Benschoten, Charles
19 Linden Drive                                                RS Legacy Corporation fka RadioShack
Spring Lake Heights, NJ 07762             12602      1/27/2016 Corporation                                                     $19.99                                                                                           $19.99
Beaman, Mary
4710 Carson Ave                                                RS Legacy Corporation fka RadioShack
Indianapolis, IN 46227                    12603      1/27/2016 Corporation                                                     $10.00                                                                                           $10.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          12604      3/7/2016 Corporation                                                                                                                                                        $0.00
Sullivan, Jodie
1 Horton St                                                    RS Legacy Corporation fka RadioShack
Newbury Port, MA 01950                    12605      1/28/2016 Corporation                                                      $7.28                                                                                            $7.28
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          12606      3/7/2016 Corporation                                                                                                                                                        $0.00
Schultz, Michael
1906 Wilhelmina Rise                                           RS Legacy Corporation fka RadioShack
Honolulu, HI 96816                        12607      1/28/2016 Corporation                                                     $25.00                                                                                           $25.00
Brown, Sheila
15854 Sweetaire Ave                                            RS Legacy Corporation fka RadioShack
Lancaster, CA 93535                       12608      1/27/2016 Corporation                                                     $64.01                                                                                           $64.01
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          12609      3/7/2016 Corporation                                                                                                                                                        $0.00
Harrigan, James L.
133 Villa Pointe Dr.                                           RS Legacy Corporation fka RadioShack
Springboro, OH 45066                      12610      1/27/2016 Corporation                                                     $24.61                                                                                           $24.61
Threadgill, Mary C.
785 N. 20th St.                                                RS Legacy Corporation fka RadioShack
San Jose, CA 95112                        12611      1/27/2016 Corporation                                                     $43.94                                                                                           $43.94
AVR Bridgeview LLC
c/o AVR Realty Company
One Executive Drive                                            RS Legacy Corporation fka RadioShack
Yonkers , NY 10701                        12612      1/27/2016 Corporation                                                $54,360.69           $9,071.11                                                                    $63,431.80
Whisnant, James
115132 N/S 3720 Rd                                             RS Legacy Corporation fka RadioShack
Okemah, OK 74859                          12613      1/27/2016 Corporation                                                     $43.39                                                                                           $43.39
Lerner, Mark
1715 Linden St                                                 RS Legacy Corporation fka RadioShack
Leeds, AL 35094                           12614      1/27/2016 Corporation                                                    $187.60                                                                                          $187.60



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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Kaessinger, Peter B
173 Boothby Ave                                                RS Legacy Corporation fka RadioShack
South Portland, ME 04106                  12615      1/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Jeffrey E. Price
53561 Forest lakes Drive                                       RS Legacy Corporation fka RadioShack
Middlebury, Indiana 46540                 12616      1/29/2016 Corporation                                                     $10.00                                                                                           $10.00
Cheryl Eberhardt
48 Alehson Street                                              RS Legacy Corporation fka RadioShack
Rye, NH 03870                             12617      1/29/2016 Corporation                                                     $14.63                                                                                           $14.63
Northcutt, Luther H
51 Forest Lane                                                 RS Legacy Corporation fka RadioShack
Martinsville, VA 24112                    12618      1/27/2016 Corporation                                                     $21.03                                                                                           $21.03
Thornburg, Walter E.
90 Windmere Dr.                                                RS Legacy Corporation fka RadioShack
Troy, OH 45373                            12619      1/28/2016 Corporation                                                     $53.49                                                                     $53.49               $106.98
Peterson, Jim
1108 Ridge Crest Cir.                                          RS Legacy Corporation fka RadioShack
Costa Mesa, CA 92627                      12620      1/28/2016 Corporation                                                     $20.00                                                                                           $20.00
Ricards, Will
1012 Holly Rd                                                  RS Legacy Corporation fka RadioShack
Santa Paula, CA 93060‐1226                12621      1/26/2016 Corporation                                                     $25.00                                                                                           $25.00
Thompson, Carolyn
1900 Richard Jones Rd, X‐10                                    RS Legacy Corporation fka RadioShack
Nashville, TN 37215                       12622      1/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Cole, Juanita
2320 Vennie Ct                                                 RS Legacy Corporation fka RadioShack
Santa Rosa, CA 95401                      12623      1/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Deborah Meyer
921 Spanish Circle #E338                                       RS Legacy Corporation fka RadioShack
Delray Beach, FL 33483                    12624      1/29/2016 Corporation                                                     $63.59                                                                                           $63.59
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          12625      3/7/2016 Corporation                                                                                                                                                        $0.00
Vidal‐Chavez, Jairo Ignacio
2198 Cruger Avenue Apt.5E                                      RS Legacy Corporation fka RadioShack
Bronx, NY 10462                           12626      1/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Moffett, Dan
309 Hilltop Rd                                                 RS Legacy Corporation fka RadioShack
Orange, CT 06477                          12627      1/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Renee Lynn Scott
13 Drew Drive                                                  RS Legacy Corporation fka RadioShack
Eastport, NY 11941                        12628      1/29/2016 Corporation                                                     $24.97                                                                                           $24.97
Blaydou, Chris
245 W Maple Avenue                                             RS Legacy Corporation fka RadioShack
Langhorne, PA 19047                       12629      1/29/2016 Corporation                                                     $31.79                                                                                           $31.79
Kathryn Robinson
2553 Poppy Lane                                                RS Legacy Corporation fka RadioShack
Columbus, OH 43235                        12630      1/29/2016 Corporation                                                     $53.36                                                                                           $53.36
Hongmian Gong
110‐20 71st Avenue, Apt 432                                    RS Legacy Corporation fka RadioShack
Forest Hills, NY 11375                    12631      1/29/2016 Corporation                                                     $40.00                                                                                           $40.00




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Joseph Robblee
56 Weston Farm Pathe                                           RS Legacy Corporation fka RadioShack
Marshfield, MA 02050                      12632      1/29/2016 Corporation                                                     $22.94                                                                                           $22.94
Ron Jones
22617 Camp Dr.                                                 RS Legacy Corporation fka RadioShack
Tehachapi, CA 93561‐8234                  12633      1/29/2016 Corporation                                                     $60.00                                                                                           $60.00
Elvira Garcia
5521 Laster Lane                                               RS Legacy Corporation fka RadioShack
Caldwell, Idaho 83607                     12634      1/29/2016 Corporation                                                     $80.00                                                                                           $80.00
David morse
607 baker lake rd                                              RS Legacy Corporation fka RadioShack
Clinton, ar 72031                         12635      1/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Whalen, Paul
116 Westbourne Drive                                           RS Legacy Corporation fka RadioShack
Brownsburg, IN                            12636      1/29/2016 Corporation                                                                       $12.84                                                                         $12.84
Peggy DiMeo
13026 Taylor Street                                            RS Legacy Corporation fka RadioShack
Brooksville, Florida 34613                12637      1/29/2016 Corporation                                                    $158.75                                                                                          $158.75
Suresh Chandra
4713 County Road M                                             RS Legacy Corporation fka RadioShack
Middleton, WI 53562                       12638      1/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Nelson Rengifo
2371 E Green Canyon Dr                                         RS Legacy Corporation fka RadioShack
Meridian, id 83642                        12639      1/29/2016 Corporation                                                     $38.16                                                                                           $38.16
Sue Barker
8333 Thornhil Dr.                                              RS Legacy Corporation fka RadioShack
Ypsilanti, MI 48197                       12640      1/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Kristen Lilly
330 Donna Drive                                                RS Legacy Corporation fka RadioShack
Hopkinsville, KY 42240                    12641      1/29/2016 Corporation                                                     $72.00                                                                                           $72.00
Steve Hatch
1105 Hooper Woods Dr                                           RS Legacy Corporation fka RadioShack
Forest, VA 24551                          12642      1/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Marisela Ceja
174 Goldenrod st                                               RS Legacy Corporation fka RadioShack
Soledad, ca 93960                         12643      1/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Leslie Avakian
117 Old Maple Lane                                             RS Legacy Corporation fka RadioShack
Greenfield, PA 18407                      12644      1/29/2016 Corporation                                                      $0.00                                                                                            $0.00
John Palmer
1761 Weeping Willow                                            RS Legacy Corporation fka RadioShack
Rockport, TX 78382                        12645      1/29/2016 Corporation                                                     $32.46                                                                                           $32.46
Tyler Jones
3055 Heatherwood Rd.                                           RS Legacy Corporation fka RadioShack
Twin Falls, Idaho 83301                   12646      1/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Eric DiLeonardo
101‐64 118 Street                                              RS Legacy Corporation fka RadioShack
Richmond Hill, NY 11419                   12647      1/30/2016 Corporation                                                     $20.00                                                                                           $20.00
Sarah Gregorio
3117 NE Irving Street                                          RS Legacy Corporation fka RadioShack
Portland, OR 97232                        12648      1/30/2016 Corporation                                                     $10.00                                                                                           $10.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Eric DiLeonardo
101‐64 118 Street                                              RS Legacy Corporation fka RadioShack
Richmond Hill, NY 11419                   12649      1/30/2016 Corporation                                                     $25.00                                                                                           $25.00
Eric DiLeonardo
101‐64 118 Street                                              RS Legacy Corporation fka RadioShack
Richmond Hill, NY 11419                   12650      1/30/2016 Corporation                                                     $25.00                                                                                           $25.00
Dennis Ma
2464 26th Ave Apt H                                            RS Legacy Corporation fka RadioShack
Oakland, CA 94601                         12651      1/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Reis Seggebruch
D4 Townhouse Apartments                                        RS Legacy Corporation fka RadioShack
Ithaca, New York 14853                    12652      1/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Tanisha La Cruise
250 West 50th Street #11M                                      RS Legacy Corporation fka RadioShack
New York, NY 10019                        12653      1/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Mac A Lewis
2212 Shiver Drive                                              RS Legacy Corporation fka RadioShack
Alexandria, VA 22307                      12654      1/30/2016 Corporation                                                     $25.00                                                                                           $25.00
Brock Nolan
12637 Duval Drive                                              RS Legacy Corporation fka RadioShack
Fishers, IN 46037                         12655      1/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Tia Howard
664 Lehigh Ave                                                 RS Legacy Corporation fka RadioShack
Union, NJ 07083                           12656      1/30/2016 Corporation                                                     $25.17                                                                                           $25.17
Lynda Sukiennik
10 Prince Phillip Court                                        RS Legacy Corporation fka RadioShack
Newtown, PA 18940                         12657      1/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Maha Fadul
6513 Bradley Blv.                                              RS Legacy Corporation fka RadioShack
Bethesda, MD 20817                        12658      1/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Jeffrey McCullough
1015 Baythorne Drive                                           RS Legacy Corporation fka RadioShack
Mechanicsburg, PA 17050                   12659      1/30/2016 Corporation                                                      $9.97                                                                                            $9.97
Janet Jackson
1708 La Marche Drive                                           RS Legacy Corporation fka RadioShack
Cocoa, FL 32926                           12660      1/30/2016 Corporation                                                     $52.99                                                                                           $52.99
Ross Karim
14 Spruce Lane                                                 RS Legacy Corporation fka RadioShack
South windsor, CT 06074                   12661      1/30/2016 Corporation                                                     $24.37                                                                                           $24.37
carlos banuelos
387 warner av                                                  RS Legacy Corporation fka RadioShack
hayward, california 94544                 12662      1/30/2016 Corporation                                                    $300.00                                                                                          $300.00
M Jay Walkingshaw
80C Millwood Road                                              RS Legacy Corporation fka RadioShack
Millwood, NY 10546                        12663      1/30/2016 Corporation                                                      $0.00                                                                                            $0.00
kornelia posfai
11 briarstone rd                                               RS Legacy Corporation fka RadioShack
rockport, ma 01966                        12664      1/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert Reed
5042 Stone Hill Dr                                             RS Legacy Corporation fka RadioShack
Ellicott City, MD 21043                   12665      1/31/2016 Corporation                                                     $18.03                                                                                           $18.03




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Eric Magers
7 Marchant Street                                              RS Legacy Corporation fka RadioShack
Gloucester, MA 01930                      12666      1/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Daniel Salinas
2208 Lindell Ave.                                              RS Legacy Corporation fka RadioShack
Austin, TX 78704                          12667      1/31/2016 Corporation                                                     $26.24                                                                                           $26.24
Michael Driscoll
11936 Sheltering Pine Dr                                       RS Legacy Corporation fka RadioShack
Orlando, FL 32836                         12668      1/31/2016 Corporation                                                      $0.00                                                                                            $0.00
dorothy Cvietusa
162 Clover Hill Ct.                                            RS Legacy Corporation fka RadioShack
Danville, Calif 94526                     12669      1/31/2016 Corporation                                                     $48.22                                                                                           $48.22
Obenjy Michel
23 Manchester Court                                            RS Legacy Corporation fka RadioShack
Novato, CA 94947                          12670      1/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Mark Larkin
11 Colgate Rd                                                  RS Legacy Corporation fka RadioShack
Greenlawn, NY 11740                       12671      1/31/2016 Corporation                                                     $50.00                                                                                           $50.00
Doug Stecklein
115 S. Blake St.                                               RS Legacy Corporation fka RadioShack
Olathe, Kansas 66061                      12672      1/31/2016 Corporation                                                     $50.00                                                                                           $50.00
Kathleen Gosselin
100 Rock Road Apt # 155                                        RS Legacy Corporation fka RadioShack
Hawthorne, New Jersey 07506               12673      1/31/2016 Corporation                                                     $27.82                                                                                           $27.82
Sandra Schrank
34720 N Stanley Rd                                             RS Legacy Corporation fka RadioShack
Ingleside, IL 60041                       12674      1/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Sandra Schrank
34730 N Stanley Rd                                             RS Legacy Corporation fka RadioShack
Ingleside, Il 60041                       12675      1/31/2016 Corporation                                                      $0.00                                                                                            $0.00
John Poodiack
1141 Outer Drive                                               RS Legacy Corporation fka RadioShack
Schenectady, NY 12303                     12676      1/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Shelia Phillips
2733 James Road                                                RS Legacy Corporation fka RadioShack
Charlotte, NC 28215                       12677      1/31/2016 Corporation                                                      $0.00                                                                                            $0.00
James Hu
390 Isabella Terrace                                           RS Legacy Corporation fka RadioShack
Monterey Park, CA 91754                   12678      1/31/2016 Corporation                                                    $180.00                                                                                          $180.00
Jeremy Truntzer
444 San Antonio Road, Unit 3C                                  RS Legacy Corporation fka RadioShack
Palo Alto, CA 94306                       12679      1/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Eric Baker
12905 SE 190th PL                                             RS Legacy Corporation fka RadioShack
Renton, WA 98058‐7956                     12680      2/1/2016 Corporation                                                      $25.00                                                                                           $25.00
Carla Corleto
HC61 Box6320                                                  RS Legacy Corporation fka RadioShack
Austin, Nevada 89310                      12681      2/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Steve Hatch
1105 Hooper Woods Dr                                          RS Legacy Corporation fka RadioShack
Forest, VA 24551                          12682      2/1/2016 Corporation                                                       $0.00                                                                                            $0.00




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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Frederick Scott
96111 Cayman Circle                                           RS Legacy Corporation fka RadioShack
Fernandina Beach, FL 32034                12683      2/1/2016 Corporation                                                      $2.52                                                                                            $2.52
debra hayden‐schmid
3026 francesca                                                RS Legacy Corporation fka RadioShack
waterford, mi 48329                       12684      2/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Teresa Winder‐Wells
12814 Kanes Road                                              RS Legacy Corporation fka RadioShack
Glen Arm, MD 21057                        12685      2/1/2016 Corporation                                                     $50.00                                                                                           $50.00
Juson Choe
1317 Dominis St                                               RS Legacy Corporation fka RadioShack
Honolulu, Hawaii 96822                    12686      2/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Cheryl Caracansi
10 gristmill lane                                             RS Legacy Corporation fka RadioShack
Shelton, Ct 06484                         12687      2/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Leslie Avakian
117 Old Mape Lane                                             RS Legacy Corporation fka RadioShack
Greenfield, PA 18407                      12688      2/1/2016 Corporation                                                     $37.61                                                                                           $37.61
Lori Richman
231 Southpeak Lane                                            RS Legacy Corporation fka RadioShack
Ponder, TX 76259                          12689      2/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Christine Dyson
209 Hara Lane                                                 RS Legacy Corporation fka RadioShack
Washington, Mo 63090                      12690      2/1/2016 Corporation                                                     $20.00                                                                                           $20.00
Cvietusa, Dorothy
162 Clover Hill Ct.                                           RS Legacy Corporation fka RadioShack
Danville, CA 94526                        12691      2/1/2016 Corporation                                                     $48.22                                                                                           $48.22
Arielle Maltese
400 East 67th Street, Apt 27C                                 RS Legacy Corporation fka RadioShack
New York, NY 10065                        12692      2/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Kellyn Cooper
4300 westford place, unit 2C                                  RS Legacy Corporation fka RadioShack
Canfield, Ohio 44406                      12693      2/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Joel Leichnetz
1245 Toedtli DR                                               RS Legacy Corporation fka RadioShack
Boulder, CO 80305                         12694      2/1/2016 Corporation                                                     $50.68                                                                                           $50.68
patrick curel
10267 grand meadow                                            RS Legacy Corporation fka RadioShack
san antonio, tx 78239                     12695      2/1/2016 Corporation                                                     $28.36                                                                                           $28.36
Trey wilson
1631 15th st                                                  RS Legacy Corporation fka RadioShack
Oceano, Ca 93445                          12696      2/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Alexander Hines
4073 Madison Rd.                                              RS Legacy Corporation fka RadioShack
Youngstown, Ohio 44505                    12697      2/1/2016 Corporation                                                     $19.66                                                                                           $19.66
Carolyn Getches
1801 N 26th Street, Apt. 1                                    RS Legacy Corporation fka RadioShack
Lincoln, NE 68503                         12698      2/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Josh Weitzman
2137 23rd Street                                              RS Legacy Corporation fka RadioShack
Astoria, NY 11105                         12699      2/1/2016 Corporation                                                     $10.00                                                                                           $10.00




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                                                                                                                 Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
James Tomlin
388 Misty Vale Drive                                          RS Legacy Corporation fka RadioShack
Middletown, DE 19709                      12700      2/1/2016 Corporation                                                     $50.00                                                                                           $50.00
Chenelle Ross
1000 15th St                                                  RS Legacy Corporation fka RadioShack
Rock Island, Il 61201                     12701      2/1/2016 Corporation                                                      $8.01                                                                                            $8.01
A Stephen Waldrip
2844 N 4975 E                                                 RS Legacy Corporation fka RadioShack
Eden, UT 84310                            12702      2/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Alberto Romero
2565 Pennington Ln                                            RS Legacy Corporation fka RadioShack
San Diego, CA 92139                       12703      2/1/2016 Corporation                                                     $25.00                                                                                           $25.00
STEVEN SALIBA
315 EVELYN COURT                                              RS Legacy Corporation fka RadioShack
WEST HEMPSTEAD, NY 11552                  12704      2/1/2016 Corporation                                                    $150.00                                                                                          $150.00
STEVEN SALIBA
315 EVELYN COURT                                              RS Legacy Corporation fka RadioShack
WEST HEMPSTEAD, NY 1152                   12705      2/1/2016 Corporation                                                    $165.30                                                                                          $165.30
Cindy Carrono
26 SANS SOUCI TRAILER PARK                                    RS Legacy Corporation fka RadioShack
Hanover TOWNSHIP, Pa 19706                12706      2/1/2016 Corporation                                                     $21.21                                                                                           $21.21
Nathan Swanson
3641 Worcester Ln                                             RS Legacy Corporation fka RadioShack
Keswick, VA 22947                         12707      2/1/2016 Corporation                                                    $121.43                                                                                          $121.43
James Ewart
3816 US Highway 20                                            RS Legacy Corporation fka RadioShack
Nassau, NY 12123                          12708      2/2/2016 Corporation                                                     $50.00                                                                                           $50.00
James Kirkegaard
6218 Mountain Brook Way, NW                                   RS Legacy Corporation fka RadioShack
Sandy Springs, GA 30328                   12709      2/2/2016 Corporation                                                     $25.71                                                                                           $25.71
Khandy Mcgraw
85 oak st                                                     RS Legacy Corporation fka RadioShack
Freeport, NY 11520                        12710      2/2/2016 Corporation                                                      $0.14                                                                                            $0.14
gary langston
1620 s. irby st                                               RS Legacy Corporation fka RadioShack
florence, sc 29505                        12711      2/2/2016 Corporation                                                     $15.23                                                                                           $15.23
gary langston
1620 s. irby st                                               RS Legacy Corporation fka RadioShack
florence, sc 29505                        12712      2/2/2016 Corporation                                                      $0.00                                                                                            $0.00
gary langston
1620 s. irby st                                               RS Legacy Corporation fka RadioShack
florence, sc 29505                        12713      2/2/2016 Corporation                                                      $0.00                                                                                            $0.00
gary langston
1620 s. irby st                                               RS Legacy Corporation fka RadioShack
florence, sc 29505                        12714      2/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Gary Calvert
742 Danver Lane                                               RS Legacy Corporation fka RadioShack
Beech Grove, IN 46107                     12715      2/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Barbara Schneider
2215 W. Irving Park Rd.                                       RS Legacy Corporation fka RadioShack
Chicago, IL 60618                         12716      2/2/2016 Corporation                                                     $25.00                                                                                           $25.00




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                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                     Amount
Bradley Reichter
315 Salem St.                                                     RS Legacy Corporation fka RadioShack
Andover, MA 01810‐2312                        12717      2/2/2016 Corporation                                                     $30.00                                                                                           $30.00
Dallas Stroud
3004 Dana Ln                                                      RS Legacy Corporation fka RadioShack
Denton, Texas 76209                           12718      2/2/2016 Corporation                                                     $25.00                                                                                           $25.00
Bryan Murray
P.O. BOX 7144                                                     RS Legacy Corporation fka RadioShack
Macon, GA 31209                               12719      2/2/2016 Corporation                                                      $6.93                                                                                            $6.93
James McClurg
18541 Vincennes St #213                                           RS Legacy Corporation fka RadioShack
Northridge, CA 91324                          12720      2/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Stefanie Wierzalis
361 Roosevelt Drive                                               RS Legacy Corporation fka RadioShack
Mahanoy City, Pa 17948                        12721      2/2/2016 Corporation                                                     $28.81                                                                                           $28.81
Donna Wickwire
1052 FairField                                                    RS Legacy Corporation fka RadioShack
Eugene, Oregon 97402                          12722      2/2/2016 Corporation                                                     $25.00                                                                                           $25.00
Shelly Rudeen
930 Sandwood Place                                                RS Legacy Corporation fka RadioShack
San Pedro, CA 90731                           12723      2/2/2016 Corporation                                                    $150.00                                                                                          $150.00
Liza Mead
318 Westgrove Ct.                                                 RS Legacy Corporation fka RadioShack
Durham, NC 27703                              12724      2/2/2016 Corporation                                                    $107.13                                                                                          $107.13
Melanie Beach
319 Webster Street                                                RS Legacy Corporation fka RadioShack
Rockland, MA 02370                            12725      2/2/2016 Corporation                                                     $26.00                                                                                           $26.00
Matt Pedersen
10024 S. 177th St.                                                RS Legacy Corporation fka RadioShack
Omaha, NE 68136                               12726      2/2/2016 Corporation                                                     $50.00                                                                                           $50.00
Nathan Keever
216 Conestoga Dr                                                  RS Legacy Corporation fka RadioShack
Yukon, OK 73099                               12727      2/2/2016 Corporation                                                     $20.00                                                                                           $20.00
Harry J Courtis
3306 Altamont Drive                                               RS Legacy Corporation fka RadioShack
Wilmington, Delaware 19810                    12728      2/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Brian Bartlett
26173 notreDame ct                                                RS Legacy Corporation fka RadioShack
hemet, ca 92544                               12729      2/2/2016 Corporation                                                     $50.00                                                                                           $50.00
Steven Anderson
c/o MEA Forensic, 23281 Vista Grande Drive                        RS Legacy Corporation fka RadioShack
Laguna Hills, CA 92653                        12730      2/2/2016 Corporation                                                     $31.64                                                                                           $31.64
Harry Hogenkamp
6 Flameleaf Ct                                                    RS Legacy Corporation fka RadioShack
Gaithersburg, MD 20878                        12731      2/2/2016 Corporation                                                      $0.00                                                                                            $0.00
BARBARA JONES
46 mary lou trail                                                 RS Legacy Corporation fka RadioShack
CRAWFORDVILLE, FL 32327                       12732      2/2/2016 Corporation                                                     $22.92                                                                                           $22.92
Ted Ruscitti
24 Woodland Road                                                  RS Legacy Corporation fka RadioShack
Sewickley, PA 15143                           12733      2/2/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
RICHARD JEWELL
8195 RONSON RD., STE A                                        RS Legacy Corporation fka RadioShack
SAN DIEGO, CA 92111                       12734      2/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Ryan Stitzel
1320 Stahlheber Rd                                            RS Legacy Corporation fka RadioShack
Hamilton, OH 45013                        12735      2/2/2016 Corporation                                                     $29.50                                                                                           $29.50
janine wannamaker
164 ford ave                                                  RS Legacy Corporation fka RadioShack
rochester, ny 14606                       12736      2/2/2016 Corporation                                                      $0.00                                                                                            $0.00
JOZANN BORENSTEIN
10141 BIRCHWOOD DRIVE                                         RS Legacy Corporation fka RadioShack
HUNTINGTON BEACH, CA 92646                12737      2/2/2016 Corporation                                                     $10.79                                                                                           $10.79
Jacob Fickes
59 Dodds ave                                                  RS Legacy Corporation fka RadioShack
Valencia, Pa 16059                        12738      2/2/2016 Corporation                                                     $10.00                                                                                           $10.00
William Lindsey
8902 Grant                                                    RS Legacy Corporation fka RadioShack
Overland Park, KS 66212                   12739      2/3/2016 Corporation                                                     $10.00                                                                                           $10.00
M Mosco
1623 Military Road 856                                        RS Legacy Corporation fka RadioShack
Niagara Falls, NY 14304                   12740      2/3/2016 Corporation                                                    $120.00                                                                                          $120.00
Kyle Ferreira
233 Van Houten Ave                                            RS Legacy Corporation fka RadioShack
Wyckoff, NJ 07481                         12741      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Deborah O'Hara
1801 Gable View St                                            RS Legacy Corporation fka RadioShack
Palmdale, CA 93550                        12742      2/3/2016 Corporation                                                     $88.18                                                                                           $88.18
JIEHAO LIN
1909 shifting winds st                                        RS Legacy Corporation fka RadioShack
las vegas, nv 89117                       12743      2/3/2016 Corporation                                                     $10.82                                                                                           $10.82
Michael Jedrezyk
128 Windham Loop                                              RS Legacy Corporation fka RadioShack
Staten Island, NY 10314                   12744      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Wade Richardson
14307 Chimney House Lane                                      RS Legacy Corporation fka RadioShack
San Antonio, Texas 78231                  12745      2/3/2016 Corporation                                                     $60.63                                                                                           $60.63
Diana Starr
54 Roberts Cove Road                                          RS Legacy Corporation fka RadioShack
Weaverville, NC 28787                     12746      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Diana Starr
54 Roberts Cove Road                                          RS Legacy Corporation fka RadioShack
Weaverville, NC 28787                     12747      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Susan Whittemore
po box 10693                                                  RS Legacy Corporation fka RadioShack
portland, me 04104                        12748      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Clifton Kirven
1069 knox highway 12                                          RS Legacy Corporation fka RadioShack
gilson, il 61436                          12749      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Rosalinda Velazquez
1304 E Dunlap Ave                                             RS Legacy Corporation fka RadioShack
Phoenix, Az 85020                         12750      2/3/2016 Corporation                                                    $121.22                                                                                          $121.22




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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
John Suggs
6828 N. Trenholm Rd                                           RS Legacy Corporation fka RadioShack
Columbia, sc 29206                        12751      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Karen McDevitt
101 Highland Court                                            RS Legacy Corporation fka RadioShack
Douglassville, PA 19518                   12752      2/3/2016 Corporation                                                     $63.58                                                                                           $63.58
Diana Wilson‐Bell
71 Claridge Court                                             RS Legacy Corporation fka RadioShack
Toms River, NJ 08753                      12753      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Diana Wilson‐Bell
71 Claridge Court                                             RS Legacy Corporation fka RadioShack
Toms River, NJ 08753                      12754      2/3/2016 Corporation                                                     $25.00                                                                                           $25.00
Mark Tortorici
461 April Way                                                 RS Legacy Corporation fka RadioShack
Campbell, CA 95008                        12755      2/3/2016 Corporation                                                     $25.00                                                                                           $25.00
Ryan Atkins
206 dino St                                                   RS Legacy Corporation fka RadioShack
Hot Springs, Ar 71901                     12756      2/3/2016 Corporation                                                     $42.33                                                                                           $42.33
Susana Wagstaff
1054 S Magnolia Ave. # 10                                     RS Legacy Corporation fka RadioShack
El Cajon, CA 92020                        12757      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00
J Facker
33535 Barksdale dr                                            RS Legacy Corporation fka RadioShack
leesburg, Florida 34788                   12758      2/3/2016 Corporation                                                     $25.00                                                                                           $25.00
don bezdicek
1605 Northridge Dr                                            RS Legacy Corporation fka RadioShack
Hastings, MN MN 55033                     12759      2/3/2016 Corporation                                                     $50.00                                                                                           $50.00
don Bezdicek
1605 Northridge Dr                                            RS Legacy Corporation fka RadioShack
Hastings, MN 55033                        12760      2/3/2016 Corporation                                                      $4.28                                                                                            $4.28
Todd Gray
1633 Carolina Ave                                             RS Legacy Corporation fka RadioShack
Kingsport, Tn 37664                       12761      2/3/2016 Corporation                                                     $25.00                                                                                           $25.00
gayatri
227 brooklyn ave.                                             RS Legacy Corporation fka RadioShack
spotswood, nj 08884                       12762      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00
James petracca
161 west stearns st                                           RS Legacy Corporation fka RadioShack
Rahway, New jersey 07065                  12763      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Linda Accurso
56 N. Market St.                                              RS Legacy Corporation fka RadioShack
Glen Lyon, PA 18617                       12764      2/3/2016 Corporation                                                     $40.00                                                                                           $40.00
Linda Accurso
56 N. Market St.                                              RS Legacy Corporation fka RadioShack
Glen Lyon, PA 18617                       12765      2/3/2016 Corporation                                                     $30.00                                                                                           $30.00
Karen Cumming
29358 Branwin St                                              RS Legacy Corporation fka RadioShack
Murrieta, CA 92563                        12766      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Thomas Harrison
4470 Carriage Park Drive                                      RS Legacy Corporation fka RadioShack
Lithonia, GA 30038                        12767      2/3/2016 Corporation                                                     $26.99                                                                                           $26.99




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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Sheila Kyer
7018 N 80th Drive                                             RS Legacy Corporation fka RadioShack
Glendale, AZ 85303                        12768      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Sam Willard
1126 S Grandview Ave.                                         RS Legacy Corporation fka RadioShack
Papillion, NE 68046                       12769      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Justin Faulkner
5 Pheasant Run Road                                           RS Legacy Corporation fka RadioShack
Medway, Massachusetts 02053               12770      2/4/2016 Corporation                                                     $25.00                                                                                           $25.00
David Long
410 pearl st apt a                                            RS Legacy Corporation fka RadioShack
Fayetteville, NC 28303                    12771      2/4/2016 Corporation                                                      $5.00                                                                                            $5.00
Andy Lee
180 Full Moon                                                 RS Legacy Corporation fka RadioShack
Irvine, CA 92618                          12772      2/4/2016 Corporation                                                     $31.40                                                                                           $31.40
Liem S. Tran
26106 Maplewood                                               RS Legacy Corporation fka RadioShack
Spring, TX 77386                          12773      2/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Kenya Ruth
19178 Edgefield                                               RS Legacy Corporation fka RadioShack
Grosse Pointe Woods, MI 48236             12774      2/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Nanci Lynn Golod
260 South Crescent Drive.                                     RS Legacy Corporation fka RadioShack
Saluda, N.C. 28773                        12775      2/4/2016 Corporation                                                     $25.00                                                                                           $25.00
Larry Gimnich
46 Country Village Circle                                     RS Legacy Corporation fka RadioShack
Cabot, AR 72023                           12776      2/4/2016 Corporation                                                     $20.00                                                                                           $20.00
Melanie Houser
603 Log Cabin                                                 RS Legacy Corporation fka RadioShack
Farmington, MO 63640                      12777      2/4/2016 Corporation                                                     $25.00                                                                                           $25.00
Karen Munoz
1506 Stokes                                                   RS Legacy Corporation fka RadioShack
San Marcos, Texas 78666                   12778      2/4/2016 Corporation                                                     $21.00                                                                                           $21.00
George C. West
11092 115th Street                                            RS Legacy Corporation fka RadioShack
Largo, Florida 33778                      12779      2/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Lisa Strawberry
1108 Gittings Ave                                             RS Legacy Corporation fka RadioShack
Baltimore, Md 21239                       12780      2/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Jeremy Lamb
1817 Melody Dr                                                RS Legacy Corporation fka RadioShack
Midwest City, Ok 73130                    12781      2/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert Faulkner
32 Elwin st                                                   RS Legacy Corporation fka RadioShack
Swampscott, MA 01907                      12782      2/4/2016 Corporation                                                     $50.00                                                                                           $50.00
Hutton ‐ Heer, Nelda
1301 N.W. 178 st. #97                                         RS Legacy Corporation fka RadioShack
Edmond, OK 73012                          12783      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00
jerry watson
2612 FM 1806                                                  RS Legacy Corporation fka RadioShack
Montague, tx 76251                        12784      2/4/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
John Ruwwe
802 Rio Grande                                                RS Legacy Corporation fka RadioShack
Austin, TX 78701                          12785      2/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Tammy Baruch
233 South Federal Highway #406                                RS Legacy Corporation fka RadioShack
Boca Raton, fl 33432                      12786      2/4/2016 Corporation                                                      $0.00                                                                                            $0.00
John Geerling
12624 Everglade Road                                          RS Legacy Corporation fka RadioShack
Abbeville, LA 70510                       12787      2/4/2016 Corporation                                                      $0.00                                                                                            $0.00
RaeAnne Hebnes
12325 Shiloh Rd                                               RS Legacy Corporation fka RadioShack
Anchorage, AK 99516                       12788      2/4/2016 Corporation                                                     $29.85                                                                                           $29.85
Tyra O'Rourke
7 Penny Lane                                                  RS Legacy Corporation fka RadioShack
Nashua, NH 03062                          12789      2/4/2016 Corporation                                                    $253.03                                                                                          $253.03
Denise Simonsen
16222 Big Oak Circle                                          RS Legacy Corporation fka RadioShack
Magnolia, TX 77355                        12790      2/4/2016 Corporation                                                     $27.00                                                                                           $27.00
Dana Biggerstaff
5000 Prieto Drive                                             RS Legacy Corporation fka RadioShack
Pensacola, FL 32506                       12791      2/4/2016 Corporation                                                     $25.00                                                                                           $25.00
KIRAN TAVANE
1024 HOLLINGSWOOD CT                                          RS Legacy Corporation fka RadioShack
NAPERVILLE, IL 60564                      12792      2/4/2016 Corporation                                                      $0.00                                                                                            $0.00
David Davis
316 W Wilder Ave                                              RS Legacy Corporation fka RadioShack
Tampa, FL 33603                           12793      2/4/2016 Corporation                                                     $75.00                                                                                           $75.00
Linda Steiner
53 Ordell Ave.                                                RS Legacy Corporation fka RadioShack
Staten Island, NY 10302‐2327              12794      2/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Felix Valdez
23895 gowdy ave                                               RS Legacy Corporation fka RadioShack
Lake Forest, Ca 92630                     12795      2/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Linda Steiner
53 Ordell Ave.                                                RS Legacy Corporation fka RadioShack
Staten Island, NY 10302‐2327              12796      2/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Dylan Sault
23 Hewitt Rd                                                  RS Legacy Corporation fka RadioShack
Spofford, NH 03462                        12797      2/4/2016 Corporation                                                     $20.00                                                                                           $20.00
Sheri Leese
82 Forest Ave                                                 RS Legacy Corporation fka RadioShack
Fox Lake, IL 60020                        12798      2/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Sheri Leese
82 Forest Ave                                                 RS Legacy Corporation fka RadioShack
Fox Lake, IL 60020                        12799      2/4/2016 Corporation                                                      $0.00                                                                                            $0.00
minesh daya
2094 kilbirnie ct. NW                                         RS Legacy Corporation fka RadioShack
Kennesaw, GA 30152                        12800      2/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Andrew Hodorowicz
14930 S Cicero Ave                                            RS Legacy Corporation fka RadioShack
Oak Forest, IL 60452                      12801      2/4/2016 Corporation                                                    $100.00                                                                                          $100.00




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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Avalicia Wilson Dillon
5789 sw 116th place road                                      RS Legacy Corporation fka RadioShack
Ocala, Fl 34476                           12802      2/4/2016 Corporation                                                     $50.00                                                                                           $50.00
Avalicia Wilson Dilloni
5789 sw 116th place road                                      RS Legacy Corporation fka RadioShack
Ocala, Fl 34476                           12803      2/4/2016 Corporation                                                     $25.00                                                                                           $25.00
Jacque Douglas
5583 Hardscrabble Rd.                                         RS Legacy Corporation fka RadioShack
Drain, or 97435                           12804      2/4/2016 Corporation                                                     $14.99                                                                                           $14.99
Daniel Klerman
7 Southfield Dr                                               RS Legacy Corporation fka RadioShack
Rolling Hills, CA 90274                   12805      2/4/2016 Corporation                                                     $32.46                                                                                           $32.46
Fara Vazinpour
6222 Bullard Drive                                            RS Legacy Corporation fka RadioShack
oakland, ca 94611                         12806      2/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Robin Spediell
4595 willow pond ct e                                         RS Legacy Corporation fka RadioShack
West palm beach, FL 33417                 12807      2/4/2016 Corporation                                                     $52.99                                                                                           $52.99
Daren Nowak
15981 Arbor crossing dr                                       RS Legacy Corporation fka RadioShack
granger, IN 46530                         12808      2/4/2016 Corporation                                                     $25.00                                                                                           $25.00
Daren Nowak
15981 Arbor Crossing dr                                       RS Legacy Corporation fka RadioShack
Granger, in 46530                         12809      2/4/2016 Corporation                                                     $96.29                                                                                           $96.29
PEGGY GATES
38 UNION STREET                                               RS Legacy Corporation fka RadioShack
WATERBURY, VT 05676                       12810      2/4/2016 Corporation                                                      $8.82                                                                                            $8.82
john markert
14056 golden eagle dr                                         RS Legacy Corporation fka RadioShack
jacksonville, fl 32226                    12811      2/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Amy Y Mi
968 Heather Lane                                              RS Legacy Corporation fka RadioShack
San Lorenzo, CA 94580                     12812      2/5/2016 Corporation                                                    $100.00                                                                                          $100.00
Fredrick Frapier
416 Horobin St. A                                             RS Legacy Corporation fka RadioShack
Sudbury, Ontario P3C3S7                   12813      2/5/2016 Corporation                                                    $485.00                                                                                          $485.00
Amy lucey
316 katona dr                                                 RS Legacy Corporation fka RadioShack
Fairfield, Ct 06824                       12814      2/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Sylvia Demarest
114 Frog Hollow Ln                                            RS Legacy Corporation fka RadioShack
Saylorsburg, PA 18353                     12815      2/5/2016 Corporation                                                     $20.00                                                                                           $20.00
Chadwick Griffin
332 south gilpin st                                           RS Legacy Corporation fka RadioShack
Denver, CO 80209                          12816      2/5/2016 Corporation                                                    $100.00                                                                                          $100.00
Lisa Strawberry
1108 Gittings Avenue                                          RS Legacy Corporation fka RadioShack
Baltimore, MD 21239                       12817      2/5/2016 Corporation                                                     $50.00                                                                                           $50.00
Mauricio Barrientos
817 Suntree Woods Dr                                          RS Legacy Corporation fka RadioShack
Melbourne, Florida 32940                  12818      2/5/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Kendra Dash
3879 San Lorenzo Drive                                        RS Legacy Corporation fka RadioShack
Punta Gorda, Florida 33950                12819      2/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Nakomo A Mambe
3711 Berleigh Hill Ct                                         RS Legacy Corporation fka RadioShack
Burtonsville, MD 20866                    12820      2/5/2016 Corporation                                                     $73.80                                                                                           $73.80
danielle ezra
1349 Walgrove ave                                             RS Legacy Corporation fka RadioShack
los angeles, california 90066             12821      2/5/2016 Corporation                                                      $0.00                                                                                            $0.00
testbdfb
bbhrfb                                                        RS Legacy Corporation fka RadioShack
rbhrbh, drhrd hnthn                       12822      2/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Stewart, Jayne
1091 Piney Z Plantation Rd                                    RS Legacy Corporation fka RadioShack
Tallahasse, FL 32311                      12823      2/3/2016 Corporation                                                     $44.00                                                                                           $44.00
Johnson, Anthony
5 W St. N.W.                                                  RS Legacy Corporation fka RadioShack
Washington, DC 20001                      12824      2/3/2016 Corporation                                                      $2.08                                                                                            $2.08
Roberts, Chamaine
9705 Sam Bass Tr                                              RS Legacy Corporation fka RadioShack
Keller, TX 76244                          12825      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Medina, Roberto
3500 South J Street                                           RS Legacy Corporation fka RadioShack
Oxnard, CA 93033                          12826      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00
thanh Phan
12534 Katrina COurt                                           RS Legacy Corporation fka RadioShack
Houston, tx 77089                         12827      2/3/2016 Corporation                                                     $50.00                                                                                           $50.00
Pimentel, Maria Elena
1521 Arthur Neal Ct                                           RS Legacy Corporation fka RadioShack
Lemon Grove, CA 91945                     12828      2/3/2016 Corporation                                                     $10.00                                                                                           $10.00
Belin, Lauren
135 Centre Street                                             RS Legacy Corporation fka RadioShack
Fleetwood, NY 10552                       12829      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Frances Wells
POB 401                                                       RS Legacy Corporation fka RadioShack
New Tazewell, TN 37824                    12830      2/5/2016 Corporation                                                     $50.00                                                                                           $50.00
Dana Antonucci
2 Barberry Lane                                               RS Legacy Corporation fka RadioShack
Center Moriches, NY 11934                 12831      2/5/2016 Corporation                                                     $25.00                                                                                           $25.00
Mary Rajski
51778 Old Mill Rd                                             RS Legacy Corporation fka RadioShack
South Bend, IN 46637                      12832      2/5/2016 Corporation                                                    $139.09                                                                                          $139.09
David Sciacchitano
240 Donna Drive                                               RS Legacy Corporation fka RadioShack
Mattituck, New York 11952                 12833      2/5/2016 Corporation                                                     $25.00                                                                                           $25.00
David Sciacchitano
240 Donna Drive                                               RS Legacy Corporation fka RadioShack
Mattituck, New York 11952                 12834      2/5/2016 Corporation                                                     $25.00                                                                                           $25.00
John La Fever
1186 Covered Bridge Rd                                        RS Legacy Corporation fka RadioShack
Unadilla, NY 13849                        12835      2/5/2016 Corporation                                                    $175.00                                                                                          $175.00




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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Eric Teixeira
91 Lonsdale Main street                                       RS Legacy Corporation fka RadioShack
Lincoln, Ri 02865                         12836      2/5/2016 Corporation                                                     $30.87                                                                                           $30.87
Gary M. Chazick
5377 Robin Dr                                                 RS Legacy Corporation fka RadioShack
Grand Blanc, Michigan 48439               12837      2/5/2016 Corporation                                                     $71.42                                                                                           $71.42
Claudia Luna
9233 Nan Street                                               RS Legacy Corporation fka RadioShack
Pico Rivera, CA 90660                     12838      2/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Kevin Hobbs
PO Box 11                                                     RS Legacy Corporation fka RadioShack
Candia, NH 03034                          12839      2/5/2016 Corporation                                                     $50.01                                                                                           $50.01
Mathew Apeseche
12 Highland Street                                            RS Legacy Corporation fka RadioShack
Natick, MA 01760                          12840      2/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Dobbins, Tammy
198 Walker Point                                              RS Legacy Corporation fka RadioShack
Seneca, SC 29672                          12841      2/3/2016 Corporation                                                     $36.00                                                                                           $36.00
Horowitz, Thelma
8697 Doverbrook Dr                                            RS Legacy Corporation fka RadioShack
Palm Beach Garden, FL 33418               12842      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Michelle Flitcroft
3490 Country View Drive                                       RS Legacy Corporation fka RadioShack
Delavan, WI 53115                         12843      2/5/2016 Corporation                                                     $50.00                                                                                           $50.00
KEVIN JOLLEY
526 FILTER PLANT RD                                           RS Legacy Corporation fka RadioShack
GAFFNEY, SC 29340                         12844      2/5/2016 Corporation                                                     $47.36                                                                                           $47.36
jeff stachnik
214 hillman                                                   RS Legacy Corporation fka RadioShack
washington, illinois 61571                12845      2/5/2016 Corporation                                                     $20.00                                                                                           $20.00
Leavitt, Yvonne
1532 Doroth Dr.                                               RS Legacy Corporation fka RadioShack
Boulder City, NV 89005                    12846      2/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Beck, Jacqueline
2 West Mountasin Rd                                           RS Legacy Corporation fka RadioShack
Ridgefield , CT 06877                     12847      2/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Cheryl Revell
1869 Honey Springs Road                                       RS Legacy Corporation fka RadioShack
Jamu, CA 91935                            12848      2/5/2016 Corporation                                                     $25.00                                                                                           $25.00
Cheryl Revell
1869 Honey Springs Road                                       RS Legacy Corporation fka RadioShack
Jamul, CA 91935                           12849      2/5/2016 Corporation                                                     $25.00                                                                                           $25.00
Robert McKenna
2106 NE 47th St                                               RS Legacy Corporation fka RadioShack
Seattle, WA 98105                         12850      2/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Kim Skibbe
8862 E 300 South                                              RS Legacy Corporation fka RadioShack
Crawfordsville, IN 47933                  12851      2/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Anna Grwinski
301 N. Van Buren St.                                          RS Legacy Corporation fka RadioShack
Auburn / IN / 46706, n/a n/a              12852      2/5/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Scott Carson
928 Columbus Drive                                            RS Legacy Corporation fka RadioShack
Capitola, CA 95010                        12853      2/6/2016 Corporation                                                     $13.70                                                                                           $13.70
Sebastian Fernandez
3131 Sherwood Ave #6                                          RS Legacy Corporation fka RadioShack
Alhambra, CA 91801                        12854      2/6/2016 Corporation                                                      $0.00                                                                                            $0.00
JD Denny
1612 South Wilcox St., #8                                     RS Legacy Corporation fka RadioShack
BLOOMINGTON, IN 47401                     12855      2/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Katie Murphy
400 Benjamin St                                               RS Legacy Corporation fka RadioShack
Romeo, MI 48065                           12856      2/6/2016 Corporation                                                     $31.79                                                                                           $31.79
Omer Sohail
8 Camp Bal Pl                                                 RS Legacy Corporation fka RadioShack
Little Falls, NJ 07424                    12857      2/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Desiree Jones‐Ashby
11125 N. 21st St                                              RS Legacy Corporation fka RadioShack
TAMPA, Fl. 33612                          12858      2/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Christopher Seipt
404 Little John Dr                                            RS Legacy Corporation fka RadioShack
Dillsburg, PA 17019                       12859      2/6/2016 Corporation                                                     $21.19                                                                                           $21.19
Paige Jones
1018 1st Street N                                             RS Legacy Corporation fka RadioShack
Jacksonville Beach, FL 32250              12860      2/6/2016 Corporation                                                      $0.00                                                                                            $0.00
DONALD CAWLEY
7125 SW 132 COURT                                             RS Legacy Corporation fka RadioShack
MIAMI, FL 33183                           12861      2/6/2016 Corporation                                                     $40.11                                                                                           $40.11
max bruk
1520 s 55th st apt c                                          RS Legacy Corporation fka RadioShack
richmond, ca 94804                        12862      2/6/2016 Corporation                                                     $29.12                                                                                           $29.12
Omar Alowdi
1335 54th                                                     RS Legacy Corporation fka RadioShack
Oakland, CA 94601                         12863      2/6/2016 Corporation                                                    $108.26                                                                                          $108.26
Ed Stare
3709 N. Oconto Avenue                                         RS Legacy Corporation fka RadioShack
Chicago, IL 60634                         12864      2/6/2016 Corporation                                                      $3.87                                                                                            $3.87
Bryant Dawson
14360 Seymour Road                                            RS Legacy Corporation fka RadioShack
Linden, MI 48451                          12865      2/6/2016 Corporation                                                     $30.00                                                                                           $30.00
Daniel Tabor
521 n. Wooddale rd                                            RS Legacy Corporation fka RadioShack
knoxville, tn 37924                       12866      2/6/2016 Corporation                                                     $40.00                                                                                           $40.00
Robert Ferris
1636 Moran Ave                                                RS Legacy Corporation fka RadioShack
Lincoln Park, MI 48146                    12867      2/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Anne Marie Moldow
2409 Gerber Ct.                                               RS Legacy Corporation fka RadioShack
Raleigh, NC 27614                         12868      2/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Russell Godshalk
41 Timberwood Drive                                           RS Legacy Corporation fka RadioShack
Hilton, NY 14468                          12869      2/6/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                 Current General                                            Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Eran Feigenbaum
43 hidden Trail                                               RS Legacy Corporation fka RadioShack
Irvine, ca 92603                          12870      2/6/2016 Corporation                                                      $0.00                                                                                            $0.00
George Richardson
74 Gaskin Ave                                                 RS Legacy Corporation fka RadioShack
Spotswood, NJ 08884                       12871      2/7/2016 Corporation                                                     $25.00                                                                                           $25.00
Ashley Hicks
3500 John A Merritt Blvd                                      RS Legacy Corporation fka RadioShack
Nashville, Tn 37209                       12872      2/7/2016 Corporation                                                     $60.92                                                                                           $60.92
Angela Kossluk
32 Joanne Drive                                               RS Legacy Corporation fka RadioShack
Milford, ct 06460                         12873      2/7/2016 Corporation                                                      $5.63                                                                                            $5.63
Karen Palumbo
390 Sprague St.                                               RS Legacy Corporation fka RadioShack
Dedham, MA 02026                          12874      2/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Mitchell Famighetti
5035 North Reeder Ave.                                        RS Legacy Corporation fka RadioShack
Covina, Ca 91724                          12875      2/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Evan Winiger
1837 Eastern Hills Drive                                      RS Legacy Corporation fka RadioShack
Garland, Tx 75043                         12876      2/7/2016 Corporation                                                     $20.00                                                                                           $20.00
Venkata Mavuri
1910 Holly Ridge Dr, Apt # T3                                 RS Legacy Corporation fka RadioShack
McLean, VA 22102                          12877      2/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Carlos Arana
2084 Indigo Trail                                             RS Legacy Corporation fka RadioShack
Centerville, OH 45459                     12878      2/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Carlos Arana
2084 Indigo Trail                                             RS Legacy Corporation fka RadioShack
Centerville, OH 45459                     12879      2/7/2016 Corporation                                                     $50.00                                                                                           $50.00
Carlos Arana
2084 Indigo Trail                                             RS Legacy Corporation fka RadioShack
Centervill, OH 45459                      12880      2/7/2016 Corporation                                                     $24.85                                                                                           $24.85
Steven Moy
8556 Stalwart Circle                                          RS Legacy Corporation fka RadioShack
Melbourne, Florida 32940                  12881      2/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Kyle Fisher
1319 Village Green Parkway                                    RS Legacy Corporation fka RadioShack
Bradenton, Fl 344209                      12882      2/7/2016 Corporation                                                      $0.00                                                                                            $0.00
SUREN ASLANYAN
1921 N BUENA VISTA ST APT 406                                 RS Legacy Corporation fka RadioShack
BURBANK, CA 91504                         12883      2/7/2016 Corporation                                                    $100.00                                                                                          $100.00
David Gulman
2443 30th Avenue                                              RS Legacy Corporation fka RadioShack
San Francisco, CA 94116                   12884      2/8/2016 Corporation                                                     $30.00                                                                                           $30.00
Caterina Sicuranza
116 Frost Pond Road                                           RS Legacy Corporation fka RadioShack
Glen Cove, NY 11542                       12885      2/8/2016 Corporation                                                    $130.34                                                                                          $130.34
Shannon Leo
383 Carilla Lane                                              RS Legacy Corporation fka RadioShack
Columbus, Oh 43228                        12886      2/8/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Jennifer Adams
29 Couture Flat                                               RS Legacy Corporation fka RadioShack
Lyndonville, VT 05851                     12887      2/8/2016 Corporation                                                     $90.00                                                                                           $90.00
Albert S Cheung
968 Heather Lane                                              RS Legacy Corporation fka RadioShack
San Lorenzo, CA 94580                     12888      2/8/2016 Corporation                                                    $100.00                                                                                          $100.00
Dale Webberley
7 Wood Rd.                                                    RS Legacy Corporation fka RadioShack
Trout Lake, Wa. 98650                     12889      2/8/2016 Corporation                                                     $20.00                                                                                           $20.00
Rath Chan
36 Hamilton St                                                RS Legacy Corporation fka RadioShack
providence, ri 02907                      12890      2/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Brett Johnson
760 Ivy St                                                    RS Legacy Corporation fka RadioShack
Lynden, WA 98264                          12891      2/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Sheila m Foronda
8806 cather avenue                                            RS Legacy Corporation fka RadioShack
20110, Va Manassas                        12892      2/8/2016 Corporation                                                     $30.00                                                                                           $30.00
demarco blakely
718 n grape st                                                RS Legacy Corporation fka RadioShack
escondido, ca 92025                       12893      2/8/2016 Corporation                                                     $30.00                                                                                           $30.00
Reynolds , Joy
7862 Tunnelton Road                                           RS Legacy Corporation fka RadioShack
Bedford , IN 47421                        12894      2/3/2016 Corporation                                                     $25.00                                                                                           $25.00
Adams , Brandi
29 Flint Meadow Dr                                            RS Legacy Corporation fka RadioShack
Brookline , NH 03033                      12895      2/3/2016 Corporation                                                     $42.49                                                                                           $42.49
Lacey Lyons
1819 Glendale Drive                                           RS Legacy Corporation fka RadioShack
McKinleyville, CA 95519                   12896      2/8/2016 Corporation                                                      $0.00                                                                                            $0.00
McCormick, Don
261 Stone Gate Lane                                           RS Legacy Corporation fka RadioShack
Summerville, SC 29486                     12897      2/3/2016 Corporation                                                     $36.25                                                                                           $36.25
Carter, Derrick L.
4717 Still Place                                              RS Legacy Corporation fka RadioShack
Woodbridge, VA 22193                      12898      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Perry, Debbie
1105 Savannah DR                                              RS Legacy Corporation fka RadioShack
Ennis, TX 75119                           12899      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Torres, Vera
3806 California Avenue                                        RS Legacy Corporation fka RadioShack
Kenner, LA 70065                          12900      2/3/2016 Corporation                                                     $50.00                                                                                           $50.00
Deering, Katie
913 Laguna Dr.                                                RS Legacy Corporation fka RadioShack
Denton, TX 76209                          12901      2/3/2016 Corporation                                                     $50.00                                                                                           $50.00
Pillard, Cheryl A
141 Stony Rd                                                  RS Legacy Corporation fka RadioShack
Lancaster, NY 14086                       12902      2/3/2016 Corporation                                                    $108.74                                                                                          $108.74
jacquline buso
2101 S Borgman Road                                           RS Legacy Corporation fka RadioShack
Oak Grove, MO 64075                       12903      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Bresloff, Manaelaina
101 Trafalgar Drive Or                                        RS Legacy Corporation fka RadioShack
Shirley, NY 11967                         12904      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Alexandra Krotova
18300 Napa st, apt C                                          RS Legacy Corporation fka RadioShack
Northridge, CA 91325                      12905      2/8/2016 Corporation                                                     $10.00                                                                                           $10.00
Janice Anderson
217 Kickham Lane                                              RS Legacy Corporation fka RadioShack
Grovetown, Georgia 30813                  12906      2/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Linda Grunthaner
78 parker ave                                                 RS Legacy Corporation fka RadioShack
little silver, nj 07739                   12907      2/8/2016 Corporation                                                     $25.00                                                                                           $25.00
Chris Connolly
23613 Real Court                                              RS Legacy Corporation fka RadioShack
Valencia, CA 91355                        12908      2/8/2016 Corporation                                                      $5.39                                                                                            $5.39
Mark Souva
9977 State Route 12                                           RS Legacy Corporation fka RadioShack
Copenhagen, NY 13626                      12909      2/8/2016 Corporation                                                     $25.00                                                                                           $25.00
Judy Burns
PO Box 212                                                    RS Legacy Corporation fka RadioShack
Waurika, OK 73573                         12910      2/8/2016 Corporation                                                     $25.00                                                                                           $25.00
Dax Derringer
8045 S. Giles rd                                              RS Legacy Corporation fka RadioShack
Douglasville, Ga 30135                    12911      2/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Mark Moncreaff
38 Hillside Avenue                                            RS Legacy Corporation fka RadioShack
Waterlooville, Hampshire PO7 5BB          12912      2/8/2016 Corporation                                                     $10.00                                                                                           $10.00
Sandra Gardner
20 Palisade Terrace                                           RS Legacy Corporation fka RadioShack
Glastonbury, CT 06033                     12913      2/8/2016 Corporation                                                      $0.00                                                                                            $0.00
sean perez
33 North Anguilla Road                                        RS Legacy Corporation fka RadioShack
North Stonington, CT 06359                12914      2/8/2016 Corporation                                                     $39.15                                                                                           $39.15
Lynn Bialek
1390 Route 238                                                RS Legacy Corporation fka RadioShack
Attica, Ny 14011                          12915      2/8/2016 Corporation                                                     $25.00                                                                                           $25.00
Jennifer Coffey
5255 Zachary Grove #105                                       RS Legacy Corporation fka RadioShack
Colorado Springs, CO 80919                12916      2/8/2016 Corporation                                                     $75.34                                                                                           $75.34
DAMARIS ORTIZ TRANA
P.O. BOX 7494                                                 RS Legacy Corporation fka RadioShack
CAGUAS, PR 00726                          12917      2/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Hope Riska
18015 69th Pl N                                               RS Legacy Corporation fka RadioShack
Maple Grove, MN 55311                     12918      2/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Crystal Hober
4109 Diamond Place                                            RS Legacy Corporation fka RadioShack
Royersford, PA 19468                      12919      2/8/2016 Corporation                                                      $3.84                                                                                            $3.84
Quran Beckett
1875 Main Street                                              RS Legacy Corporation fka RadioShack
Newington, CT 06111                       12920      2/8/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Ericka Tijerino
1761 Welsh Dr                                                 RS Legacy Corporation fka RadioShack
San Jacinto, CA 92582                     12921      2/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Adams, Erin
PO Box 251                                                    RS Legacy Corporation fka RadioShack
Bargersvile, IN 46106                     12922      2/3/2016 Corporation                                                     $40.00                                                                                           $40.00
mike walter
Po box 44                                                     RS Legacy Corporation fka RadioShack
north branch, mn 55056                    12923      2/8/2016 Corporation                                                     $35.00                                                                                           $35.00
Albert S Cheung
968 Heather Lane                                              RS Legacy Corporation fka RadioShack
San Lorenzo, CA 94580                     12924      2/8/2016 Corporation                                                    $100.00                                                                                          $100.00
Ruben Abigador
10 Burnt Mill Road                                            RS Legacy Corporation fka RadioShack
Branchburg, NJ 08876                      12925      2/8/2016 Corporation                                                      $0.00                                                                                            $0.00
FRED CHOOBINEH
P.O. Box 1294                                                 RS Legacy Corporation fka RadioShack
AMES, IA 50014‐1294                       12926      2/8/2016 Corporation                                                    $128.37                                                                                          $128.37
Monique Walker
115 N 52nd street apt 2                                       RS Legacy Corporation fka RadioShack
Philadelphia, Pa 19139                    12927      2/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Moshe Loebenberg
320 n Formosa ave                                             RS Legacy Corporation fka RadioShack
90036, Los angeles Ca                     12928      2/8/2016 Corporation                                                     $63.80                                                                                           $63.80
Gene Hairston
12461 Hawks Lndg Dr                                           RS Legacy Corporation fka RadioShack
Fishers, IN 46037                         12929      2/8/2016 Corporation                                                     $25.00                                                                                           $25.00
Daniel Gerritsen
6501 Red Hook Plaza, Ste. 201                                 RS Legacy Corporation fka RadioShack
St. Thomas, VI 00802                      12930      2/8/2016 Corporation                                                      $0.00                                                                                            $0.00
dick fong
65 ridings way ambler                                         RS Legacy Corporation fka RadioShack
Ambler/, pa 19002                         12931      2/8/2016 Corporation                                                      $5.00                                                                                            $5.00
Eva Veron
7627 Archibald Ave                                            RS Legacy Corporation fka RadioShack
Rancho Cucamonga, Ca 91730                12932      2/8/2016 Corporation                                                    $100.00                                                                                          $100.00
John Galysh
8301 Lando Court                                              RS Legacy Corporation fka RadioShack
Corpus Christi, TX 78414                  12933      2/8/2016 Corporation                                                    $100.00                                                                                          $100.00
Mae Takahashi
4989 Kalanianaole Hwy.                                        RS Legacy Corporation fka RadioShack
Honolulu, Hawaii 96821                    12934      2/8/2016 Corporation                                                     $31.40                                                                                           $31.40
Mary Jungnitsch
1290 NE 130                                                   RS Legacy Corporation fka RadioShack
Knob Noster, MO 65336                     12935      2/8/2016 Corporation                                                     $50.00                                                                                           $50.00
pablo padilla
15727 basin lane                                              RS Legacy Corporation fka RadioShack
victorvill e, ca 92394                    12936      2/8/2016 Corporation                                                     $53.99                                                                                           $53.99
patrick heifferon
516 south avenue                                              RS Legacy Corporation fka RadioShack
elmira, ny 14904                          12937      2/9/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                            Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                      Amount
RAMIREZ, DUFAY                                                    RS Legacy Corporation fka RadioShack
                                              12938      2/3/2016 Corporation                                                     $86.19                                                     $0.00                                  $86.19
Peter Bollinger Investment Co.
c/o Jennifer L. Pruski, Esquire
Trainor Fairbrook
980 Fulton Avenue                                                 RS Legacy Corporation fka RadioShack
Sacramento, CA 95825                          12939      2/2/2016 Corporation                                                      $0.00                                                                                             $0.00
King, Roger
3149 Morning Way                                                  RS Legacy Corporation fka RadioShack
La Jolla, CA 92037‐1909                       12940      2/2/2016 Corporation                                                     $35.54                                                                                            $35.54
Evans, Gail M.
16 Beverly Avenue                                                 RS Legacy Customer Service LLC fka RadioShack
Salem, NH 03079‐2558                          12941      2/2/2016 Customer Service LLC                                             $7.03                                                                                             $7.03
MURRAY, ROSEMARIE
6104 Walnut Street                                                RS Legacy Customer Service LLC fka RadioShack
Philadelphia, PA 19139                        12942      2/2/2016 Customer Service LLC                                             $0.00                                                                                             $0.00
Edgewater Holding Corporation
100 Bush Street, Suite 218                                        RS Legacy Corporation fka RadioShack
SAN FRANCISCO, CA 94104                       12943      2/1/2016 Corporation                                                      $0.00                                                                                             $0.00
Connecticut Department of Revenue Services
C&E Division, Bankruptcy Section
25 Sigourney Street                                               RS Legacy Corporation fka RadioShack
Hartford, CT 06106‐5032                       12944      2/1/2016 Corporation                                                                     $51,635.83                                                                    $51,635.83
Rosa Martinez
200 Madison Ave 2nd Floor                                         RS Legacy Corporation fka RadioShack
New York, NY 10016                            12945      2/9/2016 Corporation                                                     $65.31                                                                                            $65.31
Anatoly Kessel
649 44th avenue                                                   RS Legacy Corporation fka RadioShack
San Francisco, CA 94121                       12946      2/9/2016 Corporation                                                      $0.00                                                                                             $0.00
Will Butler
2712 BLuebill Dr.                                                 RS Legacy Corporation fka RadioShack
Virginia Beach, VA 23456                      12947      2/9/2016 Corporation                                                     $25.00                                                                                            $25.00
Abby Epperson
3400 S Bowman Rd, APT 211                                         RS Legacy Corporation fka RadioShack
Little Rock, AR 72211                         12948      2/9/2016 Corporation                                                      $0.00                                                                                             $0.00
Tom Coughlin
64 Bolton St                                                      RS Legacy Corporation fka RadioShack
Lowell, MA 01852                              12949      2/9/2016 Corporation                                                     $14.99                                                                                            $14.99
Mark Carlsen
2100 Schuyler Avenue                                              RS Legacy Corporation fka RadioShack
Lafayette, Indiana 47904                      12950      2/9/2016 Corporation                                                     $25.00                                                                                            $25.00
mariefe cahanding
1 s park                                                          RS Legacy Corporation fka RadioShack
Universal City, TX 78148                      12951      2/9/2016 Corporation                                                     $50.00                                                                                            $50.00
Antonia DiCrocco
313 Longmont Drive                                                RS Legacy Corporation fka RadioShack
Lexington, SC 29072                           12952      2/9/2016 Corporation                                                     $25.00                                                                                            $25.00
Judy Shreve
6720 Northwestern TPKE                                            RS Legacy Corporation fka RadioShack
Keyser, wv 26726                              12953      2/9/2016 Corporation                                                     $50.00                                                                                            $50.00




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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Lisa Bell
1216 La Rue De Broussard                                      RS Legacy Corporation fka RadioShack
New Iberia, LA 70560                      12954      2/9/2016 Corporation                                                     $21.69                                                                                           $21.69
Mark Gruber
8547 Glenwood St.                                             RS Legacy Corporation fka RadioShack
Overland Park, Kansas 66212               12955      2/9/2016 Corporation                                                     $25.00                                                                                           $25.00
Aaron Raabe
10325 Mary st.                                                RS Legacy Corporation fka RadioShack
Omaha, Ne 68122                           12956      2/9/2016 Corporation                                                     $42.79                                                                                           $42.79
MURTHA, PATRICIA
9043 S.W. 109 LANE                                            RS Legacy Corporation fka RadioShack
OCALA, FL 34481                           12957      2/3/2016 Corporation                                                     $54.09                                                                                           $54.09
Rodolfo Gastelum
1450 Brett Place Unit 111                                     RS Legacy Corporation fka RadioShack
San Pedro, CA 90732                       12958      2/9/2016 Corporation                                                     $50.00                                                                                           $50.00
MILLER, IONA
35 HARDSCRABBLE HILL RD                                       RS Legacy Corporation fka RadioShack
CHAPPAQUA , NY 10514                      12959      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00
SCHORN, JOHN A
1401 LARCH LANE                                               RS Legacy Corporation fka RadioShack
WEST CHESTER , PA 19380                   12960      2/3/2016 Corporation                                                    $127.00                                                                                          $127.00
POUNDS , TAMMY
126 SOUTH HIGHLAND                                            RS Legacy Corporation fka RadioShack
SPARTA , TN 38583                         12961      2/3/2016 Corporation                                                     $87.79                                                                                           $87.79
FARID , MUJAHID
183 WELLINGTON DRIVE                                          RS Legacy Corporation fka RadioShack
BLOOMINGDALE , IL 60108                   12962      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00
NARR, EVELYN
113 1ST AVE. S.W.                                             RS Legacy Corporation fka RadioShack
NYA, MN 55397‐9203                        12963      2/3/2016 Corporation                                                     $50.00                                                                                           $50.00
DAVIS , SANDRA
1212 S. NAPER BLVD #119                                       RS Legacy Corporation fka RadioShack
NAPERVILLE , IL 60540                     12964      2/3/2016 Corporation                                                     $15.02                                                                                           $15.02
ELKINS, BEVERLY
1418 9TH AVENUE                                               RS Legacy Corporation fka RadioShack
LONGMONT, CO 80501                        12965      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Harris , Fredericka
PO Box 451                                                    RS Legacy Corporation fka RadioShack
McKinney, TX 75070                        12966      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Carol marcum
9117 n 200 e                                                  RS Legacy Corporation fka RadioShack
Frankfort, In 46041                       12967      2/9/2016 Corporation                                                      $3.71                                                                                            $3.71
Thomas stumborg
2406 Highview ct                                              RS Legacy Corporation fka RadioShack
champaign, il 61822                       12968      2/9/2016 Corporation                                                      $0.00                                                                                            $0.00
MURRAY, GRETCHEN
6439 PUTERS CIRCLE                                            RS Legacy Corporation fka RadioShack
SPRING HILL , FL 34606                    12969      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00
REED, DARLENE
2111 TANNER BRIDGE                                            RS Legacy Corporation fka RadioShack
JEFFERSON CITY, MO 65101                  12970      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
STRONG, PAMELA
720 BALBOA ST                                                 RS Legacy Corporation fka RadioShack
SAN FRANCISCO , CA 94118‐3727             12971      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00
WOMELSDORF, THERESA M
41 ESPY RD 11‐A                                               RS Legacy Corporation fka RadioShack
CALDWELL, NJ 07006                        12972      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Clark‐Johnson, Mittie
1500 Hornell Loop Apt 2D                                      RS Legacy Corporation fka RadioShack
Brooklyn, NY 11239                        12973      2/3/2016 Corporation                                                    $113.29                                                                                          $113.29
CRUZ, JENNIFER
91‐2068 KAIOLI ST #4302                                       RS Legacy Corporation fka RadioShack
EWA BEACH , HI 96706                      12974      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00
MASSEY, WILLIAM L
2378 BEACON DR                                                RS Legacy Corporation fka RadioShack
PT CHARLOTTE , FL 33952‐5622              12975      2/3/2016 Corporation                                                     $21.00                                                                                           $21.00
ZARAGOZA, CONSTANCE
5955 CALLAWAY DR                                              RS Legacy Corporation fka RadioShack
BEAUMONT, TX 77706                        12976      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00
natalia dolgovykh
4851 Las Vegas dr                                             RS Legacy Corporation fka RadioShack
sarasota, fl 34233                        12977      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Uwanawich, Cindy
3051 E Thomas Rd                                              RS Legacy Corporation fka RadioShack
Phoenix, AZ 85016                         12978      2/3/2016 Corporation                                                    $225.00                                                                                          $225.00
ZARAGOZA, CONSTANCE
5955 CALLAWAY DR                                              RS Legacy Corporation fka RadioShack
BEAUMONT, TX 77706                        12979      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00
KNOOP, PAUL                                                   RS Legacy Corporation fka RadioShack
                                          12980      2/3/2016 Corporation                                                      $0.00                                                                                            $0.00
FOGG, JERSHIDA
208 HILLSIDE AVENUE #3                                        RS Legacy Corporation fka RadioShack
NEWARK, NJ 07108                          12981      2/3/2016 Corporation                                                     $25.00                                                                                           $25.00
Julia Eng
65‐61 Saunders St Apt 3L                                      RS Legacy Corporation fka RadioShack
Rego Park, NY 11374                       12982      2/9/2016 Corporation                                                     $50.00                                                                                           $50.00
Judy Gustafson
12215 Beckendorf Bend Ln                                      RS Legacy Corporation fka RadioShack
Tomball, TX 77377                         12983      2/9/2016 Corporation                                                      $5.00                                                                                            $5.00
Judy Gustafson
12215 Beckendorf Bend Ln                                      RS Legacy Corporation fka RadioShack
Tomball, TX 77377                         12984      2/9/2016 Corporation                                                     $13.58                                                                                           $13.58
Judy Gustafson
12215 Beckendorf Bend Ln                                      RS Legacy Corporation fka RadioShack
Tomball, TX 77377                         12985      2/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Judy Gustafson
12215 Beckendorf Bend Ln                                      RS Legacy Corporation fka RadioShack
Tomball, TX 77377                         12986      2/9/2016 Corporation                                                     $10.00                                                                                           $10.00
James Wells
325 Rosewood St                                               RS Legacy Corporation fka RadioShack
Woodland, WA 98674                        12987      2/9/2016 Corporation                                                      $9.00                                                                                            $9.00




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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Erin Kemp
1045 Sansome St                                               RS Legacy Corporation fka RadioShack
San Francisco, CA 94111                   12988      2/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Joe Calderin
4336 18th PL SW                                               RS Legacy Corporation fka RadioShack
Naples, fl 34116                          12989      2/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Nellie DOrsey
2532 Port Potomac ave                                         RS Legacy Corporation fka RadioShack
Woodbrige, Virginia 22191                 12990      2/9/2016 Corporation                                                     $100.00                                                                                          $100.00
Joe Calderin
4336 18th PL SW                                               RS Legacy Corporation fka RadioShack
Naples, fl 34116                          12991      2/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Emil Gawaran
3045 White Sands Court                                        RS Legacy Corporation fka RadioShack
Holloman AFB, NM 88330                    12992      2/9/2016 Corporation                                                      $41.81                                                                                           $41.81
Miles
109 Hoffman A.V.A                                             RS Legacy Corporation fka RadioShack
SF, CA 94114                              12993      2/9/2016 Corporation                                                     $100.00                                                                                          $100.00
Patricia I Camarena
8509 Arrington Ave                                             RS Legacy Corporation fka RadioShack
Pico Rivera, CA 90660                     12994      2/10/2016 Corporation                                                    $202.03                                                                                          $202.03
Kristine Diokno
7199 Enclave Dr.                                               RS Legacy Corporation fka RadioShack
Eastvale, CA 92880                        12995      2/10/2016 Corporation                                                     $22.41                                                                                           $22.41
Kristen Chapman
2201 byrnes ct apt g                                           RS Legacy Corporation fka RadioShack
Bel Air, Md 21015                         12996      2/10/2016 Corporation                                                    $125.00                                                                                          $125.00
Nicolay, Mary Ann
1214 E 1900 Rd                                                RS Legacy Corporation fka RadioShack
Eudora, KS 66025                          12997      2/3/2016 Corporation                                                      $80.41                                                                                           $80.41
Affsa, Helen R.
3 Elmwood Farm DR #319C                                       RS Legacy Corporation fka RadioShack
Hanover, MA 02339                         12998      2/4/2016 Corporation                                                      $15.38                                                                                           $15.38
Patricia mancera
901 N. Queen st.                                               RS Legacy Corporation fka RadioShack
palestine, texas 75801                    12999      2/10/2016 Corporation                                                      $8.36                                                                                            $8.36
LARA, ISABEL
26 WABENO ST APT #3                                           RS Legacy Corporation fka RadioShack
DOREHESTER , MA 02121                     13000      2/4/2016 Corporation                                                      $39.99                                                                                           $39.99
Beck, Jacqueline
2 West Mountasin Rd                                           RS Legacy Corporation fka RadioShack
Ridgefield , CT 06877                     13001      2/4/2016 Corporation                                                       $0.00                                                                                            $0.00
Trout, Audra
907 E. Sayer St                                               RS Legacy Corporation fka RadioShack
Springfield, MO 65803                     13002      2/4/2016 Corporation                                                     $100.00                                                                                          $100.00
Pam Kadlubek
106 Sussex court                                               RS Legacy Corporation fka RadioShack
Lewes, DE 19958                           13003      2/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Veritext Legal Solutions
20 Corporate Park, Suite 350                                  RS Legacy Corporation fka RadioShack
Irvine, CA 92606                          13004      2/5/2016 Corporation                                                       $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
ANDERSON, KEVIN
7401 GUM GROVE LANE                                           RS Legacy Corporation fka RadioShack
VACAVILLE, CA 95688                       13005      2/3/2016 Corporation                                                       $0.00                                                                                            $0.00
Lopez, John
511 Green Drive                                               RS Legacy Corporation fka RadioShack
Enterprise, AL 36330‐3559                 13006      2/4/2016 Corporation                                                       $0.00                                                                                            $0.00
James Vincent
4202 Lost Lake Lane                                            RS Legacy Corporation fka RadioShack
Spring, TX 77388                          13007      2/10/2016 Corporation                                                     $21.67                                                                                           $21.67
CHAPMAN, MAIRI
PO BOX 1289                                                    RS Legacy Corporation fka RadioShack
LONG BEACH , CA 90801                     13008      2/10/2016 Corporation                                                    $326.99                                                                                          $326.99
Lopez, John
511 Green Drive                                               RS Legacy Corporation fka RadioShack
Enterprise, AL 36330‐3559                 13009      2/4/2016 Corporation                                                      $50.00                                                                                           $50.00
Lopez, John
511 Green Drive                                               RS Legacy Corporation fka RadioShack
Enterprise, AL 36330‐3559                 13010      2/4/2016 Corporation                                                       $0.00                                                                                            $0.00
Whitney, Lynda
7130 S 2825 E                                                 RS Legacy Corporation fka RadioShack
Salt Lake City, UT 84121‐4208             13011      2/5/2016 Corporation                                                      $35.25                                                                                           $35.25
Rachelynn Milby
22 Pinebrool Loop                                              RS Legacy Corporation fka RadioShack
Hopewell Junction, NY 12533               13012      2/10/2016 Corporation                                                    $100.00                                                                                          $100.00
Velho, Paul
197 Pheasant Run Road                                         RS Legacy Corporation fka RadioShack
West Chester, PA 19380                    13013      2/5/2016 Corporation                                                      $10.59                                                                                           $10.59
Reyes, Alondra
15754 Via Seco                                                RS Legacy Corporation fka RadioShack
San Lorenzo, CA 94580                     13014      2/5/2016 Corporation                                                      $30.00                                                                                           $30.00
Patrick Widen
600 12th Ave S                                                 RS Legacy Corporation fka RadioShack
Nashville, TN 37203                       13015      2/10/2016 Corporation                                                     $20.57                                                                                           $20.57
COOK, STEVEN
1297 Waterford Green Trail                                     RS Legacy Corporation fka RadioShack
Marietta, GA 30068                        13016      2/5/2016 Corporation                                                       $7.49                                                                                            $7.49
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          13017      2/10/2016 Corporation                                                                                                                                                       $0.00
Mcmeechan, David
4710 W. Villa Rita Drive                                      RS Legacy Corporation fka RadioShack
Glendale , AZ 85308                       13018      2/5/2016 Corporation                                                       $0.00                                                                                            $0.00
Franco, Carole
PO BOX9404                                                    RS Legacy Corporation fka RadioShack
Bolton , CT 06043                         13019      2/5/2016 Corporation                                                       $0.00                                                                                            $0.00
Eric Hawkinson
1003 Howard Ct                                                 RS Legacy Corporation fka RadioShack
Louisburg, KS 66053                       13020      2/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Chevelle Reppert
37 Waterside Dr                                                RS Legacy Corporation fka RadioShack
Morgantown, WV 26508                      13021      2/10/2016 Corporation                                                     $10.00                                                                                           $10.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Hogrefe, Tracie
18474 17th Ave E                                              RS Legacy Corporation fka RadioShack
Clearwater, MN 55320                      13022      2/5/2016 Corporation                                                      $45.12                                                                                           $45.12
ROW, DARLENE
938 PENNYOAKS DR.                                             RS Legacy Corporation fka RadioShack
MACOMB, IL 61455                          13023      2/3/2016 Corporation                                                     $100.00                                                                                          $100.00
Olshansky, Howard F                                           RS Legacy Corporation fka RadioShack
                                          13024      2/5/2016 Corporation                                                       $0.00                                                                                            $0.00
RUNKLE, JOSEPH
3812 ANN AVE                                                  RS Legacy Corporation fka RadioShack
LAFAYETTE, IN 47905                       13025      2/5/2016 Corporation                                                      $25.00                                                                                           $25.00
Aguiar, Vincent M
63 Dorothy Way                                                RS Legacy Corporation fka RadioShack
Novato , CA 94945‐1600                    13026      2/5/2016 Corporation                                                       $0.00                                                                                            $0.00
VINCENT , THOMAS M
116 NUNTER LANE                                               RS Legacy Corporation fka RadioShack
OSSINING , NY 10562                       13027      2/5/2016 Corporation                                                       $0.00                                                                                            $0.00
Orecki, Susan
4832 Kasson Road                                              RS Legacy Corporation fka RadioShack
SYRACUSE, NY 13215                        13028      2/5/2016 Corporation                                                       $0.00                                                                                            $0.00
Valdes, Zuleyka
8271 SW 157 Ave # 603                                         RS Legacy Corporation fka RadioShack
Miami, FL 33193                           13029      2/5/2016 Corporation                                                       $6.83                                                                                            $6.83
KAY, LYNN
140 AINONI STREET                                             RS Legacy Corporation fka RadioShack
KAILUA, HI 96734                          13030      2/5/2016 Corporation                                                      $25.00                                                                                           $25.00
Thornburg, Walter E.
90 Windmere Dr.                                               RS Legacy Corporation fka RadioShack
Troy, OH 45373                            13031      2/5/2016 Corporation                                                      $14.76                                                                                           $14.76
Farrell, Michael
469 Lawton Rd.                                                RS Legacy Corporation fka RadioShack
Hilton, NY 14468                          13032      2/5/2016 Corporation                                                      $75.58                                                                                           $75.58
Samson, Nestor
91‐1010 KAILEOLEA DR., G1                                      RS Legacy Corporation fka RadioShack
EWA BEACH , HI 96706‐6053                 13033      2/4/2016 Corporation                                                      $58.62                                                                                           $58.62
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          13034      2/10/2016 Corporation                                                                                                                                                       $0.00
Zisser , Eunice
5412 San Jose Blvd                                            RS Legacy Corporation fka RadioShack
Jacksonville, FL 32207                    13035      2/5/2016 Corporation                                                       $0.00                                                                                            $0.00
Longhorn, Angela
PO Box 134                                                    RS Legacy Corporation fka RadioShack
Hudson, IA 50643                          13036      2/8/2016 Corporation                                                      $25.00                                                                                           $25.00
Longhorn, Angela
PO Box 134                                                    RS Legacy Corporation fka RadioShack
Hudson, IA 50643                          13037      2/8/2016 Corporation                                                      $25.00                                                                                           $25.00
Combs, Cuba Veronica
11702 Gunpowder Drive                                         RS Legacy Corporation fka RadioShack
Fort Washington, MD 20744                 13038      2/8/2016 Corporation                                                       $0.00                                                                                            $0.00
Longhorn, Angela
PO Box 134                                                    RS Legacy Corporation fka RadioShack
Hudson, IA 50643                          13039      2/8/2016 Corporation                                                      $25.00                                                                                           $25.00



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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Janice Sneed
283 Elmhurst St.                                               RS Legacy Corporation fka RadioShack
Ypsilanti, MI 48197                       13040      2/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Maureen Dennigan
27 Brennan Way                                                 RS Legacy Corporation fka RadioShack
Hillsborough, NJ 08844                    13041      2/10/2016 Corporation                                                    $170.00                                                                                          $170.00
Emshoff, Reginald
360 West Washington Ave, #307                                 RS Legacy Corporation fka RadioShack
Madison , WI 53703                        13042      2/8/2016 Corporation                                                       $0.00                                                                                            $0.00
Bernat, Joanne
7920 Packard Road                                             RS Legacy Corporation fka RadioShack
Niagara Falls, NY 14304                   13043      2/8/2016 Corporation                                                      $74.98                                                                                           $74.98
Longhorn, Angela
PO Box 134                                                    RS Legacy Corporation fka RadioShack
Hudson, IA 50643                          13044      2/8/2016 Corporation                                                      $25.00                                                                                           $25.00
Longhorn, Angela
PO Box 134                                                    RS Legacy Corporation fka RadioShack
Hudson, IA 50643                          13045      2/8/2016 Corporation                                                      $25.00                                                                                           $25.00
Waynette Chase
3370 Kings Corners Rd West                                     RS Legacy Corporation fka RadioShack
Lexington, Ohio 44904                     13046      2/10/2016 Corporation                                                     $43.35                                                                                           $43.35
Karen Winn
1050 41st Street                                               RS Legacy Corporation fka RadioShack
Sacramento,, CA 95819                     13047      2/10/2016 Corporation                                                    $500.00                                                                                          $500.00
Goldenhersh, Phyllis
120 N. Central Ave.                                           RS Legacy Corporation fka RadioShack
Clayton, MO 63105                         13048      2/9/2016 Corporation                                                      $25.00                                                                                           $25.00
McElmury, Renita
7701 North 161 Street                                         RS Legacy Corporation fka RadioShack
Bennington, NE 68007                      13049      2/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Ceballos, Tomas
547 Valdez Ct.                                                RS Legacy Corporation fka RadioShack
Rio Rico, AZ 85648                        13050      2/9/2016 Corporation                                                       $8.98                                                                                            $8.98
Longhorn, Angela
PO Box 134                                                    RS Legacy Corporation fka RadioShack
Hudson, IA 50643                          13051      2/8/2016 Corporation                                                      $25.00                                                                                           $25.00
Downes, Darlene
411 Greenwich St                                              RS Legacy Corporation fka RadioShack
Bergenfield , NJ 07410                    13052      2/8/2016 Corporation                                                      $21.38                                                                                           $21.38
HAMET, MARC
20 Dialstone LN                                               RS Legacy Corporation fka RadioShack
Riverside , CT 06878                      13053      2/8/2016 Corporation                                                       $0.00                                                                                            $0.00
FINCH , REBECCA
5 MURPHY CT                                                   RS Legacy Corporation fka RadioShack
BLAUVELT, NY 10913                        13054      2/8/2016 Corporation                                                       $0.00                                                                                            $0.00
Burns , Tim
10709 Baybridge Way                                           RS Legacy Corporation fka RadioShack
Fishers, IN 46040                         13055      2/5/2016 Corporation                                                       $0.00                                                                                            $0.00
DUNCAN, HILARY T
PO BOX 523                                                    RS Legacy Corporation fka RadioShack
BASTROP, LI 71221‐0523                    13056      2/8/2016 Corporation                                                      $62.99                                                                                           $62.99




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Ginger Killorn
14410 Helmsley rd                                              RS Legacy Corporation fka RadioShack
Midlothian, Va 23113                      13057      2/10/2016 Corporation                                                     $22.10                                                                                           $22.10
Ginger killorn
14410 Helmsley rd                                              RS Legacy Corporation fka RadioShack
Midlothian, Va 23113                      13058      2/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Ginger killorn
14410 Helmsley rd                                              RS Legacy Corporation fka RadioShack
Midlothian, Va 23113                      13059      2/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Jackson, Sherrie
242 Bishop Drive                                              RS Legacy Corporation fka RadioShack
Weatherford, TX 76088                     13060      2/9/2016 Corporation                                                      $21.68                                                                                           $21.68
MANWARING, LINDA
6525 N COUNTY RD 625 E                                        RS Legacy Corporation fka RadioShack
BROWNSBURG, IN 46112‐8880                 13061      2/5/2016 Corporation                                                       $0.00                                                                                            $0.00
BRANDS , EILEEN
7380 S RAMA AVE                                               RS Legacy Corporation fka RadioShack
LECANTO, FL 34461                         13062      2/9/2016 Corporation                                                      $10.00                                                                                           $10.00
Goldenhersh, Phyllis
120 N. Central Ave.                                           RS Legacy Corporation fka RadioShack
Clayton, MO 63105                         13063      2/9/2016 Corporation                                                      $25.00                                                                                           $25.00
Roger O'Sullivan
1218 Pico Ave                                                  RS Legacy Corporation fka RadioShack
Pacific Grove, CA 93950                   13064      2/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Ira Semanoff
5131 Barness Court                                             RS Legacy Corporation fka RadioShack
Doylestown, PA 18902                      13065      2/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Ginger killorn
14410 Helmsley rd                                              RS Legacy Corporation fka RadioShack
Midlothian, VA 23113                      13066      2/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Bob Mervak
30460 Northgate Dr                                             RS Legacy Corporation fka RadioShack
Southfield, MI 48076                      13067      2/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Wollbrink, Lynda
570 E County Rd O                                             RS Legacy Corporation fka RadioShack
Sutter, IL 62373                          13068      2/9/2016 Corporation                                                      $19.23                                                                                           $19.23
Montgomery Sr., Elvis A.
5343 Gambel Road                                              RS Legacy Corporation fka RadioShack
Indianpolis, IN 46221‐3115                13069      2/9/2016 Corporation                                                     $106.99                                                                                          $106.99
Tommy Zhang
4785 Agate Dr                                                  RS Legacy Corporation fka RadioShack
Alpharetta, GA 30022                      13070      2/10/2016 Corporation                                                     $31.71                                                                                           $31.71
Josh Lesniak
19821 Paint Blvd.                                              RS Legacy Corporation fka RadioShack
Shippenville, PA 16254                    13071      2/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Ernst, Bill G
31939 Blue Heron Lane                                         RS Legacy Corporation fka RadioShack
Springville, CA 93265                     13072      2/8/2016 Corporation                                                      $50.00                                                                                           $50.00
Daniel Norwood
1624 E. Walnut Lane.                                           RS Legacy Corporation fka RadioShack
Philadelphia, Pa 19138                    13073      2/10/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Paul Gollata
1901 Main Street                                               RS Legacy Corporation fka RadioShack
Stevens Point, WI 54481                   13074      2/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Janelle Andrews
9533 Seaway Drive                                              RS Legacy Corporation fka RadioShack
Algonac, Michigan 48001                   13075      2/10/2016 Corporation                                                      $0.00                                                                                            $0.00
LaVerne Mikhail
908 rose ln                                                    RS Legacy Corporation fka RadioShack
West lafayette, In 47906                  13076      2/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Bucki‐Ohm, Barbara M
382 Highmount Rd.                                              RS Legacy Corporation fka RadioShack
West Coxsadeie, NY 12192                  13077      2/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Marty , Kathryn J
10 Torrey Pines Crt                                           RS Legacy Corporation fka RadioShack
Madison, WI 53717                         13078      2/9/2016 Corporation                                                       $0.00                                                                                            $0.00
LEGER, JEAN M
89 ADAMS ST                                                   RS Legacy Corporation fka RadioShack
Waltham , MA 02453                        13079      2/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Ross, Joan C
5928 Wheat Penny Ave                                          RS Legacy Corporation fka RadioShack
L.V., NV 89122                            13080      2/9/2016 Corporation                                                       $0.00                                                                                            $0.00
SOYOUNG, YOON
751 nN 135TH #204 B                                           RS Legacy Corporation fka RadioShack
SEATTLE, WA 98133                         13081      2/9/2016 Corporation                                                      $18.23                                                                                           $18.23
Rothermel, Peter
5815 POPPY SHORES WAY                                         RS Legacy Corporation fka RadioShack
STOCKTON, CA 95219                        13082      2/9/2016 Corporation                                                      $14.00                                                                                           $14.00
Flood, Richard
178 Garth Road Aprtment T‐I                                   RS Legacy Corporation fka RadioShack
scarsdale , NY 10583                      13083      2/9/2016 Corporation                                                      $30.00                                                                                           $30.00
Prevost, Abraham
6 Pine St                                                     RS Legacy Corporation fka RadioShack
Hyde Park , MA 02136                      13084      2/9/2016 Corporation                                                      $15.00                                                                                           $15.00
McClain, Charlotte
890 Highway Y                                                 RS Legacy Corporation fka RadioShack
O Fallon , MO 63366‐5218                  13085      2/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Forgette, Vicki
15 Dorchester Drive                                           RS Legacy Corporation fka RadioShack
Annapolis , MD 21403                      13086      2/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Eddie rojas
121 uhland street                                              RS Legacy Corporation fka RadioShack
East rutherford, Nj 07073                 13087      2/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Gregg Makuch
2344 N. 62nd Street                                            RS Legacy Corporation fka RadioShack
Seattle, WA 98103                         13088      2/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Brenda K Denny
32714 Durango Court                                            RS Legacy Corporation fka RadioShack
Wildomar, CA 92595                        13089      2/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Bernard Elston, Jr.
118 Middle Rd.                                                 RS Legacy Corporation fka RadioShack
Deerfield, NH 03037                       13090      2/10/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Laura Sydorowicz
402 West Touhy Ave. Lot 15                                     RS Legacy Corporation fka RadioShack
Des Plaines, Illinois 60018               13091      2/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Harold Heck Jr
168 5th st nw                                                  RS Legacy Corporation fka RadioShack
kelliher, mn 56650                        13092      2/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Marlene Holbert
1342 Colegrove Road                                            RS Legacy Corporation fka RadioShack
Apple Grove, WV 25502                     13093      2/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Schaech, Tammie
203 North Earlton Rd                                          RS Legacy Corporation fka RadioShack
Havre De Grace, MD 21078                  13094      2/8/2016 Corporation                                                      $50.00                                                                                           $50.00
Kashkoush, Mounir
320 Ft. Duquesne Blvd. 24G                                    RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15222                      13095      2/8/2016 Corporation                                                      $42.79                                                                                           $42.79
D'Alessandro, Peter
6514 Manila Palm Way                                          RS Legacy Corporation fka RadioShack
Apollo Beach , FL 33572                   13096      2/8/2016 Corporation                                                      $50.00                                                                                           $50.00
Traci Jensen
14721 S. Hallet Street                                         RS Legacy Corporation fka RadioShack
Olathe, KS 66062                          13097      2/11/2016 Corporation                                                      $0.00                                                                                            $0.00
john degennaro
104 james drive                                                RS Legacy Corporation fka RadioShack
iowa park, tx 76367                       13098      2/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Lei Nagamine
94‐548 Poloahilani Street                                      RS Legacy Corporation fka RadioShack
Mililani, HI 96789                        13099      2/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Lyons, Keith E.
2163 SDA Cp. Rd.                                              RS Legacy Corporation fka RadioShack
Rossiter, PA 15772                        13100      2/9/2016 Corporation                                                      $50.00                                                                                           $50.00
amy washington
912 circle drive                                               RS Legacy Corporation fka RadioShack
mount pleasant, texas 75455               13101      2/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Michele Ramos
23 Alison Ct                                                   RS Legacy Corporation fka RadioShack
Marlboro, NJ 07746                        13102      2/11/2016 Corporation                                                     $40.12                                                                                           $40.12
DIPAKN BAKRANIA
435 N 1ST STREET                                               RS Legacy Corporation fka RadioShack
EMMAUS, PA 18049                          13103      2/11/2016 Corporation                                                     $42.39                                                                                           $42.39
william t. Medlow
21 sullivan drive                                              RS Legacy Corporation fka RadioShack
jericho, NY 11753                         13104      2/11/2016 Corporation                                                     $27.36                                                                                           $27.36
Brad Mann
PO Box 2581                                                    RS Legacy Corporation fka RadioShack
Bloomington, IN 47402‐2581                13105      2/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Andy LaPlante
8667 Eulalie                                                   RS Legacy Corporation fka RadioShack
St. Louis, MO 63144                       13106      2/11/2016 Corporation                                                     $25.00                                                                                           $25.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          13107      3/7/2016 Corporation                                                                                                                                                        $0.00




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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
ELLIS, JOAN
33520 SILVER OAK DR                                            RS Legacy Corporation fka RadioShack
AVON , OH 44011                           13108      2/11/2016 Corporation                                                     $37.79                                                                                           $37.79
TracFone Wireless, Inc.
Attention: Richard Salzman, Esq.
9700 MW 112th Avenue                                           RS Legacy Corporation fka RadioShack
Miami, FL 33178                           13109      2/11/2016 Corporation                                             $1,000,000.00                                                                                     $1,000,000.00
Ritter, Kayla
865 Mankato Ave                                                RS Legacy Corporation fka RadioShack
Winona, MN 55987                          13110      2/11/2016 Corporation                                                     $42.74                                                                                           $42.74
Voelkel, Jane
219 W. 5th St.                                                 RS Legacy Corporation fka RadioShack
Halstead, KS 67056                        13111      2/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          13112      2/11/2016 Corporation                                                                                                                                                       $0.00
Natasha Prodan
2730 Garden Falls Dr                                           RS Legacy Corporation fka RadioShack
Manvel, TX 77578                          13113      2/11/2016 Corporation                                                      $0.00                                                                                            $0.00
ANNAMMA KAVALAM
819 BIGTHICKET TR                                              RS Legacy Corporation fka RadioShack
MESQUITE, TX 75149                        13114      2/11/2016 Corporation                                                    $108.00                                                                                          $108.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          13115      2/11/2016 Corporation                                                                                                                                                       $0.00
Day , Jennifer
91 High St                                                     RS Legacy Corporation fka RadioShack
Newburyport, MA 01950                     13116      2/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Jennifer Ramirez
943 Sierra Madre Dr.                                           RS Legacy Corporation fka RadioShack
Salinas, CA 93901                         13117      2/11/2016 Corporation                                                     $25.00                                                                                           $25.00
Linda Schabow
1308 Theodore Lane                                             RS Legacy Corporation fka RadioShack
Durham, nc 27703                          13118      2/11/2016 Corporation                                                     $21.31                                                                                           $21.31
Harold Hansen
1 Woodside Rd                                                  RS Legacy Corporation fka RadioShack
ROSELLE PARK, nj 07204, NJ 07204          13119      2/11/2016 Corporation                                                     $10.34                                                                                           $10.34
Joseph Colvin
453 West Maple Grove                                           RS Legacy Corporation fka RadioShack
Fort Wayne, IN 46807                      13120      2/11/2016 Corporation                                                     $69.00                                                                                           $69.00
David Nguyen
1124 Deer Valley Ln                                            RS Legacy Corporation fka RadioShack
Arlington, TX 76001                       13121      2/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert lew
2444 rue Bienville way                                         RS Legacy Corporation fka RadioShack
Henderson, Nevada 89044                   13122      2/11/2016 Corporation                                                     $20.09                                                                                           $20.09
Julie Hayes
2120 Roskelley Dr.                                             RS Legacy Corporation fka RadioShack
Concord, CA 94519                         13123      2/11/2016 Corporation                                                     $21.79                                                                                           $21.79
Scott Sullivan
355 arbor trail                                                RS Legacy Corporation fka RadioShack
conroe, tx 77384                          13124      2/11/2016 Corporation                                                     $75.00                                                                                           $75.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Theodore Hoffert
po box 994                                                     RS Legacy Corporation fka RadioShack
New haven, wv 25265                       13125      2/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Rodrigo Carvo
5 North 12th St                                                RS Legacy Corporation fka RadioShack
Hawthorne, NJ 07506                       13126      2/11/2016 Corporation                                                     $69.54                                                                                           $69.54
Adam Wills
3815 McCausland Ave Unit 16                                    RS Legacy Corporation fka RadioShack
Saint Louis, MO 63109                     13127      2/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Adam Manley
590 Calle La Roda Apt 149                                      RS Legacy Corporation fka RadioShack
Camarillo, CA 93010                       13128      2/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael Zgrabik
24903 Electric Drive                                           RS Legacy Corporation fka RadioShack
Bay Village, OH 44140                     13129      2/11/2016 Corporation                                                     $21.59                                                                                           $21.59
Karen McNulty
204 Faifield Lane                                              RS Legacy Corporation fka RadioShack
Hillsborough, NJ 08844                    13130      2/11/2016 Corporation                                                     $25.00                                                                                           $25.00
Gary Lowe
9466 Cuyamaca ST. #101                                         RS Legacy Corporation fka RadioShack
Santee, CA 92071                          13131      2/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Raymond Dy‐Liacco
482 Arguello Drive                                             RS Legacy Corporation fka RadioShack
Benicia, CA 94510                         13132      2/11/2016 Corporation                                                      $7.97                                                                                            $7.97
Tom Burl
3816 US Highway 20                                             RS Legacy Corporation fka RadioShack
Nassau, NY 12123                          13133      2/12/2016 Corporation                                                     $41.74                                                                                           $41.74
natasha kuehne
2656 Quivira trace                                             RS Legacy Corporation fka RadioShack
League City, Tx 77573                     13134      2/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Todd E Gable
58 Hanover Avenue                                              RS Legacy Corporation fka RadioShack
Pawtucket, RI 02861                       13135      2/12/2016 Corporation                                                     $19.25                                                                                           $19.25
Reynaldo Castillo
114 Summit Drive                                               RS Legacy Corporation fka RadioShack
Huntington, WV 25705                      13136      2/12/2016 Corporation                                                     $40.00                                                                                           $40.00
Shane Braganza
3111 14th St. NE                                               RS Legacy Corporation fka RadioShack
Washington, DC 20017                      13137      2/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Donald Maloney
10 Mayfield Road                                               RS Legacy Corporation fka RadioShack
Manchester, CT 06040                      13138      2/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Wyhe, Austin Von
6200 N RIVER POINTE DR, APT H105                               RS Legacy Corporation fka RadioShack
BOISE , ID 83714                          13139      2/11/2016 Corporation                                                     $20.20                                                                                           $20.20
HENDRICKS , JOHN A
72 FAIRCHILD PLACE                                             RS Legacy Corporation fka RadioShack
WHIPPANY, NJ 07981                        13140      2/11/2016 Corporation                                                      $0.00                                                                                            $0.00
MCCARTHY , WAYNE
445 SPRING VALLEY RD                                           RS Legacy Corporation fka RadioShack
Paramus, NJ 07652                         13141      2/11/2016 Corporation                                                     $25.00                                                                                           $25.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
HANEY, ADAM
366 BALD HILL CHURCH ROAD                                      RS Legacy Corporation fka RadioShack
DILLINER , PA 15327                       13142      2/11/2016 Corporation                                                     $17.16                                                                                           $17.16
scott burhop
1673‐45th st                                                   RS Legacy Corporation fka RadioShack
turtle lake, wi 54889                     13143      2/12/2016 Corporation                                                     $25.49                                                                                           $25.49
Timothy Liu
4775 Woods Edge Road                                           RS Legacy Corporation fka RadioShack
Virginia Beach, VA 23462                  13144      2/12/2016 Corporation                                                     $25.00                                                                                           $25.00
scott burhop
1673‐45 th st                                                  RS Legacy Corporation fka RadioShack
turtle lake, wi 54889                     13145      2/12/2016 Corporation                                                     $25.49                                                                                           $25.49
Rhonda Hetrick
500 North Congress Avenue #153                                 RS Legacy Corporation fka RadioShack
West Palm Beach, Florida 33401            13146      2/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Billie Jo McRoberts
PO Box 351878                                                  RS Legacy Corporation fka RadioShack
Palm Coast, Florida 32135                 13147      2/12/2016 Corporation                                                      $0.00                                                                                            $0.00
William Jentzen
7900 Dixon Rd.                                                 RS Legacy Corporation fka RadioShack
Monroe, MI 48161                          13148      2/12/2016 Corporation                                                     $50.00                                                                                           $50.00
Bjoe Mammoottil
597 Marseilles Cir                                             RS Legacy Corporation fka RadioShack
Buffalo Grove, IL 60089                   13149      2/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Bjoe Mammoottil
597 Marseilles Cir                                             RS Legacy Corporation fka RadioShack
Buffalo Grove, IL 60089                   13150      2/12/2016 Corporation                                                     $65.59                                                                                           $65.59
Caryn Schneider
1770 Ivanhoe Ct                                                RS Legacy Corporation fka RadioShack
Columbus, oh 43220                        13151      2/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Sheila McBrien
167‐05 12th Avenue ‐ Apt 6A                                    RS Legacy Corporation fka RadioShack
New York, NY 11357                        13152      2/12/2016 Corporation                                                     $60.00                                                                                           $60.00
Shuyu Deng
3304 Jasper Street                                             RS Legacy Corporation fka RadioShack
West Lafayette, IN 47906‐1294             13153      2/12/2016 Corporation                                                      $3.36                                                                                            $3.36
RUSSELL, STEPHEN
200 JUNIPER DR.                                                RS Legacy Corporation fka RadioShack
LEVITTOWN, PA 19056                       13154      2/11/2016 Corporation                                                     $50.00                                                                                           $50.00
Richard Weber
209 N John St                                                  RS Legacy Corporation fka RadioShack
Teutopolis, IL 62467                      13155      2/12/2016 Corporation                                                     $40.82                                                                                           $40.82
Jennifer Christianson
58600 Summit Ridge Road                                        RS Legacy Corporation fka RadioShack
Mishawaka, IN 46544                       13156      2/12/2016 Corporation                                                     $50.00                                                                                           $50.00
Jess Franzen
81 Cantal Court                                                RS Legacy Corporation fka RadioShack
Wheeling, IL 60090                        13157      2/12/2016 Corporation                                                    $250.00                                                                                          $250.00
Te‐Ga Hamm
1440 Bronx River Avenue Apt 6C                                 RS Legacy Corporation fka RadioShack
New York, NY 10472                        13158      2/12/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Tom Klick
12612 James Rd                                                 RS Legacy Corporation fka RadioShack
Minnetonka, MN 55343                      13159      2/12/2016 Corporation                                                     $30.00                                                                                           $30.00
Michelle Belmarez
10414 Winding Green Dr.                                        RS Legacy Corporation fka RadioShack
Humble, TX 77338                          13160      2/12/2016 Corporation                                                     $25.00                                                                                           $25.00
Muka, David
9 Green Ridge Dr.                                              RS Legacy Corporation fka RadioShack
South Toms River, NJ 08757                13161      2/11/2016 Corporation                                                     $50.00                                                                                           $50.00
MCCLUNG, STARR
210 N PHILLIPS STREET                                          RS Legacy Corporation fka RadioShack
RECTOR, AR 72461                          13162      2/11/2016 Corporation                                                     $90.00                                                                                           $90.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          13163      2/12/2016 Corporation                                                                                                                                                       $0.00
alex gonzalez
12 alton st                                                    RS Legacy Corporation fka RadioShack
new haven, ct 06513                       13164      2/12/2016 Corporation                                                    $100.00                                                                                          $100.00
Richard Francis
404 E Steed Dr                                                 RS Legacy Corporation fka RadioShack
Midwest City, Ok 73110                    13165      2/12/2016 Corporation                                                      $0.00                                                                                            $0.00
David Kim
1113 NE 150th CT                                               RS Legacy Corporation fka RadioShack
Shoreline, Washington 98155               13166      2/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Ruben rodriguez
130 n. prater ave                                              RS Legacy Corporation fka RadioShack
northlake, il 60164                       13167      2/12/2016 Corporation                                                     $99.00                                                                                           $99.00
Bryan Hill
2850 Kelvin Ave Apt 447                                        RS Legacy Corporation fka RadioShack
92614, 949 427‐0959                       13168      2/12/2016 Corporation                                                     $64.51                                                                                           $64.51
Patrick J. McWade
46 Maple Drive Unit F‐2                                        RS Legacy Corporation fka RadioShack
Lakeville, PA 18438‐4035                  13169      2/12/2016 Corporation                                                     $26.32                                                                                           $26.32
Douglas Churchill
19001 Margo St                                                 RS Legacy Corporation fka RadioShack
Omaha, NE 68136                           13170      2/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Brittany Eaton
2 F Bass Street                                                RS Legacy Corporation fka RadioShack
Newmarket, NH 03857                       13171      2/12/2016 Corporation                                                     $60.84                                                                                           $60.84
Barbara supeno/Ernst
306 Fisher Point Rd.                                           RS Legacy Corporation fka RadioShack
Addison, VT 05491                         13172      2/13/2016 Corporation                                                     $51.36                                                                                           $51.36
chenrong liu
po box 357                                                     RS Legacy Corporation fka RadioShack
new york, ny 10002                        13173      2/13/2016 Corporation                                                    $115.00                                                                                          $115.00
Janna Renzi
2 Ron Cir                                                      RS Legacy Corporation fka RadioShack
Lakeville, MA 02347                       13174      2/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Richard Ciccone
20 Noel Drive                                                  RS Legacy Corporation fka RadioShack
Rochester, NY 14606                       13175      2/13/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
John Hillar
2510 Scenic Dr                                                 RS Legacy Corporation fka RadioShack
Modesto, CA 95355                         13176      2/13/2016 Corporation                                                     $20.00                                                                                           $20.00
James Reggio
133 Saint James Place #1                                       RS Legacy Corporation fka RadioShack
Brooklyn, NY 11238                        13177      2/13/2016 Corporation                                                      $0.00                                                                                            $0.00
ryan matthews
226 hansford ln                                                RS Legacy Corporation fka RadioShack
seaford, va 23696                         13178      2/13/2016 Corporation                                                     $25.00                                                                                           $25.00
Luan Huynh
10703 Saint John Ct                                            RS Legacy Corporation fka RadioShack
Houston, Tx 77071                         13179      2/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Doug Bond
9715 Squirrel Wood Run                                         RS Legacy Corporation fka RadioShack
Douglasville, GA 30135                    13180      2/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Oliver schaal
16431 SW Marcil LN                                             RS Legacy Corporation fka RadioShack
Beaverton, OR 97007                       13181      2/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Jeremy Whitehouse
2099 E. Country Pine Cove                                      RS Legacy Corporation fka RadioShack
Holladay, Utah 84117                      13182      2/13/2016 Corporation                                                     $25.00                                                                                           $25.00
Brian S. Nielson
343 W. Milltown Suite A‐175                                    RS Legacy Corporation fka RadioShack
Wooster, OH 44691                         13183      2/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Mary‐Jane Field
16 Boswell Road                                                RS Legacy Corporation fka RadioShack
West Hartford, CT 06107                   13184      2/13/2016 Corporation                                                     $18.07                                                                                           $18.07
daniel boone
18346 deloatche ave                                            RS Legacy Corporation fka RadioShack
boykins, virginia 23827                   13185      2/13/2016 Corporation                                                      $0.00                                                                                            $0.00
daniel boone
18346 deloatche ave                                            RS Legacy Corporation fka RadioShack
boykins, virginia 23827                   13186      2/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Glen Aber
7356 Parkridge Blvd, Apt 404                                   RS Legacy Corporation fka RadioShack
Irving, TX 75063                          13187      2/13/2016 Corporation                                                     $21.78                                                                                           $21.78
Paul Welch
5617 Bellagio Drive                                            RS Legacy Corporation fka RadioShack
San Jose, California 95118                13188      2/13/2016 Corporation                                                     $25.00                                                                                           $25.00
James Craig Thornton
3545 Maritime Glen                                             RS Legacy Corporation fka RadioShack
Gainesville, Ga 30506                     13189      2/14/2016 Corporation                                                     $50.00                                                                                           $50.00
Ryan Peugeot
10909 w 76 street                                              RS Legacy Corporation fka RadioShack
Shawnee, KS 66214                         13190      2/14/2016 Corporation                                                     $20.00                                                                                           $20.00
Kenny Jin
326 rolling hill rd                                            RS Legacy Corporation fka RadioShack
elkins park, PA 19027                     13191      2/14/2016 Corporation                                                      $0.00                                                                                            $0.00
JennJennifer Berryhill
8227 Clayton road                                              RS Legacy Corporation fka RadioShack
Springville, al 35146                     13192      2/14/2016 Corporation                                                     $25.00                                                                                           $25.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Tommy Carrola
2733 Moss Ave.                                                 RS Legacy Corporation fka RadioShack
Los Angeles, CA 90065                     13193      2/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Brian Clark
617 North Lake Drive                                           RS Legacy Corporation fka RadioShack
Marshall, MO 65340                        13194      2/14/2016 Corporation                                                     $20.00                                                                                           $20.00
McCoy, Duane
31826 Forest Oak LN                                            RS Legacy Corporation fka RadioShack
Conrok, TX 77385                          13195      2/12/2016 Corporation                                                     $25.00                                                                                           $25.00
Springer, Sandee A
907 Huron Road                                                 RS Legacy Corporation fka RadioShack
Franklin Lakes , NJ 07417                 13196      2/12/2016 Corporation                                                     $25.00                                                                                           $25.00
Angela Chen‐Ponder
13209 Whispering Hills Dr                                      RS Legacy Corporation fka RadioShack
Dallas, Texas 75243                       13197      2/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Joseph Jannuzzelli
A‐1 The Meadows                                                RS Legacy Corporation fka RadioShack
Clifton, New Jersey 07012                 13198      2/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Anita Ponder
13209 Whispering Hills Dr                                      RS Legacy Corporation fka RadioShack
Dallas, TX 75243                          13199      2/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Bryant Rother
PO Box 162                                                     RS Legacy Corporation fka RadioShack
Deerfield, MA 01342                       13200      2/15/2016 Corporation                                                     $50.00                                                                                           $50.00
Kirklan, Mildred
3875 Richhill Road                                             RS Legacy Corporation fka RadioShack
Henta Springs, SC 29058                   13201      2/12/2016 Corporation                                                      $7.30                                                                                            $7.30
Dobbins, Zoe
9315 N Exeter Ave                                              RS Legacy Corporation fka RadioShack
Portland, OR 97203                        13202      2/12/2016 Corporation                                                     $34.99                                                                                           $34.99
Guile, Karen
982 Aberdeen Drive                                             RS Legacy Corporation fka RadioShack
Broomfield, CO 80020                      13203      2/15/2016 Corporation                                                      $8.64                                                                                            $8.64
Chilton, John
14353 Collins Street                                           RS Legacy Corporation fka RadioShack
Sherman Oaks, CA 91401                    13204      2/12/2016 Corporation                                                     $20.00                                                                                           $20.00
Fuller Sr., Charles N
3368 Sandhill Rd.                                              RS Legacy Corporation fka RadioShack
Thomson, GA 30824                         13205      2/12/2016 Corporation                                                    $250.00                                                                                          $250.00
Loft, John
316 N. Russell Ave                                             RS Legacy Corporation fka RadioShack
Geneseo, IL 61254                         13206      2/12/2016 Corporation                                                     $75.00                                                                                           $75.00
JAMES ANDERSON
1067 FAIRVIEW PLACE                                            RS Legacy Corporation fka RadioShack
HILLSIDE, NJ 07205                        13207      2/15/2016 Corporation                                                    $100.00                                                                                          $100.00
Dan
167 Pine Hollow Way                                            RS Legacy Corporation fka RadioShack
Newport, TN 37821                         13208      2/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Leone, Kathy
PO Box 512                                                     RS Legacy Corporation fka RadioShack
Lincolndale, NY 10541                     13209      2/13/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Sara Wilson
3109 Hill Lane                                                 RS Legacy Corporation fka RadioShack
Wilmette, IL 60091                        13210      2/15/2016 Corporation                                                      $0.00                                                                                            $0.00
ROBERT MADDALENA
PO BOX 533                                                     RS Legacy Corporation fka RadioShack
WAPPINGERS FALLS, NY 12590                13211      2/15/2016 Corporation                                                    $450.00                                                                                          $450.00
Stanley Urbanek
8032 Ocean Drive                                               RS Legacy Corporation fka RadioShack
Fort Worth, TX 76123                      13212      2/15/2016 Corporation                                                     $33.77                                                                                           $33.77
Hunter Travelstead
2300 Glenna Goodacre #3333                                     RS Legacy Corporation fka RadioShack
Lubbock, Texas 79401                      13213      2/15/2016 Corporation                                                      $0.00                                                                                            $0.00
JohnGorton
PO Box 490                                                     RS Legacy Corporation fka RadioShack
Pelican Rapids, MN 56572                  13214      2/15/2016 Corporation                                                     $25.00                                                                                           $25.00
chantel woods
417 york street                                                RS Legacy Corporation fka RadioShack
bronson, mi 49028                         13215      2/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Santos Vega
866 Slumpstone Way                                             RS Legacy Corporation fka RadioShack
Las Vegas, Nevada 89110                   13216      2/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Leonard C Slater
1282 Hickory Lane                                              RS Legacy Corporation fka RadioShack
Deland, FL 32724                          13217      2/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Lydia Higginbotham
6081 Belladonna                                                RS Legacy Corporation fka RadioShack
El Paso, Texas 79924                      13218      2/15/2016 Corporation                                                     $25.00                                                                                           $25.00
manuel iriarte
11918 beverly dr                                               RS Legacy Corporation fka RadioShack
houston, texas 77065                      13219      2/15/2016 Corporation                                                      $0.00                                                                                            $0.00
RUTH GOMEZ
1045 W 18th STREET #25                                         RS Legacy Corporation fka RadioShack
LOS ANGELES, CA 90015                     13220      2/15/2016 Corporation                                                      $0.00                                                                                            $0.00
RUTH GOMEZ
1045 W 18TH STREET #25                                         RS Legacy Corporation fka RadioShack
LOS ANGELES, CA 90015                     13221      2/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          13222      3/7/2016 Corporation                                                                                                                                                        $0.00
Foti, John T.
8080 Sandhill Court                                            RS Legacy Corporation fka RadioShack
West Palm Beach, FL 33412                 13223      2/12/2016 Corporation                                                     $50.00                                                                                           $50.00
Katara, Suman
PO Box 432                                                     RS Legacy Corporation fka RadioShack
E. Stroudsburg, PA 18301                  13224      2/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Pickens, Gary
500 Westwood Dr.                                               RS Legacy Corporation fka RadioShack
Richardson, TX 75080                      13225      2/12/2016 Corporation                                                    $200.00                                                                                          $200.00
Martinez, Rosa
GNY 200 Madison Ave 2nd Floor                                  RS Legacy Corporation fka RadioShack
New York, NY 10016                        13226      2/12/2016 Corporation                                                     $65.31                                                                                           $65.31




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                                                                                                                                           Current Priority    Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address       Claim No.   Claim Date                    Debtor                         Unsecured Claim                                              Admin Priority
                                                                                                                                            Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                      Amount
Shinfield, Deborah
3647 Wynwood Cove                                                 RS Legacy Corporation fka RadioShack
Collierville, TN 38017                       13227      2/12/2016 Corporation                                                     $50.00                                                                                            $50.00
Vanessa Escobar
2959 leeward ave. APT.#302                                        RS Legacy Corporation fka RadioShack
los angeles, California 90005                13228      2/15/2016 Corporation                                                     $20.00                                                                                            $20.00
Ritter, Kayla
865 Mankato Ave                                                   RS Legacy Corporation fka RadioShack
Winona , MN 55987                            13229      2/11/2016 Corporation                                                     $42.74                                                                                            $42.74
RITTER, KAYLA
865 MANKATO AVE                                                   RS Legacy Corporation fka RadioShack
WINONA , MN 55987                            13230      2/11/2016 Corporation                                                     $42.74                                                                                            $42.74
Wyhe, Austin Van
6200 N River Pointe Dr, Apt H105                                  RS Legacy Corporation fka RadioShack
Boise, ID 83714                              13231      2/11/2016 Corporation                                                     $25.00                                                                                            $25.00
Mercurio, Robert
125 Prospect Avenue (APT 15E)                                     RS Legacy Corporation fka RadioShack
HACKENSACK , NJ 07601‐2262                   13232      2/11/2016 Corporation                                                     $39.99                                                                                            $39.99
Ritter, Kayla
865 Mankato Ave                                                   RS Legacy Corporation fka RadioShack
Winona, MN 55987                             13233      2/11/2016 Corporation                                                     $42.74                                                                                            $42.74
GEE, PETER DAVID
19 Bronxwood Drive                                                RS Legacy Corporation fka RadioShack
Durham, NC 27713                             13234      2/11/2016 Corporation                                                      $0.00                                                                                             $0.00
IBM Corp,
Attn: Marie Josee Dube
275 Viger St. East                                               RS Legacy Corporation fka RadioShack
Montreal, QC H2X3R7                          13235      2/4/2016 Corporation                                                $430,151.23           $42,178.24                                                                   $472,329.47
Bowe, Tiffany
585 HOWARD AVE 2D FL                                              RS Legacy Corporation fka RadioShack
New Haven, CT 06519                          13236      2/11/2016 Corporation                                                      $0.00                                 $0.00               $0.00                                   $0.00
Beth Vail
1572 Henryville Road                                              RS Legacy Corporation fka RadioShack
CEDARBLUF, MS 39741                          13237      2/15/2016 Corporation                                                    $160.50                                                                                           $160.50
Kroesing, Jeff
20739 Red Oak Dr.                                                RS Legacy Corporation fka RadioShack
Lake Ann, MI 49650                           13238      2/9/2016 Corporation                                                      $27.54                                                                                            $27.54
Cutrano, Michael
417 W Oak St                                                     RS Legacy Corporation fka RadioShack
Cottage Grove, WI 53527                      13239      2/9/2016 Corporation                                                     $100.00                                                                                           $100.00
New York State Department of Taxation and
Finance
Bankruptcy Section
PO Box 5300                                                      RS Legacy Corporation fka RadioShack
Albany, NY 12205‐0300                        13240      2/8/2016 Corporation                                                                                        $61,610.38                                                  $61,610.38
IBM CORPORATION
ATTN: MARIE‐JOSEE DUBE
275 VIGER EAST
MONTREAL, QC H2X 3R7                                             RS Legacy Corporation fka RadioShack
CANADA                                       13241      2/4/2016 Corporation                                                 $19,394.36                                                                                         $19,394.36




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Shean Whitlock
8294 Pine Cay Rd                                               RS Legacy Corporation fka RadioShack
Wellington, FL 33414                      13242      2/15/2016 Corporation                                                    $130.61                                                                                          $130.61
Glenn Houston
3018 Shaded Creek Ct                                           RS Legacy Corporation fka RadioShack
La Grange, KY 40031                       13243      2/15/2016 Corporation                                                      $0.00                                                                                            $0.00
John Flanagan
203 Erskine Ct.                                                RS Legacy Corporation fka RadioShack
Cary, NC 27511                            13244      2/15/2016 Corporation                                                     $15.78                                                                                           $15.78
scott watson
20 US Route One                                                RS Legacy Corporation fka RadioShack
Falmouth, ME 04105                        13245      2/15/2016 Corporation                                                     $10.54                                                                                           $10.54
shalika chordia
89 weeks road                                                  RS Legacy Corporation fka RadioShack
east williston, ny 11596                  13246      2/15/2016 Corporation                                                     $25.00                                                                                           $25.00
Anthony Scarpelli
50 Florence St                                                 RS Legacy Corporation fka RadioShack
Nutley, NJ 07110                          13247      2/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Cole Parrott
11036 West 59th Avenue                                         RS Legacy Corporation fka RadioShack
Arvada, CO 80004                          13248      2/15/2016 Corporation                                                     $20.79                                                                                           $20.79
Cynthia Buckner
73175 Desert Greens Dr. North                                  RS Legacy Corporation fka RadioShack
Palm Desert, CA 92260                     13249      2/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Mossab Talabah
533 Bradford                                                   RS Legacy Corporation fka RadioShack
Albany, NY 12206                          13250      2/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Shian Jia
2177 Cypress Dr Apt H                                          RS Legacy Corporation fka RadioShack
lexington, KY 40504                       13251      2/15/2016 Corporation                                                     $16.09                                                                                           $16.09
Matthew Ragucci
7 Landsdowne Road                                              RS Legacy Corporation fka RadioShack
East Brunswick, NJ 08816                  13252      2/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Andrew Karp
2833 River Plaza Dr. #247                                      RS Legacy Corporation fka RadioShack
Sacramento, CA 95833                      13253      2/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Jeffrey T Smith
4304 Hwy 205                                                   RS Legacy Corporation fka RadioShack
Marshville, NC 28103                      13254      2/15/2016 Corporation                                                     $25.00                                                                                           $25.00
CHAOXUAN LIU
4433 Creekbend Circle                                          RS Legacy Corporation fka RadioShack
Richardson, TX 75082                      13255      2/16/2016 Corporation                                                     $16.33                                                                                           $16.33
Linda Santomenna
48 Bethel Cemetery Road                                        RS Legacy Corporation fka RadioShack
Chesapeake City, MD 21915                 13256      2/16/2016 Corporation                                                      $8.99                                                                                            $8.99
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          13257      2/16/2016 Corporation                                                                                                                                                       $0.00
Christopher Malley
2027 State Route 17K                                           RS Legacy Corporation fka RadioShack
Montgomery, NY 12549                      13258      2/16/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Steve Gobble
200 Kilgore Dr                                                 RS Legacy Corporation fka RadioShack
Dothan, Alabama 36301‐4920                13259      2/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Sandeep Kumar
4314 Regatta Cir                                               RS Legacy Corporation fka RadioShack
Norristown, PA 19401                      13260      2/16/2016 Corporation                                                     $44.75                                                                                           $44.75
Mariana Alwell
445 Spring Creek Rd                                            RS Legacy Corporation fka RadioShack
Boulder Creek, CA 95006                   13261      2/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Kathleen Bugman
150 Dover Drive                                                RS Legacy Corporation fka RadioShack
West Seneca, NY 14224                     13262      2/16/2016 Corporation                                                     $12.48                                                                                           $12.48
Robert Suliman
1709 Willow Road                                               RS Legacy Corporation fka RadioShack
Carrollton, TX 75006                      13263      2/16/2016 Corporation                                                    $145.89                                                                                          $145.89
Kristin Bentler
10062 Marine View Dr SW                                        RS Legacy Corporation fka RadioShack
Seattle, WA 98146                         13264      2/16/2016 Corporation                                                    $100.00                                                                                          $100.00
Pat Wagner
2351 Willow Run Court                                          RS Legacy Corporation fka RadioShack
Gibsonia, PA 15044                        13265      2/16/2016 Corporation                                                      $0.00                                                                                            $0.00
brandon bolds
33618 iris lane                                                RS Legacy Corporation fka RadioShack
murrieta, ca 92563                        13266      2/16/2016 Corporation                                                      $0.00                                                                                            $0.00
SMITA SHAH
304 TALL OAK TRAIL                                             RS Legacy Corporation fka RadioShack
TARPON SPRINGS, FL 34688                  13267      2/16/2016 Corporation                                                     $69.54                                                                                           $69.54
Nicolette Cuoco
12 Highland Avenue                                             RS Legacy Corporation fka RadioShack
Fairhaven, Ma 02718                       13268      2/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Kareem Shakoor
1919 Madison Avenue apt 625                                    RS Legacy Corporation fka RadioShack
New York, NY 10035                        13269      2/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Shaun Hewson
80 Moriches Middle Island Rd.                                  RS Legacy Corporation fka RadioShack
East Yaphank, NY 11967                    13270      2/16/2016 Corporation                                                     $29.57                                                                                           $29.57
jeff swoboda
17034 m st                                                     RS Legacy Corporation fka RadioShack
omaha, ne 68135                           13271      2/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Justin Miller
131 W 110th St Apt 6C                                          RS Legacy Corporation fka RadioShack
New York, NY 10026                        13272      2/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Eric Delahaye
63 preston road                                                RS Legacy Corporation fka RadioShack
wernersville, pa 19565                    13273      2/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Kameron Eghtesadi
8019 E Sundew Dr                                               RS Legacy Corporation fka RadioShack
Tucson, Arizona 85711                     13274      2/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Carol Dickson‐Carr
7839 La Verdura Dr                                             RS Legacy Corporation fka RadioShack
Dallas, TX 75248                          13275      2/16/2016 Corporation                                                     $30.00                                                                                           $30.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Darin Madsen
467 Vadnais Rd.                                                RS Legacy Corporation fka RadioShack
Vadnais Heights, MN 55127                 13276      2/16/2016 Corporation                                                     $70.78                                                                                           $70.78
Gwen Haynes
39091 LAST REBEL RD                                            RS Legacy Corporation fka RadioShack
HILLIARD, FL 32046                        13277      2/16/2016 Corporation                                                     $27.00                                                                                           $27.00
Michelle Zsido
469 Main St Apt 2                                              RS Legacy Corporation fka RadioShack
West Rutland, VT 05777                    13278      2/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Trent Gallegos
5842 S. Sandusky Ave.                                          RS Legacy Corporation fka RadioShack
Tulsa, Oklahoma 74135                     13279      2/16/2016 Corporation                                                    $190.00                                                                                          $190.00
Glenn Wagstaff
5106 Carolwood Drive                                           RS Legacy Corporation fka RadioShack
Greensboro, NC 27407                      13280      2/16/2016 Corporation                                                     $25.00                                                                                           $25.00
Kathleen Woolwine
3844 Cloverleaf Drive                                          RS Legacy Corporation fka RadioShack
Boulder, CO 80304                         13281      2/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Kathleen Woolwine
3844 Cloverleaf Drive                                          RS Legacy Corporation fka RadioShack
Boulder, CO 80304                         13282      2/16/2016 Corporation                                                     $32.50                                                                                           $32.50
Hyung Lee
25876 The Old Road #202                                        RS Legacy Corporation fka RadioShack
Stevenson Ranch, ca 91381                 13283      2/16/2016 Corporation                                                     $20.00                                                                                           $20.00
Franco Jeuss
240 W Juniper Ave. Unit 1268                                   RS Legacy Corporation fka RadioShack
Gilbert, Arizona 85233                    13284      2/17/2016 Corporation                                                    $100.00                                                                                          $100.00
William Oakes
1928 Buena Vista Road                                          RS Legacy Corporation fka RadioShack
Winston‐Salem, NC 27104                   13285      2/17/2016 Corporation                                                     $28.81                                                                                           $28.81
Glenn Farley
5 Beech Street                                                 RS Legacy Corporation fka RadioShack
Newtown, PA 18940                         13286      2/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Jude Ude
P.o. Box 3451                                                  RS Legacy Corporation fka RadioShack
Buies creek, NC 27506                     13287      2/17/2016 Corporation                                                     $21.09                                                                                           $21.09
Frank M Slingerland
70 Columbine Dr                                                RS Legacy Corporation fka RadioShack
Glenmont, NY 12077                        13288      2/17/2016 Corporation                                                     $35.63                                                                                           $35.63
Shenise Bellamy
1604 Sewall Ave.                                               RS Legacy Corporation fka RadioShack
Asbury Park, NJ 07712                     13289      2/17/2016 Corporation                                                     $50.00                                                                                           $50.00
Julie Mires
115 Spring Lane                                                RS Legacy Corporation fka RadioShack
Branson, MO 65616                         13290      2/17/2016 Corporation                                                     $26.00                                                                                           $26.00
Carol Andres
394 Kamnic St                                                  RS Legacy Corporation fka RadioShack
Pierz, MN 56364                           13291      2/17/2016 Corporation                                                    $250.00                                                                                          $250.00
Brinkeier, Keith A.
6254 S. Koch Rd.                                               RS Legacy Corporation fka RadioShack
Pearl City, IL 61062                      13292      2/17/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address      Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
Schmidt, Sharon
4821 NE 13 Terrace                                               RS Legacy Corporation fka RadioShack
Oakland Park, FL 33334                      13293      2/17/2016 Corporation                                                      $7.00                                                                                            $7.00
Claim Docketed In Error                                          RS Legacy Corporation fka RadioShack
                                            13294      2/17/2016 Corporation                                                                                                                                                       $0.00
Hults, Jessica
11921 Promontory Ct.                                             RS Legacy Corporation fka RadioShack
Indianapolis , IN 46236                     13295      2/17/2016 Corporation                                                     $20.00                                                                                           $20.00
Beth Meadows
175 Knollwood Drive                                              RS Legacy Corporation fka RadioShack
Salisbury, NC 28146                         13296      2/17/2016 Corporation                                                     $52.00                                                                                           $52.00
Claim Docketed In Error                                          RS Legacy Corporation fka RadioShack
                                            13297      2/17/2016 Corporation                                                                                                                                                       $0.00
Taelor Hesters
307 Brook Ave                                                    RS Legacy Corporation fka RadioShack
Plymouth, IN 46563                          13298      2/17/2016 Corporation                                                     $20.00                                                                                           $20.00

WU, ZEPENG
1208 1ST TIANSONGYAYUAN
HENGGANG SUBDISTRICT , LONGGANG DISTRICT                         RS Legacy Corporation fka RadioShack
CHINA                                       13299      2/17/2016 Corporation                                                    $454.23                                                                                          $454.23
Bruce Frisch
132 E. BlackHawk Dr.                                             RS Legacy Corporation fka RadioShack
Schaumburg, il. 60193                       13300      2/17/2016 Corporation                                                     $20.00                                                                                           $20.00
ALEX, NICK
495 TUIA PALMS DRIVE 428                                         RS Legacy Corporation fka RadioShack
PACIFICA , CA 96044                         13301      2/17/2016 Corporation                                                    $100.00                                                                                          $100.00
FORD, TALENA
917 NE 4th                                                       RS Legacy Corporation fka RadioShack
MOORE, OK 73160                             13302      2/17/2016 Corporation                                                      $7.58                                                                                            $7.58
HARRIS , DREIKA
351 CHAPARRAL RD #1701                                           RS Legacy Corporation fka RadioShack
ALLEN, TX 75002                             13303      2/17/2016 Corporation                                                      $0.00                                                                                            $0.00
FATTAH, WISAM
1415 SUPERIOR ST                                                 RS Legacy Corporation fka RadioShack
RACINE , WI 53402                           13304      2/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Tina Zhang
55 Terra Bella Dr                                                RS Legacy Corporation fka RadioShack
Manvel, TX 77578                            13305      2/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Enchantee Stokes
14018 Halstead Ct Apt 419                                        RS Legacy Corporation fka RadioShack
Tampa, FL 33613                             13306      2/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Lalka, Chanduzal J
525 Forrestds                                                    RS Legacy Corporation fka RadioShack
Sanford, NC 27330                           13307      2/16/2016 Corporation                                                     $16.04                                                                                           $16.04
HAMILI, CATHLEEN
2120 St. Johns Ave Unit C                                        RS Legacy Corporation fka RadioShack
Highland Park, IL 60035                     13308      2/16/2016 Corporation                                                    $100.00                                                                                          $100.00
McCarthy, Edward C
PO BOX 105                                                       RS Legacy Corporation fka RadioShack
VIENNA, ME 04360                            13309      2/16/2016 Corporation                                                    $104.99                                                                                          $104.99




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Smith , Dottie
P.O. Box 301                                                   RS Legacy Corporation fka RadioShack
Andalusia, AL 36420                       13310      2/16/2016 Corporation                                                      $0.00                                                                                            $0.00
RELATION , LISA
141 HORIZON BLVD                                               RS Legacy Corporation fka RadioShack
ROTTERDAM, NY 12306                       13311      2/16/2016 Corporation                                                                                                                                                       $0.00
MALHOTRA, RITA
51 PRESIDENTIAL DR.                                            RS Legacy Corporation fka RadioShack
ENGLEWOOD, NJ 07631                       13312      2/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Jenkins, Sue
1571 Riggs Road                                                RS Legacy Corporation fka RadioShack
Maysville, NC 28555                       13313      2/16/2016 Corporation                                                     $29.95                                                                                           $29.95
Gilman, Barbara
16008 Donegal Ave                                              RS Legacy Corporation fka RadioShack
Parker, CO 80134                          13314      2/16/2016 Corporation                                                     $53.99                                                                                           $53.99
Young, Concetta J
17 Sea Breeze Ave                                              RS Legacy Corporation fka RadioShack
Harwich Port, MA 02646                    13315      2/16/2016 Corporation                                                    $106.24                                                                                          $106.24
BARLOW, NELLA S
13 FORSYTHIA CT                                                RS Legacy Corporation fka RadioShack
DURHAM, NC 27705                          13316      2/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Steph Feliciano
25 shoshone st                                                 RS Legacy Corporation fka RadioShack
Buffalo, N.Y. 14214                       13317      2/17/2016 Corporation                                                     $50.00                                                                                           $50.00
James C McRoy
1716 w del rio st                                              RS Legacy Corporation fka RadioShack
chandler, AZ 85224                        13318      2/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Mark Vaughn
36 carson dr se                                                RS Legacy Corporation fka RadioShack
fort walton beach, fl 32548               13319      2/17/2016 Corporation                                                      $0.00                                                                                            $0.00
DAMARIS ORTIZ TRANA
P.O. BOX 7494                                                  RS Legacy Corporation fka RadioShack
CAGUAS, PR 00726                          13320      2/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Richard stephens
4340 me 27th st                                                RS Legacy Corporation fka RadioShack
Des Moines, Iowa 50317                    13321      2/17/2016 Corporation                                                      $7.52                                                                                            $7.52
Steven Cabaj
5713 Desert View Drive                                         RS Legacy Corporation fka RadioShack
La Jolla, CA 92037                        13322      2/17/2016 Corporation                                                     $75.41                                                                                           $75.41
Heather Andrick
678 Deerfield drive                                            RS Legacy Corporation fka RadioShack
Bridgeport, West Virginia 26330           13323      2/17/2016 Corporation                                                    $200.00                                                                                          $200.00
Elida Zepeda
87 hall st.                                                    RS Legacy Corporation fka RadioShack
Waltham, Ma 02453                         13324      2/17/2016 Corporation                                                     $55.25                                                                                           $55.25
Vanessa Mata
862 E. Broadway                                                RS Legacy Corporation fka RadioShack
San Gabriel, Ca 91776                     13325      2/18/2016 Corporation                                                     $45.00                                                                                           $45.00
Mark Haydu
196 Inwood Drive                                               RS Legacy Corporation fka RadioShack
Naugatuck, CT 06770                       13326      2/18/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Steve Barrientos
30840 Mission Dr.                                              RS Legacy Corporation fka RadioShack
Cathedral City, CA 92234                  13327      2/18/2016 Corporation                                                     $99.94                                                                                           $99.94
Dave Kres
99 Meado Lane                                                  RS Legacy Corporation fka RadioShack
North Andover, MA 01845                   13328      2/18/2016 Corporation                                                     $28.66                                                                                           $28.66
alec mcguyver
616 4th avenue                                                 RS Legacy Corporation fka RadioShack
westfield, nj 07090                       13329      2/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Jodi Holmberg
7253 St Andrews Rd                                             RS Legacy Corporation fka RadioShack
Lake Worth, FL 33467                      13330      2/18/2016 Corporation                                                    $148.39                                                                                          $148.39
DELVISCIO, RHONDA
418 DARLINGTON RD                                              RS Legacy Corporation fka RadioShack
MEDIA , PA 19063                          13331      2/18/2016 Corporation                                                     $21.19                                                                                           $21.19
BETIT, PAUL
1123 East Road                                                 RS Legacy Corporation fka RadioShack
Bennington , VT 05201                     13332      2/18/2016 Corporation                                                     $15.00                                                                                           $15.00
Gaddis, Mary R
410 Carlisle Ct                                                RS Legacy Corporation fka RadioShack
The Village , FL 32162                    13333      2/18/2016 Corporation                                                     $12.46                                                                                           $12.46
Andrew Preston
264 Opening Hill Rd                                            RS Legacy Corporation fka RadioShack
Madison, CT 06443                         13334      2/18/2016 Corporation                                                      $5.03                                                                                            $5.03
Hong Hua
405 Violeta Lane                                               RS Legacy Corporation fka RadioShack
Brea, CA 92823                            13335      2/18/2016 Corporation                                                      $0.00                                                                                            $0.00
WOMELSDORF, THERESA
41 ESPY RD 11‐A                                                RS Legacy Corporation fka RadioShack
CALDWELL , NJ 07006                       13336      2/18/2016 Corporation                                                      $0.00                                                                                            $0.00
BENNARO, JOHN
104 JAMES DR                                                   RS Legacy Corporation fka RadioShack
IONA PARK, TX 76367                       13337      2/18/2016 Corporation                                                      $0.00                                                                                            $0.00
GEYSTAND , WALTER
3928 DUHON LANE                                                RS Legacy Corporation fka RadioShack
ALEXANDRIA, LA 71301                      13338      2/18/2016 Corporation                                                      $4.04                                                                                            $4.04
R. SUNNY JAMES
PO BOX 524                                                     RS Legacy Corporation fka RadioShack
MANNFORD, OK 74044                        13339      2/18/2016 Corporation                                                     $55.00                                                                                           $55.00
FORTGANG, RON
461 FREDERICK ST                                               RS Legacy Corporation fka RadioShack
SAN FRANCISCO , CA 94117                  13340      2/18/2016 Corporation                                                      $0.00                                                                                            $0.00
BUTCHER, CHERYL
103 JAMES ST                                                   RS Legacy Corporation fka RadioShack
GOUTHERSBURG, MD 20877                    13341      2/18/2016 Corporation                                                     $15.89                                                                                           $15.89
RUDGE , DAVID
60 W 4TH ST                                                    RS Legacy Corporation fka RadioShack
DUNKIRK , NY 14048                        13342      2/18/2016 Corporation                                                      $0.00                                                                                            $0.00
LoughMiller, Jane
3810 W Cr 1200 N                                               RS Legacy Corporation fka RadioShack
Brazil , IN 47834                         13343      2/18/2016 Corporation                                                     $15.00                                                                                           $15.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
JANE LOUGH MILLER
3810 W Cr 1200 N                                               RS Legacy Corporation fka RadioShack
Brazil , IN 47834                         13344      2/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Forrest Reid
15812 Grey Oaks Street                                         RS Legacy Corporation fka RadioShack
Westminster, Ca 92683                     13345      2/18/2016 Corporation                                                     $28.16                                                                                           $28.16
Michelle Crisler
6857 Oakwood Road                                              RS Legacy Corporation fka RadioShack
Parma Heights, OH 44130                   13346      2/18/2016 Corporation                                                     $25.00                                                                                           $25.00
joecarbo
4 hillside drive                                               RS Legacy Corporation fka RadioShack
malvern, pa 19355‐1711                    13347      2/18/2016 Corporation                                                      $0.00                                                                                            $0.00
joe carbo
r hillside drive                                               RS Legacy Corporation fka RadioShack
malvern, pa 19355                         13348      2/18/2016 Corporation                                                      $0.00                                                                                            $0.00
ATKISSON, KAREN
1418 BOWMAN LANE                                               RS Legacy Corporation fka RadioShack
BRENTWOOD, TN 37027                       13349      2/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Mastroni , Diane
36 crane street #2                                             RS Legacy Corporation fka RadioShack
fairfield , CT 06825                      13350      2/18/2016 Corporation                                                     $21.19                                                                                           $21.19
MCNAMARA, MAURA
100 DECATUR ST                                                 RS Legacy Corporation fka RadioShack
BROOKLYN , NY 11216                       13351      2/18/2016 Corporation                                                      $0.00                                                                                            $0.00
BARNETT, JUDY
2 CATO COVE                                                    RS Legacy Corporation fka RadioShack
BRAXTON , MS 39044                        13352      2/18/2016 Corporation                                                      $0.00                                                                                            $0.00
ZACHARY, MELVIN
5961 N CO RD 525 W                                             RS Legacy Corporation fka RadioShack
MIDDLETOWN, IN 47356                      13353      2/18/2016 Corporation                                                    $154.02                                                                                          $154.02
GRISSOM, PAMELA
32 WALTER BOWEN ROAD                                           RS Legacy Corporation fka RadioShack
Henderson , NC 27537                      13354      2/18/2016 Corporation                                                    $100.00                                                                                          $100.00
GRISSOM , PAMELA
32 WALTER BOWEN ROAD                                           RS Legacy Corporation fka RadioShack
HENDERSON, NC NC                          13355      2/18/2016 Corporation                                                     $20.00                                                                                           $20.00
GRISSOM, PAMELA
32 WALTER BOWEN ROAD                                           RS Legacy Corporation fka RadioShack
HENDERSON, NC 27537                       13356      2/18/2016 Corporation                                                      $9.00                                                                                            $9.00
SCHULTZ, CHARLES J
274 CHEROKEE RD                                                RS Legacy Corporation fka RadioShack
BEAVER DAM , WI 53916                     13357      2/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Sarah Kloss
16325 83rd St                                                  RS Legacy Corporation fka RadioShack
Royalton, MN 56373                        13358      2/18/2016 Corporation                                                     $25.00                                                                                           $25.00
Nick Murphy
141 Boulder Place                                              RS Legacy Corporation fka RadioShack
Randall, MN 56475                         13359      2/18/2016 Corporation                                                     $33.73                                                                                           $33.73
Brad Doroff
18569 235th Ave                                                RS Legacy Corporation fka RadioShack
Pierz, MN 56364                           13360      2/18/2016 Corporation                                                     $25.00                                                                                           $25.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Zhenquan Liu
7285 Calabria CT, Unit 16                                      RS Legacy Corporation fka RadioShack
San Diego, CA 92122                       13361      2/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Zhenquan Liu
7285 Calabria CT, Unit 16                                      RS Legacy Corporation fka RadioShack
San Diego, CA 92122                       13362      2/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Brandy Colmer
9506 NE 144th Ct                                               RS Legacy Corporation fka RadioShack
Vancouver, WA 98682                       13363      2/18/2016 Corporation                                                      $0.00                                                                                            $0.00
David Crane
1455 A ST NE APT A                                             RS Legacy Corporation fka RadioShack
Washington, DC 20002                      13364      2/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Brian Pritchard
485 Armstrong Ave Apt F1                                       RS Legacy Corporation fka RadioShack
Staten Island, NY 10308                   13365      2/18/2016 Corporation                                                      $5.11                                                                                            $5.11
Anna Cessna
1780 Unit E Philadelphia Street                                RS Legacy Corporation fka RadioShack
Indiana, PA 15701                         13366      2/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Anna Cessna
1780 Unit E Philadelphia Street                                RS Legacy Corporation fka RadioShack
Indiana, PA 15701                         13367      2/18/2016 Corporation                                                     $20.00                                                                                           $20.00
Toshiko cooper
7776 sterling drive                                            RS Legacy Corporation fka RadioShack
Oakland, Ca 94604                         13368      2/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Kevin W. Martin
1133 Ashland Rd. Apt. 201                                      RS Legacy Corporation fka RadioShack
Columbia, MO 65201                        13369      2/19/2016 Corporation                                                     $50.00                                                                                           $50.00
MARIA FULLER
213 WILDLIFE TRACE                                             RS Legacy Corporation fka RadioShack
CHESAPEAKE, VA 23320                      13370      2/19/2016 Corporation                                                      $0.00                                                                                            $0.00
vladimir charles
6940 nw 44ct                                                   RS Legacy Corporation fka RadioShack
lauderhill, FL 33319                      13371      2/19/2016 Corporation                                                     $87.60                                                                                           $87.60
ENDRES, DON                                                    RS Legacy Corporation fka RadioShack
                                          13372      2/19/2016 Corporation                                                     $24.46                                                                                           $24.46
Pamela A Henry
157 Dorwin Drive                                               RS Legacy Corporation fka RadioShack
West Springfield, MA 01089                13373      2/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Phyllis Cole
One Stillwater Place                                           RS Legacy Corporation fka RadioShack
Bedford, NY 10506                         13374      2/19/2016 Corporation                                                      $0.00                                                                                            $0.00
DAVID EIX
5031 W DUPONT ROAD                                             RS Legacy Corporation fka RadioShack
FORT WAYNE, IN 46818                      13375      2/19/2016 Corporation                                                     $17.46                                                                                           $17.46
Anthony Vanderhoeven
2030 Miner Ave                                                 RS Legacy Corporation fka RadioShack
Muskegon, MI 49441                        13376      2/19/2016 Corporation                                                     $52.99                                                                                           $52.99
Jill Falbey
6353 Mercer St.                                                RS Legacy Corporation fka RadioShack
Houston, TX 77005                         13377      2/19/2016 Corporation                                                    $100.00                                                                                          $100.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Nitin Garg
4229 NW 43rd Street, Apt S148                                  RS Legacy Corporation fka RadioShack
Gainesville, Fl 32606                     13378      2/19/2016 Corporation                                                     $40.27                                                                                           $40.27
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          13379      2/19/2016 Corporation                                                                                                                                                       $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          13380      2/19/2016 Corporation                                                                                                                                                       $0.00
HUYENTRAN, NGUYEN
822 MALIBU DRIVE                                               RS Legacy Corporation fka RadioShack
SILVER SPRING , MD 20901                  13381      2/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Jenson, Marlene
12724 Chandler Blvd                                            RS Legacy Corporation fka RadioShack
Valley Willage, CA 91607                  13382      2/18/2016 Corporation                                                     $10.86                                                                                           $10.86
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          13383      3/9/2016 Corporation                                                                                                                                                        $0.00
KARIMINLLA, RANJITH
5515 ASPEN                                                     RS Legacy Corporation fka RadioShack
BARTLESVILLE, OK 74006                    13384      2/19/2016 Corporation                                                     $24.79                                                                                           $24.79
BRICKLER, THOMAS
1134 RUTH DR                                                   RS Legacy Corporation fka RadioShack
ST.LOUIS, MO 63122                        13385      2/18/2016 Corporation                                                      $0.00                                                                                            $0.00
HUDSON, TED
117 GREENLAWN DR                                               RS Legacy Corporation fka RadioShack
LEBANON, TN 37087                         13386      2/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Christopher Lewis
468 Franklin Square Drive                                      RS Legacy Corporation fka RadioShack
Chambersburg, PA 17201                    13387      2/19/2016 Corporation                                                     $15.00                                                                                           $15.00
KARIMINLLA, RANJITH
5515 ASPEN                                                     RS Legacy Corporation fka RadioShack
BARTLEVILLE, OK 74006                     13388      2/18/2016 Corporation                                                    $100.00                                                                                          $100.00
Elizabeth Micenko
40 Carroll Way                                                 RS Legacy Corporation fka RadioShack
Monongahela, PA 15063                     13389      2/19/2016 Corporation                                                     $26.28                                                                                           $26.28
wheeler , Susan
4760 Squiresville Road                                         RS Legacy Corporation fka RadioShack
Owenton, KY 40359                         13390      2/19/2016 Corporation                                                     $17.47                                                                                           $17.47
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          13391      2/18/2016 Corporation                                                                                                                                                       $0.00
Shari Lariviere
56 Partridge Lane                                              RS Legacy Corporation fka RadioShack
Madison, CT 06443                         13392      2/19/2016 Corporation                                                     $99.00                                                                                           $99.00
Granat, Irwin
PO BOX 71                                                      RS Legacy Corporation fka RadioShack
NEWBURY PARK, CA 91319                    13393      2/18/2016 Corporation                                                     $30.77                                                                                           $30.77
Davidson, Angela
6008 Blue Creek Rd                                             RS Legacy Corporation fka RadioShack
Brookville , IN 47012                     13394      2/18/2016 Corporation                                                     $36.50                                                                                           $36.50
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          13395      2/19/2016 Corporation                                                                                                                                                       $0.00
TORCHIA , FRANK
144 23rd Avenue                                                RS Legacy Corporation fka RadioShack
Paterson, NJ 07513‐1322                   13396      2/19/2016 Corporation                                                      $0.00                                                                                            $0.00



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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
KING , CARRIE
2428 STONEY GLEN DR                                            RS Legacy Corporation fka RadioShack
FLEMING ISLAND , FL 32003                 13397      2/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Oladapo Ashaolu
88 E San Fernando St Unit 1409                                 RS Legacy Corporation fka RadioShack
San Jose, CA 95113                        13398      2/19/2016 Corporation                                                    $178.40                                                                                          $178.40
Lee Lapp
lapplee@yahoo.com                                              RS Legacy Corporation fka RadioShack
San Ramon, CA 94582                       13399      2/19/2016 Corporation                                                     $75.00                                                                                           $75.00
Karen Poulos
27 Nanialii Pl.                                                RS Legacy Corporation fka RadioShack
Kihei, HI 96753                           13400      2/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Donna miyamoto
6177 N Caldwell                                                RS Legacy Corporation fka RadioShack
Chicago, Il. 60646                        13401      2/19/2016 Corporation                                                     $25.00                                                                                           $25.00
JUDITH SPRAGUE
111 SWAMP ROAD                                                 RS Legacy Corporation fka RadioShack
RICHMOND, MA 01254                        13402      2/19/2016 Corporation                                                     $50.00                                                                                           $50.00
Rutvik Patel
157 Lowell st                                                  RS Legacy Corporation fka RadioShack
Lexington, MA 02420                       13403      2/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Iraj Mansoori
8280 San Dimas Road                                            RS Legacy Corporation fka RadioShack
Atascadero, CA 93422                      13404      2/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Karen Mann
9325 NW 10th St                                                RS Legacy Corporation fka RadioShack
Plantation, FL 33322                      13405      2/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Brandon Robinson
5003 W Seminary Avenue                                         RS Legacy Corporation fka RadioShack
Richmond, VA 23227                        13406      2/20/2016 Corporation                                                     $21.05                                                                                           $21.05
Randall Melton
300 Mashie Drive, SE                                           RS Legacy Corporation fka RadioShack
Vienna, VA 22180                          13407      2/20/2016 Corporation                                                     $50.00                                                                                           $50.00
Ryan Andrews
1324 E Street                                                  RS Legacy Corporation fka RadioShack
Elmont, NY 11003                          13408      2/20/2016 Corporation                                                     $25.00                                                                                           $25.00
Jennifer sonnenfeld
1871 park ridge ct                                             RS Legacy Corporation fka RadioShack
Howell, Mi 48843                          13409      2/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Sam Harshaw
8630 Spring Garden Dr APT 26304                                RS Legacy Corporation fka RadioShack
Fort Worth, TX 76244                      13410      2/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Geoffrey Garrod
5173 Kurt Lane                                                 RS Legacy Corporation fka RadioShack
Conyers, GA 30094                         13411      2/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Chris Rodriguez
1950 La Salle St                                               RS Legacy Corporation fka RadioShack
Martinez, Ca 94526                        13412      2/20/2016 Corporation                                                     $52.41                                                                                           $52.41
Matthew Blake
143 Cascade Drive                                              RS Legacy Corporation fka RadioShack
Thibodaux, LA 70301                       13413      2/20/2016 Corporation                                                     $35.00                                                                                           $35.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Chirag Radhakrishna
2705 White Falls Dr                                            RS Legacy Corporation fka RadioShack
Pearland, TX 77584                        13414      2/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Darin Peterson
5733 Perry Ave N                                               RS Legacy Corporation fka RadioShack
Crystal, MN 55429                         13415      2/20/2016 Corporation                                                     $42.00                                                                                           $42.00
Garth McCalla
8722 Avenue J                                                  RS Legacy Corporation fka RadioShack
Brooklyn, NY 11236                        13416      2/20/2016 Corporation                                                     $80.00                                                                                           $80.00
Shane Schantz
2445 Samantha Lane                                             RS Legacy Corporation fka RadioShack
Billings, MT 59101                        13417      2/20/2016 Corporation                                                     $25.00                                                                                           $25.00
Ganesh Chandrasekaran
28 Starboard Way                                               RS Legacy Corporation fka RadioShack
Mount Laurel, NJ 08054                    13418      2/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Taylor Leigh
4420 S 11th St                                                 RS Legacy Corporation fka RadioShack
Terre Haute, IN 47802                     13419      2/20/2016 Corporation                                                     $30.00                                                                                           $30.00
Sonia espinoza
3212 crescent ridge st                                         RS Legacy Corporation fka RadioShack
Bakersfield, CA 93313                     13420      2/20/2016 Corporation                                                     $10.00                                                                                           $10.00
Christopher Abro
6805 High Ridge Rd                                             RS Legacy Corporation fka RadioShack
West Bloomfield, MI 48324                 13421      2/20/2016 Corporation                                                    $168.72                                                                                          $168.72
Ann Williams
7001 West Parker Rd, #615                                      RS Legacy Corporation fka RadioShack
Plano, TX 75093                           13422      2/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Noemi Grey
8421 Hazelwood Cir                                             RS Legacy Corporation fka RadioShack
Westminster, Ca 92683                     13423      2/20/2016 Corporation                                                      $0.00                                                                                            $0.00
helen
1105 kaimoku place                                             RS Legacy Corporation fka RadioShack
honolulu, hi 96821                        13424      2/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Bart Sweebe
1017 12th St. S.                                               RS Legacy Corporation fka RadioShack
Brookings, SD 57006                       13425      2/21/2016 Corporation                                                     $25.00                                                                                           $25.00
Bart Sweebe
1017 12th St. S.                                               RS Legacy Corporation fka RadioShack
Brookings, SD 57006                       13426      2/21/2016 Corporation                                                     $25.00                                                                                           $25.00
Bart Sweebe
1017 12th St. S.                                               RS Legacy Corporation fka RadioShack
Brookings, SD 57006                       13427      2/21/2016 Corporation                                                      $2.31                                                                                            $2.31
Fred Strobel
39 Sandy Court                                                 RS Legacy Corporation fka RadioShack
Port Washington, NY 11050                 13428      2/21/2016 Corporation                                                     $86.89                                                                                           $86.89
joe egler
410 Alma Terrace                                               RS Legacy Corporation fka RadioShack
Cary, IL 60013                            13429      2/21/2016 Corporation                                                     $42.49                                                                                           $42.49
MARY ANNE WHITE
53 WARD STREET                                                 RS Legacy Corporation fka RadioShack
MANCHESTER, NH 03104                      13430      2/21/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Laura Clyma
170 East Plymouth road                                         RS Legacy Corporation fka RadioShack
Terryville, Ct 06786                      13431      2/21/2016 Corporation                                                     $46.87                                                                                           $46.87
David Brisco
632 Jefferson ave                                              RS Legacy Corporation fka RadioShack
Kenilworth, nj 07033                      13432      2/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Susan Perlstein
9 Vista Court                                                  RS Legacy Corporation fka RadioShack
Corte Maera, CA 94925                     13433      2/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Shubham Gupta
325 Lyndsie Drive                                              RS Legacy Corporation fka RadioShack
Coppell, TX 75019                         13434      2/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Shubham Gupta
325 Lyndsie Drive                                              RS Legacy Corporation fka RadioShack
Coppell, TX 75019                         13435      2/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Aaron Capone
205 31st Street                                                RS Legacy Corporation fka RadioShack
Altoona, PA 16602                         13436      2/21/2016 Corporation                                                     $63.79                                                                                           $63.79
Suchi Jain
1280 Thornbury Lane                                            RS Legacy Corporation fka RadioShack
San Jose, ca 95138                        13437      2/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Sharon Kinney
382 Compton Drive                                              RS Legacy Corporation fka RadioShack
Moncks Corner, SC 29461                   13438      2/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Jaclyn Fraioli
38 Richland Road                                               RS Legacy Corporation fka RadioShack
Greenwich, ct 06830                       13439      2/22/2016 Corporation                                                     $95.00                                                                                           $95.00
Kathleen Abbruscato
6 Montgomery Lane                                              RS Legacy Corporation fka RadioShack
Bay Shore, NY 11706                       13440      2/22/2016 Corporation                                                     $32.59                                                                                           $32.59
Iraj Mansoori
8280 San Dimas Road                                            RS Legacy Corporation fka RadioShack
Atascadero, CA 93422                      13441      2/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Helga Wells
PO Box 26                                                      RS Legacy Corporation fka RadioShack
Asheville, NC 28802                       13442      2/22/2016 Corporation                                                     $19.25                                                                                           $19.25
Thomsun Sriburadej
8315 16th Ave NW                                               RS Legacy Corporation fka RadioShack
Seattle, WA 98117                         13443      2/22/2016 Corporation                                                     $50.00                                                                                           $50.00
colette
4952 beverly                                                   RS Legacy Corporation fka RadioShack
los angeles, ca 90004                     13444      2/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Dayne Neal
2832 Ponca St.                                                 RS Legacy Corporation fka RadioShack
Lincoln, NE 68506                         13445      2/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Terry Smith
370 vesper road                                                RS Legacy Corporation fka RadioShack
Hershey, Pa 17033                         13446      2/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Irma Burns
23728 Red Eagle                                                RS Legacy Corporation fka RadioShack
San Antonio, TX 78258                     13447      2/22/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Matt Da Cunha
1 Westbrae Drive                                               RS Legacy Corporation fka RadioShack
Fairfax, Ca 94930                         13448      2/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Naqi, Syed M.
130 N. Milford St.                                             RS Legacy Corporation fka RadioShack
Dearborn, MI 48128                        13449      2/18/2016 Corporation                                                                      $105.99                                  $0.00                                 $105.99
Basherian, Elizabeth
324 Cromwell Ave                                               RS Legacy Corporation fka RadioShack
Clovis, CA 93611                          13450      2/18/2016 Corporation                                                     $25.00                                                                                           $25.00
Endres, Don
2644 Borglum                                                   RS Legacy Corporation fka RadioShack
GRAND RAPIDS , MI 49505                   13451      2/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Reising, Kathy
264 Riverview Add Rd                                           RS Legacy Corporation fka RadioShack
Bedford, IN 47421                         13452      2/18/2016 Corporation                                                     $10.67                                                                                           $10.67
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          13453      2/17/2016 Corporation                                                                                                                                                       $0.00
Kinzie, Elbert W
345 Newcomb St.                                                RS Legacy Corporation fka RadioShack
Christiansburg, VA 24073                  13454      2/22/2016 Corporation                                                      $8.23                                                                                            $8.23
Endres, Don
2644 Borglum                                                   RS Legacy Corporation fka RadioShack
GRAND RAPIDS , MI 49505                   13455      2/18/2016 Corporation                                                      $0.00                                                                                            $0.00
RADOWICZ, DAVID A.
P.O Box 270022                                                 RS Legacy Corporation fka RadioShack
Milwaukee, WI 53227‐7201                  13456      2/18/2016 Corporation                                                     $42.23                                                                                           $42.23
Stone , Halli
305 Eastview Dr.                                               RS Legacy Corporation fka RadioShack
Idaho Falls, ID 83401                     13457      2/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Bishop, Jan
PO Box 110
5039 Delaware Tpk                                              RS Legacy Corporation fka RadioShack
Rensselaeville, KY 12147                  13458      2/19/2016 Corporation                                                     $43.19                                                                                           $43.19
LeJeune, Gary
4481 HWY 78                                                    RS Legacy Corporation fka RadioShack
Livonia, LA 70755                         13459      2/18/2016 Corporation                                                    $100.00                                                                                          $100.00
HENDRIKS, JOHAN C.
2682 DAFFODIL AVE                                              RS Legacy Corporation fka RadioShack
McKINLEYVILLE, CA 95519                   13460      2/18/2016 Corporation                                                    $100.00                                                                                          $100.00
Keith McGowan
153 Old Hopewell Rd                                            RS Legacy Corporation fka RadioShack
Wappingers Falls, New York 12590          13461      2/22/2016 Corporation                                                     $25.00                                                                                           $25.00
Peck , Dean
4569 Indian Ridge Rd                                           RS Legacy Corporation fka RadioShack
Sylvania , OH 43560                       13462      2/22/2016 Corporation                                                    $106.74                                                                                          $106.74
YBARRA, FILEMON P
11817 BATTLE STREET                                            RS Legacy Corporation fka RadioShack
NORWALK, CA 90650                         13463      2/22/2016 Corporation                                                     $32.71                                                                                           $32.71
Egan , Donald
38 Ann Place                                                   RS Legacy Corporation fka RadioShack
Valatie , NY 12184                        13464      2/22/2016 Corporation                                                     $43.19                                                                                           $43.19




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Dibenedetto, Ralph E
1081 New Haven Rd. Apt 14J                                     RS Legacy Corporation fka RadioShack
Navgatuck , CT 06770                      13465      2/22/2016 Corporation                                                     $25.00                                                                                           $25.00
Everett, Jacob
333 Lighthouse Dr.                                             RS Legacy Corporation fka RadioShack
Vallejo, CA 94590                         13466      2/22/2016 Corporation                                                     $25.00                                                                                           $25.00
Makinodan, Akira
1707 Mott‐Smith Dr                                             RS Legacy Corporation fka RadioShack
Honolulu, HI 96822                        13467      2/22/2016 Corporation                                                     $60.63                                                                                           $60.63
NAKAGAWA, CRAIG
486 MAKANAA ST                                                 RS Legacy Corporation fka RadioShack
HILO, HI 96720                            13468      2/18/2016 Corporation                                                      $0.00                                                                                            $0.00
LEMANKIEWICZ, WALTER
10825 HARTSOOK ST                                              RS Legacy Corporation fka RadioShack
N HOLLYWOOD, CA 91601                     13469      2/18/2016 Corporation                                                     $54.49                                                                                           $54.49
Gouch, Karmyn
8309 PIERCE ST                                                 RS Legacy Corporation fka RadioShack
Verona, PA 15147                          13470      2/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Jon C. Snapp
4303 Tipton Ct.                                                RS Legacy Corporation fka RadioShack
Colorado Springs, CO 80915                13471      2/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Lauren James
97 Bucksnort Road                                              RS Legacy Corporation fka RadioShack
Van Alstyne, Texas 75495                  13472      2/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Joleen Lombardo
252 Candlewood Lake Rd. N.                                     RS Legacy Corporation fka RadioShack
New Milford, CT 06776                     13473      2/22/2016 Corporation                                                     $31.79                                                                                           $31.79
Galicia, Joseph R.
14 Dudley Coort, Unit #8                                       RS Legacy Corporation fka RadioShack
Bethesda, MD 20814                        13474      2/22/2016 Corporation                                                    $180.00                                                                                          $180.00
Edward N Socha
1762 Kenyon St NW                                              RS Legacy Corporation fka RadioShack
Washington, DC 20010                      13475      2/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Allen Bertrand
3433 Highway 190 PMB 216                                       RS Legacy Corporation fka RadioShack
Mandeville, LA 70471                      13476      2/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Samantha Richard
31 Moccasin Ave                                                RS Legacy Corporation fka RadioShack
North Hero, VT 05458                      13477      2/22/2016 Corporation                                                     $87.04                                                                                           $87.04
Samantha Richard
31 Moccasin Ave                                                RS Legacy Corporation fka RadioShack
Grand Isle, VT 05458                      13478      2/22/2016 Corporation                                                     $23.00                                                                                           $23.00
Samantha Richard
31 Moccasin Ave                                                RS Legacy Corporation fka RadioShack
Grand Isle, VT 05458                      13479      2/22/2016 Corporation                                                     $23.00                                                                                           $23.00
Stanley M Wisniewski
16 Milan Ave                                                   RS Legacy Corporation fka RadioShack
Woburn, MA 01801                          13480      2/22/2016 Corporation                                                     $44.00                                                                                           $44.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
EMCOM TECHNOLOGY INC.
7F 219 SEC 3
NANKING E. ROAD
TAIPEI                                                         RS Legacy Corporation fka RadioShack
TAIWAN                                    13481      2/19/2016 Corporation                                                      $0.00                                                                                            $0.00
RODRIQUEZ, PATRICIA
33990 ST RT 683                                                RS Legacy Corporation fka RadioShack
MCARTHUR , OH 43228                       13482      2/18/2016 Corporation                                                     $16.04                                                                                           $16.04
DESIRE, MARIE
20 Newkirk Rd                                                  RS Legacy Corporation fka RadioShack
Somerset, NJ 08873                        13483      2/18/2016 Corporation                                                     $19.00                                                                                           $19.00
COSMO, FRANK
432 CALLE BARBOSA                                              RS Legacy Corporation fka RadioShack
MOCA, PR 00676                            13484      2/18/2016 Corporation                                                                                                                                                       $0.00
BUCHANAN, CARLA J
399 CANAL RD                                                   RS Legacy Corporation fka RadioShack
MARSHALL, WI 53559                        13485      2/18/2016 Corporation                                                                                                                                                       $0.00
LESNAK, LINDA L
6234 HIGHVIEW DR                                               RS Legacy Corporation fka RadioShack
BELLE VERNON , PA 15012                   13486      2/18/2016 Corporation                                                     $25.00                                                                                           $25.00
Knorr, George
3129 WOODRIDGE DRIVE                                           RS Legacy Corporation fka RadioShack
PITTSBURGH, PA 15227                      13487      2/18/2016 Corporation                                                    $325.00                                                                                          $325.00
Hendriks, Johan C.
2682 Daffodil Ave                                              RS Legacy Corporation fka RadioShack
McKinleyville, CA 95519                   13488      2/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Fong, Glenn
7124 Sherice Ct                                                RS Legacy Corporation fka RadioShack
Sacramento, CA 95831                      13489      2/18/2016 Corporation                                                     $50.00                                                                                           $50.00
KARIMINLLA, RANJITH
5515 ASPEN                                                     RS Legacy Corporation fka RadioShack
BARTLESVILLE, OK 74006                    13490      2/18/2016 Corporation                                                                                                                                                       $0.00
Flynn , John
151 W 3rd Street                                               RS Legacy Corporation fka RadioShack
West Islip, NY 11795                      13491      2/18/2016 Corporation                                                     $25.00                                                                                           $25.00
MILNER, DONALD SCOTT
34403 LA HIGHWAY 1019                                          RS Legacy Corporation fka RadioShack
DENHAM SPRINGS, LA 70706                  13492      2/18/2016 Corporation                                                                                                                                                       $0.00
Woods, Roselind
215 Blind Brook Rd                                             RS Legacy Corporation fka RadioShack
Havana , FL 32333‐6497                    13493      2/18/2016 Corporation                                                      $1.05                                                                                            $1.05
KARIMINLLA, RANJITH
5515 ASPEN                                                     RS Legacy Corporation fka RadioShack
BARTLESVILLE, OK 74006                    13494      2/18/2016 Corporation                                                                                                                                                       $0.00
IMPONEN, AMY M.
7050 NW FAWN RIDGE DR.                                         RS Legacy Corporation fka RadioShack
ALBANY, OR 97321                          13495      2/18/2016 Corporation                                                     $84.98                                                                                           $84.98
AVALOS, MAYRA
198 N SKYLINE DR#43                                            RS Legacy Corporation fka RadioShack
THOUSAND OAKS, CA 91362                   13496      2/18/2016 Corporation                                                    $120.00                                                                                          $120.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Torchia, Frank
144 23rd Avenue                                                RS Legacy Corporation fka RadioShack
Paterson, NJ 07513‐1322                   13497      2/12/2016 Corporation                                                                                                                                                       $0.00
Major, Donna
95 RIVER BIRCH DR                                              RS Legacy Corporation fka RadioShack
OXFORD, GA 30054                          13498      2/18/2016 Corporation                                                                                                                                                       $0.00
COOK, MICHAEL
14320 75TH AVE NE                                              RS Legacy Corporation fka RadioShack
KIRKLAND, WA 98034                        13499      2/18/2016 Corporation                                                                                                                                                       $0.00
GARAY, JOANNA
7969 CREST AVE                                                 RS Legacy Corporation fka RadioShack
OAKLAND, CA 94605                         13500      2/18/2016 Corporation                                                     $55.00                                                                                           $55.00
SHICK , JACQUELINE
2817 Albrook Circle                                            RS Legacy Corporation fka RadioShack
Las Vegas , NV 89117                      13501      2/18/2016 Corporation                                                                                                                                                       $0.00
Murphy, Melissa
268‐30 Stearns Rd                                              RS Legacy Corporation fka RadioShack
Chehalis, WA 98532                        13502      2/17/2016 Corporation                                                     $21.59                                                                                           $21.59
Ruthanne Kilheffer
810 Prospect Rd                                                RS Legacy Corporation fka RadioShack
Columbia, PA 17512                        13503      2/22/2016 Corporation                                                     $45.63                                                                                           $45.63
Val collins
1536 weiland manor lane                                        RS Legacy Corporation fka RadioShack
Houston, Tx 77073                         13504      2/22/2016 Corporation                                                  $5,000.00                                                                                        $5,000.00
Val collins
1527 weiland manor lane                                        RS Legacy Corporation fka RadioShack
Housto, Tx 77073                          13505      2/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Brewer Ward
4148 Keever Ave                                                RS Legacy Corporation fka RadioShack
Long Beach, CA 90807                      13506      2/23/2016 Corporation                                                     $40.00                                                                                           $40.00
Debra Freire
195 Chaucer Drive                                              RS Legacy Corporation fka RadioShack
Berkeley Heights, NJ 07922                13507      2/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Alice Wang
297 Woodward Street                                            RS Legacy Corporation fka RadioShack
Newton, MA 02468‐2011                     13508      2/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Madden, Daniel
243 Cherry Place                                               RS Legacy Corporation fka RadioShack
East Meadow, NY 11554                     13509      2/20/2016 Corporation                                                     $25.00                                                                                           $25.00
Peter Hoyt
2712 Palma Sola Blvd                                           RS Legacy Corporation fka RadioShack
Bradenton, Fl 34209                       13510      2/23/2016 Corporation                                                      $0.00                                                                                            $0.00
NIKIA PIPKIN
816 GARNER STREET                                              RS Legacy Corporation fka RadioShack
MOCKSVILLE, NC 27028                      13511      2/23/2016 Corporation                                                     $84.70                                                                                           $84.70
Patrice Marshall‐Abubakar
5813 McMahon St                                                RS Legacy Corporation fka RadioShack
Philadelphia, Pa 19144                    13512      2/23/2016 Corporation                                                     $20.00                                                                                           $20.00
Ali, Michael
77c Adams Rd apt 2A                                            RS Legacy Corporation fka RadioShack
Central Islip , NY 11722                  13513      2/23/2016 Corporation                                                     $21.71                                                                                           $21.71




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Tait , Michelle
775 N Harrisville Rd                                           RS Legacy Corporation fka RadioShack
Harrisville , UT 84404                    13514      2/23/2016 Corporation                                                     $25.00                                                                                           $25.00
Adam Dobos
689 E. Olson Rd.                                               RS Legacy Corporation fka RadioShack
Midland, MI. 48640                        13515      2/23/2016 Corporation                                                     $10.00                                                                                           $10.00
Ronald Gail Miller Jr.
1575 Barnes Rd.                                                RS Legacy Corporation fka RadioShack
Woodstock, GA 30188                       13516      2/23/2016 Corporation                                                     $50.00                                                                                           $50.00
Kirk Ashenfelter
1507 Duckwall Road                                             RS Legacy Corporation fka RadioShack
Berkeley Springs, WV 25411                13517      2/23/2016 Corporation                                                    $100.00                                                                                          $100.00
Trigby Perea
725 Florida St., 12                                            RS Legacy Corporation fka RadioShack
San Francisco, CA 94110                   13518      2/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Trigby Perea
725 Florida St., 12                                            RS Legacy Corporation fka RadioShack
San Francisco, CA 94110                   13519      2/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Naveen Chepuri
29B E.Maple St                                                 RS Legacy Corporation fka RadioShack
Massapequa, NY 11758                      13520      2/23/2016 Corporation                                                    $100.00                                                                                          $100.00
Naveen Chepuri
29B E.Maple St                                                 RS Legacy Corporation fka RadioShack
Massapequa, NY 11758                      13521      2/23/2016 Corporation                                                     $90.00                                                                                           $90.00
Kirt Meese
823 Woods Glen Court                                           RS Legacy Corporation fka RadioShack
Deforest, WI 53532                        13522      2/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Kirt Meese
823 Woods Glen Court                                           RS Legacy Corporation fka RadioShack
Deforest, WI 53532                        13523      2/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Jaskaran Singh
4141 E 15th street APT 617                                     RS Legacy Corporation fka RadioShack
panama city, florida 32404                13524      2/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert Rossi
14416 Erin Court                                               RS Legacy Corporation fka RadioShack
Homer Glen, Illinois 60491                13525      2/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Andrew Case
93 Cromwell                                                    RS Legacy Corporation fka RadioShack
Clovis, CA 93611                          13526      2/23/2016 Corporation                                                     $29.99                                                                                           $29.99
earnest johnson
189 deep valley dr.                                            RS Legacy Corporation fka RadioShack
jefferson, texas 75657                    13527      2/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Douglas Tillmann
228 Locust Dr                                                  RS Legacy Corporation fka RadioShack
Dalton, PA 18414                          13528      2/23/2016 Corporation                                                    $150.00                                                                                          $150.00
Juan Trevino
2808 Whitis Ave                                                RS Legacy Corporation fka RadioShack
Austin, Texas 78705                       13529      2/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Alan Kotlarek
138 Glenway Street                                             RS Legacy Corporation fka RadioShack
Madison, WI 53705                         13530      2/23/2016 Corporation                                                     $24.99                                                                                           $24.99




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Alan Kotlarek
138 Glenway Street                                             RS Legacy Corporation fka RadioShack
Madison, WI 53705                         13531      2/23/2016 Corporation                                                      $5.25                                                                                            $5.25
Rachel Taylor‐Saghie
385 Woodbridge Way                                             RS Legacy Corporation fka RadioShack
Durango, CO 81301                         13532      2/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Roseann Jones
14675 Via Azul                                                 RS Legacy Corporation fka RadioShack
San Diego, CA 92127                       13533      2/23/2016 Corporation                                                    $137.72                                                                                          $137.72
arlances ash
118 august place                                               RS Legacy Corporation fka RadioShack
florissant, mo 63034                      13534      2/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Amir Chak
29 Calle Estero                                                RS Legacy Corporation fka RadioShack
Rancho Stanta Margarita, CA 92688         13535      2/23/2016 Corporation                                                     $14.03                                                                                           $14.03
Gary Love
6251 38th Ave NE                                               RS Legacy Corporation fka RadioShack
Seattle, WA 98115                         13536      2/23/2016 Corporation                                                     $30.00                                                                                           $30.00
Cara Villanueva
3303 Benbrook Cove                                             RS Legacy Corporation fka RadioShack
Corinth, TX 76208                         13537      2/24/2016 Corporation                                                    $200.00                                                                                          $200.00
GEARY, CELINE                                                  RS Legacy Corporation fka RadioShack
                                          13538      2/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Blow, Jennifer
6275 Maple Grove                                               RS Legacy Corporation fka RadioShack
Morrow, OH 45152                          13539      2/24/2016 Corporation                                                     $40.55                                                                                           $40.55
Monte Myers
5750 Coronado St. W.                                           RS Legacy Corporation fka RadioShack
bakersfield, ca 93314                     13540      2/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Broad, John C.
3651 McFARLIN BLVD                                             RS Legacy Corporation fka RadioShack
Dallas, Texas 75205                       13541      2/24/2016 Corporation                                                     $21.63                                                                                           $21.63
Rafael Rehac
322 Whipp Dr. SE                                               RS Legacy Corporation fka RadioShack
Leesburg, VA 20175                        13542      2/24/2016 Corporation                                                     $50.00                                                                                           $50.00
Firstenberg, Suzanne
5403 Bradley BLVD                                              RS Legacy Corporation fka RadioShack
Bethesda, MD 20814                        13543      2/24/2016 Corporation                                                    $225.00                                                                                          $225.00
Keill, Jennifer
6429 Berridge Drive                                            RS Legacy Corporation fka RadioShack
Willington, NC 28412                      13544      2/24/2016 Corporation                                                     $33.19                                                                                           $33.19
Daugherty , Deborha
16461 Bodart St                                                RS Legacy Corporation fka RadioShack
Hesperia, CA 92345                        13545      2/24/2016 Corporation                                                     $10.00                                                                                           $10.00
Wright, Wendy C.
1112 SHADYGLEN CIRDE                                           RS Legacy Corporation fka RadioShack
RICHARDSON , TX 75081                     13546      2/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Glenn Tietjen
85 Kelsey Avenue                                               RS Legacy Corporation fka RadioShack
Huntington Station, NY 11746              13547      2/24/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
James Muskatello
51 West Pines Drive                                            RS Legacy Corporation fka RadioShack
southington, CT 06489                     13548      2/24/2016 Corporation                                                     $30.00                                                                                           $30.00
Framis Cintron
3510 park avenue apt 15                                        RS Legacy Corporation fka RadioShack
weehawken, nj 07086                       13549      2/24/2016 Corporation                                                     $51.75                                                                                           $51.75
Glenn Tietjen
85 Kelsey Avenue                                               RS Legacy Corporation fka RadioShack
Huntington Station, NY 11746              13550      2/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Overacker, Michael
162 HWY 93N                                                    RS Legacy Corporation fka RadioShack
SALMON, ID 83467                          13551      2/24/2016 Corporation                                                     $39.99                                                                                           $39.99
Osorio, Lina
18222 Stockton springs dr                                      RS Legacy Corporation fka RadioShack
Spring, Texas 77379                       13552      2/24/2016 Corporation                                                     $90.00                                                                                           $90.00
Montgomery, Rebecca A.
101 RiverSide Drive                                            RS Legacy Corporation fka RadioShack
Newport News , VA 23606                   13553      2/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Lee Blanchette
10027 14th Ave S.W. Unit 201‐J                                 RS Legacy Corporation fka RadioShack
Seattle, WA 98146                         13554      2/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Heather storer
1922 proctor drivr                                             RS Legacy Corporation fka RadioShack
Grand Prairie, TX 75051                   13555      2/24/2016 Corporation                                                     $10.00                                                                                           $10.00
Sandra Torres
PO BOX 124                                                     RS Legacy Corporation fka RadioShack
Orland, Ca 95963                          13556      2/24/2016 Corporation                                                     $83.75                                                                                           $83.75
Ephraim Injamuri
18718 Wright Place                                             RS Legacy Corporation fka RadioShack
Artesia, CA 90701                         13557      2/24/2016 Corporation                                                     $21.79                                                                                           $21.79
Robert Padgett
836 E Napa Street                                              RS Legacy Corporation fka RadioShack
Sonoma, CA 95476                          13558      2/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Levi L Lopez
201 Greenacres Rd #7                                           RS Legacy Corporation fka RadioShack
Riverside, WA 98849                       13559      2/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Marianne Joske
836 E Napa Street                                              RS Legacy Corporation fka RadioShack
Sonoma, ca 95476                          13560      2/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Marianne Joske
836 E Napa Street                                              RS Legacy Corporation fka RadioShack
Sonoma, ca 95476                          13561      2/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael Nutting
20 Archie Street                                               RS Legacy Corporation fka RadioShack
Springfield, Ma 01109                     13562      2/24/2016 Corporation                                                     $14.40                                                                                           $14.40
Po Yi Cheung
3937 Woodlawn Dr                                               RS Legacy Corporation fka RadioShack
Nashville, TN 37205                       13563      2/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Sophia Britt
3025 Jenry Dr                                                  RS Legacy Corporation fka RadioShack
Nashville, TN 37214                       13564      2/25/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Melissa Drewery
244 Davis Street East                                          RS Legacy Corporation fka RadioShack
Elba, AL 36323                            13565      2/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Golden Carroll
120 Hilltop rd                                                 RS Legacy Corporation fka RadioShack
Greenville, PA 16125                      13566      2/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Dr Shea E Speights
1503 Warman Court                                              RS Legacy Corporation fka RadioShack
Tampa, Florida 33613                      13567      2/25/2016 Corporation                                                    $318.00                                                                                          $318.00
Richard Wood
145 Birchwood Drive                                            RS Legacy Corporation fka RadioShack
Colchester, VT 05446                      13568      2/25/2016 Corporation                                                     $49.99                                                                                           $49.99
Jason Xuna
1881 79th st CSWY. 2006                                        RS Legacy Corporation fka RadioShack
North bay village, Fl 33141               13569      2/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Taylor Knight
PO box 623                                                     RS Legacy Corporation fka RadioShack
Walker, MN 56484                          13570      2/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Sarah Adamson
9109 Thelma Ln                                                 RS Legacy Corporation fka RadioShack
Louisville, Ky 40220                      13571      2/25/2016 Corporation                                                     $31.79                                                                                           $31.79
Derek Mokaya
615 red timber Ln                                              RS Legacy Corporation fka RadioShack
Smyrna, Delaware 19977                    13572      2/25/2016 Corporation                                                     $80.00                                                                                           $80.00
Doug Miller
19723 Woodberry Manor Dr                                       RS Legacy Corporation fka RadioShack
Spring, TX 77379                          13573      2/25/2016 Corporation                                                     $54.11                                                                                           $54.11
Ryan Sweat
3715 Vaquero Circle S                                          RS Legacy Corporation fka RadioShack
Colorado Springs, CO 80918                13574      2/25/2016 Corporation                                                     $20.00                                                                                           $20.00
Rebecca Juarez
PO Box 87892                                                   RS Legacy Corporation fka RadioShack
Vancouver, WA 98687                       13575      2/26/2016 Corporation                                                     $32.51                                                                                           $32.51
Kris Snodgrass
3053 Fillmmore Street                                          RS Legacy Corporation fka RadioShack
San Francisco, CA 94123                   13576      2/26/2016 Corporation                                                      $0.00                                                                                            $0.00
vasko godumov
220 Williamsburg Ct                                            RS Legacy Corporation fka RadioShack
Romeoville, il 60446                      13577      2/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Rodger Knox
897 Windmill Lane                                              RS Legacy Corporation fka RadioShack
Evans, GA 30809                           13578      2/26/2016 Corporation                                                     $10.82                                                                                           $10.82
vasko godumov
220 Williamsburg Ct                                            RS Legacy Corporation fka RadioShack
Romeoville, il 60446                      13579      2/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Randy Benbow
10107 Fremont Ave. S.                                          RS Legacy Corporation fka RadioShack
Bloomington, MN 55431                     13580      2/26/2016 Corporation                                                      $5.70                                                                                            $5.70
Kathy Muldowney
728 Mannington ave                                             RS Legacy Corporation fka RadioShack
CINCINNATI, Oh 45226                      13581      2/26/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
He, Ru
18 Bennington Pl.                                              RS Legacy Corporation fka RadioShack
Newtown, PA 18940                         13582      2/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Holmes, George W.
284 Camino Del Sol                                             RS Legacy Corporation fka RadioShack
So. Pasadena, CA 91030                    13583      2/23/2016 Corporation                                                     $25.00                                                                                           $25.00
Harrigan, M
59 Heck Ave                                                    RS Legacy Corporation fka RadioShack
Ocean Grove, NJ 07756                     13584      2/22/2016 Corporation                                                     $30.00                                                                                           $30.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          13585      2/27/2016 Corporation                                                                                                                                                       $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          13586      2/27/2016 Corporation                                                                                                                                                       $0.00
Sherwood, Mary
204 Algonquin Rd                                               RS Legacy Corporation fka RadioShack
Marquette Heights, IL 61554               13587      2/23/2016 Corporation                                                                       $30.00                                                                         $30.00
Bloom, David
2624 3rd st.                                                   RS Legacy Corporation fka RadioShack
San Francisco, CA 94107                   13588      2/26/2016 Corporation                                                     $25.00                                                                                           $25.00
Mckern, Robert S
236 Avendia Cabrillo                                           RS Legacy Corporation fka RadioShack
Sanclemente, CA 92672                     13589      2/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Bob Willits
8612 SW 2nd Place                                              RS Legacy Corporation fka RadioShack
Gainesville, FL 32607                     13590      2/26/2016 Corporation                                                      $0.00                                                                                            $0.00
betsy wilkinson
17 2nd ave east                                                RS Legacy Corporation fka RadioShack
Williston, Nd 58801                       13591      2/26/2016 Corporation                                                    $200.00                                                                                          $200.00
Brenda Malecha
8226 ABERDEEN TRAIL                                            RS Legacy Corporation fka RadioShack
NORTHFIELD, MN 55057                      13592      2/26/2016 Corporation                                                     $32.45                                                                                           $32.45
Dalia Santos
PO BOX 263                                                     RS Legacy Corporation fka RadioShack
Gervais, Oregon 97026                     13593      2/26/2016 Corporation                                                     $12.99                                                                                           $12.99
Marge Skinner
PO Box 333                                                     RS Legacy Corporation fka RadioShack
Arlington, Vt. 05250                      13594      2/26/2016 Corporation                                                     $10.00                                                                                           $10.00
carol Jensen
111 Ferncroft Court                                            RS Legacy Corporation fka RadioShack
Spring, TX 77382                          13595      2/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Joy Mobile
11328 Leland Ave                                               RS Legacy Corporation fka RadioShack
Beach Park, IL 60099                      13596      2/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Shawn Champeau
415 South Milwaukee Avenue                                     RS Legacy Corporation fka RadioShack
Oconto Falls, Wi 54154                    13597      2/26/2016 Corporation                                                     $20.00                                                                                           $20.00
Emilio Gonzalez
2904 18th St E                                                 RS Legacy Corporation fka RadioShack
Bradenton, FL 34208                       13598      2/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Matt Stollenwerk
10810 Fuerte Dr                                                RS Legacy Corporation fka RadioShack
La Mesa, CA 91941                         13599      2/26/2016 Corporation                                                     $10.00                                                                                           $10.00



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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Angie Gibson
800 Red River Road                                             RS Legacy Corporation fka RadioShack
Englewood, TN 37329                       13600      2/26/2016 Corporation                                                     $50.00                                                                                           $50.00
William Pierce
7105 Oak Village Way                                           RS Legacy Corporation fka RadioShack
Fuquay‐Varina, NC 27526                   13601      2/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Xuna, Jason
1881 79th st CSWY. 2006                                        RS Legacy Corporation fka RadioShack
North bay village, FL 33141               13602      2/26/2016 Corporation                                                    $200.00                                                                                          $200.00
Mike Bosch
702 Berry Bramble Drive                                        RS Legacy Corporation fka RadioShack
Brandon, FL 33510                         13603      2/26/2016 Corporation                                                      $0.00                                                                                            $0.00
William Harris
144 Simonds st                                                 RS Legacy Corporation fka RadioShack
Ludlow, Ma 01056                          13604      2/26/2016 Corporation                                                     $26.55                                                                                           $26.55
Anna Lurquin
16511 Robinhood Drive                                          RS Legacy Corporation fka RadioShack
Orland Park, IL 60462                     13605      2/26/2016 Corporation                                                    $106.99                                                                                          $106.99
Barbara Finks
12155 James Madison Parkway                                    RS Legacy Corporation fka RadioShack
King George, VA 22485                     13606      2/27/2016 Corporation                                                     $25.00                                                                                           $25.00
John Nesheim
65 Range Rd                                                    RS Legacy Corporation fka RadioShack
Epsom, NH 03234                           13607      2/27/2016 Corporation                                                     $15.01                                                                                           $15.01
Gerri Armstrong
116 Hickory Nut Lane                                           RS Legacy Corporation fka RadioShack
Hot Springs, AR 71913                     13608      2/27/2016 Corporation                                                     $35.58                                                                                           $35.58
Selvallic , Mario
145 Sargeant Avenue                                            RS Legacy Corporation fka RadioShack
Clifton , NJ 07013                        13609      2/27/2016 Corporation                                                     $45.00                                                                                           $45.00
Petersen, Diane
606 Pratt St, #409                                             RS Legacy Corporation fka RadioShack
Longmont , CO 80501                       13610      2/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Walter Conway
1127 Prospect Lane                                             RS Legacy Corporation fka RadioShack
Orefield, PA 18069                        13611      2/27/2016 Corporation                                                      $5.00                                                                                            $5.00
Slavgenhaupt, Meri
425 Bert Lane                                                  RS Legacy Corporation fka RadioShack
Expurt , PA 15632                         13612      2/27/2016 Corporation                                                     $11.65                                                                                           $11.65
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          13613      2/27/2016 Corporation                                                                                                                                                       $0.00
Hopfe, Claudette
1413 Ward Av. # A                                              RS Legacy Corporation fka RadioShack
Honolulu, HI 96822                        13614      2/27/2016 Corporation                                                    $209.47                                                                                          $209.47
Ryan Trostle
2590 Twin Hills Ct.                                            RS Legacy Corporation fka RadioShack
Union, KY 41091                           13615      2/27/2016 Corporation                                                     $20.00                                                                                           $20.00
Nina Sayer
2445 Humboldt Ave S                                            RS Legacy Corporation fka RadioShack
Minneapolis, Mn 55405                     13616      2/27/2016 Corporation                                                     $40.77                                                                                           $40.77
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          13617      2/27/2016 Corporation                                                                                                                                                       $0.00



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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Cooper, Terry
1108 Bayfield St.                                              RS Legacy Corporation fka RadioShack
Lake Orion, MI                            13618      2/27/2016 Corporation                                                     $85.00                                                                                           $85.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          13619      2/27/2016 Corporation                                                                                                                                                       $0.00
Abrahan Rebollar
4941 Siesta Dr                                                 RS Legacy Corporation fka RadioShack
Oceanside, CA 92057                       13620      2/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Robin lowell
360 West Elm St                                                RS Legacy Corporation fka RadioShack
Yarmouth, ME 04096                        13621      2/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Tess Jagger‐Wells
501 Cowell Service Road #1172                                  RS Legacy Corporation fka RadioShack
Santa Cruz, CA 95064                      13622      2/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Merle Lingel
4540 SE 1st Avenue                                             RS Legacy Corporation fka RadioShack
New Plymouth, ID 83655                    13623      2/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          13624      2/18/2016 Corporation                                                                                                                                                       $0.00
Rodriquez, Ray
31 Pine Terrace                                                RS Legacy Corporation fka RadioShack
Rindge , NH 03461                         13625      2/27/2016 Corporation                                                     $50.00                                                                                           $50.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          13626      2/27/2016 Corporation                                                                                                                                                       $0.00
Judy MacDonald
11 Meadowvale Rd                                               RS Legacy Corporation fka RadioShack
Burlington, Ma 01803                      13627      2/27/2016 Corporation                                                     $10.00                                                                                           $10.00
Samantha Forystek
1190 Mattingly Rd                                              RS Legacy Corporation fka RadioShack
Hinckley, OH 44233                        13628      2/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Adam lau
930 makiki st                                                  RS Legacy Corporation fka RadioShack
Wailuku, Hi 96793                         13629      2/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Ricky Cheng
1538 79St                                                      RS Legacy Corporation fka RadioShack
Brooklyn, NY 11228                        13630      2/27/2016 Corporation                                                     $66.26                                                                                           $66.26
ROSHAN GERA
28 KNOLLS DRIVE                                                RS Legacy Corporation fka RadioShack
MANHASSET HILLS, NY 11040                 13631      2/27/2016 Corporation                                                     $55.00                                                                                           $55.00
Cesar Recendez
7065 Cornerstone Ln                                            RS Legacy Corporation fka RadioShack
Stanton, CA 90680                         13632      2/28/2016 Corporation                                                     $25.00                                                                                           $25.00
Ed Howard
256 West Coral Trace Circle                                    RS Legacy Corporation fka RadioShack
Delray Beach, Florida 33445               13633      2/28/2016 Corporation                                                     $10.60                                                                                           $10.60
Ed Howard
256 West Coral Trace Circle                                    RS Legacy Corporation fka RadioShack
Delray Beach, Florida 33445               13634      2/28/2016 Corporation                                                      $4.90                                                                                            $4.90
Jose H Torres Marengo
4356 Ave Constancia
Villa del Carmen                                               RS Legacy Corporation fka RadioShack
Ponce, PR 00716                           13635      2/28/2016 Corporation                                                      $0.00                                                                                            $0.00



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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Jon Whitaker
2097 El Prado Ave                                              RS Legacy Corporation fka RadioShack
Lemon Grove, CA 91945                     13636      2/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Lauren Agosta
11601 us hwy 61                                                RS Legacy Corporation fka RadioShack
Saint Francisville, LA 70775              13637      2/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Cooper Engst
6A Salem Street Ave #3                                         RS Legacy Corporation fka RadioShack
Boston, MA 02129                          13638      2/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Benjamin Salazar
PO Box 2167                                                    RS Legacy Corporation fka RadioShack
Livermore, CA 94551                       13639      2/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Daniel Staggs
419 CR 150                                                     RS Legacy Corporation fka RadioShack
Waterloo, Alabama 35677                   13640      2/28/2016 Corporation                                                     $30.00                                                                                           $30.00
Linda Pajak
3909 Bowen Road ‐ Apt #9                                       RS Legacy Corporation fka RadioShack
Lancaster, NY 14086                       13641      2/28/2016 Corporation                                                     $43.49                                                                                           $43.49
Barbara Headrick
5601 Cold Springs Rd                                           RS Legacy Corporation fka RadioShack
Hixson, TN 37343                          13642      2/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Calvin Leung
8 Powers Rd.                                                   RS Legacy Corporation fka RadioShack
Andover, MA 01810                         13643      2/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Linda Cashan
921 Central Avenue                                             RS Legacy Corporation fka RadioShack
Hammonton, NJ 08037                       13644      2/28/2016 Corporation                                                     $51.14                                                                                           $51.14
Margaux Chang
35 Darin Rd                                                    RS Legacy Corporation fka RadioShack
Warwick, NY 10990                         13645      2/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Margaux Chang
35 Darin Rd                                                    RS Legacy Corporation fka RadioShack
Warwick, NY 10990                         13646      2/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Lillian Harney
1 squadron blvd, apt# C‐12                                     RS Legacy Corporation fka RadioShack
new city, new york 10956                  13647      2/28/2016 Corporation                                                     $52.01                                                                                           $52.01
Michael A Maynard
4435 Ellipse Drive                                             RS Legacy Corporation fka RadioShack
Jacksonville, FL 32246                    13648      2/28/2016 Corporation                                                     $25.00                                                                                           $25.00
Lisa atkinson
2422 east river rd                                             RS Legacy Corporation fka RadioShack
Cortland, Ny 13045                        13649      2/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Jorge Crespo
9423 115 st                                                    RS Legacy Corporation fka RadioShack
richomond ill, ny 11429                   13650      2/28/2016 Corporation                                                     $14.14                                                                                           $14.14
Heather Shannon
1442 Ulupii Street                                             RS Legacy Corporation fka RadioShack
Kailua, Hawaii 96734                      13651      2/28/2016 Corporation                                                     $37.69                                                                                           $37.69
Jacob Neulight
700 Elkins Ave. Apt. A2                                        RS Legacy Corporation fka RadioShack
Elkins Park, PA 19027                     13652      2/28/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Amy Brown
1709 3rd St                                                    RS Legacy Corporation fka RadioShack
Perry, IA 50220                           13653      2/28/2016 Corporation                                                      $6.38                                                                                            $6.38
Sherry Outlaw
5313 Esparon Ave                                               RS Legacy Corporation fka RadioShack
Las Vegas, NV 89141                       13654      2/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Paul Morales
3911 Arelia Dr. N.                                             RS Legacy Corporation fka RadioShack
Delray Beach, FL 33445                    13655      2/29/2016 Corporation                                                     $50.00                                                                                           $50.00
Nelson, Sonja
2010 %th Ave. S.W                                              RS Legacy Corporation fka RadioShack
Great Falls, MT 59404                     13656      2/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          13657      2/29/2016 Corporation                                                                                                                                                       $0.00
Krishna Chundi
10714, Tigerton LN                                             RS Legacy Corporation fka RadioShack
Charlotte, NC 28269                       13658      2/29/2016 Corporation                                                     $50.00                                                                                           $50.00
maureen schmidt
3000 N A1A #9A                                                 RS Legacy Corporation fka RadioShack
fort Pierce, FL 34949                     13659      2/29/2016 Corporation                                                      $0.00                                                                                            $0.00
melissa Radoncic
722 hamilton avenue                                            RS Legacy Corporation fka RadioShack
Ridgefield, NJ 07657                      13660      2/29/2016 Corporation                                                      $0.00                                                                                            $0.00
SEVAN ARDIC
18636 LEMARSH STREET                                           RS Legacy Corporation fka RadioShack
Northridge, Ca 91324                      13661      2/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Dietrich Gravenstein
136 Glencoe Rd                                                 RS Legacy Corporation fka RadioShack
Lewisburg, PA 17837                       13662      2/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Melissa Holamon
3209 Indian Trail                                              RS Legacy Corporation fka RadioShack
Rowlett, TX 75088                         13663      2/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Self, Nicholas
22601 Road 16                                                  RS Legacy Corporation fka RadioShack
Chowchilla, CA 93610                      13664      2/28/2016 Corporation                                                     $10.00                                                                                           $10.00
Zakrzewska, Dominika
2545 Sedgwick Avenue, Apt. 4J                                  RS Legacy Corporation fka RadioShack
Bronx, NY 10468                           13665      2/26/2016 Corporation                                                     $44.00                                                                                           $44.00
Peacock, Brendan
2504 Memory Ln #201                                            RS Legacy Corporation fka RadioShack
Sacramento, CA 95825                      13666      2/28/2016 Corporation                                                     $16.17                                                                                           $16.17
Siavash Shiva
588 241st Ln SE                                                RS Legacy Corporation fka RadioShack
Sammamish, WA 98074                       13667      2/29/2016 Corporation                                                     $32.84                                                                                           $32.84
Ron Dean
204 Oak Court                                                  RS Legacy Corporation fka RadioShack
Overbrook, Ks 66524                       13668      2/29/2016 Corporation                                                     $10.00                                                                                           $10.00
Darren Woods
20 Meadowbrook Drive                                           RS Legacy Corporation fka RadioShack
New Hartford, NY 13413                    13669      2/29/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Ron Dean
204 Oak Court                                                  RS Legacy Corporation fka RadioShack
Overbrook, Ks 66524                       13670      2/29/2016 Corporation                                                     $10.00                                                                                           $10.00
Aldrian Rostron
27 Dorchester Way                                              RS Legacy Corporation fka RadioShack
Nashua, NH 03064                          13671      2/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Dan Cline
2915 N. Southport Avenue #1F                                   RS Legacy Corporation fka RadioShack
Chicago, IL 60657                         13672      2/29/2016 Corporation                                                     $50.00                                                                                           $50.00
Holly Grover
2200 Kamm Ave                                                  RS Legacy Corporation fka RadioShack
Kingsburg, Ca 93631                       13673      2/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Joshua Spleas
454 NW Barstow St                                              RS Legacy Corporation fka RadioShack
Waukesha, Wisconsin 53188                 13674      2/29/2016 Corporation                                                     $15.00                                                                                           $15.00
ONTARIO SCOTT
344 E. 28TH ST APT # 26 H                                      RS Legacy Corporation fka RadioShack
NY, NY 10016                              13675      2/29/2016 Corporation                                                    $274.00                                                                                          $274.00
Shemeka Sabbath
270 Robinson place                                             RS Legacy Corporation fka RadioShack
Shreveport, LA 71104                      13676      2/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Shemeka Sabbath
270 Robinson place                                             RS Legacy Corporation fka RadioShack
Shreveport, LA 71104                      13677      2/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Timothy Slegel
19 Connelly Drive                                              RS Legacy Corporation fka RadioShack
Staatsburg, NY 12580                      13678      2/29/2016 Corporation                                                     $25.00                                                                                           $25.00
John Costacos
5614 SW Manning Street                                         RS Legacy Corporation fka RadioShack
Seattle, WA 98116                         13679      2/29/2016 Corporation                                                     $75.00                                                                                           $75.00
Marjorie Romano
5429 Harrow Terrace                                            RS Legacy Corporation fka RadioShack
Sarasota, FL 34241                        13680      2/29/2016 Corporation                                                     $85.59                                                                                           $85.59
Geddy Larrieu
1616 Baypoint Ave.                                             RS Legacy Corporation fka RadioShack
Wilmington, CA 90744                      13681      2/29/2016 Corporation                                                     $36.74                                                                                           $36.74
Rakesh Govindji
11558 Auldbury Way                                            RS Legacy Corporation fka RadioShack
Raleogh, NC 27617                         13682      3/1/2016 Corporation                                                      $42.68                                                                                           $42.68
Wharton, Matt
202 Estancia                                                   RS Legacy Corporation fka RadioShack
Irvine, CA 92602                          13683      2/29/2016 Corporation                                                     $54.49                                                                                           $54.49
Charles Mackey
32 Stirling Drive                                             RS Legacy Corporation fka RadioShack
Danville, CA 94526                        13684      3/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Nicole Maywah
800 4th ST SW, #S320                                          RS Legacy Corporation fka RadioShack
Washington, DC 20024                      13685      3/1/2016 Corporation                                                      $15.89                                                                                           $15.89
Ronald H. Resnick
6140 Indian Forest Circle                                     RS Legacy Corporation fka RadioShack
Lake Worth, FL 33463                      13686      3/1/2016 Corporation                                                      $80.00                                                                                           $80.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
McDaniel, Aline
133 Pleasant Valley Dr.                                       RS Legacy Corporation fka RadioShack
Ridgway, CO 81432                         13687      3/1/2016 Corporation                                                      $10.75                                                                                           $10.75
Judy Kroeger
3201 W. Mockingbird Lane                                      RS Legacy Corporation fka RadioShack
Princeton, IN 47670                       13688      3/1/2016 Corporation                                                       $0.00                                                                                            $0.00
william Mathisen
770 NE 69 Street Apt 2F                                       RS Legacy Corporation fka RadioShack
Miami, FL 33138                           13689      3/1/2016 Corporation                                                      $24.60                                                                                           $24.60
Kyle Lensch
2050 HWY 130                                                  RS Legacy Corporation fka RadioShack
Bennett, IA 52721                         13690      3/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Marc Zahra
275 Buck Blvd                                                 RS Legacy Corporation fka RadioShack
White Haven, PA 18661                     13691      3/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Adam Gil
1299 N 5th St.                                                RS Legacy Corporation fka RadioShack
Columbus, Ohio 43201                      13692      3/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Adam Gil
1299 N 5th St.                                                RS Legacy Corporation fka RadioShack
Columbus, Ohio 43201                      13693      3/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Renette Frank
15120 Harbour Isle Drive #502                                 RS Legacy Corporation fka RadioShack
Fort Myers, Fl 33908                      13694      3/1/2016 Corporation                                                      $47.69                                                                                           $47.69
Radoncic, Melissa
722 hamilton avenue                                            RS Legacy Corporation fka RadioShack
Ridgefield, NJ 07657                      13695      2/27/2016 Corporation                                                                                                                                                       $0.00
Jimenez, Dorothy
2532 N Capri St                                                RS Legacy Corporation fka RadioShack
Orange, Ca 92865                          13696      2/26/2016 Corporation                                                     $20.00                                                                                           $20.00
Dotle , Cassandra
1501 W. Fox Park Dr. #15‐D                                     RS Legacy Corporation fka RadioShack
West Jordan, UT 84088                     13697      2/26/2016 Corporation                                                     $35.00                                                                                           $35.00
Medlin, James
PO Box 464                                                     RS Legacy Corporation fka RadioShack
Kunnaplois, NC 28082                      13698      2/26/2016 Corporation                                                                                                                                                       $0.00
Doyle, Kalli J
12909 Naoine Avenue                                            RS Legacy Corporation fka RadioShack
Huntington Woods, MI 48070                13699      2/26/2016 Corporation                                                                                                                                                       $0.00
RCC Shoppes at West Market,LLC
c/o Jennifer J. West, Esquire
Spotts Fain PC
411 E Franklin St., Ste. 600                                   RS Legacy Corporation fka RadioShack
Richmond , VA 23219                       13700      2/25/2016 Corporation                                                $17,005.32                                                                                        $17,005.32
Vilkman, Katarina
1117 4th Street NE                                             RS Legacy Corporation fka RadioShack
Washington, DC 20002                      13701      2/25/2016 Corporation                                                                                                                                                       $0.00
Knight , Taylor
PO Box 623                                                     RS Legacy Corporation fka RadioShack
Walker , MN 56484                         13702      2/26/2016 Corporation                                                    $280.00                                                                                          $280.00




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            Creditor Name and Address       Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                          Amount                                                     Amount
Herbert, Loraine
22194 Dakota Dr                                                   RS Legacy Corporation fka RadioShack
Lawrenceburg, IN 47025                       13703      2/25/2016 Corporation                                                                                                                $8.00                                   $8.00
Tamura Power Technology Co., Ltd.
13 F., No. 866, Zhongzheng Rd.,                                   RS Legacy Global Sourcing Limited Partnership
Zhonghe Dist., New Taipei City 235                                fka RadioShack Global Sourcing Limited
Taiwan                                       13704      2/25/2016 Partnership                                                       $0.00                                                                                            $0.00
RCC Shoppes at West Market,LLC
c/o Jennifer J. West, Esquire
Spotts Fain PC
411 E. Frankin St., Ste. 600                                      RS Legacy Corporation fka RadioShack
Richmond, VA 23219                           13705      2/25/2016 Corporation                                                   $5,157.89                                                                                        $5,157.89
The Hearst Newspaper, LLC
Matthew G. Roseman, Esq
100 Quentin Roosevelt Boulevard,Suite 402                         RS Legacy Corporation fka RadioShack
Garden City, NY 11530                        13706      2/24/2016 Corporation                                                $232,796.75                                                                                       $232,796.75
Aggarwal, Surinder
350 Sunshine Drive                                                RS Legacy Corporation fka RadioShack
Coconut Creek , FL 33066                     13707      2/24/2016 Corporation                                                       $0.00                                                                                            $0.00
Beard, Brad
6749 CR 63                                                        RS Legacy Corporation fka RadioShack
Spencerville , IN 46788                      13708      2/22/2016 Corporation                                                      $28.88                                                                                           $28.88
Amanda Day
6 Amber Drive                                                    RS Legacy Corporation fka RadioShack
New Fairfield, CT 06812                      13709      3/1/2016 Corporation                                                        $0.00                                                                                            $0.00
Matinale, Margaret
6521 NE 20th Way                                                 RS Legacy Corporation fka RadioShack
Fort Lauderdale, FL 33308                    13710      3/1/2016 Corporation                                                       $40.28                                                                                           $40.28
Tarik Chehab
1018 Kelsey Ave                                                  RS Legacy Corporation fka RadioShack
Oviedo, FL 32765                             13711      3/1/2016 Corporation                                                      $100.00                                                                                          $100.00
Ralph Samson
35 Tanglewood Dr                                                 RS Legacy Corporation fka RadioShack
Piscataway, NJ 08854                         13712      3/2/2016 Corporation                                                       $10.67                                                                                           $10.67
Scott Stumpfl
25 Timbermill Ct.                                                RS Legacy Corporation fka RadioShack
Springboro, Ohio 45066                       13713      3/2/2016 Corporation                                                        $0.00                                                                                            $0.00
SEONG AH KIM
17045 ROSCOE BLVD. UNIT 16                                       RS Legacy Corporation fka RadioShack
NORTHRIDGE, CA 91325                         13714      3/2/2016 Corporation                                                      $100.00                                                                                          $100.00
Tony Woodard
PO Box 484                                                       RS Legacy Corporation fka RadioShack
Hawkinsville, GA 31036                       13715      3/2/2016 Corporation                                                        $0.00                                                                                            $0.00
Samantha Miodowski
4622 S. 32nd street                                              RS Legacy Corporation fka RadioShack
Omaha, NE 68107                              13716      3/2/2016 Corporation                                                        $8.00                                                                                            $8.00
Karen Matthews
2 Sycamore Ct #301                                               RS Legacy Corporation fka RadioShack
Winter Springs, FL 32708                     13717      3/2/2016 Corporation                                                        $0.00                                                                                            $0.00
Amanda Johnson
641 27th Avenue N                                                RS Legacy Corporation fka RadioShack
Texas City, TX 77590                         13718      3/2/2016 Corporation                                                       $50.00                                                                                           $50.00



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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Paul Casavant
52 Quarry Rd                                                  RS Legacy Corporation fka RadioShack
Granby, CT 06035                          13719      3/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Woodard, Tony
PO Box 484                                                    RS Legacy Corporation fka RadioShack
Hawkinsville, GA 31036                    13720      3/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Ken Schulte
4100 Lamont DR.                                               RS Legacy Corporation fka RadioShack
Waterford, MI 48329                       13721      3/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Carnell Luckett
103 Castelnau Court                                           RS Legacy Corporation fka RadioShack
Jacksonville, NC 28540                    13722      3/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Lorenz Oliver‐King
4318 66th Ave N                                               RS Legacy Corporation fka RadioShack
Brooklyn Center, MN 55429                 13723      3/2/2016 Corporation                                                     $48.00                                                                                           $48.00
Lorenz Oliver‐King
4318 66th Ave N                                               RS Legacy Corporation fka RadioShack
Brooklyn Center, MN 55429                 13724      3/2/2016 Corporation                                                     $50.00                                                                                           $50.00
Lorenz Oliver‐King
4318 66th Ave N                                               RS Legacy Corporation fka RadioShack
Brooklyn Center, MN 55429                 13725      3/2/2016 Corporation                                                     $50.00                                                                                           $50.00
Rhonda Beckham
2030 aloha dr                                                 RS Legacy Corporation fka RadioShack
South lake tahoe, Ca 96150                13726      3/2/2016 Corporation                                                     $16.17                                                                                           $16.17
Terry Goldsby
23360 US HWY 431                                              RS Legacy Corporation fka RadioShack
Guntersville, AL 35976‐8992               13727      3/2/2016 Corporation                                                     $35.77                                                                                           $35.77
Antolin Garza
1372 N. Pleasant                                              RS Legacy Corporation fka RadioShack
Fresno, CA 93728                          13728      3/2/2016 Corporation                                                    $173.00                                                                                          $173.00
Hope McCorkle
29724 Aime St                                                 RS Legacy Corporation fka RadioShack
Walker, LA 70785                          13729      3/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Cloris Grimes
6706 Casa Del Monte Drive                                     RS Legacy Corporation fka RadioShack
Houston, Texas 77083                      13730      3/2/2016 Corporation                                                    $100.00                                                                                          $100.00
David turangan
1520 Coulston St.
Apt. 19                                                       RS Legacy Corporation fka RadioShack
San Bernardino, CA 92408                  13731      3/2/2016 Corporation                                                    $108.00                                                                                          $108.00
Sarah Meachum
212 N Niles St                                                RS Legacy Corporation fka RadioShack
Paw Paw, MI 49079                         13732      3/2/2016 Corporation                                                      $9.41                                                                                            $9.41
Alyssa Bunnell
35 Modena drive                                               RS Legacy Corporation fka RadioShack
Concord, Nh 03303                         13733      3/2/2016 Corporation                                                     $10.00                                                                                           $10.00
Alyssa Bunnell
35 Modena drive                                               RS Legacy Corporation fka RadioShack
Concord, Nh 03303                         13734      3/2/2016 Corporation                                                     $10.00                                                                                           $10.00
Alyssa Bunnell
35 Modena drive                                               RS Legacy Corporation fka RadioShack
Concord, Nh 03303                         13735      3/2/2016 Corporation                                                     $10.00                                                                                           $10.00



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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Jeff Chang
17351 W. Sunset Blvd #3B                                      RS Legacy Corporation fka RadioShack
Pacific Palisades, CA 90272               13736      3/2/2016 Corporation                                                      $14.90                                                                                           $14.90
Kristen Pulford
61 Pratte Lane                                                RS Legacy Corporation fka RadioShack
Wolcott, CT 06716                         13737      3/2/2016 Corporation                                                      $10.00                                                                                           $10.00
Claudia P. Cifuentes
3930 SW 83 Terrace                                            RS Legacy Corporation fka RadioShack
Davie, FL 33328                           13738      3/3/2016 Corporation                                                      $74.23                                                                                           $74.23
Dwayne Light
81 Longview Ave                                               RS Legacy Corporation fka RadioShack
White Plains, NY 10605                    13739      3/3/2016 Corporation                                                       $0.00                                                                                            $0.00
Amber Drea
240 Ainslie St. Apt. 3L                                       RS Legacy Corporation fka RadioShack
Brooklyn, NY 11211                        13740      3/3/2016 Corporation                                                      $16.34                                                                                           $16.34
roberta flott
804 Michael dr                                                RS Legacy Corporation fka RadioShack
papillion, ne 68046                       13741      3/3/2016 Corporation                                                      $40.00                                                                                           $40.00
Mark Shinabery
5933 Windy Hills Circle                                       RS Legacy Corporation fka RadioShack
Lancaster, OHIO 43130                     13742      3/3/2016 Corporation                                                       $7.51                                                                                            $7.51
EMILY ASTON
250 County Road 728                                           RS Legacy Corporation fka RadioShack
JONESBORO, AR 72401                       13743      3/3/2016 Corporation                                                       $0.00                                                                                            $0.00
Leo, Geraldine
278 Moyallen St.                                               RS Legacy Corporation fka RadioShack
Wilkes Barre, PA 18702                    13744      2/22/2016 Corporation                                                     $17.04                                                                                           $17.04
Rossi, Robert
14416 Erin Court                                               RS Legacy Corporation fka RadioShack
Homer Glen, IL 60491                      13745      2/23/2016 Corporation                                                                                                                                                       $0.00
Case, Andrew
93 Cromwell                                                    RS Legacy Corporation fka RadioShack
Clovis, CA 93611                          13746      2/23/2016 Corporation                                                     $29.99                                                                                           $29.99
Tyrole, Szuszi
883 Buenavista Dr                                              RS Legacy Corporation fka RadioShack
Watsonville, CT 95076                     13747      2/23/2016 Corporation                                                                                                                                                       $0.00
Holmes, George W.
284 Camino Del Sol                                             RS Legacy Corporation fka RadioShack
So. Pasadena, CA 91030                    13748      2/23/2016 Corporation                                                     $25.00                                                                                           $25.00
Donnelly, Amy
515 college hill rd                                            RS Legacy Corporation fka RadioShack
Oxford, MS 38655                          13749      2/23/2016 Corporation                                                                                                                                                       $0.00
Collins, Taiis
3542 Fruitvale Ave #229                                        RS Legacy Corporation fka RadioShack
Oakland, CA 94602                         13750      2/23/2016 Corporation                                                                                                                                                       $0.00
Prosper, Margarette
15 Crooke avenue apt 1B                                        RS Legacy Corporation fka RadioShack
Brooklyn, NY 11226                        13751      2/22/2016 Corporation                                                                                          $65.00                                                      $65.00
Ansari, Shereen
282 Old Elm Dr                                                 RS Legacy Corporation fka RadioShack
Bolingbrook, IL 60440                     13752      2/22/2016 Corporation                                                    $233.34                                                                                          $233.34




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Urbanski, Michael
PO BOX 567                                                     RS Legacy Corporation fka RadioShack
OLD ORCHARD BEACH, ME 04064‐0567          13753      2/22/2016 Corporation                                                     $30.00                                                                                           $30.00
Palmer, JoDee
24 Clark Street                                                RS Legacy Corporation fka RadioShack
Wakeman, OH 44889                         13754      2/22/2016 Corporation                                                      $5.29                                                                                            $5.29
Perkins, David
4514 SW OLYMPIA DR                                             RS Legacy Corporation fka RadioShack
LEE SUMMIT, MO 64082                      13755      2/22/2016 Corporation                                                                                                                                                       $0.00
Wu, Christine
515 Centre ST, Unit #3                                         RS Legacy Corporation fka RadioShack
Newton , MA 02458                         13756      2/22/2016 Corporation                                                                                                                                                       $0.00
Irwin, Dana
2187 Balfour ct                                                RS Legacy Corporation fka RadioShack
San Diego, CA 92109                       13757      2/22/2016 Corporation                                                                                                                                                       $0.00
Popoola, Mosunmola
3003 Manzamo ST. NE                                            RS Legacy Corporation fka RadioShack
Albuquerque, NM 87110                     13758      2/22/2016 Corporation                                                     $34.29                                                                                           $34.29
Tatman, Sally A
12341 Spangler Rd                                              RS Legacy Corporation fka RadioShack
Circleville, OH 43113                     13759      2/22/2016 Corporation                                                     $32.07                                                                                           $32.07
Lerner, Mark
1715 Linden St                                                 RS Legacy Corporation fka RadioShack
Leeds, AL 35094                           13760      2/22/2016 Corporation                                                                                                                                                       $0.00
Betty, Pat
63 Pat DR                                                      RS Legacy Corporation fka RadioShack
Rossville, GA 30741                       13761      2/22/2016 Corporation                                                                                                                                                       $0.00
Thayer, Charles
1320 Elcon Drive                                               RS Legacy Corporation fka RadioShack
Melbourne, FL 32904                       13762      2/22/2016 Corporation                                                                                                                                                       $0.00
Robinson, Curt
1790 Bekah Rd                                                  RS Legacy Corporation fka RadioShack
Germantown, TN 38138                      13763      2/22/2016 Corporation                                                    $250.00                                                                                          $250.00
Yandell, Julie E
811 Boylston St.                                               RS Legacy Corporation fka RadioShack
Leesburg, FL 34748                        13764      2/22/2016 Corporation                                                     $25.00                                                                                           $25.00
SHERMAN, DAVID
40 MEADOW WOOD PLACE                                           RS Legacy Corporation fka RadioShack
UNION HALL, VA 24176                      13765      2/22/2016 Corporation                                                                                                                                                       $0.00
Brilts, George
7 Alameda Park CIR                                             RS Legacy Corporation fka RadioShack
CHICO, CA 95928‐4174                      13766      2/22/2016 Corporation                                                     $26.83                                                                                           $26.83
Wright , Wendy C.
112 Shadygden Circle                                           RS Legacy Corporation fka RadioShack
Richardson, TX 75081                      13767      2/25/2016 Corporation                                                                                                                                                       $0.00
sandra walley
8111 sweet water road                                         RS Legacy Corporation fka RadioShack
lone tree, co 80124                       13768      3/3/2016 Corporation                                                       $0.00                                                                                            $0.00
Derick LaSalla
1120 S. Point View St                                         RS Legacy Corporation fka RadioShack
Los Angeles, CA 90035                     13769      3/3/2016 Corporation                                                     $100.00                                                                                          $100.00




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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Joseph Muita
5943 Parkset Drive                                            RS Legacy Corporation fka RadioShack
Lithia, FL 33510                          13770      3/3/2016 Corporation                                                     $20.00                                                                                           $20.00
Maria Ramos
555 NE 56 St                                                  RS Legacy Corporation fka RadioShack
Miami, FL 33137                           13771      3/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael Alpert
2162 E. Sentry Ridge CT.                                      RS Legacy Corporation fka RadioShack
Tucson, AZ 85718                          13772      3/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Susan Carter
1623 Plume Grass Place                                        RS Legacy Corporation fka RadioShack
Round Rock, TX 78665                      13773      3/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Eric J Hausfeld
199 Robinson Rd.                                              RS Legacy Corporation fka RadioShack
Mooresville, NC 28117                     13774      3/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Bryan Hope
4637 Durney St.                                               RS Legacy Corporation fka RadioShack
New Port Richey, FL 34652                 13775      3/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Kalyan Kommineni
103 Bordeaux Court                                            RS Legacy Corporation fka RadioShack
Coppell, Texas 75019                      13776      3/3/2016 Corporation                                                     $55.19                                                                                           $55.19
Tonya Topping
334 Lander Dr                                                 RS Legacy Corporation fka RadioShack
Henderson, NV 89074                       13777      3/3/2016 Corporation                                                     $50.00                                                                                           $50.00
Lindsy Davis
429 Winchester Drive                                          RS Legacy Corporation fka RadioShack
Mount Washington, KY 40047                13778      3/3/2016 Corporation                                                     $11.98                                                                                           $11.98
Lindsy Davis
429 Winchester drive                                          RS Legacy Corporation fka RadioShack
mount washington, KY 40047                13779      3/3/2016 Corporation                                                     $23.97                                                                                           $23.97
Carl Brockway
2787 Sacred Garden Ct                                         RS Legacy Corporation fka RadioShack
Reno, Nevada 89511                        13780      3/3/2016 Corporation                                                     $60.00                                                                                           $60.00
Talat Hussain
616 87th Ave. SE                                              RS Legacy Corporation fka RadioShack
Lake Stevens, WA 98258‐3673               13781      3/3/2016 Corporation                                                     $43.51                                                                                           $43.51
Joshua Hughey
352 N Second St                                               RS Legacy Corporation fka RadioShack
Ashley, IL 62263                          13782      3/4/2016 Corporation                                                    $100.00                                                                                          $100.00
Kiritpaul Nandra
177 Greystone Lane, apt 18                                    RS Legacy Corporation fka RadioShack
Rochester, NY 14618                       13783      3/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Adam Schreiner
252 Aronimink Drive                                           RS Legacy Corporation fka RadioShack
Newtown Square, PA 19073                  13784      3/4/2016 Corporation                                                     $17.00                                                                                           $17.00
Gonzales, Florentino
222 Matthew Lane                                              RS Legacy Corporation fka RadioShack
Georgetown, TX 78626                      13785      3/4/2016 Corporation                                                     $50.00                                                                                           $50.00
Reese Jr, Melvin
11055 Liberto Road                                            RS Legacy Corporation fka RadioShack
Weeki Wachee, FL 34614‐3146               13786      3/4/2016 Corporation                                                      $1.92                                                                                            $1.92




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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Manlove, Karina
9901 Belward Campus Drive, Suite 165                          RS Legacy Corporation fka RadioShack
Rockville, MD 20850                       13787      3/4/2016 Corporation                                                     $10.00                                                                                           $10.00
Carlson, Tammy
2478 CR 290                                                   RS Legacy Corporation fka RadioShack
Bison, KS 67520                           13788      3/4/2016 Corporation                                                     $74.63                                                                                           $74.63
Codere, Nancy
PO Box 443                                                    RS Legacy Corporation fka RadioShack
Cumberland CTR, ME 04021‐0443             13789      3/4/2016 Corporation                                                     $20.99                                                                                           $20.99
Ow, Shirley
530 Meadow Road                                               RS Legacy Corporation fka RadioShack
Aptos, CA 95003                           13790      3/4/2016 Corporation                                                    $231.51                                                                                          $231.51
Grubbs, Trevin A.
651 Cardinal Ave                                              RS Legacy Corporation fka RadioShack
Myrtle Beach, SC 29577                    13791      3/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Newsome, Lillie
1253 W. 96th St                                               RS Legacy Corporation fka RadioShack
Los Angeles, CA 90044                     13792      3/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Andrew M.
1099 Albion Pl.                                               RS Legacy Corporation fka RadioShack
Santa Rosa, CA 95401                      13793      3/4/2016 Corporation                                                      $5.72                                                                                            $5.72
Ansonia Sood
944 S. Fern Avenue                                            RS Legacy Corporation fka RadioShack
Elmhurst, IL 60126                        13794      3/4/2016 Corporation                                                     $25.73                                                                                           $25.73
Becky Johncox
408 E Alto Dr                                                 RS Legacy Corporation fka RadioShack
Hobbs, NM 88240                           13795      3/4/2016 Corporation                                                     $85.46                                                                                           $85.46
Brandys, Robert
6877 Bonillo Dr                                               RS Legacy Corporation fka RadioShack
Las Vegas, NV 89103                       13796      3/4/2016 Corporation                                                     $10.72                                                                                           $10.72
Vogel, Linda
2837 Waubenoor Ct                                             RS Legacy Corporation fka RadioShack
Green Bay, WI 54301                       13797      3/4/2016 Corporation                                                     $36.91                                                                                           $36.91
Equity Methods, LLC
c/o Warren J. Stapleton
Osborn Maledon, PA
2929 N Central Ave Ste 2100                                   RS Legacy Corporation fka RadioShack
Phoenix, AZ 85012                         13798      3/3/2016 Corporation                                                      $0.00                                                                                            $0.00
ACCOUNTEMPS
1300 Summit Ave                                               RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                      13799      3/4/2016 Corporation                                                                         $0.00                                                                         $0.00
jerry hutchison
877 Red Barn Lane                                             RS Legacy Corporation fka RadioShack
Huntingdon Val, PA 19006, PA 19006        13800      3/4/2016 Corporation                                                     $31.00                                                                                           $31.00
Felicia Emig
47 Schalick Drive                                             RS Legacy Corporation fka RadioShack
Pittsgrove, NJ 08318                      13801      3/4/2016 Corporation                                                     $30.00                                                                                           $30.00
Grubbs, Trevin A.
651 Cardinal Ave                                              RS Legacy Corporation fka RadioShack
Myrtle Beach, SC 29577                    13802      3/4/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Chuck Garrels
1004 County Road 2325 East                                    RS Legacy Corporation fka RadioShack
Secor, IL 61771                           13803      3/4/2016 Corporation                                                     $20.00                                                                                           $20.00
Matthew Habecker
7674 Henley Dr                                                RS Legacy Corporation fka RadioShack
Ypsilanti, MI 48197                       13804      3/5/2016 Corporation                                                     $65.06                                                                                           $65.06
John OShaughnessy
201 Sunrise Ave                                               RS Legacy Corporation fka RadioShack
Sayville, NY 11782                        13805      3/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert Brabandt
14 Brandywine Terrace                                         RS Legacy Corporation fka RadioShack
Morristown, NJ 07960                      13806      3/5/2016 Corporation                                                     $50.00                                                                                           $50.00
Janet Hyland
708 Shady Drive                                               RS Legacy Corporation fka RadioShack
Trafford, PA 15085                        13807      3/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Isaiah johnson
10181 Wildhawk drive                                          RS Legacy Corporation fka RadioShack
Sacramento, Ca 95829                      13808      3/5/2016 Corporation                                                      $0.00                                                                                            $0.00
JAMES MAY
3615 CITATION DR                                              RS Legacy Corporation fka RadioShack
HAMILTON, OH 45011                        13809      3/5/2016 Corporation                                                      $0.00                                                                                            $0.00
John Foulks
52 Summertree ct                                              RS Legacy Corporation fka RadioShack
Saint Peters, MO 63376                    13810      3/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Timothy Thomas
277 Poplar Lawn Road                                          RS Legacy Corporation fka RadioShack
Surry, VA 23883                           13811      3/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Susan Hargreaves
47 Bayberry Road                                              RS Legacy Corporation fka RadioShack
North Attleboro, MA 02760                 13812      3/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Troy Temple
502 A st                                                      RS Legacy Corporation fka RadioShack
Arnold, Mo. 63010                         13813      3/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Louis Fraga
164 Hecla St                                                  RS Legacy Corporation fka RadioShack
Uxbridge, MA 01569                        13814      3/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Claudel Meronnis
781 Redstone Hill Road                                        RS Legacy Corporation fka RadioShack
Bristol, CT 06010                         13815      3/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael Arthur
7036 Silo Lane                                                RS Legacy Corporation fka RadioShack
Mechanicsville, VA 23111                  13816      3/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Bill Harvey
18523 Running Deer Lane                                       RS Legacy Corporation fka RadioShack
Greendale, IN 47025                       13817      3/6/2016 Corporation                                                     $53.49                                                                                           $53.49
Stephen Louria
po box 88                                                     RS Legacy Corporation fka RadioShack
Brookside, NJ 07926                       13818      3/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Mary Beth Kosiba
250‐1 W US Hwy 6                                              RS Legacy Corporation fka RadioShack
Valparaiso, In 46385                      13819      3/6/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                 Current General                                            Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Andrew Desch
29017 Slvia Drive                                             RS Legacy Corporation fka RadioShack
Canyon Country, Ca 91387                  13820      3/6/2016 Corporation                                                     $43.49                                                                                           $43.49
Dale Pepoon
PO Box 43056                                                  RS Legacy Corporation fka RadioShack
Louisville, KY 40253                      13821      3/6/2016 Corporation                                                     $30.00                                                                                           $30.00
Jesse Glendon
4450 Rivanna River Way #2707                                  RS Legacy Corporation fka RadioShack
Fairfax, Virginia 22030                   13822      3/6/2016 Corporation                                                     $15.00                                                                                           $15.00
Robert Kushner
180 West 20th street, 16‐R                                    RS Legacy Corporation fka RadioShack
New York, NY 10011                        13823      3/6/2016 Corporation                                                      $0.00                                                                                            $0.00
ruby medina
2421 w west ave.                                              RS Legacy Corporation fka RadioShack
fullerton, ca 92833                       13824      3/6/2016 Corporation                                                    $105.20                                                                                          $105.20
Kevin kennedy
729 Wood Lane                                                 RS Legacy Corporation fka RadioShack
Cinnaminson, NJ 08077                     13825      3/6/2016 Corporation                                                     $36.07                                                                                           $36.07
Benjamin Voglewede
2530 Carlmont Drive, Apt 23                                   RS Legacy Corporation fka RadioShack
Belmont, CA 94002                         13826      3/6/2016 Corporation                                                      $0.00                                                                                            $0.00
carla wyne
34246 county road 43                                          RS Legacy Corporation fka RadioShack
willow river, mn 55795                    13827      3/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Javier Romero
318 North Avenue 57 Apt #10                                   RS Legacy Corporation fka RadioShack
Los Angeles, CA 90042                     13828      3/6/2016 Corporation                                                     $25.00                                                                                           $25.00
Manish Pokhriyal
10551 Greenbrier Rd
Apt 125                                                       RS Legacy Corporation fka RadioShack
Minnetonka, MN 55305                      13829      3/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Robyn Duprey
11249 Brown Drive                                             RS Legacy Corporation fka RadioShack
Rancho Cucamonga, CA 91701                13830      3/6/2016 Corporation                                                     $19.43                                                                                           $19.43
Daniel Clark
2530 Wickham place                                            RS Legacy Corporation fka RadioShack
Santa Clara, CA 95051                     13831      3/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Jacob Bruse
8956 Rathburn Ave                                             RS Legacy Corporation fka RadioShack
Los Angeles, CA 91325                     13832      3/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Kylie Vadnais
1909 29th Ave S                                               RS Legacy Corporation fka RadioShack
Fargo, ND 58103                           13833      3/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Ambrosia, Ariana
2655 78th Ave                                                 RS Legacy Corporation fka RadioShack
Oakland, CA 94605                         13834      3/4/2016 Corporation                                                     $50.00                                                                                           $50.00
John Verville
3328 Byron Rd                                                 RS Legacy Corporation fka RadioShack
Green Cove Springs, FL 32043              13835      3/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Cathy Dobbins
550 Darby Creek Rd. #9                                        RS Legacy Corporation fka RadioShack
Lexington, KY 40509                       13836      3/7/2016 Corporation                                                      $0.00                                                                                            $0.00



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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Craig Baetz
300 Maple Park Blvd #302                                      RS Legacy Corporation fka RadioShack
St Clair Shores, MI 48081                 13837      3/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Carleen Johnson
16 Birch Lane                                                 RS Legacy Corporation fka RadioShack
Rochester, NY 14622                       13838      3/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Shawn Robins
6306 Tamarind Circle                                          RS Legacy Corporation fka RadioShack
Tamarac, FL 33319                         13839      3/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Hope Thompson
1900 n.w. 63rd. Terrace                                       RS Legacy Corporation fka RadioShack
Kansas City, Missouri 64151               13840      3/7/2016 Corporation                                                     $84.00                                                                                           $84.00
Bryant Barksdale
195 E 8th Street, Basement                                    RS Legacy Corporation fka RadioShack
Brooklyn, New York 11218                  13841      3/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Christopher S Voelp
2460 W Emaus Ave Apt 5                                        RS Legacy Corporation fka RadioShack
Allentown, PA 18103                       13842      3/7/2016 Corporation                                                      $0.00                                                                                            $0.00
leif ayres
2234 a street                                                 RS Legacy Corporation fka RadioShack
eureka, ca 95501                          13843      3/7/2016 Corporation                                                    $100.00                                                                                          $100.00
shannon santiago
po box 383                                                    RS Legacy Corporation fka RadioShack
stroudsburg pa, 18360 862 thomas          13844      3/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Mallori Armstrong
136 Crimson Rose Dr apt 32                                    RS Legacy Corporation fka RadioShack
Madison, Al 35756                         13845      3/7/2016 Corporation                                                     $25.06                                                                                           $25.06
Tami darling
1195 Dallam ave                                               RS Legacy Corporation fka RadioShack
palm bay, Fl 32907                        13846      3/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Jared Smith
731 Linden St.                                                RS Legacy Corporation fka RadioShack
Bethlehem, PA 18018                       13847      3/7/2016 Corporation                                                      $0.00                                                                                            $0.00
ESHWARDAT SINGH
73 RIDGEWOOD AVE                                              RS Legacy Corporation fka RadioShack
BROOKLYN, NY 11208                        13848      3/7/2016 Corporation                                                     $15.00                                                                                           $15.00
Shanice John
3528 Neptune Ave                                              RS Legacy Corporation fka RadioShack
Brooklyn, NY 11224                        13849      3/7/2016 Corporation                                                     $20.00                                                                                           $20.00
Roxana Alvarez
13416 Esmond Avenue                                           RS Legacy Corporation fka RadioShack
Norwalk, Ca 90650                         13850      3/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Spencer Terry
711 Cannon Road                                               RS Legacy Corporation fka RadioShack
Glen Gardner, NJ 08826                    13851      3/7/2016 Corporation                                                    $100.00                                                                                          $100.00
Wanda Lehman
73 Pond Ridge Dr.                                             RS Legacy Corporation fka RadioShack
Grand Rapids, MI 49546                    13852      3/7/2016 Corporation                                                     $25.00                                                                                           $25.00
Thrane, Michael
43 Ferry Lane                                                 RS Legacy Corporation fka RadioShack
Stillwater, NY 12170                      13853      3/7/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Cambonga, Robert
PO Box 1231                                                   RS Legacy Corporation fka RadioShack
Waialua, HI 96791                         13854      3/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Theresa Marie Dale
1074 Occidental Circle                                        RS Legacy Corporation fka RadioShack
Redlands, CA 92374                        13855      3/7/2016 Corporation                                                     $25.00                                                                                           $25.00
James McGhee
3646 Trousseau st                                             RS Legacy Corporation fka RadioShack
Honolulu, HI 96815                        13856      3/7/2016 Corporation                                                     $20.00                                                                                           $20.00
Jeff Uecker
8608 Beaver Drive                                             RS Legacy Corporation fka RadioShack
Bakersfield, CA 93312                     13857      3/7/2016 Corporation                                                     $65.96                                                                                           $65.96
Emily Carrasquillo
830 Rev. James A. Polite Ave. apt. 1                          RS Legacy Corporation fka RadioShack
Bronx, NY 10459                           13858      3/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Stephen Nguyen
12899 E. Cedar Ave.                                           RS Legacy Corporation fka RadioShack
Aurora, Colorado 80012                    13859      3/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Steven Levine
1282 Sleepy Hollow Road                                       RS Legacy Corporation fka RadioShack
Athens, NY 12015                          13860      3/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Pamela Jean Shaffer
2801 Erie Ave., #101                                          RS Legacy Corporation fka RadioShack
Cincinnati, OH 45208                      13861      3/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Vakeel Chahal
14222 West Byron Rd                                           RS Legacy Corporation fka RadioShack
Tracy, CA 95304                           13862      3/8/2016 Corporation                                                     $70.39                                                                                           $70.39
Mary J. Bagwell
24317 Curt Drive                                              RS Legacy Corporation fka RadioShack
Brownstown, MI 48183                      13863      3/8/2016 Corporation                                                      $3.12                                                                                            $3.12
Debbie Hull
12035 Milly Dr                                                RS Legacy Corporation fka RadioShack
Doylestown, OH 44230                      13864      3/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Audrey Bell
23 Hunt Court                                                 RS Legacy Corporation fka RadioShack
Glen Head, NY 11545                       13865      3/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Kristin Rowles
3410 Woodberry Ave                                            RS Legacy Corporation fka RadioShack
Baltimore, MD 21211                       13866      3/8/2016 Corporation                                                     $25.00                                                                                           $25.00
Claim Docketed In Error                                       RS Legacy Corporation fka RadioShack
                                          13867      3/9/2016 Corporation                                                                                                                                                       $0.00
Bennett, Blanche
PO Box 299                                                    RS Legacy Corporation fka RadioShack
Grays Knob, KY 40829                      13868      3/8/2016 Corporation                                                     $20.32                                                                                           $20.32
Schlichting, Kimberly
21 Meadowbrook Dr                                             RS Legacy Corporation fka RadioShack
Hadley, MA 01035                          13869      3/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Dahlstrom, John C.
3335 Darbyshire Drive                                         RS Legacy Corporation fka RadioShack
Canfield , Ohio 44406                     13870      3/8/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Allen, Caroline
2820 Buker St                                                 RS Legacy Corporation fka RadioShack
San Francisco, CA 94123                   13871      3/7/2016 Corporation                                                     $85.00                                                                                           $85.00
Kuhn, Bob
Charlotte Liptak
3563 Warm Springs Dr                                          RS Legacy Corporation fka RadioShack
Lake Havasu City, AZ 86406                13872      3/8/2016 Corporation                                                      $0.00                                                                                            $0.00
David Biondo
715 Jane Street                                               RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15239                      13873      3/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Blais, Donald
16 Smith Rd                                                   RS Legacy Corporation fka RadioShack
Saugus, MA 01906                          13874      3/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Bunn, Wanda
2525 Vaughn Rd                                                RS Legacy Corporation fka RadioShack
Griffin, GA 30223                         13875      3/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Benjamin Ng
2737 NW Upshur St, Apt 117                                    RS Legacy Corporation fka RadioShack
Portland, OR 97210                        13876      3/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Gene Itri
22 Edison Drive                                               RS Legacy Corporation fka RadioShack
Niskayuna, NY 12309                       13877      3/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Melissa Schrift
6315 Longview Ave                                             RS Legacy Corporation fka RadioShack
Los Angeles, CA 90068                     13878      3/8/2016 Corporation                                                     $60.53                                                                                           $60.53
Morgan Rom
277 Devoe Street Apt 2L                                       RS Legacy Corporation fka RadioShack
Brooklyn, NY 11211                        13879      3/8/2016 Corporation                                                      $0.00                                                                                            $0.00
vishal shah
3220 Ranch Park Trl                                           RS Legacy Corporation fka RadioShack
Round Rock, TX 78681                      13880      3/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Vishal shah
3220 Ranch Park Trl                                           RS Legacy Corporation fka RadioShack
Round Rock, TX 78681                      13881      3/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Kirk Bergere
21224 38th Pl W                                               RS Legacy Corporation fka RadioShack
Brier, WA 98036                           13882      3/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Respress, Lakisha
537 Honeysuckle Dr.                                           RS Legacy Corporation fka RadioShack
Thompson , GA 30286                       13883      3/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Renee Beaudoin
2333 Ne 46th Ave                                              RS Legacy Corporation fka RadioShack
Portland, OR 97213                        13884      3/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Beenish Hasan
9 Lander St.                                                  RS Legacy Corporation fka RadioShack
Somerset, NJ 08873                        13885      3/8/2016 Corporation                                                     $50.00                                                                                           $50.00
Tim Rutherford
6925 W. Hadley St                                             RS Legacy Corporation fka RadioShack
Milwaukee, WI 53210                       13886      3/8/2016 Corporation                                                      $0.00                                                                                            $0.00
JOHN MAK
501 TAYLOR DR                                                 RS Legacy Corporation fka RadioShack
MONTEREY PARK, CA 91755                   13887      3/9/2016 Corporation                                                      $0.00                                                                                            $0.00



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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Janetra Barksdale
1514 Falling Brook Court                                      RS Legacy Corporation fka RadioShack
Odenton, MD 21113                         13888      3/9/2016 Corporation                                                       $0.00                                                                                            $0.00
vishal shah
3220 Ranch Park Trl                                           RS Legacy Corporation fka RadioShack
Round Rock, TX 78681                      13889      3/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Min Kim
8788 Stanwell St                                              RS Legacy Corporation fka RadioShack
San Diego, CA 92126                       13890      3/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Margarita Jimenez
211 Shetland Path                                             RS Legacy Corporation fka RadioShack
Norfolk, NE 68701                         13891      3/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Jason Meador
Po box 872                                                    RS Legacy Corporation fka RadioShack
Cadiz, ky 42211                           13892      3/9/2016 Corporation                                                      $63.59                                                                                           $63.59
Paul Kozloski
3034 Northview Road                                           RS Legacy Corporation fka RadioShack
Wayzata, MN 55391                         13893      3/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Cienna Daniels
905 Leach Ave                                                 RS Legacy Corporation fka RadioShack
Des Moines, Iowa 50315                    13894      3/9/2016 Corporation                                                      $82.65                                                                                           $82.65
Sandra Gale
3501 Glover Ave                                               RS Legacy Corporation fka RadioShack
Des Moines, Iowa 50315                    13895      3/9/2016 Corporation                                                     $130.00                                                                                          $130.00
Travis Kaylor
38 Jayann Dr                                                   RS Legacy Corporation fka RadioShack
Lebanon, Pa 17042                         13896      3/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          13897      3/9/2016 Corporation                                                                                                                                                        $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          13898      3/10/2016 Corporation                                                                                                                                                       $0.00
James Handy
2221 Paso Robles St                                           RS Legacy Corporation fka RadioShack
Oceano, CA 93445‐9114                     13899      3/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Brian Harley
15 Lauramie Crk E                                             RS Legacy Corporation fka RadioShack
Clarks Hill, IN 47930                     13900      3/9/2016 Corporation                                                      $16.55                                                                                           $16.55
Leonard, Janice Tickner
4032 Noriega St                                               RS Legacy Corporation fka RadioShack
San Francisco, CA 94122‐3938              13901      3/9/2016 Corporation                                                       $0.00                                                                                            $0.00
LAWRENCE , JEFFREY
31061 Fox Hollow Rd                                           RS Legacy Corporation fka RadioShack
Eugene, OR 97405                          13902      3/9/2016 Corporation                                                       $0.00                                                                                            $0.00
David DelSesto
20 Centre St                                                  RS Legacy Corporation fka RadioShack
coventry, ri 02816                        13903      3/9/2016 Corporation                                                      $20.00                                                                                           $20.00
Bache, Suellyn
79 Hickory Road                                               RS Legacy Corporation fka RadioShack
Stamford, CT 06903                        13904      3/9/2016 Corporation                                                      $12.81                                                                                           $12.81
Fond , Bill
13800 S.W. Bayshore Dr #7                                     RS Legacy Corporation fka RadioShack
Traverse City , MI 49684                  13905      3/9/2016 Corporation                                                      $74.30                                                                                           $74.30



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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Simko, George
29438 Glenwood Dr                                             RS Legacy Corporation fka RadioShack
MillsBoro, Dez 19966                      13906      3/9/2016 Corporation                                                     $19.61                                                                                           $19.61
joseph trigg
3724 woodlark road                                            RS Legacy Corporation fka RadioShack
clovis, nm 88101                          13907      3/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Neil Davis
1870 Haverford Drive                                          RS Legacy Corporation fka RadioShack
Al, IL 60102                              13908      3/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Cannon, Charles
563 Walther RD                                                RS Legacy Corporation fka RadioShack
Newark, Delaware 19702                    13909      3/9/2016 Corporation                                                    $120.00                                                                                          $120.00
Michael Kucharski
16 w. timberlake Dr.                                          RS Legacy Corporation fka RadioShack
Burr Ridge, Illinois 60527                13910      3/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Matey, Jack C
2842 Anderson Drive                                           RS Legacy Corporation fka RadioShack
Allison Park, PA 15101                    13911      3/9/2016 Corporation                                                     $14.97                                                                                           $14.97
Alleshouse, JoAnn
6255 N 900 E                                                  RS Legacy Corporation fka RadioShack
HOWE, IN 46746                            13912      3/9/2016 Corporation                                                     $28.11                                                                                           $28.11
Main Jr., Barry
186 Abbott St.                                                RS Legacy Corporation fka RadioShack
Bennington, VT                            13913      3/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Lavin, Maria
598 Horse Hill Rd                                             RS Legacy Corporation fka RadioShack
Westbrook, CT 06498                       13914      3/9/2016 Corporation                                                     $10.00                                                                                           $10.00
Vasey, Jody
7047 Horse Cart Lane                                          RS Legacy Corporation fka RadioShack
Lincoln , DE 19960                        13915      3/9/2016 Corporation                                                     $80.00                                                                                           $80.00
Conte, Elisabeth
659 Fillmore St.                                              RS Legacy Corporation fka RadioShack
Davis, CA 95616                           13916      3/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Fujii, Duane
91‐2048 Laakona Place                                         RS Legacy Corporation fka RadioShack
BWa Beach, HI 96706                       13917      3/9/2016 Corporation                                                    $100.00                                                                                          $100.00
ben anab
416 perez st                                                  RS Legacy Corporation fka RadioShack
south houston, tx 77587, 77587 same       13918      3/9/2016 Corporation                                                     $59.99                                                                                           $59.99
david arnold
127 east avenue 41                                            RS Legacy Corporation fka RadioShack
los angeles, ca 90031                     13919      3/9/2016 Corporation                                                     $50.00                                                                                           $50.00
Fujii, Helen
91‐1117 Hanaloa Street                                        RS Legacy Corporation fka RadioShack
Ewa Beach, HI 96706                       13920      3/9/2016 Corporation                                                    $100.00                                                                                          $100.00
Thompson, Leann
47608 207th St                                                RS Legacy Corporation fka RadioShack
Aurora , SD 57002                         13921      3/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Campbell, Patricia A.
1284 Conewango Ave, Apt A6                                    RS Legacy Corporation fka RadioShack
Warren, PA 16365                          13922      3/9/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Kraan, Reinier L.A.
1817 Saint Mary's Road                                        RS Legacy Corporation fka RadioShack
Chester, MD 21619                         13923      3/9/2016 Corporation                                                      $70.00                                                                                           $70.00
Fujii, Darrell
91‐2048 Laakona Place                                         RS Legacy Corporation fka RadioShack
Ewa Beach, HI 96706                       13924      3/9/2016 Corporation                                                     $100.00                                                                                          $100.00
Aristei, Stephen
P.O. Box 4103                                                 RS Legacy Corporation fka RadioShack
Palos Vendes Est, CA 90274                13925      3/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Pierre, Gwendolyn
PO Box 21546                                                  RS Legacy Corporation fka RadioShack
Beaumont, TX 77720                        13926      3/9/2016 Corporation                                                       $0.00                                                                                            $0.00
GOLDSTEIN, YISROEL
16934 CHABAD WAY                                              RS Legacy Corporation fka RadioShack
POWAY, CA 92064                           13927      3/9/2016 Corporation                                                       $0.00                                                                                            $0.00
JOHNSON, BARRY
4166 FARMDALE AVE.                                            RS Legacy Corporation fka RadioShack
STUDIO CITY, CA 91604                     13928      3/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Lorraine, Rich
573 Linda Ave.                                                RS Legacy Corporation fka RadioShack
Thornwood, NY 10594                       13929      3/9/2016 Corporation                                                      $42.32                                                                                           $42.32
Fujii, Denise
91‐117 Hanaba Street                                          RS Legacy Corporation fka RadioShack
Ewa Beach, Hi 96706                       13930      3/9/2016 Corporation                                                     $100.00                                                                                          $100.00
Mark Rockenmacher
316 Quincy Ave.                                               RS Legacy Corporation fka RadioShack
Long Beach, CA 90814                      13931      3/9/2016 Corporation                                                       $0.00                                                                                            $0.00
ellen davila
608 deer country                                              RS Legacy Corporation fka RadioShack
san antonio, tx 78253                     13932      3/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Keacha Drake
1529 Hanging Moss Lane                                        RS Legacy Corporation fka RadioShack
Gretna, La 70056                          13933      3/9/2016 Corporation                                                     $500.00                                                                                          $500.00
Mandy StJohn
6721 Columbia River Rd                                        RS Legacy Corporation fka RadioShack
Casper, WY 82604                          13934      3/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Ara Jacob
1275 bosworth st                                              RS Legacy Corporation fka RadioShack
el cajon, ca 92019                        13935      3/9/2016 Corporation                                                       $0.00                                                                                            $0.00
FRANK DUVALL
3289 59TH WAY N                                                RS Legacy Corporation fka RadioShack
ST PETE, FL 33710                         13936      3/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Seramone, Jennifer
67 Ivy Road                                                    RS Legacy Corporation fka RadioShack
Wilmington , DE 19806                     13937      3/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Seramone, Jennifer
67 Ivy Road                                                    RS Legacy Corporation fka RadioShack
Wilmington , DE 19806                     13938      3/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Wade, Sandra
729 Lone Valley Road                                           RS Legacy Corporation fka RadioShack
Calvert City, KY 42029                    13939      3/10/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
eric baker
17100 S Highland Ridge Drive                                   RS Legacy Corporation fka RadioShack
Belton, mo 64012                          13940      3/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          13941      2/27/2016 Corporation                                                                                                                                                       $0.00
Wambheim, Diane Rlen
12709 NE 88 Lane                                               RS Legacy Corporation fka RadioShack
Idinwland, WA 98033                       13942      3/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Tillery, Ken
3374 Oxford Middletown RD                                      RS Legacy Corporation fka RadioShack
Trenton, OH 45067                         13943      3/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          13944      2/27/2016 Corporation                                                                                                                                                       $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          13945      2/27/2016 Corporation                                                                                                                                                       $0.00
Monaco, PAUL
4019 Thomas Paine Way                                         RS Legacy Corporation fka RadioShack
New Windsor, NY 12553                     13946      3/9/2016 Corporation                                                      $26.49                                                                                           $26.49
Shirley, Richard
43861 Ryckebosch Lane                                          RS Legacy Corporation fka RadioShack
Lana, CA 93535                            13947      3/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          13948      2/27/2016 Corporation                                                                                                                                                       $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          13949      3/10/2016 Corporation                                                                                                                                                       $0.00
Webb, Barbara D.
5154 James Stone Rd.                                           RS Legacy Corporation fka RadioShack
Cedar Hill, TN 37032                      13950      3/10/2016 Corporation                                                     $20.00                                                                                           $20.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          13951      2/27/2016 Corporation                                                                                                                                                       $0.00
Dow, Judith
58 Maravista Ave. Ext                                         RS Legacy Corporation fka RadioShack
Teaticket, MA 02536                       13952      3/9/2016 Corporation                                                                                                                                                        $0.00
Janssen, Eric K
763 Knollview Blvd                                            RS Legacy Corporation fka RadioShack
Ormond Beach , Fl 32174‐4433              13953      3/9/2016 Corporation                                                                                                                                                        $0.00
Spitale, Scott
67 Camp Street                                                RS Legacy Corporation fka RadioShack
Jamestown, NY 14701                       13954      3/9/2016 Corporation                                                      $43.53                                                                                           $43.53
Kelly Conover
10 Dry Rd                                                      RS Legacy Corporation fka RadioShack
Blairstown, NJ 07825                      13955      3/10/2016 Corporation                                                     $18.23                                                                                           $18.23
Kresconko, Dorothy
4543 Camp Rd Unit 268                                         RS Legacy Corporation fka RadioShack
Hamburg , NY 14075                        13956      3/9/2016 Corporation                                                      $43.49                                                                                           $43.49
Prigge, Jeff
8167 Tollgate Rd                                              RS Legacy Corporation fka RadioShack
Alexandria, KY 41001                      13957      3/9/2016 Corporation                                                      $42.20                                                                                           $42.20
George & Karen Strazzere
67 Butters Row                                                 RS Legacy Corporation fka RadioShack
Wilmington, MA 01887                      13958      3/10/2016 Corporation                                                     $20.00                                                                                           $20.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Shields, Kathleen A.
2907 Benjamin Court                                           RS Legacy Corporation fka RadioShack
Moon Township, PA 15108                   13959      3/9/2016 Corporation                                                      $16.19                                                                                           $16.19
Kara Smith
9040 Venona Way                                                RS Legacy Corporation fka RadioShack
Indianapolis, IN 46234                    13960      3/10/2016 Corporation                                                     $74.89                                                                                           $74.89
Drew Coatney
2341 W Belden Ave                                              RS Legacy Corporation fka RadioShack
Chicago, IL 60647                         13961      3/10/2016 Corporation                                                      $0.00                                                                                            $0.00
STONEMAN, CLARENCE
5463 Surrett Rd.                                              RS Legacy Corporation fka RadioShack
Archdale, NC 27263                        13962      3/9/2016 Corporation                                                                                                                                                        $0.00
Karkoski, Kim
830 Tupelo Glen Court                                         RS Legacy Corporation fka RadioShack
Fuquay Varina , NC 27526                  13963      3/9/2016 Corporation                                                      $50.19                                                                                           $50.19
Reed, Andy
4701 Houghton Ave.                                            RS Legacy Corporation fka RadioShack
Fort Worth , TX 76107                     13964      3/9/2016 Corporation                                                      $16.01                                                                                           $16.01
Platis, Emmanuel
798 Coventry St                                               RS Legacy Corporation fka RadioShack
Boca Raton, FL 33487                      13965      3/9/2016 Corporation                                                                                                                                                        $0.00
Rocky Catenzaro
449 N Lyndhurst Drive                                          RS Legacy Corporation fka RadioShack
North Salt Lake, Utah 84054               13966      3/10/2016 Corporation                                                     $39.39                                                                                           $39.39
Frey, Donna
9416 Mountain Rd                                              RS Legacy Corporation fka RadioShack
Middleport , NY 14105                     13967      3/9/2016 Corporation                                                      $12.16                                                                                           $12.16
Stefanie D. Koning
4645 Orlando Ct                                                RS Legacy Corporation fka RadioShack
Indianapolis, IN 46228                    13968      3/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Sarav Paul Singh
3015 W 85th St                                                 RS Legacy Corporation fka RadioShack
Chicago, IL 60652                         13969      3/10/2016 Corporation                                                     $10.70                                                                                           $10.70
McCaffrey, Kevin
3520 W. Elmore ST.                                             RS Legacy Corporation fka RadioShack
Seattle, WA 98199                         13970      3/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Andrea Disilvestre
1439 Towlston Road                                             RS Legacy Corporation fka RadioShack
Vienna, VA 22182                          13971      3/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Karkoski, Kim
830 Tupelo GlenCourt                                           RS Legacy Corporation fka RadioShack
Fuquay Varina, NC 27526                   13972      3/10/2016 Corporation                                                     $13.87                                                                                           $13.87
Linda Paun
W295N9320 Joseph Ct                                            RS Legacy Corporation fka RadioShack
Hartland, WI 53029                        13973      3/10/2016 Corporation                                                     $68.32                                                                                           $68.32
john conte
39 Bower Tree                                                  RS Legacy Corporation fka RadioShack
Irvine, CA 92603                          13974      3/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Steve Szabo
519 Ridge Circle                                               RS Legacy Corporation fka RadioShack
Brandon, MS 39047                         13975      3/10/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Turco, Rose M
110 George Rd                                                 RS Legacy Corporation fka RadioShack
Ghent, NY 12075                           13976      3/9/2016 Corporation                                                      $43.17                                                                                           $43.17
Jeffrey Quinn
21801 Robinhood Ave.                                           RS Legacy Corporation fka RadioShack
Fairview Park, OH 44126                   13977      3/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Jan Lande
Po Box 951                                                     RS Legacy Corporation fka RadioShack
Golden, CO 80402                          13978      3/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Ashley Smith
2100 Stanhope dr                                               RS Legacy Corporation fka RadioShack
huntsville, al 35811                      13979      3/10/2016 Corporation                                                     $20.00                                                                                           $20.00
Kevin Gallo
550 Braemar Ln.                                                RS Legacy Corporation fka RadioShack
Barrington, IL 60010                      13980      3/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Maria Rooney
16 Abington Way                                                RS Legacy Corporation fka RadioShack
Lumberton, NJ 08048                       13981      3/10/2016 Corporation                                                    $100.00                                                                                          $100.00
Anthony Finch
34765 Vaquero Rd                                               RS Legacy Corporation fka RadioShack
Cathedral City, CA 92234                  13982      3/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Valeria
1809 West 6th Street                                           RS Legacy Corporation fka RadioShack
Mesa, Az 85201                            13983      3/11/2016 Corporation                                                     $10.65                                                                                           $10.65
Behrouz Golchane
2410 Perring Woods road                                        RS Legacy Corporation fka RadioShack
Parkville, MD 21234                       13984      3/11/2016 Corporation                                                      $0.00                                                                                            $0.00
bliss addonizio
42 minello drive                                               RS Legacy Corporation fka RadioShack
carmel, ny 10512                          13985      3/11/2016 Corporation                                                      $0.00                                                                                            $0.00
HP Inc.
11311 Chinden Blvd. MS 314                                    RS Legacy Corporation fka RadioShack
Boise, ID 83714                           13986      3/7/2016 Corporation                                                 $67,685.60                                                                                        $67,685.60
HP Inc.
11311 Chinden Blvd. MS 314                                    RS Legacy Corporation fka RadioShack
Boise, ID 83714                           13987      3/7/2016 Corporation                                                       $0.00                                                                                            $0.00
Lawrence, Jeffrey
31061 Fox Hollow Rd                                           RS Legacy Corporation fka RadioShack
Eugene, OR 97405                          13988      3/7/2016 Corporation                                                                                                                                                        $0.00
lakesha houser
320 sterling street
apt 5ce                                                        RS Legacy Corporation fka RadioShack
brooklyn, ny 11225                        13989      3/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Jared Drakeley
PO Box 6053                                                    RS Legacy Corporation fka RadioShack
San Ramon, CA 94583                       13990      3/11/2016 Corporation                                                     $10.00                                                                                           $10.00
Sue Chaney
800 Santa Fe Court                                             RS Legacy Corporation fka RadioShack
Virginia Beach, VA 23456                  13991      3/11/2016 Corporation                                                     $31.79                                                                                           $31.79
RHONDA BILINSKI
222 S HANOVER ST                                               RS Legacy Corporation fka RadioShack
POTTSTOWN, PA 19465                       13992      3/11/2016 Corporation                                                      $0.00                                                                                            $0.00



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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Gallucci, Donna
4305 Castleton Road                                            RS Legacy Corporation fka RadioShack
Columbus, OH 43220                        13993      3/11/2016 Corporation                                                     $10.72                                                                                           $10.72
Paintiff, Marlene
1329 Sandwich Rd                                               RS Legacy Corporation fka RadioShack
E.FAWMOUTH, MA 02536                      13994      3/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Wise, Melissa
801 cooperlanding rd apt a713                                  RS Legacy Corporation fka RadioShack
cherry hill, nj 08002                     13995      3/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          13996      3/7/2016 Corporation                                                                                                                                                        $0.00
R Michael Jones
12 Ozark Hills MHC                                             RS Legacy Corporation fka RadioShack
Arnold, Mo 63010                          13997      3/11/2016 Corporation                                                    $175.00                                                                                          $175.00
Ernst Goldman Jr
133 Glenridge Ave                                              RS Legacy Corporation fka RadioShack
Montclair, NJ 07042                       13998      3/11/2016 Corporation                                                     $83.15                                                                                           $83.15
Kellen, E Mac
PMP5510 PO Box 257                                             RS Legacy Corporation fka RadioShack
Olympia, WA 98507                         13999      3/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Gonzalez, Irma
PO Box 2655                                                    RS Legacy Corporation fka RadioShack
Merced, CA 95344                          14000      3/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Leonard , Ms. Pamela M.
2744 Kirkleigh Rd                                              RS Legacy Corporation fka RadioShack
Dundalk , MD 21222                        14001      3/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Thompson, leslie
11 Hertage Drive                                               RS Legacy Corporation fka RadioShack
Bedford , NH 03110                        14002      3/11/2016 Corporation                                                     $25.01                                                                                           $25.01
Mangone, Michael
249 Parker Avenue                                              RS Legacy Corporation fka RadioShack
Hackensack, NJ 07601                      14003      3/11/2016 Corporation                                                     $12.84                                                                                           $12.84
Gonzalez, Irma
PO Box 2655                                                    RS Legacy Corporation fka RadioShack
Merced, CA 95344                          14004      3/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Gonzalez, Irma
PO Box 2655                                                    RS Legacy Corporation fka RadioShack
Merced, CA 95344                          14005      3/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Kwak, Christine
12799 E State Rte 114                                          RS Legacy Corporation fka RadioShack
Momence, IL 60954                         14006      3/11/2016 Corporation                                                      $7.42                                                                                            $7.42
CAREY CHRISMAN
4026 TOWHEE DR                                                 RS Legacy Corporation fka RadioShack
CALABASAS, CA 91302                       14007      3/11/2016 Corporation                                                      $0.00                                                                                            $0.00
James Hsu
22725 7th St                                                   RS Legacy Corporation fka RadioShack
Hayward, CA 94541                         14008      3/12/2016 Corporation                                                     $50.00                                                                                           $50.00
John Markert
14056 Golden Eagle Dr                                          RS Legacy Corporation fka RadioShack
Jacksonville, FL 32226                    14009      3/12/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Benjamin Kavanagh
1200 Myrtle Ave                                                RS Legacy Corporation fka RadioShack
Chesapeake, VA 23325                      14010      3/12/2016 Corporation                                                      $0.00                                                                                            $0.00
eddie shehane
2121 misty meadow rd                                           RS Legacy Corporation fka RadioShack
finksburg, md 21048                       14011      3/12/2016 Corporation                                                      $0.00                                                                                            $0.00
eddie r shehane
2121 misty meadow rd                                           RS Legacy Corporation fka RadioShack
finksburg, md 21048                       14012      3/12/2016 Corporation                                                      $0.00                                                                                            $0.00
paul earles
6752 maddux drive                                              RS Legacy Corporation fka RadioShack
cincinnati, ohio 45230                    14013      3/12/2016 Corporation                                                     $27.77                                                                                           $27.77
Stephanie Humphrey
6445 Columbia rd                                               RS Legacy Corporation fka RadioShack
Olmsted twp, Ohio 44280                   14014      3/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Teresa Sully
1952 Club Drive                                                RS Legacy Corporation fka RadioShack
Troy, Michigan 48098                      14015      3/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Valerie Port
P.O. Box 1611                                                  RS Legacy Corporation fka RadioShack
Carmel, NY 10512                          14016      3/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Tammy Patera
4607 Gold Finch Lane                                           RS Legacy Corporation fka RadioShack
Merritt Island, Florida 32953             14017      3/12/2016 Corporation                                                     $10.00                                                                                           $10.00
Nathan Kirsch
127 Windrush Lane                                              RS Legacy Corporation fka RadioShack
Durham, North Carolina 27703              14018      3/13/2016 Corporation                                                    $125.00                                                                                          $125.00
Roxanne Dolhover
384 S 500 W                                                    RS Legacy Corporation fka RadioShack
Valparaiso, IN 46385                      14019      3/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Roxanne Dolhover
384 S 500 W                                                    RS Legacy Corporation fka RadioShack
Valparaiso, IN 46385                      14020      3/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Shawn Keener
1456 W. Berwyn Ave. #1W                                        RS Legacy Corporation fka RadioShack
Chicago, IL 60640                         14021      3/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Kimberly Lundberg
432 Sharon Rd.                                                 RS Legacy Corporation fka RadioShack
Moon Township, PA 15108                   14022      3/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Jeff Jewett
2262 Ryan St                                                   RS Legacy Corporation fka RadioShack
Livermore, CA 94550                       14023      3/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Jeff Jewett
2262 Ryan St                                                   RS Legacy Corporation fka RadioShack
Livermore, CA 94550                       14024      3/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Jeff Jewett
2262 Ryan St                                                   RS Legacy Corporation fka RadioShack
Livermore, CA 94550                       14025      3/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Rebekah L James
950 Lake Park Dr.                                              RS Legacy Corporation fka RadioShack
Spring Branch, Tx 78070                   14026      3/13/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Julie Wooley
245 Kyle Rd                                                    RS Legacy Corporation fka RadioShack
New Castle, PA 16102                      14027      3/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert Szymkowski
W283 N9045 Sunset ct                                           RS Legacy Corporation fka RadioShack
Hartland, WI 53029                        14028      3/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert Szymkowski
W283 N9045 Sunset ct                                           RS Legacy Corporation fka RadioShack
Hartland, WI 53029                        14029      3/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert Szymkowski
W283 N9045 Sunset ct                                           RS Legacy Corporation fka RadioShack
Hartland, WI 53029                        14030      3/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Bill Tornquist
64 Trofello Lane                                               RS Legacy Corporation fka RadioShack
Aliso Viejo, CA 92656                     14031      3/13/2016 Corporation                                                     $25.24                                                                                           $25.24
Eliza Burkholder
55 Mill Plain Road 21‐2                                        RS Legacy Corporation fka RadioShack
Danbury, CT 06811                         14032      3/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Greg Susman
10 Owl Branch Lane                                             RS Legacy Corporation fka RadioShack
Parkton, MD 21120                         14033      3/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Bryce Redfern
1555 Warrington Street                                         RS Legacy Corporation fka RadioShack
Winter Springs, Florida 32708             14034      3/14/2016 Corporation                                                      $0.00                                                                                            $0.00
jena brown
6604 eberle st                                                 RS Legacy Corporation fka RadioShack
lakewood, ca 90713                        14035      3/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Joseph Keenan
12400 Park Potomac Ave Apt 308                                 RS Legacy Corporation fka RadioShack
Potomac, MD 20854                         14036      3/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Courteney Healey
6 Pinefield Road                                               RS Legacy Corporation fka RadioShack
Readville, MA 02136                       14037      3/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Bryan Abramson
2208 Locust Ave                                                RS Legacy Corporation fka RadioShack
Wilmington, DE 19810                      14038      3/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Arthur Berry
12 Coolidge St.                                                RS Legacy Corporation fka RadioShack
Auburn, MA 01501                          14039      3/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Dave Tonyan
1318 N 2nd St                                                  RS Legacy Corporation fka RadioShack
Coeur d Alene, ID 83814                   14040      3/14/2016 Corporation                                                     $18.22                                                                                           $18.22
Roger Allen
638 Walapai Drive                                              RS Legacy Corporation fka RadioShack
Fuquay Varina, NC 27526                   14041      3/14/2016 Corporation                                                     $19.61                                                                                           $19.61
Jennifer Scott
5038 S HARDY DR APT 1093                                       RS Legacy Corporation fka RadioShack
Tempe, AZ 85282                           14042      3/14/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address        Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                          Amount                                                     Amount
Fayette Mall SPE, LLC, by CBL & Associates
Management, Inc., management agent
Gary Roddy, Vice President ‐ Collections
2330 Hamilton Place Blvd.                                          RS Legacy Corporation fka RadioShack
Chattanooga, TN 37421                         14043      11/2/2015 Corporation                                                                                                                                 $0.00                 $0.00
Cathy Schaeffer
9508 Admiral Dewey Ave NE                                          RS Legacy Corporation fka RadioShack
Albuquerque, NM 87111                         14044      3/14/2016 Corporation                                                     $11.02                                                                                           $11.02
stephanie coronado
1893 EAST AMERICAN AVE                                             RS Legacy Corporation fka RadioShack
fresno, CA 93725                              14045      3/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Vasilios Lagakos
5225 Connecticut Ave. NW Apt. 409                                  RS Legacy Corporation fka RadioShack
Washington, DC 20015                          14046      3/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Vasilios Lagakos
5225 Connecticut Ave. NW Apt. 409                                  RS Legacy Corporation fka RadioShack
Washington, DC 20015                          14047      3/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Baldwin County Revenue Commissioner
Attn: Teddy J. Faust, Jr.
PO Box 1549                                                       RS Legacy Corporation fka RadioShack
Bay Minette, AL 36507                         14048      3/3/2016 Corporation                                                                                          $298.42                                                     $298.42
Consumer Cellular, Inc.
C/O Mathew W. Lauritsen
Kell Alterman & Runstein LLP
520 SW Yamhill St.                                                 RS Legacy Corporation fka RadioShack
Portland, OR 97204                            14049      2/22/2016 Corporation                                                $56,692.50                                                                                        $56,692.50
Sean Sonnie
10893 Gable Street                                                 RS Legacy Corporation fka RadioShack
Boca Raton, Fl 33428                          14050      3/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Reynerio Rubio
44‐21 Ketcham St.                                                  RS Legacy Corporation fka RadioShack
Elmhurst, NY 11373                            14051      3/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Travis Lee
15826 Cobblestone Lake Pkwy                                        RS Legacy Corporation fka RadioShack
Apple Valley, MN 55124                        14052      3/14/2016 Corporation                                                     $92.12                                                                                           $92.12
Thelma Servatius
8752 Tallwood Ridge                                                RS Legacy Corporation fka RadioShack
Baldwinsville, Ny 13027                       14053      3/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Ken Keleher
8145 Jefferson Rd                                                  RS Legacy Corporation fka RadioShack
Freeburg, IL 62243                            14054      3/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Richard Duggan
314 N Main St                                                      RS Legacy Corporation fka RadioShack
Elmer, NJ 08318                               14055      3/15/2016 Corporation                                                      $0.00                                                                                            $0.00
cheng peng
15 oak st                                                          RS Legacy Corporation fka RadioShack
staten island, N.Y. 10305                     14056      3/15/2016 Corporation                                                     $30.00                                                                                           $30.00
Nicole Bartman
621 Stewart Street                                                 RS Legacy Corporation fka RadioShack
Morgantown, WV 26505                          14057      3/15/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                          Amount                                                     Amount
Fayette Mall SPE, LLC, by CBL & Associates
Management, Inc., managing agent
c/o Caleb T. Holzaepfel, Esq.
Husch Blackwell LLP
736 Georgia Avenue, Suite 300                                      RS Legacy Corporation fka RadioShack
Chattanooga, TN 37402                         14058      11/2/2015 Corporation                                                      $0.00                                                                                            $0.00
Dominick Tricozzi
5 Lake view drive                                                  RS Legacy Corporation fka RadioShack
Valatie, N.Y. 12184                           14059      3/15/2016 Corporation                                                     $12.74                                                                                           $12.74
David Drozdiel
13 Longs Lane                                                      RS Legacy Corporation fka RadioShack
Corfu, NY 14036                               14060      3/15/2016 Corporation                                                      $9.78                                                                                            $9.78
Christa Decarvalho
1410 Esterbrook Ave                                                RS Legacy Corporation fka RadioShack
Rahway, Nj 07065                              14061      3/15/2016 Corporation                                                     $50.00                                                                                           $50.00
James Quinn
320 Annabelle Lane 217                                             RS Legacy Corporation fka RadioShack
Henderson, Nv 89014                           14062      3/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Shajan Karottu
454 Shannon Pkwy                                                   RS Legacy Corporation fka RadioShack
Elgin, IL 60124                               14063      3/15/2016 Corporation                                                      $0.00                                                                                            $0.00
ben nicol
813 SW Washington St                                               RS Legacy Corporation fka RadioShack
Dallas, OR 97338                              14064      3/15/2016 Corporation                                                     $24.99                                                                                           $24.99
Yogesh Gandhi
16823 pheasant creek ct                                            RS Legacy Corporation fka RadioShack
sugar land, tx 77498                          14065      3/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Thomas David Metcalf
45231 Thornhill Road                                               RS Legacy Corporation fka RadioShack
Canton, MI 48188                              14066      3/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Hugo Reyes
14 Potter Ave Unit 4                                               RS Legacy Corporation fka RadioShack
Plainville, MA 02762                          14067      3/15/2016 Corporation                                                     $20.00                                                                                           $20.00
Rachael Eichacker
86 Fox Ridge Lane                                                  RS Legacy Corporation fka RadioShack
Tolland, CT 06084                             14068      3/15/2016 Corporation                                                     $10.00                                                                                           $10.00
Carla Walker
2781 Club Ridge Dr                                                 RS Legacy Corporation fka RadioShack
Lewisville, TX 75067                          14069      3/16/2016 Corporation                                                     $53.99                                                                                           $53.99
kenneth johns
17402 SE 27th St                                                   RS Legacy Corporation fka RadioShack
vancouver, wa 98683                           14070      3/16/2016 Corporation                                                     $47.04                                                                                           $47.04
Ingrid Mane
1146 Fountain Coin Loop                                            RS Legacy Corporation fka RadioShack
Orlando, FL 32828                             14071      3/16/2016 Corporation                                                     $26.63                                                                                           $26.63
Alicia Breckenridge
PO Box 263                                                         RS Legacy Corporation fka RadioShack
Morgan Hill, CA 95038                         14072      3/16/2016 Corporation                                                     $25.00                                                                                           $25.00
Linda S. Dokey
1514 W. Lusher Avenue                                              RS Legacy Corporation fka RadioShack
Elkhart, IN 46517                             14073      3/16/2016 Corporation                                                    $133.74                                                                                          $133.74




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                                                                                                                      Amount                                                     Amount
Jonathan Melusky
14733 32nd Ave NE                                              RS Legacy Corporation fka RadioShack
Shoreline, WA 98155                       14074      3/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Leysan Moore
6407 bolin way                                                 RS Legacy Corporation fka RadioShack
RIO LINDA, CA 95673                       14075      3/16/2016 Corporation                                                    $150.00                                                                                          $150.00
Travis Biggs
2215 N Elm                                                     RS Legacy Corporation fka RadioShack
Denton, tx 76201                          14076      3/16/2016 Corporation                                                      $0.00                                                                                            $0.00
genodra reeves
727 s. Delaware ave.                                           RS Legacy Corporation fka RadioShack
deland, fl 32720                          14077      3/16/2016 Corporation                                                      $0.00                                                                                            $0.00
troy chadwick
5807 4th street                                                RS Legacy Corporation fka RadioShack
lubbock, tx 79416                         14078      3/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Jill Davies
3537 S Brandon Street                                          RS Legacy Corporation fka RadioShack
Seattle, WA 98118                         14079      3/16/2016 Corporation                                                    $113.85                                                                                          $113.85
Thomas Heineman
2200 Bradley Drive                                             RS Legacy Corporation fka RadioShack
Harrisburg, PA 17110                      14080      3/16/2016 Corporation                                                     $21.19                                                                                           $21.19
Allen Wish
104 Charlesbrooke Rd                                           RS Legacy Corporation fka RadioShack
Baltimore, md 21212                       14081      3/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Thomas quinn
54 Locke road                                                  RS Legacy Corporation fka RadioShack
Hampton, Nh 03842                         14082      3/16/2016 Corporation                                                     $34.99                                                                                           $34.99
Mark Uyehara
15624 Windrush Dr.                                             RS Legacy Corporation fka RadioShack
Hacienda Heights, CA 91745                14083      3/16/2016 Corporation                                                     $50.00                                                                                           $50.00
Candace Pringle
557 Trinidad Ln                                                RS Legacy Corporation fka RadioShack
Foster City, CA 94404                     14084      3/16/2016 Corporation                                                     $29.42                                                                                           $29.42
Kayla Kuznia
6168 59th Ave. S.                                              RS Legacy Corporation fka RadioShack
Fargo, ND 58104                           14085      3/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Yates Phillips
15 La Vista Drive                                              RS Legacy Corporation fka RadioShack
North Little Rock, AR 72118               14086      3/16/2016 Corporation                                                     $25.00                                                                                           $25.00
Frank bernard
2805 waverly road                                              RS Legacy Corporation fka RadioShack
Flower nound, Tx 75028                    14087      3/16/2016 Corporation                                                     $48.70                                                                                           $48.70
Frank Bernard
2805 waverly road                                              RS Legacy Corporation fka RadioShack
Flower mound, Tx 75028                    14088      3/16/2016 Corporation                                                     $12.98                                                                                           $12.98
Alexander Eisenhart
252 E Crestwood Dr Apt B8                                      RS Legacy Corporation fka RadioShack
Camp Hill, PA 17011                       14089      3/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Mark Matuska
30 E. 38th St. Apt 2D                                          RS Legacy Corporation fka RadioShack
New York, NY 10016                        14090      3/17/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
MAYLAN, ANNA
5997 WILLAMS DR                                                RS Legacy Corporation fka RadioShack
PARADISE, CA 95969                        14091      3/17/2016 Corporation                                                      $0.00                                                                                            $0.00
FERRERO, JOSEPH L.
113 IVYSIDE ESTATES LN                                         RS Legacy Corporation fka RadioShack
ALTOONA, PA 16601                         14092      3/17/2016 Corporation                                                     $78.51                                                                                           $78.51
Johnson, Gloria
13879 Owen Ave                                                 RS Legacy Corporation fka RadioShack
Wattsburg, PA 16442                       14093      3/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Lane, Dawn
12 Dussault Dr.                                                RS Legacy Corporation fka RadioShack
Latham, NY 12110                          14094      3/17/2016 Corporation                                                     $50.00                                                                                           $50.00
Maltese, Arielle
400 East 67th Street, Apt 27c                                  RS Legacy Corporation fka RadioShack
New York, NY 10065                        14095      3/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Kiwanian, Vazken
815 Berkley ST                                                 RS Legacy Corporation fka RadioShack
New Milford, NJ 07646                     14096      3/17/2016 Corporation                                                    $300.00                                                                                          $300.00
JOHNSON, ROBERT E.
107 FAUST                                                      RS Legacy Corporation fka RadioShack
DANVILLE, PA 17821                        14097      3/17/2016 Corporation                                                    $105.99                                                                                          $105.99
Cleveland, Kristal
2010 Bruckner Blvd #14k                                        RS Legacy Corporation fka RadioShack
Bronx, NY 10473                           14098      3/17/2016 Corporation                                                     $21.77                                                                                           $21.77
Jackson, Sherry
340 Aspen Grove LN                                             RS Legacy Corporation fka RadioShack
Guffey, CO 80820                          14099      3/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Ryan, Jennifer
1123 Cleveland Ave                                             RS Legacy Corporation fka RadioShack
Park Hills, KY 41011                      14100      3/17/2016 Corporation                                                      $0.00                                                                                            $0.00
KIRBY, DIGBY
1362 GRAPE ST.                                                 RS Legacy Corporation fka RadioShack
DENVER, CO 80220                          14101      3/17/2016 Corporation                                                     $50.00                                                                                           $50.00
Slaggert, Doug
4604 Flagship Dr #203                                          RS Legacy Corporation fka RadioShack
Ft Myers, FL 33919                        14102      3/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Hanson, Thomas
10077 LINDEN PL DR                                             RS Legacy Corporation fka RadioShack
SEMINOLA, FL 33776                        14103      3/17/2016 Corporation                                                      $0.00                                                                                            $0.00
BRUMBAUGH, BARBARA
2723 ESPY AVENUE                                               RS Legacy Corporation fka RadioShack
PITTSBURGH, PA 15216                      14104      3/17/2016 Corporation                                                     $32.09                                                                                           $32.09
Jacob Bergman
2558 Madison Road Apartment 18                                 RS Legacy Corporation fka RadioShack
Cincinnati, OH 45208                      14105      3/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Moreno, Sarina
7010 south copper bloom ave                                    RS Legacy Corporation fka RadioShack
Tucson, AZ 85756                          14106      3/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Guziak, Cynthia
5439 Ashley Drive                                              RS Legacy Corporation fka RadioShack
Laurys Station, PA 18059                  14107      3/17/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                      Amount                                                     Amount
Rebecca Kinelski
4938 Alto St.                                                  RS Legacy Corporation fka RadioShack
Eureka, CA 95503                          14108      3/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Alyssa Padilla
8861 N New world Dr                                            RS Legacy Corporation fka RadioShack
Glendale, az 85302                        14109      3/17/2016 Corporation                                                     $50.00                                                                                           $50.00
Andrade, Aracel
28004 Perk Lane                                                RS Legacy Corporation fka RadioShack
Harlingen, TX 78552                       14110      3/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Satish Tummala
229 TRUMAN WAY                                                 RS Legacy Corporation fka RadioShack
DOWNINGTOWN, PA 19335                     14111      3/17/2016 Corporation                                                    $100.00                                                                                          $100.00
jennifer heredia
6707 elmer ave #4                                              RS Legacy Corporation fka RadioShack
North Hollywood, Ca 91606                 14112      3/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Jordan Wojkovich
12400 W 94th Court                                             RS Legacy Corporation fka RadioShack
Saint John, IN 46373                      14113      3/17/2016 Corporation                                                     $25.00                                                                                           $25.00
Douglas Thomas
4692 E. Moen Rd.                                               RS Legacy Corporation fka RadioShack
Hayden, ID 83835                          14114      3/17/2016 Corporation                                                      $0.00                                                                                            $0.00
julie siddens
2327 westview road                                             RS Legacy Corporation fka RadioShack
fort collins, co 80524                    14115      3/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Tammy Miranda
1981 schieffelin ave. #3c                                      RS Legacy Corporation fka RadioShack
Bronx, Ny 10466                           14116      3/17/2016 Corporation                                                     $50.00                                                                                           $50.00
Tammy Miranda
1981 schieffelin ave #3c                                       RS Legacy Corporation fka RadioShack
Bronx, Ny 10466                           14117      3/17/2016 Corporation                                                     $20.00                                                                                           $20.00
Emilio Ryan Acosta
2950 Pleasant Ave APT 113                                      RS Legacy Corporation fka RadioShack
Odessa, TX 79764                          14118      3/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael Tripodi
391 Hoffman lane                                               RS Legacy Corporation fka RadioShack
Hauppauge, Ny 11788                       14119      3/18/2016 Corporation                                                     $74.00                                                                                           $74.00
Christine Hanoman
1923 22nd rd                                                   RS Legacy Corporation fka RadioShack
ASTORIA, apt 1 11105                      14120      3/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Cynthia Guziak
5439 Ashley Drive                                              RS Legacy Corporation fka RadioShack
Laurys Station, PA 18059                  14121      3/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Robby Franklin
213 orchid st                                                  RS Legacy Corporation fka RadioShack
Las vgas, nevada 89107                    14122      3/18/2016 Corporation                                                    $352.11                                                                                          $352.11
Fredrick Choi
5888 Brookstone Walk NW                                        RS Legacy Corporation fka RadioShack
Acworth, GA 30101                         14123      3/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Letesha Allen
5001august lane                                                RS Legacy Corporation fka RadioShack
marrero, la 70072                         14124      3/18/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                      Amount                                                     Amount
Penni Sparks
2706 Kamelani Loop                                             RS Legacy Corporation fka RadioShack
Makawao, HI 96768                         14125      3/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Taylor Blome
240 Bracadale Ave                                              RS Legacy Corporation fka RadioShack
Valley Park, MO 63088                     14126      3/18/2016 Corporation                                                     $25.00                                                                                           $25.00
joanne corbin
4652 HICKORY HILLS TRAIL                                       RS Legacy Corporation fka RadioShack
PRIOR LAKE, MN 55372                      14127      3/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Darleen Tankersley
111 Northrup                                                   RS Legacy Corporation fka RadioShack
Midwest city, Oklahoma 73110              14128      3/18/2016 Corporation                                                    $100.00                                                                                          $100.00
Shirly Ignatius
11569 Sandpiper Court                                          RS Legacy Corporation fka RadioShack
Moreno Valley, CA 92557                   14129      3/18/2016 Corporation                                                     $76.00                                                                                           $76.00
WilliamTravis Biggs
512 W. Hickory Street, Suite 201                               RS Legacy Corporation fka RadioShack
Denton, TX 76201                          14130      3/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Laurie Aberle
20208 Marmon St. NE                                            RS Legacy Corporation fka RadioShack
East Bethel, MN 55092                     14131      3/18/2016 Corporation                                                     $30.00                                                                                           $30.00
Robby Franklin
213 Orchid st.                                                 RS Legacy Corporation fka RadioShack
Las Vegas, NV 89107                       14132      3/18/2016 Corporation                                                    $250.00                                                                                          $250.00
Paul Hillier
`112 Blossom St                                                RS Legacy Corporation fka RadioShack
Lake Jackson, tx 77566                    14133      3/18/2016 Corporation                                                    $108.24                                                                                          $108.24
eric pineda
180 e 47th pl                                                  RS Legacy Corporation fka RadioShack
los angeles, ca 90011                     14134      3/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Jim Ward
6433 Irish Hills Dr.                                           RS Legacy Corporation fka RadioShack
Delaware, OH 43015                        14135      3/18/2016 Corporation                                                     $17.54                                                                                           $17.54
Karteena, Rona
PO Box 854                                                     RS Legacy Corporation fka RadioShack
Zuni, NM 87327                            14136      3/18/2016 Corporation                                                      $6.49                                                                                            $6.49
Ochs, Jr, Richard A.
29 Noble St                                                    RS Legacy Corporation fka RadioShack
Westfield, MA 01085                       14137      3/18/2016 Corporation                                                     $25.00                                                                                           $25.00
Gina Tuck
10343 N 2432 Circle                                            RS Legacy Corporation fka RadioShack
Weatherford, OK 73096                     14138      3/18/2016 Corporation                                                     $27.20                                                                                           $27.20
Slaggert, Doug
4604 Flagship Dr #203                                          RS Legacy Corporation fka RadioShack
Ft Myers, FL 33919                        14139      3/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Jones, Keith L.
8303 NW 73rd Street                                            RS Legacy Corporation fka RadioShack
Tamarac, FL 33321                         14140      3/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Bruce Peterson
904 van Rensselaer ave                                         RS Legacy Corporation fka RadioShack
Niagara Falls, Ny 14305                   14141      3/18/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                      Amount                                                     Amount
Christine cortazzo
12704 old bridge 93rd unit 26                                  RS Legacy Corporation fka RadioShack
Ocean city, Md 21842                      14142      3/18/2016 Corporation                                                     $52.99                                                                                           $52.99
Abdullah Al Mamun
5510 13th Ave APT.C2                                           RS Legacy Corporation fka RadioShack
Brooklyn, NY 11219                        14143      3/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Judy Kloner
301 East 69th Street, Apt 6L                                   RS Legacy Corporation fka RadioShack
New York, NY 10021                        14144      3/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Wanda Munroe
186 Plantation Drive                                           RS Legacy Corporation fka RadioShack
Titusville, FL 32780                      14145      3/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert W. Zoeller Jr.
1001 Pine Street                                               RS Legacy Corporation fka RadioShack
Saranac Lake, NY 12983                    14146      3/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Aaron Roth
312 Stepping Stone Way                                         RS Legacy Corporation fka RadioShack
Cape Girardeau, MO 63701                  14147      3/19/2016 Corporation                                                      $0.00                                                                                            $0.00
PATTY STORK
433 E 27th Street                                              RS Legacy Corporation fka RadioShack
South sioux city, Nebraska 68776          14148      3/19/2016 Corporation                                                      $0.00                                                                                            $0.00
PATTY STORK
433 E 27th Street                                              RS Legacy Corporation fka RadioShack
South sioux city, Nebraska 68776          14149      3/19/2016 Corporation                                                      $0.00                                                                                            $0.00
miquelia huth
700 north 1st street apt 46                                    RS Legacy Corporation fka RadioShack
springfield, or 97477                     14150      3/19/2016 Corporation                                                     $14.99                                                                                           $14.99
Paul Carter
500 W Raleigh Street                                           RS Legacy Corporation fka RadioShack
Sanford, NC 27332                         14151      3/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Judy K Tarawneh
824 Bayside Court                                              RS Legacy Corporation fka RadioShack
Novato, Ca 94947                          14152      3/19/2016 Corporation                                                      $0.00                                                                                            $0.00
debra Riffel
11015 n 59th drive                                             RS Legacy Corporation fka RadioShack
glendale, az 85304                        14153      3/19/2016 Corporation                                                     $40.07                                                                                           $40.07
Bill Lucarell
6365 Youngstown Hubbard Road                                   RS Legacy Corporation fka RadioShack
Hubbard, OH 44425                         14154      3/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Lee Johnson
1512 Goshawk Dr                                                RS Legacy Corporation fka RadioShack
Longmont, CO 80504                        14155      3/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Alessandro Garistina
377 Landing Street                                             RS Legacy Corporation fka RadioShack
Lumberton, NJ 08048                       14156      3/20/2016 Corporation                                                     $50.00                                                                                           $50.00
Meg Roback
1401 Inverness Court                                           RS Legacy Corporation fka RadioShack
Reedsburg, wi 53959                       14157      3/20/2016 Corporation                                                     $10.00                                                                                           $10.00
Philip J Friel IV
94 Christian Hill Rd                                           RS Legacy Corporation fka RadioShack
Amherst, NH 03031                         14158      3/20/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount        Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                      Amount
Dawn STewart
301 ‐ 948 Esquimalt Road                                       RS Legacy Corporation fka RadioShack
Victoria, BC V9A6V3                       14159      3/20/2016 Corporation                                                     $10.00                                                                                            $10.00
Sudheendra Galgali
6544 Sunny Dr.                                                 RS Legacy Corporation fka RadioShack
Mason, OH 45040                           14160      3/20/2016 Corporation                                                      $0.00                                                                                             $0.00
Christopher shaw
3970 ingraham street unit 6                                    RS Legacy Corporation fka RadioShack
San diego, California 92109               14161      3/20/2016 Corporation                                                      $0.00                                                                                             $0.00
Gregory Dunn
268 Cary Quadrangle
1016 W. Stadium ave.                                           RS Legacy Corporation fka RadioShack
West Lafayette, IN 47906                  14162      3/20/2016 Corporation                                                      $0.00                                                                                             $0.00
Amber Phillips
301 Gratis Enterprise rd                                       RS Legacy Corporation fka RadioShack
West Alexandria, OH 45381                 14163      3/20/2016 Corporation                                                    $250.00                                                                                           $250.00
tara hagan
590 w main st                                                  RS Legacy Corporation fka RadioShack
pittsboro, in 46167                       14164      3/20/2016 Corporation                                                      $0.00                                                                                             $0.00
Erik Knowles
2274 Kent St.                                                  RS Legacy Corporation fka RadioShack
San Mateo, CA 94403                       14165      3/20/2016 Corporation                                                     $21.81                                                                                            $21.81
Baltej Ludher
2814 Hyde Park Avenue Unit#1                                   RS Legacy Corporation fka RadioShack
Cincinnati, OH 45209                      14166      3/21/2016 Corporation                                                      $0.00                                                                                             $0.00
Hong Dao
7632 El Lobo Circle                                            RS Legacy Corporation fka RadioShack
El Lobo Circle, CA 90623                  14167      3/21/2016 Corporation                                                      $0.00                                                                                             $0.00
Stavros "Steve" Skordilis
23‐74 37th STREET                                              RS Legacy Corporation fka RadioShack
ASTORIA, NY 11105                         14168      3/21/2016 Corporation                                                      $0.00                                                                                             $0.00
Susan Rudecki
20322 First Road                                               RS Legacy Corporation fka RadioShack
Walkerton, Indiana 46574                  14169      3/21/2016 Corporation                                                      $0.00                                                                                             $0.00
Tennessee Department of Revenue
TDOR c/o Attorney General
PO Box 20207                                                   RS Legacy Corporation fka RadioShack
Nashville, TN 37202‐0207                  14170      3/21/2016 Corporation                                                  $9,258.63          $63,603.17                                                                    $72,861.80
Susan Rudecki
20322 First Road                                               RS Legacy Corporation fka RadioShack
Walkerton, Indiana 46574                  14171      3/21/2016 Corporation                                                      $0.00                                                                                             $0.00
Christina ONeal
413 27th Ave North                                             RS Legacy Corporation fka RadioShack
Texas City, TX 77590                      14172      3/21/2016 Corporation                                                     $49.84                                                                                            $49.84
Christina ONeal
413 27th Ave North                                             RS Legacy Corporation fka RadioShack
Texas City, TX 77590                      14173      3/21/2016 Corporation                                                      $0.00                                                                                             $0.00
Seifert, Susan Graham
2855 Sunset Circle                                             RS Legacy Corporation fka RadioShack
Export, PA 15632                          14174      3/18/2016 Corporation                                                     $15.94                                                                                            $15.94




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
richard brown
2345 conners creek circle                                      RS Legacy Corporation fka RadioShack
knoxville, tennessee 37932                14175      3/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Clemons, Laurie
2146 S. 19th St                                                RS Legacy Corporation fka RadioShack
Springfield, IL 62703                     14176      3/21/2016 Corporation                                                     $10.77                                                                                           $10.77
Jackie Gales
15844 Lincoln Road                                             RS Legacy Corporation fka RadioShack
Chesaning, MI. 48616, none none           14177      3/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Alan Bejcek
8122 Fairmount Ave                                             RS Legacy Corporation fka RadioShack
Downers Grove, IL, 60516 8122             14178      3/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Grant Shramek
4220 South 33 Suite D                                          RS Legacy Corporation fka RadioShack
Lincoln, NE 68506                         14179      3/21/2016 Corporation                                                     $50.00                                                                                           $50.00
Lucia Owen
1104 Fort Sumter Court                                         RS Legacy Corporation fka RadioShack
Virginia Beach, VA 23453                  14180      3/21/2016 Corporation                                                     $52.99                                                                                           $52.99
Watanabe, Cheryl
1612 E Haycraft Ave                                            RS Legacy Corporation fka RadioShack
Coeur d'Alene, ID 83815                   14181      3/21/2016 Corporation                                                     $25.00                                                                                           $25.00
Debby
24620 Meadowridge Drive                                        RS Legacy Corporation fka RadioShack
Newhall, CA 91321                         14182      3/21/2016 Corporation                                                      $0.00                                                                                            $0.00
dennis niezwaag
1896 Gilbert St.                                               RS Legacy Corporation fka RadioShack
Charles City, IA 50616                    14183      3/21/2016 Corporation                                                     $20.00                                                                                           $20.00
Anduze, Denise
PO Box 1614                                                    RS Legacy Corporation fka RadioShack
Kingshill, VI 00851‐1614                  14184      3/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Eisenharot, Robert
9739 Gratiot                                                   RS Legacy Corporation fka RadioShack
Columbus, MI 49063                        14185      3/21/2016 Corporation                                                    $105.99                                                                                          $105.99
Duane Miller
4725 71 St                                                     RS Legacy Corporation fka RadioShack
Urbandale, IA 50322                       14186      3/21/2016 Corporation                                                     $84.79                                                                                           $84.79
Omar Vivas
P.O. Box 2698                                                  RS Legacy Corporation fka RadioShack
Amagansett, NY 11930                      14187      3/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Jenilee Lawrence
P.O. Box 336                                                   RS Legacy Corporation fka RadioShack
Laupahoehoe, HI 96764                     14188      3/21/2016 Corporation                                                     $20.00                                                                                           $20.00
Uleaf Metzger
660 Casazza Dr                                                 RS Legacy Corporation fka RadioShack
Reno, NV 89502                            14189      3/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Kathleen Doak
14332 Regency Place                                            RS Legacy Corporation fka RadioShack
Dallas, TX 75254                          14190      3/21/2016 Corporation                                                      $0.00                                                                                            $0.00
KF
1025 320th                                                     RS Legacy Corporation fka RadioShack
Tampa, ks 67483                           14191      3/21/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Richard Trent
70 Alice Road                                                  RS Legacy Corporation fka RadioShack
West Islip, NY 11795                      14192      3/22/2016 Corporation                                                     $50.00                                                                                           $50.00
Yvette Togikawa
3981 Mapu Street                                               RS Legacy Corporation fka RadioShack
Lihue, HI 96766                           14193      3/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Christina Negrete
5151 N Soldier Trail                                           RS Legacy Corporation fka RadioShack
Tucson, AZ 85749                          14194      3/22/2016 Corporation                                                    $100.00                                                                                          $100.00
Gill, Parminder
3339 Yasemite Ave. Apt 2                                       RS Legacy Corporation fka RadioShack
El Cerrito, CA 94530                      14195      3/15/2016 Corporation                                                     $52.00                                                                                           $52.00
Slaggert, Doug
4604 Flagship Dr #203                                          RS Legacy Corporation fka RadioShack
Ft Myers, FL 33919                        14196      3/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Smyth, Cynthia
1505 N. Springfield Av.                                        RS Legacy Corporation fka RadioShack
Rockford, Il 61101                        14197      3/15/2016 Corporation                                                     $26.90                                                                                           $26.90
Wissinger, George
801 Stoneybrook Trl                                            RS Legacy Corporation fka RadioShack
Holley, NY 14470                          14198      3/11/2016 Corporation                                                     $25.00                                                                                           $25.00
Yacoub, Jennifer
5024 Brunswick                                                 RS Legacy Corporation fka RadioShack
Shelby Twp, MI 48316                      14199      3/11/2016 Corporation                                                     $13.24                                                                                           $13.24
Gahafer, Sara M
Po Box 33024                                                   RS Legacy Corporation fka RadioShack
Louisville, KY 40232                      14200      3/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Pierce , Donna
535 N Michigan Ave #3105                                       RS Legacy Corporation fka RadioShack
Chicago, IL 60611                         14201      3/11/2016 Corporation                                                                                                                                                       $0.00
Gonzalez, Irma
P.O. Box 2655                                                  RS Legacy Corporation fka RadioShack
Merced, CA 95344                          14202      3/11/2016 Corporation                                                                                                                                                       $0.00
Hamersky, Kelley
6350 SE Shawnee Hgts Rd                                        RS Legacy Corporation fka RadioShack
Berryton, KS 66409                        14203      3/11/2016 Corporation                                                      $0.00              $0.00                                                                         $0.00
Perretta, Joseph
12 Cotherstone                                                 RS Legacy Corporation fka RadioShack
South Hampton, NJ 08055                   14204      3/10/2016 Corporation                                                    $500.00                                                                                          $500.00
Ling, Lily
PO Box 631175                                                 RS Legacy Corporation fka RadioShack
Houston, TX 77263‐1175                    14205      3/9/2016 Corporation                                                                                                                                                        $0.00
Fenwick, David
53119 Beverly Hills Dr                                        RS Legacy Corporation fka RadioShack
Middlebury, IN 46540                      14206      3/9/2016 Corporation                                                                                                                                                        $0.00
Julie Dutkowsky
1011 Cypress Village Blvd                                      RS Legacy Corporation fka RadioShack
Ruskin, FL 33573                          14207      3/22/2016 Corporation                                                     $32.09                                                                                           $32.09
Jeremy Klam
22411 Smokey Hill Dr.                                          RS Legacy Corporation fka RadioShack
Katy, TX 77450                            14208      3/22/2016 Corporation                                                     $67.13                                                                                           $67.13




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
vidhya varadharajan
Apt 106 , 610 park view drive                                  RS Legacy Corporation fka RadioShack
Santa Clara, CA 95054                     14209      3/22/2016 Corporation                                                      $0.00                                                                                            $0.00
umashankar rajaram
Apt 106 , 610 Park View Drive                                  RS Legacy Corporation fka RadioShack
Santa Clara, CA 95054                     14210      3/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Connie Fueyo
582 Vine Street                                                RS Legacy Corporation fka RadioShack
Oak View, CA 93022                        14211      3/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Alaska Butterfield
286 Tryon Street                                               RS Legacy Corporation fka RadioShack
So. Glastonbury, CT 06073                 14212      3/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Leo Ramos
1865 Webster St                                                RS Legacy Corporation fka RadioShack
Lakewood, CO 80214                        14213      3/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Kenny Jordan Jr
PO Box 491694                                                  RS Legacy Corporation fka RadioShack
Lawrenceville, GA 30049                   14214      3/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          14215      2/18/2016 Corporation                                                                                                                                                       $0.00
Jimi kozlyuk
2451 Ireland rd                                                RS Legacy Corporation fka RadioShack
Brockport, Ny 14420                       14216      3/22/2016 Corporation                                                      $0.00                                                                                            $0.00
TANISHA WALKER
1627 s dixon cir #2                                            RS Legacy Corporation fka RadioShack
CINCINNATI, OH 45224                      14217      3/22/2016 Corporation                                                    $100.00                                                                                          $100.00
Robert Schwartz
11805 S. Fairway Ridge Lane                                    RS Legacy Corporation fka RadioShack
Spokane, WA 99224                         14218      3/22/2016 Corporation                                                     $44.55                                                                                           $44.55
Andrew Nguyen
603 Buyers Road                                                RS Legacy Corporation fka RadioShack
Collegeville, PA 19426                    14219      3/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Richard Wiesen
42 greenfield ave                                              RS Legacy Corporation fka RadioShack
Ballston Spa, NY 12020                    14220      3/22/2016 Corporation                                                     $25.00                                                                                           $25.00
Richard Wiesen
42 Greenfield Avenue                                           RS Legacy Corporation fka RadioShack
Ballston Spa, NY 12020‐2420               14221      3/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Norman LIm
8198 Maddie Court                                              RS Legacy Corporation fka RadioShack
Sacramento, CA 95829                      14222      3/22/2016 Corporation                                                     $25.00                                                                                           $25.00
Curtis Koester
2833 N University Drive
Apt 202                                                        RS Legacy Corporation fka RadioShack
Waukesha, WI 53188                        14223      3/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Shay ford
1558 Emeric avenue                                             RS Legacy Corporation fka RadioShack
Simi Valley, Ca 93065                     14224      3/23/2016 Corporation                                                    $500.00                                                                                          $500.00
Sweetnam, Sherry
11587 Kimball Ave. NW                                         RS Legacy Corporation fka RadioShack
Annandale, MN 55302‐2953                  14225      3/4/2016 Corporation                                                                                                                                                        $0.00




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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Claim Docketed In Error                                       RS Legacy Corporation fka RadioShack
                                          14226      3/7/2016 Corporation                                                                                                                                                       $0.00
Velasco, Denise
PO Box 2705                                                   RS Legacy Corporation fka RadioShack
Ewa Beach , HI 96706                      14227      3/7/2016 Corporation                                                    $100.00                                                                                          $100.00
Mathieu, Ernest J.
1286 Granby Road                                              RS Legacy Corporation fka RadioShack
Chicopee, MA 01020                        14228      3/7/2016 Corporation                                                                                                                                                       $0.00
Marchewka, Judith & Ronald
3202 W. State Street
New Castle                                                    RS Legacy Corporation fka RadioShack
, PA 16101                                14229      3/7/2016 Corporation                                                     $16.53                                                                                           $16.53
Hanson, Robin
PO Box 519                                                    RS Legacy Corporation fka RadioShack
Alton Bay, NH 03810                       14230      3/7/2016 Corporation                                                     $25.00                                                                                           $25.00
Smith, Stacy
3411 Varnum Street                                            RS Legacy Corporation fka RadioShack
Brentwood , MD 20722                      14231      3/7/2016 Corporation                                                     $30.00                                                                                           $30.00
Hargrove, Regina
1204 NE Quail Creek Rd.                                       RS Legacy Corporation fka RadioShack
Lawton, OK 73507                          14232      3/7/2016 Corporation                                                                                                                                                       $0.00
Hessley, Cheryl John
145 W. Volusia LN                                             RS Legacy Corporation fka RadioShack
CoCoa Beach, FL 32931                     14233      3/7/2016 Corporation                                                                                                                                                       $0.00
THOMPSON, LEANN
47608 207TH ST.                                               RS Legacy Corporation fka RadioShack
AURORA, SD 57002                          14234      3/7/2016 Corporation                                                                                                                                                       $0.00
Carton, Carolyn
30695 Kevin Court                                             RS Legacy Corporation fka RadioShack
Osceola, IN 46561                         14235      3/9/2016 Corporation                                                                                                                                                       $0.00
Zawoysky, Barbara
27 Whites Rd                                                  RS Legacy Corporation fka RadioShack
Washington, NJ 07882                      14236      3/9/2016 Corporation                                                                                                                                                       $0.00
Rodriguez, Jeanette
11587 57th St Cir E                                           RS Legacy Corporation fka RadioShack
Parrish, FL 34219                         14237      3/9/2016 Corporation                                                                                                                                                       $0.00
Coats, Gordon E
15881 McClellan Drive, Apt B4                                 RS Legacy Corporation fka RadioShack
                                          14238      3/9/2016 Corporation                                                                                                                                                       $0.00
Claim Docketed In Error                                       RS Legacy Corporation fka RadioShack
                                          14239      3/7/2016 Corporation                                                                                                                                                       $0.00
Batista, Bettina E.
610 Redlands Place                                            RS Legacy Corporation fka RadioShack
Bonita, CA 91902                          14240      3/9/2016 Corporation                                                     $25.76                                                                                           $25.76
Chathadi, Krishnavel V
50687 Northstar Way                                           RS Legacy Corporation fka RadioShack
Northville, MI 48168                      14241      3/9/2016 Corporation                                                                                                                                                       $0.00
Claim Docketed In Error                                       RS Legacy Corporation fka RadioShack
                                          14242      3/7/2016 Corporation                                                                                                                                                       $0.00
Hare, Phyllis
5107 Bandmall Hill Rd                                         RS Legacy Corporation fka RadioShack
West Minster , MD 21158                   14243      3/9/2016 Corporation                                                     $26.99                                                                                           $26.99



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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Chadwick, Robert
128 E. Benpdict Av.                                           RS Legacy Corporation fka RadioShack
Havertown, PA 198083                      14244      3/9/2016 Corporation                                                                                                                                                        $0.00
Pedaline, Julie
303 Wissner Ave.                                              RS Legacy Corporation fka RadioShack
Beaver Falls, PA 15010                    14245      3/9/2016 Corporation                                                      $50.00                                                                                           $50.00
Jennifer Mizack
114 Scenic Ridge Drive                                         RS Legacy Corporation fka RadioShack
Venetia, PA 15367                         14246      3/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Cannon, June
11633 Quarter Horse TRI                                        RS Legacy Corporation fka RadioShack
Austin , TX 78750                         14247      3/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Kevin O'Connor
31 East St                                                     RS Legacy Corporation fka RadioShack
Pepperell, MA 01463                       14248      3/23/2016 Corporation                                                     $53.11                                                                                           $53.11
Karkoski, Kim
830 Tupelo Glen Court                                         RS Legacy Corporation fka RadioShack
Fuquay Varina , NC 27526                  14249      3/9/2016 Corporation                                                      $26.66                                                                                           $26.66
Harken, Larry W
4976 GulfGate LN                                               RS Legacy Corporation fka RadioShack
St James City , FL 33956                  14250      3/7/2016 Corporation                                                                                                                                                        $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          14251      5/11/2016 Corporation                                                                                                                                                       $0.00
Diercks, Susie
1217 Elm St                                                    RS Legacy Corporation fka RadioShack
Oelwein, IA 50662                         14252      3/18/2016 Corporation                                                     $16.36                                                                                           $16.36
Vitti, Ralph
9 Oneida Circle                                                RS Legacy Corporation fka RadioShack
Winchester, MA 01890                      14253      3/18/2016 Corporation                                                     $37.18                                                                                           $37.18
Fleeson, Anne
240 Fox Ridge Circle                                           RS Legacy Corporation fka RadioShack
Lewisville, NC 27023                      14254      3/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Sanzone, Edna S
23 Victoria Circle                                             RS Legacy Corporation fka RadioShack
E. Patchoque, NY 11772                    14255      3/18/2016 Corporation                                                    $108.61                                                                                          $108.61
Flippo, Donald E.
918 Reed Canal Rd                                              RS Legacy Corporation fka RadioShack
S. Daytona, FL 32119                      14256      3/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Teresa Tancredi
4720 SW 62 Way, #303                                           RS Legacy Corporation fka RadioShack
Davie, FL 33314                           14257      3/23/2016 Corporation                                                  $4,238.00                                                                                        $4,238.00
Cruea, Steven D.
261 Big Timber Dr.                                             RS Legacy Corporation fka RadioShack
Lexington, SC 29073                       14258      3/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Nowell, Copeland
111 Beechwood Drive                                            RS Legacy Corporation fka RadioShack
Hattiesburg, MS 39402                     14259      3/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Hope Pasqualini
51
Prospect Ridge #4                                              RS Legacy Corporation fka RadioShack
Ridgefield, CT 06877                      14260      3/23/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Tennessee Department of Revenue
TDOR c/o Attorney General
PO Box 20207                                                   RS Legacy Corporation fka RadioShack
Nashville, TN 37202‐0207                  14261      3/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Pabon, Luis
79 West 182nd St #52B                                          RS Legacy Corporation fka RadioShack
Bronx, NY 10453                           14262      3/23/2016 Corporation                                                    $141.53                                                                                          $141.53
Ryan Scardigli
205 S State St                                                 RS Legacy Corporation fka RadioShack
Ann Arbor, MI 48104                       14263      3/23/2016 Corporation                                                     $32.31                                                                                           $32.31
Dave Thomas
9053 Merrifield St                                             RS Legacy Corporation fka RadioShack
Orlando, FL 32827                         14264      3/23/2016 Corporation                                                     $50.00                                                                                           $50.00
Servideo, Frank
7 Winchester Ave.                                              RS Legacy Corporation fka RadioShack
Worcester, MA 06103‐1531                  14265      3/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Lewis, Patricia
103 Ouachita 326                                               RS Legacy Corporation fka RadioShack
Chidester, AR 71726                       14266      3/23/2016 Corporation                                                     $65.84                                                                                           $65.84
Dulak, Arnold
15215 E. Hillside Dr.                                          RS Legacy Corporation fka RadioShack
Fountain Hills, AZ 85268                  14267      3/23/2016 Corporation                                                      $7.97                                                                                            $7.97
Hoffman, Louis
5205 Lotus Way                                                 RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15201                      14268      3/23/2016 Corporation                                                     $35.00                                                                                           $35.00
Lisa Hertel
93 Greenwood Rd                                                RS Legacy Corporation fka RadioShack
Andover, MA 01810                         14269      3/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Darlene Frenock
1500 Brock Creek Drive                                         RS Legacy Corporation fka RadioShack
Yardley, PA 19067                         14270      3/23/2016 Corporation                                                      $9.54                                                                                            $9.54
Darlene Frenock
1500 Brock Creek Drive                                         RS Legacy Corporation fka RadioShack
Yardley, PA 19067                         14271      3/23/2016 Corporation                                                     $31.27                                                                                           $31.27
Darlene Frenock
1500 Brock Creek Drive                                         RS Legacy Corporation fka RadioShack
Yardley, PA 19067                         14272      3/23/2016 Corporation                                                     $13.77                                                                                           $13.77
Emily Carmello
900 Abruzzi Drive, Apt 203                                     RS Legacy Corporation fka RadioShack
Chester, MD 21619                         14273      3/23/2016 Corporation                                                      $0.00                                                                                            $0.00
DANNETTE CROW
33125 15TH AVE S                                               RS Legacy Corporation fka RadioShack
FEDERAL WAY, wa 98003                     14274      3/23/2016 Corporation                                                     $54.72                                                                                           $54.72
Jaclyn cook
1870 freedom drive                                             RS Legacy Corporation fka RadioShack
29414, Charleston Sc                      14275      3/23/2016 Corporation                                                     $92.43                                                                                           $92.43
Elizabeth Johnston
4454 Hillcrest Dr. Apt. C                                      RS Legacy Corporation fka RadioShack
Madison, WI 53705                         14276      3/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Maren P. Schukai
171 pier ave #493                                              RS Legacy Corporation fka RadioShack
Santa Monica, Ca 90405                    14277      3/24/2016 Corporation                                                      $0.00                                                                                            $0.00



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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Maren P. Schukai
171 Pier ave #493                                              RS Legacy Corporation fka RadioShack
Santa Monica, CA 90405                    14278      3/24/2016 Corporation                                                     $25.00                                                                                           $25.00
Yetunde Okediji
4714 Bellows View Drive                                        RS Legacy Corporation fka RadioShack
Katy, Texas 77494                         14279      3/24/2016 Corporation                                                     $54.11                                                                                           $54.11
Ducor , Don
238 East Hill Rd                                               RS Legacy Corporation fka RadioShack
Canton, Ct 06019                          14280      3/24/2016 Corporation                                                      $6.37                                                                                            $6.37
Tadlock, Nancy
2753 Ramone Street                                             RS Legacy Corporation fka RadioShack
Palo Alto, CA 94306                       14281      3/24/2016 Corporation                                                     $25.00                                                                                           $25.00
Jessica Carasa
11785 Tara Ln                                                  RS Legacy Corporation fka RadioShack
Adelanto, CA 92301                        14282      3/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Ford, Stephanie
105 Ellington St                                               RS Legacy Corporation fka RadioShack
Cantonment , FL 32533                     14283      3/22/2016 Corporation                                                     $50.00                                                                                           $50.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          14284      5/11/2016 Corporation                                                                                                                                                       $0.00
Locklear, Barbara
11261 McKenzie Rd                                              RS Legacy Corporation fka RadioShack
Laurinburg, NC 28352                      14285      3/24/2016 Corporation                                                     $33.00                                                                                           $33.00
Mclean, Annette
13128 Linden                                                   RS Legacy Corporation fka RadioShack
New Orleans, LA                           14286      3/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Rogers, Cheryl
16610 Burnell Oak Lane                                         RS Legacy Corporation fka RadioShack
Houston, Tx 77090                         14287      3/24/2016 Corporation                                                  $1,614.00                                                                                        $1,614.00
jeffrey hagar
1150 patricia lane                                             RS Legacy Corporation fka RadioShack
osage beach, mo 65065                     14288      3/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Marquis Scruggs
9404 Ives Street                                               RS Legacy Corporation fka RadioShack
Bellflower, CA 90706                      14289      3/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Carole Hopkins
2039 Lonnie Lane                                               RS Legacy Corporation fka RadioShack
Dayton, NV 89403                          14290      3/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Lynda K Watkins
204 Westerholdt St.                                            RS Legacy Corporation fka RadioShack
East Alton, IL 62024                      14291      3/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Jessica Cortez
438 Pruitt                                                     RS Legacy Corporation fka RadioShack
San Antonio, Texas 78204                  14292      3/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Sharon Wood
26571 Pariso                                                   RS Legacy Corporation fka RadioShack
Mission Viejo, CA 92691                   14293      3/24/2016 Corporation                                                     $32.31                                                                                           $32.31
Ian Shelton
2580 Gregory Drive                                             RS Legacy Corporation fka RadioShack
Carlsbad, CA 92008                        14294      3/24/2016 Corporation                                                     $19.57                                                                                           $19.57




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Izabela Kusmirek
34 N6th street apt.s4o                                         RS Legacy Corporation fka RadioShack
Brooklyn, NY 11211                        14295      3/24/2016 Corporation                                                    $250.00                                                                                          $250.00
Marc Tucci
2240 Independence Drive                                        RS Legacy Corporation fka RadioShack
Austin, TX 78745                          14296      3/24/2016 Corporation                                                      $0.00                                                                                            $0.00
deangelo brown
3236 kelox rd                                                  RS Legacy Corporation fka RadioShack
baltimore, md 21207                       14297      3/24/2016 Corporation                                                     $25.00                                                                                           $25.00
Lane Thomas Iverson
170 Landale Ln.                                                RS Legacy Corporation fka RadioShack
El Cajon, CA 92019                        14298      3/24/2016 Corporation                                                     $40.00                                                                                           $40.00
Katie Cronin
1652 olivers crossing cir                                      RS Legacy Corporation fka RadioShack
Winston salem, NC 27127                   14299      3/24/2016 Corporation                                                      $0.00                                                                                            $0.00
loida milanio
3535 Fenway DR.                                                RS Legacy Corporation fka RadioShack
Sarasota, FL 34232                        14300      3/24/2016 Corporation                                                     $99.00                                                                                           $99.00
Steven Gilboy
427 Ridge Rd                                                   RS Legacy Corporation fka RadioShack
Stroudsburg, PA 18360                     14301      3/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Ian James
451 Summit View Place                                          RS Legacy Corporation fka RadioShack
Stone Mountain, GA 30087                  14302      3/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Ira Monashkin
12192 188th st n                                               RS Legacy Corporation fka RadioShack
Jupiter, Fl 33478                         14303      3/25/2016 Corporation                                                      $0.00                                                                                            $0.00
David B. Berger
18040 Wayne Road                                               RS Legacy Corporation fka RadioShack
Livonia, MI 48152                         14304      3/25/2016 Corporation                                                     $50.00                                                                                           $50.00
David B. Berger
18040 Wayne Road                                               RS Legacy Corporation fka RadioShack
Livonia, MI 48152                         14305      3/25/2016 Corporation                                                      $0.00                                                                                            $0.00
cindy knauff
3595 county rd 140                                             RS Legacy Corporation fka RadioShack
barnum, mn 55707                          14306      3/25/2016 Corporation                                                     $91.05                                                                                           $91.05
Lori Glasgow
2411 255th St                                                  RS Legacy Corporation fka RadioShack
Oskaloosa, IA 52577                       14307      3/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Brittany Tolentino
6582 Old Middleburg Rd S                                       RS Legacy Corporation fka RadioShack
Jacksonville, FL 32222                    14308      3/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Brittany Tolentino
6582 Old Middleburg Rd S                                       RS Legacy Corporation fka RadioShack
Jacksonville, FL 32222                    14309      3/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Dennis Edgar
66441 ‐ 240th avenue                                           RS Legacy Corporation fka RadioShack
Kasson, MN 55944                          14310      3/25/2016 Corporation                                                     $41.87                                                                                           $41.87
Dennis Edgar
66441 ‐ 240th avenue                                           RS Legacy Corporation fka RadioShack
Kasson, MN 55944                          14311      3/25/2016 Corporation                                                     $41.87                                                                                           $41.87




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Daniel Widrich
3451 Kleybolte Ave #9                                          RS Legacy Corporation fka RadioShack
Cincinnati, OH 45226                      14312      3/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Neil Sperling
3637 Woodhill Dr.                                              RS Legacy Corporation fka RadioShack
Brandon, Fl, 33511, Fl 33511              14313      3/25/2016 Corporation                                                     $25.00                                                                                           $25.00
Terry Mott
1570 Huntington                                                RS Legacy Corporation fka RadioShack
Grosse Pointe Woods, mi 48236             14314      3/25/2016 Corporation                                                      $0.00                                                                                            $0.00
laura bentley
2545 N 83rd Ave APT 2140                                       RS Legacy Corporation fka RadioShack
Phoenix, Az 85035                         14315      3/25/2016 Corporation                                                      $0.00                                                                                            $0.00
James Conenello
17 Trescott Path                                               RS Legacy Corporation fka RadioShack
Fort Salonga, NY 11768                    14316      3/25/2016 Corporation                                                      $0.00                                                                                            $0.00
John M. Kodash
625 S. Penn St.                                                RS Legacy Corporation fka RadioShack
Frackville, PA 17931                      14317      3/25/2016 Corporation                                                  $2,500.00                                                                                        $2,500.00
Ruth Drews
45 Richmond Ave.                                               RS Legacy Corporation fka RadioShack
New Haven, CT 06515                       14318      3/25/2016 Corporation                                                     $31.79                                                                                           $31.79
Earl Van Rumund
192 Pomeroy Avenue                                             RS Legacy Corporation fka RadioShack
Pittsfield, MA 01201                      14319      3/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Mitesh Soni
3025 Belize Way                                                RS Legacy Corporation fka RadioShack
Union City, CA 94587                      14320      3/25/2016 Corporation                                                     $10.74                                                                                           $10.74
Eric Van Winkle
4567 Skipping Rock Court                                       RS Legacy Corporation fka RadioShack
Zionsville, IN 46077                      14321      3/25/2016 Corporation                                                      $0.00                                                                                            $0.00
akisha clay
5005 royal lake avee                                           RS Legacy Corporation fka RadioShack
las vegas, nv 89131                       14322      3/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Timothy C. Smith
1120 North St.                                                 RS Legacy Corporation fka RadioShack
Caldwell, Ohio 43724                      14323      3/25/2016 Corporation                                                     $50.00                                                                                           $50.00
Angelica Batz‐Menchu
1808 Shuler Avenue                                             RS Legacy Corporation fka RadioShack
Hamilton, Ohio 45011                      14324      3/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Cheryl Lecy
22603 West Martin Lake Dr                                      RS Legacy Corporation fka RadioShack
Stacy, MN 55079                           14325      3/25/2016 Corporation                                                     $16.06                                                                                           $16.06
Cheryl Lecy
22603 West Martin Lake Dr                                      RS Legacy Corporation fka RadioShack
Stacy, MN 55079                           14326      3/25/2016 Corporation                                                     $21.39                                                                                           $21.39
Jason Stephens
2525 Burnt Hickory Rd NW                                       RS Legacy Corporation fka RadioShack
Marietta, Ga 30064                        14327      3/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Cesar montano
70 Grant Street                                                RS Legacy Corporation fka RadioShack
Port Chester, New York 10573              14328      3/26/2016 Corporation                                                     $60.00                                                                                           $60.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
steven pace
40 hillside ave                                                RS Legacy Corporation fka RadioShack
northport, ny 11768                       14329      3/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Eric Raley
817 Hibiscus Drive                                             RS Legacy Corporation fka RadioShack
Redlands, CA 92373                        14330      3/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Aaron Copeland
27 Penny Ln                                                    RS Legacy Corporation fka RadioShack
Pawleys Isl, SC 29585                     14331      3/26/2016 Corporation                                                     $25.00                                                                                           $25.00
Brian mealey
407 West Clinton                                               RS Legacy Corporation fka RadioShack
Indianola, Iowa 50125                     14332      3/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Dipti Patel
6441 Carson Dr.                                                RS Legacy Corporation fka RadioShack
Olive Branch, MS 38654                    14333      3/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Tamara Richardson
P.O. Box 916                                                   RS Legacy Corporation fka RadioShack
Trinidad, CA 95570                        14334      3/26/2016 Corporation                                                     $16.23                                                                                           $16.23
Garen Ramyan
814 Spencer St apt B                                           RS Legacy Corporation fka RadioShack
REDONDO BEACH, CA 90277                   14335      3/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Maria suarez
886 s Philadelphia st #B                                       RS Legacy Corporation fka RadioShack
Anaheim, cA 92805                         14336      3/26/2016 Corporation                                                     $45.00                                                                                           $45.00
Alana McDowell
3122 8th Street                                                RS Legacy Corporation fka RadioShack
Boulder, Colorado 80304                   14337      3/26/2016 Corporation                                                     $50.00                                                                                           $50.00
Ricky herring
1439 County Road 816                                           RS Legacy Corporation fka RadioShack
Nacogdoches, texas 75964                  14338      3/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Stanton Bullock
5036 Massachusetts Ave., NW                                    RS Legacy Corporation fka RadioShack
Washington, DC 20016                      14339      3/27/2016 Corporation                                                      $0.00                                                                                            $0.00
RANJIT SHENOY
PO box 929                                                     RS Legacy Corporation fka RadioShack
keyser, wv 26726                          14340      3/27/2016 Corporation                                                      $0.00                                                                                            $0.00
William R Fant, III
451 Bent Tree Road                                             RS Legacy Corporation fka RadioShack
Starkville, MS 39759                      14341      3/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Steve Doucette
18200 SE 24th Way                                              RS Legacy Corporation fka RadioShack
Vancouver, WA 98683                       14342      3/27/2016 Corporation                                                     $27.09                                                                                           $27.09
Lo Fong Saeteurn
5943 S Fountain St                                             RS Legacy Corporation fka RadioShack
Seattle, WA 98178                         14343      3/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Jim Cashman
10107 Chestnut Cir N                                           RS Legacy Corporation fka RadioShack
Brooklyn Park, MN 55443                   14344      3/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Samuel Foskuhl
2466 Kewanna Lane                                              RS Legacy Corporation fka RadioShack
Beavercreek, Ohio 45434                   14345      3/27/2016 Corporation                                                     $40.00                                                                                           $40.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Kelly Crisologo
PO Box 2390                                                    RS Legacy Corporation fka RadioShack
San Ramon, CA 94583                       14346      3/28/2016 Corporation                                                    $100.00                                                                                          $100.00
Spencer D. Kelly
1425 Coconino Rd Apt. 110                                      RS Legacy Corporation fka RadioShack
Ames, Iowa 50014                          14347      3/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Dustin jackson
1113 sw.58th st                                                RS Legacy Corporation fka RadioShack
oklahoma city, Ok 73109                   14348      3/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Renee Smith
7475 Flying Cloud Dr, #353                                     RS Legacy Corporation fka RadioShack
Eden Prairie, MN 55344                    14349      3/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Jennifer Noyes
29681 Westfield dr                                             RS Legacy Corporation fka RadioShack
Harvest, al 35749                         14350      3/28/2016 Corporation                                                      $0.00                                                                                            $0.00
cgtest
test                                                           RS Legacy Corporation fka RadioShack
tx, fd ddddd                              14351      3/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Jackson Barr
82 West 15th Avenue                                            RS Legacy Corporation fka RadioShack
Eugene, Oregon 97401                      14352      3/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Carol Ginsburg
11415 Rose Avenue                                              RS Legacy Corporation fka RadioShack
Los Angeles, CA 90066                     14353      3/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Chris Naughton
7435 Bluestone Rd                                              RS Legacy Corporation fka RadioShack
San Antonio, Texas 78249‐3658             14354      3/28/2016 Corporation                                                      $0.00                                                                                            $0.00
jeff c adams
405 north jefferson                                            RS Legacy Corporation fka RadioShack
springfield, mo 65806                     14355      3/28/2016 Corporation                                                      $0.00                                                                                            $0.00
cynthia burch
106 sunset way                                                 RS Legacy Corporation fka RadioShack
fruitland park, fl 34731                  14356      3/28/2016 Corporation                                                      $4.80                                                                                            $4.80
hoyt morgan
941 silvermine road                                            RS Legacy Corporation fka RadioShack
new canaan, ct 06840                      14357      3/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Tiffany Twilligear
3429 blue ash lane                                             RS Legacy Corporation fka RadioShack
las vegas, NV 89122                       14358      3/28/2016 Corporation                                                    $112.31                                                                                          $112.31
Spennato , Nicholas A.
1406 Ratcliffe Court                                           RS Legacy Corporation fka RadioShack
Newtown Sq , PA 19073                     14359      3/28/2016 Corporation                                                     $27.18                                                                                           $27.18
Hennady Shulha
PO Box 5184                                                    RS Legacy Corporation fka RadioShack
Bellingham, WA 98227                      14360      3/28/2016 Corporation                                                      $0.00                                                                                            $0.00
WILLIAM MCDERMOTT
3081 ARMOURDALE AVENUE                                         RS Legacy Corporation fka RadioShack
LONG BEACH, CA 90808                      14361      3/28/2016 Corporation                                                     $25.00                                                                                           $25.00
John K Lane
572 S Nome St                                                  RS Legacy Corporation fka RadioShack
Aurora, CO 80012                          14362      3/28/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Ticely Funches
3768 S Rio Grande Ave                                          RS Legacy Corporation fka RadioShack
Orlando, Fl 32839                         14363      3/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Lori Boutot
235 Town Hill Road                                             RS Legacy Corporation fka RadioShack
Terryville, CT 06786                      14364      3/28/2016 Corporation                                                     $42.79                                                                                           $42.79
Steve Antonoff
1403 Logan Cir                                                 RS Legacy Corporation fka RadioShack
Marietta, GA 30062                        14365      3/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Vicki Shrontz
44 Noel Drive                                                  RS Legacy Corporation fka RadioShack
Rochester, NY 14606                       14366      3/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert Burke
110 Gaskill Ave                                                RS Legacy Corporation fka RadioShack
Punxsutawney, PA 15767                    14367      3/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Gerald Hom
7107 NANSEN STREET                                             RS Legacy Corporation fka RadioShack
FOREST HILLS, New York 11375              14368      3/29/2016 Corporation                                                    $100.00                                                                                          $100.00
Miles
109 Hoffman AVE                                                RS Legacy Corporation fka RadioShack
San Francisco, CA 94114                   14369      3/29/2016 Corporation                                                     $25.00                                                                                           $25.00
Akiko Dunn
20 Pine Avenue                                                 RS Legacy Corporation fka RadioShack
Cohoes, NY 12047                          14370      3/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Peter Koury
5231 E County Hwy 30A, Unit E                                  RS Legacy Corporation fka RadioShack
Santa Rosa Beach, Fl 32459                14371      3/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Tanayah Brown
718 ashby dr                                                   RS Legacy Corporation fka RadioShack
palo alto, ca 94301                       14372      3/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Vincent C Smith
38 Hamilton Street                                             RS Legacy Corporation fka RadioShack
Madison, NJ 07940                         14373      3/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Trisha Morrison
5229 North Seventh Avenue, Suite 103                           RS Legacy Corporation fka RadioShack
Phoenix, AZ 85013‐1964                    14374      3/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Thomas Shannon
261 University Ave. E. #602                                    RS Legacy Corporation fka RadioShack
Saint Paul, Minnesota 55130               14375      3/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Ashley Y Raya
5479 Cypress Rd. Apt. 101                                      RS Legacy Corporation fka RadioShack
Oxnard, CA 93033                          14376      3/29/2016 Corporation                                                      $0.00                                                                                            $0.00
David Loos
107 Sycamore Lane                                              RS Legacy Corporation fka RadioShack
Washington, PA 15301                      14377      3/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Patrick Gayle
18527 Brigantine Creek                                         RS Legacy Corporation fka RadioShack
San Antonio, TX 78259                     14378      3/29/2016 Corporation                                                     $25.00                                                                                           $25.00
Sangmee Kim
271 11th ST., Unit #B                                          RS Legacy Corporation fka RadioShack
Palisades Park, NJ 07650                  14379      3/30/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Maribel Garcia
208 N. Linda St.                                               RS Legacy Corporation fka RadioShack
Misssion, Texas 78573                     14380      3/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Ken Davey
496 Locust Lane                                                RS Legacy Corporation fka RadioShack
Moab, UT 84532                            14381      3/30/2016 Corporation                                                      $0.00                                                                                            $0.00
HENRY H TOCORA
268 Hillview Ave Apt. A                                        RS Legacy Corporation fka RadioShack
EL PASO, TX 79932                         14382      3/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Audra Andrew
1280 CR 1505                                                   RS Legacy Corporation fka RadioShack
Bonham, tx 75418                          14383      3/30/2016 Corporation                                                      $0.00                                                                                            $0.00
James. Fackler
3990 Gaines Basin rd                                           RS Legacy Corporation fka RadioShack
Albion, New York                          14384      3/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Conner Herman
4555 Dexter St NW                                              RS Legacy Corporation fka RadioShack
Washington, DC 20007                      14385      3/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Brady , Matthew
6615 Melrose Ave #4                                            RS Legacy Corporation fka RadioShack
Los Angeles, CA 90038                     14386      3/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Williams, Daryle
1231 S Street NW                                               RS Legacy Corporation fka RadioShack
Washington, DC 20009                      14387      3/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Donnelly, Pat
501 Cushman Ave                                                RS Legacy Corporation fka RadioShack
Williamstown, NJ 08094                    14388      3/30/2016 Corporation                                                     $25.00                                                                                           $25.00
James, Terrie
900 Orondo Ave                                                 RS Legacy Corporation fka RadioShack
Wenatchee, WA 98801                       14389      3/30/2016 Corporation                                                     $12.14                                                                                           $12.14
Perry, Tanya
159 Stroud Road                                                RS Legacy Corporation fka RadioShack
McDonough, GA 30252                       14390      3/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Green, Eric L.
8002 Wish Ct                                                   RS Legacy Corporation fka RadioShack
Indianapolis, IN 46268                    14391      3/30/2016 Corporation                                                     $47.07                                                                                           $47.07
Barbee, Charlie
11801 Kingsgate Dr                                             RS Legacy Corporation fka RadioShack
Oklahoma City, OK 73170                   14392      3/30/2016 Corporation                                                     $54.18                                                                                           $54.18
SHEPPARD, CLIFTON L.
966 ST. RT. 124                                                RS Legacy Corporation fka RadioShack
NEW VIENNA, OH 45159                      14393      3/30/2016 Corporation                                                      $0.00                                                                                            $0.00
DEVENNEY, JOHN J.
1102 HARVEST LANE                                              RS Legacy Corporation fka RadioShack
NORTH WALES, PA 19454                     14394      3/30/2016 Corporation                                                      $6.34                                                                                            $6.34
Barber, Debra Renee
PO Box 1527                                                    RS Legacy Corporation fka RadioShack
Addison, TX 75001                         14395      3/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Hudson, Lisa A.
1005 Hill Meadow Place                                         RS Legacy Corporation fka RadioShack
Danville, CA 94526                        14396      3/30/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Cantrell, Theressa
1618 NW 32nd St                                                RS Legacy Corporation fka RadioShack
Lawton, OK 73505                          14397      3/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Bane, Micheal J.
24A Westborough St                                             RS Legacy Corporation fka RadioShack
Worcester, MA 01604                       14398      3/30/2016 Corporation                                                     $31.89                                                                                           $31.89
Quiles, Gladys
HC 05 box 31588                                                RS Legacy Corporation fka RadioShack
Hatillo, PR 00659                         14399      3/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Saba, Micheal W.
PO Box 278                                                     RS Legacy Corporation fka RadioShack
Crystal Bay, NV 89402                     14400      3/30/2016 Corporation                                                     $40.73                                                                                           $40.73
Swenson, Travis
6016 Eden Prairie                                              RS Legacy Corporation fka RadioShack
Minnetonka, MN 55345                      14401      3/30/2016 Corporation                                                    $138.93                                                                                          $138.93
Johnson, George L.
PO Box #5                                                      RS Legacy Corporation fka RadioShack
Garham, NY 14461                          14402      3/29/2016 Corporation                                                     $21.50                                                                                           $21.50
Martin, Miller
26 High Plain Rd                                               RS Legacy Corporation fka RadioShack
Andover, MA 01810                         14403      3/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Vaiciunas, Nitza
1471 NE 28th CT                                                RS Legacy Corporation fka RadioShack
Pompano Beach, FL 33064                   14404      3/30/2016 Corporation                                                     $20.00                                                                                           $20.00
FABBRINI, THOMAS
PO BOX 23                                                      RS Legacy Corporation fka RadioShack
CRYSTAL LAKE, IL 60039‐0023               14405      3/30/2016 Corporation                                                     $76.38                                                                                           $76.38
Bloom, Micah
511 Main St S                                                  RS Legacy Corporation fka RadioShack
Minot, ND 58701                           14406      3/30/2016 Corporation                                                     $59.90                                                                                           $59.90
Fix, Shana
8082 Yorktown Ave Unit 112                                     RS Legacy Corporation fka RadioShack
Huntington Beach, CA 92646                14407      3/30/2016 Corporation                                                    $150.00                                                                                          $150.00
Martin, Mildred
48 Randall St                                                  RS Legacy Corporation fka RadioShack
Portland, ME 04103                        14408      3/29/2016 Corporation                                                    $165.00                                                                                          $165.00
Ardjmand, Shahrzad
3114 Via Valesco                                               RS Legacy Corporation fka RadioShack
Escondido, CA 92029                       14409      3/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          14410      3/7/2016 Corporation                                                                                                                                                        $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          14411      5/11/2016 Corporation                                                                                                                                                       $0.00
Zachary Edwards
420 Fernwood Dr.                                               RS Legacy Corporation fka RadioShack
Ashland, OR 97520                         14412      3/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Asif Merchant
4351 189th ave se                                              RS Legacy Corporation fka RadioShack
issaquah, wa 98027                        14413      3/30/2016 Corporation                                                     $44.00                                                                                           $44.00
Mark Baumgartner
13375 1st PL N                                                 RS Legacy Corporation fka RadioShack
Maple Grove, MN 55369                     14414      3/30/2016 Corporation                                                     $10.72                                                                                           $10.72



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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Mill Floyd
29215 Hillary Lane                                             RS Legacy Corporation fka RadioShack
Elkhart, Indiana 46517                    14415      3/30/2016 Corporation                                                     $10.60                                                                                           $10.60
Melissa Osborn
1225 Hibiscus St                                               RS Legacy Corporation fka RadioShack
Atlantic Beach, FL 32233                  14416      3/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Kristine Wadzinski
3522 12th St                                                   RS Legacy Corporation fka RadioShack
Columbus, NE 68601                        14417      3/30/2016 Corporation                                                     $64.19                                                                                           $64.19
DJ WINTER
38 PEACH AVE                                                   RS Legacy Corporation fka RadioShack
HERSHEY, PA 17033                         14418      3/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Cari Hodge
PO Box 221                                                     RS Legacy Corporation fka RadioShack
Calion, AR 71724                          14419      3/31/2016 Corporation                                                     $50.00                                                                                           $50.00
JAIMIE TRUSZKOWSKI
27369 ROYALTON RD.                                             RS Legacy Corporation fka RadioShack
COLUMBIA STATION, OH 44028                14420      3/31/2016 Corporation                                                     $50.00                                                                                           $50.00
Barry Oppenheim
1600 GEORGESVILLE ROAD                                         RS Legacy Corporation fka RadioShack
COLUMBUS, OH 43228                        14421      3/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Marilyn Holland
N53 W24635 S CORPORATE CIR.                                    RS Legacy Corporation fka RadioShack
SUSSEX, WI 53089                          14422      3/31/2016 Corporation                                                     $27.01                                                                                           $27.01
Debra Wright
2200 OAK INDUSTRIAL DR NE                                      RS Legacy Corporation fka RadioShack
GRAND RAPIDS, MI 49505                    14423      3/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Tyson Westley‐Scharnhorst
3719 SPRING GROVE ROAD                                         RS Legacy Corporation fka RadioShack
JOHNSBURG, IL 60051                       14424      3/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Jonathan Elysee
800 EAST 2ND ST                                                RS Legacy Corporation fka RadioShack
MUSCLE SHOALS, AL 35665                   14425      3/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Adrianna Cameron
240 W 5TH STREET                                               RS Legacy Corporation fka RadioShack
MINSTER, OH 45865                         14426      3/31/2016 Corporation                                                      $0.00                                                                                            $0.00
JAIMIE TRUSZKOWSKI
ONE NISSAN WAY                                                 RS Legacy Corporation fka RadioShack
FRANKLIN, TN 37067                        14427      3/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Ryan Marugame
45‐619 Apapane St.                                             RS Legacy Corporation fka RadioShack
Kaneohe, HI 96744                         14428      3/31/2016 Corporation                                                     $41.87                                                                                           $41.87
Cresmar Justin Hernaez
625 N Spring Street                                           RS Legacy Corporation fka RadioShack
Middletown, PA 17057                      14429      4/1/2016 Corporation                                                       $0.00                                                                                            $0.00
TIlomai Seiuli‐Phelps
167th Ave 1541 #D                                             RS Legacy Corporation fka RadioShack
San Leandro, California 94578             14430      4/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Maria L Cuevas
3805 cypress ave.                                             RS Legacy Corporation fka RadioShack
EL MONTE, ca 91731                        14431      4/1/2016 Corporation                                                      $20.00                                                                                           $20.00




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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Barbara N. Waller
1400 Sherrod Watlington Circle                                RS Legacy Corporation fka RadioShack
Greensboro, nC 27406                      14432      4/1/2016 Corporation                                                     $20.00                                                                                           $20.00
Danna Lyons
14610 Logwood Way                                             RS Legacy Corporation fka RadioShack
San Antonio, TX 78254                     14433      4/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Caroline Hennessy
160‐15 Powells Cove Blvd Apt E2                               RS Legacy Corporation fka RadioShack
Whitestone, NY 11357                      14434      4/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Maureen Castillo
212 Neptune ave                                               RS Legacy Corporation fka RadioShack
Jersey city, Nj 07305                     14435      4/1/2016 Corporation                                                    $125.00                                                                                          $125.00
deanna himes
14028 Edgemont rd                                             RS Legacy Corporation fka RadioShack
Smithsburg, Md 21783                      14436      4/1/2016 Corporation                                                    $132.00                                                                                          $132.00
Michael Chow
6 Cobb Lane                                                   RS Legacy Corporation fka RadioShack
Commack, NY 11725                         14437      4/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Maureen castillo
212 Neptune ace                                               RS Legacy Corporation fka RadioShack
Jersey city, Ni 07305                     14438      4/1/2016 Corporation                                                     $43.00                                                                                           $43.00
Vaughan, Michael H
315 Jess Ave                                                  RS Legacy Corporation fka RadioShack
Haddonfield, NJ 08033                     14439      4/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Carla Sylvester
5013 Village Commons Drive                                    RS Legacy Corporation fka RadioShack
West Bloomfield, MI 48322                 14440      4/1/2016 Corporation                                                     $21.82                                                                                           $21.82
Griffen Jr., Mark
121 Ogden St.                                                 RS Legacy Corporation fka RadioShack
Penn Yan, NY 14527                        14441      4/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Kachigian, Kevin
15553 Pleasant                                                RS Legacy Corporation fka RadioShack
Allen Park, MI 48101                      14442      4/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Macphail, Maryann
44 Stanbro St.                                                RS Legacy Corporation fka RadioShack
Hyde Park, MA 02136                       14443      4/1/2016 Corporation                                                     $30.00                                                                                           $30.00
Ostrow, Jamie
28 Clamshell Avenue                                           RS Legacy Corporation fka RadioShack
East Hampton, NY 11937                    14444      4/1/2016 Corporation                                                      $0.00                                                                                            $0.00
manjula ramana
22 avery path                                                 RS Legacy Corporation fka RadioShack
newton, ma 02459                          14445      4/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Daniel Saenz
1351 Dekalb Avenue                                            RS Legacy Corporation fka RadioShack
Brooklyn, NY 11221                        14446      4/2/2016 Corporation                                                     $11.00                                                                                           $11.00
Joseph Carchilla
288 Constitution Ave                                          RS Legacy Corporation fka RadioShack
Hanover Township, PA 18706                14447      4/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Vicki Dininny
3290 Albion Road                                              RS Legacy Corporation fka RadioShack
Concord, MI 49237                         14448      4/2/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Tasha Ford
719 E 103rd St Apt 2C                                         RS Legacy Corporation fka RadioShack
Brooklyn, NY 11236                        14449      4/2/2016 Corporation                                                      $0.00                                                                                            $0.00
krista wheeler
50 coon den rd                                                RS Legacy Corporation fka RadioShack
harrington, de 19952                      14450      4/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael J Spradlin
1627 Rosemount RD                                             RS Legacy Corporation fka RadioShack
Portsmouth, Ohio 45662                    14451      4/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Richele L Caley
17 Pearl st                                                   RS Legacy Corporation fka RadioShack
Lunenburg, ma 01462                       14452      4/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Dean Ewing
4441 Osuna Rd NE Unit #206                                    RS Legacy Corporation fka RadioShack
Albuqurerque, NM 87109‐4448               14453      4/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Michelle Jackson
7901 Rimrock Cir                                              RS Legacy Corporation fka RadioShack
Frisco, TX 75034                          14454      4/2/2016 Corporation                                                      $0.00                                                                                            $0.00
richard clarke
1811 diamond vase ct                                          RS Legacy Corporation fka RadioShack
richmond, tx 77469                        14455      4/2/2016 Corporation                                                     $37.88                                                                                           $37.88
Karen Shook
20516 Lakeshore Dr.                                           RS Legacy Corporation fka RadioShack
Thornton, Texas 76687                     14456      4/2/2016 Corporation                                                     $41.77                                                                                           $41.77
ALEXANDER CONTEH
3019 3RD STREET #404                                          RS Legacy Corporation fka RadioShack
SANTA MONICA, CA 90405                    14457      4/2/2016 Corporation                                                     $50.00                                                                                           $50.00
Miles Ungar
16 Monmouth Ave                                               RS Legacy Corporation fka RadioShack
Edison, NJ 08820                          14458      4/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Margarita medrano
516 Hensley dr                                                RS Legacy Corporation fka RadioShack
Grand Prairie, Tx 75050                   14459      4/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Vicki Dininny
3290 Albion Road                                              RS Legacy Corporation fka RadioShack
Concord, MI 459237                        14460      4/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Cheryl Richards
4386 W. POINT LOMA BLVD., APT. D                              RS Legacy Corporation fka RadioShack
SAN DIEGO, Ca 92107                       14461      4/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Donald Giordano
224 Currier Ave                                               RS Legacy Corporation fka RadioShack
Sloan, NY 14212                           14462      4/3/2016 Corporation                                                      $0.00                                                                                            $0.00
john stempkowski
21 country hickory lane                                       RS Legacy Corporation fka RadioShack
egg harbor township, NJ 08234             14463      4/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Aleksander W Kalynovych
425 Squaw Brook Road                                          RS Legacy Corporation fka RadioShack
North Haledon, NJ 07508                   14464      4/3/2016 Corporation                                                    $100.00                                                                                          $100.00
Scott Hildebrand
1406 W 113th St S                                             RS Legacy Corporation fka RadioShack
Jenks, OK 74037                           14465      4/3/2016 Corporation                                                     $43.40                                                                                           $43.40




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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Louis Alfieri
1400 nw 15th ft #101                                          RS Legacy Corporation fka RadioShack
Boca Raton, Fl 33486                      14466      4/3/2016 Corporation                                                      $0.00                                                                                            $0.00
denis pesante
12 cavell place                                               RS Legacy Corporation fka RadioShack
West Caldwell, nj 07006                   14467      4/3/2016 Corporation                                                      $0.00                                                                                            $0.00
karen mannheim
209 Strickersville Road                                       RS Legacy Corporation fka RadioShack
Landenberg, pa 19350                      14468      4/3/2016 Corporation                                                     $35.99                                                                                           $35.99
Brad Creed
840 Eager Road                                                RS Legacy Corporation fka RadioShack
Howell, MI 48843                          14469      4/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Joshua Peak
3201 Beaumont Ave Apt 37                                      RS Legacy Corporation fka RadioShack
Oakland, CA 94602                         14470      4/3/2016 Corporation                                                     $49.04                                                                                           $49.04
Brandon Beharry
2171 Bragg st                                                 RS Legacy Corporation fka RadioShack
Brooklyn, NY 11229                        14471      4/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert Folger
302 Sackett St                                                RS Legacy Corporation fka RadioShack
Maumee, Oh 43537                          14472      4/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Jolaine Aguilar
1018 n.13th st                                                RS Legacy Corporation fka RadioShack
Enid, OK 73701                            14473      4/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Sarah Eiklor
219 Dewey Avenue                                              RS Legacy Corporation fka RadioShack
Washington, Pa 15301                      14474      4/3/2016 Corporation                                                    $100.00                                                                                          $100.00
Johnny Mabry
9800 Prospect Drive                                           RS Legacy Corporation fka RadioShack
Anchorage, AK 99507                       14475      4/3/2016 Corporation                                                     $50.00                                                                                           $50.00
David Peters
PO Box 171062                                                 RS Legacy Corporation fka RadioShack
Nashville, TN 37217                       14476      4/4/2016 Corporation                                                    $183.47                                                                                          $183.47
Elleana Deschamps
206 Hylan Blvd                                                RS Legacy Corporation fka RadioShack
Staten island, NY 10305                   14477      4/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Kami Turner
207 Austin Brook Street                                       RS Legacy Corporation fka RadioShack
Simpsonville, SC 29680                    14478      4/4/2016 Corporation                                                      $9.92                                                                                            $9.92
Alex Castner
1207 Linden Ave                                               RS Legacy Corporation fka RadioShack
Yardley, PA 19067                         14479      4/4/2016 Corporation                                                     $94.00                                                                                           $94.00
Zenan Qi
74 West St. Unit 20                                           RS Legacy Corporation fka RadioShack
Attleboro, MA 02703                       14480      4/4/2016 Corporation                                                    $100.00                                                                                          $100.00
Shardae Griffin
15101 NW 12 Ave                                               RS Legacy Corporation fka RadioShack
Miami, FL 33169                           14481      4/4/2016 Corporation                                                     $13.00                                                                                           $13.00
Zenan Qi
74 West St. Unit 20                                           RS Legacy Corporation fka RadioShack
Attleboro, MA 02703                       14482      4/4/2016 Corporation                                                    $100.00                                                                                          $100.00




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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Xiyao Zhao
25 Wynnewood Dr                                               RS Legacy Corporation fka RadioShack
Voorhees, NJ 08043                        14483      4/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Nathan Fisher
1854 Friendship Street                                        RS Legacy Corporation fka RadioShack
Iowa City, Iowa 52240                     14484      4/4/2016 Corporation                                                     $42.42                                                                                           $42.42
Bruce Olson
357 Anchor Circle                                             RS Legacy Corporation fka RadioShack
Mt Pleasant, sc 29464                     14485      4/4/2016 Corporation                                                     $50.00                                                                                           $50.00
Raduilas, Dianne J
128 Morton St                                                 RS Legacy Corporation fka RadioShack
Stoughton, MA 02072                       14486      4/4/2016 Corporation                                                      $9.52                                                                                            $9.52
Scott Von Rohr
115 Pointer Lane                                              RS Legacy Corporation fka RadioShack
St. Louis, MO 63124                       14487      4/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Endres, Don
2644 Borglum                                                  RS Legacy Corporation fka RadioShack
Grand Rapids, MI 49505                    14488      4/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                       RS Legacy Corporation fka RadioShack
                                          14489      3/7/2016 Corporation                                                                                                                                                       $0.00
Annie S
10 Kimberly Place                                             RS Legacy Corporation fka RadioShack
Delmar, NY 12054                          14490      4/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Brown, Felicia
2683 County Street 2790                                       RS Legacy Corporation fka RadioShack
Chickasha, OK 73018                       14491      4/4/2016 Corporation                                                      $0.00                                                                 $22,500.00            $22,500.00
Moncada, Maria G
467 E. Rio Grande                                             RS Legacy Corporation fka RadioShack
Eagle Pass, TX 78852                      14492      4/4/2016 Corporation                                                     $16.25                                                                                           $16.25
McDuffie, lisa
4940 N Hamilton Ave                                           RS Legacy Corporation fka RadioShack
Chicago, IL 60625                         14493      4/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Bernard, James
707 S Harrison                                                RS Legacy Corporation fka RadioShack
Cushing, OK 74023                         14494      4/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                       RS Legacy Corporation fka RadioShack
                                          14495      3/7/2016 Corporation                                                                                                                                                       $0.00
Jockers, Michael T.
521 N. Syracuse Ave                                           RS Legacy Corporation fka RadioShack
North Massapequa, NY 11758                14496      4/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Duncan, Todd
1081 CR 400                                                   RS Legacy Corporation fka RadioShack
Corinth, MS 38834                         14497      4/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Yuen, Christopher
2880 Riedel Ct                                                RS Legacy Corporation fka RadioShack
San Jose, CA 95135                        14498      4/4/2016 Corporation                                                     $19.55                                                                                           $19.55
Oscar Mora
3741 85 th Street Apt B1                                      RS Legacy Corporation fka RadioShack
Jackson Heights, NY 11372                 14499      4/4/2016 Corporation                                                    $325.54                                                                                          $325.54
Ramos, Victor
521 Betsy Ross                                                RS Legacy Corporation fka RadioShack
La Place, LA 70068                        14500      4/4/2016 Corporation                                                     $55.00                                                                                           $55.00



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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
McCallum, Jessica
PO Box 123                                                    RS Legacy Corporation fka RadioShack
Arcadia, MI 49613                         14501      4/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Ennis, Sue
13741 Travilah Rd.                                            RS Legacy Corporation fka RadioShack
Rockville, MD 20850                       14502      4/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Rick Zeronis
21 Parke Street                                               RS Legacy Corporation fka RadioShack
Pittsburgh, Pa 15205                      14503      4/4/2016 Corporation                                                     $25.00                                                                                           $25.00
Rick Zeronis
21 Parke Street                                               RS Legacy Corporation fka RadioShack
Pittsburgh, Pa 15205                      14504      4/4/2016 Corporation                                                      $8.96                                                                                            $8.96
Flaherty, Adrienne
1140 River Paek Cir. E.
Apt 208                                                       RS Legacy Corporation fka RadioShack
Mukwonago, WI 53149                       14505      4/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Chen, Botao
7219 51st DR                                                  RS Legacy Corporation fka RadioShack
Woodside, NY 11577                        14506      4/4/2016 Corporation                                                    $600.08                                                                                          $600.08
Anna Naegle
1020 E 900 N                                                  RS Legacy Corporation fka RadioShack
Bountiful, Utah 84010                     14507      4/4/2016 Corporation                                                      $0.00                                                                                            $0.00
David Engelman
8 Prince St Apt 201                                           RS Legacy Corporation fka RadioShack
Rochester, NY 14607                       14508      4/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Ollie Black
900 South Beach St, apt 5                                     RS Legacy Corporation fka RadioShack
Fort Worth, TX 76105                      14509      4/4/2016 Corporation                                                      $0.00                                                                                            $0.00
char fincher
11594 Beersheba Hwy                                           RS Legacy Corporation fka RadioShack
McMinnville, TN 37110                     14510      4/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Joshua Littier
19186 Knighton Rd.                                            RS Legacy Corporation fka RadioShack
Redding, California 96002                 14511      4/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Naema kofrani
1850 Meridian st                                              RS Legacy Corporation fka RadioShack
San Jacinto, CA 92583                     14512      4/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Caleb Collins
4001 EP True Parkway                                          RS Legacy Corporation fka RadioShack
West Des Moines, IA 50265                 14513      4/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Britt Reece
1513 Wild Plum ct                                             RS Legacy Corporation fka RadioShack
Edmond, ok 73025                          14514      4/5/2016 Corporation                                                    $108.24                                                                                          $108.24
Rajnish Kumar Bani
2781 Collaroy Rd                                              RS Legacy Corporation fka RadioShack
Waxhaw, NC 28173                          14515      4/5/2016 Corporation                                                    $100.00                                                                                          $100.00
Brandon Sullivan
8 chestnut ave                                                RS Legacy Corporation fka RadioShack
Chelmsford, MA 01824                      14516      4/5/2016 Corporation                                                     $35.00                                                                                           $35.00
LAKESHA HOUSER
320 STERLING STREET APT 5CEQ                                  RS Legacy Corporation fka RadioShack
BROOKLYN, NY 11225                        14517      4/5/2016 Corporation                                                      $0.00                                                                                            $0.00



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                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
Feng mei lin
1 rye ridge plaza                                                RS Legacy Corporation fka RadioShack
Port chester, Ny 10573                       14518      4/5/2016 Corporation                                                    $193.26                                                                                          $193.26
Leah Thompson
8001 Blue Hole Court                                             RS Legacy Corporation fka RadioShack
McKinney, TX 75070                           14519      4/5/2016 Corporation                                                      $0.00                                                                                            $0.00
timothy m conti
224 Caroline St #2                                               RS Legacy Corporation fka RadioShack
Rochester, NY 14620                          14520      4/5/2016 Corporation                                                    $200.00                                                                                          $200.00
Toni Jackson
33 Patricia Ln                                                   RS Legacy Corporation fka RadioShack
Hyde Park, NY 12538                          14521      4/5/2016 Corporation                                                     $11.89                                                                                           $11.89
Katherine Cykes
4155 Lancaster Ave.                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19104                       14522      4/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Stanley W. Clark
1115 Gershwin dr.                                                RS Legacy Corporation fka RadioShack
largo, fl 33771                              14523      4/5/2016 Corporation                                                     $36.37                                                                                           $36.37
Paula Landin
1001 E. 62nd Ave. #816                                           RS Legacy Corporation fka RadioShack
Denver, CO 80216                             14524      4/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Douglas N Levitt
84 Lafountain St                                                 RS Legacy Corporation fka RadioShack
winooski, Vt 05404                           14525      4/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Aaron Hiler
706 Galileo Drive                                                RS Legacy Corporation fka RadioShack
Madison, WI 53718                            14526      4/5/2016 Corporation                                                     $40.00                                                                                           $40.00
joel
186 anna st                                                      RS Legacy Corporation fka RadioShack
watsonville, california 95076                14527      4/5/2016 Corporation                                                     $20.00                                                                                           $20.00
Patricia Muneno
P O Box 1466                                                     RS Legacy Corporation fka RadioShack
Aiea, HI 96701                               14528      4/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert Forlina
7 north waterloo road #233                                       RS Legacy Corporation fka RadioShack
devon, PA 19333                              14529      4/6/2016 Corporation                                                     $79.37                                                                                           $79.37
Ivan Ramos Diaz
Bo,Rabanal sect los Ramos Cidra P.R 00739                        RS Legacy Corporation fka RadioShack
puerto Rico, cidra 00739                     14530      4/6/2016 Corporation                                                     $50.00                                                                                           $50.00
anubha agarwal
75 nicholas court                                                RS Legacy Corporation fka RadioShack
hamden, CT 06518                             14531      4/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Evelyn Aldaz
13506 Gladstone Ave                                              RS Legacy Corporation fka RadioShack
Sylmar, CA 91342                             14532      4/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert Meyers
162 East 80th Street Apt 7B                                      RS Legacy Corporation fka RadioShack
New York, NY 10075                           14533      4/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Justina Norero
345 Fitzdom Rd Apt E                                             RS Legacy Corporation fka RadioShack
Pattersonville, NY 12053                     14534      4/6/2016 Corporation                                                     $64.79                                                                                           $64.79




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                                                                                                                 Current General                                            Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Claim Docketed In Error                                       RS Legacy Corporation fka RadioShack
                                          14535      3/7/2016 Corporation                                                                                                                                                       $0.00
Claim Docketed In Error                                       RS Legacy Corporation fka RadioShack
                                          14536      3/7/2016 Corporation                                                                                                                                                       $0.00
Ally Renshaw
9646 N Syracuse St                                            RS Legacy Corporation fka RadioShack
Portland, OR 97203                        14537      4/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Farzin Shemtov
7105 Boxford Rd                                               RS Legacy Corporation fka RadioShack
Baltimore, MD 21215                       14538      4/6/2016 Corporation                                                      $0.00                                                                                            $0.00
David Ambrose
5709 Ahtanum Rd                                               RS Legacy Corporation fka RadioShack
Yakima, WA 98903                          14539      4/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Farzin Shemtov
7105 Boxford Rd                                               RS Legacy Corporation fka RadioShack
Baltimore, MD 21215                       14540      4/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                       RS Legacy Corporation fka RadioShack
                                          14541      3/7/2016 Corporation                                                                                                                                                       $0.00
Farzin Shemtov
7105 Boxford Rd                                               RS Legacy Corporation fka RadioShack
Baltimore, MD 21215                       14542      4/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Roberta Robbins
7709 Christy Cary Lane                                        RS Legacy Corporation fka RadioShack
Tallahassee, fl 32304                     14543      4/6/2016 Corporation                                                     $50.00                                                                                           $50.00
Ron Mehling
367 14th St                                                   RS Legacy Corporation fka RadioShack
Burlington, CO 80807                      14544      4/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Richard Bright
23 lincoln ave                                                RS Legacy Corporation fka RadioShack
south hamilton, ma 01982                  14545      4/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Francis Applegate
3214 knorr st                                                 RS Legacy Corporation fka RadioShack
Philadelphia, Pa 19149                    14546      4/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Bruce Margon
329 Canon del Sol                                             RS Legacy Corporation fka RadioShack
La Selva Beach, CA 95076                  14547      4/6/2016 Corporation                                                     $50.00                                                                                           $50.00
David Devilbiss
5510 Belin Street                                             RS Legacy Corporation fka RadioShack
Madison, WI 53705                         14548      4/6/2016 Corporation                                                      $0.00                                                                                            $0.00
angelina roddy
1328 old Pretoria rd.                                         RS Legacy Corporation fka RadioShack
albany, ga 31721                          14549      4/7/2016 Corporation                                                     $50.00                                                                                           $50.00
Arthur Matiossian
7950 Etiwanda Ave #2204                                       RS Legacy Corporation fka RadioShack
Rancho Cucamonga, CA 91739                14550      4/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Ron Ochu
115 S. Sixth St.                                              RS Legacy Corporation fka RadioShack
Girard, IL 62640‐1402                     14551      4/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Ron Ochu
115 S. Sixth St.                                              RS Legacy Corporation fka RadioShack
Girard, IL 62640‐1402                     14552      4/7/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                 Current General                                            Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Daniel Baesler
46 Candace Ln                                                 RS Legacy Corporation fka RadioShack
Chatham, NJ 07928                         14553      4/7/2016 Corporation                                                     $35.00                                                                                           $35.00
LaShonda Allen
1330 Ransom Dr                                                RS Legacy Corporation fka RadioShack
Lancaster/TX/75146, 1 Na                  14554      4/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Katsumata, Kun
4613 Korbel St                                                RS Legacy Corporation fka RadioShack
Union City, CA 94587                      14555      4/6/2016 Corporation                                                                                                              $50.00                                  $50.00
ROSS, KIMBERLY
45 WEBB STREET                                                RS Legacy Corporation fka RadioShack
CALUMET CITY, IL 60409                    14556      4/6/2016 Corporation                                                      $0.00              $0.00                                 $0.00                                   $0.00
Albaum , K.
5866 Fairview Pl.                                             RS Legacy Corporation fka RadioShack
Agoura Hills, CA 91301                    14557      4/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Zoeller Jr., Robert W.
1001 Pine Street                                              RS Legacy Corporation fka RadioShack
Saranac Lake, NY 12983                    14558      4/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Burchfield , Savannah M.
63 Goodyear St.                                               RS Legacy Corporation fka RadioShack
Waynesville, NC 28786                     14559      4/6/2016 Corporation                                                      $5.91                                                                                            $5.91
Whyte, Pamela J
909 State Route 88 S.                                         RS Legacy Corporation fka RadioShack
Newark, NY 14513                          14560      4/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Muller, Dyan
117 Woodcrest Dr                                              RS Legacy Corporation fka RadioShack
Woodcliff Lake, NJ 07677                  14561      4/6/2016 Corporation                                                     $64.19                                                                                           $64.19
Miller, Wilmer
1950 Pearsons Cor Rd.                                         RS Legacy Corporation fka RadioShack
Hartly, DE 19953                          14562      4/6/2016 Corporation                                                     $79.98                                                                                           $79.98
Jerzy Bajor
8 Joan Ree Terr                                               RS Legacy Corporation fka RadioShack
Bayonne, NJ 07002                         14563      4/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Hall, Doris
1028 Livingston Ave                                           RS Legacy Corporation fka RadioShack
West St. Paul, MN 58118‐4139              14564      4/6/2016 Corporation                                                      $6.37                                                                                            $6.37
Olson, Paulette
158 Confer Hollow Rd                                          RS Legacy Corporation fka RadioShack
Millville , PA 17846                      14565      4/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Torres, Eva
10590 56th St                                                 RS Legacy Corporation fka RadioShack
Jurupa Valley, CA 91752                   14566      4/6/2016 Corporation                                                     $86.39                                                                                           $86.39
Pastor, Eugenio
214 Pk Hill Dr.                                               RS Legacy Corporation fka RadioShack
Marietta , GA 30008                       14567      4/5/2016 Corporation                                                     $87.00                                                                                           $87.00
Maloy, Denise
94 Pinetree Lane                                              RS Legacy Corporation fka RadioShack
Mays Landing , NJ 08330                   14568      4/4/2016 Corporation                                                     $85.59                                                                                           $85.59
Young, Susan
17 South, 600 West                                            RS Legacy Corporation fka RadioShack
Hebron, IN 46341                          14569      4/4/2016 Corporation                                                     $21.00                                                                                           $21.00




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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Weidenbusch, John
101 4th Ave. Apt‐4R                                           RS Legacy Corporation fka RadioShack
Brooklyn, NY 11217                        14570      4/4/2016 Corporation                                                     $10.00                                                                                           $10.00
Smith, William
1334 Badger Creek Rd.                                         RS Legacy Corporation fka RadioShack
Van Meter, IA 50261                       14571      4/4/2016 Corporation                                                     $21.19                                                                                           $21.19
Wolfe, D
3962 Fairway Dr                                               RS Legacy Corporation fka RadioShack
Canfield, OH 44406                        14572      4/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Lorie Hane
5737 rhode island ave n                                       RS Legacy Corporation fka RadioShack
crystal, mn 55428                         14573      4/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Andrew Baker
813 Dempster Street                                           RS Legacy Corporation fka RadioShack
Evanston, IL 60201                        14574      4/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Kathy Lundy
53 Eastern Avenue APT 2                                       RS Legacy Corporation fka RadioShack
Gloucester, MA 01930                      14575      4/7/2016 Corporation                                                     $31.86                                                                                           $31.86
Newston Reynoso
153‐35 82nd street                                            RS Legacy Corporation fka RadioShack
Howard beach, Ny 11414                    14576      4/7/2016 Corporation                                                      $0.00                                                                                            $0.00
frank berman
18 croton street                                              RS Legacy Corporation fka RadioShack
melville, NY 11747                        14577      4/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Allen Evonich
25014 Haskell St.                                             RS Legacy Corporation fka RadioShack
Taylor, MI 48180                          14578      4/7/2016 Corporation                                                      $9.55                                                                                            $9.55
Sarah Trumbull
9 Massachusetts St                                            RS Legacy Corporation fka RadioShack
Plattsburgh, NY 12903                     14579      4/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Rajender Macha
13904 Hawkstone Drive                                         RS Legacy Corporation fka RadioShack
Fishers, IN 46040                         14580      4/7/2016 Corporation                                                    $106.00                                                                                          $106.00
toshiko cooper
7776 sterling drive                                           RS Legacy Corporation fka RadioShack
OAKLAND, ca 94605                         14581      4/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Abel Vasquez
4444 Memorial Dr #1                                           RS Legacy Corporation fka RadioShack
Houston, TTexas 77007                     14582      4/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Preyak Patel
865 Beau Drive                                                RS Legacy Corporation fka RadioShack
Des Plaines, IL 60016                     14583      4/8/2016 Corporation                                                     $75.00                                                                                           $75.00
Angela Conner
223 Preston Ave                                               RS Legacy Corporation fka RadioShack
Lexington, KY 40502                       14584      4/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Patty devries
P.O. Box 375                                                  RS Legacy Corporation fka RadioShack
Chester Mt, 59522 59522                   14585      4/8/2016 Corporation                                                     $70.01                                                                                           $70.01
Matthew Crean
1335 PHOENIX COURT                                            RS Legacy Corporation fka RadioShack
DENTON, TX 76205                          14586      4/8/2016 Corporation                                                     $64.94                                                                                           $64.94




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            Creditor Name and Address           Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
Mary Ruth Lareau
33 Lakeshore Drive                                                   RS Legacy Corporation fka RadioShack
Mount Arlington, NJ 07856                        14587      4/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Ellen Du
4823 Durham Ln                                                       RS Legacy Corporation fka RadioShack
Sugar Land, Texas 77479                          14588      4/8/2016 Corporation                                                     $25.00                                                                                           $25.00
Jennifer Ruiz
246 Donor Ave                                                        RS Legacy Corporation fka RadioShack
Elmwood Park, NJ 07407                           14589      4/8/2016 Corporation                                                      $0.00                                                                                            $0.00

Stephen O'Shea
C/O Shelby Guenther, 135 Sherwood Drive APT C                        RS Legacy Corporation fka RadioShack
Victoria, Texas 77901                            14590      4/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Dahl, Kristin
927 18th St, Unit C                                                  RS Legacy Corporation fka RadioShack
Santa Monica, CA 90403                           14591      4/8/2016 Corporation                                                    $174.18                                                                                          $174.18
Jiansheng Tan
624 E Angeleno Ave                                                   RS Legacy Corporation fka RadioShack
San Gabriel, CA 91776                            14592      4/8/2016 Corporation                                                     $15.00                                                                                           $15.00
Fred Ashby
280 Haynes Creek Dr                                                  RS Legacy Corporation fka RadioShack
Murray, KY 42071                                 14593      4/9/2016 Corporation                                                      $0.00                                                                                            $0.00
John Mortimer
6012 NW 88TH Ave                                                     RS Legacy Corporation fka RadioShack
Tamarac, Fl 33321                                14594      4/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Matt Smith
763 West California Ave.                                             RS Legacy Corporation fka RadioShack
Saint Paul, MN 55117                             14595      4/9/2016 Corporation                                                     $25.00                                                                                           $25.00
Matthew Smith
763 West California                                                  RS Legacy Corporation fka RadioShack
Saint Paul, MN 55117                             14596      4/9/2016 Corporation                                                     $25.00                                                                                           $25.00
carolyn carr
4749 s. woodlawn ave                                                 RS Legacy Corporation fka RadioShack
chicago, il 60615                                14597      4/9/2016 Corporation                                                    $100.00                                                                                          $100.00
James Bleecker
105 Old Post Rd                                                      RS Legacy Corporation fka RadioShack
Clinton, CT 06413                                14598      4/9/2016 Corporation                                                     $25.00                                                                                           $25.00
Jose Retuerto
56 Old Ridgebury Rd                                                  RS Legacy Corporation fka RadioShack
Danbury, CT 06810                                14599      4/9/2016 Corporation                                                     $53.16                                                                                           $53.16
Henry Stover
940 Caldwell Corner Road                                             RS Legacy Corporation fka RadioShack
Townsend, DE 19734                               14600      4/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Daniel Livian
5 Hutchinson Court                                                   RS Legacy Corporation fka RadioShack
GREAT NECK, NY 11023                             14601      4/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Daniel Livian
5 Hutchinson Court                                                   RS Legacy Corporation fka RadioShack
Great Neck, NY 11023                             14602      4/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Daniel Livian
5 Hutchinson Court                                                   RS Legacy Corporation fka RadioShack
Great Neck, NY 11023                             14603      4/9/2016 Corporation                                                      $0.00                                                                                            $0.00



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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Zachary Zellers
30 Spring Run Ct. Apt 203                                     RS Legacy Corporation fka RadioShack
Charles Town, WV 25414                    14604      4/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Yonghoon Kim
15205 S. Budlong Ave. #16                                     RS Legacy Corporation fka RadioShack
Gardena, CA 90247                         14605      4/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Patricia Verrochi
246 Jerome ave                                                 RS Legacy Corporation fka RadioShack
Oakhurst, Nj 07755                        14606      4/10/2016 Corporation                                                      $0.00                                                                                            $0.00
lei mccabe
14115 silent wood way                                          RS Legacy Corporation fka RadioShack
north potomac, md 20878                   14607      4/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Arlene Vasquez
96 Congress Street, Apt. 4                                     RS Legacy Corporation fka RadioShack
Salem, MA 01970                           14608      4/10/2016 Corporation                                                      $0.00                                                                                            $0.00
paul f. mehall
3050 Byron center ave. sw                                      RS Legacy Corporation fka RadioShack
wyoming mi 49519, 49519 apt. 3            14609      4/10/2016 Corporation                                                     $25.00                                                                                           $25.00
Daniel Melendez
2260 bronx park east apt. 5e                                   RS Legacy Corporation fka RadioShack
Bronx, Ny 10467                           14610      4/10/2016 Corporation                                                     $47.00                                                                                           $47.00
Daniel Norman
519 Taryton Dr                                                 RS Legacy Corporation fka RadioShack
Lebanon, TN 37087                         14611      4/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Joanna Sizemore
3009 Alder Ridge Lane                                          RS Legacy Corporation fka RadioShack
Raleigh, NC 27603                         14612      4/10/2016 Corporation                                                     $25.00                                                                                           $25.00
jeff folz
3101 Beattie rd                                                RS Legacy Corporation fka RadioShack
howell, mi 48843                          14613      4/10/2016 Corporation                                                     $21.19                                                                                           $21.19
Joshua Johnston
2891 Route 22                                                  RS Legacy Corporation fka RadioShack
Patterson, NY 12563                       14614      4/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Lisa King
1220 B Coleman Ct                                              RS Legacy Corporation fka RadioShack
Charlottesville, VA 22901                 14615      4/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Cole Meier
5916 California Ave SW Apt 5                                   RS Legacy Corporation fka RadioShack
Seattle, WA 98136                         14616      4/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Cole Meier
5916 California Ave SW Apt 5                                   RS Legacy Corporation fka RadioShack
Seattle, WA 98136                         14617      4/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Rebekah Harris
819 Lydia dr                                                   RS Legacy Corporation fka RadioShack
Warsaw, IN 46582                          14618      4/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Sam Hindi
311 Mullet Ct                                                  RS Legacy Corporation fka RadioShack
Foster City, CA 94404                     14619      4/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Dawn Imesch
23526 Melrose Ln.                                              RS Legacy Corporation fka RadioShack
Macomb, MI 48042                          14620      4/11/2016 Corporation                                                     $10.00                                                                                           $10.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Jennifer Holmquist
826 Providence Drive                                           RS Legacy Corporation fka RadioShack
Shakopee, MN 55379                        14621      4/11/2016 Corporation                                                     $50.00                                                                                           $50.00
Kimberly Price
9614 Lindenbrook Street                                        RS Legacy Corporation fka RadioShack
Fairfax, VA 22031                         14622      4/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Todd McChurch
8101 Aaron Ln.                                                 RS Legacy Corporation fka RadioShack
Joliet, IL 60431                          14623      4/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Natalie Warrick
1‐315a Indian Grove                                            RS Legacy Corporation fka RadioShack
Toronto, On M6P2H6                        14624      4/11/2016 Corporation                                                      $0.00                                                                                            $0.00
MIchelle Littlefield
610 Apache Trail                                               RS Legacy Corporation fka RadioShack
Merritt Island, FL 32953                  14625      4/11/2016 Corporation                                                      $0.00                                                                                            $0.00
James Caplinger
225 Bermuda St                                                 RS Legacy Corporation fka RadioShack
Titusville, FL 32780                      14626      4/11/2016 Corporation                                                      $6.14                                                                                            $6.14
Linda A. Rash
4725 Edward Rd
Woodbridge, Va 22192, 4725 Edward Rd                           RS Legacy Corporation fka RadioShack
Woodbridge Va 22192 4725 Edwar            14627      4/11/2016 Corporation                                                     $69.57                                                                                           $69.57
Lakeri Sartin
15217 Eve Way                                                  RS Legacy Corporation fka RadioShack
Brandywine, MD 20613                      14628      4/11/2016 Corporation                                                    $200.00                                                                                          $200.00
Patrick Moore
6628 Bay City Bend                                             RS Legacy Corporation fka RadioShack
Austin, TX 78725                          14629      4/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Sam Allen
118 Comanche Trail                                             RS Legacy Corporation fka RadioShack
Lexington, NC 27295                       14630      4/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Bent werth
6670 avenida oakleigh                                          RS Legacy Corporation fka RadioShack
Navarre, Fl 32566                         14631      4/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Rachel Cranford
9530 Poni Place                                                RS Legacy Corporation fka RadioShack
Diamondhead, MS 39525                     14632      4/11/2016 Corporation                                                     $41.47                                                                                           $41.47
Keith Crudgington
250 Adley Road                                                 RS Legacy Corporation fka RadioShack
Fairfield, CT 06825‐2606                  14633      4/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Rachel James
408 Belwood Lawndale Road                                      RS Legacy Corporation fka RadioShack
Lawndale, NC 28090                        14634      4/11/2016 Corporation                                                     $30.00                                                                                           $30.00
Domonique latham
13637 tuller                                                   RS Legacy Corporation fka RadioShack
Det, Mi 48238                             14635      4/11/2016 Corporation                                                      $0.00                                                                                            $0.00
william talley
16915Baylis                                                    RS Legacy Corporation fka RadioShack
Detroit, mi 48221                         14636      4/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Nelson Mejia
1150 Canary Ct                                                 RS Legacy Corporation fka RadioShack
San Marcos, CA 92078                      14637      4/11/2016 Corporation                                                      $0.00                                                                                            $0.00



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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Sarah Bratcher
4045 Highland Crest Way
Apt 208                                                        RS Legacy Corporation fka RadioShack
Knoxville, TN 37920                       14638      4/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Peters, Vicky
2025 Field St                                                  RS Legacy Corporation fka RadioShack
Lakewood, CO 80215                        14639      4/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Peters, Vicky
2025 Field St                                                  RS Legacy Corporation fka RadioShack
Lakewood, CO 80215                        14640      4/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Stewart, Ellen
7927 W. Greer Ave                                              RS Legacy Corporation fka RadioShack
Peoria, AZ 85345                          14641      4/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Matusic, Robert
4004 Lakeview Lane                                             RS Legacy Corporation fka RadioShack
McDonald, PA 15057                        14642      4/11/2016 Corporation                                                    $100.00                                                                                          $100.00
Snyder, Jeff
PO Box 87                                                      RS Legacy Corporation fka RadioShack
Ventura, Ca 93002                         14643      4/11/2016 Corporation                                                     $50.00                                                                                           $50.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          14644      3/7/2016 Corporation                                                                                                                                                        $0.00
Melissa Lewis
4707 N. Larch Rd                                               RS Legacy Corporation fka RadioShack
SPOKANE Valley, WA 99216                  14645      4/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Stewart, Ellen
7927 W. Greer Ave                                              RS Legacy Corporation fka RadioShack
Peoria, AZ 85345                          14646      4/11/2016 Corporation                                                     $25.00                                                                                           $25.00
Mabes, Donna Mitchell
101 lewis Street Unit C                                        RS Legacy Corporation fka RadioShack
Greenwich, CT 06830                       14647      4/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Morgan, Christopher
2068 E 54th Street                                             RS Legacy Corporation fka RadioShack
Brooklyn, NY 11234                        14648      4/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Miller, Mary Claire
3704 North Charles St #203                                     RS Legacy Corporation fka RadioShack
Baltimore, MD 21218                       14649      4/11/2016 Corporation                                                     $63.59                                                                                           $63.59
Coker, Tim
225 E Summerside RD                                            RS Legacy Corporation fka RadioShack
Phoenix, AZ 85042                         14650      4/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Derrhea Davidson
4696 naturita way                                              RS Legacy Corporation fka RadioShack
Sacramento, California 95834              14651      4/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Cynthia Armstrong
597 Resaca Shores Blvd                                         RS Legacy Corporation fka RadioShack
San Benito, TX 78586                      14652      4/11/2016 Corporation                                                     $51.94                                                                                           $51.94
Ghomeshy, Simin
1400 South Valley VIew Blvd. Apt #2149                         RS Legacy Corporation fka RadioShack
Las Vegas, NV 89102                       14653      4/11/2016 Corporation                                                     $43.23                                                                                           $43.23
Gary Rubin
8941 Atlanta Avenue, #518                                      RS Legacy Corporation fka RadioShack
Huntington Beach, CA 92646                14654      4/11/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Wilmer Batista
HC 61 Box 4946                                                 RS Legacy Corporation fka RadioShack
Trujillo Alto, PR 00976                   14655      4/11/2016 Corporation                                                      $0.00                                                                                            $0.00
James McGrath
1169 nantasket ave #6                                          RS Legacy Corporation fka RadioShack
Hull, Ma 02045                            14656      4/11/2016 Corporation                                                      $0.00                                                                                            $0.00
James McGrath
1169 nantasket ave #6                                          RS Legacy Corporation fka RadioShack
Hull, Ma 02045                            14657      4/11/2016 Corporation                                                      $0.00                                                                                            $0.00
ken thompson
162 Monticello drive                                           RS Legacy Corporation fka RadioShack
Longview, Wa. 98632                       14658      4/11/2016 Corporation                                                    $100.00                                                                                          $100.00
joe whann
3342 Knoxville Ave                                             RS Legacy Corporation fka RadioShack
Long beach, CA 90808                      14659      4/11/2016 Corporation                                                      $0.00                                                                                            $0.00
robert pon
1137 Tanglewood Way                                            RS Legacy Corporation fka RadioShack
San Mateo, ca 94403                       14660      4/11/2016 Corporation                                                     $32.46                                                                                           $32.46
cyndi morgan
9215 water plant t                                             RS Legacy Corporation fka RadioShack
Baxter, tn 38544                          14661      4/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          14662      3/7/2016 Corporation                                                                                                                                                        $0.00
Mazzoni, Charles
8405 Excalibur Circle Apt D‐11                                 RS Legacy Corporation fka RadioShack
Naples , FL 34108                         14663      4/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Parker, Mary
40 Palmer Woods Cir                                            RS Legacy Corporation fka RadioShack
Branford, CT 06405‐3623                   14664      4/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Gary Duquette
66 Warren Street                                               RS Legacy Corporation fka RadioShack
West Springfield, MA 01089                14665      4/12/2016 Corporation                                                      $0.00                                                                                            $0.00
John Reynolds
7 Linden Ave.                                                  RS Legacy Corporation fka RadioShack
Swampscott, MA 01907                      14666      4/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Amy Lavallee
1 Balsam Lane                                                  RS Legacy Corporation fka RadioShack
Falmouth, ME 04105                        14667      4/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Jerry Kerns
213 Buckingham Rd.                                             RS Legacy Corporation fka RadioShack
Easley, SC 29640                          14668      4/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Anna Zussman
115 Saddle Trail                                               RS Legacy Corporation fka RadioShack
Thousand Oaks, CA 91361                   14669      4/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Yasmin Leigh
204 Holden Blvd                                                RS Legacy Corporation fka RadioShack
Staten Island, NY 10314                   14670      4/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Diane Sullivan
83 Sugar Maple Lane                                            RS Legacy Corporation fka RadioShack
Madison, MS 39110                         14671      4/12/2016 Corporation                                                     $29.05                                                                                           $29.05




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Jessica castaneda
8183 mulberry ave                                              RS Legacy Corporation fka RadioShack
Fontana, Ca 92335                         14672      4/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Diane Sullivan
83 Sugar Maple Lane                                            RS Legacy Corporation fka RadioShack
Madison, MS 39110                         14673      4/12/2016 Corporation                                                     $29.05                                                                                           $29.05
Chatel Mckettrick
61605 EL CAJON DRIVE                                           RS Legacy Corporation fka RadioShack
JOSHUA TREE, CA 92252                     14674      4/12/2016 Corporation                                                      $0.00                                                                                            $0.00
ROBERT UTTER
7401 Elata Ave                                                 RS Legacy Corporation fka RadioShack
Yucca Valley, CA 92284                    14675      4/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Alex Blok
6918 Waunakee Cir.                                             RS Legacy Corporation fka RadioShack
Mequon, WI 53092                          14676      4/12/2016 Corporation                                                     $60.50                                                                                           $60.50
Stewart, Ellen
7927 W. Greer Ave                                              RS Legacy Corporation fka RadioShack
Peoria, AZ 85345                          14677      4/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Herbeck, Rich
25 Versailles Ct.                                              RS Legacy Corporation fka RadioShack
Hamilton, NJ 08619                        14678      4/11/2016 Corporation                                                     $26.74                                                                                           $26.74
Poms, Annabel
9514 Singleton Drive                                           RS Legacy Corporation fka RadioShack
Bethesda, MD 20817                        14679      4/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Stewart, Ellen
7927 W. Greer Ave                                              RS Legacy Corporation fka RadioShack
Peoria, AZ 85345                          14680      4/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Obrien, Mary Keller
45 Jhstine Ave                                                 RS Legacy Corporation fka RadioShack
Plymonth, MA 02360                        14681      4/11/2016 Corporation                                                      $0.00                                                                                            $0.00
zack gitler
721 buena tierra way unit 186                                  RS Legacy Corporation fka RadioShack
oceansdie, ca 92057                       14682      4/12/2016 Corporation                                                     $13.98                                                                                           $13.98
Shirin Karimian
8 Dawn Lane                                                    RS Legacy Corporation fka RadioShack
8 Dawn lane, CA 92656                     14683      4/12/2016 Corporation                                                    $150.00                                                                                          $150.00
Eli Estes
1221 Emerson Circle                                            RS Legacy Corporation fka RadioShack
Hopkinsville, KY 42240                    14684      4/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Ligia Nobrega
3201 SE 10th Street Apt. B2                                    RS Legacy Corporation fka RadioShack
Pompano Beach, Florida 33062              14685      4/12/2016 Corporation                                                      $0.00                                                                                            $0.00
DAVE MITCHELL
4738 county road 2200                                          RS Legacy Corporation fka RadioShack
Lampasas, Tx 76550                        14686      4/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Richard Oom
1733 Pembroke Dr. SE                                           RS Legacy Corporation fka RadioShack
Kentwood, MI 49508‐6331                   14687      4/12/2016 Corporation                                                    $335.01                                                                                          $335.01
Susan Craig
340 Island St                                                  RS Legacy Corporation fka RadioShack
Morro Bay, CA 93442                       14688      4/12/2016 Corporation                                                     $10.00                                                                                           $10.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Dobrila Ivetic
7512 Brightwater Place                                         RS Legacy Corporation fka RadioShack
Oviedo, FL 32765                          14689      4/12/2016 Corporation                                                     $15.89                                                                                           $15.89
Guai Zheng
815 Fernon St                                                  RS Legacy Corporation fka RadioShack
Philadelphia, PA 19148                    14690      4/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Kelvin Isom
159 Kendall Ave #1                                             RS Legacy Corporation fka RadioShack
Pittsburgh, pa 15202                      14691      4/12/2016 Corporation                                                     $25.00                                                                                           $25.00
Raul Quinones
1659 Saint Stephen                                             RS Legacy Corporation fka RadioShack
El paso, TX 79936                         14692      4/12/2016 Corporation                                                     $59.53                                                                                           $59.53
Raul Quinones
1659 Saint Stephen                                             RS Legacy Corporation fka RadioShack
El Paso, TX 79936                         14693      4/12/2016 Corporation                                                     $17.34                                                                                           $17.34
Lilli Christoph
455 S Atlantic Ave, Apt 3                                      RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15224                      14694      4/12/2016 Corporation                                                     $25.00                                                                                           $25.00
Amber Chen
1757 Oakbrook Ln                                               RS Legacy Corporation fka RadioShack
Kennesaw, GA 30152                        14695      4/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Selena Ibarra
501 Briarcrest Dr                                              RS Legacy Corporation fka RadioShack
Burleson, Texas 76028                     14696      4/13/2016 Corporation                                                      $0.00                                                                                            $0.00
chad.seals
116 hawthorne Drive                                            RS Legacy Corporation fka RadioShack
Hattiesburg, MS 39402                     14697      4/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael A Cromwell
2954 Clubhouse Drive West                                      RS Legacy Corporation fka RadioShack
Clearwater, FL 33761                      14698      4/13/2016 Corporation                                                     $26.74                                                                                           $26.74
Martin, Mildred
48 Randall Street                                              RS Legacy Corporation fka RadioShack
Portland, ME 04103                        14699      3/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Li, Yue
42‐10 82nd St. Apt. #5J                                        RS Legacy Corporation fka RadioShack
Elmhurst, NY 11373                        14700      3/29/2016 Corporation                                                                      $100.00                                $100.00                                 $200.00
Klaskin, Teresa
PO Box 144132                                                  RS Legacy Corporation fka RadioShack
Miami, FL 33114                           14701      3/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Myers, Lourdes
26114 VIA PERA                                                 RS Legacy Corporation fka RadioShack
MISSION VIEJO, CA 92691                   14702      3/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Scott, Gwendolyn
PO Box 4972                                                    RS Legacy Corporation fka RadioShack
Capitol Heights, MD 20791                 14703      3/18/2016 Corporation                                                     $25.00                                                                                           $25.00
Medford, Rebecca (Becky)
4003 Olde Coach Rd                                             RS Legacy Corporation fka RadioShack
Durham, NC 27707                          14704      3/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Zahm, Hilde
305 S. Val Vista #370                                          RS Legacy Corporation fka RadioShack
Mesa, AZ 85204                            14705      3/29/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Selena Ibarra
501 Briarcrest Dr                                              RS Legacy Corporation fka RadioShack
Burleson, Texas 76028                     14706      4/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Stephen M Gill
132 Birch Avenue                                               RS Legacy Corporation fka RadioShack
Little Silver, NJ 07739                   14707      4/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Yassamin Ilyavi
7118 Capistrano Ave                                            RS Legacy Corporation fka RadioShack
West Hills,, CA 91307                     14708      4/13/2016 Corporation                                                     $77.69                                                                                           $77.69
Stacy O'Dea
13303 Oak Forest Court                                         RS Legacy Corporation fka RadioShack
Louisville, KY 40245                      14709      4/13/2016 Corporation                                                     $15.89                                                                                           $15.89
clayton doane
po bx 312                                                      RS Legacy Corporation fka RadioShack
binghamton, ny 13902                      14710      4/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Wes Kerns
44 Baron Rd.                                                   RS Legacy Corporation fka RadioShack
Franklin, MA 02038                        14711      4/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Utter, Robert
Yucca Valley                                                   RS Legacy Corporation fka RadioShack
CA, 92284                                 14712      4/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Tina Sleightholm
3509 Crestview LN                                              RS Legacy Corporation fka RadioShack
Catoosa, OK 74015                         14713      4/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Deleon, Patricia
346 NY‐25A Ste 60                                              RS Legacy Corporation fka RadioShack
Rocky Point, NY 11778                     14714      4/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Mary Haberman
PO Box 91                                                      RS Legacy Corporation fka RadioShack
Lucan, MN 56255                           14715      4/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Will Vahle
248 West Mountain Rd                                           RS Legacy Corporation fka RadioShack
Lenox, MA 01240                           14716      4/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Kyle Peterman
20324 Hillside Dr                                              RS Legacy Corporation fka RadioShack
Corcoran, MN 55374                        14717      4/13/2016 Corporation                                                     $30.02                                                                                           $30.02
Diana Chiritesccu
1405 Carpenter Town Lane                                       RS Legacy Corporation fka RadioShack
Cary, NC 27519                            14718      4/13/2016 Corporation                                                    $146.47                                                                                          $146.47
Vincent Lin
2619 Long Leaf Dr                                              RS Legacy Corporation fka RadioShack
Sugar Land, texas 77478                   14719      4/13/2016 Corporation                                                    $100.00                                                                                          $100.00
Carla Sevcik
114 Cord Road                                                  RS Legacy Corporation fka RadioShack
Monongahela, Pa 15063                     14720      4/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Maddie gorzoch
922 n pearl street                                             RS Legacy Corporation fka RadioShack
Tacoma, Washington 98406                  14721      4/13/2016 Corporation                                                      $0.00                                                                                            $0.00
ilias sigalos
744 hope st                                                    RS Legacy Corporation fka RadioShack
stamford, ct 06907                        14722      4/13/2016 Corporation                                                     $50.00                                                                                           $50.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
ilias
isigalos@aol.com                                               RS Legacy Corporation fka RadioShack
stamford, ct 06907                        14723      4/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Angelica Batz‐Menchu
1808 Shuler Avenue                                             RS Legacy Corporation fka RadioShack
Hamilton, Ohio 45011                      14724      4/14/2016 Corporation                                                      $0.00                                                                                            $0.00
ROBERT rosen
437 south juanita st.                                          RS Legacy Corporation fka RadioShack
hemet, ca 92543                           14725      4/14/2016 Corporation                                                      $0.00                                                                                            $0.00
ROBERT ROSEN
437 south juanita st                                           RS Legacy Corporation fka RadioShack
HEMET, CALIF 92543                        14726      4/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Sean W. Russell
125 Saint Drive                                                RS Legacy Corporation fka RadioShack
Dingmans Ferry, PA 18328                  14727      4/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Dancy, Wanda D
4625 Pine St F405                                              RS Legacy Corporation fka RadioShack
Phila , PA 19143                          14728      4/14/2016 Corporation                                                     $46.65                                                                                           $46.65
Wilkinson, Donald
112 SHERMAN ROAD                                               RS Legacy Corporation fka RadioShack
GLASTONBURY, CT 06033                     14729      4/14/2016 Corporation                                                    $100.00                                                                                          $100.00
b rendino
po box 332                                                     RS Legacy Corporation fka RadioShack
north bennington, vt 05257                14730      4/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          14731      3/7/2016 Corporation                                                                                                                                                        $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          14732      5/11/2016 Corporation                                                                                                                                                       $0.00
George A Johnson
6 Churchill Dr                                                 RS Legacy Corporation fka RadioShack
Cherry Hills Village, CO 80113            14733      4/14/2016 Corporation                                                     $18.30                                                                                           $18.30
Peter Kondrashov
250 Touchstone Place #90                                       RS Legacy Corporation fka RadioShack
West Sacramento, CA 95691                 14734      4/14/2016 Corporation                                                     $14.00                                                                                           $14.00
Deborah Summers
2521 NW Overbrook                                              RS Legacy Corporation fka RadioShack
Lees Summit, MO 64081                     14735      4/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Ray Martinelli
4 Overbrook                                                    RS Legacy Corporation fka RadioShack
Flanders, NJ 07836                        14736      4/14/2016 Corporation                                                      $0.00                                                                                            $0.00
ansieh massih
147 orchard oak circle                                         RS Legacy Corporation fka RadioShack
campbell, ca 95008                        14737      4/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Renee Kettelhut
26022 SW 103rd Rd                                              RS Legacy Corporation fka RadioShack
Beatrice, NE 68310                        14738      4/14/2016 Corporation                                                     $50.00                                                                                           $50.00
Lydia Drenth
3864 melody ln                                                 RS Legacy Corporation fka RadioShack
Hart, MI 49420                            14739      4/14/2016 Corporation                                                     $20.00                                                                                           $20.00
Lauren Witty‐Larson
1 McGinnis Dr                                                  RS Legacy Corporation fka RadioShack
Burlington, MA 01803                      14740      4/14/2016 Corporation                                                      $0.00                                                                                            $0.00



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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Tenzin Choephel
11556 Greenwood Ave N Apt 103                                  RS Legacy Corporation fka RadioShack
Seattle, WA 98133                         14741      4/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Lisa L Pedersen
312 Montgomery Ave, C5                                         RS Legacy Corporation fka RadioShack
Haverford, PA 19041                       14742      4/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Mary Fischbach
23207 Village 23                                               RS Legacy Corporation fka RadioShack
Camarillo, CA 93012                       14743      4/14/2016 Corporation                                                      $8.53                                                                                            $8.53
Cheryl Zellers
239 Plum Creek Rd                                              RS Legacy Corporation fka RadioShack
Sunbury, PA 17801                         14744      4/14/2016 Corporation                                                     $24.30                                                                                           $24.30
Cheryl A Zellers
239 Plum Creek Rd                                              RS Legacy Corporation fka RadioShack
Sunbury, PA 17801                         14745      4/14/2016 Corporation                                                     $24.30                                                                                           $24.30
Sean O'Keeffe
246 E 46th St Apt 5M                                           RS Legacy Corporation fka RadioShack
New York, NY 10017                        14746      4/15/2016 Corporation                                                     $16.35                                                                                           $16.35
Teresa Tantano
94‐415 Lakau Pl                                                RS Legacy Corporation fka RadioShack
Waipahu, HI 96797                         14747      4/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Lisa Green
11748 Burray Road                                              RS Legacy Corporation fka RadioShack
Chesterfield, VA 23838                    14748      4/15/2016 Corporation                                                     $12.65                                                                                           $12.65
Mark Haley
24105 W Beach Grove Rd                                         RS Legacy Corporation fka RadioShack
Antioch, IL 60002‐2239                    14749      4/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Brandon Hughey
10033 N Sheridan Dr                                            RS Legacy Corporation fka RadioShack
Mequon, WI 53092                          14750      4/15/2016 Corporation                                                     $46.63                                                                                           $46.63
Tama O'Brien
4325 Douglaston Pkwy #6K                                       RS Legacy Corporation fka RadioShack
Douglaston, NY 11363                      14751      4/15/2016 Corporation                                                     $50.00                                                                                           $50.00
Ivana Gagliardi
155 Kentworth Circle                                           RS Legacy Corporation fka RadioShack
Alpharetta, GA 30004                      14752      4/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Patrick W Borthwick
1736 Beaver Pond Road                                          RS Legacy Corporation fka RadioShack
Gulf Breeze, FL 32563‐9204                14753      4/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Stacy Capps
1308 Landers Swink Road                                        RS Legacy Corporation fka RadioShack
Eclectic, AL 36024                        14754      4/15/2016 Corporation                                                     $50.00                                                                                           $50.00
Robert Zandi
270 Church Ave. Apartment #2                                   RS Legacy Corporation fka RadioShack
Brooklyn, New York 11218                  14755      4/15/2016 Corporation                                                     $25.00                                                                                           $25.00
Pam Turner
4930 Coughran Rd                                               RS Legacy Corporation fka RadioShack
Pleasanton, TX 78064                      14756      4/15/2016 Corporation                                                     $51.94                                                                                           $51.94
Bonnie Milano
15127 Rosemary Court                                           RS Legacy Corporation fka RadioShack
THORNTON, CO 80602                        14757      4/15/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Usiel Quiroz
2333 Grand Prix Dr. Apt.                                       RS Legacy Corporation fka RadioShack
Indianapolis, IN 46224                    14758      4/15/2016 Corporation                                                    $160.49                                                                                          $160.49
Nickolas Colucci
47287 Ellie Dr                                                 RS Legacy Corporation fka RadioShack
Macomb, Michigan 48044                    14759      4/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Victor Martinez
617 main st 2nd floor                                          RS Legacy Corporation fka RadioShack
Middletown, ct 06457                      14760      4/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Arvind Sharma
15206 NE 71st Ct                                               RS Legacy Corporation fka RadioShack
Redmond, WA 98052                         14761      4/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Marc Groulx
716 Wesley Ave                                                 RS Legacy Corporation fka RadioShack
Oak Park, IL 60304                        14762      4/16/2016 Corporation                                                     $76.28                                                                                           $76.28
Dianne Engelman
18110 Wagon Trail                                              RS Legacy Corporation fka RadioShack
Mead, CO 80542                            14763      4/16/2016 Corporation                                                     $21.26                                                                                           $21.26
Dan Gelzer
2000 172nd Ave N.E.                                            RS Legacy Corporation fka RadioShack
Bellevue, WA 98008                        14764      4/16/2016 Corporation                                                     $50.00                                                                                           $50.00
Chase LaFontaine
58 Fanton Hill Road                                            RS Legacy Corporation fka RadioShack
Weston, CT 06883                          14765      4/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Heather Martin
60 SW 13th Street #1806                                        RS Legacy Corporation fka RadioShack
Miami, FL 33130                           14766      4/16/2016 Corporation                                                     $25.00                                                                                           $25.00
Hyeree Carpenter
5925 104th Pl NE                                               RS Legacy Corporation fka RadioShack
Kirkland, WA 98033                        14767      4/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Heather Dalimonte
358 port sheldon rd                                            RS Legacy Corporation fka RadioShack
Grandville, mi 49418                      14768      4/17/2016 Corporation                                                    $100.00                                                                                          $100.00
Bryan York
212 north potomac st                                           RS Legacy Corporation fka RadioShack
Hagerstown, Md 21740                      14769      4/17/2016 Corporation                                                      $0.00                                                                                            $0.00
katie chambers
356 vanderveer road                                            RS Legacy Corporation fka RadioShack
Bridgewater, NJ 08807                     14770      4/17/2016 Corporation                                                     $57.41                                                                                           $57.41
steven dow
2441 E 49th St                                                 RS Legacy Corporation fka RadioShack
Tulsa, OK 74105                           14771      4/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Wyatt Raymond
1990 W M‐61                                                    RS Legacy Corporation fka RadioShack
Gladwin, MI 48624                         14772      4/17/2016 Corporation                                                      $0.00                                                                                            $0.00
chayra diaz
Pmb 1928 calle paris 243                                       RS Legacy Corporation fka RadioShack
san juan, pr 00917                        14773      4/18/2016 Corporation                                                     $50.00                                                                                           $50.00
Peck, Deanna
PO Box 206                                                     RS Legacy Corporation fka RadioShack
Lyndonville, VT 05851                     14774      4/18/2016 Corporation                                                     $34.11                                                                                           $34.11




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
jacqueline lamuth
2410 Bryden Road                                               RS Legacy Corporation fka RadioShack
Columbus, OH 43209                        14775      4/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Carolyn Wright
5004 Wilkins Rd                                                RS Legacy Corporation fka RadioShack
Decatur, GA 30035                         14776      4/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Curtis Ducken
12 traybern way                                                RS Legacy Corporation fka RadioShack
Camden Wyoming, delaware 19934            14777      4/18/2016 Corporation                                                     $71.99                                                                                           $71.99
John Brooks
4408 Bowman Dr.                                                RS Legacy Corporation fka RadioShack
Colleyville, Tx 76034                     14778      4/18/2016 Corporation                                                      $0.00                                                                                            $0.00
DUSTIN NORD
16506 Forbes Ave W                                             RS Legacy Corporation fka RadioShack
Rosemount, MN 55068                       14779      4/18/2016 Corporation                                                     $29.47                                                                                           $29.47
J.T. Sydnor, Jr.
109 Penrose Ln                                                 RS Legacy Corporation fka RadioShack
Staunton, VA 24401                        14780      4/18/2016 Corporation                                                     $26.05                                                                                           $26.05
Lawrence Triezenberg
12966 Blueberry Ln                                             RS Legacy Corporation fka RadioShack
Holland, MI 49424                         14781      4/18/2016 Corporation                                                     $25.00                                                                                           $25.00
Lori Marks
607 South Albany Ave #7                                        RS Legacy Corporation fka RadioShack
Tampa, FL 33606                           14782      4/18/2016 Corporation                                                     $81.28                                                                                           $81.28
Scott Booth
13241 Mango Drive                                              RS Legacy Corporation fka RadioShack
Del Mar, CA 92014                         14783      4/18/2016 Corporation                                                      $0.00                                                                                            $0.00
David Adams
5121 Prince Edward Ave                                         RS Legacy Corporation fka RadioShack
El Paso, Texas 79924                      14784      4/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Spennato , Nicholas A.
1406 Ratcliffe Court                                           RS Legacy Corporation fka RadioShack
Newtown Sq , PA 19073                     14785      4/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Wisenbaker, Cordelia
4305 Creekbend                                                 RS Legacy Corporation fka RadioShack
Houston , TX 77035                        14786      4/18/2016 Corporation                                                      $0.00                                                                                            $0.00
filomena Aloe
102 Laurel Drive                                               RS Legacy Corporation fka RadioShack
new hyde park, NY 11040                   14787      4/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Erik Duran
1826 Oriole Drive                                              RS Legacy Corporation fka RadioShack
League city/Tx/77573, Texas 77573         14788      4/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Nasheema Harvey
1440 NE 43 CT                                                  RS Legacy Corporation fka RadioShack
Pompano Beach, FL 33064                   14789      4/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Moton, Deborah
83180 No Grandview DR                                          RS Legacy Corporation fka RadioShack
Brown Deer, WU 53223                      14790      4/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Lynn Mehl
1160 Washington Green                                          RS Legacy Corporation fka RadioShack
New Windsor, NY 12553                     14791      4/18/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Joseph Muro
5 Tanglewood Lane                                              RS Legacy Corporation fka RadioShack
Norwalk, CT 06851                         14792      4/18/2016 Corporation                                                    $106.35                                                                                          $106.35
Anthony Bocskor
8404 96 Street                                                 RS Legacy Corporation fka RadioShack
Woodhaven, NY 11421                       14793      4/18/2016 Corporation                                                     $20.00                                                                                           $20.00
Peter Browne
72 Seney Drive                                                 RS Legacy Corporation fka RadioShack
Bernardsville, NJ 07924                   14794      4/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Seth LaRiviere
856 Hilltop Ave                                                RS Legacy Corporation fka RadioShack
98031, 0 000                              14795      4/19/2016 Corporation                                                      $4.39                                                                                            $4.39
sean butler
545 Princeton Cir East                                         RS Legacy Corporation fka RadioShack
Fullerton, ca 92831                       14796      4/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Charles Baker
Po Box 1512                                                    RS Legacy Corporation fka RadioShack
Lockhart, Tx 78644                        14797      4/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Vinsetta Montgomery
4286 Portobello Dr                                             RS Legacy Corporation fka RadioShack
Gahanna, OH 43230                         14798      4/19/2016 Corporation                                                     $50.00                                                                                           $50.00
clifton learn
6420 avenida wilfredo                                          RS Legacy Corporation fka RadioShack
la jolla, ca 92037                        14799      4/19/2016 Corporation                                                      $0.00                                                                                            $0.00
clilfton learn
6420 avenida wilfredo                                          RS Legacy Corporation fka RadioShack
la jolla, ca 92037                        14800      4/19/2016 Corporation                                                     $68.94                                                                                           $68.94
clifton learn
6420 avenida wilfredo                                          RS Legacy Corporation fka RadioShack
la jolla, ca 92037                        14801      4/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Andy Woo
17603 NE 134th Place                                           RS Legacy Corporation fka RadioShack
Redmond, WA 98052                         14802      4/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Jeffrey Garrett
728 41st street                                                RS Legacy Corporation fka RadioShack
Brooklyn, Ny 11232                        14803      4/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Evan Feldman
21450 Millbrook Court                                          RS Legacy Corporation fka RadioShack
Boca Raton, FL 33498                      14804      4/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Fova, Blaise
15 Brandywine Dr.                                              RS Legacy Corporation fka RadioShack
Marlton, NJ 08053                         14805      4/14/2016 Corporation                                                     $21.37                                                                                           $21.37
Hecker, Theresa J.
1963 Cherokee Rd                                               RS Legacy Corporation fka RadioShack
Carpentersville, IL 60110                 14806      4/19/2016 Corporation                                                      $1.06                                                                                            $1.06
Hecker, Theresa J.
1963 Cherokee Rd                                               RS Legacy Corporation fka RadioShack
Carpentersville, IL 60110                 14807      4/19/2016 Corporation                                                     $39.46                                                                                           $39.46
Aiza Soares
229 Deer Street                                                RS Legacy Corporation fka RadioShack
Somerset, MA 02726                        14808      4/19/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Lori Wakefield
976 Featherstone Street                                        RS Legacy Corporation fka RadioShack
Gaithersburg, MD 20878                    14809      4/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Reddington, Susan
123 Northwood Drive                                            RS Legacy Corporation fka RadioShack
Depew, NY 14043                           14810      4/19/2016 Corporation                                                     $32.61                                                                                           $32.61
Marrapu, Nihar
4261 Stevenson Blvd, Apt # 119                                 RS Legacy Corporation fka RadioShack
Fremont, CA 94538                         14811      4/19/2016 Corporation                                                    $100.00                                                                                          $100.00
Simon, Alexander N.
1222 Claremont Ave.                                            RS Legacy Corporation fka RadioShack
Richmond, VA 23227                        14812      4/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Keith Lau
2134W 236Place                                                 RS Legacy Corporation fka RadioShack
Torrance, CA 90501                        14813      4/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Erickson, Jean
4726 11th Ave N.E. # 703                                       RS Legacy Corporation fka RadioShack
Seattle, Wa 98105                         14814      4/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Hoban, Frank
130 Moull St.                                                  RS Legacy Corporation fka RadioShack
Newark, OH 43055                          14815      4/19/2016 Corporation                                                    $205.42                                                                                          $205.42
Tom Jakob
1271 Belmont Dr                                                RS Legacy Corporation fka RadioShack
Woodbury, MN 55125                        14816      4/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Edgardo Gonzalez
1302 santee dr apt G                                           RS Legacy Corporation fka RadioShack
San jose, CA 95122                        14817      4/20/2016 Corporation                                                     $50.00                                                                                           $50.00
Henry Tran
27421 Betanzos                                                 RS Legacy Corporation fka RadioShack
Mission Viejo, CA 92692                   14818      4/20/2016 Corporation                                                     $25.00                                                                                           $25.00
Julie M Lyness
26 Bromby Court                                                RS Legacy Corporation fka RadioShack
Rising Sun, MD 21911                      14819      4/20/2016 Corporation                                                     $50.00                                                                                           $50.00
Tejas Brahmbhatt
3611 Timor Court                                               RS Legacy Corporation fka RadioShack
San Bruno, CA 94066                       14820      4/20/2016 Corporation                                                     $57.35                                                                                           $57.35
Kareem Murphy
738 Albany apt. 6c                                             RS Legacy Corporation fka RadioShack
Brooklyn, NY 11203                        14821      4/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael Tripodi
391 Hoffman lane                                               RS Legacy Corporation fka RadioShack
Hauppauge, Ny 11788                       14822      4/20/2016 Corporation                                                     $74.00                                                                                           $74.00
Greg Chandonnet
11 sunrise avenue                                              RS Legacy Corporation fka RadioShack
Worcester, MA 01606                       14823      4/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Owen‐Fekete, Marion A.
526 Fenton St.                                                 RS Legacy Corporation fka RadioShack
Lansing, MI 48910                         14824      4/20/2016 Corporation                                                     $74.19                                                                                           $74.19
Chandirakanthan, Belen
4713 Rean Meadow Dr.                                           RS Legacy Corporation fka RadioShack
Dayton, OH 45440‐2028                     14825      4/20/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount           Amount
                                                                                                                      Amount                                                     Amount
Bodzioch, Lorraine
611 Spruce St.                                                 RS Legacy Corporation fka RadioShack
Linden, NJ 07036                          14826      4/20/2016 Corporation                                                    $117.69                                                                                            $117.69
Heidi Gagnon
310 Shearer Ave                                                RS Legacy Corporation fka RadioShack
Lawson, MO 64062                          14827      4/20/2016 Corporation                                                      $0.00                                                                                              $0.00
Christine Dutton
4113 Shrewsbury Ave                                            RS Legacy Corporation fka RadioShack
Saint Louis, MO 63119                     14828      4/20/2016 Corporation                                                      $0.00                                                                                              $0.00
Marsek, Linda
223 Grand Street                                               RS Legacy Corporation fka RadioShack
Croton ‐ On ‐ Hudson, NY 10520            14829      4/14/2016 Corporation                                                                                                                       I think 16.00                     $0.00
Bartkawiak, Tina Marie
1112‐33rd St.                                                  RS Legacy Corporation fka RadioShack
Bay City , MI 48708                       14830      4/13/2016 Corporation                                                     $10.48                                                                       $10.48                $20.96
Palmen, Jacob
133 N McDowell Blvd                                            RS Legacy Corporation fka RadioShack
Petaluma, CA 94954                        14831      4/13/2016 Corporation                                                                         $0.00                                 $0.00                                     $0.00
Tatom, Susan
76 Jackson St. Apt. 2L                                         RS Legacy Corporation fka RadioShack
Hoboken, NJ 07030                         14832      4/13/2016 Corporation                                                     $10.99                                                                                             $10.99
Fifo, Luljeta
78 Rutledge Rd                                                 RS Legacy Corporation fka RadioShack
Wethersfield, CT 06109                    14833      4/13/2016 Corporation                                                                                                                       Unknown                           $0.00
Sousley, Bonnie A.
255 Houston Ave                                                RS Legacy Corporation fka RadioShack
Paris , KY 40361                          14834      4/13/2016 Corporation                                                                                                                       Unknown                           $0.00
Buesser , Dorothy A.
275‐Palm Ave‐D‐ 202                                            RS Legacy Corporation fka RadioShack
Jupiter , Fl 33477                        14835      4/13/2016 Corporation                                                     $13.78                                                                       $13.78                $27.56
Manning, Linda
5224 N. 10th Street                                            RS Legacy Corporation fka RadioShack
Tacoma, WA 98406                          14836      4/13/2016 Corporation                                                     $10.93                                                                       $10.93                $21.86
Shaffer, Eric A
1244 Maluem Ave.                                               RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15217‐1141                 14837      4/13/2016 Corporation                                                     $52.42                                                                                             $52.42
Rahman, Md A
8050 Baxter Ave, 4A                                            RS Legacy Corporation fka RadioShack
Elmhurst , NY 11373                       14838      4/13/2016 Corporation                                                                                                                                  $50.00                $50.00
Totty, Pam
872 Valley View Rd                                             RS Legacy Corporation fka RadioShack
Ruckersville, VA 22968                    14839      4/13/2016 Corporation                                                                                                                                                         $0.00
Totty, Pam
872 Valley View Rd                                             RS Legacy Corporation fka RadioShack
Ruckersville, VA 22968                    14840      4/13/2016 Corporation                                                                                                                                                         $0.00
Visnich , Sherrie M.
509 Parkman Rd. N.W.                                           RS Legacy Corporation fka RadioShack
Warren, OH 44485                          14841      4/13/2016 Corporation                                                     $63.89                                                                                             $63.89
Vallone, Michael
100 West Shellbay Ave                                          RS Legacy Corporation fka RadioShack
CapeMay Courthouse, NJ 08210              14842      4/13/2016 Corporation                                                                                                                                  $25.00                $25.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
EDOE TATA SEWA DOVI
7917 spring cir                                                RS Legacy Corporation fka RadioShack
omaha, Ne 68124                           14843      4/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Theresa Reese
43537 Kirkland Ave 65                                          RS Legacy Corporation fka RadioShack
Lancaster, Ca 93535                       14844      4/20/2016 Corporation                                                      $0.00                                                                                            $0.00
eric bender
17602 17th street #103                                         RS Legacy Corporation fka RadioShack
tustin, ca 92780                          14845      4/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Mark Bierbower
7220 Bluewater Drive Apt 136                                   RS Legacy Corporation fka RadioShack
Clarkston, MI 48348                       14846      4/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Gemerre Edwards
PO Box 26                                                      RS Legacy Corporation fka RadioShack
Trenton, NJ 08638                         14847      4/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Sean Russell
619 Fairway Dr                                                 RS Legacy Corporation fka RadioShack
Washington Court House, OH 43160          14848      4/20/2016 Corporation                                                     $50.00                                                                                           $50.00
Mathew J Salo
152 Tanglewood Drive                                           RS Legacy Corporation fka RadioShack
East Longmeadow, MA 01028                 14849      4/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Christy Nordstrom
PO Box 27473                                                   RS Legacy Corporation fka RadioShack
Seattle, WA 98165                         14850      4/21/2016 Corporation                                                     $21.00                                                                                           $21.00
Jennifer Kuban
1241 W. Bryn Mawr Avenue                                       RS Legacy Corporation fka RadioShack
Roselle, IL 60172                         14851      4/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Cheryl Bright
1425 S. Tenaya Way                                             RS Legacy Corporation fka RadioShack
Las Vegas, NV 89117                       14852      4/21/2016 Corporation                                                    $164.31                                                                                          $164.31
brandon hansey
133 south mill street                                          RS Legacy Corporation fka RadioShack
Fergus falls, MN 56537                    14853      4/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Hangs, Wayne
748 Buckeye Ct                                                 RS Legacy Corporation fka RadioShack
Rifle, CO 81052                           14854      4/21/2016 Corporation                                                      $0.00                                                                                            $0.00
White, Melissa H
4222 Nail Rd                                                   RS Legacy Corporation fka RadioShack
Olive Branch, MS 38654                    14855      4/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Holley, Janet
213 Palafox Place                                              RS Legacy Corporation fka RadioShack
Pensacola, FL 32591                       14856      4/21/2016 Corporation                                                    $147.35                                                                                          $147.35
Wise, Tara
364 East St                                                    RS Legacy Corporation fka RadioShack
Easthampton, MA 01027                     14857      4/21/2016 Corporation                                                     $74.36                                                                                           $74.36
Matuszewski, Domenica
109 Nicholas Ave                                               RS Legacy Corporation fka RadioShack
Old Forge , PA 18518                      14858      4/21/2016 Corporation                                                     $10.91                                                                                           $10.91
Apt Jr., Charles
100 Ninth St, Room 241A                                        RS Legacy Corporation fka RadioShack
Mckeesport, PA 15132                      14859      4/21/2016 Corporation                                                      $9.59                                                                                            $9.59




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Dr O. Jupjil Odimbur
2276 calais Avenue                                             RS Legacy Corporation fka RadioShack
Las Cruces, NM 88011                      14860      4/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Miller, DAVID E
Po Box 1149                                                    RS Legacy Corporation fka RadioShack
Owingsville, KY 40360                     14861      4/21/2016 Corporation                                                     $73.58                                                                                           $73.58
Hakhovich, Audrei
154 Precita Ave                                                RS Legacy Corporation fka RadioShack
San Franscisco, CA 94110                  14862      4/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Wier, Brian
10400 NE 20th St                                               RS Legacy Corporation fka RadioShack
Vancouver, WA 98664                       14863      4/21/2016 Corporation                                                     $25.00                                                                                           $25.00
Marti, Lydia
225 South 4th St                                               RS Legacy Corporation fka RadioShack
Denver, PA 17517                          14864      4/21/2016 Corporation                                                     $46.00                                                                                           $46.00
Miller, Randy
10250 Main Str                                                 RS Legacy Corporation fka RadioShack
Lewisburg, OH 45338                       14865      4/21/2016 Corporation                                                     $50.00                                                                                           $50.00
Ballard, Willie J
2001 Ocean Ave                                                 RS Legacy Corporation fka RadioShack
San Franscisco, CA 94127                  14866      4/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Daly, George
26156 Workman Pl                                               RS Legacy Corporation fka RadioShack
Loma Linda, CA 92354                      14867      4/21/2016 Corporation                                                     $26.99                                                                                           $26.99
DiMarco, John
601 Steeple Chase Lane                                         RS Legacy Corporation fka RadioShack
Richmond Hill, GA 31324                   14868      4/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Brown, Sarah G
8530 Bermuda Street                                            RS Legacy Corporation fka RadioShack
Indianapolis, IN 46219                    14869      4/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Colebrook, William
2044 Cotten Rd                                                 RS Legacy Corporation fka RadioShack
Sanford, NC 27330                         14870      4/21/2016 Corporation                                                     $11.70                                                                                           $11.70
jerry bassler
70 corte real                                                  RS Legacy Corporation fka RadioShack
greenbrae, ca 94904                       14871      4/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Debbie Sullivan
2410 Morningside Dr                                            RS Legacy Corporation fka RadioShack
Duncan, OK 73533                          14872      4/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Cox, Charlotte H
300 Holman St.                                                 RS Legacy Corporation fka RadioShack
Laconia, NH 03246                         14873      4/21/2016 Corporation                                                     $37.98                                                                                           $37.98
Thomas, Dawn‐Marie
PO Box 133                                                     RS Legacy Corporation fka RadioShack
Kingshill, VI 00851‐0133                  14874      4/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Bautista, Angelito
123 E Vista Ave                                                RS Legacy Corporation fka RadioShack
Daly City, CA 94014                       14875      4/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Rosendale‐Cech, Angela
12101 Emmawalter Road                                          RS Legacy Corporation fka RadioShack
Lincoln, NE 68517‐9817                    14876      4/21/2016 Corporation                                                      $9.62                                                                                            $9.62




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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Celenza, Carmella
300 N. Rose Ave                                                RS Legacy Corporation fka RadioShack
Park Ridge, IL 60568                      14877      4/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Indictor, Mindy
570 Glen Meadow Road                                           RS Legacy Corporation fka RadioShack
Richboro, PA 18954                        14878      4/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Delbalto, Hector
110‐20 71 Road Apt. 108                                        RS Legacy Corporation fka RadioShack
Forest Hills, NY 11375                    14879      4/21/2016 Corporation                                                     $82.79                                                                                           $82.79
Mani, Sriniwasan
1028 Robin Ct                                                  RS Legacy Corporation fka RadioShack
Green Brook, NJ 08812                     14880      4/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Austad, Harald
104 Brinkmhoff St                                              RS Legacy Corporation fka RadioShack
Ridgefield Pakr, NJ 07660                 14881      4/21/2016 Corporation                                                     $20.00                                                                                           $20.00
Spath, Susan A
15 Rockywood Drive                                             RS Legacy Corporation fka RadioShack
Sandy Hook Ct, CT 06482                   14882      4/21/2016 Corporation                                                     $15.94                                                                                           $15.94
Sullivan, Debbie
2410 Morningside Dr                                            RS Legacy Corporation fka RadioShack
Duncan, OK 73533                          14883      4/21/2016 Corporation                                                      $0.00                                                                                            $0.00
donna guzman
27919 panorama hills drive                                     RS Legacy Corporation fka RadioShack
menifee, ca 92584                         14884      4/21/2016 Corporation                                                     $50.00                                                                                           $50.00
Brittney Ryan
PO Box 152                                                     RS Legacy Corporation fka RadioShack
Sand Coulee, MT 59472                     14885      4/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Sarah Rafferty
559 S. Grandview Ave.                                          RS Legacy Corporation fka RadioShack
Dubuque, IA 52003                         14886      4/21/2016 Corporation                                                      $0.00                                                                                            $0.00
meghan lannen
740 lemon ave                                                  RS Legacy Corporation fka RadioShack
el cajon, ca 92020                        14887      4/22/2016 Corporation                                                    $250.00                                                                                          $250.00
Nancy Alloway
108 Bill of Rights Lane                                        RS Legacy Corporation fka RadioShack
Downingtown, PA 19335                     14888      4/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Grace Cordeiro
26 Monterey Dr.                                                RS Legacy Corporation fka RadioShack
Bristol, RI 02809                         14889      4/22/2016 Corporation                                                     $32.09                                                                                           $32.09
Heidi Johnson
59 W Main St.                                                  RS Legacy Corporation fka RadioShack
GREENWICH, OH 44837                       14890      4/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael Branch Variety Auto
221 Washington Highway                                         RS Legacy Corporation fka RadioShack
Smithfield, RI 02917                      14891      4/18/2016 Corporation                                                      $0.00              $0.00                                 $0.00                                   $0.00
David K. Ho
3496 Tallgrass Court                                           RS Legacy Corporation fka RadioShack
Perris, CA 92570                          14892      4/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Katie Gagen
532 west 44th place                                            RS Legacy Corporation fka RadioShack
Chicago, Il 60609                         14893      4/22/2016 Corporation                                                     $25.00                                                                                           $25.00




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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Jeffrey Zamanski
250 N 10th Street #305                                         RS Legacy Corporation fka RadioShack
Brooklyn, NY 11211                        14894      4/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Erick Guerrero
409 Arroll Ct                                                  RS Legacy Corporation fka RadioShack
Charlotte, NC 28213                       14895      4/22/2016 Corporation                                                    $162.36                                                                                          $162.36
WOO SUK choi
16133 S. Vermont Ave Unit 2                                    RS Legacy Corporation fka RadioShack
GARDENA, CA 90247                         14896      4/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Anurag Das
3635 Flagstone Circle                                          RS Legacy Corporation fka RadioShack
Middleton, WI 53562                       14897      4/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Cordeiro, Grace
26 Monterey Dr.                                                RS Legacy Corporation fka RadioShack
Bristol, RI 02809                         14898      4/23/2016 Corporation                                                     $32.09                                                                                           $32.09
Bolivar, Franck
600 Shrewsbury Street                                          RS Legacy Corporation fka RadioShack
Charleston, WV 25301                      14899      4/23/2016 Corporation                                                    $200.00                                                                                          $200.00
Krakauer, Andrew
506 Clifton Street                                             RS Legacy Corporation fka RadioShack
Westfield, NJ 07090                       14900      4/23/2016 Corporation                                                     $21.37                                                                                           $21.37
Kelsey Chinberg
645 todd dr                                                    RS Legacy Corporation fka RadioShack
Louisville, Kentucky 40217                14901      4/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Arnold torres
9473 quetzal                                                   RS Legacy Corporation fka RadioShack
Corpus christi, Tx 78418                  14902      4/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Nicholas Ferranti
10 Scaralia Road                                               RS Legacy Corporation fka RadioShack
Cranston, RI 02921                        14903      4/23/2016 Corporation                                                      $0.00                                                                                            $0.00
JoLyn Janecko
4125 East Barber Drive                                         RS Legacy Corporation fka RadioShack
Boise, ID 83716                           14904      4/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Daniel Crocker
4507 Dorset Ave                                                RS Legacy Corporation fka RadioShack
Chevy Chase, MD 20815                     14905      4/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Matthew Beal
2507 N SACRAMENTO AVE                                          RS Legacy Corporation fka RadioShack
CHICAGO, IL 60647                         14906      4/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Matthew Beal
2507 N SACRAMENTO AVE                                          RS Legacy Corporation fka RadioShack
CHICAGO, IL 60647                         14907      4/23/2016 Corporation                                                      $0.00                                                                                            $0.00
daozhi wang
2272 Haggerty Dr                                               RS Legacy Corporation fka RadioShack
Dublin, CA 94568                          14908      4/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Sharon Benson
1806 Seminary Street                                           RS Legacy Corporation fka RadioShack
Nashville, TN 37207                       14909      4/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Nancy Tullo
36 Potter Road                                                 RS Legacy Corporation fka RadioShack
Waltham, MA 02453                         14910      4/24/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Justin Pupa
1625 Emmons Avenue Apartment 1T                                RS Legacy Corporation fka RadioShack
Brooklyn, New York 10005                  14911      4/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert Brown
325 Meridian Ave., #14                                         RS Legacy Corporation fka RadioShack
Miami Beach, FL 33139                     14912      4/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Molly Carocci
461 Old Marlboro Road                                          RS Legacy Corporation fka RadioShack
Concord, MA 01742                         14913      4/24/2016 Corporation                                                     $90.00                                                                                           $90.00
Matthew Castanho
350 Grovers Avenue, Unit 7J                                    RS Legacy Corporation fka RadioShack
Bridgeport, CT 06605                      14914      4/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Britani Hendricks
2524 Kolo Rd.                                                  RS Legacy Corporation fka RadioShack
Kilauea, hi 96754                         14915      4/24/2016 Corporation                                                     $89.99                                                                                           $89.99
Maria Orozco
8324 fields st                                                 RS Legacy Corporation fka RadioShack
Panama City Beach, FLORIDA 32413          14916      4/24/2016 Corporation                                                      $8.62                                                                                            $8.62
Christy Yancey
7598 County Rd 337                                             RS Legacy Corporation fka RadioShack
Fulton, Mo 65251                          14917      4/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Jennifer Jeffers
15 Village Court                                               RS Legacy Corporation fka RadioShack
Columbia, SC 29209                        14918      4/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Paul Best
1408 N Holly St                                                RS Legacy Corporation fka RadioShack
Canby, OR 97013                           14919      4/24/2016 Corporation                                                     $59.99                                                                                           $59.99
Kailey Kaplan
1007 pine st                                                   RS Legacy Corporation fka RadioShack
Santa Monica, Ca 90405                    14920      4/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Beverly Gaines
215 Moseley Crossing Drive                                     RS Legacy Corporation fka RadioShack
Stockbridge, GA 30281                     14921      4/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Gayle Ceron
6041 Pierson CT.                                               RS Legacy Corporation fka RadioShack
Arvada, CO 80004                          14922      4/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Mark Way
1641 Broadway St. Lot 11                                       RS Legacy Corporation fka RadioShack
Dayton, Tennessee 37321                   14923      4/24/2016 Corporation                                                     $30.00                                                                                           $30.00
Jeff London
3587 Route 9, Suite 244                                        RS Legacy Corporation fka RadioShack
FREEHOLD, NJ 07728                        14924      4/24/2016 Corporation                                                     $85.98                                                                                           $85.98
Michael Yim
23 VIa Puerta Court                                            RS Legacy Corporation fka RadioShack
Bay Point, CA 94565                       14925      4/25/2016 Corporation                                                    $125.00                                                                                          $125.00
J Albert Jacobs
221 Wida Road                                                  RS Legacy Corporation fka RadioShack
Indiana, PA 15701                         14926      4/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Kathleen Eberhart
512 South 8th Street                                           RS Legacy Corporation fka RadioShack
Laramie, WY 82070                         14927      4/25/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Pamela Prescott
13 Pearl Street                                                RS Legacy Corporation fka RadioShack
Laconia, NH 03246                         14928      4/25/2016 Corporation                                                  $2,500.00                                                                                        $2,500.00
Clarence Snodgrass
211 Tennessee Ave.                                             RS Legacy Corporation fka RadioShack
Alexandria, VA 22305                      14929      4/25/2016 Corporation                                                    $100.00                                                                                          $100.00
Mary Liounis
5 William Street                                               RS Legacy Corporation fka RadioShack
Glen Head, NY 11545                       14930      4/25/2016 Corporation                                                     $16.39                                                                                           $16.39
Tom Herburger
7382 SW Eastmoor Terrace                                       RS Legacy Corporation fka RadioShack
Portland, OR 97225‐1530                   14931      4/25/2016 Corporation                                                      $9.99                                                                                            $9.99
Vanderpool, Kathy
3313 River Woods Dr.                                           RS Legacy Corporation fka RadioShack
Parrish, FL 34219                         14932      4/25/2016 Corporation                                                     $20.00                                                                                           $20.00
Liounis, Mary
5 William Street                                               RS Legacy Corporation fka RadioShack
Glen Head, NY 11545                       14933      4/25/2016 Corporation                                                     $45.70                                                                                           $45.70
David Garing
8702 Melshire Drive                                            RS Legacy Corporation fka RadioShack
Austin, TX 78757‐6918                     14934      4/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Patrick J. Vasquez
2006 Bowling Green St                                          RS Legacy Corporation fka RadioShack
Denton, TX 76201                          14935      4/25/2016 Corporation                                                      $0.00                                                                                            $0.00
VICKY WILSON
PO BOX 1352                                                    RS Legacy Corporation fka RadioShack
LAGUNA BEACH, CA 92652                    14936      4/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Ammirati, Rita E.
85‐53 102nd Street                                             RS Legacy Corporation fka RadioShack
Richmond Hill, NY 11418                   14937      4/25/2016 Corporation                                                     $26.16                                                                                           $26.16
Tracy Encapera
4323 Whiting Dr                                                RS Legacy Corporation fka RadioShack
Sebring, FL 33870                         14938      4/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Katie Gagen
532 west 44th place                                            RS Legacy Corporation fka RadioShack
Chicago, Il 60609                         14939      4/25/2016 Corporation                                                     $25.00                                                                                           $25.00
Hans D. Gehman
1224 Wissler Lane                                              RS Legacy Corporation fka RadioShack
Mount Joy, PA 17552                       14940      4/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Kevin Lipman
1217 Stearns Dr                                                RS Legacy Corporation fka RadioShack
Los Angeles, CA 90035                     14941      4/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Rohit Rana
5006 Hyde Park Dr                                              RS Legacy Corporation fka RadioShack
Indian Trail, NC 28079                    14942      4/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Kevin Lipman
1217 Stearns Dr                                                RS Legacy Corporation fka RadioShack
Los Angeles, CA 90035                     14943      4/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Prabhu Viswanathan
615 Stonecrest Dr                                              RS Legacy Corporation fka RadioShack
Birmingham, AL 35242                      14944      4/25/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                    Current General                                            Current 503(b)(9)
                                                                                                                                          Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address      Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
Maya Samuels
40 Gordon Plaza Dr                                               RS Legacy Corporation fka RadioShack
New Orleans, LA 70126                       14945      4/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Allen Wang
1115 Vineyard Hill Road                                          RS Legacy Corporation fka RadioShack
Catonsville, MD 21228                       14946      4/26/2016 Corporation                                                    $100.00                                                                                          $100.00
Marc ashby
205 roseman ct                                                   RS Legacy Corporation fka RadioShack
Newark, De 19711                            14947      4/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Lyla Pallan
22523 Westbrook Cinco Lane                                       RS Legacy Corporation fka RadioShack
Katy, TX 77450                              14948      4/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Steve Mattos
13747 Licha Lane #131                                            RS Legacy Corporation fka RadioShack
Oregon House, CA 95962                      14949      4/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Eric Piatt
87 E Broadway                                                    RS Legacy Corporation fka RadioShack
Derry, NH 03038                             14950      4/26/2016 Corporation                                                     $16.38                                                                                           $16.38
Winterhawk Samuel Smith/Guy Samuel Smith
2600 Center St N.E.                                              RS Legacy Corporation fka RadioShack
Salem, OR 97301                             14951      4/25/2016 Corporation                                                      $0.00              $0.00                                                                         $0.00
Winterhawk Samuel Smith
Guy Samuel Smith
2600 Center St N.E.                                              RS Legacy Corporation fka RadioShack
Salem, OR 97301                             14952      3/29/2016 Corporation                                                                         $0.00                                 $0.00                                   $0.00
giovanni dichiara
po box 99                                                        RS Legacy Corporation fka RadioShack
euless, tx 76039                            14953      4/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Jaclyn Gosliga
615 east 3rd st apt. 127                                         RS Legacy Corporation fka RadioShack
Pomona, Ca 91766                            14954      4/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Eric Eshbaugh
7512 Barrens Road                                                RS Legacy Corporation fka RadioShack
ROANOKE, VA 24019                           14955      4/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Jessica Redinger
4114 N 5th Way                                                   RS Legacy Corporation fka RadioShack
Ridgefield, WA 98642                        14956      4/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Krista A Abram
41 Crawford Vlg Apt. C                                           RS Legacy Corporation fka RadioShack
McKeesport, PA 15132                        14957      4/26/2016 Corporation                                                    $377.00                                                                                          $377.00
Jonathan Miller
29954 Paint Brush Dr                                             RS Legacy Corporation fka RadioShack
Evergreen, CO 80439                         14958      4/26/2016 Corporation                                                     $25.06                                                                                           $25.06
Stacy Guidry
P.O. Box 13965                                                   RS Legacy Corporation fka RadioShack
Sacramento, ca 95853                        14959      4/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Qing Zhang
14732 Ames Ave                                                   RS Legacy Corporation fka RadioShack
Omaha, NE 68116                             14960      4/26/2016 Corporation                                                     $50.00                                                                                           $50.00
Hilda Lee
8223 E. Kinghurst Rd.                                            RS Legacy Corporation fka RadioShack
San Gabriel, CA 91775                       14961      4/27/2016 Corporation                                                      $0.00                                                                                            $0.00



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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Chase Poore
432 shawnee rd                                                 RS Legacy Corporation fka RadioShack
bristol, va 24201                         14962      4/27/2016 Corporation                                                    $286.00                                                                                          $286.00
Anthony Cellura
20130 Lakeview Court                                           RS Legacy Corporation fka RadioShack
Rocky River, OH 44116                     14963      4/27/2016 Corporation                                                    $100.00                                                                                          $100.00
Fadda abusamha
12348 n hwy 99 #14                                             RS Legacy Corporation fka RadioShack
Lodi, Ca 95240                            14964      4/27/2016 Corporation                                                    $150.00                                                                                          $150.00
Susan Tunney
1416 LUINAKOA STREET                                           RS Legacy Corporation fka RadioShack
Honolulu, HI 96821                        14965      4/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Frank Arcilesi
9722 Hellingly Place                                           RS Legacy Corporation fka RadioShack
Montgomery Village, Maryland 20886        14966      4/27/2016 Corporation                                                    $100.00                                                                                          $100.00
Frank Arcilesi
9722 Hellingly PLace                                           RS Legacy Corporation fka RadioShack
Montgomery Village, Maryland 20886        14967      4/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Frank Arcilesi
9722 Hellingly Place                                           RS Legacy Corporation fka RadioShack
Montgomery Village, Maryland 20886        14968      4/27/2016 Corporation                                                     $25.00                                                                                           $25.00
Chandra Washington
1921 Chippewa                                                  RS Legacy Corporation fka RadioShack
Mesquite, Tx 75149                        14969      4/27/2016 Corporation                                                     $25.00                                                                                           $25.00
Jacob Dubois
440 Pearl Street                                               RS Legacy Corporation fka RadioShack
Burlington, VT 05401                      14970      4/27/2016 Corporation                                                      $0.00                                                                                            $0.00
holly garcia
431 e laguna st                                                RS Legacy Corporation fka RadioShack
tucson, az 85705                          14971      4/27/2016 Corporation                                                    $150.00                                                                                          $150.00
Dhruvil Patel
11004 Philmont Pl                                              RS Legacy Corporation fka RadioShack
Philadelphia, PA 19116                    14972      4/27/2016 Corporation                                                     $21.19                                                                                           $21.19
elona Uzuni
37229 Bristol St                                               RS Legacy Corporation fka RadioShack
Livonia, MI 48154                         14973      4/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Greg Guinyard
14 metropolitan oval apt. 5f                                   RS Legacy Corporation fka RadioShack
Bronx, Ny 10462                           14974      4/27/2016 Corporation                                                     $38.10                                                                                           $38.10
Tracy Rivard
240 Jagger Mill Road                                           RS Legacy Corporation fka RadioShack
Sanford, ME 04073                         14975      4/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Jay Patel
348 Lafayette st                                               RS Legacy Corporation fka RadioShack
Newark, NJ 07105                          14976      4/27/2016 Corporation                                                      $0.00                                                                                            $0.00
ANDREW STIRLING
6355 s. riley street APT 252                                   RS Legacy Corporation fka RadioShack
LAS VEGAS, NEVADA 89148                   14977      4/27/2016 Corporation                                                    $375.00                                                                                          $375.00
phuong nguyen
3903 nw cinnamon tree                                          RS Legacy Corporation fka RadioShack
jensen beach, florida 34957               14978      4/27/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Edgar Kremer
119 Main Ave. SE                                               RS Legacy Corporation fka RadioShack
Glen Burnie, MD 21061                     14979      4/27/2016 Corporation                                                     $15.00                                                                                           $15.00
Karen Dumers
139 Shirley Drive                                              RS Legacy Corporation fka RadioShack
Cary, NC 27511                            14980      4/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert Fernley
3 Maple Tree Road                                              RS Legacy Corporation fka RadioShack
Stockholm, NJ 07460                       14981      4/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          14982      5/11/2016 Corporation                                                                                                                                                       $0.00
Hernandez, Cristina
609 Crestview Dr                                               RS Legacy Corporation fka RadioShack
Dalton, GA 30721                          14983      4/28/2016 Corporation                                                    $100.00                                                                                          $100.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          14984      4/28/2016 Corporation                                                                                                                                                       $0.00
Garthe Robinson / R.N. Guy
2508 Blossom Trail                                             RS Legacy Corporation fka RadioShack
Mansfield, TX 76063                       14985      4/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Richard M. Adam
4607 Indian Deer Rd                                            RS Legacy Corporation fka RadioShack
Windermere, FL 34786                      14986      4/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          14987      5/11/2016 Corporation                                                                                                                                                       $0.00
Orr, Catherine
45805 Filmore Drive                                            RS Legacy Corporation fka RadioShack
Great Mills , MD 20634                    14988      4/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Aguilar JR, Juan
4614 N 124th Ave                                               RS Legacy Corporation fka RadioShack
Avondale, AZ 85392                        14989      4/28/2016 Corporation                                                    $265.00                                                                                          $265.00
Daniel Ryan
7952 68th road                                                 RS Legacy Corporation fka RadioShack
Middle Village, NY 11379                  14990      4/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Nichols, Jayne
5425 Rosalind Ave                                              RS Legacy Corporation fka RadioShack
El Cerrito , CA 94530                     14991      4/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Milano, Bonnie
15127 Rosemary court                                           RS Legacy Corporation fka RadioShack
Thornton, CO 80602                        14992      4/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Thompson, Terrence
225 Mayhew Way, No 27                                          RS Legacy Corporation fka RadioShack
Walnut Creek, CA 94597                    14993      4/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Drake, Suzanne L
629 Bellevue Ave                                               RS Legacy Corporation fka RadioShack
Penndel, PA 19047‐5301                    14994      4/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          14995      5/11/2016 Corporation                                                                                                                                                       $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          14995      5/11/2016 Corporation                                                                                                                                                       $0.00
Klym, Stephen M
4402 W St Saint Clair Pl                                       RS Legacy Corporation fka RadioShack
Denver, Co 80212                          14996      4/28/2016 Corporation                                                      $0.00                                                                                            $0.00



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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
velarde, John
10610 Pine Valley Path                                         RS Legacy Corporation fka RadioShack
Indianapolis, IN 46234                    14997      4/28/2016 Corporation                                                     $50.00                                                                                           $50.00
MARKET TRACK LLC
PO BOX 28781                                                   RS Legacy Corporation fka RadioShack
NEW YORK, NY 10087‐8781                   14998      4/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Lisa Bianchi
6509 E Calle Del Norte                                         RS Legacy Corporation fka RadioShack
Anaheim, CA 92807                         14999      4/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Kevin Farrell
3980 Rock Mill Parkway                                         RS Legacy Corporation fka RadioShack
Marietta, Ga 30062                        15000      4/28/2016 Corporation                                                     $75.00                                                                                           $75.00
Len Brown
56 Colchester Road                                             RS Legacy Corporation fka RadioShack
Weton, MA 02493                           15001      4/28/2016 Corporation                                                      $0.00                                                                                            $0.00
pavla pletkova
13632 flying squirrel drive                                    RS Legacy Corporation fka RadioShack
herndon, va 20171                         15002      4/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Joanna Stenzel
1138 Vineyard Dr                                               RS Legacy Corporation fka RadioShack
Lewiston, Idaho 83501                     15003      4/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Gary Flaharty
10448 kohler rd                                                RS Legacy Corporation fka RadioShack
Felton, Pa 17322                          15004      4/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Edna Carol Maupin
2770 Old U. S. 25 North                                        RS Legacy Corporation fka RadioShack
Berea, KY 40403                           15005      4/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Gordon Williams
1870 Starkey Rd Suite#2                                        RS Legacy Corporation fka RadioShack
largo, fl 33771                           15006      4/29/2016 Corporation                                                     $50.00                                                                                           $50.00
Gordon Williams
1870 Starkey Rd Suite#2                                        RS Legacy Corporation fka RadioShack
Largo, FL 33771                           15007      4/29/2016 Corporation                                                     $50.00                                                                                           $50.00
Mary Dolenk
5 Treeline Drive                                               RS Legacy Corporation fka RadioShack
Wappingers Falls, NY 12590                15008      4/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Susan Southard
1937 E Magdalena Dr.                                           RS Legacy Corporation fka RadioShack
Tempe, AZ 85283                           15009      4/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Susan Southard
1937 E Magdalena Dr.                                           RS Legacy Corporation fka RadioShack
Tempe, AZ 85283                           15010      4/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Ronnie Walker
500 Oxbow Dr                                                   RS Legacy Corporation fka RadioShack
Myrtle Beach, SC 29579                    15011      4/29/2016 Corporation                                                     $50.00                                                                                           $50.00
Andrew Antonucci
29 Rand Place                                                  RS Legacy Corporation fka RadioShack
Pittsford, NY 14534                       15012      4/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Brenda K Denny
32714 Durango Court                                            RS Legacy Corporation fka RadioShack
WILDOMAR, CA 92595                        15013      4/29/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                      Amount                                                     Amount
Michael aberle
2554 BethardsDr                                                RS Legacy Corporation fka RadioShack
Santa Rosa, CA 95405                      15014      4/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Frank Malovic
34 Knight Ct.                                                  RS Legacy Corporation fka RadioShack
Palmyra, Pa 17078                         15015      4/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Maternst Isoff
5145 Marcia PLace                                              RS Legacy Corporation fka RadioShack
West Palm Beach, FL 33407                 15016      4/29/2016 Corporation                                                     $75.00                                                                                           $75.00
James Bassler
1706 Merlyn ct                                                 RS Legacy Corporation fka RadioShack
El Cajon, ca 92019                        15017      4/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Zachary Berson
999 Canyon Circle                                              RS Legacy Corporation fka RadioShack
San Luis Obispo, CA 93410                 15018      4/30/2016 Corporation                                                      $0.00                                                                                            $0.00
brita bishop
8695 dudley street                                             RS Legacy Corporation fka RadioShack
juneau, ak 99801                          15019      4/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Thomas A Caruso
43938 Brandywyne Road                                          RS Legacy Corporation fka RadioShack
Canton, MI 48187‐2102                     15020      4/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Thomas A Caruso
43938 Brandywyne Road                                          RS Legacy Corporation fka RadioShack
Canton, MI 48187‐2102                     15021      4/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Thomas A Caruso
43938 Brandywyne Road                                          RS Legacy Corporation fka RadioShack
Canton, MI 48187‐2102                     15022      4/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Ari Shapiro
47 Morrison Ave, #2                                            RS Legacy Corporation fka RadioShack
Somerville, MA 02144                      15023      4/30/2016 Corporation                                                      $0.00                                                                                            $0.00
walter meyers
213 ash drive                                                  RS Legacy Corporation fka RadioShack
elizabeth, pa 15037                       15024      4/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Derwin L. Durrah
610 Park st
610 Park Street                                                RS Legacy Corporation fka RadioShack
Inman, S.C. 29349                         15025      4/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael Lieser
278 North St.                                                  RS Legacy Corporation fka RadioShack
Winooski, VT 05404                        15026      4/30/2016 Corporation                                                     $53.74                                                                                           $53.74
Arthur Ginley
3030 O'Neal Pkwy., Apt R14                                     RS Legacy Corporation fka RadioShack
Boulder, CO 80301                         15027      4/30/2016 Corporation                                                     $22.31                                                                                           $22.31
Peter Gvozdas
5414 Sunnyslope Ave.                                           RS Legacy Corporation fka RadioShack
Sherman Oaks, CA 91401                    15028      4/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Savannah
724 s oracle                                                   RS Legacy Corporation fka RadioShack
Mesa, Az 85204                            15029      4/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Angel alejandro
Urb. El verde, calle venus # 32                                RS Legacy Corporation fka RadioShack
Caguas, PR 00725                          15030      4/30/2016 Corporation                                                     $50.00                                                                                           $50.00



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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Michael Ricks
126 West 200 South                                             RS Legacy Corporation fka RadioShack
Burley, ID 83318                          15031      4/30/2016 Corporation                                                      $0.00                                                                                            $0.00
June Jones
15 Laurel Dr.                                                 RS Legacy Corporation fka RadioShack
Midway, GA 31320                          15032      5/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Ramesh Munaga
622 Bond Court                                                RS Legacy Corporation fka RadioShack
San Ramon, CA 94582                       15033      5/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Jeremy Schwarten
3707 deer valley drive                                        RS Legacy Corporation fka RadioShack
Sheboygan, WI 53083                       15034      5/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Andrew Langford
17628 N. 41st Place                                           RS Legacy Corporation fka RadioShack
Phoenix, AZ 85032                         15035      5/1/2016 Corporation                                                      $14.07                                                                                           $14.07
Brandon Pace
523 Jurgensen Place                                           RS Legacy Corporation fka RadioShack
Landover, Maryland 20785                  15036      5/1/2016 Corporation                                                      $10.57                                                                                           $10.57
Phyllis Fimiani
387 Driftwood Terrace                                         RS Legacy Corporation fka RadioShack
Boca Raton, FL 33431                      15037      5/1/2016 Corporation                                                      $49.90                                                                                           $49.90
jeff bryant
206 winding creek circle                                      RS Legacy Corporation fka RadioShack
cleveland, tn 37312                       15038      5/1/2016 Corporation                                                      $46.07                                                                                           $46.07
Debbie Jones
6017 Sycamore Road                                            RS Legacy Corporation fka RadioShack
Baltimore, MD 21212                       15039      5/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Alex Kastrandas
8420 Blackburn avenue
Apartment 102                                                 RS Legacy Corporation fka RadioShack
Los Angeles, Ca 90048                     15040      5/1/2016 Corporation                                                     $100.00                                                                                          $100.00
Dinesh Kumar
40940 Valero Dr                                               RS Legacy Corporation fka RadioShack
Fremont, CA 94539                         15041      5/1/2016 Corporation                                                      $30.00                                                                                           $30.00
Dinesh Kumar
40940 Valero Dr                                               RS Legacy Corporation fka RadioShack
Fremont, CA 94539                         15042      5/1/2016 Corporation                                                      $35.37                                                                                           $35.37
Virginia Vargas
406 peach tree trail                                          RS Legacy Corporation fka RadioShack
Easton, PA 18040                          15043      5/2/2016 Corporation                                                       $0.00                                                                                            $0.00
Kathie Hanson
518 Vine Way                                                  RS Legacy Corporation fka RadioShack
Roseville, CA 95678                       15044      5/2/2016 Corporation                                                       $0.00                                                                                            $0.00
George Tillack
6047 Yearling st                                              RS Legacy Corporation fka RadioShack
lakewood, ca 90713                        15045      5/2/2016 Corporation                                                       $0.00                                                                                            $0.00
Joseph Tiller
8920 Nebraska Avenue                                          RS Legacy Corporation fka RadioShack
Toledo, Ohio 43617                        15046      5/2/2016 Corporation                                                      $42.69                                                                                           $42.69
John Magnan
23 Stebbins Ave                                               RS Legacy Corporation fka RadioShack
Eastchester, NY 10709                     15047      5/2/2016 Corporation                                                      $50.00                                                                                           $50.00



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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Aaron Lynde
6284 Abington Dr                                              RS Legacy Corporation fka RadioShack
Rockford, IL 61109                        15048      5/2/2016 Corporation                                                       $0.00                                                                                            $0.00
Steve Kaplan
71 Driftwood Dr                                               RS Legacy Corporation fka RadioShack
Port Washington, NY 11050                 15049      5/2/2016 Corporation                                                       $0.00                                                                                            $0.00
virgilio sacchini
1080 Madison av                                               RS Legacy Corporation fka RadioShack
new york, ny 10028                        15050      5/2/2016 Corporation                                                       $0.00                                                                                            $0.00
Pamela Carpenter
6911 Vessup Lane 9a‐11                                        RS Legacy Corporation fka RadioShack
St Thomas, VI 00802                       15051      5/2/2016 Corporation                                                     $250.00                                                                                          $250.00
TRENT EATON
33 29th AVE #2                                                 RS Legacy Corporation fka RadioShack
VENICE, CA 90291                          15052      5/2/2016 Corporation                                                       $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          15053      5/2/2016 Corporation                                                                                                                                                        $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          15054      5/11/2016 Corporation                                                                                                                                                       $0.00
Griffey, Robin
29 Saunders Rd                                                 RS Legacy Corporation fka RadioShack
Norwood, MA 02062                         15055      4/28/2016 Corporation                                                     $26.55                                                                                           $26.55
Rosado, Gustavo
1650 Library Ave                                               RS Legacy Corporation fka RadioShack
Bronx, NY 10465                           15056      4/28/2016 Corporation                                                  $2,730.00                                                                                        $2,730.00
Robert Fusco
530 Harlan BLVD unit#712                                      RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                      15057      5/2/2016 Corporation                                                       $0.00                                                                                            $0.00
Liane Vea
7212 Pulehu Street                                            RS Legacy Corporation fka RadioShack
Honolulu, HI 96825                        15058      5/2/2016 Corporation                                                       $0.00                                                                                            $0.00
BRIAN HEAD
885 INDIAN WELLS CIRCLE                                       RS Legacy Corporation fka RadioShack
ELGIN, IL 60123                           15059      5/2/2016 Corporation                                                       $0.00                                                                                            $0.00
Delfine Maralusha
13189 SW 23rd St.                                             RS Legacy Corporation fka RadioShack
Miramar, Florida 33027                    15060      5/2/2016 Corporation                                                       $0.00                                                                                            $0.00
Jennifer Obando
208 Roosevelt                                                 RS Legacy Corporation fka RadioShack
Irvine, CA 92620                          15061      5/3/2016 Corporation                                                      $20.00                                                                                           $20.00
Beverly DeCheser
21 Bongart Drive                                              RS Legacy Corporation fka RadioShack
West Orange, NJ 07052                     15062      5/3/2016 Corporation                                                      $19.95                                                                                           $19.95
Chuanxin Song
63 Holden st                                                  RS Legacy Corporation fka RadioShack
Holden, MA 01520                          15063      5/3/2016 Corporation                                                       $0.00                                                                                            $0.00
OREN HINDI
19 MYRON RD                                                   RS Legacy Corporation fka RadioShack
PLAINVIEW, NY 11803                       15064      5/3/2016 Corporation                                                       $0.00                                                                                            $0.00
vance Gambriel
6501 red hook plaza ste. 201                                  RS Legacy Corporation fka RadioShack
st thomas, vi 00802                       15065      5/3/2016 Corporation                                                       $0.00                                                                                            $0.00



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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Bob Schubert
3117 Kawai Court                                              RS Legacy Corporation fka RadioShack
Simi Valley, CA 93063                     15066      5/3/2016 Corporation                                                     $28.30                                                                                           $28.30
Earl Glase
2139 SE 38th cir                                              RS Legacy Corporation fka RadioShack
Topeka, KS 66609                          15067      5/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Andy Goldfield
193 Lawnside Ave                                              RS Legacy Corporation fka RadioShack
Collingswood, NJ 08108                    15068      5/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Gail Dill
2509 Mississippi Ave.                                         RS Legacy Corporation fka RadioShack
Metairie, LA 70003                        15069      5/3/2016 Corporation                                                     $20.00                                                                                           $20.00
shelly Grabe
5605 Westview Rd                                              RS Legacy Corporation fka RadioShack
Austin, tx 78749                          15070      5/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Smitesh Patel
4209 via marina, C509                                         RS Legacy Corporation fka RadioShack
Marina Del Rey, California 90292          15071      5/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Tom Natanek / First Analysis
1 S. Wacker Dr, ste 3900                                      RS Legacy Corporation fka RadioShack
Chicago, IL 60606                         15072      5/3/2016 Corporation                                                     $40.00                                                                                           $40.00
Angela Harness‐Jimenez
4652 Upton Avenue South                                       RS Legacy Corporation fka RadioShack
Minneapolis, MN 55410                     15073      5/3/2016 Corporation                                                     $41.89                                                                                           $41.89
JESENIA UHLIG
2460 THE OAKS BLVD                                            RS Legacy Corporation fka RadioShack
KISSIMMEE, FL 34746                       15074      5/3/2016 Corporation                                                    $216.00                                                                                          $216.00
Lance Jeffrey
115 Scenic Drive                                              RS Legacy Corporation fka RadioShack
Kunkletown, Pa 18058                      15075      5/3/2016 Corporation                                                     $21.19                                                                                           $21.19
Zhe Zhang
656 W. Huntington Dr. Unit J2                                 RS Legacy Corporation fka RadioShack
Arcadia, CA 91007                         15076      5/3/2016 Corporation                                                     $49.04                                                                                           $49.04
Bridgett Martin
808 Broad Street apt B                                        RS Legacy Corporation fka RadioShack
New Bethlehem, PA 16242                   15077      5/3/2016 Corporation                                                     $17.51                                                                                           $17.51
Zhen Wu
8 Oak St.                                                     RS Legacy Corporation fka RadioShack
Hopkinton, MA 01748                       15078      5/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Annette Mote
10750 State Route 66                                          RS Legacy Corporation fka RadioShack
Piqua, Ohio 45356                         15079      5/3/2016 Corporation                                                     $66.20                                                                                           $66.20
Peter Trast
19978 N Donithan Way                                          RS Legacy Corporation fka RadioShack
Maricopa, AZ 85138                        15080      5/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Kelly Harrington
16 High Ridge Road                                            RS Legacy Corporation fka RadioShack
Randolph, NJ 07869                        15081      5/3/2016 Corporation                                                     $37.42                                                                                           $37.42
Travis Belton
4143 Oak Crest Dr                                             RS Legacy Corporation fka RadioShack
Tucker, GA 30084                          15082      5/3/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Jose Blanco
122 NE 92 ST                                                  RS Legacy Corporation fka RadioShack
Miami Shores, FL 33138                    15083      5/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Guy Irving
2017 Crestside Drive                                          RS Legacy Corporation fka RadioShack
Carrollton, Texas 75007                   15084      5/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Hunter Freeman
730 Allen Rd Lot 92                                           RS Legacy Corporation fka RadioShack
Manhattan, KS 66502                       15085      5/4/2016 Corporation                                                     $68.74                                                                                           $68.74
Jacque Filion
1550 Rory Lane Spc# 147                                       RS Legacy Corporation fka RadioShack
Simi Valley, CA 93063                     15086      5/4/2016 Corporation                                                     $50.00                                                                                           $50.00
Wu, Dan
16875 SE 38th PL                                              RS Legacy Corporation fka RadioShack
Bellevue, WA 98008                        15087      5/3/2016 Corporation                                                     $65.69                                                                                           $65.69
Saul Weinstein
2940 Fortesque Avenue                                         RS Legacy Corporation fka RadioShack
Oceanside, NY 11572                       15088      5/4/2016 Corporation                                                    $108.61                                                                                          $108.61
Rossanna Lopez
125 e guadalupe rd. #233                                      RS Legacy Corporation fka RadioShack
Gilbert, Az 85234                         15089      5/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Rossanna lopez
125 e. Guadalupe rd. #233                                     RS Legacy Corporation fka RadioShack
Gilbert, Az 85234                         15090      5/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Amy Fanning
706 West 15th St.                                             RS Legacy Corporation fka RadioShack
Chandler, OK 74834                        15091      5/4/2016 Corporation                                                      $0.00                                                                                            $0.00
ADAM HOIER
6261 ARBOR AVENUE                                             RS Legacy Corporation fka RadioShack
COCOA, FL 32927                           15092      5/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Edward Kirtman
70 Mayhew Drive                                               RS Legacy Corporation fka RadioShack
South Orange, NJ 07079                    15093      5/4/2016 Corporation                                                     $44.61                                                                                           $44.61
SDI Technologies, Inc.
1299 Main Street                                              RS Legacy Corporation fka RadioShack
Rahway, NJ 07065                          15094      5/4/2016 Corporation                                                $70,000.00                                                                                        $70,000.00
mireya solano
8611 nw 24 court                                              RS Legacy Corporation fka RadioShack
sunrise, fl 33322                         15095      5/4/2016 Corporation                                                      $0.00                                                                                            $0.00
NATALIE OCHOA
509 Pamela dr                                                 RS Legacy Corporation fka RadioShack
Tyler, TX 75702                           15096      5/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Joel Hernandez
15036 Granite Peak Ave                                        RS Legacy Corporation fka RadioShack
Fontana, Ca 92336                         15097      5/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Stephen Leak
307 Hialeah Dr                                                RS Legacy Corporation fka RadioShack
Cherry Hill, NJ 08002                     15098      5/4/2016 Corporation                                                     $21.00                                                                                           $21.00
Robert N McCarthy
14 DuMerle Street Lowell Ma.                                  RS Legacy Corporation fka RadioShack
Lowell Ma 01851, Lowell Ma. 01851         15099      5/4/2016 Corporation                                                    $100.00                                                                                          $100.00




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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Andre Harris
409 W 8th Street, Apt 6                                       RS Legacy Corporation fka RadioShack
Wilmington, DE 19801                      15100      5/4/2016 Corporation                                                      $0.00                                                                                            $0.00
William Gossman
1314 Mayflower Drive                                          RS Legacy Corporation fka RadioShack
BEL AIR, MD 21015                         15101      5/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Aubre Pruett
3604 Lost Oasis Hollow                                        RS Legacy Corporation fka RadioShack
Austin, TX 78739                          15102      5/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Christopher Jenkins
764 Lilac Dr                                                  RS Legacy Corporation fka RadioShack
Los Osos, CA 93402                        15103      5/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Noelle Daigneault
30 Woodcliff Avenue                                           RS Legacy Corporation fka RadioShack
Woodcliff Lake, NJ 07677                  15104      5/5/2016 Corporation                                                     $99.51                                                                                           $99.51
Greg Auciello
38 Blythe Place                                               RS Legacy Corporation fka RadioShack
Staten Island, NY 10306                   15105      5/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Sean Hastings
4116 N Western Ave Apt 2                                      RS Legacy Corporation fka RadioShack
Chicago, IL 60618                         15106      5/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Heather Johnson
1212 Royal St Apt R                                           RS Legacy Corporation fka RadioShack
New Orleans, LA 70116                     15107      5/5/2016 Corporation                                                     $32.00                                                                                           $32.00
Joshua Jackson
855 N. Capital Ave Suite 2                                    RS Legacy Corporation fka RadioShack
Idaho Falls, ID 83402                     15108      5/5/2016 Corporation                                                     $21.81                                                                                           $21.81
eva izzo
137 ridge ave                                                 RS Legacy Corporation fka RadioShack
park ridge, nj 07656                      15109      5/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Cindy Wynakos
23124 High Bridge Road                                        RS Legacy Corporation fka RadioShack
Monroe, WA 98272                          15110      5/5/2016 Corporation                                                     $35.84                                                                                           $35.84
Cindy Wynakos
23124 High Bridge Road                                        RS Legacy Corporation fka RadioShack
Monroe, WA 98272                          15111      5/5/2016 Corporation                                                     $35.84                                                                                           $35.84
Sunderland, Stephen
1906 Prior Ave N                                              RS Legacy Corporation fka RadioShack
Falcon Heights, MN 55113                  15112      5/4/2016 Corporation                                                                                                                                                       $0.00
Janet Nordgren Taddie
18641 clement dr                                              RS Legacy Corporation fka RadioShack
castro valley, california 94552           15113      5/6/2016 Corporation                                                      $0.00                                                                                            $0.00
janet nordgren taddie
18641 CLEMENT DRIVE                                           RS Legacy Corporation fka RadioShack
castro valley, CALIFORNIA 94552           15114      5/6/2016 Corporation                                                      $0.00                                                                                            $0.00
janet nordgren taddie
18641 clement drive                                           RS Legacy Corporation fka RadioShack
castro valley, california 94552           15115      5/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Dorothy Kutzer
1704 Park Ave. west                                           RS Legacy Corporation fka RadioShack
Highland Park, Illinois 60035             15116      5/6/2016 Corporation                                                     $43.19                                                                                           $43.19




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                                                                                                                 Current General                                            Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
VASANT PATEL
880 CROSSLAND CT                                              RS Legacy Corporation fka RadioShack
GRAYSLAKE, Illinois 60030                 15117      5/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Tom Zeigler
112 Keystone Ct                                               RS Legacy Corporation fka RadioShack
Lexington, SC 29073, 29073 29073          15118      5/6/2016 Corporation                                                     $25.00                                                                                           $25.00
Andrew Lukens
1106 Cobbs St.                                                RS Legacy Corporation fka RadioShack
Drexel Hill, PA 19026                     15119      5/6/2016 Corporation                                                     $80.00                                                                                           $80.00
Candice Bell
478 Millstone Church road                                     RS Legacy Corporation fka RadioShack
Carlton, 30627 30627                      15120      5/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Kenneth Loncz
142 West Hill Rd                                              RS Legacy Corporation fka RadioShack
Marlborough, MA 01752                     15121      5/6/2016 Corporation                                                     $90.00                                                                                           $90.00
Charley Tinsley
282 Timberlake Lane                                           RS Legacy Corporation fka RadioShack
Cape Girardeau, MO 63701                  15122      5/6/2016 Corporation                                                     $25.00                                                                                           $25.00
Gregory F Kirtley
2 Stirling Drive                                              RS Legacy Corporation fka RadioShack
Newark, DE 19702                          15123      5/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Johnson, Sheryl
35768 State Hwy 16                                            RS Legacy Corporation fka RadioShack
Lanesboro, MN 55949                       15124      5/4/2016 Corporation                                                                                                                                                       $0.00
Alexandra Russell
192 State Street Apt#206                                      RS Legacy Corporation fka RadioShack
Portland, ME 04101                        15125      5/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Toldt, Edward
9733 W. Hunt Club Dr.                                         RS Legacy Corporation fka RadioShack
Mequon, WI 53097                          15126      5/4/2016 Corporation                                                     $25.85                                                                                           $25.85
Claim Docketed In Error                                       RS Legacy Corporation fka RadioShack
                                          15127      5/4/2016 Corporation                                                                                                                                                       $0.00
Shoemaker, James
PO Box 10183                                                  RS Legacy Corporation fka RadioShack
Hilo, HI 96721                            15128      5/4/2016 Corporation                                                      $6.67                                                                                            $6.67
Norton, Craig
24761 Hendon St                                               RS Legacy Corporation fka RadioShack
Laguna Hills, CA 92653                    15129      5/4/2016 Corporation                                                     $32.75                                                                     $32.75                $65.50
Hultgren, Mardeen
1002 S. Elm Ct                                                RS Legacy Corporation fka RadioShack
Canby, OR 97013                           15130      5/4/2016 Corporation                                                     $20.04                                                                     $20.04                $40.08
Danica Luna‐DiGiacomo
545 Water Tower Road North                                    RS Legacy Corporation fka RadioShack
Manteno, Illinois 60950                   15131      5/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Taylor, William T
8504 Creekview Dr                                             RS Legacy Corporation fka RadioShack
Frisco, TX 75034                          15132      5/4/2016 Corporation                                                                                                                                                       $0.00
D. Zielinski
6632 Telegraph‐ #227                                          RS Legacy Corporation fka RadioShack
Bloomfield Hills, MI 48301                15133      5/4/2016 Corporation                                                     $10.59                                                                                           $10.59




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                                                                                                                 Current General                                            Current 503(b)(9)
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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Trisla, Linda
325 Thistle Drive                                             RS Legacy Corporation fka RadioShack
Bolingbrook, IL 60490                     15134      5/3/2016 Corporation                                                                                                                                                       $0.00
Levine, Julie
29 First Ave                                                  RS Legacy Corporation fka RadioShack
Central Islip, NY 11722                   15135      5/3/2016 Corporation                                                     $77.10                                                                                           $77.10
Lake, Laurie
4586 Glenburne Dr.                                            RS Legacy Corporation fka RadioShack
Spring Hill, FL 34609                     15136      5/3/2016 Corporation                                                     $52.99                                                                                           $52.99
Sandreth, Ben
PO Box 5236                                                   RS Legacy Corporation fka RadioShack
Eugene, OR 97405                          15137      5/3/2016 Corporation                                                                                                                                                       $0.00
Randy J Malta
32 Georgetown Circle                                          RS Legacy Corporation fka RadioShack
O Fallon, MO 63368‐8550                   15138      5/6/2016 Corporation                                                     $16.92                                                                                           $16.92
Olga Ramirez
2630 Portola Dr Space 60                                      RS Legacy Corporation fka RadioShack
Santa cruz, california 95062              15139      5/6/2016 Corporation                                                     $13.85                                                                                           $13.85
Lynda Jean Shaw
5424 Country Club Lane                                        RS Legacy Corporation fka RadioShack
Grand Blanc, MI 48439                     15140      5/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert Scherer
218 S Edgewood Rd                                             RS Legacy Corporation fka RadioShack
Eden, NC 27288                            15141      5/6/2016 Corporation                                                     $20.00                                                                                           $20.00
Thomas E Lowe
180 jasper street, po box 425                                 RS Legacy Corporation fka RadioShack
rivesville, wv 26588                      15142      5/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Cynthia Cannon
553 s 350 e                                                   RS Legacy Corporation fka RadioShack
Burley, Id 83318                          15143      5/7/2016 Corporation                                                     $19.07                                                                                           $19.07
Donald Murphy
3212 Springstead Circle                                       RS Legacy Corporation fka RadioShack
Louisville, KY 40241                      15144      5/7/2016 Corporation                                                      $0.00                                                                                            $0.00
gijo mathew
11361 Redberry Dr                                             RS Legacy Corporation fka RadioShack
DAVIE, FL 33330                           15145      5/7/2016 Corporation                                                      $0.00                                                                                            $0.00
CYNTHIA MALESKY
20367 HARBORGATE COURT #304                                   RS Legacy Corporation fka RadioShack
CORNELIUS, NC 28031                       15146      5/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Carma Brewer
1649 Ridge Circle                                             RS Legacy Corporation fka RadioShack
Joelton, TN 37080                         15147      5/7/2016 Corporation                                                     $23.19                                                                                           $23.19
Carlos Vasquez
7425 Lea Place                                                RS Legacy Corporation fka RadioShack
Fort Worth, TX 76140                      15148      5/7/2016 Corporation                                                     $23.86                                                                                           $23.86
Darin honeycutt
335 Jack Francis rd                                           RS Legacy Corporation fka RadioShack
Shelby, North carolina 28152              15149      5/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Ellie Sandelin
1650 NE 32nd Ave, Apt 418                                     RS Legacy Corporation fka RadioShack
Portland, OR 97232                        15150      5/7/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Edward Crampton
71 broad ave apt 2                                            RS Legacy Corporation fka RadioShack
binghamton, ny 13904                      15151      5/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Genevieve Yeary
650 E Laurel Ave                                              RS Legacy Corporation fka RadioShack
Glendora, Ca 91741                        15152      5/8/2016 Corporation                                                     $38.14                                                                                           $38.14
Genevieve Yeary
650 E Laurel Ave                                              RS Legacy Corporation fka RadioShack
Glendora, Ca 91741                        15153      5/8/2016 Corporation                                                     $38.14                                                                                           $38.14
Daniel Chen
2856 Wakefield Dr.                                            RS Legacy Corporation fka RadioShack
Belmont, CA 94002                         15154      5/8/2016 Corporation                                                     $29.18                                                                                           $29.18
Ethan
605 Franklin Ave                                              RS Legacy Corporation fka RadioShack
Union, Ohio 45322                         15155      5/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Ron Allen
1204 Buttercup Lane                                           RS Legacy Corporation fka RadioShack
Wake Forest, NC 27587                     15156      5/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Jamie Commerford
1124 Pleasantview Dr                                          RS Legacy Corporation fka RadioShack
London, ONTARIO N5X4K3                    15157      5/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Landon Lynn
PO Box 2053                                                   RS Legacy Corporation fka RadioShack
Waco, TX 76703                            15158      5/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Ken Brussel
50 E Kissimee Road                                            RS Legacy Corporation fka RadioShack
Lindenhurst, NY 11757                     15159      5/8/2016 Corporation                                                     $50.00                                                                                           $50.00
Mohammed Elshall
550 Ortega Ave, Apt 405                                       RS Legacy Corporation fka RadioShack
Mountain View, CA 94040                   15160      5/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Xaymaraliz Dumeng
151 Stephens Street                                           RS Legacy Corporation fka RadioShack
Belleville, NJ 07109                      15161      5/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Angelo Wong
14221 Brookhurst Street                                       RS Legacy Corporation fka RadioShack
Garden Grove, CA 92843                    15162      5/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Barbara Sullivan
597 W. 29th Place                                             RS Legacy Corporation fka RadioShack
Eugene, OR 97405                          15163      5/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Junhua He
19 Desser Pl.                                                 RS Legacy Corporation fka RadioShack
Metuchen, NJ 08840                        15164      5/9/2016 Corporation                                                     $21.76                                                                                           $21.76
Ivey, Byron
2500 Jewetta Ave spc 37                                       RS Legacy Corporation fka RadioShack
Bakersfield, CA 93312                     15165      5/9/2016 Corporation                                                  $2,500.00                                                                                        $2,500.00
John Nguyen
1605 E. Southway Blvd                                         RS Legacy Corporation fka RadioShack
Kokomo, IN 46902                          15166      5/9/2016 Corporation                                                     $11.99                                                                                           $11.99
Steven Chansky
18608 hollow crest drive                                      RS Legacy Corporation fka RadioShack
Brookeville, md 20833                     15167      5/9/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Nadia Brown
7609 Rustle Ridge Court                                       RS Legacy Corporation fka RadioShack
Fairfax Staion, VA 22039                  15168      5/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Chaeli Wantuck
3216 Lockridge St.                                            RS Legacy Corporation fka RadioShack
Ann Arbor, MI 48108                       15169      5/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Anthony Hicks
9960 State Route 752                                          RS Legacy Corporation fka RadioShack
Ashville, OH 43103                        15170      5/9/2016 Corporation                                                      $67.72                                                                                           $67.72
Alexander Krieger
453 E Northwood Ave Apt G                                     RS Legacy Corporation fka RadioShack
Columbus, OH 43201                        15171      5/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Scott Safer
305 Waverly Road                                              RS Legacy Corporation fka RadioShack
Wilmington, DE 19803                      15172      5/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Stellpflug, Eldon
8214 Powderhouse Rd.                                          RS Legacy Corporation fka RadioShack
Cheyenne, WY 82009                        15173      5/9/2016 Corporation                                                      $80.00                                                                                           $80.00
Allen Taff
1975 Belmore Ct                                               RS Legacy Corporation fka RadioShack
El Cajon, CA 92020                        15174      5/9/2016 Corporation                                                      $15.60                                                                                           $15.60
Avril Higgins
13190 Dermid Road                                             RS Legacy Corporation fka RadioShack
Valley Center, CA 92082                   15175      5/9/2016 Corporation                                                      $37.79                                                                                           $37.79
bobby bturney
7414 n locust                                                 RS Legacy Corporation fka RadioShack
denton, tx 76207                          15176      5/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Margaret E. Vogler
155 Edgington Lane Apt 304                                    RS Legacy Corporation fka RadioShack
Wheeling, WV 26003                        15177      5/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Shimon Mosheshvili
7036 fleet st                                                 RS Legacy Corporation fka RadioShack
forest hills, ny 11375                    15178      5/9/2016 Corporation                                                      $27.21                                                                                           $27.21
frank rosales
510 Sutton ln.                                                 RS Legacy Corporation fka RadioShack
lancaster, ky. 40444                      15179      5/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Bruce Guy
1854 Shellbrook Dr.                                            RS Legacy Corporation fka RadioShack
Huntsville, AL 35806                      15180      5/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Allan Miyamoto
1651 Ua Drive                                                  RS Legacy Corporation fka RadioShack
Honolulu, Hawaii 96816                    15181      5/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Julie Bray
57 Cameron Ln.                                                 RS Legacy Corporation fka RadioShack
Jasper, Al. 35501                         15182      5/10/2016 Corporation                                                    $784.00                                                                                          $784.00
jason allmon
7800 mockingbird ln lot123                                     RS Legacy Corporation fka RadioShack
north richland hills, texas 76180         15183      5/10/2016 Corporation                                                     $54.54                                                                                           $54.54
Jessica Baun
99 Ashton Lane                                                 RS Legacy Corporation fka RadioShack
Anderson, SC 29621                        15184      5/10/2016 Corporation                                                     $15.87                                                                                           $15.87




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Dean Parent
4433 Laurel Oak Drive                                          RS Legacy Corporation fka RadioShack
Allison Park, PA 15101                    15185      5/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Becker, Helene
28715 Mount Shasta Dr.                                         RS Legacy Corporation fka RadioShack
Ranch Palos Verdes, CA 90275‐1927         15186      3/18/2016 Corporation                                                                                                                                                       $0.00
Kim Curley
85 Hounds Ditch Lane                                           RS Legacy Corporation fka RadioShack
Duxbury, MA 02332                         15187      5/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Curry, Gloria
1108 Reynolds Rd                                               RS Legacy Corporation fka RadioShack
Paragould, AR 72450                       15188      3/22/2016 Corporation                                                     $20.70                                                                                           $20.70
Powierza, Peter
1217 Mantra Ct.                                                RS Legacy Corporation fka RadioShack
Cary, NC 27513                            15189      4/28/2016 Corporation                                                                                                                                                       $0.00
Satterfield, Norma
1001 Round Bottom Rd                                           RS Legacy Corporation fka RadioShack
Hundred, WV 26575                         15190      4/29/2016 Corporation                                                     $31.79                                                                                           $31.79
Ivey, Byron
2500 Jewetta Ave spc 37                                       RS Legacy Corporation fka RadioShack
Bakersfield, CA 93312                     15191      5/9/2016 Corporation                                                   $2,500.00                                                                                        $2,500.00
Chuanxin Song
63 Holden st                                                  RS Legacy Corporation fka RadioShack
Holden, MA 01520                          15192      5/9/2016 Corporation                                                                                                                                                        $0.00
Brian Mazzeo
2429 Route 88                                                  RS Legacy Corporation fka RadioShack
Finleyville, PA 15332                     15193      5/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Brian Mazzeo
2429 route 88                                                  RS Legacy Corporation fka RadioShack
finleyville, pa 15332                     15194      5/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Brown, Donald
PO Box 708                                                    RS Legacy Corporation fka RadioShack
Pine Bluffs, WY 82082                     15195      5/9/2016 Corporation                                                      $20.98                                                                                           $20.98
Amorosi, Edmund M.
1200 S. Huntress Ct.                                          RS Legacy Corporation fka RadioShack
Mc Lean, VA 22102                         15196      5/9/2016 Corporation                                                                                                                                                        $0.00
Larry Simmons
102 Maplewood Drive                                            RS Legacy Corporation fka RadioShack
Irwin, PA 15642                           15197      5/10/2016 Corporation                                                      $0.00                                                                                            $0.00
PAOLA ESCALONA
5370 Hackberry Lane Sw                                         RS Legacy Corporation fka RadioShack
Concord, NC 28027                         15198      5/10/2016 Corporation                                                     $25.00                                                                                           $25.00
Michele Ardoin
115 turtle creek dr                                            RS Legacy Corporation fka RadioShack
Silsbee, Tx 77656                         15199      5/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Linn, Richard
10753 Landale St.                                             RS Legacy Corporation fka RadioShack
N. Hollywood, CA 91602                    15200      5/9/2016 Corporation                                                      $86.59                                                                                           $86.59
Spear, Theresa
10 Prescott Cir                                               RS Legacy Corporation fka RadioShack
Lebanon, NJ 08833                         15201      5/9/2016 Corporation                                                     $100.00                                                                                          $100.00




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                                                                                                                  Current General                                            Current 503(b)(9)
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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
tomaz, bee
7273 napa ave.                                                RS Legacy Corporation fka RadioShack
alta loma, ca 91701                       15202      5/3/2016 Corporation                                                      $95.00                                                                                           $95.00
Baker, Sharon
162 Kaha Street                                               RS Legacy Corporation fka RadioShack
Kailva, HI 96734                          15203      5/3/2016 Corporation                                                       $6.27                                                                                            $6.27
McQueen, Dorothy
1313 N. Posey Lake Hwy                                        RS Legacy Corporation fka RadioShack
Hudson, MI 49247                          15204      5/3/2016 Corporation                                                      $63.59                                                                                           $63.59
Miller, Charis
4132 Tensity Drive                                            RS Legacy Corporation fka RadioShack
Raleigh, NC 27604                         15205      5/3/2016 Corporation                                                                                                                                                        $0.00
Burns, Judy
268 A.G. Daniel Rd                                            RS Legacy Corporation fka RadioShack
Hartford, KY 42347                        15206      5/3/2016 Corporation                                                                                                                                                        $0.00
ESSER, DONALD
5022 Wheatstone Dr.                                           RS Legacy Corporation fka RadioShack
Fairfax, VA 22032                         15207      5/3/2016 Corporation                                                      $25.00                                                                                           $25.00
Esser, Donald
5022 Wheatstone Dr                                            RS Legacy Corporation fka RadioShack
Fairfax, VA 22032                         15208      5/3/2016 Corporation                                                      $25.00                                                                                           $25.00
Gomez, Michelle
3230 Gypsy                                                    RS Legacy Corporation fka RadioShack
San Antonio, TX 78228                     15209      5/3/2016 Corporation                                                                                                                                                        $0.00
Beer, Ingrid
117 Plains Rd                                                 RS Legacy Corporation fka RadioShack
New Paltz, NY 12561                       15210      5/3/2016 Corporation                                                                                                                                                        $0.00
Raphael Cordova
3311 Julian Ave.                                               RS Legacy Corporation fka RadioShack
Long Beach, CA 90808                      15211      5/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Gray Glende
7 Yale Way                                                     RS Legacy Corporation fka RadioShack
Chico, CA 95926                           15212      5/10/2016 Corporation                                                     $42.99                                                                                           $42.99
Gilbert Horton
440 Neal Road                                                  RS Legacy Corporation fka RadioShack
Madison, NC 27025                         15213      5/11/2016 Corporation                                                     $14.93                                                                                           $14.93
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          15214      5/11/2016 Corporation                                                                                                                                                       $0.00
Heinrich Gobel
W9574 Blue Jay Way                                             RS Legacy Corporation fka RadioShack
Cambridge, WI 53523                       15215      5/11/2016 Corporation                                                      $0.00                                                                                            $0.00
richard ayala
10 arch street
Unit C‐1                                                       RS Legacy Corporation fka RadioShack
norwalk, ct 06850                         15216      5/11/2016 Corporation                                                      $0.00                                                                                            $0.00
richard ayala
10 arch street
Unit C‐1                                                       RS Legacy Corporation fka RadioShack
norwalk, ct 06850                         15217      5/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Jessica wise
1016 n 6th st                                                  RS Legacy Corporation fka RadioShack
Lafayette, In 47904                       15218      5/11/2016 Corporation                                                      $0.00                                                                                            $0.00



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                                                                                                                          Current General                                            Current 503(b)(9)
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            Creditor Name and Address            Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
Boris Staykin
2280 N. Charter Point Drive                                            RS Legacy Corporation fka RadioShack
Arlington Heights, Illinois 60004                 15219      5/11/2016 Corporation                                                     $42.95                                                                                           $42.95
Guillermo Rondon
10400 Universe Blvd NW Apt 715                                         RS Legacy Corporation fka RadioShack
Albuquerque, New Mexico 87114                     15220      5/11/2016 Corporation                                                     $21.81                                                                                           $21.81
wade rummery
1259 Windmill Ridge Loop                                               RS Legacy Corporation fka RadioShack
Orlando, FL 32828                                 15221      5/11/2016 Corporation                                                      $0.00                                                                                            $0.00

Los Angeles County Treasurer and Tax Collector
PO Box 54110                                                           RS Legacy Corporation fka RadioShack
Los Angeles, CA 90054‐0110                        15222      5/10/2016 Corporation                                                    $189.32                              $838.71                                                   $1,028.03
Lyons, Michael
2672 BYRON CIR.                                                        RS Legacy Corporation fka RadioShack
TALLAHASSEE, FL 32308                             15223      5/11/2016 Corporation                                                     $53.74                                                                                           $53.74
Snook, Eleanor
PO Box 1813                                                            RS Legacy Corporation fka RadioShack
Simivalley , CA 93062                             15224      5/11/2016 Corporation                                                     $55.80                                                                                           $55.80
Alexander, Abena
196‐14 112 Avenue                                                      RS Legacy Corporation fka RadioShack
St Albas, NY 11412                                15225      5/11/2016 Corporation                                                      $0.00                                                                                            $0.00
TempieLyons
PO Box 1288, 1128 Senisa Way                                           RS Legacy Corporation fka RadioShack
Spring Branch, TX 78070                           15226      5/11/2016 Corporation                                                     $20.00                                                                                           $20.00
wayne Trout
2375 Hanover Street                                                    RS Legacy Corporation fka RadioShack
Aurora, CO 80010                                  15227      5/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Patt Howard
RR 2 Box 152                                                           RS Legacy Corporation fka RadioShack
Laverne, OK 73848                                 15228      5/11/2016 Corporation                                                     $20.78                                                                                           $20.78
Thomas Smock
9397 W. Florence St.                                                   RS Legacy Corporation fka RadioShack
Boise, ID 83704                                   15229      5/11/2016 Corporation                                                     $21.67                                                                                           $21.67
SUE JIMENEZ
138 TRUDELL DR                                                         RS Legacy Corporation fka RadioShack
SAN ANTONIO, TX 78213                             15230      5/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Mark Gajda
29 Riverdale Parkway                                                   RS Legacy Corporation fka RadioShack
Riverdale, NJ 07457                               15231      5/11/2016 Corporation                                                    $100.00                                                                                          $100.00
Janice Wielusz
13556 Sycamore St.                                                     RS Legacy Corporation fka RadioShack
Southgate, MI 48195                               15232      5/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Snook, Eleonor
PO Box 1813                                                            RS Legacy Corporation fka RadioShack
Simi Valley, CA 93062                             15233      5/11/2016 Corporation                                                     $19.49                                                                                           $19.49
KELLY , LUISA
2823 SOUREK RD                                                         RS Legacy Corporation fka RadioShack
AKRON, OH 44333                                   15234      5/11/2016 Corporation                                                     $42.70                                                                                           $42.70
Kelly , Wayne F.
23793 Via Compadres                                                    RS Legacy Corporation fka RadioShack
Murrieta, CA 92562                                15235      5/11/2016 Corporation                                                     $25.00                                                                                           $25.00



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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Elizabeth Greskovics
220 29th Street                                                RS Legacy Corporation fka RadioShack
Manhattan Beach, CA 90266                 15236      5/11/2016 Corporation                                                     $44.09                                                                                           $44.09
Thamas, Hossai
384 La Purisma Way                                             RS Legacy Corporation fka RadioShack
Oceanside, CA 92057                       15237      5/10/2016 Corporation                                                                       $97.00                                                                         $97.00
Norris, George
8010 Oak Drive                                                 RS Legacy Corporation fka RadioShack
Palmetto, FL 34221‐8803                   15238      5/10/2016 Corporation                                                     $44.00                                                                                           $44.00
Cometa, Joanne
113 Sunnyside Road                                             RS Legacy Corporation fka RadioShack
Smyrna, DE 19977                          15239      5/10/2016 Corporation                                                     $75.00                                                                                           $75.00
Pezze, Robert
465 Wolcott Street‐ #1                                         RS Legacy Corporation fka RadioShack
Bristol, CT 06010                         15240      5/10/2016 Corporation                                                      $3.81                                                                                            $3.81
Steitz, Leslie
343 Howertown Rd                                               RS Legacy Corporation fka RadioShack
Catasauqua, PA 18032                      15241      5/10/2016 Corporation                                                     $50.00                                                                                           $50.00
Bates, Desiree
1225 Littlebrook Lane                                          RS Legacy Corporation fka RadioShack
B'ham, AL 35235                           15242      5/10/2016 Corporation                                                    $264.00                                                                                          $264.00
Esshaki, Andre
4353 32 Mile Rd                                                RS Legacy Corporation fka RadioShack
Bruce Twp, MI 48065                       15243      5/10/2016 Corporation                                                     $63.59                                                                                           $63.59
Hagedorn, Lorraine
N87W18165 Chapel Ct.                                          RS Legacy Corporation fka RadioShack
Menomonee Falls, WI 53051                 15244      5/3/2016 Corporation                                                      $15.00                                                                                           $15.00
Lopez Ortiz, Candice M
c / Guadalajara W‐1108 Urb Vistamar                           RS Legacy Corporation fka RadioShack
Carolina, PR 00983                        15245      5/3/2016 Corporation                                                      $10.70                                                                                           $10.70
Wenscit, Alan
10451 Lima St                                                 RS Legacy Corporation fka RadioShack
Cooper City, FL 33026                     15246      5/3/2016 Corporation                                                                                                                                                        $0.00
Smith, Conroy
820 Jefferson Ave                                             RS Legacy Corporation fka RadioShack
Des Moines, IA 50314                      15247      5/3/2016 Corporation                                                                                                                                                        $0.00
Seema Rani
12 Marketree Ct                                                RS Legacy Corporation fka RadioShack
Montgomery Village, MD 20886              15248      5/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Seema Rani
12 Marketree Ct                                                RS Legacy Corporation fka RadioShack
Montgomery Village, MD 20886              15249      5/11/2016 Corporation                                                     $25.00                                                                                           $25.00
Belinda Cullo
120 South 20th Street                                          RS Legacy Corporation fka RadioShack
Quincy, IL 62301                          15250      5/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Seminta Murphy Johnson
212 awanetah                                                   RS Legacy Corporation fka RadioShack
Midland, MI 48640                         15251      5/11/2016 Corporation                                                     $10.17                                                                                           $10.17
Erhan Bilici
66 rockwell pl apt 8d                                          RS Legacy Corporation fka RadioShack
BROOKLYN, ny 11217                        15252      5/12/2016 Corporation                                                    $100.00                                                                                          $100.00




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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Evans , Laverne
4737 W. Maypole Ave                                            RS Legacy Corporation fka RadioShack
Chicago, IL 60644                         15253      3/18/2016 Corporation                                                     $16.00                                                                                           $16.00
Crespo, Jeffrey C
493A Route 288                                                 RS Legacy Corporation fka RadioShack
Ellwood City, PA 16117                    15254      3/18/2016 Corporation                                                                                                                                                       $0.00
Sautner, MRs. Rose
160 E. 54th St                                                 RS Legacy Corporation fka RadioShack
Elmwood Park, NJ 07407‐2801               15255      3/18/2016 Corporation                                                     $50.00                                                                                           $50.00
Routt, Rick
4900 Vaquero Dr                                                RS Legacy Corporation fka RadioShack
Arlington , TX 76017                      15256      3/18/2016 Corporation                                                     $11.95                                                                                           $11.95
Thomas, Susan
26005 Sackamaxon Dr                                            RS Legacy Corporation fka RadioShack
Sorrento, FL 32776                        15257      3/22/2016 Corporation                                                                                                                                                       $0.00
Pierce , Don
231 Jefferson Ave                                              RS Legacy Corporation fka RadioShack
River Edge,, NJ 07661‐1307                15258      3/24/2016 Corporation                                                     $10.00                                                                                           $10.00
Hammack, Nancy J.
HC‐3, Box 4695                                                 RS Legacy Corporation fka RadioShack
KEAAU, HI 96749‐9604                      15259      3/24/2016 Corporation                                                     $16.65                                                                                           $16.65
Alvardo, Epifania
13816 S Catalina Ave                                           RS Legacy Corporation fka RadioShack
Gardena, CA 90247                         15260      3/28/2016 Corporation                                                                                                                                                       $0.00
McLaughlin, Daniel
3701 21st Street                                               RS Legacy Corporation fka RadioShack
San Francisco, CA 94114                   15261      3/28/2016 Corporation                                                     $81.21                                                                                           $81.21
Gaenslen , Barbara
2352 Poppy Drive                                               RS Legacy Corporation fka RadioShack
Burlingame, CA 94010                      15262      3/28/2016 Corporation                                                                                                                                                       $0.00
Lewis, William R.
3313 Brookdale Dr.                                             RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15241                      15263      3/28/2016 Corporation                                                     $15.00                                                                                           $15.00
Coin, Dianne
400 Broadway St                                                RS Legacy Corporation fka RadioShack
Pontiac, MI 48342                         15264      3/29/2016 Corporation                                                     $10.57                                                                                           $10.57
Jenkins, Angela
7631 ME Sandy Blvd                                             RS Legacy Corporation fka RadioShack
Portland, OR 97213                        15265      3/29/2016 Corporation                                                                                                                                                       $0.00
Gust, Robert
5121 Chasemoor St.                                             RS Legacy Corporation fka RadioShack
Pahrump, NV 89061                         15266      3/29/2016 Corporation                                                     $25.00                                                                                           $25.00
Keliikipi, Rory
PO Box 277                                                     RS Legacy Corporation fka RadioShack
Kaneohe, HI 96744                         15267      4/11/2016 Corporation                                                                                                                                                       $0.00
Collier, Bruce
208 Commonwealth Dr.                                           RS Legacy Corporation fka RadioShack
Newtown, PA 18940                         15268      4/15/2016 Corporation                                                     $25.00                                                                                           $25.00
Thompson, Christopher
6800 Northwest 14th Court                                      RS Legacy Corporation fka RadioShack
Plantation, FL 33313                      15269      4/23/2016 Corporation                                                                                                                                                       $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount          Amount
                                                                                                                      Amount                                                     Amount
Aguirres, Laurine
1502 Shetland Dr.                                              RS Legacy Corporation fka RadioShack
Laramie, WY 82070                         15270      4/25/2016 Corporation                                                     $22.04                                                                      $22.04                $44.08
Medina, Cinthya
41302 154th St E.                                              RS Legacy Corporation fka RadioShack
Lancaster, CA 93535                       15271      4/25/2016 Corporation                                                                                                                       Unknown                          $0.00
Fox, Dennis
415 Wire Road                                                  RS Legacy Corporation fka RadioShack
Bunnlevel, NC 28323                       15272      4/25/2016 Corporation                                                                                                                       Unknown                          $0.00
Bean, Charlene E.
823 Mahala Dr                                                  RS Legacy Corporation fka RadioShack
Waterloo, IL 62298                        15273      4/25/2016 Corporation                                                    $100.00                                                                                           $100.00
Walters, Nancy
2419 A1 Hwy 10                                                 RS Legacy Corporation fka RadioShack
Brundidge, AL 36010                       15274      4/25/2016 Corporation                                                     $50.00                                                                                            $50.00
Orzech, Mary Jo
82 Adams St.                                                   RS Legacy Corporation fka RadioShack
Brockport, NY 14420                       15275      4/25/2016 Corporation                                                     $20.00                                                                      $20.00                $40.00
Murphy, Frank
34 Balfour Lane                                                RS Legacy Corporation fka RadioShack
Ramsey, NJ 07446                          15276      4/25/2016 Corporation                                                                                                                                                        $0.00
Mattes, Jowesn
301 NW 105 8A                                                  RS Legacy Corporation fka RadioShack
Miami, FL 33150                           15277      4/25/2016 Corporation                                                     $50.00                                                                                            $50.00
Larimore, Donald D.
504 Deerfield Drive                                            RS Legacy Corporation fka RadioShack
Pekin, IL 61554‐9574                      15278      4/26/2016 Corporation                                                                                                                                                        $0.00
Jansen, David
263 Bear Creek Estates                                         RS Legacy Corporation fka RadioShack
Sequim, WA 99362                          15279      4/26/2016 Corporation                                                                                                                                                        $0.00
Lee, Joseph R.
65924 Cahuilla Ave.                                            RS Legacy Corporation fka RadioShack
Desert Hot Springs, CA 92240              15280      4/26/2016 Corporation                                                                                                                                                        $0.00
Sealey, Glenovan
3643 Beells Farm Ct                                            RS Legacy Corporation fka RadioShack
Frederick, MD 21704                       15281      4/27/2016 Corporation                                                     $30.00                                                                                            $30.00
Mendenhall, Edward I
594 Paradise Park                                              RS Legacy Corporation fka RadioShack
Santa Cruz, CA 95060                      15282      4/27/2016 Corporation                                                    $115.00                                                                                           $115.00
Hudson, Lori
7595 N Mystic Canyon Dr.                                       RS Legacy Corporation fka RadioShack
Tucson, Az 85418                          15283      4/27/2016 Corporation                                                                                                                                                        $0.00
Garcia, Rachel
PO Box 285                                                    RS Legacy Corporation fka RadioShack
Santo Domingo, NM 87052                   15284      5/2/2016 Corporation                                                                                                                                                         $0.00
Elem, Rose
6469 County Rd 154                                            RS Legacy Corporation fka RadioShack
Tillatoba, MS 38961                       15285      5/3/2016 Corporation                                                      $10.13                                                                                            $10.13
Tony Ro
334 W. 87th St. Apt. 4C                                        RS Legacy Corporation fka RadioShack
New York, NY 10024                        15286      5/12/2016 Corporation                                                     $25.00                                                                                            $25.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Joanne Owens
575 Grove St. Apt E8                                           RS Legacy Corporation fka RadioShack
Clifton, NJ 07013                         15287      5/12/2016 Corporation                                                     $21.39                                                                                           $21.39
Crystal Acosta
1222 Central Avenue                                            RS Legacy Corporation fka RadioShack
Union City, NJ 07087                      15288      5/12/2016 Corporation                                                      $0.00                                                                                            $0.00
THOMAS H. HODGE JR
539 DICKINSON STREET                                           RS Legacy Corporation fka RadioShack
SPRINGFIELD, MA 01108                     15289      5/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Joe D Gillespie
11565 S DEER RUN ST.                                           RS Legacy Corporation fka RadioShack
OLATHE, KS 66061                          15290      5/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Jesse Ralph Cowell
2001 Parkwood Dr NW                                            RS Legacy Corporation fka RadioShack
Warren, OH 44485                          15291      5/12/2016 Corporation                                                      $0.00                                                                                            $0.00
stella chen
1220 Covina Ct                                                 RS Legacy Corporation fka RadioShack
Richland, wa 99354                        15292      5/12/2016 Corporation                                                      $0.00                                                                                            $0.00
angela schlosser
1038 Orion Court                                               RS Legacy Corporation fka RadioShack
North Merrick, New York 11566             15293      5/12/2016 Corporation                                                      $5.44                                                                                            $5.44
Kevin Mackenzie
305 Spring St.                                                 RS Legacy Corporation fka RadioShack
Contoocook, NH 03229‐3150                 15294      5/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Patsy Cloud
7049 Crossridge Rd                                             RS Legacy Corporation fka RadioShack
Charlotte, NC 28214                       15295      5/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Kathleen T. Miyasato
1361 Onioni Street                                             RS Legacy Corporation fka RadioShack
Kailua HI 96734, Hawaii 96734             15296      5/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Linda J Mason
1168 Main Street                                               RS Legacy Corporation fka RadioShack
Clinton, MA 01510                         15297      5/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Linda Nunn
1807 S. Indian River Dr.                                       RS Legacy Corporation fka RadioShack
Fort Pierce, Florida 34950                15298      5/13/2016 Corporation                                                     $41.34                                                                                           $41.34
Shana Law
9801 Cascade Dr                                                RS Legacy Corporation fka RadioShack
Mobile, Al 36695                          15299      5/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Nancy Barron
34 Alana Drive                                                 RS Legacy Corporation fka RadioShack
Rochester, NY 14624                       15300      5/13/2016 Corporation                                                     $20.00                                                                                           $20.00
Matthew McGuire
1198 cty rd I                                                  RS Legacy Corporation fka RadioShack
highland, wi 53543                        15301      5/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Prasad Balusu
1574 Jamestown Drive                                           RS Legacy Corporation fka RadioShack
Cupertino, CA 95014                       15302      5/13/2016 Corporation                                                     $18.40                                                                                           $18.40
Danielle Murray
1 Alfred Terr                                                  RS Legacy Corporation fka RadioShack
Randolph, MA 0236i                        15303      5/13/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Patsy Unruh
12580 County Road 8                                            RS Legacy Corporation fka RadioShack
Perryton, TX 79070                        15304      5/13/2016 Corporation                                                     $75.00                                                                                           $75.00
Jim, Jaynelle
612 N. Monterey Ave. Apt C9                                   RS Legacy Corporation fka RadioShack
Farmington, NM 87401                      15305      5/2/2016 Corporation                                                      $12.90                                                                                           $12.90
Garcia, Rachel
PO Box 285                                                    RS Legacy Corporation fka RadioShack
Santo Domingo, NM 87052                   15306      5/2/2016 Corporation                                                                                                                                                        $0.00
Kinard, Marie
2923 Ryan Blvd                                                RS Legacy Corporation fka RadioShack
Punta Gorda, FL 33950                     15307      5/2/2016 Corporation                                                      $23.52                                                                                           $23.52
Stack, CATHERINE M
218 Seneca st                                                 RS Legacy Corporation fka RadioShack
Ronkonkoma, NY 11779                      15308      5/2/2016 Corporation                                                      $32.65                                                                                           $32.65
Eden, Marlene
8007 Cobble Creek Circle                                       RS Legacy Corporation fka RadioShack
Potomac, MD 20854                         15309      4/29/2016 Corporation                                                                                                                                                       $0.00
Martin, Mary
7140 Arkansas                                                  RS Legacy Corporation fka RadioShack
Hammond, IN 46323                         15310      5/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Lynch, Janice
204 Milagra Drive                                              RS Legacy Corporation fka RadioShack
Pacifica, CA 94044‐2329                   15311      5/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Wolfram, Ray
1213 Arndt St.                                                 RS Legacy Corporation fka RadioShack
Fort Atkinson, WI 53538                   15312      5/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Mallinger, Connie
7992 110 St So                                                 RS Legacy Corporation fka RadioShack
Cottage Grove, MN 55016                   15313      4/29/2016 Corporation                                                    $117.83                                                                                          $117.83
Stewart, Ellen
7927 W. Greer Ave                                              RS Legacy Corporation fka RadioShack
Peoria, AZ 85345                          15314      4/29/2016 Corporation                                                     $13.30                                                                                           $13.30
Van Stone, Diana
11619 Princess Ln                                              RS Legacy Corporation fka RadioShack
ELLICOTT CITY , MD 21042                  15315      4/29/2016 Corporation                                                                                                                                                       $0.00
Langerock, Darlene L
45491 184th Street                                             RS Legacy Corporation fka RadioShack
Castlewood, SD 57223                      15316      4/29/2016 Corporation                                                     $45.57                                                                                           $45.57
Lunati, Donna
213 Fairharbor Drive                                           RS Legacy Corporation fka RadioShack
Patchogue, NY 11772                       15317      4/28/2016 Corporation                                                    $100.00                                                                                          $100.00
Harrison, Karen
352 Henry White Road                                           RS Legacy Corporation fka RadioShack
Irvine, KY 40336                          15318      4/28/2016 Corporation                                                     $89.53                                                                                           $89.53
Teitelbaum, Joshua
71 Decatur Ave
#101                                                           RS Legacy Corporation fka RadioShack
Spring Valley, NY 10977                   15319      5/13/2016 Corporation                                                     $86.00                                                                                           $86.00
Harris, Jenny
4249 Utah Rd                                                   RS Legacy Corporation fka RadioShack
Wellsville, KS 66092                      15320      5/13/2016 Corporation                                                      $0.00                                                                                            $0.00



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                                                                                                                            Current General                                            Current 503(b)(9)
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                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
Kowalchuk, Marilyn
17 Viscaya Court                                                         RS Legacy Corporation fka RadioShack
Bear, DE 19701                                      15321      4/28/2016 Corporation                                                                                                                                                       $0.00
McCormack Baron Asset Management, Inc.
720 Olive Street Suite 2500                                              RS Legacy Corporation fka RadioShack
St. Louis, MO 63101                                 15322      4/22/2016 Corporation                                                $12,080.42                                                                                        $12,080.42

The Sacramento Bee
c/o Paul J. Pascuzzi
Felderstein Fitzgerald Willoughby & Pascuzzi LLP
400 Capitol Mall, Suite 1750                                             RS Legacy Corporation fka RadioShack
Sacramento, CA 95814                                15323      3/31/2016 Corporation                                                $65,130.01                                                                                        $65,130.01
Bivins, Adrianne L.
14734 Rapolla Drive                                                      RS Legacy Corporation fka RadioShack
Delray Beach, FL 33446                              15324      3/29/2016 Corporation                                                     $33.00                                                                                           $33.00
Guerrero, Adelaida
Bank of America
PO Box 15019                                                             RS Legacy Corporation fka RadioShack
Wilmington, DE 19886‐5019                           15325      3/29/2016 Corporation                                                      $0.00                                                                                            $0.00
GIN JO CORP
C/O PATEL MANAGEMENT
3730 WEST DEVON AVE                                                      RS Legacy Corporation fka RadioShack
LINCOLNWOOD, IL 60712                               15326      3/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Turnbull, Robert
3865 W. 110th Av                                                         RS Legacy Corporation fka RadioShack
Westminster, CO 80031                               15327      3/22/2016 Corporation                                                     $25.92                                                                                           $25.92
Arciszewski, Paula
23 Friars Hall Court                                                     RS Legacy Corporation fka RadioShack
St. Charles, MO 63304                               15328      3/22/2016 Corporation                                                     $12.90                                                                                           $12.90
Reyna Swanson
1317 Woodland Ct.                                                        RS Legacy Corporation fka RadioShack
San Marcos, Ca 92069                                15329      5/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Iosif Fatakhov
26‐08 High St. Fair lawn NJ. 07410                                       RS Legacy Corporation fka RadioShack
fair lawn, new jersey 07410                         15330      5/13/2016 Corporation                                                     $50.00                                                                                           $50.00
Stephen Hall
227 4th St. NW                                                           RS Legacy Corporation fka RadioShack
Atlanta, GA 30313                                   15331      5/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Demarcus Crosby
4013 N 8th Ave                                                           RS Legacy Corporation fka RadioShack
Pensacola, Florida 32503                            15332      5/13/2016 Corporation                                                     $25.00                                                                                           $25.00
Shan He
1044 Gardenia Way                                                        RS Legacy Corporation fka RadioShack
Sunnyvale, CA 94086                                 15333      5/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Lorentez Barbour
3421 Vermont Avenue                                                      RS Legacy Corporation fka RadioShack
Louisville, KY 40211                                15334      5/14/2016 Corporation                                                    $100.00                                                                                          $100.00
Donald Sizemore
715 Park Drive                                                           RS Legacy Corporation fka RadioShack
Goodlettsville, TN 37072                            15335      5/14/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Mohammed Sheikh
205 N.W. 128 ave                                               RS Legacy Corporation fka RadioShack
Miami, FL 33182                           15336      5/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Mohammed Sheikh
205 N.W 128 ave                                                RS Legacy Corporation fka RadioShack
Miami, FL 33182                           15337      5/14/2016 Corporation                                                      $0.00                                                                                            $0.00
hoang chung
758 43rd ave                                                   RS Legacy Corporation fka RadioShack
san francisco, ca 94121                   15338      5/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Gene Loflin
18 Touraine Place                                              RS Legacy Corporation fka RadioShack
Foothill Ranch, California 92610          15339      5/15/2016 Corporation                                                     $40.00                                                                                           $40.00
joseph lathus
14427 ridgeway ave                                             RS Legacy Corporation fka RadioShack
Midlothian, il 60445                      15340      5/15/2016 Corporation                                                    $200.00                                                                                          $200.00
Cynthia Pustelak
9414 south clifton park ave                                    RS Legacy Corporation fka RadioShack
evergreen park, Illinois 60803            15341      5/15/2016 Corporation                                                    $390.00                                                                                          $390.00
Stephanie Lucas
106 Wynnwood Dr                                                RS Legacy Corporation fka RadioShack
Palestine, Texas 75801                    15342      5/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Occasio Gee
615 McLean St                                                  RS Legacy Corporation fka RadioShack
Portsmouth, VA 23701                      15343      5/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Derek V Major
327 Ashburton Lane                                             RS Legacy Corporation fka RadioShack
West Columbia, SC 29170                   15344      5/15/2016 Corporation                                                     $34.86                                                                                           $34.86
Kayla Bronis
10961 Burnt Mill Road Unit 138                                 RS Legacy Corporation fka RadioShack
Jacksonville, fl 32256                    15345      5/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Michelle Mashon
3159 Chippewa St                                               RS Legacy Corporation fka RadioShack
New Orleans, LA 70115                     15346      5/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Sharon Sills
4074 Del Rio Rd                                                RS Legacy Corporation fka RadioShack
Roseburg, Oregon 97471                    15347      5/15/2016 Corporation                                                     $38.57                                                                                           $38.57
Zhang, Dafu
205 RIver Valley Rd
#13‐52
Singapore 238274                                               RS Legacy Corporation fka RadioShack
Singapore                                 15348      5/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Monica Schon‐Zinno
3021 Fairhill Drive                                            RS Legacy Corporation fka RadioShack
Collegeville, Pa 19426                    15349      5/15/2016 Corporation                                                     $20.35                                                                                           $20.35
Tamara Plake
1045 Boulder Mtn. Ct.                                          RS Legacy Corporation fka RadioShack
South Lake Tahoe, CA 96150                15350      5/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Jorge Velasquez
20 5th Street Apt.1                                            RS Legacy Corporation fka RadioShack
Valley Stream, NY 11581                   15351      5/15/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Gabe Fankhauser
4620 Westgate Dr                                               RS Legacy Corporation fka RadioShack
Cumming, GA 30040                         15352      5/16/2016 Corporation                                                      $3.80                                                                                            $3.80
James Burd
24 Vardry Street, Suite 201                                    RS Legacy Corporation fka RadioShack
Greenville, SC 29601                      15353      5/16/2016 Corporation                                                     $82.64                                                                                           $82.64
Greta Bordelon
8712 Jefferson Highway, Suite B                                RS Legacy Corporation fka RadioShack
Baton Rouge, LA 70809                     15354      5/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael McCormick
606 Hopping Rd                                                 RS Legacy Corporation fka RadioShack
Belford, NJ 07718                         15355      5/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Rebecca Wilkowski
221 3rd St NW                                                  RS Legacy Corporation fka RadioShack
Bemidji, MN 56601                         15356      5/16/2016 Corporation                                                     $28.85                                                                                           $28.85
Rebecca Lafferty
PO Box 267                                                     RS Legacy Corporation fka RadioShack
Ravencliff, WV 25913                      15357      5/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Alicia Breckenridge
PO Box 263                                                     RS Legacy Corporation fka RadioShack
Morgan Hill, CA 95038                     15358      5/16/2016 Corporation                                                     $25.00                                                                                           $25.00
yangfan deng
8700 Baltimore Ave APT 603D                                    RS Legacy Corporation fka RadioShack
College Park, MD 20740                    15359      5/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Richard Breckenridge
PO Box 263                                                     RS Legacy Corporation fka RadioShack
Morgan Hill, CA 95038                     15360      5/16/2016 Corporation                                                     $25.00                                                                                           $25.00
Donna Madrid
11914 Acacia Glen Ct.                                          RS Legacy Corporation fka RadioShack
San Diego, CA 92128                       15361      5/16/2016 Corporation                                                     $32.33                                                                                           $32.33
Cecilia Alegria
712 Willow Street                                              RS Legacy Corporation fka RadioShack
Jourdanton, Texas 78026                   15362      5/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Erin Dehler
223 W Mark St #404‐2 Kirkland Hall                             RS Legacy Corporation fka RadioShack
Winona, MN 55987                          15363      5/16/2016 Corporation                                                     $35.00                                                                                           $35.00
Jacob Samario
2401 Foxglove Dr                                               RS Legacy Corporation fka RadioShack
Monterey Park, CA 91755                   15364      5/16/2016 Corporation                                                    $100.00                                                                                          $100.00
Judith Selby
1442 Lemon Ave                                                 RS Legacy Corporation fka RadioShack
Bradbury, CA 91008                        15365      5/16/2016 Corporation                                                     $29.73                                                                                           $29.73
Danny Norton
5707 SE Division St                                            RS Legacy Corporation fka RadioShack
Portland, OR 97206                        15366      5/16/2016 Corporation                                                     $89.99                                                                                           $89.99
Melissa Gibo
968 Spencer St, Apt 402                                        RS Legacy Corporation fka RadioShack
Honolulu, HI 96822                        15367      5/16/2016 Corporation                                                      $0.00                                                                                            $0.00
John Penn
332 Westbridge Lane                                            RS Legacy Corporation fka RadioShack
Canton, GA 30114                          15368      5/16/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
sameena khaja
1359 n noble #101                                              RS Legacy Corporation fka RadioShack
Chicago, il 60642                         15369      5/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Mary Jo Weindling
7 Artisan Avenue                                               RS Legacy Corporation fka RadioShack
Huntington, NY 11743                      15370      5/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Shane Williams
72 Roger Williams Cir.                                         RS Legacy Corporation fka RadioShack
Cranston, RI 02905                        15371      5/16/2016 Corporation                                                     $53.49                                                                                           $53.49
Brian McDowell
808 Frederick Ct.                                              RS Legacy Corporation fka RadioShack
Canonsburg, PA 15317                      15372      5/16/2016 Corporation                                                     $52.99                                                                                           $52.99
lynne egensteiner
59457 Alapio Road                                              RS Legacy Corporation fka RadioShack
Haleiwa, HI 96712                         15373      5/17/2016 Corporation                                                     $60.00                                                                                           $60.00
Albers, Scott
305 West 28th Street, Apt. 15H                                 RS Legacy Corporation fka RadioShack
New York, NY 10001                        15374      5/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Barrios, Armando
9176 Tenango                                                   RS Legacy Corporation fka RadioShack
EL PASO, TX 79907                         15375      5/17/2016 Corporation                                                     $30.00                                                                                           $30.00
Langford, Rebecca
1287 Hwy 191                                                   RS Legacy Corporation fka RadioShack
Johnston , Sc 29832                       15376      5/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Heller, Barbara
7 W. 104th St. APt 3B                                          RS Legacy Corporation fka RadioShack
New York, NY 10025                        15377      5/17/2016 Corporation                                                    $100.00                                                                                          $100.00
Kuester, John
11 Bayberry Lane                                               RS Legacy Corporation fka RadioShack
Exeter, NH 03833                          15378      5/17/2016 Corporation                                                     $10.00                                                                                           $10.00
Weich, Michele
87‐87 171st Street, Apt. 2A                                    RS Legacy Corporation fka RadioShack
Jamaica , NY 11432                        15379      5/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Marks, Dino
3787 Arlington Ave                                             RS Legacy Corporation fka RadioShack
Riverside, CA 92506                       15380      5/17/2016 Corporation                                                      $0.00                                                                                            $0.00
WILLIAM DOUGLAS
300 N state unit 3406                                          RS Legacy Corporation fka RadioShack
CHICAGO, IL 60654                         15381      5/17/2016 Corporation                                                    $375.00                                                                                          $375.00
Donald Pedicini
2252 East Arms Drive                                           RS Legacy Corporation fka RadioShack
Hubbard, Ohio 44425                       15382      5/17/2016 Corporation                                                      $7.66                                                                                            $7.66
Deanna mcduffie
322 sterling dr                                                RS Legacy Corporation fka RadioShack
Winter haven, Fl 33884                    15383      5/17/2016 Corporation                                                     $80.14                                                                                           $80.14
Liam Caplan
612 Manayunk Rd                                                RS Legacy Corporation fka RadioShack
Merion, PA 19066                          15384      5/17/2016 Corporation                                                      $0.00                                                                                            $0.00
CRYSTAL FORD
16303 lyons school rd apt. 201                                 RS Legacy Corporation fka RadioShack
Spring, Tx 77379                          15385      5/17/2016 Corporation                                                     $50.00                                                                                           $50.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
julie jin
8 pheasant hill lane                                           RS Legacy Corporation fka RadioShack
old brookville, ny 11545                  15386      5/17/2016 Corporation                                                     $30.00                                                                                           $30.00
Nick Maxwell
5545 Bowden lp unit D                                          RS Legacy Corporation fka RadioShack
Colorado Springs, CO 80915                15387      5/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Stefany Rivas
403 S. Occidental Blvd apt *                                   RS Legacy Corporation fka RadioShack
Los Angeles, CA 90057                     15388      5/17/2016 Corporation                                                      $0.00                                                                                            $0.00
david forrest
73 west wharf road
building # 3                                                   RS Legacy Corporation fka RadioShack
madison , CT, 6443 2034305168             15389      5/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Daniel L or Linda L Jones
19839 Emerald Springs Dr                                       RS Legacy Corporation fka RadioShack
houston, TX 77094                         15390      5/17/2016 Corporation                                                     $47.61                                                                                           $47.61
Jessica Wise
1016 n 6th st                                                  RS Legacy Corporation fka RadioShack
Lafayette, In 47904                       15391      5/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Richard Perlstein
9 Vista Court                                                  RS Legacy Corporation fka RadioShack
Corte Madera, CA 94925                    15392      5/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Nelson, Steve
HC 13 Box 3035                                                 RS Legacy Corporation fka RadioShack
Chester, UT 84623                         15393      5/18/2016 Corporation                                                     $40.58                                                                                           $40.58
Melissa Galvin
637 Main Street Apt A                                          RS Legacy Corporation fka RadioShack
Sayreville, NJ 08872                      15394      5/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Kris McClelland
3053 Fillmore Street Apt 129                                   RS Legacy Corporation fka RadioShack
San Francisco, CA 94123                   15395      5/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Joyce Nathanson
234 Society Hill Boulevard                                     RS Legacy Corporation fka RadioShack
Cherry Hill, NJ 08003                     15396      5/18/2016 Corporation                                                      $7.48                                                                                            $7.48
Robert Smart
335 East Laura Ct.                                             RS Legacy Corporation fka RadioShack
Visalia, CA 93277                         15397      5/18/2016 Corporation                                                     $40.04                                                                                           $40.04
Carla Nelson
6478 plymouth rock dr                                          RS Legacy Corporation fka RadioShack
Trussville, Al 35173                      15398      5/18/2016 Corporation                                                    $130.00                                                                                          $130.00
Jon Craig Berthold
115 SE 130th Ave                                               RS Legacy Corporation fka RadioShack
Portland, OR 97233‐1511                   15399      5/18/2016 Corporation                                                     $59.99                                                                                           $59.99
Elie Zarem
2609 E Newberry Blvd                                           RS Legacy Corporation fka RadioShack
Milwaukee, Wisconsin 53211                15400      5/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Rachel Lane
1831 Lexington Dr.                                             RS Legacy Corporation fka RadioShack
Fullerton, CA 92835                       15401      5/18/2016 Corporation                                                      $0.00                                                                                            $0.00
donald r mcmullen
PO Box 566                                                     RS Legacy Corporation fka RadioShack
leland, MI 49654                          15402      5/18/2016 Corporation                                                     $75.00                                                                                           $75.00



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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
David Stewart
6706 NW 43rd Place                                             RS Legacy Corporation fka RadioShack
Gainesville, FL 32606                     15403      5/18/2016 Corporation                                                      $0.00                                                                                            $0.00
kimberly botterbusch
783 edgewood ave                                               RS Legacy Corporation fka RadioShack
atlanta, ga 30307                         15404      5/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Chance Cook
9532 east Jerome avenue                                        RS Legacy Corporation fka RadioShack
Mesa, Arizona 85209                       15405      5/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Kyle
825 E bethany home rd c209                                     RS Legacy Corporation fka RadioShack
Phoenix, AZ 85014                         15406      5/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Eric Shaffer
4428 Hallmark Dr.                                              RS Legacy Corporation fka RadioShack
Dallas, Tx 75229                          15407      5/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Kiron Coramutla
11 Trotter court                                               RS Legacy Corporation fka RadioShack
Monroe twp, NJ 08831                      15408      5/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Steve Mundro
5916 Canning Street                                            RS Legacy Corporation fka RadioShack
Oakland, CA 94609                         15409      5/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Robin Tillman
7307 Wood Hollow Terrace                                       RS Legacy Corporation fka RadioShack
Fort Washington, MD 20744                 15410      5/19/2016 Corporation                                                     $32.77                                                                                           $32.77
Yves Mantz
2718 Suncrest Vlg                                              RS Legacy Corporation fka RadioShack
Morgantown, WV 26505‐3844                 15411      5/19/2016 Corporation                                                     $45.76                                                                                           $45.76
Randy L Van Ausdal
1150 South Main, Apt 343                                       RS Legacy Corporation fka RadioShack
BOUNTIFUL, Utah 84010                     15412      5/19/2016 Corporation                                                     $46.00                                                                                           $46.00
Layal Flood
600 Julia St SE                                                RS Legacy Corporation fka RadioShack
Winter Haven, FL 33880                    15413      5/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Nadime Issa
8 Beckwith Circle                                              RS Legacy Corporation fka RadioShack
Utica, NY 13501                           15414      5/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Ryan Dehnel
14281 Fresno Avenue                                            RS Legacy Corporation fka RadioShack
Apple Valley, MN 55124                    15415      5/19/2016 Corporation                                                     $21.44                                                                                           $21.44
matthew garcia
955 gardenia dr                                                RS Legacy Corporation fka RadioShack
houston, tx 77018                         15416      5/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Tina Starner
16023 Oursler Road                                             RS Legacy Corporation fka RadioShack
Burtonsville, MD 20866                    15417      5/19/2016 Corporation                                                     $15.00                                                                                           $15.00
Sergey Eygenson
23 Buckingham Ln                                               RS Legacy Corporation fka RadioShack
Buffalo Grove, IL 60089                   15418      5/19/2016 Corporation                                                     $11.83                                                                                           $11.83
Timothy S. Rogers
3328 Culloden Court                                            RS Legacy Corporation fka RadioShack
Reynoldsburg, OH 43068                    15419      5/19/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Eric Cunningham
10 Walnut Lane                                                 RS Legacy Corporation fka RadioShack
Travelers Rest, SC 29690                  15420      5/19/2016 Corporation                                                     $20.00                                                                                           $20.00
Debbie Seely
18212 N 66th Ln                                                RS Legacy Corporation fka RadioShack
Glendale, AZ 85308                        15421      5/19/2016 Corporation                                                     $21.61                                                                                           $21.61
Yolanda Atkins
2145 E. 97th St.                                               RS Legacy Corporation fka RadioShack
Chicago, IL 60617                         15422      5/19/2016 Corporation                                                     $50.00                                                                                           $50.00
william a wise
801 cooperlandingt rd apt a713                                 RS Legacy Corporation fka RadioShack
cherry hill, nj 08002                     15423      5/19/2016 Corporation                                                     $50.00                                                                                           $50.00
joshua koplin
901 rodman street                                              RS Legacy Corporation fka RadioShack
philadelphia, PA 19147                    15424      5/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Sharyn Thompson
9 Northgate Lane                                               RS Legacy Corporation fka RadioShack
Willingboro nj 08046, Willingboro None    15425      5/19/2016 Corporation                                                     $53.49                                                                                           $53.49
Dennis T. Lim
315 California Street Unit C                                   RS Legacy Corporation fka RadioShack
Arcadia, CA 91006                         15426      5/19/2016 Corporation                                                     $21.26                                                                                           $21.26
lester lee
11826 Hueco Tanks Dr.                                          RS Legacy Corporation fka RadioShack
sugar land, tx 77498                      15427      5/20/2016 Corporation                                                      $8.10                                                                                            $8.10
Nathan Randall
260 Angle Rd                                                   RS Legacy Corporation fka RadioShack
West Seneca, NY 14224                     15428      5/20/2016 Corporation                                                    $140.00                                                                                          $140.00
Mark F. Vernier
4134 Knab Road                                                 RS Legacy Corporation fka RadioShack
Smithton, Illinois 62285                  15429      5/20/2016 Corporation                                                     $10.00                                                                                           $10.00
paula cayce
308 n. 11th                                                    RS Legacy Corporation fka RadioShack
salina, ks 67401                          15430      5/20/2016 Corporation                                                     $75.00                                                                                           $75.00
CHAVEZ, JAIRO IGNACIO VIDAL
2198 CRUGER AVENUE
Apt. 5E                                                        RS Legacy Corporation fka RadioShack
BRONX, NY 10462                           15431      5/17/2016 Corporation                                                                                                              $86.00                                  $86.00
BECK, KENNETH W.
5001 S. Western                                                RS Legacy Corporation fka RadioShack
Stillwater, OK 74074                      15432      5/16/2016 Corporation                                                                                                                                                       $0.00
Mills, John
20 Houston St                                                  RS Legacy Corporation fka RadioShack
Wakefield, MA                             15433      5/16/2016 Corporation                                                                                                                                                       $0.00
Marks, Dino
3787 Arlington Ave                                             RS Legacy Corporation fka RadioShack
Riverside, CA 92506                       15434      5/16/2016 Corporation                                                                                                                                                       $0.00
Cassandra Gorney
3220 Sudbury Rd                                                RS Legacy Corporation fka RadioShack
Charlotte, NC 28205                       15435      5/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Brianna Mahoney
4 S Elizabeth St                                               RS Legacy Corporation fka RadioShack
Tewksbury, Ma 01876                       15436      5/20/2016 Corporation                                                      $0.00                                                                                            $0.00



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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Janet Pishotta
126 Carlyle Ct                                                 RS Legacy Corporation fka RadioShack
Elgin, IL 60120                           15437      5/20/2016 Corporation                                                     $31.85                                                                                           $31.85
Andrew Strotheide
337 Marmot Pt                                                  RS Legacy Corporation fka RadioShack
Lafayette, CO 80026                       15438      5/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Eric Gabriel
3980 River Poite Place Apt 1F                                  RS Legacy Corporation fka RadioShack
High Point, NC 27265                      15439      5/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Eduardo Gonzalez
33175 Linda Rosea Road                                         RS Legacy Corporation fka RadioShack
Temecula, CA 92592                        15440      5/20/2016 Corporation                                                     $19.38                                                                                           $19.38
Pat Scully
25 Woodsboro Circle                                            RS Legacy Corporation fka RadioShack
Cromwell, CT 06416                        15441      5/20/2016 Corporation                                                      $0.00                                                                                            $0.00
James Walker
513 Ashbrook Court                                             RS Legacy Corporation fka RadioShack
Athens, GA 30605                          15442      5/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Marjorie Romano
5429 Harrow Terrace                                            RS Legacy Corporation fka RadioShack
Sarasota, FL 34241                        15443      5/20/2016 Corporation                                                     $85.59                                                                                           $85.59
raul esqueda
41 olive circle                                                RS Legacy Corporation fka RadioShack
marietta, ga 30060                        15444      5/20/2016 Corporation                                                      $0.00                                                                                            $0.00
michael soehner
4220 glencoe ave., suite 150                                   RS Legacy Corporation fka RadioShack
venice, ca 90292                          15445      5/20/2016 Corporation                                                     $51.00                                                                                           $51.00
Christopher Ugalde
3716 Trina Place                                               RS Legacy Corporation fka RadioShack
El Paso, Tx 79936                         15446      5/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Sam Reed
355 Jerris ave SE                                              RS Legacy Corporation fka RadioShack
Salem, OR 97302                           15447      5/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Laramie Driscoll
5807 Valley Forge Drive                                        RS Legacy Corporation fka RadioShack
Houston, TX 77057                         15448      5/20/2016 Corporation                                                     $97.41                                                                                           $97.41
Crystal Robinson
900 Brill Street Apt 1                                         RS Legacy Corporation fka RadioShack
Philadelphia, PA 19124                    15449      5/20/2016 Corporation                                                    $100.00                                                                                          $100.00
hok wong
1045 cynthia avenue                                            RS Legacy Corporation fka RadioShack
pasadena, ca 91107                        15450      5/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Dickon Chan
5360 Carriage Drive                                            RS Legacy Corporation fka RadioShack
El Sobrante, CA 94803                     15451      5/21/2016 Corporation                                                     $12.00                                                                                           $12.00
Kenneth Zaldo
4 Pond View Dr                                                 RS Legacy Corporation fka RadioShack
Oxford, CT 06478                          15452      5/21/2016 Corporation                                                     $50.00                                                                                           $50.00
Kenneth Zaldo
4 Pond View Drive                                              RS Legacy Corporation fka RadioShack
Oxford, CT 06478                          15453      5/21/2016 Corporation                                                     $50.00                                                                                           $50.00




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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Tareq aburus
8567 salem ln.                                                 RS Legacy Corporation fka RadioShack
Dearborn heights, Mi 48127                15454      5/21/2016 Corporation                                                     $45.00                                                                                           $45.00
Tareq ABURUS
8567 salam ln.                                                 RS Legacy Corporation fka RadioShack
Dearborn Heights, Mi 48127                15455      5/21/2016 Corporation                                                     $30.00                                                                                           $30.00
Cindy welch
10024 Mayfair rd                                               RS Legacy Corporation fka RadioShack
Jacksonville, Ar 72076                    15456      5/21/2016 Corporation                                                      $0.00                                                                                            $0.00
MARK PRATHER
302 E REDUBD DR                                                RS Legacy Corporation fka RadioShack
STILLWATER, OK 74075                      15457      5/21/2016 Corporation                                                    $815.00                                                                                          $815.00
Angela Yoder
4741 Smith Kramer St NE                                        RS Legacy Corporation fka RadioShack
Hartville, Ohio 44632                     15458      5/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Jack Penry
77739 Garden Circle Ct                                         RS Legacy Corporation fka RadioShack
Terre Haute, IN 47802                     15459      5/21/2016 Corporation                                                     $20.00                                                                                           $20.00
Matt Ziegler
3233 Deborah Lane                                              RS Legacy Corporation fka RadioShack
Cincinnati, oh 45239                      15460      5/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Cyd S Hays
10332 Paul Moinot Road                                         RS Legacy Corporation fka RadioShack
Gonzales, LA 70737                        15461      5/21/2016 Corporation                                                     $54.24                                                                                           $54.24
Tata fofana
4 manchester placer #103                                       RS Legacy Corporation fka RadioShack
Silver spring, Maryland 20901             15462      5/21/2016 Corporation                                                     $23.78                                                                                           $23.78
Dale Stackhouse
8244 Stones Ferry Road                                         RS Legacy Corporation fka RadioShack
Indianapolis, IN 46278                    15463      5/21/2016 Corporation                                                     $42.79                                                                                           $42.79
John E Bergquist
PO Box 507                                                     RS Legacy Corporation fka RadioShack
Aguada, PR 00602                          15464      5/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Curtis Clarke
234 W 1st S Apt 3                                              RS Legacy Corporation fka RadioShack
Rexburg, ID 83440                         15465      5/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Daniel K. Davis
42‐125 old kalanianaole RD                                     RS Legacy Corporation fka RadioShack
kailua, hawaii 96734                      15466      5/22/2016 Corporation                                                     $35.00                                                                                           $35.00
Vasily Derkachev
1575 W HORIZON RIDGE PKWY
# 0682                                                         RS Legacy Corporation fka RadioShack
HENDERSON, NV 89053                       15467      5/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Vasily Derkachev
1575 W HORIZON RIDGE PKWY
# 0682                                                         RS Legacy Corporation fka RadioShack
HENDERSON, NV 89053‐0682                  15468      5/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Felicia fantauzzi
2103 vyse Ave apt 3i                                           RS Legacy Corporation fka RadioShack
Bronx, Ny 10460                           15469      5/22/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Preston Munsch
5030 Snow Mesa Drive                                           RS Legacy Corporation fka RadioShack
Fort Collins, CO 80528                    15470      5/22/2016 Corporation                                                      $0.00                                                                                            $0.00
John Dustin
1135 East Secretariat Court                                    RS Legacy Corporation fka RadioShack
Bloomington, IN 47401                     15471      5/22/2016 Corporation                                                      $0.00                                                                                            $0.00
P Jossi
172 SW Terry Ter                                               RS Legacy Corporation fka RadioShack
Lake City, Fl 32024                       15472      5/22/2016 Corporation                                                     $32.08                                                                                           $32.08
Ryan Bond
110 contour rd                                                 RS Legacy Corporation fka RadioShack
Mount Airy, MD 21771                      15473      5/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Abhay Nirgudkar
115 Thoreau Drive                                              RS Legacy Corporation fka RadioShack
Plainsbo, NJ 08536                        15474      5/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Joseph Pilewski
14045 Marguerite Drive                                         RS Legacy Corporation fka RadioShack
Madeira Beach, Florida 33708              15475      5/22/2016 Corporation                                                     $16.04                                                                                           $16.04
Daniel Flores Montanez
19 Columbia St. Apt 2                                          RS Legacy Corporation fka RadioShack
Ayer, MA 01432                            15476      5/22/2016 Corporation                                                     $44.99                                                                                           $44.99
Celia Fisher
2288 south 2010 west                                           RS Legacy Corporation fka RadioShack
Woods Cross, Utah 84087                   15477      5/22/2016 Corporation                                                     $15.99                                                                                           $15.99
Lourdes Batallan
13880 SW 43rd Terrace                                          RS Legacy Corporation fka RadioShack
Miami, Florida 33175                      15478      5/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert Nannini
15568 Katherine Ct.                                            RS Legacy Corporation fka RadioShack
Clinton Twp., Mi 48038                    15479      5/22/2016 Corporation                                                     $14.80                                                                                           $14.80
devendra yadav
po box 54464                                                   RS Legacy Corporation fka RadioShack
pearl, ms 39288                           15480      5/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Salvatore Cataldo
34 Lawrence Lane                                               RS Legacy Corporation fka RadioShack
Bay Shore, NY 11706                       15481      5/22/2016 Corporation                                                      $0.00                                                                                            $0.00
jatinder kumar
240 nw 116 th lane                                             RS Legacy Corporation fka RadioShack
coral springs, fl 33071                   15482      5/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Jackie Belton
4330 Winding Creek Road                                        RS Legacy Corporation fka RadioShack
Manlius, NY 13104                         15483      5/22/2016 Corporation                                                     $97.19                                                                                           $97.19
Kristina Hadzhinikolova
210 Benzing rd                                                 RS Legacy Corporation fka RadioShack
Antioch, TN 37013                         15484      5/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Amy Gutmann
853 Nautilus Trail                                             RS Legacy Corporation fka RadioShack
Aurora, OH 44202                          15485      5/23/2016 Corporation                                                      $0.00                                                                                            $0.00
McGriff, Malcolm
107 William St                                                 RS Legacy Corporation fka RadioShack
Carteret, NJ 07008                        15486      5/23/2016 Corporation                                                     $12.38                                                                                           $12.38




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                                                                                                                  Current General                                            Current 503(b)(9)
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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Bednar, John
362 Ocean Ave                                                  RS Legacy Corporation fka RadioShack
Marblehead, MA 01945                      15487      5/23/2016 Corporation                                                     $45.75                                                                                           $45.75
Smith , Brian
353 Lido Blvd                                                  RS Legacy Corporation fka RadioShack
Lido Beach , NY 11561                     15488      5/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Hudak, Patricia A.
307 Burbank Avenue                                             RS Legacy Corporation fka RadioShack
Stratford, CT 06614                       15489      5/23/2016 Corporation                                                      $9.56                                                                                            $9.56
Perez, Felix E.
1535 Londonderry Pl                                            RS Legacy Corporation fka RadioShack
Fayetteville, NC 28301‐2889               15490      5/23/2016 Corporation                                                     $57.75                                                                                           $57.75
King, Debra
115 Faywood Ave                                                RS Legacy Corporation fka RadioShack
East Boston, MA 02128                     15491      5/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Buhrmaster, Michael D
104 Rice Rd                                                    RS Legacy Corporation fka RadioShack
Scherectady , NY 12306                    15492      5/23/2016 Corporation                                                     $36.16                                                                                           $36.16
The Van Bui
15341 Churchill St                                             RS Legacy Corporation fka RadioShack
San Leandro, CA 94579                     15493      5/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Buhrmaster, Michael D
104 Rice Rd                                                    RS Legacy Corporation fka RadioShack
Schenectady , NY 12306                    15494      5/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Buhrmaster, Michael D
104 Rice Rd                                                    RS Legacy Corporation fka RadioShack
Schenectady, NY 12306                     15495      5/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Buhrmaster, Michael D
104 Rice Rd                                                    RS Legacy Corporation fka RadioShack
Schenectady, NY 12306                     15496      5/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Quicker, Mary Gae
6823 So. Jasmine Ct                                            RS Legacy Corporation fka RadioShack
Centennial , CO 80112                     15497      5/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Faustini, Jason
4436‐ Calle Real                                               RS Legacy Corporation fka RadioShack
Santa Barbara, CA                         15498      5/23/2016 Corporation                                                     $45.16                                                                                           $45.16
Wilson, Angelos
2597 Copperfield Dr                                            RS Legacy Corporation fka RadioShack
Memphis, TN 38119                         15499      5/23/2016 Corporation                                                     $10.00                                                                                           $10.00
Lubrick, Thomas
7322 Maria Ave                                                 RS Legacy Corporation fka RadioShack
Louisville, KY 40222                      15500      5/23/2016 Corporation                                                     $25.00                                                                                           $25.00
daniel richards
263 beacon st                                                  RS Legacy Corporation fka RadioShack
andover, ma 01810                         15501      5/23/2016 Corporation                                                     $41.99                                                                                           $41.99
Richard Vanoni
1309 Trail View                                                RS Legacy Corporation fka RadioShack
Tarpon Spring, FL 34688                   15502      5/23/2016 Corporation                                                      $0.00                                                                                            $0.00
robert constans
701 forrest                                                    RS Legacy Corporation fka RadioShack
danville, il. 61832                       15503      5/23/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Robert Feferman
170 West End Avenue                                            RS Legacy Corporation fka RadioShack
New York, NY 10023                        15504      5/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert Feferman
170 West End Avenue                                            RS Legacy Corporation fka RadioShack
New York, NY 10023                        15505      5/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Varsha Mahtani
340 East 64th Street
7C                                                             RS Legacy Corporation fka RadioShack
New York, NY 10065                        15506      5/23/2016 Corporation                                                     $32.65                                                                                           $32.65
Roger Phillips
249 East 118 Street, Apt. 5C                                   RS Legacy Corporation fka RadioShack
New York, NY 10035                        15507      5/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Louis Formica
3 Geoffrey Dr                                                  RS Legacy Corporation fka RadioShack
Kinnelon, NJ 07405                        15508      5/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Bruce Pesola
595 Forestville Basin Tr                                       RS Legacy Corporation fka RadioShack
Marquette, MI 49855                       15509      5/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Danica Tuxbury
1646 E PINCHOT AVE                                             RS Legacy Corporation fka RadioShack
PHOENIX, AZ 85016                         15510      5/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Carlton Dodd
810 White Oak Dr #4                                            RS Legacy Corporation fka RadioShack
O'Fallon, IL 62269                        15511      5/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Kevin Boring
279 Ashbourne Drive                                            RS Legacy Corporation fka RadioShack
Noblesville, IN 46060                     15512      5/23/2016 Corporation                                                    $106.99                                                                                          $106.99
Alicia Breckenridge
PO Box 263                                                     RS Legacy Corporation fka RadioShack
Morgan Hill, CA 95038                     15513      5/23/2016 Corporation                                                     $25.00                                                                                           $25.00
Underwood, Jessa
PO Box 46051                                                   RS Legacy Corporation fka RadioShack
MADISON, WI 53744                         15514      5/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Lynch, Karen
41 Canterbury Rd.                                              RS Legacy Corporation fka RadioShack
Clifton Park, NY 12065                    15515      5/23/2016 Corporation                                                  $1,015.00                                                                                        $1,015.00
Parminder Bhangu
11410 US RTE 250 North                                         RS Legacy Corporation fka RadioShack
Milan, Ohio 44846                         15516      5/23/2016 Corporation                                                      $0.00                                                                                            $0.00
amos adams
649 wall st #8                                                 RS Legacy Corporation fka RadioShack
los angeles, ca 90014                     15517      5/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Daniel J Carroll
3011 78th Ave SE Apt #315                                      RS Legacy Corporation fka RadioShack
Mercer Island, WA 98040                   15518      5/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Edward Henry
117 N Silver Shoals                                            RS Legacy Corporation fka RadioShack
Shell Beach, CA 93449                     15519      5/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert Lamberti
7504 Castle Dr.                                                RS Legacy Corporation fka RadioShack
Sarasota, FL. 34240‐9516                  15520      5/24/2016 Corporation                                                     $25.00                                                                                           $25.00



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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
William Schwartz
3105 SAND PINE RD                                              RS Legacy Corporation fka RadioShack
Virginia Beach, VA 23451                  15521      5/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert Ainbinder
1125 Timbal Ct Apt B                                           RS Legacy Corporation fka RadioShack
Asheboro, NC 27205                        15522      5/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Lisa Freeman
65 Mayweed Road                                                RS Legacy Corporation fka RadioShack
Fairfield, CT 06824                       15523      5/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Paul Tazar
335300 Woodward Ave #309                                       RS Legacy Corporation fka RadioShack
Birmingham, MI 48009                      15524      5/24/2016 Corporation                                                     $15.37                                                                                           $15.37
Linda Rossi
8518 Macoma Drive NE                                           RS Legacy Corporation fka RadioShack
Saint Petersburg, FL 33702                15525      5/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Sarah Pettit
3807 pasadena ave suite 240                                    RS Legacy Corporation fka RadioShack
sac, ca 95821                             15526      5/24/2016 Corporation                                                    $100.02                                                                                          $100.02
ANTHONY DELL
34 BOWERS AVE.                                                 RS Legacy Corporation fka RadioShack
RUNNEMEDE, NJ 08078                       15527      5/24/2016 Corporation                                                      $0.00                                                                                            $0.00
james efaw
3476 hwy 11 s                                                  RS Legacy Corporation fka RadioShack
Riceville, TN 37370                       15528      5/24/2016 Corporation                                                      $0.00                                                                                            $0.00
james efaw
3476 hwy 11 s                                                  RS Legacy Corporation fka RadioShack
riceville, tn 37370                       15529      5/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Matt Vocino
5100 23 Mile Rd.                                               RS Legacy Corporation fka RadioShack
Shelby Twp., MI 48316                     15530      5/24/2016 Corporation                                                     $34.00                                                                                           $34.00
Jennifer B McCartney
402 Strand Street                                              RS Legacy Corporation fka RadioShack
Frederiksted, VI 00840                    15531      5/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Trey Wyles
3704 Kentmere Ct                                               RS Legacy Corporation fka RadioShack
Flower Mound, TX 75022                    15532      5/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Ti Haynes
13609 217th Ave SE                                             RS Legacy Corporation fka RadioShack
Issaquah, WA 98027                        15533      5/24/2016 Corporation                                                     $27.37                                                                                           $27.37
Muhammad A Raja
805 Boston Drive                                               RS Legacy Corporation fka RadioShack
Southlake, TX 76092                       15534      5/24/2016 Corporation                                                    $100.00                                                                                          $100.00
Amanda Rhines
809 Eugenia Drive                                              RS Legacy Corporation fka RadioShack
Medford, NJ 08055                         15535      5/24/2016 Corporation                                                      $8.55                                                                                            $8.55
Lisa Omalley
22101 Grand Corner Dr Apt 4302                                 RS Legacy Corporation fka RadioShack
Katy, TX 77450                            15536      5/24/2016 Corporation                                                     $48.19                                                                                           $48.19
JONATHAN GREENSPAN
2692 FORD STREET                                               RS Legacy Corporation fka RadioShack
BROOKLYN, NY 11235                        15537      5/24/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address         Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                           Amount                                                     Amount
JONATHAN GREENSPAN
2692 FORD STREET                                                    RS Legacy Corporation fka RadioShack
BROOKLYN, NY 11235                             15538      5/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Meghan Naim
218 Salem Rd                                                        RS Legacy Corporation fka RadioShack
Billerica, MA 01821                            15539      5/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Matthew Vejar
P.O. Box 779                                                        RS Legacy Corporation fka RadioShack
Tulare, CA 93275                               15540      5/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Eric Magers
7 Marchant Street                                                   RS Legacy Corporation fka RadioShack
Gloucester, MA 01930                           15541      5/24/2016 Corporation                                                     $35.05                                                                                           $35.05
Elsesy, Enayat
66 8th Street                                                       RS Legacy Corporation fka RadioShack
Ridgefield Park, NJ 07660                      15542      5/24/2016 Corporation                                                     $12.83                                                                                           $12.83
Galbornetti, Christina
1223 Holmes Ct.                                                     RS Legacy Corporation fka RadioShack
Neptune City, NJ 07753                         15543      5/24/2016 Corporation                                                     $10.85                                                                                           $10.85
Greg Evensen
5917 Dupont Ave. S.                                                 RS Legacy Corporation fka RadioShack
Minneapolis, MN 55419                          15544      5/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Emil Justo
31 Autumn Ridge Road                                                RS Legacy Corporation fka RadioShack
Trumbull, ct 06611                             15545      5/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Jean‐Claude Oligario
7 Whisperwood Drive                                                 RS Legacy Corporation fka RadioShack
Victor, NY 14564                               15546      5/25/2016 Corporation                                                     $50.00                                                                                           $50.00
Lisa Horton
PO Box 198                                                          RS Legacy Corporation fka RadioShack
Booker, TX 79005                               15547      5/25/2016 Corporation                                                      $0.00                                                                                            $0.00
chantae miranda
7518 Keith Lane                                                     RS Legacy Corporation fka RadioShack
Sachse, tx 75048                               15548      5/25/2016 Corporation                                                     $20.00                                                                                           $20.00
JOHN MEDINA
PO BOX 1712
AGOURA HILLS, CA 91376, 5805 OAK BEND #409,                         RS Legacy Corporation fka RadioShack
OAK PARK, CA 91377 NONE                        15549      5/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Richard S Webster
PO BOX 339                                                          RS Legacy Corporation fka RadioShack
Lake Jackson, TX 77566                         15550      5/25/2016 Corporation                                                      $0.00                                                                                            $0.00
ALAYNA TORRANCE
2005 BARRON LN                                                      RS Legacy Corporation fka RadioShack
FORT WORTH, TX 76112‐5301                      15551      5/25/2016 Corporation                                                     $10.00                                                                                           $10.00
Loy Proffitt
567 Moscow Street #6                                                RS Legacy Corporation fka RadioShack
San Francisco, Ca 94112                        15552      5/25/2016 Corporation                                                     $39.88                                                                                           $39.88
Shogik Akopyan
1486 North Lake Avenue                                              RS Legacy Corporation fka RadioShack
Pasadena, 91104 0                              15553      5/25/2016 Corporation                                                     $54.49                                                                                           $54.49
Irene Valdez
5006 Quail Ridge                                                    RS Legacy Corporation fka RadioShack
McKinney, Texas 75070                          15554      5/25/2016 Corporation                                                     $16.23                                                                                           $16.23



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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
PATRICIA BURNS
1420 campbell street, 126                                      RS Legacy Corporation fka RadioShack
rahway, nj 07065                          15555      5/25/2016 Corporation                                                     $50.00                                                                                           $50.00
Darlyne Doo
2232 Anianiku St                                               RS Legacy Corporation fka RadioShack
Honolulu, Hawaii 96813                    15556      5/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert Anderson
94‐1030 alau street                                            RS Legacy Corporation fka RadioShack
Waipahu, Hi 96797                         15557      5/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Elizabeth Straub
3721 31st Street #601                                          RS Legacy Corporation fka RadioShack
long island city, ny 11101                15558      5/26/2016 Corporation                                                      $0.00                                                                                            $0.00
JAIME COLLIN
420 east 80th st apt 6a                                        RS Legacy Corporation fka RadioShack
new york, NY 10075                        15559      5/26/2016 Corporation                                                    $100.00                                                                                          $100.00
Maria Barron
3829 Lynwood Street                                            RS Legacy Corporation fka RadioShack
El Paso, TX 79936                         15560      5/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Therese Stachulski
4 Beach Road                                                   RS Legacy Corporation fka RadioShack
Sandown, NH 03873                         15561      5/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Kristina Kregling
114 Lydale Pl                                                  RS Legacy Corporation fka RadioShack
Meriden, CT 06450                         15562      5/26/2016 Corporation                                                      $0.00                                                                                            $0.00
rebecca frazee
4845 W Alder Dr                                                RS Legacy Corporation fka RadioShack
San Diego, ca 92116                       15563      5/26/2016 Corporation                                                     $26.99                                                                                           $26.99
Alex Carver
5309 Margurerite rd                                            RS Legacy Corporation fka RadioShack
Knoxville, Ten 37912                      15564      5/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Kenneth Mitchell
5376 McCandlish Road                                           RS Legacy Corporation fka RadioShack
Grand Blanc, mi 48439                     15565      5/26/2016 Corporation                                                     $63.54                                                                                           $63.54
alma herrera
11299 Enid WIlson LN                                           RS Legacy Corporation fka RadioShack
EL Paso, Texas 79936                      15566      5/26/2016 Corporation                                                     $40.00                                                                                           $40.00
CHIRRON MCNAIR
1327 S. TREMAINE AVE                                           RS Legacy Corporation fka RadioShack
LOS ANGELES, CA 90019                     15567      5/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Aimee Santos
128 Alexander Dr                                               RS Legacy Corporation fka RadioShack
Barnegat, Nj 08005                        15568      5/26/2016 Corporation                                                    $181.88                                                                                          $181.88
Destiny Spencer
14583 US Highway 23                                            RS Legacy Corporation fka RadioShack
Waverly, Oh 45690                         15569      5/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael Yenchko
5272 east dolphin st                                           RS Legacy Corporation fka RadioShack
north charleston, sc 29405                15570      5/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Seth Perkins
3463 Taylor Road                                               RS Legacy Corporation fka RadioShack
Carmel, CA 93923                          15571      5/26/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Mattie Kellum
9704 s union ave                                               RS Legacy Corporation fka RadioShack
chicago, il 60628                         15572      5/26/2016 Corporation                                                      $0.00                                                                                            $0.00
MARK ZALEWSKI
1437 Sanborn Ave                                               RS Legacy Corporation fka RadioShack
Los Angeles, CA 90027                     15573      5/26/2016 Corporation                                                     $50.00                                                                                           $50.00
Stephen Bramble
1314 Hammock Way                                               RS Legacy Corporation fka RadioShack
Lancaster, PA 17601                       15574      5/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Marcy Byers
250 E Patriot St                                               RS Legacy Corporation fka RadioShack
Somerset, PA 15501                        15575      5/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Monica Wright
124 april lane                                                 RS Legacy Corporation fka RadioShack
Lititz, Pa 27543                          15576      5/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Jesse Posada
2712 W Beech St                                                RS Legacy Corporation fka RadioShack
Visalia, CA 93277                         15577      5/27/2016 Corporation                                                     $14.54                                                                                           $14.54
Kaye Van Valkenburg
2609 SW 64th Place                                             RS Legacy Corporation fka RadioShack
Portland, OR 97225                        15578      5/27/2016 Corporation                                                     $39.99                                                                                           $39.99
Lauren Hertel
4830 NW 43rd Street, Apt 245                                   RS Legacy Corporation fka RadioShack
Gainesville, FL 32606                     15579      5/27/2016 Corporation                                                     $30.44                                                                                           $30.44
Carlos Lastra
13312 Drews Lane                                               RS Legacy Corporation fka RadioShack
Potomac, maryland 20854                   15580      5/27/2016 Corporation                                                     $10.51                                                                                           $10.51
Sue Kozloski
3034 Northview Road                                            RS Legacy Corporation fka RadioShack
Wayzata, MN 55391                         15581      5/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Cheryl Maghini
65 Cawley Street                                               RS Legacy Corporation fka RadioShack
Bristol, CT 06010                         15582      5/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Cheryl Maghini
65 Cawley street                                               RS Legacy Corporation fka RadioShack
bristol, ct 06010                         15583      5/27/2016 Corporation                                                     $16.82                                                                                           $16.82
Karen La
2633 Ponce Avenue                                              RS Legacy Corporation fka RadioShack
Belmont, CA 94002                         15584      5/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Eduardo Matos
4855 Magnolia Cove Dr. Apt. 163                                RS Legacy Corporation fka RadioShack
Kingwood, TX 77345                        15585      5/27/2016 Corporation                                                    $200.00                                                                                          $200.00
Partipilo, Diane
375 W Winchester Rd (#310)                                     RS Legacy Corporation fka RadioShack
Libertyville, IL 60048                    15586      5/19/2016 Corporation                                                     $53.49                                                                                           $53.49
Pitman, Sandy
313 Gifford Hill Rd                                            RS Legacy Corporation fka RadioShack
Minden, LA 71055                          15587      5/19/2016 Corporation                                                                                                                                                       $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Malek, Louis
# 114043 USP
PO Box 250
14425 S. Bitterbrush Ln.                                       RS Legacy Corporation fka RadioShack
Draper, UT 84020‐0250                     15588      5/18/2016 Corporation                                                      $0.00              $0.00                                                                         $0.00
Gambino, Jerry
25 Aspen Lane                                                  RS Legacy Corporation fka RadioShack
Manahawkin, NJ 08050                      15589      5/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Singhal, Vivek K.
202 Midwest Club Pkwy.                                         RS Legacy Corporation fka RadioShack
Oak Brook, IL 60523                       15590      5/15/2016 Corporation                                                                      $169.99                                                                        $169.99
Connor Rohan
85 Hasgate Dr.                                                 RS Legacy Corporation fka RadioShack
Delmar, NY 12054                          15591      5/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Linton E. McCracken
503 Winding Hollow Ave.                                        RS Legacy Corporation fka RadioShack
Ocoee, FL 34761                           15592      5/27/2016 Corporation                                                     $25.00                                                                                           $25.00
Lance Donnelly
285 Liberty St. NE Suite 120                                   RS Legacy Corporation fka RadioShack
Salem, Oregon 97301                       15593      5/27/2016 Corporation                                                     $49.99                                                                                           $49.99
Brad Burson
17958 tulip rd                                                 RS Legacy Corporation fka RadioShack
Madera, Ca 93638                          15594      5/27/2016 Corporation                                                     $16.15                                                                                           $16.15
DAVID ZEMAN
14316 SMOKEY POINT DRIVE                                       RS Legacy Corporation fka RadioShack
EL PASO, TEXAS 79938                      15595      5/28/2016 Corporation                                                    $206.69                                                                                          $206.69
Melvin Hartsook
26604 Dover Ct                                                 RS Legacy Corporation fka RadioShack
Kent, WA 98032‐7122                       15596      5/28/2016 Corporation                                                     $54.39                                                                                           $54.39
Bijan Rizi
320 E. 27th St                                                 RS Legacy Corporation fka RadioShack
Long Beach, CA 90806                      15597      5/28/2016 Corporation                                                      $0.00                                                                                            $0.00
James Powell
815 NW 43rd Ave                                                RS Legacy Corporation fka RadioShack
Camas, WA 98607                           15598      5/28/2016 Corporation                                                     $31.39                                                                                           $31.39
David Youk
6113 Colchester Road                                           RS Legacy Corporation fka RadioShack
Fairfax, VA 22030                         15599      5/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Nicole Champagne
2815 Grove Street                                              RS Legacy Corporation fka RadioShack
Bellingham, WA 98225                      15600      5/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Nicole Champagne
2815 Grove Street                                              RS Legacy Corporation fka RadioShack
Bellingham, WA 98225                      15601      5/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Tia M Beverly
2025 N. Pulaski Street                                         RS Legacy Corporation fka RadioShack
Baltimore, MD 21217                       15602      5/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Kelly Dorsey
3654 Cameron Crossing Drive                                    RS Legacy Corporation fka RadioShack
Jacksonville, FL 32223                    15603      5/28/2016 Corporation                                                     $60.00                                                                                           $60.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Shari Schubot
389 Via El Cuadro                                              RS Legacy Corporation fka RadioShack
Santa Barbara, CA 93111                   15604      5/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Rich Fletcher
195 N Maple Hill Rd                                            RS Legacy Corporation fka RadioShack
Kelso, WA 98626                           15605      5/28/2016 Corporation                                                     $25.00                                                                                           $25.00
Paul gerstenberger
Pro box 120162                                                 RS Legacy Corporation fka RadioShack
Ft lauderdale, Fl 33312                   15606      5/28/2016 Corporation                                                     $21.37                                                                                           $21.37
Diego Vega
24902 SE 20th CT                                               RS Legacy Corporation fka RadioShack
Sammamish, WA 98075                       15607      5/29/2016 Corporation                                                      $0.00                                                                                            $0.00
james schafer
908 so state                                                   RS Legacy Corporation fka RadioShack
springfield, il 62704                     15608      5/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Daniel Ramos
1532 Ranchero Dr.                                              RS Legacy Corporation fka RadioShack
Oceanside, CA 92057                       15609      5/29/2016 Corporation                                                     $50.00                                                                                           $50.00
Doug Langston
2022 Van Buren DR. NE                                          RS Legacy Corporation fka RadioShack
Huntsville, Al 35801                      15610      5/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Maya Srinivasan
27 Dolman Dr                                                   RS Legacy Corporation fka RadioShack
Rochester, NY 14624                       15611      5/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael Dodd
4914 Coleman Road                                              RS Legacy Corporation fka RadioShack
Olive Branch, MS 38654                    15612      5/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Marlee Wilson (Taylor)
2792 Buggy Trail                                               RS Legacy Corporation fka RadioShack
Blackshear, Ga 31516                      15613      5/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Paolo Maccarini
3217 Oxford Dr.                                                RS Legacy Corporation fka RadioShack
Durham, NC 27707                          15614      5/30/2016 Corporation                                                     $56.40                                                                                           $56.40
John Grizzard
7911 Manata St                                                 RS Legacy Corporation fka RadioShack
Jacksonville, 32217 n/a                   15615      5/30/2016 Corporation                                                      $0.00                                                                                            $0.00
kristi wisbach
4442 Vereda Luna Llena                                         RS Legacy Corporation fka RadioShack
San Diego, CA 92130                       15616      5/30/2016 Corporation                                                     $17.59                                                                                           $17.59
Donald F O'Brien
42 Peninsula Drive                                             RS Legacy Corporation fka RadioShack
Babyon, NY 11702                          15617      5/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Hong Yin
159 PALISADE LANE                                              RS Legacy Corporation fka RadioShack
SHREVEPORT, LA 71115                      15618      5/30/2016 Corporation                                                     $25.00                                                                                           $25.00
Ned Smith
2693 Huntfield Drive                                           RS Legacy Corporation fka RadioShack
York, PA 17040                            15619      5/30/2016 Corporation                                                     $20.47                                                                                           $20.47
Emily Cech
22 Falcon Trail                                                RS Legacy Corporation fka RadioShack
Pittsford, NY 14534                       15620      5/30/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Jason Bravman
118 East 60th Street; Apt 5A                                   RS Legacy Corporation fka RadioShack
New York, NY 10022                        15621      5/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Erin Bergstrom
208‐A Spring Lane                                              RS Legacy Corporation fka RadioShack
Chapel Hill, NC 27514                     15622      5/30/2016 Corporation                                                     $37.04                                                                                           $37.04
Austin DeHoet
1920 M St. SE                                                  RS Legacy Corporation fka RadioShack
Auburn, WA 98002                          15623      5/30/2016 Corporation                                                      $0.00                                                                                            $0.00
dana mayoral
25818 wildflower dr                                            RS Legacy Corporation fka RadioShack
magnolia, tx 77354                        15624      5/30/2016 Corporation                                                      $0.00                                                                                            $0.00
James Song
6111 Rockwell Ct.                                              RS Legacy Corporation fka RadioShack
Burke, VA 22015                           15625      5/30/2016 Corporation                                                      $0.00                                                                                            $0.00
angela delmonte
190 chickering road unit 214                                   RS Legacy Corporation fka RadioShack
north andover, ma 01845                   15626      5/30/2016 Corporation                                                     $20.50                                                                                           $20.50
Sabu Azeez
2612 Mirasol Loop                                              RS Legacy Corporation fka RadioShack
Round Rock, TX 78681                      15627      5/30/2016 Corporation                                                     $30.00                                                                                           $30.00
Kamini Sabir
15757 Howell Circle                                            RS Legacy Corporation fka RadioShack
Bennington, Ne 68007                      15628      5/30/2016 Corporation                                                      $0.00                                                                                            $0.00
tracy kelly
10921 Baylor road                                              RS Legacy Corporation fka RadioShack
Meridian, MS 39305                        15629      5/30/2016 Corporation                                                      $0.00                                                                                            $0.00
tracy kelly
10921 Baylor road                                              RS Legacy Corporation fka RadioShack
Meridian, MS 39305                        15630      5/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Diane White
2978 N. Juniper Dr.                                            RS Legacy Corporation fka RadioShack
Midland, MI 48642                         15631      5/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Laura kiser
700 state route 4013                                           RS Legacy Corporation fka RadioShack
Cowansville, Pa 16218                     15632      5/31/2016 Corporation                                                     $25.00                                                                                           $25.00
Dorothy Wildeboer
118 Terra Firma Lane                                           RS Legacy Corporation fka RadioShack
Volo, IL 60020                            15633      5/31/2016 Corporation                                                     $21.49                                                                                           $21.49
Barry Isroff
3203 Greyfox Dr.                                               RS Legacy Corporation fka RadioShack
Valparaiso, IN 46383                      15634      5/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Kathleen Zanello
14 Ridgewood Drive                                             RS Legacy Corporation fka RadioShack
East Sandwich, MA 02537                   15635      5/31/2016 Corporation                                                     $21.24                                                                                           $21.24
Laura kiser
700 state route 4013                                           RS Legacy Corporation fka RadioShack
Cowansville, Pa 16218                     15636      5/31/2016 Corporation                                                     $25.00                                                                                           $25.00
Kathleen Zanello
14 Ridgewood Drive                                             RS Legacy Corporation fka RadioShack
East Sandwich, MA 02537                   15637      5/31/2016 Corporation                                                     $21.24                                                                                           $21.24




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Nicole Whelan
1126 Clinton Ave                                               RS Legacy Corporation fka RadioShack
Oak Park, IL 60304                        15638      5/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Patriece Hampton
712 Sewell Drive                                               RS Legacy Corporation fka RadioShack
Lancaster, Texas 75146                    15639      5/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Marlene page
1004 Montgomery st apt f8                                      RS Legacy Corporation fka RadioShack
Brooklyn, Ny 11213                        15640      5/31/2016 Corporation                                                     $30.41                                                                                           $30.41
Marlene page
1004 Montgomery st apt f8                                      RS Legacy Corporation fka RadioShack
Brooklyn, Ny 11213                        15641      5/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Marlene page
1004 Montgomery st apt f8                                      RS Legacy Corporation fka RadioShack
Brooklyn, Ny 11213                        15642      5/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert Hessler
129 Grandview Lane                                             RS Legacy Corporation fka RadioShack
Smithtown, New York 11787                 15643      5/31/2016 Corporation                                                     $25.00                                                                                           $25.00
KEVIN A SHEPARD
1616 Cohasset Dr                                               RS Legacy Corporation fka RadioShack
Cincinnati OH 45255, Ohio 45255           15644      5/31/2016 Corporation                                                      $6.18                                                                                            $6.18
Trevor Azevedo
2034 Colby Ave                                                 RS Legacy Corporation fka RadioShack
Los Angeles, CA 90025                     15645      5/31/2016 Corporation                                                     $21.79                                                                                           $21.79
Shelton Basham
2640 E. Paladin Ave                                            RS Legacy Corporation fka RadioShack
Anaheim, CA 92806                         15646      5/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Enrique Jerez
6565 W 2ND CT APT 207B                                         RS Legacy Corporation fka RadioShack
HIALEAH, FL 33012                         15647      5/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Joan Miller
514 Stenning Drive                                             RS Legacy Corporation fka RadioShack
Hockessin, DE 19707                       15648      5/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Rich Larson
7520 Fremont Ave S                                             RS Legacy Corporation fka RadioShack
Richfield, MN 55423                       15649      5/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Glenn Dumas
165 Arlington Ave                                              RS Legacy Corporation fka RadioShack
Providence, RI 02906                      15650      5/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Glenn Dumas
165 Arlington Ave                                              RS Legacy Corporation fka RadioShack
Providence, RI 02906                      15651      5/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Harrell Hoffman
3509 Greenway St                                               RS Legacy Corporation fka RadioShack
Austin, TX 78705                          15652      5/31/2016 Corporation                                                      $0.00                                                                                            $0.00
David Carmona
59 Sunrise Avenue                                             RS Legacy Corporation fka RadioShack
Mill Valley, CA 94941                     15653      6/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Alexander Piasecki
737 Laurel Lane                                               RS Legacy Corporation fka RadioShack
Wayne, PA 19087                           15654      6/1/2016 Corporation                                                      $50.00                                                                                           $50.00




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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Dawn Meadows
2570B Church Lane                                             RS Legacy Corporation fka RadioShack
Kintnersville, PA 18930                   15655      6/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Bridget Stice
PO Box 901                                                    RS Legacy Corporation fka RadioShack
Highland City, FL 33846                   15656      6/1/2016 Corporation                                                     $96.29                                                                                           $96.29
Deborah Jansen
6 Leewater ave                                                RS Legacy Corporation fka RadioShack
Massapequa, ny 11758                      15657      6/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Valerie Moussignac
42 Lakeview Avenue                                            RS Legacy Corporation fka RadioShack
New Canaan, CT 06840                      15658      6/1/2016 Corporation                                                      $0.00                                                                                            $0.00
J.P. Luke
1438 Carrington Lane                                          RS Legacy Corporation fka RadioShack
Vienna, va 22182                          15659      6/1/2016 Corporation                                                      $0.00                                                                                            $0.00
J.P. Luke
1438 Carrington Lane                                          RS Legacy Corporation fka RadioShack
Vienna, VA 22182                          15660      6/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Ester Shimon
75‐25 153rd Street apparment # 102                            RS Legacy Corporation fka RadioShack
Flushing, NY 11367                        15661      6/1/2016 Corporation                                                     $68.80                                                                                           $68.80
Rob Dickerman
1440 8th Ave                                                  RS Legacy Corporation fka RadioShack
Marion, IA 52302                          15662      6/1/2016 Corporation                                                     $18.17                                                                                           $18.17
Dennis Ermel
11335 Mariposa Way                                            RS Legacy Corporation fka RadioShack
Sandy, UT 84094                           15663      6/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Dennis Ermel
11335 Mariposa Way                                            RS Legacy Corporation fka RadioShack
Sandy, UT 84094                           15664      6/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Dennis Ermel
11335 Mariposa Way                                            RS Legacy Corporation fka RadioShack
Sandy, UT 84094                           15665      6/1/2016 Corporation                                                      $0.00                                                                                            $0.00
christopher hudzik
23 Primrose Path                                              RS Legacy Corporation fka RadioShack
Hatfield, MA 01038                        15666      6/1/2016 Corporation                                                      $0.00                                                                                            $0.00
LaReine‐Marie Mosely
7202 Rockland Hills Dr., #209                                 RS Legacy Corporation fka RadioShack
Baltimore, Maryland 21209                 15667      6/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Tracie marino
6 Beechwood Terrace                                           RS Legacy Corporation fka RadioShack
Kinnelon, nj 07405                        15668      6/1/2016 Corporation                                                     $42.77                                                                                           $42.77
Jill Bates
812 Loridans Drive                                            RS Legacy Corporation fka RadioShack
Atlanta, Georgia 30342                    15669      6/1/2016 Corporation                                                     $20.00                                                                                           $20.00
Greg Meinershagen
17657 Highway EE                                              RS Legacy Corporation fka RadioShack
Sedalia, MO 65301                         15670      6/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Brandon Beharry
2171 Bragg St. Apt. 6E                                        RS Legacy Corporation fka RadioShack
Brooklyn, Ny 11229                        15671      6/1/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Brandon Beharry
2171 Bragg St. Apt 6E                                         RS Legacy Corporation fka RadioShack
Brooklyn, NY 11229                        15672      6/1/2016 Corporation                                                     $65.00                                                                                           $65.00
Robert Fenoglio
34 Bassett St                                                 RS Legacy Corporation fka RadioShack
FORT BRAGG, NC 28307                      15673      6/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael Lindbeck
255 Bretano Way                                               RS Legacy Corporation fka RadioShack
Greenbrae, CA 94904                       15674      6/1/2016 Corporation                                                     $76.43                                                                                           $76.43
Michael Depperman
PO Box 33196                                                  RS Legacy Corporation fka RadioShack
Palm Beach Gardens, FL 33420              15675      6/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Patricia A. Wyatt
1010 E. Bobier Drive, #211                                    RS Legacy Corporation fka RadioShack
Vista, CA 92084                           15676      6/1/2016 Corporation                                                    $107.99                                                                                          $107.99
Geoff LaForge
60A Rivervale Ct                                              RS Legacy Corporation fka RadioShack
Scotch Plains, NJ 07076                   15677      6/1/2016 Corporation                                                     $50.00                                                                                           $50.00
Jo Ann Fitzpatrick
444 West Ocean Blvd., #1750                                   RS Legacy Corporation fka RadioShack
Long Beach, CA 90802                      15678      6/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Natalie Buketov
368 Magnolua Dr.                                              RS Legacy Corporation fka RadioShack
Laguna Beach, California 92651            15679      6/1/2016 Corporation                                                     $45.00                                                                                           $45.00
Mark Irving
3801 high point court                                         RS Legacy Corporation fka RadioShack
norman, ok 73072                          15680      6/1/2016 Corporation                                                     $10.00                                                                                           $10.00
Shannon Whiley
1861 Poggi St. Apt 306B                                       RS Legacy Corporation fka RadioShack
Alameda, CA 94501                         15681      6/1/2016 Corporation                                                     $16.45                                                                                           $16.45
Sudhir Allada
4515 Headwood drive apt 6                                     RS Legacy Corporation fka RadioShack
Kansas City, MO 64111                     15682      6/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Joni Hannabass
3204 E Raintree Ave                                           RS Legacy Corporation fka RadioShack
Stillwater, OK 74074                      15683      6/2/2016 Corporation                                                     $10.00                                                                                           $10.00
Steven Hoyt
2114 Old York Drive                                           RS Legacy Corporation fka RadioShack
Keller, TX 76248                          15684      6/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Kim McPhilomy
434 Anna Marie Dr                                             RS Legacy Corporation fka RadioShack
Cranberry Twp, PA 16066                   15685      6/2/2016 Corporation                                                      $0.00                                                                                            $0.00
susan hobson
19 Lafayette street                                           RS Legacy Corporation fka RadioShack
new rochelle, ny 10805                    15686      6/2/2016 Corporation                                                      $0.00                                                                                            $0.00
David P Boettcher
589 11th Ave                                                  RS Legacy Corporation fka RadioShack
Union Grove, WI 53182‐1242                15687      6/2/2016 Corporation                                                     $15.75                                                                                           $15.75
Lorena Munoz
2374 Cove Court                                               RS Legacy Corporation fka RadioShack
Elgin, IL 60123                           15688      6/2/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Dolores Beblo
7508 Indian Hills Dr.                                         RS Legacy Corporation fka RadioShack
Derwwod, Maryland 20855                   15689      6/2/2016 Corporation                                                     $10.47                                                                                           $10.47
Karl Szczypta
23W431 Moraine Ct                                             RS Legacy Corporation fka RadioShack
Naperville, IL 60540                      15690      6/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Heather MacKinnon
133 Erie Rd                                                   RS Legacy Corporation fka RadioShack
Columbus, OH 43214                        15691      6/2/2016 Corporation                                                     $15.00                                                                                           $15.00
Aimee Santos
128 Alexander Dr                                              RS Legacy Corporation fka RadioShack
Barnegat, Nj 08005                        15692      6/2/2016 Corporation                                                    $181.88                                                                                          $181.88
David Runnion
P. O. Box 1262                                                RS Legacy Corporation fka RadioShack
Simpsonville, SC 29681                    15693      6/2/2016 Corporation                                                      $0.00                                                                                            $0.00
EFRAIN RODRIGUEZ JR
555 SOUTH CIRCLE DRIVE WEST                                   RS Legacy Corporation fka RadioShack
WARSAW, IN 46580                          15694      6/2/2016 Corporation                                                      $0.00                                                                                            $0.00
LIZ CERVONI
920 Pelhamdale Avenue, Apt C2B                                RS Legacy Corporation fka RadioShack
Pelham, NY 10803                          15695      6/3/2016 Corporation                                                     $46.96                                                                                           $46.96
Nick Catrow
1104 Lacy                                                     RS Legacy Corporation fka RadioShack
Thayer, MO 65791                          15696      6/3/2016 Corporation                                                     $50.00                                                                                           $50.00
Scott Davis
1946 Overland Avenue, #302                                    RS Legacy Corporation fka RadioShack
Los Angeles, CA 90025                     15697      6/3/2016 Corporation                                                     $43.49                                                                                           $43.49
Peter Vu
13830 Ashington Court                                         RS Legacy Corporation fka RadioShack
Centreville, VA 20120                     15698      6/3/2016 Corporation                                                      $0.00                                                                                            $0.00
John Petrizzi
29‐17 171 Street                                              RS Legacy Corporation fka RadioShack
Flishing, NY 11358                        15699      6/3/2016 Corporation                                                      $0.00                                                                                            $0.00
John Petrizzi
29‐17 171 Street                                              RS Legacy Corporation fka RadioShack
Flushing, NY 11358                        15700      6/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael DeCaro
2122 Weat Butler Dr unit 256                                  RS Legacy Corporation fka RadioShack
Phoenix, AZ 85021                         15701      6/3/2016 Corporation                                                      $0.00                                                                                            $0.00
mitch hartman
46 Pacio court                                                RS Legacy Corporation fka RadioShack
roseland, nj 07068                        15702      6/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Melissa Bertik
4058 Portola Dr                                               RS Legacy Corporation fka RadioShack
Palmdale, CA 93551                        15703      6/3/2016 Corporation                                                     $32.59                                                                                           $32.59
Robert Bahr
16001 N 99th Drive                                            RS Legacy Corporation fka RadioShack
Sun City, AZ 85351                        15704      6/3/2016 Corporation                                                     $18.07                                                                                           $18.07
Linda Knox
5807 NW Glenn Avenue                                          RS Legacy Corporation fka RadioShack
Lawton, OK 73505                          15705      6/4/2016 Corporation                                                     $32.65                                                                                           $32.65




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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
John Carcano
906 NE Sandalwood Pl                                          RS Legacy Corporation fka RadioShack
Jensen Beach, Florida 34957               15706      6/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert Levine
4516 Palmer Ct                                                RS Legacy Corporation fka RadioShack
Longmont, CO 80503                        15707      6/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Michelle Dupars
3932 Greensburg Pike                                          RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15221                      15708      6/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Richard Clarke
1811 Diamond Vase Ct                                          RS Legacy Corporation fka RadioShack
Richmond, Texas 77469                     15709      6/4/2016 Corporation                                                     $37.88                                                                                           $37.88
Paula Griffith
108 Glen ct.                                                  RS Legacy Corporation fka RadioShack
Georgetown, Ky 40324                      15710      6/4/2016 Corporation                                                     $19.07                                                                                           $19.07
Anees sarabi
866 hilldale ave                                              RS Legacy Corporation fka RadioShack
Haverhill, Ma 01832                       15711      6/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Eric Gould
520 1/2 Dahlia Avenue                                         RS Legacy Corporation fka RadioShack
Corona del Mar, CA 92626                  15712      6/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Lisa mason
5637 Ogden                                                    RS Legacy Corporation fka RadioShack
Detroit, Michigan 48210                   15713      6/4/2016 Corporation                                                    $100.00                                                                                          $100.00
Madison krodel
409 18th Ave n                                                RS Legacy Corporation fka RadioShack
South saint paul, MN 55075                15714      6/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Edward E Porter III
1201 Lincoln Mall Apt 205                                     RS Legacy Corporation fka RadioShack
Lincoln, NE 68508                         15715      6/4/2016 Corporation                                                     $53.49                                                                                           $53.49
Edward E Porter III
1201 Lincoln Mall Apt 205                                     RS Legacy Corporation fka RadioShack
Lincoln, NE 68508                         15716      6/4/2016 Corporation                                                     $10.73                                                                                           $10.73
Christine Hanohano
45‐559 Pilipaa Street                                         RS Legacy Corporation fka RadioShack
Kaneohe, Hi 96744                         15717      6/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Charlesworth Roach
6700 Northgate Pkwy Clinton                                   RS Legacy Corporation fka RadioShack
Clinton, MD 20735                         15718      6/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Aquarius Hawkins
108 Watkins Station Circle Apt. C                             RS Legacy Corporation fka RadioShack
Gaithersburg, Maryland 20879              15719      6/5/2016 Corporation                                                     $25.00                                                                                           $25.00
Craig Price
P.O. Box 323                                                  RS Legacy Corporation fka RadioShack
Creston, Ca 93432                         15720      6/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Salua Baida
41‐44 44th Street, #C6                                        RS Legacy Corporation fka RadioShack
Sunnyside, NY 11104                       15721      6/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Nolasco Tamayo
10 Caxton St                                                  RS Legacy Corporation fka RadioShack
Providence, RI 02904                      15722      6/5/2016 Corporation                                                     $69.99                                                                                           $69.99




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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Marcus Falconieri
5251 pioneer Ave. #202                                        RS Legacy Corporation fka RadioShack
Las vegas, Nv 89146                       15723      6/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Isabel Lawrence
1338 Norfolk Court                                            RS Legacy Corporation fka RadioShack
Atwater, CA 95301                         15724      6/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Gerald Muehlberger
956 Diamond Ridge                                             RS Legacy Corporation fka RadioShack
Boerne, TX 78006                          15725      6/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Sridhar Nama
2579 Sutters Mill Dr                                          RS Legacy Corporation fka RadioShack
Herndon, VA 20171                         15726      6/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael Gammon
2339 NE Springbrook                                           RS Legacy Corporation fka RadioShack
Blue Springs, MO 64014                    15727      6/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Ralph Porter
2862 W.W. Kelley Road                                         RS Legacy Corporation fka RadioShack
Tallahassee, FL 32311                     15728      6/6/2016 Corporation                                                     $80.61                                                                                           $80.61
Jennifer Baird
4155 Liberty Lane                                             RS Legacy Corporation fka RadioShack
Marietta, GA 30066                        15729      6/6/2016 Corporation                                                    $100.00                                                                                          $100.00
Richard Lewis
304 Marina Oaks Ct                                            RS Legacy Corporation fka RadioShack
Kemah, Texas 77565                        15730      6/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Brandie
235 W Exeter                                                  RS Legacy Corporation fka RadioShack
Gladstone, Or 97027                       15731      6/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Brandie
235 W Exeter                                                  RS Legacy Corporation fka RadioShack
Gladstone, Or 97027                       15732      6/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Joshua Davis
332 Macarthur Way                                             RS Legacy Corporation fka RadioShack
Brentwood, CA 94513                       15733      6/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Keith Miyake
15338 Elkhill Dr.                                             RS Legacy Corporation fka RadioShack
Hacienda Heights, CA 91745                15734      6/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Debbie Kinsey
1909 S. Colgate St.                                           RS Legacy Corporation fka RadioShack
Perryton, Texas 79070                     15735      6/6/2016 Corporation                                                     $50.00                                                                                           $50.00
Wendy Albert
PO Box 1259                                                   RS Legacy Corporation fka RadioShack
Katy, TX 77492                            15736      6/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Zenaida F beltran
8 riverdale ave                                               RS Legacy Corporation fka RadioShack
Port chester, Ny 10573                    15737      6/6/2016 Corporation                                                     $31.13                                                                                           $31.13
Stanley Marc Pruyser
1403 Makiki Street, B203                                      RS Legacy Corporation fka RadioShack
Honolulu, HI 96814                        15738      6/6/2016 Corporation                                                     $48.96                                                                                           $48.96
James Karrels
8220 Custer Rd                                                RS Legacy Corporation fka RadioShack
Bethesda, MD 20817                        15739      6/6/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Marc Koplow
15550 Moss Glen Tral                                          RS Legacy Corporation fka RadioShack
Newbury, Ohio 44065                       15740      6/6/2016 Corporation                                                       $0.00                                                                                            $0.00
Benjamin Meintzer
646 jASPER Street, Apt 2                                      RS Legacy Corporation fka RadioShack
Baltimore, Maryland 21201                 15741      6/6/2016 Corporation                                                     $100.00                                                                                          $100.00
scott chamberlin
2346 bella vista ave                                          RS Legacy Corporation fka RadioShack
martinez, ca 94553                        15742      6/6/2016 Corporation                                                      $14.19                                                                                           $14.19
John D Houghkirk
325 Western Blvd                                              RS Legacy Corporation fka RadioShack
Bayville, NJ 08721                        15743      6/6/2016 Corporation                                                      $50.00                                                                                           $50.00
Guy Babb
172 ash St                                                    RS Legacy Corporation fka RadioShack
Rutland, Vt 05701                         15744      6/7/2016 Corporation                                                       $0.00                                                                                            $0.00
Shenghui Hu
809 S Cedar Lake Ct                                           RS Legacy Corporation fka RadioShack
Columbia, Missouri 65203                  15745      6/7/2016 Corporation                                                      $48.00                                                                                           $48.00
Carol Ramcharan
2547 Jolene Court                                             RS Legacy Corporation fka RadioShack
Pleasanton, CA 94566                      15746      6/7/2016 Corporation                                                       $0.00                                                                                            $0.00
Joseph Roy
101 Old Farms Rd                                              RS Legacy Corporation fka RadioShack
Durham, CT 06422                          15747      6/7/2016 Corporation                                                       $0.00                                                                                            $0.00
Lawson, Terry Lee
242 Lonnie Lane                                                RS Legacy Corporation fka RadioShack
Kingsville, TX 78363                      15748      5/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Safi, Samsor
348 Ainsdale Court                                             RS Legacy Corporation fka RadioShack
Roseville, CA 95747                       15749      5/24/2016 Corporation                                                     $21.98              $0.00                                 $0.00             $0.00                $21.98
Nathan Harwell
1005 Proper Ct                                                RS Legacy Corporation fka RadioShack
Apex, NC 27502                            15750      6/7/2016 Corporation                                                       $0.00                                                                                            $0.00
Robert Greaney
1309 Main Street                                              RS Legacy Corporation fka RadioShack
Seabrook, Texas 77586                     15751      6/7/2016 Corporation                                                      $30.00                                                                                           $30.00
Robert Greaney
1309 Main Street                                              RS Legacy Corporation fka RadioShack
Seabrook, Texas 77586                     15752      6/7/2016 Corporation                                                      $25.00                                                                                           $25.00
DONNA JONES
4231 80th PLACE                                               RS Legacy Corporation fka RadioShack
KENOSHA, WI 53142                         15753      6/7/2016 Corporation                                                      $31.64                                                                                           $31.64
Oscar Kelly
927 N. Macomb St. Apt 9C                                      RS Legacy Corporation fka RadioShack
Monroe, MI 48162                          15754      6/7/2016 Corporation                                                       $0.00                                                                                            $0.00
Mary Works Cooke
15 Brier Road                                                 RS Legacy Corporation fka RadioShack
Gloucester, Ma 01930                      15755      6/7/2016 Corporation                                                       $0.00                                                                                            $0.00
John Monge
2720 South Highland Ave Apt # 464                             RS Legacy Corporation fka RadioShack
Lombard, Illinois 60148                   15756      6/7/2016 Corporation                                                       $0.00                                                                                            $0.00




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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
kia hession
307 sw taylot                                                 RS Legacy Corporation fka RadioShack
topeka, ks 66603                          15757      6/7/2016 Corporation                                                    $250.00                                                                                          $250.00
Jeff Laub
475 Stratford Drive                                           RS Legacy Corporation fka RadioShack
Lexington, KY 40503                       15758      6/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Sanam Arjang
5178 Kimscott Ct.                                             RS Legacy Corporation fka RadioShack
Annandale, VA 22003                       15759      6/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Rodriguez, Rachelle
11042 SW 129 PL                                               RS Legacy Corporation fka RadioShack
Miami, FL 33186                           15760      6/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Hoese, James A.
400 Bluebird Lane                                             RS Legacy Corporation fka RadioShack
Marshfield, WI 54449                      15761      6/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Angelo, Cheryl
31185 Peaceful Ridge Lane                                     RS Legacy Corporation fka RadioShack
Jonesburg, MO 63351                       15762      6/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Shelmire, David
8226 Douglas #549                                             RS Legacy Corporation fka RadioShack
Dallas, TX 75225                          15763      6/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Shelmire, David
8226 Douglas #549                                             RS Legacy Corporation fka RadioShack
Dallas, TX 75225                          15764      6/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Jon Craig Berthold
115 SE 130th Ave                                              RS Legacy Corporation fka RadioShack
Portland, OR 97233‐1511                   15765      6/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Griggs, Jennifer
25680 Kimberly Drive                                          RS Legacy Corporation fka RadioShack
West Linn, OR 97068                       15766      6/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Josh Kindelspire
5400 W Pineridge Dr                                           RS Legacy Corporation fka RadioShack
Sioux Falls, SD 57107                     15767      6/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Jonathan McAfee
4125 Kenwood Dr.                                              RS Legacy Corporation fka RadioShack
Bryan, TX 77802                           15768      6/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Dawna Lythgoe
933 West 900 South                                            RS Legacy Corporation fka RadioShack
Woods Cross, Utah 84087                   15769      6/8/2016 Corporation                                                     $56.49                                                                                           $56.49
Bonnie Saito‐Manago
45‐408 LOLOPUA PLACE                                          RS Legacy Corporation fka RadioShack
KANEOHE, HI 96744                         15770      6/8/2016 Corporation                                                     $30.00                                                                                           $30.00
Shelmire, David
8226 Douglas #549                                             RS Legacy Corporation fka RadioShack
Dallas, TX 75225                          15771      6/8/2016 Corporation                                                     $20.00                                                                                           $20.00
Johanson, Donatella
Po Box 13                                                     RS Legacy Corporation fka RadioShack
Battle Ground, WA 98604                   15772      6/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Premji., Sapna
7325 Harlie St.                                               RS Legacy Corporation fka RadioShack
Orlando, FL 32819                         15773      6/8/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Nichelson, Celine
6611 Old Garrett Rd                                           RS Legacy Corporation fka RadioShack
Buford, GA 30518                          15774      6/8/2016 Corporation                                                       $0.00                                                                                            $0.00
Ros, Mat A.
143 Barrett Place                                             RS Legacy Corporation fka RadioShack
Jackson, TN 38305                         15775      6/8/2016 Corporation                                                      $14.27                                                                                           $14.27
LaTonya L Parrott
405 Lexington Cir                                             RS Legacy Corporation fka RadioShack
Athens, GA ‐ Georgia 30605                15776      6/8/2016 Corporation                                                       $0.00                                                                                            $0.00
Alec Friedhoff
921 Harbour Bay Drive                                         RS Legacy Corporation fka RadioShack
Tampa, FL 33602                           15777      6/8/2016 Corporation                                                       $0.00                                                                                            $0.00
Claim Docketed In Error                                       RS Legacy Corporation fka RadioShack
                                          15778      6/8/2016 Corporation                                                                                                                                                        $0.00
Sean Bertsch
PO Box 87                                                     RS Legacy Corporation fka RadioShack
Lakebay, Wa 98349                         15779      6/8/2016 Corporation                                                     $100.00                                                                                          $100.00
Garey, Jennifer
2935 Porter Road                                              RS Legacy Corporation fka RadioShack
Niagara Falls, NY 14305                   15780      6/8/2016 Corporation                                                      $10.13                                                                                           $10.13
Lucille Hogan
87 Wayland Street                                             RS Legacy Corporation fka RadioShack
North Haven, CT 06473                     15781      6/8/2016 Corporation                                                     $100.00                                                                                          $100.00
Kellie Kulis
2732 putnam parkway                                           RS Legacy Corporation fka RadioShack
Venice center, Ny 13147                   15782      6/8/2016 Corporation                                                       $0.00                                                                                            $0.00
Suzanne Garacochea
3505 Billings Street                                          RS Legacy Corporation fka RadioShack
Mount Pleasant, SC 29466                  15783      6/8/2016 Corporation                                                      $43.00                                                                                           $43.00
Mary Shivers
10958 County Road 1570                                        RS Legacy Corporation fka RadioShack
Ada, OK 74820                             15784      6/8/2016 Corporation                                                      $21.83                                                                                           $21.83
Mallory, Tanya
505 East 6th Street Suite 1602                                 RS Legacy Corporation fka RadioShack
Charlotte, NC 28202‐3148                  15785      5/31/2016 Corporation                                                      $5.60                                                                                            $5.60
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          15786      6/8/2016 Corporation                                                                                                                                                        $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          15787      6/8/2016 Corporation                                                                                                                                                        $0.00
Vivian Asfoura
6835 Laurel Canyon Blvd Apt 312                               RS Legacy Corporation fka RadioShack
North Hollywood, Ca 91605                 15788      6/8/2016 Corporation                                                     $108.99                                                                                          $108.99
altaf ahmad
9813 Dansk Ct                                                 RS Legacy Corporation fka RadioShack
Fairfax, VA 22003                         15789      6/8/2016 Corporation                                                       $0.00                                                                                            $0.00
Shaws, Cindy
5220 Oakland Road                                             RS Legacy Corporation fka RadioShack
Gay, GA 30218                             15790      6/8/2016 Corporation                                                       $0.00                                                                                            $0.00
Claim Docketed In Error                                       RS Legacy Corporation fka RadioShack
                                          15791      6/8/2016 Corporation                                                                                                                                                        $0.00




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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Simmons, Donald R.
1603 Oak Street                                               RS Legacy Corporation fka RadioShack
Burnet, Tx 78611                          15792      6/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Hartwig, Robert Eduard
1700 Medfield Rd                                              RS Legacy Corporation fka RadioShack
Raleigh, NC 27607                         15793      6/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Gianni, Nancy
8362 Tabago Lane                                              RS Legacy Corporation fka RadioShack
Wellington, FL 33414                      15794      6/8/2016 Corporation                                                     $25.44                                                                                           $25.44
Claim Docketed In Error                                       RS Legacy Corporation fka RadioShack
                                          15795      5/8/2016 Corporation                                                                                                                                                       $0.00
Claim Docketed In Error                                       RS Legacy Corporation fka RadioShack
                                          15796      5/8/2016 Corporation                                                                                                                                                       $0.00
Buteyn, Randall
3419 S. Manor Drive                                           RS Legacy Corporation fka RadioShack
Lansing, IL 60438                         15797      6/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Newman, Kristen
1005 Eldridge St.                                             RS Legacy Corporation fka RadioShack
Washington, IL 61571                      15798      6/8/2016 Corporation                                                     $21.75                                                                                           $21.75
Simmons, Donald R.
1603 Oak Street                                               RS Legacy Corporation fka RadioShack
Burnet, Tx 78611                          15799      6/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Walton, Barbara
260 Parkhill Ave. 34                                          RS Legacy Corporation fka RadioShack
Staten Island, NY 10304                   15800      6/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Tatum, Paula
228 Edwards road                                              RS Legacy Corporation fka RadioShack
Hollister, MO 65672‐5242                  15801      6/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Elizabeth Ortiz
2008 Limestone lane                                           RS Legacy Corporation fka RadioShack
Carpenteraville, Illinois 60110           15802      6/8/2016 Corporation                                                    $150.00                                                                                          $150.00
Chi cheng
1901 Arriba Dr                                                RS Legacy Corporation fka RadioShack
Monterey park, Ca 91754                   15803      6/8/2016 Corporation                                                     $25.00                                                                                           $25.00
Christian Chavez
6001 S San Pedro St. Apt. B                                   RS Legacy Corporation fka RadioShack
Los Angeles, CA 90003                     15804      6/9/2016 Corporation                                                     $25.00                                                                                           $25.00
Christian Chavez
6001 S San Pedro St. Apt. B                                   RS Legacy Corporation fka RadioShack
Los Angeles, CA 90003                     15805      6/9/2016 Corporation                                                     $15.00                                                                                           $15.00
Daniel Voisine
28 Windbrook Dr                                               RS Legacy Corporation fka RadioShack
Auburn, MA 01501                          15806      6/9/2016 Corporation                                                     $20.00                                                                                           $20.00
Derrick Baranowsky
802 Bowie Rd                                                  RS Legacy Corporation fka RadioShack
Rockville, MD 20852                       15807      6/9/2016 Corporation                                                     $50.00                                                                                           $50.00
Simmons, Donald R.
1603 Oak Street                                               RS Legacy Corporation fka RadioShack
Burnet, TX 78611                          15808      6/3/2016 Corporation                                                                                                                                                       $0.00
Myers, Lourdes
26114 VIA PERA                                                RS Legacy Corporation fka RadioShack
MISSION VIEJO, CA 92691                   15809      6/8/2016 Corporation                                                                                                                                                       $0.00



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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Gloria Richardson
9950 Hwy 449                                                  RS Legacy Corporation fka RadioShack
Greensburg, la 70441                      15810      6/9/2016 Corporation                                                    $100.00                                                                                          $100.00
Lane, Maureen
60 Franklin Place                                             RS Legacy Corporation fka RadioShack
East Rutherford, NJ 07073                 15811      6/9/2016 Corporation                                                     $40.65                                                                                           $40.65
Shea, Noreen
7600 Landmark Way Unit 505                                    RS Legacy Corporation fka RadioShack
Greenwood Village, CO 80111               15812      6/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Victor Shiblie
11643 Newbridge Court                                         RS Legacy Corporation fka RadioShack
Reston, VA 20191                          15813      6/9/2016 Corporation                                                      $0.00                                                                                            $0.00
John Hoffman
2350 W. Ohio                                                  RS Legacy Corporation fka RadioShack
Chicago, IL 60612                         15814      6/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Kammi Jordan
478 Overleaf Way                                              RS Legacy Corporation fka RadioShack
San Jacinto, CA 92582                     15815      6/9/2016 Corporation                                                     $50.00                                                                                           $50.00
Denise sylvester
21 heather Way                                                RS Legacy Corporation fka RadioShack
sayreville, NJ 08872                      15816      6/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Yue Zhang
2425 Raleigh Rd                                               RS Legacy Corporation fka RadioShack
Hummestown, Pa 17036                      15817      6/9/2016 Corporation                                                     $20.00                                                                                           $20.00
barry todd griffis
96 mars hill commons ln apt 204                               RS Legacy Corporation fka RadioShack
mars hill, nc 28754                       15818      6/9/2016 Corporation                                                      $0.00                                                                                            $0.00
mark rwineland
5005 walnut avenue                                            RS Legacy Corporation fka RadioShack
altoona, pa 16601                         15819      6/9/2016 Corporation                                                      $0.00                                                                                            $0.00
shina landers
9209 brasher road                                             RS Legacy Corporation fka RadioShack
warrior, Alabama 35180                    15820      6/9/2016 Corporation                                                     $38.00                                                                                           $38.00
Zarah Bittle
Ok box 3902                                                   RS Legacy Corporation fka RadioShack
Pinehurst, North Carolina 28374           15821      6/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Zhanli Chen
333A W 25th PL                                                RS Legacy Corporation fka RadioShack
Chicago, IL 60616                         15822      6/9/2016 Corporation                                                    $100.00                                                                                          $100.00
Allen G Teklitz
12211 Waywood dr.                                             RS Legacy Corporation fka RadioShack
Twinsburg, Ohio 44087                     15823      6/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Sandy McDonald
37124 Munger                                                  RS Legacy Corporation fka RadioShack
Livonia, MI 48154                         15824      6/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Gary Spencer
PO Box 95                                                     RS Legacy Corporation fka RadioShack
Hiram, OH 44234                           15825      6/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Jessica rueda
2014 baylis ave                                               RS Legacy Corporation fka RadioShack
elmont, ny 11003                          15826      6/9/2016 Corporation                                                     $60.00                                                                                           $60.00




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Joseph Lipp
4481 South Buffalo St APT 18                                   RS Legacy Corporation fka RadioShack
Orchard Park, NY 14127                    15827      6/10/2016 Corporation                                                      $6.02                                                                                            $6.02
Debra Thomas
111 Ashley Place                                               RS Legacy Corporation fka RadioShack
Stone Mountain, GA 30083                  15828      6/10/2016 Corporation                                                     $50.00                                                                                           $50.00
Pritchett, Bryan
413 Edlon Park                                                 RS Legacy Corporation fka RadioShack
Cambridge , MD 21613                      15829      6/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Sands, James A.
15634 Greenstone LN                                            RS Legacy Corporation fka RadioShack
Parker, CO 80134                          15830      6/10/2016 Corporation                                                     $24.00                                                                                           $24.00
Sands, James A.
15634 Greenstone LN                                            RS Legacy Corporation fka RadioShack
Parker, CO 80134                          15831      6/10/2016 Corporation                                                     $27.00                                                                                           $27.00
Brock, Roger L
1108 Roxbury Rd.                                               RS Legacy Corporation fka RadioShack
Rockford, IL 61107                        15832      6/10/2016 Corporation                                                     $42.22                                                                                           $42.22
Steiner, Phillip
12164 Libelle ct.                                              RS Legacy Corporation fka RadioShack
San Diego, CA 92131                       15833      6/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Maly, Michael K
7351 Fair Haven Ct                                             RS Legacy Corporation fka RadioShack
Ada, MI 49301                             15834      6/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Susie Hsueh
726 43rd Avenue                                                RS Legacy Corporation fka RadioShack
San Francisco, CA 94121                   15835      6/10/2016 Corporation                                                     $59.00                                                                                           $59.00
Jennifer Fredholm
72 Arnold Terrace                                              RS Legacy Corporation fka RadioShack
South Orange, NJ 07079                    15836      6/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Kristina Whitfield
1200 Lakeshore Ave #23F                                        RS Legacy Corporation fka RadioShack
Oakland, CA 94606                         15837      6/10/2016 Corporation                                                     $25.00                                                                                           $25.00
Russ Kay
HC 3 Box 985                                                   RS Legacy Corporation fka RadioShack
Tucson, AZ 85739                          15838      6/10/2016 Corporation                                                      $0.00                                                                                            $0.00
GRIGOR TSARUKYAN
317 FISCHER ST                                                 RS Legacy Corporation fka RadioShack
GLENDALE, CA 91205                        15839      6/10/2016 Corporation                                                     $50.00                                                                                           $50.00
Michele Wiley
4925 County Road 344                                           RS Legacy Corporation fka RadioShack
Early, Texas 76802                        15840      6/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Jonathan Black
9103 Queenston Dr.                                             RS Legacy Corporation fka RadioShack
Crestwood, MO 63126                       15841      6/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Serena Pisoni
2430 Castilla Isle                                             RS Legacy Corporation fka RadioShack
Fort Lauderdale, FL 33301                 15842      6/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Gerardo E. mendez
5790 e. Jahant rd                                              RS Legacy Corporation fka RadioShack
Galt, Ca 95632                            15843      6/10/2016 Corporation                                                     $32.31                                                                                           $32.31




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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Margarita Baliyan
150 Falcon Hill                                                RS Legacy Corporation fka RadioShack
Santa Cruz, CA 95065                      15844      6/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Joshua Webber
1020 SE Sunnyside Schol Road                                   RS Legacy Corporation fka RadioShack
Blue Springs, MO 64014                    15845      6/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Jose Murillo
3528 Anniston CT                                               RS Legacy Corporation fka RadioShack
Modesto, ca 95357                         15846      6/11/2016 Corporation                                                    $324.36                                                                                          $324.36
Barry Halpern
74 The Woods                                                   RS Legacy Corporation fka RadioShack
Commack, NY 11725                         15847      6/11/2016 Corporation                                                     $14.19                                                                                           $14.19
Barry Halpern
74 The Woods                                                   RS Legacy Corporation fka RadioShack
Commack, NY 11725                         15848      6/11/2016 Corporation                                                     $14.19                                                                                           $14.19
Riyaz Dholakiya
4500 Admiral Ridge Way SW                                      RS Legacy Corporation fka RadioShack
Lilburn, GA 30047                         15849      6/11/2016 Corporation                                                      $0.00                                                                                            $0.00
jasprit
101 mckinley ave                                               RS Legacy Corporation fka RadioShack
lodi, nj 07644                            15850      6/11/2016 Corporation                                                     $23.25                                                                                           $23.25
Jon Barnett
1606 River Lane                                                RS Legacy Corporation fka RadioShack
Grafton, WI 53024                         15851      6/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Emily Glaser
12325 Shadow Creek Parkway #626                                RS Legacy Corporation fka RadioShack
Pearland, TX 77584                        15852      6/11/2016 Corporation                                                      $0.00                                                                                            $0.00
SHERRY KNIGHT
2164 FM 2453                                                   RS Legacy Corporation fka RadioShack
Royse City, TX 75189                      15853      6/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Haddy Rikabi
2012 Bent Oaks Blvd.                                           RS Legacy Corporation fka RadioShack
Biloxi, MS 39531                          15854      6/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Dana Bagwell
4411 Lewiston Road                                             RS Legacy Corporation fka RadioShack
Niagara Falls, NY 14305                   15855      6/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Pimolmas Khamlue
25 Pearl St.                                                   RS Legacy Corporation fka RadioShack
Malden, MA 02148                          15856      6/12/2016 Corporation                                                     $50.00                                                                                           $50.00
Kelly Glass
8345 NE 83rd St #1213                                          RS Legacy Corporation fka RadioShack
Kansas CIty, MO 64158                     15857      6/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Joe Foraci
26 Woodbury rd                                                 RS Legacy Corporation fka RadioShack
Farmingville, NY 11738                    15858      6/12/2016 Corporation                                                      $0.00                                                                                            $0.00
sayed ikhlaq
25 campsite lane                                               RS Legacy Corporation fka RadioShack
east setauket, ny 11733                   15859      6/12/2016 Corporation                                                     $30.00                                                                                           $30.00
Dhara Patel
5773 E 12 Mile Road                                            RS Legacy Corporation fka RadioShack
Warren, Mi 48092                          15860      6/12/2016 Corporation                                                     $13.24                                                                                           $13.24




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Randal Shamp
60 Richard Place                                               RS Legacy Corporation fka RadioShack
Owatonna, MN 55060                        15861      6/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Nancy Mazza
89 James Drive                                                 RS Legacy Corporation fka RadioShack
Ringwood, NJ 07456                        15862      6/12/2016 Corporation                                                     $25.00                                                                                           $25.00
Clyde H. Barth
24 Hillandale Drive                                            RS Legacy Corporation fka RadioShack
Ballston Lake, New York 12019             15863      6/12/2016 Corporation                                                      $4.33                                                                                            $4.33
Brian Sivinski
2405 s 135 ave                                                 RS Legacy Corporation fka RadioShack
omaha, Ne 68144                           15864      6/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Edward Zambie
6501 Cooper Place                                              RS Legacy Corporation fka RadioShack
Plano, TX 75093                           15865      6/12/2016 Corporation                                                     $15.00                                                                                           $15.00
Titus Park
636 University Ave Apt B                                       RS Legacy Corporation fka RadioShack
Honolulu, HI 96826                        15866      6/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Daniel Devine
1250 Ocean Avenue, Apt. 6S                                     RS Legacy Corporation fka RadioShack
Brooklyn, NY 11230                        15867      6/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Daniel Devine
1250 Ocean Avenue, Apt. 6S                                     RS Legacy Corporation fka RadioShack
Brooklyn, NY 11230                        15868      6/13/2016 Corporation                                                      $0.00                                                                                            $0.00
George Anthony Lillie
100 Windsor Terrace                                            RS Legacy Corporation fka RadioShack
Nashville, TN 37221                       15869      6/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Oleg Kasyan
2485 Tonquin Str.                                              RS Legacy Corporation fka RadioShack
East Meadow, NY 11554                     15870      6/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Christopher Vaneerde
1103 Hickory Court                                             RS Legacy Corporation fka RadioShack
Monmouth Junction, NJ 08852               15871      6/13/2016 Corporation                                                     $15.00                                                                                           $15.00
Melvin Lowe
996 Poplar Rd.                                                 RS Legacy Corporation fka RadioShack
Newnan, Georgia 30263                     15872      6/13/2016 Corporation                                                     $35.00                                                                                           $35.00
Ronika Dukes
1509 Oriole Ave                                                RS Legacy Corporation fka RadioShack
San Leandro, CA 94578                     15873      6/13/2016 Corporation                                                      $0.00                                                                                            $0.00
ANTHONY KARIMI
1230 Sea Strand Lane                                           RS Legacy Corporation fka RadioShack
San Diego, California 92154               15874      6/13/2016 Corporation                                                     $21.59                                                                                           $21.59
zamaneh Fard
14001 rockingham rd                                            RS Legacy Corporation fka RadioShack
germantown, md 20874                      15875      6/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Woine Kidane
1970 S. Jamaica Court                                          RS Legacy Corporation fka RadioShack
Aurora, Colorado 80014                    15876      6/13/2016 Corporation                                                     $10.00                                                                                           $10.00
Renitta Sidbury
206 Wallington Rd                                              RS Legacy Corporation fka RadioShack
Wilmington, NC 28409                      15877      6/13/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Wayne Okamoto
2699 Delaware Lane                                             RS Legacy Corporation fka RadioShack
Lindenhurst, IL 60046                     15878      6/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Mary Davis
2545 SEQUOIT RD                                                RS Legacy Corporation fka RadioShack
WAUKEGAN, IL 60087                        15879      6/13/2016 Corporation                                                    $100.00                                                                                          $100.00
hansel lynch
660 rogers avenue                                              RS Legacy Corporation fka RadioShack
Brooklyn, NY 11226                        15880      6/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Justin Gondran
911 Nelson Ave.                                                RS Legacy Corporation fka RadioShack
Ruston, LA 71270                          15881      6/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Gary W. Jones
2010 Brookhaven Dr                                             RS Legacy Corporation fka RadioShack
Murray, KY 42071                          15882      6/14/2016 Corporation                                                     $20.00                                                                                           $20.00
Snehal Pandya
13911 Chamomile Ln                                             RS Legacy Corporation fka RadioShack
Frisco, Texas 75035                       15883      6/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Dan Fate
1108 Douglas St                                                RS Legacy Corporation fka RadioShack
Forest Grove, OR 97116                    15884      6/14/2016 Corporation                                                     $10.00                                                                                           $10.00
Florida Power & Light Company
c/o Rachel S. Budke, Esq.
700 Universe Blvd                                              RS Legacy Corporation fka RadioShack
Juno Beach, FL 33408                      15885      5/26/2016 Corporation                                                $13,866.00                                                                                        $13,866.00
GDF Suez Energy Resources NA, Inc
Randy Johnson, Attorney
1990 Post Oak Blvd., Ste 1900                                  RS Legacy Corporation fka RadioShack
Houston , TX 77056                        15886      5/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Katie Dye
6636 Farr Road                                                 RS Legacy Corporation fka RadioShack
Onekama, MI 49375                         15887      6/14/2016 Corporation                                                      $0.00                                                                                            $0.00
maia lisowski
610 loomis st                                                  RS Legacy Corporation fka RadioShack
westfield, ma 01085                       15888      6/14/2016 Corporation                                                      $9.55                                                                                            $9.55
David Kaleb Foshee
3276 jordan way                                                RS Legacy Corporation fka RadioShack
Valdosta, Ga 31605                        15889      6/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Matt Hasse
16121 6030 rd                                                  RS Legacy Corporation fka RadioShack
Montrose, co 81403                        15890      6/14/2016 Corporation                                                     $50.00                                                                                           $50.00
Mark Cowart
PO BOX 971514                                                  RS Legacy Corporation fka RadioShack
Orem, UT 84097                            15891      6/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Trevor Virga
2880 Pua Nani Street                                           RS Legacy Corporation fka RadioShack
Lihue, Hawaii 96766                       15892      6/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Hikaru Kasai
197 Benji Lane                                                 RS Legacy Corporation fka RadioShack
Santa Maria, CA 93455                     15893      6/14/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Gina Metzger
538 W 11th Ave                                                 RS Legacy Corporation fka RadioShack
Chico, CA 95926                           15894      6/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Marti Rittenhouse
153 Notting Hill Pl                                            RS Legacy Corporation fka RadioShack
Canton, MS 39046                          15895      6/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Lorrie Harmon
PO Box702                                                      RS Legacy Corporation fka RadioShack
Hana, HI 96713                            15896      6/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Jordan Taylor
1072 Lafayette Ave.                                            RS Legacy Corporation fka RadioShack
Brooklyn, NY 11221                        15897      6/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Courtney Lewis
Northride trl                                                  RS Legacy Corporation fka RadioShack
Lakleand, fl 33813                        15898      6/15/2016 Corporation                                                      $0.00                                                                                            $0.00
VeriFone, Inc
c/o Corporation Service Company
2711 Centerville Road, Suite 400                               RS Legacy Corporation fka RadioShack
Wilmington, DE 19808                      15899      5/26/2016 Corporation                                                $25,000.00                                                                                        $25,000.00
Dominick Monteverdi
74‐11 260th Street                                             RS Legacy Corporation fka RadioShack
Glen Oaks, NY 11004                       15900      6/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Mario Cardenas
1212 Banbury Cross Rd                                          RS Legacy Corporation fka RadioShack
Santa Ana, CA 92705                       15901      6/15/2016 Corporation                                                      $0.00                                                                                            $0.00
marsha trepinski
23904 west state route #579                                    RS Legacy Corporation fka RadioShack
curtice, ohio 43412                       15902      6/15/2016 Corporation                                                     $21.79                                                                                           $21.79
Katie Landry
16 Sound Beach Blvd                                            RS Legacy Corporation fka RadioShack
Sound Beach, NY 11789                     15903      6/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Aijaz Kajani
1680 Mountain Shadow                                           RS Legacy Corporation fka RadioShack
Stone Mountain, ga 30087                  15904      6/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Guadalupe flores
537 n batavia apt b                                            RS Legacy Corporation fka RadioShack
Orange, Ca 92868                          15905      6/15/2016 Corporation                                                    $100.00                                                                                          $100.00
Josh Boyd
1403 Shady Lane #1607                                          RS Legacy Corporation fka RadioShack
Bedford, tx 76021                         15906      6/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Johanna bratcher
2611 tebeau st                                                 RS Legacy Corporation fka RadioShack
Waycross, Ga 31501                        15907      6/15/2016 Corporation                                                      $0.00                                                                                            $0.00
David Ross
228 Park Avenue South, Unit 26‐885                             RS Legacy Corporation fka RadioShack
New York, NY 10003                        15908      6/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Rita M Page
3009 Saint Lynda Drive                                         RS Legacy Corporation fka RadioShack
Mansfield, TX 76063                       15909      6/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Letray Jenkins
18367 highway 25                                               RS Legacy Corporation fka RadioShack
Ware shoals, Sc 29692                     15910      6/15/2016 Corporation                                                     $40.00                                                                                           $40.00



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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Juan Carlos Plaza
2425 17th St NW #23                                            RS Legacy Corporation fka RadioShack
Washington, DC 20009                      15911      6/15/2016 Corporation                                                     $50.00                                                                                           $50.00
Tyler patnode
873 elmore street                                              RS Legacy Corporation fka RadioShack
Greenbay, Wisconsin 54303                 15912      6/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Ruben rosario
2916 falcon are                                                RS Legacy Corporation fka RadioShack
Medford, Ny 11763                         15913      6/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Jason Duffy
945 S. 3rd                                                     RS Legacy Corporation fka RadioShack
Salina, KS 67401                          15914      6/16/2016 Corporation                                                      $0.00                                                                                            $0.00
William McLeish
4814 Hamilton Ave Apt 2C                                       RS Legacy Corporation fka RadioShack
Baltimore, Md 21206                       15915      6/16/2016 Corporation                                                     $34.95                                                                                           $34.95
Sanjay Shah
170 Crown Point Road                                           RS Legacy Corporation fka RadioShack
Parsippany, NJ 07054                      15916      6/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Reich, Rudolph M
808 Ironbark Place                                             RS Legacy Corporation fka RadioShack
Orinda, CA 94563                          15917      6/16/2016 Corporation                                                     $10.84                                                                                           $10.84
Renee Guy
14670 W Cornell Place                                          RS Legacy Corporation fka RadioShack
Lakewood, CO 80228                        15918      6/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Don Storck
3273 N. Raucholz                                               RS Legacy Corporation fka RadioShack
Hemlock, MI 48626                         15919      6/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Paul Larson
3533 SE Midvale Drive                                          RS Legacy Corporation fka RadioShack
Corvallis, OR 97333                       15920      6/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Bill Bennett
3243 Jan Avenue                                                RS Legacy Corporation fka RadioShack
Tyler, Texas 75701                        15921      6/16/2016 Corporation                                                     $38.93                                                                                           $38.93
Benjamin R Conolly
29 Dunbar Rd                                                   RS Legacy Corporation fka RadioShack
Hilton, NY 14468                          15922      6/16/2016 Corporation                                                    $100.00                                                                                          $100.00
Kevin Keegan
13413 Chestnut Oak Drive                                       RS Legacy Corporation fka RadioShack
Gaithersburg, md 20878                    15923      6/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Rho, Kyungsook
3416 Westfield Drive                                           RS Legacy Corporation fka RadioShack
Plano, TX 75093                           15924      6/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Jonathan Talaue
620 Byron Nelson Dr                                            RS Legacy Corporation fka RadioShack
McKinney, TX 75070                        15925      6/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Matthew J. Bartek
1349 E. Monroe                                                 RS Legacy Corporation fka RadioShack
South Bend, IN 46615                      15926      6/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Donald P Harris
154 Divisadero St                                              RS Legacy Corporation fka RadioShack
San Francisco, CA 94117                   15927      6/16/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Paul Matsuda
220 Hazel Ave                                                  RS Legacy Corporation fka RadioShack
Mill Valley, CA 94941                     15928      6/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Zachary Bell
13015 W 84th Ct                                                RS Legacy Corporation fka RadioShack
Saint John, IN 46373                      15929      6/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Melanie Hathaway
202 Markwood Drive                                             RS Legacy Corporation fka RadioShack
Canonsburg, PA 15317                      15930      6/17/2016 Corporation                                                      $0.00                                                                                            $0.00
avrohom zwiebel
804 hillview dr                                                RS Legacy Corporation fka RadioShack
ashland, or 97520                         15931      6/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Rodney douglass
1522 delia                                                     RS Legacy Corporation fka RadioShack
Akron, Oh 44320                           15932      6/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Sanjeev Bharani
1855 River Park Drive                                          RS Legacy Corporation fka RadioShack
Germantown, TN 38139                      15933      6/17/2016 Corporation                                                     $46.53                                                                                           $46.53
Kristi Lauder
1001 Brookstone Court                                          RS Legacy Corporation fka RadioShack
Geogetown, IN 47122                       15934      6/17/2016 Corporation                                                     $21.39                                                                                           $21.39
Stacy Weber
PO BOX 161                                                     RS Legacy Corporation fka RadioShack
NELLISTON, NY 13410                       15935      6/17/2016 Corporation                                                     $66.09                                                                                           $66.09
Edith Tchouichoui
3821 Ballantrae rd. Apt3                                       RS Legacy Corporation fka RadioShack
Eagan, MN 55122                           15936      6/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Philip. Hoover
338 W MAIN ST
APT 201                                                        RS Legacy Corporation fka RadioShack
MOUNT STERLING, OH 43143‐1258             15937      6/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Arnold Smith
4687 N. Kasson                                                 RS Legacy Corporation fka RadioShack
Chicago, Ill 60630                        15938      6/17/2016 Corporation                                                     $63.58                                                                                           $63.58
Animal Rescue League of Boston
3981 Main Street                                               RS Legacy Corporation fka RadioShack
Brewster, Ma 02631                        15939      6/17/2016 Corporation                                                    $140.38                                                                                          $140.38
Chris Lynch
4519 Shore Acres Rd                                            RS Legacy Corporation fka RadioShack
Monona, WI 53716                          15940      6/17/2016 Corporation                                                     $50.00                                                                                           $50.00
Nancy Kusy
25 Lancaster Lane                                              RS Legacy Corporation fka RadioShack
Palm Coast, FL 32137                      15941      6/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Arnold Smith
4687 N. Kasson                                                 RS Legacy Corporation fka RadioShack
Chicago, Il 60630                         15942      6/17/2016 Corporation                                                     $46.70                                                                                           $46.70
Lee Greer
8570 Howells Ferry Road                                        RS Legacy Corporation fka RadioShack
Semmes, AL 36575                          15943      6/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Narciso Escalera
190 NW Cody Ct                                                 RS Legacy Corporation fka RadioShack
Hillsboro, OR 97124                       15944      6/18/2016 Corporation                                                      $0.00                                                                                            $0.00



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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Jenna Herring
101 Holly Ridge Drive                                          RS Legacy Corporation fka RadioShack
Bluffton, SC 29910                        15945      6/18/2016 Corporation                                                     $15.74                                                                                           $15.74
Jacop Snyder
784 e greenwood ct                                             RS Legacy Corporation fka RadioShack
Haysville, Ks 67060                       15946      6/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Gangadhar Vinnakota
1370 Beechdrop CT                                              RS Legacy Corporation fka RadioShack
Yardley, PA 19067                         15947      6/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Maria Victoria Salazar
651 152nd Ave NE                                               RS Legacy Corporation fka RadioShack
Bellevue, WA 98007                        15948      6/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Benaissa grouicha
74 midwood lane                                                RS Legacy Corporation fka RadioShack
Boynton beach, Florida 33436              15949      6/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Kyle Day
4857 Puritan Circle                                            RS Legacy Corporation fka RadioShack
Tampa, Fl 33617                           15950      6/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Susan Ferdman
4757 Don Pio Drive                                             RS Legacy Corporation fka RadioShack
Woodland Hills, CA 91364                  15951      6/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Lieu Vo Clark
226 Delta Dr                                                   RS Legacy Corporation fka RadioShack
Mandeville, LA 70448                      15952      6/18/2016 Corporation                                                    $100.00                                                                                          $100.00
James J. O'Hara
5960 Volkerts Road                                             RS Legacy Corporation fka RadioShack
Sebastopol, CA 95472                      15953      6/18/2016 Corporation                                                     $65.27                                                                                           $65.27
James J. O'Hara
5960 Volkerts Road                                             RS Legacy Corporation fka RadioShack
Sebastopol, CA 95472                      15954      6/18/2016 Corporation                                                     $43.67                                                                                           $43.67
Tyler Bickel
30471 Marbella Vista                                           RS Legacy Corporation fka RadioShack
San Juan Capistrano, CA 92675             15955      6/19/2016 Corporation                                                     $24.77                                                                                           $24.77
Tyler Bickel
30471 Marbella Vista                                           RS Legacy Corporation fka RadioShack
San Juan Capistrano, CA 92675             15956      6/19/2016 Corporation                                                     $21.54                                                                                           $21.54
Beqir Grajcevci
951 Hopmeadow St APT # 11                                      RS Legacy Corporation fka RadioShack
SImsbury, CT 06070                        15957      6/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Beqir Grajcevci
951 Hopmeadow St APT #11                                       RS Legacy Corporation fka RadioShack
Simsbury, CT 06070                        15958      6/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Jeanetta Spencer
15604 Westview Ave                                             RS Legacy Corporation fka RadioShack
Cleveland, Ohio 44128                     15959      6/19/2016 Corporation                                                    $100.00                                                                                          $100.00
James Hsu
201 West 5th Avenue                                            RS Legacy Corporation fka RadioShack
San Mateo, CA 94402                       15960      6/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Doris Newman
1508 NE 24th St                                                RS Legacy Corporation fka RadioShack
Wilton Manors, FL 33305                   15961      6/19/2016 Corporation                                                     $50.00                                                                                           $50.00




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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Rosalba Moscato
1386 Island Cottage Road                                       RS Legacy Corporation fka RadioShack
Rochester, NY 14612                       15962      6/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Avi Jacobson
918 Ventura Avenue                                             RS Legacy Corporation fka RadioShack
Albany, CA 94707‐2123                     15963      6/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Arnold Smith
4687 N. Kasson                                                 RS Legacy Corporation fka RadioShack
Chicago, Ill 60630                        15964      6/19/2016 Corporation                                                     $27.36                                                                                           $27.36
Arnold Smith
4687 N. Kasson                                                 RS Legacy Corporation fka RadioShack
Chicago, ILL 60630                        15965      6/19/2016 Corporation                                                     $23.30                                                                                           $23.30
Arnold Smith
4687 N. Kasson                                                 RS Legacy Corporation fka RadioShack
Chicago, Ill 60630                        15966      6/19/2016 Corporation                                                     $50.00                                                                                           $50.00
Dennis Miller
6301 Acacia Street                                             RS Legacy Corporation fka RadioShack
Los Angeles, CA 90056                     15967      6/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Christina Davis
404 S Shoreline Dr                                             RS Legacy Corporation fka RadioShack
Liberty Lake, WA 99019                    15968      6/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Jennifer Och
12185 upper 167th St. W                                        RS Legacy Corporation fka RadioShack
Lakeville, MN 55044                       15969      6/20/2016 Corporation                                                     $50.00                                                                                           $50.00
Lauren McPherson
97 Columbia St. Unit 2                                         RS Legacy Corporation fka RadioShack
Cambridge, MA 02139                       15970      6/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Barbara Heller
1207 Starmount Lane‐                                           RS Legacy Corporation fka RadioShack
Bel Air, MD 21015                         15971      6/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Mark Sevi
2437 Elden Avenue #A2                                          RS Legacy Corporation fka RadioShack
Costa Mesa, CA 92627                      15972      6/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Anderson Lee Royston II
3501 Barrington Dr.                                            RS Legacy Corporation fka RadioShack
Gastonia, NC 28056                        15973      6/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Scott Keesling
15241 NE 153rd St.                                             RS Legacy Corporation fka RadioShack
Woodinville, WA 98072                     15974      6/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Sarah Brohl
701 Linclon Ave NW                                             RS Legacy Corporation fka RadioShack
Grand Rapids, MI 49504                    15975      6/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Scott Levering
4137 24th Pl S                                                 RS Legacy Corporation fka RadioShack
Seattle, WA 98108                         15976      6/20/2016 Corporation                                                      $0.00                                                                                            $0.00
PAUL CRICKS
260 LAQUINTA DRIVE                                             RS Legacy Corporation fka RadioShack
GLENDORA, CA 91741                        15977      6/20/2016 Corporation                                                     $80.00                                                                                           $80.00
Katherine Catacleesi
6062 Arroyo Road, Unit 4                                       RS Legacy Corporation fka RadioShack
Palm Springs, CA 92264                    15978      6/20/2016 Corporation                                                     $35.30                                                                                           $35.30




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Amy Storch
12798 218th Street West                                        RS Legacy Corporation fka RadioShack
Waterville, MN 56096                      15979      6/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Christina hurtado
2112 jefferson pl                                              RS Legacy Corporation fka RadioShack
Everett, Wa 98203                         15980      6/20/2016 Corporation                                                    $242.47                                                                                          $242.47
Natalia del rio
5086 millennia green dr                                        RS Legacy Corporation fka RadioShack
Orlando, Fl 32811                         15981      6/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Kirkland Jue
265 Los Palmos Drive                                           RS Legacy Corporation fka RadioShack
San Francisco, CA 94127                   15982      6/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Spitzner, Lisa
45 Quincy RD                                                   RS Legacy Corporation fka RadioShack
Basking Ridge, NJ 07920                   15983      6/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Cahoon, Ray
10 Patriots Landing                                            RS Legacy Corporation fka RadioShack
Essex, MA 01929                           15984      6/21/2016 Corporation                                                     $61.88                                                                                           $61.88
Cook, Alfred
PO Box 16931                                                   RS Legacy Corporation fka RadioShack
Fernandina Beach, FL 32035                15985      6/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Piepho, Richard
PO Box 365                                                     RS Legacy Corporation fka RadioShack
Monterey, MA 01245                        15986      6/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Gregg, Natalie Corridan
181 Maple Ave                                                  RS Legacy Corporation fka RadioShack
Schrewsbury, MA 01545                     15987      6/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Honcharik, Gary
23 Angela Place                                                RS Legacy Corporation fka RadioShack
Mahopac, NY 10541                         15988      6/21/2016 Corporation                                                     $22.00                                                                                           $22.00
Gregg, Natalie Corridan
181 Maple Ave                                                  RS Legacy Corporation fka RadioShack
Shrewsbury, MA 01545                      15989      6/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Pielacha, Steven
6052 E Rosewood                                                RS Legacy Corporation fka RadioShack
Tuscon, AZ 85716                          15990      6/21/2016 Corporation                                                     $21.61                                                                                           $21.61
Shorck, Karen
22810 Trailwood Lane                                           RS Legacy Corporation fka RadioShack
Tomball, TX 77375                         15991      6/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Maria Mayol
651 strange rd lot 55                                          RS Legacy Corporation fka RadioShack
taylors, sc 29687                         15992      6/21/2016 Corporation                                                      $0.00                                                                                            $0.00
jack C cox
4853 Triple Crown Court                                        RS Legacy Corporation fka RadioShack
Middleton, WI 53562                       15993      6/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Rodrigo Mogrovejo
86‐15 85th Street                                              RS Legacy Corporation fka RadioShack
Woodhaven, NY 11421                       15994      6/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael Cooper
14634 South Hearthstone Green Dr                               RS Legacy Corporation fka RadioShack
Houston, TX 77095                         15995      6/21/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Janie Kagy
1945 Racimo Dr                                                 RS Legacy Corporation fka RadioShack
Sarasota, FL 34240                        15996      6/21/2016 Corporation                                                     $20.33                                                                                           $20.33
Vivian Daywood
2501 Rock Terrace Drive                                        RS Legacy Corporation fka RadioShack
Austin, Texas 78704                       15997      6/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Jeffrey Rowley
34 Higgins st                                                  RS Legacy Corporation fka RadioShack
Springfield, Ma 01108                     15998      6/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Elizabeth Kness
5603 TILDEN ST                                                 RS Legacy Corporation fka RadioShack
FORT COLLINS, CO 80528                    15999      6/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Alenka Kalinski
2000 NE Kelsey Lane                                            RS Legacy Corporation fka RadioShack
Issaquah, WA 98029                        16000      6/21/2016 Corporation                                                     $20.00                                                                                           $20.00
Austin Benbow
4651 East 85 South                                             RS Legacy Corporation fka RadioShack
Marion, Indiana 46953                     16001      6/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Natalie Reber
2721 1st ave 607                                               RS Legacy Corporation fka RadioShack
Seattle, wa 98121                         16002      6/21/2016 Corporation                                                     $69.00                                                                                           $69.00
Dianne Ziemba
118 Woodcrest Drive                                            RS Legacy Corporation fka RadioShack
Coraopolis, pa 15108                      16003      6/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Garcia, Lawrence Joseph
1849 E HELMICK ST                                              RS Legacy Corporation fka RadioShack
CARSON, CA 90746                          16004      5/27/2016 Corporation                                                    $300.00                                                                                          $300.00
Cameron, John
825 Portside Ct                                                RS Legacy Corporation fka RadioShack
Oshkosl, WI 54901                         16005      5/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Sliva, Ivan
890 E Lynx Way                                                 RS Legacy Corporation fka RadioShack
Chandler, AZ 85249                        16006      5/27/2016 Corporation                                                     $24.35                                                                                           $24.35
Puffer, Matt
17215 Mallet Hill Dr                                           RS Legacy Corporation fka RadioShack
Louisville, KY 40245                      16007      5/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Heaps, Lora
12790 Yates Cir                                                RS Legacy Corporation fka RadioShack
Broomfield, CO 80020                      16008      5/27/2016 Corporation                                                                                                                                                       $0.00
Swain, Janice
616 Edmands Road                                               RS Legacy Corporation fka RadioShack
Framingham, MA 01701                      16009      6/27/2016 Corporation                                                    $104.98                                                                                          $104.98
Mello, Douglas P.
7 Weeden Place                                                 RS Legacy Corporation fka RadioShack
Fairhaven, MA 02719                       16010      5/27/2016 Corporation                                                                                                                                                       $0.00
Cesar Marquez
2400 Westheimer Rd #121W                                       RS Legacy Corporation fka RadioShack
Houston, TX 77098                         16011      6/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Nangle, Patricia
10A Triumph Ct.                                                RS Legacy Corporation fka RadioShack
East Rutherford, NJ 07073                 16012      5/29/2016 Corporation                                                     $50.00                                                                                           $50.00




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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Kelly, Tracy
10921 Baylor road                                              RS Legacy Corporation fka RadioShack
Meridian, MS 39305                        16013      5/30/2016 Corporation                                                    $100.00                                                                                          $100.00
Fettig, Chuck
3907 SW Tunnelwood Street                                      RS Legacy Corporation fka RadioShack
Portland, OR 97221                        16014      5/31/2016 Corporation                                                                                                                                                       $0.00
Figg, Laurie/Raymond
528 Madrid Blvd                                                RS Legacy Corporation fka RadioShack
Punta Gorda, FL 33950                     16015      5/31/2016 Corporation                                                                                                                                                       $0.00
Sciacca, Nancy
5469 Exuma Pl.                                                 RS Legacy Corporation fka RadioShack
Sarasota, FL 34233                        16016      5/31/2016 Corporation                                                     $64.19                                                                                           $64.19
Reed, Claire A.
31 Bosson St.                                                 RS Legacy Corporation fka RadioShack
Revere, MA 02151                          16017      6/3/2016 Corporation                                                                                                                                                        $0.00
aaron sander
1037 north laurel ave. #6A                                     RS Legacy Corporation fka RadioShack
los angeles, ca 90046                     16018      6/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Cobblestone Shopping Center
c/o Hannay Realty Advisors
Mike Lewis
28 Hartnell Avenue                                             RS Legacy Corporation fka RadioShack
Redding, CA 96002                         16019      5/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Gates, Robert
595 E. 100 South                                               RS Legacy Corporation fka RadioShack
Morgan, UT 84050                          16020      5/31/2016 Corporation                                                     $50.39                                                                                           $50.39
Heaps, Lora
12790 Yates Cir                                                RS Legacy Corporation fka RadioShack
Broomfield, CO 80020                      16021      5/27/2016 Corporation                                                                                                                                                       $0.00
Fiona Bain
463 Jones Hollow Rd                                            RS Legacy Corporation fka RadioShack
Marlborough, Connecticut 06447            16022      6/21/2016 Corporation                                                     $13.23                                                                                           $13.23
Lawson, Terry Lee
242 Lonnie Lane                                                RS Legacy Corporation fka RadioShack
Kingsville, TX 78363                      16023      5/31/2016 Corporation                                                                                                                                                       $0.00
Rosmeri Gusman
7648 SE Henderson St Apt #A                                    RS Legacy Corporation fka RadioShack
Portland, OR 97206                        16024      6/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Bailey Enterprises, Incorporated
Ann Gustin
Po Box 1326                                                   RS Legacy Corporation fka RadioShack
Riverton, WY 82501                        16025      6/1/2016 Corporation                                                      $50.00                                                                                           $50.00
Bruce Pesola
595 Forestville Basin Tr                                      RS Legacy Corporation fka RadioShack
Marquette, MI 49855                       16026      6/3/2016 Corporation                                                       $0.00                                                                                            $0.00
Young, Siria
4106 Lincoln Pl. Dr.                                          RS Legacy Corporation fka RadioShack
Des Moines, IA 50312                      16027      6/3/2016 Corporation                                                      $37.09                                                                                           $37.09
Conte, Christopher
107 E Neck Rd                                                 RS Legacy Corporation fka RadioShack
Huntington, NY 11743                      16028      6/3/2016 Corporation                                                      $18.49                                                                                           $18.49




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Rajiv Shah
30025 Gladstone St                                             RS Legacy Corporation fka RadioShack
FARMINGTN HLS, MI 48334                   16029      6/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Watts, Anne M.
PO Box 338                                                    RS Legacy Corporation fka RadioShack
Seabrook, NH 03874                        16030      6/3/2016 Corporation                                                                                                                                                        $0.00
Welch, Cynthia
10024 Mayfair Rd                                              RS Legacy Corporation fka RadioShack
Jacksonville, AR 72076                    16031      6/3/2016 Corporation                                                                                                                                                        $0.00
Ellis, Dale
408 Hilltop Circle                                            RS Legacy Corporation fka RadioShack
Elizabethtown , PA 17022                  16032      6/3/2016 Corporation                                                       $0.00                                                                                            $0.00
Jackie Bral
13030 Evanston Street                                          RS Legacy Corporation fka RadioShack
Los Angeles, CA 90049                     16033      6/21/2016 Corporation                                                    $151.53                                                                                          $151.53
Engemann, Randy E.
1447 E. 8th St.                                               RS Legacy Corporation fka RadioShack
Washington, MO 63090                      16034      6/3/2016 Corporation                                                      $50.00                                                                                           $50.00
Francisco A. Lopez Jr
633 Arroyo drive #303                                          RS Legacy Corporation fka RadioShack
Durango, Co. 81301                        16035      6/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Collins, Sherwin
121 Shearer St                                                RS Legacy Corporation fka RadioShack
North Wales, PA 19454                     16036      6/3/2016 Corporation                                                                                                                                                        $0.00
Bouthillin, Claude P.
8283 Tracy Circle                                             RS Legacy Corporation fka RadioShack
Pt. Charlotte, FL 33981                   16037      6/3/2016 Corporation                                                      $16.04                                                                                           $16.04
Mascarenhas, Reagan
12268 Greco Dr.                                               RS Legacy Corporation fka RadioShack
Orlando, FL 32824                         16038      6/3/2016 Corporation                                                      $85.19                                                                                           $85.19
Engemann, Margaret
328 Meadow Dr.                                                RS Legacy Corporation fka RadioShack
Washington, MO                            16039      6/3/2016 Corporation                                                      $50.00                                                                                           $50.00
Reilly, Ann Marie
137 Mohawk St. #2                                             RS Legacy Corporation fka RadioShack
Cowes, NY 12047                           16040      6/3/2016 Corporation                                                                                                                                                        $0.00
Shea, Barbara
20 Westview Ave                                               RS Legacy Corporation fka RadioShack
Shrewsbury, MA 01545                      16041      6/3/2016 Corporation                                                      $11.65                                                                                           $11.65
Jones, Misty
1212 East 8th Street                                          RS Legacy Corporation fka RadioShack
Anderson, IN 46040                        16042      6/3/2016 Corporation                                                                                                                                                        $0.00
Martin, Virginia T.
1118 5th Avenue #717                                          RS Legacy Corporation fka RadioShack
Seattle, WA 98101                         16043      6/3/2016 Corporation                                                                                                                                                        $0.00
Hercules, Verna
PO Box 502224                                                 RS Legacy Corporation fka RadioShack
St. Thomas, VI 00805                      16044      6/3/2016 Corporation                                                                                                                                                        $0.00
Cima, Tracey
2622 Glenchester Rd                                           RS Legacy Corporation fka RadioShack
Wexford, PA 15096                         16045      6/3/2016 Corporation                                                      $10.31                                                                                           $10.31




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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Claim Docketed In Error                                       RS Legacy Corporation fka RadioShack
                                          16046      6/8/2016 Corporation                                                                                                                                                        $0.00
Perot, Suzanne
P.O. Box 525                                                  RS Legacy Corporation fka RadioShack
Sonoma, CA 95476                          16047      6/3/2016 Corporation                                                      $24.47                                                                                           $24.47
Dennis Ermel
11335 Mariposa Way                                            RS Legacy Corporation fka RadioShack
Sandy, UT 84094                           16048      6/7/2016 Corporation                                                                                                                                                        $0.00
Ermel, Dennis R.
11335 Mariposa Way                                            RS Legacy Corporation fka RadioShack
Sandy, UT 84094                           16049      6/7/2016 Corporation                                                                                                                                                        $0.00
Dennis Ermel
11335 Mariposa Way                                            RS Legacy Corporation fka RadioShack
Sandy, UT 84094                           16050      6/7/2016 Corporation                                                                                                                                                        $0.00
Dennis Ermel
11335 Mariposa Way                                            RS Legacy Corporation fka RadioShack
Sandy, UT 84094                           16051      6/7/2016 Corporation                                                                                                                                                        $0.00
Roberts, Tiffany
467 38th                                                      RS Legacy Corporation fka RadioShack
Oakland, CA 54609                         16052      6/8/2016 Corporation                                                      $10.00                                                                                           $10.00
Claim Docketed In Error                                       RS Legacy Corporation fka RadioShack
                                          16053      6/8/2016 Corporation                                                                                                                                                        $0.00
Janssens, Carol
PO Box 110                                                    RS Legacy Corporation fka RadioShack
Fairfax Station, VA 22039                 16054      6/9/2016 Corporation                                                                                                                                                        $0.00
Janssens, Carol
PO Box 110                                                    RS Legacy Corporation fka RadioShack
Fairfax Station, VA 22039                 16055      6/9/2016 Corporation                                                                                                                                                        $0.00
Dendy, William A.
181 Lewis Ave                                                  RS Legacy Corporation fka RadioShack
Brooklyn, NY 11221                        16056      6/17/2016 Corporation                                                                                                                                                       $0.00
Kristi Griggs
2692 Lunsford Road                                             RS Legacy Corporation fka RadioShack
Summerfield, NC 27358                     16057      6/22/2016 Corporation                                                    $100.00                                                                                          $100.00
Andrew Chan
596 Enos St.                                                   RS Legacy Corporation fka RadioShack
Fremont, CA 94539                         16058      6/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Segovia, Marlene
3351 NW 21st Ct                                               RS Legacy Corporation fka RadioShack
Coconut Creek, FL 33066                   16059      6/5/2016 Corporation                                                                                           $36.95               $0.00                                  $36.95
Piepho, Richard
PO Box 365                                                    RS Legacy Corporation fka RadioShack
Monterey, MA 01245                        16060      6/7/2016 Corporation                                                       $0.00                                                                                            $0.00
Thayer, Sonia
Beneficiary to David Thayer
342 Osage Street                                              RS Legacy Corporation fka RadioShack
Wauconda, IL 60084                        16061      6/8/2016 Corporation                                                                      $1,932.57                                                                     $1,932.57
Harmon, Glenn
3633 LAURASHAWN LN                                            RS Legacy Corporation fka RadioShack
ESCONDIDO, CA 92026                       16062      6/8/2016 Corporation                                                      $45.00                                                                                           $45.00




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Barron, Lisa
2315 NE 195 St.                                               RS Legacy Corporation fka RadioShack
Miami, FL 33180                           16063      6/8/2016 Corporation                                                       $0.00                                                                                            $0.00
Neshat, David
22340 N 77th way                                              RS Legacy Corporation fka RadioShack
Scottsdale, AZ 85255                      16064      6/9/2016 Corporation                                                      $35.00                                                                                           $35.00
Karacas, Greg
6318 Costello Ave.                                            RS Legacy Corporation fka RadioShack
Van Nuys, CA 91401                        16065      6/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Baum, Frank R.
200 Kalepa Place                                              RS Legacy Corporation fka RadioShack
Kahului, HI 96732‐2471                    16066      6/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Swank, Bonnie
645 Lanini Drive                                              RS Legacy Corporation fka RadioShack
Hollister, CA 95023                       16067      6/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Schindler, Emily
30 Peter Parley Rd.                                            RS Legacy Corporation fka RadioShack
Boston, MA 02130                          16068      6/10/2016 Corporation                                                     $20.18                                                                                           $20.18
Donelan, Valerie
1064 S. Ridge Rd                                               RS Legacy Corporation fka RadioShack
Lantana, FL 33462                         16069      6/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Rahelan, Masoud
PO Box 607                                                     RS Legacy Corporation fka RadioShack
San Juan Capistrano, CA 92693             16070      6/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Russo, R.
P.O. Box 665                                                   RS Legacy Corporation fka RadioShack
Port Richey, FL 34673                     16071      6/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Harvey, Russell
3703 Homeland Dr                                               RS Legacy Corporation fka RadioShack
Nashville, TN 37218                       16072      6/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Ginn, Robert E
11854 Pebblewood Dr., Apt.102                                  RS Legacy Corporation fka RadioShack
Wellington , FL 33414                     16073      6/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Charron, Thomas
209 Cliff Rd.                                                  RS Legacy Corporation fka RadioShack
Wellesley, MA 02481                       16074      6/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Reed, James
69 Carlisle Road                                               RS Legacy Corporation fka RadioShack
Toms River, NJ 08757                      16075      6/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Contreras, Luz E Santana
Urb. Santa Clara #160 Calle 4                                  RS Legacy Corporation fka RadioShack
San Lorenzo, PR 00754‐3221                16076      6/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Lancia, Dolores
137 N. Ridge St                                                RS Legacy Corporation fka RadioShack
Rye Brook, NY 10573                       16077      6/13/2016 Corporation                                                     $10.73                                                                                           $10.73
Gaffney, Gerard
29 Hall Road                                                   RS Legacy Corporation fka RadioShack
Easton, CT 06612                          16078      6/13/2016 Corporation                                                     $79.00                                                                                           $79.00
Dias, George R.
1116 Buchanan Drive                                            RS Legacy Corporation fka RadioShack
Santa Clara, CA 95051‐3915                16079      6/14/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Davis, Lydia D
1115 Ashpark Lane                                              RS Legacy Corporation fka RadioShack
Harbor City, CA 90710                     16080      6/15/2016 Corporation                                                     $11.32                                                                                           $11.32
Driggs, Adam
176 Lincoln Drive                                              RS Legacy Corporation fka RadioShack
Glastonbury, CT 06033                     16081      6/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Alexander Baroev
9499 Collins Ave
#805                                                           RS Legacy Corporation fka RadioShack
Surfside, FL 33154                        16082      6/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Ortega, German
1854 Lagonda Ave                                               RS Legacy Corporation fka RadioShack
Fort Worth, TX 76164                      16083      6/13/2016 Corporation                                                                         $0.00                                                                         $0.00
Peregrin, Sheila
508 Amesbury Road                                              RS Legacy Corporation fka RadioShack
Lancaster, PA 17601                       16084      6/20/2016 Corporation                                                     $35.00                                                                                           $35.00
Shorck, Kenneth A.
22810 Trialwood Lane                                           RS Legacy Corporation fka RadioShack
Tomball, TX 77375                         16085      6/20/2016 Corporation                                                     $13.94                                                                                           $13.94
Cumbo, Suzanne
28257 Driver Ave                                               RS Legacy Corporation fka RadioShack
Agoura Hills, CA 91301                    16086      6/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Shorck, Karen
22810 Trailwood Lane                                           RS Legacy Corporation fka RadioShack
Tomball, TX 77375                         16087      6/20/2016 Corporation                                                     $75.00                                                                                           $75.00
Poliseno, Rosalin
PO Box 27                                                      RS Legacy Corporation fka RadioShack
Sea Cliff, NY 11579                       16088      6/20/2016 Corporation                                                    $127.00                                                                                          $127.00
Macias, Rose
2617 Tiller Ave                                                RS Legacy Corporation fka RadioShack
Port Hueneme, CA 93041                    16089      6/20/2016 Corporation                                                     $10.80                                                                                           $10.80
Ernest, Darren
294 6th Avenue                                                 RS Legacy Corporation fka RadioShack
Saint James, NY 11780                     16090      6/20/2016 Corporation                                                     $32.65                                                                                           $32.65
Otto, Gustav A.
3701 Tonganoxie Rd                                             RS Legacy Corporation fka RadioShack
Leavenworth, KS 66048                     16091      6/20/2016 Corporation                                                     $41.99                                                                                           $41.99
Whalen, Mathew
14 Old Cabin Rd                                                RS Legacy Corporation fka RadioShack
Newtown, PA 18940                         16092      6/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Felton, Nova L.
8031 Noel Ct.                                                  RS Legacy Corporation fka RadioShack
St. Louis, MO 63130                       16093      6/20/2016 Corporation                                                     $25.00                                                                                           $25.00
Johnson, Terrill
345 Ilyssa Way                                                 RS Legacy Corporation fka RadioShack
Staten Island, NY 10312                   16094      6/20/2016 Corporation                                                    $237.63                                                                                          $237.63
Davis, Douglas K.
7307 Jameson Drive                                             RS Legacy Corporation fka RadioShack
Amarillo, TX 79121                        16095      6/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Lipinski, Richard J.
51 Dale Street                                                 RS Legacy Corporation fka RadioShack
Dedham, MA 02026                          16096      6/20/2016 Corporation                                                      $0.00                                                                                            $0.00



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                                                                                                                  Current General                                            Current 503(b)(9)
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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Hunter, Harry
435 Riley Pridgeon Rd.                                         RS Legacy Corporation fka RadioShack
Pierson, FL 32180                         16097      6/20/2016 Corporation                                                     $69.22                                                                                           $69.22
Hammouda, Nahed I.
2613 Old Tavern Road                                           RS Legacy Corporation fka RadioShack
Lisle, IL 60532                           16098      6/20/2016 Corporation                                                     $60.00                                                                                           $60.00
Morrison, Sharon J.
8566 S. 83rd                                                   RS Legacy Corporation fka RadioShack
Hickory Hills, IL 60457                   16099      6/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Gregg, Natalie Corridan
181 Maple Ave                                                  RS Legacy Corporation fka RadioShack
Shrewsbury, MA 01545                      16100      6/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Ayyash, Heidi
1640 Westfield St.                                             RS Legacy Corporation fka RadioShack
Oakhurst, NJ 07755                        16101      6/20/2016 Corporation                                                    $100.00                                                                                          $100.00
bonnie martin
7021 epping dr.                                                RS Legacy Corporation fka RadioShack
canton, mi 48187                          16102      6/27/2016 Corporation                                                     $60.00                                                                                           $60.00
King, Olga
6161 doniphan trlr 71                                          RS Legacy Customer Service LLC fka RadioShack
El Paso, TX 79932                         16103      6/25/2016 Customer Service LLC                                            $30.00                                                                                           $30.00
Kendra Chaikind
91 Monte Cresta Ave Apt B                                      RS Legacy Corporation fka RadioShack
Oakland, CA 94611                         16104      6/27/2016 Corporation                                                      $0.00                                                                                            $0.00
cary nation
1400 nw 9th av #16                                             RS Legacy Corporation fka RadioShack
Boca Raton, Fl 33486                      16105      6/27/2016 Corporation                                                     $21.29                                                                                           $21.29
alison briggs
827 poinsettia dr                                              RS Legacy Corporation fka RadioShack
eustis, florida 32726                     16106      6/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Charles Borchers
3800 Corinne Ave                                               RS Legacy Corporation fka RadioShack
Chalmette, La. 70043                      16107      6/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Ian Collett
4406 Decoursey Ave                                             RS Legacy Corporation fka RadioShack
Covington, Kentucky 41015                 16108      6/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Amy Treacy
60 Old Wood Road                                               RS Legacy Corporation fka RadioShack
Morris Plains, NJ 07950                   16109      6/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Larry Caudill
8520 W NC Hwy 268                                              RS Legacy Corporation fka RadioShack
Boomer, NC 28606                          16110      6/27/2016 Corporation                                                      $0.00                                                                                            $0.00
sanmuga sivaswarupan
4 westside place                                               RS Legacy Corporation fka RadioShack
san ramon, CA 94583                       16111      6/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Sydney Cinalli
1228 SW 14th Avenue                                            RS Legacy Corporation fka RadioShack
Gainesville, FL 32601                     16112      6/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Stanley Marc Pruyser
1403 Makiki Street, B203                                       RS Legacy Corporation fka RadioShack
Honolulu, HI 96814                        16113      6/27/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
ben annab
416 perez st                                                   RS Legacy Corporation fka RadioShack
south houston, tx 77587                   16114      6/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Alan Wolf
3702 24th st                                                   RS Legacy Corporation fka RadioShack
Lubbock, Tx 79410                         16115      6/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Claudia Jones
19478 NW 24th Pl                                               RS Legacy Corporation fka RadioShack
Pembroke Pines, Fl 33029                  16116      6/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Jessica moore
1303 kimmie lane                                               RS Legacy Corporation fka RadioShack
Florence, Sc 29506                        16117      6/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Mike Lee
18 Glenn Drive                                                 RS Legacy Corporation fka RadioShack
Woodbury, NY 11797                        16118      6/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Megan O'Donnell
65 Georgia Ave                                                 RS Legacy Corporation fka RadioShack
Long Beach, NY 11561                      16119      6/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Rhoda Noori
2118 Wilshire Blvd. #855                                       RS Legacy Corporation fka RadioShack
Santa Monica, Ca 90403                    16120      6/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Sandy Cohen
12263 SW 144 Ter                                               RS Legacy Corporation fka RadioShack
Miami, FL 33186‐7474                      16121      6/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Angie Adams
219 W Madison St                                               RS Legacy Corporation fka RadioShack
Belvidere, IL 61008                       16122      6/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Charles Ferris
PO Box 63                                                      RS Legacy Corporation fka RadioShack
Monterey, MA 01245, 1245 617 Main         16123      6/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Kaarn Luce
1311 Kristin Drive                                             RS Legacy Corporation fka RadioShack
Libertyville, IL 60048                    16124      6/28/2016 Corporation                                                     $34.05                                                                                           $34.05
Dustin Holmes
4180 Golf Club Dr                                              RS Legacy Corporation fka RadioShack
Colorado Springs, Colorado 80922          16125      6/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Jill Wood
7335 W. Canyon Rd                                              RS Legacy Corporation fka RadioShack
Tulsa, OK 74131                           16126      6/28/2016 Corporation                                                     $17.00                                                                                           $17.00
Jill Wood
7335 W. Canyon Rd                                              RS Legacy Corporation fka RadioShack
Tulsa, OK 74131                           16127      6/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Moizz Akhtar
106 Kraml Dr.                                                  RS Legacy Corporation fka RadioShack
BurrRidge, IL 60527                       16128      6/28/2016 Corporation                                                     $15.27                                                                                           $15.27
Kevin Gustafson
13104 Armstrong Road                                           RS Legacy Corporation fka RadioShack
South Rockwood, MI 48179                  16129      6/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Kevin Gustafson
13104 Armstrong Road                                           RS Legacy Corporation fka RadioShack
South Rockwood, MI 48179                  16130      6/28/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Danielle Working
668 Cranford Drive                                             RS Legacy Corporation fka RadioShack
Cincinnati, Ohio 45240                    16131      6/28/2016 Corporation                                                     $60.00                                                                                           $60.00
Luis E Pardo
1204 Alton St                                                  RS Legacy Corporation fka RadioShack
Wilmington, CA 90744                      16132      6/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert Avila Garcia
10314 Capistrano Ave                                           RS Legacy Corporation fka RadioShack
South Gate, CA 90280                      16133      6/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Gregory Fabio
61 Mallard Dr                                                  RS Legacy Corporation fka RadioShack
Greenwich, CT 06830                       16134      6/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Cathy Sorensen
15716 Walnut Meadows Drive                                     RS Legacy Corporation fka RadioShack
Grimes, IA 50111                          16135      6/29/2016 Corporation                                                     $48.14                                                                                           $48.14
Shellon Holloway
11105 Prospect Hill Road                                       RS Legacy Corporation fka RadioShack
Glenn Dale, Maryland 20769                16136      6/29/2016 Corporation                                                     $25.00                                                                                           $25.00
Mandy Richter
44 rt 1                                                        RS Legacy Corporation fka RadioShack
indian township, ME 04668                 16137      6/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Samuel Lewis
2358 Placita la Marquesina                                     RS Legacy Corporation fka RadioShack
Santa Fe, NM 87507                        16138      6/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Sunil Idnany
2823 San Leandro Blvd. Apt 101                                 RS Legacy Corporation fka RadioShack
San Leandro, CA 94578                     16139      6/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Eugene Carter
8392 Lakeview Dr.                                              RS Legacy Corporation fka RadioShack
Ypsilanti, MI 48198                       16140      6/29/2016 Corporation                                                    $100.00                                                                                          $100.00
Michelle Warner
9511 Short Line Court                                          RS Legacy Corporation fka RadioShack
West Chester, OH 45069                    16141      6/29/2016 Corporation                                                     $53.24                                                                                           $53.24
Beth Spieth
330 Winchester Drive                                           RS Legacy Corporation fka RadioShack
Algonquin, IL 60102                       16142      6/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Suzanne Piluso
5124 SE 85th Avenue                                            RS Legacy Corporation fka RadioShack
Portland, OR 97266                        16143      6/29/2016 Corporation                                                      $0.00                                                                                            $0.00
karen kenney
108 flying ebony pl                                            RS Legacy Corporation fka RadioShack
havre de grace, md 21078                  16144      6/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Jon Hollis
2494 Tower Drive                                               RS Legacy Corporation fka RadioShack
Eureka, CA 95503                          16145      6/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Bogdan Grytsiv
107 CORNELIA STREET APT 3R                                     RS Legacy Corporation fka RadioShack
BROOKLYN, NY 11221                        16146      6/29/2016 Corporation                                                    $180.00                                                                                          $180.00
James DiMeo
626 Wilshire blvd; Ste 320                                     RS Legacy Corporation fka RadioShack
los angeles, ca 90017                     16147      6/29/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Sandy Amarante
1017 Mulberry Street                                           RS Legacy Corporation fka RadioShack
Chester Springs, PA 19425                 16148      6/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Sandy Amarante
1017 Mulberry Street                                           RS Legacy Corporation fka RadioShack
Chester Springs, PA 19425                 16149      6/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Sandy Amarante
1017 Mulberry Street                                           RS Legacy Corporation fka RadioShack
Chester Springs, PA 19425                 16150      6/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Renee Wilson
764 E 146th Street                                             RS Legacy Corporation fka RadioShack
Dolton, Il 60419                          16151      6/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Christina Batson
PO BOX 200266                                                  RS Legacy Corporation fka RadioShack
JAMAICA, NY 11420                         16152      6/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Gabriella Brotherton
208 Country Chase Court                                        RS Legacy Corporation fka RadioShack
Glen Burnie, MD 21061                     16153      6/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Ciana LaGrone
2857 Liberty Landing Ct                                        RS Legacy Corporation fka RadioShack
Florissant, MO 63033                      16154      6/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Srinivas Narashimalu
4890 Spring park Circle                                        RS Legacy Corporation fka RadioShack
Suwanee, GA 30024                         16155      6/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Caroline Bowman
3300 Lang lane                                                 RS Legacy Corporation fka RadioShack
Brooklet, GA 30458                        16156      6/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Leland Lee
252 West 23rd Place                                            RS Legacy Corporation fka RadioShack
Chicago, IL 60616                         16157      6/30/2016 Corporation                                                     $76.49                                                                                           $76.49
Vladimir Tsoy
1600 Grouse Run Cir                                            RS Legacy Corporation fka RadioShack
Roseville, CA 95747                       16158      6/30/2016 Corporation                                                     $64.79                                                                                           $64.79
Todd Lewis
117 s. 1st st.                                                 RS Legacy Corporation fka RadioShack
Geneva, Il 60134                          16159      6/30/2016 Corporation                                                     $90.00                                                                                           $90.00
Jonathan Berliner
2500 Q St NW Apt 307                                           RS Legacy Corporation fka RadioShack
Washington, DC 20007                      16160      6/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Jason Fogarty
1904 McClung Ave.                                              RS Legacy Corporation fka RadioShack
Knoxville, TN 37920                       16161      6/30/2016 Corporation                                                     $25.00                                                                                           $25.00
Mohammad Khan
6828 E 83rd St                                                 RS Legacy Corporation fka RadioShack
Tulsa, OK 74133                           16162      6/30/2016 Corporation                                                     $39.99                                                                                           $39.99
Jonathan Tam
103 Flying cloud Isle                                          RS Legacy Corporation fka RadioShack
Foster City, ca 94404                     16163      6/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Lisa Giovannetti
7712 Belgrave Ave                                              RS Legacy Corporation fka RadioShack
Garden Grove, CA 92841                    16164      6/30/2016 Corporation                                                     $53.99                                                                                           $53.99




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
manish shah
26 benson dr                                                   RS Legacy Corporation fka RadioShack
wayne, nj 07470                           16165      6/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Douglas Hoffmann
413 Swain ave                                                  RS Legacy Corporation fka RadioShack
Meriden, Ct 06450                         16166      6/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Beth Gretz
153 Druid Drive                                                RS Legacy Corporation fka RadioShack
McMurray, PA 15317                        16167      6/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Mary Boyes
1600 Westover Hills Blvd                                      RS Legacy Corporation fka RadioShack
Richmond, VA 23225                        16168      7/1/2016 Corporation                                                       $0.00                                                                                            $0.00
James harris
4467 Duluth way                                               RS Legacy Corporation fka RadioShack
Denver, Colorado 80239                    16169      7/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Rachel Strick
135 Lakeside Pl                                               RS Legacy Corporation fka RadioShack
Highland Park, IL 60035                   16170      7/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Cyd S Hays
10332 Paul Moinot Road                                        RS Legacy Corporation fka RadioShack
Gonzales, LA 70737                        16171      7/1/2016 Corporation                                                      $54.24                                                                                           $54.24
Jasmin Robinson
4519 Knoll Drive                                              RS Legacy Corporation fka RadioShack
Woodbridge, VA 22193                      16172      7/1/2016 Corporation                                                      $32.07                                                                                           $32.07
Saroeum Roeub
28164 23rd ave s                                              RS Legacy Corporation fka RadioShack
Federal Way, WA 98003                     16173      7/1/2016 Corporation                                                      $32.84                                                                                           $32.84
Abraham, Roy
49 Manor Drive                                                RS Legacy Corporation fka RadioShack
Cornwall, NY 12518                        16174      7/1/2016 Corporation                                                      $82.14                                                                                           $82.14
Scott, Susan
13 Broad Ave                                                  RS Legacy Corporation fka RadioShack
Stanhope, NJ 07874                        16175      7/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Parsons, Randell
1449 Canal Cross CT                                           RS Legacy Corporation fka RadioShack
Ouiedo, FL 32766                          16176      7/1/2016 Corporation                                                       $0.00                                                                                            $0.00
ilir mihali
671 B Rose Hollow Drive                                       RS Legacy Corporation fka RadioShack
Yardley, PA 19067                         16177      7/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Susan Langston
3601 E. 100 N                                                 RS Legacy Corporation fka RadioShack
GREENFIELD, IN 46140                      16178      7/1/2016 Corporation                                                      $64.17                                                                                           $64.17
Ritzen, Bruce A.
3021 NE 100th ST                                              RS Legacy Corporation fka RadioShack
Seattle, WA 98125‐7723                    16179      7/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Eib, Jeanne
360 Avenida Adobe                                             RS Legacy Corporation fka RadioShack
San Clemente , CA 92672                   16180      7/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Johnny M Witherspoon
3681 Lake Spring Ave                                          RS Legacy Corporation fka RadioShack
Concord, NC 28027                         16181      7/1/2016 Corporation                                                       $0.00                                                                                            $0.00




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                                                                                                                 Current General                                            Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Stephen McBride
363 Halfway Creek Road                                        RS Legacy Corporation fka RadioShack
Jonesboro, LA 71251                       16182      7/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Molett, Adrian
624 E 113th St.                                               RS Legacy Corporation fka RadioShack
Los Angeles, CA 90059                     16183      7/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Henderson, Carol Ann
4144 Galbraith Sch Rd                                         RS Legacy Corporation fka RadioShack
Knoxville, TN 37920                       16184      7/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Stephanie Reynolds/St. Andrews PLUSA
PO Box 5122                                                   RS Legacy Corporation fka RadioShack
Topeka, KS 66605                          16185      7/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Peterson, Larry J.
529 S. Almansor St. #70                                       RS Legacy Corporation fka RadioShack
Alhambra, CA 91801                        16186      7/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Fleming, Lisa
912 S. Stonehedge Ln                                          RS Legacy Corporation fka RadioShack
Palatine, IL 60067                        16187      7/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Lukins, Mary
1503 Spruce Dr                                                RS Legacy Corporation fka RadioShack
Carmel, IN 46033                          16188      7/1/2016 Corporation                                                     $10.00                                                                                           $10.00
Chou, May D
2359 Elevado Road                                             RS Legacy Corporation fka RadioShack
Vista, CA 92084                           16189      7/1/2016 Corporation                                                     $13.01                                                                                           $13.01
Iller, Monica
5510 B Street                                                 RS Legacy Corporation fka RadioShack
Little Rock, AR 72205                     16190      7/1/2016 Corporation                                                     $32.49                                                                                           $32.49
Ellis, Eleanor
8877 Old River Rd S.                                          RS Legacy Corporation fka RadioShack
Brooklet, GA 30415                        16191      7/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Macias, Connie
2622 S. Sacremento PL.                                        RS Legacy Corporation fka RadioShack
Ontario, CA 91761                         16192      7/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Rachel Ni
609 Hillside Blvd                                             RS Legacy Corporation fka RadioShack
SOUTH SAN FRANCISCO, CA 94080             16193      7/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Ramirez, Steffani
12 Lucille Pl. Apt #1                                         RS Legacy Corporation fka RadioShack
Passaic, NJ 07055                         16194      7/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Jacobs, Larry D
PO Box 9413                                                   RS Legacy Corporation fka RadioShack
Coral Springs, FL 33075                   16195      7/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Caleesha Gardner
PO Box 593                                                    RS Legacy Corporation fka RadioShack
St. Rose, LA 70087                        16196      7/1/2016 Corporation                                                      $0.00                                                                                            $0.00
james nash
2716 pavich drn                                               RS Legacy Corporation fka RadioShack
Council Bluffs, ia 51501                  16197      7/1/2016 Corporation                                                     $10.13                                                                                           $10.13
Marketa Kliimova
22034 antigua                                                 RS Legacy Corporation fka RadioShack
mission viejo, ca 92692                   16198      7/2/2016 Corporation                                                     $25.00                                                                                           $25.00




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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Nathan Ritter
2233 Wyandotte Drive                                          RS Legacy Corporation fka RadioShack
Troy, MI 48083                            16199      7/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Nathan Ritter
2233 Wyandotter Dr.                                           RS Legacy Corporation fka RadioShack
Troy, MI 48083                            16200      7/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Nathan LeVang
28349 Easton Lane                                             RS Legacy Corporation fka RadioShack
Santa Clarita, CA 91350                   16201      7/2/2016 Corporation                                                      $0.00                                                                                            $0.00
D.Bourne
1535 spyglass hill dr                                         RS Legacy Corporation fka RadioShack
Keller, Tx 76248                          16202      7/2/2016 Corporation                                                    $100.00                                                                                          $100.00
Qiqi Wang
5899 153rd AVE SE                                             RS Legacy Corporation fka RadioShack
Bellevue, WA 98006                        16203      7/2/2016 Corporation                                                    $250.00                                                                                          $250.00
Carla Newton
12301 Cardinal Creek Dr                                       RS Legacy Corporation fka RadioShack
Jacksonville, FL 32218                    16204      7/2/2016 Corporation                                                     $20.00                                                                                           $20.00
Paul Denemark
6801 Caitlin Court                                            RS Legacy Corporation fka RadioShack
willowbrook, ILLINOIS 60527               16205      7/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Leslie Quiocho
PO Box 1740                                                   RS Legacy Corporation fka RadioShack
Honokaa, HI 96727                         16206      7/2/2016 Corporation                                                     $50.00                                                                                           $50.00
Bart Mamiya
7192 Kalanianaole Hwy, A143A PMB120                           RS Legacy Corporation fka RadioShack
Honolulu, HI 96825                        16207      7/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Ryan Geraci
12573 Richards Rook Ln                                        RS Legacy Corporation fka RadioShack
Jacksonville, FL 32246                    16208      7/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Ali Sheikh
9001 Gladbeck Avenue                                          RS Legacy Corporation fka RadioShack
Northridge, CA 91324                      16209      7/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Maryam Pazira
5650 Enfield Way                                              RS Legacy Corporation fka RadioShack
Suwanee, GA 30024                         16210      7/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Brian Stalter
5 Greenfield Terr                                             RS Legacy Corporation fka RadioShack
Congers, NY 10920                         16211      7/3/2016 Corporation                                                     $10.00                                                                                           $10.00
Rayssa Joseph
242 Melbourne Ave                                             RS Legacy Corporation fka RadioShack
Syracuse, NY 13224                        16212      7/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Bob goodman
862 7th Ave se                                                RS Legacy Corporation fka RadioShack
Rochester, Mn 55904                       16213      7/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Lynnette Clouse
12566 Adeline Circle                                          RS Legacy Corporation fka RadioShack
Athens, Ohio 45701                        16214      7/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Rayssa Joseph
242 Melbourne Ave                                             RS Legacy Corporation fka RadioShack
Syracuse, NY 13224                        16215      7/3/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                 Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Rayssa Joseph
242 Melbourne Ave                                             RS Legacy Corporation fka RadioShack
Syracuse, NY 13224                        16216      7/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Andrew Mull
8866 Venikov Place                                            RS Legacy Corporation fka RadioShack
Orangevale, ca 95662                      16217      7/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Debbie Dlugokinski
5401 Whitetail Drive                                          RS Legacy Corporation fka RadioShack
Sykesville, MD 21784                      16218      7/3/2016 Corporation                                                     $21.20                                                                                           $21.20
Aakash Kambuj
2612 32nd Ave W                                               RS Legacy Corporation fka RadioShack
Seattle, WA 98102                         16219      7/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Jane Fox
28 HOLT STREET                                                RS Legacy Corporation fka RadioShack
BELMONT, MA 02478                         16220      7/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Ryan Hoffman
7520 Inzer Street                                             RS Legacy Corporation fka RadioShack
Springfield, VA 22151                     16221      7/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Eric T, Kiser
6471 Douthat Lane                                             RS Legacy Corporation fka RadioShack
Lesage, WV 25537                          16222      7/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Blaine Bacher
7304 Charter Cup Ln                                           RS Legacy Corporation fka RadioShack
West Chester, oh 45069                    16223      7/4/2016 Corporation                                                     $26.77                                                                                           $26.77
Dan‐el Padilla
11 College Road                                               RS Legacy Corporation fka RadioShack
Princeton, NJ 08540                       16224      7/4/2016 Corporation                                                      $0.00                                                                                            $0.00
BRENT CASADOS
713 GREEN RIVER TRAIL                                         RS Legacy Corporation fka RadioShack
FORT WORTH, TX 76103                      16225      7/4/2016 Corporation                                                      $0.00                                                                                            $0.00
John Sheppard
3A Wabush Pl.                                                 RS Legacy Corporation fka RadioShack
St. John's, NL A1E5V3                     16226      7/4/2016 Corporation                                                     $25.00                                                                                           $25.00
Roz Alviri
30757 rue Valois                                              RS Legacy Corporation fka RadioShack
Rancho Palos verdes, Ca 90275             16227      7/4/2016 Corporation                                                     $80.00                                                                                           $80.00
Larry , Jacobs
PO Box 9413                                                   RS Legacy Corporation fka RadioShack
Coral Springs, FL 33075                   16228      7/5/2016 Corporation                                                     $25.00                                                                                           $25.00
Aaron Kent
30 Clinton Street, Apt 6G                                     RS Legacy Corporation fka RadioShack
Brooklyn, NY 11201                        16229      7/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Aaron Kent
30 Clinton Street, Apt 6G                                     RS Legacy Corporation fka RadioShack
Brooklyn, NY 11201                        16230      7/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Ramirez, Steffani
12 lucille Pl Apt# 1                                          RS Legacy Corporation fka RadioShack
Passaic, NJ 07055                         16231      7/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Patricia Wolf
8217 Impatients Av                                            RS Legacy Corporation fka RadioShack
Las Vegas, NV 89131                       16232      7/5/2016 Corporation                                                     $41.09                                                                                           $41.09




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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Cynthia Delfino
POB 1184                                                      RS Legacy Corporation fka RadioShack
Montpelier, VT 05601                      16233      7/5/2016 Corporation                                                     $60.00                                                                                           $60.00
Cynthia Delfino
cynthia.delfino@gmail.com                                     RS Legacy Corporation fka RadioShack
Montpelier, VT 05601                      16234      7/5/2016 Corporation                                                     $60.00                                                                                           $60.00
Giang, Lila
3349 Muscatel Ave                                             RS Legacy Corporation fka RadioShack
Rosemead, CA 91770                        16235      7/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Pugh , Ronald
6184 Secret Lake Dr                                           RS Legacy Corporation fka RadioShack
Port Orange, FL 32128                     16236      7/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Didonato, Kathleen
8181 Folsom Blvd, Space 158                                   RS Legacy Corporation fka RadioShack
Sacramento, CA 95826                      16237      7/5/2016 Corporation                                                      $0.00                                                                                            $0.00
English‐Brown , Kimberly D
PO Box 962                                                    RS Legacy Corporation fka RadioShack
Waco , TX 76703                           16238      7/5/2016 Corporation                                                    $165.47                                                                                          $165.47
Michael Lewis
1515 Castleview Dr                                            RS Legacy Corporation fka RadioShack
Visalia, CA 93292                         16239      7/5/2016 Corporation                                                     $22.13                                                                                           $22.13
Sposato 3rd, Samuel Steven
PO Box 623                                                    RS Legacy Corporation fka RadioShack
North East, MD 21901                      16240      7/5/2016 Corporation                                                      $0.00                                                                                            $0.00
scott culberson
32802 Edgewater Drive                                         RS Legacy Corporation fka RadioShack
Magnolia, TX 77354                        16241      7/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Claus, Shannon
5934 State Park Rd                                            RS Legacy Corporation fka RadioShack
Rogers City , MI 49779                    16242      7/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Marc Beasley
1405 Royal Oak Trail                                          RS Legacy Corporation fka RadioShack
Mansfield, OH 44906                       16243      7/5/2016 Corporation                                                     $20.00                                                                                           $20.00
Shannon Holt
855 Camel Back Drive                                          RS Legacy Corporation fka RadioShack
New Braunfels, TX 78130                   16244      7/5/2016 Corporation                                                      $0.00                                                                                            $0.00
David Williams
401 judy place                                                RS Legacy Corporation fka RadioShack
key largo, florida 33037                  16245      7/5/2016 Corporation                                                     $42.39                                                                                           $42.39
Jamie Southard
1923 W. 1st S                                                 RS Legacy Corporation fka RadioShack
Corsicana, Texas 75110                    16246      7/5/2016 Corporation                                                      $0.00                                                                                            $0.00
DEBBIE BARAJAS
154 MOSSGLEN CIR.                                             RS Legacy Corporation fka RadioShack
SACRAMENTO, CA 95826                      16247      7/5/2016 Corporation                                                     $34.71                                                                                           $34.71
ryan shelton
12393 W Buckhorn Rd                                           RS Legacy Corporation fka RadioShack
Littleton, CO 80127                       16248      7/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Benjamin Moreno
Jard. Fagot 6 F 13                                            RS Legacy Corporation fka RadioShack
Ponce, PR 00716                           16249      7/5/2016 Corporation                                                    $107.00                                                                                          $107.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Sheree Termo
9131 NW 21st Manor                                            RS Legacy Corporation fka RadioShack
Sunrise, FL 33322                         16250      7/5/2016 Corporation                                                       $0.00                                                                                            $0.00
Rachael Sealy
2905 Hannah Way                                               RS Legacy Corporation fka RadioShack
Opelika, Alabama 36801                    16251      7/5/2016 Corporation                                                       $0.00                                                                                            $0.00
candace fleming
112 redbud ln                                                 RS Legacy Corporation fka RadioShack
new haven, mo 63068                       16252      7/5/2016 Corporation                                                      $15.22                                                                                           $15.22
Yolanda
216 N. Milpas st Apt E                                        RS Legacy Corporation fka RadioShack
Santa Barbara, CA 93103                   16253      7/5/2016 Corporation                                                      $30.00                                                                                           $30.00
David Smith
14880 griggs                                                  RS Legacy Corporation fka RadioShack
Detroit, Mi 48238                         16254      7/5/2016 Corporation                                                       $0.00                                                                                            $0.00
Jingxun Wang
311 Walnut Grove Ln                                           RS Legacy Corporation fka RadioShack
Coppell, Texas 75019                      16255      7/5/2016 Corporation                                                      $25.00                                                                                           $25.00
Roger Dingess
8730 lenore                                                   RS Legacy Corporation fka RadioShack
dearborn heights, mi 48127                16256      7/6/2016 Corporation                                                       $0.00                                                                                            $0.00
Hoffman, Joanne H
1378 Scard Road                                                RS Legacy Corporation fka RadioShack
Wallingford, CT 06492                     16257      6/30/2016 Corporation                                                     $14.88                                                                                           $14.88
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          16258      7/30/2016 Corporation                                                                                                                                                       $0.00
Danis, Stella
19 Townsend Kd                                                 RS Legacy Corporation fka RadioShack
Lynfield, MT 01940                        16259      7/30/2016 Corporation                                                     $19.02                                                                                           $19.02
Mease, Ernest W
3765 Oak Forest Drive                                          RS Legacy Corporation fka RadioShack
Toledo, OH 43614                          16260      6/30/2016 Corporation                                                     $48.03                                                                                           $48.03
Davidson, Lance
12408 Playley Green Court                                      RS Legacy Corporation fka RadioShack
Jacksonville, Fl 32246                    16261      6/30/2016 Corporation                                                                                                                                                       $0.00
Danis, Stella M
19 Townsend Rd                                                 RS Legacy Corporation fka RadioShack
Lynnfield, MA 01940                       16262      6/30/2016 Corporation                                                    $100.00                                                                                          $100.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          16263      6/30/2016 Corporation                                                                                                                                                       $0.00
Schwarzenbach, Cody
88130 Lindsay Lane                                             RS Legacy Corporation fka RadioShack
Veneta, OR 97487                          16264      6/30/2016 Corporation                                                                                                                                                       $0.00
Defrenne, Lisa
1215 Oak Hill Road                                             RS Legacy Corporation fka RadioShack
Downers Grove, IL 60515                   16265      6/30/2016 Corporation                                                                                                                                                       $0.00
Romain, Gail
4482 World Farm Rd                                             RS Legacy Corporation fka RadioShack
Oxford , MD 21654                         16266      6/30/2016 Corporation                                                     $31.80                                                                                           $31.80
Laura Carrubba
1477 Nilda Avenue                                             RS Legacy Corporation fka RadioShack
Mountain View, CA 94040                   16267      7/6/2016 Corporation                                                      $10.00                                                                                           $10.00



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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Breena Ryan
32 Talbot Avenue                                              RS Legacy Corporation fka RadioShack
North Billerica, MA 01862                 16268      7/6/2016 Corporation                                                     $25.00                                                                                           $25.00
Leo Quinn
3 Forest Drive                                                RS Legacy Corporation fka RadioShack
Baltimore, MD 21228                       16269      7/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Donna Walton
6178 Hunter Lane                                              RS Legacy Corporation fka RadioShack
Weddington, NC 28104                      16270      7/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Bryant Acevedo
420 sw 12th ave apt 1208                                      RS Legacy Corporation fka RadioShack
miami, fl 33130                           16271      7/6/2016 Corporation                                                      $0.00                                                                                            $0.00
John Goewert
81 Woodlawn Dr                                                RS Legacy Corporation fka RadioShack
Batesville, IN 47006                      16272      7/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                       RS Legacy Corporation fka RadioShack
                                          16273      7/6/2016 Corporation                                                                                                                                                       $0.00
Ghobrial, Narmin
109 Newwrk Pompton Tpk                                        RS Legacy Corporation fka RadioShack
Little Falls, NJ 07424                    16274      7/5/2016 Corporation                                                     $42.79                                                                                           $42.79
Claim Docketed In Error                                       RS Legacy Corporation fka RadioShack
                                          16275      7/6/2016 Corporation                                                                                                                                                       $0.00
Lezcono, Carlos
1631 Carolynn Crt.                                            RS Legacy Corporation fka RadioShack
Bensalem, PA 19020                        16276      7/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Flores Mejia, Trixi Cecilia
4821 Lankershim Blvd. #F271                                   RS Legacy Corporation fka RadioShack
North Hollywood, CA 91601                 16277      7/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Mastrangelo, Christine
117 Bywood Road                                               RS Legacy Corporation fka RadioShack
Elkton, MD 21921‐6103                     16278      7/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Fitzpatrick, Terrance
155 Aspen Forest Dr.                                          RS Legacy Corporation fka RadioShack
Covington, GA 30016                       16279      7/6/2016 Corporation                                                     $21.60                                                                                           $21.60
Halle, Judy
1019 N Leminwah St                                            RS Legacy Corporation fka RadioShack
Appleton, WI 54911                        16280      7/6/2016 Corporation                                                     $31.50                                                                                           $31.50
Hashem, Thomas
316 Hala Court                                                RS Legacy Corporation fka RadioShack
Greenville, SC 29609                      16281      7/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Brislane, James
110 Whipsering Pines Dr.                                      RS Legacy Corporation fka RadioShack
Anderson, SC 29621                        16282      7/6/2016 Corporation                                                     $63.59                                                                                           $63.59
Hashem, Thomas
316 Hla Court                                                 RS Legacy Corporation fka RadioShack
Greenville, SC 29609                      16283      7/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Linda & John O'Connor
11075 Taylor Grade Rd.                                        RS Legacy Corporation fka RadioShack
Duette, FL 34219‐6866                     16284      7/6/2016 Corporation                                                     $13.90                                                                                           $13.90
Demeo, Kristen
39 Anthony Street                                             RS Legacy Corporation fka RadioShack
Adams, MA 01220                           16285      7/6/2016 Corporation                                                      $4.14                                                                                            $4.14



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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
DeBecker, Hal
2481 Vegas Valley Dr.                                          RS Legacy Corporation fka RadioShack
Las Vegas, NV 89121                       16286      6/20/2016 Corporation                                                      $9.00                                                                                            $9.00
MaryKate Messimer
102 S University                                              RS Legacy Corporation fka RadioShack
Fayetteville, AR 72701                    16287      7/6/2016 Corporation                                                       $0.00                                                                                            $0.00
Joyce Suter
12345 Pandora Rd                                              RS Legacy Corporation fka RadioShack
Pandora, OH 44805                         16288      7/6/2016 Corporation                                                       $0.00                                                                                            $0.00
Joyce Suter
12345 Pandora Rd                                              RS Legacy Corporation fka RadioShack
Pandora, OH 45877                         16289      7/6/2016 Corporation                                                       $0.00                                                                                            $0.00
Joyce Suter
12345 Pandora Rd                                              RS Legacy Corporation fka RadioShack
Pandora, OH 45877                         16290      7/6/2016 Corporation                                                       $0.00                                                                                            $0.00
Urena, Pablo
P.O Box 743                                                   RS Legacy Corporation fka RadioShack
Providence, RI 02901                      16291      7/6/2016 Corporation                                                       $0.00                                                                                            $0.00
Tierney, Cameron
2402 Wildgrove Dr                                             RS Legacy Corporation fka RadioShack
Austin, TX 78704                          16292      7/6/2016 Corporation                                                       $0.00                                                                                            $0.00
Gates, Richard A.
5311 NW Melba Dr. Ct.                                         RS Legacy Corporation fka RadioShack
Topeka, KS 66618‐3269                     16293      7/6/2016 Corporation                                                      $30.00                                                                                           $30.00
Mauricio Barrientos
817 Suntree Woods Dr                                          RS Legacy Corporation fka RadioShack
Melbourne, Florida 32940                  16294      7/6/2016 Corporation                                                     $300.00                                                                                          $300.00
Fitzpatrick, Tom
310 Skipperling Lane                                          RS Legacy Corporation fka RadioShack
West Columbia, SC 29169                   16295      7/6/2016 Corporation                                                       $0.00                                                                                            $0.00
Skeer, C. John
281 Humboldt Rd.                                              RS Legacy Corporation fka RadioShack
Brisbane, CA 94005                        16296      7/6/2016 Corporation                                                      $43.18                                                                                           $43.18
Sitzer, Andrew
930 E Santa Ana Blvd                                          RS Legacy Corporation fka RadioShack
Santa Ana, CA 92701                       16297      7/6/2016 Corporation                                                      $30.00                                                                                           $30.00
Hanson, Thomas
10077 Linden Place Dr                                          RS Legacy Corporation fka RadioShack
Seminole, Fl 33776                        16298      6/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Ellen Cohen
555 RAHWAY AVE APT 3E                                         RS Legacy Corporation fka RadioShack
Woodbridge, NJ 07095                      16299      7/6/2016 Corporation                                                       $0.00                                                                                            $0.00
Elaine Collins
178 Peoria St                                                 RS Legacy Corporation fka RadioShack
Daly City, Ca 94014                       16300      7/6/2016 Corporation                                                       $0.00                                                                                            $0.00
Hardwicke, Helen
8 Floyd Bennett Drive                                          RS Legacy Corporation fka RadioShack
Sound Beach, NY 11789                     16301      6/20/2016 Corporation                                                      $5.35                                                                                            $5.35
Whalen, Matthew
14 Old Cabin Road                                              RS Legacy Corporation fka RadioShack
Newtown, PA 18940                         16302      6/20/2016 Corporation                                                                                                                                                       $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Mejia, Ana
12777 Sunnymeadows Dr                                          RS Legacy Corporation fka RadioShack
Moreno Valley, CA 92553                   16303      6/20/2016 Corporation                                                                                                                                                       $0.00
Russell, Stephen
3486 Argyle St                                                 RS Legacy Corporation fka RadioShack
Napa, CA 94558                            16304      6/20/2016 Corporation                                                                                                                                                       $0.00
Gregg, Natalie Corridan
181 Mapple Ave                                                 RS Legacy Corporation fka RadioShack
Shrewsbury, MA 01545                      16305      6/20/2016 Corporation                                                                                                                                                       $0.00
Odbert, Frederick
19525 Dubarry Dr.                                              RS Legacy Corporation fka RadioShack
Brookeville, MD 20833                     16306      6/20/2016 Corporation                                                                                                                                                       $0.00
Gomez, Alfredo B.
PO BOX 452                                                     RS Legacy Corporation fka RadioShack
Mahomet, IL 61853                         16307      6/20/2016 Corporation                                                                                                                                                       $0.00
Guttillo, Julie
5838 Toll Lane                                                 RS Legacy Corporation fka RadioShack
Columbus, OH 43213                        16308      6/20/2016 Corporation                                                      $5.33                                                                                            $5.33
Paul Uitto
12467 Sugar Mill Dr.                                          RS Legacy Corporation fka RadioShack
Geismar, LA 70734                         16309      7/6/2016 Corporation                                                       $0.00                                                                                            $0.00
Friedman, David L.
PO BOX 712                                                     RS Legacy Corporation fka RadioShack
Harvard, MA 01451                         16310      6/20/2016 Corporation                                                                                                                                                       $0.00
Overholt, Dale
11692 W. Trinity Ave                                           RS Legacy Corporation fka RadioShack
Nampa, ID 83651                           16311      6/20/2016 Corporation                                                                                                                                                       $0.00
Patel, Kunti
110 Suburban Blvd.                                             RS Legacy Corporation fka RadioShack
Delran, NJ 08075                          16312      6/20/2016 Corporation                                                     $10.69                                                                                           $10.69
Scarchilli, Arnold V.
51 Creek Road Apt 706                                          RS Legacy Corporation fka RadioShack
Poughkeepsie, NY 12601‐1548               16313      6/20/2016 Corporation                                                                                                                                                       $0.00
Webb, Roland L.
811 Freedom Plaza Cir Apt 102                                  RS Legacy Corporation fka RadioShack
Sun City, FL 33573                        16314      6/23/2016 Corporation                                                     $79.19                                                                                           $79.19
Farnan, Paul M
6504 Bridgewater Way #1003                                     RS Legacy Corporation fka RadioShack
Panama City Beach, FL 32407               16315      6/23/2016 Corporation                                                     $20.00                                                                                           $20.00
Troche‐Barneste, Nannette
HC‐04 Box 11765                                                RS Legacy Corporation fka RadioShack
Yauco, PR 00698                           16316      6/22/2016 Corporation                                                      $0.00              $0.00                                                                         $0.00
Gupta, Elena
21 Manderley Way                                               RS Legacy Corporation fka RadioShack
Arden, NC 28704                           16317      6/24/2016 Corporation                                                                       $80.00                                                                         $80.00
Kaur, Baljit
6301 N Ellendale Ave                                           RS Legacy Corporation fka RadioShack
Fresno, CA 93722                          16318      6/27/2016 Corporation                                                                                                                                                       $0.00
Deryeghiayan, James
940 Azalea Drive                                               RS Legacy Corporation fka RadioShack
Costa Mesa, CA 92626                      16319      6/27/2016 Corporation                                                                                                                                                       $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Speacht, Andrew
43 Shaw Ave                                                    RS Legacy Corporation fka RadioShack
Babylon, NY 11702                         16320      6/29/2016 Corporation                                                     $38.27                                                                                           $38.27
Larry Brown
237 Jeseph Court                                              RS Legacy Corporation fka RadioShack
Maryville, TN 37803                       16321      7/6/2016 Corporation                                                      $15.00                                                                                           $15.00
Zeppetello, Martin
719 Salisbury Rd                                               RS Legacy Corporation fka RadioShack
Syracuse, NY 13219                        16322      6/29/2016 Corporation                                                                                                                                                       $0.00
Matthews, Andrew
101 South Sunland Dr                                           RS Legacy Corporation fka RadioShack
Sanford, FL 32773                         16323      6/30/2016 Corporation                                                                                                                                                       $0.00
Dal Sasso, Elaine
117 6th St.                                                    RS Legacy Corporation fka RadioShack
Belleair Beach, FL 33786                  16324      6/30/2016 Corporation                                                                                                                                                       $0.00
Mathews, Andrew
101 South Sunland Dr.                                          RS Legacy Corporation fka RadioShack
Sanford, FL 32773                         16325      6/30/2016 Corporation                                                     $11.78                                                                                           $11.78
Ayers, Robert
204 Kilton Forest                                              RS Legacy Corporation fka RadioShack
Williamsburg, PA 23188                    16326      6/30/2016 Corporation                                                                                                                                                       $0.00
Adam, Suze S
735 Broadway Apt 45                                            RS Legacy Corporation fka RadioShack
Malden, MA 02148                          16327      6/30/2016 Corporation                                                     $19.11                                                                                           $19.11
Maina, Mercy
3122 Huntsman Dr                                               RS Legacy Corporation fka RadioShack
Sacramento, CA 95826                      16328      6/30/2016 Corporation                                                                                                                                                       $0.00
Kent, Lauren
255 Cullom Way                                                 RS Legacy Corporation fka RadioShack
Clarksville, TN 37043                     16329      6/30/2016 Corporation                                                     $32.80                                                                                           $32.80
Penovich, Frank
1435 Sunrise Dr                                               RS Legacy Corporation fka RadioShack
Merritt Island, FL 32952                  16330      7/5/2016 Corporation                                                     $187.96                                                                                          $187.96
KELLY GALICIA
851 suite A                                                   RS Legacy Corporation fka RadioShack
Long Beach, CA 90813                      16331      7/6/2016 Corporation                                                     $100.00                                                                                          $100.00
Benjamin, Robert
85 Lombardy Lane                                               RS Legacy Corporation fka RadioShack
Orinda, CA 94563                          16332      6/30/2016 Corporation                                                                                                                                                       $0.00
Benjamin, Robert
85 Lombardy Lane                                               RS Legacy Corporation fka RadioShack
Orinda, CA 94563                          16333      6/30/2016 Corporation                                                                                                                                                       $0.00
Navarro, Edith
590 Trout Lake Dr                                             RS Legacy Corporation fka RadioShack
Sanger, CA 93657                          16334      7/5/2016 Corporation                                                      $52.00                                                                                           $52.00
Ramirez, Alex
569 Academy Street apt 42                                     RS Legacy Corporation fka RadioShack
New York, NY 10034                        16335      7/4/2016 Corporation                                                      $87.09                                                                                           $87.09
Gruber, John J.
1217 W. Gruber Newport                                        RS Legacy Corporation fka RadioShack
Chicago, IL 60657‐1421                    16336      7/5/2016 Corporation                                                                                                                                                        $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Anderson, Don
4121 Mountainbrook Rd.                                        RS Legacy Corporation fka RadioShack
Apex, NC 27539                            16337      7/5/2016 Corporation                                                      $16.15                                                                                           $16.15
Steinke, Donald
2015 W Fulliam Ave                                            RS Legacy Corporation fka RadioShack
Muscatine, IA 52761                       16338      7/5/2016 Corporation                                                                                                                                                        $0.00
Patricia A Campbell
1284 Conewango Ave, Apt A6                                    RS Legacy Corporation fka RadioShack
Warren, Pa 16365                          16339      7/6/2016 Corporation                                                       $0.00                                                                                            $0.00
Adriana Burnette
322 beaver dam rd                                             RS Legacy Corporation fka RadioShack
liberty, nc 27298                         16340      7/6/2016 Corporation                                                      $25.00                                                                                           $25.00
Rania Scander
59 Pomona Ave                                                 RS Legacy Corporation fka RadioShack
Fair Lawn, NJ 07410                       16341      7/6/2016 Corporation                                                     $400.00                                                                                          $400.00
Eugene Carter
8392 Lakeview Dr.                                             RS Legacy Corporation fka RadioShack
Ypsilanti, MI 48198                       16342      7/6/2016 Corporation                                                       $0.00                                                                                            $0.00
Kaalem Lucky
4104 Pine Heights Drive                                       RS Legacy Corporation fka RadioShack
Atlanta, GA 30324                         16343      7/6/2016 Corporation                                                       $0.00                                                                                            $0.00
Gregg Lander
7829 Midfield Ave                                             RS Legacy Corporation fka RadioShack
Los Angeles, CA 90045                     16344      7/7/2016 Corporation                                                       $0.00                                                                                            $0.00
Sharon, Christi R.
58 East Gate Lane                                              RS Legacy Corporation fka RadioShack
Hamden, CT 06514                          16345      6/24/2016 Corporation                                                     $85.06                                                                                           $85.06
Bais Medrash of Rockland
PO Box 995                                                    RS Legacy Corporation fka RadioShack
Monsey, NY 10952                          16346      7/5/2016 Corporation                                                      $50.00                                                                                           $50.00
Barton, Harry
2106 Anson Rd                                                 RS Legacy Corporation fka RadioShack
Wilmington, DE 19810                      16347      7/5/2016 Corporation                                                                                                                                                        $0.00
Scott, Alexandra
46 Walker Dr                                                  RS Legacy Corporation fka RadioShack
Ringwood, NJ 07456                        16348      7/5/2016 Corporation                                                                                                                                                        $0.00
Maher, Linda
2487 42nd Ave                                                 RS Legacy Corporation fka RadioShack
San Francisco, CA 94116                   16349      7/5/2016 Corporation                                                                                                                                                        $0.00
Maher, Linda
2487 42nd Ave                                                 RS Legacy Corporation fka RadioShack
San Francisco, CA 94116                   16350      7/5/2016 Corporation                                                                                                                                                        $0.00
Deutsch, Carol
3721 Maple Avenue                                             RS Legacy Corporation fka RadioShack
Brooklyn, NY 11224                        16351      7/5/2016 Corporation                                                      $15.00                                                                                           $15.00
Leland Lee
252 West 23rd Place                                           RS Legacy Corporation fka RadioShack
Chicago, IL 60616                         16352      7/5/2016 Corporation                                                      $76.46                                                                                           $76.46
Cooper, Janet L.
2005 N. 22nd St.                                              RS Legacy Corporation fka RadioShack
Springfield, IL 62702                     16353      7/5/2016 Corporation                                                      $52.62                                                                                           $52.62




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            Creditor Name and Address       Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                     Amount
Claim Docketed In Error                                          RS Legacy Corporation fka RadioShack
                                             16354      7/6/2016 Corporation                                                                                                                                                        $0.00
Jaime, Israel Elias
1730 El Monte                                                    RS Legacy Corporation fka RadioShack
Corpus Christi, TX 78417                     16355      7/5/2016 Corporation                                                                                                                                                        $0.00
Keidel, Marie
1417 Bayberry                                                    RS Legacy Corporation fka RadioShack
Midland, MI 48640                            16356      7/5/2016 Corporation                                                                                                                                                        $0.00
Claim Docketed In Error                                          RS Legacy Corporation fka RadioShack
                                             16357      7/6/2016 Corporation                                                                                                                                                        $0.00
New York State Department of Taxation and
Finance
Bankruptcy Section
PO Box 5300                                                       RS Legacy Corporation fka RadioShack
Albany, NY 12205‐0300                        16358      6/30/2016 Corporation                                               $171,372.64      $1,017,084.74                                                                  $1,188,457.38
Rimbu, Mihail
6 The Registry                                                   RS Legacy Corporation fka RadioShack
East Quogue, NY 11942                        16359      7/2/2016 Corporation                                                      $90.00                                                                                           $90.00
Kirschen, Charles
12 Jo Ann Drive                                                  RS Legacy Corporation fka RadioShack
Old Bethpane, NY 11804                       16360      7/5/2016 Corporation                                                      $50.00                                                                                           $50.00
Joseph Goines Jr.
3443 Stoneway Ct.                                                RS Legacy Corporation fka RadioShack
Champaign, IL 61822                          16361      7/7/2016 Corporation                                                      $57.21                                                                                           $57.21
Arber Gashi
8471 Garden Rd                                                   RS Legacy Corporation fka RadioShack
Pasadena, MD 21122                           16362      7/7/2016 Corporation                                                       $0.00                                                                                            $0.00
Sarah Angell
2307 SE 72nd Ave                                                 RS Legacy Corporation fka RadioShack
Portland, OR 97215                           16363      7/7/2016 Corporation                                                       $0.00                                                                                            $0.00
Clarissa Santopietro
1739 foxen road E3                                               RS Legacy Corporation fka RadioShack
North branford, Ct 06471                     16364      7/7/2016 Corporation                                                      $10.12                                                                                           $10.12
Alessi Brindisi
814 6th Ave N                                                    RS Legacy Corporation fka RadioShack
JACKSONVILLE BEACH, Florida 32250            16365      7/7/2016 Corporation                                                       $0.00                                                                                            $0.00
ALICE ROSAS
PO BOX 111                                                       RS Legacy Corporation fka RadioShack
WESTMORLAND, CA 92281                        16366      7/7/2016 Corporation                                                       $0.00                                                                                            $0.00
Darryl Flessner
3231 Illini Rd Ste B                                             RS Legacy Corporation fka RadioShack
Danville, Illinois 61834‐6279                16367      7/7/2016 Corporation                                                      $27.45                                                                                           $27.45
Paige Murphy
334 Hamlett Drive East                                           RS Legacy Corporation fka RadioShack
Mt. Sterling, KY 40353                       16368      7/8/2016 Corporation                                                       $0.00                                                                                            $0.00
Thomas Wiggand
210 West Washington St                                           RS Legacy Corporation fka RadioShack
Millstadt, Illinois 62260                    16369      7/8/2016 Corporation                                                      $45.16                                                                                           $45.16
Adam Fassirer
359 Lake Drive                                                   RS Legacy Corporation fka RadioShack
Hamilton, MA 01982                           16370      7/8/2016 Corporation                                                       $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Earl Rousseau
580 West Wesley Rd NW                                         RS Legacy Corporation fka RadioShack
Atlanta, Georgia 30305                    16371      7/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Kingsley Keys
5313 Biltmore Dr                                              RS Legacy Corporation fka RadioShack
Springfield, IL 62711                     16372      7/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Denise Midkiff
105 Crestview Ct                                              RS Legacy Corporation fka RadioShack
Placitas, NM 87043                        16373      7/8/2016 Corporation                                                     $31.98                                                                                           $31.98
nadiya Solenok
po box 721                                                    RS Legacy Corporation fka RadioShack
cranford, nj 07016                        16374      7/8/2016 Corporation                                                    $349.48                                                                                          $349.48
Kelly O'Connell
33 Norris St. Apt. 3                                          RS Legacy Corporation fka RadioShack
Cambridge, MA 02140                       16375      7/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Cuc Kim Dao
11712 Garden Grove Bld. #A                                    RS Legacy Corporation fka RadioShack
Garden Grove, CA 92843                    16376      7/8/2016 Corporation                                                     $90.00                                                                                           $90.00
Jason Mack
663 Verona Drive                                              RS Legacy Corporation fka RadioShack
Melville, NY 11747                        16377      7/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Johnny Murphey
131 County Road 350                                           RS Legacy Corporation fka RadioShack
Hollywood, AL 35752                       16378      7/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Michelle Pellegrino
1108 Bay St                                                   RS Legacy Corporation fka RadioShack
Rochester, NY 14609                       16379      7/8/2016 Corporation                                                      $0.00                                                                                            $0.00
David Spooner
2410 W Shawnee DR                                             RS Legacy Corporation fka RadioShack
Chandler, AZ 85224                        16380      7/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Gary Powell
115 E Van Fleet Dr #258                                       RS Legacy Corporation fka RadioShack
Bartow, FL 33830                          16381      7/8/2016 Corporation                                                      $0.00                                                                                            $0.00
L Morse
26 Coalbank Dr., Unit A                                       RS Legacy Corporation fka RadioShack
Durango, CO` 81301                        16382      7/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Tony
1108 e Colorado                                               RS Legacy Corporation fka RadioShack
Glendale, Ca 91205                        16383      7/8/2016 Corporation                                                      $0.00                                                                                            $0.00
gary badgett
4515 country club blvd                                        RS Legacy Corporation fka RadioShack
south charleston, WV 25309                16384      7/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Patsy Lowe
1802 28th Ave. No.                                            RS Legacy Corporation fka RadioShack
Nashville, TN 37208                       16385      7/9/2016 Corporation                                                     $36.06                                                                                           $36.06
WILLIAM cONNOR
4 bRIGHAM cIRCLE                                              RS Legacy Corporation fka RadioShack
hONEOYE fALLS, nEW yORK 14472             16386      7/9/2016 Corporation                                                     $40.00                                                                                           $40.00
Joanne Melnicki
407 Surfside Dr                                               RS Legacy Corporation fka RadioShack
Goose Creek, SC 29445                     16387      7/9/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Jamil Dewji
444 East 88th Street, Apt LLB                                 RS Legacy Corporation fka RadioShack
New York, NY 10128                        16388      7/9/2016 Corporation                                                       $0.00                                                                                            $0.00
LEANNA QUESADA
22114 Country Hills Drive                                     RS Legacy Corporation fka RadioShack
Wildomar, CA 92595                        16389      7/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Rosario Hernandez
PO BOX 1104                                                   RS Legacy Corporation fka RadioShack
Lodi, CA 95241                            16390      7/9/2016 Corporation                                                      $26.99                                                                                           $26.99
DAVE NORGORD
345B WEST COLLEGE AVENUE                                      RS Legacy Corporation fka RadioShack
SANTA ROSA, CA 95401                      16391      7/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Ben Watkins
2614 West 500 North                                           RS Legacy Corporation fka RadioShack
Marion, Indiana 46952                     16392      7/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Karen MacDonald
9640 Lido Ct                                                  RS Legacy Corporation fka RadioShack
Desert hot springs, Ca 92240              16393      7/9/2016 Corporation                                                       $0.00                                                                                            $0.00
brian armagost
458 brambleside drive                                         RS Legacy Corporation fka RadioShack
brunswick, ohio 44212                     16394      7/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Paul Lopes
35 Berkshire Dr                                               RS Legacy Corporation fka RadioShack
Newington, CT 06111                       16395      7/9/2016 Corporation                                                      $26.56                                                                                           $26.56
Anuj Mathur
1700 Mandel Knoll Cv                                           RS Legacy Corporation fka RadioShack
Cordova, TN 38016                         16396      7/10/2016 Corporation                                                      $0.00                                                                                            $0.00
David Oates
1615 Williams Road                                             RS Legacy Corporation fka RadioShack
Plant City, Fl 33565                      16397      7/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Jeffrey Staples
229 35th Ave NE                                                RS Legacy Corporation fka RadioShack
Hickory, NC 28601                         16398      7/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Rania M. Masri
200 Cove Way, #603                                             RS Legacy Corporation fka RadioShack
Quincy, MI 02169                          16399      7/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Caleb James Castro
2108 Skyland Drive                                             RS Legacy Corporation fka RadioShack
Tallahassee, Florida 32303                16400      7/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Wanda Kohashi
45‐524 Koolau View Drive                                       RS Legacy Corporation fka RadioShack
Kaneohe, Hawaii 96744‐5222                16401      7/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Sean Campbell
19 monmouth st                                                 RS Legacy Corporation fka RadioShack
chelmsford, ma 01824                      16402      7/10/2016 Corporation                                                    $400.00                                                                                          $400.00
Robert Cumming
1522 El Dorado                                                 RS Legacy Corporation fka RadioShack
Santa Cruz, CA 95062                      16403      7/10/2016 Corporation                                                     $50.00                                                                                           $50.00
Thien Pham
224 Liberty St Apt 4                                           RS Legacy Corporation fka RadioShack
San Francisco, CA 94114                   16404      7/11/2016 Corporation                                                     $50.00                                                                                           $50.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Gabrael Smallwood
1638 GlenHill Ln                                               RS Legacy Corporation fka RadioShack
Lewisville, Texas 75077                   16405      7/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Jason L Thomas
1494 Anthony Way                                               RS Legacy Corporation fka RadioShack
Mount Juliet, TN 37122                    16406      7/11/2016 Corporation                                                      $0.00                                                                                            $0.00
patrick carron
pcarron@pchmo.org                                              RS Legacy Corporation fka RadioShack
perryville, MO 63775                      16407      7/11/2016 Corporation                                                     $16.19                                                                                           $16.19
Bekir Gunes
5314 Baltimore Ave.                                            RS Legacy Corporation fka RadioShack
Chevy Chase, MD 20815                     16408      7/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Crystal Craddock
2140 Dutch Slough Rd #5                                        RS Legacy Corporation fka RadioShack
Oakley, CA 94561                          16409      7/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Janet English
3916 Oak Crest Circle                                          RS Legacy Corporation fka RadioShack
Port Orange, FL 32129                     16410      7/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Astrida Pesentheiner
2108 Alaeloa Place                                             RS Legacy Corporation fka RadioShack
Honolulu, HI. 96821                       16411      7/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Greta Wester
8375 SE Pinehaven Ave.                                         RS Legacy Corporation fka RadioShack
Hobe Sound, FL 33455                      16412      7/11/2016 Corporation                                                     $26.49                                                                                           $26.49
Camilla Vitale
125 Pinheiro Circle                                            RS Legacy Corporation fka RadioShack
Novato, CA 94945                          16413      7/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Richard J Barbey
5425 Chatelaine Cir                                            RS Legacy Corporation fka RadioShack
Reno, nv 89511                            16414      7/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          16415      7/11/2016 Corporation                                                                                                                                                       $0.00
Contreras, Tori
6121 NE 113th ST                                               RS Legacy Corporation fka RadioShack
Edmond, OK 73013                          16416      7/11/2016 Corporation                                                                                                                                                       $0.00
Kniffen, Edna F.
65 Van Buren Ave                                               RS Legacy Corporation fka RadioShack
Ravena, NY 12143                          16417      7/11/2016 Corporation                                                     $43.22                                                                                           $43.22
Ghobrial, Christine
703 Old Post Rd                                                RS Legacy Corporation fka RadioShack
Mamaroneck, NY 10543                      16418      7/11/2016 Corporation                                                     $61.19                                                                                           $61.19
Hall, David L.
318 4th St NE                                                  RS Legacy Corporation fka RadioShack
Barnesville, MN 56514                     16419      7/11/2016 Corporation                                                                                                                                                       $0.00
Rich, Ruth
188 Glenmore Way                                               RS Legacy Corporation fka RadioShack
So. Lake Tahoe, CA 96150                  16420      7/11/2016 Corporation                                                     $22.59                                                                                           $22.59
Eu, Patricia
11415 Night Star Way                                           RS Legacy Corporation fka RadioShack
Reston, VA 20194                          16421      7/11/2016 Corporation                                                                                                                                                       $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Connie Shuping
117 Bowden Road                                                RS Legacy Corporation fka RadioShack
Chapel Hill, NC 27516                     16422      7/11/2016 Corporation                                                     $42.79                                                                                           $42.79
Jay Bhan
8706 Lilienthal Ave                                            RS Legacy Corporation fka RadioShack
Los Angeles, CA 90045                     16423      7/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Gerardo Barrios
38451 Sumac Ave                                                RS Legacy Corporation fka RadioShack
Palmdale, CA 93550                        16424      7/11/2016 Corporation                                                     $18.00                                                                                           $18.00
Hailee Bonk
24683 Mayfair St                                               RS Legacy Corporation fka RadioShack
Flat Rock, Mi 48134                       16425      7/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Gerardo Barrios
38451 Sumac Ave                                                RS Legacy Corporation fka RadioShack
Palmdale, Ca 93550                        16426      7/11/2016 Corporation                                                     $18.00                                                                                           $18.00
Hailee Bonk
24683 Mayfair St                                               RS Legacy Corporation fka RadioShack
Flat Rock, Mi 48134                       16427      7/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Tyffannie Fluitt
121 n. main st. L‐3                                            RS Legacy Corporation fka RadioShack
Belchertown, MA 01007                     16428      7/11/2016 Corporation                                                      $0.00                                                                                            $0.00
MIKE TAYLOR
4200 BROADWAY AVENUE #1211                                     RS Legacy Corporation fka RadioShack
FLOWER MOUND, TX 75028                    16429      7/11/2016 Corporation                                                    $100.00                                                                                          $100.00
Chris Richards
31230 Camino Verde                                             RS Legacy Corporation fka RadioShack
Temecula, CA 92591                        16430      7/12/2016 Corporation                                                     $43.29                                                                                           $43.29
Sharon & David Poston
6759 Hickory Hammock Circle                                    RS Legacy Corporation fka RadioShack
Bradenton, FL 34202                       16431      7/12/2016 Corporation                                                     $32.16                                                                                           $32.16
Katherine Jimenez
21304 Denit Estates Drive                                      RS Legacy Corporation fka RadioShack
Brookeville, MD 20833                     16432      7/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Eric Schumacher
217 Beaver Creek Way                                           RS Legacy Corporation fka RadioShack
Cleveland, GA 30528                       16433      7/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert Campbell
57618 Mehlman Rd.                                              RS Legacy Corporation fka RadioShack
Bellaire, Ohio 43906                      16434      7/12/2016 Corporation                                                      $0.00                                                                                            $0.00
william wise
801 cooperlanding rd apt a713                                  RS Legacy Corporation fka RadioShack
cherry hill, nj 08002                     16435      7/12/2016 Corporation                                                     $22.00                                                                                           $22.00
Elizabeth Carter
1121 Ardmore Ave                                               RS Legacy Corporation fka RadioShack
Erie, Pa 16505                            16436      7/12/2016 Corporation                                                     $31.27                                                                                           $31.27
Ramnamain, Rianna
416 Adams Street                                               RS Legacy Corporation fka RadioShack
Boston, MA 02122                          16437      7/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Daniel or RoseAnn Sanko
144 St Joe Rd                                                  RS Legacy Corporation fka RadioShack
Butter, PA 16002                          16438      7/12/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
lhakpa dhondup
37‐05 64th street Apartment # 5A                               RS Legacy Corporation fka RadioShack
Woodside, NY 11377                        16439      7/12/2016 Corporation                                                     $43.54                                                                                           $43.54
Lizabeth Schaps
2222 Colfax                                                    RS Legacy Corporation fka RadioShack
Evanston, Il 60201                        16440      7/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Jackman, Bobby L.
550 Forrest Ln                                                RS Legacy Corporation fka RadioShack
Joshua, TX 76058                          16441      7/7/2016 Corporation                                                       $0.00                                                                                            $0.00
Robin cholowski
9637 Indigo Creek Blvd                                         RS Legacy Corporation fka RadioShack
Murrells Inlet, SC 29576                  16442      7/12/2016 Corporation                                                     $10.00                                                                                           $10.00
Bonnie kirby
4507 B granny white pike                                       RS Legacy Corporation fka RadioShack
Nashville, Tn 37204                       16443      7/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Tucker Osman
819 Timber Glen Ln.                                            RS Legacy Corporation fka RadioShack
Ballwin, MO 63021                         16444      7/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Douglas Walker
150 Overlook Ridgeview Ln                                      RS Legacy Corporation fka RadioShack
Fairmount, Ga 30139                       16445      7/12/2016 Corporation                                                     $64.18                                                                                           $64.18
Tonya Clement
1484 W. Minarets Ave                                           RS Legacy Corporation fka RadioShack
Fresno, Ca 93711                          16446      7/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Kenneth Steinbuch
39458 Cozumel Court                                            RS Legacy Corporation fka RadioShack
Murrieta, CA 92563                        16447      7/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Nelly Graterol
46‐333 Kumoo Loop                                              RS Legacy Corporation fka RadioShack
Kaneohe, HI 96744                         16448      7/13/2016 Corporation                                                     $21.98                                                                                           $21.98
Justin Renzulli
9317 Butternut Lane                                            RS Legacy Corporation fka RadioShack
Mechanicsville, VA 23116                  16449      7/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Caleb James Castro
2108 Skyland Drive                                             RS Legacy Corporation fka RadioShack
Tallahassee, Florida 32303                16450      7/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Weis, David
651 Boght Rd.                                                  RS Legacy Corporation fka RadioShack
Cohoes, NY 12047                          16451      7/13/2016 Corporation                                                      $0.00                                                                                            $0.00
michael mccullom
6 basswood lane                                                RS Legacy Corporation fka RadioShack
andover, MA. 0180, 180 MA                 16452      7/13/2016 Corporation                                                      $9.96                                                                                            $9.96
Cathryn Howard
1121 Oak Tree Circle                                           RS Legacy Corporation fka RadioShack
El Dorado Hills, CA 95762                 16453      7/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Gerardo
13909 Bergen ave                                               RS Legacy Corporation fka RadioShack
Bellflower, CA 90706                      16454      7/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Ryan, Catherine
P O Box 67                                                     RS Legacy Corporation fka RadioShack
Monterey, MA                              16455      7/13/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Piegsa, Beth
14315 Dove Drive                                               RS Legacy Corporation fka RadioShack
Carmel, IN 46033                          16456      7/13/2016 Corporation                                                     $10.00                                                                                           $10.00
Piegsa, Beth
14315 Dove Drive                                               RS Legacy Corporation fka RadioShack
Carmel, IN 46033                          16457      7/13/2016 Corporation                                                     $10.00                                                                                           $10.00
Howell, Carol
1364 Hwy 307                                                   RS Legacy Corporation fka RadioShack
Sweetwater, TN 37874                      16458      7/13/2016 Corporation                                                     $25.00                                                                                           $25.00
Turner, William
19906 Chippendale Ave. W.                                      RS Legacy Corporation fka RadioShack
Farmington, MN 55024                      16459      7/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Mosier, Beverly
5311 Berry Road                                                RS Legacy Corporation fka RadioShack
Fredonia, NY 14063                        16460      7/13/2016 Corporation                                                     $20.00                                                                                           $20.00
St. John, Shaun
182 Ashuelot St.                                               RS Legacy Corporation fka RadioShack
Dalton, MA 01226                          16461      7/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Patrick Hughes
1263 vintage oak st                                            RS Legacy Corporation fka RadioShack
Simi valley, Ca 93063                     16462      7/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Jennifer Tatem
452 Millfield Place                                            RS Legacy Corporation fka RadioShack
Moraga, CA 94556                          16463      7/13/2016 Corporation                                                     $86.55                                                                                           $86.55
Carla Stokes
1568 Pentax Ave                                                RS Legacy Corporation fka RadioShack
Titusville, FL 32796                      16464      7/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Frank Di Maria
2124 Montrose St                                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19146                    16465      7/13/2016 Corporation                                                     $23.42                                                                                           $23.42
Celeste Ogden
9719 Alisa Brooke                                              RS Legacy Corporation fka RadioShack
San Antonio, TX 78254                     16466      7/14/2016 Corporation                                                     $32.46                                                                                           $32.46
VINCENT DATTORIA
2741 LOCH HAVEN DR                                             RS Legacy Corporation fka RadioShack
IJAMSVILLE, MD 21754                      16467      7/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Taylor
1139 midland street                                            RS Legacy Corporation fka RadioShack
Norfolk, Va 23523                         16468      7/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Debbie Fleischman
1642 Pine Street                                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                    16469      7/14/2016 Corporation                                                     $21.59                                                                                           $21.59
Bob Fleischman
1642 Pine Street                                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                    16470      7/14/2016 Corporation                                                      $6.79                                                                                            $6.79
Becca Hoovler
811 Dream Dr.                                                  RS Legacy Corporation fka RadioShack
Mansfield, OH 44907                       16471      7/14/2016 Corporation                                                      $6.10                                                                                            $6.10
Nicole Baris
7 Kensington Rd                                                RS Legacy Corporation fka RadioShack
Worcester, MA 01602                       16472      7/14/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Williams, Debra F
1910 Powell Drive # 1B                                         RS Legacy Corporation fka RadioShack
Chambersburg, PA 17201                    16473      7/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Solenok, Nadiya
P.O. Box 721                                                   RS Legacy Corporation fka RadioShack
Cranford, NJ 07016                        16474      7/14/2016 Corporation                                                    $349.48                                                                                          $349.48
Peggy silva
318 Elm st                                                     RS Legacy Corporation fka RadioShack
East Longmeadow, MA 01028                 16475      7/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Dainis Charbonneau
10521 Angel Dreams Ave                                         RS Legacy Corporation fka RadioShack
Las vegas, Nevada 89144                   16476      7/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Bonnie Terrell
380 Post Oak                                                   RS Legacy Corporation fka RadioShack
Gordon, TX 76453                          16477      7/14/2016 Corporation                                                      $0.00                                                                                            $0.00
RICK NGUYEN
901 N. EUCLID #B                                               RS Legacy Corporation fka RadioShack
SANA ANA, CA 92703                        16478      7/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Karen Rourke
982 Andover St                                                 RS Legacy Corporation fka RadioShack
Tewksbury, MA 01876                       16479      7/15/2016 Corporation                                                     $10.66                                                                                           $10.66
Daytona lopp
4135 Paul's lane                                               RS Legacy Corporation fka RadioShack
Floyd's knobs, Indiana 47119              16480      7/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Daniel F Nungesser
1843 East 38th St Apt # 1                                      RS Legacy Corporation fka RadioShack
Erie, PA 16510                            16481      7/15/2016 Corporation                                                      $0.00                                                                                            $0.00
benjamin Cohen
4 sorrel Drive                                                 RS Legacy Corporation fka RadioShack
wilmington, de 19803                      16482      7/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Olson, John A.
20634 Creek River                                              RS Legacy Corporation fka RadioShack
San Antonio, TX 78259‐2084                16483      7/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Olson, John A.
20634 Creek River                                              RS Legacy Corporation fka RadioShack
San Antonio, TX 78259‐2084                16484      7/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Kyle Byrnes
PO Box 1422                                                    RS Legacy Corporation fka RadioShack
State University, Arkansas 72467          16485      7/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Chris Denis
35‐41 Leverich Street #2                                       RS Legacy Corporation fka RadioShack
Jackson Heights, NY 11372                 16486      7/15/2016 Corporation                                                      $0.00                                                                                            $0.00
James Russell
57 Dixon Court                                                 RS Legacy Corporation fka RadioShack
Elkton, MD 21921                          16487      7/15/2016 Corporation                                                      $0.00                                                                                            $0.00
James P. Russell
57 Dixon Court                                                 RS Legacy Corporation fka RadioShack
Elkton, MD 21921                          16488      7/15/2016 Corporation                                                      $0.00                                                                                            $0.00
kevin rahman
30120 Underwood                                                RS Legacy Corporation fka RadioShack
Warren, MI 48092                          16489      7/16/2016 Corporation                                                     $25.00                                                                                           $25.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Joe Harrigan
98 Alder Lane                                                  RS Legacy Corporation fka RadioShack
Basking Ridge, NJ 07920                   16490      7/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Robin Schnitzler Nathan
202 Farley Avenue                                              RS Legacy Corporation fka RadioShack
Madison, WI 53705                         16491      7/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Kim Brown
705 Pat Court                                                  RS Legacy Corporation fka RadioShack
Genoa, Il 60135                           16492      7/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Jeanette Oates
4333 Roundup Rd                                                RS Legacy Corporation fka RadioShack
Edmond, OK 73034                          16493      7/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Michele Wiley
4925 County Road 344                                           RS Legacy Corporation fka RadioShack
Early, TX 76802                           16494      7/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Michele Wiley
4925 County Road 344                                           RS Legacy Corporation fka RadioShack
Early, TX 76802                           16495      7/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Stephanie Mendez
124 ledgewood way                                              RS Legacy Corporation fka RadioShack
Easley, Sc 29642                          16496      7/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Kathi Wyatt
113 School Place                                               RS Legacy Corporation fka RadioShack
Milford, DE 19963                         16497      7/16/2016 Corporation                                                      $0.00                                                                                            $0.00
James Rogers
17589 Linden Rd                                                RS Legacy Corporation fka RadioShack
Argos, IN 46501                           16498      7/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Michelle Baker
2601 Pennsylvania Ave. #327                                    RS Legacy Corporation fka RadioShack
Philadelphia, PA 19130                    16499      7/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Dustin Barrons
7575 W Golden Willow                                           RS Legacy Corporation fka RadioShack
Columbia, MO 65202                        16500      7/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Brad L. Burson
17958 tulip rd                                                 RS Legacy Corporation fka RadioShack
Madera, Ca 93638                          16501      7/16/2016 Corporation                                                     $16.15                                                                                           $16.15
Mike King
1127 Scofield Drive                                            RS Legacy Corporation fka RadioShack
Glendale, ca 91205                        16502      7/17/2016 Corporation                                                    $700.00                                                                                          $700.00
April Davis
4140 Wellington Drive                                          RS Legacy Corporation fka RadioShack
Bethlehem, PA 18020                       16503      7/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Lillian Harney
1 squadron blvd                                                RS Legacy Corporation fka RadioShack
new city, NEW YORK 10956                  16504      7/17/2016 Corporation                                                     $52.01                                                                                           $52.01
Alexander Adams
106 Joseph Ln                                                  RS Legacy Corporation fka RadioShack
Mine Hill, NJ 07803                       16505      7/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Marcia Meier
2200 Woodbridge Dr.                                            RS Legacy Corporation fka RadioShack
Mckinney, Texas 75070                     16506      7/17/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Lucy Luna
1720 Oak Ave #709                                              RS Legacy Corporation fka RadioShack
Evanston, IL 60201                        16507      7/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Lethcoe, Barbara
5400 W 37th St.                                                RS Legacy Corporation fka RadioShack
Sioux Falls, SD 57106                     16508      7/18/2016 Corporation                                                      $0.00                                                                                            $0.00
O'Neill, Michele
471 Phlox Ct                                                   RS Legacy Corporation fka RadioShack
Thousand Oaks, CA 91360                   16509      7/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Hoper, Jessica
6115 Hanzel Barclay Dr.                                        RS Legacy Corporation fka RadioShack
Greenville, IN 47124                      16510      7/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Andrew Davis
71 S Wavy Oak Cir.                                             RS Legacy Corporation fka RadioShack
The Woodlands, TX 77381                   16511      7/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Shekeba Mururi
34 Granny Road                                                 RS Legacy Corporation fka RadioShack
Castle Hayne, NC 28429                    16512      7/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Gurevich, William
32 Ashler Ave                                                  RS Legacy Corporation fka RadioShack
Los Gatos, CA 95030                       16513      7/18/2016 Corporation                                                      $0.00                                                                                            $0.00
MacPherson, James
220 Beelzebub Road                                             RS Legacy Corporation fka RadioShack
South Windsor, CT 06074                   16514      7/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Correll, Sharon
1705 Michigan Avenue                                           RS Legacy Corporation fka RadioShack
Waukesha, WI 53188                        16515      7/18/2016 Corporation                                                      $9.47                                                                                            $9.47
Arguello, Robert
310 Kleinshore Rd., Unit C‐9                                   RS Legacy Corporation fka RadioShack
Hot Springs, AR 71913                     16516      7/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Volonts, Marguerite
51 Northside Road                                              RS Legacy Corporation fka RadioShack
Wading River, NY 11792                    16517      7/18/2016 Corporation                                                     $50.00                                                                                           $50.00
Miller, Tim
5115 SW Snowy Egret St.                                        RS Legacy Corporation fka RadioShack
Lees Summit, MO 64082                     16518      7/18/2016 Corporation                                                     $10.72                                                                                           $10.72
Crofoot, Kevin
730 Thurber Dr W Apt M                                         RS Legacy Corporation fka RadioShack
Columbus, OH 43215                        16519      7/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Fran Gab
471 Meushaw Drive                                              RS Legacy Corporation fka RadioShack
Rockwall, TX 75087                        16520      7/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Gabrielle Kimmerling
5730 Applecreek Way Apt C                                      RS Legacy Corporation fka RadioShack
Anderson, IN 46013                        16521      7/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Tsuii, Andrew K
16419 SE 24th st                                              RS Legacy Corporation fka RadioShack
Bellevue, WA 98008                        16522      7/9/2016 Corporation                                                                       $150.00                                                                        $150.00
Fountas, Paul
MicroComputer Resources, Inc.
1400 E. Oakland Park Blvd. Suite 207                           RS Legacy Corporation fka RadioShack
Ft. Lauderdale, FL 33334                  16523      7/13/2016 Corporation                                                      $0.00                                                                                            $0.00



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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Crofoot, Kevin
730 Thurber Dr W Apt M                                         RS Legacy Corporation fka RadioShack
Columbus, OH 43215                        16524      7/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Anita Kunzman
5025 south shore drive                                         RS Legacy Corporation fka RadioShack
New port richey, Fl 34652                 16525      7/18/2016 Corporation                                                    $100.00                                                                                          $100.00
John Schuh
108 Maple Lane                                                 RS Legacy Corporation fka RadioShack
Pittston, PA 18640                        16526      7/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Mary Krakora
6471 David James Boulevard                                     RS Legacy Corporation fka RadioShack
Sparks, NV 89436                          16527      7/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Ivan Lopez
2763 Lakeview Dr.                                              RS Legacy Corporation fka RadioShack
Nice, CA 95464                            16528      7/18/2016 Corporation                                                    $100.00                                                                                          $100.00
vicky woodburn
4523 SW Beta Ave                                               RS Legacy Corporation fka RadioShack
Lawton, ok 73505                          16529      7/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Barbara Bahr
16001 N 99th Drive                                             RS Legacy Corporation fka RadioShack
Sn City, AZ 85351                         16530      7/18/2016 Corporation                                                     $18.07                                                                                           $18.07
Kaufman, H Sheldon
7004 Boulevard East 34 D                                       RS Legacy Corporation fka RadioShack
Guttenberg, NJ 07093                      16531      7/18/2016 Corporation                                                     $16.60                                                                                           $16.60
UMARRAJ SABERWAL
1737 windward avenue                                           RS Legacy Corporation fka RadioShack
NAPERVILLE, IL 60563                      16532      7/18/2016 Corporation                                                     $16.21                                                                                           $16.21
Egoville, John C.
324 Valley Road                                                RS Legacy Corporation fka RadioShack
Oreland, PA 19075                         16533      7/18/2016 Corporation                                                     $35.00                                                                                           $35.00
Meshanic, Sarah
520 Rt. 87                                                     RS Legacy Corporation fka RadioShack
Columbia, CT 06237                        16534      7/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Dawn Davis
PO. Box 186                                                    RS Legacy Corporation fka RadioShack
Mill River, MA 01244                      16535      7/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Steven Weinstein
1649 Black Hawk Lane
Unit 71                                                        RS Legacy Corporation fka RadioShack
McKinleyville, CA 95519                   16536      7/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Heather robertson
1113 Barron st                                                 RS Legacy Corporation fka RadioShack
Eau claire, Wi 54703                      16537      7/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Reinaldo Rementeria
306 Riverside Chase Circle                                     RS Legacy Corporation fka RadioShack
Greer, SC 29650                           16538      7/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Harmon, Renee
6193 Cherry Hill Dr.                                           RS Legacy Corporation fka RadioShack
Columbus, OH 43213                        16539      7/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Julie Blake
317 10TH ST NE APT 13                                          RS Legacy Corporation fka RadioShack
WASHINGTON, DC 20002                      16540      7/19/2016 Corporation                                                      $0.00                                                                                            $0.00



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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
mark czerczak
332 washington st                                              RS Legacy Corporation fka RadioShack
new britain, CT 06051                     16541      7/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Jeff McPherson
508 Cinnamon place                                             RS Legacy Corporation fka RadioShack
Nashville, TN 37211                       16542      7/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Angie Waldrep
3400 Fox Trot Drive                                            RS Legacy Corporation fka RadioShack
Columbia, MO 65202                        16543      7/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Clearice Strandemo
3922 se 191st ave                                              RS Legacy Corporation fka RadioShack
Vancouver, Wa 98683                       16544      7/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Mitch Neuger
122 Barneson Ave., Apt. 3                                      RS Legacy Corporation fka RadioShack
San Mateo, CA 94402                       16545      7/19/2016 Corporation                                                     $32.61                                                                                           $32.61
umesh sharma
210 N 17th st, Unit 703                                        RS Legacy Corporation fka RadioShack
saint louis, MO 63103                     16546      7/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Corey Carangelo
8 Brookside Drive                                              RS Legacy Corporation fka RadioShack
Middlebury, CT 06762                      16547      7/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Josh Taylor
701 Colonial Ave                                               RS Legacy Corporation fka RadioShack
Layton, Ut 84041                          16548      7/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Maximilian Henze
1406 Saint Andrews Drive                                       RS Legacy Corporation fka RadioShack
Mebane, NC 27302                          16549      7/20/2016 Corporation                                                     $64.19                                                                                           $64.19
Jeremy Sharp
399 Green Apple Place                                          RS Legacy Corporation fka RadioShack
Pataskala, Ohio 43062                     16550      7/20/2016 Corporation                                                      $0.00                                                                                            $0.00
David Collins
193 Renee Drive                                                RS Legacy Corporation fka RadioShack
Deer Lodge, TN 37726                      16551      7/20/2016 Corporation                                                      $0.00                                                                                            $0.00
LORNALEIGH SMITH
13008 N 38TH AVENUE                                            RS Legacy Corporation fka RadioShack
PHOENIX, AZ 85029                         16552      7/20/2016 Corporation                                                     $50.00                                                                                           $50.00
Susan Petersen
20 Mission Hill Drive                                          RS Legacy Corporation fka RadioShack
Brockport, NY 14420                       16553      7/20/2016 Corporation                                                     $65.00                                                                                           $65.00
Elbert Myers
912 17th street                                                RS Legacy Corporation fka RadioShack
bettendorf, Iowa 52722                    16554      7/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Aaron Greenberg
101 W 87 St, #315                                              RS Legacy Corporation fka RadioShack
New York, NY 10024                        16555      7/20/2016 Corporation                                                     $20.19                                                                                           $20.19
Zulma Bohorquez
11 Hyannis Pl                                                  RS Legacy Corporation fka RadioShack
Worcester, MA 01604                       16556      7/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Greg Dietrich
1265 Pine Creek Way Apt. H                                     RS Legacy Corporation fka RadioShack
Concord, CA 94520                         16557      7/20/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Marianne McCann
15 Ganawatte Drive                                             RS Legacy Corporation fka RadioShack
Walpole, MA 02081                         16558      7/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Richard A Leger
64 Vermont Street                                              RS Legacy Corporation fka RadioShack
West Roxbury, MA 02132                    16559      7/20/2016 Corporation                                                      $0.00                                                                                            $0.00
David Rice
3669 E Hill Rd                                                 RS Legacy Corporation fka RadioShack
Plainfield, VT 05667                      16560      7/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Sherrell, Jay
4601 S. Clyde Morris Blvd                                      RS Legacy Corporation fka RadioShack
Port Orange, FL 32129                     16561      7/20/2016 Corporation                                                     $50.52                                                                                           $50.52
Nicole Wiley
1446 hawkins meadow drive                                      RS Legacy Corporation fka RadioShack
fenton, mo 63026                          16562      7/20/2016 Corporation                                                     $53.70                                                                                           $53.70
Jeremiah Armstrong
PO Box 3008                                                    RS Legacy Corporation fka RadioShack
Moss Beach, CA 94038                      16563      7/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Tam Nguyen
42230 Terrazzo ter                                             RS Legacy Corporation fka RadioShack
Aldie, Va 20105                           16564      7/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Swami Om
Po Box 943                                                     RS Legacy Corporation fka RadioShack
Kealakekua, HI 96750                      16565      7/20/2016 Corporation                                                     $52.07                                                                                           $52.07
WILLIAM BUSCH
317 NW 103 Terr                                                RS Legacy Corporation fka RadioShack
Pembroke Pines, FL 33026                  16566      7/20/2016 Corporation                                                     $25.00                                                                                           $25.00
Piccininni, Paul
2 Divot Pl                                                     RS Legacy Corporation fka RadioShack
Suffern, NY 10901                         16567      7/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Anna Duan
PO BOX 8253                                                    RS Legacy Corporation fka RadioShack
Huntington Beach, CA 92615                16568      7/20/2016 Corporation                                                     $22.65                                                                                           $22.65
Anna Duan
PO BOX 8253                                                    RS Legacy Corporation fka RadioShack
Huntington Beach, CA 92615                16569      7/20/2016 Corporation                                                      $5.38                                                                                            $5.38
Ygnacio Haro
2628 Scott ave.                                                RS Legacy Corporation fka RadioShack
Clovis, Ca. 93611                         16570      7/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Ryan McAuley
1235 Bush Street APT 52                                        RS Legacy Corporation fka RadioShack
San Francisco, CA 94109                   16571      7/20/2016 Corporation                                                     $10.95                                                                                           $10.95
Marie Trinh
16208 Flallon Ave.                                             RS Legacy Corporation fka RadioShack
Norwalk, CA 90650                         16572      7/21/2016 Corporation                                                     $35.07                                                                                           $35.07
Alison Szymanski
6046 Old Lake Shore Road                                       RS Legacy Corporation fka RadioShack
Lake View, NY 14085                       16573      7/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Lori Zimmerman
12 Chiusa Lane                                                 RS Legacy Corporation fka RadioShack
Cortlandt Manor, NY 10567                 16574      7/21/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Linh H Truong‐Rumer
4074 Naomi Court                                               RS Legacy Corporation fka RadioShack
San Jose, CA 95136                        16575      7/21/2016 Corporation                                                     $50.00                                                                                           $50.00
Mahshid Rosario
212 N Patton Avenue                                            RS Legacy Corporation fka RadioShack
Dallas, TX 75203                          16576      7/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Raymond Fortier
1606 Country Club Rd                                           RS Legacy Corporation fka RadioShack
Middletown, CT 06457                      16577      7/21/2016 Corporation                                                    $100.00                                                                                          $100.00
Tiana Cambon
4533 Pleasant St                                               RS Legacy Corporation fka RadioShack
La Verne, CA 91750                        16578      7/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Beatty, Eckhart
110 6th Av #3                                                  RS Legacy Corporation fka RadioShack
San Francisco, CA 94118                   16579      7/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Tiana Cambon
4533 Pleasant St.                                              RS Legacy Corporation fka RadioShack
La Verne, CA 91750                        16580      7/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Naishal Patel
879 Mississippi Dr                                             RS Legacy Corporation fka RadioShack
Tupelo, MS 38804                          16581      7/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Morrison, Sharon J.
8566 S. 83rd                                                   RS Legacy Corporation fka RadioShack
Hickory Hills, IL 60457                   16582      7/21/2016 Corporation                                                      $0.00                                                                                            $0.00
O'Toole, Barbie
13316 Ocean Mist Dr.                                           RS Legacy Corporation fka RadioShack
Jacksonville, FL 32258                    16583      7/21/2016 Corporation                                                     $50.00                                                                                           $50.00
NATHAN R LAVEN
6635 BUCK CREEK AVE.                                           RS Legacy Corporation fka RadioShack
GRAND RAPIDS, MI 49548                    16584      7/21/2016 Corporation                                                     $17.68                                                                                           $17.68
Gellen, Joel L.
16 Waldorf Ct                                                  RS Legacy Corporation fka RadioShack
Brooklyn, NY 11230                        16585      7/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Gellen, Joel L
16 Waldorf Ct                                                  RS Legacy Corporation fka RadioShack
Brooklyn, NY 11230                        16586      7/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Hayes, Michael
P.O. Box 1261                                                  RS Legacy Corporation fka RadioShack
Steelville, MO 65565                      16587      7/21/2016 Corporation                                                     $70.11                                                                                           $70.11
Piccininni, Paul
2 Divot Pl                                                     RS Legacy Corporation fka RadioShack
Suffern, NY 10901                         16588      7/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Winegarner, Cortney
PO Box 535                                                     RS Legacy Corporation fka RadioShack
Perryton, TX 79070                        16589      7/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Antoci, John
P O Box 4774                                                   RS Legacy Corporation fka RadioShack
Palm Dessert, CA 92261                    16590      7/22/2016 Corporation                                                     $43.79                                                                                           $43.79
Krabbenhoft, Brinn
15591 Deerwood Loop                                            RS Legacy Corporation fka RadioShack
Park Rapids, MN 56470                     16591      7/22/2016 Corporation                                                     $25.00                                                                                           $25.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Schmidt, Sharon
4821 NE 13 Terrace                                             RS Legacy Corporation fka RadioShack
Oakland Park, FL 33334                    16592      7/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Pritish Shah
24324 Nepavine Drive                                           RS Legacy Corporation fka RadioShack
Novi, MI 48374                            16593      7/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Gary Slate
Po Box 578609                                                  RS Legacy Corporation fka RadioShack
Modesto, Ca 95355                         16594      7/22/2016 Corporation                                                    $400.00                                                                                          $400.00
Antonette Caruso
2737 Bayside Lane                                              RS Legacy Corporation fka RadioShack
Flushing, NY 11358                        16595      7/22/2016 Corporation                                                    $117.60                                                                                          $117.60
Deborah Oyola
2848 Cedena Cove St.                                           RS Legacy Corporation fka RadioShack
Orlando, Fl 32817                         16596      7/22/2016 Corporation                                                      $0.00                                                                                            $0.00
lisa braddock
1515 Highland dr                                               RS Legacy Corporation fka RadioShack
manhattan, ks 66503                       16597      7/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Katrina Kinzler
414 N. Hayworth Ave. Apt 8                                     RS Legacy Corporation fka RadioShack
Los Angeles, CA 90048                     16598      7/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Ruth Curtis
5995 Cochran Mill Road                                         RS Legacy Corporation fka RadioShack
Palmetto, GA 30268                        16599      7/22/2016 Corporation                                                     $77.59                                                                                           $77.59
Margaret Richter
3250 Fairfield Avenue #209                                     RS Legacy Corporation fka RadioShack
Bridgeport, CT 06605                      16600      7/22/2016 Corporation                                                     $42.53                                                                                           $42.53
charles luther
624 senators ridge dr.                                         RS Legacy Corporation fka RadioShack
dallas, GA 30132                          16601      7/22/2016 Corporation                                                      $7.94                                                                                            $7.94
Amneri Berrutti
505 Central Ave Apt 514                                        RS Legacy Corporation fka RadioShack
White Plains, NY 10606                    16602      7/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Lindsay Davidson
2233 University Boulevard                                      RS Legacy Corporation fka RadioShack
Houston, Texas 77030                      16603      7/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Wendy Hughes
52 Bradley Street                                              RS Legacy Corporation fka RadioShack
Asheville, NC 28806                       16604      7/22/2016 Corporation                                                    $100.00                                                                                          $100.00
Lindsay Davidson
2233 University Boulevard                                      RS Legacy Corporation fka RadioShack
houston, texas 77030                      16605      7/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Joel Parker
14922 Stonemeade Place                                         RS Legacy Corporation fka RadioShack
Cypress, Texas 77429                      16606      7/22/2016 Corporation                                                     $68.17                                                                                           $68.17
Daniel Teague
53 LAUREL ROAD                                                 RS Legacy Corporation fka RadioShack
BOLTON, MA 01740                          16607      7/23/2016 Corporation                                                    $100.00                                                                                          $100.00
Catherine morris
205 w 38th st. Trailer # 8                                     RS Legacy Corporation fka RadioShack
Boise, Idaho 83714                        16608      7/23/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Martin Godfrey
4964 Elsa Road                                                 RS Legacy Corporation fka RadioShack
San Diego, CA 92120                       16609      7/23/2016 Corporation                                                     $20.00                                                                                           $20.00
Martin Godfrey
4964 Elsa Road                                                 RS Legacy Corporation fka RadioShack
San diego, CA 92120                       16610      7/23/2016 Corporation                                                     $20.00                                                                                           $20.00
Winegarner, Cortney
PO Box 535                                                     RS Legacy Corporation fka RadioShack
Perryton, TX 79070                        16611      7/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Charlene Clark
18 Weaver Road                                                 RS Legacy Corporation fka RadioShack
Johnston, RI 02919                        16612      7/23/2016 Corporation                                                    $100.00                                                                                          $100.00
Merritt, Willaim E.
5450 SW 18th DRive                                             RS Legacy Corporation fka RadioShack
Portland, OR 97239                        16613      7/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Halverson, Tami R.
7412 Dusk Dr.                                                  RS Legacy Corporation fka RadioShack
Johnston, IA 50131                        16614      7/23/2016 Corporation                                                     $37.09                                                                                           $37.09
Thomas, Sandra C.
11 Gary Horse Drive                                            RS Legacy Corporation fka RadioShack
Cary, NC 27513                            16615      7/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Chaney james
5527 calle las palmas                                          RS Legacy Corporation fka RadioShack
Evansville, In 47712                      16616      7/23/2016 Corporation                                                     $54.00                                                                                           $54.00
Nyeka James
36 east avenue                                                 RS Legacy Corporation fka RadioShack
Valley stream, New York 11580             16617      7/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Athenia Frazier
1509 Winfield Road                                             RS Legacy Corporation fka RadioShack
Columbia, SC 29209                        16618      7/23/2016 Corporation                                                    $140.00                                                                                          $140.00
Travis Wright
3776 Rivers Pointe Way Apt 15                                  RS Legacy Corporation fka RadioShack
Liverpool, NY 13090                       16619      7/23/2016 Corporation                                                      $9.90                                                                                            $9.90
MARY K REICHART
34 S Russell St                                                RS Legacy Corporation fka RadioShack
York, PA 11740                            16620      7/23/2016 Corporation                                                      $0.00                                                                                            $0.00
christopher schmitt
5460 helena rd n                                               RS Legacy Corporation fka RadioShack
oakdale, mn 55128                         16621      7/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Andrew Kehl
5113 NEPONSET AVE                                              RS Legacy Corporation fka RadioShack
ORLANDO, FL 32808                         16622      7/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Andrew Sanchez
400 n oakland Ave #210                                         RS Legacy Corporation fka RadioShack
Pasdena, ca 91101                         16623      7/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Emma Herber
10112 Jefferson Way                                            RS Legacy Corporation fka RadioShack
Fort Wayne, IN 46825                      16624      7/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Marius Magdun
928 Prominade Cr                                               RS Legacy Corporation fka RadioShack
Cicero, IN 46034                          16625      7/24/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
jason gomez
50 worden avenue                                               RS Legacy Corporation fka RadioShack
hopelawn, nj 08861                        16626      7/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Noah Wilt
9731 Evening Bird Ln                                           RS Legacy Corporation fka RadioShack
Laurel, md 20723                          16627      7/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Maria Edvalson
2 Wallace Lane                                                 RS Legacy Corporation fka RadioShack
Mont Vernon, NH 03057                     16628      7/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Jeff Small
53 Weyland Circle                                              RS Legacy Corporation fka RadioShack
North Andover, MA 01845                   16629      7/24/2016 Corporation                                                     $10.61                                                                                           $10.61
Kimberley Portugal
101 Denali Ct.                                                 RS Legacy Corporation fka RadioShack
Greenville, SC 29605                      16630      7/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Matthew Queen
1255 Wentworth Avenue                                          RS Legacy Corporation fka RadioShack
Pasadena, CA 91106                        16631      7/24/2016 Corporation                                                      $0.00                                                                                            $0.00
H. Sheldon Kaufman
7004 Blvd. East                                                RS Legacy Corporation fka RadioShack
Guttenberg, NJ 07093                      16632      7/24/2016 Corporation                                                     $16.60                                                                                           $16.60
Tim Cyphers
2016 S Galen Hall Road                                         RS Legacy Corporation fka RadioShack
Reinholds, PA 17569                       16633      7/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Tim Cyphers
2016 S Galen Hall Road                                         RS Legacy Corporation fka RadioShack
Reinholds, PA 17569                       16634      7/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Shoemaker, Phyllis
233 Sisth Ave                                                  RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15229                      16635      7/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Ron Guy / Garthe Robinson
4444 Caminito Fuente                                           RS Legacy Corporation fka RadioShack
Mansfirel TX, 76063                       16636      7/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Bock, Bruce
34015 Old Highway 13                                           RS Legacy Corporation fka RadioShack
Waseca, MN 56093                          16637      7/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Bock, Bruce
34015 Old Highway 13                                           RS Legacy Corporation fka RadioShack
Waseca, MN 56093                          16638      7/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Henry Adaniya
2205 Manoa Rd Apt A                                            RS Legacy Corporation fka RadioShack
Honolulu, HI 96822                        16639      7/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Nanda Alie
1831 Wickham Road                                              RS Legacy Corporation fka RadioShack
Olney, MD 20832                           16640      7/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Vanessa Ayala
16526 Front Royal St                                           RS Legacy Corporation fka RadioShack
San Antonio, TX 78247                     16641      7/25/2016 Corporation                                                     $20.00                                                                                           $20.00
Kathryn Williams
737 E 12th St                                                  RS Legacy Corporation fka RadioShack
Houston, TX 77008                         16642      7/25/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                     Current General                                              Current 503(b)(9)
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            Creditor Name and Address       Claim No.   Claim Date                    Debtor                         Unsecured Claim                                               Admin Priority
                                                                                                                                            Claim Amount         Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                       Amount
Timothy Herman
102 Winding Brook Drive                                           RS Legacy Corporation fka RadioShack
Cinnaminson, NJ 08077                        16643      7/25/2016 Corporation                                                      $0.00                                                                                              $0.00
Patricia Martinez
112 Dandelion Loop                                                RS Legacy Corporation fka RadioShack
Kyle, Tx 78640                               16644      7/25/2016 Corporation                                                      $0.00                                                                                              $0.00
Darlene Marie
1180 E st Apt #405                                                RS Legacy Corporation fka RadioShack
Hayward, Ca 94541                            16645      7/25/2016 Corporation                                                    $200.00                                                                                            $200.00
Robert Rodgers
1180 E st #405                                                    RS Legacy Corporation fka RadioShack
hayward, ca 94541                            16646      7/25/2016 Corporation                                                    $150.00                                                                                            $150.00
New York State Department of Taxation and
Finance
Bankruptcy Section
PO Box 5300                                                       RS Legacy Corporation fka RadioShack
Albany, NY 12205                             16647      7/19/2016 Corporation                                                  $5,403.01          $590,146.27                                                                   $595,549.28
Daniel Rice
2227 Creek Hill Rd                                                RS Legacy Corporation fka RadioShack
Lancaster, PA 17604                          16648      7/25/2016 Corporation                                                      $0.00                                                                                              $0.00
Raul Quinones
1659 saint Stephen                                                RS Legacy Corporation fka RadioShack
el paso, TX 79936                            16649      7/25/2016 Corporation                                                     $59.53                                                                                             $59.53
Raul Quinones
1659 Saint stephen                                                RS Legacy Corporation fka RadioShack
el paso, TX 79936                            16650      7/25/2016 Corporation                                                     $17.34                                                                                             $17.34
Irene Valdez
1358 w DuPont ave                                                 RS Legacy Corporation fka RadioShack
Salt Lake City, Utah 84116                   16651      7/25/2016 Corporation                                                      $0.00                                                                                              $0.00
Brian Hromadka
42 Bartlett's Reach                                               RS Legacy Corporation fka RadioShack
Amesbury, MA 01913                           16652      7/25/2016 Corporation                                                      $0.00                                                                                              $0.00
Nomer Reyes
40270 Ayer Lane                                                   RS Legacy Corporation fka RadioShack
Temecula, AZ 92591                           16653      7/25/2016 Corporation                                                      $0.00                                                                                              $0.00
Rebekka Nickle
3057 North 1800 East                                              RS Legacy Corporation fka RadioShack
North Logan, UT 84341                        16654      7/26/2016 Corporation                                                      $0.00                                                                                              $0.00
Christopher Banuelos
321 Hardison street                                               RS Legacy Corporation fka RadioShack
santa paula, california 93060                16655      7/26/2016 Corporation                                                      $0.00                                                                                              $0.00
Shane Knepper
24 Springfield Lane                                               RS Legacy Corporation fka RadioShack
Williamsport, MD 21795                       16656      7/26/2016 Corporation                                                     $60.00                                                                                             $60.00
Mary Anne Devonshire
63 Shipyard Drive #1904                                           RS Legacy Corporation fka RadioShack
Hilton Head Drive, SC 29928                  16657      7/26/2016 Corporation                                                     $23.72                                                                                             $23.72
Jeffrey Fischler
44 Harwick Rd                                                     RS Legacy Corporation fka RadioShack
Westbury, NEW YORK 11590                     16658      7/26/2016 Corporation                                                      $0.00                                                                                              $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Lavenia Putnam
287 Welborn Rd                                                 RS Legacy Corporation fka RadioShack
Pickens, Sc 29671                         16659      7/26/2016 Corporation                                                     $50.00                                                                                           $50.00
Ryan de la Vega
4203 Iroquois Ave.                                             RS Legacy Corporation fka RadioShack
Lakewood, CA 90713                        16660      7/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Cheryl Hawkins
PO Box 8                                                       RS Legacy Corporation fka RadioShack
Sherman, CT 06784                         16661      7/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Endjie Ulysse
17 vernon place                                                RS Legacy Corporation fka RadioShack
east orange, nj 07017                     16662      7/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Hubert Hawkins
8 Lake Shore Woods Rd.                                         RS Legacy Corporation fka RadioShack
Sherman, CT 06784                         16663      7/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Oren Malka
332 Coburn Ave                                                 RS Legacy Corporation fka RadioShack
Worcester, MA 01604                       16664      7/26/2016 Corporation                                                     $31.86                                                                                           $31.86
toni cunningham
34 hunter rd                                                   RS Legacy Corporation fka RadioShack
augusta, me 04330                         16665      7/26/2016 Corporation                                                     $10.00                                                                                           $10.00
Joshua R Burns
154 Azalea circle                                              RS Legacy Corporation fka RadioShack
Jackson, NJ 08527                         16666      7/26/2016 Corporation                                                    $150.00                                                                                          $150.00
Reid Moody
5339 Magdelena Dr                                              RS Legacy Corporation fka RadioShack
Austin, TX 78735                          16667      7/26/2016 Corporation                                                      $0.00                                                                                            $0.00
MaryJane Reed
1346 Kathy Avenue                                              RS Legacy Corporation fka RadioShack
Moscow Mills, MO 63362                    16668      7/26/2016 Corporation                                                      $0.00                                                                                            $0.00
NORMAN FUQUA
2023 96TH PL SE                                                RS Legacy Corporation fka RadioShack
EVERETT, WA 98208                         16669      7/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Paul Lephart
3615 Westover Circle                                           RS Legacy Corporation fka RadioShack
Leesburg, Fl. 34748                       16670      7/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Mark Wingard
47 Quartz Trail                                                RS Legacy Corporation fka RadioShack
Santa Fe, NM 87505                        16671      7/26/2016 Corporation                                                     $20.54                                                                                           $20.54
Swati Kumar
8508 Mustang Dr                                                RS Legacy Corporation fka RadioShack
Irving, TX 75063                          16672      7/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Ana Martinez
11917 E Ford Drive                                             RS Legacy Corporation fka RadioShack
Aurora, Colorado 80012                    16673      7/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Swati Kumar
8508 Mustang Dr                                                RS Legacy Corporation fka RadioShack
Irving, TX 75063                          16674      7/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Daniel Gaetano
5003 E Desert Vista Trail                                      RS Legacy Corporation fka RadioShack
Cave Creek, AZ 85331                      16675      7/26/2016 Corporation                                                     $50.00                                                                                           $50.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Jessica Beltran
1207 Pacific Ave                                               RS Legacy Corporation fka RadioShack
Bremerton, Wa 98337                       16676      7/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael Hutnak
132 NW Main Street                                             RS Legacy Corporation fka RadioShack
Douglas, MA 01516                         16677      7/26/2016 Corporation                                                    $135.00                                                                                          $135.00
Elga Wynn
1125 Watercourse way                                           RS Legacy Corporation fka RadioShack
Hampton, Ga 30228                         16678      7/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Tony Wilson
1950 Cushman Drive                                             RS Legacy Corporation fka RadioShack
Columbia, SC 29204                        16679      7/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Karen Mongellow
3730 Sentinel Heights Rd                                       RS Legacy Corporation fka RadioShack
Lafayette, Ny 13084                       16680      7/27/2016 Corporation                                                    $100.00                                                                                          $100.00
Mrugesh patel
2225 smoky park hwy                                            RS Legacy Corporation fka RadioShack
Candler, Nc 28715                         16681      7/27/2016 Corporation                                                      $0.00                                                                                            $0.00
william wise
801 cooperlanding rd apt a713                                  RS Legacy Corporation fka RadioShack
cherry hill, nj 08002                     16682      7/27/2016 Corporation                                                     $22.00                                                                                           $22.00
Diane Weeks
257 Blodgett View                                              RS Legacy Corporation fka RadioShack
Hamilton, MT 59840                        16683      7/27/2016 Corporation                                                     $60.00                                                                                           $60.00
Tyson Hunt
137 Woodlawn Ave                                               RS Legacy Corporation fka RadioShack
Saratoga Springs, NY 12866                16684      7/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Donna Scholes
655 Calvin Street                                              RS Legacy Corporation fka RadioShack
Washington Township, NJ 07676             16685      7/27/2016 Corporation                                                      $0.00                                                                                            $0.00
George Michael Ryan
418 South Poplar Street                                        RS Legacy Corporation fka RadioShack
Greensburg, Kansas 67054                  16686      7/27/2016 Corporation                                                     $50.00                                                                                           $50.00
Don MacLaren
343 SW Hunter RD                                               RS Legacy Corporation fka RadioShack
Lake City, FL 32024                       16687      7/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Carole Isenhart
5789 Garden Plain Rd.                                          RS Legacy Corporation fka RadioShack
Fulton, IL 61252                          16688      7/27/2016 Corporation                                                      $3.92                                                                                            $3.92
Carole Isenhart
5789 Garden Plain Rd                                           RS Legacy Corporation fka RadioShack
Fulton, IL 61252                          16689      7/27/2016 Corporation                                                      $8.90                                                                                            $8.90
Terrance williams
3753 cimarron st                                               RS Legacy Corporation fka RadioShack
Los Angeles, 3 90018                      16690      7/27/2016 Corporation                                                     $75.00                                                                                           $75.00
Brian Tyler
9550 W. Sahara Avenue Unit 1062                                RS Legacy Corporation fka RadioShack
Las Vegas, NV 89117                       16691      7/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Adam Rodriguez
6308 Pala Ave                                                  RS Legacy Corporation fka RadioShack
Bell, CA 90201                            16692      7/27/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Lauren Leithead
739 Beacom Lane                                                RS Legacy Corporation fka RadioShack
Merion Station, pa 19066                  16693      7/27/2016 Corporation                                                     $13.26                                                                                           $13.26
Macy Olds
5390 south county road 175 east                                RS Legacy Corporation fka RadioShack
north Vernon, IN 47265                    16694      7/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Shannon Robinson
1646 Nicole 144th Dr                                           RS Legacy Corporation fka RadioShack
Goodyear, Az 85395                        16695      7/27/2016 Corporation                                                      $8.68                                                                                            $8.68
Dale Plueckhahn
52 Marrano Dr                                                  RS Legacy Corporation fka RadioShack
Depew, NY 14043                           16696      7/28/2016 Corporation                                                     $25.00                                                                                           $25.00
Scott Harper
341 Buck Cash Dr                                               RS Legacy Corporation fka RadioShack
Westminster, MD 21158                     16697      7/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Sunil Malhotra
4025 Fragile Sail Way                                          RS Legacy Corporation fka RadioShack
Ellicott City, MD 21042                   16698      7/28/2016 Corporation                                                     $25.00                                                                                           $25.00
jay hova
560 sw 15th ave # 207                                          RS Legacy Corporation fka RadioShack
miami, fl 33030                           16699      7/28/2016 Corporation                                                      $0.00                                                                                            $0.00
jay hova
560 sw 15th ave # 207                                          RS Legacy Corporation fka RadioShack
homestead, fl 33030                       16700      7/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael Fain
2517 Salem Street                                              RS Legacy Corporation fka RadioShack
Cincinnati, OH 45208                      16701      7/28/2016 Corporation                                                      $0.00                                                                                            $0.00
William Hauck
220 W Center St                                                RS Legacy Corporation fka RadioShack
Paxton, IL 60957                          16702      7/28/2016 Corporation                                                     $20.00                                                                                           $20.00
Nancy Brzezinski
5996 Allen Rd                                                  RS Legacy Corporation fka RadioShack
Little Suamico, WI 54141                  16703      7/28/2016 Corporation                                                     $20.00                                                                                           $20.00
Janie Swartz
5534 bentwood dr                                               RS Legacy Corporation fka RadioShack
Mason, Ohio 45040                         16704      7/28/2016 Corporation                                                     $14.94                                                                                           $14.94
Carla Harvell
508 W. Wilkinson Street                                        RS Legacy Corporation fka RadioShack
Kill Devil Hills, NC 27948                16705      7/28/2016 Corporation                                                    $450.00                                                                                          $450.00
Stephen V. Buscema
271 Boxford Road                                               RS Legacy Corporation fka RadioShack
Haverhill, MA 01835                       16706      7/28/2016 Corporation                                                     $20.00                                                                                           $20.00
Claire Fratello
1677 Fairmount Road                                            RS Legacy Corporation fka RadioShack
Thousand Oaks, ca 91362                   16707      7/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Claire Fratello
1677 Fairmount Road                                            RS Legacy Corporation fka RadioShack
Thousand Oaks, CA 91362                   16708      7/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Leif Steiner
1140 Pearl Street                                              RS Legacy Corporation fka RadioShack
Boulder, CO 80302                         16709      7/28/2016 Corporation                                                     $50.91                                                                                           $50.91




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
SHAOSHAN LIAO
1408 NEW AVE APT C                                             RS Legacy Corporation fka RadioShack
SAN GABRIEL, CA 91776                     16710      7/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Melissa Beaudry
532 Lancaster Street                                           RS Legacy Corporation fka RadioShack
Jacksonville, Florida 32204               16711      7/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Pratyusha banerjee
4720 Ariano dr,                                                RS Legacy Corporation fka RadioShack
Cypress, CA 90630                         16712      7/28/2016 Corporation                                                     $10.76                                                                                           $10.76
MICHAEL GINDLESBERGER
115 KIRK HILL RD                                               RS Legacy Corporation fka RadioShack
DELTONA, FL 32738 32738                   16713      7/29/2016 Corporation                                                    $108.95                                                                                          $108.95
Michael A Powers
6796 W. Crosbeck Ct                                            RS Legacy Corporation fka RadioShack
Homosassa, Florida 34446                  16714      7/29/2016 Corporation                                                     $25.00                                                                                           $25.00
brittany williams
3581 E 135th st                                                RS Legacy Corporation fka RadioShack
cleveland, oh 44120                       16715      7/29/2016 Corporation                                                    $500.00                                                                                          $500.00
zac davenport
435 market street                                              RS Legacy Corporation fka RadioShack
santa cruz, ca 95060                      16716      7/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Andrew Kanya
2705 Dale Dr                                                   RS Legacy Corporation fka RadioShack
Champaign, Il 61821                       16717      7/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Nancy Baumhover
109 Meghann Drive                                              RS Legacy Corporation fka RadioShack
Marion, IA 52302                          16718      7/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Patrice Jones
4208 Kendall Farms Way                                         RS Legacy Corporation fka RadioShack
Winston Salem, NC 27107                   16719      7/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Harold Cheyne
8900 Feather Hill Road                                         RS Legacy Corporation fka RadioShack
Austin, TX 78737                          16720      7/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Elva Lozano
205 Wing Falls                                                 RS Legacy Corporation fka RadioShack
San Antonio, TX 78253                     16721      7/29/2016 Corporation                                                     $37.02                                                                                           $37.02
McDonnell, Dolores
414 Birchwood Dr                                               RS Legacy Corporation fka RadioShack
Lockport, NY 14094                        16722      7/29/2016 Corporation                                                     $20.57                                                                                           $20.57
McGoldrick, John
113 Halls Rd                                                   RS Legacy Corporation fka RadioShack
Great Bend, PA 18821                      16723      7/29/2016 Corporation                                                      $0.00                                                                                            $0.00
McDonnell, Dolores
414 Birchwood Dr                                               RS Legacy Corporation fka RadioShack
Lockport, NY 14094                        16724      7/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          16725      8/11/2016 Corporation                                                                                                                                                       $0.00
Gelegonya, Teresa
4377 W. Point Loma Blvd., Apt C                                RS Legacy Corporation fka RadioShack
San Diego, CA 92107                       16726      7/29/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Gina Vogel
20418 11th AVE CT E                                            RS Legacy Corporation fka RadioShack
Spanaway, WA 98387                        16727      7/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Annyssa Interrante
POB 3565                                                       RS Legacy Corporation fka RadioShack
Cleburne, Texas 76033                     16728      7/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          16729      8/11/2016 Corporation                                                                                                                                                       $0.00
Nauman, Georgia
15 W Shore Rd                                                  RS Legacy Corporation fka RadioShack
North Oaks, MN 55127                      16730      7/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Azar, Marcia
15775 Summer Ridge Dr                                          RS Legacy Corporation fka RadioShack
Chesterfield, MO 63017                    16731      7/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Bond, Ann
6537 Clarksville Pike                                          RS Legacy Corporation fka RadioShack
Joelton, TN 37080                         16732      7/29/2016 Corporation                                                    $142.01                                                                                          $142.01
Scarchilli, Arnold V
51 Creek Rd Apt. 706                                           RS Legacy Corporation fka RadioShack
Poughkeepsie, NY 12601                    16733      7/29/2016 Corporation                                                     $23.00                                                                                           $23.00
Kilcoyne, Irene D
88 Walden Fields Drive                                         RS Legacy Corporation fka RadioShack
Delmar, NY 12054                          16734      7/29/2016 Corporation                                                     $21.59                                                                                           $21.59
Fulgoni, Lisa
19 Grove Street                                                RS Legacy Corporation fka RadioShack
Billerica, MA 01821                       16735      7/29/2016 Corporation                                                     $18.05                                                                                           $18.05
Wardyga, Alan S.
106 Brentwood Drive                                            RS Legacy Corporation fka RadioShack
North Smithfield, RI 02896                16736      7/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Wardyga, Alan S.
106 Brentwood Drive                                            RS Legacy Corporation fka RadioShack
North Smithfield, RI 02896                16737      7/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Fulger, Joan E
6934 Cooper Rd                                                 RS Legacy Corporation fka RadioShack
Lansing, MI 48911                         16738      7/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Wright, Glenna
14152 Vassar Rd                                                RS Legacy Corporation fka RadioShack
Millington, MI 48746                      16739      7/29/2016 Corporation                                                     $84.79                                                                                           $84.79
Rhine, Charlotte
1375 Mainsail Drive Unit 1712                                  RS Legacy Corporation fka RadioShack
Naples, FL 34114                          16740      7/29/2016 Corporation                                                     $31.79                                                                                           $31.79
Vasoll, Linner
8 Stone Court                                                  RS Legacy Corporation fka RadioShack
Northport, NY 11768                       16741      7/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Meranti, Gloria
918 Washington St.                                             RS Legacy Corporation fka RadioShack
Throop, PA 18512                          16742      7/29/2016 Corporation                                                     $25.42                                                                                           $25.42
Clark, Catherine Ann
P.O. Box 4239                                                  RS Legacy Corporation fka RadioShack
Manassas, VA 20108                        16743      7/29/2016 Corporation                                                     $15.00                                                                                           $15.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Wesley, Christine
218 Baywood road                                               RS Legacy Corporation fka RadioShack
West Chester, PA 19382                    16744      7/29/2016 Corporation                                                     $63.57                                                                                           $63.57
Fred Pieper
11902 Road 162                                                 RS Legacy Corporation fka RadioShack
Paulding, OH 45879                        16745      7/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert N. Patterson
71 Mayflower Hill Dr                                           RS Legacy Corporation fka RadioShack
Waterville, ME 04901                      16746      7/29/2016 Corporation                                                     $20.29                                                                                           $20.29
kirk beaudette
2958 dug gap road                                              RS Legacy Corporation fka RadioShack
maryville, tn 37777                       16747      7/29/2016 Corporation                                                     $20.00                                                                                           $20.00
Guadalupe Villalpando
528 Apple Grove ln                                             RS Legacy Corporation fka RadioShack
Santa Barbara, CA 93105                   16748      7/29/2016 Corporation                                                    $100.00                                                                                          $100.00
giuliana rigali
437 golden isles dr apt 7d                                     RS Legacy Corporation fka RadioShack
hallandale beach, fl 3009                 16749      7/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Shereen Hatefi
8895 Flintridge Lane                                           RS Legacy Corporation fka RadioShack
Temescal Valley, CA 92883                 16750      7/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Angel Vaughn
9 Lewis Ave #304                                               RS Legacy Corporation fka RadioShack
Oneonta, NY 13820                         16751      7/30/2016 Corporation                                                    $200.00                                                                                          $200.00
Paul Dezzutto
5109 Fairmead Circle                                           RS Legacy Corporation fka RadioShack
Raleigh, NC 27613                         16752      7/30/2016 Corporation                                                     $37.44                                                                                           $37.44
kara Campbell
221 South Joynt Road                                           RS Legacy Corporation fka RadioShack
Decatur, IL 62522                         16753      7/30/2016 Corporation                                                     $16.34                                                                                           $16.34
Gregory Massey
756 Fairhaven st. ne.                                          RS Legacy Corporation fka RadioShack
palm bay, florida 32907                   16754      7/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Andrew Kanya
2705 Dale Dr                                                   RS Legacy Corporation fka RadioShack
Champaign, Il 61821                       16755      7/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Andrew Kanya
2705 Dale Dr                                                   RS Legacy Corporation fka RadioShack
Champaign, Il 61821                       16756      7/30/2016 Corporation                                                      $0.00                                                                                            $0.00
paul beavers
7305 Cedar Edge Drive                                          RS Legacy Corporation fka RadioShack
Austin, texas 78744                       16757      7/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Paul Perry
11805 Caribou Avenue NE                                        RS Legacy Corporation fka RadioShack
Albuquerque, NM 87111                     16758      7/30/2016 Corporation                                                     $35.23                                                                                           $35.23
David Kramer
542 Harvest Lane                                               RS Legacy Corporation fka RadioShack
Verona, WI 53593                          16759      7/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Keith Cromer
1730 Grey                                                      RS Legacy Corporation fka RadioShack
Evanston, Ill ^60201                      16760      7/30/2016 Corporation                                                     $56.37                                                                                           $56.37




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Brian Myres
3429 Westwind Drive                                            RS Legacy Corporation fka RadioShack
Nesbit, MS 38651                          16761      7/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Cristi Reid
8403 Sailboat Ln                                               RS Legacy Corporation fka RadioShack
Lusby, MD 20657                           16762      7/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Sresth Kumar
200 Castle Garden St                                           RS Legacy Corporation fka RadioShack
Cary, 27513, 27513 27513                  16763      7/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Matthew Bergstresser
156 Porter St., suite 346                                      RS Legacy Corporation fka RadioShack
East Boston, MA 02128                     16764      7/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Peng Peng
18043 Clear Spring Ln                                          RS Legacy Corporation fka RadioShack
Eden Prairie, MN 55347                    16765      7/30/2016 Corporation                                                     $44.87                                                                                           $44.87
Emilee Guillem
3886 Aragon lane                                               RS Legacy Corporation fka RadioShack
San Ramon, Ca 94583                       16766      7/31/2016 Corporation                                                    $100.00                                                                                          $100.00
PATRICIA FRONK
10 Harding Blvd                                                RS Legacy Corporation fka RadioShack
Scotia, NY 12302                          16767      7/31/2016 Corporation                                                     $16.20                                                                                           $16.20
Joseph A
17 Paag lane                                                   RS Legacy Corporation fka RadioShack
Little silver, Nj 07739                   16768      7/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Stephen Letcher
1307 Grand Canopy Drive                                        RS Legacy Corporation fka RadioShack
Severn, MD 21144                          16769      7/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Chris Va
6108 Demonte Way                                               RS Legacy Corporation fka RadioShack
ELK GROVE, CA 95757                       16770      7/31/2016 Corporation                                                    $487.26                                                                                          $487.26
Erlinda Thomas
3585 32nd St                                                   RS Legacy Corporation fka RadioShack
San Diego, CA 92104                       16771      7/31/2016 Corporation                                                     $66.74                                                                                           $66.74
Ephraim Wiesel
1585 Jefferson st                                              RS Legacy Corporation fka RadioShack
Teaneck, Nj 07666                         16772      7/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Ephraim Wiesel
1585 Jefferson                                                 RS Legacy Corporation fka RadioShack
st Teaneck, Nj 07666                      16773      7/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Mirlene guer
250 west lake mary blcd                                        RS Legacy Corporation fka RadioShack
sanford, Florida 32771                    16774      7/31/2016 Corporation                                                    $100.00                                                                                          $100.00
Karyn Arellano
14304 SW 129th Pl                                              RS Legacy Corporation fka RadioShack
Miami, FL 33186                           16775      7/31/2016 Corporation                                                     $21.39                                                                                           $21.39
Martha Freshour
125 Tupelo Ave Apt 7                                           RS Legacy Corporation fka RadioShack
Nettleton, MS 38858                       16776      7/31/2016 Corporation                                                    $100.00                                                                                          $100.00
debra peterson
6906 Saranac Street                                           RS Legacy Corporation fka RadioShack
San Diego, CA 92115                       16777      8/1/2016 Corporation                                                       $0.00                                                                                            $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Michelle Jones
1311 Gerald Way                                               RS Legacy Corporation fka RadioShack
Fallbrook, CA 92028                       16778      8/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Farbstein, Diana
4018 Sheridan Street                                           RS Legacy Corporation fka RadioShack
Hollywood, Fl 33021                       16779      8/1/2016 Corporation                                                      $10.59                                                                                           $10.59
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          16780      8/11/2016 Corporation                                                                                                                                                       $0.00
Foster, Sally
4022 Indigo Drive                                             RS Legacy Corporation fka RadioShack
Pensacola, FL 32507                       16781      8/1/2016 Corporation                                                       $0.00                                                                                            $0.00
James Kingston
2607 Stonecreek Drive                                         RS Legacy Corporation fka RadioShack
Richland, WA 99354                        16782      8/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Jasmine Houston
6240 Antoine dr 128                                           RS Legacy Corporation fka RadioShack
Houston, Texas 77091                      16783      8/1/2016 Corporation                                                      $30.00                                                                                           $30.00
Patricia M Nepa
201 Sussex Way                                                RS Legacy Corporation fka RadioShack
McMurray, PA 15317                        16784      8/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Joan M Dvorsky
306 Augusta Street                                            RS Legacy Corporation fka RadioShack
Racine, WI 53402                          16785      8/1/2016 Corporation                                                       $4.20                                                                                            $4.20
Matthew allen Hawkins
29855 CherryHill rd APT # 1                                   RS Legacy Corporation fka RadioShack
inkster, mi 48141                         16786      8/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Noreilis Bango
4686 SW YACOLT DR.                                            RS Legacy Corporation fka RadioShack
PORT ST. LUCIE, FLORIDA 34953             16787      8/1/2016 Corporation                                                      $53.24                                                                                           $53.24
Ron Zacchi
263 Ray Avenue                                                RS Legacy Corporation fka RadioShack
Schenectady, Ny 12304                     16788      8/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Paul Amyx
135 7th St Apt 3                                              RS Legacy Corporation fka RadioShack
Seal Beach, CA 90740                      16789      8/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Saee Una
4590 NW 188th Ave                                             RS Legacy Corporation fka RadioShack
Portland, Or 97229                        16790      8/1/2016 Corporation                                                       $0.00                                                                                            $0.00
ALBERS SCOTT
305 WEST 28 STREET, 15H                                       RS Legacy Corporation fka RadioShack
NYC, NY 10001                             16791      8/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Kristen Musson
27 N Morgan Street Apt 2                                      RS Legacy Corporation fka RadioShack
Chicago, IL 60607                         16792      8/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Scott Nelson
177 Stacia St                                                 RS Legacy Corporation fka RadioShack
Los Gatos, CA 95030                       16793      8/1/2016 Corporation                                                       $0.00                                                                                            $0.00
George Microulis
39 Elm Street                                                 RS Legacy Corporation fka RadioShack
Quincy, MA 02169                          16794      8/1/2016 Corporation                                                      $13.90                                                                                           $13.90




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                                                                                                                 Current General                                            Current 503(b)(9)
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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Virginia Hoeschen
635 Phalen Blvd apt 212                                       RS Legacy Corporation fka RadioShack
Saint Paul, MN 55130                      16795      8/1/2016 Corporation                                                     $64.56                                                                                           $64.56
Tiffany Johnson
1111 S. Laflin                                                RS Legacy Corporation fka RadioShack
60607, 60607 unit 1614                    16796      8/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Derek Stabley
56230 lancewood                                               RS Legacy Corporation fka RadioShack
Utica, MI 48316                           16797      8/1/2016 Corporation                                                      $0.00                                                                                            $0.00
brooke heath
1225 Los Olivos st                                            RS Legacy Corporation fka RadioShack
CHULA VISTA, CA 91913                     16798      8/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Derrick Lopez
38 Pyle street                                                RS Legacy Corporation fka RadioShack
Oradell, NJ 07649                         16799      8/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael DeCaro
2122 West Butler Dr Apt 256                                   RS Legacy Corporation fka RadioShack
Phoenix, AZ 85021                         16800      8/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Alex Sadovskiy
2045 N Timothy Ln                                             RS Legacy Corporation fka RadioShack
Sanford, MI 48657                         16801      8/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Glenn Held
103 William St.                                               RS Legacy Corporation fka RadioShack
Port Jefferson, NY 11777                  16802      8/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert Kinion
P.O. Box 282                                                  RS Legacy Corporation fka RadioShack
Fincastle, Va 24090                       16803      8/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Austin Malone
1957 Dabbs Ave                                                RS Legacy Corporation fka RadioShack
Nashville, TN 37215                       16804      8/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Sara Powell
1308 s Water st                                               RS Legacy Corporation fka RadioShack
Wichita, Kansas 67213                     16805      8/2/2016 Corporation                                                     $50.00                                                                                           $50.00
Stacey Kaplan
2443 NW 63rd St.                                              RS Legacy Corporation fka RadioShack
Boca Raton, FL 33496                      16806      8/2/2016 Corporation                                                      $0.00                                                                                            $0.00
William Miler
PO Box 224645                                                 RS Legacy Corporation fka RadioShack
Dallas, Tx 75222                          16807      8/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Cepeda, Deborah
9 Bartholomew Avenue                                          RS Legacy Corporation fka RadioShack
Ansonia, CT 06401                         16808      8/2/2016 Corporation                                                      $0.00                                                                                            $0.00
William Miler
PO Box 224645                                                 RS Legacy Corporation fka RadioShack
Dallas, Tx 75222                          16809      8/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Bowen, Norman
4623 Old Pageland ‐ Marshville Rd                             RS Legacy Corporation fka RadioShack
Monroe, NC 28112                          16810      8/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Peri, Robert
335 East 10th Street                                          RS Legacy Corporation fka RadioShack
New York, NY 10009                        16811      8/2/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                 Current General                                            Current 503(b)(9)
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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Bowen, Norman
4623 Old Pageland ‐ Marshville Rd                             RS Legacy Corporation fka RadioShack
Monroe, NC 28112                          16812      8/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Bowen, Norman
4623 Old Pageland ‐ Marshville Rd                             RS Legacy Corporation fka RadioShack
Monroe, NC 28112                          16813      8/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Schapiro, Howard
1601 Waterbury CT                                             RS Legacy Corporation fka RadioShack
Bel Air, MD 21014                         16814      8/2/2016 Corporation                                                     $38.82                                                                                           $38.82
Reed, Brenda
1480 Keats                                                    RS Legacy Corporation fka RadioShack
Dyersburg, TN 38024                       16815      8/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Antonio, Annette
2554 Olive Dr. Apt 59                                         RS Legacy Corporation fka RadioShack
Palmdale, CA 93550                        16816      8/2/2016 Corporation                                                     $20.00                                                                                           $20.00
Sharon Mooney
27 Pebblebrook                                                RS Legacy Corporation fka RadioShack
Windsor, CT 06095                         16817      8/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Bowen, Norman
4623 Old Pageland ‐ Marshville Rd                             RS Legacy Corporation fka RadioShack
Monroe, NC 28112                          16818      8/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Borrero Sr, Angelo F
PO Box 244                                                    RS Legacy Corporation fka RadioShack
Traverse City, MI 49685                   16819      8/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Rasmussen, Robert
1315 Willow Springs Wax                                       RS Legacy Corporation fka RadioShack
Irving, UT 84738                          16820      8/2/2016 Corporation                                                    $100.00                                                                                          $100.00
McLauren, Jacqueline
3303 3 rd Ave                                                 RS Legacy Corporation fka RadioShack
Richmond, VA 23222                        16821      8/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Bowen, Norman
4623 Old Pageland ‐ Marshville Rd                             RS Legacy Corporation fka RadioShack
Monroe, NC 28112                          16822      8/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Arias, Amenhotep
1600 E. Rochelle Ave. Apt 180                                 RS Legacy Corporation fka RadioShack
Las Vegas, NV 89119                       16823      8/2/2016 Corporation                                                    $100.77                                                                                          $100.77
Jessica Jackson
22 Bethke Rd                                                  RS Legacy Corporation fka RadioShack
Killingworth, CT 06419                    16824      8/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Boucard, Junau
24 East Ave Unit 8                                            RS Legacy Corporation fka RadioShack
Stamford, CT 06902                        16825      8/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Jo Ann Hufker
2224 Aileswick Dr.                                            RS Legacy Corporation fka RadioShack
St. Louis, MO 63129                       16826      8/2/2016 Corporation                                                     $25.00                                                                                           $25.00
Reinhart International, LLC
c/o Kohner, Mann & Kailas, S.C.
4650 North Port Washington Road                               RS Legacy Corporation fka RadioShack
Milwaukee, WI 53212                       16827      8/1/2016 Corporation                                                $45,000.00                                                                                        $45,000.00
josue pineda
1111 humble haven street                                      RS Legacy Corporation fka RadioShack
ruskin, fl 33570                          16828      8/2/2016 Corporation                                                      $0.00                                                                                            $0.00



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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Keisha Salmon
243 Franklin Avenue                                           RS Legacy Corporation fka RadioShack
Brooklyn, NY 11205                        16829      8/2/2016 Corporation                                                     $75.00                                                                                           $75.00
Stephen Bennion
1514 Pebblestone Court                                        RS Legacy Corporation fka RadioShack
Allen, Texas 75002                        16830      8/2/2016 Corporation                                                      $0.00                                                                                            $0.00
ryant connelly
441 vera cruz street                                          RS Legacy Corporation fka RadioShack
corpus christi, texas 78405               16831      8/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Isabella Dalimonte
3478 river run                                                RS Legacy Corporation fka RadioShack
49418, Mi Grandville                      16832      8/3/2016 Corporation                                                    $100.00                                                                                          $100.00
Justin Kabis
72 Spring Hill Road                                           RS Legacy Corporation fka RadioShack
Skillman, NJ 08558                        16833      8/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Shepeluk, Felix
2851 India Blvd.                                              RS Legacy Corporation fka RadioShack
Deltona, FL 32738                         16834      8/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Mahoney, Deanna
633 Stewart St. #14                                           RS Legacy Corporation fka RadioShack
Manteca, CA 95336                         16835      8/3/2016 Corporation                                                    $200.00                                                                                          $200.00
Kronenberg, Joel
5607 St. Joseph Fairway                                       RS Legacy Corporation fka RadioShack
Memphis, TN 38120                         16836      8/3/2016 Corporation                                                     $42.59                                                                                           $42.59
Shepeluk, Felix
2851 India Blvd.                                              RS Legacy Corporation fka RadioShack
Deltona, FL 32738                         16837      8/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Jablonski, Mary Ann
204 Cumberland Ave.                                           RS Legacy Corporation fka RadioShack
Buffalo, NY 14220                         16838      8/3/2016 Corporation                                                     $50.00                                                                                           $50.00
Cesar monsalve
40483 banshee drive                                           RS Legacy Corporation fka RadioShack
Leesburg, Virginia 20175                  16839      8/3/2016 Corporation                                                    $100.00                                                                                          $100.00
David Osman
8904 Thomas Higgs Ct.                                         RS Legacy Corporation fka RadioShack
Toano, VA 23168                           16840      8/3/2016 Corporation                                                     $42.39                                                                                           $42.39
kenneth Souza
6502 Centre Place Cir                                         RS Legacy Corporation fka RadioShack
Spring, TX 77279                          16841      8/3/2016 Corporation                                                      $0.00                                                                                            $0.00
robert koncelik
112 jefferson st                                              RS Legacy Corporation fka RadioShack
east islip, ny 11730                      16842      8/3/2016 Corporation                                                    $100.00                                                                                          $100.00
jared aWestbrook
11433 iowa circle                                             RS Legacy Corporation fka RadioShack
omaha, Nebraska 68142                     16843      8/3/2016 Corporation                                                     $18.75                                                                                           $18.75
elizabeth hurd
152 king st w                                                 RS Legacy Corporation fka RadioShack
SAINT PAUL, mn 55107                      16844      8/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Karen Williams
12 Hastings Dr                                                RS Legacy Corporation fka RadioShack
Falling Waters, WV 25419                  16845      8/3/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Neal Seideman
5 Farnham Court                                               RS Legacy Corporation fka RadioShack
Westport, CT 06880                        16846      8/3/2016 Corporation                                                       $0.00                                                                                            $0.00
Neal Seideman
5 Farnham Court                                               RS Legacy Corporation fka RadioShack
Westport, CT 06880                        16847      8/3/2016 Corporation                                                       $0.00                                                                                            $0.00
Casey Burnett
7655 Cumberland Ct                                            RS Legacy Corporation fka RadioShack
Mobile, AL 36695                          16848      8/3/2016 Corporation                                                       $0.00                                                                                            $0.00
John Holloway
12825 Sagamore Road                                           RS Legacy Corporation fka RadioShack
Leawood, Kansas 66209                     16849      8/3/2016 Corporation                                                       $0.00                                                                                            $0.00
Jay hofmann
6312 deerstand rd                                             RS Legacy Corporation fka RadioShack
Greenwood, In 46143                       16850      8/3/2016 Corporation                                                       $0.00                                                                                            $0.00
Kendall Brown
1007 east avenue S                                            RS Legacy Corporation fka RadioShack
Belton, Tx 76513                          16851      8/3/2016 Corporation                                                       $0.00                                                                                            $0.00
Karen Morey
22327 Maybrook Park Circle                                    RS Legacy Corporation fka RadioShack
Katy, TX 77450                            16852      8/3/2016 Corporation                                                       $0.00                                                                                            $0.00
kingshuk mandal
85 winchester avenue                                          RS Legacy Corporation fka RadioShack
peekskill, ny 10566                       16853      8/3/2016 Corporation                                                     $200.00                                                                                          $200.00
krishnagopal mandal
85 winchester avenue                                          RS Legacy Corporation fka RadioShack
peekskill, ny 10566                       16854      8/3/2016 Corporation                                                     $400.00                                                                                          $400.00
swapna mandal
85 winchester avenue                                          RS Legacy Corporation fka RadioShack
peekskill, ny 10566                       16855      8/3/2016 Corporation                                                     $200.00                                                                                          $200.00
Tim Bond
525 1st Ave W Apt 410                                         RS Legacy Corporation fka RadioShack
Seattle, WA 98119                         16856      8/4/2016 Corporation                                                      $25.00                                                                                           $25.00
Jenelle N Cobb
5007 venuto way                                               RS Legacy Corporation fka RadioShack
Sacramento, Ca 95841                      16857      8/4/2016 Corporation                                                     $100.00                                                                                          $100.00
Erica Gleaton
6013 Clay Street NE                                           RS Legacy Corporation fka RadioShack
Washington, DC 20019                      16858      8/4/2016 Corporation                                                     $100.00                                                                                          $100.00
Janette, Nadine
150 Stellas Way                                               RS Legacy Corporation fka RadioShack
Rocky Point, NC 28457                     16859      8/4/2016 Corporation                                                      $37.09                                                                                           $37.09
Danette Hudoba
200C Heritage Blvd NE Apt. 310                                RS Legacy Corporation fka RadioShack
Isanti, MN 55040                          16860      8/4/2016 Corporation                                                       $0.00                                                                                            $0.00
Kiechle, John
1743 Princeton Ave                                             RS Legacy Corporation fka RadioShack
Salt Lake City, UT 84108                  16861      7/25/2016 Corporation                                                     $21.37                                                                                           $21.37
Smith, Patricia M.
N 3412 Hwy M‐35                                                RS Legacy Corporation fka RadioShack
Menominee, MI 49858                       16862      7/25/2016 Corporation                                                     $10.00                                                                                           $10.00




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                                                                                                                  Current General                                            Current 503(b)(9)
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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Gunnarson, Renee
1481 Palm St. #406                                             RS Legacy Corporation fka RadioShack
Las Vegas, NV 89104                       16863      7/25/2016 Corporation                                                     $25.00                                                                                           $25.00
Bekele, Helen
7030 Utica Street                                              RS Legacy Corporation fka RadioShack
Springfield, VA 22150                     16864      7/25/2016 Corporation                                                                                                                                                       $0.00
Burnett, Tarneisha Lashae
4518 Hwy 161                                                   RS Legacy Corporation fka RadioShack
North Little Rock, AR 72117               16865      7/25/2016 Corporation                                                                                                                                                       $0.00
Braswell, David M
12 Woodland Court                                              RS Legacy Corporation fka RadioShack
Belleville, IL 62226                      16866      7/28/2016 Corporation                                                     $75.00                                                                                           $75.00
Staedler, James
1441 9th Ave, # 1004                                           RS Legacy Corporation fka RadioShack
San Diego, CA 92101                       16867      7/28/2016 Corporation                                                     $21.59                                                                                           $21.59
Foster, Sally
4022 Indigo Drive                                              RS Legacy Corporation fka RadioShack
Pensacola, Fl 32507                       16868      7/28/2016 Corporation                                                                                                                                                       $0.00
Hou, Grant
2 Gold St #1813                                                RS Legacy Corporation fka RadioShack
New York, NY 10038                        16869      7/28/2016 Corporation                                                     $10.16                                                                                           $10.16
Waddell, Stephanie
6170 Hickory Ridge Road                                        RS Legacy Corporation fka RadioShack
Lebanon , TN 37090                        16870      7/29/2016 Corporation                                                     $16.92                                                                                           $16.92
Placer County Tax Collector
2976 Richardson Dr                                            RS Legacy Corporation fka RadioShack
Auburn, CA 95603                          16871      8/1/2016 Corporation                                                                                            $0.00                                                       $0.00
Teradata Operations, Inc.
c/o Thompson Hine LLP
Attention: Jonathan S. Hawkins, Esq.
10050 Innovation Drive, Suite 400                             RS Legacy Corporation fka RadioShack
Miamisburg, OH 45342                      16872      8/1/2016 Corporation                                                 $75,000.00                                                                                        $75,000.00
Sherry Elwell
P O Box 37                                                    RS Legacy Corporation fka RadioShack
Shapleigh, ME 04076                       16873      8/4/2016 Corporation                                                       $0.00                                                                                            $0.00
Greg Abell
8137 Winter Gardens Blvd.                                     RS Legacy Corporation fka RadioShack
Lakeside, CA 92040                        16874      8/4/2016 Corporation                                                       $0.00                                                                                            $0.00
Monica Eagle
13322 Douglas Lake Road                                       RS Legacy Corporation fka RadioShack
Houston, TX 77044                         16875      8/4/2016 Corporation                                                       $0.00                                                                                            $0.00
Judy Lee
326 Chilverton St                                             RS Legacy Corporation fka RadioShack
Santa cruz, Ca 95062                      16876      8/4/2016 Corporation                                                       $0.00                                                                                            $0.00
steven oden
167 Cottontail ln se                                          RS Legacy Corporation fka RadioShack
concord, nc 28025                         16877      8/4/2016 Corporation                                                       $0.00                                                                                            $0.00
Chris Lunt
365 NW 101st Avenue                                           RS Legacy Corporation fka RadioShack
Portland, Oregon 97229                    16878      8/4/2016 Corporation                                                      $25.99                                                                                           $25.99




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                                                                                                                 Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Reshma Kotian
5805 Charlotte Drive # A 542                                  RS Legacy Corporation fka RadioShack
San Jose, CA 95123                        16879      8/4/2016 Corporation                                                     $38.00                                                                                           $38.00
Ivana Gagliardi
155 Kentworth Circle                                          RS Legacy Corporation fka RadioShack
Milton, GA 30004                          16880      8/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Janet McKeehan
9500 Wales Court                                              RS Legacy Corporation fka RadioShack
Louisivlle, KY 40272                      16881      8/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Kalaria Obasi
2023 19th Street                                              RS Legacy Corporation fka RadioShack
Santa Monica, CA 90404                    16882      8/4/2016 Corporation                                                    $100.00                                                                                          $100.00
Cindy Mullet
10528 Winesburg Rd.                                           RS Legacy Corporation fka RadioShack
Dundee, OH 44624                          16883      8/4/2016 Corporation                                                     $37.44                                                                                           $37.44
Diana M. Espinoza
6zaragoza                                                     RS Legacy Corporation fka RadioShack
Laredo, Tx 78040                          16884      8/5/2016 Corporation                                                    $281.43                                                                                          $281.43
McPhail, Jo Helen
10613 Baypines Lane                                           RS Legacy Corporation fka RadioShack
Henrico, VA 23238                         16885      8/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Marc Akerlind
2908 37th Avenue South                                        RS Legacy Corporation fka RadioShack
Minneapolis, MN 55406                     16886      8/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Jodi Carkner
251 Coon Heights Rd                                           RS Legacy Corporation fka RadioShack
Ben Lomond, CA 95005                      16887      8/5/2016 Corporation                                                     $50.00                                                                                           $50.00
Bussa, Cathy
726 Langwood Dr.                                              RS Legacy Corporation fka RadioShack
Houston, TX 77079                         16888      8/5/2016 Corporation                                                     $54.11                                                                                           $54.11
Smith, Dottie
PO Box 301                                                    RS Legacy Corporation fka RadioShack
Andalusia, AL 36420                       16889      8/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Carlson, Sharon
32 Locust St                                                  RS Legacy Corporation fka RadioShack
Jamestown, NY 14701                       16890      8/5/2016 Corporation                                                     $25.00                                                                                           $25.00
Mcallister, Lynn
6101 Manchester RD                                            RS Legacy Corporation fka RadioShack
Parma, OH 44129                           16891      8/4/2016 Corporation                                                     $24.89                                                                                           $24.89
Stacey D'Amico
110 Eliab Latham Way                                          RS Legacy Corporation fka RadioShack
East Bridgewater, MA 02333                16892      8/5/2016 Corporation                                                     $42.48                                                                                           $42.48
David Watanabe
7186 S. Forest Ln.                                            RS Legacy Corporation fka RadioShack
Centennial, CO 80122                      16893      8/5/2016 Corporation                                                     $74.70                                                                                           $74.70
Alycee Zubrod
421 Beech Street                                              RS Legacy Corporation fka RadioShack
Hollidaysburg, PA 16648                   16894      8/5/2016 Corporation                                                     $28.81                                                                                           $28.81
Paula Purcell
`12505 Village Circle Dr Apt 261                              RS Legacy Corporation fka RadioShack
St. Louis, MO 63127                       16895      8/5/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                 Current General                                            Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Alycee Zubrod
421 Beech Street                                              RS Legacy Corporation fka RadioShack
Hollidaysburg, PA 16648                   16896      8/5/2016 Corporation                                                     $50.00                                                                                           $50.00
Charity Horner
20 Owls Rest CT                                               RS Legacy Corporation fka RadioShack
Winfield, MO 63389                        16897      8/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Farid Shammas
9552 Old Keene Mill Rd                                        RS Legacy Corporation fka RadioShack
Burke, VA 22015                           16898      8/5/2016 Corporation                                                      $0.00                                                                                            $0.00
ruben molina
2870 s cook st                                                RS Legacy Corporation fka RadioShack
denver, colorado 80210                    16899      8/5/2016 Corporation                                                      $0.00                                                                                            $0.00
RICHARD HUNTT
550 OKEECHOBEE BLVD, LPH02                                    RS Legacy Corporation fka RadioShack
WEST PALM BEACH, FL 33401                 16900      8/5/2016 Corporation                                                    $195.00                                                                                          $195.00
Lilit Akopyan
10000 Gerald Avenue                                           RS Legacy Corporation fka RadioShack
North Hills, CA 91343                     16901      8/5/2016 Corporation                                                     $54.49                                                                                           $54.49
richard huntt
550 okeechobee blvd, lph02                                    RS Legacy Corporation fka RadioShack
west palm beach, fl 33401                 16902      8/5/2016 Corporation                                                    $195.00                                                                                          $195.00
richard huntt
550 okeechobee blvd, lph02                                    RS Legacy Corporation fka RadioShack
west palm beach, fl 33401                 16903      8/5/2016 Corporation                                                     $40.36                                                                                           $40.36
richard huntt
550 okeechobee blvd, lph02                                    RS Legacy Corporation fka RadioShack
west palm beach, fl 33401                 16904      8/5/2016 Corporation                                                     $31.42                                                                                           $31.42
cody eklund
8414 w. Oregon rd.                                            RS Legacy Corporation fka RadioShack
Clayton, Wa 99110                         16905      8/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Laurie Gray
4021 South 1st ST                                             RS Legacy Corporation fka RadioShack
Louisville, KY 40214                      16906      8/5/2016 Corporation                                                    $200.00                                                                                          $200.00
James Landry
2504 Pineridge St.                                            RS Legacy Corporation fka RadioShack
Thibodaux, La 70301                       16907      8/5/2016 Corporation                                                      $0.00                                                                                            $0.00
DeAngela Dothard
216 Eagles Flight                                             RS Legacy Corporation fka RadioShack
Villa Rica, Ga 30180                      16908      8/5/2016 Corporation                                                     $25.00                                                                                           $25.00
Rick Walker
3 Shawnee Dr                                                  RS Legacy Corporation fka RadioShack
Hamilton, Ohio 45013                      16909      8/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Maryell Martinez
4620 E. Park Street                                           RS Legacy Corporation fka RadioShack
Phoenix, AZ 85042                         16910      8/5/2016 Corporation                                                      $0.00                                                                                            $0.00
patty may
450A Kaha Street                                              RS Legacy Corporation fka RadioShack
kailua, hi 96734                          16911      8/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Amanda Griffin
615 Jackson ave                                               RS Legacy Corporation fka RadioShack
Bacliff, Tx 77518                         16912      8/6/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                 Current General                                            Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Beryl Uyehara
PO Box 6320                                                   RS Legacy Corporation fka RadioShack
Hilo, Hi 96720                            16913      8/6/2016 Corporation                                                     $49.13                                                                                           $49.13
Danial Wall
7548 Muhly Ct                                                 RS Legacy Corporation fka RadioShack
Colorado Springs, CO 80915                16914      8/6/2016 Corporation                                                     $25.00                                                                                           $25.00
Jill Smarch
6466 shappie rd                                               RS Legacy Corporation fka RadioShack
Clarkston, MI 48348                       16915      8/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Sherry
11860 E. Lansdale Ave Apt. H                                  RS Legacy Corporation fka RadioShack
El Monte, CA 91732                        16916      8/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Gretchen martinez
10404 n 22nd st                                               RS Legacy Corporation fka RadioShack
Tampa, Florida 33612                      16917      8/6/2016 Corporation                                                    $186.00                                                                                          $186.00
Grace bowe
4489 20th street                                              RS Legacy Corporation fka RadioShack
Elk mound, WI 54739                       16918      8/7/2016 Corporation                                                      $0.00                                                                                            $0.00
David Svendsen
6194 Jeff St                                                  RS Legacy Corporation fka RadioShack
Atwater, CA 95301                         16919      8/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael Louis
4565 Glacier Ln N                                             RS Legacy Corporation fka RadioShack
Plymouth, MN 55446                        16920      8/7/2016 Corporation                                                      $0.00                                                                                            $0.00
stacy travis
906 soth prairie                                              RS Legacy Corporation fka RadioShack
sikeston, mo 63801                        16921      8/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Samuel Desmond
S23W26149 Canterbury Ln                                       RS Legacy Corporation fka RadioShack
Waukesha, WI 53188                        16922      8/7/2016 Corporation                                                     $87.59                                                                                           $87.59
John Irish
2509 Siena Way                                                RS Legacy Corporation fka RadioShack
Valrico, Fl 33596                         16923      8/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Hikmat A. Sabeh
26 Park Street Suite 2076                                     RS Legacy Corporation fka RadioShack
Montclair, NJ 07042                       16924      8/7/2016 Corporation                                                    $350.00                                                                                          $350.00
David Malmborg
10603 Hillsboro Dr NW                                         RS Legacy Corporation fka RadioShack
Silverdale, Washington 98383              16925      8/7/2016 Corporation                                                     $17.33                                                                                           $17.33
Nikhil Padhye
4014 Pecan Park Ln                                            RS Legacy Corporation fka RadioShack
Kingwood, TX 77345                        16926      8/7/2016 Corporation                                                     $30.00                                                                                           $30.00
Keith Kroesing
PO Box 6591                                                   RS Legacy Corporation fka RadioShack
Hilo, HI 96720                            16927      8/7/2016 Corporation                                                      $0.00                                                                                            $0.00
David Tuft
205 Columbia Ave                                              RS Legacy Corporation fka RadioShack
Kensington, CA 94708                      16928      8/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Viviana Harman
1100 Carmel Drive                                             RS Legacy Corporation fka RadioShack
Dubuque,, IA 52003‐7991                   16929      8/8/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
hakim muhammad
po7261                                                        RS Legacy Corporation fka RadioShack
phila, pa 19101                           16930      8/8/2016 Corporation                                                     $31.30                                                                                           $31.30
Ann DiMare
12 Kayla Drive                                                RS Legacy Corporation fka RadioShack
Saugus, MA 01906                          16931      8/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Susan Farma Hai
5126 E 85th St                                                RS Legacy Corporation fka RadioShack
Tulsa, OK 74317                           16932      8/8/2016 Corporation                                                     $29.40                                                                                           $29.40
Benjamin Baller
119 Fulton St, Apt 3B                                         RS Legacy Corporation fka RadioShack
New York, NY 10038                        16933      8/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Laura N Jones
3 Sickle Bar Lane                                             RS Legacy Corporation fka RadioShack
Riverside, CT 06878                       16934      8/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Mayur Bhandary
3034 Eagleville Road                                          RS Legacy Corporation fka RadioShack
Eagleville, PA 19403                      16935      8/8/2016 Corporation                                                      $0.00                                                                                            $0.00
ishkhanouhi
15 roberta st                                                 RS Legacy Corporation fka RadioShack
NORTH PROVIDENCE, ri 02904                16936      8/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Adam Sylve
7336 Quorum Dr.                                               RS Legacy Corporation fka RadioShack
Baton Rouge, La 70817                     16937      8/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Gloria Rogish
3913 Berrybush Lane                                           RS Legacy Corporation fka RadioShack
Fort Worth, Texas 76137                   16938      8/8/2016 Corporation                                                     $20.00                                                                                           $20.00
Sam habib
653 Laurel Ave                                                RS Legacy Corporation fka RadioShack
Holmdel, NJ 07733                         16939      8/8/2016 Corporation                                                     $50.00                                                                                           $50.00
Dana Holt
29 Creek Drive SE                                             RS Legacy Corporation fka RadioShack
Cartersville, Georgia 30121               16940      8/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Stephen Brannen
7104 Blessing Ave Unit A                                      RS Legacy Corporation fka RadioShack
Austin, TX 78752                          16941      8/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Alexandra Vargas
1 C Graham avenue                                             RS Legacy Corporation fka RadioShack
Edison, Nj 08820                          16942      8/8/2016 Corporation                                                     $92.00                                                                                           $92.00
David Lingenbrink
145 Windsor Drive SE                                          RS Legacy Corporation fka RadioShack
Sammamish, WA 98074                       16943      8/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Enrique Jerez
6565 W 2ND CT APT 207B                                        RS Legacy Corporation fka RadioShack
HIALEAH, FL 33012                         16944      8/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Scott Savoy
165 Kinderkamack Rd                                           RS Legacy Corporation fka RadioShack
Westwood, NJ 07675                        16945      8/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Samantha Michalka
212 Needham St                                                RS Legacy Corporation fka RadioShack
Dedham, MA 02026                          16946      8/8/2016 Corporation                                                     $25.86                                                                                           $25.86




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                                                                                                                 Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Louis Stubbolo
PO Box 552                                                    RS Legacy Corporation fka RadioShack
Clayton, DE 19938                         16947      8/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Dave Hood
498 NW Broadway St                                            RS Legacy Corporation fka RadioShack
Bend, OR 97703                            16948      8/9/2016 Corporation                                                      $6.97                                                                                            $6.97
Francisco Chi Tan
14 Bernard Street                                             RS Legacy Corporation fka RadioShack
San Francisco, California 94133           16949      8/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Todd Aulger
6440 Bellview Pines Pl.                                       RS Legacy Corporation fka RadioShack
Pensacola, Florida 32526                  16950      8/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Erin Quirk
9 Bickford St.                                                RS Legacy Corporation fka RadioShack
Scarborough, ME 04074                     16951      8/9/2016 Corporation                                                      $0.00                                                                                            $0.00
william dowler
150 East Foxboro Street                                       RS Legacy Corporation fka RadioShack
Sharon, MA 02067                          16952      8/9/2016 Corporation                                                     $50.00                                                                                           $50.00
Crystal Hamilton
Po box 296                                                    RS Legacy Corporation fka RadioShack
Goldfeild, Nv 89013                       16953      8/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Evangelous, Cassandra
108 Kelber Drive                                              RS Legacy Corporation fka RadioShack
Marlboro, MA 01752                        16954      8/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Lorenti, Sarah M.
185 Julia Court                                               RS Legacy Corporation fka RadioShack
Sandy Hook, CT 06482                      16955      8/9/2016 Corporation                                                     $13.88                                                                                           $13.88
Aldrich, Gilbert
5864 Bernie Cir                                               RS Legacy Corporation fka RadioShack
Talbott, TN 37877                         16956      8/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Ali, Fadia A
1068 River Rd                                                 RS Legacy Corporation fka RadioShack
Agawam, MA 01001                          16957      8/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Andrew White
130 Wauwatosa Road                                            RS Legacy Corporation fka RadioShack
Cedarburg, WI 53012                       16958      8/9/2016 Corporation                                                     $50.00                                                                                           $50.00
Kevin Dang
1901 Wellington Lane                                          RS Legacy Corporation fka RadioShack
Vista, CA 92081                           16959      8/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Andrew White
130 Wauwatosa Road                                            RS Legacy Corporation fka RadioShack
Cedarburg, WI 53012                       16960      8/9/2016 Corporation                                                     $50.00                                                                                           $50.00
Snehal
271 akeland Ave                                               RS Legacy Corporation fka RadioShack
Sayville, NY 11782                        16961      8/9/2016 Corporation                                                    $209.01                                                                                          $209.01
Witwer, Carma
1946 Grand Cypress Lane                                       RS Legacy Corporation fka RadioShack
Sun City Center, FL 33573‐4806            16962      8/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Cribari, Diane
2140 Raacho McCormick Blvd.                                   RS Legacy Corporation fka RadioShack
Santa Clara, CA 95050                     16963      8/9/2016 Corporation                                                     $19.98                                                                                           $19.98




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Travis, Judy
400 S 7 St                                                    RS Legacy Corporation fka RadioShack
Beresford, SD 57004                       16964      8/9/2016 Corporation                                                      $10.59                                                                                           $10.59
Barrios, Gerardo
38451 Sumac Ave                                               RS Legacy Corporation fka RadioShack
Palmdale, CA 93550                        16965      8/9/2016 Corporation                                                      $17.34                                                                                           $17.34
Arsenault, Kathy
64 Washington St                                              RS Legacy Corporation fka RadioShack
Leominster, MA 01453                      16966      8/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Roxas, Michelle
1253 S. Beretania St. # 1722                                  RS Legacy Corporation fka RadioShack
Honolulu, HI 96814                        16967      8/9/2016 Corporation                                                      $27.05                                                                                           $27.05
Jeff Mackey
5384 Jade Circle                                              RS Legacy Corporation fka RadioShack
Orlando, Florida 32812                    16968      8/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Wright, Rachel
29 Sandhill Rd                                                RS Legacy Corporation fka RadioShack
Fairfax, VT 05454                         16969      8/9/2016 Corporation                                                      $25.00                                                                                           $25.00
Roxas, Michelle
1253 S. Beretania St. # 1722                                  RS Legacy Corporation fka RadioShack
Honolulu, HI 96814                        16970      8/9/2016 Corporation                                                      $29.76                                                                                           $29.76
Russo, Madion
428 West 46th Street Apt A                                    RS Legacy Corporation fka RadioShack
New York, NY 10036                        16971      8/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Buffington, Helen A.
29075 Badelt St                                               RS Legacy Corporation fka RadioShack
Westland, MI 48185‐5540                   16972      8/9/2016 Corporation                                                       $5.33                                                                                            $5.33
Robert Campbell
159Millrace Circle                                            RS Legacy Corporation fka RadioShack
Aiken, SC 29805                           16973      8/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Gautam Patel
117 Damson Lane                                               RS Legacy Corporation fka RadioShack
NorthWales, Pa 19454                      16974      8/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Shelly Fierroz
10661 E Pantera Ave                                            RS Legacy Corporation fka RadioShack
Mesa, Az 85212                            16975      8/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Thom Kirby
727 Yellowstone Court                                          RS Legacy Corporation fka RadioShack
Tracy, CA 95377                           16976      8/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Elizabeth Ritchie
16123 Ronaldsay News St                                        RS Legacy Corporation fka RadioShack
Houston, Tx 77095                         16977      8/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Stefanie Peck
7445 Hillside Lane                                             RS Legacy Corporation fka RadioShack
Solon, Ohio 44139                         16978      8/10/2016 Corporation                                                     $21.59                                                                                           $21.59
Laurie Ann Smith
300 Ridgeview Drive                                            RS Legacy Corporation fka RadioShack
Alburtis, PA 18011                        16979      8/10/2016 Corporation                                                     $50.00                                                                                           $50.00
Powell Renee
132 Sunset Ave                                                 RS Legacy Corporation fka RadioShack
Sunnyvale, CA 94086                       16980      8/10/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Mike Toth
6190 Nottingham Pointe                                         RS Legacy Corporation fka RadioShack
Brighton, mi 48116                        16981      8/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Eileen Twichell
53 Chequessett Road                                            RS Legacy Corporation fka RadioShack
Reading, MA 018687                        16982      8/10/2016 Corporation                                                     $31.49                                                                                           $31.49
Kenneth White
PO Box 642083                                                  RS Legacy Corporation fka RadioShack
Los Angeles, CA 90064                     16983      8/10/2016 Corporation                                                     $98.54                                                                                           $98.54
N. Aaron Falk III
40099 McPhaul Lane                                             RS Legacy Corporation fka RadioShack
Ponchatoula, LA 70454                     16984      8/10/2016 Corporation                                                     $25.00                                                                                           $25.00
Nora Hermosillo
6060 FAIRMONT PKWY #7205                                       RS Legacy Corporation fka RadioShack
PASADENA, TX 77505                        16985      8/10/2016 Corporation                                                     $43.29                                                                                           $43.29
Robert Cashen
1617 Lorelei Dr Apt 209                                        RS Legacy Corporation fka RadioShack
Zion, IL 60099                            16986      8/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Isaiah Grant
16852 Dolphin                                                  RS Legacy Corporation fka RadioShack
Detroit, MI 48219                         16987      8/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Hawkins, Matthew
29855 Cherryhill Rd cpt#1                                      RS Legacy Corporation fka RadioShack
Inkster, MI 48141                         16988      8/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Recksiek, William C.
326 N. Azusa Ave                                               RS Legacy Corporation fka RadioShack
West Coloma, CA 91791                     16989      8/11/2016 Corporation                                                     $25.00                                                                                           $25.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          16990      8/11/2016 Corporation                                                                                                                                                       $0.00
Recksiek, William C.
326 North Azusa Ave                                            RS Legacy Corporation fka RadioShack
West Covina, CA 91791                     16991      8/11/2016 Corporation                                                     $25.00                                                                                           $25.00
JEFFERSON ROMERO
513 LOCUST AVENUE 1ST FLOOR                                    RS Legacy Corporation fka RadioShack
PORT CHESTER, NY 10573                    16992      8/11/2016 Corporation                                                     $20.59                                                                                           $20.59
Zachary Schwartz
5220 dexter ann arbor rd                                       RS Legacy Corporation fka RadioShack
ann arbor, mi 48103                       16993      8/11/2016 Corporation                                                    $158.00                                                                                          $158.00
Celyaime Arce
Barrio Juan Sanchez Buzon 1325 Calle 2                         RS Legacy Corporation fka RadioShack
Bayamon, PR 00959                         16994      8/11/2016 Corporation                                                    $139.09                                                                                          $139.09
Celyaime Arce
Barrio Juan Sanchez Buzon 1325 Calle 2                         RS Legacy Corporation fka RadioShack
bayamon, pr 00959                         16995      8/11/2016 Corporation                                                     $14.49                                                                                           $14.49
Thomas Watanabe
99‐652 Kaulainahee Place                                       RS Legacy Corporation fka RadioShack
Aiea, Hi 96701                            16996      8/12/2016 Corporation                                                      $0.00                                                                                            $0.00
O'Quinn, D. I.
P. O. Box 361728                                               RS Legacy Corporation fka RadioShack
Melbourne, FL 32936‐1728                  16997      8/12/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                         Current General                                            Current 503(b)(9)
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            Creditor Name and Address           Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
Angelica Martinez
6805 Filbro Dr. #102                                                  RS Legacy Corporation fka RadioShack
Gilroy, ca 95020                                 16998      8/12/2016 Corporation                                                    $100.00                                                                                          $100.00
Hurysz, Barbara
34 Chevalin St.                                                       RS Legacy Corporation fka RadioShack
Rochester, NY 14621                              16999      8/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Danser, Patrick C.
196 Stamets Road                                                      RS Legacy Corporation fka RadioShack
Milford, NJ 08848                                17000      8/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Maria Currea Lavin
598 horse hill road                                                   RS Legacy Corporation fka RadioShack
Westbrook, CT 06498                              17001      8/12/2016 Corporation                                                     $10.00                                                                                           $10.00
Megan Finn
15 River's Edge Drive                                                 RS Legacy Corporation fka RadioShack
Kennebunk, Maine 04043                           17002      8/12/2016 Corporation                                                     $19.99                                                                                           $19.99
John E Schulin
321 West Harrison Ave                                                 RS Legacy Corporation fka RadioShack
New Orleans, LA 70124                            17003      8/12/2016 Corporation                                                     $29.35                                                                                           $29.35
Weslea Sidon
PPO Box 52                                                            RS Legacy Corporation fka RadioShack
Seal Cove, ME 04674                              17004      8/12/2016 Corporation                                                     $36.74                                                                                           $36.74
Diva Conrad
19 Mayfair Drive                                                      RS Legacy Corporation fka RadioShack
San Francisco, CA 94118                          17005      8/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Daniel Montero
calle 214 #93‐00 Casa 7 Conjunto Torremolinos                         RS Legacy Corporation fka RadioShack
Colombia, Bogota 111166063                       17006      8/12/2016 Corporation                                                    $400.00                                                                                          $400.00

Daniel Montero
Calle 214 #93‐00 Casa 7 Conjunto Torremolinos                         RS Legacy Corporation fka RadioShack
Colombia, Bogota 111166063                       17007      8/12/2016 Corporation                                                     $55.47                                                                                           $55.47
Kurt Gamlin
201 w south street                                                    RS Legacy Corporation fka RadioShack
Woodstock, Il 60098                              17008      8/12/2016 Corporation                                                      $0.00                                                                                            $0.00
allen martin
PO Box 283123                                                         RS Legacy Corporation fka RadioShack
Honolulu, hi 96828                               17009      8/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Janet Elsbach
1554 Boardman Street                                                  RS Legacy Corporation fka RadioShack
Sheffield, MA 01257                              17010      8/13/2016 Corporation                                                     $42.48                                                                                           $42.48
santosh gautam
155 Chestnut Crossing Dr                                              RS Legacy Corporation fka RadioShack
Newark, DE 19713                                 17011      8/13/2016 Corporation                                                      $0.00                                                                                            $0.00
DIANE L BROWN
245 Laurie Dr                                                         RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15235                             17012      8/13/2016 Corporation                                                     $14.98                                                                                           $14.98
Renee Matthews
327 Carlye Way #227                                                   RS Legacy Corporation fka RadioShack
Pacific, MO 63069                                17013      8/13/2016 Corporation                                                     $10.00                                                                                           $10.00
Marlene Rose
133 Hopkins Road                                                      RS Legacy Corporation fka RadioShack
Havre de Grace, MD 21078                         17014      8/13/2016 Corporation                                                      $0.00                                                                                            $0.00



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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Andrea Stark
409 HIckory Meadow Ct                                          RS Legacy Corporation fka RadioShack
Lexington, SC 29072                       17015      8/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Shonisha Lanier
9574 E. Pulaski Hwy                                            RS Legacy Corporation fka RadioShack
Register, Ga 30452                        17016      8/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Tong Da
613 Latham Drive                                               RS Legacy Corporation fka RadioShack
Wynnewood, PA 19096                       17017      8/13/2016 Corporation                                                     $21.19                                                                                           $21.19
Tong Da
613 Latham Drive                                               RS Legacy Corporation fka RadioShack
Wynnewood, PA 19096                       17018      8/13/2016 Corporation                                                      $9.59                                                                                            $9.59
Roula Saffi
94 Cocks Lane                                                  RS Legacy Corporation fka RadioShack
Locust Valley, NY 11560                   17019      8/13/2016 Corporation                                                     $12.14                                                                                           $12.14
Pamela jackson
4718 Parkside dr                                               RS Legacy Corporation fka RadioShack
Baltimore, Md 21206                       17020      8/14/2016 Corporation                                                     $42.39                                                                                           $42.39
Teleathia Logan
208 Janeway                                                    RS Legacy Corporation fka RadioShack
Greenwood, Sc 29649                       17021      8/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Caterina Grosso
345 Coe Avenue                                                 RS Legacy Corporation fka RadioShack
East Haven, CT 06512                      17022      8/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Patty L Troia
14700 Reid Rd                                                  RS Legacy Corporation fka RadioShack
Romeo, MI 48065                           17023      8/14/2016 Corporation                                                      $0.00                                                                                            $0.00
donna bradbury
534 E 88th Street Apartment 1F                                 RS Legacy Corporation fka RadioShack
New York, NY 10128                        17024      8/14/2016 Corporation                                                     $50.00                                                                                           $50.00
Chris Heinen
11091 45M st sw                                                RS Legacy Corporation fka RadioShack
Dickinson, Nd 58601                       17025      8/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Kyle McConnell
930 W Symmes Street                                            RS Legacy Corporation fka RadioShack
Norman, OK 73069                          17026      8/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Christopher Riordan
4058 State Highway 812                                         RS Legacy Corporation fka RadioShack
Rensselaer Falls, NY 13680                17027      8/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Tammy Leach
PO BOX 891043                                                  RS Legacy Corporation fka RadioShack
Temecula, CA 92589                        17028      8/14/2016 Corporation                                                     $18.20                                                                                           $18.20
Jenna Russell
213 Buckingham Ave                                             RS Legacy Corporation fka RadioShack
Milford, CT 06460                         17029      8/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Patrick Fitzgibbons
128 Bar Gate Trail                                             RS Legacy Corporation fka RadioShack
Killingworth, CT 06419                    17030      8/14/2016 Corporation                                                     $76.57                                                                                           $76.57
Chris Vargo
2925 Mission Rd                                                RS Legacy Corporation fka RadioShack
Bethlehem, Pa 18017                       17031      8/14/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                      Amount                                                     Amount
JANE CHEN
46‐052 Ipuka St,                                               RS Legacy Corporation fka RadioShack
Kaneohe, HI 96744                         17032      8/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Thomas Stoner
120 Bernard st. Apt# 1                                         RS Legacy Corporation fka RadioShack
Boston, MA 02124                          17033      8/15/2016 Corporation                                                     $50.00                                                                                           $50.00
David Crespy
901 Bourn Avenue                                               RS Legacy Corporation fka RadioShack
Columbia, Missouri 65203                  17034      8/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Alejandro Valenzuela Jr
1029 E Drachman St                                             RS Legacy Corporation fka RadioShack
Tucson, AZ 85719                          17035      8/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Kamala Paul
945 K Street                                                   RS Legacy Corporation fka RadioShack
Davis, CA 95616                           17036      8/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Bob Dunn
PO Box 601                                                     RS Legacy Corporation fka RadioShack
Springfield, Oregon 97477                 17037      8/15/2016 Corporation                                                      $0.00                                                                                            $0.00
James Morlock
4105 Greenway Court                                            RS Legacy Corporation fka RadioShack
Colleyville, TX 76034                     17038      8/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Rachel Boehm
Po Box 6                                                       RS Legacy Corporation fka RadioShack
New Auburn, WI 54757                      17039      8/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Debra Wachspress
926 Morgan Drive                                               RS Legacy Corporation fka RadioShack
Yardley, PA 19067                         17040      8/15/2016 Corporation                                                     $21.19                                                                                           $21.19
Alicia Williams
127 Almond Drive                                               RS Legacy Corporation fka RadioShack
Albany, GA 31705                          17041      8/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Amy LaRue
17 Nancy Lane                                                  RS Legacy Corporation fka RadioShack
Downingtown, PA 19335                     17042      8/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Doris Mohr
3559 East Ferdinand Road East                                  RS Legacy Corporation fka RadioShack
Ferdinand, IN 47532                       17043      8/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Papia Jones
23048 Turtle Rock Terrace                                      RS Legacy Corporation fka RadioShack
Clarksburg, MD 20871                      17044      8/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Barbara Riley
31 Pocha Rd.                                                   RS Legacy Corporation fka RadioShack
Edgartown, MA 02539                       17045      8/15/2016 Corporation                                                     $42.53                                                                                           $42.53
Gerald Fischer
28505 Cedarbluff Drive                                         RS Legacy Corporation fka RadioShack
Rancho Palos Verdes, CA 90275             17046      8/15/2016 Corporation                                                    $185.00                                                                                          $185.00
Claudette Wilson
14895 NE 9th ct                                                RS Legacy Corporation fka RadioShack
Miami, FL 33161                           17047      8/15/2016 Corporation                                                     $26.74                                                                                           $26.74
Roger House
2810 Richland Park Dr                                          RS Legacy Corporation fka RadioShack
Bryant, AR 72022                          17048      8/15/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Jack Lanchantin
28 Chrisken Drive                                              RS Legacy Corporation fka RadioShack
Glenmont, NY 12077                        17049      8/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Jodi Jellie
214 Maple Street                                               RS Legacy Corporation fka RadioShack
Black River, NY 13612                     17050      8/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Herb Farnsworth
56 Overlook Rd.                                                RS Legacy Corporation fka RadioShack
Arlington, MA. 02474                      17051      8/16/2016 Corporation                                                     $39.65                                                                                           $39.65
Derek Holt
8201 Whispering Oaks Way, 104                                  RS Legacy Corporation fka RadioShack
Gaithersburg, MD 20879                    17052      8/16/2016 Corporation                                                     $26.49                                                                                           $26.49
gail gardner
1422 Pinewood Road                                             RS Legacy Corporation fka RadioShack
Jacksonville Beach, FL 32250              17053      8/16/2016 Corporation                                                     $60.00                                                                                           $60.00
Dana Sheppard
125 Belle Chase Drive                                          RS Legacy Corporation fka RadioShack
Lexington, SC 29072                       17054      8/16/2016 Corporation                                                     $10.66                                                                                           $10.66
Dana Sheppard
125 Belle Chase Drive                                          RS Legacy Corporation fka RadioShack
Lexington, SC 29072                       17055      8/16/2016 Corporation                                                     $10.66                                                                                           $10.66
Auderia chatman
707 Bancroft ave                                               RS Legacy Corporation fka RadioShack
San Leandro, Ca 94577                     17056      8/16/2016 Corporation                                                      $0.00                                                                                            $0.00
charles kuhlman
4408 millpoint rd                                              RS Legacy Corporation fka RadioShack
greensboro, nc 27406                      17057      8/16/2016 Corporation                                                    $200.00                                                                                          $200.00
Rhonda Robinson
15214 Marlowe Grove Drive                                      RS Legacy Corporation fka RadioShack
Sugar Land, TX 77498                      17058      8/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Michelle Friedman
57 Roy St                                                      RS Legacy Corporation fka RadioShack
Swampscott, MA 01907                      17059      8/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Michelle Friedman
57 Roy St                                                      RS Legacy Corporation fka RadioShack
Swampscott, MA 01907                      17060      8/16/2016 Corporation                                                      $0.00                                                                                            $0.00
GEORGE YAMAUCHI
627 15TH ST                                                    RS Legacy Corporation fka RadioShack
SANTA MONICA, CA 90402                    17061      8/17/2016 Corporation                                                      $0.00                                                                                            $0.00
bradley luke
3018 Alabama st                                                RS Legacy Corporation fka RadioShack
Bellingham, wa 98229                      17062      8/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Montero, Daniel
calle 214 #93‐00
 Casa 7 Conjunto Torremolinos
Colombia, Bogota 111166063                                     RS Legacy Corporation fka RadioShack
Colombia                                  17063      8/17/2016 Corporation                                                    $400.00                                                                                          $400.00
Sharon, Robert
2255 Allen Creek Road                                          RS Legacy Corporation fka RadioShack
West Palm Beach, Fl 33411                 17064      8/17/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Sharon, Robert
2255 Allen Creek Road                                          RS Legacy Corporation fka RadioShack
West Palm Beach, FL 33411                 17065      8/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Pudwill, Catherina
P.O. Box 88145                                                 RS Legacy Corporation fka RadioShack
Honolulu, HI 96830                        17066      8/17/2016 Corporation                                                    $100.00                                                                                          $100.00
Schnepel, Amanda
103 Sunnyside Dr                                               RS Legacy Corporation fka RadioShack
Danville, IL 61832                        17067      8/17/2016 Corporation                                                     $21.55                                                                                           $21.55
Houseman, Tom
1383 Shade Oak Lane                                            RS Legacy Corporation fka RadioShack
Concord, CA 94521                         17068      8/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Snyder, Jeff
P.O. Box 87                                                    RS Legacy Corporation fka RadioShack
Ventura, CA 93002                         17069      8/17/2016 Corporation                                                     $50.00                                                                                           $50.00
Norzow, Alex J.
50 Shinglehouse Rd.                                            RS Legacy Corporation fka RadioShack
Bowdoin, ME 04287                         17070      8/17/2016 Corporation                                                    $100.00                                                                                          $100.00
Barrett, Saundra
155 Sallitt Dr.                                                RS Legacy Corporation fka RadioShack
Stevensville, MD 21666                    17071      8/17/2016 Corporation                                                     $37.09                                                                                           $37.09
Barlage, Marcia
5114 Hickman Rd                                                RS Legacy Corporation fka RadioShack
Desmoines, IW 50310                       17072      8/17/2016 Corporation                                                      $1.80                                                                                            $1.80
Steiner, Joseph D.
106 Diasmore Ave.                                              RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15205                      17073      8/17/2016 Corporation                                                     $50.00                                                                                           $50.00
Vasani, Snehal
271 Lakeland Ave                                               RS Legacy Corporation fka RadioShack
Sayville, NY 11782                        17074      8/17/2016 Corporation                                                    $209.01                                                                                          $209.01
Sagar, Parmod
780 Kimbrooke Trail                                            RS Legacy Corporation fka RadioShack
Lawrenceville, GA 30044                   17075      8/17/2016 Corporation                                                     $21.20                                                                                           $21.20
Taylor, Julie
141 Pond St                                                    RS Legacy Corporation fka RadioShack
Holbrook, MA 02343                        17076      8/17/2016 Corporation                                                     $25.00                                                                                           $25.00
Wanda McAlary
97 Belleshire Drive                                            RS Legacy Corporation fka RadioShack
Lower Sackville, NS B4C1M7                17077      8/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Fisher, Mary
5635 Erie St.                                                  RS Legacy Corporation fka RadioShack
Racine, WI 53102‐1934                     17078      8/17/2016 Corporation                                                     $50.44                                                                                           $50.44
White, William
3421 County Rd 606                                             RS Legacy Corporation fka RadioShack
Enterprise, Al 36330                      17079      8/17/2016 Corporation                                                  $3,200.00                                                                                        $3,200.00
Mitts, Martha
1305 Carpenter Branch                                          RS Legacy Corporation fka RadioShack
Oriedo, FL 32765                          17080      8/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Cotter, Nancy A.
8 Quaker Road                                                  RS Legacy Corporation fka RadioShack
Worchester, MA 01602                      17081      8/17/2016 Corporation                                                     $18.58                                                                                           $18.58




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Zirbes, Larry E
P.O Box 516                                                    RS Legacy Corporation fka RadioShack
Richmond, MN 56368                        17082      8/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Pickens, Tara
11 Northwood Ave                                               RS Legacy Corporation fka RadioShack
Greenville, SC 29609                      17083      8/17/2016 Corporation                                                     $21.19                                                                                           $21.19
Jayson Valencia
3874 3rd Ave.                                                  RS Legacy Corporation fka RadioShack
Los Angeles, California 90008             17084      8/17/2016 Corporation                                                     $50.00                                                                                           $50.00
Robert Anderson
10419 France Avenue North                                      RS Legacy Corporation fka RadioShack
Brooklyn Park, MN 55443                   17085      8/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert Anderson
10419 France Avenue North                                      RS Legacy Corporation fka RadioShack
Brooklyn Park, MN 55443                   17086      8/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Melinda Kirby
1215 Deerfield Trace                                           RS Legacy Corporation fka RadioShack
Mebane, NC 27302                          17087      8/17/2016 Corporation                                                    $109.00                                                                                          $109.00
Piervencenti, Lisa                                             RS Legacy Corporation fka RadioShack
                                          17088      8/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Richard Trimbur
245 1/2 W. 5th Ave                                             RS Legacy Corporation fka RadioShack
Columbus, OH 43201                        17089      8/17/2016 Corporation                                                     $25.00                                                                                           $25.00
Gittisarn, Angela
3185 Calusa Ave                                                RS Legacy Corporation fka RadioShack
Simi Valley, CA 93063                     17090      8/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Kasparian, Linda                                               RS Legacy Corporation fka RadioShack
                                          17091      8/17/2016 Corporation                                                     $50.00                                                                                           $50.00
Pallavi Sawhney
2204 Waters Edge Drive                                         RS Legacy Corporation fka RadioShack
Newark, DE 19702                          17092      8/17/2016 Corporation                                                      $0.00                                                                                            $0.00
dave jones
9801 chalmers st                                               RS Legacy Corporation fka RadioShack
Detroit, MI 48213                         17093      8/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Megan Baker
4605 32nd Street #1                                            RS Legacy Corporation fka RadioShack
San Diego, Ca 92116                       17094      8/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Sarahi Uribe
2736 Porter Street NW. Apt. 6                                  RS Legacy Corporation fka RadioShack
Washington, DC 20008                      17095      8/17/2016 Corporation                                                     $65.00                                                                                           $65.00
Robert Rose
11627 collins creek dr                                         RS Legacy Corporation fka RadioShack
Jacksonville, Fl 32258                    17096      8/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Leigh Cathey
PO Box 1983                                                    RS Legacy Corporation fka RadioShack
Lake Arrowhead, CA 92352                  17097      8/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Ryan
6321 mar vista drive                                           RS Legacy Corporation fka RadioShack
Huntington Beach, California 92647        17098      8/17/2016 Corporation                                                     $50.00                                                                                           $50.00
leonard markowitz
20 Fair Lane                                                   RS Legacy Corporation fka RadioShack
Aberdeen, NJ 07747                        17099      8/17/2016 Corporation                                                      $0.00                                                                                            $0.00



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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Ashleigh Miller
1966 South Main Street                                         RS Legacy Corporation fka RadioShack
Washington, PA 15301                      17100      8/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Russell Chappell
508 Ash Grove Cir                                              RS Legacy Corporation fka RadioShack
Edmond, Ok 73003                          17101      8/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Darrell Roberts
1800 W Cornelia                                                RS Legacy Corporation fka RadioShack
Chicago, IL 60657                         17102      8/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Jerome D. Scott and Joanne B. Scott
2122 Shawnee Ave                                              RS Legacy Corporation fka RadioShack
Scranton, PA 18509                        17103      8/4/2016 Corporation                                                      $61.46                                                                                           $61.46
Symon, Phillip K.
13151 EBB Tide Circle                                         RS Legacy Corporation fka RadioShack
North Royalton, OH 44133‐5973             17104      8/4/2016 Corporation                                                                                                                                                        $0.00
Gutierrez, Tomasa
82399 Bliss Ave                                               RS Legacy Corporation fka RadioShack
Indio, CA 92201                           17105      8/7/2016 Corporation                                                       $0.00              $0.00                                                                         $0.00
Reed, Claire A
31 Bosson St.                                                 RS Legacy Corporation fka RadioShack
Revere, MA 02151                          17106      8/5/2016 Corporation                                                                                                                                                        $0.00
Knott, Mary Teresa
25969 Marengo Rd                                               RS Legacy Corporation fka RadioShack
Easton, MD 21601                          17107      8/10/2016 Corporation                                                      $8.30                                                                                            $8.30
Britto, Neil
8757 E Avalon Dr                                               RS Legacy Corporation fka RadioShack
Scottsdale, AZ 85251                      17108      8/10/2016 Corporation                                                                                                             $100.00                                 $100.00
John Gilbert
225 Forrester road                                             RS Legacy Corporation fka RadioShack
Los Gatos, CA 95032                       17109      8/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Ekundayo, Akono
833 Duke Court                                                 RS Legacy Corporation fka RadioShack
Jonesboro, GA 30238                       17110      8/15/2016 Corporation                                                     $85.85                                                                                           $85.85
Randolph, Mark
110 Driftwood Rd                                               RS Legacy Corporation fka RadioShack
Bridgeport, WV 26330                      17111      8/15/2016 Corporation                                                                                           $0.00                                                       $0.00
Jackie Kaiser
7610 Santiago Rd SW                                            RS Legacy Corporation fka RadioShack
Albuquerque, NM 87105                     17112      8/18/2016 Corporation                                                     $26.98                                                                                           $26.98
Robin Beaudoin
27 Goss St.                                                    RS Legacy Corporation fka RadioShack
Clinton, MA 01510                         17113      8/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Chris Sommers
4682 s lewiston way                                            RS Legacy Corporation fka RadioShack
aurora, co 80015                          17114      8/18/2016 Corporation                                                     $50.00                                                                                           $50.00
Rick cromwell
7102 State Rt 158                                              RS Legacy Corporation fka RadioShack
Millstadt, IL 62260                       17115      8/18/2016 Corporation                                                     $43.62                                                                                           $43.62
Maria Escandon
372 bandolina dr                                               RS Legacy Corporation fka RadioShack
Socorro, Tx 79927                         17116      8/18/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
amanda gillespie
1013 Hobbs road                                                RS Legacy Corporation fka RadioShack
virginia beach, VA 23464                  17117      8/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Zenan Qi
74 West St. Unit 20                                            RS Legacy Corporation fka RadioShack
Attleboro, MA 02703                       17118      8/18/2016 Corporation                                                    $100.00                                                                                          $100.00
Rebecca Deleenitan
40 Saint Adams Dr                                              RS Legacy Corporation fka RadioShack
Stafford, Va 22556                        17119      8/18/2016 Corporation                                                     $14.00                                                                                           $14.00
Robert Moses
801 South St, #2103                                            RS Legacy Corporation fka RadioShack
Honolulu, HI 96813                        17120      8/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Paolo Mabasa
50 Park Avenue, Apt 7B                                         RS Legacy Corporation fka RadioShack
New York, NY 10016                        17121      8/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Anne Ciaruffoli
19 Country Club Dr                                             RS Legacy Corporation fka RadioShack
Chatham, NJ 07928                         17122      8/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Alex Medina
1030 N Wheeling rd.                                            RS Legacy Corporation fka RadioShack
Mount Prospect, IL 60056                  17123      8/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Bill Erwin
309 Silvercreek Ct                                             RS Legacy Corporation fka RadioShack
Franklin, TN 37069                        17124      8/19/2016 Corporation                                                     $43.69                                                                                           $43.69
Paul Garand
80 Linden Street                                               RS Legacy Corporation fka RadioShack
Exeter, NH 03833                          17125      8/19/2016 Corporation                                                     $10.00                                                                                           $10.00
Kyle Thistlewood
845 Orion Street                                               RS Legacy Corporation fka RadioShack
Golden, CO 80401                          17126      8/19/2016 Corporation                                                      $0.00                                                                                            $0.00
linda & tony dicaro
4 helen lois court                                             RS Legacy Corporation fka RadioShack
pilesgrove, nj 08098                      17127      8/19/2016 Corporation                                                     $37.01                                                                                           $37.01
Crystal Wilkins
917 E. 2nd Street                                              RS Legacy Corporation fka RadioShack
Port Clinton, Ohio 43452                  17128      8/19/2016 Corporation                                                      $0.00                                                                                            $0.00
David Simonis
1360 NW 19th St                                                RS Legacy Corporation fka RadioShack
Gresham, OR 97030                         17129      8/19/2016 Corporation                                                     $30.00                                                                                           $30.00
Earl Baker
1097 Brielle Ct                                                RS Legacy Corporation fka RadioShack
Oviedo, FL 32765                          17130      8/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Crystal Wilkins
917 E. 2nd Street                                              RS Legacy Corporation fka RadioShack
Port Clinton, Ohio 43452                  17131      8/24/2016 Corporation                                                      $0.00                                                                                            $0.00
William D'Agostino
19 Douglas Drive                                               RS Legacy Corporation fka RadioShack
Hamden, CT 06518                          17132      8/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Anthony L. Williams
6124 Ravenswood Drive                                          RS Legacy Corporation fka RadioShack
Fort Worth, Texas 76112                   17133      8/24/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Ryan Fuqua
24710 46th Ave E                                               RS Legacy Corporation fka RadioShack
Graham, WA 98338                          17134      8/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Ryan Fuqua
24710 46th Ave E                                               RS Legacy Corporation fka RadioShack
Graham, WA 98338                          17135      8/24/2016 Corporation                                                      $0.00                                                                                            $0.00
MICHAEL DEVITO
10 franklin ave apt 3j                                         RS Legacy Corporation fka RadioShack
white plains, ny 10601                    17136      8/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Rob Collins
4500 Deer Park Road                                            RS Legacy Corporation fka RadioShack
Owings Mills, MD 21117                    17137      8/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Wendy
1119 Stonington Ave                                            RS Legacy Corporation fka RadioShack
San Pablo, Ca 94806                       17138      8/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert Tucker
4604 Gage Place                                                RS Legacy Corporation fka RadioShack
Columbia, MO 65203                        17139      8/24/2016 Corporation                                                     $45.00                                                                                           $45.00
Brian bush
123 arnold ave                                                 RS Legacy Corporation fka RadioShack
Dubois, Pa 15801                          17140      8/24/2016 Corporation                                                     $50.00                                                                                           $50.00
Sarah McLaughlin
190 Everett Ave                                                RS Legacy Corporation fka RadioShack
Chelsea, MA 02150                         17141      8/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Richard Shults
15 Lewis St.                                                   RS Legacy Corporation fka RadioShack
Needham, MA 02492                         17142      8/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Jen Howe
284 Shetucket Tpke                                             RS Legacy Corporation fka RadioShack
Voluntown, CT 06384                       17143      8/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Matthew Mrasek
2620 Skinner Dr                                                RS Legacy Corporation fka RadioShack
Flower Mound, TX 75028                    17144      8/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Sven Schrecker
2532 Corbel Way                                                RS Legacy Corporation fka RadioShack
San Marcos, ca 92078                      17145      8/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Jerome Cabahug
37 Park East                                                   RS Legacy Corporation fka RadioShack
New Hyde Park, NY 11040                   17146      8/24/2016 Corporation                                                     $50.00                                                                                           $50.00
Gary Jarrell
102 Woodside Ct                                                RS Legacy Corporation fka RadioShack
Tullahoma, TN 37388‐5568                  17147      8/24/2016 Corporation                                                    $100.00                                                                                          $100.00
Mark Bellisle
153 Lincoln St.
Unit 1                                                         RS Legacy Corporation fka RadioShack
Middletown, CT 06457                      17148      8/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Jim Yarkin
24 Kent Place                                                  RS Legacy Corporation fka RadioShack
Amityville, NY 11701                      17149      8/24/2016 Corporation                                                      $6.52                                                                                            $6.52
Sarah Sanford
2512 The Strand                                                RS Legacy Corporation fka RadioShack
Northbrook, IL 60062                      17150      8/24/2016 Corporation                                                      $0.00                                                                                            $0.00



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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
james mannion
800 madison ave                                                RS Legacy Corporation fka RadioShack
mchenry, il 60050                         17151      8/24/2016 Corporation                                                     $20.00                                                                                           $20.00
David Zschack
8955 Dennis Ct                                                 RS Legacy Corporation fka RadioShack
Bristow, VA 20136                         17152      8/24/2016 Corporation                                                    $250.00                                                                                          $250.00
Esabella Irby
8442 Timber Loche                                              RS Legacy Corporation fka RadioShack
San Antonio, TX 78250                     17153      8/24/2016 Corporation                                                     $50.00                                                                                           $50.00
Ashley may
2343 prince hall drive                                         RS Legacy Corporation fka RadioShack
Detroit, Mi 48207                         17154      8/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Nicholas Ryan Guillemette
9611 Berlin Court                                              RS Legacy Corporation fka RadioShack
Houston, TX 77070                         17155      8/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Nathan Scherrer
324 Adeline Dr                                                 RS Legacy Corporation fka RadioShack
Grants Pass, Oregon 97527                 17156      8/24/2016 Corporation                                                     $14.98                                                                                           $14.98
Dennis McBride
514 Oak Park Way                                               RS Legacy Corporation fka RadioShack
Redwood City, CA 94062                    17157      8/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Bradley W Sexton
1077 Terrace Drive                                             RS Legacy Corporation fka RadioShack
Richmond Heights, MO 63117                17158      8/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Bradley Sexton
1077 Terrace Drive                                             RS Legacy Corporation fka RadioShack
Richmond Heights, MO 63117                17159      8/24/2016 Corporation                                                     $20.00                                                                                           $20.00
Bryant Scott
1661 W Main Street                                             RS Legacy Corporation fka RadioShack
Carmel, IN 46032                          17160      8/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Gregory D. Rose
1872 E. Napa St.                                               RS Legacy Corporation fka RadioShack
So, CA 95476                              17161      8/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Joe R Martin
5535 Memorial Dr., Suite F112                                  RS Legacy Corporation fka RadioShack
Houston, Texas 77007                      17162      8/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Jamie Lupton
14136 Niagara Dr                                               RS Legacy Corporation fka RadioShack
Strongsville, OH 44136                    17163      8/24/2016 Corporation                                                      $9.21                                                                                            $9.21
Beth ONeill
653 Redwood Ave.                                               RS Legacy Corporation fka RadioShack
Corte Madera, CA 94925                    17164      8/24/2016 Corporation                                                     $64.64                                                                                           $64.64
Meghan Haviland
102 Tyler St.                                                  RS Legacy Corporation fka RadioShack
Attleboro, MA 02703                       17165      8/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Mary Caitlin Wight
126 meadowbriar rd                                             RS Legacy Corporation fka RadioShack
rochester, ny 14616                       17166      8/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Kyle Johnson
393 Morris Wood Lane                                           RS Legacy Corporation fka RadioShack
New HIll, NC 27562                        17167      8/24/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Kyle Johnson
393 Morris Wood Lane                                           RS Legacy Corporation fka RadioShack
New Hill, NC 27562                        17168      8/24/2016 Corporation                                                      $0.00                                                                                            $0.00
WILLIAM SPIVEY
1919 WILLIS RD                                                 RS Legacy Corporation fka RadioShack
NORTH CHESTERFIELD, VA 23237              17169      8/24/2016 Corporation                                                     $40.00                                                                                           $40.00
don Ondrejcak Jr
1950 Magnolia Drive                                            RS Legacy Corporation fka RadioShack
Clearwater, FL 33764                      17170      8/24/2016 Corporation                                                      $0.00                                                                                            $0.00
TRACEY THOMPSON
12777 merit dr. #611                                           RS Legacy Corporation fka RadioShack
DALLAS, Tx 75251                          17171      8/24/2016 Corporation                                                    $125.00                                                                                          $125.00
TRACEY THOMPSON
12777 merit dr. #611                                           RS Legacy Corporation fka RadioShack
DALLAS, Tx 75251                          17172      8/24/2016 Corporation                                                    $125.00                                                                                          $125.00
yogesh gandhi
16823 Pheasant Creek Ct                                        RS Legacy Corporation fka RadioShack
sugar land, tx 77498                      17173      8/25/2016 Corporation                                                     $25.96                                                                                           $25.96
Eric Rosen
94 Oak Drive                                                   RS Legacy Corporation fka RadioShack
Pleasantville, NY 10570                   17174      8/25/2016 Corporation                                                     $54.00                                                                                           $54.00
Edwin Griffin
11 Foxtail Ct                                                  RS Legacy Corporation fka RadioShack
Newark, DE 19711                          17175      8/25/2016 Corporation                                                     $18.00                                                                                           $18.00
Brett Mcdonald
2620 County Road 216                                           RS Legacy Corporation fka RadioShack
Hanceville, AL, 35077 3603                17176      8/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Thomas Brown
3318 Cardinal Hills Trail                                      RS Legacy Corporation fka RadioShack
Kalamazoo, MI 49004                       17177      8/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Reyner Medina
8900 Springhurst Dr                                            RS Legacy Corporation fka RadioShack
Elk Grove, California 95624               17178      8/25/2016 Corporation                                                     $96.00                                                                                           $96.00
sharon henderson
3970 dickson ave                                               RS Legacy Corporation fka RadioShack
Cincinnati, ohio 45229                    17179      8/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Adrian Sandoval
6511 AVENUE DE PALMA                                           RS Legacy Corporation fka RadioShack
Riverside, CA 92509‐5618                  17180      8/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Leslie Pedro
44 Predator Lane                                               RS Legacy Corporation fka RadioShack
Hampton, VA` 23665                        17181      8/25/2016 Corporation                                                      $0.00                                                                                            $0.00
candace fleming
112 redbud lane                                                RS Legacy Corporation fka RadioShack
new haven, MO 63068                       17182      8/25/2016 Corporation                                                     $15.22                                                                                           $15.22
Melyssa Char
PO Box 7235                                                    RS Legacy Corporation fka RadioShack
Hilo, HI 96720                            17183      8/25/2016 Corporation                                                     $11.51                                                                                           $11.51
Camma Caldwell
967 Zarick Dr                                                  RS Legacy Corporation fka RadioShack
San Jose, Ca 95129                        17184      8/25/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
April Vargas
602 Farquhar St.                                               RS Legacy Corporation fka RadioShack
Navasota, Texas 77868                     17185      8/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Debra A Wall
140 W. Bluefield Ave                                           RS Legacy Corporation fka RadioShack
Phoenix, AZ 85023                         17186      8/25/2016 Corporation                                                     $21.64                                                                                           $21.64
Bo Yuan
yuanbo1023@gmail.com                                           RS Legacy Corporation fka RadioShack
Costa Mesa, CA 92627                      17187      8/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Bo Yuan
2000 Parsons St #27                                            RS Legacy Corporation fka RadioShack
Costa Mesa, CA 92627                      17188      8/25/2016 Corporation                                                      $0.00                                                                                            $0.00
C Rehman
3394 SW WILLOWBROOK AVE                                        RS Legacy Corporation fka RadioShack
GRESHAM, OR 97080                         17189      8/26/2016 Corporation                                                     $17.00                                                                                           $17.00
Jim Williams
208 briar cliff st sw                                          RS Legacy Corporation fka RadioShack
Poplar Grove, IL 61065                    17190      8/26/2016 Corporation                                                     $43.29                                                                                           $43.29
Carlos Lozano
18945 NW 54th Ave                                              RS Legacy Corporation fka RadioShack
Miami, Fl 33055                           17191      8/26/2016 Corporation                                                     $39.95                                                                                           $39.95
JOSIE SU
1950 GOUGH ST APT 207                                          RS Legacy Corporation fka RadioShack
SAN FRANCISCO, CA 94109                   17192      8/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Ken Wengler
6353 Southpoint drive                                          RS Legacy Corporation fka RadioShack
Dallas, Texas 75248                       17193      8/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Paul Luke
100 Wabash Way #312                                            RS Legacy Corporation fka RadioShack
Wheeling, IL 60090                        17194      8/26/2016 Corporation                                                     $21.17                                                                                           $21.17
Paul Luke
100 Wabash Way #312                                            RS Legacy Corporation fka RadioShack
Wheeling, IL 60090                        17195      8/26/2016 Corporation                                                     $58.81                                                                                           $58.81
Paul Luke
100 Wabash Way #312                                            RS Legacy Corporation fka RadioShack
Wheeling, IL 60090                        17196      8/26/2016 Corporation                                                     $16.19                                                                                           $16.19
Paul Luke
100 Wabash Way #312                                            RS Legacy Corporation fka RadioShack
Wheeling, IL 60090                        17197      8/26/2016 Corporation                                                    $100.00                                                                                          $100.00
Tanner Scrafton
1985e 75n                                                      RS Legacy Corporation fka RadioShack
Warsaw, IN 46582                          17198      8/26/2016 Corporation                                                     $26.48                                                                                           $26.48
Manny Singh
5935 Rosinweed Lane                                            RS Legacy Corporation fka RadioShack
Naperville, IL 60564                      17199      8/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Chad sparling
18 Jefferson avenue.                                           RS Legacy Corporation fka RadioShack
Endicott, Ny 13760                        17200      8/26/2016 Corporation                                                      $0.00                                                                                            $0.00
David Hargis
213 Oates Dr                                                   RS Legacy Corporation fka RadioShack
Fayetteville, NC 28311                    17201      8/26/2016 Corporation                                                     $25.00                                                                                           $25.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Bryan Kynkor
4503 W. Beach Park Dr.                                         RS Legacy Corporation fka RadioShack
Tampa, Fl 33609                           17202      8/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Bryan Kynkor
4503 W. Beach Park Dr.                                         RS Legacy Corporation fka RadioShack
Tampa, Fl 33609                           17203      8/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Stewart, Amy
6 Blazewood Ct                                                 RS Legacy Corporation fka RadioShack
Ballwin, MO 63021                         17204      8/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Dragone, Anthony
11 Prospect Blvd                                               RS Legacy Corporation fka RadioShack
East Hampon, NY 11937                     17205      8/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Strano, Marie‐Lucille J.
76 Sweet Briar Drive #17                                       RS Legacy Corporation fka RadioShack
Clark, NJ 07066                           17206      8/26/2016 Corporation                                                     $31.74                                                                                           $31.74
Jacobson, Arnold S.
480 W Lockwood                                                 RS Legacy Corporation fka RadioShack
St Louis, MO 63119                        17207      8/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Sutton, John K
500 Beach Rd                                                   RS Legacy Corporation fka RadioShack
Cheektowaga, NY 14225                     17208      8/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Kilbourne, Jan
15 Fairway Drive                                               RS Legacy Corporation fka RadioShack
Berea, KY 40403                           17209      8/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Decheser, Beverly
21 Bongart Drive                                               RS Legacy Corporation fka RadioShack
West Orange, NJ 07052                     17210      8/26/2016 Corporation                                                     $19.95                                                                                           $19.95
Scherfee, Stephen
1920 Swan Drive                                                RS Legacy Corporation fka RadioShack
Costa Mesa, CA 92626                      17211      8/26/2016 Corporation                                                     $41.03                                                                                           $41.03
Roberts, John
1026 Mohican Pass                                              RS Legacy Corporation fka RadioShack
Madison, WI 53711                         17212      8/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Lee, Susan R.
350 Canan Circle                                               RS Legacy Corporation fka RadioShack
Suffolk, VA 23435                         17213      8/26/2016 Corporation                                                     $23.84                                                                                           $23.84
Fraiser, Janice
4009 Boone Rd.                                                 RS Legacy Corporation fka RadioShack
Rainbow City, AL 35906                    17214      8/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Stephen Brown
4113 Monarch Crescent                                          RS Legacy Corporation fka RadioShack
Richmond, VA 23228                        17215      8/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Williams, Anthony L.
6124 Ravenswood Drive                                          RS Legacy Corporation fka RadioShack
Fort Worth, TX 76112                      17216      8/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Wilkins, Crystal
917 E. 2nd Street                                              RS Legacy Corporation fka RadioShack
Port Clinton, OH 43452                    17217      8/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Greaux, Jacqueline
2930 Day Ave N101                                              RS Legacy Corporation fka RadioShack
Miami, FL 33133                           17218      8/26/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Silberstein, Jerilyn
256 S. Robertson Blvd # 369                                    RS Legacy Corporation fka RadioShack
Beverly Hills, CA 90211                   17219      8/26/2016 Corporation                                                     $12.21                                                                                           $12.21
Bais Medrash of Rockland
PO Box 995                                                     RS Legacy Corporation fka RadioShack
Monsey, NY 10952                          17220      8/26/2016 Corporation                                                     $50.00                                                                                           $50.00
Wickramasinghe, Jayatissa
2017 White Pond CT                                             RS Legacy Corporation fka RadioShack
Apex, NC 27523‐6273                       17221      8/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Gillenwater, David
2400 Dove Terrace                                              RS Legacy Corporation fka RadioShack
Great Bend, KS 67530                      17222      8/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Brienza, Susan
3 Maple Lane                                                   RS Legacy Corporation fka RadioShack
LK. Hiwatha, NJ 07034                     17223      8/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Mendes, Diane
8 So. Cornell Ave                                              RS Legacy Corporation fka RadioShack
Warren, RI 02885                          17224      8/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Chamberlain, Peggy
PO Box 244                                                     RS Legacy Corporation fka RadioShack
N. Lewisburg, OH 43060                    17225      8/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Blaney, Todd
3240 N Manor Dr                                                RS Legacy Corporation fka RadioShack
Lansing, IL 60438                         17226      8/27/2016 Corporation                                                    $100.00                                                                                          $100.00
Ben Bash
38 Westervelt Avenue                                           RS Legacy Corporation fka RadioShack
Closter, NJ 07624                         17227      8/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Rose, Greg
1872 E Napa St.                                                RS Legacy Corporation fka RadioShack
Sonoma, CA 95476                          17228      8/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Ima Jean Leonard
962 Hwy 225 N Chatsworth GA                                    RS Legacy Corporation fka RadioShack
30705, ‐‐‐‐‐‐‐‐‐‐ ‐‐‐‐‐‐‐‐‐‐              17229      8/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Guillot, Laura
5255 Congress Blvd # 17                                        RS Legacy Corporation fka RadioShack
Baton Rouge, LA 70808                     17230      8/27/2016 Corporation                                                    $115.50                                                                                          $115.50
Pasquariello, M. Scott
9071 Lemon Street                                              RS Legacy Corporation fka RadioShack
Spring Valley, CA 91977                   17231      8/27/2016 Corporation                                                     $25.00                                                                                           $25.00
Szczukowski, Peggy
5399 Lowell Road                                               RS Legacy Corporation fka RadioShack
Fredonia, NY 14063                        17232      8/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Bice, Chris
2212 River Ridge Rd.                                           RS Legacy Corporation fka RadioShack
Arlington, TX 76017                       17233      8/27/2016 Corporation                                                     $10.00                                                                                           $10.00
Gilbert, Lisa
1802 48th Ave SE                                               RS Legacy Corporation fka RadioShack
Albany, OR 97322                          17234      8/27/2016 Corporation                                                     $10.00                                                                                           $10.00
Dayhuff, Steve
122 Rocky Mtn. Lane                                            RS Legacy Corporation fka RadioShack
Butte, MT 59701                           17235      8/27/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Rosen, Eric
94 Oak Drive                                                   RS Legacy Corporation fka RadioShack
Pleasantville, NY 10570                   17236      8/27/2016 Corporation                                                     $54.00                                                                                           $54.00
Mcdonald, Brett
2620 County Road 216                                           RS Legacy Corporation fka RadioShack
Hanceville, AL 35077‐3603                 17237      8/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Gandhi, Yogesh
16823 Pheasant Creek Ct                                        RS Legacy Corporation fka RadioShack
Sugar Land, TX 77498                      17238      8/27/2016 Corporation                                                     $25.96                                                                                           $25.96
Griffin, Edwin
11 Foxtail Ct                                                  RS Legacy Corporation fka RadioShack
Newark, DE 19711                          17239      8/27/2016 Corporation                                                     $18.00                                                                                           $18.00
Nelson, Patricia A.
201 River St. Apt 13                                           RS Legacy Corporation fka RadioShack
Troy, NY 12180                            17240      8/27/2016 Corporation                                                     $12.93                                                                                           $12.93
Greaux, Jacqueline
2930 Day Ave N101                                              RS Legacy Corporation fka RadioShack
Miami, FL 33133                           17241      8/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Kingsbury, MIchelle
166 Finch Avenue                                               RS Legacy Corporation fka RadioShack
Pawtucket, RI 02860                       17242      8/27/2016 Corporation                                                     $10.00                                                                                           $10.00
Williams, Jim
208 Briar Cliff St SW                                          RS Legacy Corporation fka RadioShack
Poplar Grove, IL 61065                    17243      8/27/2016 Corporation                                                     $43.29                                                                                           $43.29
Ankesh Shah
158 Cheshire Crossing Dr                                       RS Legacy Corporation fka RadioShack
Delaware, OH 43015                        17244      8/27/2016 Corporation                                                      $0.00                                                                                            $0.00
keith taylor
1197 porchester lane                                           RS Legacy Corporation fka RadioShack
greenwood, in 46143                       17245      8/27/2016 Corporation                                                     $53.49                                                                                           $53.49
Cynthia D. Glaze
7238 Tropical Dr.                                              RS Legacy Corporation fka RadioShack
Weeki Wachee, FL 34607                    17246      8/27/2016 Corporation                                                     $50.00                                                                                           $50.00
John Terenzio
2940 Pierce St.                                                RS Legacy Corporation fka RadioShack
San Francisco, CA 94123                   17247      8/27/2016 Corporation                                                      $0.00                                                                                            $0.00
david skarbek
60 e hoover ave                                                RS Legacy Corporation fka RadioShack
phoenix, az 85004                         17248      8/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Saime Kosek
35 Cumley st.                                                  RS Legacy Corporation fka RadioShack
Hamden, Ct 06514                          17249      8/28/2016 Corporation                                                     $33.91                                                                                           $33.91
Saime kosek
35 Cumley st.                                                  RS Legacy Corporation fka RadioShack
Hamden, Ct 06514                          17250      8/28/2016 Corporation                                                     $30.00                                                                                           $30.00
Roger Conway
167 Park Avenue                                                RS Legacy Corporation fka RadioShack
Windsor, CT 06095                         17251      8/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Schuyler Cumbie
11594 Cedar Chase Rd                                           RS Legacy Corporation fka RadioShack
Herndon, VA 20170                         17252      8/28/2016 Corporation                                                     $35.00                                                                                           $35.00




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Schuyler Cumbie
11594 Cedar Chase Rd                                           RS Legacy Corporation fka RadioShack
Herndon, VA 20170                         17253      8/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Schuyler Cumbie
11594 Cedar Chase Rd                                           RS Legacy Corporation fka RadioShack
Herndon, VA 20170                         17254      8/28/2016 Corporation                                                     $25.00                                                                                           $25.00
HOUSTON
1706 kingbury dr                                               RS Legacy Corporation fka RadioShack
Nashville/, Tn 37215                      17255      8/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Sean Dyer
4972 W. 129th Ter                                              RS Legacy Corporation fka RadioShack
Leawood, KS 66209                         17256      8/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Renate McIntosh
105Lawn Dr. Apt. 3A                                            RS Legacy Corporation fka RadioShack
Smyrna, DE 19977                          17257      8/28/2016 Corporation                                                     $20.00                                                                                           $20.00
Dorothy Gilbreath
112 Lighthouse Ave                                             RS Legacy Corporation fka RadioShack
Santa Cruz, CA 95060                      17258      8/28/2016 Corporation                                                     $29.38                                                                                           $29.38
Kimberly Garza
1215 Spokane Dr                                                RS Legacy Corporation fka RadioShack
San Jose, CA 95122                        17259      8/28/2016 Corporation                                                     $50.00                                                                                           $50.00
Danny nguyen
403 W Cowan Dr                                                 RS Legacy Corporation fka RadioShack
Houston, TX 77007                         17260      8/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Charles Gaillard
80 Court St.                                                   RS Legacy Corporation fka RadioShack
Exeter, NH 03833                          17261      8/29/2016 Corporation                                                      $0.00                                                                                            $0.00
eddie simpson
p o box 820                                                    RS Legacy Corporation fka RadioShack
chowchilla, ca 93610                      17262      8/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Raymo, John
8516 Waumegah Rd                                               RS Legacy Corporation fka RadioShack
Clarkston, MI 48348                       17263      8/17/2016 Corporation                                                     $20.13                                                                                           $20.13
Cristian Martinez
2511 Diamond court                                             RS Legacy Corporation fka RadioShack
Bakersfield, CA 93304                     17264      8/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Danielle Sonnenberg
217 South Cayuga Street Apt 26                                 RS Legacy Corporation fka RadioShack
Ithaca, Ny 14850                          17265      8/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Dannya Darbelles
1111 NE 139th street                                           RS Legacy Corporation fka RadioShack
miami, fl 33161                           17266      8/29/2016 Corporation                                                    $100.00                                                                                          $100.00
Dana Tyler
3 Ehrly Place                                                  RS Legacy Corporation fka RadioShack
Palm Coast, Florida 32164                 17267      8/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Ylesia Stefanie James
5403 Fords Endeavor Dr                                         RS Legacy Corporation fka RadioShack
Bowie, MD 20720                           17268      8/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Richard Dinius
12026 Thornapple Cove                                          RS Legacy Corporation fka RadioShack
Fort Wayne, IN 46845‐6935                 17269      8/29/2016 Corporation                                                     $14.89                                                                                           $14.89




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Stephanie friend
2301 Commens Dr 1H                                             RS Legacy Corporation fka RadioShack
Woodstock, Illinois 60098                 17270      8/29/2016 Corporation                                                     $25.00                                                                                           $25.00
Karen Nord
23 Edgar Street                                                RS Legacy Corporation fka RadioShack
Manchester, NH 03104                      17271      8/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Karen Nord
23 Edgar Street                                                RS Legacy Corporation fka RadioShack
Manchester, NH 03104                      17272      8/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Samantha B. Northart
550 W. 45th Street, #1805                                      RS Legacy Corporation fka RadioShack
New York, NY 10036                        17273      8/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Samantha B. Northart
550 w.45th Street, #1805                                       RS Legacy Corporation fka RadioShack
New York, NY 10036                        17274      8/29/2016 Corporation                                                     $14.14                                                                                           $14.14
Scott Clark
339 River Bluff Road                                           RS Legacy Corporation fka RadioShack
Mosinee, WI 54455                         17275      8/29/2016 Corporation                                                     $25.00                                                                                           $25.00
Shawn Yashar
1441 4th Street                                                RS Legacy Corporation fka RadioShack
Santa Monica, CA 90401                    17276      8/29/2016 Corporation                                                     $59.12                                                                                           $59.12
Jake Sylvestre
13 Chestnut Place                                              RS Legacy Corporation fka RadioShack
Lebanon, NJ 08833                         17277      8/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Richard Singer
PO Box 439                                                     RS Legacy Corporation fka RadioShack
Edneyville, NC 28727                      17278      8/30/2016 Corporation                                                     $37.79                                                                                           $37.79
WILLIAM F LESEMANN
PO Box 30146                                                   RS Legacy Corporation fka RadioShack
CHARLESTON, SC 29417                      17279      8/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Derryl Bucheck
14732 66th Trail North                                         RS Legacy Corporation fka RadioShack
Palm Beach Gardens/FL/33418, same none    17280      8/30/2016 Corporation                                                     $20.00                                                                                           $20.00
Harry Hamjian
35 Hixon Street                                                RS Legacy Corporation fka RadioShack
Bellingham, MA 02019                      17281      8/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Muhammad Shahbaz
28 Schriever                                                   RS Legacy Corporation fka RadioShack
New City, New York 10956                  17282      8/30/2016 Corporation                                                     $97.50                                                                                           $97.50
Muhammad Shahbaz
28 Schriever Lane                                              RS Legacy Corporation fka RadioShack
New City, New York 10956                  17283      8/30/2016 Corporation                                                     $97.50                                                                                           $97.50
tyler meiners
35q9 w newlamd loop                                            RS Legacy Corporation fka RadioShack
Lehi, UT 84043                            17284      8/31/2016 Corporation                                                     $40.00                                                                                           $40.00
Edward Boone
4725 Southwood Dr                                              RS Legacy Corporation fka RadioShack
Lincoln, NE 68512                         17285      8/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Jamie Harubin
1153 Alexandria Ln                                             RS Legacy Corporation fka RadioShack
Medina, Oh 44256                          17286      8/31/2016 Corporation                                                     $20.27                                                                                           $20.27




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                                                                                                                     Current General                                            Current 503(b)(9)
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                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                     Amount
wen huang
2510 E Nora Hill Dr.                                              RS Legacy Corporation fka RadioShack
bloomington, in 47401                        17287      8/31/2016 Corporation                                                      $4.50                                                                                            $4.50
Silkia L. Santiago Frontera
130 calle Calamar Urb Estancias de Manati                         RS Legacy Corporation fka RadioShack
Manati, PR 00674                             17288      8/31/2016 Corporation                                                     $50.28                                                                                           $50.28
Akono Ekundayo
833 Duke Coury                                                    RS Legacy Corporation fka RadioShack
Jon3sboro, Ga 30238                          17289      8/31/2016 Corporation                                                     $85.85                                                                                           $85.85
Arkady Potashinsky
89 Gardner St                                                     RS Legacy Corporation fka RadioShack
Newton, MA 02458                             17290      8/31/2016 Corporation                                                    $162.00                                                                                          $162.00
Charles Church
11 Altamont Forest Dr                                             RS Legacy Corporation fka RadioShack
Greenville, SC 29609                         17291      8/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Ariza, Paula
2311 Eastview Ct                                                  RS Legacy Corporation fka RadioShack
San Ramon, CA 94582                          17292      8/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Christopher R Williams
237 Dogwood Lane                                                  RS Legacy Corporation fka RadioShack
Berwyn, PA 19312                             17293      8/31/2016 Corporation                                                     $40.00                                                                                           $40.00
McKenna aanonli
1604 nightingale dr                                               RS Legacy Corporation fka RadioShack
Aubrey, Texas 76227                          17294      8/31/2016 Corporation                                                     $65.00                                                                                           $65.00
PATRICIA BRADLEY
142 DeChene Ave                                                   RS Legacy Corporation fka RadioShack
sonom, CA 95476                              17295      8/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Beren Vonnahme
1110 Canterbury drive                                            RS Legacy Corporation fka RadioShack
Fairbanks, AK 99709                          17296      9/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Veronica Mendoza
11424 Flor Prunus Lane                                           RS Legacy Corporation fka RadioShack
El Paso, Tx 79927                            17297      9/1/2016 Corporation                                                      $86.59                                                                                           $86.59
David nowakowski
163 lake cliff dr                                                RS Legacy Corporation fka RadioShack
Erie, Pa 16511                               17298      9/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Robert
3283 Swigart                                                     RS Legacy Corporation fka RadioShack
Bellbrook, OH 45305                          17299      9/1/2016 Corporation                                                      $53.36                                                                                           $53.36
Brenda Sralla
8108 Timber Fall Trail                                           RS Legacy Corporation fka RadioShack
Fort Worth, TX 76131                         17300      9/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Robert Crimmins
4 Ashby Court                                                    RS Legacy Corporation fka RadioShack
Manalapan, NJ 07726                          17301      9/1/2016 Corporation                                                      $50.00                                                                                           $50.00
Miranda Larson
10216 Whitecrown Circle                                          RS Legacy Corporation fka RadioShack
Corona, CA 92883                             17302      9/1/2016 Corporation                                                      $67.62                                                                                           $67.62
Frank Kaufman
20 Bonacres Ave.                                                 RS Legacy Corporation fka RadioShack
Toronto, ONTARIO M1C 1P7                     17303      9/1/2016 Corporation                                                      $10.00                                                                                           $10.00




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                                                                                                                 Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
lesly conde
5020 S. Lake Shore Dr. suite 1710N                            RS Legacy Corporation fka RadioShack
chicago, il 60615                         17304      9/2/2016 Corporation                                                    $136.04                                                                                          $136.04
Will Rains
276 Big Ridge Park Road                                       RS Legacy Corporation fka RadioShack
Maynardville, TN 37807                    17305      9/2/2016 Corporation                                                     $75.00                                                                                           $75.00
David Kayser
12 Clifton Ave                                                RS Legacy Corporation fka RadioShack
Beverly, MA 01915                         17306      9/2/2016 Corporation                                                     $11.54                                                                                           $11.54
Joseph Pfeifer
1274 49th Street #261                                         RS Legacy Corporation fka RadioShack
Brooklyn, NY 11219                        17307      9/2/2016 Corporation                                                      $0.00                                                                                            $0.00
vikikumar bhakta
1716 w 2nd st                                                 RS Legacy Corporation fka RadioShack
roswell, nm 88201                         17308      9/2/2016 Corporation                                                     $73.92                                                                                           $73.92
Brooke Stahl
11203 Hunters Oak                                             RS Legacy Corporation fka RadioShack
Helotes, TX 78023                         17309      9/2/2016 Corporation                                                     $86.59                                                                                           $86.59
Della Johnson
26005 106th PL SE Apt A202                                    RS Legacy Corporation fka RadioShack
Kent, WA 98030                            17310      9/2/2016 Corporation                                                     $25.00                                                                                           $25.00
KIMBERLY CUMMINGS
400 Burt Drive APT B25                                        RS Legacy Corporation fka RadioShack
Dothan, AL 36305                          17311      9/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Rhonda Ruff
3171 Rolling Rd.                                              RS Legacy Corporation fka RadioShack
Scottsville, VA 24590                     17312      9/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Travis Hunter
92‐1132. Panana. st. Apt 1 29                                 RS Legacy Corporation fka RadioShack
Kapolei, Hawaii 96707                     17313      9/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael Sette
10 Edwards Lane                                               RS Legacy Corporation fka RadioShack
Glen Cove, NY 11542                       17314      9/2/2016 Corporation                                                     $16.00                                                                                           $16.00
Sunil Kumar Pusarla
432 SW 111th place                                            RS Legacy Corporation fka RadioShack
Seattle, WA 98146                         17315      9/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Kamala Lakshmi Kolla
432 SW 111th place                                            RS Legacy Corporation fka RadioShack
Seattle, WA 98146                         17316      9/2/2016 Corporation                                                    $100.00                                                                                          $100.00
Gary Punzak
603 Perry Highway                                             RS Legacy Corporation fka RadioShack
Pgh, Pa 15229                             17317      9/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Su In Lee
12221 E Colonial Dr, Apt 4218                                 RS Legacy Corporation fka RadioShack
Orlando, FL 32826                         17318      9/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Edward DeBiase
12800 Pinecrest Road                                          RS Legacy Corporation fka RadioShack
Herndon, VA 20171                         17319      9/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Nyla Henderson
570 Harvey Street APT 1                                       RS Legacy Corporation fka RadioShack
Kent, OH 44240                            17320      9/3/2016 Corporation                                                     $25.00                                                                                           $25.00




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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Porfirio Jehu Ortiz
3650 W. Bouquet Ave.                                          RS Legacy Corporation fka RadioShack
Anaheim, CA 92804                         17321      9/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Maria Escandon
372 Bandolina dr                                              RS Legacy Corporation fka RadioShack
Socorro, Tx 79927                         17322      9/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Charles Kim
11110 Claire Avenue                                           RS Legacy Corporation fka RadioShack
Porter Ranch, CA 91326                    17323      9/3/2016 Corporation                                                     $50.00                                                                                           $50.00
Charles Flagg
2768 Salado Tr                                                RS Legacy Corporation fka RadioShack
Fort Worth, TX 76118                      17324      9/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Noorani Ramji
33 Panorama Hills Rise NW                                     RS Legacy Corporation fka RadioShack
Calgary, Alberta T3K 5M5                  17325      9/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Shelton Austin
100 Forest Road                                               RS Legacy Corporation fka RadioShack
Moorestown, NJ 08057                      17326      9/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Renee Washington
202 Claremont Rd                                              RS Legacy Corporation fka RadioShack
Philadelphia, Pa 19120                    17327      9/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Adrian wright
406 pueblo pintado                                            RS Legacy Corporation fka RadioShack
Helotes, Tx 78023                         17328      9/4/2016 Corporation                                                      $0.00                                                                                            $0.00
david bjorklund
4009 silver lake rd                                           RS Legacy Corporation fka RadioShack
st.anthony, mn 55421                      17329      9/4/2016 Corporation                                                    $128.57                                                                                          $128.57
Ankita Munjal
3850 Tunlaw Road NW, Apt 304                                  RS Legacy Corporation fka RadioShack
Washington, DC 20007                      17330      9/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Ankita Munjal
3850 Tunlaw Road NW, Apt 304                                  RS Legacy Corporation fka RadioShack
Washington, DC 20007                      17331      9/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Ankita Munjal
3850 Tunlaw Rd. NW, Apt 304                                   RS Legacy Corporation fka RadioShack
Washington, DC 20007                      17332      9/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Ankita Munjal
3850 Tunlaw Rd NW, Apt 304                                    RS Legacy Corporation fka RadioShack
Washington, DC 20007                      17333      9/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Jason Voss
6815 Cattail Court S.                                         RS Legacy Corporation fka RadioShack
Cottage Grove, MN 55016                   17334      9/4/2016 Corporation                                                    $120.00                                                                                          $120.00
ahkeema hill
50 osceola ln apt 2                                           RS Legacy Corporation fka RadioShack
san francisco, california 94124           17335      9/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Shital Patel
21 Trotter Lane                                               RS Legacy Corporation fka RadioShack
Newington, Connecticut 06111              17336      9/5/2016 Corporation                                                     $15.53                                                                                           $15.53
John Huebschmann
444 Riverview Dr.                                             RS Legacy Corporation fka RadioShack
Youngstown, NY 14174                      17337      9/5/2016 Corporation                                                     $93.28                                                                                           $93.28




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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Nancy Weller
943 S. Adams St.                                              RS Legacy Corporation fka RadioShack
Hinsdale, IL 60521                        17338      9/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Courtney Holmes
4401 mesa dr apt A                                            RS Legacy Corporation fka RadioShack
Columbia, Mo 65203                        17339      9/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Cynthia Boyd
908 east gizzard St apt 189                                   RS Legacy Corporation fka RadioShack
Tullahoma, Qtn 37388                      17340      9/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Denece Zavoral
7118 Brookcrest way                                           RS Legacy Corporation fka RadioShack
Citrus Heights, CA 95621                  17341      9/5/2016 Corporation                                                     $10.20                                                                                           $10.20
O'Donnell, Harry
138 Sequams LN. E.                                            RS Legacy Corporation fka RadioShack
West Islip, NY 11795                      17342      9/6/2016 Corporation                                                     $32.58                                                                                           $32.58
Kuba, Kathryn
125 Lancewood Ct.                                             RS Legacy Corporation fka RadioShack
Lakewood, NJ 08701                        17343      9/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Ken Barry
5809 NESTER'S LANE                                            RS Legacy Corporation fka RadioShack
BRADENTON, FLORIDA 34203                  17344      9/6/2016 Corporation                                                     $13.87                                                                                           $13.87
Mary Rienzo
150 High St                                                   RS Legacy Corporation fka RadioShack
Reading, MA 01867                         17345      9/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Shepherd, Victoria
9726 Summer Park Court                                        RS Legacy Corporation fka RadioShack
Columbia, MD 21046                        17346      9/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Bove, Marianne
1315 Southview Drive                                          RS Legacy Corporation fka RadioShack
Erie, PA 16509                            17347      9/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Nicholas Banker
97 Jeremy Hill Rd                                             RS Legacy Corporation fka RadioShack
North Stonington, CT 06359                17348      9/6/2016 Corporation                                                     $23.31                                                                                           $23.31
Gary Hayes
4306 Evergreen Drive                                          RS Legacy Corporation fka RadioShack
Chattanooga, TN 37411                     17349      9/6/2016 Corporation                                                     $19.74                                                                                           $19.74
Evan Gozali
245 West 74 TH #7C                                            RS Legacy Corporation fka RadioShack
Manhattan, New York 10023                 17350      9/6/2016 Corporation                                                     $17.19                                                                                           $17.19
Albert Bruno
1802 Canova Ave.                                              RS Legacy Corporation fka RadioShack
Cleveland, ohio 44109                     17351      9/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Timothy Blain
6810 Orchard Ave                                              RS Legacy Corporation fka RadioShack
Parma, Ohio 44129                         17352      9/6/2016 Corporation                                                      $3.77                                                                                            $3.77
Vicki Templeton
403 Murock                                                    RS Legacy Corporation fka RadioShack
Parsons, KS 67357                         17353      9/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                       RS Legacy Corporation fka RadioShack
                                          17354      9/6/2016 Corporation                                                                                                                                                       $0.00




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                                                                                                                 Current General                                            Current 503(b)(9)
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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Gonzales, Ana
24022 Briarbrock Way                                          RS Legacy Corporation fka RadioShack
San Antonio, TX 78261                     17355      9/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Leighton, Grace
3536 Blue Marlin Circ                                         RS Legacy Corporation fka RadioShack
Virginia Beach, VA 23452‐3702             17356      9/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Christensen, Helen
166 Putnam Park                                               RS Legacy Corporation fka RadioShack
Greenwich, CT 06830                       17357      9/6/2016 Corporation                                                     $25.00                                                                                           $25.00
Herron, Alaner
3237 A 16th St                                                RS Legacy Corporation fka RadioShack
San Francisco, CA 94103                   17358      9/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Stilwell, Kathryn
20534 Emmett                                                  RS Legacy Corporation fka RadioShack
Taylor, MI 48180                          17359      9/6/2016 Corporation                                                     $63.59                                                                                           $63.59
Trump, Erik
2601 Manor Dr                                                 RS Legacy Corporation fka RadioShack
Midland, MI 48640                         17360      9/6/2016 Corporation                                                     $84.79                                                                                           $84.79
Bueno, Gary
3520 Canfield Rd                                              RS Legacy Corporation fka RadioShack
Youngstown, OH 44511                      17361      9/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Simonds, Joanne
40 Crescent St.                                               RS Legacy Corporation fka RadioShack
Rutland, VT 05701                         17362      9/6/2016 Corporation                                                     $23.56                                                                                           $23.56
John, Donna‐Marie
439 Amboy St                                                  RS Legacy Corporation fka RadioShack
Brooklyn, NY 11212                        17363      9/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Savage, Judy
1401 Lution Dr                                                RS Legacy Corporation fka RadioShack
Weatherford, TX 76087                     17364      9/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Dumais, Daniel
18 Blackberry Ct.                                             RS Legacy Corporation fka RadioShack
Lafayette, CA 94549                       17365      9/6/2016 Corporation                                                     $40.04                                                                                           $40.04
Russell, Dianne
1900 E. Tropicana #109                                        RS Legacy Corporation fka RadioShack
Las Vegas, NV 89119‐6555                  17366      9/6/2016 Corporation                                                    $300.00                                                                                          $300.00
Catipay, Eugene M.
300 Gillibrook Ln                                             RS Legacy Corporation fka RadioShack
Dover, DE 19904                           17367      9/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Decker, Kenneth
P.O. Box 218332                                               RS Legacy Corporation fka RadioShack
Columbus, OH 43221                        17368      9/6/2016 Corporation                                                      $6.49                                                                                            $6.49
Washington, Frederick
29 Barker Ave                                                 RS Legacy Corporation fka RadioShack
Richmond, VA 23223                        17369      9/6/2016 Corporation                                                     $26.24                                                                                           $26.24
Gaard, Janet
PO Box 362                                                    RS Legacy Corporation fka RadioShack
Woodland, CA 95776                        17370      9/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Overton, Mackenzie
164 116th Ave S Apt 4                                         RS Legacy Corporation fka RadioShack
Treasure Island, FL 33706                 17371      9/6/2016 Corporation                                                     $50.00                                                                                           $50.00




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                                                                                                                 Current General                                            Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Reed, John W
1350 E. Locust St Apt‐1101                                    RS Legacy Corporation fka RadioShack
Milwaukee, WI 53212                       17372      9/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Herrarte, Lucy G.
10202 Forum Park #96                                          RS Legacy Corporation fka RadioShack
Houston, TX 77036                         17373      9/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Kocab, Judy
580 State Route 511                                           RS Legacy Corporation fka RadioShack
Ashland, OH 44805                         17374      9/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Julie Anderson
3507 Kent st                                                  RS Legacy Corporation fka RadioShack
Kensington, MD 20895                      17375      9/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Walker, Betty Ann
112 E. Man                                                    RS Legacy Corporation fka RadioShack
Hillsboro, OH 45133                       17376      9/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Mazzoni, Charles A.
8405 Excalibur Circle D‐11                                    RS Legacy Corporation fka RadioShack
Naples, FL 34108                          17377      9/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Catherine J. Godfrey
3208 NE 157th Court                                           RS Legacy Corporation fka RadioShack
Vancouver, wa 98682‐7338                  17378      9/6/2016 Corporation                                                     $37.93                                                                                           $37.93
Brian Saroken
114 East 72nd Street Apt 15C                                  RS Legacy Corporation fka RadioShack
New York, NY 10021                        17379      9/6/2016 Corporation                                                      $0.00                                                                                            $0.00
James Russell
532 Ives Court                                                RS Legacy Corporation fka RadioShack
Chapel Hill, NC 27514                     17380      9/6/2016 Corporation                                                      $0.00                                                                                            $0.00
James Russell
532 Ives Court                                                RS Legacy Corporation fka RadioShack
Chapel Hill, NC 27514                     17381      9/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael Rutherford
2808 pavilion place, #1a                                      RS Legacy Corporation fka RadioShack
midlothian, va 23112‐6618                 17382      9/6/2016 Corporation                                                     $12.10                                                                                           $12.10
Sadie Piller
3160 N Lincoln Ave #504                                       RS Legacy Corporation fka RadioShack
Chicago, IL 60657                         17383      9/6/2016 Corporation                                                     $54.98                                                                                           $54.98
Rebecca Allison
100 Hart Drive                                                RS Legacy Corporation fka RadioShack
Litchfield, CT 06759                      17384      9/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Jorge Carrillo
5117 Elmwood Pkwy                                             RS Legacy Corporation fka RadioShack
Metairie, LA 70003                        17385      9/7/2016 Corporation                                                      $2.18                                                                                            $2.18
Jen Mendenhall‐Waldorf
2 Overlook Rd, APT 1B1                                        RS Legacy Corporation fka RadioShack
White Plains, NY 10605                    17386      9/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Cody Schwarzenbach
88130 Lindsay Lane                                            RS Legacy Corporation fka RadioShack
Veneta, OR 97487                          17387      9/7/2016 Corporation                                                     $20.00                                                                                           $20.00
John Damits
505 Dinnerbell Rd                                             RS Legacy Corporation fka RadioShack
Butler, PA 16002                          17388      9/7/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Nicholas Jensen
3831 S 3520 W                                                 RS Legacy Corporation fka RadioShack
Salt Lake City, UT 84119                  17389      9/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Harold Curry
1108 Reynolds RD                                              RS Legacy Corporation fka RadioShack
Paragould, AR 72450                       17390      9/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Benjamin Roedell
16751 Taylow Way                                              RS Legacy Corporation fka RadioShack
Odessa, FL 33556                          17391      9/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Oscar A. Garcia
82 Linda Circle                                               RS Legacy Corporation fka RadioShack
Eagle Pass, TX 78852                      17392      9/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Oscar Garcia
82 Linda Circle                                               RS Legacy Corporation fka RadioShack
Eagle Pass, TX 78852                      17393      9/7/2016 Corporation                                                      $0.00                                                                                            $0.00
khalif Quran
726 Northern Rd                                               RS Legacy Corporation fka RadioShack
South Daytona, Fl 32119                   17394      9/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Greg Alber
PO Box 151                                                    RS Legacy Corporation fka RadioShack
Pierson, Mi 49339                         17395      9/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Apthorp, Sandra
2888 Spring Creek Hwy                                         RS Legacy Corporation fka RadioShack
Crawfordville, FL 32327                   17396      9/8/2016 Corporation                                                      $8.59                                                                                            $8.59
Burgo, Shari
5229 Grand Palmetto Way                                       RS Legacy Corporation fka RadioShack
North Port, FL 34291                      17397      9/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Andrew Blanchard
155 Pollard Street                                            RS Legacy Corporation fka RadioShack
Conway, NH 03818                          17398      9/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Andrew Blanchard
155 Pollard Street                                            RS Legacy Corporation fka RadioShack
Conway, NH 03818                          17399      9/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Andrew Blanchard
155 Pollard Street                                            RS Legacy Corporation fka RadioShack
Conway, NH 03818                          17400      9/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Sparkman, D.
2601 Marsh Ln Unit 144                                        RS Legacy Corporation fka RadioShack
Plano, TX 75093                           17401      9/8/2016 Corporation                                                      $0.00                                                                                            $0.00
McGee, Karin
193 West Water St.                                            RS Legacy Corporation fka RadioShack
Chillicothe, OH 45601                     17402      9/8/2016 Corporation                                                     $50.00                                                                                           $50.00
Janell Velasquez
7860 SW 35 ter                                                RS Legacy Corporation fka RadioShack
MIami, FL 33155                           17403      9/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Raska, Doug
17811 Memorial Oaks Lane                                      RS Legacy Corporation fka RadioShack
Spring, TX 77379                          17404      9/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Williams, Candice
3116 Aidan Lane                                               RS Legacy Corporation fka RadioShack
Mount Juliet, TN 37122                    17405      9/8/2016 Corporation                                                     $29.49                                                                                           $29.49




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            Creditor Name and Address    Claim No.   Claim Date                   Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                     Amount                                                     Amount
Jack, Corbin W
130 Dead End Road                                             RS Legacy Corporation fka RadioShack
Shelocta, PA 15774‐2248                   17406      9/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Freeman, Sandra
9802 S. 95th E. Ave                                           RS Legacy Corporation fka RadioShack
Tulsa, OK 74133‐6149                      17407      9/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Hilscher, Sean
4769 Aljoann Rd                                               RS Legacy Corporation fka RadioShack
Brighton, MI 48116                        17408      9/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Day, Carol
890 Northmoor Rd                                              RS Legacy Corporation fka RadioShack
Lake Forest, IL 60045                     17409      9/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Cook, Kris M
417 NE. Candy Ln.                                             RS Legacy Corporation fka RadioShack
Grant Pass, OR 97526                      17410      9/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Root, Margaret
15369 Portage Rd                                              RS Legacy Corporation fka RadioShack
Vicksburg, MI 49097                       17411      9/7/2016 Corporation                                                     $28.60                                                                                           $28.60
Claim Docketed In Error                                       RS Legacy Corporation fka RadioShack
                                          17412      9/6/2016 Corporation                                                                                                                                                       $0.00
Baker, Robert Ellis
1619 East 26th Place                                          RS Legacy Corporation fka RadioShack
Tulsa, OK 74114                           17413      9/8/2016 Corporation                                                     $59.66                                                                                           $59.66
Campanelli, Angela
7 Ethan Court                                                 RS Legacy Corporation fka RadioShack
Hillsborough, NJ 08844                    17414      9/7/2016 Corporation                                                     $16.04                                                                                           $16.04
Schopfer, Maxine
P.O. Box 1757                                                 RS Legacy Corporation fka RadioShack
Weaverville, CA 96093                     17415      9/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Marti Surrey
101 Orchard Hill Road                                         RS Legacy Corporation fka RadioShack
Fort Thomas, KY 41075                     17416      9/8/2016 Corporation                                                     $42.38                                                                                           $42.38
MARY KATHERINE JAUCHEN
1437 W. Pleasant Run Rd                                       RS Legacy Corporation fka RadioShack
DeSoto, TX 75115                          17417      9/8/2016 Corporation                                                      $0.00                                                                                            $0.00
JOHN ANTOCI
PO BOX 4774                                                   RS Legacy Corporation fka RadioShack
PALM DESERT, CA 92261                     17418      9/8/2016 Corporation                                                     $43.79                                                                                           $43.79
Michael Harris
5956 Odenton Ln                                               RS Legacy Corporation fka RadioShack
Pfafftown, NC 27040                       17419      9/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Cheryl Seeds
4559 Sally Drive                                              RS Legacy Corporation fka RadioShack
San Jose, Ca 95124                        17420      9/9/2016 Corporation                                                     $31.65                                                                                           $31.65
gretchen schuster
805 wiley court                                               RS Legacy Corporation fka RadioShack
arcata, california 95521                  17421      9/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Steve Barnwell
614 Fountain Place                                            RS Legacy Corporation fka RadioShack
Burlington, NC 27215                      17422      9/9/2016 Corporation                                                      $6.93                                                                                            $6.93




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
John L Strait III
PO Box 358                                                    RS Legacy Corporation fka RadioShack
Irmo, SC 29063                            17423      9/9/2016 Corporation                                                      $16.04                                                                                           $16.04
Ramanathan Balasubramanian
6831 Stoneheath Ln                                            RS Legacy Corporation fka RadioShack
Port Orange, FL 32128                     17424      9/9/2016 Corporation                                                      $42.58                                                                                           $42.58
Ramanathan Balasubramanian
6831 Stoneheath Ln                                            RS Legacy Corporation fka RadioShack
Port Orange, FL 32128                     17425      9/9/2016 Corporation                                                      $51.84                                                                                           $51.84
Harney, Lillian
1 Squadron Blvd.                                              RS Legacy Corporation fka RadioShack
New City, NY 10956                        17426      9/9/2016 Corporation                                                      $52.01                                                                                           $52.01
Schuster, Gretchen
805 Wiley Court                                               RS Legacy Corporation fka RadioShack
Arcata, CA 95521                          17427      9/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Barnwell, Steve
614 Fountain Place                                            RS Legacy Corporation fka RadioShack
Burlington, NC 27215                      17428      9/9/2016 Corporation                                                       $6.93                                                                                            $6.93
Vuong, Joanna
4426 Carriage Hill Ln                                         RS Legacy Corporation fka RadioShack
Columbus, OH 43220                        17429      9/9/2016 Corporation                                                     $156.74                                                                                          $156.74
Meister, Glenda
3607 W. Fairground Rd.                                        RS Legacy Corporation fka RadioShack
Osgood, IN 47037                          17430      9/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Brown, Donnnezzetta
760 Eldert Lane 16E                                           RS Legacy Corporation fka RadioShack
Brooklyn, NY 11208                        17431      9/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Brown, Donnezzetta
760 Elde Lane E                                               RS Legacy Corporation fka RadioShack
Brooklyn, NY 11208                        17432      9/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Brown, Donnezzetta
760 Eldert Lane 16E                                           RS Legacy Corporation fka RadioShack
Brooklyn, NY 11208                        17433      9/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Clement, Lisa
20976 Hunt St.                                                RS Legacy Corporation fka RadioShack
Watertown, NY 13601                       17434      9/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Lawrence, Robyn
8745 Florence Ave                                             RS Legacy Corporation fka RadioShack
Brentwood, MO 63144                       17435      9/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Thomas T Crout
641 Ridgeview Drive                                           RS Legacy Corporation fka RadioShack
Nicholasville, Ky 40356                   17436      9/9/2016 Corporation                                                      $50.00                                                                                           $50.00
Jimmie Herring
5600 NW 18th St                                               RS Legacy Corporation fka RadioShack
Lauderhill, FL 33313                      17437      9/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Sarah Rickard
23 Cromer Ave                                                  RS Legacy Corporation fka RadioShack
Schenectady, Ny 12304                     17438      9/10/2016 Corporation                                                     $20.00                                                                                           $20.00
Brandon Rickard
905 aleta st.                                                  RS Legacy Corporation fka RadioShack
Arlington, Texas 76010                    17439      9/10/2016 Corporation                                                     $32.46                                                                                           $32.46




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Heather Suess
15804 92nd Way N                                               RS Legacy Corporation fka RadioShack
Jupitor, FL 33478                         17440      9/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Brian Eschbacher
3082 Trenton Street                                            RS Legacy Corporation fka RadioShack
Denver, CO 80238                          17441      9/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Timothy Witherspoon
5150 S 18th Place #201                                         RS Legacy Corporation fka RadioShack
Phoenix, Arizona 85040                    17442      9/10/2016 Corporation                                                     $16.00                                                                                           $16.00
Luckencia Orphee
233 Jackson ave                                                RS Legacy Corporation fka RadioShack
Hackensack, Nj 07601                      17443      9/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Stella Orzech
8741 W. 167th Street                                           RS Legacy Corporation fka RadioShack
Orland Park, IL 60462                     17444      9/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael A Ambrosino
44 Lake Shore Dr.                                              RS Legacy Corporation fka RadioShack
Johnston, Rhode Island 02919              17445      9/11/2016 Corporation                                                     $10.00                                                                                           $10.00
Heather Powell
1212 6th St                                                    RS Legacy Corporation fka RadioShack
Boulder, CO 80302                         17446      9/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Keaton N Call
990 w 7950 s                                                   RS Legacy Corporation fka RadioShack
Willard, UT 84340                         17447      9/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Mark Walters
574 Grey Hawk Way                                              RS Legacy Corporation fka RadioShack
Central Point, Or 97502                   17448      9/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Jeff Mitchell
122 Hollybrooke Drive                                          RS Legacy Corporation fka RadioShack
Langhorne, PA 19047                       17449      9/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Evona Kilpatrick
PO Box 431                                                     RS Legacy Corporation fka RadioShack
Hendersonville, NC 28793                  17450      9/12/2016 Corporation                                                     $13.94                                                                                           $13.94
Sam Chapnick
300 West 55th ST #15A                                          RS Legacy Corporation fka RadioShack
New York, NY 10019                        17451      9/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Alex Gold
5515 New Utrecht Ave                                           RS Legacy Corporation fka RadioShack
Brooklyn, NY 11219                        17452      9/12/2016 Corporation                                                    $158.99                                                                                          $158.99
Florian Haiduc
6753 Big Spring Ave. NE                                        RS Legacy Corporation fka RadioShack
CANTON, OH 44721                          17453      9/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Brooke Lengsfelder
1317 Mason Street                                              RS Legacy Corporation fka RadioShack
San Francisco, CA 94133                   17454      9/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Uma Kondai
11 Harmony lane                                                RS Legacy Corporation fka RadioShack
Monmouth junction, NJ 08852               17455      9/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Corena B. Deen
10535 Louisburg drive                                          RS Legacy Corporation fka RadioShack
San Anotnio, TX 78245                     17456      9/12/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                      Amount                                                     Amount
Corena B. Deen
10535 Louisburg Drive                                          RS Legacy Corporation fka RadioShack
San Anotnio, TX 78245                     17457      9/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Gustavo Ramirez
12005 Devilwood Drive                                          RS Legacy Corporation fka RadioShack
Potomac, MD 20854                         17458      9/12/2016 Corporation                                                     $25.00                                                                                           $25.00
Hekmat Zaghi
5131 Topeka Dr.                                                RS Legacy Corporation fka RadioShack
91356, California 91356                   17459      9/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Ryan Ogawa
2021 Hoohai Street                                             RS Legacy Corporation fka RadioShack
Pearl City, HI 96782                      17460      9/13/2016 Corporation                                                     $10.00                                                                                           $10.00
Samantha Peoples
3107 AppleGreen Lane                                           RS Legacy Corporation fka RadioShack
Bowie, MD 20716                           17461      9/13/2016 Corporation                                                     $40.00                                                                                           $40.00
Malone, Austin
1957 Dabbs Ave                                                 RS Legacy Corporation fka RadioShack
Nashville, TN 37217                       17462      9/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Young, John P.
190 Old Earleigh Heights Road                                  RS Legacy Corporation fka RadioShack
Severna Park, MD 21146                    17463      9/13/2016 Corporation                                                     $11.52                                                                                           $11.52
Zimmer, Lynne
4250 Powell Rd                                                 RS Legacy Corporation fka RadioShack
Harbor Springs, MI 49748                  17464      9/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Torres, Lissette
3912 Foxwood St                                                RS Legacy Corporation fka RadioShack
Bakerfield, CA 93306                      17465      9/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Maguire, Kristine
27 Riverlodge Road                                             RS Legacy Corporation fka RadioShack
South Hadley, MA 01075                    17466      9/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Terry, Adrienne
PO Box 2614                                                    RS Legacy Corporation fka RadioShack
Southampton, NY 11969                     17467      9/13/2016 Corporation                                                      $9.46                                                                                            $9.46
Williams, Carolyn
1021 N Austin 3rd Fl                                           RS Legacy Corporation fka RadioShack
Chicago, IL 60651                         17468      9/13/2016 Corporation                                                     $16.32                                                                                           $16.32
Young, Timothy
18 Thersland Dr.                                               RS Legacy Corporation fka RadioShack
Shrewsbury, MA 01545                      17469      9/13/2016 Corporation                                                     $26.55                                                                                           $26.55
Bove, Marianne
1315 Southview Drive                                           RS Legacy Corporation fka RadioShack
Erie, PA 16509                            17470      9/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Becker, Frances & Ron
1738 S. Rio Linda Street                                       RS Legacy Corporation fka RadioShack
Visalia, CA 93292                         17471      9/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Dorris, Robert
447 Stanford Ave.                                              RS Legacy Corporation fka RadioShack
Medford, OR 97504                         17472      9/13/2016 Corporation                                                     $65.47                                                                                           $65.47
Dowling, Craig
301 N Forrest St                                               RS Legacy Corporation fka RadioShack
Yoril, PA 17404                           17473      9/13/2016 Corporation                                                     $25.00                                                                                           $25.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Lippe, Ryan
2560 Shore Line Lane                                           RS Legacy Corporation fka RadioShack
Columbus, OH 43221                        17474      9/13/2016 Corporation                                                     $25.00                                                                                           $25.00
Krishna Pasumarti
3903 S Mason Road, Apt 310                                     RS Legacy Corporation fka RadioShack
Katy/Texas/77450, 77450 Apt 310           17475      9/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Omar Alowdi
1335 54th                                                      RS Legacy Corporation fka RadioShack
Oakland, CA 94601                         17476      9/13/2016 Corporation                                                    $108.54                                                                                          $108.54
Mark LaDuke
5050 Klump Ave #317                                            RS Legacy Corporation fka RadioShack
North Hollywood, Ca 91601                 17477      9/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Harold Schmidt
PO Box 301                                                     RS Legacy Corporation fka RadioShack
Colts Neck, NJ 07722                      17478      9/13/2016 Corporation                                                      $0.00                                                                                            $0.00
COUNTY TREASURER
PO BOX 248                                                     RS Legacy Corporation fka RadioShack
BURLINGTON, IA 52601                      17479      9/12/2016 Corporation                                                                         $0.00                                                                         $0.00
Leonard Gay
2722 Chimney Springs Dr.                                       RS Legacy Corporation fka RadioShack
Marietta, GA 30062                        17480      9/13/2016 Corporation                                                      $0.00                                                                                            $0.00
carol pirrone
4490 W.Samaria Road                                            RS Legacy Corporation fka RadioShack
Temperance,, Michigan 48182               17481      9/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Mohamed Dharsi
2913 Barrington ct                                             RS Legacy Corporation fka RadioShack
fullerton, ca 92831                       17482      9/13/2016 Corporation                                                     $21.59                                                                                           $21.59
AKAYLA LEWIS
1601 MIRIAM AVE UNIT 309                                       RS Legacy Corporation fka RadioShack
AUSTIN, TX 78702                          17483      9/14/2016 Corporation                                                      $4.34                                                                                            $4.34
David P Tuttle
74 Dogwood Lane                                                RS Legacy Corporation fka RadioShack
New Canaan, CT 06840                      17484      9/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Zeina abdo
701 mirror lake dr #320                                        RS Legacy Corporation fka RadioShack
Saint Petersburg, Fl 33701                17485      9/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Greg Shinaman
74 Shoreham Drive                                              RS Legacy Corporation fka RadioShack
Rochester, NY 14618                       17486      9/14/2016 Corporation                                                     $43.19                                                                                           $43.19
Ronald Massaroni
4 Budd Lane                                                    RS Legacy Corporation fka RadioShack
East Greenbush, Ny 12061                  17487      9/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Nicholas Deifel
413 Fourth Avr                                                 RS Legacy Corporation fka RadioShack
Farmville, Va 23901                       17488      9/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Paul Barber
7 North Oak St                                                 RS Legacy Corporation fka RadioShack
Perryville, MO 63775                      17489      9/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Ronnie Nall
2335 Traditions Ct                                             RS Legacy Corporation fka RadioShack
Naples, FL 34105                          17490      9/15/2016 Corporation                                                    $135.60                                                                                          $135.60




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Leo O'Ryan
809 Maryland Ave. W                                            RS Legacy Corporation fka RadioShack
St. Paul, MN 55117                        17491      9/15/2016 Corporation                                                    $100.00                                                                                          $100.00
Paula Caylor
2 E Congress St, Ste 900                                       RS Legacy Corporation fka RadioShack
Tucson, AZ 85701                          17492      9/15/2016 Corporation                                                    $113.81                                                                                          $113.81
Oleg Kasyan
2485 Tonquin Str.                                              RS Legacy Corporation fka RadioShack
East Meadow, NY 11554                     17493      9/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Ron Strazulla
2993 Cranbooke Dr                                              RS Legacy Corporation fka RadioShack
Tallahassee, FL 32308, Fl 32309           17494      9/15/2016 Corporation                                                      $0.00                                                                                            $0.00
DANIEL BERARDINELLI
1040 nw 48th pl                                                RS Legacy Corporation fka RadioShack
pompano beach, fl 33064                   17495      9/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Anthony Espino
2106 E white oak Ct apt 201                                    RS Legacy Corporation fka RadioShack
Nampa, Idaho 83687                        17496      9/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Jessica Gonzalez
1003 s sherman st                                              RS Legacy Corporation fka RadioShack
Ennis, Tx 75119                           17497      9/17/2016 Corporation                                                      $0.00                                                                                            $0.00
angelo fuggetta
395 Adirondack drive                                           RS Legacy Corporation fka RadioShack
farmingville, ny 11738                    17498      9/17/2016 Corporation                                                      $0.00                                                                                            $0.00
SHARON HOLSTEN
821‐7TH STREET                                                 RS Legacy Corporation fka RadioShack
SECAUCUS, NJ 07094                        17499      9/17/2016 Corporation                                                      $7.35                                                                                            $7.35
Anuradha Srivastava
403 West Furrow Lane                                           RS Legacy Corporation fka RadioShack
Newark, DE 19702                          17500      9/17/2016 Corporation                                                     $42.94                                                                                           $42.94
Christoher Wise
8 Bracken Court                                                RS Legacy Corporation fka RadioShack
Mechanicsburg, PA 17050                   17501      9/18/2016 Corporation                                                     $28.89                                                                                           $28.89
Darin Gronewold
2542 Prairie Green Dr.                                         RS Legacy Corporation fka RadioShack
Huron, SD 57350                           17502      9/19/2016 Corporation                                                     $26.49                                                                                           $26.49
yitzak zeinfeldx
2213 pennington bend rd                                        RS Legacy Corporation fka RadioShack
nashville, TN 37214                       17503      9/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Jocelyn Brubaker
10056 Blue Jay Circle                                          RS Legacy Corporation fka RadioShack
Orrstown, PA 17244                        17504      9/19/2016 Corporation                                                      $0.00                                                                                            $0.00
NICOLE BARKER
208 West 119th St #5A                                          RS Legacy Corporation fka RadioShack
New York, NY 10026                        17505      9/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Jeremy Walker
35817 Bella Sera Drive                                         RS Legacy Corporation fka RadioShack
Sterling Heights, Michigan 48312          17506      9/19/2016 Corporation                                                    $100.00                                                                                          $100.00
Debra Oben
56852 Copperfield                                              RS Legacy Corporation fka RadioShack
Shelby Township, MI 48316                 17507      9/19/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Paige Wilson
19627 Buck Run                                                 RS Legacy Corporation fka RadioShack
Georgetown, DE 19947                      17508      9/19/2016 Corporation                                                      $0.00                                                                                            $0.00
P Manda
6215 SE 22nd Avenue                                            RS Legacy Corporation fka RadioShack
Portland, OR 97202                        17509      9/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Tina Cunningham
7209 Ashview Drive                                             RS Legacy Corporation fka RadioShack
Springfield, VA 22153                     17510      9/20/2016 Corporation                                                     $13.29                                                                                           $13.29
Scaturro, Stephen
61 Topsail Road                                                RS Legacy Corporation fka RadioShack
Brick, NJ 08723                           17511      9/20/2016 Corporation                                                    $137.77                                                                                          $137.77
Love, Lotus
233 Anuhea Place                                               RS Legacy Corporation fka RadioShack
Makawao, HI 96768                         17512      9/20/2016 Corporation                                                     $22.90                                                                                           $22.90
Shadel, Deb
11253 Welty Lane                                               RS Legacy Corporation fka RadioShack
Auburn, CA 95603                          17513      9/20/2016 Corporation                                                     $50.00                                                                                           $50.00
Spear, Mary
222 Pine Tree Dr                                               RS Legacy Corporation fka RadioShack
Gule Breeze, FL 32561                     17514      9/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Angileri, Louis
175 Ward St. (Unit #65)                                        RS Legacy Corporation fka RadioShack
Revere, MA 02151                          17515      9/20/2016 Corporation                                                     $31.86                                                                                           $31.86
Alvis, Ryan
25776 SE 35th Pl                                               RS Legacy Corporation fka RadioShack
Issaquah, WA 98029                        17516      9/20/2016 Corporation                                                     $29.55                                                                                           $29.55
Jones, Dennis
4045 Venus Avenue                                              RS Legacy Corporation fka RadioShack
Jackson, MS 39212                         17517      9/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Massaroni, Ronald
4 Budd Lane                                                    RS Legacy Corporation fka RadioShack
East Greenbush, NY 12061                  17518      9/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Regina Williamson
1019 Pioneer Road                                              RS Legacy Corporation fka RadioShack
Lansdale, PA 19446                        17519      9/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Geyer III, Dale
508 Ingraham                                                   RS Legacy Corporation fka RadioShack
Bay City, MI 48708                        17520      9/20/2016 Corporation                                                     $25.00                                                                                           $25.00
Sheehan, Eileen
227 Stickney Rd                                                RS Legacy Corporation fka RadioShack
Fitchburg, MA 01420                       17521      9/20/2016 Corporation                                                     $61.98                                                                                           $61.98
Sheehan, Eileen
227 Stickney Rd                                                RS Legacy Corporation fka RadioShack
Fitchburg, MA 01420                       17522      9/20/2016 Corporation                                                     $61.68                                                                                           $61.68
Friedman, Bonnie
875 Comstock Ave #6B                                           RS Legacy Corporation fka RadioShack
Los Angeles, CA 90024                     17523      9/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Sapak, Jill
233 Haltertown Rd                                              RS Legacy Corporation fka RadioShack
Monroe, CT 06468                          17524      9/20/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                      Amount                                                     Amount
Simpkins, Crystal
4206 Centaur St                                                RS Legacy Corporation fka RadioShack
Lampoc, CA 93436                          17525      9/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Jay Goldstein
23 Regan Court                                                 RS Legacy Corporation fka RadioShack
The Woodlands, TX 77382                   17526      9/20/2016 Corporation                                                    $100.00                                                                                          $100.00
Skaggs, Maurice
18822 N Lyford                                                 RS Legacy Corporation fka RadioShack
Katy, TX 77449                            17527      9/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Reese, Darin
221 Front Ave                                                  RS Legacy Corporation fka RadioShack
Salamanca, NY 14779                       17528      9/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Diaz, Maday
30920 Eagle Street                                             RS Legacy Corporation fka RadioShack
Visalia, CT 93291                         17529      9/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Pikha, Bhuban
12030 Winding Creek Way                                        RS Legacy Corporation fka RadioShack
Germantown, MD 20874                      17530      9/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Lewis, Michael
1515 Castleview Dr                                             RS Legacy Corporation fka RadioShack
Visalia, CA 93292                         17531      9/20/2016 Corporation                                                     $22.13                                                                                           $22.13
Mitchell, Kathleen G.
501 N. 5th St                                                  RS Legacy Corporation fka RadioShack
Opelika, AL 36801                         17532      9/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Heath, Christopher
12 Cooling Ave                                                 RS Legacy Corporation fka RadioShack
Newburyport, MA 01950                     17533      9/20/2016 Corporation                                                     $16.99                                                                                           $16.99
Ye, Li
9 Fox Lane                                                     RS Legacy Corporation fka RadioShack
Broomall, PA 19008                        17534      9/20/2016 Corporation                                                    $135.00                                                                                          $135.00
Hammond, Matthew
1416 Kamehameiki Rd.                                           RS Legacy Corporation fka RadioShack
Kula, HI 96790                            17535      9/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Frank, Lisa
65 N. Camino Espanol                                           RS Legacy Corporation fka RadioShack
Tucson, AZ 85716                          17536      9/20/2016 Corporation                                                     $50.00                                                                                           $50.00
Frank, Lisa
65 N. Camino Espanol                                           RS Legacy Corporation fka RadioShack
Tucson, AZ 85716                          17537      9/20/2016 Corporation                                                     $24.92                                                                                           $24.92
Andrew. Smith
209 high rd unit c2                                            RS Legacy Corporation fka RadioShack
Bensalem, Pa 19020                        17538      9/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Brittaney Dupree
1113 Canal St Unit 306                                         RS Legacy Corporation fka RadioShack
New Orleans, LA 70112                     17539      9/20/2016 Corporation                                                     $23.14                                                                                           $23.14
MARIA BAEZ
2705 NW 22nd st                                                RS Legacy Corporation fka RadioShack
FORT WORTH, tx 76106                      17540      9/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Linnette Morales
805 East Lola Drive                                            RS Legacy Corporation fka RadioShack
Phoenix, Arizona 85022                    17541      9/20/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Jeannette Simonian
1819 n 40st
Unit f2                                                        RS Legacy Corporation fka RadioShack
Phoenix, Az 85008                         17542      9/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Charnell Scott
9055 Burnette St.                                              RS Legacy Corporation fka RadioShack
Detroit, Michigan 48204                   17543      9/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Erik Sklar
268 President Av                                               RS Legacy Corporation fka RadioShack
Providence, RI 02906                      17544      9/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Ellen Hendershott
5461 Elliott Street Road                                       RS Legacy Corporation fka RadioShack
East Bethany, NY 14054                    17545      9/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Carlos Arteaga
PO Box 2261                                                    RS Legacy Corporation fka RadioShack
Delano, CA 93216                          17546      9/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Marcy Palmeri
1175 Waterwood Circle                                          RS Legacy Corporation fka RadioShack
Rockwall, Texas 75087                     17547      9/21/2016 Corporation                                                     $14.06                                                                                           $14.06
Andres Guzman
224 E 21st street                                              RS Legacy Corporation fka RadioShack
Paterson, NJ 07513                        17548      9/21/2016 Corporation                                                     $16.04                                                                                           $16.04
Alexander Hogen
2788 SW Pickford St Apt 105                                    RS Legacy Corporation fka RadioShack
Corvallis, OR 97333                       17549      9/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Al Horvith
31 Rosetto Drive                                               RS Legacy Corporation fka RadioShack
Manchester, CT 06042                      17550      9/22/2016 Corporation                                                    $100.00                                                                                          $100.00
Pamela Luddy
90 Grassy Plain Street, Rear Apartment                         RS Legacy Corporation fka RadioShack
Bethel, CT 06801‐2802                     17551      9/22/2016 Corporation                                                     $37.21                                                                                           $37.21
Ingrid Schultz
3627 Red Oak Branch Lane                                       RS Legacy Corporation fka RadioShack
Kingwood, TX 77345                        17552      9/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Barry Hough
1015 Darling St                                                RS Legacy Corporation fka RadioShack
flint, mi 48532                           17553      9/22/2016 Corporation                                                     $50.00                                                                                           $50.00
PAUL S JUBB
1340 Florin Road Suite 200                                     RS Legacy Corporation fka RadioShack
sacramento, ca 95831                      17554      9/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Alexis Sohrakoff
300 3rd St., Apt. 624                                          RS Legacy Corporation fka RadioShack
San Francisco, CA 94107                   17555      9/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Sharon Carroll
117 Zamora St                                                  RS Legacy Corporation fka RadioShack
St Augustine, FL 32084                    17556      9/22/2016 Corporation                                                     $53.01                                                                                           $53.01
Sharon Carroll
117 Zamora St                                                  RS Legacy Corporation fka RadioShack
St. Augustine, FL 32084                   17557      9/22/2016 Corporation                                                     $21.38                                                                                           $21.38
Sharon Carroll
117 Zamora St                                                  RS Legacy Corporation fka RadioShack
St. Augustine, FL 32084                   17558      9/22/2016 Corporation                                                     $16.03                                                                                           $16.03



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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
randy e. pike
14218 oak shadows dr                                           RS Legacy Corporation fka RadioShack
san antonio, texas 78232                  17559      9/22/2016 Corporation                                                     $23.08                                                                                           $23.08
Kjandra Ibia
2090 Hanalima St. #Y‐201                                       RS Legacy Corporation fka RadioShack
Lihue, HI 96766                           17560      9/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Wade Hall
215 W Twohig                                                   RS Legacy Corporation fka RadioShack
San Angelo, TX 76903                      17561      9/23/2016 Corporation                                                      $0.00                                                                                            $0.00
jaime alba
221 perrywinkle ln                                             RS Legacy Corporation fka RadioShack
Gaithersburg, Md 20878                    17562      9/23/2016 Corporation                                                    $109.24                                                                                          $109.24
Mastin, Patricia D.
2907 Seneca Park Road                                          RS Legacy Corporation fka RadioShack
Louisville, KY 40205                      17563      8/16/2016 Corporation                                                                                                                                 $0.00                 $0.00
Jordan, Linda
2401 Charles Page Blvd                                         RS Legacy Corporation fka RadioShack
Tulsa, OK 74127                           17564      8/31/2016 Corporation                                                                                                                                                       $0.00
Takamatsu, James
1848 Palolo Av Apt 7F                                          RS Legacy Corporation fka RadioShack
Honolulu, HI 96816                        17565      8/31/2016 Corporation                                                                                                                                                       $0.00
Pounds, Tammy
126 South Highland Dr.                                        RS Legacy Corporation fka RadioShack
Sparta, TN 38583                          17566      9/7/2016 Corporation                                                      $87.79                                                                                           $87.79
Warner, Adam
111 Lawrence St., Apt. 8E                                     RS Legacy Corporation fka RadioShack
Brooklyn, NY 11201                        17567      9/7/2016 Corporation                                                                                                                                                        $0.00
Young, Timothy
18 Thestland Dr                                                RS Legacy Corporation fka RadioShack
Shrewsbury, MA 01545                      17568      9/13/2016 Corporation                                                     $26.55                                                                                           $26.55
Lankford, Kristina
215 Anderton Rd                                                RS Legacy Corporation fka RadioShack
Bell Buckle, TN 37020                     17569      9/13/2016 Corporation                                                     $21.94                                                                                           $21.94
Zhang, Mingen
2956 Kensington Ave                                            RS Legacy Corporation fka RadioShack
Philadelphia, PA 19134                    17570      9/13/2016 Corporation                                                     $12.95                                                                                           $12.95
Nhi Pham
3100 Birchwood Triangle                                        RS Legacy Corporation fka RadioShack
Port Arthur, tx 77642                     17571      9/23/2016 Corporation                                                     $93.00                                                                                           $93.00
Elda Hoffner
26 Dillon Drive                                                RS Legacy Corporation fka RadioShack
Lawrence, NY 11559                        17572      9/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Rex Reed
83 ODonnell Ave.                                               RS Legacy Corporation fka RadioShack
East Falmouth, MA 02536                   17573      9/24/2016 Corporation                                                      $6.58                                                                                            $6.58
Kirra Berton
69 west pond rd                                                RS Legacy Corporation fka RadioShack
North branford, Ct 06471                  17574      9/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Dom Oshman
1743 Shore Road                                                RS Legacy Corporation fka RadioShack
Linwood, NJ 08221                         17575      9/25/2016 Corporation                                                     $38.50                                                                                           $38.50




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Elijah Armstrong
1802 Kiowa ln                                                  RS Legacy Corporation fka RadioShack
Cozad, Ne 69130                           17576      9/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Jeffrey A Simpson
22258 North Tretheway Road                                     RS Legacy Corporation fka RadioShack
Acampo, CA 95220                          17577      9/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Eric Chen
43 Royal Way                                                   RS Legacy Corporation fka RadioShack
New Hyde Park, NY 11040                   17578      9/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Natalie Reichel
3095 W Canyon ave                                              RS Legacy Corporation fka RadioShack
San Diego, Ca 92123                       17579      9/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Natalie Reichel
3095 W Canyon ave                                              RS Legacy Corporation fka RadioShack
San Diego, Ca 92123                       17580      9/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Emilio Chaviano
1029 NW 135th Court                                            RS Legacy Corporation fka RadioShack
Miami,, FL 33182 1029 NW 13               17581      9/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Julie Lee
235 23rd Ave                                                   RS Legacy Corporation fka RadioShack
San Francisco, CA 94121                   17582      9/26/2016 Corporation                                                    $100.00                                                                                          $100.00
Amanda Hearn
90 Owl City Road                                               RS Legacy Corporation fka RadioShack
Tiptonville, TN 38079                     17583      9/26/2016 Corporation                                                     $43.89                                                                                           $43.89
Krzysztof Kasperkiewicz
33 howland ter                                                 RS Legacy Corporation fka RadioShack
Stoughton, Ma 02072                       17584      9/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Colette Shimabuku
2521 DeKoven Ave.                                              RS Legacy Corporation fka RadioShack
Belmont, CA 94002                         17585      9/26/2016 Corporation                                                     $25.00                                                                                           $25.00
Jordan Burns
497 E 400 N Apartment 4                                        RS Legacy Corporation fka RadioShack
Logan, Utah 84321                         17586      9/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Reginald Reaves
6638 Quantico Rd                                               RS Legacy Corporation fka RadioShack
Quantico, MD 21856                        17587      9/27/2016 Corporation                                                     $20.00                                                                                           $20.00
Meaghan Goodwin
4807 N Glenbrook Road                                          RS Legacy Corporation fka RadioShack
Otis Orchards, WA 99027                   17588      9/27/2016 Corporation                                                      $0.00                                                                                            $0.00
elizabeth castro
50 walnut st                                                   RS Legacy Corporation fka RadioShack
Rochester, ny 14611                       17589      9/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Hanna ryan
3980 w Linda Vista Blvd apt 5205                               RS Legacy Corporation fka RadioShack
Tucson, AZ 85742                          17590      9/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Jack T. Winters
20 Saddle Lane                                                 RS Legacy Corporation fka RadioShack
Palmer, PA 18045                          17591      9/28/2016 Corporation                                                      $9.53                                                                                            $9.53
Krzysztof Kasperkiewicz
33 howland ter                                                 RS Legacy Corporation fka RadioShack
Stoughton, MA 02072                       17592      9/28/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Patricia Goodrich
1036 Dutchtown rd. Apt d‐2                                     RS Legacy Corporation fka RadioShack
Savannah, GA 31419                        17593      9/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Joshua miller
62 wanshop rd                                                  RS Legacy Corporation fka RadioShack
Reading, Pa 19606                         17594      9/29/2016 Corporation                                                     $25.00                                                                                           $25.00
Laurie Duff
7894 E Ridge Pointe Drive                                      RS Legacy Corporation fka RadioShack
Fayetteville, NY 13066                    17595      9/29/2016 Corporation                                                     $19.43                                                                                           $19.43
Lula Howie
712 Lexington Avenue                                           RS Legacy Corporation fka RadioShack
Charlotte, NC 28203                       17596      9/29/2016 Corporation                                                      $0.00                                                                                            $0.00
edvin malagic
255 evernia st apt 801                                         RS Legacy Corporation fka RadioShack
west palm beach, fl 33401                 17597      9/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Koroso, Paula
14242 S 4th St                                                 RS Legacy Corporation fka RadioShack
Phoenix, AZ 85048                         17598      9/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Younes, Rosanne
2625 W. Farwell Ave.                                           RS Legacy Corporation fka RadioShack
Chicago, IL 60645                         17599      9/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Bourland, Johnny A
3040 Carriage Dr                                               RS Legacy Corporation fka RadioShack
Estes Park, CO 80517‐7062                 17600      9/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Portillo, Alberto
111 N. Piedras                                                 RS Legacy Corporation fka RadioShack
El Paso, TX 79905                         17601      9/23/2016 Corporation                                                                                                                                                       $0.00
Edwards, Tyrone
6530 Carrington Sky Drive                                      RS Legacy Corporation fka RadioShack
Apollo Beach, FL 33572                    17602      9/20/2016 Corporation                                                     $50.00                                                                                           $50.00
Bragg, Michael
15 Rivergate Drive                                             RS Legacy Corporation fka RadioShack
Wilton, CT 06897                          17603      9/30/2016 Corporation                                                    $321.47                                                                                          $321.47
McMillan, Denise L.
1107B Village Drive                                            RS Legacy Corporation fka RadioShack
Ridge, NY 11961                           17604      9/30/2016 Corporation                                                      $7.60                                                                                            $7.60
Roberts, Judy
1209 County Heights                                            RS Legacy Corporation fka RadioShack
Mt. Sterling, KY 40353                    17605      9/30/2016 Corporation                                                     $50.00                                                                                           $50.00
Carpenter, Jonathan W.
1391 Union Street                                              RS Legacy Corporation fka RadioShack
Manchester, NH 03104                      17606      9/30/2016 Corporation                                                     $23.96                                                                                           $23.96
Karcher, Timothy
659 Jersey Ave                                                 RS Legacy Corporation fka RadioShack
Jersey City, NJ 07302                     17607      9/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Shields, Gregory Vincent
9902 ‐ Bass Fin Court                                          RS Legacy Corporation fka RadioShack
Clinton, MD 20735                         17608      9/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Clancy, Joy S.
1120 Butter Road                                               RS Legacy Corporation fka RadioShack
Dover, PA 17315                           17609      9/30/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Bourland, Johnny A
3040 Carriage Dr                                               RS Legacy Corporation fka RadioShack
Estes Park, CO 80517‐7062                 17610      9/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Guthrie, Anne
791 Rimview Lane West                                          RS Legacy Corporation fka RadioShack
Twin Falls, ID 83301                      17611      9/30/2016 Corporation                                                     $69.41                                                                                           $69.41
Lawless, Stephen
3850 Woodhaven RD APT 405                                      RS Legacy Corporation fka RadioShack
Philadelphia, PA 19154                    17612      9/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Carol Amirian
44 N. Browning Ave                                             RS Legacy Corporation fka RadioShack
Tenafly, nj 07670                         17613      9/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Stewart, Melody
3051 Highway Y                                                 RS Legacy Corporation fka RadioShack
Ellington, MO 63638                       17614      9/30/2016 Corporation                                                     $36.56                                                                                           $36.56
John Monroe
P.O. Box 6508                                                  RS Legacy Corporation fka RadioShack
Charlottesville, VA 22906                 17615      9/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Brandon Onishi
45‐020 Oopuhue Pl                                              RS Legacy Corporation fka RadioShack
Kaneohe, HI 96744                         17616      9/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Julie Spero
3204 Ettie Street                                              RS Legacy Corporation fka RadioShack
Oakland, CA 94608                         17617      9/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Billy J Ellington
2008 4th Street                                                RS Legacy Corporation fka RadioShack
Pawnee, OK 74058                          17618      9/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Monique King
6803 n 11th street                                             RS Legacy Corporation fka RadioShack
Phoenix, Az 85014                         17619      9/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Igor Gomes
23201 Boca Club Colony Cir                                     RS Legacy Corporation fka RadioShack
Boca Raton, FL 33433                      17620      10/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Mukul Joshi
3003 Van Ness St NW, Apt #W326,                                RS Legacy Corporation fka RadioShack
Washington, DC 20008                      17621      10/1/2016 Corporation                                                    $103.49                                                                                          $103.49
Jose espinosa
1761 neil armstrong st #101                                    RS Legacy Corporation fka RadioShack
90640, Montebello California              17622      10/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Ramesh Kumar
7378 Village Square Dr                                         RS Legacy Corporation fka RadioShack
West Bloomfield, MI 48322                 17623      10/1/2016 Corporation                                                    $100.00                                                                                          $100.00
Ben Harbaugh
4696 Silver Road                                               RS Legacy Corporation fka RadioShack
Wooster, OH 44691                         17624      10/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Nadene Silveroli
149 La Mirada Drive                                            RS Legacy Corporation fka RadioShack
Henderson, NV 89015                       17625      10/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Ty Dougherty
8774 124th way                                                 RS Legacy Corporation fka RadioShack
Seminole, FL 33772                        17626      10/1/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Heidi Firetag
1305 Coleridge st                                              RS Legacy Corporation fka RadioShack
Charleston, South Carolina 29407          17627      10/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Eric Johnson
2109 Elm St                                                    RS Legacy Corporation fka RadioShack
Albion, Ne 68620                          17628      10/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Ramon Maghsoudi
828 El Camino Real apt 10                                      RS Legacy Corporation fka RadioShack
Burlingame, CA 94010                      17629      10/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Claudia Lopez
808 Merriman Dr.                                               RS Legacy Corporation fka RadioShack
El Paso, TX 79912                         17630      10/2/2016 Corporation                                                     $58.00                                                                                           $58.00
Aksana Kavalionak
21 middletown lincroft road                                    RS Legacy Corporation fka RadioShack
lincroft, NJ 07738                        17631      10/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Audrey Shiozaki
1811 S. Doncrest St.                                           RS Legacy Corporation fka RadioShack
Monterey Park, ca 91754                   17632      10/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Evan rees
2350 shade tree ln                                             RS Legacy Corporation fka RadioShack
San jose, Ca 95131                        17633      10/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Jonathan Greenberg
207 West Vermont Ave.                                          RS Legacy Corporation fka RadioShack
Urbana, IL 61801                          17634      10/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Antony Brown
172 Melissas Drive                                             RS Legacy Corporation fka RadioShack
Jackson, mo 63755                         17635      10/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Eileen Lawyer
557 holmesville hill road                                      RS Legacy Corporation fka RadioShack
south new berlin, ny 13843                17636      10/3/2016 Corporation                                                     $16.19                                                                                           $16.19
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          17637      10/3/2016 Corporation                                                                                                                                                       $0.00
ahmed rahman
15426 Wilkshire Ct                                             RS Legacy Corporation fka RadioShack
Houston, Tx 77069                         17638      10/3/2016 Corporation                                                     $25.00                                                                                           $25.00
Ken Richter
322 Belmont Ave #101                                           RS Legacy Corporation fka RadioShack
Seattle, WA 98102                         17639      10/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Joseph Heins
4771 Mystic Drive                                              RS Legacy Corporation fka RadioShack
Atlanta, GA 30342                         17640      10/3/2016 Corporation                                                     $25.12                                                                                           $25.12
franco shahrdar
5729 south wilton place                                        RS Legacy Corporation fka RadioShack
90062, los angeles california             17641      10/3/2016 Corporation                                                     $29.00                                                                                           $29.00
Brittany Plovanic
1132 Well St                                                   RS Legacy Corporation fka RadioShack
60466, IL 60466                           17642      10/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Maggie mai
7756 Mitchell Ranch rd                                         RS Legacy Corporation fka RadioShack
New port richey, Fl 34655                 17643      10/3/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                 Amount                                                     Amount
Cheung, Jacky
3453 Pakui St.                                                            RS Legacy Corporation fka RadioShack
Honolulu, HI 96816                                   17644      10/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Friedman, David L.
P.O. B 712                                                                RS Legacy Corporation fka RadioShack
Harvard, MA 01451                                    17645      10/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Barron, Lisa
2315 NE 195 St.                                                           RS Legacy Corporation fka RadioShack
Miami, FL 33180                                      17646      10/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Washburn, Linda
35 Roosevelt Ridge                                                        RS Legacy Corporation fka RadioShack
Carver, MA 02330                                     17647      10/4/2016 Corporation                                                     $25.00                                                                                           $25.00
Chambers, Celeste
153‐32 73rd Ave Apt 3H                                                    RS Legacy Corporation fka RadioShack
Flushing, NY 11367                                   17648      10/4/2016 Corporation                                                    $150.00                                                                                          $150.00
Geffers, Kimberly
23 Chamberlain St.                                                        RS Legacy Corporation fka RadioShack
Wellsville, NY 14895                                 17649      10/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Kanji, Zahra
90 Fawcett Street                                                         RS Legacy Corporation fka RadioShack
Cambridge, MA 02138                                  17650      8/16/2016 Corporation                                                    $100.00                                                                                          $100.00
Glenn, Valencia Robertson
112 Covington Dr
Chapel Hill, NC 27514                                17651      8/17/2016 TE Electronics LP                                                $0.00                                $0.00               $0.00                                   $0.00
Roominate, LLC f/k/a Maykah Inc.
c/o Domenic Grisanzio
PlayMonster LLC
1400 E Inman Pkwy                                                         RS Legacy Corporation fka RadioShack
Beloit , WI 53511                                    17652      8/18/2016 Corporation                                                $49,000.00                                                                                        $49,000.00

tronc, Inc. f/k/a Tribune Publishing Company, LLC
Helen S. Ward, Esq., Cohen & Grisby, P.C.
625 Liberty Avenue                                                        RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15222‐3152                            17653      8/25/2016 Corporation                                               $135,000.00                                                                                       $135,000.00
Mile, Swana
10 Crest Dr apt 609
Decatur, GA 30035                                    17654      8/30/2016 TE Electronics LP                                                $0.00              $0.00                                 $0.00                                   $0.00
Villanueva, Heidi Ramos
Valle Hermoso Arriba
Employee of Radioshack in Puerto Rico
Calle Tilo N 12                                                           RS Legacy Corporation fka RadioShack
Hormigueros, PR 00660                                17655      8/30/2016 Corporation                                                                         $0.00                                 $0.00                                   $0.00
Jackman, Bobby L.
550 Forrest Ln.                                                          RS Legacy Corporation fka RadioShack
Joshua, TX 76058                                     17656      9/1/2016 Corporation                                                       $0.00                                                                                            $0.00
El Dorado Water Utilities C/O Mid‐South
Adjustment
316 W. 6th Street Suite A                                                RS Legacy Corporation fka RadioShack
Pine Bluff, AR 71601                                 17657      9/7/2016 Corporation                                                       $0.00                                                                                            $0.00




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Centro Independence LLC
Shumaker, Loop & Kendrick, LLP
Attn: David M. Grogan
101 S Tryon St Ste 2200                                        RS Legacy Corporation fka RadioShack
Charlotte, NC 28280‐0027                   17658      9/7/2016 Corporation                                                       $0.00                                                                                            $0.00
Young, Timothy
18 Thestland Dr.                                                RS Legacy Corporation fka RadioShack
Shrewsbury, MA 01545                       17659      9/13/2016 Corporation                                                     $21.24                                                                                           $21.24
Rijal, Yadu
1780 W. Missouri Ave Apt #C18                                   RS Legacy Corporation fka RadioShack
Phoenix, AZ 85015                          17660      9/13/2016 Corporation                                                     $32.48                                                                                           $32.48
Chapman, Debbie
P.O. Box 78541                                                  RS Legacy Corporation fka RadioShack
Charlotte, NC 28271                        17661      9/20/2016 Corporation                                                                                                                                                       $0.00
Garner, Mary
42700 Colchester Apt # 413                                      RS Legacy Corporation fka RadioShack
ClintonTwp., MI 48035                      17662      9/20/2016 Corporation                                                                                                                                                       $0.00
JODY S GROSSMAN
6472 NW 55 MANOR                                                RS Legacy Corporation fka RadioShack
CORAL SPRINGS, FLORIDA 33067               17663      10/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Imperial County Treasurer‐Tax Collector
940 W. Main Street, Suite 106                                   RS Legacy Corporation fka RadioShack
El Centro, CA 92243                        17664      9/20/2016 Corporation                                                                                                                                 $0.00                 $0.00
Belfor USA Group, Inc.
c/o Amy E. Vulpio, Esq.
White and Williams LLP
1650 Market Street, 18th Floor                                  RS Legacy Corporation fka RadioShack
Philadelphia, PA 19103                     17665      9/26/2016 Corporation                                                $21,949.32                                                                                        $21,949.32
Bruno, Albert
1802 Canova Ave.                                                RS Legacy Corporation fka RadioShack
Cleveland, OH 44109                        17666      9/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Orsino, Anita
4396 State Route 81                                             RS Legacy Corporation fka RadioShack
Greenville, NY 12083                       17667      10/1/2016 Corporation                                                                                                                                                       $0.00
Maggie Grace
7554 Berwick St                                                 RS Legacy Corporation fka RadioShack
North Port, FL 34287                       17668      10/4/2016 Corporation                                                      $0.00                                                                                            $0.00
George Whitehead
85 Fourth St                                                    RS Legacy Corporation fka RadioShack
Dover, nh 03820                            17669      10/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Richard Hellyer
3675 Cody Court                                                 RS Legacy Corporation fka RadioShack
Santa Clara, CA 95051                      17670      10/4/2016 Corporation                                                     $17.51                                                                                           $17.51
Frank Marletto
1145 Hadley Dr.                                                 RS Legacy Corporation fka RadioShack
Sharon, Pa 16146                           17671      10/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Rayssa Joseph
PO BOX 5524                                                     RS Legacy Corporation fka RadioShack
Syracuse, NY 13220                         17672      10/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Rhaukeem Conner
242 Melbourne Ave                                               RS Legacy Corporation fka RadioShack
Syracuse, NY 13224                         17673      10/5/2016 Corporation                                                      $0.00                                                                                            $0.00



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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Rhaukeem Conner
242 Melbourne Ave                                              RS Legacy Corporation fka RadioShack
Syracuse, NY 13224                        17674      10/5/2016 Corporation                                                     $50.00                                                                                           $50.00
Chen, Peimei
5405 Lake Howell Rd                                            RS Legacy Corporation fka RadioShack
Winter Park, FL 32792                     17675      10/5/2016 Corporation                                                     $21.24                                                                                           $21.24
Ekblad, Amy
2371 NW 2nd St                                                 RS Legacy Corporation fka RadioShack
Bend, OR 97703                            17676      10/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Tobin Belzer
1114 South Ogden Drive                                         RS Legacy Corporation fka RadioShack
Los Angeles, CA 90019                     17677      10/5/2016 Corporation                                                     $15.23                                                                                           $15.23
Courtney Plush
1800 N. 24th St.                                               RS Legacy Corporation fka RadioShack
Richmond, VA 23223                        17678      10/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Kristopher L Shepherd
606 Arrowhead Trail                                            RS Legacy Corporation fka RadioShack
Warner Robins, GA 31088                   17679      10/5/2016 Corporation                                                     $45.00                                                                                           $45.00
D'MARIO ELAM
P.O. Box 294                                                   RS Legacy Corporation fka RadioShack
REX, GA 30273                             17680      10/6/2016 Corporation                                                    $500.00                                                                                          $500.00
Rodriguez, Xochitl A
961 N Spruce Ave                                               RS Legacy Corporation fka RadioShack
Lindsay, CA 93247                         17681      10/6/2016 Corporation                                                    $100.00                                                                                          $100.00
Peter Meier
16575 Bramblewood Lane                                         RS Legacy Corporation fka RadioShack
Woodbridge, VA 22191                      17682      10/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Coleman‐Wright, LeShawn
843 Jamestown # 302                                            RS Legacy Corporation fka RadioShack
San Francisco, CA 94124                   17683      10/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Brackett, William
3883 Old Blacktop Rd                                           RS Legacy Corporation fka RadioShack
McEwen, TN 37101                          17684      10/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Shea, Paula
13 Euclid Avenue                                               RS Legacy Corporation fka RadioShack
Mattapoisett, MA 02739                    17685      10/7/2016 Corporation                                                     $13.80                                                                                           $13.80
Haag, Tawnya
11 High Street                                                 RS Legacy Corporation fka RadioShack
Christiana, PA 17509                      17686      10/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Nora Butts
50 Hillairy Ave                                                RS Legacy Corporation fka RadioShack
Morristown, NJ 07960                      17687      10/7/2016 Corporation                                                    $100.00                                                                                          $100.00
Andrew Walters
PO Box 34                                                      RS Legacy Corporation fka RadioShack
Fitzwilliam, nh 03447                     17688      10/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Andrew Walters
PO Box 34                                                      RS Legacy Corporation fka RadioShack
Fitzwilliam, NH 03447                     17689      10/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Debbie Naikelis
4457 Shady Lane Cir.                                           RS Legacy Corporation fka RadioShack
Omaha, NE 68105                           17690      10/7/2016 Corporation                                                     $39.60                                                                                           $39.60




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
ARIKA MILES
PO BOX 39411                                                   RS Legacy Corporation fka RadioShack
INDIANAPOLIS, IN 46239                    17691      10/8/2016 Corporation                                                       $0.00                                                                                            $0.00
matt lockhart
304 Nautica LN                                                 RS Legacy Corporation fka RadioShack
Lake St. Louis, MO 63367                  17692      10/8/2016 Corporation                                                       $0.00                                                                                            $0.00
mary fultz
967 serendipity dr                                             RS Legacy Corporation fka RadioShack
aurora, IL 60504                          17693      10/8/2016 Corporation                                                       $0.00                                                                                            $0.00
Manish Patel
153 48th Street                                                RS Legacy Corporation fka RadioShack
Union City, NJ 07087                      17694      10/8/2016 Corporation                                                      $50.00                                                                                           $50.00
Zeffer Merchant
2811 N 91st St                                                 RS Legacy Corporation fka RadioShack
Milwaukee, wi 53222                       17695      10/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Nathan Illsley
130 East street                                                RS Legacy Corporation fka RadioShack
East Bridgewater, MA 02333                17696      10/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Maria Kaiser
78 Clinton Avenue                                              RS Legacy Corporation fka RadioShack
Saint James, NY 11780                     17697      10/9/2016 Corporation                                                      $52.58                                                                                           $52.58
Grailen Archie
6262 Ducketts Lane                                              RS Legacy Corporation fka RadioShack
Elkridge, MD 21075                        17698      10/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Rajadurai Asirvatham
1559 Aberdeen Dr                                                RS Legacy Corporation fka RadioShack
Brentwood, TN 37027                       17699      10/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Stephen Gunther
40 Legend Circle                                                RS Legacy Corporation fka RadioShack
Dillon, CO 80435                          17700      10/10/2016 Corporation                                                     $12.00                                                                                           $12.00
Cynthia B Liu
301 Mission Street
29D                                                             RS Legacy Corporation fka RadioShack
San Francisco, CA 94105                   17701      10/10/2016 Corporation                                                     $59.62                                                                                           $59.62
David Hopper
333 E Main St                                                   RS Legacy Corporation fka RadioShack
Forsyth, GA 31029                         17702      10/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Eva Najjar
41 Faulkner Pl.                                                 RS Legacy Corporation fka RadioShack
Braintree, MA 02184                       17703      10/10/2016 Corporation                                                    $100.00                                                                                          $100.00
Johnson, Michael
125 Hoowaiwai LP Unit 1904                                      RS Legacy Corporation fka RadioShack
Wailuku, HI 96793                         17704      10/10/2016 Corporation                                                     $73.67                                                                                           $73.67
mustafa sheikhani
4148 saratoga ave #k215                                         RS Legacy Corporation fka RadioShack
Downers Grove, IL 60515                   17705      10/10/2016 Corporation                                                      $8.25                                                                                            $8.25
Maria Chirivella
6937 Estepa Drive                                               RS Legacy Corporation fka RadioShack
Tujunga, CA 91042                         17706      10/10/2016 Corporation                                                     $27.24                                                                                           $27.24
Sherrell, Jay
4601 S. Clyde Morris Blvd                                      RS Legacy Corporation fka RadioShack
Port Orange, FL 32129                     17707      10/4/2016 Corporation                                                      $50.52                                                                                           $50.52



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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
McCole, Riordan
UMass Dartmouth
285 Old Westport Road
Hickory 3211C
Mailbox 47‐4584                                                RS Legacy Corporation fka RadioShack
North Dartmouth, MA 02747                 17708      10/7/2016 Corporation                                                     $150.00                                                                                          $150.00
Schaeffer, Nancy
118 Wynooska Road                                              RS Legacy Corporation fka RadioShack
Greentown, PA 18426                       17709      10/7/2016 Corporation                                                       $0.00                                                                                            $0.00
Brittany scott
150 grace street                                                RS Legacy Corporation fka RadioShack
Houma, La 70360                           17710      10/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Baek Eom
4505 Ancilla Dr.                                                RS Legacy Corporation fka RadioShack
Garland, Texas 75042                      17711      10/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Stacey Davey
9210 Bruckhaus Street, Apt 213                                  RS Legacy Corporation fka RadioShack
Raleigh, NC 27617                         17712      10/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Susan Pontefract
38 Newfield Dr                                                  RS Legacy Corporation fka RadioShack
Stamford, CT 06905                        17713      10/11/2016 Corporation                                                     $11.23                                                                                           $11.23
Paul Hillier
112 Blossom St                                                  RS Legacy Corporation fka RadioShack
Lake Jackson, Tx 77566                    17714      10/11/2016 Corporation                                                    $108.24                                                                                          $108.24
Samuel Dahl
4771 57th St SE                                                 RS Legacy Corporation fka RadioShack
Streeter, ND 58483                        17715      10/11/2016 Corporation                                                     $25.00                                                                                           $25.00
Daniel Madden
243 Cherry Place                                                RS Legacy Corporation fka RadioShack
East Meadow, NY 11554                     17716      10/12/2016 Corporation                                                    $120.00                                                                                          $120.00
Jack Roberts
2877 Breakers Drive                                             RS Legacy Corporation fka RadioShack
Fernandina Beach, Florida 32034           17717      10/12/2016 Corporation                                                     $33.68                                                                                           $33.68
Thomas F. Campanile
901 Charlotte Place                                             RS Legacy Corporation fka RadioShack
Thornwood, NY 10594                       17718      10/12/2016 Corporation                                                     $50.00                                                                                           $50.00
santi khairassame
3926 47th St #2F                                                RS Legacy Corporation fka RadioShack
Sunnyside, NY 11104                       17719      10/12/2016 Corporation                                                     $33.00                                                                                           $33.00
Ryan Papariello
4348 Frank Street                                               RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15227                      17720      10/13/2016 Corporation                                                     $25.00                                                                                           $25.00
Joseph Striffler
1229 Fair Valley Lane                                           RS Legacy Corporation fka RadioShack
Sevierville, Tennessee 37876              17721      10/13/2016 Corporation                                                      $0.00                                                                                            $0.00
jacqueline nathan
191 andada drive                                                RS Legacy Corporation fka RadioShack
henderson, nv 89012                       17722      10/13/2016 Corporation                                                    $154.33                                                                                          $154.33
Carinsy minyety
1653 w linden st                                                RS Legacy Corporation fka RadioShack
Allentown, Pa 18102                       17723      10/13/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                          Current General                                            Current 503(b)(9)
                                                                                                                                                Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address           Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
SARAH GOODIE
910 PARK AVENUE                                                        RS Legacy Corporation fka RadioShack
BREAUX BRIDGE, LA 70517                          17724      10/13/2016 Corporation                                                    $161.99                                                                                          $161.99
SRIDHAR GORANTI
3016 WATERFORD FOREST CIRCLE                                           RS Legacy Corporation fka RadioShack
CARY, NC 27513                                   17725      10/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Janet Boyden
16 Willow Lane                                                         RS Legacy Corporation fka RadioShack
Jericho, VT 05465                                17726      10/14/2016 Corporation                                                      $0.00                                                                                            $0.00
testt
t                                                                      RS Legacy Corporation fka RadioShack
t, t t                                           17727      10/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Yvette Belgrave
179‐ 11A 146 Dr                                                        RS Legacy Corporation fka RadioShack
Jamaica, NY 11434                                17728      10/14/2016 Corporation                                                     $43.44                                                                                           $43.44
Barbara Wright
1047 Hopewell Road
Blacksburg, SC 29702, 1047 Hopewell Road 1047                          RS Legacy Corporation fka RadioShack
Hopew                                            17729      10/14/2016 Corporation                                                     $50.00                                                                                           $50.00
Rich Nalichowski
7 E West Dr                                                            RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15237                             17730      10/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Wantuck, Julia
879 Pacific Ave                                                        RS Legacy Corporation fka RadioShack
San Jose, CA 95126                               17731      10/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Rich Nalichowski
7 E West Dr                                                            RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15237                             17732      10/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Porter, Patricia
3160 Timmy Ave                                                         RS Legacy Corporation fka RadioShack
Clovis, CA 93612‐4850                            17733      10/11/2016 Corporation                                                     $14.06                                                                                           $14.06
Darago, Rachel
5105 Castle Stone Drive                                                RS Legacy Corporation fka RadioShack
Rosedale, MD 21237                               17734      10/11/2016 Corporation                                                     $10.00                                                                                           $10.00
Larry Brumett
108 WIthers St                                                         RS Legacy Corporation fka RadioShack
Glasgow, Ky, Ky 42141                            17735      10/14/2016 Corporation                                                      $0.00                                                                                            $0.00
LIN, LILY
13 BEVERLY ROAD                                                        RS Legacy Corporation fka RadioShack
BEDFORD, MA 01730                                17736      10/14/2016 Corporation                                                     $20.98                                                                                           $20.98
Curatolo, Shkelqime
216 Cortelyou Ave                                                      RS Legacy Corporation fka RadioShack
Staten Island, NY 10312                          17737      10/14/2016 Corporation                                                     $25.00                                                                                           $25.00
Smith, Melinda
6603 White Oak Rd                                                      RS Legacy Corporation fka RadioShack
Harrison, AR 72601                               17738      10/12/2016 Corporation                                                     $30.28                                                                                           $30.28
Stephens, Myron
10711 37th CT NE Apt 303                                               RS Legacy Corporation fka RadioShack
Kirkland, WA 98033                               17739      10/14/2016 Corporation                                                    $132.00                                                                                          $132.00
Riedemann, Stephen H
P.A. 200 Wilson Street, Suite 4E                                       RS Legacy Corporation fka RadioShack
Port Jefferson Station, NY 11776                 17740      10/14/2016 Corporation                                                     $20.00                                                                                           $20.00



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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Scarborough, Jasmine
90 east 38th street                                             RS Legacy Corporation fka RadioShack
Paterson, NJ 07514                        17741      10/14/2016 Corporation                                                     $14.99                                                                                           $14.99
Derrick Frye
108 Haldane Drive                                               RS Legacy Corporation fka RadioShack
La Plata, MD 20646                        17742      10/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Denise Fujii
91‐1117 Hanaloa Street                                          RS Legacy Corporation fka RadioShack
Ewa Beach, Hawaii 96706                   17743      10/14/2016 Corporation                                                    $850.00                                                                                          $850.00
Duane Fujii
91‐1117 Hanaloa Street                                          RS Legacy Corporation fka RadioShack
Ewa Beach, Hawaii 96706                   17744      10/15/2016 Corporation                                                    $850.00                                                                                          $850.00
Darrell Fujii
91‐1117 Hanaloa Street                                          RS Legacy Corporation fka RadioShack
Ewa Beach, Hawaii 96706                   17745      10/15/2016 Corporation                                                    $850.00                                                                                          $850.00
Helen Fujii
91‐1117 hanaloa Street                                          RS Legacy Corporation fka RadioShack
Ewa Beach, Hawaii 96706                   17746      10/15/2016 Corporation                                                    $850.00                                                                                          $850.00
jeff burgman
3263 e broadway blvd.                                           RS Legacy Corporation fka RadioShack
tucson, AZ 85716                          17747      10/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Stephen Letcher
1307 Grand Canopy Drive                                         RS Legacy Corporation fka RadioShack
Severn, MD 21144                          17748      10/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Christene Avalos
278 w pl cl                                                     RS Legacy Corporation fka RadioShack
Lafayette, Or 97127                       17749      10/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Karem Sandgarten
7613 sw 105 ave                                                 RS Legacy Corporation fka RadioShack
Miami, Fl 33173                           17750      10/15/2016 Corporation                                                     $32.09                                                                                           $32.09
Robin Wright
3043 Ellis Street                                               RS Legacy Corporation fka RadioShack
Bekeley, CA 94703                         17751      10/15/2016 Corporation                                                     $75.00                                                                                           $75.00
Jeffrey hill
120 Wiley rd Apt 304                                            RS Legacy Corporation fka RadioShack
Colchester, 5446 05446                    17752      10/15/2016 Corporation                                                     $88.00                                                                                           $88.00
SANJEEV JAISWAL
14450 CHAMBERS ROAD                                             RS Legacy Corporation fka RadioShack
TUSTIN, California 92780                  17753      10/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Tina Cleveland
1723 Blume St NE                                                RS Legacy Corporation fka RadioShack
Albuquerque, NM 87112                     17754      10/15/2016 Corporation                                                     $50.00                                                                                           $50.00
Denise Y Tujii
91‐2048 Laakona Place                                           RS Legacy Corporation fka RadioShack
Ewa Beach, Hawaii 96706                   17755      10/15/2016 Corporation                                                    $850.00                                                                                          $850.00
Duane K Tujii
91‐2048 Laakona Place                                           RS Legacy Corporation fka RadioShack
Ewa Beach, Hawaii 96706                   17756      10/15/2016 Corporation                                                    $850.00                                                                                          $850.00
Darrell T Tujii
91‐2048 Laakona Place                                           RS Legacy Corporation fka RadioShack
Ewa Beach, Hawaii 96706                   17757      10/15/2016 Corporation                                                    $850.00                                                                                          $850.00




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                                                                                                                   Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Helen H Tujii
91‐2048 Laakona Place                                           RS Legacy Corporation fka RadioShack
Ewa Beach, Hawaii 96706                   17758      10/15/2016 Corporation                                                    $850.00                                                                                          $850.00
Duane K Eujii
Pob 2705                                                        RS Legacy Corporation fka RadioShack
Ewa Beach, Hawaii 96706                   17759      10/15/2016 Corporation                                                    $850.00                                                                                          $850.00
Denise Y Eujii
Pob 2705                                                        RS Legacy Corporation fka RadioShack
Ewa Beach, Hawaii 96706                   17760      10/15/2016 Corporation                                                    $850.00                                                                                          $850.00
Darrell T Eujii
Pob 2705                                                        RS Legacy Corporation fka RadioShack
Ewa Beach, Hawaii 96706                   17761      10/15/2016 Corporation                                                    $850.00                                                                                          $850.00
Helen H Eujii
Pob 2705                                                        RS Legacy Corporation fka RadioShack
Ewa Beach, Hawaii 96706                   17762      10/15/2016 Corporation                                                    $850.00                                                                                          $850.00
Denise Velasco
Pob 2705                                                        RS Legacy Corporation fka RadioShack
Ewa Beach, Hawaii 96706                   17763      10/15/2016 Corporation                                                    $850.00                                                                                          $850.00
Helen H Eujii
Pob 2705                                                        RS Legacy Corporation fka RadioShack
Ewa Beach, Hawaii 96706                   17764      10/15/2016 Corporation                                                    $850.00                                                                                          $850.00
William M Kapua
94‐498 KUPUOHI STREET APT‐204                                   RS Legacy Corporation fka RadioShack
WAIPAHU, HAWAII 96797                     17765      10/16/2016 Corporation                                                     $30.00                                                                                           $30.00
deborah endicott
2891 n. Lk. Pleasant rd.                                        RS Legacy Corporation fka RadioShack
Attica, Mi 48412                          17766      10/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Chuck Pease
168 Purchase St                                                 RS Legacy Corporation fka RadioShack
Milford, Ma 01757                         17767      10/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Cristy Erickson
7000 Settlers Trail                                             RS Legacy Corporation fka RadioShack
Dripping Springs, Texas 78620             17768      10/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Sam Chapnick
300 West 55th ST #15A                                           RS Legacy Corporation fka RadioShack
New York, NY 10019                        17769      10/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Arthur Grillo
207 Georgetown road                                             RS Legacy Corporation fka RadioShack
Glassboro, NJ 08028                       17770      10/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Zachary Hill
408 Malory Street                                               RS Legacy Corporation fka RadioShack
Lancaster, Pa 17603                       17771      10/16/2016 Corporation                                                     $22.25                                                                                           $22.25
Deborah Arnone
3470 Surrey Rd                                                  RS Legacy Corporation fka RadioShack
Huntingdon Valley, PA 19006               17772      10/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Thomas Normand
702 Oleander St                                                 RS Legacy Corporation fka RadioShack
Lake Jackson, Texas 77566                 17773      10/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Wantuck, Julia
879 Pacific Ave                                                 RS Legacy Corporation fka RadioShack
San Jose, CA 95126                        17774      10/12/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                   Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Pradeep Agarwal
31 Rutgers Street                                               RS Legacy Corporation fka RadioShack
West Orange, NJ 07052                     17775      10/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Kelly Newton
622 Greenup Ave                                                 RS Legacy Corporation fka RadioShack
Frankfort, KY 40601                       17776      10/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Cristina Hernández
609 crestview Dr                                                RS Legacy Corporation fka RadioShack
Dalton, Georgia 30721                     17777      10/17/2016 Corporation                                                    $100.00                                                                                          $100.00
Victoria Gross
7104 County Road 675 E                                          RS Legacy Corporation fka RadioShack
Bradenton, Florida 34211                  17778      10/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael Russell
49 lebouef st                                                   RS Legacy Corporation fka RadioShack
Tupper lake, Ny 12986                     17779      10/17/2016 Corporation                                                    $400.00                                                                                          $400.00
Erica Gray
149 Coates Ave.                                                 RS Legacy Corporation fka RadioShack
Tuscola, TX 79562                         17780      10/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Banister, Marjorie
2417 Stuts Lane                                                 RS Legacy Corporation fka RadioShack
Richmond, VA 23236                        17781      10/17/2016 Corporation                                                     $63.17                                                                                           $63.17
Williams, Sara A.
4747 Medlar Rd                                                  RS Legacy Corporation fka RadioShack
Miamisburg, OH 45342                      17782      10/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Story, Judy
305 E. Ridgefield Drive                                         RS Legacy Corporation fka RadioShack
Boise, ID 83706                           17783      10/11/2016 Corporation                                                     $47.61                                                                                           $47.61
Chester Wong
23 Angelo Court                                                 RS Legacy Corporation fka RadioShack
Monroe, NJ 08831                          17784      10/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Joshua Youngen
61360 Oak Rd.                                                   RS Legacy Corporation fka RadioShack
South Bend, IN 46614                      17785      10/18/2016 Corporation                                                     $69.54                                                                                           $69.54
Joshua Youngen
61360 Oak Rd.                                                   RS Legacy Corporation fka RadioShack
South Bend, IN 46614                      17786      10/18/2016 Corporation                                                     $69.55                                                                                           $69.55
David Machson
P.O. Box #425                                                   RS Legacy Corporation fka RadioShack
Syosset, NY 11791                         17787      10/18/2016 Corporation                                                     $32.00                                                                                           $32.00
Gisela Johnson
12608 Dunkirk Drive                                             RS Legacy Corporation fka RadioShack
Upper Marlboro, MD 20772                  17788      10/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Margaret W Crockett
720 Wallston Road                                               RS Legacy Corporation fka RadioShack
ST GEORGE,, ME 04860                      17789      10/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Claudia Arceo
1434 Perry St. Apt.1                                            RS Legacy Corporation fka RadioShack
Des Plaines, Illinois 60016               17790      10/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Andjelina Belcastro
1944 N Spaulding Ave Unit 2A                                    RS Legacy Corporation fka RadioShack
Chicago, IL 60647                         17791      10/18/2016 Corporation                                                     $38.53                                                                                           $38.53




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                                                                                                                   Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Samantha Romatoski
1724 n. Whitney dr.                                             RS Legacy Corporation fka RadioShack
Appleton, wi 54914                        17792      10/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Arellanes, Teresa
7268 Bobcat Trail Drive                                         RS Legacy Corporation fka RadioShack
Indianapolis, IN 46237                    17793      10/10/2016 Corporation                                                                                                                                                       $0.00
Blakeman, Julie
N 3692 St Rd. 162                                              RS Legacy Corporation fka RadioShack
Bangor, WI 54614                          17794      8/22/2016 Corporation                                                                                                                                                        $0.00
Wolfgang, Dorothy C.
36360 Bi State Blvd.                                            RS Legacy Corporation fka RadioShack
Delmar, DE 19940                          17795      10/11/2016 Corporation                                                     $34.97                                                                                           $34.97
Dugan, Kathleen
10848 Tiberio Dr.                                               RS Legacy Corporation fka RadioShack
Ft Myers, FL 33913                        17796      10/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Sasada, Joann T.
16910 So. Hobart Blvd.                                          RS Legacy Corporation fka RadioShack
Gardena, CA 90247‐5339                    17797      10/12/2016 Corporation                                                    $100.00                                                                                          $100.00
Balow, Ann
26510 CTY 3 Blvd.                                               RS Legacy Corporation fka RadioShack
Goodhue, MN 55027                         17798      10/17/2016 Corporation                                                     $34.23                                                                                           $34.23
Nixon, Maria
53 Plum Island Tpk.                                             RS Legacy Corporation fka RadioShack
Newbury, MA 01951                         17799      10/17/2016 Corporation                                                     $49.98                                                                                           $49.98
Bonnett, Robert
672 Midship Circle                                              RS Legacy Corporation fka RadioShack
Webster, NY 14580                         17800      10/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Bowen, Pauline
70‐20 Parson Blvd.                                              RS Legacy Corporation fka RadioShack
Flushing, NY 11365                        17801      10/17/2016 Corporation                                                     $30.00                                                                                           $30.00
Porciello, Antonio
83 Mt. Pleasant Ave.                                            RS Legacy Corporation fka RadioShack
Whippany, NJ 07981                        17802      10/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Alin, Eray
218 Holly Ave.                                                  RS Legacy Corporation fka RadioShack
Darien, IL 60561                          17803      10/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Ashleigh Harris
425 Robin Road                                                  RS Legacy Corporation fka RadioShack
China Grove, NC 28023                     17804      10/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Wagers, Joan
31 Forest Edge Dr.                                              RS Legacy Corporation fka RadioShack
Saint Johns, FL 32259                     17805      10/17/2016 Corporation                                                      $8.53                                                                                            $8.53
Carr, Christine
50 Marcy Ave.                                                   RS Legacy Corporation fka RadioShack
East Orange, NJ 07017                     17806      10/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Gallagher, Sally
2 Pennycook Lane                                                RS Legacy Corporation fka RadioShack
Amesbury, MA 01913                        17807      10/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Olsen, Debbie
9787 So. Garden Glen Rd.                                        RS Legacy Corporation fka RadioShack
So. Jordan, UT 84095                      17808      10/18/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Birchmore, James
414 Graham Ave.                                                 RS Legacy Corporation fka RadioShack
West Lola, SC 29169                       17809      10/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Mouse Kash
17536 Daleview Dr.                                              RS Legacy Corporation fka RadioShack
Lakewood, Ohio 44107                      17810      10/19/2016 Corporation                                                     $50.00                                                                                           $50.00
Sandeep Ninjoor
23 Marina Lakes Dr                                              RS Legacy Corporation fka RadioShack
Richmond, CA 94804                        17811      10/19/2016 Corporation                                                      $0.00                                                                                            $0.00
McCraw, Maria
39 Lawrence Ave                                                 RS Legacy Corporation fka RadioShack
Fountain, IN 29644                        17812      10/17/2016 Corporation                                                     $25.00                                                                                           $25.00
Wong, Benjamin
519‐12th Ave.                                                   RS Legacy Corporation fka RadioShack
San Francisco, CA 94118                   17813      10/18/2016 Corporation                                                     $95.39                                                                                           $95.39
Heitkamp, Earl
PO Box 291                                                      RS Legacy Corporation fka RadioShack
Versailles, OH 45380                      17814      10/18/2016 Corporation                                                      $9.03                                                                                            $9.03
Gates, Jesse E.
P.O. Box 1543                                                   RS Legacy Corporation fka RadioShack
Carthage, TX 75633                        17815      10/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Nathan, Jacqueline
191 Andada Drive                                                RS Legacy Corporation fka RadioShack
Henderson, NV 89012                       17816      10/18/2016 Corporation                                                    $154.33                                                                                          $154.33
Gates, Jesse Earl
P.O. Box 1543
M.L. King Blvd                                                  RS Legacy Corporation fka RadioShack
Carthage, TX 75633                        17817      10/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Buenviate, Rodrigo C
1481 Edgehill Drive                                             RS Legacy Corporation fka RadioShack
Chula Vista, CA 91913                     17818      10/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                         RS Legacy Corporation fka RadioShack
                                          17819      10/21/2016 Corporation                                                                                                                                                       $0.00
Cameron T. Herman
2442 Fairmont Ave.                                              RS Legacy Corporation fka RadioShack
Clovis, CA 93611                          17820      10/20/2016 Corporation                                                     $25.00                                                                                           $25.00
Cameron T. Herman
2442 Fairmont Ave.                                              RS Legacy Corporation fka RadioShack
Clovis, CA 93611                          17821      10/20/2016 Corporation                                                     $25.00                                                                                           $25.00
Cameron Tyler Herman
2442 Fairmont Ave.                                              RS Legacy Corporation fka RadioShack
Clovis, CA 93611                          17822      10/20/2016 Corporation                                                     $25.00                                                                                           $25.00
Yako, Thair
668 W. Washington Ave #31                                       RS Legacy Corporation fka RadioShack
El Cajon, CA 92020                        17823      10/17/2016 Corporation                                                    $150.00                                                                                          $150.00
Barrett, Mark
2316 S Inge St                                                  RS Legacy Corporation fka RadioShack
Arlington, VA 22202                       17824      10/17/2016 Corporation                                                                                                                                                       $0.00
Exater, Delicieux
6360 Country Fair Circle                                        RS Legacy Corporation fka RadioShack
Boynton Beach, FL 33437                   17825      10/18/2016 Corporation                                                                                                                                                       $0.00




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                                                                                                                   Current General                                            Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Lisk, Chad
PO Box 2507565
172 11th Place NE                                               RS Legacy Corporation fka RadioShack
Sammamish, WA 98074                       17826      10/18/2016 Corporation                                                     $20.95                                                                                           $20.95
Vanni, Linda
141 Klamath Street                                              RS Legacy Corporation fka RadioShack
Redlands, CA 92374                        17827      10/18/2016 Corporation                                                     $37.19                                                                                           $37.19
Todd Phelps
1749 17th Street B                                              RS Legacy Corporation fka RadioShack
Santa Monica, CA 90404                    17828      10/20/2016 Corporation                                                    $142.00                                                                                          $142.00
Lorraine Leone
2 Grant Place                                                   RS Legacy Corporation fka RadioShack
Lindenhurst, New York 11757               17829      10/20/2016 Corporation                                                      $1.10                                                                                            $1.10
Samuel Song
8303 Periwinkle Place                                           RS Legacy Corporation fka RadioShack
Fairfax Station, va 22039                 17830      10/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Deneigh Candland
6489 E Kilkenny Pl                                              RS Legacy Corporation fka RadioShack
Prescott Valley, AZ 86314                 17831      10/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Mark John Fife
12013 S Coconino St                                             RS Legacy Corporation fka RadioShack
Phx, Az 85044                             17832      10/20/2016 Corporation                                                     $25.00                                                                                           $25.00
Sean OBrien
32 Alfred Street                                                RS Legacy Corporation fka RadioShack
New Haven, CT 06512                       17833      10/20/2016 Corporation                                                     $68.73                                                                                           $68.73
Gary Wallace
85 King Rd                                                      RS Legacy Corporation fka RadioShack
Bedford, NH 03110                         17834      10/21/2016 Corporation                                                     $50.00                                                                                           $50.00
Siroka, Andrew
910 Watertown St                                                RS Legacy Corporation fka RadioShack
Newton, MA 02465                          17835      10/21/2016 Corporation                                                     $76.00                                                                                           $76.00
Claim Docketed In Error                                         RS Legacy Corporation fka RadioShack
                                          17836      10/21/2016 Corporation                                                                                                                                                       $0.00
St Germain, S
PO Box 551                                                      RS Legacy Corporation fka RadioShack
Mims, FL 32754                            17837      10/21/2016 Corporation                                                     $42.39                                                                                           $42.39
Claim Docketed In Error                                         RS Legacy Corporation fka RadioShack
                                          17838      10/21/2016 Corporation                                                                                                                                                       $0.00
Prestino, F.
6365
Estrella Av.                                                    RS Legacy Corporation fka RadioShack
San Diego, CA 92120                       17839      10/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Jason M. Kayarian
83 Punchbowl Trail                                              RS Legacy Corporation fka RadioShack
Richmond, RI 02892                        17840      10/21/2016 Corporation                                                     $50.00                                                                                           $50.00
Jason M. Kayarian
83 Punchbowl Trail                                              RS Legacy Corporation fka RadioShack
Richmond, RI 02892                        17841      10/21/2016 Corporation                                                     $50.00                                                                                           $50.00
Wattenbarger, Larry F.
309 Arnold Street                                               RS Legacy Corporation fka RadioShack
Bourbon, IN 46504                         17842      10/21/2016 Corporation                                                     $50.00                                                                                           $50.00




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                                                                                                                   Current General                                            Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Dorsey, Andre
1007 Butterfield Circle West                                    RS Legacy Corporation fka RadioShack
Shorewood, IL 60404                       17843      10/21/2016 Corporation                                                    $210.00                                                                                          $210.00
Barthelemy, Loretta J.
309 Stratmore St                                                RS Legacy Corporation fka RadioShack
PITTSBURGH, PA 15205                      17844      10/21/2016 Corporation                                                     $98.00                                                                                           $98.00
Aaron Priest
9659 S Francisco Avenue                                         RS Legacy Corporation fka RadioShack
Evergreen Park, IL 60805                  17845      10/21/2016 Corporation                                                      $0.00                                                                                            $0.00
David Schleger
4350 Reynard Drive                                              RS Legacy Corporation fka RadioShack
Murrysville, PA 15668                     17846      10/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Kimberly Bale
5841 45 th ave s                                                RS Legacy Corporation fka RadioShack
Minneapolis, MN 55417                     17847      10/21/2016 Corporation                                                     $75.00                                                                                           $75.00
don mayou
42 Evers Street                                                 RS Legacy Corporation fka RadioShack
Worcester, MA 01603                       17848      10/22/2016 Corporation                                                     $53.11                                                                                           $53.11
Denise Delsing
5641 Harriet Avenue                                             RS Legacy Corporation fka RadioShack
Minneapolis, MN 55419                     17849      10/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Mark Braunstein
2705 Mabry RD NE                                                RS Legacy Corporation fka RadioShack
Atlanta, GA 30319                         17850      10/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Andrew E Kroeger
2505 Burl Oak Curve                                             RS Legacy Corporation fka RadioShack
Hudson, WI 54016                          17851      10/22/2016 Corporation                                                     $22.02                                                                                           $22.02
Matthew Wooster
8607 Olencrest Dr                                               RS Legacy Corporation fka RadioShack
Lewis Center, Oh 43035                    17852      10/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Brianna DaCunha
106 Brookhaven Dr                                               RS Legacy Corporation fka RadioShack
East Providence, Rhode Island 02914       17853      10/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Helen Solorzano
13 Bowdoin Street                                               RS Legacy Corporation fka RadioShack
Cambridge, MA 02138                       17854      10/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Dija smith
Po box 898                                                      RS Legacy Corporation fka RadioShack
San Bernardino, Ca 92402                  17855      10/23/2016 Corporation                                                    $300.00                                                                                          $300.00
GAURAV SETH
209 GLEN COVE ROAD SUITE 406                                    RS Legacy Corporation fka RadioShack
CARLE PLACE, NY 11514                     17856      10/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Klinton Breuker
1731 2nd ave                                                    RS Legacy Corporation fka RadioShack
walnut creek, ca 94597                    17857      10/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Klinton Breuker
1731 2nd ave                                                    RS Legacy Corporation fka RadioShack
walnut creek, ca 94597                    17858      10/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Neftalie Ramos
17 Hillside Terrace                                             RS Legacy Corporation fka RadioShack
Monroe, NY 10950                          17859      10/23/2016 Corporation                                                     $15.00                                                                                           $15.00




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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Lou Telesmanic
2351 W Thomason Place                                           RS Legacy Corporation fka RadioShack
Fresno, CA 93711                          17860      10/23/2016 Corporation                                                     $24.82                                                                                           $24.82
Frank salvador
2620 kanakanui rd.                                              RS Legacy Corporation fka RadioShack
Kihei, hi, 96753, Kihei Hawaii            17861      10/23/2016 Corporation                                                    $125.00                                                                                          $125.00
Lapt Chan
7281 113th Street                                               RS Legacy Corporation fka RadioShack
Forest Hills, NY 11375                    17862      10/24/2016 Corporation                                                    $100.00                                                                                          $100.00
Eric Zohn
1 Astor Place Apt. 6T                                           RS Legacy Corporation fka RadioShack
New York, NY 10003                        17863      10/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Aleksey Averin
49 Edgewood Avenue                                              RS Legacy Corporation fka RadioShack
Methuen, MA 01844                         17864      10/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Myles Thompson
928 north Monroe street                                         RS Legacy Corporation fka RadioShack
Tallahassee, Fl 32303                     17865      10/24/2016 Corporation                                                      $0.00                                                                                            $0.00
mark soares
1237 phyllis circle                                             RS Legacy Corporation fka RadioShack
santa rosa, ca 95401                      17866      10/24/2016 Corporation                                                     $50.00                                                                                           $50.00
Mary Fischbach
23207 Village 23                                                RS Legacy Corporation fka RadioShack
Camarillo, CA 93012                       17867      10/25/2016 Corporation                                                      $8.53                                                                                            $8.53
WILLIAM MASSENGALE
2405 NORTHWOOD DR                                               RS Legacy Corporation fka RadioShack
MILTON, GA 30004                          17868      10/25/2016 Corporation                                                      $6.34                                                                                            $6.34
Bob Mernar
98 west 14 street                                               RS Legacy Corporation fka RadioShack
bayonne, NJ 07002                         17869      10/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Littman, Jean
8 Lexington Rd.                                                 RS Legacy Corporation fka RadioShack
Shirley, NY 11967                         17870      10/25/2016 Corporation                                                     $25.00                                                                                           $25.00
Ehab Botros
2529 Northhill st                                               RS Legacy Corporation fka RadioShack
Selma, Ca 93662                           17871      10/25/2016 Corporation                                                     $15.05                                                                                           $15.05
Gary Wallace
85 King Rd                                                      RS Legacy Corporation fka RadioShack
Bedford, NH 03110                         17872      10/25/2016 Corporation                                                     $50.00                                                                                           $50.00
John B. Price
10 Cambria Pines Ct.                                            RS Legacy Corporation fka RadioShack
The Woodlands, TX 77382                   17873      10/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Wallace, Gary
85 King Rd                                                      RS Legacy Corporation fka RadioShack
Bedford, NH 03110                         17874      10/25/2016 Corporation                                                     $28.02                                                                                           $28.02
Lyons, Jelissa
1369 Route 208                                                  RS Legacy Corporation fka RadioShack
Wallkill, NY 12589                        17875      10/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Rosenfeld, Richard
94 Humiston Drive                                               RS Legacy Corporation fka RadioShack
Bethany, CT 06524                         17876      10/25/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                   Current General                                            Current 503(b)(9)
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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Pitre, Jerri
125 Guinevere St                                                RS Legacy Corporation fka RadioShack
Victoria, TX 77904                        17877      10/25/2016 Corporation                                                    $150.55                                                                                          $150.55
Zietlow, Nathaniel
2717 W. Huntington Dr.                                          RS Legacy Corporation fka RadioShack
Peoria, IL 61614                          17878      10/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Belanger, Alicia
47 Llewellyn Dr.                                                RS Legacy Corporation fka RadioShack
Westfield, MA 01085                       17879      10/25/2016 Corporation                                                      $5.32                                                                                            $5.32
Castle, Corrinne S.
86 El Camino Real                                               RS Legacy Corporation fka RadioShack
Port St. Lucie, FL 34952                  17880      10/25/2016 Corporation                                                     $47.33                                                                                           $47.33
Quivari Belton
3046 Spring Hill Pkwy SE Apt K                                  RS Legacy Corporation fka RadioShack
Smyrna, Ga 30080                          17881      10/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Zimmerly, Renee
303 S. Ashberry Ln                                              RS Legacy Corporation fka RadioShack
Ottawa, OH 45875                          17882      10/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Armstrong, Kieshana Blackwell
1780 W Missouri Ave Apt C26                                     RS Legacy Corporation fka RadioShack
Phoenix, AZ 85015                         17883      10/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Fuller, Maria
213 Widlife Trace                                               RS Legacy Corporation fka RadioShack
Chesapeake, VA 23320                      17884      10/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Zimmerly, Renee
303 S. Ashberry Ln                                              RS Legacy Corporation fka RadioShack
Ottawa, OH 45875                          17885      10/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Armstrong, Lynette
P.O. Box 490352                                                 RS Legacy Corporation fka RadioShack
Atlanta, GA 30349                         17886      10/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Zimmerly, Renee
303 S. Ashberry Ln                                              RS Legacy Corporation fka RadioShack
Ottawa, OH 45875                          17887      10/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Zimmerly, Renee
303 S. Ashberry Ln                                              RS Legacy Corporation fka RadioShack
Ottawa, OH 45875                          17888      10/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Zimmerly, Renee
303 S. Ashberry Ln                                              RS Legacy Corporation fka RadioShack
Ottawa, OH 45875                          17889      10/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Zimmerly, Renee
303 S. Ashberry Ln                                              RS Legacy Corporation fka RadioShack
Ottawa, OH 45875                          17890      10/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Tillman, Charnae
11 Upper Riverdale Rd Apt 12K                                   RS Legacy Corporation fka RadioShack
Jonesboro, GA 30236                       17891      10/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Armstrong, Lynette
130 Oak Park Terrace                                            RS Legacy Corporation fka RadioShack
Atlanta, GA 30349                         17892      10/25/2016 Corporation                                                      $0.00                                                                                            $0.00
John Sorrell
293 Stuyvesant Ave, Apt 3L                                      RS Legacy Corporation fka RadioShack
Brooklyn, New York 11233                  17893      10/25/2016 Corporation                                                     $20.00                                                                                           $20.00




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            Creditor Name and Address             Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
Amir Boghdady
27882 homestead rd                                                       RS Legacy Corporation fka RadioShack
laguna niguel, ca 92677                            17894      10/25/2016 Corporation                                                      $0.00                                                                                            $0.00
sandyfury
31505 Lindero Canyon Road, unit 11                                       RS Legacy Corporation fka RadioShack
Westlake Village, CA 91361                         17895      10/26/2016 Corporation                                                    $139.50                                                                                          $139.50
Claim Docketed In Error                                                  RS Legacy Corporation fka RadioShack
                                                   17896      10/21/2016 Corporation                                                                                                                                                       $0.00
Claim Docketed In Error                                                  RS Legacy Corporation fka RadioShack
                                                   17897      10/21/2016 Corporation                                                                                                                                                       $0.00
Zimmerly, Renee
303 S. Ashberry Ln                                                       RS Legacy Corporation fka RadioShack
Ottawa, OH 45875                                   17898      10/25/2016 Corporation                                                                                                                                                       $0.00
Roberto Tapia
9231 Nicollet Ave S Apt 102                                              RS Legacy Corporation fka RadioShack
Bloomington, MN 55420                              17899      10/26/2016 Corporation                                                     $50.00                                                                                           $50.00
Cover, Carmen
4116 Charley Forest St                                                   RS Legacy Corporation fka RadioShack
Olney, MD 20832                                    17900      10/25/2016 Corporation                                                     $25.00                                                                                           $25.00
USR‐Desco Zumbehl Commons, LLC as successor‐in‐
interest to SM Properties, L.P. II
Bonnie L. Clair
Summers Compton Wells LLC
8909 Ladue Road                                                          RS Legacy Corporation fka RadioShack
St. Louis, MO 63124                                17901      10/24/2016 Corporation                                                                                                                             $8,357.41             $8,357.41
Steele‐Bieda, Laura
91 Coaltown Rd                                                           RS Legacy Corporation fka RadioShack
Saltsburg, PA 15681                                17902      10/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Tiffany Ruble
600 Valley Dr                                                            RS Legacy Corporation fka RadioShack
Dalton, GA 30720                                   17903      10/26/2016 Corporation                                                    $100.00                                                                                          $100.00
Anglin, Kahla
PO Box 1632                                                              RS Legacy Corporation fka RadioShack
Oroville, CA 95965                                 17904      10/24/2016 Corporation                                                     $50.00                                                                                           $50.00

State Farm Mutual Automobile Insurance Company
Clerkin, Sinclair & Mahfouz, LLP
530 B Street, 8th Floor                                                  RS Legacy Corporation fka RadioShack
San Diego, CA 92101                                17905      10/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Leslie, Richard D.
9119 Prairie Ridge Place                                                 RS Legacy Corporation fka RadioShack
Indianapolis, IN 46256                             17906      10/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Zimmerly, Renee
303 S. Ashberry Ln                                                       RS Legacy Corporation fka RadioShack
Ottawa, OH 45875                                   17907      10/25/2016 Corporation                                                                                                                                                       $0.00
Holly Pekar
135 Moyallen St                                                          RS Legacy Corporation fka RadioShack
Wilkes Barre, PA 18702                             17908      10/26/2016 Corporation                                                     $42.39                                                                                           $42.39
SALISBURY, OSBURN
2087 OAKWOOD                                                             RS Legacy Corporation fka RadioShack
TWIN FALLS, ID 83301                               17909      10/26/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Russell, Dianne
1900 E. Tropicana Ave #109                                      RS Legacy Corporation fka RadioShack
Las Vegas, NV 89119                       17910      10/26/2016 Corporation                                                    $300.00                                                                                          $300.00
Robert Kelley
206 East 6th Street, Apartment 1RW                              RS Legacy Corporation fka RadioShack
New York, NY 10003                        17911      10/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Oliver Pausch
5227 SE Boise St.                                               RS Legacy Corporation fka RadioShack
Portland, Oregon 97206                    17912      10/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Nellie Mahabir
135‐46 122nd Place                                              RS Legacy Corporation fka RadioShack
South Ozone Park, NY 11420                17913      10/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Jordan Kurfess
1323 Sheffield Dr                                               RS Legacy Corporation fka RadioShack
Bowling Green, Ohio 43402                 17914      10/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Korn, Jeff
6147 Zachary Woods Lane                                         RS Legacy Corporation fka RadioShack
Columbus, OH 43232                        17915      10/27/2016 Corporation                                                    $325.00                                                                                          $325.00
Dharia, Paru
33 Sovereign Drive                                              RS Legacy Corporation fka RadioShack
Flanders, NJ 07836                        17916      10/27/2016 Corporation                                                     $74.89                                                                                           $74.89
Friedman, Michael
4631 Surfwood Court                                             RS Legacy Corporation fka RadioShack
Kitty Hawk, NC 27949                      17917      10/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Alpizar, José
5961 Hickory St Apt 1                                           RS Legacy Corporation fka RadioShack
Carpinteria, CA 93013                     17918      10/27/2016 Corporation                                                     $84.81                                                                                           $84.81
Stenka, Kimberly
124 Greene Street                                               RS Legacy Corporation fka RadioShack
Stuart, NE 68780                          17919      10/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Tyler Poland
2443 Osprey Ln                                                  RS Legacy Corporation fka RadioShack
Niagara Falls, NY 14304                   17920      10/27/2016 Corporation                                                     $32.39                                                                                           $32.39
Charles Kollmansperger
757 Belmont Ave.                                                RS Legacy Corporation fka RadioShack
Charlottesville, VA 22902                 17921      10/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Kash Kistler
4924 Canterwood Drive Nw                                        RS Legacy Corporation fka RadioShack
Gig Harbor, Washington 98332              17922      10/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael Bassett
712 E. 9th Street                                               RS Legacy Corporation fka RadioShack
Charlotte, NC 28202                       17923      10/28/2016 Corporation                                                      $0.00                                                                                            $0.00
phara souffrant
12 Crown Street #2D                                             RS Legacy Corporation fka RadioShack
Brooklyn, NY 11225                        17924      10/28/2016 Corporation                                                      $0.00                                                                                            $0.00
OE
2103 collingsfield dr                                           RS Legacy Corporation fka RadioShack
Sugar Land, TX 77478                      17925      10/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Nicholas Rodriguez
1808 s 5th st                                                   RS Legacy Corporation fka RadioShack
Rockford, Illinois 61108                  17926      10/28/2016 Corporation                                                     $16.23                                                                                           $16.23




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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Smart, Becky
15355 TC Norwood Rd                                             RS Legacy Corporation fka RadioShack
Prairieville, LA 70769                    17927      10/28/2016 Corporation                                                     $54.25                                                                                           $54.25
Donahoe, Jean
1743 Timothy Drive                                              RS Legacy Corporation fka RadioShack
West Mifflin, PA 15122                    17928      10/28/2016 Corporation                                                     $16.04                                                                                           $16.04
Culiento, Diana
12421 169th Ct. N                                               RS Legacy Corporation fka RadioShack
Jupiter, FL 33478                         17929      10/28/2016 Corporation                                                     $25.00                                                                                           $25.00
Bjork, Kevin
PO Box 992                                                      RS Legacy Corporation fka RadioShack
St. Cloud, MN 56302                       17930      10/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Karen Kresta‐Podraza
1206 Deerfield Road                                             RS Legacy Corporation fka RadioShack
Richmond, Texas 77406                     17931      10/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Heather Bartley
1032 Justin St                                                  RS Legacy Corporation fka RadioShack
Jasper, IN 47546                          17932      10/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Art Landerholm
1006 Lake Forest Dr                                             RS Legacy Corporation fka RadioShack
Claremont, CA 91711                       17933      10/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Tina Cleveland
Tina Cleveland                                                  RS Legacy Corporation fka RadioShack
Albuquerque, NM 87112                     17934      10/29/2016 Corporation                                                     $50.00                                                                                           $50.00
Johnathon Mills
24 1ST ST PO Box 26                                             RS Legacy Corporation fka RadioShack
smock, pennsylvania 15480                 17935      10/29/2016 Corporation                                                     $50.00                                                                                           $50.00
Rafael Cleveland
125 Rim Rock Rd                                                 RS Legacy Corporation fka RadioShack
Aledo, TX 76008                           17936      10/30/2016 Corporation                                                     $59.30                                                                                           $59.30
Yong Luo
2438 W 3rd street                                               RS Legacy Corporation fka RadioShack
Brooklyn, NY 11223                        17937      10/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Randy Tilley
10500 NE 19th Street                                            RS Legacy Corporation fka RadioShack
Vancouver, WA 98664                       17938      10/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Randy Tilley
10500 NE 19th Street                                            RS Legacy Corporation fka RadioShack
Vancouver, WA 98664                       17939      10/30/2016 Corporation                                                      $0.00                                                                                            $0.00
William Hetherington
1280 Senator Rd                                                 RS Legacy Corporation fka RadioShack
Crystal, MI 48818                         17940      10/30/2016 Corporation                                                     $50.00                                                                                           $50.00
Jacob chandler
5736 orval ct.                                                  RS Legacy Corporation fka RadioShack
Haltom city, Tx 76117                     17941      10/30/2016 Corporation                                                      $8.81                                                                                            $8.81
Thomas Huddleston
1785 46th Ave. #B                                               RS Legacy Corporation fka RadioShack
Capitola, CA 95010                        17942      10/30/2016 Corporation                                                     $27.05                                                                                           $27.05
Travis Smith
5620 E 120th pl                                                 RS Legacy Corporation fka RadioShack
Brighton, CO 80602                        17943      10/30/2016 Corporation                                                     $60.78                                                                                           $60.78




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                                                                                                                   Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Zachary Evans
10710 Monticello Rd.                                            RS Legacy Corporation fka RadioShack
Pinckney, MI 48169                        17944      10/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert Pirijanyan
1020 davis av #101                                              RS Legacy Corporation fka RadioShack
GLENDALE, CA 91201                        17945      10/31/2016 Corporation                                                     $21.94                                                                                           $21.94
Justin Gauthier
1686 NE Lotus Dr #1                                             RS Legacy Corporation fka RadioShack
Bend, OR 97701                            17946      10/31/2016 Corporation                                                      $0.00                                                                                            $0.00
rebecca Cavazuti
10 Arrowleaf Court                                              RS Legacy Corporation fka RadioShack
Cheshire, CT 06410                        17947      10/31/2016 Corporation                                                      $0.00                                                                                            $0.00
David Schoonover
709 Mt. Rock Road                                               RS Legacy Corporation fka RadioShack
Carlisle, pa 17015                        17948      10/31/2016 Corporation                                                     $74.18                                                                                           $74.18
Vito Oliveri
388 Millstone Road                                              RS Legacy Corporation fka RadioShack
Clarksburg, NJ 08510                      17949      10/31/2016 Corporation                                                     $27.68                                                                                           $27.68
dean r. peck
4569 indian ridge rd                                            RS Legacy Corporation fka RadioShack
sylvania, ohio 43560                      17950      10/31/2016 Corporation                                                    $106.74                                                                                          $106.74
Gawne, Garrett
4744 N Hermitage Unit 2                                         RS Legacy Corporation fka RadioShack
Chicago, IL 60035                         17951      10/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Tariq, Umair
250 Parkville Ave. Apt #2H                                      RS Legacy Corporation fka RadioShack
Brooklyn, NY 11230                        17952      10/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Fernandez, Ernesto
Jardines de Caparra HH‐11 45 St.                                RS Legacy Corporation fka RadioShack
Bayamon, PR 00959                         17953      10/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Logan Johnson
8568 West Gambit Trail                                          RS Legacy Corporation fka RadioShack
Peorai, AZ 85383                          17954      10/31/2016 Corporation                                                     $50.00                                                                                           $50.00
Cary Chiang
12304 Bedrock Trail                                             RS Legacy Corporation fka RadioShack
Austin, TX 78727                          17955      10/31/2016 Corporation                                                     $54.11                                                                                           $54.11
Rebecca Cavazuti
10 arrowleaf court                                             RS Legacy Corporation fka RadioShack
cheshire, ct 06410                        17956      11/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Dennis Lester
36328 148th Ave SE                                             RS Legacy Corporation fka RadioShack
Auburn, wa 98092                          17957      11/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Sharon Koehn
208 3rd. Ave.                                                  RS Legacy Corporation fka RadioShack
Haddon Heights, NJ 08035                  17958      11/1/2016 Corporation                                                      $25.00                                                                                           $25.00
John Bartynski
2706 Gibbons Ave                                               RS Legacy Corporation fka RadioShack
Baltimore, MD 21214                       17959      11/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Sid Stookey
58 Driftwood Blvd                                              RS Legacy Corporation fka RadioShack
Kenner, LA 70065                          17960      11/1/2016 Corporation                                                       $0.00                                                                                            $0.00




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                                                                                                                   Current General                                            Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Wijeratne, Dorothy
2801 #G South Fairview Street                                  RS Legacy Corporation fka RadioShack
Santa Ana, CA 92704                       17961      11/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Bae, Julia
15 Carlton Road                                                RS Legacy Corporation fka RadioShack
Wellesley, MA 02482                       17962      11/1/2016 Corporation                                                      $49.99                                                                                           $49.99
Friske, Eugene E
299 Main St                                                    RS Legacy Corporation fka RadioShack
Phoenix, NY 13135                         17963      11/1/2016 Corporation                                                     $377.99                                                                                          $377.99
Bae, Julia
15 Carlton Road                                                RS Legacy Corporation fka RadioShack
Wellesley, MA 02482                       17964      11/1/2016 Corporation                                                      $18.01                                                                                           $18.01
Washington, Fred
29 Barker Ave                                                  RS Legacy Corporation fka RadioShack
Richmond, VA 23223                        17965      11/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Kanteena, Rona
PO Box 854                                                     RS Legacy Corporation fka RadioShack
Luni, NM 87327                            17966      11/1/2016 Corporation                                                       $6.49                                                                                            $6.49
Forde Jr, Carlton A
98‐23 Horace Harding Expway Apt# 11M                           RS Legacy Corporation fka RadioShack
Corona, Queens, NY 11368                  17967      11/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Jeter, Rachel
189 Morning Sun Ave                                            RS Legacy Corporation fka RadioShack
Mill Valley, CA 94941                     17968      11/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Bae, Julia
15 Carlton Road                                                 RS Legacy Corporation fka RadioShack
Wellesley, MA 02482                       17969      10/31/2016 Corporation                                                     $18.01                                                                                           $18.01
Bae, Julia
15 Carlton Road                                                 RS Legacy Corporation fka RadioShack
Wellesley, MA 02482                       17970      10/31/2016 Corporation                                                                                                                                $49.99                $49.99
Nicholas Brown
1351 Country Estates Drive                                     RS Legacy Corporation fka RadioShack
Lowry, VA 24570                           17971      11/1/2016 Corporation                                                      $43.09                                                                                           $43.09
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          17972      1/26/2016 Corporation                                                                                                                                                        $0.00
Romain, Gail
4482 World Farm Rd                                             RS Legacy Corporation fka RadioShack
Oxford , MD 21654                         17973      11/1/2016 Corporation                                                      $31.80                                                                                           $31.80
Mary Cordova
9014 Reading Ave                                               RS Legacy Corporation fka RadioShack
Los Angeles, CA 90045                     17974      11/2/2016 Corporation                                                       $0.00                                                                                            $0.00
WILLIAM MILLER
9646 CORNELL ST                                                RS Legacy Corporation fka RadioShack
TAYLOR, MI 48180                          17975      11/2/2016 Corporation                                                      $63.59                                                                                           $63.59
Owens, Jackie J.
1035 Live Oak Ave.                                             RS Legacy Corporation fka RadioShack
Moncks Corner, SC 29461                   17976      11/2/2016 Corporation                                                      $21.59                                                                                           $21.59
Oates, Charles R.
3070 Housley Dr.                                               RS Legacy Corporation fka RadioShack
Dallas, TX 75228‐1710                     17977      11/2/2016 Corporation                                                       $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          17978      11/2/2016 Corporation                                                                                                                                                        $0.00



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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Jill Olson
15 Mackay Place #4H                                            RS Legacy Corporation fka RadioShack
Brooklyn, NY 11209                        17979      11/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Thomas, Jason
4950 Edgerton Ave                                              RS Legacy Corporation fka RadioShack
Encino, CA 91436‐1202                     17980      11/1/2016 Corporation                                                                                                                                                       $0.00
Sheila Lane
8717 Hallwood Drive                                            RS Legacy Corporation fka RadioShack
Montgomery, AL 36117                      17981      11/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Cerullo, Christina
115 Dotsie Drive                                               RS Legacy Customer Service LLC fka RadioShack
Fremont, NC 27830                         17982      11/1/2016 Customer Service LLC                                                             $204.74                                  $0.00                                 $204.74
LUONG, DUC
404 EMMETT AVE                                                 RS Legacy Corporation fka RadioShack
BOWLING GREEN, KY 42101                   17983      11/1/2016 Corporation                                                                                                                                                       $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          17984      11/1/2016 Corporation                                                                                                                                                       $0.00
Utz‐Meagher, Maureen
4 Bellaire Dr.                                                 RS Legacy Corporation fka RadioShack
Scotia, NY 12302                          17985      11/1/2016 Corporation                                                                                                                                                       $0.00
Harris, Chauncey
4773 Randi Ct.                                                 RS Legacy Corporation fka RadioShack
Union City, CA 94587                      17986      11/2/2016 Corporation                                                                                                                                                       $0.00
Marsha McCarthy
33 Canterbury Place                                            RS Legacy Corporation fka RadioShack
Cranford, NJ 07016                        17987      11/2/2016 Corporation                                                     $14.89                                                                                           $14.89
Daniel Buccola
105 Burguieres Lane                                            RS Legacy Corporation fka RadioShack
Destrehan, La 70047                       17988      11/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Ileana Torres
Santa Elena III Santa Fe 188                                   RS Legacy Corporation fka RadioShack
Guayanilla, PR 00656                      17989      11/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Frederick Pace
27819 E Mockingbird Dr                                         RS Legacy Corporation fka RadioShack
Flat Rock, MI 48134                       17990      11/3/2016 Corporation                                                     $12.26                                                                                           $12.26
Jonathan Wald
202 Whitefield Ct.                                             RS Legacy Corporation fka RadioShack
Churchville, MD 21028                     17991      11/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Jay Ludwig for City Hill Fellowship
12901 Roberts Drive                                            RS Legacy Corporation fka RadioShack
Eden Prairie, MN 55346                    17992      11/3/2016 Corporation                                                     $61.11                                                                                           $61.11
Cheng, Sophie
11547 Monument Lake Circle                                     RS Legacy Corporation fka RadioShack
Jacksonville, FL 32225                    17993      11/3/2016 Corporation                                                     $58.86                                                                                           $58.86
Hudson, Lisa A
1005 Hill Meadow Place                                         RS Legacy Corporation fka RadioShack
Danville, CA 94526                        17994      11/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Arnone, Joseph
PO Box 238                                                     RS Legacy Corporation fka RadioShack
East Wakefield, NH 03830                  17995      11/3/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
Sheryl Coryell
PO Box 468                                                            RS Legacy Corporation fka RadioShack
Castleton, VT 05735                              17996      11/3/2016 Corporation                                                     $55.00                                                                                           $55.00
Jeffrey Himelson
3 Merlin Place                                                        RS Legacy Corporation fka RadioShack
Pine brook, NJ 07058                             17997      11/3/2016 Corporation                                                    $125.00                                                                                          $125.00
Mohamed khamis
402 fieldwood dr                                                      RS Legacy Corporation fka RadioShack
Richardson, tx 75081                             17998      11/3/2016 Corporation                                                      $0.00                                                                                            $0.00
RAMIN kavian
609 N. Glenoaks blvd, apt 707                                         RS Legacy Corporation fka RadioShack
Burbank, CA 91502                                17999      11/4/2016 Corporation                                                     $21.59                                                                                           $21.59
Department of the Treasury ‐ Internal Revenue
Service
PO Box 7346                                                           RS Legacy Corporation fka RadioShack
Philadelphia, PA 19101‐7346                      18000      11/1/2016 Corporation                                                  $2,280.00 $100,952,147.56                                                                 $100,954,427.56
Jirali, Satish
2596 Sunshade Ct                                                      RS Legacy Corporation fka RadioShack
Pearland, TX 77584                               18001      11/3/2016 Corporation                                                     $25.00                                                                                           $25.00
Kelly Mumbower
14502 Panther Point                                                   RS Legacy Corporation fka RadioShack
Helotes, Texas 78023                             18002      11/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael Melendez
11875 W Little York Rd Suite 1101                                     RS Legacy Corporation fka RadioShack
Houston, TX 77041                                18003      11/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Andrew Joseph Wigle
3551 Woodstone Dr SW                                                  RS Legacy Corporation fka RadioShack
Rochester, MN 55902                              18004      11/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Robin Jewell
92 Elisabeth Way                                                      RS Legacy Corporation fka RadioShack
Fairview, Tx 75069                               18005      11/4/2016 Corporation                                                     $12.00                                                                                           $12.00
James Woods
14 Papermill Road                                                     RS Legacy Corporation fka RadioShack
Cherry Hill, NJ 08003                            18006      11/5/2016 Corporation                                                     $32.10                                                                                           $32.10
Dylan McCarthy
345 SW 11th St                                                        RS Legacy Corporation fka RadioShack
Newport, OR 97365                                18007      11/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Tabitha Borowsky
42 Lange Dr                                                           RS Legacy Corporation fka RadioShack
Elizaville, NY 12523                             18008      11/6/2016 Corporation                                                     $21.60                                                                                           $21.60
Shane Myers
857 Sage Crest Dr                                                     RS Legacy Corporation fka RadioShack
Wenatchee, WA 98801                              18009      11/6/2016 Corporation                                                     $64.91                                                                                           $64.91
Richard Kheir
19931 Choctaw Ct                                                      RS Legacy Corporation fka RadioShack
Germantown, MD 20876                             18010      11/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Arif Osmani
22 Henrys Lane                                                        RS Legacy Corporation fka RadioShack
Norwell, MA 00261                                18011      11/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Shate Lewis
545 E144th Street 7A                                                  RS Legacy Corporation fka RadioShack
BRONX, NY 10454                                  18012      11/6/2016 Corporation                                                     $62.61                                                                                           $62.61



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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Christine M Jimenez
143 Bell Top Drive                                             RS Legacy Corporation fka RadioShack
Kittanning, PA 16201                      18013      11/6/2016 Corporation                                                     $30.00                                                                                           $30.00
Lynn Lappert
7 Carolyn Ct                                                   RS Legacy Corporation fka RadioShack
Augusta, NJ 07822‐2109                    18014      11/6/2016 Corporation                                                      $0.00                                                                                            $0.00
susan Crews
142 College AVE                                                RS Legacy Corporation fka RadioShack
Danville, VA 24541                        18015      11/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Choi, Soomi
353 Wilford Springs St                                         RS Legacy Corporation fka RadioShack
Henderson, NV 89014                       18016      11/7/2016 Corporation                                                     $52.76                                                                                           $52.76
Anthony Capizzo
1020 Meridian Ave, Apt 916                                     RS Legacy Corporation fka RadioShack
Miami Beach, FL 33139                     18017      11/7/2016 Corporation                                                    $100.00                                                                                          $100.00
Melissa doty
Po box 6272                                                    RS Legacy Corporation fka RadioShack
Wheeling, Wv 26003                        18018      11/7/2016 Corporation                                                    $149.74                                                                                          $149.74
Melissa doty
Po box 6272                                                    RS Legacy Corporation fka RadioShack
Wheeling, Wv 26003                        18019      11/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Alfred Eisenberg
935 Russell Station Road                                       RS Legacy Corporation fka RadioShack
Francestown, NH 03043                     18020      11/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Steven Rodriguez
10125 26th Street                                              RS Legacy Corporation fka RadioShack
Rancho Cucamonga, CA 91730                18021      11/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert Odom
2111 pleasant valley rd                                        RS Legacy Corporation fka RadioShack
Newark, Delaware 19702                    18022      11/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert Odom
2111 pleasant valley rd                                        RS Legacy Corporation fka RadioShack
Newark, Delaware 19702                    18023      11/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Meredith More
122 Alter Street                                               RS Legacy Corporation fka RadioShack
Philadelphia, PA 19147                    18024      11/7/2016 Corporation                                                    $100.00                                                                                          $100.00
Daniel Castillo
801 E. Sycamore Ave                                            RS Legacy Corporation fka RadioShack
90631, CA 90631                           18025      11/7/2016 Corporation                                                    $100.00                                                                                          $100.00
Daniel Castillo
801 E. Sycamore Ave                                            RS Legacy Corporation fka RadioShack
La Habra, CA 90631                        18026      11/7/2016 Corporation                                                     $57.99                                                                                           $57.99
Heather Wiley
507 Minish Rd                                                  RS Legacy Corporation fka RadioShack
Commerce, Ga 30530                        18027      11/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Daniel Castillo
801 E. Sycamore Ave                                            RS Legacy Corporation fka RadioShack
La Habra, CA 90631                        18028      11/7/2016 Corporation                                                     $16.26                                                                                           $16.26
Daniel Castillo
801 E. Sycamore Ave                                            RS Legacy Corporation fka RadioShack
La Habra, CA 90631                        18029      11/7/2016 Corporation                                                    $100.00                                                                                          $100.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Tawni Long
1057 Big Pine Dr                                               RS Legacy Corporation fka RadioShack
Santa Maria, CA 93454                     18030      11/8/2016 Corporation                                                      $5.91                                                                                            $5.91
Androsky, Renee
8781 W. Northview Ave                                          RS Legacy Corporation fka RadioShack
Glendale, AZ 85305                        18031      11/8/2016 Corporation                                                     $43.72                                                                                           $43.72
Ali, Fadia
717 River Rd                                                   RS Legacy Corporation fka RadioShack
Agawam, MA 01001                          18032      11/8/2016 Corporation                                                     $28.46                                                                                           $28.46
Romero, Betsy
1735 McEvoy Ln                                                 RS Legacy Corporation fka RadioShack
Santa Ana, CA 92706                       18033      11/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          18034      1/26/2016 Corporation                                                                                                                                                       $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          18035      1/26/2016 Corporation                                                                                                                                                       $0.00
Mohammed Akbar
8101 Steinbeck Way                                             RS Legacy Corporation fka RadioShack
Sacramento, CA 95828                      18036      11/8/2016 Corporation                                                    $140.05                                                                                          $140.05
Darcel Thompkins
373 Auburn Street                                              RS Legacy Corporation fka RadioShack
Montgomery, AL 36104                      18037      11/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Torres, Ileana
Santa Elena III Santa Fe 188                                   RS Legacy Corporation fka RadioShack
Guayanilla, PR 00656                      18038      11/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Croce, Heidi
72 Toleman Rd.                                                 RS Legacy Corporation fka RadioShack
Washingtonville, NY 10992                 18039      11/7/2016 Corporation                                                     $13.95                                                                                           $13.95
Lorina Johnston
21551 S Eastern St                                             RS Legacy Corporation fka RadioShack
Canyon, Texas 79015                       18040      11/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Sylvia Trujillo
6819 SW 15 Street                                              RS Legacy Corporation fka RadioShack
Pembroke Pines, Fl 33023                  18041      11/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Edgar Torres
714 Osceola St.                                                RS Legacy Corporation fka RadioShack
Denver, CO 80204                          18042      11/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Edgar Torres
714 Osceola St.                                                RS Legacy Corporation fka RadioShack
Denver, CO 80204                          18043      11/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Iain Miller
PO BOX 671453                                                  RS Legacy Corporation fka RadioShack
Chugiak, AK 99567                         18044      11/9/2016 Corporation                                                     $21.19                                                                                           $21.19
Monique Slowe
83 Freedom Trail                                               RS Legacy Corporation fka RadioShack
New Castle, DE 19720                      18045      11/9/2016 Corporation                                                     $20.01                                                                                           $20.01
Howard Rodriguez
1930 summer club drive #212                                    RS Legacy Corporation fka RadioShack
Oviedo, fl 32765                          18046      11/9/2016 Corporation                                                     $10.00                                                                                           $10.00
Jackie Roosma
10 Grove Street                                                RS Legacy Corporation fka RadioShack
Lincoln Park, NJ 07035                    18047      11/9/2016 Corporation                                                     $31.79                                                                                           $31.79



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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Kaur, Ravinder
N. 1786 Hyacinth Ln                                            RS Legacy Corporation fka RadioShack
Greenville, WI 54942                      18048      11/9/2016 Corporation                                                      $50.00                                                                                           $50.00
Joyner, Darlene
4622 S Poplar St                                               RS Legacy Corporation fka RadioShack
Tempe, AZ 85282                           18049      11/8/2016 Corporation                                                      $16.18                                                                                           $16.18
Stratford, Kathy
6 Briarwood Ln                                                 RS Legacy Corporation fka RadioShack
Dedham, MA 02026                          18050      11/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Shah, Ankesh
158 Cheshire Crossing Dr                                       RS Legacy Corporation fka RadioShack
Delaware, OH 43015                        18051      11/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Carroll, Kathy
5383 Mount Olive Rd                                            RS Legacy Corporation fka RadioShack
Crestview, FL 32539                       18052      11/9/2016 Corporation                                                     $200.81                                                                                          $200.81
Tim Conley
15908 West Lake Drive                                          RS Legacy Corporation fka RadioShack
Wimauma, FL 33598                         18053      11/9/2016 Corporation                                                       $0.00                                                                                            $0.00
Stacy Guidry
P.O. Box 13965                                                 RS Legacy Corporation fka RadioShack
Sacramento, ca 95853                      18054      11/9/2016 Corporation                                                      $60.00                                                                                           $60.00
Hoa Kha
20616 SW Anna Court                                            RS Legacy Corporation fka RadioShack
Beaverton, OR 97006                       18055      11/9/2016 Corporation                                                      $34.99                                                                                           $34.99
Joseph Alexander
359 Bunnell street                                              RS Legacy Corporation fka RadioShack
Bridgeport, CT 06607                      18056      11/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Tishona Sykes
6 Eagle St                                                      RS Legacy Corporation fka RadioShack
Schenectady, NY 12307                     18057      11/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Tishona Sykes
6 Eagle St                                                      RS Legacy Corporation fka RadioShack
Schenectady, NY 12307                     18058      11/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Tishona Sykes
6 Eagle St                                                      RS Legacy Corporation fka RadioShack
Schenectady, NY 12307                     18059      11/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Puccio, Donald C.
5 Lucia Ct.                                                    RS Legacy Corporation fka RadioShack
Lancaster, NY 14086                       18060      11/7/2016 Corporation                                                      $34.99                                                                                           $34.99
Stout, Marilyn P.
63 Roanoke Rd #1                                               RS Legacy Corporation fka RadioShack
Boston, MA 02136                          18061      11/8/2016 Corporation                                                       $0.00                                                                                            $0.00
Stahl, Carey L.
5176 E Co. 12 1/2 St                                           RS Legacy Corporation fka RadioShack
Yuma, AZ 85365                            18062      11/8/2016 Corporation                                                      $33.75                                                                                           $33.75
Clippinger, Jean
3574 Triway Lane                                               RS Legacy Corporation fka RadioShack
Wooster, OH 44691                         18063      11/9/2016 Corporation                                                      $50.00                                                                                           $50.00
susan hobson
19 Lafayette street                                             RS Legacy Corporation fka RadioShack
new rochelle, ny 10805                    18064      11/10/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Nanda Madishetty
2550 Manor View                                                 RS Legacy Corporation fka RadioShack
Cumming, GA 30041                         18065      11/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Angela Hill
3817 Earhart Drive                                              RS Legacy Corporation fka RadioShack
Carmel, IN 46074                          18066      11/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Stricklin, Andrew
7945 FM 3636                                                    RS Legacy Corporation fka RadioShack
Alvarado, TX 76009                        18067      11/11/2016 Corporation                                                     $50.00                                                                                           $50.00
MARLINE TOGELANG
1512W 136th Ln                                                  RS Legacy Corporation fka RadioShack
Broomfield, co 80023                      18068      11/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Valerie Deneen
8644 Rose Lake Shore Lane                                       RS Legacy Corporation fka RadioShack
Orlando, FL 32835                         18069      11/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Sonya M Everett
327 Shadow Pond                                                 RS Legacy Corporation fka RadioShack
Dublin, Ga 31021                          18070      11/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Danial Naim
3314 Nautical Dr                                                RS Legacy Corporation fka RadioShack
Southport, fl 32409                       18071      11/11/2016 Corporation                                                     $24.01                                                                                           $24.01
Albert Briseno
17013 Plattsburg Rd                                             RS Legacy Corporation fka RadioShack
Kearney, MO 64060                         18072      11/11/2016 Corporation                                                     $33.00                                                                                           $33.00
Alex Bednyak
115 Prairie Park Dr Unit 412                                    RS Legacy Corporation fka RadioShack
Wheeling, IL 60090                        18073      11/12/2016 Corporation                                                      $6.10                                                                                            $6.10
Alex Bednyak
115 Prairie Park Dr Unit 412                                    RS Legacy Corporation fka RadioShack
Wheeling, IL 60090                        18074      11/12/2016 Corporation                                                     $15.70                                                                                           $15.70
Alex Bednyak
115 Prairie Park Dr Unit 412                                    RS Legacy Corporation fka RadioShack
Wheeling, IL 60090                        18075      11/12/2016 Corporation                                                     $17.68                                                                                           $17.68
Michael Valentine
9363 Clovercroft Road                                           RS Legacy Corporation fka RadioShack
Franklin, TN 37067                        18076      11/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Brenda Gary
2906 lolissa lane                                               RS Legacy Corporation fka RadioShack
winter park, Florida 32789                18077      11/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Jennie Grimner
77 5th Ave, Apt 3B                                              RS Legacy Corporation fka RadioShack
New York, NY 10003                        18078      11/12/2016 Corporation                                                     $50.00                                                                                           $50.00
Will Kucharczyk
102A Plunkett St                                                RS Legacy Corporation fka RadioShack
Pittsfield, MA 01201                      18079      11/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Martin Vasquez
1267 Bellflower Ln                                              RS Legacy Corporation fka RadioShack
Owatonna, MN 55060                        18080      11/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Martin Vasquez
1267 Bellflower Ln                                              RS Legacy Corporation fka RadioShack
Owatonna, MN 55060                        18081      11/12/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Aswinee
477 Peace portal dr #115                                        RS Legacy Corporation fka RadioShack
Baline, WA 98230                          18082      11/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Chris Adams`
2 Goss Road                                                     RS Legacy Corporation fka RadioShack
North Hampton, NH 03862                   18083      11/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Curtis Ducken
12 traybern blvd                                                RS Legacy Corporation fka RadioShack
Camden, DE 19934                          18084      11/13/2016 Corporation                                                     $71.99                                                                                           $71.99
Lauren McPherson‐Siegrist
97 Columbia St. Unit 2                                          RS Legacy Corporation fka RadioShack
Cambridge, MA 02139                       18085      11/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Turina Trower
587 Park Avenue #1A                                             RS Legacy Corporation fka RadioShack
Brooklyn, New York 11206                  18086      11/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Bob South
1606 e 75 n                                                     RS Legacy Corporation fka RadioShack
warsaw, IN 46582                          18087      11/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Fomundam, Karl
15 west redbrook place                                          RS Legacy Corporation fka RadioShack
Smyrna, DE 19977                          18088      11/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Demers, Michael
4090 Careywood Dr                                               RS Legacy Corporation fka RadioShack
Melbourne, FL 32934                       18089      11/14/2016 Corporation                                                     $25.00                                                                                           $25.00
Chaudhry, Asif
P.O. Box 1882                                                   RS Legacy Corporation fka RadioShack
Poughkeepsie, NY 12601                    18090      11/11/2016 Corporation                                                     $86.49                                                                                           $86.49
Laliloerty , Gary D.
2828 Bedell Road                                                RS Legacy Corporation fka RadioShack
Grand Island , NY 14072‐1257              18091      11/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Felder , Craig
1716 Chestwood Drive                                            RS Legacy Corporation fka RadioShack
Va. Beach, VA 23453                       18092      11/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                         RS Legacy Corporation fka RadioShack
                                          18093      11/11/2016 Corporation                                                                                                                                                       $0.00
Lewoczko, Alexander
2277 Friley Stanton                                             RS Legacy Corporation fka RadioShack
Ames, IA 50012                            18094      11/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Luis Nolorbe
280 summer Ave.                                                 RS Legacy Corporation fka RadioShack
Newark, Nj 07104                          18095      11/14/2016 Corporation                                                     $25.00                                                                                           $25.00
Mitchell Dane
754 Far Pines Dr                                                RS Legacy Corporation fka RadioShack
Spring, Texas 77373                       18096      11/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Christy Stevens
2261 Old Gardiner Rd                                            RS Legacy Corporation fka RadioShack
Sequim, WA 98382                          18097      11/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Mandeep Chatha
5209 Eagle Trace Trail                                          RS Legacy Corporation fka RadioShack
Austin, Texas 78730                       18098      11/14/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Deilana hennings
2616 S 224th st apt e109                                        RS Legacy Corporation fka RadioShack
Des moines, Wa 98198                      18099      11/14/2016 Corporation                                                      $0.00                                                                                            $0.00
DanielHernandez
21317 Water st                                                  RS Legacy Corporation fka RadioShack
Carson, Ca 90745                          18100      11/14/2016 Corporation                                                    $100.00                                                                                          $100.00
Hongyun Dong
8207 Wexford Dr                                                 RS Legacy Corporation fka RadioShack
Austin, TX 78759                          18101      11/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Hongyun Dong
8207 Wexford Dr                                                 RS Legacy Corporation fka RadioShack
Austin, TX 78759                          18102      11/15/2016 Corporation                                                    $100.00                                                                                          $100.00
Hongyun Dong
8207 Wexford Dr                                                 RS Legacy Corporation fka RadioShack
Austin, TX 78759                          18103      11/15/2016 Corporation                                                    $100.00                                                                                          $100.00
Demario Mitchell
230 Malone court Prattville ,AL 36067                           RS Legacy Corporation fka RadioShack
230 Malone court, Al 36067                18104      11/15/2016 Corporation                                                    $600.00                                                                                          $600.00
Valerie Murphy
1304 Willow Oak Drive                                           RS Legacy Corporation fka RadioShack
Frederick, md 21701                       18105      11/15/2016 Corporation                                                     $17.61                                                                                           $17.61
Dawn Angeletti
453 Pleasant St                                                 RS Legacy Corporation fka RadioShack
Southington, Connecticut 06489            18106      11/15/2016 Corporation                                                     $75.00                                                                                           $75.00
Liangjun Feng
4140 ensign ave N                                               RS Legacy Corporation fka RadioShack
new hope, mn 55427                        18107      11/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Andrew Thompson
4545 S Monaco St Unit 135                                       RS Legacy Corporation fka RadioShack
Denver, CO 80237                          18108      11/15/2016 Corporation                                                    $574.12                                                                                          $574.12
Liangjun Feng
4140 Ensign ave N                                               RS Legacy Corporation fka RadioShack
new Hope, mn 55427                        18109      11/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Liangjun Feng
4140 ensign ave n                                               RS Legacy Corporation fka RadioShack
new hope, mn 55427                        18110      11/15/2016 Corporation                                                      $0.00                                                                                            $0.00
feng liangjun
4140 ensign ave n                                               RS Legacy Corporation fka RadioShack
new hope, mn 55427                        18111      11/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Linda Hinds
10498 Nucla Street                                              RS Legacy Corporation fka RadioShack
Commerce City, Co 80022                   18112      11/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Reideman, Stephen H
37 Osborne Avenue                                               RS Legacy Corporation fka RadioShack
Mount Sinai, NY 11766                     18113      11/15/2016 Corporation                                                     $20.00                                                                                           $20.00
Arbucci, Robert P.
65 Durham Rd, #2G                                               RS Legacy Corporation fka RadioShack
Bronxville, NY 10708                      18114      11/15/2016 Corporation                                                     $31.86                                                                                           $31.86
Kathy Markham
868 Rim View Lane East                                          RS Legacy Corporation fka RadioShack
Twin Falls, ID 83301                      18115      11/15/2016 Corporation                                                     $22.26                                                                                           $22.26




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Bernard, Rosalind
602 Melrose Pl Dr                                               RS Legacy Corporation fka RadioShack
Newark, DE 19711                          18116      11/15/2016 Corporation                                                      $0.00                                                                                            $0.00
McMillan, Dale
Post Office Box 244                                             RS Legacy Corporation fka RadioShack
Mi Wuk Village, CA 95346                  18117      11/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Abbott, Shirley
8220 Freeman Avenue                                             RS Legacy Corporation fka RadioShack
Kansas City, KS 66112                     18118      11/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Camilla, Joseph
PO Box 25111                                                    RS Legacy Corporation fka RadioShack
Christiansted, VI 00824                   18119      11/15/2016 Corporation                                                     $50.00                                                                                           $50.00
Demers, Michael
4090 Careywood Dr.                                              RS Legacy Corporation fka RadioShack
Melbourne, FL 32934                       18120      11/11/2016 Corporation                                                     $18.21                                                                                           $18.21
ANDRES SOLIS
2601 Lullington Dr                                              RS Legacy Corporation fka RadioShack
Winston Salem, NC 27103                   18121      11/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Patel , Rashmi
28 Oak Lane
Greets Green
West Bromwich, West Midlands B70 8PN                            RS Legacy International Corporation fka Tandy
England                                   18122      11/13/2016 International Corporation                                                                                                 $0.00                                   $0.00
Jay Bhan
8706 Lilienthal Ave                                             RS Legacy Corporation fka RadioShack
Los Angeles, Ca 90045                     18123      11/15/2016 Corporation                                                     $80.00                                                                                           $80.00
David Balji
2 sargent court                                                 RS Legacy Corporation fka RadioShack
mahwah, nj 07430                          18124      11/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Karim, Razaul
16 S Rhode Island Ave Apt # D‐1                                 RS Legacy Corporation fka RadioShack
Atlantic City, NJ 08401                   18125      11/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Karr, Denise
434 Horse Run Rd.                                               RS Legacy Corporation fka RadioShack
Shinglehouse, PA 16748                    18126      11/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Gates, Jesse E.
P.O. Box 1543                                                   RS Legacy Corporation fka RadioShack
Carthage, TX 75633                        18127      11/15/2016 Corporation                                                      $0.00                                                                                            $0.00
JESUS DANNY DUARTE
502 S CASITA ST                                                 RS Legacy Corporation fka RadioShack
ANAHEIM, CA 92805                         18128      11/15/2016 Corporation                                                     $20.00                                                                                           $20.00
Dave Stevens
PO box 99385                                                    RS Legacy Corporation fka RadioShack
Lakewood, Wa. 98496‐0385                  18129      11/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Ernest Ward
222 Clearview Court                                             RS Legacy Corporation fka RadioShack
LaGrange, GA 30240                        18130      11/15/2016 Corporation                                                     $21.37                                                                                           $21.37
melissa johnson
2920 s state street apt 501                                     RS Legacy Corporation fka RadioShack
chicago, il 60616                         18131      11/15/2016 Corporation                                                    $600.00                                                                                          $600.00




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
JENNIFER DANKOWSKI
126 PLUMTREES RD                                                RS Legacy Corporation fka RadioShack
BETHEL, CT 06801                          18132      11/16/2016 Corporation                                                      $7.36                                                                                            $7.36
Beatrice K. Coleman
29426 Veto Road                                                 RS Legacy Corporation fka RadioShack
Elkmont, AL 35620                         18133      11/16/2016 Corporation                                                     $30.00                                                                                           $30.00
Liduvina Cruz Nieves
PO Box 1191                                                     RS Legacy Corporation fka RadioShack
Quebradillas, PR 00678                    18134      11/16/2016 Corporation                                                      $0.00                                                                                            $0.00
RONDA BROWN
3919 National Drive Suite 400                                   RS Legacy Corporation fka RadioShack
Burtonsville, MD 20866                    18135      11/17/2016 Corporation                                                      $0.00                                                                                            $0.00
RONDA BROWN
3919 National Drive Suite 400                                   RS Legacy Corporation fka RadioShack
Burtonsville, MD 20866                    18136      11/17/2016 Corporation                                                      $0.00                                                                                            $0.00
RONDA BROWN
3919 National Drive Suite 400                                   RS Legacy Corporation fka RadioShack
Burtonsville, MD 20866                    18137      11/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Joseph Ciervo
8 Naiad Rd.                                                     RS Legacy Corporation fka RadioShack
Rocky Point, NY 11778                     18138      11/17/2016 Corporation                                                     $25.00                                                                                           $25.00
Winter, Michael
988 Creek Court                                                 RS Legacy Corporation fka RadioShack
Little Suamico, WI 54141                  18139      11/17/2016 Corporation                                                      $7.91                                                                                            $7.91
Co, Elsa D.
910 Capp St.                                                    RS Legacy Corporation fka RadioShack
San Francisco, CA 94110                   18140      11/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Ward, Jennifer
117 Planters Ridge Drive                                        RS Legacy Corporation fka RadioShack
La Grange, GA 30240                       18141      11/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Moore, John
2485 venturi court                                              RS Legacy Corporation fka RadioShack
Madera, CA 93637                          18142      11/17/2016 Corporation                                                      $0.00                                                                                            $0.00
John Stein
8407 N Jenner Dr                                                RS Legacy Corporation fka RadioShack
Ellettsville, IN 47429                    18143      11/17/2016 Corporation                                                     $26.74                                                                                           $26.74
Munoz, Patricia
1871 Cherry Ave Rm #8                                           RS Legacy Corporation fka RadioShack
Long Beach, CA 90806                      18144      11/17/2016 Corporation                                                    $128.52                                                                                          $128.52
Ferri, Steven
217 Trout Brook Rd                                              RS Legacy Corporation fka RadioShack
Dracut, MA 01826                          18145      11/17/2016 Corporation                                                     $53.00                                                                                           $53.00
Duverglas, George
P.O. Box 73                                                     RS Legacy Corporation fka RadioShack
Schenectady, NY 12301                     18146      11/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Jewby, William R.
230 Old Laudermilch Rd                                          RS Legacy Corporation fka RadioShack
Hershey, PA 17033                         18147      11/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Barbee, Bev
106 Garmony Rd.                                                 RS Legacy Corporation fka RadioShack
Columbia, SC 29212                        18148      11/17/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Phillips, Haywood
5201 Connecticut Ave N.W.                                       RS Legacy Corporation fka RadioShack
Washington, DC 20015                      18149      11/17/2016 Corporation                                                     $22.79                                                                                           $22.79
Yazvac, Maureen
38 Cross Street                                                 RS Legacy Corporation fka RadioShack
Pittsburg, PA 15221                       18150      11/17/2016 Corporation                                                     $42.79                                                                                           $42.79
Gilmore, Mary
120 Alvord Place                                                RS Legacy Corporation fka RadioShack
South Hadley, MA 01075                    18151      11/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Palmer, Tara
2526 Ridge St                                                   RS Legacy Corporation fka RadioShack
Yorktown Heights, NY 10598                18152      11/17/2016 Corporation                                                    $100.00                                                                                          $100.00
Joyce Morrin
625 Rivers Reach                                                RS Legacy Corporation fka RadioShack
Va. Beach, Va. 23452                      18153      11/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Martino Coviello
20 Edinburgh Road                                               RS Legacy Corporation fka RadioShack
Windham, NH 03087                         18154      11/18/2016 Corporation                                                    $100.00                                                                                          $100.00
Lansing, Alan
195 Lake Shore Drive                                            RS Legacy Corporation fka RadioShack
Lake Hiawatha, NJ 07034                   18155      11/18/2016 Corporation                                                    $515.00                                                                                          $515.00
Susie Dale
P. O. Box 504                                                   RS Legacy Corporation fka RadioShack
Farwell, TX 79325                         18156      11/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Doolittle, Revonda
2214 Hwy 221 South                                              RS Legacy Corporation fka RadioShack
Greenwood, SC 29646                       18157      11/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Greg Mours
860 Gilfillan Ave.                                              RS Legacy Corporation fka RadioShack
Carver, MN 55315                          18158      11/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Carlie Wellington
4404 Steven Drive                                               RS Legacy Corporation fka RadioShack
Edmond, OK 73013                          18159      11/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Keith D. Matthews
1918 Edgewood Road                                              RS Legacy Corporation fka RadioShack
Parkville, Maryland 21234                 18160      11/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Mary Tran
4573 Johnisee CT NE                                             RS Legacy Corporation fka RadioShack
Salem, Or 97305                           18161      11/18/2016 Corporation                                                     $59.99                                                                                           $59.99
Dennis Valencia
438 58th Street                                                 RS Legacy Corporation fka RadioShack
brooklyn, ny 11215                        18162      11/18/2016 Corporation                                                     $25.00                                                                                           $25.00
Kenneth Dimmick
17 Ravine Drive West                                            RS Legacy Corporation fka RadioShack
Hawthorne, NJ 07506                       18163      11/18/2016 Corporation                                                     $68.00                                                                                           $68.00
Lindy Loeber
8542 W Farm Rd 52                                               RS Legacy Corporation fka RadioShack
Willard, MO 65781                         18164      11/19/2016 Corporation                                                     $30.37                                                                                           $30.37
Danielle Wright
325 eutau court                                                 RS Legacy Corporation fka RadioShack
Indian harbour beach, FL 32937            18165      11/19/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Carole Mohr
5101 E 56th Ct                                                  RS Legacy Corporation fka RadioShack
Spokane, WA 99223                         18166      11/19/2016 Corporation                                                     $16.27                                                                                           $16.27
Scott Hogg
10552 N. Sage Vista Ln.                                         RS Legacy Corporation fka RadioShack
Cedar Hills, UT 84062                     18167      11/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Mark Evans
18202 South Bradshaw Court                                      RS Legacy Corporation fka RadioShack
Accokeek, MD 20607                        18168      11/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Tiffany Kirwin
122 Mendon rd                                                   RS Legacy Corporation fka RadioShack
Sutton, Ma 01590                          18169      11/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Vinnetta Ruff
2214 Railroad ave #3103                                         RS Legacy Corporation fka RadioShack
suisun, Ca 94585                          18170      11/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Mahvash Pourabbas
12361 Hillcrest Rd                                              RS Legacy Corporation fka RadioShack
Dallas, TX 75230                          18171      11/19/2016 Corporation                                                     $36.78                                                                                           $36.78
Lindy Loeber
8542 W Farm Rd 52                                               RS Legacy Corporation fka RadioShack
Willard, MO 65781                         18172      11/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Patricia Perry
8710 SW 91st Place                                              RS Legacy Corporation fka RadioShack
Ocala, FL 34481                           18173      11/19/2016 Corporation                                                      $5.42                                                                                            $5.42
Carla Faraci
2071 Woodsong Way                                               RS Legacy Corporation fka RadioShack
Fountain, CO 80817                        18174      11/19/2016 Corporation                                                     $25.00                                                                                           $25.00
Linda Pepper
19229 N 36th St                                                 RS Legacy Corporation fka RadioShack
Phoenix, AZ 85050                         18175      11/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Keith Richmond
6754 Carter Ct                                                  RS Legacy Corporation fka RadioShack
Warrenton, VA 20187                       18176      11/20/2016 Corporation                                                    $100.00                                                                                          $100.00
Lisa Shinn
1204 Clear Creek Circle                                         RS Legacy Corporation fka RadioShack
Edmond, OK 73034                          18177      11/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Ellen Matteson
8 Coach Lane                                                    RS Legacy Corporation fka RadioShack
Westport, CT 06880                        18178      11/20/2016 Corporation                                                     $25.00                                                                                           $25.00
Manjukumar Ramu
6 Rowanberry Ct                                                 RS Legacy Corporation fka RadioShack
Princeton Junction, NJ 08550              18179      11/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Nichole Landphere
2605 W. Brutus St                                               RS Legacy Corporation fka RadioShack
Weedsport, NY 13166                       18180      11/20/2016 Corporation                                                     $50.00                                                                                           $50.00
juan quintuna
8666 107th st                                                   RS Legacy Corporation fka RadioShack
richmond hill, ny 11418                   18181      11/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael Blueglass
4 Benjamin Green Lane                                           RS Legacy Corporation fka RadioShack
Mahopac, NY 10541                         18182      11/20/2016 Corporation                                                     $15.03                                                                                           $15.03




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Jamie Stumbaugh
291 IL RT 2 LOT 209                                             RS Legacy Corporation fka RadioShack
Dixon, IL 61021                           18183      11/20/2016 Corporation                                                     $64.53                                                                                           $64.53
Guy C Neel
1312 Acacia Dr #b                                               RS Legacy Corporation fka RadioShack
Colorado springs, Co 80907                18184      11/20/2016 Corporation                                                      $0.00                                                                                            $0.00
William Graham
229 W Palm Ct.                                                  RS Legacy Corporation fka RadioShack
Cooldige, AZ 85128                        18185      11/20/2016 Corporation                                                     $50.00                                                                                           $50.00
Adam Sardinha
24 Asylum Rd.                                                   RS Legacy Corporation fka RadioShack
Warren, RI 02885                          18186      11/20/2016 Corporation                                                     $78.22                                                                                           $78.22
Adam Sardinha
24 Asylum Rd.                                                   RS Legacy Corporation fka RadioShack
Warren, RI 02885                          18187      11/20/2016 Corporation                                                     $78.22                                                                                           $78.22
Maria Jerram
672 Palm Avenue                                                 RS Legacy Corporation fka RadioShack
Los Altos, CA 94022                       18188      11/20/2016 Corporation                                                     $15.12                                                                                           $15.12
Molly vaccaro
129 swamp rose dr                                               RS Legacy Corporation fka RadioShack
Mooresville, NC 28117                     18189      11/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Justin Pshigoda
2822 Harvard Dr                                                 RS Legacy Corporation fka RadioShack
Perryton, TX 79070                        18190      11/20/2016 Corporation                                                     $50.00                                                                                           $50.00
Manjukumar Ramu
6 Rowanberry Ct                                                 RS Legacy Corporation fka RadioShack
Princeton Junction, NJ 08550              18191      11/20/2016 Corporation                                                      $0.00                                                                                            $0.00
patricia deleon
2 Norman drive                                                  RS Legacy Corporation fka RadioShack
Shoreham, Ny 11786                        18192      11/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Francis Hilke
100 Meridian Road                                               RS Legacy Corporation fka RadioShack
Levittown, NY 11756                       18193      11/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Daniel Cummings
50 Beechwood Avenue                                             RS Legacy Corporation fka RadioShack
Sudbury, MA 01776                         18194      11/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Carrie Telaak
7671 Woodcrest dr                                               RS Legacy Corporation fka RadioShack
Stanley, NC 28164                         18195      11/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Rich Davidson
1405 Olive lane No. #321                                        RS Legacy Corporation fka RadioShack
Plymouth, Mn. 55447                       18196      11/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Angel Molavi Tarifard
3196 Spinning rod way                                           RS Legacy Corporation fka RadioShack
Sacramento Ca, 95833 9625                 18197      11/21/2016 Corporation                                                     $43.09                                                                                           $43.09
christopher jacobs
859 smartts ln ne                                               RS Legacy Corporation fka RadioShack
leesburg, va 20176                        18198      11/21/2016 Corporation                                                     $42.39                                                                                           $42.39
Melinda Garcia
22127 Grace Ave                                                 RS Legacy Corporation fka RadioShack
Carson, Ca 90745                          18199      11/21/2016 Corporation                                                     $76.30                                                                                           $76.30




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                                                                                                                         Current General                                            Current 503(b)(9)
                                                                                                                                               Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address          Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
Melinda Garcia
22127 Grace Ave                                                       RS Legacy Corporation fka RadioShack
Carson, Ca 90745                                18200      11/21/2016 Corporation                                                     $76.29                                                                                           $76.29
Todd Knight
12816 Springhill Dr                                                   RS Legacy Corporation fka RadioShack
winnebago, il 61088                             18201      11/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Moutry, Gerald
8661 N 72nd St                                                        RS Legacy Corporation fka RadioShack
Milwaukee , WI 53223                            18202      11/18/2016 Corporation                                                    $150.00                                                                                          $150.00
Reyes, Aldo
1160 Bishop Ave                                                       RS Legacy Corporation fka RadioShack
Hayward, CA 94544                               18203      11/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Garcia, Juan
1036 Dutchtown Rd Apt D‐2                                             RS Legacy Corporation fka RadioShack
Savannah, GA 31419                              18204      11/21/2016 Corporation                                                     $47.00                                                                                           $47.00
Kathryn Bunting
320 South Dubuque Street
Apt#306                                                               RS Legacy Corporation fka RadioShack
Iowa City, IA 52240                             18205      11/21/2016 Corporation                                                     $37.09                                                                                           $37.09
Doolittle, Revonda
2214 Hwy 221 South                                                    RS Legacy Corporation fka RadioShack
Greenwood, SC 29646                             18206      11/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Bocko, Philip
23 Summer St                                                          RS Legacy Corporation fka RadioShack
Mansfield, MA 02048                             18207      11/21/2016 Corporation                                                     $10.00                                                                                           $10.00
Breck Koelemay
233 Fawn Trail                                                        RS Legacy Corporation fka RadioShack
Lake Jackson, TX 77566                          18208      11/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Kathryn Bunting
320 South Dubuque Street                                              RS Legacy Corporation fka RadioShack
Iowa City, IA 52240                             18209      11/21/2016 Corporation                                                      $0.00                                                                                            $0.00
steve galik
6549 mission gorge rd 291                                             RS Legacy Corporation fka RadioShack
SAN DIEGO, ca 92120                             18210      11/21/2016 Corporation                                                     $42.00                                                                                           $42.00
Richmond, Je lessa
421 West Burlington Avenue                                            RS Legacy Corporation fka RadioShack
West Burlington, IA 52655                       18211      11/17/2016 Corporation                                                                                                             $120.00                                 $120.00
Stephanie Foster
35 Summer Sage Ct                                                     RS Legacy Corporation fka RadioShack
Reno, NV 89511                                  18212      11/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael McKenzie
309 Partridge Lane                                                    RS Legacy Corporation fka RadioShack
Dothan, Al 36303                                18213      11/21/2016 Corporation                                                    $500.00                                                                                          $500.00
Evan J. Erickson
P.O. Box 400                                                          RS Legacy Corporation fka RadioShack
La Pointe/WI/54850, 904 Whitefish Street 904    18214      11/21/2016 Corporation                                                    $250.00                                                                                          $250.00
Evan J. Erickson
P.O. Box 400                                                          RS Legacy Corporation fka RadioShack
La Pointe/WI/54850, 904 Whitefish               18215      11/21/2016 Corporation                                                    $250.00                                                                                          $250.00
Sandi Brummage
763 Shelby Ontario Rd                                                 RS Legacy Corporation fka RadioShack
Mansfield, OH 44906                             18216      11/21/2016 Corporation                                                    $320.99                                                                                          $320.99



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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Kerry‐Ann White
9110 Suede Court                                                RS Legacy Corporation fka RadioShack
Fairfax, VA 22031                         18217      11/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Gary Kruse
4942 N Merrimac Ave                                             RS Legacy Corporation fka RadioShack
Chicago, IL 60630                         18218      11/22/2016 Corporation                                                     $25.00                                                                                           $25.00
Ratima Kruse
4942 N. Merrimac Ave                                            RS Legacy Corporation fka RadioShack
Chicago, IL 60630                         18219      11/22/2016 Corporation                                                     $25.00                                                                                           $25.00
Lewis, Beverly W.
343 Forrest Street                                              RS Legacy Corporation fka RadioShack
Lewisburg, TN 37091                       18220      11/22/2016 Corporation                                                    $100.00                                                                                          $100.00
Carla Kesler
100 Lake Hills Lane                                             RS Legacy Corporation fka RadioShack
Trenton, GA 30752                         18221      11/22/2016 Corporation                                                     $17.01                                                                                           $17.01
Stephanie Jones
22438 Regency Dr #1B                                            RS Legacy Corporation fka RadioShack
Richton Park, IL 60471                    18222      11/22/2016 Corporation                                                    $131.09                                                                                          $131.09
Colby Shelton
4934 hereford dr.                                               RS Legacy Corporation fka RadioShack
Crosby, Texas 77532                       18223      11/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Glover, Tracy
902 Kearney Drive                                               RS Legacy Corporation fka RadioShack
Shelby, NC 28152                          18224      11/22/2016 Corporation                                                     $95.00                                                                                           $95.00
Long, Richard
147 Country Way                                                 RS Legacy Corporation fka RadioShack
Maxwell, TX 78656                         18225      11/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Feneis, Nick
909 13th Ave. SE                                                RS Legacy Corporation fka RadioShack
St. Cloud, MN 56304                       18226      11/22/2016 Corporation                                                     $30.00                                                                                           $30.00
Feneis, Nick
909 13th Ave. SE                                                RS Legacy Corporation fka RadioShack
St. Cloud, MN 56304                       18227      11/22/2016 Corporation                                                      $3.00                                                                                            $3.00
Carla Kesler
100 Lake Hills Lane                                             RS Legacy Corporation fka RadioShack
Trenton, GA 30752                         18228      11/22/2016 Corporation                                                     $50.00                                                                                           $50.00
Derbyshire, Martha
16 Harden Ave                                                   RS Legacy Corporation fka RadioShack
Camden, ME 04843                          18229      11/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Feneis, Nick
909 13th Ave. SE                                                RS Legacy Corporation fka RadioShack
St. Cloud, MN 56304                       18230      11/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Patel, Sudha
309 Asbury Lane Drive                                           RS Legacy Corporation fka RadioShack
Brandon, MS 39042                         18231      11/20/2016 Corporation                                                     $21.42                                                                                           $21.42
Feneis, Nick
909 13th Ave. SE                                                RS Legacy Corporation fka RadioShack
St. Cloud, MN 56304                       18232      11/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Coulbourne, Avon
P.O. Box 77                                                     RS Legacy Corporation fka RadioShack
Cordova, MD 21625                         18233      11/22/2016 Corporation                                                     $74.19                                                                                           $74.19




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
McCarthy, Anne
144 Virginia Ave.                                               RS Legacy Corporation fka RadioShack
Johnson City, NY 13790                    18234      11/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Jacqueline Drew
3318 Doral Ct.                                                  RS Legacy Corporation fka RadioShack
Walnut Creek, CA 94598                    18235      11/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Beth Blakemore
202 NE Oak Tree Lane                                            RS Legacy Corporation fka RadioShack
Lees Summit, MO 64086                     18236      11/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Trenton Reed
207 West 12th Street                                            RS Legacy Corporation fka RadioShack
Georgetown, Illinois 61846                18237      11/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Catherine Anderson
14241 5th Street                                                RS Legacy Corporation fka RadioShack
Osseo, WI 54758                           18238      11/22/2016 Corporation                                                     $26.36                                                                                           $26.36
Stephanie Harris
13124 N MacArthur Blvd                                          RS Legacy Corporation fka RadioShack
Oklahoma City, OK 73142                   18239      11/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Krys Givens
18127 Tyler Trails Ct                                           RS Legacy Corporation fka RadioShack
Cypress, TX 77433                         18240      11/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Jack McGuire
2623 Lakewood circle                                            RS Legacy Corporation fka RadioShack
Tuscaloosa, Al 35405                      18241      11/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Chandra, Suresh R.
4713 County Rd M.                                               RS Legacy Corporation fka RadioShack
Middleton, WI 53562                       18242      11/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Sanchez, Maria G.
50‐136 Goya Drive                                               RS Legacy Corporation fka RadioShack
Coachella, CA 92236                       18243      11/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Kinnon, Lindsay
1038 Lowell Rd                                                  RS Legacy Corporation fka RadioShack
Groton, MA 01450                          18244      11/22/2016 Corporation                                                    $100.00                                                                                          $100.00
Jacqueline Conley
12825 W La Reata Ave                                            RS Legacy Corporation fka RadioShack
Avondale, AZ 85392                        18245      11/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Chris Koyen
720 Oneida Ct                                                   RS Legacy Corporation fka RadioShack
Sun Prairie, WI 53590                     18246      11/22/2016 Corporation                                                      $0.00                                                                                            $0.00
William Bosco
421 royal tern rd s                                             RS Legacy Corporation fka RadioShack
ponte vedra beach, fl 32082               18247      11/23/2016 Corporation                                                     $42.78                                                                                           $42.78
Horton, Rex
150 Frazier St                                                  RS Legacy Corporation fka RadioShack
Brockport, NY 14420                       18248      11/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Johnson, Dave
1107 360th St                                                   RS Legacy Corporation fka RadioShack
Gowrie, IA 50543                          18249      11/23/2016 Corporation                                                     $23.31                                                                                           $23.31
Nitin Sem
202 Antietam Drive                                              RS Legacy Corporation fka RadioShack
Douglassville, PA 19518                   18250      11/23/2016 Corporation                                                     $53.48                                                                                           $53.48




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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Michael Bonanno
1037 Forest Drive                                               RS Legacy Corporation fka RadioShack
Linden, NJ 07036                          18251      11/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Sean McLean
49 Gull Rd                                                      RS Legacy Corporation fka RadioShack
Falmouth, Ma 02540                        18252      11/23/2016 Corporation                                                     $63.75                                                                                           $63.75
Lucido, Gina
P.O. Box 873757                                                 RS Legacy Corporation fka RadioShack
Vancouver, WA 98687                       18253      11/23/2016 Corporation                                                     $26.88                                                                                           $26.88
Claim Docketed In Error                                         RS Legacy Corporation fka RadioShack
                                          18254      11/23/2016 Corporation                                                                                                                                                       $0.00
Sarah Murrow
865 Grim Hollow Road                                            RS Legacy Corporation fka RadioShack
Red Lion, PA 17356                        18255      11/23/2016 Corporation                                                     $65.69                                                                                           $65.69
Valenti, Joseph
2805 S. Mayhill Road                                            RS Legacy Corporation fka RadioShack
Denton, TX 76208                          18256      11/22/2016 Corporation                                                                                                                                                       $0.00
Claim Docketed In Error                                         RS Legacy Corporation fka RadioShack
                                          18257      11/23/2016 Corporation                                                                                                                                                       $0.00
Lisa O'Leary
5 Mountainview Road                                             RS Legacy Corporation fka RadioShack
Succasunna, NJ 07876                      18258      11/23/2016 Corporation                                                    $100.00                                                                                          $100.00
Paul Guardiola
P.O. Box 489                                                    RS Legacy Corporation fka RadioShack
Millbrook, NY 12545                       18259      11/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Kneller, Faith
164 Scooter Dr.                                                 RS Legacy Corporation fka RadioShack
Graysville, TN 37338                      18260      11/22/2016 Corporation                                                     $26.31                                                                                           $26.31
O'Loughlin, Phil
2418 Kelly St.                                                  RS Legacy Corporation fka RadioShack
Hayward, CA 94541                         18261      11/23/2016 Corporation                                                      $0.00                                                                                            $0.00
O'Loughlin, Phil
2418 Kelly St.                                                  RS Legacy Corporation fka RadioShack
Hayward, CA 94541                         18262      11/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Joy Heffron
9022 Mastin St                                                  RS Legacy Corporation fka RadioShack
Overland Park, Kansas 66212               18263      11/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Joy Heffron
9022 Mastin St                                                  RS Legacy Corporation fka RadioShack
Overland Park, Kansas 66212               18264      11/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Joy Heffron
9022 Mastin St                                                  RS Legacy Corporation fka RadioShack
Overland Park, Kansas 66212               18265      11/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Susan Purdy
7643 Commodore Circle                                           RS Legacy Corporation fka RadioShack
Liverpool, Ny 13090                       18266      11/23/2016 Corporation                                                     $19.00                                                                                           $19.00
Anthony Jarvis
833 oakmere Place                                               RS Legacy Corporation fka RadioShack
North Muskegon, mi 49445                  18267      11/24/2016 Corporation                                                     $52.99                                                                                           $52.99
Amanda LaFave
87 C Street, Apt 1                                              RS Legacy Corporation fka RadioShack
Framingham, MA 01702                      18268      11/24/2016 Corporation                                                      $0.00                                                                                            $0.00



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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Jonathan Sherman
125 E. Main St., Suite 210                                      RS Legacy Corporation fka RadioShack
American Fork, UT 84003                   18269      11/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Jessica rathe
5824 archery ct                                                 RS Legacy Corporation fka RadioShack
Granbury, Texas 76048                     18270      11/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Aaron Sha
10725 Nw Thompson Rd                                            RS Legacy Corporation fka RadioShack
Portland, Or 97229                        18271      11/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Aaron Sha
10725 Nw Thompson Rd                                            RS Legacy Corporation fka RadioShack
Portland, Or 97229                        18272      11/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Sharon Belloff
3124 Cottonwood                                                 RS Legacy Corporation fka RadioShack
Highland Park, il 60035                   18273      11/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Akshar Agarwal
65 Nicholas couft                                               RS Legacy Corporation fka RadioShack
Hamden, CT 06518                          18274      11/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Tarno, Amy
8054 38th St. SE                                                RS Legacy Corporation fka RadioShack
Jamestown, ND 58401                       18275      11/25/2016 Corporation                                                    $100.00                                                                                          $100.00
Tory Anderson
505 W 54th St Apt 1210                                          RS Legacy Corporation fka RadioShack
New York, NY 10019                        18276      11/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Sanchez, Maria G.
50‐136 Goya Drive                                               RS Legacy Corporation fka RadioShack
Coachella, CA 92236                       18277      11/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Brad Hill
85 Country Garden Lane                                          RS Legacy Corporation fka RadioShack
Lander, WY 82520                          18278      11/25/2016 Corporation                                                      $0.00                                                                                            $0.00
John Bozek
205 Summerwind Lane                                             RS Legacy Corporation fka RadioShack
Harleysville, PA 19438                    18279      11/25/2016 Corporation                                                     $21.19                                                                                           $21.19
Juan Howe
1961 Lone Star RoadC‐11                                         RS Legacy Corporation fka RadioShack
Mansfield, TX 76063                       18280      11/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Jareth davis
W156n10966 catskill ln                                          RS Legacy Corporation fka RadioShack
Germantown, Wi 53022                      18281      11/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Tim Severyn
4196 Woodknoll Dr                                               RS Legacy Corporation fka RadioShack
Batavia, OH 45103                         18282      11/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Veronica Gaytan
13622 Taft St                                                   RS Legacy Corporation fka RadioShack
Garden Grove, Ca 92843                    18283      11/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Christal
1215 Spokane Drive                                              RS Legacy Corporation fka RadioShack
San Jose, California 95122                18284      11/25/2016 Corporation                                                    $500.00                                                                                          $500.00
john marchese
425 south main st.                                              RS Legacy Corporation fka RadioShack
poland, oh 44514                          18285      11/25/2016 Corporation                                                      $6.43                                                                                            $6.43




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Stephanie Erickson
1376 Danville Blvd.                                             RS Legacy Corporation fka RadioShack
Alamo, CA 94507                           18286      11/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Gary, Hilliard
7058 EIl RT 72 LOT 4                                            RS Legacy Corporation fka RadioShack
Stillman Valley, IL 61084                 18287      11/25/2016 Corporation                                                    $100.00                                                                                          $100.00
Allen Roth
280 First Ave 8H                                                RS Legacy Corporation fka RadioShack
New York, NY 10009                        18288      11/25/2016 Corporation                                                     $25.00                                                                                           $25.00
David Lee
5080 Muirwoods Ct.                                              RS Legacy Corporation fka RadioShack
Cincinnati, OH 45242                      18289      11/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Dave Lee
5080 Muirwoods Ct.                                              RS Legacy Corporation fka RadioShack
Cincinnati, OH 45242                      18290      11/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Josie Hernandez
3358 Victoria Ave                                               RS Legacy Corporation fka RadioShack
Santa Clara, CA 95051                     18291      11/26/2016 Corporation                                                     $13.68                                                                                           $13.68
Josie Hernandez
3358 Victoria Ave                                               RS Legacy Corporation fka RadioShack
Santa Clara, CA 95051                     18292      11/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Susan Messer
9641 E. Marquand Drive                                          RS Legacy Corporation fka RadioShack
Rochelle, Il 61068                        18293      11/26/2016 Corporation                                                     $30.00                                                                                           $30.00
Michael Bragg
15 Rivergate Drive                                              RS Legacy Corporation fka RadioShack
Wilton, CT 06897                          18294      11/26/2016 Corporation                                                    $600.00                                                                                          $600.00
dongyul lee
2215 s budlong ave                                              RS Legacy Corporation fka RadioShack
los angeles, ca 90007                     18295      11/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael Bragg
15 Rivergate Drive                                              RS Legacy Corporation fka RadioShack
Wilton, CT 06897                          18296      11/26/2016 Corporation                                                    $600.00                                                                                          $600.00
dongyul lee
2215 s budlong ave                                              RS Legacy Corporation fka RadioShack
los angeles, ca 90007                     18297      11/26/2016 Corporation                                                    $159.00                                                                                          $159.00
Michael Bragg
15 Rivergate Drive                                              RS Legacy Corporation fka RadioShack
Wilton, CT 06897                          18298      11/26/2016 Corporation                                                    $600.00                                                                                          $600.00
Michael Bragg
15 Rivergate Drive                                              RS Legacy Corporation fka RadioShack
Wilton, CT 06897                          18299      11/26/2016 Corporation                                                    $600.00                                                                                          $600.00
Brian Pflug
89 Horseneck Road                                               RS Legacy Corporation fka RadioShack
Montville, NJ 07045                       18300      11/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Adam Woolace
924 Shady Lane                                                  RS Legacy Corporation fka RadioShack
Fortuna, CA 95540                         18301      11/26/2016 Corporation                                                    $161.24                                                                                          $161.24
SCOTT KRAKOWER
5 clent rd APT1J                                                RS Legacy Corporation fka RadioShack
GREAT NECK, NY 11021                      18302      11/26/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Melissa Rios
1808 Brook Lane                                                 RS Legacy Corporation fka RadioShack
Kingsville, Tx 78363                      18303      11/26/2016 Corporation                                                      $0.00                                                                                            $0.00
sanjay nangia
16 Hastings Lane                                                RS Legacy Corporation fka RadioShack
Monroe, NJ 08831                          18304      11/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Raymundo ubillo
1306 iva. St                                                    RS Legacy Corporation fka RadioShack
Irving, Tx 75060                          18305      11/26/2016 Corporation                                                     $60.00                                                                                           $60.00
Jim Bell
443 County Route 12                                             RS Legacy Corporation fka RadioShack
Hudson, NY 12534                          18306      11/26/2016 Corporation                                                    $106.99                                                                                          $106.99
john perez
4903 sw 28th terrace                                            RS Legacy Corporation fka RadioShack
fort lauderdale, fl 33312                 18307      11/26/2016 Corporation                                                     $50.00                                                                                           $50.00
William Nix
711 Donny Brook Dr.                                             RS Legacy Corporation fka RadioShack
Wylie, Tx 75098                           18308      11/26/2016 Corporation                                                     $37.42                                                                                           $37.42
John Fulk
2566 South Pelzer Rd                                            RS Legacy Corporation fka RadioShack
Boonville, IN 47601                       18309      11/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Brett Brinckman
136 W 8th St                                                    RS Legacy Corporation fka RadioShack
Pennsburg, PA 18073                       18310      11/26/2016 Corporation                                                      $0.00                                                                                            $0.00
cindy wolfe
7158 S Watermill Way                                            RS Legacy Corporation fka RadioShack
Salt Lake City, UT 84121                  18311      11/26/2016 Corporation                                                     $58.77                                                                                           $58.77
Bryce Shashinka
134 New Street                                                  RS Legacy Corporation fka RadioShack
Shelton, CT 06484‐2324                    18312      11/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Jill Hiraizumi
17023 Steven Street                                             RS Legacy Corporation fka RadioShack
Gardena, CA 90247                         18313      11/26/2016 Corporation                                                     $12.00                                                                                           $12.00
Brian Le
7118 Intrepid Lane                                              RS Legacy Corporation fka RadioShack
Gaithersburg, MD 20879                    18314      11/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Sean Jackson
12342 16th Street                                               RS Legacy Corporation fka RadioShack
Yucaipa, Ca 92399                         18315      11/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Sean Jackson
12342 16th Street                                               RS Legacy Corporation fka RadioShack
Yucaipa, California 92399                 18316      11/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Liam Robinson
53 Ridgedale Ave                                                RS Legacy Corporation fka RadioShack
Morristown, NJ 07960                      18317      11/27/2016 Corporation                                                    $197.54                                                                                          $197.54
mankong che
1562 underwood ave.                                             RS Legacy Corporation fka RadioShack
san francisco, ca 94124                   18318      11/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Nadja joyce
30 Lowell st apt.2                                              RS Legacy Corporation fka RadioShack
Peabody, Ma 01960                         18319      11/27/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Nadja joyce
30 Lowell st apt. 30                                            RS Legacy Corporation fka RadioShack
Peabody, Ma 01960                         18320      11/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Suresh Naraharisetti
10605 Hillingdon road                                           RS Legacy Corporation fka RadioShack
Woodstock, MD 21163                       18321      11/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Andy guentz
3710 white bark ct                                              RS Legacy Corporation fka RadioShack
St louis, Mo 63129                        18322      11/27/2016 Corporation                                                     $35.11                                                                                           $35.11
Michele Nagel
7 Manville Lane                                                 RS Legacy Corporation fka RadioShack
Rockaway Point, NY 11697                  18323      11/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Adam Kramer
810 Pottsville Street                                           RS Legacy Corporation fka RadioShack
Lykens, PA 17048                          18324      11/27/2016 Corporation                                                     $24.58                                                                                           $24.58
Jennifer Kramer
810 Pottsville Street                                           RS Legacy Corporation fka RadioShack
Lykens, PA 17048                          18325      11/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Melissa Doff
9249 Nile Drive                                                 RS Legacy Corporation fka RadioShack
New Port Richey, FL 34655                 18326      11/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Peyman Hosseini
520 100th AVE SE APT 20                                         RS Legacy Corporation fka RadioShack
BELLEVUE, WA 98004                        18327      11/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Amol Kavatheka
16825 56th Ave N                                                RS Legacy Corporation fka RadioShack
Plymouth, MN 55446                        18328      11/28/2016 Corporation                                                      $0.00                                                                                            $0.00
david harrison
23370 Hayes                                                     RS Legacy Corporation fka RadioShack
taylor, mi 48180                          18329      11/28/2016 Corporation                                                     $17.46                                                                                           $17.46
Walerko, Frank
52480 Woodington Ct                                             RS Legacy Corporation fka RadioShack
Granger, IN 46530                         18330      11/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Tejeda, Juan
603 Academy Street
Apt #3D                                                         RS Legacy Corporation fka RadioShack
New York, NY 10034                        18331      11/28/2016 Corporation                                                     $50.00                                                                                           $50.00
Claim Docketed In Error                                         RS Legacy Corporation fka RadioShack
                                          18332      11/23/2016 Corporation                                                                                                                                                       $0.00
Kacie Adkins
1718 Coronado Trail                                             RS Legacy Corporation fka RadioShack
Corpus Christi, Tx 78410                  18333      11/28/2016 Corporation                                                     $50.00                                                                                           $50.00
Ben Hesse
102 N Fountain                                                  RS Legacy Corporation fka RadioShack
Wichita, KS 67208                         18334      11/28/2016 Corporation                                                    $100.00                                                                                          $100.00
Montenegro, Joanne
133 NE 2nd Ave
Apt #519                                                        RS Legacy Corporation fka RadioShack
Miami, FL 33132                           18335      11/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Johnson, Walter
2400 Abby Dr. #106                                              RS Legacy Corporation fka RadioShack
Kissimmee, FL 34741                       18336      11/28/2016 Corporation                                                      $0.00                                                                                            $0.00



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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Naraharisetti, Suresh
10605 Hillingdon road                                           RS Legacy Corporation fka RadioShack
Woodstock, MD 21163                       18337      11/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Johnston, Patricia K
6544 Willow Brooke Dr                                           RS Legacy Corporation fka RadioShack
Liberty Twp, OH 45011                     18338      11/27/2016 Corporation                                                     $25.00                                                                                           $25.00
Marlene Gissendaner
1602 Sussex lane N, Apt 5                                       RS Legacy Corporation fka RadioShack
Wilson, NC 27896                          18339      11/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Coakley, Edward
133 Primrose LA                                                 RS Legacy Corporation fka RadioShack
Naples, FL 34114                          18340      11/22/2016 Corporation                                                     $43.00                                                                                           $43.00
Naraharisetti, Suresh
10605 Hillingdon Road                                           RS Legacy Corporation fka RadioShack
Woodstock, MD 21163                       18341      11/27/2016 Corporation                                                     $50.34                                                                                           $50.34
Claim Docketed In Error                                         RS Legacy Corporation fka RadioShack
                                          18342       11/1/2016 Corporation                                                                                                                                                       $0.00
Claim Docketed In Error                                         RS Legacy Corporation fka RadioShack
                                          18343       11/1/2016 Corporation                                                                                                                                                       $0.00
England, Nathanael
18875 Witness Tree Lane                                         RS Legacy Corporation fka RadioShack
Chelsea, MI 48118                         18344      11/25/2016 Corporation                                                                                                                                                       $0.00
Yoshinaga, Sharyn
47‐018 A Hui Iwa Place                                          RS Legacy Corporation fka RadioShack
Kaneohe, HI 96744                         18345      11/25/2016 Corporation                                                     $60.00                                                                                           $60.00
Claim Docketed In Error                                         RS Legacy Corporation fka RadioShack
                                          18346      11/23/2016 Corporation                                                                                                                                                       $0.00
Jan Schaefer
4022 Russell blvd                                               RS Legacy Corporation fka RadioShack
st. Louis, mo 631110                      18347      11/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Karla Boxley
4801 Danube Ln
Appt # 221                                                      RS Legacy Corporation fka RadioShack
Durham, NC 27704                          18348      11/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Rebecca deRonde
48 Kingsley St                                                  RS Legacy Corporation fka RadioShack
West Orange, nj 07052                     18349      11/28/2016 Corporation                                                      $0.00                                                                                            $0.00
lokesh nagpal
2 smith st                                                      RS Legacy Corporation fka RadioShack
hicksville, ny 11801                      18350      11/28/2016 Corporation                                                    $108.00                                                                                          $108.00
Caddell, Randall Craig
1963 Dan Road                                                   RS Legacy Corporation fka RadioShack
Robbins, NC 27325                         18351      11/23/2016 Corporation                                                                                                                                                       $0.00
Kathleen Ball
1115 S. Alamo St. Unit 2201                                     RS Legacy Corporation fka RadioShack
San Antonio, TX 78210                     18352      11/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael McGuire
9532 Wessex Place                                               RS Legacy Corporation fka RadioShack
Louisville, KY 40222                      18353      11/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Stanford I. Hoohuli
91‐1032 Kanehili Street                                         RS Legacy Corporation fka RadioShack
Kapolei, Hawaii 96707                     18354      11/28/2016 Corporation                                                      $0.00                                                                                            $0.00



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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Alexis Stephens
193 Nacoochee Way                                               RS Legacy Corporation fka RadioShack
Canton, Ga 30114                          18355      11/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Brent Hogeland
4704 County Road 38                                             RS Legacy Corporation fka RadioShack
Hanceville, AL 35077                      18356      11/28/2016 Corporation                                                     $50.00                                                                                           $50.00
Hall, Ken
2325 Venn Avenue                                                RS Legacy Corporation fka RadioShack
San Jose, CA 95124                        18357      11/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Brinker, Alan
3567 Benton #439                                                RS Legacy Corporation fka RadioShack
Santa Clara, CA 95051                     18358      11/28/2016 Corporation                                                     $14.19                                                                                           $14.19
Rubio, Luz
7400 SW 146 Ave                                                 RS Legacy Corporation fka RadioShack
Miami, FL 33183                           18359      11/28/2016 Corporation                                                     $16.04                                                                                           $16.04
Matza, Sal L.
P.O. Box 141                                                    RS Legacy Corporation fka RadioShack
Mount Bethel, PA 18343                    18360      11/28/2016 Corporation                                                     $22.25                                                                                           $22.25
Greenfield, Joseph
720 Heritage Dr. N.E.                                           RS Legacy Corporation fka RadioShack
Winter Haven, FL 33881                    18361      11/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael Cavlovic
12214 Augusta Dr                                                RS Legacy Corporation fka RadioShack
Kansas City, KS 66109                     18362      11/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Cheryl McClure
1325 NE 70th Ave                                                RS Legacy Corporation fka RadioShack
Portland, OR 97213                        18363      11/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Steven Zhang
45 Pike St Apt 5A                                               RS Legacy Corporation fka RadioShack
New York, NY 10002                        18364      11/28/2016 Corporation                                                     $50.00                                                                                           $50.00
Steven Zhang
45 Pike St Apt 5A                                               RS Legacy Corporation fka RadioShack
New York, NY 10002                        18365      11/28/2016 Corporation                                                     $25.00                                                                                           $25.00
Joseph Cramasta
144 w 3Rd Ave                                                   RS Legacy Corporation fka RadioShack
Conshohocken, Pa 19428                    18366      11/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Steven Zhang
45 Pike St Apt 5A                                               RS Legacy Corporation fka RadioShack
New York, NY 10002                        18367      11/28/2016 Corporation                                                      $6.47                                                                                            $6.47
Shelby Woods
43427 SE 137th Pl                                               RS Legacy Corporation fka RadioShack
North Bend, WA 98045                      18368      11/28/2016 Corporation                                                     $13.53                                                                                           $13.53
Yuriy Rybalkin
810 Deerfield Dr. E.                                            RS Legacy Corporation fka RadioShack
Utica, NY 13502                           18369      11/29/2016 Corporation                                                     $50.00                                                                                           $50.00
Peter OCAMPO
222 N. PRIMROSE AVE                                             RS Legacy Corporation fka RadioShack
ALHAMBRA, CA 91801                        18370      11/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Bhavna Deshpande
5131 Trinity Park Dr                                            RS Legacy Corporation fka RadioShack
Alviso, CA 95002‐0662                     18371      11/29/2016 Corporation                                                     $65.00                                                                                           $65.00




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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Bhavna Deshpande
5131 Trinity Park Dr                                            RS Legacy Corporation fka RadioShack
Alviso, CA 95002‐0662                     18372      11/29/2016 Corporation                                                     $50.00                                                                                           $50.00
Deepak Deshpande
851 Cherry Ave Ste 27‐500                                       RS Legacy Corporation fka RadioShack
San Bruno, CA 94066                       18373      11/29/2016 Corporation                                                     $92.50                                                                                           $92.50
Deepak Deshpande
851 Cherry Ave Ste 27‐500                                       RS Legacy Corporation fka RadioShack
San Bruno, CA 94066                       18374      11/29/2016 Corporation                                                    $163.86                                                                                          $163.86
Christopher Hargroder
13350 Greenview Avenue                                          RS Legacy Corporation fka RadioShack
Baton Rouge, La 70816                     18375      11/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Sujan Maskey
1921 Sherry Ln #95                                              RS Legacy Corporation fka RadioShack
Santa Ana, CA 92705                       18376      11/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Allen, Shirley
Tower Loan                                                      RS Legacy Corporation fka RadioShack
McComb, MS 39667                          18377      11/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Michaelson, Lois
21500 Califa St. #93                                            RS Legacy Corporation fka RadioShack
Woodland Hills, CA 91367                  18378      11/29/2016 Corporation                                                     $35.99                                                                                           $35.99
Robin card
567 east lassen spc. 903                                        RS Legacy Corporation fka RadioShack
Chico, Ca 95973                           18379      11/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Cooley, Paula
650 Marlin Rd.                                                  RS Legacy Corporation fka RadioShack
Winter Springs, FL 32708                  18380      11/28/2016 Corporation                                                      $0.00                                                                                            $0.00
King, Robert
P.O. Box 300247                                                 RS Legacy Corporation fka RadioShack
Fern Park, FL 32730                       18381      11/28/2016 Corporation                                                     $52.99                                                                                           $52.99
Roma Heystek
8741 58th Way North                                             RS Legacy Corporation fka RadioShack
Pinellas Park, FL 33782                   18382      11/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Omer, Bareena
2226 Elks Run                                                   RS Legacy Corporation fka RadioShack
Toledo, OH 43617                          18383      11/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Leak, Steve
307 Hialeah Dr                                                  RS Legacy Corporation fka RadioShack
Cherry Hill, NJ 08002                     18384      11/28/2016 Corporation                                                     $21.00                                                                                           $21.00
Childrey, Joyce
2939 Sweetbriar Walk                                            RS Legacy Corporation fka RadioShack
Snellville, GA 30039‐5262                 18385      11/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Spence, Andrea
390 Fessner                                                     RS Legacy Corporation fka RadioShack
Carleton, MI 48117                        18386      11/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                         RS Legacy Corporation fka RadioShack
                                          18387      11/23/2016 Corporation                                                                                                                                                       $0.00
Claim Docketed In Error                                         RS Legacy Corporation fka RadioShack
                                          18388      11/23/2016 Corporation                                                                                                                                                       $0.00
Claim Docketed In Error                                         RS Legacy Corporation fka RadioShack
                                          18389      11/23/2016 Corporation                                                                                                                                                       $0.00




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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Meushaw, Robert V.
10621 Steamboat Landing                                         RS Legacy Corporation fka RadioShack
Columbia, MD 21044                        18390      11/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Kohlhagen, Janice
93 Maple Ave                                                    RS Legacy Corporation fka RadioShack
Cassadaga, NY 14718                       18391      11/28/2016 Corporation                                                     $25.00                                                                                           $25.00
Angello, Nanette
2695 Bryant Dr.                                                 RS Legacy Corporation fka RadioShack
Seaford, NY 11783                         18392      11/28/2016 Corporation                                                     $11.99                                                                                           $11.99
Reynolds, Marie
114 Hickory St                                                  RS Legacy Corporation fka RadioShack
Roswell, GA 30075                         18393      11/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                         RS Legacy Corporation fka RadioShack
                                          18394      11/23/2016 Corporation                                                                                                                                                       $0.00
Daffern, Lola
761 S. Imperial Ave                                             RS Legacy Corporation fka RadioShack
Brawley, CA 92227                         18395      11/29/2016 Corporation                                                     $39.41                                                                                           $39.41
Purcell, Lorraine
4846 Clear Spring Rd.                                           RS Legacy Corporation fka RadioShack
Minnetonka, MN 55345                      18396      11/29/2016 Corporation                                                      $0.00                                                                                            $0.00
McClure, Cheryl
1325 NE 70th Ave                                                RS Legacy Corporation fka RadioShack
Portland, OR 97213                        18397      11/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Bell, Janet
15789 Highway 66                                                RS Legacy Corporation fka RadioShack
Ashland, OR 97520                         18398      11/28/2016 Corporation                                                     $11.10                                                                                           $11.10
Claim Docketed In Error                                         RS Legacy Corporation fka RadioShack
                                          18399      11/28/2016 Corporation                                                                                                                                                       $0.00
McClure, Cheryl
1325 NE 70th Ave                                                RS Legacy Corporation fka RadioShack
Portland, OR 97213                        18400      11/28/2016 Corporation                                                      $0.00                                                                                            $0.00
FALANDE L ALBERT
10103 ARMANDO CIR                                               RS Legacy Corporation fka RadioShack
ORLANDO, FL 32825                         18401      11/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Ryan, Paul
402 N Norman Ave                                                RS Legacy Corporation fka RadioShack
Eveleth, MN 55734                         18402      11/28/2016 Corporation                                                     $25.00                                                                                           $25.00
Mercado Jr, Victor L.
6 Arch Ave #2                                                   RS Legacy Corporation fka RadioShack
Greensburg, PA 15601                      18403      11/28/2016 Corporation                                                     $74.19                                                                                           $74.19
Arlene Johnson
405 East 105th Street, Apartment 3H                             RS Legacy Corporation fka RadioShack
New York, NY 10029                        18404      11/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Omens, Josh
3887 Pell Pl Apt 124                                            RS Legacy Corporation fka RadioShack
San Diego, CA 92130                       18405      11/28/2016 Corporation                                                     $14.13                                                                                           $14.13
Kopacz, Lisa
6396 O'Connor Drive                                             RS Legacy Corporation fka RadioShack
Lockport, NY 14094                        18406      11/28/2016 Corporation                                                     $64.79                                                                                           $64.79
O'Connor, Leia
5203A Cline Rd.                                                 RS Legacy Corporation fka RadioShack
Kent, OH 44240                            18407      11/28/2016 Corporation                                                      $0.00                                                                                            $0.00



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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Wood, Gene
18567 Cajon Blvd.                                               RS Legacy Corporation fka RadioShack
San Bernardino, CA 92407                  18408      11/28/2016 Corporation                                                    $100.00                                                                                          $100.00
Mike OLeary
540 Malloy Court                                                RS Legacy Corporation fka RadioShack
Corona, CA 92880                          18409      11/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Bean, Christopher
180 Riding Trail Court                                          RS Legacy Corporation fka RadioShack
Roswell, GA 30075                         18410      11/28/2016 Corporation                                                     $20.00                                                                                           $20.00
Hemstreet, Barbara E.
3894 State Hwy 29                                               RS Legacy Corporation fka RadioShack
Johnstown, NY 12095‐4417                  18411      11/28/2016 Corporation                                                     $62.62                                                                                           $62.62
Stern, Richard M.
9791 N. La Reserve Pl.                                          RS Legacy Corporation fka RadioShack
Oro Valley, AZ 85737                      18412      11/28/2016 Corporation                                                     $40.86                                                                                           $40.86
Marosi, Thomas R
177 Sherwood Drive                                              RS Legacy Corporation fka RadioShack
Follansbee, WV 26037                      18413      11/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Paul X Watson Jr
3740 south Peggy lane                                           RS Legacy Corporation fka RadioShack
Tucson, AZ 85730                          18414      11/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Alex lom
885 chickadee dr                                                RS Legacy Corporation fka RadioShack
Port orange, Fl 32127                     18415      11/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Erica vega
1385 Stanwood dr apt 4                                          RS Legacy Corporation fka RadioShack
San Jose, Ca 95118                        18416      11/29/2016 Corporation                                                    $100.00                                                                                          $100.00
Terry Wuebbels
70 Sunset Dr.
Apt. B                                                          RS Legacy Corporation fka RadioShack
Highland, IL 62249                        18417      11/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Connie Ellison
106 White Loop Road                                             RS Legacy Corporation fka RadioShack
Clinton, TN 37716                         18418      11/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Victor ventura
4255 w viking rd apt.299                                        RS Legacy Corporation fka RadioShack
Las vegas, Nevada 89103                   18419      11/29/2016 Corporation                                                     $31.34                                                                                           $31.34
SPENCER L BURJA
712 W Limberlost Dr Unit 6                                      RS Legacy Corporation fka RadioShack
Tucson, AZ 85705                          18420      11/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Roland J. Pasion
PO Box 317                                                      RS Legacy Corporation fka RadioShack
La Canada, CA 91012‐0317                  18421      11/29/2016 Corporation                                                    $100.00                                                                                          $100.00
Ryan Honan
173 Noel dr                                                     RS Legacy Corporation fka RadioShack
Centereach, Ny 11720                      18422      11/29/2016 Corporation                                                     $25.00                                                                                           $25.00
Kenneth Hester
3616 agate dr                                                   RS Legacy Corporation fka RadioShack
Modesto, California 95356                 18423      11/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Jacob Bast
39930 whitewood rd m203                                         RS Legacy Corporation fka RadioShack
Temecula, California 92563                18424      11/29/2016 Corporation                                                     $26.99                                                                                           $26.99



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                                                                                                                   Current General                                            Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Amy Connelly
120 E Chestnut Hill Ave                                         RS Legacy Corporation fka RadioShack
Philadelphia, PA 19118                    18425      11/29/2016 Corporation                                                     $72.07                                                                                           $72.07
Sheila Emerick
6 Magnolia Place                                                RS Legacy Corporation fka RadioShack
Bethalto, IL 62010                        18426      11/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Christian Heidenreich
3767 Sulphur Spring Rd                                          RS Legacy Corporation fka RadioShack
Toledo, Ohio 43606                        18427      11/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Wesley Wright
20234 Broad Run ln                                              RS Legacy Corporation fka RadioShack
Richmond, Tx 77407                        18428      11/29/2016 Corporation                                                     $50.00                                                                                           $50.00
Paula Wilson
1 Iron Forge Rd                                                 RS Legacy Corporation fka RadioShack
Paxton, MA 01612                          18429      11/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Debbie Barajas
154 moss glen cir                                               RS Legacy Corporation fka RadioShack
SACRAMENTO, CA 95826                      18430      11/29/2016 Corporation                                                     $34.71                                                                                           $34.71
Edward Reiner
1 Pinewood Ave.                                                 RS Legacy Corporation fka RadioShack
Billerica, MA 01821                       18431      11/29/2016 Corporation                                                     $27.08                                                                                           $27.08
diane barry
431 SE 8th Avenue                                               RS Legacy Corporation fka RadioShack
Pompano Beach, Florida 33060              18432      11/29/2016 Corporation                                                     $75.00                                                                                           $75.00
Edward Reiner
1 Pinewood Ave.                                                 RS Legacy Corporation fka RadioShack
Billerica, MA 01821                       18433      11/29/2016 Corporation                                                     $27.92                                                                                           $27.92
Amy West
203 Dawson St                                                   RS Legacy Corporation fka RadioShack
Mason, OH 45040                           18434      11/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Sharon Dewitt
145 Hamilton dr                                                 RS Legacy Corporation fka RadioShack
Conway, Ma 01341                          18435      11/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Tom Lowder
4436 N. Monroe Ave.                                             RS Legacy Corporation fka RadioShack
Peoria Heights, IL 61616                  18436      11/29/2016 Corporation                                                     $50.00                                                                                           $50.00
Cherie Riley
84 Custer St                                                    RS Legacy Corporation fka RadioShack
Rockland, MA 02370                        18437      11/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Janet Jezek
33 Duke Drive                                                   RS Legacy Corporation fka RadioShack
Lake Worth, Florida 33460                 18438      11/29/2016 Corporation                                                     $26.49                                                                                           $26.49
Gregory Kachetur
229 East 85 Street #152                                         RS Legacy Corporation fka RadioShack
New York, NY 10028                        18439      11/29/2016 Corporation                                                     $15.00                                                                                           $15.00
R HORNING
4394 BRIARCLIFF DR.                                             RS Legacy Corporation fka RadioShack
TRAVERSE CITY, MI 49684                   18440      11/29/2016 Corporation                                                     $50.00                                                                                           $50.00
Jeff Scheckwitz
28 sterling hill road                                           RS Legacy Corporation fka RadioShack
lyme, ct 06371                            18441      11/29/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Debra Ballentine
1190 Locust St                                                  RS Legacy Corporation fka RadioShack
San Jose, CA 95110                        18442      11/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Gene Avilla
2870 E. Laura Lane Dr.                                          RS Legacy Corporation fka RadioShack
Sandy, UT 84092                           18443      11/29/2016 Corporation                                                     $32.03                                                                                           $32.03
Monica Youssef
2048 Ames st.                                                   RS Legacy Corporation fka RadioShack
Los angeles, Ca 90027                     18444      11/30/2016 Corporation                                                      $0.00                                                                                            $0.00
matthew haddon
492 princewood drive                                            RS Legacy Corporation fka RadioShack
deland, fl 32724                          18445      11/30/2016 Corporation                                                     $84.00                                                                                           $84.00
Claim Docketed In Error                                         RS Legacy Corporation fka RadioShack
                                          18446      11/26/2016 Corporation                                                                                                                                                       $0.00
janlyn Brooks
31 Night Rain Ct                                                RS Legacy Corporation fka RadioShack
The Woodlands, TX 77381                   18447      11/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Kaitlin Thompson
12899 217th Ave                                                 RS Legacy Corporation fka RadioShack
Elk River, MN 55330                       18448      11/30/2016 Corporation                                                      $0.00                                                                                            $0.00
David Hass
4073 Waltham Forest Drive                                       RS Legacy Corporation fka RadioShack
Tavares, FL 32778                         18449      11/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Rosalinda Reyna
151 Rosemary Hollow                                             RS Legacy Corporation fka RadioShack
Buda, Tx 78610                            18450      11/30/2016 Corporation                                                      $8.67                                                                                            $8.67
Patterson, Sherry
22385 Wallace Ave                                               RS Legacy Corporation fka RadioShack
Alliance, OH 44601                        18451      11/29/2016 Corporation                                                    $100.00                                                                                          $100.00
Leach, Chrystal G.
1459 Standiford Ave Sp#49                                       RS Legacy Corporation fka RadioShack
Modesto, CA 95350                         18452      11/29/2016 Corporation                                                                                                                                                       $0.00
McAlister Jr., Ernie
4098 Grizzard Rd.                                               RS Legacy Corporation fka RadioShack
Huntsville, AL 35810                      18453      11/29/2016 Corporation                                                    $100.00                                                                                          $100.00
Smith, Marilyn
6401 Belltree Ln.                                               RS Legacy Corporation fka RadioShack
Flint, MI 48504                           18454      11/29/2016 Corporation                                                     $47.69                                                                                           $47.69
Kiger, James
151 Alalani Street                                              RS Legacy Corporation fka RadioShack
Pukalani, HI 96768                        18455      11/29/2016 Corporation                                                     $88.53                                                                                           $88.53
Campers, Cheryl
361 Enterprise Dr.                                              RS Legacy Corporation fka RadioShack
Rohnert Park, CA 94928                    18456      11/29/2016 Corporation                                                                                                                                                       $0.00
Rucker, Jo Ellen
129 MacArthur St.                                               RS Legacy Corporation fka RadioShack
Richland, WA 99354                        18457      11/29/2016 Corporation                                                                                                                                                       $0.00
Rosemary Wielms
640 Gerald Ave                                                  RS Legacy Corporation fka RadioShack
63031, Mo Florissant                      18458      11/30/2016 Corporation                                                     $48.64                                                                                           $48.64




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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
McCoy, Carol
370 Bluebird Lane                                               RS Legacy Corporation fka RadioShack
Frankfort, KY 40601                       18459      11/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Lisa Kemper
2724 Wycliff Dr.                                                RS Legacy Corporation fka RadioShack
Farmington, MO 63640                      18460      11/30/2016 Corporation                                                     $37.26                                                                                           $37.26
Gill Solomon
41 Marianne Drive                                               RS Legacy Corporation fka RadioShack
Bridgewater, MA 02324                     18461      11/30/2016 Corporation                                                     $25.00                                                                                           $25.00
Suzanne Hoerning
1416 North Windsor Ave                                          RS Legacy Corporation fka RadioShack
Bay Shore, NY 11706                       18462      11/30/2016 Corporation                                                      $0.00                                                                                            $0.00
O'Loughlin, Phil
2418 Kelly St                                                   RS Legacy Corporation fka RadioShack
Hayward, CA 94541                         18463      11/23/2016 Corporation                                                                                                                                                       $0.00
VICKI WILLIS
592 MULBERRY ST                                                 RS Legacy Corporation fka RadioShack
BRIDGETON, NJ 08302                       18464      11/30/2016 Corporation                                                     $50.00                                                                                           $50.00
Dee Rister
19122 Cottonwood                                                RS Legacy Corporation fka RadioShack
Rio Hondo, TX 78583                       18465      11/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Mark Ameral
932 Aussie Ave                                                  RS Legacy Corporation fka RadioShack
Santa Rosa, CA 95407                      18466      11/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Dianne Reiken
Box 849                                                         RS Legacy Corporation fka RadioShack
Arma, KS 66712                            18467      11/30/2016 Corporation                                                     $20.00                                                                                           $20.00
Sharayah Boxdell
1800 Laguna Street #2                                           RS Legacy Corporation fka RadioShack
Concord, CA 94520                         18468      11/30/2016 Corporation                                                      $4.35                                                                                            $4.35
narjit arora
9253 stony creek lane                                           RS Legacy Corporation fka RadioShack
stockton, ca 95219                        18469      11/30/2016 Corporation                                                     $70.29                                                                                           $70.29
narjit arora
9253 stony creek lane                                           RS Legacy Corporation fka RadioShack
stockton, ca 95219                        18470      11/30/2016 Corporation                                                      $0.00                                                                                            $0.00
narjit arora
9253 stony creek lane                                           RS Legacy Corporation fka RadioShack
stockton, ca 95219                        18471      11/30/2016 Corporation                                                     $70.29                                                                                           $70.29
David Morse
10076 Dennison Ashtabula Rd.                                    RS Legacy Corporation fka RadioShack
Orwell, o 44076                           18472      11/30/2016 Corporation                                                     $25.00                                                                                           $25.00
Joe Light
7026 Sutherland Ave                                             RS Legacy Corporation fka RadioShack
St. Louis, MO 63109                       18473      11/30/2016 Corporation                                                      $0.00                                                                                            $0.00
christy brodt
17421 Forbes lane                                               RS Legacy Corporation fka RadioShack
huntington beach, ca 92649                18474      11/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Linda Martin
555 Stafford Ave                                                RS Legacy Corporation fka RadioShack
Erie, Pennsylvania 16508                  18475      11/30/2016 Corporation                                                     $31.79                                                                                           $31.79




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
James Park
203 N 205TH ST                                                  RS Legacy Corporation fka RadioShack
SHORELINE, WA 98133                       18476      11/30/2016 Corporation                                                     $25.00                                                                                           $25.00
mark mercado
29 blue jay dr                                                  RS Legacy Corporation fka RadioShack
clementon, nj 08021                       18477      11/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Stanford Loving
1257 Girard Ave                                                 RS Legacy Corporation fka RadioShack
Abington, PA 19001                        18478      11/30/2016 Corporation                                                      $0.00                                                                                            $0.00
vita mcwhorter
2917 E ASHBY DRIVE                                              RS Legacy Corporation fka RadioShack
St. George, Utah 84790                    18479      11/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Stanford Loving
1257 Girard Ave.                                                RS Legacy Corporation fka RadioShack
Abington, PA 19001                        18480      11/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Andrew Garcia
161 Lilac St.                                                  RS Legacy Corporation fka RadioShack
Browns Mills, NJ 08015                    18481      12/1/2016 Corporation                                                      $31.03                                                                                           $31.03
Terrilyn M Williams
224 Thelmar Lane                                               RS Legacy Corporation fka RadioShack
Portsmouth, VA 23701                      18482      12/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Elizabeth Boltz
7579 Masten Rd                                                 RS Legacy Corporation fka RadioShack
Coatesville, IN 46121                     18483      12/1/2016 Corporation                                                      $19.36                                                                                           $19.36
Robert Badeau
3497 Long Branch Trl                                           RS Legacy Corporation fka RadioShack
Suamico, WI 54313                         18484      12/1/2016 Corporation                                                       $0.00                                                                                            $0.00
James Choate III
5210 Canyon Crest Drive                                        RS Legacy Corporation fka RadioShack
San Ramon, California 94582               18485      12/1/2016 Corporation                                                      $50.00                                                                                           $50.00
Alan Shivtahal
6 Elsinore Avenue                                              RS Legacy Corporation fka RadioShack
Glen Cove, NY 11542                       18486      12/1/2016 Corporation                                                      $75.00                                                                                           $75.00
deborah endicott
2891 n. Lk. Pleasant rd.                                       RS Legacy Corporation fka RadioShack
Attica, Mi 48412                          18487      12/1/2016 Corporation                                                       $0.00                                                                                            $0.00
RAY BILLS
618 23RD ST NE                                                 RS Legacy Corporation fka RadioShack
ROCHESTER, MN 55906                       18488      12/1/2016 Corporation                                                     $100.89                                                                                          $100.89
January Morris
1245 W. Plymouth St                                            RS Legacy Corporation fka RadioShack
Bremen, IN 46506                          18489      12/1/2016 Corporation                                                      $50.00                                                                                           $50.00
Gramkowski, Edward
3050 Landmark Blvd Unit 1003                                   RS Legacy Corporation fka RadioShack
Palm Harbor, FL 34684                     18490      12/1/2016 Corporation                                                       $0.00                                                                                            $0.00
ANDRE DORSEY
240 WEST 64TH STREET                                           RS Legacy Corporation fka RadioShack
NEW YORK, NY 10023                        18491      12/1/2016 Corporation                                                     $210.00                                                                                          $210.00
Perry, Julie
1565 W Main St #208 PMB 135                                     RS Legacy Corporation fka RadioShack
Lewisville, TX 75067                      18492      11/30/2016 Corporation                                                                                                                                                       $0.00




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                                                                                                                   Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Ashby, Hollie
14227 Championship Lane                                         RS Legacy Corporation fka RadioShack
Houston, TX 77069                         18493      11/30/2016 Corporation                                                     $50.00                                                                                           $50.00
Hawkins‐Lodge, Dwayne
2905 General Meyer Ave                                          RS Legacy Corporation fka RadioShack
New Orleans, LA 70114‐3101                18494       12/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                         RS Legacy Corporation fka RadioShack
                                          18495      11/26/2016 Corporation                                                                                                                                                       $0.00
Murray, Janice
214 Farmington                                                 RS Legacy Corporation fka RadioShack
Jackson, TN 30385                         18496      12/1/2016 Corporation                                                      $87.79                                                                                           $87.79
Jarrett, Suzanne
110 West Packer Ave                                             RS Legacy Corporation fka RadioShack
Sayre, PA 18840                           18497      11/30/2016 Corporation                                                      $5.27                                                                                            $5.27
Angie Conway
35592 EW 1160                                                  RS Legacy Corporation fka RadioShack
Seminole, OK 74868                        18498      12/1/2016 Corporation                                                     $143.00                                                                                          $143.00
Matthew Koch
44 Cooper st.                                                  RS Legacy Corporation fka RadioShack
Stone Ridge, NY 12484                     18499      12/1/2016 Corporation                                                      $75.00                                                                                           $75.00
Donald J Volante
752 Cherry Valley Dr                                           RS Legacy Corporation fka RadioShack
Amherst, Ohio 44001                       18500      12/1/2016 Corporation                                                      $25.00                                                                                           $25.00
Arlene Diehl
24814 Red Oak                                                  RS Legacy Corporation fka RadioShack
Magnolia, TX 77355                        18501      12/1/2016 Corporation                                                      $21.64                                                                                           $21.64
McCoy, Carol
370 Bluebird Lane                                               RS Legacy Corporation fka RadioShack
Frankfort, KY 40601                       18502      11/30/2016 Corporation                                                                                                                                                       $0.00
McCoy, Carol
370 Bluebird Lane                                               RS Legacy Corporation fka RadioShack
Frankfort, KY 40601                       18503      11/30/2016 Corporation                                                                                                                                                       $0.00
M.E. Dudley=Clagett
679 Parish Dr, SW                                               RS Legacy Corporation fka RadioShack
Supply, NC 28462‐6066                     18504      11/29/2016 Corporation                                                                                                                                                       $0.00
McCoy, Carol
370 Bluebird Lane                                               RS Legacy Corporation fka RadioShack
Frankfort, KY 40601                       18505      11/30/2016 Corporation                                                                                                                                                       $0.00
Erika flores
5837 pickering ave apt 304                                     RS Legacy Corporation fka RadioShack
whittier, California 90601                18506      12/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Cynthia McNair
2313 Banyan Lake Circle                                        RS Legacy Corporation fka RadioShack
West Palm Beach, FL 33415                 18507      12/1/2016 Corporation                                                       $0.00                                                                                            $0.00
lovell burton
3935 e kerckhoff ave                                           RS Legacy Corporation fka RadioShack
fresno, ca 93702                          18508      12/1/2016 Corporation                                                     $700.00                                                                                          $700.00
Chris Gordon
109 South Gallaher View Road Suite 227                         RS Legacy Corporation fka RadioShack
Knoxville, TN 37919                       18509      12/1/2016 Corporation                                                       $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Ellie Jasso
10902 Sagewillow Ln                                            RS Legacy Corporation fka RadioShack
Houston, Texas 77089                      18510      12/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Bell Kuth
669 Kaniahe st                                                 RS Legacy Corporation fka RadioShack
wahiawa, hi 96786                         18511      12/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Tiffany Carson
472 Central Park West Apt 3B                                   RS Legacy Corporation fka RadioShack
New York, NY 10025                        18512      12/1/2016 Corporation                                                     $15.00                                                                                           $15.00
Steven Buttrick
3171 Creighton rd                                              RS Legacy Corporation fka RadioShack
Pensacola, Florida 32504                  18513      12/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Travis Waylon Smith
260 Lehmann Rd.                                                RS Legacy Corporation fka RadioShack
Roxie, MS. 39661                          18514      12/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Emanuel Moges
510 Silver spring ave                                          RS Legacy Corporation fka RadioShack
Silver spring, Maryalnd 20910             18515      12/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Vianna DiGristina
390 Hodsdon Road                                               RS Legacy Corporation fka RadioShack
Pownal, ME 04069                          18516      12/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Richard Guilmette
51 Florence Ave.                                               RS Legacy Corporation fka RadioShack
Lawrence, Mass 01841                      18517      12/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Richard Guilmette
51 Florence Ave                                                RS Legacy Corporation fka RadioShack
lawrence, Mass 01841                      18518      12/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Richard Guilmette
51 Florence Ave.                                               RS Legacy Corporation fka RadioShack
Lawrence, Mass 01841                      18519      12/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Richard Guilmette
51 Florence Ave.                                               RS Legacy Corporation fka RadioShack
lawrence, Mass 01841                      18520      12/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Richard Guilmette
51 Florence Ave.                                               RS Legacy Corporation fka RadioShack
Lawrence, Mass 01841                      18521      12/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Sorin Mihaltan
14956 Alexander St                                             RS Legacy Corporation fka RadioShack
Livonia, MI 48154                         18522      12/1/2016 Corporation                                                      $7.41                                                                                            $7.41
Michael Hawk
3518 Bay Dr                                                    RS Legacy Corporation fka RadioShack
Baltimore, Md 21220                       18523      12/1/2016 Corporation                                                     $36.76                                                                                           $36.76
Amanda Gonzales
2716 Vereda Rodiando                                           RS Legacy Corporation fka RadioShack
Santa Fe, NM 87505                        18524      12/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Muhammmed Rasheed
3209 Brighton Place Drive                                      RS Legacy Corporation fka RadioShack
Lexington, Kentucky 40509                 18525      12/1/2016 Corporation                                                      $0.00                                                                                            $0.00
Denise Jannetto
4009 Chelstead Way                                             RS Legacy Corporation fka RadioShack
Murrysville, PA 15668                     18526      12/1/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
TANYA CARUANA
2055 WABASH ST                                                 RS Legacy Corporation fka RadioShack
DETROIT, MI 48216                         18527      12/1/2016 Corporation                                                      $31.00                                                                                           $31.00
sandra soemardi
1742 wellington road                                           RS Legacy Corporation fka RadioShack
los angeles, ca 90019                     18528      12/1/2016 Corporation                                                     $200.00                                                                                          $200.00
Mostafa Ghous
25731 cloverfield ct.                                          RS Legacy Corporation fka RadioShack
Castro valley, Ca 94552                   18529      12/1/2016 Corporation                                                     $129.04                                                                                          $129.04
Lisa Kemper
2724 Wycliff Dr.                                               RS Legacy Corporation fka RadioShack
Farmington, MO 63640                      18530      12/1/2016 Corporation                                                      $37.26                                                                                           $37.26
Mostafa ghous
25731 cloverfield ct.                                          RS Legacy Corporation fka RadioShack
Castro valley, Ca 94552                   18531      12/1/2016 Corporation                                                      $25.32                                                                                           $25.32
Mostafa ghous
25731 cloverfield ct.                                          RS Legacy Corporation fka RadioShack
Castro valley, Ca 94552                   18532      12/1/2016 Corporation                                                      $22.02                                                                                           $22.02
James Broyles
845 South 4th street                                           RS Legacy Corporation fka RadioShack
Fresno, ca 93702                          18533      12/2/2016 Corporation                                                       $0.00                                                                                            $0.00
ROCCO A CONFORTIJR
55 GEORGIA STREET                                              RS Legacy Corporation fka RadioShack
EAST NORTHPORT, NY 11731                  18534      12/2/2016 Corporation                                                   $1,000.00                                                                                        $1,000.00
Taletha Clay
269 Monroe Lane                                                RS Legacy Corporation fka RadioShack
Cynthiana, KY 41031                       18535      12/2/2016 Corporation                                                       $0.00                                                                                            $0.00
Thomas Welch Jr
5055 Fox Creek North Apt 337                                    RS Legacy Corporation fka RadioShack
Clarkston, Mi 48346                       18536       12/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                         RS Legacy Corporation fka RadioShack
                                          18537      11/26/2016 Corporation                                                                                                                                                       $0.00
Nael, Shahandeh
13816 SE 95th St                                               RS Legacy Corporation fka RadioShack
Oklahoma City, OK 73165                   18538      12/1/2016 Corporation                                                      $42.02                                                                                           $42.02
Thomas Welch Jr
5055 Fox Creek North Apt 337                                   RS Legacy Corporation fka RadioShack
Clarkston, Mi 48346                       18539      12/2/2016 Corporation                                                       $0.00                                                                                            $0.00
Walker, Jeffrey J.
7241 Lakehurst Avenue                                          RS Legacy Corporation fka RadioShack
Dallas, TX 75230                          18540      12/1/2016 Corporation                                                      $94.38                                                                                           $94.38
Liang, Jin
58‐32 Clearview Expy                                           RS Legacy Corporation fka RadioShack
Bayside, NY 11364                         18541      12/2/2016 Corporation                                                                                                                                                        $0.00
Debora York
100 Hurricane Shores Rd                                        RS Legacy Corporation fka RadioShack
Scottsville, KY 42164                     18542      12/2/2016 Corporation                                                      $44.50                                                                                           $44.50
KRISTIE GARRETT
335 warden circle                                              RS Legacy Corporation fka RadioShack
wardensville, wv 26851                    18543      12/2/2016 Corporation                                                      $25.00                                                                                           $25.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
JOHN GIVENS
1605 E. 15th Steet                                             RS Legacy Corporation fka RadioShack
Long Beach, CA 90813‐2409                 18544      12/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Jennilee Summerville
2135 Queen Elizabeth Lane                                      RS Legacy Corporation fka RadioShack
Hope mills, NC 28348                      18545      12/2/2016 Corporation                                                     $10.00                                                                                           $10.00
Charlotte Baker
6336 Camel Rd                                                  RS Legacy Corporation fka RadioShack
Conesus, NY 14435                         18546      12/2/2016 Corporation                                                     $10.00                                                                                           $10.00
Jennilee Summerville
2135 Queen Elizabeth Lane                                      RS Legacy Corporation fka RadioShack
Hope mills, NC 28348                      18547      12/2/2016 Corporation                                                     $10.00                                                                                           $10.00
Adam Simmet
1645 Red Rock Road                                             RS Legacy Corporation fka RadioShack
St. Paul, MN 55119                        18548      12/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Charles Horn
447 S Grandview St. #301                                       RS Legacy Corporation fka RadioShack
Los Angeles, CA 90057                     18549      12/2/2016 Corporation                                                     $40.68                                                                                           $40.68
diane barry
431 SE 8th Avenue                                              RS Legacy Corporation fka RadioShack
Pompano Beach, Florida 33060              18550      12/2/2016 Corporation                                                     $75.00                                                                                           $75.00
diane barry
431 SE 8th Avenue                                              RS Legacy Corporation fka RadioShack
Pompano Beach, Florida 33060              18551      12/2/2016 Corporation                                                     $31.61                                                                                           $31.61
christina moles
2109 e 14th                                                    RS Legacy Corporation fka RadioShack
muncie, in 47302                          18552      12/2/2016 Corporation                                                    $500.00                                                                                          $500.00
Lucia Leung
3465 79th Ave Se                                               RS Legacy Corporation fka RadioShack
Mercer Island, WA 98040                   18553      12/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Lisa Coles
48 Laurelcrest Lane                                            RS Legacy Corporation fka RadioShack
Dallas Ga 30132, 30132 48 laurel          18554      12/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Elaine Shapowal
4040 Stump Rd                                                  RS Legacy Corporation fka RadioShack
Doylestown, PA 18902                      18555      12/2/2016 Corporation                                                     $69.90                                                                                           $69.90
Wayne Kenney
289 Ohio Hill Road                                             RS Legacy Corporation fka RadioShack
Fairfield, ME 04937                       18556      12/2/2016 Corporation                                                     $41.99                                                                                           $41.99
Robert E. King
30764 Via La Cresta                                            RS Legacy Corporation fka RadioShack
Rancho Palos Verdes, CA 90275             18557      12/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Gerald L. Miller
733 Beechwood Drive                                            RS Legacy Corporation fka RadioShack
Tipp City, OH 45371                       18558      12/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Baha M Alak
508 Dietrich Rd                                                RS Legacy Corporation fka RadioShack
Ballwin, MO 63021                         18559      12/2/2016 Corporation                                                      $0.00                                                                                            $0.00
DiChiacchio, Jacob
5739 Browntown Road                                            RS Legacy Corporation fka RadioShack
Chattanooga, TN 37415                     18560      12/2/2016 Corporation                                                     $50.00                                                                                           $50.00




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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Alex Liebig
6 Red Fawn CT                                                  RS Legacy Corporation fka RadioShack
Henderson, Nevada 89074                   18561      12/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Susan Connery
20 Carrie Brown Avenue                                         RS Legacy Corporation fka RadioShack
Warwick, Rhode Island 02888               18562      12/2/2016 Corporation                                                     $11.71                                                                                           $11.71
DiChiacchio, Jacob
5739 Browntown Road                                            RS Legacy Corporation fka RadioShack
Chattanooga, TN 37415                     18563      12/2/2016 Corporation                                                     $50.00                                                                                           $50.00
Carpenter, Frank or Beverly
6017 Hill‐N‐Dale Dr.                                           RS Legacy Corporation fka RadioShack
Kernersville, NC 27284                    18564      12/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Martinez, Yliana
1051 Weizmann St.                                              RS Legacy Corporation fka RadioShack
San Antonio, TX 78213                     18565      12/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Bridget Provost
13515 S. LeClaire # 49                                         RS Legacy Corporation fka RadioShack
Crestwood, IL 60445                       18566      12/2/2016 Corporation                                                     $59.52                                                                                           $59.52
Bri Julian
2816 6th Ave Apt 510                                           RS Legacy Corporation fka RadioShack
Dodge City, KS 67801                      18567      12/2/2016 Corporation                                                      $0.00                                                                                            $0.00
paul doherty
109 wakefield st                                               RS Legacy Corporation fka RadioShack
reading, mass 01867                       18568      12/2/2016 Corporation                                                     $50.00                                                                                           $50.00
panna Arora
8745 Olcott Ave                                                RS Legacy Corporation fka RadioShack
Niles,, Il 60714                          18569      12/2/2016 Corporation                                                     $55.00                                                                                           $55.00
Margaret helkowski
43 ramblewood drive                                            RS Legacy Corporation fka RadioShack
Wilmington, DE 19810                      18570      12/2/2016 Corporation                                                     $30.01                                                                                           $30.01
Tia Adams
5 Cypress Cove Road                                            RS Legacy Corporation fka RadioShack
Columbia, SC 29229                        18571      12/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Vickie Sullivan
662 Camark Ave                                                 RS Legacy Corporation fka RadioShack
Camden, Ar 71701                          18572      12/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael Bragg
15 Rivergate Drive                                             RS Legacy Corporation fka RadioShack
Wilton, CT 06897                          18573      12/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Michael Bragg
15 Rivergate Drive                                             RS Legacy Corporation fka RadioShack
Wilton, CT 06897‐4135                     18574      12/2/2016 Corporation                                                    $600.00                                                                                          $600.00
STACEY DE HOYOS
8105 CALGARY DRIVE                                             RS Legacy Corporation fka RadioShack
CORPUS CHRISTI, TX 78414                  18575      12/2/2016 Corporation                                                    $108.22                                                                                          $108.22
Connie Romine
10 Thunder Gulch                                               RS Legacy Corporation fka RadioShack
Newark, DE 19702                          18576      12/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Karen Obunge
607 Lisbon ave                                                 RS Legacy Corporation fka RadioShack
Buffalo, N.Y. 14215                       18577      12/2/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Lynn Melancon
284 Smoky Court                                                RS Legacy Corporation fka RadioShack
Bourg, La 70343                           18578      12/2/2016 Corporation                                                      $0.00                                                                                            $0.00
michael J Digirolamo
89 Lovall ave                                                  RS Legacy Corporation fka RadioShack
Jamestown, ny 14701                       18579      12/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Lorraine Brown
1008 Bruce Lane                                                RS Legacy Corporation fka RadioShack
Schenectady, NY 12303                     18580      12/2/2016 Corporation                                                     $18.35                                                                                           $18.35
Sue Kelly
170 Pizarro ave                                                RS Legacy Corporation fka RadioShack
Novato, ca 94949                          18581      12/2/2016 Corporation                                                     $43.29                                                                                           $43.29
Ryan Tarabocchia
18 Forest Ave                                                  RS Legacy Corporation fka RadioShack
Old Tappan, NJ 07675                      18582      12/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Tom Beckhard
120 Coral Rose                                                 RS Legacy Corporation fka RadioShack
Irvine, CA 92603                          18583      12/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Tom Beckhard
120 Coral Rose                                                 RS Legacy Corporation fka RadioShack
Irvine, CA 92603                          18584      12/2/2016 Corporation                                                      $0.00                                                                                            $0.00
Barbara Kortokrax
121 Henderlong Parkway                                         RS Legacy Corporation fka RadioShack
Crown Point/46307, 46307 121 Hender       18585      12/2/2016 Corporation                                                     $13.92                                                                                           $13.92
George sickenberger
4056 olive ave                                                 RS Legacy Corporation fka RadioShack
SSarasota, Fl 34231                       18586      12/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Aqiq Khan
8103 Golden Trace Court                                        RS Legacy Corporation fka RadioShack
Houston, Tx 77083                         18587      12/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Aqiq Khan
8103 Golden Trace Court                                        RS Legacy Corporation fka RadioShack
Houston, Tx 77083                         18588      12/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Pamela Aquino
910 E. Juanita Avenue                                          RS Legacy Corporation fka RadioShack
Glendora, CA 91740                        18589      12/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Amy Peil
6 Sibelius Ct                                                  RS Legacy Corporation fka RadioShack
Lake Oswego, OR 97035                     18590      12/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Deborah S. Hubbard
1824 Route 9G Lot H6                                           RS Legacy Corporation fka RadioShack
Staatsburg, NY 12580                      18591      12/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Frank warren
449 County rd                                                  RS Legacy Corporation fka RadioShack
Pocasset, Ma 02559                        18592      12/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Kim Dipietrantonio
109 forest road                                                RS Legacy Corporation fka RadioShack
Weirton, Wv 26062                         18593      12/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Maria naranjo
38 tappan ave                                                  RS Legacy Corporation fka RadioShack
Belleville, Nj 07109 L                    18594      12/3/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Taylor McClure
196 Brucemont Cir. Apt 4                                       RS Legacy Corporation fka RadioShack
Asheville, North Carolina 28806           18595      12/3/2016 Corporation                                                      $0.00                                                                                            $0.00
Taylor McClure
196 Brucemont Cir. Apt 4                                       RS Legacy Corporation fka RadioShack
Asheville, North Carolina 28806           18596      12/3/2016 Corporation                                                      $0.00                                                                                            $0.00
patrick pandya
3402 Aylesford Lane                                            RS Legacy Corporation fka RadioShack
Indianapolis, IN 46228                    18597      12/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Jonathan Norman
4502 Ben Ave                                                   RS Legacy Corporation fka RadioShack
Valley Village, CA 91607                  18598      12/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Finn Norman
4502 Ben Ave                                                   RS Legacy Corporation fka RadioShack
Valley Village, CA 91607                  18599      12/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Liv Norman
4502 Ben Ave                                                   RS Legacy Corporation fka RadioShack
Valley Village, CA 91607                  18600      12/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Kai Norman
4502 Ben Ave                                                   RS Legacy Corporation fka RadioShack
Valley Village, CA 91607                  18601      12/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Louise Norman
4502 Ben Ave                                                   RS Legacy Corporation fka RadioShack
Valley Village, CA 91607                  18602      12/4/2016 Corporation                                                      $0.00                                                                                            $0.00
jim salvatore
salvatja@hotmail.com                                           RS Legacy Corporation fka RadioShack
sutton, ma 01590                          18603      12/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Rich Brockway
307 Maryland Ave                                               RS Legacy Corporation fka RadioShack
Clarksburg, WV 26301                      18604      12/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Scott Wilson
325 Madeline way                                               RS Legacy Corporation fka RadioShack
Temple, Ga 30179                          18605      12/4/2016 Corporation                                                      $0.00                                                                                            $0.00
Weisbarth, Richard
808 Sabine Trail                                               RS Legacy Corporation fka RadioShack
Mansfield, TX 76063                       18606      12/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Donofrio, Eleanore F.
3042 Elm St.                                                   RS Legacy Corporation fka RadioShack
Weirton, WV 26062                         18607      12/5/2016 Corporation                                                     $42.39                                                                                           $42.39
Salazar, Gloria A.
16900 North Bay Road                                           RS Legacy Corporation fka RadioShack
Sunny Isles Beach, FL 33160               18608      12/5/2016 Corporation                                                     $64.19                                                                                           $64.19
Elliott, Darryl Frank
P.O. Box 26258                                                 RS Legacy Corporation fka RadioShack
Philadelphia, PA 19141                    18609      12/5/2016 Corporation                                                    $180.19                                                                                          $180.19
Stoltzfoos, Levi
P.O. Box #5                                                    RS Legacy Corporation fka RadioShack
Robesonia, PA 19551                       18610      12/5/2016 Corporation                                                      $7.28                                                                                            $7.28
Stultzfuos, Levi
P.O. Box #5                                                    RS Legacy Corporation fka RadioShack
Robesonia, PA 19551                       18611      12/5/2016 Corporation                                                    $250.00                                                                                          $250.00




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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Rios, Christopher
9383 Furnace Gulch Ave                                         RS Legacy Corporation fka RadioShack
Las Vegas, NV 89178                       18612      12/5/2016 Corporation                                                       $0.00                                                                                            $0.00
Jenkins, Will
3721 Double Rock Lane                                          RS Legacy Corporation fka RadioShack
Baltimore, MD 21234                       18613      12/5/2016 Corporation                                                      $20.00                                                                                           $20.00
Caryn L Morgan
580 Flatbush Ave #2H                                           RS Legacy Corporation fka RadioShack
Brooklyn, NY 11225                        18614      12/5/2016 Corporation                                                       $0.00                                                                                            $0.00
Anderson, David
14593 US2                                                      RS Legacy Corporation fka RadioShack
Bagley, MN 56621                          18615      12/2/2016 Corporation                                                     $100.00                                                                                          $100.00
Kertis, Drew
22 Firelands Blvd                                              RS Legacy Corporation fka RadioShack
Norwalk, OH 44857                         18616      12/2/2016 Corporation                                                      $18.43                                                                                           $18.43
Richard Guilmette
51 Florence Ave.                                               RS Legacy Corporation fka RadioShack
Lawrence, Mass 01841                      18617      12/5/2016 Corporation                                                       $0.00                                                                                            $0.00
Austin, Carolyn
1 Dune Lane                                                    RS Legacy Corporation fka RadioShack
Hilton Head Island, SC 29928              18618      12/2/2016 Corporation                                                       $0.00                                                                                            $0.00
Koch, Randy
2026 N. Wolcott Avenue                                         RS Legacy Corporation fka RadioShack
Chicago, IL 60614                         18619      12/3/2016 Corporation                                                       $0.00                                                                                            $0.00
Guilmette, Richard
51 Florence Ave                                                RS Legacy Corporation fka RadioShack
Lawrence, MA 01841                        18620      12/2/2016 Corporation                                                                                                                                                        $0.00
English, Myron D.
3623 W. Beach Dr.                                              RS Legacy Corporation fka RadioShack
Oak Island, NC 28465                      18621      12/3/2016 Corporation                                                       $0.00                                                                                            $0.00
Leslie, Jeff
310 Cornwall Road                                              RS Legacy Corporation fka RadioShack
Wilmington, DE 19803                      18622      12/2/2016 Corporation                                                                                                                                                        $0.00
Stillman, Matthew
2279 Mark road                                                 RS Legacy Corporation fka RadioShack
Yorktown Heights, NY 10598                18623      12/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Katsaounis, Maria A.
250 West South Street                                          RS Legacy Corporation fka RadioShack
Carlisle, PA 17013                        18624      12/1/2016 Corporation                                                      $40.25                                                                                           $40.25
Soulanille, Paul
325 South Grand Avenue                                         RS Legacy Corporation fka RadioShack
Pasadena, CA 91105                        18625      12/1/2016 Corporation                                                      $50.00                                                                                           $50.00
Hunt, LaWanda
2010 Timbers Hill Rd Apt H                                     RS Legacy Corporation fka RadioShack
N. Chesterfield, VA 23235                 18626      12/2/2016 Corporation                                                      $20.99                                                                                           $20.99
Cox, Dianna
42 Viola St                                                     RS Legacy Corporation fka RadioShack
Altamont, TN 37301                        18627      11/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Monica sauceda
6387 kori. Cot                                                 RS Legacy Corporation fka RadioShack
Riverside, Ca 92509                       18628      12/6/2016 Corporation                                                       $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Stanford Loving
1257 Girard Ave                                                RS Legacy Corporation fka RadioShack
Abington, PA 19001                        18629      12/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Nickerson, William
PO Box 20457                                                   RS Legacy Corporation fka RadioShack
Reno, NV 89515                            18630      12/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Smith, Burleigh M.
5915 Cherokee Dr.                                              RS Legacy Corporation fka RadioShack
Fairway, KS 66205                         18631      12/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Colon, Jose
163 Hamilton Street                                            RS Legacy Corporation fka RadioShack
Saugus, MA 01906                          18632      12/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Burke, Debra E.
P.O. Box 200582                                                RS Legacy Corporation fka RadioShack
Roxbury, MA 02120                         18633      12/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Whelly, David Kevin
79 King Georges Rd
Toronto, ON M8X 1M1                                            RS Legacy Corporation fka RadioShack
Canada                                    18634      12/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Gaylor, Shelita
330 Devon Rd                                                   RS Legacy Corporation fka RadioShack
LaPlace, LA 70068                         18635      12/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Dorsey, Andre
240 West 64th Street
Apt. 1A                                                        RS Legacy Corporation fka RadioShack
New York, NY 10023                        18636      12/5/2016 Corporation                                                      $0.00                                                                                            $0.00
Wilbur Lauderback
7400 Wads
e
Wade Park #1118
7400 Wade Park #1118                                           RS Legacy Corporation fka RadioShack
Cleveland, Ohio 44103                     18637      12/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Wade, Kim
74 South Chesterfield Rd                                       RS Legacy Corporation fka RadioShack
Williamsburg, MA 01096                    18638      12/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Wade, Kim
74 South Chesterfield Rd                                       RS Legacy Corporation fka RadioShack
Williamsburg, MA 01096                    18639      12/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Dunnion, Kay
3701 Cameo Lane                                                RS Legacy Corporation fka RadioShack
San Diego, CA 92111                       18640      12/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Endress, Mark
5262 Lesh Street                                               RS Legacy Corporation fka RadioShack
Louisville, OH 44641                      18641      12/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Wade, Kim
74 South Chesterfield Rd                                       RS Legacy Corporation fka RadioShack
Williamsburg, MA 01096                    18642      12/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Sari Schwartz
2600 netherland avenue #1809                                   RS Legacy Corporation fka RadioShack
Bronx, NY 10463                           18643      12/6/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Nicholas Bryan
PO Box 197                                                     RS Legacy Corporation fka RadioShack
Damascus, Oh 44619                        18644      12/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Nicholas Bryan
PO Box 197                                                     RS Legacy Corporation fka RadioShack
Damascus, Ohio 44619                      18645      12/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Tillman, Charnae
221 Upper Riverdale Rd #12K                                    RS Legacy Corporation fka RadioShack
Jonesboro, GA 30236                       18646      12/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Stoltzfoos, Levi
P.O. Box #5                                                    RS Legacy Corporation fka RadioShack
Robesonia, PA 19551                       18647      12/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Kurtz, Kevin
558 Dalen Ave                                                  RS Legacy Corporation fka RadioShack
San Diego, CA 92122                       18648      12/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Loving, Stanford
1257 Girard Ave                                                RS Legacy Corporation fka RadioShack
Abington, PA 19001                        18649      12/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Brinker, Paul C
8177 Big Hand Road                                             RS Legacy Corporation fka RadioShack
Columbus, MI 48063                        18650      12/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Stoltzfoos, Levi
P.O. Box #5                                                    RS Legacy Corporation fka RadioShack
Robesonia, PA 19551                       18651      12/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Jacquemart, Kathy
420‐64th Ave #1202E                                            RS Legacy Corporation fka RadioShack
St. Pete Beach, FL 33706                  18652      12/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Barton, Jo‐Ann
24 Fernwood Court                                              RS Legacy Corporation fka RadioShack
Clifton, NJ 07011                         18653      12/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Armstrong, Lynette
P.O. Box 490352                                                RS Legacy Corporation fka RadioShack
Atlanta, GA 30349                         18654      12/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Shapowal, Elaine
4040 Stump Rd                                                  RS Legacy Corporation fka RadioShack
Doylestown, PA 18902                      18655      12/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Nakabe, Shig
55 Knight Drive                                                RS Legacy Corporation fka RadioShack
San Rafael, CA 94901                      18656      12/6/2016 Corporation                                                      $0.00                                                                                            $0.00
Bair, Jack
1605 W Wilshire Blvd                                           RS Legacy Corporation fka RadioShack
Nichols Hills, OK 73116                   18657      12/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          18658      12/7/2016 Corporation                                                                                                                                                       $0.00
Wright, Secnobia
13610 Wileywood Dr.                                            RS Legacy Corporation fka RadioShack
Houston, TX 77049                         18659      12/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Bair, Jack
1605 W Wilshire Blvd                                           RS Legacy Corporation fka RadioShack
Nichols Hills, OK 73116                   18660      12/7/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Rikki Cutsforth
7826 SE 36th Ave                                               RS Legacy Corporation fka RadioShack
Portland, OR 97202                        18661      12/7/2016 Corporation                                                      $0.00                                                                                            $0.00
ANTON SORKIN
7920 PORT CHARLES COURT                                        RS Legacy Corporation fka RadioShack
LAS VEGAS, NV 89149                       18662      12/7/2016 Corporation                                                      $0.00                                                                                            $0.00
Bob Fischella
6219 E. Via De La Yerba                                        RS Legacy Corporation fka RadioShack
Tucson, AZ 85750‐1150                     18663      12/7/2016 Corporation                                                      $0.00                                                                                            $0.00
jamie arratia
13040 sw 106 street                                            RS Legacy Corporation fka RadioShack
miami, fl 33186                           18664      12/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Wise, Stephen
905 North 19th Avenue                                          RS Legacy Corporation fka RadioShack
Ozark, MO 65721                           18665      12/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          18666      12/8/2016 Corporation                                                                                                                                                       $0.00
Wise, Stephen
905 North 19th Avenue                                          RS Legacy Corporation fka RadioShack
Ozark, MO 65721                           18667      12/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Wise, Stephen
905 North 19th Avenue                                          RS Legacy Corporation fka RadioShack
Ozark, MO 65721                           18668      12/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Wise, Stephen
905 North 19th Avenue                                          RS Legacy Corporation fka RadioShack
Ozark, MO 65721                           18669      12/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Wise, Stephen
905 North 19th Avenue                                          RS Legacy Corporation fka RadioShack
Ozark, MO 65721                           18670      12/8/2016 Corporation                                                      $0.00                                                                                            $0.00
Becky Willoughby
6012 West 17th Ave                                             RS Legacy Corporation fka RadioShack
Kennewick, Washington 99338               18671      12/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Becky Willoughby
6012 West 17th Ave                                             RS Legacy Corporation fka RadioShack
Kennewick, Washington 99338               18672      12/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Rafaela Charles
3322 Bishop Park Dr
#621                                                           RS Legacy Corporation fka RadioShack
Winter PArk, FL 32792                     18673      12/9/2016 Corporation                                                      $0.00                                                                                            $0.00
Donato, Jodi
c/o Law Offices of Salomone & Morelli
Attn: Keith J. Currier, Esq.
100 Farmington Avenue                                          RS Legacy Corporation fka RadioShack
Hartford, CT 06105                        18674      10/3/2016 Corporation                                               $225,000.00                                                                                       $225,000.00
Donato, Jakoby
c/o Law Offices of Salomone & Morelli
Attn: Keith J. Currier, Esq.
100 Farmington Avenue                                          RS Legacy Corporation fka RadioShack
Hartford, CT 06105                        18675      10/3/2016 Corporation                                                  $2,500.00                                                                                        $2,500.00




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                                                                                                                   Current General                                            Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Donato, Jace
c/o Law Offices of Salomone & Morelli
Attn: Keith J. Currier, Esq.
100 Farmington Avenue                                          RS Legacy Corporation fka RadioShack
Hartford, CT 06105                        18676      10/3/2016 Corporation                                                   $2,500.00                                                                                        $2,500.00
Eric Piland
4410 8th Ave N                                                  RS Legacy Corporation fka RadioShack
St. Petersburg, FL 33713                  18677      12/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Meghan Quigley
569 Franklin Street                                             RS Legacy Corporation fka RadioShack
Melrose, MQ 02176                         18678      12/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Emanuel Castillo
1850 South Capitol Ave                                          RS Legacy Corporation fka RadioShack
San Jose, CA 95127                        18679      12/10/2016 Corporation                                                      $0.00                                                                                            $0.00
Jennifer Davis
2559 Mallard Dr                                                 RS Legacy Corporation fka RadioShack
Woodbury, MN 55125                        18680      12/10/2016 Corporation                                                      $0.00                                                                                            $0.00
David Peters
PO Box 171062                                                   RS Legacy Corporation fka RadioShack
Nashville, TN 37217                       18681      12/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Mary Moore
128 East 7th. St.                                               RS Legacy Corporation fka RadioShack
Leadville, CO 80461                       18682      12/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Megan Smith
711 Concordia St.                                               RS Legacy Corporation fka RadioShack
Baton Rouge, LA 70806                     18683      12/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Cynthia Camp
10907 Pinocchio                                                 RS Legacy Corporation fka RadioShack
Dallas, Tx 75229                          18684      12/11/2016 Corporation                                                      $0.00                                                                                            $0.00
Holly Mauldin
PO box 44144                                                    RS Legacy Corporation fka RadioShack
Tacoma, Washington 98448                  18685      12/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Doug Kisner
1288 NW 170th Ave                                               RS Legacy Corporation fka RadioShack
Pembroke Pines, Florida 33028             18686      12/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Christopher Robbins
40 Foster Howard Rd                                             RS Legacy Corporation fka RadioShack
Pocasset, Massachusetts 02559             18687      12/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Wise, Stephen
905 North 19th Avenue                                           RS Legacy Corporation fka RadioShack
Ozark, MO 65721                           18688      12/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Wise, Stephen
905 North 19th Avenue                                           RS Legacy Corporation fka RadioShack
Ozark, MO                                 18689      12/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Wise, Stephen
905 North 19th Avenue                                           RS Legacy Corporation fka RadioShack
Ozark, MO 65721                           18690      12/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Mooney, Jaimee
640 Blue Ridge Rd                                               RS Legacy Corporation fka RadioShack
Saylorsburg, PA 18353                     18691      12/12/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                   Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Chaban, Sue
P.O. Box 3194                                                   RS Legacy Corporation fka RadioShack
Carmichael, CA 95609                      18692      12/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Archer, Sheryl
16558 SE 19 St.                                                 RS Legacy Corporation fka RadioShack
Bellevue, WA 98008                        18693      12/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Wise, Stephen
905 North 19th Avenue                                           RS Legacy Corporation fka RadioShack
Ozark, MO 65721                           18694      12/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Wise, Stephen
905 North 19th Avenue                                           RS Legacy Corporation fka RadioShack
Ozark, MO 65721                           18695      12/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Wise, Stephen
905 North 19th Avenue                                           RS Legacy Corporation fka RadioShack
Ozark, MO 65721                           18696      12/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Brenner, Karen
353 E. 72 Street #14A                                           RS Legacy Corporation fka RadioShack
New York, NY 10021                        18697      12/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Powell, Barbara
178 Charter Circle                                              RS Legacy Corporation fka RadioShack
Ossining, NY 10562                        18698      12/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Wince, Mark A
477 Skippack Creek Rd.                                          RS Legacy Corporation fka RadioShack
Collegeville, PA 19426                    18699      12/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Grossman, Suzanne
P.O. Box 408
Grand Central Station                                           RS Legacy Corporation fka RadioShack
New York, NY 10163‐0408                   18700      12/12/2016 Corporation                                                      $0.00                                                                                            $0.00
Vanessa Torres
705 Holston River Court, Apt I                                  RS Legacy Corporation fka RadioShack
Chesapeake, VA 23320                      18701      12/12/2016 Corporation                                                      $0.00                                                                                            $0.00
James Azarowicz
70 Forest Ave                                                   RS Legacy Corporation fka RadioShack
Verona, NJ 07044                          18702      12/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Wilson, Jane
5710 Summerfield Lane                                           RS Legacy Corporation fka RadioShack
Spring, TX 77379                          18703      12/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Varner, Judith
1990 Armstrong Drive                                            RS Legacy Corporation fka RadioShack
Lansdale, PA 19446                        18704      12/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Kaenkumchorn, Chayani
3030 Spring Green Drive                                         RS Legacy Corporation fka RadioShack
Darien, IL 60561                          18705      12/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Tad Rogers
10351 E. 28th Place                                             RS Legacy Corporation fka RadioShack
Denver, CO 80238                          18706      12/13/2016 Corporation                                                      $0.00                                                                                            $0.00
duong nguyen
49 bicknell st                                                  RS Legacy Corporation fka RadioShack
quincy, ma 02169                          18707      12/13/2016 Corporation                                                      $0.00                                                                                            $0.00
duong nguyen
49 bicknell st                                                  RS Legacy Corporation fka RadioShack
quincy, ma 02169                          18708      12/13/2016 Corporation                                                      $0.00                                                                                            $0.00



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            Creditor Name and Address          Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                     Amount
Gilbert Cano
24727 Dutton Point Dr                                                 RS Legacy Corporation fka RadioShack
Katy, TX 77493                                  18709      12/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Hsu, Joyce
2430 Flintwood Dr.                                                    RS Legacy Corporation fka RadioShack
Rowland Heights, CA 91748                       18710      12/14/2016 Corporation                                                      $0.00                                                                                            $0.00
Wright, Robert
286 North 15th St.                                                    RS Legacy Corporation fka RadioShack
San Jose, CA 95112                              18711      12/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Hymel, Cecil
503 Oak Manor Dr.                                                     RS Legacy Corporation fka RadioShack
New Iberia, LA 70563                            18712      12/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Kim, Sandra
P O Box 23390                                                         RS Legacy Corporation fka RadioShack
Honolulu, HI 96823                              18713      12/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Wauldron, Barbara
15870 Reedmere Ave.                                                   RS Legacy Corporation fka RadioShack
Beverly Hills, MI 48025                         18714      12/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Matarese, Linda B.
801 15th St. South
#1405                                                                 RS Legacy Corporation fka RadioShack
Arlington, VA 22202                             18715      12/13/2016 Corporation                                                      $0.00                                                                                            $0.00
Winterrowd, Joe
P.O. Box 182
306 Wallace Street                                                    RS Legacy Corporation fka RadioShack
Leesburg, IN 46538                              18716      11/21/2016 Corporation                                                                                                                                                       $0.00
WorldNet Telecommunications, Inc.
Att. Collections Department, Carla Rodriguez
Post Office Box 70201                                                RS Legacy Corporation fka RadioShack
San Juan, PR 00936‐8201                         18717      12/9/2016 Corporation                                                   $7,000.00                                                                                        $7,000.00
Xiomara Guzman
15139 Felgate Creek Dr                                                RS Legacy Corporation fka RadioShack
Houston, Tx U7084                               18718      12/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Dennis Samsel
19 East Al Court                                                      RS Legacy Corporation fka RadioShack
Sacramento, CA 95838                            18719      12/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Cresswell, Rebecca
28574 Valley Drive                                                    RS Legacy Corporation fka RadioShack
Albemarle, NC 28001                             18720      12/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Pamela Morris
636 N Lake Road                                                       RS Legacy Corporation fka RadioShack
Oconomowoc, Wi 53066                            18721      12/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Aaron Armellini
4605 Comfort street                                                   RS Legacy Corporation fka RadioShack
Cocoa, FL 32927                                 18722      12/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Heather Sampson
3876 Gaffney Loop                                                     RS Legacy Corporation fka RadioShack
Tallahassee, FL 32303                           18723      12/15/2016 Corporation                                                      $0.00                                                                                            $0.00
Sheryl Taylor
66 Denise Drive                                                       RS Legacy Corporation fka RadioShack
Stamford, CT 06905                              18724      12/16/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
MARGARET ROYSTER
626 AVENUE A                                                    RS Legacy Corporation fka RadioShack
BAYONNE,, NJ 07002                        18725      12/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Kristyn Soule
4 heron way                                                     RS Legacy Corporation fka RadioShack
Hingham, MA 02043                         18726      12/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Sally Staben
492 Serento Circle                                              RS Legacy Corporation fka RadioShack
Thousand Oaks, CA 91360                   18727      12/16/2016 Corporation                                                      $0.00                                                                                            $0.00
megan VanZantwick
15914 Fern Ave                                                  RS Legacy Corporation fka RadioShack
Spring Lake, MI 49456                     18728      12/17/2016 Corporation                                                      $0.00                                                                                            $0.00
Eugene Yen
1056 Columbia Pl                                                RS Legacy Corporation fka RadioShack
Boulder, CO 80303                         18729      12/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Lisa Eberhardt
3707 cat island island rd                                       RS Legacy Corporation fka RadioShack
W sacramento, Ca 95691                    18730      12/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Melissa Parker
1799 Caloosa Ct                                                 RS Legacy Corporation fka RadioShack
San Jose, CA 95131                        18731      12/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Melissa Parker
1799 Caloosa Ct                                                 RS Legacy Corporation fka RadioShack
San Jose, CA 95131                        18732      12/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Yasmin Melendez
2370 ne 135 th st.     Apt 205                                  RS Legacy Corporation fka RadioShack
North miami, 33181 33181                  18733      12/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Ashley Buttner
305 4th ave nw                                                  RS Legacy Corporation fka RadioShack
lutz, fl 33548                            18734      12/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Nichole Fechter
26 Howard St                                                    RS Legacy Corporation fka RadioShack
Patchogue, NY 11772                       18735      12/19/2016 Corporation                                                      $0.00                                                                                            $0.00
pero krpan
1163 francisco blvd. east                                       RS Legacy Corporation fka RadioShack
san rafael, ca 94901                      18736      12/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Brian McAnulty
253 Lakeridge dr.                                               RS Legacy Corporation fka RadioShack
Seguin, TEXAS 78155                       18737      12/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Euni Cho
26320 Antonio Circle                                            RS Legacy Corporation fka RadioShack
Loma Linda, CA 92354                      18738      12/19/2016 Corporation                                                      $0.00                                                                                            $0.00
Kevin J De Vries
5103 Merryview Dr.                                              RS Legacy Corporation fka RadioShack
Portage, MI 49024                         18739      12/20/2016 Corporation                                                      $0.00                                                                                            $0.00
wenxin zhou
5 badger ciracton                                               RS Legacy Corporation fka RadioShack
acton, ma 01720                           18740      12/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Joshua Marshall
2746 IKELEA st                                                  RS Legacy Corporation fka RadioShack
Wahiawa, Hi 96786                         18741      12/20/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Scott Charpentier
171 Steelhammer Rd                                              RS Legacy Corporation fka RadioShack
Silverton, Or 97381                       18742      12/20/2016 Corporation                                                      $0.00                                                                                            $0.00
Robert, James
35 cliff rd.                                                    RS Legacy Corporation fka RadioShack
Port Jefferson, NY 11777                  18743      12/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Will Kievit
97 Richards Ave, Apt D5                                         RS Legacy Corporation fka RadioShack
Norwalk, CT 06854                         18744      12/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Wood, Gene
168 W Longleaf Drive                                            RS Legacy Corporation fka RadioShack
Sylvester, GA 31791                       18745      12/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Carol Lannon
10 Grandview road                                               RS Legacy Corporation fka RadioShack
Methuen, MA 01844                         18746      12/21/2016 Corporation                                                      $0.00                                                                                            $0.00
philip ries
S4395 County Road NL                                            RS Legacy Corporation fka RadioShack
Augusta, WI 54722                         18747      12/21/2016 Corporation                                                      $0.00                                                                                            $0.00
howard Nitzberg
1216 Farris Dr.                                                 RS Legacy Corporation fka RadioShack
knoxville, tn 37912                       18748      12/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Charlotte Guptill
78 High St #3                                                   RS Legacy Corporation fka RadioShack
Portland, ME 04101                        18749      12/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Elizabeth Boccanfuso
47 Ponderosa Drive                                              RS Legacy Corporation fka RadioShack
Clifton Park, NY 12065                    18750      12/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Plein, Keith
14341 Windcreek Drive                                           RS Legacy Corporation fka RadioShack
Chesterfield, MO 63017                    18751      12/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Jaewon Kim
9512 Interlake Ave N, APT 103                                   RS Legacy Corporation fka RadioShack
Seattle, Wa 98103                         18752      12/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Harry Nugent
1544 Markley St.                                                RS Legacy Corporation fka RadioShack
Norristown, PA 19401                      18753      12/22/2016 Corporation                                                      $0.00                                                                                            $0.00
Daniella Sanders
5665 Imperial Drive                                             RS Legacy Corporation fka RadioShack
Bessemer, Al 35022                        18754      12/22/2016 Corporation                                                      $0.00                                                                                            $0.00
rick chesky
135 midwood way                                                 RS Legacy Corporation fka RadioShack
colonia, nj 07067                         18755      12/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Steven Sokalski Sr
2410 Harborwood Road                                            RS Legacy Corporation fka RadioShack
Catonsville, MD 21228                     18756      12/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                         RS Legacy Corporation fka RadioShack
                                          18757      12/23/2016 Corporation                                                                                                                                                       $0.00
ALEXANDER MIZAN
1241 N FAIRFAX AVE APT 14                                       RS Legacy Corporation fka RadioShack
LOS ANGELES, CA 90046                     18758      12/23/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Michael Ward
505 C Randall Street                                            RS Legacy Corporation fka RadioShack
Milton, WI 53563                          18759      12/23/2016 Corporation                                                      $0.00                                                                                            $0.00
William Moryto
50 HUNTERS CROSSING                                             RS Legacy Corporation fka RadioShack
SUFFIELD, CT 06078                        18760      12/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Sean Cowen
6828 Encino Ave                                                 RS Legacy Corporation fka RadioShack
VanNuys, CA 91406                         18761      12/24/2016 Corporation                                                      $0.00                                                                                            $0.00
Seth Ferrin
5518 Ferge Street                                               RS Legacy Corporation fka RadioShack
Weston, WI 54476                          18762      12/25/2016 Corporation                                                      $0.00                                                                                            $0.00
sylvie.platre
4815 upland drive                                               RS Legacy Corporation fka RadioShack
alexandria, va 22310                      18763      12/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Kristine Coma
142 Hickory STreet                                              RS Legacy Corporation fka RadioShack
Kearny, NJ 07032                          18764      12/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Peter Juviler
108 Locust Dr.                                                  RS Legacy Corporation fka RadioShack
Westwood, MA 02090                        18765      12/25/2016 Corporation                                                      $0.00                                                                                            $0.00
Justin Lee
1234 Wilshire Blvd.                                             RS Legacy Corporation fka RadioShack
Los Angeles, CA 90017                     18766      12/26/2016 Corporation                                                      $0.00                                                                                            $0.00
John Shaw
318 Jackson St                                                  RS Legacy Corporation fka RadioShack
Warrenton, Virginia 20186                 18767      12/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Yvonne McKenzie
449 Booth Street                                                RS Legacy Corporation fka RadioShack
Elkton, MD 21921                          18768      12/26/2016 Corporation                                                      $0.00                                                                                            $0.00
James Campbell
130 Hummingbird Lane                                            RS Legacy Corporation fka RadioShack
Statesville, NC 28625                     18769      12/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Zubin Menon
876 Curtis Street #603                                          RS Legacy Corporation fka RadioShack
Honolulu, HI 96813                        18770      12/26/2016 Corporation                                                      $0.00                                                                                            $0.00
PHILIP MADONIA
96 Richard ct                                                   RS Legacy Corporation fka RadioShack
Pomona, NY 10970                          18771      12/26/2016 Corporation                                                      $0.00                                                                                            $0.00
Dee Ann Keister‐Smith
P.O. Box 253                                                    RS Legacy Corporation fka RadioShack
Junction City, OH 43748                   18772      12/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Jim Boden
7 orchard street                                                RS Legacy Corporation fka RadioShack
keene, nh 03431                           18773      12/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Jim Boden
7 orchard street                                                RS Legacy Corporation fka RadioShack
keene, nh 03431                           18774      12/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Katie Buvoltz
4 Brookfield Lane, Unit 5                                       RS Legacy Corporation fka RadioShack
Cheektowaga, NY 14227                     18775      12/27/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                   Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Michael F Powell SR.
16 Helmsman Ct                                                  RS Legacy Corporation fka RadioShack
Essex, MD 21221                           18776      12/18/2016 Corporation                                                      $0.00                                                                                            $0.00
Roberts, James
35 Cliff Road                                                   RS Legacy Corporation fka RadioShack
Port Jefferson, NY 11777                  18777      12/16/2016 Corporation                                                      $0.00                                                                                            $0.00
Coffey, Rich
505 8th Ave                                                     RS Legacy Corporation fka RadioShack
Helena, MT 59601                          18778      12/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                         RS Legacy Corporation fka RadioShack
                                          18779      12/21/2016 Corporation                                                                                                                                                       $0.00
Roberts, James
35 Cliff Rd.                                                    RS Legacy Corporation fka RadioShack
Port Jefferson, NY 11777                  18780      12/21/2016 Corporation                                                      $0.00                                                                                            $0.00
Sharon Edeen
773 green valley rd                                             RS Legacy Corporation fka RadioShack
Jackson, NJ 08527                         18781      12/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Guttillo, Julie
5838 Toll Lane #2A                                              RS Legacy Corporation fka RadioShack
Columbus, OH 43213                        18782      12/27/2016 Corporation                                                      $0.00                                                                                            $0.00
michelle takenishi
3445 pawaina street                                             RS Legacy Corporation fka RadioShack
honolulu, hawaii 96822                    18783      12/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Mathilde Young
1885 Shady Lane                                                 RS Legacy Corporation fka RadioShack
Lucas, TX 75002                           18784      12/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Johnson, Becky
10101 115th St.                                                 RS Legacy Corporation fka RadioShack
Glencoe, MN 55336‐4938                    18785      12/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Rambo, Suzanne
17157 E Rockwood Dr                                             RS Legacy Corporation fka RadioShack
Fountain Hills, AZ 85268                  18786      12/27/2016 Corporation                                                      $0.00                                                                                            $0.00
Norton, Barbara
4432 Broadley Circle                                            RS Legacy Corporation fka RadioShack
Uniontown, OH 44685                       18787      12/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Mark Barba
94543 Anaaina Place                                             RS Legacy Corporation fka RadioShack
Waipahu, HI 96797                         18788      12/28/2016 Corporation                                                      $0.00                                                                                            $0.00
City of Cincinnati Income Tax Division
805 Central Avenue Suite 600                                    RS Legacy Corporation fka RadioShack
Cincinnati, OH 45202                      18789      12/27/2016 Corporation                                                                         $0.00                                                                         $0.00
Dean Ruch
5639 Reppert Lane, Wescosville                                  RS Legacy Corporation fka RadioShack
Allentown, PA 18106                       18790      12/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Neblett, Tricia
444 Bradford Street                                             RS Legacy Corporation fka RadioShack
Brooklyn, NY 11207                        18791      12/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Francis Lee
75 Camelot Ct                                                   RS Legacy Corporation fka RadioShack
Daly City, CA 94015                       18792      12/28/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                   Current General                                            Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
david wade
251 Arlington Dr                                                RS Legacy Corporation fka RadioShack
Batesville, IN 47006                      18793      12/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Stephanie Sponseller
13 Loop Dr                                                      RS Legacy Corporation fka RadioShack
Hanover, PA 17331                         18794      12/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Peter Rice
3018 Cile Street                                                RS Legacy Corporation fka RadioShack
Deer Park, Texas 77536                    18795      12/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Kushinsky, Mark
1136 Church St                                                  RS Legacy Corporation fka RadioShack
San Francisco, CA 94114                   18796      12/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Shauna Trinh
1457 Reeves St. #305                                            RS Legacy Corporation fka RadioShack
Los Angeles, CA 90035                     18797      12/29/2016 Corporation                                                      $0.00                                                                                            $0.00
Neblett, Tricia
444 Bradford Street                                             RS Legacy Corporation fka RadioShack
Brooklyn, NY 11207                        18798      12/28/2016 Corporation                                                      $0.00                                                                                            $0.00
Neblett, Tricia
444 Bradford Street                                             RS Legacy Corporation fka RadioShack
Brooklyn, NY 11207                        18799      12/28/2016 Corporation                                                      $0.00                                                                                            $0.00
CANDIS GRAY
PO box 2401                                                     RS Legacy Corporation fka RadioShack
Asheboro, Nc 27204                        18800      12/29/2016 Corporation                                                      $0.00                                                                                            $0.00
David M Schmidt
619 E Bishop Drive                                              RS Legacy Corporation fka RadioShack
Tempe, AZ 85282                           18801      12/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Grice, Myrtha
209 Kenilworth St                                               RS Legacy Corporation fka RadioShack
Detroit, MI 48202                         18802      12/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Gabriele M Richter
3210 SW 20th Street                                             RS Legacy Corporation fka RadioShack
Fort Lauderdale, Fl 33312                 18803      12/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Jean Chicosky
7509 Saffron Ct.                                                RS Legacy Corporation fka RadioShack
Hanover, MD 21076                         18804      12/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Daniel Ramage
496 Coggins Shore Dr                                            RS Legacy Corporation fka RadioShack
Inman, SC 29349                           18805      12/30/2016 Corporation                                                      $0.00                                                                                            $0.00
Mary B Perrin
341 Grove                                                       RS Legacy Corporation fka RadioShack
Whitmore Lake, MI 48189                   18806      12/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Wanda smith
2601 horseshoe rd                                               RS Legacy Corporation fka RadioShack
Creedmoor, Nc 27522                       18807      12/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Kenneth Norpel
5108 Brixworth Pl NE                                            RS Legacy Corporation fka RadioShack
Brookhaven, GA 30319                      18808      12/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Carol Thomson
23 Fairmeadow Dr.                                               RS Legacy Corporation fka RadioShack
Guelph Canada, Ontario N1H6X2             18809      12/31/2016 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                   Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Jacob Wurman
12404 outlook Avenue                                            RS Legacy Corporation fka RadioShack
Fort Worth, Texas 76244                   18810      12/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Carley Kennedy
3947 Churchill Dr                                               RS Legacy Corporation fka RadioShack
Pleasanton, Ca 94588                      18811      12/31/2016 Corporation                                                      $0.00                                                                                            $0.00
Yvonne Jones
7242 15th Place NW                                             RS Legacy Corporation fka RadioShack
Washington, DC 20012‐1532                 18812       1/2/2017 Corporation                                                       $0.00                                                                                            $0.00
Yvonne Jones
7242 15th Place NW                                             RS Legacy Corporation fka RadioShack
Washington, DC 20012‐1532                 18813       1/2/2017 Corporation                                                       $0.00                                                                                            $0.00
Maggi Ross
4105 Red Bird Pl.                                              RS Legacy Corporation fka RadioShack
Loveland, CO 80537                        18814       1/2/2017 Corporation                                                       $0.00                                                                                            $0.00
Jasmine Phoenix
PO Box 398                                                     RS Legacy Corporation fka RadioShack
Canandaigua, NY 14424                     18815       1/2/2017 Corporation                                                       $0.00                                                                                            $0.00
Katherine Simmons
2700 Ben Avenue                                                RS Legacy Corporation fka RadioShack
Fort Worth, TX 76103                      18816       1/3/2017 Corporation                                                       $0.00                                                                                            $0.00
Rebecca Reed
P.O Box 557                                                    RS Legacy Corporation fka RadioShack
Underwood, ND 58576                       18817       1/3/2017 Corporation                                                       $0.00                                                                                            $0.00
Barron Coe
4102 Crawford Ave                                              RS Legacy Corporation fka RadioShack
Baltimore, MD 21215                       18818       1/3/2017 Corporation                                                       $0.00                                                                                            $0.00
Mitch Hanks
3706 Ashmount Dr                                               RS Legacy Corporation fka RadioShack
Fort Collins, CO 80525                    18819       1/3/2017 Corporation                                                       $0.00                                                                                            $0.00
Robert Pickus
37 Hollywood Drive                                             RS Legacy Corporation fka RadioShack
Plainview, NY 11803                       18820       1/3/2017 Corporation                                                       $0.00                                                                                            $0.00
alla feingold
18234 valley vista blvd                                        RS Legacy Corporation fka RadioShack
tarzana, ca 91356                         18821       1/3/2017 Corporation                                                       $0.00                                                                                            $0.00
Misluk, Jennifer
112 Lyons Road                                                 RS Legacy Corporation fka RadioShack
Bristol, CT 06010                         18822       1/3/2017 Corporation                                                       $0.00                                                                                            $0.00
Vijay Dhir
4704 Lakeside Dr                                               RS Legacy Corporation fka RadioShack
Colleyville, TX 76034                     18823       1/3/2017 Corporation                                                       $0.00                                                                                            $0.00
Lopez, Mabel
2625 Waterline St                                              RS Legacy Corporation fka RadioShack
Kissimmee, FL 34743                       18824       1/4/2017 Corporation                                                       $0.00                                                                                            $0.00
Williams, Ora
601 E. Ash Lane Apt. 5205                                      RS Legacy Corporation fka RadioShack
Euless, TX 76039                          18825       1/4/2017 Corporation                                                       $0.00                                                                                            $0.00
Porterfield, John
1665 Geneva Circle                                             RS Legacy Corporation fka RadioShack
Longmont, CO 80503                        18826       1/4/2017 Corporation                                                       $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Stoudenmire, Elizabeth Ann
808 Eastover Circle                                            RS Legacy Corporation fka RadioShack
DeLand, FL 32724                          18827       1/4/2017 Corporation                                                       $0.00                                                                                            $0.00
Massion, Harold
22109 N Old Farm Rd                                            RS Legacy Corporation fka RadioShack
Deer Park, IL 60010                       18828       1/4/2017 Corporation                                                       $0.00                                                                                            $0.00
Massion, Harold
22109 N Old Farm Rd                                            RS Legacy Corporation fka RadioShack
Deer Park, IL 60010                       18829       1/4/2017 Corporation                                                       $0.00                                                                                            $0.00
Douglas Wahlgren
11834 Brier Patch Court E                                      RS Legacy Corporation fka RadioShack
Wellington, FL 33414                      18830       1/4/2017 Corporation                                                       $0.00                                                                                            $0.00
Ron jones
4202 crestwood st nw                                           RS Legacy Corporation fka RadioShack
Canton, Ohio 44708                        18831       1/4/2017 Corporation                                                       $0.00                                                                                            $0.00
Indira Singh
53 felt road                                                   RS Legacy Corporation fka RadioShack
keene, NH 03431                           18832       1/4/2017 Corporation                                                       $0.00                                                                                            $0.00
Misluk, Jennifer
112 Lyons Road                                                 RS Legacy Corporation fka RadioShack
Bristol, CT 06010                         18833       1/3/2017 Corporation                                                       $0.00                                                                                            $0.00
Kavanagh, Susan
8 Norwood Road                                                  RS Legacy Corporation fka RadioShack
Northport, NY 11768                       18834       1/3/2017 Corporation                                                       $0.00                                                                                            $0.00
Claim Docketed In Error                                         RS Legacy Corporation fka RadioShack
                                          18835      12/21/2016 Corporation                                                                                                                                                       $0.00
McKenzie, Everton
13977 23 Rd Ct N                                               RS Legacy Corporation fka RadioShack
Loxhatchee, FL 33470                      18836       1/3/2017 Corporation                                                       $0.00                                                                                            $0.00
Arora, Panna
8745 Olcott Ave.                                               RS Legacy Corporation fka RadioShack
Niles, IL 60714                           18837      12/2/2016 Corporation                                                      $55.00                                                                                           $55.00
Terrence Purcell
10 Danbury Avenue                                              RS Legacy Corporation fka RadioShack
Westport, CT 06880                        18838       1/5/2017 Corporation                                                       $0.00                                                                                            $0.00
Shapowal, Elaine
4040 Stump Rd                                                  RS Legacy Corporation fka RadioShack
Doylestown, PA 18902                      18839      12/2/2016 Corporation                                                      $69.90                                                                                           $69.90
Dang, Mai
1204 Chelsen Cross                                             RS Legacy Corporation fka RadioShack
Mechanicsburg, PA 17050                   18840      12/1/2016 Corporation                                                      $15.89                                                                                           $15.89
gary mincieli
907 easton road, suite 2a                                      RS Legacy Corporation fka RadioShack
willow grove, pa 19090                    18841       1/5/2017 Corporation                                                       $0.00                                                                                            $0.00
Christian Ransopher
730 Westmount Dr                                               RS Legacy Corporation fka RadioShack
West Hollywood, CA 90069                  18842       1/5/2017 Corporation                                                       $0.00                                                                                            $0.00
Michaud, Desiree
11505 Pole Cat Rod                                              RS Legacy Corporation fka RadioShack
Missoula, MT 59808                        18843      12/31/2016 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Felis, Christa L
106 Michawn Ct.                                                 RS Legacy Corporation fka RadioShack
Madison, AL 35758                         18844      12/23/2016 Corporation                                                      $0.00                                                                                            $0.00
Guilmette, Richard
51 Florence Ave.                                               RS Legacy Corporation fka RadioShack
Lawrence, MA 01841                        18845      12/1/2016 Corporation                                                       $0.00                                                                                            $0.00
Michael B Davidson
22563 Cedar Beach Rd                                           RS Legacy Corporation fka RadioShack
Milford, De 19963                         18846       1/5/2017 Corporation                                                       $0.00                                                                                            $0.00
Craig LeNoble
521 Maple Ridge Road                                           RS Legacy Corporation fka RadioShack
Berlin, WI 54923                          18847       1/6/2017 Corporation                                                       $0.00                                                                                            $0.00
Rich Simon
570 Surrey Place                                               RS Legacy Corporation fka RadioShack
Oceanside, NY 11572                       18848       1/6/2017 Corporation                                                       $0.00                                                                                            $0.00
Diana O'Brien
1305 S Prospect Ave                                            RS Legacy Corporation fka RadioShack
Park Ridge, IL 60058                      18849       1/7/2017 Corporation                                                       $0.00                                                                                            $0.00
Justin
1325 tennis dr apt 1341b                                       RS Legacy Corporation fka RadioShack
Bedford, Tx 76022                         18850       1/7/2017 Corporation                                                       $0.00                                                                                            $0.00
Steven VanHorn
916 Pershing Drive                                             RS Legacy Corporation fka RadioShack
South Charleston, WV 25309                18851       1/7/2017 Corporation                                                       $0.00                                                                                            $0.00
Isnar Oliveira
9499 Collins Ave Apt 502                                       RS Legacy Corporation fka RadioShack
Surfside, FL 33154                        18852       1/7/2017 Corporation                                                       $0.00                                                                                            $0.00
Tammy Johnson
6305 Wolfe Creek Drive                                         RS Legacy Corporation fka RadioShack
Bakersfield, CA 93306                     18853       1/8/2017 Corporation                                                       $0.00                                                                                            $0.00
peggy Townsend
213 maryjane rd                                                RS Legacy Corporation fka RadioShack
Buxton, Maine 04093                       18854       1/8/2017 Corporation                                                       $0.00                                                                                            $0.00
Johnathan Daniel Marshall
6101 passiflora lane                                           RS Legacy Corporation fka RadioShack
Orangevale, Ca 95662                      18855       1/8/2017 Corporation                                                       $0.00                                                                                            $0.00
kirlos
8 evergreen st                                                 RS Legacy Corporation fka RadioShack
bayonne, nj 07002                         18856       1/8/2017 Corporation                                                       $0.00                                                                                            $0.00
Gately, Helen Anne
2027 43rd Ave E (Unit D)                                       RS Legacy Corporation fka RadioShack
Seattle, WA 98112                         18857       1/5/2017 Corporation                                                       $0.00                                                                                            $0.00
Lantz, Carl Arthur
35 North Quaker Ln                                             RS Legacy Corporation fka RadioShack
West Hartford, CT 06119                   18858       1/8/2017 Corporation                                                       $0.00                                                                                            $0.00
Azemina Huseinovic
3165 Nostrand Avenue, 4F                                       RS Legacy Corporation fka RadioShack
Brooklyn, NY 11229                        18859       1/9/2017 Corporation                                                       $0.00                                                                                            $0.00
Moorer, Jessica
1376 Karen Blvd                                                RS Legacy Corporation fka RadioShack
Capitol Heights, MD 20743                 18860      1/10/2017 Corporation                                                       $0.00                                                                                            $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Johanson, Donatella
Po Box 13                                                      RS Legacy Corporation fka RadioShack
Battle Ground, WA 98604                   18861      1/10/2017 Corporation                                                      $0.00                                                                                            $0.00
Alpizar, Jose
5961 Hickori St # 5                                           RS Legacy Corporation fka RadioShack
Carpinteria, CA 93013                     18862      1/9/2017 Corporation                                                       $0.00                                                                                            $0.00
Guzman, Alejandro
1337 Pheonix Dr apt #8                                        RS Legacy Corporation fka RadioShack
                                          18863      1/9/2017 Corporation                                                                          $0.00                                                                         $0.00
Dale Sines
716 Deer Park Ave                                              RS Legacy Corporation fka RadioShack
Mountain Lake Park, MD 21550              18864      1/10/2017 Corporation                                                      $0.00                                                                                            $0.00
Jimmy Roberson
14130 Churchill Dr                                             RS Legacy Corporation fka RadioShack
Homer Glen, IL. 60491                     18865      1/10/2017 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          18866      1/11/2017 Corporation                                                                                                                                                       $0.00
Robyn McGinley
201 Overcreek Road                                             RS Legacy Corporation fka RadioShack
Phoenixville, PA 19460                    18867      1/11/2017 Corporation                                                      $0.00                                                                                            $0.00
Gott, Jackie
3484 West Farm Rd 76                                           RS Legacy Corporation fka RadioShack
Springfield, MO 65803                     18868      1/10/2017 Corporation                                                      $0.00                                                                                            $0.00
AKHTAR AZHAR
18724 PARKE EAST CT                                            RS Legacy Corporation fka RadioShack
RIVERVIEW, MI 48193                       18869      1/11/2017 Corporation                                                      $0.00                                                                                            $0.00
Peter Gallasso
35 Gail Lane                                                   RS Legacy Corporation fka RadioShack
South Windsor, CT 06074                   18870      1/11/2017 Corporation                                                      $0.00                                                                                            $0.00
Peter Gallasso
35 Gail Lane                                                   RS Legacy Corporation fka RadioShack
South Windsor, CT 06074                   18871      1/11/2017 Corporation                                                      $0.00                                                                                            $0.00
Hauser Jr., William C
PO Box 1414                                                    RS Legacy Corporation fka RadioShack
Malvern, PA 19355                         18872      1/13/2017 Corporation                                                      $0.00                                                                                            $0.00
Susan le
16478 beach Blvd #315                                          RS Legacy Corporation fka RadioShack
Westminster, Ca 92683                     18873      1/13/2017 Corporation                                                      $0.00                                                                                            $0.00
Susan Le
16478 beach Blvd #315                                          RS Legacy Corporation fka RadioShack
Westminster, Ca 92683                     18874      1/13/2017 Corporation                                                      $0.00                                                                                            $0.00
Lezli DACUYCUY
91‐2024 kamakana street                                        RS Legacy Corporation fka RadioShack
Ewa beach, Hi 96706                       18875      1/13/2017 Corporation                                                      $0.00                                                                                            $0.00
scott applegate
6311 hollyridge st nw                                          RS Legacy Corporation fka RadioShack
north canton, oh 44720                    18876      1/13/2017 Corporation                                                      $0.00                                                                                            $0.00
Jasmine Salas
833 Front St. Apt.218                                          RS Legacy Corporation fka RadioShack
Santa Cruz, CA 95060                      18877      1/14/2017 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Jim Ford
5316 Cherokee St                                               RS Legacy Corporation fka RadioShack
Houston, Tx 77005                         18878      1/14/2017 Corporation                                                      $0.00                                                                                            $0.00
Mercedes Roberts
879 belmore ave                                                RS Legacy Corporation fka RadioShack
Islip terrace, Ny 11752                   18879      1/14/2017 Corporation                                                      $0.00                                                                                            $0.00
Curt Snyder
5865 Paula Ct                                                  RS Legacy Corporation fka RadioShack
Coopersburg, PA 18036                     18880      1/15/2017 Corporation                                                      $0.00                                                                                            $0.00
Dalia Harami
5445 N Sheridan Rd #3512                                       RS Legacy Corporation fka RadioShack
Chicago, IL 60640                         18881      1/15/2017 Corporation                                                      $0.00                                                                                            $0.00
Gabriel Gilbert
7522 old chapel drive                                          RS Legacy Corporation fka RadioShack
Bowie, MD 20715                           18882      1/15/2017 Corporation                                                      $0.00                                                                                            $0.00
Lyndsay Wilson
709 pleasant Valley Parkway                                    RS Legacy Corporation fka RadioShack
Waunakee, Wi 53597                        18883      1/16/2017 Corporation                                                      $0.00                                                                                            $0.00
Emerold Red
502 Lewis Lane                                                 RS Legacy Corporation fka RadioShack
Pacifica, CA 94044                        18884      1/16/2017 Corporation                                                      $0.00                                                                                            $0.00
Wharton, Amanda
5807 North American Street                                     RS Legacy Corporation fka RadioShack
Philadelphia, PA 19120                    18885      1/13/2017 Corporation                                                      $0.00                                                                                            $0.00
Tehrani, Majid
8476 Pamela Way                                                RS Legacy Corporation fka RadioShack
Laurel, MD 20723                          18886      1/15/2017 Corporation                                                      $0.00                                                                                            $0.00
Walker, Faira
7112 Lagrange Hill Dr                                          RS Legacy Corporation fka RadioShack
Cordova, TN 38018                         18887      1/18/2017 Corporation                                                      $0.00                                                                                            $0.00
Booth Smidt
123 S. Melrose St.                                             RS Legacy Corporation fka RadioShack
Anaheim, CA 92805                         18888      1/18/2017 Corporation                                                      $0.00                                                                                            $0.00
Francine Smidt
123 S. Melrose St.                                             RS Legacy Corporation fka RadioShack
Anaheim, CA 92805                         18889      1/19/2017 Corporation                                                      $0.00                                                                                            $0.00
Hays, Matthew
10600 Wilshire Blvd #421                                       RS Legacy Corporation fka RadioShack
Los Angeles, CA 90024                     18890      1/19/2017 Corporation                                                      $0.00                                                                                            $0.00
Leanne Psiras
3 Mark Road                                                    RS Legacy Corporation fka RadioShack
Tewksbury, MA 01876                       18891      1/19/2017 Corporation                                                      $0.00                                                                                            $0.00
Timothy Siglin
PO Box 5434                                                    RS Legacy Corporation fka RadioShack
Kingsport, TN 37663                       18892      1/20/2017 Corporation                                                      $0.00                                                                                            $0.00
gary miner
3324 West University Avenue, 217                               RS Legacy Corporation fka RadioShack
Gainesville, Florida 32607                18893      1/23/2017 Corporation                                                      $0.00                                                                                            $0.00
Gary Miner
3324 West University Avenue, 217                               RS Legacy Corporation fka RadioShack
Gainesville, Florida 32607                18894      1/23/2017 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Sarah Biernat
22 Maple Ave                                                   RS Legacy Corporation fka RadioShack
Bloomfield, NY 14469                      18895      1/24/2017 Corporation                                                      $0.00                                                                                            $0.00
Avinash Uttamchandani
2055 Barrett Lakes Blvd NW Apt 1126                            RS Legacy Corporation fka RadioShack
Kennesaw, GA 30144                        18896      1/24/2017 Corporation                                                      $0.00                                                                                            $0.00
Michael Forte
316 hamlets end way                                            RS Legacy Corporation fka RadioShack
Franklin, Tn 37067                        18897      1/24/2017 Corporation                                                      $0.00                                                                                            $0.00
Arthur Shim
182 Huron St. #4B                                              RS Legacy Corporation fka RadioShack
Brooklyn, NY 11222                        18898      1/24/2017 Corporation                                                      $0.00                                                                                            $0.00
City of Los Angeles Office of Finance
Los Angeles City Attorney's Office
c/o Wendy Loo, Deputy City Attorney
200 North Main Street, Suite 920                               RS Legacy Corporation fka RadioShack
Los Angeles, CA 90012                     18899      1/19/2017 Corporation                                                                                                               $0.00                                   $0.00
Miller, Charmaine
435 Jackie Way                                                 RS Legacy Corporation fka RadioShack
Shepherdsville, KY 40165                  18900      1/19/2017 Corporation                                                                                                               $0.00                                   $0.00
iProspect.com
Attn: Loren Cooper
150 East 42nd Street, 11th Floor                               RS Legacy Corporation fka RadioShack
New York, NY 10010                        18901      1/26/2017 Corporation                                                      $0.00                                                                                            $0.00
Nathanial J Crout
109 Detroit                                                    RS Legacy Corporation fka RadioShack
Trenton, Michigan 48183                   18902      1/26/2017 Corporation                                                      $0.00                                                                                            $0.00
Matthew Higginbotham
5 Carlito Rd                                                   RS Legacy Corporation fka RadioShack
Santa Fe, NM 87508                        18903      1/27/2017 Corporation                                                      $0.00                                                                                            $0.00
Jennifer Osborne
16018 Wichita rd                                               RS Legacy Corporation fka RadioShack
Apple valley, Ca 92307                    18904      1/27/2017 Corporation                                                      $0.00                                                                                            $0.00
Steven A. Moretti
1140 Reservoir Avenue                                          RS Legacy Corporation fka RadioShack
Cranston, RI 02920                        18905      1/30/2017 Corporation                                                      $0.00                                                                                            $0.00
lelah edwards
25 odessa drive                                                RS Legacy Corporation fka RadioShack
carriere, ms 39426, none none             18906      1/30/2017 Corporation                                                      $0.00                                                                                            $0.00
carlos h munoz
109 33 71st rd Apt 9E                                          RS Legacy Corporation fka RadioShack
forest hills, ny 11375                    18907      1/31/2017 Corporation                                                      $0.00                                                                                            $0.00
Jason Price
4711 E. Bismark                                                RS Legacy Corporation fka RadioShack
Grand Island, ne 68801                    18908      1/31/2017 Corporation                                                      $0.00                                                                                            $0.00
Clark Hild
3848 Tangle Oak Dr                                             RS Legacy Corporation fka RadioShack
Clemmons, NC 27012                        18909      1/31/2017 Corporation                                                      $0.00                                                                                            $0.00
Venecia Gooden
1569 Prospect Place Apt 3C                                     RS Legacy Corporation fka RadioShack
Brooklyn, NY 11233                        18910      1/31/2017 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                            Current General                                            Current 503(b)(9)
                                                                                                                                                  Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address              Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                Amount                                                     Amount
Kerstin Becker
PO Box 9634                                                             RS Legacy Corporation fka RadioShack
North Amherst, MA 01059                             18911      2/1/2017 Corporation                                                       $0.00                                                                                            $0.00
Cruz, Ashley
87 New St, Apt 207                                                      RS Legacy Corporation fka RadioShack
Cambridge, MA 02138                                 18912      2/1/2017 Corporation                                                       $0.00                                                                                            $0.00
Millidge, Holly
615 Bundy Way                                                           RS Legacy Corporation fka RadioShack
Corona, CA 92882                                    18913      2/1/2017 Corporation                                                       $0.00                                                                                            $0.00
Rocsin, Roxana
66 Tennis Pl.                                                           RS Legacy Corporation fka RadioShack
Forest Hills, NY 11375                              18914      2/1/2017 Corporation                                                       $0.00                                                                                            $0.00
White, Kerry‐Ann
9110 Suede Court                                                        RS Legacy Corporation fka RadioShack
Fairfax, VA 22031                                   18915      2/1/2017 Corporation                                                       $0.00                                                                                            $0.00
Peters, James J.
1104 Winchester Way                                                      RS Legacy Corporation fka RadioShack
Chesapeake, VA 23320                                18916      1/31/2017 Corporation                                                      $0.00                                                                                            $0.00

Google Inc. as Transferee of iProspect.com, Inc.
Attn: Steven E. Ostrow, Esq.
White and Williams LLP
7 Times Square, Suite 2900                                               RS Legacy Corporation fka RadioShack
New York, NY 10036‐6524                             18917      1/27/2017 Corporation                                                      $0.00                                                                                            $0.00
iProspect.com, Inc.
Attn: Loren Cooper
150 East 42nd Street, 11th Floor                                         RS Legacy Corporation fka RadioShack
New York , NY 10017                                 18917      1/27/2017 Corporation                                             $1,149,772.55                                                                                     $1,149,772.55
Chuck Elms
193 Bishop Drive                                                        RS Legacy Corporation fka RadioShack
Weatherford, TX 76088                               18918      2/2/2017 Corporation                                                       $0.00                                                                                            $0.00
chen chen
33 digital dr #104                                                      RS Legacy Corporation fka RadioShack
nashua, nh 03062                                    18919      2/2/2017 Corporation                                                       $0.00                                                                                            $0.00
David Scott
Box 183                                                                 RS Legacy Corporation fka RadioShack
Oldwick, NJ 08858                                   18920      2/4/2017 Corporation                                                       $0.00                                                                                            $0.00
Jonah McCarthy
5525 Fairfax Drive                                                      RS Legacy Corporation fka RadioShack
Arlington, VA 22205                                 18921      2/5/2017 Corporation                                                       $0.00                                                                                            $0.00
Manoj dadlani
92 s main st                                                            RS Legacy Corporation fka RadioShack
New hope, Pa 18938                                  18922      2/5/2017 Corporation                                                       $0.00                                                                                            $0.00
David Gilmore
301 King ST. Unit 802                                                   RS Legacy Corporation fka RadioShack
San Francisco, CA 94158                             18923      2/6/2017 Corporation                                                       $0.00                                                                                            $0.00
Kirsten McCormack
11646 sun road                                                          RS Legacy Corporation fka RadioShack
Stockton, Ca 95215                                  18924      2/6/2017 Corporation                                                       $0.00                                                                                            $0.00
Cole Silverman
14 Burroughs Ln                                                         RS Legacy Corporation fka RadioShack
St. Louis, MO 63124                                 18925      2/7/2017 Corporation                                                       $0.00                                                                                            $0.00



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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Daniel zenner
7717 74th st s                                                RS Legacy Corporation fka RadioShack
Cottage grove, Mn 55016                   18926      2/7/2017 Corporation                                                       $0.00                                                                                            $0.00
GAKHARA GRAYS
12713 CRENNELL AVE                                            RS Legacy Corporation fka RadioShack
CLEVELAND, OHIO 44105                     18927      2/8/2017 Corporation                                                       $0.00                                                                                            $0.00
Tonya Hurt
546 Debra Court                                               RS Legacy Corporation fka RadioShack
Versailles, KY 40383                      18928      2/8/2017 Corporation                                                       $0.00                                                                                            $0.00
Driscoll, Al
930 Paseo Santa Barbara                                       RS Legacy Corporation fka RadioShack
Newbury Park, CA 91320                    18929      2/2/2017 Corporation                                                       $0.00              $0.00             $0.00               $0.00                                   $0.00
Huxman, Marilou
5142 Via Portola                                              RS Legacy Corporation fka RadioShack
Oceanside, CA 92057                       18930      2/3/2017 Corporation                                                       $0.00                                                                                            $0.00
Friedman, Bonnie
875 Comstock Ave #6B                                          RS Legacy Corporation fka RadioShack
Los Angeles, CA 90024                     18931      2/6/2017 Corporation                                                       $0.00                                                                                            $0.00
Wilkinson, Connie
229 Palisade Ave                                              RS Legacy Corporation fka RadioShack
Pismo Beach, CA 93449                     18932      2/6/2017 Corporation                                                       $0.00                                                                                            $0.00
Wasula, Joseph S.
391 Silver City Drive                                         RS Legacy Corporation fka RadioShack
Boise, ID 83713                           18933      2/6/2017 Corporation                                                       $0.00                                                                                            $0.00
Rodriguez, Linda
2116 41st Avenue SW                                           RS Legacy Corporation fka RadioShack
Seattle, WA 98116                         18934      2/7/2017 Corporation                                                       $0.00                                                                                            $0.00
Clausen, Elizabeth
PO Box 307                                                    RS Legacy Corporation fka RadioShack
Rye Beach, NH 03871                       18935      2/9/2017 Corporation                                                       $0.00                                                                                            $0.00
Hinds County Tax Collector
316 South President Street                                    RS Legacy Corporation fka RadioShack
Jackson, MS 32920                         18936      2/8/2017 Corporation                                                                          $0.00                                                                         $0.00
Martin Weir
67 Crestwood lane                                             RS Legacy Corporation fka RadioShack
Amherst, New York 14221                   18937      2/9/2017 Corporation                                                       $0.00                                                                                            $0.00
LILLIAN DAVIS
3400 WEST CHESTER PIKE #403C                                  RS Legacy Corporation fka RadioShack
NEWTOWN SQUARE, PA 19073                  18938      2/9/2017 Corporation                                                       $0.00                                                                                            $0.00
Christopher Schaffer
225 Two Rod Rd                                                RS Legacy Corporation fka RadioShack
Marilla, Ny 14102                         18939      2/9/2017 Corporation                                                       $0.00                                                                                            $0.00
Alex Conrad
1517 S Negley Ave                                             RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15217                      18940      2/9/2017 Corporation                                                       $0.00                                                                                            $0.00
Amanda Hall
2340 West Marion rd                                            RS Legacy Corporation fka RadioShack
Macon, GA 31206                           18941      2/11/2017 Corporation                                                      $0.00                                                                                            $0.00
Szalonek, Kenneth
212 E. Rowland Street, # 126                                   RS Legacy Corporation fka RadioShack
Covina, CA 91723                          18942      2/13/2017 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Blakely, Stephanie
2943 Delta Rd                                                  RS Legacy Corporation fka RadioShack
Airville, PA 17302                        18943      2/11/2017 Corporation                                                      $0.00                                                                                            $0.00
Kevin Lane
530 Valley Road, Apt 3V                                        RS Legacy Corporation fka RadioShack
Montclair, NJ 07043                       18944      2/13/2017 Corporation                                                      $0.00                                                                                            $0.00
Krista Wendle
3393 Cedarbrook Cir                                            RS Legacy Corporation fka RadioShack
Trussville, AL 35173                      18945      2/14/2017 Corporation                                                      $0.00                                                                                            $0.00
Charles Greene
1422 11th St NW, Unit 1                                        RS Legacy Corporation fka RadioShack
Washington, DC 20001                      18946      2/14/2017 Corporation                                                      $0.00                                                                                            $0.00
Baldwin, Brandy
c/o Homan & Stone
Gene Stone, Esq.
155 N. Lake
8th Floor                                                      RS Legacy Corporation fka RadioShack
Pasadena , CA 91101                       18947      1/23/2017 Corporation                                                  $4,500.00                                                                                        $4,500.00
Eric Limon
P.O. BOX 539                                                   RS Legacy Corporation fka RadioShack
Housatonic, MA 01236                      18948      2/15/2017 Corporation                                                      $0.00                                                                                            $0.00
Michael D Black
609 Hornblower Court                                           RS Legacy Corporation fka RadioShack
San Jose, CA 95136                        18949      2/16/2017 Corporation                                                      $0.00                                                                                            $0.00
Jerrick Skinner
5109 Cedar Springs Road #119                                   RS Legacy Corporation fka RadioShack
Dallas, Texas 75235                       18950      2/16/2017 Corporation                                                      $0.00                                                                                            $0.00
Solorio, David
17115 Pinedale Ave                                             RS Legacy Corporation fka RadioShack
Fontana, CA 92335                         18951      2/12/2017 Corporation                                                                         $0.00                                                                         $0.00
Simpson, Peter
4053 Ralph Scott Drive                                         RS Legacy Corporation fka RadioShack
Oscoda, MI 48750                          18952      2/13/2017 Corporation                                                                                                               $0.00                                   $0.00
ashraful chowdhury
1969 Mcgraw avr apt 3G                                         RS Legacy Corporation fka RadioShack
bronx, ny 10462                           18953      2/16/2017 Corporation                                                      $0.00                                                                                            $0.00
Chris Thele
17 N. Pennsylvania Ave                                         RS Legacy Corporation fka RadioShack
Belleville, IL 62220                      18954      2/17/2017 Corporation                                                      $0.00                                                                                            $0.00
Leah Baigell
91 Bow Street                                                  RS Legacy Corporation fka RadioShack
Lexington, MA 02420                       18955      2/17/2017 Corporation                                                      $0.00                                                                                            $0.00
Leah Baigell
91 Bow Street                                                  RS Legacy Corporation fka RadioShack
Lexington, MA 02420                       18956      2/17/2017 Corporation                                                      $0.00                                                                                            $0.00
Leah Baigell
91 Bow Street                                                  RS Legacy Corporation fka RadioShack
Lexington, MA 02420                       18957      2/17/2017 Corporation                                                      $0.00                                                                                            $0.00
Hilberto Barrera
16047 Haynes st apt 201                                        RS Legacy Corporation fka RadioShack
Van nuys, Ca 91406                        18958      2/18/2017 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Haylock, Archna
145 central Ave                                                RS Legacy Corporation fka RadioShack
Los Gatos, CA 9530                        18959      2/19/2017 Corporation                                                      $0.00                                                                                            $0.00
Archna Haylock
145 central Ave.                                               RS Legacy Corporation fka RadioShack
Los Gatos, CA 9530                        18960      2/19/2017 Corporation                                                      $0.00                                                                                            $0.00
Lynnese M DeBarge
26794 Starboard Road                                           RS Legacy Corporation fka RadioShack
Millsboro, DE 19966                       18961      2/20/2017 Corporation                                                      $0.00                                                                                            $0.00
John G DeBarge
26794 Starboard Road                                           RS Legacy Corporation fka RadioShack
Millsboro, DE 19966                       18962      2/20/2017 Corporation                                                      $0.00                                                                                            $0.00
Lisa Rosse
2269 Brookview Drive NW                                        RS Legacy Corporation fka RadioShack
Atlanta, GA 30318                         18963      2/20/2017 Corporation                                                      $0.00                                                                                            $0.00
Aguilar, Angel
3815 Baldwin Ave Apt 29                                        RS Legacy Corporation fka RadioShack
El Monte, CA 91731                        18964      2/22/2017 Corporation                                                      $0.00                                                                                            $0.00
R. Field
1332 3rd Ave                                                   RS Legacy Corporation fka RadioShack
New York, NY 10075‐1902                   18965      2/22/2017 Corporation                                                      $0.00                                                                                            $0.00
Gupta, Sachin
18740 NW Rock Creek Circle Apt. 71                             RS Legacy Corporation fka RadioShack
Portland, OR 97229                        18966      2/19/2017 Corporation                                                      $0.00                                                                                            $0.00
Ligon, Christine
8 Explorer Ct.                                                 RS Legacy Corporation fka RadioShack
Marlton, NJ 08053‐2077                    18967      2/22/2017 Corporation                                                      $0.00                                                                                            $0.00
Richardson, Frank
70 Liberty Place                                               RS Legacy Corporation fka RadioShack
Weehawken, NJ 07086‐7015                  18968      2/22/2017 Corporation                                                      $0.00                                                                                            $0.00
Sulzicki, Eileen
114 Prospect Drive                                             RS Legacy Corporation fka RadioShack
Stratford, CT 06615                       18969      2/22/2017 Corporation                                                      $0.00                                                                                            $0.00
Berry Jr, Archie Garrett
107 Canal Place Circle                                         RS Legacy Corporation fka RadioShack
Columbia, SC 29201                        18970      2/22/2017 Corporation                                                      $0.00                                                                                            $0.00
William S. Bike
6160 W. 60th St.                                               RS Legacy Corporation fka RadioShack
Chicago, IL 60638                         18971      2/24/2017 Corporation                                                      $0.00                                                                                            $0.00
Pam Konetzni
8914 W 104th Ter                                               RS Legacy Corporation fka RadioShack
Overland Park, KS 66212                   18972      2/26/2017 Corporation                                                      $0.00                                                                                            $0.00
Adam Gulczynski
7943 Natoma Ave                                                RS Legacy Corporation fka RadioShack
Burbank, IL 60459                         18973      2/26/2017 Corporation                                                      $0.00                                                                                            $0.00
Dara Fortgang
4352 Ventura Canyon Ave. Apt.#7                                RS Legacy Corporation fka RadioShack
Sherman Oaks, CA 91423                    18974      2/27/2017 Corporation                                                      $0.00                                                                                            $0.00
3950 Techport Drive, LP
950 Smile Way, P.O. Box 902                                    RS Legacy Corporation fka RadioShack
York, PA 17401                            18975      2/27/2017 Corporation                                                $23,714.08                                                                   $3,152.05            $26,866.13




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Joanne Delott
30 Ivy Drive                                                  RS Legacy Corporation fka RadioShack
Jericho, NY 11753                         18976      3/1/2017 Corporation                                                       $0.00                                                                                            $0.00
Guttillo, Julie
5838 Toll Lane #2A                                             RS Legacy Corporation fka RadioShack
Columbus, OH 43213                        18977      2/28/2017 Corporation                                                      $0.00                                                                                            $0.00
Musa‐Bollers, Sigrid
953 E 42nd Street                                             RS Legacy Corporation fka RadioShack
Brooklyn, NY 11210                        18978      3/1/2017 Corporation                                                       $0.00                                                                                            $0.00
mary rabideau
PO Box 67                                                     RS Legacy Corporation fka RadioShack
Ellenburg Depot, NY 12935                 18979      3/2/2017 Corporation                                                       $0.00                                                                                            $0.00
Glenn Aquino
610 London St                                                 RS Legacy Corporation fka RadioShack
San Francisco, CA 94112                   18980      3/2/2017 Corporation                                                       $0.00                                                                                            $0.00
JK Imaging, Ltd.
17239 S. Main Street                                          RS Legacy Corporation fka RadioShack
Gardena, CA 90248                         18981      3/2/2017 Corporation                                                $250,000.00                                                                                       $250,000.00
Brett Whitney
1090 Cedar Creek Drive                                        RS Legacy Corporation fka RadioShack
Lake Zurich, IL 60047                     18982      3/3/2017 Corporation                                                       $0.00                                                                                            $0.00
Watson, Joanne
217 W. Genie St                                               RS Legacy Corporation fka RadioShack
Chalmette, LA 70043                       18983      3/7/2017 Corporation                                                       $0.00                                                                                            $0.00
Roberts, John
1026 Mohican Pass                                              RS Legacy Corporation fka RadioShack
Madison, WI 53711                         18984      3/10/2017 Corporation                                                      $0.00                                                                                            $0.00
Jack Havens
1550 W Ashlan Ave #136                                         RS Legacy Corporation fka RadioShack
Fresno, CA 93705                          18985      3/10/2017 Corporation                                                      $0.00                                                                                            $0.00
Varvarezis, George
847 South 1st Road                                            RS Legacy Corporation fka RadioShack
Hammonton, NJ 08037                       18986      3/8/2017 Corporation                                                                                                                $0.00                                   $0.00
tracy dodds
1402 vinta                                                     RS Legacy Corporation fka RadioShack
enid, ok 73703                            18987      3/10/2017 Corporation                                                      $0.00                                                                                            $0.00
tracy dodds
1402 vinta                                                     RS Legacy Corporation fka RadioShack
enid, ok 73703                            18988      3/10/2017 Corporation                                                      $0.00                                                                                            $0.00
Hector Fernandez
HC 52 Box 2927 Garrochales PR. 00652                           RS Legacy Corporation fka RadioShack
Arecibo, P.R. 00652                       18989      3/10/2017 Corporation                                                      $0.00                                                                                            $0.00
Karar, Amr
7351 Black Walnut Way                                          RS Legacy Corporation fka RadioShack
Lakewood Ranch, FL 34202                  18990      3/11/2017 Corporation                                                      $0.00                                                                                            $0.00
malcolm meiring
3715 landfair rd                                               RS Legacy Corporation fka RadioShack
pasadena, ca 91107                        18991      3/12/2017 Corporation                                                      $0.00                                                                                            $0.00
John Pepin
604 Sider Dr.                                                  RS Legacy Corporation fka RadioShack
North Salt Lake, Utah 84054               18992      3/12/2017 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                        Current General                                            Current 503(b)(9)
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            Creditor Name and Address         Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
Derek Franke
314 Armin Circle                                                    RS Legacy Corporation fka RadioShack
Columbia, IL 62236                             18993      3/14/2017 Corporation                                                       $0.00                                                                                            $0.00
Patricia Omlor
7708 Matthias Street                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19128                         18994      3/14/2017 Corporation                                                       $0.00                                                                                            $0.00
Patricia Omlor
7708 Matthias Street                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19128                         18995      3/14/2017 Corporation                                                       $0.00                                                                                            $0.00
Patricia L. Omlor
7708 Matthias Street                                                RS Legacy Corporation fka RadioShack
Philadelphia, PA 19128                         18996      3/14/2017 Corporation                                                       $0.00                                                                                            $0.00
Capital Group MDI, LLC
c/o City National Bank
1450 Brickell Avenue, Ste. 2800                                     RS Legacy Corporation fka RadioShack
Miami, FL 33131                                18997      3/13/2017 Corporation                                                       $0.00                                                                                            $0.00
Michael Voss
1507 N. DeWitt St.                                                  RS Legacy Corporation fka RadioShack
Bay City, MI 48706                             18998      3/15/2017 Corporation                                                       $0.00                                                                                            $0.00
Shauncy Claud
P.O. Box 478                                                        RS Legacy Corporation fka RadioShack
Southampton, NY 11969                          18999      3/15/2017 Corporation                                                       $0.00                                                                                            $0.00
David Lee
5080 Muirwoods Ct.                                                  RS Legacy Corporation fka RadioShack
Cincinnati, OH 45242                           19000      3/15/2017 Corporation                                                      $10.65                                                                                           $10.65
Dave Lee
5080 Muirwoods Ct.                                                  RS Legacy Corporation fka RadioShack
Cincinnati, OH 45242                           19001      3/15/2017 Corporation                                                      $22.01                                                                                           $22.01
Lam C Chung
125 Evergreen Village Ln                                            RS Legacy Corporation fka RadioShack
San Diego, CA 92102                            19002      3/16/2017 Corporation                                                       $0.00                                                                                            $0.00
Cavanaugh, Matthew
22 White Birch Lane                                                 RS Legacy Corporation fka RadioShack
Dalton, PA 18414                               19003      3/14/2017 Corporation                                                       $0.00              $0.00             $0.00                                                       $0.00
West Texas Restaurant & Refrigeration, Inc.
149 Ruidosa Ave                                                     RS Legacy Corporation fka RadioShack
Abilene, TX 79605                              19004      3/16/2017 Corporation                                                       $0.00                                                                                            $0.00
Robert N. Graham, LLC
P.O. Box 1207                                                       RS Legacy Corporation fka RadioShack
Purvis, MS 39475                               19005      3/15/2017 Corporation                                                       $0.00                                                                                            $0.00
Douglas Stanley
255 North Road #87                                                  RS Legacy Corporation fka RadioShack
Chelmsford, MA 01824                           19006      3/16/2017 Corporation                                                       $0.00                                                                                            $0.00
Dynamics Associates, LLC
515 Madison Ave. Suite 18A                                          RS Legacy Corporation fka RadioShack
New York, NY 10022                             19007      3/13/2017 Corporation                                                                          $0.00                                                                         $0.00
Wilson Electronics, LLC
c/o Jones Waldo Holbrook & McDonough, PC
Attn: Jeffrey W. Shields, Esq.                                      RS Legacy Global Sourcing Limited Partnership
170 South Main Street, Suite 1500                                   fka RadioShack Global Sourcing Limited
Salt Lake City, UT 84101                       19008      3/13/2017 Partnership                                                $215,000.00                                                                                       $215,000.00




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                                                                                                                        Current General                                            Current 503(b)(9)
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            Creditor Name and Address          Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
Pamela A Buschmohle
41846 Alden Drive                                                    RS Legacy Corporation fka RadioShack
Clinton Township, MI 48038                      19009      3/17/2017 Corporation                                                      $0.00                                                                                            $0.00
Naeema bokhari
3935 hidden grove lane                                               RS Legacy Corporation fka RadioShack
concord, ca 94519                               19010      3/18/2017 Corporation                                                      $0.00                                                                                            $0.00
Naeema bokhari
3935 hidden grove lane                                               RS Legacy Corporation fka RadioShack
concord, ca 94519                               19011      3/18/2017 Corporation                                                      $0.00                                                                                            $0.00
Robert Turek
443 S US 23                                                          RS Legacy Corporation fka RadioShack
Harrisville, MI 48740                           19012      3/20/2017 Corporation                                                      $0.00                                                                                            $0.00
Tehan, Rene
1834 Wedgewood Drive                                                 RS Legacy Corporation fka RadioShack
Racine, WI 53402                                19013      3/20/2017 Corporation                                                      $0.00                                                                                            $0.00
Isaac Feinsilber
17 Mein Drive                                                        RS Legacy Corporation fka RadioShack
New City, NY 10956                              19014      3/20/2017 Corporation                                                      $0.00                                                                                            $0.00
Blackwell Heating and Air Conditioning, Inc.
415 E Russell St                                                     RS Legacy Corporation fka RadioShack
Fayetteville, NC 28301                          19015      3/17/2017 Corporation                                                      $0.00                                                                                            $0.00
Johan Loaiza
197 Main Street 2nd Floor                                            RS Legacy Corporation fka RadioShack
Madison, NJ 07940                               19016      3/20/2017 Corporation                                                      $0.00                                                                                            $0.00
Johan Loaiza
197 Main Street 2ND Floor                                            RS Legacy Corporation fka RadioShack
Madison, NJ 07940                               19017      3/20/2017 Corporation                                                      $0.00                                                                                            $0.00
Rita Reblin
3515 191st place                                                     RS Legacy Corporation fka RadioShack
Chicago, Il 60617                               19018      3/21/2017 Corporation                                                      $0.00                                                                                            $0.00
Derrick Bane
1259 Fulton Ave apt 58                                               RS Legacy Corporation fka RadioShack
Sacramento, CA 95825                            19019      3/21/2017 Corporation                                                      $0.00                                                                                            $0.00
Chris barnard
2708 Forecastle Drive                                                RS Legacy Corporation fka RadioShack
Fort Collins, Colorado 80524                    19020      3/21/2017 Corporation                                                      $0.00                                                                                            $0.00
Chris barnard
2708 Forecastle Drive                                                RS Legacy Corporation fka RadioShack
Fort Collins, Colorado 80524                    19021      3/21/2017 Corporation                                                      $0.00                                                                                            $0.00
Cynthia Panella
4239 W 108th Place                                                   RS Legacy Corporation fka RadioShack
Oak Lawn, IL 60453                              19022      3/22/2017 Corporation                                                      $0.00                                                                                            $0.00
Teresa allen
2188 Thomas ct                                                       RS Legacy Corporation fka RadioShack
Brentwood, Ca 94513                             19023      3/22/2017 Corporation                                                      $0.00                                                                                            $0.00
angie Villa
2915 Mountain Ave                                                    RS Legacy Corporation fka RadioShack
El Paso, tx 79930                               19024      3/22/2017 Corporation                                                      $0.00                                                                                            $0.00
mark lohr
46 channing cross                                                    RS Legacy Corporation fka RadioShack
hampton bays, ny 11946                          19025      3/23/2017 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Patrick Chow
21841 Propello Dr.                                             RS Legacy Corporation fka RadioShack
Santa Clarita, CA 91350                   19026      3/23/2017 Corporation                                                      $0.00                                                                                            $0.00
Patrick Chow
21841 Propello Dr.                                             RS Legacy Corporation fka RadioShack
Santa Clarita, CA 91350                   19027      3/23/2017 Corporation                                                      $0.00                                                                                            $0.00
Yvonne Kasper
250 Fletcher Tutor Rd                                          RS Legacy Corporation fka RadioShack
Holly springs, NC 27540                   19028      3/24/2017 Corporation                                                      $0.00                                                                                            $0.00
Julean DeJesus
718 President Street                                           RS Legacy Corporation fka RadioShack
Brooklyn, NY 11215                        19029      3/24/2017 Corporation                                                      $0.00                                                                                            $0.00
Prince Marshall
6 Quaker Ln                                                    RS Legacy Corporation fka RadioShack
Selden, NY 11784‐1209                     19030      3/24/2017 Corporation                                                      $0.00                                                                                            $0.00
Michael Closson
17141 Harbor Bluffs Circle
Apt A                                                          RS Legacy Corporation fka RadioShack
Huntington Beach, CA 92649                19031      3/24/2017 Corporation                                                      $0.00                                                                                            $0.00
Michael Closson
17141 Harbor Bluffs Circle
Apt A                                                          RS Legacy Corporation fka RadioShack
Huntington Beach, CA 92649                19032      3/24/2017 Corporation                                                      $0.00                                                                                            $0.00
Ruben Martinez
7610 Taxco St. El Paso, Tx 79915                               RS Legacy Corporation fka RadioShack
El Paso, Tx 79915                         19033      3/25/2017 Corporation                                                      $0.00                                                                                            $0.00
Ruben Martinez
7610 Taxco St. El Paso, Tx 79915                               RS Legacy Corporation fka RadioShack
El Paso, Tx 79915                         19034      3/25/2017 Corporation                                                      $0.00                                                                                            $0.00
Ruben Martinez
7610 Taxco St. El Paso, Tx 79915                               RS Legacy Corporation fka RadioShack
El Paso, Tx 79915                         19035      3/25/2017 Corporation                                                      $0.00                                                                                            $0.00
Jeffrey almario
444 s occidental blvd 206                                      RS Legacy Corporation fka RadioShack
Los Angeles, Ca 90057                     19036      3/25/2017 Corporation                                                      $0.00                                                                                            $0.00
Kevin Rahman
30120 Underwood Drive                                          RS Legacy Corporation fka RadioShack
Warren, mi 48092                          19037      3/25/2017 Corporation                                                      $0.00                                                                                            $0.00
Jon Haverman
13496 Trenton Trail                                            RS Legacy Corporation fka RadioShack
Middelburg Heights, Ohio 44130            19038      3/25/2017 Corporation                                                      $0.00                                                                                            $0.00
Ron Silverman
1406 Village Center Dr.                                        RS Legacy Corporation fka RadioShack
Medford, OR 97504                         19039      3/25/2017 Corporation                                                      $0.00                                                                                            $0.00
Gail L. Oliver
520 California Avenue NE                                       RS Legacy Corporation fka RadioShack
Palm Bay, FL 32907‐2631                   19040      3/27/2017 Corporation                                                      $0.00                                                                                            $0.00
Tom Wall
432 Ashford Avenue                                             RS Legacy Corporation fka RadioShack
Tonawanda, New York 14150                 19041      3/27/2017 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address            Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                              Amount                                                     Amount
Marc Simon
140 Echo Glen Drive                                                    RS Legacy Corporation fka RadioShack
Washington, PA 15301                              19042      3/27/2017 Corporation                                                      $0.00                                                                                            $0.00
Holt, Joe
24065 Bain Rd.                                                         RS Legacy Corporation fka RadioShack
Athens, AL 35613                                  19043      3/28/2017 Corporation                                                    $552.13                                                                                          $552.13
Duke, Mike
5127 Parkway Drive                                                     RS Legacy Corporation fka RadioShack
Jackson, MI 39211                                 19044      3/28/2017 Corporation                                                      $0.00                                                                                            $0.00
Sachs, Dennis E.
5818 W. Hope Ct.                                                       RS Legacy Corporation fka RadioShack
White Bear Lake, MN 55110                         19045      3/28/2017 Corporation                                                      $0.00                                                                                            $0.00
Ferrell, Mikka
3309 Hardee Farms Dr                                                   RS Legacy Corporation fka RadioShack
New Bern, NC 28562                                19046      3/28/2017 Corporation                                                      $0.00                                                                                            $0.00
Silverberg, Adam
807 Barbara Blvd                                                       RS Legacy Corporation fka RadioShack
Hendersonville, NC 28739                          19047      3/27/2017 Corporation                                                      $0.00                                                                                            $0.00
Peoples, Robert
6522 Apple Ave                                                         RS Legacy Corporation fka RadioShack
Pittsburgh, PA 15206                              19048      3/28/2017 Corporation                                                      $0.00                                                                                            $0.00
Sheehan, Annette
108 Mildred Place                                                      RS Legacy Corporation fka RadioShack
Bellmore, NY 11710                                19049      3/22/2017 Corporation                                                      $0.00                                                                                            $0.00
Cerqua, Amanda
823 South Anaheim Blvd.
Unit 102                                                               RS Legacy Corporation fka RadioShack
Anaheim, CA 92805                                 19050      3/22/2017 Corporation                                                      $0.00                                                                                            $0.00
Airport Glass & Mirror, LLC
11819 Old Spanish Trail                                                RS Legacy Corporation fka RadioShack
Orland Park, IL 60467                             19051      3/23/2017 Corporation                                                      $0.00                                                                                            $0.00

Interactive Communications International, Inc.
c/o Bryan Bates, Esq.
Dentons US LLP
303 Peachtree St., NE #5300                                            RS Legacy Corporation fka RadioShack
Atlanta, GA 30308                                 19052      3/27/2017 Corporation                                               $190,000.00                                                                                       $190,000.00
Mid‐State Heating and Air
6807 Monticello Rd                                                     RS Legacy Corporation fka RadioShack
Columbia, SC 29203                                19053      3/27/2017 Corporation                                                      $0.00                                                                                            $0.00
Cellphone‐Mate, Inc. DBA Surecall
48346 Milmont Dr                                                       RS Legacy Corporation fka RadioShack
Fremont, CA 94538                                 19054      3/21/2017 Corporation                                                      $0.00                                                                                            $0.00
THE MIKE TALLEFF LLC
1940 MIMOSA PLACE                                                      RS Legacy Corporation fka RadioShack
FULLERTON, CA 92835‐2246                          19055      3/27/2017 Corporation                                                      $0.00                                                                                            $0.00
Topa Properties, LLC
Law Offices of Duensing & Casner
P.O. Box 6785                                                          RS Legacy Corporation fka RadioShack
St. Thomas, VI 00804                              19056      3/22/2017 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Sarah Richardson
4854 Dana Ct                                                   RS Legacy Corporation fka RadioShack
Avon, IN 46123                            19057      3/28/2017 Corporation                                                      $0.00                                                                                            $0.00
Sarah Richardson
4854 Dana Ct                                                   RS Legacy Corporation fka RadioShack
Avon, IN 46123                            19058      3/28/2017 Corporation                                                      $0.00                                                                                            $0.00
Sarah Richardson
4854 Dana Ct                                                   RS Legacy Corporation fka RadioShack
Avon, IN 46123                            19059      3/28/2017 Corporation                                                      $0.00                                                                                            $0.00
howard madnick
6114 wilmington dr                                             RS Legacy Corporation fka RadioShack
burke, va 22015‐3824                      19060      3/28/2017 Corporation                                                      $0.00                                                                                            $0.00
howard madnick
6114 wilmington dr                                             RS Legacy Corporation fka RadioShack
burke, va 22015‐3824                      19061      3/28/2017 Corporation                                                      $0.00                                                                                            $0.00
howard madnick
6114 wilmington dr                                             RS Legacy Corporation fka RadioShack
burke, va 22015‐3824                      19062      3/28/2017 Corporation                                                      $0.00                                                                                            $0.00
Town of Milford
Tax Collector
1 Union Square                                                 RS Legacy Corporation fka RadioShack
Milford, NH 03055                         19063      3/24/2017 Corporation                                                                                                                                                       $0.00
Jones, Christine
350 Palomino Ct                                                RS Legacy Corporation fka RadioShack
Iowa City, IA 52240                       19064      3/20/2017 Corporation                                                      $0.00                                                                                            $0.00
Karar, Amr
7351 Black Walnut Way                                          RS Legacy Corporation fka RadioShack
Lakewood Ranch, FL 34202                  19065      3/11/2017 Corporation                                                      $0.00                                                                                            $0.00
Hill, Kiana
1158 University Avenue                                         RS Legacy Corporation fka RadioShack
Dubuque, IA 52001                         19066      3/17/2017 Corporation                                                      $0.00                                                                                            $0.00
Vladimirov, Yevgeny
18910 Floral St.                                               RS Legacy Corporation fka RadioShack
Livonia, MI 48152                         19067      3/19/2017 Corporation                                                      $0.00                                                                                            $0.00
Highland, Victoria
1452 Tremont St                                                RS Legacy Corporation fka RadioShack
Poplar Bluff, MO 63901                    19068      3/22/2017 Corporation                                                      $0.00                                                                                            $0.00
FREINA, LLC
1001 WADE AVENUE
SUITE 300                                                      RS Legacy Corporation fka RadioShack
RALEIGH, NC 27605                         19069      3/24/2017 Corporation                                                  $6,914.15                                                                                        $6,914.15
Katelyn Triantafillakos
20 Helena st                                                   RS Legacy Corporation fka RadioShack
leominster, MA 01453                      19070      3/29/2017 Corporation                                                      $0.00                                                                                            $0.00
Leticia DeLaPaz
28426 Foothill Dr.                                             RS Legacy Corporation fka RadioShack
Agoura Hills, CA 91301                    19071      3/29/2017 Corporation                                                      $0.00                                                                                            $0.00
Shirley Suares
718 President Street                                           RS Legacy Corporation fka RadioShack
Brooklyn, NY 11215                        19072      3/29/2017 Corporation                                                      $0.00                                                                                            $0.00




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            Creditor Name and Address       Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                         Amount                                                     Amount
Ziprecruiter, Inc
401 Wilshire Blvd, 11th Floor                                     RS Legacy Corporation fka RadioShack
Santa Monica, CA 90401                       19073      3/28/2017 Corporation                                                      $0.00                                                                                            $0.00
Jackson, Daniele
1340 Donita Drive                                                 RS Legacy Corporation fka RadioShack
Red Bluff, CA 96080                          19074      3/28/2017 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                           RS Legacy Corporation fka RadioShack
                                             19075      3/30/2017 Corporation                                                                                                                                                       $0.00
C.Hoffberger Energy
PO Box 350                                                        RS Legacy Corporation fka RadioShack
Woodbury, NY 11797                           19076      3/29/2017 Corporation                                                      $0.00                                $0.00                                                       $0.00
Cassie Hilton
111 Ter7race Drive                                                RS Legacy Corporation fka RadioShack
Chico, CA 95926                              19077      3/30/2017 Corporation                                                      $0.00                                                                                            $0.00
Mary D'Amico
2241 Palmer Ave                                                   RS Legacy Corporation fka RadioShack
New Rochelle, NY 10801                       19078      3/30/2017 Corporation                                                      $0.00                                                                                            $0.00
Shenzhen Richseat Store Fixture Co., Ltd.
A‐1316, International Chamber of Commerce
Building, Fuhua 1 Road, Futian, Shenzen
Guangdong 518048                                                  RS Legacy Corporation fka RadioShack
China                                        19079      3/20/2017 Corporation                                                      $0.00                                                                                            $0.00
Ariza, Paula
2311 Eastview Ct                                                  RS Legacy Corporation fka RadioShack
San Ramon, CA 94582                          19080      3/28/2017 Corporation                                                      $0.00                                                                                            $0.00
Jackson, Daniele
1340 Donita Drive                                                 RS Legacy Corporation fka RadioShack
Red Bluff, CA 96080                          19081      3/28/2017 Corporation                                                      $0.00                                                                                            $0.00
Dynamics Associates, LLC
515 Madison Ave. Suite 18A                                        RS Legacy Corporation fka RadioShack
New York, NY 10022                           19082      3/28/2017 Corporation                                                                         $0.00                                 $0.00                                   $0.00
Patricia Schott
P.O. 1691                                                         RS Legacy Corporation fka RadioShack
Manteca, Ca 95336                            19083      3/30/2017 Corporation                                                      $0.00                                                                                            $0.00
Chapman, Jeffrey
10675 E. Palm Ridge Drive                                         RS Legacy Corporation fka RadioShack
Scottsdale, AZ 85255                         19084      3/31/2017 Corporation                                                      $0.00                                                                                            $0.00
Pacheco, Dawn M.
467 N. Main St.                                                   RS Legacy Corporation fka RadioShack
Gloversville, NY 12078                       19085      3/31/2017 Corporation                                                      $0.00                                                                                            $0.00
Cameron Lee
9 Knowlton Road                                                   RS Legacy Corporation fka RadioShack
Nashua, NH 03063                             19086      3/31/2017 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                           RS Legacy Corporation fka RadioShack
                                             19087      3/28/2017 Corporation                                                                                                                                                       $0.00
New Hampshire Department of Revenue
Administration
Legal Bureau
P.O. Box 457                                                      RS Legacy Corporation fka RadioShack
Concord, NH 03302‐0457                       19088      3/28/2017 Corporation                                                                                                                             $5,580.05             $5,580.05




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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
H&M Mechanical dba HRS
144 Hall Bryant Circle NW                                      RS Legacy Corporation fka RadioShack
Huntsville, AL 35806                      19089      3/28/2017 Corporation                                                      $0.00                                                                                            $0.00
Chaun Valentine
22 west 119th street                                           RS Legacy Corporation fka RadioShack
New York, NY 10026                        19090      3/31/2017 Corporation                                                      $0.00                                                                                            $0.00
william filipowich
6 charles henry way                                            RS Legacy Corporation fka RadioShack
seabrook, NH 03874                        19091      3/31/2017 Corporation                                                      $0.00                                                                                            $0.00
Asgeir Leifsson
1250 Londonderry st                                           RS Legacy Corporation fka RadioShack
Costa Mesa, CA 92626                      19092      4/1/2017 Corporation                                                       $0.00                                                                                            $0.00
Matthew Cavanaugh
22 White Birch Lane                                           RS Legacy Corporation fka RadioShack
Dalton, 18414 PA                          19093      4/1/2017 Corporation                                                       $0.00                                                                                            $0.00
Harpal Bangar
47 Cleremont Avenue                                           RS Legacy Corporation fka RadioShack
North Brunswick, NJ 08902                 19094      4/1/2017 Corporation                                                       $0.00                                                                                            $0.00
Chikeyla Dart
704 Walden Landing Drive                                      RS Legacy Corporation fka RadioShack
Hampton, Ga 30228                         19095      4/3/2017 Corporation                                                       $0.00                                                                                            $0.00
Ildiko Siklodi
50 Lynn Williams Street, Suite 1711                           RS Legacy Corporation fka RadioShack
Toronto, ON M6K 3R9                       19096      4/3/2017 Corporation                                                       $0.00                                                                                            $0.00
Martin Diekhoff
PO Box 1333                                                   RS Legacy Corporation fka RadioShack
Studio City, CA 91614                     19097      4/3/2017 Corporation                                                       $0.00                                                                                            $0.00
Sandra Bottcher
PO Box 2826                                                   RS Legacy Corporation fka RadioShack
Bonita Springs, FL 34133                  19098      4/3/2017 Corporation                                                       $0.00                                                                                            $0.00
christian prado
715 matoza ln                                                 RS Legacy Corporation fka RadioShack
san leandro, ca 94577                     19099      4/3/2017 Corporation                                                       $0.00                                                                                            $0.00
Suyehiro, Kristina
1530 Ascension Drive                                          RS Legacy Corporation fka RadioShack
San Mateo, CA 94402                       19100      4/3/2017 Corporation                                                       $0.00                                                                                            $0.00
Cassola, Peter
3428 Homestead Avenue                                         RS Legacy Corporation fka RadioShack
Wantagh, NY 11793                         19101      4/3/2017 Corporation                                                       $0.00                                                                                            $0.00
Vargo, Brad
110 Highland Ave.                                             RS Legacy Corporation fka RadioShack
Washington, PA 15301                      19102      4/3/2017 Corporation                                                       $0.00                                                                                            $0.00
Romine, Richard L
7904 Cayenne Way                                              RS Legacy Corporation fka RadioShack
Pensacola, FL 32526                       19103      4/3/2017 Corporation                                                       $0.00                                                                                            $0.00
Alvarado, Carlos A.
PO Box 207                                                    RS Legacy Corporation fka RadioShack
Montville, NJ 07045                       19104      4/3/2017 Corporation                                                       $0.00                                                                                            $0.00
Chapman, Jeffrey
10675 E. Palm Ridge Drive                                     RS Legacy Corporation fka RadioShack
Scottsdale, AZ 85255                      19105      4/4/2017 Corporation                                                       $0.00                                                                                            $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Claim Docketed In Error                                       RS Legacy Corporation fka RadioShack
                                          19106      4/3/2017 Corporation                                                                                                                                                        $0.00
Fantauzzo, Stephan
3533 Cumberland St NW                                         RS Legacy Corporation fka RadioShack
Washington, DC 20008                      19107      4/3/2017 Corporation                                                       $0.00                                                                                            $0.00
Gould, Geraldine
PO Box 21826                                                  RS Legacy Corporation fka RadioShack
Tampa, FL 33622                           19108      4/4/2017 Corporation                                                      $10.00                                                                                           $10.00
Christopher Mooney
661 w Maryland ave                                            RS Legacy Corporation fka RadioShack
Somers point, Nj 08244                    19109      4/4/2017 Corporation                                                       $0.00                                                                                            $0.00
Destiny Sanchez
14460 W D st                                                  RS Legacy Corporation fka RadioShack
Kerman, CA 93630                          19110      4/4/2017 Corporation                                                       $0.00                                                                                            $0.00
Emma J Freeman
35 Eder Terrace                                               RS Legacy Corporation fka RadioShack
South Orange, NJ 07079                    19111      4/5/2017 Corporation                                                       $0.00                                                                                            $0.00
Michelle Whittington
1602 southway dr                                              RS Legacy Corporation fka RadioShack
Nerwark, De 19713                         19112      4/5/2017 Corporation                                                       $0.00                                                                                            $0.00
sheila hartmann
24 mallard lane                                               RS Legacy Corporation fka RadioShack
clinton, CT 06413                         19113      4/5/2017 Corporation                                                       $0.00                                                                                            $0.00
CENTER MORICHES SQUARE LLC
c/o DAMIANOS REALTY GROUP LLC
222 MIDDLE COUNTY ROAD
SUITE 300                                                     RS Legacy Corporation fka RadioShack
SMITHTOWN, NY 11787                       19114      4/5/2017 Corporation                                                   $4,303.60                                                                                        $4,303.60
CENTER MORICHES SQUARE LLC
c/o DAMIANOS REALTY GROUP LLC
222 MIDDLE COUNTRY ROAD
SUITE 300                                                     RS Legacy Corporation fka RadioShack
SMITHTOWN, NY 11787                       19115      4/5/2017 Corporation                                                       $0.00                                                                                            $0.00
Justine Bursoni
819 West Vine Street                                          RS Legacy Corporation fka RadioShack
Champaign, IL 61820                       19116      4/5/2017 Corporation                                                       $0.00                                                                                            $0.00
Sacramento Municipal Utility District
PO Box 15830, MS A253                                         RS Legacy Corporation fka RadioShack
Sacramento, CA 95852‐1830                 19117      4/6/2017 Corporation                                                       $0.00                                                                                            $0.00
Kim Hankins
101 Black Bear Way                                            RS Legacy Corporation fka RadioShack
South Mills, NC 27976                     19118      4/6/2017 Corporation                                                       $0.00                                                                                            $0.00
Kim Hankins
101 Black Bear Way                                            RS Legacy Corporation fka RadioShack
South Mills, NC 27976                     19119      4/6/2017 Corporation                                                       $0.00                                                                                            $0.00
Woodall, William
6802 Billingham Ct                                            RS Legacy Corporation fka RadioShack
Spring, TX 77379                          19120      4/3/2017 Corporation                                                       $0.00                                                                                            $0.00
Lucken, Linda or Dennis
30 Elijah St                                                   RS Legacy Corporation fka RadioShack
Woburn, MA 01801                          19121      3/31/2017 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Claim Docketed In Error                                       RS Legacy Corporation fka RadioShack
                                          19122      4/5/2017 Corporation                                                                                                                                                        $0.00
Smith, Michael E.
105 Rosewood Drive                                            RS Legacy Corporation fka RadioShack
Clovis, NM 88101                          19123      4/5/2017 Corporation                                                                                                                $0.00                                   $0.00
Homestead Plumbing & Heating Inc.
14 Hammond Street                                             RS Legacy Corporation fka RadioShack
Waltham, MA 02451                         19124      4/6/2017 Corporation                                                                                                                $0.00                                   $0.00
Brian E. Rhodomoyer
709 west street                                               RS Legacy Corporation fka RadioShack
Mifflinville, PA 18631                    19125      4/7/2017 Corporation                                                       $0.00                                                                                            $0.00
Mariaelaina tramondo
61 breezy pine circle #19                                     RS Legacy Corporation fka RadioShack
11955, Moriches New York                  19126      4/8/2017 Corporation                                                       $0.00                                                                                            $0.00
Male ego inc c/o mariaelaina tramondo
61 breezy pine circle #19                                     RS Legacy Corporation fka RadioShack
11955, Moriches New york                  19127      4/8/2017 Corporation                                                       $0.00                                                                                            $0.00
Carol Leonard
12713 Hitchcock Court                                         RS Legacy Corporation fka RadioShack
Reston, VA 20191                          19128      4/8/2017 Corporation                                                       $0.00                                                                                            $0.00
Mary Capasso
211 Matchaponix Ave                                            RS Legacy Corporation fka RadioShack
Monroe Township, NJ 08831‐4080            19129      4/11/2017 Corporation                                                      $0.00                                                                                            $0.00
Lisea Burney
1000 Pine Tree Circle Lot 13                                   RS Legacy Corporation fka RadioShack
Madison, Ga 30650                         19130      4/11/2017 Corporation                                                      $0.00                                                                                            $0.00
Krpata, Debra
38 Meadow Wood Ln.                                             RS Legacy Corporation fka RadioShack
Farmindale, NY 11735                      19131      4/12/2017 Corporation                                                      $0.00                                                                                            $0.00
Robinett, Anna J.
12860 Miami Trace Rd.                                          RS Legacy Corporation fka RadioShack
Greenfield, OH 45123                      19132      4/12/2017 Corporation                                                      $0.00                                                                                            $0.00
Allen, Teresa
2188 Thomas Ct                                                 RS Legacy Corporation fka RadioShack
Brentwood, CA 94513                       19133      4/13/2017 Corporation                                                      $0.00                                                                                            $0.00
Smoot, Janet
144 Rone Ave SW                                                RS Legacy Corporation fka RadioShack
Concord, NC 28025                         19134      4/13/2017 Corporation                                                      $0.00                                                                                            $0.00
Kopinski, Nicole
345 East Wacker Drive, Unit 4505                               RS Legacy Corporation fka RadioShack
Chicago, IL 60601                         19135      4/13/2017 Corporation                                                      $0.00                                                                                            $0.00
Bangar, Harpal
47 Cleremont Avenue                                            RS Legacy Corporation fka RadioShack
North Brunswick, NJ 08902                 19136      4/13/2017 Corporation                                                      $0.00                                                                                            $0.00
Texas Filter Service, LLC
10276 Robinson Drive                                          RS Legacy Corporation fka RadioShack
Tyler, TX 75703                           19137      4/6/2017 Corporation                                                       $0.00                                                                                            $0.00
Bramblett Family Trust
101 Ridgecrest                                                RS Legacy Corporation fka RadioShack
Dexter, NM 88201                          19138      4/8/2017 Corporation                                                       $0.00                                                                                            $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Cintas Managed Solutions dba Cleanway
2929 Expressway Drive North
Suite 300B                                                     RS Legacy Corporation fka RadioShack
Islandia, NY 11749                        19139      4/10/2017 Corporation                                                      $0.00                                                                                            $0.00
Wells, Matilda
5612 Henderson Rd                                              RS Legacy Corporation fka RadioShack
Montgomery, AL 36117                      19140      4/10/2017 Corporation                                                      $0.00                                                                                            $0.00
Carroll, Janet
10846 Downsville Pike #24                                      RS Legacy Corporation fka RadioShack
Hagerstown, MD 21740                      19141      4/14/2017 Corporation                                                      $0.00                                                                                            $0.00
Wilson, Linda
2838 Ninevah Rd                                                RS Legacy Corporation fka RadioShack
Frankfort, KY 40601‐8933                  19142      4/14/2017 Corporation                                                      $0.00                                                                                            $0.00
Flaherty, Patrick
80 N Glebe Rd.                                                 RS Legacy Corporation fka RadioShack
Arlington, VA 22203                       19143      4/14/2017 Corporation                                                      $0.00                                                                                            $0.00
Flaherty, Patrick
80 N Gebe Rd.                                                  RS Legacy Corporation fka RadioShack
Arlington, VA 22203                       19144      4/14/2017 Corporation                                                      $0.00                                                                                            $0.00
Flaherty, Patrick
80 N Glebe Rd.                                                 RS Legacy Corporation fka RadioShack
Arlington, VA 22203                       19145      4/14/2017 Corporation                                                      $0.00                                                                                            $0.00
Flaherty, Patrick
80 N Glebe Rd.                                                 RS Legacy Corporation fka RadioShack
Arlington, VA 22203                       19146      4/14/2017 Corporation                                                      $0.00                                                                                            $0.00
Flaherty, Patrick
80 N Glebe Rd.                                                 RS Legacy Corporation fka RadioShack
Arlington, VA 22203                       19147      4/14/2017 Corporation                                                      $0.00                                                                                            $0.00
Flaherty, Patrick
80 N Glebe Rd.                                                 RS Legacy Corporation fka RadioShack
Arlington, VA 22203                       19148      4/14/2017 Corporation                                                      $0.00                                                                                            $0.00
Flaherty, Patrick
80 N Glebe Rd.                                                 RS Legacy Corporation fka RadioShack
Arlington, VA 22203                       19149      4/14/2017 Corporation                                                      $0.00                                                                                            $0.00
Sacramento Municipal Utility District
PO Box 15830, MS A253                                         RS Legacy Corporation fka RadioShack
Sacramento, CA 95852‐1830                 19150      4/6/2017 Corporation                                                       $0.00                                                                                            $0.00
McGill, Vicki
162 San Felipe Way                                             RS Legacy Corporation fka RadioShack
Novato, CA 94945                          19151      4/18/2017 Corporation                                                      $0.00                                                                                            $0.00
Flaherty, Patrick
80 N Glebe Rd.                                                 RS Legacy Corporation fka RadioShack
Arlington, VA 22203                       19152      4/18/2017 Corporation                                                      $0.00                                                                                            $0.00
Boylan, Nicole
816 Cedar Point Circle                                         RS Legacy Corporation fka RadioShack
Elizabeth City, NC 27909                  19153      4/18/2017 Corporation                                                      $0.00                                                                                            $0.00
Bryant, Addie L.
825 Lavinia St.                                                RS Legacy Corporation fka RadioShack
Baton Rouge, LA 70806                     19154      4/18/2017 Corporation                                                      $0.00                                                                                            $0.00
Sanchez, Destiny
14460 W D St                                                   RS Legacy Corporation fka RadioShack
Kerman, CA 93630                          19155      4/18/2017 Corporation                                                      $0.00                                                                                            $0.00



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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Flores, Joana
1310 W Lunt Ave Apt 404                                        RS Legacy Corporation fka RadioShack
Chicago, IL 60626                         19156      4/18/2017 Corporation                                                      $0.00                                                                                            $0.00
DeBauw Trust
13500 SW Pacific Hwy
PMB 179                                                        RS Legacy Corporation fka RadioShack
Tigard, OR 97223                          19157      4/12/2017 Corporation                                                      $0.00                                                                                            $0.00
Brown, Eric
2562 Bryan Circle                                              RS Legacy Corporation fka RadioShack
Marietta, GA 30062                        19158      4/18/2017 Corporation                                                      $0.00                                                                                            $0.00
Levine, Kevin
201 Needle Court                                               RS Legacy Corporation fka RadioShack
Roseville, CA 95678                       19159      4/12/2017 Corporation                                                                         $0.00                                                                         $0.00
Magwili, Gerard
1901 Badger Pass Way                                           RS Legacy Corporation fka RadioShack
Antioch, CA 94531                         19160      4/15/2017 Corporation                                                      $0.00                                                                                            $0.00
Smith, Nicolette
6028 Roger St                                                  RS Legacy Corporation fka RadioShack
Jupiter, FL 33458                         19161      4/18/2017 Corporation                                                      $0.00                                                                                            $0.00
Rothbeind, Nancy
172 Landing Rd                                                 RS Legacy Corporation fka RadioShack
Glen Cove, NY 11542                       19162      4/18/2017 Corporation                                                      $0.00                                                                                            $0.00
Claim Docketed In Error                                        RS Legacy Corporation fka RadioShack
                                          19163      4/5/2017 Corporation                                                                                                                                                        $0.00
NOBLE COUNTY TREASURER
101 N ORANGE ST
ROOM 230                                                       RS Legacy Corporation fka RadioShack
ALBION, IN 46701                          19164      4/17/2017 Corporation                                                                                           $0.00                                                       $0.00
Mike's Plumbing and Drain Cleaning
P.O. Box 1535                                                  RS Legacy Corporation fka RadioShack
Edmonds, WA 98020‐1535                    19165      4/14/2017 Corporation                                                                                                               $0.00                                   $0.00
Apton, Mary
1528 Jackson Rd.                                              RS Legacy Corporation fka RadioShack
Penfield, NY 14526                        19166      4/8/2017 Corporation                                                                                                                $0.00                                   $0.00
MIKE'S HEATING & A/C SERVICE
25454 WILLIAM RD                                               RS Legacy Corporation fka RadioShack
PICAYUNE, MS 39466                        19167      4/11/2017 Corporation                                                                                                               $0.00                                   $0.00
ITI Hong Kong Co Ltd.
Unit 10B, 13/F, Cable TV Tower
9 Hoi Shing Road
Tsuen Wan                                                      RS Legacy Corporation fka RadioShack
Hong Kong                                 19168      4/10/2017 Corporation                                                      $0.00                                                                                            $0.00
Jeffries, Telvin
730 Elk Ridge                                                  RS Legacy Corporation fka RadioShack
Fairview, TX 75069                        19169      4/12/2017 Corporation                                                      $0.00              $0.00                                                                         $0.00
Johnson, Madison
604 S. Prairie Ave                                             RS Legacy Corporation fka RadioShack
Okmulgee, OK 74447                        19170      4/13/2017 Corporation                                                                                                               $0.00                                   $0.00
Capalbo Family LP
130 Granite Street                                             RS Legacy Corporation fka RadioShack
Westerly, RI 02891‐2461                   19171      4/11/2017 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Barber, LeRoy
318 S. Throop St
Apt 607                                                       RS Legacy Corporation fka RadioShack
Chicago, IL 60607                         19172      4/7/2017 Corporation                                                                                            $0.00                                                       $0.00
Flaherty, Patrick
80 N Glebe Rd.                                                 RS Legacy Corporation fka RadioShack
Arlington, VA 22203                       19173      4/10/2017 Corporation                                                      $0.00                                                                                            $0.00
Flaherty, Patrick
80 N Glebe Rd.                                                 RS Legacy Corporation fka RadioShack
Arlington, VA 22203                       19174      4/10/2017 Corporation                                                      $0.00                                                                                            $0.00
Armieri, Peter
66 Ridgewood Road                                              RS Legacy Corporation fka RadioShack
Ridgefield, CT 06877                      19175      4/20/2017 Corporation                                                                         $0.00                                                                         $0.00
Roberston, Linda Marie
725 Vista DelRey                                               RS Legacy Corporation fka RadioShack
Atwater, CA 95301                         19176      4/25/2017 Corporation                                                      $0.00                                                                                            $0.00
Pesl, Susan
1405 Bracher Street                                            RS Legacy Corporation fka RadioShack
Houston, TX 77055                         19177      4/22/2017 Corporation                                                      $0.00                                                                                            $0.00
Cheney, Gary
295 Legend Oaks Dr.                                            RS Legacy Corporation fka RadioShack
Dale, TX 78616                            19178      4/22/2017 Corporation                                                      $0.00                                                                                            $0.00
Cheney, Gary
295 Legend Oaks Dr.                                            RS Legacy Corporation fka RadioShack
Dale, TX 78616                            19179      4/22/2017 Corporation                                                      $0.00                                                                                            $0.00
Bode, Karl
1461 E. Cullumber Street                                       RS Legacy Corporation fka RadioShack
Gilbert, AZ 85233                         19180      4/24/2017 Corporation                                                      $0.00                                                                                            $0.00
Pesl, Susan
1405 Bracher Street                                            RS Legacy Corporation fka RadioShack
Houston, TX 77055                         19181      4/22/2017 Corporation                                                      $0.00                                                                                            $0.00
Olympic Signs
1130 N. Garfield                                               RS Legacy Corporation fka RadioShack
Lombard, IL 60148                         19182      4/18/2017 Corporation                                                      $0.00                                                                                            $0.00
Fish, Anna
11 Highland Terrace                                            RS Legacy Corporation fka RadioShack
Plymouth, MA 02360                        19183      4/18/2017 Corporation                                                      $0.00                                                                                            $0.00
Capital Group MDI, LLC
c/o Roth & Scholl
Attn: Jeffrey C. Roth, Esq.,
866 South Dixie Highway                                        RS Legacy Corporation fka RadioShack
Coral Gables, FL 33146                    19184      4/18/2017 Corporation                                                      $0.00                                                                                            $0.00
Owen, Cyndi
2014 East Gump Road                                            RS Legacy Corporation fka RadioShack
Fort Wayne, IN 46845                      19185      4/19/2017 Corporation                                                      $0.00                                                                                            $0.00
Scavo, Brian
5 Barclay St.                                                  RS Legacy Corporation fka RadioShack
Albany, NY 12209                          19186      4/19/2017 Corporation                                                      $0.00                                                                                            $0.00
Scott, Gregory
165 Woodcliff Avenue                                           RS Legacy Corporation fka RadioShack
Woodclif Lake, NJ 07677                   19187      4/19/2017 Corporation                                                                                                               $0.00                                   $0.00




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                                                                                                                    Current General                                            Current 503(b)(9)
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            Creditor Name and Address     Claim No.   Claim Date                      Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                     Amount
Beaubrun, Sandra
1401 Avenue J                                                   RS Legacy Corporation fka RadioShack
Brooklyn, NY 11230                         19188      4/20/2017 Corporation                                                       $0.00                                                                                            $0.00
ROYAL PLAZA ASSOCIATES
C/O THALHIMER COMMERCIAL REAL ESTATE
ATTN: STUCKEY ASSOCIATES, GP. GEORGE C.
STUCKEY
11100 WEST BROAD STREET                                         RS Legacy Corporation fka RadioShack
GLEN ALLEN, VA 23060                       19189      4/21/2017 Corporation                                                       $0.00                                                                                            $0.00
Robertson, Linda
725 Vista Delrey                                                RS Legacy Corporation fka RadioShack
Atwater, CA 95301                          19190      4/21/2017 Corporation                                                       $0.00                                                                                            $0.00
Squier, Justin
539 Coronado Place                                              RS Legacy Corporation fka RadioShack
Panama City Beach, FL 32413                19191      4/21/2017 Corporation                                                       $0.00                                                                                            $0.00
Casillas, Silvia
1881 Joyce St.                                                  RS Legacy Corporation fka RadioShack
Rialto, CA 92376                           19192      4/22/2017 Corporation                                                                                            $0.00                                                       $0.00
Laurent, Anjanette
PO Box 9825                                                     RS Legacy Corporation fka RadioShack
Moreno Valley, CA 92552                    19193      4/24/2017 Corporation                                                                          $0.00                                                                         $0.00
Russell, Nicole
PO Box 294                                                     RS Legacy Corporation fka RadioShack
Washington, NJ 07882                       19194      5/2/2017 Corporation                                                       $21.39                                                                                           $21.39
McGuirk, Joshua
13631 Putnam Rd                                                 RS Legacy Corporation fka RadioShack
Conneaut Lake, PA 16316                    19195      4/26/2017 Corporation                                                       $0.00                                                                                            $0.00
Roberts, Carolyn
5440 Friendly Street                                           RS Legacy Corporation fka RadioShack
Cocoa, FL 32927                            19196      5/2/2017 Corporation                                                                           $0.00                                                                         $0.00
Johnson, Cal
1210 East Arctic Ave
Box 671                                                        RS Legacy Corporation fka RadioShack
Folly Beach, SC 29439                      19197      5/1/2017 Corporation                                                        $0.00                                                                                            $0.00
VGR Associates, LLC
40 East 69th Street
4th Floor                                                      RS Legacy Corporation fka RadioShack
New York, NY 10021                         19198      5/1/2017 Corporation                                                        $0.00                                                                                            $0.00
Gomez, Gabriela
1394 Via Vista Dr                                               RS Legacy Corporation fka RadioShack
Riverside, CA 92506                        19199      4/25/2017 Corporation                                                                          $0.00                                                                         $0.00
Roberts, Carolyn
5450 Friendly Street
Cocoa, FL 32927                            19200      5/2/2017 Atlantic Retail Ventures, Inc.                                                        $0.00                                                                         $0.00
Greenfield, Connie
118 N Sunset Ave.                                              RS Legacy Customer Service LLC fka RadioShack
Freeport, IL 61032                         19201      5/3/2017 Customer Service LLC                                               $0.00                                                                                            $0.00
Mao, Chunna
2646 Scottsdale Pl.                                             RS Legacy Corporation fka RadioShack
Richland, WA 99354                         19202      5/10/2017 Corporation                                                       $0.00                                                                                            $0.00




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                                                                                                                               Current General                                            Current 503(b)(9)
                                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address                 Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                                   Amount                                                     Amount
Wilson, Albert M
3833 Tuckerton Drive                                                        RS Legacy Corporation fka RadioShack
Land O' Lakes, FL 34638                                19203      5/11/2017 Corporation                                                                                                               $0.00                                   $0.00
Seils, Gary
11017 S. Lawndale Ave.                                                      RS Legacy Corporation fka RadioShack
Chicago, IL 60655                                      19204      5/10/2017 Corporation                                                      $0.00                                                                                            $0.00
Pearce, Jeffrey
18169 Ballard Ave                                                           RS Legacy Corporation fka RadioShack
Lake Elsinore, CA 92530                                19205      5/14/2017 Corporation                                                                         $0.00                                                                         $0.00
Krueger, Sam
N204 Hopfensperger Rd                                                       RS Legacy Corporation fka RadioShack
Appleton, WI 54915                                     19206      5/16/2017 Corporation                                                                                                               $0.00                                   $0.00
JEG & Sons, Inc.
Attn: Eli Nash
20000 NE 15th Court                                                         RS Legacy Corporation fka RadioShack
Miami, FL 33179                                        19207      5/16/2017 Corporation                                                $90,900.00                                                                                        $90,900.00
Franklin, Lisabeth A
Legacy Gift card                                                            RS Legacy Corporation fka RadioShack
                                                       19208      5/15/2017 Corporation                                                      $0.00                                                                                            $0.00
G&Y Company Limited
Unit 2608, Greenfield Tower, Concordia Plaza, No. 1
Science Museum Road, Tsim
Sha Tsui East, Kowloon                                                      RS Legacy Corporation fka RadioShack
Hong Kong                                              19209      5/17/2017 Corporation                                                      $0.00                                                                                            $0.00
Curtis, Jeanette
705 West Chanslor Way                                                       RS Legacy Corporation fka RadioShack
Blythe, CA 92225                                       19210      5/17/2017 Corporation                                                                         $0.00                                                                         $0.00
ZHANG, RONG
1404 LORDS CT                                                               RS Legacy Corporation fka RadioShack
WILMINGTON , MA 01887                                  19211      5/19/2017 Corporation                                                    $300.02                                                                                          $300.02
Misaghi, Sina
21500 Burbank Blvd #206                                                     RS Legacy Corporation fka RadioShack
Woodland Hills, CA 91367                               19212      5/18/2017 Corporation                                                      $0.00                                                                                            $0.00
Mobarak, Sarah
704 Downing St                                                              RS Legacy Corporation fka RadioShack
Parlin, NJ 08859                                       19213      5/18/2017 Corporation                                                      $0.00                                                                                            $0.00
Kane, Adam
342 Gallup Rd                                                               RS Legacy Corporation fka RadioShack
Franklin, VT 05457                                     19214      5/19/2017 Corporation                                                      $0.00                                                                                            $0.00
O'Neill, Michele
471 Phlox Ct.                                                               RS Legacy Corporation fka RadioShack
Thousand Oaks, CA 91360‐1437                           19215      5/21/2017 Corporation                                                      $0.00                                                                                            $0.00
Casapini, Anthony
301 Merrifield Ave.                                                         RS Legacy Corporation fka RadioShack
Oceanside, NY 11572                                    19216      5/19/2017 Corporation                                                                         $0.00                                                                         $0.00
Susskind, Willasue
16 Island Avenue                                                            RS Legacy Corporation fka RadioShack
Miami Beach, FL 33139                                  19217      5/19/2017 Corporation                                                      $0.00                                                                                            $0.00
Ladd, Tabitha
97 Russell Ct                                                               RS Legacy Corporation fka RadioShack
Ypsilanti, MI 48198                                    19218      5/23/2017 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                  Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Miramontes, Marisela
435 North Hill Street                                          RS Legacy Corporation fka RadioShack
Arvin, CA 93203                           19219      5/23/2017 Corporation                                                      $0.00                                                                                            $0.00
Swysgood, Dustin
415 Herondo St
Apt 114                                                        RS Legacy Corporation fka RadioShack
Hermosa Beach, CA 90254                   19220      5/24/2017 Corporation                                                      $0.00                                                                                            $0.00
Nanney, Lindsey
925 Tidalwalk Drive                                            RS Legacy Corporation fka RadioShack
Wilmington, NC 28409                      19221      5/22/2017 Corporation                                                                                                               $0.00                                   $0.00
Chen, Yi Min
290 Hale Street                                                RS Legacy Corporation fka RadioShack
San Francisco, CA 94134                   19222      5/25/2017 Corporation                                                                         $0.00                                                                         $0.00
Du Bois, Ri'chard
727 Bridle Ridge Drive                                         RS Legacy Corporation fka RadioShack
Fairfield, CA 94534                       19223      5/27/2017 Corporation                                                      $0.00                                                                                            $0.00
Cooper, Katherine
1370 16th Ave 4                                                RS Legacy Corporation fka RadioShack
San Francisco, CA 94122                   19224      5/27/2017 Corporation                                                      $0.00                                                                                            $0.00
Chamichyan, Lusine
4350 Prospect Ave # 6                                          RS Legacy Corporation fka RadioShack
Los Angeles, CA 90027                     19225      5/31/2017 Corporation                                                                         $0.00                                                                         $0.00
Carbajal, Cecilia
1421 S. Portland Ave.                                          RS Legacy Corporation fka RadioShack
Gilbert, AZ 85296                         19226      5/31/2017 Corporation                                                      $0.00                                                                                            $0.00
Sevilla, Krystyna
67‐40 Booth St Apt 2P                                          RS Legacy Corporation fka RadioShack
Forest Hills, NY 11375                    19227      5/31/2017 Corporation                                                      $0.00                                                                                            $0.00
Comfort Flow Heating
1951 Don St                                                   RS Legacy Corporation fka RadioShack
Springfield, OR 97477                     19228      6/1/2017 Corporation                                                       $0.00                                                                                            $0.00
Flores, Dina
18147 Holly Green Dr.                                         RS Legacy Corporation fka RadioShack
Houston, TX 77084                         19229      6/2/2017 Corporation                                                       $0.00                                                                                            $0.00
Bauer, Sylvia
10 Wintergreen Rd                                             RS Legacy Corporation fka RadioShack
Queensbury, NY 12804                      19230      6/5/2017 Corporation                                                       $0.00                                                                                            $0.00
Lapk, A.
2750 Old St Augustine Rd B1                                    RS Legacy Corporation fka RadioShack
Tallahassee, FL 32301                     19231      5/29/2017 Corporation                                                      $0.00                                                                                            $0.00
Morales Jr., Felipe
620 Grant Way                                                 RS Legacy Corporation fka RadioShack
Oxnard, CA 93033                          19232      6/1/2017 Corporation                                                       $0.00                                                                                            $0.00
Mitchell, Gary
1440 El Campo                                                 RS Legacy Corporation fka RadioShack
Dallas, TX 75218                          19233      6/2/2017 Corporation                                                       $0.00                                                                                            $0.00
Adamczewski, Jonathan
7235 Willow Way Ln
Unit C                                                        RS Legacy Corporation fka RadioShack
Willowbrook, IL 60527                     19234      6/8/2017 Corporation                                                       $0.00                                                                                            $0.00




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            Creditor Name and Address    Claim No.   Claim Date                     Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Radtke, Bruce
7210 Jordan Ave B12                                            RS Legacy Corporation fka RadioShack
Canoga Park, CA 91303                     19235      6/13/2017 Corporation                                                      $0.00                                                                                            $0.00
Hedrick, Nicole
4732 Via Serra                                                 RS Legacy Global Sourcing Corporation fka
Fallbrook, CA 92028                       19236      6/14/2017 RadioShack Global Sourcing Corporation                           $0.00                                                                                            $0.00
Grand Traverse Mall, L.L.C.
c/o Rouse Properties, Inc.
Attn: Matthew Hickey
1114 Avenue of Americas, Suite 2800                           RS Legacy Corporation fka RadioShack
New York, NY 10036‐7703                   19237      6/6/2017 Corporation                                                                                                                              $8,597.42             $8,597.42
Greeley, Mary
3414 Bargain Town Rd                                          RS Legacy Corporation fka RadioShack
EHT, NJ 08234                             19238      6/7/2017 Corporation                                                                          $0.00             $0.00               $0.00                                   $0.00
iProspect.com, Inc.
Attn: Loren Cooper
150 East 42nd Street, 11th Floor                              RS Legacy Corporation fka RadioShack
New York , NY 10017                       19239      6/7/2017 Corporation                                              $1,149,772.55                                                                                     $1,149,772.55
Schable, Tearsa
5192 West 400 South                                           RS Legacy Corporation fka RadioShack
LaPorte, IN 46350                         19240      6/9/2017 Corporation                                                                          $0.00             $0.00               $0.00                                   $0.00
HONG, ZHIJIAN
606 BUCKINGHAM DRIVE                                           RS Legacy Corporation fka RadioShack
PISCATAWAY, NJ 08854                      19241      6/13/2017 Corporation                                                                                                               $0.00                                   $0.00
Morales, Felipe
620 Grant Way                                                  RS Legacy Corporation fka RadioShack
Oxnard, CA 93033                          19242      6/16/2017 Corporation                                                      $0.00                                                                                            $0.00
Google Inc.
c/o White and Williams LLP
Att: Steven E. Ostrow, Esquire
7 Times Square, 29th Floor                                     RS Legacy Corporation fka RadioShack
New York, NY 10036                        19243      6/19/2017 Corporation                                               $950,000.00                                                                                       $950,000.00
Hall, Donna
1512 Grimes Road                                               RS Legacy Corporation fka RadioShack
Mineral Wells, TX 76067                   19244      6/16/2017 Corporation                                                                                                               $0.00                                   $0.00
Sarracco Mechanical Services Inc
PO Box 475                                                     RS Legacy Corporation fka RadioShack
Brattleboro, VT 05302                     19245      6/20/2017 Corporation                                                      $0.00                                                    $0.00                                   $0.00
Kent, Andrew
611 S. Oak St. Ap. 1                                           RS Legacy Corporation fka RadioShack
Ukiah, CA 95482                           19246      6/21/2017 Corporation                                                                         $0.00                                                                         $0.00
Drapela, A J
P O Box 348
227 Rim Rock Circle W                                          RS Legacy Corporation fka RadioShack
Hunt, TX 78024‐0348                       19247      6/24/2017 Corporation                                                      $0.00                                                                                            $0.00
Raimo, Grace
PO Box 764
36 Michelli Rd                                                 RS Legacy Corporation fka RadioShack
Lake George, NY 12845                     19248      6/26/2017 Corporation                                                      $0.00                                                                                            $0.00
Corrigan, William
4622 Rosemead Blvd                                             RS Legacy Corporation fka RadioShack
Pico Rivera, CA 90660                     19249      6/28/2017 Corporation                                                      $0.00                                                                                            $0.00



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                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Gomez, Gabriela
1394 Via Vista Dr                                              RS Legacy Corporation fka RadioShack
Riverside, CA 92506                       19250      6/27/2017 Corporation                                                      $0.00                                                                                            $0.00
Fleischmann, Brad
260 Moses Creek Blvd                                           RS Legacy Corporation fka RadioShack
Saint Augustine, FL 32086                 19251      6/29/2017 Corporation                                                      $0.00                                                                                            $0.00
Shaver, John
48 Pamela Lane                                                 RS Legacy Corporation fka RadioShack
Saratoga Springs, NY 12866                19252      6/28/2017 Corporation                                                      $0.00                                                                                            $0.00
Giacci, Charles
514 33rd Ave N
Apt. A                                                         RS Legacy Corporation fka RadioShack
Myrtle Beach, SC 29577                    19253      6/29/2017 Corporation                                                      $0.00                                                                                            $0.00
Olushoga, Mary
2050 Seward Ave; 6K                                            RS Legacy Corporation fka RadioShack
Bronx, NY 10473                           19254      6/30/2017 Corporation                                                      $0.00                                                                                            $0.00
Del Valle, Ramon
455 East 9th Street                                            RS Legacy Corporation fka RadioShack
Hialeah, FL 33010                         19255      6/27/2017 Corporation                                                                         $0.00                                 $0.00                                   $0.00
Vilca, Andy Alexis Diego
2118 Georgian Woods Place                                      RS Legacy Corporation fka RadioShack
Wheaton, MD 20902                         19256      6/30/2017 Corporation                                                                         $0.00                                                                         $0.00
Desimone, Olimpia
59 Platt Street                                               RS Legacy Corporation fka RadioShack
Ansonia, CT 06401                         19257      7/5/2017 Corporation                                                       $0.00                                                                                            $0.00
Pina, Cindy
18522 Zachary Lane                                            RS Legacy Corporation fka RadioShack
Kennett, MO 63857                         19258      7/6/2017 Corporation                                                       $0.00                                                                                            $0.00
Washburn, Terry
1921 Kiowa                                                     RS Legacy Corporation fka RadioShack
                                          19259      7/10/2017 Corporation                                                      $0.00                                                                                            $0.00
Brown, Kassandra
204 East Third Street
P.O.Box 125                                                    RS Legacy Corporation fka RadioShack
Russellville, IN 46175                    19260      7/12/2017 Corporation                                                      $0.00                                                                                            $0.00
Hong, Zhijian
606 Buckingham Drive                                           RS Legacy Corporation fka RadioShack
Piscataway, NJ 08854                      19261      6/13/2017 Corporation                                                                                                               $0.00                                   $0.00
Lathbury, Bruce
6622 Royal Parkway South                                      RS Legacy Corporation fka RadioShack
Lockport, NY 14094                        19262      7/6/2017 Corporation                                                      $13.81                                                                                           $13.81
Aggarwal, Surinder
350 Sunshine Drive                                            RS Legacy Corporation fka RadioShack
Coconut Creek, FL 33066                   19263      7/6/2017 Corporation                                                       $0.00                                                                                            $0.00
Tolbert, Randall P
2519 Pinnacle Drive                                            RS Legacy Corporation fka RadioShack
Salina, KS 67401                          19264      7/12/2017 Corporation                                                      $0.00                                                                                            $0.00
MOSICH FAMILY TRUST
PO BOX 3738                                                    RS Legacy Corporation fka RadioShack
MISSION VIEJO, CA 92690                   19265      7/14/2017 Corporation                                                $14,739.76                                                                                        $14,739.76




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                                                                                                                        Current General                                            Current 503(b)(9)
                                                                                                                                              Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address          Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                            Amount                                                     Amount
Lopez , Joshua
12102 Emrys Ave                                                      RS Legacy Corporation fka RadioShack
Garden Grove, CA 92840                          19266      7/16/2017 Corporation                                                                         $0.00                                                                         $0.00
Mandani, Milan
151 Marbly Ave                                                       RS Legacy Corporation fka RadioShack
Daly City, CA 94015                             19267      7/16/2017 Corporation                                                     $30.00                                                                                           $30.00
Beshara, Mariam                                                      RS Legacy Corporation fka RadioShack
                                                19268      7/20/2017 Corporation                                                      $0.00                                                                                            $0.00
Mills, Kristen
W383 Golden Glow Rd                                                  RS Legacy Corporation fka RadioShack
Kaukauna, WI 54130                              19269      7/18/2017 Corporation                                                      $0.00                                                                                            $0.00
Malone, Mark
9714 Mallard Drive SE                                                RS Legacy Corporation fka RadioShack
Olympia, WA 98513                               19270      7/18/2017 Corporation                                                      $0.00                                                                                            $0.00
FC Ballston Common Mall, LLC
Forest City Commercial Management, LLC
50 Public Square, Terminal Tower, Suite 1360                         RS Legacy Corporation fka RadioShack
Cleveland, OH 44113                             19271      7/13/2017 Corporation                                                      $0.00                                                                                            $0.00
Baker, Marisa
28314 Fair Chase Ct                                                  RS Legacy Corporation fka RadioShack
Katy, TX 77494                                  19272      7/25/2017 Corporation                                                                                                               $0.00                                   $0.00
Ferro, Chris
18950 Brown St.                                                      RS Legacy Corporation fka RadioShack
Perris, CA 92570                                19273      7/29/2017 Corporation                                                                         $0.00                                 $0.00                                   $0.00

DEPARTMENT OF TAXATION, STATE OF HAWAII
ATTN: BANKRUPTCY UNIT
PO BOX 259                                                          RS Legacy Corporation fka RadioShack
HONOLULU, HI 96809                              19274      8/8/2017 Corporation                                                 $13,294.36                                                                                        $13,294.36
Furick, Grant
1933 N Utah St.                                                     RS Legacy Corporation fka RadioShack
Arlington, VA 22207                             19275      8/9/2017 Corporation                                                       $0.00                                                                                            $0.00
TSUI, KWAN YIU
16419 SE 24TH                                                        RS Legacy Corporation fka RadioShack
BELLEVUE, WA 98008                              19276      8/11/2017 Corporation                                                      $0.00                                                                                            $0.00
Baldwin, Josh
4 Pelham Drive                                                       RS Legacy Corporation fka RadioShack
Landenberg, PA 19350                            19277      8/11/2017 Corporation                                                                         $0.00             $0.00               $0.00                                   $0.00
Furick, Grant
1933 N Utah St.                                                      RS Legacy Corporation fka RadioShack
Arlington, VA 22207                             19278      8/11/2017 Corporation                                                      $0.00                                                                                            $0.00
Lu, Yi
45280 S. Grimmer Blvd                                                RS Legacy Corporation fka RadioShack
Fremont, CA 94539                               19279      8/20/2017 Corporation                                                                         $0.00                                                                         $0.00
Gong, Crystal
75 West End Avenue Apt# C‐5D                                         RS Legacy Corporation fka RadioShack
New York, NY 10023                              19280      8/25/2017 Corporation                                                      $0.00                                                                                            $0.00
Gong, Crystal
75 West End Avenue Apt# C‐5D                                         RS Legacy Corporation fka RadioShack
New York, NY 10023                              19281      8/25/2017 Corporation                                                      $0.00                                                                                            $0.00




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                                                                                                                   Current General                                            Current 503(b)(9)
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            Creditor Name and Address    Claim No.   Claim Date                      Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                       Amount                                                     Amount
Ostrum, Lorraine
1125 Church Avenue                                             RS Legacy Corporation fka RadioShack
Wisconsin Rapids, WI 54494                19282      8/28/2017 Corporation                                                       $0.00                                                                                            $0.00
The Ohio Department of Taxation
Bankruptcy Div.
PO Box 530                                                     RS Legacy Corporation fka RadioShack
Columbus, OH 43216                        19283      8/28/2017 Corporation                                                       $0.00              $0.00                                                                         $0.00
The Ohio Department of Taxation
Bankruptcy Div.
PO Box 530
Columbus, OH 43216                        19284      8/28/2017 SCK, Inc.                                                         $0.00              $0.00                                                                         $0.00
Pickens, Elizabeth
209 Steeple Road                                               RS Legacy Corporation fka RadioShack
Holly Springs, NC 27540                   19285      8/30/2017 Corporation                                                      $24.53                                                                                           $24.53
Jenkins, Jr., William R.
Jackson Walker LLP
777 Main Street, Suite 2100                                   RS Legacy Corporation fka RadioShack
Fort Worth, TX 76102                      19286      9/5/2017 Corporation                                                                                                                                   $0.00                 $0.00
Odell, Will
12661 Summit Ridge Drive                                       RS Legacy Corporation fka RadioShack
Nevada City, CA 95959                     19287      9/11/2017 Corporation                                                       $0.00                                                                                            $0.00
Kolotello, Sara
237 Brighton Rd                                                RS Legacy Corporation fka RadioShack
Wilmington, NC 28409                      19288      9/10/2017 Corporation                                                       $0.00                                                                                            $0.00
Vaicikauskas, Edvinas
3959 Wyoming St.                                               RS Legacy Customer Service LLC fka RadioShack
St. Louis, MO 63116                       19289      9/11/2017 Customer Service LLC                                                                                                       $0.00                                   $0.00
The Ohio Department of Taxation
Bankruptcy Div.
PO Box 530
Columbus, OH 43216                        19290      9/14/2017 SCK, Inc.                                                         $0.00              $0.00                                                                         $0.00
Franchise Tax Board
Bankruptcy Section MS A340
PO Box 2952                                                    RS Legacy Corporation fka RadioShack
Sacramento, CA 95812‐2952                 19291      9/18/2017 Corporation                                                                          $0.00                                                                         $0.00
Valadez, Alex Pete
3463 Castle Glen Dr Apt 1d                                     RS Legacy Corporation fka RadioShack
San Diego, CA 92123                       19292      9/21/2017 Corporation                                                                          $0.00                                                                         $0.00
Schlick, Ronald
62‐A Makamah Beach Rd.                                         RS Legacy Corporation fka RadioShack
Northport, NY 11768                       19293      9/23/2017 Corporation                                                                                                                $0.00                                   $0.00
Dukes, Ronika
17944 Calaveras Drive                                          RS Legacy Corporation fka RadioShack
Lathrop, CA 95330                         19294      9/25/2017 Corporation                                                       $0.00                                                                                            $0.00
Gonzalez, Martha
107 Nutmeg Ave.                                                RS Legacy Global Sourcing, Inc. fka RadioShack
Atwater, CA 95301                         19295      9/26/2017 Global Sourcing, Inc.                                             $0.00                                                                                            $0.00
Tesi, Marae
22 New Rd                                                      RS Legacy Corporation fka RadioShack
Exeter, RI 02822                          19296      9/28/2017 Corporation                                                       $0.00                                                                                            $0.00




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                                                                                                                         Current General                                              Current 503(b)(9)
                                                                                                                                               Current Priority     Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address          Claim No.   Claim Date                     Debtor                         Unsecured Claim                                               Admin Priority
                                                                                                                                                Claim Amount         Claim Amount                         Priority Amount         Amount
                                                                                                                             Amount                                                       Amount
Bishop, Christopher
5505 Germantown                                                      RS Legacy Corporation fka RadioShack
Dayton, OH 45417                                19297      9/30/2017 Corporation                                                                                                                  $0.00                                   $0.00
Dahl, Kristin
927 18th St, Unit C                                                  RS Legacy Corporation fka RadioShack
Santa Monica, CA 90403                          19298       4/8/2016 Corporation                                                     $121.80                                                                                            $121.80
Mclean, Annette
13128 Linden                                                          RS Legacy Corporation fka RadioShack
New Orleans, LA                                 19299      10/12/2017 Corporation                                                      $0.00                                                                                              $0.00
McFarland, Craig
6495 Lockwood Ln                                                      RS Legacy Corporation fka RadioShack
Gurnee, IL 60031                                19300      10/14/2017 Corporation                                                      $0.00                                                                                              $0.00
Terry, Adrienne
PO Box 2614                                                           RS Legacy Corporation fka RadioShack
Southampton, NY 11969                           19301      10/17/2017 Corporation                                                      $0.00                                                                                              $0.00
Hoppes, Forrest Todd
4300 Rounding Run Road                                                RS Legacy Corporation fka RadioShack
Charlotte, NC 28277                             19302      10/26/2017 Corporation                                                      $0.00                                                                                              $0.00
Miller, Audrey
69 Mayflower Terrace                                                 RS Legacy Corporation fka RadioShack
S. Yarmouth, MA 02664                           19303      11/3/2017 Corporation                                                       $0.00                                                                                              $0.00
Richburg, Sara
650 Lenox Avenue #4B                                                 RS Legacy Corporation fka RadioShack
New York, NY 10037                              19304      11/1/2017 Corporation                                                                                                                  $0.00                                   $0.00
Ohio Department of Taxation, Bankruptcy Div.
P.O. Box 530                                                         RS Legacy Corporation fka RadioShack
Columbus, OH 43216                              19305      11/8/2017 Corporation                                                 $15,908.19           $173,585.38                                                                   $189,493.57
Pennsylvania Department of Revenue
Bankruptcy Division
PO Box 280946                                                         RS Legacy Corporation fka RadioShack
Harrisburg, PA 17128‐0946                       19306      11/15/2017 Corporation                                                      $0.00                                                                                              $0.00
Hesselroth, Julia
1138 Leavenworth Street                                               RS Legacy Corporation fka RadioShack
San Francisco, CA 94109                         19307      11/16/2017 Corporation                                                      $0.00                                                                                              $0.00
Mosely‐Green, Leslie
10 Camp Place                                                        RS Legacy Corporation fka RadioShack
Bridgeport, CT 06606                            19308      12/5/2017 Corporation                                                                            $0.00                                                                         $0.00
Delcarpio, Jessica
7425 Sepulveda Blvd
Apt 47                                                                RS Legacy Corporation fka RadioShack
Van Nuys, CA 91405                              19309      12/13/2017 Corporation                                                      $0.00                                                                                              $0.00
King III, John Eddy
4938 Cordes St.
Unit C                                                                RS Legacy Corporation fka RadioShack
Ft Campbell, KY 42223                           19310      12/11/2017 Corporation                                                                           $0.00                                                                         $0.00
Lucas, Celina
450 Shadow Stone Lane                                                 RS Legacy Corporation fka RadioShack
Oneonta, AL 35121                               19311      12/13/2017 Corporation                                                      $0.00                                                                                              $0.00
McNamara, Bridget
300 North End Ave 10K                                                RS Legacy Corporation fka RadioShack
New York, NY 10282                              19312       1/5/2018 Corporation                                                      $75.00                                                                                             $75.00




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                                                                                                                    Current General                                           Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                     Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                    Amount
Mello, Anna
615 Pier Ave                                                    RS Legacy Corporation fka RadioShack
Oceano, CA 93445                          19313      12/31/2017 Corporation                                                      $0.00              $0.00             $0.00               $0.00                                   $0.00
Patrovic, Mary B.
7 Poplar Ct.                                                    RS Legacy Corporation fka RadioShack
Miller Place, NY 11764                    19314      12/21/2017 Corporation                                                      $0.00                                                                                            $0.00
Sweat, Brian
4918 Newman Rd                                                  RS Legacy Corporation fka RadioShack
Abilene, TX 79601                         19315      12/24/2017 Corporation                                                                         $0.00                                 $0.00                                   $0.00
Carson, Brian
1979 Buchanan                                                   RS Legacy Corporation fka RadioShack
Las Cruces, NM 88001                      19316      12/25/2017 Corporation                                                                                                               $0.00                                   $0.00
Innovative Solutions of SC, Inc.
431 Mission Court                                              RS Legacy Corporation fka RadioShack
Irmo, SC 29063                            19317      1/10/2018 Corporation                                                       $0.00                                                                                            $0.00
Cherry, Belinda
6218 26th Ave                                                  RS Legacy Corporation fka RadioShack
Kenosha, WI 53143                         19318       1/9/2018 Corporation                                                       $0.00                                                                                            $0.00
Free, David
55 Gibson Drive
Simcoe, ON N3Y3L1
Canada                                    19319       1/9/2018 Merchandising Support Services, Inc.                                              $200.00                                                                        $200.00
Reyes, Jennifer
1666 Calle Diamonte                                            RS Legacy Corporation fka RadioShack
Newbury Park, CA 91320                    19320       2/7/2018 Corporation                                                                          $0.00                                                                         $0.00
Massachusetts Department of Revenue
Attn: Bankruptcy
PO Box 9564                                                    RS Legacy Corporation fka RadioShack
Boston, MA 02114                          19321       3/1/2018 Corporation                                                                          $0.00                                                                         $0.00
Srivastava, Sanjay Kumar
9400 W Parmer Ln
Apt 1032                                                       RS Legacy Corporation fka RadioShack
Austin, TX 78717                          19322       3/4/2018 Corporation                                                       $0.00                                                                                            $0.00
Alya, Khalil
4211 Blue Sage Terrace                                         RS Legacy Corporation fka RadioShack
Spring, TX 77388                          19323       3/6/2018 Corporation                                                                                                                $0.00                                   $0.00
Coughlin, Harry
1616 Mann Dr.                                                  RS Legacy Corporation fka RadioShack
Birmingham, AL 35214                      19324       3/8/2018 Corporation                                                       $0.00                                                                                            $0.00
Goldstein, Benjamin
63 Wall St., Apt. 2705                                         RS Legacy Corporation fka RadioShack
New York, NY 10005                        19325      3/10/2018 Corporation                                                       $0.00                                                                                            $0.00
Smith, Deanna
12820 Eastern Ave                                              RS Legacy Customer Service LLC fka RadioShack
Middle River, MD 21220                    19326      4/17/2018 Customer Service LLC                                             $25.00                                                                                           $25.00
Ji, Ruoxiao
1029 N Raymond Ave                                             RS Legacy Corporation fka RadioShack
Pasadena, CA 91103                        19327      4/24/2018 Corporation                                                      $30.49                                                                                           $30.49
Ventura County Tax Collector
Attn: Bankruptcy
800 S Victoria Ave.
Ventura, CA 93009‐1290                    19328       5/1/2018 SCK, Inc.                                                                            $0.00                                                                         $0.00



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                                                                                                                    Current General                                           Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                     Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                    Amount
Ventura County Tax Collector
Attn: Bankruptcy
800 S Victoria Ave.                                           RS Legacy Corporation fka RadioShack
Ventura, CA 93009‐1290                    19329      5/1/2018 Corporation                                                                           $0.00                                                                         $0.00
Chan, Mei Kei
61 Bartlett Pl                                                 RS Legacy Corporation fka RadioShack
Brooklyn, NY 11229                        19330      5/23/2018 Corporation                                                      $45.06                                                                                           $45.06
Madgett, Michelle
634 Hollingsworth Lane
La Marque , TX 77568                      19331      5/30/2018 Merchandising Support Services, Inc.                              $0.00                                                                                            $0.00
Serino, Arthur
46 Lexington St.                                              RS Legacy Corporation fka RadioShack
Newton, MA 02465                          19332      6/4/2018 Corporation                                                                                                                 $0.00                                   $0.00
Reeves, Charles
175 Mobbs School Rd.                                           RS Legacy Corporation fka RadioShack
Arab, AL 35016                            19333      6/17/2018 Corporation                                                                          $0.00             $0.00               $0.00                                   $0.00
Karahalios, Tracy
310 Camino Mira Monte                                          RS Legacy Corporation fka RadioShack
San Clemente, CA 92673                    19334      6/11/2018 Corporation                                                      $64.79                                                                                           $64.79
Zerlin, Gary
4060 Whitesail Circle                                          RS Legacy Corporation fka RadioShack
Westlake Village, CA 91361                19335      6/20/2018 Corporation                                                                          $0.00                                 $0.00                                   $0.00
Shi, An
300 W 55th St Apt 6U                                           RS Legacy Corporation fka RadioShack
New York, NY 10019                        19336      6/27/2018 Corporation                                                      $60.00                                                                                           $60.00
Vergara, Jason
2111 Hussium Hills Street Unit 101                            RS Legacy Corporation fka RadioShack
Las Vegas, NV 98108                       19337      7/2/2018 Corporation                                                      $217.97                                                                                          $217.97
Rawlings Jr., Clifton A.
15695 Sage Ct.                                                RS Legacy Corporation fka RadioShack
Moreno Valley, CA 92555                   19338      7/4/2018 Corporation                                                       $50.00                                                                                           $50.00
Cleveland County Treasurer
201 S Jones Suite 100                                          RS Legacy Corporation fka RadioShack
Norman, OK 73069                          19339      6/29/2018 Corporation                                                                          $0.00             $0.00                                                       $0.00
Cleveland County Treasurer
201 S Jones Suite 100                                          RS Legacy Corporation fka RadioShack
Norman, OK 73069                          19340      6/29/2018 Corporation                                                                          $0.00             $0.00                                                       $0.00
LOKER, DREW
6100 DEER PARK LN                                              RS Legacy Corporation fka RadioShack
LUMBERTON, TX 77657                       19341      7/19/2018 Corporation                                                                                                                $0.00                                   $0.00
Berzon, Ronald
7106 Highland Heather Lane                                     RS Legacy Corporation fka RadioShack
Dallas, TX 75248                          19342      8/13/2018 Corporation                                                      $21.41                                                                                           $21.41
AJ Bart/Capital One Bank
7373 Kirkwood Ct, STE 200                                      RS Legacy Corporation fka RadioShack
Maple Grove, MN 55369                     19343      8/15/2018 Corporation                                                       $0.00                                                                                            $0.00
King Jr., Larry M.
224375 Jackson Ave
Apt 204T.                                                      RS Legacy Corporation fka RadioShack
Murrieta, CA 92562                        19344      8/15/2018 Corporation                                                       $0.00                                                                                            $0.00




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                                                                                                                      Current General                                            Current 503(b)(9)
                                                                                                                                            Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address       Claim No.   Claim Date                     Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                          Amount                                                     Amount
Hagger, Jeremy
230 T C Jester Blvd.
Apartment #166                                                    RS Legacy Corporation fka RadioShack
Houston, TX 77007                            19345      8/25/2018 Corporation                                                                                                                $0.00                                   $0.00
County of Fairfax
Office of the County Attorney
12000 Govt. Center Parkway, Suite 549                             RS Legacy Corporation fka RadioShack
Fairfax, VA 22035                            19346       9/4/2018 Corporation                                                                          $0.00                                                                         $0.00
County of Fairfax, Virginia
Office of the County Attorney
Attn: John W. Burton
12000 Government Center Parkway
Suite 549                                                         RS Legacy Corporation fka RadioShack
Fairfax , VA 22035                           19347       9/4/2018 Corporation                                                                                                                                  $0.00                 $0.00
Buckley, Kathy A.
708 Love Henry Court                                              RS Legacy Corporation fka RadioShack
South Lake, TX 76092                         19348      9/14/2018 Corporation                                                 $12,684.26                                                                                        $12,684.26
Butler, Melissa
6515 Hanks Dr. Apt. 141                                           RS Legacy Corporation fka RadioShack
Baton Rouge, LA 70812                        19349      11/5/2018 Corporation                                                                          $0.00                                 $0.00                                   $0.00
Coffee County Trustee
PO Box 467                                                         RS Legacy Corporation fka RadioShack
Manchester, TN 37349‐0467                    19350      10/22/2018 Corporation                                                                         $0.00                                                                         $0.00
State of Minnesota, Department of Revenue
PO Box 64447 ‐ BKY                                                 RS Legacy Corporation fka RadioShack
St. Paul, MN 55164‐0447                      19351      11/13/2018 Corporation                                                                         $0.00                                                                         $0.00
State of Minnesota, Department of Revenue
PO Box 64447 ‐ BKY                                                 RS Legacy Corporation fka RadioShack
St. Paul, MN 55164‐0447                      19352      11/26/2018 Corporation                                                                         $0.00                                                                         $0.00
County of Fairfax, Virginia
Office of the County Attorney
Attn: John W. Burton
12000 Government Center Parkway
Suite 549                                                          RS Legacy Corporation fka RadioShack
Fairfax , VA 22035                           19353      12/10/2018 Corporation                                                                     $1,607.85                                                                     $1,607.85
Drucker, Sierra
26 Willis Road                                                     RS Legacy Corporation fka RadioShack
Scotts Valley, CA 95066                      19354      12/26/2018 Corporation                                                                         $0.00                                                                         $0.00
Urfer, John R
1074 Highland Blvd                                                 RS Legacy Corporation fka RadioShack
Hayward, CA 94542                            19355      12/29/2018 Corporation                                                     $50.00                                                                                           $50.00
Carrothers, Sheqera
5626 Belair Road                                                  RS Legacy Corporation fka RadioShack
Baltimore, MD 21206                          19356       1/9/2019 Corporation                                                   $5,000.00                                                                                        $5,000.00
Bellot, Remie
3365 Hagger Way                                                   RS Legacy Corporation fka RadioShack
East Point, GA 30344                         19357      1/16/2019 Corporation                                                       $0.00                                                    $0.00                                   $0.00
Concord Monitor
PO Box 877                                                        RS Legacy Corporation fka RadioShack
White River Jct, VT 05001‐0877               19358      1/14/2019 Corporation                                                   $1,062.64                                                                                        $1,062.64
Claim Docketed In Error                                           RS Legacy Corporation fka RadioShack
                                             19359      2/11/2019 Corporation                                                                                                                                                        $0.00



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                                                                              In re RS Legacy Corporation fka RadioShack Corporation, et al.
                                                                                                     Case No. 15‐10197



                                                                                                                  Current General                                            Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                    Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                      Amount                                                     Amount
Concord Monitor
PO Box 877                                                     RS Legacy Corporation fka RadioShack
White River Jct, VT 05001‐0877            19360      2/11/2019 Corporation                                                  $1,078.58                                                                                        $1,078.58
Coffee County Trustee
PO Box 467                                                    RS Legacy Corporation fka RadioShack
Manchester, TN 37349‐0467                 19361      3/5/2019 Corporation                                                                        $81.00                                                                         $81.00
Cothran, Jacob
3892 South Rossiland Circle                                    RS Legacy Corporation fka RadioShack
Memphis, TN 38122                         19362      3/12/2019 Corporation                                                     $38.23                                                                                           $38.23
Concord Monitor
PO Box 877                                                    RS Legacy Corporation fka RadioShack
White River Jct, VT 05001‐0877            19363      3/8/2019 Corporation                                                   $1,094.52                                                                                        $1,094.52
Shi, An
2630 Bissonnet St, Apt 5325                                   RS Legacy Corporation fka RadioShack
Houston, TX 77005                         19364      4/1/2019 Corporation                                                                        $75.00                                 $75.00                                 $150.00
Bennetts, Albert
1907 Crestridge Drive                                          RS Legacy Corporation fka RadioShack
Clermont, FL 34711                        19365      5/31/2019 Corporation                                                                                                             $200.00                                 $200.00
Freeman, Jeremy
302 Aria Drive                                                 RS Legacy Corporation fka RadioShack
Austin, TX 78738                          19366      7/14/2019 Corporation                                                     $43.29                                                                                           $43.29
Freeman, Jeremy
302 Aria Drive                                                 RS Legacy Corporation fka RadioShack
Austin, TX 78738                          19367      7/13/2019 Corporation                                                     $43.29                                                                                           $43.29
Perretta, Joseph
12 Cotherstone                                                 RS Legacy Corporation fka RadioShack
South Hampton, NJ 08055                   19368      7/29/2019 Corporation                                                    $500.00                                                                                          $500.00
Bertuccio, Tina
2809 Fairview Rd                                               RS Legacy Corporation fka RadioShack
Hollister, CA 95023                       19369      12/4/2019 Corporation                                                                         $0.00                                                                         $0.00
Mack, Jeffrey
55 Timberpoint Dr                                              RS Legacy Corporation fka RadioShack
Northport, NY 11768                       19370      7/28/2020 Corporation                                                                       $32.58             $32.58                                                      $65.16
Horton, Phileke
1400 Gray Hwy #616                                             RS Legacy Corporation fka RadioShack
Macon, GA 31211                           19371      8/28/2020 Corporation                                               $500,000.00                                                                                       $500,000.00
Mora, Oscar
3741 85th street Apt B1                                       RS Legacy Corporation fka RadioShack
Jackson Heights, NY 11372                 19372      9/1/2020 Corporation                                                     $325.54                                                                                          $325.54
Loftus, Sean
160 SE Logsden St                                              RS Legacy Corporation fka RadioShack
Bend, OR 97702                            19373      9/22/2020 Corporation                                                                                                             $499.97                                 $499.97
Chan, Monica
73 Parkway                                                    RS Legacy Corporation fka RadioShack
Little Falls, NJ 07424                    19374      1/3/2021 Corporation                                                                                                               $46.46                                  $46.46
Brown, Paul
17608 Gardenview Manor Circle                                 RS Legacy Corporation fka RadioShack
Glencoe, MO 63038                         19375      1/2/2021 Corporation                                                                                                               $54.14                                  $54.14
Yang, Lily
15 Perkins Square #8                                           RS Legacy Corporation fka RadioShack
Boston, MA 02130                          19376      1/30/2021 Corporation                                                    $500.00                                                                                          $500.00




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                                                                               In re RS Legacy Corporation fka RadioShack Corporation, et al.
                                                                                                      Case No. 15‐10197



                                                                                                                    Current General                                           Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current Claim
            Creditor Name and Address    Claim No.   Claim Date                     Debtor                          Unsecured Claim                                            Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount         Amount
                                                                                                                        Amount                                                    Amount
Thompson, Lindsay C
2082 East Atkin Avenue                                         RS Legacy Corporation fka RadioShack
Salt Lake City, UT 84109                  19377      2/16/2021 Corporation                                                      $74.00                                                                                           $74.00
Hays, Matthew
10600 Wilshire Blvd #421                                      RS Legacy Corporation fka RadioShack
Los Angeles, CA 90024                     19378      5/3/2021 Corporation                                                       $18.50                                                                                           $18.50
Biegger, Jeana
1208 Bel Aire Rd                                               RS Legacy Corporation fka RadioShack
Polk City, IA 50226                       19379      9/14/2021 Corporation                                                      $15.90                                                                                           $15.90
Brooker, Adam
333 W Mifflin St.
Unit 7100                                                      RS Legacy Corporation fka RadioShack
Madison, WI 53703                         19380      1/28/2022 Corporation                                                      $50.00                                                                                           $50.00
Minor, Katrese
1281 Bunts Rd                                                 RS Legacy Corporation fka RadioShack
Lakewood, OH 44107                        19381      7/2/2022 Corporation                                                                         $29.00                                                                         $29.00
Matthews, Simone
170 S Portland Avenue
Apt 5B
Brooklyn, NY 11217                        19382      6/12/2023 Merchandising Support Services, Inc.                             $49.00                                                                                           $49.00
Matthews, Simone
170 S Portland Avenue
Apt 58
brooklyn, NY 11217                        19383      6/12/2023 Merchandising Support Services, Inc.                              $5.00                                                                                            $5.00




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